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Name                           Address1                            Address2                      Address3   Address4         City             State Zip
MCCLELLAN, MICHAEL             8904 RIVER BEND CT                                                                            INDIANAPOLIS      IN 46250‐3246
MCCLELLAN, MICHAEL D           3601 E MIAMI TRL                                                                              MUNCIE            IN 47302‐8665
MCCLELLAN, MICHAEL DAVID       3601 E MIAMI TRL                                                                              MUNCIE            IN 47302‐8665
MCCLELLAN, MILDRED C           2367 N 675 E                                                                                  NORTH OGDEN       UT 84414‐2859
MCCLELLAN, NANCY J             4549 E 350 S                                                                                  PLAINFIELD        IN 46168
MCCLELLAN, NETTIE C            4073 BEACH DRIVE                                                                              ORCHARD LAKE      MI 48324‐3001
MCCLELLAN, NETTIE C            4073 BEACH DR                                                                                 ORCHARD LAKE      MI 48324‐3001
MCCLELLAN, OLIVER Z            2701 N GRANVILLE AVE                                                                          MUNCIE            IN 47303‐2118
MCCLELLAN, PATRICIA M          8575 SEDONA RIDGE LN APT B                                                                    INDIANAPOLIS      IN 46239‐8549
MCCLELLAN, PATRICIA M          8587 SEDONA RIDGE LANE              APT F                                                     INDIANAPOLIS      IN 46239
MCCLELLAN, PATRICIA R          1002 RIDGE RD                                                                                 VIENNA            OH 44473‐9701
MCCLELLAN, PRECIOUS E          6208 S STATE ROAD 13                                                                          PENDLETON         IN 46064‐9734
MCCLELLAN, RALPH E             5502 SW 109TH STREET RD                                                                       OCALA             FL 34476‐7077
MCCLELLAN, RAY                 955 PEPPERWOOD DR                                                                             BRUNSWICK         OH 44212‐2456
MCCLELLAN, RAYMOND W           612 POINT OF VIEW DR                                                                          COLUMBIA          TN 38401‐9238
MCCLELLAN, REX
MCCLELLAN, ROBERT              2344 OLD GEORGE WAY                                                                           DOWNERS GROVE    IL   60515‐4258
MCCLELLAN, ROBERT C            5049 ANNA MARIA DR                                                                            COLUMBUS         IN   47203‐8354
MCCLELLAN, ROBERT T            12 AMANDA CT                                                                                  HAMILTON         OH   45013
MCCLELLAN, RONALD J            469 MAHONING AVE NW                                                                           WARREN           OH   44483‐4632
MCCLELLAN, TROY                4600 WOLFF DR                                                                                 BRUNSWICK        OH   44212‐2549
MCCLELLAN, VIRGINIA            3654 COUNTRY ROAD 63                                                                          HOUSTON          AL   35572‐2205
MCCLELLAN, VIVIAN V            505 PACIFIC AVE                                                                               SYRACUSE         NY   13207‐2453
MCCLELLAN, WILLIAM A           1824 CASPIAN DR                                                                               CULLEOKA         TN   38451‐2085
MCCLELLAN, WILLIAM L           6035 S TRANSIT RD LOT 309                                                                     LOCKPORT         NY   14094‐6327
MCCLELLAND HAROLD L (415481)   SIMMONS FIRM                        PO BOX 559                                                WOOD RIVER       IL   62095‐0559
MCCLELLAND JR, PERCY H         101 CALADIUM LN                                                                               NEWARK           DE   19711‐6803
MCCLELLAND LOUIS               703 EAGLE TRCE                                                                                QUINCY           IL   62305‐1058
MCCLELLAND ROBERT (626647)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                   STREET, SUITE 600
MCCLELLAND SR, RICHARD D       2571 N LAKE PLEASANT RD                                                                       ATTICA           MI   48412‐9251
MCCLELLAND VICKIE              15975 BOHOT RD                                                                                PRAIRIE GROVE    AR   72753‐8977
MCCLELLAND, ALEX H             18320 S STEEL RD                                                                              HENDERSON        MI   48841‐9508
MCCLELLAND, BARBARA A          3091 CATALINA CT                                                                              HARBOR HEIGHTS   FL   33983‐3304
MCCLELLAND, BETTY A            10344 ROYAL DR                                                                                SAINT LOUIS      MO   63136‐5943
MCCLELLAND, BETTY A            1128 COBBLEFIELD DR                                                                           MANSFIELD        OH   44903‐8256
MCCLELLAND, BEVERLY M          PO BOX 127                                                                                    WELLINGTON       OH   44090‐0127
MCCLELLAND, BRIAN G            3434 S CENTURY OAK CIR                                                                        OAKLAND          MI   48363‐2642
MCCLELLAND, CARL J             7154 HOUGHTON DR                                                                              DAVISON          MI   48423‐2336
MCCLELLAND, CASSANDRA L        3892 MAGNOLIA DR                                                                              BRUNSWICK        OH   44212‐1529
MCCLELLAND, CECIL R            10602 25 1/2 MILE RD                                                                          ALBION           MI   49224‐9752
MCCLELLAND, CLIFTON J          2343 RUTH AVE                                                                                 BALTIMORE        MD   21219‐1825
MCCLELLAND, DAISY R            8811 LEEDS RD                                                                                 KANSAS CITY      MO   64129‐1628
MCCLELLAND, DAISY R            8811 LEEDS ROAD                                                                               KANSAS CITY      MO   64129‐1628
MCCLELLAND, DALE E             5080 RUNNYMEDE DR                                                                             HOLT             MI   48842‐2900
MCCLELLAND, DALE EDWARD        5080 RUNNYMEDE DR                                                                             HOLT             MI   48842‐2900
MCCLELLAND, DARICE L           8415 LAKEVIEW DR                                                                              HALE             MI   48739‐8926
MCCLELLAND, DAVID E            2024 RED FOX RUN                                                                              CORTLAND         OH   44410‐1815
MCCLELLAND, DONALD E           5018 ELROD PL                                                                                 GAINESVILLE      GA   30506‐2688
MCCLELLAND, DONNA L
MCCLELLAND, ELIZABETH          3645 W WALTON BLVD                                                                            WATERFORD        MI 48329‐4266
MCCLELLAND, ELMER J            290 NUTT DRIVE                                                                                LOCUST GROVE     GA 30248‐3411
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Name                          Address1                        Address2                      Address3   Address4         City            State Zip
MCCLELLAND, GARY T            101 ELGIN PL                                                                              CLINTON          MS 39056‐3947
MCCLELLAND, GEORGE H          49 KEYS COURT                                                                             DAWSONVILLE      GA 30534‐7073
MCCLELLAND, GORDON G          3091 CATALINA CT                                                                          PUNTA GORDA      FL 33983‐3304
MCCLELLAND, GROVER E          1650 S ARIZONA AVE LOT 96X                                                                CHANDLER         AZ 85286‐7129
MCCLELLAND, HAROLD            SIMMONS FIRM                    PO BOX 559                                                WOOD RIVER        IL 62095‐0559
MCCLELLAND, HAZEL EDITH       2910 MARKET ST                                                                            PENDLETON        IN 46064‐9029
MCCLELLAND, ILENE E           5601 PUTNAM DR                                                                            W BLOOMFIELD     MI 48323‐3723
MCCLELLAND, JAMES C           3326 PALM AIRE DR                                                                         ROCHESTER HLS    MI 48309‐1048
MCCLELLAND, JAMES M           2757 UNIT 2‐3 OWENS ROAD                                                                  HOUGHTON LAKE    MI 48629
MCCLELLAND, JOHN A            9448 LINDA DR 97                                                                          DAVISON          MI 48423
MCCLELLAND, JON A             11685 DANVILLE RD                                                                         LONDON           OH 43140‐9734
MCCLELLAND, KENNETH D         3774 MILLER ST                                                                            CONKLIN          MI 49403‐9591
MCCLELLAND, LEROY E           PO BOX 2292                                                                               DOUGLAS          GA 31534‐2292
MCCLELLAND, LINDA C.          8427 HUNTERS TRL SE                                                                       WARREN           OH 44484‐2408
MCCLELLAND, LINDA D           9404 MARSALLE ROAD                                                                        PORTLAND         MI 48875
MCCLELLAND, LOUIS D           2260 LICK CREEK RD                                                                        BIG SANDY        TN 38221‐4210
MCCLELLAND, MAGALENE M        1311 WILLOW DRIVE                                                                         BRAZIL           IN 47834‐3347
MCCLELLAND, MAGALENE M        1311 WILLOW DR                                                                            BRAZIL           IN 47834‐3347
MCCLELLAND, MARIE             315 ACADEMY ST                                                                            FERNDALE         MI 48220‐3314
MCCLELLAND, MARJORIE M        912 HOMEWOOD AVE                                                                          MISHWAKA         IN 46544‐2542
MCCLELLAND, MARLENE           205 AVENIDA SALVADOR                                                                      SAN CLEMENTE     CA 92672
MCCLELLAND, MARY L            10040 OLD FARM TRAIL                                                                      DAVISBURG        MI 48350‐2250
MCCLELLAND, MARY M            768 PINE VALLEY DRIVE                                                                     ARNOLD           MD 21012‐3107
MCCLELLAND, MARY V            2030 LAFAYETTE ST                                                                         ANDERSON         IN 46012‐1636
MCCLELLAND, MELVIN E          710 COLLINS ST APT 1417                                                                   KALAMAZOO        MI 49001‐2989
MCCLELLAND, PHYLLIS           1313 RIPLEY RD                                                                            LINDEN           MI 48451
MCCLELLAND, RENEE' J          4181 PAVILION CT                                                                          FENTON           MI 48430‐9168
MCCLELLAND, REX V             40160 CORTE FLAMENCO                                                                      MURRIETA         CA 92562‐3844
MCCLELLAND, ROBERT            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                              STREET, SUITE 600
MCCLELLAND, ROBERT D          82 SUPERIOR TRL                                                                           SWARTZ CREEK    MI   48473‐1618
MCCLELLAND, ROGER T           PO BOX 183                                                                                ATTICA          MI   48412‐0183
MCCLELLAND, SCOTT V           934 PARK AVE E                                                                            MANSFIELD       OH   44905‐2803
MCCLELLAND, SHARON K          14144 NORTH RD                                                                            FENTON          MI   48430‐1394
MCCLELLAND, STEVEN L          915 E POST RD                                                                             ANDERSON        IN   46012‐2703
MCCLELLAND, TAMMY             PO BOX 1106                                                                               BOONE           NC   28607‐1106
MCCLELLAND, WILLIAM S         2165 STROMBURY DR                                                                         HERMITAGE       TN   37076‐3336
MCCLELLON, BARBARA J          2203 FAYE DR                                                                              ANN ARBOR       MI   48103‐3414
MCCLEN, KENNETH A             255 WHETSTONE RD                                                                          HARWINTON       CT   06791‐2216
MCCLENAHEN, SHIRLEY E         152 N 2ND ST                                                                              WEST BRANCH     MI   48661‐1240
MCCLENATHAN, JAMES M          25 AMERICO CT                                                                             LANCASTER       NY   14086‐3424
MCCLENATHEN, CARRIE L         5485 HESS RD                                                                              VASSAR          MI   48768‐9100
MCCLENATHEN, CARRIE LYNN      5485 HESS RD                                                                              VASSAR          MI   48768‐9100
MCCLENDON EUGENE E (402464)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                              STREET, SUITE 600
MCCLENDON HARRISON            1105 DUBLIN DR                                                                            FORT WORTH      TX   76134‐2214
MCCLENDON HENRY L             6027 BIRCHBROOK DR APT 1034                                                               DALLAS          TX   75206‐4456
MCCLENDON JR, BUFORD          2594 HINGHAM LN                                                                           COLUMBUS        OH   43224‐3725
MCCLENDON JR, HAYES           3313 HICKORY RIDGE RD                                                                     SHREVEPORT      LA   71108‐5309
MCCLENDON JR, MODIE           5009 S WASHINGTON RD APT 28                                                               SAGINAW         MI   48601‐7217
MCCLENDON JR, WILBERT A       5255 WOODSIDE DR                                                                          INDIANAPOLIS    IN   46228‐2301
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MCCLENDON KENNETH EUGENE (439311)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK             VA 23510
                                                                    STREET, SUITE 600
MCCLENDON MARTIN PAULETTE           14584 GRANDVILLE AVE                                                                         DETROIT            MI 48223‐2231
MCCLENDON MILLER                    C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FL                                    CHICAGO            IL 60602
MCCLENDON SHEILA                    MCCLENDON, SHEILA               120 WEST MADISON STREET , 10TH                               CHICAGO            IL 60602
                                                                    FLOOR
MCCLENDON TRUCKING CO               PO BOX 2445                                                                                  COLUMBUS           GA   31902‐2445
MCCLENDON, ALBERT                   509 W 46TH AVE                                                                               PINE BLUFF         AR   71603‐7133
MCCLENDON, ANDREA MICHELE           149 CHARLES LN 16                                                                            PONTIAC            MI   48341
MCCLENDON, B A                      1287 FOREST AVE                                                                              SOPERTON           GA   30457‐2139
MCCLENDON, BARBARA A                3313 STONERIDGE DR NE                                                                        ROCKFORD           MI   49341‐9173
MCCLENDON, BOBBIE J                 2922 KILBURN AVE                                                                             DALLAS             TX   75216‐7209
MCCLENDON, BOBBIE J                 2922 KILBURN ST                                                                              DALLAS             TX   75216‐7209
MCCLENDON, BONNIE J.                2441 MULBERRY SQUARE                                                                         BLOOMFIELD HILLS   MI   48302
MCCLENDON, BUFORD                   11941 JERRIES LN                                                                             FLORISSANT         MO   63033‐7811
MCCLENDON, C J                      1533 PORTER AVE                                                                              BELOIT             WI   53511‐4667
MCCLENDON, CAMELLE E                4058 CARVER DR                                                                               DORAVILLE          GA   30360‐2546
MCCLENDON, CECIL T                  3664 E FERRY ST                                                                              DETROIT            MI   48211
MCCLENDON, CLINZEL                  12659 CLOVERLAWN ST                                                                          DETROIT            MI   48238‐3134
MCCLENDON, DENEEN                   15951 NELACREST RD APT 201                                                                   E CLEVELAND        OH   44112‐2240
MCCLENDON, DIANNE M                 104 CAVALRY DR                                                                               FRANKLIN           TN   37064‐4904
MCCLENDON, DONNA M                  4200 OLIVE ST                                                                                SAINT LOUIS        MO   63108‐3012
MCCLENDON, ELLA M                   5214 WOODHAVEN DR                                                                            FLINT              MI   48504‐1265
MCCLENDON, EUGENE                   PO BOX 7155                                                                                  BURKESVILLE        KY   42717‐7155
MCCLENDON, EUGENE E                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
MCCLENDON, FLORA                    115 ELMWOOD CIR                                                                              DAYTON             OH   45449‐2428
MCCLENDON, FLORA                    4519 ELMER STREET                                                                            DAYTON             OH   45417‐1336
MCCLENDON, FRED L                   2600 W 134TH ST                                                                              LOS ANGELES        CA   90059‐3610
MCCLENDON, GARY R                   1410 BARTON AVE                                                                              KETTERING          OH   45429‐4803
MCCLENDON, GLORIA                   1865 FRANKLIN PARK SOUTH                                                                     COLUMBUS           OH   43205‐2219
MCCLENDON, HENRY L                  6027 BIRCHBROOK DR APT 1034                                                                  DALLAS             TX   75206‐4456
MCCLENDON, HOLLIS E                 20 S SCATTERFIELD RD                                                                         ANDERSON           IN   46012‐3103
MCCLENDON, HOWARD E                 29 SANDRA CT                                                                                 SAGINAW            MI   48602‐1840
MCCLENDON, JAMES L                  1441 TAYLORS MILL RD                                                                         TALLADEGA          AL   35160‐3078
MCCLENDON, JESSE E                  7497 E BRENTWOOD ST                                                                          DETROIT            MI   48234‐3154
MCCLENDON, JOSEPH L                 29848 EVERGREEN RD                                                                           SOUTHFIELD         MI   48076‐5014
MCCLENDON, JOSEPHINE H              1410 BARTON AVE                                                                              KETTERING          OH   45429‐4803
MCCLENDON, KENNETH EUGENE           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
MCCLENDON, KENNETH W                13140 NORTHVIEW HEIGHTS CT                                                                   FLORISSANT         MO   63033‐4564
MCCLENDON, L C                      2241 NELLE ST                                                                                ANDERSON           IN   46016‐3755
MCCLENDON, LEE A                    104 CAVALRY DR                                                                               FRANKLIN           TN   37064‐4904
MCCLENDON, LEE T                    1801 24TH ST #02                                                                             MERIDIAN           MS   39301
MCCLENDON, LINDA E                  2410 ELKHORN DR                                                                              DECATUR            GA   30034‐2716
MCCLENDON, LINDA EVE                2410 ELKHORN DR                                                                              DECATUR            GA   30034‐2716
MCCLENDON, LISA                     1520 LOUISE ST                                                                               ANDERSON           IN   46016‐3248
MCCLENDON, LIZABETH K               48 WARD DR                                                                                   ATTALLA            AL   35954‐7828
MCCLENDON, LUCILLE                  498 EAST WEBSTER STREET                                                                      ANDERSON           IN   46012‐1751
MCCLENDON, LUCILLE                  498 E WEBSTER ST                                                                             ANDERSON           IN   46012‐1751
MCCLENDON, LULA M                   3247 OAKWOOD AVE                                                                             SAGINAW            MI   48601‐4447
MCCLENDON, MARCUS
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Name                         Address1                         Address2                          Address3   Address4         City               State Zip
MCCLENDON, MARIAN E          19185 CONLEY ST                                                                                DETROIT             MI 48234
MCCLENDON, MARIE A           29 SANDRA CT                                                                                   SAGINAW             MI 48602
MCCLENDON, MARYALICE A       1241 LINCOLN                                                                                   CHICAGO HEIGHTS      IL 60411‐2839
MCCLENDON, MARYALICE A       1241 LINCOLN AVE                                                                               CHICAGO HEIGHTS      IL 60411‐2839
MCCLENDON, MICHAEL           769 CRANDALL AVE APT 1                                                                         YOUNGSTOWN          OH 44510
MCCLENDON, MICHAEL D         712 STRAWBERRY ST                                                                              DUNDEE              MI 48131‐1043
MCCLENDON, MICHAEL DEWAYNE   712 STRAWBERRY ST                                                                              DUNDEE              MI 48131‐1043
MCCLENDON, MICHAEL G         39 HENDERSON RD                                                                                SOMERVILLE          AL 35670‐3750
MCCLENDON, MINNIE W          706 PRICEWOOD CT                                                                               ANDERSON            IN 46013‐5143
MCCLENDON, MITCHELL E        1294 BAYSIDE AVE APT 3                                                                         WOODBRIDGE          VA 22191
MCCLENDON, RICKEY            6624 WAVERLY LN                                                                                FRISCO              TX 75035‐7785
MCCLENDON, ROBERT A          8926 MARCELLA AVE                                                                              SAINT LOUIS         MO 63121‐4013
MCCLENDON, ROGER L           4058 CARVER DR                                                                                 ATLANTA             GA 30360‐2546
MCCLENDON, SHEILA            KROHN & MOSS ‐ CA                10474 SANTA MONICA BLVD STE 401                               LOS ANGELES         CA 90025‐6932

MCCLENDON, STEVEN D          23109 CURIE ST                                                                                 WARREN             MI   48091‐3190
MCCLENDON, TEREZ M           1705 HENDERSON AVE                                                                             BELOIT             WI   53511‐3157
MCCLENDON, TRACIE L          13308 E 44TH ST S                                                                              INDEPENDENCE       MO   64055‐4620
MCCLENDON, TROY L            1110 YONDOTA ST                                                                                TOLEDO             OH   43605‐3133
MCCLENDON, VANDER            31851 STELLWAGEN ST                                                                            WAYNE              MI   48184‐2287
MCCLENDON, VICKIE M          922 N 34TH ST                                                                                  GADSDEN            AL   35904‐1345
MCCLENDON, WINDLE L          11096 E 700 N                                                                                  WILKINSON          IN   46186‐9792
MCCLENDON, WINSTON           610 ELGAEN CT                                                                                  ROSWELL            GA   30075‐2590
MCCLENDSON, MELVIN L         5637 CONLIN DR                                                                                 FORT WORTH         TX   76134‐2221
MCCLENIC, HARPER A           24221 ROSEWOOD ST                                                                              OAK PARK           MI   48237
MCCLENNAN, MARY B            7092 HIGHLAND RD BOX 163                                                                       WATERFORD          MI   48327‐1502
MCCLENNING, DALE E           5238 W RAYMOND ST                                                                              INDIANAPOLIS       IN   46241‐4740
MCCLENNON, IDELLA            60 PARKWAY DR E 3J                                                                             EAST ORANGE        NJ   07017
MCCLENTON, JOSHUA L          2185 ROUNTREE DR                                                                               SAINT LOUIS        MO   63136‐6100
MCCLENTON, KEITH             2185 ROUNDTREE ST                                                                              SAINT LOUIS        MO   63136
MCCLENTY, NAOIMA B           4695 HWY 467                                                                                   EDWARDS            MS   39066‐9066
MCCLENTY, NAOIMA B           4695 HIGHWAY 467                                                                               EDWARDS            MS   39066‐9059
MCCLEOD, JAMES E             3708 PARKFIELD RD                                                                              BALTIMORE          MD   21208‐2336
MCCLERKIN, JAMES E           4301 GARDEN PATH LN                                                                            MANSFIELD          TX   76063‐6811
MCCLERKIN, SHIRLEY M         SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST         MS   39083‐3007
MCCLERKING, KIMBERLY         4512 WESTMINSTER PL APT 1W                                                                     SAINT LOUIS        MO   63108‐1842
MCCLERNAN, JOHN C            176 WISTERIA LN                                                                                BERKELEY SPRINGS   WV   25411‐6652
MCCLERNAN, LAURA LEE         176 WISTERIA LANE                                                                              BERKELEY SPRINGS   WV   25411‐6652
MCCLESKEY, DON               8100 SE 73RD LN                                                                                NEWBERRY           FL   32669‐7241
MCCLESKEY, GREGORY K         PO BOX 2                                                                                       LIPAN              TX   76462‐0002
MCCLESKEY, HARRIET L         P.O. BOX 26503 .                                                                               TROTWOOD           OH   45426‐0503
MCCLESKEY, HARRIET L         PO BOX 26503                                                                                   TROTWOOD           OH   45426‐0503
MCCLESKEY, LAWRENCE B        7 CATTERICK WAY                                                                                FOUNTAIN INN       SC   29644
MCCLESKEY, LESLIE J          PO BOX 2                                                                                       LIPAN              TX   76462
MCCLESKEY, RACHELE           1 SAINT THOMAS CT                                                                              STAFFORD           VA   22556
MCCLESKEY, RONALD HENRY      PO BOX 26503                                                                                   TROTWOOD           OH   45426‐0503
MCCLESKEY, WINNFRED          113 N PECK DR                                                                                  INDEPENDENCE       MO   64056‐1667
MCCLIGGOTT, JAMES D          7980 WALTERS DRIVE                                                                             LAINGSBURG         MI   48848‐8794
MCCLIMENT III, WILLIAM J     APT 1002                         840 SPARKLEBERRY LANE                                         COLUMBIA           SC   29229‐6594
MCCLIMENT, EDWARD C          6045 WINGEDFOOT CT                                                                             INDIANAPOLIS       IN   46254‐1100
MCCLIMON WILLIAM (459197)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                              STREET, SUITE 600
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Name                                    Address1                       Address2                        Address3   Address4         City            State Zip
MCCLIMON, WILLIAM                       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
MCCLINCHEY, JOAN A                      14201 2ND AVE APT 521                                                                      HIGHLAND PARK   MI   48203
MCCLINCHEY, WILLIAM J                   616 N LINCOLN AVE                                                                          LAKEVIEW        MI   48850‐9779
MCCLINCY, NORMA                         4877 CHARLOTTE HWY                                                                         CLOVER          SC   29710
MCCLINCY, TIMOTHY J                     214 HUBBARD RD                                                                             GALLOWAY        OH   43119‐9457
MCCLINCY, TOM R                         468 SMITH RD                                                                               COLUMBUS        OH   43228‐1144
MCCLINE CURTIS                          1700 RIVERSIDE BLVD                                                                        SIOUX CITY      IA   51109‐1543
MCCLINTHEN, JAMES L                     52 LAKE EDDINS 16388A                                                                      PACHUTA         MS   39347‐5170
MCCLINTIC JILL                          2304 RANDY CT                                                                              MANSFIELD       TX   76063‐4877
MCCLINTIC JR, CHARLES S                 6554 S EDGEWATER DR                                                                        BELOIT          WI   53511‐9056
MCCLINTIC, ARLEY W                      N6985 ATTICA RD                                                                            ALBANY          WI   53502‐9773
MCCLINTIC, EULA C                       248 SOUTH LIBERTY STREET                                                                   RUSSIAVILLE     IN   46979‐9134
MCCLINTIC, JERRY                        248 SOUTH LIBERTY STREET                                                                   RUSSIAVILLE     IN   46979‐9134
MCCLINTIC, JOHN D                       8209 NUCKOLS LN                                                                            INDIANAPOLIS    IN   46237‐8425
MCCLINTIC, MEREDITH K                   N4085 BROWN DEER DR                                                                        BRODHEAD        WI   53520‐9614
MCCLINTIC, TONY W                       605 SAINT LAWRENCE AVE                                                                     BELOIT          WI   53511‐5326
MCCLINTICK, DAVID T                     491 ROLAND HILLS DR                                                                        MOGADORE        OH   44260‐9796
MCCLINTICK, DOROTHY S                   390 NORTH WINCHESTER BLVD      5‐4B                                                        SANTA CLARA     CA   95050
MCCLINTICK, DOROTHY S                   390 N WINCHESTER BLVD          5‐4B                                                        SANTA CLARA     CA   95050‐6570
MCCLINTICK, GREGORY L                   3728 OAKLAWN DR APT E                                                                      ANDERSON        IN   46013‐4952
MCCLINTICK, JOHN T                      3605 SW 15TH AVE                                                                           CAPE CORAL      FL   33914‐5128
MCCLINTICK, STEPHEN A                   13851 SW 72ND PL                                                                           CEDAR KEY       FL   32625‐2921
MCCLINTICK, STEVEN J                    11310 S HONEYCREEK RD                                                                      DALEVILLE       IN   47334‐9445
MCCLINTOCK BETTY (ESTATE OF) (654408)   SIMMONS FIRM                   PO BOX 521                                                  EAST ALTON      IL   62024‐0519

MCCLINTOCK EUGENE (492066)              BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
MCCLINTOCK JR, JAMES G                  9339 HIGHEDGE CIR                                                                          DALLAS          TX   75238‐2586
MCCLINTOCK SHELL                        8805 S MCCLINTOCK DR                                                                       TEMPE           AZ   85284‐2532
MCCLINTOCK SR, HOWARD W                 2996 S STATE ROAD 13                                                                       LAPEL           IN   46051‐9654
MCCLINTOCK STANG, SUSAN KATHLEEN        144 KINGSWOOD CT                                                                           GLEN MILLS      PA   19342‐2016

MCCLINTOCK, BARBARA J                   1128 GAINESBOROUGH CT                                                                      HENDERSON       NV   89015‐5979
MCCLINTOCK, BETTY                       SIMMONS FIRM                   PO BOX 521                                                  EAST ALTON      IL   62024‐0519
MCCLINTOCK, BRIAN L                     2565 TAPPAN DR                                                                             MANSFIELD       OH   44906‐1355
MCCLINTOCK, DAVID B                     8076 OLMSTEAD RD                                                                           FENWICK         MI   48834‐9601
MCCLINTOCK, EUGENE W                    371 TWIN BAY TRL                                                                           WILLARD         OH   44890‐9674
MCCLINTOCK, GORDON L                    1414 ROTTERDAM RD                                                                          HOLT            MI   48842‐9560
MCCLINTOCK, HAROLD D                    6976 BLOCK CHURCH RD                                                                       LOCKPORT        NY   14094‐9346
MCCLINTOCK, JERRY L                     14007 MEADOW GRASS WAY                                                                     FISHERS         IN   46038‐8223
MCCLINTOCK, KELLEY K                    704 ROSELAWN DR                                                                            IONIA           MI   48846‐1155
MCCLINTOCK, MARC N                      1844 LAKELAND AVE                                                                          SYLVAN LAKE     MI   48320‐1524
MCCLINTOCK, MARK D                      1383 W LIBERTY ST                                                                          HUBBARD         OH   44425‐4425
MCCLINTOCK, MILTON W                    8474 VIENNA RD                                                                             MONTROSE        MI   48457‐9141
MCCLINTOCK, RAY H                       1903 LEXINGTON AVE NW                                                                      WARREN          OH   44485‐1728
MCCLINTOCK, ROGER K                     9406 W 10 N                                                                                ANDERSON        IN   46011‐9116
MCCLINTOCK, RONALD                      1143 E SMITH CIR                                                                           PAOLI           IN   47454‐9279
MCCLINTOCK, RONALD E                    121 W PARMETER RD                                                                          IONIA           MI   48846‐9511
MCCLINTOCK, RONALD R                    7076 CARRIE DR                                                                             INDIANAPOLIS    IN   46237‐9310
MCCLINTOCK, SANDRA S                    339 GRETA DR                                                                               ALVATON         KY   42122‐9695
MCCLINTOCK, WARREN G                    4137 YN.KINGSVILLE RD.                                                                     CORTLAND        OH   44410
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Name                           Address1                              Address2                       Address3   Address4         City             State Zip
MCCLINTOCK, WILLIAM Z          GOLDENBERG, MILLER, HELLER &          PO BOX 959                                                 EDWARDSVILLE       IL 62025‐0959
                               ANTOGNOLI
MCCLINTON CHEVROLET COMPANY    712 LIBERTY ST                                                                                   PARKERSBURG      WV   26101‐4929
MCCLINTON CHEVROLET COMPANY    JAMES MCCLINTON                       712 LIBERTY ST                                             PARKERSBURG      WV   26101‐4929
MCCLINTON CLAIRE               129 W JAMIESON ST                                                                                FLINT            MI   48505‐4055
MCCLINTON MILLENDER            C/O BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                 BOSTON HEIGHTS   OH   44236
MCCLINTON, ANTHONY
MCCLINTON, BARRY A             PO BOX 11                                                                                        MEAD             WA   99021
MCCLINTON, BERNICE M           212 EAST AVE                                                                                     LAGRANGE         IL   60525‐2521
MCCLINTON, BERTRAN             819 W ALMA AVE                                                                                   FLINT            MI   48505‐1971
MCCLINTON, CLAIRE R            129 W JAMIESON ST                                                                                FLINT            MI   48505‐4055
MCCLINTON, CLAIRE RETHA        129 W JAMIESON ST                                                                                FLINT            MI   48505‐4055
MCCLINTON, CLARENCE            5505 MARJA ST                                                                                    FLINT            MI   48505‐2596
MCCLINTON, HAZEL               5505 MARJA ST                                                                                    FLINT            MI   48505‐2596
MCCLINTON, HAZEL               5505 MARJA                                                                                       FLINT            MI   48505‐2596
MCCLINTON, JAMES               6408 E COURT ST S                                                                                BURTON           MI   48509‐2322
MCCLINTON, KELLIE S            1207 E LYONS AVE SPC 171                                                                         SPOKANE          WA   99208
MCCLINTON, MELINDA D           3800 HILLBORN LN                                                                                 LANSING          MI   48911‐2147
MCCLINTON, MICHAEL D           3304 BOYD TRL                                                                                    ARLINGTON        TX   76017‐3511
MCCLINTON, MICHAEL DUANE       3304 BOYD TRL                                                                                    ARLINGTON        TX   76017‐3511
MCCLINTON, ROBERT              WEITZ & LUXENBERG                     180 MAIDEN LANE                                            NEW YORK         NY   10038
MCCLINTON, SHIRLEY R           6725 W. 52DN PL. #3B                                                                             MISSION          KS   66202
MCCLINTON, SHIRLEY R           6725 W 52ND PL APT 3B                                                                            MISSION          KS   66202‐1520
MCCLINTON, TONEY               45105 ELMHURST COURT                                                                             SHELBY TWP       MI   48317‐4988
MCCLINTON, VERNON M            7967 BROOKWOOD DR                                                                                CLARKSTON        MI   48348‐4471
MCCLISH, DENISE J              516 S ARMSTRONG ST                                                                               KOKOMO           IN   46901‐5369
MCCLISH, JANITH L              2400 BUNKER DR                                                                                   MISSION          TX   78572‐8909
MCCLISH, JERONIA G             1946 PATERSON ST                                                                                 RAHWAY           NJ   07065‐5311
MCCLISH, LARRY L               2035 SOUTH R 21                                                                                  ELWOOD           IN   46036
MCCLISH, MARY F                113 CHATEAU CT                                                                                   KOKOMO           IN   46902‐5916
MCCLISH, ROSEMARY              3808 HARRIS RD                                                                                   FORT WAYNE       IN   46808‐1455
MCCLISH, VERNON F              2400 BUNKER DR                                                                                   MISSION          TX   78572‐8909
MCCLORE, KALOM H               14580 ILENE ST                                                                                   DETROIT          MI   48238‐1668
MCCLORE, KALOM HASHIM          14580 ILENE ST                                                                                   DETROIT          MI   48238‐1668
MCCLOREY, MICHAEL P            10997 BIGELOW RD                                                                                 DAVISBURG        MI   48350‐1801
MCCLORY EDWARD D SR            GOLDBERG PERSKY & WHITE PC            1030 FIFTH AVENUE                                          PITTSBURGH       PA   15219
MCCLORY, BRENDA                245 WOODLAWN AVE                                                                                 MC CLURE         OH   43534‐9523
MCCLORY, BRIAN J               2121 N CONNECTICUT AVE                                                                           ROYAL OAK        MI   48073‐4213
MCCLORY, EDWARD D              GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH       PA   15219

MCCLOSKEY EDGAR LEE (429405)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                     STREET, SUITE 600
MCCLOSKEY JR, JOHN V           7749 E 300 S                                                                                     WHITESTOWN       IN   46075‐9649
MCCLOSKEY, BEVERLY H           2120 SOUTH DUCK CREEK ROAD                                                                       NORTH JACKSON    OH   44451‐4451
MCCLOSKEY, BEVERLY H           2120 S DUCK CREEK RD                                                                             NORTH JACKSON    OH   44451‐9626
MCCLOSKEY, BRYAN M             12810 CHARTREUSE DR                                                                              DEWITT           MI   48820‐7868
MCCLOSKEY, CATHERINE C         602 OLD PLANTERSVILLE RD.                                                                        MONTGOMERY       TX   77316‐7316
MCCLOSKEY, DANNY L             2605 S NIAGARA ST                                                                                SAGINAW          MI   48602‐1051
MCCLOSKEY, DONALD R            816 KENMORE AVE SE                                                                               WARREN           OH   44484
MCCLOSKEY, EDGAR LEE           GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510
                                                                     STREET, SUITE 600
MCCLOSKEY, EDWARD              923 MIDSTATE RD                                                                                  FELTON           DE 19943‐4715
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Name                                Address1                        Address2                       Address3   Address4         City                  State Zip
MCCLOSKEY, ESTHER J                 986 TWINCREST CT                                                                           CINCINNATI             OH 45231‐3816
MCCLOSKEY, EUGENE R                 6180 W JEFFERSON 100 N                                                                     KOKOMO                 IN 46901
MCCLOSKEY, HELEN                    11572 S 200 E                                                                              GALVESTON              IN 46932
MCCLOSKEY, HELEN                    1520 CEDARWOOD DR APT 125                                                                  FLUSHING               MI 48433‐1882
MCCLOSKEY, HELEN                    1520 CEDAR WOOD DR APT #125                                                                FLUSHING               MI 48433‐1882
MCCLOSKEY, HELEN A                  312 W NORTH RAILROAD ST                                                                    LENZBURG                IL 62255‐0122
MCCLOSKEY, ISABELLA E               1139 NORTH ROAD N.E.                                                                       WARREN                 OH 44483‐4520
MCCLOSKEY, ISABELLA E               1139 NORTH RD NE                                                                           WARREN                 OH 44483‐4520
MCCLOSKEY, JAMES P                  6268 WESTDALE DR                                                                           GRAND BLANC            MI 48439‐8529
MCCLOSKEY, JAMES PATRICK            6268 WESTDALE DR                                                                           GRAND BLANC            MI 48439‐8529
MCCLOSKEY, JEANNE                   2535 CORONADO FL                                                                           VISTA                  CA 92081
MCCLOSKEY, JOHN F                   20100 NICHOLAS AVE                                                                         EUCLID                 OH 44123‐3008
MCCLOSKEY, JOHN F                   1139 NORTH RD NE                                                                           WARREN                 OH 44483‐4520
MCCLOSKEY, JOHN M                   8845 S LEE PHILLIPS RD                                                                     BLOOMINGTON            IN 47403‐9539
MCCLOSKEY, JOHN P                   3047 S ATLANTIC AVE APT 2006    C/O PERONE                                                 DAYTONA BEACH          FL 32118‐6144
MCCLOSKEY, JONATHAN L               2040 ALLARD AVE                                                                            GROSSE POINTE WOODS    MI 48236‐1969
MCCLOSKEY, KAREN B                  5690 JAY RD                                                                                VASSAR                 MI 48768‐9425
MCCLOSKEY, KENNETH E                2906 CLAWSON AVE                                                                           ROYAL OAK              MI 48073‐3011
MCCLOSKEY, MAE A                    717 BUCKSKIN TRAIL                                                                         XENIA                  OH 45385‐4109
MCCLOSKEY, MARIAN E                 970 COLLINS ST.                                                                            AUSTINTOWN             OH 44511‐4511
MCCLOSKEY, MARIAN E                 970 COLLINS AVE                                                                            AUSTINTOWN             OH 44515‐3309
MCCLOSKEY, MARK W                   3369 N 25 E                                                                                LEBANON                IN 46052‐8303
MCCLOSKEY, NATALIE M                101 CIRCLE DR                                                                              GREENVILLE             PA 16125‐8815
MCCLOSKEY, PAUL H                   18 ARIZONA STATE DR                                                                        NEWARK                 DE 19713‐1144
MCCLOSKEY, PAUL M                   6899 HAZELDELL DR                                                                          TEMPERANCE             MI 48182‐1224
MCCLOSKEY, PAUL MARTIN              6899 HAZELDELL DR                                                                          TEMPERANCE             MI 48182‐1224
MCCLOSKEY, PHILLIP W                LOT 98 SPEIR'S M H P                                                                       TRANSFER               PA 16154
MCCLOSKEY, ROBERT                   245 CRESTWOOD CT                                                                           FISHKILL               NY 12524‐3312
MCCLOSKEY, TIMOTHY J                1086 SHOMAN ST                                                                             WATERFORD              MI 48327‐1855
MCCLOSKEY, WALTER R                 7896 DAWSON DR SE                                                                          WARREN                 OH 44484‐3008
MCCLOSKEY, WILLIAM L                246 WHITE AVE                                                                              SHARON                 PA 16146
MCCLOUD CRAIG                       MCCLOUD, CRAIG                  PO BOX 7387                                                NATCHITOCHES           LA 71457
MCCLOUD GEORGE (435740) ‐ DEPALMA   WILENTZ GOLDMAN & SPITZER       88 PINE STREET , WALL STREET                               NEW YORK               NY 10005
LAWRENCE                                                            PLAZA
MCCLOUD GEORGE (435740) ‐ FLOOD     WILENTZ GOLDMAN & SPITZER       88 PINE STREET , WALL STREET                               NEW YORK              NY 10005
ROBERT F                                                            PLAZA
MCCLOUD JR, JAMES A                 5567 HUMMOCK RD.                                                                           TROTWOOD              OH   45426‐1403
MCCLOUD JR, WILBUR D                1086 WASHINGTON ST                                                                         SPENCERPORT           NY   14559‐9723
MCCLOUD JR, WILEY                   6 THURSTON CT                                                                              ROCHESTER             NY   14619‐1524
MCCLOUD, ADRIANNE D                 4137 RIVERSHELL LN                                                                         LANSING               MI   48911‐1908
MCCLOUD, ALTON                      27814 CALLE MARGARITA                                                                      AGOURA                CA   91301‐2480
MCCLOUD, ALVA                       3880 VIA LUCERO                 SENIOR LIVING CONCEPT                                      SANTA BARBARA         CA   93110‐1605
MCCLOUD, ALVA                       SENIOR LIVING CONCEPT           3880 VIA LUCERO                                            SANTA BARBARA         CA   93112
MCCLOUD, BARBARA                    420 S PARK                                                                                 SAGINAW               MI   48607‐1653
MCCLOUD, BETTY J                    270 PAYNETOWN RD                                                                           MOUNT AIRY            NC   27030‐8181
MCCLOUD, BETTY M                    13595 RUTHERFORD ST                                                                        DETROIT               MI   48227‐1731
MCCLOUD, BRENDA J                   3444 N LASALLE ST                                                                          INDIANAPOLIS          IN   46218‐1311
MCCLOUD, CAROLINE                   2005 WINDING WAY                                                                           ANDERSON              IN   46011‐1844
MCCLOUD, CAROLINE L.                2005 WINDING WAY                                                                           ANDERSON              IN   46011‐1844
MCCLOUD, CHARLES                    4420 VALLEY BROOK LN                                                                       COLLEGE PARK          GA   30349‐1964
MCCLOUD, CLARK                      2268 HESS RD                                                                               APPLETON              NY   14008‐9641
MCCLOUD, CRAIG                      PO BOX 7387                                                                                NATCHITOCHES          LA   71457‐0387
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Name                       Address1                              Address2                       Address3   Address4         City              State Zip
MCCLOUD, DANIEL E          9450 WHITE PINE CT APT C                                                                         MIAMISBURG         OH 45342‐5824
MCCLOUD, DERRICK T         6020 NORTH MILANO COURT                                                                          LITCHFIELD PK      AZ 85340‐7338
MCCLOUD, DONAL L           PO BOX 364                                                                                       GOWER              MO 64454‐0364
MCCLOUD, DOUGLAS W         270 PAYNETOWN RD                                                                                 MOUNT AIRY         NC 27030‐8181
MCCLOUD, FRED              PO BOX 103                                                                                       BLACK CREEK        NC 27813‐0103
MCCLOUD, GARY D            9362 S COUNTY ROAD 100 E                                                                         CLAYTON            IN 46118‐9215
MCCLOUD, GEORGE W          3633 S YORK HWY                                                                                  JAMESTOWN          TN 38556‐5338
MCCLOUD, GROVER T          4102 WEBBER ST                                                                                   SAGINAW            MI 48601‐4147
MCCLOUD, HENRY C           8667 W WILLOW HWY                                                                                GRAND LEDGE        MI 48837‐8932
MCCLOUD, JAMES D           2770 AUDUBON DR APT C                                                                            MIDDLETOWN         OH 45044‐7257
MCCLOUD, JAMES D           2770 AUDUBON DR.                      APT. C                                                     MIDDLETOWN         OH 45044‐5044
MCCLOUD, JAMES R           100 COSMOS DR                                                                                    DAYTON             OH 45449‐2062
MCCLOUD, JAMES W           7924 BRIDGE AVE                                                                                  BALTIMORE          MD 21237‐2703
MCCLOUD, JEFF W            5698 N RIVER HWY                                                                                 GRAND LEDGE        MI 48837‐9319
MCCLOUD, KAREN             5480 S GENESEE RD                                                                                GRAND BLANC        MI 48439‐7640
MCCLOUD, KIMBERLY L        1909 HALLBROOKE DR                                                                               NORMAN             OK 73071‐3911
MCCLOUD, KIMBERLY L        10724 DARYL DR                                                                                   YUKON              OK 73099‐8199
MCCLOUD, MARY D            74 HALEY LN APT 1                                                                                CHEEKTOWAGA        NY 14227‐3696
MCCLOUD, MARY S            1503 LAUREL ST                                                                                   ANDERSON           IN 46016‐3348
MCCLOUD, MELVIN C          1035 MCARTHUR ST                                                                                 LAKE ODESSA        MI 48849‐1236
MCCLOUD, MICHAEL E         2438 SUNNYDALE DR                                                                                TEMPERANCE         MI 48182‐1147
MCCLOUD, MICHELE H         8943 BURKE LAKE RD                                                                               SPRINGFIELD        VA 22151‐1116
MCCLOUD, MIKE              KROHN & MOSS ‐ CA,                    5055 WILSHIRE BLVD STE 300                                 LOS ANGELES        CA 90036‐6101
MCCLOUD, NELSON R          3906 WASHINGTON BLVD                                                                             INDIANAPOLIS       IN 46205‐2639
MCCLOUD, PAUL A            309 E. UNION ST.                                                                                 LIBERTY            IN 47353‐7353
MCCLOUD, PAUL A            309 E UNION ST                                                                                   LIBERTY            IN 47353‐1212
MCCLOUD, PAUL R            101 FOUNTAIN COVE                                                                                LEESBURG           FL 34748‐8638
MCCLOUD, PAUL R            101 FOUNTAIN CV                                                                                  LEESBURG           FL 34748‐8638
MCCLOUD, RICHARD H         6470 LORRAINE DR                                                                                 MIDDLETOWN         OH 45042‐1318
MCCLOUD, RICKY D           224 CROWN POINT MDWS                                                                             CENTERVILLE        OH 45458‐4961
MCCLOUD, RONALD D          311 CEDARCREST DR                                                                                MARSHALL           TX 75672‐2256
MCCLOUD, RONALD DOUGLAS    311 CEDARCREST DR                                                                                MARSHALL           TX 75672‐2256
MCCLOUD, RUTH D            5891 WABADA AVE                                                                                  SAINT LOUIS        MO 63112‐3811
MCCLOUD, SCOTT H           9696 CRAUN RD                                                                                    DEWITT             MI 48820‐9123
MCCLOUD, STANLEY A         4224 ARDERY AVE                                                                                  DAYTON             OH 45406‐1301
MCCLOUD, TERRENCE B        56537 SUMMIT DR                                                                                  SHELBY TOWNSHIP    MI 48316‐5846
MCCLOUD, WILLIAM           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
                                                                 260
MCCLOUDY, WILLIE M         2602 MEADOW LARK DR                                                                              EAST POINT        GA   30344‐4030
MCCLOW, DARLENE M          6814 HERON VALLEY CT                                                                             LANSING           MI   48917‐8856
MCCLOY, BILLY W            925 LAWN VIEW LN                                                                                 FRANKLIN          TN   37064‐5567
MCCLOY, FLORENCE           4980 DOCKSIDE DR #102                                                                            FT MEYERS         FL   33919
MCCLOY, JOHN C             5112 4TH ST E                                                                                    BRADENTON         FL   34203‐4504
MCCLOYN, JAMES C           14005 S WILKIE AVE                                                                               GARDENA           CA   90249‐2818
MCCLUER, GEORGE F          828 LAIRD AVE NE                                                                                 WARREN            OH   44483‐5204
MCCLUGGAGE CAROLYN R       12657 GLADSTONE RD                                                                               NORTH JACKSON     OH   44451‐9664
MCCLUGGAGE JR, WALTER T    898 W POINT RD                                                                                   LAWRENCEBURG      TN   38464‐7080
MCCLUGHAM, ROBERT          BALDWIN & BALDWIN                     PO DRAWER 1349                                             MARSHALL          TX   75670
MCCLUNEY JR., LAWRENCE M   7004 E 123RD ST                                                                                  GRANDVIEW         MO   64030‐2070
MCCLUNEY, MARCELLE G       403 N CLEVELAND AVE                                                                              SHERMAN           TX   75090‐6313
MCCLUNEY, ROGER D          2315 FARROW AVE                                                                                  KANSAS CITY       KS   66104‐4421
MCCLUNEY, WENDY N          15028 LAKE SIDE DR                                                                               BASEHOR           KS   66007‐9715
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Name                              Address1                        Address2                         Address3            Address4         City             State Zip
MCCLUNEY, WENDY NICOLE            15028 LAKE SIDE DR                                                                                    BASEHOR           KS 66007‐9715
MCCLUNG DONALD LEON (502532)      BARON & BUDD                    3102 OAK LANE AVE , SUITE 1100                                        DALLAS            TX 75219
MCCLUNG JANET (492067)            BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD        OH 44067
                                                                  PROFESSIONAL BLDG
MCCLUNG MAHLON R (ESTATE OF)      BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                         NORTHFIELD       OH 44067
(488183)                                                          PROFESSIONAL BLDG
MCCLUNG WILLIAM THOMAS (439312)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA 23510
                                                                  STREET, SUITE 600
MCCLUNG, ALBERTA J                5134 HACKETT DR                                                                                       DAYTON           OH   45418‐2241
MCCLUNG, ANNMARIE L               821 UNION STREET                                                                                      MONROE           MI   48161
MCCLUNG, CLARENCE                 33646 FLORENCE ST                                                                                     GARDEN CITY      MI   48135‐1096
MCCLUNG, CLARENCE R               821 UNION STREET                                                                                      MONROE           MI   48161‐1548
MCCLUNG, CLIFTON U                7751 SE SYCAMORE DR                                                                                   HOLT             MO   64048‐9348
MCCLUNG, DAVID J                  1928 W COLUMBIA RD                                                                                    MASON            MI   48854‐9241
MCCLUNG, DENNIS J                 9580 W HOWE RD                                                                                        EAGLE            MI   48822‐9501
MCCLUNG, DENNIS JACK              9580 W HOWE RD                                                                                        EAGLE            MI   48822‐9501
MCCLUNG, DONALD E                 1656 E COUNTY ROAD 900 N                                                                              PITTSBORO        IN   46167‐9293
MCCLUNG, DONALD LEON              BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                         DALLAS           TX   75219
MCCLUNG, ERMA A                   987 BINNS BLVD                                                                                        COLUMBUS         OH   43204‐2380
MCCLUNG, GLENN R                  3099 PALMETTO DR                                                                                      MURRELLS INLET   SC   29576‐8221
MCCLUNG, HENRY L                  16390 W MONROE ST                                                                                     GOODYEAR         AZ   85338‐2719
MCCLUNG, HENRY LEE                16390 WEST MONROE STREET                                                                              GOODYEAR         AZ   85338‐2719
MCCLUNG, HOLLY E                  137 YORKTOWN RD                                                                                       FRANKLIN         TN   37064‐3235
MCCLUNG, JACQUELYN                430 N PARK AVE APT 510                                                                                INDIANAPOLIS     IN   46202‐3679
MCCLUNG, JAMES E                  PO BOX 562                                                                                            COULTERVILLE     IL   62237‐0562
MCCLUNG, JANET A                  119 OAKWOOD DR                                                                                        WEST MONROE      LA   71291
MCCLUNG, JANET L                  10776 QUARRY RD                                                                                       OBERLIN          OH   44074‐9546
MCCLUNG, KATHRYN G                3099 PALMETTO DR                                                                                      MURRELLS INLET   SC   29576‐8221
MCCLUNG, LARRY H                  2401 MERCER AVE                                                                                       MANSFIELD        OH   44906‐1357
MCCLUNG, LARRY L                  2557 BUD STIPP RD                                                                                     BEDFORD          IN   47421‐8935
MCCLUNG, MAHLON R                 BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                          NORTHFIELD       OH   44067
                                                                  PROFESSIONAL BLDG
MCCLUNG, MARGORIE M               1656 E CO RD 900 N                                                                                    PITTSBORO        IN   46167‐9293
MCCLUNG, MARGORIE M               1656 E COUNTY ROAD 900 N                                                                              PITTSBORO        IN   46167‐9293
MCCLUNG, MARIAN C                 10488 DEWHURST RD                                                                                     ELYRIA           OH   44035‐8406
MCCLUNG, RANDY L                  132 CRESENT DR                                                                                        PORTLAND         MI   48875‐1701
MCCLUNG, RANDY LEE                132 CRESENT DR                                                                                        PORTLAND         MI   48875‐1701
MCCLUNG, REESE A                  4212 MIDDLEBROOK COVE                                                                                 BRUNSWICK        OH   44212‐5315
MCCLUNG, THELMA                   855 STAHLBER RD #152            WESTOVER RETIRMENT VILLAGE                                            HAMILTON         OH   45013‐1963
MCCLUNG, WILLIAM THOMAS           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK          VA   23510
                                                                  STREET, SUITE 600
MCCLUNIE, LOYSE A                 8623 E. 50TH TERRACE                                                                                  KANSAS CITY      MO   64129‐2261
MCCLUNIE, LOYSE A                 8623 E 50TH TER                                                                                       KANSAS CITY      MO   64129‐2261
MCCLURE BRIAN                     46 STAGE COACH RD                                                                                     KELLER           TX   76248‐5011
MCCLURE BURL C                    MCCLURE, BURL C                 KRUKAS & MESSER                  533 EUROPE STREET                    BATON ROUGE      LA   70802
MCCLURE BURL C                    MCCLURE, MICHELLE               KRUKAS & MESSER                  533 EUROPE STREET                    BATON ROUGE      LA   70802
MCCLURE CHUCK                     MCCLURE, CHUCK                  2402 S MAIN STREET                                                    PRINCETON        IL   61356
MCCLURE CLARA DORTHELLA           C/O EDWARD O MOODY PA           801 WEST 4TH STREET                                                   LITTLE ROCK      AR   37600
MCCLURE CO.                                                       4101 N 6TH ST                                                                          PA   17110
MCCLURE DEBBIE                    7411 OAKLAND                                                                                          KINGWOOD         TX   77346
MCCLURE DORTHY                    406 HOLMAN LN                                                                                         CANYON           TX   79015‐4218
MCCLURE III, HARRY G              411 S 22ND ST                                                                                         SAGINAW          MI   48601‐1538
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Name                          Address1                        Address2              Address3         Address4         City              State Zip
MCCLURE JOEL                  10015 GRANT MEADOW LANE                                                                 SAINT LOUIS        MO 63123‐6281
MCCLURE JR, CHARLES           50 CHARLIE LN                                                                           MURPHY             NC 28906‐4040
MCCLURE JR, LEWIS F           1409 PROSPECT ST                                                                        FLINT              MI 48503‐1274
MCCLURE JR, LEWIS FREDERICK   1409 PROSPECT ST                                                                        FLINT              MI 48503‐1274
MCCLURE JR, THEO              816 W FORT WORTH ST                                                                     BROKEN ARROW       OK 74012‐3721
MCCLURE LEN (644703)          BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                             WILMINGTON         DE 19899‐2165
MCCLURE MCCOMBS               4086 E 136TH ST                                                                         CLEVELAND          OH 44105‐5506
MCCLURE RANDOLPH J            MCCLURE, RANDOLPH J
MCCLURE ROBERT                6494 PEPPERELL LN                                                                       CINCINNATI        OH   45236‐2236
MCCLURE ROBERT SR (644704)    ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                        BETHLEHEM         PA   18018
MCCLURE SR, MAJOR T           3625 NEWTON FALLS ST                                                                    NORTH LAS VEGAS   NV   89032‐1406
MCCLURE SUSAN                 6001 CITRUS AVE                                                                         FORT PIERCE       FL   34982‐3312
MCCLURE WILLARD D             2119 REMLIK DR                                                                          URBANNA           VA   23175‐2128
MCCLURE'S GARAGE              4409 OLD GRAND AVE                                                                      GURNEE            IL   60031‐2619
MCCLURE, ALAN R               1082 E FOREST AVE                                                                       YPSILANTI         MI   48198‐3909
MCCLURE, ALFRED L             155 CREEKWOOD DR                                                                        GRIFFIN           GA   30223‐6202
MCCLURE, ALICE M              5372 REGENCY DR                                                                         PARMA             OH   44129‐5961
MCCLURE, ANN R                5201 CROCUS AVENUE                                                                      LANSING           MI   48911‐3734
MCCLURE, ANNIE L              851 RANDOLPH STREET                                                                     DAYTON            OH   45408‐1733
MCCLURE, ARTHUR H             1299 FRENCH RD APT 4                                                                    DEPEW             NY   14043
MCCLURE, ARTHUR L             503 JORDAN RD                                                                           BOWIE             TX   76230‐7020
MCCLURE, BARBARA B            1250TENNIS PLACE CT             UNIT A22                                                SANIBEL           FL   33957‐3703
MCCLURE, BETTY J              13096 SPRUCE ST                                                                         SOUTHGATE         MI   48195‐1632
MCCLURE, BETTY R              4812 N SUSSEX RD APT 2                                                                  MUNCIE            IN   47304‐1086
MCCLURE, BOBBY R              75 HARRISON RD                                                                          MONROE            GA   30655‐7205
MCCLURE, BRIAN E              46 STAGE COACH RD                                                                       KELLER            TX   76248‐5011
MCCLURE, BURL C               KRUKAS & MESSER                 533 EUROPE ST                                           BATON ROUGE       LA   70802‐6408
MCCLURE, CHARLES D            23401 ROAD 104                                                                          OAKWOOD           OH   45873‐9645
MCCLURE, CHARLES DAVID        23401 ROAD 104                                                                          OAKWOOD           OH   45873‐9645
MCCLURE, CHARLES W            8910 EASTWAY DR                                                                         WHITE LAKE        MI   48386‐3580
MCCLURE, CHUCK                2402 S MAIN ST                                                                          PRINCETON         IL   61356
MCCLURE, CLARA D              11844 LUSHER RD                                                                         SAINT LOUIS       MO   63138‐1227
MCCLURE, CLARA D              11844 LUSHER ROAD                                                                       SAINT LOUIS       MO   63138‐1227
MCCLURE, CLARA DORTHELLA      MOODY EDWARD O                  801 W 4TH ST                                            LITTLE ROCK       AR   72201‐2107
MCCLURE, CLARENCE JAMES       G5172 BRANCH RD                                                                         FLINT             MI   48506‐1004
MCCLURE, CORA T               104 BELLAIRE AVENUE                                                                     DAYTON            OH   45420
MCCLURE, CURTIS C             13401 MARLOWE ST                                                                        DETROIT           MI   48227‐2880
MCCLURE, CYNTHIA              8741 ARCADIA ST                                                                         DETROIT           MI   48204‐2324
MCCLURE, DANIEL H             239 BELLARMINE DR                                                                       ROCHESTER HILLS   MI   48309‐1206
MCCLURE, DAVID L              16551 GARY RD                                                                           CHESANING         MI   48616‐9541
MCCLURE, DEBORAH F            5513 PATTERSON LN                                                                       ANDERSON          IN   46017‐9755
MCCLURE, DEBORAH J            1774 ERIC DR                                                                            DAYTON            OH   45414‐3917
MCCLURE, DOLORES              8203 GREEN LEAF LN                                                                      SHREVEPORT        LA   71108‐5705
MCCLURE, DOLORES              872 GALAXY CT                                                                           CINCINNATI        OH   45224‐1320
MCCLURE, DONALD C             14110 OAKES RD                                                                          PERRY             MI   48872‐9132
MCCLURE, DONALD P             3600 KING RD                                                                            SAGINAW           MI   48601‐7140
MCCLURE, DONALD R             428 N DEERFIELD AVE                                                                     LANSING           MI   48917‐2986
MCCLURE, DOUGLAS R            203 HEATON BLVD                                                                         NILES             OH   44446‐2005
MCCLURE, EDDIE L              892 ROTH RD                                                                             BOWIE             TX   76230‐7146
MCCLURE, EDNA                 31800 VAN DYKE                  APT 215                                                 WARREN            MI   48093‐7908
MCCLURE, EDNA                 21927 AVALON                                                                            ST CLAIR SHORES   MI   48080‐2337
MCCLURE, EDWIN R              P.O. BOX 153                                                                            FOWLER            OH   44418‐4418
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Name                   Address1                        Address2              Address3         Address4         City            State Zip
MCCLURE, EDWIN R       PO BOX 153                                                                              FOWLER           OH 44418‐0153
MCCLURE, ELSIE         G5172 BRANCH RD                                                                         FLINT            MI 48506‐1004
MCCLURE, ELVEENA L     3910 CEDAR LAKE RD                                                                      HOWELL           MI 48843‐5436
MCCLURE, FRANK L       825 CYPRESS ST                                                                          MONTEREY         CA 93940‐1517
MCCLURE, GERALD        8275 KIMBLE DRIVE                                                                       PINCKNEY         MI 48169‐8259
MCCLURE, HAROLD D      2483 EGLESTON AVENUE                                                                    BURTON           MI 48509‐1127
MCCLURE, HARRY J       10119 BUFORD DR                                                                         JACKSONVILLE     FL 32225‐6625
MCCLURE, HARRY P       10420 KATZAFOGLE ST                                                                     MOUNT MORRIS     MI 48458‐8548
MCCLURE, HARRY PAUL    10420 KATZAFOGLE ST                                                                     MOUNT MORRIS     MI 48458‐8548
MCCLURE, HAYDEN J      730 BRUSHY CREEK CIR                                                                    JACKSON          GA 30233‐6338
MCCLURE, HAYDEN M      1990 BUCK DANIELS RD                                                                    CULLEOKA         TN 38451‐2705
MCCLURE, HELEN         6916 STATE ROUTE 66                                                                     OAKWOOD          OH 45873‐9526
MCCLURE, HOWARD        BARTON & WILLIAMS               3007 MAGNOLIA ST                                        PASCAGOULA       MS 39567‐4126
MCCLURE, ISABELLE      3113 GARDENIA DR.                                                                       DAYTON           OH 45449‐5449
MCCLURE, JAMES A       1207 PARK DR                                                                            GREENWOOD        MO 64034‐9345
MCCLURE, JAMES A       49 BRIARCLIFF RD                                                                        GRIFFIN          GA 30223‐7010
MCCLURE, JAMES ALLEN   1207 PARK DR                                                                            GREENWOOD        MO 64034‐9345
MCCLURE, JAMES F       5579 N HUNTINGTON RD                                                                    MARION           IN 46952‐9062
MCCLURE, JENNIFER      6764 VIENNA WOODS TRAIL                                                                 DAYTON           OH 45459‐1270
MCCLURE, JERRY W       40 FAWN VALLEY CIR                                                                      SAINT PETERS     MO 63376‐7920
MCCLURE, JESSE E       9910 REESE RD                                                                           BIRCH RUN        MI 48415‐9445
MCCLURE, JOE           663 CARTERS CREEK PIKE                                                                  COLUMBIA         TN 38401‐7247
MCCLURE, JOE H         1513 BENT DR                                                                            FLINT            MI 48504‐1986
MCCLURE, JOHN H        5768 BURT RD                                                                            BIRCH RUN        MI 48415‐8717
MCCLURE, JOSEPHINE E   394 HARRIS HILL RD                                                                      WILLIAMSVILLE    NY 14221‐7407
MCCLURE, JUDITH        4025 S GRAHAM RD                                                                        SAGINAW          MI 48609‐9106
MCCLURE, JULIA S       4320 N EBERHART AVE                                                                     HARRISON         MI 48625‐8945
MCCLURE, KATHLEEN A.   7279 ANCHORAGE DR                                                                       MAUMEE           OH 43537‐9233
MCCLURE, KENNETH L     8546 TAFT RD                                                                            OVID             MI 48866‐9654
MCCLURE, KIRK E        DELPHI DELCO ELECTRONICS        PO BOX 9005 M/S SNB                                     KOKOMO           IN 46904
MCCLURE, LAWRENCE      2405 DOVER ST                                                                           ANDERSON         IN 46013‐3127
MCCLURE, LAWRENCE A.   2405 DOVER STREET                                                                       ANDERSON         IN 46013‐1327
MCCLURE, LAWRENCE T    12793 W SPRAGUE RD                                                                      N ROYALTON       OH 44133‐1052
MCCLURE, LEAH M        1745 CATALPA DR                                                                         DAYTON           OH 45406
MCCLURE, LEWIS L       3600 SHORELAND DR                                                                       BUFORD           GA 30518‐1577
MCCLURE, LEWIS R       11115 W 109TH ST                                                                        OVERLAND PARK    KS 66210‐1289
MCCLURE, LINDA L       5973 NORTHRIDGE CIR                                                                     WATERFORD        MI 48327‐1872
MCCLURE, LLOYD G       4500 INDIANAPOLIS ST NE                                                                 ST PETERSBURG    FL 33703‐4317
MCCLURE, LOU ELLA      11311 KELOWNA ST                                                                        LAKE VIEW TER    CA 91342‐6625
MCCLURE, LOU ELLA      11311 KELOWNA                                                                           LAKEVIEW TERR    CA 91342‐6625
MCCLURE, LYNNE P       11203 HOLLANDER AVENUE                                                                  HUDSON           FL 34667‐5742
MCCLURE, MARC A        1388 OLD HIGHWAY 99                                                                     COLUMBIA         TN 38401‐7733
MCCLURE, MARILYN J     266 KELSO RD                                                                            MITCHELL         IN 47446‐6024
MCCLURE, MARY L        14918 HONORE AVE                                                                        HARVEY            IL 60426‐2007
MCCLURE, MARY L        14918 HONORE ST                                                                         HARVEY            IL 60426‐2007
MCCLURE, MAYRENE S     17207 SAINT MARYS ST                                                                    DETROIT          MI 48235‐3531
MCCLURE, MEREDITH
MCCLURE, MICHAEL A     1543 SALEM AVE                                                                          DAYTON          OH   45406‐4958
MCCLURE, MICHAEL K     2061 PARADISE DR                                                                        LEWISBURG       TN   37091‐4533
MCCLURE, MICHAEL T     1110 E CHARLES RD                                                                       MARION          IN   46952‐9297
MCCLURE, MICHELLE      KRUKAS & MESSER                 533 EUROPE ST                                           BATON ROUGE     LA   70802‐6408
MCCLURE, MYRON E       5542 N STATE ROUTE 48                                                                   LEBANON         OH   45036‐9477
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Name                           Address1                         Address2             Address3         Address4         City            State Zip
MCCLURE, NEAL F                2725 ALPHA WAY                                                                          FLINT            MI 48506‐1832
MCCLURE, NORMAN P              PO BOX 82                                                                               OAKWOOD          OH 45873‐0082
MCCLURE, OPHIA                 1513 BENT DR                                                                            FLINT            MI 48504‐1986
MCCLURE, PATRICIA L            203 COTTON RD                                                                           COMMERCE         GA 30529‐6309
MCCLURE, PATRICIA L            203 COTTON ROAD                                                                         COMMERCE         GA 30529‐6309
MCCLURE, PATRICK E             5513 PATTERSON LN                                                                       ANDERSON         IN 46017‐9755
MCCLURE, RALPH G               30 BELL HILL RD                                                                         MURPHY           NC 28906‐4964
MCCLURE, RANDOLPH J            1297 LONDOLYN TERRACE NORTH                                                             TRAVERSE CITY    MI 49686‐8804
MCCLURE, RAYMOND C             2572 PLUM ST                                                                            SNELLVILLE       GA 30078‐3323
MCCLURE, RHONDA L              1409 PROSPECT ST                                                                        FLINT            MI 48503‐1274
MCCLURE, RICHARD M             5262 W 5 POINT HWY                                                                      CHARLOTTE        MI 48813‐9518
MCCLURE, RILEY C               1508 TAMALCO AVE                                                                        KEYESPORT         IL 62253‐2009
MCCLURE, ROBERT                ANGELOS PETER G LAW OFFICES      60 WEST BROAD ST                                       BETHLEHEM        PA 18018‐5737
MCCLURE, ROBERT B              7920 PRAIRIE VIEW DR                                                                    INDIANAPOLIS     IN 46256‐3491
MCCLURE, ROBERT E              3090 CARTERSBURG RD                                                                     DANVILLE         IN 46122‐8531
MCCLURE, ROBERT E              104 WHISLER LN                                                                          ROACH            MO 65787‐7740
MCCLURE, RONALD D              PO BOX 294                                                                              BRYAN            OH 43506‐0294
MCCLURE, ROSALEE               3530 POPLAR LANE                                                                        GREENVILLE       OH 45331‐5331
MCCLURE, ROSEMARY              610 NE ASH ST                                                                           LEES SUMMIT      MO 64063‐2605
MCCLURE, SAMUEL E              2838 W MAIN ST                                                                          TROY             OH 45373‐9410
MCCLURE, SAMUEL E              2838 STATE ROUTE 41 W                                                                   TROY             OH 45373‐9410
MCCLURE, SANDERS R             7107 TREVERTON DR                                                                       FORT WAYNE       IN 46816‐2243
MCCLURE, SARAH F               4611 DEER CREEK CT APT 11                                                               AUSTINTOWN       OH 44515‐5441
MCCLURE, SCOT L                148 DENNISON RD                                                                         MASSENA          NY 13662‐3223
MCCLURE, SHERRY                2331 SOWELL MILL PIKE                                                                   COLUMBIA         TN 38401‐8044
MCCLURE, SHIRLEY L             32 VICTOR DR                                                                            MOORESVILLE      IN 46158‐1060
MCCLURE, SHIRLEY L             32 VICTOR DR.                                                                           MOORESVILLE      IN 46158‐1060
MCCLURE, STELLA                369 N THIRD ST                                                                          WEST BRANCH      MI 48661‐1047
MCCLURE, STEPHEN R             2864 CHEROKEE VALLEY RD                                                                 RINGGOLD         GA 30736‐4367
MCCLURE, STEVEN L              2331 SOWELL MILL PIKE                                                                   COLUMBIA         TN 38401‐8044
MCCLURE, TERRI LYNN            1061 SOMERSET SPRINGS DRIVE                                                             SPRING HILL      TN 37174‐4555
MCCLURE, TERRY R               8461 CAPPY LN                                                                           SWARTZ CREEK     MI 48473‐1256
MCCLURE, THOMAS L              5149 COTTRELL RD                                                                        VASSAR           MI 48768‐9499
MCCLURE, TIMOTHY W             1863 GREENWOODS DR                                                                      JENISON          MI 49428‐9480
MCCLURE, VICTOR                1417 E MAIN ST                                                                          MOORE            OK 73160‐7821
MCCLURE, VINCENT L             291E CEDAR HILL ST                                                                      ALBION            IL 62806
MCCLURE, VIRGINIA D            105 N RENO RD                                                                           SHARPSVILLE      IN 46068‐9064
MCCLURE, VONLOLO               3302 E 105TH ST                                                                         CLEVELAND        OH 44104‐5610
MCCLURE, WILLIE G              1330 WEST HILLCREST AVE APT #1                                                          DAYTON           OH 45406‐1920
MCCLURE, WILLIE G              1330 W HILLCREST AVE APT 1                                                              DAYTON           OH 45406‐1920
MCCLURE, WILLIE L              4402 GREENLAWN DR                                                                       FLINT            MI 48504‐2028
MCCLURE, WILLIS F              241 MCCOY RD                                                                            CANTON           GA 30114‐4771
MCCLURE, YVONNE B              430 DUTCHMILL CT                                                                        FLUSHING         MI 48433‐2105
MCCLURE, YVONNE B              62 ASHLEY CIR                                                                           SWARTZ CREEK     MI 48473‐1173
MCCLURE‐RAGGS, CHRISTINA R     9712 PIPER LAKE DR                                                                      INDIANAPOLIS     IN 46239‐6834
MCCLURG CHEVROLET OLDSMOBILE   16 PARKER LN                                                                            PERRY            NY 14530‐9772
PONTIA
MCCLURG CHEVROLET OLDSMOBILE   16 PARKER LN                                                                            PERRY           NY 14530‐9772
PONTIAC BUICK INC
MCCLURG CHEVROLET OLDSMOBILE   JOHN MCCLURG                     16 PARKER LN                                           PERRY           NY 14530‐9772
PONTIAC BUICK INC
MCCLURG JR, WENDELL G          531 LAKEVIEW DR APT B                                                                   CORTLAND        OH 44410‐1556
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Name                         Address1                         Address2                     Address3   Address4         City              State Zip
MCCLURG LEIGH, AARON L       859 RAMBLING DR                                                                           ROCHESTER HILLS    MI 48307‐2883
MCCLURG, DOROTHY A           935 LEAFLOCK CT                  C/O TIMOTHY A MCCLURG                                    GAHANNA            OH 43230‐3275
MCCLURG, EDGAR D             5128 W PREAKNESS CT                                                                       MUNCIE             IN 47304‐5327
MCCLURG, MARLENE M           149 E WOOD ST                                                                             VERSAILLES         OH 45380‐1443
MCCLURG, MARLENE M           149 E. WOOD ST.                                                                           VERSAILES          OH 45380‐1443
MCCLURG, NED S               8121 BROKEN RDG E                                                                         HARBOR SPRINGS     MI 49740‐8201
MCCLURKIN JESSE J (478860)   ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE          MD 21202
                                                              CHARLES CENTER 22ND FLOOR
MCCLURKIN, JESSE J           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE         MD 21202
                                                              CHARLES CENTER 22ND FLOOR
MCCLURKIN, ZULA              1101 WILSON DRIVE                                                                         DAYTON            OH   45407‐1620
MCCLUSKEY CHEVROLET INC      8525 READING RD                                                                           CINCINNATI        OH   45215‐5530
MCCLUSKEY CHEVROLET, INC.    8525 READING RD                                                                           CINCINNATI        OH   45215‐5530
MCCLUSKEY CHEVROLET, INC.    ATTN: TEHRAN LEE                 PO BOX 15309                                             CINCINNATI        OH   45215‐0309
MCCLUSKEY CHEVROLET, INC.    KEITH MCCLUSKEY                  9673 KINGS AUTO MALL RD                                  CINCINNATI        OH   45249‐8241
MCCLUSKEY CHEVROLET, INC.    PO BOX 15309                                                                              CINCINNATI        OH   45215‐0309
MCCLUSKEY CHEVROLET, INC.    601 THIRD STREET                                                                          CINCINNATI        OH   45215
MCCLUSKEY CHEVROLET, INC.    TERHAN LEE                       PO BOX 15309                                             CINCINNATI        OH   45215‐0309
MCCLUSKEY HUGH B             9 SYLVAN WAY STE 285                                                                      PARSIPPANY        NJ   07054
MCCLUSKEY, DENNIS L          210 MCKEON DR                                                                             N ATTLEBORO       MA   02760‐4514
MCCLUSKEY, DOLORES R         8440 HAWTHORNE ST                                                                         ALTA LOMA         CA   91701‐4545
MCCLUSKEY, HAROLD G          9336 HILLSIDE CT                                                                          DAVISON           MI   48423‐8420
MCCLUSKEY, JOAN E            PO BOX 240023                                                                             KANSAS CITY       MO   64124
MCCLUSKEY, KAY R             5323 GROBE ST                                                                             NORTH PORT        FL   34287
MCCLUSKEY, LOUIS             696 THACHER ST                                                                            ATTLEBORO         MA   02703‐3402
MCCLUSKEY, ROGER A           2735 5TH CT                                                                               PALM HARBOR       FL   34684
MCCLUSKEY, VICTORIA          2735 5TH CT                                                                               PALM HARBOR       FL   34684‐3820
MCCLUSKEY, VIRGINIA J        9336 HILLSIDE CT                                                                          DAVISON           MI   48423‐8420
MCCLUSKY, CHARLES J          370 SHUMMARD BRANCH                                                                       OXFORD            MI   48371‐6365
MCCLUSKY, CHARLES J          370 SHUMMARD DR                                                                           OXFORD            MI   48371‐6365
MCCLUSKY, DONNA JEAN         116 HOSNDER DR                                                                            OXFORD            MI   48371‐5218
MCCLUSKY, GAIL               316 N CHURCH ST BROOKLYN                                                                  MOORESVILLE       IN   46158‐8159
MCCLUSKY, GARY L             291 E SHEFFIELD AVE                                                                       PONTIAC           MI   48340‐1968
MCCLUSKY, JOHN F             59 HAMILTON ST                                                                            PONTIAC           MI   48342‐1335
MCCLUSKY, JOHN G             196 OTIS RD                                                                               COLUMBIA          LA   71418‐7552
MCCLUSKY, JOHN GLEN          196 OTIS RD                                                                               COLUMBIA          LA   71418‐7552
MCCLUSKY, PATRICIA A         526 HAREFOOTE ST                                                                          HOLLAND           OH   43528‐9644
MCCOART JR., PETE            2463 W 100 N                                                                              HUNTINGTON        IN   46750‐7828
MCCOART, GLENN M             2002 COLTER CV                                                                            FORT WAYNE        IN   46808‐3519
MCCOIC, DONALD A             1749 GARDEN DRIVE                                                                         JANESVILLE        WI   53546‐5625
MCCOIG, RONALD G             77 MCCOIG LN                                                                              CHESTERFIELD      SC   29709‐8124
MCCOIN ED                    6682 N WOODLAWN DR                                                                        MONTPELIER        IN   47359‐9622
MCCOIN, JIMMY DEAN           2565 GREEN VALLEY DR                                                                      TOLEDO            OH   43614‐4941
MCCOIN, LEO J                7413 N 300 E                                                                              MONTPELIER        IN   47359‐9617
MCCOIN, MATT D               5702 ANGOLA RD LOT 57                                                                     TOLEDO            OH   43615‐6342
MCCOIN, TOMMY D              2524 SW 58TH ST                                                                           OKLAHOMA CITY     OK   73119‐5829
MCCOIN, VALITA               2565 GREEN VALLEY DR                                                                      TOLEDO            OH   43614‐4941
MCCOIN, VALITA D             2565 GREEN VALLEY DR                                                                      TOLEDO            OH   43614‐4941
MCCOIN, VALITA D             342 WREXHAM LANE                 UNIT 101                                                 MAUMEE            OH   43537
MCCOLE, DEBRA K              807 W TRENTON AVE                                                                         MORRISVILLE       PA   19067‐3516
MCCOLE, DEBRA K              807 WEST TRENTON AVE.                                                                     MORRISVILLE       PA   19067‐3516
MCCOLGAN & COMPANY LLC       PO BOX 451189                                                                             ATLANTA           GA   31145‐9189
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Name                         Address1                      Address2                         Address3   Address4         City            State Zip
MCCOLGAN JOHN                MCCOLGAN, JOHN                9369 SHERIDAN STREET SUITE 656                               HOLLYWOOD        FL 33024
MCCOLGAN, MICHAEL L          2253 DEER OAK WAY                                                                          DANVILLE         CA 94506‐2018
MCCOLL, DAVID E              9565 N GUNDY RD                                                                            ROANOKE          IN 46783‐9171
MCCOLL, DAVID EDWARD         9565 N GUNDY RD                                                                            ROANOKE          IN 46783‐9171
MCCOLL, TERRY L              877 N LEROY ST                                                                             FENTON           MI 48430‐2739
MCCOLL, TRAVIS L             3270 ALPENA ST                                                                             BURTON           MI 48529‐1448
MCCOLL, VIRGINIA MAE         1612 S HUGHES RD                                                                           BRIGHTON         MI 48114‐7306
MCCOLLEY JOSEPH P (474475)   GEORGE & SIPES                151 N DELAWARE ST STE 1700                                   INDIANAPOLIS     IN 46204‐2503
MCCOLLEY KENNETH             50 SOUTH ST                                                                                TEMPLE           GA 30179‐3810
MCCOLLEY, CYNTHIA M          9034 SILVER PINE DR                                                                        SOUTH LYON       MI 48178‐9367
MCCOLLEY, DONALD R           PO BOX 359                                                                                 CARTHAGE         IN 46115‐0359
MCCOLLEY, HOWARD R           2410 E HIGGINS LAKE DR                                                                     ROSCOMMON        MI 48653‐7626
MCCOLLEY, JOSEPH P           GEORGE & SIPES                151 N DELEWARE ST                STE 1700                    INDIANAPOLIS     IN 46204‐2503
MCCOLLEY, KEVIN R            2326 S DYE RD                                                                              FLINT            MI 48532‐4126
MCCOLLEY, RONALD G           7897 W RIVER RD                                                                            ROANN            IN 46974‐9534
MCCOLLEY, RONALD GENE        7897 W RIVER RD                                                                            ROANN            IN 46974‐9534
MCCOLLINS, KENESHIA          1542 GARLAND ST                                                                            DETROIT          MI 48214‐4032
MCCOLLINS, TYRONE            13933 CLOVERLAWN ST                                                                        DETROIT          MI 48238‐2415
MCCOLLISTER, JOHN W          PO BOX 311                                                                                 LA FONTAINE      IN 46940‐0311
MCCOLLISTERS                 PO BOX 822685                                                                              PHILADELPHIA     PA 19182‐2685
MCCOLLOM, DANIEL F           3131 NEWPORT CT                                                                            TROY             MI 48084‐1324
MCCOLLOM, MAE F              1310 PALLISTER ST APT 918                                                                  DETROIT          MI 48202‐2618
MCCOLLOM, MAE F              1310 PALLISTER ST.            APT # 918                                                    DETROIT          MI 48202
MCCOLLOM, MARSHALL A         6127 RIVA RIDGE DR                                                                         INDIANAPOLIS     IN 46237‐5003
MCCOLLOM, PEARL              12198 E PERCY RD                                                                           SHINGLETON       MI 49884
MCCOLLOR, MICHAEL P          PO BOX 54                                                                                  EAGLE            MI 48822‐0054
MCCOLLOUGH, CARL             6170 PHOENIX RD                                                                            BASCOM           FL 32423‐9240
MCCOLLOUGH, EVA M            975 OTTAWA AVE                                                                             YPSILANTI        MI 48198‐8010
MCCOLLOUGH, GEORGE R         3466 SUNBURY LANE                                                                          CINCINNATI       OH 45251‐2393
MCCOLLOUGH, GEORGE R         3466 SUNBURY LN                                                                            CINCINNATI       OH 45251‐2393
MCCOLLOUGH, KENNETH E        714 ANNA DR                                                                                DEXTER           MO 63841‐1883
MCCOLLOUGH, MARY B           784 SHERWOOD DR                                                                            JONESBORO        GA 30236‐1822
MCCOLLOUGH, ROCHELLE D       1702 STONYBROOK DR                                                                         CINCINNATI       OH 45237‐3206
MCCOLLOUGH, ROY E            9087 ROBERTS RD                                                                            GREGORY          MI 48137
MCCOLLOUGH, WALLACE W        932 MERIDIAN STREET                                                                        ANDERSON         IN 46016‐1748
MCCOLLUM ROBERT M            1442 HILLTOP DR                                                                            GRAND BLANC      MI 48439‐1710
MCCOLLUM'S AUTO CENTER       901 E PARKER RD                                                                            PLANO            TX 75074‐5424
MCCOLLUM, ANA ROSA           1919 N CLINTON ST                                                                          SAGINAW          MI 48602‐4824
MCCOLLUM, ANNA E             2417 YOUNGSTOWN LOCKPORT RD                                                                RANSOMVILLE      NY 14131
MCCOLLUM, ARLANDUS           4726 BAKER RD                                                                              BRIDGEPORT       MI 48722‐9596
MCCOLLUM, ARTHUR D           21 AMBLESIDE DR                                                                            LOCKPORT         NY 14094‐3403
MCCOLLUM, BARBARA A          210 N LINDEN ST                                                                            DU QUOIN          IL 62832‐1020
MCCOLLUM, BARRY G            PO BOX 572                                                                                 NORTH JACKSON    OH 44451‐0572
MCCOLLUM, BETTY A            130 E MADISON ST                                                                           PETERSBURG       MI 49270‐9476
MCCOLLUM, CATHY L            216 CAMILLE CIR                                                                            GADSDEN          AL 35901
MCCOLLUM, CHERYL L           12400 BEECHER RD                                                                           FLUSHING         MI 48433‐9759
MCCOLLUM, CHERYL LYNN        12400 BEECHER RD                                                                           FLUSHING         MI 48433‐9759
MCCOLLUM, CINDY S            PO BOX 443                                                                                 GASPORT          NY 14067‐0443
MCCOLLUM, CODY               110 BEL AIRE LOOP                                                                          FAYETTEVILLE     GA 30215‐2780
MCCOLLUM, CYNTHIA L          10323 RIDGE RD                                                                             MEDINA           NY 14103‐9422
MCCOLLUM, D'JUANA F          701 S MEADE ST                                                                             FLINT            MI 48503‐2201
MCCOLLUM, D'JUANA FAYE       701 S MEADE ST                                                                             FLINT            MI 48503‐2201
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Name                          Address1                         Address2                      Address3   Address4         City                State Zip
MCCOLLUM, DAISY S             8290 HUNLEY RIDGE RD                                                                       MATTHEWS             NC 28104‐2946
MCCOLLUM, DALE C              1975 S FENNER RD                                                                           CARO                 MI 48723‐9645
MCCOLLUM, DAVID A             2711 HAMPSHIRE ST                                                                          SAGINAW              MI 48601‐4517
MCCOLLUM, DAVID K             130 E MADISON ST                                                                           PETERSBURG           MI 49270‐9476
MCCOLLUM, DAVID L             5047 S TOW RD                                                                              SHERIDAN             MI 48884‐9772
MCCOLLUM, DAVID LEE           5047 S TOW RD                                                                              SHERIDAN             MI 48884‐9772
MCCOLLUM, DENA                107 BRISTOL SQ                                                                             WOODSTOCK            GA 30188‐2920
MCCOLLUM, DOROTHY L           4719 LOCUST RD                                                                             SAGINAW              MI 48604‐9563
MCCOLLUM, DOYLE L             189 SPURLIN                                                                                RICHMOND             KY 40475
MCCOLLUM, ELIZABETH           1230 W JEFFRAS AVE                                                                         MARION               IN 46952‐3434
MCCOLLUM, ELIZABETH           1230 JEFFRAS AVE                                                                           MARION               IN 46952‐3434
MCCOLLUM, ENZELL B            2711 HAMPSHIRE ST                                                                          SAGINAW              MI 48601‐4517
MCCOLLUM, ERNEST B            227 BEACHWOOD DRIVE                                                                        YOUNGSTOWN           OH 44505‐4505
MCCOLLUM, GARY L              8414 JACLYN ANN DR                                                                         FLUSHING             MI 48433‐2912
MCCOLLUM, GWEN S.             1205 JAY ST.                                                                               YPSILANTI            MI 48198‐6460
MCCOLLUM, GWEN S.             1205 JAY AVE                                                                               YPSILANTI            MI 48198‐6460
MCCOLLUM, HOMER S             5316 SEYMOUR RD                                                                            SWARTZ CREEK         MI 48473‐1032
MCCOLLUM, HOMER STEPHEN       5316 SEYMOUR RD                                                                            SWARTZ CREEK         MI 48473‐1032
MCCOLLUM, JACOB I             6036 COOPER ST                                                                             TAYLOR               MI 48180‐1247
MCCOLLUM, JACQUELINE          7111 OUTER DRIVE                                                                           DETROIT              MI 48235
MCCOLLUM, JEAN                110 BEL AIRE LOOP                                                                          FAYETTEVILLE         GA 30215‐2780
MCCOLLUM, JIMMIE L            1316 HORSESHOE DR                                                                          LEWISBURG            TN 37091‐6906
MCCOLLUM, JOSEPHINE S         PO BOX 83                                                                                  VERNON               MI 48476‐0083
MCCOLLUM, KATHLEEN M.         APT A203                         1397 GAMBRELL DRIVE                                       PONTIAC              MI 48340‐2136
MCCOLLUM, KEVIN L             2148 JONATHAN CIR                                                                          SHELBY TWP           MI 48317‐3827
MCCOLLUM, LARRY J             7101 ACADEMY LN                                                                            LOCKPORT             NY 14094‐5354
MCCOLLUM, LARRY M             711 FAYETTE DR                                                                             EULESS               TX 76039‐3243
MCCOLLUM, LAUREN Z            4524 UPPER MOUNTAIN RD                                                                     LOCKPORT             NY 14094‐9608
MCCOLLUM, LINDA S             12708 E 37TH STREET CT S                                                                   INDEPENDENCE         MO 64055‐3124
MCCOLLUM, MADGE L             PO BOX 58217                                                                               OKLAHOMA CITY        OK 73157‐8217
MCCOLLUM, MAE B               SPECIALITY CENTER OF PENSACOLA   6984 PINE FOREST                                          PENSACOLA            FL 32526‐8908
                                                               RD/R/MCCOLLIUM
MCCOLLUM, MARSHALL            1011 KRUST DR                                                                              OWOSSO              MI   48867‐1921
MCCOLLUM, MAX H               210 N LINDEN ST                                                                            DU QUOIN            IL   62832‐1020
MCCOLLUM, MICHAEL A           PO BOX 138                                                                                 VERNON              MI   48476‐0138
MCCOLLUM, MICHAEL ALLAN       PO BOX 138                                                                                 VERNON              MI   48476‐0138
MCCOLLUM, MILDRED I           8499 EM‐71                       LOT229                                                    DURAND              MI   48429
MCCOLLUM, NANCY L             8115 BELL RD                                                                               BIRCH RUN           MI   48415‐9011
MCCOLLUM, RANDALL F           2415 RAINIER ST                                                                            SAGINAW             MI   48603‐3323
MCCOLLUM, RANDALL FREDERICK   2415 RAINIER ST                                                                            SAGINAW             MI   48603‐3323
MCCOLLUM, RICHARD D           1315 S PORTER ST                                                                           KIRKSVILLE          MO   63501‐1744
MCCOLLUM, ROBERT C            208 N CHERRY ST                                                                            FLUSHING            MI   48433‐1604
MCCOLLUM, ROBERT M            1442 HILLTOP DR                                                                            GRAND BLANC         MI   48439‐1710
MCCOLLUM, SEDGEWICK J         701 S MEADE ST                                                                             FLINT               MI   48503‐2201
MCCOLLUM, TRINA               419 N WEST ST                                                                              TIPTON              IN   46072‐1330
MCCOLLUM, WILLIAM L           PO BOX 674                                                                                 INTERCESSION CITY   FL   33848
MCCOLM, MYRTLE                7615 THAMES CT 291                                                                         WEST CHESTER        OH   45069
MCCOLPIN ROBERT (440781)      BRAYTON PURCELL                  PO BOX 6169                                               NOVATO              CA   94948‐6169
MCCOLPIN, ROBERT              BRAYTON PURCELL                  PO BOX 6169                                               NOVATO              CA   94948‐6169
MCCOMAS EZRA                  4228 MAYVILLE RD                                                                           SILVERWOOD          MI   48760‐9705
MCCOMAS STEPHEN A (361297)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                               STREET, SUITE 600
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Name                      Address1                           Address2                      Address3   Address4         City              State Zip
MCCOMAS, BUDDY D          903 SW 19TH ST                                                                               BLUE SPRINGS       MO 64015‐4021
MCCOMAS, CHARLES D        3874 CLIFFORD RD                                                                             SILVERWOOD         MI 48760‐9781
MCCOMAS, CHARLES W        444 HATHAWAY CT                                                                              W JEFFERSON        OH 43162‐1035
MCCOMAS, DEBORAH D        4862 TERNES ST                                                                               DETROIT            MI 48210‐2141
MCCOMAS, DENNIS L         246 OLD STATE RD                                                                             NORTH FAIRFIELD    OH 44855‐9622
MCCOMAS, EUSTICE J        90 CHAMBERS DR                     C/O KATHERINE WHITE                                       DANVILLE           WV 25053‐8061
MCCOMAS, FRANKLIN D       4862 TERNES ST                                                                               DETROIT            MI 48210‐2141
MCCOMAS, HOWARD R         39 N METZGER AVE                                                                             RITTMAN            OH 44270‐1223
MCCOMAS, JOHN L           2916 ROSE LN                                                                                 KOKOMO             IN 46902‐3242
MCCOMAS, KATHRYN A        2121 ALTON DR                                                                                KOKOMO             IN 46901‐4160
MCCOMAS, KITTY L          2511 S EVANSTON AVE                                                                          INDEPENDENCE       MO 64052‐1564
MCCOMAS, MARIANNE         402 TUSCAN RESERVE DRIVE           UNIT 210                                                  PALM COAST         FL 32164
MCCOMAS, MARIANNE         # 210                              402 TUSCAN RESERVE DRIVE                                  PALM COAST         FL 32164‐1803
MCCOMAS, MARTHA M         48432 PANCAKE CLARKSON RD                                                                    ROGERS             OH 44455‐9724
MCCOMAS, MARTIN V         2696 EHRHART DR                                                                              SPRINGFIELD        OH 45502‐9112
MCCOMAS, PATRICIA
MCCOMAS, PRISCILLA J.     4526 VETTELSON RD.                                                                           HARTLAND          WI   53029
MCCOMAS, ROSE             579A EASON DR                                                                                SEVERN            MD   21144‐1237
MCCOMAS, ROSE             579A EASON DRIVE                                                                             SEVERN            MD   21144
MCCOMAS, STEPHEN A        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                             STREET, SUITE 600
MCCOMAS, SUE E            3902 HULL RD                                                                                 HURON             OH 44839‐2128
MCCOMAS, TIM
MCCOMB, AGATHA D          1169 THAMES DR                                                                               ROCHESTER HILLS   MI   48307‐5744
MCCOMB, AUSEY E           4224 JENNINGS RD.                                                                            SAINT LOUIS       MO   63121
MCCOMB, CARL A            2444 CARPENTER RD                                                                            LAPEER            MI   48446‐9106
MCCOMB, DARLENE J         1241 ROODS LAKE RD                                                                           LAPEER            MI   48446‐8366
MCCOMB, DAVID L           4721 SEEGER ST                                                                               CASS CITY         MI   48726‐1253
MCCOMB, DEBORAH           GOODKIND LABATON RUDOFF &          100 PARK AVENUE                                           NEW YORK          NY   10017‐5563
                          SUCHAROW
MCCOMB, DORIS A           3623 W LANSING RD                                                                            ROSCOMMON         MI   48653‐9503
MCCOMB, DORIS A           3623 LANSING RD                                                                              ROSCOMMON         MI   48653‐9503
MCCOMB, DOROTHA P         2287 S CENTER RD APT 808                                                                     BURTON            MI   48519
MCCOMB, DOUGLAS M         290 E SHERWOOD RD                                                                            WILLIAMSTON       MI   48895‐9323
MCCOMB, DOUGLAS MARK      290 E SHERWOOD RD                                                                            WILLIAMSTON       MI   48895‐9323
MCCOMB, DWIGHT R          2900 BALDWIN RD                                                                              LAPEER            MI   48446‐9502
MCCOMB, GALEN J           500 S KINGSWOOD ST                                                                           DURAND            MI   48429‐1732
MCCOMB, GARTH R           2612 FARNSWORTH RD                                                                           LAPEER            MI   48446‐8717
MCCOMB, HAZEL E           7332 116TH ST                                                                                FLUSHING          MI   48433‐8755
MCCOMB, JACQUELINE
MCCOMB, JOHN T            8216 DODGE RD                                                                                OTISVILLE         MI   48463‐9485
MCCOMB, KENNETH E         1110 BRADFIELD ST                                                                            BAY CITY          MI   48706‐4003
MCCOMB, KENNETH J         1536 S STATE ST SPC 218A                                                                     HEMET             CA   92543‐7621
MCCOMB, LAUREN KIMBERLY   11801 PAINTED PEAK WAY                                                                       FORT WAYNE        IN   46845‐2069
MCCOMB, MICHAEL W         6606 VISTA DR                                                                                SAGINAW           MI   48603‐9690
MCCOMB, MICHELLE L        4923 NW GATEWAY APT 9                                                                        RIVERSIDE         MO   64150
MCCOMB, MIKE A            PO BOX 2225                                                                                  JANESVILLE        WI   53547
MCCOMB, NORMAN E          4711 ROWAN RD APT 411                                                                        NEW PORT RICHEY   FL   34653‐5605
MCCOMB, PAMELA J          468 CHARING CROSS DR                                                                         GRAND BLANC       MI   48439
MCCOMB, RENE              2154 STOWE LN                                                                                MT PLEASANT       TN   38474‐2838
MCCOMB, RICHARD R         432 CARRIE DR                                                                                FLUSHING          MI   48433‐1922
MCCOMB, ROBERT            PORTER & MALOUF PA                 4670 MCWILLIE DR                                          JACKSON           MS   39206‐5621
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Name                              Address1                         Address2                       Address3                     Address4         City             State Zip
MCCOMB, ROBERT W                  1241 ROODS LAKE RD                                                                                            LAPEER            MI 48446‐8366
MCCOMB, RONALD                    220 S RACCOON RD                                                                                              YOUNGSTOWN        OH 44515‐2628
MCCOMB, SALLY A                   8216 DODGE RD                                                                                                 OTISVILLE         MI 48463‐9485
MCCOMB, STEVEN J                  4029 MACKINAC DRIVE                                                                                           JANESVILLE        WI 53546‐1446
MCCOMB, SUSAN M                   5392 DUNBAR DR                                                                                                GRAND BLANC       MI 48439‐9152
MCCOMB, THEODORE W                715 DELZIN DR                    APT 5                                                                        COLUMBIA CITY     IN 46725
MCCOMB, TINA M                    1258 CONTINENTAL DR                                                                                           WENTZVILLE        MO 63385‐1945
MCCOMB, TINA MARIE                1258 CONTINENTAL DRIVE                                                                                        WENTZVILLE        MO 63385‐1945
MCCOMB, WAYNE E                   1555 SCHUST RD                                                                                                SAGINAW           MI 48604‐1608
MCCOMBER JR, GLENN                7223 DURAND RD                                                                                                NEW LOTHROP       MI 48460‐9764
MCCOMBER, CHARLES A               410 S WILDER RD                                                                                               LAPEER            MI 48446‐9430
MCCOMBER, DAVID K                 2242 HARTFORD AVE                                                                                             WATERFORD         MI 48327‐1114
MCCOMBES, FLORENCE                470 W DELAVAN                                                                                                 BUFFALO           NY 14213‐1413
MCCOMBES, FLORENCE                470 W DELAVAN AVE                                                                                             BUFFALO           NY 14213‐1413
MCCOMBS BEVERLY                   MCCOMBS, BEVERLY                 120 WEST MADISON STREET 10TH                                                 CHICAGO            IL 60602
                                                                   FLOOR
MCCOMBS PONT‐GMC/MCCOMBS FLEET    4800 NW LOOP 410                                                                                              SAN ANTONIO       TX   78229‐5310
SVC
MCCOMBS PONTIAC‐GMC TRUCK LTD     ROBERT R BIECHLIN JR             THORNTON BIECHLIN, SEGRATO,    100 N E LOOP 410 SUITE 500                    SAN ANTONIO       TX   78216
                                                                   REYNOLDS & GUERRA LC
MCCOMBS PONTIAC‐GMC TRUCK, LTD.   GARY WOODS                       4800 NW LOOP 410                                                             SAN ANTONIO      TX    78229‐5310
MCCOMBS, ALFORD                   625 W YORK AVE                                                                                                FLINT            MI    48505‐2031
MCCOMBS, AVEL                     3922 GRACELAND AVE                                                                                            INDIANAPOLIS     IN    46208‐3904
MCCOMBS, BARBARA O                2668 PRITCHARD OHLTOWN RD SW                                                                                  WARREN           OH    44481‐9689
MCCOMBS, BETTY J                  3209 WILLIAMS DR                                                                                              KOKOMO           IN    46902‐7502
MCCOMBS, BEVERLY                  KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                                                 CHICAGO          IL    60602
                                                                   FLOOR
MCCOMBS, BILLY                    PORTER & MALOUF PA               4670 MCWILLIE DR                                                             JACKSON          MS    39206‐5621
MCCOMBS, BONNIE S                 9152 RICHFIELD RD                                                                                             SAINT HELEN      MI    48656‐9708
MCCOMBS, BONNIE S                 9152 N. RICHFIELD ST.                                                                                         ST. HELEN        MI    48656‐9708
MCCOMBS, BRUCE G                  10032 NORTHWIND DR                                                                                            INDIANAPOLIS     IN    46256‐9339
MCCOMBS, CARL                     10334 FOUR MILE CREEK ROAD                                                                                    CHARLOTTE        NC    28277‐8702
MCCOMBS, CHARLES L                4427 NEBRASKA AVE                                                                                             SAINT LOUIS      MO    63111‐1202
MCCOMBS, DELLA M                  21208 WAYMOUTH RUN                                                                                            ESTERO           FL    33928‐3243
MCCOMBS, EARL D                   1720 FACEVILLE HWY                                                                                            BAINBRIDGE       GA    39819‐6533
MCCOMBS, ERNEST W                 1871 CHAPMAN AVE                                                                                              EAST CLEVELAND   OH    44112‐3405
MCCOMBS, GARY D                   2003 WINDSOR DR                                                                                               COLUMBIA         TN    38401‐4954
MCCOMBS, GREGORY A                595 LAKEWOOD PL                                                                                               GREENTOWN        IN    46936‐9704
MCCOMBS, JACKIE R                 3301 SOUTHFIELD DR                                                                                            SAGINAW          MI    48601‐5679
MCCOMBS, JAMES T                  736 CRESTMORE AVE                                                                                             DAYTON           OH    45402‐5213
MCCOMBS, JAMES THOMAS             736 CRESTMORE AVE                                                                                             DAYTON           OH    45402‐5213
MCCOMBS, JANETTA                  26151 LAKE SHORE BLVD APT 1410   APT 1410                                                                     EUCLID           OH    44132‐1156
MCCOMBS, JANICE                   4295 BELL STATION RD                                                                                          CIRCLEVILLE      OH    43113
MCCOMBS, JEAN                     1821 CRANBERRY LN NE A 246                                                                                    WARREN           OH    44483
MCCOMBS, JEFFERY L                1509 CHERRY HILL LANE                                                                                         KOKOMO           IN    46902‐3131
MCCOMBS, JOHN D                   836 WELLMON ST                                                                                                BEDFORD HTS      OH    44146‐3854
MCCOMBS, JOHN H                   4006 RADTKA DR SW                                                                                             WARREN           OH    44481‐9207
MCCOMBS, JOSEPH D                 3209 WILLIAMS DR                                                                                              KOKOMO           IN    46902‐7502
MCCOMBS, JOSHUA S                 3294 STREAMSIDE DR                                                                                            DAVIDSON         NC    28035‐8325
MCCOMBS, KAREN L                  9618 W 610 S                                                                                                  LYONS            IN    47443‐7104
MCCOMBS, KAREN M                  7580 BUCHANAN DR                                                                                              BOARDMAN         OH    44512‐5752
MCCOMBS, KARLA J                  15011 OAKRIDGE RD                                                                                             CARMEL           IN    46032
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Name                      Address1                            Address2                       Address3   Address4         City              State Zip
MCCOMBS, KATHRYN A        4040 SOLITUDE CT                                                                               NOBLESVILLE        IN 46062
MCCOMBS, KITTY L          1720 FACEVILLE HWY                                                                             BAINBRIDGE         GA 39819‐6533
MCCOMBS, LARRY G          9423 VAN BUREN ST                                                                              SAINT HELEN        MI 48656‐9631
MCCOMBS, MCCLURE          4086 E 136TH ST                                                                                CLEVELAND          OH 44105‐5506
MCCOMBS, MIKE             737 PARK AVE                                                                                   NEWTON FALLS       OH 44444‐1066
MCCOMBS, RICK K           6449 HAWTHORNE ST                                                                              GARDEN CITY        MI 48135‐2008
MCCOMBS, ROBERT D         7535 STONEVALLEY BLF                                                                           CLARKSTON          MI 48348‐4378
MCCOMBS, ROBERT W         6011 SELBY CT                                                                                  NOBLESVILLE        IN 46062
MCCOMBS, ROY A            299 CEDARWOOD DR                                                                               LEXINGTON          OH 44904‐9363
MCCOMBS, VEDA D           APT 507                             825 NORTH MERIDIAN STREET                                  GREENTOWN          IN 46936‐1270
MCCOMBS, VEDA D           825 NORTH MERIDIAN ST               APT 507                                                    GREENTOWN          IN 46936
MCCOMBS, WILLIE K         2048 SOUTHWOOD TRAIL                                                                           GRAND PRAIRIE      TX 75052‐7522
MCCOMESKY JR, EDWARD R    PO BOX 358                                                                                     GRAND RAPIDS       OH 43522‐0358
MCCOMICK, AIMEE C         2641 LONGFELLOW DR                                                                             WILMINGTON         DE 19808‐3733
MCCOMMAS, EARL W          715 MATTHEWS CT                                                                                ARLINGTON          TX 76012‐4538
MCCOMMON JR, JOSEPH D     17112 S CEMENTARY RD                                                                           PLEASANT HILL      MO 64080
MCCOMMONS, JEREMIAH
MCCOMMONS, JOHN R         1609 N BENT TREE TRL                                                                           GRAND PRAIRIE     TX   75052‐1607
MCCON CINDY               MCCON, CINDY                        19 E FRONT ST STE 1                                        YOUNGSTOWN        OH   44503‐1437
MCCON, CINDY L            PO BOX 4074                                                                                    AUSTINTOWN        OH   44515‐0074
MCCON, JEROME L           PO BOX 554                                                                                     AMADO             AZ   85645‐0554
MCCONAHAY, MAX I          5522 S 850 W                                                                                   HUDSON            IN   46747‐9732
MCCONAHAY, NANCY J        1169 NW MCCRACKEN RD                                                                           LAWTON            OK   73507‐1201
MCCONAHY FLOYD (459198)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA   23510
                                                              STREET, SUITE 600
MCCONAHY, FLOYD           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510‐2212
                                                              STREET, SUITE 600
MCCONAUGHEY, CLYDE L      803 OBERLIN ELYRIA RD                                                                          ELYRIA            OH 44035‐7731
MCCONAUGHEY, DONALD L     4416 HELSEY FUSSELMAN RD                                                                       SOUTHINGTON       OH 44470‐9512
MCCONAUGHY, MARK A        GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW           MI 48604‐2602
                                                              260
MCCONCHIE, KENNETH        1510 HARDISON RD                                                                               COLUMBIA          TN 38401‐1369
MCCONE MAURICE (511388)   ANGELOS PETER G LAW OFFICES OF      100 PENN SQUARE EAST , THE                                 PHILADELPHIA      PA 19107
                                                              WANAMAKER BUILDING
MCCONE, MAURICE           ANGELOS PETER G LAW OFFICES OF      100 PENN SQUARE EAST, THE                                  PHILADELPHIA      PA 19107
                                                              WANAMAKER BUILDING
MCCONEGHY, MARY J         4161 MILNER RD                                                                                 STOCKBRIDGE       MI   49285‐9631
MCCONEGHY, ROBERT L       13759 HEMLOCK RD                                                                               CHESANING         MI   48616‐9540
MCCONER, HELEN            1621 OLD TOWN RD SE                                                                            GRAND RAPIDS      MI   49508‐2644
MCCONIHA, DONALD R        5248 AZALEA CIR                                                                                RIDGE MANOR       FL   33523‐8828
MCCONIHA, DONALD ROBERT   5248 AZALEA CIRCLE                                                                             DADE CITY         FL   33523‐8828
MCCONKEY DOUG             MCCONKEY, DOUG                      135 COUNTY ROAD 656                                        ATHENS            TN   37303‐6297
MCCONKEY, CAROL JEAN      5550 GROVELAND RD                                                                              HOLLY             MI   48442‐9427
MCCONKEY, DOUG            135 COUNTY ROAD 656                                                                            ATHENS            TN   37303‐6297
MCCONKEY, SCOTT P         1187 SCARLET QUARRY CIR                                                                        AVON              IN   46123‐9372
MCCONKIE FRED             698 SHENANDOAH DR                                                                              CLAWSON           MI   48017‐3001
MCCONKIE, FREDERICK J     698 SHENANDOAH DR                                                                              CLAWSON           MI   48017‐3001
MCCONKIE, MARILYN L       4991 CHERRY BLOSSOM CIR                                                                        WEST BLOOMFIELD   MI   48324‐1298
MCCONKIE, ROBERT S        20930 CURRIE RD                                                                                NORTHVILLE        MI   48167‐9792
MCCONNAL JR, HOWARD       PO BOX 31446                                                                                   CINCINNATI        OH   45231‐0446
MCCONNAL, PATRICIA        PO BOX 31446                                                                                   CINCINNATI        OH   45231‐0446
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Name                                Address1                         Address2                      Address3   Address4         City           State Zip
MCCONNAUGHEY LLOYD E (626648)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                     STREET, SUITE 600
MCCONNAUGHEY, ARTHUR E              PO BOX 553                                                                                 WINCHESTER     IN   47394‐0553
MCCONNAUGHEY, DIANE J               PO BOX 549                                                                                 MILFORD        MI   48381‐0549
MCCONNAUGHEY, GALE L                4772 E 14 MILE RD                                                                          DAFTER         MI   49724‐9617
MCCONNAUGHEY, LLOYD E               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK        VA   23510‐2212
                                                                     STREET, SUITE 600
MCCONNAUGHHAY, BILLY J              G3324 W HOBSON                                                                             FLINT          MI   48504
MCCONNAUGHHAY, BRUCE A              3363 W SHERMAN AVE                                                                         FLINT          MI   48504‐1405
MCCONNAUGHHAY, JERRY L              16313 REBECCA LN                                                                           BELTON         MO   64012‐1636
MCCONNAUGHHAY, MARK F               7066 PARTRIDGE DR                                                                          FLUSHING       MI   48433‐8816
MCCONNAUGHHAY, MAYME M              7349 CROSS CREEK DR                                                                        SWARTZ CREEK   MI   48473‐1712
MCCONNAUGHHAY, MAYME M              5201 WOODHAVEN COURT             APT 211                                                   FLINT          MI   48532
MCCONNEHA, PATRICIA M               29 TAMARAC TRL                                                                             BALTIMORE      MD   21220‐1361
MCCONNEL DIXIE                      9019 PLANTATION ROAD                                                                       OLIVE BRANCH   MS   38654‐1634
MCCONNELEE, DAVID S                 2227 LILY CT                                                                               DAVISON        MI   48423‐8388
MCCONNELL AUTOMOTIVE CORPORATION    3150 DAUPHIN ST                                                                            MOBILE         AL   36606‐4039

MCCONNELL AUTOMOTIVE CORPORATION EDWIN MCCONNELL                     3150 DAUPHIN ST                                           MOBILE         AL   36606‐4039

MCCONNELL CHEVROLET, PONTIAC & BUIC 1646 STATE HIGHWAY 99                                                                      GRIDLEY        CA 95948‐2611

MCCONNELL CHEVROLET, PONTIAC &      MICHAEL MCCONNELL                1646 STATE HIGHWAY 99                                     GRIDLEY        CA 95948‐2611
BUICK, INC.
MCCONNELL CHEVROLET, PONTIAC &      1646 STATE HIGHWAY 99                                                                      GRIDLEY        CA 95948‐2611
BUICK, INC.
MCCONNELL CHEVROLET‐OLDSMOBILE,     1395 HEALDSBURG AVE                                                                        HEALDSBURG     CA 95448‐3200
INC
MCCONNELL CHEVROLET‐OLDSMOBILE,     1395 HEALDSBURG AVE                                                                        HEALDSBURG     CA 95448‐3200
INC.
MCCONNELL CHEVROLET‐OLDSMOBILE,     CHRISTOPHER MCCONNELL            1395 HEALDSBURG AVE                                       HEALDSBURG     CA 95448‐3200
INC.
MCCONNELL II, TEDDY J               3808 STONECREST CT                                                                         SPRING HILL    TN   37174‐2196
MCCONNELL JAMES P                   1305 LAWRENCE ST APT 2                                                                     LOWELL         MA   01852‐5546
MCCONNELL JOAN                      1247 W 95TH PL                                                                             CROWN POINT    IN   46307‐2276
MCCONNELL JR, HARVEY L              652 WALK HILL ST                                                                           MATTAPAN       MA   02126‐3110
MCCONNELL JR, HAYWARD               7425 BROOKLYN AVE                C/O HAYWARD CUMMINGS                                      KANSAS CITY    MO   64132‐1715
MCCONNELL MARK                      8547 TUTTLE RD                                                                             SPRINGFIELD    VA   22152‐1508
MCCONNELL ORTHO CLIN                4725 WELLINGTON ST                                                                         GREENVILLE     TX   75401‐4945
MCCONNELL ROBERT                    MCCONNELL, ROBERT                5901 CEDAR LAKE RD S                                      MINNEAPOLIS    MN   55416‐1488
MCCONNELL RODNEY                    1100 COLLEGE CIR                                                                           RANGER         TX   76470
MCCONNELL TAMMY                     MCCONNELL, TAMMY                 852 FAIRVIEW AVENUE                                       PARKERSBURG    WV   26101
MCCONNELL VALDES                    PO BOX 364225                                                                              SAN JUAN       PR   00936‐4225
MCCONNELL, ANDREW I                 87 LYLE DR                                                                                 DECATUR        AL   35603‐6146
MCCONNELL, ARNOLD                   845 N MAIN ST                                                                              GERMANTOWN     OH   45327‐1613
MCCONNELL, CAROLYN
MCCONNELL, CHARLES C                1473 HILTON DR                                                                             AKRON          OH   44313‐5226
MCCONNELL, CHARLES L                7036 GIDDINGS RD                                                                           ATWATER        OH   44201‐9551
MCCONNELL, CINDY L                  115 E NEWPORT AVE                                                                          PONTIAC        MI   48340‐1258
MCCONNELL, DAVID                    925 BEDFORD PL                                                                             COLUMBIA       TN   38401‐6701
MCCONNELL, DAVID A                  756 DIAMOND HILL CH.RD                                                                     MAYSVILLE      GA   30558
MCCONNELL, DAVID A                  1080 RAINEY ST                                                                             GAINESVILLE    GA   30501‐3040
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Name                     Address1                         Address2                Address3       Address4         City            State Zip
MCCONNELL, DAWN          925 BEDFORD PL                                                                           COLUMBIA         TN 38401‐6701
MCCONNELL, DEAN W        3799 MERCEDES PL                                                                         CANFIELD         OH 44406‐9163
MCCONNELL, DENISE        703 VENTURA DR                                                                           YOUNGSTOWN       OH 44505‐1153
MCCONNELL, DENNIS J      PO BOX 103                                                                               MONKTON          VT 05469‐0103
MCCONNELL, DIANE K       419 IROQUOIS AVE                                                                         PRUDENVILLE      MI 48651‐9720
MCCONNELL, DIANE KAY     419 IROQUOIS AVE                                                                         PRUDENVILLE      MI 48651‐9720
MCCONNELL, DOROTHY M     20604 KINLOCH                                                                            REDFORD          MI 48240
MCCONNELL, EARL W        121 RIDGEVIEW DR                                                                         PRUDENVILLE      MI 48651‐9786
MCCONNELL, EDMOND F      2515 NORTHPARK ST                                                                        THOUSAND OAKS    CA 91362‐1716
MCCONNELL, EDNA J        PO BOX 296                       12154 CHURCH ST                                         BIRCH RUN        MI 48415‐0296
MCCONNELL, EDNA M        613 MITCHELL DR                                                                          GEORGETOWN        IL 61846
MCCONNELL, ELIZABETH M   P.0. BOX 6068                                                                            KOKOMO           IN 46904
MCCONNELL, GEORGE S      4867 FAIRWAYS DR                                                                         BRIGHTON         MI 48116‐9189
MCCONNELL, GEORGIA L     7370 LEWIS RD                                                                            OLMSTED FALLS    OH 44138‐1565
MCCONNELL, GERALD A      2153 W ORCHARD DR                                                                        FORTVILLE        IN 46040‐9549
MCCONNELL, GERALD F      41600 PARSONS RD                                                                         LAGRANGE         OH 44050‐9513
MCCONNELL, GERALD K      13299 JENNINGS RD                                                                        LINDEN           MI 48451‐8409
MCCONNELL, GERALDINE L   893 STATE ROUTE 208                                                                      PULASKI          PA 16143‐1513
MCCONNELL, HARLAN S      PO BOX 174                                                                               TRINITY          AL 35673‐0002
MCCONNELL, HAROLD E      687 COUNTY RD# 517                                                                       ANDERSON         AL 35610
MCCONNELL, HENRY A       6634 THACKSTON DR                                                                        RIVERVIEW        FL 33578‐1319
MCCONNELL, HORATIO       3218 PERIWINKLE CT                                                                       CHARLOTTE        NC 28269‐3082
MCCONNELL, JAMES
MCCONNELL, JAMES         7036 GIDDINGS RD                                                                         ATWATER         OH    44201‐9551
MCCONNELL, JAMES M       3623 WINDSOR WAY                                                                         ANDERSON        IN    46011‐3054
MCCONNELL, JAMES M       450 ONONDAGA ST                                                                          LEWISTON        NY    14092‐1204
MCCONNELL, JAMES R       258 CHARLOTTE ST                                                                         MULLIKEN        MI    48861‐8732
MCCONNELL, JAMES W       5441 CASS ELIZABETH RD                                                                   WATERFORD       MI    48327‐3108
MCCONNELL, JASPER        318 VALLEY VIEW DR                                                                       PULASKI         TN    38478‐2213
MCCONNELL, JENNIFER F    11103 ARLINGTON RD                                                                       BROOKVILLE      OH    45309
MCCONNELL, JEROME J      6023 APPLECREST CT                                                                       BOARDMAN        OH    44512‐3149
MCCONNELL, JERRY L       865 N MAIN ST                                                                            ALBANY          IN    47320‐1120
MCCONNELL, JESSE H       11 PIN OAK CT                                                                            CUBA            MO    65453‐8601
MCCONNELL, JESSE L       PO BOX 4206                                                                              PRESCOTT        MI    48756‐4206
MCCONNELL, JEWELL        16580 STRATMOORE ST                                                                      DETROIT         MI    48235
MCCONNELL, JOHNNIE W     24570 GROSS RD                                                                           ATHENS          AL    35614‐3130
MCCONNELL, JOSEPHINE K   90 WILBUR AVE                                                                            MERIDEN         CT    06450‐5932
MCCONNELL, JULIA H       13299 JENNINGS RD                C/O BEVERLY MCCONNELL                                   LINDEN          MI    48451‐8409
MCCONNELL, JULIANA       4245 BALDWIN RD                                                                          METAMORA        MI    48455‐8925
MCCONNELL, KENNETH L     1950 E 24TH ST LOT 99                                                                    YUMA            AZ    85365‐3150
MCCONNELL, KIM           1531 TOWER RD                                                                            WALLIS          TX    77485‐9260
MCCONNELL, KIMBERLY      22 GREENE ST                                                                             OXFORD          NY    13830‐4325
MCCONNELL, LAWRENCE T    PO BOX 262                                                                               NOTTINGHAM      PA    19362‐0262
MCCONNELL, LOUIS F       3118 RIDGEWAY DR SW                                                                      DECATUR         AL    35603‐4318
MCCONNELL, MABEL V       5932 COVEY RIDGE TRAIL                                                                   LOVES PARK       IL   61111
MCCONNELL, MARIE T       2154 COUNTY ROAD 1380                                                                    ALEX            OK    73002‐2224
MCCONNELL, MARILYN       3808 STONECREST CT                                                                       SPRING HILL     TN    37174‐2196
MCCONNELL, MARION L      402 HARLOW COURT                                                                         ROSEVILLE       CA    95747‐7474
MCCONNELL, MARSHA G      87 LYLE DR                                                                               DECATUR         AL    35603‐6146
MCCONNELL, MARTHA B      23680 LAURA LEIGH LN                                                                     ATHENS          AL    35613‐6046
MCCONNELL, MARY ANN      CASEY PATRICK A                  P O BOS 2436                                            SANTA FE        NM    87504
MCCONNELL, MAX H         11103 ARLINGTON RD                                                                       BROOKVILLE      OH    45309‐9633
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Name                                 Address1                           Address2                       Address3   Address4         City                    State Zip
MCCONNELL, MICHAEL J                 6551 BROWN ROAD                                                                               VERSAILLES               OH 45380‐9541
MCCONNELL, NEIL B                    17629 CHERRY TREE RD                                                                          NOBLESVILLE              IN 46062‐9449
MCCONNELL, OLLIE VAN                 C/O OAK VALLEY CARE CENTER         275 S. OAK AVE                                             OAKDALE                  CA 95361
MCCONNELL, OLLIE VAN                 3108 CARVER ROAD                                                                              MODESTO                  CA 95350‐0502
MCCONNELL, PATRICK S                 PO BOX 186                                                                                    PLEASANT LAKE            MI 49272‐0186
MCCONNELL, PHYLLIS A                 4222 CHERYL DR                                                                                FLINT                    MI 48506
MCCONNELL, RICHARD J                 419 IROQUOIS AVE                                                                              PRUDENVILLE              MI 48651‐9720
MCCONNELL, ROBERT D                  401 REMWAY DR                                                                                 POTTERVILLE              MI 48876‐9518
MCCONNELL, ROBERT W                  37261 2ND ST                                                                                  FREMONT                  CA 94536
MCCONNELL, SANDRA S                  3404 SW PARK LN                                                                               BLUE SPRINGS             MO 64015‐7147
MCCONNELL, SARAH D                   85110 THERESA RD                                                                              YULEE                    FL 32097
MCCONNELL, SARAH S                   3455 MEINRAD DR                                                                               WATERFORD                MI 48329‐3534
MCCONNELL, SARAH SNUGGS              3455 MEINRAD DR                                                                               WATERFORD                MI 48329‐3534
MCCONNELL, SUSAN D                   2908 RAYMOND ST                                                                               LAKE MILTON              OH 44429‐9514
MCCONNELL, TAMMY                     852 FAIRVIEW AVE                                                                              PARKERSBURG              WV 26101‐3823
MCCONNELL, TERRY L                   7 OAKVILLE CT                                                                                 MC LEANSVILLE            NC 27301‐9526
MCCONNELL, THERESA J                 6384 PERRY RD                                                                                 GRAND BLANC              MI 48439‐9702
MCCONNELL, THOMAS                    7 OAKVILLE CT                                                                                 MC LEANSVILLE            NC 27301‐9526
MCCONNELL, THOMAS E                  3236 W 18TH ST                                                                                ANDERSON                 IN 46011‐3905
MCCONNELL, THOMAS EDMUND             3236 W 18TH ST                                                                                ANDERSON                 IN 46011‐3905
MCCONNELL, THOMAS W                  33887 COFFEE SCHOOL RD                                                                        SALEM                    OH 44460‐9441
MCCONNELL, THOMAS W                  14291 BOICHOT RD                                                                              LANSING                  MI 48906‐1088
MCCONNELL, THOMAS W                  504 HOLLAND ST                                                                                MARINE CITY              MI 48039‐3423
MCCONNELL, TIMOTHY G                 1320 MARR RD                                                                                  PULASKI                  PA 16143‐3024
MCCONNELL, WAYNE C                   10420 E GREGORY RD                                                                            ALBANY                   IN 47320‐9045
MCCONNELL, WAYNE D                   5255 LAHRING RD                                                                               LINDEN                   MI 48451‐9498
MCCONNELL, WILLIAM T                 10016 N BALFER DR W                                                                           FORTVILLE                IN 46040‐9335
MCCONNER, BRENDA K                   1691 VALDOSTA CIRCLE                                                                          PONTIAC                  MI 48340‐1083
MCCONNER, DONALD I                   448 MARTIN LUTHER KING JR BLVD S                                                              PONTIAC                  MI 48342‐3415
MCCONNER, LARRY B                    1691 VALDOSTA CIR                                                                             PONTIAC                  MI 48340‐1083
MCCONNER, RONALD M                   92 N ARDMORE ST                                                                               PONTIAC                  MI 48342‐2702
MCCONNEY, CRYSTAL L                  8299 SMALL BLOCK RD APT 1238                                                                  ROANOKE                  TX 76262‐3339
MCCONNIE SANDERS                     1011 SEARS ST                                                                                 SAGINAW                  MI 48601‐1051
MCCONNIFF, DOROTHY L                 COURTYARD ESTATES AT BONDURANT     601 HAWTHORNE CROSSING DR SE   APT #115                    BONDURANT                 IA 50035

MCCONNON, CHARLES J                  3570 100TH ST SE                                                                              CALEDONIA               MI   49316‐9418
MCCONNON, ELGIN F                    8955 ROBBINS RD                                                                               CLARKSVILLE             MI   48815‐9742
MCCONNON, ESTELLA                    3570 100TH ST SE                                                                              CALEDONIA               MI   49316‐9418
MCCONNON, JAMES E                    2775 MACY LN                                                                                  HASTINGS                MI   49058‐8123
MCCONNON, RAYMOND J                  3570 100TH STREET SE R 1                                                                      CALEDONIA               MI   49316
MCCONNON, SHARON A                   380 MOON CT                                                                                   CASNOVIA                MI   49318‐9622
MCCONVILLE, JAMES P                  111 KENSINGTON PL                                                                             COLUMBIA                TN   38401‐8885
MCCONVILLE, LYLE C                   3737 SW 117TH AVE UNIT 57                                                                     BEAVERTON               OR   97005‐8911
MCCONVILLE, PATRICK T                112 N BURGEE DR                                                                               LITTLE EGG HARBOR TWP   NJ   08087‐1560
MCCONVILLE, SHEREE L.                2514 WALKER WAY                                                                               CHELSEA                 MI   48118‐9223
MCCOOEY CHARLES L (412245)           WEITZ & LUXENBERG                  180 MAIDEN LANE                                            NEW YORK                NY   10038
MCCOOEY CHARLES L (412245) ‐ MCCOOEY WEITZ & LUXENBERG                  180 MAIDEN LANE                                            NEW YORK                NY   10038
MATTHEW
MCCOOEY, CHARLES L                   WEITZ & LUXENBERG                  180 MAIDEN LANE                                            NEW YORK                NY   10038
MCCOOEY, JOSEPH L                    1226 MCKINLEY PKWY                                                                            LACKAWANNA              NY   14218‐1635
MCCOOEY, MATTHEW                     WEITZ & LUXENBERG                  180 MAIDEN LANE                                            NEW YORK                NY   10038
MCCOOEY, PATRICK J                   7755 MILESTRIP RD                                                                             ORCHARD PARK            NY   14127‐1412
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Name                             Address1                         Address2                       Address3   Address4         City              State Zip
MCCOOK, ALDA                     19370 RIVERSIDE DR                                                                          BEVERLY HILLS      MI 48025‐2951
MCCOOK, KENNETH C                329 SW 92ND ST                                                                              OKLAHOMA CITY      OK 73139‐8638
MCCOOK‐CASCADDAN, JOANNA M       1706 S BARRY RD                                                                             ITHACA             MI 48847‐9420
MCCOOL CLIFFORD (659534)         SIMMONS FIRM                     PO BOX 521                                                 EAST ALTON          IL 62024‐0519
MCCOOL CORPORATION               3101 CONNERS DR                                                                             LAS VEGAS          NV 89107‐3225
MCCOOL JR, LEASON L              509 CLEMENT RD                                                                              LANSING            MI 48917‐3649
MCCOOL MARJORIE                  13495 BRAUN RD                                                                              EVERGREEN          CO 80401‐1646
MCCOOL, ALLEN D                  184 CEDAR AVE                                                                               BRODHEAD           WI 53520‐1041
MCCOOL, BARBARA J                3332 NAVIGATOR DR                                                                           GREENBACKVILE      VA 23356‐2506
MCCOOL, BARBARA J                1602 10TH ST                                                                                BAY CITY           MI 48708‐6743
MCCOOL, BONNIE                   P O BOX 6981                                                                                MOORE              OK 73153
MCCOOL, CLIFFORD                 SIMMONS FIRM                     PO BOX 521                                                 EAST ALTON          IL 62024‐0519
MCCOOL, CYNTHIA                  604 FREDERICK DR                                                                            CLEVELAND          MS 38732‐2006
MCCOOL, DANNY B                  10381 LISBON RD                                                                             CANFIELD           OH 44406‐9470
MCCOOL, DOROTHY                  12309 MAINE                                                                                 DETROIT            MI 48212‐2622
MCCOOL, DOROTHY                  12309 MAINE ST                                                                              DETROIT            MI 48212‐2622
MCCOOL, DOROTHY A                741 SHELLEY PKWY                                                                            BEREA              OH 44017‐1137
MCCOOL, DOROTHY ANN              741 SHELLEY PKWY                                                                            BEREA              OH 44017‐1137
MCCOOL, ETHEL                    6203 MANCRIEF RD WEST                                                                       JACKSONVILLE       FL 32214‐0001
MCCOOL, JAMES B                  14165 SHERIDAN RD                                                                           MONTROSE           MI 48457‐9349
MCCOOL, JERALD L                 3067 COUNTY FARM RD                                                                         SAINT JOHNS        MI 48879‐9278
MCCOOL, LANNY R                  45430 CASS AVE                                                                              UTICA              MI 48317‐5604
MCCOOL, LANNY R                  45430 CASS AVENUE                                                                           UTICA              MI 48317‐5604
MCCOOL, LAURA L                  8022 WINCHESTER RD                                                                          FORT WAYNE         IN 46819‐2246
MCCOOL, LUTHER A                 3391 N 600 E                                                                                MARION             IN 46952‐9152
MCCOOL, MARK E                   31 MYSTIC VIEW LN                                                                           DOYLESTOWN         PA 18901‐2040
MCCOOL, MARY P                   3000 E STATE RD 256                                                                         SCOTTSBURG         IN 47170
MCCOOL, OLION R                  PO BOX 2                                                                                    WINDFALL           IN 46076‐0002
MCCOOL, PEGGY L                  1518 S Q ST                                                                                 ELWOOD             IN 46036‐3335
MCCOOL, PETER D                  6611 CAPTIVA PASS                                                                           PLAINFIELD         IN 46168‐8007
MCCOOL, RALPH F                  10200 W MOUNT MORRIS RD                                                                     FLUSHING           MI 48433‐9281
MCCOOL, RUTH M                   9290 W COUNTY ROAD 600 S                                                                    DALEVILLE          IN 47334‐9798
MCCOOL, SHIRLEY A                19978 FLEETWOOD DR                                                                          HARPER WOODS       MI 48225‐1640
MCCOOL, TIMOTHY D                2010 ENGLE ST                                                                               HUNTINGTON         IN 46750‐3945
MCCOOL, TOM                      307 E SUMMITT ST                                                                            BAINBRIDGE         IN 46105‐9473
MCCOON, JONNY L                  311 3RD AVE                                                                                 MELBOURNE BEACH    FL 32951‐2535
MCCOON, LARRY J                  8141 CRESTON DR                                                                             FREELAND           MI 48623‐8722
MCCOPPEN, JOHN R                 5920 COBB CREEK COURT                                                                       ROCHESTER          MI 48306‐2414
MCCOPPIN, BRAD A                 500 ALEX CT                                                                                 ENGLEWOOD          OH 45322‐2265
MCCOPPIN, FREDERICK D            201 GREENFIELD SABINA RD                                                                    GREENFIELD         OH 45123‐8117
MCCOPPIN, GEORGE D               9731 COSTINE MEADOWS DRIVE                                                                  LAKELAND           FL 33809‐1639
MCCORD & BURNS LAW FIRM & LAW    11755 WILSHIRE BLVD STE 1170                                                                LOS ANGELES        CA 90025‐1539
OFFICE OF MJ PIUZE & P SHIPLER
MCCORD AIR FORCE BASE                                             62ND TRANSPORTATION SQUADRON                                                 WA 98438

MCCORD JR, JAMES N               2613 N SCATTERFIELD RD                                                                      ANDERSON          IN   46012‐1521
MCCORD LEAKL/ATHENS              1500 FREEMAN AVE                                                                            ATHENS            AL   35613‐2118
MCCORD LEAKLESS                  CRAIG GIRARD                     1500 FREEMAN AVENUE                                        PARIS             TN   38242
MCCORD LEAKLESS SEALING CO       PO BOX 2153                                                                                 BIRMINGHAM        AL   35287‐0002
MCCORD LEAKLESS SEALING CO       1500 FREEMAN AVE                                                                            ATHENS            AL   35613‐2118
MCCORD LEAKLESS SEALING CO       CRAIG GIRARD                     1500 FREEMAN AVENUE                                        PARIS             TN   38242
MCCORD LELDON                    181 KING RANCH CT                                                                           FORT WORTH        TX   75108‐9593
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Name                                Address1                              Address2                         Address3   Address4               City           State Zip
MCCORD LOUIS N (439313)             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                                          STREET, SUITE 600
MCCORD MOUSTY, LOIS J               815 EARL AVE                                                                                             MIDDLETOWN      IN   47356‐9309
MCCORD PAYEN DE MEXICO S DE RI DE   SAN ESTEBAN PTE 47                                                                NAUCALPAN EDO, EM
                                                                                                                      53560 MEXICO
MCCORD PAYEN DE MEXICO S DE RL DECV CALLE TEJOCOTES S/N BARRIO TEXCACOA                                               TEPOTZOTLAN EM 54600
                                                                                                                      MEXICO
MCCORD PAYEN INC.                   CRAIG GIRARD                          1500 FREEMAN AVE.                           COBURG, BAYERN
                                                                                                                      GERMANY
MCCORD PAYEN/TEPOTZO                CALLE TEJOCOTES                       S/N BARRIO TEXCACOA                         TEPOTZOTLAN MX 54600
                                                                                                                      MEXICO
MCCORD THOMAS                       MCCORD, THOMAS                        6305 JACKSONVILLE CUT OFF ROAD                                     JACKSONVILLE   AR 72076‐8818
                                                                          G
MCCORD WINN TEXTRON INC             32201 N AVIS DR                                                                                          MADISON HTS    MI    48071‐1502
MCCORD, ALLEN L                     508 FALL CREEK DR                                                                                        ANDERSON       IN    46013‐3717
MCCORD, BARBARA B                   5701 N 300 E                                                                                             ANDERSON       IN    46012‐9528
MCCORD, BARBARA V                   618 W ADAMS ST                                                                                           ALEXANDRIA     IN    46001‐1817
MCCORD, BURL D                      2015 BRYAN RD                                                                                            BRANDON        FL    33511‐6832
MCCORD, CARLA                       713 N 12TH ST                                                                                            ELWOOD         IN    46036‐1209
MCCORD, CARLA M.                    713 N 12TH ST                                                                                            ELWOOD         IN    46036‐1209
MCCORD, CHARLES L                   5625 COLUMBUS AVE                                                                                        ANDERSON       IN    46013‐3013
MCCORD, CHARLES T                   243 MALCOM RD                                                                                            COVINGTON      GA    30014‐5958
MCCORD, CHESTER A                   125 KEMPHER DR                                                                                           ANDERSON       IN    46016‐5823
MCCORD, CHESTER J                   4707 SOUTHVIEW DR                                                                                        ANDERSON       IN    46013‐4758
MCCORD, CLIFFORD E                  901 MAIN ST                                                                                              FENTON         MI    48430‐2175
MCCORD, CONNIE J                    040 S 400 EAST                                                                                           ANDERSON       IN    46017‐9676
MCCORD, CONNIE J                    40 S 400 E                                                                                               ANDERSON       IN    46017‐9676
MCCORD, CYNTHIA M                   27360 SIDNEY DR APT 143                                                                                  EUCLID         OH    44132‐2900
MCCORD, D M                         418 NORTH ST                                                                                             CHESTERFIELD   IN    46017‐1124
MCCORD, DALE A                      13094 N STATE ROAD 13                                                                                    ELWOOD         IN    46036‐9133
MCCORD, DAVID S                     13236 N STATE ROAD 13                                                                                    ELWOOD         IN    46036‐9131
MCCORD, DEBRA                       2124 FISHING FORD RD                                                                                     BELFAST        TN    37019‐2057
MCCORD, DIANE L                     915 N COUNTY RD 400 W                                                                                    KOKOMO         IN    46901
MCCORD, DONELL                      PORTER & MALOUF PA                    4670 MCWILLIE DR                                                   JACKSON        MS    39206‐5621
MCCORD, DORIS J                     13164 N SR 13                                                                                            ELWOOD         IN    46036‐9132
MCCORD, DORIS J                     13164 N STATE ROAD 13                                                                                    ELWOOD         IN    46036‐9132
MCCORD, DOROTHEA E                  11436 ROSE LN                                                                                            CINCINNATI     OH    45246‐2922
MCCORD, FRANK D                     1240 RUSSELL DR                                                                                          OCOEE          FL    34761‐1958
MCCORD, GARRY W                     204 IVY LN                                                                                               ANDERSON       IN    46012‐1011
MCCORD, GARY L                      8341 E COURT ST                                                                                          DAVISON        MI    48423‐3396
MCCORD, GARY LEE                    8341 E COURT ST                                                                                          DAVISON        MI    48423‐3396
MCCORD, GLORIA A                    6403 W COUNTY ROAD 100 N                                                                                 NEW CASTLE     IN    47362‐9754
MCCORD, GLORIA D                    2606 PIERCE ST.                                                                                          FLINT          MI    48503‐2835
MCCORD, HELEN A                     3523 LAUREL LN                                                                                           ANDERSON       IN    46011‐3031
MCCORD, JAMES D                     2357 COUNTY ROAD 1323                                                                                    BLANCHARD      OK    73010‐3521
MCCORD, JAMES D                     RR 3 BOX 778                                                                                             BLANCHARD      OK    73010
MCCORD, JAMES N                     28 EMS D10 LN                                                                                            SYRACUSE       IN    46567‐9011
MCCORD, JASON A                     211 SHEPHERD DR                                                                                          CHESTERFIELD   IN    46017‐1547
MCCORD, JERRY L                     3093 N 200 W                                                                                             ANDERSON       IN    46011‐9205
MCCORD, JERRY LEE                   3093 N 200 W                                                                                             ANDERSON       IN    46011‐9205
MCCORD, JERRY P                     11751 MONAGAN HWY                                                                                        TIPTON         MI    49287‐9758
MCCORD, JEWEL P                     226 SOUTH ST                                                                                             CHESTERFIELD   IN    46017‐1728
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Name                       Address1                          Address2                      Address3   Address4         City           State Zip
MCCORD, JO ANNE H          4609 N COUNTY RD 500 W                                                                      WINCHESTER      IN 47394‐9639
MCCORD, JOHN W             7000 W CORNBREAD RD                                                                         YORKTOWN        IN 47396‐9629
MCCORD, KEITH R            703 GREENWOOD ST                                                                            MT PLEASANT     TN 38474‐1067
MCCORD, LARRY              GUY WILLIAM S                     PO BOX 509                                                MCCOMB          MS 39649‐0509
MCCORD, LARRY E            6403 W 100 N                                                                                NEW CASTLE      IN 47362
MCCORD, LAURAY B           4316 LONDON CT                                                                              ANDERSON        IN 46013‐4431
MCCORD, LELDON R           181 KING RANCH CT                                                                           FORT WORTH      TX 76108‐9593
MCCORD, LEONARD A          1080 2ND ST                                                                                 TROY            MO 63379
MCCORD, LESLEA A           3 N LANG DR                                                                                 O FALLON        MO 63366‐3807
MCCORD, LEWIS F            3008 S MERIDIAN ST                                                                          MARION          IN 46953‐4101
MCCORD, LOUIS N            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                             STREET, SUITE 600
MCCORD, MARK A             5701 N 300 E                                                                                ANDERSON       IN   46012‐9528
MCCORD, MARSHALL           PO BOX 3404                                                                                 DELAND         FL   32721
MCCORD, MARTHA F           1846 HUNTERS COVE CIR                                                                       KOKOMO         IN   46902‐5181
MCCORD, MARTHA M           4707 SOUTHVIEW DR                                                                           ANDERSON       IN   46013‐4758
MCCORD, MARY F             1256 N 400 W                                                                                MARION         IN   46952‐9236
MCCORD, MARY F             1256 NORTH 400 WEST                                                                         MARION         IN   46952
MCCORD, MATTHEW C          25507 LAFAYETTE DR                                                                          RHOADESVILLE   VA   22542‐8511
MCCORD, MAXINE M           5282 W 900 N                                                                                FRANKTON       IN   46044‐9445
MCCORD, MAXINE M           5282W 900N                                                                                  FRANKTON       IN   46044‐9445
MCCORD, PAUL G             268 FRIENDSHIP CT                                                                           ANDERSON       IN   46013‐1047
MCCORD, PAUL O             9212 E SWEETWATER DR                                                                        INVERNESS      FL   34450‐7378
MCCORD, PEGGY E            2924 BROWN ST                                                                               ANDERSON       IN   46016‐5922
MCCORD, PEGGY Z            2924 BROWN ST                                                                               ANDERSON       IN   46016
MCCORD, RALPH E            12864 OLIO RD                                                                               FISHERS        IN   46037‐7209
MCCORD, RICHARD J          4817 MIZE CT                                                                                ROWLETT        TX   75088‐8927
MCCORD, RICHARD R          226 SOUTH ST                                                                                CHESTERFIELD   IN   46017‐1728
MCCORD, RONALD J           2918 HUNTSVILLE RD                                                                          PENDLETON      IN   46064‐9033
MCCORD, RONALD R           6899 N 750 W                                                                                FRANKTON       IN   46044‐9687
MCCORD, RUTH A             5625 COLUMBUS AVE,                                                                          ANDERSON       IN   46013
MCCORD, RUTH E             1133 EAST 359TH STREET                                                                      EASTLAKE       OH   44095‐3121
MCCORD, RUTH E             1133 E 359TH ST                                                                             EASTLAKE       OH   44095‐3121
MCCORD, RUTH G             775 WILLOWRIDGE DR                                                                          KOKOMO         IN   46901‐7044
MCCORD, SAMMIE L           1900 COLLERINE CUTOFF RD                                                                    TYLER          AL   36785‐5202
MCCORD, SARA E             203 COLLEGE PKWY                                                                            ANDERSON       IN   46012‐3185
MCCORD, SHEILA             11378 N CENTERVILLE RD                                                                      WILLIAMSBURG   IN   47393‐9782
MCCORD, SHIRLEY C          7331 FAIRLANE AVE                                                                           BROOKSVILLE    FL   34613‐7330
MCCORD, SHIRLEY L          618 W ADAMS ST                                                                              ALEXANDRIA     IN   46001‐1817
MCCORD, TARA A             3748 S MIDDLE DR                                                                            GREENVILLE     OH   45331‐3021
MCCORD, THOMAS             6305 JACKSONVILLE CUTOFF RD # G                                                             JACKSONVILLE   AR   72076‐8818
MCCORD, TIMMY A            3111 MEADOWCREST DR                                                                         ANDERSON       IN   46011‐2307
MCCORD, TOMMY R            1716 E 44TH ST                                                                              ANDERSON       IN   46013‐2557
MCCORD, VIRGINIA L         2926 DAKOTA DR                                                                              ANDERSON       IN   46012‐1416
MCCORD, VIRGINIA L         2015 MAGNOLIA GARDEN DR                                                                     OFALLON        MO   63366‐7207
MCCORD, WAYNE L            3142 FLETCHER ST                                                                            ANDERSON       IN   46016‐5347
MCCORD, WHITEFAWN D        302 CANAL ST                                                                                ALEXANDRIA     IN   46001
MCCORD, WILLIAM O          2015 MAGNOLIA GARDEN DR                                                                     O FALLON       MO   63368‐7207
MCCORKHILL, MARJORIE T     32 CRESCENT CT                                                                              CHESTERFIELD   IN   46017
MCCORKHILL, VERA MAYNARD   119 GINA LYNN DR                                                                            NEW CASTLE     IN   47362‐1875
MCCORKLE JAY               7200 ROSWELL RD NE                                                                          ATLANTA        GA   30328‐1418
MCCORKLE JR, CHARLES E     60 CLUB HOUSE LANE                                                                          GREENEVILLE    TN   37743‐8968
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Name                           Address1                           Address2                           Address3   Address4         City               State Zip
MCCORKLE LARRY & TERRY         860 S FULTON AVE                                                                                  FORT LUPTON         CO 80621‐1249
MCCORKLE REX A (446187)        CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND           OH 44115
                               GAROFOLI                           FL
MCCORKLE SAM B JR (411026)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MCCORKLE TRUCK LINE INC        2132 SE 18TH ST                                                                                   OKLAHOMA CITY      OK   73129‐8353
MCCORKLE, CHARLES R            C/O CHARLES D MCCORKLE             181 KNOCH RD                                                   SAXONBURG          PA   16056
MCCORKLE, CHARLES R            BYREMOR CT                         181 KNOCH RD                                                   SAXONBURG          PA   16056‐9411
MCCORKLE, CLENT                40690 RIVERDALE DR                                                                                PAW PAW            MI   49079‐9537
MCCORKLE, CORTNI
MCCORKLE, DANNY L              5412 UNION CHAPEL RD                                                                              FORT WAYNE         IN   46845‐9221
MCCORKLE, DANNY LEE            5412 UNION CHAPEL RD                                                                              FORT WAYNE         IN   46845‐9221
MCCORKLE, DAPHENE M            60 CLUBHOUSE LN                                                                                   GREENEVILLE        TN   37743‐7743
MCCORKLE, DENNIS W             14737 MANOR DR                                                                                    SOUTH BELOIT       IL   61080‐9235
MCCORKLE, EVA P                11330 CR 27‐1                                                                                     WEST UNITY         OH   43570
MCCORKLE, HERSHEL A            2730 N 350 W                                                                                      ANDERSON           IN   46011‐8784
MCCORKLE, HERSHEL D            1368 WILLOW WALK PKWY                                                                             ELWOOD             IN   46036‐1392
MCCORKLE, JAMES B              16329 N 300 W                                                                                     SUMMITVILLE        IN   46070‐9334
MCCORKLE, JAMES E              609 W HARRISON ST                                                                                 PAULDING           OH   45879‐1341
MCCORKLE, JAMES K              907 HARRISON ST                                                                                   FRANKTON           IN   46044‐9781
MCCORKLE, JASON C
MCCORKLE, KELLY A              206 BOWLAND RD                                                                                    MANSFIELD          OH   44907‐1157
MCCORKLE, LOUIS T              1269 ROYAL ST                                                                                     THOMSON            GA   30824‐4130
MCCORKLE, MADELINE M           5809 RUSHWOOD DRIVE                                                                               DUBLIN             OH   43017‐8698
MCCORKLE, MARK                 15304 FIRETHORNE PATH                                                                             FORT WAYNE         IN   46814‐9471
MCCORKLE, MARY E               3220 CRYSTAL SPGS                  C/O DALE MCCORKLE                                              BEDFORD            TX   76021‐3921
MCCORKLE, MARY E               C/O DALE MCCORKLE                  3220 CRYSTAL SPRINGS                                           BEDFORD            TX   76021
MCCORKLE, MICHAEL R            8839 W EATON HWY                                                                                  GRAND LEDGE        MI   48837‐9310
MCCORKLE, NATHANIEL D          1638 TENNYSON AVE                                                                                 DAYTON             OH   45406‐4146
MCCORKLE, PAMELA               107 SOUTH KINGSLEY ST                                                                             CORUNNA            MI   48817
MCCORKLE, PAMELA               107 S KINGSLEY ST                                                                                 CORUNNA            MI   48817‐1735
MCCORKLE, RAYMOND E            1369 COUNTY ROAD 265                                                                              TOWN CREEK         AL   35672‐4213
MCCORKLE, REX A                CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND          OH   44115
                               GAROFOLI                           FL
MCCORKLE, ROBERT D             500 HOSIER DR                                                                                     NEW CASTLE         IN   47362
MCCORKLE, ROBERT E             2478 MILL POND RD                                                                                 BUENA VISTA        GA   31803‐8151
MCCORKLE, ROBERT M             218 SERENITY CIR                                                                                  ANDERSON           IN   46013‐1094
MCCORKLE, RUSSELL GAY          107 S KINGSLEY ST                                                                                 CORUNNA            MI   48817
MCCORKLE, SAM B                GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
MCCORKLE, WILLIAM N            2053 WILLOW WAY                                                                                   CLIO               MI 48420‐2410
MCCORMAC THOMAS                MCCORMAC, THOMAS                   1930 EAST MARLTON PIKE SUITE T11                               CHERRY HILL        NJ 08003

MCCORMACK KEITH                3772 SLEEPY FOX DR                                                                                ROCHESTER HILLS    MI 48309‐4517
MCCORMACK LAVONNE J (349986)   WARTNICK CHABER HAROWITZ SMITH &   101 CALIFORNIA ST STE 2200                                     SAN FRANCISCO      CA 94111‐5853
                               TIGERMAN
MCCORMACK MICHAEL              DBA MGSCS                          687 CUMBERLAND AVE                                             CHAMBERSBURG       PA   17201‐3819
MCCORMACK, CAROL               285 INMAN NEAL RD                                                                                 STEARNS            KY   42647‐6149
MCCORMACK, CLAUD T             7455 BUSCH RD                                                                                     BIRCH RUN          MI   48415‐8792
MCCORMACK, CYNTHIA ANN         4 FARMINGHAM CT APT D                                                                             PARKVILLE          MD   21234‐2090
MCCORMACK, GLORIA F            741 IVY LN                                                                                        BLOOMFIELD HILLS   MI   48304‐3740
MCCORMACK, HARRY G             62 LEISURE WAY                                                                                    PALMETTO           FL   34221‐5407
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Name                              Address1                           Address2                      Address3   Address4         City                State Zip
MCCORMACK, HEIDI A                303 PARK AVENUE S., 1071                                                                     NEW YORK             NY 10010
MCCORMACK, JOHN H                 604 EDGEWOOD AVE                                                                             NEWPORT              NC 28570
MCCORMACK, JOHN H                 3126 OCEANLINE EAST DR                                                                       INDIANAPOLIS         IN 46214‐4151
MCCORMACK, JOYCE A                1924 JEFFERSON ST                                                                            ANDERSON             IN 46016‐4554
MCCORMACK, KATHLEEN               409 WEST AVE                                                                                 NORTHVALE            NJ 07647‐1308
MCCORMACK, LAVONNE J              WARTNICK CHABER HAROWITZ SMITH &   101 CALIFORNIA ST STE 2200                                SAN FRANCISCO        CA 94111‐5853
                                  TIGERMAN
MCCORMACK, MICHAEL L              73 CANTON RD                                                                                 LAKE WORTH          FL   33467‐3809
MCCORMACK, PATRICIA V             1137 SE DONALDSON RD                                                                         LEE                 FL   32059‐5349
MCCORMACK, PAUL L                 5944 MEREDITH ST                                                                             PORTAGE             MI   49002‐2242
MCCORMACK, RICHARD T              35560 GRAND RIVER, #322                                                                      FARMINGTON          MI   48335
MCCORMACK, ROBERT S               1257 JACKSON BRIDGE RD                                                                       BOWLING GREEN       KY   42101‐8274
MCCORMACK, ROBERT SHAWN           1257 JACKSON BRIDGE RD                                                                       BOWLING GREEN       KY   42101‐8274
MCCORMACK, ROGER G                9411 ENGLISH OAK DR                                                                          CLARKSTON           MI   48348‐3504
MCCORMACK, STEPHEN O              1856 RED PHISTER DR                                                                          AVON                IN   46123‐7105
MCCORMACK, TIMOTHY J              208 ELLIOTT CT                                                                               COLUMBIA            TN   38401‐5533
MCCORMIC, CHARLYOO A              3736 E MICHIGAN AVE                                                                          AU GRES             MI   48703‐9458
MCCORMICK & COMPANY               PO BOX 6000                                                                                  SPARKS              MD   21152‐6000
MCCORMICK ALVIN MD                5138 BIRKDALE DR                                                                             COMMERCE TOWNSHIP   MI   48382‐1582
MCCORMICK AUTOMOTIVE CENTER       1015 S SHIELDS ST                                                                            FORT COLLINS        CO   80521‐4523
MCCORMICK CONSTRUCTION CO INC     ATTN: MIKE MC CORMICK              334 DEVONSHIRE ST                                         YPSILANTI           MI   48198‐7816
MCCORMICK DAVID LEROY (429406)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                                     STREET, SUITE 600
MCCORMICK EQUIPMENT CO INC        11591 GROOMS RD                    PO BOX 42664                                              CINCINNATI          OH 45242
MCCORMICK HARRY M JR (493989)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MCCORMICK HUGH T (429407)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MCCORMICK III, JOHN J             22 DEVON CT                                                                                  VOORHEESVILLE       NY 12186‐9202
MCCORMICK IVANHOE W (467022)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MCCORMICK JAMES E & DIANE L       36365 TEEGARDEN RD                 SALEM TWP                                                 SALEM               OH 44460
MCCORMICK JAMES O (467023)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MCCORMICK JOHN E (467024)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MCCORMICK JOHNNIE R SR (346606)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MCCORMICK JR, DONALD W            1200 STONEBROOKE DR                                                                          HOWELL              MI   48843‐9707
MCCORMICK JR, DONALD WILLIAM      1200 STONEBROOKE DR                                                                          HOWELL              MI   48843‐9707
MCCORMICK JR, ERNEST F            709 EDGEWOOD RD                                                                              ASHLAND             OH   44805‐8615
MCCORMICK JR, JAMES A             5012 ALBERTA LN NW                                                                           ALBUQUERQUE         NM   87120‐2404
MCCORMICK JR, KYLE E              913 NORTH RD                                                                                 FENTON              MI   48430‐1821
MCCORMICK JR, SAMUEL A            8209 FAULKNER DR                                                                             DAVISON             MI   48423‐9535
MCCORMICK KEN                     11299 INTERSTATE 20                                                                          CANTON              TX   75103‐5921
MCCORMICK MICHAEL                 13798 LAKE DR                                                                                MONROE              MI   48161‐3861
MCCORMICK MOTORS                  1255 W MARKET ST                                                                             NAPPANEE            IN   46550‐1725
MCCORMICK MOTORS / R‐VISION       1255 W MARKET ST                                                                             NAPPANEE            IN   46550‐1725
MCCORMICK MOTORS, INC.            10 S CASEVILLE RD                                                                            PIGEON              MI   48755‐9531
MCCORMICK MOTORS, INC.            DAVID MCCORMICK                    10 S CASEVILLE RD                                         PIGEON              MI   48755‐9531
MCCORMICK NELSON D                856 SARAH RD                                                                                 PINCKNEY            MI   48169‐9027
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Name                              Address1                          Address2                        Address3   Address4         City             State Zip
MCCORMICK OFFICE OF CORPORATE     NORTHWESTERN UNIVERSITY           2145 SHERIDAN ROAD L370                                     EVANSTON           IL 60208‐0001
RELATIONS
MCCORMICK RAYMOND G (ESTATE OF)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
(487272)                                                            PROFESSIONAL BLDG
MCCORMICK ROBERT L SR (429408)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MCCORMICK ROBERT W (429409)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MCCORMICK RODNEY                  MCCORMICK, RODNEY                 999 HAYNES ST STE 205                                       BIRMINGHAM       MI   48009‐6775
MCCORMICK SUZANNE                 1902 COUNTY ROAD 830 N                                                                        CARMI            IL   62821‐6104
MCCORMICK THOMAS                  4759 N ELKHART AVE                                                                            WHITEFISH BAY    WI   53211‐1002
MCCORMICK THOMAS                  2355 LEWIS AVE                                                                                ROCKVILLE        MD   20851‐2335
MCCORMICK WAYNE E (429410)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510
                                                                    STREET, SUITE 600
MCCORMICK WILLIAM H (429411)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MCCORMICK, ALBERT J               4052 HIGHWAY 9 N                                                                              CAMP             AR   72520‐9599
MCCORMICK, AMY R                  121 TONY RD                                                                                   STERLINGTON      LA   71280
MCCORMICK, ANNETTE D              2382 BRALEY RD                                                                                RANSOMVILLE      NY   14131‐9606
MCCORMICK, BARBARA J              530 ELM CT.                                                                                   NILES            OH   44446‐1448
MCCORMICK, BARBARA J              530 ELM CT                                                                                    NILES            OH   44446‐1448
MCCORMICK, BARBARA M              46 TURF RD                                                                                    LEVITTOWN        PA   19056‐1520
MCCORMICK, BERNICE R              50 QUEEN MARY DRIVE                                                                           QUEENBURY        NY   12804‐9154
MCCORMICK, BETTY J                5311 CORTEEN APT 7                                                                            VALLEY VILLAGE   CA   91607‐2572
MCCORMICK, BETTY J                5311 CORTEEN PL APT 7                                                                         VALLEY VILLAGE   CA   91607‐2572
MCCORMICK, BILLY J                1247 SUTTON RD                                                                                CINCINNATI       OH   45230‐2745
MCCORMICK, BRAD R                 7936 S 31 RD                                                                                  CADILLAC         MI   49601‐9691
MCCORMICK, BRAD ROBERT            7936 S 31 RD                                                                                  CADILLAC         MI   49601‐9691
MCCORMICK, BRENDA G               3371 LEETH GAP RD                                                                             BOAZ             AL   35956‐4757
MCCORMICK, BRENDA M DAVIS         405 S KAUFMAN ST                                                                              SEAGOVILLE       TX   75159‐3145
MCCORMICK, CARL E                 7084 SAWFISH ST                                                                               NAVARRE          FL   32566‐6618
MCCORMICK, CARLIS A               3617 E 33RD ST                                                                                KANSAS CITY      MO   64128‐2035
MCCORMICK, CATHERINE L            37688 TERRITORIAL CROSSINGS RD                                                                NEW BOSTON       MI   48164‐8626
MCCORMICK, CHARLOTTE A            6452 WAGNER AVE                                                                               GRAND BLANC      MI   48439‐9010
MCCORMICK, CLYDE E                3878 KELLER HANNA DR                                                                          BRUNSWICK        OH   44212‐2758
MCCORMICK, CRYSTAL G              10383 POTTER RD                                                                               FLUSHING         MI   48433‐9722
MCCORMICK, DAHL R                 PO BOX 81                                                                                     HANNAWA FALLS    NY   13647‐0081
MCCORMICK, DALE R                 3816 SYLVANIA PETERSBURG RD                                                                   PETERSBURG       MI   49270‐9384
MCCORMICK, DALE RAY               3816 SYLVANIA PETERSBURG RD                                                                   PETERSBURG       MI   49270‐9384
MCCORMICK, DAVID A                3999 WILSON SHARPSVILLE RD                                                                    CORTLAND         OH   44410‐9462
MCCORMICK, DAVID L                7211 MAPLEWOOD DR                                                                             TEMPERANCE       MI   48182‐1332
MCCORMICK, DAVID LEROY            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510‐2212
                                                                    STREET, SUITE 600
MCCORMICK, DENNIS L               369 F QUARRY LN NE                                                                            WARREN           OH   44483‐4555
MCCORMICK, DENNIS L               369 QUARRY LN NE UNIT F                                                                       WARREN           OH   44483‐4555
MCCORMICK, DONALD L               549 CONARD DR                                                                                 XENIA            OH   45385‐2652
MCCORMICK, DONALD L               549 CONARD DR.                                                                                XENIA            OH   45385‐2652
MCCORMICK, DORIS E                964 CONTADERO PL                                                                              LAS VEGAS        NV   89138‐4545
MCCORMICK, DORIS LOUISE           1109 N MERIDIAN ST                                                                            LEBANON          IN   46052‐1811
MCCORMICK, EDWARD J               6910 CINNAMON CIR 3162                                                                        MINT HILL        NC   28227
MCCORMICK, ELEANORE F             166 E SOMERSET AVE                                                                            TONAWANDA        NY   14150‐8512
MCCORMICK, ELIA D                 5097 BIRCHCREST DR                                                                            YOUNGSTOWN       OH   44515‐3920
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Name                    Address1                       Address2                      Address3   Address4         City            State Zip
MCCORMICK, FLORA S      4907 BUTTERCUP WAY                                                                       ANDERSON         IN 46013‐1521
MCCORMICK, GERALD A     3354 MONROE ST                                                                           DEARBORN         MI 48124‐3656
MCCORMICK, GERALD G     14620 CLARK ST                                                                           ATLANTA          MI 49709‐9527
MCCORMICK, HARRY M      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                       STREET, SUITE 600
MCCORMICK, HUGH T       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                       STREET, SUITE 600
MCCORMICK, ILA D        1924 SKYMONT DR                                                                          COOKEVILLE      TN 38506‐6446
MCCORMICK, IVANHOE W    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                       STREET, SUITE 600
MCCORMICK, JAMES C      2428 HUNTERS RUN DR                                                                      PLANO           TX   75025‐4766
MCCORMICK, JAMES CARL   2428 HUNTERS RUN DR                                                                      PLANO           TX   75025‐4766
MCCORMICK, JAMES E      6272 FRIENDSHIP RD                                                                       CATLETTSBURG    KY   41129‐8308
MCCORMICK, JAMES M      26640 SINIARD RD                                                                         ANDERSON        AL   35610‐3222
MCCORMICK, JAMES O      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
MCCORMICK, JAMES V      719 OBERLIN PL                                                                           AUSTINTOWN      OH   44515‐4212
MCCORMICK, JAMIE S      1935 W MILLER RD                                                                         LANSING         MI   48911‐4639
MCCORMICK, JANE M       7330 233RD ST N                                                                          FOREST LAKE     MN   55025‐8270
MCCORMICK, JANET S      4044 US ROUTE 422                                                                        SOUTHINGTON     OH   44470‐9508
MCCORMICK, JEFFREY S    3585 GRAPEVINE TRL                                                                       CLARKSTON       MI   48348‐1058
MCCORMICK, JIMMIE D     5322 GROVER DR                                                                           COLUMBIAVILLE   MI   48421‐8914
MCCORMICK, JOHN         1694 QUAKER RD                                                                           BARKER          NY   14012
MCCORMICK, JOHN E       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
MCCORMICK, JOHN H       11671 PINEHURST ST                                                                       DETROIT         MI   48204‐1959
MCCORMICK, JOHN K       32 WEST 60TH APT 1E                                                                      WESTMONT        IL   60559
MCCORMICK, JOHN T       PO BOX 42682                                                                             PHOENIX         AZ   85080‐2682
MCCORMICK, JOHNNIE R    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                       STREET, SUITE 600
MCCORMICK, JOSEPH L     1420 HILLBURN AVE NW                                                                     GRAND RAPIDS    MI   49504‐2477
MCCORMICK, JULIA        625 LINCOLN ST                                                                           MERRILL         MI   48637
MCCORMICK, KAREN I      695 TRUMBULL AVE                                                                         NILES           OH   44446‐2121
MCCORMICK, KAREN I      695 TRUMBULL DR                                                                          NILES           OH   44446‐2121
MCCORMICK, KENNETH M    3573 104TH AVE                                                                           ALLEGAN         MI   49010‐9147
MCCORMICK, KEVIN M      PO BOX 171                                                                               BETHLEHEM       CT   06751‐0171
MCCORMICK, KEVIN P      416 FOREST DR                                                                            WILMINGTON      DE   19804‐2320
MCCORMICK, LARRY W      1935 W MILLER RD                                                                         LANSING         MI   48911‐4639
MCCORMICK, LAWRENCE J   19520 W TOWNLINE RD                                                                      SAINT CHARLES   MI   48655‐9737
MCCORMICK, LENA M       405 FACKNEY STREET                                                                       CARMI           IL   62821
MCCORMICK, LEROY A      17989 GRABOWSKI RD                                                                       SAINT CHARLES   MI   48655‐9758
MCCORMICK, LILLIE L     3725 REMINGTON DR.                                                                       INDIANAPOLIS    IN   46227‐8133
MCCORMICK, LIMMIE W     12920 AVONDALE ST              APT 303                                                   DETROIT         MI   48215‐3093
MCCORMICK, LINDA C      3881 E BOONE COUNTY RD S                                                                 LEBANON         IN   46052‐8503
MCCORMICK, LLOYD W      3881 E BOONE COUNTY RD S                                                                 LEBANON         IN   46052‐8503
MCCORMICK, LOVEL B      11909 BUTTERNUT LANE                                                                     KNOXVILLE       TN   37934‐4657
MCCORMICK, LYNN F       255 RAINBOW DRIVE                                                                        LIVINGSTON      TX   77399‐2055
MCCORMICK, MADELINE J   359 WALNUT ST                                                                            LOCKPORT        NY   14094‐3832
MCCORMICK, MADELYN L    1408 MEADOW GREEN LN                                                                     LINDEN          MI   48451‐9402
MCCORMICK, MARGARET     4406 BUTTERCUP LANE                                                                      BESSMER         AL   35022
MCCORMICK, MARGARET R   1040 WATAUGA RD                                                                          COOKEVILLE      TN   38506‐4301
MCCORMICK, MARISOL J    1200 STONEBROOKE DR                                                                      HOWELL          MI   48843‐9707
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Name                        Address1                          Address2                       Address3   Address4         City               State Zip
MCCORMICK, MARISOL J.       1200 STONEBROOKE DR                                                                          HOWELL              MI 48843‐9707
MCCORMICK, MARJORIE JEAN    6510 RICHFIELD RD                                                                            FLINT               MI 48506‐2214
MCCORMICK, MARK A           11180 OAKWOOD DR                                                                             BYRON               MI 48418‐9013
MCCORMICK, MAXINE           919 FRANK ST                                                                                 FLINT               MI 48504‐4857
MCCORMICK, MELVINA          1791 WESTWOOD N. W.                                                                          WARREN              OH 44485‐1841
MCCORMICK, MELVINA          1791 WESTWOOD DR NW                                                                          WARREN              OH 44485‐1841
MCCORMICK, MICHAEL J        3 DEEPWOOD CT                                                                                AMHERST             NY 14228‐2821
MCCORMICK, MICHAEL L        704 HEREFORD DRIVE                                                                           ATHENS              AL 35611‐3638
MCCORMICK, MICHAEL N        12440 LAKE RD                                                                                OTTER LAKE          MI 48464‐9102
MCCORMICK, MICHAEL NORMAN   12440 LAKE RD                                                                                OTTER LAKE          MI 48464‐9102
MCCORMICK, MORGAN L         1628 JERMAIN DR                                                                              TOLEDO              OH 43606‐4057
MCCORMICK, NELSON D         856 SARAH RD                                                                                 PINCKNEY            MI 48169‐9027
MCCORMICK, PATRICIA R       419 NW 621ST RD                                                                              CENTERVIEW          MO 64019‐8160
MCCORMICK, PATRICK          11715 RUGGLES CIR                                                                            OMAHA               NE 68164‐2252
MCCORMICK, PAUL E           2328 LINCOLN AVE                                                                             PARMA               OH 44134‐1523
MCCORMICK, PAUL R           8535 S 500 E                                                                                 JONESBORO           IN 46938‐9620
MCCORMICK, PHILLIP D        1613 KINGS CT                                                                                GRAND PRAIRIE       TX 75051‐4415
MCCORMICK, RAYMOND G        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                              PROFESSIONAL BLDG
MCCORMICK, RICHARD J        166 PINE ST.                      LOT 51W                                                    SAINT CLOUD        FL   34769
MCCORMICK, ROBERT C         4221 KINSEY RD                                                                               ENGLEWOOD          OH   45322‐2612
MCCORMICK, ROBERT C         4221 KINSEY RD.                                                                              ENGLEWOOD          OH   45322‐2612
MCCORMICK, ROBERT D         9686 DOUGLAS RD                                                                              TEMPERANCE         MI   48182‐9452
MCCORMICK, ROBERT L         150 COUNTY ROAD 488                                                                          CENTRE             AL   35960‐6181
MCCORMICK, ROBERT L         1931 E COUNTY RD #214                                                                        BLYTHEVILLE        AR   72315
MCCORMICK, ROBERT L         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MCCORMICK, ROBERT S         7251 ROBINDALE ST                                                                            HUBER HEIGHTS      OH 45424‐3220
MCCORMICK, ROBERT W         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                              STREET, SUITE 600
MCCORMICK, RODNEY           HILBORN & HILBORN                 999 HAYNES ST STE 205                                      BIRMINGHAM         MI 48009‐6775
MCCORMICK, ROSEMARIE F      1025 PATRICIA DR                                                                             GIRARD             OH 44420‐2117
MCCORMICK, ROY L
MCCORMICK, RUBY A           7854 COUNTY ROUTE 115             COLDSPRINGS RD                                             BATH               NY   14810
MCCORMICK, RUTH M           50 CAPETON CT                                                                                COVINGTON          GA   30016‐3024
MCCORMICK, SHAUNY L         3585 GRAPEVINE TRL                                                                           CLARKSTON          MI   48348‐1058
MCCORMICK, SHAWN            14049 LUCERNE                                                                                REDFORD            MI   48239‐2913
MCCORMICK, SHAWN
MCCORMICK, SHIRLEY A        1246 LEISURE DR                                                                              FLINT              MI   48507‐4052
MCCORMICK, STEVEN J         10444 GALE RD                                                                                GOODRICH           MI   48438‐9045
MCCORMICK, SYBLE S          856 SARAH RD                                                                                 PINCKNEY           MI   48169‐9027
MCCORMICK, TERRENCE J       15 BRIGHTON WAY                                                                              BEAR               DE   19701‐2279
MCCORMICK, TERRY E          3377 DUFFIELD RD                                                                             FLUSHING           MI   48433‐9709
MCCORMICK, THEODORE D       4393 LOUD DAM RD                                                                             GLENNIE            MI   48737
MCCORMICK, THEODORE L       PO BOX 20344                                                                                 SAGINAW            MI   48602‐0344
MCCORMICK, THOMAS J         3841 N JOAN CT                                                                               PRESCOTT VALLEY    AZ   86314‐8137
MCCORMICK, THOMAS J         5300 FOSTER DR                                                                               OKLAHOMA CITY      OK   73135‐1426
MCCORMICK, THOMAS J         4922 EXPRESS DR S                                                                            RONKONKOMA         NY   11779‐5556
MCCORMICK, TIMOTHY A        3159 NAVARRE AVE APT 1D                                                                      OREGON             OH   43616
MCCORMICK, TIMOTHY J        6417 MANN RD                                                                                 AKRON              NY   14001‐9021
MCCORMICK, TINA M           255 SUNSET LN                                                                                COLUMBIA           TN   38401‐2345
MCCORMICK, WALTER           15846 CHELMSFORD ST                                                                          CLINTON TOWNSHIP   MI   48038
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Name                               Address1                           Address2                      Address3   Address4             City              State Zip
MCCORMICK, WAYNE C                 502 BELLEVUE RD                                                                                  WILMINGTON         DE 19809‐2202
MCCORMICK, WAYNE E                 GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
MCCORMICK, WAYNE J                 6767 FRED MOORE HWY                                                                              CHINA             MI   48054
MCCORMICK, WILLIAM                 3404 COLE RD                                                                                     AMELIA            OH   45102‐1815
MCCORMICK, WILLIAM B               936 RINGNECK RD                                                                                  STATE COLLEGE     PA   16801‐6533
MCCORMICK, WILLIAM H               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA   23510‐2212
                                                                      STREET, SUITE 600
MCCORMICK, WILLIE C                10383 POTTER RD                                                                                  FLUSHING          MI 48433‐9722
MCCORMICKS TRANSPORT SYSTEMS INC   100 MINUK ACRES                                                             SCARBOROUGH CANADA
                                                                                                               ON M1E 4Y6 CANADA
MCCORQUODALE, JOHN C               6589 WOLCOTTSVILLE RD                                                                            AKRON             NY   14001‐9003
MCCORRISTON, CLIFFORD L            283 BETHS AVE                                                                                    BRISTOL           CT   06010‐4840
MCCORRY JR, JOHN B                 85 BONNIE BRAE AVE                                                                               ROCHESTER         NY   14618‐1801
MCCORRY, CAROLYN                   720 BRADFIELD DR                                                                                 TROTWOOD          OH   45426‐2504
MCCORRY, CAROLYN                   720 BRADFIELD ST                                                                                 TROTWOOD          OH   45426‐2504
MCCORRY, JAMES F                   PO BOX 2939                                                                                      DEARBORN          MI   48123
MCCORRY, WILLIAM T                 3 HEALY WAY                                                                                      LANGHORNE         PA   19047‐1189
MCCORT, ANGELA C                   1177 ELM STREET                                                                                  GRAFTON           OH   44044‐1303
MCCORT, BETTY J                    9660 ISLAND RD                                                                                   GRAFTON           OH   44044‐9489
MCCORT, BEVERLY G                  1400 BRIGADOON CT APT 14                                                                         TRAVERSE CITY     MI   49686‐5923
MCCORT, EDNA TENNELL               530 WEDGEMERE AVE                                                                                AKRON             OH   44313‐5755
MCCORT, MARY C                     1015 DONALD DRIVE                                                                                TEMPERANCE        MI   48182‐9502
MCCORT, ROBERT W                   8807 W 94TH ST                                                                                   OVERLAND PARK     KS   66212‐3957
MCCORVEY, BRIDGETTE                3117 E 33RD AVE                                                                                  TAMPA             FL   33610‐7817
MCCORVEY, JIMMIE                   341 E ENSLEY ST                                                                                  PENSACOLA         FL   32514‐3491
MCCORVEY, KRYSTAL                  6845 CAROL PLANTATION RD APT 403                                                                 THEODORE          AL   36582‐1938
MCCORVEY, ROBERT J                 202 AVALON DR SE A                                                                               WARREN            OH   44484
MCCOSH, JAMES                      397 SUMMIT ST                                                                                    HILLSDALE         MI   49242‐1034
MCCOTRY, KATHY D                   1732 W 9TH ST                                                                                    ANDERSON          IN   46016‐2700
MCCOTRY, KATHY DIANE               1732 W 9TH ST                                                                                    ANDERSON          IN   46016‐2700
MCCOTTRELL, JOHN L                 20437 MARLOWE ST                                                                                 DETROIT           MI   48235‐1646
MCCOUN, MARY J                     2260 BRIANWOOD TRL                                                                               DECATUR           GA   30033‐1719
MCCOURT                            3681 SENECA ST                                                                                   WEST SENECA       NY   14224‐3452
MCCOURT BRENDA L                   MCCOURT, BRENDA L                  213 HALE ST                                                   CHARLESTON        WV   25301‐2207
MCCOURT BRENDA L                   MCCOURT, CHRISTOPHER               213 HALE ST                                                   CHARLESTON        WV   25301‐2207
MCCOURT CARTAGE LIMITED            3380 WHEELTON DR                                                            WINDSOR, ON ON N8W
                                                                                                               5A7 CANADA
MCCOURT EXPEDITE                   DIV LASER TRANSPORT INC            3380 WHEELTON DR                         WINDSOR ON N8W 5A7
                                                                                                               CANADA
MCCOURT JR, WILLIAM F              2401 SNOW RD APT 303                                                                             PARMA             OH   44134‐2745
MCCOURT, BRENDA                    5 KESSLER AVE                                                                                    WEBSTER SPRINGS   WV   26288
MCCOURT, BRENDA L                  BUCCI BAILEY & JAVINS              213 HALE ST                                                   CHARLESTON        WV   25301‐2207
MCCOURT, CHRISTOPHER               BUCCI BAILEY & JAVINS              213 HALE ST                                                   CHARLESTON        WV   25301‐2207
MCCOURT, EARL B                    15900 MOCK RD                                                                                    BERLIN CENTER     OH   44401‐9724
MCCOURT, EDWARD                    512 4TH ST                                                                                       UNION CITY        NJ   07087‐2802
MCCOURT, ISHMALD F                 4629 NETTLETON RD                                                                                MEDINA            OH   44256‐9630
MCCOURT, JUNIOR L                  PO BOX 358                                                                                       SEVILLE           OH   44273‐0358
MCCOURT, LILLIE R                  4629 NETTLETON RD                                                                                MEDINA            OH   44256‐9630
MCCOURT, MAJOR R                   1072 ECHO VALLEY RD                                                                              WATERFORD         OH   45786‐5413
MCCOURT, ROCKY W                   317 1/2 WILSON ST.                                                                               ELKINS            WV   26241
MCCOURTNEY, RUBY V                 3375 CHERRY BLOSSOM CT                                                                           DAVISON           MI   48423‐1183
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Name                         Address1                          Address2                       Address3   Address4         City               State Zip
MCCOURTY, AUDREY L           1418 MAPLE AVE                                                                               PLAINFIELD          NJ 07060‐2908
MCCOURY, HELEN R             276 OLD WATAUGA RD                                                                           ELIZABETHTON        TN 37643‐6681
MCCOURY, JERRY L             693 S GREY RD                                                                                AUBURN HILLS        MI 48326‐3815
MCCOURY, RONALD L            123 SUTHERLAND RD                                                                            LANCASTER           PA 17603‐9020
MCCOWAN, CONTANCE J          2110 CRESTWOOD DR                                                                            ANDERSON            IN 46016‐2747
MCCOWAN, DANIEL T            303 FOUNTAINBROOKE DRIVE                                                                     BRENTWOOD           TN 37027‐7891
MCCOWAN, EMMAUEL             3777 MALCOLM AVE                                                                             OAKLAND             CA 94605‐5357
MCCOWAN, FRED                314 E 39TH ST                                                                                ANDERSON            IN 46013‐4655
MCCOWAN, JAMES L             1109 LOFTIN RD                                                                               COLUMBIA            TN 38401‐8017
MCCOWAN, JAMES O             9368 N CTY RD # 775                                                                          LOSANTVILLE         IN 47354
MCCOWAN, MICHAEL P           1121 S BASSETT ST                                                                            DETROIT             MI 48217‐1677
MCCOWAN, PAUL E              4657 S SELBY ST                                                                              MARION              IN 46953‐5330
MCCOWAN, SHIRLEY             1727 SUTTON AVE                                                                              CINCINNATI          OH 45230‐1896
MCCOWAN, STEVEN L            2043 109TH AVE                                                                               OAKLAND             CA 94603
MCCOWAN, THURMAN G           1900 HIGH KNOLL DR                                                                           DAYTON              OH 45414‐3739
MCCOWAN, VELVA J             4031 ASHWOOD CT                                                                              CINCINNATI          OH 45245‐4102
MCCOWAN, WILLIAM J           6251 GRAND BLANC ROAD                                                                        SWARTZ CREEK        MI 48473‐9443
MCCOWANS, OSCAR J            2651 S HOME AVE                                                                              MARION              IN 46953‐3760
MCCOWEN JR, DELBERT W        36 DWIGHT AVE                                                                                PONTIAC             MI 48341‐1272
MCCOWEN, MARY
MCCOWN LUKE                  6560 FM 347 N                                                                                JACKSONVILLE       TX   75766‐7776
MCCOWN, BEVERLY              7737 OAK ST                                                                                  TAYLOR             MI   48180‐2208
MCCOWN, DENNIS               22036 VILLAGE CT                                                                             WOODHAVEN          MI   48183‐3750
MCCOWN, FRED W               2062 E COVINA ST                                                                             MESA               AZ   85213‐7620
MCCOWN, GLENNIS              1580 W ARNOLD LAKE RD                                                                        HARRISON           MI   48625‐9743
MCCOWN, JAMES H              3624 EAGLE DR                                                                                VERO BEACH         FL   32963‐1648
MCCOWN, JAMES R              4195 S DAYTON BRANDT RD                                                                      NEW CARLISLE       OH   45344‐7622
MCCOWN, JOSEPH A             294 MULE SKINNER LN                                                                          MARTINSBURG        WV   25405‐3937
MCCOWN, PATRICIA A           22912 GLENMOOR HTS                                                                           FARMINGTON HILLS   MI   48336‐3530
MCCOWN, PAUL F               182 CHARLIE SHAW RD                                                                          LEWISBURG          TN   37091‐4902
MCCOWN, PHILLIP E            27 LUCERNE LN                                                                                YOUNGSTOWN         OH   44511‐3419
MCCOWN, SYLVIA               1638 OKLAHOMA AVE                                                                            FLINT              MI   48506‐2709
MCCOWN, TERESA
MCCOY ANDY                   MCCOY, ANDY                       PO BOX 1476                                                WILLIAMSON         WV   25661‐1476
MCCOY BILL                   MCCOY, BILL                       4423 SE WEEKLEY COURT                                      TECUMSEH           KS   66542‐9440
MCCOY BURRAGE                5125 CINDERELLA DR                                                                           OKLAHOMA CITY      OK   73129‐8931
MCCOY C REGINALD             C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                        LITTLE ROCK        AR   72201
MCCOY CARNES JR.             613 W MANOR DR                                                                               MARION             IN   46952‐1945
MCCOY CARRIE                 MCCOY, CARRIE                     645 DUGAN ROAD                                             BELPRE             OH   45714‐9662
MCCOY DAVID                  MCCOY, DAVID                      120 WEST MADISON STREET 10TH                               CHICAGO            IL   60602
                                                               FLOOR
MCCOY DENNEY A SR (464402)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                 BALTIMORE          MD 21202
                                                               CHARLES CENTER 22ND FLOOR
MCCOY DONALD                 15601 EASTWOOD ST                                                                            DETROIT            MI   48205‐2939
MCCOY ELAINE                 3782 DONATA DR                                                                               CINCINNATI         OH   45251‐5858
MCCOY FAMILY TRUST           14643 W VIA MONTOYA                                                                          SUN CITY WEST      AZ   85375‐2910
MCCOY FITZGERALD             615 WAVERLY DRIVE                                                                            BEAVERCREEK        OH   45434‐5817
MCCOY FITZGERALD             615 WAVERLY DR                                                                               BEAVERCREEK        OH   45434‐5817
MCCOY FRANCES                5244 STATE ROUTE 15                                                                          NEY                OH   43549‐9715
MCCOY HARRY                  2100 FALCON PASS                                                                             WESTLAKE           TX   76262‐4805
MCCOY HARRY N (400703)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510
                                                               STREET, SUITE 600
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Name                            Address1                          Address2                      Address3   Address4         City            State Zip
MCCOY II, CHARLES B             7624 DAVIS LN                                                                               OAKLANDON        IN 46236‐8876
MCCOY IRA O (405700)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                  STREET, SUITE 600
MCCOY JACQUE                    1808 COUNTRY CLUB DRIVE                                                                     SWEETWATER      TX 79556‐1704
MCCOY JOHN D (429412)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                  STREET, SUITE 600
MCCOY JR, ALPHONSE              6931 WINCHESTER DR                                                                          SAINT LOUIS     MO   63121‐2819
MCCOY JR, BURKE                 PO BOX 78696                                                                                SAINT LOUIS     MO   63178‐8696
MCCOY JR, GEORGE R              14493 WOODFIELD CIR N                                                                       JACKSONVILLE    FL   32258‐6411
MCCOY JR, GRESTON T             920 W 4TH ST                                                                                ALEXANDRIA      IN   46001‐2212
MCCOY JR, LONNIE                1608 KINGSWAY RD                                                                            BALTIMORE       MD   21218‐1612
MCCOY JR, PAUL E                9081 STILLWATER TRL                                                                         FORT WORTH      TX   76118‐7392
MCCOY K L & ASSOCIATES INC      4888 LAKEPOINTE ST                                                                          DETROIT         MI   48224‐3360
MCCOY MATTHEWS                  5830 SHADY OAK ST                                                                           DAYTON          OH   45424‐4244
MCCOY MILLER LLC                1110 D I DR                                                                                 ELKHART         IN   46514‐8231
MCCOY MOTORS, INC.              361 N SWITZER CANYON DR                                                                     FLAGSTAFF       AZ   86001‐4825
MCCOY MOTORS, INC.              LEWIS MCCOY                       361 N SWITZER CANYON DR                                   FLAGSTAFF       AZ   86001‐4825
MCCOY PITT                      PO BOX 1744                                                                                 DECATUR         AL   35602
MCCOY PONTIAC‐BUICK‐GMC, INC.   JOHN MCCOY                        307 S 3RD AVE                                             ALPENA          MI   49707‐2567
MCCOY RALPH                     10237 STONEHAM AVE                                                                          OKLAHOMA CITY   OK   73120
MCCOY ROBERT V SR (400378)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                  STREET, SUITE 600
MCCOY SUE                       12245 ATRIUM CIR                                                                            SARATOGA        CA 95070‐3102
MCCOY WILLIAM (327067)          ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                BALTIMORE       MD 21202
                                                                  CHARLES CENTER 22ND FLOOR
MCCOY'S SERVICE                 2815 W CENTRAL AVE                                                                          TOLEDO          OH   43606‐3018
MCCOY, A Z                      66 VICTORY DR                                                                               PONTIAC         MI   48342‐2560
MCCOY, ALBERT                   14610 ALDER AVE                                                                             E CLEVELAND     OH   44112‐2630
MCCOY, ALISSA C                 6215 BEECHFIELD DR                                                                          LANSING         MI   48911‐5734
MCCOY, ALVIN D                  16255 DARLENE DR                                                                            MACOMB          MI   48042‐1630
MCCOY, AMY LOUISE               900 LONG BLVD APT 669                                                                       LANSING         MI   48911‐6816
MCCOY, ANDREA L                 PO BOX 127                                                                                  BURLINGTON      IN   46915‐0127
MCCOY, ANGEL M.                 21359 DENMARK RD                                                                            DANVILLE        IL   61834‐5765
MCCOY, ANNIE M                  2461 S POINTER RD                                                                           PINE BLUFF      AR   71601‐9758
MCCOY, ANTHONY C                3579 CHARLOTTE MILL DR                                                                      MORAINE         OH   45418‐2959
MCCOY, ANTHONY J                66 VICTORY DR                                                                               PONTIAC         MI   48342‐2560
MCCOY, AUDREY E                 237 MYRTLE LN                                                                               SPRINGBORO      OH   45066‐1375
MCCOY, BARBARA A                712 GREENLEAF DR                                                                            ARLINGTON       TX   76017‐6407
MCCOY, BARBARA B                2834 HAZEL AVE                                                                              DAYTON          OH   45420‐3009
MCCOY, BARBARA L                BOX 63                                                                                      BLACKSVILLE     WV   26521‐0063
MCCOY, BEATRICE                 6322 WOODCHUCK DR                                                                           PENDLETON       IN   46064
MCCOY, BEN                      3055 CLEARBROOK ST                                                                          MEMPHIS         TN   38118
MCCOY, BEN                      2060 RIVERSIDE BLVD                                                                         MEMPHIS         TN   38109‐2111
MCCOY, BERTIE M                 1680 DAKOTA PLACE                                                                           DEFIANCE        OH   43512
MCCOY, BETTY                    15709 LORETO                                                                                ROSEVILLE       MI   48066‐1420
MCCOY, BETTY J                  PO BOX 31743                                                                                ROCHESTER       NY   14603‐1743
MCCOY, BEVERLY                  12205 GOSHEN RD LOT 43                                                                      SALEM           OH   44460
MCCOY, BILL                     4423 SE WEEKLEY CT                                                                          TECUMSEH        KS   66542‐9440
MCCOY, BILLIE A                 1501 DRUID DR                                                                               COPLEY          OH   44321‐2007
MCCOY, BILLY R                  1326 PUTNAM AVE                                                                             JANESVILLE      WI   53546‐2611
MCCOY, BOBBY                    388 ALAMEDA AVE                                                                             YOUNGSTOWN      OH   44504‐1452
MCCOY, BOBBY L                  24755 ROSS DR                                                                               REDFORD         MI   48239‐3342
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Name                     Address1                         Address2                    Address3   Address4         City            State Zip
MCCOY, BRANDEN T         2649 HAWCO DR APT 3417                                                                   GRAND PRAIRIE    TX 75052‐8131
MCCOY, BRANDON
MCCOY, BRETT A           9100 HOPP RD                                                                             SAINT JOHNS     MI   48879‐9328
MCCOY, BRUCE L           3147 CEMETERY RD                                                                         XENIA           OH   45385‐8711
MCCOY, C D               3870 BRUMBAUGH BLVD                                                                      DAYTON          OH   45416
MCCOY, CALVIN J          11 EDITH ST                                                                              BUFFALO         NY   14215‐2311
MCCOY, CARDELIA          1725 NE 58TH ST                                                                          OKLAHOMA CITY   OK   73111‐6838
MCCOY, CARRIE            645 DUGAN RD                                                                             BELPRE          OH   45714‐9662
MCCOY, CHAD              RR 2 BOX 445                                                                             RONCEVERTE      WV   24970‐9537
MCCOY, CHARLIE           COLOM LAW FIRM                   605 2ND AVE N                                           COLUMBUS        MS   39701‐4513
MCCOY, CHARLOTTE         824 BAY ST.                                                                              PONTIAC         MI   48342‐1902
MCCOY, CHARLOTTE         824 BAY ST                                                                               PONTIAC         MI   48342‐1902
MCCOY, CHARLOTTE J       2125 CHARLES ST                                                                          ANDERSON        IN   46013‐2729
MCCOY, CHERYIAL D        412 W PIONEER PKWY APT B                                                                 ARLINGTON       TX   76010‐9321
MCCOY, CHRIS F           1436 CARLTON AVE NE                                                                      GRAND RAPIDS    MI   49505‐5408
MCCOY, CLARA             3901 W COUNTY ROAD 800 N                                                                 GASTON          IN   47342‐9587
MCCOY, CLARA             3901 W CTY RD 800 N                                                                      GASTON          IN   47342‐9575
MCCOY, CORBETT L         4453 LONE OAK DR                                                                         MUSSEY          MI   48014‐3057
MCCOY, CURTIS B          5503 W 22ND ST APT C                                                                     INDIANAPOLIS    IN   46224‐5448
MCCOY, CURTIS L          1438 HOCHWALT AVE                                                                        DAYTON          OH   45408‐1824
MCCOY, DALE A            488 GUNNISON GORGE DR                                                                    BALLWIN         MO   63011‐1739
MCCOY, DALE ARTHUR       488 GUNNISON GORGE DR                                                                    BALLWIN         MO   63011‐1739
MCCOY, DAMIEN DESHUNTE   4245 W JOLLY RD LOT 120                                                                  LANSING         MI   48911‐3059
MCCOY, DANIEL            PORTER & MALOUF PA               4670 MCWILLIE DR                                        JACKSON         MS   39206‐5621
MCCOY, DANIEL L          2204 REEVER ST                                                                           ARLINGTON       TX   76010‐8108
MCCOY, DARLEEN A         24465 GREEN VALLEY ST                                                                    SOUTHFIELD      MI   48033
MCCOY, DAVID A           13783 PARK DR                                                                            BROOK PARK      OH   44142‐3938
MCCOY, DAVIE L           110 MCCOY RD                                                                             FAIRVIEW        WV   26570‐8680
MCCOY, DEBORAH M         PO BOX 452                                                                               AUBURN          GA   30011‐0452
MCCOY, DEELLIS G         8810 COLBY BLVD APT. 207                                                                 INDIANAPOLIS    IN   46268‐1386
MCCOY, DELBERT W         1504 E ANDOVER AVE                                                                       MUNCIE          IN   47303‐2203
MCCOY, DENNEY A          ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE       MD   21202
                                                          CHARLES CENTER 22ND FLOOR
MCCOY, DONALD            189 STURGIS AVE                                                                          CINCINNATI      OH   45217‐1921
MCCOY, DONALD L          4581 GLEN MOOR WAY                                                                       KOKOMO          IN   46902‐9594
MCCOY, DONALD M          6400 RIDGE VIEW CIRCLE                                                                   BESSEMER        AL   35022‐7022
MCCOY, DONALD R          1104 PROGRESS ST                                                                         MIDDLETOWN      IN   47356‐1240
MCCOY, DONNA B           2450 KROUSE RD LOT 477                                                                   OWOSSO          MI   48867‐8158
MCCOY, DONNA B           2450 KROUSE RD. SITE 477                                                                 OWOSSO          MI   48867‐9309
MCCOY, DOROTHY           709 HEGSTROM RD 35                                                                       LEESBURG        FL   34748
MCCOY, DOROTHY           2232 MAPLE ST PO BOX 144                                                                 DUBLIN          IN   47335‐0144
MCCOY, DOROTHY MARIE     COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                                 HOUSTON         TX   77002‐1751
MCCOY, DUSTY D           3579 CHARLOTTE MILL DRIVE                                                                MORAINE         OH   45418‐2959
MCCOY, DWAYNE L          10714 DEEP CREEK CT                                                                      FORT WAYNE      IN   46804‐6926
MCCOY, DWAYNE LAWRENCE   10714 DEEP CREEK CT                                                                      FORT WAYNE      IN   46804‐6926
MCCOY, EDNA E            20245 ROSEMONT AVE                                                                       DETROIT         MI   48219‐1507
MCCOY, EDWARD J          PO BOX 227                                                                               CEDARVILLE      OH   45314‐0227
MCCOY, EDWARD P          3283 CAMDEN DR                                                                           TROY            MI   48084‐7028
MCCOY, ELEANOR A         382 CURTIS DR                                                                            WILMINGTON      OH   45177‐1541
MCCOY, ELMER N           2076 RIDGEBURY DRIVE                                                                     KETTERING       OH   45440‐1819
MCCOY, ELVIS L           25713 SAN ROSA DR                                                                        ST CLAIR SHRS   MI   48081‐3829
MCCOY, ERNEST            2655 S CASSADY AVE                                                                       COLUMBUS        OH   43207‐2822
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Name                    Address1                            Address2                      Address3   Address4         City                 State Zip
MCCOY, ESTHER C         4625 TARA WAY                                                                                 DAYTON                OH 45426‐2127
MCCOY, FANNIE           6539 S DREXEL AVE 2F                                                                          CHICAGO                IL 60637
MCCOY, FLORASTEEN E     SHANNON LAW FIRM                    100 W GALLATIN ST                                         HAZLEHURST            MS 39083‐3007
MCCOY, FLORENCE S       601 GAUL ST                                                                                   PHILADELPHIA          PA 19125‐2730
MCCOY, FOREST L         6600 N APPLE LN                                                                               MUNCIE                IN 47303‐9572
MCCOY, FRANCES          663 LINCOLN CTR                                                                               CAMDEN                AR 71701‐5304
MCCOY, FRANCES LOUISE   PO BOX 406                                                                                    SWAYZEE               IN 46986‐0406
MCCOY, FRANK            6233 OAKES ST                                                                                 MARLETTE              MI 48453‐1364
MCCOY, FRANK S          125 WESTMORELAND DR E                                                                         KOKOMO                IN 46901‐5160
MCCOY, FRED A           4625 TARA WAY                                                                                 DAYTON                OH 45426‐2127
MCCOY, FREDDY           PO BOX 3611                                                                                   SAN DIEGO             CA 92163‐1611
MCCOY, GARY B           1732 WILBER ROAD                                                                              EAST TAWAS            MI 48730‐9725
MCCOY, GARY B           1732 WILBER RD                                                                                EAST TAWAS            MI 48730‐9725
MCCOY, GARY W           13245 OXFORD RD                                                                               GERMANTOWN            OH 45327‐9791
MCCOY, GAYNELLE M       471 HALES BRANCH RD                                                                           MIDLAND               OH 45148‐9712
MCCOY, GEORGE E         606 OSTRANDER DR.                                                                             DAYTON                OH 45403‐3257
MCCOY, GEORGIE A        139 W ASPEN RD                                                                                MEDWAY                OH 45341‐1355
MCCOY, GERALD J         17127 W STATE ROAD 81                                                                         BRODHEAD              WI 53520‐9358
MCCOY, GERALD R         3700 S WINDPOINT CIR                                                                          MUNCIE                IN 47302‐6914
MCCOY, GERALD REX       707 S STONEY BROOK DR                                                                         MUNCIE                IN 47304‐4079
MCCOY, GERALD W         5989 E 400 S                                                                                  WHITESTOWN            IN 46075‐9577
MCCOY, GLENDOLA L       718 E 5TH ST                                                                                  MUNCIE                IN 47302‐3412
MCCOY, GLENN            208 FRENCHMANS BEND PL                                                                        MONROE                LA 71203‐8931
MCCOY, GLENN R          208 FRENCHMANS BEND PL                                                                        MONROE                LA 71203‐8931
MCCOY, GREG J           492 S 4TH ST                                                                                  ORLEANS               IN 47452
MCCOY, GREGORY HAROLD   BOONE ALEXANDRA                     205 LINDA DR                                              DAINGERFIELD          TX 75638‐2107
MCCOY, GWENDOLYN        PO BOX 32553                                                                                  EUCLID                OH 44132‐0553
MCCOY, HAROLD           7349 MILLIKEN AVE STE 140                                                                     RANCHO CUCAMONGA      CA 91730‐7435
MCCOY, HAROLD           3448 PHEASANT COURT                                                                           DECATUR               GA 30034‐4228
MCCOY, HAROLD J         9856 STATE ROUTE 88                                                                           GARRETTSVILLE         OH 44231‐9402
MCCOY, HAROLD R         1136 HARRIET ST                                                                               MOUNT MORRIS          MI 48458‐1628
MCCOY, HARRY N          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                            STREET, SUITE 600
MCCOY, HENRY J          2915 F ST                                                                                     TOLEDO               OH   43608‐2219
MCCOY, HENRY JAMES      2915 F ST                                                                                     TOLEDO               OH   43608‐2219
MCCOY, HERMAN A         1654 N LAURENTIAN VW                                                                          SAULT SAINTE MARIE   MI   49783‐8741
MCCOY, HERMAN C         1328 NASSAU CIRCLE                                                                            TAVARES              FL   32778‐2778
MCCOY, IRA O            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510‐2212
                                                            STREET, SUITE 600
MCCOY, JAMES            5693 LOCUST STREET EXT                                                                        LOCKPORT             NY   14094‐5928
MCCOY, JAMES A          23650 CADILLAC HWY                                                                            COPEMISH             MI   49625‐9717
MCCOY, JAMES E          17251 LUMPKIN ST                                                                              DETROIT              MI   48212‐1579
MCCOY, JAMES E          2015 BARTH AVE                                                                                INDIANAPOLIS         IN   46203‐4015
MCCOY, JAN E            17125 WILLIS DR                                                                               NOBLESVILLE          IN   46062‐8553
MCCOY, JANET F          35 ALLEN AVE                                                                                  NEW HOLLAND          OH   43145
MCCOY, JANICE C         3127 MATTHEW DR APT D                                                                         KOKOMO               IN   46902‐4082
MCCOY, JEARLDINE        RR 1                                                                                          GASTON               IN   47342‐9801
MCCOY, JERI K           2980 BUTTERNUT CIR                                                                            SAINT GEORGE         UT   84790
MCCOY, JERRY            712 GREENLEAF DR                                                                              ARLINGTON            TX   76017‐6407
MCCOY, JERRY W          2810 E SOUTHWAY BLVD                                                                          KOKOMO               IN   46902‐4112
MCCOY, JESSIE E         6518 DARYLL DR                                                                                FLINT                MI   48505‐1962
MCCOY, JOHN D           PO BOX 300647                                                                                 DRAYTON PLAINS       MI   48330‐0647
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Name                Address1                       Address2                        Address3   Address4         City                  State Zip
MCCOY, JOHN D       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK                VA 23510‐2212
                                                   STREET, SUITE 600
MCCOY, JOHN E       596 FULMER DRIVE                                                                           DAYTON                OH   45403‐3213
MCCOY, JOHN E       596 FULMER DR                                                                              DAYTON                OH   45403‐3213
MCCOY, JOHN F       6112 GLENBURG RD                                                                           DEFIANCE              OH   43512‐9773
MCCOY, JOHN M       910 SUGAR RD                                                                               COPLEY                OH   44321‐1743
MCCOY, JOHN R       1211 STOLLE RD                                                                             ELMA                  NY   14059‐9784
MCCOY, JONNY L      2461 S POINTER RD                                                                          PINE BLUFF            AR   71601‐9758
MCCOY, JOSEPH       SHANNON LAW FIRM               100 W GALLATIN ST                                           HAZLEHURST            MS   39083‐3007
MCCOY, JOSEPH A     5224 8TH STREET CT W                                                                       BRADENTON             FL   34207‐2803
MCCOY, JOSHUA H     362 BIG SPRINGS CIR                                                                        WEST BLOCTON          AL   35184‐4824
MCCOY, JUDITH       14001 WOODWORTH RD                                                                         CLEVELAND             OH   44112
MCCOY, JUDITH B     2316 OAKWOOD DR                                                                            ANDERSON              IN   46011‐2847
MCCOY, JUDITH L     4581 GLEN MOOR WAY                                                                         KOKOMO                IN   46902‐9594
MCCOY, KEENAN W
MCCOY, KENNETH H    PO BOX 242                                                                                 MADISON               WV   25130‐0242
MCCOY, KENNETH J    13188 STAGE RD                                                                             AKRON                 NY   14001
MCCOY, KENNETH L    281 MICHIGAN AVE                                                                           PONTIAC               MI   48342‐2535
MCCOY, KIMBAL       802 SAILBOAT CT                                                                            EDGEWOOD              MD   21040‐1818
MCCOY, KIRK         1729 CAYCE SPRINGS RD                                                                      THOMPSONS STATION     TN   37179‐9777
MCCOY, LARRY        31 GREENFIELD DR                                                                           MONROE                LA   71202‐5914
MCCOY, LARRY C      15399 S STATE ROUTE 66 RR 8                                                                DEFIANCE              OH   43512
MCCOY, LARRY D      102 MCKINLEY PL                                                                            SHELBY                OH   44875‐1474
MCCOY, LARRY V      501 SW STACEY DR                                                                           LEES SUMMIT           MO   64082‐4549
MCCOY, LAVERTTA W   540 BANE ST SW                                                                             WARREN                OH   44485‐4005
MCCOY, LELA         3652 MERRIMONT CT SE                                                                       KENTWOOD              MI   49512‐9375
MCCOY, LELAND I     7878 LYN DR                                                                                FRANKLIN              OH   45005‐4159
MCCOY, LELAND I     7878 LYNN DR                                                                               FRANKLIN              OH   45005‐4159
MCCOY, LEON         16760 GILCHRIST ST                                                                         DETROIT               MI   48235
MCCOY, LEROY        7618 HAWTHORNE PL                                                                          SAINT LOUIS           MO   63130‐1327
MCCOY, LEVI W       9180 PREST ST                                                                              DETROIT               MI   48228‐2208
MCCOY, LILLIAN F    5653 NORTON ROAD                                                                           GROVE CITY            OH   43123‐9646
MCCOY, LILLIAN F    5653 NORTON RD                                                                             GROVE CITY            OH   43123‐9646
MCCOY, LOIS E       PO BOX 285                                                                                 LINCOLN PARK          MI   48146‐0285
MCCOY, LORENZA      PO BOX 395                                                                                 CAMDEN                AR   71711‐0395
MCCOY, LOTTIE       VARAS & MORGAN                 PO BOX 886                                                  HAZLEHURST            MS   39083‐0886
MCCOY, LUCILLE      7715 CLOUDVIEW LN                                                                          RALEIGH               NC   27613‐1436
MCCOY, MACK F       6155 ANDERSONVILLE RD                                                                      WATERFORD             MI   48329‐1405
MCCOY, MARILYNN M   4634 AGNES AVE                                                                             LINCOLN PARK          MI   48146‐3701
MCCOY, MARION C     2615 S INDIANAPOLIS RD                                                                     LEBANON               IN   46052‐9691
MCCOY, MARION L     18314 MURRAY HILL                                                                          DETROIT               MI   48235‐4601
MCCOY, MARTHA J     110 SHENANDOAH DR.                                                                         FLORENCE              MS   39073‐9712
MCCOY, MARVIN J     47716 LINCOLN ST                                                                           E LIVERPOOL           OH   43920‐9135
MCCOY, MARVIN L     2778 E 100 N                                                                               ANDERSON              IN   46012‐9263
MCCOY, MARY         1263 WHITTIER RD                                                                           GROSSE POINTE PARK    MI   48230‐1111
MCCOY, MARY         3000 GRAHAM RD APT 206                                                                     STOW                  OH   44224
MCCOY, MARY A       18900 ALSTER                                                                               GROSSE POINTE WOODS   MI   48236
MCCOY, MARY K       1190 S MARYLIN ST                                                                          MARTINSVILLE          IN   46151‐2839
MCCOY, MARY P       C/O SHIRLEY A WOLFENBERGER     7160 MINGO NORTH LEWISBERG RD                               NORTH LEWISBURG       OH   43060

MCCOY, MARY R       10006 GRAYSTONE DR                                                                         UPPER MARLBORO        MD 20772
MCCOY, MARY Y       3150 STARLITE DR NW                                                                        WARREN                OH 44485‐1618
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Name                        Address1                            Address2                 Address3     Address4         City               State Zip
MCCOY, MATTHEW J            19373 ELKHART ST                                                                           HARPER WOODS        MI 48225‐2159
MCCOY, MEARLE C             PO BOX 7444                                                                                GREENWOOD           IN 46142‐6424
MCCOY, MELBA E              14300 W BELL RD UNIT 45                                                                    SURPRISE            AZ 85374‐9761
MCCOY, MELISSA S            10714 DEEP CREEK CT                                                                        FORT WAYNE          IN 46804‐6926
MCCOY, MELISSA SUSAN        10714 DEEP CREEK CT                                                                        FORT WAYNE          IN 46804‐6926
MCCOY, MELVA RUTH           7040 POTATO FARM RD                                                                        CROSSVILLE          TN 38571‐0781
MCCOY, MELVIN               11804 KENNEBEC ST                                                                          DETROIT             MI 48205‐5202
MCCOY, MELVIN E             4417 COPELAND AVE                                                                          DAYTON              OH 45406‐1206
MCCOY, MELVIN EUGENE        4417 COPELAND AVE                                                                          DAYTON              OH 45406‐1206
MCCOY, MELVIN L             835 KING ST                                                                                DEFIANCE            OH 43512‐3047
MCCOY, MICHAEL A            511 HALES BRANCH RD                                                                        MIDLAND             OH 45148‐9648
MCCOY, MICHAEL A            501 LYON ST APT 15                                                                         FLINT               MI 48503‐2556
MCCOY, MICHAEL D            23273 LIPAN ST NW                                                                          SAINT FRANCIS       MN 55070‐8791
MCCOY, MICHAEL F            520 W. SHERMAN ST.                  PO BOX 496                                             CARSON CITY         MI 48811
MCCOY, MICHAEL F            PO BOX 496                                                                                 CARSON CITY         MI 48811‐0496
MCCOY, MICHAEL P            1003 HARRISON AVE                                                                          DEFIANCE            OH 43512‐2028
MCCOY, MICHAEL T            32785 SUTTON RD                                                                            CHESTERFIELD        MI 48047‐3371
MCCOY, MICHAEL W            6107 LOWELL AVE                                                                            INDIANAPOLIS        IN 46219‐6111
MCCOY, MILFORD E            PO BOX 144                          2232 MAPLE ST                                          DUBLIN              IN 47335‐0144
MCCOY, MOZEL                3448 PHEASANT CT                                                                           DECATUR             GA 30034‐4228
MCCOY, NANETTE G            APT 6                               60 TANGLEWOOD DRIVE                                    DELAWARE            OH 43015‐1266
MCCOY, NATHAN               21379 PAVER BARNES RD                                                                      MARYSVILLE          OH 43040‐9269
MCCOY, NORA L               81 KATHY COURT                                                                             DOUGLASVILLE        GA 30134‐5062
MCCOY, NORINE M             3172 SW WATSON CT                                                                          PORT ST LUCIE       FL 34953‐6341
MCCOY, NORMA S              15399 S STATE ROUTE 66                                                                     DEFIANCE            OH 43512‐6803
MCCOY, OLA J                2249 WICK, S.E.                                                                            WARREN              OH 44484‐5440
MCCOY, OLA J                2249 WICK ST SE                                                                            WARREN              OH 44484‐5440
MCCOY, OLIVER M             PO BOX 1984                                                                                ALEXANDRIA          LA 71309‐1984
MCCOY, ORVAL J              6812 AZALEA DR                                                                             INDIANAPOLIS        IN 46214‐1926
MCCOY, ORVILLE W            P.O. BOX 58                                                                                SANTEE              SC 29142‐9142
MCCOY, ORVILLE W            PO BOX 58                                                                                  SANTEE              SC 29142‐0058
MCCOY, OTHA L               BOONE ALEXANDRA                     205 LINDA DR                                           DAINGERFIELD        TX 75638‐2107
MCCOY, OTIS B               C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                 EDWARDSVILLE         IL 62025
                            ROWLAND PC
MCCOY, PATRICIA C           1820 4TH AVE APT 22                                                                        SAN DIEGO          CA   92101‐2654
MCCOY, PATRICIA K           6919 GREENSVIEW VILLAGE DR                                                                 CANAL WINCHESTER   OH   43110‐8373
MCCOY, PATRICK D            1571 WENONAH LANE                                                                          SAGINAW            MI   48638‐4448
MCCOY, PATRICK D            1571 WENONAH LN                                                                            SAGINAW            MI   48638‐4448
MCCOY, PATRICK M            1946 MERLE RD                                                                              SALEM              OH   44460‐4037
MCCOY, PATRICK MCCLELLAND   1946 MERLE RD                                                                              SALEM              OH   44460‐4037
MCCOY, PAUL E               2875 LIBERTY RD                                                                            NEW CARLISLE       OH   45344‐8511
MCCOY, PAUL EDWARD          2875 LIBERTY RD                                                                            NEW CARLISLE       OH   45344‐8511
MCCOY, PAUL F               5885 TUPPER LAKE RD APT A                                                                  SUNFIELD           MI   48890‐9729
MCCOY, PAULINE R            18025 VOSS DR                                                                              ORLAND PARK        IL   60467‐8419
MCCOY, PERRY R              39 HOLLY FORK CV                                                                           PARIS              TN   38242‐7845
MCCOY, RANDY L              14691 POWER DAM ROAD                                                                       DEFIANCE           OH   43512‐8816
MCCOY, RAY A                40775 LODGE RD                                                                             LEETONIA           OH   44431‐9658
MCCOY, REGINALD             2668 DAMAN CT                                                                              SAINT LOUIS        MO   63136‐1556
MCCOY, REGINALD C           MOODY EDWARD O                      801 W 4TH ST                                           LITTLE ROCK        AR   72201‐2107
MCCOY, REX E                1504 E ANDOVER AVE                                                                         MUNCIE             IN   47303‐2203
MCCOY, REX E                9450 E COUNTY ROAD 450 S                                                                   SELMA              IN   47383‐9363
MCCOY, RHONDA L             3334 GARVIN RD                                                                             DAYTON             OH   45405‐2110
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Name                  Address1                       Address2                      Address3   Address4         City             State Zip
MCCOY, RICHARD A      5376 S WINN RD                                                                           MT PLEASANT       MI 48858‐9545
MCCOY, RITA R         1803 CADILLAC DR E                                                                       KOKOMO            IN 46902
MCCOY, ROBERT A       1400 E CHARLES RD                                                                        MARION            IN 46952‐9298
MCCOY, ROBERT A       11685 ELIANTO ST                                                                         LAS VEGAS         NV 89183‐5553
MCCOY, ROBERT B       646 E BEAVER RD                                                                          KAWKAWLIN         MI 48631‐9114
MCCOY, ROBERT J       BOONE ALEXANDRA                205 LINDA DR                                              DAINGERFIELD      TX 75638‐2107
MCCOY, ROBERT L       8320 MARTZ PAULIN RD                                                                     FRANKLIN          OH 45005‐4020
MCCOY, ROBERT V       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                     STREET, SUITE 600
MCCOY, ROBERT W       5528 RED OAK RD                                                                          BEAVERTON        MI   48612‐8513
MCCOY, ROBIN E        PO BOX 760446                                                                            LATHRUP VLG      MI   48076‐0446
MCCOY, ROGER          568 ABERDEEN DR                                                                          STONE MTN        GA   30083‐4327
MCCOY, ROGER E        6384 BALFOUR AVE                                                                         ALLEN PARK       MI   48101‐2328
MCCOY, ROGER G        3668 CONNER COURT                                                                        INDIAN SPRINGS   OH   45011
MCCOY, ROGER L        3945 ELIZABETH LAKE RD                                                                   WATERFORD        MI   48328‐3021
MCCOY, ROGER L        2125 CHARLES STREET                                                                      ANDERSON         IN   46013‐2729
MCCOY, RONALD E       541 LISCUM DR                                                                            DAYTON           OH   45427‐2704
MCCOY, RONALD G       1757 GARDEN DR                                                                           JANESVILLE       WI   53546‐5625
MCCOY, RONNIE         SIMMONS FIRM                   PO BOX 521                                                EAST ALTON       IL   62024‐0519
MCCOY, ROSA L         20528 VAUGHAN ST                                                                         DETROIT          MI   48219
MCCOY, RUBY           1935 TAYLOR ST                                                                           DETROIT          MI   48206‐2033
MCCOY, RUTH A         230 WELCOME WAY BLVD W DRIVE   APT B 32                                                  INDIANAPOLIS     IN   46214‐4941
MCCOY, RUTH V         188 MIDLAND PARKWAY            APT #413                                                  SUMMERVILLE      SC   29485
MCCOY, RUTH V         188 MIDLAND PKWY APT 413                                                                 SUMMERVILLE      SC   29485
MCCOY, RUTHNELL       884 REEVES RD                                                                            ANTIOCH          TN   37013‐3333
MCCOY, RYAN J         66 VICTORY DR                                                                            PONTIAC          MI   48342‐2560
MCCOY, RYAN JEROME    66 VICTORY DR                                                                            PONTIAC          MI   48342‐2560
MCCOY, SAMUEL D       221 FALLING LEAF DR                                                                      LAPEER           MI   48446‐3192
MCCOY, SANDRA M       6112 PROSPECT ST.                                                                        NEWFANE          NY   14108‐1311
MCCOY, SARAH D        1751 FAUVER AVENUE                                                                       DAYTON           OH   45420‐2502
MCCOY, SHELLY K       1425 PINE AVE NW                                                                         GRAND RAPIDS     MI   49504‐3026
MCCOY, SHIRLEY A      15700 PROVIDENCE DR APT 712                                                              SOUTHFIELD       MI   48075‐3129
MCCOY, SHIRLEY A      1736 TEASDALE LN                                                                         KOKOMO           IN   46902‐4538
MCCOY, SOLOMON        5244 STATE ROUTE 15                                                                      NEY              OH   43549‐9715
MCCOY, STANLEY E      211 W SEMINARY ST                                                                        CHARLOTTE        MI   48813‐1827
MCCOY, STEVE E        3818 WILMINGTON DAYTON RD                                                                BELLBROOK        OH   45305‐5305
MCCOY, SUSAN M        711 NE MISSION CT                                                                        ANKENY           IA   50021‐4665
MCCOY, SYLVIA L       402 RANKIN DR                                                                            ENGLEWOOD        OH   45322‐1140
MCCOY, SYLVIA L       402 RANKIN DRIVE                                                                         ENGLEWOOD        OH   45322‐1140
MCCOY, TAMARA M       1436 CARLTON AVE NE                                                                      GRAND RAPIDS     MI   49505‐5408
MCCOY, TAMARA MARIE   1436 CARLTON AVE NE                                                                      GRAND RAPIDS     MI   49505‐5408
MCCOY, TERRENCE J     362 PALMER RD                                                                            CHURCHVILLE      NY   14428‐9412
MCCOY, TERRY D        4911 JENNY CT                                                                            SPRINGFIELD      OH   45504‐3371
MCCOY, TERRY S        3135 WINDING WAY                                                                         DAYTON           OH   45419‐1245
MCCOY, THELMA         6211 N. LA CHOLLA BLVD                                                                   TUCSON           AZ   85741
MCCOY, THERESA        11804 KENNEBEC ST                                                                        DETROIT          MI   48205‐5202
MCCOY, THOMAS         1806 B W GLENEAGLES                                                                      OCALA            FL   34472‐8464
MCCOY, THOMAS         1806 W GLENEAGLES RD APT B                                                               OCALA            FL   34472‐8464
MCCOY, THOMAS E       SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST       MS   39083‐3007
MCCOY, THOMAS J       736 JAMESTOWN RD                                                                         AUBURN HILLS     MI   48326‐3417
MCCOY, THOMAS J       1308 N ELLWOOD AVE                                                                       BALTIMORE        MD   21213‐3928
MCCOY, TINA M         25470 WIXOM RD                                                                           NOVI             MI   48374‐2126
                                     09-50026-mg             Doc 7123-27    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit B
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Name                                 Address1                         Address2                         Address3    Address4              City             State Zip
MCCOY, VANCE K                       3328 NE 14TH PL                                                                                     OKLAHOMA CITY     OK 73117‐6212
MCCOY, WALTER L                      6820 E NEVADA ST                                                                                    DETROIT           MI 48234‐2944
MCCOY, WANDA E                       5851 PARK CIR                                                                                       SHAWNEE           KS 66216‐4917
MCCOY, WAYNE D                       4811 PALATINE DR                                                                                    FORT WAYNE        IN 46804
MCCOY, WAYNE F                       21 BISMARK ST                                                                                       DANVILLE           IL 61832‐6404
MCCOY, WAYNE L                       7207 WOODLAND MEADOW DR                                                                             POPLAR BLUFF      MO 63901‐9217
MCCOY, WILBURN J                     PO BOX 1                                                                                            GILLSVILLE        GA 30543‐0001
MCCOY, WILLIAM                       14250 VASSAR AVE                                                                                    DETROIT           MI 48235‐1709
MCCOY, WILLIAM                       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                          BALTIMORE         MD 21202
                                                                      CHARLES CENTER 22ND FLOOR
MCCOY, WILLIAM C                     188 MIDLAND PKWY APT 413                                                                            SUMMERVILLE      SC   29485‐8147
MCCOY, WILLIAM C                     1351 WILGING DR                                                                                     MANSFIELD        OH   44907‐2744
MCCOY, WILLIAM L                     9854 N GLEN DR                                                                                      MOORESVILLE      IN   46158‐6438
MCCOY, WILLIAM L                     SUTTER & ENSLEIN                 1598 KANAWHA BLVD EAST, SUITE                                      CHARLESTON       WV   25311
                                                                      200
MCCOY, WILLIAM P                     174 LOWELL RD UNIT 70                                                                               MASHPEE          MA   02649‐2830
MCCOY, WILLIAM R                     5182 RHINE DR                                                                                       FLINT            MI   48507‐2915
MCCOY, WILLIAM R                     4001 KLEPINGER ROAD                                                                                 DAYTON           OH   45416‐2135
MCCOY, WILLIE B                      1297 FISK RD                                                                                        COOKEVILLE       TN   38501‐2033
MCCOY, WILLIE E                      2705 N WALNUT ST                                                                                    MUNCIE           IN   47303‐1960
MCCOY, WILLIE L                      7302 ABINGTON AVE                                                                                   DETROIT          MI   48228‐4221
MCCOY, WYATT D                       16407 STATE ROUTE 15                                                                                DEFIANCE         OH   43512‐8802
MCCOY, WYATT DOUGLAS                 16407 STATE ROUTE 15                                                                                DEFIANCE         OH   43512‐8802
MCCOY‐JACOBS, GLORIA J               4281 LAWNWOOD LN                                                                                    BURTON           MI   48529‐1930
MCCOY‐STARKS, PAMELA A               7111 NORTHVIEW DR                                                                                   LOCKPORT         NY   14094‐5340
MCCOY‐WALDROP, LYNETTE C             707 MONTICELLO ST                                                                                   NEW ALBANY       MS   38652‐2430
MCCOYS L P GAS COMPANY INC           4509 S WALNUT ST                                                                                    MUNCIE           IN   47302‐8764
MCCRACKEN AUTO SERVICE 1989 LTD.     21 UNION ST.                                                                  BRAMPTON ON L6V 1R3
                                                                                                                   CANADA
MCCRACKEN AUTOMOTIVE WEST            1468 HIGH ST                                                                                        WESTWOOD         MA 02090‐3027
MCCRACKEN CARL R (429413)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510
                                                                      STREET, SUITE 600
MCCRACKEN FINANCIAL SOFTWARE, INC

MCCRACKEN FINANCIAL SOFTWARE, INC.   ATTN: CONTRACTS ADMINISTRATOR    1937 SOUTH 300 WEST              SUITE 115                         SALT LAKE CITY   UT 84115

MCCRACKEN GEORGE E SR (429414)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510
                                                                      STREET, SUITE 600
MCCRACKEN GERALD                     1185 WANDERING LN                                                                                   HICKORY          NC   28601‐8794
MCCRACKEN II, ROBERT D               35211 POTTER ST                                                                                     MEMPHIS          MI   48041‐4692
MCCRACKEN II, ROBERT DENNIS          35211 POTTER ST                                                                                     MEMPHIS          MI   48041‐4692
MCCRACKEN JANICE                     9771 GLADSTONE RD                                                                                   NORTH JACKSON    OH   44451‐9608
MCCRACKEN JR, DONALD T               3470 E JOHN HINKLE PL                                                                               BLOOMINGTON      IN   47408‐2653
MCCRACKEN Q, DONNA C                 311 RED BUD BLVD SO                                                                                 ANDERSON         IN   46013
MCCRACKEN ROBERT W (188529)          BROWN TERRELL HOGAN ELLIS        804 BLACKSTONE BLDG , 233 EAST                                     JACKSONVILLE     FL   32202
                                     MCCLAMMA & YEGELWEL P.A.         BAY STREET
MCCRACKEN TED A                      MCCRACKEN, TED A
MCCRACKEN'S AUTOMOTIVE SERVICE       107 SPRING ST                                                                                       WEST ROXBURY     MA   02132‐4317
MCCRACKEN, ALICE M                   4143 DEBORAH                                                                                        INDIANAPOLIS     IN   46222‐4634
MCCRACKEN, ALICE M                   4143 DEBORAH ST                                                                                     INDIANAPOLIS     IN   46222‐4634
MCCRACKEN, ARTHUR                    1825 NEWTON MILTON RD                                                                               NEWTON FALLS     OH   44444‐9302
MCCRACKEN, BETTY J                   9915 W ROYAL OAK RD              APT 1094                                                           SUN CITY         AZ   85351‐3159
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Name                       Address1                       Address2                        Address3   Address4         City             State Zip
MCCRACKEN, CARL R          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                          STREET, SUITE 600
MCCRACKEN, CLINTON G       3218 JEFFERY DR                                                                            FRANKLIN         OH   45005‐4813
MCCRACKEN, CONCETTA T      110 CASSANDRA DR.                                                                          NILES            OH   44446‐2035
MCCRACKEN, DANIEL C        4923 PHILLIPS RICE RD                                                                      CORTLAND         OH   44410‐9674
MCCRACKEN, DARWIN R        12160 YORK BLVD                                                                            CARLETON         MI   48117‐9135
MCCRACKEN, DARWIN R.       12160 YORK BLVD                                                                            CARLETON         MI   48117‐9135
MCCRACKEN, DAVID K         9525 WOODSTREAM DR                                                                         FORT WAYNE       IN   46804‐7050
MCCRACKEN, DENZIL L        6148 N COUNTY ROAD 75 W                                                                    SHELBURN         IN   47879‐8273
MCCRACKEN, DONALD R        23825 TRAIL RIDGE DR                                                                       ROMULUS          MI   48174‐9331
MCCRACKEN, EDDIE G         2220 SW 93RD ST                                                                            OKLAHOMA CITY    OK   73159‐6845
MCCRACKEN, ELWOOD V        7 SITTING BULL TRAIL                                                                       TOWNSEND         MT   59644‐2021
MCCRACKEN, EUGENE T        1513 BUTLER ST                                                                             WHITE PINE       TN   37890‐3231
MCCRACKEN, EULA M          6448 CANASTOTA DRIVE                                                                       HAMILTON         OH   45011‐5004
MCCRACKEN, EULA M          6449 CANASTOTA DR                                                                          HAMILTON         OH   45011‐5004
MCCRACKEN, GEORGE C        635 LANTANA CT                                                                             TIPP CITY        OH   45371‐1200
MCCRACKEN, GEORGE E        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510‐2212
                                                          STREET, SUITE 600
MCCRACKEN, GORDON P        6571 PALMYRA RD SW                                                                         WARREN           OH   44481‐9765
MCCRACKEN, HOWARD          9150 EMILY DR                                                                              DAVISON          MI   48423‐2889
MCCRACKEN, JAMES E         5109 WAVERLY ST                                                                            FAIRBORN         OH   45324‐1828
MCCRACKEN, JENNIFER J      10379 S SR 3‐90                                                                            MONTPELIER       IN   47359
MCCRACKEN, JENNIFER J      12638 LEEVILLE RD                                                                          COLLINSVILLE     MS   39325‐9721
MCCRACKEN, JOSEPH          6457 ARTESIAN ST                                                                           DETROIT          MI   48228‐4908
MCCRACKEN, LARRY A         W10656 CARDINAL RD                                                                         POYNETTE         WI   53955‐8307
MCCRACKEN, LAURINE M       1005 ANTHONY DR                                                                            COLUMBUS         OH   43204‐4706
MCCRACKEN, LINDA D         15157 SCOTTSDALE XING                                                                      CHOCTAW          OK   73020‐5802
MCCRACKEN, LOWELL R        12638 LEEVILLE RD                                                                          COLLINSVILLE     MS   39325‐9721
MCCRACKEN, MARCIA A        4923 PHILLIPS RICE RD                                                                      CORTLAND         OH   44410‐9674
MCCRACKEN, MARYANN         8071 PINE FOREST CT                                                                        DAVISBURG        MI   48350‐2041
MCCRACKEN, MICHAEL T       5509 W 97TH TER                                                                            OVERLAND PARK    KS   66207‐2928
MCCRACKEN, MONIQUE L       51 DOUGLAS RD                                                                              MASSENA          NY   13662‐2135
MCCRACKEN, R J & SON INC   4607 44TH STREET SOUTHEAST                                                                 GRAND RAPIDS     MI   49512‐4014
MCCRACKEN, RICHARD M       PO BOX 7368                                                                                FLINT            MI   48507‐0368
MCCRACKEN, ROBERT          BROWN TERRELL HOGAN ELLIS      804 BLACKSTONE BLDG, 233 EAST                               JACKSONVILLE     FL   32202
                           MCCLAMMA & YEGELWEL P.A.       BAY STREET
MCCRACKEN, ROBERT          1254 E SOUTH ST                                                                            ANAHEIM          CA   92805‐4816
MCCRACKEN, ROBERT J        5021 WALKER AVE NW                                                                         COMSTOCK PARK    MI   49321‐9738
MCCRACKEN, ROBERT R        3301 NEAMAR DR                                                                             GRANTS PASS      OR   97527‐8715
MCCRACKEN, ROSE M          606 N OHIO AVE                                                                             GAYLORD          MI   49735‐1914
MCCRACKEN, ROSE M          606 N.OHIO ST                                                                              GAYLORD          MI   49735‐1914
MCCRACKEN, STEVEN C        7715 MARTINDALE RD                                                                         TIPP CITY        OH   45371‐8943
MCCRACKEN, STEVEN J        2001 JASMINE RD                                                                            DUNDALK          MD   21222‐5637
MCCRACKEN, STEVEN JEREMY   2001 JASMINE RD                                                                            DUNDALK          MD   21222‐5637
MCCRACKEN, TED
MCCRACKEN, TIM
MCCRACKEN, WAYNE
MCCRACKIN, THOMAS J        PO BOX 129                                                                                 CARSON CITY      MI   48811‐0129
MCCRACKIN, WILLIAM A       5459 OLD CORNELIA HWY                                                                      LULA             GA   30554‐2781
MCCRADIC, FAYE M           2329 ENGLAND CEMETERY RD                                                                   MAMMOTH SPRING   AR   72554‐9368
MCCRADY, JOYCE M           2769 LAKEHURST AVE                                                                         SHREVEPORT       LA   71108‐3811
MCCRAE ALFRED FIDEL        MCCRAE, ALFRED FIDEL           PO BOX 1649                                                 DOTHAN           AL   36302‐1649
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Name                              Address1                         Address2                        Address3   Address4         City                State Zip
MCCRAE ALFRED FIDEL               MCCRAE, LYNN                     PO BOX 1649                                                 DOTHAN               AL 36302‐1649
MCCRAE, ALFRED FIDEL              MORRIS CARY ANDREWS TALMADGE &   PO BOX 1649                                                 DOTHAN               AL 36302‐1649
                                  DRIGGERS LLC
MCCRAE, BARBARA A                 980 BRUCEWOOD DR SE                                                                          WARREN              OH 44484‐2606
MCCRAE, CHRISTINE                 3106 LAKE RIDGE LN                                                                           DUNWOODY            GA 30338‐5780
MCCRAE, LYNN                      MORRIS CARY ANDREWS TALMADGE &   PO BOX 1649                                                 DOTHAN              AL 36302‐1649
                                  DRIGGERS LLC
MCCRAE, MARY E                    46547 DUNNELLON DR E                                                                         MACOMB              MI   48044‐3697
MCCRAE, MARY ELIZABETH            46547 DUNNELLON DR E                                                                         MACOMB              MI   48044‐3697
MCCRAINEY, CELESTINE              17535 MCDOUGALL ST                                                                           DETROIT             MI   48212‐1084
MCCRAINEY, CELESTINE              17535 MCDOUGAL                                                                               DETROIT             MI   48212‐1084
MCCRAINEY, JACINTA A              APT 202                          37212 SOUTH WOODBRIDGE CIRCLE                               WESTLAND            MI   48185‐4571

MCCRANDALL, JANICE A              10058 SHADYHILL LN                                                                           GRAND BLANC         MI   48439‐8319
MCCRANDALL, JEFFREY CARLTON       9805 FULMER RD                                                                               MILLINGTON          MI   48746‐9704
MCCRANDALL, MARK W                2448 S IRISH RD                                                                              DAVISON             MI   48423‐8362
MCCRANDALL, MICHAEL R             1465 LEAFGREEN DR                                                                            TROY                MI   48083‐4492
MCCRANDELL, DANIEL D              4307 BEECHWOOD AVENUE                                                                        BURTON              MI   48509‐1101
MCCRANER, MARY A                  9900 ULMERTON RD LOT 65                                                                      LARGO               FL   33771‐4333
MCCRANEY, CLAUDINE                5217 ROUNDSTONE WAY APT 105                                                                  CHARLOTTE           NC   28216‐2430
MCCRANEY, DWIGHT T                2543 BEWICK ST                                                                               DETROIT             MI   48214‐3151
MCCRANEY, ERNEST L                708 S MINTER RD                                                                              GRAIN VALLEY        MO   64029‐8113
MCCRANEY, JOHN W                  5095 CAMBORNE CT                                                                             FLINT               MI   48504‐1137
MCCRANIE, DEBORAH                 PO BOX 696                                                                                   HIAWASSEE           GA   30546‐0696
MCCRANIE, WILLIAM E               135 IRWINVILLE HWY                                                                           FITZGERALD          GA   31750‐2372
MCCRANIE‐GRINER CHEVROLET, INC.   747 S DAVIS ST                                                                               NASHVILLE           GA   31639‐2618
MCCRANIE‐GRINER CHEVROLET, INC.   RONALD MCCRANIE                  747 S DAVIS ST                                              NASHVILLE           GA   31639‐2618
MCCRAREY, FRED V                  352 MEADOWCREST DR                                                                           SOMERSET            KY   42503‐6245
MCCRAREY, JUANITA                 352 MEADOWCREST DR                                                                           SOMERSET            KY   42503‐6245
MCCRARY CAROLINE                  34430 US HIGHWAY 72                                                                          HOLLYWOOD           AL   35752‐6309
MCCRARY JAMES EDWARD              C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                         LITTLE ROCK         AR   72201
MCCRARY JR, JAMES J               PO BOX 211                                                                                   TANNER              AL   35671‐0211
MCCRARY, ANTONIO M                4051 RUCKLE ST                                                                               INDIANAPOLIS        IN   46205‐2718
MCCRARY, BRUCE                    16585 NUCLEAR PLANT RD                                                                       ATHENS              AL   35611‐5920
MCCRARY, CAROLYN L                919 ELLSWORTH                                                                                EXCELSIOR SPRINGS   MO   64024‐2534
MCCRARY, DORIS                    3297 E 137TH ST                                                                              CLEVELAND           OH   44120‐3950
MCCRARY, DORIS                    3297 EAST 137TH STREET                                                                       CLEVELAND           OH   44120‐3950
MCCRARY, EARL G                   919 ELLSWORTH ST                                                                             EXCELSIOR SPRINGS   MO   64024‐2534
MCCRARY, ELLIS G                  215 TUHDEGWA LN                                                                              LOUDON              TN   37774‐2616
MCCRARY, GERALDINE M              3136 RASKOB ST                                                                               FLINT               MI   48504‐3229
MCCRARY, GRADY D                  6909 N LAGOON DR UNIT A2                                                                     PANAMA CITY         FL   32408‐5969
MCCRARY, ILA                      3410 BINSCARTH                                                                               SAGINAW             MI   48602‐3205
MCCRARY, JACKIE R                 707 SW GRAFF WAY                                                                             LEES SUMMIT         MO   64081‐2727
MCCRARY, JACQUELINE               9337 HEYDEN ST                                                                               DETROIT             MI   48228‐1537
MCCRARY, JAMES EDWARD             MOODY EDWARD O                   801 W 4TH ST                                                LITTLE ROCK         AR   72201‐2107
MCCRARY, JOHN K                   197 SHILOH AVE APT 302                                                                       PITTSBURGH          PA   15202‐3882
MCCRARY, JOHN T                   PO BOX 366                                                                                   GRIFFIN             GA   30224‐0010
MCCRARY, JOHNNIE                  5691 HIGH RIDGE DR                                                                           YPSILANTI           MI   48197‐6759
MCCRARY, LEROY J                  PO BOX 85                                                                                    RICHWOODS           MO   63071‐0085
MCCRARY, LILLIAN M                4992 99TH WAY NORTH                                                                          ST PETERSBURG       FL   33708‐3656
MCCRARY, MARY                     20024 STANSBURY ST                                                                           DETROIT             MI   48235‐1563
MCCRARY, MONICA                   25009 COUNTY ROAD 137                                                                        O BRIEN             FL   32071‐4325
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Name                                Address1                            Address2                        Address3   Address4         City               State Zip
MCCRARY, PAUL T                     219 E HURON RIVER DR                                                                            BELLEVILLE          MI 48111‐2759
MCCRARY, PRESTON                    3746 MEADOW RUE LN                                                                              NORCROSS            GA 30092‐2228
MCCRARY, SHERMAN A                  1316 COTTONWOOD DR                                                                              ANDERSON            IN 46012‐2802
MCCRARY, THOMAS B                   1575 TANGLEWOOD WAY NW                                                                          CONYERS             GA 30012‐4097
MCCRARY, VERNICE F                  1446 CHADWICK DR                                                                                DAYTON              OH 45406‐4724
MCCRARY, WILLIAM S                  1341 EASTSIDE DR                                                                                MESQUITE            TX 75149‐6214
MCCRAVY, DANNY H                    1614 BARKLEY BRIDGE RD SW APT 301                                                               HARTSELLE           AL 35640
MCCRAW LAURENS K (643075)           DONALDSON & BLACK                   208 W WENDOVER AVE                                          GREENSBORO          NC 27401‐1307
MCCRAW, ALLEN C                     7673 BROOKVILLE PHILLIPSBG RD                                                                   BROOKVILLE          OH 45309‐9648
MCCRAW, BOBBY W                     PO BOX 187                                                                                      TOAST               NC 27049‐0187
MCCRAW, CLARA C                     7673 BROOKVILLE PHILLIPSBG RD                                                                   BROOKVILLE          OH 45309‐9648
MCCRAW, DENNIS W                    3348 LOCKHEAD ST                                                                                BURTON              MI 48529‐1058
MCCRAW, DENNIS WILLIAM              3348 LOCKHEAD ST                                                                                BURTON              MI 48529‐1058
MCCRAW, GARY R                      25437 AUDREY AVE                                                                                WARREN              MI 48091‐1544
MCCRAW, GARY RAY                    25437 AUDREY AVE                                                                                WARREN              MI 48091‐1544
MCCRAW, JAMES                       PORTER & MALOUF PA                  4670 MCWILLIE DR                                            JACKSON             MS 39206‐5621
MCCRAW, JOYCE D                     3400 HOLLOW CREEK                                                                               ARLINGTON           TX 76001‐5348
MCCRAW, JULIA J                     143 SINGLETON LN                                                                                WETUMPKA            AL 36092‐3903
MCCRAW, JULIA J                     143 SINGLETON RD                                                                                WETUMPKA            AL 36092‐3903
MCCRAW, LAURENS K                   DONALDSON & BLACK                   208 W WENDOVER AVE                                          GREENSBORO          NC 27401‐1307
MCCRAW, PHILIP W                    25 PINTO PT                                                                                     LITTLE ROCK         AR 72211‐4100
MCCRAW, RAIFORD R                   16538 ROBERTS ST                                                                                ROSEVILLE           MI 48066‐3715
MCCRAW, RICHARD L                   2516 UPPER DR                                                                                   PEARL               MS 39208‐6033
MCCRAW, SARAH D                     7804 EAST 93RD TERRACE                                                                          KANSAS CITY         MO 64138‐4251
MCCRAW, WADE L                      185 MICKEY LN                                                                                   MOUNT AIRY          NC 27030‐9221
MCCRAY CHARLES (446193)             KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                               CLEVELAND           OH 44114
                                                                        BOND COURT BUILDING
MCCRAY III, WILLIAM                 PO BOX 2037                                                                                     ANTIOCH            TN 37011‐2037
MCCRAY LARRY                        9732 WEBB ST                                                                                    RIVERSIDE          CA 92509‐3562
MCCRAY THOMAS                       7531 MACEDONIA RD                                                                               OAKWOOD VILLAGE    OH 44146‐6234
MCCRAY TYRONE ‐ CADILLAC ESCALADE   NO ADVERSE PARTY
2007
MCCRAY, ALICE A                     770 LAKEWAY RD                                                                                  KISSEE MILLS       MO   65680‐8371
MCCRAY, ALICE A                     770 LAKEWAY ST                                                                                  KISSEE MILLS       MO   65680‐8371
MCCRAY, BARBARA D                   4720 REED ST                                                                                    FORT WAYNE         IN   46806‐4834
MCCRAY, BEATRICE                    1253 E VALE AVE                                                                                 FLINT              MI   48505‐1752
MCCRAY, BERNARD                     2810 HAMPSHIRE ST                                                                               SAGINAW            MI   48601‐4563
MCCRAY, BOBBIE A                    6211 N LONDON AVE APT E                                                                         KANSAS CITY        MO   64151‐4786
MCCRAY, BOBBIE ANN                  6211 N LONDON AVE APT E                                                                         KANSAS CITY        MO   64151‐4786
MCCRAY, BRIAN                       2050 ROCK SPRINGS RD                                                                            COLUMBIA           TN   38401‐7421
MCCRAY, BRUCE C                     8947 WEST SMITH STREET                                                                          YORKTOWN           IN   47396‐1319
MCCRAY, CHAMARA
MCCRAY, CHARLES                     KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                CLEVELAND          OH 44114
                                                                        BOND COURT BUILDING
MCCRAY, CHARLES M                   2825 MOHAWK AVE                                                                                 BALTIMORE          MD   21207‐7473
MCCRAY, CLYDE                       128 ELM ST                                                                                      PONTIAC            MI   48341‐3005
MCCRAY, DEBORAH L                   5018 HATHAWAY RD                                                                                LEBANON            OH   45036‐9724
MCCRAY, DIANE                       59 W S SAGINAW RD                                                                               BAY CITY           MI   48706
MCCRAY, DIANE                       PO BOX 1642                                                                                     BAY CITY           MI   48706
MCCRAY, DONNELL                     3631 NW 35TH WAY                                                                                LAUDERDALE LAKES   FL   33309‐5419
MCCRAY, DORIS MAE                   PO BOX 1729                                                                                     MYRTLE BEACH       SC   29578
MCCRAY, DOSHIE                      4355 STONEWALL TELL RD                                                                          COLLEGE PARK       GA   30349‐1713
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Name                       Address1                          Address2                      Address3   Address4         City               State Zip
MCCRAY, EARNEST            2731 HUNTINGTON PARK DR                                                                     WATERFORD           MI 48329‐4524
MCCRAY, ETTA M             620 S RIVERVIEW AVE                                                                         MIAMISBURG          OH 45342‐3030
MCCRAY, GEORGE             2703 WADSWORTH AVE                                                                          SAGINAW             MI 48601‐1374
MCCRAY, GERALDINE A        1512 HOME RD                                                                                DELAWARE            OH 43015‐8924
MCCRAY, HELEN M            1223 NORTON STREET                                                                          BURTON              MI 48529‐1154
MCCRAY, JERRY              2530 SARA JANE PKWY APT 412                                                                 GRAND PRAIRIE       TX 75052‐8617
MCCRAY, JOHNNIE            5645 DE CORY RD                                                                             FORT WORTH          TX 76134‐2211
MCCRAY, JOSEPH E           4039 OTTO ST                                                                                FLINT               MI 48507‐3665
MCCRAY, JOSEPH EDWARD      4039 OTTO ST                                                                                FLINT               MI 48507‐3665
MCCRAY, JOSIE              4195 ATWOOD RD                                                                              BRIDGEPORT          MI 48722‐9551
MCCRAY, KATHLEEN           4757 LEE AVE                                                                                ST. LOUIS           MO 62115‐3109
MCCRAY, KEVIN A            3315 WARWICK DR                                                                             SHREVEPORT          LA 71118‐4323
MCCRAY, KEVIN ANTONIO      3315 WARWICK DR                                                                             SHREVEPORT          LA 71118‐4323
MCCRAY, L J                1953 LAUREL LN                                                                              DECATUR             GA 30032‐7048
MCCRAY, LARRY              6357 N STATE RD                                                                             DAVISON             MI 48423
MCCRAY, LELIA M            1993 GREENWAY AVE N                                                                         COLUMBUS            OH 43219‐2953
MCCRAY, LEWELLAR           21252 HARVARD RD                                                                            SOUTHFIELD          MI 48076‐5650
MCCRAY, MARVIN (           PO BOX 26441                                                                                DAYTON              OH 45426‐0441
MCCRAY, MAXINE             658 LINDA VISTA                                                                             PONTIAC             MI 48342‐1650
MCCRAY, NATHANIEL H        3938 N ARLINGTON AVE                                                                        INDIANAPOLIS        IN 46226‐4817
MCCRAY, RICHARD J          712 W COUNTY ROAD 600 S                                                                     MUNCIE              IN 47302‐9458
MCCRAY, RICHARD L          603 RIDGEVIEW DR                                                                            JOHNSON CITY        TN 37604‐1623
MCCRAY, RICKEY A           APT 78                            6520 ROSWELL ROAD NORTHEAST                               ATLANTA             GA 30328‐3175

MCCRAY, RICKEY A           6520 ROSWELL RD                                                                             SANDY SPRINGS      GA 30328
MCCRAY, RICKEY ALLEN       APT 78                            6520 ROSWELL ROAD NORTHEAST                               ATLANTA            GA 30328‐3175

MCCRAY, RUBY J             15833 MONTE VISTA ST                                                                        DETROIT            MI   48238‐1011
MCCRAY, SHIRLEY A          4138 RYAN CT                                                                                KOKOMO             IN   46902‐4491
MCCRAY, SPRING P           506 STUYVESANT AVE                                                                          TRENTON            NJ   08618‐4124
MCCRAY, TERRY L            3620 W STATE ROAD 18                                                                        KOKOMO             IN   46901‐7672
MCCRAY, TERRY W            4324 OLD SALEM RD                                                                           ENGLEWOOD          OH   45322‐2636
MCCRAY, TOBIAS A           6211 N LONDON AVE APT E                                                                     KANSAS CITY        MO   64151‐4706
MCCRAY, TOM J              3512 HICKORY ST                                                                             INKSTER            MI   48141‐2912
MCCRAY, WILLIAM A          211 MAJESTIC LAKES BLVD                                                                     MOSCOW MILLS       MO   63362‐1877
MCCRAY, WILLIAM ALLEN      211 MAJESTIC LAKES BLVD                                                                     MOSCOW MILLS       MO   63362‐1877
MCCRAY, WILLIE L           4444 BLUEBERRY AVE                                                                          DAYTON             OH   45406‐3318
MCCREA & MCCREA            PO BOX 1310                                                                                 BLOOMINGTON        IN   47402‐1310
MCCREA EQUIPMENT COMPANY                                     151 COMMERCE AVE                                                             PA   17225
MCCREA THOMAS A            7552 BUCHANAN DR                                                                            YOUNGSTOWN         OH   44512‐5701
MCCREA, ANDREA J           4455 KINNER LN                                                                              PHELPS             WI   54554‐9249
MCCREA, BETHANY J          1132 FOREST GLEN RD                                                                         WESTERVILLE        OH   43081‐3225
MCCREA, JANE E             1909 EAGLE POINTE                                                                           BLOOMFIELD HILLS   MI   48304‐3805
MCCREA, JANE E.            1909 EAGLE POINTE                                                                           BLOOMFIELD HILLS   MI   48304‐3805
MCCREA, LAURIE             P.O. BOX 21265                                                                              TALLAHESSEE        FL   32316‐1265
MCCREA, LAURIE             PO BOX 21265                                                                                TALLAHASSEE        FL   32316‐1265
MCCREA, MADELINE R         627 PACIFIC PARKWAY                                                                         LANSING            MI   48910‐3333
MCCREA, MADELINE R         627 PACIFIC PKWY                                                                            LANSING            MI   48910‐3333
MCCREA, ROBERT B           200 EAGLES NEST RD                                                                          MARQUETTE          MI   49855‐9734
MCCREA, THOMAS A           7552 BUCHANAN DR                                                                            YOUNGSTOWN         OH   44512‐5701
MCCREADY AARON             409 NE CHURCH ST                  PO 404                                                    WHITE SALMON       WA   98672
MCCREADY I I, MARVIN G     12182 DOHONEY RD                                                                            DEFIANCE           OH   43512‐8842
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Name                                Address1                        Address2                Address3       Address4         City             State Zip
MCCREADY II, MARVIN G               12182 DOHONEY RD                                                                        DEFIANCE          OH 43512‐8842
MCCREADY JAMES                      181 POPLAR DR                                                                           BOZEMAN           MT 59718
MCCREADY'S TIRE & AUTO              2726 HUDSON DR                                                                          CUYAHOGA FALLS    OH 44221‐1905
MCCREADY, ARNOLD                    6320 BEAGLE CLUB RD                                                                     BASTROP           LA 71220‐7500
MCCREADY, JAMES A                   2651 DUNSTAN DR NW                                                                      WARREN            OH 44485
MCCREADY, JOAN M.                   4094 N IRISH RD                                                                         DAVISON           MI 48423‐8945
MCCREADY, JOHN                      SHANNON LAW FIRM                100 W GALLATIN ST                                       HAZLEHURST        MS 39083‐3007
MCCREADY, JOHN P                    3949 SKYVIEW DR                                                                         BRUNSWICK         OH 44212‐1233
MCCREADY, JULIE M.                  6253 EGRET DR                                                                           LAKELAND          FL 33809‐5650
MCCREADY, JULIE M.                  6253 EGRET DRIVE                                                                        LAKELAND          FL 33809‐5650
MCCREADY, MARVIN G                  5947 BLOSSMAN RD                                                                        TOLEDO            OH 43617‐1001
MCCREADY, MARVIN GENE               5947 BLOSSMAN RD                                                                        TOLEDO            OH 43617‐1001
MCCREADY, MICHAEL L                 832 S ELM ST                                                                            DAYTON            OH 45449‐2208
MCCREADY, MICHAEL P                 12485 FOLEY RD                                                                          FENTON            MI 48430‐9502
MCCREADY, ORVEL L                   LEBLANC & WADDELL               5353 ESSEN LN STE 420                                   BATON ROUGE       LA 70809‐0500
MCCREADY, RYAN R                    PO BOX 464                                                                              CLIO              MI 48420‐0464
MCCREADY, TERRANCE J                2125 MORRISON AVE                                                                       LAKEWOOD          OH 44107‐5721
MCCREANOR, DONNA L                  354 PERKINSWOOD BLVD NE                                                                 WARREN            OH 44483‐4404
MCCREAR, BETTIE J                   1126 ZELLMARK LN                                                                        BIRMINGHAM        AL 35235‐2639
MCCREAR, DORATHA A                  16803 HARLOW ST                                                                         DETROIT           MI 48235‐3343
MCCREAR, JOHNNIE                    1126 ZELLMARK LN                                                                        BIRMINGHAM        AL 35235‐2639
MCCREARY II, LEROY S                8110 MARY'S FISH CAMP RD.                                                               SPRING HILL       FL 34607
MCCREARY JULIA                      CARPER, BREANNA                 1126 WILSHIRE BLVD                                      LOS ANGELES       CA 90017‐1904
MCCREARY JULIA                      MCCREARY, BEVERLY               25 E UNION ST                                           PASADENA          CA 91103‐3923
MCCREARY JULIA                      MCCREARY, JULIA                 25 E UNION ST                                           PASADENA          CA 91103‐3923
MCCREARY RONALD                     MCCREARY, RONALD                71650 SAHARA RD STE 2                                   RANCHO MIRAGE     CA 92270‐4336
MCCREARY VESELKA BRAGG & ALLEN PC   ATTY FOR LOCAL TEXAS TAXING     ATTN MICHAEL REED ESQ   PO BOX 1269                     ROUND ROCK        TX 78680
                                    AUTHORITIES
MCCREARY, BETTY                     1330 SHERROD LN                                                                         TUSCUMBIA        AL   35674‐6806
MCCREARY, BEVERLY                   DEWITT ALGORRI & ALGORRI        25 E UNION ST                                           PASADENA         CA   91103‐3923
MCCREARY, BOBBY                     1654 OLD SENECA RD                                                                      CENTRAL          SC   29630‐9598
MCCREARY, CARROLL G                 5379 W WARREN AVE                                                                       SILVER LAKE      IN   46982‐8932
MCCREARY, CECIL J                   1330 SHERROD LN                                                                         TUSCUMBIA        AL   35674‐6806
MCCREARY, CHARLES D                 121 LILBURNE DR.                                                                        YOUNGSTOWN       OH   44505‐4827
MCCREARY, CHARLES H                 1407 GLORIA LN                                                                          BOULDER CITY     NV   89005‐2204
MCCREARY, CLIFFORD L                7571 ORCHARD HILL AVE                                                                   KALAMAZOO        MI   49009‐3870
MCCREARY, DEBORAH                   4203 COLUMBIA PIKE                                                                      FRANKLIN         TN   37064‐9641
MCCREARY, DORCAS                    20131 STRATFORD RD                                                                      DETROIT          MI   48221‐1317
MCCREARY, DOUGLAS B                 7250 E 600 S                                                                            UPLAND           IN   46989‐9331
MCCREARY, GENEVIEVE E               585 N STATE ROUTE 741                                                                   LEBANON          OH   45036‐8840
MCCREARY, GENEVIEVE E               505 N STATE ROUTE 741                                                                   LEBANON          OH   45036‐8840
MCCREARY, GLENN A                   250 COURTYARD DR APT 315                                                                DAKOTA DUNES     SD   57049‐5185
MCCREARY, HAROLD D                  10549 WASHINGTON RD                                                                     PORT CHARLOTTE   FL   33981‐5166
MCCREARY, HERMAN C                  HC73 BOX 1745                                                                           BRYANTS STORE    KY   40921
MCCREARY, JACK R                    6937 SHADOWRIDGE CT                                                                     FLORENCE         KY   41042
MCCREARY, JAMESENA                  1783 QUIGLEY RD                                                                         COLUMBUS         OH   43227‐3435
MCCREARY, JOHN D                    3417 PEACE RIVER DR                                                                     PUNTA GORDA      FL   33983‐3567
MCCREARY, JUDITH E                  6150 BLUFF LAKE RD                                                                      LAKE             MI   48632‐9710
MCCREARY, JUDITH E                  6150 W. BLUFF LAKE RD.                                                                  LAKE             MI   48632‐9710
MCCREARY, JUDY A                    1826 MAPLES RD                                                                          FORT WAYNE       IN   46816‐2417
MCCREARY, JULIA
MCCREARY, JULIA                     DEWITT ALGORRI & ALGORRI        25 E UNION ST                                           PASADENA         CA 91103‐3923
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Name                                   Address1                        Address2                          Address3   Address4         City            State Zip
MCCREARY, LISA S                       224 EDGEWOOD DR                                                                               ANDERSON         IN 46011‐2210
MCCREARY, ROBERT L                     4203 COLUMBIA PIKE                                                                            FRANKLIN         TN 37064‐9641
MCCREARY, RUTH                         26 JONATHANS JOY CIR                                                                          ANDERSON         SC 29626‐4124
MCCREARY, SONYA M                      3579 NW 21ST CIR                                                                              JENNINGS         FL 32053
MCCREARY, STEPHEN J                    5307 S 150 E                    P O BOX 147                                                   JONESBORO        IN 46938‐1548
MCCREARY, VERENELDA C                  3048 SOLAR DR NW                                                                              WARREN           OH 44485‐1610
MCCREARY, VERENELDA C                  3048 SOLAR LANE                                                                               WARREN           OH 44485‐4485
MCCREARY, VESELKA, BRAGG & ALLEN, P.C. MICHAEL REED                    PO BOX 1269                                                   ROUND ROCK       TX 78680‐1269

MCCREARY, WILLIAM A                     3898 HIGHTREE CIR SE                                                                         WARREN          OH   44484‐3738
MCCREAVY, BRIAN C                       9936 COLEY DR                                                                                HUNTERSVILLE    NC   28078‐0622
MCCREAVY, ROSLYN E                      9936 COLEY DRIVE                                                                             HUNTERSVILLE    NC   28078‐0622
MCCREDY MOTORS, INC.                    152 STATE HIGHWAY 12B                                                                        SHERBURNE       NY   13460‐5700
MCCREDY MOTORS, INC.                    SPENCER MCCREDY                152 STATE HIGHWAY 12B                                         SHERBURNE       NY   13460‐5700
MCCREE JR, HENRY                        1900 87TH AVE                                                                                OAKLAND         CA   94621‐1518
MCCREE JR, JOHNNIE L                    2289 BELMONT DR                                                                              DECATUR         GA   30032‐5617
MCCREE, DORIS D                         16997 CORAL GABLES ST                                                                        SOUTHFIELD      MI   48076‐4764
MCCREE, EDDIE M                         204 ARKSEN AVE                                                                               CAMDEN          AR   71701‐3716
MCCREE, HOMER F                         17334 WISCONSIN ST                                                                           DETROIT         MI   48221‐2502
MCCREE, KATHY J                         1004 DUPONT ST                                                                               FLINT           MI   48504‐4860
MCCREE, VINCENT J                       3716 BRENTWOOD DR                                                                            FLINT           MI   48503‐2344
MCCREE, VINCENT JAY                     3716 BRENTWOOD DR                                                                            FLINT           MI   48503‐2344
MCCREEDY, ANTOINETTE S                  7663 ELMWOOD RD                                                                              CASS CITY       MI   48726‐9374
MCCREEDY, JANICE G                      174 W CLYDESDALE ST                                                                          MOUNT MORRIS    MI   48458‐8913
MCCREEDY, MICHAEL J                     874 OUTER DR                                                                                 FENTON          MI   48430‐2253
MCCREEDY, WILLIAM                       7663 ELMWOOD RD                                                                              CASS CITY       MI   48726‐9374
MCCREEDY, WILLIAM H                     7663 ELMWOOD RD                                                                              CASS CITY       MI   48726‐9374
MCCREERY                                1051 HASKELL ST STE 107                                                                      FORT WORTH      TX   76107‐2649
MCCREERY, ALBERT                        502 WOOD ST                                                                                  GREENFIELD      IN   46140‐1667
MCCREERY, CLAYTON C                     19319 RANGE LINE RD                                                                          BOWLING GREEN   OH   43402‐9751
MCCREERY, CLIFFORD I                    1015 FREMONT ST                                                                              BAY CITY        MI   48708‐7910
MCCREERY, DONALD W                      10319 WOODLAWN DR                                                                            PORTAGE         MI   49002‐7225
MCCREERY, EDWARD C                      17881 ROAD 278                                                                               CECIL           OH   45821‐9663
MCCREERY, FARRELL G                     2880 W COUNTY ROAD 600 S                                                                     MUNCIE          IN   47302‐9140
MCCREERY, JONATHON L                    3289 ROAD 192                                                                                ANTWERP         OH   45813‐9314
MCCREERY, JONATHON LLOYD                3289 ROAD 192                                                                                ANTWERP         OH   45813‐9314
MCCREERY, MICHAEL E                     10220 W MCCREERY RD                                                                          GASTON          IN   47342‐9207
MCCREERY, MICHAEL F                     3900 INGLES LN                                                                               ORTONVILLE      MI   48462‐8929
MCCREERY, SEAN W                        10319 WOODLAWN DR                                                                            PORTAGE         MI   49002‐7225
MCCREERY, SHIRLEY K                     RT 2 BOX 106 SHAFFER RD                                                                      ANTWERP         OH   45813
MCCREERY, SHIRLEY K.                    106 SHAFFER RD                                                                               ANTWERP         OH   45813‐9446
MCCREERY, TERRY W                       404 N BROADWAY ST                                                                            GREENFIELD      IN   46140‐1737
MCCREG, LILLIAN T                       5723 RIDGE ROAD                                                                              LOCKPORT        NY   14094
MCCREG, LILLIAN T                       5723 RIDGE RD                                                                                LOCKPORT        NY   14094‐9408
MCCREIGHT, GENEVA L                     12908 SE 74TH ST                                                                             OKLAHOMA CITY   OK   73150‐7410
MCCREIGHT, RONALD P                     326 CRANDON DR                                                                               GREENVILLE      SC   29615‐2862
MCCRELESS DENNIS (ESTATE OF) (637679)   COONEY & CONWAY                120 NORTH LASALLE STREET , 30TH                               CHICAGO         IL   60602
                                                                       FLOOR
MCCRELESS, DAVID G                      259 FOX DEN LN                                                                               CROSSVILLE      TN 38571‐2546
MCCRELESS, DEEDRA                       609 DEWEY AVE                                                                                ATTALLA         AL 35954
MCCRELESS, DENNIS                       COONEY & CONWAY                120 NORTH LASALLE STREET, 30TH                                CHICAGO         IL 60602
                                                                       FLOOR
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Name                                 Address1                         Address2                      Address3   Address4         City            State Zip
MCCRERY ROBERT V (452783)            WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                           NEW YORK         NY 10038
MCCRERY, ROBERT V                    WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                           NEW YORK         NY 10038
MCCRICKARD, BILLY D                  1602 SEALS RD                                                                              DALLAS           GA 30157‐6755
MCCRICKART, RONALD                   677 SUBSTATION RD                                                                          CEDARTOWN        GA 30125‐4783
MCCRICKERD JOYCE                     3911 W MINOR ST                                                                            EMMAUS           PA 18049‐3330
MCCRIGHT, PENNY D                    3136 OLD GALLANT RD                                                                        GALLANT          AL 35972‐2513
MCCRILLIS, MAXINE J                  1254 E LAKE RD                                                                             CLIO             MI 48420‐8814
MCCRIMMON, CHRYSTAL A                507 BRISTOL CHAMPION T/L RD                                                                BRISTOLVILLE     OH 44402
MCCRIMMON, DONALD K                  10820 BIVENS RD                                                                            NASHVILLE        MI 49073‐9504
MCCRIMMON, FRED G                    PO BOX 373                                                                                 VIENNA           OH 44473‐0373
MCCRIMMON, KENNETH K                 11886 W VERMONTVILLE HWY                                                                   VERMONTVILLE     MI 49096‐9707
MCCRIMMON, MILDRED M.                6370 NEWS RD                                                                               CHARLOTTE        MI 48813‐8350
MCCRIMMON, PEGGIE A                  71 GARFIELD AVE                                                                            COLONIA          NJ 07067‐2220
MCCRIMMON, SHIRLEY A                 RT. 2, BOX 213‐M                                                                           FITZGERALD       GA 31750
MCCRIMMON, THOMAS W                  1233 STERLING DR                                                                           CORTLAND         OH 44410‐9221
MCCROBA, DAVID B                     PO BOX 165                                                                                 BERLIN CENTER    OH 44401‐0165
MCCROBIE, LARRY E                    192 COUNTRY GREEN DR                                                                       YOUNGSTOWN       OH 44515‐2215
MCCROCKLIN, DAVID L                  1272 STRATHMORE CT                                                                         HEBRON           KY 41048‐9373
MCCROCKLIN, DENISE K                 1928 WOODBINE DR                                                                           ANDERSON         IN 46011‐2624
MCCROCKLIN, KIRBY                    4273 W 600 S                                                                               PENDLETON        IN 46064‐9545
MCCROCKLIN, KIRBY A                  4273 W 600 S                                                                               PENDLETON        IN 46064‐9545
MCCROCKLIN, MARY M                   1928 WOODBINE DR                                                                           ANDERSON         IN 46011‐2624
MCCROCKLIN, MYRTLE C                 625 E WATER ST APT 20                                                                      PENDLETON        IN 46064‐9378
MCCROCKLIN, MYRTLE C                 625 E. WATERS ST. APT 20                                                                   PENDLETON        IN 46064‐9378
MCCROCKLIN, RICHARD E                2520 MATTERHORN DR                                                                         WEXFORD          PA 15090
MCCROCKLIN, SHERRY ORMES             100 HAWTHORN DR                                                                            PENDLETON        IN 46064‐8939
MCCRONE, STEVEN K                    418 PALOMINO DR                                                                            DANVILLE          IL 61834‐7853
MCCRONE/WESTMONT                     850 PASQUINELLI DR                                                                         WESTMONT          IL 60559‐5539
MCCROREY, DONALD L                   3075 GREEN CORNERS RD                                                                      LAPEER           MI 48446‐9741
MCCROREY, DONALD LEN                 3075 GREEN CORNERS RD                                                                      LAPEER           MI 48446‐9741
MCCROREY, GLENNA G                   4127 N BELSAY RD                                                                           FLINT            MI 48506
MCCRORY JAMES                        3703 FLINTWOOD LN                                                                          OPELIKA          AL 36804‐7611
MCCRORY, CECIL                       PO BOX 2273                                                                                CLINTON          MS 39060‐2273
MCCRORY, MITCHELL                    LIPMAN DAVID M                   5901 SW 74TH ST STE 304                                   MIAMI            FL 33143‐5163
MCCRORY, NANCY M                     3800 COUNTY ROAD 919                                                                       CROWLEY          TX 76036‐5834
MCCRORY, REBECCA J                   2715 GRANGER                                                                               ORTONVILLE       MI 48462‐9262
MCCRORY, REBECCA J                   2715 GRANGER RD                                                                            ORTONVILLE       MI 48462‐9262
MCCRORY, SUE E                       9106 CRYSTAL RIVER DR                                                                      INDIANAPOLIS     IN 46240‐6439
MCCRORY, WARDELL T                   1402 W GENESEE ST                                                                          FLINT            MI 48504‐2512
MCCROSKEY CHEVROLET‐BUICK‐PONTIAC‐   110 E LINCOLN AVE                                                                          CHARITON          IA 50049‐9600
O
MCCROSKEY CHEVROLET‐BUICK‐PONTIAC‐   110 E LINCOLN AVE                                                                          CHARITON         IA   50049‐9600
OLDS‐CADILLAC, INC.
MCCROSKEY JOHNNY                     3245 NORTH LAUREL AVENUE                                                                   SPRINGFIELD     MO 65803‐1134
MCCROSKEY LOREN K (498288)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
MCCROSKEY, ANNA A                    283 N 8TH ST                                                                               LEHIGHTON       PA 18235‐1208
MCCROSKEY, FRANK G                   3503 CORONADO DRIVE                                                                        LOUISVILLE      KY 40241‐2608
MCCROSKEY, LOREN K                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                                      STREET, SUITE 600
MCCROSKEY, MICHAEL A                 3459 DRUMMOND RD                                                                           TOLEDO          OH 43606‐1660
MCCROSSIN, DONALD J                  15 BENNINGTON DR APT 5                                                                     NAPLES          FL 34104‐6500
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Name                        Address1                         Address2                       Address3   Address4         City           State Zip
MCCRUDDEN JOHN D (404317)   ANGELOS PETER G LAW OFFICES OF   2643 KINGSTON PIKE , STE 101                               KNOXVILLE       TN 37919
MCCRUDDEN, JOHN D           ANGELOS PETER G LAW OFFICES OF   2643 KINGSTON PIKE, STE 101                                KNOXVILLE       TN 37919
MCCRUDEN, MICHAEL J         451 SLOCUM DR                                                                               AUBURN HILLS    MI 48326‐3839
MCCRUDEN, MICHAEL JAMES     451 SLOCUM DR                                                                               AUBURN HILLS    MI 48326‐3839
MCCRUM, ROBERT              55901 ELDER RD                                                                              MISHAWAKA       IN 46545‐4603
MCCRUMB, DENNIS A           4741 W SANILAC RD                                                                           VASSAR          MI 48768‐9740
MCCRUMB, FRED H             8372 E CANNONSVILLE RD                                                                      VESTABURG       MI 48891‐9720
MCCRUMB, GERALD E           111 INLET DR                                                                                PRUDENVILLE     MI 48651‐9602
MCCRUMB, JEFFERY S          PO BOX 155                                                                                  KEMPTON         IN 46049‐0155
MCCRUMB, MARK I             12800 E MELODY RD                                                                           GRAND LEDGE     MI 48837‐7900
MCCRUMB, MARY               438 EAST HURON AVENUE                                                                       VASSAR          MI 48768‐1739
MCCRUMB, NICHOLAS DAN       9165 CHERRY ST                                                                              FOSTORIA        MI 48435‐9789
MCCRUMB, ROSE               552 N DEXTER DR                                                                             LANSING         MI 48910‐3411
MCCRUMB, VICTOR D           10039 DEER SIGHT DRIVE                                                                      MIDDLEVILLE     MI 49333‐8006
MCCRUMB, WALTER D           10582 CUTLER RD                                                                             PORTLAND        MI 48875‐8485
MCCRUMMEN, JAMES N          60 YULA WAY                                                                                 OAKLEY          CA 94561‐2824
MCCRUTER, GARLAN D          1760 RIPPLING BROOK DR                                                                      MANSFIELD       OH 44904‐1870
MCCRUTER, INEZ B            505 N MULBERRY ST                                                                           MANSFIELD       OH 44902‐1042
MCCRUTER, MABLE J           155 HARKER ST                                                                               MANSFIELD       OH 44903‐1217
MCCRUTER, SANDRA P          610 INWOOD DR                                                                               MANSFIELD       OH 44903‐7423
MCCUBBIN GARY               1300 N 43RD ST                                                                              KANSAS CITY     KS 66102‐2005
MCCUBBIN, CAROLE JEANNE     6 OAK ST APT 2                                                                              FT MITCHELL     KY 41017‐2970
MCCUBBIN, CAROLE JEANNE     6 OAK STREET APT 2                                                                          FT MITCHELL     KY 41017‐2970
MCCUBBIN, CHARLES M         1988 SWANTON RD                  P O BOX 3130                                               SWANTON         MD 21561‐1011
MCCUBBIN, CHARLES M         PO BOX 3130                      1988 SWANTON RD.                                           SWANTON         MD 21561‐0430
MCCUBBIN, DARYL R           804 WALDEN DR                                                                               FRANKLIN        TN 37064‐4254
MCCUBBIN, MARIAN HELEN      154 MARTIN WAY                                                                              BARNWELL        SC 29812
MCCUBBIN, ROBERT E          1818 INDEPENDENCE RD                                                                        INDEPENDENCE    KY 41051‐8696
MCCUBBIN, RUSSELL L         3258 BURNING TREE LN                                                                        ATTICA          MI 48412‐9277
MCCUBBINS, CINTHIA          1405 FAIRDALE RD                                                                            FAIRDALE        KY 40118‐9732
MCCUBBINS, GLENN            1405 FAIRDALE RD                                                                            FAIRDALE        KY 40118‐9732
MCCUBBREY, STUART           1201 KENNEBEC                                                                               CANTON          MI 48187‐4644
MCCUE JR, JAMES A           411 CREEKTREE CT                                                                            WENTZVILLE      MO 63385‐3425
MCCUE THOMAS                PO BOX 145                                                                                  PETERSBURG      TN 37144‐0145
MCCUE THOMAS
MCCUE THOMAS (665428)       (NO OPPOSING COUNSEL)
MCCUE'S REPAIR & TOWING     295 WILLIAMS BLVD                                                                           RICHLAND       WA   99354‐3409
MCCUE, ALFRED V             7 WINCHESTER CT GLENWD PL                                                                   FARMINGTON     CT   06032
MCCUE, ALTON A              1595 OLD ELKTON PIKE                                                                        DELLROSE       TN   38453‐5048
MCCUE, DONALD F             562 MOUNT HOPE RD                                                                           LINCOLN UNIV   PA   19352‐8912
MCCUE, JACQUELINE L         11130 HITCHINGHAM                                                                           MILAN          MI   48160
MCCUE, JOHN P               15 MILLER RD                                                                                CLARKSTON      MI   48346‐1454
MCCUE, JORDAN D             411 CREEKTREE CT                                                                            WENTZVILLE     MO   63385‐3425
MCCUE, MARTIN J             2315 HAWTHORNE AVE                                                                          JANESVILLE     WI   53545‐2116
MCCUE, TERRANCE M           10326 BLUE ST                                                                               DELEVAN        NY   14042‐9633
MCCUEAN JANET               MCCUEAN, JANET                   30 E BUTLER AVE                                            AMBLER         PA   19002‐4514
MCCUEN, CHAD D              PO BOX 1138                                                                                 WELCHES        OR   97067
MCCUEN, STEPHEN G           6909 TROPHY LN                                                                              NOBLESVILLE    IN   46062‐8545
MCCUIN, RONALD              8398 SHADY GROVE CIR                                                                        MANASSAS       VA   20110‐4678
MCCUISTION KRISTIN          9307 BLACK OAK LN                                                                           SAND SPRINGS   OK   74063‐3904
MCCUISTION, MARTY
MCCUISTION, PAMELA D        636 DELAWARE AVE                                                                            DAYTON         OH 45405‐3927
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Name                        Address1                         Address2                         Address3   Address4         City              State Zip
MCCUISTON JR, FREDERICK D   1398 WOLVERHAMPTON LN                                                                         ANN ARBOR          MI 48105‐2584
MCCUISTON, BERTRAM B        6848 MORTENVIEW DR                                                                            TAYLOR             MI 48180‐1808
MCCUISTON, DONNA M.         3150 LOS ANGELES AVE                                                                          WARREN             MI 48091‐1939
MCCUISTON, EDWARD L         23545 SEALS RD                                                                                VERSAILLES         MO 65084‐5609
MCCUISTON, MELODY J         4812 CRESTVIEW RD                                                                             DAYTON             OH 45431‐1933
MCCUISTON, NOEL D           6848 MORTENVIEW DR                                                                            TAYLOR             MI 48180‐1808
MCCUISTON,FRANK             9812 E 61ST ST APT 2                                                                          RAYTOWN            MO 64133‐4026
MCCULLA, BONNIE J           PO BOX 2336                                                                                   LEBANON            TN 37088‐2336
MCCULLA, MARGUERITE L       6058 ROCKING CHAIR RD                                                                         GRAND BLANC        MI 48439‐7919
MCCULLAGH                   121 FREEPORT RD                                                                               BLAWNOX            PA 15238‐3411
MCCULLAGH LEASING INC       PO BOX 988                                                                                    LARCHMONT          NY 10538‐0988
MCCULLAGH, CONSTANCE I      578 S PINE ST                                                                                 HEMLOCK            MI 48626‐9411
MCCULLAGH, ELIZABETH L      35354 SEVERN DR                                                                               NEWARK             CA 94560‐1465
MCCULLAH SHARON             7040 ROSELAKE DRIVE                                                                           DAYTON             OH 45414
MCCULLAH, DOUGLAS L         418 CARROLL ISLAND RD                                                                         BALTIMORE          MD 21220‐2315
MCCULLAH, EARL              2220 LODELL AVE                                                                               DAYTON             OH 45414‐4628
MCCULLAH, LENVIL R          PO BOX 181                                                                                    DEER LODGE         TN 37726‐0181
MCCULLAH, LINDA S           2317 GIPSY DR                                                                                 DAYTON             OH 45414‐3343
MCCULLAH, MILLARD E         144 DOGWOOD LN                                                                                JACKSBORO          TN 37757‐2811
MCCULLAH, ROBERT E          175 JULIA DR                                                                                  WEST ALEXANDRIA    OH 45381‐8319
MCCULLAH, ROBERT L          10192 KEITHSHIRE CT                                                                           MIAMISBURG         OH 45342‐7263
MCCULLAH, SHARON A          7640 ROSELAKE DRIVE                                                                           DAYTON             OH 45414‐2253
MCCULLAH, WILLIAM           2059 UPPER BELLBROOK RD                                                                       XENIA              OH 45385‐9008
MCCULLAR, EMMA J            2549 LAKE POINTE DR                                                                           COOKEVILLE         TN 38506‐4406
MCCULLAR, HOWARD E          4229 GREENE RD 628                                                                            PARAGOULD          AR 72450‐8032
MCCULLAR, JEWELL E          2549 LAKE POINTE DR                                                                           COOKEVILLE         TN 38506‐4406
MCCULLAR, THOMAS E          500 FRANKLIN RD                                                                               BATESVILLE         MS 38606‐8505
MCCULLEN, CHARLES T         7428 BISON ST                                                                                 WESTLAND           MI 48185‐2384
MCCULLEN, LEE ANDREW        SHANNON LAW FIRM                 100 W GALLATIN ST                                            HAZLEHURST         MS 39083‐3007
MCCULLEN, RALPH O           4724 HARVARD AVE                                                                              KANSAS CITY        MO 64133‐2335
MCCULLER, WILLIE            PORTER & MALOUF PA               4670 MCWILLIE DR                                             JACKSON            MS 39206‐5621
MCCULLERS, WILLIAM L        2740 HIGHWAY 81                                                                               LOGANVILLE         GA 30052‐4318
MCCULLEY GEORGE (459199)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                             STREET, SUITE 600
MCCULLEY, ANDY R            6371 ESTRELLE AVE                                                                             MOUNT MORRIS      MI   48458‐2363
MCCULLEY, CHARLES A         722 HUCKLEBERRY DR                                                                            GERRARDSTOWN      WV   25420‐4323
MCCULLEY, DARRELL L         143 WILDWOOD LN                                                                               MONROE            TN   38573‐6331
MCCULLEY, GEORGE            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510
                                                             STREET, SUITE 600
MCCULLEY, GEORGE T          1222 SUMMIT LINKS CT                                                                          SNELLVILLE        GA   30078‐3559
MCCULLEY, KAREN S           3038 118TH ST                                                                                 TOLEDO            OH   43611‐2711
MCCULLEY, MAYNARD R         2046 ALF HARRIS RD                                                                            PROSPECT          TN   38477‐6307
MCCULLEY, MAYNARD RICHARD   2046 ALF HARRIS RD                                                                            PROSPECT          TN   38477‐6307
MCCULLEY, NETRA M           4369 SHADY LN                                                                                 INDIANAPOLIS      IN   46226‐3343
MCCULLEY, PATRICIA A        2557 LARRY TIM DR                                                                             SAGINAW           MI   48601‐5611
MCCULLEY, ROBERT E          WOLOSHIN & KILLINO, PC           1800 JOHN F KENNEDY BLVD FL 11                               PHILADELPHIA      PA   19103‐7437

MCCULLEY, ROBERT E          WOLOSHIN & KILLINO, PC           1800 JOHN F. KENNEDY BOULEVARD                               PHILADELPHIA      PA 19103
                                                             11TH FLOOR
MCCULLICK, MARAMON I        1901 W ABERDEEN DR                                                                            JANESVILLE        WI 53545‐9515
MCCULLICK, PAMELA S         1603 S WALNUT ST                                                                              JANESVILLE        WI 53546‐5851
MCCULLICK, RODNEY A         1603 S WALNUT ST                                                                              JANESVILLE        WI 53546‐5051
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Name                                 Address1                         Address2                      Address3   Address4         City            State Zip
MCCULLIGH, JAMES B                   4135 MINERVA DR                                                                            FLINT            MI 48504‐1466
MCCULLION, DOLORES M                 6729 TIPPECANOE RD UNIT 2                                                                  CANFIELD         OH 44406‐9105
MCCULLOCH COUNTY APPRAISER           306 W LOCKHART ST                                                                          BRADY            TX 76825‐4113
MCCULLOCH JAMES C (439314)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                      STREET, SUITE 600
MCCULLOCH TRANSPORT & RECOVERY       1210 E 5TH ST                                                                              OXNARD          CA   93030‐7316
MCCULLOCH WALTER                     MCCULLOCH, WALTER                30 E BUTLER AVE                                           AMBLER          PA   19002‐4514
MCCULLOCH, AUDREY M                  8221 RIVERGREEN DR                                                                         ELVERTA         CA   95626‐9659
MCCULLOCH, BOBBY F                   642 HAMILTON ST                                                                            RUSSELLVILLE    AL   35653‐4419
MCCULLOCH, CHARLES R                 1438 HUMBOLT AVE                                                                           YOUNGSTOWN      OH   44502‐2776
MCCULLOCH, HELEN V                   5512 CARMEL RD APT 126                                                                     CHARLOTTE       NC   28226‐7985
MCCULLOCH, JAMES C                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                      STREET, SUITE 600
MCCULLOCH, JEFFREY C                 364 S JOHN PAUL RD                                                                         MILTON          WI   53563‐1260
MCCULLOCH, JOHN A                    578 QUEEN PALM ST                                                                          LARGO           FL   33778‐1313
MCCULLOCH, JUSTIN L                  9604 COVERDALE RD                                                                          FORT WAYNE      IN   46809‐9759
MCCULLOCH, LEWIS J                   9604 COVERDALE RD                                                                          FORT WAYNE      IN   46809‐9759
MCCULLOCH, LISA A                    1820 BASSETT RD                                                                            ROYAL OAK       MI   48067‐1050
MCCULLOCH, MICHAEL A                 802 W DAKOTA ST                                                                            BUTLER          MO   64730
MCCULLOCH, MILDRED P                 204 N 9TH ST                                                                               DUPO            IL   62239‐1542
MCCULLOCH, ROBERT                    308 WINDING CREEK DR                                                                       SPRING HILL     TN   37174‐2530
MCCULLOCH, ROBERT J                  5216 SANDY RIVER CV                                                                        FORT WAYNE      IN   46814‐9517
MCCULLOCH, RONDA J                   3580 158TH ST W                                                                            ROSEMOUNT       MN   55068‐3842
MCCULLOCH, ROY W                     1723 BURNHAM ST                                                                            SAGINAW         MI   48602‐1114
MCCULLOCH, SUSAN                     18 ROSE COTTAGE LANE                                                                       SAGINAW         MI   48609
MCCULLOCH, VERA                      1438 HUMBOLT                                                                               YOUNGSTOWN      OH   44502‐2776
MCCULLOCH, WALTER                    KIMMEL & SILVERMAN               30 E BUTLER AVE                                           AMBLER          PA   19002‐4514
MCCULLOCH, WILLARD                   4555 TRANQUIL LN                                                                           POWDER SPGS     GA   30127‐1236
MCCULLOCH, WILLIAM C                 622 W CLARKSTON RD                                                                         LAKE ORION      MI   48362‐2683
MCCULLOCK, JOHN                      29 OLSEN RD                                                                                COCOA           FL   32927‐5938
MCCULLOH, COBURN L                   PO BOX 216                                                                                 URICH           MO   64788
MCCULLOH, JOHN D                     1346 PRUETER RD                                                                            SAGINAW         MI   48601‐6611
MCCULLOM, CARRELLA E                 1203 ALBRITTON DR                                                                          DAYTON          OH   45408‐2401
MCCULLOM, RUBY A                     PO BOX 26081                                                                               TROTWOOD        OH   45426‐0091
MCCULLOR ELESIE                      C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                       LITTLE ROCK     AR   72201
MCCULLOR, ELESIE                     MOODY EDWARD O                   801 W 4TH ST                                              LITTLE ROCK     AR   72201‐2107
MCCULLOUGH & PAYNE                   171 17TH STREET NW                                                                         ATLANTA         GA   30363
MCCULLOUGH ADAM                      106 VIOLET ST                                                                              BRYAN           OH   43506‐8965
MCCULLOUGH AUTO CARE & TOWING        5810 ROSWELL RD NE                                                                         SANDY SPRINGS   GA   30328‐4906
MCCULLOUGH AUTO SERVICE              3416 W VIRGINIA ST                                                                         EVANSVILLE      IN   47712‐7840
MCCULLOUGH FABRICATING INC           240 S MERIDIAN RD                                                                          MITCHELL        IN   47446‐8015
MCCULLOUGH HARDY & JO‐ANN            202 LAMORAK ST                                                                             VICTORIA        TX   77904‐1816
MCCULLOUGH III, ROBERT A             6331 HUMPHREY AVE                                                                          FLUSHING        MI   48433‐9006
MCCULLOUGH JAMES J (482343)          WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK        NY   10038
MCCULLOUGH JEAN                      MCCULLOUGH, JEAN                 707 JEFFERSON DR                                          TURNERSVILLE    NJ   08012‐1214
MCCULLOUGH JOHN (ESTATE OF) (660516) BIFFERATO GENTILOTTI & BIDEN     PO BOX 2165                                               WILMINGTON      DE   19899‐2165

MCCULLOUGH JR, BONNIE B              5424 KALMIA LN                                                                             ALBANY          GA   31705‐5403
MCCULLOUGH JR, HARRY M               5362 LEONE DR                                                                              INDIANAPOLIS    IN   46226‐1746
MCCULLOUGH JR, HARRY MOSES           5362 LEONE DR                                                                              INDIANAPOLIS    IN   46226‐1746
MCCULLOUGH JR, ROBERT B              4069 JENNIE LN                                                                             SWARTZ CREEK    MI   48473‐1552
MCCULLOUGH JR, SOLOMON               143‐79 228TH ST                                                                            ROSEDALE        NY   11413
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Name                               Address1                          Address2                      Address3   Address4         City               State Zip
MCCULLOUGH JR., HARRY L            1147 CHESTNUT ST                                                                            PONTIAC             MI 48342‐1891
MCCULLOUGH KERRY J                 DBA FINAL TOUCH ENTERTAINMENT     685 ROBERTS ST                                            SHEFFIELD LAKE      OH 44054‐1049
MCCULLOUGH LAWRENCE III (481893)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                     STREET, SUITE 600
MCCULLOUGH LLOYD J (429415)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                     STREET, SUITE 600
MCCULLOUGH METRO PONTIAC BUICK     5001 AUTH WAY                                                                               SUITLAND           MD 20746‐4206
GMC
MCCULLOUGH, ALAN D                 6181 HAZELWOOD AVE                                                                          INDIANAPOLIS       IN   46228‐1381
MCCULLOUGH, ALLEN R                1718 PLUNKETTS RD                                                                           BUFORD             GA   30519‐5072
MCCULLOUGH, AMY M                  117 SENECA ST                                                                               ATTICA             OH   44807‐9470
MCCULLOUGH, BARBARA                1212 LAKE RD                                                                                WEBSTER            NY   14580‐9708
MCCULLOUGH, BARBARA A              2516 UNION RD                                                                               ANDERSON           IN   46017‐9369
MCCULLOUGH, BERNICE                12042 SPANISH BLVD                                                                          SAINT LOUIS        MO   63138‐3150
MCCULLOUGH, BESSE D                4131 EMERALD NORTH DR                                                                       DECATUR            GA   30035‐2749
MCCULLOUGH, BETTY J                26 LASALLE AVENUE                                                                           KENMORE            NY   14217‐2628
MCCULLOUGH, BURNETTA J             28 BROOKDALE AVE                                                                            ROCHESTER          NY   14619‐2208
MCCULLOUGH, BURTON D               313 COUNTY RD #3842                                                                         HAWKINS            TX   75765
MCCULLOUGH, CARL L                 12990 LULU RD                                                                               IDA                MI   48140‐9718
MCCULLOUGH, CATHY L                16808 YELLOWSTONE DR                                                                        NORTHVILLE         MI   48168‐6846
MCCULLOUGH, CHARLES                PORTER & MALOUF PA                4670 MCWILLIE DR                                          JACKSON            MS   39206‐5621
MCCULLOUGH, CHARLES                15884 WHITCOMB ST                                                                           DETROIT            MI   48227‐2669
MCCULLOUGH, CHARLES T.             2159 BRICKTON XING                                                                          BUFORD             GA   30518‐6042
MCCULLOUGH, CLAUDIA S              6111 HOLLY TREE DR                                                                          ALEXANDRIA         VA   22310‐2215
MCCULLOUGH, CLYDE E                4131 EMERALD NORTH DR                                                                       DECATUR            GA   30035‐2749
MCCULLOUGH, CYNTHIA L              6854 CUMMINS DR                                                                             ROCKFORD           IL   61114‐8069
MCCULLOUGH, DALEAN K               6753 E MOUNT HOPE HWY                                                                       GRAND LEDGE        MI   48837‐9470
MCCULLOUGH, DARL W                 14155 DOHONEY RD                                                                            DEFIANCE           OH   43512‐8723
MCCULLOUGH, DAVID D                4180 N 50 W                                                                                 ANDERSON           IN   46012‐9571
MCCULLOUGH, DELTA F                1400 W 2ND ST                                                                               ANDERSON           IN   46016‐2404
MCCULLOUGH, DELTA F                1400 W. 2ND ST.                                                                             ANDERSON           IN   46016‐2404
MCCULLOUGH, DENISE P               23087 FOUNTAIN DR                                                                           CLINTON TWP        MI   48036‐1292
MCCULLOUGH, DONALD E               5122 THRUSH DR                                                                              INDIANAPOLIS       IN   46224‐2346
MCCULLOUGH, DONALD F               321 GARDENDALE RD                                                                           TERRE HAUTE        IN   47803‐1735
MCCULLOUGH, DONALD K               1125 ELIZABETH ST                                                                           LIBERTY            MO   64068‐2024
MCCULLOUGH, DONNA L                9932 GRISSOM RD                                                                             BAILEY             MS   39320‐9750
MCCULLOUGH, DONNA L                9932 GRISSOM ROAD                                                                           BAILEY             MS   39320
MCCULLOUGH, DOROTHY                768 HOLLY STREET                                                                            LIMA               OH   45804
MCCULLOUGH, DOROTHY G              7660 BROOK FARM COURT                                                                       MASON              OH   45040‐5040
MCCULLOUGH, DOROTHY G              7660 BROOKFARM CT                                                                           MASON              OH   45040‐7028
MCCULLOUGH, DOROTHY M              13629 BREEZY DR                                                                             STERLING HEIGHTS   MI   48313
MCCULLOUGH, ETHEL                  21909 BEAN RD E                                                                             ATHENS             AL   35613
MCCULLOUGH, EUGENE                 516 E OAK ST                                                                                OLATHE             KS   66061‐4628
MCCULLOUGH, GENE A                 3240 FARMINGTON RD                                                                          MADISON            GA   30650‐2388
MCCULLOUGH, GERALD P               292 LINCOLN AVE                                                                             SOUTH AMBOY        NJ   08879
MCCULLOUGH, GREG A                 2012 RED OAK DR                                                                             BRANDON            MS   39042‐9327
MCCULLOUGH, HELEN E                3154 HASKELL LANGLEY RD                                                                     CRESTVIEW          FL   32539‐9142
MCCULLOUGH, HENRY E                13150 FORESTDALE DR                                                                         GARFIELD HTS       OH   44125‐1836
MCCULLOUGH, JACALYN A              3807 NEW RD                                                                                 YOUNGSTOWN         OH   44515‐4625
MCCULLOUGH, JAMES J                WEITZ & LUXENBERG                 180 MAIDEN LANE                                           NEW YORK           NY   10038
MCCULLOUGH, JAMES L                2764 ATER DR                                                                                BEAVERCREEK        OH   45434‐6543
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MCCULLOUGH, JAMES M        GLASSER AND GLASSER               CROWN CENTER                  580 EAST MAIN STREET SUITE                    NORFOLK         VA 23510
                                                                                           600
MCCULLOUGH, JANET R        4419 MOUNDS RD                                                                                                ANDERSON       IN   46017‐1840
MCCULLOUGH, JEAN           707 JEFFERSON DR                                                                                              TURNERSVILLE   NJ   08012‐1214
MCCULLOUGH, JEFFREY        219 OBERLIN ROAD                                                                                              ELYRIA         OH   44035‐7631
MCCULLOUGH, JIMMY L        21909 BEAN RD E                                                                                               ATHENS         AL   35613‐5148
MCCULLOUGH, JOAN           5077 WILLOWMERE DR                WILLOWS                                                                     DAYTON         OH   45459‐1192
MCCULLOUGH, JOHN           BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                                 WILMINGTON     DE   19899‐2165
MCCULLOUGH, JOHN A         2516 UNION RD                                                                                                 ANDERSON       IN   46017‐9369
MCCULLOUGH, JOHN F         129 W SIEBENTHALER AVE                                                                                        DAYTON         OH   45405‐2237
MCCULLOUGH, JOHN F         129 WEST SIEBENTHALER AVENUE                                                                                  DAYTON         OH   45405‐2237
MCCULLOUGH, JOHN J         279 CHELSEA PL                                                                                                BUFFALO        NY   14215‐3003
MCCULLOUGH, JOHNNIE        227 LANCER DR                                                                                                 NOKOMIS        FL   34275‐1885
MCCULLOUGH, JR, JOHN H
MCCULLOUGH, KATHLEEN M     1260 CAPILANO DR                                                                                              SHREVEPORT     LA   71106‐8288
MCCULLOUGH, KEVIN P        1260 CAPILANO DR                                                                                              SHREVEPORT     LA   71106‐8288
MCCULLOUGH, KIM B          2341 S 500 EAST                                                                                               MIDDLETOWN     IN   47356
MCCULLOUGH, LAURA          417 PLEASANT HILL AVE N                                                                                       SEBASTOPOL     CA   95472‐3210
MCCULLOUGH, LAWRENCE       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK        VA   23510‐2212
                                                             STREET, SUITE 600
MCCULLOUGH, LEO T          4048 EASTWAY ST 43                                                                                            TOLEDO         OH 43612
MCCULLOUGH, LEONARD N      421 HICKORY CIR                                                                                               GRIFFIN        GA 30223‐6007
MCCULLOUGH, LLOYD J        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK        VA 23510‐2212
                                                             STREET, SUITE 600
MCCULLOUGH, MABELL H       PO BOX 156                                                                                                    SPRING HILL    TN   37174‐0156
MCCULLOUGH, MABELL HUFF    PO BOX 156                                                                                                    SPRING HILL    TN   37174‐0156
MCCULLOUGH, MACK A         332 SMITH ST                                                                                                  DAYTON         OH   45408‐2041
MCCULLOUGH, MARLYN         1019 E POST RD                                                                                                ANDERSON       IN   46012‐2705
MCCULLOUGH, MARQUITOR      326 BARKLEY PL E                                                                                              COLUMBUS       OH   43213‐2004
MCCULLOUGH, MARVA J        18506 CONCORD ST                                                                                              DETROIT        MI   48234‐2911
MCCULLOUGH, MARY I         1128 WAR VALLEY RD                                                                                            ROGERSVILLE    TN   37857‐5621
MCCULLOUGH, MARY L         12990 LULU RD                                                                                                 IDA            MI   48140‐9718
MCCULLOUGH, MATTHEW C      1478 TERRAWENDA DR                                                                                            DEFIANCE       OH   43512‐3210
MCCULLOUGH, MATTHEW CARL   1478 TERRAWENDA DR                                                                                            DEFIANCE       OH   43512‐3210
MCCULLOUGH, MICHAEL A      6111 TANAGER WAY                                                                                              DAYTON         OH   45449‐3256
MCCULLOUGH, MILDRED        9715 MUSTANG BAY                                                                                              SAN ANTONIO    TX   78254‐5992
MCCULLOUGH, MURALEAN V     51 SHELDON TERR                                                                                               ROCHESTER      NY   14619‐2125
MCCULLOUGH, MURALEAN V     51 SHELDON TER                                                                                                ROCHESTER      NY   14619‐2125
MCCULLOUGH, NORMA J        13533 S PARKER RD                                                                                             LOCKPORT       IL   60491‐9680
MCCULLOUGH, PATRICIA G     4596 E 800 S                                                                                                  MARKLEVILLE    IN   46056‐9739
MCCULLOUGH, PATRICIA J     1850 S 300 E                                                                                                  ANDERSON       IN   46017‐2042
MCCULLOUGH, PHYLLIS R      1470 DONOVAN ST                                                                                               BURTON         MI   48529‐1226
MCCULLOUGH, R B            1210 ALFORD LN                                                                                                BUCKHEAD       GA   30625‐1901
MCCULLOUGH, REGINA K       PO BOX 768                                                                                                    CENTRE         AL   35960‐0768
MCCULLOUGH, ROBERT         5501 STAGE NW                                                                                                 GRAND RAPIDS   MI   49544‐9718
MCCULLOUGH, ROBERT         5501 STAGE AVE NW                                                                                             GRAND RAPIDS   MI   49544‐9718
MCCULLOUGH, ROBERT D       4922 FLAKES MILL RD                                                                                           ELLENWOOD      GA   30294‐2041
MCCULLOUGH, ROBERT E       4085 TOWNVIEW DR                                                                                              FLINT          MI   48532‐2732
MCCULLOUGH, ROBERT E       1 WORDSWORTH DR                                                                                               WILMINGTON     DE   19808‐2338
MCCULLOUGH, ROBERT H       1801 SHELTERING TREE DR                                                                                       W CARROLLTON   OH   45449‐2350
MCCULLOUGH, ROBERT L       2991 DENVER DR                                                                                                POLAND         OH   44514‐2434
MCCULLOUGH, ROBERT M       26242 WINONA ST                                                                                               LAURIUM        MI   49913‐2697
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Name                        Address1                             Address2                          Address3             Address4         City               State Zip
MCCULLOUGH, ROGER           114 CRANDALL CT NE                                                                                           CEDAR RAPIDS         IA 52402‐1640
MCCULLOUGH, RONCINA B       224 LOWELL AVE                                                                                               YOUNGSTOWN          OH 44512‐1229
MCCULLOUGH, RUBY            1051 HARBOR HEIGHTS DR UNIT A                                                                                HARBOR CITY         CA 90710‐3097
MCCULLOUGH, RUSSELL J       210 KNOLL CIR APT D                                                                                          CRAWFORDSVILLE      IN 47933‐6504
MCCULLOUGH, SANDRA J        19271 AL HIGHWAY 24                                                                                          MOULTON             AL 35650‐7317
MCCULLOUGH, SCHERRY L       3253 PINES RD                                                                                                PADUCAH             KY 42001
MCCULLOUGH, SCOTT A         42519 JO ED DR                                                                                               STERLING HEIGHTS    MI 48314‐3039
MCCULLOUGH, SHAWN L
MCCULLOUGH, STEVEN M        9668 BARKLEY RD                                                                                              MILLINGTON         MI   48746‐9761
MCCULLOUGH, TAMMIE C        101 WARRENTON DR. N.W.                                                                                       WARREN             OH   44481‐9008
MCCULLOUGH, TERRANCE C      279 CHELSEA PL                                                                                               BUFFALO            NY   14215‐3003
MCCULLOUGH, TERRY L         13568 SAUBEE RD                                                                                              LAKE ODESSA        MI   48849‐9205
MCCULLOUGH, THOMAS          69 PECAN RUN                                                                                                 OCALA              FL   34472‐1914
MCCULLOUGH, TYREE           1700 CROOKS RD                                                                                               ROCHESTER HLS      MI   48309‐2942
MCCULLOUGH, WILLIAM C       17201 INVERMERE AVE                                                                                          CLEVELAND          OH   44128‐1563
MCCULLOUGH, WILLIAM F       1302 CROTTY CT UNIT 3                                                                                        CINCINNATI         OH   45255‐3087
MCCULLOUGH, WILLIE J        101 WARRENTON DRIVE NORTHWEST                                                                                WARREN             OH   44481‐9008
MCCULLUM JR, LEVESTER       71 FLEMING ST                                                                                                YOUNGSTOWN         OH   44510‐1524
MCCULLUM, BEATRICE          111 FORD STREET                                                                                              HIGHLAND PARK      MI   48203‐3622
MCCULLUM, CHARLES           PORTER & MALOUF PA                   4670 MCWILLIE DR                                                        JACKSON            MS   39206‐5621
MCCULLUM, CLARA H           1255 PASADENA AVE SOUTH              APT 1414                                                                SOUTH PASADENA     FL   33707
MCCULLUM, CLARA H           1255 PASADENA AVE S APT 1414                                                                                 SOUTH PASADENA     FL   33707‐6218
MCCULLUM, DORIS I           3420 HERITAGE DR APT 207                                                                                     EDINA              MN   55435‐2227
MCCULLUM, LAURA             4017 MONTGOMERY                                                                                              DETROIT            MI   48204‐2424
MCCULLUM, LINCOLN           28014 VAN DYKE AVE # 14                                                                                      WARREN             MI   48093‐2841
MCCULLUM, LLOYD T           245 GREEN ACRES DR                                                                                           SPRINGFIELD        OH   45504‐3313
MCCULLUM, LORI A            3426 YORKSHIRE DR                                                                                            GREENWOOD          IN   46143
MCCULLUM, MILDRED ELECTRA   727 N 70TH TER                                                                                               KANSAS CITY        KS   66112‐3075
MCCULLUM, ROBERT E          5506 S 100 W                                                                                                 ANDERSON           IN   46013‐9400
MCCULLUM, WALTER E          PO BOX 274                                                                                                   LANSING            KS   66043‐0274
MCCULLUM, WALTER L          1596 THREE RIVERS DR                                                                                         MARYSVILLE         CA   95901‐8239
MCCULLUM, WOUDIA M          57 LOWER BARTON ROAD                                                                                         ASHEVILLE          NC   28804‐6609
MCCULLY AUTO REPAIR         3119 OLU ST                                                                                                  HONOLULU           HI   96816‐1425
MCCULLY JACQUELINE          MCCULLY, JACQUELINE                  17295 CHESTERFIELD AIRPORT ROAD
                                                                 SUITE 200 CHESTERFIELD, MO

MCCULLY LIVING TRUST        STEPHEN MCCULLY & PATRICIA MCCULLY   CO‐TTES DTD 01/03/97              531 E SHERIDAN AVE                    DUBOIS              PA 15801

MCCULLY SR, AUSTIN L        2726 MARSHALLTOWN DR                                                                                         GARY               IN   46407‐1862
MCCULLY, ALMA J             116 CEDAR BROOK DR                                                                                           PEARL              MS   39208‐8003
MCCULLY, ALMA J             116 CEDARBROOK DR.                                                                                           PEARL              MS   39208‐9208
MCCULLY, ALVIN R            20855 W 180TH ST                                                                                             OLATHE             KS   66062‐9257
MCCULLY, CHRISTINE          640 BRADFORD ROAD                                                                                            EL CAJON           CA   92019‐2649
MCCULLY, DONALD B           3925 LAKE MEAD DR                                                                                            FORT WAYNE         IN   46804‐6909
MCCULLY, DONALD D           2435 S HIGHWAY W                                                                                             FOLEY              MO   63347‐2721
MCCULLY, FRANK D            640 BRADFORD RD                                                                                              EL CAJON           CA   92019‐2649
MCCULLY, MICHAEL T          402 TURNBERRY CT                                                                                             LEBANON            IN   46052‐8316
MCCULLY, ROBERT B           PO BOX 484                                                                                                   NORTH JACKSON      OH   44451‐0484
MCCULLY, THEODORE           849 BARTLET LN                                                                                               THE VILLAGES       FL   32162‐4519
MCCULLY, WJ                 GUY WILLIAM S                        PO BOX 509                                                              MCCOMB             MS   39649‐0509
MCCUMBEE, THEODORE R        52 SHOOTING RANGE LN                                                                                         BERKELEY SPRINGS   WV   25411‐6115
MCCUMBER, BERT L            1722 S MARION AVE                                                                                            JANESVILLE         WI   53546‐5716
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Name                       Address1                        Address2                        Address3   Address4         City               State Zip
MCCUMBER, CHRISTOPHER B    6005 JACOBS CIR                                                                             BOSSIER CITY        LA 71111‐5737
MCCUMBER, CHRISTOPHER B.   6005 JACOBS CIR                                                                             BOSSIER CITY        LA 71111‐5737
MCCUMBER, CORINNE R        1122 HARMONY CIR NW                                                                         JANESVILLE          WI 53545‐2008
MCCUMBER, FLOYD A          3475 LIBERTY PKWY                                                                           BALTIMORE           MD 21222‐6045
MCCUMBER, FRANCIS E        1141 N CLAREMONT DR                                                                         JANESVILLE          WI 53545‐1303
MCCUMBER, LLOYD C          5314 WRIGHT AVE                                                                             BALTIMORE           MD 21205‐3243
MCCUMBER, LOREE I          1141 N CLAREMONT DR                                                                         JANESVILLE          WI 53545‐1303
MCCUMBER, LOREE I          1141 NORTH CLAREMONT DR                                                                     JANESVILLE          WI 53545
MCCUMBER, MAGDALINE M      2760 ROSEANN LN                                                                             CINCINNATI          OH 45239‐7250
MCCUMBER, MAGDALINE M      2760 ROSE ANN LN                                                                            CINCINNATI          OH 45239‐7250
MCCUMBER, MARK D           104 EVERGREEN DRIVE                                                                         FORT ASHBY          WV 26719‐3500
MCCUMBER, PAUL L           2226 W GLENMOOR LN                                                                          JANESVILLE          WI 53545‐9640
MCCUMBER, WILLIAM R        538 WEXFORD RD                                                                              JANESVILLE          WI 53546‐1912
MCCUMBERS, ROLAN L         9967 N DUNSTON                                                                              GARRETTSVILLE       OH 44231‐9465
MCCUMBERS, STALEY G        820 LYNN LEE DR                                                                             ABERDEEN            MD 21001‐1022
MCCUMMINGS, ALAN E         160 MIDDLE RD                                                                               ELKTON              MD 21921‐2316
MCCUMMINGS, JUDY           126 S HEMLOCK ST APT B                                                                      EVART               MI 49631‐9749
MCCUMMINGS, ROBERT E       PO BOX 90018                                                                                BURTON              MI 48509‐0018
MCCUMONS, PATSY JEAN       4190 MARTON RD                                                                              KINGSTON            MI 48741‐9779
MCCUNE BOB                 145 ASBURY DRIVE                                                                            ANDERSON            IN 46013‐4869
MCCUNE CHARLES (491647)    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                           PROFESSIONAL BLDG
MCCUNE, AMY J              6855 CHATHAM RD                                                                             MEDINA             OH   44256‐8503
MCCUNE, BOBBY K            145 ASBURY DR                                                                               ANDERSON           IN   46013‐4869
MCCUNE, BYRON J            4001 E LONG LAKE RD                                                                         HARRISON           MI   48625‐8842
MCCUNE, CHARLES D          940 EMILY ST                                                                                SAGINAW            MI   48601
MCCUNE, CHARLES D          2213 NE 37TH TER                                                                            KANSAS CITY        MO   64116‐2551
MCCUNE, DAVID M            11957 SMITH GOSHEN RD                                                                       BELOIT             OH   44609‐9015
MCCUNE, DEVENISE L         3258 MEADOWVIEW LN                                                                          SAGINAW            MI   48601‐5628
MCCUNE, DONALD J           30925 MILLER AVE                                                                            WILLOUGHBY HILLS   OH   44092‐1256
MCCUNE, EDNA S             145 ASBURY DR                                                                               ANDERSON           IN   46013‐4869
MCCUNE, JAMES              THE LIPMAN LAW FIRM             5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES       FL   33146
MCCUNE, JAMES A            508 W HIGH ST                                                                               ALBANY             IN   47320‐1632
MCCUNE, JIMMIE E           114 MYERS LAKE DR                                                                           NOBLESVILLE        IN   46062‐8663
MCCUNE, JOHNNY R           PO BOX 1663                                                                                 ASHTABULA          OH   44005‐1663
MCCUNE, JOSEPH A           203 KEYS RD                                                                                 LIMESTONE          TN   37681‐2209
MCCUNE, JOYCE A            198 PLEASANT VALLEY RD                                                                      GREENUP            KY   41144
MCCUNE, KAMEELA R          201 N SQUIRREL RD APT 1306                                                                  AUBURN HILLS       MI   48326‐4028
MCCUNE, KENNETH D          1492 S WAVERLY RD                                                                           EATON RAPIDS       MI   48827‐9774
MCCUNE, LEE J              433 S G ST                                                                                  HAMILTON           OH   45013‐3246
MCCUNE, LINDA L            1125 HUNTLEY RD                                                                             SAGINAW            MI   48601‐5193
MCCUNE, MARK D             3810 HAMMOND BLVD                                                                           HAMILTON           OH   45015
MCCUNE, MATTHEW R          5287 BIXLER RD                                                                              BELLVILLE          OH   44813‐9021
MCCUNE, MICHELLE R         1431 BEXLEY DR                                                                              AUSTINTOWN         OH   44515‐3835
MCCUNE, RICHARD L          454 UNION ST                                                                                GRAND LEDGE        MI   48837‐1263
MCCUNE, RUBY B             4351 S CANAL DR                                                                             HARRISION          MI   48625‐9622
MCCUNE, SHAWN D            179 STONEHENGE DR SW                                                                        GRANDVILLE         MI   49418‐3313
MCCUNE, SHAWN D.           179 STONEHENGE DR SW                                                                        GRANDVILLE         MI   49418‐3313
MCCUNE, TERESA A.          3095 KEMLER RD                                                                              EATON RAPIDS       MI   48827‐8220
MCCUNE, TERRY A            2202 GRANGE HALL RD                                                                         DAYTON             OH   45431‐2338
MCCURDY DAVID M            4001 TURTLE CREEK DR                                                                        MOORE              OK   73160
MCCURDY JR, FLOYD M        36750 US HIGHWAY 19 N                                                                       PALM HARBOR        FL   34684‐1239
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Name                           Address1                        Address2                      Address3   Address4         City            State Zip
MCCURDY KENNETH                401 SADDLEBROOK LN                                                                        TOMBALL          TX 77375‐3271
MCCURDY SR, JAMES E            270 FOLSOM DR                                                                             DAYTON           OH 45405‐1110
MCCURDY VIRGINIA               150 COOK HILL RD APT 5310                                                                 CHESHIRE         CT 06410‐3786
MCCURDY, ALAN A                531 CLINE ST                                                                              HUNTINGTON       IN 46750‐3242
MCCURDY, ANTHONY C             3709 WATERBRIDGE LN                                                                       MIAMISBURG       OH 45342‐6728
MCCURDY, CHARLES J             1320 YANKEE RUN RD.                                                                       MASURY           OH 44438‐8723
MCCURDY, DARLINE E             2195 GRAY RD                                                                              LAPEER           MI 48446‐9060
MCCURDY, DAVID M               4001 TURTLE CREEK DR                                                                      MOORE            OK 73160
MCCURDY, DONNA M               370 STEWART ST APT 3                                                                      HUBBARD          OH 44425‐1515
MCCURDY, DONNA M               370 STEWART STREET              APT 3                                                     HUBBARD          OH 44425‐1515
MCCURDY, EDNA                  1775 WILDER RD                                                                            BAY CITY         MI 48706‐9207
MCCURDY, EVELYN H              832 CLOVER LEAF CT                                                                        EDGEWOOD         MD 21040‐3839
MCCURDY, FLORENCE S            1320 YANKEE RUN RD NE                                                                     MASURY           OH 44438‐8723
MCCURDY, FRANKIE A             147 NEWHAM ST                                                                             WILMINGTON       OH 45177‐1922
MCCURDY, FRANKIE A             147 NEWHAM                                                                                WILMINGTON       OH 45177‐1922
MCCURDY, GEORGE D              17302 FORRER ST                                                                           DETROIT          MI 48235‐3538
MCCURDY, JAMES F               7102 GRAND BLANC RD                                                                       SWARTZ CREEK     MI 48473‐9401
MCCURDY, JAMES L               2031 S GILMAN AVE                                                                         MUNCIE           IN 47302‐2063
MCCURDY, JEANNE                5640 S OTIS ST                                                                            DENVER           CO 80123‐0822
MCCURDY, JOYCE S               8482 S 650 W                                                                              PENDLETON        IN 46064‐9799
MCCURDY, JOYCE S               8482 S. 650 W                                                                             PENDLETON        IN 46064‐9799
MCCURDY, LINDA J               18708 WOODINGHAM DR                                                                       DETROIT          MI 48221‐4109
MCCURDY, LUCILLE Y             352 EDISON ST                                                                             DAYTON           OH 45402‐6509
MCCURDY, PAULA R               11 CLIFDEN DR                                                                             MONTGOMERY CY    MO 63361‐1251
MCCURDY, PEGGY L               1046 RANCH DR                                                                             GARDNERVILLE     NV 89460‐9624
MCCURDY, ROBERT L              PO BOX 962                                                                                WARREN           OH 44482
MCCURDY, SYLVIA KATHLEEN       PO BOX 1892                                                                               SAGINAW          MI 48605‐1892
MCCURDY, THOMAS S              8620 NW 13TH ST LOT 128                                                                   GAINESVILLE      FL 32653‐7922
MCCURDY, THOMAS W              140 SAINT ANTHONY LN                                                                      FLORISSANT       MO 63031‐6723
MCCURDY, TIM J                 135 E JOHNSON ST                                                                          CLIO             MI 48420‐1431
MCCURDY, TIMOTHY D             PO BOX 3378                                                                               MUNCIE           IN 47307‐3378
MCCURDY, TONIA R               3740 STONY HOLLOW RD                                                                      DAYTON           OH 45418‐2836
MCCURDY, TONYA                 2193 NORMANDY DR                                                                          TROY             MI 48085‐1075
MCCURDY, TRINA R               1735 TOLWORTH RD 84                                                                       SHELBYVILLE      IN 46176
MCCURDY, VERA A                1130 PEACH BLOSSOM CIRCLE                                                                 BURTON           MI 48509‐2398
MCCURDY, VIRGINIA S            4001 TURTLE CREEK DR.                                                                     MOORE            OK 73160
MCCURDY,ANTHONY C              3709 WATERBRIDGE LN                                                                       MIAMISBURG       OH 45342‐6728
MCCURL, DAVID                  501 PAGE AVE                                                                              ALLENHURST       NJ 07711‐1026
MCCURLEY CHEVROLET‐CADILLAC    1325 N AUTOPLEX WAY                                                                       PASCO            WA 99301‐3853
MCCURLEY EDWARD (660205)       BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                               WILMINGTON       DE 19899‐2165
MCCURLEY JR, LARRY W           3415 LAKESIDE LANE                                                                        CUMMING          GA 30040‐5030
MCCURLEY, DOROTHY M            19119 KELSEY MARIE LN SW                                                                  ROCHESTER        WA 98579‐8740
MCCURLEY, EDWARD               BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                               WILMINGTON       DE 19899‐2165
MCCURLEY, MICHAEL T            4395 O NEALL RD                                                                           WAYNESVILLE      OH 45068‐9447
MCCURLEY, PAUL L               411 COLEMAN HILL RD                                                                       ROCKVALE         TN 37153‐4404
MCCURLEY, RONALD               SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST       MS 39083‐3007
MCCURLEY, TOMMY                9118 OLD DIXIE HWY APT T                                                                  LAKE PARK        FL 33403‐1300
MCCURRY DON                    47113 GLASTONBURY DR                                                                      CANTON           MI 48188‐6244
MCCURRY FREDERICK B (439315)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                               STREET, SUITE 600
MCCURRY II, WALT P             444 COUNTY ROAD 436                                                                       HILLSBORO       AL 35643‐4117
MCCURRY JR, DONALD J           47113 GLASTONBURY DR                                                                      CANTON          MI 48188‐6244
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Name                             Address1                       Address2                      Address3                   Address4              City                State Zip
MCCURRY NELL                     275 WINDLAKE LN                                                                                               WEST MONROE          LA 71291‐0902
MCCURRY SHELIA D                 1981 CARPENTER BRIDGE RD                                                                                      COLUMBIA             TN 38401‐7613
MCCURRY, BOBBY J                 1327 EDGEWOOD DR                                                                                              PULASKI              TN 38478‐9058
MCCURRY, CINDY B                 444 COUNTY ROAD 436                                                                                           HILLSBORO            AL 35643‐4117
MCCURRY, DOUGLAS F               33651 GLEN ST                                                                                                 WESTLAND             MI 48186‐4595
MCCURRY, FAYE                    114 MORRIS RD                                                                                                 ERWIN                TN 37650‐9284
MCCURRY, FRANK                   5 HIGHLAND ST                                                                                                 FRANKLIN             OH 45005‐1724
MCCURRY, FREDERICK B             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                    NORFOLK              VA 23510‐2212
                                                                STREET, SUITE 600
MCCURRY, JAMES H                 14400 E 13 MILE RD                                                                                            WARREN              MI   48088‐3284
MCCURRY, JAMES R                 26626 FLANAGAN RD                                                                                             ATHENS              AL   35614‐3000
MCCURRY, JAMEY C                 707 ST RT 725 #145                                                                                            CENTERVILLE         OH   45459
MCCURRY, JOHN                    550 BARTESTA BR.                                                                                              WHITEBURG           KY   41858‐9060
MCCURRY, JONN D                  1744 COVINGTON WOODS LAN                                                                                      LAKE ORION          MI   48360
MCCURRY, JOSHUA CRAIG            220 PLEASANT HILL BLVD                                                                                        FRANKLIN            OH   45005‐2669
MCCURRY, LINDA D                 31781 LITTLE RIVER RD                                                                                         TECUMSEH            OK   74873‐6520
MCCURRY, LYNDA G                 2022 ENGLEWOOD PL SW                                                                                          DECATUR             AL   35603‐2410
MCCURRY, MARY A                  86 MARQUETTE                                                                                                  PONTIAC             MI   48342‐1526
MCCURRY, MICHAEL D               136 HUNTFIELD WAY                                                                                             MOORESVILLE         NC   28117‐8701
MCCURRY, MICHAEL P               251 W 37TH ST                                                                                                 ANDERSON            IN   46013‐4206
MCCURRY, MICHAEL PATRICK         251 W 37TH ST                                                                                                 ANDERSON            IN   46013‐4206
MCCURRY, PATRICIA C              5920 STARMOUNT DR                                                                                             LAKELAND            FL   33810‐2285
MCCURRY, PENNY M                 26 E HUNTERS CREEK RD                                                                                         LAPEER              MI   48446‐9414
MCCURRY, RICKY L                 2022 ENGLEWOOD PL SW                                                                                          DECATUR             AL   35603‐2410
MCCURRY, ROGER D                 22058 PINEY CHAPEL RD                                                                                         ATHENS              AL   35614‐6614
MCCURRY, SHELIA D                1981 CARPENTER BRIDGE RD                                                                                      COLUMBIA            TN   38401‐7613
MCCURRY, WILLIAM M               6920 STARMOUNT DR                                                                                             LAKELAND            FL   33810‐2206
MCCURRY,JAMEY C                  707 ST RT 725 #145                                                                                            CENTERVILLE         OH   45459
MCCURRY‐DECK MOTORS, INC.        1740 US HIGHWAY 74A                                                                                           FOREST CITY         NC   28043‐9688
MCCURRY‐DECK MOTORS, INC.        PAUL DECK                      1740 US HIGHWAY 74A                                                            FOREST CITY         NC   28043‐9688
MCCURTER, MYRTLE F               813 MORGAN ST                                                                                                 CAMPBELL            MO   63933
MCCURTIS CARL (663696)           BRAYTON PURCELL                621 SW MORRISON ST STE 950                                                     PORTLAND            OR   97205‐3824
MCCURTIS, CARL                   BRAYTON PURCELL                621 SW MORRISON ST STE 950                                                     PORTLAND            OR   97205‐3824
MCCURTIS, LLOYD                  19101 EVERGREEN RD APT 1120    CAMBRIDGE TOWERS                                                               DETROIT             MI   48219‐2686
MCCUSKER JAMES                   MCCUSKER, JAMES                214 H OVERMOUNT DR                                                             W PATTERSON         NJ   07424
MCCUSKER, DONALD E               6581 CENTERLINE RD                                                                                            SARANAC             MI   48881‐9422
MCCUSKER, JAMES                  214 OVERMOUNT AVE APT H                                                                                       WEST PATERSON       NJ   07424‐3273
MCCUSKER, JOSEPH                 693 N GLENHURST DR                                                                                            BIRMINGHAM          MI   48009‐1159
MCCUSKER, JOSEPH R               261 FOXBURY ST                                                                                                COMMERCE TOWNSHIP   MI   48382‐4041
MCCUSKER, KAREN A                693 N GLENHURST DR                                                                                            BIRMINGHAM          MI   48009‐1159
MCCUSKER, PATRICK W              6107 ROCKING CHAIR RD                                                                                         GRAND BLANC         MI   48439‐7919
MCCUTCHEN DOYLE BROWN &          ENERSEN                        INTERNATIONAL TRADE BLDG      333 KEELUNG RD SECTION 1   TAIPEI 10548 TAIWAN
MCCUTCHEN DOYLE BROWN & ENERSE   INTERNATIONAL TRADE BLDG       TENTH FL STE 1009             333 KEELUNGRD SECTION 1    TAIPEI TAIWAN 110
                                                                                                                         TAIWAN
MCCUTCHEN JR, ERNIE M            23540 RADCLIFT ST                                                                                             OAK PARK            MI   48237‐2481
MCCUTCHEN, CHARLES H             17 EDWARD DR                                                                                                  SAINT CHARLES       MO   63304‐8523
MCCUTCHEN, CHRISTINE             955 E VAUGHN AVE                                                                                              GILBERT             AZ   85234‐5937
MCCUTCHEN, ERNIE M               8315 PINEHURST ST                                                                                             DETROIT             MI   48204‐3078
MCCUTCHEN, JAMES A               1075 N MILL ST                                                                                                NEW CASTLE          IN   47362
MCCUTCHEN, LILLIE C              1610 CORY DRIVE                                                                                               DAYTON              OH   45406‐5952
MCCUTCHEN, LILLIE C              1610 CORY DR                                                                                                  DAYTON              OH   45406‐5952
MCCUTCHEN, RALPH J               9204 E OUTER DR                                                                                               DETROIT             MI   48213‐4008
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Name                             Address1                          Address2                      Address3   Address4         City                 State Zip
MCCUTCHEN, RUBY E                3833 WINDSWEST CT                                                                           OKLAHOMA CITY         OK 73179‐3851
MCCUTCHEN, SHANE M               4510 MAPLETON DR                                                                            HOWELL                MI 48843
MCCUTCHEN, TAMARA
MCCUTCHEN, THOMAS                BERNSTEIN LAW FIRM                PO BOX 1692                                               NORMAN               OK   73070‐1692
MCCUTCHEN,SHANE M                4510 MAPLETON DR                                                                            HOWELL               MI   48843‐6863
MCCUTCHEN‐TRAVIS, TAMARA D       306 PARKERS DR                                                                              PORTLAND             MI   48875‐9537
MCCUTCHEN‐TRAVIS, TAMARA DAWN    306 PARKERS DR                                                                              PORTLAND             MI   48875‐9537
MCCUTCHEON, DEAN S               8 CALAHAN AVE                                                                               EDINBURG             TX   78541‐9245
MCCUTCHEON, DEAN S               8 CALAHAN DR.                                                                               EDINBURG             TX   78541‐8541
MCCUTCHEON, GEORGE M             1010 64TH STREET NORTHWEST                                                                  ALBUQUERQUE          NM   87121‐1205
MCCUTCHEON, JAMES                1110 MARK AVE                                                                               TOMAH                WI   54660‐1150
MCCUTCHEON, JAMES G
MCCUTCHEON, JOSEPH R             3610 DRESDEN RD                                                                             ZANESVILLE           OH   43701‐1212
MCCUTCHEON, KATHLEEN             KENNEY KANALEY SHELTON & LIPTAK   14 LAFAYETTE SQ STE 510                                   BUFFALO              NY   14203‐1905
MCCUTCHEON, LYNDA                1917 WESTWIND DR                                                                            SANDUSKY             OH   44870‐7067
MCCUTCHEON, MARY E               500 E 4TH ST APT 205                                                                        SALEM                OH   44460‐2948
MCCUTCHEON, ROBERT E             624 CHATMAN HILL RD                                                                         VALHERMOSO SPRINGS   AL   35775
MCCUTCHEON, WILLIAM C            206 OLEANDER CT                                                                             PANAMA CITY BEACH    FL   32413‐2611
MCDADE DEXTER                    NO ADVERSE PARTY
MCDADE ERIN                      MCDADE, ERIN                      1353 BOCKIUS AVENUE                                       ABINGTON             PA   19001‐3405
MCDADE ERIN                      MCDADE, KATHLEEN                  1353 BOCKIUS AVENUE                                       ABINGTON             PA   19001‐3405
MCDADE HOUSE THE                 1825 WARRINGTON PL                                                                          SHREVEPORT           LA   71101‐4427
MCDADE LARRY                     4011 E ACEQUIA AVE                                                                          VISALIA              CA   93292‐9093
MCDADE MICHELLE                  MCDADE, MICHELLE                  102 RIDGEWAY DR                                           SCRANTON             PA   18504
MCDADE, CHARLES                  611 JUPITER DR                                                                              DENTON               TX   76209‐8006
MCDADE, CHARLES N                170 RIVERSIDE DR                                                                            TROY                 OH   45373‐1410
MCDADE, CLINTON                  819 LOCHRIDGE RD                                                                            CHARLOTTE            NC   28209‐4751
MCDADE, DOROTHY R                4500 CENTER AVE                                                                             LYONS                IL   60534‐1924
MCDADE, ERIN                     1353 BOCKIUS AVE                                                                            ABINGTON             PA   19001‐3405
MCDADE, JAMES E                  PO BOX 320635                                                                               FLINT                MI   48532‐0011
MCDADE, KATHLEEN                 1353 BOCKIUS AVE                                                                            ABINGTON             PA   19001‐3405
MCDADE, KELLIE R                 52288 COUNTY ROAD 13                                                                        ELKHART              IN   46514‐8335
MCDADE, MARILYN F                228 AUKERMAN ST                                                                             EATON                OH   45320‐1913
MCDADE, MARILYN F                228 N. AUKERMAN ST                                                                          EATON                OH   45320‐1913
MCDADE, MICHAEL A                2535 HAMILTON PARC LN                                                                       BUFORD               GA   30519
MCDADE, MICHELLE                 102 RIDGEVIEW DR                                                                            SCRANTON             PA   18504‐1072
MCDADE, MICHELLE & MCDADE MARK   102 RIDGEWAY DR                                                                             SCRANTON             PA   18504
MCDADE, ORVILLE                  228 AUKERMAN ST                                                                             EATON                OH   45320‐1913
MCDADE, SHEILA M                 1815 BELLEFONTAINE ST                                                                       INDIANAPOLIS         IN   46202‐1814
MCDADE, VICTOR A                 67 N WAVERLY RD                                                                             EATON RAPIDS         MI   48827‐9735
MCDAID, DAVID J                  11231 W SAINT CHARLES RD                                                                    SUMNER               MI   48889‐9702
MCDANELD IVAN E (626649)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA   23510
                                                                   STREET, SUITE 600
MCDANELD, IVAN E                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                                   STREET, SUITE 600
MCDANELL, CHARLES R              5353 W COUNTY ROAD 600 S                                                                    MUNCIE               IN 47302‐8845
MCDANIEL BOBBY EARL (510921)     PORTER & MALOUF PA                4670 MCWILLIE DR                                          JACKSON              MS 39206‐5621
MCDANIEL CARL L (402212)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                   STREET, SUITE 600
MCDANIEL CHARLES (466427)        ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                BALTIMORE            MD 21202
                                                                   CHARLES CENTER 22ND FLOOR
MCDANIEL CHEVROLET, INC.         1065 MOUNT VERNON AVE                                                                       MARION               OH 43302‐5536
                                     09-50026-mg              Doc 7123-27    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                                 Address1                         Address2                          Address3   Address4         City            State Zip
MCDANIEL CHEVROLET, INC.             MICHAEL MCDANIEL                 1065 MOUNT VERNON AVE                                         MARION           OH 43302‐5536
MCDANIEL ELIJAH B (637955)           ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                      WILMINGTON       DE 19801‐1813
MCDANIEL FAMILY TRUST B              EVANGELINE MCDANIEL TTEE         10817 GLENDALE DRIVE                                          DENTON           TX 76207
MCDANIEL FIRE SYSTEMS                1055 W JOLIET RD                                                                               VALPARAISO       IN 46385‐4526
MCDANIEL FIRE SYSTEMS INC            1055 JOLIET RD                                                                                 VALPARAISO       IN 46385‐4526
MCDANIEL FRED                        7 WINDING WOOD CT                                                                              BLYTHEWOOD       SC 29016‐7820
MCDANIEL FREDRICK CURTIS (493991)    BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                                DALLAS           TX 75219
MCDANIEL I I, GEORGE W               360 FAIRWAY DR                                                                                 FAIRBORN         OH 45324‐4122
MCDANIEL II, GEORGE W                5136 PEPPER DR                                                                                 HUBER HEIGHTS    OH 45424‐6045
MCDANIEL JR, ARTHUR                  14200 SOUTHFIELD FWY                                                                           DETROIT          MI 48223‐3586
MCDANIEL JR, CHARLES E               1111 WEARS VALLEY RD                                                                           PIGEON FORGE     TN 37863‐7709
MCDANIEL JR, O K                     4209 ROSEWOOD AVE                                                                              RICHMOND         CA 94804‐4476
MCDANIEL JR, OTTIS J                 9265 FULMER RD                                                                                 MILLINGTON       MI 48746‐9703
MCDANIEL JR, SCOTT                   PO BOX 310084                                                                                  FLINT            MI 48531‐0084
MCDANIEL LARRY                       1717 KEITH ST NW                                                                               CLEVELAND        TN 37311‐4304
MCDANIEL LEE E                       MCDANIEL, LEE E                  237 N SYCAMORE ST                                             PETERSBURG       VA 23803‐3227
MCDANIEL MACH/AL                     187 CAHABA VALLEY PKWY                                                                         PELHAM           AL 35124‐1144
MCDANIEL MARLENE ELAINE              3907 CEDAR RIDGE RD              APT 1B                                                        INDIANAPOLIS     IN 46235‐4946
MCDANIEL OTIS (ESTATE OF) (489147)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD       OH 44067
                                                                      PROFESSIONAL BLDG
MCDANIEL PAUL K                      MCDANIEL, HOUSTON TYLER          12TH FLOOR PARKCENTRE BUILDING                                TULSA           OK 74103
                                                                      525 SOUTH MAIN
MCDANIEL PAUL K                      MCDANIEL, HUNTER RILEY           12TH FLOOR PARKCENTRE BUILDING                                TULSA           OK 74103
                                                                      525 SOUTH MAIN
MCDANIEL PAUL K                      MCDANIEL, PAUL K                 12TH FLOOR PARKCENTRE BUILDING                                TULSA           OK 74103
                                                                      525 SOUTH MAIN
MCDANIEL PROPERTIES                  PO BOX 97027                                                                                   FAYETTEVILLE    NC   28304‐7027
MCDANIEL RON                         MCDANIEL, RON                    15 BERMUDA COURT                                              COVINGTON       GA   30016‐7619
MCDANIEL RUSSELL                     MCDANIEL, RUSSELL                10413 MERCURY DRIVE                                           INDIANAPOLIS    IN   46229
MCDANIEL STERLING                    6802 LINKSIDE CT                                                                               CHARLOTTE       NC   28277‐0393
MCDANIEL TAYLOR                      11234 FENWAY RD. #679                                                                          HAGERSTOWN      MD   21740
MCDANIEL TODD N                      MCDANIEL, TODD N                 16855 WEST BERNARDO DRIVE SUITE                               SAN DIEGO       CA   92127
                                                                      380
MCDANIEL WILLIAM P JR (429416)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                      STREET, SUITE 600
MCDANIEL, A G                        300 POPLAR ST                                                                                  BUFORD          GA   30518‐2816
MCDANIEL, ALEXANDER                  2682 DA VINCI BLVD                                                                             DECATUR         GA   30034‐3100
MCDANIEL, ALFRED DENNIS              SHANNON LAW FIRM                 100 W GALLATIN ST                                             HAZLEHURST      MS   39083‐3007
MCDANIEL, ALICE L                    6326 SOUTHCREST DR                                                                             SHREVEPORT      LA   71119‐7244
MCDANIEL, ANDREW L                   12046 IRONWOOD DR                                                                              OTISVILLE       MI   48463
MCDANIEL, ANNALYN R                  137 SENTRY CT                                                                                  WINDER          GA   30680‐1798
MCDANIEL, ANTHONY                    APT 202                          6565 MAPLEWOOD ROAD                                           CLEVELAND       OH   44124‐1939
MCDANIEL, APRIL D                    547 COUNTRY CLUB SQUARE DR                                                                     CAMERON         MO   64429‐9719
MCDANIEL, ARLENE D                   2020 NORTHLAWN BLVD                                                                            BIRMINGHAM      MI   48009‐1887
MCDANIEL, ARTHUR                     APT 202                          6565 MAPLEWOOD ROAD                                           CLEVELAND       OH   44124‐1939
MCDANIEL, AUDREY                     939 N KEALING AVE                                                                              INDIANAPOLIS    IN   46201‐2523
MCDANIEL, AUDREY                     939 NORTH KEALING AVENUE                                                                       INDIANAPOLIS    IN   46201‐2523
MCDANIEL, BARBARA                    1610 NORTH CRITTENDON                                                                          BRIDGEPORT      TX   76426
MCDANIEL, BARBARA A                  PO BOX 279                       1688 E ST                                                     SPRING VALLEY   OH   45370‐0279
MCDANIEL, BARBARA A                  1688 E ST PO BOX 279                                                                           SPRING VALLEY   OH   45370‐0279
MCDANIEL, BARBARA A                  2892 LEVEL RIDGE RD SE                                                                         ATLANTA         GA   30354‐2444
MCDANIEL, BARBARA M                  22 N SHETLAND CT                                                                               HIGHLAND        MI   48357‐3774
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Name                     Address1                         Address2                      Address3   Address4         City               State Zip
MCDANIEL, BARBARA W      4892 HULL RD SE                                                                            CONYERS             GA 30094‐4323
MCDANIEL, BARNEY D       10097 E VALLEYSIDE LN                                                                      TRAVERSE CITY       MI 49684‐9568
MCDANIEL, BETTY E        705 GARFIELD AVE                                                                           LANSING             MI 48917‐9245
MCDANIEL, BETTY E        204 E MOUNT HOPE AVE                                                                       LANSING             MI 48910‐9158
MCDANIEL, BETTY L        404 EAST GREENLAWN AVENUE                                                                  LANSING             MI 48910‐3009
MCDANIEL, BETTY L        404 E GREENLAWN AVE                                                                        LANSING             MI 48910‐3009
MCDANIEL, BEVELY         1906 SANFORD ST                                                                            SAGINAW             MI 48601‐7504
MCDANIEL, BILLY R        2811 MOORESVILLE HWY                                                                       LEWISBURG           TN 37091‐6816
MCDANIEL, BOBBY EARL     PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON             MS 39206‐5621
MCDANIEL, BRADLEY A      237 FOX CHASE BLVD                                                                         GRAND BLANC         MI 48439‐7035
MCDANIEL, BRENDA B       1374 BOWENS MILL HWY                                                                       FITZGERALD          GA 31750‐7016
MCDANIEL, BRENDA BYRNE   1374 BOWENS MILL HWY                                                                       FITZGERALD          GA 31750
MCDANIEL, C W            2306 BLADES AVE                                                                            FLINT               MI 48503‐5878
MCDANIEL, CALIE L        105 PIPER AVE                                                                              FLINT               MI 48505
MCDANIEL, CALVIN L       74 HOLLIS TER NW                                                                           ATLANTA             GA 30311‐1214
MCDANIEL, CARL L         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
MCDANIEL, CAROLYN M      204 PRINCETON LN                                                                           LOGANSPORT         IN   46947‐2326
MCDANIEL, CAROLYN S      113 MIMOSA CT                                                                              HAMILTON           OH   45013‐5625
MCDANIEL, CARRIE L       4161 FIELD MASTER DR                                                                       ZIONSVILLE         IN   46077‐8280
MCDANIEL, CECIL          GUY WILLIAM S                    PO BOX 509                                                MCCOMB             MS   39649‐0509
MCDANIEL, CHARLES        ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                 BALTIMORE          MD   21202
                                                          CHARLES CENTER 22ND FLOOR
MCDANIEL, CHARLES B      1866 NEW LEWISBURG HWY                                                                     COLUMBIA           TN   38401‐8107
MCDANIEL, CHARLES R      5741 GALLAGHER DR                                                                          GREENWOOD          IN   46142‐7611
MCDANIEL, CHARLES R      N3562 HWY U                                                                                MERRIMAC           WI   53561
MCDANIEL, CHARLES T      8121 DODGE RD                                                                              OTISVILLE          MI   48463‐9453
MCDANIEL, CHESTER L      3584 S 850 E                                                                               WALTON             IN   46994
MCDANIEL, CHOYCE L       2101 BONANZA DR                                                                            SACHSE             TX   75048‐2917
MCDANIEL, CHRISTENE      GILBREATH LAW FIRM               605 S 21ST ST                                             FORT SMITH         AR   72901‐3914
MCDANIEL, CHRISTENE      DUNCAN & RAINWATER P A           PO BOX 17250                                              LITTLE ROCK        AR   72222‐7250
MCDANIEL, CLARA M        208 CETRA STREET                                                                           SEBRING            FL   33872‐4369
MCDANIEL, CLAUDE A       6475 TURNER RD                                                                             FLUSHING           MI   48433‐9251
MCDANIEL, CLAYTON        1728 CATES RD                                                                              LAWRENCEBURG       TN   38464‐8252
MCDANIEL, CLENTON J      257 E YORK AVE                                                                             FLINT              MI   48505‐2146
MCDANIEL, CONNIE E       14714 KEY RIDGE RD                                                                         NEWALLA            OK   74857‐8730
MCDANIEL, DANIEL A       9933 CANOPY LN                                                                             FORT WAYNE         IN   46835‐9330
MCDANIEL, DANIEL A       10481 GRAYSTONE CV                                                                         NEW HAVEN          IN   45774‐2191
MCDANIEL, DANNY L        204 N EAST ST                                                                              PLAINFIELD         IN   46168‐1120
MCDANIEL, DARLENA M      5587 MC CUE RD                                                                             HOLT               MI   48842‐9646
MCDANIEL, DARLENA M      5587 MCCUE RD                                                                              HOLT               MI   48842‐9646
MCDANIEL, DARREL E       1512 E SUNVALE TER                                                                         OLATHE             KS   66062‐2105
MCDANIEL, DAVID A        12078 N CEDARVIEW DR                                                                       MOORESVILLE        IN   46158‐6833
MCDANIEL, DAVID E        5923 TAMRACK RD                                                                            OSCODA             MI   48750‐9259
MCDANIEL, DAVID E        521 ALDRICH ST                                                                             LINDEN             MI   48451‐8908
MCDANIEL, DAVID L        406 SW 9TH ST                                                                              BLUE SPRINGS       MO   64015‐4239
MCDANIEL, DEBBIE B       143 S WRIGHT AVE                                                                           DAYTON             OH   45403
MCDANIEL, DEBORAH M      800 LINCOLN DR                                                                             SHREVEPORT         LA   71107‐3116
MCDANIEL, DEBORAH MARY   800 LINCOLN DR                                                                             SHREVEPORT         LA   71107‐3116
MCDANIEL, DELOIS A       APT 4                            34764 FREEDOM ROAD                                        FARMINGTN HLS      MI   48335‐4011
MCDANIEL, DELOIS A       34764 FREEDOM RD                 APT 4                                                     FARMINGTON HILLS   MI   48335‐4011
MCDANIEL, DERRICK A      137 LOCH NESS LANE                                                                         BESSEMER           AL   35023‐2725
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Name                        Address1                        Address2                        Address3   Address4         City             State Zip
MCDANIEL, DESTINY           9057 JUNCTION LN                                                                            FREDERICKTOWN     MO 63645‐9287
MCDANIEL, DIANE M           4110 BALD MOUNTAIN RD                                                                       AUBURN HILLS      MI 48326‐1845
MCDANIEL, DIAZ T            19602 LIBBY RD                                                                              MAPLE HEIGHTS     OH 44137‐2356
MCDANIEL, DIXIE L           2439 RUGBY RD                                                                               DAYTON            OH 45406‐2131
MCDANIEL, DIXIE L           2439 RUGBY ROAD                                                                             DAYTON            OH 45406‐2131
MCDANIEL, DONALD D          PO BOX 392                                                                                  HAVRE DE GRACE    MD 21078‐0392
MCDANIEL, DONALD L          151 SADIE LN                                                                                SPRINGTOWN        TX 76082‐4915
MCDANIEL, DONNA             7014 A C SKINNER PKWY STE 200                                                               JACKSONVILLE      FL 32256‐6900
MCDANIEL, DONNIE G          6953 N MECHANICSBURG RD                                                                     MIDDLETOWN        IN 47356‐9763
MCDANIEL, DOROTHY M         2985 LESLIE ST                                                                              DETROIT           MI 48238‐3305
MCDANIEL, DOROTHY M         2985 LESLIE                                                                                 DETROIT           MI 48238‐3305
MCDANIEL, DOROTHY SUE       3700 TRAIL‐ON RD                                                                            MORAINE CITY      OH 45439‐1154
MCDANIEL, DOROTHY SUE       3700 TRAIL ON RD                                                                            MORAINE           OH 45439‐1154
MCDANIEL, DUSTIN L          9 FOXDALE WAY                                                                               DALLAS            GA 30132‐9183
MCDANIEL, EDDIE L           3000 MAXWELL AVE                                                                            OAKLAND           CA 94619‐3373
MCDANIEL, EDMOND T          205 CHESTNUT ST                                                                             LITTLE SIOUX       IA 51545‐3072
MCDANIEL, ELBERT            1536 GIESEKING LN                                                                           SAINT LOUIS       MO 63147‐1320
MCDANIEL, ELEANOR O         296 SHADECREST DR                                                                           EASTABOGA         AL 36260‐5214
MCDANIEL, ELEANOR O         296 SHADE CREST DR                                                                          EASTABOGA         AL 36260‐5214
MCDANIEL, ELGIN L           4811 GLENN AVE                                                                              FLINT             MI 48505‐3159
MCDANIEL, ELIGE             5217 ROCKRIDGE CT                                                                           ANTIOCH           TN 37013‐2954
MCDANIEL, ELIJAH B          ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                    WILMINGTON        DE 19801‐1813
MCDANIEL, ELLA F            1130 LEWIS RIDGE CR                                                                         LAWRENCEVILLE     GA 30042
MCDANIEL, ERNEST J          4249 GERMANTOWN PK                                                                          DAYTON            OH 45418‐2156
MCDANIEL, ETHEL M           7929 WYNBROOK LANE                                                                          MECHANICSVILLE    VA 23111‐3518
MCDANIEL, EUGENE A          2309 PONDVIEW DR                                                                            KETTERING         OH 45440‐2320
MCDANIEL, FERRELL H         300 POPLAR ST                                                                               BUFORD            GA 30518‐2816
MCDANIEL, FLOY              660 OLD GEORGETOWN RD NW                                                                    CLEVELAND         TN 37312‐7131
MCDANIEL, FRANK C           1374 BOWENS MILL HWY                                                                        FITZGERALD        GA 31750
MCDANIEL, FRANKIE           711 GREENFIELD AVE                                                                          FLINT             MI 48503‐2224
MCDANIEL, FRANKLIN D        4399 SANDY HILL RD                                                                          BUFORD            GA 30519‐3730
MCDANIEL, FRED J            367 E BALTIMORE BLVD                                                                        FLINT             MI 48505‐3375
MCDANIEL, FREDERICK P       481 MCGUERIN ST                                                                             DAYTON            OH 45431‐1944
MCDANIEL, FREDRICK CURTIS   BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                               DALLAS            TX 75219
MCDANIEL, GARY L            2000 LESTER RD NW                                                                           CONYERS           GA 30012‐3475
MCDANIEL, GARY L            427 E PONDVIEW DR                                                                           MORRICE           MI 48857‐8726
MCDANIEL, GARY R            5261 HORSESHOE DR                                                                           LEWISBURG         OH 45338‐8923
MCDANIEL, GENEVA L          360 COUNTY ROAD #3317                                                                       JACKSONVILLE      TX 75766
MCDANIEL, GENNET            2825 SILVER PINE LN                                                                         SHREVEPORT        LA 71108‐5543
MCDANIEL, GERALD L          15450 W RIVER VALLEY RD                                                                     ANDERSON          IN 46012‐9301
MCDANIEL, GERTRUDE          3614 PROVIDENCE ST                                                                          FLINT             MI 48503‐7002
MCDANIEL, GLADYS J          802 JOHNSON AVENUE                                                                          MIAMISBURG        OH 45342‐3021
MCDANIEL, GLENN A           4143 WINTER HUE LN                                                                          DAVISON           MI 48423‐8932
MCDANIEL, HENRY L           158 KING ARTHUR DR                                                                          LAWRENCEVILLE     GA 30045‐4754
MCDANIEL, HILDA             C/O JO ANNA SMITH               111 E 12TH ST                                               GEORGETOWN         IL 61846
MCDANIEL, HILDA             111 EAST 12TH STREET                                                                        GEORGETOWN         IL 61846‐1114
MCDANIEL, HINDS C           1425 WAGON WHEEL LN                                                                         GRAND BLANC       MI 48439‐4867
MCDANIEL, HOUSTON R
MCDANIEL, HOUSTON TYLER     RICHARDS & CONNOR               12TH FLOOR MAIN BUILDING                                    TULSA            OK 74103
                                                            PARKCENTRE
MCDANIEL, HUNTER            AGE 4
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Name                      Address1                        Address2                         Address3   Address4         City              State Zip
MCDANIEL, HUNTER RILEY    RICHARDS & CONNOR               12TH FLOOR MAIN BUILDING                                     TULSA              OK 74103
                                                          PARKCENTRE
MCDANIEL, IMOGENE         351 E PHILADELPHIA BLVD                                                                      FLINT             MI   48505‐3359
MCDANIEL, INEZ            APT 1034                        1000 CANOPY WALK LANE                                        PALM COAST        FL   32137‐6546
MCDANIEL, INEZ            1000 CANOPY WALK LN APT 1034                                                                 PALM COAST        FL   32137‐6546
MCDANIEL, IRENE H         2210 THORNDALE DRIVE                                                                         LILBURN           GA   30047
MCDANIEL, J C             351 E. PHILADELPHIA BLD                                                                      FLINT             MI   48505
MCDANIEL, JAMES A         9669 W LEITER RD                                                                             REMUS             MI   49340‐9412
MCDANIEL, JAMES G         11 SOUTH WATER                                                                               LIBERTY           MO   64068
MCDANIEL, JAMES L         406 ARLINGTON DR                                                                             WEST MONROE       LA   71291‐9783
MCDANIEL, JAMES LEE       406 ARLINGTON DRIVE                                                                          WEST MONROE       LA   71291‐9783
MCDANIEL, JAMES P         6002 FLY HOLLOW RD                                                                           SANTA FE          TN   38482‐3101
MCDANIEL, JANET           8121 DODGE RD                                                                                OTISVILLE         MI   48463‐9453
MCDANIEL, JANET L         2087 ROLAND AVE                                                                              FLINT             MI   48532‐3920
MCDANIEL, JANET LUCILE    2087 ROLAND AVE                                                                              FLINT             MI   48532‐3920
MCDANIEL, JANET T.        125 S MUSTIN DR                                                                              ANDERSON          IN   46012‐3155
MCDANIEL, JANET T.        125 S. MUSTIN DR.                                                                            ANDERSON          IN   46012‐3155
MCDANIEL, JASPER          PEARLMAN TREVOR                 SPB BUILDING, 3110 WEBB AVENUE                               DALLAS            TX   75205

MCDANIEL, JAUNIECE        3634 E 61ST ST                                                                               KANSAS CITY       MO   64130‐4429
MCDANIEL, JERRY E         307 N MAPLE ST                                                                               WALTON            IN   46994‐4161
MCDANIEL, JIMMIE L        11333 SUGAR PINE DR APT 311                                                                  FLORISSANT        MO   63033‐6715
MCDANIEL, JOANN           8400 RIDGE RD                                                                                GOODRICH          MI   48438‐8840
MCDANIEL, JOE A           PO BOX 232                                                                                   DARLINGTON        IN   47940‐0232
MCDANIEL, JOE BEN         GILBREATH LAW FIRM              605 S 21ST ST                                                FORT SMITH        AR   72901‐3914
MCDANIEL, JOHN D          2800 ROCKFORD CT S.                                                                          KOKOMO            IN   46902‐3205
MCDANIEL, JOHN E          14193 NOLA ST                                                                                LIVONIA           MI   48154
MCDANIEL, JOHN E          PO BOX 6976                                                                                  CINCINNATI        OH   45206‐0976
MCDANIEL, JOHN G          2068 SINGERLY RD                                                                             ELKTON            MD   21921‐3641
MCDANIEL, JOHN H          2242 AUTUMN TRACE PKWY                                                                       WENTZVILLE        MO   63385‐3060
MCDANIEL, JOHN HIRAM      2242 AUTUMN TRACE PKWY                                                                       WENTZVILLE        MO   63385‐3060
MCDANIEL, JOHN P          GUY WILLIAM S                   PO BOX 509                                                   MCCOMB            MS   39649‐0509
MCDANIEL, JOHN R          4029 RACE ST                                                                                 FLINT             MI   48504‐2237
MCDANIEL, JOHNNIE S       3098 GEHRING DR                                                                              FLINT             MI   48506‐2262
MCDANIEL, JOHNNY EDWARD   6488 TARHEEL DR                                                                              VALE              NC   28168‐8988
MCDANIEL, JON A           4416 COUNTY ROAD 19                                                                          AUBURN            IN   46706‐9547
MCDANIEL, JOSEPH          3602 JANEWAY DR                                                                              FLORENCE          AL   35634‐2940
MCDANIEL, JOSEPH C        2294 COVERT RD                                                                               BURTON            MI   48509‐1062
MCDANIEL, JOSEPH CURRY    2294 COVERT RD                                                                               BURTON            MI   48509‐1062
MCDANIEL, JOSEPH E        2002 DEL WEBB BLVD E                                                                         SUN CITY CENTER   FL   33573‐6923
MCDANIEL, JOSEPH P        2180 FARNSWORTH RD                                                                           LAPEER            MI   48446‐8612
MCDANIEL, JUANITA T       PO BOX 392                                                                                   LAPEL             IN   46051‐0392
MCDANIEL, KENNETH D       871 BURNS ST                                                                                 MANSFIELD         OH   44903‐1064
MCDANIEL, KENNETH R       667 OLD GILMER RD                                                                            TAYLORSVILLE      MS   39168‐4949
MCDANIEL, KENNETH S       2012 BROOKS RD                                                                               DACULA            GA   30019‐2576
MCDANIEL, KEVIN           2820 CLEMENT ST                                                                              FLINT             MI   48504‐3028
MCDANIEL, KRISTIN L       4538 CRAFTSBURY CIR APT D                                                                    FORT WAYNE        IN   46818‐2052
MCDANIEL, LACIE
MCDANIEL, LARRY A         800 LINCOLN DR                                                                               SHREVEPORT        LA   71107‐3116
MCDANIEL, LARRY E         11801 TILBURY CT                                                                             OKLAHOMA CITY     OK   73162‐1747
MCDANIEL, LAWRENCE T      4833 FERN GROVE COURT                                                                        GROVEPORT         OH   43125‐3125
MCDANIEL, LELAND R        2605 E BEECHWOOD TRL                                                                         MORRISTOWN        IN   46161‐9612
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Name                            Address1                         Address2                 Address3      Address4         City            State Zip
MCDANIEL, LELIA I               2120 DUNWOODIE CT                C/O JACQULYN K MURRAY    PO BOX 71                      ORTONVILLE       MI 48462‐8564
MCDANIEL, LETCHER               4172 INFERMARY RD                                                                        MIAMISBURG       OH 45342‐1228
MCDANIEL, LETCHER               4172 INFIRMARY RD                                                                        MIAMISBURG       OH 45342‐1228
MCDANIEL, LINDA K               PO BOX 25                                                                                BURLESON         TX 76097‐0025
MCDANIEL, LINDA KAYE            PO BOX 25                                                                                BURLESON         TX 76097‐0025
MCDANIEL, LINDSEY N             1136 HIGHWAY 3248                                                                        MANSFIELD        LA 71052‐4662
MCDANIEL, LLOYD WINFORD         SHANNON LAW FIRM                 100 W GALLATIN ST                                       HAZLEHURST       MS 39083‐3007
MCDANIEL, LONZO                 370 SHELL ST                                                                             SAVANNAH         TN 38372‐1526
MCDANIEL, LUTHER                5108 GLENSIDE DR                                                                         KANSAS CITY      MO 64129‐1950
MCDANIEL, LUTHER F              418 SUNSET LN                                                                            MOREHEAD         KY 40351‐8868
MCDANIEL, MADELINE B            3131 GEROGE ST.                  APT. #208                                               LOGANSPORT       IN 46947
MCDANIEL, MAGGIE MAE            1447 BAYONNE DRIVE                                                                       ST LOUIS         MO 63138‐2434
MCDANIEL, MARGARET A            2193 BOAT RAMP ROAD                                                                      AUSTIN           KY 42123
MCDANIEL, MARGIE L              710 W. CO. RD. 400 S.                                                                    KOKOMO           IN 46902
MCDANIEL, MARK A                3130 E SHOCKLEY RD                                                                       MUNCIE           IN 47302‐8614
MCDANIEL, MARK E                11688 STATE ROUTE 730                                                                    BLANCHESTER      OH 45107‐8714
MCDANIEL, MARK R                2213 RENSHAW AVE                                                                         DAYTON           OH 45439‐3033
MCDANIEL, MARK W                607 DRAHNER ST                                                                           EATON RAPIDS     MI 48827‐2008
MCDANIEL, MARLENE               3907 CEDAR RIDGE RD              APT 1B                                                  INDIANAPOLIS     IN 46235‐4945
MCDANIEL, MARLENE               536 BEECHWOOD ST                                                                         RIVER ROUGE      MI 48218‐1021
MCDANIEL, MARTHA                7199 KALKASKA DR                                                                         DAVISON          MI 48423‐2385
MCDANIEL, MARTHA M              4245 BROWNING CHASE DR           C/O SHIRLEY E MCDANIEL                                  TUCKER           GA 30084‐6444
MCDANIEL, MARY
MCDANIEL, MARY ALICE            106 BATTLE RIDGE CT                                                                      NINETY SIX      SC   29666‐8408
MCDANIEL, MARY F                10567 E 1100 N                                                                           MARKLEVILLE     IN   46056‐9614
MCDANIEL, MARY L.               3935 N MICHIGAN #13                                                                      SAGINAW         MI   48604‐1876
MCDANIEL, MARY P                51 CONNER LN                                                                             UNION CITY      GA   30291‐2433
MCDANIEL, MATTIE C              4029 RACE ST                                                                             FLINT           MI   48504‐2237
MCDANIEL, MAURICE               8903 BERGESON DR                                                                         INDIANAPOLIS    IN   46278‐1197
MCDANIEL, MAX N                 2770 GILES MILL RD                                                                       BUNKER HILL     WV   25413‐2746
MCDANIEL, MELVIN                8833 OLD KINGS RD S APT 109                                                              JACKSONVILLE    FL   32257‐5350
MCDANIEL, MICHAEL               1262 BELLUNE DR                                                                          CINCINNATI      OH   45231‐3265
MCDANIEL, MICHAEL               718 RUNNING DEER DR                                                                      COLUMBIA        TN   38401‐8002
MCDANIEL, MICHAEL B             4821 SULLIVAN ST                                                                         BOSSIER CITY    LA   71111‐2644
MCDANIEL, MILTON                GUY WILLIAM S                    PO BOX 509                                              MCCOMB          MS   39649‐0509
MCDANIEL, MYRTLE C              3869 NIKKI LN                                                                            LOGANVILLE      GA   30052‐4385
MCDANIEL, MYRTLE C              3869 NIKKI LANE SW                                                                       LOGANVILLE      GA   30052‐4385
MCDANIEL, NAOMI L               2903 PITT ST                                                                             ANDERSON        IN   46016‐5657
MCDANIEL, NAOMI R               1281 GRAYS CHAPEL RD                                                                     SOUTHSIDE       TN   37171‐9078
MCDANIEL, NICOLE L              8850 MAY AVE                                                                             SAINT LOUIS     MO   63136‐3814
MCDANIEL, OLIVIA                2212 STONE STREET                                                                        SAGINAW         MI   48602
MCDANIEL, OTIS A                806 E ALMA AVE                                                                           FLINT           MI   48505‐2226
MCDANIEL, PAMELA E              911 MONTGOMERY ST                                                                        EATON RAPIDS    MI   48827‐1751
MCDANIEL, PATRICIA A            103 N MULBERRY ST                                                                        CORNERSVILLE    TN   37047‐4206
MCDANIEL, PATRICIA A            49 WARM SPRINGS AVE                                                                      MARTINSBURG     WV   25404‐3888
MCDANIEL, PATRICIA ANN WRIGHT   103 MULBERRY ST NORTH                                                                    CORNERSVILLE    TN   37047
MCDANIEL, PATRICIA E            480 HANOVER ST                                                                           BOWLING GREEN   KY   42101‐5286
MCDANIEL, PATRICIA ELAINE       480 HANOVER ST                                                                           BOWLING GREEN   KY   42101‐5286
MCDANIEL, PATRICIA J            3584 S COUNTY ROAD 850 E                                                                 WALTON          IN   46994‐9194
MCDANIEL, PAUL C                6216 GROVENBURG ROAD                                                                     LANSING         MI   48911‐5408
MCDANIEL, PAUL C                PO BOX 14285                                                                             LANSING         MI   48901‐4285
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Name                        Address1                        Address2                            Address3   Address4         City             State Zip
MCDANIEL, PAUL K            RICHARDS & CONNOR               12TH FLOOR MAIN BUILDING                                        TULSA             OK 74103
                                                            PARKCENTRE
MCDANIEL, PHYLLIS A         27737 PINE POINT DR PMB 1011                                                                    WESLEY CHAPEL    FL   33544‐8761
MCDANIEL, PHYLLIS B         3602 JANEWAY DR                                                                                 FLORENCE         AL   35634‐2940
MCDANIEL, PHYLLIS M         4070 LA FOREST                                                                                  WATERFORD        MI   48329‐1215
MCDANIEL, PHYLLIS M         4070 LAFOREST DR                                                                                WATERFORD        MI   48329‐1215
MCDANIEL, PHYLLIS T         1513 E 45TH ST                                                                                  ANDERSON         IN   46013‐2519
MCDANIEL, RALPH J           5540 WADSWORTH RD                                                                               DAYTON           OH   45414‐3410
MCDANIEL, RAY G             6114 SUN VALLEY DR                                                                              GRAND BLANC      MI   48439‐9166
MCDANIEL, RAYMOND           1420 PERRY ROAD                 BLDG 5                              APT 5                       GRAND BLANC      MI   48439
MCDANIEL, RAYMOND           330 POND LICK                                                                                   MOREHEAD         KY   40351‐9531
MCDANIEL, RAYMOND E         1017 AGNES AVE                                                                                  KANSAS CITY      MO   64127‐1328
MCDANIEL, RAYMOND E         27737 PINE POINT DR PMB 1011                                                                    WESLEY CHAPEL    FL   33544‐8761
MCDANIEL, RICHARD D         6070 E MAPLE AVE                                                                                GRAND BLANC      MI   48439‐9004
MCDANIEL, RICHARD I         5761 E 200 S                                                                                    GREENFIELD       IN   46140‐9756
MCDANIEL, RICHARD V         210 1/2 BROOK ST                                                                                EATON RAPIDS     MI   48827‐1110
MCDANIEL, RICHARD W         1030 BOYNTON DR                                                                                 LANSING          MI   48917‐1760
MCDANIEL, ROBERT C          2193 BOAT RAMP ROAD                                                                             AUSTIN           KY   42123
MCDANIEL, ROBERT D          HURST & MORRISSEY               213 WOODBINE ST                                                 HOT SPRINGS      AR   71901‐5122
MCDANIEL, ROBERT E          9230 HUHN BLVD                                                                                  KANSAS CITY      MO   64133‐1144
MCDANIEL, ROBERT E          10928 PELARA CT                                                                                 RANCHO CORDOVA   CA   95670‐6910
MCDANIEL, ROBERT L          1632 SW 27TH TER                                                                                CAPE CORAL       FL   33914‐4047
MCDANIEL, ROBIN             9057 JUNCTION LN                                                                                FREDERICKTOWN    MO   63645‐9287
MCDANIEL, ROBYN R           3799 KIRK RD                                                                                    VASSAR           MI   48768‐9771
MCDANIEL, RON               15 BERMUDA CT                                                                                   COVINGTON        GA   30016‐7619
MCDANIEL, RON C             4024 ASHBURY CROSSING DR                                                                        FLORISSANT       MO   63034‐2883
MCDANIEL, RONALD B          PO BOX 7722                                                                                     ALBUQUERQUE      NM   87194‐7722
MCDANIEL, RONALD B          BOONE ALEXANDRA                 205 LINDA DR                                                    DAINGERFIELD     TX   75638‐2107
MCDANIEL, RONALD M          1100 5TH ST BHR                                                                                 OKEECHOBEE       FL   34974
MCDANIEL, RONNIE L          41 HIGHLAND AVE                                                                                 MORRISTOWN       NJ   07960
MCDANIEL, ROSA B            409 N JEFFERSON                                                                                 SPRING HILL      KS   66083‐9140
MCDANIEL, ROSALYN ANN       7325 CLARK ST                                                                                   KANSAS CITY      KS   66111‐2837
MCDANIEL, ROY W             613 GLEN OAKS DR                                                                                FRANKLIN         TN   37067‐4424
MCDANIEL, RUBY L            6104 LIVE OAK DR                                                                                FLOWERY BRANCH   GA   30542‐7503
MCDANIEL, RUDALPH           PO BOX 763093                                                                                   DALLAS           TX   75376‐3093
MCDANIEL, RUSSELL           10413 MERCURY DR                                                                                INDIANAPOLIS     IN   46229‐1413
MCDANIEL, RUTH A            523 W WASHINGTON ST                                                                             FAIRMOUNT        IN   46928‐1901
MCDANIEL, RUTH AGNES        2535 NEW HOPE ROAD                                                                              LOCUST GROVE     GA   30248‐2311
MCDANIEL, RYAN B            6021 INDIAN RIDGE BLVD                                                                          WHITE HOUSE      TN   37188‐4313
MCDANIEL, SAM               PO BOX 14516                                                                                    SAGINAW          MI   48601‐0516
MCDANIEL, SAM               PORTER & MALOUF PA              4670 MCWILLIE DR                                                JACKSON          MS   39206‐5621
MCDANIEL, SAMUEL            583 ORCHARD ST 1ST                                                                              NEW HAVEN        CT   06511
MCDANIEL, SAMUEL D          2890 MIDDLEBURG DR                                                                              COLLEGE PARK     GA   30349‐4156
MCDANIEL, SANDRA            PALMEROLIVER LAW OFFICES OF     205 PARK CENTRAL EAST SUITE 511 P                               SPRINGFIELD      MO   65801
                                                            O BOX 5720
MCDANIEL, SARAH T           5580 WOODBERRY TERRACE                                                                          MARIETTA         GA   30068‐1844
MCDANIEL, SEATHER E         5000 REDROCK RD. CONDO 154                                                                      LAS VEGAS        NV   89118
MCDANIEL, SHANTA M          APT 201                         7469 ARNBRAE DRIVE                                              BLACKLICK        OH   43004‐9579
MCDANIEL, SHARON JEANNETT   5984 FLY HOLLOW RD                                                                              SANTA FE         TN   38482‐3101
MCDANIEL, SHEILA            718 RUNNING DEER DR                                                                             COLUMBIA         TN   38401‐8002
MCDANIEL, SHELDON K         2365 RIDGE RD                                                                                   WHITE LAKE       MI   48383‐1746
MCDANIEL, SONDRUS L         7940 PRIESTLEY DR                                                                               REYNOLDSBURG     OH   43068‐9768
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Name                       Address1                         Address2                       Address3   Address4         City                State Zip
MCDANIEL, SUE C            23961 VIA MARAGALL                                                                          MISSION VIEJO        CA 92692‐2125
MCDANIEL, SUSAN O          1119 SOUTHFIELD RD                                                                          BIRMINGHAM           MI 48009‐3001
MCDANIEL, SYLVIA           7820 FOREST VALLEY RD                                                                       COTTONDALE           AL 35453‐3827
MCDANIEL, TAMMY            PO BOX 14285                                                                                LANSING              MI 48901‐4285
MCDANIEL, TERENCE          206 E TAYLOR ST                                                                             FLINT                MI 48505‐4984
MCDANIEL, TERRI G          1572 ALAMO ST                                                                               ORANGE               TX 77630‐6002
MCDANIEL, TERRY A          3572 OAKBROOK DR                                                                            MIDLAND              MI 48642‐9766
MCDANIEL, TERRY A          3572 E OAKBROOK DR                                                                          MIDLAND              MI 48642‐9766
MCDANIEL, TERRY L          PO BOX 1168                                                                                 DACULA               GA 30019‐0020
MCDANIEL, THOMAS           316 ARBOR OAK DR                                                                            ASHLAND              VA 23005‐2226
MCDANIEL, THOMAS J         225 HOPE HOLLOW RD                                                                          LOGANVILLE           GA 30052‐2219
MCDANIEL, THOMAS S         1119 SOUTHFIELD RD                                                                          BIRMINGHAM           MI 48009‐3001
MCDANIEL, TODD             3799 KIRK RD                                                                                VASSAR               MI 48768‐9771
MCDANIEL, TODD N           MCGEE WILLIAM R LAW OFFICES OF   16855 W BERNARDO DR STE 380                                SAN DIEGO            CA 92127‐1626
MCDANIEL, TOMMIE L         4107 CHRISTIANSEN RD                                                                        LANSING              MI 48910‐4309
MCDANIEL, TONIA LEE        2201 RENSHAW AVE                                                                            DAYTON               OH 45439‐3033
MCDANIEL, TONIA LEE        2201 RENSHAW                                                                                DAYTON               OH 45439‐3033
MCDANIEL, TONY E           911 MONTGOMERY ST                                                                           EATON RAPIDS         MI 48827‐1751
MCDANIEL, TRAVIS L         5575 BROOKBANK PL                                                                           KETTERING            OH 45440‐2603
MCDANIEL, TROY S           776 MAGNOLIA DR                                                                             GREENVILLE           OH 45331‐2466
MCDANIEL, TWILA M          11343 HIGH TIMBER DR                                                                        INDIANAPOLIS         IN 46235
MCDANIEL, VAUGHN L         13220 DARRYL DR                                                                             WARREN               MI 48088‐1354
MCDANIEL, VENEDER C        3181 CRESTVIEW CIRCLE                                                                       DULUTH               GA 30096‐2513
MCDANIEL, VINCENT P        2886 SUTHERLAND DR                                                                          THOMPSONS STATION    TN 37179‐5054
MCDANIEL, VIOLA            3969 WASHINGTON BLVD APT 110                                                                SAINT LOUIS          MO 63108‐3505
MCDANIEL, VIOLA            3969 WASHINGTON                  APT 110                                                    ST LOUIS             MO 63108
MCDANIEL, VIRGIL L         480 HANOVER ST                                                                              BOWLING GREEN        KY 42101‐5286
MCDANIEL, VIRGINIA         2917 E 29TH ST                                                                              OAKLAND              CA 94601‐2703
MCDANIEL, VIVIAN C         341 GRAVES BLVD.                                                                            HILLSBORO            AL 35643‐3925
MCDANIEL, WILLIAM          1407 CASIMER                                                                                SAGINAW              MI 48601‐1228
MCDANIEL, WILLIAM          1407 CASIMIR ST                                                                             SAGINAW              MI 48601‐1228
MCDANIEL, WILLIAM          208 N STATE RD                                                                              FAIRMOUNT             IL 61841‐9777
MCDANIEL, WILLIAM B        3466 S VICKREY RD                                                                           GOSPORT              IN 47433‐8906
MCDANIEL, WILLIAM J        7927 BLANCHARD LATEX RD                                                                     SHREVEPORT           LA 71107‐8931
MCDANIEL, WILLIAM JOSEPH   7927 BLANCHARD LATEX RD                                                                     SHREVEPORT           LA 71107‐8931
MCDANIEL, WILLIAM L        3772 IROQUOIS LN                                                                            GREENVILLE           OH 45331‐5331
MCDANIEL, WILLIAM M        4265 E STATE ROAD 236                                                                       ANDERSON             IN 46017‐9572
MCDANIEL, WILLIAM P        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK              VA 23510‐2212
                                                            STREET, SUITE 600
MCDANIEL, WILLIAM P        718 BARONGATE DR                                                                            LAWRENCEVILLE       GA   30044‐6079
MCDANIEL, WILLIE D         6302 S US HIGHWAY 41 206                                                                    RUSKIN              FL   33570
MCDANIEL, YVONNE C         78379 M C CARTER RD                                                                         KENTWOOD            LA   70444‐4255
MCDANIEL,MARK E            11688 STATE ROUTE 730                                                                       BLANCHESTER         OH   45107‐8714
MCDANIELS LARRY (665581)   LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                               HOUSTON             TX   77069
MCDANIELS, ARTHUR D        383 W GRAND BLVD APT 101                                                                    DETROIT             MI   48216
MCDANIELS, BETTE R         222 LUMPKIN ST                                                                              CUTHBERT            GA   39840‐8006
MCDANIELS, CATHY           312 ASHLEY ROAD 727                                                                         CROSSETT            AR   71635‐9592
MCDANIELS, DENNIS A        9628 ROAD 230                                                                               CECIL               OH   45821‐9304
MCDANIELS, DONALD E        2627 W SAGINAW HWY                                                                          MULLIKEN            MI   48861‐9760
MCDANIELS, EDWARD E        40 RIVERWALK S APT 206                                                                      BRIDGETON           NJ   08302‐2565
MCDANIELS, EVELYN M        1012 NORTH WOODBURN AVE                                                                     BLOOMINGTON         IN   47404
MCDANIELS, LARRY           LANIER LAW FIRM                  6810 FM 1960 WEST SUITE 1550                               HOUSTON             TX   77069
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Name                           Address1                           Address2                        Address3   Address4         City             State Zip
MCDANIELS, LARRY               ICO THE LANIER LAW FIRM PC         6810 FM 1960 WEST                                           HOUSTON           TX 77069
MCDANIELS, LARRY G             6613 BARTMER AVE                                                                               SAINT LOUIS       MO 63130‐2632
MCDANIELS, PAUL E              3913 ANNALANE DR                                                                               NORMAN            OK 73072‐2244
MCDANIELS, RICHARD E           4139 BETTY LEE BLVD                                                                            GLADWIN           MI 48624‐9616
MCDANIELS, RICHARD EARL        4139 BETTY LEE BLVD                                                                            GLADWIN           MI 48624‐9616
MCDANIELS, RUSSELL E           3556 W GRAND LEDGE HWY             R1                                                          MULLIKEN          MI 48861‐8708
MCDANIELS, TREY
MCDANIELS, WILLIAM E           118 BRUMBAUGH CT                                                                               UNION            OH   45322‐2966
MCDANJEL, PAMELA J             459 W MITCHELL AVE                                                                             MARTINSVILLE     IN   46151‐2145
MCDANNEL, CHARLES E            30848 MAYFLOWER ST                                                                             ROSEVILLE        MI   48066‐1424
MCDARIS, CREED F               4015 DUNSMORE ST SE                                                                            HUNTSVILLE       AL   35802‐1112
MCDARREN C PASCHAL             707 SUPERIOR AVE                                                                               DAYTON           OH   45407
MCDAVID CHARLES H (463860)     ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                  BALTIMORE        MD   21202
                                                                  CHARLES CENTER 22ND FLOOR
MCDAVID CORNELL                MCDAVID, CORNELL                   4435 N PERSHING DRIVE                                       ARLINGTON        VA   22203‐2748
MCDAVID GRANDE LP              ATTN JAY TORDA                     3600 W AIRPORT FWY                                          IRVING           TX   75062‐5906
MCDAVID, BROOK M               131 GEORGE WELLS RD                                                                            GLASGOW          KY   42141‐9441
MCDAVID, CARL E                2069 MUNICH AVE                                                                                MORAINE          OH   45418‐2916
MCDAVID, CARL H                3255 E CROFT CIRCLE                                                                            SPARTANBURG      SC   29302‐9302
MCDAVID, CARL H                3255 EAST CROFT CIRCLE                                                                         SPARTANBURG      SC   29302‐3126
MCDAVID, CAROL J               4223 BLUE HERON DR                                                                             AUBURN HILLS     MI   48326‐1876
MCDAVID, CHARLES H             ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET, ONE                                   BALTIMORE        MD   21202
                                                                  CHARLES CENTER 22ND FLOOR
MCDAVID, CORNELL               4435 N PERSHING DRIVE                                                                          ARLINGTON        VA   22203‐2748
MCDAVID, DENNIS M              4223 BLUE HERON DR                                                                             AUBURN HILLS     MI   48326‐1876
MCDAVID, HERMAN                555 CARLOTTA DR                                                                                YOUNGSTOWN       OH   44504‐1321
MCDAVID, JACK A                4527 E US 36                                                                                   MARKLEVILLE      IN   46056
MCDAVID, JEANNETTE L           1120 EMINENCE ROW                                                                              JACKSON          MS   39213‐5628
MCDAVID, JOAN W                3635 INDIAN RUN DR UNIT 3                                                                      CANFIELD         OH   44406‐9021
MCDAVID, JOAN W                3635 INDIAN RUN DRIVE              UNIT3                                                       CANFIELD         OH   44406‐9018
MCDAVID, KELLY J               2069 MUNICH AVE                                                                                MORAINE          OH   45418‐2916
MCDAVID, LISA D                9314 MILL RIDGE RUN                                                                            FORT WAYNE       IN   46835‐9476
MCDAVID, ROBBIE N              11979 SWEET POTATO RIDGE RD                                                                    BROOKVILLE       OH   45309‐9612
MCDAVID, TONY G                1 HAYLOCK CT APT 203                                                                           NOTTINGHAM       MD   21236
MCDAVID, WILFRED T             19157 SANTA BARBARA DR                                                                         DETROIT          MI   48221‐1624
MCDAVITT, PATRICIA A           4708 VENICE HEIGHTS BLVD APT 207                                                               SANDUSKY         OH   44870‐1582
MCDAVITT, PATRICIA A           APT 207                            4708 VENICE HEIGHTS BOULEVARD                               SANDUSKY         OH   44870‐1582

MCDEARIS, R H                  93 PENINSULA CT                                                                                MARTIN           GA   30557‐5041
MCDEARMON, JOSEPH D            508 SAINT JOSEPH AVE                                                                           O FALLON         MO   63366‐1718
MCDEARMON, SHELBA J            508 SAINT JOSEPH AVE                                                                           O FALLON         MO   63366‐1718
MCDEARMON, TEQUISHA L          16000 TERRACE RD APT 1103                                                                      EAST CLEVELAND   OH   44112‐2070
MCDEARMOND, BETTY G            1153 W. PLUM VALLEY RD                                                                         MANCELONA        MI   49659
MCDELL, ARTHUR                 271 FERNCLIFFE DR                                                                              ROCHESTER        NY   14621‐4249
MCDERMAID, WILLIAM J           12425 SILVER CREEK CT                                                                          CLIO             MI   48420‐8872
MCDERMAID, WILLIAM JOSEPH      12425 SILVER CREEK CT                                                                          CLIO             MI   48420‐8872
MCDERMITT, BONNIE L            3308 DAKOTA AVE                                                                                FLINT            MI   48506‐3165
MCDERMITT, CHARLES C           9658 BARKLEY RD                                                                                MILLINGTON       MI   48746‐9761
MCDERMITT, CORY MICHAEL        143 MOYER AVE                                                                                  ALMA             MI   48801‐2442
MCDERMOTT JOHN                 MCDERMOTT, JOHN                    13000 W BLUEMOUND ROAD SUITE                                ELM GROVE        WI   53122
                                                                  305
MCDERMOTT JOHN T SR (474476)   ANGELOS PETER G LAW OFFICE         1300 N MARKET ST STE 212                                    WILMINGTON       DE 19801‐1813
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Name                             Address1                        Address2                   Address3    Address4         City               State Zip
MCDERMOTT MARY                   MCDERMOTT, MARY
MCDERMOTT RENEE R                845 FOX RUN LN                                                                          TRYON              NC    28782‐6704
MCDERMOTT WILL & EMERY           227 W MONROE ST                                                                         CHICAGO            IL    60606
MCDERMOTT WILL & EMERY           2049 CENTURY PARK E STE 3400                                                            LOS ANGELES        CA    90067‐3208
MCDERMOTT WILL & EMERY           C\O SHELL J BLEIWEISS           227 W MONROE                                            CHICAGO            IL    60606
MCDERMOTT WILL & EMERY           600 13TH STREET NW                                                                      WASHINGTON         DC    20005
MCDERMOTT WILL & EMERY           50 ROCKEFELLER PLAZA                                                                    NEW YORK           NY    10020
MCDERMOTT WILL & EMERY CLIENT    75 STATE ST                                                                             BOSTON             MA    02109
FUNDS
MCDERMOTT WILL & EMERY LLP       600 13TH ST NW                                                                          WASHINGTON         DC    20005
MCDERMOTT, ANN                   HORIZON AT FISHKILL             14 DOGWOOD LANE                                         BEACON             NY    12508
MCDERMOTT, BEULAH                1034 MILLICAN GROVE ROAD                                                                SIVIERVILLE        TN    37876
MCDERMOTT, BRAD W                1234 W MELROSE ST                                                                       WHITEWATER         WI    53190‐1642
MCDERMOTT, BRYAN J               1130 LOCKWOOD DR                                                                        LOCKPORT           NY    14094‐7126
MCDERMOTT, DAVID J               28611 WARREN RD                                                                         GARDEN CITY        MI    48135‐2142
MCDERMOTT, DENNIS M              PO BOX 23                                                                               EAST TAWAS         MI    48730‐0023
MCDERMOTT, DONALD H              4023 CARTHAGE RD                                                                        RANDALLSTOWN       MD    21133‐4424
MCDERMOTT, DONALD L              560 SWANSON RD                                                                          SAGINAW            MI    48609‐6943
MCDERMOTT, GEORGANA              2336 JUDGE RD                                                                           OAKFIELD           NY    14125‐9730
MCDERMOTT, JAMES E               1139 N BEVILLE AVE                                                                      INDIANAPOLIS       IN    46201‐1355
MCDERMOTT, JEANNETTE R           19 WEST WRENTHAM ROAD                                                                   CUMBERLAND         RI    02864
MCDERMOTT, JOHN A                10852 N KENO RD                                                                         ROSCOMMON          MI    48653‐9633
MCDERMOTT, JOHN T                815 STOVER AVE                                                                          INDIANAPOLIS       IN    46227‐1558
MCDERMOTT, JOHN T                ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                WILMINGTON         DE    19801‐1813
MCDERMOTT, MARVIN D              904 PLEASANT VALLEY AVE N                                                               RIVER SIDE         OH    45404‐2442
MCDERMOTT, MARVIN D              904 N PLEASANT VALLEY AVE                                                               DAYTON             OH    45404‐2442
MCDERMOTT, MARY JANE             12520 EDGEWATER DR APT 1602                                                             LAKEWOOD           OH    44107‐1502
MCDERMOTT, MICHAEL P             22 S STUYVESANT DR                                                                      WILMINGTON         DE    19809‐3432
MCDERMOTT, MICHAEL PATRICK       22 S STUYVESANT DR                                                                      WILMINGTON         DE    19809‐3432
MCDERMOTT, RANDY S               1402 BARHAM AVE                                                                         JANESVILLE         WI    53548
MCDERMOTT, ROBERTA               2836 ZANE GREY DR SE                                                                    ATLANTA            GA    30316‐4318
MCDERMOTT, RONALD E              11910 SUNSET CIR                                                                        HAGERSTOWN         MD    21742‐4259
MCDERMOTT, RONNIE W              9600 N PINE RD                                                                          MILTON             WI    53563‐9253
MCDERMOTT, RUBY K                805 SADDLE CT                                                                           ANDERSON           IN    46013‐4827
MCDERMOTT, RUSSELL T             209 GARDENGROVE WAY                                                                     ENGLEWOOD          OH    45322‐2349
MCDERMOTT, RYAN A                PO BOX 478                                                                              FAYETTEVILLE       NY    13066‐0478
MCDERMOTT, STACY L               4719 CORNELL ST                                                                         DEARBORN HEIGHTS   MI    48125‐2111
MCDERMOTT‐CONTRERAS, EDNA L      20247 ISLAND ESTATE DR                                                                  GROSSE ILE         MI    48138‐1266
MCDEVITT TRANS SVC‐NATIONALEAS   3 MACK AVE                                                                              MANCHESTER         NH    03103‐5916
MCDEVITT, BONNIE J.              43782 PARK GROVE CT                                                                     NORTHVILLE         MI    48167‐2746
MCDEVITT, CONSTANCE H            43 JANEBAR CIRCLE                                                                       FRAMINGHAM         MA    01701‐3176
MCDEVITT, CONSTANCE H            43 JANEBAR CIR                                                                          FRAMINGHAM         MA    01701‐3176
MCDEVITT, MATTHEW S              7213 JORDAN RD                                                                          GRAND BLANC        MI    48439‐9765
MCDEVITT, MICHAEL                WOOD STREET                                                                             MAHOPAC            NY    10541
MCDEVITT, PHYLLIS ANN            795 RICHLYN DR                                                                          ADRIAN             MI    49221‐9297
MCDEVITT, RICHARD M              313 LINCOLN ST                                                                          PERRY              MI    48872‐8769
MCDEVITT, THELMA P               44870 BURSLEY RD                                                                        WELLINGTON         OH    44090‐9276
MCDEVITT, TIM                    410 W 107TH ST                                                                          BLOOMINGTON        MN    55420‐5510
MCDIARMID, BERNARD D             11176 GODDARD RD                                                                        LAKE ODESSA        MI    48849‐9538
MCDIARMID, DEAN L                5535 WING AVE SE                                                                        KENTWOOD           MI    49512‐9641
MCDIARMID, DUANE L               11570 DREW RD                                                                           CLARKSVILLE        MI    48815‐9750
MCDIARMID, FRANCES L             13350 AINSWORTH RD                                                                      LAKE ODESSA        MI    48849‐9406
                                 09-50026-mg             Doc 7123-27     Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit B
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Name                             Address1                          Address2                      Address3   Address4         City               State Zip
MCDIARMID, GARY L                140 EAST FIRST ST BOX 84                                                                    VERMONTVILLE        MI 49096
MCDIARMID, JAMES L               1310 W WILSON RD                                                                            CLIO                MI 48420‐1689
MCDIARMID, LEE A                 13350 AINSWORTH RD                                                                          LAKE ODESSA         MI 48849‐9406
MCDIARMID, MICHAEL H             141 W DAWSON RD                                                                             MILFORD             MI 48381‐2707
MCDIARMID, MILAN J               9402 ROUND LAKE RD                                                                          LAINGSBURG          MI 48848‐9492
MCDIARMID, NILES M               # 140                             1700 WATERFALL DRIVE                                      NAPPANEE            IN 46550‐8954
MCDILL, GERALD D                 13801 KERMAN RD                                                                             MONTROSE            MI 48457‐9325
MCDILL, MARILYN A                5276 SWAFFER ROAD                                                                           MILLINGTON          MI 48746‐9511
MCDILL, MARY J                   5304 SANDY LK E                                                                             LITHONIA            GA 30038‐3942
MCDIRMIT, DANNY E                227 KEY LARGO AVE                                                                           DAVENPORT           FL 33897‐3621
MCDIRMIT, DANNY EUGENE           227 KEY LARGO AVENUE                                                                        DAVENPORT           FL 33897‐3621
MCDIVITT, CARL C                 301 E MAIN ST                                                                               CORTLAND            OH 44410‐1255
MCDIVITT, COLLEEN L              4221 RIDGE ROAD                                                                             CORTLAND            OH 44410‐9764
MCDIVITT, JAMES G                2843 TRENTON RD                                                                             AKRON               OH 44312‐2744
MCDIVITT, ROBERT A               109 POINCIANA PKWY                                                                          CHEEKTOWAGA         NY 14225‐3612
MCDOLE FRANK A (496140)          PROVOST & UMPHREY                 PO BOX 4905                                               BEAUMONT            TX 77704‐4905
MCDOLE JR, JOHNIE                765 COUNTY ROAD 614                                                                         MOUNTAIN HOME       AR 72653‐5613
MCDOLE, BETTY J                  1314 FOREST AVE                                                                             SARALAND            AL 36571‐9643
MCDOLE, BETTY J                  1314 FOREST ST                                                                              SARALAND            AL 36571‐9643
MCDOLE, CAROL A                  16488 OAKDALE RD                                                                            ATHENS              AL 35613‐7054
MCDOLE, CATHY L                  8401 S KOLB RD UNIT 210                                                                     TUCSON              AZ 85756‐9618
MCDOLE, CATHY LYNN               9032 EAST KIRKPATRICK CIRCLE                                                                TUCSON              AZ 85710‐4450
MCDOLE, CLIFFORD D               8209 CARDIGAN WAY                                                                           SHREVEPORT          LA 71129‐4906
MCDOLE, DALE A                   2421 STARLIGHT DR                                                                           ANDERSON            IN 46012‐1947
MCDOLE, ERICKA L                 4420 CONCORD ST                                                                             SAGINAW             MI 48603‐2013
MCDOLE, ERICKA L.                4420 CONCORD ST                                                                             SAGINAW             MI 48603‐2013
MCDOLE, FRANK A                  PROVOST & UMPHREY                 PO BOX 4905                                               BEAUMONT            TX 77704‐4905
MCDOLE, J                        5952 DIANNE ST                                                                              SHREVEPORT          LA 71119‐5337
MCDOLE, JAMES D                  3049 DOWDEN DR                                                                              FRANKLIN            IN 46131‐9854
MCDOLE, JAMES K                  4024 LAKEWOOD CT                                                                            CLAYTON             IN 46118‐9369
MCDOLE, JERRY L                  RR 2 BOX 2111                                                                               PIEDMONT            MO 63957‐9602
MCDOLE, JOSEPH                   3556 FRANK SMITH RD                                                                         LOWER PEACH TREE    AL 36751‐2508
MCDOLE, MARY ALICE               18111 DURBIN RD                                                                             NOBLESVILLE         IN 46060
MCDOLE, OSCAR L                  642 S 31ST ST                                                                               SAGINAW             MI 48601‐6552
MCDOLE, VERA                     ROUTE 2 BOX 2111                                                                            PIEDMONT            MO 63957‐9602
MCDOLE, VERA                     RR 2 BOX 2111                                                                               PIEDMONT            MO 63957‐9602
MCDOLE, VERA L                   2421 STARLIGHT DR                                                                           ANDERSON            IN 46012‐1947
MCDOLE, WILLIAM N                21656 HINKLE RD                                                                             NOBLESVILLE         IN 46062‐9746
MCDONAGH MICHELLE                242 SILVERMINE RD                                                                           NEW CANAAN          CT 06840‐4910
MCDONAGH WILLIAM (464922)        EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                   NEW YORK            NY 10017‐6530
MCDONAGH, GORDON A               12534 BELL RD                                                                               BURT                MI 48417‐2310
MCDONAGH, THELMA                 12845 SHERIDAN ROAD                                                                         BURT                MI 48417‐9773
MCDONAGH, TIMOTHY L              18451 CORUNNA RD                                                                            CHESANING           MI 48616‐9630
MCDONAGH, WILLIAM                EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                   NEW YORK            NY 10017‐6530
MCDONALD ALTON D (429417)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                   STREET, SUITE 600
MCDONALD BENJAMIN                1201 WOODSLEE ST                                                                            BIRMINGHAM         AL 35215‐6036
MCDONALD CHARLES (453822)        HOWARD BRENNER & GARRIGAN‐NASS    1608 WALNUT ST , 17TH FLOOR                               PHILADELPHIA       PA 19103

MCDONALD CHARLES C (ESTATE OF)   ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET , ONE                                BALTIMORE          MD 21202
(514571)                                                           CHARLES CENTER 22ND FLOOR
MCDONALD CHEVROLET INC           1600 N DONNY DAVIS DR                                                                       WASHINGTON          IN   47501‐7567
                                     09-50026-mg                Doc 7123-27    Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                Address1                            Address2                          Address3                    Address4         City               State Zip
MCDONALD CHRISTOPHER                MCDONALD, CHRISTOPHER               30 OAK ST STE 401                                                              STAMFORD            CT 06905‐5310
MCDONALD COUNTY COLLECTOR OF        PO BOX 725                                                                                                         PINEVILLE           MO 64856‐0725
REVENUE
MCDONALD DAN                        C/O GM TECHNICAL LIAISON            39465 PASEO PADRE PWY STE 1200                                                 FREMONT            CA 94538

MCDONALD DONALD (667173)            SAVILLE EVOLA & FLINT LLC           322 EAST BROADWAY P O BOX 602                                                  ALTON               IL   62002‐0602

MCDONALD GARY                       2212 MORNING GLORY DR                                                                                              RICHARDSON         TX    75082‐2308
MCDONALD GARY C                     14866 CHATHAM DR                                                                                                   SHELBY TOWNSHIP    MI    48315‐1504
MCDONALD GERALD                     15635 COUNTY SHOP ROAD                                                                                             DARLINGTON         WI    53530‐9264
MCDONALD GLEN                       PO BOX 533502                                                                                                      HARLINGEN          TX    78553
MCDONALD GREGORY                    MCDONALD, GREGORY                   170 S GREEN VALLEY PKWY STE 280                                                HENDERSON          NV    89012‐3145

MCDONALD H B (ESTATE OF) (449235)   SIMMONS FIRM                        PO BOX 559                                                                     WOOD RIVER         IL 62095‐0559
MCDONALD HAROLD                     1060 SATTERLEE RD                                                                                                  BLOOMFIELD HILLS   MI 48304‐3154
MCDONALD HOPKINS PLC                ATTY FOR COUNSEL TO COMAU, INC      ATTN: THOMAS K. LINDAHL           39533 WOODWARD AVE.,                         BLOOMFIELD HILLS   MI 48304
                                                                                                          SUITE 318
MCDONALD HOPKINS PLC                ATTY FOR SWAGELOK COMPANY           ATTN: STEPHEN M. GROSS            39533 WOODWARD AVE., STE.                    BLOOMFIELD HILLS   MI 48304
                                                                                                          318
MCDONALD HOPKINS PLC                ATTY FOR SWAGELOK COMPANY           ATTN: JAYSON B. RUFF              39533 WOODWARD AVE.,                         BLOOMFIELD HILLS   MI 48304
                                                                                                          SUITE 318
MCDONALD I I I, ANDREW W            6047 YARBROUGH RD                                                                                                  SHREVEPORT         LA 71119‐3719
MCDONALD III, ANDREW WILLIAMSON     6047 YARBROUGH RD                                                                                                  SHREVEPORT         LA 71119‐3719
MCDONALD JAMES M (352010)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MCDONALD JOHN                       11102 LAKESIDE FOREST LN                                                                                           HOUSTON            TX    77042‐1032
MCDONALD JOHN J                     37875 W 12 MILE RD STE 1                                                                                           FARMINGTON HILLS   MI    48331
MCDONALD JR, ARTHUR H               2 CHARTER CIR                                                                                                      ROCHESTER          NY    14606‐4907
MCDONALD JR, DALLAS                 5155 E MOUNT MORRIS RD                                                                                             MOUNT MORRIS       MI    48458‐9721
MCDONALD JR, GERALD F               4818 HAVANA AVE SW                                                                                                 WYOMING            MI    49509‐5028
MCDONALD JR, JESSIE                 PO BOX 960184                                                                                                      RIVERDALE          GA    30296‐0184
MCDONALD JR, JESSIE                 3782 PARNELL WAY                                                                                                   ELLENWOOD          GA    30294
MCDONALD JR, LEON                   PO BOX 431155                                                                                                      PONTIAC            MI    48343‐1155
MCDONALD JR, OTIS                   45157 UTICA GREEN E BLDG 9                                                                                         SHELBY TWP         MI    48317
MCDONALD JR, OTIS                   2430 HELEN ST                                                                                                      DETROIT            MI    48207
MCDONALD JR, OTTO                   718 WESTMORELAND AVE                                                                                               SYRACUSE           NY    13210‐2636
MCDONALD JR, THOMAS M               10604 S WINSTON WAY ST                                                                                             OKLAHOMA CITY      OK    73170
MCDONALD JR, WATSON                 2225 TOD AVE SW                                                                                                    WARREN             OH    44485
MCDONALD JR, WILLIAM J              2193 S LAPEER RD                                                                                                   LAPEER             MI    48446‐9446
MCDONALD JR, WOODROW                7948 STILLWELL RD                                                                                                  CINCINNATI         OH    45237‐1114
MCDONALD JR., LONNIE                13988 PLYMOUTH AVE                                                                                                 BURNSVILLE         MN    55337
MCDONALD KAITLYN                    MCDONALD, KAITLYN                   1930 E MARLTON PIKE SUITE Q29                                                  CHERRY HILL        NJ    08003
MCDONALD LINDA                      MCDONALD, LINDA                     89 N HADDON AVE                                                                HADDONFIELD        NJ    08033‐2423
MCDONALD MOBILE OFFICES INC         23800 W 8 MILE RD                                                                                                  SOUTHFIELD         MI    48033‐4237
MCDONALD MODULAR SOLUTIONS          23800 W 8 MILE RD                                                                                                  SOUTHFIELD         MI    48033‐4237
MCDONALD MODULAR SOLUTIONS INC      23800 W 8 MILE RD                                                                                                  SOUTHFIELD         MI    48033‐4237
MCDONALD PAUL EUGENE (409207)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA    23510
                                                                        STREET, SUITE 600
MCDONALD PONTIAC‐GMC‐CADILLAC‐      5155 STATE ST                                                                                                      SAGINAW            MI 48603‐3712
OLDSM
MCDONALD PONTIAC‐GMC‐CADILLAC‐      WILLIAM MCDONALD                    5155 STATE ST                                                                  SAGINAW            MI 48603‐3712
OLDSMO
                                     09-50026-mg                Doc 7123-27    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit B
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Name                                Address1                            Address2                      Address3   Address4         City             State Zip
MCDONALD PONTIAC‐GMC‐CADILLAC‐      WILLIAM MCDONALD                    5155 STATE ST                                             SAGINAW           MI 48603‐3712
OLDSMOBILE, INC.
MCDONALD PONTIAC‐GMC‐CADILLAC‐      5155 STATE ST                                                                                 SAGINAW          MI 48603‐3712
OLDSMOBILE, INC.
MCDONALD QUENTIN (460566)           ANGELOS PETER G                     100 N CHARLES STREET , ONE                                BALTIMORE        MD 21201
                                                                        CHARLES CENTER
MCDONALD ROBERT (488644)             BELLUCK & FOX LLP                  546 5TH AVE #4                                            NEW YORK         NY 10036‐5000
MCDONALD ROBERT (510922)             LEBLANC & WADDELL                  5353 ESSEN LN STE 420                                     BATON ROUGE      LA 70809‐0500
MCDONALD ROBERT (ESTATE OF) (659854) SIMMONS FIRM                       PO BOX 521                                                EAST ALTON       IL 62024‐0519

MCDONALD ROBERT C (485175)          WEITZ & LUXENBERG                   180 MAIDEN LANE                                           NEW YORK         NY   10038
MCDONALD SANDERS PC                 777 MAIN ST STE 1300                                                                          FORT WORTH       TX   76102‐5317
MCDONALD SCAL/100644                PO BOX 100644                                                                                 NASHVILLE        TN   37224‐0644
MCDONALD SR, SHYLINDA A             PO BOX 8543                                                                                   MERIDIAN         MS   39303‐8543
MCDONALD TAYLOR, DOLORES            728 EAST 113TH ST                                                                             LOS ANGELES      CA   90059
MCDONALD THELMA                     20310 EVANS RD                                                                                PERRIS           CA   92571
MCDONALD THOMAS J (355957)          GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510
                                                                        STREET, SUITE 600
MCDONALD TIMOTHY (660206)           BRAYTON PURCELL                     PO BOX 6169                                               NOVATO           CA 94948‐6169
MCDONALD WAYNE                      55 HARVEST LN                                                                                 HOCKESSIN        DE 19707
MCDONALD WILLIAM B (493993)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                        STREET, SUITE 600
MCDONALD WILLIAM C (429418)         GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                        STREET, SUITE 600
MCDONALD WILLIAM C (509240)         BRAYTON PURCELL                     PO BOX 6169                                               NOVATO           CA   94948‐6169
MCDONALD, A K                       RT 1 BOX 18 GREEN RD.                                                                         GAY              GA   30218
MCDONALD, ALBERT L                  145 EATON WOODS DR                                                                            CHARLOTTE        MI   48813‐9777
MCDONALD, ALICE                     877 LEE DR                                                                                    BEDFORD          TX   76022‐7310
MCDONALD, ALLAN D                   10915 EAST GOODALL RD               107                                                       DURAND           MI   48429
MCDONALD, ALLAN D                   1702 GULF CITY RD LOT 313                                                                     RUSKIN           FL   33570
MCDONALD, ALMA M                    PO BOX 1422                                                                                   MERIDIAN         MS   39302‐1422
MCDONALD, ALTON D                   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                        STREET, SUITE 600
MCDONALD, ALVERTA                   5407 HOOVER AVE APT 214                                                                       DAYTON           OH   45427‐2581
MCDONALD, ALVIN T                   1660 SAUNDERS SETTLEMENT RD                                                                   NIAGARA FALLS    NY   14304‐1090
MCDONALD, AMANDA G                  8817 EDINBURGH LN                                                                             ROWLETT          TX   75089‐8386
MCDONALD, ANN                       19864 N.PLUMWOODE COURT                                                                       BROWNSTOWN TWP   MI   48183‐4974
MCDONALD, ANNE B                    1360 PATCHIN STREET SE                                                                        WARREN           OH   44484
MCDONALD, ANNIE R                   5372 TIMBERWOOD POINT DR                                                                      FLINT            MI   48532
MCDONALD, ANTHONY C                 3806 VENTURA DR                                                                               SAGINAW          MI   48604‐1825
MCDONALD, ANTHONY C                 PO BOX 5567                                                                                   SAGINAW          MI   48603‐0567
MCDONALD, ARTHUR J                  6308 CORDELL ST                                                                               ROMULUS          MI   48174‐2411
MCDONALD, ARTHUR R                  12627 JUNIPER CIR                                                                             LEAWOOD          KS   66209‐3130
MCDONALD, BARBARA                   1015 WHITMORE ST                                                                              ANDERSON         IN   46012
MCDONALD, BARBARA A.                PO BOX 182                                                                                    OAKWOOD          GA   30566‐0004
MCDONALD, BARBARA A.                BOX 182                                                                                       OAKWOOD          GA   30566‐0004
MCDONALD, BARBARA E                 1205 S. MAINE #24                                                                             FALLON           NV   89406‐8988
MCDONALD, BARBARA E                 1205 S MAINE ST SPC 24                                                                        FALLON           NV   89406‐8988
MCDONALD, BARBARA M                 9270 MEYERS                                                                                   DETROIT          MI   48228‐2669
MCDONALD, BETTIE L                  3270 WINTERGREEN DR W                                                                         SAGINAW          MI   48603‐1977
MCDONALD, BETTY I                   4168 GRAND BLANC RD                                                                           SWARTZ CREEK     MI   48473‐9111
MCDONALD, BETTY J                   1131 WINDSOR AVE                                                                              DAYTON           OH   45402‐5717
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Name                    Address1                         Address2                     Address3   Address4         City            State Zip
MCDONALD, BEVERLY       3326 WHITEWOOD ST NW                                                                      NORTH CANTON     OH 44720‐5600
MCDONALD, BEVERLY A     P.O. BOX 131                                                                              QUINEBAUG        CT 06262
MCDONALD, BEVERLY A     PO BOX 131                                                                                QUINEBAUG        CT 06262‐0131
MCDONALD, BILLIE G      3672 LAKEWOOD SHORES DR                                                                   HOWELL           MI 48843‐6808
MCDONALD, BILLY R       2313 LOCKERBY DR SW                                                                       DECATUR          AL 35603‐4291
MCDONALD, BOBBY J       123 FORD ST                                                                               MONROE           GA 30655‐2340
MCDONALD, BRADLEY J     6480 PEYTONSVILLE ARNO RD                                                                 COLLEGE GROVE    TN 37046‐9133
MCDONALD, BRETT W       708 AMBER DR                                                                              SAGINAW          TX 76179‐0948
MCDONALD, BRIAN KELLY   8393 W GRAND LEDGE HWY                                                                    SUNFIELD         MI 48890‐9717
MCDONALD, BRIAN L       7785 BEECHWOOD FARMS DR                                                                   AVON             IN 46123‐9028
MCDONALD, C W           21 WATERVIEW DR                                                                           LAKE ORION       MI 48362‐1544
MCDONALD, C WAYNE       21 WATERVIEW DR                                                                           LAKE ORION       MI 48362‐1544
MCDONALD, CANDACE C     1133 BALFOUR RD                                                                           ANDERSON         IN 46011‐2438
MCDONALD, CARL D        4536 COUNTY ROAD 4110                                                                     SALEM            MO 65560‐8058
MCDONALD, CARMEN E      3242 ATHERTON TERRACE DR                                                                  FLINT            MI 48507
MCDONALD, CAROL
MCDONALD, CAROL E       31770 IVY LANE                                                                            WARREN          MI   48093‐5599
MCDONALD, CAROL E       31770 IVY LN                                                                              WARREN          MI   48093‐5599
MCDONALD, CAROL L       8710 10TH AVE SO                                                                          BLOOMINGTON     MN   55420
MCDONALD, CAROLE F      7408 BURCKE DR APT 1                                                                      HAZELWOOD       MO   63042‐1483
MCDONALD, CARY E        3610 PETTY LN                                                                             COLUMBIA        TN   38401‐7318
MCDONALD, CECIL M       916 POWELL RD                                                                             MERIDIAN        MS   39301‐8940
MCDONALD, CHARLES       HOWARD BRENNER & GARRIGAN‐NASS   1608 WALNUT ST, 17TH FLOOR                               PHILADELPHIA    PA   19103

MCDONALD, CHARLES C     ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE       MD 21202
                                                         CHARLES CENTER 22ND FLOOR
MCDONALD, CHARLES E     17531 OAKDALE RD                                                                          ATHENS          AL   35613‐5933
MCDONALD, CHARLES H     5507 WINONA DR                                                                            TOLEDO          OH   43613‐2156
MCDONALD, CHARLOTTE L   5388 HAMMOND RD                                                                           LAPEER          MI   48446‐2779
MCDONALD, CHARLTON L    917 NW 9TH ST                                                                             MOORE           OK   73160‐1809
MCDONALD, CHERYL F      4272 S 600 E                                                                              GREENFIELD      IN   46140‐9745
MCDONALD, CHRIS D       413 LORWOOD DR W                                                                          SHELBY          OH   44875‐1716
MCDONALD, CHRISTOPHER   LEMBERG & ASSOCIATES LLC         1100 SUMMER ST                                           STAMFORD        CT   06905‐5534
MCDONALD, CINDY         13180 DAUPHIN ISLAND PKWY                                                                 CODEN           AL   36523‐2906
MCDONALD, CLARENCE F    1100 CARTER DR                                                                            FLINT           MI   48532‐2714
MCDONALD, CLARENCE F    2130 HARMON ST                                                                            YPSILANTI       MI   48198‐6618
MCDONALD, CLAUDE E      605 SW 25TH ST                                                                            MOORE           OK   73160‐5517
MCDONALD, CORA B        10950 LAINGSBURG RD                                                                       LAINGSBURG      MI   48848‐9323
MCDONALD, CURTIS T      3817 CANTERBURY AVENUE                                                                    KALAMAZOO       MI   49006‐2701
MCDONALD, DALE C        10268 WADSWORTH RD                                                                        REESE           MI   48757‐9345
MCDONALD, DALE J        2468 UTLEY RD                                                                             FLINT           MI   48532‐4964
MCDONALD, DANIEL        7235 OLD ZION RD                                                                          COLUMBIA        TN   38401‐6060
MCDONALD, DANIEL        19208 SALLEY MCNAIR RD                                                                    LAURINBURG      NC   28352‐7134
MCDONALD, DANIEL J      12 LIGHTHOUSE DR                                                                          MANAHAWKIN      NJ   08050‐2618
MCDONALD, DANIEL T      719 OAKMONT CT                                                                            DANVILLE        CA   94526‐6217
MCDONALD, DANNY EDWIN   MOODY EDWARD O                   801 W 4TH ST                                             LITTLE ROCK     AR   72201‐2107
MCDONALD, DARELL E      13502 GRANDMONT AVE                                                                       DETROIT         MI   48227‐1332
MCDONALD, DARREN G      1413 N IONIA RD                                                                           VERMONTVILLE    MI   49096‐9558
MCDONALD, DAVID A       311 N PORT CRESCENT ST                                                                    BAD AXE         MI   48413‐1221
MCDONALD, DAVID E       9603 JACKSON RD                                                                           SAINT HELEN     MI   48656‐8228
MCDONALD, DAVID J       ICO THE LANIER LAW FIRM PC       6810 FM 1960 WEST                                        HOUSTON         TX   77069
MCDONALD, DAVID K       4030 CANEY CREEK LN                                                                       CHAPEL HILL     TN   37034‐2075
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Name                     Address1                        Address2                     Address3   Address4         City            State Zip
MCDONALD, DAVID L        2013 LEITH ST                                                                            FLINT            MI 48506‐4910
MCDONALD, DAVID S        ROUTE 1 127B LLL RD                                                                      REPUBLIC         MI 49879
MCDONALD, DELBERT C      1601 WHEELHOUSE CIR LOT 58                                                               RUSKIN           FL 33570‐2758
MCDONALD, DELORIS A      1063 WINTERTHUR                                                                          INDIANAPOLIS     IN 46260‐2232
MCDONALD, DERRICK A      1955 GLENWOOD DYER RD                                                                    LYNWOOD           IL 60411
MCDONALD, DERRICK L      3065 WILLIAMS RD                                                                         COLUMBUS         OH 43207‐3572
MCDONALD, DIANNA         716 E KIMBERLY AVE # 1                                                                   KIMBERLY         WI 54136‐1515
MCDONALD, DONALD         SAVILLE EVOLA & FLINT LLC       PO BOX 602                                               ALTON             IL 62002‐0602
MCDONALD, DONALD A       5130 BINGHAM AVE                                                                         NEWAYGO          MI 49337‐9414
MCDONALD, DONALD J       4336 GREENTREE DR                                                                        FLINT            MI 48507‐5606
MCDONALD, DONNA L        13418 RICHARDS DR                                                                        STRONGSVILLE     OH 44149‐4027
MCDONALD, DORA M         1055 CAMPGROUND RD                                                                       CLARKRANGE       TN 38553‐5315
MCDONALD, DOROTHY J      1486 LASALLE AVE                                                                         BURTON           MI 48509‐2408
MCDONALD, DOTTIE R       5840 SHERIDAN RD                                                                         VASSAR           MI 48768‐9596
MCDONALD, DOTTIE RAE     5840 SHERIDAN RD                                                                         VASSAR           MI 48768‐9596
MCDONALD, DOYLE E        2413 PIERCE ST                                                                           FLINT            MI 48503‐2807
MCDONALD, DOYLE EDWARD   2413 PIERCE STREET                                                                       FLINT            MI 48503‐2807
MCDONALD, DUEL           5741 E TRUMAN AVE                                                                        FRESNO           CA 93727‐6479
MCDONALD, EARL           4213 BROWNELL BLVD                                                                       FLINT            MI 48504‐2126
MCDONALD, EARL J         4213 BROWNELL BLVD                                                                       FLINT            MI 48504‐2126
MCDONALD, EARL JR        4213 BROWNELL BLVD                                                                       FLINT            MI 48504‐2126
MCDONALD, EARL W         4695 W KESSLER COWLESVILLE RD                                                            WEST MILTON      OH 45383‐9710
MCDONALD, EARL W         4695 W.KESSLER‐COWLESVILLE                                                               WEST MILTON      OH 45383‐9710
MCDONALD, EDWARD         1330 ROYALTON RD                                                                         TOLEDO           OH 43612‐2126
MCDONALD, EDWARD H       1650 PLUNKETTS RD                                                                        BUFORD           GA 30519‐5070
MCDONALD, EDWARD M       2428 N MCKINLEY RD                                                                       FLUSHING         MI 48433‐9459
MCDONALD, EDWARD P       255 OLYMPIC AVE                                                                          BUFFALO          NY 14215‐3263
MCDONALD, ELBERT W       36 BITTERSWEET RD                                                                        FAIRPORT         NY 14450‐4450
MCDONALD, ELIZABETH A    12 BREEZY DR                                                                             ERWINNA          PA 18920‐9209
MCDONALD, ELIZABETH K    1425 E ROSE CENTER RD                                                                    HOLLY            MI 48442‐8540
MCDONALD, ELJA L         411 NW 4TH ST                                                                            CORNING          AR 72422‐1813
MCDONALD, FLORA L        3519 LUCKY ST                                                                            JACKSON          MS 39213‐5745
MCDONALD, FLORA L        3519 LUCKY STREET                                                                        JACKSON          MS 39213‐5745
MCDONALD, FLORENE        6702 CRANWOOD DR                                                                         FLINT            MI 48505‐1963
MCDONALD, FRANCES L      1300 N OCEAN BLVD               APT 211                                                  POMPANO BEACH    FL 33062‐3448
MCDONALD, FRANCES L      13296 S 400 W                                                                            KOKOMO           IN 46901‐7680
MCDONALD, FRANCES L      APT 211                         1300 NORTH OCEAN BOULEVARD                               POMPANO BEACH    FL 33062‐3448
MCDONALD, FRANCIS R      12 DODGE ST                                                                              MASSENA          NY 13662‐1344
MCDONALD, FRANCIS X      4476 CLAIRBORNE WAY                                                                      INDIANAPOLIS     IN 46228‐3361
MCDONALD, FRED R         1207 JOHNSON ST                                                                          SANDUSKY         OH 44870‐4627
MCDONALD, GAIL R         37928 6TH AVE                                                                            ZEPHYRHILLS      FL 33542‐5410
MCDONALD, GAINS M        626 W 8TH ST                                                                             MONROE           MI 48161‐1519
MCDONALD, GARY C         704 COUNTY ROAD 311                                                                      MOULTON          AL 35650‐8566
MCDONALD, GARY C         14866 CHATHAM DR                                                                         SHELBY TWP       MI 48315‐1504
MCDONALD, GARY E         PO BOX 561                                                                               FAIRVIEW         TN 37062‐0561
MCDONALD, GARY W         1757 S 600 E                                                                             MARION           IN 46953‐9594
MCDONALD, GEORGE D       5111 GLENTWORTH CT                                                                       HOUSTON          TX 77084‐2386
MCDONALD, GEORGE R       7936 EAKER CT                                                                            BROWNSBURG       IN 46112‐8436
MCDONALD, GERALDINE      291 HILLCREST CIR                                                                        PITTSBURGH       PA 15237‐2525
MCDONALD, GLADYS W.      5366 CHRISTIE ANN PL                                                                     SARASOTA         FL 34233‐1573
MCDONALD, GLORIA A       3782 PARNELL WAY                                                                         ELLENWOOD        GA 30294‐6608
MCDONALD, GLORIA ANN     3782 PARNELL WAY                                                                         ELLENWOOD        GA 30294‐6608
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Name                      Address1                          Address2                          Address3   Address4         City            State Zip
MCDONALD, GRADY M         1829 MCRAVEN RD                                                                                 CLINTON          MS 39056‐9614
MCDONALD, GRADY M         1829 N MCRAVEN RD                                                                               CLINTON          MS 39056‐9056
MCDONALD, GRADY R         413 LORWOOD DR W                                                                                SHELBY           OH 44875‐1716
MCDONALD, GREGORY         KROHN & MOSS ‐ NV                 170 S GREEN VALLEY PKWY STE 280                               HENDERSON        NV 89012‐3145

MCDONALD, GREGORY A       2232 ANTRIM DR                                                                                  DAVISON         MI   48423‐8438
MCDONALD, GURSTON         GUY WILLIAM S                     PO BOX 509                                                    MCCOMB          MS   39649‐0509
MCDONALD, H B             SIMMONS FIRM                      PO BOX 559                                                    WOOD RIVER      IL   62095‐0559
MCDONALD, HAROLD I        4425 LINDEN LN                                                                                  ANDERSON        IN   46011‐1737
MCDONALD, HARRY M         1380 CRANEING RD                                                                                WICKLIFFE       OH   44092‐2520
MCDONALD, HARRY P         4630 MARTON RD                                                                                  KINGSTON        MI   48741‐9780
MCDONALD, HARRY V         8336 EVERHART DR                                                                                N FORT MYERS    FL   33917‐1610
MCDONALD, HARRY W         81 PURITAN ST                                                                                   HIGHLAND PARK   MI   48203‐3711
MCDONALD, HELEN H         5017 6TH D ST E                   GOLF LAKES MOBILE ESTATES                                     BRADENTON       FL   34203‐4614
MCDONALD, HELEN L         8208 INDIANA ST                                                                                 DETROIT         MI   48204‐3218
MCDONALD, HENRY           10330 CEDAR CV                                                                                  MADISON         AL   35756‐4228
MCDONALD, HERMAN L        13011 LOUVRE ST                                                                                 PACOIMA         CA   91331‐1814
MCDONALD, HERMAN R        1409 WHEATLAND AVE                                                                              KETTERING       OH   45429‐4939
MCDONALD, HOMER R         370 LOCUST LANE                                                                                 KNIGHTSTOWN     IN   46148‐1031
MCDONALD, HORACE G        116 CHAPEL PARK PL                                                                              ASHEVILLE       NC   28803‐1619
MCDONALD, HUGH P          858 WINTON LN NW APT B                                                                          POULSBO         WA   98370‐9484
MCDONALD, INEZ L          122 SHAWNEE DRIVE                                                                               BEDFORD         IN   47421‐5226
MCDONALD, INEZ L          122 SHAWNEE DR                                                                                  BEDFORD         IN   47421‐5226
MCDONALD, INNABELLE       4554 WOODARD                                                                                    WAYNE           MI   48184‐2067
MCDONALD, IRA S           115 E MCCLELLAN ST                                                                              FLINT           MI   48505‐4223
MCDONALD, ISABEL G        125 DOYLE FARM LN                                                                               MORRESVILLE     NC   28115
MCDONALD, JACK D          3360 S 625 W                                                                                    MORGANTOWN      IN   46160‐9586
MCDONALD, JACK E          505 S OCCIDENTAL RD                                                                             TECUMSEH        MI   49286‐1613
MCDONALD, JACK L          517 1ST AVE                                                                                     GALION          OH   44833‐2842
MCDONALD, JACQUELINE      61 FERNWOOD AVE                                                                                 DAYTON          OH   45405‐5405
MCDONALD, JACQUELINE      1173 MAURER AVE                                                                                 PONTIAC         MI   48342‐1958
MCDONALD, JAMES C         1223 FOUNTAIN VIEW LN                                                                           OXFORD          MI   48371‐3672
MCDONALD, JAMES C         10801 BERLIN STATION RD                                                                         CANFIELD        OH   44406‐9725
MCDONALD, JAMES E         480 CUMINGS CT                                                                                  SPARTA          MI   49345‐8417
MCDONALD, JAMES K         222 WESTWOOD DRIVE                                                                              BEDFORD         IN   47421‐3938
MCDONALD, JAMES M         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
MCDONALD, JAMES O         3614 PLUM BROOK CIR                                                                             SANDUSKY        OH   44870
MCDONALD, JAMES R         11318 BONASA DR NE                                                                              ROCKFORD        MI   49341‐8154
MCDONALD, JAMES R         4258 N CONCHO RD                                                                                GOLDEN VALLEY   AZ   86413‐5951
MCDONALD, JAMES R         4838 BUCKTHORNE DR                                                                              SAGINAW         MI   48603‐3840
MCDONALD, JAMES R         2700 GEERT CT                                                                                   LANSING         MI   48910‐3747
MCDONALD, JANICE E        1809 CRICKET HILL DR                                                                            KOKOMO          IN   46902‐4508
MCDONALD, JARED MICHAEL   1141 WILDWOOD LN                                                                                BLUFFTON        IN   46714‐9306
MCDONALD, JEFFERY D       5443 W COLDWATER RD                                                                             FLINT           MI   48504‐1021
MCDONALD, JEFFERY S       2579 AIRLINE DR APT 3H                                                                          BOSSIER CITY    LA   71111‐5821
MCDONALD, JEFFERY SCOTT   2579 AIRLINE DR APT 3H                                                                          BOSSIER CITY    LA   71111‐5821
MCDONALD, JEFFREY L       1525 COVINGTON WOODS LN                                                                         LAKE ORION      MI   48360‐1216
MCDONALD, JENNIE          415 SIR GALAHAD DRIVE                                                                           BROOKHAVEN      PA   19015‐1515
MCDONALD, JERVIS          71 DWIGHT AVE                                                                                   PONTIAC         MI   48341‐1273
MCDONALD, JESSE J         4085 LAPEER RD                    C/O JOSEPH E BAESSLER                                         BURTON          MI   48509‐1707
MCDONALD, JIMMIE D        39 HAWTHORNE AVE                                                                                MARTINSBURG     WV   25401‐0054
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Name                         Address1                      Address2                        Address3   Address4         City                   State Zip
MCDONALD, JIMMY D            27876 NORTH 68TH PLACE                                                                    SCOTTSDALE              AZ 85266‐7427
MCDONALD, JIMMY R            PO BOX 721                                                                                MIDLOTHIAN              TX 76065‐0721
MCDONALD, JOANN M            4813 ELDORADO DR                                                                          NORTH RICHLAND HILLS    TX 76180‐7227
MCDONALD, JODI               816 VALE STREET                                                                           LOUDON                  TN 37774‐1019
MCDONALD, JOHN               GUY WILLIAM S                 PO BOX 509                                                  MCCOMB                  MS 39649‐0509
MCDONALD, JOHN C             PO BOX 897                                                                                PARK HILLS              MO 63601‐0897
MCDONALD, JOHN E             435 MCKINLEY AVE                                                                          GROSSE POINTE FARMS     MI 48236‐3241
MCDONALD, JOHN H             1396 QUAKER RD                                                                            BARKER                  NY 14012‐9605
MCDONALD, JOHN L             5612 MORSE DR                                                                             OAKLAND                 CA 94605‐1136
MCDONALD, JOHN L             8154 STAHLEY RD                                                                           EAST AMHERST            NY 14051‐1538
MCDONALD, JOHN M             6271 N LONDON AVE APT B                                                                   KANSAS CITY             MO 64151‐5206
MCDONALD, JOHN M             5912 VILLA FRANCE AVE                                                                     ANN ARBOR               MI 48103‐8815
MCDONALD, JOHN MICHAEL       6271 N LONDON AVE APT B                                                                   KANSAS CITY             MO 64151‐5206
MCDONALD, JOHN W             2249 RIDGE RD APT B                                                                       MCKEESPORT              PA 15135‐3230
MCDONALD, JOHNNIE            PORTER & MALOUF PA            4670 MCWILLIE DR                                            JACKSON                 MS 39206‐5621
MCDONALD, JOSEPH F           645 BACON RD                                                                              SAGINAW                 MI 48609‐5170
MCDONALD, JOSEPH L           10356 LAFOLLETTE DR                                                                       BRIGHTON                MI 48114‐9611
MCDONALD, JOSIE N            4213 BROWNELL BLVD                                                                        FLINT                   MI 48504‐2126
MCDONALD, JUDITH D           15228 GARFIELD                                                                            ALLEN PARK              MI 48101‐2050
MCDONALD, JUNIOR L           338 DURST DR.                                                                             WARREN                  OH 44483‐1106
MCDONALD, JUNIOR L           338 DURST DR NW                                                                           WARREN                  OH 44483‐1106
MCDONALD, KAITLYN            KIMMEL & SILVERMAN PC         1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL             NJ 08003
MCDONALD, KAMI K             2508 PIERCE ST                                                                            FLINT                   MI 48503‐2835
MCDONALD, KAREN J            3206 GIDDINGS BOULEVARD                                                                   HIGHLAND                MI 48356‐2035
MCDONALD, KAREN R            51 SNUG HARBOR CT                                                                         ROCHESTER               NY 14612‐4952
MCDONALD, KATHLEEN           7290 PARKHURST DR                                                                         BLOOMFIELD              MI 48301‐3942
MCDONALD, KATHLEEN DELORES   464 N SULPHUR SPRINGS RD                                                                  W ALEXANDRIA            OH 45381‐9613
MCDONALD, KEITH E            1075 CHIPMUNK LN                                                                          PENDLETON               IN 46064‐9167
MCDONALD, KENNETH R          1141 WILDWOOD LN                                                                          BLUFFTON                IN 46714‐9306
MCDONALD, KENNETH RIAN       1141 WILDWOOD LN                                                                          BLUFFTON                IN 46714‐9306
MCDONALD, KEVIN              1132 KANE DR                                                                              PORT ORANGE             FL 32129‐4009
MCDONALD, LACHLAN            1805 E BEVENS RD                                                                          CARO                    MI 48723‐8905
MCDONALD, LAMURRIEL          577 FILDEW AVE                                                                            PONTIAC                 MI 48341‐2632
MCDONALD, LAURA M            1943 S DRAKE AVE                                                                          CHICAGO                  IL 60623‐3116
MCDONALD, LAURIE A           11059 E GOODALL RD                                                                        DURAND                  MI 48429‐9741
MCDONALD, LAURIE A.          11059 E GOODALL RD                                                                        DURAND                  MI 48429‐9741
MCDONALD, LAWRENCE C         4619 BELDING RD                                                                           ONAWAY                  MI 49765‐8824
MCDONALD, LAWRENCE V         4839 IRWINDALE DR                                                                         WATERFORD               MI 48328‐2009
MCDONALD, LEAH J             370 LOCUST LANE                                                                           KNIGHTSTOWN             IN 46148‐1031
MCDONALD, LEONARD J          1622 N JONES RD                                                                           ESSEXVILLE              MI 48732‐1586
MCDONALD, LESLIE             1055 CAMPGROUND RD                                                                        CLARKRANGE              TN 38553‐5315
MCDONALD, LINDA              121 SCOTT RD                                                                              FITZGERALD              GA 31750
MCDONALD, LINDA R            PO BOX 230092                                                                             FAIR HAVEN              MI 48023‐0092
MCDONALD, LINDSEY F          1628 HEATHER PL                                                                           PALM HARBOR             FL 34684
MCDONALD, LORETTA M          4162 W WOODS EDGE LN                                                                      MUNCIE                  IN 47304‐6082
MCDONALD, LORI L             5542 STILL MEADOW LN                                                                      GRAND BLANC             MI 48439‐3439
MCDONALD, LOY W              PO BOX 997                                                                                WEATHERFORD             TX 76086‐0997
MCDONALD, LUCILLE J          16025 HOMESTEAD CIR                                                                       NORTHVILLE              MI 48168‐3473
MCDONALD, LYLE D             16496 LEWISBURG RD                                                                        LEWISBURG               KY 42256
MCDONALD, MADELEINE E        5240 GLENWOOD CRK                                                                         CLARKSTON               MI 48348‐4840
MCDONALD, MADELINE A         6430 TONAWANDA CREEK RD                                                                   LOCKPORT                NY 14094‐7954
MCDONALD, MADISON M          1721 UNIVERSITY DR                                                                        COLUMBIA                TN 38401‐6413
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Name                    Address1                      Address2                        Address3   Address4         City             State Zip
MCDONALD, MAE E         4137 ROLLING SPRINGS DR                                                                   TAMPA             FL 33624‐2306
MCDONALD, MARCELENE H   6534 S. STATE RD                                                                          IONIA             MI 48846‐8425
MCDONALD, MARCELENE H   6534 S STATE RD                                                                           IONIA             MI 48846‐8425
MCDONALD, MARGARET      1670 JACK CROWELL RD                                                                      EROS              LA 71238‐8358
MCDONALD, MARGARET A    679 S PANTANO PKWY                                                                        TUCSON            AZ 85710‐5874
MCDONALD, MARGARET G    1670 JACK CROWELL RD                                                                      EROS              LA 71238‐8358
MCDONALD, MARIA E       15730 MEADOW WOOD DR                                                                      WELLINGTON        FL 33414‐9024
MCDONALD, MARIA L       8621 ROLLING ACRES DR                                                                     MAYVILLE          MI 48744‐9394
MCDONALD, MARIE A       108 N MIDLAND DR                                                                          PONTIAC           MI 48342‐2543
MCDONALD, MARJORIE J    421 BANCROFT ST APT 214                                                                   IMLAY CITY        MI 48444‐1179
MCDONALD, MARK A        1845 BUFFALO RD                                                                           HOHENWALD         TN 38462‐2582
MCDONALD, MARK W        1015 WHITMORE ST                                                                          ANDERSON          IN 46012‐9216
MCDONALD, MARLENE       5270 OLD OAK TRL APT 53                                                                   CINCINNATI        OH 45238‐5364
MCDONALD, MARY          414 CURRY ST                                                                              NORTH VENICE      FL 34275‐2975
MCDONALD, MARY          44219 AUSABLE DRIVE                                                                       CLINTON TWP       MI 48038‐1410
MCDONALD, MARY          39899 MEMORY LANE                                                                         HARRISON TWP      MI 48045‐1763
MCDONALD, MARY A        101 HYDE PARK                                                                             LOCKPORT          NY 14094‐4750
MCDONALD, MARY B.       4273 SPRUCE KNOB DR                                                                       VIRGINIA BEACH    VA 23456‐5837
MCDONALD, MARY E        11185 MCKINLEY ROAD                                                                       MONTROSE          MI 48457‐9006
MCDONALD, MARY H        15 DICKENS CT                                                                             JACKSON           MS 39206‐2436
MCDONALD, MARY M        11350 WOODSTOCK RD APT 2202                                                               ROSWELL           GA 30075‐7538
MCDONALD, MASON G       177 W PROSPECT ST                                                                         JACKSON           MI 49203‐4278
MCDONALD, MATTHEW L     1914 BURLINGTON CIR                                                                       COLUMBIA          TN 38401‐6809
MCDONALD, MAXINE M      625 E WATER ST APT 1          FALL CREEK RETIREMENT VILLAGE                               PENDLETON         IN 46064‐9378
MCDONALD, MEDA F        827 LINDBERGH LN                                                                          GRAND PRAIRIE     TX 75051‐1572
MCDONALD, MEDA F        827 LINDBERG LANE                                                                         GRAND PRAIRIE     TX 75051
MCDONALD, MELANIE E     1412 IMPERIAL DR                                                                          KOKOMO            IN 46902‐5618
MCDONALD, MELINDA L     16094 JULIANA AVE                                                                         EASTPOINTE        MI 48021‐2946
MCDONALD, MELVIN        1801 COLMAR LN                                                                            CINCINNATI        OH 45237‐1119
MCDONALD, MELVIN        4162 W WOODS EDGE LN                                                                      MUNCIE            IN 47304‐6082
MCDONALD, MICHAEL A     569 SAINT PAUL AVE                                                                        DAYTON            OH 45410‐2244
MCDONALD, MICHAEL A     414 N BILTMORE AVE                                                                        MUNCIE            IN 47303‐4221
MCDONALD, MICHAEL B     1715 DELEVAN AVE                                                                          LANSING           MI 48910‐1331
MCDONALD, MICHAEL C     531 BRADY LANE                                                                            PONTIAC           MI 48342‐1775
MCDONALD, MICHAEL D     115 SUNRISE LN                                                                            LIZTON            IN 46149‐9241
MCDONALD, MICHAEL H     1040 N ROBERT ST                                                                          LUDINGTON         MI 49431‐1346
MCDONALD, MICHAEL L     4491 NICHOLS RD                                                                           SWARTZ CREEK      MI 48473‐8511
MCDONALD, MICHAEL T     115 COTTAGE AVE                                                                           PORTSMOUTH         RI 02871‐4600
MCDONALD, MICHAEL T     9288 FISK RD                                                                              AKRON             NY 14001‐9025
MCDONALD, MICKEY L      2701 DELTA RIVER DR                                                                       LANSING           MI 48906‐3636
MCDONALD, MIKE          50053 MIDDLE RIVER DR                                                                     MACOMB            MI 48044‐1208
MCDONALD, MILTON        3270 WINTERGREEN DR W                                                                     SAGINAW           MI 48603‐1977
MCDONALD, MYRTLE        VARAS & MORGAN                PO BOX 886                                                  HAZLEHURST        MS 39083‐0886
MCDONALD, NANCY         15170 COOPER ST                                                                           TAYLOR            MI 48180‐7707
MCDONALD, NANCY C       1104 OTTAWA                                                                               ROYAL OAK         MI 48073‐2037
MCDONALD, NANCY C       1104 OTTAWA DR                                                                            ROYAL OAK         MI 48073‐2037
MCDONALD, NANCY J       4101 OAKLAWN DR                                                                           JACKSON           MS 39206‐4743
MCDONALD, NATHANIEL M   262 MAYFAIR                                                                               WATERFORD         MI 48327‐3524
MCDONALD, NEIL D        1650 PILGRIM RD                                                                           CUMMING           GA 30040‐4596
MCDONALD, NICHOLAS H    10006 WELLFORD COURT                                                                      FREDERICKSBRG     VA 22407‐4383
MCDONALD, NORMAN R      143 DALE ST                                                                               SYRACUSE          NY 13208‐2325
MCDONALD, ORVILLE L     4795 BELDING RD                                                                           ONAWAY            MI 49765‐8824
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Name                       Address1                         Address2                      Address3   Address4         City                 State Zip
MCDONALD, PAMELA J         1721 UNIVERSITY DR                                                                         COLUMBIA              TN 38401‐6413
MCDONALD, PAMELA JAN       1721 UNIVERSITY DR                                                                         COLUMBIA              TN 38401‐6413
MCDONALD, PATRICIA A       113 NEWTON ST                                                                              NORWALK               OH 44857‐1245
MCDONALD, PATRICIA A       1652 HAMILTON DRIVE                                                                        BLOOMFIELD            MI 48302‐0220
MCDONALD, PATRICIA A       2147 SULLIVAN RD                                                                           OXFORD                MI 48371‐3445
MCDONALD, PATRICIA M       1 BURLINGTON PL                                                                            WOODCLIFF LAKE        NJ 07677‐8300
MCDONALD, PATRICK A        121 SCOTT RD                                                                               FITZGERALD            GA 31750‐8475
MCDONALD, PATRICK E        5983 KEITHVILLE SPRINGRIDGE RD                                                             KEITHVILLE            LA 71047‐6585
MCDONALD, PATRICK EUGENE   5983 KEITHVILLE SPRINGRIDGE RD                                                             KEITHVILLE            LA 71047‐6585
MCDONALD, PATRICK R        2976 N LAKE ANGELUS RD W                                                                   WATERFORD             MI 48329‐2539
MCDONALD, PATRICK RALPH    2976 N LAKE ANGELUS RD W                                                                   WATERFORD             MI 48329‐2539
MCDONALD, PAUL E           13450 DECHANT RD                                                                           FARMERSVILLE          OH 45325‐9292
MCDONALD, PAUL EUGENE      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                            STREET, SUITE 600
MCDONALD, PAUL J           5632 CLIFFSIDE DR                                                                          TROY                 MI   48085‐3845
MCDONALD, PAUL W           5 COBB LN                                                                                  DEDHAM               MA   02026‐2120
MCDONALD, PEGGY P          12 COVENTRY CT                                                                             NORTH AUGUSTA        SC   29860‐7671
MCDONALD, PEGGY W          2240 MEADOWLARK LN E                                                                       REYNOLDSBURG         OH   43068‐4923
MCDONALD, PHILLIP          812 N ROSE ST                                                                              MONTICELLO           AR   71655‐4248
MCDONALD, PRISCILLA I      122 PAUL RD                      YARDLEY FARMS                                             MORRISVILLE          PA   19067‐4821
MCDONALD, QUENTIN          ANGELOS PETER G                  100 N CHARLES STREET, ONE                                 BALTIMORE            MD   21201‐3812
                                                            CHARLES CENTER
MCDONALD, QUINTON K        505 N HAMILTON ST                                                                          OLATHE               KS   66061‐3326
MCDONALD, R D              25 SUNNINGDALE LN                                                                          HILTON HEAD ISLAND   SC   29926
MCDONALD, RAYLA RENETTE    3653 RIALTO WAY                                                                            GRAND PRAIRIE        TX   75052‐7214
MCDONALD, RAYMOND L        3333 S TACOMA AVE                                                                          INDIANAPOLIS         IN   46237‐1108
MCDONALD, RICHARD          13 WOOD AVE                                                                                CORNWALL HDSN        NY   12520‐1212
MCDONALD, RICHARD L        8940 LAINGSBURG RD                                                                         LAINGSBURG           MI   48848‐9330
MCDONALD, RICHARD LEE      8940 LAINGSBURG RD                                                                         LAINGSBURG           MI   48848‐9330
MCDONALD, RICHARD O        1041 CO RD 1175, R 3                                                                       ASHLAND              OH   44805
MCDONALD, RICKIE C         836 POPE RD                                                                                SCOTTSVILLE          KY   42164‐8711
MCDONALD, ROBBIE H         9223 NAVAJO TRL                                                                            FLUSHING             MI   48433
MCDONALD, ROBBIN R         801 HARBOR WALK DRIVE                                                                      FORT WAYNE           IN   46819‐2626
MCDONALD, ROBERT           LEBLANC & WADDELL                5353 ESSEN LN STE 420                                     BATON ROUGE          LA   70809‐0500
MCDONALD, ROBERT           SIMMONS FIRM                     PO BOX 521                                                EAST ALTON           IL   62024‐0519
MCDONALD, ROBERT           BELLUCK & FOX LLP                546 5TH AVE #4                                            NEW YORK             NY   10036‐5000
MCDONALD, ROBERT B         5522 BEAVON AVE                                                                            WEST CARROLLTON      OH   45449‐2718
MCDONALD, ROBERT C         WEITZ & LUXENBERG                180 MAIDEN LANE                                           NEW YORK             NY   10038
MCDONALD, ROBERT E         122 RIVERDALE CT                                                                           ELYRIA               OH   44035‐6067
MCDONALD, ROBERT E         125 DEETER DR.                                                                             CLAYTON              OH   45315‐5315
MCDONALD, ROBERT E         811 SAINT NICHOLAS AVE                                                                     DAYTON               OH   45410‐2521
MCDONALD, ROBERT J         1946 LAKEWOOD DR                                                                           GLADWIN              MI   48624‐9279
MCDONALD, ROBERT J         43135 CAMBRIDGE DR                                                                         STERLING HEIGHTS     MI   48313‐1811
MCDONALD, ROBERT J.        43135 CAMBRIDGE DR                                                                         STERLING HEIGHTS     MI   48313‐1811
MCDONALD, ROBERT T         PO BOX 36                                                                                  FOWLER               OH   44418‐0036
MCDONALD, ROBERT T         330 CEDARWOOD DR                                                                           FLUSHING             MI   48433‐1873
MCDONALD, ROBIN E          533 N STONETREE PL                                                                         ANDOVER              KS   67002‐7538
MCDONALD, RODGER           274 MOUNT VERNON CHURCH RD                                                                 WEST MONROE          LA   71292‐3374
MCDONALD, RODGER B         274 MOUNT VERNON CHURCH RD                                                                 WEST MONROE          LA   71292‐3374
MCDONALD, RONALD J         PO BOX 13119                                                                               TOLEDO               OH   43613‐0119
MCDONALD, RONALD JOSEPH    PO BOX 13119                                                                               TOLEDO               OH   43613‐0119
MCDONALD, RONALD R         5840 SHERIDAN RD                                                                           VASSAR               MI   48768‐9596
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Name                    Address1                       Address2                      Address3   Address4         City             State Zip
MCDONALD, RONALD R      80 VALLEY ST                                                                             MAYVILLE          NY 14757‐1322
MCDONALD, ROSEMARY E    5248 VASSAR RD                                                                           GRAND BLANC       MI 48439‐9176
MCDONALD, ROSHANDA S.   3653 RIALTO WAY                                                                          GRAND PRAIRIE     TX 75052‐7214
MCDONALD, ROY I         1848 E STATE ROUTE 73                                                                    WAYNESVILLE       OH 45068‐8714
MCDONALD, ROY I         1848 EAST STATE ROUTE 73                                                                 WAYNESVILLE       OH 45068‐8714
MCDONALD, ROY J         ROUTE 2                                                                                  POTSDAM           NY 13676
MCDONALD, SALLY A       00 DOUGLAS ROAD                                                                          WEBSTER           MA 01570
MCDONALD, SANDRA        134 LARRY AVE                                                                            VANDALIA          OH 45377‐3012
MCDONALD, SANDRA R      184 GLEN GARY DR                                                                         MOUNT MORRIS      MI 48458
MCDONALD, SARA M        210 DOUGLAS DR                                                                           EUSTIS            FL 32726‐2675
MCDONALD, SCOTT R       21 SONGBIRD CT                                                                           GREENFIELD        IN 46140‐1161
MCDONALD, SHELA J       304 N MANNGROVE LN                                                                       MUNCIE            IN 47303‐4362
MCDONALD, SHIRLEY       39 BELMONT ST                                                                            BUFFALO           NY 14207‐1309
MCDONALD, SHIRLEY A     205 REDWOOD AVENUE                                                                       DAYTON            OH 45405‐5115
MCDONALD, SHIRLEY J     8840 STONE RIVER DR                                                                      GAINESVILLE       GA 30506‐4858
MCDONALD, SHIRLEY M     P.O BOX 83                                                                               MC CALL CREEK     MS 39647‐9647
MCDONALD, SHIRLEY M     PO BOX 83                                                                                MC CALL CREEK     MS 39647‐0083
MCDONALD, STEPHAN L     4133 MEADOWCROFT FOAD                                                                    KETTERING         OH 45429
MCDONALD, STEPHEN A     27 WOODWARD RD TRLR 16                                                                   LINCOLN            RI 02865‐4962
MCDONALD, STEPHEN P     6159 LAKEVIEW PARK DR                                                                    LINDEN            MI 48451‐9098
MCDONALD, STEVEN L      2055 82ND AVE LOT 450                                                                    VERO BEACH        FL 32966‐1637
MCDONALD, SUSAN M       124 JB LEDBETTER LN                                                                      LIVINGSTON        TN 38570‐6700
MCDONALD, SUZANNE R     11407 OREGON CIR                                                                         FENTON            MI 48430‐2432
MCDONALD, TERRY G       202 JOHNNIE DR                                                                           SHREVEPORT        LA 71115‐2606
MCDONALD, TERRY J       36014 HUNTER AVE APT 11312                                                               WESTLAND          MI 48185‐6652
MCDONALD, TERRY L       1091 HARDING DR                                                                          FLINT             MI 48507‐4228
MCDONALD, THOMAS        4185 PETERSBURG RD                                                                       DUNDEE            MI 48131
MCDONALD, THOMAS A      1232 STALEY RD                                                                           GRAND ISLAND      NY 14072‐2149
MCDONALD, THOMAS B      8621 ROLLING ACRES DR                                                                    MAYVILLE          MI 48744‐9394
MCDONALD, THOMAS J      60 GLENORA GDNS APT 4                                                                    ROCHESTER         NY 14615
MCDONALD, THOMAS J      GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                       STREET, SUITE 600
MCDONALD, THOMAS L      638 N MCKINLEY RD LOT 42                                                                 FLUSHING         MI   48433‐1376
MCDONALD, THOMAS L      184 DOWNS DR                                                                             HAMPSHIRE        TN   38461‐5142
MCDONALD, THOMAS M      214 CHURCH RD                                                                            STONEWALL        LA   71078
MCDONALD, THOMAS MARK   214 CHURCH RD                                                                            STONEWALL        LA   71078
MCDONALD, THOMAS R      4986 FRANLOU AVENUE                                                                      DAYTON           OH   45432‐3120
MCDONALD, THOMAS R      6704 E GALWAY CIR                                                                        DIMONDALE        MI   48821‐9443
MCDONALD, TIANA L       2832 PROSPECT ST                                                                         FLINT            MI   48504‐7523
MCDONALD, TIFFANY A     6642 CENTER ROAD                                                                         VALLEY CITY      OH   44280‐9748
MCDONALD, TIMOTHY       BRAYTON PURCELL                PO BOX 6169                                               NOVATO           CA   94948‐6169
MCDONALD, TIMOTHY J     5 POPLAR PARK BLVD                                                                       PLEASANT RIDGE   MI   48069‐1114
MCDONALD, TIMOTHY M     1729 S MAPLE RD                                                                          MIKADO           MI   48745‐9728
MCDONALD, TINA L        360 ROCKY COVE TRL                                                                       LAWRENCEVILLE    GA   30044
MCDONALD, TOM L         950 S PINECROFT LN                                                                       MIDLAND          MI   48640
MCDONALD, TOMMY K       1120 FOREST DR                                                                           ANDERSON         IN   46011‐1240
MCDONALD, TRACY         902 WHEELER ST                                                                           LUFKIN           TX   75901‐8834
MCDONALD, VALERIE A     13862 BENTLY CIR                                                                         FORT MYERS       FL   33912‐1987
MCDONALD, VAUGHN        255 SHETLAND DR                                                                          NEW CASTLE       DE   19720‐8800
MCDONALD, VERNELL       SHANNON LAW FIRM               100 W GALLATIN ST                                         HAZLEHURST       MS   39083‐3007
MCDONALD, VERNON H      2041 PENNY LN                                                                            YOUNGSTOWN       OH   44515‐4931
MCDONALD, VETA L        3672 LAKEWOOD SHORES DR                                                                  HOWELL           MI   48843‐6808
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Name                                Address1                        Address2                        Address3   Address4         City            State Zip
MCDONALD, VIOLET J                  439 LOGAN AVE                                                                               ORANGE PARK      FL 32065‐6717
MCDONALD, VIVIAN A                  3002 HANEY RD                                                                               DAYTON           OH 45405‐2011
MCDONALD, WARREN C                  10066 EDGEWOOD RD                                                                           BROWNSBURG       IN 46112‐8544
MCDONALD, WAYNE A                   50 HARVEST LN                                                                               HOCKESSIN        DE 19707‐2094
MCDONALD, WHYTINE                   VARAS & MORGAN                  PO BOX 886                                                  HAZLEHURST       MS 39083‐0886
MCDONALD, WILLIAM A                 1214 FOREST BAY DR                                                                          WATERFORD        MI 48328‐4290
MCDONALD, WILLIAM B                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510‐2212
                                                                    STREET, SUITE 600
MCDONALD, WILLIAM C                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                                    STREET, SUITE 600
MCDONALD, WILLIAM C                 BRAYTON PURCELL                 PO BOX 6169                                                 NOVATO          CA    94948‐6169
MCDONALD, WILLIAM E                 206 TRAM RD                                                                                 LANCASTER       SC    29720‐9595
MCDONALD, WILLIAM E                 4295 SAINT FRANCIS DR                                                                       HAMBURG         NY    14075‐1724
MCDONALD, WILLIAM H                 19425 ENSOR ROAD                                                                            WHITE HALL      MD    21161‐8808
MCDONALD, WILLIAM H                 19425 ENSOR RD                                                                              WHITE HALL      MD    21161‐8808
MCDONALD, WILLIAM J                 11 ROOSEVELT ST                                                                             MAYNARD         MA    01754‐1856
MCDONALD, WILLIAM S                 11470 E ANDALUSIAN PL                                                                       TUCSON          AZ    85748‐9200
MCDONALD, WILLIAM T                 3213 BARE CREEK LN                                                                          RALEIGH         NC    27603‐8921
MCDONALD, WILLIE B                  7516 CARLETON                                                                               ST LOUIS        MO    63130‐1618
MCDONALD, WILLIE E                  6883 VALLEY RD                                                                              MERIDIAN        MS    39307
MCDONALD, WILLIE E                  454 TALLEY ST NW                                                                            CLEVELAND       TN    37312‐5203
MCDONALD, WILLLIAM                  PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON         MS    39206‐5621
MCDONALD, WINIFRED M                25629 SHOAL CREEK DR                                                                        MONEE           IL    60449‐8567
MCDONALD‐HINTZE, ANN E              21254 CLAYTON DR                                                                            MACOMB          MI    48044‐1855
MCDONALD‐HUNTINGTON, KATHLEEN D     1297EAST KITCHEL RD                                                                         LIBERTY         IN    47353‐8801

MCDONALD‐HUNTINGTON, KATHLEEN D     1297 E KITCHEL RD                                                                           LIBERTY          IN   47353‐8801

MCDONALDS DESIGN & BUILD INC        ACT OF D J DE LEON 98CV33659    101 CLINTON ST STE 2200                                     DEFIANCE        OH 43512‐2173
MCDONALDSON CARL (446207)           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                    PROFESSIONAL BLDG
MCDONALL, CAROL A                   4361 CLARKWOOD PKWY APT 229                                                                 CLEVELAND       OH    44128‐4869
MCDONALL, CAROL A                   4361 CLARKWOOD PKWY             APT 229                                                     WARRENSVILLE    OH    44128
MCDONEL, FLOYD E                    321 OLD FLORENCE PULASKI RD                                                                 LEOMA           TN    38468‐5360
MCDONELL, JOSEPH P                  8040 ROLL RD                                                                                EAST AMHERST    NY    14051‐1972
MCDONELL, PATRICIA M                8220 NORTHFIELD RD                                                                          CLARENCE CTR    NY    14032
MCDONELL, RICHARD                   8942 CHESTNUT RIDGE RD                                                                      MIDDLEPORT      NY    14105‐9661
MCDONELL, ROGER L                   10340 JASON RD                                                                              RICHMOND        VA    23235‐2628
MCDONIE DAVID L (493994)            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA    23510
                                                                    STREET, SUITE 600
MCDONIE, DAVID L                    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                                    STREET, SUITE 600
MCDONIEL, CHARLES R                 6865 COWAN MILL RD                                                                          WINSTON         GA    30187‐1532
MCDONLEY, DAVID W                   2109 N 500 W                                                                                WINCHESTER      IN    47394‐9133
MCDONLEY, ROBERT H                  216 KYTE ST                                                                                 COLUMBUS        IN    47201‐7988
MCDONNAL, CARY A                    2205 N BOYD ST                                                                              OKLAHOMA CITY   OK    73141‐1027
MCDONNEL, DAVID A                   1718 ALLISON AVE                                                                            SPEEDWAY        IN    46224‐5632
MCDONNELL DOUGLAS CORP
MCDONNELL DOUGLAS CORPORATION       PO BOX 516                      ST. LOUIS AIRPORT                                           SAINT LOUIS     MO 63166‐0516
MCDONNELL DOUGLAS HELICOPTERS CO,

MCDONNELL I I I, ALEX               9752 W COUNTY ROAD 825 N                                                                    MIDDLETOWN       IN   47356‐9708
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Name                          Address1                          Address2                           Address3   Address4         City               State Zip
MCDONNELL ROBERT L (446208)   CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND           OH 44115
                              GAROFOLI                          FL
MCDONNELL SUZANNE             34982 MOURNING DOVE LN                                                                           RICHMOND           MI    48062‐5505
MCDONNELL, CAROL A            1162 SAN JUAN DRIVE                                                                              LADY LAKE          FL    32159‐9178
MCDONNELL, DEBORAH            2212 REGINA AVE                                                                                  LINCOLN PARK       MI    48146‐2589
MCDONNELL, EDWARD G           3316 CONGRESS AVE                                                                                SAGINAW            MI    48602‐3108
MCDONNELL, GEORGE F           25826 SANDY LODGE ROAD                                                                           SUN CITY           CA    92586‐2352
MCDONNELL, GERALD L           840 KIRKWOOD DR                                                                                  MIDDLEVILLE        MI    49333‐8870
MCDONNELL, GWILI M            10665 W BRAEMAR                                                                                  HOLLY              MI    48442‐8584
MCDONNELL, GWILI MARIE        10665 W BRAEMAR                                                                                  HOLLY              MI    48442‐8584
MCDONNELL, JOHN K             8793 MESSMORE RD                                                                                 SHELBY TOWNSHIP    MI    48317‐4441
MCDONNELL, MARY J             3309 CONGRESS AVE                                                                                SAGINAW            MI    48602‐3109
MCDONNELL, MARY J             3309 CONGRESS                                                                                    SAGINAW            MI    48602‐3109
MCDONNELL, MICHAEL B          3375 E MICHIGAN AVE LOT 276                                                                      YPSILANTI          MI    48198‐9467
MCDONNELL, MILTON T           4349 SEDUM GLN                                                                                   WATERFORD          MI    48328‐1152
MCDONNELL, MILTON THOMAS      4349 SEDUM GLN                                                                                   WATERFORD          MI    48328‐1152
MCDONNELL, PATRICK J          608 STADIUM DR                                                                                   FORT WAYNE         IN    46805‐2505
MCDONNELL, ROBERT L           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND          OH    44115
                              GAROFOLI                          FL
MCDONNELL, SARAH J            265 LIBBY LN APT 28                                                                              GALION             OH    44833‐3328
MCDONNELL, SARAH J            265 LIBBY LANE                    APT 28                                                         GALION             OH    44833‐3328
MCDONNELL, SCOTT              8500 N COUNTY ROAD 1000 W                                                                        MIDDLETOWN         IN    47356‐9393
MCDONNELL, SCOTT A.           8500 N COUNTY ROAD 1000 W                                                                        MIDDLETOWN         IN    47356‐9393
MCDONNELL, SHARYN M           6877 SALINE DR #10                                                                               WATERFORD          MI    48329‐1256
MCDONNELL, SHARYN M           6877 SALINE ST                    10                                                             WATERFORD          MI    48329
MCDONNELL, SUSAN              2333 CROYDON RD                                                                                  TWINSBURG          OH    44087‐1303
MCDONNELL, THOMAS J           10665 W BRAEMAR                                                                                  HOLLY              MI    48442‐8584
MCDONNELL, VERONA J           3301 PASEO HALCON                                                                                SAN CLEMENTE       CA    92672‐3524
MCDONNELL/FRMNGTN HL          MANUFACTURING ENG. SYSTEM CO.     30445 NORTHWESTERN, SUITE 100                                  FARMINGTON HILLS   MI    48334

MCDONNOUGH, EDNA M            804 N ROGERS HWY                                                                                 TECUMSEH           MI 49286‐9518
MCDONOUGH & HACKING           M LAVOIE MCDONOUGH & HACKING      1 CENTER PLAZA                                                 BOSTON             MA 02108
MCDONOUGH ALLAN P (456847)    KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                  CLEVELAND          OH 44114
                                                                BOND COURT BUILDING
MCDONOUGH BARRY & LORRIE      MCDONOUGH, BARRY                  120 WEST MADISON STREET , 10TH                                 CHICAGO             IL   60602
                                                                FLOOR
MCDONOUGH DONALD W (500513)   (NO OPPOSING COUNSEL)
MCDONOUGH I I, THOMAS B       1580 STONY HILL RD                                                                               HINCKLEY           OH 44233‐9573
MCDONOUGH II, THOMAS B        1580 STONY HILL RD                                                                               HINCKLEY           OH 44233‐9573
MCDONOUGH JENNIFER            MCDONOUGH, JENNIFER               656 W RANDOLPJ STREET SUITE                                    CHICAGO            IL 60661
                                                                500W
MCDONOUGH JENNIFER            MCDONOUGH, JENNIFER               270 MADISON AVENUE 10TH FLOOR                                  NEW YORK           NY 10016

MCDONOUGH JENNIFER            POINTER, ANDREW L                 656 W RANDOLPJ STREET SUITE                                    CHICAGO             IL   60661
                                                                500W
MCDONOUGH JENNIFER            POINTER, ANDREW L                 270 MADISON AVENUE 10TH FLOOR                                  NEW YORK           NY 10016

MCDONOUGH JR, LOUIS W         1289 OSPREY WAY                                                                                  GREENWOOD          IN 46143‐7336
MCDONOUGH, ALLAN P            KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                   CLEVELAND          OH 44114
                                                                BOND COURT BUILDING
MCDONOUGH, BARRY              KROHN & MOSS ‐ IL                 120 WEST MADISON STREET, 10TH                                  CHICAGO             IL   60602
                                                                FLOOR
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Name                    Address1                            Address2                        Address3   Address4         City            State Zip
MCDONOUGH, CHARLES E    2813 JOHN GRAY RD                                                                               CINCINNATI       OH 45251‐4218
MCDONOUGH, CHERIE       743 SW 13TH ST                                                                                  MOORE            OK 73160‐2634
MCDONOUGH, DONALD       THE LIPMAN LAW FIRM                 5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES     FL 33146
MCDONOUGH, EDWARD R     4370 N HILLCREST CIR                                                                            FLINT            MI 48506‐1422
MCDONOUGH, EVELYN M     830 JEFFERSON AVE                                                                               DEFIANCE         OH 43512‐2885
MCDONOUGH, EVELYN M     830 JEFFERSON                                                                                   DEFIANCE         OH 43512‐2885
MCDONOUGH, GARY A       17791 PINEAPPLE PALM CT                                                                         N FT MYERS       FL 33917‐2047
MCDONOUGH, GERALD K     17132 SMITH RD                                                                                  YODER            IN 46798‐9704
MCDONOUGH, GERALD L     4615 ELM ST                                                                                     LEAVITTSBURG     OH 44430
MCDONOUGH, GERALDINE    2900 N APPERSON WAY LOT285                                                                      KOKOMO           IN 46901‐1483
MCDONOUGH, HAROLD B     123 CHENEY ST                                                                                   DE SOTO          WI 54624‐8654
MCDONOUGH, JAMES R      6100 LITTLE PORTAGE LAKE RD                                                                     LAND O LAKES     WI 54540‐9745
MCDONOUGH, JENNIFER     FAIT MARY JANE                      656 W RANDOLPJ STREET SUITE                                 CHICAGO           IL 60661
                                                            500W
MCDONOUGH, JENNIFER     ISQUITH FRED T                      270 MADISON AVENUE 10TH FLOOR                               NEW YORK        NY 10016

MCDONOUGH, JERRY L      975 MCMANUS RD                                                                                  LEAVITTSBURG    OH   44430‐9632
MCDONOUGH, JOHN A       303 W THRUSH AVE                                                                                CRESTLINE       OH   44827‐1054
MCDONOUGH, JOHN M       830 JEFFERSON AVE                                                                               DEFIANCE        OH   43512‐2885
MCDONOUGH, KAREN A      230 KINSEY CT                                                                                   EVANSVILLE      WI   53536‐1017
MCDONOUGH, KEITH A      228 HAWTHORN AVE                                                                                ROYAL OAK       MI   48067‐4107
MCDONOUGH, KIMBERLY D   1834 DEWITT DR                                                                                  DAYTON          OH   45406‐3115
MCDONOUGH, LINDA        5694 WEST LAKE ROAD                                                                             OLCOTT          NY   14126
MCDONOUGH, MARK         7282 SHAWNEE RD                                                                                 N TONAWANDA     NY   14120
MCDONOUGH, MARK         APT 1                                7282 SHAWNEE ROAD                                          N TONAWANDA     NY   14120‐1320
MCDONOUGH, MARY A       8456 W RIVERSHORE DR                                                                            NIAGARA FALLS   NY   14304‐4302
MCDONOUGH, MICHAEL H    APT 1518                             1600 VILLAGE DRIVE                                         EULESS          TX   76039‐5679
MCDONOUGH, MICHAEL H    750 E MID CITIES BLVD APT 504                                                                   EULESS          TX   76039‐4642
MCDONOUGH, ROBERT E     3327 TAYLORWOOD LANE                                                                            SPRING HILL     TN   37174‐7525
MCDONOUGH, ROBERT H     5694 WEST LAKE ROAD                                                                             OLCOTT          NY   14126
MCDONOUGH, ROBERT L     9354 AMBER WOOD DR                                                                              KIRTLAND        OH   44094‐8634
MCDONOUGH, ROBERT M     11924 CARRINGTON AVE                                                                            CLEVELAND       OH   44135‐3658
MCDONOUGH, RONALD J     43353 SUNNYPOINT DR                                                                             STERLING HTS    MI   48313‐2158
MCDONOUGH, SCOTT D      2355 HOMESTEAD CT                                                                               HOLLY           MI   48442‐8675
MCDONOUGH, THERESA L    17308 QUARRY RD                                                                                 WELLINGTON      OH   44090‐8944
MCDORMAN, FRED          10059 W 150 S                                                                                   RUSSIAVILLE     IN   46979‐9746
MCDORMAN, MARCELLA J    RR 1 BOX 146A                                                                                   RUSSIAVILLE     IN   46979
MCDORMAN, PATRICK L     13203 WHISPERING PALMS PL SW APT 901                                                            LARGO           FL   33774‐2504

MCDOUGAL SCOTT          262 CAMP ST NW                                                                                  MARIETTA        GA   30064‐2210
MCDOUGAL TRUST          17850 MAUME, GROSSE POINTE                                                                      GROSSE POINTE   MI   48230
MCDOUGAL WHEELER        9814 N TOWNSEND DR                                                                              PEORIA          IL   61615‐1388
MCDOUGAL, ALTA W        5081 WEISS ST                                                                                   SAGINAW         MI   48603‐3752
MCDOUGAL, ARETHA        218 VICTORY DR                                                                                  PONTIAC         MI   48342‐2567
MCDOUGAL, CHARLES H     10249 N JENNINGS RD                                                                             CLIO            MI   48420‐1962
MCDOUGAL, DARRELL S     118 JEAN CT                                                                                     ELYRIA          OH   44035‐3161
MCDOUGAL, DEBRA A       320 GREENDALE AVE                                                                               MANSFIELD       OH   44902‐7727
MCDOUGAL, DONALD L      GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                SAGINAW         MI   48604‐2602
                                                            260
MCDOUGAL, ELIJAH        218 VICTORY DR                                                                                  PONTIAC         MI 48342‐2567
MCDOUGAL, ELMER D       3231 CARRINGTON LANE                                                                            COLUMBIA        TN 38401‐8645
MCDOUGAL, ERNESTINE R   PO BOX 32                                                                                       SMITHBURG       WV 26436‐0032
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Name                          Address1                       Address2                      Address3    Address4               City             State Zip
MCDOUGAL, FLORENCE M          5968 LINDER CIRCLE N.E.                                                                         CANTON            OH 44721‐3631
MCDOUGAL, FREDDIE L           727 LAND RD                                                                                     CANTON            GA 30114‐4931
MCDOUGAL, HELEN A             333 BRIGHT ANGEL DR.                                                                            PRUDENVILLE       MI 48651‐9626
MCDOUGAL, JAMES K             39500 WARREN RD TRLR 103                                                                        CANTON            MI 48187‐4346
MCDOUGAL, JEREMY ADAM         209 LOCKE ST                                                                                    HOLLY             MI 48442‐1525
MCDOUGAL, JETTIE B            32 BEECHWOODE LN                                                                                PONTIAC           MI 48340‐2200
MCDOUGAL, JON M               PO BOX 347                                                                                      WILLIAMSTON       NC 27892‐0347
MCDOUGAL, LOU E               P O BOX 569                                                                                     BRADFORD          AR 72020‐0569
MCDOUGAL, M A                 1186 ELDER RD                                                                                   GRIFFIN           GA 30223‐5683
MCDOUGAL, MARY A              250 NORTH LIBERTY #203                                                                          BELLEVILLE        MI 48111
MCDOUGAL, MARY A              250 N LIBERTY ST APT 203                                                                        BELLEVILLE        MI 48111‐2663
MCDOUGAL, MARY M              24562 NAPLES DR                                                                                 NOVI              MI 48374‐2980
MCDOUGAL, MICHAEL C           2520 ATLANTIC PALMS LN         APT 401                                                          CHARLESTON        SC 29406‐9293
MCDOUGAL, MICHAEL COREY       3785 LADSON RD APT 1312                                                                         LADSON            SC 29456‐4421
MCDOUGAL, MICHELE Y           213 ROCKY FORK DR S                                                                             GAHANNA           OH 43230‐2934
MCDOUGAL, PAULINE F.          1101 CHERRYWOOD                                                                                 KYLE              TX 78640‐5746
MCDOUGAL, RAYMOND P           115 KING JAMES CT SE                                                                            CONYERS           GA 30013‐5233
MCDOUGAL, ROY E               2134 WINTON AVE                                                                                 SPEEDWAY          IN 46224‐5052
MCDOUGAL, RUTH B              903 HONEYSUCKLE DR                                                                              OLATHE            KS 66061‐4213
MCDOUGAL, SCOTT               262 CAMP ST NW                                                                                  MARIETTA          GA 30064‐2210
MCDOUGALD, GLENN G            PO BOX 1244                                                                                     OAKWOOD           GA 30566‐0021
MCDOUGALD, JERMAINE           6642 WOOD AVE                                                                                   KANSAS CITY       KS 66102‐1062
MCDOUGALD, ROSELIN B          3443 NORTHWAY DR APT 2                                                                          BAY CITY          MI 48706‐3383
MCDOUGALD, ROSELIN B          3443 NORTHWAY COURT            APT. 2                                                           BAY CITY          MI 48706‐3383
MCDOUGALL EDWARD              460 DON TAB WAY                                                                                 PLANT CITY        FL 33565‐9600
MCDOUGALL I I I, JAMES H      1116 BEDFORD DR                                                                                 TEMPERANCE        MI 48182‐1255
MCDOUGALL III, JAMES H        1116 BEDFORD DR                                                                                 TEMPERANCE        MI 48182‐1255
MCDOUGALL JR, DOUGLAS J       4290 DARRHOPSINGER RD          PO BOX 572                                                       PORT CLINTON      OH 43452
MCDOUGALL JR, DOUGLAS J       PO BOX 572                                                                                      PORT CLINTON      OH 43452‐0572
MCDOUGALL SHARON              948 KINGS HWY                                                                                   LINCOLN PARK      MI 48146‐4206
MCDOUGALL THOMAS C (667796)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510
                                                             STREET, SUITE 600
MCDOUGALL WALTER TRUCKING     EXIT 825 HWY 401                                                         BAINSVILLE CANADA ON
                                                                                                       K0C 1E0 CANADA
MCDOUGALL, ALEXANDER          69411 RAMON RD SPACE 342                                                                        CATHEDRAL CITY   CA   92234
MCDOUGALL, ANNA M             7558 WEST FREEMONT DRIVE                                                                        LITTLETON        CO   80128
MCDOUGALL, CECILE             6043 W ELAND DR                                                                                 NEW PALESTINE    IN   46163
MCDOUGALL, CHARLES            6232 W EDGAR ST.               BOX 331                                                          PELLSTON         MI   49769
MCDOUGALL, CHARLES G          3640 KENNEDY PL                                                                                 WILLIAMSBURG     MI   49690‐9386
MCDOUGALL, CONSTANCE M        4866 BASSWOOD DR                                                                                SAGINAW          MI   48603‐2973
MCDOUGALL, FLOYD E            15331 HEMLOCK RD                                                                                CHESANING        MI   48616‐9518
MCDOUGALL, GARY C             2759 S SCHOOL RD                                                                                STERLING         MI   48659‐9744
MCDOUGALL, HERBERT G          2304 GROVE PARK RD                                                                              FENTON           MI   48430‐1442
MCDOUGALL, JAMES R            14040 BURT RD                                                                                   CHESANING        MI   48616‐9533
MCDOUGALL, JOHN K             5160 TOWNLINE RD                                                                                BIRCH RUN        MI   48415‐9053
MCDOUGALL, JOHN P             4013 KNUD DR                                                                                    COLUMBIA         TN   38401‐5033
MCDOUGALL, JOHN R             11 LIBERTY AVE                                                                                  MASSENA          NY   13662‐1547
MCDOUGALL, JUDY K             4490 W LAKE RD                                                                                  CLIO             MI   48420‐8829
MCDOUGALL, KENNETH            6165 LANGE RD                                                                                   BIRCH RUN        MI   48415‐8749
MCDOUGALL, LINDA M            10863 E LANSING RD                                                                              DURAND           MI   48429‐1812
MCDOUGALL, LINDA M            10863 E. LANSING RD.                                                                            DURAND           MI   48429‐1812
MCDOUGALL, PATRICK D          412 CHANDLER ST                                                                                 FLINT            MI   48503‐2142
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Name                               Address1                         Address2                      Address3                     Address4         City              State Zip
MCDOUGALL, PRISCILLA BONER         2065 LADOVIE LN NE                                                                                           ATLANTA            GA 30345‐3719
MCDOUGALL, RICHARD K               17507 AMMAN RD                                                                                               CHESANING          MI 48616‐9739
MCDOUGALL, RICHARD KEITH           17507 AMMAN RD                                                                                               CHESANING          MI 48616‐9739
MCDOUGALL, ROBERT J                13797 W. BELDING RD                                                                                          BELDING            MI 48809
MCDOUGALL, RONALD P                63 GLEASON ST                                                                                                GOUVERNEUR         NY 13642‐1224
MCDOUGALL, RONALD PAUL             63 GLEASON ST                                                                                                GOUVERNEUR         NY 13642‐1224
MCDOUGALL, RUTH                    8 SHARON DR. APT # 8                                                                                         MASSENA            NY 13662
MCDOUGALL, RUTH                    8 SHARON DR APT 8                                                                                            MASSENA            NY 13662‐1652
MCDOUGALL, SHIRLEY A               25 GILDNER RD                                                                                                CENTRAL SQUARE     NY 13036‐2100
MCDOUGALL, TERRY J                 8 WELLINGTON DR                                                                                              MASSENA            NY 13662‐1610
MCDOUGALL, TERRY J                 2633 LAMBETH PARK DR.                                                                                        ROCHESTER HILLS    MI 48306
MCDOUGALL, THOMAS C                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
MCDOUGLE, EMMA L                   1238 C ST                                                                                                    SANDUSKY          OH   44870‐5058
MCDOUGLE, GENE L                   6471 CRESTLINE RD                                                                                            GALION            OH   44833‐9725
MCDOUGLE, HAROLD E                 17988 ROAD 156                                                                                               PAULDING          OH   45879‐9027
MCDOUGLE, JIMMIE L                 18027 OAKFIELD ST                                                                                            DETROIT           MI   48235‐3280
MCDOUGLE, MARVIN D                 2875 ROAD 22                                                                                                 CONTINENTAL       OH   45831‐9466
MCDOUGLE, ROBERT                   PORTER & MALOUF PA               4670 MCWILLIE DR                                                            JACKSON           MS   39206‐5621
MCDOW, ALLEN C                     123 E VIOLETTE DR                                                                                            NEW CASTLE        DE   19720‐7613
MCDOW, C L                         2405 NE 25TH ST                                                                                              OKLAHOMA CITY     OK   73111‐3503
MCDOWALL CO., LPA                  LAURA MCDOWALL                   503 CANTON ROAD               PO BOX 6600                                   AKRON             OH   44312
MCDOWELL COUNTY TAX COLLECTOR      60 E COURT ST                                                                                                MARION            NC   28752‐4041
MCDOWELL DAVID E                   C/O GLASSER
MCDOWELL DAVID E                   GLASSER AND GLASSER              CROWN CENTER                  580 EAST MAIN STREET SUITE                    NORFOLK           VA 23510
                                                                                                  600
MCDOWELL HOWARD JR                 585 MONCEAU DR                                                                                               FERGUSON          MO 63135‐1265
MCDOWELL JEROME                    55 LASSETTER RD                                                                                              CARROLLTON        GA 30117‐4719
MCDOWELL JEWEL L (504964)          (NO OPPOSING COUNSEL)
MCDOWELL JOSEPH F III PA           282 RIVER RD                                                                                                 MANCHESTER        NH   03104‐2423
MCDOWELL JR, HAROLD J              12281 WHITE LAKE RD                                                                                          FENTON            MI   48430‐2552
MCDOWELL JR, LAWRENCE              4526 LEIGHTON LN                                                                                             FORT WAYNE        IN   46816‐2222
MCDOWELL JR, ROBERT J              1615 E STEWART RD                                                                                            MIDLAND           MI   48640‐9504
MCDOWELL LINDA                     1228 BOLINAS BAY CT                                                                                          CHULA VISTA       CA   91913‐1704
MCDOWELL RICE SMITH & BUCHANANPC   605 W 47TH ST STE 350                                                                                        KANSAS CITY       MO   64112‐1912

MCDOWELL THOMAS H                  GLASSER AND GLASSER              CROWN CENTER                  580 EAST MAIN STREET SUITE                    NORFOLK           VA 23510
                                                                                                  600
MCDOWELL, ANDREW D                 1434 BRADY AVE                                                                                               BURTON            MI   48529‐2010
MCDOWELL, ANGELIA                  4300 RESERVE HILL XING                                                                                       DOUGLASVILLE      GA   30135‐5190
MCDOWELL, ANGELINE DOROTHY         10399 DUFFIELD ROAD                                                                                          MONTROSE          MI   48457‐9032
MCDOWELL, ARTICE                   348 HIGHGATE AVE                                                                                             BUFFALO           NY   14215‐1026
MCDOWELL, BARBARA P                1348 W 550 S                                                                                                 ANDERSON          IN   46013‐9797
MCDOWELL, BENJAMIN R               316 OLD OAK DR                                                                                               CORTLAND          OH   44410‐1146
MCDOWELL, BETTY                    PO BOX 15174                                                                                                 AUSTINTOWN        OH   44515‐8174
MCDOWELL, BOBBY                    PO BOX 620701                                                                                                ATLANTA           GA   30362‐2701
MCDOWELL, BOBBY                    3415 OXWELL DR                                                                                               DULUTH            GA   30096
MCDOWELL, BRANDON D                12092 BOLDREY DR                                                                                             FENTON            MI   48430‐9653
MCDOWELL, BRANDON DOUGLAS          12092 BOLDREY DR                                                                                             FENTON            MI   48430‐9653
MCDOWELL, BRENDA J                 7411 AUBREY DRIVE                                                                                            RIVERDALE         GA   30296‐1511
MCDOWELL, CARL L                   1296 SQUAW CREEK RD                                                                                          FOSTORIA          MI   48435‐9416
MCDOWELL, CHARLES C                1216 CHAUCER CIR                                                                                             AKRON             OH   44312‐4312
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Name                       Address1                        Address2                Address3         Address4         City              State Zip
MCDOWELL, CHARLES K        4672 N PINE LOG DR                                                                        IRONS              MI 49644‐8797
MCDOWELL, CLIFFORD E       PO BOX 9856                                                                               COLLEGE STATION    TX 77842‐7856
MCDOWELL, CLIFTON          PO BOX 6284                                                                               MOORE              OK 73153‐0284
MCDOWELL, DARRELL          1597 GILSTON CT                                                                           DECATUR            GA 30032‐3822
MCDOWELL, DAVID            PO BOX 428                                                                                MOUNT VERNON       NY 10551‐0428
MCDOWELL, DAVID L          4339 STATE ROUTE 123                                                                      FRANKLIN           OH 45005‐9713
MCDOWELL, DONEEN M         5013 LAKE BREEZE LNDG                                                                     STOW               OH 44224‐6057
MCDOWELL, DOROTHY L        9236 HOLMUR ST                                                                            DETROIT            MI 48204‐2462
MCDOWELL, DOROTHY LEE      9236 HOLMUR ST                                                                            DETROIT            MI 48204‐2462
MCDOWELL, DOUGLAS K        5545 S SHADOW LN                                                                          ANDERSON           IN 46017‐9542
MCDOWELL, DOUGLAS KENT     5545 S SHADOW LN                                                                          ANDERSON           IN 46017‐9542
MCDOWELL, EDWARD N         4023 HOLLINS FERRY RD                                                                     BALTIMORE          MD 21227‐3417
MCDOWELL, EDWIN R          14573 DOHONEY RD RT 7                                                                     DEFIANCE           OH 43512
MCDOWELL, ELAINE I.        4 MITCHELL DR                                                                             LEWES              DE 19958‐8945
MCDOWELL, ELSIE V          11624 E 25TH ST S                                                                         INDEPENDENCE       MO 64052‐3517
MCDOWELL, ELSIE V          11624 EAST 25TH                                                                           INDEPENDENCE       MO 64052
MCDOWELL, EMMA J           116 MCDOWELL RD                                                                           JENKINSBURG        GA 30234
MCDOWELL, EMMA S           3735 S 1100 E                                                                             GREENTOWN          IN 46936‐9411
MCDOWELL, FELISHA          2795 EVANS MILL RD APT 2506                                                               LITHONIA           GA 30058‐7714
MCDOWELL, GARY T           3217 WILMINGTON PIK                                                                       KETTERING          OH 45429
MCDOWELL, GLORIA J         140 HEATHER ROAD                APT A                                                     TROY               OH 45373‐5373
MCDOWELL, GLORIA J         140 HEATHER RD APT A                                                                      TROY               OH 45373‐5614
MCDOWELL, GRACE O          6850 KLUG PINES RD #30                                                                    SHREVEPORT         LA 71129‐2422
MCDOWELL, HAROLD J         2533 WOODSTOCK DR                                                                         PORT HURON         MI 48060‐2667
MCDOWELL, HAROLD R         32 WILBERS LN                                                                             FORT THOMAS        KY 41075‐1913
MCDOWELL, HARRISON W       631 HOLIDAY DR                                                                            MANSFIELD          OH 44904‐1820
MCDOWELL, HELEN G          518 N OXFORD ST                                                                           INDIANAPOLIS       IN 46201‐2458
MCDOWELL, HENRY J          5919 MARION DR                                                                            LOCKPORT           NY 14094‐6624
MCDOWELL, IONA M           82 PALMDALE DR                                                                            WILLIAMSVILLE      NY 14221‐4005
MCDOWELL, IONA M           82 PALMDALE DRIVE                                                                         WILLIAMSVILLE      NY 14221‐4005
MCDOWELL, JAMES            1960 S LEATHERWOOD RD                                                                     BEDFORD            IN 47421‐8863
MCDOWELL, JAMES C          5610 E 42ND ST                                                                            INDIANAPOLIS       IN 46226‐4711
MCDOWELL, JAMES L          10253 WILLIAMS RD                                                                         DIAMOND            OH 44412‐9768
MCDOWELL, JAMES M          5444 CRESTLINE RD                                                                         WILMINGTON         DE 19808‐3654
MCDOWELL, JAMES T          5415 DELLBROOK DR                                                                         FAIRFIELD          OH 45014‐3322
MCDOWELL, JAMES V          100 WINDSOR DR                                                                            ELKTON             MD 21921‐6127
MCDOWELL, JEANE            207 ECHO ST                                                                               EAST LANSING       MI 49727
MCDOWELL, JERRY V          1624 TELEGRAPH DR                                                                         PONTIAC            MI 48340‐1037
MCDOWELL, JEWEL L          GUY WILLIAM S                   PO BOX 509                                                MCCOMB             MS 39649‐0509
MCDOWELL, JOHN J           1039 S WORTH AVE                                                                          INDIANAPOLIS       IN 46241‐2132
MCDOWELL, JOHN L           431 COLLEGE AVE                                                                           WINTHROP HBR        IL 60096‐1234
MCDOWELL, JOHNNY O         11176 DAVIS RD.                                                                           W. MANCHESTER      OH 45382‐9727
MCDOWELL, JOHNNY O         11176 DAVIS RD                                                                            WEST MANCHESTER    OH 45382‐9727
MCDOWELL, KARIN M          4832 SKYLINE DR                                                                           PERRINTON          MI 48871
MCDOWELL, KARIN MARIE      4832 SKYLINE DR                                                                           PERRINTON          MI 48871‐9758
MCDOWELL, KATHLEEN A       267 CREEKWOOD CIR                                                                         LINDEN             MI 48451‐9104
MCDOWELL, KELVIN C         2973 GLADWOOD DR                                                                          SAINT LOUIS        MO 63129‐2455
MCDOWELL, KRISTY A         525 HOLT ST                                                                               MASON              MI 48854‐1723
MCDOWELL, LAURENCE O       PO BOX 9118                                                                               FORT WAYNE         IN 46899‐9118
MCDOWELL, LAURENCE ODELL   PO BOX 9118                                                                               FORT WAYNE         IN 46899‐9118
MCDOWELL, LAWRENCE         1409 WAGGONER DR                                                                          ARLINGTON          TX 76013‐1473
MCDOWELL, LEROY            1946 ANNA ST                                                                              SHREVEPORT         LA 71101‐2202
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Name                        Address1                          Address2                Address3       Address4         City            State Zip
MCDOWELL, LEROY             584 BAILEY DR                                                                             MANSFIELD        OH 44904‐2105
MCDOWELL, LINDA S           RR 1 BOX 355                                                                              SHINNSTON        WV 26431‐9753
MCDOWELL, LOIS H            6443 OAKHURST PL                                                                          DAYTON           OH 45414‐2828
MCDOWELL, LYNN E            8051 CRESTWOOD DR                                                                         GARRETTSVILLE    OH 44231‐1024
MCDOWELL, MARGARET F        5015 FAIRWOOD LN                                                                          LOUISVILLE       KY 40291
MCDOWELL, MARTIN L          PO BOX 95                                                                                 WELLSTON         MI 49689‐0095
MCDOWELL, MARY              3313 WINDSOR DR                                                                           MIDLAND          TX 79707‐4810
MCDOWELL, MARY E            240 MAPLE STREET                                                                          OXFORD           PA 19363‐1461
MCDOWELL, MICHAEL A         4915 CALLAHAN ST                                                                          INDIANAPOLIS     IN 46239‐1712
MCDOWELL, MICHAEL F         3735 S 1100 E                                                                             GREENTOWN        IN 46936‐9411
MCDOWELL, MICHAEL S         7450 PONDEROSA DR                                                                         SWARTZ CREEK     MI 48473‐9414
MCDOWELL, MILDRED F         39 PEACH TREE DR                                                                          DAVISON          MI 48423‐9123
MCDOWELL, NORMAN            3613 WESLEY ST                                                                            FLINT            MI 48505‐3887
MCDOWELL, ODELL             17053 EGO AVE                                                                             EASTPOINTE       MI 48021‐3005
MCDOWELL, PAMELA J          PO BOX 2111                                                                               KOKOMO           IN 46904
MCDOWELL, PATRICIA          914 PARKRIDGE                                                                             HARRISONVILLE    MO 64701‐1496
MCDOWELL, PATRICIA          914 PARKRIDGE ST                                                                          HARRISONVILLE    MO 64701‐1496
MCDOWELL, PATRICK V.        634 7TH N.W.                                                                              GRAND RAPIDS     MI 49504‐5271
MCDOWELL, PATRICK V.        634 7TH ST NW                                                                             GRAND RAPIDS     MI 49504‐5271
MCDOWELL, PHYLLIS F         62885 WALKER CT                                                                           WASHINGTON       MI 48094‐1554
MCDOWELL, RANDY D           5188 E VIENNA RD                                                                          CLIO             MI 48420‐9726
MCDOWELL, RAY E             323 W JACKSON AVE APT 2                                                                   FLINT            MI 48505
MCDOWELL, RAYMOND           4224 DELHI DRIVE                                                                          DAYTON           OH 45432‐3410
MCDOWELL, RICHARD R         3739 KENWICK TRL                                                                          ROANOKE          VA 24018‐4945
MCDOWELL, RICKY L           6047 WINDWARD ST                                                                          NORTH BRANCH     MI 48461‐9762
MCDOWELL, RICKY LEE         6047 WINDWARD ST                                                                          NORTH BRANCH     MI 48461‐9762
MCDOWELL, ROBERT D          8465 GRAND BLANC RD                                                                       SWARTZ CREEK     MI 48473‐7637
MCDOWELL, ROBERT J          7359 MOHAWK TRAIL RD                                                                      DAYTON           OH 45459‐3556
MCDOWELL, ROBERT L          5069 BEECHWOOD RD                                                                         AVON             IN 46123‐8329
MCDOWELL, ROBERT L          2541 ECKLEY BLVD                                                                          DAYTON           OH 45449‐3370
MCDOWELL, RODDY LEE         9508 NORTH ALAN DRIVE                                                                     MUNCIE           IN 47303‐9274
MCDOWELL, RODNEY L          890 REFLECTIONS LOOP E                                                                    WINTER HAVEN     FL 33884‐3567
MCDOWELL, ROGER C           1000 PERSHING ST                                                                          MCCOMB           MS 39648‐4826
MCDOWELL, RONSON M          2709 VOLNEY RD                                                                            YOUNGSTOWN       OH 44511‐2302
MCDOWELL, RORY AARON        2659 HATTON RD                                                                            AUBURN HILLS     MI 48326‐1912
MCDOWELL, RYAN O            9323 ENGLISHMAN DR                                                                        FENTON           MI 48430‐8718
MCDOWELL, SANDRA P          376 PARTRIDGE DR                                                                          GRAND BLANC      MI 48439‐7074
MCDOWELL, SHANNA C          APT 214                           5501 LAKEVIEW PARKWAY                                   ROWLETT          TX 75088‐4118
MCDOWELL, SHIRLEY A         7274 PONDEROSA DR                                                                         SWARTZ CREEK     MI 48473
MCDOWELL, STEPHEN E         11624 E 25TH ST S                                                                         INDEPENDENCE     MO 64052‐3517
MCDOWELL, STEVE B           2731 MOLLYS CT                                                                            SPRING HILL      TN 37174‐7126
MCDOWELL, SYBIL M           6788 FORT DEPOSIT DR                                                                      PENSACOLA        FL 32526
MCDOWELL, TERRY E           1976 CELESTIAL DR NE                                                                      WARREN           OH 44484‐3981
MCDOWELL, THOMAS A          3120 SANDLEWOOD DR                                                                        DEFIANCE         OH 43512‐9664
MCDOWELL, TIMOTHY M         5192 N OAK RD                                                                             DAVISON          MI 48423‐9305
MCDOWELL, TRESSICA          11210 TIPSICO LAKE RD                                                                     FENTON           MI 48430‐8411
MCDOWELL, VENUS J           34 PRINCETON LN                                                                           WILLINGBORO      NJ 08046‐2739
MCDOWELL, VIRGIL H          2511 W THOMPSON RD                                                                        FENTON           MI 48430‐9750
MCDOWELL, VIRGINIA R        5706 TWIN PINE DRIVE                                                                      PARAGOULD        AR 72450‐3324
MCDOWELL, WILLIAM L         1105 W 23RD ST                                                                            MUNCIE           IN 47302‐3908
MCDOWELL, WILLIAM M         3016 S ELLIOTT ST                                                                         MUNCIE           IN 47302‐3912
MCDOWELL, WILLIAM MICHAEL   3016 S ELLIOTT ST                                                                         MUNCIE           IN 47302‐3912
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Name                         Address1                           Address2                      Address3          Address4         City           State Zip
MCDOWELL, ZACHERY            375 BARFIELD RD                                                                                     DELHI           LA 71232‐6978
MCDOWELL‐MINGO, ROSE B       9663 GARDERE DR                                                                                     SHREVEPORT      LA 71115‐4603
MCDOWNEY, DOROTHY A.         4008 TALL PNES                                                                                      PINE HILL       NJ 08021‐7628
MCDOWNEY, DOROTHY A.         4008 COMMUNITY CIRCLE WEST                                                                          PINE HILL       NJ 08021‐7628
MCDUFF LIVING TRUST          OLIVER T MCDUFF, J F MCDUFF & JC   MCDUFF LIVING TRUST           237 CALIENTE DR                    BIRMINGHAM      AL 35226
                             MCDUFF, TRUSTEES
MCDUFFEE TIRE SERVICE        661 THOMPSON LN                                                                                     NASHVILLE      TN    37204‐3626
MCDUFFEE, ARNOLD L           112 HOLLYWOOD BLVD                                                                                  ANDERSON       IN    46016‐5819
MCDUFFEE, JACK W             7396 N 750 W                                                                                        FRANKTON       IN    46044‐9467
MCDUFFEE, JOHN R             1907 S WINDING WAY                                                                                  ANDERSON       IN    46011‐3862
MCDUFFEE, JOSEPH G           6234 W COUNTRY LN                                                                                   ANDERSON       IN    46011‐9770
MCDUFFEE, ORABELLE L         408 ENCHANTED DR                                                                                    ANDERSON       IN    46013‐1073
MCDUFFEE, SUMMER A           829 GREER LANE                                                                                      SPRINGVILLE    IN    47462‐5040
MCDUFFEY, JAZZMINE J         912A BARTLETT DRIVE                                                                                 SHREVEPORT     LA    71108‐5861
MCDUFFEY, MICHAEL T          PO BOX 1916                                                                                         CAMDENTON      MO    65020‐1916
MCDUFFEY, PATRICK L          8010 ARCADIAN SHORES DR                                                                             SHREVEPORT     LA    71129‐4106
MCDUFFEY, PATRICK LELAND     8010 ARCADIAN SHORES DR                                                                             SHREVEPORT     LA    71129‐4106
MCDUFFIE ALICE               308 JOHNS RD                                                                                        HAWKINSVILLE   GA    31036‐1810
MCDUFFIE ARTHUR T (411973)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK        VA    23510
                                                                STREET, SUITE 600
MCDUFFIE JOE A (442228)      SIMMONS FIRM                       PO BOX 559                                                       WOOD RIVER     IL 62095‐0559
MCDUFFIE ROBERT H (439316)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK        VA 23510
                                                                STREET, SUITE 600
MCDUFFIE, AGNES M            6454 LESLIE DR                                                                                      BROOK PARK     OH 44142‐3476
MCDUFFIE, ARTHUR T           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK        VA 23510‐2212
                                                                STREET, SUITE 600
MCDUFFIE, BESSIE M           1008 HILLSIDE DR                                                                                    DANVILLE        IL   61832‐2020
MCDUFFIE, BRENDA J           1810 ARIZONA ST NE                                                                                  ALBUQUERQUE    NM    87110
MCDUFFIE, CARLIE             ANDERSON N CALHOUN JR              425 E CONGRESS ST                                                SAVANNAH       GA    31401‐2804
MCDUFFIE, CLARABEL           2848 MCGUFFEY RD                                                                                    YOUNGSTOWN     OH    44505‐4216
MCDUFFIE, DALLAS C           1750 BOB WHITE WAY                                                                                  CAMILLA        GA    31730‐7110
MCDUFFIE, DAVID A            12841 MEMORIAL ST                                                                                   DETROIT        MI    48227‐1228
MCDUFFIE, ELIZABETH A        6350 STUMPH RD APT 207                                                                              CLEVELAND      OH    44130‐2975
MCDUFFIE, EMILY W            PO BOX 1301                                                                                         FITZGERALD     GA    31750‐1301
MCDUFFIE, FRANKLIN           431 RHINE RD                                                                                        FITZGERALD     GA    31750‐7922
MCDUFFIE, FRANKLIN E         195 MEADOW LN                                                                                       FITZGERALD     GA    31750‐8653
MCDUFFIE, GEORGE L           2358 GLENDALE DR                                                                                    DECATUR        GA    30032‐5815
MCDUFFIE, GLORIA J           515 CARLOTTA DR                                                                                     YOUNGSTOWN     OH    44504‐1321
MCDUFFIE, JAMES O            4055 W MICHIGAN AVE APT 63                                                                          SAGINAW        MI    48638‐6636
MCDUFFIE, JOE A              SIMMONS FIRM                       PO BOX 559                                                       WOOD RIVER      IL   62095‐0559
MCDUFFIE, JOHN WILSON        SHANNON LAW FIRM                   100 W GALLATIN ST                                                HAZLEHURST     MS    39083‐3007
MCDUFFIE, LATRICE R          1624 CEDAR ST                                                                                       SAGINAW        MI    48601‐2837
MCDUFFIE, LAVERNE G          5886 GILMER ROAD                                                                                    GILLSVILLE     GA    30543‐2313
MCDUFFIE, LIVILANE           323 CALUMET AVE                                                                                     LIMA           OH    45804‐1403
MCDUFFIE, OSCAR LEE          1840 GLENBRAE LANE                                                                                  SAINT LOUIS    MO    63136‐3061
MCDUFFIE, PEGGY B            2228 CHAMBERLIN AVE                                                                                 DAYTON         OH    45406‐2503
MCDUFFIE, PLES KENNETH       1723 DOROTHY DR                                                                                     FLINT          MI    48506‐3925
MCDUFFIE, ROBERT G           611 CHATAM CIR                                                                                      ARLINGTON      TX    76014‐1118
MCDUFFIE, ROBERT H           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK        VA    23510‐2212
                                                                STREET, SUITE 600
MCDUFFIE, RUFFIN R           50 TAYLOR ST                                                                                        DETROIT        MI 48202‐1720
MCDUFFIE, SONJA K            PO BOX 71                                                                                           OAKFORD        IN 46965‐0071
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Name                      Address1                        Address2                  Address3    Address4         City             State Zip
MCDUFFORD, AGNES M        58 N WRIGHT AVE                                                                        DAYTON            OH 45403‐1740
MCDUFFORD, ELSIE J        334 SHADE DRIVE                                                                        FAIRBORN          OH 45324‐4239
MCDUFFORD, ELSIE J        334 SHADE DR                                                                           FAIRBORN          OH 45324‐4239
MCDUFFORD, GARY A         4205 IMPERIAL DRIVE                                                                    SPRINGFIELD       OH 45503‐5503
MCDUFFORD, NANCY J        1242 MASSACHUSETTS DR                                                                  XENIA             OH 45385‐4752
MCDUFFY, ARTHUR           COLOM LAW FIRM                  605 2ND AVE N                                          COLUMBUS          MS 39701‐4513
MCDULIN, DONALD P         2789 FRAZEE RD 5RD                                                                     SOMERVILLE        OH 45064
MCDURMON, HAROLD L        118 FORSYTH CIR                                                                        ROCKMART          GA 30153‐4265
MCDURMON, JERRY W         131 SAMANDA CIR                                                                        ROCKMART          GA 30153
MCDURMON, MARK A          3497 GALE RD                                                                           EATON RAPIDS      MI 48827‐9633
MCEACHERN JAMES           MCEACHERN, JAMES                544 W 1ST ST                                           RENO              NV 89503‐5303
MCEACHERN MATHEW          4306 WEST CARROUSEL LANE                                                               PEORIA             IL 61615‐2801
MCEACHERN, ARIANNE        906 FOREST TRL                                                                         JACKSONVILLE      TX 75766‐3510
MCEACHERN, BRENDA E       7131 BELLEVUE DR                                                                       MOUNT PLEASANT    MI 48858‐8908
MCEACHERN, DONALD E       1010 N DEWITT ST                                                                       BAY CITY          MI 48706
MCEACHERN, GERALD         20934 PARKCREST DR                                                                     HARPER WOODS      MI 48225‐1708
MCEACHERN, JAMES          LAW OFFICES MCKENNA KENNETH J   544 W 1ST ST                                           RENO              NV 89503‐5303
MCEACHERN, JUDY A         1010 N DEWITT ST                                                                       BAY CITY          MI 48706‐3620
MCEACHERN, LORA E         491 DOGWOOD TRAIL                                                                      TYRONE            GA 30290
MCEACHREN, JOHN J         924 CATFISH CREEK RD                                                                   LAKE PLACID       FL 33852‐9492
MCELDOWNEY, BERTHA        332 WARREN ST                                                                          VERSAILLES        OH 45380‐1368
MCELDOWNEY, BERTHA        332 WARREN ST.                                                                         VERSAILLES        OH 45380‐1368
MCELDOWNEY, BEVERLY J     9317 ORCA CIRCLE DRIVE                                                                 BALDWIN           MI 49304
MCELDOWNEY, BRAD E        5815 LAPORTE DR                                                                        LANSING           MI 48911‐5044
MCELDOWNEY, CLETUS W      7434 ALT RT 49 E                                                                       ARCANUM           OH 45304
MCELDOWNEY, EDWARD J      5770 WILCKE WAY                                                                        DAYTON            OH 45459‐1638
MCELDOWNEY, HARRY J       95 COSHWAY PL                                                                          TONAWANDA         NY 14150‐5214
MCELDOWNEY, MAXINE B      6409 TAYLOR RD                                                                         VASSAR            MI 48768‐9426
MCELDOWNEY, NORBERT       45 SHORT ST                                                                            VERSAILLES        OH 45380‐9487
MCELDOWNEY, NORBERT       45 SHORT STREET                                                                        VERSAILES         OH 45380‐9487
MCELDOWNEY, VERNON J      245 BETHEL RD                                                                          CENTERVILLE       OH 45458‐2472
MCELENEY AUTOCENTER       2421 LINCOLN WAY                                                                       CLINTON            IA 52732‐7207
MCELENEY AUTOPLEX, INC.   1600 HIGHWAY 1 W                                                                       IOWA CITY          IA 52240‐8618
MCELENEY AUTOPLEX, INC.   JOHN MCELENEY                   1600 HIGHWAY 1 W                                       IOWA CITY          IA 52240‐8618
MCELENEY MOTORS, INC.     JOHN MCELENEY                   2421 LINCOLN WAY                                       CLINTON            IA 52732‐7207
MCELFISH INC              DBA MCELFISH & COMPANY          901 WILSHIRE DR STE 365                                TROY              MI 48084
MCELFRESH ROSE MARIE      5122 CASBURY                                                                           SAN ANTONIO       TX 78249
MCELFRESH, CARL E         2900 N APPERSON WAY TRLR 271                                                           KOKOMO            IN 46901‐1484
MCELFRESH, DANNIE J       2273 W 1025 N                                                                          ALEXANDRIA        IN 46001‐8400
MCELFRESH, DAVID L        9800 W GALLAGHER WAY                                                                   YORKTOWN          IN 47396‐9676
MCELFRESH, HAROLD E       238 MOONLITE AVE                                                                       BOWLING GREEN     KY 42101‐5206
MCELFRESH, JACK H         1730 TULIP DR                                                                          INDIANAPOLIS      IN 46227‐5036
MCELFRESH, JAMES E        2273 W 1025 N                                                                          ALEXANDRIA        IN 46001‐8400
MCELFRESH, JERRY D        1537 HORLACHER AVE                                                                     KETTERING         OH 45420‐3232
MCELFRESH, JUANITA F      310 JEFFREY LANE                                                                       PENDLETON         IN 46064‐8806
MCELFRESH, JUANITA F      310 JEFFREY LN                                                                         PENDLETON         IN 46064‐8806
MCELFRESH, MARY           14013 S PEEBLY RD                                                                      NEWALLA           OK 74857‐9425
MCELFRESH, MARY G         2016 ROSEMONT                                                                          MUNCIE            IN 47302‐4751
MCELFRESH, MARY G         2016 S ROSEMONT AVE                                                                    MUNCIE            IN 47302‐4751
MCELFRESH, MARY S         114 EXCALIBUR BLVD.                                                                    TROY              MO 63379‐2539
MCELFRESH, RONALD L       PO BOX 81                                                                              WARREN            IN 46792‐0081
MCELFRESH, RONALD LEON    PO BOX 81                                                                              WARREN            IN 46792‐0081
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Name                       Address1                          Address2                     Address3    Address4         City               State Zip
MCELFRESH, RUSSELL K       935 S 12TH ST                                                                               SEBRING             OH 44672‐1619
MCELFRESH, SHARON L        2226 MCKINLEY ST                                                                            ANDERSON            IN 46016‐4569
MCELFRESH, WALTER A        8463 SW 63RD AVE                                                                            OCALA               FL 34476‐6009
MCELFRESH, WANDA L         2525 HIGHWAY 360 APT 2014                                                                   EULESS              TX 76039‐7308
MCELHANEY, LINDA S         2105 CLEARVIEW DR                                                                           BELLBROOK           OH 45305‐1521
MCELHANEY, OSCAR           1948 FAIRBURN RD SW                                                                         ATLANTA             GA 30331‐4811
MCELHANNON, DONNA C        2201 MALCOM BRIDGE RD                                                                       BOGART              GA 30622‐2334
MCELHANNON, FAYE E         3010 NORTH TOWER WAY              APT B                                                     CONYERS             GA 30012
MCELHANNON, H R            192 MEADOW LN                                                                               TEMPLE              GA 30179‐3302
MCELHANNON, LARRY D        27 MANGER AVE                                                                               BETHLEHEM           GA 30620‐2204
MCELHANNON, MODEAN         1873 HIGHWAY 82                                                                             STATHAM             GA 30666‐1924
MCELHANNON, MODEAN         1873 HWY 82                                                                                 STATHAM             GA 30666‐1924
MCELHANY, REUBEN B         1125 BROAD RUN RD                                                                           COATESVILLE         PA 19320‐4833
MCELHATTAN, HAROLD G       103 TAFT ST                                                                                 KITTANNING          PA 16201‐2148
MCELHENEY LOCKSMITHS INC   1214 JEFFERSON AVE                UPTD 7/27/06                                              TOLEDO              OH 43604‐5837
MCELHENEY, ROBERT L        15509 ROSA PARKS BLVD                                                                       DETROIT             MI 48238‐1511
MCELHENEY, THOMAS R        1117 STRINGER RD                                                                            ROCKMART            GA 30153‐4306
MCELHENNY ALLISON          MCELHENNY, ALLISON                1751 LINCOLN HIGHWAY                                      NORTH VERSAILLES    PA 15137
MCELHENNY, BOBBY           GUY WILLIAM S                     PO BOX 509                                                MCCOMB              MS 39649‐0509
MCELHENY JR, JAMES A       2131 SWENSBERG AVE NE                                                                       GRAND RAPIDS        MI 49505‐4063
MCELHERON, MARYANN A       2181 OLD HICKORY BLVD                                                                       DAVISON             MI 48423‐2045
MCELHINEY JAMES (438765)   ANGELOS PETER G LAW OFFICES OF    100 PENN SQUARE EAST , THE                                PHILADELPHIA        PA 19107
                                                             WANAMAKER BUILDING
MCELHINEY, DAVID A         191 THORNCREST                                                                              MOORESVILLE        IN 46158
MCELHINEY, ERMA M          2317 EAST FARRAND ROAD                                                                      CLIO               MI 48420‐9138
MCELHINEY, JAMES           ANGELOS PETER G LAW OFFICES OF    100 PENN SQUARE EAST, THE                                 PHILADELPHIA       PA 19107
                                                             WANAMAKER BUILDING
MCELHINNEY, JOHN J         1194 GAVERIN BOVD                                                                           FRANKLIN SQUARE    NY   11010
MCELHINNY, JOHN B          199 N STATE LINE RD                                                                         GREENVILLE         PA   16125‐9232
MCELHINNY, LINDA B         199 N STATE LINE RD                                                                         GREENVILLE         PA   16125‐9232
MCELHOE, PEGGY I           4407 BEAVER AVE                                                                             FORT WAYNE         IN   46807‐2520
MCELHOSE, VICTOR R         8210 PORTSMOUTH LN                                                                          GRAND BLANC        MI   48439‐9540
MCELLIGOTT, JOHN T         603 CLAY ST                                                                                 MACON              MO   63552‐4456
MCELLISTRIM, THOMAS J      9405 STELZER RD                                                                             HOWELL             MI   48855‐9388
MCELMURRAY, MICHAEL L      1091 CLUBHOUSE DR                                                                           LAKE ISABELLA      MI   48893‐9339
MCELMURRAY, SHIRLEY A      6618 COOPER RD                                                                              LANSING            MI   48911‐5561
MCELMURRY, ROBERT C        15819 CANYON GLEN PKWY                                                                      FORT WAYNE         IN   46845‐9730
MCELMURRY, RYAN C          41273 LEHIGH LN                                                                             NORTHVILLE         MI   48167‐1925
MCELRATH, ALAN J           5830 HEGEL RD                                                                               GOODRICH           MI   48438‐9619
MCELRATH, ARVIL P          15 SKYLINE DR SE                                                                            CARTERSVILLE       GA   30120‐7829
MCELRATH, BETTY A          847 ENVOY CIR                                                                               HENDERSON          NV   89002‐9675
MCELRATH, BETTY A          847 ENVOY CR                                                                                HENDERSON          NV   89015‐9675
MCELRATH, CLETUS L         PO BOX 26                                                                                   HARTFORD           OH   44424‐0026
MCELRATH, CLETUS L         BOX 26                                                                                      HARTFORD           OH   44424‐0026
MCELRATH, CONNIE M         LOCKWOOD OF BURTON                2173 S. CENTER RD                                         BURTON             MI   48519
MCELRATH, DOROTHY L        1939 GREEN RD SUITE 621                                                                     CLEVELAND          OH   44121‐1157
MCELRATH, DOROTHY L        1939 GREEN RD APT 621                                                                       CLEVELAND          OH   44121‐1157
MCELRATH, EARL E           PO BOX 26                                                                                   HARTFORD           OH   44424‐0026
MCELRATH, GARY D           6812 WOOD ST                                                                                BROOKFIELD         OH   44403‐9527
MCELRATH, HATTIE           17233 LINCOLN DR                                                                            SOUTHFIELD         MI   48076‐7228
MCELRATH, JIMMIE D         PO BOX 273                                                                                  WAYNESVILLE        NC   28786
MCELRATH, KENNETH          6591 TAMARIND DR                                                                            BEDFORD HTS        OH   44146‐4840
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Name                                   Address1                          Address2                           Address3               Address4         City               State Zip
MCELRATH, LISA A                       6812 WOOD ST                                                                                                 BROOKFIELD          OH 44403‐9527
MCELRATH, MICHAEL C                    10376 SPRINGPOINTE CIR APT D                                                                                 MIAMISBURG          OH 45342‐0942
MCELRATH, PATRICIA ANN                 365 MARDISVILLE RD                                                                                           TALLADEGA           AL 35160‐4916
MCELRATH, ROBERT L                     1758 SODOM HUTCHINGS                                                                                         VIENNA              OH 44473‐9724
MCELRATH, WILLIAM E                    2336 HYDRUS AVE                                                                                              HENDERSON           NV 89044‐1521
MCELRAVY, DUANE A                      5261 COPELAND AVE NW                                                                                         WARREN              OH 44483‐1229
MCELRAVY, FLORENCE G                   1636 SUFFOLK DR                                                                                              CLEARWATER          FL 33756‐1838
MCELRAVY, SHELBY                       4093 ALEESA S.E.                                                                                             WARREN              OH 44484‐2909
MCELRAVY, SHELBY                       4093 ALEESA DR SE                                                                                            WARREN              OH 44484‐2909
MCELREA CHARLES 2ND ACTION (437737)    KAZAN MCCLAIN EDISES ABRAMS,      171 12TH ST STE 300                                                        OAKLAND             CA 94607‐4911
                                       FERNANDZ, LYONS & FARRISE
MCELREA, CHARLES                       KAZAN MCCLAIN EDISES ABRAMS,      171 12TH ST STE 300                                                        OAKLAND            CA 94607‐4911
                                       FERNANDZ, LYONS & FARRISE
MCELREA, DONALD R                      3108 DARRYL DR                                                                                               FORISTELL          MO    63348‐1226
MCELREATH, JAMES D                     PO BOX 180128                                                                                                ARLINGTON          TX    76096‐0128
MCELRONE, JEREMIAH F                   2241 SAINT JAMES DR               PENN DREW MANOR                                                            WILMINGTON         DE    19808‐5227
MCELRONE, JEREMIAH FRANCIS             2241 SAINT JAMES DR               PENN DREW MANOR                                                            WILMINGTON         DE    19808‐5227
MCELROY CHARLES COL                    #3                                2581 VALLEY ROAD                                                           PLYMOUTH           WI    53073‐4964
MCELROY DEUTSCH MULVANEY &             THREE GATEWAY CENTER              100 MULBERRY STREET                                                        NEWARK             NJ    07102
CARPENTER
MCELROY DEUTSCH MULVANEY &             JEFFERY BERNSTEIN ESQ             MCELROY DEUTSCH MULVANEY &         THREE GATEWAY CENTER                    NEWARK              NJ   07102
CARPENTER                                                                CARPENTER
MCELROY DEUTSCH MULVANEY &             1300 MOUNT KEMBLE AVENUE                                                                                     MORRISTOWN          NJ   07960
CARPENTER LLP
MCELROY EVELYN                         MCELROY, EVELYN                   3 SUMMIT PARK DR STE 100                                                   INDEPENDENCE       OH    44131‐2598
MCELROY IV, FELIX T                    1300 N HARRISON ST APT B401                                                                                  WILMINGTON         DE    19806‐3257
MCELROY JR, HENRY P                    1307 DUNDALK AVE                                                                                             BALTIMORE          MD    21222‐1015
MCELROY JR, ROBERT E                   14484 N 850 EAST RD                                                                                          FAIRMOUNT          IL    61841‐6317
MCELROY KIMBERLY A                     MCELROY, KIMBERLY A               1930 E MARLTON PIKE SUITE Q29                                              CHERRY HILL        NJ    08003
MCELROY LINDA (493049)                 BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD         OH    44067
                                                                         PROFESSIONAL BLDG
MCELROY MAMMIE (446211)                BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
MCELROY METAL MILL, INC.               JOHNNY HOELL                      1500 HAMILTON RD                                                           BOSSIER CITY       LA 71111‐3812
MCELROY THOMAS R (474477)              CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                                           CLEVELAND          OH 44115
                                       GAROFOLI                          FL
MCELROY TRUCK LINES INC                PO BOX 104                                                                                                   CUBA               AL 36907‐0104
MCELROY WILLIAM (ESTATE OF) (489148)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
MCELROY'S AUTOMOTIVE                   2104 S 6TH AVE                                                                                               TUCSON             AZ    85713‐3401
MCELROY'S AUTOMOTIVE SERVICE           30863 W 10 MILE RD                                                                                           FARMINGTON HILLS   MI    48336‐2607
MCELROY, ALESTER C                     3261 HARBOR VIEW CT                                                                                          DECATUR            GA    30034‐4924
MCELROY, ALICIA K                      4904 OLYMPIA DR                                                                                              INDIANAPOLIS       IN    46228
MCELROY, ALLIE R                       4808 GREENLAWN DR                                                                                            FLINT              MI    48504‐2048
MCELROY, ANNA M                        73 PINEHURST RD                                                                                              MUNROE FALLS       OH    44262‐1129
MCELROY, ARTHUR L                      13046 MEADOWLINE DR                                                                                          HOUSTON            TX    77082‐3515
MCELROY, BARBARA                       3350 CORTEZ DR                                                                                               DAYTON             OH    45415‐2722
MCELROY, BETTY                         1023 PAMELA DRIVE                                                                                            PLAINFIELD         IN    46168‐9279
MCELROY, BETTY                         1023 PAMELA DR                                                                                               PLAINFIELD         IN    46168‐9279
MCELROY, BOBBY L                       6614 BIG RUN RD                                                                                              GEORGETOWN         OH    45121‐9660
MCELROY, DARRELL R                     1702 VILLAGE LN                                                                                              ROSWELL            GA    30075‐5899
MCELROY, DONALD M                      PO BOX 5567                                                                                                  SUN CITY WEST      AZ    85376‐5567
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Name                   Address1                           Address2                          Address3   Address4         City              State Zip
MCELROY, DUSTIN T      14325 W 56TH PL                                                                                  SHAWNEE            KS 66216‐4673
MCELROY, EDMUND E      3219 CARDINAL DR                                                                                 YOUNGSTOWN         OH 44505‐2205
MCELROY, EDWARD        21011 S HART PL                                                                                  FERNDALE           MI 48220‐2109
MCELROY, ELLIE M       200 OAKHILL DRIVE                                                                                FAYETTEVILLE       GA 30214‐3938
MCELROY, ELOISE A      PO BOX 861                                                                                       CASSVILLE          GA 30123‐0861
MCELROY, FRED C        1921 MIDDLETON RD                                                                                HUDSON             OH 44236‐1303
MCELROY, FREDERICK L   1311 OWENS RD                                                                                    WELLSVILLE         OH 43968‐1737
MCELROY, GAIL D        21011 S HART PL                                                                                  FERNDALE           MI 48220‐2109
MCELROY, HENRY P       1915 FRAMES RD                                                                                   BALTIMORE          MD 21222‐4711
MCELROY, JAMES         LEE WILLIAM L JR                   PO BOX 14047                                                  JACKSON            MS 39236‐4047
MCELROY, JAMES L       3759 E CHEROKEE DR                                                                               CANTON             GA 30115‐9227
MCELROY, JAMES P       3168 E MOUNT MORRIS RD                                                                           MOUNT MORRIS       MI 48458‐8992
MCELROY, JAMES R       628 JAMESTOWN DR                                                                                 MIAMISBURG         OH 45342‐3944
MCELROY, JAMES R       837 YOUNG ST                                                                                     PIQUA              OH 45356‐3234
MCELROY, JAMES R       837 YOUNG STREET                                                                                 PIQUA              OH 45356‐3234
MCELROY, JEAN M        89 CROOKED TREE LN APT 106                                                                       VERO BEACH         FL 32962‐3024
MCELROY, JEAN M        89 CROOKED TREE LANE               APT.106                                                       VERO BEACH         FL 32962
MCELROY, JESSE T       609 PLYMOUTH AVE                                                                                 SCHENECTADY        NY 12308‐3507
MCELROY, JIM           2241 LAFAYETTE AVE                                                                               KANSAS CITY        KS 66104‐4632
MCELROY, JOSEPH        1322 LILLIAN DR                                                                                  FLINT              MI 48505‐2580
MCELROY, KAY A         217 JORDAN DR                                                                                    W DES MOINES        IA 50265‐4027
MCELROY, KENNETH D     3986 POPPY MARIE LN                                                                              SAINT CHARLES      MO 63304‐7038
MCELROY, KENNETH L     PO BOX 161                                                                                       STANDISH           MI 48658‐0161
MCELROY, LINDA F       145 ALFREDA DR                                                                                   GADSDEN            AL 35901‐8389
MCELROY, MAMMIE        BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD         OH 44067
                                                          PROFESSIONAL BLDG
MCELROY, MARY A        4146 OLD RIVERSIDE DR #B                                                                         DAYTON            OH   45405‐1427
MCELROY, MARY L        4281 FOX RIDGE RD                                                                                EAGAN             MN   55122‐2255
MCELROY, MATTIE S      6705 COLONIAL DR                                                                                 FLINT             MI   48505‐5421
MCELROY, MICHAEL R     1231 BEMENT ST                                                                                   LANSING           MI   48912‐1705
MCELROY, MICHELLE W    2304 TAFT ST                                                                                     ALBANY            GA   31707‐2660
MCELROY, MILDRED       936 S 17TH ST                                                                                    SAGINAW           MI   48601‐2249
MCELROY, MOSES         23450 GEOFFREY CT                                                                                OAK PARK          MI   48237‐2012
MCELROY, NICOLE D      2591 ALDEN CT                                                                                    WEST BLOOMFIELD   MI   48324‐2038
MCELROY, OLLIE H       LEE WILLIAM L JR                   PO BOX 14047                                                  JACKSON           MS   39236‐4047
MCELROY, ROBERT        452 SOUTHWARD DR.                                                                                YOUNGSTOWN        OH   44515‐3501
MCELROY, ROBERT        2013 COUNTRY CLUB AVE                                                                            YOUNGSTOWN        OH   44514‐1112
MCELROY, ROBERT C      2611 RIDGE RD                                                                                    GLENVILLE         PA   17329‐9147
MCELROY, ROBERT C.
MCELROY, ROBERT W      4038 BOWERS RD                                                                                   STEWARTSTOWN      PA   17363‐7846
MCELROY, RONALD S      1550 W LOCHER RD                                                                                 DEWITT            MI   48820‐8475
MCELROY, RONNIE L      902 MUIRFIELD CIR                                                                                BOWLING GREEN     KY   42104‐5573
MCELROY, SALLY L       5695 N PARK AVE                                                                                  BRISTOLVILLE      OH   44402‐9727
MCELROY, THOMAS E      350 LOCKWOOD CT                                                                                  INDIANAPOLIS      IN   46217‐5081
MCELROY, THOMAS R      CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE, HALLE BLDG 9TH                               CLEVELAND         OH   44115
                       GAROFOLI                           FL
MCELROY, WARREN A      22022 LAFONS LN APT 456                                                                          ROMULUS           MI   48174
MCELROY, WILLIAM D     5751 SAVOY DR                                                                                    WATERFORD         MI   48327‐2668
MCELROY, WILLIAM T     2036 KENSINGTON DR                                                                               DAYTON            OH   45406‐3803
MCELVAIN, EDWARD       1807 WALKER LAKE RD                                                                              MANSFIELD         OH   44906‐1419
MCELVAIN, LOIS L       2040 E CARLISE RD                                                                                DESERT HILLS      AZ   85086‐9374
MCELVANY, ANN          PO BOX 113                                                                                       PRESTON           OK   74456‐0113
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Name                                  Address1                       Address2                         Address3   Address4         City             State Zip
MCELVANY, JUDITH                      PO BOX 113                                                                                  PRESTON           OK 74456‐0113
MCELVEEN CHEVROLET                    1607 N HIGHWAY 17                                                                           MOUNT PLEASANT    SC 29464‐3313
MCELVEEN CHEVROLET                    DOUGLAS MCELVEEN               1607 N HIGHWAY 17                                            MOUNT PLEASANT    SC 29464‐3313
MCELVEEN PONTIAC‐BUICK‐GMC TRUCK, I   117 FARMINGTON RD                                                                           SUMMERVILLE       SC 29483‐5351

MCELVEEN PONTIAC‐BUICK‐GMC TRUCK,     DOUGLAS MCELVEEN               117 FARMINGTON RD                                            SUMMERVILLE       SC   29483‐5351
INC.
MCELVEEN PONTIAC‐BUICK‐GMC TRUCK,     117 FARMINGTON RD                                                                           SUMMERVILLE       SC   29483‐5351
INC.
MCELVEEN WILLIE                       136 CHASEY DR                                                                               BONNEAU          SC    29431‐8526
MCELVOGUE, PATRICK J                  819 COUNTRY CLUB DR                                                                         LA GRANGE        IL    60525‐6618
MCELWAIN CHEVROLET‐OLDS, INC.         H. FRANK MCELWAIN              812 BEAVER AVE                                               ELLWOOD CITY     PA    16117‐1939
MCELWAIN MOTOR CAR COMPANY            812 BEAVER AVE                                                                              ELLWOOD CITY     PA    16117‐1939
MCELWAIN, BERNARD C                   97 FOY ELDRED RD                                                                            BOMBAY           NY    12914‐3100
MCELWAIN, CAROLYN A                   7278 HODGSON RD                                                                             MENTOR           OH    44060‐4641
MCELWAIN, DANNY T                     13016 SE HOWARD RD                                                                          GREENWOOD        MO    64034
MCELWAIN, DAVID B                     6212 CORWIN STA                                                                             NEWFANE          NY    14108‐9745
MCELWAIN, ELLIS L                     RR 3 BOX 361                                                                                ADRIAN           MO    64720‐8932
MCELWAIN, EUGENE C                    4341 SUNSET DR                                                                              LOCKPORT         NY    14094‐1233
MCELWAIN, GLEN D                      RR #1                                                                                       BUTLER           MO    64730
MCELWAIN, HEATHER M                   8307 COLUMBIA HWY                                                                           EATON RAPIDS     MI    48827‐8312
MCELWAIN, HEATHER MARIE               8307 COLUMBIA HWY                                                                           EATON RAPIDS     MI    48827‐8312
MCELWAIN, HELEN M                     1006 N FULTON STREET                                                                        BUTLER           MO    64730‐1118
MCELWAIN, HOWARD L                    1005 S LEXINGTON ST                                                                         HARRISONVILLE    MO    64701‐2423
MCELWAIN, HUTCH L                     1524 CAVE MILL RD                                                                           BOWLING GREEN    KY    42104‐4445
MCELWAIN, JAMES M                     202 S AUSTIN ST                                                                             BUTLER           MO    64730‐2206
MCELWAIN, JERRY R                     RR 2 BOX 261                                                                                BUTLER           MO    64730‐9543
MCELWAIN, KENNETH A                   1696 STATE ROUTE 37                                                                         BOMBAY           NY    12914‐2617
MCELWAIN, MARVIN D                    600 SW WILLIAMS ST                                                                          LEES SUMMIT      MO    64081‐2622
MCELWAIN, RANDALL G                   916 FRANK RD                                                                                LAKE ORION       MI    48362‐1718
MCELWAIN, RICHARD A                   17195 ROAD L                                                                                OTTAWA           OH    45875‐9454
MCELWAIN, RONNIE M                    9924 COLUMBIA HWY                                                                           EATON RAPIDS     MI    48827‐9376
MCELWAIN, SHARON K                    1524 CAVE MILL RD                                                                           BOWLING GREEN    KY    42104
MCELWAIN, VIRGINIA F                  RT 1 BOX 89 MCELWAIN                                                                        BUTLER           MO    64730‐9801
MCELWANEY, ANNIE L                    P O BOX 1105                                                                                FAIRBURN         GA    30213
MCELWANEY, MILDRED H                  9760 HIGHWAY 31                                                                             CALERA           AL    35040‐3307
MCELWANEY, MILDRED H                  9760 HWY 31 S                                                                               CALERA           AL    35040‐3307
MCELWEE SANDY                         8 COLONIAL RD                                                                               WESTPORT         CT    06880‐5349
MCELWEE TROY                          MCELWEE, TROY                  120 WEST MADISON STREET , 10TH                               CHICAGO          IL    60602
                                                                     FLOOR
MCELWEE TROY AND DEANNA               KROHN AND MOSS LTD             120 WEST MADISON 10TH FLOOR                                  CHICAGO          IL    60602
MCELWEE, CLEA D                       1781 CHANDLER WAY                                                                           SAINT CHARLES    MO    63303‐5322
MCELWEE, DANIEL H                     780 VINLAND DR                                                                              EATON            OH    45320‐2538
MCELWEE, DANIEL H                     780 VINLAND DR.                                                                             EATON            OH    45320‐5320
MCELWEE, DAVID L                      4444 NEW MARKET BANTA RD                                                                    LEWISBURG        OH    45338‐9744
MCELWEE, DAVID N                      1806 LAKEVIEW DR                                                                            BRANDON          FL    33511‐6224
MCELWEE, DAVID W                      233 EAGLE ST                                                                                MEDINA           NY    14103‐1209
MCELWEE, DONALD L                     906 SWEENEY RD                                                                              EDGERTON         WI    53534‐1232
MCELWEE, ELTON J                      PO BOX 3722                                                                                 FLINT            MI    48502‐0722
MCELWEE, HOWARD L                     4444 NEW MARKET BANTA RD                                                                    LEWISBURG        OH    45338‐9744
MCELWEE, JIMMY N                      946 LANCE AVE                                                                               ESSEX            MD    21221‐5220
MCELWEE, JUANITA W                    5300 FEDERAL ST                                                                             NEWTON FALLS     OH    44444‐1826
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Name                                Address1                          Address2                        Address3   Address4         City           State Zip
MCELWEE, JUANITA W                  5300 FEDERAL AVE., S.W.                                                                       NEWTON FALLS    OH 44444‐4444
MCELWEE, MARGARET                   714 BRYAN AVE                                                                                 DANVILLE         IL 61832‐6835
MCELWEE, ROLAND F                   5300 FEDERAL AVENUE                                                                           NEWTON FALLS    OH 44444‐1826
MCELWEE, ROLAND F                   5300 FEDERAL ST                                                                               NEWTON FALLS    OH 44444‐1826
MCELWEE, TROY                       KROHN & MOSS ‐ FL                 120 WEST MADISON STREET, 10TH                               CHICAGO          IL 44114
                                                                      FLOOR
MCELWEE,DAVID L                     4444 NEW MARKET BANTA RD                                                                      LEWISBURG      OH   45338‐9744
MCELYA, ROY R                       APT 2                             4054 STONEHENGE DRIVE                                       SYLVANIA       OH   43560‐3424
MCELYA, ROY R                       PO BOX 70565                                                                                  TOLEDO         OH   43607‐0565
MCELYEA, AILEENE W                  3707 AACHEN ST                                                                                SARASOTA       FL   34234‐5405
MCELYEA, AILEENE W                  3707 AACHEN                                                                                   SARASOTA       FL   34234‐5405
MCELYEA, CHRISTINE A                907 N ALDEN RD                                                                                MUNCIE         IN   47304‐3206
MCELYEA, GEORGE R                   11717 NEW CUT RD                                                                              ATHENS         AL   35611‐6365
MCELYEA, GLADYS W                   341 JACK COLEMAN DR NW                                                                        HUNTSVILLE     AL   35805‐2642
MCELYEA, JAMES W                    12 WOLVERINE STREET                                                                           BISBEE         AZ   85603‐9786
MCELYEA, KENNETH E                  240 N COUNTY ROAD 450 E                                                                       AVON           IN   46123‐9378
MCELYEA, KENNETH EUGENE             240 N COUNTY ROAD 450 E                                                                       AVON           IN   46123‐9378
MCELYEA, MARGARET B                 7352 US HIGHWAY 72                                                                            ATHENS         AL   35611‐8987
MCELYEA, PHILLIP H                  14394 CROOKED STICK PL                                                                        ATHENS         AL   35613‐8158
MCELYEA, ROBY D                     14757 FAIRVIEW RD                                                                             SAINT PAUL     VA   24283‐2713
MCEMBER, ROGER E                    3202 DAKOTA AVE                                                                               FLINT          MI   48506‐3041
MCENANY WILLIAM                     4451 VISTA DE LUZ COURT                                                                       LAS CRUCES     NM   88011‐0917
MCENDARFER, ALICIA A                5015 WILEY HOLLOW RD                                                                          CULLEOKA       TN   38451‐2409
MCENDARFER, DONALD G                5015 WILEY HOLLOW RD                                                                          CULLEOKA       TN   38451‐2409
MCENDREE, JERRY W                   2205 MOUNTAINVIEW DR                                                                          HURST          TX   76054‐2923
MCENERY, JOSEPH C                   209 E MARKET ST                                                                               NEWPORT        DE   19804‐2526
MCENROY JOHN (ESTATE OF) (501017)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD     OH   44067
                                                                      PROFESSIONAL BLDG
MCENROY, JOHN                       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD     OH 44067
                                                                      PROFESSIONAL BLDG
MCENRUE, MARY E                     165 HOLLY RIDGE RD                                                                            DUBLIN         GA 31021‐0470
MCENTEE ROBERT W (472116)           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA 23510
                                                                      STREET, SUITE 600
MCENTEE, ADAM R                     1102 CARDIFF CIR                                                                              BOSSIER CITY   LA   71111‐8196
MCENTEE, ASSUNTA M                  337 PARKEDGE AVE.                                                                             TONAWANDA      NY   14150‐7807
MCENTEE, BRADLEY R                  505 SECRET CV                                                                                 BOSSIER CITY   LA   71111‐8401
MCENTEE, GERALD A                   4975 KNOB HILL DR NE                                                                          GRAND RAPIDS   MI   49525‐1283
MCENTEE, GERALD E                   684 NORFOLK AVE                                                                               BUFFALO        NY   14215‐2765
MCENTEE, MICHAEL F                  12500 ALBION RD                                                                               N ROYALTON     OH   44133‐2446
MCENTEE, ROBERT C                   5480 TOWNLINE RD                                                                              SANBORN        NY   14132‐9371
MCENTEE, ROBERT W                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK        VA   23510‐2212
                                                                      STREET, SUITE 600
MCENTEE, VIRGINIA L                 3061 W. 1050 S.                                                                               PENDLETON      IN   46064‐9520
MCENTEE, VIRGINIA L                 3061 W 1050 S                                                                                 PENDLETON      IN   46064‐9520
MCENTIRE, DAVID C                   194 ORCHID AVE                                                                                DAYTON         TN   37321‐6759
MCENTIRE, EMMA                      5310 S 268TH EAST AVE                                                                         BROKEN ARROW   OK   74014‐4455
MCENTIRE, GEORGE T                  4678 E 100 S                                                                                  ANDERSON       IN   46017‐9370
MCENTIRE, JOHNNY W                  18285 NIKE BASE RD                                                                            LAWSON         MO   64062‐8212
MCENTIRE, JOHNNY WILLIAM            18285 NIKE BASE RD                                                                            LAWSON         MO   64062‐8212
MCENTIRE, ROBERT R                  7316 E MAPLE AVE                                                                              GRAND BLANC    MI   48439‐9620
MCENTIRE, RONNIE R                  4916 BROWNING DR                                                                              ORCHARD LAKE   MI   48323‐1581
MCENTIRE, WALDEN                    37997 LAKE DR                                                                                 AVON           OH   44011‐1143
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Name                          Address1                        Address2                      Address3   Address4         City                   State Zip
MCENTIRE, WARREN              COON & ASSOCS BRENT             917 FRANKLIN ST STE 210                                   HOUSTON                 TX 77002‐1751
MCENTYRE, CLENNETH E          10321 FOXWOOD DR                                                                          NORTH ROYALTON          OH 44133‐3361
MCENTYRE, LOIS M              30388 ROCK CREEK DR                                                                       SOUTHFIELD              MI 48076‐1043
MCENTYRE, WALTER              775 COLUSA AVE                                                                            OROVILLE                CA 95965‐4034
MCEOWEN, DONALD E             302 W BOGART RD                                                                           SANDUSKY                OH 44870‐7118
MCEOWEN, MARTHA E             8713 OXBO RD                                                                              CASTILA                 OH 44824‐9705
MCEOWN, EARL L                613 S DEAN ST                                                                             BAY CITY                MI 48706‐4653
MCERLANE, JUNE M              3665 KINGSWAY DR                C/O KEVIN DERMODY                                         HIGHLAND                MI 48356‐1845
MCEVER THOMAS J (406056)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK                 VA 23510
                                                              STREET, SUITE 600
MCEVER, BETTY M               2348 N OLA RD                                                                             MCDONOUGH              GA   30252‐4918
MCEVER, BETTY M               2348 NORTH OLA RD                                                                         MCDONOUGH              GA   30252‐4918
MCEVER, JEANNIE               2172 SIBLEY SCHOOL RD                                                                     GREENSBORO             GA   30642
MCEVER, THOMAS J              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA   23510‐2212
                                                              STREET, SUITE 600
MCEVERS, LEON C               504 WARBLER ST                                                                            ROCHESTER HILLS        MI   48309‐3477
MCEVOY SR, JOHN L             355 S 1ST ST                                                                              LEWISTON               NY   14092
MCEVOY SR., JOHN L            355 S 1ST ST                                                                              LEWISTON               NY   14092‐1508
MCEVOY, DAVID M               6284 SIMLER DR                                                                            CLARKSTON              MI   48346‐1264
MCEVOY, ELEANOR V             8363 SW 84TH LOOP                                                                         OCALA                  FL   34481‐7205
MCEVOY, HENRY R               4895 DOREY DR                                                                             BAY CITY               MI   48706‐2617
MCEVOY, JAMES P               4407 NAMBE ARCADE                                                                         LAS CRUCES             NM   88011‐4270
MCEVOY, JOHN J                520 JOHNSON RD                                                                            MOORESVILLE            IN   46158‐1740
MCEVOY, JOSEPH J              369 ROWLEY RD                                                                             DEPEW                  NY   14043‐4119
MCEVOY, NANCY C               1320 OLD PLANK RD                                                                         MILFORD                MI   48381‐2936
MCEVOY, RICHARD               41 HARWOOD RD                                                                             NATICK                 MA   01760‐1962
MCEVOY, ROSEMARY              4895 DOREY DR                                                                             BAY CITY               MI   48706‐2617
MCEVOY, RUTH                  2939 W M‐61                                                                               BENTLEY                MI   48613‐9683
MCEWAN, IAN A                 598 RIVERSTONE DR                                                                         BIRMINGHAM             MI   48009‐3714
MCEWAN, KENNETH B             781 WOODRUFF PLACE MIDDLE DR    ‐                                                         INDIANAPOLIS           IN   46201‐1972
MCEWAN, ROBERT D              4702 DON CT                                                                               WARREN                 MI   48092‐1920
MCEWAN, SAMUEL J              2643 FREDERICK TER                                                                        UNION                  NJ   07083‐5603
MCEWEN PORTER, ELLA M         1077 MARILYN WAY                                                                          MEDINA                 OH   44256
MCEWEN ROBERT J JR (493995)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA   23510
                                                              STREET, SUITE 600
MCEWEN, BARBARA K             PO BOX 568                                                                                PELHAM                 AL   35124‐0568
MCEWEN, DEMETRIUS R           7640 N 46TH CIR                                                                           GLENDALE               AZ   85301
MCEWEN, DOROTHY A             1090 REX AVE                                                                              FLINT                  MI   48505‐1618
MCEWEN, ELAINE B              1029 N DEWEY ST                                                                           OWOSSO                 MI   48867‐1887
MCEWEN, ELLEN M               7916 HUNTER LN                                                                            NORTH RICHLAND HILLS   TX   76180‐1706
MCEWEN, FLORINE               1949 TEBO ST                                                                              FLINT                  MI   48503‐4428
MCEWEN, HARRY S               14699 STOUT AVE NE                                                                        CEDAR SPRINGS          MI   49319‐9726
MCEWEN, JOHN                  9318 LUDGATE DR                                                                           ALEXANDRIA             VA   22309‐2740
MCEWEN, MATHEW J              325 W GENESEE ST                                                                          FLINT                  MI   48505‐4037
MCEWEN, NAPOLEON              4917 4TH AVE                                                                              TUSCALOOSA             AL   35405‐4046
MCEWEN, ROBERT J              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA   23510‐2212
                                                              STREET, SUITE 600
MCEWEN, RUSSELL D             5323 MERRICK ST                                                                           DEARBORN HTS           MI   48125‐2873
MCEWEN, WH                    GUY WILLIAM S                   PO BOX 509                                                MCCOMB                 MS   39649‐0509
MCEWING, VERTA E              3445 DENBURY DR                                                                           FORT WORTH             TX   76133‐3138
MCEWON, BARBARA               3946 PATTERSON RD                                                                         BAY CITY               MI   48706‐1967
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Name                            Address1                          Address2                         Address3   Address4         City              State Zip
MCFADDEN BRUCE L (429419)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MCFADDEN DANIEL (156614)        HUNTER & FEDULLO                  2401 PENNSYLVANIA AVE STE 1C41                               PHILADELPHIA      PA 19130‐7722

MCFADDEN DANNY                  MCFADDEN, DANNY                   3 SUMMIT PARK DR STE 100                                     INDEPENDENCE      OH 44131‐2598
MCFADDEN DAVID (464210)         KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                                CLEVELAND         OH 44114
                                                                  BOND COURT BUILDING
MCFADDEN DAVID C                MCFADDEN, DAVID C                 1234 MARKET ST STE 2040                                      PHILADELPHIA      PA 19107‐3720
MCFADDEN DOLPHAN B              259 VISCOUNT DR                                                                                ROCHESTER         NY 14623‐4637
MCFADDEN EMMETT E SR (429420)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA 23510
                                                                  STREET, SUITE 600
MCFADDEN I I I, CHARLES O       402 W PARKWAY AVE                                                                              FLINT             MI   48505‐6106
MCFADDEN ROBERT H               DBA GHG ASSOCIATES                5902 MOUNT EAGLE DR APT 1415                                 ALEXANDRIA        VA   22303‐2521
MCFADDEN, AARON                 5314 FROVAN PLACE                                                                              SAGINAW           MI   48603‐5519
MCFADDEN, AARON                 5314 FROVAN PL                                                                                 SAGINAW           MI   48638‐5519
MCFADDEN, ADELL                 5 COUNTRY LN                                                                                   TEXARKANA         TX   75501‐9591
MCFADDEN, ANN M                 1060 SPRING VALLEY DR                                                                          FLORISSANT        MO   63033‐3352
MCFADDEN, BERNADETTE J          2210 ROYAL OAK AVE                                                                             DEFIANCE          OH   43512‐3530
MCFADDEN, BETTY S               3005 RUBY AVE                                                                                  CLEVELAND         OH   44109‐4351
MCFADDEN, BILLY J               62 MCBURG DELLROSE RD                                                                          FRANKEWING        TN   38459‐6060
MCFADDEN, BRIAN K               APT 29D                           G3100 MILLER ROAD                                            FLINT             MI   48507‐1333
MCFADDEN, BRIAN KEITH           APT 29D                           G3100 MILLER ROAD                                            FLINT             MI   48507‐1333
MCFADDEN, BRUCE L               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                                  STREET, SUITE 600
MCFADDEN, CATHERINE M           19254 E COUNTRY CLUB DR                                                                        MIAMI             FL   33180
MCFADDEN, CLAYVAN M             12717 TRAIL OAKS DR                                                                            OKLAHOMA CITY     OK   73120‐9141
MCFADDEN, CLIFFORD G            5017 PAWNEE PATHWAY                                                                            WICHITA FALLS     TX   76310‐1483
MCFADDEN, CONSTANCE M           1851 ALLENWAY CT                                                                               ROCHESTER HILLS   MI   48309‐3314
MCFADDEN, CONSTANCE MARIA       1851 ALLENWAY CT                                                                               ROCHESTER HILLS   MI   48309‐3314
MCFADDEN, COREAN E              14742 MANOR PLACE                                                                              FONTANA           CA   92336‐0632
MCFADDEN, COREAN E              14742 MANOR PL                                                                                 FONTANA           CA   92336‐0632
MCFADDEN, DAISY M               PO BOX 559                                                                                     BOLTON            MS   39041‐0559
MCFADDEN, DANIEL I              HUNTER & FEDULLO                  THE PHILADELPHIA SUITE 1C‐41,                                PHILADELPHIA      PA   19130
                                                                  2401 PENNSYLVANIA AVENUE
MCFADDEN, DANNY                 KROHN & MOSS                      3 SUMMIT PARK DR STE 100                                     INDEPENDENCE      OH   44131‐2598
MCFADDEN, DANNY M               1510 DIFFORD DR                                                                                NILES             OH   44446‐2844
MCFADDEN, DANNY P               3219 DELREY RD                                                                                 SPRINGFIELD       OH   45504‐4311
MCFADDEN, DAVID                 KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                 CLEVELAND         OH   44114
                                                                  BOND COURT BUILDING
MCFADDEN, DEELLIS               PO BOX 322                                                                                     FLINT             MI   48501‐0322
MCFADDEN, DENA                  4005 BRICKYARD RD                                                                              CHARLOTTE         NC   28214‐9532
MCFADDEN, DILDY L               PO BOX 310192                                                                                  FLINT             MI   48531‐0192
MCFADDEN, DONALD G              111 MEDSGER RD                                                                                 CONNELLSVILLE     PA   15425‐6047
MCFADDEN, DONALD R              1116 EDGEBROOK DR                                                                              NEW CARLISLE      OH   45344‐1536
MCFADDEN, DORIS O               2038 HEATH RD                                                                                  LUPTON            MI   48635‐8771
MCFADDEN, DURENT                PO BOX 310049                                                                                  FLINT             MI   48531‐0049
MCFADDEN, EDWARD D              1387 W YALE AVE                                                                                FLINT             MI   48505‐1171
MCFADDEN, EDWARD J              2759 HILDA DR SE                                                                               WARREN            OH   44484‐3334
MCFADDEN, EMMA M                3890 S WASHINGTON RD                                                                           SAGINAW           MI   48601‐5155
MCFADDEN, EMMETT E              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                                  STREET, SUITE 600
MCFADDEN, ETHEL L               1125 FEDERAL AVE                                                                               SAGINAW           MI 48607‐1525
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Name                      Address1                            Address2                 Address3     Address4         City              State Zip
MCFADDEN, EVELYN B        1087 STATE ROUTE 133                                                                       BETHEL             OH 45106‐8418
MCFADDEN, FREDDIE L       661 1ST AVE                                                                                PONTIAC            MI 48340‐2810
MCFADDEN, GARY L          270 LEATHERWOOD CIR                                                                        BEDFORD            IN 47421‐8803
MCFADDEN, GEORGETTE KAY   1020 N 7TH ST                                                                              SAGINAW            MI 48601‐1121
MCFADDEN, GEORGETTE KAY   1020 NO 7TH ST                                                                             SAGINAW            MI 48601‐1121
MCFADDEN, GERALDINE       PO BOX 310714                                                                              FLINT              MI 48531‐0714
MCFADDEN, GREG E          1967 TEANECK CIR                                                                           WIXOM              MI 48393‐1856
MCFADDEN, GREG EWING      1967 TEANECK CIR                                                                           WIXOM              MI 48393‐1856
MCFADDEN, HOWARD          1200 E MOORE RD                                                                            SAGINAW            MI 48601‐9352
MCFADDEN, IDA F           1709 GLENDA DR                                                                             LITTLE ROCK        AR 72205‐6737
MCFADDEN, JAMES M         PO BOX 1301                                                                                HOPE               AR 71802‐1301
MCFADDEN, JAMES P         12415 RAILROAD RD                                                                          CLIO               MI 48420‐8231
MCFADDEN, JEFFREY D       314 LONGMAN RD                                                                             EATON              OH 45320‐9357
MCFADDEN, JOHN            3685 PEBBLE BEACH DR                                                                       ATLANTA            GA 30349‐3627
MCFADDEN, JOLEEN          18114 JUDICIAL WAY N                                                                       LAKEVILLE          MN 55044‐7683
MCFADDEN, JOSEPH A        3910 MURIEL AVE                                                                            CLEVELAND          OH 44109‐3136
MCFADDEN, JOSEPH E        101 NORTH ST                        PO BOX 446                                             CATLIN              IL 61817
MCFADDEN, JOY
MCFADDEN, JOY N           303 KRISTINA CT                                                                            CENTERVILLE       OH    45458‐4127
MCFADDEN, JULIA F         186 RINGWOOD WAY                                                                           ANDERSON          IN    46013‐4253
MCFADDEN, KATIE L         1200 E MOORE RD                                                                            SAGINAW           MI    48601‐9352
MCFADDEN, KEITH D         14181 SWANEE BEACH DR                                                                      FENTON            MI    48430‐3249
MCFADDEN, KEITH DENNIS    14181 SWANEE BEACH DR                                                                      FENTON            MI    48430‐3249
MCFADDEN, KELVIN K        3202 BRIARWOOD DR                                                                          FLINT             MI    48507‐1450
MCFADDEN, KENNETH L       289 OAKDALE CIR                                                                            CUBA              MO    65453‐9345
MCFADDEN, KIM J           13 FOUNTAIN PL 13                                                                          POUGHKEEPSIE      NY    12603
MCFADDEN, L D             4253 5TH ST                                                                                ECORSE            MI    48229‐1105
MCFADDEN, LARRY E         1283 COUNTY ROAD 658                                                                       NOVA              OH    44859‐9741
MCFADDEN, LEON            607 KENSINGTON AVE                                                                         FLINT             MI    48503‐2060
MCFADDEN, LEROY W         551 S OUTER DR                                                                             SAGINAW           MI    48601‐6400
MCFADDEN, LESTER C        9688 CUTLER RD R 3                                                                         LAINGSBURG        MI    48848
MCFADDEN, LILLIAN         PO BOX 352                                                                                 WILLIAMSTON       MI    48895‐0352
MCFADDEN, LOGAN           77 HOWINGTON LN                                                                            CORBIN            KY    40701‐9541
MCFADDEN, MAGGIE S        3326 MICHAEL AVE APT 730                                                                   BEDFORD           IN    47421‐3656
MCFADDEN, MAGGIE S        3326 MICHAEL AVE.                   APT. 730                                               BEDFORD           IN    47421‐3647
MCFADDEN, MARC E          6740 WINDMILL LN                                                                           WEST BLOOMFIELD   MI    48324‐3762
MCFADDEN, MARIE J         2234 HAMILTON RICHMOND RD                                                                  HAMILTON          OH    45013‐1020
MCFADDEN, MARY H          551 S OUTER DR                                                                             SAGINAW           MI    48601‐6400
MCFADDEN, MARY L          130 EAST DARTMOUTH ST                                                                      FLINT             MI    48505‐4955
MCFADDEN, MARY L          130 E DARTMOUTH ST                                                                         FLINT             MI    48505‐4955
MCFADDEN, MAURICE D       519 E MAIN ST                                                                              FLUSHING          MI    48433‐2005
MCFADDEN, MAURICE DEAN    519 E MAIN ST                                                                              FLUSHING          MI    48433‐2005
MCFADDEN, MENDEL          1600 HAMILTON RICHMOND RD                                                                  HAMILTON          OH    45013‐1008
MCFADDEN, MICHAEL R       2225 23RD ST UNIT 401                                                                      SAN FRANCISCO     CA    94107‐3268
MCFADDEN, MONTY J         2404 N. POORFARM RD                                                                        BEDFORD           IN    47421
MCFADDEN, OLIVER          30 LUFFING CT                                                                              BALTIMORE         MD    21221‐2935
MCFADDEN, PHILIP K        175 RICHARD ST                                                                             SEBASTIAN         FL    32958‐5832
MCFADDEN, RAYMOND         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                 EDWARDSVILLE      IL    62025
                          ROWLAND PC
MCFADDEN, RHONDA          410 COUNTY ROAD 3081                                                                       DE BERRY           TX   75639‐3039
MCFADDEN, RICHARD F       6344 S STATE RD #67                                                                        PENDLETON          IN   46064
MCFADDEN, ROBERT E        2416 E LORETTA DR                                                                          INDIANAPOLIS       IN   46227‐4959
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Name                        Address1                      Address2              Address3         Address4         City                 State Zip
MCFADDEN, ROBERTA P         13482 WEST OUTER DRIVE                                                                REDFORD               MI 48239‐1309
MCFADDEN, RODGER W          41W754 BOWGREN DR                                                                     ELBURN                 IL 60119‐9498
MCFADDEN, SHERION D         6513 DARYLL DR                                                                        FLINT                 MI 48505‐1961
MCFADDEN, SHIRLEY B         406 SUBURBAN DR #164                                                                  NEWARK                DE 19711
MCFADDEN, SHIRLEY B         1310 STEVE CT                                                                         LAWERNCEVILLE         GA 30043
MCFADDEN, SHIRLEY D         2654 FARBER DRIVE                                                                     ST LOUIS              MO 63136‐4611
MCFADDEN, SHIRLEY D         2654 FARBER DR                                                                        SAINT LOUIS           MO 63136‐4611
MCFADDEN, STEPHEN J         3162 LUCE ROAD                                                                        FLUSHING              MI 48433‐2358
MCFADDEN, STEPHEN JAMES     3162 LUCE ROAD                                                                        FLUSHING              MI 48433‐2358
MCFADDEN, SYLVIA F          175 RICHARD ST                                                                        SEBASTIAN             FL 32958
MCFADDEN, TONY D            145 LOUDEN DR. THE PARK                                                               FISHKILL              NY 12524
MCFADDEN, VASALONYER CARO   PO BOX 90195                                                                          BURTON                MI 48509‐0195
MCFADDEN, WALTER E          12605 S VILLA AVE                                                                     OKLAHOMA CITY         OK 73170‐4819
MCFADDEN, WILDA B           6344 S. STATE RD #67                                                                  PENDLETON             IN 46064
MCFADDEN, WILLIAM E         PO BOX 310714                                                                         FLINT                 MI 48531‐0714
MCFADDEN, WILSON L          1000 RALSTON AVE APT 27                                                               DEFIANCE              OH 43512
MCFADDIN, EILEEN C          13075 MOCK ST                                                                         GULFPORT              MS 39503‐5407
MCFADGEN JR, ISAAC M        2119 RIVERFOREST DR                                                                   ARLINGTON             TX 76017‐1636
MCFADGEN, ANTHONY W         5865 SUMMERSWEET DR                                                                   CLAYTON               OH 45315‐9794
MCFADGEN, ANTHONY WAYNE     5865 SUMMERSWEET DR                                                                   CLAYTON               OH 45315‐9794
MCFADGEN,ANTHONY WAYNE      5865 SUMMERSWEET DR                                                                   CLAYTON               OH 45315‐9794
MCFADIN NICK III            1250 NE LOOP 410 STE 400                                                              ALAMO HEIGHTS         TX 78209‐1524
MCFALDA, FRANK R            7592 E METZ HWY                                                                       POSEN                 MI 49776‐9769
MCFALL JR, RICHARD G        RR 5 BOX 643B (WH HUDSON)                                                             LAKE CITY             FL 32024
MCFALL, ANGELLA E           21795 MCPHALL RD                                                                      ARMADA                MI 48005‐1326
MCFALL, BETTY J             369 SEPTEMBER FALLS DRIVE                                                             REEDS SPRING          MO 65737‐7426
MCFALL, DANIEL V            21795 MCPHALL RD                                                                      ARMADA                MI 48005‐1326
MCFALL, DEBORAH L           2389 E 400 N                                                                          KOKOMO                IN 46901‐8599
MCFALL, DENNIS M            6 JOAN AVE                                                                            STONEHAM              MA 02180‐2374
MCFALL, DIANA L             1908 BECKER ST.                                                                       FLINT                 MI 48503
MCFALL, ETHEL R             14711 IVORYSTONE NE                                                                   CEDAR SPRINGS         MI 49319‐7804
MCFALL, FLORENCE H          31 NEW YORK BLVD                                                                      BEVERLY HILLS         FL 34465‐4330
MCFALL, GARY R              5399 RAYMOND AVE                                                                      BURTON                MI 48509‐1925
MCFALL, GEORGE W            9112 BELLAMY CT                                                                       SPRING HILL           FL 34606‐2206
MCFALL, GERALD LAWRENCE     6206 ROBERTA ST                                                                       BURTON                MI 48509‐2432
MCFALL, HAROLD J            117 MCDONALD DR                                                                       HOUGHTON LAKE         MI 48629‐9330
MCFALL, HELEN L             3280 DEER TRL UNIT C                                                                  CORTLAND              OH 44410‐9121
MCFALL, HELEN L             3280 C DEER TRAIL                                                                     CORTLAND              OH 44410‐9121
MCFALL, JANET               12296 NATIONAL DR                                                                     GRAFTON               OH 44044‐9542
MCFALL, JERRY J             7105 N COUNTY ROAD 1125 W                                                             WEST BADEN SPRINGS    IN 47469‐9704
MCFALL, JOHN W              528 DREAM ST                                                                          ANDERSON              IN 46013‐1162
MCFALL, JOSEPHINE R         6190 TEAGARDEN CIR                                                                    DAYTON                OH 45449‐3014
MCFALL, KATHERINE A         601 LAURELWOOD DR SE                                                                  WARREN                OH 44484‐2461
MCFALL, KATHERINE A         601 LAURELWOOD, SE                                                                    WARREN                OH 44484‐2461
MCFALL, KEITH D             20506 ABRAHM ST                                                                       CLINTON TWP           MI 48035‐3435
MCFALL, MARY H              424 N 20TH ST                                                                         ELWOOD                IN 46036‐1607
MCFALL, MARY H              424 NORTH 20TH STREET                                                                 ELWOOD                IN 46036‐1607
MCFALL, MERLE F             11605 SHARROTT RD                                                                     NORTH LIMA            OH 44452‐9724
MCFALL, MONTE K             424 N 20TH ST                                                                         ELWOOD                IN 46036‐1607
MCFALL, RHONDA L            1317 SHERMAN ST SE                                                                    GRAND RAPIDS          MI 49506
MCFALL, RICHARD L           2389 E 400 N                                                                          KOKOMO                IN 46901‐8599
MCFALL, ROBERT              5771 OLD STATE RD                                                                     W FARMINGTON          OH 44491‐9719
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Name                                Address1                           Address2                         Address3                Address4         City            State Zip
MCFALL, STEPHANIE                   5465 N STATE RD                                                                                              DAVISON          MI 48423
MCFALL, STEPHEN G                   208 E BENTON ST                                                                                              ALEXANDRIA       IN 46001‐9229
MCFALL, TIMOTHY C                   6950 WINTERPARK AVE                                                                                          YOUNGSTOWN       OH 44515‐5606
MCFALLS, DALLAS                     11459 CLAIRMONT DR                                                                                           FENTON           MI 48430‐9095
MCFALLS, JOHN R                     PO BOX 980381                                                                                                YPSILANTI        MI 48198‐0381
MCFALLS, ROSE MARY                  PO BOX 675                                                                                                   SPRING CITY      TN 37381‐0675
MCFANN GLEN (456421)                SKAGGS JOHN H                      405 CAPITOL STREET ‐ SUITE 607                                            CHARLESTON       WV 25301
MCFANN, GLEN                        SKAGGS JOHN H                      405 CAPITOL STREET ‐ SUITE 607                                            CHARLESTON       WV 25301
MCFANN, MARIA E                     23415 RHEA DR                                                                                                MORENO VALLEY    CA 92557‐6109
MCFARLAN, MARY                      988 MANN AVE                                                                                                 FLINT            MI 48503‐4944
MCFARLAN, STEPHEN C                 3177 KNOTTINGHAM DR                                                                                          FLINT            MI 48507‐3454
MCFARLAN, STEPHEN CHRIS             3177 KNOTTINGHAM DR                                                                                          FLINT            MI 48507‐3454
MCFARLAN, WILLIAM A                 9020 68TH ST SE                                                                                              ALTO             MI 49302‐9655
MCFARLAND BOYCE                     MCFARLAND, BOYCE                   513 WATER OAK LN UNIT A                                                   OAK PARK         CA 91377‐3731
MCFARLAND BOYCE                     MCFARLAND, BARBARA                 SILVER LAW OFFICES OF HOWARD D 513 WATER OAK LANE NO A                    OAK PARK         CA 91377

MCFARLAND BRIAN                     1879 PINEHURST COURT                                                                                         WATERLOO        IA 50701‐4554
MCFARLAND BRIAN T                   MCFARLAND, BRIAN T                 266 MAIN ST                                                               FARMINGDALE     NY 11735‐2618
MCFARLAND BRIAN T                   PROGRESSIVE DIRECT INSURANCE       266 MAIN ST                                                               FARMINGDALE     NY 11735‐2618
                                    COMPANY
MCFARLAND CHEVROLET‐OLDS‐PONTIAC‐   609 MARTIN L KING JR HWY                                                                                     MAYSVILLE        KY
BU
MCFARLAND CHEVROLET‐OLDS‐PONTIAC‐   609 MARTIN L KING JR HWY                                                                                     MAYSVILLE        KY   41056
BUICK AND CADILLAC, INC.
MCFARLAND CHEVROLET‐OLDS‐PONTIAC‐   BRETT MCFARLAND                    609 MARTIN L KING JR HWY                                                  MAYSVILLE        KY   41056
BUICK AND CADILLAC, INC.
MCFARLAND JAMES R                   34 LANE DR                                                                                                   FLEMINGTON      NJ    08822‐7121
MCFARLAND KEN                       24517 E GAGE ST                                                                                              LIBERTY LAKE    WA    99019‐9655
MCFARLAND LONNIE                    MCFARLAND, LONNIE                  3652 LONG WHARF DR APT B                                                  INDIANAPOLIS    IN    46235‐2650
MCFARLAND MARVIN (ESTATE OF)        SIMMONS FIRM                       PO BOX 521                                                                EAST ALTON      IL    62024‐0519
(665258)
MCFARLAND MICHAEL W                 MCFARLAND, MICHAEL W               429 W WESLEY ST                                                           WHEATON         IL    60187‐4925
MCFARLAND PATRICIA                  3774 S CAYBRIDGE DR                                                                                          BLOOMINGTON     IN    47401
MCFARLAND SHIRLEY                   MCFARLAND, SHIRLEY                 BOX 785                                                                   SHUBUTA         MS    39360
MCFARLAND, AARON W                  2300 MUNDALE AVE                                                                                             DAYTON          OH    45420‐2529
MCFARLAND, ABRAHAM                  3935 S ST SE                       APT 304                                                                   WASHINGTON      DC    20020‐1006
MCFARLAND, ALMAN W                  8275 E POTTER RD                                                                                             DAVISON         MI    48423‐8146
MCFARLAND, BARBARA                  SILVER LAW OFFICES OF HOWARD D     513 WATER OAK LN UNIT A                                                   OAK PARK        CA    91377‐3731
MCFARLAND, BARBARA J                PO BOX 534                                                                                                   LUCAS           OH    44843‐0534
MCFARLAND, BEN                      406 GERMANIA ST                                                                                              BAY CITY        MI    48706‐5058
MCFARLAND, BENJAMIN J               3908 DELPHOS AVE                                                                                             DAYTON          OH    45402‐5217
MCFARLAND, BENJAMIN J               3908 DELPHOS                                                                                                 DAYTON          OH    45407‐1217
MCFARLAND, BETTY B                  3008 PEBBLE CREEK STREET                                                                                     MELBOURNE       FL    32935‐7162
MCFARLAND, BEVERLY J                1407 S CHILSON ST                                                                                            BAY CITY        MI    48706‐5118
MCFARLAND, BEVERLY J                1407 S. CHILSON                                                                                              BAY CITY        MI    48706‐5118
MCFARLAND, BILLY M                  5437 CRAWFORD RD                                                                                             BROOKVILLE      OH    45309‐9750
MCFARLAND, BILLY M                  5437 CRAWFORD TOMS RUN RD                                                                                    BROOKVILLE      OH    45309‐9750
MCFARLAND, BOYCE                    SILVER LAW OFFICES OF HOWARD D     513 WATER OAK LN UNIT A                                                   OAK PARK        CA    91377‐3731
MCFARLAND, BRIAN A                  1879 PINEHURST COURT                                                                                         WATERLOO        IA    50701‐4554
MCFARLAND, BRIAN T                  CARMAN CALLAHAN & INGHAM           266 MAIN ST                                                               FARMINGDALE     NY    11735‐2618
MCFARLAND, CAROL T                  1479 CRANBROOK DR                                                                                            HERMITAGE       PA    16148‐2050
MCFARLAND, CAROLA                   2634 DANFORTH LANE                                                                                           DECATUR         GA    30033
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Name                          Address1                       Address2              Address3         Address4         City                 State Zip
MCFARLAND, CHARLES B          5321 BURLESON OAKS DR                                                                  BURLESON              TX 76028‐1835
MCFARLAND, CHARLES E          3964 SHADOW HILL CT                                                                    GREENWOOD             IN 46142‐8449
MCFARLAND, CHARLES M          3400 HWY 219                                                                           HUNTINGDON            TN 38344
MCFARLAND, CHASITY MICHELLE   9736 HEMPHILL DRIVE                                                                    FORT WAYNE            IN 46819‐2621
MCFARLAND, CHESTER L          5630 SAGRA RD                                                                          BALTIMORE             MD 21239‐2824
MCFARLAND, CLAYTON            72 LOUISE DR                                                                           SHELBY                OH 44875‐1818
MCFARLAND, CLOYD              348 CARMEL AVE                                                                         GALION                OH 44833‐1423
MCFARLAND, DALE A             1020 WOODCREST LN                                                                      HAZELWOOD             MO 63042‐1248
MCFARLAND, DALE R             3916 ENOLA CT                                                                          FORT WAYNE            IN 46809‐1120
MCFARLAND, DAN W              9211 BAYBERRY BND APT 104                                                              FORT MYERS            FL 33908‐6231
MCFARLAND, DANIEL G           308 BASS ST                                                                            PARK HILLS            MO 63601‐2214
MCFARLAND, DAVID A            4900 COUNCIL RING BLVD                                                                 KOKOMO                IN 46902‐5323
MCFARLAND, DAVID D            737 E MOUNT EDEN RD                                                                    RUSSELL SPGS          KY 42642‐9716
MCFARLAND, DAVID J            5635 BIRCHDALE DR                                                                      TOLEDO                OH 43623‐1905
MCFARLAND, DAVID JAMES        5635 BIRCHDALE DR                                                                      TOLEDO                OH 43623‐1905
MCFARLAND, DAVID L            6950 NW 78TH PL                                                                        CHIEFLAND             FL 32626‐5513
MCFARLAND, DENNIS A           4440 S AIRPORT RD                                                                      BRIDGEPORT            MI 48722‐9524
MCFARLAND, DOROTHY A          649 ROBERTS DR                                                                         HARRISON              MI 48625‐9758
MCFARLAND, DOROTHY A          649 ROBERT DR.                                                                         HARRISON              MI 48625‐9758
MCFARLAND, DOROTHY E          4330 RIVERSIDE DR APT H                                                                DAYTON                OH 45405‐1339
MCFARLAND, EDWIN L            20 ABBINGTON DR NW                                                                     WARREN                OH 44481‐9002
MCFARLAND, EDWIN L            20 ABBINGTON NW                                                                        WARREN                OH 44481‐9002
MCFARLAND, ETHEL G            101 PLAZA DR APT 325                                                                   DOWNINGTOWN           PA 19335‐3399
MCFARLAND, ETHEL G            101 PLAZA DR                   APT 325                                                 DOWNINGTOWN           PA 19335
MCFARLAND, GARNET D           144 HOLLYWOOD DR                                                                       CLAIRTON              PA 15025‐4004
MCFARLAND, GARY               22421 LAUKEL ST                                                                        SAINT CLAIR SHORES    MI 48080‐4065
MCFARLAND, GARY M
MCFARLAND, GERALD             1208 PARKWAY DR                                                                        ANDERSON             IN   46012‐4618
MCFARLAND, GLENWOOD T         736 BERRYWINE LN                                                                       ARNOLD               MO   63010‐4739
MCFARLAND, GUS P              5420 HIRAM‐LITHIA RD                                                                   POWDER SPRINGS       GA   30127
MCFARLAND, HARDING D          3904 ADRIAN DR SE                                                                      WARREN               OH   44484‐2745
MCFARLAND, HELEN              1955 AMELIA COURT                                                                      MIAMISBURG           OH   45342‐5471
MCFARLAND, HELEN L            690 S STATE ST                                                                         FRANKLIN             IN   46131‐2553
MCFARLAND, HENRY C            1502 PEBBLE CREEK DR                                                                   EULESS               TX   76040‐6459
MCFARLAND, HENRY J            PO BOX 1047                                                                            NOKOMIS              FL   34274‐1047
MCFARLAND, HENRY J            BOX 1047                                                                               NOKOMIS              FL   34274‐1047
MCFARLAND, ITASKA             8314 MARTY                                                                             OVERLAND PARK        KS   66212‐1962
MCFARLAND, ITASKA             8314 MARTY ST                                                                          OVERLAND PARK        KS   66212‐1962
MCFARLAND, IZANETTA           6228 E 129TH ST                                                                        GRANDVIEW            MO   64030‐2633
MCFARLAND, JAMES M            119 LITTLEBROOK RD                                                                     JOSHUA               TX   76058‐4816
MCFARLAND, JAMES W            6682 FOREST HILL LN                                                                    HAMILTON             OH   45011‐6415
MCFARLAND, JASON S            PO BOX 49                                                                              NEW LONDON           PA   19360‐0049
MCFARLAND, JOE                5 E 4TH ST                                                                             MAYSVILLE            KY   41056‐1117
MCFARLAND, JOHN D             1079 CLIFF WHITE RD                                                                    COLUMBIA             TN   38401‐6761
MCFARLAND, JOHN H             689 PINETOP RD                                                                         RUSSELL SPRINGS      KY   42642‐9737
MCFARLAND, JOHNNIE H          6000 PIQUAD RD                                                                         ELIDA                OH   45807‐9465
MCFARLAND, JR., MELVIN A      4160 MCGREGORY RD                                                                      CARO                 MI   48723‐9384
MCFARLAND, KATHERINE A        5037 S HIGHPOINT DR                                                                    ALBION               IN   46701‐9354
MCFARLAND, KATIE A.           3916 ENOLA CT                                                                          FORT WAYNE           IN   46809‐1120
MCFARLAND, KENNETH A          206 RED OAK PL                                                                         MADISON              AL   35758
MCFARLAND, KENNETH A          3301 9TH AVE SW                                                                        HUNTSVILLE           AL   35805‐4017
MCFARLAND, KENNETH AARON      3816 BOB WALLACE AVE SW                                                                HUNTSVILLE           AL   35805‐3919
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Name                         Address1                        Address2              Address3         Address4         City            State Zip
MCFARLAND, KENNETH E         5955 W DEREN RD                                                                         LUDINGTON        MI 49431‐9749
MCFARLAND, KENNETH E         3759 ENDOVER RD                                                                         KETTERING        OH 45439‐2418
MCFARLAND, KENNETH L         2939 LINDA DR NW                                                                        WARREN           OH 44485
MCFARLAND, L                 3673 GUAM CT                                                                            CINCINNATI       OH 45236‐1527
MCFARLAND, LARRY E           4216 MILLER RD                                                                          SPRINGFIELD      OH 45502‐8623
MCFARLAND, LARRY G           4718 S MERIDIAN ST                                                                      MARION           IN 46953‐5409
MCFARLAND, LEKEYSHA S        1912 N E. 76TH ST                                                                       GLADSTONE        MO 64118
MCFARLAND, LENOLA            3673 GUAM CT                                                                            CINCINNATI       OH 45236‐1527
MCFARLAND, LONNIE            3652 LONG WHARF DR APT B                                                                INDIANAPOLIS     IN 46235‐2650
MCFARLAND, LYLE W            4115 COBBLESTONE LN                                                                     JANESVILLE       WI 53546‐3431
MCFARLAND, MARILYN J         7883 TURNBERRY DR                                                                       WHITMORE LAKE    MI 48189‐9484
MCFARLAND, MARILYN W         7304 OAKWOOD COURT, C‐10                                                                BROOKFIELD       OH 44403
MCFARLAND, MARSHA R          3964 SHADOW HILL CT                                                                     GREENWOOD        IN 46142‐8449
MCFARLAND, MARVIN            SIMMONS FIRM                    PO BOX 521                                              EAST ALTON        IL 62024‐0519
MCFARLAND, MARY B            140 BROOK DRIVE R.D.#2                                                                  BROOKFIELD       OH 44403
MCFARLAND, MARY P            4343 GREGOR ST                                                                          GENESEE          MI 48437‐7701
MCFARLAND, MARY P            4343 GREGOR                                                                             GENESEE          MI 48437
MCFARLAND, MATTIE L          1891 N STATE RD 267                                                                     PLAINFIELD       IN 46168‐8421
MCFARLAND, MAXINE            31707 PALOMINO DR                                                                       WARREN           MI 48093‐1730
MCFARLAND, MELLOVE L         5437 CRAWFORD ROAD                                                                      BROOKVILLE       OH 45309‐9750
MCFARLAND, MELLOVE L         5437 CRAWFORD TOMS RUN RD                                                               BROOKVILLE       OH 45309‐9750
MCFARLAND, MICHAEL L         4010 TEETERS RD                                                                         MARTINSVILLE     IN 46151‐8911
MCFARLAND, MICHAEL R         10162 LINDEN RD                                                                         GRAND BLANC      MI 48439‐9361
MCFARLAND, MICHAEL W         LEHRER & CANAVAN, PC            429 W WESLEY ST                                         WHEATON           IL 60187‐4925
MCFARLAND, NANCY Y           930 THOMAS AVE                                                                          ROCHESTER        NY 14617‐1445
MCFARLAND, NOBLE F           710 PHILADELPHIA DR                                                                     JASPER           GA 30143‐6830
MCFARLAND, PATRICIA          1079 CLIFF WHITE RD                                                                     COLUMBIA         TN 38401‐6761
MCFARLAND, PATRICK
MCFARLAND, PATRICK M         3166 PORT AUSTIN RD                                                                     PORT AUSTIN     MI   48467‐9621
MCFARLAND, PATSY H           17410 PARK ST                                                                           MELVINDALE      MI   48122‐1213
MCFARLAND, PAUL F            2797 8 MILE RD                                                                          AUBURN          MI   48611‐9736
MCFARLAND, PAUL J            9736 HEMPHILL DR                                                                        FORT WAYNE      IN   46819‐2621
MCFARLAND, PAULA J           9310 HEATHER FIELD CT                                                                   LAYTONSVILLE    MD   20882‐3722
MCFARLAND, PHYLLIS M         2770 DELAND RD                                                                          WATERFORD       MI   48329‐3418
MCFARLAND, RAYMOND E         10 JAY ST                                                                               NEWTON FALLS    OH   44444‐4444
MCFARLAND, RAYMOND E         10 E JAY ST                                                                             NEWTON FALLS    OH   44444‐1348
MCFARLAND, RICHARD           PO BOX 350700                                                                           WESTMINSTER     CO   80035‐0700
MCFARLAND, RICK              14230 WEIER DR                                                                          WARREN          MI   48088‐4358
MCFARLAND, RICKEY E          6459 GERMANTOWN PIKE                                                                    MORAINE         OH   45418‐1637
MCFARLAND, ROBERT G          746 N LAFONTAINE ST                                                                     HUNTINGTON      IN   46750‐2009
MCFARLAND, ROBERT GEORGE     746 N LAFONTAINE ST                                                                     HUNTINGTON      IN   46750‐2009
MCFARLAND, RONALD L          2265 KENNEDY DR                                                                         SALEM           OH   44460‐2513
MCFARLAND, ROSE M            710 PHILADELPHIA DR.                                                                    JASPER          GA   30143
MCFARLAND, ROY A             PO BOX 966                                                                              FOWLERVILLE     MI   48836‐0966
MCFARLAND, ROY G             515 SW HOKE LN                                                                          LEES SUMMIT     MO   64081‐2506
MCFARLAND, RYAN              7305 BRANDON DRIVE                                                                      BAY CITY        MI   48706‐8323
MCFARLAND, SANDRA R          4618 POSSUM RUN RD                                                                      BELLVILLE       OH   44813‐9130
MCFARLAND, SARAH ELIZABETH   1146 ARCLAIR PL                                                                         SAGINAW         MI   48638‐5610
MCFARLAND, SHIRLEY           PO BOX 785                      BOX 785                                                 SHUBUTA         MS   39360
MCFARLAND, SHIRLEY           BOX 785                                                                                 SHUBUTA         MS   39360
MCFARLAND, STEPHEN G         PO BOX 49                                                                               NEW LONDON      PA   19360‐0049
MCFARLAND, STEPHEN P         6554 E MCFARLAND TRL                                                                    MARTINSVILLE    IN   46151‐6440
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Name                               Address1                         Address2                 Address3         Address4         City            State Zip
MCFARLAND, STEVE E                 945 FOREST HILL RD                                                                          WOODLAND PARK    CO 80863
MCFARLAND, STEVEN M                242 S 10TH AVE                                                                              BEECH GROVE      IN 46107‐1947
MCFARLAND, STEVEN MICHAEL          242 S 10TH AVE                                                                              BEECH GROVE      IN 46107‐1947
MCFARLAND, THELMA R                4131 W CROSS ST                                                                             ANDERSON         IN 46011
MCFARLAND, THOMAS M                518 DORCHESTER DR                                                                           HUBBARD          OH 44425‐2603
MCFARLAND, THOMAS M                1505 N DEWITT ST                                                                            BAY CITY         MI 48706‐3544
MCFARLAND, TODD A                  350 W 38TH ST                                                                               ANDERSON         IN 46013‐4016
MCFARLAND, VIRGIL A                7146 SWISSHELM LN LOT 20                                                                    HILLSBORO        OH 45133‐8599
MCFARLAND, WALTER N                7320 BEATY ST                                                                               FORT WORTH       TX 76112‐5836
MCFARLAND, WANDA F                 1208 PARKWAY DR                                                                             ANDERSON         IN 46012‐4618
MCFARLAND, WILLARD L               138 LOCKNER RD                                                                              PORTSMOUTH       OH 45662‐8820
MCFARLAND, WILLIAM O               40 E JAY ST                                                                                 NEWTON FALLS     OH 44444‐1348
MCFARLAND, WILLIAM O               40 E. JAY                                                                                   NEWTON FALLS     OH 44444‐1348
MCFARLAND, WILLIAM W               231 JOSHUA DR                                                                               BROOKFIELD       OH 44403‐9619
MCFARLAND, WILLIAM W               7932 2ND STREET                                                                             MASURY           OH 44438‐1463
MCFARLAND,DAVID                    1931 NE 76TH TER                                                                            GLADSTONE        MO 64118‐2038
MCFARLAND,JR., MELVIN A            4160 MCGREGORY RD                                                                           CARO             MI 48723
MCFARLAND‐COHEN, CAROL T           1479 CRANBROOK DR                                                                           HERMITAGE        PA 16148‐6148
MCFARLAND‐MURRAY CHEVROLET, INC.   BARRY MCFARLAND                  414 E MAIN ST                                              GRAYSON          KY 41143‐1416

MCFARLAND‐MURRAY CHEVROLET, INC.   414 E MAIN ST                                                                               GRAYSON          KY   41143‐1416

MCFARLANE, DANO P                  16219 ESKES ST                                                                              LANSING         MI    48906‐2977
MCFARLANE, DARLENE M               737 S 76TH PL                                                                               MESA            AZ    85208‐6023
MCFARLANE, DAVID R                 3461 COLUMBIAVILLE RD                                                                       COLUMBIAVILLE   MI    48421‐9637
MCFARLANE, DAVID RAY               3461 COLUMBIAVILLE RD                                                                       COLUMBIAVILLE   MI    48421‐9637
MCFARLANE, GARY                    62567 WOLCOTT RD                                                                            RAY             MI    48096‐3019
MCFARLANE, GLENN M                 1160 HEATHER WOOD CT                                                                        MARIETTA        GA    30062‐2926
MCFARLANE, JEFFREY M               257 E BEARD RD                                                                              PERRY           MI    48872‐9517
MCFARLANE, JEFFREY MARK            257 E BEARD RD                                                                              PERRY           MI    48872‐9517
MCFARLANE, JUDITH K                1811 SW WILLOWBEND LN                                                                       PALM CITY       FL    34990‐8412
MCFARLANE, LOIS E                  6021 BLOSS CT                                                                               SWARTZ CREEK    MI    48473‐8877
MCFARLANE, MARGUERITE I            677 DEWEY ST APT 326                                                                        LAPEER          MI    48446‐1733
MCFARLANE, MARGUERITE I            677 DEWEY ST                     APT 326                                                    LAPEER          MI    48446‐1733
MCFARLANE, PATRICK                 525 SADDLE LAKE DR                                                                          ROSWELL         GA    30076‐1085
MCFARLANE, PATRICK J               1025 6TH ST                                                                                 MARYSVILLE      MI    48040
MCFARLANE, ROBIN L                 3210 LES CHAPPELL RD                                                                        SPRING HILL     TN    37174‐2511
MCFARLANE, RODERICK L              2601 MISSOURI AVE                                                                           FLINT           MI    48506‐3889
MCFARLANE, RODERICK LEE            2601 MISSOURI AVENUE                                                                        FLINT           MI    48506‐3889
MCFARLANE, ROY A                   797 SANDALWOOD RD                                                                           CANTON          MI    48188‐3032
MCFARLANE, SANDRA K                1034 KIMBERLY DR APT 6                                                                      LANSING         MI    48912‐4828
MCFARLANE, THOMAS J                2049 PACKARD HWY                                                                            CHARLOTTE       MI    48813‐9768
MCFARLIN, BETTY L                  1526 LEONARD ST NW                                                                          GRAND RAPIDS    MI    49534‐9537
MCFARLIN, CHARLOTTE A              1107 SUNSET PLAZA DR                                                                        SANDUSKY        OH    44870
MCFARLIN, CHARLOTTE ANN            1107 SUNSET PLZ                                                                             SANDUSKY        OH    44870‐6297
MCFARLIN, CLYDE L                  1055 ROOSEVELT AVE                                                                          MASARYKTOWN     FL    34604‐7421
MCFARLIN, HELEN D                  861 NW RED PINE WAY                                                                         JENSEN BEACH    FL    34957‐3494
MCFARLIN, JOHN F                   4305 COUNTY ROAD 919                                                                        CROWLEY         TX    76036‐5317
MCFARLIN, KATHLEEN A               2492 E 88TH ST                                                                              NEWAYGO         MI    49337‐8689
MCFARLIN, KATHY L                  1937 TOWNSHIP ROAD 121           5 RT 4                                                     ASHLAND         OH    44805
MCFARLIN, KEVIN M                  2310 SEMINARY RD                                                                            MILAN           OH    44846‐9476
MCFARLIN, MARVIN O                 2105 CAMPGROUND RD                                                                          PARAGOULD       AR    72450‐8522
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Name                           Address1                           Address2                          Address3   Address4         City                State Zip
MCFARLIN, MARY B               1485 BEAR CORBITT RD                                                                             BEAR                 DE 19701‐1500
MCFARLIN, MARY B               1485 BEAR‐CORBITT RD                                                                             BEAR                 DE 19701‐1500
MCFARLIN, RONALD W             4076 W WILSON RD                                                                                 CLIO                 MI 48420‐9481
MCFARLIN, SEAN M               413 GREEN ST                                                                                     BELLEVUE             OH 44811‐1227
MCFARLIN, SHARON K             3310 HERON AVE SW                                                                                WYOMING              MI 49509‐3448
MCFARREN GORDON E (429421)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK              VA 23510
                                                                  STREET, SUITE 600
MCFARREN GROUP INC             200 N 3RD ST STE 1100                                                                            HARRISBURG          PA 17101‐1587
MCFARREN JERRY (492627)        BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD          OH 44067
                                                                  PROFESSIONAL BLDG
MCFARREN, GORDON E             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MCFARREN, JERRY                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                  NORTHFIELD          OH 44067
                                                                  PROFESSIONAL BLDG
MCFARREN, NEIL S               3651 E MCEWEN DR                                                                                 FRANKLIN            TN   37067‐5796
MCFARTHING, OTAIMOND K         8202 HESSEN CASSEL RD                                                                            FORT WAYNE          IN   46816‐2638
MCFARTHING, PARIS KENZEN       8202 HESSEN CASSEL RD                                                                            FORT WAYNE          IN   46816‐2638
MCFATE, JULAINE L              868 CROSSWINDS BLVD                                                                              CROSSVILLE          TN   38572‐3293
MCFATHER, CLAUDE E.            C/O GORI JULIAN & ASSOCIATES P C   156 N MAIN ST                                                 EDWARDSVILLE        IL   62025
MCFATRICH, BOBBIE D            304 E JEFFERSON ST                                                                               BUCKNER             MO   64016‐9716
MCFATRIDGE, ARTHUR L           731 GLENWAY DR                                                                                   LOGANSPORT          IN   46947‐3814
MCFATRIDGE, BETTY P            2904 S US 35 LOT #54                                                                             LOGANSPORT          IN   46947
MCFATRIDGE, LOWELL I           6050 E GOLF LINKS RD APT 110       APT 138                                                       TUSCON              AZ   85730‐1003
MCFATRIDGE, LOWELL I           6850 E GULF LINKS RD APT 110                                                                     TUCSON              AZ   85730‐1083
MCFATRIDGE, MARK K             3210 STUMPWOOD                                                                                   COMMERCE TOWNSHIP   MI   48382
MCFATRIDGE, ONETA L            731 GLENWAY DR                                                                                   LOGANSPORT          IN   46947‐3814
MCFATRIDGE, PAULINE            1740 S COUNTRY CLUB RD                                                                           TUCSON              AZ   85713‐2236
MCFATRIDGE, RODGER D           8964 STATE RD                                                                                    MILLINGTON          MI   48746‐9034
MCFATRIDGE, RODGER DALE        8964 STATE RD                                                                                    MILLINGTON          MI   48746‐9034
MCFATTER LOUIS B JR (504965)   (NO OPPOSING COUNSEL)
MCFATTER, VIRGINIA A           1903 ADELINE ST                                                                                  HATTIESBURG         MS   39401‐7406
MCFAUL, JANIS L                22210 CHASE DR                                                                                   NOVI                MI   48375‐4782
MCFAUL, JOHN P                 1200 OAKWOOD CT                                                                                  ROCHESTER HLS       MI   48307‐2541
MCFAUL, STELLA V               8012 GRAY HAVEN RD                                                                               BALTIMORE           MD   21222‐3446
MCFEARN, ELVITA E              PO BOX 2723                                                                                      ANDERSON            IN   46018‐2723
MCFEELY, JAMES                 13642 W CALLA RD                                                                                 SALEM               OH   44460‐9635
MCFEETERS, MIKE R              1887 RIVERVIEW DR                                                                                DEFIANCE            OH   43512‐2565
MCFELLIN, NORMA J              628 KIRKWOOD DR                                                                                  VANDALIA            OH   45377‐1314
MCFELLIN, PHILLIP H            1009 N ARIZONA ESTATES LOOP                                                                      TUCSON              AZ   85748‐3568
MCFERRAN NICOLA                12609 MONTEREY                                                                                   BAKERSFIELD         CA   93311
MCFERRAN, JOHN R               9701 N STATE ROAD 37                                                                             ELWOOD              IN   46036‐8823
MCFERRAN, MARY                 11594 N 100 E                                                                                    ALEXANDRIA          IN   46001‐9093
MCFERRAN, MARY                 11594 N 100 EAST                                                                                 ALEXANDRIA          IN   46001‐9093
MCFERREN, D                    2996 E 116TH ST                                                                                  CLEVELAND           OH   44120‐2903
MCFERREN, KEVIN L              PO BOX 281                                                                                       ONTARIO             OH   44862‐0281
MCFERREN, MATTHEW              6575 WERNER RD                                                                                   FREDERICKTOWN       OH   43019‐7005
MCFERREN, RAYMOND L            514 WOODRUFF RD                                                                                  MANSFIELD           OH   44904‐9583
MCFERREN, RICHARD A            6568 WERNER RD                                                                                   FREDERICKTOWN       OH   43019‐9230
MCFERRIN, ALMA R               PO BOX 60773                                                                                     MIDLAND             TX   79711‐0773
MCFERRIN, OSSIE B              4211 E LABADIE AVE                                                                               SAINT LOUIS         MO   63115‐3213
MCFERRON NORMAN (ESTATE OF)    COONEY & CONWAY                    120 NORTH LASALLE STREET , 30TH                               CHICAGO             IL   60602
(667797)                                                          FLOOR
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MCFERRON, NEAL B            2700 COMBES RD                                                                                   QUINCY          IN 47456‐8508
MCFERRON, NORMAN            COONEY & CONWAY                     120 NORTH LASALLE STREET, 30TH                               CHICAGO          IL 60602
                                                                FLOOR
MCFERSON, GLADYS M          6114 FAIRFIELD AVE APT G                                                                         FORT WAYNE     IN   46807‐3662
MCFERSON, LAVELL            4209 STRATHDON DR                                                                                FORT WAYNE     IN   46816‐4146
MCFETRICH, JAMES L          5130 PARKMAN RD NW                                                                               WARREN         OH   44481‐9147
MCFETRICH, JAMES L          5130 PARKMAN N.W.                                                                                WARREN         OH   44481‐9147
MCFETRICH, NANCY D          5130 PARKMAN N.W.                                                                                WARREN         OH   44481‐9147
MCFETRICH, NANCY D          5130 PARKMAN RD NW                                                                               WARREN         OH   44481‐9147
MCFIELD ROBERT L (504966)   (NO OPPOSING COUNSEL)
MCFIELD, BETTY              4256 W CARROLL AVE                                                                               CHICAGO        IL   60624‐1703
MCFIELD, JAMES              GUY WILLIAM S                       PO BOX 509                                                   MCCOMB         MS   39649‐0509
MCFINLEY, NELLIE            1634 NORTHWOOD DR #1                                                                             CINCINNATI     OH   45237‐2720
MCFINLEY, NELLIE            #1                                  1634 NORTHWOOD DRIVE                                         CINCINNATI     OH   45237‐2720
MCFOLLINS, MARTHA T.        2430 WATERFALL LANE                                                                              COLUMBUS       OH   43209
MCFOULON, EVELENE A         11241 LAPORTE LANE                                                                               ST LOUIS       MO   63136‐6123
MCFRAZIER, ELOISE           9201 N. 29TH AVE SUITE 63‐125                                                                    PHOENIX        AZ   85051‐3468
MCFREDERICK, JOSEPH         GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                 SAGINAW        MI   48604‐2602
                                                                260
MCFREDERICK, MELVILLE       GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                 SAGINAW        MI 48604‐2602
                                                                260
MCFREDERICK, NAOMI E        331 CLEVELAND AVE.                                                                               ASHLAND        OH   44805‐2421
MCFRY, G. W                 122 BOYD VALLEY RD SE                                                                            ROME           GA   30161‐8075
MCFRY, HUEY M               543 KANSAS AVE                                                                                   YPSILANTI      MI   48198‐8005
MCGAFFEY, DOUGLAS W         4100 HI HILL DR                                                                                  LAPEER         MI   48446‐2864
MCGAFFEY, ERNEST L          3036 DILLON RD                                                                                   FLUSHING       MI   48433‐9704
MCGAFFEY, MARGO M           4100 HI HILL DR                                                                                  LAPEER         MI   48446‐2864
MCGAFFIC, HELEN             256 N MAIN ST                                                                                    WEST MILTON    OH   45383‐1828
MCGAFFICK, MARY S           816 JORDAN SPRINGS RD                                                                            STEPHENSON     VA   22656‐1912
MCGAFFICK, PATRICIA M       30 LAKEWOOD VLG                                                                                  MEDINA         NY   14103‐1846
MCGAFFICK, RICHARD N        11020 MAPLE RIDGE RD                                                                             MEDINA         NY   14103‐9543
MCGAFFICK, TERRY J          3889 GAINES BASIN RD                                                                             ALBION         NY   14411‐9208
MCGAFFIGAN HILARY           MCGAFFIGAN, HILARY                  30928 FORD RD                                                GARDEN CITY    MI   48135‐1803
MCGAFFIGAN, BERNARD E       798 WEBBER CT                                                                                    LINDEN         MI   48451‐8603
MCGAFFIGAN, MICHAEL D       4326 MAYA LN                                                                                     SWARTZ CREEK   MI   48473‐1593
MCGAFFIGAN, THOMAS H        9240 CHESTERFIELD DR                                                                             SWARTZ CREEK   MI   48473‐1000
MCGAHA JR, WAYNE J          1717 GODWIN DR                                                                                   NEWARK         DE   19702‐2364
MCGAHA, CHARLES A           1530 N 41 1/2 RD                                                                                 MANTON         MI   49663‐9461
MCGAHA, DAVID E             3521 HOMEWOOD AVE                                                                                TOLEDO         OH   43612‐1005
MCGAHA, DAVID EUGENE        3521 HOMEWOOD AVE                                                                                TOLEDO         OH   43612‐1005
MCGAHA, DEBRA C             815 TANNER RD                                                                                    DACULA         GA   30019‐3407
MCGAHA, DOUGLAS D           4065 MUD CREEK RD                                                                                CORNELIA       GA   30531‐5764
MCGAHA, ERICA N             1333 KENNETH ST                                                                                  YOUNGSTOWN     OH   44505‐3825
MCGAHA, HOYLE               7602 RIVERSIDE DR                                                                                SAINT HELEN    MI   48656‐8219
MCGAHA, IDA C               1562 CLAYTON RD                                                                                  WILMINGTON     DE   19805‐4514
MCGAHA, IDA C               1562 CLAYTON ROAD                                                                                WILMINGTON     DE   19805‐4514
MCGAHA, JAMES E             1038 SYCAMORE DR                                                                                 CANTON         GA   30115‐9488
MCGAHA, JANICE M            PO BOX 880612                                                                                    SAN DIEGO      CA   92168‐0612
MCGAHA, JERRY W             1112 SHAWNEE TRL                                                                                 YOUNGSTOWN     OH   44511‐1346
MCGAHA, JIMMY M             PO BOX 2114                                                                                      YOUNGSTOWN     OH   44504‐0114
MCGAHA, JOSEPH A            701 ST MICHAEL PLACE                                                                             LITTLE ROCK    AR   72211
MCGAHA, JOSEPH A            701 SAINT MICHAEL PL                                                                             LITTLE ROCK    AR   72211
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MCGAHA, MARTIN L                       546 HOLLERING HILL RD                                                                     CAMDEN WYO          DE 19934‐3029
MCGAHA, ROBERT C                       19 W OFALLON DR                                                                           O FALLON            MO 63366
MCGAHA, ROBERT E                       498 SANDERSON AVE                                                                         CAMPBELL            OH 44405‐1463
MCGAHA, ROGER A                        1045 ROBERT HARDEMAN ROAD                                                                 WINTERVILLE         GA 30683‐4024
MCGAHA, SARAH
MCGAHA, STAR L                         498 SANDERSON AVE                                                                         CAMPBELL           OH   44405‐1463
MCGAHA, WENDELL B                      381 UNION CHURCH RD                                                                       TOWNSEND           DE   19734‐9116
MCGAHA, WESLEY R                       329 CHESTNUT LN                                                                           TOWNSEND           DE   19734‐9790
MCGAHA, WILLIE F                       837 SCIOTO ST                                                                             YOUNGSTOWN         OH   44505‐3751
MCGAHA‐RYNKIEWIC, MACHELLE L           817 BROADFIELD DR                                                                         NEWARK             DE   19713‐2724
MCGAHA‐RYNKIEWICZ, MACHELLE L          817 BROADFIELD DR                                                                         NEWARK             DE   19713‐2724
MCGAHAN, CRAIG A                       6821 WHITBY ST                                                                            GARDEN CITY        MI   48135‐2056
MCGAHAN, CRAIG ALLEN                   6821 WHITBY ST                                                                            GARDEN CITY        MI   48135‐2056
MCGAHEE HENRY R (ESTATE OF) (457547)   SIMMONS FIRM                     PO BOX 559                                               WOOD RIVER         IL   62095‐0559

MCGAHEE, CHARLES                       3211 CORALENE DR                                                                          FLINT              MI   48504‐1292
MCGAHEE, GLORIA A                      9117 MAPLE CIR                                                                            WINDHAM            OH   44288‐1424
MCGAHEE, HENRY R                       SIMMONS FIRM                     PO BOX 559                                               WOOD RIVER         IL   62095‐0559
MCGAHEE, JASON                         9117 MAPLE CIR                                                                            WINDHAM            OH   44288‐1424
MCGAHEE, JOHN D                        9117 MAPLE CIR                                                                            WINDHAM            OH   44288‐1424
MCGAHEE, JOHN D                        9098 WILVERNE DR                                                                          WINDHAM            OH   44288‐1439
MCGAHEE, LAKEYA L                      9117 MAPLE CIR                                                                            WINDHAM            OH   44288‐1424
MCGAHEE, PATRICIA A                    605 ODETTE ST                                                                             FLINT              MI   48503‐5165
MCGAHEE, PAUL W                        2630 HIGHLAND AVE SE                                                                      SMYRNA             GA   30080‐2145
MCGAHEE, SALADA J                      1325 W MCCLELLAN ST                                                                       FLINT              MI   48504‐2637
MCGAHEE, SALADA JEAN                   1325 W MCCLELLAN ST                                                                       FLINT              MI   48504‐2637
MCGAHEE, TOMMY C                       9025 GREEN VALLEY CT                                                                      DOUGLASVILLE       GA   30134‐1729
MCGAHEY JR, SAM D                      14520 S HARVEY AVE                                                                        OKLAHOMA CITY      OK   73170‐7211
MCGAHEY, KENNY C                       932 W CHURCHILL WAY                                                                       MUSTANG            OK   73064‐2124
MCGAHEY, NORMA J                       932 W CHURCHILL WAY                                                                       MUSTANG            OK   73064‐2124
MCGAHEY, PADDY L                       2006 BATAVIA AVE                                                                          MUNCIE             IN   47302‐2045
MCGAHEY, PADDY L                       2006 S BATAVIA AVE                                                                        MUNCIE             IN   47302‐2045
MCGAHEY, STACY M                       14520 S HARVEY                                                                            OKLAHOMA CITY      OK   73170
MCGAINEY JOHN J JR (468371)            ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                               BALTIMORE          MD   21202
                                                                        CHARLES CENTER 22ND FLOOR
MCGAINEY, JOHN J                       ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                BALTIMORE          MD 21202
                                                                        CHARLES CENTER 22ND FLOOR
MCGAIRK, HAROLD E                      4409 N GLENWOOD AVE                                                                       MUNCIE             IN   47304‐1129
MCGAIRK, HAROLD EDWARD                 4409 N GLENWOOD AVE                                                                       MUNCIE             IN   47304‐1129
MCGALLIARD, RONALD A                   4985 PARDEE RD                                                                            WEBBERVILLE        MI   48892‐9710
MCGANN NANCY                           341 HAWKINS ST                                                                            DULUTH             MN   55811‐2108
MCGANN, BARTLETT & BROWN               111 FOUNDERS PLZ STE 1201                                                                 EAST HARTFORD      CT   06108‐8304
MCGANN, BETTY J                        9116 JACKSON ST                                                                           INDIANAPOLIS       IN   46231
MCGANN, DENEB                          10320 FROG POND DRIVE                                                                     RIVERVIEW          FL   33569‐2711
MCGANN, OLGA A                         83 SUMMER HILL GLN                                                                        MAYNARD            MA   01754‐1557
MCGANN, OLGA A                         83 SUMMERHILL GLENN                                                                       MAYNARD            MA   01754‐1754
MCGANN, PATRICIA S                     1069 HYDE‐OAKFIELD RD.                                                                    N. BLOOMFIELD      OH   44450‐9720
MCGANN, PATRICIA S                     1069 HYDE OAKFIELD RD                                                                     NORTH BLOOMFIELD   OH   44450‐9720
MCGANN, TIMOTHY W                      RM 3‐220 GM BLDG                 (DELPHI SINGAPORE)                                       DETROIT            MI   48202
MCGANNON JOSEPH                        1717 MONTE LARGO DR NE                                                                    ALBUQUERQUE        NM   87112‐4833
MCGARD                                 3875 CALIFORNIA RD               ACCOUNTS RECEIVABLE                                      ORCHARD PARK       NY   14127‐2239
MCGARD INCORPORATED                    CHRIS SMITH X2219                3875 CALIFORNIA ROAD                                     DEARBORN           MI
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MCGARD/ORCHARD PARK      3875 CALIFORNIA RD                                                                          ORCHARD PARK            NY 14127‐2239
MCGAREY, EUGENE A        987 E KALAMO HWY                                                                            CHARLOTTE               MI 48813‐8114
MCGARITY JR, RUEL        1219 LEBANON LOOP                                                                           SARDIS                  TN 38371‐4055
MCGARITY, MARION E       1150 KENNEDY RD                                                                             MORRIS CHAPEL           TN 38361‐4444
MCGARITY, MARSHALL A     1180 CARSLEY RD                                                                             JACKSON                 MS 39209‐9127
MCGARR, JAMES W          3963 MEANDER DR                                                                             MINERAL RIDGE           OH 44440‐9012
MCGARRAH, TED N          5500 MCKINNEY OLACE DR         APT 407                                                      MCKINNEY                TX 75070‐2175
MCGARRAUGH, VERA W       3615 W 30TH ST                                                                              INDIANAPOLIS            IN 46222
MCGARRIGLE, JOYCE A      112 E MAIN ST                                                                               MORENCI                 MI 49256‐1550
MCGARRITY & MOSER        625 W CHESTER PIKE                                                                          HAVERTOWN               PA 19083‐4425
MCGARRITY, ANDRE         20858 REDMOND AVE                                                                           EASTPOINTE              MI 48021‐2978
MCGARRITY, EMMA F        305 JEFFERSON AVENUE                                                                        NEW CASTLE              DE 19720‐2505
MCGARRITY, EMMA F        29 NEWPORT AVE 29                                                                           NEW CASTLE              DE 19720
MCGARRITY, MARGARET      4110 S GRAHAM RD                                                                            SAGINAW                 MI 48609‐9730
MCGARRITY, ROBERT A      2312 CONLEY DR                                                                              SAGINAW                 MI 48603‐3464
MCGARRITY, WALTER T      5829 MARLOW DR                                                                              EAST SYRACUSE           NY 13057‐3021
MCGARRY III, THOMAS A    6435 STRUTHERS RD                                                                           LOWELLVILLE             OH 44436‐9575
MCGARRY PAULA R          11689 MOUNT PLEASANT RD                                                                     ROCKVALE                TN 37153‐4638
MCGARRY RAYMOND G        2932 BIRNAM CT                                                                              OAKLAND TOWNSHIP        MI 48306‐4904
MCGARRY ROBERT T         5513 BROOKVIEW AVENUE                                                                       MINNEAPOLIS             MN 55424‐1637
MCGARRY, ALICE M         7705 W SAINT ANDREWS CIR                                                                    PORTAGE                 MI 49024‐4085
MCGARRY, CHARLES P       7334 JOHN WHITE RD                                                                          HUBBARD                 OH 44425‐9738
MCGARRY, CHARLOTTE ANN   1853 CAMPUS CT                                                                              ROCHESTER HILLS         MI 48309‐2159
MCGARRY, COLLEEN         PO BOX 4512                                                                                 YOUNGSTOWN              OH 44515‐0512
MCGARRY, DANIEL C        1812 JOHN PAUL CT                                                                           OXFORD                  MI 48371‐4407
MCGARRY, DAVID G         823 SAINT CLAIR ST                                                                          LAPEER                  MI 48446‐2064
MCGARRY, DENNIS P        1444 EGGLESTON AVE                                                                          FLINT                   MI 48532‐4132
MCGARRY, DONALD J        462 JULIANA DR                                                      OSHAWA ON CANADA L1G‐
                                                                                             2E8
MCGARRY, KEITH E         3460 DENVER AVE                                                                             YOUNGSTOWN             OH   44505‐1972
MCGARRY, MICHAEL F       5786 REDBIRD CT                                                                             DAYTON                 OH   45431‐2919
MCGARRY, MICHAEL P       1978 BEAVER CREEK DR                                                                        ROCHESTER              MI   48307‐6020
MCGARRY, MICHAEL R       522 MISTY MORNING DR                                                                        FLUSHING               MI   48433‐2192
MCGARRY, NORMAN D        1506 CALLENDER RD                                                                           SPRING HILL            TN   37174‐6134
MCGARRY, PAULA R         11689 MOUNT PLEASANT RD                                                                     ROCKVALE               TN   37153‐4638
MCGARRY, RONALD E        15692 W AKRON CANFIELD RD                                                                   BERLIN CENTER          OH   44401‐8719
MCGARRY, TIM P           29557 DEERFIELD LN                                                                          WARRENTON              MO   63383‐4299
MCGARRY,DANIEL C         1812 JOHN PAUL CT                                                                           OXFORD                 MI   48371‐4407
MCGARTLAND, ROBERT P     6465 WALDON RD                                                                              CLARKSTON              MI   48346‐2468
MCGARVEY, CAROL A        9056 PINE SPRINGS DR                                                                        BOCA RATON             FL   33428‐1455
MCGARVEY, CHARLES        5607 S PRICETOWN RD                                                                         BERLIN CENTER          OH   44401‐9717
MCGARVEY, DAVID P        PO BOX 432                                                                                  GARRETTSVILLE          OH   44231‐0432
MCGARVEY, EILEEN M.      150 CHRIS DR APT 206                                                                        ENGLEWOOD              OH   45322‐1118
MCGARVEY, JEROME T       6200 SHILOH SPRINGS RD                                                                      DAYTON                 OH   45426‐3926
MCGARVEY, JUANITA        213 OAKDALE STREET                                                                          SOUTH AMHERST          OH   44001‐2845
MCGARVEY, JUANITA        213 OAKDALE DR                                                                              SOUTH AMHERST          OH   44001‐2845
MCGARVEY, LESLIE         401 MONTGOMERY AVE                                                                          ANN ARBOR              MI   48103‐4116
MCGARVEY, LESLIE M       401 MONTGOMERY AVE                                                                          ANN ARBOR              MI   48103‐4116
MCGARVEY, NINA L         17 N EASTVIEW AVE                                                                           FEASTERVILLE TREVOSE   PA   19053‐4133
MCGARVEY, RICHARD C      569 LANDOVER PL                                                                             GAHANNA                OH   43230‐4376
MCGARVEY, RICHARD R      17 N EASTVIEW AVE                                                                           FSTRVL TRVOSE          PA   19053‐4133
MCGARVEY, SUSAN D        821 WITTELSBACH DR APT B                                                                    KETTERING              OH   45429‐6259
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Name                             Address1                            Address2                         Address3                     Address4         City            State Zip
MCGARVEY, SUSAN L                7956 STATE ST                                                                                                      GARRETTSVILLE    OH 44231‐1021
MCGARVEY, THOMAS J               4435 HARBISON ST.                                                                                                  DAYTON           OH 45439‐5439
MCGARVIE, DONALD F               1710 N CLAREMONT DR                                                                                                JANESVILLE       WI 53545‐0968
MCGARVIE, DOUGLAS A              1403 JOSEPHINE ST                                                                                                  JANESVILLE       WI 53545‐4240
MCGARVIE, MICHELE J              1403 JOSEPHINE ST                                                                                                  JANESVILLE       WI 53545‐4240
MCGARY, MARY E                   223 N 8TH ST APT A                                                                                                 MAYFIELD         KY 42066‐1858
MCGARY, MARY E                   223 N. 8TH ST APT A                                                                                                MAYFIELD         KY 42066‐1858
MCGARY, NELSON                   4301 ST CHARLES ROAD                                                                                               COLUMBIA         MO 65201‐6744
MCGARY, RAYMOND L                320 S BOEHNING ST                                                                                                  INDIANAPOLIS     IN 46219‐7910
MCGARY, ROSEMARY                 4301 E SAINT CHARLES RD                                                                                            COLUMBIA         MO 65201‐6744
MCGARY, WILLIAM D                609 SUTHERLAND AVE                                                                                                 JANESVILLE       WI 53545‐2449
MCGARY, YVONNE M                 2936 KENWICK CIR APT 10                                                                                            LANSING          MI 48912‐4915
MCGATHA, LORETTA M               139 CAMBRIA DR                                                                                                     DAYTON           OH 45440‐3540
MCGATHA, LORETTA M               2569 ROLLING MDWS                                                                                                  XENIA            OH 45385‐8501
MCGATHEY SR, ROBERT E            1080 FIR DR                                                                                                        MANSFIELD        OH 44906‐1504
MCGATHEY, DOROTHY J              835 S. LACLEDE STREET                                                                                              INDIANAPOLIS     IN 46241‐2309
MCGATHEY, DOROTHY J              835 LACLEDE ST                                                                                                     INDIANAPOLIS     IN 46241‐2309
MCGATHY, CHARLES W               1909 STROLL CIR                                                                                                    FUQUAY VARINA    NC 27526‐7798
MCGATHY, JOYCE L                 9879 MAIN ST                                                                                                       BAY PORT         MI 48720‐9782
MCGATHY, KATHLEEN A              664 GINGER RD                                                                                                      IMLAY CITY       MI 48444‐8906
MCGATHY, R D                     151 S UNIONVILLE RD                                                                                                BAY PORT         MI 48720‐9796
MCGAUGH, EDITH                   RR 2 BOX 267                                                                                                       RICHMOND         MO 64085
MCGAUGHEY EARL EDWARD (404855)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                    NORFOLK          VA 23510
                                                                     STREET, SUITE 600
MCGAUGHEY MICHAEL JR             PO BOX 2438                                                                                                        RICHMOND HILL   GA 31324
MCGAUGHEY, DONALD R              133 W. RD. 840 N.                                                                                                  BAINBRIDGE      IN 46105
MCGAUGHEY, EARL EDWARD           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                    NORFOLK         VA 23510
                                                                     STREET, SUITE 600
MCGAUGHEY, MELVIN J              1338 BROOK VALLEY LN                                                                                               DALLAS          TX    75232‐1513
MCGAUGHEY, MICHAEL R             11 ASHFORD PLACE CT                                                                                                O FALLON        MO    63366‐1294
MCGAUGHEY, RAYMOND L             2165 ROSSER TER RT 2                                                                                               TUCKER          GA    30084
MCGAUGHEY, VALERIE R             11 ASHFORD PLACE CT                                                                                                O FALLON        MO    63366‐1294
MCGAUGHY AYANDA                  MCGAUGHY, AYANDA                    120 WEST MADISON STREET , 10TH                                                 CHICAGO         IL    60602
                                                                     FLOOR
MCGAUGHY BILLY D (508496)        LEBLANC & WADDELL                   5353 ESSEN LN STE 420                                                          BATON ROUGE     LA 70809‐0500
MCGAUGHY JR, ELBERT L            4346 APACHE DR                                                                                                     BURTON          MI 48509‐1414
MCGAUGHY, AYANDA                 KROHN & MOSS ‐ IL                   120 WEST MADISON STREET, 10TH                                                  CHICAGO         IL 60602
                                                                     FLOOR
MCGAUGHY, BILLY D                LEBLANC & WADDELL                   5353 ESSEN LN STE 420                                                          BATON ROUGE     LA    70809‐0500
MCGAUGHY, DENISE M               209 E GENESEE ST                                                                                                   FLINT           MI    48505‐4260
MCGAUGHY, ILOVIE                 738 TILDEN ST                                                                                                      FLINT           MI    48505‐3953
MCGAUGHY, NATHANIA               4346 APACHE DR                                                                                                     BURTON          MI    48509‐1414
MCGAUGHY, THOMAS                 12607 ROSEMARY ST                                                                                                  DETROIT         MI    48213‐1479
MCGAUHEY, JAMES B                1425 FARMING CREEK RD                                                                                              IRMO            SC    29063
MCGAULEY JAMES                   MCGAULEY, JAMES                     AMERICAN FAMILY INSURANCE        PO BOX 28408                                  ST LOUIS        MO    64146‐0908
                                                                     GROUP
MCGAULEY, JAMES                  AMERICAN FAMILY INSURANCE GROUP     PO BOX 28408                                                                   SAINT LOUIS     MO    63146‐0908
MCGAULEY, JOHN W                 105 BYRAM BLVD                                                                                                     MARTINSVILLE    IN    46151‐1318
MCGAVOCK, WILLIAM C              3905 GWYNN OAK AVE                                                                                                 BALTIMORE       MD    21207‐7628
MCGAW & POLING P.C.              ATTY FOR DEMARIA BUILDING COMPANY   ATTN: D. DOUGLAS MCGAW &         5455 CORPORATE DRIVE SUITE                    TROY            MI    48098
                                                                     KATHRYN E. DRISCOLL              104
MCGAW BROS. AUTOMOTIVE           2113 ROOSEVELT DR                                                                                                  PANTEGO          TX   76013‐5920
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Name                        Address1                         Address2                      Address3   Address4         City                State Zip
MCGAW, FRANKLIN             8683 S COUNTY ROAD 350 W                                                                   STILESVILLE          IN 46180‐9711
MCGAW, GERALDINE E          124 N GRANGER ST                                                                           SAGINAW              MI 48602‐4255
MCGAW, JOSEPH L             12653 BEARSDALE DR                                                                         INDIANAPOLIS         IN 46235‐6071
MCGAW, KING S               5841 CHENSFORD DR APT 1B                                                                   INDIANAPOLIS         IN 46226‐1271
MCGAW, LINDA A              2256 BERBEROVICH DR                                                                        SAGINAW              MI 48603
MCGAW, MARK J               10305 S RAUCHOLZ RD                                                                        SAINT CHARLES        MI 48655‐9522
MCGAW, RONNIE C             12515 GRATIOT RD                                                                           SAGINAW              MI 48609‐9655
MCGAW, TERRY MARCELL        6779 AZALEA DRIVE                                                                          INDIANAPOLIS         IN 46214‐1925
MCGAW, THOMAS J             4290 W TARAL TERRACE DR                                                                    AU GRES              MI 48703‐9519
MCGEACHIE, GEORGE D         12155 DANFORTH DR                                                                          STERLING HTS         MI 48312‐2134
MCGEACHY, DANIEL L          108 BROWN PELICAN DR                                                                       SAVANNAH             GA 31419‐2978
MCGEACHY, DUANE A           3220 JENNELLA DR                                                                           COMMERCE TOWNSHIP    MI 48390‐1617
MCGEACHY, DULCE             2793 S MICHAEL #103                                                                        TRAVERSE CITY        MI 49686‐4920
MCGEACHY, GRANT H           2440 FRUIT ST                                                                              CLAY                 MI 48001‐4609
MCGEACHY, LARRY A           PO BOX 336                                                                                 BUFFALO              OK 73834‐0336
MCGEACHY, RANDY G           168 APOLLO CIR                                                                             FLUSHING             MI 48433‐9321
MCGEACHY, RANDY GENE        168 APOLLO CIR                                                                             FLUSHING             MI 48433‐9321
MCGEARY BONNY               1250 GILLILAND RD                                                                          SPRINGTOWN           TX 76082
MCGEATHY, BRADLEY L         14230 N CLIO RD                                                                            CLIO                 MI 48420‐8868
MCGEATHY, CAROLYN S         13425 NORTH LOUIS ROAD                                                                     CLIO                 MI 48420
MCGEATHY, CLARA J           14230 N CLIO RD                                                                            CLIO                 MI 48420‐8868
MCGEATHY, KEN L             3550 N RAUCHOLZ RD                                                                         HEMLOCK              MI 48626‐8606
MCGEATHY, THOMAS L          13425 N LEWIS RD                                                                           CLIO                 MI 48420‐9172
MCGEATHY, TINY S            216 CEDAR ST                                                                               HEMLOCK              MI 48626‐9352
MCGEE CHEVROLET, INC.       161 S MAIN ST                                                                              MIDDLEBORO           MA 02346‐1821
MCGEE CHEVROLET, INC.       ROBERT MCGEE JR.                 161 S MAIN ST                                             MIDDLEBORO           MA 02346‐1821
MCGEE DANNY                 MCGEE, DANNY                     3636 MAPLE AVE                                            DALLAS               TX 75219‐3908
MCGEE DANNY                 REPUBLIC FIRE AND CASUALTY       3636 MAPLE AVE                                            DALLAS               TX 75219‐3908
MCGEE DEREK                 2717 HOLLYDALE DR                                                                          HOMEWOOD              IL 60430‐1126
MCGEE DONNA                 NEED BETTER ADDRESS 10/26/06CP   111 WEST 1ST                                              WILBURTON            OK 74578
MCGEE GARRY                 171 EDELWEISS WAY                                                                          GALT                 CA 95632‐2066
MCGEE HUGH                  5457 HOLLY SPRINGS DR                                                                      HOUSTON              TX 77056‐2021
MCGEE INDUSTRIES INC        9 CROZERVILLE RD                                                                           ASTON                PA 19014‐1431
MCGEE JAMES (507564)        COON BRENT W                     PO BOX 4905                                               BEAUMONT             TX 77704‐4905
MCGEE JR, CHEVIS T          13065 WHITE OAKS                                                                           GAINES               MI 48436‐9650
MCGEE JR, GEORGE            269 DELLWOOD AVE                                                                           PONTIAC              MI 48341‐2738
MCGEE JR, GEORGE W          701 BEDFORD CT W                                                                           HURST                TX 76053‐4321
MCGEE JR, NORRIS            4838 DAYTON LIBERTY RD                                                                     DAYTON               OH 45418‐1968
MCGEE JR, NORRIS            4838 DAYTON‐LIBERTY RD                                                                     DAYTON               OH 45418‐1968
MCGEE JR, POMPEY            12156 DANDRIDGE DR                                                                         DALLAS               TX 75243‐3602
MCGEE JR, WILLIE J          2358 MATTIE LU DR                                                                          AUBURN HILLS         MI 48326‐2429
MCGEE JR., ARTHUR H         3374 RIDGECLIFFE DR                                                                        FLINT                MI 48532‐3737
MCGEE JR., ARTHUR HERBERT   3374 RIDGECLIFFE DR                                                                        FLINT                MI 48532‐3737
MCGEE LANELL                BANKS, SHARELL                   PO BOX 105                                                CANTON               MS 39046‐0105
MCGEE LANELL                MCGEE, LANELL                    PO BOX 105                                                CANTON               MS 39046‐0105
MCGEE LANELL                MCGEE, LANELL                    PO BOX 65                                                 JACKSON              MS 39205‐0065
MCGEE LANELL                YOUNG, ROBERT                    PO BOX 65                                                 JACKSON              MS 39205‐0065
MCGEE LANELL                YOUNG, TABITHA                   PO BOX 105                                                CANTON               MS 39046‐0105
MCGEE LLOYD E (429422)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                             STREET, SUITE 600
MCGEE MARIANNE K            55 MAURA DR                                                                                BRIDGEWATER         MA 02324‐3500
MCGEE MELISSA               1430 W MARSHALL AVE                                                                        LONGVIEW            TX 75604‐5113
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MCGEE PERCY                1553 LIMEWOOD PL                                                                               PITTSBURG       CA 94565‐5642
MCGEE POMPEY               12156 DANDRIDGE DR                                                                             DALLAS          TX 75243‐3602
MCGEE RICHARD H (659084)   ANGELOS PETER G LAW OFFICES         60 WEST BROAD ST                                           BETHLEHEM       PA 18018
MCGEE SHAWN                MCGEE, SHAWN                        30928 FORD RD                                              GARDEN CITY     MI 48135‐1803
MCGEE TOMMY (459200)       GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510
                                                               STREET, SUITE 600
MCGEE TONI                 N882 COUNTY ROAD DAM                                                                           RIO            WI   53960‐9528
MCGEE WILLIAM R            LAW OFFICES OF WILLIAM R MCGEE      16855 W BERNARDO DR STE 380                                SAN DIEGO      CA   92127‐1626
MCGEE WILLIAM R &          KATHLEEN BLANTON                    16855 W BERNARDO DR STE 380                                SAN DIEGO      CA   92127‐1626
MCGEE, ALBERTA B           16103 W 80TH PL                                                                                LENOX          KS   66219
MCGEE, ALFRED              4229 TRUMBULL AVE                                                                              FLINT          MI   48504‐2167
MCGEE, AMELIA              3902 COLLEGE                                                                                   KANSAS CITY    MO   64130‐1436
MCGEE, AMIE D              PO BOX 224                                                                                     WARREN         OH   44482‐0224
MCGEE, AMIE D              P.O. BOX 224                                                                                   WARREN         OH   44482‐0224
MCGEE, ANDERSON J          303 MORSE AVE                                                                                  NILES          OH   44446‐2513
MCGEE, ANDRE'              21280 LAHSER RD APT 204                                                                        SOUTHFIELD     MI   48033‐4428
MCGEE, ARTHUR H            3036 W CASS AVE                                                                                FLINT          MI   48504‐1206
MCGEE, ARTHUR L            APT 77                              2500 REDSTONE ROAD SOUTHWEST                               HUNTSVILLE     AL   35803‐2178

MCGEE, AUDREY              120 VALLEY CIR NE                                                                              WARREN         OH   44484‐1083
MCGEE, AUDREY L            1449 PEABODY COURT                                                                             SAINT LOUIS    MO   63104‐3033
MCGEE, AVIS E              207 N EAST ST                                                                                  PENDLETON      IN   46064‐1005
MCGEE, BERNETTA            2600 EARDMAN CT                                                                                WESTLAND       MI   48186‐9360
MCGEE, BETTYE J.           1016 MESQUITE HOLLOW PL                                                                        ROUND ROCK     TX   78665‐1201
MCGEE, BEVERLY             1916 W 18TH ST                                                                                 ANDERSON       IN   46016‐3701
MCGEE, BOBBY D             214 BEARD RD                                                                                   LONOKE         AR   72086‐7621
MCGEE, BRANDON B           17125 LENNANE                                                                                  REDFORD        MI   48240‐2131
MCGEE, BRENDA JEAN         10300 DARTMOUTH STREET                                                                         OAK PARK       MI   48237‐1706
MCGEE, CAROL L             62 BEACHWOOD TER                                                                               WELLS          ME   04090‐4003
MCGEE, CAROL R             2834 CRESTWOOD DR NW                                                                           WARREN         OH   44485‐1229
MCGEE, CECIL B             3767 HOLY CROSS WAY                                                                            DECATUR        GA   30034‐5610
MCGEE, CECIL B.            3767 HOLY CROSS WAY                                                                            DECATUR        GA   30034‐5610
MCGEE, CHARLES E           2169 LITTLE ROCK RD NE                                                                         WESSON         MS   39191‐9401
MCGEE, CHARLES W           5408 SPRINGHILL LOOP RD.                                                                       MERIDIAN       MS   39301
MCGEE, CHARLES W           624 S RANGELINE RD                                                                             ANDERSON       IN   46012‐3808
MCGEE, CHERYL E            3314 SHERWOOD DR                                                                               FLINT          MI   48503‐2359
MCGEE, CONNIE M            1106 GARLAND ST                                                                                FLINT          MI   48503
MCGEE, COOLETA             2314 E 59TH ST                                                                                 KANSAS CITY    MO   64130‐3531
MCGEE, COUSTEAU J          706 GEORGETOWN PKWY                                                                            FENTON         MI   48430‐3622
MCGEE, COUSTEAU J F        706 GEORGETOWN PKWY                                                                            FENTON         MI   48430‐3622
MCGEE, CYSROE              85 JACKSON WOOD CT 42                                                                          HATTIESBURG    MS   39401
MCGEE, DAISY L             14104 BLACKBERRY CREEK DRIVE                                                                   BURTON         MI   48519
MCGEE, DANIEL              4996 AIRHART RD                                                                                LAKE CHARLES   LA   70605‐0343
MCGEE, DANIEL JOSEPH       10015 TIFFANY DR                                                                               FORT WAYNE     IN   46804‐3957
MCGEE, DANNY               ASHMORE JAMES E JR LAW OFFICES OF   3636 MAPLE AVE                                             DALLAS         TX   75219‐3908
MCGEE, DAVID A             2918 NW 51ST DR                                                                                GAINESVILLE    FL   32606‐6099
MCGEE, DAVID MICHAEL       10015 TIFFANY DR                                                                               FORT WAYNE     IN   46804‐3957
MCGEE, DEBORAH L           627 N STUART STREET                                                                            BALTIMORE      MD   21221‐4832
MCGEE, DENNIS A            4571 E LINDA DR                                                                                PORT CLINTON   OH   43452‐9133
MCGEE, DENNIS J            6433 MARSHALL RD                                                                               CENTERVILLE    OH   45459‐2238
MCGEE, DENNIS L            435 HANCOCK SCHOOL RD                                                                          SPENCER        IN   47460‐6258
MCGEE, DIANNE I            4916 LISBON CIR                                                                                SANDUSKY       OH   44870‐5872
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Name                 Address1                       Address2            Address3         Address4         City               State Zip
MCGEE, DORALEE       134 E CHURCH AVE                                                                     REED CITY           MI 49677‐1310
MCGEE, DORALEE       134 E CHURCH ST                                                                      REED CITY           MI 49677
MCGEE, DOROTHY J     17173 POND DR                                                                        CLINTON TOWNSHIP    MI 48038‐4862
MCGEE, EARNEST L     2048 PIPELINE LN                                                                     SONTAG              MS 39665‐7038
MCGEE, EARNESTINE    203 E DAYTON ST                                                                      FLINT               MI 48505
MCGEE, EDWARD E      905 GRAND AVE                                                                        YAZOO CITY          MS 39194‐3235
MCGEE, EDWARD L      192 CARTER RD                                                                        AUBURN              GA 30011‐3084
MCGEE, ELEANOR R     PO BOX 1447                                                                          TUCKERTON           NJ 08087
MCGEE, ELIJAH        1137 HALL ST SE                                                                      GRAND RAPIDS        MI 49507‐1974
MCGEE, ELIZABETH R   381 SPRINGBROOKE DR NE                                                               WARREN              OH 44484‐4484
MCGEE, ELOISE        18098 MAINE ST                                                                       DETROIT             MI 48234‐1417
MCGEE, ELVERNER      3211 S ARVIN DR                                                                      SAGINAW             MI 48601‐4503
MCGEE, ESCELLA D     1022 S WASHINGTON ST NE                                                              BROOKHAVEN          MS 39601‐4310
MCGEE, ESTELLE J     28477 MARQUETTE ST                                                                   GARDEN CITY         MI 48135‐2712
MCGEE, EVERETT E     1401 S SAINT CLAIR RD                                                                SAINT JOHNS         MI 48879‐8023
MCGEE, FRANCES S     4799 CEMETERY RD                                                                     ACWORTH             GA 30101‐4808
MCGEE, FRANCIS       126 MAIN AVE                                                                         CHERRYHILL          NJ 08002
MCGEE, FRANCIS       126 MAINE AVE                                                                        CHERRY HILL         NJ 08002‐3011
MCGEE, FRANCIS E     408 MARTIN DR                                                                        RICHMOND            KY 40475‐3506
MCGEE, FRANK         10242 65TH AVE S                                                                     SEATTLE             WA 98178‐2503
MCGEE, FRANK W       2703 OLYMIPIA DR                                                                     GRAND PRAIRIE       TX 75052‐8003
MCGEE, FRANK W       1818 SPIKES ST                                                                       GRAND PRAIRIE       TX 75051‐1305
MCGEE, GARY          16309 E PACIFIC AVE                                                                  INDEPENDENCE        MO 64050‐4843
MCGEE, GARY E        5971 DELANO RD                                                                       OXFORD              MI 48371‐1229
MCGEE, GARY E        8108 HERON HILLS DR                                                                  WOLVERINE LAKE      MI 48390‐1419
MCGEE, GENEVIEVE I   8389 FLEETWAY AVE.                                                                   BROOKSVILLE         FL 34613
MCGEE, GLEN A        60 VILLAGE CIR APT 9                                                                 ROCHESTER HILLS     MI 48307‐3983
MCGEE, HARVEY        13160 PENSACOLA PL                                                                   DENVER              CO 80239
MCGEE, HEATHER L     127 HEARTHWOOD CIR                                                                   IRMO                SC 29063‐8576
MCGEE, HELEN M       8807 MADISON AVE.              APT 102D                                              INDIANAPOLIS        IN 46227
MCGEE, HELEN M       124 ROLLING GREEN CIR                                                                GREENVILLE          SC 29615‐4132
MCGEE, HELEN M       8807 MADISON AVE APT 102D                                                            INDIANAPOLIS        IN 46227‐6454
MCGEE, HENRIETTA L   4445 N 21ST ST                                                                       MILWAUKEE           WI 53209‐6304
MCGEE, HILDA E       1001 DURRELL ST                                                                      AUSTELL             GA 30106‐1406
MCGEE, HILLMAN F     4286 HOLCOMB ST                                                                      DETROIT             MI 48214‐1391
MCGEE, HORACE L      3227 SKANDER DR                                                                      FLINT               MI 48504‐1231
MCGEE, HOWARD D      103 W BARFOOT ST                                                                     UNION               MS 39365‐2314
MCGEE, HOWARD L      203 E DAYTON ST                                                                      FLINT               MI 48505‐4974
MCGEE, INEZ          550 WEST MARENGO AVENUE                                                              FLINT               MI 48505‐3263
MCGEE, IRMA E        38 OLD CHESTNUT ROAD                                                                 ELKTON              MD 21921
MCGEE, JAMES         COON BRENT W                   PO BOX 4905                                           BEAUMONT            TX 77704‐4905
MCGEE, JAMES         DURST LAW FIRM PC              319 BROADWAY                                          NEW YORK            NY 10007
MCGEE, JAMES         16714 MURRAY HILL ST                                                                 DETROIT             MI 48235‐3638
MCGEE, JAMES B       200 BURNSIDE RD                                                                      NORTH BRANCH        MI 48461‐9774
MCGEE, JAMES E       516 S GRANGER ST                                                                     SAGINAW             MI 48602‐2101
MCGEE, JAMES H       PO BOX 9165                                                                          JACKSON             MS 39286‐9165
MCGEE, JAMES J       PO BOX 1447                                                                          TUCKERTON           NJ 08087‐5447
MCGEE, JAMES M       3365 FOREST HILL RD.                                                                 JACKSON             MS 39212‐9212
MCGEE, JAMES T       609 GREENWICH LN                                                                     GRAND BLANC         MI 48439‐1078
MCGEE, JANET C       4168 MCCANDLISH RD                                                                   GRAND BLANC         MI 48439‐1802
MCGEE, JANET L       1847 STANLEY CREEK RD                                                                ONEIDA              TN 37841‐7443
MCGEE, JEFFREY M     5644 YARMOUTH AVE                                                                    TOLEDO              OH 43623‐1643
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Name                    Address1                        Address2                      Address3   Address4         City            State Zip
MCGEE, JEFFREY MARK     5644 YARMOUTH AVE                                                                         TOLEDO           OH 43623‐1643
MCGEE, JENNIFER G       13065 WHITE OAKS                                                                          GAINES           MI 48436‐9650
MCGEE, JERALD W         1612 GLENVIEW AVE                                                                         DANVILLE          IL 61832‐2018
MCGEE, JEROME C         756 EAST MAIN STREET                                                                      ROCHESTER        NY 14605
MCGEE, JESSIE           3278 CYNTHIA ROAD                                                                         JACKSON          MS 39209‐2583
MCGEE, JESSIE           3278 CYNTHIA RD                                                                           JACKSON          MS 39209‐2583
MCGEE, JIMMIE F         1408 W PASADENA AVE                                                                       FLINT            MI 48504‐2526
MCGEE, JIMMIE L         3937 THREE MILE DR                                                                        DETROIT          MI 48224‐3605
MCGEE, JIMMIE L         3937 3 MILE ROAD                                                                          DETROIT          MI 48224‐3605
MCGEE, JOHN             PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON          MS 39206‐5621
MCGEE, JOHN             5619 BAYSHORE RD LOT 242                                                                  PALMETTO         FL 34221‐1206
MCGEE, JOHN             PO BOX 7312                                                                               FLINT            MI 48507‐0312
MCGEE, JOHN J           1612 W 13TH ST                                                                            ANDERSON         IN 46016‐3200
MCGEE, JOHN R           234 BALDOCK RD                                                                            BOWLING GREEN    KY 42104‐7829
MCGEE, JOHN T           5360 TAMARACK DR                                                                          SHARPSVILLE      PA 16150‐9444
MCGEE, JOHNNIE          3717 EDMONDSON AVE                                                                        BALTIMORE        MD 21229‐2940
MCGEE, JONATHAN         3767 HOLY CROSS WAY                                                                       DECATUR          GA 30034‐5610
MCGEE, JOSEPH A         8491 BLACK OAK DR NE                                                                      WARREN           OH 44484‐1616
MCGEE, JOSEPH R         1716 PEDENVILLE RD                                                                        CONCORD          GA 30206‐2501
MCGEE, JOSIE T          1001 S MEADOWS PKWY APT 1237                                                              RENO             NV 89521‐3997
MCGEE, JOSIE THOMAS     1001 S MEADOWS PKWY APT 1237                                                              RENO             NV 89521‐3997
MCGEE, KAYE             4472 PARKWICK DR                                                                          COLUMBUS         OH 43228‐6527
MCGEE, KENNETH R        G3363 MALLERY ST                                                                          FLINT            MI 48504‐2402
MCGEE, KENNETH R        3356 JACQUE ST                                                                            FLINT            MI 48532‐3763
MCGEE, KENNETH RAY      3356 JACQUE ST                                                                            FLINT            MI 48532‐3763
MCGEE, KENYAL           6533 E JEFFERSON AVE APT 211W                                                             DETROIT          MI 48207‐3792
MCGEE, KEVIN LEE        6707 PAWSON RD                                                                            ONSTED           MI 49265‐9819
MCGEE, KIM A            17 VENTURE LN                                                                             LEVITTOWN        PA 19054‐1007
MCGEE, KIMBERLY A       721 ORION RD                                                                              LAKE ORION       MI 48362‐3513
MCGEE, LADY C           3032 GLENDALE ST                                                                          DETROIT          MI 48238‐3348
MCGEE, LANELL           3960 OAKLAWN DR                                                                           JACKSON          MS 39206‐4748
MCGEE, LANELL           BLACKMON & BLACKMON             PO BOX 105                                                CANTON           MS 39046‐0105
MCGEE, LANELL           EDWARD BLACKMON, JR             PO BOX 65                                                 JACKSON          MS 39205‐0065
MCGEE, LANELL III
MCGEE, LAVELL
MCGEE, LLOYD E          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                        STREET, SUITE 600
MCGEE, LOIS M           1581 GALEN RD                                                                             LAFAYETTE       TN   37083‐5073
MCGEE, LOIS V           200 NORTH WILLOW BEND                                                                     MONROE          LA   71203‐9631
MCGEE, LOUIS E          2214 LINCOLN AVE                                                                          SAGINAW         MI   48601‐3340
MCGEE, LUCY L           13307 MARK TWAIN                                                                          DETROIT         MI   48227‐2809
MCGEE, M & E KOLBASUK   C\O M N KAY ESQ                 666 OLD COUNTRY RD                                        GARDEN CITY     NY   11530
MCGEE, MARGARET H       115 E. SUFFOLK CT.                                                                        FLINT           MI   48507‐4253
MCGEE, MARGARET H       115 E SUFFOLK CT                                                                          FLINT           MI   48507‐4253
MCGEE, MARIAN R         5717 HIGHLAND AVE                                                                         KANSAS CITY     MO   64110‐2915
MCGEE, MARY             12010 MOENART                                                                             DETROIT         MI   48212‐2868
MCGEE, MARY A           7263 107TH STREET                                                                         FLUSHING        MI   48433‐8732
MCGEE, MARY A           3302 COMANCHE AVE                                                                         FLINT           MI   48507‐1859
MCGEE, MARY ANN         3302 COMANCHE AVE                                                                         FLINT           MI   48507‐1859
MCGEE, MARY B           3970 S FORDHAM PL                                                                         TAFT            OH   45213‐2329
MCGEE, MARY C           8233 S 85TH CT                                                                            JUSTICE         IL   60458‐1726
MCGEE, MICHAEL          6726 LINMORE AVE                                                                          PHILADELPHIA    PA   19142‐1807
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Name                      Address1                        Address2                    Address3   Address4         City                 State Zip
MCGEE, MICHAEL B          3920 SAWBRIDGE DR APT 5                                                                 RICHFIELD             OH 44286
MCGEE, MICHAEL D          1124 E WAID AVE                                                                         MUNCIE                IN 47303
MCGEE, MICHAEL J          1521 MCGUFFEY RD                                                                        YOUNGSTOWN            OH 44505‐3312
MCGEE, MICHAEL S          749 BAY CROSSING DR                                                                     WATERFORD             MI 48327‐4603
MCGEE, MICHELLE T         1296 NW PHELPS DR                                                                       GRAIN VALLEY          MO 64029‐8621
MCGEE, MICHELLE TELETTE   5307 PERSIMMON TRL APT 10                                                               KANSAS CITY           MO 64129‐2916
MCGEE, MILTON R           235 W NEWALL ST                                                                         FLINT                 MI 48505‐4154
MCGEE, MONWELL S          3827 HILLBORN LN                                                                        LANSING               MI 48911‐2148
MCGEE, MYRTLE V           842 W WILLOW ST                                                                         LANSING               MI 48906‐4748
MCGEE, NADINE             302 E VAN WAGONER AVE                                                                   FLINT                 MI 48505‐3768
MCGEE, NANCY J            45700 VILLAGE BLVD              C/O FULLER & STUBBS, PLLC                               SHELBY TOWNSHIP       MI 48315‐6093
MCGEE, NATHANIEL          550 WEST MARENGO AVENUE                                                                 FLINT                 MI 48505‐3263
MCGEE, NATHANIEL K        PO BOX 80273                                                                            LANSING               MI 48908‐0273
MCGEE, OLEORA             5917 BELLE OAKS PL                                                                      ANTIOCH               TN 37013‐4956
MCGEE, OLLIE L            354 LINDA BLVD                                                                          YAZOO CITY            MS 39194‐5142
MCGEE, ORPHA G            2009 5TH ST                                                                             SANDUSKY              OH 44870‐3940
MCGEE, OUIDA F            3686 DIAMONDALE DR W                                                                    SAGINAW               MI 48601‐5807
MCGEE, PATRICIA           925 FREDERICK ST                                                                        YPSILANTI             MI 48197‐5290
MCGEE, PATRICIA           925 FREDERICK                                                                           YPSILANTI             MI 48197‐5290
MCGEE, PATRICIA A         4180 N 210 E                                                                            MARION                IN 46952‐6633
MCGEE, PATRICK O          4524 ELMHURST AVE                                                                       ROYAL OAK             MI 48073‐1778
MCGEE, PHYLLIS            DURST LAW FIRM PC               319 BROADWAY                                            NEW YORK              NY 10007
MCGEE, RAMON G            3561 RIDGECLIFFE DR                                                                     FLINT                 MI 48532‐3740
MCGEE, REBECCA A          10109 WEST FULLERTON AVENUE                                                             MELROSE PARK           IL 60164‐1932
MCGEE, REGINALD L         216 DEER MEADOW AVE                                                                     BOWLING GREEN         KY 42103‐7038
MCGEE, RENA J             PO BOX 13106                                                                            FLINT                 MI 48501‐3106
MCGEE, RICHARD H          ANGELOS PETER G LAW OFFICES     60 WEST BROAD ST                                        BETHLEHEM             PA 18018‐5737
MCGEE, ROBERT A           PO BOX 182                                                                              PHOENIX               NY 13135‐0182
MCGEE, ROBERT G           2410 OAKRIDGE DR                                                                        FLINT                 MI 48507‐6211
MCGEE, ROBERT GLENN       2410 OAKRIDGE DR                                                                        FLINT                 MI 48507‐6211
MCGEE, ROBERT Q           PO BOX 80273                                                                            LANSING               MI 48908‐0273
MCGEE, ROBERT QUINCY      PO BOX 80273                                                                            LANSING               MI 48908‐0273
MCGEE, ROBERT W           6990 JOAL ST                                                                            ALLENDALE             MI 49401‐9737
MCGEE, ROBERTA A          303 MORSE AVE                                                                           NILES                 OH 44446‐2513
MCGEE, ROGER J            5240 BIRCH ISLAND DR                                                                    BARRYTON              MI 49305‐9511
MCGEE, RONALD A           2605 PFISTER HWY                                                                        ADRIAN                MI 49221‐9452
MCGEE, RONALD E           2910 NEWGARDEN RD                                                                       SALEM                 OH 44460‐9517
MCGEE, RONNIE H           1703 JOHN SHARP RD                                                                      SPRING HILL           TN 37174‐2540
MCGEE, SADIE              109 LAKE VILLAGE BLVD APT 103                                                           DEARBORN              MI 48120‐1685
MCGEE, SALLIE             12541 MCGEE LN                                                                          AMELIA COURT HOUSE    VA 23002‐4929
MCGEE, SALLIE             12541 MCGEE LANE                                                                        AMELIA                VA 23002‐4929
MCGEE, SANFORD            6197 S HIGHWAY 76                                                                       RUSSELL SPRINGS       KY 42642‐8764
MCGEE, SEAN R             7419 MARSLAND LN                                                                        ARLINGTON             TX 76001‐7391
MCGEE, SHARON A           2068 E WILLIAMSON ST                                                                    BURTON                MI 48529‐2442
MCGEE, SHARON LEE         208 FESCUE PL                   C/O STEPHANIE FLETCHER                                  CHRISTIANA            TN 37037‐5182
MCGEE, SHIRLEY            1122 ETHRIDGE MILL RD                                                                   GRIFFIN               GA 30224‐8905
MCGEE, SONDRA             6427 S FORMAN RD                                                                        IDLEWILD              MI 49642‐9595
MCGEE, SYLVESTER H        936 WATKINS ST SE                                                                       GRAND RAPIDS          MI 49507‐1347
MCGEE, THOMAS M           7389 CROSSCREEK DR                                                                      TEMPERANCE            MI 48182‐9224
MCGEE, THOMAS S           1710 GARDENIA ST                                                                        FERNANDINA            FL 32034‐1980
MCGEE, TIA MICHELLE       1453 BEAVER CREEK LN                                                                    KETTERING             OH 45429‐3703
MCGEE, TIA MICHELLE       1453 BEAVERCREEK LANE                                                                   KETTERING             OH 45429‐3703
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Name                            Address1                          Address2                      Address3   Address4               City           State Zip
MCGEE, TINA E                   PO BOX 7133                                                                                       ARLINGTON       TX 76005‐7133
MCGEE, TINA ELAINE              PO BOX 7133                                                                                       ARLINGTON       TX 76005‐7133
MCGEE, TOMMY                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510‐2212
                                                                  STREET, SUITE 600
MCGEE, VALERIE                  813 WEST PATERSON                                                                                 FLINT          MI   48505
MCGEE, VERA Z                   100 SOMERSET DR                                                                                   NATCHEZ        MS   39120‐3717
MCGEE, VICKIE M                 2169 LITTLE ROCK RD NE                                                                            WESSON         MS   39191‐9401
MCGEE, VIRGINIA                 P.O. BOX 461                                                                                      BUFFALO        NY   14207
MCGEE, WALTER F                 14295 QUAIL RIDGE DR #20                                                                          N ROYALTON     OH   44133
MCGEE, WALTER L                 619 S 23RD ST                                                                                     SAGINAW        MI   48601‐1547
MCGEE, WILLIAM                  BURROW & PARROTT                  500 DALLAS ST STE 3450                                          HOUSTON        TX   77002‐4712
MCGEE, WILLIAM A                4483 ARCH CREEK DR                                                                                JACKSONVILLE   FL   32257‐8083
MCGEE, WILLIAM A                RR 2 BOX 440                                                                                      NAYLOR         MO   63953‐9787
MCGEE, WILLIAM ALLEN            4483 ARCH CREEK DR                                                                                JACKSONVILLE   FL   32257‐8083
MCGEE, WILLIAM D                7123 SUNRISE CIR                                                                                  FRANKLIN       TN   37067‐8301
MCGEE, WILLIAM J                653 WYNGATE DR                                                                                    ROCHESTER      MI   48307‐6016
MCGEE, WILLIAM P                10015 TIFFANY DR                                                                                  FORT WAYNE     IN   46804‐3957
MCGEE, WILLIE                   1714 SHAMROCK LN                                                                                  FLINT          MI   48504‐2013
MCGEE, WILLIE                   3686 DIAMONDALE DR W                                                                              SAGINAW        MI   48601
MCGEE, WILLIE J                 150 WALTON LN                                                                                     NORTH EAST     MD   21901‐2423
MCGEE, WILLIE M                 627 N STUART ST                                                                                   BALTIMORE      MD   21221‐4832
MCGEE, WINFRED C                3111 40TH AVE W                                                                                   BRADENTON      FL   34205‐2745
MCGEE, WU MAY                   3208 CLIFTON AVE APT C                                                                            SAINT LOUIS    MO   63139‐2300
MCGEE, ZACHARY D                1503 LAURENTIAN PASS                                                                              FLINT          MI   48532‐2051
MCGEE,REBECCA A                 10109 W FULLERTON AVE                                                                             MELROSE PARK   IL   60164‐1932
MCGEE‐HARDY, CARRIE M           29310 POINTE O WOODS PL APT 102                                                                   SOUTHFIELD     MI   48034‐1239
MCGEE‐MACLIN, SYLVIA T          4838 DAYTON LIBERTY RD                                                                            DAYTON         OH   45418‐1968
MCGEE‐PENQUITE, EILEEN RUTH     5025 N RANGELINE RD                                                                               COVINGTON      OH   45318‐8908
MCGEHAN, MARK G                 73 BROOK HOLLOW CT                                                                                O FALLON       MO   63366‐4168
MCGEHEAN EDWARD L (470917)      ANGELOS PETER G LAW OFFICES OF    100 PENN SQUARE EAST , THE                                      PHILADELPHIA   PA   19107
                                                                  WANAMAKER BUILDING
MCGEHEAN, EDWARD L              ANGELOS PETER G LAW OFFICES OF    100 PENN SQUARE EAST, THE                                       PHILADELPHIA   PA 19107
                                                                  WANAMAKER BUILDING
MCGEHEE BURNS, ETTA C           PO BOX 272                                                                                        BLAIRSVILLE    GA   30514‐0272
MCGEHEE MERTICE                 7691 DOGWOOD RD                                                                                   GERMANTOWN     TN   38138‐4910
MCGEHEE, AKIKO                  420 OPDYKE RD                     APT 1A                                                          PONTIAC        MI   48341
MCGEHEE, CLYDE M                1005 N. SAN PABLO AVE                                                                             FRESNO         CA   93728‐3728
MCGEHEE, CLYDE M                1005 N SAN PABLO AVE                                                                              FRESNO         CA   93728‐3629
MCGEHEE, GAIL L                 18274 ROBSON ST                                                                                   DETROIT        MI   48235‐2862
MCGEHEE, GREG S                 PO BOX 518                                                                                        HESSTON        KS   67062‐0518
MCGEHEE, LEE R                  3437 S STATE ROAD 19                                                                              TIPTON         IN   46072‐8900
MCGEHEE, STEPHEN E              106 BUCKS POCKET DR                                                                               NEW MARKET     AL   35761‐9035
MCGEHEE, STEPHEN EMORY          106 BUCKS POCKET DR                                                                               NEW MARKET     AL   35761‐9035
MCGEOGH, FRANK P                8320 ALLEN RD                                                                                     CLARKSTON      MI   48348‐2704
MCGEOGH, MARTIN P               2121 LAUREL OAK DR                                                                                HOWELL         MI   48855‐7676
MCGEOGH, MEGAN E                APT 203                           12 SOUTH WASHINGTON STREET                                      DENVER         CO   80209‐2061
MCGEORGE ROY                    215 N CANAL RD LOT 195                                                                            LANSING        MI   48917‐8675
MCGEORGE'S AUTO ELECTRIC LTD.   88 GENEVA ST                                                               ST CATHARINES ON L2R
                                                                                                           4M8 CANADA
MCGEORGE, CHARLES W             17940 FAIRFIELD ST                                                                                LIVONIA        MI 48152‐3216
MCGEORGE, DONNA J               17940 FAIRFIELD ST                                                                                LIVONIA        MI 48152‐3216
MCGEORGE, HERBERT A             4866 FRANLOU AVE                                                                                  DAYTON         OH 45432‐3118
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Name                       Address1                         Address2                        Address3   Address4         City              State Zip
MCGEORGE, ROY A            215 N CANAL RD LOT 195                                                                       LANSING            MI 48917‐8675
MCGEORGE, ROY ARTHUR       215 N CANAL RD LOT 195                                                                       LANSING            MI 48917‐8675
MCGEORGE, THOMAS E         33 SCHRECK AVE                                                                               BUFFALO            NY 14215‐3211
MCGEOUGH, AGNES            DURST LAW FIRM PC                319 BROADWAY                                                NEW YORK           NY 10007
MCGEOUGH, PETER            DURST LAW FIRM PC                319 BROADWAY                                                NEW YORK           NY 10007
MCGETTIGAN, B A
MCGETTIGAN, FRANCIS J      7550 SILVER RIDGE DR NE                                                                      ROCKFORD          MI   49341‐7354
MCGETTRICK, BRIAN J        298 LAKE MEADOW DR                                                                           WATERFORD         MI   48327‐1785
MCGETTRICK, BRUCE D        423 SHADY OAKS ST                                                                            LAKE ORION        MI   48362‐2569
MCGHAN, DARRYL L           6539 EUDAILY COVINGTON RD                                                                    COLLEGE GROVE     TN   37046‐9109
MCGHEE CHARLES (491227)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                            PROFESSIONAL BLDG
MCGHEE CHARLIE R           MCGHEE, CHARLIE R
MCGHEE CROCKETT, LEOLA M   7401 E 119TH ST                                                                              GRANDVIEW         MO 64030‐1301
MCGHEE EDDIE JR (493050)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                            PROFESSIONAL BLDG
MCGHEE JAMES               PO BOX 627                                                                                   VAN BUREN         AR 72957‐0627
MCGHEE JERRY               PO BOX 189                                                                                   DRIFTWOOD         TX 78619‐0189
MCGHEE JOE (446217)        BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH 44067
                                                            PROFESSIONAL BLDG
MCGHEE JOE L (439317)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                            STREET, SUITE 600
MCGHEE JR, ANTHONY L       817 GAWAIN CIR                                                                               WEST CARROLLTON   OH   45449‐2404
MCGHEE JR, HENRY J         1405 ANDREW ST SE                                                                            GRAND RAPIDS      MI   49508‐4813
MCGHEE JR, JAMES           76 SCHAUF AVE                    C/O F. MCGHEE                                               BUFFALO           NY   14211‐1036
MCGHEE JR, PERRY L         17312 POMMOSA RD                                                                             WARSAW            MO   65355‐5167
MCGHEE JR, ROBERT A        9074 SWEET BAY CT                                                                            INDIANAPOLIS      IN   46260‐1554
MCGHEE JR, ROBERT D        437 MULFORD AVE                                                                              DAYTON            OH   45417‐5417
MCGHEE PAULINE (488508)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                            PROFESSIONAL BLDG
MCGHEE RICHARD             MCGHEE, RICHARD                  114 19TH ST                                                 DUNBAR            WV   25064
MCGHEE, ABIJA D            626 RIDGE RD                                                                                 CARYVILLE         TN   37714‐3215
MCGHEE, ADDIE S            PO BOX 2571                                                                                  ANDERSON          IN   46018‐2571
MCGHEE, ADDIE S            P.O.BOX 2571                                                                                 ANDERSON          IN   46018‐2571
MCGHEE, ANNA J             261 BROOKDALE LOOP                                                                           CLERMONT          FL   34711‐2497
MCGHEE, ANNE               8259 E 150 S                                                                                 LAFAYETTE         IN   47905‐9409
MCGHEE, ANTHONY            110 COOPER DR APT 1A                                                                         NEW ROCHELLE      NY   10801
MCGHEE, BARBARA            206 CLAYTON AVE                                                                              WILMINGTON        DE   19809‐1409
MCGHEE, BERTHA             EAST P O BOX 75                                                                              GRATIS            OH   45330
MCGHEE, BERTHA M           426 MOORE ST                                                                                 PONTIAC           MI   48342‐1961
MCGHEE, BERTHA M           494 THORS ST                                                                                 PONTIAC           MI   48342
MCGHEE, BETTY              PO BOX 201                                                                                   ST CLR SHORES     MI   48080‐0201
MCGHEE, CARL ELMER         MOODY EDWARD O                   801 W 4TH ST                                                LITTLE ROCK       AR   72201‐2107
MCGHEE, CHARLIE L          1174 COOL RIDGE DR                                                                           GRAND BLANC       MI   48439‐4972
MCGHEE, CHRISTOPHE L       685 W CALLE TUBERIA                                                                          CASA GRANDE       AZ   85294‐8772
MCGHEE, DARRYL D           1130 HILLCREST DR                                                                            OXFORD            MI   48371‐6018
MCGHEE, DARRYL J           1128 ARAPAHO DR                                                                              BURTON            MI   48509‐1418
MCGHEE, DAVID L            3073 SHATTUCK RD                 #2                                                          SAGINAW           MI   48603‐3299
MCGHEE, DENSAL E           RR 2 BOX 2151B                                                                               THAYER            MO   65791‐9631
MCGHEE, DEXTER T           5168 OSCEOLA DR                                                                              DAYTON            OH   45427‐2115
MCGHEE, DON E              PO BOX 29455                                                                                 SHREVEPORT        LA   71149‐9455
MCGHEE, DONALD L           109 MARY ST                                                                                  W JEFFERSON       OH   43162‐1164
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Name                   Address1                         Address2                       Address3   Address4         City            State Zip
MCGHEE, DONNA M        3609 STORMONT RD                                                                            TROTWOOD         OH 45426‐2357
MCGHEE, DONNIE R       4180 BRIARWOOD DR                                                                           URBANA           OH 43078‐8216
MCGHEE, EDDIE          BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD       OH 44067
                                                        PROFESSIONAL BLDG
MCGHEE, EDDIE B        9 ELM ST                                                                                    LOCKPORT        NY   14094
MCGHEE, EDNA B         3609 STORMONT RD                                                                            DAYTON          OH   45426‐2357
MCGHEE, EDWARD L       10457 ALAMEDA ALMA RD                                                                       CLERMONT        FL   34711‐6344
MCGHEE, EMOGENE H      502 FAIRWAY DR                   C/O DWIGHT R MCGHEE                                        LA PLACE        LA   70068‐2004
MCGHEE, ESTHER E       6010 W LK RD                     APT 105                                                    VERMILION       OH   44089‐2838
MCGHEE, FELTON         4831 GRAYTON ST                                                                             DETROIT         MI   48224‐2363
MCGHEE, FRED R         1230 HARVARD DRIVE SOUTHEAST                                                                WARREN          OH   44484‐4877
MCGHEE, GEORGE         30 ARIZONA AVE                                                                              JACKSON         NJ   08527‐2102
MCGHEE, GERALD L       5279 TORCH LN                                                                               DAYTON          OH   45427‐2743
MCGHEE, GERALD W       6358 STERLING MAPLE CT                                                                      CLAYTON         OH   45315‐8980
MCGHEE, GERALDINE B    6244 CARMIN AVE                                                                             DAYTON          OH   45427‐2057
MCGHEE, HAROLD L       136 BRIARWOOD LN                                                                            RURAL RETREAT   VA   24368‐3080
MCGHEE, IDA M          1635 HORTON AVE SE                                                                          GRAND RAPIDS    MI   49507‐2462
MCGHEE, IVAL A         4713 BELCOURT DR                                                                            DAYTON          OH   45418‐2105
MCGHEE, JACK ELWOOD    MOODY EDWARD O                   801 W 4TH ST                                               LITTLE ROCK     AR   72201‐2107
MCGHEE, JAMES D        336 PROSPECT ST                                                                             LOCKPORT        NY   14094‐2712
MCGHEE, JAMES L        5585 E PARADISE RD                                                                          BATTLE CREEK    MI   49014‐8351
MCGHEE, JAMES L        5440 BASORE RD                                                                              DAYTON          OH   45415‐2718
MCGHEE, JAMES L        5440 BASORE ROAD                                                                            DAYTON          OH   45415‐5415
MCGHEE, JAMES W        PO BOX 132                                                                                  OSYKA           MS   39657‐0132
MCGHEE, JAMIE L        5438 BASORE RD                                                                              TROTWOOD        OH   45415‐2718
MCGHEE, JENELL O       469 WINDSOR DR                                                                              ELYRIA          OH   44035‐1733
MCGHEE, JERRY L        2952 BURLINGTON DR                                                                          SAGINAW         MI   48601
MCGHEE, JESSE          1237 E JULIAH AVE                                                                           FLINT           MI   48505‐1647
MCGHEE, JOE L          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
MCGHEE, JOHN H         2478 CHEVIOT GLN                                                                            EAST POINT      GA   30344‐1921
MCGHEE, JR, ROBERT D   437 MULFORD AVE                                                                             DAYTON          OH   45417‐2035
MCGHEE, KAREN          3205 CLEARWATER ST NW                                                                       WARREN          OH   44485‐2219
MCGHEE, KEITH L        1619 GUMMER AVE                                                                             DAYTON          OH   45403‐3346
MCGHEE, LINCOLN H      4476 WINTERGREEN DR                                                                         TROY            MI   48098‐4371
MCGHEE, LON W          2343 WINTER ST                                                                              FORT WAYNE      IN   46803‐3561
MCGHEE, MARY A         4017 S RANGELINE RD                                                                         WEST MILTON     OH   45383‐9645
MCGHEE, MATTIE L       5401 W QUINCY                                                                               CHICAGO         IL   60644‐4261
MCGHEE, MATTIE L       5401 W QUINCY ST                                                                            CHICAGO         IL   60644‐4261
MCGHEE, MICHAEL A      PO BOX 1833                                                                                 WARREN          OH   44483‐4483
MCGHEE, MICHAEL A      3102 LODWICK DR NW APT 6                                                                    WARREN          OH   44485
MCGHEE, NAOMI M        1244 MADISON AVE                                                                            EDWARDSVILLE    IL   62025
MCGHEE, OBIE W         1756 PRINCETON DR                                                                           DAYTON          OH   45406‐4615
MCGHEE, QUENTIN M      1650 DONALD LEE HOLLWL PKWY NW                                                              ATLANTA         GA   30318‐5004
MCGHEE, RALPH THOMAS   227 MCTIGUE DR                                                                              TOLEDO          OH   43615‐5163
MCGHEE, RAYMOND        PO BOX 13812                                                                                DETROIT         MI   18213‐0812
MCGHEE, REGINALD       507 HOLLAND DR                                                                              SOMERSET        NJ   08873‐4608
MCGHEE, REGINALD       32 MEDFORD LN                                                                               WILLINGBORO     NJ   08046‐3121
MCGHEE, RICHARD        114 19TH ST                                                                                 DUNBAR          WV   25064‐2818
MCGHEE, ROBERT N       2040 W 94TH ST                                                                              LOS ANGELES     CA   90047‐3709
MCGHEE, RODNEY M       112 W FAIRVIEW AVE                                                                          DAYTON          OH   45405‐3319
MCGHEE, RODNEY M       112 W.FAIRVIEW AVE.                                                                         DAYTON          OH   45405‐5405
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Name                                 Address1                            Address2                   Address3          Address4                City           State Zip
MCGHEE, RUBY                         2876 FIELD SPRING DR                                                                                     LITHONIA        GA 30058‐3851
MCGHEE, SYLVIA D                     12314 DAISYWOOD DR                                                                                       KNOXVILLE       TN 37932‐1824
MCGHEE, THOMAS A                     316 ELM ST                                                                                               STRUTHERS       OH 44471‐1837
MCGHEE, THOMAS E                     8515 S LYNN ST                                                                                           DALEVILLE       IN 47334‐9110
MCGHEE, VERONICA                     788 BYRD AVE                                                                                             CINCINNATI      OH 45215‐2217
MCGHEE, VERONICA V                   2229 OLIN DRIVE                                                                                          TOLEDO          OH 43613
MCGHEE, VERONICA V                   2229 OLIN DR                                                                                             TOLEDO          OH 43613‐3536
MCGHEE, WAYNE A                      247 STUART ST                                                                                            HOWELL          NJ 07731‐1226
MCGHEE, WILLIE                       C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                               EDWARDSVILLE     IL 62025
                                     ROWLAND PC
MCGHEE, WILLIE                       42 N DADE AVE                                                                                            FERGUSON       MO   63135‐2351
MCGHEE, YVONNE                       2952 BURLINGTON DR                                                                                       SAGINAW        MI   48601
MCGHEE,GERALD L                      5279 TORCH LN                                                                                            DAYTON         OH   45417‐8843
MCGHEE,GERALD W                      6358 STERLING MAPLE CT                                                                                   CLAYTON        OH   45315‐8980
MCGHEE‐GREER, RUBY E                 2720 PATRICK HENRY ST APT 102                                                                            LAKE ANGELUS   MI   48326‐2244
MCGHEEE, GAIL                        5 INDEPENDENCE CIR APT D                                                                                 NEWARK         DE   19711‐7160
MCGIBANY LOREN D (415482)            SIMMONS FIRM                        PO BOX 559                                                           WOOD RIVER     IL   62095‐0559
MCGIBANY, LOREN D                    SIMMONS FIRM                        PO BOX 559                                                           WOOD RIVER     IL   62095‐0559
MCGIBBON, DONALD D                   6397 S 150 E                                                                                             JONESBORO      IN   46938‐9615
MCGIBONEY, BILLIE W                  5135 COOK ST NE                                                                                          COVINGTON      GA   30014‐6207
MCGIBONEY, MARION F                  260 NEWTON RIDGE DR                                                                                      COVINGTON      GA   30014‐3635
MCGIBONEY, R E                       PO BOX 543                                                                                               COVINGTON      GA   30015‐0543
MCGIFFIN JR, NORTON                  2015 NASH DR                                                                                             CLEARWATER     FL   33763‐4326
MCGIFFIN, ANDREA M                   1809 VERMEER DR                                                                                          DAYTON         OH   45420
MCGIFFIN, CONNIE J.                  2015 NASH DR                                                                                             CLEARWATER     FL   33763‐4326
MCGIGOR, JOSEPH N                    21123 WOODFARM DR                                                                                        NORTHVILLE     MI   48167
MCGIGOR, WILLIAM L                   APT 2                               2961 PRYNNE STREET                                                   KEEGO HARBOR   MI   48320‐1278
MCGILL AIRCLEAN LLC                  DEPT L‐469                                                                                               COLUMBUS       OH   43260‐0469
MCGILL AIRCLEAN LLC                  1779 REFUGEE RD                                                                                          COLUMBUS       OH   43207‐2119
MCGILL CHEVROLET, INC.               106 W BROAD ST                                                                                           PAWCATUCK      CT   06379‐1830
MCGILL CHEVROLET, INC.               SEAN MCGILL                         106 W BROAD ST                                                       PAWCATUCK      CT   06379‐1830
MCGILL CORP, THE                     MCGILL AIRCLEAN LLC                 MCGILL AIRCLEAN LLC        1779 REFUGEE RD                           COLUMBUS       OH   43207
MCGILL CORP, THE                     DEPT L‐469                                                                                               COLUMBUS       OH   43260‐0469
MCGILL GEORGE (ESTATE OF) (469361)   C/O PAUL HANLEY & HARLEY            1608 4TH ST STE 300                                                  BERKELEY       CA   94710‐1749
MCGILL GOTSDINER, WORKMAN & LEPP,    GARY M. GOTSDINER                   11404 W DODGE RD STE 500                                             OMAHA          NE   68154‐2584
PC LLO
MCGILL III, FRED L                   3895 N CHAPIN RD                                                                                         MERRILL        MI   48637‐9562
MCGILL JR, JAMES L                   2382 BROOKS RD                                                                                           DACULA         GA   30019‐2536
MCGILL JR, ODIE                      3014 WALNUT RD                                                                                           SAREPTA        LA   71071‐2432
MCGILL JR, ODIE                      7921 WOODFIELD DR                                                                                        SHREVEPORT     LA   71106‐4031
MCGILL JR., GEORGE                   306 WRIGHT DR                                                                                            FLORENCE       AL   35633‐1535
MCGILL ROY (501520)                  BRAYTON PURCELL                     PO BOX 6169                                                          NOVATO         CA   94948‐6169
MCGILL TRANSPORTATION                PO BOX 814                                                                       ORILLIA CANADA ON L3V
                                                                                                                      6K8 CANADA
MCGILL UNIVERSITY                    RESEARCH & RESTRICTED FUNDS         3550 RUE UNIVERSITY                          MONTREAL CANADA PQ
                                                                                                                      H3A 2A7 CANADA
MCGILL UNIVERSITY                    GENERAL ACCOUNTS RECEIVABLE         845 SHERBROOKE ST W                          MONTREAL CANADA PQ
                                                                                                                      H3A 2T5 CANADA
MCGILL UNIVERSITY                    ATTN FRANK MUCCIARDI                3610 UNIVERSITY ST                           MONTREAL CANADA PQ
                                                                                                                      H3A 2B2 CANADA
MCGILL UNIVERSITY
MCGILL UNIVERSITY, CANADA
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Name                                 Address1                              Address2                      Address3                     Address4         City              State Zip
MCGILL VERYLE E (467026)             GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                 NORFOLK            VA 23510
                                                                           STREET, SUITE 600
MCGILL, ALBERT L                     1608 N NEW JERSEY ST                                                                                              INDIANAPOLIS      IN   46202‐1613
MCGILL, ARLENE R                     3014 WALNUT RD                                                                                                    SAREPTA           LA   71071‐2432
MCGILL, BERTHA A                     2531 W IRONWOOD DR                                                                                                JANESVILLE        WI   53545‐9061
MCGILL, BILLY JOE                    DAUTERIVE V J JR                      2010 PAKENHAM DR                                                            CHALMETTE         LA   70043‐4720
MCGILL, CATHERINE A                  560 E SOUTH ST                                                                                                    MARTINSVILLE      IN   46151‐2919
MCGILL, CHARLES A                    24875 REEDS POINTE DR                                                                                             NOVI              MI   48374‐2538
MCGILL, CHARLOTTE B                  4060 AMISTAD CT                                                                                                   LAS VEGAS         NV   89115‐8218
MCGILL, CHARLOTTE B                  5925 PAVILION LAKES AVE                                                                                           LAS VEGAS         NV   89122‐3407
MCGILL, CHRIS S                      2560 DUOMO ST                                                                                                     PALMDALE          CA   93550‐8603
MCGILL, CLARENCE L                   5729 LEBANON RD STE 144# PMB 415                                                                                  FRISCO            TX   75034‐7259
MCGILL, CONNIE                       APT C4D                               614 LOVEVILLE ROAD                                                          HOCKESSIN         DE   19707‐1609
MCGILL, DAVID                        1753 ROAD B1                                                                                                      EMPORIA           KS   66801‐7662
MCGILL, DAVIS                        12930 FORRER ST                                                                                                   DETROIT           MI   48227‐1706
MCGILL, DELORIS F                    4581 W SAGINAW RD                                                                                                 VASAR             MI   48768
MCGILL, ERLINDA                      5918 LIBERTY GLADE CT                                                                                             FORT WAYNE        IN   46804‐4217
MCGILL, GEORGE                       C/O PAUL HANLEY & HARLEY              1608 4TH ST STE 300                                                         BERKELEY          CA   94710‐1749
MCGILL, GERALDINE                    2208 FALLEN TIMBER DR                                                                                             SANDUSKY          OH   44870‐5168
MCGILL, GOTSDINER, WORKMAN & LEPP,   GARY M. GOTSDINER                     11404 W DODGE RD STE 500                                                    OMAHA             NE   68154‐2584
P.C. LLO
MCGILL, GOTSDINER, WORKMAN & LEPP,   ATTY FOR NS‐200 CABOT OF PA; NS‐608   NS‐2200 WILLIS MILLER WI      11404 W. DODGE ROAD, SUITE                    OMAHA             NE 68154‐2584
P.C., L.L.O.                         CAPERTON WV; NS‐1500 MARQUETTE MS;                                  500

MCGILL, GOTSDINER, WORKMAN & LEPP,   GARY M. GOTSDINER                     11404 W DODGE RD STE 500                                                    OMAHA             NE 68154‐2584
PC LLO
MCGILL, GOTSDINER, WORKMAN & LEPP,   GARY M. GOTSDINER, ESQ.               11404 W DODGE RD STE 500                                                    OMAHA             NE 68154‐2584
PC, LLO
MCGILL, HENRY E                      2052 HERITAGE DR                                                                                                  SANDUSKY          OH   44870‐5157
MCGILL, HENRY L                      2408 FENWICK CT                                                                                                   DAYTON            OH   45431‐1912
MCGILL, ISABELLE                     1100 VICKILEE RD                                                                                                  RICHMOND          VA   23236‐1943
MCGILL, JEANETTE P                   5009 E FLOWER AVE                                                                                                 MESA              AZ   85206‐2838
MCGILL, JERRY L                      4304 SE BRIDLE CT                                                                                                 LEES SUMMIT       MO   64082‐4920
MCGILL, JOHN                         8828 SHETLAND LANE                                                                                                INDIANAPOLIS      IN   46278‐1068
MCGILL, JOHN A                       10711 CONEFLOWER DR                                                                                               FORT WAYNE        IN   46804‐3714
MCGILL, JOHN A                       6275 BILLWOOD HWY                                                                                                 POTTERVILLE       MI   48876‐7702
MCGILL, JOHN P                       1050 PEPPERTREE PL                                                                                                LIVERMORE         CA   94550‐5738
MCGILL, JOHN W                       2009 RIDGEWOOD                                                                                                    BEDFORD           TX   76021‐4714
MCGILL, JOSE                         3921 KIMBELL DR                                                                                                   KELLER            TX   76248‐7664
MCGILL, JOSE C                       712 VERNON AVENUE                                                                                                 BELOIT            WI   53511‐6065
MCGILL, JOSE T                       5918 LIBERTY GLADE CT                                                                                             FORT WAYNE        IN   46804‐4217
MCGILL, JUWANNA D                    12930 FORRER ST                                                                                                   DETROIT           MI   48227‐1706
MCGILL, JUWANNA D.                   12930 FORRER ST                                                                                                   DETROIT           MI   48227‐1706
MCGILL, KENNY R                      504 WHITE OAK TRL                                                                                                 SPRING HILL       TN   37174‐7540
MCGILL, KIMBERLY L                   1761 MOUNTAIN ASH DR                                                                                              WEST BLOOMFIELD   MI   48324‐4004
MCGILL, LARRY E                      3309 W MOORESVILLE RD                                                                                             INDIANAPOLIS      IN   46221‐2247
MCGILL, LAVELLA J                    512 CHAPELRIDGE WAY                                                                                               BRANDON           MS   39042‐3576
MCGILL, LAVELLA JEAN                 512 CHAPELRIDGE WAY                                                                                               BRANDON           MS   39042‐3576
MCGILL, LINDA A                      47595 BECKENHAM BLVD                                                                                              NOVI              MI   48374‐3528
MCGILL, MARION                       PO BOX 1607                                                                                                       COLUMBIA          MD   21044‐0607
MCGILL, MARY V                       64 SHENAGO STREET                                                                                                 GREENVILLE        PA   16125‐6125
MCGILL, MARY V                       64 SHENANGO ST                                                                                                    GREENVILLE        PA   16125‐2019
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Name                                 Address1                          Address2                      Address3   Address4         City            State Zip
MCGILL, MATTHEW E                    1118 OAKLAND DR                                                                             ANDERSON         IN 46012‐4536
MCGILL, MATTHEW EDWARD               1118 OAKLAND DR                                                                             ANDERSON         IN 46012‐4536
MCGILL, MICHAEL R                    47 W MAIN ST                                                                                BERLIN HTS       OH 44814‐9687
MCGILL, NIKOL D                      504 IROQUOIS DR                                                                             ANDERSON         IN 46012‐1419
MCGILL, NORMAN                       4040S SW 22D ST                                                                             W HOLLYWOOD      FL 33023
MCGILL, PAMELA A                     2107 ARBUTUS ST                                                                             JANESVILLE       WI 53546‐6160
MCGILL, PATRICIA C                   41735 POCATELLO                                                                             CANTON           MI 48187
MCGILL, REBA E                       306 WRIGHT DR                                                                               FLORENCE         AL 35633‐1535
MCGILL, RICHARD F                    155 OCEAN LANE DR APT 815                                                                   KEY BISCAYNE     FL 33149‐1464
MCGILL, ROBERT G                     9422 E MONTEGO LN                                                                           SHREVEPORT       LA 71118‐3608
MCGILL, RODOLFO                      2531 W IRONWOOD DR                                                                          JANESVILLE       WI 53545‐9061
MCGILL, ROY                          BRAYTON PURCELL                   PO BOX 6169                                               NOVATO           CA 94948‐6169
MCGILL, RUBEN J                      1915 S WALNUT ST                                                                            JANESVILLE       WI 53546‐6051
MCGILL, RUTH Y                       1911 BRIARWOOD DR                                                                           FLINT            MI 48507‐1437
MCGILL, RUTH YVONNE                  1911 BRIARWOOD DR                                                                           FLINT            MI 48507‐1437
MCGILL, SAMUEL                       7290 IRISH RD                                                                               OTISVILLE        MI 48463‐9417
MCGILL, SANDRA L                     7716 SHADY BEACH ST                                                                         WHITMORE LAKE    MI 48189‐9638
MCGILL, SANTOS J                     PO BOX 1284                                                                                 JANESVILLE       WI 53547‐1284
MCGILL, STEPHEN M                    7 LASONIA CT                                                                                EDGEWOOD         MD 21040‐3516
MCGILL, TRACEY J                     14960 FAIRMOUNT DR                                                                          DETROIT          MI 48205
MCGILL, TRACEY J                     APT 8                             3820 LONE PINE DRIVE                                      HOLT             MI 48842‐8801
MCGILL, TRAMAINE DERSHAWN            14960 FAIRMOUNT DR                                                                          DETROIT          MI 48205
MCGILL, VEELLA                       LEVIN JOSEPH                      2806 CAMBRIDGE AVE                                        DETROIT          MI 48221‐1827
MCGILL, VERYLE E                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                                       STREET, SUITE 600
MCGILL, VICTOR E                     11628 GALBA DR                                                                              FLORISSANT      MO 63033‐6811
MCGILL‐WILLIAMS, EUNEICE             130 TROUTBECK LN                                                                            ROCHESTER       NY 14626‐1720
MCGILL. GOTSDINER, WORKMAN & LEPP,   GARY M. GOTSDINER, ESQ.           11404 W DODGE RD STE 500                                  OMAHA           NE 68154‐2584
PC, LLO
MCGILLAN, KEITH J                    RFD 1‐66 LAKE PLYMOUTH BLVD                                                                 PLYMOUTH        CT   06782‐9801
MCGILLAN, KEITH J                    RR 1‐66                                                                                     PLYMOUTH        CT   06782
MCGILLEN, TIMOTHY J                  8293 ELMHURST CT APT 6                                                                      BIRCH RUN       MI   48415‐9269
MCGILLICUDDY, FRANK J                35 STRAUB RD                                                                                ROCHESTER       NY   14626‐4207
MCGILLIN JR, PATRICK R               31 E WYNCLIFFE AVE                                                                          CLIFTON HTS     PA   19018‐1528
MCGILLIS, JIM R                      1076 BRINGOLD AVW                                                                           LAKE            MI   48632
MCGILLIS, JOHN A                     117 W MARSHALL ST                                                                           ALMA            MI   48801‐2306
MCGILLIS, MAUREEN A                  12348 PARKLANE ST                                                                           MOUNT MORRIS    MI   48458‐1438
MCGILLIS, MICHAEL J                  G‐13212 N CLIO RD                                                                           CLIO            MI   48420
MCGILLIS, RANDY J                    15220 ARROWHEAD DR                                                                          CHESANING       MI   48616‐9622
MCGILLIS, ROBERT C                   4807 S WINN RD                                                                              MT PLEASANT     MI   48858‐9546
MCGILLIS, RODNEY L                   212 N STERLING ST                                                                           ASHLEY          MI   48806‐9399
MCGILLIVARY, NANCY C.                7225 MONTAGUE RD                                                                            HUBER HEIGHTS   OH   45424‐3047
MCGILLIVRAY CHARLES W (355963)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                                       STREET, SUITE 600
MCGILLIVRAY, CHARLES W               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                                       STREET, SUITE 600
MCGILLIVRAY, DAVID W                 2322 MEADOW LARK RD                                                                         SPRING HILL     FL   34608‐4635
MCGILLIVRAY, JACQUELINE              2322 MEADOW LARK RD                                                                         SPRING HILL     FL   34608
MCGILLIVRAY, KEVIN                   9838 SIGLER RD                                                                              NEW CARLISLE    OH   45344‐8510
MCGILLIVRAY, LISA A                  9839 SIGLER ROAD                                                                            NEW CARLISLE    OH   45344
MCGILLVARY, CLYDE E                  PO BOX 267                                                                                  PIQUA           OH   45356‐0267
MCGILLVARY, ELLIS L                  9597 LOWER VALLEY PIKE                                                                      MEDWAY          OH   45341‐9748
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Name                         Address1                       Address2                              Address3   Address4         City               State Zip
MCGILTON DON                 6251 BRIARWOOD DR                                                                                BELLEVILLE          MI 48111‐5145
MCGILTON, DONALD             8711 RYNN RD                                                                                     KENOCKEE            MI 48006‐4130
MCGILTON,DUSTIN T            6410 NW BLAIR RD                                                                                 PARKVILLE           MO 64152‐2510
MCGILVERY, LLOYD D           5500 FLUSHING RD                                                                                 FLUSHING            MI 48433‐2532
MCGILVRAY JR, LESTER P       52 DAVID RD                                                                                      BELLINGHAM          MA 02019‐1610
MCGILVREY, SHANE R           329 WELLINGTON PKWY                                                                              NOBLESVILLE         IN 46060‐5445
MCGINISTER, CHARLES E        18736 FAUST AVE                                                                                  DETROIT             MI 48219‐2945
MCGINITY, J. MICHAEL
MCGINLEY JOAN                8124 RYERS AVE FL 1                                                                              PHILADELPHIA       PA   19111‐2319
MCGINLEY, DONALD E           12358 PARKLANE ST                                                                                MOUNT MORRIS       MI   48458‐1438
MCGINLEY, ELLEN M            3423 KENTUCKY AVE                                                                                BALTIMORE          MD   21213‐1930
MCGINLEY, JAMES P            403 W WASHINGTON ST                                                                              LEBANON            IN   46052‐2131
MCGINLEY, JOHN W             117 LLANGOLLEN BLVD                                                                              NEW CASTLE         DE   19720‐4709
MCGINLEY, PHILLIP L          4133 E CAROL AVE                                                                                 MESA               AZ   85206‐1941
MCGINN GROUP                 2300 CLARENDON BLVD STE 901                                                                      ARLINGTON          VA   22201‐3348
MCGINN I I, JAMES R          131 DESANDER DR                                                                                  LANSING            MI   48906‐2320
MCGINN II, JAMES R           131 DESANDER DR                                                                                  LANSING            MI   48906‐2320
MCGINN JOHNNY                MCGINN, JOHNNY                 317 EAST CAPITOL ST ‐ STE 400 , P O                               JACKSON            MS   39201
                                                            BOX 131
MCGINN PAUL J                50699 CANYON LN                                                                                  GRANGER            IN 46530‐6604
MCGINN PETER (472117)        GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                            STREET, SUITE 600
MCGINN, CARY J               328 N ONONDAGA RD                                                                                MASON              MI   48854‐9514
MCGINN, DARRYL M             1895 RIDGEWOOD DR                                                                                EAST LANSING       MI   48823‐2939
MCGINN, GERALD J             13830 E KATHLEEN LN                                                                              GRAND LEDGE        MI   48837‐9322
MCGINN, JOHN J               1715 TAMA ST                                                                                     BOONE              IA   50036
MCGINN, JOHNNY               WELLS MARBLE & HURST           317 EAST CAPITOL ST ‐ STE 400 , P O                               JACKSON            MS   39201
                                                            BOX 131
MCGINN, JOHNNY               144 PLUMMER CIR                                                                                  JACKSON            MS   39212‐2314
MCGINN, MARK D               555 HALL ST                                                                                      IONIA              MI   48846‐1109
MCGINN, MARK DAVID           555 HALL ST                                                                                      IONIA              MI   48846‐1109
MCGINN, NEIL L               7150 DEER LAKE RD                                                                                CLARKSTON          MI   48346‐1209
MCGINN, PETER                GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                            STREET, SUITE 600
MCGINN, RUSSELL J            821 CHAPMAN ST                                                                                   IONIA              MI   48846‐1015
MCGINN, SCOTT D              26625 HUMBER ST                                                                                  HUNTINGTON WOODS   MI   48070‐1223
MCGINN, TERI L               6143 ROSEWOOD PKWY                                                                               WHITE LAKE         MI   48383‐2790
MCGINN, THOMAS J             18 GREENRIDGE RD                                                                                 NEWARK             DE   19711‐6734
MCGINNES, GEORGE C           52 WELLINGTON DR                                                                                 NEWARK             DE   19702‐4223
MCGINNES, JOHN W             40 PHOEBE FARMS LN             PINES AT BAYVIEW                                                  NEW CASTLE         DE   19720‐8769
MCGINNES, ROBERT K           52 WELLINGTON DR                                                                                 NEWARK             DE   19702‐4223
MCGINNES, ROBERT KEVIN       52 WELLINGTON DR                                                                                 NEWARK             DE   19702‐4223
MCGINNESS DAVID B (474478)   ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                          WILMINGTON         DE   19801‐1813
MCGINNESS, BARBARA           327 BUD STIPP RD                                                                                 BEDFORD            IN   47421‐8930
MCGINNESS, BARRY             11710 LANDINGS DR                                                                                INDIANAPOLIS       IN   46256‐9628
MCGINNESS, DAVID B           ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                          WILMINGTON         DE   19801‐1813
MCGINNESS, JERRY L           327 BUD STIPP RD                                                                                 BEDFORD            IN   47421‐8930
MCGINNIS & ASSOCIATES        1110 WESTMARK DR                                                                                 SAINT LOUIS        MO   63131‐1735
MCGINNIS ALICE               MCGINNIS, ALICE                120 WEST MADISON STREET , 10TH                                    CHICAGO            IL   60602
                                                            FLOOR
MCGINNIS BEVERLY             7758 AIRPORT BLVD                                                                                LOS ANGELES        CA 90045‐1671
MCGINNIS CADILLAC, INC.      12221 KATY FWY                                                                                   HOUSTON            TX 77079‐1502
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Name                                   Address1                           Address2                        Address3   Address4         City              State Zip
MCGINNIS CADILLAC, INC.                KEVIN MC GINNIS                    12221 KATY FWY                                              HOUSTON            TX 77079‐1502
MCGINNIS CHRISTOPHER                   MCGINNIS, CHRISTOPHER              1324 VIRGINIA ST E                                          CHARLESTON         WV 25301‐3012
MCGINNIS CLIFFORD (ESTATE OF) (467799) HENDERSON & GOLDBERG               3RD FL KETCHUM CENTER , 1030                                PITTSBURGH         PA 15219
                                                                          FIFTH AVE
MCGINNIS HUMMER                      12221 KATY FWY                                                                                   HOUSTON           TX 77079‐1502
MCGINNIS III, ERNEST                 201 W JOLLY RD APT 813                                                                           LANSING           MI 48910‐6657
MCGINNIS JAMES RALPH (ESTATE OF)     SAVILLE EVOLA & FLINT LLC            322 EAST BROADWAY P O BOX 602                               ALTON             IL 62002
(663697)
MCGINNIS JR, ATHIE L                 1141 IRONWOOD CT APT 102                                                                         ROCHESTER         MI   48307‐1253
MCGINNIS JR, CLARENCE R              3205 TEPEE CT                                                                                    INDEPENDENCE      MO   64057‐3327
MCGINNIS JR, ROBERT E                4075 W LAKE RD                                                                                   CLIO              MI   48420‐8820
MCGINNIS JR, WARREN B                2173 S CENTER RD APT 430                                                                         BURTON            MI   48519‐1807
MCGINNIS JR, WARREN BRYCE            2173 S CENTER RD APT 430                                                                         BURTON            MI   48519‐1807
MCGINNIS LOCHRIDGE & KILGORE LLP     600 CONGRESS AVE STE 2100                                                                        AUSTIN            TX   78701‐2986
MCGINNIS MICHAEL                     10095 SUGAR PINE EAST                                                                            CLARKSTON         MI   48348
MCGINNIS MICHAEL S (484868)          KELLEY & FERRARO LLP                 1300 EAST NINTH STREET , 1901                               CLEVELAND         OH   44114
                                                                          BOND COURT BUILDING
MCGINNIS RAYMOND L                   933 N KIGER RD                                                                                   INDEPENDENCE      MO   64050‐3138
MCGINNIS TOM TRUCKING CO             5001 LAKE BONITA RD                                                                              CATLETTSBURG      KY   41129‐8471
MCGINNIS, ABIGAIL L                  2221 GRAHAM DRIVE                                                                                FORT WAYNE        IN   46818‐2137
MCGINNIS, ALBERT EARL                DOFFERMYRE SHIELDS CANFIELD KNOWLES 1355 PEACHTREE ST NE STE 1600                                ATLANTA           GA   30309‐3276
                                     & DEVINE
MCGINNIS, BEVERLY J                  7885 E CARLTON RD                                                                                WEST ALEXANDRIA   OH   45381‐9543
MCGINNIS, BEVERLY JO                 7885 E CARLTON RD                                                                                WEST ALEXANDRIA   OH   45381‐9543
MCGINNIS, CHRIS M                    14214 EASTVIEW DR LOT 33                                                                         FENTON            MI   48430‐1382
MCGINNIS, CLARENCE H                 6137 BYRAM LAKE DR                                                                               LINDEN            MI   48451‐8741
MCGINNIS, CLIFFORD                   HENDERSON & GOLDBERG                3RD FL KETCHUM CENTER, 1030                                  PITTSBURGH        PA   15219
                                                                         FIFTH AVE
MCGINNIS, COURTNEY                   239 PEPPER LN                                                                                    PADUCAH           KY   42001‐5864
MCGINNIS, DALE L                     2044 W REID RD                                                                                   FLINT             MI   48507‐4645
MCGINNIS, DEBORAH A                  220 FORT CHERRY RD                                                                               MC DONALD         PA   15057‐3039
MCGINNIS, DELPHINA F                 2205 HASLEY DR                                                                                   OKLAHOMA CITY     OK   73120‐4919
MCGINNIS, DORAN J                    510 M ST SE APT G67                                                                              AUBURN            WA   98002‐6282
MCGINNIS, DOROTHY H                  424 E MAIN ST                                                                                    CORTLAND          OH   44410‐1227
MCGINNIS, EDWARD L                   6950 CEMETERY RD BOX137                                                                          CLIFFORD          MI   48727
MCGINNIS, ELLA                       13551 ASBURY PARK                                                                                DETROIT           MI   48227‐1329
MCGINNIS, EVERETT R                  10237 BENNINGTON RD                                                                              LAINGSBURG        MI   48848‐9617
MCGINNIS, GARY E                     17 CANTERBURY ST SW                                                                              WYOMING           MI   49548‐1116
MCGINNIS, GARY E.                    17 CANTERBURY ST SW                                                                              WYOMING           MI   49548‐1116
MCGINNIS, GEORGE P                   6454 MEADOWWOOD LN                                                                               GRAND BLANC       MI   48439‐9704
MCGINNIS, GLEN R                     1075 GREARS CORNER RD                                                                            TOWNSEND          DE   19734‐9535
MCGINNIS, JAMES E                    16 COTTAGE ST                                                                                    NORWOOD           NY   13668‐1206
MCGINNIS, JAMES EDWARD               16 COTTAGE ST                                                                                    NORWOOD           NY   13668‐1206
MCGINNIS, JAMES F                    116 COLONIAL DR                                                                                  LEESBURG          GA   31763‐4701
MCGINNIS, JAMES M                    166 CLIFFBROOK DR                                                                                MANSFIELD         OH   44907‐1777
MCGINNIS, JAMES R                    265 MILLSPINGS                                                                                   COATESVILLE       IN   46121
MCGINNIS, JAMES RALPH                SAVILLE EVOLA & FLINT LLC           PO BOX 602                                                   ALTON             IL   62002‐0602
MCGINNIS, JOHN F                     3791 W ROSEBRIER ST                                                                              SPRINGFIELD       MO   65807‐5595
MCGINNIS, JOSEPH J                   761 BROWN RD                                                                                     ORION             MI   48359‐2262
MCGINNIS, KAREN L                    11342 DENTON HILL RD                                                                             FENTON            MI   48430‐2524
MCGINNIS, KATHERINE A                10133 LAPEER RD APT 207                                                                          DAVISON           MI   48423‐8196
MCGINNIS, LARRY K                    424 E MAIN ST                                                                                    CORTLAND          OH   44410‐1227
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Name                               Address1                       Address2                       Address3   Address4         City              State Zip
MCGINNIS, LESTER E                 17418 N STATE ROAD 13                                                                     ELWOOD             IN 46036‐8763
MCGINNIS, LINDA D                  1704 GLENEAGLES DR                                                                        KOKOMO             IN 46902
MCGINNIS, MARCELLA J               9427 ALTONWOOD DRIVE                                                                      JENNINGS           MO 63136‐5105
MCGINNIS, MARIE H                  8107 ARBOR CT                                                                             FORT MYERS         FL 33908‐2854
MCGINNIS, MARTIN O                 1633 WALDO ST SE                                                                          PALM BAY           FL 32909‐5912
MCGINNIS, MAYLAND B                118 RIVERSIDE DRIVE                                                                       HACKBERRY          LA 70645‐4115
MCGINNIS, MELODY                   114 BROOKS AVE                                                                            BAYVILLE           NJ 08721‐1312
MCGINNIS, MELVIN L                 39 HICKORY RDG                                                                            DAVISON            MI 48423‐9166
MCGINNIS, MICHAEL J                10095 SUGAR PINE DR W                                                                     CLARKSTON          MI 48348‐1651
MCGINNIS, MICHAEL K                1442 TRAFALGAR CT                                                                         DAYTON             OH 45459‐6204
MCGINNIS, MICHAEL L                45949 CHATSWORTH DR                                                                       BELLEVILLE         MI 48111‐1214
MCGINNIS, MICHAEL P                3063 SHIAWASSEE SHORES DR                                                                 FENTON             MI 48430‐1353
MCGINNIS, MICHAEL P                350 ORCHARD ST APT B2                                                                     GRAND BLANC        MI 48439
MCGINNIS, MICHAEL S                KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                               CLEVELAND          OH 44114
                                                                  BOND COURT BUILDING
MCGINNIS, MICHAEL T                4254 N VASSAR RD                                                                          FLINT             MI   48506‐1739
MCGINNIS, MICHAEL TROY             4254 N VASSAR RD                                                                          FLINT             MI   48506‐1739
MCGINNIS, MICHAEL W                836 N HAMPTON DR                                                                          NORCROSS          GA   30071‐3025
MCGINNIS, NAPOLEON                 1096 LOISKA LN                                                                            CINCINNATI        OH   45224‐2732
MCGINNIS, PATRICIA                 2706 BEVERLY CIR                                                                          INDEPENDENCE      MO   64052‐3253
MCGINNIS, PATRICK B                7885 E CARLTON RD                                                                         WEST ALEXANDRIA   OH   45381‐9543
MCGINNIS, PATTY P                  118 RIVERSIDE DRIVE                                                                       HACKBERRY         LA   70645‐4115
MCGINNIS, PAUL S                   1408 FERDINAND ST                                                                         DETROIT           MI   48209‐2410
MCGINNIS, PHILLIPPIA T             21901 AVON RD                                                                             OAK PARK          MI   48237‐2571
MCGINNIS, RICHARD A                4523 WINTERGREEN DR                                                                       TROY              MI   48098‐4374
MCGINNIS, RICHARD D                1113 COUNTY ROUTE 38                                                                      NORFOLK           NY   13667‐3210
MCGINNIS, RICHARD D.               1113 COUNTY ROUTE 38                                                                      NORFOLK           NY   13667‐3210
MCGINNIS, RITA                     2244 HALFORD ST                                                                           ANDERSON          IN   46016‐3733
MCGINNIS, RITA A                   5680 WILLOW TERRACE DR                                                                    BETHEL PARK       PA   15102‐3528
MCGINNIS, RITA E.                  2244 HALFORD ST                                                                           ANDERSON          IN   46016‐3733
MCGINNIS, RITA K                   7033 SLAYTON SETTLEMENT RD                                                                LOCKPORT          NY   14094‐9456
MCGINNIS, ROBERT E                 243 KATHERINE BLVD APT 5112                                                               PALM HARBOR       FL   34684‐3698
MCGINNIS, RONALD                   UNKNOWN
MCGINNIS, ROY S                    1403 STATE ST                                                                             FORT SCOTT        KS   66701‐2761
MCGINNIS, RYAN A                   3041 WOLVERINE DR                                                                         ANN ARBOR         MI   48108‐2041
MCGINNIS, RYAN ANTON               3041 WOLVERINE DR                                                                         ANN ARBOR         MI   48108‐2041
MCGINNIS, SARA M                   2520 WABASH RD                                                                            LANSING           MI   48910‐4854
MCGINNIS, SARA M                   16485 JENNINGS RD                                                                         FENTON            MI   48430‐9108
MCGINNIS, SHAWN J                  8825 RT 56                                                                                MASSENA           NY   13662
MCGINNIS, SHAWN JOSEPH             8825 RT 56                                                                                MASSENA           NY   13662
MCGINNIS, THEODORE K               115 HOUSTON TAYLOR CIR                                                                    LANCING           TN   37770
MCGINNIS, TIMOTHY C                5717 WATERVILLE MONCLOVA RD                                                               WATERVILLE        OH   43566‐9543
MCGINNIS, TIMOTHY F                238 ORVILLE DR                                                                            TOLEDO            OH   43612‐3531
MCGINNIS, TIMOTHY FRANCIS          238 ORVILLE DR                                                                            TOLEDO            OH   43612‐3531
MCGINNIS, TYRONE M                 PO BOX 9022                    C/O GM KOREA                                               WARREN            MI   48090‐9022
MCGINNIS, VIRGIL M                 901 MAPLE ST                                                                              STREATOR          IL   61364‐3567
MCGINNIS, WILLIAM J                2800 HGWY # 3                                                                             HAMPTON           GA   30228
MCGINNIS, WILLIAM N                99 BEARSLIDE HOLW                                                                         DAHLONEGA         GA   30533‐8730
MCGINNIS,PATRICK B                 7885 E CARLTON RD                                                                         WEST ALEXANDRIA   OH   45381‐9543
MCGINNIS‐MARSHALL, CANDACE K       14445 COUNTY ROAD B                                                                       WAUSEON           OH   43567‐9442
MCGINNIS‐MARSHALL, CANDACE KELLY   14445 COUNTY ROAD B                                                                       WAUSEON           OH   43567‐9442
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Name                                Address1                          Address2                        Address3   Address4             City               State Zip
MCGINNISS, DANIEL J                 2917 SAINT LOUIS AVE                                                                              FORT WAYNE          IN 46809‐2947
MCGINNISS, JOHN R                   1121 BOYNTON CT                                                                                   JANESVILLE          WI 53545‐1927
MCGINNITY, JOHN A                   14 E GOLDEN LAKE RD                                                                               CIRCLE PINES        MN 55014‐1725
MCGINNITY, JOHN A                   31715 WEIBEL CIR                                                                                  TEMECULA            CA 92591‐5906
MCGINSTER, JUANITA                  COON & ASSOCS BRENT               917 FRANKLIN ST STE 210                                         HOUSTON             TX 77002‐1751
MCGINTHY, EMMA L                    6351 BALDWYN AVE                                                                                  NEW PORT RICHEY     FL 34653
MCGINTY'S LANDSCAPING LLC           NO ADVERSE PARTY
MCGINTY, DANIEL P                   6578 WEALTHY ST                                                                                   CLARKSTON          MI   48346‐2175
MCGINTY, GARY T                     124 BELL GROVE DR                                                                                 COLUMBIA           TN   38401‐5286
MCGINTY, JOHN D                     2901 DUNGLOW RD APT 3                                                                             DUNDALK            MD   21222
MCGINTY, JOHN D                     3045 LIBERTY PKWY                                                                                 BALTIMORE          MD   21222‐5320
MCGINTY, JULIE A                    124 BELL GROVE DR                                                                                 COLUMBIA           TN   38401‐5286
MCGINTY, LAURENE J                  11134 DODGE RD                                                                                    MONTROSE           MI   48457‐9010
MCGINTY, MARGARET                   96 DUNLAP CIRCLE                                                                                  OXFORD             MI   48371
MCGINTY, MICHAEL B                  35 HOLIDAY HL                                                                                     LEXINGTON          OH   44904‐1105
MCGINTY, MICHAEL J                  18697 VALLEYVIEW ST                                                                               RIVERVIEW          MI   48193‐7702
MCGINTY, ROSALIE J                  35 HOLIDAY HL                                                                                     LEXINGTON          OH   44904‐1105
MCGIRR, AURELIA H                   8684 SIERRA AVE APT 211                                                                           FONTANA            CA   92335‐3879
MCGIRR, DOROTHY S                   136 ROCKY FORK DR APT E                                                                           NEWARK             OH   43055‐7514
MCGIRT, JULIA A                     4483 DORSET DR                                                                                    DECATUR            GA   30035‐4211
MCGIRT, MARY A                      1650 MOWBRY LANE                                                                                  ST LOUIS           MO   63136‐2036
MCGIRT, MARY A                      1650 MOWBRY LN                                                                                    SAINT LOUIS        MO   63136‐2036
MCGIVENS, ROBERT L                  3545 IDLEWILD AVE                                                                                 CINCINNATI         OH   45207‐1011
MCGIVERN, DONALD H                  18622 E WHITE WING DR                                                                             RIO VERDE          AZ   85263‐8128
MCGIVERN, JAMES P                   G3420 E CARPENTER RD                                                                              FLINT              MI   48506
MCGIVERN, JOSEPH F                  10450 6 MILE RD LOT 159                                                                           BATTLE CREEK       MI   49014‐9546
MCGIVERN, JOSEPH F                  53366 NORTHRUP DR                                                                                 SHELBY TOWNSHIP    MI   48316‐1848
MCGIVERN, NORINE A                  W11099 LAKEVIEW DRIVE                                                                             MERRIMAC           WI   53561‐9618
MCGIVERN, OSCAR J                   43243 NORMANDY AVENUE                                                                             STERLING HEIGHTS   MI   48314
MCGIVERN, THOMAS                    549 S DETROIT ST                                                                                  AU GRES            MI   48703‐9541
MCGIVERN, WAYNE R                   54 MEADOW LN                                                                                      ITHACA             MI   48847‐1846
MCGIVNEY, PATRICIA L                13184 ST GREGORY ST                                                          TECUMSEH ON N8N4M4
                                                                                                                 CANADA
MCGIVNEY, PATRICIA L                13184 SAINT GREGORYS RD                                                      WINDSOR ONTARIO
                                                                                                                 CANADA N8N‐4M4
MCGIVNEY, RICHARD F                  35614 IMPALA DR                                                                                  STERLING HTS       MI   48312‐3960
MCGLACKEN, DENNIS D                  125 CANTERBURY RD                                                                                PENDLETON          IN   46064
MCGLADE, TIMOTHY E                   4574 W 170TH ST                                                                                  LAWNDALE           CA   90260‐3209
MCGLAFLIN WILDA                      5734 ROCKY RUN DR                                                                                CENTREVILLE        VA   20120‐2869
MCGLASHAN, PEGGY J                   1235 SPANISH MOSS DR                                                                             BURLESON           TX   76028
MCGLASHAN, RONALD D                  1235 SPANISH MOSS DR                                                                             BURLESON           TX   76028‐9396
MCGLASHAN‐, PEGGY J                  1235 SPANISH MOSS DR                                                                             BURLESON           TX   76028‐9396
MCGLASHEN, DEAN O                    2166 BELLE MEADE DR                                                                              DAVISON            MI   48423‐2055
MCGLASHEN, ROBERT                    15549 CORTEZ BLVD                                                                                BROOKSVILLE        FL   34613‐6117
MCGLAUCHLEN, THOMAS W                PO BOX 267                                                                                       BROOKLYN           IN   46111‐0267
MCGLAUGHLIN, MARTHA C                675 KIRKWOOD DR                                                                                  WEST JEFFERSON     OH   43162‐1149
MCGLAUGHLIN, PENNY J                 7080 N OLD STATE AVE                                                                             HARRISON           MI   48625‐7627
MCGLAUGHLIN, WILBUR C                1087 BEAVER CREEK RD                                                                             NEWCASTLE          WY   82701‐9772
MCGLAUGHN JAMES (ESTATE OF) (479312) BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
MCGLAUN CHARLES ANDREW (429423)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                                      STREET, SUITE 600
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Name                           Address1                         Address2                          Address3   Address4         City            State Zip
MCGLAUN, CHARLES ANDREW        GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510‐2212
                                                                STREET, SUITE 600
MCGLAUN, DENNIS R              229 RACE ST                                                                                    XENIA           OH    45385‐2319
MCGLAUN, ROBERT M              770 E ALMA AVE                                                                                 FLINT           MI    48505‐2224
MCGLAUN, ROBERT M              2844 MACKIN RD                                                                                 FLINT           MI    48504
MCGLINCH, ROBERT J             775 GARDENWOOD DR                                                                              GREENVILLE      OH    45331‐2405
MCGLINCHEY PATRICK             APT 4                            4834 AVERY LANE                                               GRAND LEDGE     MI    48837‐8135
MCGLINCHEY STAFFORD PLLC       STE 1200                         601 POYDRAS STREET                                            NEW ORLEANS     LA    70130‐6057
MCGLINCHEY, HUGH D             1404 W SYLVAN DR                                                                               ROSE CITY       MI    48654‐9575
MCGLINCHEY, JOANNE C           5236 WINDRIDGE DRIVE                                                                           INDIANAPOLIS    IN    46226‐1448
MCGLINCHEY, RONALD             366 BRYANT HOLLOW RD                                                                           AMHERST         VA    24521‐4526
MCGLINCHEY, STEPHEN J          5327 JAIME LN                                                                                  FLUSHING        MI    48433‐2907
MCGLINCHEY, THOMAS P           43256 TALL PINES CT                                                                            STERLING HTS    MI    48314‐1700
MCGLINCHEY, WAYNE P            403 SHARON DR                                                                                  FLUSHING        MI    48433‐1507
MCGLOCKLIN KELSEY              MARIOTTI, DAVID                  5975 W SUNRISE BLVD STE 215                                   PLANTATION      FL    33313‐6813
MCGLOCKLIN KELSEY              MCGLOCKLIN, KELSEY               5975 W SUNRISE BLVD STE 215                                   PLANTATION      FL    33313‐6813
MCGLOCKLIN, DONALD L           470 BENDERFIELD DR                                                                             ZIONSVILLE      IN    46077‐1175
MCGLOCKLIN, KELSEY             KROHN & MOSS ‐ FL                5975 W SUNRISE BLVD STE 215                                   PLANTATION      FL    33313‐6813
MCGLOIN, MARIAN F              839 SHERWOOD DRIVE                                                                             ELYRIA          OH    44035‐3015
MCGLOINE WILLIAM               7907 WALLACE RD                  UPTD 03/29/06 GJ                                              BALTIMORE       MD    21222‐2610
MCGLOINE, MATTHEW J            4506 SYLVAN RD                                                                                 INDIANAPOLIS    IN    46228‐2847
MCGLOINE, WILLIAM C            7907 WALLACE RD                                                                                BALTIMORE       MD    21222‐2610
MCGLONE EDGAR R (661258)       BIFFERATO GENTILOTTI & BIDEN     PO BOX 2165                                                   WILMINGTON      DE    19899‐2165
MCGLONE IRENE                  4024 BUNKER CT                                                                                 MOUNT AIRY      MD    21771‐4571
MCGLONE JAMES P (493413)       PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                        PHILADELPHIA    PA    19103‐5446
MCGLONE'S AUTOMOTIVE           26080 S GOVERNORS HWY                                                                          MONEE           IL    60449‐8544
MCGLONE, CHARLEEN S            422 EASY ST                                                                                    SEBASTIAN       FL    32958‐4328
MCGLONE, JAMES P               PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                        PHILADELPHIA    PA    19103‐5446
MCGLONE, JOE H                 2724 HILLSIDE AVE                                                                              SPRINGFIELD     OH    45503‐5039
MCGLONE, RONALD A              8206 FAULKNER DR                                                                               DAVISON         MI    48423‐9535
MCGLONE, WILLIAM O             PO BOX 1025                                                                                    OLIVE HILL      KY    41164‐1025
MCGLORY, AMBROSE               3835 APPLE ST                                                                                  SAGINAW         MI    48601‐5563
MCGLORY, CHARLENE              633 W ELDRIDGE AVE                                                                             FLINT           MI    48505‐3292
MCGLOTHEN, DARRICK K           1210 FOX HILL DR                                                                               INDIANAPOLIS    IN    46228‐1310
MCGLOTHEN, SAMMIE H            2927 E 8TH ST                                                                                  ANDERSON        IN    46012‐4551
MCGLOTHEN, TOMMIE L            2927 E 8TH ST                                                                                  ANDERSON        IN    46012‐4551
MCGLOTHIN, BARBARA J           2105 NORTH FAIRFIELD DRIVE                                                                     MARION          IN    46953‐1270
MCGLOTHIN, BARBARA JEAN        2105 NORTH FAIRFIELD DRIVE                                                                     MARION          IN    46953‐1270
MCGLOTHIN, JAMES E             2121 HIGHLAND AVE                                                                              CINCINNATI      OH    45219‐3119
MCGLOTHIN, KATHLEEN L          1167 E NATIONAL RD                                                                             VANDALIA        OH    45377‐3213
MCGLOTHIN, MABLE               3233 CHALMETTE CT                                                                              FOREST HILL     TX    76140‐2509
MCGLOTHIN, NANCY L             1809 PINEDELL AVE                                                                              MONROE          NC    28110
MCGLOTHIN, PATRICK             3333 N RANGELINE RD                                                                            HUNTINGTON      IN    46750‐9023
MCGLOTHIN, WILLIE J            3414 SYLVANHURST RD                                                                            CLEVELAND HTS   OH    44112‐3042
MCGLOTHLEN DONALD L (509241)   EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR ,                               NEW HAVEN       CT    06510
                                                                265 CHURCH STREET
MCGLOTHLEN, DONALD L           EARLY LUDWICK & SWEENEY L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                                NEW HAVEN        CT   06508‐1866
                                                                265 CHURCH STREET
MCGLOTHLEN, JERRY L            7654 ROUND LAKE RD                                                                             LAINGSBURG      MI    48848‐9503
MCGLOTHLEN, KAY L              56784 FRANKLIN DR                                                                              THREE RIVERS    MI    49093‐9009
MCGLOTHLEN, SHERRIE L          1530 W HERBISON RD                                                                             DEWITT          MI    48820‐7916
MCGLOTHLIN ANGELA              860 TOOKIE RD                                                                                  JACKSONVILLE    FL    32234‐3123
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Name                             Address1                         Address2                         Address3   Address4         City                  State Zip
MCGLOTHLIN LEON (488645)         BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                               DALLAS                 TX 75219
MCGLOTHLIN, DUSTIN               306 OXFORD RD                                                                                 ANDERSON               IN 46012‐3925
MCGLOTHLIN, DUSTIN W.            306 OXFORD RD                                                                                 ANDERSON               IN 46012‐3925
MCGLOTHLIN, H M                  1580 SHERMAN AVE APT 810                                                                      EVANSTON                IL 60201‐4487
MCGLOTHLIN, JAMES L              1702 TRIGG LN                                                                                 WICHITA FALLS          TX 76306‐1934
MCGLOTHLIN, LEON                 BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                                DALLAS                 TX 75219
MCGLOTHLIN, NORMA J              5414 NATHAN PL                                                                                INDIANAPOLIS           IN 46237‐3038
MCGLOTHLIN, VIVIAN C             69 KEVIN DR.                                                                                  ANDERSON               IN 46016‐5842
MCGLOTHLIN, VIVIAN C             69 KEVIN DR                                                                                   ANDERSON               IN 46016‐5842
MCGLOUGHLIN, BRIAN J             809 GARFIELD AVE APT B                                                                        LIBERTYVILLE            IL 50048‐4720
MCGLOUGHLIN, BRIAN J             809 GARFIELD AVE                 APT B                                                        LIBERTYVILLE            IL 60048‐4720
MCGLOWN, DOROTHY W               115 CAROL LN                                                                                  TOLEDO                 OH 43615‐6020
MCGLOWN, LEONARD D               19748 PLAINVIEW AVE                                                                           DETROIT                MI 48219‐5101
MCGLOWN, MONTIETTE T             2632 SCOTTWOOD AVE                                                                            TOLEDO                 OH 43610‐1323
MCGLUGRITCH ROY (446224)         BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD             OH 44067
                                                                  PROFESSIONAL BLDG
MCGLUGRITCH, ROY                 BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD            OH 44067
                                                                  PROFESSIONAL BLDG
MCGLYNN & LUTHER 2007 RETAINER   NO ADVERSE PARTY
AGREEMENT
MCGLYNN & LUTHER LLC             500 N BROADWAY STE 1515                                                                       SAINT LOUIS           MO   63102‐2122
MCGLYNN, ALLENE P                6338 KLONDIKE RD                                                                              HILLSBORO             MO   63050‐2206
MCGLYNN, THOMAS B                7502 CARDINAL RD                                                                              LEXINGTON             MI   48450‐9628
MCGLYNN, THOMAS B                PO BOX 1625                                                                                   FORT WALTON BEACH     FL   32549
MCGOFF PYRO/NORCROSS             2200 NORCROSS PKWY STE 230                                                                    NORCROSS              GA   30071‐3670
MCGOHAN, WILLIAM E               6740 VIENNA WOODS TRL                                                                         DAYTON                OH   45459‐1242
MCGOLDRICK FRANCIS J (455705)    OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                      PHILADELPHIA          PA   19103‐3636
MCGOLDRICK, FRANCIS              OSHEA ROBERT LAW OFFICES OF      1818 MARKET ST STE 3520                                      PHILADELPHIA          PA   19103‐3636
MCGOLDRICK, JERRY B              9700 BLOOMHILL DR                                                                             HOLLY                 MI   48442‐8525
MCGOLDRICK, KATHLEEN             11646 MORGAN AVE                                                                              PLYMOUTH              MI   48170‐4439
MCGOLDRICK, KATHLEEN             11646 MORGAN                                                                                  PLYMOUTH              MI   48170‐4439
MCGOLDRICK, ROBERT A             18651 DORIS ST                                                                                LIVONIA               MI   48152‐1921
MCGOLDRICK, WILLIAM J            150 JUSTIN LN                                                                                 CHRISTIANSBURG        VA   24073
MCGONAGILL, JAMES                PORTER & MALOUF PA               4670 MCWILLIE DR                                             JACKSON               MS   39206‐5621
MCGONIGAL, DENNIS M              2629 PECKSNIFF RD                                                                             WILMINGTON            DE   19808‐3026
MCGONIGAL, ROSE M                42009 JIMA BAY                                                                                BOYNTON BEACH         FL   33436‐1952
MCGONIGAL, SANDRA                PO BOX 3305                                                                                   COKEDALE              CO   81082‐6505
MCGONIGLE, JAMES L               7937 DECKER CANYON DR UNIT 101                                                                LAS VEGAS             NV   89128‐3625
MCGONIGLE, LINDA L               1912 3RD ST                                                                                   EAST MOLINE           IL   61244‐2405
MCGONIGLE, MARY E                3 BANNISTER CT                                                                                POQUOSON              VA   23662‐1601
MCGOODWIN, JAMES R               PO BOX 121181                                                                                 FORT WORTH            TX   76121‐1181
MCGOOGAN PAMELA                  3100 TERESA DR                                                                                BIRMINGHAM            AL   35217‐1042
MCGOOGIN, ANJAIL S               GORBERG & ASSOCIATES DAVID J     100 CENTURY PKWY STE 305                                     MOUNT LAUREL          NJ   08054‐1182
MCGOOGIN, ARCENIA                GORBERG & ASSOCIATES DAVID J     100 CENTURY PKWY STE 305                                     MOUNT LAUREL          NJ   08054‐1182
MCGOOHAN, DOROTHY L              5 YALE CT                                                                                     JACKSON               NJ   08527‐2323
MCGOOKEY, HARRY C                4302 TIMBER LAKE LN                                                                           SANDUSKY              OH   44870‐7085
MCGORMAN, JOHN E                 5368 WINONA DR                                                                                TOLEDO                OH   43613‐2780
MCGORMAN, JOHN EDWARD            5368 WINONA DR                                                                                TOLEDO                OH   43613‐2780
MCGORMLEY, WILLIAM A             30944 BLOCK ST                                                                                GARDEN CITY           MI   48135‐1913
MCGORTY, EILEEN R                91 BROOKVIEW DR.                                                                              WEST PATERSON         NJ   07424‐2703
MCGORY, JOHN A                   507 ONEIDA VW                                                                                 HURON                 OH   44839‐1732
MCGORY, MICHAEL P                5627 SCOTWOOD DR                                                                              RANCHO PALOS VERDES   CA   90275‐4914
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Name                           Address1                              Address2                        Address3   Address4         City             State Zip
MCGORY, THOMAS C               1021 BROADWAY ST                                                                                  SANDUSKY          OH 44870‐2011
MCGORY, THOMAS W               5401 BOGART RD W                                                                                  CASTALIA          OH 44824‐9461
MCGOUGALL, BRUCE
MCGOUGH AUTO PARTS & SALES     6750 HONORAVILLE RD                                                                               GREENVILLE       AL 36037‐5401
MCGOUGH CATHERINE A            33 MILLBRIDGE ST                                                                                  PITTSBURGH       PA 15210‐1069
MCGOUGH OLDSMOBILE GMC ISUZU
MCGOUGH PONTIAC‐GMC            PO BOX 231059                                                                                     MONTGOMERY       AL    36123‐1059
MCGOUGH, CANDIS L              6376 W FRANCES RD                                                                                 CLIO             MI    48420‐8549
MCGOUGH, CANDIS LEE            6376 WEST FRANCES ROAD                                                                            CLIO             MI    48420‐8549
MCGOUGH, CLARETTA              1200 HUNTER AVE                                                                                   YPSILANTI        MI    48198‐3127
MCGOUGH, CURTISS               17037 STEPHENS DR                                                                                 EASTPOINTE       MI    48021‐1708
MCGOUGH, HARRIS                BEASLEY ALLEN CROW METHVIN PORTIS &   PO BOX 4160                                                 MONTGOMERY       AL    36103‐4160
                               MILES
MCGOUGH, JEWELL D              1142 7TH ST NE                                                                                    CARBON HILL      AL    35549‐4413
MCGOUGH, LARRY D               1427 EAST MUIR                                                                                    HAZEL PARK       MI    48030
MCGOUGH, LARRY G               151 TRAILS END                                                                                    MCLOUD           OK    74851‐8096
MCGOUGH, MICHAEL E             8961 PETZ LAKE CT                                                                                 IMLAY CITY       MI    48444‐9532
MCGOUGH, OWEN M                1333 E SQUARE LAKE RD                                                                             TROY             MI    48085‐3325
MCGOUGH, ROBERT J              6376 W FRANCES RD                                                                                 CLIO             MI    48420‐8549
MCGOUGH, ROBERT JERRY          6376 WEST FRANCES ROAD                                                                            CLIO             MI    48420‐8549
MCGOUGH, SHERRY A              151 TRAILS END                                                                                    MCLOUD           OK    74851‐8096
MCGOVERN, BRENDA J             2353 HOLLOWAY RD.                                                                                 HOLLAND          OH    43528
MCGOVERN, BRIAN R              2046 GERARD ST                                                                                    FLINT            MI    48507‐3532
MCGOVERN, CAROL L              109 VALERIE LN                                                                                    BEAR             DE    19701‐2567
MCGOVERN, GEORGE R             APT 1305                              1350 ALA MOANA BOULEVARD                                    HONOLULU         HI    96814‐4211
MCGOVERN, GERALD F             8 LEGION RD                                                                                       WESTON           MA    02493‐2153
MCGOVERN, HAROLD T             323 HYDER CIRCLE DR                                                                               PLAINWELL        MI    49080‐9587
MCGOVERN, HELEN T              22265 SOUTHERN BREEZE                                                                             ATHENS           AL    35613
MCGOVERN, JOHN C               1332 CASCADE CIR W                                                                                CANTON           OH    44708‐3979
MCGOVERN, JOHN C.              # 134                                 1332 CASCADE CIRCLE WEST                                    CANTON           OH    44708‐3979
MCGOVERN, JOHN M               39 FILLMORE ST                                                                                    SOUTH WEYMOUTH   MA    02190‐3027
MCGOVERN, JUDITH M             962 COLONIAL MEADOWS WAY                                                                          VIRGINIA BCH     VA    23454‐3143
MCGOVERN, JUDY K               6338 KNOB BEND DR                                                                                 GRAND BLANC      MI    48439‐7461
MCGOVERN, KATHLEEN E           1350 ALA MOANA BLVD APT 1305                                                                      HONOLULU         HI    96814‐4211
MCGOVERN, KENNETH M            6338 KNOB BEND DR                                                                                 GRAND BLANC      MI    48439‐7461
MCGOVERN, LAURA J              2046 GERARD ST                                                                                    FLINT            MI    48507‐3532
MCGOVERN, MARCIA K             524 BEECH STREET                                                                                  FRANKFORT        MI    49635‐9446
MCGOVERN, MARCIA K             524 BEECH ST                                                                                      FRANKFORT        MI    49635‐9446
MCGOVERN, MARGARET A           26 FAIRMONT AVE ‐ #1                                                                              WALTHAM          MA    02453‐7702
MCGOVERN, MARY T               1477 LONG POND RD APT 234                                                                         ROCHESTER        NY    14626‐4153
MCGOVERN, MICHAEL P            127 SWALLOW DRIVE                                                                                 DAYTON           OH    45415‐3524
MCGOVERN, SHERYL P             1601 S MARKET ST                                                                                  KOKOMO           IN    46902‐2236
MCGOVERN, TONI R               3508 37TH ST                                                                                      LUBBOCK          TX    79413‐2243
MCGOVERN, WILLIAM D            6345 KESTER AVE APT 301                                                                           VAN NUYS         CA    91411‐2024
MCGOWAN SR., DENNIS L          G4161 W COURT ST APT 6                                                                            FLINT            MI    48532‐3523
MCGOWAN ELIZA                  7643 N MERIDIAN AVE                                                                               FRESNO           CA    93720‐3607
MCGOWAN II, BILLY V            23523 HICKORY GROVE LN                                                                            NOVI             MI    48375‐3157
MCGOWAN III, JAMES L           11220 W FLORISSANT SUITE 135                                                                      FLORISSANT       MO    63033
MCGOWAN JAMES (446226)         BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH    44067
                                                                     PROFESSIONAL BLDG
MCGOWAN JANET                  17525 AUTEN RD                                                                                    GRANGER           IN   46530‐8508
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Name                              Address1                        Address2                      Address3   Address4         City               State Zip
MCGOWAN JERALD C (346542)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MCGOWAN JOHN J (477249)           WEITZ & LUXENBERG               180 MAIDEN LANE                                           NEW YORK           NY   10038
MCGOWAN JR, CHANCY                2021 CASTLE LN                                                                            FLINT              MI   48504‐5415
MCGOWAN JR, DEWITT                25896 GOLF POINTE DR                                                                      SOUTHFIELD         MI   48075‐1853
MCGOWAN JR, RAY L                 385 SEAGROVE LOOP                                                                         LINCOLN CITY       OR   97367‐5306
MCGOWAN JR, SMILEY                314 OVERPASS TRL SE                                                                       BOGUE CHITTO       MS   39629‐9412
MCGOWAN JR, SMILEY                4212 COMSTOCK AVE                                                                         FLINT              MI   48504‐2172
MCGOWAN MICHAEL J (493997)        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                  STREET, SUITE 600
MCGOWAN RONALD M JR (ESTATE OF)   NICHOLL LAW OFFICES PETER T     36 SOUTH CHARLES ST                                       BALTIMORE          MD 21201
(494674)
MCGOWAN SR., DENNIS L             APT 6                           4161 WEST COURT STREET                                    FLINT              MI   48532‐3523
MCGOWAN WILLARD                   2424 NW CAMELOT PL                                                                        BLUE SPRINGS       MO   64015‐2980
MCGOWAN, AGNES L                  1402 N HARRISON ST                                                                        WILMINGTON         DE   19806‐3114
MCGOWAN, AGNES L                  1402 HARRISON STREET                                                                      WILMINGTON         DE   19806‐3114
MCGOWAN, ALBERT E                 PO BOX 96                                                                                 WEBBERVILLE        MI   48892‐0096
MCGOWAN, ALEASA A                 100 BARRINGTON CT E                                                                       FRANKLIN           TN   37067‐5003
MCGOWAN, ALICE O                  263 BEATTIE AVE., APT. #1                                                                 LOCKPORT           NY   14094‐5648
MCGOWAN, ALICE O                  84 PRENTICE ST                                                                            LOCKPORT           NY   14094‐2122
MCGOWAN, ANGELA P                 7251 SE PRIVATE ROAD 3248                                                                 KERENS             TX   75144‐6210
MCGOWAN, ANNA B                   2826 MATHERS WAY                                                                          TWINSBURG          OH   44087‐2626
MCGOWAN, BETTY J                  2629 W COLUMBINE DR                                                                       PHOENIX            AZ   85029‐2560
MCGOWAN, BETTY J                  2629 WEST COLUMBINE RD                                                                    PHEONIX            AZ   85029‐2560
MCGOWAN, BILLIE J                 PO BOX 10338                                                                              BRADENTON          FL   34282‐0338
MCGOWAN, CATHERINE E              5630 DAISY ST                                                                             SIMI VALLEY        CA   93063‐3508
MCGOWAN, CHARLES R                32350 BROWN ST                                                                            GARDEN CITY        MI   48135‐3245
MCGOWAN, CHESTER L                5570 DRY RUN RD                                                                           MILFORD            OH   45150‐9720
MCGOWAN, CHRISTINA M              901 N VAN BUREN ST                                                                        WILMINGTON         DE   19806‐4536
MCGOWAN, COLLIS J                 1129 WEBB ST                    UNIT F2                                                   DETROIT            MI   48202
MCGOWAN, COURTNEY A               15463 CHAPEL ST                                                                           DETROIT            MI   48223‐1508
MCGOWAN, DAVID L                  208 BAY ST                                                                                DAVISON            MI   48423‐1114
MCGOWAN, DIANA L                  PO BOX 84                                                                                 ADRIAN             MI   49221
MCGOWAN, ELBERT                   5757 KIRKLEY DR.                                                                          JACKSON            MS   39206‐9206
MCGOWAN, ELIZABETH L              1872 GRAEFIELD RD               C/O LAURA MCGOWAN                                         BIRMINGHAM         MI   48009‐7543
MCGOWAN, ESSIE H                  5757 KIRKLEY DR                                                                           JACKSON            MS   39206‐2721
MCGOWAN, EUGENE V                 6014 CYPRESS PT                                                                           SANFORD            NC   27332‐8367
MCGOWAN, GARY L                   5029 WINSTON DR                                                                           SWARTZ CREEK       MI   48473‐1224
MCGOWAN, GARY LEE                 5029 WINSTON DR                                                                           SWARTZ CREEK       MI   48473‐1224
MCGOWAN, GARY S                   6841 WHARTON RD                                                                           HOLLAND            OH   43528‐8472
MCGOWAN, GARY SHERMAN             6841 WHARTON RD                                                                           HOLLAND            OH   43528‐8472
MCGOWAN, GORDON L                 3130 E SHERWOOD RD                                                                        WILLIAMSTON        MI   48895‐9630
MCGOWAN, GROVER L                 7025 HUNTERS RIDGE DR                                                                     PLAINFIELD         IN   46168‐7920
MCGOWAN, HAROLD G                 7404 REID RD                                                                              SWARTZ CREEK       MI   48473‐9436
MCGOWAN, HAZLE L                  BROWNWOOD CHAZEN & CANNON       525 B ST STE 1300                                         SAN DIEGO          CA   92101‐4421
MCGOWAN, HELEN C                  4717 DOLPHIN CAY LN S APT 506                                                             SAINT PETERSBURG   FL   33711‐4663
MCGOWAN, JAMES                    6075 CHESTNUT RIDGE RD                                                                    HUBBARD            OH   44425‐2812
MCGOWAN, JAMES C                  1044 LISA RUN DR                                                                          KERNERSVILLE       NC   27284‐2384
MCGOWAN, JAMES C                  APT 1W                          8549 WEST 151ST STREET                                    ORLAND PARK        IL   60462‐3464
MCGOWAN, JAMES C                  8549 WEST 151ST ST.             APT. #1 WEST                                              ORLAND PARK        IL   60462
MCGOWAN, JAMES CARROL             1044 LISA RUN DRIVE                                                                       KERNERSVILLE       NC   27284‐2384
MCGOWAN, JAMES E                  913 FLORIDA AVE                                                                           MARTINSBURG        WV   25401‐1723
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Name                             Address1                        Address2                      Address3   Address4         City                State Zip
MCGOWAN, JAMES L                 10267 HALLS FERRY RD                                                                      SAINT LOUIS          MO 63136‐4315
MCGOWAN, JANAY N                 25896 GOLF POINTE DR                                                                      SOUTHFIELD           MI 48075‐1853
MCGOWAN, JANETTE                 1984 MT SHASTA DRIVE                                                                      SAN PEDRO            CA 90732
MCGOWAN, JANETTE                 1984 MOUNT SHASTA DR                                                                      SAN PEDRO            CA 90732‐1528
MCGOWAN, JANIE BELLE             1281 NORTH AVE                                                                            PLAINFIELD           NJ 07062‐1724
MCGOWAN, JANIE BELLE             1281 NORTH AVE.                                                                           PLAINFIELD           NJ 07062‐1724
MCGOWAN, JENNIE S                6105 PENWOOD RD                                                                           MOUNT MORRIS         MI 48458‐2731
MCGOWAN, JERALD C                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                                 STREET, SUITE 600
MCGOWAN, JESSE C                 1033 CATALINA DR                                                                          DAYTON              OH   45449‐1649
MCGOWAN, JESSE L                 1301 VINE ST                                                                              NORMAN              OK   73072‐6004
MCGOWAN, JOHN B                  62 OLIVER ST                                                                              LOCKPORT            NY   14094‐4616
MCGOWAN, JOHN J                  WEITZ & LUXENBERG               180 MAIDEN LANE                                           NEW YORK            NY   10038
MCGOWAN, KATHLEEN                23 HYDE PARK                                                                              LOCKPORT            NY   14094‐4719
MCGOWAN, LAVERNE                 2036 DEXTER STREET                                                                        FLINT               MI   48503‐4573
MCGOWAN, LAVERNE                 2036 S DEXTER ST                                                                          FLINT               MI   48503‐4573
MCGOWAN, LEONARD R               PO BOX 215                                                                                ABERDEEN            OH   45101‐0215
MCGOWAN, MARIE K                 41966 BANBURY RD                                                                          NORTHVILLE          MI   48168‐2343
MCGOWAN, MARY A                  429 HUNTS BRIDGE RD                                                                       EASLEY              SC   29640‐7628
MCGOWAN, MARY L                  1382 CRANBROOK DR                                                                         SAGINAW             MI   48638‐5468
MCGOWAN, MICHAEL E               406 1ST AVE SW                                                                            GLEN BURNIE         MD   21061‐3459
MCGOWAN, MICHAEL J               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                                 STREET, SUITE 600
MCGOWAN, MICHAEL P               42220 MALBECK DR                                                                          STERLING HEIGHTS    MI   48314‐3042
MCGOWAN, MICHAEL R               1330 WEST WALNUT STREET                                                                   KOKOMO              IN   46901‐4216
MCGOWAN, PATRICIA M              PO BOX 215 MCGOWAN                                                                        ABERDEEN            OH   45101
MCGOWAN, PAUL J                  1566 DREXEL AVE NW                                                                        WARREN              OH   44485‐2116
MCGOWAN, ROBERT D                15418 YORKLEIGH DR                                                                        LANSING             MI   48906‐1367
MCGOWAN, RONALD M                NICHOLL LAW OFFICES PETER T     36 SOUTH CHARLES ST                                       BALTIMORE           MD   21201
MCGOWAN, RUTH                    3014 WILLIAMSON BRANCH RD                                                                 VAN LEER            TN   37181
MCGOWAN, RYAN K                  16526 BIRCH FOREST DR                                                                     WILDWOOD            MO   63011‐1831
MCGOWAN, TERESA R                16480 COUNTY ROAD F                                                                       WAUSEON             OH   43567‐9705
MCGOWAN, TERESA RENEE            16480 COUNTY ROAD F                                                                       WAUSEON             OH   43567‐9705
MCGOWAN, TIMOTHY E               16480 COUNTY ROAD F                                                                       WAUSEON             OH   43567‐9705
MCGOWAN, WILLIE P                2530 MILBOURNE AVE                                                                        FLINT               MI   48504‐2840
MCGOWAN‐MILLER, NANCY            3224 STEVENSON ST                                                                         FLINT               MI   48504‐3297
MCGOWAN‐STUBBLEFI EILEEN         2705 ANTIQUA CT                                                                           THOMPSONS STATION   TN   37179‐5016
MCGOWAN‐STUBBLEFIELD, EILEEN M   2705 ANTIQUA CT                                                                           THOMPSONS STATION   TN   37179‐5016
MCGOWEN MICHAEL                  MCGOWEN, MICHAEL                16545 WILLOW WALK DRIVE                                   LOCKPORT            IL   60441
MCGOWEN, ALAN G                  309 RADER DR                                                                              MONROE              LA   71203‐8539
MCGOWEN, ALAN GLENN              6700 JEFFERSON PAIGE RD 23                                                                SHREVEPORT          LA   71119
MCGOWEN, BILLY F                 41 PALM LANE DR                                                                           WINTER HAVEN        FL   33881‐8125
MCGOWEN, CHARLES L               4510 SEYMOUR LAKE RD                                                                      OXFORD              MI   48371‐4025
MCGOWEN, DONALD C                3305 MUIRFIELD CIR                                                                        WHITE LAKE          MI   48383‐2354
MCGOWEN, JACKSON R               5158 SALERNO DR                                                                           FLINT               MI   48507‐4024
MCGOWEN, MARTIN E                4236 LAKE KNOLLS DR                                                                       OXFORD              MI   48371‐5414
MCGOWEN, MELIEDA R.              911 MISSION RD                                                                            HARRISONVILLE       MO   64701‐2961
MCGOWEN, MICHAEL                 16545 WILLOW WALK DR                                                                      LOCKPORT            IL   60441‐1106
MCGOWEN, ROBERT W                5749 HONERT RD                                                                            ORTONVILLE          MI   48462‐9609
MCGOWEN, ROBIN C                 12001 BIG LAKE RD                                                                         DAVISBURG           MI   48350‐3440
MCGOWEN, WESLEY C                1392 OSBURN RD                                                                            CHICKAMAUGA         GA   30707‐2766
MCGOWN, R T                      GUY WILLIAM S                   PO BOX 509                                                MCCOMB              MS   39649‐0509
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Name                               Address1                            Address2                         Address3   Address4              City            State Zip
MCGRADY VIRGINIA                   1548 LEE BLVD                                                                                         ORANGEBURG       SC 29118‐3152
MCGRADY WILLIAM                    MCGRADY, WILLIAM
MCGRADY WILLIAM                    SATURN CORP
MCGRADY WILLIAM B                  2417 MORTON ST                                                                                        PITTSBURGH      PA   15234‐2957
MCGRADY, BEVERLY S                 1508 HENDRICKS ST                                                                                     ANDERSON        IN   46016
MCGRADY, CLIFFORD E                3906 BLACKINGTON AVE                                                                                  FLINT           MI   48532‐5003
MCGRADY, DAVID C                   RR 1 BOX 182F                                                                                         LE ROY          WV   25252
MCGRADY, DOROTHY J                 1630 W 8TH ST                                                                                         ANDERSON        IN   46016‐2635
MCGRADY, DOUGLAS R                 1666 SNYDER RD                                                                                        EAST LANSING    MI   48823‐3748
MCGRADY, JAMES E                   8949 NC HIGHWAY 113                                                                                   PINEY CREEK     NC   28663‐9079
MCGRADY, JOSH                      3912 WEST 25TH STREET                                                                                 ANDERSON        IN   46011‐4549
MCGRADY, MAX R                     1316 RANIKE DR                                                                                        ANDERSON        IN   46012‐2744
MCGRAIL GREGORY (410638) ‐         WILENTZ GOLDMAN & SPITZER           88 PINE STREET , WALL STREET                                      NEW YORK        NY   10005
MACCARONE ANTHONY                                                      PLAZA
MCGRAIL GREGORY (410638) ‐ MORAN   WILENTZ GOLDMAN & SPITZER           88 PINE STREET , WALL STREET                                      NEW YORK        NY 10005
PATRICK                                                                PLAZA
MCGRAIL, JOHN J                    PO BOX 335                                                                                            LEICESTER       MA   01524‐0335
MCGRAIL, MAUREEN                   1743 WICKHAM ST 164                                                                                   ROYAL OAK       MI   48073
MCGRAIL, MICHAEL F                 9158 N DIXBORO RD                                                                                     SOUTH LYON      MI   48178‐9678
MCGRAIN, GERALD R                  1287 KENDRA LN                                                                                        HOWELL          MI   48843
MCGRANAGHAN, JAMES                 DANDENONG                                                                       DANDENONG AUSTRALIA
MCGRANDY SR, GEORGE A              5612 LAIRD LAKE RD                                                                                    HALE            MI   48739‐9166
MCGRANDY, ALVIN A                  3320 CURTIS RD                                                                                        BIRCH RUN       MI   48415‐9060
MCGRANDY, JEROME W                 5180 BAKER RD                                                                                         BRIDGEPORT      MI   48722‐9592
MCGRANDY, PHILIP A                 3774 BARNARD RD                                                                                       SAGINAW         MI   48603‐2511
MCGRANDY, ROBERT L                 5340 LAIRD LAKE RD                                                                                    HALE            MI   48739‐9163
MCGRANE III, WILLIAM J             774 INVERNESS CT                                                                                      TROY            MI   48083‐5157
MCGRANE INSTITUTE INC              250 GRANDVIEW DR STE 200                                                                              FORT MITCHELL   KY   41017‐5646
MCGRANE LOGAN                      MCGRANE, LOGAN                      2068 SABLE                                                        TRIPOLI         IA   50676
MCGRANE, LOGAN                     2068 SABLE AVE                                                                                        TRIPOLI         IA   50676‐9529
MCGRATH AUTOMOTIVE GROUP, INC.     PATRICK MCGRATH                     1616 51ST ST NE                                                   CEDAR RAPIDS    IA   52402‐2447
MCGRATH AUTOMOTIVE GROUP, INC.     MICHAEL MCGRATH                     4610 CENTER POINT RD NE                                           CEDAR RAPIDS    IA   52402‐2412
MCGRATH CHRISTOPHER                NEED BETTER ADDRESS 09/27/06        385 JORDAN ROAD                                                   TROY            NY   12180
MCGRATH JACK S (626650)            GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK         VA   23510
                                                                       STREET, SUITE 600
MCGRATH JEANETTE                   MCGRATH, JEANETTE                   30 E BUTLER AVE                                                   AMBLER          PA 19002‐4514
MCGRATH MOTORS INC                 1411 E MAIN ST                                                                                        SAINT CHARLES   IL 60174‐2342
MCGRATH THOMAS F                   ANGELOS PETER G                     100 N CHARLES STREET ONE                                          BALTIMORE       MD 21201
                                                                       CHARLES CENTER
MCGRATH THOMAS F JR (497717)       ANGELOS PETER G                     100 N CHARLES STREET , ONE                                        BALTIMORE       MD 21201
                                                                       CHARLES CENTER
MCGRATH VONDEL A                   MCGRATH, VONDEL A                   27240 TURNBERRY LANE SUITE 200                                    VALENCIA        CA 91355

MCGRATH, ANNA                      1 ABBOTT RD APT 171                                                                                   ELLINGTON       CT   06029‐3870
MCGRATH, ANTOINETTE M              2708 EXECUTIVE CT                                                                                     KOKOMO          IN   46902‐3014
MCGRATH, BEULAH A                  210 JUNIPER DR                                                                                        DAVISON         MI   48423‐1810
MCGRATH, BRUCE A                   7444 WILSON RD                                                                                        MONTROSE        MI   48457‐9171
MCGRATH, DANIEL PATRICK            LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                        BIRMINGHAM      MI   48009‐5394
                                                                       406
MCGRATH, DAVID H                   509 DALTON RD                                                                                         SKANDIA         MI 49885‐9403
MCGRATH, DAVID J                   ROUTE 1                             BOX 146                                                           CRYSTAL         MI 48818
MCGRATH, DAVID R                   6009 JESS THELMA DR                                                                                   GOSHEN          OH 45122‐9406
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Name                               Address1                       Address2                        Address3   Address4         City             State Zip
MCGRATH, DONALD H                  269 WHALEN RD                                                                              MASSENA           NY 13662‐3486
MCGRATH, EDITH N                   1 LINCOLN DR                   C/O CAROL A ONDER                                           LOCKPORT          NY 14094‐5549
MCGRATH, GARY M                    7332 HOLLOWAY DR                                                                           DAVISON           MI 48423‐9315
MCGRATH, JACK S                    GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510‐2212
                                                                  STREET, SUITE 600
MCGRATH, JAMES B                   909 CALIB CT                                                                               FRANKLIN         TN   37067‐1372
MCGRATH, JAMES D                   909 CALIB CT                                                                               FRANKLIN         TN   37067‐1372
MCGRATH, JAMES M                   10795 W REMUS RD                                                                           REMUS            MI   49340‐9666
MCGRATH, JAMES P                   1263 NE TUDOR RD                                                                           LEES SUMMIT      MO   64086‐6735
MCGRATH, JAMES T                   2939 HALLOCK YOUNG RD SW                                                                   WARREN           OH   44481‐9278
MCGRATH, JOHN A                    73355 GOULD RD                                                                             BRUCE TWP        MI   48065‐3114
MCGRATH, JOHN A.                   73355 GOULD RD                                                                             BRUCE TWP        MI   48065‐3114
MCGRATH, JOHN G                    313 W 12TH AVE                                                                             CONSHOHOCKEN     PA   19428‐1465
MCGRATH, JOHN P                    316 CRYSTAL ST                                                                             MILFORD          MI   48381‐2039
MCGRATH, KENNETH J                 16 NORTH ST                                                                                FRAMINGHAM       MA   01701‐3508
MCGRATH, KEVIN                     3778 COVENTRY LN                                                                           BOCA RATON       FL   33496‐4057
MCGRATH, LEE                       13225 BANDY RD                                                                             ALLIANCE         OH   44601‐9263
MCGRATH, LILLIAN M                 2812 LAKEHOLLOW LANE                                                                       FLOWER MOUND     TX   75028
MCGRATH, LORRAINE L                7729 CHESAPEAKE DR W                                                                       INDIANAPOLIS     IN   46236‐8699
MCGRATH, LUCILLE J                 3789 LONG GROVE LN                                                                         PORT ORANGE      FL   32129‐8616
MCGRATH, MAE M                     8231 SW 105TH PLACE                                                                        OCALA            FL   34481‐9131
MCGRATH, MARGARET                  7368 WHISTLE RDG SW            C/O ANN M CALKINS                                           BYRON CENTER     MI   49315‐9092
MCGRATH, MARIE A                   17705 HARPER ROAD                                                                          TINLEY PARK      IL   60487‐2141
MCGRATH, MARION C                  26 RANAUDO STREET                                                                          WATERBURY        CT   06708‐4704
MCGRATH, MARION C                  26 RANAUDO ST                                                                              WATERBURY        CT   06708‐4704
MCGRATH, MARY J                    37844 CHASE COURT                                                                          LIVONIA          MI   48150‐5041
MCGRATH, MELBA K                   567 BUSCH FOREST LN                                                                        FENTON           MO   63026‐4038
MCGRATH, MICHAEL E                 2972 MAPLE RD                                                                              NEWFANE          NY   14108
MCGRATH, NANCY J                   160 3RD ST                                                                                 CARO             MI   48723‐9249
MCGRATH, NANCY P                   152 HAMBURG RD                                                                             TRANSFER         PA   16154‐2512
MCGRATH, RICHARD K                 927 RAMONA AVE                                                                             SALT LAKE CITY   UT   84105
MCGRATH, RICHARD L                 316 HEDSTROM DR                                                                            EGGERTSVILLE     NY   14226‐2528
MCGRATH, ROBERT T                  31 URBAN DR                                                                                MASSENA          NY   13662‐2701
MCGRATH, TERRENCE C                38242 AVONDALE ST                                                                          WESTLAND         MI   48186‐3830
MCGRATH, THOMAS R                  PO BOX 414467                                                                              KANSAS CITY      MO   64141‐4467
MCGRATH, VICTOR J                  7300 HUCKLEBERRY LN                                                                        CINCINNATI       OH   45242‐4917
MCGRATH, WILLIAM D                 2120 OAKWOOD DR                                                                            TROY             MI   48085‐3892
MCGRATH, WILLIAM P                 2982 E BAYARD STREET EXT                                                                   SENECA FALLS     NY   13148‐8744
MCGRATH, WILLIAM P                 341 LONE PINE CIR                                                                          ROCHESTER        MI   48307‐6037
MCGRAW ALESIA                      C/O MCGRAW‐WEBB CHEVROLET      29 CAMDEN BY PASS                                           CAMDEN           AL   36726
MCGRAW DONALD                      4561 PARADISE ROAD                                                                         BENTON           MS   39039‐8140
MCGRAW DOONAN DWIGHT               245 SAINT JAMES WAY                                                                        NAPLES           FL   34104‐6715
MCGRAW ELECTRIC                    DIV OF SACHS ELECTRIC          PO BOX 958890                                               SAINT LOUIS      MO   63195‐8890
MCGRAW ELECTRIC COMPANY OF MIC     12201 MERRIMAN RD                                                                          LIVONIA          MI   48150‐1912
MCGRAW GRADY W (429424)            GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA   23510
                                                                  STREET, SUITE 600
MCGRAW HAROLD FREDERICK (498846)   BARON & BUDD                   PLAZA SOUTH TWO ‐ SUITE 200 ‐                               CLEVELAND        OH 44130
                                                                  7261 ENGLE ROAD
MCGRAW HILL                        HAROLD MCGRAW III              1221 AVENUE OF THE AMERICAS                                 NEW YORK         NY 10020
MCGRAW HILL CO INC                 250 OLD WILSON BRIDGE RD                                                                   WORTHINGTON      OH 43085
MCGRAW HILL COMPANIES, INC.        VERNON CLARK                   148 PRINCETON HIGHTSTOWN RD                                 EAST WINDSOR     NJ 08520‐1412
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Name                       Address1                           Address2                        Address3   Address4         City               State Zip
MCGRAW HILL NRI SCHOOLS    4401 CONNETICUT AVE NW                                                                         WASHINGTON          DC 20008
MCGRAW HILL PUBLI/NJ       PRINCETON ROAD                                                                                 HIGHTSTOWN          NJ 08520
MCGRAW JAMES (459201)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                              STREET, SUITE 600
MCGRAW JR, HAROLD L        521 FRANKLIN AVE                                                                               BALTIMORE          MD 21221‐6720
MCGRAW JR, PAUL E          5017 LUCASVILLE MINFORD RD                                                                     MINFORD            OH 45653‐8772
MCGRAW, ALBERTA E          724 W BROADWAY ST                                                                              ALEXANDRIA         IN 46001‐1723
MCGRAW, ALLISON S
MCGRAW, ANGELINE           4600 GREGORY ROAD                                                                              GOODRICH           MI   48438‐8910
MCGRAW, ANTHONY E          16155 ONEAL RD                                                                                 ATHENS             AL   35614‐5132
MCGRAW, BARBARA J          8055 VALLEY FARMS CIR                                                                          INDIANAPOLIS       IN   46214‐1507
MCGRAW, BERNARD M          12081 MCKINLEY RD                                                                              MONTROSE           MI   48457‐9728
MCGRAW, BERNICE M          410 W LINDEN AVE                                                                               MIAMISBURG         OH   45342‐2230
MCGRAW, BILLY
MCGRAW, BOBBY DANIEL       4118 SCHOOL ST                                                                                 METAMORA           MI   48455
MCGRAW, CAROLYN S          2539 COLUMBUS BLVD                                                                             KOKOMO             IN   46901‐6457
MCGRAW, CHARLES            640 LOVE RD                                                                                    MARION             LA   71260‐4708
MCGRAW, CHARLES E          15250 ELK RIVER MILLS RD                                                                       ATHENS             AL   35614‐4746
MCGRAW, CHARLES H          640 LOVE RD                                                                                    MARION             LA   71260‐4708
MCGRAW, DAVID              GUY WILLIAM S                      PO BOX 509                                                  MCCOMB             MS   39649‐0509
MCGRAW, DAVID L            28656 BAYBERRY PARK DR                                                                         LIVONIA            MI   48154‐3871
MCGRAW, DEBBIE             219 GRANT LN                                                                                   BLUE SPRINGS       MS   38828‐9642
MCGRAW, DONNA MARIE        3118 GREENBRIAR ROAD                                                                           ANDERSON           IN   46011‐2302
MCGRAW, FRANK ELGIN        G 7052 CALKINS RD                                                                              FLINT              MI   48532
MCGRAW, GERALD G           30830 ISLAND DR                                                                                ROCKWOOD           MI   48173‐9547
MCGRAW, GRADY W            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MCGRAW, HAROLD FREDERICK   BARON & BUDD                       PLAZA SOUTH TWO ‐ SUITE 200 ‐                               CLEVELAND          OH 44130
                                                              7261 ENGLE ROAD
MCGRAW, HAROLD R           3586 W EDMONDS RD                                                                              LAKE CITY          MI   49651‐8300
MCGRAW, HELEN M            1943 DIVISION ST                                                                               SAGINAW            MI   48602‐1810
MCGRAW, HERMAN             23241 NORWOOD ST                                                                               OAK PARK           MI   48237
MCGRAW, HOWARD R           1501 SUTTON RD                                                                                 ADRIAN             MI   49221‐9380
MCGRAW, JACKIE L           2539 COLUMBUS BLVD                                                                             KOKOMO             IN   46901‐6457
MCGRAW, JAMES              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MCGRAW, JAMES L            35 NONA DR                                                                                     TROTWOOD           OH   45426‐3010
MCGRAW, JAMES T            25 E BALBACH AVE                                                                               NEW CASTLE         DE   19720‐4069
MCGRAW, JEFFREY M          642 LOCHERN TER                                                                                BEL AIR            MD   21015‐5769
MCGRAW, JEFFREY MICHAEL    3544 GRIER NURSERY RD # C                                                                      STREET             MD   21154‐1326
MCGRAW, JOE E              PO BOX 2263                                                                                    ANDERSON           IN   46018‐2263
MCGRAW, JOE E              P.O. BOX 2263                                                                                  ANDERSON           IN   46018‐2263
MCGRAW, JOHN H             121 CAPLIS SLIGO RD                                                                            BOSSIER CITY       LA   71112‐9841
MCGRAW, LINDA B            14 DANBURY DR                                                                                  BALLSTON LAKE      NY   12019‐9240
MCGRAW, MARGARET W         5182 N 800 W                                                                                   SHARPSVILLE        IN   46068‐9271
MCGRAW, MARTHA A           3586 W EDMONDS RD                                                                              LAKE CITY          MI   49651‐8300
MCGRAW, MATTHEW F          9107 ANN MARIA BLVD                                                                            GRAND BLANC        MI   48439
MCGRAW, MATTHEW FRED       9107 ANN MARIA BLVD                                                                            GRAND BLANC        MI   48439
MCGRAW, MAUREEN V          1365 MAHAN DENMAN RD                                                                           NORTH BLOOMFIELD   OH   44450
MCGRAW, MICHAEL            2527 BRIARCLIFFE AVE                                                                           CINCINNATI         OH   45212‐1303
MCGRAW, MICHAEL F          3475 EAST LAKE ROAD                                                                            CLIO               MI   48420‐7932
MCGRAW, MICHAEL FLOYD      3475 EAST LAKE ROAD                                                                            CLIO               MI   48420‐7932
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Name                               Address1                        Address2                      Address3   Address4            City               State Zip
MCGRAW, NETTIE P                   2343 GOLETA AVE                                                                              YOUNGSTOWN          OH 44504‐1329
MCGRAW, RANDALL R                  31 RED MAPLE DRIVE                                                                           NEWPORT NEWS        VA 23605‐3257
MCGRAW, RICHARD A                  707 N WOODBRIDGE ST APT 2                                                                    SAGINAW             MI 48602‐4595
MCGRAW, RICHARD D                  2800 W BURGEWOOD DR                                                                          MUNCIE              IN 47304‐2627
MCGRAW, ROBERT L                   555 CIRCLE DR                                                                                FAIRMOUNT           IN 46928‐1963
MCGRAW, ROBERT M                   1353 QUAKER CHURCH RD                                                                        STREET              MD 21154‐1713
MCGRAW, ROBERT R                   5341 FIELDCREST                                                                              SHELBY TOWNSHIP     MI 48316‐5209
MCGRAW, ROGER M                    164 EAST ADAMS STREET                                                                        IONIA               MI 48846‐1640
MCGRAW, RUBY N                     7052 CALKINS RD                                                                              FLINT               MI 48532
MCGRAW, RUSSELL B                  776 E 24TH ST                                                                                CHESTER             PA 19013‐5212
MCGRAW, SUSANA                     2009 MORRIS ST                                                                               SAGINAW             MI 48601‐3920
MCGRAW, SUSANA                     2009 MORRIS                                                                                  SAGINAW             MI 48601
MCGRAW, THERESA J                  160 STEEPLECHASE                                                                             WILLOUGHBY HILLS    OH 44092‐2674
MCGRAW, ULYSEE                     1608 COSTELLO DR                                                                             ANDERSON            IN 46011‐3109
MCGRAW, VICKY                      1821 PRIBOTH RD LOT 192                                                                      MANHATTAN           KS 66502‐8601
MCGRAW, WILLIAM E                  1595 JUSTICE RD                                                                              AFTON               TN 37616‐3427
MCGRAW‐HILL COMPANIES              PO BOX 72477020                                                                              PHILADELPHIA        PA 19170‐0001
MCGRAW‐HILL COMPANIES INC, THE
MCGRAW‐HILL COMPANIES INC, THE     5435 CORPORATE DR STE 300                                                                    TROY               MI 48098‐2624
MCGRAW‐HILL INTERNATIONAL          SOI ASOKE SUKHUMVIT 21 RD       KLONGTOEYNUA WATTANA 10110               BANGKOK THAILAND
ENTERPRISES INC                                                                                             THAILAND
MCGRAW‐WEBB CHEVROLET, INC.        29 CAMDEN BY‐PASS                                                                            CAMDEN             AL   36726
MCGRAW‐WEBB CHEVROLET, INC.        ALESIA MCGRAW                   29 CAMDEN BY‐PASS                                            CAMDEN             AL   36726
MCGRAY, AUBREY L                   51 KNOLLWOOD RD                                                                              BURLINGTON         CT   06013‐2305
MCGREAL, FRANCIS (ESTATE OF)       DEARIE & ASSOCIATES JOHN C      515 MADISON AVE RM 1118                                      NEW YORK           NY   10022‐5456
MCGREAVY JR, ROBERT A              6336 SEBA RD                                                                                 RAVENNA            MI   49451
MCGREAVY JR., ROBERT A             6336 SEBA RD                                                                                 RAVENNA            MI   49451‐9104
MCGREEVY, BOBBY L                  3065 CORONET CT                                                                              SPRING HILL        FL   34609‐3624
MCGREEVY, BOBBY L                  3065 CORONET COURT                                                                           SPRING HILL        FL   34609‐4609
MCGREEVY, EARL W                   1100 PERSIMMON DR                                                                            PALM HARBOR        FL   34683‐5525
MCGREEVY, HELEN D                  79 ONTARIO ST                                                                                LOCKPORT           NY   14094‐2832
MCGREEVY, JEAN L                   1100 PERSIMMON DRIVE                                                                         PALM HARBOR        FL   34683
MCGREEVY, MICHAEL J                1222 LETICA DR                                                                               ROCHESTER          MI   48307‐6084
MCGREGGORY, WILLIAM                COLOM LAW FIRM                  605 2ND AVE N                                                COLUMBUS           MS   39701‐4513
MCGREGOR CONSTRUCTION INC          JOHN MCGREGOR                   2704 W 11TH ST                                               ERIE               PA   16505
MCGREGOR DEBBIE                    8645 FREY RD                                                                                 PLEASANT PLAINS    IL   62677‐3960
MCGREGOR HAROLD N (401261)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                                   STREET, SUITE 600
MCGREGOR PTA                       MCGREGOR ELEMENTARY SCHOOL      1101 1ST ST                                                  ROCHESTER          MI   48307‐1891
MCGREGOR SCHOOL OF ANTIOCH UNV     800 LIVERMORE ST                                                                             YELLOW SPRINGS     OH   45387‐1608
MCGREGOR TIRE LUBE & AUTO CENTER   106 S MAIN ST                                                                                MC GREGOR          TX   76657‐1605
MCGREGOR, ANTHONY R                410 GREENVALE RD                                                                             SOUTH EUCLID       OH   44121‐2311
MCGREGOR, BARBARA                  5109 N 41ST ST                                                                               MILWAUKEE          WI   53209‐5210
MCGREGOR, BARBARA A                6500 BONNIE DR                                                                               FLUSHING           MI   48433‐2310
MCGREGOR, BRENDA                   155 OLD FARMERS ROAD                                                                         CLARKSVILLE        TN   37043
MCGREGOR, CAROLYN R                10320 WESTCHESTER AVE                                                                        CLEVELAND          OH   44108‐3462
MCGREGOR, CHARLES F                226 SKYRIDGE LN                                                                              ESCONDIDO          CA   92026‐1202
MCGREGOR, CHARLES R                3421 GAIL CT                                                                                 STOCKTON           CA   95206‐5608
MCGREGOR, CRAIG D                  2148 BRAMBLEWOOD DR                                                                          BURTON             MI   48519‐1116
MCGREGOR, CYNTHIA O                383 AVANTI LN                                                                                HIGHLAND           MI   48357‐4877
MCGREGOR, DAVID A                  1434 S VERNON RD                                                                             CORUNNA            MI   48817‐9555
MCGREGOR, DAVID B                  1917 DENNINGS RD                                                                             NEW WINDSOR        MD   21776
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Name                      Address1                           Address2                      Address3        Address4         City              State Zip
MCGREGOR, DAVID T         5196 NASH DR                                                                                      FLINT              MI 48506‐1581
MCGREGOR, DELPHINE J      2 PURPLE HAWK CT                                                                                  MONTICELLO         GA 31064‐8502
MCGREGOR, DON C           155 OLD FARMERS RD                                                                                CLARKSVILLE        TN 37043‐4034
MCGREGOR, DONALD E        940 SANDERS ST                                                                                    INDIANAPOLIS       IN 46203‐1818
MCGREGOR, DONALD H        31464 ANNAPOLIS ST                                                                                WAYNE              MI 48184‐2267
MCGREGOR, DONALD M        4991 SCOTT ST                                                                                     NEWTON FALLS       OH 44444‐9405
MCGREGOR, EDWARD J        PO BOX 133                                                                                        RAYMONDVILLE       NY 13678‐0133
MCGREGOR, EDWARD JAMES    PO BOX 133                                                                                        RAYMONDVILLE       NY 13678‐0133
MCGREGOR, EILEEN S        2641 GATELY DR W APT 2008                                                                         WEST PALM BEACH    FL 33415‐7967
MCGREGOR, ELLEN           226 SKYRIDGE LN                                                                                   ESCONDIDO          CA 92026‐1202
MCGREGOR, EUGENE          273 DORSEY RD                                                                                     LOUISBURG          NC 27549
MCGREGOR, FLOYD S         3978 SAWMILL RD                                                                                   GLENNIE            MI 48737‐9380
MCGREGOR, GREG M          PO BOX 209                                                                                        MOULTON            AL 35650‐0209
MCGREGOR, HAROLD N        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                             STREET, SUITE 600
MCGREGOR, HENRY F         37 GEORGETOWN SQ                                                                                  EUCLID            OH   44143‐2411
MCGREGOR, JAMES W         383 AVANTI LN                                                                                     HIGHLAND          MI   48357‐4877
MCGREGOR, JEANNIE R       1434 S VERNON RD                                                                                  CORUNNA           MI   48817‐9555
MCGREGOR, JERRY L         3310 LYNN DR                                                                                      FRANKLIN          OH   45005
MCGREGOR, JUDY A          2148 BRAMBLEWOOD DR                                                                               BURTON            MI   48519‐1116
MCGREGOR, KEITH F         261 BANTA RD                                                                                      WEST MANCHESTER   OH   45382‐9749
MCGREGOR, LAWRENCE D      27832 THOMAS AVE                                                                                  WARREN            MI   48092‐3591
MCGREGOR, LOTTIE          PO BOX 43                                                                                         LUPTON            MI   48635‐0043
MCGREGOR, LOTTIE A        PO BOX 43                                                                                         LUPTON            MI   48635‐0043
MCGREGOR, LOTTIE A        3358 MAIN STREET‐P.O. BOX 43                                                                      LUPTON            MI   48635‐0043
MCGREGOR, MARGARET M      209 SKYLOCH DR W 3                                                                                DUNEDIN           FL   34698
MCGREGOR, MARK J          PO BOX 535                                                                                        SELMA             IN   47383‐0535
MCGREGOR, MARVIN A        511 N 2ND ST 1                                                                                    VINCENNES         IN   47591
MCGREGOR, NORENA J        261 BANTA RD                                                                                      WEST MANCHESTER   OH   45382‐9749
MCGREGOR, RALPH E         185 OAKLAND BLVD                                                                                  STOCKBRIDGE       GA   30281‐3886
MCGREGOR, RHEA J          212 E MAIN ST                                                                                     ROSE CITY         MI   48654
MCGREGOR, ROBERT D        195 HUDGEN RD                                                                                     NEWNAN            GA   30265‐1524
MCGREGOR, ROBERT R        446 N PERRY CREEK RD                                                                              MIO               MI   48647‐8710
MCGREGOR, SASHA A         4991 SCOTT ST                                                                                     NEWTON FALLS      OH   44444‐9405
MCGREGOR, TERESA F        4838 W 400 S                                                                                      RUSSIAVILLE       IN   46979
MCGREGOR, THOMAS J        2743 W 17TH ST LOT 25                                                                             MARION            IN   46953‐9424
MCGREGOR, WAYNE A         PO BOX 282                         527 SANBORN RD                                                 BARTON CITY       MI   48705‐0282
MCGREGOR‐SUTTER, GAIL A   39536 WINDSOME DR                                                                                 NORTHVILLE        MI   48167‐3942
MCGREGORS CARGO           1300 ROBERSON RD                                                                                  LYON              MS   38645‐9740
MCGREGORY, DONALD E       2135 COUNTY ROAD 241                                                                              MOULTON           AL   35650‐8505
MCGRELLIS MARK (486000)   JACOBS & CRUMPLAR P.A.             PO BOX 1271                   2 EAST 7TH ST                    WILMINGTON        DE   19899‐1271
MCGREW JR, ARTHUR L       7352 NOEL RD                                                                                      INDIANAPOLIS      IN   46278‐1515
MCGREW KENNETH (505486)   BRAYTON PURCELL                    PO BOX 6169                                                    NOVATO            CA   94948‐6169
MCGREW WARREN (507565)    COON BRENT W                       PO BOX 4905                                                    BEAUMONT          TX   77704‐4905
MCGREW WILFORD M          C/O GOLDBERG, PERSKY & WHITE, PC   1030 FIFTH AVENUE                                              PITTSBURGH        PA   15219
MCGREW, ALTON C           211 S MASSENGILL ST N                                                                             HAZLEHURST        MS   39083
MCGREW, BERNICE L         2625 PRIMROSE                                                                                     JONESBORO         AR   72401
MCGREW, BERNICE L         2625 PRIMROSE ST                                                                                  JONESBORO         AR   72401‐4565
MCGREW, BILLIE J          508 MANTLEBROOK DR                                                                                DESOTO            TX   75115‐2933
MCGREW, BILLY D           13505 TORREY RD                                                                                   FENTON            MI   48430‐1062
MCGREW, BILLY DELL        13505 TORREY RD                                                                                   FENTON            MI   48430‐1062
MCGREW, DAVID             3377 AUSTIN RAYMER RD                                                                             BOWLING GREEN     KY   42101‐9365
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Name                         Address1                             Address2                      Address3              Address4         City           State Zip
MCGREW, DAVID E              9377 COUNTY LINE RD                                                                                       GAINES          MI 48436
MCGREW, DAVID EARL           9377 COUNTY LINE RD                                                                                       GAINES          MI 48436
MCGREW, DEMECHA L            508 MANTLEBROOK DR                                                                                        DESOTO          TX 75115‐2933
MCGREW, DONALD E             3647 MCLEAN RD                                                                                            FRANKLIN        OH 45005‐4759
MCGREW, EDITH                3434 146TH ST                                                                                             TOLEDO          OH 43611‐2512
MCGREW, EDITH                3434 146TH STREET                                                                                         TOLEDO          OH 43611‐2512
MCGREW, HAROLD A             5316 IDLEWOOD RD                                                                                          DAYTON          OH 45432‐3537
MCGREW, HELEN I              4009 FOXBORO DR                                                                                           DAYTON          OH 45406
MCGREW, HERMAN               SHANNON LAW FIRM                     100 W GALLATIN ST                                                    HAZLEHURST      MS 39083‐3007
MCGREW, JOHN DAVID           HOUSSIERE DURANT HOUSSIERE LLP       1990 POST OAK BLVD STE 800                                           HOUSTON         TX 77056‐3851
MCGREW, KENNETH              BRAYTON PURCELL                      PO BOX 6169                                                          NOVATO          CA 94948‐6169
MCGREW, KENT A               PO BOX 644                                                                                                FRISCO          CO 80443
MCGREW, LORI A               13505 TORREY RD                                                                                           FENTON          MI 48430‐1062
MCGREW, MARGARET A           653 GREENLAWN AVE                                                                                         DAYTON          OH 45403‐3356
MCGREW, PAUL E               5147 DEARTH RD                                                                                            SPRINGBORO      OH 45066‐7711
MCGREW, RODNEY E             2409 WIMBLEDON DR                                                                                         ARLINGTON       TX 76017‐3726
MCGREW, ROGER L              31 ROSEWOOD DR                                                                                            MARYVILLE        IL 62062‐6409
MCGREW, RONALD H             28 PARK PLACE                                                                                             LEBANON         OH 45036‐2100
MCGREW, RONALD H             28 PARK PL                                                                                                LEBANON         OH 45036‐2100
MCGREW, RONALD L             5093 DEARTH ROAD                                                                                          SPRINGBORO      OH 45066‐7747
MCGREW, RONALD L             5093 DEARTH RD                                                                                            SPRINGBORO      OH 45066‐7747
MCGREW, RONALD P             5386 HENDRICKSON RD                                                                                       FRANKLIN        OH 45005‐9622
MCGREW, SANDRA S             99 MCKINLEY BLVD                                                                                          TERRE HAUTE     IN 47803
MCGREW, SHERRY L             5093 DEARTH RD.                                                                                           SPRINGBORO      OH 45066‐7747
MCGREW, SHERRY L             5093 DEARTH RD                                                                                            SPRINGBORO      OH 45066‐7747
MCGREW, SUSAN D              2409 WIMBLEDON DR.                                                                                        ARLINGTON       TX 76017
MCGREW, VENETIA
MCGREW, WARREN               COON BRENT W                         PO BOX 4905                                                          BEAUMONT       TX   77704‐4905
MCGREW, WARREN R             1542 N LOCKWOOD AVE                                                                                       CHICAGO        IL   60651‐1432
MCGREW, WILLIE               5521 ALBIA TER                                                                                            JENNINGS       MO   63136‐1222
MCGREW‐KIDD, LINDA L         4103 SE 24TH RD                                                                                           OKEECHOBEE     FL   34974‐6592
MCGREW‐KIDD, LINDA L         4103 SOUTH EAST 24TH ROAD                                                                                 OKEECHOBEE     FL   34974
MCGREW‐STERGAR, LUCILLE      7139 BARTH AVENUE                                                                                         INDIANAPOLIS   IN   46227‐8509
MCGREW‐STERGAR, LUCILLE      7139 BARTH AVE                                                                                            INDIANAPOLIS   IN   46227‐8509
MCGRIFF JR, THOMAS           517 LONE PINE LN                                                                                          DAYTON         OH   45427‐2819
MCGRIFF TRANSPORTATION INC   563 COUNTY RD STE 1339                                                                                    CULLMAN        AL   35056
MCGRIFF, ALICE G             PO BOX 1116                                                                                               WALLED LAKE    MI   48390‐5116
MCGRIFF, ALPHA M.            1839 W 5TH ST                                                                                             DAYTON         OH   45417‐2566
MCGRIFF, ALPHA M.            1839 WEST 5TH STEET                                                                                       DAYTON         OH   45417‐5417
MCGRIFF, BERTHA L            15 TILLINGHAST ST                                                                                         NEWARK         NJ   07108
MCGRIFF, BERTHA L            P O BOX 1184                                                                                              WELAKA         FL   32193‐1184
MCGRIFF, CHARLES E           171 LEXINGTON AVE                                                                                         BUFFALO        NY   14222‐1809
MCGRIFF, DAVID               850 TREBISKY RD                                                                                           CLEVELAND      OH   44143‐2724
MCGRIFF, ELLEN C             210 IRELAN BLVD                                                                                           ARCANUM        OH   45304‐1419
MCGRIFF, GARY D              4000 W GODMAN AVE                                                                                         MUNCIE         IN   47304‐4230
MCGRIFF, GARY DANIEL         4000 W GODMAN AVE                                                                                         MUNCIE         IN   47304‐4230
MCGRIFF, GEORGE G            6352 MCKENZIE DR                                                                                          FLINT          MI   48507‐3889
MCGRIFF, JENNIFER            171 LEXINGTON AVE                                                                                         BUFFALO        NY   14222‐1809
MCGRIFF, KEITH               4422 EICHELBERGER AVE                                                                                     DAYTON         OH   45406‐2426
MCGRIFF, KEITH               C/O RICHARD CORDRAY, OHIO ATTORNEY   CONSUMER PROTECTION SECTION   30 E BROAD ST FL 14                    COLUMBUS       OH   43215
                             GENERAL
MCGRIFF, KEITH A             4422 EICHELBERGER AVE                                                                                     DAYTON         OH 45406‐2426
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Name                      Address1                          Address2                        Address3   Address4         City              State Zip
MCGRIFF, LARRY E          31 MADRID AVE                                                                                 BROOKVILLE         OH 45309‐1230
MCGRIFF, LUGENIA          15075 MUIRLAND                                                                                DETROIT            MI 48238‐2152
MCGRIFF, MARIE V          102 E FRANKLIN ST APT 205                                                                     SHELBYVILLE        IN 46176‐1473
MCGRIFF, MARIE V          APT 206                           102 EAST FRANKLIN STREET                                    SHELBYVILLE        IN 46176‐1473
MCGRIFF, MARTHA R         2290 SHAWNEE TRL                  C/O JANE L MCGRIFF                                          OKEMOS             MI 48864‐2528
MCGRIFF, MARTHA R         C/O JANE L MCGRIFF                2290 SHAWNEE TRAIL                                          OKEMOS             MI 48864‐8864
MCGRIFF, ROBERT L         170 M L KING AVE                                                                              ATMORE             AL 36502‐1528
MCGRIFF, SHIRLEY J        12011 E HARVARD AVE BLDG 12       APT 103                                                     AURORA             CO 80014
MCGRIFF, VIRGINIA H       PO BOX 35                                                                                     BROOKVILLE         OH 45309‐0035
MCGRIGGS, CLARA MAE       SHANNON LAW FIRM                  100 W GALLATIN ST                                           HAZLEHURST         MS 39083‐3007
MCGRIGGS, JAMES           1501 MCFARLAND RD                                                                             RAYMOND            MS 39154‐9604
MCGRODY, JOSEPHINE C      PO BOX 638                                                                                    XENIA              OH 45385‐0638
MCGROGAN SEAN             APT 1                             617 WEST LIBERTY STREET                                     ANN ARBOR          MI 48103‐4384
MCGROGAN, HEATHER L       17503 ZUBRICK RD                                                                              ROANOKE            IN 46783‐8749
MCGROGAN, HEATHER LYNN    17503 ZUBRICK RD                                                                              ROANOKE            IN 46783‐8749
MCGROGAN, SEAN            617 W LIBERTY ST APT 1                                                                        ANN ARBOR          MI 48103‐4384
MCGRONE, ED               SCHULTZ & MURPHY                  26 EAST WASHINGTON ‐ 2D FLOOR                               BELLEVILLE          IL 62220

MCGROTHA KELLY            54 N CHIEF GARRY DR                                                                           LIBERTY LAKE      WA   99019‐8659
MCGROWN, KATHERINE        1416 CLEVELAND                                                                                DANVILLE          IL   61832‐6555
MCGRUDER, AARON           C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                               EDWARDSVILLE      IL   62025‐1972
MCGRUDER, CHARLES G       508 N GRIFFIN ST                                                                              DANVILLE          IL   61832‐4912
MCGRUDER, EDWARD A        1013 TRILLIUM BLVD                                                                            VICKSBURG         MI   49097
MCGRUDER, ELNORA          KROHN & MOSS                      1100 SPRING ST NW STE 350                                   ATLANTA           GA   30309‐2854
MCGRUDER, GARY A          407 E PRAIRIE ST                                                                              VICKSBURG         MI   49097‐1250
MCGRUDER, LEONARD         612 PIMBLICO RD                                                                               MONTGOMERY        AL   36109‐4646
MCGRUDER, ROBERT L        G3064 MILLER RD APT 510                                                                       FLINT             MI   48507‐1341
MCGRUDER, SHANIKA S       1347 WINDING DR, APT 3A                                                                       GRAND BLANC       MI   48439
MCGRUDER, SHEILA A        2408 W STEWART AVE                                                                            FLINT             MI   48504‐2114
MCGRUDER, SHEILA ANN      2408 W STEWART AVE                                                                            FLINT             MI   48504‐2114
MCGRUDER, TELVA M         2841 STEAMBOAT SPRINGS DR                                                                     ROCHESTER HILLS   MI   48309‐1348
MCGRUDER, TERRY L         4202 SENECA ST                                                                                FLINT             MI   48504‐2103
MCGRUTHER SR, WILLIAM D   742 LINWOOD ST                                                                                OWOSSO            MI   48867‐3862
MCGUCKIN SR, GEORGE W     3138 PLAINVIEW DR                                                                             TOLEDO            OH   43615‐1733
MCGUCKIN, BETTY J         1763 LISA DR                                                                                  ARNOLD            MO   63010‐2655
MCGUCKIN, DAVID M         497 HAMPTON CT                                                                                WIXOM             MI   48393‐4511
MCGUCKIN, JOHN F          619 W COLUMBIA RD                                                                             MASON             MI   48854‐9603
MCGUCKIN, MARCIA L        152 CANTERBURY DR                                                                             CROSSVILLE        TN   38558‐7094
MCGUCKIN, MICHAEL J       3546 HEIN DR                                                                                  STERLING HTS      MI   48310‐6139
MCGUCKIN, MICHAEL JAMES   3546 HEIN DR                                                                                  STERLING HTS      MI   48310‐6139
MCGUCKIN, PAUL A          1019 E HAYES AVE                                                                              HAZEL PARK        MI   48030‐2652
MCGUE, ALBERT W           1194 E DECAMP ST                                                                              BURTON            MI   48529‐1106
MCGUE, ELAINE C           1288 MARY ANN DR.                                                                             TROY              MI   48083
MCGUFFEE NEIL P           209 SW 89TH ST STE F                                                                          OKLAHOMA CITY     OK   73139‐8521
MCGUFFEE, BRYCE M         2102 ALISON AVENUE                                                                            BOSSIER CITY      LA   71112‐4310
MCGUFFEY, DANIEL L        5814 PAWSON RD                                                                                TIPTON            MI   49287‐9763
MCGUFFEY, DIXIE M         1010 GOSHEN CHURCH SOUTH RD                                                                   BOWLING GREEN     KY   42103‐9523
MCGUFFEY, DIXIE MOWREY    1010 GOSHEN CHURCH SOUTH RD                                                                   BOWLING GREEN     KY   42103‐9523
MCGUFFEY, EARLENE         712 WILSON RD                                                                                 MARYVILLE         TN   37801‐4443
MCGUFFEY, GREGORY M       6551 E DAISY HILL CT                                                                          CAMBY             IN   46113‐9694
MCGUFFEY, HAROLD D        1010 GOSHEN CHURCH SOUTH RD                                                                   BOWLING GREEN     KY   42103‐9523
MCGUFFEY, LINDA J         5295 COLUMBIA RD                                                                              MASON             OH   45040‐9630
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Name                                   Address1                          Address2             Address3      Address4         City                State Zip
MCGUFFIE, ALFORD                       GOLDENBERG, MILLER, HELLER &      PO BOX 959                                          EDWARDSVILLE          IL 62025‐0959
                                       ANTOGNOLI
MCGUFFIE, MARIE C                      9933 SUNSET DRIVE                                                                     CANADIA LAKES       MI    49346
MCGUFFIN, DONALD                       117 STEVEN CT                                                                         COLUMBIA            TN    38401‐5567
MCGUFFIN, DONALD R                     3205 BENMARK VLG                                                                      FLINT               MI    48506‐2084
MCGUFFIN, JACK L                       3910 ABBE RD                                                                          SHEFFIELD VILLAGE   OH    44054‐2932
MCGUFFIN, MARY                         8805 HENRIETTA BLUFFS                                                                 CONWAY              SC    29527
MCGUFFIN, MILES S                      4910 UPPER VALLEY RD                                                                  DAYTON              OH    45424‐1779
MCGUFFIN, PATRICIA L                   117 STEVEN CT                                                                         COLUMBIA            TN    38401
MCGUFFIN, RICHARD J                    850 CALPERNIA                                                                         WIXOM               MI    48393‐1894
MCGUGART, THOMAS E                     103 LARYN LN                                                                          LEXINGTON           SC    29072‐7036
MCGUGIN, JOHN                          PORTER & MALOUF PA                4670 MCWILLIE DR                                    JACKSON             MS    39206‐5621
MCGUIGAN, ALBERT W                     537 BELLMANNER RD.                                                                    CONOWINGO           MD    21918
MCGUIGAN, BETSY H                      11400 WATSON RD                                                                       BATH                MI    48808‐8412
MCGUIGAN, BRIDGET                      830 HILLSIDE AVE                                                                      ROCHESTER           NY    14618‐1241
MCGUIGAN, RUBY J                       610 NUNLEY DR                                                                         JOHNSON CITY        TN    37604‐5945
MCGUIGAN, WILLIAM P                    1037 ERWIN DR                                                                         JOPPA               MD    21085‐3737
MCGUINESS MARY                         GUINESS, MARY                     89 CLAYTON RD                                       GARDEN CITY         NY    11530
MCGUINESS, JUDITH M                    # 9 LITTLE LN                                                                         FLORISSANT          MO    63033‐5630
MCGUINESS, JUDITH M                    9 LITTLE LN                                                                           FLORISSANT          MO    63033‐5630
MCGUINIS ROBERT (ESTATE OF) (463084)   WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                     NEW YORK            NY    10038

MCGUINIS, ROBERT                       WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                     NEW YORK            NY    10038
MCGUINN, JOSEPH A                      97 BECHSTEIN DR                                                                       MATAWAN             NJ    07747‐2333
MCGUINNESS, CHARLOTTE L                803 COXSWAIN WAY UNIT 111                                                             ANNAPOLIS           MD    21401‐6822
MCGUINNESS, DAVID L                    1435 EISENHOWER RD                                                                    NORMAN              OK    73069‐8501
MCGUINNESS, DOROTHY E                  7 GREAT POND RD.                                                                      S WEYMOUTH          MA    02190‐1315
MCGUINNESS, KAREN Y                    31 CASTLEGATE CT                                                                      PITTSBORO           IN    46167‐8924
MCGUINNESS, MARY                       89 CLAYDON RD                                                                         GARDEN CITY         NY    11530‐1806
MCGUINNESS, PAULINE A                  218 BAUMAN AVE                                                                        CLAWSON             MI    48017‐2004
MCGUINNESS, SANDRA B                   1382 SPRINGWOOD TRACE SE                                                              WARREN              OH    44484‐3145
MCGUINNESS, WILLIAM J                  1840 RED FOX CT E                                                                     MARTINSVILLE        IN    46151‐7251
MCGUIRE                                3116 MARTIN LUTHER KING JR BLVD                                                       DALLAS              TX    75215‐2414
MCGUIRE AUTO CENTER                    8806 CRAWFORDSVILLE RD                                                                CLERMONT            IN    46234‐1559
MCGUIRE AUTO GROUP, L.L.C.             RENEE MCGUIRE                     1625 US HIGHWAY 46                                  LITTLE FALLS        NJ    07424‐1717
MCGUIRE AUTO GROUP, LLC                1615‐1625 ROUTE 46 EAST                                                               LITTLE FALLS        NJ    07424
MCGUIRE BUICK PONTIAC GMC              ERIC MCGUIRE                      7027 KENNEDY BLVD                                   NORTH BERGEN        NJ    07047‐3933
MCGUIRE BUICK PONTIAC GMC              7027 KENNEDY BLVD                                                                     NORTH BERGEN        NJ    07047‐3933
MCGUIRE CADILLAC INC                   910 US HIGHWAY 1 N                                                                    WOODBRIDGE          NJ    07095‐1403
MCGUIRE CADILLAC, INC.                 910 US HIGHWAY 1 N                                                                    WOODBRIDGE          NJ    07095‐1403
MCGUIRE CADILLAC, INC.                 REGAN MCGUIRE                     910 US HIGHWAY 1 N                                  WOODBRIDGE          NJ    07095‐1403
MCGUIRE CHARLES F                      3494 LONG DR                                                                          MINDEN              NV    89423‐7712
MCGUIRE CHEREE                         2409 OAKRIDGE LN                                                                      SEMINOLE            TX    79360‐3850
MCGUIRE CHEVROLET CADILLAC             41‐47 MAIN ST                                                                         NEWTON              NJ    07860
OLDSMOBI
MCGUIRE CHEVROLET CADILLAC             41‐47 MAIN ST                                                                         NEWTON               NJ   07860
OLDSMOBILE ISUZU
MCGUIRE CHEVROLET‐PONTIAC, INC.        712 W 5TH ST                                                                          CLARE               MI    48617‐9414
MCGUIRE CHEVROLET‐PONTIAC, INC.        THOMAS KLEINHARDT                 712 W 5TH ST                                        CLARE               MI    48617‐9414
MCGUIRE DEBORAH L & JAMES M            203 SHADY LN                                                                          TURNERSVILLE        NJ    08012‐1521
MCGUIRE DON                            2625 HAVERSTRAW AVE                                                                   DAYTON              OH    45414‐2238
MCGUIRE II, RICHARD J                  3922 OLD RIVERSIDE DR                                                                 DAYTON              OH    45405‐2324
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Name                                  Address1                               Address2                        Address3                 Address4         City            State Zip
MCGUIRE JAMES                         MCGUIRE, JAMES                         1325 FRANKLIN AVE STE 225                                                 GARDEN CITY      NY 11530‐1631
MCGUIRE JJ GENERAL CONTRACTORS
MCGUIRE JR, LAWRENCE L                268 E KOCHHEISER RD                                                                                              BELLVILLE       OH    44813‐9293
MCGUIRE JR, MELVIN                    6035 BUCKSKIN CT                                                                                                 INDIANAPOLIS    IN    46250‐1831
MCGUIRE JUDY                          MCGUIRE, JUDY                          PO BOX 31                                                                 PRESTONSBURG    KY    41653
MCGUIRE KIMBERLY                      MCGUIRE, KIMBERLY                      7825 FAY AVE STE 200                                                      LA JOLLA        CA    92037‐4270
MCGUIRE LOUIS P                       MCGUIRE, LOUIS P                       1930 E MARLTON PIKE SUITE Q29                                             CHERRY HILL     NJ    08003
MCGUIRE MARK                          MCGUIRE, MARK                          100 CENTURY PKWY STE 305                                                  MOUNT LAUREL    NJ    08054‐1182
MCGUIRE PAT                           6319 S STATE HWY 213                                                                                             BELOIT          WI    53511
MCGUIRE PATRICK J PC LAW OFFICES OF   111 W WASHINGTON ST STE 802                                                                                      CHICAGO         IL    60602‐2791

MCGUIRE PATRICK J PC LAW OFFICES OF   ATTN: CORPORATE OFFICER/AUTHORIZED     190 S LA SALLE ST STE 850A                                                CHICAGO          IL   60603‐3555
                                      AGENT
MCGUIRE PONTIAC BUICK GMC             1625 US HIGHWAY 46                                                                                               LITTLE FALLS    NJ    07424‐1717
MCGUIRE PONTIAC GMC                   1625 US HIGHWAY 46                                                                                               LITTLE FALLS    NJ    07424‐1717
MCGUIRE RENEE                         C/O MCGUIRE AUTO GROUP                 1625 US HIGHWAY 46                                                        LITTLE FALLS    NJ    07424‐1717
MCGUIRE RICHARD A (481894)            GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA    23510
                                                                             STREET, SUITE 600
MCGUIRE ROBERT D (629580)             GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                               NORFOLK         VA 23510
                                                                             STREET, SUITE 600
MCGUIRE SPRING CORP                   6135 GRAND RIVER RD                                                                                              BRIGHTON        MI    48114‐9329
MCGUIRE SR, FREDERIC J                5012 CROSS KEY CT                                                                                                INDIANAPOLIS    IN    46268‐4473
MCGUIRE SR, JOHN                      1439 NORTHBROOK DR                                                                                               LIMA            OH    45805‐1099
MCGUIRE THOMAS                        116 WESTERLY PKWY                                                                                                STATE COLLEGE   PA    16801
MCGUIRE THOMAS (662653)               SHEIN LAW CENTER                       121 S BROAD ST 21ST FLR                                                   PHILADELPHIA    PA    19107‐4533
MCGUIRE WOODS CONSULTING LLC          ONE JAMES CENTER 17TH FLOOR            901 EAST CARY ST                                                          RICHMOND        VA    23219
MCGUIRE WOODS LLP                     901 E CARY ST                                                                                                    RICHMOND        VA    23219
MCGUIRE WOODS LLP                     3950 CHAIN BRIDGE ROAD                                                                                           FAIRFAX         VA    22030
MCGUIRE WOODS LLP                     ATTN: SAM TARRY, ESQ.                  901 EAST CARY STREET            ONE JAMES CENTER                          RICHMOND        VA    23219
MCGUIRE WOODS LLP                     ATTN: SAM TARRY, ESQ.                  901 EAST CARY STREET            ONE JAMES CENTER                          RICHMOND        VA
MCGUIRE WOODS LLP                     ATTORNEYS FOR ADT SECURITY SERVICES,   ATTN: SALLY E. EDISON           625 LIBERTY AVE., 23RD                    PITTSBURGH      PA    15222
                                      INC.                                                                   FLOOR
MCGUIRE, AARON P                      1441 E BRISTOL RD                                                                                                BURTON          MI    48529
MCGUIRE, ABBY L                       247 N GILBERT ST                                                                                                 FOOTVILLE       WI    53537
MCGUIRE, AGNES F                      7133 N BLUE SAGE                                                                                                 PUNTA GORDA     FL    33955‐1102
MCGUIRE, ALAN R                       2621 BLUEWATER TRL                                                                                               FORT WAYNE      IN    46804‐8400
MCGUIRE, ALLEN                        13618 EDGEWOOD AVE                                                                                               CLEVELAND       OH    44105‐4647
MCGUIRE, ALONA                        409 WYANDANCH AVE UNIT 150                                                                                       WEST BABYLON    NY    11704
MCGUIRE, ANITA                        9119 WESTWOOD DR                                                                                                 MERIDIAN        MS    39307‐9249
MCGUIRE, ANNETTE                      2742 DEAKE AVE                                                                                                   ANN ARBOR       MI    48108‐1335
MCGUIRE, ANNETTE                      2742 DEAKE                                                                                                       ANN ARBOR       MI    48108‐1335
MCGUIRE, ANNIE M                      6641 SMITHFIELD RD.                                                                                              BOWDON          GA    30108‐1916
MCGUIRE, ARTHUR H                     8131 OAKLEY LN                                                                                                   AVON            IN    46123‐6640
MCGUIRE, ARTHUR H                     8131 OAKLEY LANE                                                                                                 AVON            IN    46123‐6640
MCGUIRE, AUDREY I                     4625 EARLHAM DR                                                                                                  INDIANAPOLIS    IN    46227‐4410
MCGUIRE, BERNARD D                    PO BOX 471                             58890 MURPHY REMY RD                                                      MC ARTHUR       OH    45651‐0471
MCGUIRE, BERT C                       8323 E FOREST HILLS DR                                                                                           DITTMER         MO    63023‐1923
MCGUIRE, BETTY                        608 BRIDGE ST                                                                                                    FRANKLIN        OH    45005
MCGUIRE, BEVERLY                      62178 TICONDEROGA DR UNIT 2                                                                                      SOUTH LYON      MI    48178‐1075
MCGUIRE, BEVERLY ANN                  1299 S. SHIAWASSEE ST.                 G107                                                                      OWOSSO          MI    48867
MCGUIRE, BILL A                       2667 EUGENE AVE                                                                                                  GROVE CITY      OH    43123‐3561
MCGUIRE, BILLIE R                     3722 PENNYROYAL RD                                                                                               FRANKLIN        OH    45005‐1021
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Name                     Address1                      Address2                 Address3    Address4         City             State Zip
MCGUIRE, BLANCHE W       213 SARATOGA WAY                                                                    ANDERSON          IN 46013‐4775
MCGUIRE, CARL D          2087 TIMUCUA TRL                                                                    NOKOMIS           FL 34275‐5304
MCGUIRE, CARLA D         4545 W CONTINENTAL DR                                                               GLENDALE          AZ 85308‐3443
MCGUIRE, CAROL L         3910 FREEMAN AVE                                                                    HAMILTON          OH 45015‐1920
MCGUIRE, CASSANDRA D     PO BOX 1015                                                                         LITHONIA          GA 30058‐1015
MCGUIRE, CHARLES C       824 STANFORD CT                                                                     TRENTON           OH 45067‐1483
MCGUIRE, CHARLES E       11 ESTATE DR                                                                        MOORESVILLE       IN 46158‐1216
MCGUIRE, CHARLES E       1424 S TERRACE                                                                      JANESVILLE        WI 53546‐5541
MCGUIRE, CHARLES R       213 SARATOGA WAY                                                                    ANDERSON          IN 46013‐4775
MCGUIRE, CHASTITY A      8916 MOTTER LANE                                                                    MIAMISBURG        OH 45342‐5470
MCGUIRE, CHIQUELA S      7564 W HARMONY DR                                                                   ELWOOD            IN 46036‐9028
MCGUIRE, CHRISTINE A     9185 LAHRING RD                                                                     GAINES            MI 48436‐9769
MCGUIRE, CHRISTINE ANN   9185 LAHRING RD                                                                     GAINES            MI 48436‐9769
MCGUIRE, CLARENCE        9652 APPALACHIAN DR                                                                 SACRAMENTO        CA 95827‐1111
MCGUIRE, CONSTANCE M     14650 N MARTIN MATHIS RD NE                                                         PALMYRA           IN 47164‐8324
MCGUIRE, CURTIS C        2311 BRAMBLE WAY                                                                    ANDERSON          IN 46011‐2836
MCGUIRE, DAN B           7061 PINE OAK LN                                                                    GREENWOOD         LA 71033‐3375
MCGUIRE, DAN BERNARD     7061 PINE OAK LN                                                                    GREENWOOD         LA 71033‐3375
MCGUIRE, DANIEL J        9329 N ARROWHEAD SHORES RD                                                          EDGERTON          WI 53534‐8973
MCGUIRE, DANNY           7111 UPPER MIAMISBURG RD                                                            MIAMISBURG        OH 45342‐2119
MCGUIRE, DARLA J         APT 1                         120 EAST HOLMES STREET                                JANESVILLE        WI 53545‐3900
MCGUIRE, DARLA J         PO BOX 322                                                                          FOOTVILLE         WI 53537‐0322
MCGUIRE, DARLENE M       56 THIRD GREENWOOD                                                                  BLOOMINGTON        IL 61704
MCGUIRE, DARRELL R       12940 PRITCHARD RD                                                                  GERMANTOWN        OH 45327‐9724
MCGUIRE, DARRELL R       12940 PRICHARD RD                                                                   GERMANTOWN        OH 45327‐9724
MCGUIRE, DAVID A         14423 PARK DR                                                                       BROOK PARK        OH 44142‐3852
MCGUIRE, DAVID C         1320 PATER AVE                                                                      HAMILTON          OH 45011‐4540
MCGUIRE, DAVID H         8063 NEW LAWRENCEBURG HWY                                                           MOUNT PLEASANT    TN 38474‐1853
MCGUIRE, DAVID R         208 COUNTRY CLB                                                                     TOOELE            UT 84074‐9601
MCGUIRE, DAVID S         2406 FOREST OAK TRL                                                                 WILLIAMSTON       MI 48895‐9030
MCGUIRE, DEBORAH L       2621 BLUEWATER TRL                                                                  FORT WAYNE        IN 46804‐8400
MCGUIRE, DIANE L         1916 NORTHSHORE EXT                                                                 ANDERSON          IN 46011
MCGUIRE, DOLORES         11418 ELVINS ST                                                                     LAKEWOOD          CA 90715‐1216
MCGUIRE, DON E           PO BOX 322                                                                          FOOTVILLE         WI 53537‐0322
MCGUIRE, DONALD G        134 MOHAWK ST                                                                       DEARBORN          MI 48124‐1322
MCGUIRE, DONALD M        30922 BROWN ST                                                                      GARDEN CITY       MI 48135‐1469
MCGUIRE, DONALD R        2625 HAVERSTRAW AVE                                                                 DAYTON            OH 45414‐2238
MCGUIRE, DONNA           2314 NEBRASKA AVENUE                                                                FLINT             MI 48506
MCGUIRE, DOROTHY M       2725 PROSPECT ST                                                                    FLINT             MI 48504‐3386
MCGUIRE, DORTHY G        3388 HUNTERS CHASE WAY                                                              LITHONIA          GA 30038‐1643
MCGUIRE, EARLENE         3702 MILBOURNE AVE                                                                  FLINT             MI 48504‐2254
MCGUIRE, EDWARD J        14938 ZAHM RD                                                                       ROCKTON            IL 61072‐9524
MCGUIRE, EDWARD V        PO BOX 396                                                                          GREENUP           KY 41144‐0396
MCGUIRE, ELAINE          6633 TOWNSEND ST                                                                    DETROIT           MI 48213‐2337
MCGUIRE, ELEANOR E       6225 W IRMA LN                                                                      GLENDALE          AZ 85308‐6759
MCGUIRE, ESTHER          12316 SANTA MARIA DR                                                                ST LOUIS          MO 63138‐2651
MCGUIRE, FOREST D        GENERAL DELIVERY                                                                    MUNCIE            IN 47302‐9999
MCGUIRE, GALE H          111 CABERNET DR                                                                     UNION             OH 45322‐3464
MCGUIRE, GARLAND K       PO BOX 41250                                                                        BALTIMORE         MD 21203‐6250
MCGUIRE, GARLAND KENT    PO BOX 41250                                                                        BALTIMORE         MD 21203‐6250
MCGUIRE, GARY W          955 GREAT VIEW CIR APT D                                                            CENTERVILLE       OH 45459‐6049
MCGUIRE, GARY W          935 DEER RUN RD                                                                     CENTERVILLE       OH 45459‐4858
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Name                     Address1                      Address2                    Address3   Address4           City               State Zip
MCGUIRE, GERALD J        1318 NW OAKMONT CT                                                                      MCMINNVILLE         OR 97128‐5094
MCGUIRE, GERALDINE R     136 MARRETT FARM ROAD                                                                   UNION               OH 45322
MCGUIRE, GRACE A         11280 ALPINE DRIVE                                                                      LAKE                MI 48632‐9723
MCGUIRE, HAROLD D        7907 DIEHLWOOD RD                                                                       BALTIMORE           MD 21222‐3317
MCGUIRE, HELEN F         487 STARBOARD LANDING                                                                   FERNANDINA BEACH    FL 32034
MCGUIRE, HELEN M         30 BEAM DR APT G                                                                        FRANKLIN            OH 45005‐2062
MCGUIRE, HERBERT         321 DELIA ST                                                                            FLINT               MI 48505‐4617
MCGUIRE, HOMER JEWEL     LEBLANC & WADDELL             5353 ESSEN LN STE 420                                     BATON ROUGE         LA 70809‐0500
MCGUIRE, HOWARD D        3004 PRIVATE ROAD 3294                                                                  GLADEWATER          TX 75647‐9255
MCGUIRE, IRENE           5829 FAIRHAM RD.                                                                        HAMILTON            OH 45011‐2034
MCGUIRE, JACQUELYN E     797 HAZELNUT APT 6                                                                      FOWLERVILLE         MI 48836‐8923
MCGUIRE, JACQUELYN E     797 HAZELNUT ST APT 6                                                                   FOWLERVILLE         MI 48836‐8923
MCGUIRE, JAMES           CERUSSI & GUNN PC             1325 FRANKLIN AVE STE 225                                 GARDEN CITY         NY 11530‐1631
MCGUIRE, JAMES D         275 PINECONE DR                                                                         SPRINGBORO          OH 45066‐8716
MCGUIRE, JAMES F         6735 HAMMOCK RD                                                                         PORT RICHEY         FL 34668‐2115
MCGUIRE, JAMES J         4995 BRENNER DR                                                                         HAMBURG             NY 14075‐6613
MCGUIRE, JAMES P         1429 BRIDGEPORT RD                                                                      INDIANAPOLIS        IN 46231‐1215
MCGUIRE, JAMES W         20093 SHADY ACRES CIR                                                                   ATHENS              AL 35614‐6927
MCGUIRE, JANET E         4546 HEARTHRIDGE DR                                                                     JANESVILLE          WI 53546‐2171
MCGUIRE, JEFFERY S       1270 LACROSSE TRL                                                                       OXFORD              MI 48371‐6606
MCGUIRE, JEFFERY SCOTT   1270 LACROSSE TRL                                                                       OXFORD              MI 48371‐6606
MCGUIRE, JIMMY D         608 BRIDGE STREET                                                                       FRANKLIN            OH 45005‐1611
MCGUIRE, JIMMY L         10388 E LAKESIDE DR                                                                     ROCKVILLE           IN 47872‐7954
MCGUIRE, JOHN C          6633 TOWNSEND ST                                                                        DETROIT             MI 48213‐2337
MCGUIRE, JOHN E          433 EZZARD CHARLES DR                                                                   CINCINNATI          OH 45203
MCGUIRE, JOHN L          2105 BALDWIN CIRCLE                                                                     HOLLY               MI 48442‐9371
MCGUIRE, JOHN L          12075 JUNIPER WAY             APT 845                                                   GRAND BLANC         MI 48439
MCGUIRE, JOHN P          16408 HILLTOP DR                                                                        LINDEN              MI 48451‐8723
MCGUIRE, JUDY            PO BOX 31                                                                               PRESTONSBURG        KY 41653
MCGUIRE, JULIE A         2265 APPLEWOOD CT                                                                       RENO                NV 89509‐7012
MCGUIRE, KENNETH R       3416 COLUMBUS AVE             OHIO VETERANS HOME                                        SANDUSKY            OH 44870‐5557
MCGUIRE, KEVIN           3713 MALLARD BAY CIR                                                                    SHREVEPORT          LA 71107‐9359
MCGUIRE, KEVIN J         2012 E ELY CT                                                                           MARTINSVILLE        IN 46151
MCGUIRE, KIMBERLY        BICKEL LAW FIRM INC           7825 FAY AVE STE 200                                      LA JOLLA            CA 92037‐4270
MCGUIRE, LANCE D         1143 ELM AVENUE                                                                         CHULA VISTA         CA 91911‐3306
MCGUIRE, LARRY A         2829 DAKOTA DR                                                                          ANDERSON            IN 46012‐1413
MCGUIRE, LAWRENCE L      1354 CHEW RD                                                                            MANSFIELD           OH 44903‐9228
MCGUIRE, LAWRENCE P      1020 N MARION AVE                                                                       JANESVILLE          WI 53548‐2335
MCGUIRE, LELA I          111 CABERNET DR                                                                         UNION               OH 45322‐3464
MCGUIRE, LESTER B        3001 IROQUOIS AVE                                                                       FLINT               MI 48505‐4045
MCGUIRE, LESTER J        8275 E SYLVANIA RD                                                                      BLOOMFIELD          IN 47424‐7091
MCGUIRE, LESTER J        RR 6 BOX 836                                                                            BLOOMFIELD          IN 47424‐8609
MCGUIRE, LEWIS J         292 OLD WILLIAMSBURG RD                                                                 MONTGOMERY CITY     MO 63361‐4823
MCGUIRE, LIDA R          1429 BRIDGEPORT RD                                                                      INDIANAPOLIS        IN 46231‐1215
MCGUIRE, LILLIE M        PO BOX 310551                                                                           FLINT               MI 48531‐0551
MCGUIRE, LUCILLE A       321 SHEPHERDS WAY                                                                       WARREN              OH 44484
MCGUIRE, MARCI L         1763 BRISTOL DR                                                                         MILFORD             MI 48380‐2032
MCGUIRE, MARIAN J        18788 WELSH LN                                                                          HESPERIA            CA 92345‐9483
MCGUIRE, MARK J          6871 6TH CONC RD              RR#4                                   AMHERSTBURG ON
                                                                                              CANADA N9V 2Y9
MCGUIRE, MARTHA J        7616 DREW AVE                                                                           BURR RIDGE         IL 60527‐6918
MCGUIRE, MARY A          1799 MEADOWLANDS CT                                                                     OXFORD             MI 48371‐1085
                      09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                  Address1                        Address2                      Address3   Address4         City               State Zip
MCGUIRE, MARY J       401 S VERLINDEN AVE                                                                       LANSING             MI 48915‐1154
MCGUIRE, MARY J       401 SOUTH VERLINDEN                                                                       LANSING             MI 48915‐1154
MCGUIRE, MARY M       4028 SYLVIA LANE                                                                          YOUNGSTOWN          OH 44511‐4511
MCGUIRE, MARY M       4028 SYLVIA LN                                                                            YOUNGSTOWN          OH 44511‐3412
MCGUIRE, MATTHEW B    2427 SHADOW‐WOOD LN                                                                       MANSFIELD           OH 44903
MCGUIRE, MERNA M      1410 S GRANT AVE                                                                          JANESVILLE          WI 53546‐5409
MCGUIRE, MICHAEL      1763 BRISTOL DR                                                                           MILFORD             MI 48380‐2032
MCGUIRE, MICHAEL J    710 GIBSON ST                                                                             DEFIANCE            OH 43512‐1530
MCGUIRE, MICHAEL P    7253 LEHRING RD                                                                           BANCROFT            MI 48414‐9402
MCGUIRE, MICHAEL W    9187 NICHOLS RD                                                                           GAINES              MI 48436‐9790
MCGUIRE, MIKE J       200 TECHE DR                                                                              BOSSIER CITY        LA 71111‐6338
MCGUIRE, MIKE JAMES   200 TECHE DR                                                                              BOSSIER CITY        LA 71111‐6338
MCGUIRE, MILFORD J    6641 SMITHFIELD RD                                                                        BOWDON              GA 30108‐1916
MCGUIRE, MILTON E     405 MARLAY RD                                                                             DAYTON              OH 45405‐1858
MCGUIRE, NANCY J      3000 N APPERSON WAY TRLR 400                                                              KOKOMO              IN 46901‐1305
MCGUIRE, NANCY J      501 1/2 PATTERSON                                                                         BAY CITY            MI 48706‐4192
MCGUIRE, NINA R       5741 JAYCOX RD.                                                                           N. RIDGEVILLE       OH 44039‐1438
MCGUIRE, NINA R       5741 JAYCOX RD                                                                            NORTH RIDGEVILLE    OH 44039‐1438
MCGUIRE, NORENE S     10091 STATESVILLE RD                                                                      NORTH WILKESBORO    NC 28659
MCGUIRE, OLLIE J      3601 HIGHWAY 87                                                                           RUSSELLVILLE        AL 35654‐3552
MCGUIRE, PATRICIA L   338 N HARDESTY AVE                                                                        KANSAS CITY         MO 64123‐1468
MCGUIRE, PATRICK H    4699 CONTINENTAL DR., LOT 532                                                             HOLIDAY             FL 34690‐5616
MCGUIRE, PATSY        424 SOUTHLANE                                                                             NEW WHITELAND       IN 46184‐1152
MCGUIRE, PATSY        424 SOUTHLANE DR                                                                          NEW WHITELAND       IN 46184‐1152
MCGUIRE, PAUL E       65 WOODSHIRE LN                                                                           ROCHESTER           NY 14606‐4660
MCGUIRE, PAULINE      4493 S LINDEN RD                                                                          FLINT               MI 48507‐2911
MCGUIRE, RALPH I      916 EAST KING STREET                                                                      KOKOMO              IN 46901‐5528
MCGUIRE, RAY O        1912 N H ST                                                                               ELWOOD              IN 46036‐1300
MCGUIRE, REFORD       9566 WM FRANCIS DR                                                                        FRANKLIN            OH 45005
MCGUIRE, RICHARD A    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                      STREET, SUITE 600
MCGUIRE, ROBERT B     112 BUBLITZ RD                                                                            EDGERTON           WI 53534‐9563
MCGUIRE, ROBERT D     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                      STREET, SUITE 600
MCGUIRE, ROBERT G     BACK ACHE BEND                  LOT 30                                                    ELWELL             MI   48832
MCGUIRE, ROBERT G     30 BACKACHE BND                                                                           ELWELL             MI   48832‐9700
MCGUIRE, ROBERT L     332 MELANIE DR                                                                            FRANKLIN           OH   45005‐1539
MCGUIRE, ROBERT L     15 MELBA ST                                                                               DAYTON             OH   45402‐8133
MCGUIRE, ROBERT W     11418 ELVINS ST                                                                           LAKEWOOD           CA   90715‐1216
MCGUIRE, RONALD G     PO BOX 123                                                                                FOOTVILLE          WI   53537‐0123
MCGUIRE, RONALD G     2701LAWRENCE RD                 APT 275                                                   ARLINGTON          TX   76006‐3753
MCGUIRE, RONNIE D     1640 KLONDIKE RD                                                                          WEST LAFAYETTE     IN   47906‐4801
MCGUIRE, ROSEMARY A   302 E 39TH ST                                                                             ANDERSON           IN   46013‐4655
MCGUIRE, ROY A        21550 W 220TH ST                                                                          SPRING HILL        KS   66083‐4000
MCGUIRE, RUTH G       1912 N H ST                                                                               ELWOOD             IN   46036‐1300
MCGUIRE, RUTH G       1912 NORTH H STREET                                                                       ELWOOD             IN   46036‐1300
MCGUIRE, SAMANTHA M   2012 E ELY CT                                                                             MARTINSVILLE       IN   46151
MCGUIRE, SHANNON M    3562 ROBINSON VAIL RD                                                                     FRANKLIN           OH   45005
MCGUIRE, STEPHEN E    18230 BEVERLY RD                                                                          BEVERLY HILLS      MI   48025‐4002
MCGUIRE, STEVEN D     225 BELVEDERE AVE SE                                                                      WARREN             OH   44483‐6122
MCGUIRE, TAMMIE J     6319 S STATE ROAD 213                                                                     BELOIT             WI   53511‐9470
MCGUIRE, TERRY L      337 GINGHAM AVE                                                                           PORTAGE            MI   49002‐7035
                           09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                                    Exhibit B
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Name                       Address1                            Address2                        Address3                   Address4               City               State Zip
MCGUIRE, THOMAS            SHEIN LAW CENTER                    121 S BROAD ST                                                                    PHILADELPHIA        PA 19107‐4518
MCGUIRE, THOMAS B          7409 DUNMANWAY APT 1                                                                                                  DUNDALK             MD 21222
MCGUIRE, THOMAS E          9211 HOWLAND SPRINGS RD SE                                                                                            WARREN              OH 44484‐3135
MCGUIRE, THOMAS P          4105 BROWN ST                                                                                                         ANDERSON            IN 46013
MCGUIRE, THOMAS T          922 UNITY DR                                                                                                          MANSFIELD           OH 44905‐2247
MCGUIRE, TILLMAN           5145 CRESCENT RIDGE DR                                                                                                CLAYTON             OH 45315‐9679
MCGUIRE, VIRGINIA A        405 MARLAY RD                                                                                                         DAYTON              OH 45405‐1858
MCGUIRE, VIRLA F           4003 ANDOVER RD                                                                                                       ANDERSON            IN 46013‐4331
MCGUIRE, WILLIAM           5268 TORCH LN                                                                                                         DAYTON              OH 45427‐2743
MCGUIRE, WILLIAM D         3144 EASTPOINTE DR                                                                                                    FRANKLIN            IN 46131‐9824
MCGUIRE, WILLIAM E         6206 STATE ROUTE 123                                                                                                  FRANKLIN            OH 45005‐4640
MCGUIRE, WILLIAM E         6206 ST. RT. 123‐N                                                                                                    FRANKLIN            OH 45005‐4640
MCGUIRE, WILLIAM L         1204 CLAXTON RIDGE DR                                                                                                 KERNERSVILLE        NC 27284‐3632
MCGUIRE, WILLIAM L         6701 E ROLLING VALLEY CT                                                                                              MOORESVILLE         IN 46158‐7214
MCGUIRE, WILLIAM L         520 GREENSIDE DR                                                                                                      PAINESVILLE         OH 44077‐4873
MCGUIRE‐KOLAK, MARYANN E   287 DONAHUE BEACH DR                                                                                                  BAY CITY            MI 48706‐1812
MCGUIRES RESORT            7880 MACKINAW TRL                                                                                                     CADILLAC            MI 49601‐9746
MCGUIREWOODS CONSULTING    MARK T. BOWLES                      1 JAMES CTR                     901 EAST CARY STREET                              RICHMOND            VA 23219‐4089
MCGUIREWOODS LLP           ATTN ACCOUNTS RECEIVABLE            901 E CARY ST                                                                     RICHMOND            VA 23286‐0001
MCGUIREWOODS LLP           1 JAMES CTR                         901 E CARY ST                                                                     RICHMOND            VA 23219‐4089
MCGUIREWOODS LLP           1170 PEACHTREE ST NE STE 2100                                                                                         ATLANTA             GA 30309‐7700
MCGUIREWOODS LLP           ATTY FOR CSX TRANSPORTATION,INC     ATTN: JOHN H. MADDOCK III AND   ONE JAMES CENTER           901 EAST CARY STREET   RICHMOND            VA 23219
                                                               SHAWN R. FOX
MCGUIREWOODS LLP           ATTORNEY FOR DOMINION RETAIL, INC   ATTENTION: DION W. HAYES        1345 AVENUE OF THE         7TH FLOOR              NEW YORK           NY 10105‐0106
                                                                                               AMERICAS
MCGUIREWOODS LLP           ATTORNEY FOR DOMINION RETAIL, INC   ATTENTION: SHAWN R. FOX         1345 AVENUE OF THE         7TH FLOOR              NEW YORK           NY 10105‐0106
                                                                                               AMERICAS
MCGUIREWOODS LLP           ATT: DAVID I. SWAN                  ATTORNEY FOR SPRINT NEXTEL      1750 TYSONS BLVD., SUITE                          MCLEAN             VA 22102
                                                               CORPORATION                     1800
MCGUIREWOODS, LLP          ATTORNEY FOR OHIO EDISON COMPANY,   ATTENTION: SUSAN P. TAYLOR      388 SOUTH MAIN STREET,                            AKRON              OH 44311
                           ET AL                                                               SUITE 500
MCGUIREWOODS, LLP          ATTN: SHAWN R. FOX                  1345 AVENUE OF THE AMERICAS     SEVENTH FLOOR                                     NEW YORK           NY   10105
MCGUIRT, BARBARA J         184 EAST RD APT 130                                                                                                   DIMONDALE          MI   48821‐8797
MCGUIRT, WILLIAM F         184 E RD                            APARTMENT 130                                                                     DIAMONDALE         MI   48821
MCGUIRT, WILLIAM F         184 EAST RD APT 130                                                                                                   DIMONDALE          MI   48821‐8797
MCGUM JAMES T (349634)     WEITZ & LUXENBERG                   180 MAIDEN LANE                                                                   NEW YORK           NY   10038
MCGUM, JAMES T             WEITZ & LUXENBERG                   180 MAIDEN LANE                                                                   NEW YORK           NY   10038
MCGUNNIGAL, JAMES J        3 ARCHER ST                                                                                                           PLYMOUTH           MA   02360‐5702
MCGURK, BEVERLY A          10968 PINEHURST RD                                                                                                    PLYMOUTH           MI   48170‐5844
MCGURK, LORETTA J          5 EDWARDS PL                                                                                                          EWING              NJ   08628‐2010
MCGURK, PATRICK J          PO BOX 749                                                                                                            SHRUB OAK          NY   10588‐0749
MCGURK, SUSAN              236 PINEHURST RD                                                                                                      MUNROE FALLS       OH   44262‐1134
MCGURL DAVID               MCCURL, DAVID                       501 PAGE AVE                                                                      ALLENHURST         NJ   07711‐1026
MCGURN JAMES T (350128)    WEITZ & LUXENBERG                   180 MAIDEN LANE                                                                   NEW YORK           NY   10038
MCGURN, JAMES T            WEITZ & LUXENBERG                   180 MAIDEN LANE                                                                   NEW YORK           NY   10038
MCGURTY, BRIAN J           215 BRENTWOOD DR                                                                                                      NORTH TONAWANDA    NY   14120‐4860
MCGUVER LISA               MCGUVER, LISA                       PO BOX 320151                                                                     HARTFORD           CT   06132‐0151
MCGUVER, LISA              PO BOX 320151                                                                                                         HARTFORD           CT   06132‐0151
MCGUYER, NELDA S           107 VOUGHT PL                                                                                                         GRAND PRAIRIE      TX   75051‐2123
MCGUYRE, FRANK             10360 E COTTONWOOD DR                                                                                                 ROCKVILLE          IN   47872‐7742
MCGWIRE MARK               19201 QUIETSANDS CIR                                                                                                  HUNTINGTON BEACH   CA   92648‐2111
MCH AUTO INC
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Name                              Address1                         Address2              Address3       Address4         City               State Zip
MCHALE & ASSOCIATES INC           PO BOX 67                                                                              REDMOND             WA 98073‐0067
MCHALE ASSOC                      6430 BAUM DR                                                                           KNOXVILLE           TN 37919‐9509
MCHALE STEPHEN (464894)           WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                       NEW YORK            NY 10038
MCHALE, CANDACE L                 33023 SANDRA LN.                                                                       WESTLAND            MI 48185‐1564
MCHALE, CAROL R                   4560 N LAKE SHORE DR                                                                   HARBOR SPRINGS      MI 49740‐9123
MCHALE, CAROL ROACH               4560 N LAKE SHORE DR                                                                   HARBOR SPRINGS      MI 49740‐9123
MCHALE, CHERYL M                  1901 S GOYER RD APT 151                                                                KOKOMO              IN 46902‐2751
MCHALE, DOROTHY                   325 NORTH CAUSEWAY               APARTMENT D101                                        NEW SMYRNA BEACH    FL 32169‐5277
MCHALE, DOROTHY                   325 N CAUSEWAY APT D101                                                                NEW SMYRNA BEACH    FL 32169‐5277
MCHALE, EVA M                     1115 W BROADWAY ST                                                                     KOKOMO              IN 46901‐2611
MCHALE, GLORIA J                  3604 HAWTHORNE LN                                                                      KOKOMO              IN 46902‐4559
MCHALE, JESSICA L                 29374 GLEN OAKS BLVD W                                                                 FARMINGTON HILLS    MI 48334‐2931
MCHALE, MARY C                    49740 LONDON BRIDGE DR                                                                 MACOMB              MI 48044‐1898
MCHALE, MICHAEL A                 512 SOMERSET DR                                                                        KOKOMO              IN 46902
MCHALE, MICHAEL B                 5405 HAMMERSMITH DR                                                                    W BLOOMFIELD        MI 48322‐1454
MCHALE, STEPHEN                   WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                       NEW YORK            NY 10038
MCHALE, THOMAS                    720 N HOWARD ST                                                                        GLENDALE            CA 91206‐2005
MCHALE, TOM J                     4560 N LAKE SHORE DR                                                                   HARBOR SPRINGS      MI 49740‐9123
MCHALE, TOM JOESPH                4560 N LAKE SHORE DR                                                                   HARBOR SPRINGS      MI 49740‐9123
MCHALE, WENDY L                   717 CHEAIRS CIR                                                                        COLUMBIA            TN 38401‐2209
MCHALE, WILLIAM J                 632 N ALEXANDER AVE                                                                    ROYAL OAK           MI 48067‐1944
MCHAN, SAMUEL R                   39845 VALIANT DR                                                                       STERLING HTS        MI 48313‐5177
MCHANEY JR, PAUL                  261 NORTH FRANKLIN AVENUE                                                              HENDERSON           TN 38340‐1400
MCHANEY, BOBBY E                  483 MIDWAY AVE                                                                         PONTIAC             MI 48341‐3332
MCHANEY, SAMUEL J                 8520 NARROW LAKE RD                                                                    SPRINGPORT          MI 49284‐9303
MCHAR, MICHAEL L                  571 AUDREY LN 5                                                                        STRUTHERS           OH 44471
MCHARDIE, REX D                   W5622 HILL LN                                                                          MONROE              WI 53566
MCHARDIE, REX D                   WEST 5622 HILL LANE                                                                    MONROE              WI 53566
MCHARG, LENA M                    PO BOX 213                                                                             BRENHAM             TX 77834‐0213
MCHARGUE PETER                    6620 BLUE RIDGE LN                                                                     LINCOLN             NE 68516‐5459
MCHARGUE, DONALD R                3967 SADDLERIDGE CIRCLE                                                                DAYTON              OH 45424‐4874
MCHARGUE, DONALD R                3967 SADDLE RIDGE CIR                                                                  DAYTON              OH 45424‐4874
MCHARGUE, GERALD W                9768 W 800 N                                                                           THORNTOWN           IN 46071‐9072
MCHARGUE, MICHAEL D               514 DIXIE HWY                                                                          MITCHELL            IN 47446‐6732
MCHARGUE, TERRY J                 6423 VERBENA CT                                                                        INDIANAPOLIS        IN 46224‐2042
MCHATTON, DEREK R                 1816 E 43RD ST                                                                         ANDERSON            IN 46013‐2514
MCHATTON, GARY L                  4811 SOUTHVIEW DR                                                                      ANDERSON            IN 46013‐4760
MCHATTON, JOHN R                  1322 E 38TH ST                                                                         ANDERSON            IN 46013
MCHATTON, VICTORIA M              749 BIRCHWOOD CT UNIT A                                                                WILLOWBROOK          IL 60527
MCHEICK MOBIL                     ATTN: ALI MCHEIK                 1396 ECORSE RD                                        YPSILANTI           MI 48198‐5982
MCHENRY COUNTY DOT                                                 16111 NELSON RD                                                            IL 60098
MCHENRY COUNTY SHERIFF'S GARAGE                                    2200 N SEMINARY AVE                                                        IL 60098
MCHENRY COUNTY STATE'S ATTORNEY   2200 N SEMINARY AVE                                                                    WOODSTOCK            IL 60098‐2637
MCHENRY JR, ALBERT                5567 LAVACA RD                                                                         GRAND PRAIRIE       TX 75052‐8565
MCHENRY JR, GEORGE D              PO BOX 276                                                                             GREAT CACAPON       WV 25422‐0276
MCHENRY JR, GEORGE DOUGLAS        PO BOX 276                                                                             GREAT CACAPON       WV 25422‐0276
MCHENRY MALONE                    314 S 28TH ST                                                                          SAGINAW             MI 48601‐6342
MCHENRY TRUCK LINE INC            PO BOX 575                                                                             MCHENRY              IL 60051‐9009
MCHENRY WALKER                    PO BOX 5402                                                                            SHREVEPORT          LA 71135‐5402
MCHENRY WEST IV                   6817 STRICKLAND ST # 3                                                                 DOUGLASVILLE        GA 30134
MCHENRY, ALICE J                  275 EAST STATE STREET                                                                  WELLSVILLE          NY 14895‐1240
MCHENRY, ALICE J                  275 E STATE ST                                                                         WELLSVILLE          NY 14895‐1240
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Name                                  Address1                            Address2                       Address3   Address4         City               State Zip
MCHENRY, ALVIN R                      9704 E WESTPORT RD                                                                             INDEPENDENCE        MO 64052‐1562
MCHENRY, AMANDA M                     1015 E ARLINGTON                                                                               FT WORTH            TX 76104‐6039
MCHENRY, AMY L                        2630 N 825 E                                                                                   CHURUBUSCO          IN 46723‐9529
MCHENRY, DAISY M                      1700 FRANCES PL                                                                                MONROE              LA 71201‐3504
MCHENRY, DAVID                        #2                                  314 EAST COURT STREET                                      FLINT               MI 48502‐1612
MCHENRY, DENNIS J                     4123 HOLLY ST                                                                                  KANSAS CITY         MO 64111‐4151
MCHENRY, DONALD E                     7777 HOLMES RD APT 602                                                                         KANSAS CITY         MO 64131‐2089
MCHENRY, EDWARD E                     17190 POINTVIEW AVE                                                                            LAKE MILTON         OH 44429‐9664
MCHENRY, JUDY L                       8880 BUNKERHILL RD                                                                             GASPORT             NY 14067‐9365
MCHENRY, JUDY L                       8880 BUNKER HILL RD                                                                            GASPORT             NY 14067
MCHENRY, LAWRENCE R                   60672 ROCKY RD                                                                                 HODGEN              OK 74939‐3177
MCHENRY, LEROY K                      1381 DONOVAN ST                                                                                BURTON              MI 48529‐1223
MCHENRY, MAGDALENA M                  1265 W NEBOBISH RD                                                                             ESSEXVILLE          MI 48732‐1572
MCHENRY, MARY E.                      916 N WESTERN AVE                                                                              MARION              IN 46952‐2506
MCHENRY, MICHAEL P                    22 WILDER ST                                                                                   SAN FRANCISCO       CA 94131‐3008
MCHENRY, RICHARD D                    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                                          260
MCHENRY, RICHARD O                    729 MOUNT RAINIER DR                                                                           INDIANAPOLIS       IN   46217‐3938
MCHENRY, ROBERT L                     2622 N FRUITDALE AVE                                                                           INDIANAPOLIS       IN   46224‐3240
MCHENRY, RONALD L                     179 E MAIN ST                                                                                  CORTLAND           OH   44410‐1239
MCHENRY, THOMAS R                     4 LINDEN LN                                                                                    WILMINGTON         DE   19810‐1705
MCHENRY,SHAWN                         5567 LAVACA RD                                                                                 GRAND PRAIRIE      TX   75052‐8565
MCHERRIN JR, CURTIS                   PO BOX 2041                                                                                    CAMDEN             SC   29020‐8001
MCHERRIN, QUEEN ESTHER                539 EAST AMHERST STREET                                                                        BUFFALO            NY   14215‐1542
MCHERRIN, QUEEN ESTHER                539 E AMHERST ST                                                                               BUFFALO            NY   14215‐1542
MCHONE, DANIEL W                      233 GLENBROOKE APT 11116                                                                       WATERFORD          MI   48327‐2123
MCHONE, GLADYS                        PO BOX 2147                                                                                    MIDDLESBORO        KY   40965‐4147
MCHONE, GLADYS                        P. O. BOX 2147                                                                                 MIDDLESBORO,       KY   40965‐4147
MCHONE, IRENE                         124 WORTHINGTON DRIVE                                                                          GERMANTOWN         OH   45327‐8354
MCHONE, KENNETH DEAN                  1308 NUTWOOD DR                                                                                CENTERVILLE        OH   45458‐5108
MCHONE, RALPH E                       12309 LANGLEY HILL DR                                                                          KELLER             TX   76248‐1201
MCHONE, ROSE E                        36408 UPLAND CT                                                                                WAYNE              MI   48184‐1149
MCHS EUCLID BEACH                     DEPT L 2653                                                                                    COLUMBUS           OH   43260‐0001
MCHUGH ANN F                          APT 224                             2330 MAPLE ROAD                                            BUFFALO            NY   14221‐4057
MCHUGH CHARLES J (ESTATE OF) (451283) (NO OPPOSING COUNSEL)

MCHUGH JAMES P (404989)              DEARIE & ASSOCS JOHN C               3265 JOHNSON AVE                                           BRONX              NY   10463
MCHUGH, ANN F                        APT 224                              2330 MAPLE ROAD                                            BUFFALO            NY   14221‐4057
MCHUGH, ANN F                        2330 MAPLE RD                        APT 224                                                    WILLIAMSVILLE      NY   14221‐4057
MCHUGH, BRIAN R                      PO BOX 161                                                                                      CARMEL             NY   10512‐0161
MCHUGH, CHARLES P                    10764 BAYOU DR                                                                                  EVART              MI   49631‐9648
MCHUGH, D M                          67 ASPEN ST                                                                                     WARE               MA   01082‐1051
MCHUGH, EDWARD                       7 ELIZABETH TER                                                                                 WAPPINGERS FALLS   NY   12590‐3503
MCHUGH, EDWARD J                     57 OAK ST                                                                                       NEWINGTON          CT   06111‐3426
MCHUGH, FLORENCE C                   3427 AMESBURY LN                                                                                BRUNSWICK          OH   44212‐2295
MCHUGH, FRANK S                      1615 E BOOT RD                                                                                  WEST CHESTER       PA   19380‐6001
MCHUGH, GEORGE E                     2695 PEPPERMILL RD                                                                              LAPEER             MI   48446‐9429
MCHUGH, JAMES                        DEARIE & ASSOCS JOHN C               3265 JOHNSON AVE                                           RIVERDALE          NY   10463
MCHUGH, JAMES L                      1850 OLD FOUNTAIN RD                                                                            LAWRENCEVILLE      GA   30043‐3929
MCHUGH, JOANN D                      3365 SWALLOW HOLLOW                                                                             POLAND             OH   44514‐2824
MCHUGH, JOHN B                       3606 SUMPTER ST                                                                                 LANSING            MI   48911‐2621
MCHUGH, LA RUE P                     805 PJ EAST RD                                                                                  COVINGTON          GA   30014‐8505
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Name                                Address1                      Address2                       Address3   Address4         City            State Zip
MCHUGH, LYNN M                      110 SUNSET AVE                                                                           MERIDEN          CT 06450‐4523
MCHUGH, MARY C                      86 APTHORP ST                                                                            WORCESTER        MA 01606‐1104
MCHUGH, RICHARD F                   1402 E PARKWAY APT 1                                                                     GATLINBURG       TN 37738‐5758
MCHUGH, ROBERT T                    3762 E. SUDBURY CT.                                                                      BELLBROOK        OH 45305‐1883
MCHUGH, ROBERT T                    3762 E SUDBURY CT                                                                        BELLBROOK        OH 45305‐1883
MCHUGH, RUBY H                      1830 OLD FOUNTAIN RD                                                                     LAWRENCEVILLE    GA 30043‐3929
MCHUGH, SHELLY L                    10764 BAYOU DR                                                                           EVART            MI 49631‐9648
MCHUGHES RAYMOND WAYNE              C/O EDWARD O MOODY PA         801 WEST FOURTH STREET                                     LITTLE ROCK      AR 72201
MCHUGHES, NINA J                    10 WEDGEWOOD DR APT N1                                                                   PLATTE CITY      MO 64079‐8426
MCHUGHES, NINA J                    10 WEDGEWOOD DR               APT #N1                                                    PLATTE CITY      MO 64079
MCHUGHES, RAYMOND WAYNE             C/O MOODY                     801 WEST FOURTH ST                                         LITTLE ROCK      AR 72201
MCI                                 20855 STONE OAK PKWY                                                                     SAN ANTONIO      TX 78258‐7429
MCI                                 PO BOX 371392                                                                            PITTSBURGH       PA 15250‐7392
MCI                                 27732 NETWORK PL                                                                         CHICAGO           IL 60673‐1277
MCI EXPRESS INC                     9300 NW 100TH ST                                                                         MEDLEY           FL 33178‐1419
MCI INC                             200 S LAMAR ST STE 400        PO BOX 2469                                                JACKSON          MS 39201
MCI INC                             PO BOX 740577                                                                            ATLANTA          GA 30374‐0577
MCI INTERNATIONAL                   PO BOX 42925                                                                             PHILADELPHIA     PA 19101‐2925
MCI TELECOMMUNICATIONS              3 RAVINIA DRIVE                                                                          ATLANTA          GA 30346
CORPORATION
MCI WORLDCOM                        PO BOX 371355                                                                            PITTSBURGH      PA   15250
MCIE, WILFRED J                     PO BOX 162                                                                               LAKE MILTON     OH   44429‐0162
MCIE, WILLIAM L                     179 WAVECREST DR                                                                         LAKE MILTON     OH   44429‐9556
MCILDUFF, TERRENCE S                5141 LATTA RD                                                                            E PALESTINE     OH   44413‐9702
MCILHARGIE, BRADFORD C              37 W RUTGERS AVE                                                                         PONTIAC         MI   48340‐2755
MCILHARGIE, JAMES CHRISTOPHER       810 COUTANT ST                                                                           FLUSHING        MI   48433‐1725
MCILLANEY JR, LEO J                 508 S WOODBRIDGE ST                                                                      BAY CITY        MI   48706
MCILLWAIN JC (ESTATE OF) (639961)   CICONTE ROSEMAN & WASSERMAN   1300 N KING ST                                             WILMINGTON      DE   19801‐3220
MCILLWAIN, JC                       CICONTE ROSEMAN & WASSERMAN   1300 N KING ST                                             WILMINGTON      DE   19801‐3220
MCILLWAIN, JC/SIDONIA MCILLWAIN     ICO THE LANIER LAW FIRM PC    6810 FM 1960 WEST                                          HOUSTON         TX   77069
MCILRATH TIM                        TENNECO AUTOMOTIVE            33 LOCKWOOD RD                                             MILAN           OH   44846‐9734
MCILRATH, BEVERLY J                 6234 W 250 S                                                                             RUSSIAVILLE     IN   46979‐9506
MCILRATH, EVELYN C                  210 E 60TH ST                                                                            ANDERSON        IN   46013‐3402
MCILRATH, EVELYN C                  210 EAST 60TH ST                                                                         ANDERSON        IN   46013‐3402
MCILRATH, JAMES F                   19 PLEASANT VW                                                                           LAKE PLACID     FL   33852‐7172
MCILREE, JAMES R                    7135 NEW HOPE RD                                                                         FAIRVIEW        TN   37062‐8253
MCILROY, AUTREY L                   4475 THORNAPPLE CIR                                                                      BURTON          MI   48509‐1234
MCILROY, GARY L                     4774 W BAKER RD                                                                          COLEMAN         MI   48618‐9363
MCILROY, JOHN L                     4096 RICHFIELD RD                                                                        FLINT           MI   48506‐2009
MCILROY, KIMBERLY K                 4774 W BAKER RD                                                                          COLEMAN         MI   48618‐9363
MCILROY, WILLIAM J                  6290 COLD SPRING TRL                                                                     GRAND BLANC     MI   48439‐7969
MCILVAIN II, RICHARD O              3257 REVLON DRIVE                                                                        DAYTON          OH   45420‐1246
MCILVAIN ROSEMARY                   446 32ND AVE SW                                                                          VERO BEACH      FL   32968‐3137
MCILVAIN, FRANKLIN B                382 OLD STANDING STONE RD                                                                LIVINGSTON      TN   38570‐8905
MCILVAIN, MICHAEL A                 17 MUSIC CIRCLE                                                                          SPRINGBORO      OH   45066‐1377
MCILVAINE ROBERT                    MCILVAINE, ROBERT             30 E BUTLER AVE                                            AMBLER          PA   19002‐4514
MCILVAINE TRUCKING INC              7556 CLEVELAND RD                                                                        WOOSTER         OH   44691‐9697
MCILVEEN CHARLES (666139)           LANIER LAW FIRM               6810 FM 1960 WEST SUITE 1550                               HOUSTON         TX   77069
MCILVEEN, CHARLES                   LANIER LAW FIRM               6810 FM 1960 WEST SUITE 1550                               HOUSTON         TX   77069
MCILVEEN, DENNIS E                  10301 W PEORIA AVE                                                                       SUN CITY        AZ   85351‐4135
MCILVEEN, TERRY L                   PO BOX 610                                                                               MT PLEASANT     TN   38474‐0610
MCILVOY, JEFFRY P                   5 TOELLE DR                                                                              SAINT CHARLES   MO   63304‐5548
                               09-50026-mg              Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                                 Exhibit B
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Name                           Address1                            Address2                      Address3                    Address4                City            State Zip
MCILVOY, JEFFRY PETER          5 TOELLE DR                                                                                                           SAINT CHARLES    MO 63304‐5548
MCILVOY, RICHARD L             943 OAKFIELD DR                                                                                                       BALLWIN          MO 63021‐7412
MCILWAIN JANET                 1397 W 600 N                                                                                                          MARION           IN 46952‐9048
MCILWAIN, C J                  1014 N SHERWOOD DR                                                                                                    MARION           IN 46952‐1505
MCILWAIN, C JEFFREY            1014 N SHERWOOD DR                                                                                                    MARION           IN 46952‐1505
MCILWAIN, DAVID E              1300 N LAKE SHIPP DR SW                                                                                               WINTER HAVEN     FL 33880‐2727
MCILWAIN, DOUGLAS              PORTER & MALOUF PA                  4670 MCWILLIE DR                                                                  JACKSON          MS 39206‐5621
MCILWAIN, JAMES T              229 ROSLYN ST                                                                                                         BUFFALO          NY 14215‐3933
MCILWAIN, LAMAR L              ANDERSON N CALHOUN JR               425 E CONGRESS ST                                                                 SAVANNAH         GA 31401‐2804
MCILWAIN, NAOMI M              6724 CANTERBURY N.E.                                                                                                  WINTER HAVEN     FL 33881‐9564
MCINALLY, DAVID J              PO BOX 53                                                                                                             SILVERWOOD       MI 48760‐0053
MCINALLY, DAVID JAMES          PO BOX 53                                                                                                             SILVERWOOD       MI 48760‐0053
MCINALLY, JACK B               4306 RAVINNIA DR                                                                                                      ORLANDO          FL 32809‐4413
MCINALLY, JOHN                 359 THOMAS RD                                                                                                         SATSUMA          AL 36572‐2731
MCINALLY, JOHN A               8724 E VIA DE LA LUNA                                                                                                 SCOTTSDALE       AZ 85258‐3547
MCINCHAK, MICHAEL T            10340 MIDLAND RD LOT 72                                                                                               FREELAND         MI 48623‐9715
MCINCHAK, RAY J                4942 S WALNUT ST                                                                                                      BEAVERTON        MI 48612‐8885
MCINDOO, JAMES T               12007 STILL MEADOW DR                                                                                                 CLERMONT         FL 34711‐6753
MCINDOO, WALTER R              5003 PAVALION DR                                                                                                      KOKOMO           IN 46901‐3652
MCINERNEY JOHN                 4308 W 111TH ST                                                                                                       OAK LAWN          IL 60453‐5737
MCINERNEY PAT                  W291 N3682 PRAIRIESIDE CT                                                                                             PEWAUKEE         WI 53072
MCINERNEY RICHARD P (351685)   ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                                               NEW YORK         NY 10006‐1638
MCINERNEY, JAMES J             12469 BELL RD                                                                                                         BURT             MI 48417‐9794
MCINERNEY, JOE                 1495 N ROGER RD                                                                                                       LINWOOD          MI 48634‐9800
MCINERNEY, KEVIN P             4260 N GALE RD                                                                                                        DAVISON          MI 48423‐8952
MCINERNEY, KEVIN PATTRICK      4260 N GALE RD                                                                                                        DAVISON          MI 48423‐8952
MCINERNEY, MARY                12807 TAMARACK DR                                                                                                     BURT             MI 48417‐2405
MCINERNEY, MARY J              2800 SARAH CT                                                                                                         BAY CITY         MI 48708‐8464
MCINERNEY, MICHAEL G           2730 N MARTIN LUTHER KING JR BLVD                                                                                     LANSING          MI 48906‐2925
MCINERNEY, PATRICK M           2730 N MARTIN LUTHER KING JR BLVD                                                                                     LANSING          MI 48906‐2925
MCINERNEY, PATRICK MICHAEL     2730 N MARTIN LUTHER KING JR BLVD                                                                                     LANSING          MI 48906‐2925
MCINERNEY, RICHARD P           ANGELOS PETER G LAW OFFICE          115 BROADWAY FRNT 3                                                               NEW YORK         NY 10006‐1638
MCINERNEY, THOMAS N            1610 VAN WAGONER DR                                                                                                   SAGINAW          MI 48638‐4487
MCINNES COOPER                 1300‐1969 UPPER WATER STREET        PURDYS WHARF TOWER 11         PO BOX 730 UPDT 9/25/7 AM   HALIFAX CANADA NS B3J
                                                                                                                             2V1 CANADA
MCINNES COOPER                 ATT: PETER BRYSON Q.C.              PURDY'S WHARF TOWER II        1300‐1969 UPPER WATER       HALIFAX NS B3J 2V1
                                                                                                 STREET
MCINNES COOPER                 ATTN PETER BRYSON Q.C.              PURDY'S WHARF TOWER II        1300‐1969 UPPER WATER       HALIFAX NS B3J 2V1
                                                                                                 STREET
MCINNES COOPER, IN TRUST       BLUE CROSS CENTRE, SOUTH TOWER      SUITE 400, P.O. BOX 1368                                  MONCTON NB E1C 1E2
                                                                                                                             CANADA
MCINNES, BERNARD G             6281 M‐68 HWY                                                                                                         ONAWAY          MI   49765
MCINNES, DOLORES N             5310 JAIME LN                                                                                                         FLUSHING        MI   48433
MCINNIS HOLDER                 PO BOX 289                                                                                                            TURNER          AR   72383‐0289
MCINNIS SIDNEY (400318)        GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                       NORFOLK         VA   23510
                                                                   STREET, SUITE 600
MCINNIS, CHEYLEEN A            PO BOX 228                                                                                                            BRIDGEPORT      MI   48722‐0228
MCINNIS, CHEYLEEN ALISE        PO BOX 228                                                                                                            BRIDGEPORT      MI   48722‐0228
MCINNIS, DANIEL W              2754 BARRON RD                                                                                                        KEITHVILLE      LA   71047‐7310
MCINNIS, DAVID E               4567 STILL MEADOW DR                                                                                                  SAGINAW         MI   48603‐1995
MCINNIS, DONALD W              7175 LAPEER RD                                                                                                        DAVISON         MI   48423‐3399
MCINNIS, DORRIE                PORTER & MALOUF PA                  4670 MCWILLIE DR                                                                  JACKSON         MS   39206‐5621
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Name                              Address1                        Address2                        Address3   Address4         City                State Zip
MCINNIS, HOWARD                   217 W BUENA VISTA ST                                                                        HIGHLAND PARK        MI 48203‐3237
MCINNIS, KAREN F                  37 NORTH ST                                                                                 GRAFTON              MA 01519‐1213
MCINNIS, PATRICK K                3112 DEARBORN AVE                                                                           FLINT                MI 48507‐1857
MCINNIS, RICHARD J                5517 HAMMERMILL DR                                                                          HARRISBURG           NC 28075
MCINNIS, SIDNEY                   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510‐2212
                                                                  STREET, SUITE 600
MCINNIS, TONY W                   PO BOX 498                                                                                  WESSON              MS   39191‐0498
MCINNIS, VICTORIA                 2888 CHESTNUT RUN DR                                                                        BLOOMFIELD HILLS    MI   48302‐1104
MCINNIS, VICTORIA D               2888 CHESTNUT RUN DR                                                                        BLOOMFIELD HILLS    MI   48302‐1104
MCINNIS, WILLIAM C                379 E PRINCETON AVE                                                                         PONTIAC             MI   48340‐1960
MCINNIS, WILLIAM C                379 E P RINCETON                                                                            PONTIAC             MI   48340
MCINNIS‐RHODES, WILMA JEAN        30519 N GUNDERSON DR                                                                        QUEEN CREEK         AZ   85243‐4623
MCINNISH CALVIN (491649)          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH   44067
                                                                  PROFESSIONAL BLDG
MCINNISH, LUTHER G                143 RIDGECREST DR                                                                           FLORENCE            AL   35634‐2401
MCINTEAR, ALETHEA B               3815 BROTHERTON RD APT 9                                                                    CINCINNATI          OH   45209‐1521
MCINTIRE AMANDA                   1521 HOWARD ST                                                                              JACKSON             MS   39202‐1320
MCINTIRE III, MARSHALL D          2413 N GUNNELL RD                                                                           EATON RAPIDS        MI   48827‐9318
MCINTIRE JR, MARSHALL D           6150 FERRIS RD                                                                              EATON RAPIDS        MI   48827‐9658
MCINTIRE PAUL (629096)            GEORGE & SIPES                  151 N DELAWARE ST STE 1700                                  INDIANAPOLIS        IN   46204‐2503
MCINTIRE TERRY                    4920 WENDY LN                                                                               KELSEYVILLE         CA   95451‐8907
MCINTIRE WAYNE                    5255 88TH STREET EAST                                                                       BRADENTON           FL   34211‐3715
MCINTIRE, ASHLEY L                2908 W 8TH ST                                                                               MUNCIE              IN   47302‐1660
MCINTIRE, BETTY R                 PO BOX 386                                                                                  FRANKFURT           IN   46041
MCINTIRE, BOB R                   1051 S COUNTY RD 300 E                                                                      KOKOMO              IN   46902
MCINTIRE, CATHERINE               RR 3 BOX 192                                                                                SHINNSTON           WV   26431‐9603
MCINTIRE, CHARLES W               3012 LIVERPOOL DR                                                                           THOMPSONS STATION   TN   37179‐5271
MCINTIRE, CLYDE C                 1484 NORTON ST                                                                              BURTON              MI   48529‐1264
MCINTIRE, DANIEL E                PO BOX 287                      229 W MAIN ST                                               JAMESTOWN           IN   46147‐0287
MCINTIRE, DANIEL EDWIN            PO BOX 287                      229 W MAIN ST                                               JAMESTOWN           IN   46147‐0287
MCINTIRE, FREDA K                 112 CHASE ST                                                                                ELYRIA              OH   44035‐5916
MCINTIRE, FREDA K                 112 CHASE STREET                                                                            ELYRIA              OH   44035‐5916
MCINTIRE, GIL L                   284 NORTHRIDGE DR                                                                           BOWLING GREEN       KY   42101‐6560
MCINTIRE, JAMES F                 98 N 325 WEST                                                                               DANVILLE            IN   46122
MCINTIRE, JANET                   8401 18 MILE ROAD UNIT #83D                                                                 STERLING HEIGHTS    MI   48313
MCINTIRE, JENNIFER R              3686 DEMURA DR SE                                                                           WARREN              OH   44484
MCINTIRE, JOHN W                  2135 N LOCKE ST                                                                             KOKOMO              IN   46901
MCINTIRE, JULIENNE L              8108 TWIN OAKS DR                                                                           FORT WAYNE          IN   46816‐9787
MCINTIRE, MARK C                  5348 MEADOWOOD DR                                                                           INDIANAPOLIS        IN   46224‐3336
MCINTIRE, MARLAND L               1706 W COWING DR                                                                            MUNCIE              IN   47304‐2329
MCINTIRE, MARLAND LYNN            1706 W COWING DR                                                                            MUNCIE              IN   47304‐2329
MCINTIRE, MARY L                  223 FAIRWAY DR                                                                              DRY RIDGE           KY   41035‐8505
MCINTIRE, MICHAEL DALE            703 D L PHILLIPS LANE                                                                       BROADWAY            NC   27505‐9153
MCINTIRE, P O CO                  4727 E 355TH ST                                                                             WILLOUGHBY          OH   44094‐4631
MCINTIRE, PAUL                    GEORGE & SIPES                  151 N DELEWARE ST               STE 1700                    INDIANAPOLIS        IN   46204‐2503
MCINTIRE, VONDA L                 328 SUNRAY DR                                                                               LINCOLNTON          NC   28092‐9297
MCINTIRE, VONDA L                 328 SUNRAY DRIVE                                                                            LINCONTON           NC   28092‐9297
MCINTIRE, WAYNE L                 5255 88TH ST E                                                                              BRADENTON           FL   34211‐3715
MCINTOSH BENJAMIN N JR
MCINTOSH BENJAMIN N JR (466524)   (NO OPPOSING COUNSEL)
MCINTOSH CHRISTOPHER              MCINTOSH, CHRISTOPHER           16620 W BLUEMOUND RD STE 500                                BROOKFIELD          WI 53005‐5919
MCINTOSH COUNTY TREASURER         PO BOX 547                      COURTHOUSE                                                  EUFAULA             OK 74432‐0547
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Name                        Address1                          Address2                        Address3   Address4         City            State Zip
MCINTOSH DAVID              12518 W PROSPECT DR                                                                           NEW BERLIN       WI 53151‐1860
MCINTOSH JAMES              8720 MARR RD                                                                                  ALMONT           MI 48003‐9649
MCINTOSH JR, ARCH           3132 S PREBLE COUNTY RD                                                                       FARMERSVILLE     OH 45325
MCINTOSH JR, ARTHUR         1354 HALL RIDGE RD                                                                            SCIENCE HILL     KY 42553‐8913
MCINTOSH JR, CLARENCE       1143 E JULIAH AVE                                                                             FLINT            MI 48505‐1630
MCINTOSH JR, JOHN R         7719 WISHINGWELL COURT                                                                        FORT WAYNE       IN 46815‐6555
MCINTOSH JR, TIMOTHY P      819 S 7TH ST                                                                                  ANN ARBOR        MI 48103‐4766
MCINTOSH PAUL (492628)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                              PROFESSIONAL BLDG
MCINTOSH RICHARD (429425)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510
                                                              STREET, SUITE 600
MCINTOSH ROGER & DEBBIE     PO BOX 608                                                                                    LINWOOD         MI   48634‐0608
MCINTOSH SANDREKA           2949 DUBLIN ARBOR LN                                                                          DUBLIN          OH   43017
MCINTOSH SR., FREDERICK A   1074 BERYL TRAIL                                                                              DAYTON          OH   45459‐5459
MCINTOSH SR., FREDERICK A   1074 BERYL TRL                                                                                DAYTON          OH   45459‐3965
MCINTOSH, A. C              148 MURRAY DR                                                                                 DAYTON          OH   45403‐2846
MCINTOSH, A. C              148 MURRAY DR.                                                                                DAYTON          OH   45403‐2846
MCINTOSH, ANNIE B           PO BOX 228                                                                                    WINNFIELD       LA   71483‐0228
MCINTOSH, ARCHIE            310 WEST PLACE                                                                                TRENTON         OH   45067‐5067
MCINTOSH, ARCHIE            310 WEST PL                                                                                   TRENTON         OH   45067‐1244
MCINTOSH, ARCHIE L          55 MAHOPAC DR                                                                                 BEAR            DE   19701‐3820
MCINTOSH, ARLENE J          508 IROQUOIS AVE                                                                              PRUDENVILLE     MI   48651‐9641
MCINTOSH, ARLENE J          508 IROQUOIS                                                                                  PRUDENVILLE     MI   48651‐9720
MCINTOSH, ARTHUR E          6666 WHEELER RD                                                                               LOCKPORT        NY   14094
MCINTOSH, ARTHUR S          290 W 350 S                                                                                   HUNTINGTON      IN   46750‐8155
MCINTOSH, BARBARA A         1908 DORIS DR                                                                                 KETTERING       OH   45429‐4310
MCINTOSH, BARBARA B         2598 N WILLIAMS LAKE RD                                                                       WATERFORD       MI   48327‐1068
MCINTOSH, BEATRICE          PO BOX 402                                                                                    CANFIELD        OH   44406‐0402
MCINTOSH, BETTY D           2244 MEADOWLARK LANE E                                                                        REYNOLDSBURG    OH   43068‐3068
MCINTOSH, BETTY J           1685 MONARCH DR                                                                               SANTA YNEZ      CA   93460‐9738
MCINTOSH, BETTY JEAN        3415 SAINT JAMES CHURCH RD                                                                    NEWTON          NC   28658‐9386
MCINTOSH, BILLIE J          6820 ORANGE LN                                                                                FLINT           MI   48505‐1943
MCINTOSH, BOBBY J           2814 GLADSTONE ST                                                                             MORAINE         OH   45439‐1628
MCINTOSH, BRUCE K           828 ALANA CT                                                                                  DAVISON         MI   48423‐1249
MCINTOSH, CARA L            5635 HOFFMAN NORTON RD                                                                        BRISTOLVILLE    OH   44402‐9621
MCINTOSH, CHAD A            307 W ALLEN ST                                                                                SPRING HILL     KS   66083‐9107
MCINTOSH, CHANDEL           COLIANNI & COLIANNI               1138 KING STREET                                            CHRISTIANSTED   VI   00820
MCINTOSH, CHARLENE A        3136 PEACHTREE ST                                                                             JANESVILLE      WI   53548‐3243
MCINTOSH, CHARLES E         415 S OXFORD AVE APT 317                                                                      LOS ANGELES     CA   90020‐3872
MCINTOSH, CHARLES T         9415 QUAKER TRACE RD                                                                          CAMDEN          OH   45311
MCINTOSH, CHRISTOPHER       ROSE & DEJONG SC                  161 S 1ST ST STE 400                                        MILWAUKEE       WI   53204‐4333
MCINTOSH, CLARENCE E        2539 N LEXINGTON DR                                                                           JANESVILLE      WI   53545‐0586
MCINTOSH, CLAUDE W          9965 BELLEFONTAINE RD                                                                         DAYTON          OH   45424‐1647
MCINTOSH, CONNIE L          290 W 350 S                                                                                   HUNTINGTON      IN   46750‐8155
MCINTOSH, CONNIE LEE        290 W 350 S                                                                                   HUNTINGTON      IN   46750‐8155
MCINTOSH, DANIEL D          1615 KINGS CARRIAGE RD                                                                        GRAND BLANC     MI   48439‐8719
MCINTOSH, DANIEL L          1201 LAVENDER AVE                                                                             FLINT           MI   48504‐3322
MCINTOSH, DARRY J           CENTRAL FOUNDRY                                                                               DEFIANCE        OH   43512
MCINTOSH, DARRYL V          119 VAN DEMON DR                                                                              FITZGERALD      GA   31750‐8004
MCINTOSH, DAWN M            4371 SPRINGCREEK DR APT H                                                                     DAYTON          OH   45405
MCINTOSH, DEBORAH A         5551 HILLSBORO ST                                                                             DETROIT         MI   48204‐2937
MCINTOSH, DELMAR            3871 BAYBERRY DR                                                                              HAMILTON        OH   45011
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Name                       Address1                         Address2                   Address3   Address4         City            State Zip
MCINTOSH, DOLLIE L         4716 ST JOHN AVE                                                                        DAYTON           OH 45406
MCINTOSH, DONALD C         126 DURSO DR                                                                            NEWARK           DE 19711‐6904
MCINTOSH, DONALD L         513 MACDUFF DR                   HIGHLANDS M.H.P.                                       MOUNT MORRIS     MI 48458‐8922
MCINTOSH, DORIS E          111 S WATER ST                                                                          GERMANTOWN       OH 45327‐1446
MCINTOSH, DOROTHY M        567 RIFLE RANGE RD                                                                      ALEXANDRIA       KY 41001‐8247
MCINTOSH, DORTHA F         27 MC CALL                                                                              GERMANTOWN       OH 45327‐9323
MCINTOSH, DORTHA F         27 MCCALL RD                                                                            GERMANTOWN       OH 45327‐9323
MCINTOSH, DUBOIS           5144 WOODMONT DR                                                                        PORTAGE          MI 49002‐0547
MCINTOSH, ELMER            17764 HIGHWAY 16 E                                                                      DE KALB          MS 39328‐5525
MCINTOSH, EMMETT P         5618 RED COACH RD                                                                       DAYTON           OH 45429‐6118
MCINTOSH, ERIC A           1709 ROSEMONT BLVD                                                                      DAYTON           OH 45420‐2508
MCINTOSH, ERNEST L         PO BOX 25102                                                                            CINCINNATI       OH 45225‐0102
MCINTOSH, ESTELLE          311 BALTIMORE STREET                                                                    MIDDLETOWN       OH 45044‐4303
MCINTOSH, FLOELLA          513 SOUTH OLD BETSY RD APT#113                                                          KEENE            TX 76059
MCINTOSH, FLOSSIE J        425 ROCK LICK RD                                                                        JACKSON          KY 41339‐7692
MCINTOSH, FLOYD A          229 CROWTHERS DR                                                                        HAMILTON         OH 45013‐1730
MCINTOSH, FRANCES          PO BOX 49                                                                               MOORES HILL      IN 47032‐0049
MCINTOSH, FRANCES          BOX 49                                                                                  MOORES HILL      IN 47032‐0049
MCINTOSH, FRANK M          44732 CRESTMONT DR                                                                      CANTON           MI 48187‐1818
MCINTOSH, FRED E           2244 MEADOWLARK LN E                                                                    REYNOLDSBURG     OH 43068‐4925
MCINTOSH, FREDDIE          8809 AMARANTH LN                                                                        YPSILANTI        MI 48197‐1073
MCINTOSH, GLENN T          360 TIMBER RIDGE DR UNIT 10                                                             WILDER           KY 41071‐3369
MCINTOSH, GREGORY          1626 COLEMAN ST                                                                         WILMINGTON       DE 19805‐4638
MCINTOSH, GURGA G          7306 WARNER ST                                                                          ALLENDALE        MI 49401‐9742
MCINTOSH, HAROLD J         13760 MCKINLEY RD                                                                       MONTROSE         MI 48457
MCINTOSH, HELEN            848 HAWTHORNE DRIVE                                                                     CINCINNATI       OH 45245‐1830
MCINTOSH, HELEN L          1909 QUEEN AVE                                                                          MIDDLETON        OH 45044‐5044
MCINTOSH, HERBERT F        3811 PARKWAY CT                                                                         FLINT            MI 48503‐4558
MCINTOSH, JACK D           1110 CARRINGTON ST                                                                      TOLEDO           OH 43615‐4161
MCINTOSH, JAMES M          6422 DALTON DR                                                                          FLUSHING         MI 48433‐2333
MCINTOSH, JAMES MITCHELL   6422 DALTON DR                                                                          FLUSHING         MI 48433‐2333
MCINTOSH, JAMES S          1740 GARDEN RD                                                                          MILFORD          MI 48381‐2530
MCINTOSH, JANET G          102 S CLAYPOOL                                                                          MUNCIE           IN 47303‐5129
MCINTOSH, JANET G          3109 EAST OAKLAWN DRIVE                                                                 MUNCIE           IN 47303‐9437
MCINTOSH, JANICE D         2728 JOHN BROWN RD                                                                      PRINCETON        KS 66078‐9009
MCINTOSH, JANICE E         14295 NORTH COPPERSTONE DRIVE                                                           ORO VALLEY       AZ 85755‐9318
MCINTOSH, JANICE J         6419 E MOUNT MORRIS RD                                                                  MOUNT MORRIS     MI 48458‐9731
MCINTOSH, JANICE O.        3248 SKANDER DR                                                                         FLINT            MI 48504‐1232
MCINTOSH, JASON S          1340 RENSLAR AVE                                                                        DAYTON           OH 45432‐3131
MCINTOSH, JEAN             2479 FOREST AVE                                                                         NIAGARA FALLS    NY 14301‐1437
MCINTOSH, JEANETTE F       3520 LAURISTON DR                                                                       NEW CASTLE       IN 47362
MCINTOSH, JEREMY D         300 JANET AVE                                                                           CARLISLE         OH 45005‐1322
MCINTOSH, JERRY T          3004 APPALOOSA WAY                                                                      LANSING          MI 48906‐9069
MCINTOSH, JESSIE M         26016 THOMAS ST                                                                         WARREN           MI 48091‐1000
MCINTOSH, JESSIE M         1015 8TH AVE SE                                                                         DECATUR          AL 35601‐3963
MCINTOSH, JESSIE M         26016 THOMAS                                                                            WARREN           MI 48091‐1000
MCINTOSH, JILL D           3205 TIMOTHY CIR                                                                        SHREVEPORT       LA 71119‐5329
MCINTOSH, JIMMIE D         3143 E PIERSON RD                                                                       FLINT            MI 48506‐1478
MCINTOSH, JOHN D           327 E KENILWORTH AVE                                                                    ROYAL OAK        MI 48067‐3715
MCINTOSH, JOHN DONALD      327 E KENILWORTH AVE                                                                    ROYAL OAK        MI 48067‐3715
MCINTOSH, JOHN F           APT 113                          513 SOUTH OLD BETSY ROAD                               KEENE            TX 76059‐1400
MCINTOSH, JOHNNY P         380 REVENNA TRL                                                                         FAIRBURN         GA 30213‐6014
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Name                      Address1                          Address2                       Address3   Address4         City             State Zip
MCINTOSH, JOHNNY PARIS    380 REVENNA TRL                                                                              FAIRBURN          GA 30213‐6014
MCINTOSH, JOSEPH W        940 N IROQUOIS AVE                                                                           ANAHEIM           CA 92801‐3505
MCINTOSH, JUDITH A        8401 NW 68TH ST                                                                              KANSAS CITY       MO 64152‐2703
MCINTOSH, JUDY B          7821 SELWOOD CIR                                                                             HUBER HEIGHTS     OH 45424‐2313
MCINTOSH, KENT J          307 W ALLEN ST                                                                               SPRING HILL       KS 66083‐9107
MCINTOSH, LARRY C         6300 AFTON DRIVE                                                                             DAYTON            OH 45415‐1832
MCINTOSH, LARRY C         6300 AFTON DR                                                                                DAYTON            OH 45415‐1832
MCINTOSH, LARRY L         2895 PEKIN RD                                                                                SPRINGBORO        OH 45066‐7434
MCINTOSH, LAURA S         3132 S PREBLE COUNTY RD                                                                      FARMERSVILLE      OH 45325
MCINTOSH, LAWRENCE        395 EASTLAWN ST                                                                              DETROIT           MI 48215‐3071
MCINTOSH, LENWOOD         4150 E 154TH ST                                                                              CLEVELAND         OH 44128‐1932
MCINTOSH, LEONARD L       1575 WEBER RD                                                                                GLADWIN           MI 48624‐8444
MCINTOSH, LEROY           17917 BELMONT AVE                                                                            LAKE MILTON       OH 44429‐9519
MCINTOSH, LESTER A        2151 KERSHNER RD                                                                             DAYTON            OH 45414‐1209
MCINTOSH, LOUISA MAE      7611 CHURCH RD                                                                               IMLAY CITY        MI 48444‐9468
MCINTOSH, LUTHER E        9420 PALMER RD.                                                                              DAYTON            OH 45424‐5424
MCINTOSH, LUTHER E        9420 S PALMER RD                                                                             DAYTON            OH 45424‐1624
MCINTOSH, LUVENIA         2225 FOSS CT                                                                                 SAINT LOUIS       MO 63136‐4403
MCINTOSH, MADELYN C       19346 PIERSON ST                                                                             DETROIT           MI 48219‐2532
MCINTOSH, MAE             17 W SPRING ST                                                                               PERU              IN 46970‐2732
MCINTOSH, MAE             17 W SPRING STREET                                                                           PERU              IN 46970
MCINTOSH, MARIO L         2225 FOSS CT                                                                                 SAINT LOUIS       MO 63136‐4403
MCINTOSH, MARQUETTE M     2225 FOSS CT                                                                                 SAINT LOUIS       MO 63136‐4403
MCINTOSH, MARVIN L        300 OAK RIDGE RD LOT 93                                                                      FREDERICKSBURG    TX 78624‐8249
MCINTOSH, MARY JANE       940 N IROQUOIS AVE                                                                           ANAHEIM           CA 92801‐3505
MCINTOSH, MARY JANE       940 IROQUOIS,                                                                                ANAHEIM           CA 92801‐2801
MCINTOSH, MARY M          26024 HOFFMAN RD.                                                                            DEFIANCE          OH 43512‐8934
MCINTOSH, MATTHEW S       1613 LAMBERTON ST 1615                                                                       MIDDLETOWN        OH 45044
MCINTOSH, MECO D          313 OTTERBEIN AVE                                                                            DAYTON            OH 45406
MCINTOSH, MELISSA K       512 N FRANKLIN ST                                                                            GREENSBURG        IN 47240
MCINTOSH, MICHAEL A       905 W HART ST                                                                                BAY CITY          MI 48706‐3632
MCINTOSH, MICHAEL ALAN    905 WEST HART STREET                                                                         BAY CITY          MI 48706‐3632
MCINTOSH, MICHAEL J       13800 MCKINLEY RD                                                                            MONTROSE          MI 48457
MCINTOSH, MICHAEL JAMES   13800 MCKINLEY RD                                                                            MONTROSE          MI 48457
MCINTOSH, NETTIE F        28408 LONGMEADOW LN                                                                          BROWNSTOWN TWP    MI 48183‐5026
MCINTOSH, OMER T          780 NEW LEWISBURG HWY                                                                        COLUMBIA          TN 38401‐6347
MCINTOSH, PAUL            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH 44067
                                                            PROFESSIONAL BLDG
MCINTOSH, PAULA M         2175 WILLOW LEAF CT S             OUTH                                                       ROCHESTER HLS    MI   48309‐3738
MCINTOSH, PEARLIE         270 BARBOURVILLE ROAD APT 104                                                                LONDON           KY   40744
MCINTOSH, PRISCILLA L     328 MILL SPGS                                                                                FILLMORE         IN   46128‐9386
MCINTOSH, RANDALL C       110 BROOKHAVEN DR                                                                            COLUMBIA         TN   38401‐8876
MCINTOSH, RAYMOND E       1947 BELLWOOD DR                                                                             MANSFIELD        OH   44904‐1629
MCINTOSH, RICHARD         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                            STREET, SUITE 600
MCINTOSH, RICHARD L       2808 W CYPRESS DR                                                                            MUNCIE           IN   47304‐5739
MCINTOSH, ROBERT G        520 W. MARKET ST                                                                             SPRINGBORO       OH   45066‐1152
MCINTOSH, ROBERT G        520 W MARKET ST                                                                              SPRINGBORO       OH   45066‐1152
MCINTOSH, RONALD J        PO BOX 526                                                                                   WEBBERVILLE      MI   48892‐0526
MCINTOSH, RONNIE R        694 W PULASKI HWY                                                                            ELKTON           MD   21921‐4708
MCINTOSH, ROY E           1409 CORNISH DR                                                                              VANDALIA         OH   45377‐1612
MCINTOSH, RUBY A          9537 LINDA RIO DR                                                                            SACRAMENTO       CA   95827‐1024
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Name                                    Address1                       Address2                        Address3           Address4         City            State Zip
MCINTOSH, RUTH                          5637 GILMOUR RD                                                                                    MORROW           OH 45152‐8149
MCINTOSH, RUTH                          5637 GILMOR RD                                                                                     MORROW           OH 45152‐8149
MCINTOSH, RUTH B                        313 CORNELL AVENUE                                                                                 ELYRIA           OH 44035‐6644
MCINTOSH, SAVANNAH R                    108 WOOD ST                                                                                        WATERBURY        CT 06704
MCINTOSH, SHERLEY                       2508 SOUTH VINE ST,                                                                                YORKTOWN         IN 47396
MCINTOSH, SHERLEY                       2508 S VINE ST                                                                                     YORKTOWN         IN 47396‐1531
MCINTOSH, SIMMIE L                      420 EASTERN AVE                                                                                    CAMPBELL         OH 44405‐1129
MCINTOSH, STEPHEN A                     13126 RED VULCAN CT                                                                                CHARLOTTE        NC 28213
MCINTOSH, STEVEN A                      1395 AGRICOLA DR                                                                                   SAGINAW          MI 48604‐9247
MCINTOSH, TEDDY T                       12812 SAGAMORE RD                                                                                  LEAWOOD          KS 66209‐1617
MCINTOSH, TERRY K                       4301 MOATS AVE                                                                                     KANSAS CITY      MO 64133
MCINTOSH, TIMOTHY                       1180 EAST SPENCER RD                                                                               CAMPTON          KY 41301‐1301
MCINTOSH, TIMOTHY                       1180 E SPENCER RD                                                                                  CAMPTON          KY 41301‐8520
MCINTOSH, TINY M                        610 GRANADA AVE                                                                                    MIDDLETOWN       OH 45044‐7328
MCINTOSH, U S                           1310 MONTAIN RD                                                                                    TOLEDO           OH 43615‐4739
MCINTOSH, VANCE                         2508 S VINE ST                                                                                     YORKTOWN         IN 47396‐1531
MCINTOSH, VERLIN D                      3081 FARMERSVILLE W ALEX RD                                                                        FARMERSVILLE     OH 45325‐8212
MCINTOSH, WILLIAM D                     5043 MIDDLEBORO RD                                                                                 GRAND BLANC      MI 48439‐8734
MCINTOSH, WILLIE M                      RR 2 BOX 268                                                                                       DEKALB           MS 39328
MCINTOSH, WILLIE M                      309 W YORK AVE                                                                                     FLINT            MI 48505‐5909
MCINTOSH, WILLIE M                      1606 NEELY TOWN RD                                                                                 DE KALB          MS 39328‐8123
MCINTOSH,ERIC A                         1709 ROSEMONT BLVD                                                                                 DAYTON           OH 45420‐2508
MCINTOSH‐SMITH, TAMMY R                 10098 BURNSIDE CT                                                                                  GRAND BLANC      MI 48439‐9412
MCINTRE DAVID (491228)                  BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD       OH 44067
                                                                       PROFESSIONAL BLDG
MCINTRE, DAVID                          BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
MCINTRYE, BEVERLY L                     2647 LYDIA ST SW                                                                                   WARREN          OH   44481‐9622
MCINTURF, RICHARD C                     719 LIONS RD                                                                                       SANDWICH        IL   60548‐2258
MCINTURFF, STEVEN G                     2145 LODELL AVE                                                                                    DAYTON          OH   45414‐4625
MCINTYRE BROTHERS INC                   PO BOX 67                                                                                          BEDFORD         IN   47421‐0067
MCINTYRE CAROL (410337)                 SIMMONS LAW FIRM
MCINTYRE CHERYL                         MCINTYRE, CHERYL               PO BOX 322                      500 GREEN STREET                    PARKERSBURG     WV   26102‐0322
MCINTYRE CLYDE                          PO BOX 4727                                                                                        PINEVILLE       LA   71361‐4727
MCINTYRE EDWARD                         MCINTYRE, EDWARD               105 MELODIE LANE                                                    GOLDSBORO       NC   27530‐9207
MCINTYRE JAMES A                        MCINTYRE, JAMES                30 E BUTLER AVE                                                     AMBLER          PA   19002‐4514
MCINTYRE JOHN J SONS INC SCALE          514 516 KNORR ST                                                                                   PHILADELPHIA    PA   19111
MCINTYRE JOYCE M                        MCINTYRE, JOYCE M
MCINTYRE JR, EDWARD                     17 LONGWOOD RD                                                                                     MASHPEE         MA   02649‐2847
MCINTYRE JR, EDWARD                     17 LONGWOOD ROAD                                                                                   MASHPEE         MA   02649‐2847
MCINTYRE JR, EUGENE                     5428 LESLIE DR                                                                                     FLINT           MI   48504‐7019
MCINTYRE JR, HAROLD W                   10479 RENE DR                                                                                      CLIO            MI   48420‐1925
MCINTYRE JR, TAYLOR                     2838 MARIGOLD DR                                                                                   DAYTON          OH   45449‐3236
MCINTYRE NANCY                          19124 CHELTON DR                                                                                   BEVERLY HILLS   MI   48025‐5212
MCINTYRE RICHARD (ESTATE OF) (489149)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH   44067
                                                                       PROFESSIONAL BLDG
MCINTYRE ROBERT (ESTATE OF) (492629)    BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD      OH 44067
                                                                       PROFESSIONAL BLDG
MCINTYRE ROBERT A (410329)              SIMMONS LAW FIRM
MCINTYRE ROBERT J                       22 FAWN HOLLOW RD                                                                                  BURLINGTON      NJ 08016‐3865
MCINTYRE ROBIN V (493998)               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                         NORFOLK         VA 23510
                                                                       STREET, SUITE 600
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Name                      Address1                               Address2                Address3   Address4         City               State Zip
MCINTYRE STEVEN           MCINTYRE, STEVEN                       PO BOX 297                                          TILIHINA            OK 74571
MCINTYRE THOMAS           923 HEMINGWAY LN                                                                           WELDON SPRING       MO 63304‐8605
MCINTYRE VIRGIE           688 CHESNEE RD                                                                             COLUMBUS            NC 28722‐9694
MCINTYRE, ANGELA M        53415 CHRISTY DR                                                                           CHESTERFIELD        MI 48051‐1538
MCINTYRE, ANTOINETTE M    11919 ARALIA CT.                                                                           SHELBY TOWNSHIP     MI 48315‐3300
MCINTYRE, BARBARA         6853 MANSFIELD ST                                                                          GARDEN CITY         MI 48135‐3403
MCINTYRE, BEATRICE        3900 HAMBERG ROAD                      APT # 12                                            FLINT               MI 48507
MCINTYRE, BETTY A         PO BOX 53                                                                                  GRAND BLANC         MI 48480‐0053
MCINTYRE, BEVERLY         4869 W SOUTH RANGE RD                                                                      CANFIELD            OH 44406‐9419
MCINTYRE, BEVERLY L       2647 LYDIA ST SW                                                                           WARREN              OH 44481‐9622
MCINTYRE, BEVERLY O       1816 ALHAMBRA DR                                                                           ANDERSON            IN 46013‐2585
MCINTYRE, BOBBIE J        10867 GATE CIR                                                                             FISHERS             IN 46038‐1755
MCINTYRE, BOBBIE JO       10867 GATE CIR                                                                             FISHERS             IN 46038‐1755
MCINTYRE, BRIDGETT C      9417 WINDING CREEK DR                                                                      DIAMOND             OH 44412‐8746
MCINTYRE, BURL A          2770 E RIVER RD                                                                            NEWTON FALLS        OH 44444‐9790
MCINTYRE, CAROL           SIMMONS LAW FIRM                       PO BOX 521                                          EAST ALTON           IL 62024‐0519
MCINTYRE, CAROL A         5 HOWARD AVE                                                                               LOCKPORT            NY 14094‐2513
MCINTYRE, CAROLYN B       10314 E MICHIGAN AVE                                                                       SUN LAKES           AZ 85248‐6836
MCINTYRE, CAROLYN J       970 COOLIDGE AVE                                                                           CLAWSON             MI 48017‐1770
MCINTYRE, CAROLYN S.      2236 WEST 850‐S                                                                            PENDLETON           IN 46064‐9368
MCINTYRE, CAROLYN S.      2236 W 850 S                                                                               PENDLETON           IN 46064‐9368
MCINTYRE, CHARLES A       9670 VILLAGE VIEW BLVD APT 201 # APT                                                       BONITA SPRINGS      FL 34135‐3820

MCINTYRE, CHARLES KEITH   DALEY ROBERT                           707 GRANT ST STE 2500                               PITTSBURGH         PA   15219‐1945
MCINTYRE, CHRISTINE M     25470 QUARTER DECK ST                                                                      HARRISON TWP       MI   48045‐1529
MCINTYRE, CRYSTAL S       187 FONDA DR                                                                               COLUMBIAVILLE      MI   48421‐9711
MCINTYRE, CRYSTAL STAR    187 FONDA DR                                                                               COLUMBIAVILLE      MI   48421‐9711
MCINTYRE, DAN             BOONE ALEXANDRA                        205 LINDA DR                                        DAINGERFIELD       TX   75638‐2107
MCINTYRE, DANA C          6831 AKRON RD                                                                              LOCKPORT           NY   14094‐5352
MCINTYRE, DAVID
MCINTYRE, DAVID B         2540 DELAVAN DR                                                                            DAYTON             OH   45459
MCINTYRE, DAVID M         1115 NORTHERN TRL                                                                          ALGER              MI   48610‐8305
MCINTYRE, DAVID W         1024 BRIGHTON LAKE RD                                                                      BRIGHTON           MI   48116‐1731
MCINTYRE, DEBORAH L       310 S HENRY ST                                                                             BAY CITY           MI   48706‐4715
MCINTYRE, DONALD          GUY WILLIAM S                          PO BOX 509                                          MCCOMB             MS   39649‐0509
MCINTYRE, DONALD G        42902 DRIFTWOOD DR                                                                         STERLING HEIGHTS   MI   48313‐2828
MCINTYRE, DONALD L        611 SILVER MEADOW LN                                                                       BOARDMAN           OH   44512‐4767
MCINTYRE, EDWARD          105 MELODIE LANE                                                                           GOLDSBORO          NC   27530‐9207
MCINTYRE, EDWARD          105 MELODIE LN                                                                             GOLDSBORO          NC   27530‐9207
MCINTYRE, EDWARD H        15314 W STATE ROAD 11                                                                      ORFORDVILLE        WI   53576‐9629
MCINTYRE, EDWARD J        943 BLOOMFIELD KNOLL DR                                                                    BLOOMFIELD HILLS   MI   48304‐2015
MCINTYRE, EDWARD L        9669 DUNCAN BRIDGE RD                                                                      CLEVELAND          GA   30528‐5195
MCINTYRE, EILEEN          4342 VAN ATTA RD                                                                           OKEMOS             MI   48864‐3139
MCINTYRE, EILEEN          4342 VAN ATTA                                                                              OKEMOS             MI   48864‐3139
MCINTYRE, ELAINE          1212 PIN OAK PL                                                                            SHREVEPORT         LA   71107‐2710
MCINTYRE, ELBONY          4620 MORSE RD                                                                              GAHANNA            OH   43230‐6373
MCINTYRE, FRANCIS M       2625 PLUM BROOK DR                                                                         BLOOMFIELD HILLS   MI   48304‐1766
MCINTYRE, FRANKIE E       3901 LAUDERHILL CIR                                                                        LANSING            MI   48911‐2526
MCINTYRE, FRED A          542 JEFF DAVIS PARK RD                                                                     FITZGERALD         GA   31750‐6234
MCINTYRE, FRED W          1744 PEPPERMILL RD                                                                         LAPEER             MI   48446‐3246
MCINTYRE, FREDERICK K     3070 DOUGLAS DR                                                                            LAKE HAVASU CITY   AZ   86404‐1550
MCINTYRE, GLADYS          7800 MONA CT                                                                               DENVER             CO   80221‐4059
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Name                      Address1                        Address2                Address3     Address4              City               State Zip
MCINTYRE, GLENDA D        13518 TANGIER AVE                                                                          BELLFLOWER          CA 90706‐2228
MCINTYRE, HELEN A         1023 21ST ST                                                                               BAY CITY            MI 48708‐7282
MCINTYRE, HUBERT L        9549 DUNCAN BRIDGE RD                                                                      CLEVELAND           GA 30528‐5193
MCINTYRE, IKE W           3402 CLOUDLAND DR                                                                          MEMPHIS             TN 38118
MCINTYRE, IKE W           422 W GRACELAWN AVE                                                                        FLINT               MI 48505‐6114
MCINTYRE, JACQUELINE M    12020 WABASIS AVE NE                                                                       CEDAR SPRINGS       MI 49319‐9226
MCINTYRE, JAMES           183 JUNIPER DR                                                                             OZARK               AL 36360‐3466
MCINTYRE, JAMES A         702 S MAIN ST                                                                              HOLDEN              MO 64040‐1424
MCINTYRE, JAMES C         11180 WILSHIRE DR                                                                          SHELBY TWP          MI 48315‐6674
MCINTYRE, JAMES D         2192 BULLOCK RD                                                                            BAY CITY            MI 48708‐9654
MCINTYRE, JAMES S         21634 THORNBUSH DR                                                                         WOODHAVEN           MI 48183‐5217
MCINTYRE, JAMES V         1535 CORAL AVE                                                                             VERO BEACH          FL 32963‐2343
MCINTYRE, JASON P         109 ROYAL CT                                                                               TULLAHOMA           TN 37388‐4847
MCINTYRE, JESSICA R       PO BOX 403                      113 W CASGROVE                                             NASHVILLE           MI 49073‐0403
MCINTYRE, JESSICA RAE     PO BOX 403                      113 W CASGROVE                                             NASHVILLE           MI 49073‐0403
MCINTYRE, JOAN B          3070 DOUGLAS DR                                                                            LAKE HAVASU CITY    AZ 86404‐1550
MCINTYRE, JOANN M         3165 HERCULES RD                                                                           VENICE              FL 34293‐3721
MCINTYRE, JOHN R          306 MCCORMICK ST                                                                           BAY CITY            MI 48708‐7733
MCINTYRE, JOHN T          1327 NORTHFIELD DR                                                                         MINERAL RIDGE       OH 44440‐9407
MCINTYRE, JOHNNIE M       1262 GREENBAY AVE.                                                                         CALUMET CITY         IL 60409‐5708
MCINTYRE, JUDY M          26034 PALMER ST                                                                            MADISON HEIGHTS     MI 48071
MCINTYRE, KATHERINE E     8868 CHAMBORE DR                                                                           JACKSONVILLE        FL 32256‐8485
MCINTYRE, KELLY R         607 CATTAIL LN                                                                             FRANKLIN            TN 37064‐5058
MCINTYRE, KENNETH A       2231 HILL CREEK ROAD                                                                       WOODBURY            TN 37190‐5826
MCINTYRE, KENNETH M       803 SIDNEY DR                                                        ENNISMORE ON CANADA
                                                                                               K0L‐1T0
MCINTYRE, LARRY           4523 RADNOR RD                                                                             INDIANAPOLIS       IN   46226‐2151
MCINTYRE, LARRY K         42906 WOODHILL DR                                                                          ELYRIA             OH   44035‐2055
MCINTYRE, LEADORA L       10479 RENE DR                                                                              CLIO               MI   48420‐1925
MCINTYRE, LINN D          121 S SCHOOL ST                                                                            BROWNSBURG         IN   46112‐1356
MCINTYRE, LYNN H          6952 OLD AKRON RD                                                                          LOCKPORT           NY   14094
MCINTYRE, MABEL           PO BOX 15213                    C/O EVELYN M STITTUMS                                      BROOKSVILLE        FL   34604‐0114
MCINTYRE, MARGIE          4229 E HILL RD                                                                             GRAND BLANC        MI   48439‐7971
MCINTYRE, MARIE           1007 W HILLSDALE ST                                                                        LANSING            MI   48915‐1645
MCINTYRE, MARK D          1513 ROOSEVELT AVE                                                                         LANSING            MI   48915‐2239
MCINTYRE, MARK E          7359 N IONIA RD                                                                            VERMONTVILLE       MI   49096
MCINTYRE, MARVIN          PO BOX 15213                                                                               BROOKSVILLE        FL   34604‐0114
MCINTYRE, MARY A          18 1/2 SOUTH CHATHAM                                                                       JANESVILLE         WI   53548
MCINTYRE, MATHEW S        434 FILLEY ST                                                                              LANSING            MI   48906‐2903
MCINTYRE, MATTHEW J       4229 E HILL RD                                                                             GRAND BLANC        MI   48439‐7971
MCINTYRE, MAUREEN A       320 ROSS AVE                                                                               CARNEGIE           PA   15106‐3212
MCINTYRE, MERDITHY
MCINTYRE, MICHAEL B       1042 2ND ST                                                                                WYANDOTTE          MI   48192‐3212
MCINTYRE, MICHELE L       15314 W STATE ROAD 11                                                                      ORFORDVILLE        WI   53576‐9629
MCINTYRE, MICHELLE L      2337 PUU KALENA ST                                                                         WAHIAWA            HI   96786‐7054
MCINTYRE, MICHELLE LYNN   2337 PUU KALENA ST                                                                         WAHIAWA            HI   96786‐7054
MCINTYRE, NANCY A         19124 CHELTON DR                                                                           BEVERLY HILLS      MI   48025‐5212
MCINTYRE, NANCY C         6323 KEVIN DR                                                                              BRIGHTON           MI   48116‐1761
MCINTYRE, NANCY H         5814 SILVER OAKS DR                                                                        INDIANAPOLIS       IN   46237‐9206
MCINTYRE, NINA J          425 NORTH 500 EAST, BOX 99                                                                 ANDERSON           IN   46017‐9106
MCINTYRE, NINA J          425 N 500 E LOT 99                                                                         ANDERSON           IN   46017‐9106
MCINTYRE, NORDA B         1701 THUMM RD                                                                              GAYLORD            MI   49735‐8997
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Name                            Address1                       Address2                      Address3   Address4         City            State Zip
MCINTYRE, PAMALA JEAN           5166 DON SHENK DR                                                                        SWARTZ CREEK     MI 48473‐1208
MCINTYRE, PEGGY                 703 POINTE TREMBLE DRIVE                                                                 ALGONAC          MI 48001‐1609
MCINTYRE, PEGGY J               8644 SW REESE ST. #236                                                                   ARCADIA          FL 34269
MCINTYRE, RAYMOND D             815 APOLLO DR                                                                            MIDLAND          MI 48642‐6080
MCINTYRE, RICHARD J             PO BOX 53                                                                                GRAND BLANC      MI 48480‐0053
MCINTYRE, ROBERT                SIMMONS LAW FIRM               PO BOX 521                                                EAST ALTON        IL 62024‐0519
MCINTYRE, ROBERT A              2840 SCHEMM ST                                                                           SAGINAW          MI 48602‐3728
MCINTYRE, ROBERT B              30336 WINDSOR ST                                                                         GARDEN CITY      MI 48135‐2063
MCINTYRE, ROBERT E              5632 VALLEY MEADOW DR                                                                    ARLINGTON        TX 76016‐1555
MCINTYRE, ROBERT F              6056 E 48TH ST                                                                           NEWAYGO          MI 49337‐8021
MCINTYRE, ROBERT J              22 FAWN HOLLOW RD                                                                        BURLINGTON       NJ 08016‐3865
MCINTYRE, ROBIN V               GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                               STREET, SUITE 600
MCINTYRE, RONALD E              249 CARRIAGE LN APT 304                                                                  CANFIELD        OH   44406‐1562
MCINTYRE, RONALD E              4869 W SOUTH RANGE RD                                                                    CANFIELD        OH   44406‐9419
MCINTYRE, RUBY L                2435 JERAULD AVE                                                                         NIAGARA FALLS   NY   14305‐3125
MCINTYRE, RUTH A                1781 BRIDGEWATER DR                                                                      MELBOURNE       FL   32934‐2934
MCINTYRE, RUTH S                2254 N.W. BLVD. N.W.                                                                     WARREN          OH   44485‐2305
MCINTYRE, RUTH S                2254 NORTHWEST BLVD NW                                                                   WARREN          OH   44485‐2305
MCINTYRE, SEAN M                1911 N MILLER RD                                                                         SAGINAW         MI   48609
MCINTYRE, STEPHEN N             715 EAST 8TH ST                                                                          ANDERSON        IN   46012
MCINTYRE, STEVEN                HC 54, BOX 5660                                                                          TUSKAHOMA       OK   74574‐9702
MCINTYRE, STEVEN                PO BOX 297                                                                               TILIHINA        OK   74571
MCINTYRE, SUSAN M               2192 BULLOCK RD                                                                          BAY CITY        MI   48708‐9654
MCINTYRE, TERRI L               RR 2 BOX 188                                                                             MILTON          WV   25541‐8780
MCINTYRE, THELMA                1806 W HOME AVE                                                                          FLINT           MI   48504‐1687
MCINTYRE, THOMAS W              2647 LYDIA ST SW                                                                         WARREN          OH   44481‐9622
MCINTYRE, TIMOTHY M             19124 CHELTON DR                                                                         BEVERLY HILLS   MI   48025‐5212
MCINTYRE, TOMMY G               1822 S WASHINGTON ST                                                                     TILTON          IL   61833‐8230
MCINTYRE, TOWNSEL               4620 OZARK AVE                                                                           DAYTON          OH   45432‐3204
MCINTYRE, TROY L                625 E MICHIGAN AVE                                                                       LANSING         MI   48912
MCINTYRE, VIRGINIA D            525 RIVERINE DR APT 203                                                                  TRAVERSE CITY   MI   49684‐3272
MCINTYRE, WANDA J               534 WESTERN PL                                                                           AUSTINTOWN      OH   44515‐3506
MCINTYRE, WILLIAM H             345 MEADOWBROOK AVE SE                                                                   WARREN          OH   44483‐6328
MCINTYRE, WILLIAM P             8709 CANDLEWOOD TR APT                                                                   BRIGHTON        MI   48116
MCINTYRE, WILLIE B              120 NEWBURG PL                                                                           JACKSON         MS   39206‐2613
MCINTYRE, ZACK                  3919 HAZY LANE                                                                           OKEMOS          MI   48864‐5227
MCINVILLE GERALD D (493999)     GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                               STREET, SUITE 600
MCINVILLE, GERALD D             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                               STREET, SUITE 600
MCISAAC, PRISCILLA R            61 NORFOLK RD                                                                            TORRINGTON      CT   06790
MCIVA SPEAR                     1245 MIDDLEHAM LN                                                                        BEECH GROVE     IN   46107‐3312
MCIVER MARY                     29 ABERDEEN RD                                                                           QUINCY          MA   02171‐1314
MCIVER THOMAS JOSEPH (439318)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510
                                                               STREET, SUITE 600
MCIVER, ANTHONY L               APT 207                        2908 PRESCOTT AVENUE                                      DAYTON          OH   45406‐2727
MCIVER, BARBARA L               239 SMITH ST                                                                             PEEKSKILL       NY   10566‐3207
MCIVER, BARBARA L               239 SMITH STREET                                                                         PEEKSKILL       NY   10566‐3207
MCIVER, DALE L                  182 TANZBERGER DR                                                                        SAINT LOUIS     MO   63129‐4342
MCIVER, JAMES D                 3117 W DEVON RD                                                                          MUNCIE          IN   47304‐3844
MCIVER, JAMES D                 1455 TURFWOOD DR                                                                         PFAFFTOWN       NC   27040
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Name                             Address1                        Address2                           Address3   Address4              City               State Zip
MCIVER, JAMES M                  20 HAWTHORNE RD                                                                                     PICAYUNE            MS 39466‐9285
MCIVER, JAMES W                  1019 WINDERMERE XING                                                                                CUMMING             GA 30041‐6112
MCIVER, JERYL                    355 CHERRY VALLEY DR APT Q10                                                                        INKSTER             MI 48141‐1482
MCIVER, LARRY                    PO BOX 54                                                                                           CAMERON             NC 28326‐0054
MCIVER, MARY A                   29 ABERDEEN RD                                                                                      QUINCY              MA 02171‐1314
MCIVER, MAUDIE R                 2209 S WOODBRIDGE DR                                                                                YORKTOWN            IN 47396‐9560
MCIVER, SHIRLEY M                648 PLYMOUTH STREET                                                                                 ABINGTON            MA 02351‐2222
MCIVER, THOMAS JOSEPH            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
MCIVER, TOMMIE L                 20 HAWTHORNE RD                                                                                     PICAYUNE           MS 39466‐9285
MCIVER, WILLIAM D                8866 WARWICK ST                                                                                     DETROIT            MI 48228‐3063
MCIVOR AUTOMOTIVE                3192 CREEKFORD RD.                                                            KINGSTON ON K7P 2Z6
                                                                                                               CANADA
MCIVOR, RONALD L                 71 N HURON RD                                                                                       AU GRES            MI   48703‐9748
MCIVOR, TONYA R                  3326 DAKOTA AVE                                                                                     FLINT              MI   48506‐3165
MCJAMES, DONALD W                3030 SUNDERLAND RD                                                                                  LANSING            MI   48911‐1569
MCJAMES, ROBERT D                1604 FESSENDEN AVE                                                                                  MT PLEASANT        MI   48858‐2138
MCJENNETT II, ANTONIO V          20923 BEECHWOOD AVE                                                                                 EAST DETROIT       MI   48021‐2809
MCJENNETT, ANTONIO V             34290 SAVANNAH CT                                                                                   CHESTERFIELD       MI   48047‐6100
MCJORDAN, SHIRLEY B              213 SHADOW LAKE DR N                                                                                CLINTON            MS   39056‐4555
MCJUNKIN RED MAN CORPORATION     ANDREW KNAP                     835 HILLCREST DR E                                                  CHARLESTON         WV   25311‐1627
MCJUNKIN, BETTY D                3905 N. LANEWOOD                                                                                    MUNCIE             IN   47304‐1526
MCJUNKIN, BETTY D                3905 N LANEWOOD DR                                                                                  MUNCIE             IN   47304‐1526
MCJUNKINS, MARY                  7500 CALLAGHAN RD APT 208                                                                           SAN ANTONIO        TX   78229‐2835
MCJUNKINS, SANDRA                PO BOX 54843                                                                                        ATLANTA            GA   30308‐0843
MCJUNKINS, SANDRA                P.O BOX 54843                                                                                       ATLANTA            GA   30308‐0308
MCJUNKINS, WILLIAM R             453 MIRAGE DR                                                                                       KOKOMO             IN   46901
MCKAE', MICKI A                  15613 EVERGLADE LANE                                                                                BOWIE              MD   20716
MCKAE', MICKI A.                 15613 EVERGLADE LANE                                                                                BOWIE              MD   20716
MCKAIG CHEVROLET PONTIAC BUICK   KENT ABERNATHY                  1110 BROADWAY AVE                                                   GLADEWATER         TX   75647‐2503
MCKAIG CHEVROLET PONTIAC BUICK   1110 BROADWAY AVE                                                                                   GLADEWATER         TX   75647‐2503
MCKAIG, AUSTIN DEREK             LITTLE DAVID W                  115 E CALIFORNIA BRICKTOWN,                                         OKLAHOMA CITY      OK   73104
                                                                 MILLER JACKSON BUILDING, STE 350

MCKAIG, DAVID G                  10161 N AMBER TRL                                                                                   EDGERTON           WI   53534‐8922
MCKAIG, KATHRYN A                10161 N AMBER TRL                                                                                   EDGERTON           WI   53534‐8922
MCKAIN, BRADLEY L                213 14TH ST                                                                                         FRANKLIN           IN   46131‐1105
MCKAIN, BRADLEY L.               213 14TH ST                                                                                         FRANKLIN           IN   46131‐1105
MCKAIN, GARY L                   4005 WESTERN DR                                                                                     ANDERSON           IN   46012‐9272
MCKAIN, HELEN J                  19370 MOCCASIN LN                                                                                   NORTH FORT MYERS   FL   33903‐1214
MCKAIN, JERRY F                  4112 ROUNDHILL DR                                                                                   ANDERSON           IN   46013‐2569
MCKAIN, KEITH                    1410 LAWRENCE WAY                                                                                   ANDERSON           IN   46013‐5604
MCKAIN, KENNETH L                789 E STATE ROAD 48                                                                                 SHELBURN           IN   47879‐8222
MCKAIN, NORMAN F                 214 W OAK ST                                                                                        ANDERSON           IN   46012‐2548
MCKAIN, RUSSELL L                4112 ROUNDHILL DR                                                                                   ANDERSON           IN   46013‐2569
MCKAIN, THEODORE F               89 OAK TREE DR                                                                                      BROWNSBURG         IN   46112‐8362
MCKALE, JULIA A                  2462 N PROSPECT AVE APT 332                                                                         MILWAUKEE          WI   53211‐4450
MCKALIP, CARL J                  3454 FOUNTAIN CITY RD                                                                               DE SOTO            MO   63020‐4516
MCKALKO, CARRIE L                1197 OAKWOOD CT                                                                                     ROCHESTER HILLS    MI   48307‐2538
MCKAMEY, CHARLES C               126 ANDREWS BLVD                                                                                    PLAINFIELD         IN   46168‐9769
MCKAMEY, EVELYN S                PO BOX 213                                                                                          CLOVERDALE         IN   46120‐0213
MCKAMEY, JANNICE E               2822 GLENVIEW AVE                                                                                   ROYAL OAK          MI   48073‐3119
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Name                       Address1                           Address2                         Address3   Address4         City              State Zip
MCKAMEY, ROBERT L          PO BOX 213                                                                                      CLOVERDALE         IN 46120‐0213
MCKAMEY, WILMER D          1861 S SEASE DR                                                                                 PERU               IN 46970‐7193
MCKAMIE, ROBERT J          1606 RAMSAY BLVD                                                                                FLINT              MI 48503‐4735
MCKAMIE, ROBERT JAMES      1606 RAMSAY BLVD                                                                                FLINT              MI 48503‐4735
MCKAMISH CHESAPEAKE INC    50 55TH ST                                                                                      PITTSBURGH         PA 15201‐2311
MCKAMISH‐CHESAPEAKE INC    50 55TH ST                                                                                      PITTSBURGH         PA 15201‐2311
MCKANDES, MELVIN           PO BOX 1522                                                                                     SAGINAW            MI 48605‐1522
MCKANDRES, BOBBIE J        11432 KENNEBEC ST                                                                               DETROI             MI 48205
MCKANNA, FRANCIS W         6760 W DARTMOOR RD                                                                              WEST BLOOMFIELD    MI 48322‐4319
MCKARNEN, DAVID A          10335 E POTTER RD                                                                               DAVISON            MI 48423‐8163
MCKARNEN, RITA R           10335 E POTTER RD                                                                               DAVISON            MI 48423‐8163
MCKARSKI MIKE (491229)     BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
MCKAY AUTO                 414 N ILLINOIS AVE                                                                              LITCHFIELD        IL    62056‐1724
MCKAY AUTO                                                    414 N ILLINOIS AVE                                                             IL    62056
MCKAY AUTO MART            3300 COMMERCE ST                                                                                GRENADA           MS    38901‐5350
MCKAY BURWELL S            9359 E SPLINTER RIDGE RD                                                                        MADISON           IN    47250‐8583
MCKAY CHAD                 MCKAY, CHAD                        218 DIX STREET                                               OCTAVIA           NE    68632‐6505
MCKAY DAN                  210 N ADAMS ST                                                                                  HINSDALE          IL    60521‐3126
MCKAY DONALD (492069)      BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD        OH    44067
                                                              PROFESSIONAL BLDG
MCKAY JENNIFER             MCKAY, JENNIFER                    120 WEST MADISON STREET , 10TH                               CHICAGO            IL   60602
                                                              FLOOR
MCKAY JOHN                 1301 SHOTEY CT                                                                                  MILFORD           MI    48380‐1737
MCKAY JR, MILTON D         229 DWYER ST                                                                                    BUFFALO           NY    14224‐1190
MCKAY JR, THOMAS H         9084 N ROLLAND RD                                                                               LAKE              MI    48632‐8818
MCKAY KIRK J               MCKAY, DOSIA                       PO BOX 870                                                   KNOXVILLE         TN    37901‐0870
MCKAY KIRK J               MCKAY, KIRK J                      PO BOX 870                                                   KNOXVILLE         TN    37901‐0870
MCKAY LOGISTICS CORP       175 E HAWTHORN PKWY STE 336                                                                     VERNON HILLS      IL    60061‐1467
MCKAY MILLARD E (468046)   ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                   BALTIMORE         MD    21202
                                                              CHARLES CENTER 22ND FLOOR
MCKAY PATRICK (491230)     BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD        OH 44067
                                                              PROFESSIONAL BLDG
MCKAY RONALD               3926 ANOKA DR                                                                                   WATERFORD         MI    48329‐2102
MCKAY, ALBERTA C           1667 SHERIDAN RD                   APT 41                                                       NOBLESVILLE       IN    46062
MCKAY, ANNA O              3021 DELAWARE ST                                                                                ANDERSON          IN    46016‐5233
MCKAY, BRUCE               1893 DEERWALK CT                                                                                AVON              IN    46123‐7346
MCKAY, BURWELL S           9359 E SPLINTER RIDGE RD                                                                        MADISON           IN    47250‐8583
MCKAY, CHAD                218 DIX ST                                                                                      OCTAVIA           NE    68632‐6505
MCKAY, CHARLES D           6180 GRAND BLANC RD                                                                             SWARTZ CREEK      MI    48473‐9442
MCKAY, CHARLES K           2800 SO.762 EAST                                                                                SELMA             IN    47383
MCKAY, CHERYL R            4873 STONY CREEK AVE NW                                                                         COMSTOCK PARK     MI    49321‐9135
MCKAY, CHERYL R            8781 W CANYON DR                                                                                IRONS             MI    49644
MCKAY, DARRYL W            496 ROWLEY RD                                                                                   DEPEW             NY    14043‐4217
MCKAY, DAVID C             7422 LOUISE AVENUE                                                                              JENISON           MI    49428‐9762
MCKAY, DAVID R             5715 CROMWELL DR NW                                                                             GIG HARBOR        WA    98335
MCKAY, DEANNA J            2510 ABBOTT RD APT R9                                                                           MIDLAND           MI    48642‐5006
MCKAY, DIANA L             7242 E RICHFIELD RD                                                                             DAVISON           MI    48423‐8931
MCKAY, DIANA LYNN          7242 E RICHFIELD RD                                                                             DAVISON           MI    48423‐8931
MCKAY, DOLORES J           935 SUNSET RIDGE LN                                                                             LAWRENCEVILLE     GA    30045‐2335
MCKAY, DON C               30901 PALMER RD                    WALTER REUTHER HOSPITAL                                      WESTLAND          MI    48186‐9529
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Name                   Address1                         Address2          Address3         Address4               City                  State Zip
MCKAY, DONALD L        133 MEERLAAN                                                        KNOKKE‐HEIST FA 8300
                                                                                           BELGIUM
MCKAY, DOSIA           PRYOR FLYNN PRIEST & HARBER      PO BOX 870                                                KNOXVILLE             TN    37901‐0870
MCKAY, DOUGLAS H       1029 STATE ROUTE 61                                                                        MARENGO               OH    43334‐9410
MCKAY, EARLEAN         5619 SUSAN ST                                                                              FLINT                 MI    48505‐2581
MCKAY, EDWARD W        4873 STONY CREEK AVE NW                                                                    COMSTOCK PARK         MI    49321‐9135
MCKAY, EDWARD W        8781 W CANYON DR                                                                           IRONS                 MI    49644
MCKAY, EIRTIS          11337 BRIERHALL CIR                                                                        MARYLAND HEIGHTS      MO    63043‐5002
MCKAY, ELIZABETH F     32901 BENNETT CT                                                                           LIVONIA               MI    48152‐3205
MCKAY, ELIZABETH S     1909 SAINT CHARLES CT                                                                      KOKOMO                IN    46902‐6122
MCKAY, ELOISE          15444 CEDARGROVE ST                                                                        DETROIT               MI    48205‐3634
MCKAY, ERWIN H         4335 OLD CARRIAGE CT                                                                       FLINT                 MI    48507‐5617
MCKAY, FRANCES         7092 JOHNSON ROAD                                                                          FLUSHING              MI    48433‐9011
MCKAY, FRANCES         7092 JOHNSON RD                                                                            FLUSHING              MI    48433‐9011
MCKAY, FRANCES B       4490 EPWORTH CT                                                                            POWDER SPRINGS        GA    30127‐8416
MCKAY, GARY            22204 INKSTER RD                                                                           ROMULUS               MI    48174‐9540
MCKAY, GARY E          410 CHAD DR                                                                                TUTTLE                OK    73089‐9186
MCKAY, GEORGE A        10403 BEERS RD                                                                             SWARTZ CREEK          MI    48473‐9125
MCKAY, HATTIE B        6836 SHOREY LN                                                                             CORDOVA               TN    38018‐7916
MCKAY, HENRY E         8105 ARCADIAN SHORES DR                                                                    SHREVEPORT            LA    71129‐4107
MCKAY, HENRY EDWARD    8105 ARCADIAN SHORES DR                                                                    SHREVEPORT            LA    71129‐4107
MCKAY, HENRY H         8338 ASTER RD                                                                              GILMER                TX    75644‐6014
MCKAY, IRA A           3717 TULIP ST                                                                              ANDERSON              IN    46011‐3850
MCKAY, JACQUELINE S    16126 GROVE TRL                                                                            LAKEVILLE             MN    55044‐8967
MCKAY, JAMES A         5172 LAKE DR                                                                               OWOSSO                MI    48867‐8711
MCKAY, JAMES F         41 LAMOREAUX DR NE                                                                         COMSTOCK PARK         MI    49321‐9115
MCKAY, JAMES R         9965 SHERIDAN RD                                                                           BURT                  MI    48417‐2170
MCKAY, JAMES V         128 FABYAN WOODSTOCK RD                                                                    NORTH GROSVENORDALE   CT    06255‐1512
MCKAY, JERRY           594 W STATE ROAD 38                                                                        PENDLETON             IN    46064‐9585
MCKAY, JERRY L         594 W STATE ROAD 38                                                                        PENDLETON             IN    46064‐9585
MCKAY, JOANNE E        5915 GLENDALE CHASE CT APT 203                                                             CHARLOTTE             NC    28217‐0057
MCKAY, JOHN P          1301 SHOTEY CT                                                                             MILFORD               MI    48380‐1737
MCKAY, JOHN W          13545 S HORRELL RD                                                                         FENTON                MI    48430‐1012
MCKAY, JULIE L         195 LELAND RD                                                                              SUMMERTOWN            TN    38483‐5111
MCKAY, KARL B          4051 QUILLEN AVE                                                                           WATERFORD             MI    48329‐2053
MCKAY, KARLA K         594 W STATE ROAD 38                                                                        PENDLETON             IN    46064‐9585
MCKAY, KELLY A         360 W DRAYTON ST                                                                           FERNDALE              MI    48220‐2744
MCKAY, KEVIN           1301 SHOTEY CT                                                                             MILFORD               MI    48380‐1737
MCKAY, KIMBERLY L      5540 INDIAN TRL                                                                            CHINA                 MI    48054‐4400
MCKAY, KIMBERLY LYNN   5540 INDIAN TRL                                                                            CHINA                 MI    48054‐4400
MCKAY, KIRK J          PRYOR FLYNN PRIEST & HARBER      PO BOX 870                                                KNOXVILLE             TN    37901‐0870
MCKAY, LAWRENCE J      4490 EPWORTH CT                                                                            POWDER SPRINGS        GA    30127‐8416
MCKAY, LEONARD L       11055 SEYMOUR RD                                                                           MONTROSE              MI    48457‐9065
MCKAY, LINDA M         38745 ANN ARBOR TRL                                                                        LIVONIA               MI    48150‐2460
MCKAY, MARGARET        2290 GRIFFIN RD                                                                            CHURCHVILLE           NY    14428
MCKAY, MARI E          8643 S JASONVILLE CT SE                                                                    CALEDONIA             MI    49316‐7809
MCKAY, MARK            ADDRESS NOT IN FILE
MCKAY, MARTHA K        432 MERTLAND AVE                                                                           DAYTON                OH    45431‐1831
MCKAY, MARY            3098 COUNTY ROAD 165                                                                       MOULTON               AL    35650‐7628
MCKAY, MARY C          1850 LARKMOOR                                                                              BERKLEY               MI    48072‐1732
MCKAY, MARY C          1850 LARKMOOR BLVD                                                                         BERKLEY               MI    48072‐1732
MCKAY, MARY P          579 HALKIRK ST                                                                             SANTA BARBARA         CA    93110‐1918
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Name                       Address1                         Address2                    Address3   Address4         City               State Zip
MCKAY, MAUREEN P           4830 SEBRING                                                                             WHITE LAKE          MI 48383
MCKAY, MAX A               8773 CHATEAUGAY DR                                                                       INDIANAPOLIS        IN 46217‐6809
MCKAY, MICHAEL G           145 JULIE ANNE DRIVE                                                                     ORTONVILLE          MI 48462
MCKAY, MICHAEL J           19329 EATON AVENUE                                                                       ELWOOD               IL 60421‐9770
MCKAY, MILLARD             ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                               BALTIMORE           MD 21202
                                                            CHARLES CENTER 22ND FLOOR
MCKAY, NEIL D              9977 SCIO CHURCH RD                                                                      CHELSEA            MI   48118‐9647
MCKAY, NELSON F            30402 SCOTSHIRE CT                                                                       FARMINGTON HILLS   MI   48331‐1731
MCKAY, NORMAN D            128 LAKE ST                                                                              WILSON             NY   14172‐9656
MCKAY, PATRICIA            635 N ADELAIDE ST                                                                        FENTON             MI   48430‐1828
MCKAY, PATRICIA V          145 S SAGINAW ST                                                                         MONTROSE           MI   48457‐7714
MCKAY, PATRICIA VIRGINIA   145 SOUTH SAGINAW STREET                                                                 MONTROSE           MI   48457‐7714
MCKAY, PATRICK R           397 AMBLESIDE WAY                                                                        AMHERST            OH   44001‐3411
MCKAY, PAUL L              G3158 CARR ST                                                                            FLINT              MI   48506
MCKAY, PAUL T              1930 WATSON CIR                                                                          ROCHESTER          MI   48306‐4806
MCKAY, RAYMOND S           4836 WORTH ST                                                                            MILLINGTON         MI   48746‐9504
MCKAY, RICHARD J           7173 LEYTON DR SE                                                                        GRAND RAPIDS       MI   49546‐7338
MCKAY, ROBERT B            3702 ARBOR DR                                                                            FENTON             MI   48430‐3120
MCKAY, ROBERT D            1608 CREEKSIDE LN                                                                        NORMAN             OK   73071‐1306
MCKAY, RONALD J            3926 ANOKA DR                                                                            WATERFORD          MI   48329‐2102
MCKAY, ROY G               5660 BUTANO PARK DR                                                                      FREMONT            CA   94538‐3211
MCKAY, RUTH E              2101 SHARI LANE                                                                          GARLAND            TX   75043
MCKAY, RUTH E              2101 SHARI LN                                                                            GARLAND            TX   75043‐1460
MCKAY, RYAN P              432 MERTLAND AVE                                                                         DAYTON             OH   45431‐1831
MCKAY, SHANNON D           4237 N LAPEER RD                                                                         LAPEER             MI   48446‐8616
MCKAY, SHAUN A             2138 SPRING HILL CIR                                                                     SPRING HILL        TN   37174‐9272
MCKAY, SHIRLEY M           4335 OLD CARRIAGE CT                                                                     FLINT              MI   48507‐5617
MCKAY, SHIRLEY R           15244 MCLAIN AVE                                                                         ALLEN PARK         MI   48101‐2058
MCKAY, SHIRLEY R           15244 MC LAIN                                                                            ALLEN PARK         MI   48101‐2058
MCKAY, STEVEN V            10488 KEYSBURG CT                                                                        SHREVEPORT         LA   71106‐7785
MCKAY, THEOLA D            29013 PARKWOOD                                                                           INKSTER            MI   48141‐1609
MCKAY, THOMAS              49149 VILLAGE POINTE DR          C/O THOMAS W MCKAY                                      SHELBY TWP         MI   48315‐3985
MCKAY, THOMAS A            1620 LAKE JAMES DR                                                                       PRUDENVILLE        MI   48651‐9420
MCKAY, THOMAS A            518 W RUTH AVE                                                                           FLINT              MI   48505‐6110
MCKAY, THOMAS J            5248 W BIRCH RUN RD                                                                      SAINT CHARLES      MI   48655‐9627
MCKAY, TIMOTHY JOE         460 OAK ST                                                                               MOUNT MORRIS       MI   48458‐1931
MCKAY, TIMOTHY R           27622 N HENRY GUNN RD                                                                    ATLANTA            IN   46031‐9729
MCKAY, TOD E               6044 FOOTHILLS DR                                                                        MURFREESBORO       TN   37129‐2647
MCKAY, TRUDY R             4237 N LAPEER RD                                                                         LAPEER             MI   48446‐8616
MCKAY, VIRGINIA D          132 MATHISON RD                                                                          TRAVERSE CITY      MI   49686‐1862
MCKAY, WANDA F             209 S ROBY DR                                                                            ANDERSON           IN   46012‐3250
MCKAY, WAYNE T             6887 CLARK RD                                                                            UNIONVILLE         MI   48767‐9449
MCKAY, WILLIAM D           6818 FAIRFIELD ST                                                                        GARDEN CITY        MI   48135‐1612
MCKAY, WILLIAM H           2939 MCKINLEY ST                                                                         KALAMAZOO          MI   49004‐1535
MCKAY, WILLIAM R           PO BOX 3771                                                                              MANSFIELD          OH   44907‐0771
MCKAY, WILLIAM T           4483 OLD HIGHWAY 80                                                                      BOLTON             MS   39041‐9669
MCKAY, WILLIE M.           7427 DALTON AVE                                                                          LOS ANGELES        CA   90047‐2531
MCKAY,MARTHA K             432 MERTLAND AVE                                                                         DAYTON             OH   45431‐1831
MCKAY‐POLLY, MONIKA L      26671 W HILLS DR                                                                         INKSTER            MI   48141‐1807
MCKAYS AUTOMOTIVE          9630 LOUETTA RD                                                                          SPRING             TX   77379‐6527
MCKEACHIE, JACQUELYN E     4080 W LEHMAN RD                                                                         DEWITT             MI   48820‐8009
MCKEACHIE, WILBUR B        724 BYRAM LAKE DR                                                                        LINDEN             MI   48451‐8704
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Name                               Address1                           Address2                        Address3                    Address4         City            State Zip
MCKEAGE, KELLY S                   5345 N FOX RD                                                                                                   SANFORD          MI 48657
MCKEAGUE JUDY                      204 ROSE ST                                                                                                     LOCK HAVEN       PA 17745‐3320
MCKEAIGG, LARRY J                  5806 S COUNTY ROAD 1250 W                                                                                       MEDORA           IN 47260‐9721
MCKEAN                             ANDREW & CONSTANCE MCKEAN          509 S OAK                                                                    ANAMOSA           IA 52205
MCKEAN JR, ROBERT E                PO BOX 186                                                                                                      DIMONDALE        MI 48821‐0186
MCKEAN, AMY                        5960 STERLING CT                                                                                                CUMMING          GA 30040‐0579
MCKEAN, CHARLES I                  162 E GARDENGATE WAY                                                                                            CARSON CITY      NV 89706‐0977
MCKEAN, DAVID R                    12200 WELLINGTON ST                                                                                             GRAND BLANC      MI 48439‐1961
MCKEAN, DEAN A                     1634 STATE ROUTE 314 S                                                                                          MANSFIELD        OH 44903‐9426
MCKEAN, GABRIEL                    GORBERG DAVID J & ASSOCIATES       2325 GRANT BUILDING 310 GRANT                                                PITTSBURGH       PA 15219
                                                                      STREET
MCKEAN, GILBERT L                  3641 WOODGLEN WAY                                                                                               ANDERSON        IN   46011‐1675
MCKEAN, JAMES L                    1253 CENTER ST W                                                                                                WARREN          OH   44481‐9455
MCKEAN, JOE                        118 BEECHVIEW DR                                                                                                CLIFTON         TN   38425‐5001
MCKEAN, KENNETH R                  11229 BROOKVILLE RD                                                                                             INDIANAPOLIS    IN   46239‐9325
MCKEAN, LAWRENCE J                 147 BLUE SKY DR                                                                                                 BASTROP         TX   78602‐3616
MCKEAN, PAMELA L                   13710 TALBOT ST                                                                                                 OAK PARK        MI   48237‐1181
MCKEAN, ROBERT                     6165 SARAH ORR LN                                                                                               CUMMING         GA   30040‐5680
MCKEAN, RONALD A                   53 ANNA ST                                                                                                      WORCESTER       MA   01604‐1132
MCKEAND, ANNE E                    6024 KINGSLEY DR                                                                                                INDIANAPOLIS    IN   46220‐2342
MCKEAND, JEAN                      3520 W GIMBER ST                                                                                                INDIANAPOLIS    IN   46241‐5315
MCKEAND, JEFFREY D                 6845 BONNY DR                                                                                                   INDIANAPOLIS    IN   46221‐9601
MCKEAND, MYRNA M                   825 WASHINGTON BLVD                                                                                             ANDERSON        IN   46016‐5477
MCKEAND, RICHARD L                 7155 PARTRIDGE DR                                                                                               FLUSHING        MI   48433‐8853
MCKEAND, RICHARD L.                7155 PARTRIDGE DR                                                                                               FLUSHING        MI   48433‐8853
MCKEARN, ANNE M                    2838 RIVERSIDE DRIVE                                                                                            BELOIT          WI   53511‐1506
MCKEARN, JEREMY J                  820 SUTHERLAND AVE                                                                                              JANESVILLE      WI   53545‐1630
MCKEARN, MICHAEL P                 802 MCKINLEY AVE                                                                                                BELOIT          WI   53511‐5024
MCKEARN, MICHAEL P                 2317 E HUEBBE PKWY                                                                                              BELOIT          WI   53511‐1848
MCKEARN, PATRICK J                 2850 RIVERSIDE DR                                                                                               BELOIT          WI   53511‐1506
MCKEARN, RICHARD F                 3204 LAPIDARY LN                                                                                                JANESVILLE      WI   53548‐9230
MCKEATING, CHARLES J               14 TEMPLE ST APT 7 E                                                                                            FRAMINGHAM      MA   01702
MCKEATING, JESSIE A                232 RAINBOW DR # 13256                                                                                          LIVINGSTON      TX   77399‐2032
MCKEATING, JESSIE A                232 RAINBOW DR. #13256                                                                                          LINVINGSTON     TX   77399‐2032
MCKECHNIE PLASTIC COMPONENTS INC   601 JOHN C WATTS DR                                                                                             NICHOLASVILLE   KY   40356‐2170

MCKECHNIE VEH/TROY                 5750 NEW KING DR STE 100                                                                                        TROY            MI 48098‐2696
MCKECHNIE VEHICLE COMPONENTS       PO BOX 1213 DEPT 15146                                                                                          NEWARK          NJ 07101
MCKECHNIE VEHICLE COMPONENTS       FRANK PALAZZOLO                    801 JOHN C. WATTS DR.           JESSAMINE INDUSTRIAL PARK                    AUBURN HILLS    MI 48326

MCKECHNIE VEHICLE COMPONENTS       FRANK PALAZZOLO                    NEWBERRY PLANT                  HWY #76, P.O. BOX 537                        DETROIT         MI 48209
MCKECHNIE VEHICLE COMPONENTS USA   601 JOHN C WATTS DR                                                                                             NICHOLASVILLE   KY 40356‐2199
INC
MCKECHNIE, CHARLOTTE               25808 ALICIA DR                                                                                                 LEESBURG        FL   34748‐8521
MCKECHNIE, GORDON C                12190 RAY RD                                                                                                    ORTONVILLE      MI   48462‐8600
MCKECHNIE, GORDON C.               12190 RAY RD                                                                                                    ORTONVILLE      MI   48462‐8600
MCKEE ADDISON TUBE FORMING INC     2695 STATE RT 70 S                                                                                              WILMINGTON      OH   45177
MCKEE AUTO CENTER, INC.            400 1ST AVE                                                                                                     PERRY           IA   50220‐1901
MCKEE AUTO CENTER, INC.            ANTHONY MCKEE                      400 1ST AVE                                                                  PERRY           IA   50220‐1901
MCKEE BOYD L (439319)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                  NORFOLK         VA   23510
                                                                      STREET, SUITE 600
MCKEE CHARLES                      MCKEE, CHARLES                     4 WINDSONG WAY                                                               NITRO           WV 25143‐1138
                                   09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                              Address1                         Address2                         Address3   Address4         City               State Zip
MCKEE DANNY W & BETTY             3930 FOOTVILLE RICHMOND RD                                                                    DORSET              OH 44032‐9744
MCKEE FOODS                       ATTN JIM BRAY                    PO BOX 750                                                   COLLEGEDALE         TN 37315‐0750
MCKEE FOODS COMPANY, INC.         JIM BRAY                         9950 APISON PIKE                                             COLLEGEDALE         TN
MCKEE FRANCIS A (456422)          SKAGGS JOHN H                    405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON          WV 25301
MCKEE III, JOSEPH A               1825 FOULK RD                                                                                 WILMINGTON          DE 19810‐3705
MCKEE JAMES                       2457 TOWN AND COUNTRY LN                                                                      SAINT LOUIS         MO 63131‐1130
MCKEE JAMES (460039)              KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                CLEVELAND           OH 44114
                                                                   BOND COURT BUILDING
MCKEE JAMES RICHARD (429426)      GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MCKEE JOHN W SR (429427)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MCKEE JR, DARRYL J                2516 FOREST SPRINGS DR SE                                                                     WARREN             OH   44484‐5615
MCKEE JR, DENNIS                  63 N MAIN ST                                                                                  W ALEXANDRIA       OH   45381‐1153
MCKEE JR, GARY L                  9403 W LAUDERDALE RD                                                                          COLLINSVILLE       MS   39325‐8901
MCKEE JR, RALPH F                 162 LEDBETTER RD                                                                              XENIA              OH   45385‐5327
MCKEE KATHLEEN                    879 JIM BLAKE RD                                                                              JACKSONVILLE       NC   28540‐7704
MCKEE KENNETH MITCHELL (348989)   BARON & BUDD                     3102 OAK LAWN AVE STE 1100                                   DALLAS             TX   75219‐4283
MCKEE LOUISE                      APT 122                          3270 LAKE POINTE BOULEVARD                                   SARASOTA           FL   34231‐2606
MCKEE NANCY LEE                   PO BOX 177                                                                                    UPPER BLACK EDDY   PA   18972
MCKEE NELSON ERNST & YOUNG LLP    1919 M ST NW STE 800                                                                          WASHINGTON         DC   20036‐3537
MCKEE NICHOLAS A JR (470564)      PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                       PHILADELPHIA       PA   19103‐5446
MCKEE ROBERT F III (335783)       (NO OPPOSING COUNSEL)
MCKEE STEWART CASTERS INC         110 FIFTH STREET                                                                              WEST ELIZABETH     PA 15088
MCKEE SUSAN                       818 WORTHINGTON MILL RD                                                                       NEWTOWN            PA 18940‐9698
MCKEE THOMAS JR (484549)          ANGELOS PETER G                  100 N CHARLES STREET , ONE                                   BALTIMORE          MD 21201
                                                                   CHARLES CENTER
MCKEE, ALICE                      1714 JACK CROWELL RD                                                                          EROS               LA   71238‐8458
MCKEE, ALICE M                    1714 JACK CROWELL RD                                                                          EROS               LA   71238‐8458
MCKEE, ALVIN                      460 SUMMERWIND DR                                                                             CROSSVILLE         TN   38571‐3693
MCKEE, BARBARA E                  37217 EDITH ST                                                                                NEWARK             CA   94560‐3205
MCKEE, BARBARA L                  PO BOX 2439                                                                                   KOKOMO             IN   46904‐2439
MCKEE, BESSIE L                   PO BOX 44444                                                                                  COLUMBUS           OH   43204‐0444
MCKEE, BETH A                     19001 WESTMORE ST                                                                             LIVONIA            MI   48152‐4440
MCKEE, BETTY J                    3225 DALEY RD                                                                                 LAPEER             MI   48446‐8347
MCKEE, BILLY D                    11 VALLEY CT                                                                                  MARION             IN   46953‐4126
MCKEE, BOYD L                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510‐2212
                                                                   STREET, SUITE 600
MCKEE, BRENDA J                   8063 N OAK RD                                                                                 DAVISON            MI   48423‐9346
MCKEE, BRENDA JEAN                8063 N OAK RD                                                                                 DAVISON            MI   48423‐9346
MCKEE, CARL                       611 W JUDSON AVE                                                                              YOUNGSTOWN         OH   44511‐3255
MCKEE, CARL L                     261 HAMILTON RD                                                                               MOUNT MORRIS       MI   48458‐8903
MCKEE, CAROL                      2604 BENDER AVE                                                                               WATERFORD          MI   48329‐3406
MCKEE, CHARLES                    4 WINDSONG WAY                                                                                NITRO              WV   25143‐1138
MCKEE, CHARLES F                  603 S HIGH ST                                                                                 STOCKTON           MO   65785‐9619
MCKEE, CHARLES F                  11 PARKSIDE CIR UNIT 1                                                                        CANFIELD           OH   44406‐1686
MCKEE, CHARLES W                  15838 WISCONSIN ST                                                                            DETROIT            MI   48238‐1122
MCKEE, CHERRY L                   4604 E 200 S                                                                                  MARION             IN   46953‐9655
MCKEE, CHERRY L                   4604 E. 200 SOUTH                                                                             MIRIAM             IN   46953‐9655
MCKEE, DALE                       1232 HOLLYHILL DR                                                                             MIAMISBURG         OH   45342‐1937
MCKEE, DALLAS W                   BOX 94                                                                                        SULPHUR SPRGS      IN   47388
MCKEE, DALLAS W                   PO BOX 94                                                                                     SULPHUR SPGS       IN   47388‐0094
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Name                   Address1                        Address2                         Address3   Address4         City              State Zip
MCKEE, DANNY G         4186 E COUNTY ROAD 100 N                                                                     AVON               IN 46123‐9414
MCKEE, DARRYL J        1103 HOWLAND WILSON RD SE                                                                    WARREN             OH 44484‐2521
MCKEE, DAVID E         155 CAMPBELL BR                                                                              MOREHEAD           KY 40351‐9575
MCKEE, DAVID K         525 FALAISE DR                                                                               CREVE COEUR        MO 63141‐7426
MCKEE, DAVID M         2520 CHATEAU DR                                                                              MUNCIE             IN 47303‐1998
MCKEE, DEBRA           HAMMOND WILLIAM M               205 20TH ST N STE 615                                        BIRMINGHAM         AL 35203‐4702
MCKEE, DEBRA           SHELBY & CARTEE                 2956 RHODES CIR S                                            BIRMINGHAM         AL 35205‐1343
MCKEE, DONALD E        2770 COUNTY LINE RD                                                                          KINGSLEY           MI 49649‐9643
MCKEE, DONNIE R        15558 FREDERICK DR                                                                           CLINTON TWP        MI 48038‐1868
MCKEE, DORIS A         1648 N JONES RD                                                                              ESSEXVILLE         MI 48732‐1586
MCKEE, DOROTHY         811 E 14TH ST APT A                                                                          GEORGETOWN          IL 61846‐6389
MCKEE, DOROTHY         811 E 14TH STREET               APT. #A                                                      GEORGETOWN          IL 61846
MCKEE, DOROTHY A       PO BOX 433                                                                                   CHESTER SPRINGS    PA 19425
MCKEE, DOROTHY J       1236 OAKLAND DRIVE                                                                           ANDERSON           IN 46012‐4538
MCKEE, DOUGLAS B       191 MCCARTY RD                                                                               JACKSON            MS 39212‐9674
MCKEE, DOUGLAS H       1086 WILLIAMSPORT PIKE                                                                       MARTINSBURG        WV 25404‐4274
MCKEE, EDWIN C         2924 QUAKER RD                                                                               GASPORT            NY 14067‐9447
MCKEE, ELIZABETH P     613 E NORTH B ST                                                                             GAS CITY           IN 46933‐1516
MCKEE, EUGENE V        PO BOX 363                                                                                   LAINGSBURG         MI 48848‐0363
MCKEE, FLOYD
MCKEE, FLOYD D         315 E MAIN ST                                                                                HORSE CAVE        KY   42749‐1156
MCKEE, FRANCIS         SKAGGS JOHN H                   405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON        WV   25301
MCKEE, FRANK J         6073 LOCUST TRL                                                                              GRAND BLANC       MI   48439‐9035
MCKEE, FRANK JAMES     6073 LOCUST TRL                                                                              GRAND BLANC       MI   48439‐9035
MCKEE, GAREY D         11328 OLD LAKE BENTON RD                                                                     BENTON            IL   62812
MCKEE, GARY C          8365 W MCCLURE RD                                                                            MONROVIA          IN   46157‐9222
MCKEE, GARY E          1431 SPRUCE AVE OAK HILL                                                                     WILMINGTON        DE   19805
MCKEE, GARY L          11288 SWEARINGTON RD                                                                         COLLINSVILLE      MS   39325‐8940
MCKEE, GEORGE L        3225 DALEY RD                                                                                LAPEER            MI   48446‐8347
MCKEE, GERALD A        435 S SQUIRREL RD                                                                            AUBURN HILLS      MI   48326‐3859
MCKEE, GERTHIE T       PO BOX 1926                                                                                  YOUNGSTOWN        OH   44506‐0026
MCKEE, GERTHIE T       P.O. BOX 1926                                                                                YOUNGSTOWN        OH   44506‐0026
MCKEE, GRANT G         221 W HOPKINS AVE                                                                            PONTIAC           MI   48340‐1825
MCKEE, HELEN A         624 S GRAND TRAVERSE                                                                         FLINT             MI   48502‐1230
MCKEE, HELEN C         701 BEACH BUGGY LN                                                                           LINDEN            MI   48451‐9663
MCKEE, IRVIN E         12799 FEDERAL PL                                                                             FISHERS           IN   46037‐7834
MCKEE, JAMES           KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                 CLEVELAND         OH   44114
                                                       BOND COURT BUILDING
MCKEE, JAMES E         RR 1 BOX 7                                                                                   JASONVILLE        IN   47438‐9702
MCKEE, JAMES E         7230 BEAR RIDGE RD                                                                           N TONAWANDA       NY   14120‐9586
MCKEE, JAMES K         1338 HAYES RD                                                                                MUIR              MI   48860‐9781
MCKEE, JAMES RICHARD   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                       STREET, SUITE 600
MCKEE, JAMES S         319 TRAPPE RD                                                                                DUNDALK           MD   21222
MCKEE, JESSIE V        11 ELIZABETH ST APT 7                                                                        SHREWSBURY        MA   01545‐4200
MCKEE, JIMMY L         3400 HERVIE ST                                                                               FORT WORTH        TX   76107‐5925
MCKEE, JOAN            PO BOX 294                                                                                   NEW CASTEL        WY   82701
MCKEE, JOHN P          1423 CLARK ST                                                                                NILES             OH   44446‐3837
MCKEE, JOHN R          1758 W 800 S                                                                                 BUNKER HILL       IN   46914‐9428
MCKEE, JOHN W          4331 WILD TURKEY RD APT A                                                                    ANDERSON          IN   46013‐1241
MCKEE, JOHN W          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK           VA   23510‐2212
                                                       STREET, SUITE 600
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Name                      Address1                          Address2                     Address3   Address4         City            State Zip
MCKEE, JON R              719 JUSTIN CT                                                                              MIAMISBURG       OH 45342‐6439
MCKEE, JOSEPH A           PO BOX 113                                                                                 ROCKLAND         DE 19732‐0113
MCKEE, JOSEPH H           225 RIVER FORD DR                                                                          MARYVILLE        TN 37804‐3906
MCKEE, JOSEPH T           3842 WEGER PL                                                                              LANSING          MI 48910‐0412
MCKEE, JUANITA V.         12700 MARXEN ROAD                                                                          KANSAS CITY      KS 66109‐2763
MCKEE, KAY F              242 W 950 S                                                                                BUNKER HILL      IN 46914‐9502
MCKEE, KELLEY             1805 QUAILS NEST CT                                                                        ANTIOCH          TN 37013‐4975
MCKEE, KENNETH MITCHELL   BARON & BUDD                      THE CENTRUM, 3102 OAK LAWN                               DALLAS           TX 75219
                                                            AVE, STE 1100
MCKEE, KENNETH R          2524 NE 17TH ST                                                                            OKLAHOMA CITY   OK   73111‐1810
MCKEE, KENNETH RENEE      2524 NE 17TH ST                                                                            OKLAHOMA CITY   OK   73111‐1810
MCKEE, LARRY G            302 GLEN GARY DRIVE                                                                        MOUNT MORRIS    MI   48458‐8912
MCKEE, LINDA D            805 N WESTERN AVE                                                                          KOKOMO          IN   46901‐3201
MCKEE, LOIS J             LON JEAN TRAILER CT LOT 3                                                                  FRANKTON        IN   46044
MCKEE, MALCOM E           5123 N CO RD 150 W                                                                         KOKOMO          IN   46901
MCKEE, MARGARET G         1360 S POE DR                                                                              JONESBORO       IN   46938‐1511
MCKEE, MARGARET G         1360 E SOUTH POE DR                                                                        JONESBORO       IN   46938‐1511
MCKEE, MARGO              834 N WASHINGTON ST                                                                        LAPEER          MI   48446‐1958
MCKEE, MARILYN D          748 COMSTOCK ST NW                                                                         WARREN          OH   44483‐3104
MCKEE, MARK E             2881 HARTLAND RD                                                                           GASPORT         NY   14067‐9421
MCKEE, MARK G             901 CLOUGH ST                                                                              HOLLY           MI   48442‐1317
MCKEE, MARTHA J           5160 DUNEWOOD WAY                                                                          AVON            IN   46123‐7071
MCKEE, MATTHEW T          19001 WESTMORE ST                                                                          LIVONIA         MI   48152‐4440
MCKEE, MATTHEW W          2952 MAPLE ROAD                                                                            WILSON          NY   14172‐9757
MCKEE, MICHAEL P          6080 PARK LAKE RD                                                                          EAST LANSING    MI   48823‐9722
MCKEE, MILDRED            3921 HAZELETT                                                                              PONTIAC         MI   48328‐4035
MCKEE, MILDRED G          618 RIDDLE ST                                                                              HOWELL          MI   48843‐1142
MCKEE, MILDRED R          5407 HOOVER AVE.#238                                                                       DAYTON          OH   45427‐2585
MCKEE, NICHOLAS A         PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                   PHILADELPHIA    PA   19103‐5446
MCKEE, NORMAN O           572 W DAVIS RD                                                                             GREENFIELD      IN   46140‐2602
MCKEE, OLIVE F            878 ANGELFISH DR                                                                           FORT PIERCE     FL   34949‐8404
MCKEE, ONESIFRUS E        PO BOX 1233                                                                                SPRING HILL     TN   37174‐1233
MCKEE, PAUL B             2618 CASON CT                                                                              MURFREESBORO    TN   37128‐6709
MCKEE, PETER G            4929 BRIDGEHAMPTON BLVD                                                                    SARASOTA        FL   34238‐2785
MCKEE, PHYLLIS S          719 JUSTIN COURT                                                                           MIAMISBURG      OH   45342‐6439
MCKEE, PHYLLIS S          719 JUSTIN CT                                                                              MIAMISBURG      OH   45342‐6439
MCKEE, PHYLLIS SUE        719 JUSTIN CT                                                                              MIAMISBURG      OH   45342‐6439
MCKEE, RAYMOND A          10919 WALKER ST                                                                            GRAND BLANC     MI   48439‐1051
MCKEE, RHONDA K           9046 N GENESEE RD                                                                          MOUNT MORRIS    MI   48458‐9729
MCKEE, RICHARD L          10483 E LIPPINCOTT BLVD                                                                    DAVISON         MI   48423‐9108
MCKEE, RICHARD LYNN       10483 E LIPPINCOTT BLVD                                                                    DAVISON         MI   48423‐9108
MCKEE, RICHARD T          41021 OLD MICHIGAN AVE TRLR 212                                                            CANTON          MI   48188‐2728
MCKEE, ROBERT A           5259 WILBORN DR                                                                            JENNINGS        MO   63136‐3442
MCKEE, ROBERT C           1522 COLONIAL LN                                                                           BRYAN           OH   43506‐9279
MCKEE, ROBERT E           24292 SYLVAN AVE                                                                           FLAT ROCK       MI   48134‐9534
MCKEE, ROBERT F           1648 N JONES RD                                                                            ESSEXVILLE      MI   48732‐1586
MCKEE, ROBERT F
MCKEE, ROBERT J           1397 S 500 W                                                                               ANDERSON        IN   46011‐8748
MCKEE, ROBERT L           PO BOX 294                                                                                 NEWCASTLE       WY   82701‐0294
MCKEE, ROBERT W           4801 HOLLENBECK RD                                                                         COLUMBIAVILLE   MI   48421‐9362
MCKEE, RONALD E           2110 HAWTHORNE DR                                                                          MARTINSVILLE    IN   46151‐8454
MCKEE, ROY LEE            11928 VISGER ST                                                                            DETROIT         MI   48217‐1544
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Name                     Address1                        Address2                    Address3   Address4         City            State Zip
MCKEE, RUSSELL G         501 BROWN ST                                                                            DAYTON           OH 45402‐2809
MCKEE, SANDRA D          250 DUNDEE CIR                                                                          SAINT LOUIS      MO 63137‐4506
MCKEE, STELLA A          62 WILSON AVE                                                                           KEARNY           NJ 07032‐1941
MCKEE, STEVEN J          2712 HIGHWAY 31 NW                                                                      HARTSELLE        AL 35640‐4262
MCKEE, THEODORE          748 COMSTOCK ST NW                                                                      WARREN           OH 44483‐3104
MCKEE, THERESA L         11323 NS 353                                                                            EARLSBORO        OK 74840
MCKEE, THOMAS            ANGELOS PETER G                 100 N CHARLES STREET, ONE                               BALTIMORE        MD 21201
                                                         CHARLES CENTER
MCKEE, TIMOTHY J         805 N WESTERN AVE                                                                       KOKOMO          IN   46901‐3201
MCKEE, WANETIA W         218 EASTMAN RD                                                                          CHESTERFIELD    IN   46017‐1316
MCKEE, WILLIAM           1700 ALT 8 WEST                                                                         MISSOULA        MT   58901
MCKEE, WILLIAM F         10 VALLEY RD                                                                            MOREHEAD        KY   40351‐9131
MCKEE, WILLIAM J         9510 E 235TH ST                                                                         CICERO          IN   46034‐9702
MCKEE, YVONNE G          11714 VANTAGE VISTA PL NW                                                               SILVERDALE      WA   98383‐7803
MCKEEHAN ROSS            1952 ALABAMA AVENUE NORTHWEST                                                           FORT PAYNE      AL   35967‐3432
MCKEEHAN, BILLY D        322 TURNER SUB RD                                                                       CORBIN          KY   40701
MCKEEHAN, DENNIS B       4545 WORNALL RD APT 311                                                                 KANSAS CITY     MO   64111‐3209
MCKEEHAN, GLENN H        14197 CYNTHIANA RD                                                                      HILLSBORO       OH   45133‐9046
MCKEEHAN, GLENNA         8428 READING ROAD                                                                       READING         OH   45215
MCKEEHAN, HAROLD P       7360 TOWNSHIP LINE RD                                                                   WAYNESVILLE     OH   45068‐9851
MCKEEHAN, LEON G         2126 DANA DRIVE                                                                         OXFORD          OH   45056‐8923
MCKEEHAN, PAUL           10625 ROBINDALE DR                                                                      CINCINNATI      OH   45241‐3023
MCKEEL, GEORGE J         120 CANTERBURY DR                                                                       CROSSVILLE      TN   38558‐7094
MCKEEMAN, MICHAEL R      9203 BARBARA LN                                                                         FORT WAYNE      IN   46804‐4702
MCKEEN, CHARLES H        6522 BIXLER RD                                                                          BEULAH          MI   49617‐9723
MCKEEN, CRAIG            9435 S. 79TH AVE.               UNIT #101N                                              HICKORY HILLS   IL   60457
MCKEEN, LARRY D          630 TIEDEMAN AVE                                                                        DEFIANCE        OH   43512‐2436
MCKEEN, MARK J           2019 MARIE DR                                                                           LAKE ORION      MI   48360‐2801
MCKEEN, NANCY C          3316 STONEWOOD DR                                                                       SANDUSKY        OH   44870‐6919
MCKEEN, WAYNE            405 MARVIN ST                                                                           MILAN           MI   48160‐1361
MCKEETHERN, CLARA M      363 JUNGERMANN RD APT 224                                                               SAINT PETERS    MO   63376‐5379
MCKEETHERN, CLARA M      363 JUNGERMANN RD               APT 224                                                 SAINT PETERS    MO   63376‐5379
MCKEEVER JR, HOWARD W    240 S SAINT JACQUES ST                                                                  FLORISSANT      MO   63031‐6951
MCKEEVER REGINALD M JR   545 N 1ST ST # 302                                                                      MINNEAPOLIS     MN   55401‐1222
MCKEEVER, AMBER L        1628 FAIRLAWN ST                                                                        DEFIANCE        OH   43512‐4013
MCKEEVER, AMBER LAJEAN   1628 FAIRLAWN ST                                                                        DEFIANCE        OH   43512‐4013
MCKEEVER, APRIL J        7814 SHOSHONE AVE                                                                       NORTHRIDGE      CA   91325‐4348
MCKEEVER, BARRY L        2454 CAMBRIDGE WAY                                                                      GLADWIN         MI   48624‐8642
MCKEEVER, CAROL ANN      4893 ROUND LAKE RD                                                                      GLADWIN         MI   48624‐9213
MCKEEVER, DAVID G        9414 REESE RD                                                                           BIRCH RUN       MI   48415‐9441
MCKEEVER, DEBORAH J      1812 N PURDUM ST                                                                        KOKOMO          IN   46901‐2475
MCKEEVER, ELEANOR R      9414 REESE RD                                                                           BIRCH RUN       MI   48415‐9441
MCKEEVER, ELEANOR RAE    9414 REESE RD                                                                           BIRCH RUN       MI   48415‐9441
MCKEEVER, GERALD L       3207 NASHVILLE HWY                                                                      LEWISBURG       TN   37091‐6234
MCKEEVER, JAMES L        7093 SHAKER RD                                                                          FRANKLIN        OH   45005‐2544
MCKEEVER, JAMES L        7093 SHAKER RD.                                                                         FRANKLIN        OH   45005‐2544
MCKEEVER, JOHN W         7435 AKRON RD                                                                           LOCKPORT        NY   14094‐9308
MCKEEVER, JOYCE          24 N STATE ROUTE 560                                                                    URBANA          OH   43078‐9664
MCKEEVER, KIM            3207 NASHVILLE HWY                                                                      LEWISBURG       TN   37091‐6234
MCKEEVER, LAURIE A       5187 GREENLEAF DRIVE                                                                    SWARTZ CREEK    MI   48473‐1131
MCKEEVER, LEROY A        116 OLD NIAGARA RD              APT 8                                                   LOCKPORT        NY   14094‐1519
MCKEEVER, LINDA S        5060 E HAVEN DR                                                                         GLADWIN         MI   48624‐8744
                                    09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                                Address1                       Address2                         Address3                     Address4         City              State Zip
MCKEEVER, MANUS                     1322 LINDEN ST                                                                                                WILMINGTON         DE 19805‐3955
MCKEEVER, MARGARET                  460 NORFOLK ST                                                                                                CAMBRIA            CA 93428‐2713
MCKEEVER, MARY M                    120 GLACIER AVE                                                                                               YOUNGSTOWN         OH 44509‐2826
MCKEEVER, SALLY M                   23754 SHUFELT RD                                                                                              SEAFORD            DE 19973‐6710
MCKEEVER, SHARON A                  311 CROOKED LAKE DR                                                                                           LAKE MICHIGAN      MI 48632
MCKEEVER, SHARON A                  311 N CROOKED LAKE DR                                                                                         LAKE               MI 48632‐9052
MCKEEVER, SUZANNE K                 1924 WOODRIDGE CT                                                                                             HIGHLAND           MI 48357‐4325
MCKEEVER, TERRY T                   1234 GILMORE AVE                                                                                              HAMILTON           OH 45011‐4200
MCKEEVER, THOMAS M                  5060 E HAVEN DR                                                                                               GLADWIN            MI 48624‐8744
MCKEEVER, VERNON C                  1924 WOODRIDGE CT                                                                                             HIGHLAND           MI 48357‐4325
MCKEIGHAN, DAVID M                  8598 TIM TAM TRL                                                                                              FLUSHING           MI 48433‐8805
MCKEIGHEN, CHARLES H                BURLINGTON PARK 15 SO DRIVE                                                                                   MUNCIE             IN 47302
MCKEIGUE JR, JOHN L                 16044 HALSTED ST                                                                                              HARVEY              IL 60426‐5201
MCKEIRNAN, MARY A                   9801 S BURR OAK CIRCLE                                                                                        DE SOTO            KS 66018
MCKEIRNAN, WILLIAM                  9801 SOUTH BURR OAK CIRCLE                                                                                    DE SOTO            KS 66018‐9030
MCKEITH, GERALD K                   PO BOX 366                                                                                                    MECOSTA            MI 49332‐0366
MCKEITHAN CHARLES BAXTER (404578)   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MCKEITHAN ROBERT L                  GLASSER AND GLASSER            CROWN CENTER                     580 EAST MAIN STREET SUITE                    NORFOLK           VA 23510
                                                                                                    600
MCKEITHAN, CHARLES BAXTER           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
MCKEITHAN, JAMES A                  2055 DEBAKELEER.                                                                                              FARRELL           PA   16121
MCKEITHAN, VILDA E                  20721 HILLSIDE AVE                                                                                            JAMAICA           NY   11427‐1732
MCKEITHEN RITA                      29 FAIRWAY RD APT 20                                                                                          NEWARK            DE   19711
MCKEITHEN, DEBRA S                  362 SADIE DOUGLAS LN                                                                                          SHREVEPORT        LA   71106‐7690
MCKEITHEN, DEBRA SUE                362 SADIE DOUGLAS LN                                                                                          SHREVEPORT        LA   71106‐7690
MCKEITHEN, DOUGLAS W                362 SADIE DOUGLAS LN                                                                                          SHREVEPORT        LA   71106‐7690
MCKEITHEN, DOUGLAS WAYNE            362 SADIE DOUGLAS LN                                                                                          SHREVEPORT        LA   71106‐7690
MCKEITHEN, LENA                     3575 AQUARINA ST                                                                                              WATERFORD         MI   48329‐2105
MCKELLAR JR, WILLIAM C              G3501 CONCORD ST                                                                                              FLINT             MI   48504‐6536
MCKELLAR JR, WILLIAM CAMPBELL       G3501 CONCORD ST                                                                                              FLINT             MI   48504‐6536
MCKELLAR, DAVID H                   11550 N HILLTOP DR                                                                                            IRONS             MI   49644‐9665
MCKELLAR, GARY L                    1285 N GRAF RD                                                                                                CARO              MI   48723‐9684
MCKELLAR, GEORGE L                  7226 VASSAR RD                                                                                                GRAND BLANC       MI   48439‐7405
MCKELLAR, JACQUELYN R               11550 N HILLTOP DR                                                                                            IRONS             MI   49644‐9665
MCKELLAR, LORA L                    1285 N GRAF RD                                                                                                CARO              MI   48723‐9684
MCKELLAR, MARY                      304 HUNTERS PARADISE CT        C/O MARIE ADAMS                                                                MARIETTA          SC   29661‐9068
MCKELLAR, MICHAEL R                 3120 E RIVERVIEW DR                                                                                           BAY CITY          MI   48706‐1321
MCKELLAR, RAYMOND L                 2237 E TOBIAS RD                                                                                              CLIO              MI   48420‐7949
MCKELLAR, ROBERT D                  1010 US HIGHWAY 31                                                                                            BEULAH            MI   49617‐9525
MCKELLAR, SANDRA D                  910 FRANK ST                                                                                                  FLINT             MI   48504‐4854
MCKELLAR, SANDRA DEE                910 FRANK ST                                                                                                  FLINT             MI   48504‐4854
MCKELLAR, STACEY L                  1483 BATTLE CREEK RD                                                                                          CHARLOTTE         MI   48813‐8508
MCKELLAR, STANLEY D                 11375 COLONIAL WOODS DR                                                                                       CLIO              MI   48420‐1503
MCKELLAR, STEPHEN W                 7250 COTTONWOOD KNL                                                                                           WEST BLOOMFIELD   MI   48322‐4045
MCKELLAR, STEVEN T                  1483 BATTLE CREEK RD                                                                                          CHARLOTTE         MI   48813‐8508
MCKELLAR, STEVEN TODD               1483 BATTLE CREEK RD                                                                                          CHARLOTTE         MI   48813‐8508
MCKELLER HUEY LEE (168548)          BROWN TERRELL HOGAN ELLIS      804 BLACKSTONE BLDG , 233 EAST                                                 JACKSONVILLE      FL   32202
                                    MCCLAMMA & YEGELWEL P.A.       BAY STREET
MCKELLER JR, TILLMAN                1101 W 5TH ST                                                                                                 HATTIESBURG       MS 39401‐3331
                                       09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                                   Address1                            Address2                         Address3   Address4         City               State Zip
MCKELLER, HUEY                         BROWN TERRELL HOGAN ELLIS           804 BLACKSTONE BLDG, 233 EAST                                JACKSONVILLE        FL 32202
                                       MCCLAMMA & YEGELWEL P.A.            BAY STREET
MCKELLER, MARGARET M                   1294 GALLOWAY CIR                                                                                PONTIAC            MI   48340‐2182
MCKELLERY SMITH TINA MARIE             MCKELLERY SMITH, TINA MARIE         28000 WOODWARD AVE STE 201                                   ROYAL OAK          MI   48067‐0962
MCKELLERY SMITH, TINA MARIE            LEHTO LAW OFFICES OF STEVE          28000 WOODWARD AVE STE 201                                   ROYAL OAK          MI   48067‐0962
MCKELLERY, JULIA                       204 E GRAND                                                                                      HIGHLAND PARK      MI   48203‐3137
MCKELLEY, BLAKELY J                    124 HALLECK ST                                                                                   YOUNGSTOWN         OH   44505‐2520
MCKELLEY, RAPHEAL C                    2026 HOWARD AVE                                                                                  FLINT              MI   48503‐4210
MCKELLICK, GARY J                      30 GROVE STREET                                                                                  PASCOAG            RI   02859
MCKELLIPS JAY OTIS (338608) ‐ WILSON   DOFFERMYRE SHIELDS CANFIELD KNOWLES 1355 PEACHTREE ST NE STE 1600                                ATLANTA            GA   30309‐3276
CEPHAS LOVE                            & DEVINE
MCKELN ANDREW                          1013 BROAD ST                                                                                    COLLINGDALE        PA   19023‐3918
MCKELPHIN, BESSIE M                    408 HIGHWAY 583 N LOT 2                                                                          TYLERTOWN          MS   39667‐6604
MCKELPHIN, JUDITH M                    408 HIGHWAY 583 N LOT 2                                                                          TYLERTOWN          MS   39667‐6604
MCKELVEY CHEVROLET CORPORATION         JEFFREY MCKELVEY                    120 W GREEN ST                                               DADEVILLE          AL   36853‐1354
MCKELVEY CHEVROLET CORPORATION         120 W GREEN ST                                                                                   DADEVILLE          AL   36853‐1354
MCKELVEY STEPHEN                       3131 VAN DYKE RD                                                                                 ALMONT             MI   48003‐8032
MCKELVEY, ANDREA J                     6220 SAPPHIRE CT                                                                                 GRAND BLANC        MI   48439‐7807
MCKELVEY, BILLY J                      15244 MIDDLEBELT RD                 C/O WALTER SAKOWSKI                                          LIVONIA            MI   48154‐4035
MCKELVEY, DONNIE L                     1055 SULGRAVE DR                                                                                 BROOKFIELD         OH   44403‐9521
MCKELVEY, DONNIE L                     1055 SOUTHPARK DR                                                                                BROOKVILLE         OH   44403
MCKELVEY, DORIS                        1345 N MADISON AVE                                                                               ANDERSON           IN   46011‐1215
MCKELVEY, EVELYN E                     709 S WOOD ST APT 136                                                                            OLATHE             KS   66062‐1882
MCKELVEY, JASON S                      6220 SAPPHIRE CT                                                                                 GRAND BLANC        MI   48439‐7807
MCKELVEY, LINDA C                      117 MEYER AVE                                                                                    DAYTON             OH   45431‐1948
MCKELVEY, MARILYN G                    1732 E 47TH ST                                                                                   ANDERSON           IN   46013‐2712
MCKELVEY, MARY                         29431 LAUREL DR                                                                                  FARMINGTON HILLS   MI   48331‐2831
MCKELVEY, MARY L                       29431 LAUREL DRIVE                                                                               FARMINGTON HILLS   MI   48331‐2831
MCKELVEY, MICHAEL G                    200 E KIRBY ST                                                                                   HAYSVILLE          KS   67060‐2347
MCKELVEY, RICHARD J                    3501 DRUID WAY                                                                                   FLOWER MOUND       TX   75028‐2980
MCKELVEY, ROBERT B                     50 STILLWELL DRIVE                                                                               DAYTON             OH   45431‐1352
MCKELVEY, STEPHEN L                    3131 VAN DYKE RD                                                                                 ALMONT             MI   48003‐8032
MCKELVIE DELUCA PC                     STE 300                             280 WEST MAPLE ROAD                                          BIRMINGHAM         MI   48009‐3344
MCKELVIE DELUCA PC                     280 W MAPLE RD STE 300                                                                           BIRMINGHAM         MI   48009‐3344
MCKELVIE DELUCA PC                     280 WEST MAPLE ROAD                 SUITE 300                                                    BIRMINGHAM         MI   48009
MCKELVIE DELUCA, PC                    FRANK M. DELUCA                     280 W MAPLE RD STE 300                                       BIRMINGHAM         MI   48009‐3344
MCKELVIN, SHIRLEY A                    3294 WOODLAND TRL UNIT D                                                                         CORTLAND           OH   44410‐9266
MCKELVIN, WILLIAM H                    133 STAFFORD DR                                                                                  HANOVER            PA   17331‐7847
MCKELVY, CARLTON L                     3005 CLOVERMEADOW DR                                                                             FORT WORTH         TX   76123‐1091
MCKELVY, JEANNE M                      4205 EPPERLY DR                                                                                  DEL CITY           OK   73115‐3725
MCKELVY, MICHAEL G                     116 ORTH DR                                                                                      NEW CARLISLE       OH   45344‐1734
MCKELVY, MINNIE M                      227 WESTERN DR                                                                                   MEDWAY             OH   45341‐9521
MCKELVY, NELLIE M                      7659 SOMERVILLE DR                                                                               HUBER HEIGHTS      OH   45424‐2239
MCKEMY HILDA (483930)                  ANGELOS PETER G                     201 W PENNSYLVANIA AVE                                       TOWSON             MD   21204
MCKEMY, HILDA                          ANGELOS PETER G                     210 W PENNSYLVANIA AVE STE 300                               TOWSON             MD   21204‐4546

MCKENDRICK, CAROLINE
MCKENDRICK, DEBRA KAECK
MCKENDRICK, JAMES
MCKENDRICK, JAMES PAUL
MCKENDRICK, LEANDRA
MCKENDRICK, MICHAEL
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Name                          Address1                                Address2                          Address3                      Address4                 City                  State Zip
MCKENDRY, DARLENE D                                                   10701 W GRASS LAKE RD                                                                    BARRYTON               MI 49305‐9608
MCKENDRY, DAVID G             PO BOX 33065                                                                                                                     BLOOMFIELD HILLS       MI 48303
MCKENDRY, THOMAS B            6986 YOUNGSTOWN PITTSBURGH RD                                                                                                    POLAND                 OH 44514‐3753
MCKENIZE, MOSES               PAUL REICH & MYERS                      1608 WALNUT ST STE 500                                                                   PHILADELPHIA           PA 19103‐5446
MCKENN, EDWARD
MCKENNA & ASSOCIATES P C      436 BOULEVARD OF THE ALLIES SUITE 500                                                                                            PITTSBURGH            PA 15219‐1331

MCKENNA & ASSOCIATES PC       OREN L ELLIS                            PEGGY L ELLIS                     436 BLVD OF THE ALLIES, STE                            PITTSBURGH            PA 15219‐1331
                                                                                                        500
MCKENNA & ASSOCIATES PC       426 BOULEVARD OF THE ALLIES SUITE 500                                                                                            PITTSBURGH            PA 15219‐1331

MCKENNA & ASSOCIATES PC       436 BOULEVARD OF THE ALLIES            STE 500                                                                                   PITTSBURGH            PA 15219
MCKENNA & ASSOCIATES, P.C.    436 BOULEVARD OF THE ALLIES‐ SUITE 500                                                                                           PITTSBURGH            PA 15219‐1331

MCKENNA & CO                  5TH FL LIPPO TOWER                      89 QUEENSWAY                                                    HONG KONG
MCKENNA K G & ASSOCIATES      625 MAPLE RD                                                                                            ODESSA CANADA ON K0H
CONSULTANTS INC                                                                                                                       2H0 CANADA
MCKENNA KEITH J               13463 LAKE SHORE DR                                                                                                              FENTON                MI   48430‐1023
MCKENNA LESLIE SELLERS        203 FREDERICK LN                                                                                                                 LEONARD               MI   48367‐1752
MCKENNA LONG & ALDRIDGE       101 CALIFORNIA ST FL 41                                                                                                          SAN FRANCISCO         CA   94111‐5886
MCKENNA LONG & ALDRIDGE LLP   303 PEACHTREE ST NE STE 5300                                                                                                     ATLANTA               GA   30308‐3265
MCKENNA LONG & ALDRIDGE LLP   1900 K STREET ST NW                                                                                                              WASHINGTON            DC   20006
MCKENNA LONG & ALDRIDGE LLP   1900 K STREET N.W.                                                                                                               WASHINGTON            DC   20006
MCKENNA LONG & ALDRIDGE LLP   ATTY FOR INDUSTRY CANADA                ATT: CHRISTOPHER F. GRAHAM, ESQ. 230 PARK AVENUE STE 1700                                NEW YORK              NY   10169

MCKENNA LONG & ALDRIDGE LLP   ATTY FOR INDUSTRY CANADA                ATT: JESSICA H. MAYES, ESQ.       230 PARK AVENUE, SUITE 1700                            NEW YORK              NY 10169

MCKENNA LONG & ALDRIDGE LLP   J MICHAEL LEVENGOOD                     303 PEACHTREE STREET SUITE 5300                                                          ATLANTA               GA 30308

MCKENNA LONG & ALDRIDGE LLP   ATT: CHARLES E. DORKEY III              ATTY FOR EVGENY A. FRIEDMAN       230 PARK AVENUE, SUITE 1700                            NEW YORK              NY 10169

MCKENNA LONG & ALDRIDGE LLP   ATTN: TIMOTHY J. PLUNKETT               230 PARK AVENUE, SUITE 1700                                                              NEW YORK              NY   10169
MCKENNA MATHEW                2917 KEELEY CT                                                                                                                   WATERFORD             MI   48328‐2631
MCKENNA SERVICE COMPANY       901 E ORCHARD ST UNIT J                                                                                                          MUNDELEIN             IL   60060‐3016
MCKENNA TRUCK CENTER          5325 NE 14TH ST                                                                                                                  DES MOINES            IA   50313‐2007
MCKENNA, BARBARA A.           29748 OHMER DR                                                                                                                   WARREN                MI   48092
MCKENNA, BERNARD J            33‐11 167 STREET                                                                                                                 FLUSHING              NY   11358
MCKENNA, BRIAN P              5498 BROOKLAWN LN                                                                                                                HIGHLANDS RANCH       CO   80130‐6632
MCKENNA, CAMERON              160 ALDERSGATE ST MITRE HOUSE           LONDON                                                          ECIA 4DD ENGLAND GREAT
                                                                                                                                      BRITAIN
MCKENNA, CHARLENE S           9780 W GOLF PORT DR                                                                                                              CANADIAN LAKES        MI   49346‐9412
MCKENNA, CHARLES P            517 CARROLLWOOD RD                                                                                                               BALTIMORE             MD   21220‐3107
MCKENNA, CLAUDIA              21626 WESTBROOK CT                                                                                                               GROSSE POINTE WOODS   MI   48236‐1031
MCKENNA, DALE P               6227 PORTER RD                                                                                                                   GRAND BLANC           MI   48439‐8541
MCKENNA, ELLEN MARIE          552 MORLEY COURT                                                                                                                 BELFORD               NJ   07718‐1118
MCKENNA, ELLEN MARIE          552 MORLEY CT                                                                                                                    BELLFORD              NJ   07718
MCKENNA, FRANCIS D            1905 W CHADWICK RD                                                                                                               DEWITT                MI   48820‐8487
MCKENNA, FRANCIS P            2745 MORGAN ST                                                                                                                   SAGINAW               MI   48602‐3554
MCKENNA, FREDERICK            716 NW 17TH ST                                                                                                                   MOORE                 OK   73160‐3610
MCKENNA, FREDERICK T          2731 OBRIEN RD                                                                                                                   MAYVILLE              MI   48744‐9412
MCKENNA, GEORGE M             333 FLORAL ACRES DR                                                                                                              TIPP CITY             OH   45371‐2919
MCKENNA, HELEN                JAMES N. GROSS                          1616 WALNUT ST STE 1110                                                                  PHILADELPHIA          PA   19103‐5311
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Name                                  Address1                        Address2            Address3         Address4         City                  State Zip
MCKENNA, JACQUELINER                  70 PARK ST                                                                            DEDHAM                 MA 02026‐3008
MCKENNA, JAMES ‐ A MINOR              PO BOX 1318 ‐ 2294                                                                    SACRAMENTO             CA 95812
MCKENNA, JAMES A                      1803 LUTON CT                                                                         THOMPSONS STATION      TN 37179‐5318
MCKENNA, JEROME                       12833 HASKINS ST                                                                      OVERLAND PARK          KS 66213‐2329
MCKENNA, JOHN F                       6861 S WEST BAY SHORE DR                                                              TRAVERSE CITY          MI 49684‐9203
MCKENNA, JOHN F                       1089 CURWOOD RD                                                                       SAGINAW                MI 48609‐5272
MCKENNA, JOHN P                       47 PROSPECT AVE SE                                                                    GRAND RAPIDS           MI 49503‐4317
MCKENNA, KENNETH C                    3323 PEALE DR                                                                         SAGINAW                MI 48602‐3472
MCKENNA, KEVIN B                      1807 DURANGO CT SW                                                                    WYOMING                MI 49519‐9516
MCKENNA, KEVIN M                      9705 S HOYNE AVE                                                                      CHICAGO                 IL 60643‐1634
MCKENNA, LOIS A                       1036 COUNTY ROAD 625 EAST                                                             NEOGA                   IL 62447‐2932
MCKENNA, LOIS A                       1035 COUNTY RD 625 E                                                                  NEOGA                   IL 62447‐2932
MCKENNA, MARK G                       6027 DOVERTON DR                                                                      NOBLESVILLE            IN 46062‐7698
MCKENNA, MARY E                       6305 NW CRYSTAL POOL DR                                                               PLATTE WOODS           MO 64151‐1559
MCKENNA, MARY ELIZABETH               6305 NW CRYSTAL POOL DR                                                               PLATTE WOODS           MO 64151‐1559
MCKENNA, MATHEW M                     2917 KEELEY CT                                                                        WATERFORD              MI 48328‐2631
MCKENNA, MICHAEL A                    2121 E CENTERVILLE STATION RD                                                         CENTERVILLE            OH 45459‐5542
MCKENNA, MICHAEL D                    7912 PINNOCHIO AVE                                                                    LAS VEGAS              NV 89131‐3587
MCKENNA, MICHAEL J                    4 FRANK GATES LN                                                                      DERBY                  CT 06418
MCKENNA, MILDRED R                    8 BOULDERBROOK CT UNIT 84                                                             PROSPECT               CT 06712‐1077
MCKENNA, RICHARD A                    10900 ROUND LAKE RD                                                                   HORTON                 MI 49246‐9602
MCKENNA, RICHARD E                    6027 DOVERTON DR                                                                      NOBLESVILLE            IN 46062‐7698
MCKENNA, ROBERT C                     22422 MILL RD                                                                         NOVI                   MI 48375‐5030
MCKENNA, ROBERT J                     193 WASHINGTON AVE                                                                    TAPPAN                 NY 10983‐1828
MCKENNA, ROBERT S                     4840 MAPLETON RD                                                                      LOCKPORT               NY 14094‐9678
MCKENNA, RONALD G                     62 BETH DR                                                                            RICHBORO               PA 18954‐1965
MCKENNA, SARAH M                      5303 SAN GIORGIO COVE                                                                 FORT WAYNE             IN 46845‐8839
MCKENNA, STANLEY E                    1672 LOWER STATE RD                                                                   DOYLESTOWN             PA 18901‐7034
MCKENNA, STEVE C                      2262 COUNTY ROAD 1245                                                                 BLANCHARD              OK 73010‐3009
MCKENNA, TERRI A                      7 MONTANES LN                                                                         HOT SPRINGS VILLAGE    AR 71909‐4302
MCKENNA, THERESA                      306 SUNDOWN TRL APT 3G                                                                WILLIAMSVILLE          NY 14221‐2288
MCKENNA, THERESA                      306 SUNDOWN TRAIL #3G                                                                 WILLIAMSVILLE          NY 14221
MCKENNA, THOMAS R                     217 VERNON RD                                                                         GREENVILLE             PA 16125‐8639
MCKENNA, TIMOTHY F                    505 DONAIR DR                                                                         SANDUSKY               OH 44870‐5735
MCKENNA, VALERIA G                    217 VERNON RD                                                                         GREENVILLE             PA 16125‐8639
MCKENNA, WELLINGTON                   131 PROCTOR ST                                                                        WATERBURY              CT 06706
MCKENNA, WILLIAM E                    36 ROCHAMBEAU AVE                                                                     DOBBS FERRY            NY 10522‐1703
MCKENNA, WILLIAM L                    9780 W GOLF PORT DR                                                                   CANADIAN LAKES         MI 49346‐9412
MCKENNEY CHEVROLET BUICK PONTIAC      831 S MAIN ST                                                                         LOWELL                 NC 28098‐1954
GM
MCKENNEY CHEVROLET, INC.              6746 W WILKINSON BLVD                                                                 BELMONT               NC    28012‐6202
MCKENNEY CHEVROLET, INC.              H. MCKENNEY                     831 S MAIN ST                                         LOWELL                NC    28098‐1954
MCKENNEY CHRISTINE                    PO BOX 434                                                                            WAUKEE                IA    50263‐0434
MCKENNEY JEFFREY & QUIGLEY CLARKIN    1 STATE ST                                                                            PROVIDENCE            RI    02908
PETER A
MCKENNEY JEFFREY & QUIGLEY CLARKIN,   1 STATE ST                                                                            PROVIDENCE             RI   02908
PETER A
MCKENNEY, ALLISON D                   4831 ERIE STREET                                                                      YOUNGSTOWN            OH    44512‐1618
MCKENNEY, BRENDA J                    1226 LAMB DR                                                                          TROY                  MI    48085‐4957
MCKENNEY, BRUCE G                     1315 ARNOLDS CREEK RD                                                                 DRY RIDGE             KY    41035‐8074
MCKENNEY, DENNIS J                    459 LARCH ST 19                                                                       CHICO                 CA    95926
MCKENNEY, DONALD C                    205 SHELDON DR                                                                        NEWARK                DE    19711‐4306
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Name                                 Address1                           Address2                          Address3    Address4         City                 State Zip
MCKENNEY, ELIZA                      8520 NORMILE ST                                                                                   DETROIT               MI 48204‐3144
MCKENNEY, ELIZA                      8520 NORMILE                                                                                      DETROIT               MI 48204‐3144
MCKENNEY, ELVIN J                    5106 N JENNINGS RD                                                                                FLINT                 MI 48504‐1114
MCKENNEY, ELVIN JAY                  5106 N JENNINGS RD                                                                                FLINT                 MI 48504‐1114
MCKENNEY, KATHERINE E                1147W G RAND RIVER APT 134                                                                        WILLIAMSTON           MI 48895
MCKENNEY, KRISTINE L                 1938 VALLEY LN                                                                                    LAKE ORION            MI 48360‐1870
MCKENNEY, MANSON L                   3661 STANTON AVE                                                                                  INDIANAPOLIS          IN 46201‐4463
MCKENNEY, MARLENE M                  3591 SE RIVER RD                                                                                  HILLSBORO             OR 97123‐9271
MCKENNEY, MARY L                     10561 WATER ST                                                                                    DEFIANCE              OH 43512‐1247
MCKENNEY, RICHARD P                  211 W 1000 S                                                                                      PENDLETON             IN 46064‐9350
MCKENNEY, RONALD                     PO BOX 1283                                                                                       SPRING HILL           TN 37174‐1283
MCKENNEY, RONALD B                   218 FIRE TOWER LOOP                                                                               BEAVER DAM            KY 42320‐9408
MCKENNEY, RONALD P                   1226 LAMB DR                                                                                      TROY                  MI 48085‐4957
MCKENNEY, ROSETTA                    BOX 171 DETROIT STREET                                                                            FARNHAM               NY 14061
MCKENNEY, THOMAS                     BATEY & YOCHIM                     29777 TELEGRAPH RD STE 2631                                    SOUTHFIELD            MI 48034‐7651
MCKENNEYS INC                        1056 MORELAND INDUSTRIAL BLVD SE                                                                  ATLANTA               GA 30316‐3252
MCKENNEYS, INC.                      LORA MYERS                         1056 MORELAND INDUSTRIAL BLVD                                  ATLANTA               GA 30316‐3252
                                                                        SE
MCKENNON, DORIS A                    606 WHITE PINE BLVD                                                                               LANSING              MI   48917‐8822
MCKENNY, ANNE E                      129 INVERNESS ST                                                                                  HOWELL               MI   48843‐1143
MCKENNY, STEPHEN R                   2005 CHURCHILL DR                                                                                 ANN ARBOR            MI   48103‐6006
MCKENNY, THOMAS J                    1856 SULKY TRL                                                                                    MIAMISBURG           OH   45342‐6369
MCKENZE JR, GEORGE                   3910 WINONA ST                                                                                    FLINT                MI   48504‐2187
MCKENZE, GEORGE                      1222 E GRACELAWN AVE                                                                              FLINT                MI   48505‐3002
MCKENZIE BENSON                      BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS.          OH   44236
MCKENZIE BRO'S FULL SERVICE GARAGE   635 W MAIN ST                                                                                     HOMER                LA   71040‐3415

MCKENZIE CHARLES                     3929 BUENA VISTA ST UNIT D                                                                        DALLAS               TX   75204‐1641
MCKENZIE CITY CLERK                  PO BOX 160                                                                                        MC KENZIE            TN   38201‐0160
MCKENZIE DONALD & KAREN              MCKENZIE, KAREN L                  HUNTSINGER, ANDREW R              PO BOX 33                    ROGERS               AR   72757
MCKENZIE DONALD & KAREN              MCKENZIE, DONALD K                 PO BOX 33                                                      ROGERS               AR   72757‐0033
MCKENZIE DUKE                        731 DELAWARE ST                                                                                   DETROIT              MI   48202‐2451
MCKENZIE EDWARD (446248)             KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                  CLEVELAND            OH   44114
                                                                        BOND COURT BUILDING
MCKENZIE III, ROBERT E               1010 WORCESTER DR NE                                                                              GRAND RAPIDS         MI   49505‐5948
MCKENZIE III, ROBERT EUGENE          1010 WORCESTER DR NE                                                                              GRAND RAPIDS         MI   49505‐5948
MCKENZIE JR, HERMAN                  773 BALFOUR ST                                                                                    GROSSE POINTE PARK   MI   48230
MCKENZIE JR, JEFF                    602 W MCCLELLAN ST                                                                                FLINT                MI   48505‐4077
MCKENZIE JR, WILLIAM R               1470 HILLTOP RD                                                                                   XENIA                OH   45385‐9535
MCKENZIE KING                        5450 OVERHILL DR                                                                                  SAGINAW              MI   48603‐1761
MCKENZIE MARINA                      MCKENZIE, MARINA                   PO BOX 7                                                       GRAND BLANC          MI   48480‐0007
MCKENZIE MATTHEW                     MCKENZIE, MATTHEW                  17295 CHESTERFIELD AIRPORT ROAD
                                                                        SUITE 200 CHESTERFIELD, MO

MCKENZIE MOSES (335920) ‐ MCKENIZE   PAUL REICH & MYERS                 1608 WALNUT ST STE 500                                         PHILADELPHIA         PA 19103‐5446
MOSES
MCKENZIE MOTOR COMPANY               DBA MCKENZIE PONTIAC‐BUICK         6500 CAROLINE ST                  GMC‐OLD                      MILTON               FL   32570‐4591
MCKENZIE MOTOR COMPANY               MELISSA DAMPIER                    6500 CAROLINE ST                                               MILTON               FL   32570‐4591
MCKENZIE NADINE M                    MCKENZIE, NADINE M                 PO BOX 3009                                                    MODESTO              CA   95353‐3009
MCKENZIE PONTIAC‐BUICK‐GMC‐          6500 CAROLINE ST                                                                                  MILTON               FL   32570‐4591
OLDSMOBI
                              09-50026-mg          Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                          Address1                     Address2            Address3         Address4         City               State Zip
MCKENZIE PONTIAC‐BUICK‐GMC‐   6500 CAROLINE ST                                                                   MILTON              FL 32570‐4591
OLDSMOBILE
MCKENZIE PROPERTIES           245 E LIBERTY ST STE 500                                                           RENO               NV   89501‐2256
MCKENZIE TANK LINE            1020 KENNEDY AVE                                                                   SCHERERVILLE       IN   46375
MCKENZIE TANK LINES #01       535 PT LEON DRIVE                                                                  SAINT MARKS        FL   32355
MCKENZIE TANK LINES #02       2778 W THORPE STREET                                                               TALLAHASSEE        FL   32302
MCKENZIE TANK LINES #04       6734 ELLIS RD                                                                      SOUTHPORT          FL   32409‐1476
MCKENZIE TANK LINES #06       2469 BEAR FORK RD                                                                  MOBILE             AL   36613‐3951
MCKENZIE TANK LINES #07       8450 FOWLER AVE                                                                    PENSACOLA          FL   32534‐1891
MCKENZIE TANK LINES #08       165 DOCTORTOWN RD                                                                  JESUP              GA   31545‐5600
MCKENZIE TANK LINES #09       HWY 43 NORTH                                                                       BUCKS              AL   36512
MCKENZIE TANK LINES #10       1210 MCKENZIE RD                                                                   ALBANY             GA   31705‐9500
MCKENZIE TANK LINES #11       762 MCKENZIE RD                                                                    MILNER             GA   30257‐3414
MCKENZIE TANK LINES #12       DIXIE SCHOOL ROAD                                                                  ALMA               GA   31510
MCKENZIE TANK LINES #13       4555 AL HIGHWAY 51                                                                 OPELIKA            AL   36804‐4209
MCKENZIE TANK LINES #14       6549 ROBINSON RD                                                                   JACKSONVILLE       FL   32254‐1116
MCKENZIE TANK LINES #15       111 GRANGE ROAD                                                                    PORT WENTWORTH     GA   31407
MCKENZIE TANK LINES #16       1918 N 57TH ST                                                                     TAMPA              FL   33619‐3118
MCKENZIE TANK LINES #17       9160 SIDNEY HAYES RD                                                               ORLANDO            FL   32824‐8101
MCKENZIE TANK LINES #18       4400 OAKES RD                                                                      DAVIE              FL   33314‐2201
MCKENZIE TANK LINES #27       3645 DELTA DR                                                                      SAINT GABRIEL      LA   70776‐4725
MCKENZIE TANK LINES #31       SCORPIC DRIVE                                                                      HAHNVILLE          LA   70057
MCKENZIE TANK LINES #32       7327 OLD STATESVILLE RD                                                            CHARLOTTE          NC   28269‐3730
MCKENZIE TANK LINES #34       208 CHOCTAW POINT RD                                                               MOBILE             AL   36652
MCKENZIE TANK LINES #38       802 N DOCK ST                                                                      PALMETTO           FL   34221‐6604
MCKENZIE, ALAN F              2043 WINCHESTER TRL                                                                ROMEOVILLE         IL   60446‐5092
MCKENZIE, ANDREW L            2700 NW 44TH ST APT 414                                                            OAKLAND PARK       FL   33309
MCKENZIE, ANGELA B            1710 COMMONWEALTH DRIVE                                                            XENIA              OH   45385‐4816
MCKENZIE, ANNETTE             15109 EDGEWOOD AVE                                                                 CLEVELAND          OH   44128‐1137
MCKENZIE, ANNIE L             175 DENBY ST                                                                       ROMEO              MI   48065‐5227
MCKENZIE, ARLEEN M            976 PORTSIDE CIR                                                                   ROSEVILLE          CA   95678‐6462
MCKENZIE, BENNIE J            6658 INDIANA AVE                                                                   KANSAS CITY        MO   64132‐1224
MCKENZIE, BERTHA M            3320 S SCATTERFIELD RD                                                             ANDERSON           IN   46013‐2128
MCKENZIE, BESSALANE L         5538 SAND HILL RD                                                                  POLAND             IN   47868‐7011
MCKENZIE, BETTY J             10582 MAD RIVER RD                                                                 NEW VIENNA         OH   45159‐9692
MCKENZIE, BILLY E             188 GLADYS RD                                                                      COLUMBUS           OH   43228
MCKENZIE, BOBBY               108 JEANETTE PL                                                                    CENTERVILLE        GA   31028‐1135
MCKENZIE, BOBBY E             2321 80TH AVE                                                                      OAKLAND            CA   94605‐3234
MCKENZIE, BYRON L             12453 WINDBUSH WAY                                                                 CARMEL             IN   46033‐9174
MCKENZIE, C D                 PO BOX 352                                                                         FRANKLIN           GA   30217‐0352
MCKENZIE, CAREY L             1710 COMMONWEALTH DR                                                               XENIA              OH   45385‐4816
MCKENZIE, CHARLES E           527 N 29TH ST                                                                      EAST SAINT LOUIS   IL   62205‐1411
MCKENZIE, CLAUDIA K           3908 N OAKWOOD AVE                                                                 MUNCIE             IN   47304‐1409
MCKENZIE, CLIVE               47615 W ANN ARBOR TRL                                                              PLYMOUTH           MI   48170‐3477
MCKENZIE, DALE R              5111 GREEN ARBOR DR                                                                GENESEE            MI   48437‐7703
MCKENZIE, DALE ROBERT         5111 GREEN ARBOR DR                                                                GENESEE            MI   48437‐7703
MCKENZIE, DANIEL R            202 W SCHOOL ST                                                                    ANDERSON           IN   46012‐1633
MCKENZIE, DAVID               PO BOX 1162                                                                        LEBANON            OH   45036‐5162
MCKENZIE, DAVID E             3242 E OVERLOOK RD                                                                 CLEVELAND HTS      OH   44118‐2114
MCKENZIE, DAVID L             10017 DUFFIELD RD                                                                  GAINES             MI   48436‐9785
MCKENZIE, DAVID LEE           10017 DUFFIELD RD                                                                  GAINES             MI   48436‐9785
MCKENZIE, DAWN R              14148 BURBANK BLVD APT 8                                                           SHERMAN OAKS       CA   91401‐4943
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Name                      Address1                          Address2                        Address3     Address4         City               State Zip
MCKENZIE, DAWN RENEE      14148 BURBANK BLVD APT 8                                                                        SHERMAN OAKS        CA 91401‐4943
MCKENZIE, DEBORAH J       1602 ALBION RD                                                                                  ALBION              MI 49224‐9660
MCKENZIE, DELORIS ANN     3655 ROLLIN HILL CT                                                                             OSCODA              MI 48750‐8802
MCKENZIE, DOLLIE B        1481 DUFFUS RD.                                                                                 WARREN              OH 44484‐1102
MCKENZIE, DOLLIE B        1481 DUFFUS RD NE                                                                               WARREN              OH 44484‐1102
MCKENZIE, DONALD          1224 BOWERS RD                                                                                  MANSFIELD           OH 44903‐8656
MCKENZIE, DONALD K        HUNTSINGER, ANDREW R              PO BOX 33                                                     ROGERS              AR 72757‐0033
MCKENZIE, DONNA T         364 CARPENTER RD                                                                                FOSTORIA            MI 48435‐9747
MCKENZIE, DWIGHT A        407 KINNEY ST                                                                                   BELLEVUE            OH 44811‐1827
MCKENZIE, EDDIE P         3913 ASKEW AVE                                                                                  KANSAS CITY         MO 64130‐1425
MCKENZIE, EDITH D         PO BOX 9                                                                                        FRANKLIN            OH 45005‐0009
MCKENZIE, EDWARD          KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                  CLEVELAND           OH 44114
                                                            BOND COURT BUILDING
MCKENZIE, EDWARD C        714 CHUCK DR                                                                                    PEVELY             MO   63070‐2913
MCKENZIE, ELEANOR         5210 E CLARK RD                   C/O PATRICIA M JILBERT          PO BOX 486                    HARRISVILLE        MI   48740‐9797
MCKENZIE, ELEANOR D       1239 ZION RD                                                                                    BRONSTON           KY   42518
MCKENZIE, FLORA M         199 WEST AVE                                                                                    LOCKPORT           NY   14094‐4240
MCKENZIE, FREDERICK       13654 TANGMAN RD                                                                                SUNMAN             IN   47041‐9484
MCKENZIE, FREDERICK R     4574 CADILLAC PL                                                                                SAGINAW            MI   48604‐1034
MCKENZIE, GARY L          224 INDIANA AVE                                                                                 DAYTON             OH   45410‐2312
MCKENZIE, GARY R          46 MOUNTAIR DRIVE                                                                               VANDALIA           OH   45377‐2952
MCKENZIE, GARY R          46 MOUNTAIR DR                                                                                  VANDALIA           OH   45377‐2952
MCKENZIE, GARY S          7438 HILL RD                                                                                    SWARTZ CREEK       MI   48473‐7602
MCKENZIE, GARY SHELDON    7438 HILL RD                                                                                    SWARTZ CREEK       MI   48473‐7602
MCKENZIE, GERALD          PORTER & MALOUF PA                4670 MCWILLIE DR                                              JACKSON            MS   39206‐5621
MCKENZIE, GERALD W        PO BOX 823                                                                                      ARIZONA CITY       AZ   85223‐6508
MCKENZIE, GORDON J        PO BOX 141                                                                                      BUTLER             MD   21023‐0141
MCKENZIE, HAIRM E         SUTTER & ENSLEIN                  1598 KANAWHA BLVD EAST, SUITE                                 CHARLESTON         WV   25311
                                                            200
MCKENZIE, HURL E          8460 BLUE LAKE CIR                                                                              GALLOWAY           OH   43119‐8706
MCKENZIE, JAMES A         4570 SW 166TH COURT RD                                                                          OCALA              FL   34481‐8835
MCKENZIE, JAMES A         5807 BOIS ILE DR                                                                                HASLETT            MI   48840‐9515
MCKENZIE, JAMES D         16721 MARSH RD                                                                                  EAST LANSING       MI   48823‐9602
MCKENZIE, JAMES W         PO BOX 4932                                                                                     EAST LANSING       MI   48826‐4932
MCKENZIE, JEFFREY D       10017 S. DEERFIELD ROAD                                                                         GAINES             MI   48436
MCKENZIE, JEFFREY DAVID   10017 S. DEERFIELD ROAD                                                                         GAINES             MI   48436
MCKENZIE, JESSICA LYNN    23442 BARFIELD STREET                                                                           FARMINGTN HLS      MI   48336‐3402
MCKENZIE, JIMMY R         22661 BRAESIDE CIR                                                                              FARMINGTON HILLS   MI   48335
MCKENZIE, JIMMY R         22551 BRAESIDE CIR                                                                              FARMINGTON         MI   48335‐3903
MCKENZIE, JOHN            PO BOX 9727                                                                                     PANAMA CITY        FL   32417‐0127
MCKENZIE, JOHN            163 CHESTNUT ST                                                                                 LOCKPORT           NY   14094‐2922
MCKENZIE, JOHN E          3706 S WINDPOINT CIR                                                                            MUNCIE             IN   47302‐6914
MCKENZIE, JOSEPH          525 E WOODLAND ST APT B                                                                         FERNDALE           MI   48220‐1372
MCKENZIE, JOSEPH R        9846 BELLBROOK RD                                                                               WAYNESVILLE        OH   45068‐9636
MCKENZIE, JUSTIN
MCKENZIE, KAREN B         21539 SE 37TH ST                                                                                SAMMAMISH          WA   98075‐9262
MCKENZIE, KAREN L         HUNTSINGER, ANDREW R              PO BOX 33                                                     ROGERS             AR   72757‐0033
MCKENZIE, KATHARINA       6152 FRANKS ROAD                                                                                BYRNES MILL        MO   63051‐1154
MCKENZIE, KATHARINE E     18109 GREGG BLUFF RD                                                                            LEANDER            TX   78645‐9637
MCKENZIE, KATHERINE       PO BOX 31                         8436 BOETTNER RD.                                             BRIDGEWATER        MI   48115‐0031
MCKENZIE, KATHERINE       8436 BOETTNER RD                  P O BOX 31                                                    BRIDGEWATER        MI   48115
MCKENZIE, KATHERINE J     4886 HEIDE AVE NW                                                                               COMSTOCK PARK      MI   49321‐8934
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Name                          Address1                        Address2                        Address3   Address4         City             State Zip
MCKENZIE, KATHLEEN S          1470 HILLTOP RD                                                                             XENIA             OH 45385‐9535
MCKENZIE, KENNETH B           16 SAND LAND DR                                                                             ATTICA            MI 48412‐9102
MCKENZIE, KENNETH T           PO BOX 84                                                                                   EATON CENTER      NH 03832‐0084
MCKENZIE, KIMBERLY
MCKENZIE, KIMBERLY            4100 66TH AVENUE                                                                            PINELLAS PARK    FL 33781‐5800
MCKENZIE, KIMBERLY J          1468 KIMBERLY CT                                                                            GRAND BLANC      MI 48439‐5157
MCKENZIE, KURT R
MCKENZIE, LAKESHA S           11115 CHEYENNE TRL APT 303                                                                  PARMA HEIGHTS    OH 44130‐9036
MCKENZIE, LAWRENCE WOODWARD   SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON       WV 25311
                                                              200
MCKENZIE, LORENE E            430 PLEASANT RIDGE RD                                                                       CARROLLTON       GA   30117‐6836
MCKENZIE, LORENE E            430 PLEASENT RIDGE RD                                                                       CARROLLTON       GA   30117‐6836
MCKENZIE, LYLE W              5300 MANATEE DR                                                                             SEBRING          FL   33870
MCKENZIE, MARGARET            6106 NORTH RD                                                                               WEST JEFFERSON   OH   43162‐9562
MCKENZIE, MARINA              CAMPBELL ANDREW L               PO BOX 7                                                    GRAND BLANC      MI   48480‐0007
MCKENZIE, MARK F              3773 ACADIA DR                                                                              LAKE ORION       MI   48360‐2725
MCKENZIE, MARK F.             3773 ACADIA DR                                                                              LAKE ORION       MI   48360‐2725
MCKENZIE, MARY D              2031 SURFWOOD CIR SW                                                                        WARREN           OH   44485‐3974
MCKENZIE, MARY ROSE           326 S LUTHER ST                                                                             DETROIT          MI   48217‐1443
MCKENZIE, MATTHEW             4484 M 65                                                                                   OSCODA           MI   48750‐9229
MCKENZIE, MICKEY R            908 COTTAGE AVE                                                                             ANDERSON         IN   46012‐4045
MCKENZIE, MURRAY W            3655 ROLLIN HILL CT                                                                         OSCODA           MI   48750‐8802
MCKENZIE, NADINE              625 CORELLO ST                                                                              TURLOCK          CA   95380‐4445
MCKENZIE, NADINE M            WINGER & RINGHOFF               PO BOX 3009                                                 MODESTO          CA   95353‐3009
MCKENZIE, NANCY               5079 BERNEDA DR                                                                             FLINT            MI   48506‐1501
MCKENZIE, PATRICK D           1307 LAKESHORE BOULEVARD                                                                    SAINT CLOUD      FL   34769‐2325
MCKENZIE, PHYLLIS LORRAIN     4101 W M‐78                                                                                 PERRY            MI   48872‐9769
MCKENZIE, RAYMOND E           26155 CATHEDRAL                                                                             REDFORD          MI   48239
MCKENZIE, REVA F              40300 LANDAKER ROAD                                                                         POMEROY          OH   45769‐9691
MCKENZIE, ROBERT A            1851 N COVILLE RD                                                                           LINCOLN          MI   48742‐9778
MCKENZIE, ROBERT E            1461 BRECCIA RD                                                                             WELLINGTON       NV   89444
MCKENZIE, ROBERT E            SUTTER & ENSLEIN                1598 KANAWHA BLVD EAST, SUITE                               CHARLESTON       WV   25311
                                                              200
MCKENZIE, ROBERT G            1135 DARLINGTON EAST RD                                                                     BELLVILLE        OH   44813‐9387
MCKENZIE, ROBERT R            2125 BEAN CREEK RD                                                                          LACHINE          MI   49753‐9650
MCKENZIE, RODNEY H            3512 MADISON AVE                                                                            ANDERSON         IN   46013‐4139
MCKENZIE, ROGER L             4860 PACEMONT AVE                                                                           DAYTON           OH   45415‐1344
MCKENZIE, ROGER L             3242 E OVERLOOK RD                                                                          CLEVELAND HTS    OH   44118‐2114
MCKENZIE, ROLLAND D           3320 S SCATTERFIELD RD                                                                      ANDERSON         IN   46013‐2128
MCKENZIE, RON                 NEWSOME LAW FIRM                20 N ORANGE AVE STE 800                                     ORLANDO          FL   32801‐4641
MCKENZIE, RONALD C            3681 COUNTY ROAD #34                                                                        KILLEN           AL   35645
MCKENZIE, RUSSELL E           PO BOX 181                                                                                  VALLEY CITY      OH   44280‐0181
MCKENZIE, SACHIKO             4570 SW 166TH COURT RD                                                                      OCALA            FL   34481‐8835
MCKENZIE, SHIRLEY ANN         1009 EVANS WAY                                                                              BALTIMORE        MD   21205‐3206
MCKENZIE, STELLA J            2855 GULF TO BAY BLVD           APT 23F                                                     CLEARWATER       FL   33759
MCKENZIE, STEPHEN             HORWITZ HORWITZ & ASSOC         180 N LASALLE ST                                            CHICAGO          IL   60601
MCKENZIE, STEVEN              12720 FARR RD                                                                               RAVENNA          MI   49451‐9418
MCKENZIE, STUART D            10389 BAKER DR                                                                              CLIO             MI   48420‐7720
MCKENZIE, TERESA R            1356 CLEVELAND ST                                                                           SHREVEPORT       LA   71108‐3106
MCKENZIE, THELMA              499 COYOTE RD                                                                               MOREHEAD         KY   40351‐8797
MCKENZIE, THOMAS A            9665 COLCHESTER CT                                                                          CENTERVILLE      OH   45458‐4955
MCKENZIE, THOMAS D            178 MARCELLA AVE                                                                            SHARPSBURG       GA   30277‐2455
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Name                                 Address1                          Address2                           Address3   Address4         City            State Zip
MCKENZIE, THOMAS G                   9265 WOODRING ST                                                                                 LIVONIA          MI 48150‐3757
MCKENZIE, TIMOTHY L                  PO BOX 1175                                                                                      FRANKLIN         TN 37065‐1175
MCKENZIE, VERA                       302 N POPLAR ST                                                                                  VIENNA           GA 31092‐1070
MCKENZIE, VIRGINIA M                 5243 VIRGINIA SPRINGS COURT                                                                      CLAYTON          OH 45315‐5315
MCKENZIE, WALLACE R                  900 AQUA ISLES BLVD.              APT. G3                                                        LEBELLE          FL 33935‐3935
MCKENZIE, WALLACE R                  900 AQUA ISLES BLVD LOT G3                                                                       LABELLE          FL 33935‐4389
MCKENZIE, WENDELL L                  1204 WILLIE GROCE RD                                                                             GLASGOW          KY 42141‐8892
MCKENZIE, WENDY K                    1402 EAST PARKWOOD AVENUE                                                                        BURTON           MI 48529‐1632
MCKENZIE, WILLIAM A                  3240 REBERT PIKE                                                                                 SPRINGFIELD      OH 45502‐9737
MCKENZIE, WILLIAM A                  3826 GLASER DR                                                                                   DAYTON           OH 45429‐4118
MCKENZIE, WILLIAM A                  3826 GLASER DR.                                                                                  DAYTON           OH 45429‐4118
MCKENZIE, WILLIAM G                  3338 PARAMOUNT AVE.                                                                              DAYTON           OH 45424‐6233
MCKENZIE, WILLIAM R                  23 LAKEVIEW CIR                                                                                  CANFIELD         OH 44406‐9619
MCKENZIE, WILLIAM W                  1860 INTERLAKE DR                                                                                NATIONAL CITY    MI 48748‐9599
MCKENZIE, WILMA C                    188 GLADYS RD                                                                                    COLUMBUS         OH 43228‐1784
MCKENZIE, WILMA E.                   127 BELLA VISTA DR APT 12                                                                        GRAND BLANC      MI 48439‐1589
MCKENZIE‐PARSE, JOYCE A              1489 N CUMMINGS RD                                                                               DAVISON          MI 48423‐8177
MCKEOGH, FRANCES                     41936 PARK LN                                                                                    CLINTON TWP      MI 48038‐5260
MCKEON JOSEPH W JR (116134)          PERLBERGER & HAFT                 1 BALA AVE STE 400                                             BALA CYNWYD      PA 19004‐3210
MCKEON JR, JOHN P                    468 W BEL AIR AVE                                                                                ABERDEEN         MD 21001‐2425
MCKEON TERRY R (467027)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK          VA 23510
                                                                       STREET, SUITE 600
MCKEON, BRUCE R                      15094 DUFFIELD RD                                                                                BYRON           MI   48418‐9039
MCKEON, CAROL J                      13491 WINDY HOLLOW DR                                                                            MILFORD         MI   48380‐3077
MCKEON, DANNY J                      6535 COUNTY RD                                                                                   MAPLE CITY      MI   49664
MCKEON, FRANCIS L                    8403 VASSAR RD                                                                                   MILLINGTON      MI   48746‐9437
MCKEON, FRANK J                      126 ROCKROSE DRIVE                                                                               NEWARK          DE   19711‐6854
MCKEON, GREGORY                      5958 N DELEGATES WAY                                                                             MC CORDSVILLE   IN   46055‐9673
MCKEON, IRA L                        3750 S SWISS DR                                                                                  BAY CITY        MI   48706‐9234
MCKEON, JAMES P                      32600 COLONY HILL DR                                                                             FRANKLIN        MI   48025‐1016
MCKEON, JOHN F                       311 TAYLOR AVE                                                                                   GIRARD          OH   44420‐3263
MCKEON, JOHN M                       1015 OLD COLUMBIA RD                                                                             CHAPEL HILL     TN   37034‐8412
MCKEON, JOSEPH                       PAUL REICH & MYERS PC             1608 WALNUT ST                     STE 500                     PHILADELPHIA    PA   19103‐5446
MCKEON, JOSEPH W                     PERLBERGER & HAFT                 1 BALA AVE STE 400                                             BALA CYNWYD     PA   19004‐3210
MCKEON, JUDITH A                     PO BOX 433                                                                                       SAINT HELEN     MI   48656‐0433
MCKEON, LARRY E                      PO BOX 433                                                                                       SAINT HELEN     MI   48656
MCKEON, MARK D                       12752 BERESFORD DR                                                                               STERLING HTS    MI   48313‐4110
MCKEON, MELVIN J                     200 W BEAR CREEK RD TRLR 601                                                                     GLENN HEIGHTS   TX   75154‐8113
MCKEON, MICHAEL J                    1015 OLD COLUMBIA RD                                                                             CHAPEL HILL     TN   37034‐8412
MCKEON, STEPHEN J                    24099 COUNTY ROAD 388                                                                            GOBLES          MI   49055‐9120
MCKEON, TERRY R                      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK         VA   23510‐2212
                                                                       STREET, SUITE 600
MCKEON, WILLIAM F                    104 LEXINGTON ONTARIO RD                                                                         MANSFIELD       OH 44903‐8400
MCKEONE JAMES (ESTATE OF) (446249)   CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND       OH 44115
                                     GAROFOLI                          FL
MCKEONE, DEBRA S                     7501 142ND AVE LOT 716                                                                           LARGO           FL   33771‐4622
MCKEOUGH, DENNIS M                   28172 SUTHERLAND DR                                                                              WARREN          MI   48088‐4337
MCKEOWN JAMES (007335)               GREITZER & LOCKS                  1500 WALNUT STREET                                             PHILADELPHIA    PA   19102
MCKEOWN MICHAEL (631854)             BROOKMAN ROSENBERG BROWN &        17TH FLR, ONE PENN SQUARE WEST,                                PHILADELPHIA    PA   19102
                                     SANDLER                           30 SOUTH 15TH STREET
MCKEOWN PATRICK (667470)             SHEPARD LAW FIRM, PC              10 HIGH STREET, SUITE 1100                                     BOSTON          MA 02110
MCKEOWN SR, PATRICK J                1226 MCKENNANS CHURCH RD                                                                         WILMINGTON      DE 19808‐2149
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Name                            Address1                           Address2                          Address3   Address4             City                 State Zip
MCKEOWN, ANNETTE                626 SPENCER ST                                                                                       FLINT                 MI 48505‐4277
MCKEOWN, ANNETTE                626 SPENCER AVE                                                                                      FLINT                 MI 48505‐4277
MCKEOWN, BARBARA A              PO BOX 371660                                                                                        DECATUR               GA 30037‐1660
MCKEOWN, CHRISTINE M            514 CORNELIA ST                                                                                      JANESVILLE            WI 53545‐2416
MCKEOWN, CRYSTAL                787 W. CHERRY ST., APT 38                                                                            MILWAUKEE             WI 53205
MCKEOWN, DENNIS M               940 PARK PL                                                                                          MILTON                WI 53563‐1336
MCKEOWN, EVELYN                 6147 PENWOOD RD                                                                                      MOUNT MORRIS          MI 48458‐2731
MCKEOWN, FRAZIER                1817 W PASADENA AVE                                                                                  FLINT                 MI 48504‐2568
MCKEOWN, HELEN                  10684 PODUNK AVE NE                                                                                  GREENVILLE            MI 48838‐9345
MCKEOWN, HELEN                  10684 PODUNK                                                                                         GREENVILLE            MI 48838
MCKEOWN, IOLA J                 4403 W NOSS RD                     C/O CHRISTINE MCKEOWN                                             BELOIT                WI 53511‐9387
MCKEOWN, JAMES                  GREITZER & LOCKS                   1500 WALNUT STREET                                                PHILADELPHIA          PA 19102
MCKEOWN, JAMES R                6973 OSTHEMO TRL                                                                                     GAYLORD               MI 49735‐7213
MCKEOWN, JEROME F               40341 MOUNT VERNON DR                                                                                STERLING HTS          MI 48313‐5341
MCKEOWN, KATHI M                35842 SPRINGVALE ST                                                                                  FARMINGTN HLS         MI 48331‐1352
MCKEOWN, KELLY S                2334 WILTSHIRE DR                                                                                    UPPER CHICHESTER      PA 19061‐3651
MCKEOWN, LAWRENCE E             176 SOUTH JACKSON STREET                                                                             JANESVILLE            WI 53548‐3844
MCKEOWN, MARY                   219 FIELDWOOD RD                                                                                     WATERBURY             CT 06704‐1160
MCKEOWN, MATTHEW
MCKEOWN, MICHAEL                BROOKMAN ROSENBERG BROWN &         17TH FLR, ONE PENN SQUARE WEST,                                   PHILADELPHIA         PA 19102
                                SANDLER                            30 SOUTH 15TH STREET
MCKEOWN, MICHAEL M              43340 VINSETTA DR                                                                                    STERLING HEIGHTS     MI   48313‐2388
MCKEOWN, MOLLY M                2025 MEADOWLARK LN                                                                                   BROWNSBURG           IN   46112‐8012
MCKEOWN, MOLLY MARAY            2025 MEADOWLARK LN                                                                                   BROWNSBURG           IN   46112‐8012
MCKEOWN, PATRICK                SHEPARD LAW FIRM, PC               10 HIGH STREET, SUITE 1100                                        BOSTON               MA   02114
MCKEOWN, REBECCA L              3429 PINE CREEK DR                                                                                   BRIGHTON             MI   48114‐8694
MCKEOWN, REBECCA L.             3429 PINE CREEK DR                                                                                   BRIGHTON             MI   48114‐8694
MCKEOWN, RICHARD W              1138 WALKER ST                                                                                       JANESVILLE           WI   53545‐2566
MCKEOWN, ROBERT J               1029 BYRON ST                                                                                        HUNTINGTON           IN   46750‐2251
MCKEOWN, ROBERT M               8004 NW 131ST CIR                                                                                    OKLAHOMA CITY        OK   73142‐2226
MCKEOWN, RUSSELL A              6677 DRAKE SETTLEMENT RD                                                                             APPLETON             NY   14008‐9640
MCKEOWN, TERRY V                100 YUKON CT                                                                                         BOWLING GREEN        KY   42101‐0774
MCKERCHIE, MARY A               7240 SMITH RD                                                                                        GAINES               MI   48436‐9750
MCKERCHIE, RAYMOND J            PO BOX 1123                                                                                          SAULT SAINTE MARIE   MI   49783‐7123
MCKERCHIE, ROSALIE A            1477 LINCOLN AVE                                                                                     MOUNT MORRIS         MI   48458‐1306
MCKERLIE MILLEN (ONTARIO) INC   639 BLOOR ST WEST                                                               OSHAWA ON L1J 5Y6
                                                                                                                CANADA
MCKERN, FREDRICK                8303 NICOLE CT                                                                                       AVON                 IN   46123‐5470
MCKERN, JENNIE                  1431 STONEY POINTE WAY                                                                               AVON                 IN   46123
MCKERNAN JR, JAMES M            127 BLANK RD                                                                                         NIAGARA FALLS        NY   14304‐1107
MCKERNAN, CHARLES T             2725 TOMPKINS CT                                                                                     NEWFANE              NY   14108‐1314
MCKERNAN, DARLENE               PO BOX 355                         1564 VANBUREN STREET                                              OLCOTT               NY   14126‐0355
MCKERNAN, GRETCHEN D            4198 DORAL CT                                                                                        HOWELL               MI   48843
MCKERNAN, IAN                   232 TRAFALGAR LN                                                                                     SAN CLEMENTE         CA   92672‐5481
MCKERNAN, JOHN J                49278 MONTE RD                                                                                       CHESTERFIELD         MI   48047‐4875
MCKERNAN, LINDA M               659 E KLINE ST                                                                                       GIRARD               OH   44420‐2327
MCKERNAN, MICHAEL J             2034 PALM VIEW RD                                                                                    SARASOTA             FL   34240‐7509
MCKERNAN, PATRICK J             4198 DORAL CT                                                                                        HOWELL               MI   48843‐9476
MCKERNAN, RUTH L                6035 GODFREY RD                                                                                      BURT                 NY   14028‐9722
MCKERNAN, STEFFEN               232 TRAFALGAR LN                                                                                     SAN CLEMENTE         CA   92672‐5481
MCKERNON, REBA J                7205 E SPRSTN SPGS BLVD APT 1110                                                                     MESA                 AZ   85209‐4041
MCKERRACHER, HOWARD L           38207 S RICKHAM CT                                                                                   WESTLAND             MI   48186‐3849
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Name                                 Address1                          Address2                      Address3   Address4         City               State Zip
MCKERVEY, DANIEL
MCKERVEY, JOSEPH R                   1908 IVY CT                                                                                 COLUMBIA           TN    38401‐1389
MCKERVEY, NATHAN C                   4882 PAYTON DR                                                                              WATERFORD          MI    48328‐1025
MCKESSON CORPORATION                 ANNA HABERKORN                    22 CORPORATE PARK                                         IRVINE             CA    92606‐3112
MCKETHER JR, FRANK                   PO BOX 14809                                                                                SAGINAW            MI    48601‐0809
MCKETHER, FREDRICK L                 2723 MORRIS ST                                                                              SAGINAW            MI    48601
MCKETHERN, ROBERT                    7212 GREENFIELD RD                                                                          MONTGOMERY         AL    36117
MCKETHERN, WILLIE L                  PO BOX 405                                                                                  WETUMPKA           AL    36092‐0007
MCKEVITT‐LIBERTELL, MARY A           10 RALPH AVE                                                                                WHITE PLAINS       NY    10606‐3412
MCKIBBEN, ARTHUR J                   4181 WINDSOR CASTLE WAY                                                                     DECATUR            GA    30034‐5364
MCKIBBEN, DERRICK T                  2621 JONATHANS LNDG                                                                         FORT WAYNE         IN    46814‐9089
MCKIBBEN, DERRICK TODD               2621 JONATHANS LNDG                                                                         FORT WAYNE         IN    46814‐9089
MCKIBBEN, DIXIE M                    403 RIDGE RD                                                                                KOKOMO             IN    46901‐3635
MCKIBBEN, GENEVIEVE J                2925 ROANOKE AVE                                                                            KETTERING          OH    45419‐1357
MCKIBBEN, GLENN R                    7359 N LAKESHORE DR                                                                         SHREVEPORT         LA    71107‐8901
MCKIBBEN, GLENN RAY                  7359 N LAKESHORE DR                                                                         SHREVEPORT         LA    71107‐8901
MCKIBBEN, GREGORY S                  8305 BARNHAM DRIVE                                                                          JOHNSTON           IA    50131‐8755
MCKIBBEN, JOHN D                     6226 W HAMILTON RD S                                                                        FORT WAYNE         IN    46814‐9443
MCKIBBEN, JOYCE A.                   RR 7                                                                                        DEFIANCE           OH    43512
MCKIBBEN, JOYCE A.                   RR 7 27894 DEF‐AYERS. PLEA. BD.                                                             DEFIANCE           OH    43512‐9807
MCKIBBEN, KELSIE E                   10225 LAKE TAHOE COURT                                                                      FORT WAYNE         IN    46804‐6916
MCKIBBEN, KELSIE ELIZABETH           10225 LAKE TAHOE COURT                                                                      FORT WAYNE         IN    46804‐6916
MCKIBBEN, MARK E                     2259 CARRIAGE DR                                                                            TOLEDO             OH    43615‐2722
MCKIBBEN, MARK ERIC                  2259 CARRIAGE DRIVE                                                                         TOLEDO             OH    43615‐2722
MCKIBBEN, MARVIN E                   418 LAUREL DR                                                                               MONROE             MI    48161‐5766
MCKIBBEN, MARY                       23168 BASS ST                                                                               WINDSOR            VA    23487‐5428
MCKIBBEN, MELINDA J                  807 BLUEGRASS DR                                                                            PRATTVILLE         AL    36066‐7235
MCKIBBEN, MONTE R                    1328 W MAIN ST                                                                              MUNCIE             IN    47303‐4915
MCKIBBEN, NANCY M                    4884 OVIATT WINDHAM RD                                                                      NEWTON FALLS       OH    44444‐9528
MCKIBBEN, OPAL G                     4401 CHRISTOPHER DR                                                                         KOKOMO             IN    46902‐4721
MCKIBBEN, PENNY B                    1313 MEADOWBROOK DR                                                                         KOKOMO             IN    46902‐5623
MCKIBBEN, ROBERT L                   208 SARATOGA WAY                                                                            ANDERSON           IN    46013‐4774
MCKIBBEN, ROGER L                    1555 MORNINGSIDE DR                                                                         COVINGTON          GA    30016‐4657
MCKIBBEN, RON E                      10225 LAKE TAHOE CT                                                                         FORT WAYNE         IN    46804‐6916
MCKIBBEN, RON EUGENE                 10225 LAKE TAHOE CT                                                                         FORT WAYNE         IN    46804‐6916
MCKIBBEN, SCOTT R                    15395 S STATE ROUTE 66                                                                      DEFIANCE           OH    43512‐6803
MCKIBBEN, TERRY L                    2621 JONATHANS LANDING                                                                      FORT WAYNE         IN    46814‐9089
MCKIBBEN‐CANTU, EUNICE K             6074 W 90 S                                                                                 KOKOMO             IN    46901
MCKIBBIN CLARENCE W (626651)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                       STREET, SUITE 600
MCKIBBIN LORI (ESTATE OF) (652452)   BRAYTON PURCELL                   PO BOX 6169                                               NOVATO              CA 94948‐6169
MCKIBBIN, CLARENCE W                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                       STREET, SUITE 600
MCKIBBIN, EDMUND P                   4759 LAKE SHORE RD                                                                          HAMBURG             NY   14075‐5546
MCKIBBIN, JOSEPH R                   10 PINE VALLEY CT                                                                           BUFFALO             NY   14224‐4156
MCKIBBIN, LORI                       BRAYTON PURCELL                   PO BOX 6169                                               NOVATO              CA   94948‐6169
MCKIBBIN, MARCIA A                   10 PINE VALLEY CT                                                                           WEST SENECA         NY   14224‐4156
MCKIBBIN, MICHAEL J                  184 LAURELTON DR                                                                            BUFFALO             NY   14224
MCKIBBIN, PEGGY E                    236 PINE BLUFFS RD                                                                          ROSCOMMON           MI   48653‐8329
MCKIBBIN, ROBERT                     44 VIEW CT                                                                                  DEPEW               NY   14043‐4812
MCKIBBON, DOUGLAS J                  21231 PARKLANE ST                                                                           FARMINGTON HILLS    MI   48335‐4422
MCKIDDIE PAT                         10512 W ATKINSON RD                                                                         BRIMLEY             MI   49715‐9091
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Name                            Address1                        Address2                  Address3   Address4         City              State Zip
MCKIDDIE, CARL W                6783 SHERWOOD HWY                                                                     BELLEVUE           MI 49021‐9405
MCKIDDIE, DONALD C              35280 S MAXTON CROSS RD                                                               DRUMMOND ISLAND    MI 49726‐9527
MCKIDDIE, GARY M                10512 W ATKINSON RD                                                                   BRIMLEY            MI 49715‐9091
MCKIDDIE, PATRICIA M            10512 W ATKINSON RD                                                                   BRIMLEY            MI 49715‐9091
MCKIDDIE, PATRICIA M            5800 N WILLIAMSTON RD                                                                 WILLIAMSTON        MI 48895‐9644
MCKIDDIE, RICHARD W             2405 LISA LN                                                                          COLUMBIA           TN 38401‐8047
MCKIDDY JR, TONY                5731 FAIRVIEW DR                                                                      CARLISLE           OH 45005‐3048
MCKIDDY, ALICE N                25 ALTON CIRCLE                                                                       HAMILTON           OH 45013‐3901
MCKIDDY, ALICE N                25 ALTON CIR                                                                          HAMILTON           OH 45013‐3901
MCKIDDY, EDGAR A                1202 SIMONTON AVENUE                                                                  MIAMISBURG         OH 45342‐2546
MCKIDDY, JOHN E                 5639 HOLLYHOCK DR                                                                     WEST CARROLLTON    OH 45449‐2915
MCKIDDY, RICK E                 1415 EAGLE MOUNTAIN DR                                                                MIAMISBURG         OH 45342‐4060
MCKIE BUICK PONTIAC GMC, INC.   414 E OMAHA ST                                                                        RAPID CITY         SD 57701‐1606
MCKIE BUICK PONTIAC GMC, INC.   MARK MCKIE                      414 E OMAHA ST                                        RAPID CITY         SD 57701‐1606
MCKIE EILEEN                    213 EASTWOOD DR                                                                       FLORENCE           MS 39073‐8933
MCKIE SAMUEL                    PO BOX 246                                                                            ONEIDA              IL 61467‐0246
MCKIE SR, BRYON C               647 ROCK LAKE GLN                                                                     FORT MILL          SC 29715‐0002
MCKIE SR, BRYON CEDRICK         647 ROCK LAKE GLN                                                                     FORT MILL          SC 29715‐0002
MCKIE, DANIEL                   5001 COUNTRYSIDE DR                                                                   ANTIOCH            TN 37013‐1831
MCKIE, DANIEL K                 PO BOX 2577                                                                           PENSACOLA          FL 32513‐2577
MCKIE, JAMES B                  508 SE MAIN ST                                                                        SIMPSONVILLE       SC 29681
MCKIE, JUSTIN T                 4645 PLANO PKWY APT 9104                                                              CARROLLTON         TX 75010
MCKIEL, RICHARD A               1534 PARKVIEW ST                                                                      MANTECA            CA 95337‐9486
MCKIERNAN, JOHN T               67726 GLEASON ST                                                                      RICHMOND           MI 48062‐1322
MCKIERNAN, MARY M               140 HICKMAN AVE                                                                       GLOUCESTER CITY    NJ 08030‐1842
MCKIERNAN, THOMAS E             6807 HAVCOCK RD                                                                       FALLS CHURCH       VA 22043‐1524
MCKIGNEY, GREGORY W             301 N 70TH TER APT 716                                                                KANSAS CITY        KS 66112‐3161
MCKIGNEY, GREGORY W             459 W KALAMA AVE                                                                      MADISON HTS        MI 48071‐3980
MCKILLIP, ALVIN A               11210 W BETHEL AVE              C/O MICHAEL MCKILLIP                                  GASTON             IN 47342‐8988
MCKILLIP, JOANN                 11210 W BETHEL AVE              C/O MICHAEL MCKILLIP                                  GASTON             IN 47342‐8988
MCKILLIP, MARK J                1012 N PHILIPS ST                                                                     KOKOMO             IN 46901
MCKILLIP, MICHAEL B             2207 E ELDER LN                                                                       MUNCIE             IN 47303‐1029
MCKILLIP, MICHAEL R             11210 W BETHEL AVE                                                                    GASTON             IN 47342‐8988
MCKILLIP, PHILLIP E             492 LONG HOLLOW RD                                                                    MARYVILLE          TN 37801‐7808
MCKILLIP, RICHARD               3403 S PENN ST                                                                        MUNCIE             IN 47302‐5866
MCKILLIPS JR, CLAUDE A          6315 PARKER RD                                                                        CASTALIA           OH 44824‐9380
MCKILLIPS, DARRELL K            1615 SENECA ST                                                                        SANDUSKY           OH 44870‐3060
MCKILLIPS, DENNIS M             922 A ST                                                                              SANDUSKY           OH 44870‐3101
MCKILLIPS, KAREN L              10026 OBERLIN RD                                                                      ELYRIA             OH 44035‐6767
MCKILLIPS, KIM D                1830 MILLS ST                                                                         SANDUSKY           OH 44870‐4576
MCKILLIPS, LOREN E              863 PERU OLENA RD E LOT 28                                                            NORWALK            OH 44857‐9332
MCKILLIPS, LOREN E              863 PERU‐OLENA RD               LOT 28                                                NORWALK            OH 44857
MCKILLOP, DANIEL R              204 CLIFFORD ST                                                                       SAINT CHARLES      MI 48655‐1712
MCKILLOP, DANIEL ROBERT         204 CLIFFORD ST                                                                       SAINT CHARLES      MI 48655‐1712
MCKIM & CREED                   1730 VARSITY DR STE 500                                                               RALEIGH            NC 27805
MCKIM & CREED, P.A.             TOM BUTCHER                     1730 VARSITY DR STE 500                               RALEIGH            NC 27606‐2689
MCKIM JR., GEORGE               454 PRIMROSE LANE                                                                     PENDERGRASS        GA 30567‐3485
MCKIM, ALICE                    PO BOX 407                                                                            PINCKNEY           MI 48169‐0407
MCKIM, CHARLES D                7963 E CEDAR LAKE DR                                                                  GREENBUSH          MI 48738‐9211
MCKIM, CHARLES D                7963 EAST CEDAR LAKE DRIVE                                                            GREENBUSH          MI 48738‐9211
MCKIM, DALE W                   4450 LILY DR                                                                          HOWELL             MI 48843‐8120
MCKIM, DANIEL L                 5344 W COLDWATER RD                                                                   FLINT              MI 48504‐1038
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Name                                  Address1                           Address2                        Address3    Address4         City                State Zip
MCKIM, DANIEL LEE                     5344 W COLDWATER RD                                                                             FLINT                MI 48504‐1038
MCKIM, JEAN A                         521 GALLOWAY DRIVE                 APT 125                                                      MANCHESTER           MI 48158
MCKIM, JEAN A                         521 GALLOWAY DR APT 125                                                                         MANCHESTER           MI 48158‐8674
MCKIM, JOHN V                         3513 PITT ST                                                                                    ANDERSON             IN 46013‐5279
MCKIM, LARRY D                        957 KIRWAN DR                                                                                   AUSTINTOWN           OH 44515‐3342
MCKIM, MARY B                         RR 6 BOX 87                                                                                     IUKA                 MS 38852
MCKIM, NANDA L                        6106 COVENTRY DR                                                                                SWARTZ CREEK         MI 48473‐8822
MCKIMM GEORGE                         MCKIMM, GEORGE                     735 GERALD NICHOLS RD                                        ROCK HILL            SC 29730‐9611
MCKIMM, GEORGE                        735 GERALD NICHOLS RD                                                                           ROCK HILL            SC 29730‐9611
MCKIMMIE BEN (446250)                 BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD           OH 44067
                                                                         PROFESSIONAL BLDG
MCKIMMIE GORBY I I I                  1009 LOBER DRIVE                                                                                PERRYSBURG          OH 43551‐1665
MCKIMMIE, ANNETTE                     210 WELCOMEWAY BLVD.               BUILDING 2                      APT 302 B                    INDIANAPOLIS        IN 46214
MCKIMMIE, BEN                         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
MCKIMMY, ARIKA                        1077 W MAPLE RAPIDS RD                                                                          SAINT JOHNS         MI    48879‐9468
MCKIMMY, BETTY E                      12999 CLAREMONT COURT                                                                           VICTORVILLE         CA    92392‐7218
MCKIMMY, GERALD L                     1573 TUSCANY LN                                                                                 HOLT                MI    48842‐2033
MCKIMMY, JANET K                      16878 LOCH CIR                                                                                  NOBLESVILLE         IN    46060‐4483
MCKIMMY, JANET K                      16878 LOCH CIRCLE                                                                               NOBLESVILLE         IN    46060‐4483
MCKIMMY, JANET M                      915 WAXEN WAY                                                                                   GRAND LEDGE         MI    48837‐2247
MCKIMMY, JESS                         1077 W MAPLE RAPIDS RD                                                                          SAINT JOHNS         MI    48879‐9468
MCKIMMY, LINDA P                      2499 EDGEWATER                                                                                  CORTLAND            OH    44410‐9642
MCKIMMY, MARLENE B                    9660 ST. RT. 7 N.E.BOX 64                                                                       KINSMAN             OH    44428
MCKIMMY, MICHAEL S                    16878 LOCH CIRCLE                                                                               NOBLESVILLE         IN    46060‐4483
MCKIMMY, PAUL D                       9660 STATE RT. #7 N.E.BOX 64                                                                    KINSMAN             OH    44428
MCKINA, ROBERT R                      913 W HOUSTON AVE                                                                               TEMPLE              TX    76501‐2548
MCKINCH, DEANNA F                     11344 FEES RD                                                                                   GRAND LEDGE         MI    48837‐9722
MCKINCH, DONALD A                     PO BOX 43                                                                                       SARANAC             MI    48881‐0043
MCKINES MATTHEW (657427)              BRAYTON PURCELL                    PO BOX 6169                                                  NOVATO              CA    94948‐6169
MCKINES, MATTHEW                      BRAYTON PURCELL                    PO BOX 6169                                                  NOVATO              CA    94948‐6169
MCKINGHT, LOIS L                      2082 THELMA DR                                                                                  LAKE ALFRED         FL    33850‐9176
MCKINLAY TRANSPORT LTD                PO BOX 80                                                                                       WARREN              MI    48090‐0080
MCKINLEY ANDREWS                      1386 WAGON WHEEL CIR                                                                            GRAND BLANC         MI    48439‐4895
MCKINLEY BOONE                        123 S PALM ST                                                                                   NORTH LITTLE ROCK   AR    72114‐6123
MCKINLEY CHEVROLET, PONTIAC, BUICK,   1601 MAIN ST                                                                                    OSAGE               IA    50461‐1825

MCKINLEY CHEVROLET, PONTIAC, BUICK,   1601 MAIN ST                                                                                    OSAGE                IA   50461‐1825
OLDSMOBILE & GMC TRUCK
MCKINLEY CHRISTY                      1057 VIA PRATO LANE                                                                             HENDERSON           NV    89011‐0600
MCKINLEY COMBS                        309 MARTIN LUTHER KING JR BLVD S                                                                PONTIAC             MI    48342‐3337
MCKINLEY COMMUNICATIONS LTD           703 MCKINNEY AVE STE 200           DBA NEWS LETTER COMPANY                                      DALLAS              TX    75202‐6003
MCKINLEY COUNTRY TREASURER            COUNTY COURTHOUSE                  201 WEST HILL                                                GALLUP              NM    87301
MCKINLEY COUNTY TREASURER             207 W HILL AVE STE 101                                                                          GALLUP              NM    87301‐4715
MCKINLEY DOUGLAS                      19490 SANTA ROSA DR                                                                             DETROIT             MI    48221‐1736
MCKINLEY EDWARDS                      4840 DELBA DR                                                                                   DAYTON              OH    45439‐2954
MCKINLEY EDWARDS                      2251 BUSHWICK DR                                                                                DAYTON              OH    45439‐3107
MCKINLEY EDWARDS                      155 DEER DRAW ST                                                                                GEORGETOWN          TX    78628‐9683
MCKINLEY ELEVATOR CORPORATION         17611 ARMSTRONG AVE                                                                             IRVINE              CA    92614‐5727
MCKINLEY ELIZABETH                    409 S ASH ST                                                                                    CARLSBAD            NM    88220‐4877
MCKINLEY FLOURNOY                     2817 YALE STREET                                                                                FLINT               MI    48503‐4637
MCKINLEY GRADDICK                     14153 SAINT MARYS ST                                                                            DETROIT             MI    48227‐1836
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Name                       Address1                            Address2                      Address3   Address4         City            State Zip
MCKINLEY GRAVES            611 N LUETT AVE                                                                               INDIANAPOLIS     IN 46222‐3313
MCKINLEY HESTER            1837 SUNNYDALE                                                                                LANSING          MI 48917‐1466
MCKINLEY HYMER I I I       4959 MORELAND DR                                                                              FRANKLIN         OH 45005‐5121
MCKINLEY HYMER I I I       4959 MORELAND DR                                                                              FRANKLIN         OH 45005‐5121
MCKINLEY JAMES             3232 S CIVIC GREEN DR                                                                         SAINT CHARLES    MO 63301‐8203
MCKINLEY JAY B (355990)    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                               STREET, SUITE 600
MCKINLEY JOHNSON JR        PO BOX 4325                                                                                   SAGINAW         MI   48606‐4325
MCKINLEY KATHLEEN          4150 BELDEN VILLAGE ST NW STE 604                                                             CANTON          OH   44718‐3651
MCKINLEY KENDRICK          12520 SMITH RD                                                                                BRITTON         MI   49229‐9547
MCKINLEY LAND JR.          3320 GRANT ST                                                                                 SAGINAW         MI   48601‐4727
MCKINLEY LESTER & NANCY    PO BOX 446                                                                                    DE WITT         AR   72042‐0446
MCKINLEY POLSTON           600 BENBOW CIR                                                                                NEW LEBANON     OH   45345‐1665
MCKINLEY POLSTON           600 BENBOW CIR                                                                                NEW LEBANON     OH   45345‐1665
MCKINLEY SANDERS           BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS      OH   44236
MCKINLEY STAMPER           11974 FRIEND RD                                                                               GERMANTOWN      OH   45327‐9762
MCKINLEY STAMPER           11974 FRIEND ROAD                                                                             GERMANTOWN      OH   45327‐9762
MCKINLEY SWEENEY JR        3564 BAGSHAW DR                                                                               SAGINAW         MI   48601‐5253
MCKINLEY THOMAS            5141 DYEMEADOW CT                                                                             FLINT           MI   48532‐2313
MCKINLEY TIPTON            4338 N JENNINGS RD                                                                            FLINT           MI   48504‐1306
MCKINLEY TRUCKING CO INC   652 N WILLIAMS ST                                                                             CARSON CITY     MI   48811‐9689
MCKINLEY WILKES JR         6478 RUSTIC RIDGE TRL                                                                         GRAND BLANC     MI   48439‐4951
MCKINLEY WILLIAMS          10201 PANNELL DR                                                                              SAINT LOUIS     MO   63136‐5631
MCKINLEY WILLIAMS          3428 S TOWERLINE RD                                                                           BRIDGEPORT      MI   48722‐9542
MCKINLEY WILSON JR         2700 BAUERNWOOD AVE                                                                           BALTIMORE       MD   21234‐7606
MCKINLEY, ANITA F          5731 CHESTNUT AVE                                                                             KANSAS CITY     MO   64130‐3713
MCKINLEY, ARTHUR D         PO BOX 133                                                                                    ZEBULON         GA   30295‐0133
MCKINLEY, BOBBIE
MCKINLEY, CAROL A          1114 ENTERPRISE RD                                                                            W ALEXANDRIA    OH   45381‐9508
MCKINLEY, CAROLYN L        4232 GLENBURNE BLVD                                                                           LANSING         MI   48911‐2541
MCKINLEY, DALLAS E         8238 VENICE HEIGHTS DR NE                                                                     WARREN          OH   44484‐1516
MCKINLEY, DALLAS E         8238 VENICE DR., N.E.                                                                         WARREN          OH   44484‐1516
MCKINLEY, DANA E           1224 TOWNSHIP ROAD 1443                                                                       ASHLAND         OH   44805‐8917
MCKINLEY, DELORES A        1614 ROSS ST                                                                                  NEW CASTLE      IN   47362‐2901
MCKINLEY, DELORES A        1614 ROSS ST.                                                                                 NEW CASTLE      IN   47362‐2901
MCKINLEY, DONALD R         6306 CHESTNUT DR                                                                              ANDERSON        IN   46013‐9610
MCKINLEY, DONALD R         7005 W 8TH ST                                                                                 LUDINGTON       MI   49431‐9571
MCKINLEY, DOROTHY H        3548 W SUMNER LAKE DR                                                                         ANDERSON        IN   46012‐9416
MCKINLEY, ELLIS R          643 W UTICA ST                      MAPLE MANOR CHRISTIAN HOME                                SELLERSBURG     IN   47172‐1163

MCKINLEY, FREDDIE J        2763 E 625 N                                                                                  GREENFIELD      IN   46140‐9055
MCKINLEY, FREDERICK        17255 N STATE ROAD 3N                                                                         EATON           IN   47338‐8949
MCKINLEY, FREDERICK D      1300 N MULBERRY ST                                                                            HARTFORD CITY   IN   47348‐1438
MCKINLEY, GAIL T           70 STRAUB RD E                                                                                MANSFIELD       OH   44907‐2845
MCKINLEY, GAIL T
MCKINLEY, GARY A           1710 TIMBERDALE DR                                                                            MARTINSVILLE    IN   46151‐9489
MCKINLEY, GERALDINE        20667 ELLACOTT PKWY APT 631                                                                   CLEVELAND       OH   44128‐4455
MCKINLEY, HARRY E          20 E 400 S                                                                                    TIPTON          IN   46072‐9289
MCKINLEY, HARRY L          2672 GREGORY DR SW                                                                            JENISON         MI   49428‐8752
MCKINLEY, HURDESTINE       6580 TULSA AVE                                                                                KALAMAZOO       MI   49048‐8403
MCKINLEY, JAMES B          PO BOX 374                                                                                    NEWTON FALLS    OH   44444‐0374
MCKINLEY, JAMES E          113 STILLMEADOW DR                                                                            LIZTON          IN   46149‐9240
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Name                      Address1                       Address2                      Address3   Address4         City                 State Zip
MCKINLEY, JAMES E         1157 SULPHUR SPRINGS LN                                                                  MINERAL RIDGE         OH 44440‐9019
MCKINLEY, JAMES R         4408 JENNINGS FISH CAMP RD                                                               LAKE WALES            FL 33898‐4805
MCKINLEY, JAY B           GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                         STREET, SUITE 600
MCKINLEY, JENNEANE
MCKINLEY, JOHN E          84 HOLLAND AVE                                                                           ELMONT               NY   11003‐1633
MCKINLEY, JOHN S          17 NORTH PENNSYLVANIA STREET                                                             GREENFIELD           IN   46140‐2066
MCKINLEY, KAREN A         38 HAWTHORNE DR UNIT K207                                                                BEDFORD              NH   03110‐6861
MCKINLEY, KATHLEEN        2672 GREGORY DR SW                                                                       JENISON              MI   49428‐8752
MCKINLEY, KIM L           132 LAKESIDE ST                                                                          PONTIAC              MI   48340‐2526
MCKINLEY, LARRY H         107 WILLOW LN                                                                            ANDERSON             IN   46012‐1025
MCKINLEY, LAUREL MARIE    300 N LEMEN                                                                              FENTON               MI   48430‐1921
MCKINLEY, LAUREL MARIE    300 N LEMEN ST                                                                           FENTON               MI   48430‐1921
MCKINLEY, LEROY C         2324 JONES DR                                                                            DUNEDIN              FL   34698‐2226
MCKINLEY, LINDA H         5021 S RANGELINE RD                                                                      ANDERSON             IN   46017‐2123
MCKINLEY, LORETTA P       1938 FLINT SPRINGS RD                                                                    CROMWELL             KY   42333‐9709
MCKINLEY, LULA LUCILE     6122 FRANKLIN VILLAS WAY                                                                 INDIANAPOLIS         IN   46237‐5027
MCKINLEY, MARJORIE J.     9376 LAKE ABBY LANE                                                                      BONITA SPRINGS       FL   34135‐8881
MCKINLEY, MARK A          19001 E 19TH STREET CT N                                                                 INDEPENDENCE         MO   64058‐1257
MCKINLEY, MARSHA ANN      2763 E 625 N                                                                             GREENFIELD           IN   46140‐9055
MCKINLEY, MARSHALL K      20400 N COUNTY ROAD 900 W                                                                GASTON               IN   47342‐9052
MCKINLEY, MELVIN L        1109 TRYON CIR                                                                           SPRING HILL          FL   34606‐5253
MCKINLEY, MICHAEL F       1350 NORTHGATE CT                                                                        BARTLETT             IL   60103‐8703
MCKINLEY, MICHAEL W       744 COUNTY ROAD 2654                                                                     LOUDONVILLE          OH   44842‐9680
MCKINLEY, MICHELE K       919 ROMINE RD                                                                            ANDERSON             IN   46011‐8781
MCKINLEY, NAMEN L         2690 ONAOTA AVE                                                                          DAYTON               OH   45414‐5045
MCKINLEY, NAMEN L         2690 ONAOTO AVE                                                                          DAYTON               OH   45414‐5045
MCKINLEY, OTIS N          4850 FOX CRK E APT 43                                                                    CLARKSTON            MI   48346‐4921
MCKINLEY, PATRICIA A      2050 BEATRICE CT APT 2                                                                   SAN JOSE             CA   95128‐5009
MCKINLEY, PATRICIA A      746 N DEQUINCY ST                                                                        INDIANAPOLIS         IN   46201‐2941
MCKINLEY, PAULINE M       314 BESSIE ST                                                                            KALAMAZOO            MI   49007‐2501
MCKINLEY, RANDY T         205 SE LAKE VILLAGE BLVD                                                                 BLUE SPRINGS         MO   64014‐5533
MCKINLEY, ROBERTA         607 NORTH FIRST ST, BOX 425                                                              SHIRLEY              IN   47384‐0425
MCKINLEY, RODNEY A        23851 LEMOYNE RD BOX 412                                                                 LEMOYNE              OH   43441
MCKINLEY, RODNEY ARTHUR   23851 LEMOYNE RD BOX 412                                                                 LEMOYNE              OH   43441
MCKINLEY, ROOSEVELT       PO BOX 42382                                                                             OKLAHOMA CITY        OK   73123‐3382
MCKINLEY, SHERRY L        2107 EVANS ST                                                                            MONROE               LA   71202‐5912
MCKINLEY, TAMARA J        311 SAMUEL DR                                                                            CRANBERRY TOWNSHIP   PA   16066‐3225
MCKINLEY, TARA            4009 RISING FAWN LN                                                                      COLUMBIA             TN   38401‐7357
MCKINLEY, TERRY L         155 SAPELO RD                                                                            LEESBURG             GA   31763‐5290
MCKINLEY, THOMAS          GUY WILLIAM S                  PO BOX 509                                                MCCOMB               MS   39649‐0509
MCKINLEY, VICTOR D        155 SAPELO RD                                                                            LEESBURG             GA   31763‐5290
MCKINLEY, WAYNE F         1232 MOUND ST                                                                            SALEM                OH   44460‐3931
MCKINLEY, WILBERT L       215 WHISPERING HILLS BLVD                                                                BOWLING GREEN        KY   42101‐3958
MCKINLEY, WILLIAM         TAWWATER LAW FIRM PLLC         ONE LEADERSHIP SQUARE 211                                 OKLAHOMA CITY        OK   73102
                                                         NORTH ROBINSON SUITE 1950
MCKINLEYJR., PERRY A      PO BOX 7314                                                                              MONROE               LA   71211‐7314
MCKINNELL WILLIAM III     16056 STONEMONT RD                                                                       HUNTERSVILLE         NC   28078‐4802
MCKINNEY & CO/ANARBR      PO BOX 1702                                                                              ANN ARBOR            MI   48106‐1702
MCKINNEY BILL             PO BOX 12867                                                                             WINSTON SALEM        NC   27117‐2867
MCKINNEY C, TONY          4649 CAUDILL ST                                                                          LEWISBURG            OH   45338‐9739
MCKINNEY DAVID & DINA     1960 NORFOLK DRIVE                                                                       LODI                 CA   95242‐4702
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Name                                 Address1                        Address2                        Address3   Address4         City                 State Zip
MCKINNEY DAVIS                       C/O THE MADEKSHO LAW FIRM       8866 GULF FREEWAY SUITE 440                                 HOUSTON               TX 77017
MCKINNEY DONALD (ESTATE OF) (489150) BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD            OH 44067
                                                                     PROFESSIONAL BLDG
MCKINNEY ELLIS (ESTATE OF) (624440)   GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                  EDWARDSVILLE          IL   62025‐0959
                                      ANTOGNOLI
MCKINNEY GEORGE (464212)              KELLEY & FERRARO LLP           1300 EAST NINTH STREET , 1901                               CLEVELAND            OH 44114
                                                                     BOND COURT BUILDING
MCKINNEY JACKIE                       104 S 2ND ST                                                                               GALLUP               NM    87301‐6220
MCKINNEY JR, CLAUDE                   4867 EVA ST                                                                                SAGINAW              MI    48601‐6975
MCKINNEY JR, EDDIE L                  2527 NATHAN DR                                                                             SAINT LOUIS          MO    63136‐5846
MCKINNEY JR, FREDERICK S              2470 STATE ROUTE 96                                                                        ASHLAND              OH    44805‐9600
MCKINNEY JR, HENRY                    ECONO LODGE                    5289 WINDFLOWER CT                                          HILLIARD             OH    43026‐9404
MCKINNEY JR, LUKE                     5840 RAHKE RD                                                                              INDIANAPOLIS         IN    46217‐3678
MCKINNEY JR, MOTY M                   3925 WOODSIDE DR                                                                           SAGINAW              MI    48603‐9300
MCKINNEY JR, MOTY MOORE               3925 WOODSIDE DR                                                                           SAGINAW              MI    48603‐9300
MCKINNEY JR, PHILLIP A                113 BUCKTHORN CT                                                                           MANSFIELD            OH    44907‐2807
MCKINNEY MARTIN & MARIA               8857 YERKE YOUNG RD RD 1                                                                   MINERAL RIDGE        OH    44440
MCKINNEY MAURICE                      3696 CHRISTY WAY W                                                                         SAGINAW              MI    48603‐7200
MCKINNEY MICHAEL (470179)             BILBREY & HYLIA                8724 PIN OAK RD                                             EDWARDSVILLE          IL   62025‐6822
MCKINNEY, ADA                         2513 LAKEVIEW DR                                                                           GUNTERSVILLE         AL    35976‐2509
MCKINNEY, ADELINE L                   291 OWL CREEK RD                                                                           LUCASVILLE           OH    45648‐9516
MCKINNEY, ALLAN D                     6487 CAMP BLVD                                                                             HANOVERTON           OH    44423‐8609
MCKINNEY, ALLEN D                     2022 SHORE DR                                                                              BELOIT               WI    53511‐2044
MCKINNEY, ANN                         1489 GLENGROVE                                                                             YPSILANTI            MI    48198‐6257
MCKINNEY, ANTHONY G                   11339 LISTER DR                                                                            KANSAS CITY          MO    64137
MCKINNEY, BARBARA                     12931 CUESTA LN                                                                            CERRITOS             CA    90703‐1243
MCKINNEY, BARBARA                     12931 CUESTA LANE                                                                          CERRITOS             CA    90703‐1243
MCKINNEY, BARBARA L                   2054 VALLEY RD NW                                                                          KALKASKA             MI    49646
MCKINNEY, BERNARD E                   610 SLACK DR                                                                               ANDERSON             IN    46013‐3654
MCKINNEY, BERNICE                     COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                     HOUSTON              TX    77002‐1751
MCKINNEY, BETTY J                     25101 WOODVALE DR N                                                                        SOUTHFIELD           MI    48034‐1279
MCKINNEY, BETTY J                     40 WATERWAY COURT                                                                          LAFAYETTE            IN    47909‐7360
MCKINNEY, BETTY JEAN                  25101 WOODVALE DR N                                                                        SOUTHFIELD           MI    48034‐1279
MCKINNEY, BETTY S                     1311 HIGHVIEW DR                                                                           FAIRBORN             OH    45324‐5625
MCKINNEY, BEVERLY J                   9500 W SMITH ST                APT 1A                                                      YORKTOWN             IN    47396‐1128
MCKINNEY, BILLIE G                    5639 BUNKER HILL RD                                                                        BIRCHWOOD            TN    37308‐5151
MCKINNEY, BILLY E                     30170 BALMORAL ST                                                                          GARDEN CITY          MI    48135‐2061
MCKINNEY, BILLY EDWARD                30170 BALMORAL ST                                                                          GARDEN CITY          MI    48135‐2061
MCKINNEY, BILLY G                     4513 PERSHING AVE                                                                          FORT WORTH           TX    76107‐4247
MCKINNEY, BOBBIE                      4471 S EDGEWOOD TER                                                                        FORT WORTH           TX    76119‐4160
MCKINNEY, BOBBIE                      4471 EDGEWOOD TERR                                                                         FT WORTH             TX    76119‐4160
MCKINNEY, BRAE SHONDELL
MCKINNEY, BRUCE A                     PO BOX 225                                                                                 GEORGETOWN           IL    61846
MCKINNEY, BRUCE L                     1955 E GIER RD                                                                             ADRIAN               MI    49221‐9666
MCKINNEY, BUD A                       821 HERMAN AVE                                                                             DAYTON               OH    45404‐1723
MCKINNEY, CARLA                       32610 ROBESON ST                                                                           SAINT CLAIR SHORES   MI    48082‐2911
MCKINNEY, CARLESPIE                   16662 ROBSON ST                                                                            DETROIT              MI    48235‐4516
MCKINNEY, CAROL S                     412 W MAIN ST                                                                              GREENTOWN            IN    46936‐1019
MCKINNEY, CHAD D                      9083 HEATHER LN                                                                            CENTERVILLE          OH    45458‐3750
MCKINNEY, CHARLES G                   BOX 348                                                                                    WAVERLY              MO    64096
MCKINNEY, CHARNESE D                  105 MACGREGOR DR                                                                           TROTWOOD             OH    45426‐2739
MCKINNEY, CHRIS                       217 KEEFER ST                                                                              WILLARD              OH    44890‐1162
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Name                       Address1                            Address2                 Address3   Address4         City               State Zip
MCKINNEY, CLARK E          PO BOX 146                                                                               WINDFALL            IN 46076‐0146
MCKINNEY, CLARK W          810 DELL AVE                                                                             FLINT               MI 48507‐2851
MCKINNEY, CLINTON A        PO BOX 206                                                                               KNIGHTSVILLE        IN 47857‐0206
MCKINNEY, CONNIE L         235 WOLFPEN BR                                                                           PIKEVILLE           KY 41501‐7507
MCKINNEY, COY K            161 CHESTNUT AVE                                                                         CARLISLE            OH 45005‐5801
MCKINNEY, CULLEN           2601 S DEACON ST                                                                         DETROIT             MI 48217‐1549
MCKINNEY, DALE A           2530 CHAMOMILE CT                                                                        TROY                OH 45373‐8755
MCKINNEY, DAMON            721 SENNETT ST                                                                           MIAMISBURG          OH 45342‐1850
MCKINNEY, DANNY D          448 OLD KEELON GAP RD                                                                    SPRUCE PINE         AL 35585‐4413
MCKINNEY, DAVID O          470 HAYS RD N                                                                            SMITHS GROVE        KY 42171‐9129
MCKINNEY, DAVID O'NEAL     470 HAYS RD N                                                                            SMITHS GROVE        KY 42171‐9129
MCKINNEY, DEBORAH G        2051 HUMPHRIES CV                                                                        WEST POINT          MS 39773‐9557
MCKINNEY, DELORES          30255 N MEADOWRIDGE                                                                      FARMINGTON HILLS    MI 48334‐4847
MCKINNEY, DELORES YVONNE   18929 BERDEN ST                                                                          DETROIT             MI 48236‐2005
MCKINNEY, DOLORES          6205 S MAJOR AVE                                                                         CHICAGO              IL 60638‐4522
MCKINNEY, DONALD           514 E WALNUT                                                                             KOKOMO              IN 46901‐4876
MCKINNEY, DONALD           857 SCOTTSWOOD RD                                                                        DAYTON              OH 45427‐2239
MCKINNEY, DONALD           514 E WALNUT ST                                                                          KOKOMO              IN 46901‐4876
MCKINNEY, DONALD L         1541 WILES LN                                                                            LEWISBURG           TN 37091‐6628
MCKINNEY, DORIS E          9378 TERRY ST                                                                            DETROIT             MI 48228‐2344
MCKINNEY, DORIS J          PO BOX 118                                                                               GEORGETOWN           IL 61846‐0118
MCKINNEY, DOROTHY F        500 S CLINTON ST                                                                         ATHENS              AL 35611‐3504
MCKINNEY, DOUGLAS A        1215 W PLEASANT ST                                                                       SPRINGFIELD         OH 45506‐1336
MCKINNEY, DOUGLAS C        9063 S. CR 900 W.                                                                        BRAZIL              IN 47834
MCKINNEY, EARL B           845 WESTGATE DR                                                                          ANDERSON            IN 46012‐9246
MCKINNEY, EARL L           1560 SAND CREEK HWY                                                                      ADRIAN              MI 49221‐1223
MCKINNEY, EARL L           230 WOODVIEW APT #254                                                                    ROCHESTER HILLS     MI 48307
MCKINNEY, EDDIE L          3232 COMANCHE ST                                                                         FORT WORTH          TX 76119‐2829
MCKINNEY, EDNA E           367 S FEDERAL HWY 311A                                                                   DEERFIELD BEACH     FL 33441
MCKINNEY, EDWARD           19199 GILCHRIST ST                                                                       DETROIT             MI 48235‐2450
MCKINNEY, EDWARD H         4705 HWY 328 WEST                                                                        EUBANK              KY 42567
MCKINNEY, EDWIN A          24231 EUREKA AVE                                                                         WARREN              MI 48091‐1701
MCKINNEY, ELLIS            C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                               EDWARDSVILLE         IL 62025
                           ROWLAND PC
MCKINNEY, ELLIS            GOLDENBERG, MILLER, HELLER &        PO BOX 959                                           EDWARDSVILLE        IL   62025‐0959
                           ANTOGNOLI
MCKINNEY, ELVA B           10785 GREEN APPLE                                                                        MIAMISBURG         OH    45342‐6231
MCKINNEY, EULA             6540 FARM POND CRT                                                                       FLOISSANT          MO    63033‐8126
MCKINNEY, EULALIA M        PO BOX 241                                                                               MICHIGANTOWN       IN    46057‐0241
MCKINNEY, EVELYN           1710 BEECHWOOD DR.                                                                       PLAINFIELD         IN    46168
MCKINNEY, EVERETT B        9405 DEARDOFF RD                                                                         FRANKLIN           OH    45005‐1469
MCKINNEY, FLOYD            3201 BERWYN LN                                                                           RICHMOND           IN    47374‐5903
MCKINNEY, FLOYD L          PO BOX 131                                                                               WARREN             OH    44482‐0131
MCKINNEY, FRANCIS P        16 FALLS RD                                                                              NORTH EAST         MD    21901‐3631
MCKINNEY, FRED             711 EUGENE ST                                                                            YPSILANTI          MI    48198‐6170
MCKINNEY, FRED S           1140 APALACHEE DRIVE                                                                     LINCOLNTON         GA    30817‐3739
MCKINNEY, FREDDIE A        4149 TREBOR DR                                                                           CINCINNATI         OH    45236‐1731
MCKINNEY, FREDERICK D      286 TAYLOR AVE                                                                           COLUMBUS           OH    43203‐1756
MCKINNEY, FREDERICK L      3619 BAYVIEW DR                                                                          DANVILLE           IL    61832‐1066
MCKINNEY, FREDERICK L      4140 S PORTSMOUTH RD                                                                     BRIDGEPORT         MI    48722‐9583
MCKINNEY, GARNET W         5618 ORLENA DR                                                                           ANDERSON           IN    46013‐3032
MCKINNEY, GARNET W         5618 ORLEAN DRIVE                                                                        ANDERSON           IN    46013‐3032
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Name                      Address1                       Address2                       Address3   Address4         City            State Zip
MCKINNEY, GARY R          6385 HERON PARK WAY                                                                       CLARKSTON        MI 48346‐4801
MCKINNEY, GARY R          2662 ARENAC STATE RD                                                                      STANDISH         MI 48658‐9718
MCKINNEY, GAYLE A         5201 TREAT HWY                                                                            ADRIAN           MI 49221‐9650
MCKINNEY, GENE M          618 POSTFIELD RD                                                                          NEWARK           DE 19713‐2718
MCKINNEY, GEORGE          KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                         BOND COURT BUILDING
MCKINNEY, GEORGE R        2206 DEWEY DR                                                                             SPRING HILL     TN   37174‐7161
MCKINNEY, GEORGE W        8400 CRAWFORDSVILLE RD                                                                    INDIANAPOLIS    IN   46234‐1716
MCKINNEY, GERALD C        270 S LINDEN CT                                                                           WARREN          OH   44484‐6024
MCKINNEY, GERALD E        2051 HUMPHRIES CV                                                                         WEST POINT      MS   39773‐9557
MCKINNEY, GLEN E          2802 SOUTHBROOK RD                                                                        BALTIMORE       MD   21222‐2238
MCKINNEY, GLENN C         PO BOX 1245                                                                               SAGINAW         MI   48606‐1245
MCKINNEY, GLENN R         631 COTTONWOOD DR                                                                         RICHMOND        KY   40475‐1807
MCKINNEY, GLENN R         631 COTTON WOOD DRIVE                                                                     RICHMOND        KY   40475‐0475
MCKINNEY, GLORIA J        1120 KENILWORTH AVE SE                                                                    WARREN          OH   44484‐4917
MCKINNEY, GLORIA M        1613 JACKSON ST SW                                                                        WARREN          OH   44485‐3549
MCKINNEY, GREGORY L       47445 TORRINGTON DR N                                                                     CANTON          MI   48188‐4711
MCKINNEY, HAROLD A        1119 JESSIE AVE                                                                           KENT            OH   44240‐3311
MCKINNEY, HELEN G         14382 AMITY RD                                                                            BROOKVILLE      OH   45309‐8764
MCKINNEY, HELEN M         1708 KENT DR                                                                              ARLINGTON       TX   76010‐8231
MCKINNEY, HELEN M         1708 KENT DRIVE                                                                           ARLINGTON       TX   76010‐8231
MCKINNEY, HERBERT C       53 SUMMIT LN                                                                              CARNESVILLE     GA   30521‐3973
MCKINNEY, IVA M           314 N WATER ST                                                                            CHESTERFIELD    IN   46017‐1227
MCKINNEY, JACK E          1507 W 6TH AVE                                                                            BRODHEAD        WI   53520‐1827
MCKINNEY, JAMES           201 E 6TH ST                                                                              COLUMBIA        TN   38401‐3332
MCKINNEY, JAMES A         9126 HIGHWAY 5                                                                            GROVESPRING     MO   65662‐8300
MCKINNEY, JAMES E         4342 DROWFIELD DR                                                                         DAYTON          OH   45426‐1918
MCKINNEY, JAMES L         PO BOX 2104                                                                               ANDERSON        IN   46018‐2104
MCKINNEY, JAMES O         PO BOX 1071                                                                               YOUNGSTOWN      OH   44501‐1071
MCKINNEY, JAMES R         661 SPRINGWATER RD                                                                        KOKOMO          IN   46902
MCKINNEY, JANET R         161 CHESTNUT AVENUE                                                                       CARLISLE        OH   45005‐5801
MCKINNEY, JANET R         845 WESTGATE DR                                                                           ANDERSON        IN   46012‐9246
MCKINNEY, JANICE          3184 MARTHAROSE CT                                                                        FLINT           MI   48504‐1234
MCKINNEY, JANICE F        9026 STATE ROUTE 700                                                                      WINDHAM         OH   44288‐9571
MCKINNEY, JANICE F        9026 ST RT 700                                                                            WINDHAM         OH   44288‐9744
MCKINNEY, JASPER W        514 FOREST PARK DR                                                                        PENSACOLA       FL   32506‐5317
MCKINNEY, JAY T           5344 E COUNTY ROAD 800 N                                                                  FRANKFORT       IN   46041‐7932
MCKINNEY, JEFFREY S       24523 HARMON CIR                                                                          ST CLAIR SHRS   MI   48080‐1090
MCKINNEY, JEFFREY SCOTT   24523 HARMON CIR                                                                          ST CLAIR SHRS   MI   48080‐1090
MCKINNEY, JENNY M         14910 ARDMORE ST                                                                          DETROIT         MI   48227‐3274
MCKINNEY, JERRY D         19790 FAUST AVE                                                                           DETROIT         MI   48219‐2173
MCKINNEY, JERRY DON       19790 FAUST AVE                                                                           DETROIT         MI   48219‐2173
MCKINNEY, JESSIE          21427 ITHACA AVE                                                                          FERNDALE        MI   48220‐2165
MCKINNEY, JESSIE          21427 ITHACA                                                                              FERNDALE        MI   48220‐2165
MCKINNEY, JIMMIE D        40 BRIGHTON ST                                                                            DAYTON          OH   45404‐2049
MCKINNEY, JOHN E          7430 KY HIGHWAY 22 E                                                                      FALMOUTH        KY   41040‐7680
MCKINNEY, JOHN J          26 ELECTRIC AVE                                                                           LOON LAKE       NY   12989‐2301
MCKINNEY, JOHN P          3714 CHURCH DR                                                                            ANDERSON        IN   46013‐2226
MCKINNEY, JOHN P          521 S DEPOT ST                                                                            BRAZIL          IN   47834‐3013
MCKINNEY, JOHN R          4610 E 26TH ST                                                                            TUCSON          AZ   85711‐5725
MCKINNEY, JOHN W          57A PRAIRIE AVE                                                                           SUFFERN         NY   10901‐6232
MCKINNEY, JOLAY           20303 ROSCOMMON ST                                                                        HARPER WOODS    MI   48225‐2201
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Name                       Address1                       Address2                Address3     Address4         City            State Zip
MCKINNEY, JOYCE A          4735 PICKWICK DR                                                                     STERLING HTS     MI 48310‐4644
MCKINNEY, JUSTIN R         320 KINGSLYN FARM CT                                                                 OXFORD           MI 48371‐5546
MCKINNEY, JUSTIN ROY       320 KINGSLYN FARM CT                                                                 OXFORD           MI 48371‐5546
MCKINNEY, KAREN J          5150 FLAGLER ST                                                                      FLINT            MI 48532‐4136
MCKINNEY, KELVIN E         5140 PEBBLE BROOK DR                                                                 ENGLEWOOD        OH 45322
MCKINNEY, KEVIN P          20511 GLENMORE                                                                       REDFORD          MI 48240‐1068
MCKINNEY, LARRY A          412 W MAIN ST                                                                        GREENTOWN        IN 46936‐1019
MCKINNEY, LARRY R          8443 SLIPPERY ELM CT                                                                 INDIANAPOLIS     IN 46227‐2714
MCKINNEY, LAWRENCE ALLEN   2325 S DORT HWY # 119                                                                FLINT            MI 48507‐5205
MCKINNEY, LAWRENCE H       410 S 22ND ST                                                                        SAGINAW          MI 48601‐1537
MCKINNEY, LEO G            10145 COUNTY ROAD 87 LOT 4                                                           MOULTON          AL 35650‐6107
MCKINNEY, LEONARD G        9026 STATE ROUTE 700                                                                 WINDHAM          OH 44288‐9571
MCKINNEY, LEROY            155 LAKEWAY DR                                                                       BATTLE CREEK     MI 49037‐1706
MCKINNEY, LINDA M          2021 FRANCIS AVE                                                                     FLINT            MI 48505‐5000
MCKINNEY, LLOYD L          6335 MANILA RD                                                                       GOSHEN           OH 45122‐9410
MCKINNEY, LORENA           7306 KLUBAN                                                                          FT WORTH         TX 76120
MCKINNEY, LORRAINE         2559 BENJAMIN ST                                                                     SAGINAW          MI 48602‐5707
MCKINNEY, LUCILLE W        P. O. BOX 277                  DUNBAR STATION                                        DAYTON           OH 45417
MCKINNEY, LUELLA R.        PO BOX 95                                                                            CORTARO          AZ 85652‐0095
MCKINNEY, LULA M           513 N MAPLE                                                                          VEEDERSBURG      IN 47987‐8487
MCKINNEY, LULA M           513 N MAPLE ST                                                                       VEEDERSBURG      IN 47987‐8487
MCKINNEY, MAMIE L          LANIER & WILSON L.L.P.         1331 LAMAR, SUITE 675                                 HOUSTON          TX 77010
MCKINNEY, MAMMIE D         2963 WELLAND DR                                                                      SAGINAW          MI 48601‐6942
MCKINNEY, MAMMIE D         2963 WELLAND                                                                         SAGINAW          MI 48601‐6942
MCKINNEY, MARCIE R         2824 W 18TH ST                                                                       ANDERSON         IN 46011‐4029
MCKINNEY, MARCIE RENEE     2824 W 18TH ST                                                                       ANDERSON         IN 46011‐4029
MCKINNEY, MARGARET E       15910 HARRISON DR                                                                    BROOK PARK       OH 44142
MCKINNEY, MARGARET M       6485 N 1000 W                                                                        SHARPSVILLE      IN 46068‐9249
MCKINNEY, MARGIE M         5985 HOOVER AVE                                                                      DAYTON           OH 45427‐2218
MCKINNEY, MARIE            PO BOX 146                                                                           WINDFALL         IN 46076‐0146
MCKINNEY, MARIE E          422 S 10TH ST                                                                        MIDDLETOWN       IN 47356‐9714
MCKINNEY, MARKELLA         7312 BRENTWOOD                                                                       FORT WORTH       TX 76112
MCKINNEY, MARTHA L         16189 COYLE ST                                                                       DETROIT          MI 48235‐3849
MCKINNEY, MARVELL          7863 FALLSTONE RD                                                                    MEMPHIS          TN 38125‐3652
MCKINNEY, MARVIN E         131 TWEEDY LN                                                                        KOOSKIA          ID 83539‐5174
MCKINNEY, MARVIN N         18929 BERDEN ST                                                                      DETROIT          MI 48236‐2005
MCKINNEY, MARY             19210 COACHWOOD CT                                                                   RIVERVIEW        MI 48192‐7890
MCKINNEY, MARY E           5538 NORTH FAIRMOUNT AVE                                                             KANSAS CITY      OH 54118
MCKINNEY, MARY E           138 HAZEL DR                                                                         MANSFIELD        OH 44906‐2269
MCKINNEY, MARYANNE F.      263 STEWART AVE NW                                                                   WARREN           OH 44483‐2045
MCKINNEY, MATA             702 S DONNYBROOK AVE                                                                 TYLER            TX 75701
MCKINNEY, MAURICE          3696 CHRISTY WAY W                                                                   SAGINAW          MI 48603‐7200
MCKINNEY, MICHAEL          BILBREY & HYLIA                8724 PIN OAK RD                                       EDWARDSVILLE      IL 62025‐6822
MCKINNEY, MICHAEL C        2041 E COUNTY ROAD 1000 S                                                            CLAYTON          IN 46118‐9264
MCKINNEY, MICHAEL D        5729 STATE ROUTE 503 N                                                               LEWISBURG        OH 45338‐8772
MCKINNEY, MICHAEL L        27740 JERKWATER RD                                                                   SHERIDAN         IN 46069‐9357
MCKINNEY, MICHAEL LYNN     27740 JERKWATER RD                                                                   SHERIDAN         IN 46069‐9357
MCKINNEY, MICHAEL P        623 92ND ST                                                                          NIAGARA FALLS    NY 14304‐3565
MCKINNEY, MICHAEL T        219 KEEFER ST                                                                        WILLARD          OH 44890‐1162
MCKINNEY, MICHEAL D        1744 PETROLIA                                                                        W BLOOMFIELD     MI 48324‐3961
MCKINNEY, MONICA R         1303 OAKRIDGE DR                                                                     DAYTON           OH 45417‐2450
MCKINNEY, NANCY J          4709 AUTUMN LANE                                                                     CLEVELAND        OH 44144‐3150
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Name                    Address1                       Address2            Address3         Address4         City              State Zip
MCKINNEY, OBIE J        1242 E 600 S                                                                         FRANKLIN           IN 46131‐8602
MCKINNEY, PAMELA K      509 MEADOW DR                                                                        KOKOMO             IN 46902‐3719
MCKINNEY, PATRICIA B    756 SHERWOOD AVE                                                                     YOUNGSTOWN         OH 44511‐1460
MCKINNEY, PATRICIA J.   2894 W COUNTY RD 1000 N                                                              BRAZIL             IN 47834‐7808
MCKINNEY, PAUL J        3515 FLORETTA ST                                                                     CLARKSTON          MI 48346‐4017
MCKINNEY, PEARLITA      2122 GLENWOOD AVE                                                                    SAGINAW            MI 48601‐3535
MCKINNEY, PERCY         2021 FRANCIS AVE                                                                     FLINT              MI 48505‐5000
MCKINNEY, PHILLIP A     113 BUCKTHORN CT                                                                     MANSFIELD          OH 44907‐2807
MCKINNEY, PHILLIP L     3515 FLORETTA ST                                                                     CLARKSTON          MI 48346‐4017
MCKINNEY, RALPH E       2174 STATE ROUTE 96 E                                                                SHELBY             OH 44875‐9311
MCKINNEY, RANDEL K      5480 PEACHTREE RD                                                                    CHAMBLEE           GA 30341‐2330
MCKINNEY, RETA L.       6399 E HILL RD                                                                       GRAND BLANC        MI 48439‐9125
MCKINNEY, RICHARD A     3925 SANTA CLARA DR                                                                  GREENWOOD          IN 46142
MCKINNEY, RICHARD L     4191 ORE BANK DR                                                                     LINCOLNTON         NC 28092‐6524
MCKINNEY, RICHARD LEE   4191 ORE BANK DR                                                                     LINCOLNTON         NC 28092‐6524
MCKINNEY, RICHARD V     1532 SYCAMORE AVE                                                                    LAKE PLACID        FL 33852‐5604
MCKINNEY, RICKY         7413 LAKE KATRINE TER                                                                GAITHERSBURG       MD 20879‐4768
MCKINNEY, ROBERT A      6030 WASHBURN RD                                                                     GOODRICH           MI 48438‐8822
MCKINNEY, ROBERT J      12041 WATERS EDGE CT                                                                 LOVELAND           OH 45140‐4825
MCKINNEY, ROBERT L      1720 BEACHWOOD DR.                                                                   PLAINFIELD         IN 46168
MCKINNEY, ROBERT L      60 S EPPERSON RD                                                                     VEEDERSBURG        IN 47987‐8239
MCKINNEY, ROBERT L      927 VALLEY DALE DR                                                                   XENIA              OH 45385‐9659
MCKINNEY, ROBERT M      3942 ARDEN BLVD                                                                      YOUNGSTOWN         OH 44511‐3502
MCKINNEY, RONALD G      8483 STATE HIGHWAY 246                                                               SPENCER            IN 47460‐6416
MCKINNEY, RONALD W      406 E JULIAN ST                                                                      MARTINSBURG        PA 16662‐1234
MCKINNEY, ROSE MARY B   787 N DETROIT ST                                                                     LAGRANGE           IN 46761‐1111
MCKINNEY, ROSLYN R      16600 SUSSEX ST                                                                      DETROIT            MI 48235‐3876
MCKINNEY, RUBY          14940 LAUDER                                                                         DETROIT            MI 48227‐2692
MCKINNEY, RUBY          14940 LAUDER ST                                                                      DETROIT            MI 48227‐2692
MCKINNEY, RUTH          11 PINE LN                                                                           HAINES CITY        FL 33844‐9745
MCKINNEY, RUTH          11 PINE LANE                                                                         HAINES CITY        FL 33844‐9745
MCKINNEY, RUTH B        1613 SO BILTMORE                                                                     MUNCIE             IN 47302‐3859
MCKINNEY, RUTH B        1613 S BILTMORE AVE                                                                  MUNCIE             IN 47302‐3859
MCKINNEY, RUTH N        1596 HONEYBEE DRIVE                                                                  DAYTON             OH 45427‐3225
MCKINNEY, SAMMY         GUY WILLIAM S                  PO BOX 509                                            MCCOMB             MS 39649‐0509
MCKINNEY, SAMYA M       4715 23RD ST                                                                         DETROIT            MI 48208‐1889
MCKINNEY, SARAH M       9083 HEATHER LN                                                                      CENTERVILLE        OH 45458‐3750
MCKINNEY, SELVIN        6540 FARM POND CT                                                                    FLORISSANT         MO 63033‐8126
MCKINNEY, SHARON C      3150 MCCLEARY JACOBY RD.                                                             CORTLAND           OH 44410‐4410
MCKINNEY, SHARON K      10785 GREEN APPLE RD                                                                 MIAMISBURG         OH 45342‐6231
MCKINNEY, SHAWN A       1445 LAUDERDALE AVE                                                                  LAKEWOOD           OH 44107‐3629
MCKINNEY, SHERRI LYNN   5833 N HURD RD                                                                       ORTONVILLE         MI 48462
MCKINNEY, SHIRLEY F     106 SKOKIAAN DR                                                                      FRANKLIN           OH 45005‐1542
MCKINNEY, SHIRLEY G     6921 SUMMERDALE                                                                      HUBER HEIGHTS      OH 45424‐5424
MCKINNEY, SIMPSON       7001 FERN DRIVE                                                                      COCOA              FL 32927‐4734
MCKINNEY, SIMPSON       7001 FERN DR                                                                         COCOA              FL 32927‐4734
MCKINNEY, SUSAN         9 AUSTIN RD                                                                          WILMINGTON         DE 19810‐2202
MCKINNEY, SYLVIA L      3529 ROMENCE RD                                                                      PORTAGE            MI 49024‐3907
MCKINNEY, TERENCE M     1288 RONALD AVE                                                                      MADISON HEIGHTS    MI 48071‐2943
MCKINNEY, TERESA        19199 GILCHRIST ST                                                                   DETROIT            MI 48235‐2450
MCKINNEY, TERRY         BOONE ALEXANDRA                205 LINDA DR                                          DAINGERFIELD       TX 75638‐2107
MCKINNEY, TERRY W       11 N TURNER RD                                                                       YOUNGSTOWN         OH 44515‐2131
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Name                        Address1                       Address2            Address3         Address4         City                State Zip
MCKINNEY, THELMA L          17664 EVERGREEN                                                                      DETROIT              MI 48219‐3476
MCKINNEY, THOMAS C          6205 S MAJOR AVE                                                                     CHICAGO               IL 60638‐4522
MCKINNEY, TIMOTHY N         PO BOX 174                                                                           HADLEY               MI 48440‐0174
MCKINNEY, TONY C            4649 CAUDILL ST                                                                      LEWISBURG            OH 45338‐9739
MCKINNEY, TROY D            1005 BELVEDERE DR                                                                    ARLINGTON            TX 76010‐2927
MCKINNEY, TYLER G           323 KEMPTON PARK DR                                                                  SUWANEE              GA 30024‐6943
MCKINNEY, VERA              8640 HICKORY HAMMOCK RD                                                              MILTON               FL 32583‐3104
MCKINNEY, VERNA             15281 SW 269TH TER                                                                   HOMESTEAD            FL 33032‐7215
MCKINNEY, VERNON R          196 MERILINE AVE                                                                     WATERBURY            CT 06705‐2927
MCKINNEY, VIOMA             519 WEST 26TH STREET                                                                 MARION               IN 46953‐3118
MCKINNEY, VIOMA             519 W 26TH ST                                                                        MARION               IN 46953‐3118
MCKINNEY, WALTER J          1450 EARLHAM DR                                                                      DAYTON               OH 45406‐4731
MCKINNEY, WANDA             810 DELL AVE                                                                         FLINT                MI 48507‐2851
MCKINNEY, WANDA M           358 CONTINENTAL DR APT A                                                             SALEM                OH 44460‐2593
MCKINNEY, WILLIAM A         3 EAGLE CHASE COURT                                                                  SAINT PETERS         MO 63376‐4661
MCKINNEY, WILLIAM A         233 W BURBANK AVE                                                                    JANESVILLE           WI 53546‐3246
MCKINNEY, WILLIAM B         3439 CHAMBERLAIN AVE SE                                                              GRAND RAPIDS         MI 49508‐2650
MCKINNEY, WILLIAM R         312 FIRE DEPARTMENT RD                                                               ALLONS               TN 38541
MCKINNEY, WILLIAM T         2309 S BROWNLEE ST                                                                   MARION               IN 46953‐3332
MCKINNEY, WILLIAM T         1102 W SPENCER AVE                                                                   MARION               IN 46952‐3418
MCKINNEY, WILLIE            2501 MADSEN RD                                                                       SAGINAW              MI 48601‐9372
MCKINNEY,CHAD D             9083 HEATHER LN                                                                      CENTERVILLE          OH 45458‐3750
MCKINNEY‐JACKSON, LUCY E    6421 VILLAGE CENTRE DR.        APT. 108                                              SACRAMENTO           CA 95823
MCKINNEY‐THOMAS, YVETTE M   2853 REVELS AVE                                                                      DAYTON               OH 45408‐2226
MCKINNIE, CLOYD             7524 S YATES BLVD                                                                    CHICAGO               IL 60649‐3318
MCKINNIE, ERIC L            5611 ENRIGHT AVE APT 105                                                             SAINT LOUIS          MO 63112
MCKINNIE, GLEN D            4490 JACKAM RIDGE CT                                                                 LITHONIA             GA 30038‐6291
MCKINNIE, GLENDA F          4665 N GREGORY ST                                                                    SAGINAW              MI 48601‐6622
MCKINNIE, JACQUELINE K      24741 PARKSIDE ST APT 216                                                            HARRISON TOWNSHIP    MI 48045‐3612
MCKINNIE, JAMES             1638 EDDINGTON RD                                                                    CLEVELAND HTS        OH 44118‐1159
MCKINNIE, JAMES S           2090 PENNSYLVANIA AVE                                                                ENGLEWOOD            FL 34224‐5654
MCKINNIE, JERRY W           307 CHERRY VALLEY DR # 2                                                             INKSTER              MI 48141‐1492
MCKINNIE, MILES             1457 E LARNED ST APT 204                                                             DETROIT              MI 48207‐3065
MCKINNIE, PERCY             26236 KITCH ST                                                                       INKSTER              MI 48141‐2615
MCKINNIE, RUFUS E           4665 N GREGORY ST                                                                    SAGINAW              MI 48601‐6622
MCKINNIE, SANDRA D          22844 COTTAGE CT APT 202                                                             NOVI                 MI 48375‐4658
MCKINNIE, SARONDA M         14610 LINDALE ROSE LN                                                                HUMBLE               TX 77396
MCKINNIE, WILLIAM H         2346 N 48TH ST                                                                       MILWAUKEE            WI 53210‐2801
MCKINNIE, WILLIE L          2604 JANES AVE                                                                       SAGINAW              MI 48601‐1558
MCKINNIEIE, LORINE          321 WOODS AVE                                                                        WHITEVILLE           TN 38075
MCKINNIES, JOEY D           PO BOX 598                                                                           COBDEN                IL 62920
MCKINNIES, ROBERT D         2833 YALE ST                                                                         FLINT                MI 48503‐4637
MCKINNIS, BERTHA            6085 W CABANNE PL                                                                    SAINT LOUIS          MO 63112‐2035
MCKINNIS, BERTHA            6085 WEST CABANNE PLACE                                                              SAINT LOUIS          MO 63112‐2035
MCKINNIS, CLARA V
MCKINNIS, FRED              BRAYTON PURCELL                PO BOX 6169                                           NOVATO              CA   94948‐6169
MCKINNIS, LEROY             6085 W CABANNE PL                                                                    SAINT LOUIS         MO   63112‐2035
MCKINNIS, RODERICK H        6161 FOXTRAIL PATH                                                                   SWARTZ CREEK        MI   48473‐8901
MCKINNISS, DELMAR R         3790 LONG GROVE LN                                                                   PORT ORANGE         FL   32129
MCKINNISS, DOLORES J        3790 LONG GROVE LN                                                                   PORT ORANGE         FL   32129
MCKINNISS, DONALD R         6035 WINNEBAGO ST                                                                    GROVE CITY          OH   43123‐9075
MCKINNISS, LISA A           3063 BURR OAK CT                                                                     KETTERING           OH   45420‐1222
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Name                                 Address1                         Address2                        Address3   Address4         City                  State Zip
MCKINNON ALBERT (439320)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK                VA 23510
                                                                      STREET, SUITE 600
MCKINNON BOYD (ESTATE OF) (489151)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD            OH 44067
                                                                      PROFESSIONAL BLDG
MCKINNON FOREST G (481895)           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510
                                                                      STREET, SUITE 600
MCKINNON GWEN                        4639 NATURES CIR                                                                             SYRACUSE              NY   13215‐9322
MCKINNON JOHN                        9161 FM 2625 E                                                                               MARSHALL              TX   75672‐3400
MCKINNON JR, LONNIE L                350 CROSSING BLVD #1418B                                                                     ORANGE PARK           FL   32073
MCKINNON JR, RAYMOND K               14261 NE 4TH ST                                                                              CHOCTAW               OK   73020‐7543
MCKINNON MARY ANN                    7000 32 MILE RD                                                                              WASHINGTON TOWNSHIP   MI   48095‐1206
MCKINNON XERMENIA (352498)           ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                         NEW YORK              NY   10006‐1638
MCKINNON, AGNES                      9165 FARM ROAD                   2625 EAST                                                   MARSHALL              TX   75672‐9514
MCKINNON, ALBERT                     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA   23510‐2212
                                                                      STREET, SUITE 600
MCKINNON, ANDREA E                   517 CANDLELITE CT                                                                            FORT WAYNE            IN   46807‐3601
MCKINNON, BEVERLY A                  415 EAST ST                                                                                  BRIDGEWATER           MA   02324‐2009
MCKINNON, BRYAN K                    5414 MARY DR                                                                                 BOSSIER CITY          LA   71112‐4830
MCKINNON, CASSANDRA J                38 COLFAX AVE                                                                                BUFFALO               NY   14215‐2602
MCKINNON, CLARENCE R                 4611 N CANOE TER                                                                             HERNANDO              FL   34442‐4120
MCKINNON, CLIFFORD J                 1376 W ANDERSON RD                                                                           LINWOOD               MI   48634
MCKINNON, DOLORES M                  8251 VALLEY ST.                                                                              ALDEN                 MI   49612‐9560
MCKINNON, DOLORES M                  8251 VALLEY ST                                                                               ALDEN                 MI   49612‐9560
MCKINNON, DONALD B                   715 BEAR CREEK PIKE                                                                          COLUMBIA              TN   38401‐2272
MCKINNON, EUNICE O                   2404 COUNTY LINE RD SW                                                                       ATLANTA               GA   30331‐6514
MCKINNON, FANNIE M                   PO BOX 812                                                                                   TRENTON               NJ   08625‐0812
MCKINNON, FANNIE M                   PO BOX 812                       C/O OFFICE OF THE PUBLIC                                    TRENTON               NJ   08625‐0812
                                                                      GUARDIAN
MCKINNON, FOREST G                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510‐2212
                                                                      STREET, SUITE 600
MCKINNON, FRANCIS M                  4136 FLAJOLE RD                                                                              RHODES                MI   48652‐9509
MCKINNON, HECTOR A                   N 10153 I‐3 RD                                                                               STEPHENSON            MI   49887
MCKINNON, IRENE C                    2311 RISHER RD SW                                                                            WARREN                OH   44485‐3335
MCKINNON, J H                        APT 201                          7 INDEPENDENCE WAY                                          FRANKLIN              MA   02038‐7311
MCKINNON, J HUGH                     APT 201                          7 INDEPENDENCE WAY                                          FRANKLIN              MA   02038‐7311
MCKINNON, JAMES C                    5101 STIMSON RD                                                                              ONONDAGA              MI   49264‐9730
MCKINNON, JAMES L                    PO BOX 14676                                                                                 SAGINAW               MI   48601‐0676
MCKINNON, JEFFREY S                  6405 BORDER LN                                                                               SHREVEPORT            LA   71119‐7138
MCKINNON, JEFFREY STEVENSON          6405 BORDER LN                                                                               SHREVEPORT            LA   71119‐7138
MCKINNON, JERILYNN D                 9028 HENSLEY DR                                                                              STERLING HTS          MI   48314‐2666
MCKINNON, K D                        13491 S SHERIDAN RD                                                                          MONTROSE              MI   48457‐9394
MCKINNON, KAY
MCKINNON, KENNETH J                  4535 VALLEY VIEW PT                                                                          ROCHESTER             MI   48306‐1745
MCKINNON, LINDA S                    4136 FLAJOLE RD                                                                              RHODES                MI   48652‐9509
MCKINNON, LUCY                       3820 BARWELL RD                                                                              RALEIGH               NC   27610‐6009
MCKINNON, MARJORIE A                 LOT 99 ROCKY LN                                                                              MOUNT MORRIS          MI   48458
MCKINNON, MATTHEW L                  5103 TIMBERLINE LN                                                                           BRIGHTON              MI   48116‐9737
MCKINNON, PATRICIA R                 175 SUSAN STREET                                                                             FLORENCE              MS   39073‐8745
MCKINNON, PATRICIA R                 175 SUSAN ST                                                                                 FLORENCE              MS   39073‐8745
MCKINNON, ROGER L                    114 ANCHOR CT                                                                                HOUGHTON LAKE         MI   48629‐9302
MCKINNON, STEPHEN B                  PO BOX 251                                                                                   LA GRANGE             IL   60525‐0251
MCKINNON, STUART                     46703 ALBANY DR                                                                              MACOMB                MI   48044‐4044
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Name                             Address1                       Address2                 Address3    Address4         City            State Zip
MCKINNON, TERRY M                200 ADAMS ST                                                                         PENDLETON        IN 46064‐1112
MCKINNON, THOMAS N               945 LAWYERS LN APT C                                                                 COLUMBUS         GA 31906‐3157
MCKINNON, XERMENIA               ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                   NEW YORK         NY 10006‐1638
MCKINNON‐DARBYSHIRE, MARLENE A   1125 CONNELL RD                                                                      ORTONVILLE       MI 48462‐9711
MCKINSEY & CO INC                1401 MCKINNEY ST               STE 2600                                              HOUSTON          TX 77010‐4044
MCKINSEY PIGGEE JR               WEITZ & LUXENBERG PC           700 BROADWAY                                          NEW YORK CITY    NY 10003
MCKINSEY PIGGEE JR               C/O WEITZ & LUXENBERG PC       700 BROADWAY                                          NEW YORK CITY    NY 10003
MCKINSEY, DONALD                 PO BOX 594                                                                           WILKINSON        IN 46186
MCKINSEY, JANICE E               8630 WARRINGTON DR                                                                   INDIANAPOLIS     IN 46234‐2152
MCKINSEY, JOHN O                 1815 VERSAILLES DR                                                                   KOKOMO           IN 46902‐5961
MCKINSEY, LESLIE K               16244 EAST 186TH STREET                                                              NOBLESVILLE      IN 46060‐9684
MCKINSEY, NANCY C                1035 NEWTON ST                                                                       ENGLEWOOD        FL 34224‐5001
MCKINSEY, ROBERT L               8531 NECK RD                                                                         WILLIAMSPORT     MD 21795‐2133
MCKINSEY, THELMA M.              1410 DAVISON RD                                                                      FLINT            MI 48506‐3510
MCKINSEY/NEW YORK                55 EAST 52 STREET                                                                    NEW YORK         NY 10055
MCKINSTER, ROBERT W              9001 W 52ND ST                                                                       INDIANAPOLIS     IN 46234‐2806
MCKINSTRY CAMPBELL, CYNTHIA R    3971 HUNTERS RIDGE DR. 1                                                             LANSING          MI 48911‐1149
MCKINSTRY COMPANY                PO BOX 24567                                                                         SEATTLE          WA 98124‐0567
MCKINSTRY COMPANY                JEFF HUPPRICH                  PO BOX 24567                                          SEATTLE          WA 98124‐0567
MCKINSTRY I I I, HARRISON J      118 ASHLEY RD                                                                        BRISTOL          CT 06010‐2605
MCKINSTRY JR, HAROLD K           12483 W TOWNLINE RD                                                                  SAINT CHARLES    MI 48655‐9773
MCKINSTRY JR, HAROLD K           6632 RADEWAHN RD                                                                     SAGINAW          MI 48604
MCKINSTRY SERVICES               5005 3RD AVE S                                                                       SEATTLE          WA 98134‐2423
MCKINSTRY, ALDRIC                8728 BLUE WOLF ST                                                                    LAS VEGAS        NV 89123‐4862
MCKINSTRY, ALDRIC                4424 DAVLIND DR                                                                      HOLT             MI 48842
MCKINSTRY, BETTY J               3950 WINDWARD DR                                                                     LANSING          MI 48911‐2501
MCKINSTRY, BRENDA F              2675 S NELLIS BLVD             APT 1037                                              LAS VEGAS        NV 89121‐2067
MCKINSTRY, C O                   5838 DAVISON RD                                                                      LAPEER           MI 48446‐2726
MCKINSTRY, GENE R                2425 HARDEN BLVD LOT 192                                                             LAKELAND         FL 33803‐5954
MCKINSTRY, HELEN L               5838 DAVISON RD                                                                      LAPEER           MI 48446‐2726
MCKINSTRY, ISAAC                 11209 WESTLAKE CIR                                                                   BELLEVILLE       MI 48111‐6131
MCKINSTRY, JEAN L                3614 PLEASANT GROVE RD                                                               LANSING          MI 48910‐4232
MCKINSTRY, JOHN C                PAUL REICH & MYERS PC          1608 WALNUT ST STE 500                                PHILADELPHIA     PA 19103‐5446
MCKINSTRY, SANDRA L              1014 S WENONA ST                                                                     BAY CITY         MI 48706‐5072
MCKINSTRY, SHIRLEY               2805 HALE AVE                                                                        MEMPHIS          TN 38112‐2806
MCKINSTRY, TINA M                PO BOX 40661                                                                         INDIANAPOLIS     IN 46240‐0661
MCKINSTRY, VELA                  2519 N 45TH ST                                                                       MILWAUKEE        WI 53210‐2915
MCKINZEY, KAREN J                4533 MOORGATE DR                                                                     NORMAN           OK 73072
MCKINZIE, ASHLEY N               235 CLARK ST                                                                         ROANOKE          IN 46783‐9112
MCKINZIE, CRYSTAL R.             3630 RUE FORET APT 151                                                               FLINT            MI 48532‐2849
MCKINZIE, GREGORY L              127 W TAYLOR ST                                                                      FLINT            MI 48505‐4021
MCKINZIE, GREGORY LEE            127 W TAYLOR ST                                                                      FLINT            MI 48505‐4021
MCKINZIE, LAURIE A               10058 KINGSTON CT                                                                    FISHERS          IN 46037‐9292
MCKINZIE, LEONARD                PO BOX 236                                                                           MODESTO          CA 95353
MCKINZIE, MARIE                  127 W TAYLOR ST                                                                      FLINT            MI 48505‐4021
MCKINZIE, MARTIN H               31 LOGAN CROSSING CIR                                                                O FALLON         MO 63366‐1497
MCKINZIE, SIMMIE                 1587 LEMAY ST                                                                        DETROIT          MI 48214‐3222
MCKINZIE, WILLIAM E              235 CLARK ST                                                                         ROANOKE          IN 46783‐9112
MCKINZIE, WILLIE E               16615 SANTA ROSA DR                                                                  DETROIT          MI 48221‐3093
MCKINZY, GEORGIA M               8300 AZUREWOOD DR                                                                    OKLAHOMA CITY    OK 73135‐6101
MCKIRCHY, NEIL E                 W9471 US HIGHWAY 8                                                                   TRIPOLI          WI 54564‐9607
MCKIRGAN, DOUGLAS                2504 WYATT CT                                                                        COLUMBIA         TN 38401‐0212
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Name                             Address1                       Address2                        Address3   Address4         City            State Zip
MCKISIC, WELTON                  18920 PREVOST ST                                                                           DETROIT          MI 48235‐2956
MCKISKI, GREG H                  10743 EDGEMERE TER                                                                         ROSCOE            IL 61073‐8904
MCKISSACK, DANA                  5521 SEESAW RD                                                                             NASHVILLE        TN 37211‐6877
MCKISSACK, FRED D                12623 SAINT JOHN AVE                                                                       CLEVELAND        OH 44111‐5147
MCKISSACK, JAMES E               308 N DELAWARE ST                                                                          ALBANY           IN 47320‐1617
MCKISSACK, JOSEPHINE A           4569 W 144TH ST                                                                            CLEVELAND        OH 44135‐2805
MCKISSACK, JOSEPHINE A           4569 WEST 144TH STREET                                                                     CLEVELAND        OH 44135‐2805
MCKISSACK, TED M                 7252 W DEER RD                                                                             MEARS            MI 49436‐9406
MCKISSIC, JOHN S                 2749 61 HWY                                                                                BLYTHEVILLE      AR 72315
MCKISSICK TRUCKING OF OHIO INC   699 PINEGROVE SCHOOL RD                                                                    VENUS            PA 16364
MCKISSICK, LOIS C                3424 ANVIL BLOCK RD                                                                        ELLENWOOD        GA 30294‐3748
MCKISSICK, MAUDE H               4656 WALLINGTON CT #4                                                                      ST LOUIS         MO 63121‐2244
MCKISSICK, MAUDE H               4644 REDFIELD CT APT 2B                                                                    SAINT LOUIS      MO 63121‐2222
MCKISSICK, ROBERT C              358 HERITAGE CIR                                                                           PULASKI          PA 16143‐9346
MCKISSOCK, IVAN A                17 EDGEWARE ROAD                                                                           ROCHESTER        NY 14624‐4305
MCKITCHEN, CHERYL L              45326 MARQUETTE DRIVE                                                                      MOUNT CLEMENT    MI 48044‐6040
MCKITRICK HARMS INC
MCKITRICK JR., WILLIAM H         5524 S 150 E                                                                               OGDEN           UT    84405‐6964
MCKITRICK, DEREN M               1132 ARKANSAS DR                                                                           XENIA           OH    45385‐4704
MCKITRICK, DONNA I               3204 CLINTON PLACE                                                                         ROUND ROCK      TX    78665‐3838
MCKITRICK, LARRY G               6421 E LANDERSDALE RD                                                                      CAMBY           IN    46113‐8443
MCKITTRICK LONNIE                PO BOX 580                                                                                 PIERRE          SD    57501‐0580
MCKITTRICK, CHARLENE H           2108 MYRA AVE                                                                              JANESVILLE      WI    53548‐6603
MCKITTRICK, CLINTON C            1532 E STRATFORD DR                                                                        BELOIT          WI    53511‐1402
MCKITTRICK, JEFFREY L            405 NORTH ELIZABETH STREET                                                                 READSTOWN       WI    54652‐8133
MCKITTRICK, KEVIN J              7261 RABBIT EARS PASS          UNIT 36                                                     CLARKSTON       MI    48346
MCKIVER‐JENKINS MARY             APT 215                        5990 RICHMOND HIGHWAY                                       ALEXANDRIA      VA    22303‐2746
MCKLEMURRY, JAMES                SHANNON LAW FIRM               100 W GALLATIN ST                                           HAZLEHURST      MS    39083‐3007
MCKLEROY, JONATHAN H             4530 SHORE DR                                                                              ASHVILLE        AL    35953‐8005
MCKLIN, JOSEPH J                 2371 PERKERSON RD SW                                                                       ATLANTA         GA    30315‐6231
MCKNIGHT EDIE C                  3135 WATERWAY PL                                                                           PORT ORANGE     FL    32128‐7251
MCKNIGHT JR, JOHN F              740 WILLOWGLEN RD                                                                          SANTA BARBARA   CA    93105‐2440
MCKNIGHT JR, WILLIAM J           16 NORMANDY ST                                                                             DORCHESTER      MA    02121‐2021
MCKNIGHT KEITH (446254)          BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH    44067
                                                                PROFESSIONAL BLDG
MCKNIGHT LEROY                   MCKNIGHT, LEROY                925 FORD BUILDING                                           DETROIT         MI 48226
MCKNIGHT ROBERT (453502)         BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH 44067
                                                                PROFESSIONAL BLDG
MCKNIGHT, ALICE VIRGINIA         PO BOX 585                                                                                 CORNING         AR    72422‐0585
MCKNIGHT, ALICE VIRGINIA         P.O. BOX 585                                                                               CORNING         AR    72422‐0585
MCKNIGHT, ALMA                   19711 GOLDWIN                                                                              SOUTHFIELD      MI    48075‐7227
MCKNIGHT, ALMA                   19711 GOLDWIN ST                                                                           SOUTHFIELD      MI    48075‐7227
MCKNIGHT, ALPHA M                5989 STATE ROAD 58 E                                                                       HELTONVILLE     IN    47436‐8698
MCKNIGHT, ALPHA M                5989 STATE RD 58 E                                                                         HELTONVILLE     IN    47436‐8698
MCKNIGHT, AMY A                  9547 W CALLA RD                                                                            SALEM           OH    44460‐9631
MCKNIGHT, ANGELIA D              3569 NOBB HILL DR                                                                          HUDSONVILLE     MI    49426‐9078
MCKNIGHT, ANGELIA DENISE         3569 NOBB HILL DR                                                                          HUDSONVILLE     MI    49426‐9078
MCKNIGHT, ARNITA B               500 WATERSTONE DR                                                                          LAWRENCEVILLE   GA    30045‐7744
MCKNIGHT, ARTHUR D               5388 POTTER RD                                                                             BURTON          MI    48509‐1345
MCKNIGHT, ASHLEY P               1103 CREST RIDGE DR                                                                        ATLANTA         GA    30344
MCKNIGHT, ASHLI
MCKNIGHT, BARBARA                6321 BOCAGE DR                                                                             SHREVEPORT       LA   71119‐6228
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Name                       Address1                       Address2            Address3         Address4         City            State Zip
MCKNIGHT, BARBARA          2951 PRAIRIE RD                                                                      MONROE           LA 71202‐8192
MCKNIGHT, BARBARA A        2951 PRAIRIE RD                                                                      MONROE           LA 71202‐8192
MCKNIGHT, BARBARA A        PO BOX 333                                                                           BROOKFIELD       OH 44403‐0333
MCKNIGHT, CARL J           SHANNON LAW FIRM               100 W GALLATIN ST                                     HAZLEHURST       MS 39083‐3007
MCKNIGHT, CAROL L          1001 N CUMBERLAND ST                                                                 FLINT            MI 48506‐3801
MCKNIGHT, CHARLES          1246 E WALTON BLVD APT 226                                                           PONTIAC          MI 48340‐1581
MCKNIGHT, CHARLES A        2450 KROUSE RD LOT 529                                                               OWOSSO           MI 48867‐8159
MCKNIGHT, CHARLES R        PO BOX 515                     25 CHARLES STREET                                     CLARK            PA 16113‐0515
MCKNIGHT, CHARLES R        PO BOX 515                     25 CHARLES ST                                         CLARK            PA 16113‐0515
MCKNIGHT, CHARLES T        71579 KOECHNER RD                                                                    TIPTON           MO 65081‐3605
MCKNIGHT, CHARLES T        PO BOX 473                                                                           KEYSER           WV 26726‐0473
MCKNIGHT, CHARLES THOMAS   71579 KOECHNER ROAD                                                                  TIPTON           MO 65081‐3605
MCKNIGHT, CHARLOTTE        715 N NEWBURGH RD                                                                    WESTLAND         MI 48185‐3219
MCKNIGHT, CLARENCE C       27 CIRCLEVIEW DR                                                                     NEW MIDDLETWN    OH 44442‐9405
MCKNIGHT, CORNELIUS        6321 BOCAGE DR                                                                       SHREVEPORT       LA 71119‐6228
MCKNIGHT, CYNTHIA M        943 MERRITT AVE                                                                      LAKE ORION       MI 48362‐2653
MCKNIGHT, CYNTHIA M        1919 W CENTER ST                                                                     MILWAUKEE        WI 53206‐2114
MCKNIGHT, DAVID L          6452 YODER ST                                                                        KINSMAN          OH 44428‐9510
MCKNIGHT, DAVID N          5082 HARBOR OAK DR                                                                   WATERFORD        MI 48329‐1726
MCKNIGHT, DEEDRA J         476 BROOKS AVE                                                                       ROCHESTER        NY 14619‐2332
MCKNIGHT, DENNIS D         1281 INDIAN TRAIL ROAD                                                               CHEBOYGAN        MI 49721‐9797
MCKNIGHT, DENNIS D         3424 LONGVIEW DR                                                                     FLUSHING         MI 48433‐2203
MCKNIGHT, DOROTHY          351 HAPPY HOLLOW RD                                                                  NEWBERN          TN 38059‐4277
MCKNIGHT, DOUGLAS          2 JACKSON RD                                                                         MONTVILLE        ME 04941‐4627
MCKNIGHT, EARLEEN          4045 GALLAGHER ST                                                                    SAGINAW          MI 48601‐4227
MCKNIGHT, EARNEST          458 DICK RD APT B1                                                                   DEPEW            NY 14043‐1837
MCKNIGHT, ERIC D           5082 HARBOR OAK DR                                                                   WATERFORD        MI 48329‐1726
MCKNIGHT, ERNEST A         104 CHELONIA DR                                                                      MANSFIELD        TX 76063‐1571
MCKNIGHT, GIDEON W         1468 MARK ST                                                                         FLINT            MI 48507‐5530
MCKNIGHT, GLEN D           3470 TOBE ROBERTSON RD                                                               COLUMBIA         TN 38401‐7501
MCKNIGHT, GREGORY N        5360 WINSHALL DR                                                                     SWARTZ CREEK     MI 48473‐1108
MCKNIGHT, GREGORY N.       5360 WINSHALL DR                                                                     SWARTZ CREEK     MI 48473‐1108
MCKNIGHT, HARRY J          5290 REEDER ST                                                                       INDIANAPOLIS     IN 46203‐3725
MCKNIGHT, HELEN M          5082 HARBOR OAK DR                                                                   WATERFORD        MI 48329‐1726
MCKNIGHT, INDIA J          7624 MCLIN DR                                                                        DAYTON           OH 45417‐5136
MCKNIGHT, JAMES R          15409 PALMYRA RD                                                                     DIAMOND          OH 44412‐9618
MCKNIGHT, JAMES R          1787 VANCOUVER DR                                                                    DAYTON           OH 45406‐4622
MCKNIGHT, JOHN A           1539 MONTAUK PT                                                                      CONYERS          GA 30013‐2994
MCKNIGHT, JOHN L           470 STONE LN                                                                         HOPKINSVILLE     KY 42240
MCKNIGHT, JOSEPH           344 S 5TH AVE                                                                        SAGINAW          MI 48607‐1605
MCKNIGHT, JOSEPH           JONES D BRUCE                  700 1ST AVE                                           SULPHUR          LA 70663‐3423
MCKNIGHT, JOSEPH           344 S 5TH                                                                            SAGINAW          MI 48607‐1605
MCKNIGHT, JOSEPH K         2426 HAWKHAVEN DR                                                                    COLUMBIA          IL 62236‐4304
MCKNIGHT, JUSTIN W         943 MERRITT AVE                                                                      LAKE ORION       MI 48362‐2653
MCKNIGHT, JUSTIN WILLIAM   943 MERRITT AVE                                                                      LAKE ORION       MI 48362‐2653
MCKNIGHT, KAY A            871 HIGH COTTON LN                                                                   ROCKWALL         TX 75087‐2291
MCKNIGHT, KRISTEN N        309 18TH ST                                                                          BEDFORD          IN 47421‐4403
MCKNIGHT, LAWRENCE K       25534 BAKER PL                                                                       STEVENSON RNH    CA 91381‐1509
MCKNIGHT, LEE T            7727 THRUSH AVE                                                                      FORT WAYNE       IN 46816‐2684
MCKNIGHT, LEROY H          PO BOX 1385                                                                          EAST LANSING     MI 48826‐1385
MCKNIGHT, LESLIE L         509 SOMERSET DR                                                                      FLUSHING         MI 48433‐1951
MCKNIGHT, LINDA S          1842 LANCASTER DR                                                                    YOUNGSTOWN       OH 44511‐1041
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Name                        Address1                           Address2                       Address3   Address4         City               State Zip
MCKNIGHT, LORI A            1006 BELLWOOD DR                                                                              MOUNT JULIET        TN 37122‐2136
MCKNIGHT, LUCILLE F         POST OFFICE BOX 2636                                                                          ANDERSON            IN 46018‐2636
MCKNIGHT, LUCILLE F         PO BOX 2636                                                                                   ANDERSON            IN 46018‐2636
MCKNIGHT, LYNETTE A         15302 GUNDRY AVE APT 109                                                                      PARAMOUNT           CA 90723‐5902
MCKNIGHT, MADELYN           47 DE LEONE CIR                                                                               FRANKLIN PARK       NJ 08823‐1759
MCKNIGHT, MARCIE B          6225 SONHAVEN DR                                                                              SHREVEPORT          LA 71119‐6200
MCKNIGHT, MARY A            6834 HIGHWAY 1                                                                                SHREVEPORT          LA 71107‐8754
MCKNIGHT, MELBA L           PO BOX 431092                                                                                 PONTIAC             MI 48343‐1092
MCKNIGHT, MICHAEL G         241 HARPETH VIEW TRL                                                                          KINGSTON SPRINGS    TN 37082‐9047
MCKNIGHT, PATRICIA A        6644 PARK LANE                                                                                HILLSBORO           OH 45133‐9398
MCKNIGHT, PATRICIA A        6644 PARK LN                                                                                  HILLSBORO           OH 45133‐9398
MCKNIGHT, PAULA J           16 SCHWARZKOPF ST                                                                             BOWLING GREEN       KY 42104‐0345
MCKNIGHT, PAULA JEAN        16 SCHWARZKOPF ST                                                                             BOWLING GREEN       KY 42104‐0345
MCKNIGHT, PEGGY J           2001 BRADLEY ST                                                                               BELOIT              WI 53511‐3705
MCKNIGHT, ROBERT            BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                               PROFESSIONAL BLDG
MCKNIGHT, ROBIN             3036 ONTARIO ST                                                                               BATON ROUGE        LA   70805‐8170
MCKNIGHT, RONALD J          2516 NELWIN PL                                                                                ARLINGTON          TX   76016‐1267
MCKNIGHT, RONALD J          17611 14TH AVE                                                                                CONKLIN            MI   49403‐9721
MCKNIGHT, ROY A             1450 N STATE HIGHWAY 360 APT 236                                                              GRAND PRAIRIE      TX   75050
MCKNIGHT, ROY A             2501 SILVERBROOK LN APT 1008                                                                  ARLINGTON          TX   76006‐6139
MCKNIGHT, ROY L             409B SHUTE LN                                                                                 HENDERSONVILLE     TN   37075‐5839
MCKNIGHT, SALLY E           5696 LOCUST EXT                                                                               LOCKPORT           NY   14094
MCKNIGHT, SHANNON DAVID     554 WHITE PINE ST                                                                             FOWLERVILLE        MI   48836‐9592
MCKNIGHT, SHEILA P          5389 STATE ROUTE 303                                                                          NEWTON FALLS       OH   44444‐9522
MCKNIGHT, STEVE D           1959 PRAIRIE RD LOT 9                                                                         MONROE             LA   71202
MCKNIGHT, STEVEN D          102 EIGER CT                                                                                  COLUMBIA           TN   38401‐5912
MCKNIGHT, THELMA H          3446 ATKINSON ST                                                                              DETROIT            MI   48206‐1803
MCKNIGHT, THERESA M         5090 MAHONING AVE NW                                                                          WARREN             OH   44483‐1408
MCKNIGHT, THOMAS W          5020 FM 2138 N                                                                                JACKSONVILLE       TX   75766‐7969
MCKNIGHT, TOM T             414 LAKE SHORE CT                                                                             FRANKLIN           IN   46131‐7409
MCKNIGHT, TOM TRENT         414 LAKE SHORE CT                                                                             FRANKLIN           IN   46131‐7409
MCKNIGHT, VAUGHN A          6321 BOCAGE DR                                                                                SHREVEPORT         LA   71119‐6228
MCKNIGHT, VAUGHN ANTHONY    6321 BOCAGE DR                                                                                SHREVEPORT         LA   71119‐6228
MCKNIGHT, WALTER A          2163 OAK ST                                                                                   STANDISH           MI   48658‐9771
MCKNIGHT, WALTER W          29 COMMONWEALTH BLVD                                                                          NEW CASTLE         DE   19720‐4434
MCKNIGHT, WILLIAM D         1565 HUFFMAN DR SW                                                                            WARREN             OH   44481‐9740
MCKNIGHT‐WILSON, PEGGY A    2815 NORTHWOOD AVE                                                                            TOLEDO             OH   43606‐3764
MCKNUCKLES, SHELLIE DELAN   2422 MEADOW ST                                                                                JACKSON            MS   39213‐7506
MCKOFKE, KARL               404 SEQUOYAH LN                                                                               ALTUS              OK   73521‐1750
MCKOIN, BOBBY G             101 SHARON DR                                                                                 WEST MONROE        LA   71291‐4933
MCKONE, AFTON C             2355 SEYMOUR RD                                                                               SWARTZ CREEK       MI   48473‐9790
MCKONE, BARBARA A           4703 N BYRON RD                                                                               CORUNNA            MI   48817‐9744
MCKONE, BERNARD R           4103 PINE GLENN XING                                                                          FLUSHING           MI   48433‐3109
MCKONE, CARL E              8003 BYRON RD                                                                                 NEW LOTHROP        MI   48460‐9712
MCKONE, DALLAS D            105 N CLARK ST                                                                                CHESANING          MI   48616‐1222
MCKONE, DARLENE A           5441 S GENESEE RD                                                                             GRAND BLANC        MI   48439‐7640
MCKONE, DAVID               2165 DUBLIN CT                                                                                ORTONVILLE         MI   48462‐8597
MCKONE, HERBERT R           2355 SEYMOUR RD                                                                               SWARTZ CREEK       MI   48473‐9790
MCKONE, JO A                11110 W MOUNT MORRIS RD                                                                       FLUSHING           MI   48433‐9252
MCKONE, KAREN L             6474 MEADOWWOOD LN                                                                            GRAND BLANC        MI   48439‐9704
MCKONE, KAREN LYNN          6474 MEADOWWOOD LN                                                                            GRAND BLANC        MI   48439‐9704
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Name                   Address1                      Address2                Address3     Address4         City              State Zip
MCKONE, KAY A          7980 E GOODALL RD                                                                   DURAND             MI 48429‐9780
MCKONE, KAY ANN        7980 E GOODALL RD                                                                   DURAND             MI 48429‐9780
MCKONE, KELLY L        7980 E GOODALL RD                                                                   DURAND             MI 48429‐9780
MCKONE, LELAH J        1123 DOWLING PL                                                                     OWOSSO             MI 48867‐9022
MCKONE, LYLE L         7317 BRISTOL RD                                                                     SWARTZ CREEK       MI 48473‐7910
MCKONE, MARK D         4961 SMITHSON RD                                                                    COLLEGE GROVE      TN 37046‐9291
MCKONE, MICKEY C       8377 GALLANT FOX TRL                                                                FLUSHING           MI 48433‐8827
MCKONE, MILDRED        G‐5400 VAN SLYKE RD                                                                 FLINT              MI 48507‐3951
MCKONE, RICHARD B      11110 W MOUNT MORRIS RD                                                             FLUSHING           MI 48433‐9252
MCKONE, SHARON         13194 GOLDEN CIR                                                                    FENTON             MI 48430‐1053
MCKONE, STEVEN J       5 E 14TH PL APT 1607                                                                CHICAGO             IL 60605‐2934
MCKONE, SUZANNE M      400 E MAIN ST                                                                       FLUSHING           MI 48433‐2030
MCKONE, TIMOTHY H      4703 N BYRON RD                                                                     CORUNNA            MI 48817‐9744
MCKONE‐BURNS, GAIL A   9868 WILLOW BROOK CIR                                                               LOUISVILLE         KY 40223‐5344
MCKOOL SMITH           300 CRESCENT CT STE 1500                                                            DALLAS             TX 75201‐7856
MCKOON, DEBORAH        705 N HICKORY LN                                                                    KOKOMO             IN 46901‐6414
MCKOON, DORTHA L       3016 W ALTO RD                                                                      KOKOMO             IN 46902‐4606
MCKOON, DORTHA L       3016 ALTO ROAD WEST                                                                 KOKOMO             IN 46902‐4606
MCKOON, LEONA M        5222 E DANIELS RD                                                                   PERU               IN 46970‐8482
MCKOON, SHEILA K       11327 W 200 S                                                                       RUSSIAVILLE        IN 46979‐9794
MCKOUEN, GERALD L      2580 LANIER DR                                                                      LANSING            MI 48911‐6413
MCKOUEN, JAMES P       1737 HAVENSHIRE LN                                                                  BRIGHTON           MI 48114‐8737
MCKOWEN, MARCIA R      7350 N STATE ROAD 9                                                                 ALEXANDRIA         IN 46001‐9235
MCKOWN STEPHEN A       MCKOWN, STEPHEN A             PO BOX 728                                            MANSFIELD          OH 44901‐0728
MCKOWN, DENZIL R       7723 ALBION RD                                                                      N ROYALTON         OH 44133‐1713
MCKOWN, ELAINE         7500 NORWOOD DR                                                                     PRAIRIE VILLAGE    KS 66208
MCKOWN, ELAINE         7500 NORWOOD ST                                                                     PRAIRIE VILLAGE    KS 66208‐3646
MCKOWN, GERALD F       4915 STATE ROUTE 61                                                                 PLYMOUTH           OH 44865‐9699
MCKOWN, GERALD N       2160 VIVIAN AVE                                                                     MANSFIELD          OH 44906‐1345
MCKOWN, HOWARD P       1308 ZARTMAN RD                                                                     KOKOMO             IN 46902‐3293
MCKOWN, JACQUELYN S    7723 ALBION RD                                                                      N ROYALTON         OH 44133‐1713
MCKOWN, MARK S         1532 BOYCE RD                                                                       SHELBY             OH 44875‐9353
MCKOWN, MICHAEL CARL   1475 HUNTLEY DR                                                                     GRAND BLANC        MI 48439‐5153
MCKOWN, STEPHEN A      835 SAUTTER DR                                                                      MANSFIELD          OH 44904‐1789
MCKOWN, SUZANN         APT 1902B                     4601 66TH STREET WEST                                 BRADENTON          FL 34210‐2684
MCKOY DOROTHY JEAN     C/O EDWARD O MOODY PA         801 WEST 4TH STREET                                   LITTLE ROCK        AR 72201
MCKOY GEORGE           13640 BASALT CT                                                                     BROOMFIELD         CO 80020‐6013
MCKOY, CHARLES W       7 MILFORD LN APT 7102                                                               SUFFERN            NY 10901‐7922
MCKOY, DOROTHY JEAN    MOODY EDWARD O                801 W 4TH ST                                          LITTLE ROCK        AR 72201‐2107
MCKOY, KEVIN B         1221 BEVERLEY RD APT L1                                                             BROOKLYN           NY 11218
MCKOY, LENA            821 N PAYSON ST                                                                     BALTIMORE          MD 21217‐1053
MCKOY, MARCIA C        7279 HARTINGTON PL                                                                  INDIANAPOLIS       IN 46259‐5757
MCKOY, ROBERT
MCKUEN, CHARLES J      5223 N WAVERLY DR                                                                   MILTON            WI   53563‐8868
MCKUEN, JAMES L        1847 W 4TH ST                                                                       PRESCOTT          MI   48756‐8602
MCKUHN GAIL            MCKUHN, GAIL                  STATE FARM INS. CO.     PO BOX 122                    CONCORDVILLE      PA   19331
MCKUHN, GAIL           STATE FARM INS. CO.           PO BOX 122                                            CONCORDVILLE      PA   19331‐0122
MCKUHN, GAIL
MCKULKA, JOHN J        3334 CHOPTANK AVE                                                                   BALTIMORE         MD 21220‐4328
MCKUNE, MICHAEL        12057 GANTRY LN                                                                     APPLE VALLEY      MN 55124‐6202
MCKUSICK, JESSICA
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Name                           Address1                        Address2                        Address3     Address4                City              State Zip
MCL MCGILL CARRIERS LTD        7430 BARMSTON PLACE                                                          DELTA CANADA BC V4C
                                                                                                            4M8 CANADA
MCL RYDER TRANSPORT INC        PO BOX 78083                                                                 DETROIT MI 48278 CANADA
MCLACHLAN RISSMAN & DOLL       676 N MICHIGAN AVE STE 2800                                                                          CHICAGO           IL    60611‐2803
MCLACHLAN, DAVID R             PO BOX 361                                                                                           ORTONVILLE        MI    48462‐0361
MCLACHLAN, DOROTHY A           1190 VAN VLEET RD                                                                                    SWARTZ CREEK      MI    48473‐9751
MCLACHLAN, GERALD E            3541 F0REST ROAD                                                                                     LAKE CITY         MI    49651
MCLACHLAN, LOIS A              775 WHITNEY DR                                                                                       ROCHESTER HILLS   MI    48307‐2865
MCLACHLAN, LOREN A             1190 VAN VLEET RD                                                                                    SWARTZ CREEK      MI    48473‐9751
MCLACHLAN, RISSMAN & DOLL      LARA NEUMARK                    676 NORTH MICHIGAN AVENUE       SUITE 2800                           CHICAGO           IL    60611
MCLACHLAN, ROBERT A            2232 DANISH LANDING RD                                                                               GRAYLING          MI    49738‐9197
MCLACHLAN, RONALD A            17786 GOLFVIEW ST                                                                                    LIVONIA           MI    48152‐4806
MCLAEN'S SERVICE, INC.         13756 HIGHWAY 11                                                                                     RUTLAND           ND    58067‐9403
MCLAFFERTY, TERRANCE P         116 FREDERICK RD                                                                                     BADEN             PA    15005‐2318
MCLAGAN PARTNERS INC           1600 SUMMER ST STE 1                                                                                 STAMFORD          CT    06905‐5125
MCLAIN ELMER (488509)          BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                        NORTHFIELD        OH    44067
                                                               PROFESSIONAL BLDG
MCLAIN JR, MILTON E            PO BOX 771                                                                                           OWOSSO            MI    48867‐0771
MCLAIN PARTNERS I CKI MCLAIN   874 US HIGHWAY 160                                                                                   SATANTA           KS    67870‐8718
MCLAIN PARTNERS II LLC         4171 CRESCENT DR                STE 100                                                              SAINT LOUIS       MO    63129‐3645
MCLAIN PARTNERS II, LLC        4171 CESCENT DR STE 100                                                                              SAINT LOUIS       MO    63129‐3645
MCLAIN PARTNERS II, LLC        4171 CRESCENT DR                STE 100                                                              SAINT LOUIS       MO    63129‐3645
MCLAIN TIMOTHY                 MCLAIN, TIMOTHY                 18 MOGADOR ROAD                                                      STUBEN            ME    04680‐3159
MCLAIN, ALICE A                5016 LINDA                                                                                           WARREN            MI    48092‐3418
MCLAIN, ALICE A                5016 LINDA ST                                                                                        WARREN            MI    48092‐3418
MCLAIN, AMELIA M               8192 KIRKRIDGE ST                                                                                    BELLEVILLE        MI    48111‐1619
MCLAIN, BARBARA L              180 W OAK ST                                                                                         CAMPBELLSBURG     IN    47108‐9101
MCLAIN, BILL B                 4180 MCLAIN ST S                                                                                     HOKES BLUFF       AL    35903‐7411
MCLAIN, CATHY J                102 W LYONS ST BOX 266                                                                               SWAYZEE           IN    46986
MCLAIN, CHARLES H              PO BOX 278                                                                                           GREENWOOD         MO    64034‐0278
MCLAIN, CHERYL A               371 CAMPBELL AVE                                                                                     INDIANAPOLIS      IN    46219‐6009
MCLAIN, CHRISTINA              3049 ALLEN RD                                                                                        ORTONVILLE        MI    48462‐9034
MCLAIN, CONSTANCE E            615 SUGARBUSH DR                                                                                     ZIONSVILLE        IN    46077‐1908
MCLAIN, DANIEL L               889 HERR RD                                                                                          FAIRBORN          OH    45324‐5324
MCLAIN, DANIEL L               838 MISSOURI DRIVE                                                                                   XENIA             OH    45385‐4644
MCLAIN, EARL R                 PO BOX 226                                                                                           PERRYSVILLE       IN    47974‐0226
MCLAIN, EARL RAY               PO BOX 226                                                                                           PERRYSVILLE       IN    47974‐0226
MCLAIN, EDITH R                8338 WEST WHIPPOORWILL LANE                                                                          MEARS             MI    49436
MCLAIN, EDITH R                8338 W WHIPPERWILL LN                                                                                MEARS             MI    49436‐9448
MCLAIN, EVERETT W              RR 4 BOX 4792                                                                                        JONESVILLE        VA    24263‐9356
MCLAIN, GARY D                 129 JOHNS LN                                                                                         LORETTO           TN    38469‐2051
MCLAIN, HAZEL                  PORTER & MALOUF PA              4670 MCWILLIE DR                                                     JACKSON           MS    39206‐5621
MCLAIN, HEIDI K                2505 N WUTHERING HILLS DR                                                                            JANESVILLE        WI    53546‐3425
MCLAIN, JAMES                  3827 DEVTON DR                                                                                       COLUMBUS          OH    43228‐3109
MCLAIN, JAMES E                2528 N MORRISON RD                                                                                   MUNCIE            IN    47304‐5069
MCLAIN, JAMES M                7242 DIBROVA DRIVE                                                                                   BRIGHTON          MI    48116‐8809
MCLAIN, JERRY L                516 N 3RD ST                                                                                         GAS CITY          IN    46933‐1109
MCLAIN, JERRY T                PO BOX 51721                                                                                         INDIANAPOLIS      IN    46251‐0721
MCLAIN, JO ELLEN G             1382 W COUNTY ROAD 400 NORTH                                                                         NEW CASTLE        IN    47362‐9249
MCLAIN, JOHN C                 2236 W KEARSLEY ST                                                                                   FLINT             MI    48503‐5408
MCLAIN, JOHN W                 46 RIVER FOREST ST                                                                                   ANDERSON          IN    46011‐1919
MCLAIN, JOURDAN RODNEY         9075 RIVERDALE                                                                                       REDFORD           MI    48239‐1122
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Name                          Address1                        Address2                         Address3   Address4         City               State Zip
MCLAIN, LARRY L               7715 IVYDALE DR APT B                                                                        INDIANAPOLIS        IN 46250‐2143
MCLAIN, LAWRENCE W            11454 WILSON RD                                                                              OTISVILLE           MI 48463‐9733
MCLAIN, MARK A                129 JOHNS LN                                                                                 LORETTO             TN 38469‐2051
MCLAIN, MARY A                902 S DIVISION                                                                               CAYUGA              IN 47928‐8141
MCLAIN, MICHAEL P             2421 HEMLOCK DR                                                                              BEAVER CREEK        OH 45431‐5431
MCLAIN, MICHAEL P             2800 COLONIAL AVE                                                                            KETTERING           OH 45419‐2030
MCLAIN, ORLIN E               1431 GRANT ST                                                                                BELOIT              WI 53511‐3304
MCLAIN, PAUL D                605 N BRADNER AVE                                                                            MARION              IN 46952‐2446
MCLAIN, STEPHEN W             6497 W 300 S                                                                                 ANDERSON            IN 46011‐9400
MCLAIN, TERRI S               APT 4                           222 EAST MONROE STREET                                       ALEXANDRIA          IN 46001‐1469
MCLAIN, TERRI S               202 SW ST                                                                                    ALEXANDRIA          IN 46001
MCLAIN, TIMOTHY               18 MOGADOR RD                                                                                STEUBEN             ME 04680‐3159
MCLAIN, TODD A                10450 W COUNTY ROAD K                                                                        BELOIT              WI 53511‐8232
MCLALLEN, DONNA M             5212 TOWNSEND DR                                                                             FLOWER MOUND        TX 75028‐5602
MCLAMB JR, ARTHUR M           8019 SAPLIN DR                                                                               HOPE MILLS          NC 28348‐9127
MCLAMB, HOMER A               4351 SHENANDOAH PL                                                                           MILTON              FL 32583‐2422
MCLAMB, JAMES                 308 HERRING ST                                                                               CLINTON             NC 28328‐3934
MCLAMORE, YVONNE
MCLAND GARY                   MCLAND, GARY
MCLAND, GARY W                44878 BROADMOOR CIR S                                                                        NORTHVILLE         MI   48168‐8642
MCLANE GUNNING, ELMA M        857 MULBERRY DRIVE                                                                           TRAVERSE CITY      MI   49684‐5061
MCLANE GUNNING, ELMA M        857 MULBERRY DR                                                                              TRAVERSE CITY      MI   49684‐5061
MCLANE PAUL ALLEN (456453)    SKAGGS JOHN H                   405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON         WV   25301
MCLANE TIMOTHY J (429428)     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                              STREET, SUITE 600
MCLANE, BRIAN L               420 KENT ST                                                                                  LOWELL             MI   49331‐1708
MCLANE, CINDY R               3353 NINA‐V‐LANE                                                                             RIVERSIDE          OH   45424
MCLANE, DENNIS N              7676 S COUNTY LINE RD                                                                        GAINES             MI   48436‐8824
MCLANE, DONALD                1226 HERITAGE DR                                                                             CANTON             MI   48188‐1268
MCLANE, DONALD R              712 GRANT ST                                                                                 FENTON             MI   48430‐2059
MCLANE, DOROTHY L             2891 SUNBURST DR                                                                             MEDINA             OH   44256
MCLANE, DOROTHY L             139 FOREST HILL DR                                                                                              TN   38558‐2811
MCLANE, DOUGLAS A             2650 SHADOW LAKE DR                                                                          LAKE ORION         MI   48360‐2703
MCLANE, JAMES T               613 JASON DR                                                                                 LADY LAKE          FL   32159‐2420
MCLANE, KAREN K               6225 MERRYWIND CV                                                                            MEMPHIS            TN   38115‐6429
MCLANE, KAREN S               505 HITT LN                                                                                  GOODLETTSVILLE     TN   37072‐1251
MCLANE, KAREN S               505 HITT LANE                                                                                GOODLETTSVLLE      TN   37072‐1251
MCLANE, LESTER A              4635 S BELLAMY BLVD                                                                          MARION             IN   46953‐5385
MCLANE, NANCY L               5963 TREND STREET                                                                            MAYVILLE           MI   48744‐9158
MCLANE, NANCY L               5963 TREND ST                   PO BOX 19                                                    MAYVILLE           MI   48744‐0019
MCLANE, OLLEN L               PO BOX 2145                                                                                  ZEPHYRHILLS        FL   33539‐2145
MCLANE, PAUL ALLEN            SKAGGS JOHN H                   405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON         WV   25301
MCLANE, SCOTT P               21619 OXFORD AVE                                                                             FARMINGTON HILLS   MI   48336‐5741
MCLANE, TERRY J               1146 N COCHRAN AVE                                                                           CHARLOTTE          MI   48813‐1112
MCLANE, TIMOTHY J             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MCLANE‐GOETZ, LEEANN M        11198 GOLFVIEW LN                                                                            WASHINGTON         MI   48094‐1570
MCLANEY, JOHN A               519 PARK AVE                                                                                 TOWSON             MD   21204‐3840
MCLAREN EMERGENCY PHYSICIAN   17717 MASONIC                                                                                FRASER             MI   48026‐3158
MCLAREN ENGINES INC           32233 8 MILE RD                                                                              LIVONIA            MI   48152‐1361
MCLAREN HART                  C O KELLY GALLAGHER             1000 TOWN CTR STE 600                                        SOUTHFIELD         MI   48075‐1258
MCLAREN HART                  C/O C WEAVER‐DYKEMA GOSSETT     400 RENAISSANCE CTR                                          DETROIT            MI   48243‐1607
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Name                               Address1                             Address2                  Address3                Address4         City             State Zip
MCLAREN HART                       PO BOX 751421                                                                                           CHARLOTTE         NC 28275‐1421
MCLAREN HART ENVIRONMENTAL         11101 WHITE ROCK RD                                                                                     RANCHO CORDOVA    CA 95670
ENGINEERING
MCLAREN INC                        2170 W M 21                                                                                             OWOSSO           MI   48867‐9318
MCLAREN MEDICAL MANA               401 S BALLENGER HWY                                                                                     FLINT            MI   48532‐3638
MCLAREN PERFORMANCE                32233 WEST 8 MILE RO                                                                                    LIVONIA          MI   48152
MCLAREN PERFORMANCE TECHNOLOGI     26555 EVERGREEN RD STE 900                                                                              SOUTHFIELD       MI   48076‐4245

MCLAREN REGION/FLINT               401 S BALLENGER HWY                                                                                     FLINT            MI 48532‐3638
MCLAREN REGIONAL MED               401 S BALLENGER HWY                                                                                     FLINT            MI 48532‐3638
MCLAREN REGIONAL MEDICAL CENTER    ATTN: CORPORATE OFFICER/AUTHORIZED   401 S BALLENGER HWY                                                FLINT            MI 48532‐3638
                                   AGENT
MCLAREN REGIONAL MEDICAL CNTR      EDUC RESOURCES AND DEVELOP           401 S BALLENGER HWY       EDUCATION COORDINATOR                    FLINT            MI 48532‐3638
MCLAREN REGIONAL MEDICAL CTR       EMS DEPARTMENT                       EDUCATIONAL RESOURCES &   5 N ‐ 401 S BALLENGER                    FLINT            MI 48532
                                                                        DEVELO                    HIGHWAY
MCLAREN REGIONAL MEDICAL CTR       G3235 BEECHER RD STE B                                                                                  FLINT            MI 48532‐3650
MCLAREN REGIONAL MEDICAL CTR EMS   EDUCATIONAL RESOURCES & DEVELO5 N ‐ 401 S BALLENGER HWY                                                 FLINT            MI 48532‐3685
DEPARTMENT
MCLAREN SR, JOHN W                 442 WAYNOKA DR                                                                                          SARDINIA         OH   45171‐9755
MCLAREN, ANTHONY T                 14445 POWER DAM RD                                                                                      DEFIANCE         OH   43512‐6890
MCLAREN, ANTHONY T                 727 FOREST AVE                                                                                          ROYAL OAK        MI   48067‐1959
MCLAREN, DANIEL L                  2715 HOGAN CIR 2715                                                                                     FENTON           MI   48430
MCLAREN, DANIEL L                  11386 ALVORD DR                                                                                         FENTON           MI   48430‐9066
MCLAREN, DAVID J                   1381 GRAM ST                                                                                            BURTON           MI   48529‐2039
MCLAREN, DAVID JEREMIAH            1381 GRAM STREET                                                                                        BURTON           MI   48529‐2039
MCLAREN, DOROTHY M                 1429 N SPRING ST APT 23                                                                                 GLADWIN          MI   48624‐1023
MCLAREN, DOROTHY M                 1429 N. SPRING #23                                                                                      GLADWIN          MI   48624‐1023
MCLAREN, DOUGLAS R                 13166 IMLAY CITY RD                                                                                     EMMETT           MI   48022‐2205
MCLAREN, EVA                       1665 W CURTIS RD                                                                                        SAGINAW          MI   48601‐9731
MCLAREN, GLENN W                   18114 MEADOW LN                                                                                         STRONGSVILLE     OH   44136‐4332
MCLAREN, JAMES W                   302 N MACKINAW ST                                                                                       DURAND           MI   48429‐1322
MCLAREN, JOSEPHINE D               1823 FARRELL TERRACE                                                                                    FARRELL          PA   16121‐6121
MCLAREN, KATHLEEN                  442 WAYNOKA DR                                                                                          SARDINIA         OH   45171‐9755
MCLAREN, RICHARD W                 3623 GARNER RD                                                                                          AKRON            MI   48701‐9751
MCLAREN, ROBERT A                  LOT 24                               802 NORTH MAIN STREET                                              PAULDING         OH   45879‐2002
MCLAREN, ROBERT N                  4660 E LANSING RD                                                                                       BANCROFT         MI   48414‐9432
MCLAREN, ROBERT NORMAN             4660 E LANSING RD                                                                                       BANCROFT         MI   48414‐9432
MCLAREN, SCOTT A                   45515 MUIRFIELD DR                                                                                      CANTON           MI   48188‐1098
MCLAREN, THOMAS R                  6411 BERNHARD CIR                                                                                       GRAND BLANC      MI   48439‐9719
MCLAREN, WILLIAM G                 3737 JACKMAN RD                                                                                         TOLEDO           OH   43612‐1079
MCLAREN, WILLIAM GRANT             3737 JACKMAN RD                                                                                         TOLEDO           OH   43612‐1079
MCLAREN/HART                       C/O J FAERROLI DYMEKA GOSSETT        400 RENAISSANCE CTR                                                DETROIT          MI   48243‐1607
MCLARNEY, GEORGE W                 46625 GARFIELD RD                                                                                       MACOMB           MI   48044‐3345
MCLARTY BUTLER TATE, L.L.C.        SHERMAN TATE                         1700 N HERVEY ST                                                   HOPE             AR   71801‐2524
MCLARTY, ASONIA M                  6510 ARENDT RD                                                                                          PECK             MI   48466‐9784
MCLARTY, CATHERINE Y               4598 BERQUIST DR                                                                                        TROTWOOD         OH   45426‐1804
MCLARTY, MICHAEL J                 3014 CLAY TRL                                                                                           CORINTH          TX   76210‐3124
MCLARTY, PEGGIE                    4608 KEMPF ST                                                                                           WATERFORD        MI   48329‐1806
MCLARY, TERRY L                    2659 W 900 S                                                                                            PENDLETON        IN   46064‐8916
MCLATCHIE, GREGORY S               22 FAIRFAX DR                                                                                           SAINT PETERS     MO   63376‐5242
MCLAUCHLAN, JOANNE                 PO BOX 275                                                                                              FRANKLIN         MA   02038‐0275
MCLAUCHLIN JOEL D                  APT 30                               1369 NORTH HAMPTON ROAD                                            DESOTO           TX   75115‐3168
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Name                                    Address1                           Address2                        Address3   Address4         City             State Zip
MCLAUCHLIN, CATHERINE J                 1055 OAKBROOK DR                                                                               ORTONVILLE        MI 48462‐9060
MCLAUCHLIN, CATHERINE JEAN              1055 OAKBROOK DR                                                                               ORTONVILLE        MI 48462‐9060
MCLAUCHLIN, CHAD A                      356 DUSTIN LN                                                                                  ORTONVILLE        MI 48462
MCLAUCHLIN, DAISY A                     PO BOX 931                                                                                     WARREN            MI 48090‐0931
MCLAUCHLIN, DENNIS S                    7000 WILLIAMS LAKE RD                                                                          WATERFORD         MI 48329‐2875
MCLAUCHLIN, GAIL                        8595 HOLCOMB RD                                                                                CLARKSTON         MI 48348‐4321
MCLAUCHLIN, JOEL D                      APT 30                             1369 NORTH HAMPTON ROAD                                     DESOTO            TX 75115‐3168
MCLAUCHLIN, ROGER L                     20563 YEANDLE AVE UNIT 2                                                                       CASTRO VALLEY     CA 94546‐4454
MCLAUCHLIN, SANDRA K                    20563 YEANDLE AVE UNIT 2                                                                       CASTRO VALLEY     CA 94546
MCLAUCHLIN, TODD P                      1055 OAKBROOK DR                                                                               ORTONVILLE        MI 48462‐9060
MCLAUCHLIN, TODD PAUL                   1055 OAKBROOK DR                                                                               ORTONVILLE        MI 48462‐9060
MCLAUGHIN BOYD VERONICA                 1320 BROOKLYN AVE                                                                              KANSAS CITY       MO 64127‐1914
MCLAUGHLIN BILL                         4271 HIGHWAY 214                                                                               HEREFORD          TX 79045‐7705
MCLAUGHLIN CHARLES W (429429)           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                           STREET, SUITE 600
MCLAUGHLIN CHEVROLET, INC.              741 TEMPLE ST                                                                                  WHITMAN          MA    02382‐1041
MCLAUGHLIN CHEVROLET, INC.              PAUL MCLAUGHLIN                    741 TEMPLE ST                                               WHITMAN          MA    02382‐1041
MCLAUGHLIN DANIEL                       780 BOW LN                                                                                     WATERFORD        MI    48328‐4108
MCLAUGHLIN EDWARD J                     MCLAUGHLIN, EDWARD J               1600 MARKET ST STE 3600                                     PHILADELPHIA     PA    19103‐7212
MCLAUGHLIN ENTERPRISES INC.             3460 OCEAN VIEW BLVD STE D                                                                     GLENDALE         CA    91208‐3308
MCLAUGHLIN EUGENE (133669)              PERLBERGER LAW ASSOCIATES          401 E CITY AVE STE 200                                      BALA CYNWYD      PA    19004‐1117
MCLAUGHLIN EUNICE (446256)              KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                               CLEVELAND        OH    44114
                                                                           BOND COURT BUILDING
MCLAUGHLIN GORDON H (ESTATE OF)         (NO OPPOSING COUNSEL)
(642825)
MCLAUGHLIN I I, ROBERT F                18003 CRYSTAL RIVER DR                                                                         MACOMB           MI 48042‐2386
MCLAUGHLIN II, ROBERT FRANCIS           18003 CRYSTAL RIVER DR                                                                         MACOMB           MI 48042‐2386
MCLAUGHLIN JAMES (446257)               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                           PROFESSIONAL BLDG
MCLAUGHLIN JR, JAMES D                  7318 COSNER DRIVE                                                                              DAYTON           OH    45424‐3341
MCLAUGHLIN JR, JAMES DOUGLAS            7318 COSNER DRIVE                                                                              DAYTON           OH    45424‐3341
MCLAUGHLIN JR., JOHN J                  2 W SHORE CT                                                                                   LANDENBERG       PA    19350‐9333
MCLAUGHLIN MOTORS, INC.                 4101 41ST ST                                                                                   MOLINE           IL    61265‐6780
MCLAUGHLIN MOTORS, INC.                 JAMES SWANSON                      4101 41ST ST                                                MOLINE           IL    61265‐6780
MCLAUGHLIN NEFF, RUBY M                 4603 E MAM DR                                                                                  MARTINSVILLE     IN    46151‐9368
MCLAUGHLIN PAUL F (439321)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA    23510
                                                                           STREET, SUITE 600
MCLAUGHLIN ROBERT                       18003 CRYSTAL RIVER DR                                                                         MACOMB TWP       MI    48042
MCLAUGHLIN SCOTT                        PO BOX 156                                                                                     NEW HARTFORD     NY    13413‐0156
MCLAUGHLIN SEARS PEGGY                  564 W 10TH ST                                                                                  CLAREMONT        CA    91711‐3714
MCLAUGHLIN WILLIAM (497718)             ANGELOS PETER G                    100 N CHARLES STREET , ONE                                  BALTIMORE        MD    21201
                                                                           CHARLES CENTER
MCLAUGHLIN WILLIAM E JR (472118)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                           STREET, SUITE 600
MCLAUGHLIN'S AUTO SERVICE CENTER, INC                                      139 ROUTE 9 S                                                                 NJ   07751

MCLAUGHLIN, ALMA E                      12347 AVALON DRIVE                                                                             GRAFTON          OH    44044‐9553
MCLAUGHLIN, ANNA M                      2236 BIG CYPRESS BLVD                                                                          LAKELAND         FL    33810‐2307
MCLAUGHLIN, ANTHONY J                   30 SUMMERLAKE CT                                                                               TROY             MO    63379‐3855
MCLAUGHLIN, BARTON W                    1127 ALAMEDA BLVD                                                                              TROY             MI    48085‐6737
MCLAUGHLIN, BERTHA L                    1424 COUNTY ROAD 21 N                                                                          PRATTVILLE       AL    36067‐7439
MCLAUGHLIN, BETTY I                     2015 HWY 11‐C                                                                                  NORTH LAWRENCE   NY    12967‐9801
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MCLAUGHLIN, BETTY I       2015 STATE HIGHWAY 11C                                                                          NORTH LAWRENCE    NY 12967‐1401
MCLAUGHLIN, BETTY L       5578 PEMBROOKE CROSSING                                                                         W BLOOMFIELD      MI 48322‐1791
MCLAUGHLIN, BETTY N       9027 COLUMBIA RD                                                                                OLMSTED FALLS     OH 44138‐2424
MCLAUGHLIN, BOBBY G       326 ALBEMARALE ST.                                                                              ERWIN             TN 37650
MCLAUGHLIN, BRIAN B       12527 HUNTINGTON FIELD DR                                                                       HOUSTON           TX 77099‐3613
MCLAUGHLIN, BRIAN Y       50561 LITTLE JOHN LANE                                                                          GRANGER           IN 46530‐8661
MCLAUGHLIN, BRUCE A       3031 MERWOOD DR                                                                                 MOUNT MORRIS      MI 48458‐8219
MCLAUGHLIN, BRUCE ALLEN   3031 MERWOOD DR                                                                                 MOUNT MORRIS      MI 48458‐8219
MCLAUGHLIN, BURTON        5999 TOROLO LN                                                                                  LOWELLVILLE       OH 44436‐4436
MCLAUGHLIN, CARLON A      PO BOX 180882                                                                                   RICHLAND          MS 39218‐0882
MCLAUGHLIN, CAROL E       7927 SLAYTON SETTLEMENT RD                                                                      GASPORT           NY 14067‐9302
MCLAUGHLIN, CAROL R       239 W BIRCH LN                                                                                  ALEXANDRIA        IN 46001‐8376
MCLAUGHLIN, CAROLYN J     10643 W STANTON RD                                                                              TRUFANT           MI 49347‐9737
MCLAUGHLIN, CATHERINE R   31 ESSEX DR                                                                                     ROCHESTER         NY 14623‐3007
MCLAUGHLIN, CECIL J       112 DOWNWOOD DR                                                                                 BURLESON          TX 76028‐2549
MCLAUGHLIN, CHARLENE A    1758 PATRICK HENRY                                                                              SCOTTVILE         MI 49454
MCLAUGHLIN, CHARLES       PO BOX 33                                                                                       NORTH BRANCH      MI 48461‐0033
MCLAUGHLIN, CHARLES W     1706 ADAMS ST                                                                                   TILTON             IL 61833‐8048
MCLAUGHLIN, CHARLES W     GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                NORFOLK           VA 23510‐2212
                                                               STREET, SUITE 600
MCLAUGHLIN, CLEON C       1487 MONARCH COURT                                                                              MARIETTA         GA   30062‐2750
MCLAUGHLIN, CLIFFORD N    302 GRANT ST                                                                                    MC DONALD        OH   44437‐1907
MCLAUGHLIN, DALE A        1031 S GULLEY RD                                                                                DEARBORN         MI   48124‐1234
MCLAUGHLIN, DANIEL        2310 DOVER ST                                                                                   ANDERSON         IN   46013‐3126
MCLAUGHLIN, DANIEL J      30912 PENNSYLVANIA RD                                                                           ROMULUS          MI   48174‐9215
MCLAUGHLIN, DANIEL K      102 HILLARY CIR                                                                                 WENTZVILLE       MO   63385‐3097
MCLAUGHLIN, DANIEL L      2310 DOVER STREET                                                                               ANDERSON         IN   46013‐3126
MCLAUGHLIN, DANNY P       PO BOX 3185                                                                                     APPLEGATE        OR   97530‐3185
MCLAUGHLIN, DELORES M     2402 W RAMSEY AVE                                                                               MILWAUKEE        WI   53221‐4908
MCLAUGHLIN, DENNIS M      2236 BIG CYPRESS BLVD                                                                           LAKELAND         FL   33810‐2307
MCLAUGHLIN, DENNIS M      5082 BRIDGEMAN RD                                                                               SANBORN          NY   14132‐9357
MCLAUGHLIN, DEVON
MCLAUGHLIN, DONALD        1424 CO RD NORTH 21                                                                             PRATTVILLE       AL   36067
MCLAUGHLIN, DONALD J      4105 BROWNELL BLVD                                                                              FLINT            MI   48504‐3752
MCLAUGHLIN, DOROTHY G     142 N ASTOR ST                                                                                  PONTIAC          MI   48342‐2502
MCLAUGHLIN, DOROTHY M     58 LONDONDERRY RD                                                                               FRAMINGHAM       MA   01701‐4320
MCLAUGHLIN, EARL F        124 BROOK ST                                                                                    FRANKLIN         MA   02038‐1644
MCLAUGHLIN, EDWARD J      ST JOHN GERARD J                     1600 MARKET ST STE 3600                                    PHILADELPHIA     PA   19103‐7212
MCLAUGHLIN, EUGENE        PERLBERGER LAW ASSOCIATES            401 E CITY AVE STE 200                                     BALA CYNWYD      PA   19004‐1117
MCLAUGHLIN, EUGENE J      PAUL REICH & MYERS PC                1608 WALNUT ST                 STE 500                     PHILADELPHIA     PA   19103‐5446
MCLAUGHLIN, EUNICE        KELLEY & FERRARO LLP                 1300 EAST NINTH STREET, 1901                               CLEVELAND        OH   44114
                                                               BOND COURT BUILDING
MCLAUGHLIN, FOREST A      218 WOLF CT                                                                                     ELYRIA           OH   44035‐5827
MCLAUGHLIN, GARY          20165 N 67TH AVE                       SUITE 122A‐204                                           GLENDALE         AZ   85308
MCLAUGHLIN, GARY S        3627 MADISON ST                                                                                 DEARBORN         MI   48124‐3388
MCLAUGHLIN, GEORGE P      763 YOUN‐KIN PKWY N                                                                             COLUMBUS         OH   43207
MCLAUGHLIN, GEORGE P      763 YOUN KIN PKWY N                                                                             COLUMBUS         OH   43207‐4754
MCLAUGHLIN, GERALD P      619 DORN DR                                                                                     SANDUSKY         OH   44870‐1610
MCLAUGHLIN, GERALD P      8 WALTER RD                                                                                     FOXBORO          MA   02035‐1632
MCLAUGHLIN, GORDON E      PO BOX 676                                                                                      GREENSBURG       IN   47240‐0676
MCLAUGHLIN, GORDON H      C/O LAW OFFICES OF MICHAEL B. SERLING, 280 N OLD WOODWARD AVE STE                               BIRMINGHAM       MI   48009
                          P.C.                                   406
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Name                            Address1                        Address2                         Address3   Address4         City                 State Zip
MCLAUGHLIN, HAROLD L            415 E HURON AVE                                                                              VASSAR                MI 48768
MCLAUGHLIN, HELEN K             28 NORTH AVE                                                                                 MERIDEN               CT 06451‐4035
MCLAUGHLIN, HENRI R             PO BOX 202                                                                                   PITTSBORO             IN 46167‐0202
MCLAUGHLIN, HOWARD V            2713 S WALNUT ST                                                                             MUNCIE                IN 47302‐5065
MCLAUGHLIN, IRIS                28948 BESTE ST                                                                               SAINT CLAIR SHORES    MI 48081‐1007
MCLAUGHLIN, JACQUELINE          210 LEHIGH ST                                                                                WILKES BARRE          PA 18702‐5745
MCLAUGHLIN, JACQUELINE D        7318 COSNER DRIVE                                                                            DAYTON                OH 45424‐3341
MCLAUGHLIN, JACQUELINE DENISE   7318 COSNER DRIVE                                                                            DAYTON                OH 45424‐3341
MCLAUGHLIN, JAMES               JAMES TOTTA & PARRISH           218 NE TUDOR RD                                              LEES SUMMIT           MO 64086‐5696
MCLAUGHLIN, JAMES D             340 WELCOME WAY                                                                              CARLISLE              OH 45005‐3254
MCLAUGHLIN, JAMES D             236 RAPID RILL LN                                                                            BROWNSBURG            IN 46112‐2151
MCLAUGHLIN, JAMES E             4496 NEW CASTLE RD                                                                           LOWELLVILLE           OH 44436‐9707
MCLAUGHLIN, JAMES P             PO BOX 1028                                                                                  NOBLESVILLE           IN 46061‐1028
MCLAUGHLIN, JANICE E            3731 TACOMA AVE                                                                              LORAIN                OH 44055‐2219
MCLAUGHLIN, JAY D               3625 WOODGLEN WAY                                                                            ANDERSON              IN 46011‐1675
MCLAUGHLIN, JEFFREY D           606 NE 73RD TER                                                                              GLADSTONE             MO 64118‐1717
MCLAUGHLIN, JEFFREY DALE        606 NE 73RD TER                                                                              GLADSTONE             MO 64118‐1717
MCLAUGHLIN, JIMMY A             108 W XENIA DR                                                                               FAIRBORN              OH 45324
MCLAUGHLIN, JIMMY A             108 WEST XENIA DRIVE                                                                         FAIRBORN              OH 45324‐4919
MCLAUGHLIN, JOANNE              32430 BARKLEY ST                                                                             LIVONIA               MI 48154‐3577
MCLAUGHLIN, JOHN B              6 COPA LN                                                                                    WILMINGTON            DE 19804‐2050
MCLAUGHLIN, JOHN M              223 ERIE ST                                                                                  ELYRIA                OH 44035‐4907
MCLAUGHLIN, JOHN T              6177 MCMILLAN ST                                                                             DETROIT               MI 48209‐1632
MCLAUGHLIN, JOHN W              1104 GLENWOOD DR                                                                             COLUMBIA              TN 38401‐6705
MCLAUGHLIN, JONATHAN            ALVIS & WILLINGHAM              1400 URBAN CENTER DR ‐ STE 475                               BIRMINGHAM            AL 35242
MCLAUGHLIN, JOSEPH H            357 N SUMMIT RD                                                                              JAMESTOWN             PA 16134‐9208
MCLAUGHLIN, JUNE                10190 SEABROOK AVE                                                                           ENGLEWOOD             FL 34224‐7702
MCLAUGHLIN, KENNETH D           123 16TH AVE                                                                                 NORTH TONAWANDA       NY 14120‐3221
MCLAUGHLIN, KENNETH L           2400 KEYLON DR                                                                               WEST BLOOMFIELD       MI 48324‐1337
MCLAUGHLIN, KENNETH M           54738 SHERWOOD LN                                                                            SHELBY TOWNSHIP       MI 48315‐1546
MCLAUGHLIN, KEVIN A             3315 OAKSTONE DR                                                                             MANSFIELD             OH 44903‐8423
MCLAUGHLIN, KIM ELIZABETH       700 FAIRLEDGE                                                                                LAKE ORION            MI 48362‐2610
MCLAUGHLIN, KIM ELIZABETH       700 FAIRLEDGE ST                                                                             LAKE ORION            MI 48362‐2610
MCLAUGHLIN, LARRY R             5224 MCLEOD RD                                                                               LUMBERTON             NC 28358‐8509
MCLAUGHLIN, LEROY C             949 COVE ROAD                                                                                RUTHERFORDTON         NC 28139‐7549
MCLAUGHLIN, LORRAINE O          HERITAGE DRIVE APTS             NO 121‐3                                                     NEGAUNEE              MI 49866
MCLAUGHLIN, LOWELL J            4906 SOUTHVIEW DR                                                                            ANDERSON              IN 46013‐4852
MCLAUGHLIN, MARIE               PO BOX 6903                                                                                  DETROIT               MI 48206
MCLAUGHLIN, MARJORIE M          17423 MOORS AVE                                                                              FRAZER                MI 48026‐4316
MCLAUGHLIN, MARJORIE M          17423 MOORS                                                                                  FRASER                MI 48026‐4316
MCLAUGHLIN, MARTHA F            2804 VILLAGE CT                                                                              VERMILION             OH 44089‐9170
MCLAUGHLIN, MARTHA F            2804 VILLAGE COURT                                                                           VERMILION             OH 44089‐9170
MCLAUGHLIN, MARVIN FREDRICK     206 PARKWAY DRIVE                                                                            ST MARY               OH 45885‐1245
MCLAUGHLIN, MARVIN FREDRICK     206 PARKWAY DR                                                                               SAINT MARYS           OH 45885‐1245
MCLAUGHLIN, MARY C              10071 W RIDGE RD                                                                             ELYRIA                OH 44035‐6830
MCLAUGHLIN, MARY C              10071 WEST RIDGE RD                                                                          ELYRIA                OH 44035
MCLAUGHLIN, MARY J              908 W 15TH                                                                                   MUNCIE                IN 47302‐3064
MCLAUGHLIN, MARY LOUISE         3745 W RIVER RD                                                                              GRAND ISLAND          NY 14072‐1209
MCLAUGHLIN, MARYLIN R           PO BOX 33                       6803 W ST                                                    NORTH BRANCH          MI 48461‐0033
MCLAUGHLIN, MATTHEW A           239 HEMLOCK DR                                                                               ELYRIA                OH 44035‐1445
MCLAUGHLIN, MAUDENA WAGGONE     1903 WESTOVER DR.                                                                            ARLINGTON             TX 76015‐1232
MCLAUGHLIN, MAUREEN K           PO BOX 652                                                                                   MEADOW LANDS          PA 15347‐0652
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Name                            Address1                           Address2                      Address3   Address4         City              State Zip
MCLAUGHLIN, MAXINE E            47345 VICTORIA SQUARE NORTH                                                                  CANTON             MI 48188
MCLAUGHLIN, MAXINE E            47345 VICTORIAN SQ N                                                                         CANTON             MI 48188‐6325
MCLAUGHLIN, MICHAEL C           7254 COOK JONES RD                                                                           WAYNESVILLE        OH 45068‐8805
MCLAUGHLIN, MICHAEL CHARLES     7254 COOK JONES RD                                                                           WAYNESVILLE        OH 45068‐8805
MCLAUGHLIN, MICHAEL P           10 ADVENT CT                                                                                 NEWARK             DE 19713‐2124
MCLAUGHLIN, NEIL D              5223 N BUCKSKIN DR                                                                           JANESVILLE         WI 53546‐9698
MCLAUGHLIN, PAMELA              6720 RUNNEL DR                                                                               NEW PORT RICHEY    FL 34653‐2929
MCLAUGHLIN, PAUL D              176 PINE LAKES DR W                                                                          LAPEER             MI 48446‐4502
MCLAUGHLIN, PAUL F              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                   STREET, SUITE 600
MCLAUGHLIN, PETER M             2236 BIG CYPRESS BLVD                                                                        LAKELAND          FL   33810‐2307
MCLAUGHLIN, PHILIP              6A ORCHARD AVE                                                                               NEW CITY          NY   10956‐6510
MCLAUGHLIN, PHYLLIS A           15666 49TH ST NORTH                #1135                                                     CLEARWATER        FL   33762‐3580
MCLAUGHLIN, PHYLLIS A           15666 49TH ST N LOT 1135                                                                     CLEARWATER        FL   33762‐3580
MCLAUGHLIN, RHONDA
MCLAUGHLIN, ROBERT J            38518 PLAINVIEW DR                                                                           STERLING HTS      MI   48312‐1441
MCLAUGHLIN, ROBERT J            37012 BENDIX ST                                                                              WAYNE             MI   48184‐1502
MCLAUGHLIN, ROBERT JAMES        37012 BENDIX ST                                                                              WAYNE             MI   48184‐1502
MCLAUGHLIN, ROBERT M            1302 N PARK BLVD                                                                             RUSHVILLE         IN   46173‐1128
MCLAUGHLIN, ROBERT S            9 MAPLE RD.                                                                                  GREENVILLE        PA   16125‐9258
MCLAUGHLIN, ROBERT S            9 MAPLE RD                                                                                   GREENVILLE        PA   16125‐9258
MCLAUGHLIN, RYAN P              1506 REVERE CIR                                                                              SCHAUMBURG        IL   60193‐1202
MCLAUGHLIN, SANDRA              BOX 224                                                                                      WINTHROP          NY   13697‐0224
MCLAUGHLIN, SANDRA              PO BOX 224                                                                                   WINTHROP          NY   13697‐0224
MCLAUGHLIN, SHANTI              3905 YORKLAND DR NW APT 5                                                                    COMSTOCK PARK     MI   49321‐8810
MCLAUGHLIN, SHIRLEY J           PO BOX 88                                                                                    THOMPSON          OH   44086‐0088
MCLAUGHLIN, TERRY S             6909 CONSTITUTION DR                                                                         WATAUGA           TX   76148‐1942
MCLAUGHLIN, THEODORE E          4223 MORNING DAWN DR                                                                         SAGINAW           MI   48603‐5205
MCLAUGHLIN, THEODORE EDWARD     4223 MORNING DAWN DR                                                                         SAGINAW           MI   48603‐5205
MCLAUGHLIN, THERESE             12 WESTVIEW DR                                                                               WHIPPANY          NJ   07981‐1923
MCLAUGHLIN, TUESDAY
MCLAUGHLIN, VIRGINIA L          13077 LINKS CT                                                                               CLIO              MI   48420‐8266
MCLAUGHLIN, WALTER B            24481 EMMONS RD                                                                              COLUMBIA STA      OH   44028‐9663
MCLAUGHLIN, WANDA G             2144 SHERER AVE                                                                              DAYTON            OH   45414‐4634
MCLAUGHLIN, WANDA M             619 DORN DR                                                                                  SANDUSKY          OH   44870‐1610
MCLAUGHLIN, WAYLAN GEORGE       5305 GREENLEAF DR                                                                            SWARTZ CREEK      MI   48473‐1135
MCLAUGHLIN, WILLIAM             ANGELOS PETER G                    100 N CHARLES STREET, ONE                                 BALTIMORE         MD   21201
                                                                   CHARLES CENTER
MCLAUGHLIN, WILLIAM A           12138 N LINDEN RD                                                                            CLIO              MI 48420‐8205
MCLAUGHLIN, WILLIAM E           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
MCLAUGHLIN, WILLIAM F           200 FROSTWOOD DR.                                                                            CORTLAND          OH   44410‐1114
MCLAUGHLIN, WILLIAM H           3801 FULTON AVE                                                                              MORAINE           OH   45439‐2001
MCLAUGHLIN, WILLIAM H           10346 E JAN AVE                                                                              MESA              AZ   85209‐7725
MCLAUGHLIN, WILLIAM J           2755 CURLEW RD LOT 90                                                                        PALM HARBOR       FL   34684
MCLAUGHLIN, WILLIAM J           596 E KENNETT ST                                                                             PONTIAC           MI   48340‐3001
MCLAUGHLIN, WILLIAM M           720 MARIDAY ST                                                                               LAKE ORION        MI   48362‐3508
MCLAUGHLIN, WILLIAM R           2537 CARPENTER RD                                                                            LAPEER            MI   48446‐9028
MCLAUGHLIN, WINIFRED M          3 RIDGE GROVE CT                                                                             GREENSBORO        NC   27455‐1527
MCLAUGHLIN,MICHAEL CHARLES      7254 COOK JONES RD                                                                           WAYNESVILLE       OH   45068‐8805
MCLAUGHLIN‐BOYD, VERONICA A     1320 BROOKLYN AVE                                                                            KANSAS CITY       MO   64127‐1914
MCLAUGHLIN‐BOYD, VERONICA ANN   1320 BROOKLYN AVE                                                                            KANSAS CITY       MO   64127‐1914
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Name                          Address1                             Address2                        Address3   Address4               City                State Zip
MCLAUGHLIN‐RODGERS, CHERI L   2102 ROCKY BRANCH CT                                                                                   ARLINGTON            TX 76013‐5228
MCLAURIN ESTER (491231)       BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD           OH 44067
                                                                   PROFESSIONAL BLDG
MCLAURIN SAUNDERS (491232)    BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
                                                                   PROFESSIONAL BLDG
MCLAURIN, BELINDA             16 CATHERINE ST                                                                                        NEW CASTLE          DE   19720‐3008
MCLAURIN, CLARA B             6314 BROCK CIR                                                                                         BRANDON             MS   39042‐2024
MCLAURIN, CLARA B             6314 BROCKS CIRCLE                                                                                     BRANDON             MS   39042‐2024
MCLAURIN, EDNA E              809 E 3RD ST                                                                                           LIMA                OH   45804‐2503
MCLAURIN, MAURICE L           PO BOX 584                                                                                             RIDGELAND           MS   39158‐0584
MCLAURIN, SHERMAN E           148 CARR ST                                                                                            PONTIAC             MI   48342‐1767
MCLAURIN, TIMOTHY O           1008 E 2ND ST 2610                                                                                     LIMA                OH   45804
MCLAURINE ROBERT J (496659)   ANGELOS PETER G                      100 N CHARLES STREET , ONE                                        BALTIMORE           MD   21201
                                                                   CHARLES CENTER
MCLAURINE, HELEN M            1132 ESSEX DR                                                                                          LIMA                OH 45804‐2622
MCLAURINE, HELEN M            1132 ESSEX DRIVE                                                                                       LIMA                OH 45804‐2622
MCLAURINE, ROBERT J           ANGELOS PETER G                      100 N CHARLES STREET, ONE                                         BALTIMORE           MD 21201
                                                                   CHARLES CENTER
MCLAVISH, MARGARET J          7073 PARKRIDGE PKWY                  C/O LAURA SUE REYNOLDS                                            SWARTZ CREEK        MI   48473‐1551
MCLAVY, MARGARET C            1031 E PINE AVE                                                                                        MT MORRIS           MI   48458‐1607
MCLAVY, ROBERT E              111 DEER RUN                                                                                           LAPEER              MI   48446‐4106
MCLAVY, WALTER M              7171 N LINDEN RD                                                                                       MOUNT MORRIS        MI   48458‐9342
MCLAWERY, LARRY G             3350 SALINA ST                                                                                         DEARBORN            MI   48120‐1459
MCLAY, DOUGLAS K              3905 N SPRING HILL DR                                                                                  JANESVILLE          WI   53545‐9593
MCLAY, RUTHIE                 4204 COMMONWEALTH ST APT 2                                                                             DETROIT             MI   48208‐3922
MCLEAN ALARM SYSTEMS
MCLEAN AUTOMOTIVE, INC.       LAIRD MOONEY                         859 N BROADWAY                                                    ESCONDIDO           CA   92025‐1819
MCLEAN CONTRACTING            2001 BENHILL AVE                                                                                       BALTIMORE           MD   21226‐1435
MCLEAN JR, ALEXANDER H        2306 EMERALD DR UNIT 8                                                                                 EMERALD ISLE        NC   28594‐6517
MCLEAN JR, ALEXANDER H        #8                                   2306 EMERALD DRIVE                                                EMERALD ISLE        NC   28594‐6517
MCLEAN JR, ROBERT K           8466 GOLFSIDE DR                                                                                       COMMERCE TOWNSHIP   MI   48382‐2215
MCLEAN MARION E (429430)      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510
                                                                   STREET, SUITE 600
MCLEAN MID/BRKLYN PK          4000 83RD AVE N                                                                                        BROOKLYN PARK       MN 55443‐2528
MCLEAN MIDWEST CORP           11611 BUSINESS PARK BLVD N                                                                             CHAMPLIN            MN 55316‐4900
MCLEAN MIDWEST CORPORATION    11611 BUSINESS PARK BLVD N                                                                             CHAMPLIN            MN 55316‐2784
MCLEAN SCALE CO LTD           3392 WONDERLAND ROAD SOUTH BLBG #9                                              LONDON CANADA ON N6L
                              UNIT 7                                                                          1A8 CANADA
MCLEAN THOMAS JR              6500 STEELE ROAD                                                                                       WAXHAW              NC   28173‐8050
MCLEAN, ANDRE                 2786 COUNTRY CT SE APT B                                                                               CONYERS             GA   30013‐6751
MCLEAN, ARLETA D              32630 MARCO STREET                                                                                     GARDEN CITY         MI   48135
MCLEAN, ARLETA D              32630 MARCO ST                                                                                         GARDEN CITY         MI   48135‐1628
MCLEAN, BARBARA               3901 PARKER AVE                                                                                        SAINT LOUIS         MO   63116‐3717
MCLEAN, BARBARA G             2531 N GENESEE RD                                                                                      BURTON              MI   48509‐1135
MCLEAN, BARBARA GAIL          2531 N GENESEE RD                                                                                      BURTON              MI   48509‐1135
MCLEAN, BEULAH                3316 OAKWOOD                                                                                           SAGINAW             MI   48601
MCLEAN, BRADY A               2415 COVERT RD                                                                                         BURTON              MI   48509‐1059
MCLEAN, BRYCE E               9041 SPRING DR                                                                                         WINDHAM             OH   44288‐1465
MCLEAN, CANDACE N             37 PENNS LANDING                                                                                       SELINSGROVE         PA   17870‐2026
MCLEAN, CHERYL M              920 YELLOW PINE CT                                                                                     INDIANAPOLIS        IN   46217‐4378
MCLEAN, CHRISTOPHER J         915 S SIESTA LN APT 1                                                                                  TEMPE               AZ   85281
MCLEAN, CRAIG H               12040 FRANCESCA DR                                                                                     GRAND BLANC         MI   48439‐1519
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Name                     Address1                       Address2                      Address3   Address4         City               State Zip
MCLEAN, CRAIG HEFFALUM   12040 FRANCESCA DR                                                                       GRAND BLANC         MI 48439‐1519
MCLEAN, DALE A           4415 NE 5TH ST APT D201                                                                  RENTON              WA 98059‐4790
MCLEAN, DAVID C          14354 SWANEE BEACH DR                                                                    FENTON              MI 48430‐1464
MCLEAN, DAVID J          8046 MAPLE ST                                                                            SWARTZ CREEK        MI 48473‐1317
MCLEAN, DENNIS R         148 S 8 MILE RD                                                                          MIDLAND             MI 48640‐9073
MCLEAN, DIANE            2725 HOMEPLACE ST                                                                        DEARBORN            MI 48124‐4452
MCLEAN, DONALD G         12316 WILSON RD                                                                          OTISVILLE           MI 48463‐9763
MCLEAN, DONALD R         3948 PERCY KING RD                                                                       WATERFORD           MI 48329‐1370
MCLEAN, DOROTHY F        912 WIGGINS RD                                                                           DOTHAN              AL 36303‐9211
MCLEAN, DOROTHY J        5069 ESTA DR                                                                             FLINT               MI 48506‐1546
MCLEAN, DUNCAN           PO BOX 431                                                                               MORROW              GA 30260‐0431
MCLEAN, EVELYN M         628 ELM ST                                                                               MOUNT MORRIS        MI 48458‐1918
MCLEAN, EVELYNNE H       1130 KENSINGTON AVE                                                                      FLINT               MI 48503‐5314
MCLEAN, FRANK L          4117 BELFORD RD                                                                          HOLLY               MI 48442‐9478
MCLEAN, GEORGE W         531 GILBERT ST                                                                           OWOSSO              MI 48867‐2435
MCLEAN, GERALD L         PO BOX 187                                                                               DAVISON             MI 48423‐0187
MCLEAN, GLORIA           34325 ST. HIGHWAY                                                                        ANDES               NY 13731
MCLEAN, HAROLD R         9846 E STONE CIRCLE LN                                                                   GOLD CANYON         AZ 85218‐4944
MCLEAN, HARRY C          3324 PINES RD                                                                            SHREVEPORT          LA 71119‐3510
MCLEAN, JANET R          2110 PLAZA DR W                                                                          CLIO                MI 48420‐2103
MCLEAN, JENICE Y         41 INCHES ST                                                                             MOUNT CLEMENS       MI 48043‐2420
MCLEAN, JOE L            3202 JANE LN                                                                             HALTOM CITY         TX 76117‐3742
MCLEAN, JOHN T           303 N FOREST BLVD                                                                        LAKE MARY           FL 32746‐2570
MCLEAN, KENNETH W        5700 STARWOOD DR                                                                         COMMERCE TWP        MI 48382‐1076
MCLEAN, LARRY J          137 TERRY AVE                                                                            ROCHESTER           MI 48307‐1571
MCLEAN, LARRY J.         137 TERRY AVE                                                                            ROCHESTER           MI 48307‐1571
MCLEAN, LAUREEN D        19445 MCINTYRE ST                                                                        DETROIT             MI 48210‐1832
MCLEAN, LAUREEN D.       25590 W. TWELVE MILE RD.                                                                 SOUTHFIELD          MI 48034
MCLEAN, LEE R            2531 N GENESEE RD                                                                        BURTON              MI 48509‐1135
MCLEAN, LEE ROY          2531 N GENESEE RD                                                                        BURTON              MI 48509‐1135
MCLEAN, LEONARD C        5843 NORTHRIDGE CIR                                                                      WATERFORD           MI 48327‐1870
MCLEAN, LEOTA E          4460 ORCHARD LAKE RD APT 219                                                             WEST BLOOMFIELD     MI 48323
MCLEAN, LYNN C           12178 STANLEY RD                                                                         FLUSHING            MI 48433‐9206
MCLEAN, MAE              607 HIGH ST APT F5                                                                       MARBLE HILL         MO 63764‐9763
MCLEAN, MAE              607 HIGH STREET                APARTMENT F5                                              MARBLE HILL         MO 63764
MCLEAN, MARION E         GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                        STREET, SUITE 600
MCLEAN, MARK A           668 ASHWOOD AVE                                                                          LEWISBURG          TN   37091‐3608
MCLEAN, MARK R           8414 WALTER ST                                                                           MOUNT MORRIS       MI   48458‐1153
MCLEAN, MARY E           2210 TYRRELL RD                                                                          BANCROFT           MI   48414‐9706
MCLEAN, MARY J           1186 E WILLARD RD                                                                        CLIO               MI   48420‐8812
MCLEAN, MARY JANE        1186 E WILLARD RD                                                                        CLIO               MI   48420‐8812
MCLEAN, MILDRED J        9136 CHESTERBROOK CT APT A                                                               INDIANAPOLIS       IN   46240‐1126
MCLEAN, NANCY J          5363 BRISTOL PARKE DR                                                                    CLARKSTON          MI   48348‐4827
MCLEAN, ORA A            3028 TIMBERLINE DR                                                                       FORT WORTH         TX   76119‐4738
MCLEAN, ORA ANNETTE      3028 TIMBERLINE DR                                                                       FORT WORTH         TX   76119‐4738
MCLEAN, OSCAR C          5183 HELMSLEY DR                                                                         SWARTZ CREEK       MI   48473‐1139
MCLEAN, PATRICK T        2210 TYRRELL RD                                                                          BANCROFT           MI   48414‐9706
MCLEAN, PAUL A           65780 NORTH AVE                                                                          RAY                MI   48096‐2117
MCLEAN, PAUL ARTHUR      65780 NORTH AVE                                                                          RAY                MI   48096‐2117
MCLEAN, PHILOMENA S      35265 BRISTLECONE                                                                        CLINTON TOWNSHIP   MI   48035‐2321
MCLEAN, RICHARD P        7207 LEBANON TRL                                                                         DAVISON            MI   48423‐2344
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Name                     Address1                      Address2            Address3         Address4         City                  State Zip
MCLEAN, ROBERT B         4137 PINEVIEW RD                                                                    CHARLOTTE              NC 28211‐1515
MCLEAN, ROGER W          4995 MCDOWELL RD                                                                    LAPEER                 MI 48446
MCLEAN, ROSS F           877 W HURON RIVER DR                                                                BELLEVILLE             MI 48111‐2522
MCLEAN, RUSSELL D        2255 N VASSAR RD                                                                    BURTON                 MI 48509‐1382
MCLEAN, RUSSELL DEAN     2255 N VASSAR RD                                                                    BURTON                 MI 48509‐1382
MCLEAN, RUSSELL M        973 PEACH BLOSSOM LN                                                                ROCHESTER HLS          MI 48306‐3350
MCLEAN, RUTH A.          PO BOX 531154                                                                       LIVONIA                MI 48153‐1154
MCLEAN, SHIRLEY A        P.O. BOX 2633                                                                       GARDEN CITY            MI 48136‐2633
MCLEAN, STANLEY J        4102 8TH ST                                                                         BALTIMORE              MD 21225‐2137
MCLEAN, SUSAN J          PO BOX 884                                                                          INTERNATIONAL FALLS    MN 56649
MCLEAN, TERRY L          2260 M33                      PO 67                                                 ROSE CITY              MI 48654
MCLEAN, THOMAS F         1298 BALDWIN RD                                                                     FENTON                 MI 48430‐9729
MCLEAN, THOMAS G         17545 AVILLA BOULEVARD                                                              LATHRUP VLG            MI 48076‐2705
MCLEAN, TODD P           1186 E WILLARD RD                                                                   CLIO                   MI 48420‐8812
MCLEAN, TODD PATRICK     1186 E WILLARD RD                                                                   CLIO                   MI 48420‐8812
MCLEAN, TOMM M           5455 W MOUNT MORRIS RD                                                              MOUNT MORRIS           MI 48458‐9483
MCLEAN, TOMM MURLE       5455 W MOUNT MORRIS RD                                                              MOUNT MORRIS           MI 48458‐9483
MCLEAN, WALTER E         6565 TOWNLINE RD                                                                    BIRCH RUN              MI 48415‐9071
MCLEAN, WAYNE C          4135 EASTPORT DR                                                                    BRIDGEPORT             MI 48722‐9606
MCLEAN, WILLIAM R        1820 PRAIRIE DUNES CT S                                                             ANN ARBOR              MI 48108‐8641
MCLEAN‐ROSE, MICHELE A   2230 MILES RD                                                                       LAPEER                 MI 48446‐8058
MCLEANE, MICHAEL L       12390 NOONAN CT                                                                     UTICA                  MI 48315‐5867
MCLEAR, LARRY A          3896 ST RT 49                                                                       ARCANUM                OH 45304‐9796
MCLEAR, LARRY A          3896 STATE ROUTE 49                                                                 ARCANUM                OH 45304‐9796
MCLEAR, MARY BETH        7951 NE ANTIOCH RD                                                                  KANSAS CITY            MO 64119
MCLEAR, PAUL M           11369 ROYAL PL                                                                      CARMEL                 IN 46032‐8698
MCLEAREN, CLARENCE J     13332 MOCERI CIR                                                                    WARREN                 MI 48088‐1824
MCLEARN, JOSEPH L        1039 RIVER VALLEY DR                                                                FLINT                  MI 48532‐2919
MCLEARN, MARY E          587 HAMILTON ST                                                                     MOUNT MORRIS           MI 48458‐8939
MCLEARY, KAREN P         10531 EAGLES VIEW DR                                                                KNOXVILLE              TN 37922‐5141
MCLEASTER, DENNIS F      PO BOX 164                                                                          GRAND BLANC            MI 48480‐0164
MCLEAY, KEVIN            1739 SCHEIFLE RD                                                                    WALLED LAKE            MI 48390‐3164
MCLEE, MARY              14 N HILLSIDE AVE                                                                   ELMSFORD               NY 10523‐3104
MCLEES                   5130 BOSTON HARBOR RD NE                                                            OLYMPIA                WA 98506‐1848
MCLEES, GISELA H         3700 CRAMTON                                                                        METAMAR                MI 48455‐9735
MCLEES, GISELA H         3700 CRAMTON RD                                                                     METAMORA               MI 48455‐9735
MCLEISH, DONALD J        303 SMITH ST APT 516                                                                CLIO                   MI 48420‐1361
MCLEISH, JAMES G         2121 CLINTON VIEW CIR                                                               ROCHESTER HILLS        MI 48309‐2984
MCLEISH, JAMES L         2300 RICHWOOD RD                                                                    AUBURN HILLS           MI 48326‐2530
MCLEISH, LILLIAN D.      603 BRACKENWOOD CV                                                                  PALM BEACH GARDENS     FL 33418‐9038
MCLEISH, SANDRA          955 WESTVIEW RD                                                                     BLOOMFIELD HILLS       MI 48304
MCLEISH, WILLIAM A       2001 E 11 MILE RD                                                                   ROYAL OAK              MI 48067‐2331
MCLELAND, RACHEL         2414 GRAND AVE                                                                      NEW CASTLE             IN 47362‐2456
MCLELLAN JIM             416 E MANOGUE RD                                                                    MILTON                 WI 53563‐9608
MCLELLAN JR, ROY J       2 RAINBOW PARK                                                                      RANSOMVILLE            NY 14131‐9546
MCLELLAN, ARCHIBALD A    2551 W GOLF BLVD APT 204                                                            POMPANO BEACH          FL 33064‐3233
MCLELLAN, DAVID L        1746 CRANBROOK LN                                                                   LAPEER                 MI 48446‐1217
MCLELLAN, DON L          204 WASHINGTON ST                                                                   ATTICA                 MI 48412‐7704
MCLELLAN, EUGENE         3327 W CARO RD                                                                      CARO                   MI 48723‐9616
MCLELLAN, JAMES E        416 E MANOGUE RD                                                                    MILTON                 WI 53563‐9608
MCLELLAN, JAMES E        2086 BLOMQUIST AVE                                                                  WHITE BEAR LAKE        MN 55110‐4702
MCLELLAN, JAMES E        1571 HUNTERS RIDGE DR                                                               BLOOMFIELD HILLS       MI 48304‐1029
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Name                              Address1                        Address2                      Address3   Address4         City                State Zip
MCLELLAN, JOHN W                  206 BEAR COVE RD                                                                          BAILEYVILLE          ME 04694
MCLELLAN, LEROY R                 45800 GAINSBOROUGH DR                                                                     CANTON               MI 48187‐1522
MCLELLAN, LEROY R.                45800 GAINSBOROUGH DR                                                                     CANTON               MI 48187‐1522
MCLELLAN, PATRICIA                1370 LATHRUP AVE                                                                          SAGINAW              MI 48638‐4737
MCLELLAN, ROBERT H                3270 WEIGL RD                                                                             SAGINAW              MI 48609‐9792
MCLELLAN, ROBERT M                11270 SHARP RD                                                                            LINDEN               MI 48451‐8919
MCLELLAN, THERON C                1727 LUDER RD                                                                             CARO                 MI 48723‐8711
MCLELLAN‐FITZGERALD, KATHLEEN A   3012 E JOHN CABOT RD                                                                      PHOENIX              AZ 85032‐1188
MCLEMORE BARRY (634223)           FRASIER FRASIER & HICKMAN       2038 WEST PARK AVENUE 1700                                TULSA                OK 74101
                                                                  SOUTHWEST BOULEVARD
MCLEMORE HUGH O (429431)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MCLEMORE JR., CHARLES L           3657 WILMORE ST                                                                           DAYTON              OH 45416‐1451
MCLEMORE RICHARD D SR (439322)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MCLEMORE SHERLYN                  631 W 112TH ST                                                                            LOS ANGELES         CA 90044‐4205
MCLEMORE WILLIAM A (439323)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MCLEMORE, ALESIA M                2401 RUGBY RD                                                                             DAYTON              OH 45406
MCLEMORE, AUBREY T                6799 GRANBURY RD APT 119                                                                  FORT WORTH          TX 76133‐4937
MCLEMORE, BARRY                   FRASIER FRASIER & HICKMAN       2038 WEST PARK AVENUE 1700                                TULSA               OK 74101‐0799
                                                                  SOUTHWEST BOULEVARD
MCLEMORE, BARRY
MCLEMORE, BRIAN G                 46453 DOGWOOD CIR                                                                         NEW WATERFORD       OH   44445‐9665
MCLEMORE, BRYAN E                 PO BOX 164                                                                                DANVILLE            AL   35619‐0164
MCLEMORE, CARL W                  180 HOPEWELL SPRINGS RD                                                                   MADISONVILLE        TN   37354‐6556
MCLEMORE, CHARLES                 5440 NORTHFORD RD                                                                         TROTWOOD            OH   45426‐1106
MCLEMORE, CHARLES D               7250 HIGHWAY 36                                                                           DANVILLE            AL   35619‐9603
MCLEMORE, CLARA J.                834 WINDFIELD WAY                                                                         WAYNESVILLE         OH   45068‐9302
MCLEMORE, DORIS E                 1937 SAVANNAH LN                                                                          SUPERIOR TOWNSHIP   MI   48198
MCLEMORE, EDDY D                  218 JONES RD                                                                              TAFT                TN   38488‐5114
MCLEMORE, EVELYN F                201 S PAUL LAURENCE DUNBAR ST                                                             DAYTON              OH   45402‐6922
MCLEMORE, EVELYN F                201 S.PAUL L.DUNBAR                                                                       DAYTON              OH   45407‐2922
MCLEMORE, HAROLD E                107 GARY JARVIS DR                                                                        MARYVILLE           TN   37801‐1901
MCLEMORE, HAROLD W                401 COUNTY ROAD 1081                                                                      CARTHAGE            TX   75633‐5246
MCLEMORE, HUGH O                  GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                                  STREET, SUITE 600
MCLEMORE, JACQUELINE M            363 NORTH MATHISON STREET                                                                 DAYTON              OH   45417‐2444
MCLEMORE, JAMES                   9216 STOUT ST                                                                             DETROIT             MI   48228‐1660
MCLEMORE, JOE                     PORTER & MALOUF PA              4670 MCWILLIE DR                                          JACKSON             MS   39206‐5621
MCLEMORE, JOHN D                  PO BOX 43210                                                                              KEMP                TX   75143‐8502
MCLEMORE, JOHNIE F                5820 NEWT PATTERSON RD                                                                    MANSFIELD           TX   76063‐6152
MCLEMORE, JUANITA                 1817 ADAMS AVE                                                                            FLINT               MI   48505‐5035
MCLEMORE, KADARIUS O              1204 CEDAR BEND DR                                                                        GRAND BLANC         MI   48439‐3405
MCLEMORE, KENNETH R               10068 GUSTIN RIDER RD                                                                     BLANCHESTER         OH   45107‐8341
MCLEMORE, LARRY                   3434 PINE GROVE AVE                                                                       SAINT LOUIS         MO   63121‐5442
MCLEMORE, LELDON L                702 JAMES ST APT E                                                                        BRIDGEPORT          WV   26330‐2701
MCLEMORE, LINDA K                 23375 M 82                                                                                HOWARD CITY         MI   49329‐9734
MCLEMORE, LINDA W                 5440 NORTHFORD ROAD                                                                       TROTWOOD            OH   45426‐1106
MCLEMORE, MARIETTA F              4618 SAINT JOHNS AVE                                                                      DAYTON              OH   45406‐2333
MCLEMORE, MARYANN                 4025 S IRISH RD                                                                           DAVISON             MI   48423‐8627
MCLEMORE, OZZIE J                 1950 ARLINGTON AVE                                                                        SAINT LOUIS         MO   63112‐4368
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Name                       Address1                              Address2                        Address3                     Address4                City             State Zip
MCLEMORE, RAYMOND T        29487 8TH AVE E                                                                                                            ARDMORE           AL 35739‐8049
MCLEMORE, RICHARD D        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                          NORFOLK           VA 23510‐2212
                                                                 STREET, SUITE 600
MCLEMORE, RICKEY B         PO BOX 244                                                                                                                 RINGGOLD         LA    71068‐0244
MCLEMORE, ROBYN J          6808 SNOWMASS ST                                                                                                           SHREVEPORT       LA    71119‐7522
MCLEMORE, ROBYN JEROME     6808 SNOWMASS ST                                                                                                           SHREVEPORT       LA    71119‐7522
MCLEMORE, THOMAS NEIL      42389 WHITTLER TRL                                                                                                         NOVI             MI    48377‐2849
MCLEMORE, TIMOTHY S        901 NORDALE AVE                                                                                                            DAYTON           OH    45420
MCLEMORE, WILLIAM A        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                          NORFOLK          VA    23510‐2212
                                                                 STREET, SUITE 600
MCLEMORE, WILLIAM S        1441 CUTLER ST                                                                                                             BURTON           MI    48509‐2116
MCLENAGHAN, JAMIE I        APT 2                                 500 CHASE DRIVE                                                                      CLARENDON HLS    IL    60514‐1765
MCLENCON WILLIAM           2137 GUNSTOCK DR                                                                                                           STONE MOUNTAIN   GA    30087‐1613
MCLENDON SR., JAMES L      6216 WOODCREST AVE                                                                                                         BALTIMORE        MD    21209‐3935
MCLENDON JOE (446263)      BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD       OH    44067
                                                                 PROFESSIONAL BLDG
MCLENDON SR., JAMES L      6216 WOODCREST AVE                                                                                                         BALTIMORE        MD    21209‐3935
MCLENDON, ANNETTE          1511 LAWRENCE ST                                                                                                           RAHWAY           NJ    07065‐5131
MCLENDON, CLAUDETTE E      15246 PROMENADE ST                                                                                                         DETROIT          MI    48224‐2839
MCLENDON, DEBORAH G        1402 LANSDOWNE BLVD                                                                                                        YOUNGSTOWN       OH    44505‐3669
MCLENDON, DEBRA M          2611 SANDBRIDGE CT                                                                                                         GLADWIN          MI    48624‐9137
MCLENDON, DONALD           1312 KITMORE RD                                                                                                            BALTIMORE        MD    21239‐3408
MCLENDON, FRANCES L        5604 RICHLAND DR                                                                                                           DOUGLASVILLE     GA    30135‐2453
MCLENDON, GEORGE A         1150 MAIN AVE SW                                                                                                           WARREN           OH    44483‐6512
MCLENDON, HERMAN E         320 MAYCLAIR ST. C‐50‐14                                                                                                   HUDSON           NC    28638
MCLENDON, JESSICA A        2184 CHRISTNER STREET                                                                                                      BURTON           MI    48519‐1064
MCLENDON, JOHN W           PO BOX 26813                                                                                                               BALTIMORE        MD    21212‐0813
MCLENDON, THOMAS G         4537 IVY CT                                                                                                                CLARKSTON        MI    48348‐1437
MCLENNAN COUNTY            PO BOX 406                             TAX COLLECTOR                                                                       WACO             TX    76703‐0406
MCLENNAN COUNTY            ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 406                     TAX COLLECTOR                                        WACO             TX    76703‐0406

MCLENNAN COUNTY            DIANE W. SANDERS                      LINEBARGER GOGGAN BLAIR &       1949 SOUTH I.H. 35 (78741)   P.O. BOX 17428          AUSTIN            TX   78741
                                                                 SAMPSON, LLP
MCLENNAN COUNTY TAX A/C    PO BOX 406                                                                                                                 WACO             TX    76703‐0406
MCLENNAN JR, JAMES L       60101 QUEEN MARY CT                                                                                                        BRANDON          MS    39042‐2728
MCLENNAN PIERCE (490901)   WEITZ & LUXENBERG                     180 MAIDEN LANE                                                                      NEW YORK         NY    10038
MCLENNAN, CHRISTINE        2201 ERNIE MARTIN RD                                                                                                       UTICA            MS    39175
MCLENNAN, DOUGLAS D        3523 E BEARD RD                                                                                                            MORRICE          MI    48857‐9732
MCLENNAN, OLA M            6720 PLANTATION RD                                                                                                         FOREST HILL      TX    76140‐1222
MCLENNAN, OLA MARIE        6720 PLANTATION RD                                                                                                         FOREST HILL      TX    76140‐1222
MCLENNAN, PIERCE           WEITZ & LUXENBERG                     180 MAIDEN LANE                                                                      NEW YORK         NY    10038
MCLEOD CHARLES (491233)    BEVAN & ASSOCIATES                    10360 NORTHFIELD ROAD , BEVAN                                                        NORTHFIELD       OH    44067
                                                                 PROFESSIONAL BLDG
MCLEOD CLERMONT            ATTN: DAVID GARDINER                  1447 WOODROFFE AVE                                           OTTAWA, ONTARIO K2G
                                                                                                                              1W1
MCLEOD FARMS INC           2673 E 1300 NORTH RD                                                                                                       ASSUMPTION       IL    62510‐8018
MCLEOD GERALD              1558 MONREO ST                                                                                                             CARLETON         MI    48117
MCLEOD JON RICHARD         13635 HYDE RD                                                                                                              HARTLAND         MI    48353‐3217
MCLEOD JR, FRANCIS L       12243 KIMBERLY RD                                                                                                          LOMA RICA        CA    95901‐8703
MCLEOD MIKE                20243‐44A AVE                                                                                      LANGLEY CANADA BC V3A
                                                                                                                              6N2 CANADA
MCLEOD NANCY               PO BOX 2832                                                                                                                ROCK SPRINGS     WY 82902‐2832
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Name                          Address1                            Address2           Address3    Address4         City                State Zip
MCLEOD NEWTON, ESTHER         C/O LAW OFFICES OF ROHN & CAMERON   1101 KING ST                                    CHRISTIANSTED         VI 00820
                              LLC
MCLEOD SR, TERRY R            PO BOX 102                                                                          FREDERIC            MI   49733‐0102
MCLEOD USA                    4444 BRISTOL PL                                                                     FLINT               MI   48507
MCLEOD USA ‐ PAETEC COMPANY   LUANNE MILLER                       PO BOX 3177                                     CEDAR RAPIDS        IA   52406‐3177
MCLEOD USA TECHNOLOGY PARK    6400 C ST SW                        TECHNOLOGY PARK                                 CEDAR RAPIDS        IA   52404‐7463
MCLEOD, AILEEN E              9 CALLE HISTELLA                    PUNTA LAS MARIAS                                SANTURCE            PR   00913‐4709
MCLEOD, ANGELINA B            103 WEST WALNUT STREET                                                              FARMERSVILLE        OH   45325‐1041
MCLEOD, ARLEN                 552 OAKHURST ST                                                                     ALTAMONTE SPG       FL   32701‐7944
MCLEOD, BEATRICE F            40217 WILLIAM DRIVE                                                                 STERLING HEIG       MI   48313‐4074
MCLEOD, BOBETTE S             1183 STONEHENGE RD                                                                  FLINT               MI   48532‐3225
MCLEOD, CALVIN D              6480 N NORTH LAKE RD                                                                MAYVILLE            MI   48744‐9609
MCLEOD, CAROL L               PO BOX 265                                                                          OTISVILLE           MI   48463‐0265
MCLEOD, CAROLYN A             507 S SUNSET LN                                                                     RAYMORE             MO   64083‐9235
MCLEOD, CHARLES G             6794 DIXIE HWY                                                                      BRIDGEPORT          MI   48722‐9701
MCLEOD, CLAUDINE M            2173 S CENTER RD #212                                                               BURTON              MI   48519‐1808
MCLEOD, CURTIS                9366 STOEPEL ST                                                                     DETROIT             MI   48204‐2808
MCLEOD, DALE L                3416 CHALMERS RD                                                                    SAGINAW             MI   48601‐7124
MCLEOD, DANIEL E              PO BOX 265                                                                          OTISVILLE           MI   48463‐0265
MCLEOD, DARLYS B              4486 PARKMAN RD NW                                                                  WARREN              OH   44481‐9173
MCLEOD, DAVID B               18025 TYDINGS RD                                                                    JUSTIN              TX   76247‐8706
MCLEOD, DONALD J              PO BOX 374                                                                          NEAPOLIS            OH   43547‐0374
MCLEOD, DONALD L              96 BRADENS WAY                                                                      SOMERSET            KY   42503‐3515
MCLEOD, DONALD N              1749 S DURAND RD                                                                    LENNON              MI   48449‐9675
MCLEOD, EDWARD F              4533 NANTUCKET DR                                                                   YOUNGSTOWN          OH   44515‐4444
MCLEOD, EVELYN                3716 BUCKINGHAM AVE                                                                 DETROIT             MI   48224‐3535
MCLEOD, FRANKLIN D            4874 WESCHESTER DR                  APT 6                                           YOUNGSTOWN          OH   44515
MCLEOD, FRANKLIN D            10691 WALES LOOP                                                                    BONITA SPS          FL   34135‐6685
MCLEOD, FREDERICK G.          8445 CARTER AVE                                                                     ALLEN PARK          MI   48101‐1520
MCLEOD, GAIL B                14879 GARFIELD AVE                                                                  ALLEN PARK          MI   48101‐2117
MCLEOD, GERALD E              1558 MONROE ST APT 3                                                                CARLETON            MI   48117‐9286
MCLEOD, GLADYS E              2612 JULIANNE DRIVE                                                                 SAGINAW             MI   48603‐3029
MCLEOD, HOSEA                 PO BOX 300433                                                                       KANSAS CITY         MO   64130‐0433
MCLEOD, IDA L                 6088 BERRYWOOD DR N                                                                 SAGINAW             MI   48603‐1081
MCLEOD, JACK R                PO BOX 740653                                                                       TUSCUMBIA           AL   35674
MCLEOD, JAMES E               2612 JULIANNE DR                                                                    SAGINAW             MI   48603‐3029
MCLEOD, JAMES E               65 ASHTON PL                                                                        COVINGTON           GA   30016‐8017
MCLEOD, JAMES M               4025 YELLOW PINE CT                                                                 MCDONOUGH           GA   30252‐1003
MCLEOD, JAMES W               3665 BRINKMORE RD                                                                   CLEVELAND HEIGHTS   OH   44121‐1370
MCLEOD, JANET K               8300 W HERBISON RD                                                                  EAGLE               MI   48822‐9789
MCLEOD, JEFF D                955 LEXINGTON DR                                                                    DUNEDIN             FL   34698
MCLEOD, JEFFREY G             1300 BUCKINGHAM AVE                                                                 BIRMINGHAM          MI   48009‐5879
MCLEOD, JOHN M                58 ENOLA AVE APT 2                                                                  KENMORE             NY   14217‐1708
MCLEOD, KEITH O               4843 S AINGER RD                                                                    CHARLOTTE           MI   48813‐8543
MCLEOD, KENNETH W             734 BUTTERCUP AVENUE                                                                VANDALIA            OH   45377‐5377
MCLEOD, KEVIN D               PO BOX 16                                                                           POTTERVILLE         MI   48876‐0016
MCLEOD, LAURA N               6290 DUNHAM RD                                                                      MAPLE HEIGHTS       OH   44137‐4782
MCLEOD, LAVON                 791 LIDO                                                                            ROCHESTER HILLS     MI   48307‐6803
MCLEOD, LYNELL                1606 E RIVER COVE ST                                                                TAMPA               FL   33604
MCLEOD, MARILYN               1421 MIDDLEWOOD DR                                                                  SALINE              MI   48176‐1277
MCLEOD, MARILYN A             14950 FAIRFIELD ST APT 19                                                           LIVONIA             MI   48154‐3065
MCLEOD, MEGAN
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Name                        Address1                         Address2                         Address3   Address4         City               State Zip
MCLEOD, MICHAEL J           3708 BIG TREE RD                                                                              HAMBURG             NY 14075‐1276
MCLEOD, MICHELLE M          10151 WOOD WORK LANE                                                                          LAS VEGAS           NV 89135‐2310
MCLEOD, NANCY               108 CAZENOVIA ST                                                                              BUFFALO             NY 14220‐1707
MCLEOD, NANCY L             3308 RISDALE ST                                                                               LANSING             MI 48911‐2674
MCLEOD, NANCY L             3308 RISDALE AVE                                                                              LANSING             MI 48911‐2674
MCLEOD, NETTIE              10346 HIGHWAY 9                                                                               MOUNTAIN VIEW       AR 72560‐7313
MCLEOD, NORMAN J            5380 WYNDEMERE SQ                                                                             SWARTZ CREEK        MI 48473‐8905
MCLEOD, NORMAN JAMES        5380 WYNDEMERE SQ                                                                             SWARTZ CREEK        MI 48473‐8905
MCLEOD, PATRICK J           8285 WHITNEY RD                                                                               GAINES              MI 48436‐9723
MCLEOD, PATRICK W           685 S LA POSADA CIR UNIT 1504                                                                 GREEN VALLEY        AZ 85614‐5133
MCLEOD, PAUL                220 W BROADWAY ST                                                                             WOODLAND            MI 48897‐9798
MCLEOD, PAUL C              2881 VICTORIA LN                                                                              CHARLOTTE           MI 48813‐8552
MCLEOD, RANDY L             6219 N MCKINLEY RD                                                                            FLUSHING            MI 48433‐1166
MCLEOD, RAYMOND J           5274 HADLEY RD                                                                                GOODRICH            MI 48438‐9640
MCLEOD, ROBERT R            108 CAZENOVIA ST                                                                              BUFFALO             NY 14220‐1707
MCLEOD, ROBERTA             135A E FRANKLIN ST                                                                            WOODLAND            MI 48897‐9761
MCLEOD, RODERICK J          6700 SW 16TH ST                                                                               PLANTATION          FL 33317‐5148
MCLEOD, ROSEMARY F          469 LAUREL LAKE CIRCLE                                                                        MADISONVILLE        TN 37354
MCLEOD, RUTH R              10123 TOPSAIL AVE                                                                             ENGLEWOOD           FL 34224‐8056
MCLEOD, RUTH W              8237 SMITH ROAD                                                                               GAINES              MI 48436‐9732
MCLEOD, RUTH W              8237 SMITH RD                                                                                 GAINES              MI 48436‐9732
MCLEOD, SHARON J            679 KINGWOOD ST                  PO.BOX 2615                                                  FLORENCE            OR 97439
MCLEOD, THEOTIE B           PO BOX 2761                                                                                   COLUMBUS            MS 39704‐2761
MCLEOD, THOMAS W            6815 HIGHWAY 100 W                                                                            PLEASANTVILLE       TN 37033‐1864
MCLEOD, TIMOTHY J           G 6009 FOUNTAIN POINTE           BLD 3 APT 7                                                  GRAND BLANC         MI 48439
MCLEOD, VIRGINIA L.         471 E SAN PEDRO AVE                                                                           GILBERT             AZ 85234‐3442
MCLEOD, WILLIAM A           2625 LOLA CT                                                                                  SHREVEPORT          LA 71118‐2661
MCLEOD, WILLIAM ALEXANDER   2625 LOLA CT                                                                                  SHREVEPORT          LA 71118‐2661
MCLEODUSA                   PO BOX 3243                                                                                   MILWAUKEE           WI 53201‐3243
MCLERNON, KATHLEEN M        10675 EMWOOD CT                                                                               WHITE LAKE          MI 48386‐2177
MCLEROY, JACOB T            55 NEDA CIR                                                                                   WALTERBORO          SC 29488
MCLEROY, ROBERT A           709 WILLINGTON DR                                                                             ARLINGTON           TX 76018‐5122
MCLERRAN JR, TOMMY K        PO BOX 532                                                                                    WASKOM              TX 75692‐0532
MCLERRAN, GAYLORD K         2065 S.W. EAST 89TH ST                                                                        MUSTANG             OK 73064
MCLEWEE, HELEN L            4420 FORGE RD                                                                                 PERRY HALL          MD 21128‐9514
MCLEWEE, HELEN L            4420 FORGE ROAD                                                                               PERRYHALL           MD 21128‐9514
MCLIMANS, JACK A            2613 OREGON TRAIL R 3                                                                         JANESVILLE          WI 53546
MCLIMANS, JERRY             8725 GLENROCK DR                                                                              NEW HAVEN           IN 46774‐1820
MCLIMANS, JERRY S           10701 FIRESTONE CT                                                                            NORTH FORT MYERS    FL 33903‐6630
MCLIMORE, HENRY S           10549 COPPERGATE                                                                              CARMEL              IN 46032‐8261
MCLIN JR, WESLEY            121 MCLIN PL                                                                                  FLORENCE            MS 39073‐7810
MCLIN, BOBBY R              10027 LUCAS FERRY RD                                                                          TANNER              AL 35671‐3404
MCLIN, CAROLYN L            PO BOX 397                                                                                    TANNER              AL 35671‐0397
MCLIN, CLARENCE J           3506 HALLS CREEK RD                                                                           MORROW              OH 45152‐9611
MCLIN, DANNY
MCLIN, DOROTHY S            5509 DECKARD DR.                                                                              JACKSON            MS   39209‐9209
MCLIN, EARNESTINE           495 MCLIN CIRCLE                                                                              FLORENCE           MS   39073‐9073
MCLIN, EARNESTINE           495 MCLIN CIR                                                                                 FLORENCE           MS   39073‐7939
MCLIN, HARRY                1703 BROOKMEADE AVE                                                                           ATHENS             AL   35611‐4083
MCLIN, J B                  ROUTE #1 BOX 15                                                                               TANNER             AL   35671
MCLIN, JAMES F              PO BOX 397                                                                                    TANNER             AL   35671‐0397
MCLIN, JEANNETTE            SKAGGS JOHN H                    405 CAPITOL STREET ‐ SUITE 607                               CHARLESTON         WV   25301
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Name                         Address1                        Address2                        Address3   Address4         City            State Zip
MCLIN, JOHNNIE P             3902 RYAN DRIVE SOUTHWEST                                                                   DECATUR          AL 35603‐4869
MCLIN, JOYCE A               PO BOX 1425                                                                                 ATHENS           AL 35612‐6425
MCLIN, MARIA                 121 MCLIN PL                                                                                FLORENCE         MS 39073‐7810
MCLIN, MICHAEL R             BOSTON BATES & HOLT             PO BOX 357                                                  LAWRENCEBURG     TN 38464‐0357
MCLIN, RANDOLPH              117 ROYAL DR APT 2906                                                                       MADISON          AL 35758
MCLIN, REGINALD T            8607 S WINCHESTER AVE                                                                       CHICAGO           IL 60620‐6012
MCLIN, RUTH I                965B HERITAGE VLG                                                                           SOUTHBURY        CT 06488‐5352
MCLIN, WESLEY                276 MCCULLOUGH MCLIN RD                                                                     FLORENCE         MS 39073‐7927
MCLINCHA, RILEY P            11229 N BRAY RD                                                                             CLIO             MI 48420‐7955
MCLINCHA, ROY S              1461 FORREST DR                                                                             ROSE CITY        MI 48654‐9515
MCLINTOCK PETER (446267)     KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND        OH 44114
                                                             BOND COURT BUILDING
MCLINTOCK PETER (446268)     KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND       OH 44114
                                                             BOND COURT BUILDING
MCLINTOCK, PETER             KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND       OH 44114
                                                             BOND COURT BUILDING
MCLLWAIN CARISSA             MCLLWAIN, CARISSA               828 NE 11TH AVE 9                                           GRAND RAPIDS    MN   55744
MCLLWAIN, CARISSA            828 NE 11TH AVE 9                                                                           GRAND RAPIDS    MN   55744
MCLLWAIN, CARISSA            36579 STONE RD                                                                              NASHWAUK        MN   55769‐4035
MCLLWAIN, DOUGLAS            PORTER & MALOUF PA              4670 MCWILLIE DR                                            JACKSON         MS   39206‐5621
MCLOCHLIN, JAMES P           365 LONGWOOD DR                                                                             VENICE          FL   34285‐5640
MCLOCHLIN, JUDY M            365 LONGWOOD DR                                                                             VENICE          FL   34285‐5640
MCLOED, RICHARD N            9085 E 600 N                                                                                BROWNSBURG      IN   46112
MCLOGAN, DONALD C            502 FREMONT ST                                                                              FLINT           MI   48504‐4508
MCLONE, MARGARET L           1420 PERRY RD APT 6‐3                                                                       GRAND BLANC     MI   48439
MCLONE, ROGER T              5437 HUBBARD DR                                                                             FLINT           MI   48506‐1153
MCLOSKEY, DANIEL E           590 CRESTMOOR CIR                                                                           OXFORD          MI   48371‐4868
MCLOSKY, CLYDE E             2524 S KERBY RD                                                                             CORUNNA         MI   48817‐9510
MCLOSKY, CURTIS A            108 S KERBY RD                                                                              CORUNNA         MI   48817‐9767
MCLOSKY, MICHAEL R           722 CENTER ST                                                                               OWOSSO          MI   48867‐1414
MCLOUD CLARENCE O (360440)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA   23510
                                                             STREET, SUITE 600
MCLOUD, CLARENCE O           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK         VA 23510‐2212
                                                             STREET, SUITE 600
MCLOUGHLIN JR, JOSEPH        PO BOX 1104                                                                                 RAINIER         WA   98576
MCLOUGHLIN, JAMES            1836 JALISCO RD                                                                             EL CAJON        CA   92019‐3744
MCLOUGHLIN, RICHARD          8530 LANIERLAND FARMS DR                                                                    GAINESVILLE     GA   30506‐6724
MCLOUGHLIN, RITA L           130 MORNINGSIDE DR APT 6B                                                                   NEW YORK        NY   10027‐6006
MCLOUTH, ALLAN R             172 LEHN SPRINGS DR                                                                         WILLIAMSVILLE   NY   14221‐6921
MCLOUTH, ELEANOR             1825 E OLD KOKOMO RD                                                                        MARION          IN   46953‐6111
MCLOUTH, HAROLD L            5419 N STATE RD                                                                             DAVISON         MI   48423‐8596
MCLOVELY BROWN               2336 WHITTIER ST                                                                            SAGINAW         MI   48601‐2449
MCLOWELL JOHNSON             3616 CANDY LN                                                                               KOKOMO          IN   46902‐4416
MCLUCAS, JAMES M             418 CHALMERS ST                                                                             FLINT           MI   48503‐2264
MCM ELECTRONICS              2582 E RIVER RD                                                                             MORAINE         OH   45439‐1514
MCM IND CO INC               25825 SCIENCE PARK DR STE 260                                                               BEACHWOOD       OH   44122‐7392
MCM LEARNING INC             28502 HAYES RD                                                                              ROSEVILLE       MI   48066‐2314
MCM LEARNING INC             29900 LORRAINE                  SUITE 350B                                                  WARREN          MI   48093
MCM LEARNING INC             29900 LORRAINE AVE STE 350                                                                  WARREN          MI   48093‐5269
MCM LEARNING INC.            29900 LORRAINE                  SUITE 350B                                                  WARREN          MI   48093
MCM MANAGEMENT CORP          35980 WOODWARD AVE              STE 210                                                     BLOOMFIELD      MI   48304‐0934
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Name                       Address1                             Address2                        Address3   Address4         City               State Zip
MCM MANAGEMENT CORP        ATTN: CORPORATE OFFICER/AUTHORIZED   35980 WOODWARD AVE STE 210                                  BLOOMFIELD HILLS    MI 48304‐0934
                           AGENT
MCM MANAGEMENT CORP        35980 WOODWARD AVE STE 210                                                                       BLOOMFIELD HILLS   MI 48304‐0934
MCM MANAGEMENT CORP        C/O DON W BLEVINS ESQ, MCALPINE &    3201 UNIVERSITY DRIVE STE 100                               AUBURN HILLS       MI 48326
                           ASSOCIATES PC
MCM RIGGING SERVICES LLC   G3328 KLEINPELL ST                                                                               BURTON             MI   48529‐1441
MCMACKEN WILLIAM W         940 MONROE AVE NW APT 420                                                                        GRAND RAPIDS       MI   49503‐1463
MCMACKEN, KIMBERLY A       463 GLENWAY ST                                                                                   BRIGHTON           MI   48116‐1154
MCMACKEN, KIMBERLY ANN     463 GLENWAY ST                                                                                   BRIGHTON           MI   48116‐1154
MCMACKEN, NANCY            205 PROSPECT ST                                                                                  HOWELL             MI   48843‐1434
MCMACKIN, DAVID C          423 N ARNOLDA AVE                                                                                INDIANAPOLIS       IN   46222‐4929
MCMAHAN ALEXANDER          2313 N SPURGEON ST                                                                               SANTA ANA          CA   92706‐2057
MCMAHAN JR, KENNETH B      133 IMPERIAL CT APT 1F                                                                           VANDALIA           OH   45377‐2036
MCMAHAN JR, LESTER P       227 NIGHT CAP LN                                                                                 SALEM              SC   29676‐4041
MCMAHAN, CAROL E           383 STEWART AVE NW                                                                               WARREN             OH   44483‐2135
MCMAHAN, CHARLES L         124 ABRAMS ST                                                                                    SILVERSTREET       SC   29145‐8906
MCMAHAN, CHERYL A          5380 BROBECK ST                                                                                  FLINT              MI   48532‐4003
MCMAHAN, CHERYL ANN        5380 BROBECK ST                                                                                  FLINT              MI   48532‐4003
MCMAHAN, CINDY S           18702 JOERLING LN                                                                                MARTHASVILLE       MO   63357‐2578
MCMAHAN, CYNTHIA A         PO BOX 23                                                                                        YORKTOWN           IN   47396‐0023
MCMAHAN, DENNIS W          PO BOX 12                                                                                        SILVERSTREET       SC   29145‐0012
MCMAHAN, DOROTHY A         4542 TANGELO DR                                                                                  ZEPHYRHILLS        FL   33541‐2162
MCMAHAN, DOROTHY W         3627 LAUREL LN                                                                                   ANDERSON           IN   46011‐3033
MCMAHAN, EARL F            2131 WESTWOOD DR                                                                                 MARION             IN   46952‐3213
MCMAHAN, ELAINE F          5738 W SPLENDOR VALLEY DR                                                                        JANESVILLE         WI   53548‐8733
MCMAHAN, EMERY M           527 RUTH CR\                                                                                     WEST MELBOURNE     FL   32904‐2904
MCMAHAN, EMERY M           527 RUTH CIR                                                                                     WEST MELBOURNE     FL   32904‐5762
MCMAHAN, GARY M            5738 W SPLENDOR VALLEY DR                                                                        JANESVILLE         WI   53548‐8733
MCMAHAN, GARY MICHAEL      5738 W SPLENDOR VALLEY DR                                                                        JANESVILLE         WI   53548‐8733
MCMAHAN, GORDON            212 PIPERS LN                                                                                    MOUNT MORRIS       MI   48458‐8906
MCMAHAN, JERRY             26714 DELTON ST                                                                                  MADISON HTS        MI   48071‐3642
MCMAHAN, JOE K             4836 WALMAR RD                                                                                   BARNHART           MO   63012‐1713
MCMAHAN, JUDY A            9104 CHELMSFORD DR                                                                               SWARTZ CREEK       MI   48473‐1118
MCMAHAN, KAREN A           527 RUTH CIRCLE                                                                                  MELBOURNE          FL   32904‐5762
MCMAHAN, KATHRYN B         230 DOVER ST                                                                                     DAYTON             OH   45410‐1943
MCMAHAN, KATHRYN B         230 DOVER STREET                                                                                 DAYTON             OH   45410‐1943
MCMAHAN, KENNETH M.        5423 LOWER HUNTINGTON ROAD                                                                       FORT WAYNE         IN   46809‐9620
MCMAHAN, LARRY W           18702 JOERLING LN                                                                                MARTHASVILLE       MO   63357‐2578
MCMAHAN, LEE A             11058 SPRUCEWOOD LN N                                                                            CHAMPLIN           MN   55316
MCMAHAN, LLOYD D           5797 BROAD BLVD                                                                                  N RIDGEVILLE       OH   44039‐2211
MCMAHAN, MARGARET A        2868 SIMPSON DR                                                                                  ROCHESTER HILLS    MI   48309‐4317
MCMAHAN, MARK E            2318 HIGHLAND RD                                                                                 ANDERSON           IN   46012‐1922
MCMAHAN, MATTHEW C         9345 GOLFCREST CIR                                                                               DAVISON            MI   48423‐8370
MCMAHAN, NANCY H           4316 HEATHROW DR                                                                                 ANDERSON           IN   46013‐4428
MCMAHAN, ROBERT B          775 HICKORY HEIGHTS DR                                                                           BLOOMFIELD HILLS   MI   48304‐3121
MCMAHAN, ROBERT R          2404 WATAUGA RD                                                                                  FRANKLIN           NC   28734‐2336
MCMAHAN, RODNEY E          3274 GARFIELD AVE                                                                                LAKE               MI   48632‐9121
MCMAHAN, RODNEY E          1065 BIRCHWOOD DR                                                                                TROY               MI   48083‐1805
MCMAHAN, ROGER L           819 MASON BLVD                                                                                   MARION             IN   46953‐1643
MCMAHAN, RONALD G          6231 SHAD WAY                                                                                    POLLOCK PINES      CA   95726‐9408
MCMAHAN, WILLIAM D         22885 HAROLD ST                                                                                  ATHENS             AL   35613‐5845
MCMAHEL, ALBERT J          6853 TYLER ST                                                                                    MERRILLVILLE       IN   46410‐3337
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Name                            Address1                          Address2                          Address3   Address4         City               State Zip
MCMAHEN, JOHN G                 301 HONEYSUCKLE CT                                                                              RED OAK             TX 75154‐4246
MCMAHILL, TIMOTHY J             3611 GLENWOOD AVE                                                                               WICHITA FALLS       TX 76308‐2217
MCMAHON ARTHUR (632841)         COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                               CHICAGO              IL 60602
                                                                  FLOOR
MCMAHON CHEVROLET, BUICK,       32 VT ROUTE 15 E                                                                                MORRISVILLE        VT    05661‐8586
OLDSMOBIL
MCMAHON CHEVROLET, BUICK,       32 VT ROUTE 15 E                                                                                MORRISVILLE        VT    05661‐8586
OLDSMOBILE
MCMAHON GEORGE J (463708)       EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                       NEW YORK           NY    10017‐6530
MCMAHON HELICOPTER SERV INC     EXECUTIVE HELIPORT BLDG           8351 RONDA DR                                                 CANTON             MI    48187‐2079
MCMAHON III, JAMES P            7377 9 MILE POINTE DR                                                                           CHARLEVOIX         MI    49720‐9364
MCMAHON JR, JOHN T              1340 BIELBY ST                                                                                  WATERFORD          MI    48328‐1306
MCMAHON JR, PATRICK D           35309 EDEN PARK DR                                                                              STERLING HEIGHTS   MI    48312‐3834
MCMAHON JR, WALTER T            46314 HOLLOWOODE LN                                                                             MACOMB             MI    48044‐4643
MCMAHON KATHRYN (431481)        THALER STEVEN                     115 BROADWAY FRNT 3                                           NEW YORK           NY    10006‐1638
MCMAHON KATHRYN (431481) ‐      THALER STEVEN                     115 BROADWAY FRNT 3                                           NEW YORK           NY    10006‐1638
MCMAHON GERALD
MCMAHON MARY                    1105 FEARRINGTON POST                                                                           PITTSBORO          NC    27312
MCMAHON PONTIAC‐GMC, INC.       3295 S KINGSHIGHWAY BLVD                                                                        SAINT LOUIS        MO    63139‐1113
MCMAHON PONTIAC‐GMC, INC.       WILLIAM SCHICKER                  3295 S KINGSHIGHWAY BLVD                                      SAINT LOUIS        MO    63139‐1113
MCMAHON WILLIAM J (ESTATE OF)   WEITZ & LUXENBERG                 180 MAIDEN LANE                                               NEW YORK           NY    10038
(511082)
MCMAHON, ARTHUR                 COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                CHICAGO             IL   60602
                                                                  FLOOR
MCMAHON, BETTY E                112 ILLINOIS AVENUE                                                                             DAYTON             OH    45410‐2034
MCMAHON, BRIAN J                3481 W SCHIMMER DR                                                                              GRAND ISLAND       NE    68803‐9680
MCMAHON, BRYAN R                650 E PREDA DR                                                                                  WATERFORD          MI    48328‐2025
MCMAHON, CHARLEEN M             1493 STATION RD                                                                                 VALLEY CITY        OH    44280‐9505
MCMAHON, CHARLENE               8023 OLD CENTREVILLE RD                                                                         MANASSAS           VA    20111
MCMAHON, CHARLES T              5200 HAMPDEN AVE                                                                                ROCKVALE           TN    37153‐4490
MCMAHON, CHIQUITA               1445 BRYN MAWR DR                                                                               DAYTON             OH    45406‐5902
MCMAHON, CORA L                 20217 MEYERS RD                                                                                 DETROIT            MI    48235‐1185
MCMAHON, DANIEL J               33 N MAIN ST APT 2E                                                                             LOMBARD            IL    60148‐2357
MCMAHON, DANIEL R               80 COUNTRY GREEN DR                                                                             AUSTINTOWN         OH    44515‐2236
MCMAHON, DANIEL ROBERT          80 COUNTRY GREEN DR                                                                             AUSTINTOWN         OH    44515‐2236
MCMAHON, DAVID F                10077 STATE HIGHWAY 37                                                                          OGDENSBURG         NY    13669‐4116
MCMAHON, DAVID W                2425 ROLLING BROAK DR                                                                           ORLANDO            FL    32837‐7453
MCMAHON, DENISE E               18643 HARBORSIDE DR                                                                             CORNELIUS          NC    28031‐8794
MCMAHON, DENISE ELAINE          18643 HARBORSIDE DR                                                                             CORNELIUS          NC    28031‐8794
MCMAHON, EDWARD T               1025 CRYSTAL WOOD DRIVE                                                                         DAVISON            MI    48423‐3404
MCMAHON, ELIZABETH A            4841 EVERETT HULL RD                                                                            CORTLAND           OH    44410‐9774
MCMAHON, ETHEL L                1843 SOUTH 14TH STREET                                                                          KANSAS CITY        KS    66103‐1013
MCMAHON, EVERETT W              7696 FM 9 S                                                                                     WASKOM             TX    75692‐6422
MCMAHON, EVERETT WAYNE          7696 FM 9 S                                                                                     WASKOM             TX    75692‐6422
MCMAHON, FRANK B                1424 RIDLEY DR                                                                                  FRANKLIN           TN    37064‐9614
MCMAHON, FRANKLIN L             243 DURST DR NW                                                                                 WARREN             OH    44483‐1164
MCMAHON, FREDERICK J            WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                               NEW YORK           NY    10038
MCMAHON, GARY H                 1218 STATE ROUTE 95                                                                             BOMBAY             NY    12914
MCMAHON, GARY L                 4184 US HWY 36TH E                                                                              BAINBRIDGE         IN    46105
MCMAHON, GEORGE J               EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                       NEW YORK           NY    10017‐6530
MCMAHON, GERALD                 THALER STEVEN                     115 BROADWAY FRNT 3                                           NEW YORK           NY    10006‐1638
MCMAHON, HOWARD D               1341 STILLWATER LN                                                                              DAYTON             OH    45415‐2637
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Name                        Address1                           Address2                      Address3   Address4         City               State Zip
MCMAHON, HUGH E             W6001 APPLE LN                                                                               FORT ATKINSON       WI 53538‐8741
MCMAHON, HUGH J             124 UNION ST                                                                                 MALONE              NY 12953‐1123
MCMAHON, J. MICHAEL         4060 WESTLAKE ROAD                                                                           CORTLAND            OH 44410‐9224
MCMAHON, JAYME A            3219 STEELE RD                                                                               KANSAS CITY         KS 66106‐4263
MCMAHON, JOHN A             2210 ALPHA DR                                                                                DANVILLE             IL 61832‐8454
MCMAHON, JOHN J             9 LAVERDURE CIR                                                                              FRAMINGHAM          MA 01701‐4043
MCMAHON, JOHN J             801 REGENCY RESERVE CIR APT 4303                                                             NAPLES              FL 34119‐2330
MCMAHON, JOHN R             9921 STATE HIGHWAY 37                                                                        OGDENSBURG          NY 13669‐4121
MCMAHON, JOSEPH A           2171 N IVA RD                                                                                HEMLOCK             MI 48626‐9678
MCMAHON, JOSEPH JENNINGS    10380 GIBBS RD                                                                               CLARKSTON           MI 48348‐1518
MCMAHON, JOSEPH P           9440 CRYSTAL SPRING DR                                                                       FORT WAYNE          IN 46804‐6514
MCMAHON, JOYCE M            347 N SAGINAW STREET                                                                         MONTROSE            MI 48457
MCMAHON, KARL               10309 TUMBLEWEED BOULEVARD                                                                   FORT WAYNE          IN 46825‐2629
MCMAHON, KATHLEEN S         C/O HOLDENS                        PO BOX 9022                                               WARREN              MI 48090‐9022
MCMAHON, KATHLEEN SIMONYI   5772 INDEPENDENCE LN                                                                         WEST BLOOMFIELD     MI 48322‐1847
MCMAHON, KATHRYN            THALER STEVEN                      115 BROADWAY FRNT 3                                       NEW YORK            NY 10006‐1638
MCMAHON, KAY J              13214 EXETER RD                                                                              CARLETON            MI 48117‐9721
MCMAHON, KENNETH M          4128 HADLEY RD                                                                               METAMORA            MI 48455‐9746
MCMAHON, KEVIN P            2104 SOMERVILLE                                                                              ROCHESTER HILLS     MI 48307‐4291
MCMAHON, KIRK S             12981 RIVIERA CT                                                                             SOUTH LYON          MI 48178‐8870
MCMAHON, LEE M              5218 FERNWOOD AVE                                                                            FORT WAYNE          IN 46809‐1932
MCMAHON, LEO DALE           ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                               SOUTHFIELD          MI 48075‐3727
MCMAHON, LINDA              1563 STANLEY BLVD                                                                            BIRMINGHAM          MI 48009‐4151
MCMAHON, MARILYN K          23708 MATTS DR                                                                               BROWNSTOWN          MI 48174‐9660
MCMAHON, MARTIN S           5 TIBBETTS AVE                                                                               DANVERS             MA 01923‐3913
MCMAHON, MARTIN S           83 EUSTIS ST                                                                                 REVERE              MA 02151‐3113
MCMAHON, MARY E             7696 FM 9 S                                                                                  WASKOM              TX 75692‐6422
MCMAHON, MARY ELLEN         7696 FM 9 S                                                                                  WASKOM              TX 75692‐6422
MCMAHON, MARY V             347 RARITAN RD                                                                               LINDEN              NJ 07036‐5136
MCMAHON, MARY V             347 RARITAN ROAD                                                                             LINDEN              NJ 07036‐5136
MCMAHON, MICHAEL R          5718 LILY LN                                                                                 DAYTON              OH 45414‐3001
MCMAHON, NANCY              833 RIVER BEND DR                                                                            ROCHESTER HILLS     MI 48307‐2729
MCMAHON, NEIL F             23708 MATTS DR                                                                               BROWNSTOWN          MI 48174‐9660
MCMAHON, ORVAL A            314 SOUTH SIMONS ST.                                                                         CADILLAC            MI 49601
MCMAHON, PATRICIA A         6128 S MAIN ST                                                                               CLARKSTON           MI 48346‐2363
MCMAHON, PATRICK H          7125 WINSLET BLVD APT 1C                                                                     INDIANAPOLIS        IN 46217‐9473
MCMAHON, PETER L            PO BOX 391                                                                                   CASTALIA            OH 44824‐0391
MCMAHON, PHOEBE M           431 MAPLE TREE DR #FF302                                                                     ALTOONA             FL 32702
MCMAHON, RICHARD            6541 CLEARBROOK DR                                                                           SAINT HELEN         MI 48656‐9547
MCMAHON, RICHARD R          172 LAKESHORE VIS                                                                            HOWELL              MI 48843‐7561
MCMAHON, RONALD L           18643 HARBORSIDE DR 36                                                                       CORNELIUS           NC 28031
MCMAHON, ROY C              1210 STATE ROUTE 95                                                                          BOMBAY              NY 12914‐2408
MCMAHON, ROY CLIFFORD       1210 STATE ROUTE 95                                                                          BOMBAY              NY 12914‐2408
MCMAHON, SANDRA             243 DURST DR NW                                                                              WARREN              OH 44483‐1164
MCMAHON, SELMA M            5001 N 115TH ST                                                                              KANSAS CITY         KS 66109‐2904
MCMAHON, SHIRLEY A          4060 WESTLAKE RD                                                                             CORTLAND            OH 44410‐9224
MCMAHON, THOMAS F           217 S RUSSELL ST                                                                             DURAND              MI 48429‐1727
MCMAHON, THOMAS F           69 MOUNT AIRY RD E                                                                           CROTON ON HUDSON    NY 10520‐3409
MCMAHON, THOMAS FRANCIS     217 S RUSSELL ST                                                                             DURAND              MI 48429‐1727
MCMAHON, THOMAS P           5772 INDEPENDENCE LN                                                                         WEST BLOOMFIELD     MI 48322‐1847
MCMAHON, TIMOTHY J          112 AUSTELL DR                                                                               COLUMBIA            TN 38401‐5528
MCMAHON, TIMOTHY J          5361 S CHAPIN RD                                                                             MERRILL             MI 48637‐9788
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Name                       Address1                          Address2                           Address3   Address4         City                 State Zip
MCMAHON, VICKIE A          1725 E GRAUWYLER RD APT 133                                                                      IRVING                TX 75061
MCMAHON, WAYNE R           1210 HANCOCK ST 1                                                                                SAGINAW               MI 48602
MCMAHON, WILLIAM           777A QUINNIPIAC LANE                                                                             STRATFORD             CT 06614‐8391
MCMAHON, WILLIAM F         167 RAINBOW DR PMB 6763                                                                          LIVINGSTON            TX 77399‐1067
MCMAHON, WILLIAM J         WEITZ & LUXENBERG                 180 MAIDEN LANE                                                NEW YORK              NY 10038
MCMAHON‐JONES, SALLY M     45766 TOURNAMENT DR                                                                              NORTHVILLE            MI 48168‐9631
MCMAIN, ALMA               6500 N.W. 128TH STREET                                                                           KANSAS CITY           MO 64164‐1033
MCMAIN, ALMA               6500 NW 128TH ST                                                                                 KANSAS CITY           MO 64164‐1033
MCMAIN, JACK W             PO BOX 6346                                                                                      KOKOMO                IN 46904‐6346
MCMAKEN, ALICE J.          606 E WALNUT ST                                                                                  COVINGTON             OH 45318‐1648
MCMALL, DONALD E           5939 WEISS ST APT R7                                                                             SAGINAW               MI 48603‐2719
MCMAN, DONALD E            3830 JANES RD                                                                                    SAGINAW               MI 48601‐9603
MCMAN, MICHAEL A           13276 NICHOLS RD                                                                                 BURT                  MI 48417‐9434
MCMANAMA, CAROLYN          263 ARMSTRONG AVE                                                                                FLUSHING              MI 48433‐9314
MCMANAMA, JAMES N          1620 W US 30 APT 1                                                                               COLUMBIA CITY         IN 46725
MCMANAMA, JAMES NICHOLAS   1620 W US 30 APT 1                                                                               COLUMBIA CITY         IN 46725
MCMANAMA, MADONNA J        1083 MAPLEKREST DR                                                                               FLINT                 MI 48532‐2229
MCMANAMA, RICHARD P        1033 DEVONSHIRE RD                                                                               GROSSE POINTE PARK    MI 48230‐1416
MCMANAMA, ROBERT L         605 E SEMINARY ST                                                                                GREENCASTLE           IN 46135‐1746
MCMANAMAN, BENJAMINA V     7077 RIVERTOWN RD                                                                                SWARTZ CREEK          MI 48473‐8806
MCMANAMAN, DALE W          616 CHURCH ST BOX 116                                                                            SWEETSER              IN 46987
MCMANAMAN, FRANCIS T       12 MITCHELL AVE                                                                                  SOUTH RIVER           NJ 08882‐2445
MCMANAMAN, PATRICK E       809 GARDENIA BLVD                                                                                DAVISON               MI 48423‐1250
MCMANAMON JAMES JR         MCMANAMON, JAMES H                1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND             OH 44115
                                                             FL
MCMANAMON JAMES JR         MCMANAMON, KERRY                  1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND            OH 44115
                                                             FL
MCMANAMON, JAMES           26142 RUSTIC LN                                                                                  WESTLAKE             OH 44145‐5418
MCMANAMON, JAMES           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND            OH 44115
                           GAROFOLI                          FL
MCMANAMON, JAMES H         CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND            OH 44115
                           GAROFOLI                          FL
MCMANAMON, KERRY           CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND            OH 44115
                           GAROFOLI                          FL
MCMANAMON, KERRY           26142 RUSTIC LN                                                                                  WESTLAKE             OH   44145‐5418
MCMANAMON, MICHAEL T       122 LADY SLIPPER LN                                                                              ROSCOMMON            MI   48653‐8117
MCMANAMON, THOMAS P        1608 JAMIE DR                                                                                    COLUMBIA             TN   38401‐5432
MCMANAWAY, ANTHONY W       710 GREENWALD ST                                                                                 DAYTON               OH   45410‐3005
MCMANAWAY, MARK A          6802 WOOD ST                                                                                     BROOKFIELD           OH   44403‐9527
MCMANAWAY, MILDRED L       66 BROAD ST                                                                                      GLOUSTER             OH   45732‐1132
MCMANAWAY, MILDRED L       66 BROAD ST.                                                                                     GLOUSTER             OH   45732‐1132
MCMANAWAY, RALPH P         6495 OHARRA RD                                                                                   GALLOWAY             OH   43119‐9660
MCMANES, THOMAS            1466 SIOUX DR.                                                                                   XENIA                OH   45385‐4235
MCMANES, THOMAS            1466 SIOUX DR                                                                                    XENIA                OH   45385‐4235
MCMANIGAL, ARTHUR W        2084 W COUNTY ROAD 1100 N                                                                        ROACHDALE            IN   46172‐9319
MCMANIGELL, CLIFFORD S     1117 OAKLAND DR                                                                                  ANDERSON             IN   46012‐4535
MCMANIGLE, PAUL E          4973 ESCARPMENT DR                                                                               LOCKPORT             NY   14094‐9748
MCMANIMON & SCOTLAND       ONE RIVERFRONT PLAZA 4TH FL                                                                      NEWARK               NJ   07102
MCMANIOUS, JANIE D         13331 BLACK MEADOW RD                                                                            SPOTSYLVANIA         VA   22553‐4142
MCMANIS, BILLY C           4840 STATE ROUTE 61                                                                              MOUNT GILEAD         OH   43338‐9784
MCMANIS, DAVID E           25037 ROUND BARN RD                                                                              PLAINFIELD           IL   60585‐7493
MCMANIS, JAMES V           1313 QUARRY RD                                                                                   CALEDONIA            NY   14423‐9727
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Name                               Address1                         Address2                          Address3   Address4         City                     State Zip
MCMANN, ANNA BELLE                 3186 MOORE STREET                                                                              MARLETTE                  MI 48453‐1319
MCMANN, DAVID                      9206B RHODE ISLAND DR                                                                          OSCODA                    MI 48750‐1929
MCMANN, DUANE E                    1523 W RIDGEVIEW DR                                                                            LAPEER                    MI 48446‐1482
MCMANN, HAROLD D                   11107 N JENNINGS RD                                                                            CLIO                      MI 48420‐1539
MCMANN, JEFFERY A                  560 GROVENBURG RD                                                                              MASON                     MI 48854‐9576
MCMANN, JUDY                       7915 S KENTUCKY AVE                                                                            CAMBY                     IN 46113‐9167
MCMANN, KENNETH A                  4313 ARROWROCK AVE                                                                             DAYTON                    OH 45424‐5003
MCMANN, KIMBERLY E                 2830 SHERBOURNE DRIVE                                                                          TROY                      MI 48083‐2652
MCMANN, KIMBERLY ERIN              2830 SHERBOURNE DRIVE                                                                          TROY                      MI 48083‐2652
MCMANN, LINDA M                    560 GROVENBURG RD                                                                              MASON                     MI 48854‐9576
MCMANN, MICHELLE M                 7193 MANDRAKE DR                                                                               HUBER HEIGHTS             OH 45424‐3134
MCMANN, NORMA                      PO BOX 136                                                                                     CLIFFORD                  MI 48727‐0136
MCMANN, PATTY J                    1673 HEIGHTS SCHOOL RD                                                                         PAMPLIN                   VA 23958‐3139
MCMANN, RENAE B                    2507 ESTATES LANE                                                                              GRANTS PASS               OR 97527‐6395
MCMANN, RENAE B                    2507 ESTATES LN                                                                                GRANTS PASS               OR 97527‐6395
MCMANN, ROBERT L                   109 SPRUCE ST                                                                                  BAY CITY                  MI 48706‐3880
MCMANN, SAMUEL G                   4313 ARROWROCK AVE                                                                             DAYTON                    OH 45424‐5003
MCMANN, SAMUEL G                   5965 CURRY FORD RD               301                                                           ORLANDO                   FL 32822
MCMANN, VIRGINIA L                 4494 BELSAY RD                                                                                 GRAND BLANC               MI 48439‐9120
MCMANNIS DIANNA                    PO BOX 1081                                                                                    BIG PINEY                 WY 83113
MCMANNIS, GERONIA F                5304 S 100 W                                                                                   ATLANTA                   IN 46031‐9372
MCMANUS ANDREW                     192 EARLE FRANKLIN DR                                                                          HAMLET                    NC 28345‐9317
MCMANUS DOUGLAS (494676)           MOTLEY RICE                      312 SOUTH MAIN STREET ‐ P O BOX                               PROVIDENCE                 RI 02940
                                                                    6067, SUITE 402
MCMANUS DOUGLAS R (505487)         MOTLEY RICE                      1750 JACKSON ST                                               BARNWELL                 SC 29812‐1546
MCMANUS EDWARD J (355028)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK                  VA 23510
                                                                    STREET, SUITE 600
MCMANUS MICHAEL T (ESTATE OF)      COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                               CHICAGO                   IL   60602
(641769)                                                            FLOOR
MCMANUS VERL E (626652)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK                  VA 23510
                                                                    STREET, SUITE 600
MCMANUS WILTON (ESTATE OF) (660915) BRAYTON PURCELL                 PO BOX 6169                                                   NOVATO                   CA 94948‐6169

MCMANUS, BOBBY D                   2400 COUNTY ROAD 56                                                                            WEDOWEE                  AL    36278‐7604
MCMANUS, CHERYL E                  67100 SISSON ST                                                                                WASHINGTON               MI    48095‐1355
MCMANUS, CHERYL E                  67100 SISSON                                                                                   ROMEO                    MI    48095‐1355
MCMANUS, CRAIG E                   9 HIAWATHA TRL                                                                                 SPENCERPORT              NY    14559‐2007
MCMANUS, DARLENE                   6227 ORCHARD LANE                                                                              FORT WAYNE               IN    46809‐2230
MCMANUS, DAVID W                   18548 DELIGHT ST                                                                               CANYON CNTRY             CA    91351‐2909
MCMANUS, DENNIS C                  5424 5 POINT HWY                                                                               EATON RAPIDS             MI    48827‐9030
MCMANUS, DONALD J                  171 SQUIRREL LN                                                                                RUTLEDGE                 TN    37861‐4829
MCMANUS, DOUGLAS M                 10424 OAKWOOD DR                                                                               BYRON                    MI    48418‐9026
MCMANUS, DOUGLAS R                 MOTLEY RICE                      1750 JACKSON ST                                               BARNWELL                 SC    29812‐1546
MCMANUS, DOUGLAS R                 MOTLEY RICE                      321 S MAIN ST STE 200                                         PROVIDENCE               RI    02903‐7109
MCMANUS, EDITH I                   2618 SW 47TH TER                                                                               CAPE CORAL               FL    33914‐6186
MCMANUS, EDWARD J                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK                  VA    23510‐2212
                                                                    STREET, SUITE 600
MCMANUS, ERIN J                    11 KATHARINA PL                                                                                TOWNSHIP OF WASHINGTON    NJ   07676‐4125

MCMANUS, HERBERT K                 2854 COUNTY ROAD 27                                                                            WOODLAND                  AL   36280‐7018
MCMANUS, HUGH                      BOONE ALEXANDRA                  205 LINDA DR                                                  DAINGERFIELD              TX   75638‐2107
MCMANUS, IRA B                     2879 HIGHWAY 160 W #4309                                                                       FORT MILL                 SC   29708‐8581
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Name                             Address1                           Address2                         Address3   Address4                 City            State Zip
MCMANUS, IRA B                   636 W 600 N                                                                                             HARTFORD CITY    IN 47348‐9220
MCMANUS, JAMES D                 8787 E MOUNTAIN VIEW RD            APT 1074                                                             SCOTTSDALE       AZ 85258‐1459
MCMANUS, JAMES J                 17118 AZALEA CT                                                                                         ROCKWOOD         MI 48173‐8779
MCMANUS, JAMES JOHN              17118 AZALEA CT                                                                                         ROCKWOOD         MI 48173‐8779
MCMANUS, JEREMY W                6433 FAUST DR                                                                                           SHREVEPORT       LA 71129‐4309
MCMANUS, JO ANNE                 6574 LONGWORTH DR                                                                                       WATERFORD        MI 48329‐1341
MCMANUS, JOAN F.                 13536 W SPRING MEADOW DR                                                                                SUN CITY WEST    AZ 85375‐3709
MCMANUS, JOHN E                  15 W PARK RD                                                                                            GRAND ISLAND     NY 14072‐2241
MCMANUS, JOSEPH M                23031 PIKE 319                                                                                          BOWLING GREEN    MO 63334
MCMANUS, LARRY E                 1001 MELWOOD DR NE                                                                                      WARREN           OH 44483‐4445
MCMANUS, LEO J                   4412 MORRISH RD                                                                                         SWARTZ CREEK     MI 48473‐1323
MCMANUS, LORENE                  317 E PROSPECT                                                                                          LAFOLLETTE       TN 37766‐2449
MCMANUS, MARY A                  1220 BROADACRE AVE                                                                                      CLAWSON          MI 48017‐1438
MCMANUS, MICHAEL S               215 COLONY BLVD                                                                                         GEORGETOWN       KY 40324
MCMANUS, MICHAEL T               COONEY & CONWAY                    120 NORTH LASALLE STREET, 30TH                                       CHICAGO           IL 60602
                                                                    FLOOR
MCMANUS, PATRICIA L              11547 BROADVIEW ST                                                                                      HARTLAND        MI   48353‐3408
MCMANUS, PHYLIS J                2720 WHISPER GLEN CT                                                                                    ORLANDO         FL   32837‐7317
MCMANUS, RALPH E                 2625 W NESTEL RD                                                                                        PRUDENVILLE     MI   48651‐9662
MCMANUS, RICHARD K               6122 WILLOWBROOK DR                                                                                     SAGINAW         MI   48638
MCMANUS, ROBERT                  660 N PARK AVE                                                                                          WARREN          OH   44483
MCMANUS, RUSSELL W               7128 THUMA RD                                                                                           EATON RAPIDS    MI   48827‐9552
MCMANUS, SOPHIE J                1293 SMITHVILLE RD.                                                                                     BORDENTOWN      NJ   08505
MCMANUS, THOMAS H                2720 WHISPER GLEN CT                                                                                    ORLANDO         FL   32837‐7317
MCMANUS, TOMMY J                 3548 SWEETGRASS AVE                                                                                     SIMI VALLEY     CA   93065‐0563
MCMANUS, VERL E                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510‐2212
                                                                    STREET, SUITE 600
MCMANUS, WILTON                  BRAYTON PURCELL                    PO BOX 6169                                                          NOVATO          CA   94948‐6169
MCMARTIN, GEORGE N               1422 E 30TH AVE                                                                                         APACHE JCT      AZ   85219‐9551
MCMASTER CAR/CHICAGO             PO BOX 4355                                                                                             CHICAGO         IL   60680‐4355
MCMASTER CAR/NW BRUN             PO BOX 440                                                                                              NEW BRUNSWICK   NJ   08903‐0440
MCMASTER CARR SUPPLY CO          PO BOX 5370                                                                                             PRINCETON       NJ   08543‐5370
MCMASTER JEROME A (ESTATE OF)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
(467028)                                                            STREET, SUITE 600
MCMASTER JR, WILLIAM R           505 COLUMBIA AVE                                                                                        PITMAN          NJ 08071‐1733
MCMASTER KEN                     SUNRISE DEVELOPMENT COMPANY        10800 BROOKPARK RD                                                   CLEVELAND       OH 44130‐1119
MCMASTER SCHOOL OF ENGINEERING   ITB 106 MCMASTER UNIVERSITY        1280 MAIN ST W                              HAMILTON ON L8S 4K1
PRACTICE                                                                                                        CANADA
MCMASTER SR, LLOYD E             232 W. PEARL ST BOX 316                                                                                 OVID            MI 48866
MCMASTER UNIVERSITY              ATTN: DEAN                         ‐1280 MAIN ST W                             HAMILTON ON L8S 4L7
                                                                                                                CANADA
MCMASTER UNIVERSITY              OFFICE OF RESEARCH CONTRACTS AND   128 MAIN ST WEST                            HAMILTON ON L8S 4L7
                                 INTELLECTUALPROPERTY                                                           CANADA
MCMASTER UNIVERSITY              LABOUR STUDIES PROGRAM KTH ROOM    ‐1280 MAIN ST W                             HAMILTON ON L8S 4M4
                                 702                                                                            CANADA
MCMASTER UNIVERSITY
MCMASTER UNIVERSITY              ‐1280 MAIN ST W                                                                HAMILTON ON L8S 4L7
                                                                                                                CANADA
MCMASTER UNIVERSITY FINANCIAL    1280 MAIN STREET WEST                                                          HAMILTON CANADA ON L8S
SERVICES                                                                                                        4L8 CANADA
MCMASTER, ALLEN L                13882 RIVERWOOD DR                                                                                      STERLING HTS    MI 48312‐5665
MCMASTER, BRUCE E                5165 CAMBRIA RD                                                                                         SANBORN         NY 14132‐9412
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Name                         Address1                         Address2                         Address3         Address4         City            State Zip
MCMASTER, CHARLES R          PO BOX 279                                                                                          HILLER           PA 15444‐0279
MCMASTER, DANIEL O           3531 PADDOCK CT                                                                                     FORT WAYNE       IN 46804‐3976
MCMASTER, DAVID L            1351 W BUNKERHILL RD                                                                                MOORESVILLE      IN 46158‐6819
MCMASTER, E M                11415 S DRAKE AVE                                                                                   CHICAGO           IL 60655‐3518
MCMASTER, JEFFERY W          6271 OSTRUM RD                                                                                      BELDING          MI 48809‐9503
MCMASTER, JEFFERY WILLARD    6271 OSTRUM RD                                                                                      BELDING          MI 48809‐9503
MCMASTER, JEROME A           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
MCMASTER, KENNETH E          1267 WESTCLIFF COURT APT D.                                                                         DAYTON          OH   45409‐1161
MCMASTER, MILTON E           2360 W TRASK LAKE RD                                                                                BARTON CITY     MI   48705‐9710
MCMASTER, ROBERT M           122 DRU LN                                                                                          LUGOFF          SC   29078‐8727
MCMASTER, THOMAS A           256 HANNAH MAC ROAD                                                                                 STALEY          NC   27355‐9182
MCMASTER, THOMAS C           325 EDGEWATER PINES DR SW                                                                           WARREN          OH   44481‐9677
MCMASTER‐CARR SUPPLY CO      PO BOX 4355                                                                                         CHICAGO         IL   60680
MCMASTERS DAVID G (491651)   BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                                     DALLAS          TX   75219
MCMASTERS KOSS CO            4224 NORMANDY CT                                                                                    ROYAL OAK       MI   48073‐2263
MCMASTERS KOSS COMPANY       JOHN SCOTT                       4224 NORMANDY COURT                                                MURFREESBORO    TN   37130
MCMASTERS, CATHY A           23421 COUNTY ROAD 3 DR                                                                              STONEWALL       OK   74871
MCMASTERS, DANIEL G          929 SALEM RD                                                                                        MINOR HILL      TN   38473‐5054
MCMASTERS, DAVID
MCMASTERS, DAVID G           BARON & BUDD                     3102 OAK LANE AVE, SUITE 1100                                      DALLAS          TX   75219
MCMASTERS, DAVID J           9507 WHIPPOORWILL RD                                                                                DIAMOND         OH   44412‐9779
MCMASTERS, GERALD E          PO BOX 524                                                                                          CATLIN          IL   61817‐0524
MCMASTERS, GLORIA M          1022 S PLATE ST                                                                                     KOKOMO          IN   46902‐1860
MCMASTERS, IVAN F            1404 W LOVERS LN                                                                                    ARLINGTON       TX   76013‐3715
MCMASTERS, KIMBERLY C        1072 POWELL WRIGHT RD                                                                               MARIETTA        GA   30066‐6463
MCMASTERS, SHIRLEY P         1329 WINSTON RD                                                                                     CLEVELAND       OH   44121‐2515
MCMASTERS, SHIRLEY P         1329 WINSTON ROAD                                                                                   CLEVELAND       OH   44121‐2515
MCMASTERS, ZELMA             4483 WHITE OAK CIR                                                                                  KISSIMMEE       FL   34746‐5836
MCMATH, CATRECE              1990 OLD ALABAMA RD                                                                                 AUSTELL         GA   30168‐4940
MCMATH, CHARLES J            844 W PARK AVE                                                                                      HUBBARD         OH   44425‐1564
MCMATH, DOLORES S            1824 SEASIDE RD SW                                                                                  SUNSET BEACH    NC   28468‐4274
MCMEANS, ALVIN J             6057 W 200 N                                                                                        ANDREWS         IN   46702‐9432
MCMEANS, ANN H               143 STOCKBRIDGE AVENUE                                                                              BUFFALO         NY   14215‐1521
MCMEANS, BEN                 2743 WINCHESTER AVE                                                                                 MARTINSBURG     WV   25405
MCMEANS, DWIGHT G            13755 ZEHNER RD                                                                                     ATHENS          AL   35611‐7631
MCMEANS, FRONNIE L           106 FORD RD                                                                                         ALBION          MI   49224‐1178
MCMEANS, GARY L              212 WINSLOW DR                                                                                      ATHENS          AL   35613‐2722
MCMEANS, SAMUEL E            25720 HUNTER GATES RD                                                                               LESTER          AL   35647‐3118
MCMECHAN, ADA M              662 DARWIN ST                                                                                       WESTLAND        MI   48186‐4506
MCMEEKEN ERNEST E (429432)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA   23510
                                                              STREET, SUITE 600
MCMEEKEN, ERNEST E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510‐2212
                                                              STREET, SUITE 600
MCMEEKIN, JACK R             5200 BRITTANY DR S APT 1007                                                                         ST PETERSBURG   FL   33715‐1547
MCMEEKIN, RICHARD L          7026 CLAIRBORNE CT                                                                                  SHAWNEE         KS   66217‐9532
MCMEEN, DAVID R              667 CARTERS CREEK PIKE                                                                              COLUMBIA        TN   38401‐7247
MCMEKIN, CAROL A             41 MOUNT BETHEL RD                                                                                  PORT MURRAY     NJ   07865‐4145
MCMEKIN, CAROL A             41 MT BETHEL RD                                                                                     PORT MURRAY     NJ   07865
MCMELLEN DAVID               MCMELLEN, DAVID                  CNA CLAIMS RECOVERY              P O BOX 740152                    ATLANTA         GA   30374‐0152
                                                              DEPARTMENT
MCMELLEN, DAVID              CNA CLAIMS RECOVERY DEPARTMENT   PO BOX 740152                                                      ATLANTA         GA 30374
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MCMELLEN, DAVID
MCMELLEN, SAMUEL L               3419 POOR HOUSE RD                                                                              MARTINSBURG     WV    25403‐5937
MCMELLON, PAMELA C               3 MAGNOLIA AVE                                                                                  WEST HAVEN      CT    06516
MCMENAMIN HAL                    2880 LA CONCHA DR                                                                               CLEARWATER      FL    33762‐2203
MCMENAMIN, MICHAEL J             615 COLCHESTER CT                                                                               MIDDLETOWN      DE    19709‐2139
MCMENEMY, FRANCIS X              35 LAURIER ST                                                                                   WORCESTER       MA    01603‐1332
MCMICAN, STEPHEN G               2971 WILSON AVE                                                                                 PINCKNEY        MI    48169‐9228
MCMICHAEL JR, CHARLES M          213 BOXWOOD LN                                                                                  WESTMINSTER     SC    29693‐6403
MCMICHAEL ROLAND N SR (660207)   CICONTE ROSEMAN & WASSERMAN           1300 N KING ST                                            WILMINGTON      DE    19801‐3220
MCMICHAEL ROLAND N SR/JUDY       ICO THE LANIER LAW FIRM P C           6810 FM 1960 WEST                                         HOUSTON         TX    77069
MCMICHAEL
MCMICHAEL, ALICE M               10445 W LENNON RD                                                                               LENNON          MI    48449‐9312
MCMICHAEL, ALICE M               10445 E LENNON RD                                                                               LENNON          MI    48449‐9623
MCMICHAEL, ANNIE L               805 LEVANS RD                                                                                   BREMEN          GA    30110
MCMICHAEL, BILL                  548 BROADWAY                                                                                    MONTICELLO      NY    12701‐1154
MCMICHAEL, BRADLEY R             2020 MOROCCO RD                                                                                 IDA             MI    48140‐9531
MCMICHAEL, COLLEEN B             1921 CUBA RD                                                                                    WILMINGTON      OH    45177‐9768
MCMICHAEL, DAVID                 212 SYCAMORE DR                                                                                 NAPERVILLE      IL    60540‐7533
MCMICHAEL, DONALD E              610 LARWILL ST                                                                                  CRESTLINE       OH    44827‐1724
MCMICHAEL, DOUGLAS K             6588 LAKE FOREST DR                                                                             AVON            IN    46123‐7405
MCMICHAEL, GARY O                11378 N LEWIS RD                                                                                CLIO            MI    48420‐7919
MCMICHAEL, JAMES R               1025A WINGED FOOT CT                                                                            CHESAPEAKE      VA    23320‐9482
MCMICHAEL, JOYCE N               PO BOX 20                                                                                       LAKEVIEW        MI    48850‐0020
MCMICHAEL, KEIANA L              14105 SALEM                                                                                     REDFORD         MI    48239
MCMICHAEL, LEAH R                4608 N COUNTY ROAD 400 E                                                                        CENTERPOINT     IN    47840‐8106
MCMICHAEL, LEAH R                4608 N. COUNTY RD 400 E.                                                                        CENTER POINT    IN    47840‐8106
MCMICHAEL, LINDA L               12105 FERDEN RD                                                                                 OAKLEY          MI    48649‐9722
MCMICHAEL, MATTHEW R             7457 AFFELDT ST                                                                                 WESTLAND        MI    48185‐2624
MCMICHAEL, MICHAEL R             7401 SOUTH COWAN ROAD                                                                           MUNCIE          IN    47302‐9199
MCMICHAEL, MILDRED M             1012 MURTLAND RD.                                                                               LYNCHBURG       OH    45142‐5142
MCMICHAEL, ROBERT O              612 E 11TH ST                                                                                   RUSHVILLE       IN    46173‐1319
MCMICHAEL, ROLAND N              CICONTE ROSEMAN & WASSERMAN           1300 N KING ST                                            WILMINGTON      DE    19801‐3220
MCMICHAEL, ROLAND W              209 MAPLEWOOD CT UNIT 14                                                                        SOUTH LYON      MI    48178‐1863
MCMICHAEL, RONALD G              PO BOX 20                                                                                       LAKEVIEW        MI    48850‐0020
MCMICHAEL, SHARON D              5 SADDLEBROOK WAY                                                                               SENOIA          GA    30276‐2995
MCMICHAEL, SHAWNTE L             26237 OAKCREST RD                                                                               SOUTHFIELD      MI    48076‐4731
MCMICHAEL, TAMARA S              19754 MAPLE HEIGHTS BLVD                                                                        MAPLE HEIGHTS   OH    44137‐1863
MCMICHAEL, TERESA R              273 BIG STATION CAMP BLVD APT 21102                                                             GALLATIN        TN    37066‐6669

MCMICHAEL, TERESA R              1001 OAK RIDGE CT                                                                               ANTIOCH         TN    37013‐1882
MCMICHAEL, THOMAS                1001 OAK RIDGE CT                                                                               ANTIOCH         TN    37013‐1882
MCMICHAEL, WALTER R              3796 N 450 W                                                                                    RUSHVILLE       IN    46173‐7528
MCMICHAEL, WANDA LEE             2848 VINELAND TRL                                                                               BEAVERCREEK     OH    45430‐1823
MCMICHAEL, WAVERLY               702 RIDGEDALE DR                                                                                SPARTANBURG     SC    29306‐4050
MCMICHEAL, JACQUELINE D          313 E PIERSON RD                                                                                FLINT           MI    48505‐3311
MCMICHEL, ROBERT L               5311 STAUGHTON DR                                                                               INDIANAPOLIS    IN    46226‐2255
MCMICKLE, VIRGINIA B             1005 MOOSE LODGE RD                                                                             LEXINGTON       TN    38351‐6728
MCMILIAN, TERRY D                1810 S PEARL ST                                                                                 INDEPENDENCE    MO    64055‐1436
MCMILIN, ARTHUR J                100 DELAWARE AVE                                                                                NEW CASTLE      DE    19720
MCMILLAN ARCHIBALD C (429433)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA    23510
                                                                       STREET, SUITE 600
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Name                            Address1                           Address2                        Address3                 Address4              City               State Zip
MCMILLAN BINCH                  STE 3800 SOUTH TOWER               ROYAL BANK PLAZA                                         TORONTO ONT CANADA ON
                                                                                                                            M5J 2J7 CANADA
MCMILLAN BINCH MENDELSOHN       BCE PLACE                          BCE PLACE STE 4400 9/16         BAY WELLINGTON TWR 181   TORONTO CANADA ON M5J
                                                                                                   BAY ST                   2T3 CANADA
MCMILLAN BURTON H (356485)      GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK             VA 23510
                                                                   STREET, SUITE 600
MCMILLAN CARRIE                 6556 SOUTH FLOWER STREET                                                                                         LITTLETON            CO    80123‐3352
MCMILLAN DANIEL JR (456560)     BILMS KEVIN P                      430 CRAWFORD ST STE 202                                                       PORTSMOUTH           VA    23704‐3813
MCMILLAN DONALD J               6938 ELLINWOOD DR                                                                                                WHITE LAKE           MI    48383‐3043
MCMILLAN DOOLITTLE LLP          350 W HUBBARD ST STE 240                                                                                         CHICAGO               IL   60654‐6972
MCMILLAN DUNCAN S JR (439324)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK              VA    23510
                                                                   STREET, SUITE 600
MCMILLAN DYGLIESHA SHANTAY      MCMILLAN, DYGLIESHA SHANTAY        5473 BLAIR RD STE 200                                                         DALLAS              TX 75231‐4168
MCMILLAN EDWARD J               PO BOX 771                                                                                                       FOREST HILL         MD 21050‐0771
MCMILLAN JAMES (491234)         BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD          OH 44067
                                                                   PROFESSIONAL BLDG
MCMILLAN JOHN W (402465)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK              VA 23510
                                                                   STREET, SUITE 600
MCMILLAN JR, CHARLES            440 S 10TH ST                                                                                                    SAGINAW             MI     48601‐1943
MCMILLAN JR, JAMES L            7028 HILLSBORO RD                                                                                                BONNE TERRE         MO     63628‐3489
MCMILLAN JR, PAUL D             10890 CANOE BRANCH RD                                                                                            CASTALIAN SPRINGS   TN     37031‐5555
MCMILLAN JR, WILLIAM W          15921 AMORE ST                                                                                                   CLINTON TWP         MI     48038‐2510
MCMILLAN JR, WILLIE G           7840 COUNTRY VIEW LN                                                                                             BROOKVILLE          OH     45309‐8267
MCMILLAN JR., DAVID             4951 BURNLEY DR                                                                                                  BLOOMFIELD HILLS    MI     48304‐3624
MCMILLAN JUAN                   5815 SWEDE AVE                                                                                                   MIDLAND             MI     48642‐7145
MCMILLAN MARILYN                MCMILLAN, MARILYN                  5428 HIGH RIDGE RD                                                            YPSILANTI           MI     48197
MCMILLAN MICHAEL                5019 DEER CREEK CIR N                                                                                            WASHINGTON          MI     48094‐4209
MCMILLAN RICHARD                550 W TEXAS AVE STE 945                                                                                          MIDLAND             TX     79701‐4233
MCMILLAN ROBERT M (ESTATE OF)   KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                                 CLEVELAND           OH     44114
(461177)                                                           BOND COURT BUILDING
MCMILLAN SR, JAMES              1612 CONGRESS AVE                  #2                                                                            SAGINAW              MI 48602‐5101
MCMILLAN STEVEN                 MCMILLAN, STEVEN                   445 BUSH STREET 6TH FLOOR ,                                                   SAN FRANCISCO        CA 94108
                                                                   PACIFIC STATES BUILDING
MCMILLAN STEVEN                 MCMILLAN, YVETTE L                 445 BUSH STREET 6TH FLOOR ,                                                   SAN FRANCISCO        CA 94108
                                                                   PACIFIC STATES BUILDING
MCMILLAN, ALFRED                C/O GORI JULIAN & ASSOCIATES P C   156 N MAIN ST                                                                 EDWARDSVILLE         IL    62025
MCMILLAN, ALICE M               8823 GOODALE AVE APT 1                                                                                           UTICA                MI    48317‐5798
MCMILLAN, ANDREW                1139 W WHITTEMORE AVE                                                                                            FLINT                MI    48507‐3643
MCMILLAN, ANNA M                15 SWEET WILLIAM WAY                                                                                             LANGHORNE            PA    19047‐3408
MCMILLAN, ANNIE V               203 S 25TH ST                                                                                                    SAGINAW              MI    48601‐6307
MCMILLAN, ANTHONY J             1490 MARIA ST                                                                                                    FLINT                MI    48507‐5528
MCMILLAN, ARCHIBALD C           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK              VA    23510
                                                                   STREET, SUITE 600
MCMILLAN, BELINDA K             6565 W MIAMI SHELBY RD                                                                                           PIQUA               OH     45356‐9656
MCMILLAN, BELINDA K             6565 WEST MIAMI SHELBY ROAD                                                                                      PIQUA               OH     45356‐9656
MCMILLAN, BETTY L               1130 OLD SCHUYLKILL RD                                                                                           POTTSTOWN           PA     19465‐7946
MCMILLAN, BILLY R               PO BOX 4792                                                                                                      TYLER               TX     75712‐4792
MCMILLAN, BRIAN SCOTT           104 DEN DRIVE                                                                                                    PARK CITY           KY     42160‐7553
MCMILLAN, BURTON H              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA     23510
                                                                   STREET, SUITE 600
MCMILLAN, CAMILLE F             5731 REVETON RD                                                                                                  W BLOOMFIELD         MI 48322‐1356
MCMILLAN, CARLTON C             2312 CHATFIELD DR                                                                                                LAS VEGAS            NV 89128‐6865
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Name                          Address1                         Address2                      Address3   Address4         City                   State Zip
MCMILLAN, CAROLINE            1410 MALLARD COVE                APT 4203                                                  CINCINNATI              OH 45246‐000
MCMILLAN, CARRIE V            6556 SOUTH FLOWER STREET                                                                   LITTLETON               CO 80123‐3352
MCMILLAN, CHARLES E           PO BOX 193                                                                                 PARK CITY               KY 42160‐0193
MCMILLAN, CHARLES EDWARD      PO BOX 193                                                                                 PARK CITY               KY 42160‐0193
MCMILLAN, CORNELIUS           11 ELEANOR DR                                                                              LINCOLN UNIV            PA 19352‐9330
MCMILLAN, CORNELL             300 W LAFAYETTE ST                                                                         WEST CHESTER            PA 19380‐2206
MCMILLAN, DANIEL              BILMS KEVIN P                    430 CRAWFORD ST STE 202                                   PORTSMOUTH              VA 23704‐3813
MCMILLAN, DIANE M             PO BOX 226                                                                                 HUBBARDSTON             MI 48845‐0226
MCMILLAN, DON E               19377 SAINT MARYS ST                                                                       DETROIT                 MI 48235‐2324
MCMILLAN, DONALD B            1191 SIM GOODWIN RD SW                                                                     MC DONALD               TN 37353‐5436
MCMILLAN, DONALD C            238 MC DUFFIE LN                                                                           FORT MILL               SC 29715‐8355
MCMILLAN, DONALD J            6938 ELLINWOOD DR                                                                          WHITE LAKE              MI 48383‐3043
MCMILLAN, DORIS E             8351 PINE LAKE DRIVE                                                                       DAVISBURG               MI 48350‐2048
MCMILLAN, DOUG R              6567 GLENVIEW DR APT 203                                                                   NORTH RICHLAND HILLS    TX 76180
MCMILLAN, DR DONALD J         6938 ELLINWOOD DR                                                                          WHITE LAKE              MI 48383‐3043
MCMILLAN, DUNCAN S            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                 VA 23510
                                                               STREET, SUITE 600
MCMILLAN, DYGLIESHA           3449 FM 3001                                                                               JEFFERSON              TX   75657‐4377
MCMILLAN, DYGLIESHA SHANTAY   TRACY FIRM                       5473 BLAIR RD STE 200                                     DALLAS                 TX   75231‐4168
MCMILLAN, EDWARD L            11196 JACKSON ST                                                                           BELLEVILLE             MI   48111‐3422
MCMILLAN, EUGENE M            PO BOX 38484                                                                               DETROIT                MI   48238‐0484
MCMILLAN, FRANCIS D           8480 GRANGE RD                                                                             HUBBARDSTON            MI   48845‐9201
MCMILLAN, FRANCIS D.          8480 GRANGE RD                                                                             HUBBARDSTON            MI   48845‐9201
MCMILLAN, FREDERICK D         6748 BROOKMONT DR                                                                          BALTIMORE              MD   21207‐5305
MCMILLAN, FREDERICK H         891 HARBINS RD                                                                             DACULA                 GA   30019‐2407
MCMILLAN, GARY J              851 WHEAT FIELD LN                                                                         NEW WHITELAND          IN   46184‐9217
MCMILLAN, GEORGE E            PO BOX 40905                                                                               MOBILE                 AL   36640‐0905
MCMILLAN, GEORGE E            1454 D ST                                                                                  MOBILE                 AL   36605‐1903
MCMILLAN, GERALD K            4219 SAGE CT                                                                               PALMDALE               CA   93552‐5134
MCMILLAN, GERALD W            3050 PINE HILL DR NW                                                                       KENNESAW               GA   30144‐2862
MCMILLAN, HARRY W             7340 S 575 E                                                                               HAMILTON               IN   46742‐9686
MCMILLAN, HARRY WILLIS        7340 S 575 E                                                                               HAMILTON               IN   46742‐9686
MCMILLAN, HELEN D             3436 LAKESHORE DR                                                                          GLADWIN                MI   48624‐8364
MCMILLAN, HELEN M             15181 N US HIGHWAY 51                                                                      DE SOTO                IL   62924‐3212
MCMILLAN, HENRY C             1017 E OAKLAND AVE                                                                         LANSING                MI   48906‐5512
MCMILLAN, JACK B              1411 CYPRESS ST SE                                                                         DECATUR                AL   35601‐3362
MCMILLAN, JAMES L             263 JW EDWARDS DR                                                                          BYRON                  GA   31008‐5820
MCMILLAN, JAMES LAMAR         263 JW EDWARDS DR                                                                          BYRON                  GA   31008‐5820
MCMILLAN, JAMES R             220 HAWTHORNE ST                                                                           ELYRIA                 OH   44035‐3725
MCMILLAN, JANEE A             2652 POSSUM RUN RD                                                                         MANSFIELD              OH   44903‐9131
MCMILLAN, JANICE E            4064 E 300 S                                                                               MARION                 IN   46953‐9203
MCMILLAN, JIMMIE              2216 BRADY AVE                                                                             BURTON                 MI   48529‐2427
MCMILLAN, JOHN                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK                VA   23510‐2212
                                                               STREET, SUITE 600
MCMILLAN, JOSEPH              771 FULLER ST                                                                              LYONS                  MI   48851‐9689
MCMILLAN, JUANITA             2735 JONA TRL                                                                              DACULA                 GA   30019‐7501
MCMILLAN, KATHERINE G         8480 GRANGE RD                                                                             HUBBARDSTON            MI   48845‐9201
MCMILLAN, KAY                 9131 TRINITY LN                                                                            EATON RAPIDS           MI   48827‐8942
MCMILLAN, KAY                 PO BOX 24154                                                                               LANSING                MI   48909‐4154
MCMILLAN, LARRY M             PO BOX 197                                                                                 SULPHUR SPRINGS        TX   75483‐0197
MCMILLAN, LEE E               232 CHARLESTOWNE DRIVE                                                                     MADISON                MS   39110‐6920
MCMILLAN, LLOYD K             212 WASHINGTON AVE                                                                         BELLEVUE               KY   41073‐1225
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Name                            Address1                        Address2                        Address3   Address4         City              State Zip
MCMILLAN, LYNEL G               13836 FARM RD                                                                               BELLEVILLE         MI 48111‐4297
MCMILLAN, MARIE E               11430 SHADY OAK COURT                                                                       BIRCH RUN          MI 48415
MCMILLAN, MARILYN               5428 HIGH RIDGE DR                                                                          YPSILANTI          MI 48197‐6757
MCMILLAN, MARK E                2405 SARATOGA AVE APT 17                                                                    KOKOMO             IN 46902
MCMILLAN, MARY T                5292 N STATE RD                 C/O MARY C WENDT                                            DAVISON            MI 48423‐8414
MCMILLAN, MICHAEL A             2424 TENNIS CT APT B6                                                                       BAY CITY           MI 48706‐9036
MCMILLAN, MICHAEL C             39805 HILLARY DR                                                                            CANTON             MI 48187‐4249
MCMILLAN, MICHAEL C.            39805 HILLARY DR                                                                            CANTON             MI 48187‐4249
MCMILLAN, MICHAEL H             2537 MITCHELL LAKE RD                                                                       LUM                MI 48412‐9365
MCMILLAN, MICHAEL L             5019 DEER CREEK CIR N                                                                       WASHINGTON         MI 48094‐4209
MCMILLAN, MILTON                1950 CLARKS DR                                                                              CONWAY             AR 72034‐2929
MCMILLAN, NELLIE M              118 FARMBROOK TRAIL             C/O VICKI JONES                                             STOCKBRIDGE        GA 30281‐1152
MCMILLAN, PATRICIA L            40 GARDEN VILLAGE DRIVE                                                                     BUFFALO            NY 14227‐3340
MCMILLAN, PATRICIA M            11 ELEANOR DR                                                                               LINCOLN UNIV       PA 19352‐9330
MCMILLAN, REED                  5180 HIGHPOINT DR                                                                           SWARTZ CREEK       MI 48473‐8902
MCMILLAN, RICHARD L             170 OLD BOONE FORD RD SE                                                                    CALHOUN            GA 30701‐4276
MCMILLAN, ROBERT                303 BEL AIRE DR                                                                             FRANKLIN           TN 37064‐3250
MCMILLAN, ROBERT M              KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                                CLEVELAND          OH 44114
                                                                BOND COURT BUILDING
MCMILLAN, RONALD K              207 W 38TH ST                                                                               WILMINGTON        DE   19802‐2107
MCMILLAN, RONALD L              5032 N KINGSHIGHWAY BLVD                                                                    SAINT LOUIS       MO   63115‐1830
MCMILLAN, ROSEMARY A            6507 WINFIELD BLVD              APT 128 C                                                   MARGATE           FL   33063
MCMILLAN, SCOTT D               422 JONATHAN DR                                                                             ROCHESTER HILLS   MI   48307‐5264
MCMILLAN, SONIA L               PO BOX 583                                                                                  IOWA PARK         TX   76367‐0583
MCMILLAN, TERRI                 128 PAINTER DR                                                                              ANTIOCH           TN   37013‐1599
MCMILLAN, THELMA J              216 N JEFFERSON ST                                                                          WESTVILLE         IL   61883‐1476
MCMILLAN, THELMA J              216 N. JEFFERSON                                                                            WESTVILLE         IL   61883
MCMILLAN, TIMOTHY F             4706 2 MILE RD                                                                              BAY CITY          MI   48706‐2732
MCMILLAN, TIMOTHY FRANCIS       4706 2 MILE RD                                                                              BAY CITY          MI   48706‐2732
MCMILLAN, WILLIAM A             631 TELYA RDG                                                                               MILFORD           MI   48381‐1805
MCMILLAN, WILLIAM T             24790 COLUMBUS RD                                                                           BEDFORD HTS       OH   44146‐2535
MCMILLAN, WILLIAM W             PO BOX 488                                                                                  PLAINFIELD        IN   46168‐0488
MCMILLAN, WILLIE R              1410 MALLARD COVE DR APT 4203                                                               CINCINNATI        OH   45246‐3937
MCMILLAN, YEVONNE               12005 S SAGINAW ST APT 10                                                                   GRAND BLANC       MI   48439
MCMILLAN‐HARKEY PATRICIA        GORI JULIAN & ASSOCIATES PC     156 N MAIN ST                                               EDWARDSVILLE      IL   62025
MCMILLEN EDWARD L (ESTATE OF)   WISE & JULIAN                   156 N MAIN ST STOP 1                                        EDWARDSVILLE      IL   62025‐1972
(664649)
MCMILLEN JOYCE                  200 DOVE CRK                                                                                MCKINNEY          TX 75071‐0333
MCMILLEN JR, CHARLES I          5757 LINDBURG DR                                                                            BATH              MI 48808‐9789
MCMILLEN NED E (480761)         KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                               CLEVELAND         OH 44114
                                                                BOND COURT BUILDING
MCMILLEN THOMAS F (340481)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                 NORFOLK           VA 23510
                                                                STREET, SUITE 600
MCMILLEN, ALICE I               458 FULLER DR. N.E.                                                                         WARREN            OH   44484‐2015
MCMILLEN, ANN L                 950 OAKBROOK DR                                                                             ASHLAND           OH   44805‐3687
MCMILLEN, CHRIS L               3494 HELEN PL                                                                               GROVE CITY        OH   43123‐2127
MCMILLEN, DERICK R              1689 DALE RIDGE RD                                                                          NEW CARLISLE      OH   45344‐2410
MCMILLEN, EDWARD L              WISE & JULIAN                   156 N MAIN ST STOP 1                                        EDWARDSVILLE      IL   62025‐1972
MCMILLEN, EDWIN D               6020 CAENEN ST                                                                              SHAWNEE           KS   66216‐1857
MCMILLEN, GEORGE J              2299 LABERDEE RD                                                                            ADRIAN            MI   49221‐9613
MCMILLEN, GEORGE JOSEPH         2299 LABERDEE RD                                                                            ADRIAN            MI   49221‐9613
MCMILLEN, GERALD L              719 VISTA SPRINGS CT                                                                        WENTZVILLE        MO   63385‐3256
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Name                        Address1                        Address2                       Address3   Address4         City            State Zip
MCMILLEN, JOHN M            141 CRESTON RD                                                                             MANSFIELD        OH 44906‐2208
MCMILLEN, JUNE I            6729 BURNHAM GREEN RD                                                                      TOLEDO           OH 43615‐5543
MCMILLEN, MAE L             PO BOX 476                                                                                 BONNE TERRE      MO 63628‐0476
MCMILLEN, MAE L             P.O. BOX476                                                                                BONNE TERRE      MO 63628‐0476
MCMILLEN, MARY D            508 CENTRAL AVE                                                                            ANDERSON         IN 46012
MCMILLEN, MAXINE R          4125 N 650 W                                                                               MIDDLETOWN       IN 47356
MCMILLEN, MELISSA R.        316 E ESSEX LN                                                                             FORT WAYNE       IN 46825‐5065
MCMILLEN, NED E             KELLEY & FERRARO LLP            1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                            BOND COURT BUILDING
MCMILLEN, NELLIE M          5124 CREEKMORE CT                                                                          KETTERING       OH   45440
MCMILLEN, NINA S            1301 BELVO ESTATES DR                                                                      MIAMISBURG      OH   45342‐3897
MCMILLEN, PAUL R            1501 HAZEL AVE                                                                             LIMA            OH   45805‐1919
MCMILLEN, RICHARD A         3329 SCARBORO RD                                                                           STREET          MD   21154‐1816
MCMILLEN, ROBERT F.         7113 PARK CREEK DR                                                                         FORT WORTH      TX   76137‐4512
MCMILLEN, ROBERT O          521 FULLER ST                                                                              FREMONT         OH   43420‐4415
MCMILLEN, RUSSELL J         458 FULLER DR NE                                                                           WARREN          OH   44484‐2015
MCMILLEN, SUSAN M           1954 LARCHMONT NE                                                                          WARREN          OH   44483‐3508
MCMILLEN, THOMAS A          47578 ROBINS NEST DR                                                                       SHELBY TWP      MI   48315‐5019
MCMILLEN, THOMAS F          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
MCMILLEN, WALTER L          3367 BRIGGS RD                                                                             COLUMBUS        OH   43204‐1703
MCMILLEN, WAYNE J           1609 STONEY RUN TRL                                                                        BROADVIEW HTS   OH   44147‐2551
MCMILLEN, WILLIAM A         1301 BELVO ESTATES DR                                                                      MIAMISBURG      OH   45342‐3897
MCMILLER, CARLA M           4481 SHERIDAN ST                                                                           DETROIT         MI   48214‐1023
MCMILLER, LAMASIE           1311 WASHINGTON NORTH RD                                                                   MANSFIELD       OH   44903‐8885
MCMILLIAN GEORGE (650543)   BRAYTON PURCELL                 PO BOX 6169                                                NOVATO          CA   94948‐6169
MCMILLIAN JR, HAROLD D      416 EAST MORGAN ROAD                                                                       HAGERMAN        NM   88232‐9795
MCMILLIAN JR, HAROLD D      416 E MORGAN RD                                                                            HAGERMAN        NM   88232‐9795
MCMILLIAN WILLIE (507566)   COON BRENT W                    PO BOX 4905                                                BEAUMONT        TX   77704‐4905
MCMILLIAN, ALESA            3217 STONEWALL LN                                                                          FORT WORTH      TX   76123‐1731
MCMILLIAN, BETTY D          1329 MCCLUER RD                                                                            JACKSON         MS   39212‐9212
MCMILLIAN, BETTY D          2434 CORONET PL                                                                            JACKSON         MS   39204
MCMILLIAN, DENISE S         1348 E NOCTA ST APT D8                                                                     ONTARIO         CA   91764‐4087
MCMILLIAN, DENNIS           2429 BRIGNALL RD NE                                                                        BROOKHAVEN      MS   39601‐2214
MCMILLIAN, DONALD O         2627 BEAL ST NW                                                                            WARREN          OH   44485‐1205
MCMILLIAN, EDGAR            6802 OAK BRANCH CIR                                                                        SHREVEPORT      LA   71109‐8338
MCMILLIAN, ELZA L           545 #1 BLUE HILL AVE            C/O JORDAN                                                 DORCHESTER      MA   02121
MCMILLIAN, ETHEL M          1940 SIDNEE DR                                                                             EDGEWOOD        MD   21040‐1219
MCMILLIAN, ETHEL M          1940 SIGNEE DRIVE                                                                          EDGEWOOD        MD   21040
MCMILLIAN, EUGENE L         1435 COUNTRY RIDGE DR                                                                      DESOTO          TX   75115‐7423
MCMILLIAN, GEORGE           BRAYTON PURCELL                 PO BOX 6169                                                NOVATO          CA   94948‐6169
MCMILLIAN, GEORGE D         139 HANDY ST                                                                               NEW BRUNSWICK   NJ   08901‐2655
MCMILLIAN, JOSEPH E         5315 WEXFORD RD                                                                            LANSING         MI   48911‐3313
MCMILLIAN, LEROY C          PO BOX 342                                                                                 MARSHFIELD      MO   65706‐0342
MCMILLIAN, LESTER M         2839 RADNOR ST                                                                             SAINT CHARLES   MO   63301‐0347
MCMILLIAN, MARY L           208 HOWARD IRVIN DR                                                                        EUTAW           AL   35462‐5700
MCMILLIAN, MILLER           BARTON & WILLIAMS               3007 MAGNOLIA ST                                           PASCAGOULA      MS   39567‐4126
MCMILLIAN, NATHANIEL        PO BOX 3248                                                                                GRAND RAPIDS    MI   49501‐3248
MCMILLIAN, OSCAR J          16816 RUTHERFORD ST                                                                        DETROIT         MI   48235‐3518
MCMILLIAN, REYNARD R        1820 TURNER DR                                                                             NOLENSVILLE     TN   37135
MCMILLIAN, RICHARD          TRINE & METCALF                 1435 ARAPAHOE AVE                                          BOULDER         CO   80302‐6307
MCMILLIAN, RICHARD C        239 BRADLEY ST                                                                             HAZLEHURST      MS   39083‐3421
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Name                            Address1                          Address2                        Address3   Address4         City               State Zip
MCMILLIAN, RODNEY C             191 E BROADWAY ST                                                                             WOODLAND            MI 48897‐9797
MCMILLIAN, WILLIE               COON BRENT W                      PO BOX 4905                                                 BEAUMONT            TX 77704‐4905
MCMILLIN III, AUD H             1213 MARION ST                                                                                DANVILLE             IL 61832‐7353
MCMILLIN JOHN L JR (636584)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MCMILLIN PHIL                   216 S MAIN ST                                                                                 GRAIN VALLEY       MO   64029‐9764
MCMILLIN, ANNA M                335 CALLE HERMOSO                                                                             SANTA BARBARA      CA   93108‐1807
MCMILLIN, BRUCE H               1014 S 6TH ST                                                                                 PRAIRIE DU CHIEN   WI   53821‐2402
MCMILLIN, CHARLES G             956 E GREEN RD                                                                                SOUTH EUCLID       OH   44121‐3402
MCMILLIN, DAVID A               10099 WOODS RD                                                                                GLADWIN            MI   48624‐8775
MCMILLIN, DAVID ALLEN           5778 US HIGHWAY 36 W                                                                          ROSE BUD           AR   72137‐9705
MCMILLIN, DELIA L.              7622 E NASSAU AVE                                                                             DENVER             CO   80237‐2135
MCMILLIN, GORDON N              31 DELAWARE AVE                                                                               DANVILLE           IL   61832‐6109
MCMILLIN, HOPE                  6099 WARBLERS ROOST               C/O CARL MCMILLIN                                           BRECKSVILLE        OH   44141‐1751
MCMILLIN, JOHN L                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
MCMILLIN, LILLIAN H             26937 COOOK RD                                                                                OLSMTEAD FALLS     OH 44138‐1118
MCMILLIN, MADELINE R            3222 INDEPENDENCE DRIVE                                                                       DANVILLE           IL 61832
MCMILLIN, MARTIN D              605 SHADY CREEK DR                                                                            GREENWOOD          IN 46142‐1248
MCMILLIN, PENNY
MCMILLIN, RALPH L               56 WILLIAM SCREVEN STREET                                                                     GEORGETOWN         SC   29440‐6831
MCMILLIN, SCOTT A               9148 BLUE PINE DR                                                                             INDIANAPOLIS       IN   46231‐4285
MCMILLIN, SHARON L              33626 BOCK ST                                                                                 GARDEN CITY        MI   48135
MCMILLIN, TIMOTHY               2497 BEECH ST                                                                                 GIRARD             OH   44420‐3102
MCMILLIN, TODD B                1411 HAWTHORNE AVE                                                                            JANESVILLE         WI   53545‐1942
MCMILLIN, VELMA B               310 E 255TH ST                                                                                EUCLID             OH   44132‐1036
MCMILLIN, VELMA B               310 EAST 255TH STR                                                                            EUCLID             OH   44132
MCMILLIN, VIRGINIA F            1218 MAPLEWOOD DR                                                                             KOKOMO             IN   46902‐3142
MCMILLION DREXEL                C/O MCKENNA & CHIODO              436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH         PA   15219
                                                                  SUITE 500
MCMILLION DREXEL (507034)       (NO OPPOSING COUNSEL)
MCMILLION JR, CLARENCE E        5409 KINGS WAY                                                                                GLADWIN            MI 48624‐8212
MCMILLION MIKEL B JR (411360)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                                  STREET, SUITE 600
MCMILLION, ARCHIE D             1705 ARTHUR DR NW                                                                             WARREN             OH   44485‐1806
MCMILLION, DENNIS M             2620 AMBLER RD                                                                                BALTIMORE          MD   21222‐2205
MCMILLION, DREXEL               THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD         SUITE 44                    CORAL GABLES       FL   33146
MCMILLION, DREXEL               MCKENNA & CHIDO                   436 BOULEVARD OF THE ALLIES ‐                               PITTSBURGH         PA   15219
                                                                  SUITE 500
MCMILLION, ELMO J               C/O MOODY                         801 WEST FOURTH ST                                          LITTLE ROCK        AR   72201
MCMILLION, JAMES                3028 CHAMBLEE TUCKER RD APT E3                                                                CHAMBLEE           GA   30341‐4123
MCMILLION, JEFFREY A            128 OAKDALE DR                                                                                ZELIENOPLE         PA   16063‐9310
MCMILLION, JRMIKEL B            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                                  STREET, SUITE 600
MCMILLION, MAXINE B             1056 HOMEWOOD AVE SE                                                                          WARREN             OH   44484‐4909
MCMILLON ELMO J                 C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                         LITTLE ROCK        AR   72201
MCMILLON JR, CLINTON            430 S 17TH ST                                                                                 SAGINAW            MI   48601‐2056
MCMILLON JR, WILLIE             6091 FOXWOOD CT                                                                               SAGINAW            MI   48638‐7390
MCMILLON, ANGELA                3874 KENSINGTON RD                                                                            DECATUR            GA   30032‐1708
MCMILLON, ANTHONY C             2500 HOLLY BROOK LN APT 1208                                                                  ARLINGTON          TX   76006‐5188
MCMILLON, CLINTON               535 S WARREN AVE APT 304                                                                      SAGINAW            MI   48607‐1689
MCMILLON, DAVID L               5165 MACKINAW RD                                                                              SAGINAW            MI   48603‐1256
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Name                         Address1                         Address2                      Address3   Address4         City                 State Zip
MCMILLON, JAMES R            9865 BLANCHARD FURRH RD                                                                    MOORINGSPORT          LA 71060‐8572
MCMILLON, JOEL               5405 BROCKWAY RD                                                                           SAGINAW               MI 48638‐4428
MCMILLON, JOHN H             1867 W BURT RD                                                                             MONTROSE              MI 48457‐9311
MCMILLON, LARRY D            3409 MONTCLAIR ST                                                                          DETROIT               MI 48214‐2148
MCMILLON, LARRY DOUGLAS      3409 MONTCLAIR ST                                                                          DETROIT               MI 48214‐2148
MCMILLON, MARY S             6091 FOXWOOD CT                                                                            SAGINAW               MI 48638
MCMILLON, MICHAEL R          1403 S JONQUIL ST                                                                          BOSSIER CITY          LA 71112‐4623
MCMILLON, MICHAEL RAY        1403 S JONQUIL ST                                                                          BOSSIER CITY          LA 71112‐4623
MCMILLON, PAULINE L          130 AVONLEA DR                                                                             COVINGTON             GA 30016‐1230
MCMILLON, STEPHENINE         5165 MACKINAW RD                                                                           SAGINAW               MI 48603‐1256
MCMILLON, TINA               3945 N MICHIGAN AVE              APT 11                                                    SAGINAW               MI 48604‐1874
MCMILLON, TINA               3945 N MICHIGAN AVE APT 11                                                                 SAGINAW               MI 48604‐1874
MCMILLON, WILLIAM S          10470 GREGORY CT                                                                           CLIO                  MI 48420‐9415
MCMILLON, WILLIAM SAMUEL     10470 GREGORY CT                                                                           CLIO                  MI 48420‐9415
MCMINEMON, LINDA M           1120 HIGHWAY 67 S                                                                          DECATUR               AL 35603‐6311
MCMINN JR, LEON              4201 WILDCAT RD                                                                            AUBREY                TX 76227‐8415
MCMINN, BONNIE LYNN          424 CHURCH ST                                                                              MACON                 GA 31217‐3802
MCMINN, DALE R               5930 STODDARD HAYES RD                                                                     FARMDALE              OH 44417‐9610
MCMINN, DALE R               415 WILLOW DR SE                                                                           WARREN                OH 44484‐2456
MCMINN, DONNA LEE            8944 SHAWN DR                                                                              STERLING HTS          MI 48312‐3616
MCMINN, FLORA LUCILLE        6069 FOUNTAIN POINTE APT.#6                                                                GRAND BLANC           MI 48439‐7609
MCMINN, HENRY M              1738 CENTER SPRINGS RD                                                                     SOMERVILLE            AL 35670‐4241
MCMINN, JAMES P              21644 MERRIMAN RD                                                                          NEW BOSTON            MI 48164‐9457
MCMINN, LARRY D              2293 FOX RUN CT                                                                            BURTON                MI 48519
MCMINN, LARRY DALE           2293 FOX RUN CT                                                                            BURTON                MI 48519
MCMINN, LISA M               3380 HIGHLAND DR                                                                           HUBBARD               OH 44425‐2306
MCMINN, MAUREEN              6780 VINTAGE DRIVE                                                                         HUDSONVILLE           MI 49426‐9211
MCMINN, PAULA A              2293 FOX RUN CT                                                                            BURTON                MI 48519
MCMINN, THELMA R             7631 PRIMROSE DR                                                                           MENTOR ON THE LAKE    OH 44060‐3315
MCMINN, THELMA R             7631 PRIMROSE AVE                                                                          MENTOR ON LAK         OH 44060‐3315
MCMONAGLE, CHARLES E         1460 BRISTOL CHAMPION TWNL                                                                 WARREN                OH 44481
MCMONAGLE, DONNA V           1460 BRISTOL CHAMPION TNLE                                                                 WARREN                OH 44481
MCMONAGLE, JACK R            5039 CHICKASAW TRL                                                                         FLUSHING              MI 48433‐1017
MCMONAGLE, JAMES L           1766 KOKOMO DR                                                                             HUBBARD               OH 44425‐2840
MCMONAGLE, JOHN D            3509 COUNTY ROAD 60                                                                        BERGHOLZ              OH 43908‐7916
MCMONAGLE, RUTH B            56 BENTLEY ST                                                                              HUBBARD               OH 44425‐2002
MCMONAGLE, RUTH B            56 BENTLEY AVE                                                                             HUBBARD               OH 44425‐2002
MCMONIGAL, GAYNELL           1074 WALCREST DR                                                                           MANSFIELD             OH 44903‐8960
MCMONIGLE, WILLIAM F         8023 WALKER ST                                                                             PHILADELPHIA          PA 19136‐2721
MCMORRAN, WILLIAM G          PO BOX 300152                                                                              DRAYTON PLNS          MI 48330‐0152
MCMORRIS CURTIS E (629581)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                              STREET, SUITE 600
MCMORRIS, CHARLES D          SHANNON LAW FIRM                 100 W GALLATIN ST                                         HAZLEHURST           MS 39083‐3007
MCMORRIS, CURTIS E           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                              STREET, SUITE 600
MCMORRIS, DAVID D            1423 CASTO BLVD                                                                            BURTON               MI   48509‐2013
MCMORRIS, DONALD A           13477 JEAN LN                                                                              BEULAH               MI   49617‐9419
MCMORRIS, DORIS              35200 SIMS ST APT 908                                                                      WAYNE                MI   48184
MCMORRIS, JAMES              1151 N JEFFERSON ST UNIT 3                                                                 MEDINA               OH   44256‐6623
MCMORRIS, JAMES W            42 GILLESPIE AVE                                                                           PONTIAC              MI   48341‐2225
MCMORRIS, RONALD S           3663 W MCCAULEY CT                                                                         ANTHEM               AZ   85086‐6044
MCMORRIS, RUTH N             2788 LOCH LOMOND #417                                                                      HIGHLAND             MI   48357‐3753
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Name                          Address1                          Address2                      Address3                     Address4         City            State Zip
MCMORRIS, TONYA L             526 CARLTON ST                                                                                                TOLEDO           OH 43609‐2902
MCMORRIS, WILLIE              PORTER & MALOUF PA                4670 MCWILLIE DR                                                            JACKSON          MS 39206‐5621
MCMORROW, ANNIE               21 VERO DR                                                                                                    POUGHKEEPSIE     NY 12603‐6618
MCMORROW, JOHN                4 INDEPENDENCE LN                                                                                             MILLIS           MA 02054‐1428
MCMORROW, MICHAEL J           241 E 236TH ST                                                                                                BRONX            NY 10470‐2113
MCMORROW, PATRICK J           21 VERO DR                                                                                                    POUGHKEEPSIE     NY 12603‐6618
MCMORROW, RUSSELL A           191 WALKER AVE                                                                                                FITZGERALD       GA 31750‐8500
MCMULLAN DREWY D              C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                                         LITTLE ROCK      AR 72201
MCMULLAN, AUBREY N            620 W.CHESTER PWY4102                                                                                         GRAND PRAIRIE    TX 75052
MCMULLAN, DREWY D             MOODY EDWARD O                    801 W 4TH ST                                                                LITTLE ROCK      AR 72201‐2107
MCMULLAN, EMMA L              1909 BARKS ST                                                                                                 FLINT            MI 48503‐4303
MCMULLAN, IRENE               700 E COURT ST APT 313                                                                                        FLINT            MI 48503‐6223
MCMULLEN GEORGE W             GLASSER AND GLASSER               CROWN CENTER                  580 EAST MAIN STREET SUITE                    NORFOLK          VA 23510
                                                                                              600
MCMULLEN HAROLD JR (312890)   SWEENEY ROBERT E CO               1500 ILLUMINATING BLDG , 55                                                 CLEVELAND       OH 44113
                                                                PUBLIC SQUARE
MCMULLEN JAMES                372 DELAWARE AVE                                                                                              STATEN ISLAND   NY   10305‐2306
MCMULLEN JR, JACK M           PO BOX 3381                                                                                                   KALAMAZOO       MI   49003‐3381
MCMULLEN JR, JACK M           1804 WALKER LAKE RD                                                                                           MANSFIELD       OH   44906‐1420
MCMULLEN PAUL (459202)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                 NORFOLK         VA   23510
                                                                STREET, SUITE 600
MCMULLEN TOOL SUPPLY CO       12720 FORD RD                     PO BOX 1347                                                                 DEARBORN        MI   48126‐3348
MCMULLEN, ALAN T              6125 S FOX CHASE                                                                                              PENDLETON       IN   46064‐8746
MCMULLEN, BILLY G             PO BOX 433                                                                                                    GRAYSON         LA   71435‐0433
MCMULLEN, BONNIE J            6337 E DODGE RD                                                                                               MOUNT MORRIS    MI   48458‐9716
MCMULLEN, BRENDA K            5584 COLDWATER RD                                                                                             COLUMBIAVILLE   MI   48421‐8801
MCMULLEN, BRENDA KAY          5584 COLDWATER RD                                                                                             COLUMBIAVILLE   MI   48421‐8801
MCMULLEN, CARL F              1224 W SYCAMORE ST                                                                                            KOKOMO          IN   46901‐4386
MCMULLEN, CARSON D            14876 OLD GRADE RD                                                                                            THOMPSONVILLE   MI   49683‐9214
MCMULLEN, DAVID L             8055 SNUG HARBOR DR                                                                                           INDIANAPOLIS    IN   46227‐0806
MCMULLEN, DAVID T             3552 W 4TH ST                                                                                                 MANSFIELD       OH   44903‐9300
MCMULLEN, DEBORAH             1383 HELEN ST                                                                                                 INKSTER         MI   48141
MCMULLEN, DELORES             WISE & JULIAN                     156 N MAIN ST STOP 1                                                        EDWARDSVILLE    IL   62025‐1972
MCMULLEN, DENNIS K            3106 CASSIDY PL                                                                                               HURON           OH   44839‐2185
MCMULLEN, ELIZABETH S         3552 W 4TH ST                                                                                                 MANSFIELD       OH   44903‐9300
MCMULLEN, ERNESTINE M         1401 IRENE AVENUE                                                                                             FLINT           MI   48503‐3551
MCMULLEN, ERNESTINE M         1401 IRENE AVE                                                                                                FLINT           MI   48503‐3551
MCMULLEN, FRANCENE N          590 VILLAGE PL APT A318                                                                                       LONGWOOD        FL   32779‐5995
MCMULLEN, GREGORY A           APT A                             8608 WAVE CIRCLE                                                            FORT WAYNE      IN   46825‐6644
MCMULLEN, GREGORY A           8608 WAVE CIR, APT A                                                                                          FORT WAYNE      IN   46825
MCMULLEN, HAROLD              SWEENEY ROBERT E CO               1500 ILLUMINATING BLDG, 55                                                  CLEVELAND       OH   44113
                                                                PUBLIC SQUARE
MCMULLEN, JACK L              46585 W OAK MANOR CT                                                                                          CANTON          MI   48187‐5230
MCMULLEN, JAMES               PORTER & MALOUF PA                4670 MCWILLIE DR                                                            JACKSON         MS   39206‐5621
MCMULLEN, JAMES D             36022 ROLF ST                                                                                                 WESTLAND        MI   48186‐8228
MCMULLEN, JAMES DALE          36022 ROLF ST                                                                                                 WESTLAND        MI   48186‐8228
MCMULLEN, JERRY K             1639 E 17TH ST                                                                                                ANDERSON        IN   46016‐2108
MCMULLEN, JOHN L              496 SAGINAW BOX 46                                                                                            FOSTORIA        MI   48435
MCMULLEN, JON P               149 FOX RUN RD                                                                                                CRANBERRY TWP   PA   16066‐4037
MCMULLEN, JOSEPH B            9 TIMBERLINE DR                                                                                               QUARRYVILLE     PA   17566‐9125
MCMULLEN, JOYCE ANN           HC 73 BOX 675                                                                                                 KINGSTON        OK   73439‐8716
MCMULLEN, KENNETH             GUY WILLIAM S                     PO BOX 509                                                                  MCCOMB          MS   39649‐0509
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Name                           Address1                             Address2                      Address3   Address4         City               State Zip
MCMULLEN, LEAL                 GUY WILLIAM S                        PO BOX 509                                                MCCOMB              MS 39649‐0509
MCMULLEN, LEWIS T              1283 HELEN ST                                                                                  INKSTER             MI 48141‐1725
MCMULLEN, MARGARET             PO BOX 33                                                                                      FOSTORIA            MI 48435‐0033
MCMULLEN, MARSHA R             1191 HOLLY SPRING LN                                                                           GRAND BLANC         MI 48439‐8956
MCMULLEN, MICHAEL E            3925 WHITNEY AVE                                                                               FLINT               MI 48532‐5258
MCMULLEN, PAUL                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                    STREET, SUITE 600
MCMULLEN, PAUL E               362 PONDEROSA DR                                                                               WIRTZ              VA   24184‐4433
MCMULLEN, PHILLIP L            12360 LAKE RD                                                                                  MONTROSE           MI   48457‐9408
MCMULLEN, PHYLLIS H            3254 E MIDLAND RD                                                                              BAY CITY           MI   48706‐2835
MCMULLEN, PHYLLIS H            3254 EAST MIDLAND RD                                                                           BAY CITY           MI   48706
MCMULLEN, RAYMOND P            PO BOX 3084                          10135 NICHOLS ROAD                                        MONTROSE           MI   48457‐0784
MCMULLEN, RICHARD L            109 SUMMIT CT                                                                                  COLUMBUS           WI   53925‐2300
MCMULLEN, RONALD H             3430 BROOKGATE DR                                                                              FLINT              MI   48507‐3213
MCMULLEN, SANDRA               501 ROBERTS DR                       APT 107                                                   RIVERDALE          GA   30274‐3016
MCMULLEN, SUSAN
MCMULLEN, THOMAS W             5584 COLDWATER RD                                                                              COLUMBIAVILLE      MI 48421‐8801
MCMULLEN, VELVA N              3614 WAINWRIGHT AVE                                                                            LANSING            MI 48911‐2241
MCMULLEN, WALTER
MCMULLEN, WILLIE E             14009 MARION LOOP                                                                              TUSCALOOSA         AL   35405‐7913
MCMULLEN, WILMA J              5590 STATE ROUTE 133                                                                           WILLIAMSBURG       OH   45176‐9563
MCMULLEN‐ROGERS, REGINA F      20311 N LARKMOOR DR                                                                            SOUTHFIELD         MI   48076‐2413
MCMULLIN CHEVROLET PONTIAC     812 SE JEFFERSON ST                                                                            DALLAS             OR   97338‐2028
MCMULLIN CHEVROLET, PONTIAC,   GERALD MCMULLIN                      812 SE JEFFERSON ST                                       DALLAS             OR   97338‐2028
OLDSMOBILE, INC.
MCMULLIN, GARY D               180 OXFORD AVE                                                                                 PENDLETON          IN   46064‐8722
MCMULLIN, GARY DAMOND          180 OXFORD AVE                                                                                 PENDLETON          IN   46064‐8722
MCMULLIN, JOSEPHINE C          406 CEDAR SPRING RD                                                                            BEL AIR            MD   21015‐5802
MCMULLIN, KATHRYN S            3809 BRIAR CREST DR                                                                            JANESVILLE         WI   53546‐4236
MCMULLIN, MINDEN E             21875 FOXHAVEN RUN APT 1                                                                       WAUKESHA           WI   53186
MCMULLIN, TRACY L              529 E CLARKSON AVE                                                                             PHILADELPHIA       PA   19120‐2621
MCMULLINS, BILLY H             19433 LOONEY RD                                                                                ATHENS             AL   35613
MCMULLINS, GREGORY P           6508 WHISPERING PINES TRL NW APT H                                                             HUNTSVILLE         AL   35806‐2334

MCMULLINS, SYLVIA A            22318 COMPTON RD                                                                               ATHENS             AL   35613
MCMUNIGAL, DOROTHY J           6404 LUANNE DR                                                                                 FLUSHING           MI   48433‐2320
MCMUNIGAL, EUGENE J            902 W MCCLELLAN ST                                                                             FLINT              MI   48504‐2691
MCMUNIGAL, RONALD P            6404 LUANNE DR                                                                                 FLUSHING           MI   48433‐2320
MCMUNN, DARLENE N              1221 DRURY CT APT 141                                                                          MAYFIELD HEIGHTS   OH   44124‐7107
MCMUNN, JEFFERY D              24350 RIDGE RD                                                                                 ELKMONT            AL   35620‐5424
MCMURCHY, GERALD D             1609 BELVO RD                                                                                  MIAMISBURG         OH   45342‐3817
MCMURCHY, KIMBERLY A           116 PARKGROVE DRIVE                                                                            ENGLEWOOD          OH   45322‐3237
MCMURDIE, RUSSELL E            15950 NW TELSHIRE DR                                                                           BEAVERTON          OR   97006
MCMURDO, JANICE ARLENE         108 KIDD AVE                                                                                   STONEWOOD          WV   26301‐4832
MCMURDY, DANIEL B              415 HOWARD RD                                                                                  ROCHESTER          NY   14606‐5651
MCMURDY, DAVID W               328 LAKE AVE                         P.O. BOX 136                                              HILTON             NY   14468‐1108
MCMURPHY HUGHES                3200 MEADOWCREST DR                                                                            ANDERSON           IN   46011‐2310
MCMURRAN TOM                   MCMURRAN, TOM                        8910 PURDUE ROAD SUITE 480                                INDIANAPOLIS       IN   46268
MCMURRARY, DARLENE A           3630 W MURRY ST                                                                                INDIANAPOLIS       IN   46241
MCMURRAY BRIAN                 11759 SILICA RD                                                                                NORTH JACKSON      OH   44451‐9605
MCMURRAY CHEVROLET, INC.       MARTIN CUMBA                         2939 WASHINGTON RD                                        MC MURRAY          PA   15317‐3204
MCMURRAY CHEVROLET, INC.       2939 WASHINGTON RD                                                                             MCMURRAY           PA   15317‐3204
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Name                        Address1                         Address2                          Address3   Address4         City              State Zip
MCMURRAY FABRICS INC        3510 CAPTIAL CITY BLVD                                                                         LANSING            MI 48906
MCMURRAY FABRICS INC        105 VANN PL                                                                                    ABERDEEN           NC 28315‐8612
MCMURRAY FABRICS INC.       BOB PICKENS                      105 VANN PL                                                   ABERDEEN           NC 28315‐8612
MCMURRAY FABRICS INC.       BOB PICKENS                      105 VANN PLACE                                                FLINT              MI 48505
MCMURRAY JR, PAUL S         600 E 900 S                                                                                    FAIRMOUNT          IN 46928‐9384
MCMURRAY NORMAN (497675)    COONEY & CONWAY                  120 NORTH LASALLE STREET , 30TH                               CHICAGO             IL 60602
                                                             FLOOR
MCMURRAY RICHARD (470178)   BILBREY & HYLIA                  8724 PIN OAK RD                                               EDWARDSVILLE      IL   62025‐6822
MCMURRAY, ALICE V           7204 LAKESHORE DRIVE                                                                           ELLENTON          FL   34222‐3738
MCMURRAY, BARRY W           145 COLONIAL DR                                                                                GRAND ISLAND      NY   14072‐1850
MCMURRAY, BILL              4936 RT 35 EAST                                                                                W ALEXANDRIA      OH   45381
MCMURRAY, CHARLES J         65 HEPBURN RD                                                                                  HAMDEN            CT   06517‐2923
MCMURRAY, CLEVE             65 SAMPLE RD                                                                                   W ALEXANDRIA      OH   45381‐8304
MCMURRAY, CLEVE             65 SAMPLE ROAD                                                                                 W ALEXANDRIA      OH   45381‐8304
MCMURRAY, DOROTHY M         2948 ST RT 35 EAST                                                                             W ALEXANDRIA      OH   45381‐9305
MCMURRAY, DOROTHY M         2948 US ROUTE 35 E                                                                             W ALEXANDRIA      OH   45381‐9305
MCMURRAY, ELNA L            6030 BORTNER LN                                                                                W ALEXANDRIA      OH   45381‐1242
MCMURRAY, ELNA L            6030 BORTNER LANE                                                                              W ALEXANDRIA      OH   45381‐1242
MCMURRAY, GERALD F          13525 PEMBROKE AVE                                                                             DETROIT           MI   48235‐1145
MCMURRAY, HARVEY W          700 GREGORY AVE                                                                                NEW LEBANON       OH   45345‐1629
MCMURRAY, HERBERT L         PO BOX 1760                                                                                    ROYAL OAK         MI   48068‐1760
MCMURRAY, JACQUELYN A       4507 ELLEN ST                                                                                  OAKLAND           CA   94601‐4728
MCMURRAY, JAMES             209 W 92ND ST                                                                                  CHICAGO           IL   60620‐1547
MCMURRAY, JAMES E           4041 GRANGE HALL RD LOT 127                                                                    HOLLY             MI   48442‐1924
MCMURRAY, JENNIFER L        280 MILLS PL                                                                                   NEW LEBANON       OH   45345‐1518
MCMURRAY, JERRY L           613 RIHERD ESTATES RD                                                                          PARK CITY         KY   42160‐9326
MCMURRAY, JOHN K            47 SEDGEWOOD DR                                                                                KENNEBUNK         ME   04043‐6313
MCMURRAY, LOVETTE           23 FRANKLIN ST                                                                                 NEW LEBANON       OH   45345‐1411
MCMURRAY, MARGARET K        1502 LEYTON DR.                                                                                YOUNGSTOWN        OH   44509‐1915
MCMURRAY, MARGARET K        1502 LEYTON DR                                                                                 YOUNGSTOWN        OH   44509‐1915
MCMURRAY, MARTIN E          3662 GLENEAGLE DR 10D                                                                          SARASOTA          FL   34238
MCMURRAY, NELSON            31 W 2ND ST                                                                                    W ALEXANDRIA      OH   45381‐1129
MCMURRAY, NELSON            31 WEST SECOND ST                                                                              W ALEXANDRIA      OH   45381‐1129
MCMURRAY, NOLAN D           1250 E ADAMS DR                                                                                FRANKLIN          IN   46131‐1906
MCMURRAY, NORMAN            COONEY & CONWAY                  120 NORTH LASALLE STREET, 30TH                                CHICAGO           IL   60602
                                                             FLOOR
MCMURRAY, OLGA JANE         4907 CANBERRA LN                                                                               ARLINGTON         TX   76017
MCMURRAY, RICHARD           BILBREY & HYLIA                  8724 PIN OAK RD                                               EDWARDSVILLE      IL   62025‐6822
MCMURRAY, RICHARD G         2002 FRENCH RD                                                                                 VARYSBURG         NY   14167‐9760
MCMURRAY, RICK O            3630 W MURRAY ST                                                                               INDIANAPOLIS      IN   46221‐2262
MCMURRAY, RICK OWEN         3630 W MURRAY ST                                                                               INDIANAPOLIS      IN   46221‐2262
MCMURRAY, SUZANNE           30 WALNUT ST                                                                                   EAST AURORA       NY   14052‐2330
MCMURRAY, WESLEY T          137 BLUEBERRY TRL NW                                                                           LILBURN           GA   30047‐6120
MCMURRAY, YVONNE M          39440 CEMETERY RD                                                                              PONCHATOULA       LA   70454‐4880
MCMURREN, DAVID W           2201 BRYANT ST                                                                                 MIDDLETOWN        OH   45042‐2639
MCMURREN, MARK D            89 E MEADOW DR                                                                                 BATAVIA           OH   45103‐7501
MCMURREN, MARK DAVID        89 EAST MEADOW DRIVE                                                                           BATAVIA           OH   45103‐7501
MCMURRER, DAVID L           325 N HILTON RD                                                                                APACHE JUNCTION   AZ   85219‐2214
MCMURROUGH, JOE B           3302 BUCKINGHAM DR                                                                             ARLINGTON         TX   76015‐3207
MCMURROUGH, JOE BOB         3302 BUCKINGHAM DR                                                                             ARLINGTON         TX   76015‐3207
MCMURRY BARB                113 PHILLIP PL                                                                                 INDIANOLA         IA   50125‐3711
MCMURRY UNIVERSITY          PO BOX 308                       MCMURRY STATION                                               ABILENE           TX   79697‐0001
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Name                               Address1                        Address2                        Address3                 Address4         City              State Zip
MCMURRY, CHARLES E                 SHANNON LAW FIRM                100 W GALLATIN ST                                                         HAZLEHURST         MS 39083‐3007
MCMURRY, CHRISTOPHER L             8068 ARGENTINE DR W                                                                                       JACKSONVILLE       FL 32217‐4028
MCMURTRAY AUSTIN THOMAS (345056)   MORGAN MELANIE S                PO BOX 171607                                                             KANSAS CITY        KS 66117‐0607

MCMURTRAY, AUSTIN THOMAS           MORGAN MELANIE S                PO BOX 171607                                                             KANSAS CITY       KS   66117‐0607
MCMURTRAY, SHARON A                404 4TH AVE                                                                                               HATTIESBURG       MS   39401‐4278
MCMURTREY, DOYCE L                 3324 WILD IVY CIR                                                                                         INDIANAPOLIS      IN   46227‐9734
MCMURTREY, ORA                     6146 BERMUDA LN                                                                                           MOUNT MORRIS      MI   48458‐2623
MCMURTREY, WILLIAM D               PO BOX 528                                                                                                SHAWNEE MISSION   KS   66201‐0528
MCMURTRY, BENTON R                 5729 MISTY RIDGE DRIVE                                                                                    INDIANAPOLIS      IN   46237
MCMURTRY, CLINTON                  PORTER & MALOUF PA              4670 MCWILLIE DR                                                          JACKSON           MS   39206‐5621
MCMURTRY, ELEASE                   26747 W CARNEGIE PARK DR                                                                                  SOUTHFIELD        MI   48034‐6165
MCMURTRY, HERBERT K                24903 MOULTON PKWY APT 430                                                                                LAGUNA HILLS      CA   92653‐6476
MCMURTRY, MELINDA K                20101 LAHSER RD                                                                                           DETROIT           MI   48219
MCMURTRY, MELINDA KAY              20101 LAHSER RD                                                                                           DETROIT           MI   48219
MCMURTRY, RALPH R                  PO BOX 187                                                                                                WHITE HOUSE       TN   37188‐0187
MCMURTRY, TERRY W                  241 ROBERTS RD                                                                                            FRANKLIN          KY   42134‐7352
MCMURTRY, TERRY WAYNE              241 ROBERTS RD                                                                                            FRANKLIN          KY   42134‐7352
MCMUTRIE JAMIE                     MCMUTRIE, JAMIE                 30 E BUTLER AVE                                                           AMBLER            PA   19002‐4514
MCMUTRIE JAMIE                     HECKMAN, DOUGLAS                KIMMEL & SILVERMAN              30 EAST BUTLER PIKE                       AMBLER            PA   19002
MCMYLER, ALLEN T                   4748 E 72ND ST                                                                                            NEWAYGO           MI   49337‐8928
MCNA, HELEN L.                     223 ARROWOOD DR                                                                                           WIXOM             MI   48393‐4000
MCNAB RYAN J                       22 PEPPER HOLW                                                                                            CLIFTON PARK      NY   12065‐2311
MCNAB, ALBERT C                    905 HOLIDAY LN                                                                                            SEVIERVILLE       TN   37876
MCNAB, JAMES G                     670 WHITE AVENUE                                                                                          LINCOLN PARK      MI   48146‐2828
MCNAB, RYAN J                      435 MAC AVE                                                                                               EAST LANSING      MI   48823‐3314
MCNAB, WILLIAM J                   8054 BARNSBURY ST                                                                                         COMMERCE TWP      MI   48382‐3504
MCNABB I I, VERRILL D              194 MARBLE VIEW DR                                                                                        KINGSTON          TN   37763‐5612
MCNABB JERRY & JUDY                MCNABB, JERRY                   102 WOODMONT BLVD STE 200                                                 NASHVILLE         TN   37205‐2216
MCNABB JERRY & JUDY                MCNABB, JUDY                    KAHN & ASSOCIATES LLC           102 WOODMONT BOULEVARD                    NASHVILLE         TN   37205
                                                                                                   SUITE 200
MCNABB JR, CHARLES W               503 S WAYNE ST                                                                                            DANVILLE          IN 46122‐1931
MCNABB ROBERT                      7092 GLEN OAK DRIVE                                                                                       GRAND BLANC       MI 48439‐9235
MCNABB ROBERT E (476909)           KELLEY & FERRARO LLP            1300 EAST NINTH STREET , 1901                                             CLEVELAND         OH 44114
                                                                   BOND COURT BUILDING
MCNABB'S SERVICE AND REPAIR        4948 HAMILTON BLVD                                                                                        ALLENTOWN         PA   18106‐9109
MCNABB, CHARLES W                  328 N CENTER ST                                                                                           EUSTIS            FL   32726‐3516
MCNABB, CLYDE B                    9245 HEMPLE RD                                                                                            GERMANTOWN        OH   45327‐8547
MCNABB, CLYDE B                    9245 HEMPLE RD.                                                                                           GERMANTOWN        OH   45327‐8547
MCNABB, DAVID T                    229 LOWE BRANCH RD                                                                                        CENTERVILLE       TN   37033‐3720
MCNABB, DEBORAH                    194 MARBLE VIEW DRIVE                                                                                     KINGSTON          TN   37763‐5612
MCNABB, DEBORAH RUTH               194 MARBLE VIEW DR                                                                                        KINGSTON          TN   37763‐5612
MCNABB, DONALD E                   293 CLIFTON RD                                                                                            FRENCHBURG        KY   40322‐8216
MCNABB, DONALD E CO INC            31250 S MILFORD RD              PO BOX 448                                                                MILFORD           MI   48381‐3762
MCNABB, DONALD L                   8736 CRESTVIEW DR                                                                                         MACEDONIA         OH   44056‐2709
MCNABB, DOROTHY F                  6265 PHILADELPHIA DR                                                                                      DAYTON            OH   45415‐2657
MCNABB, FREDRIC G                  9010 W REED ST                                                                                            MUNCIE            IN   47304‐9738
MCNABB, GEOFFREY R                 4016 JANE CT                                                                                              WATERFORD         MI   48329‐2010
MCNABB, GEORGE I                   45478 DIAMOND POND DR                                                                                     MACOMB            MI   48044‐3551
MCNABB, GLENDALL F                 HC 4 BOX 6085                                                                                             THEODOSIA         MO   65761‐8417
MCNABB, JERRY                      KAHN & ASSOCIATES LLC           55 PUBLIC SQ STE 650                                                      CLEVELAND         OH   44113‐1909
MCNABB, JUDY                       KAHN & ASSOCIATES LLC           55 PUBLIC SQ STE 650                                                      CLEVELAND         OH   44113‐1909
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Name                              Address1                       Address2                       Address3   Address4         City               State Zip
MCNABB, KEIANA S                  1515 LAVENDER AVENUE                                                                      FLINT               MI 48504‐3047
MCNABB, LAUREL K                  13201 CLAYTON ROAD                                                                        SAINT LOUIS         MO 63131‐1002
MCNABB, LLOYD H                   28354 ALINE DR                                                                            WARREN              MI 48093‐2658
MCNABB, MABLE G                   3031 S WASHINGTON AVE APT B6                                                              LANSING             MI 48910
MCNABB, MARK C                    26 BROMLEY CT                                                                             MONTVILLE           NJ 07045‐9662
MCNABB, MARY L                    295 MILAN HWY                                                                             TRENTON             TN 38382‐9212
MCNABB, MYRNA D.                  153 N GREEN SPRINGS RD                                                                    INDIANAPOLIS        IN 46214‐3957
MCNABB, PATRICK H                 200 ADAMS ST                                                                              DANVILLE            IN 46122‐1107
MCNABB, RICHARD T                 5483 W MARIETTA R R ST                                                                    SHELBYVILLE         IN 46176
MCNABB, RICHARD T                 RR ST                                                                                     SHELBYVILLE         IN 46176
MCNABB, ROBERT E                  KELLEY & FERRARO LLP           1300 EAST NINTH STREET, 1901                               CLEVELAND           OH 44114
                                                                 BOND COURT BUILDING
MCNABB, ROBERT L                  7092 GLEN OAK DR                                                                          GRAND BLANC        MI   48439‐9235
MCNABB, ROBERT L                  1304 WILSHIRE BLVD                                                                        ARLINGTON          TX   76012‐4656
MCNABB, VERA M                    345 BRENDA DR                                                                             MANSFIELD          OH   44907‐1701
MCNABNEY, CAROLYN J               3344 E DUDLEY AVE                                                                         INDIANAPOLIS       IN   46227‐7014
MCNAIL, JOHN D                    309 BLEEMEL LN                                                                            MOUNT WASHINGTON   KY   40047‐6726
MCNAIL, LEE J                     10778 OLD 8 E                                                                             MINERAL POINT      MO   63660‐9382
MCNAIL, WILLIAM J                 11279 BUFORD BOTTOM RD                                                                    BISMARCK           MO   63624‐9253
MCNAIR DIMITRAKOPOULO, MARIAN I   1612 SHIRL LN                                                                             JACKSONVILLE       FL   32207‐7716
MCNAIR HOPPER, KRISTEN M          304 N ATLANTIC LOOP                                                                       BOISE              ID   83706‐2610
MCNAIR SMITH                      PO BOX 3053                                                                               BROOKHAVEN         MS   39603‐7053
MCNAIR, AMANADA                   4009 MONROE ROAD                                                                          SEMINARY           MS   39479‐4012
MCNAIR, AMANADA                   4009 MONROE RD                                                                            SEMINARY           MS   39479‐4012
MCNAIR, BRADLEY S                 222 TERRACE DR                                                                            BRANDON            MS   39042‐2338
MCNAIR, CHARLESETTA               6008 ARLENE AVE                                                                           FORT WAYNE         IN   46816‐3820
MCNAIR, DANIEL V                  7687 LAKEVIEW DR                                                                          LEXINGTON          MI   48450‐9603
MCNAIR, DORA                      2466 CALVERT                                                                              DETROIT            MI   48206‐1534
MCNAIR, FRANK R                   384 CONKLE RD                                                                             HAMPTON            GA   30228‐2709
MCNAIR, GEORGE                    1590 HILLCREST TERRACE                                                                    UNION              NJ   07083‐5222
MCNAIR, GEORGE R                  1200 MCNAIR LN                                                                            MADISON            GA   30650‐4417
MCNAIR, GERALD D                  2371 DENBY DRIVE                                                                          WATERFORD          MI   48329‐3810
MCNAIR, GLORIA J                  1811 PARKHILL DR                                                                          DAYTON             OH   45406‐4027
MCNAIR, HERMAN                    329 DELTA RD                                                                              LISMAN             AL   36912‐2698
MCNAIR, IRENE F                   2371 DENBY DRIVE                                                                          WATERFORD          MI   48329
MCNAIR, JAKE                      329 DELTA RD                                                                              LISMAN             AL   36912‐2698
MCNAIR, JAMES I                   827 N QUIGLEY RD                                                                          MARION             LA   71260
MCNAIR, JAMES L                   207 ALICE ST                                                                              SAGINAW            MI   48602‐2704
MCNAIR, JANICE T                  8421 RUTHERFORD DR                                                                        DUNCANVILLE        AL   35456
MCNAIR, JIM                       GUY WILLIAM S                  PO BOX 509                                                 MCCOMB             MS   39649‐0509
MCNAIR, JIVANO D                  836 DOW ST                                                                                DAYTON             OH   45402‐5905
MCNAIR, JOHN A                    114 W RUTH AVE                                                                            FLINT              MI   48505‐2640
MCNAIR, JOHN T                    114 W RUTH AVE                                                                            FLINT              MI   48505‐2640
MCNAIR, JUDITH                    13799 TEFFT DR                                                                            WARREN             MI   48088‐1441
MCNAIR, LARRY D                   2500 S COCHRAN RD                                                                         CHARLOTTE          MI   48813‐9176
MCNAIR, MEGHAN E                  13119 AUTUMN WOODS WAY APT B                                                              FAIRFAX            VA   22033
MCNAIR, PATRICIA A                14 SPARKS ST                                                                              TROTWOOD           OH   45426‐3015
MCNAIR, PAUL                      6510 ALLISON DR                                                                           FLINT              MI   48504‐1643
MCNAIR, PAUL E                    13040 BRADFORD LN                                                                         PLAINFIELD         IL   60585‐2105
MCNAIR, PEGGY L                   827 N QUIGLEY RD                                                                          MARION             LA   71260‐3433
MCNAIR, PEGGY L.                  827 N QUIGLEY RD                                                                          MARION             LA   71260‐3433
MCNAIR, ROBERT F                  3040 S OUTER DR                                                                           SAGINAW            MI   48601‐6582
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Name                            Address1                                Address2                           Address3   Address4         City            State Zip
MCNAIR, SHAMARA L               8227 CHATEAU LN                                                                                        WESTERVILLE      OH 43082‐8565
MCNAIR, SHERRY M                PO BOX 115                                                                                             WHEATLAND        PA 16161‐0115
MCNAIR, STEVEN A                2571 PACKARD HWY                                                                                       CHARLOTTE        MI 48813‐8719
MCNAIR, TROY                    12811 LONGACRE ST                                                                                      DETROIT          MI 48227‐1224
MCNAIR, WANDA L                 220 N HADLEY RD                                                                                        ORTONVILLE       MI 48462‐8623
MCNAIR, WILLIAM                 258 DEER RIDGE DR APT B                                                                                DAYTON           OH 37321‐6304
MCNAIRNIE, DONNIE L             1523 AMELIA AVE                                                                                        ROYAL OAK        MI 48073‐2751
MCNAIRNIE, ROBERT D             1721 ROWLAND AVE                                                                                       ROYAL OAK        MI 48067‐3536
MCNAIRY COUNTY TRUSTEE          COURTHOUSE                                                                                             SELMER           TN 37375
MCNALL, DOLORES M               3330 N GRAVEL RD                                                                                       MEDINA           NY 14103‐9435
MCNALL, FRANCINE L              8826 E COUNTY A                                                                                        JANESVILLE       WI 53546
MCNALL, JERRY L                 2302 FORREST FIELDS DR                                                                                 CHAPEL HILL      TN 37034‐3053
MCNALL, MICKEY                  3719 DERBYSHIRE DR                                                                                     BRUNSWICK        OH 44212‐4112
MCNALL, MORSE W                 9951 MOUNTAIN RD                                                                                       MIDDLEPORT       NY 14105‐9647
MCNALL, TODD G                  6388 JENNIFER DR                                                                                       LOCKPORT         NY 14094
MCNALL, WILLIAM K               739 WILLOW ST                                                                                          LOCKPORT         NY 14094‐5116
MCNALLEY OFFICE SERVICE INC     5646 SWAN CREEK RD                                                                                     SAGINAW          MI 48609‐7070
MCNALLY & NIMERGOOD INC         5825 DIXIE HWY                                                                                         SAGINAW          MI 48601‐5961
MCNALLY AUTOMOTIVE INC.         9561 DE SOTO AVE                                                                                       CHATSWORTH       CA 91311‐5011
MCNALLY GERALD                  945 N PASADENA UNIT 137                                                                                MESA             AZ 85201‐4317
MCNALLY JR, JAMES G             350 ETHEL AVE                                                                                          CARLISLE         OH 45005‐1310
MCNALLY JR, JOHN T              11163 E DESERT VISTA DR                                                                                SCOTTSDALE       AZ 85255‐8063
MCNALLY JR, MICHAEL P           4295 MAUREEN DR                                                                                        YOUNGSTOWN       OH 44511‐1013
MCNALLY MALONEY & PETERSON SC   MAYFAIR NORTH TOWER                     2600 N MAYFAIR RD STE 1080                                     MILWAUKEE        WI 53226‐1376
MCNALLY STANLEY D & MARY L      3434 MELLS RD                                                                                          DORSET           OH 44032‐9750
MCNALLY, ANN L                  27952 DICKASON DR                                                                                      VALENCIA         CA 91354‐1200
MCNALLY, ANTOINETTE G           2150 REEVES RD NE APT 4                                                                                WARREN           OH 44483‐4347
MCNALLY, ANTOINETTE G           2150 REEVES APT. 4                                                                                     WARREN           OH 44483‐4347
MCNALLY, BARBARA                365N SUNSET BEACH DR                                                                                   MANISTIQUE       MI 49854‐8901
MCNALLY, CAROL                  2904 STRATFORD DR                                                                                      BAY CITY         MI 48706
MCNALLY, CAROLE A               92 E 700 N                                                                                             SHARPSVILLE      IN 46068‐8951
MCNALLY, CATHERINE T            159 FOSTER RD                                                                                          STATEN ISLAND    NY 10309‐3040
MCNALLY, CHARLES E              9445 OAK RD                                                                                            OTISVILLE        MI 48463‐9789
MCNALLY, CHARLOTTE E            3620 S PARK AVE                                                                                        MUNCIE           IN 47302‐4939
MCNALLY, CHARLOTTE E            3620 SOUTH PARK AVE                                                                                    MUNCIE           IN 47302‐4939
MCNALLY, DONALD A               7650 TWIN OAKS DRIVE                                                                                   MIDDLETOWN       OH 45042‐5042
MCNALLY, DONALD T               3377 S LEONA ST                                                                                        BAY CITY         MI 48706‐1788
MCNALLY, FRANCES L              9844 LAURENCE                                                                                          ALLEN PARK       MI 48101‐1325
MCNALLY, FRANCES L              9844 LAURENCE AVE                                                                                      ALLEN PARK       MI 48101‐1325
MCNALLY, FRANCIS H              4031 DORCHESTER DR                                                                                     JANESVILLE       WI 53546‐1485
MCNALLY, GARY T                 4427 GRAND LIN ST                                                                                      SWARTZ CREEK     MI 48473
MCNALLY, GEORGE T               707 E STATE ROAD 124                                                                                   WABASH           IN 46992‐9157
MCNALLY, GEORGE W               107 SHEDD PL                                                                                           BUCHANAN         NY 10511‐1416
MCNALLY, GERARD G               1875 S MACKINAW RD                                                                                     KAWKAWLIN        MI 48631‐9752
MCNALLY, JAMES G                1940 CORTINA DRIVE                                                                                     DAYTON           OH 45459‐5459
MCNALLY, JAMES H                1616 DIFFORD DR                                                                                        NILES            OH 44446‐2845
MCNALLY, JAMES R                LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                               PHILADELPHIA     PA 19106
                                GRAY                                    510 WALNUT STREET
MCNALLY, JANET K                912 CHASE ST                                                                                           BAY CITY        MI   48708
MCNALLY, JANET K                1262 W 3RD ST                                                                                          WINONA          MN   55987‐2331
MCNALLY, KATHLEEN A             10604 PINEWOOD AVE                                                                                     TUJUNGA         CA   91042‐1513
MCNALLY, KATHLEEN M             4031 DORCHESTER DR                                                                                     JANESVILLE      WI   53546‐1485
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Name                             Address1                             Address2                       Address3   Address4         City              State Zip
MCNALLY, KEVIN J                 7652 LIONS GATE PKWY                                                                            DAVISON            MI 48423‐3196
MCNALLY, LAWSON F                110 N RIVER GLEN DR                                                                             MORGANTON          NC 28655‐9881
MCNALLY, LYLE E                  3451 MACKINAW RD                                                                                BAY CITY           MI 48706
MCNALLY, LYNN M                  1347 41ST STREET NORTHWEST                                                                      HACKENSACK         MN 56452‐2190
MCNALLY, MARILYN S               4177 FIRETHORN DR                                                                               SAGINAW            MI 48603‐1115
MCNALLY, MARY                    3434 MELLS RD                                                                                   DORSET             OH 44032‐9750
MCNALLY, MICHAEL G               106 COSMOS DR.                                                                                  W. CARROLLTON      OH 45449‐2062
MCNALLY, MICHAEL G               106 COSMOS DR                                                                                   DAYTON             OH 45449‐2062
MCNALLY, MICHAEL J               PO BOX 281                                                                                      SCHOOLCRAFT        MI 49087‐0281
MCNALLY, NANCY M                 1210 STANDISH AVE                                                                               INDIANAPOLIS       IN 46227‐3338
MCNALLY, PAMELA J                271 E APPALOOSA CT                                                                              GILBERT            AZ 85296‐2825
MCNALLY, RICHARD A               2420 N WEBSTER ST                                                                               KOKOMO             IN 46901‐5861
MCNALLY, ROBERT A                92 E 700 N                                                                                      SHARPSVILLE        IN 46068‐8951
MCNALLY, ROBIN L                 1368 WEBBER AVE                                                                                 BURTON             MI 48529‐2034
MCNALLY, ROBIN LAWRENCE          1368 WEBBER AVE                                                                                 BURTON             MI 48529‐2034
MCNALLY, ROSA R                  4701 JOYCE DR                                                                                   DAYTON             OH 45439‐3123
MCNALLY, SALLY C                 GENERAL DELIVERY                                                                                TUCSON             AZ 85726‐9999
MCNALLY, SHERRY L                505 ROOSEVELT AVE                                                                               MOUNT MORRIS       MI 48458‐1401
MCNALLY, SUSAN A                 2420 N WEBSTER ST                                                                               KOKOMO             IN 46901‐5861
MCNALLY, TERRY L                 912 GARVER RD                                                                                   MIDDLETOWN         OH 45044‐8929
MCNALLY, TERRY LEE               912 GARVER RD                                                                                   MIDDLETOWN         OH 45044‐8929
MCNALLY, THOMAS E                271 E APPALOOSA CT                                                                              GILBERT            AZ 85296‐2825
MCNALLY, TIMOTHY D               710 NOTTINGHAM PL                                                                               MIAMISBURG         OH 45342‐2755
MCNALLY, VIOLA                   81‐B BEAVER TERRACE CIRCLE                                                                      FRAMINGHAM         MA 01702‐7183
MCNALLY, VIOLA                   81 BEAVER TERRACE CIR APT B                                                                     FRAMINGHAM         MA 01702‐7183
MCNAMARA & MCNAMARA              500 NCNB TEXAS TOWER                 501 FRANKLIN AVENUE                                        WACO               TX 76701
MCNAMARA AUTOMOTIVE              7701 CEDAR CREEK RD                                                                             TEMPLE             TX 76504‐6007
MCNAMARA BP AMOCO                814 S LINDBERGH BLVD                                                                            SAINT LOUIS        MO 63131‐2823
MCNAMARA DANIEL J (656222)       LANIER LAW FIRM                      6810 FM 1960 WEST SUITE 1550                               HOUSTON            TX 77069
MCNAMARA DANIEL/THERESE MCNAMARA ICO THE LANIER LAW FIRM P C          6810 FM 1960 WEST                                          HOUSTON            TX 77069

MCNAMARA DIANE                     13326 N WEBSTER RD                                                                            CLIO              MI   48420‐8250
MCNAMARA FLORIST                   8707 N BY NORTHEAST BLVD STE 200                                                              FISHERS           IN   46037‐9027
MCNAMARA GEORGE (514053)           BRAYTON PURCELL                    PO BOX 6169                                                NOVATO            CA   94948‐6169
MCNAMARA HECKLER & BOLLA           122 E COURT ST                                                                                DOYLESTOWN        PA   18901‐4321
MCNAMARA JACK                      MCNAMARA, JACK                     8867 MONTEGUE TER                                          BROOKLYN PARK     MN   55443‐3704
MCNAMARA MARTIN E (ESTATE OF)      PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                     PHILADELPHIA      PA   19103‐5446
(629816)
MCNAMARA PONTIAC INC               PO BOX 3269                                                                                   ORLANDO           FL   32080‐3269
MCNAMARA, AARON J                  1381 SANDY RIDGE DR                                                                           ROCHESTER HILLS   MI   48306‐4064
MCNAMARA, AARON JAMES              1381 SANDY RIDGE DR                                                                           ROCHESTER HILLS   MI   48306‐4064
MCNAMARA, BRUCE E                  42 MERRY RD                                                                                   NEWARK            DE   19713‐2515
MCNAMARA, CHRISTOPHER O            13326 N WEBSTER RD                                                                            CLIO              MI   48420‐8250
MCNAMARA, CHRISTOPHER OWEN         13326 N WEBSTER RD                                                                            CLIO              MI   48420‐8250
MCNAMARA, DANIEL J                 LANIER LAW FIRM                    6810 FM 1960 WEST SUITE 1550                               HOUSTON           TX   77069
MCNAMARA, DANIEL STEPHEN           VARAS & MORGAN                     PO BOX 886                                                 HAZLEHURST        MS   39083‐0886
MCNAMARA, DAVID F                  VARAS & MORGAN                     PO BOX 886                                                 HAZLEHURST        MS   39083‐0886
MCNAMARA, DIANE J                  13326 N WEBSTER RD                                                                            CLIO              MI   48420‐8250
MCNAMARA, DOLORES H                1721 KENSINGTON AVE                                                                           BUFFALO           NY   14215‐1412
MCNAMARA, EDWARD C                 8070 BRENTWOOD DR                                                                             BIRCH RUN         MI   48415‐8437
MCNAMARA, EDWARD CHARLES           8070 BRENTWOOD DR                                                                             BIRCH RUN         MI   48415‐8437
MCNAMARA, GEORGE                   BRAYTON PURCELL                    PO BOX 6169                                                NOVATO            CA   94948‐6169
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Name                                  Address1                              Address2                      Address3         Address4         City                  State Zip
MCNAMARA, GERTRUD                     43 W GATE RD                                                                                          SUFFERN                NY 10901‐3127
MCNAMARA, HAROLD A                    30559 PARDO ST                                                                                        GARDEN CITY            MI 48135‐1845
MCNAMARA, JACK                        8867 MONTEGUE TER                                                                                     BROOKLYN PARK          MN 55443‐3704
MCNAMARA, JAMES A                     10617 N WESTLAKES DR                                                                                  FORT WAYNE             IN 46804‐8603
MCNAMARA, JANET                       7849 TERRI DR                                                                                         WESTLAND               MI 48185‐9449
MCNAMARA, JOHN                        6013 CANARY CT                                                                                        VENUS                  TX 76084‐3228
MCNAMARA, JOHN A                      3615 NW 85TH TER                                                                                      KANSAS CITY            MO 64154‐1162
MCNAMARA, JOSEPH B                    2131 PELWOOD DR                                                                                       DAYTON                 OH 45459‐5174
MCNAMARA, JS COMPANY INC              13231 23 MILE RD                                                                                      SHELBY TWP             MI 48315‐2713
MCNAMARA, KATHLEEN M                  1128 VILLAGE TRL                                                                                      STONE MOUNTAIN         GA 30088‐2768
MCNAMARA, LUANN                       13048 FARR DR                                                                                         CLIO                   MI 48420‐1825
MCNAMARA, LYDIA                       PO BOX 40                                                                                             NAZARETH               MI 49074‐0040
MCNAMARA, MARCUS T                    1381 SANDY RIDGE DR                                                                                   ROCHESTER HILLS        MI 48306‐4064
MCNAMARA, MARGARET C                  PO BOX 114                                                                                            BUFFALO                NY 14201‐0114
MCNAMARA, MARTIN E                    PAUL REICH & MYERS P.C.               1608 WALNUT ST STE 500                                          PHILADELPHIA           PA 19103‐5446
MCNAMARA, MARTIN H                    33 MOUNT VIEW DR                                                                                      CLINTON                MA 01510‐1422
MCNAMARA, MATTHEW                     12341 NICHOLS RD                                                                                      MONTROSE               MI 48457‐9763
MCNAMARA, MICHAEL E                   4288 LINDENWOOD DR                                                                                    SWARTZ CREEK           MI 48473‐8212
MCNAMARA, MICHAEL G                   15200 MARL DR                                                                                         LINDEN                 MI 48451‐8916
MCNAMARA, MICHAEL J                   559 ENGLISH RD                                                                                        GLOSTER                LA 71030‐3501
MCNAMARA, NORWOOD L                   829 W PARK AVE                                                                                        NILES                  OH 44446‐1529
MCNAMARA, PATRICIA P                  5601 DEWEY HILL RD APT 206                                                                            EDINA                  MN 55439‐1924
MCNAMARA, PATRICK J                   169 DOREMUS AVE                                                                                       WATERFORD              MI 48328‐2818
MCNAMARA, PATRICK J                   3677 HI LURE DR                                                                                       LAKE ORION             MI 48360‐2448
MCNAMARA, PATRICK T                   1 RIDGEWOOD RD                                                                                        STERLING               MA 01564
MCNAMARA, PAUL J                      169 DOREMUS AVE                                                                                       WATERFORD              MI 48328‐2818
MCNAMARA, PHYLLIS                     7764 S 21 RD                                                                                          CADILLAC               MI 49601‐9328
MCNAMARA, ROBERT                      1408 EASTLAND AVE                                                                                     NASHVILLE              TN 37206‐2627
MCNAMARA, ROBERT J                    7777 BEECH ST                                                                                         BIRCH RUN              MI 48415‐9235
MCNAMARA, SANDRA N                    1110 FOREST RD                                                                                        CLEAR LAKE SHORES      TX 77565‐2443
MCNAMARA, SARAH O                     336 STRATFORD LN                                                                                      LAKE ORION             MI 48360‐1352
MCNAMARA, THOMAS
MCNAMARA, TIMOTHY G                   972 JACINTO E                                                                                         VENICE                FL   34285‐6921
MCNAMARA, WILLIAM W                   7130 SAN MARINO DR                                                                                    EL PASO               TX   79912‐1561
MCNAMEE IND/ANN ARBR                  3135 S STATE ST STE 202                                                                               ANN ARBOR             MI   48108‐1653
MCNAMEE INDUSTRIAL SERVICES           710 AVIS DR                                                                                           ANN ARBOR             MI   48108‐9649
MCNAMEE JR, DANIEL J                  204 ELBURG DR                                                                                         NORTH FORT MYERS      FL   33903‐2155
MCNAMEE PAMELA A                      MCNAMEE, PAMELA A                     100 CENTURY PKWY STE 305                                        MOUNT LAUREL          NJ   08054‐1182
MCNAMEE, GRAHAM                       4378 LIBRARY ST                                                                                       PORT CHARLOTTE        FL   33948‐2234
MCNAMEE, JAMES W                      7001 AUGUSTA NATIONAL                                                                                 FAYETTEVILLE          PA   17222‐9417
MCNAMEE, JEANI M                      18878 NORTH HIGHLITE DRIVE                                                                            CLINTON TWP           MI   48035‐2529
MCNAMEE, LOCHNER, TITUS & WILLIAMS,   ATTY FOR STATES OF ST. REGIS MOHAWK   ATTN: JOHN J. PRIVITERA       677 BROADWAY                      ALBANY                NY   12207
P.C                                   TRIBE
MCNAMEE, LOCHNER, TITUS & WILLIAMS,   ATT: JACOB F. LAMME, ESQ.             ATTY FOR ST. REGIS MOHAWK TRIBE 677 BROADWAY                    ALBANY                NY 12207
P.C.
MCNAMEE, LOCHNER, TITUS & WILLIAMS,   ATT: JOHN J. PRIVITERA, ESQ.          ATTY FOR ST. REGIS MOHAWK TRIBE 677 BROADWAY                    ALBANY                NY 12207
P.C.
MCNAMEE, MICHAEL                      19973 E EMORY CT                                                                                      GROSSE POINTE WOODS   MI   48236‐2333
MCNAMEE, NEODA H                      PO BOX 437                                                                                            FRANKTON              IN   46044‐0437
MCNAMEE, PAMELA A                     GORBERG & ASSOCIATES DAVID J          100 CENTURY PKWY STE 305                                        MOUNT LAUREL          NJ   08054‐1182
MCNAMER, DONALD L                     PO BOX 186                                                                                            READSTOWN             WI   54652‐0186
MCNAMER, GLORIA J                     6922 NOCTURNE RD N                                                                                    REYNOLDSBURG          OH   43068‐1721
                                     09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                        Exhibit B
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Name                                Address1                         Address2                      Address3                   Address4         City              State Zip
MCNAMER, LYDIA L                    455 SOUTH FIRST ST. APT. 6                                                                                 EVANSVILLE         WI 53536‐1349
MCNAMER, LYDIA L                    455 S 1ST ST APT 6                                                                                         EVANSVILLE         WI 53536‐1349
MCNAMER, MICHELLE A                 PO BOX 186                                                                                                 READSTOWN          WI 54652
MCNANEY, DAVID H                    120 N VAL VISTA DR APT 207                                                                                 MESA               AZ 85213
MCNANY, GLENN L                     2345 STATE ROUTE 45 S                                                                                      SALEM              OH 44460‐9463
MCNARY AGENCY                       DAN MCNARY X210                  D.L.H. INDUSTRIES             20755 GREENFIELD RD/ STE                    TROY               MI 48083
                                                                                                   806
MCNARY AGENCY                       DAN MCNARY X210                  20755 GREENFIELD RD STE 806   D.L.H. INDUSTRIES                           SOUTHFIELD        MI   48075‐5410
MCNARY BISSETT, PHYLLIS A           4440 VINE ST                                                                                               BROWN CITY        MI   48416‐8657
MCNARY, ANGELA M                    4308 GLADYS DR                                                                                             LANSING           MI   48917‐3515
MCNARY, ANGELA MARIE                4308 GLADYS DR                                                                                             LANSING           MI   48917‐3515
MCNARY, CHARLES A                   424 5TH AVE                                                                                                THREE RIVERS      MI   49093‐1115
MCNARY, DARCY K                     PO BOX 1                                                                                                   MACY              IN   46951
MCNARY, DOUGLAS R                   3342 AMHERST AVE                                                                                           LORAIN            OH   44052
MCNARY, GERALD L                    11661 E EATON ALBANY PIKE                                                                                  DUNKIRK           IN   47336‐9112
MCNARY, GERALD LEE                  11661 E EATON ALBANY PIKE                                                                                  DUNKIRK           IN   47336‐9112
MCNARY, MARY G                      5439 MEADOWLAKE DR N                                                                                       MEMPHIS           TN   38115‐1718
MCNARY, TIMOTHY H                   607 MECHANIC ST                                                                                            THREE RIVERS      MI   49093‐1637
MCNARY, WILLIAM H                   157 N ENGLE RD                                                                                             IMLAY CITY        MI   48444‐9448
MCNATT HUBERT A (419448)            SIMMONS LAW FIRM
MCNATT SANGER INC.                  JAMES MCNATT                     1405 N STEMMONS ST                                                        SANGER            TX   76266‐9393
MCNATT, AUDREY J                    413 N GRANT AVE                                                                                            JANESVILLE        WI   53548‐3431
MCNATT, DONNA J                     1954 CHESTNUT ST                                                                                           HOLT              MI   48842‐6604
MCNATT, HELEN M                     5255 FAYANN ST                                                                                             ORLANDO           FL   32812‐8726
MCNATT, HUBERT A                    SIMMONS LAW FIRM                 PO BOX 521                                                                EAST ALTON        IL   62024‐0519
MCNATT, JEREMY R                    1801 TRENTON CT                                                                                            CRANBERRY TWP     PA   16066‐7135
MCNATT, JON P                       PO BOX 576                                                                                                 LEONARD           MI   48367‐0576
MCNATT, REDUS D                     18229 COFFMAN RD                                                                                           ELKMONT           AL   35620‐5213
MCNATT, ROBERT L                    12726 DEVONSHIRE LAKES CIR                                                                                 FORT MYERS        FL   33913‐7965
MCNATT, SHARON D                    13 HARDY RD                                                                                                NEW CASTLE        DE   19720‐2324
MCNATT, SHIRLEY J                   8803 CO RD #460                                                                                            MOULTON           AL   35650
MCNATT, TIMOTHY A                   301 BOARDWALK ST                                                                                           MIDLOTHIAN        TX   76065‐6717
MCNATT, WILLIAM V                   30145 GENTLE SLOPE LN                                                                                      GRAVOIS MILLS     MO   65037‐4313
MCNAUGHT, ETHEL M                   1640 NORWOOD AVE APT 402                                                                                   ITASCA            IL   60143
MCNAUGHT, NANCY L                   931 MEADOW DR                                                                                              DAVISON           MI   48423‐1048
MCNAUGHTAN, STUART D                1560 VALDEZ WAY                                                                                            FREMONT           CA   94539‐3661
MCNAUGHTON MC/MAD HT                1357 E LINCOLN AVE                                                                                         MADISON HEIGHTS   MI   48071‐4134
MCNAUGHTON MCKAY ELECTRIC CO        PO BOX 182039                                                                                              COLUMBUS          OH   43218‐2039
MCNAUGHTON MCKAY ELECTRIC CO        1011 E 5TH AVE                                                                                             FLINT             MI   48503‐1716
MCNAUGHTON MCKAY ELECTRIC CO        MCNAUGHTON MCKAY OF OHIO         188 FOX RUN DRIVE                                                         DEFIANCE          OH   43512‐1394
MCNAUGHTON MCKAY ELECTRIC CO INC    1357 E LINCOLN AVE                                                                                         MADISON HEIGHTS   MI   48071‐4134

MCNAUGHTON MCKAY ELECTRIC CO O     1733 NUSSBAUM PKWY                                                                                          MANSFIELD         OH   44906‐2367
MCNAUGHTON MCKAY ELECTRIC CO O     355 TOMAHAWK DR UNIT 1                                                                                      MAUMEE            OH   43537‐1757
MCNAUGHTON MCKAY ELECTRIC CO O     1357 E LINCOLN AVE                                                                                          MADISON HEIGHTS   MI   48071‐4134
MCNAUGHTON MCKAY ELECTRIC CO OF OH 1011 E 5TH AVE                                                                                              FLINT             MI   48503‐1716

MCNAUGHTON MCKAY ELECTRIC CO OF OH 355 TOMAHAWK DR UNIT 1                                                                                      MAUMEE            OH 43537‐1757

MCNAUGHTON MCKAY ELECTRIC CO OF OH 1011 E 5TH AVE                    PO BOX 126                                                                FLINT             MI 48503‐1716
                                     09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                               Address1                         Address2                      Address3   Address4         City              State Zip
MCNAUGHTON MCKAY ELECTRIC CO OF OH 1357 E LINCOLN AVE                                                                         MADISON HEIGHTS    MI 48071‐4134

MCNAUGHTON MCKAY ELECTRIC CO OF OH 355 TOMAHAWK DR                  PO BOX 1570                                               MAUMEE            OH 43537

MCNAUGHTON, ARCHIBALD               16033 W SILVER BREEZE DR                                                                  SURPRISE          AZ   85374‐5038
MCNAUGHTON, BASIL R                 1672 W HARBOUR TOWNE CIR        C/O MARJORIE A GUSTAFSON                                  MUSKEGON          MI   49441‐6411
MCNAUGHTON, HEIDI L                 8800 BEARDSLEE                                                                            PERRY             MI   48872
MCNAUGHTON, MARIA E                 PO BOX 923                                                                                ELKHORN           WI   53121‐0923
MCNAUGHTON, RICKEY G                8800 BEARDSLEE RD                                                                         PERRY             MI   48872‐9748
MCNAUGHTON, RUTH A                  34202 CHANNING COURT                                                                      WESTLAND          MI   48186‐5414
MCNAUGHTON, RUTH ANN                34202 CHANNING COURT                                                                      WESTLAND          MI   48186‐5414
MCNAUGHTON, WILLIAM M               4200 ENGLISH RD                                                                           KINGSTON          MI   48741‐9765
MCNAUGHTON‐MCKAY ELEC CO OF GA      6685 BEST FRIEND RD                                                                       NORCROSS          GA   30071‐2918
MCNAUGHTON‐MCKAY ELECTRIC CO        PO BOX 73965                                                                              CLEVELAND         OH   44193‐0002
MCNAUGHTON‐MCKAY ELECTRIC CO        1011 E 5TH AVE                                                                            FLINT             MI   48503‐1716
MCNAUGHTON‐MCKAY ELECTRIC CO        1011 E 5TH AVE                  PO BOX 126                                                FLINT             MI   48503‐1716
MCNAY, EUGENE H                     7354 HARBOUR ISLE                                                                         INDIANAPOLIS      IN   45240‐3471
MCNAY, LINDA L                      1307 NOWLIN ST                                                                            DEARBORN          MI   48124‐2605
MCNEA, DENNIS L                     1153 TANGLEWOOD LN                                                                        BURTON            MI   48529‐2227
MCNEA, RONALD G                     2531 CHERRY GROVE ST                                                                      HARRISON          MI   48625‐8320
MCNEAL AGENCY, INC.                 PO BOX 6009                                                                               WARNER ROBINS     GA   31095‐6009
MCNEAL AUTOMOTIVE LLC               520 E COLUMBIA AVE                                                                        PONTIAC           MI   48340‐2040
MCNEAL III, IRA                     2613 SW 75TH ST                                                                           OKLAHOMA CITY     OK   73159‐4601
MCNEAL JAMES D (356899)             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                                    STREET, SUITE 600
MCNEAL JR, CHARLES                  1949 N 83RD TER                                                                           KANSAS CITY       KS   66112‐1718
MCNEAL JR, GALITON A                851 SAINT ALBERT THE GREAT DR                                                             SUN PRAIRIE       WI   53590‐4433
MCNEAL JR, KARY L                   508 WOODS DR                                                                              COLUMBIA          TN   38401‐4747
MCNEAL STEPHENS                     4850 ERIN RD SW                                                                           ATLANTA           GA   30331‐7807
MCNEAL, ANGELA                      1418 FULLEN RD                                                                            COLUMBUS          OH   43229‐5149
MCNEAL, ANTHONY B                   5219 ELK TRAIL DR                                                                         FLORISSANT        MO   63033‐7582
MCNEAL, ANTHONY BLAKE               5219 ELK TRAIL DR                                                                         FLORISSANT        MO   63033‐7582
MCNEAL, BENNIE L                    5111 KILLIAN CT                                                                           FLINT             MI   48504‐1230
MCNEAL, BERNICE B                   751 CARTON STREET                                                                         FLINT             MI   48505‐3914
MCNEAL, BEVERLY H                   3495 OAKVIEW DRIVE                                                                        GIRARD            OH   44420‐3131
MCNEAL, BRANDON
MCNEAL, CEDRIC J                    701 KEELING RD                                                                            GADSDEN           AL   35903‐3852
MCNEAL, CHARLES R                   2431 W LAKE RD                                                                            CLIO              MI   48420‐8856
MCNEAL, CHARLES RICHARD             2431 W LAKE RD                                                                            CLIO              MI   48420‐8856
MCNEAL, CHARLES W                   7605 COUNTRYSIDE DR                                                                       SAINT LOUIS       MI   48880‐9480
MCNEAL, CLAREATHER                  16668 MARLOWE ST                                                                          DETROIT           MI   48235‐4512
MCNEAL, DAMIAN L                    5116 WOLF CREEK PIKE                                                                      DAYTON            OH   45426
MCNEAL, DANNY L                     2001 STONEY HURST BND                                                                     HUNTINGTON        IN   46750‐3900
MCNEAL, DAVID A                     6470 N 87TH ST                                                                            MILWAUKEE         WI   53224
MCNEAL, DAVID E                     1015 N COCHRAN AVE                                                                        CHARLOTTE         MI   48813‐1105
MCNEAL, DAVID K                     PO BOX 5528                                                                               FLINT             MI   48505‐0528
MCNEAL, DAVID M                     3067 W 300 S                                                                              TIPTON            IN   46072‐8964
MCNEAL, DEBORAH A                   3410 BEECHER RD                                                                           FLINT             MI   48503‐4978
MCNEAL, DONALD J                    212 SERENITY CIR                                                                          ANDERSON          IN   46013‐1093
MCNEAL, DONNA D                     6354 RUSTIC RIDGE TRL                                                                     GRAND BLANC       MI   48439‐4957
MCNEAL, DWIGHT A                    240 SMITH ST                                                                              DAYTON            OH   45408‐2039
MCNEAL, ERIC C                      44 LESLIE LN                                                                              MONROE            LA   71203‐2715
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Name                     Address1                             Address2                      Address3   Address4         City             State Zip
MCNEAL, EVA J            3067 W 300 S                                                                                   TIPTON            IN 46072‐8964
MCNEAL, FLOYD M          1974 W MAIN ST                                                                                 NEW LEBANON       OH 45345
MCNEAL, GEORGE C         15970 OLD DAYTON RD.                                                                           NEW LEBANON       OH 45345‐9716
MCNEAL, GEORGE L         4032 W COURT ST                                                                                FLINT             MI 48532‐5021
MCNEAL, GWENDOLYN F      PO BOX 91                                                                                      BRASELTON         GA 30517‐0002
MCNEAL, GWENDOLYN F      BOX 91                                                                                         BRASELTON         GA 30517‐0002
MCNEAL, HAROLD D         6114 OXLEY DR                                                                                  FLINT             MI 48504‐1669
MCNEAL, HARRIS G         1219 38TH AVE                                                                                  MERIDIAN          MS 39307‐6062
MCNEAL, HELEN            5111 KILLIAN COURT                                                                             FLINT             MI 48504
MCNEAL, HELEN            5111 KILLIAN CT                                                                                FLINT             MI 48504‐1230
MCNEAL, HENRY R          8289 E STATE HIGHWAY 52                                                                        HARTFORD          AL 36344‐5368
MCNEAL, HOWARD O         6354 RUSTIC RIDGE TRL                                                                          GRAND BLANC       MI 48439‐4957
MCNEAL, HUGH T           15025 WARD ST                                                                                  DETROIT           MI 48227‐4074
MCNEAL, IDA              4324 ARDERY AVE.                                                                               DAYTON            OH 45406‐5406
MCNEAL, JACKIE           3513 GRATIOT AVE                                                                               FLINT             MI 48503‐4957
MCNEAL, JAMES D          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                              STREET, SUITE 600
MCNEAL, JAMES EDWARD     MARK WORSHAM, ESQ., LAW OFFICES OF   400 MALL BLVD STE P                                       SAVANNAH         GA 31406‐4820
                         HUGH M. WORSHAM, JR.
MCNEAL, JAMES L          21145 MAINE AVE                      TOLCHESTER                                                CHESTERTOWN      MD   21620‐4348
MCNEAL, JANE B           4315 MONARCH DR                                                                                ANDERSON         IN   46013‐4436
MCNEAL, JOEL P           4021 GREENBROOK LN                                                                             FLINT            MI   48507‐2223
MCNEAL, JOEL PATRICK     4021 GREENBROOK LN                                                                             FLINT            MI   48507‐2223
MCNEAL, JUANITA          1450 S MAINE AVE                                                                               WELLSTON         OH   45692‐9779
MCNEAL, KAREN L          5429 HAGERMAN RD                                                                               BUTLER           OH   44822‐9629
MCNEAL, KIM LOUISE       PO BOX 73                                                                                      KELLER           TX   76244
MCNEAL, LARRY            39542 GLORYLAND DR                                                                             DADE CITY        FL   33525‐1591
MCNEAL, MARY L           409 W JAMIESON ST                                                                              FLINT            MI   48505‐4057
MCNEAL, MICHAEL E        5408 PATTERSON LN                                                                              ANDERSON         IN   46017‐9567
MCNEAL, MISTY DANIELLE   2001 STONEY HURST BND                                                                          HUNTINGTON       IN   46750‐3900
MCNEAL, OLA T            2244 LOUISE ST                                                                                 ANDERSON         IN   46016‐3744
MCNEAL, OLINDA           5063 WELL FLEET DR                                                                             TROTWOOD         OH   45426‐1417
MCNEAL, PATRICIA A       3027 CLANFIELD DR                                                                              FLORISSANT       MO   63031‐1531
MCNEAL, PATRICIA ANN     3027 CLANFIELD DR                                                                              FLORISSANT       MO   63031‐1531
MCNEAL, PAUL G           4033 PINEWOOD ST                                                                               BENTON           LA   71006‐9384
MCNEAL, PEGGY L          18104 BLACKBERRY CREEK DRIVE                                                                   BURTON           MI   48519
MCNEAL, RAY A            44 LESLIE LN                                                                                   MONROE           LA   71203‐2715
MCNEAL, RAY ASHLAND      44 LESLIE LN                                                                                   MONROE           LA   71203‐2715
MCNEAL, RENATE H         4104 W ROLLING MEADOWS BLV                                                                     DEFIANCE         OH   43512‐9662
MCNEAL, ROBBIE D         431 DOVE LN                                                                                    SOCIAL CIRCLE    GA   30025
MCNEAL, ROBERT D         1313 MARTIN DR BOX1068                                                                         FRANKFORT        MI   49635
MCNEAL, ROBERT W         2008 COTACO VALLEY TRL SE                                                                      DECATUR          AL   35603
MCNEAL, RONALD J         130 SELMAN DR                                                                                  MONROE           LA   71203‐4741
MCNEAL, ROXTON           12 RONARM DR                                                                                   MOUNTAIN LAKES   NJ   07046‐1418
MCNEAL, RUBY L           1850 N AVALON ST APT 14                                                                        WEST MEMPHIS     AR   72301‐1622
MCNEAL, SADIE M          1316 BELLCREEK DR                                                                              FLINT            MI   48505‐2541
MCNEAL, SALLIE J         805 10TH ST N APT 3                                                                            COLUMBUS         MS   39701‐4069
MCNEAL, SALLIE JANE      805 10TH ST N APT 3                                                                            COLUMBUS         MS   39701
MCNEAL, SAMUEL           409 WEST JAMIESON STREET                                                                       FLINT            MI   48505‐4057
MCNEAL, STEPHEN J        4455 S GRABER DR                                                                               PERU             IN   46970‐3702
MCNEAL, TERRY
MCNEAL, THEOPOLIS J      1930 MOUNT VERNON AVE                                                                          TOLEDO           OH 43607‐1542
                          09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                      Address1                       Address2                  Address3              Address4          City              State Zip
MCNEAL, THEOPOLIS JAMES   1930 MOUNT VERNON AVE                                                                            TOLEDO             OH 43607‐1542
MCNEAL, THOMAS J          G1288 KNICKERBOCKER AVE                                                                          FLINT              MI 48505
MCNEAL, WALLACE C         622 THOMAS ST SE                                                                                 GRAND RAPIDS       MI 49503
MCNEAL, WALTER J          716 WESTWOOD DR                                                                                  DEFIANCE           OH 43512‐1926
MCNEAL, WARDELL           1319 E 56TH ST                                                                                   LOS ANGELES        CA 90011‐4832
MCNEAL, WILLIAM H         220 N 13TH ST                                                                                    HAINES CITY        FL 33844‐4406
MCNEAL, WILLIAM J         258 E HACKETT ST                                                                                 FRANKFORT          IN 46041‐3440
MCNEAL, WILLIS            COON & ASSOCS BRENT            917 FRANKLIN ST STE 210                                           HOUSTON            TX 77002‐1751
MCNEAL,OLINDA             5063 WELL FLEET DR                                                                               TROTWOOD           OH 45426‐1417
MCNEALEY, JOE             POBOX 255586                                                                                     SACRAMENTO         CA 98565‐5586
MCNEALY, CHARLES          GUY WILLIAM S                  PO BOX 509                                                        MCCOMB             MS 39649‐0509
MCNEALY, EARL C           1138 NORTH DR ML KING JR ST                                                                      NATCHEZ            MS 39120‐3156
MCNEALY, PHILIP           51 MERSEY CT                                                                                     CARMEL             IN 46032‐9507
MCNEALY, WILLIAM          SHANNON LAW FIRM               100 W GALLATIN ST                                                 HAZLEHURST         MS 39083‐3007
MCNEAR, GARY              14733 BITTERNUT LN                                                                               FORT WAYNE         IN 46814‐9060
MCNEAR, JOSEPH H          617 SW 22ND ST                                                                                   MOORE              OK 73160‐5510
MCNEAR, SETH E            803 WEST FARNUM AVENUE                                                                           ROYAL OAK          MI 48067‐2210
MCNEAR, TERRAN L          378 HILLSIDE AVE                                                                                 ROANOKE            IN 46783‐8815
MCNEARNEY & ASSOCIATES    6800 COLLEGE BLVD STE 400                                                                        OVERLAND PARK      KS 66211‐1880
MCNEARY JR, EDWARD        5000 S EDGEWOOD DR                                                                               MUNCIE             IN 47302‐9194
MCNEARY, GAIL V           5741 HARRIER LN                                                                                  ATLANTA            GA 30349‐8869
MCNEARY, GERHARD          585 BLOOMFIELD AVE                                                                               PONTIAC            MI 48341‐2713
MCNEASE, KENNETH E        2273 MONTROSE DR                                                                                 ATLANTA            GA 30344
MCNEE, LARRY S            105 WOODCREST DR                                                                                 ROSCOMMON          MI 48653‐8972
MCNEEL, PEGGY M           704 SW HILLSIDE DR                                                                               GRAIN VALLEY       MO 64029‐8448
MCNEELEY, CATHERINE T     4354 W 147TH ST                                                                                  CLEVELAND          OH 44135‐2022
MCNEELEY, CATHERINE T     4354 WEST 147 ST                                                                                 CLEVELAND          OH 44135‐2022
MCNEELEY, LOIS F          4101 RIVERSHELL LN                                                                               LANSING            MI 48911‐1908
MCNEELEY, MARVIN D        1487 S HOLLY RD                                                                                  FENTON             MI 48430‐8525
MCNEELEY, MELVIN M        2310 GIBSON RD                                                                                   GRAND BLANC        MI 48439‐8548
MCNEELY KELLY             ATTN WILLIAM KELLY             197 BOND STREET E                               OSHAWA ON         L1G 1B4
MCNEELY LARRY             MCNEELY, LARRY                 8840 WARNER AVE STE 301                                           FOUNTAIN VALLEY   CA   92708‐3234
MCNEELY MIKE              14 HOLLOW OAK CT                                                                                 IMPERIAL          MO   63052
MCNEELY PIGOTT & FOX      PUBLIC RELATIONS LLC           THE TOWER TOWER 2800      611 COMMERCE STREET                     NASHVILLE         TN   37203
MCNEELY, BEULAH E         2555 MERSHON                                                                                     SAGINAW           MI   48602‐5261
MCNEELY, BEULAH E         2555 MERSHON ST                                                                                  SAGINAW           MI   48602‐5261
MCNEELY, BRENDA C         686 BIG CREEK RD.                                                                                LA FOLLETTE       TN   37766‐5982
MCNEELY, CARL E           4555 SOUTH MISSION RD LOT402                                                                     TUCSON            AZ   85746
MCNEELY, CHARLES H        2214 N WABASH RD                                                                                 MARION            IN   46952‐1302
MCNEELY, CHARLES L        155 PRIVATE ROAD 7010                                                                            BROOKELAND        TX   75931‐4208
MCNEELY, CHARLES L        RT 2 BOX 258                                                                                     BROOKLAND         TX   75931‐9608
MCNEELY, CORBIA L         7399 LONGVIEW AVE                                                                                MENTOR            OH   44060‐6322
MCNEELY, CORBIA L         7399 LONGVIEW                                                                                    MENTOR            OH   44060‐6322
MCNEELY, DARREN C         154 SANDPIPER LN                                                                                 STONEWALL         LA   71078‐8280
MCNEELY, DONALD J         1127 SW 23RD ST                                                                                  CAPE CORAL        FL   33991‐3639
MCNEELY, DOROTHY M        184 W. PRINCETON                                                                                 PONTIAC           MI   48340‐1842
MCNEELY, DOROTHY M        184 W PRINCETON AVE                                                                              PONTIAC           MI   48340‐1842
MCNEELY, EUGENE C         PO BOX 35                                                                                        DAWSONVILLE       GA   30534‐0001
MCNEELY, GEORGE C         686 BIG CREEK RD.                                                                                LA FOLLETTE       TN   37766‐5982
MCNEELY, GEORGE E         2218 MCCOLLUM RD                                                                                 YOUNGSTOWN        OH   44509‐2139
MCNEELY, JAMES            2672 KNOB CREEK RD                                                                               COLUMBIA          TN   38401‐1428
MCNEELY, JAMES K          2500 LEGENDARY DR                                                                                MARTINSVILLE      IN   46151‐9117
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Name                      Address1                          Address2                        Address3   Address4         City              State Zip
MCNEELY, JERRY E          4901 DEMPSEY DR                                                                               CROSS LANES        WV 25313‐2001
MCNEELY, LARRY            WHITWORTH JIM O LAW OFFICES OF    8840 WARNER AVE STE 301                                     FOUNTAIN VALLEY    CA 92708‐3234
MCNEELY, LEONA G          2214 N WABASH RD                                                                              MARION             IN 46952‐1302
MCNEELY, MABLE            1811 WOODLIND DR                                                                              FLINT              MI 48504
MCNEELY, MARTHA           4733 CROWS NEST CT                                                                            BRIGHTON           MI 48114‐9099
MCNEELY, MARY L           808 TULANE DR                                                                                 FLINT              MI 48503‐5253
MCNEELY, MELVIN P         769 FOREST DR                                                                                 MANSFIELD          OH 44905‐2030
MCNEELY, MICHAEL J        481 OVERLAND DR                                                                               GREENWOOD          IN 46143‐8126
MCNEELY, NANCY M          1030 E KINNEY RD                                                                              MUNGER             MI 48747‐9772
MCNEELY, NORWOOD N        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                            STREET, SUITE 600
MCNEELY, R F              2203 MERIDIAN RD                                                                              MITCHELL          IN   47446‐6942
MCNEELY, RICHARD A        111 THURSTON DR                                                                               NOBLESVILLE       IN   46060‐1617
MCNEELY, ROBERT R         8115 JERICHO RD                                                                               HICKSVILLE        OH   43526‐9303
MCNEELY, ROBERT S         7118 MCVILLE RD                                                                               BURLINGTON        KY   41005‐8662
MCNEELY, SUSANNE          5514 WHITCOMB CT APT C                                                                        INDIANAPOLIS      IN   46224‐6750
MCNEELY, TONY A           7120 HASKELL AVE                                                                              KANSAS CITY       KS   66109‐2521
MCNEELY, WILLIAM          115 WOODLAWN VLG                                                                              MITCHELL          IN   47446‐6327
MCNEES JR, GEORGE R       1183 HOYT ST SE                                                                               GRAND RAPIDS      MI   49507‐3753
MCNEES WALLACE & NURICK   PO BOX 1166                       100 PINE ST                                                 HARRISBURG        PA   17108‐1166
MCNEES, BETTY J           1415 LYNN STREET                                                                              OWOSSO            MI   48867‐3337
MCNEES, BETTY J           1415 LYNN ST                                                                                  OWOSSO            MI   48867‐3337
MCNEES, GREGORY L         134 BLUE WATER STREET                                                                         EUSTIS            FL   32736‐2247
MCNEES, JULIE             341 HIMMEL ROAD                                                                               MOSCOW MILLS      MO   63362‐1809
MCNEES, LEO E             27 SUNNYBROOK CT.                                                                             TROTWOOD          OH   45426‐5426
MCNEES, LINDA C           224 MOORE DR                                                                                  FRANKLIN          OH   45005‐2157
MCNEES, MARY              3864 CRESTVIEW AVE SE                                                                         WARREN            OH   44484‐3359
MCNEESE JR, CARL O        15869 E 580 NORTH RD                                                                          GEORGETOWN        IL   61846‐6090
MCNEESE, DAVID A          11 SHAW ST                                                                                    WESTVILLE         IL   61883‐1125
MCNEESE, DORIS A          202 N STATE RD                                                                                FAIRMOUNT         IL   61841‐9777
MCNEESE, DORIS A          202 N. STATE RD                                                                               FAIRMOUNT         IL   61841‐9777
MCNEESE, DORIS L          3764 CAMPBELL DR                                                                              ANDERSON          IN   46012‐9293
MCNEESE, EARNEST L        202 N STATE RD                                                                                FAIRMOUNT         IL   61841
MCNEESE, EDWIN R          5324 MANCHESTER RD                                                                            WEST CARROLLTON   OH   45449‐1937
MCNEESE, KENNETH R        224 W 6TH ST                                                                                  TILTON            IL   61833‐7802
MCNEESE, TIM D            6314 N CAMDEN AVE APT C                                                                       KANSAS CITY       MO   64151‐4318
MCNEESE, TROY K           PO BOX 308                                                                                    ELKTON            TN   38455‐0308
MCNEESE, WILLIE D         2537 HARVEST MOON CT                                                                          ANDERSON          IN   46011
MCNEICE I I, CHARLES E    9008 E LIPPINCOTT BLVD                                                                        DAVISON           MI   48423‐8302
MCNEICE II, CHARLES E     9008 E LIPPINCOTT BLVD                                                                        DAVISON           MI   48423‐8302
MCNEIL BOBBY (491235)     BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                            PROFESSIONAL BLDG
MCNEIL DONALD             13 MEREDITH LN                                                                                NEW MILFORD       CT   06776‐3723
MCNEIL JR, LLOYD          4209 WOODMERE AVE                                                                             BALTIMORE         MD   21215‐4332
MCNEIL JR, MARSHALL       1040 QUEENS PL                                                                                SPRING HILL       TN   37174‐2870
MCNEIL KARIN              MCNEIL, KARIN                     PO BOX 1767                                                 HOLLAND           MI   49422‐1767
MCNEIL LLOYD (496402)     ANGELOS PETER G                   100 N CHARLES STREET , ONE                                  BALTIMORE         MD   21201
                                                            CHARLES CENTER
MCNEIL, ALLENIA           1103 E MULBERRY ST                                                                            KOKOMO            IN   46901‐4949
MCNEIL, ARTHUR J          1839 S CROSBY AVE                                                                             JANESVILLE        WI   53546‐5615
MCNEIL, BETTY L           5001 E MAIN ST LOT 1065                                                                       MESA              AZ   85205‐1331
MCNEIL, CAROL A           86 W GENESEE ST                                                                               SKANEATELES       NY   13152‐1023
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Name                   Address1                            Address2                    Address3   Address4         City               State Zip
MCNEIL, CAROLYN        5309 BROOKEMONTE CIR                                                                        OAKLAND TOWNSHIP    MI 48306‐5012
MCNEIL, CASEY O        1665 SHORTLINE DR                                                                           LAPEER              MI 48446‐8400
MCNEIL, CEASER         1709 N BALLENGER HWY                                                                        FLINT               MI 48504‐3071
MCNEIL, CHARLES D      4932 W SCHOOL RD                                                                            ROSCOMMON           MI 48653‐9216
MCNEIL, CHARLES D      4932 WEST SCHOOL ROAD                                                                       ROSCOMMON           MI 48653‐9216
MCNEIL, CORA J.        3821 HILLCREST                                                                              HIGHLAND            MI 48356‐2345
MCNEIL, DAISY M        304 E ARCH ST                                                                               MANSFIELD           OH 44902‐7761
MCNEIL, DANIEL J       5725 ASHBY DR                                                                               INDIANAPOLIS        IN 46221‐4032
MCNEIL, DWIGHT V       2399 S MAIN AVE                                                                             HIGHLAND HEIGHTS    KY 41076‐1208
MCNEIL, EVANGELINE M   12 WEBSTER RD.                                                                              ASHLAND             MA 01721‐1802
MCNEIL, EVANGELINE M   12 WEBSTER RD                                                                               ASHLAND             MA 01721‐1802
MCNEIL, FARILEY L      1357 E DOWNEY AVE                                                                           FLINT               MI 48505‐1731
MCNEIL, FRED D         3610 E 114TH ST                                                                             CLEVELAND           OH 44105‐2539
MCNEIL, GARY           11 BREEZY LN                                                                                BRANFORD            CT 06405‐4501
MCNEIL, GEORGE E       N4501 RICHARDSON RD                                                                         GOULD CITY          MI 49838‐8907
MCNEIL, ILA M          PO BOX 416                          C/O CONNIE L GRAHAM                                     PORT AUSTIN         MI 48467‐0416
MCNEIL, JACK           GUY WILLIAM S                       PO BOX 509                                              MCCOMB              MS 39649‐0509
MCNEIL, JACQUELYN      452 POTTER RD                                                                               FRAMINGHAM          MA 01701‐3392
MCNEIL, JAMES          C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                  EDWARDSVILLE         IL 62025
                       ROWLAND PC
MCNEIL, JAMES A        3911 AMY LN                                                                                 RANDALLSTOWN       MD   21133‐3609
MCNEIL, JESSIE M       305 GREENDALE AVE                                                                           MANSFIELD          OH   44902‐7726
MCNEIL, JOHN D         5001 E MAIN ST LOT 1065                                                                     MESA               AZ   85205‐1331
MCNEIL, JOHN L         PO BOX 375                                                                                  DALEVILLE          IN   47334‐0375
MCNEIL, JOHN M         860 WILDER AVE                                                                              ELYRIA             OH   44035‐3020
MCNEIL, JOHN M         184 W GATES ST                                                                              BRUCE TWP          MI   48065‐4457
MCNEIL, JOHN MAXWELL   184 W GATES ST                                                                              BRUCE TWP          MI   48065‐4457
MCNEIL, JOSEPH A       6503 WOOD DORA DR SE                                                                        CALEDONIA          MI   49316‐8987
MCNEIL, KENDRA
MCNEIL, KENNETH L      1501 W 26TH ST                                                                              INDIANAPOLIS       IN   46208‐5223
MCNEIL, KURT J         3810 KNIGHTBRIDGE CIR                                                                       STERLING HEIGHTS   MI   48314‐4531
MCNEIL, LARRY G        6110 HESS RD                                                                                VASSAR             MI   48768‐9233
MCNEIL, LARRY H        1308 BEARMORE DR                                                                            CHARLOTTE          NC   28211‐4712
MCNEIL, LLOYD          ANGELOS PETER G                     100 N CHARLES STREET, ONE                               BALTIMORE          MD   21201
                                                           CHARLES CENTER
MCNEIL, MARK W         9620 E EATON HWY                                                                            MULLIKEN           MI 48861‐9645
MCNEIL, MARY B         9837 PRINCESS LANE                                                                          HUDSON             FL 34667‐3855
MCNEIL, MATTHEW C
MCNEIL, MAUREEN E      46 LAKEVIEW DR                                                                              GRAFTON            OH   44044‐1528
MCNEIL, MICHAEL T      6518 GREENE HAVEN DR                                                                        CLARKSTON          MI   48348‐4418
MCNEIL, NANCY A        33450 PIERCE ST                                                                             GARDEN CITY        MI   48135
MCNEIL, PERSCELL D     186 FLORENCE ST                                                                             NEW BEDFORD        MA   02740‐4013
MCNEIL, RAVIS L        4559 BASSETT HALL RD                                                                        MEMPHIS            TN   38125‐3435
MCNEIL, RAVIS L        APT 11C                             8100 PINES ROAD                                         SHREVEPORT         LA   71129‐4449
MCNEIL, RICHARD H      PO BOX 2004                                                                                 KOKOMO             IN   46904
MCNEIL, RICHARD J      34685 GLEN DR                                                                               EASTLAKE           OH   44095‐2617
MCNEIL, ROBERT W       PO BOX 5968                                                                                 BRADENTON          FL   34281‐5968
MCNEIL, ROSS R         29288 S SEAWAY CT                                                                           HARRISON TWP       MI   48045‐2774
MCNEIL, SANDRA D       3604 MASON DR                                                                               PLANO              TX   75025‐4458
MCNEIL, SONIA V        109 E 153RD ST                                                                              BRONX              NY   10451‐5226
MCNEIL, SUSAN          8625 PEACH GROVE RD                                                                         RICHMOND           VA   23237‐4710
MCNEIL, THOMAS J       7296 N RAIDER RD                                                                            MIDDLETOWN         IN   47356‐9448
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Name                                   Address1                              Address2                       Address3   Address4         City            State Zip
MCNEIL, THOMAS L                       515 TIMBERLANE TRL                                                                               SALISBURY        NC 28147‐7808
MCNEIL, THOMAS M                       2260 OAK PARK DR                                                                                 MUSKEGON         MI 49442‐5443
MCNEIL, WILLARD                        126 PRINCETON SQUARE CIR                                                                         CINCINNATI       OH 45246‐4819
MCNEIL, WILLIAM                        5112 PEACHFORD CIR                                                                               DUNWOODY         GA 30338‐6514
MCNEIL, WILLIAM J.                     524 DODANE RD                                                                                    FORT WAYNE       IN 46819‐9759
MCNEIL‐WEAVER, YVONNE                  136 CARR DR                                                                                      SPRING HILL      TN 37174‐7358
MCNEILAGE, ANDREA M                    1386 BUCKINGHAM CIR                                                                              FRANKLIN         TN 37064‐5411
MCNEILAGE, ROBERT T                    1335 LAKEMERE AVE                                                                                BOWLING GREEN    KY 42103‐6010
MCNEILL CAMERON (429434)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                             STREET, SUITE 600
MCNEILL CHEVROLET PONTIAC BUICK        220 W AIRPORT HWY                                                                                SWANTON         OH   43558‐1441
MCNEILL CHEVROLET PONTIAC BUICK        ANDREW MCNEILL                        220 W AIRPORT HWY                                          SWANTON         OH   43558‐1441
MCNEILL CHEVROLET, INC.                ANDREW MCNEILL                        220 W AIRPORT HWY                                          SWANTON         OH   43558‐1441
MCNEILL ED                             502 TAYLOR RD                                                                                    DOTHAN          AL   36301‐5527
MCNEILL JAMES M (659085)               THORNTON EARLY & NAUMES               100 SUMMER ST LBBY 3                                       BOSTON          MA   02110‐2104
MCNEILL JUNE                           19832 E LASALLE DR                                                                               AURORA          CO   80013‐6294
MCNEILL KAREN                          3970 MIDLAND RD                                                                                  KEWANEE         IL   61443‐8333
MCNEILL STEWART H (645106)             GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH      PA   15219

MCNEILL WILLIAM W (431646) ‐ MCNEILL   HAINES BRUCE S                        ONE LOGAN SQUARE                                           PHILADELPHIA    PA 19103
REGINA
MCNEILL, CAMERON                       GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510‐2212
                                                                             STREET, SUITE 600
MCNEILL, CARL J                        860 SAINT LAWRENCE STREET                                                                        MARYSVILLE      MI   48040‐1335
MCNEILL, COHEN L                       2941 WASHINGTON BLVD                                                                             INDIANAPOLIS    IN   46205‐4140
MCNEILL, DALE R                        860 SAINT LAWRENCE ST                                                                            MARYSVILLE      MI   48040‐1335
MCNEILL, DANNIE L                      250 W GRAND RIVER RD                                                                             OWOSSO          MI   48867‐9719
MCNEILL, DAVID C                       755 ESMOND RD                                                                                    EAST TAWAS      MI   48730‐9735
MCNEILL, DAVID H                       5399 W SALT RIVER RD                                                                             SHEPHERD        MI   48883‐8625
MCNEILL, DENNIS H                      6304 W LAKE RD                                                                                   CLIO            MI   48420‐8241
MCNEILL, EDWARD                        8200 REDBUSH LN                                                                                  PANORAMA CITY   CA   91402‐5317
MCNEILL, FRED L                        4302 WESTERN RD LOT 70                                                                           FLINT           MI   48506‐1885
MCNEILL, HAROLD E                      814 E KEARSLEY ST APT 119                                                                        FLINT           MI   48503‐1957
MCNEILL, JACQUELINE D                  801 WHITE FIELDS WAY                                                                             ARLINGTON       TX   76002‐3058
MCNEILL, JAMES                         DURST LAW FIRM PC                     319 BROADWAY                                               NEW YORK        NY   10007
MCNEILL, JAMES F                       261 MAPLE ST                                                                                     FRANKLIN        MA   02038‐1581
MCNEILL, JAMES M                       THORNTON EARLY & NAUMES               100 SUMMER ST LBBY 3                                       BOSTON          MA   02110‐2104
MCNEILL, JAN C                         205 SPENCE RD                                                                                    DECATUR         MS   39327‐7903
MCNEILL, JOHN                          WEITZ & LUXENBERG                     180 MAIDEN LANE                                            NEW YORK        NY   10038
MCNEILL, JOHN L                        4781 CYPRESS ST                                                                                  PITTSBURGH      PA   15224‐2101
MCNEILL, JOHN T                        3817 STOKES DR                                                                                   BALTIMORE       MD   21229‐1939
MCNEILL, KATHERINE E                   755 ESMOND RD                                                                                    EAST TAWAS      MI   48730‐9735
MCNEILL, MARY                          300 OAKWOOD AVE APT 5L                                                                           ORANGE          NJ   07050
MCNEILL, NEIL E                        614 COURTLAND DR                                                                                 HOWARD          OH   43028‐9002
MCNEILL, REGINA                        HAINES BRUCE S                        ONE LOGAN SQUARE                                           PHILADELPHIA    PA   19103‐6933
MCNEILL, ROBERT D                      2834 AEIN RD                          UNION PARK                                                 ORLANDO         FL   32817‐2932
MCNEILL, ROBERT J                      923 GLADYS AVE                                                                                   PITTSBURGH      PA   15216‐3904
MCNEILL, SHAWN K                       1348 NICOLE LN                                                                                   LA VERGNE       TN   37086‐5241
MCNEILL, SHIRLEY ANN                   1906 E WILLARD ST                                                                                MUNCIE          IN   47302‐3725
MCNEILL, STEPHEN H                     5814 ALBER AVE                                                                                   PARMA           OH   44129‐3333
MCNEILL, STEWART H                     C/O GOLDBERG PERSKY & WHITE PC        1030 FIFTH AVENUE                                          PITTSBURGH      PA   15219
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Name                          Address1                              Address2                       Address3      Address4                City            State Zip
MCNEILL, STEWART H            GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                         PITTSBURGH       PA 15219

MCNEILL, WILLIAM D            5337 HARDY ST                                                                                              OVERLAND PARK   KS   66202‐1143
MCNEILL‐WEBBER, CONSTANCE     1707 SHADY GLEN DR APT 2218                                                                                ARLINGTON       TX   76015‐3167
MCNEILL‐WEBBER, CONSTANCE W   1707 SHADY GLEN DR APT 2218                                                                                ARLINGTON       TX   76015‐3167
MCNEILLY THOMAS J (352572)    GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
                                                                    STREET, SUITE 600
MCNEILLY, HARRIET A           3373 PETTY LN                                                                                              COLUMBIA        TN   38401‐7320
MCNEILLY, PATRICIA A          921 IVES RD                                                                                                MASON           MI   48854‐9256
MCNEILLY, RAYMOND             3373 PETTY LN                                                                                              COLUMBIA        TN   38401‐7320
MCNEILLY, THOMAS J            GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510‐2212
                                                                    STREET, SUITE 600
MCNEIR, DOLORES               201 N SQUIRREL RD #104                                                                                     AUBURN HILLS    MI   48326
MCNEIVE, GEORGIA              SPC 135                               1945 PINER ROAD                                                      SANTA ROSA      CA   95403‐2459
MCNELIS, BERNARD J            1566 CORNERSTONE ST SW                                                                                     HARTVILLE       OH   44632‐9099
MCNELLEY GARY                 MCNELLEY, GARY                        1400 COLEMAN AVE STE F26                                             SANTA CLARA     CA   95050‐4359
MCNELLEY, ROBERT M            11073 EDDYBURG RD NE                                                                                       NEWARK          OH   43055‐9723
MCNELLIS COMPANY              CREATIVE PLANNING SPECIALISTS         1100 8TH AVE                   P O BOX 582                           NEW BRIGHTON    PA   15066‐2005
MCNELLY, BYRON L              91 PARK VILLA CT                                                                                           DAYTON          OH   45459‐4724
MCNELLY, DOYLE H              3603 BAY WAY                                                                                               HOLLYWOOD       FL   33026‐1205
MCNELLY, JAMES H              82 QUEENSWAY DR                                                                                            AVON            IN   46123
MCNELLY, JOANN F              3015 ARROW WOOD LN                                                                                         INDIANAPOLIS    IN   46214‐1537
MCNELLY, LOUISE H             29 GLORIA AVE                                                                                              NEW LEBANON     OH   45345‐1123
MCNELLY, MICHAEL J            265 WILLOW LAKE DR                                                                                         PADUCAH         KY   42003
MCNELLY, NORMA JUNE           16 FRANKLINTOWN RD                                                                                         DILLSBURG       PA   17019‐9763
MCNELLY, RUTH                 3118 S VASSAR RD                                                                                           BURTON          MI   48519‐1671
MCNELLY, RUTH                 12161 EAST POTTER ROAD                                                                                     DAVISON         MI   48423‐8147
MCNELY, BARRY A               1881 E IRVINGTON RD APT 2023                                                                               TUCSON          AZ   85714‐1763
MCNEMAR HAL J (412591)        GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA   23510
                                                                    STREET, SUITE 600
MCNEMAR, HAL J                GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA 23510‐2212
                                                                    STREET, SUITE 600
MCNEMAR, JOSEPH A             2207 W SAINT JOSEPH ST                                                                                     WILMINGTON      DE 19808‐4036
MCNEMAR, RAYMOND K            407 GRAY MOUNT CIR                                                                                         ELKTON          MD 21921‐6372
MCNEMAR, WILLARD E            4201 IVYWOOD DR                                                                                            BROOKLYN        OH 44144‐1226
MCNENEY & MCNENEY             ATTN: JAMES MCNENEY & MARTIN SPIEKER 900 ‐ 1080 HOWE STREET                        VANCOUVER, BC V6Z 2T1

MCNENLY, EVA M                521 POINT DR                                                                                               CLARE           MI   48617‐9734
MCNENLY, EVA M                521 POINT DRIVE                                                                                            CLAIRE          MI   48617
MCNERNEY COLLEEN D            3830 CHARLES AVE 22305                                                                                     ALEXANDRIA      VA   22305
MCNERNEY JOSEPH (666572)      BRAYTON PURCELL                       PO BOX 6169                                                          NOVATO          CA   94948‐6169
MCNERNEY, DANIEL E            6730 PISGAH RD                                                                                             TIPP CITY       OH   45371‐8733
MCNERNEY, JOSEPH              BRAYTON PURCELL                       PO BOX 6169                                                          NOVATO          CA   94948‐6169
MCNERNEY, JOSEPH L            2368 LESLIE CIR                                                                                            ANN ARBOR       MI   48105
MCNERNEY, MICHAEL E           4256 HIGHLAND PKWY                                                                                         BLASDELL        NY   14219‐2926
MCNERNEY, RONALD W            186 62ND ST                                                                                                NIAGARA FALLS   NY   14304‐3818
MCNERNEY, SALLY M             925 SHANNON RD.                                                                                            GIRARD          OH   44420‐4420
MCNERNEY, SALLY M             925 SHANNON RD                                                                                             GIRARD          OH   44420‐2049
MCNERNEY,DANIEL E             6730 PISGAH RD                                                                                             TIPP CITY       OH   45371‐8733
MCNERTNEY, GAIL E             25822 DOVER                                                                                                REDFORD         MI   48239‐1819
MCNERTNEY, JAMES A            1180 BEN FRANKLIN HWY E APT 319                                                                            DOUGLASSVILLE   PA   19518‐1577
MCNETT, ANGELINE              1875 MARION CT                                                                                             BELOIT          WI   53511
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Name                             Address1                          Address2                      Address3   Address4         City              State Zip
MCNETT, BRIAN L                  5043 OAK BLUFF CT                                                                           HOWELL             MI 48843‐7861
MCNETT, BRUCE W                  2414 N DANIELS RD                                                                           SANFORD            MI 48657‐9761
MCNETT, EMERY                    9400 S 100 W                                                                                WARREN             IN 46792‐9446
MCNETT, GLENDA J                 3033 BARDIN RD APT 1228                                                                     GRAND PRAIRIE      TX 75052‐3880
MCNETT, GLENDA J                 14087 SHERWOOD LN                                                                           FORNEY             TX 75126‐8149
MCNETT, GORDON L                 61710 WILLIAMSBURG DR UNIT 3                                                                SOUTH LYON         MI 48178‐1761
MCNETT, MILDRED W                6331 RIVERSIDE RD                                                                           WATERFORD          WI 53185‐2401
MCNETT, ROGER O                  6501 DEMINGS LAKE RD                                                                        CLAYTON            MI 49235‐9627
MCNETT, STANLEY P                722 BRANDON DR                                                                              MOUNTAIN VIEW      AR 72560‐7585
MCNETT, STEVEN R                 218 JONATHON DR                                                                             JANESVILLE         WI 53548‐5806
MCNETT, TOMMY J                  6599 ORMADA DR                                                                              KALAMAZOO          MI 49048‐9474
MCNETT, TOMMY JAY                6599 ORMADA DR                                                                              KALAMAZOO          MI 49048‐9474
MCNEVEN, RUTH B                  34601 ELMWOOD ST APT 325                                                                    WESTLAND           MI 48185‐8146
MCNEVEN, RUTH B                  34601 ELMWOOD AVENUE #325                                                                   WESTLAND           MI 48185‐3080
MCNEW KING MILLS BURCH &         LANDRY LLP                        1904 ROYAL AVE                                            MONROE             LA 71201‐5724
MCNEW OLIN L (360439)            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510
                                                                   STREET, SUITE 600
MCNEW, BONNIE J                  9422 GRANDVIEW COURT                                                                        DAVISON           MI   48423‐1196
MCNEW, CECIL C                   4955 21ST AVE S                                                                             SALEM             OR   97302‐2242
MCNEW, CHRISTINE N               22128 HASKELL ST                                                                            TAYLOR            MI   48180
MCNEW, DANIEL K                  RR 2 BOX 226‐A                                                                              ALEXANDRIA        IN   46001
MCNEW, EDWIN D                   3978 WYATT RD                                                                               STANDISH          MI   48658‐9120
MCNEW, HAROLD E                  7624 IROQUOIS TRL                                                                           GAYLORD           MI   49735‐8816
MCNEW, HOWARD H                  2258 S YUKON DR                                                                             MIKADO            MI   48745
MCNEW, JAMES E                   2215 OAKWOOD DR W                                                                           FRANKLIN          TN   37064‐4944
MCNEW, JEANNIE D                 PO BOX 1400                                                                                 FLINT             MI   48501
MCNEW, JOSEPH H                  312 MARION AVE                                                                              SIKESTON          MO   63801‐3742
MCNEW, JOSEPH H                  312 MARION AVENUE                                                                           SIKESTON          MO   63801‐3742
MCNEW, KENNETH R                 11520 W STATE ROUTE 32                                                                      YORKTOWN          IN   47396
MCNEW, LUCINDA J                 9481 MCAFEE RD                                                                              MONTROSE          MI   48457‐9123
MCNEW, MAREATA V                 2516 PAMELA CT                                                                              ANDERSON          IN   46012‐4431
MCNEW, OLIN L                    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                   STREET, SUITE 600
MCNEW, RANDY L                   9481 MCAFEE RD                                                                              MONTROSE          MI   48457‐9123
MCNEW, RICKY L                   2215 NICHOLS RD                                                                             LENNON            MI   48449‐9321
MCNEW, RICKY LYN                 2215 NICHOLS RD                                                                             LENNON            MI   48449‐9321
MCNEW, ROBERT L                  182 S COUNTY ROAD 550 E APT 317                                                             AVON              IN   46123‐7060
MCNEW, SHIRLEY M                 3110 GLEN ROCK RD                                                                           DAYTON            OH   45420‐5420
MCNEW, THOMAS E                  526 BELLESTRI DR                                                                            MONROE            MI   48161‐3541
MCNEY, CLARA E                   11327 WEST RAYLAND DR                                                                       SAN FERNANDO      CA   91342‐5628
MCNEZER, MARY L                  107 GOLDEN EAGLE DRIVE                                                                      HEPHIZBAH         GA   30815‐7515
MCNICHOL JOHN                    42 CLOVER RD                                                                                WARMINSTER        PA   18974‐1313
MCNICHOL, RICHARD                PO BOX 732                                                                                  FORT MONTGOMERY   NY   10922
MCNICHOLAS, JAMES J              424 REED CT.                                                                                GIRARD            OH   44420‐2249
MCNICHOLAS, JAMES J              424 REED CT                                                                                 GIRARD            OH   44420‐2249
MCNICHOLAS, PATRICK L            436 SECRIST LANE                                                                            GIRARD            OH   44420‐1113
MCNICHOLAS, PATRICK L            436 SECRIST LN                                                                              GIRARD            OH   44420‐1113
MCNICHOLL, DANIEL G              4897 MOONGLOW DR                                                                            TROY              MI   48098‐4147
MCNICHOLL,DANIEL G               4897 MOONGLOW DR                                                                            TROY              MI   48098‐4147
MCNICHOLS COMPANY                PO BOX 30300                                                                                TAMPA             FL   33630‐3300
MCNICHOLS JR, JAMES              6602 JESSE JACKSON AVE                                                                      SAINT LOUIS       MO   63121‐5709
MCNICHOLS POLISHING & ANODIZIN   12139 WOODBINE                                                                              REDFORD           MI   48239‐2417
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Name                       Address1                           Address2                    Address3   Address4         City              State Zip
MCNICHOLS, BETTY J         944 BRIGHT AVE                                                                             VANDALIA           OH 45377‐1521
MCNICHOLS, CHOICE          2921 REVEL'S AVENUE                                                                        DAYTON             OH 45408‐5408
MCNICHOLS, CHOICE          2921 REVELS AVE                                                                            DAYTON             OH 45408‐2228
MCNICHOLS, HARRY           3720 WALNUT AVE                                                                            ALORTON             IL 62207‐1515
MCNICHOLS, MARY L          6602 JESSE JACKSON AVE.                                                                    ST LOUIS           MO 63121‐5709
MCNICHOLS, WALTER R        10 LITTLEDALE ST                                                                           ROSLINDALE         MA 02131‐4614
MCNICOL, HAROLD M          PO BOX 32                                                                                  ROGERS             OH 44455‐0032
MCNICOL, LISA A            1918 MISSOURI AVE                                                                          FLINT              MI 48506‐3793
MCNICOL, LISA A            4260 BOB WHITE DR                                                                          FLINT              MI 48506‐1705
MCNIEL JR, ORIS L          1422 W COURT ST                    FAMILY SERVICE AGENCY                                   FLINT              MI 48503‐5008
MCNIEL, BYRON J            10050 SHARON DR                                                                            MONTROSE           MI 48457‐9737
MCNIEL, CHARLES C          294 S ELLSWORTH RD                                                                         PETOSKEY           MI 49770‐9658
MCNIEL, GEORGIA            3990 N 3 1/2 RD.                                                                           MESICK             MI 49668‐8502
MCNIEL, HEATHER R          2250 STATE ROAD 580 #133                                                                   CLEARWATER         FL 33763‐1135
MCNIEL, JANET K            9407 APPLE BLOSSOM CT                                                                      DAVISON            MI 48423
MCNIEL, JOHN S             6139 2ND ST                                                                                MAYVILLE           MI 48744‐9173
MCNIEL, MARK               12720 LAKE RIDGE CIR                                                                       CLERMONT           FL 34711‐8552
MCNIEL, MARLENE J          PO BOX 732                                                                                 HAGERHILL          KY 41222‐0732
MCNIEL, MELVIN L           155 CONDRA RD                                                                              RINGGOLD           GA 30736‐4611
MCNIEL, PATRICIA A         93 AGATE WAY                                                                               WILLIAMSTON        MI 48895‐9434
MCNIEL, ROBERT S           3990 N 3 1/2 RD                                                                            MESICK             MI 49668‐8502
MCNIEL, RUTH E             43 ORCHARD ST                                                                              SOUTH GRAFTON      MA 01560‐1328
MCNIEL, SHAWN              12720 LAKE RIDGE CIR                                                                       CLERMONT           FL 34711‐8552
MCNIEL, SYLVESTER J        5949 N STONEY LAKE RD                                                                      JACKSON            MI 49201‐9298
MCNIER, GARY S             PO BOX 282                         664 W SHANNON ST                                        MERRILL            MI 48637‐0282
MCNIFFE, PETER H           4469 GREYSTONE DR SW                                                                       CONCORD            NC 28027
MCNINCH, ARTHUR J          PO BOX 227                                                                                 PRUDENVILLE        MI 48651‐0227
MCNINCH, BRETT J           1775 W MAIN ST                                                                             NEW LEBANON        OH 45345‐9776
MCNINCH, DALE M            PO BOX 1533                                                                                ANDOVER            OH 44003‐1533
MCNINCH, HARRIET E         153 LEE ANN DRIVE                                                                          DAYTON             OH 45427‐1116
MCNINCH, HARRIET E         153 LEE ANN DR                                                                             DAYTON             OH 45427‐1116
MCNINCH, MARGARET R        21 TRIANNA ST                                                                              BELMONT            NY 14813‐1127
MCNINCH, RICK J            3210 ROLLING HILL AVE                                                                      PORTAGE            MI 49024‐9024
MCNINCH, ROBERT C          21268 NE 150TH ST                                                                          SALT SPRINGS       FL 32134‐7000
MCNISH, DEBRA H            RT 1 530 C                                                                                 GRANTSVILLE        WV 26147
MCNISH, GEORGIA K          3704 PEACOCK CT                                                                            SPRING HILL        TN 37174‐2193
MCNISH, JOHN W             102 FRANCIS ST APT 313                                                                     JACKSON            MI 49201‐2347
MCNISH, MARK W             5279 CLYDESDALE LN                                                                         SAGINAW            MI 48603‐2822
MCNISH, ROY F              9325 AUTUMNGLO DR                                                                          CLARKSTON          MI 48348‐1611
MCNISH, WILLIAM E          6353 OLIVER RD                                                                             FOSTORIA           MI 48435‐9621
MCNITT DAVID G ESQ PC      38 CLAYBURGH RD                    PO BOX 171                                              THORNTON           PA 19373‐1104
MCNIVEN, DOUGLAS C         604 NW 143RD ST                                                                            EDMOND             OK 73013‐1900
MCNORTON, CAROLYN J.       5506 S 425 W                                                                               PORTLAND           IN 47371‐8299
MCNORTON, DARWIN M         PO BOX 708                                                                                 PORTLAND           IN 47371‐0708
MCNORTON, DARWIN MERLE     PO BOX 708                                                                                 PORTLAND           IN 47371‐0708
MCNOUGHER, PAUL            PO BOX 9022                        ATTN: GLATTBRUGG (ZURICH)                               WARREN             MI 48090‐9022
MCNOUGHER, PAUL D          PO BOX 9022                        ATTN: GLATTBRUGG (ZURICH)                               WARREN             MI 48090‐9022
MCNULAY, GURVIS            47874 CHERRY HILL RD                                                                       CANTON             MI 48187‐4845
MCNULTY HICKEN SMITH INC   1602 STAR BATT DR                                                                          ROCHESTER HILLS    MI 48309‐3705
MCNULTY HICKEN SMITH INC   BETH EDE                           1602 STAR BATT DR                                       ROCHESTER HILLS    MI 48309
MCNULTY JR, JAMES J        6930 RAGLAND RD                                                                            CINCINNATI         OH 45244‐3145
MCNULTY JR, LESTER G       19419 GREENFIELD RD                                                                        DETROIT            MI 48235‐2015
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Name                       Address1                          Address2                Address3   Address4         City             State Zip
MCNULTY, DAVID T           5458 SUN VALLEY DR                                                                    GRAND BLANC       MI 48439‐9161
MCNULTY, DOROTHY M         103 GLENROSE AVE                                                                      BRAINTREE         MA 02184‐1309
MCNULTY, EDWARD G          1960 E RAUCH RD                                                                       ERIE              MI 48133‐9793
MCNULTY, EDWARD GENE       1960 E RAUCH RD                                                                       ERIE              MI 48133‐9793
MCNULTY, FRED J            9528 7 MILE RD                                                                        NORTHVILLE        MI 48167‐9118
MCNULTY, FRED JAMES        9528 7 MILE RD                                                                        NORTHVILLE        MI 48167‐9118
MCNULTY, GREGORY S         5704 BEISINGER PL                                                                     INDIANAPOLIS      IN 46237
MCNULTY, HELEN             1842 PARKWAY BLVD                                                                     ALLIANCE          OH 44601‐3864
MCNULTY, JERRY P           5217 ENGEL BLVD                                                                       TOLEDO            OH 43611‐1664
MCNULTY, JOLEEN G          1103 EASTERN AVE                                                                      CABOT             AR 72023‐3109
MCNULTY, JOSEPH F          1507 HIGH MEADOW DR                                                                   STONE MTN         GA 30083‐5503
MCNULTY, LYNN M            67534 RACHAEL LANE                                                                    WASHINGTON        MI 48095‐1844
MCNULTY, MADORA J          3154 BROOKSIDE DR 27                                                                  WATERFORD         MI 48328
MCNULTY, MARTIN J          23 GARRY DR                                                                           MEDFIELD          MA 02052‐3302
MCNULTY, MICHAEL A         5483 MAPLE PARK DR                                                                    FLINT             MI 48507‐3902
MCNULTY, MICHAEL ANTHONY   5483 MAPLE PARK DR                                                                    FLINT             MI 48507‐3902
MCNULTY, THOMAS E          104 NORHT RICHVIEW AVENUE                                                             YOUNGSTOWN        OH 44509
MCNULTY, THOMAS P          9167 SCENIC DR                                                                        BRIGHTON          MI 48114‐8730
MCNULTY, THOMAS P.         9167 SCENIC DR                                                                        BRIGHTON          MI 48114‐8730
MCNULTY, WILLIAM H         820 SILVER OAK AVE                THE VILLAGES                                        LADY LAKE         FL 32159‐2351
MCNUTT COURTNEY            412 CONSTITUTION DR                                                                   JEFFERSON CITY    MO 65109‐5724
MCNUTT JR, DONALD E        311 PARK AVE                                                                          LAKE ORION        MI 48362‐2346
MCNUTT JR, HARRY           1079 W COUNTY ROAD 475 S TRLR 5                                                       CONNERSVILLE      IN 47331‐8626
MCNUTT JR, WILLIAM G       2794 WOODRUFF RD                                                                      HASTINGS          MI 49058‐9593
MCNUTT SERVICE GROUP       MAURY WRAY                        110 VISTA BLVD                                      ARDEN             NC 28704‐9457
MCNUTT VIRGINIA            1055 GEORGE ROCK DR                                                                   FARMER CITY        IL 61842
MCNUTT, ANGELA N           1512 GRAY LAKE DRIVE                                                                  PRINCETON         LA 71067‐9130
MCNUTT, BARBARA E          771 WINCHESTER AVE                                                                    LINCOLN PARK      MI 48146‐3169
MCNUTT, BERGOUHI           15693 TEAL RD                                                                         VERONA            KY 41092‐8227
MCNUTT, CAROL J            124 GARLAND ST                                                                        DAVISON           MI 48423‐1357
MCNUTT, DALE B             601 BON AIR RD                                                                        LANSING           MI 48917‐2906
MCNUTT, DANIEL E           46 TWIN OAKS DR                                                                       LAPEER            MI 48446‐7630
MCNUTT, DARREL E           8744 SURREY DRIVE                                                                     PENDLETON         IN 46064‐9049
MCNUTT, DONALD L           4457 PEKIN RD                                                                         WAYNESVILLE       OH 45068‐9546
MCNUTT, DORIS              903 S COLONIAL DR                                                                     CLEBURNE          TX 76033‐6014
MCNUTT, DORIS              903 SOUTH COLONIAL DR.                                                                CLEBURNE          TX 76033
MCNUTT, GERTRUDE D         2202 S WATERSTONE RD                                                                  MUNCIE            IN 47302‐6925
MCNUTT, HARRY L            4310 SOTH AVE                                                                         BALTIMORE         MD 21236‐1753
MCNUTT, JANICE P           206 HAINES ST                                                                         ELYRIA            OH 44035‐7993
MCNUTT, JERRY R            10762 SOUTHERN RIDGE DR                                                               KEITHVILLE        LA 71047‐7984
MCNUTT, JOHN W             101 SCHULTZ ST                                                                        SENATH            MO 63876‐9239
MCNUTT, KAREN E            PO BOX 926                                                                            GRANTS PASS       OR 97528‐0078
MCNUTT, LEONA R            2004 S 71ST ST                                                                        WEST ALLIS        WI 53219‐1203
MCNUTT, LINDA S            540 WOOD ST                                                                           EATON RAPIDS      MI 48827‐1056
MCNUTT, LISA C             10762 SOUTHERN RIDGE DR                                                               KEITHVILLE        LA 71047‐7984
MCNUTT, LOLA               137 WHEELING AVE                                                                      KANSAS CITY       MO 64123‐1929
MCNUTT, MARGARET E         1217 MAPLEWOOD DR                                                                     KOKOMO            IN 46902‐3141
MCNUTT, MARTHA M           731 FORBES ST                                                                         EAST HARTFORD     CT 06118‐1917
MCNUTT, MARY A             14653 BURR ST                                                                         TAYLOR            MI 48180‐4505
MCNUTT, NATHAN T           3111 S 500 E                                                                          MARION            IN 46953‐9535
MCNUTT, NETTIE M           C/O DARREL E. MC NUTT             8744 SURREY DRIVE                                   PENDLETON         IN 46064
MCNUTT, NETTIE M           8744 SURREY DR                    C/O DARREL E. MC NUTT                               PENDLETON         IN 46064‐9049
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Name                           Address1                          Address2                  Address3   Address4               City              State Zip
MCNUTT, ROGER A                540 WOOD ST                                                                                   EATON RAPIDS       MI 48827‐1056
MCNUTT, SAMUEL                 6967 COUNTRY MANOR DR                                                                         MEMPHIS            TN 38133‐4837
MCNUTT, STEPHEN C              4411 CALEDONIA WAY                                                                            INDIANAPOLIS       IN 46254‐3638
MCNUTT, TWILA M.               1729 W FALL DR                                                                                MARION             IN 46952
MCNUTT, VAC DANTE              240 W BRUNSWICK DR                                                                            DEWITT             MI 48820‐9187
MCOY, JULIANNE                 BENNETT SCHILLER                  1339 EBENEZER RD                                            ROCK HILL          SC 29732‐2336
MCPARLAND, EVELYN              649 PURDY STREET                                                                              BIRMINGHAM         MI 48009‐1738
MCPARLANE MARLO & PATRICK      55 CHATHAM CT                                                                                 ORCHARD PARK       NY 14127‐2081
MCPARTLIN, F J                 23 TREDWELL LN                                                                                SAG HARBOR         NY 11963‐1532
MCPARTLIN, JAMES P             318 GLENNBROOK WAY                                                                            CHALFONT           PA 18914‐3928
MCPEAK HOLLY                   1400 THE STRAND                                                                               MANHATTAN BEACH    CA 90266‐4731
MCPEAK, CHARLES E              907 N RACE ST                                                                                 GLASGOW            KY 42141‐3447
MCPEAK, CHARLES J              2505 E BEAVER RD                                                                              KAWKAWLIN          MI 48631‐9402
MCPEAK, HALTON R               PO BOX 35                                                                                     BROWNSVILLE        KY 42210‐0035
MCPEAK, JAMES F                7920 LILA DR                                                                                  HAZELWOOD          MO 63042‐3519
MCPEAK, RANDALL L              4454 W PARK DR                                                                                BAY CITY           MI 48706‐2512
MCPEAK, RICHARD C              3065 LEIBY OSBORNE RD                                                                         SOUTHINGTON        OH 44470‐9743
MCPEAK, ROBERT E               8977 CAREFUL CANVAS AVENUE                                                                    LAS VEGAS          NV 89149‐0421
MCPEAK, THOMAS B               228 GUNTHER ST                                                                                BELLEVUE           OH 44811‐1514
MCPEAK, VIRGINIA M             5540 STATE ROUTE #7                                                                           KINSMAN            OH 44428
MCPEAKE, ERIC B                3737 PLEASANT VIEW LN                                                                         SEVIERVILLE        TN 37862
MCPEAKE, HAROLD W              55 MCPEAKE RD                                                                                 REAGAN             TN 38368
MCPEAKE, HAROLD W              259 ATLANGIS CIRCLE                                                                           OXFORD             MI 48371‐3687
MCPEEK, DANIEL J               11488 35 MILE RD                                                                              BRUCE TWP          MI 48065‐2512
MCPEEK, DUDLEY B               6715 BILLINGS RD                                                                              CASTALIA           OH 44824‐9216
MCPEEK, JESSICA                14527 W KEMPEL RD                                                                             PEARL CITY          IL 61062‐9757
MCPEEK, KEITH D                6603 WEIL DR                                                                                  BROWNSBURG         IN 46112‐8472
MCPEEK, RICHARD G              312 GENERAL N B FORREST DR                                                                    FRANKLIN           TN 37069‐6426
MCPEEK, STANLEY D              151 AIGLER BOULEVARD                                                                          BELLEVUE           OH 44811‐1102
MCPEEK, STANLEY D              151 AIGLER BLVD                                                                               BELLEVUE           OH 44811‐1102
MCPEEK, VICTORIA               2166 KIMBER LANE                                                                              CARO               MI 48723
MCPEEK, WILLIAM T              1632 N COUNTY ROAD 400 W                                                                      DANVILLE           IN 46122‐8889
MCPETERS, JAMES P              1752 MARWELL BLVD                                                                             HUDSON             OH 44236‐1324
MCPETERS, KENT C               621 TRACES DR                                                                                 FLORENCE           SC 29501‐5823
MCPETERS, LEON P               131 MEADOWVIEW CHURCH RD                                                                      WARTBURG           TN 37887‐3152
MCPETERS, NORLINE M            6436 TRUMBULL AVE.                                                                            HUBBARD            OH 44425‐2464
MCPETERS, VIRGINIA             7313 S GAFFORD BLVD                                                                           BROKEN ARROW       OK 74014‐2620
MCPETERS, WENDELL G            106 N DUKE PL                                                                                 OLIVER SPRINGS     TN 37840
MCPHADDEN SAMAC MERNER TUOVI   ATTN: ZORAN SAMAC                 300‐8 KING ST EAST                   TORONTO, ONTARIO M5C
                                                                                                      1B5
MCPHAIL GERARD J (465273)      EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                     NEW YORK          NY   10017‐6530
MCPHAIL, DICKIE B              2860 W LENTZ TREE FARM RD                                                                     MONROVIA          IN   46157‐9012
MCPHAIL, ELAINE M              2567 1/2 E HOTCHKISS RD                                                                       BAY CITY          MI   48706‐9008
MCPHAIL, GERALD D              2824 ROUNDTREE DR                                                                             TROY              MI   48083‐2330
MCPHAIL, GERARD J              EARLY LUDWICK SWEENEY & STRAUSS   360 LEXINGTON AVE FL 20                                     NEW YORK          NY   10017‐6530
MCPHAIL, JAMES T               7730 DURAIN DR                                                                                JENISON           MI   49428‐7916
MCPHAIL, LILLIAN P             216 W MAIN ST                                                                                 HARRISON VALLEY   PA   16927‐1210
MCPHAIL, LILLIAN P             216 WEST MAIN STREET                                                                          HARRISON VALLEY   PA   16927‐1210
MCPHAIL, LULA M                9106 SUMMER TREE CIR                                                                          GREENWOOD         LA   71033‐3052
MCPHAIL, LULA MAE              9106 SUMMER TREE CIR                                                                          GREENWOOD         LA   71033‐3052
MCPHAIL, PRESTON C             47625 TORRINGTON DR N                                                                         CANTON            MI   48188‐4719
MCPHAIL, ROGER D               4805 HOPPE RD                                                                                 CASS CITY         MI   48726‐9439
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Name                      Address1                        Address2             Address3        Address4         City              State Zip
MCPHAIL,PRESTON C         47625 TORRINGTON DR N                                                                 CANTON             MI 48188‐4719
MCPHALL, MELISSA M.       PO BOX 2012                                                                           HENDERSON          KY 42419‐2012
MCPHALL, THOMAS A         5815 NUEVO LEON ST UNIT 10                                                            NORTH LAS VEGAS    NV 89031‐4100
MCPHARLIN, NANCY L.       13320 MARTIN RD                                                                       WARREN             MI 48088‐6624
MCPHATE, ANDREW J
MCPHATE, DENNIS           PORTER & MALOUF PA              4670 MCWILLIE DR                                      JACKSON           MS   39206‐5621
MCPHATTER, ELLIOTT B      1811 NW 93RD TER                                                                      KANSAS CITY       MO   64155‐7821
MCPHATTER, GENEVA         37 DREXEL RD                                                                          BUFFALO           NY   14214‐2801
MCPHATTER, JAMES          1795 MECKENBURY RD              APT 1                                                 ITHACA            NY   14850
MCPHEARSON, ANGELA M      4993 PINENEEDLE TRAIL                                                                 FLORISSANT        MO   63033‐7528
MCPHEARSON, BARBARA H     2515 ERIC CT                                                                          ANDERSON          IN   46012‐4476
MCPHEARSON, BARBARA H     2515 ERIC COURT                                                                       ANDERSON          IN   46012‐4476
MCPHEARSON, BROOKE S
MCPHEARSON, CAROLE J      10600 N 600 W                                                                         ELWOOD            IN 46036‐8924
MCPHEARSON, DAVID L       5807 EAGLE VALLEY DR                                                                  SAINT LOUIS       MO 63136‐1148
MCPHEARSON, EVERETT E     1214 N 10TH ST                                                                        ELWOOD            IN 46036‐1017
MCPHEARSON, JASON D
MCPHEARSON, JAUNICE M     904 MEADOW LN                                                                         ALEXANDRIA        IN   46001‐2336
MCPHEARSON, JEFFREY L     6147 N MAIN ST                                                                        OSSIAN            IN   46777‐9683
MCPHEARSON, JOHN R        197 JACKSONIAN DR                                                                     HERMITAGE         TN   37076‐1812
MCPHEARSON, LINDA E       4399 N 200 E                                                                          ANDERSON          IN   46012‐9516
MCPHEARSON, NAOMI B       1010 INDEPENDENCE DR.           HOLIDAY MANOR                                         ELWOOD            IN   46036‐8325
MCPHEARSON, RENA S        2218 S K ST                                                                           ELWOOD            IN   46036‐3031
MCPHEARSON, RONALD J      904 MEADOW LN                                                                         ALEXANDRIA        IN   46001‐2336
MCPHEARSON, SHARON KAYE   514 WEST JACKSON STREET                                                               ALEXANDRIA        IN   46001‐1313
MCPHEARSON, SHARON KAYE   514 W JACKSON ST                                                                      ALEXANDRIA        IN   46001‐1313
MCPHEARSON, SHELLY K      6147 N MAIN ST                                                                        OSSIAN            IN   46777
MCPHEARSON, STEPHAN R     309 WINDING WAY                                                                       FRANKTON          IN   46044‐9600
MCPHEARSON, VIRGINIA W    200 N 11TH ST                                                                         ELWOOD            IN   46036‐1555
MCPHEE, DENNIS M          2352 LEGEND WOODS DR                                                                  GRAND LEDGE       MI   48837‐8933
MCPHEE, FRANCIS J         102 EDGELL DR                                                                         FRAMINGHAM        MA   01701‐3180
MCPHEE, GLORIA K          1108 FERNWOOD DR                                                                      WESTLAKE          OH   44145‐2726
MCPHEE, HENRIETTA A       2370 HARBOR BOULEVARD                                                                 PT CHARLOTTE      FL   33952‐5024
MCPHEE, JOAN C            PO BOX 357                                                                            BROWNSVILLE       KY   42210‐0357
MCPHEE, NORMAN E          150 SITTON SHOALS RD                                                                  SENECA            SC   29678‐5125
MCPHEE, STANLEY           BOONE ALEXANDRA                 205 LINDA DR                                          DAINGERFIELD      TX   75638‐2107
MCPHEE, TERRENCE L        4175 NIXON RD                                                                         DIMONDALE         MI   48821‐8753
MCPHEE, THOMAS            5918 N BEDFORD AVE                                                                    KANSAS CITY       MO   64151‐4839
MCPHEE, TILLIE A          21380 PRATT ROAD                                                                      ARMADA            MI   48005‐1328
MCPHEE, TILLIE A          21380 PRATT RD                                                                        ARMADA            MI   48005
MCPHEE, VERDELL           337 PENNELS DR                                                                        ROCHESTER         NY   14626‐4943
MCPHEETERS, CAROL A       13765 W NATIONAL AVE APT 132                                                          NEW BERLIN        WI   53151‐4543
MCPHEETERS, GEORGE D      387 LEISURE LN                                                                        GREENWOOD         IN   46142‐8531
MCPHEETERS, RALPH         GUY WILLIAM S                   PO BOX 509                                            MCCOMB            MS   39649‐0509
MCPHEETERS, VIRGINIA E    WILLOWBROOK MANOR               G‐4436 BEECHER RD.                                    FLINT             MI   48532
MCPHERN JR, JAMES E       1084 MALABAR LN                                                                       MANSFIELD         OH   44907‐1781
MCPHERN, PHYLLIS E        1084 MALABAR LN                                                                       MANSFIELD         OH   44907‐1781
MCPHERN, PHYLLIS E        1084 MALABAR LANE                                                                     MANSFIELD         OH   44907
MCPHERON, DOYLE E         724 CHESTNUT DR                                                                       GAS CITY          IN   46933‐1249
MCPHERON, FREDERICK L     14107 WEST HEATHER LANE                                                               DALEVILLE         IN   47334‐9664
MCPHERON, FREDERICK L     14107 W HEATHER LN                                                                    DALEVILLE         IN   47334‐9664
MCPHERON, PHILIP M        11130 MAVERICK DR                                                                     DADE CITY         FL   33525‐0939
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Name                              Address1                         Address2                        Address3   Address4               City                State Zip
MCPHERRIN, CAROLYN F              1422 W ORCHARD PL                                                                                  ARLINGTON HEIGHTS     IL 60005‐2400
MCPHERSON ARTIE YAKIMA (360934)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK              VA 23510
                                                                   STREET, SUITE 600
MCPHERSON BRENDA                  MCPHERSON, BRENDA                11562 COUNTY ROAD 483                                             LAVON               TX 75166‐1678
MCPHERSON CHARLES E (406895)      THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                              BOSTON              MA 02110‐2104
MCPHERSON CHARLES E (ESTATE OF)   THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                              BOSTON              MA 02110‐2104
(659535)
MCPHERSON FRED & MARGARET         3554 STANHOPE KELLOGGSVILLE RD                                                                     DORSET              OH 44032‐9738
MCPHERSON GW TRUCKING             411 GLENDALE AVE UNIT 1                                                     ST CATHARINES CANADA
                                                                                                              ON L2P 3Y1 CANADA
MCPHERSON I I I, SAMUEL H         218 PARKWOOD CIR                                                                                   CANONSBURG          PA 15317‐9545
MCPHERSON III, SAMUEL H           218 PARKWOOD CIR                                                                                   CANONSBURG          PA 15317‐9545
MCPHERSON JOHN (446283)           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH 44067
                                                                   PROFESSIONAL BLDG
MCPHERSON JR, ALEXANDER M         1377 HARPER RD                                                                                     MASON               MI   48854‐9301
MCPHERSON JR, CLARE R             PO BOX 31                                                                                          EDENVILLE           MI   48620‐0031
MCPHERSON JR, CLARE R             3644 WIEMAN                                                                                        BEAVERTON           MI   48612
MCPHERSON JR, ROBERT H            2175 GINGHAMSBURG FREDERICK RD                                                                     TIPP CITY           OH   45371‐9649
MCPHERSON JR, SAMUEL H            534 RIO GRANDE                                                                                     EDGEWATER           FL   32141‐7611
MCPHERSON LURLINE                 MCPHERSON, LURLINE               9762 HIGHWAY 120                                                  ROBELINE            LA   71469‐4506
MCPHERSON MFG                     418 WELLSTON CIR                                                                                   WALTERBORO          SC   29488‐8312
MCPHERSON RICHARD (446284)        BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD          OH   44067
                                                                   PROFESSIONAL BLDG
MCPHERSON ROBERT                  MCPHERSON, ROBERT                7825 FAY AVE STE 200                                              LA JOLLA            CA   92037‐4270
MCPHERSON RONNIE LEE              C/O EDWARD O MOODY PA            801 WEST 4TH STREET                                               LITTLE ROCK         AR   72201
MCPHERSON, AMOS G                 14600 WOODS TRL                                                                                    THOMPSONVILLE       MI   49683‐9224
MCPHERSON, ANDREW B               45 MALEENA MESA ST APT 717                                                                         HENDERSON           NV   89074‐8132
MCPHERSON, ANTHONY                10 WISTERIA PL                                                                                     MARRERO             LA   70072‐2427
MCPHERSON, ARTHUR R               3002 ROSSMOOR PARKWAY                                                                              WALNUT CREEK        CA   94595
MCPHERSON, ARTIE YAKIMA           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510‐2212
                                                                   STREET, SUITE 600
MCPHERSON, BARBARA J              1633 BERLINO DR                                                                                    PEARLAND            TX   77581‐7571
MCPHERSON, BRENDA                 11562 COUNTY ROAD 483                                                                              LAVON               TX   75166‐1678
MCPHERSON, CHARLES A              23163 LAMBRECHT AVE                                                                                EASTPOINTE          MI   48021‐1872
MCPHERSON, CHARLES E              THORNTON EARLY & NAUMES          100 SUMMER ST LBBY 3                                              BOSTON              MA   02110‐2104
MCPHERSON, CLIFFORD I             304 E JEANETTE ST                                                                                  BAY CITY            MI   48706‐3838
MCPHERSON, CYNTHIA L              31 LEA CT                                                                                          RINEYVILLE          KY   41621‐9409
MCPHERSON, DANNY                  7577 FREDERICK GARLAND RD                                                                          UNION               OH   45322‐9648
MCPHERSON, DAVID A                3560 SCHOLAR LN                                                                                    HOLT                MI   48842‐9423
MCPHERSON, DAVID W                14066 CARSON HWY                                                                                   FALLON              NV   89406‐5338
MCPHERSON, DEAN                   2635 W 58TH PL                                                                                     MERRILLVILLE        IN   46410‐2125
MCPHERSON, DONALD H               100 GLENVIEW PLACE                                                                                 NAPLES              FL   34108
MCPHERSON, DONALD L               310 MEADOW LN                                                                                      QUARRYVILLE         PA   17566‐9369
MCPHERSON, DONALD P               27208 LARKIN DR                                                                                    BROWNSTWN TWP       MI   48183‐4847
MCPHERSON, DONALD PAUL            27208 LARKIN DR                                                                                    BROWNSTWN TWP       MI   48183‐4847
MCPHERSON, DOUGLAS E              431 E HEARNE WAY                                                                                   GILBERT             AZ   85234‐6439
MCPHERSON, DOYLE H                2353 TANDY DR                                                                                      FLINT               MI   48532‐4959
MCPHERSON, EDWARD E               1506 SANDRA LN                                                                                     GRAND PRAIRIE       TX   75052‐2012
MCPHERSON, GORDON J               7783 ACORN CT                                                                                      BIRCH RUN           MI   48415‐9247
MCPHERSON, GREG A                 5415 E HAYES RD                                                                                    ASHLEY              MI   48806‐9343
MCPHERSON, GREG ALLEN             4069 N AIRPORT RD                                                                                  SAINT JOHNS         MI   48879‐9780
MCPHERSON, GREGORY P              2471 MORRISH RD                                                                                    FLUSHING            MI   48433‐9411
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Name                      Address1                        Address2                       Address3   Address4         City              State Zip
MCPHERSON, GREGORY PAUL   2471 MORRISH RD                                                                            FLUSHING           MI 48433‐9411
MCPHERSON, HAROLD T       2766 OBRIEN RD                                                                             MAYVILLE           MI 48744‐9412
MCPHERSON, HONOR L        3002 ROSSMOOR PKWY APT 5                                                                   WALNUT CREEK       CA 94595‐3338
MCPHERSON, JACK A         4502 STRATFORD DR                                                                          KOKOMO             IN 46901‐3932
MCPHERSON, JACK R         28229 CR33 LOT 71E                                                                         LEESBURG           FL 34748
MCPHERSON, JAMES
MCPHERSON, JOHN           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH 44067
                                                          PROFESSIONAL BLDG
MCPHERSON, JOHN C         1830 STATE ROUTE 725 LOT 158                                                               SPRING VALLEY     OH   45370‐9748
MCPHERSON, JOHN F         17499 BUCKTHORN AVE                                                                        HESPERIA          CA   92345‐6957
MCPHERSON, JULIE L        1413 20TH AVE                                                                              ELDORA            IA   50627‐1947
MCPHERSON, KENNETH L      944 S LUTHERAN CHURCH RD                                                                   NEW LEBANON       OH   45345‐9650
MCPHERSON, KEVIN A        10642 NIXON RD                                                                             GRAND LEDGE       MI   48837‐9455
MCPHERSON, LARRY N        2749 QUARTERLAND ST                                                                        STRASBURG         CO   80136
MCPHERSON, LEROY          PO BOX 2751                                                                                LIVERPOOL         NY   13089‐2751
MCPHERSON, LLENELL L      PO BOX 2903                                                                                BUTLER            GA   31006‐2903
MCPHERSON, LURLINE        9762 HIGHWAY 120                                                                           ROBELINE          LA   71469‐4506
MCPHERSON, MARIAN M       1377 HARPER RD                                                                             MASON             MI   48854‐9301
MCPHERSON, MARION         THORNTON EARLY & NAUMES         100 SUMMER ST LBBY 3                                       BOSTON            MA   02110‐2104
MCPHERSON, MARK A         6715 WILLIAMS PL                                                                           LAMBERTVILLE      MI   48144‐9467
MCPHERSON, MARK ALAN      6715 WILLIAMS PL                                                                           LAMBERTVILLE      MI   48144‐9467
MCPHERSON, MELVIN         28978 HWY 25 S.                                                                            FAUNSDALE         AL   36738
MCPHERSON, MELVIN J       442 WOODLAND CIR                                                                           CALHOUN           LA   71225‐8211
MCPHERSON, MICHAEL L      PO BOX 251                                                                                 SPRING VALLEY     OH   45370
MCPHERSON, NELLIE M       PO BOX 1356                                                                                TUBAC             AZ   85646‐1356
MCPHERSON, NELLIE M       BOX 1356                                                                                   TUBAC             AZ   85646‐1356
MCPHERSON, OATHER A       9201 CHESTERFIELD DR                                                                       SWARTZ CREEK      MI   48473‐1007
MCPHERSON, PHILLIP G      1521 E WINEGAR RD                                                                          MORRICE           MI   48857‐9749
MCPHERSON, RANDALL K      5440 EDGAR RD                                                                              CLARKSTON         MI   48346‐1929
MCPHERSON, RAYMOND A      5415 E HAYES RD R 2                                                                        ASHLEY            MI   48806
MCPHERSON, REBECCA S      7355 CARPENTER RD                                                                          FLUSHING          MI   48433‐1101
MCPHERSON, RICHARD        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH   44067
                                                          PROFESSIONAL BLDG
MCPHERSON, RICK C         26314 GROVELAND ST LAND                                                                    MADISON HEIGHTS   MI   48071
MCPHERSON, ROBERT E       747 S HUBBARD ST                                                                           WESTLAND          MI   48186‐4986
MCPHERSON, ROBERT K       10119 US HIGHWAY 50 EAST                                                                   HILLSBORO         OH   45133‐8311
MCPHERSON, RODERICK G     1700 GRANDVIEW DR                                                                          ROCHESTER HILLS   MI   48306‐3132
MCPHERSON, RONNIE LEE     MOODY EDWARD O                  801 W 4TH ST                                               LITTLE ROCK       AR   72201‐2107
MCPHERSON, RUSSELL L      381 PINE DR                                                                                GREENVILLE        MI   48838‐8107
MCPHERSON, SCOT A         8083 COLDWATER RD                                                                          FLUSHING          MI   48433‐1121
MCPHERSON, SCOTT D        5143 4TH AVE SW                                                                            GRANDVILLE        MI   49418‐9428
MCPHERSON, SCOTT J        230 N 115TH ST                                                                             WAUWATOSA         WI   53226‐4012
MCPHERSON, SHARON G       2469 RILEY CENTER RD                                                                       RILEY             MI   48041
MCPHERSON, SYLVIA         4711 W MOUNT HOPE HWY                                                                      LANSING           MI   48917‐9577
MCPHERSON, TALBOTT C      3801 S LANDESS ST                                                                          MARION            IN   46953‐4934
MCPHERSON, TINA M         2471 MORRISH RD                                                                            FLUSHING          MI   48433‐9411
MCPHERSON, TOMMIE L       137 THORNWOOD LN                                                                           ACWORTH           GA   30101‐7939
MCPHERSON, TOMMIE L       2469 RILEY CENTER RD                                                                       MEMPHIS           MI   48041‐1713
MCPHERSON, WENDELL        1783 N UNION RD                                                                            DAYTON            OH   45427‐1532
MCPHERSON, WILLIAM J      9571 INDIGO CREEK BLVD                                                                     MURRELLS INLET    SC   29576‐8626
MCPHERSON, WILLIAM R      725 COUNTRY ROAD 2373                                                                      ALBA              TX   75410
MCPHERSON, WILMER U       28 GILMAN LN                                                                               WILLINGBORO       NJ   08046‐3206
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Name                        Address1                             Address2                           Address3   Address4         City               State Zip
MCPHERSON‐COUTHEN, ASHLEA   1070 SOMERSET SPRINGS DR                                                                            SPRING HILL         TN 37174‐4554
MCPHETRES CAROL             3333 E BAYAUD AVE APT 616B                                                                          DENVER              CO 80209
MCPHETRES CAROL             ATTN: CORPORATE OFFICER/AUTHORIZED   769 DEXTER ST                                                  DENVER              CO 80220‐5043
                            AGENT
MCPHILIMY, GARY L           5466 BEECHWOOD RD                                                                                   ROSE CITY          MI   48654‐9747
MCPHILIMY, GERALYN A        27 PINETREE LN                                                                                      FLINT              MI   48506‐5279
MCPHILIMY, GERALYN ANNE     27 PINETREE LN                                                                                      FLINT              MI   48506‐5279
MCPHILIMY, JOE M            10311 ELMS RD                                                                                       MONTROSE           MI   48457‐9195
MCPHILIMY, JOE MICHAEL      10311 ELMS RD                                                                                       MONTROSE           MI   48457‐9195
MCPHILIMY, JULIANA M        9347 MCWAIN RD                                                                                      GRAND BLANC        MI   48439‐8363
MCPHILIMY, JUNE L.          3460 JACK MORRIS DR                                                                                 WEST BRANCH        MI   48661‐9113
MCPHILIMY, KELLY M          231 DIANE DR                                                                                        FLUSHING           MI   48433‐1824
MCPHILIMY, KELLY M.         231 DIANE DR                                                                                        FLUSHING           MI   48433‐1824
MCPHILLIPS CHARLES          445 COWESETT RD                                                                                     WARWICK            RI   02886‐8533
MCPHILLIPS JR, RICHARD J    5856 MARIN DR                                                                                       TOLEDO             OH   43613‐5640
MCPHILLIPS, ANNETTE         8 MOOREA CT                                                                                         GARNERVILLE        NY   10923‐2005
MCPHILLIPS, GERALD J        5600 FERRET DR                                                                                      FORT MOHAVE        AZ   86426‐8849
MCPHILLIPS, GERALD J        5600 FERRET DRIVE                                                                                   FORT MOHAVE        AZ   86426‐8849
MCPHILLIPS, THERESA         APT 4                                11715 WEST ATLANTIC BOULEVARD                                  CORAL SPRINGS      FL   33071‐4059

MCPIKE DAVID                MCPIKE, DAVID                        717 COLLEGE AVENUE SECOND                                      SANTA ROSA         CA 95404
                                                                 FLOOR
MCPIKE DAVID                STATE FARM MUTUAL AUTOMOBILE         717 COLLEGE AVENUE SECOND                                      SANTA ROSA         CA 95404
                            INSURANCE COMPANY                    FLOOR
MCPIKE JERRY AND JANIS      2499 PEERLESS RD                                                                                    BEDFORD            IN 47421‐8103
MCPIKE SHIRLEY              C/O EDWARD O MOODY PA                801 WEST 4TH STREET                                            LITTLE ROCK        AR 72201
MCPIKE, CHARLES E           3241 BLUEBELL LN                                                                                    INDIANAPOLIS       IN 46224‐2016
MCPIKE, DAVID
MCPIKE, GWENDOLYN K         2700 EATON RAPIDS RD LOT 37                                                                         LANSING            MI   48911‐6337
MCPIKE, JACK E              5959 W DELAP RD                                                                                     ELLETTSVILLE       IN   47429‐9651
MCPIKE, JANIS               KROGER GARDIS & REGAS LLP            111 MONUMENT CIR STE 900                                       INDIANAPOLIS       IN   46204
MCPIKE, JANIS               ENGSTROM LIPSCOMB & LACK             10100 SANTA MONICA BOULEVARD ,                                 LOS ANGELES        CA   90067‐4107
                                                                 16TH FLOOR
MCPIKE, JANIS               GIRARDI AND KEESE                    1126 WILSHIRE BLVD                                             LOS ANGELES        CA 90017
MCPIKE, JERRY               GIRARDI AND KEESE                    1126 WILSHIRE BLVD                                             LOS ANGELES        CA 90017
MCPIKE, JERRY               ENGSTROM LIPSCOMB & LACK             10100 SANTA MONICA BOULEVARD ,                                 LOS ANGELES        CA 90067‐4107
                                                                 16TH FLOOR
MCPIKE, JERRY               KROGER GARDIS & REGAS LLP            111 MONUMENT CIR STE 900                                       INDIANAPOLIS       IN   46204
MCPIKE, JERRY D             2499 PEERLESS RD                                                                                    BEDFORD            IN   47421‐8103
MCPIKE, JONATHAN D          17565 N BRAEBURN CT                                                                                 PLATTE CITY        MO   64079‐7941
MCPIKE, ROBERT W            1863 AVOCA EUREKA RD                                                                                BEDFORD            IN   47421‐8408
MCPIKE, SHIRLEY             MOODY EDWARD O                       801 W 4TH ST                                                   LITTLE ROCK        AR   72201‐2107
MCPIKE, THELMA M.           499 WASHBOARD RD.                                                                                   SPRINGVILLE        IN   47462‐5179
MCPIKE, WILMA A             1614 22ND ST                                                                                        BEDFORD            IN   47421
MCPIKE, WILMA A             1510 CLINIC DR                       WEST VIEW NURSING AND REHAB                                    BEDFORD            IN   47421‐3530
                                                                 CENT
MCQREGOR‐SUTTER GAIL        39536 WINDSOME DR                                                                                   NORTHVILLE         MI 48167‐3942
MCQUADE INDUSTRIES INC      23545 REYNOLDS CT                    LOF ADDRESS CHANGE 3/31/93                                     CLINTON TOWNSHIP   MI 48036‐1269
MCQUADE JAMES M (446285)    CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND          OH 44115
                            GAROFOLI                             FL
MCQUADE, BRIAN R            279 CEDARWOOD DR                                                                                    LEXINGTON          OH 44904‐9363
MCQUADE, BULA M             33273 MILL RACE CIR                                                                                 WESTLAND           MI 48185‐1486
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MCQUADE, ESTHER              6070 WILDOAK                                                                              SAGINAW           MI 48603‐1054
MCQUADE, ESTHER              6070 WILD OAK DR                                                                          SAGINAW           MI 48603‐1054
MCQUADE, EUGENE J            4236 E 300 N                                                                              BLUFFTON          IN 46714‐9211
MCQUADE, GARY E              3683 SHORELINE DR                                                                         GREENWOOD         IN 46143‐8360
MCQUADE, JEANENE L           3648 SHEFFIELD DR                                                                         JANESVILLE        WI 53546‐9381
MCQUADE, JEANENE L           7600 WHITE FAWN RD                                                                        ARLINGTON         TX 76002‐4328
MCQUADE, JOHN B              3216 SPANISH BAYONET DR                                                                   HERNANDO BEACH    FL 34607‐3527
MCQUADE, JOHN P              1868 AYNSLEY WAY 1                                                                        VERO BEACH        FL 32966
MCQUADE, KATHLEEN H          14273 SALEM                                                                               REDFORD           MI 48239‐2881
MCQUADE, KATHLEEN HELEN      14273 SALEM                                                                               REDFORD           MI 48239‐2881
MCQUADE, KEITH L             7500 WHITE FAWN RD                                                                        ARLINGTON         TX 76002‐4328
MCQUADE, KEITH L             7600 WHITE PAWN RD                                                                        ARLINGTON         TX 76002‐4328
MCQUADE, NANCY               PO BOX 304                                                                                PEEKSKILL         NY 10566‐0304
MCQUADE, THOMAS L            7935 E STATE ROAD 42                                                                      POLAND            IN 47868‐8219
MCQUADE, VERONICA R          1395 HARRISON ST                                                                          FLORISSANT        MO 63061
MCQUAID JR, JOHN J           3900 DALECREST DR APT 1082                                                                LAS VEGAS         NV 89129‐1754
MCQUAID, DIANA L             9575 WEBSTER RD                                                                           FREELAND          MI 48623‐8603
MCQUAID, DONALD E            808 N MAIN ST                                                                             NEW DOUGLAS        IL 62074‐1512
MCQUAID, GARY E              11536 QUAIL VILLAGE WAY                                                                   NAPLES            FL 34119‐8927
MCQUAID, JACLYN M            23676 WINGED FOOT WAY                                                                     SOUTH LYON        MI 48178‐9083
MCQUAID, JAMES G             871 COMMONWEALTH ST                                                                       SAGINAW           MI 48604‐1105
MCQUAID, JO ANN              2025 NEWBERRY ST                                                                          SAGINAW           MI 48602‐2742
MCQUAID, JO ANN              2025 NEWBERRY                                                                             SAGINAW           MI 48602
MCQUAID, JOYCE B             11536 QUAIL VILLAGE WAY                                                                   NAPLES            FL 34119‐8927
MCQUAID, KIMBERLY A          6373 LINDA LN                                                                             RAVENNA           OH 44266‐8711
MCQUAID, LEOTA S             5591 TALL PINES PKWY APT 3                                                                ROSCOE             IL 61073‐1109
MCQUAID, LESTER J            2025 NEWBERRY ST                                                                          SAGINAW           MI 48602‐2742
MCQUAID, MADONNA A           27024 KENNEDY                                                                             DEARBORN HGTS     MI 48127
MCQUAID‐SINCLAIR, JANICE E   APT 206                         6310 GRAND OAK CIRCLE                                     BRADENTON         FL 34203‐7130
MCQUAIN CHARLES R (429435)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                             STREET, SUITE 600
MCQUAIN, CHARLES R           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                             STREET, SUITE 600
MCQUAIN, KEVIN J             7500 E 133RD TER                                                                          GRANDVIEW        MO   64030‐3416
MCQUAIN, LEOTA               2228 BARRENS LOOP RD                                                                      CLINTON          AR   72031‐8718
MCQUAIN, LEOTA               2228 BARREN LOOP RD                                                                       CLINTON          AR   72031
MCQUALITY, BARBARA A         1875 LANDOLA DRIVE                                                                        DAYTON           OH   45424‐6211
MCQUARTER, BERNIECE T        4978 EIGHT MILE RD                                                                        PINCONNING       MI   48650‐8924
MCQUARTER, BERNIECE T        4978 N 8 MILE RD                                                                          PINCONNING       MI   48650‐8924
MCQUARTER, HAROLD L          PO BOX 645                                                                                PINCONNING       MI   48650‐0645
MCQUARTER, JAMES M           5466 N 9 MILE RD                                                                          PINCONNING       MI   48650‐7953
MCQUARTER, LAWRENCE P        2109 N GARFIELD RD                                                                        PINCONNING       MI   48650‐7471
MCQUARTER, NICHOLE M         2298 11 MILE RD                                                                           AUBURN           MI   48611‐9723
MCQUARTER, RUSSELL E         98 W MOUNT FOREST RD                                                                      PINCONNING       MI   48650‐8923
MCQUARTERS, ALEXANDER        SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST       MS   39083‐3007
MCQUARTERS, CLARENCE         SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST       MS   39083‐3007
MCQUARTERS, EDDIE K          18063 BIRWOOD ST                                                                          DETROIT          MI   48221‐2320
MCQUARTERS, FRANK            SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST       MS   39083‐3007
MCQUARTERS, GEORGE H         19797 SANTA ROSA DR                                                                       DETROIT          MI   48221‐1737
MCQUARTERS, NEDRA D          195 OAK RIDGE DR                                                                          PONTIAC          MI   48341‐3610
MCQUARTERS, QUINTON L        PO BOX 205                                                                                BEDFORD          TX   76095‐0205
MCQUARY, CATHERINE A         4951 FALL CREEK RD                                                                        INDIANAPOLIS     IN   46220‐5374
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Name                              Address1                         Address2                         Address3   Address4              City                    State Zip
MCQUARY, RUBY E                   58 LINDA DR                                                                                        FREMONT                  OH 43420‐4881
MCQUATE, DOUGLAS M                PO BOX 8031                                                                                        WAVERLY                  TN 37185‐8031
MCQUATE, DUANE E                  64 HICKORY HILL LN                                                                                 BENTON                   KY 42025‐6506
MCQUATE, MARY P                   64 HICKORY HILL LN                                                                                 BENTON                   KY 42025‐6506
MCQUAY AIR CONDITIONING FACTORY   13600 INDUSTRIAL PARK BLVD                                                                         MINNEAPOLIS              MN 55441‐3743
SERVICE
MCQUAY, MARILYN R                 5616 SW HAWICK LANE                                                                                TOPEKA                  KS    66614
MCQUAY, MARK J                    11891 PLAINS RD                                                                                    EATON RAPIDS            MI    48827‐9751
MCQUAY, ROSE M                    11212 SANDYVALE RD                                                                                 KINGSVILLE              MD    21087‐1857
MCQUAY, RUSSELL E                 1610 LINVAL ST                                                                                     LANSING                 MI    48910‐1755
MCQUEARY JEREMY                   MCQUEARY, JEREMY                 120 WEST MADISON STREET 10TH                                      CHICAGO                 IL    60602
                                                                   FLOOR
MCQUEARY JEREMY                   MCQUEARY, RAE                    120 WEST MADISON STREET 10TH                                      CHICAGO                  IL   60602
                                                                   FLOOR
MCQUEARY, DONALD A                2807 N PATRICIA LN                                                                                 MARION                  IN 46952‐1043
MCQUEARY, JEANETTA M              846 E 8TH ST                                                                                       FLINT                   MI 48503‐2779
MCQUEARY, JEREMY                  KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                                      CHICAGO                 IL 60602
                                                                   FLOOR
MCQUEARY, LILLIE R                3409 CARR AVE                                                                                      INDIANAPOLIS             IN   46221‐2119
MCQUEARY, RAE                     KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                                      CHICAGO                  IL   60602
                                                                   FLOOR
MCQUEARY, TRACIE L                6482 E 1100 S                                                                                      KEYSTONE                 IN   46759‐9747
MCQUEARY, VIRGINIA L              PO BOX 6584                                                                                        KOKOMO                   IN   46904‐6584
MCQUEEN AMBER                     MCQUEEN, AMBER                   120 WEST MADISON STREET 10TH                                      CHICAGO                  IL   60602
                                                                   FLOOR
MCQUEEN AUTOMOTIVE                24 HAGGERT AVE N                                                             BRAMPTON ON L6X 1Y3
                                                                                                               CANADA
MCQUEEN DONNA                     MCQUEEN, DONNA                   30928 FORD RD                                                     GARDEN CITY             MI    48135‐1803
MCQUEEN III, JOSEPH               APT 2214                         260 YOAKUM PARKWAY                                                ALEXANDRIA              VA    22304‐3868
MCQUEEN JENNIFER                  3247 CURTIS CIR                                                                                    PLEASANTON              CA    94588‐5116
MCQUEEN JR, JAMES E               4472 PARMELY ST APT A                                                                              PORT CHARLOTTE          FL    33980‐3221
MCQUEEN JR, JAMES EDWARD          4565 POINCIANA ST APT 2                                                                            LAUDERDALE BY THE SEA   FL    33308‐3509
MCQUEEN JR, LLOYD C               6031 CONCORD PASS                                                                                  FLINT                   MI    48506‐1642
MCQUEEN KATHY                     4504 ZION RD                                                                                       MULLINS                 SC    29574‐7013
MCQUEEN NORMAN (516481)           ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                        BALTIMORE               MD    21202
                                                                   CHARLES CENTER 22ND FLOOR
MCQUEEN RICHARDSON (335241)       BARON & BUDD                     3102 OAK LANE AVE , SUITE 1100                                    DALLAS                  TX    75219
MCQUEEN WILLIAM DALE (635926)     SIMMONS FIRM                     PO BOX 521                                                        EAST ALTON              IL    62024‐0519
MCQUEEN WILLIAM F                 3961 JACOBS LNDG                                                                                   SAINT CHARLES           MO    63304‐7492
MCQUEEN, ANTHONY C                1225 FAIRBURN RD SW APT NN3                                                                        ATLANTA                 GA    30331
MCQUEEN, ANTHONY M                6696 KINGSVILLE DR 166                                                                             KALAMAZOO               MI    49048
MCQUEEN, ARTHUR D                 10571 CAMROSE CIR                                                                                  TRAVERSE CITY           MI    49684
MCQUEEN, BETTY A                  823 HOLLYWOOD AVE                                                                                  GROSSE POINTE WOODS     MI    48236‐1343
MCQUEEN, CHARLES O.               101 TIMBER RIDGE DR.                                                                               CARLISLE                OH    45005‐7311
MCQUEEN, CHARLIE                  4547 TRENTON RD                                                                                    HAMILTON                OH    45011‐9606
MCQUEEN, CINDY S                  6056 ROCKING CHAIR RD                                                                              GRAND BLANC             MI    48439‐7919
MCQUEEN, CINDY SUE                6056 ROCKING CHAIR RD                                                                              GRAND BLANC             MI    48439‐7919
MCQUEEN, CLARENCE L               17558 ANGLIN ST                                                                                    DETROIT                 MI    48212‐4011
MCQUEEN, DANIEL E                 115 BRABB RD                                                                                       OXFORD                  MI    48371‐3205
MCQUEEN, DANIEL J                 4159 MUIRFIELD LOOP                                                                                LAKE WALES              FL    33859‐5723
MCQUEEN, DANIEL L                 700 SANDERS RD                                                                                     OXFORD                  MI    48371‐4319
MCQUEEN, DAVID                    1414 MULBERRY LN                                                                                   FLINT                   MI    48507‐5331
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Name                  Address1                          Address2                        Address3   Address4         City            State Zip
MCQUEEN, DAVID B      19690 W TOWNLINE RD                                                                           SAINT CHARLES    MI 48655‐8761
MCQUEEN, DAVID L      514 N WARREN AVE                                                                              SAGINAW          MI 48607‐1363
MCQUEEN, DAVID P      5408 MEEHAN SAVOY RD S                                                                        ENTERPRISE       MS 39330‐9424
MCQUEEN, DAVID P      4549 STRICKLAND BLVD                                                                          FLOWERY BR       GA 30542‐3638
MCQUEEN, DAVID R      125 7TH AVE S                                                                                 LEWISBURG        TN 37091‐3207
MCQUEEN, DENNIS J     655 E ISABELLA COUNTY LINE                                                                    RIVERDALE        MI 48877
MCQUEEN, DIANE K      2655 DEVONSHIRE                                                                               LEONARD          MI 48367‐2925
MCQUEEN, DONALD J     17245 WESTBROOK ST                                                                            DETROIT          MI 48219‐4756
MCQUEEN, DOROTHY      2664 BUCHANAN                                                                                 DETROIT          MI 48208‐2108
MCQUEEN, DOROTHY      4025 CLEMENTS ST                  2ND FLOOR                                                   DETROIT          MI 48238‐2108
MCQUEEN, DOUGLAS K    8459 S ISABELLA RD                                                                            SHEPHERD         MI 48883‐9321
MCQUEEN, DUANE        4256 BERKSHIRE DRIVE                                                                          SARASOTA         FL 34241‐5915
MCQUEEN, ELSIE        11776 COWFORD RD                                                                              ATHENS           AL 35611‐6868
MCQUEEN, FRANKLIN H   PO BOX 176                                                                                    FLINT            MI 48501‐0176
MCQUEEN, FRANKLIN R   49 CRESCENT DR                                                                                PONTIAC          MI 48342‐2512
MCQUEEN, GEORGE S     805 E MCCLELLAN ST                                                                            FLINT            MI 48505‐4517
MCQUEEN, GERALD L     701 BLUE OAK DR                                                                               UKIAH            CA 95482‐9671
MCQUEEN, GORDON D     2010 W WILNO DR                                                                               MARION           IN 46952‐1516
MCQUEEN, GREGORY A    8089 W 100 N                                                                                  FARMLAND         IN 47340‐9261
MCQUEEN, HARRY C      5214 ROANOKE ST                                                                               SEBRING          FL 33876‐8600
MCQUEEN, HARRY L      6394 MANSON DR                                                                                WATERFORD        MI 48329‐3034
MCQUEEN, JAMES        3108 COMANCHE                                                                                 FLINT            MI 48507‐1877
MCQUEEN, JAMES        3108 COMANCHE AVE                                                                             FLINT            MI 48507‐1877
MCQUEEN, JANICE L     53 PEARL ST                                                                                   OXFORD           MI 48371‐4964
MCQUEEN, JERRY        11741 MANOR ST                                                                                DETROIT          MI 48204
MCQUEEN, JILL A       1414 MULLBERRY LN                                                                             FLINT            MI 48507
MCQUEEN, JOHN C       4632 CASTLEBAR ST NW                                                                          CANTON           OH 44708‐2139
MCQUEEN, JOHNNY J     PO BOX 1641                                                                                   FINDLAY          OH 45839‐1641
MCQUEEN, JOSEPHINE    1761 ACADEMY PL                                                                               DAYTON           OH 45406‐4602
MCQUEEN, K C          PO BOX 13091                                                                                  FLINT            MI 48501‐3091
MCQUEEN, LANNY J      104 MAXWELL ST                                                                                BURKBURNETT      TX 76354
MCQUEEN, LETTIE       8941 DAYTON‐OXFORD RD                                                                         FRANKLIN         OH 45005‐3052
MCQUEEN, LEVERN J     167 WEST JEFFERSON STREET                                                                     PEWAMO           MI 48873‐9785
MCQUEEN, MARIANNA     4500 CLARK RD                     C/O MELISSA REICHENBACH                                     BATH             MI 48808‐9759
MCQUEEN, MARTHA M     439 SOUTH MAIN STREET                                                                         MIAMISBURG       OH 45342‐3101
MCQUEEN, MARTHA M     439 S MAIN ST                                                                                 MIAMISBURG       OH 45342‐3101
MCQUEEN, NORMAN       ANGELOS PETER G LAW OFFICES OF    100 N CHARLES STREET, ONE                                   BALTIMORE        MD 21202
                                                        CHARLES CENTER 22ND FLOOR
MCQUEEN, PATRICK W    650 W SHORE DR                                                                                STANTON         MI   48888‐9230
MCQUEEN, PINKIE       20525 MARLOWE ST                                                                              DETROIT         MI   48235‐1646
MCQUEEN, RICHARDSON   BARON & BUDD                      3102 OAK LANE AVE, SUITE 1100                               DALLAS          TX   75219
MCQUEEN, ROBERT P     4821 SAINT JOSEPH DR                                                                          LOCKPORT        NY   14094
MCQUEEN, ROGER R      1700 WAGONTRAIL RD                                                                            MONROE          VA   24574
MCQUEEN, ROGER R      1700 WAGON TRAIL RD                                                                           MONROE          VA   24574‐2604
MCQUEEN, ROSE M       4253 FREEMAN RD                                                                               MIDDLEPORT      NY   14105‐9640
MCQUEEN, ROSEMARY     2981 PRINCETON RD                                                                             HAMILTON        OH   45011‐5344
MCQUEEN, ROYAL D      10522 S VANDECAR RD R#2                                                                       SHEPHERD        MI   48883
MCQUEEN, SANDRA S     13450 HAWBUCK RD                                                                              DANVILLE        IL   61834‐8013
MCQUEEN, SANDRA S     13450 HAWBUCK                                                                                 DANVILLE        IL   61834‐8013
MCQUEEN, SANDY        493 WYOMING AVE                                                                               BUFFALO         NY   14215‐3135
MCQUEEN, TERRY C      1357 FRANCIS S.E.                                                                             WARREN          OH   44484‐4942
MCQUEEN, TERRY C      1357 FRANCIS AVE SE                                                                           WARREN          OH   44484‐4942
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Name                                 Address1                       Address2                        Address3               Address4         City             State Zip
MCQUEEN, TIMOTHY T                   701 SPRING HAVEN DR                                                                                    SPRING HILL       TN 37174‐7500
MCQUEEN, TRUMAN D                    10095 E 500 S                                                                                          UPLAND            IN 46989‐9434
MCQUEEN, WILLIAM                     4253 FREEMAN RD                                                                                        MIDDLEPORT        NY 14105‐9640
MCQUEEN, WILLIAM J                   11627 S GREEN RD                                                                                       RIVERDALE         MI 48877‐9301
MCQUEEN, WILLIE                      12844 METTETAL ST                                                                                      DETROIT           MI 48227‐1245
MCQUEEN, WILLIE M                    319 RAEBURN ST                                                                                         PONTIAC           MI 48341‐3051
MCQUEENEY, HALEY                     4600 RICHMOND LANE             APT F                                                                   BLACKSBURG        VA 24060‐2670
MCQUEENEY, HALEY                     4600 RICHMOND LN APT F                                                                                 BLACKSBURG        VA 24060‐4393
MCQUEENEY, KATHLEEN                  2517 LITTLE RD APT 104                                                                                 ARLINGTON         TX 76016‐1303
MCQUEENEY, LISA                      2243 PIKE DR                                                                                           GREENBACKVILLE    VA 23356‐2670
MCQUEENEY, LYLE R                    4540 SHARON COPLEY RD                                                                                  MEDINA            OH 44256‐9734
MCQUERN, RAYMOND D                   409 COUNTRYSIDE DR                                                                                     LEBANON           IN 46052‐8837
MCQUERREY, DAVID L                   126 SANTA FE AVE                                                                                       LAWSON            MO 64062‐9333
MCQUERREY, GARY L                    123 MILWAUKEE AVE                                                                                      LAWSON            MO 64062‐9332
MCQUERREY, VIRGINIA A                5700 ALKIRE RD                                                                                         GALLOWAY          OH 43119‐8894
MCQUERREY, VIRGINIA A                5700 ALKIRE ROAD                                                                                       GALLOWAY          OH 43119‐8894
MCQUERY, RONALD D                    5759 E TALL OAKS DR                                                                                    MILFORD           OH 45150‐2554
MCQUESTION, THOM C                   3417 SHERBROOKE RD                                                                                     TOLEDO            OH 43606‐2133
MCQUIDDY, THERESA M                  605 E BISHOP AVE                                                                                       FLINT             MI 48505‐6402
MCQUIGG, CAROLYN M                   2349N SEYMOUR RD                                                                                       FLUSHING          MI 48433
MCQUIGG, SHARON J                    PO BOX 101                                                                                             MORAN             MI 49760‐0101
MCQUILKEN, JUNE V                    18 WALL STREET                                                                                         TRANSFER          PA 16154‐6154
MCQUILKEN, JUNE V                    18 WALL ST                                                                                             TRANSFER          PA 16154‐2048
MCQUILLAN CHARLES M                  788 INTERVALE CT                                                                                       HIGHLAND          MI 48357‐2826
MCQUILLAN PHILLIP J (400718)         ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                     NEW YORK          NY 10006‐1638
MCQUILLAN ROBERT & JO ANN            1700 DIXIE DR                                                                                          WAUKESHA          WI 53189‐7394
MCQUILLAN, CHARLES M                 788 INTERVALE CT                                                                                       HIGHLAND          MI 48357‐2826
MCQUILLAN, KIRK P                    PO BOX 927                                                                                             GRAND BLANC       MI 48480‐0927
MCQUILLAN, PHILLIP J                 ANGELOS PETER G LAW OFFICE     115 BROADWAY FRNT 3                                                     NEW YORK          NY 10006‐1638
MCQUILLAN, ROBERT J                  LYNNE KIZIS, ESQ               WILENTZ, GOLDMAN, AND SPITZER   90 WOODBRIDGE CENTER                    WOODBRIDGE        NJ 07095
                                                                                                    DRIVE
MCQUILLAN, TIMOTHY J                4354 FOWLER DR                                                                                          WATERFORD        MI 48329‐1904
MCQUILLAR, KIMBERLY G               310 EUGENIA MEADOWS RD                                                                                  NEW CASTLE       DE 19720‐8739
MCQUILLEN CHEVROLET‐BUICK‐PONTIAC‐G 604 MAIN ST E                                                                                           GIRARD           PA 16417‐1715

MCQUILLEN CHEVROLET‐BUICK‐PONTIAC‐   604 MAIN ST E                                                                                          GIRARD           PA 16417‐1715
GMC TRUCK, INC.
MCQUILLEN CHEVROLET‐BUICK‐PONTIAC‐   DANIEL MCQUILLEN               604 MAIN ST E                                                           GIRARD           PA 16417‐1715
GMC TRUCK, INC.
MCQUILLEN INC                        8171 E MAIN RD                 17 BANK ST                                                              LE ROY           NY   14482‐9737
MCQUILLEN, GERALD L                  RT 1 GARRETT RD                                                                                        BUTLER           OH   44822
MCQUILLEN, JOHN H                    1440 RESTHAVEN DR                                                                                      MANSFIELD        OH   44903‐8843
MCQUILLEN, MARC                      1959 GREENFIELD DR                                                                                     ROCK HILL        SC   29732‐1022
MCQUINN JR, GERALD                   2510 SIERRA DR                                                                                         SAGINAW          MI   48609‐7021
MCQUINN, BART P                      3122 WESTMOOR DR                                                                                       KOKOMO           IN   46902‐3737
MCQUINN, BART PHILIP                 3122 WESTMOOR DR                                                                                       KOKOMO           IN   46902‐3737
MCQUINN, CAROLYN K                   401 S MAIN ST                                                                                          KIRKLIN          IN   46050‐9767
MCQUINN, DOROTHY L                   1362 WILLOW WALK PARKWAY                                                                               ELLWOOD          IN   46036
MCQUINN, JACK P                      4316 DEE ANN CT                                                                                        KOKOMO           IN   46902‐5188
MCQUINN, JULIE M                     4316 DEE ANN CT                                                                                        KOKOMO           IN   46902‐5188
MCQUINN, KATHRYN H                   19127 PARDEE RD                                                                                        GALIEN           MI   49113‐9608
MCQUINN, MARSHA O                    200 TURNBROOK LN                                                                                       FRANKLIN         TN   37064‐5533
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Name                                Address1                          Address2                         Address3   Address4         City             State Zip
MCQUINN, MARSHA ORENE               200 TURNBROOK LN                                                                               FRANKLIN          TN 37064‐5533
MCQUINN, TED M                      5186 PINNACLE DR                                                                               OLDSMAR           FL 34677‐1930
MCQUINN, THELMA G                   3208 SO CO RD 350 W                                                                            KOKOMO            IN 46902
MCQUINN, WALTER S                   200 TURNBROOK LN                                                                               FRANKLIN          TN 37064‐5533
MCQUIRE, LEILA B                    130 VANOVER RD.                                                                                JOHNSON CITY      TN 37601‐7160
MCQUIRE, LEILA B                    130 VANOVER RD                                                                                 JOHNSON CITY      TN 37601‐7160
MCQUIRTER, DWIGHT G                 2940 BABY RUTH LN UNIT 11                                                                      ANTIOCH           TN 37013‐7306
MCQUIRTER, DWIGHT G                 PO BOX 243                                                                                     SPRING HILL       TN 37174‐0243
MCQUIRTER, KARINE                   2670 BLAINE                                                                                    DETROIT           MI 48206‐2109
MCQUIRTER, PAUL D                   1265 CREEK POINTE DR                                                                           ROCHESTER         MI 48307‐1726
MCQUIRTER, PHILLIP                  8233 N STODDARD AVE                                                                            KANSAS CITY       MO 64152‐2062
MCQUISTION, ARTHUR R                16619 GALEHOUSE RD                                                                             DOYLESTOWN        OH 44230‐9368
MCQUISTION, ROBERT L                34076 SALEM GRANGE RD                                                                          SALEM             OH 44460‐9423
MCQUISTION, THOMAS E                1342 PHEASANT CT                                                                               BOARDMAN          OH 44512‐4095
MCQUISTON DONALD (492070)           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD        OH 44067
                                                                      PROFESSIONAL BLDG
MCQUISTON JIMMIE L (355023)         GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510
                                                                      STREET, SUITE 600
MCQUISTON, BARBARA J                908 PAHARA VILLAGE ROAD                                                                        KOKOMO           IN   46901
MCQUISTON, CECELIA J                616 QUEEN ST                                                                                   OWOSSO           MI   48867‐2450
MCQUISTON, CHARLES W                816 CARSON ST                                                                                  NEW CASTLE       PA   16101‐1950
MCQUISTON, CHARLES W                816 CARSON ST.                                                                                 NEW CASTLE       PA   16101‐1950
MCQUISTON, DONALD                   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD       OH   44067
                                                                      PROFESSIONAL BLDG
MCQUISTON, GEORGE S                 6579 COUNTRY LN                                                                                BELLEVILLE       MI   48111‐4434
MCQUISTON, GLORIA A                 8348 E STATE ROAD 18                                                                           GALVESTON        IN   46932‐8954
MCQUISTON, GREGORY                  6875 CEDAR COVE DR                                                                             CENTERVILLE      OH   45459‐6214
MCQUISTON, JIMMIE L                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510‐2212
                                                                      STREET, SUITE 600
MCQUISTON, JUANITA S                273 SUMMERSET DR                                                                               PUNTA GORDA      FL   33982‐8318
MCQUISTON, LESTER J                 8750 PETTIT RD                                                                                 BIRCH RUN        MI   48415
MCQUISTON, PATRICK M                500 S GLEANER RD                                                                               SAGINAW          MI   48609‐9604
MCQUISTON, PEGGY M                  28027 ROSE AVE                                                                                 BROWNSTOWN TWP   MI   48183‐4832
MCQUISTON, RANDOLPH D               2426 S TOWERLINE RD                                                                            WHITTEMORE       MI   48770‐9708
MCQUISTON, SCOTT C                  504 W FITZGERALD ST                                                                            DURAND           MI   48429
MCQUISTON, SHARON A                 4312 E 400 N                                                                                   MONTICELLO       IN   47960‐7389
MCQUISTON, TOM A                    273 SUMMERSET DR                                                                               PUNTA GORDA      FL   33982‐8318
MCQUITTY, BARRY W                   74 MOROSS ST                                                                                   MOUNT CLEMENS    MI   48043‐2210
MCQUITTY, BILLY H                   10833 WASHINGTON BAY DR                                                                        FISHERS          IN   46037‐9559
MCQUITTY, GRACE C                   840 CENTRAL ST                                                                                 INKSTER          MI   48141‐1181
MCQUOWN, LOUISE A                   920 PINECREST RD                                                                               GIRARD           OH   44420‐2153
MCRAE A D JR (429436) ‐ MCRAE A D   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510
                                                                      STREET, SUITE 600
MCRAE CAR CARE                      3001 MCRAE BLVD                                                                                EL PASO          TX 79925‐4530
MCRAE HARVEY (ESTATE OF) (470563)   ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                             PHILADELPHIA     PA 19103‐6612
                                    P.C.
MCRAE JAMES (507567)                COON BRENT W                      PO BOX 4905                                                  BEAUMONT         TX 77704‐4905
MCRAE MICHAEL                       MCRAE, MICHAEL                    1790 WILMINGTON PIKE SUITE 200                               GLEN MILLS       PA 19342
                                                                      THE SPEAKMAN HOUSE
MCRAE'S AUTOMOTIVE CLINIC           1312 LINDA DR                                                                                  DAINGERFIELD     TX 75638‐2130
MCRAE, A D                          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA 23510‐2212
                                                                      STREET, SUITE 600
                            09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit B
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Name                        Address1                          Address2                        Address3   Address4         City               State Zip
MCRAE, BERNEICE             283 GREENDALE AVE                                                                             MANSFIELD           OH 44902‐7724
MCRAE, DARRELL G            7151 CAINE RD                                                                                 VASSAR              MI 48768‐9284
MCRAE, DARRELL GENE         7151 CAINE RD                                                                                 VASSAR              MI 48768‐9284
MCRAE, DEBORAH A            215 MACADAMIA CT                                                                              COVINGTON           GA 30016‐5574
MCRAE, DEBORAH ANN          215 MACADAMIA CT                                                                              COVINGTON           GA 30016‐5574
MCRAE, DONALD E             PO BOX 8833                                                                                   GRAND RAPIDS        MI 49518‐8833
MCRAE, DORIS J              13353 WYNDEMERE CIR                                                                           STERLING HEIGHTS    MI 48313‐2625
MCRAE, EDNA M               765 WILLIAM ST                                                                                BUFFALO             NY 14206‐1738
MCRAE, ELMER J              2618 W FAIRMOUNT AVE                                                                          BALTIMORE           MD 21223
MCRAE, HARVEY               ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                            PHILADELPHIA        PA 19103‐6612
                            P.C.
MCRAE, JAMES                COON BRENT W                      PO BOX 4905                                                 BEAUMONT           TX   77704‐4905
MCRAE, JERRELL              47232 ASHLEY CT                                                                               CANTON             MI   48187‐1419
MCRAE, JOHN B               55774 NICHOLAS DR                                                                             SHELBY TOWNSHIP    MI   48316‐5817
MCRAE, JOHN N               72910 STATE HIGHWAY 13                                                                        ASHLAND            WI   54806‐5616
MCRAE, JOHN R               538 WEAVER DR                                                                                 DOVER              DE   19901‐1384
MCRAE, LEEVANDER            503 ZION STREET                                                                               CLIO               SC   29525
MCRAE, LESA C               PO BOX 73                         1606 BUCK CREEK ROAD                                        TIOGA              TX   76271‐0073
MCRAE, LEWIS C              PO BOX 160022                                                                                 ATLANTA            GA   30316‐1001
MCRAE, MARILYNN
MCRAE, MICHAEL J            2662 OXFORD RD                                                                                BERKLEY            MI   48072‐3604
MCRAE, MILLICENT L          PO BOX 2618                                                                                   INDIANAPOLIS       IN   46206‐2618
MCRAE, MONIKA E             1209 CASA LN                                                                                  VENUS              TX   76084‐3836
MCRAE, MONIKA E             1209 CASA LANE                                                                                VENUS              TX   76084‐3836
MCRAE, RICHARD L            3105 VERNON DR                                                                                ARLINGTON          TX   76015‐2021
MCRAE, ROBERT               GUY WILLIAM S                     PO BOX 509                                                  MCCOMB             MS   39649‐0509
MCRAE, ROBERT P             PO BOX 73                                                                                     TIOGA              TX   76271‐0073
MCRAE, RODERIC D            2652 EGYPT VALLEY AVE NE                                                                      ADA                MI   49301‐9594
MCRAE, ROSIE LEE            9271 CHEYENNE                                                                                 DETROIT            MI   48228‐2606
MCRAE, RUBY                 4284 W BEND DR                                                                                WILLOUGHBY         OH   44096‐7943
MCRAE, TAMARA A             244 WHEELING RD                                                                               IMLAY CITY         MI   48444‐9452
MCRAE, VELMA                21641 MCLAUGHLIN RD                                                                           LAURINBURG         NC   28352‐6891
MCRAE, VIRGINIA G           909 LIBERTY RD                                                                                YOUNGSTOWN         OH   44505‐3921
MCRAE, VIRGINIA G           909 LIBERTY ROAD                                                                              YOUNGSTOWN         OH   44505‐3921
MCRAE, WILLIAM F            504 AMBERJACK DR                                                                              NORTH PORT         FL   34287‐6507
MCRAE‐OSEFOH OGOEGBUNAM     11 NORVAL AVE                                                                                 STONEHAM           MA   02180‐3449
MCRAY, WILLIAM              BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                 WILMINGTON         DE   19899‐2165
MCREE, JOEL M               5063 BRADY ST                                                                                 SWARTZ CREEK       MI   48473‐1366
MCREE, JOEL MICHAEL         5063 BRADY ST                                                                                 SWARTZ CREEK       MI   48473‐1366
MCREE, JOSEPH E             3376 SEYMOUR RD                                                                               SWARTZ CREEK       MI   48473‐9746
MCREE, MICHAEL J            1682 HAYWOOD CREEK RD                                                                         PULASKI            TN   38478‐7484
MCREE, REBECCA              1606 HAYWOOD CK RD                                                                            PULASKI            TN   38478
MCREE, TRACIE I             711 TERRY ROBINSON RD                                                                         PAGOSA SPRINGS     CO   81147‐8715
MCREYNOLDS JAMES (468733)   KELLEY & FERRARO LLP              1300 EAST NINTH STREET , 1901                               CLEVELAND          OH   44114
                                                              BOND COURT BUILDING
MCREYNOLDS JR, ROBERT L     5217 N 00 EW                                                                                  KOKOMO             IN 46901‐5933
MCREYNOLDS POLLY            #2                                4823 ELDER ROAD                                             KNOXVILLE          TN 37912‐3712
MCREYNOLDS, BERTHA J        11630 S 400 W                                                                                 BUNKER HILL        IN 46914‐9496
MCREYNOLDS, CARMEN
MCREYNOLDS, EARNEST C       336 MINTY DRIVE                                                                               DAYTON             OH 45415‐5415
MCREYNOLDS, EARNEST C       336 MINTY DR                                                                                  DAYTON             OH 45415‐3015
MCREYNOLDS, ESTHER J        1143 RUNAWAY BAY DR. #1D                                                                      LANSING            MI 48917‐8697
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Name                              Address1                         Address2                       Address3   Address4         City            State Zip
MCREYNOLDS, FLORIDA               734 ADDISON ST                                                                              FLINT            MI 48505
MCREYNOLDS, FREDERIC L            6425 TRAILS END RD                                                                          COLLEGE GROVE    TN 37046‐9146
MCREYNOLDS, GARY B                5200 S NOVA RD                                                                              PORT ORANGE      FL 32127‐6234
MCREYNOLDS, JAMES                 KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                                   BOND COURT BUILDING
MCREYNOLDS, JEFFERY C             63 W LONG MEADOW DR                                                                         SPRINGBORO      OH   45066‐8108
MCREYNOLDS, JEFFERY CARROLL       63 W LONG MEADOW DR                                                                         SPRINGBORO      OH   45066‐8108
MCREYNOLDS, JERRY                 1425 22ND AVENUE HTS                                                                        MERIDIAN        MS   39301‐6818
MCREYNOLDS, KENNETH O             919 E WASHINGTON ST                                                                         GREENSBURG      IN   47240‐2216
MCREYNOLDS, LARRY                 2600 W SACRAMENTO DR                                                                        MUNCIE          IN   47303‐9039
MCREYNOLDS, MARGARET R            4917 STATE ROUTE 181                                                                        CRESTLINE       OH   44827‐9623
MCREYNOLDS, MARK B                13101 CLOVERLEAF LN                                                                         OKLAHOMA CITY   OK   73170‐1126
MCREYNOLDS, MILDRED               306 CAROL LN                                                                                UNION           OH   45322‐3320
MCREYNOLDS, NORA T                1201 CRANFORD AVE                                                                           LAKEWOOD        OH   44107‐2307
MCREYNOLDS, TERRY W               94 RAYMOND AVENUE                                                                           SHELBY          OH   44875‐1141
MCREYNOLDS, TERRY W               94 RAYMOND AVE                                                                              SHELBY          OH   44875‐1141
MCREYNOLDS, WILLIAM A             3000 S HALL AVE                                                                             INDEPENDENCE    MO   64052‐1452
MCREYNOLDS, WILLIAM D             4229 ARROWROCK AVE                                                                          DAYTON          OH   45424‐5001
MCRIGHT JACKSON DORMAN MYRICK &   PO BOX 2846                                                                                 MOBILE          AL   36652‐2846
MOORE
MCRILL RICHARD                    MCRILL, RICHARD                  500 S WASHINGTON AVE STE 5                                 ROYAL OAK       MI   48067‐3846
MCRILL, GERALDINE A               19025 BIRMINGHAM                                                                            ROSEVILLE       MI   48066
MCRILL, KERRI A                   5913 WAYNE TRACE ROAD                                                                       CAMDEN          OH   45311‐5311
MCRILL, OPAL J                    8800 MONROE RD APT 5                                                                        DURAND          MI   48429‐1017
MCRILL, OPAL J                    8800 E MONROE RD APT 5                                                                      DURAND          MI   48429‐1020
MCRILL, RICHARD                   ALEXANDER LAW FIRM               321 S WILLIAMS ST                                          ROYAL OAK       MI   48067‐2504
MCRILL, RICHARD                   ALEXANDER LAW FIRM               321 S WILLIAMS ST                                          ROYAL OAK       MI   48067‐2504
MCROBB, JANET S                   10200 GIBBS RD                                                                              CLARKSTON       MI   48348‐1516
MCROBERT, JOYCE                   2453 ACADEMY ST                                                                             DEARBORN        MI   48124‐2526
MCROBERT, STEVEN G                1538 S DOGWOOD ST                                                                           CORNELIUS       OR   97113‐7415
MCROBERTS, DAVID L                194 WALNUT RIDGE WAY                                                                        BOWLING GREEN   KY   42104‐8770
MCROBERTS, G E                    9552 42ND WAY                                                                               PINELLAS PARK   FL   33782‐3913
MCROBERTS, GERALD L               348 N WINDMILL TRL                                                                          GREENWOOD       IN   46142‐7270
MCROBERTS, JAMES D
MCROBERTS, JANE                   811 WELLS DR                                                                                SOUTH DAYTONA   FL   32119‐2634
MCROBERTS, JANE                   811 WELLS DRIVE                                                                             SOUTH DAYTONA   FL   32119‐2634
MCROBERTS, JUDITH A               2063 COUNTY RD N                                                                            STOUGHTON       WI   53589‐3472
MCROBERTS, LARRY D                6851 W 100 N                                                                                GREENFIELD      IN   46140‐9614
MCROBERTS, LAWRENCE D             2063 COUNTY RD N                                                                            STOUGHTON       WI   53589‐3472
MCROBERTS, MARY C                 725 BIG BRUSHY RD.                                                                          MOREHEAD        KY   40351‐9193
MCROBERTS, MERLE R                PO BOX 132                                                                                  SHIRLEY         IN   47384‐0132
MCROBERTS, MIKE A                 30 INDIAN TRL SW                                                                            WARREN          OH   44481‐9609
MCROBERTS, PETER B                6227 SUDLERSVILLE RD                                                                        SUDLERSVILLE    MD   21668‐1761
MCROBERTS, THOMAS L               1934 S BARRY RD                                                                             ITHACA          MI   48847‐9420
MCROBERTS, TIMOTHY B              1913 N HAWTHORNE PARK DR                                                                    JANESVILLE      WI   53545‐2029
MCROREY, BEATRICE J               11270 PFLUMM RD                                                                             LENEXA          KS   66215‐4811
MCRORIE, JOHN W                   9529 ARLINGTON CHURCH RD                                                                    CHARLOTTE       NC   28227‐7970
MCRORIE, WILLIAM C                5432 S DYEWOOD DR                                                                           FLINT           MI   48532‐3343
MCROY DAVID (459552)              BELLUCK & FOX LLP                546 5TH AVE #4                                             NEW YORK        NY   10036‐5000
MCROY, DAVID                      BELLUCK & FOX LLP                546 5TH AVE #4                                             NEW YORK        NY   10036‐5000
MCROY, ROBERT A                   302 SHAKER BIN RD                                                                           AUBURN          KY   42206
MCROY, ROBERT W                   PO BOX 344                                                                                  HOUSE SPRINGS   MO   63051‐0344
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Name                        Address1                       Address2                  Address3                 Address4         City            State Zip
MCRUNNELS, WILLIE           LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                             MIAMI            FL 33143‐5163
MCSALL SCHUYLER             MCSALL, SCHUYLER               5 EMERICK STREET                                                    YPSILANTI        MI 48198‐5718
MCSALL, SCHUYLER            5 EMERICK ST                                                                                       YPSILANTI        MI 48198‐5718
MCSB, INC.                  RICHARD STRICKLEN              3101 PACHECO RD                                                     BAKERSFIELD      CA 93313‐3214
MCSEARS, CHARLES E          1305 SPRING ST                                                                                     ROME             GA 30161
MCSEARS, CHARLES E          601 CULBERSON AVE                                                                                  LA FAYETTE       GA 30728‐2734
MCSHAN GLEN DAVID           C/O EDWARD O MOODY P A         801 W 4TH ST                                                        LITTLE ROCK      AR 72201
MCSHAN, GLEN DAVID          MOODY EDWARD O                 801 W 4TH ST                                                        LITTLE ROCK      AR 72201‐2107
MCSHANE, DALE F             3388 SHERWOOD RD                                                                                   BAY CITY         MI 48706‐1594
MCSHANE, EARL C             5439 PRAIRIE VW                                                                                    BRIGHTON         MI 48116‐7715
MCSHANE, JOHN F             1 NE 74TH TER                                                                                      KANSAS CITY      MO 64118‐1629
MCSHANE, JOHNETTE           655 GRANT ST                                                                                       CARNEGIE         PA 15106‐3920
MCSHANE, ROBERT C           2226 E NORTH BOUTELL RD                                                                            LINWOOD          MI 48634‐9435
MCSHANE, SHARRON L          3388 SHERWOOD RD                                                                                   BAY CITY         MI 48706‐1594
MCSHANE, THOMAS E           1078 CLIFF WHITE RD                                                                                COLUMBIA         TN 38401‐6759
MCSHEA, JOHN T              4031 SUZAN DR                                                                                      ANDERSON         IN 46013‐2634
MCSHEA, JOHN THOMAS         4031 SUZAN DR                                                                                      ANDERSON         IN 46013‐2634
MCSHEER TRUCKIN             2470 LITTLE ROCK RD                                                                                ROSE BUD         AR 72137‐9510
MCSHERLEY, KEITH E          5222 N COUNTY ROAD 400 W                                                                           MIDDLETOWN       IN 47356‐9414
MCSHERRY JR, GEORGE W       6142 FALKLAND DR                                                                                   HUBER HEIGHTS    OH 45424‐3820
MCSHERRY, BRENDA D          212 N JERSEY ST                                                                                    DAYTON           OH 45403
MCSHERRY, GARY M            318 W 37TH ST                                                                                      ANDERSON         IN 46013‐4000
MCSHERRY, MARY              ST JOSEPH HOME FOR THE BLIND   ATTN: BENI DMASA          AUDREY CUSACK BLDG 537                    JERSEY CITY      NJ 07306
                                                                                     PAVONIA AVE
MCSHERRY, RONALD F          108 DEL RIO DR                                                                                     PALMETTO        FL    34221‐3442
MCSHERRY, RONALD FRANKLIN   108 DEL RIO DR                                                                                     PALMETTO        FL    34221‐3442
MCSHIRLEY, MICHAEL L        210 SPRINGWAY DR                                                                                   DAYTON          OH    45415‐2365
MCSHURLEY, BRUCE A          148 SHAPIRO TRL                                                                                    COLUMBIA        TN    38401‐6720
MCSHURLEY, CECIL L          12118 S KERN WOOD DR                                                                               MUNCIE          IN    47302‐8715
MCSHURLEY, JULIA M          3106 IMPERIAL LANE                                                                                 MUNCIE          IN    47302‐7510
MCSHURLEY, JULIA M          3106 E IMPERIAL LN                                                                                 MUNCIE          IN    47302‐7510
MCSHURLEY, WILMA E          4437 EAST US 36                                                                                    MARKLEVILLE     IN    46056
MCSKIMMING, EDWIN           4563 RHODE ISLAND DR                                                                               YOUNGSTOWN      OH    44515‐4515
MCSKIMMING, SCOTT A         3435 ALLENDALE AVENUE                                                                              YOUNGSTOWN      OH    44511‐2630
MCSKULIN, MARTIN G          122 SUMMIT DR                                                                                      LAPEER          MI    48446‐1400
MCSORLEY CHRISTENE          3507 CULLEN RD                                                                                     HOWELL          MI    48855‐9051
MCSORLEY, KATHLEEN M        4300 MUGUET COURT                                                                                  MODESTO         CA    95356‐9776
MCSPADDEN JR, GEORGE P      7272 LAKERIDGE DR                                                                                  FORT WAYNE      IN    46819‐1924
MCSPADDEN SUSAN G           4211 HOLMES ST                                                                                     KANSAS CITY     MO    64112‐1139
MCSPADDEN, BETTY C          W6347 710TH AVE                                                                                    BELDENVILLE     WI    54003‐5414
MCSPADDEN, JAMES R          1849 COURTLAND AVE                                                                                 KETTERING       OH    45420‐2144
MCSPADDEN, LINDA J          502 N MURRAY ST                                                                                    HOBBS           NM    88240‐5936
MCSPARIN I I I, WILLIAM C   3573 ORCHARD DR                                                                                    METAMORA        MI    48455‐8918
MCSPARIN III, WILLIAM C     3573 ORCHARD DR                                                                                    METAMORA        MI    48455‐8918
MCSPARIN, SHAWN T           1217 N FIVE LAKES RD                                                                               ATTICA          MI    48412‐9344
MCSPARRAN III, GLEN L       1523 SARATOGA DRIVE                                                                                TROY            OH    45373‐1645
MCSPARRAN, TRACIE A         1609 LAMBERS DR                                                                                    NEW CARLISLE    OH    45344
MCSPERRITT JOHN (645107)    GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                          EDWARDSVILLE     IL   62025‐0959
                            ANTOGNOLI
MCSPERRITT, JOHN            GOLDENBERG, MILLER, HELLER &   PO BOX 959                                                          EDWARDSVILLE     IL   62025‐0959
                            ANTOGNOLI
MCSTAMP, TERRANCE J         7534 PINEGROVE DR                                                                                  JENISON         MI 49428‐7797
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Name                                  Address1                          Address2                        Address3   Address4         City               State Zip
MCSTAY, STEPHEN J                     748 SLEEPY HOLLOW RD                                                                          BRIARCLIFF MANOR    NY 10510‐2525
MCSTAY, VICTOR S                      71 WATCH HILL RD                                                                              CROTON ON HUDSON    NY 10520‐1017
MCSTOTTS, JOYCE A                     4539 JULEP DR                                                                                 SALT LAKE CTY       UT 84107‐3971
MCSTOWE, JOHN A                       626 N 15TH ST                                                                                 SEBRING             OH 44672‐1314
MCSTOWE, JOHN A                       3841 NEW ROAD                                                                                 YOUNGSTOWN          OH 44515‐4625
MCSTRAVICK, ESTHER K                  APT 373                           6001 OLD HICKORY BOULEVARD                                  HERMITAGE           TN 37076‐3082
MCSWAIN AUTOMOTIVE                    100 NATIONAL DR                                                                               ROCKWALL            TX 75032‐6531
MCSWAIN JILL                          PO BOX 1149                                                                                   NORWOOD             NC 28128‐1149
MCSWAIN JOSHUA                        MCSWAIN, JOSHUA                   675 KOKOMO RD                                               KOKOMO              MS 39643
MCSWAIN KIRBY                         MCSWAIN, KIRBY                    PO BOX 911                                                  AUSTELL             GA 30168
MCSWAIN NAMION (ESTATE OF) (493051)   BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                        PROFESSIONAL BLDG
MCSWAIN SUSANA                        2807 DASON LEDGE                                                                              SAN ANTONIO        TX    78258‐4637
MCSWAIN'S GARAGE                      121 AUSTIN ST                                                                                 GARLAND            TX    75040‐6403
MCSWAIN, CHARLES J                    8771 E OUTER DR                                                                               DETROIT            MI    48213‐4003
MCSWAIN, JOHN D                       6430 IVEY MANOR DR                                                                            CUMMING            GA    30040‐6684
MCSWAIN, JOSHUA                       675 KOKOMO RD                                                                                 KOKOMO             MS    39643‐4934
MCSWAIN, KIRBY                        KROHN & MOSS ‐ GA                 44 BROAD ST NW STE 400                                      ATLANTA            GA    30303‐2328
MCSWAIN, LAURA M                      1819 GRIGGS DR                                                                                FLINT              MI    48504‐7095
MCSWAIN, LELAND Z                     312 AIRPORT DR                                                                                HOLLY              MI    48442‐1247
MCSWAIN, MARIE C                      3603 MARBLEBERRY LANE                                                                         DELAND             FL    32724‐1235
MCSWAIN, MARTIN J                     25426 VIRGINIA DR                                                                             WARREN             MI    48091‐3799
MCSWAIN, RICHARD H
MCSWAIN‐HARRIS, DOROTHY A             404 RUNNING FAWN DR                                                                           SUWANEE            GA    30024‐0024
MCSWEEN, CARL B                       106 GREEN VALLEY DR                                                                           FRANKLIN           NC    28734‐7288
MCSWEEN, DAISY                        PO BOX 19026                                                                                  DETROIT            MI    48219‐0026
MCSWEENEY, ANNE                       14 THE STRAND                                                                                 SPARKS             MD    21152‐8845
MCSWEENEY, KENDELL                    FUHRER FLOURNOY HUNTER & MORTON   PO BOX 1270                                                 ALEXANDRIA         LA    71309‐1270

MCSWEENEY, KIERON
MCSWEENEY, KONNOR                     FUHRER FLOURNOY HUNTER & MORTON   PO BOX 1270                                                 ALEXANDRIA          LA   71309‐1270

MCSWEENEY, NANCY
MCSWEENEY, TERRY                      FUHRER FLOURNOY HUNTER & MORTON   PO BOX 1270                                                 ALEXANDRIA          LA   71309‐1270

MCSWEYN, JOHN R                       15185 GRABOWSKI RD,RTE #                                                                      SAINT CHARLES      MI 48655
MCTAGGART LAWRENCE J (ESTATE OF)      SIMMONS FIRM                      PO BOX 521                                                  EAST ALTON         IL 62024‐0519
(642339)
MCTAGGART, ANDREW A                   6020 RICKETT                                                                                  WASHINGTN TWP      MI    48094‐2166
MCTAGGART, BOB                        316 DALE ST                                                                                   FLUSHING           MI    48433‐1733
MCTAGGART, CALVIN D                   162 CHELSEA DR                                                                                CROSSVILLE         TN    38555‐5842
MCTAGGART, CHRISTOPHER M              3915 N PENNSYLVANIA ST                                                                        INDIANAPOLIS       IN    46205‐2653
MCTAGGART, DAVID R                    9337 OAK RD                                                                                   OTISVILLE          MI    48463‐9745
MCTAGGART, GEFFORY A                  1660 W BROWN RD                                                                               MAYVILLE           MI    48744‐9606
MCTAGGART, GEFFORY ALAN               1660 W BROWN RD                                                                               MAYVILLE           MI    48744‐9606
MCTAGGART, GREGORY W                  1667 W BROWN RD                                                                               MAYVILLE           MI    48744‐9606
MCTAGGART, GREGORY WILLIAM            1667 W BROWN RD                                                                               MAYVILLE           MI    48744‐9606
MCTAGGART, JOHN P                     10146 ELMS RD                                                                                 MONTROSE           MI    48457‐9194
MCTAGGART, KATHLEEN A                 APT 3                             49 WEST MAIN STREET                                         MILAN              MI    48160‐1288
MCTAGGART, KATHLEEN A                 49 W MAIN ST APT 3                                                                            MILAN              MI    48160‐1288
MCTAGGART, LAURA M                    2018 MARKESE AVE                                                                              LINCOLN PARK       MI    48146‐2500
MCTAGGART, LAWRENCE J                 SIMMONS FIRM                      PO BOX 521                                                  EAST ALTON         IL    62024‐0519
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Name                     Address1                          Address2                      Address3      Address4                City              State Zip
MCTAGGART, MARY          10214 E AVENUE SQ                                                                                     LITTLEROCK         CA 93543‐2002
MCTAGGART, MARY L        6960 WENTWORTH RD                                                                                     OSCODA             MI 48750‐9009
MCTAGGART, PAMELA J      10146 ELMS RD                                                                                         MONTROSE           MI 48457‐9194
MCTAGGART, PATRICK L     2425 WATERMAN RD                                                                                      VASSAR             MI 48768‐8922
MCTAGGART, ROGER M       PO BOX 104                                                                                            OAKMAN             AL 35579‐0104
MCTAGGART, SANDRA K      2302 STARKWEATHER ST                                                                                  FLINT              MI 48506‐4724
MCTAGGART, THOMAS D      357 MARGERY CT                                                                                        VASSAR             MI 48768‐1506
MCTAGGART, TIMOTHY D     4519 PINE ST                                                                                          COLUMBIAVILLE      MI 48421‐8920
MCTAGGART, TRAVIS J      6097 WESTKNOLL DR APT 391                                                                             GRAND BLANC        MI 48439‐4910
MCTAGGART, WAYNE V       790 PLANTATION DR                                                                                     SAGINAW            MI 48638‐7133
MCTAGUE CLARK            455 PELLISSIER ST                                                             WINDSOR ONT CANADA ON
                                                                                                       N9A 6Z9 CANADA
MCTAGUE, NANCY J         4263 SUNNYBROOK DR SE                                                                                 WARREN            OH    44484‐2239
MCTARGETT, MARY R        9380 OLD ST RD 37 NORTH                                                                               MARTINSVILLE      IN    46151‐7661
MCTARGETT, MARY R        9380 OLD STATE ROAD 37 N                                                                              MARTINSVILLE      IN    46151‐7661
MCTARSNEY, ANNA M        648 YOUNG ST                                                                                          FRANKLIN          IN    46131‐1523
MCTARSNEY, CHARLOTTE A   3141 ELIZABETH ST                                                                                     INDIANAPOLIS      IN    46234‐1618
MCTAVISH KAREN FAYE      CUNNINGHAM BOUNDS YANCE CROWDER   PO BOX 66705                                                        MOBILE            AL    36660
                         & BROWN
MCTAVISH, KAREN FAYE     CUNNINGHAM BOUNDS YANCE CROWDER   PO BOX 66705                                                        MOBILE             AL   36660
                         & BROWN
MCTAVISH, ROBERT J       40591 DELTA DR                                                                                        NORTHVILLE        MI    48168‐3237
MCTAVISH, RONALD L       894 HYLAND CT                                                                                         EAGAN             MN    55123‐2464
MCTAW, GENERAL G         PO BOX 1874                                                                                           BIRMINGHAM        MI    48012‐1874
MCTAW, JOHNNIE           11704 STOUT ST                                                                                        DETROIT           MI    48228
MCTEAGUE, WILLIAM P      PO BOX 1450                                                                                           ASBURY PARK       NJ    07712‐1450
MCTEAR JR, AUBREY        3021 KEMP DR                                                                                          SAINT LOUIS       MO    63121‐5309
MCTEER CHARLES           MCTEER & ASSOCIATES               207 MAIN ST                   PO BOX 1835                           GREENVILLE        MS    38701‐4038
MCTERNAN, JOSEPH         FREEMAN AVE                                                                                           WEBSTER           MA    01570
MCTERNAN, LAWRENCE J     8 WREN CT                                                                                             CORTLANDT MANOR   NY    10567‐6135
MCTEVIA, PATRICK M       3027 COURTESY DR                                                                                      FLINT             MI    48506‐2076
MCTHOMPSON, STANLEY D    3418 NORTH COUNTY HWY F           C/O ROCK HAVEN NURSING HOME                                         JANESVILLE        WI    53545

MCTIER, EARL D           110 TRAVERSE ST                                                                                       WATERBURY          CT   06704‐3228
MCTIGHE, ARTHUR H
MCTIGUE & SPIEWAK INC    5805 W HIGGINS AVE                                                                                    CHICAGO            IL   60630
MCTURNAN & TURNER        10 W MARKET ST STE 2400           10 W MARKET ST                                                      INDIANAPOLIS       IN   46204‐2937
MCTYER, ANDREA
MCTYERE, MICHELLE        2418 JERAULD AVENUE                                                                                   NIAGARA FALLS     NY    14305‐3126
MCUNE, MICHAEL T         226 GAYWOOD DR                                                                                        CHESTERFIELD      IN    46017‐1324
MCV ASSOC PHYSICIANS     ACT OF S HAZELL                   400 N 9TH ST STE 203                                                RICHMOND          VA    23219‐1540
MCVANNELL, RALPH E       312 STANTON ST                                                                                        BAY CITY          MI    48708‐7868
MCVAUGH, CHRISTINA       508 E 19TH ST                                                                                         DELTA             CO    81416‐2479
MCVAUGH, MAXINE          PO BOX 12                                                                                             AVONDALE          PA    19311‐0012
MCVAUGH, PHILLIP P       1317 ELMWOOD RD                                                                                       LANSING           MI    48917‐1541
MCVAY HARLAN             19330 CONLEY ST                                                                                       DETROIT           MI    48234‐2250
MCVAY KENNETH O          405 REAGAN LN                                                                                         BURLESON          TX    76028
MCVAY, BENTURA R         306 WASHINGTON AVE                                                                                    ALMA              MI    48801‐1148
MCVAY, BRIAN W           338 CUMBERLAND AVE                                                                                    WEST LAFAYETTE    IN    47906‐1606
MCVAY, CLEO F.           7757 BARBICAN CT                                                                                      LAS VEGAS         NV    89147‐5164
MCVAY, CYNTHIA           5531 EAST 100 NORTH                                                                                   MARION            IN    46952
MCVAY, CYNTHIA           5531 E 100 N                                                                                          MARION            IN    46952‐6724
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Name                               Address1                       Address2                         Address3   Address4         City             State Zip
MCVAY, EARL                        10015 ECKEL JUNCTION RD                                                                     PERRYSBURG        OH 43551‐9650
MCVAY, FRANCIS R                   1100 HIGHWAY 99                                                                             LEWISBURG         TN 37091‐5611
MCVAY, HAROLD F                    224 THOMPSON ST PMB 160                                                                     HENDERSONVILLE    NC 28792‐2806
MCVAY, HAROLD M                    4864 N 100 E                                                                                MARION            IN 46952‐6766
MCVAY, JANET A                     16436 CROWN ARBOR WAY                                                                       FORT MYERS        FL 33908‐5605
MCVAY, JOSEPHINE D                 4864 N 100 E                                                                                MARION            IN 46952‐6766
MCVAY, KENNETH O                   405 REAGAN LN                                                                               BURLESON          TX 76028‐5698
MCVAY, LESSIE M                    10015 ECKEL JUNCTION RD                                                                     PERRYSBURG        OH 43551‐9650
MCVAY, MARCIA J                    1100 HIGHWAY 99                                                                             LEWISBURG         TN 37091‐5611
MCVAY, MARCIA JOAN                 1100 HIGHWAY 99                                                                             LEWISBURG         TN 37091‐5611
MCVAY, MICHAEL L                   8344 LYONS HWY                                                                              SAND CREEK        MI 49279‐9758
MCVAY, NICOLE A                    10180 ELKTON W. POINT RD                                                                    LISBON            OH 44432
MCVAY, NICOLE A                    10180 ELKTON RD # B                                                                         LISBON            OH 44432
MCVAY, PATRICIA L                  PO BOX 29241                                                                                SHREVEPORT        LA 71149
MCVAY, PAULINE J                   PO BOX 1935                                                                                 GRANBURY          TX 76048‐8935
MCVAY, ROGER                       10 ROAMIN CT                                                                                GREENWOOD         IN 46142‐8414
MCVAY, SANDRA K                    8344 LYONS HWY                                                                              SAND CREEK        MI 49279‐9758
MCVAY, STEVE A                     3532 NASSAU CT                                                                              GRANBURY          TX 76049‐5862
MCVAY, VESTA S                     5345 MAHONING AVE.                                                                          WARREN            OH 44483‐1131
MCVAY, WILLIAM D                   2852 SAINT CLAIR DR                                                                         ROCHESTER HLS     MI 48309‐3126
MCVAY, WILLIAM E                   306 WASHINGTON AVE                                                                          ALMA              MI 48801‐1148
MCVEA, PATRICIA A.                 P.O BOX 34674                                                                               INDIANAPOLLIS     IN 46234
MCVEA, PATRICIA A.                 PO BOX 34674                                                                                INDIANAPOLIS      IN 46234‐0674
MCVEA, RONALD L                    3606 SUGARHILL DR                                                                           SAN ANTONIO       TX 78230‐2328
MCVEETY, NADINE F                  19175 WOODWORTH                                                                             REDFORD           MI 48240‐2609
MCVEETY, RUSSELL H                 12227 55TH AVE                                                                              REMUS             MI 49340‐9596
MCVEIGH & MANGUM ENGINEERING INC   9133 R G SKINNER PKWY                                                                       JACKSONVILLE      FL 32256‐9603

MCVEIGH ROBERT                     MCVEIGH, ROBERT                1790 WILMINGTON PIKE SUITE 200                               GLEN MILLS       PA 19342
                                                                  THE SPEAKMAN HOUSE
MCVEIGH, CRYSTAL R                 3264 FOOTHILLS CT                                                                           ORION            MI    48359‐1586
MCVEIGH, J BRIAN                   51274 PLYMOUTH VALLEY DR                                                                    PLYMOUTH         MI    48170‐6370
MCVEIGH, JAMES F                   2386 JOE BROWN RD                                                                           SPRING HILL      TN    37174‐2577
MCVEIGH, JOHN B                    4480 GOLF VIEW DRIVE                                                                        BRIGHTON         MI    48116‐9178
MCVEIGH, MARTHA A                  3004 N MONROE ST                                                                            WILMINGTON       DE    19802‐3014
MCVEIGH, MARY E                    509 E 77TH ST APT 1K                                                                        NEW YORK         NY    10075
MCVEIGH, NEITA A                   63 ONTARIO ST                                                                               LOCKPORT         NY    14094
MCVEIGH, ROBERT D                  6644 CREYTS RD                                                                              DIMONDALE        MI    48821‐9408
MCVEIGH, ROSE M                    71 SUMMER ST                                                                                LOCKPORT         NY    14094‐3243
MCVEIGH, WILLIAM E                 6289 CAMPBELL BLVD                                                                          LOCKPORT         NY    14094‐9292
MCVETY JR, ALLEN E                 980 JORDAN CIR                                                                              WHITE BLUFF      TN    37187‐4833
MCVETY, DEREK C                    APT 114                        5 TIMBERVIEW DRIVE                                           ROCHESTER HLS    MI    48307‐4115
MCVETY, DEREK CHARLES              APT 114                        5 TIMBERVIEW DRIVE                                           ROCHESTER HLS    MI    48307‐4115
MCVETY, KAY C                      13934 ROBIN HOOD LN                                                                         LE ROY           MI    49655‐9386
MCVETY, KAY C                      13934 ROBINHOOD LN                                                                          LEROY            MI    49655‐9386
MCVETY, RICHARD A                  16583 10 MILE RD                                                                            REED CITY        MI    49677‐8309
MCVEY JAMES                        11277 TRADE CENTER DR                                                                       RANCHO CORDOVA   CA    95742‐6223
MCVEY JR, WILLIE M                 PO BOX 214                                                                                  WALDRON          IN    46182‐0214
MCVEY'S
MCVEY'S RESTORATION PARTS ‐        MCVEYS RESTORATION PARTS       SUITE 624 3001 WEST BIG BEAVER                               TROY             MI 48084
INFRINGEMENT (LICENSEE)                                           ROAD
MCVEY, BRIAN L                     1925 EAGLE PASS                                                                             KELLER            TX   76248‐6806
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Name                           Address1                       Address2                   Address3   Address4         City            State Zip
MCVEY, CAROLYN M               642 W SOPER RD                                                                        BAD AXE          MI 48413‐9411
MCVEY, CAROLYN M               642 W. SOPER RD.                                                                      BADAXE           MI 48413‐9411
MCVEY, CARROLL L               10667 E 700 N                                                                         SHERIDAN         IN 46069‐8950
MCVEY, DAVID
MCVEY, DORIS P                 19577 TRADEWINDS DR                                                                   NOBLESVILLE     IN   46062‐6633
MCVEY, FELICIA A               10775 HADDIX RD                                                                       FAIRBORN        OH   45324‐9609
MCVEY, GORDON L                12089 US HIGHWAY 150                                                                  SHOALS          IN   47581
MCVEY, HERBERT E               10621 ELTZROTH RD                                                                     GOSHEN          OH   45122‐9641
MCVEY, IRVIN W                 791 WILLOWDALE AVE                                                                    KETTERING       OH   45429‐3141
MCVEY, JAMES F                 916 BARONNE ST                                                                        LEBANON         IN   46052‐1643
MCVEY, JAMES R                 1454 BONAPART DR                                                                      HOLT            MI   48842‐9679
MCVEY, KELLEY                  3640 MAIN ST                                                                          ANDERSON        IN   46013‐4248
MCVEY, KELLEY M                3640 MAIN ST                                                                          ANDERSON        IN   46013‐4248
MCVEY, LOWELL R                6621 HARVARD AVE                                                                      RAYTOWN         MO   64133‐5425
MCVEY, MARCIA R                510 HILBISH AVE                                                                       AKRON           OH   44312‐2251
MCVEY, MARGUERITE R            1949 E BUENA VISTA DR                                                                 TERRE HAUTE     IN   47802‐5007
MCVEY, MARY MARGARET           APT 406                        5430 NORTH SHERIDAN ROAD                               CHICAGO         IL   60640‐1994
MCVEY, MICHAEL F               6321 N COUNTY ROAD 250 E                                                              PITTSBORO       IN   46167‐9338
MCVEY, MILDRED O               84 W US 36                                                                            PENDLETON       IN   46064
MCVEY, RAYMOND A               803 OLD ORCHARD RD                                                                    ANDERSON        IN   46011‐2479
MCVEY, ROBERT F                17216 167N                                                                            DUNKIRK         IN   47336
MCVEY, ROBERT F                638 OLD SCHOOL HOUSE RD                                                               MIDDLETOWN      DE   19709‐9690
MCVEY, RONALD E                719 HATTIE DR                                                                         ANDERSON        IN   46013‐1631
MCVEY, SANDRA KAY              32949 FRANKLIN ST                                                                     WAYNE           MI   48184‐1822
MCVEY, SIE H                   2022 W MAPLEWOOD DR                                                                   MARION          IN   46952‐1540
MCVEY, STACY L                 5604 N SMALLEY AVE                                                                    KANSAS CITY     MO   64119‐4134
MCVEY, STEPHEN A               5602 PALEO PINES CIR                                                                  FORT PIERCE     FL   34951‐2350
MCVEY, STEPHEN M               2409 BRICKTON RD                                                                      WILMINGTON      DE   19803‐2705
MCVEY, TAMMY D                 206 W ORCHARD ST                                                                      CLUTE           TX   77531
MCVICAR, JON M                 174 BARRINGTON CIR                                                                    LAKE ORION      MI   48360‐1329
MCVICAR, JON MALCOLM           174 BARRINGTON CIR                                                                    LAKE ORION      MI   48360‐1329
MCVICAR, LUCILLE M             2127 ADEL ST                                                                          JANESVILLE      WI   53546‐3239
MCVICAR, LUCILLE M             2127 ADEL STREET                                                                      JANESVILLE      WI   53546‐3239
MCVICAR, NOREEN F              520 MOMOSA DR                                                                         WHITING         NJ   08759‐3500
MCVICAR, REBECCA A             15531 OPORTO ST                                                                       LIVONIA         MI   48154‐3244
MCVICAR, SHIRLEY               34421 ARUNDEL DR                                                                      FARMINGTON      MI   48335‐4000
MCVICKER I I, MARVIN C         3602 N AVERILL AVE                                                                    FLINT           MI   48506‐2512
MCVICKER II, MARVIN CARLISLE   3602 N AVERILL AVE                                                                    FLINT           MI   48506‐2512
MCVICKER, BARBARA L            621 KENDON DRIVE                                                                      LANSING         MI   48910
MCVICKER, BARBARA L            621 KENDON DR                                                                         LANSING         MI   48910‐5430
MCVICKER, CAROL A              3602 N AVERILL AVE                                                                    FLINT           MI   48506‐2512
MCVICKER, DAVID E              7 N SHAMROCK RD                                                                       HARTFORD CITY   IN   47348‐9747
MCVICKER, HELEN V              3304 N DALINDA RD                                                                     MUNCIE          IN   47303‐1510
MCVICKER, JACK E               2806 WARREN BURTON RD                                                                 SOUTHINGTON     OH   44470‐9742
MCVICKER, JERRY A              862 COTTAGE AVE                                                                       WABASH          IN   46992‐1909
MCVICKER, JOHN R               3124 RAVENWOOD BLVD                                                                   TOLEDO          OH   43614‐3726
MCVICKER, NAOMI S              2806 WARREN‐BURTON RD.                                                                SOUTHINGTON     OH   44470‐9742
MCVICKER, NAOMI S              2806 WARREN BURTON RD                                                                 SOUTHINGTON     OH   44470‐9742
MCVICKER, SHIRLEY A            141 CHASE WAY UNIT 107                                                                ELIZABETHTOWN   KY   42701‐7840
MCVICKER, SHIRLEY A            141 CHASE WAY                  SUITE 107                                              ELISABETHTOWN   KY   42701
MCVICKER, SHIRLEY B            715 COUNTRY PINES DRIVE                                                               WARREN          OH   44481‐9674
MCVICKER, STORMY L             64394 BURG RD                                                                         CENTREVILLE     MI   49032‐9726
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Name                     Address1                        Address2                   Address3   Address4         City               State Zip
MCVITTIE, CANDACE J      PO BOX 255                                                                             CHARLOTTE           MI 48813‐0255
MCVITTIE, JAMES G        5094 LARAMIE LN                                                                        BRIDGEPORT          MI 48722‐9525
MCVITTIE, MATTHEW D      PO BOX 255                                                                             CHARLOTTE           MI 48813‐0255
MCVOY, JACK E            1377 E SHERWOOD RD                                                                     WILLIAMSTON         MI 48895‐9668
MCVOY, WILLIAM C         5000 W, 600 N                                                                          HUNTINGTON          IN 46750
MCVOY, WILLIAM C.        5000 W, 600 N                                                                          HUNTINGTON          IN 46750
MCVOY, WILLIAM G         5000 W 600 N                                                                           HUNTINGTON          IN 46750
MCWADE, PATRICIA A       6619 WEATHER HILL DR                                                                   WILLOWBROOK          IL 60527‐1885
MCWAIN, ANDREA S         1231 LEA AVE                                                                           MIAMISBURG          OH 45342
MCWAIN, DANNY L          152 EVERGREEN COURT                                                                    FRANKLIN            OH 45005‐5005
MCWAIN, EDWARD           3209 FANTASIA TRAIL                                                                    DAYTON              OH 45449‐5449
MCWAIN, GARY J           2789 TWIN TOWNSHIP RD                                                                  LEWISBURG           OH 45338‐9764
MCWAIN, LEE M            6414 SOLILOQUY TRL                                                                     DAYTON              OH 45449‐3538
MCWAIN, SALLY A          9742 BROOKVILLE PHILLIPSBG RD                                                          BROOKVILLE          OH 45309‐9608
MCWAIN, SALLY A          9742 BROOKVILLE                 PHILLIPSBURG PIKE                                      BROOKVILLE          OH 45309
MCWAIN, TIMOTHY F        152 EVERGREEN CT                                                                       FRANKLIN            OH 45005‐3078
MCWALTERS, JAMES P       17575 WINDSOR PKWY                                                                     TINLEY PARK          IL 60487‐7355
MCWANE, INC.             HAMP TANNER                     1143 VANDERBILT RD                                     BIRMINGHAM          AL 35234‐2352
MCWATERS, LINDA S        1939 WASHINGTON WEST                                                                   DAYTON              OH 45458‐1797
MCWATTERS, BETH E        16422 ALLISTON ST                                                                      CLINTON TOWNSHIP    MI 48038‐1906
MCWATTERS, JOHN T        16422 ALLISTON ST                                                                      CLINTON TOWNSHIP    MI 48038‐1906
MCWAY SR, EUGENE M       8817 SIGRID RD                                                                         RANDALLSTOWN        MD 21133‐4012
MCWEENEY‐PATEL, SHEILA   95 ASHLEY RD                                                                           EDISON              NJ 08817‐4052
MCWHERTER, JAMES W       47537 SCENIC CIRCLE DR SOUTH                                                           CANTON              MI 48188‐1970
MCWHERTER, TOMMY R       265 W STATE ST                  PO BOX 315                                             MONTROSE            MI 48457‐9748
MCWHINNIE, SCOTT M       95 DOVER RD                                                                            WATERFORD           MI 48328‐3570
MCWHIRTER DENNIS         7700 COLBY RD                                                                          BANCROFT            MI 48414‐9742
MCWHIRTER, DOUGLAS       3295 N THOMAS RD                                                                       FREELAND            MI 48623‐8870
MCWHIRTER, FRANK E       2182 NEWPORT CT                                                                        MANSFIELD           OH 44904‐1669
MCWHIRTER, HELEN M       260 NE CAMEO WAY                                                                       JENSEN BEACH        FL 34957‐5483
MCWHIRTER, KENNETH E     6089 TOUCAN DR 5                                                                       ENGLEWOOD           FL 34224
MCWHIRTER, NANCY J       7201 NORTHFIELD CIR                                                                    FLUSHING            MI 48433‐9427
MCWHIRTER, RALPH A       4495 RUNNING DEER TRL                                                                  PIGEON              MI 48755‐9700
MCWHITE, JOHN L          6161 CRANE ST                                                                          DETROIT             MI 48213‐2643
MCWHITE, JOHN L          2050 HORTON AVE                                                                        SHREVEPORT          LA 71105‐3812
MCWHITE, RUBY            19738 SHIELDS ST                                                                       DETROIT             MI 48234‐2077
MCWHORTER DARGIN         MCWHORTER, DARGIN               810 S CASINO CENTER BLVD                               LAS VEGAS           NV 89101‐6719
MCWHORTER GENEVA         4908 FALL RIVER DRIVE                                                                  FORT WORTH          TX 76103‐1208
MCWHORTER'S GOODYEAR     1008 TEXAS AVE                                                                         LUBBOCK             TX 79401‐3318
MCWHORTER, BEN W         2015 Q AVE                                                                             NEW CASTLE          IN 47362‐2147
MCWHORTER, BILLY E       2952 LORELI LN                                                                         LAWRENCEVILLE       GA 30044‐7211
MCWHORTER, BILLY L       530 SAN MARCOS WAY                                                                     STONE MOUNTAIN      GA 30083‐3829
MCWHORTER, CHARLES       1 BONAPARTE AVE                                                                        TONASKET            WA 98855
MCWHORTER, CHARLES R     516 TORRES PL                                                                          LADY LAKE           FL 32159‐5643
MCWHORTER, CHRIS V       3030 DOANE HWY                                                                         GRAND LEDGE         MI 48837‐9424
MCWHORTER, DARGIN        KROHN & MOSS ‐ NV               810 S CASINO CENTER BLVD                               LAS VEGAS           NV 89101‐6719
MCWHORTER, DON L         2412 VIRGINIA ST                                                                       NEW CASTLE          IN 47362‐4016
MCWHORTER, EILEEN G      2109 HUBBARD RD                                                                        YOUNGSTOWN          OH 44505‐3159
MCWHORTER, ETHEL M       4200 MIDWAY AVE                                                                        DAYTON              OH 45417‐1314
MCWHORTER, GOLDA         2015 Q AVE                                                                             NEW CASTLE          IN 47362‐2147
MCWHORTER, GRANVILLE P   933 GAIL AVE                                                                           FAIRFIELD           OH 45014‐1801
MCWHORTER, IRENE B       4930 JOHN BURRUSS RD                                                                   CUMMING             GA 30040‐3879
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Name                                  Address1                       Address2                          Address3   Address4         City               State Zip
MCWHORTER, LEROY                      5281 SAINT CLAIR ST                                                                          DETROIT             MI 48213
MCWHORTER, LINDA                      27075 W RIVER RD                                                                             GROSSE ILE          MI 48138‐1660
MCWHORTER, MARTHA                     4195 HAMILTON MASON RD                                                                       HAMILTON            OH 45011‐5415
MCWHORTER, OSCAR D                    14 GRIFFIN LN                                                                                FAIRFIELD           OH 45014‐5077
MCWHORTER, PAULINE A                  9611 VICTORIA LN APT 204                                                                     TAYLOR              MI 48180‐7516
MCWHORTER, ROSALIND L                 37458 WORCHESTER AVE                                                                         FARMINGTON HILLS    MI 48331‐1845
MCWHORTER, RUTH                       318 LUCY RUN RD                                                                              AMELIA              OH 45102‐1513
MCWHORTER, RUTH                       318 LUCY RUN ROAD                                                                            AMELIA              OH 45102‐1513
MCWHORTER, RUTHANN                    1 1/2 BONAPARTE AVE B                                                                        TONASKET            WA 98855‐9256
MCWHORTER, SEYMOUR                    2231 CEDARVILLE RD                                                                           GOSHEN              OH 45122‐8003
MCWHORTER, THOMAS M                   910 ROLLING ROCK RD                                                                          PITTSBURGH          PA 15234‐2515
MCWHORTHER DALE DENSON (ESTATE OF) LIPMAN DAVID M                    5901 SW 74TH ST STE 304                                       MIAMI               FL 33143‐5163
(501724)
MCWHORTHER, DALE DENSON               LIPMAN DAVID M                 5901 SW 74TH ST STE 304                                       MIAMI              FL 33143‐5163
MCWILLIAM ESSIE (408271)              DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              BRONX              NY 10463
MCWILLIAM ESSIE (408271) ‐ ALLISON    DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              BRONX              NY 10463
WILLIAM
MCWILLIAM ESSIE (408271) ‐ BLATT      DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              BRONX              NY 10463
WILLIAM
MCWILLIAM ESSIE (408271) ‐ CARAGHER   DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              BRONX              NY 10463
ROBERT
MCWILLIAM ESSIE (408271) ‐ MOLINA     DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              BRONX              NY 10463
ORLANDO
MCWILLIAM ESSIE (408271) ‐ SCHLEMBACH DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              BRONX              NY 10463
JOSEPH
MCWILLIAM ESSIE (408271) ‐ WAGNER     DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              BRONX              NY 10463
VINCENT
MCWILLIAM, ESSIE                      DEARIE & ASSOCS JOHN C         3265 JOHNSON AVE                                              RIVERDALE          NY   10463
MCWILLIAM, KAREN A                    1920 COUNTY ROAD 804                                                                         GAMALIEL           AR   72537‐9703
MCWILLIAM, LARRY E                    1920 COUNTY ROAD 804                                                                         GAMALIEL           AR   72537‐9703
MCWILLIAMS FRANK (351311)             GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                     STREET, SUITE 600
MCWILLIAMS JAMES COLBY (484869)      LEVIN SIMES & KAISER            160 SANSOME STREET ‐ 12TH FLOOR                               SAN FRANCISCO      CA 94104

MCWILLIAMS MELISSA                   NO ADVERSE PARTY
MCWILLIAMS RASHEED                   MCWILLIAMS, RASHEED             89 N HADDON AVE                                               HADDONFIELD        NJ   08033‐2423
MCWILLIAMS, ALBERT C                 221 1/2 WASHINGTON ST                                                                         SHREVEPORT         LA   71104‐3311
MCWILLIAMS, ALENE B                  525 S BILTMORE 0                                                                              INDIANAPOLIS       IN   46241‐0617
MCWILLIAMS, BARRY A                  3749 CAMPBELL DR                                                                              ANDERSON           IN   46012‐9361
MCWILLIAMS, CELIA P                  515 RICHLYN DR                                                                                ADRIAN             MI   49221‐9117
MCWILLIAMS, CHRISTINE H              580 WESTGATE BLVD                                                                             AUSTINTOWN         OH   44515‐3406
MCWILLIAMS, DARRYL                   6849 S MERRILL AVE APT 3                                                                      CHICAGO            IL   60649
MCWILLIAMS, DENNIS G                 35460 GRANT ST                                                                                NEW BALTIMORE      MI   48047‐6321
MCWILLIAMS, DENNIS M                 2190 N BENTON AVE                                                                             HELENA             MT   59601
MCWILLIAMS, DENNIS M                 1 S JACKSON CT                                                                                GREENWOOD          IN   46142‐7211
MCWILLIAMS, DIANNE M                 2454 REED RD                                                                                  WATERLOO           NY   13165‐9455
MCWILLIAMS, DILLARD K                2587N CENTERLINE RD                                                                           FRANKLIN           IN   46131
MCWILLIAMS, DORA B                   3233 BAKERTOWN STATION WAY      CONDO #71                                                     KNOXVILLE          TN   37931‐4070
MCWILLIAMS, DOROTHY D                1257 SOUTH 300 EAST                                                                           ANDERSON           IN   46017‐1909
MCWILLIAMS, DOROTHY D                1257 S 300 E                                                                                  ANDERSON           IN   46017‐1909
MCWILLIAMS, EDWARD                   1810 KERRWOOD DR                                                                              ANDERSON           IN   46011‐4057
MCWILLIAMS, EVA JEAN                 1075 E VICTORY DR STE 226                                                                     LINDENHURST        IL   60046‐7913
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Name                      Address1                        Address2                          Address3   Address4         City               State Zip
MCWILLIAMS, EVA JEAN      1075 VICTORY DR. #226                                                                         LINDENHURST          IL 60046‐7913
MCWILLIAMS, FAYRENE       3906 TOWER DR                                                                                 RICHTON PARK         IL 60471
MCWILLIAMS, FRANCIS L     9851 BARKLEY RD                                                                               MILLINGTON          MI 48746‐9728
MCWILLIAMS, FRANK         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
MCWILLIAMS, GEORGE R      5142 PINEWOOD HILL RD BOX 357                                                                 HONEOYE            NY   14471
MCWILLIAMS, GLADYS R      62402 RALEIGH CT #5                                                                           SOUTH LYON         MI   48178‐1720
MCWILLIAMS, HORACE L      3197 JAYNES VALLEY DR                                                                         DECATUR            GA   30034‐3763
MCWILLIAMS, JAMES         3246 KEAVY RD                                                                                 LONDON             KY   40744‐8808
MCWILLIAMS, JAMES COLBY   LEVIN SIMES & KAISER            160 SANSOME STREET ‐ 12TH FLOOR                               SAN FRANCISCO      CA   94104

MCWILLIAMS, JAMES H       PO BOX 492                                                                                    ROMNEY             WV 26757‐0492
MCWILLIAMS, JAMES M       20445 HAWTHORNE ST                                                                            DETROIT            MI 48203‐1267
MCWILLIAMS, JAMES M       13600 PIERCE RD                                                                               BYRON              MI 48418‐8872
MCWILLIAMS, JEFFREY
MCWILLIAMS, JERRY W       1420 WALNUT GROVE RD                                                                          BOERNE             TX   78005‐6232
MCWILLIAMS, JERRY W       202 HICKMAN STREET                                                                            BOERNE             TX   78006‐2612
MCWILLIAMS, JOHN          WILENTZ GOLDMAN & SPITZER       PO BOX 10                                                     WOODBRIDGE         NJ   07095‐0958
MCWILLIAMS, JOHN L        404 MILL ST                                                                                   FLUSHING           MI   48433‐2015
MCWILLIAMS, JOHN LLOYD    404 MILL ST                                                                                   FLUSHING           MI   48433‐2015
MCWILLIAMS, KEITH D       2211 WINDEMERE AVE                                                                            FLINT              MI   48503‐2257
MCWILLIAMS, KYLE A        11322 DELL LOCH WAY                                                                           FORT WAYNE         IN   46814‐8131
MCWILLIAMS, KYLE L        503 RYDER RD APT 618                                                                          LANSING            MI   48917‐1057
MCWILLIAMS, KYLE LEE      503 RYDER RD APT 618                                                                          LANSING            MI   48917‐1057
MCWILLIAMS, LARRY         GUY WILLIAM S                   PO BOX 509                                                    MCCOMB             MS   39649‐0509
MCWILLIAMS, LARRY D       5421 GIBBS RD                                                                                 PLAINFIELD         IN   46168‐8394
MCWILLIAMS, LESLIE J      3707 GLOUCESTER ST                                                                            FLINT              MI   48503‐4537
MCWILLIAMS, LESTER R      9635 HAMILL RD                                                                                OTISVILLE          MI   48463‐9612
MCWILLIAMS, MARGARET M    12554 BARKLEY ST                                                                              OVERLAND PARK      KS   66209‐2570
MCWILLIAMS, MARGARET M    12554 BARKLEY                                                                                 OVERLAND PARK      KS   66209‐2570
MCWILLIAMS, MARY L        1992 N PONTIAC TRL                                                                            WALLED LAKE        MI   48390‐3155
MCWILLIAMS, MELISSA L     103 N KENILWORTH AVE                                                                          MT PROSPECT        IL   60056‐2233
MCWILLIAMS, MELISSA L     103 NORTH KENILWORTH AVENUE                                                                   MT PROSPECT        IL   60056‐2233
MCWILLIAMS, MICHAEL A     515 RICHLYN DR                                                                                ADRIAN             MI   49221‐9117
MCWILLIAMS, MICHAEL E     1190 BUCHANAN PENISULA RD                                                                     CHEROKEE           AL   35616‐6534
MCWILLIAMS, MICHAEL G     1257 S 300 E                                                                                  ANDERSON           IN   46017‐1909
MCWILLIAMS, MILDRED V     9269 AEGEAN CIRCLE                                                                            LEHIGH ACRES       FL   33936‐6012
MCWILLIAMS, NANCY J       18563 CHATHAM ST                                                                              WYANDOTTE          MI   48193‐7704
MCWILLIAMS, RASHEED       KIMMEL & SILVERMAN              89 N HADDON AVE                                               HADDONFIELD        NJ   08033‐2423
MCWILLIAMS, RICHARD L     5300 S BAXTER LN                                                                              JANESVILLE         WI   53546‐8943
MCWILLIAMS, RICHELL A     4151 N WOODHUE DR                                                                             JANESVILLE         WI   53545‐9048
MCWILLIAMS, RITA T        3 SAWMILL DR                                                                                  WILBRAHAM          MA   01095‐2611
MCWILLIAMS, RITA T        3 SAWMILL DRIVE                                                                               WILBRAHAM          MA   01095
MCWILLIAMS, RONALD        510 S MAIN ST BOX 173                                                                         PARKER             IN   47368
MCWILLIAMS, RUBY I        3707 GLOUCESTER ST                                                                            FLINT              MI   48503‐4537
MCWILLIAMS, RUTH          230 IDLEWOOD RD                                                                               PENN HILLS         PA   15235‐3813
MCWILLIAMS, SHARON        13930 RUTHERFORD ST                                                                           DETROIT            MI   48227‐1745
MCWILLIAMS, TRINA M       1881 COMMONWEALTH DR                                                                          XENIA              OH   45385‐4817
MCWILLIAMS, VERNON E      5600 SE 57TH CT                                                                               TRENTON            FL   32693‐3040
MCWILLIE, LARRY D         21525 GREEN HILL RD APT 146                                                                   FARMINGTON HILLS   MI   48335‐4442
MCWILLIS ANN MARIE        29403 IMPERIAL CREEK DRIVE                                                                    TOMBALL            TX   77377‐3972
MCWILLIS KEVIN            29403 IMPERIAL CREEK DR                                                                       TOMBALL            TX   77377‐3972
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Name                                Address1                          Address2                      Address3   Address4               City              State Zip
MCWILSON, JOANNE                    PO BOX 861                                                                                        YOUNGSTOWN         OH 44501‐0861
MCWILSON, JOSEPH                    15 CHERRYWOOD DR                                                                                  CHEEKTOWAGA        NY 14227‐2664
MCWILSON, WILLIE                    2211 DELAFORD DRIVE                                                                               ARLINGTON          TX 76002‐3858
MCWITHEY, RONALD A                  2857 S 300 E                                                                                      ANDERSON           IN 46017‐9723
MCWORTHY SYLVESTER JR (626653)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA 23510
                                                                      STREET, SUITE 600
MCWORTHY, SYLVESTER                 GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK           VA 23510‐2212
                                                                      STREET, SUITE 600
MCWRIGHT JR, EARL                   PO BOX 293                                                                                        SAGINAW           MI   48606‐0293
MCWRIGHT JR, JOHN                   1103 N 10TH ST                                                                                    SAGINAW           MI   48601‐1152
MCWRIGHT, FLORASTEEN                1103 N 10TH ST                                                                                    SAGINAW           MI   48601‐1152
MCYISTON RUSSELL S                  4545 CHAPARRAL CREEK DR                                                                           FORT WORTH        TX   76123‐2742
MCZEE, CURTIS                       632 THOMPSON ST                                                                                   SAGINAW           MI   48607‐1657
MCZEE, NORMA J                      PO BOX 6618                                                                                       ROCKFORD          IL   61125‐1618
MCZHEE MARCUS                       MCZHEE, MARCUS                    3423 W 82ND STREET                                              CHICAGO           IL   60652‐2501
MCZHEE, MARCUS                      3423 W 82ND ST                                                                                    CHICAGO           IL   60652‐2501
MD ‐ BG&EC ‐ RATE CASE ‐ 1993       NO ADVERSE PARTY
MD AUTOMOTIVE                       7454 FM 1560 N                                                                                    SAN ANTONIO       TX 78254‐9509
MD AUTOMOTIVE                       8755 RILEY ST                                                                                     ZEELAND           MI 49464‐9585
MD CONTROLS INC                     908 SW SUMMIT FALLS DR                                                                            LEES SUMMIT       MO 64081‐3309
MD HELICOPTERS
MD HUSSAIN                          2266 RADCLIFFE DR                                                                                 TROY              MI   48085‐6720
MD LIGHTING                         3626 HARRISON AVE                                                                                 ROCHESTER HILLS   MI   48307‐5630
MD ORTHOPEDICS INC                  PO BOX 6430                                                                                       WOODLAND HILLS    CA   91365‐6430
MDA ALS CLINICAL CENTER             MICHIGAN STATE UNIVERSITY         2133 UNIVERSITY DR                                              OKEMOS            MI   48864
MDC SPECIALTY PRODUCTS              5 CINDY DR                                                                 ST CATHARINES CANADA
                                                                                                               ON L2M 7X2 CANADA
MDE INTERNATIONAL INC               G‐4033 S CENTER RD                                                                                BURTON            MI 48519
MDEQ ‐ WATER BUREAU                 CASHIERS OFFICE ‐ NP1             PO BOX 30657                                                    LANSING           MI 48909‐8157
MDEQ WASTE AND HAZARDOUS            525 WEST ALLEGAN STREET           PO BOX 30473                                                    LANSING           MI 48909‐7973
MATERIALS DIVISION
MDEQ‐OFFICE OF FINANCIAL MGM        PO BOX 30657                                                                                      LANSING           MI 48909‐8157
REVENUE CONTROL UNIT
MDI INC                             PO BOX 560                                                                                        SYRACUSE          NY 13206‐0560
MDI WRISTWATCH SYSTEMS INC          PO BOX 728                                                                                        SOUTH LYON        MI 48178‐0728
MDIP‐NORCAL, INC.                   INTERCOMPANY
MDJ HOLDINGS PTY LTD                19‐21 HALLAM SOUTH RD                                                      HALLAM VI 3803
MDJ HOLDINGS PTY LTD                19‐21 HALLAM ROAD SOUTH                                                    HALLAM VI 3803
MDL LOGISTICS INC                   177 COUNTY ROAD 254                                                                               ATHENS            TN   37303‐7001
MDM SUPPLY INC                      TRAVELERS INSURANCE               PO BOX 6890                                                     PORTLAND          OR   97228‐6890
MDM TECHNICAL PRODUCTS              6443 RIDINGS RD                                                                                   SYRACUSE          NY   13206‐1104
MDO IMAGING ASSOCIAT                8316 RELIABLE PKWY                                                                                CHICAGO           IL   60686‐0001
MDONOUGH, EDNA C                    560 E PROCUNIER RD                                                                                HARRISVILLE       MI   48740‐9406
MDONOUGH, EDNA C                    560 E. PROCUNIER                                                                                  HARRISVILLE       MI   48740‐9406
MDR CARTAGE INC                     PO BOX 1577                                                                                       JONESBORO         AR   72403‐1577
MDR ENTERPRISE INC/BRAC             148 S DOHENY DR                                                                                   BEVERLY HILLS     CA   90211‐2510
MDT INC                             3480 PRESTON RIDGE RD STE 450                                                                     ALPHARETTA        GA   30005‐5458
MDU RESOURCES GROUP, INC. AND ITS   TIM STROUP                        1150 W CENTURY AVE                                              BISMARCK          ND   58503‐0942
SUBSIDIARIES
MDX TRANSPORT                       2103 AVENTURINE WAY                                                                               SILVER SPRING     MD 20904‐5251
ME
ME ME
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Name                              Address1                          Address2                        Address3   Address4         City                  State Zip
ME MYSELF
MEABON, WILLIAM C                 5665 TUSCOLA ST                                                                               COMMERCE TOWNSHIP     MI    48382
MEABROD JR, WILLIAM E             9023 PARSHALLVILLE RD                                                                         FENTON                MI    48430
MEACHAM ALLEN                     1512 N PULASKI ST                                                                             BALTIMORE             MD    21217‐1125
MEACHAM III, RAYMOND R            9730 ALLEN RD                                                                                 CLARKSTON             MI    48348‐1810
MEACHAM JR, CLAUDE M              15182 MARL DR                                                                                 LINDEN                MI    48451‐9068
MEACHAM SR, BOBBY L               306 SKYVIEW DR                                                                                COLUMBIA              TN    38401‐5617
MEACHAM SR, LARRY W               PO BOX 265                                                                                    NEW LOTHROP           MI    48460‐0265
MEACHAM STACY                     MEACHAM, STACY                    411 N CENTRAL AVE STE 230                                   GLENDALE              CA    91203‐2020
MEACHAM WILLIAM F SR (439325)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA    23510
                                                                    STREET, SUITE 600
MEACHAM, ANTHONY E
MEACHAM, BEVERLY J                900 N CASS LAKE RD APT 109                                                                    WATERFORD             MI    48328
MEACHAM, CARL D                   83 LEFT BRANCH DRY RUN RD                                                                     PINE CITY             NY    14871
MEACHAM, DALE                     130 AMBER LYNN CIR                                                                            COLUMBIA              TN    38401‐8933
MEACHAM, DANIEL A                 119 WATERLY AVE                                                                               WATERFORD             MI    48328‐3951
MEACHAM, DOROTHY J                1391 HAZELWOOD ST APT 1           C/O PEGGY HOLT                                              SAINT PAUL            MN    55106‐2233
MEACHAM, ERICA                    1107 TEXAS AVENUE                                                                             SHALLOWATER           TX    79363‐5782
MEACHAM, GASTON C                 10189 FRANCES RD                                                                              FLUSHING              MI    48433‐9221
MEACHAM, GEORGE D                 PO BOX 2412                                                                                   KOKOMO                IN    46904‐2412
MEACHAM, HULON W                  175 PAT DR                                                                                    MINEOLA               TX    75773‐1073
MEACHAM, JEAN                     41120 FOX RUN ROAD, APT MG 402                                                                NOVI                  MI    48377
MEACHAM, MARVIN L                 4380 PINE STREET                                                                              COLUMBIAVILLE         MI    48421‐8977
MEACHAM, ROBERT A                 20675 MORNINGSIDE DR                                                                          GROSSE POINTE WOODS   MI    48236‐1584
MEACHAM, ROBERT J                 41120 FOX RUN ROAD                APT. MG 402                                                 NOVI                  MI    48377
MEACHAM, SHARON K
MEACHAM, STACY                    MCGEE LAW OFFICES OF WILLIAM R    411 N CENTRAL AVE STE 230                                   GLENDALE              CA 91203‐2020
MEACHAM, THOMAS G                 980 COUNTY ROAD 308                                                                           BELLEVUE              OH 44811‐9497
MEACHAM, WILLIAM F                GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA 23510‐2212
                                                                    STREET, SUITE 600
MEACHAM, WILLIAM J                2819 PLUM CT                                                                                  KOKOMO                IN    46902‐2957
MEACHAM, WINIFRED M               612 S SEAS                                                                                    JENSEN BEACH          FL    34957‐5340
MEACHEM, SEAN R                   1007 N OAKLEY ST                                                                              SAGINAW               MI    48602‐4658
MEACIE WALKER                     16012 SCOTTSDALE BLVD                                                                         SHAKER HTS            OH    44120‐5035
MEACO/TROY                        900 WILSHIRE DRIVE                SUITE 165                                                   TROY                  MI    48084
MEAD CORP,THE                     13745 COLLECTION CENTER DR                                                                    CHICAGO               IL    60693‐0137
MEAD DATA/DETROIT                 100 RENAISSANCE CENTER            SUITE 1636                                                  DETROIT               MI    48243
MEAD ELECTRONICS                  910 W MANSFIELD ST                                                                            BUCYRUS               OH    44820‐1727
MEAD I I I, WILLIAM R             109 GETTYSBURG                                                                                COATESVILLE           IN    46121‐8956
MEAD JR, ELMER J                  RR BOX 3                                                                                      SAINT JOHNS           MI    48879
MEAD MAURICE H OR BEVERLY L       5131 OWEN HILL RD RT 2                                                                        ANDOVER               OH    44003
MEAD O'BRIEN INC                  1429 ATLANTIC AVE                 PO BOX 7559                                                 NORTH KANSAS CITY     MO    64116‐4018
MEAD OBRIEN INC                   PO BOX 412461                                                                                 KANSAS CITY           MO    64141‐2461
MEAD SR, MERLE W                  808 BROADWAY AVE                                                                              OWOSSO                MI    48867‐4506
MEAD STACY                        MEAD, STACY                       3031 STANFORD RANCH RD #2‐150                               ROCKLIN               CA    95765

MEAD WESTVACO CONSUMER & OFFICE
PRODUCTS
MEAD, ARLENE M                    623 COOPER AVE                                                                                LANSING                MI   48910‐2709
MEAD, BARRY J                     2371 AURELIUS RD APT 15                                                                       HOLT                   MI   48842
MEAD, BEATRICE A                  13120 TUSCOLA RD                                                                              CLIO                   MI   48420‐1856
MEAD, BELINDA F                   2485 SUE ANN LN                                                                               FLINT                  MI   48507
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Name                    Address1                      Address2                 Address3    Address4         City              State Zip
MEAD, BELINDA F         2485 SUE ANN LANE                                                                   FLINT              MI 48507‐3552
MEAD, BILL H            4160 HARBOR BLVD                                                                    PORT CHARLOTTE     FL 33952‐9009
MEAD, BOBBY G           5446 HUBBARD DR                                                                     FLINT              MI 48506‐1154
MEAD, CARL A            322 CORTINA TRL                                                                     LANSING            MI 48917‐3068
MEAD, CAROLYN           4511 FM 1729 UNIT 3                                                                 LUBBOCK            TX 79415‐7222
MEAD, CAROLYN           4511 FM 1729 #3                                                                     LUBBOCK            TX 79415‐7222
MEAD, CHARLES J         9415 BIVENS RD                                                                      NASHVILLE          MI 49073‐9701
MEAD, CHARLES W         104 GRANT 4664                                                                      SHERIDAN           AR 72150‐8634
MEAD, DANNY C           3909 HIGGINS RD                                                                     VASSAR             MI 48768‐9781
MEAD, DARLENE J         6160 CANNONSBURG RD NE                                                              BELMONT            MI 49306‐9179
MEAD, DARWIN R          PO BOX 329                                                                          NASHVILLE          MI 49073‐0329
MEAD, DELANA N          9317 STATE RD                                                                       NASHVILLE          MI 49073‐9750
MEAD, DENNIS G          LOT 54                        834 CANTON HOLLOW ROAD                                KNOXVILLE          TN 37934‐4110
MEAD, DENNIS G          834 CANTON HOLLOW RD LOT 52                                                         KNOXVILLE          TN 37934‐4110
MEAD, DIANA             2324 E 39TH ST                                                                      ANDERSON           IN 46013
MEAD, DONALD L          16602 N 111TH AVE                                                                   SUN CITY           AZ 85351‐1004
MEAD, DONNA J           16601 S GRAHAM                                                                      PLEASANT HILL      MO 64080‐8310
MEAD, DUWAYNE R         2 PARKVIEW ST                                                                       BRADENTON          FL 34208‐1834
MEAD, DWAYNE M          4533 CLIFFORD RD BOX 113                                                            CLIFFORD           MI 48727
MEAD, DYLE J            3183 COIN ST                                                                        BURTON             MI 48519‐1537
MEAD, DYLE JOHN         3183 COIN ST                                                                        BURTON             MI 48519‐1537
MEAD, EDITH             5078 BALDWIN RD                                                                     SWARTZ CREEK       MI 48473‐9173
MEAD, ELEANOR B         1601 PURDUE DR                                                                      FAYETTEVILLE       NC 28304‐3674
MEAD, FRED W            6455 TYRRELL RD                                                                     LAINGSBURG         MI 48848‐8774
MEAD, FRED WILLIAM      6455 TYRRELL RD                                                                     LAINGSBURG         MI 48848‐8774
MEAD, GALE H            1170 N RODICDON DR                                                                  DEWITT             MI 48820
MEAD, GARRY E           264 EASTSIDE DR                                                                     LUPTON             MI 48635‐8712
MEAD, GLENN E           6391 LAMBERT ST                                                                     VICTOR             NY 14564‐9209
MEAD, JAMES A           4316 CALKINS RD                                                                     FLINT              MI 48532‐3548
MEAD, JAMES F           1420 S CEDAR DR                                                                     APACHE JUNCTION    AZ 85220‐8450
MEAD, JAMES H           PO BOX 1                                                                            BIG BAY            MI 49808‐0001
MEAD, JAMES MYRON       19701 S CHAPIN RD                                                                   ELSIE              MI 48831‐9202
MEAD, JAMES P           PO BOX 246                                                                          OTTER LAKE         MI 48464‐0246
MEAD, JAMES PHILLIP     PO BOX 246                                                                          OTTER LAKE         MI 48464‐0246
MEAD, JAMES R           1006 EATON GREEN DR                                                                 CHARLOTTE          MI 48813‐9381
MEAD, JAMES R           9861 KROUSE RD                                                                      OVID               MI 48866‐9762
MEAD, JANETTE C         4658 LAMPLIGHT LN SE APT 19                                                         GRAND RAPIDS       MI 49546‐6391
MEAD, JEAN M            4360 N ELDER TRL                                                                    LINCOLN            MI 48742‐9518
MEAD, JERRY C           1400 OLD COACH RD                                                                   NEWARK             DE 19711‐7611
MEAD, JOAN S            7068 S GIBRALTAR ST                                                                 CENTENNIAL         CO 80016‐1716
MEAD, JOHN G            4511 FM 1729 UNIT 3                                                                 LUBBOCK            TX 79415‐7222
MEAD, JOYCE             3129 E LAKE RD                                                                      HOPKINS            MI 49328‐9776
MEAD, JOYCE             3129 WAYNE ROAD                                                                     HOPKINS            MI 49328
MEAD, KAREN A           4730 MOUNT MORRIS RD                                                                COLUMBIAVILLE      MI 48421‐8713
MEAD, KARL G            9644 S 8 MILE RD                                                                    MC BAIN            MI 49657‐9481
MEAD, KENITH            9317 STATE RD                                                                       NASHVILLE          MI 49073‐9750
MEAD, KENNETH C         1690 GOWANS RD                                                                      ANGOLA             NY 14006‐9508
MEAD, KENNETH W         1207 SORRENTO LN                                                                    FLINT              MI 48507‐4027
MEAD, KENNETH WILLARD   1207 SORRENTO LN                                                                    FLINT              MI 48507‐4027
MEAD, LEROY G           2466 RIVER DR                                                                       LINCOLN PARK       MI 48146‐2891
MEAD, LOIS L            2150 S CHIPMAN ST APT 8                                                             OWOSSO             MI 48867‐4746
MEAD, MARGIE A          2639 COUNTY ROAD 615                                                                ALVARADO           TX 76009‐8775
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Name                   Address1                       Address2                        Address3   Address4         City               State Zip
MEAD, MARGIE A         2639 COUNTY RD 615                                                                         ALVARADO            TX 76009‐8775
MEAD, MARK H           10401 SAND LAKE HWY                                                                        ONSTED              MI 49265‐9617
MEAD, MARSHA J         3208 W WAGONER RD                                                                          PHOENIX             AZ 85053‐1031
MEAD, MARY M           9415 BIVENS RD                                                                             NASHVILLE           MI 49073‐9701
MEAD, MAURICE W        758 S EIFERT RD                                                                            MASON               MI 48854‐9739
MEAD, MICHAEL C        100 OAK RIDGE RD                                                                           BRUNSWICK           GA 31523
MEAD, MICHAEL G        2060 AUBURN AVE                                                                            HOLT                MI 48842‐1307
MEAD, MICHAEL L        3453 II RD                                                                                 GARDEN              MI 49835‐9434
MEAD, MICHAEL L        20558 W RIDGE RD                                                                           ELSIE               MI 48831‐9245
MEAD, MICHAEL L        4730 MOUNT MORRIS RD                                                                       COLUMBIAVILLE       MI 48421‐8713
MEAD, MICHAEL LEE      4730 MOUNT MORRIS RD                                                                       COLUMBIAVILLE       MI 48421‐8713
MEAD, MICHELE L        3101 STIVERS BLVD                                                                          BRYANT              AR 72022‐9024
MEAD, MICHELLE J       1006 EATON GREEN DR                                                                        CHARLOTTE           MI 48813‐9381
MEAD, MYRON L          19701 S CHAPIN RD                                                                          ELSIE               MI 48831
MEAD, MYRTLE A         6549 PLYLER ROAD                                                                           KANNAPOLIS          NC 28081
MEAD, NAOMI            4932 ADAMS ST                                                                              GARY                IN 46408‐4627
MEAD, NEIL L           13531 S SEYMOUR RD                                                                         MONTROSE            MI 48457‐9601
MEAD, NICK L           16525 OAKLEY RD                                                                            CHESANING           MI 48616‐9575
MEAD, NICK LEE         16525 OAKLEY RD                                                                            CHESANING           MI 48616‐9575
MEAD, NORMAN E         2482 S WHITNEY BEACH RD                                                                    BEAVERTON           MI 48612‐9497
MEAD, PATRICIA A       101 E EGLIN BLVD               UNIT 505                                                    EGLIN AFB           FL 32542‐5696
MEAD, PATRICIA A       101 E ELGIN BLVD UNIT 505                                                                  ELGIN AFB           FL 32542
MEAD, PATRICIA H       1839 RACCOON WAY                                                                           PENDLETON           IN 46064‐9064
MEAD, RALPH H          970 9TH ST 1                                                                               PLAINWELL           MI 49080
MEAD, RANDY L          1023 NILES CORTLAND RD APT B                                                               WARREN              OH 44484‐4484
MEAD, RICHARD D        1441 GRAND OAK LN                                                                          WEST CHESTER        PA 19380‐5951
MEAD, ROBERT E         6175 FOX RUN CIR                                                                           CANADIAN LAKES      MI 49346‐9358
MEAD, ROBERT G         2324 E 39TH ST                                                                             ANDERSON            IN 46013‐2604
MEAD, ROBERT L         7420 SANDPIPER LN                                                                          LANSING             MI 48917‐9555
MEAD, RODGER N         1272 ARROWHEAD DR                                                                          BURTON              MI 48509‐1424
MEAD, RODNEY ALFRED    3215 N COUNTY ROAD 1050 EAST                                                               CHARLOTTESVLE       IN 46117‐9709
MEAD, RONALD F         1345 W KING ST                                                                             OWOSSO              MI 48867‐2151
MEAD, SARAH A          APT B                          1023 NILES CORTLAND RD SE                                   WARREN              OH 44484‐2556
MEAD, SCOTT A          9805 MAYFIELD ST                                                                           LIVONIA             MI 48150‐5719
MEAD, STEPHEN R        5425 W CUTLER RD                                                                           DEWITT              MI 48820‐9125
MEAD, SYLVIA JUNE      1207 SORRENTO                                                                              FLINT               MI 48507‐4027
MEAD, SYLVIA JUNE      1207 SORRENTO LN                                                                           FLINT               MI 48507‐4027
MEAD, THELMA           2466 RIVER DRIVE                                                                           LINCOLN             MI 48146
MEAD, VIRGIL L         1450 E ALWARD RD                                                                           DEWITT              MI 48820‐8432
MEAD, WILLIAM A        6223 TORREY RD                                                                             FLINT               MI 48507‐3845
MEAD, WILLIAM D        10120 W 52ND TER                                                                           MERRIAM             KS 66203‐2024
MEAD, WILLIAM R        4023 WOOD ST                                                                               SAGINAW             MI 48638‐6662
MEADA ALEXANDER        40 WATCHUNG WAY                                                                            BERKELEY HEIGHTS    NJ 07922‐2600
MEADA C LEONARD        359 N DIAMOND MILL RD                                                                      NEW LEBANON         OH 45345‐9697
MEADE BOBBY (491236)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                      PROFESSIONAL BLDG
MEADE COUNTY SHERIFF   PO BOX 6                                                                                   BATTLETOWN         KY   40104‐0006
MEADE DOUGLAS          9640 LEASIDE DR                                                                            DALLAS             TX   75238‐2850
MEADE ELECTRIC                                        5401 W HARRISON ST                                                             IL   60644
MEADE FREDA            MEADE, FREDA                   30 E BUTLER AVE                                             AMBLER             PA   19002‐4514
MEADE IND/HAMMOND      1825 SUMMER ST                                                                             HAMMOND            IN   46320‐2237
MEADE JR, KENNETH F    6666 S CLARK RD                                                                            NASHVILLE          MI   49073‐9448
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Name                                Address1                       Address2                        Address3   Address4         City               State Zip
MEADE JR, RANSOM K                  48431 NEWCASTLE CT                                                                         SHELBY TWP          MI 48315‐4287
MEADE LEXUS                         28300 NORTHWESTERN HWY                                                                     SOUTHFIELD          MI 48034‐1807
MEADE LUTHER (ESTATE OF) (492630)   BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                   PROFESSIONAL BLDG
MEADE RONNIE                        MEADE, RONNIE                  30 MEADOWBROOK CT                                           PRESTONSBURG       KY    41653
MEADE, ALICE                        13616 HALL RD                                                                              CHARDON            OH    44024‐8912
MEADE, ALICE                        13616 HALL ROAD                                                                            CHARDON            OH    44024‐8912
MEADE, AMANDA C                     10022 RIDGE ROAD                                                                           KINSMAN            OH    44428‐9576
MEADE, ANDREW M                     563 S CHURCH ST                                                                            NEW LEBANON        OH    45345‐9656
MEADE, BARBARA                      72 CHURCH PRIVATE DR                                                                       UNION GROVE        AL    35175‐5105
MEADE, BARRY C                      414 CRESTON AVE                                                                            KALAMAZOO          MI    49001‐4203
MEADE, BETTY                        4721 S MERIDIAN STREET                                                                     MARION             IN    46953
MEADE, BLAND C                      25980 BOWMAN RD                                                                            DEFIANCE           OH    43512‐8995
MEADE, BONNIE J                     14198 SANDHURST ST                                                                         BROOKSVILLE        FL    34613‐5780
MEADE, BRIAN A                      PO BOX 485                                                                                 GALLOWAY           OH    43119
MEADE, CATHERINE A                  11340 EASTON RD                                                                            RITTMAN            OH    44270‐9794
MEADE, CATHERINE A                  11340 EASTON ROAD                                                                          RITTMAN            OH    44270‐9794
MEADE, CHARLES                      9261 SILVA DR                                                                              CINCINNATI         OH    45251‐2484
MEADE, CHARLOTTE M                  23824 RAVEN AVE                                                                            EASTPOINTE         MI    48021‐3446
MEADE, CHESTER E                    PO BOX 694                                                                                 GREENVILLE         OH    45331‐0694
MEADE, COLEMAN R                    7129 CAMDEN AVE                                                                            CLEVELAND          OH    44102‐5220
MEADE, DELMER G                     221 EMERSON AVE                                                                            YPSILANTI          MI    48198‐4209
MEADE, DONALD                       522 N PENNSYLVANIA AVE                                                                     MASON CITY          IA   50401‐3448
MEADE, DONALD L                     7739 S MILL RD                                                                             SPICELAND          IN    47385‐9751
MEADE, DOYLE K                      1980 S PLEASANT HAVEN CT                                                                   BLUFFTON           IN    46714‐9488
MEADE, EARMEL G                     6277 TROMBLEY RD                                                                           NEWPORT            MI    48166‐9104
MEADE, ERWIN S                      3365 GERNADA DR                                                                            CLIO               MI    48420‐1912
MEADE, ESTON H                      24545 WATSON ROAD                                                                          DEFIANCE           OH    43512‐8811
MEADE, EUGENE J                     6596 ALMOND LN                                                                             CLARKSTON          MI    48346‐2208
MEADE, EZRA C                       959 BEVERLY DR                                                                             ABINGDON           VA    24210‐2463
MEADE, FLOAT O                      20767 BALL RD                                                                              DEFIANCE           OH    43512‐8620
MEADE, GARY L                       406 E VIENNA ST                                                                            CLIO               MI    48420‐1427
MEADE, GARY LEROY                   406 E VIENNA ST                                                                            CLIO               MI    48420‐1427
MEADE, GENEVA                       4842 ECHO VALLEY RD                                                                        LILY               KY    40740‐3419
MEADE, GERALDINE B                  2901 GREENSPAN CT                                                                          DECATUR            GA    30034‐3418
MEADE, GLENNITH R                   1478 DONALDSON RD                                                                          WINCHESTER         KY    40391‐8253
MEADE, J D                          PO BOX 103                                                                                 SECO               KY    41849‐0103
MEADE, JERRY L                      PO BOX 681                                                                                 CHAPMANVILLE       WV    25508‐0681
MEADE, JIMMIE R                     2898 SW 168TH AVE                                                                          OCALA              FL    34481‐8779
MEADE, JOHN G                       3492 NE CAUSEWAY               BLDG 1‐304                                                  JENSEN BEACH       FL    34957
MEADE, JOHN L                       42716 FORTNER DR                                                                           STERLING HEIGHTS   MI    48313‐2436
MEADE, JOHN W                       705 N HAVANA ST                                                                            BUTLER             MO    64730‐1121
MEADE, JONATHAN T                   3009 E MONUMENT ST                                                                         BALTIMORE          MD    21205‐2723
MEADE, JONATHAN T.                  3009 E MONUMENT ST                                                                         BALTIMORE          MD    21205‐2723
MEADE, JOSEPH K                     6331 ORCHARD LAKE DR                                                                       FORT WAYNE         IN    46814‐9503
MEADE, JOSEPH P                     3384 KILKENNY CIR                                                                          CARMEL             IN    46032‐8763
MEADE, JUANITA R                    5225 COLLEGE ST. NW                                                                        ALBUQUERQUE        NM    87120‐2327
MEADE, LARRY D                      2319 JENNAS WAY SE                                                                         CONYERS            GA    30013‐6425
MEADE, LEROY                        11738 TAMARINA CT                                                                          PINCKNEY           MI    48169‐9536
MEADE, LILIA                        1414 N CEDAR ST                                                                            COLORADO SPRINGS   CO    80903
MEADE, LINDA S                      318 S HAYDEN AVE                                                                           DAYTON             OH    45431‐1972
MEADE, LLOYD                        PO BOX 62                                                                                  DENTON             MD    21629‐0062
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Name                     Address1                      Address2                 Address3    Address4         City             State Zip
MEADE, LORNA M           2514 SILVERSIDE RD                                                                  WATERFORD         MI 48328‐1760
MEADE, LUCY              3035 CARLTON DR NW                                                                  WARREN            OH 44485‐1223
MEADE, MABEL             3464 KY RT 2030                                                                     PRINTER           KY 41655
MEADE, MABEL             3464 KY ROUTE 2030                                                                  PRINTER           KY 41655‐8916
MEADE, MALCOLM           2187 TELEGRAPH CT             C/O DIANA LYNN WILSON                                 CINCINNATI        OH 45244‐4116
MEADE, MARGARET A        707 FRANCIS DR                                                                      ANDERSON          IN 46013‐1615
MEADE, MARGARET A        707 FRANCIS DR.                                                                     ANDERSON          IN 46013
MEADE, MARTHA M          PO BOX 446                                                                          WALESKA           GA 30183‐0446
MEADE, MARY ANNE I       1704 LINWOOD AVE                                                                    ROYAL OAK         MI 48067‐1064
MEADE, MATTHEW C         12334 N ELMS RD                                                                     CLIO              MI 48420‐9486
MEADE, MATTHEW CHARLES   12334 N ELMS RD                                                                     CLIO              MI 48420‐9486
MEADE, MICHAEL E         936 STATE RD                                                                        FENTON            MI 48430
MEADE, MICHAEL P         490 S EATON RD                                                                      NASHVILLE         MI 49073‐9806
MEADE, MUNCY             3035 CARLTON DR NW                                                                  WARREN            OH 44485‐1223
MEADE, MURTHEL G.        146 N SULPHUR SPRINGS RD                                                            W ALEXANDRIA      OH 45381‐9613
MEADE, MURTHEL GENE      146 N SULPHUR SPRINGS RD                                                            W ALEXANDRIA      OH 45381‐9613
MEADE, NELSON G          413 MAIN ST                                                                         CASTALIA          OH 44824‐9786
MEADE, PATTI Y           1071 SYLVAN SHORES DRIVE                                                            SO VIENNA         OH 45369‐8516
MEADE, PAUL T            11823 RIDGEWAY DR                                                                   MONROVIA          MD 21770‐9450
MEADE, PEARL S           3963 WADSWORTH RD                                                                   NORTON            OH 44203‐4901
MEADE, PEARL S           3963 AKRON WADSWORTH RD.                                                            NORTON            OH 44203‐4901
MEADE, PETER G           100 HAHNEMANN TRL APT 248                                                           PITTSFORD         NY 14534‐2361
MEADE, RADFORD G         9930 MILLARD RD                                                                     TROTWOOD          OH 45426‐4339
MEADE, RALPH C           12500 FULLMER RD                                                                    DEFIANCE          OH 43512‐8846
MEADE, RANSOM K          23824 RAVEN AVE                                                                     EASTPOINTE        MI 48021‐3446
MEADE, RAY               936 EASTGATE CT                                                                     FRANKENMUTH       MI 48734‐1246
MEADE, REBECCA F         2095 RT 122                                                                         PRINTER           KY 41655
MEADE, RHEA M            540 DOVER CT APT 5                                                                  MT. MORRIS        MI 48458‐1500
MEADE, RHEA M            540 DOVER ST APT 5                                                                  MOUNT MORRIS      MI 48458‐1500
MEADE, RICHARD B         2183 TAMARACK COVE DR                                                               HASTINGS          MI 49058‐7735
MEADE, RICHARD J         11351 W KINSEL HWY                                                                  NASHVILLE         MI 49073‐9304
MEADE, RICHARD JAMES     11351 W KINSEL HWY                                                                  NASHVILLE         MI 49073‐9304
MEADE, ROBERT A          172 HERITAGE HILL ROAD                                                              NEW CANAAN        CT 06840‐4637
MEADE, ROBERT L          170 RICHLAND ROAD                                                                   XENIA             OH 45385‐9349
MEADE, ROBERT L          190 RICHLAND RD                                                                     XENIA             OH 45385‐9349
MEADE, ROBERT L          170 RICHLAND RD                                                                     XENIA             OH 45385‐9349
MEADE, RONALD L          3645 GREENS MILL RD                                                                 SPRING HILL       TN 37174‐2127
MEADE, RONNIE            30 MEADOW BROOK CT                                                                  PRESTONSBURG      KY 41653‐9036
MEADE, ROSA L            19316 HIPPLE AVENUE                                                                 CLEVELAND         OH 44135‐1753
MEADE, ROSEMARY          1050 LINDEN AVE                                                                     DAYTON            OH 45410‐2834
MEADE, ROY C             7369 BLACKHAWK TRL                                                                  SPRING HILL       FL 34606‐2523
MEADE, SHERRY            1209 WINDY BRANCH WAY                                                               EDGEWOOD          MD 21040‐2138
MEADE, SHERYL D          11738 TAMARINA CT                                                                   PINCKNEY          MI 48169‐9536
MEADE, STANLEY           212 LYMAN HALL                C/O GRANT DENNIS MEADE                                SAVANNAH          GA 31410‐1045
MEADE, SYBIL M           3017 CENTRE PKWY                                                                    INDIANAPOLIS      IN 46203‐5524
MEADE, SYBIL M           3017 CENTRE PARKWAY                                                                 INDIANAPOLIS      IN 46203‐5524
MEADE, TERRY L           26674 NELSON AVE                                                                    BROWNSTOWN TWP    MI 48174‐9509
MEADE, THEODORE W        515 VANDEVER AVE                                                                    WILMINGTON        DE 19802‐4240
MEADE, THOMAS            2258 PENFIELD RD                                                                    PENFIELD          NY 14526‐1945
MEADE, VALERIE S         9715 THOMAS RD                                                                      MONROEVILLE       OH 44847‐9694
MEADE, VERNA             2737 KUNZ ROAD                                                                      GALLOWAY          OH 43119‐8717
MEADE, WALTER B          311 MANDERLEY LN                                                                    SPRINGTOWN        TX 76082‐3107
                            09-50026-mg               Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                        Address1                          Address2                      Address3     Address4         City               State Zip
MEADE, WANDA G              25 HILLTOP DR                                                                                 CORBIN              KY 40701‐6256
MEADE, WENDELL E            3003 GANNETT RD                                                                               COLUMBUS            OH 43231‐3126
MEADE, WILLIAM D            2832 ROUTE 73 EAST                                                                            WAYNESVILLE         OH 45068
MEADE, ZORA L               190 RICHLAND RD                                                                               XENIA               OH 45385‐9349
MEADE‐BROWN, NANCY          APT 2A                            5972 MILLSHIRE DRIVE                                        DAYTON              OH 45440‐4146
MEADE‐BROWN, NANCY          5972 MILLSHIRE DRIVE                                                                          DAYTON              OH 45440
MEADE/BOARDMAN              821 BEV RD                                                                                    BOARDMAN            OH 44512‐6425
MEADER BILL LAW OFFICE      ATTY FOR LESLIE GRIFFIN           ATTN: BILL MEADER             PO BOX 499                    HYDEN               KY 41749
MEADER, BERNARD J           4220 RISEDORPH ST                                                                             BURTON              MI 48509‐1044
MEADER, DONALD H            10242 IRISH RD                                                                                MILLINGTON          MI 48746‐9744
MEADER, ELISABETH R         5824 WOODVIEW DR                                                                              STERLING HEIGHTS    MI 48314‐2068
MEADER, JUDITH              6205 NEW LOTHROP RD                                                                           NEW LOTHROP         MI 48460‐9750
MEADER, LAUREL E            316 ORCHARD COVE DR LOT 9                                                                     OTISVILLE           MI 48463
MEADER, MICHAEL D           6205 NEW LOTHROP RD                                                                           NEW LOTHROP         MI 48460‐9750
MEADER, MICHAEL DENNIS      6205 NEW LOTHROP RD                                                                           NEW LOTHROP         MI 48460‐9750
MEADER, RONALD E            2175 S SHORE CT                                                                               ROCHESTER HLS       MI 48307‐4327
MEADERS, MOZELLE P          1157 KALAMAZOO AVE SE                                                                         GRAND RAPIDS        MI 49507‐1435
MEADOR EARNEST L (660916)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510
                                                              STREET, SUITE 600
MEADOR HARRY E (439326)     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                              STREET, SUITE 600
MEADOR JOHNNY (494006)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510
                                                              STREET, SUITE 600
MEADOR JR, ROY D            6053 KENNEDY AVE                                                                              CINCINNATI         OH   45213‐1803
MEADOR R                    191 LUKES PATH                                                                                JASPER             GA   30143‐8308
MEADOR, ALLENE P            1368 SUMAC CIR                                                                                CONCORD            CA   94521‐3629
MEADOR, CARL E              6851 CRAWFORDSVILLE RD                                                                        INDIANAPOLIS       IN   46214‐2024
MEADOR, CLARENCE R          619 GREENBRIAR CIR                                                                            NORTH VERNON       IN   47265‐9029
MEADOR, DANIEL L            724 3RD ST                                                                                    FORT WAYNE         IN   46808‐2610
MEADOR, DENNIS L            253 HCR 2418                                                                                  HILLSBORO          TX   76645‐5192
MEADOR, DONALD D            PO BOX 223                                                                                    LAGRANGE           OH   44050‐0223
MEADOR, EARNEST L           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MEADOR, GERALD L            432 GOOD HOPE RD                                                                              DECATUR            MS 39327‐9112
MEADOR, HARRY E             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA 23510‐2212
                                                              STREET, SUITE 600
MEADOR, HELEN B             800 W 30TH ST                                                                                 RICHMOND           VA   23225‐3515
MEADOR, JACKIE L            2503 BURNINGTREE LN                                                                           KOKOMO             IN   46902‐3152
MEADOR, JAMES L             1082 IMPRINT LN                                                                               CINCINNATI         OH   45240‐2304
MEADOR, JAY D               5101 LANCELOT DR                                                                              INDIANAPOLIS       IN   46228‐2167
MEADOR, JERRY H             PO BOX 305                                                                                    FLATWOODS          WV   26621‐0305
MEADOR, JOHNNY              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK            VA   23510‐2212
                                                              STREET, SUITE 600
MEADOR, JOYCE A             6021 ROOSEVELT ST                                                                             TAYLOR             MI   48180‐1349
MEADOR, KRISTEN N           10336 HARTLAND RD                                                                             FENTON             MI   48430‐8706
MEADOR, MARJORIE C          14001 W 92ND ST APT 216                                                                       LENEXA             KS   66215‐3472
MEADOR, MARY E              3674 SANFORD DR                                                                               BRUNSWICK          OH   44212‐2645
MEADOR, MARY J              608 STEVENS AVE                   C/O GLENDA CREWS                                            MUSCLE SHOALS      AL   35661‐3446
MEADOR, MICHAEL W           3339 PIRRIN DR                                                                                WATERFORD          MI   48329‐2745
MEADOR, MILDRED L           156 MARCRUM LANE                                                                              SCOTTSVILLE        KY   42164
MEADOR, RONALD L            653 VILLA CT                                                                                  CLERMONT           FL   34711‐2444
MEADOR, SANDRA              122 TAHAO DRIVE                   P.O. BOX 367                                                SPRING VALLEY      OH   45370‐5370
                                   09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit B
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Name                              Address1                         Address2                         Address3        Address4         City              State Zip
MEADOR, VINNIE                    PO BOX 95                                                                                          ALMO               KY 42020
MEADOR, WILMA J                   512 GLEN IVES WAY                                                                                  KNOXVILLE          TN 37919‐5958
MEADORS, BONNIE J                 22 ROCKHAVEN DR.                                                                                   GLASTONBURY        CT 06033‐5304
MEADORS, BRIAN K                  1857 PENBROOKE TRL                                                                                 DAYTON             OH 45459‐3456
MEADORS, CHARLENE                 2952 LISA DR                                                                                       SIDNEY             OH 45365‐9507
MEADORS, DENNIS R                 8535 E 500 S                                                                                       UPLAND             IN 46989‐9330
MEADORS, DONALD B                 1745 E ARENAS RD APT 9                                                                             PALM SPRINGS       CA 92262‐7126
MEADORS, DONNA H                  3531 LOWRY RD                                                                                      INDIANAPOLIS       IN 46222‐1025
MEADORS, DONNA H                  5360 NORTH GEORGETOWN ROAD       APT #331                                                          INDIANAPOLIS       IN 46254
MEADORS, EARNEST C                132 HERMAN AVE                                                                                     HAMILTON           OH 45013‐1780
MEADORS, EDNA M                   263 S HAGUE AVE                                                                                    COLUMBUS           OH 43204‐3004
MEADORS, EDNA M                   263 SOUTH HAGUE AVENUE                                                                             COLUMBUS           OH 43204‐3004
MEADORS, HAROLD L                 2699 SWINGS CORNER PT. IS. RD.                                                                     BETHEL             OH 45106
MEADORS, LARRY D                  4240 RYANS CREEK ROAD                                                                              WILLIAMSBURG       KY 40769‐9536
MEADORS, LENDLE B                 2263 HUNT RD                                                                                       READING            OH 45215‐3972
MEADORS, MARY E                   4240 RYANS CREEK RD                                                                                WILLIAMSBURG       KY 40769‐9536
MEADORS, MARY ELLEN               4240 RYANS CREEK RD                                                                                WILLIAMSBURG       KY 40769‐9536
MEADORS, MITCHEL D                5303 BURNETT RD                                                                                    LEAVITTSBURG       OH 44430‐9409
MEADORS, RONALD G                 100 DELBRICK LN                                                                                    INDIANAPOLIS       IN 46229‐2517
MEADORS, WILLIAM C                6911 APOLLO WAY                                                                                    INDIANAPOLIS       IN 46278‐1912
MEADOW LARK AGENCY INC            PO BOX 50575                                                                                       BILLINGS           MT 59105‐0575
MEADOW LARK TRANSPORTATION        RICK JONES                       PO BOX 50575                     935 LAKE ELMO                    BILLINGS           MT 59105‐0575
MEADOW, ANNA L                    5024 PENSACOLA BLVD                                                                                MORAINE            OH 45439‐2941
MEADOW‐WEBB, BETTY                2101 QUAIL CT                                                                                      FRANKLIN           TN 37064‐6800
MEADOWBROOK COURT REPORTERS INC   445 S LIVERNOIS RD STE 105                                                                         ROCHESTER HILLS    MI 48307‐2575

MEADOWBROOK ICE CREAM COMPANY     2885 LEACH RD                                                                                      ROCHESTER HILLS   MI 48309‐3562

MEADOWBROOK INSURANCE AGENCY      ACCT OF SUZANNE M BOONE          C/O 900 MACABEES 25800 NWESTRN                                    SOUTHFIELD        MI 26613

MEADOWLAND PONTIAC‐GMC, INC.      1952 ROUTE 6                                                                                       CARMEL            NY   10512‐2311
MEADOWLAND PONTIAC‐GMC, INC.      BARBARA VOLZ                     1952 ROUTE 6                                                      CARMEL            NY   10512‐2311
MEADOWLANDS EXPOSITION CENTER     355 PLAZA DR                                                                                       SECAUCUS          NJ   07094‐3603
MEADOWLANDS REGIONAL CHAMBER      201 ROUTE 17 NORTH                                                                                 RUTHERFORD        NJ   07070
MEADOWLANDS/SECAUCUS              2 HARMON PLZ                                                                                       SECAUCUS          NJ   07094‐2802
MEADOWOOD RESORT                  900 MEADOWOOD LN                                                                                   SAINT HELENA      CA   94574‐9620
MEADOWS ANNA                      MEADOWS, ANNA                    3465 BLACKWELL ROAD                                               CERRO GORDO       NC   28430‐9499
MEADOWS AUTO CENTER               5859 E GRETNA RD                                                                                   GRETNA            VA   24557‐2138
MEADOWS CECIL W (355088)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                   STREET, SUITE 600
MEADOWS COMMERCIAL OWNERS         6255 BARFIELD RD NE STE 140                                                                        ATLANTA           GA 30328‐4332
ASSOCIATION INC
MEADOWS CORNELL P                 MEADOWS, CAROLYN                 PO BOX 12247                                                      ROANOKE           VA 24024‐2247
MEADOWS CORNELL P                 MEADOWS, CORNELL P               PO BOX 12247                                                      ROANOKE           VA 24024‐2247
MEADOWS CORNELL P                 NATIONWIDE MUTUAL INSURANCE      PO BOX 12247                                                      ROANOKE           VA 24024‐2247
                                  COMPANY
MEADOWS DAVID (446291)            KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                     CLEVELAND         OH 44114
                                                                   BOND COURT BUILDING
MEADOWS DAVID E (499618)          ANGELOS PETER G                  100 N CHARLES STREET , ONE                                        BALTIMORE         MD 21201
                                                                   CHARLES CENTER
MEADOWS DC                        2300 21ST AVE S                                                                                    NASHVILLE         TN 37212
MEADOWS DONALD E
                            09-50026-mg                Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit B
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Name                        Address1                           Address2                         Address3   Address4         City               State Zip
MEADOWS FRANKLIN            C/O MCKENNA & CHIODO               436 BOULEVARD OF THE ALLIES ‐                                PITTSBURGH          PA 15219
                                                               SUITE 500
MEADOWS FRANKLIN (507035)   (NO OPPOSING COUNSEL)
MEADOWS JASON W             103 ELDERBERRY DRIVE                                                                            MANSFIELD          OH 44907‐2882
MEADOWS JERRY (446293)      KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                CLEVELAND          OH 44114
                                                               BOND COURT BUILDING
MEADOWS JOHN H              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                               STREET, STE 600
MEADOWS JOSEPH B            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                               STREET STE 600
MEADOWS JR, HARVEY L        22 CHARLES LN                                                                                   WARWICK            MD   21912‐1020
MEADOWS JR, PRINTIS         1770 CITADEL DR APT 101                                                                         KANSAS CITY        MO   64110‐3541
MEADOWS JR, ROBERT          9254 HANLEY STREET                                                                              TAYLOR             MI   48180‐3550
MEADOWS JR, SIE             7212 LOMBARD AVE                                                                                GAYLORD            MI   49735‐7809
MEADOWS MARLIN M (343403)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                               STREET, SUITE 600
MEADOWS PAMELA              2910 HUSKEY RD                                                                                  FESTUS             MO 63028‐4967
MEADOWS REUHL R (340140)    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA 23510
                                                               STREET, SUITE 600
MEADOWS ROBERT (453500)     BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                               PROFESSIONAL BLDG
MEADOWS SR., VIRGIL R       108 TURNER RD APT B                                                                             DAYTON             OH 45415‐3620
MEADOWS STEPHEN             1308 GILBERT AVE                                                                                KISSIMMEE          FL 34741‐6295
MEADOWS THEODORE (446295)   KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                CLEVELAND          OH 44114
                                                               BOND COURT BUILDING
MEADOWS, ALAN C             9545 RT 306                                                                                     KIRTLAND           OH   44094
MEADOWS, ALVIN C            9545 CHILLICOTHE RD                                                                             KIRTLAND           OH   44094‐8502
MEADOWS, ANGELA M           5308 GLOBE AVE.                                                                                 NORWOOD            OH   45212
MEADOWS, ANGELA M           5308 GLOBE AVE                                                                                  NORWOOD            OH   45212‐1538
MEADOWS, ANNA               3465 BLACKWELL RD                                                                               CERRO GORDO        NC   28430‐9499
MEADOWS, ANNIE R            16648 ROBSON ST                                                                                 DETROIT            MI   48235‐4516
MEADOWS, ARTHUR L           1161 WENDELL AVE                                                                                YPSILANTI          MI   48198‐3145
MEADOWS, BABE F             10242 E AU SABLE RD                                                                             SAINT HELEN        MI   48656‐9330
MEADOWS, BARBARA CAROL      BASS BRYANT & FANNEY               PO BOX 909                                                   RALEIGH            NC   27602‐0909
MEADOWS, BARBARA CAROL      LEWIS & ROBERTS                    400 SOUTH TRYON STREET ‐ SUITE                               CHARLOTTE          NC   28285
                                                               1500
MEADOWS, BERNADINE H        7610 READING RD APT 302                                                                         CINCINNATI         OH   45237‐3219
MEADOWS, BESSIE E           1790 PINE CV                                                                                    WOOSTER            OH   44691‐2566
MEADOWS, BESSIE E           1790 PINE COVE                                                                                  WOOSTER            OH   44691
MEADOWS, BETTY J            23 TERRACE TRAIL                                                                                MOORESVILLE        IN   46158‐1571
MEADOWS, BETTY J            23 TERRACE TRL                                                                                  MOORESVILLE        IN   46158‐1571
MEADOWS, BETTY L            423 VICTORIAN                                                                                   BEDFORD            IN   47421‐9347
MEADOWS, BEVERLY T          PO BOX 265                                                                                      PANOLA             TX   75685‐0265
MEADOWS, BILL E             PO BOX 291                                                                                      SATANTA            KS   67870‐0291
MEADOWS, BILLY H            507 BELLEMEADE ST SW                                                                            DECATUR            AL   35601‐6327
MEADOWS, BILLY J            6276 SHERMAN                                                                                    MASON              OH   45040
MEADOWS, BILLY R            34509 CHESTNUT ST                                                                               WAYNE              MI   48184‐1307
MEADOWS, BRENDA L           3722 VERNA CT                                                                                   LAKELAND           FL   33812‐4387
MEADOWS, CALVIN R           2100 SW 81ST AVE APT 108                                                                        NORTH LAUDERDALE   FL   33068‐4779
MEADOWS, CECIL K            17423 OAK REST RD                                                                               BRIGHTON           IL   62012‐1687
MEADOWS, CECIL W            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510‐2212
                                                               STREET, SUITE 600
                       09-50026-mg              Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                   Address1                         Address2                        Address3                    Address4         City             State Zip
MEADOWS, CHARLES E     3859 CHERRY ST                                                                                                CLARKSTON         MI 48348‐1417
MEADOWS, CHARLES E.    3859 CHERRY ST                                                                                                CLARKSTON         MI 48348‐1417
MEADOWS, CHARLES R     6380 ANDERSONVILLE RD                                                                                         WATERFORD         MI 48329‐1408
MEADOWS, CHARLES W     1041 WESTMORELAND BLVD                                                                                        UNION             MO 63084‐1128
MEADOWS, CHERI L       1506 ROBERT THOMPSON DR                                                                                       FESTUS            MO 63028‐2333
MEADOWS, CLAYTON L     234 DEAN LN                                                                                                   ROXBORO           NC 27574‐7525
MEADOWS, CORNELL
MEADOWS, COTTRELL      8440 KING RD                                                                                                  BENZONIA         MI   49616‐9737
MEADOWS, CRYSTAL S     4635 EAGLES WATCH LN                                                                                          INDIANAPOLIS     IN   46254‐9527
MEADOWS, CURTIS D      2720 MERRYMANS MILL RD                                                                                        PHOENIX          MD   21131‐1634
MEADOWS, CURTIS R      22845 SUMPTER RD                                                                                              BELLEVILLE       MI   48111‐9678
MEADOWS, CURTIS R      6271 HUDSON RD                                                                                                OSSEO            MI   49266
MEADOWS, D M           3305 DILIDO RD APT 128                                                                                        DALLAS           TX   75228‐8331
MEADOWS, DALE A        4913 HERMAN AVE                                                                                               CLEVELAND        OH   44102‐2229
MEADOWS, DANIEL R      3812 STOUTS CREEK RD N                                                                                        BLOOMINGTON      IN   47404
MEADOWS, DARRELL H     332 E NETTLETON AVE                                                                                           INDEPENDENCE     MO   64050‐2938
MEADOWS, DAVID         KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                                 CLEVELAND        OH   44114
                                                        BOND COURT BUILDING
MEADOWS, DAVID A       334 BAILEYS BRANCH RD                                                                                         MARSHALL         NC 28753‐9034
MEADOWS, DAVID EDGAR   MEADOWS, DAVID ESTLE             ANGELOS PETER G                 100 N CHARLES STREET, ONE                    BALTIMORE        MD 21201
                                                                                        CHARLES CENTER
MEADOWS, DAVID L       23235 PEACHLAND BLVD                                                                                          PORT CHARLOTTE   FL   33954‐3657
MEADOWS, DAVID L       8831 E ML AVE                                                                                                 KALAMAZOO        MI   49048‐9649
MEADOWS, DEWITT L      1626 HIGHMEADOW DR                                                                                            WALLED LAKE      MI   48390‐2550
MEADOWS, DONALD A      30691 HWY 127                                                                                                 LESTER           AL   35647
MEADOWS, DONNA M       PO BOX 251                                                                                                    GIDEON           MO   63848‐0251
MEADOWS, DORIS         4574 SOUTH OLD US23                                                                                           BRIGHTON         MI   48114
MEADOWS, DORIS M       1706 RICHARD DR #C                                                                                            ASHLAND          OH   44805‐4551
MEADOWS, DOROTHY G     1904 CHESAPEAKE TRL SW                                                                                        DECATUR          AL   35603‐3123
MEADOWS, EDITH M       7272 TWP RD 95 R 3                                                                                            FREDERICKTOWN    OH   43019
MEADOWS, EDWARD A      3676 S COUNTY RD 500 E                                                                                        KOKOMO           IN   46902
MEADOWS, EDWINA J      3514 SEABROOK AVE                                                                                             COLUMBUS         OH   43227‐3244
MEADOWS, ELBERT O      1293 FALENE PL                                                                                                GALLOWAY         OH   43119‐9032
MEADOWS, ELIJAH J      142 WESLEY ST                                                                                                 ELKTON           MD   21921‐5457
MEADOWS, ESTIL R       98 ALLEN RD                                                                                                   YPSILANTI        MI   48198‐4125
MEADOWS, EULA          PO BOX 717                                                                                                    RURAL RETREAT    VA   24368‐0717
MEADOWS, EULA          P O BOX 717                                                                                                   RURAL RETREAT    VA   24368‐0717
MEADOWS, EVON H        226 INCA DOVE LN                                                                                              MCQUEENEY        TX   78123‐3384
MEADOWS, FORREST A     4325 ELLIOT AVE                                                                                               TITUSVILLE       FL   32780‐6414
MEADOWS, FRANCES B     30685 HIGHWAY 127                                                                                             LESTER           AL   35647
MEADOWS, FRANKLIN      MCKENNA & CHIDO                  436 BOULEVARD OF THE ALLIES ‐                                                PITTSBURGH       PA   15219
                                                        SUITE 500
MEADOWS, FRANKLIN D    THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD         SUITE 44                                     CORAL GABLES     FL   33146
MEADOWS, FREDDY J      PO BOX 339                                                                                                    COEBURN          VA   24230
MEADOWS, GARY LEE      8438 MEADOWLARK CT                                                                                            WEST CHESTER     OH   45069‐3433
MEADOWS, GARY M        3722 VERNA CT                                                                                                 LAKELAND         FL   33812‐4387
MEADOWS, GARY P        649 MAPLEWOOD AVE                                                                                             BRUNSWICK        OH   44212‐1311
MEADOWS, GARY S        810 CHERRYTOWN RD                                                                                             WESTMINSTER      MD   21158‐1606
MEADOWS, GENNIEVIE     120 HIGHLAND ST                                                                                               WEAVERVILLE      NC   28787‐9416
MEADOWS, GORDON R      1683 MAYER RD                                                                                                 SAINT CLAIR      MI   48079‐2902
MEADOWS, GUY R         946 ALEEDA LANE                                                                                               SANTA BARBARA    CA   93108‐1918
MEADOWS, HAROLD F      10 E ESTATE ST                                                                                                ANDERSON         IN   46013‐3842
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Name                      Address1                           Address2                       Address3   Address4         City             State Zip
MEADOWS, HELEN M          15425 MEYER AVE                                                                               ALLEN PARK        MI 48101‐2690
MEADOWS, HENRY D          25751 STONYCROFT DR                                                                           SOUTHFIELD        MI 48033‐5890
MEADOWS, HERMAN           PO BOX 21                                                                                     DRYBRANCH         WV 25061‐0021
MEADOWS, HOLLIE J         796 N F ST                                                                                    SAN BERNARDINO    CA 92410‐3018
MEADOWS, JACK D           1105 BROAD AVE NW                                                                             CANTON            OH 44708‐4214
MEADOWS, JAMES D          1652 CORDOVA AVE                                                                              LAKEWOOD          OH 44107‐3606
MEADOWS, JAMES D          7500 AUGUST AVE                                                                               WESTLAND          MI 48185‐2578
MEADOWS, JAMES G          989 QUENTIN RD                                                                                EASTLAKE          OH 44095‐2837
MEADOWS, JAMES M          BOX 799 JOE'S CREEK ROAD                                                                      SOD               WV 25564
MEADOWS, JAMES T          3891 E CEDAR LAKE DR                                                                          GREENBUSH         MI 48738‐9722
MEADOWS, JARRETT N        780 S. M‐13                                                                                   LENNON            MI 48449
MEADOWS, JENNIE L         43975 JUDD RD                                                                                 BELLEVILLE        MI 48111‐9237
MEADOWS, JENNIFER P       1618 GLENN AVE                                                                                MIDDLETOWN        OH 45044‐7619
MEADOWS, JEREMIAH         43975 JUDD RD                                                                                 BELLEVILLE        MI 48111‐9237
MEADOWS, JERRY            KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                               CLEVELAND         OH 44114
                                                             BOND COURT BUILDING
MEADOWS, JERRY F          129 ANDERSON LN                                                                               BEDFORD          IN   47421‐7944
MEADOWS, JIMMY D          9254 HANLEY ST                                                                                TAYLOR           MI   48180‐3550
MEADOWS, JOHN             2111 PRIEST RD                                                                                LAWRENCEBURG     IN   47025‐8330
MEADOWS, JOHN C           1205 BROOKDALE DR                                                                             DEL CITY         OK   73115‐4914
MEADOWS, JOHN C           1325 NE 55TH ST                                                                               OKLAHOMA         OK   73111
MEADOWS, JOHN T           28236 ROAN DR                                                                                 WARREN           MI   48093‐7839
MEADOWS, JOSEPH T         2507 LAKE VIEW BLVD                                                                           PORT CHARLOTTE   FL   33948‐3727
MEADOWS, JR., EDGAR       7212 SANCROFT DR                                                                              DAYTON           OH   45424‐2311
MEADOWS, JULIE J          1437 NW LAWNRIDGE AVE                                                                         GRANTS PASS      OR   97526‐1219
MEADOWS, KALA A           5804 DIXIE LN                                                                                 ALEXANDRIA       LA   71301‐2424
MEADOWS, LEO D            1327 TRIPLETON PIKE                                                                           BEDFORD          IN   47421‐8606
MEADOWS, LOUELLA          2641 SIEBOLDT QUARRY RD                                                                       BEDFORD          IN   47421‐7451
MEADOWS, LOUISE B         132 DARNELL DR                                                                                BEAVER           WV   25813‐9662
MEADOWS, LUCILLE          406 N MAIN STREET                                                                             GERMANTOWN       OH   45327‐1012
MEADOWS, LUCILLE          406 N MAIN ST                                                                                 GERMANTOWN       OH   45327‐1012
MEADOWS, LUTHER L         56 FOX VALLEY DR                                                                              ORANGE PARK      FL   32073‐5158
MEADOWS, MAGGIE L         7447 N VASSAR RD                                                                              OTTISVILLE       MI   48463‐9467
MEADOWS, MAGGIE L         7447 VASSAR RD                                                                                OTISVILLE        MI   48463‐9467
MEADOWS, MARCIA           16430 PARK LAKE RD LOT 11                                                                     EAST LANSING     MI   48823‐9427
MEADOWS, MARIA L          19 HEMLOCK COURT PASS                                                                         OCALA            FL   34472‐4148
MEADOWS, MARILYN J        5621 COUNCIL RING BLVD                                                                        KOKOMO           IN   46902‐5587
MEADOWS, MARK             31 ROSSMORE DR                                                                                FAIRBORN         OH   45324‐4441
MEADOWS, MARLIN M         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510
                                                             STREET, SUITE 600
MEADOWS, MARY             3561 KENOAK LN                                                                                CINCINNATI       OH   45213‐2633
MEADOWS, MARY A           5273 SR#303, N.W.                                                                             NEWTON FALLS     OH   44444
MEADOWS, MARY E           607 NORTH LOCK AVENUE                                                                         LOUISA           KY   41230‐1027
MEADOWS, MARY ELIZABETH   2002 POND MEADOW RD                                                                           SOMERSET         KY   42503‐2802
MEADOWS, MARY L           1405 W TREE LN                                                                                MUNCIE           IN   47302‐8695
MEADOWS, MARY P.          8711 SAWYER BROWN RD                                                                          NASHVILLE        TN   37221‐1415
MEADOWS, MICHAEL W        172 GLENN EAGLES WAY                                                                          HIRAM            GA   30141‐5303
MEADOWS, MILDRED          752 BUDDHA ROAD                                                                               BEDFORD          IN   47421‐7715
MEADOWS, MILDRED          752 BUDDHA RD                                                                                 BEDFORD          IN   47421‐7715
MEADOWS, MORRIS G         5343 FARM RD                                                                                  WATERFORD        MI   48327‐2423
MEADOWS, NANCY A.         4290 SAGEWOOD CT.                                                                             GREENWOOD        IN   46143‐8401
MEADOWS, NANCY J          915 1ST AVE NW                                                                                ARAB             AL   35016‐5848
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Name                      Address1                          Address2                       Address3   Address4                 City           State Zip
MEADOWS, NIALL            1440 OTTER AVE                                                                                       WATERFORD       MI 48328‐4761
MEADOWS, NOEL J           19107 CHESAPEAKE CIR                                                                                 WALLED LAKE     MI 48390‐5913
MEADOWS, NORMAN A         5698 LYNN ST                                                                                         FRANKLIN        OH 45005‐5110
MEADOWS, OLIVER R         32891 MACKENZIE DR                                                                                   WESTLAND        MI 48185‐1551
MEADOWS, RACHEL           670 VALLEY RD                                                                                        HAWKINSVILLE    GA 31036‐1948
MEADOWS, RANDALL G        1352 CHERRY LN                                                                                       UNIONTOWN       OH 44685‐9527
MEADOWS, RANDY W          49 VINEWOOD CT                                                                                       PONTIAC         MI 48341‐1572
MEADOWS, REBECCA L        2500 CRIDER RD                                                                                       MANSFIELD       OH 44903‐6922
MEADOWS, REUHL R          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                        NORFOLK         VA 23510
                                                            STREET, SUITE 600
MEADOWS, RICHARD A        PO BOX 1204                                                                                          GAINESVILLE    GA   30503‐1204
MEADOWS, RICHARD D        6255 ZIMMERMAN RD                                                                                    SABINA         OH   45169‐8191
MEADOWS, RICK A           10410 E COUNTY ROAD 50 S                                                                             SELMA          IN   47383‐9743
MEADOWS, RICK ALLEN       10410 E COUNTY ROAD 50 S                                                                             SELMA          IN   47383‐9743
MEADOWS, ROBERT           BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                       NORTHFIELD     OH   44067
                                                            PROFESSIONAL BLDG
MEADOWS, ROBERT H         4410 N SHELBURNE DR                                                                                  BLOOMINGTON    IN   47404‐1218
MEADOWS, ROBERT M         6698 W MAIN RD                                                                                       LIMA           NY   14485‐9532
MEADOWS, RONALD G         44 MAGNOLIA RIDGE LN                                                                                 ELGIN          SC   29045‐8515
MEADOWS, RONNIE L         3929 AUGUSTA ST                                                                                      FLINT          MI   48532‐5268
MEADOWS, ROY E            PO BOX 83                                                                                            METROPOLIS     IL   62960‐0083
MEADOWS, RUBY P           PO BOX# 155                                                                                          PATRIOT        IN   47038‐0155
MEADOWS, RUSSELL S        786 FINWOOD CT                                                                                       ELYRIA         OH   44035‐1616
MEADOWS, SALLY W          4901 APPLERIDGE COURT                                                                                DAYTON         OH   45424‐4674
MEADOWS, SARAH A          PO BOX 16555                                                                                         MILWAUKEE      WI   53216‐0555
MEADOWS, SHARON L         1210 CARLTON CRT                                                                                     PLAINWELL      MI   49080
MEADOWS, SHERMAN          5540 APRIL FOREST DR                                                                                 MEMPHIS        TN   38141‐0482
MEADOWS, SHIRLEY A        9375 ISABELLA LN                                                                                     DAVISON        MI   48423‐2850
MEADOWS, SILAS C          1260 COMMONWEALTH AVE                                                                                YPSILANTI      MI   48198‐3149
MEADOWS, STEVEN E         24241 RADCLIFT STREET                                                                                OAK PARK       MI   48237‐1557
MEADOWS, THEODORE         KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                                       CLEVELAND      OH   44114
                                                            BOND COURT BUILDING
MEADOWS, THOMAS J         6131 NORTHWOOD CIR                                                                                   WHITE LAKE     MI   48383‐3565
MEADOWS, THOMAS R         331 SCIO VILLAGE CT UNIT 174                                                                         ANN ARBOR      MI   48103‐9146
MEADOWS, TITO             5027 GERALDINE AVE                                                                                   SAINT LOUIS    MO   63115‐1310
MEADOWS, TYLER B          313 MANUBAY CT                                                                                       BEAR           DE   19701‐1613
MEADOWS, VARNIE C         540 35TH AVE SW                                                                                      VERO BEACH     FL   32968‐4139
MEADOWS, VICKIE J         20811 HWY 127                                                                                        ELKMONT        AL   35620
MEADOWS, VIVIAN M         18107 OHIO ST                                                                                        DETROIT        MI   48221‐2593
MEADOWS, WILBUR E         20 PARK PL                                                                                           ORMOND BEACH   FL   32174‐6944
MEADOWS, WILLIAM F        822 S 20TH AVE                                                                                       MAYWOOD        IL   60153‐1712
MEADOWS, WILLIAM H        200 E SHERMAN AVE                                                                                    FLINT          MI   48505‐2704
MEADOWS, WILLIAM HAROLD
MEADOWS, WILLIAM M        5391 REGENCY DR                                                                                      PARMA          OH 44129‐5903
MEADOWVALE AUTO REPAIR    1705 ARGENTIA RD UNIT 4                                                     MISSISSAUGA ON L5N 3A9
                                                                                                      CANADA
MEADS JR, JACK M          PO BOX 515                                                                                           SEARS          MI   49679‐0515
MEADS, JACK L             126 BAILEY DR                                                                                        ADRIAN         MI   49221‐9674
MEADS, MARSHALL M         7523 LAWRENCE HWY                                                                                    VERMONTVILLE   MI   49096‐9533
MEADS, RAYMOND E          2408 PESEK RD                                                                                        EAST JORDAN    MI   49727‐8817
MEADVILLE FORG/MEADV      SALES DEPARTMENT                  P.O. BOX 459‐D                                                     MEADVILLE      PA   16335
MEADVILLE FORGING CO      15309 BALDWIN STREET EXT                                                                             MEADVILLE      PA   16335‐9401
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Name                             Address1                          Address2              Address3       Address4         City                    State Zip
MEADVILLE FORGING GR             2401 STANTONSBURG RD SE                                                                 WILSON                   NC 27893‐8414
MEADWESTVACO CORPORATION         AMY VOJTECKY                      11013 W BROAD ST                                      GLEN ALLEN               VA 23060‐5937
MEADWESTVACO CORPORATION         C/O GEORGE F SANDERSON III        ELLIS & WINTERS LLP   PO BOX 33550                    RALEIGH                  NC 27636
MEAGAN FIELDEN
MEAGAN N DUNCAN                  26273 ETONA VE                                                                          DEARBORN HTS            MI   48125‐1444
MEAGHER COUNTY TREASURER         PO BOX 429                                                                              WHITE SULPHUR SPRINGS   MT   59645‐0429
MEAGHER DAVID                    363 TORTOISE DR                                                                         HOWELL                  MI   48843‐6997
MEAGHER, ALICE M                 12621 ANGEL OAK DR                C/O PATRICIA WATTS                                    HUNTERSVILLE            NC   28078‐7851
MEAGHER, CHRISTOPHER M           15675 STONEHOUSE CIR                                                                    LIVONIA                 MI   48154‐1533
MEAGHER, CLARENCE P              2248 S 380 E                                                                            ANDERSON                IN   46017‐9727
MEAGHER, DAVID A                 2300 COOLEY LAKE RD                                                                     MILFORD                 MI   48381‐1355
MEAGHER, DAVID J                 363 TORTOISE DR                                                                         HOWELL                  MI   48843‐6997
MEAGHER, JODY K                  3873 UTAH DR                                                                            BAY CITY                MI   48706‐1708
MEAGHER, JODY KAY                3873 UTAH DR                                                                            BAY CITY                MI   48706‐1708
MEAGHER, JOSEPH D                7 EARLY DRIVE                                                                           PORTSMOUTH              VA   23701‐1617
MEAGHER, JOSEPH D                7 EARLY DR                                                                              PORTSMOUTH              VA   23701‐1617
MEAGHER, KENNETH J               PO BOX 61                                                                               DUNDEE                  MI   48131‐0061
MEAGHER, MICHAEL B               3614 ESTATES DR                                                                         TROY                    MI   48084‐1123
MEAGHER, RICHARD L               8919 BEATRICE ST                                                                        LIVONIA                 MI   48150‐4047
MEAGHER, RICHARD P               73 ASPEN WAY                                                                            ITHACA                  NY   14850‐9545
MEAGHER, SHIRLEY                 34 CHIDSEY DR                                                                           NORTH BRANFORD          CT   06471‐1268
MEAGHUN DARAB                    3940 HAZEL TER                                                                          WEST BLOOMFIELD         MI   48323‐1036
MEAHL, ALICE M                   PO BOX 531                                                                              FARMINGDALE             NY   11735‐0531
MEAHL, ALICE M                   3 FERN AVE                                                                              BAYSHORE                NY   11706
MEAHL, BRYAN G                   2327 HESS RD                                                                            APPLETON                NY   14008‐9639
MEAKIN, ANN L                    39229 ROSS ST                                                                           LIVONIA                 MI   48154‐4740
MEAKIN, JOANN T                  7542 STATE ROUTE 305 NE                                                                 BURGHILL                OH   44404‐9738
MEAKINGS, JOYCE M.               18759 NORTH WAY                                                                         ROSEVILLE               MI   48066‐1013
MEAKINGS, JOYCE M.               18759 NORTHWAY ST                                                                       ROSEVILLE               MI   48066‐1013
MEAL, BERTHA B                   7614 CHESTNUT RIDGE RD                                                                  LOCKPORT                NY   14094‐3508
MEAL, JACKIE R                   732 W MCKENZIE RD                                                                       GREENFIELD              IN   46140‐1045
MEAL, JOHN D                     4507 N FRONTAGE RD                                                                      FAIRLAND                IN   46126‐9634
MEALEY, EUGENE M                 1018 CHANTILLY LN                                                                       ANDERSON                SC   29625‐5804
MEALEY, MICHAEL                  1200 RIDEAU RD                                                                          ANDERSON                SC   29625‐5843
MEALEY, MICHAEL J                2126 LARKMOOR ST                                                                        LORAIN                  OH   44052‐3124
MEALIE F SIZEMORE                2216 ACOSTA ST                                                                          KETTERING               OH   45420
MEALING JR, ROBERT C             9315 PANAMA AVE                                                                         YPSILANTI               MI   48198‐3231
MEALING JR, ROBERT CHARLES       9315 PANAMA AVE                                                                         YPSILANTI               MI   48198‐3231
MEALING, MONICA F                9649 OZGA RD                                                                            ROMULUS                 MI   48174
MEALING, PERCY S                 9649 OZGA STREET                                                                        ROMULUS                 MI   48174‐1337
MEALING, PERCY SIGMUND           9649 OZGA STREET                                                                        ROMULUS                 MI   48174‐1337
MEALING, RACQUEL RIANNA          9315 PANAMA AVE                                                                         YPSILANTI               MI   48198‐3231
MEALING, SHAVONN NICOLE          9649 OZGA STREET                                                                        ROMULUS                 MI   48174‐1337
MEALMAN, RONALD J                26180 W CEDAR NILES CIR                                                                 OLATHE                  KS   66061‐9396
MEALOR, GARNET J                 5551A KNOB ROAD                                                                         NASHVILLE               TN   37209‐4519
MEALOR, GARY E                   PO BOX 74                                                                               GUILFORD                IN   47022‐0074
MEALOR, JAMES H                  251 HEBRON CHURCH RD                                                                    COMMERCE                GA   30530‐7457
MEALS JR, RAYMOND C              601 SUE ANN LN                                                                          BURLESON                TX   76028‐6535
MEALS NANCY                      306 N JEFFERSON ST                                                                      MADISON                 MO   65263‐1050
MEALS ON WHEELS ASSOCIATION OF   ENID BORDEN                       203 SOUTH STATION                                     ALEXANDRIA              VA
AMERICA
MEALS ON WHEELS DELAWARE         100 W 10TH ST STE 106                                                                   WILMINGTON              DE 19801‐1632
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Name                           Address1                            Address2                        Address3           Address4                City              State Zip
MEALS ROBERT L                 MEALS, ROBERT L                     2325 GRANT BUILDING 310 GRANT                                              PITTSBURGH         PA 15219
                                                                   STREET
MEALS, G E                     BOX 89 ROUTE 1                                                                                                 HUNTSVILLE        MO   65259
MEALS, JAMES D                 11867 SNAKE RD                                                                                                 ATHENS            AL   35611‐7947
MEALY, PHILIP B                3758 KINNARD DRIVE                                                                                             ATLANTA           GA   30360‐1506
MEAN, EVELYN M                 2111 S LIVERNOIS RD                                                                                            ROCHESTER HLS     MI   48307‐3756
MEANES, GEORGE S               4132 WISNER ST                                                                                                 SAGINAW           MI   48601‐4250
MEANEY PAUL J (667471)         THORNTON EARLY & NAUMES             100 SUMMER ST LBBY 3                                                       BOSTON            MA   02110‐2104
MEANI GRAZIELLA                VIA GIOVANNI XXIII 16                                                                  44029 PORTO GARIBALDI
                                                                                                                      (FE) ITALY
MEANOR, CATHERINE M            3804 WARWICK CT                                                                                                MOON TWP          PA 15108‐8012
MEANS INC.                     315 PENNSYLVANIA AVE E                                                                                         WARREN            PA 16365‐2740
MEANS INDUS/SAGINAW            3715 E WASHINGTON RD                                                                                           SAGINAW           MI 48601‐9623
MEANS INDUSTRIES INC           BRAD YOUNG X2478                    3715 E. WASHINGTON ROAD                            APODACA NL 66600
                                                                                                                      MEXICO
MEANS INDUSTRIES INC           1860 S JEFFERSON AVE                                                                                           SAGINAW           MI 48601‐2824
MEANS INDUSTRIES INC           BRAD YOUNG                           3715 E WASHINGTON RD                                                      SAGINAW           MI 48601‐9623
MEANS INDUSTRIES INC           BRAD YOUNG                           MELVINDALE PLANT               19500 ALLEN ROAD   KITCHNER ON CANADA
MEANS INDUSTRIES INC           CHRIS REISTER X2471                  511 MORTON STREET                                                         FRUITPORT         MI   49415
MEANS INDUSTRIES INC           3715 E WASHINGTON RD                                                                                           SAGINAW           MI   48601‐9823
MEANS INDUSTRIES INC           CHRIS REISTER X2471                  511 MORTON ST                                                             BAY CITY          MI   48706‐5350
MEANS INDUSTRIES INC           ATTN: RICH KOBMAN                    1860 S JEFFERSON AVE                                                      SAGINAW           MI   48601‐2824
MEANS INDUSTRIES INC.          GARY DIETZ                           1860 S JEFFERSON AVE                                                      SAGINAW           MI   48601‐2824
MEANS INDUSTRIES INC.          GARY DIETZ                           1860 S. JEFFERSON AVE.                                                    BOSTON            MA
MEANS INDUSTRIES INC.          3715 E WASHINGTON RD                                                                                           SAGINAW           MI   48601‐9623
MEANS INDUSTRIES‐‐VASSAR PLT   CAROLINE WISE                        872 EAST HURON ST                                                         HOWELL            MI   48843
MEANS INDUSTRIES/MI            3715 E WASHINGTON RD                                                                                           SAGINAW           MI   48601‐9623
MEANS JERRY                    RR 3 BOX 1897                                                                                                  STILWELL          OK   74960‐9567
MEANS JR, WORTHY               2932 HOOVER AVE                                                                                                DAYTON            OH   45407‐5407
MEANS KNAUS L.L.C.             8080 NORTH CENTRAL EXPRESSWAY, SUITE ATTN: PROPERTY MANAGER                                                    DALLAS            TX   75206
                               1010
MEANS KNAUS LLC                8080 NORTH CENTRAL EXPRESSWAY, SUITE ATTN: PROPERTY MANAGER                                                    DALLAS            TX   75206
                               1010
MEANS LORNE                    406 BUENA VISTA WAY                                                                                            WOODLAND          CA   95695‐5216
MEANS SEEDING INC              PO BOX 1024                                                                                                    GILLETTE          WY   82717‐1024
MEANS STAMP/SAGINAW            1860 S JEFFERSON AVE                                                                                           SAGINAW           MI   48601‐2824
MEANS YVONNE                   14203 WESTGATE DR                                                                                              REDFORD           MI   48239‐2856
MEANS, AARON R                 141 SOUTH ROANOKE AVENUE                                                                                       YOUNGSTOWN        OH   44515‐3546
MEANS, BRENDA T                210 MAIN ST                                                                                                    GORDON            OH   45304‐9522
MEANS, BULAH M                 9802 S MORGAN ST                                                                                               CHICAGO           IL   60643‐1543
MEANS, BULAH M                 9802 SOUTH MORGAN                                                                                              CHICAGO           IL   60643
MEANS, CHARLES E               4623 CLIFTY DR                                                                                                 ANDERSON          IN   46012‐9707
MEANS, CLAUDE C                2248 KIEV CT                                                                                                   W BLOOMFIELD      MI   48324‐1338
MEANS, DALE L                  8 ALABAMA PL                                                                                                   LOCKPORT          NY   14094‐5702
MEANS, DENNIS                  40478 W NOVAK LN                                                                                               MARICOPA          AZ   85238‐6686
MEANS, DOROTHA B               401 CUMBERLAND AVE APT 901                                                                                     PORTLAND          ME   04101‐2874
MEANS, EDWARD M                PO BOX 473                           3351 MADISON                                                              CARROLLTON        MI   48724‐0473
MEANS, ELIZABETH               2248 KIEV CT                                                                                                   WEST BLOOMFIELD   MI   48324‐1338
MEANS, ELIZABETH C             PO BOX 355                                                                                                     NEWMAN            IL   61942‐0355
MEANS, ERNIE J                 10729 HEETER RD                                                                                                BROOKVILLE        OH   45309‐8398
MEANS, ESTHER M                7458 KING GEORGE DR                                                                                            INDIANAPOLIS      IN   46260‐3438
MEANS, GENEVA                  11917 SYCAMORE AVE                                                                                             GRANDVIEW         MO   64030‐1345
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Name                                  Address1                           Address2                     Address3   Address4         City            State Zip
MEANS, GEORGE R                       3623 N RICHARDT AVE                                                                         INDIANAPOLIS     IN 46226‐5865
MEANS, GLORIA A                       23070 BRANDYWYNNE ST                                                                        SOUTHFIELD       MI 48033‐2917
MEANS, GREGORY J                      8844 PLEASANT PLAIN RD                                                                      BROOKVILLE       OH 45309‐9215
MEANS, HAROLD                         175 PARTON RD                                                                               LIBERTY          KY 42539‐6800
MEANS, HARTWELL C                     PO BOX 340                                                                                  NEW CARLISLE     OH 45344‐0340
MEANS, HUNCLES                        253 LANDON ST                                                                               BUFFALO          NY 14208‐2216
MEANS, JAMES E                        PO BOX 113                                                                                  METCALF           IL 61940‐0113
MEANS, JAMES O                        1525 N LINCOLN AVE                                                                          SALEM            OH 44460‐1338
MEANS, JERRY L                        3485 STATE ROUTE 49                                                                         ARCANUM          OH 45304‐9000
MEANS, JUDITH A                       8103 KNOLLCREEK CIR.                                                                        INDIANAPOLIS     IN 46256‐2196
MEANS, LAVILLA J                      3169 MERRIWEATHER ST NW                                                                     WARREN           OH 44485‐2514
MEANS, LINDA G                        117 CLIFFSIDE DR APT D                                                                      MONROEVILLE      PA 15146‐3034
MEANS, LINDA L                        673 DAVIDS LN                                                                               MANSFIELD        OH 44905‐1936
MEANS, LOUISE                         1616 CLAYS MILL RD                                                                          LEXINGTON        KY 40503‐1249
MEANS, MADELINE D                     11802 RED OAK WAY                                                                           OKLAHOMA CITY    OK 73162‐3228
MEANS, MELISSA J                      839 COLLAR PRICE RD NE                                                                      BROOKFIELD       OH 44403‐9522
MEANS, MICHAEL D                      1113 HUNTER AVE                                                                             YPSILANTI        MI 48198‐3187
MEANS, MILTON E                       6852 STATE HIGHWAY 246                                                                      SPENCER          IN 47460‐6215
MEANS, MINNIE                         566 OAK RIDGE TRAILS CT                                                                     BALLWIN          MO 63021‐415
MEANS, ORA E                          3734 N PARK AVE                                                                             INDIANAPOLIS     IN 46205‐3520
MEANS, PAMELA                         41275 OLD MICHIGAN AVE LOT 1215M                                                            CANTON           MI 48188
MEANS, PHYLLIS N                      28439 W KALONG CIR                                                                          SOUTHFIELD       MI 48034‐5659
MEANS, PRINCESS E                     20335 VERNIER RD APT 4                                                                      HARPER WOODS     MI 48225‐1455
MEANS, RACHEL A                       223 VERNAL AVE                                                                              MILTON           WI 53563‐1246
MEANS, RAYMOND L                      3955 RADTKA DR SW                                                                           WARREN           OH 44481‐9207
MEANS, REXFORD L                      6816 STATE HIGHWAY 246                                                                      SPENCER          IN 47460‐6215
MEANS, ROY A                          7312 WEST INTERSTATE BLOCK ROAD                                                             MADISON          IN 47250
MEANS, RUBY                           6792 LAKEVIEW BLVD APT#18306                                                                WESTLAND         MI 48185
MEANS, RUBY E                         3109 SIEVEKING RD                                                                           NEW ALBANY       IN 47150‐4237
MEANS, THOMAS C                       2979 NAZARETH RD                                                                            WELLFORD         SC 29385‐9107
MEANS, WILLIE L                       3867 E 186TH ST                                                                             CLEVELAND        OH 44122‐6558
MEANS, YVONNE                         14203 WESTGATE DR                                                                           REDFORD          MI 48239‐2856
MEANSER, IRA L                        PO BOX 38639                                                                                SAINT LOUIS      MO 63138‐0639
MEANSER, MINNIE P                     10047 GROSVENOR DR                                                                          SAINT LOUIS      MO 63137‐4107
MEANY, VICKI A                        2980 BANGOR RD                                                                              BAY CITY         MI 48706‐1851
MEAPHIE TOWNSEND                      3019 PANGBORN RD                                                                            DECATUR          GA 30033‐1813
MEARDITH, CHERYL T                    14338 PINE VALLEY RD                                                                        ORLANDO          FL 32826‐5277
MEARDITH, WILLIAM D                   14338 PINE VALLEY RD                                                                        ORLANDO          FL 32826‐2826
MEARDITH, WILLIAM H                   8977 STODDARD HAYES RD                                                                      KINSMAN          OH 44428
MEARES, MARGARET M                    1320 PARKVIEW LANE                                                                          LARGO            FL 33770‐4412
MEARES, MARGARET M                    6225 CAMPHOR AVE                                                                            SARASOTA         FL 34231‐7101
MEARES, SARAH A                       520 W 23RD AVE                                                                              GULF SHORES      AL 36542‐3032
MEARIG ELVIN D (ESTATE OF) (627977)   COADY LAW FIRM                     205 PORTLAND ST                                          BOSTON           MA 02114
MEARIG, ELVIN D                       COADY LAW FIRM                     205 PORTLAND ST                                          BOSTON           MA 02114
MEARIN BANYLOU                        2228 WOODLAND AVE                                                                           ROYAL OAK        MI 48073‐3837
MEARL ASHTON                          BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
MEARL BRENNEMAN                       3525 SHEFFIELD DR                                                                           JANESVILLE       WI 53546‐9384
MEARL MARLOW                          313 MISSION HILL DR                                                                         FORT WAYNE       IN 46804‐6434
MEARL SCHICK                          4206 SE HIGHWAY 69                                                                          LATHROP          MO 64465‐8577
MEARLE CORNELIUS                      403 N LINCOLN ST                                                                            DURAND           MI 48429‐1104
MEARLE MCCOY                          PO BOX 7444                                                                                 GREENWOOD        IN 46142‐6424
MEARLY M HERRING                      3122 GARVIN RD 3                                                                            DAYTON           OH 45405
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Name                         Address1                            Address2                       Address3   Address4                City              State Zip
MEARNIC, JAMES R             1860 1ST ST                                                                                           SAINT HELEN        MI 48656‐9739
MEARNIC, THOMAS J            50 E MAHAN AVE                                                                                        HAZEL PARK         MI 48030‐1151
MEARNS, DANIELLE             22012 VILLAGE CT                                                                                      TRENTON            MI 48183‐3750
MEARNS, NANCY                9835 DENNE ST                                                                                         LIVONIA            MI 48150‐2908
MEARNS, ROGER K              35147 ELMIRA ST                                                                                       LIVONIA            MI 48150‐2643
MEARS CLEANING SERVICE INC   1229 EASTON POINT DR                                                                                  GREENWOOD          IN 46142‐1874
MEARS COLBERT E (439327)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA 23510
                                                                 STREET, SUITE 600
MEARS MOTOR LEASING          3905 EL REY RD                                                                                        ORLANDO           FL   32808‐7917
MEARS MOTOR LIVERY CORP      3905 EL REY RD                                                                                        ORLANDO           FL   32808‐7917
MEARS MOTOR LIVERY CORP      3905 EI REY ROAD                                                                                      ORLANDO           FL
MEARS, BERNICE E             71 REMICK PKWY E APT #A                                                                               LOCKPORT          NY   14094‐3972
MEARS, BETTY J               10329 CROUSE RD, BOX 52                                                                               HARTLAND          MI   48353
MEARS, COLBERT E             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK           VA   23510
                                                                 STREET, SUITE 600
MEARS, DAVID M               10814 WALDEN FERRY RD                                                                                 GREENWOOD         LA   71033‐2409
MEARS, DAVID MITCHELL        10814 WALDEN FERRY RD                                                                                 GREENWOOD         LA   71033‐2409
MEARS, EDWARD A              476 SAVANNAH DR                                                                                       GREENWOOD         IN   46142‐1993
MEARS, EVELYN                6510 WAYBRIDGE CT                                                                                     INDIANAPOLIS      IN   46237‐2973
MEARS, GARETH E              10720 E COUNTY ROAD 200 N                                                                             INDIANAPOLIS      IN   46234
MEARS, GARETH E              10720 E CORD 200 N                                                                                    INDIANAPOLIS      IN   46234
MEARS, GARY D                8740 HIGHWAY 131                                                                                      ODESSA            MO   64076‐7331
MEARS, HUBERT D              504 DAWN PL                                                                                           LEBANON           TN   37087‐9072
MEARS, JAMES T               121 BROWN ST                                                                                          ELKTON            MD   21921‐5404
MEARS, JERRY W               259 ALFRED ST                                                                                         MONTROSE          MI   48457‐9154
MEARS, JOSEPH A              5972 JEFFERSON RD                                                                                     NORTH BRANCH      MI   48461‐8981
MEARS, LINDA M               433 E HEMPHILL RD                                                                                     FLINT             MI   48507‐2628
MEARS, LINDA S               504 DAWN PL                                                                                           LEBANON           TN   37087‐9072
MEARS, MAXINE M              7667 WINDOGA LAKE DR                                                                                  WEIDMAN           MI   48893‐8207
MEARS, MICHAEL S             6273 MYRON RD                                                                                         GRANT TOWNSHIP    MI   48032‐2207
MEARS, RAYMOND W             1185 SOUTHERN BLVD NW                                                                                 WARREN            OH   44485‐2247
MEARS, ROBIN A               3556 SHILOH RD NE                                                                                     RIO RANCHO        NM   87144
MEARS, ROBIN A               3556 SHILOH ROAD NORTHEAST                                                                            RIO RANCHO        NM   87144‐2572
MEARS, ROGER L               11842 DIAMOND MILL RD                                                                                 UNION             OH   45322‐9713
MEARS, ROSEMARY              35861 SPRUCE ST                                                                                       NEWARK            CA   94560‐1037
MEARS, STANLEY N             14198 BRONTE DR S                                                                                     SHELBY TOWNSHIP   MI   48315‐3614
MEARS, WILLIAM G             1100 COUNTRY CLUB DR                                                                                  BUTLER            MO   64730‐1981
MEARS, WILLIAM T             4144 N HENDERSON RD                                                                                   DAVISON           MI   48423‐8512
MEARY ASBURY                 619 NEUBERT AVE                                                                                       FLINT             MI   48507‐1716
MEARY COLEMAN                3300 SHAMROCK LN                                                                                      FOREST HILL       TX   76119‐7133
MEAS FRANCE                  105 AVENUE DU GENERAL EISENHOW      BOITE POSTAL 705                          TOULOUSE FR 31100
                                                                                                           FRANCE
MEAS FRANCE                  105 AVENUE DU GENERAL EISENHOWER                                              TOULOUSE 31100 FRANCE

MEASE SR, BRIAN M            1715 LYNTZ RD                                                                                         WARREN            OH   44481
MEASE, DOROTHY H             4114 E MANDAN ST                                                                                      PHOENIX           AZ   85044‐1922
MEASE, JAMES I               122 HOLIDAY LN                                                                                        AUBURNDALE        FL   33823
MEASE, ROBERT                GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                                      SAGINAW           MI   48604‐2602
                                                                 260
MEASEL, AUBREY D             9700 FERRY RD RT 1                                                                                    WAYNESVILLE       OH 45068
MEASEL, EDWARD D             7821 TRESTLEWOOD DR                                                                                   LANSING           MI 48917
MEASEL, FRANCES E            2712 MITCHELL AVE                                                                                     CLOVIS            CA 93611‐6928
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Name                              Address1                           Address2                       Address3            Address4               City                  State Zip
MEASEL, GARY K                    26524 HOLLY HILL DR                                                                                          FARMINGTON HILLS       MI 48334‐4521
MEASEL, HARLOW L                  2611 SE 33RD ST                                                                                              OKEECHOBEE             FL 34974‐6706
MEASEL, HOWARD L                  1255 BRENT RD                                                                                                VOLANT                 PA 16156‐1603
MEASEL, HOWARD R                  1255 BRENT RD                                                                                                VOLANT                 PA 16156‐1603
MEASEL, JUDY A                    16431 OAK HILL DR                                                                                            FENTON                 MI 48430‐9014
MEASEL, JUDY A                    16431 OAKHILL DRIVE                                                                                          FENTON                 MI 48430‐9014
MEASEL, MICHAEL J                 7888 TUBSPRING RD                                                                                            ALMONT                 MI 48003‐8207
MEASEL, MICHAEL JOSEPH            7888 TUBSPRING RD                                                                                            ALMONT                 MI 48003‐8207
MEASEL, RICKY F                   7645 JEANETTE DR                                                                                             SHELBY TOWNSHIP        MI 48317‐2421
MEASEL, SALLY J                   11068 CONTINENTAL AVE                                                                                        WARREN                 MI 48089‐1735
MEASER, SHARON L                  150 HAYNES RD                                                                                                WEST HARTFORD          CT 06117‐2618
MEASON, WILLIAM L                 2280 COSTLEY MILL RD NE                                                                                      CONYERS                GA 30013‐1051
MEASUREMENT COMPUTING CORP        10 COMMERCE WAY STE 1008                                                                                     NORTON                 MA 02766
MEASUREMENT GR/HNGTN              PO BOX 7007                        C/O STRESS ANALYSIS SERVICES                                              HUNTINGTN WDS          MI 48070‐7007
MEASUREMENT GR/RLEGH              PO BOX 27777                                                                                                 RALEIGH                NC 27611‐7777
MEASUREMENT IN/BLAIR              PO BOX 163‐326                                                                                               BLAIRSVILLE            PA 15717
MEASUREMENT INSTRUMENT EAST INC   100 S WALNUT ST                                                                                              BLAIRSVILLE            PA 15717‐1442
MEASUREMENT INSTRUMENTS INC       37570 HILLS TECH DR                                                                                          FARMINGTON HILLS       MI 48331‐5726
MEASUREMENT SPECIALTIES INC       10522 SUCCESS LN                                                                                             WASHINGTON TOWNSHIP    OH 45458‐3561
MEASUREMENT SPECIALTIES INC       105 AVENUE DU GENERAL EISENHOWER                                                      TOULOUSE FR 31100
                                                                                                                        FRANCE
MEASUREMENT SPECIALTIES INC       GAIL STATHERS                      1000 LUCAS WAY                 SCHAEVITZ SENSORS                          HAMPTON               VA   23666‐1573
MEASUREMENT SPECIALTIES INC       GAIL STATHERS                      SCHAEVITZ SENSORS              1000 LUCAS WAY                             COOKEVILLE            TN   38502
MEASUREMENT SPECIALTIES INC       1000 LUCAS WAY                                                                                               HAMPTON               VA   23666‐1573
MEASUREMENT SPECIALTIES, INC.,    MR. SERGE WEISS                    10 CARRIAGE ST                                                            HONEOYE FALLS         NY   14472‐1039
HUMIREL DIVISION
MEASUREMENT TECHNOLOGY LABORAT    10901 NESBITT AVE S                                                                                          MINNEAPOLIS           MN 55437‐3125

MEASUREMENT TECHNOLOGY            10901 NESBITT AVE S                                                                                          MINNEAPOLIS           MN 55437‐3125
LABORATORIES
MEASUREMENT TECHNOLOGY            10901 NESBITT AVE S                                                                                          MINNEAPOLIS           MN 55437‐3125
LABORATORIES LLC
MEASUREMENT/MI2                   44103 GROESBECK HWY.                                                                                         MOUNT CLEMENS         MI   48043
MEASUREMENTS GROUP INC            PO BOX 65154                                                                                                 CHARLOTTE             NC   28265‐0154
MEASUREMENTS TECHNOLOGY INC       4240 LOCH HIGHLAND PKWY NE                                                                                   ROSWELL               GA   30075‐2042
MEASURING UP BANKING COMPANY      12763 ILENE ST                                                                                               DETROIT               MI   48238‐3077
MEATH, WILLIAM K                  2692 MCKNIGHT RD                                                                                             CULLEOKA              TN   38451‐2607
MEAUT, VICTOR B                   115 FERNWOOD CIR                                                                                             DAPHNE                AL   36526‐8125
MEAUX LEON L (663298)             ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                               SOUTHFIELD            MI   48075‐3727
MEAUX, LEON L                     ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                               SOUTHFIELD            MI   48075‐3727
MEBANE, DONALD                    3668 E FEATHER AVE                                                                                           GILBERT               AZ   85234‐2933
MEBANE, EARL T                    2601 FAIRPORT AVE                                                                                            DAYTON                OH   45406‐1604
MEBANE, WILLIAM B                 36 HADDONFIELD RD                                                                                            SHORT HILLS           NJ   07078‐3402
MEBANE, WILLIE N                  PO BOX 2827                                                                                                  ANDERSON              IN   46018‐2827
MEC‐TRIC CONTROL CO OF GEORGIA    5680 OAKBROOK PKWY STE 170         PO BOX 1225                                                               NORCROSS              GA   30093‐1840
MECAFIN CORP                      C/O ETUDE METZGER & VERNET         20 RUE DU CONSEIL GENERAL ATTN PO BOX 5310         CH‐1211 GENEVA 11
                                                                     EMMANUEL VERNET                                    SWITZERLAND
MECANICK EXCEL ENRG               910 BLVD TADOUSSAC                                                                    CHICOUTIMI ‐ NORD QC
                                                                                                                        G7H 5A8 CANADA
MECANIK S.J.P.                    2710 AVE DES PIONNIERS                                                                BALMORAL NB E8E 1C3
                                                                                                                        CANADA
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MECANIQUE 2000 ENR.                   81 LOUIS ALMA PEPIN                                                                          ST. LOUIS DE FRANCE QC
                                                                                                                                   G8T 9R6 CANADA
MECANIQUE 500 ENR.                    3050 BOUL. DES FORGES                                                                        TROIS‐ RIVIERES QC G8W
                                                                                                                                   1V5 CANADA
MECANIQUE AUTOMOBLE HUGO              143 RUE PRINCIPALE                                                                           GATINEAU QC J9H 3M6
CAUMARTIN                                                                                                                          CANADA
MECANIQUE DUBOSE (2004) INC.          25 RUE FISET                                                                                 JONQUIERE QC G7S 5W8
                                                                                                                                   CANADA
MECANIQUE F.C. INC                    3208 BOUL FRONTENAC O                                                                        THETFORD MINES QC G6H
                                                                                                                                   2C4 CANADA
MECANIQUE GENERALE ST‐ LOUIS ENR.     1226 BOUL DU CURE‐LABELLE                                                                    BLAINVILLE QC J7C 2N4
                                                                                                                                   CANADA
MECANIQUE HI TECH ENR.                600A RUE NOISEUX                                                                             TROIS‐RIVIERES QC G9A
                                                                                                                                   2V1 CANADA
MECANIQUE L R C                       14470 BOUL. DU CUR╔‐LABELLE                                                                  MIRABEL QC J7J 1P4
                                                                                                                                   CANADA
MECANKO, SHIRLEY A                    13 CENTRAL AVE                                                                                                         NEW CASTLE     DE 19720‐1151
MECANO RAPID GMBH                     PRAFFENGRUND DISCHINGERSTR 9                                                                 HEIDELBERG 69123
                                                                                                                                   GERMANY
MECANOTECH L.G                        150 CH FREEMAN                                                                               GATINEAU QC J8Z 2B4
                                                                                                                                   CANADA
MECANUM INC                           3523 ALFRED DESROCHERS                                                                       SHERBROOKE CANADA PQ
                                                                                                                                   J1K 0A2 CANADA
MECAPLAST                             4‐6 AVE PRINCE HEREDITAIRE ALBERT                                                            MONTE CARLO 98000
                                                                                                                                   MONACO
MECAPLAST                             4‐6 AVENUE ALBERT II                                                                         MONACO MC 98014
                                                                                                                                   MONACO
MECAPLAST                             DANIEL JESTIN                       4‐6 AVE PRINCE HEREDITAIRE AL    QUARTIER FONVIELLE      MONTE CARLO MONACO
MECAPLAST                             KM 117 AUTOPISTA MEXICO PUEBLA NAVE                                                          CUAUTLANCINGO PU 72710
                                                                                                                                   MEXICO
MECAPLAST                             KM 117 AUTOPISTA MEXICO PUEBLA NAVE 23‐A COL PARQUE INDSTL FINSA 2                           CUAUTLANCINGO PU 72710
                                                                                                                                   MEXICO
MECAPLAST                             TOM ROY                              KM 117 AUTOPISTA MEXICO PUEBLA 23‐A COL PARQUE INDSTL                             BOONE          NC 28607
                                                                                                          FINSA 2
MECAPLAST                             25901 MEADOWBROOK                                                                                                      NOVI           MI 48375
MECAPLAST DIFFUSION                   DANIEL JESTIN                        4‐6 AVE PRINCE HEREDITAIRE AL   QUARTIER FONVIELLE      C P 50000 TOLUCA MEXICO
MECAPLAST DIFFUSION                   4 6 AVENUE PRINCE HEREDITAIRE        ALBERT                                                  98014 MONACO
MECAPLAST DIFFUSION                   4‐6 AVENUE ALBERT II                                                                         MONACO 98014 MONACO
MECAPLAST DIFFUSION                   ZAC LA CROISETTE                                                                             LENS, 62300 FRANCE
MECAPLAST USA                         25901 MEADOWBROOK                                                                                                      NOVI           MI   48375‐1853
MECAPLAST USA INC                     25901 MEADOWBROOK RD                                                                                                   NOVI           MI   48375‐1853
MECASKEY, CHARLES B                   328 ELISHA CT                                                                                                          BEDFORD        TX   76021‐4130
MECCA                                 580 LUIS MUNOZ MARIN BLVD                                                                                              JERSEY CITY    NJ   07310‐1416
MECCA INTERNATIONAL HOLDING (HK) LT   2‐16 FA YUEN ST                                                                              MONGKOK KOWLOON,
                                                                                                                                   HONG KONG, CHINA
MECCA INTERNATIONAL UK LTD            215 HUANGSHAN WEST RD                BEILUN DISTRICT                                         NINGBO ZHEJIANG
                                                                                                                                   PROVINCE CN 315800
                                                                                                                                   CHINA (PEOPLE'S REP)
MECCA INTERNATIONAL UK LTD            NO 666 HENGSHAN WEST RD DAG CITY                                                             NINGBO ZHEJIANG CN
                                                                                                                                   315800 CHINA (PEOPLE'S
                                                                                                                                   REP)
MECCA, DOROTHY L                      12029 WATERFORD LN                                                                                                     CARMEL         IN   46033‐5501
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Name                                Address1                          Address2                      Address3                  Address4                 City               State Zip
MECCA, JOSEPH F                     6439 BARTZ RD                                                                                                      LOCKPORT            NY 14094‐9507
MECCHI, VALERIANO E                 23 DEB ST                                                                                                          PLAINVIEW           NY 11803‐5919
MECCOM IND/CLNTN TWP                22797 MORELLI DR                                                                                                   CLINTON TOWNSHIP    MI 48036‐1187
MECCOM INDUSTRIAL PRODUCTS CO       22797 MORELLI DR                                                                                                   CLINTON TOWNSHIP    MI 48036‐1187
MECEL AB                            MOLNDALSVAGEN 36                                                                          GOTHENBURG 41263
                                                                                                                              SWEDEN
MECEL AB                            FORRADSGATAN 5                                                                            AMAL S 662 22 SWEDEN
MECFOR INC                          1788 RUE MITIS                                                                            CHICOUTIMI CANADA PQ
                                                                                                                              G7K 1H5 CANADA
MECH TRONIC                         323 COOLIDGE DR                                                                                                    CENTERPORT         NY    11721‐1303
MECH TRONIC SERVICES INC            323 COOLIDGE DR                                                                                                    CENTERPORT         NY    11721‐1303
MECH, MICHAEL R                     1252 ANEE DR                                                                                                       ROCKFORD           IL    61108‐4364
MECH, RANDOLPH J                    29269 GLEN OAKS BLVD E                                                                                             FARMINGTON HILLS   MI    48334‐2930
MECHADYNE INTERNATIONAL LTD         PARK FARM TECHNOLOGY CENTRE       KIRTLINGTON OXFORDSHIRE                                 OX5 3JQ ENGLAND GREAT
                                                                                                                              BRITAIN
MECHADYNE INTERNATIONAL LTD         PARK FARM TECHNOLOGY CTR AKEMA    KIRTINGTON                                              OXFORDSHIRE GB OX5 3JQ
                                                                                                                              GREAT BRITAIN
MECHADYNE INTERNATIONAL LTD         PARK FARM TECHNOLOGY CENTRE                                                               KIRTLINGTON
                                                                                                                              OXFORDSHIRE OX5 3JQ
                                                                                                                              GREAT BRITAIN
MECHAM, EARL L                      30 NORTH 7TH EAST                                                                                                  SODA SPRINGS       ID    83276‐1311
MECHAM, ERNEST L                    746 SPENCER LN                                                                                                     LINDEN             MI    48451‐8507
MECHAM, PAUL H                      15620 CRYSTAL DOWNS E                                                                                              NORTHVILLE         MI    48168‐9636
MECHAM, RICHARD L                   29451 STOCKTON AVE                                                                                                 FARMINGTON HILLS   MI    48336‐2756
MECHANIC EXPERTS                    516 S SAN GABRIEL BLVD                                                                                             SAN GABRIEL        CA    91776‐2720
MECHANICA STIEG                     GLOWACKI, WILLIAM                 5901 CEDAR LAKE RD S                                                             MINNEAPOLIS        MN    55416‐1488
MECHANICA STIEG                     MECHANICA, STIEG                  5901 CEDAR LAKE RD S                                                             MINNEAPOLIS        MN    55416‐1488
MECHANICAL & IND/ELG                1145 JANSEN FARM DR                                                                                                ELGIN              IL    60123‐2596
MECHANICAL & IND/IL                 1145 JANSEN FARM DR                                                                                                ELGIN              IL    60123‐2596
MECHANICAL & INDUSTRIAL FASTENERS   1145 JANSEN FARM DR                                                                                                ELGIN              IL    60123‐2596

MECHANICAL & INDUSTRIAL FASTENERS   BETH EVINGER X239                 365 KEYES AVE                                                                    HAMPSHIRE           IL   60140‐9458

MECHANICAL & INDUSTRIAL FASTENERS   BETH EVINGER X239                 365 KEYS AVENUE                                                                  CHICAGO             IL   60651

MECHANICAL & INDUSTRIAL FASTENERS   1145 JANSEN FARM DR                                                                                                ELGIN               IL   60123‐2596
MIFAST
MECHANICAL & INDUSTRIAL FSTNRS      BETH EVINGER X239                 365 KEYES AVE                                                                    HAMPSHIRE          IL    60140‐9458
MECHANICAL & INDUSTRIAL FSTNRS      BETH EVINGER X239                 365 KEYS AVENUE                                                                  CHICAGO            IL    60651
MECHANICAL CON/ASHLA                1020 THOMPSON RD                  P.O. BOX 425                                                                     ASHLAND CITY       TN    37015‐3923
MECHANICAL DES/BURTN                G‐4033 SOUTH CENTER ROAD                                                                                           BURTON             MI    48519
MECHANICAL DESIGN & ENGINEERIN      G‐4033 S CENTER RD                                                                                                 BURTON             MI    48519
MECHANICAL DY/ANARBR                2301 COMMONWEALTH BLVD.                                                                                            ANN ARBOR          MI    48105
MECHANICAL DYNAMICS INC             PO BOX 712006                                                                                                      CINCINNATI         OH    45271‐2006
MECHANICAL ENGINEERING              RESEARCH INSTITUTE OF THE         RUSSIAN ACADEMY OF SCIENCES   4 MALYI KHARITONJEVSKY PER MOSCOW 101990 RUSSIA
                                                                                                                               RUSSIA
MECHANICAL ENGINEERING              4 NALYI KHARITONYEVSKIY                                                                    MOSCO RU 101830
                                                                                                                               RUSSIAN FEDERATION
MECHANICAL ENGINEERING INSTITUTE OF RUSSIAN ACADEMY OF SCIENCES       NAMED AFTER A.A. BLAGONRAVOV,                            MOSCOW, RUSSIA
THE                                                                   IMASH
MECHANICAL INSULATION SUPPLY I      25301 GLENDALE                                                                                                     REDFORD            MI 48239‐2648
MECHANICAL METHODS                  4324 SKELTON RD                                                                                                    COLUMBIAVILLE      MI 48421‐9780
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Name                               Address1                           Address2                      Address3   Address4             City               State Zip
MECHANICAL POWER CONVERSION LL     6 EMMA ST                                                                                        BINGHAMTON          NY 13905‐2508
MECHANICAL POWER CONVERSION LLC    6 EMMA ST                                                                                        BINGHAMTON          NY 13905‐2508

MECHANICAL RESOURCE GROUP         998 ELM HILL PIKE                                                                                 NASHVILLE          TN 37210‐3502
MECHANICAL SIMULATION CORP
MECHANICAL SIMULATION CORP        912 N MAIN ST                                                                                     ANN ARBOR          MI 48104
MECHANICAL SIMULATION CORPORATION ATTN: CONTRACTS ADMINISTRATOR       709 W HURON ST STE 50                                         ANN ARBOR          MI 48103‐6702

MECHANICAL SIMULATION CORPORATION 328 SOUTH SAGINAW ST.                                                                             MIO                MI 68502

MECHANICAL SIMULATION CORPORATION 709 W HURON ST STE 50                                                                             ANN ARBOR          MI 48103‐6702

MECHANICNET GROUP INC
MECHANICNET GROUP INC              6210 STONERIDGE MAILL RD STE 200                                                                 PLEASANTON         CA    94588‐3236
MECHANICNET GROUP INC              6210 STONERIDGE MALL RD            STE 200                                                       PLEASANTON         CA    94588‐3236
MECHANICNET GROUP INC.             6210 STONERIDGE MALL RD            STE 200                                                       PLEASANTON         CA    94588‐3236
MECHANICS LAUNDRY & SUPPLY         2260 DISTRIBUTORS DR                                                                             INDIANAPOLIS       IN    46241‐5005
MECHANICS UNIFORM RENTAL CO        421 BAYLISS ST                                                                                   MIDLAND            MI    48640‐4543
MECHANISM MFG                      62 ENTERPRISE DR                                                                                 ANN ARBOR          MI    48103‐9503
MECHANIX AUTOWORKS                 1091 BOSTON POST RD                                                                              WEST HAVEN         CT    06516‐2221
MECHANIX UNLIMITED INC.            5001 49TH ST SW                                                                                  GREAT FALLS        MT    59404‐4908
MECHANIX UNLIMITED INC.            5001 49TH ST SW                                                                                  GREAT FALLS        MT    59404‐4908
MECHAW, JAMES R                    1540 COUNTY ROAD 1528                                                                            CULLMAN            AL    35058‐1731
MECHDYNE CORP                      11 E CHURCH ST 4 TH FL                                                                           MARSHALLTOWN       IA    50158
MECHE SCOTTY                       ALLSTATE INSURANCE COMPANY         5333 RIVER RD STE E                                           NEW ORLEANS        LA    70123‐5252
MECHE SCOTTY                       MECHE, SCOTTY                      5333 RIVER RD STE E                                           NEW ORLEANS        LA    70123‐5252
MECHE, SCOTTY
MECHE, SCOTTY                      DENNY F OTWAY III                  5333 RIVER RD STE E                                           NEW ORLEANS         LA   70123‐5252
MECHEL MANFRED                     AGEVIS GMBH                        ALTENHOF 1                               53804 MUCH GERMANY
MECHELLE GUERRA                    3824 N SCHUERBACH RD                                                                             MISSION            TX    78574‐5762
MECHELLE L KISTLER                 3241 DOVE DR SW                                                                                  WARREN             OH    44481
MECHELLE LONSINGER                 1190 SNELL RD                                                                                    LEWISBURG          TN    37091‐6960
MECHEM GLENN H (429437)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA    23510
                                                                      STREET, SUITE 600
MECHEM JR., JAMES O                2335 MADISON AVE.                  APT.311                                                       ANDERSON           IN 46011
MECHEM, GLENN H                    GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510‐2212
                                                                      STREET, SUITE 600
MECHEM, JANE A                     113 DOLPHIN DR E                                                                                 OLDSMAR            FL    34677‐2512
MECHIGIAN JR, GARBIS P             2142 N SPLIT ROCK PL                                                                             TUCSON             AZ    85749‐7902
MECHLE, FRANCES                    2901 HEMLOCK DR                                                                                  WILLOUGHBY HILLS   OH    44094‐9406
MECHLEM, VIRGINIA                  2018 CEDARVILLE RD                                                                               GOSHEN             OH    45122‐9217
MECHLER GEORGE M                   9735 FAWN RUN                                                                                    BRIGHTON           MI    48114‐7541
MECHLER, GEORGE M                  9735 FAWN RUN                                                                                    BRIGHTON           MI    48114‐7541
MECHLER, RITA M                    8470 JUNGMAN RD                                                                                  SAN ANTONIO        TX    78252‐1710
MECHLER, RUSSELL C                 50 SELYE TER                                                                                     ROCHESTER          NY    14613‐1728
MECHLER, SHIRLEY                   137 JAYVEE LANE                                                                                  ROCHESTER          NY    14612‐2213
MECHLER, SHIRLEY                   137 JAY VEE LN                                                                                   ROCHESTER          NY    14612‐2213
MECHLER,GEORGE M                   9735 FAWN RUN                                                                                    BRIGHTON           MI    48114‐7541
MECHLEY, RICHARD A                 7297 PLEASANT RENNER RD                                                                          GOSHEN             OH    45122
MECHLIN JOHN R (439328)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA    23510
                                                                      STREET, SUITE 600
MECHLIN, ELMER W                   815 WEBERTOWN RD                                                                                 LYNCHBURG          OH 45142‐9766
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MECHLIN, JOHN R                   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                                   NORFOLK             VA 23510‐2212
                                                                        STREET, SUITE 600
MECHLING JR, ALBERT E             10775 EAST V W AVENUE                                                                                               VICKSBURG          MI   49097
MECHLING, DEBBIE S                2399 S CANAL ST                                                                                                     NEWTON FALLS       OH   44444‐1810
MECHLING, JACK E                  26995 VALESIDE LN                                                                                                   OLMSTED FALLS      OH   44138‐3126
MECHLING, JEREMY J                2399 S CANAL ST                                                                                                     NEWTON FALLS       OH   44444‐1810
MECHLING, KARL C                  25742 JENNIFER                                                                                                      DETROIT            MI   48239‐1726
MECHLING, LISA A                  285 2ND ST                                                                                                          LAKE MILTON        OH   44429‐9605
MECHLINSKI JR, FRANK J            13276 OLD WYE MILLS RD                                                                                              WYE MILLS          MD   21679‐2020
MECHOSO, OSCAR                    697 HIGHWAY 81 W                                                                                                    MCDONOUGH          GA   30253‐6414
MECHTHILD KUPPERT                 UNTER DER HOHEN FUHR 13                                                                     D‐57319 BAD BERLEBURG
                                                                                                                              GERMANY
MECHTLY, SAMUEL R                 3412 ASHFORD ST                                                                                                     SAN DIEGO          CA   92111‐4815
MECHURA, BETTY J                  5415 LITCHFIELD DRIVE                                                                                               FLINT              MI   48532‐4040
MECHURA, DIANA L                  14268 N LINDEN RD                                                                                                   CLIO               MI   48420‐8824
MECHURA, GARY                     14268 N LINDEN RD                                                                                                   CLIO               MI   48420‐8824
MECHURA, LORI A                   11289 E ATHERTON RD                                                                                                 DAVISON            MI   48423‐9201
MECHURA, THOMAS W                 7479 MILLER RD                                                                                                      SWARTZ CREEK       MI   48473‐1429
MECIA SMITH                       2726 HUFFMAN BLVD                                                                                                   ROCKFORD           IL   61103‐3905
MECIAS, JOSE G                    1801 S OCEAN DR APT 537                                                                                             HALLANDALE BEACH   FL   33009‐4947
MECK MAYS                         PO BOX 501                                                                                                          HEIDRICK           KY   40949‐0501
MECK, VIOLA                       2809 MICHAEL DR                                                                                                     BRUNSWICK          OH   44212‐2352
MECKALAVAGE, JOHN E               287 STILLWELL AVE                                                                                                   KENMORE            NY   14217‐2135
MECKEM JAMES (660517)             GEORGE & SIPES                        151 N DELAWARE ST STE 1700                                                    INDIANAPOLIS       IN   46204‐2503
MECKEM, JAMES                     GEORGE & SIPES                        151 N DELAWARE ST STE 1700                                                    INDIANAPOLIS       IN   46204‐2503
MECKENICS                         4601‐50TH AVE                                                                               VALLEYVIEW AB T0H 3N0
                                                                                                                              CANADA
MECKER STEVE P (454768)           SIMMONS FIRM                           PO BOX 559                                                                   WOOD RIVER         IL   62095‐0559
MECKER, STEVE P                   SIMMONS FIRM                           PO BOX 559                                                                   WOOD RIVER         IL   62095‐0559
MECKES, ANN M                     2500 CHESTNUT ST.                                                                                                   GIRARD             OH   44420‐3105
MECKES, DOLORES R                 15558 ASHLAND DR                                                                                                    BROOKPARK          OH   44142‐1906
MECKL, VIOLA R                    37235 HANCOCK DR                                                                                                    CLINTON TOWNSHIP   MI   48036‐2549
MECKL, VIOLA R                    37235 HANCOCK ST                                                                                                    CLINTON TOWNSHIP   MI   48036‐2549
MECKLENBURG COUNTY                900 W 12TH ST                                                                                                       CHARLOTTE          NC   28206‐2903
MECKLENBURG COUNTY                TAX COLLECTOR                          CITY‐COUNTY TAX COLLECTOR    P.O. BOX 31577                                  CHARLOTTE          NC   28231
MECKLENBURG COUNTY SCHOOL BOARD   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 190                                                                   BOYDTON            VA   23917‐0190

MECKLENBURG COUNTY TREASURER      PO BOX 250                                                                                                          BOYDTON            VA   23917‐0250
MECKLENBURG, DEBBIE S             3719 WILDFLOWER LN                                                                                                  JANESVILLE         WI   53548‐8507
MECKLENBURG, MILAN                PO BOX 6143                                                                                                         APACHE JUNCTION    AZ   85178
MECKLER, MONT E                   PO BOX 640                                                                                                          ROANOKE            IN   46783‐0640
MECKLER, RALPH G                  30 MAHONING CT                                                                                                      NEWTON FALLS       OH   44444‐1901
MECKLEY, ROBERT                   APT 3                                187 MADISON AVENUE                                                             SKOWHEGAN          ME   04976‐1379
MECKO POINT LTD                   C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT            2 RAFFLES LINK MARINA   SINGAPORE 039392
                                  LIMITED                                                             BAYFRONT
MECKSTROTH, MARIAN L              1191 RAPPS DAM ROAD                  APT 314                                                                        KIMBERTON          PA   19442
MECKULCH, DENNIS J                4427 RACHEL BLVD                                                                                                    SPRING HILL        FL   34607‐2538
MECO D MCINTOSH                   313 OTTERBEIN AVE                                                                                                   DAYTON             OH   45406
MECOLI, ALFONSO E                 780 E 212TH ST                                                                                                      EUCLID             OH   44119‐2464
MECOLI, GILBERT D                 1714 E 294 ST                                                                                                       WICKLIFFE          OH   44092
MECOLI, GILBERT D                 27800 MEADOWLARK LANE #30                                                                                           BONITA SPRINGS     FL   34134
MECOM MCGLOTHLIN                  C/O THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                    HOUSTON            TX   77017
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Name                                Address1                       Address2                         Address3                    Address4             City                  State Zip
MECONIATES, MARGARET                721 SW 36TH ST                 APT#103                                                                           CAPE CORAL             FL 33914
MECONIATES, MARGARET                721 SW 36TH ST APT 103                                                                                           CAPE CORAL             FL 33914‐3318
MECOSTA COUNTY FRIEND OF COURT      ACCT OF MYRL W THOMPSON        PO BOX 508                                                                        BIG RAPIDS             MI 49307‐0508
MECOSTA COUNTY FRIEND OF COURT      ACCT OF GEORGE MURDOCK         PO BOX 508                                                                        BIG RAPIDS             MI 49307‐0508
MECSEY, VICKIE L                    1113 SAINT ANDREWS                                                                                               HIGHLAND               MI 48357‐4757
MECSOFT CORPORATION                 18019 SKY PARK CIR STE K                                                                                         IRVINE                 CA 92614‐6594
MECTRON ENGINEERING CO INC          400 S INDUSTRIAL DR                                                                                              SALINE                 MI 48176‐9497
MECTRON ENGINEERING CO INC DEPT     1776 E ELLSWORTH RD                                                                                              ANN ARBOR              MI 48108‐2407
195701
MECUM JR, CHARLES W                 1445 POTTER BLVD                                                                                                 BURTON                MI   48509‐2156
MECUM, EMILY L                      1676 IRWIN DR                                                                                                    WATERFORD             MI   48327‐1930
MECZYNSKI, EDWIN J                  99 LOU ANN DR                                                                                                    DEPEW                 NY   14043‐1211
MECZYNSKI, JOHN E                   23 PHEASANT RUN RD                                                                                               AMHERST               NY   14228‐1839
MECZYNSKI, JOHN EDWIN               23 PHEASANT RUN RD                                                                                               AMHERST               NY   14228‐1839
MED ARTS PHARM                      13847 E 14TH ST                                                                                                  SAN LEANDRO           CA   94578
MED CENTER FOR BONE                 400 N MOUNTAIN AVE STE 310                                                                                       UPLAND                CA   91786‐5182
MED CENTER PHARMACY                 14624 SHERMAN WAY                                                                                                VAN NUYS              CA   91405
MED CTR OF ARLINGTON                PO BOX 406297                                                                                                    ATLANTA               GA   30384‐6297
MED LEGAL INC                       2210 PLATWOOD RD                                                                                                 MINNETONKA            MN   55305‐2300
MED OBERY I I                       4652 OLIVE BRANCH RD                                                                                             GREENWOOD             IN   46143‐8603
MED WEEK                            C/O GP & E CONSULTING GROUP    PO BOX 65904                                                                      HAMPTON               VA   23665‐5904
MED‐ LEGAL INC.                     PO BOX 1288                                                                                                      WEST COVINA           CA   91793‐1288
MED‐DEPOT, INC                      ALEX PENDLETON                 2120 HUTTON DR STE 600                                                            CARROLLTON            TX   75006‐6885
MED‐KAS HYDRAULICS INC              1419 JOHN R RD                                                                                                   TROY                  MI   48083‐5861
MED‐LEGAL INC                       PO BOX 1288                                                                                                      WEST COVINA           CA   91793‐1288
MED‐LEGAL INC                       1430 E HOLT AVE                                                                                                  COVINA                CA   91724‐3703
MEDA ABBEY                          1401 S JACKSON ST                                                                                                BAY CITY              MI   48708‐8067
MEDA MCDONALD                       827 LINDBERGH LN                                                                                                 GRAND PRAIRIE         TX   75051‐1572
MEDA PHARMACEUTICALS, INC.          TOM BENNIS                     265 DAVIDSON AVE STE 300                                                          SOMERSET              NJ   08873‐4120
MEDA, SHIRLEY S                     754 BRIARCLIFF DR                                                                                                GROSSE POINTE WOODS   MI   48236‐1122
MEDAILLE COLLEGE                    18 AGASSIZ CIR                                                                                                   BUFFALO               NY   14214‐2601
MEDAILLE COLLEGE                    400 ESSJAY ROAD SUITE 100      CENTERPOINTE CORP PARK                                                            WILLIAMSVILLE         NY   14221
MEDAIRE INC                         80 E RIO SALADO PKWY STE 610                                                                                     TEMPE                 AZ   85281‐9107
MEDAL, JANICE U                     5007 PATRIOT PARK CIR SE                                                                                         OWENS CROSS ROADS     AL   35763‐9187
MEDALIST IND/CHICAGO                4300 S RACINE AVE                                                                                                CHICAGO               IL   60609‐3320
MEDALIST IND/TROY                   ATTN. RAY BAKERJIAN            INDUSTRIAL FASTENER DIVISION     5700 CROOKS RD. SUITE 405                        TROY                  MI   48098
MEDALIST INDUSTRIES INC             MEDALIST INDL FASTENER DIV     2700 YORK RD                                                                      ELK GROVE VILLAGE     IL   60007‐6363
MEDALLION INSTRUMENTATION SYS       CARIN THOMAS X314              17150 HICKORY STREET                                                              MORGANTOWN            KY   42261
MEDALLION INSTRUMENTATION SYSTEMS   CARIN THOMAS X314              17150 HICKORY STREET                                                              MORGANTOWN            KY   42261

MEDALLION INSTRUMENTATION SYSTEMS 17150 HICKORY ST                 FMLY BORG WARNER AIR/FLUID SYS                                                    SPRING LAKE           MI 49456‐9712

MEDALLION INSTRUMENTATION SYSTEMS 17150 HICKORY                                                                                                      SPRING LAKE           MI 49456

MEDALLION INSTRUMENTATION SYSTEMS 17150 HICKORY STREET                                                                                               SPRING LAKE           MI 49456

MEDAR CANADA LTD                    PO BOX 2412A STN A                                                                          TORONTO ON M5W 2K6
                                                                                                                                CANADA
MEDARD MELLOCH                      N12742 LASSACK RD                                                                                                WAUSAUKEE             WI   54177‐9509
MEDARDO ALEJANDRO JR                210 E SOUTH ST                                                                                                   MONROEVILLE           IN   46773‐9398
MEDARDO SOLIZ                       106 LOQUAT RD NW                                                                                                 LAKE PLACID           FL   33852‐9787
MEDARIS, ELIZABETH S                2124 PARLIAMENT DR                                                                                               THOMPSONS STATION     TN   37179‐5319
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Name                            Address1                          Address2              Address3    Address4             City              State Zip
MEDARIS, FREDERICK M            4887 W SUMMER CT                                                                         BLOOMINGTON        IN 47404‐9595
MEDARIS, ROBERT                 1705 S LEATHERWOOD RD                                                                    BEDFORD            IN 47421‐8861
MEDARIS, ROBERT L               2813 S ROGERS ST                                                                         BLOOMINGTON        IN 47403‐4343
MEDARIS, RODNEY E               1277 COLBY DR                                                                            SAINT PETERS       MO 63376‐5516
MEDAWAR, DANIEL P               3169 STUMPWOOD                                                                           COMMERCE TWP       MI 48382‐1458
MEDAWAR, LINDA L                6694 CLOVERTON DR                                                                        WATERFORD          MI 48329‐1202
MEDAWAR, LINDA LEE              6694 CLOVERTON DR                                                                        WATERFORD          MI 48329‐1202
MEDBERRY, MARJORIE P            67 MINE ST                                                                               STONEBORO          PA 16153‐2521
MEDBERRY, MARJORIE P            67 MINE STREET                                                                           STONEBORO          PA 16153‐2521
MEDBERY CLINTON                 401 W MAIN ST STE 400                                                                    NORMAN             OK 73069‐1319
MEDBERY, GEORGE H               PO BOX 311                                                                               NORTH BRANCH       MI 48461‐0311
MEDC                            GM AFRICA&MIDDLE EAST FZE                                           DUBAI UNITED ARAB
                                                                                                    EMIRATES
MEDCALF JR, WILLIAM E           971 MARCH ST                                                                             LAKE ZURICH        IL   60047‐1449
MEDCALF JR, WILLIAM E.
MEDCALF, ELIZABETH M            2507 RECTOR ROAD                                                                         PARAGOULD         AR    72450‐9505
MEDCALF, ELIZABETH M            2507 RECTOR RD                                                                           PARAGOULD         AR    72450‐9505
MEDCALF, JAKE M                 APT 2                             11920 HOWELL AVENUE                                    MOUNT MORRIS      MI    48458‐1454
MEDCALF, OLLIE J                198 MEDCALF LN                                                                           MENA              AR    71953‐7717
MEDCALF, SANDRA L               10089 OTIS DRIVE                                                                         MANCELONA         MI    49659‐7950
MEDCARE SERVICE                 18822 MONICA DR                                                                          CLINTON TWP       MI    48036‐4204
MEDCENTRAL COLLEGE OF NURSING   335 GLESSNER AVE                                                                         MANSFIELD         OH    44903‐2269
MEDCENTRAL HEALTH SY            PO BOX 8135                                                                              MANSFIELD         OH    44901‐8135
MEDCENTRAL HEALTH SY            PO BOX 8197                                                                              MANSFIELD         OH    44901‐8197
MEDCENTRAL PROFESSIO            MPAI 308 GLESSNER AVE                                                                    MANSFIELD         OH    44903
MEDCO                           PO BOX 5009                                                                              LAGUNA BEACH      CA    92652‐5009
MEDCO HEALTH SOLUTIONS INC      ATTN STEFANIE LEONE               100 PARSONS POND DR   MS F1‐7                          FRANKLIN LAKES    NJ    07417‐2604
MEDCO HEALTH SOLUTIONS INC      PO BOX 91551                                                                             ATLANTA           GA    30364‐1551
MEDCO HEALTH SOLUTIONS INC      100 PARSONS POND DR                                                                      FRANKLIN LAKES    NJ    07417‐2603
MEDCO HEALTH SOLUTIONS, INC     ANTHONY PALMISANO, JR., VICE      100 PARSONS POND DR                                    FRANKLIN LAKES    NJ    07417‐2604
                                PRESIDENT AND ASSISTANT COUNSEL
MEDCO NEXIUM CLAIM
MEDCOFF JR, GERALD LAVONE       7055 MORRISH ROAD                                                                        SWARTZ CREEK      MI    48473‐7621
MEDCOFF, DAVID F                2195 BASELINE RD                                                                         LESLIE            MI    49251‐9620
MEDCOFF, MARCELLA S             2195 BASELINE RD                                                                         LESLIE            MI    49251‐9620
MEDCOFF, MICHAEL L              7055 MORRISH RD                                                                          SWARTZ CREEK      MI    48473‐7621
MEDCOFF, MICHAEL LAVONE         7055 MORRISH RD                                                                          SWARTZ CREEK      MI    48473‐7621
MEDCOFF, RICHARD D              200 DEEP LAKE DR                                                                         WILLIAMSTON       MI    48895‐9018
MEDCORP                                                           745 MEDCORP DR                                                           OH    43608
MEDDAUGH, JAMES O               4901 FREELAND RD                                                                         SAGINAW           MI    48604‐9785
MEDDAUGH, RICHARD R             1110 49TH AVE W                                                                          BRADENTON         FL    34207‐2511
MEDDERS, CHARLIE                80 4TH ST                                                                                BRENT             AL    35034‐3738
MEDDERS, D P                    136 WOODBLUFF CT                                                                         ROYSE CITY        TX    75189‐2581
MEDDERS, PATRICIA A             PO BOX 8592                                                                              JACKSON           MS    39284‐8592
MEDDERS, ROGER D                PO BOX 67                                                                                EUPORA            MS    39744
MEDDINGS, LEO D                 11416 PACTON DR                                                                          SHELBY TOWNSHIP   MI    48317‐3517
MEDE N PONTARELLA               14615 LAKESHORE RD                                                                       KENT              NY    14477‐9609
MEDE PONTARELLA                 PO BOX 93                                                                                KENT              NY    14477‐0093
MEDE, ELIZABETH                 15750 W CLEAR CANYON DR                                                                  SURPRISE          AZ    85374‐4515
MEDE, ELIZABETH                 15750 CLEAR CANYON DR.                                                                   SURPRISE          AZ    85374‐4515
MEDEARIES, WILLIE               27 BRUNSWICKBLVD                                                                         BUFFALO           NY    14208‐1543
MEDECKE, PATRICIA D             12201 E COUNTY ROAD 125 S                                                                SELMA             IN    47383‐9321
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Name                                   Address1                          Address2                           Address3   Address4         City            State Zip
MEDECKE, PATRICIA DEAN                 12201 E COUNTY ROAD 125 S                                                                        SELMA            IN 47383‐9321
MEDEIROS JUSTIN L                      MEDEIROS, JUSTIN L                716 CENTRAL AVE                                                PAWTUCKET         RI 02861‐2102
MEDEIROS KARMEN & SANFORD INC          1 TURKS HEAD PL STE 700                                                                          PROVIDENCE        RI 02903‐2222
MEDEIROS ROBERT (ESTATE OF) (659855)   BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                    WILMINGTON       DE 19899‐2165

MEDEIROS, CLARENCE R                   9763 PIONEER AVE                                                                                 OAKDALE         CA   95361‐9721
MEDEIROS, DENNIS C                     1362 SW HERALD RD                                                                                PORT ST LUCIE   FL   34953‐4241
MEDEIROS, JOHN C                       162 PENNY LN                                                                                     CLARKLAKE       MI   49234‐9622
MEDEIROS, JOSEPH P                     6717 N NANTUCKET WAY                                                                             DUNNELLON       FL   34434‐8173
MEDEIROS, JOSEPH P                     11205 ARCHER AVE                                                                                 SPRING HILL     FL   34608‐3204
MEDEIROS, JUSTIN L                     KATZ HENRY H ATTORNEY AT LAW      716 CENTRAL AVE                                                PAWTUCKET       RI   02861‐2102
MEDEIROS, MARGARET E                   224 DENHAM AVE                                                                                   SOMERSET        MA   02726‐3777
MEDEIROS, MICHAEL
MEDEIROS, ROBERT                       BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                                    WILMINGTON      DE   19899‐2165
MEDEIROS, ROBIN L                      116 PARK PL                                                                                      WOONSOCKET      RI   02895‐4419
MEDEIROS, SUSAN                        PO BOX 603                                                                                       EAST FREETOWN   MA   02717‐0603
MEDEIROS/WILLIAMS CHEVROLET, INC.      2045 BOSTON RD                                                                                   WILBRAHAM       MA   01095‐1103

MEDEIROS/WILLIAMS CHEVROLET, INC.      JOHN MEDEIROS                     2045 BOSTON RD                                                 WILBRAHAM       MA 01095‐1103

MEDEJROS NORMAN (470653)               CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE , HALLE BLDG 9TH                               CLEVELAND       OH 44115
                                       GAROFOLI                          FL
MEDEJROS, NORMAN                       CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                CLEVELAND       OH 44115
                                       GAROFOLI                          FL
MEDEK, RONALD J                        603 STEPHANIE DR                                                                                 LOCKPORT        IL   60441
MEDEL, ADAM                            30162 VALENTI DR                                                                                 WARREN          MI   48088‐3352
MEDEL, ANTHONY                         2218 CHERRY ST                                                                                   SAGINAW         MI   48601‐2051
MEDEL, DENNIS S                        5414 COLE RD                                                                                     SAGINAW         MI   48601‐9760
MEDEL, FRANK                           3653 TOWNLINE RD                                                                                 BIRCH RUN       MI   48415‐9076
MEDEL, LEONARD A                       513 RIVER RD                                                                                     BAY CITY        MI   48706‐1461
MEDEL, LEWIS                           1190 E GALBRAITH LINE RD                                                                         MELVIN          MI   48454‐9769
MEDEL, MARVIN P                        16880 EDLOYTOM WAY APT 137                                                                       CLINTON TWP     MI   48038‐5449
MEDEL, MARY                            5414 COLE RD                                                                                     SAGINAW         MI   48601‐9760
MEDEL, REJINO                          3721 MACK RD                                                                                     SAGINAW         MI   48601‐7118
MEDEL, ROBERT E                        2907 STINWICK LN                                                                                 GRAND PRAIRIE   TX   75052‐4257
MEDEL, ROBERT E                        PO BOX 796                        PO BOX 796                                                     TOPOCK          AZ   86436‐0796
MEDELIN EDUARDO JR                     MEDELIN, ANGIE                    5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN EDUARDO JR                     MEDELIN, EDGAR                    5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN EDUARDO JR                     MEDELIN, EDUARDO SR               5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN EDUARDO JR                     MEDELIN, EMILY                    5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN EDUARDO JR                     MEDELIN, ERIC                     5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN, ANGIE                         TRACY FIRM                        5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN, EDGAR                         TRACY FIRM                        5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN, EDUARDO JR                    TRACY FIRM                        5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN, EDUARDO SR                    TRACY FIRM                        5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN, EMILY                         TRACY FIRM                        5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIN, ERIC                          TRACY FIRM                        5473 BLAIR RD STE 200                                          DALLAS          TX   75231‐4168
MEDELIS, CHARLES D                     218 E MCMILLAN AVE                                                                               NEWBERRY        MI   49868‐1557
MEDELLIN JAVIER                        MEDELLIN, JAVIER                  REGENCY SQUARE 6001 SAVOY                                      HOUSTON         TX   77036
                                                                         DRIVE SUITE 208
MEDELLIN, ALFONSO                      19205 E 14TH TERRACE CT N                                                                        INDEPENDENCE    MO 64056‐1260
MEDELLIN, BARBARA
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Name                      Address1                          Address2                    Address3   Address4         City                  State Zip
MEDELLIN, BENITO L        7042 BOTHWELL RD                                                                          RESEDA                 CA 91335‐3655
MEDELLIN, ENRIQUE A       4446 CENTRAL ST                                                                           COLUMBIAVILLE          MI 48421‐9144
MEDELLIN, ENRIQUE AARON   4446 CENTRAL ST                                                                           COLUMBIAVILLE          MI 48421‐9144
MEDELLIN, JAVIER          3502 NE 11TH ST                                                                           MINERAL WELLS          TX 76067‐4136
MEDELLIN, JAVIER          SIMMS & ASSOCIATES                REGENCY SQUARE 6001 SAVOY                               HOUSTON                TX 77036
                                                            DRIVE SUITE 208
MEDELLIN, JESSICA
MEDELLIN, JUAN F          605 E PAULSON ST                                                                          LANSING               MI 48906‐3253
MEDELLIN, JULIA
MEDELLIN, MARGARET        4226 HOLLY                                                                                KANSAS CITY           MO   64111
MEDELLIN, MARGARET        4226 HOLLY ST                                                                             KANSAS CITY           MO   64111‐4150
MEDELLIN, NORA S          5705 RED CACTUS CT                                                                        ARLINGTON             TX   76017‐2064
MEDELLIN, SUSAN           19205 E 14TH TERRACE CT N                                                                 INDEPENDENCE          MO   64056‐1260
MEDEMA BARBARA            1611 BEARDFARM SOUTH EAST                                                                 EAST GRAND RAPIDS     MI   49546
MEDEMA TONI               MEDEMA, TONI                      533 HARRISON STREET                                     BELDING               MI   48809
MEDEMA, BRIAN R           4401 LOTUS DR                                                                             WATERFORD             MI   48329‐1242
MEDEMA, BRIAN ROBERT      4401 LOTUS DR                                                                             WATERFORD             MI   48329‐1242
MEDEMA, EDWARD W          707 BELMONT DR                                                                            ROMEOVILLE            IL   60446‐1621
MEDEMA, TONI              533 HARRISON ST                                                                           BELDING               MI   48809‐1801
MEDEMAR, CHARLES R        1449 WESTWOOD DR                                                                          FLINT                 MI   48532‐2669
MEDENDORP, LEROY E        346 ANDERSON ST NE                                                                        LAKE PLACID           FL   33852‐6040
MEDENWALD, BERTHA W       6850 RODEBAUGH RD                                                                         INDIANAPOLIS          IN   46268‐2542
MEDENWALD, FREDRICK H     8405 COOPER LN                                                                            ZIONSVILLE            IN   46077‐9360
MEDENWALD, JAMES J        7454 HARBOUR ISLE                                                                         INDIANAPOLIS          IN   46240‐3473
MEDENWALD, MICHAEL W      3339 EATON MEWS CT                                                                        GREENWOOD             IN   46143‐7650
MEDENWALD, RONALD W       882 S PARKEWOOD DR                                                                        ROCKVILLE             IN   47872‐8004
MEDENWALD, SANDRA S       3339 EATON MEWS CT                                                                        GREENWOOD             IN   46143‐7650
MEDEQUIP, INC MEDICA      32261 CAMINO CAPISTRANO STE 101                                                           SAN JUAN CAPISTRANO   CA   92675‐3747
MEDER JR, ALEXANDER       34712 S DIX POINT RD                                                                      DRUMMOND ISLAND       MI   49726‐9465
MEDER, DIANNE J           34712 S DIX POINT RD                                                                      DRUMMOND ISLAND       MI   49726‐9465
MEDER, FAYE L             31883 CARLELDER ST                                                                        BEVERLY HILLS         MI   48025‐3941
MEDER, GERALD C           PO BOX 1122                                                                               PAULDEN               AZ   86334‐1122
MEDER, KELLY A            38875 MINTON AVE                                                                          LIVONIA               MI   48150‐3321
MEDER, KELLY ANN          38875 MINTON AVE                                                                          LIVONIA               MI   48150‐3321
MEDER, LOUISE K           1859 MACKENZIE DR                                                                         COLUMBUS              OH   43220‐2929
MEDER, MARY A             3221 E BALDWIN RD APT403                                                                  GRAND BLANC           MI   48439‐7357
MEDER, MOLLY              3221 E BALDWIN RD APT 311                                                                 GRAND BLANC           MI   48439‐7356
MEDER, RALPH G            10700 HARRIS RD                                                                           CHESANING             MI   48616‐9435
MEDER, ROBERT A           1314 KINGS CARRIAGE RD                                                                    GRAND BLANC           MI   48439‐8785
MEDER, RYAN D             13 GATESWOOD DR                                                                           SAINT PETERS          MO   63376‐1210
MEDER, THOMAS C           2860 N RIDGE RD                                                                           CHESANING             MI   48616‐9600
MEDER, TODD M             707 N HAYFORD AVE                                                                         LANSING               MI   48912‐4319
MEDER, TODD MICHAEL       707 N HAYFORD AVE                                                                         LANSING               MI   48912‐4319
MEDERIOS, SHAYLAN DAJON
MEDERO, ARELIS A          185 NEWCOMB ST                                                                            ROCHESTER             NY   14609‐3413
MEDERO, EDGARDO           2194 COUNTY ROAD 35                                                                       BLOOMFIELD            NY   14469‐9521
MEDERO, FELIX A           CALLE 14U8 ALTURAS                DE INTERAMERICANA                                       TRUJILLO ALTO         PR   00976
MEDERO, LYSANDRA          1723 INDIA PALM DR                                                                        EDGEWATER             FL   32132‐3421
MEDEROS OSCAR             6850 SW 81ST TER                                                                          CORAL GABLES          FL   33143‐7712
MEDEROS, JORGE S          5310 NW 181ST TER                                                                         MIAMI GARDENS         FL   33055‐3145
MEDEROS, JOSE             DEARIE & ASSOCIATES JOHN C        515 MADISON AVE RM 1118                                 NEW YORK              NY   10022‐5456
MEDERSKI, JUDY A          375 WEST AVE UNIT A1                                                                      WEST SENECA           NY   14224‐2035
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Name                               Address1                           Address2                           Address3     Address4                City            State Zip
MEDERSKI, JUDY A                   375 WEST BLDG A‐1                                                                                          WEST SENECA      NY 14224‐2035
MEDERT, JOHN R                     4470 VEGAS VALLEY DR SPC 135                                                                               LAS VEGAS        NV 89121‐1924
MEDEX COURIER SERVICE LTD          1929 PROVINCIAL RD                                                                 WINDSOR CANADA ON N9A
                                                                                                                      6J3 CANADA
MEDFORD BALDRIDGE                  129 BRONSON FOREST DR                                                                                      MOREHEAD        KY   40351‐8767
MEDFORD HOMER                      221 SOVEREIGN CT                                                                                           ROCKWALL        TX   75032‐5723
MEDFORD RUPPENTHAL                 170 LAVENDER LN                                                                                            HEDGESVILLE     WV   25427‐5240
MEDFORD, CLAIRE M                  2107 ALBEMARLE TER                                                                                         BROOKLYN        NY   11226‐3905
MEDFORD, DONALD R                  3951 JOHN YOH RD                                                                                           VAN WERT        OH   45891‐8767
MEDFORD, GERTRUDE M                6391 SANIBEL DRIVE                                                                                         CENTERVILLE     OH   45459‐5459
MEDFORD, HOWARD W                  667 S BARTLETT RD                                                                                          SAINT CLAIR     MI   48079‐1903
MEDFORD, THOMAS O                  4059 AUTUMN WOOD DR                                                                                        FENTON          MI   48430‐9139
MEDFORD, VIRGINIA E                822 SHADY MEADOW DR                                                                                        HIGHLAND VILL   TX   75077‐3193
MEDGATE INC
MEDGATE INC                        ATTN: PRESIDENT                    95 ST CLAIR AVE W                  SUITE 1700   TORONTO ON M4V 1N6
                                                                                                                      CANADA
MEDGATE INC.                       ATTN: PRESIDENT                    95 ST CLAIR AVE W                  SUITE 1700   TORONTO ON M4V 1N6
                                                                                                                      CANADA
MEDHAT
MEDHORA, AAZER A                   24259 THATCHER CT                                                                                          NOVI            MI   48375‐2353
MEDI CONNECT NET INC               PO BOX 673377                                                                                              DETROIT         MI   48267‐3377
MEDI, HENRY I                      3089 DALEY DR                                                                                              TROY            MI   48083‐5412
MEDI‐PLUS PHARMACY                 PO BOX 546                                                                                                 BARKER          TX   77413‐0546
MEDIA CONSORTIUM LLC               BARANIECKI JACK                    1 HERALD PLZ                                                            MIAMI           FL   33132‐1609
MEDIA DOWLER                       88 W PARK DR                                                                                               KELLOGG         ID   83837‐9764
MEDIA EDUCATION FOUNDATION         60 MASONIC STREET                                                                                          NORTHAMPTON     MA   01060
MEDIA GENERAL                      MARC MILLER                        333 E FRANKLIN ST                                                       RICHMOND        VA   23219‐2213
MEDIA GENERAL                      333 E FRANKLIN ST                                                                                          RICHMOND        VA   23219‐2213
MEDIA GENERAL                      REID ASHE                          333 E. FRANKLIN STREET                                                  RICHMOND        VA   23219‐2213
MEDIA GENERAL                      REID ASHE                          333 E FRANKLIN ST                                                       RICHMOND        VA   23219‐2213
MEDIA GROSSMAN                     PO BOX 154                         301 STATE ROUTE 279                                                     THURMAN         OH   45685‐0154
MEDIA INFORMATION SERVICES (MIS)   MARTHA WICKLINE                    353 LEXINGTON AVENUE                                                    NEW YORK        NY   10016
MEDIA LIBRARY                      7604 BIG BEND BLVD STE D                                                                                   SAINT LOUIS     MO   63119‐2139
MEDIA LINK/CHICAGO                 225 N MICHIGAN AVE STE 2100                                                                                CHICAGO         IL   60601
MEDIA NEWS GROUP                   DEAN SINGLETON                     101 W. COLFAX AVENUE, SUITE 1100                                        DENVER          CO   80202

MEDIA NEWS GROUP                   101 W. COLFAX AVENUE, SUITE 1100                                                                           DENVER          CO   80202
MEDIA PANKOW                       246 VIRGINIA AVE                                                                                           DAYTON          OH   45410‐2318
MEDIA POWER                        19900 W 9 MILE RD STE 202                                                                                  SOUTHFIELD      MI   48075‐3953
MEDIA RECOVERY INC                 PO BOX 1407                                                                                                GRAHAM          TX   76450‐7407
MEDIA RECOVERY INC                 PO BOX 678310                                                                                              DALLAS          TX   75267‐8310
MEDIA RECOVERY INC                 CYNTHIA ROSS                       MEDIA RECOVERY INC                                                                      TX   75247
MEDIA RECOVERY INC                 PO BOX 678310                      510 CORPORATE DR                                                        DALLAS          TX   75267‐8310
MEDIA SANDEFUR                     147 SANDEFUR LN                                                                                            TAZEWELL        TN   37879‐6705
MEDIA SOLUTIONS INC                4715 WOODWARD AVE                                                                                          DETROIT         MI   48201‐1307
MEDIA TECHNOLOGY                   335 W BERWICKE CMN NE                                                                                      ATLANTA         GA   30342‐2856
MEDIA TILE COMPANY CANADA          DIV OF 1410214 ONTARIO INC         570 BRYNE DRIVE UNIT E                          BARRIE CANADA ON
                                                                                                                      L4H9P6 CANADA
MEDIA VISIONS                      7401K FULLERTON RD                                                                                         SPRINGFIELD     VA   22153‐2802
MEDIALINK WORLDWIDE INC            708 3RD AVE NM/CHG 5/21/04 CS                                                                              NEW YORK        NY   10017
MEDIALINK WORLWIDE INC             708 3RD AVE 9TH FL                                                                                         NEW YORK        NY   10017
MEDIAMARK RESEACH INC              ATTN ACCOUNTS RECEIBALE            75 9TH AVENUE 5R                                                        NEW YORK        NY   10011
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Name                               Address1                         Address2                      Address3                  Address4               City               State Zip
MEDIAMARK RESEARCH INC             444 N MICHIGAN AVE STE 205                                                                                      CHICAGO              IL 60611
MEDIAN ENR
MEDIANT COMMUNICATIONS             ATTN: VINNY MISIANO              109 N. FIFTH STREET                                                            SADDLEBROOK        NJ    07663
MEDIAPLEX INC                      ERNSTER LAW OFFICES PC           70 S LAKE AVE STE 750                                                          PASADENA           CA    91101
MEDIAPLEX INC,                     ERNSTER LAW OFFICES PC           70 S LAKE AVE STE 750                                                          PASADENA           CA    91101
MEDIAPLEX INC,                     BARLOW SCOTT PATRICK             4353 PARK TERRACE DR                                                           WESTLAKE VILLAGE   CA    91361
MEDIAPRO INC                       20021 120TH AVE NE STE 120                                                                                      BOTHELL            WA    98011
MEDIASOUTH COMPUTER SUPPLIES INC   6021 LIVE OAK PKWY                                                                                              NORCROSS           GA    30093‐1720

MEDIATE ROCCO                      C/O JON HARTIGAN                 GAYLORD SPORTS MGMT SUITE 200 13845 N NORTHSIGHT BLVD                          SCOTTSDALE          AZ   85260

MEDIATE ROCCO & GIOVANNINA         2821 N LIPKEY RD                                                                                                NORTH JACKSON      OH 44451‐9665
MEDIATE ROCCO TRUSTEE              2821 N LIPKEY RD                                                                                                NORTH JACKSON      OH 44451‐9665
MEDIATILE COMPANY CANADA           16600 BAYVIEW AVE STE 202                                                                NEWMARKET ON L3X 1Z9
                                                                                                                            CANADA
MEDIATION MASTERS                  96 N 3RD ST STE 300                                                                                             SAN JOSE           CA    95112‐7706
MEDIATION WORKS INC                4 FANEUIL HALL                                                                                                  BOSTON             MA    02109
MEDIATION WORKS INC.               4 FANEUIL HALL                                                                                                  BOSTON             MA    02109
MEDIATION WORKS INCORPORATED       4 FANEUIL HALL THIRD FLOOR                                                                                      BOSTON             MA    02109
MEDIAVILLA,RAFAEL A                G26 CALLE 15                                                                                                    SAN JUAN           PR    00926
MEDIC RESPONSE AMBUL               105 W COOK RD                                                                                                   MANSFIELD          OH    44907‐2403
MEDIC RESPONSE AMBULANCE SERVICE   105 W COOK RD                                                                                                   MANSFIELD          OH    44907‐2403
INC
MEDIC RESPONSE AMBULANCE SVC       230 N MULBERRY ST                PO BOX 1514                                                                    MANSFIELD          OH    44902‐1055
MEDICAL ARTS PHARMACY              ATTN MATT                        2515 E HUNTSVILLE RD                                                           FAYETTEVILLE       AR    72701‐7329
MEDICAL ARTS PHARMACY              ATTN MATT                        2515 EAST HUNTSVILLE RD                                                        FAYETTEVILLE       AR    72701‐7329
MEDICAL ASSOC OF THE               PO BOX 347205                                                                                                   PITTSBURG          PA    15251‐4205
MEDICAL ASSOC OF WESTCHESTER       8540 S SEPULVEDA BLVD STE 1010                                                                                  LOS ANGELES        CA    90045‐3808
MEDICAL ASSOCIATES                 428 S GROVE                                                                                                     YPSILANTI          MI    48198
MEDICAL ASSOCIATES OF MENOMONEE    PO BOX 9026                                                                                                     MENOMONEE FALLS    WI    53052‐9026
FALLS LTD
MEDICAL ASSOCIATES OH LLC          PO BOX 9026                                                                                                     MENOMONEE FALLS    WI    53052‐9026
MEDICAL CARE CORP                  PO BOX 673239                                                                                                   DETROIT            MI    48267‐3239
MEDICAL CARE GROUP                 26300 EUCLID AVE STE 702                                                                                        EUCLID             OH    44132‐2752
MEDICAL CENTER ANETH               DEPT. 09‐039 P.O. BOX 9600                                                                                      TEXARKANA          TX    75505
MEDICAL CENTER AT EL               PO BOX 88265                     DEPT A                                                                         CHICAGO            IL    60680
MEDICAL CENTER EMERG               PO BOX 96115                                                                                                    OKLAHOMA CITY      OK    73143‐6115
MEDICAL CENTER EMERGENCY SVCS      PO BOX 96115                                                                                                    OKLAHOMA CITY      OK    73143‐6115
MEDICAL CENTER EMS LLC             PO BOX 8000                                                                                                     BOWLING GREEN      KY    42102‐8000
MEDICAL CENTER EMS,                PO BOX 8000                                                                                                     BOWLING GREEN      KY    42102‐8000
MEDICAL CENTER FOOT & ANKLE        ATTN: MICHAEL SCHEY              3011 W GRAND BLVD # 874                                                        DETROIT            MI    48202‐3012
MEDICAL COLLEGE OF GEORGIA         1459 LANEY WALKER BLVD                                                                                          AUGUSTA            GA    30912‐0002
MEDICAL COLLEGE OF OHIO            STUDENT ACCTS OFFICE             3025 LIBRARY CIR              RAYMOND H MULFORD                                TOLEDO             OH    43614‐8000
                                                                                                  LIBRART BLDG
MEDICAL COLLEGE OF WISCONSIN       DEPT OF PREVENTIVE MEDICINE      8701 W WATERTOWN PLANK RD     ACADEMIC PROGRAM IN                              MILWAUKEE          WI 53226‐3548
                                                                                                  OCCUPA MED
MEDICAL COSTCARE CORPORATION       PO BOX 160                                                                                                      CLERMONT           GA    30527‐0160
MEDICAL DOCTORS & DESIGNERS        100 WALNUT AVE                                                                                                  CLARK              NJ    07066‐1253
MEDICAL EDGE HEALTHC               PO BOX 650268                                                                                                   DALLAS             TX    75265‐0268
MEDICAL EDGE HEALTHCARE GROUP PA   9229 LBS FRWY                                                                                                   DALLAS             TX    75243

MEDICAL EQUIPMENT DE               7950 DUNBROOK RD                                                                                                SAN DIEGO          CA 92126‐4371
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Name                                  Address1                             Address2                        Address3             Address4         City            State Zip
MEDICAL EVALUATION SERVICES INC       3400 N HIGH ST STE 340                                                                                     COLUMBUS         OH 43202‐1142
MEDICAL EVALUATION SPECIA             PO BOX 64520                                                                                               DETROIT          MI 48264‐0001
MEDICAL EVALUATION SPECIALISTS        1303 S LINDEN RD # A                                                                                       FLINT            MI 48532‐3442
MEDICAL EVALUATION SPECIALISTS ‐      12300 FORD RD STE 390                                                                                      DALLAS           TX 75234‐8106
DALLAS
MEDICAL EVALUATION SPECIALISTS, INC   PO BOX 64520                                                                                               DETROIT         MI 48264‐0001

MEDICAL EVALUATION SPECIALISTSINC     5700 E 11 MILE RD                                                                                          WARREN          MI 48091‐1229
MEDICAL EVALUATION SPECIALISTSINC     PO BOX 64520                                                                                               DETROIT         MI 48264‐0520
MEDICAL EVALUATORS INC/ DAYTON        2591 MIAMISBURG CENTERVILLE RD STE                                                                         DAYTON          OH 45459‐3706
                                      202
MEDICAL FAC/1 VANTAG                  1 VANTAGE WAY                        BOX 39                                                                NASHVILLE       TN   37228
MEDICAL HEALTH GROUP                  PO BOX 64470                                                                                               BALTIMORE       MD   21264‐4470
MEDICAL IMAGING INC                   9501 N OAK TRFY                                                                                            KANSAS CITY     MO   64155‐2256
MEDICAL IMAGING NETW                  819 MCKAY CT                                                                                               BOARDMAN        OH   44512
MEDICAL IMAGING PA                    PO BOX 414975                                                                                              KANSAS CITY     MO   64141‐4975
MEDICAL LEGAL CONSULTING INSTITUTE    2475 BOLSOVER ST                                                                                           HOUSTON         TX   77005
INC
MEDICAL MANAGEMENT S                  PO BOX 77000                                                                                               DETROIT         MI 48277‐2000
MEDICAL MANAGEMENT SUPPORT            PO BOX 77000                                                                                               DETROIT         MI 48277‐25
SERVICES
MEDICAL MOTOR SERVICE                                                      608 CLINTON AVE S                                                     ROCHESTER       NY   14620‐1349
MEDICAL MUTUAL OF OHIO                COST PLUS BILLED                     COST CENTER 2150                2060 EAST NINTH ST                    CLEVELAND       OH   44115
MEDICAL MUTUAL OF OHIO                FULLY INSURED GROUP                  DBA HMO HEALTH OF OHIO          2060 E 9TH ST                         CLEVELAND       OH   44115
MEDICAL MUTUAL OF OHIO                FULLY INSURED GROUP                  DBA HMO HLTH OH TOLEDO (337G)   2060 E 9TH ST                         CLEVELAND       OH   44115

MEDICAL NETWORK INC                   50 MILLSTONE RD                                                                                            EAST WINDSOR    NJ   08520
MEDICAL OUTREACH MINISTRIES           1301 EAST SOUTHERN BLVD                                                                                    MONTGOMERY      AL   36104
MEDICAL PLAZA CONSULTANTS PC          HOF ALLAN SALVAGGIO DIEDERICH        10787 NALL AVE STE 310                                                OVERLAND PARK   KS   66211‐1301
MEDICAL PROFESSIONALS                 1055 CHARTER DR # 102                                                                                      FLINT           MI   48532‐3589
MEDICAL RADIOLOGIST                   PO BOX 711948                                                                                              CINCINNATI      OH   45271‐1948
MEDICAL REHAB GROUP                   4632 GENESYS PKWY                                                                                          GRAND BLANC     MI   48439‐8067
MEDICAL REHABILITATI                  PO BOX 40290                                                                                               PITTSBURGH      PA   15201‐0290
MEDICAL SCREENING SERVICES INC        5727 W HOWARD ST                                                                                           NILES           IL   60714‐4012
MEDICAL SCREENING SRVCS INC           5727 W HOWARD ST                                                                                           NILES           IL   60714‐4012
MEDICAL SERVICES CO                   12552 COLLECTION CENTER DR                                                                                 CHICAGO         IL   60693‐0125
MEDICAL SERVICES COMPANIES            ALVIS WILSON                         7690 FIRST PLACE                                                      OAKWOOD         TN
MEDICAL SERVICES COMPANYINC           12552 COLLECTION CENTER DR                                                                                 CHICAGO         IL   60693‐0125
MEDICAL SERVICES OF AMERICA           DAVE PALMER                          171 MONROE LN                                                         LEXINGTON       SC   29072‐3904
MEDICAL TECHNOLOGY MANAGMENT          PO BOX 26337                                                                                               MILWAUKEE       WI   53226‐0337
INSTITUTE
MEDICAL TRANSPORT LLC                                                      5792 ARROWHEAD DR                                                                     VA   23462
MEDICALOGIC/MEDSCAPE, INC.            ATTN: DAVID MOFFENBEIRER CEO         20500 NW EVERGREEN PKWY                                               HILLSBORO       OR   97124‐7111
MEDICARE                              PO BOX 33828                                                                                               DETROIT         MI   48232‐5828
MEDICARE PARTS A AND B                RICHARD D. HUMPHREY US ATTORNEY'S    PO BOX 1585                                                           MADISON         WI   53701‐1585
                                      OFFICE
MEDICARE PARTS A AND B                RICHARD D. HUMPHREY US ATTORNEY'S    P.O. BOX 1585                                                         MADISON         WI 53701
                                      OFFICE
MEDICARE SECONDARY PAYERRECOVERY      PO BOX 33831                         MSPRC WC                                                              DETROIT         MI 48232‐5831
CONTRA
MEDICH, CATHERINE                     3054 CURTIS DR                                                                                             FLINT           MI 48507‐1218
MEDICH, FRED                          5299 DELAND RD                                                                                             FLUSHING        MI 48433‐1196
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MEDICH, GEORGE                      5265 N SEYMOUR RD                                                                                        FLUSHING           MI 48433‐1028
MEDICH, NICKIE                      429 BILES RD                                                                                             JACKSON            GA 30233‐4611
MEDICH, PATRICIA                    745 JOY RD                                                                                               BATTLE CREEK       MI 49014‐8450
MEDICH, PETER M                     20700 BREEZEWOOD CT                                                                                      BEVERLY HILLS      MI 48025‐2822
MEDICH, TERESA L                    3054 CURTIS DRIVE                                                                                        FLINT              MI 48507‐1218
MEDICI, THOMAS                      2364 MALENA LN                                                                                           OXFORD             MI 48371‐4355
MEDICINE SHOP 1243                  8941 UPPER LEWISBURG SALEM RD                                                                            BROOKVILLE         OH 45309‐8299
MEDICO, JAMES L                     2203 WYNCOTE DR                                                                                          WILMINGTON         DE 19808‐4954
MEDICO, MICHELLE A                  2203 WYNCOTE DR                                                                                          WILMINGTON         DE 19808‐4954
MEDICOLEGAL SERVICES                25899 W 12 MILE RD STE 200                                                                               SOUTHFIELD         MI 48034‐8342
MEDICOLEGAL SERVICES INC            25505 W 12 MILE RD STE 4750                                                                              SOUTHFIELD         MI 48034‐8340
MEDICOLEGAL SERVICES, INC           25899 W 12 MILE RD STE 200                                                                               SOUTHFIELD         MI 48034‐8342
MEDICUS JR., LEO J                  3908 WHARTON ST                                                                                          LAS VEGAS          NV 89130‐3036
MEDICUS, DOROTHY A                  915 NEWPORT DR                                                                                           FENTON             MI 48430‐1801
MEDIE HEARN JR                      1860 S BASSETT ST                                                                                        DETROIT            MI 48217‐1647
MEDIEROS, JUSTIN                    38 LAWRENCE DR                                                                                           EAST PROVIDENCE     RI 02914‐4146
MEDIFIT CORPORATE SERVICES INC      131 MADISON AVE                                                                                          MORRISTOWN         NJ 07960
MEDIFIT CORPORATE SERVICES INC      25 HANOVER RD                                                                                            FLORHAM PARK       NJ 07932‐1424
MEDILL, ROBERT C                    5818 N LENOX AVE                                                                                         KANSAS CITY        MO 64151‐2726
MEDIN REYES                         5440 KIMBERLY DR                                                                                         GRAND BLANC        MI 48439‐5164
MEDINA AGUNDEZ, GUADALUPE ARACELI

MEDINA ANTONIO AVON (ESTATE OF)     GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                             NORFOLK           VA 23510
(626654)                                                             STREET, SUITE 600
MEDINA AUTO MALL                    3205 MEDINA RD                                                                                           MEDINA            OH    44256‐9631
MEDINA AUTO PARTS                   TOLEDO PROFESSIONALS TEMPS INC   421 JACKSON ST                                                          SANDUSKY          OH    44870‐2736
MEDINA BLANKING INC                 5580 WEGMAN DR                                                                                           VALLEY CITY       OH    44280‐9321
MEDINA BLANKING INC.                MIKE MOLINSKY                    5580 WEGMAN DR                                                          VALLEY CITY       OH    44280‐9321
MEDINA COUNTY C S E A               ACCOUNT OF RA MAITLAND           PO BOX 1389                                                             MEDINA            OH    44258‐1389
MEDINA COUNTY C.S.E.A               ACCT OF NICHOLAS HOLTON          PO BOX 1389                                                             MEDINA            OH    44258‐1389
MEDINA COUNTY C.S.E.A.              ACCT OF RICHARD BORZY            PO BOX 1389                                                             MEDINA            OH    44258‐1389
MEDINA COUNTY CAREER CENTER ADULT   1101 W LIBERTY ST                                                                                        MEDINA            OH    44256‐1346
EDUCATION
MEDINA COUNTY COURT OF COMMON       93 PUBLIC SQ                                                                                             MEDINA            OH 44256‐2292
PLEAS
MEDINA COUNTY CSEA                  ACCT OF ROY ABBOTT               990 NORTH COURT PO BOX 1389                                             MEDINA            OH    44256
MEDINA COUNTY CSEA                  ACCT OF ROY ABBOTT               PO BOX 1389                     990 NORTH COURT ST                      MEDINA            OH    44258‐1389
MEDINA COUNTY CSEA                  ACCT OF MICHAEL TRIPP            PO BOX 1389                                                             MEDINA            OH    44258‐1389
MEDINA COUNTY CSEA                  ACCOUNT OF JAMES VAN DEUSEN      PO BOX 1389                                                             MEDINA            OH    44258‐1389
MEDINA COUNTY TAX COLLECTOR         1102 15TH ST                                                                                             HONDO             TX    78861‐1334
MEDINA COUNTY TREASURER             144 N BROADWAY ST                                                                                        MEDINA            OH    44256
MEDINA COUNTY TREASURER             99 PUBLIC SQ                     OLD COURT HOUSE                                                         MEDINA            OH    44256‐2280
MEDINA FELIPE                       MEDINA, FELIPE
MEDINA FERNANDO                     LYNNE KIZIS, ESQ                 WILENTZ, GOLDMAN, AND SPITZER   90 WOODBRIDGE CENTER                    WOODBRIDGE         NJ   07095
                                                                                                     DRIVE
MEDINA FRANCISCO                    7154 SOUTH VUELTA SILUETA                                                                                TUCSON            AZ    85756‐8499
MEDINA FRED                         20800 NE 37TH AVE                                                                                        AVENTURA          FL    33180‐3844
MEDINA I I I, PALEMON               3218 TRAUM DR                                                                                            SAGINAW           MI    48602‐3479
MEDINA III, PALEMON                 3218 TRAUM DR                                                                                            SAGINAW           MI    48602‐3479
MEDINA JESUS                        MEDINA, JESUS                    3333 LEE PKWY STE 600                                                   DALLAS            TX    75219‐5117
MEDINA JOSE L                       MEDINA, JOSE L                   16496 BERNARDO CENTER DRIVE                                             SAN DIEGO         CA    92128
                                                                     SUITE 101
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MEDINA JR, DANIEL                908 ADAMS ST                                                                                               OWOSSO               MI 48867‐1649
MEDINA JR, DAVID                 32 PURSE LN                                                                                                HOPEWELL JUNCTION    NY 12533‐5224
MEDINA JR, JUAN                  18 RR 1                                                                                                    HOLGATE              OH 43527
MEDINA JR, MIGUEL                4901 KESSLER DR                                                                                            LANSING              MI 48910‐5324
MEDINA JR, PALEMON               4595 BROCKWAY RD                                                                                           SAGINAW              MI 48638‐4662
MEDINA JR, PHILLIP               15798 SW 16TH AVENUE RD                                                                                    OCALA                FL 34473‐8868
MEDINA MANAGEMENT COMPANY, LLC   GARY PANTECK                         3205 MEDINA RD                                                        MEDINA               OH 44256‐9631

MEDINA MARI                      MEDINA, MARI                         3031 STANFORD RANCH RD #2‐150                                         ROCKLIN             CA 95765

MEDINA MARIA                     FARMERS TEXAS COUNTY MUTUAL          12345 JONES ROAD SUITE 190                                            HOUSTON              TX   77070
                                 INSURANCE COMPANY
MEDINA MARIA                     MEDINA, MARIA                        12345 JONES ROAD SUITE 190                                            HOUSTON             TX    77070
MEDINA MARIA DEL ROSARIO         DEL ROSARIO MEDINA, MARIA            9047 FLOWER ST                                                        BELLFLOWER          CA    90706‐5605
MEDINA MARIA DEL ROSARIO         MEDINA, ISIDRO M                     HUTCHENS, LAWRENCE J            9047 FLOWER STREET                    BELLFLOWER          CA    90706
MEDINA MARIA GONZALEZ            GONZALEZ, GABRIELLA                  137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA MARIA GONZALEZ            GONZALEZ, JASMINE                    137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA MARIA GONZALEZ            GONZALEZ, MIGUEL A                   137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA MARIA GONZALEZ            GONZALEZ, NOELIA MEDINA              137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA MARIA GONZALEZ            MEDINA, MARIA GONZALEZ               137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA MARIA GONZALEZ            SALGADO, OBTULIA                     137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA MARIA GONZALEZ            SUAREZ, YESENIA                      137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA MUFFLER                   895 W LIBERTY ST                                                                                           MEDINA              OH    44256‐1312
MEDINA MUNICIPAL COURT           135 N ELMWOOD AVE                                                                                          MEDINA              OH    44256‐1826
MEDINA RAMON                     MEDINA, RAMON                        110 BROADWAY ST STE 370                                               SAN ANTONIO         TX    78205‐1992
MEDINA ROY SR                    421 CHERRY ST                                                                                              HOLGATE             OH    43527‐9546
MEDINA SANDRA                    MEDINA, SANDRA                       1120 MCKINLEY AVE APT 9                                               POCATELLO           ID    83201‐4370
MEDINA SEVERO                    MEDINA, SEVERO                       137 N 9TH ST                                                          PHILADELPHIA        PA    19107‐2410
MEDINA SEVERO                    STATE FARM FIRE & CASUALTY COMPANY   744 N 4TH ST STE 600                                                  MILWAUKEE           WI    53203‐2108

MEDINA SR, MIGUEL                412 W 7TH ST                                                                                               SAN JUAN            TX    78589‐2408
MEDINA SR, ROY                   421 CHERRY ST                                                                                              HOLGATE             OH    43527‐9546
MEDINA TOMAS                     224 PAMELA DR                                                                                              BOLINGBROOK         IL    60440‐1363
MEDINA TRANSPORT                 PO BOX 115                                                                                                 ROOTSTOWN           OH    44272‐0115
MEDINA VICTOR SR (482857)        BRAYTON PURCELL                      PO BOX 6169                                                           NOVATO              CA    94948‐6169
MEDINA, ABIGAIL Y                5675 MERIT WAY                                                                                             FREMONT             CA    94538‐3216
MEDINA, ABIGAIL Y                5675 MERIT                                                                                                 FREMONT             CA    94538‐3216
MEDINA, ABUNDIO V                PO BOX 123                                                                                                 PIRU                CA    93040‐0123
MEDINA, ALBERT                   557 CAMPBELL ST                                                                                            KANSAS CITY         MO    64106‐1275
MEDINA, ANA                      181 BALDWIN ST                                                                                             NEW BRUNSWICK       NJ    08901‐2929
MEDINA, ANGEL                    5810 ARTHINGTON ST                                                                                         HOUSTON             TX    77053‐3004
MEDINA, ANNA R                   9007 E COUNTY ROAD 1050 S                                                                                  WALTON              IN    46994‐9128
MEDINA, ANTONIA                  2217 W MILLER RD                                                                                           LANSING             MI    48911‐4644
MEDINA, ANTONIO AVON             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                           NORFOLK             VA    23510‐2212
                                                                      STREET, SUITE 600
MEDINA, AUDREY J.                1536 GRANT AVE                                                                                             LINCOLN PARK        MI    48146‐2137
MEDINA, BRIAN                    5021 FERNWOOD AVE                                                                                          FORT WAYNE          IN    46809‐1927
MEDINA, CARL W                   6144 ROBERTSON AVE                                                                                         NEWARK              CA    94560
MEDINA, CESAR                    814 N CLINTON AVE                                                                                          SAINT JOHNS         MI    48879‐1038
MEDINA, CONCEPCION               78 GEORGIA ST                                                                                              CLARK               NJ    07066‐1128
MEDINA, DANIEL L                 7603 N 25TH ST                       NOTHINGHAM ESTATES                                                    MCALLEN             TX    78504‐5519
MEDINA, DOLORES M                2536 E 106TH ST                                                                                            CHICAGO             IL    60617‐6126
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Name                           Address1                       Address2                  Address3   Address4               City            State Zip
MEDINA, DOLORES M              2536 E. 106TH ST.                                                                          CHICAGO           IL 60617‐6126
MEDINA, DORA E                 1608 ERIE                                                                                  SAGINAW          MI 48601‐4402
MEDINA, DORA E                 1608 ERIE ST                                                                               SAGINAW          MI 48601‐4402
MEDINA, DORIS M                PO BOX 67874                                                                               ROCHESTER        NY 14617‐7874
MEDINA, EDWARD J               1630 FAIRLAWN ST                                                                           DEFIANCE         OH 43512‐4013
MEDINA, ESTELA                 3800 DREW LN                                                                               ARLINGTON        TX 76017‐2315
MEDINA, EZEQUIEL               1424 GLENWOOD DR                                                                           MOORE            OK 73160‐6124
MEDINA, FRANCISCO G            4240 N KANSAS AVE                                                                          KANSAS CITY      MO 64117‐1643
MEDINA, FRANCISCO GAVINO       4240 N KANSAS AVE                                                                          KANSAS CITY      MO 64117‐1643
MEDINA, GILBERT                4159 GREENBUSH AVENUE                                                                      SHERMAN OAKS     CA 91423‐4305
MEDINA, GUILLERMO              4127 OLD MISSION RD                                                                        TRAVERSE CITY    MI 49686‐8728
MEDINA, GUIOMAR P              15798 SW 16 AVENUE RD                                                                      OCALA            FL 34473
MEDINA, GUIOMAR P              15798 SW 16TH AVENUE RD                                                                    OCALA            FL 34473‐8868
MEDINA, HENRY                  1098 WOODSIDE DR                                                                           MANSFIELD        OH 44906‐1537
MEDINA, HERIBERTO              2120 E 29TH ST                                                                             LORAIN           OH 44055‐1915
MEDINA, HERMINIA               4618 DAVID DR                                                                              BRISTOL          PA 19007‐2016
MEDINA, ISIDRO M               HUTCHENS, LAWRENCE J           9047 FLOWER ST                                              BELLFLOWER       CA 90706‐5605
MEDINA, JOE A                  6105 FARMINGDALE DR                                                                        ARLINGTON        TX 76001‐5271
MEDINA, JOHANNA M              1880 AXTELL DR APT 8                                                                       TROY             MI 48084‐4406
MEDINA, JOHN‐PAUL              6146 N COVENTRY AVE                                                                        KANSAS CITY      MO 64151‐2221
MEDINA, JORGE L                1410 E CENTURY AVE                                                                         GILBERT          AZ 85296‐1359
MEDINA, JOSE                   8852 CROOKED CREEK DR                                                                      SAGINAW          MI 48609‐9211
MEDINA, JOSE A                 3020 S KEELER AVE                                                                          CHICAGO           IL 60623‐4308
MEDINA, JOSE B                 6105 FARMINGDALE DR                                                                        ARLINGTON        TX 76001‐5271
MEDINA, JOSE BLAS              6105 FARMINGDALE DR                                                                        ARLINGTON        TX 76001‐5271
MEDINA, JOSE R                 PO BOX 3045                                                                                SAN SEBASTIAN    PR 00685‐7001
MEDINA, JOSEPH D               6146 N COVENTRY AVE                                                                        KANSAS CITY      MO 64151‐2221
MEDINA, JOSEPH DANIEL          6146 N COVENTRY AVE                                                                        KANSAS CITY      MO 64151‐2221
MEDINA, JUAN                   31 ALFRED DR                                                                               BORDENTOWN       NJ 08505‐3209
MEDINA, JUAN                   2559 N WASKEVICH LN                                                                        MIDLAND          MI 48642‐8817
MEDINA, JUAN M                 10617 FIRWOOD CT                                                                           NORWALK          CA 90650‐3430
MEDINA, JUANITA                6105 FARMINGDALE DR                                                                        ARLINGTON        TX 76001‐5271
MEDINA, JULIUS A               2216 STONESTHROW DR                                                                        LAPEER           MI 48446‐9120
MEDINA, JULIUS A.              2216 STONESTHROW DR                                                                        LAPEER           MI 48446‐9120
MEDINA, LAURA M                6722 VALLEY HIGHWAY                                                                        VERMONTVILLE     MI 49096‐9535
MEDINA, LAURA P                3729 JOEL LN                                                                               FLINT            MI 48506‐2655
MEDINA, LAWRENCE               HC 65 BOX 527036                                                                           CONCHO           AZ 85924‐8512
MEDINA, LAWRENCE H             5222 S NEWCASTLE CT                                                                        TUCSON           AZ 85746‐3985
MEDINA, LEROY M                34727 LILAC ST                                                                             UNION CITY       CA 94587‐5250
MEDINA, LOUIS R                406 10TH ST APT 1                                                                          BAY CITY         MI 48708
MEDINA, LUIS                   1867 11TH ST                                                                               WYANDOTTE        MI 48192‐3627
MEDINA, LUIS                   4759 WINTERGREEN DR S                                                                      SAGINAW          MI 48603‐1949
MEDINA, LUIS F                 9007 E COUNTY ROAD 1050 S                                                                  WALTON           IN 46994‐9128
MEDINA, LYDIA E                322 PERRY PL APT 2                                                                         WYANDOTTE        MI 48192
MEDINA, MARIA                  THE LIPMAN LAW FIRM            5915 PONCE DE LEON BLVD   SUITE 44                          CORAL GABLES     FL 33146
MEDINA, MARIA                  2407 CARSON TRL                                                                            GRAND PRAIRIE    TX 75052‐7865
MEDINA, MARIA                  CULP & LITTLE                  12345 JONES RD STE 190                                      HOUSTON          TX 77070‐4959
MEDINA, MARIA GONZALEZ         KARPO MARK S PC                137 N 9TH ST                                                PHILADELPHIA     PA 19107‐2410
MEDINA, MARIA GONZALEZ         625 BRANCH WAY CT APT F                                                                    CHARLOTTE        NC 28273‐5024
MEDINA, MARIANNA               E‐5 STREET, NO. 5              FAIRVIEW                             SAN JUAN PUERTO RICO
                                                                                                   00926
MEDINA, MARIO ALBERTO AQUINO
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Name                                Address1                         Address2             Address3       Address4                  City              State Zip
MEDINA, MARY                        2017 E CORNWALL ST                                                                             PHILADELPHIA       PA 19134‐3214
MEDINA, MELISSA A                   420 CAMBRIDGE STREET                                                                           NAPOLEON           OH 43545‐2065
MEDINA, MELISSA ANN                 420 CAMBRIDGE STREET                                                                           NAPOLEON           OH 43545‐2065
MEDINA, MICHAEL                     1002 CODY DR                                                                                   COLUMBIA           TN 38401‐2291
MEDINA, PALEMON T                   4595 BROCKWAY RD                                                                               SAGINAW            MI 48638‐4662
MEDINA, PAUL P                      1 IOTA PL                                                                                      SAGINAW            MI 48638‐5907
MEDINA, PAUL PHILLIP                1 IOTA PL                                                                                      SAGINAW            MI 48638‐5907
MEDINA, PEDRO                       PO BOX 1362                                                                                    FAIRPORT           NY 14450‐7362
MEDINA, RANDY                       5809 SCHAFER RD                                                                                LANSING            MI 48911‐4900
MEDINA, RENE                        3607 WISPERBREATH LN                                                                           TAMPA              FL 33619
MEDINA, RICARDO                     5325 ELDORADO DR                                                                               BRIDGEPORT         MI 48722‐9591
MEDINA, RUDY F                      1930 HUDSON ST                                                                                 SAGINAW            MI 48602‐5042
MEDINA, SALLY I                     134 CHIEF NIMHAM CIRCLE                                                                        CARMEL             NY 10512‐3625
MEDINA, SALUSTIANO                  PO BOX 20                                                                                      VEGA BAJA          PR 00694‐0020
MEDINA, SANDRA                      1120 MCKINLEY AVE APT 9                                                                        POCATELLO          ID 83201‐4370
MEDINA, SANTIAGO D                  4133 OLD MISSION RD                                                                            TRAVERSE CITY      MI 49686‐8728
MEDINA, SECUNDINO                   2318 ALMONDWOOD AVE                                                                            LANCASTER          CA 93535‐5638
MEDINA, SERGIO C                    6413 LOGAN RD                                                                                  WATERFORD          MI 48329‐2964
MEDINA, SEVERO                      KARPO MARK S PC                  137 N 9TH ST                                                  PHILADELPHIA       PA 19107‐2410
MEDINA, SHARON                      5821 N CYPRESS                                                                                 KANSAS CITY        MO 64119
MEDINA, SIMON                       3750 MANISTEE ST                                                                               SAGINAW            MI 48603‐3143
MEDINA, SIXTO A                     25 INDIAN RD APT LB                                                                            NEW YORK           NY 10034‐1018
MEDINA, TEODORO                     2716 MINGO DR                                                                                  LANDO LAKE         FL 34639
MEDINA, TERRI A                     24229 SPLENDID LN                                                                              WARSAW             MO 65355‐3607
MEDINA, TOMMY                       1536 GRANT AVE                                                                                 LINCOLN PARK       MI 48146‐2137
MEDINA, TONY R                      4555 SARGENT AVE                                                                               CASTRO VALLEY      CA 94546‐3651
MEDINA, VICTOR                      BRAYTON PURCELL                  PO BOX 6169                                                   NOVATO             CA 94948‐6169
MEDINA, ZACK S                      1863 GRAVES CT                                                                                 NORTHGLENN         CO 80233‐3269
MEDINA‐WILLIAMS, EMILY              4717 DONALD STREET                                                                             LANSING            MI 48910‐7410
MEDINE, HELOISE                     ALLAIN AND ALLAIN                PO BOX 467                                                    JEANERETTE         LA 70544‐0467
MEDING, DORIS R                     3659 MAPLEKNOLL PL               C/O KRIS MEDING                                               THOUSAND OAKS      CA 91362‐1015
MEDING, VIRGINIA A                  7016 MORNINGTON RD APT B                                                                       BALTIMORE          MD 21222‐5332
MEDINILLA, ELIZABETH                2921 COOPER WOODS DR                                                                           LOGANVILLE         GA 30052‐8200
MEDINIS, JOSEPH D                   57451 YORKSHIRE DR                                                                             WASHINGTN TWP      MI 48094‐3570
MEDIO MICHAEL                       480 BLANK LN                                                                                   WATER MILL         NY 11976‐2136
MEDISCH, ELIZABETH T                4601 KNOLLCROFT RD                                                                             TROTWOOD           OH 45426‐1938
MEDISCH, JOSEPH C                   325 BANGOR DR                                                                                  INDIANAPOLIS       IN 46227‐2423
MEDITERRANEAN PROPERTIE LTD         65, BOULEVARD G‐D CHARLOTTE      L‐ 1331 LUXEMBOURG   00352 264491
MEDITERRANEAN PROPERTIES LTD        SDSDFSDFSDF                      DFSDFSDFSDF                         TTTTTTTTTTTTTTTTTTTTTTT
MEDITERRANEAN SHIPPING CO USA INC   420 5TH AVE FL 8                 *SCAC MESU*                                                   NEW YORK          NY 10018‐0222

MEDIWELL INC                        5354 W VICKERY BLVD                                                                            FORT WORTH        TX   76107‐7520
MEDIX SPECIALTY VEHICLES INC        3008 MOBILE DR                                                                                 ELKHART           IN   46514‐5524
MEDJESKY, CYNTHIA A                 1745 E THOMPSON RD                                                                             INDIANAPOLIS      IN   46227‐4505
MEDJESKY, HAZEL M                   230 WELCOME WAY BLVD             APT B20                                                       INDIANAPOLIS      IN   46214
MEDJESKY, HAZEL M                   230 WELCOME WAY BLVD W APT B20                                                                 INDIANAPOLIS      IN   46214‐4943
MEDLA, JOHN E                       4912 RIDGEBURY BLVD                                                                            LYNDHURST         OH   44124‐1129
MEDLAR, BETTY R                     8240 COUNTRY MANOR LN                                                                          ALVARADO          TX   76009‐6470
MEDLEN, CLARENCE W                  4209 KYLE LN                                                                                   KOKOMO            IN   46902‐4896
MEDLEN, DEBORAH L                   1759 W AUBURN RD                                                                               ROCHESTER HILLS   MI   48309‐3857
MEDLEN, DOROTHY A                   4115 RYAN CT                                                                                   KOKOMO            IN   46902‐4491
MEDLEN, DOUGLAS D                   3720 S ADAMS RD                                                                                AUBURN HILLS      MI   48326‐3309
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Name                           Address1                           Address2                        Address3                 Address4         City               State Zip
MEDLEN, J D                    2586 BASEVIEW DR                                                                                             PINCKNEY            MI 48169‐9546
MEDLEN, JASON D                29781 WHITE HALL DR                                                                                          FARMINGTON HILLS    MI 48331‐1940
MEDLEN, LINDA                  13043 PINNER AVE.                                                                                            FISHERS             IN 46037
MEDLEN, RAY                    3845 W 250 S                                                                                                 KOKOMO              IN 46902‐9124
MEDLEN, WILLIAM H              9533 ROUNDLAKE BLVD                                                                                          WHITE LAKE          MI 48386‐3972
MEDLER ELECTRIC CO             2155 REDMAN DR                                                                                               ALMA                MI 48801‐9313
MEDLER FRED R (484550)         KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                             CLEVELAND           OH 44114
                                                                  BOND COURT BUILDING
MEDLER KENNETH                 424 1/2 SOUTH TANNER STREET                                                                                  RANTOUL            IL   61866
MEDLER, AMANDA E               627 N MAIN ST                                                                                                NEW CASTLE         IN   47362
MEDLER, CHARLES D              6119 LONG HWY                                                                                                EATON RAPIDS       MI   48827‐8301
MEDLER, DANIEL B               PO BOX 189                                                                                                   HARTFORD CITY      IN   47348‐0189
MEDLER, FRED R                 KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                              CLEVELAND          OH   44114
                                                                  BOND COURT BUILDING
MEDLER, LARRY T                8511 WILLIAM ST                                                                                              TAYLOR             MI   48180‐2874
MEDLER, THEODORE A             11708 E 21ST STREET CT S                                                                                     INDEPENDENCE       MO   64050‐4288
MEDLER, WILBURT E              2240 S STATE ROAD 1                                                                                          FARMLAND           IN   47340‐9592
MEDLEY ALBERT                  MEDLEY, ANNE                       KAHN & ASSOCIATES LLC           102 WOODMONT BOULEVARD                    NASHVILLE          TN   37205
                                                                                                  SUITE 200
MEDLEY ALBERT                  MEDLEY, ALBERT                     102 WOODMONT BLVD STE 200                                                 NASHVILLE          TN   37205‐2216
MEDLEY FRED K                  4140 STONE RIVER RD                                                                                          CRESTLINE HTS      AL   35213‐2219
MEDLEY GREGORY                 3467 FRAINS LAKE RD                                                                                          YPSILANTI          MI   48198‐9606
MEDLEY JR, JOHN W              2727 HAVERSHAM CT                                                                                            CHARLOTTE          NC   28216‐9610
MEDLEY JR, ROBERT L            250 BRADY WALK                                                                                               LAWRENCEVILLE      GA   30045‐8846
MEDLEY MATERIAL HANDLING INC   PO BOX 26706                                                                                                 OKLAHOMA CITY      OK   73126‐0706
MEDLEY SR, HOWARD E            165 MAIN ST                                                                                                  LEIPSIC            OH   45856‐1018
MEDLEY VIRGIL                  25123 ARLINGTON ST                                                                                           ROSEVILLE          MI   48066‐3979
MEDLEY, ALBERT                 KAHN & ASSOCIATES LLC              55 PUBLIC SQ STE 650                                                      CLEVELAND          OH   44113‐1909
MEDLEY, ANNE                   KAHN & ASSOCIATES LLC              55 PUBLIC SQ STE 650                                                      CLEVELAND          OH   44113‐1909
MEDLEY, ARNOLD J               135 W CARIBBEAN                                                                                              PORT ST LUCIE      FL   34952‐3470
MEDLEY, BETTY                  626 E WEISHEIMER RD                                                                                          COLUMBUS           OH   43214‐2231
MEDLEY, BETTY                  626 EAST WEISHEIMER RD                                                                                       COLUMBUS           OH   43214
MEDLEY, BEVERLY A              1146 E LARAMIE AVE                                                                                           PUEBLO WEST        CO   81007‐7112
MEDLEY, BEVERLY A              1146 EAST LARAMIE AVENUE                                                                                     PUEBLO             CO   81007‐7112
MEDLEY, CLARENCE               1211 W 85TH ST                                                                                               KANSAS CITY        MO   64114‐2712
MEDLEY, DAVID A                396 KING RD                                                                                                  GORDON             GA   31031‐3175
MEDLEY, DIANE E
MEDLEY, FRANCIS                2444 SUNSHINE ACRES                                                                                          FESTUS             MO   63028‐4584
MEDLEY, FRED                   66500 WOLCOTT RD                                                                                             RAY                MI   48096‐1816
MEDLEY, GARY W                 15414 N OAK DR                                                                                               CHOCTAW            OK   73020‐7065
MEDLEY, GREGORY                3467 FRAINS LAKE RD                                                                                          YPSILANTI          MI   48198‐9606
MEDLEY, HAROLD W               17411 NORTHLAWN ST                                                                                           DETROIT            MI   48221‐2550
MEDLEY, HEATHER
MEDLEY, HURSHA B               4539 GILFORD DR                                                                                              SILVERWOOD         MI   48760‐9736
MEDLEY, JAMES B                1730 WEYMOUTH LN NW                                                                                          HUNTSVILLE         AL   35806‐3426
MEDLEY, JAMES H                4024 CLEARSTREAM WAY                                                                                         ENGLEWOOD          OH   45322‐1458
MEDLEY, JAMES W                1635 SAINT JULIAN ST                                                                                         SUWANEE            GA   30024‐2899
MEDLEY, JASON M                4784 CECELIA ANN AVENUE                                                                                      CLARKSTON          MI   48346‐4083
MEDLEY, JOHN M                 1146 E LARAMIE AVE                                                                                           PUEBLO WEST        CO   81007‐7112
MEDLEY, JOHN M                 1146 EAST LARAMIE AVENUE                                                                                     PUEBLO             CO   81007‐7112
MEDLEY, JOHNNIE F              GENERAL DELIVERY                                                                                             MOUNDVILLE         MO   64771‐9999
MEDLEY, JOSEPH K               16724 KEITH DR                                                                                               MACOMB             MI   48042‐2330
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Name                          Address1                         Address2                      Address3   Address4         City            State Zip
MEDLEY, KAREN E               77 LORENZO DR                                                                              FREDERICKSBRG    VA 22405‐3609
MEDLEY, KELLY E               1071 SANDSTONE PASS                                                                        FLINT            MI 48532‐2130
MEDLEY, LAUNA E               2814 FREDONIA RD                                                                           INDIANAPOLIS     IN 46222‐1458
MEDLEY, LEO F                 PO BOX 871142                                                                              CANTON           MI 48187‐6142
MEDLEY, LILA L                1520 LINDENWOOD                                                                            DESOTO           MO 63020‐2805
MEDLEY, LINDA L               19 S DADE 203                                                                              EVERTON          MO 65646‐8176
MEDLEY, LORETTA H             195 COCHRANE DR                                                                            ALICEVILLE       AL 35442‐3845
MEDLEY, MACEO                 4565 JAYWOOD DR                                                                            SILVERWOOD       MI 48760‐9751
MEDLEY, MAE L                 17846 W CLUB VISTA DR                                                                      SURPRISE         AZ 85374‐2907
MEDLEY, MARQUITA A            2027 WYNDHURST RD                                                                          TOLEDO           OH 43607‐1372
MEDLEY, MARQUITA ALLENE       2027 WYNDHURST RD                                                                          TOLEDO           OH 43607‐1372
MEDLEY, MARY C                1649 EMERALD POINTE LN                                                                     KNOXVILLE        TN 37918‐9610
MEDLEY, MARY F                1621 S 49TH ST                                                                             KANSAS CITY      KS 66106‐2309
MEDLEY, MARY F                1621 SO 49TH ST                                                                            KANSAS CITY      KS 66106‐2309
MEDLEY, PAUL E                5225 SPRINGVIEW CIRCLE                                                                     TROTWOOD         OH 45426‐2356
MEDLEY, PAULINE               25854 ROSS ST                                                                              INKSTER          MI 48141‐3258
MEDLEY, PAULINE               25854 ROSS                                                                                 INKSTER          MI 48141‐3258
MEDLEY, RANDY P               1916 NICOLET ST                                                                            JANESVILLE       WI 53546‐5760
MEDLEY, ROBERT A              522 NANCY DRIVE BX 117                                                                     SWEETSER         IN 46987
MEDLEY, ROLAND L              2704 W 23RD ST                                                                             ANDERSON         IN 46011‐4017
MEDLEY, SANDRA M              44695 FOREST TRAIL DR                                                                      CANTON           MI 48187‐1704
MEDLEY, SHERYL M              1916 NICOLET ST                                                                            JANESVILLE       WI 53546‐5760
MEDLEY, SONDRA S              10336 WALMER ST                                                                            OVERLAND PARK    KS 66212‐1741
MEDLEY, TARA J                1297 STATE ROUTE 28                                                                        MIDLAND          OH 45148‐9619
MEDLEY, THERESA D             1071 SANDSTONE PASS                                                                        FLINT            MI 48532‐2130
MEDLEY, THERESA DIANE         1071 SANDSTONE PASS                                                                        FLINT            MI 48532‐2130
MEDLEY, TYRONE                1750 W HOWARD RD                                                                           BEAVERTON        MI 48612‐9418
MEDLEY, VACHEL L              4539 GILFORD DR                                                                            SILVERWOOD       MI 48760‐9736
MEDLEY, VIRGIL                25123 ARLINGTON ST                                                                         ROSEVILLE        MI 48066‐3979
MEDLEY, W T                   454 PRAIRIE AVE                                                                            WILMINGTON       OH 45177‐1749
MEDLEY, WALTER G              7480 W 200 N                                                                               THORNTOWN        IN 46071‐9397
MEDLEY, WALTER H              7905 ROWLAND AVE                                                                           KANSAS CITY      KS 66109‐2255
MEDLEY, WELMER B              25854 ROSS ST                                                                              INKSTER          MI 48141‐3258
MEDLIN BUICK GMC              1900 S TARBORO ST                                                                          WILSON           NC 27893
MEDLIN BUICK OLDSMOBILE GMC   1900 S TARBORO ST                                                                          WILSON           NC 27893
MEDLIN CRAWFORD P (429438)    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                               STREET, SUITE 600
MEDLIN INVESTMENTS, INC.      JACK MEDLIN                      1900 S TARBORO ST                                         WILSON          NC 27893
MEDLIN JAMES R (429439)       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510
                                                               STREET, SUITE 600
MEDLIN KATHY                  5025 WINDING TRAIL LN                                                                      INDIAN TRAIL    NC   28079
MEDLIN MURRAY                 C/O EDWARD O MOODY P A           801 W 4TH ST                                              LITTLE ROCK     AR   72201
MEDLIN TRAVIS                 MEDLIN, CHRISTINA                5055 WILSHIRE BLVD STE 300                                LOS ANGELES     CA   90036‐6101
MEDLIN TRAVIS                 MEDLIN, TRAVIS                   5055 WILSHIRE BLVD STE 300                                LOS ANGELES     CA   90036‐6101
MEDLIN, ALICE M               3041 WALKER DR                                                                             MARIETTA        GA   30062‐1528
MEDLIN, BRENDA A              558 OAK GROVE ROAD                                                                         JOHNSON CITY    TN   37615‐2731
MEDLIN, CARL C                9805 AVENUE C                                                                              MECOSTA         MI   49332‐9520
MEDLIN, CHARLES E             128 MOTEL DR                                                                               WARTBURG        TN   37887‐4236
MEDLIN, CHRISTINA             KROHN & MOSS ‐ CA,               5055 WILSHIRE BLVD STE 300                                LOS ANGELES     CA   90036‐6101
MEDLIN, CRAWFORD P            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                               STREET, SUITE 600
MEDLIN, DENNIS E              9522 PENCE JONES RD                                                                        WAYNESVILLE     OH 45068‐9646
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Name                        Address1                        Address2                      Address3   Address4         City              State Zip
MEDLIN, DIANE R             5995 CITRUS AVE                                                                           FORT PIERCE        FL 34982‐3310
MEDLIN, EDWIN M             5906 HAMS FORD RD                                                                         SPOTSYLVANIA       VA 22551‐2603
MEDLIN, FRANCES B           1059 GOLDEN SANDS WAY                                                                     LELAND             NC 28451‐7015
MEDLIN, FRANK H             27226 HOSPITAL DR                                                                         PAOLA              KS 66071‐5394
MEDLIN, GEORGE F            230 S RIDGEVIEW RD                                                                        OLATHE             KS 66061‐4835
MEDLIN, JAMES R             606 N SUNSET DR                                                                           INDEPENDENCE       MO 64050‐3223
MEDLIN, JAMES R             GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
MEDLIN, LYNN L              118 ELLIOT WOOD PL                                                                        FORT WAYNE        IN   46804
MEDLIN, MARY E              21808 S MAJOR RD                                                                          PECULIAR          MO   64078‐8729
MEDLIN, MARY MARGARET       1015 FIVE FORK RD                                                                         HILLSVILLE        VA   24343‐3756
MEDLIN, MARY MARGARET       1015 FIVE FORKS RD                                                                        HILLSVILLE        VA   24343‐3756
MEDLIN, MILDRED             2668 BUFORD DAM RD                                                                        CUMMING           GA   30041‐6624
MEDLIN, MURRAY              MOODY EDWARD O                  801 W 4TH ST                                              LITTLE ROCK       AR   72201‐2107
MEDLIN, PHILLIP N           7153 THOMAS AVE                                                                           BRIDGEVIEW        IL   60455‐1151
MEDLIN, TIMBERLY A          14089 GLENWOOD DR                                                                         SHELBY TOWNSHIP   MI   48315‐5421
MEDLIN, TIMBERLY D          14089 GLENWOOD DR                                                                         SHELBY TOWNSHIP   MI   48315‐5421
MEDLIN, TRAVIS              KROHN & MOSS ‐ CA,              5055 WILSHIRE BLVD STE 300                                LOS ANGELES       CA   90036‐6101
MEDLIN, VIRGIL L            21808 S MAJOR RD                                                                          PECULIAR          MO   64078‐8729
MEDLIN, WAYNE L             5869 BEDELL RD                                                                            BERLIN CENTER     OH   44401‐9713
MEDLIN, WILLIAM B
MEDLIN, WILLIAM R           1525 BAKER CIR                                                                            INDEPENDENCE      MO   64050‐4170
MEDLIN, WILLIS H            3705 N HUNTINGTON RD                                                                      MARION            IN   46952‐1227
MEDLING, WILLIAM J          3402 KLEINPELL ST                                                                         FLINT             MI   48507‐2158
MEDLOCK WILLIE J (403143)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                            STREET, SUITE 600
MEDLOCK, AVERAL S           645 W NORTHFIELD AVE                                                                      PONTIAC           MI 48340‐1330
MEDLOCK, DANIEL D           1329 LINVILLE DR                                                                          WATERFORD         MI 48328‐1232
MEDLOCK, DAVID
MEDLOCK, E J                1381 WHITE OAK DR                                                                         WHITE PLAINS      GA   30678
MEDLOCK, ETHEL M            918 PATTON HILL RD                                                                        BEDFORD           IN   47421‐8638
MEDLOCK, ETHEL M            RR 4 BOX 1180                                                                             SPRINGVILLE       IN   47452‐9645
MEDLOCK, JEREMY M           457 ROLAND ST                                                                             PONTIAC           MI   48341‐2372
MEDLOCK, JESSE              PO BOX 49016                                                                              SARASOTA          FL   34230‐6016
MEDLOCK, KEITH A            645 W NORTHFIELD AVE                                                                      PONTIAC           MI   48340‐1330
MEDLOCK, KEITH A.           645 W NORTHFIELD AVE                                                                      PONTIAC           MI   48340‐1330
MEDLOCK, KELLY L            12805 NW JAMILYN LN                                                                       PARKVILLE         MO   64152‐1473
MEDLOCK, MELINDA K          10921 WHITESTONE RANCH RD                                                                 BENBROOK          TX   76126‐4579
MEDLOCK, NICKY              3400 S ORTONVILLE RD                                                                      CLARKSTON         MI   48348‐1236
MEDLOCK, NICOLE JUSTINE     230 BLUE BIRD LN                                                                          SMITHS GROVE      KY   42171‐8734
MEDLOCK, PHILIP L           12805 NW JAMILYN LN                                                                       PARKVILLE         MO   64152‐1473
MEDLOCK, RICK V             9650 KIER RD                                                                              HOLLY             MI   48442‐8759
MEDLOCK, ROSA N             3085 COUNTY HOME RD                                                                       PARIS             TN   38242‐7980
MEDLOCK, WILLIAM B          2196 PARIS AVE                                                                            LINCOLN PARK      MI   48146‐1375
MEDLOCK, WILLIE J           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
MEDLOCK, WILLIS F           PO BOX 2684                                                                               PALATKA           FL   32178‐2684
MEDLYN, ARLENE E            5350 WYNDEMERE COMMON SQ                                                                  SWARTZ CREEK      MI   48473‐8911
MEDLYN, JILL M              956 PINE TREE RD                                                                          LAKE ORION        MI   48362‐2556
MEDLYN, JILL MARIE          956 PINE TREE RD                                                                          LAKE ORION        MI   48362‐2556
MEDLYN, LESLIE R            5350 WYNDEMERE COMMON SQ                                                                  SWARTZ CREEK      MI   48473‐8911
MEDNIS, JANIS               294 HOWLAND AVE                                                                           ROCHESTER         NY   14620‐3170
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Name                          Address1                           Address2                     Address3   Address4                 City              State Zip
MEDO SR, THOMAS A             1519 E SPYGLASS DR                                                                                  CHANDLER           AZ 85249‐4356
MEDORA REDLEY                 2419 S ETHEL ST                                                                                     DETROIT            MI 48217‐1656
MEDORE, JAMES E               4611 E TRASK LAKE RD                                                                                HARRISVILLE        MI 48740‐9745
MEDOS, DONNA J                7110 TEXTILE RD                                                                                     YPSILANTI          MI 48197‐8992
MEDOS, DONNA JANE             7110 TEXTILE RD                                                                                     YPSILANTI          MI 48197‐8992
MEDOS, MARK R                 7110 TEXTILE RD                                                                                     YPSILANTI          MI 48197‐8992
MEDOVARSKY, JOHN W            18119 22 MILE RD                                                                                    MACOMB             MI 48044‐1630
MEDOVICH, CARLA P             311 5TH ST APT 1                                                                                    NILES              OH 44446‐1478
MEDOVICH, STEPHEN P           1417 W LIBERTY ST                                                                                   HUBBARD            OH 44425‐3310
MEDPOINTE INC                 032 DAVIDSON AVE STE 300                                                                            SOMERSET           NJ 08873
MEDPOINTE INC                 265 DAVIDSON AVE STE 300                                                                            SOMERSET           NJ 08873‐4120
MEDRAD INC                    1 MEDRAD DR                                                                                         INDIANOLA          PA 15051‐9759
MEDRANO JR, DARIO F           617 LOUISA ST                                                                                       LANSING            MI 48911‐5134
MEDRANO SR., HILDEBERTO A     PO BOX 210248                                                                                       AUBURN HILLS       MI 48321‐0248
MEDRANO SR., HILDEBERTO A.    PO BOX 210248                                                                                       AUBURN HILLS       MI 48321‐0248
MEDRANO, ALEX                 1822 19TH ST                                                                                        BEDFORD            IN 47421‐4050
MEDRANO, ANTONIO R            704 HEATHCLIFF DR                                                                                   EVERMAN            TX 76140‐2910
MEDRANO, BONIFACIO            337 LOU ELLEN DR                                                                                    MANCHESTER         TN 37355‐3216
MEDRANO, CELESTINA            988 REDPENE CT                                                                                      SAN DIEGO          CA 92154
MEDRANO, DANIEL               5536 STRAWBERRY LN                                                                                  HASLETT            MI 48840‐9770
MEDRANO, DANIEL               PO BOX 110016                                                                                       NAPLES             FL 34108
MEDRANO, DAVID R              3190 SHERWOOD ST                                                                                    SAGINAW            MI 48603‐2059
MEDRANO, DOLORES
MEDRANO, EDVARDO J            19126 WOOD ST                                                                                       MELVINDALE        MI   48122‐2203
MEDRANO, FAUSTINO             PO BOX 20215                                                                                        SAGINAW           MI   48602‐0215
MEDRANO, HILDEBERTO A         2100 GALLOWAY ST                                                                                    AUBURN HILLS      MI   48326‐2422
MEDRANO, HILDEBERTO ANTONIO   2100 GALLOWAY ST                                                                                    AUBURN HILLS      MI   48326‐2422
MEDRANO, IRMA
MEDRANO, JAVIER M             4000 DEER CREEK BLVD STE H2                                                                         SPRING HILL       TN 37174‐5142
MEDRANO, JOSE
MEDRANO, JOSE S               PO BOX 221                                                                                          FULTON            CA 95439‐0221
MEDRANO, LETICIA
MEDRANO, LETICIA GUADALUPE    DAVID JARAMILLO ATTY               2025 SAN PEDRO DR NE                                             ALBUQUERQUE       NM 87110‐5951
MEDRANO, MARGARITA
MEDRANO, MARIA                HOUSSIERE DURANT HOUSSIERE LLP     1990 POST OAK BLVD STE 800                                       HOUSTON           TX   77056‐3851
MEDRANO, MARY ANN             7364 CARDINAL RD                                                                                    LEXINGTON         MI   48450‐9627
MEDRANO, MARY L               1417 OLD MILL RD                                                                                    LAPEER            MI   48446‐8736
MEDRANO, RAMON M              11080 OMELVENY AVE                                                                                  SAN FERNANDO      CA   91340‐4437
MEDRANO, SAM                  9328 FIRESIDE DR                                                                                    SHREVEPORT        LA   71118‐3208
MEDRANO, SONORA               2100 GALLOWAY ST                                                                                    AUBURN HILLS      MI   48326‐2422
MEDRI ENRICO                  VIALE ROMAGNA 33                                                           48016 MILANO MARITTIMA
                                                                                                         (RA) ITALY
MEDRI FABIO                   VIA L.GEROLDI, 55                                                                                   25049 ISEO (BS)
MEDRICK, PAUL                 10785 HOLLIS RD                                                                                     MEADVILLE         PA   16335‐7225
MEDRISK                       2701 RENAISSANCE BOULEVARD, SU                                                                      KING OF PRUSSIA   PA   19406
MEDRISK INC.                  2701 RENAISSANCE BLVD STE 200      P.O. BOX 61570                                                   KING OF PRUSSIA   PA   19406‐2781
MEDROW, JACK T                2040 W MAIN ST STE 210 # 1229                                                                       RAPID CITY        SD   57702‐2570
MEDROW, KENNETH W             12455 W JANESVILLE RD UNIT 201                                                                      MUSKEGO           WI   53150‐2953
MEDROW, MARJORIE A            2040 W MAIN ST STE 2101229                                                                          RAPID CITY        SD   57702
MEDROW, MARJORIE A            2040 W MAIN SUITE 210              1229                                                             RAPID CITY        SD   57702
MEDROW, MARY A                9120 W HIGHLAND PARK AVE APT 346                                                                    FRANKLIN          WI   53132‐8002
MEDROW, ROBERT A              139 BARON ROAD                                                                                      MUKWONAGO         WI   53149‐1461
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Name                             Address1                           Address2                    Address3   Address4                City               State Zip
MEDSECURITIES INVESTMENT SAL     482 CLEMENCEUA STR PO BOX 11‐348                                          11072030 RIAD EL SOLH
                                                                                                           BEIRUT LEBANON
MEDSKER ELEC/FRMNGTN             28650 GRAND RIVER AVE                                                                             FARMINGTON HILLS   MI    48336‐5824
MEDSKER, DONNA J.                P.O BOX # 55                                                                                      EATON              IN    47338
MEDSKER, DONNA J.                PO BOX 55                                                                                         EATON              IN    47338‐0055
MEDSKER, JOSHUA RUSSELL          6121 E LYNN DR                                                                                    MOORESVILLE        IN    46158‐6576
MEDSKER, RICKIE A                61 W DOUGLAS DR                                                                                   SAINT PETERS       MO    63376
MEDSOURCE LLC                    PO BOX 1248                                                                                       BLOOMINGTON        IL    61702‐1248
MEDSTAR                                                             551 E BERRY ST                                                                    TX    76110
MEDSTAR HEALTH ANES              PO BOX 632811                                                                                     BALTIMORE          MD    21263‐11
MEDSTAR HEALTH ANEST             PO BOX 632817                                                                                     BALTIMORE          MD    21263‐17
MEDSTAT GROUP INC                777 E EISENHOWER PKWY STE 500                                                                     ANN ARBOR          MI    48108
MEDTEC AMBULANCE INC             2429 LINCOLNWAY E                                                                                 GOSHEN             IN    46526‐6437
MEDTRAC/NASHVILLE                PO BOX 290429                                                                                     NASHVILLE          TN    37229‐0429
MEDUKAS, MARILYN A               PO BOX 607                                                                                        HOWARD CITY        MI    49329‐0607
MEDURA, VERNA                    9110 SUMMER PARK DR.                                                                              BALTIMORE          MD    21234‐3421
MEDUVSKY, ALEXANDER              12390 GLASGOW DR                                                                                  BRUCE TWP          MI    48065‐4478
MEDVE BRYAN                      319 LIVE OAK DR                                                                                   STAFFORD           TX    77477‐5626
MEDVEC, DOLORES A                965 PULASKI MERCER RD                                                                             NEW WILMINGTON     PA    16142‐2421
MEDVEC, JOHN W                   11475 FOX RUN LN                                                                                  CANFIELD           OH    44406‐8448
MEDVEC, MICHAEL P                6700 DORA BLVD                                                                                    INDEPENDENCE       OH    44131‐4956
MEDVECKY, PAUL T                 10350 CHAMPIONS CIR                                                                               GRAND BLANC        MI    48439‐9442
MEDVECKY, PAULETTE               32436 WOODBROOK DR                                                                                WAYNE              MI    48184‐1470
MEDVED CHEVROLET SOUTH, INC.     1506 S WILCOX ST                                                                                  CASTLE ROCK        CO    80104‐1922
MEDVED CHEVROLET SOUTH, INC.     JOHN MEDVED                        1506 S WILCOX ST                                               CASTLE ROCK        CO    80104‐1922
MEDVED CHEVROLET, INC            20901E 32ND PKWY                   UNIT C                                                         AURORA             CO    80011‐8101
MEDVED CHEVROLET, INC            20901 E 32ND PKWY                  UNIT C                                                         AURORA             CO    80011‐8101
MEDVED CHEVROLET, INC.                                                                                                             ARVADA             CO    80002
MEDVED CHEVROLET, INC.           JOHN MEDVED                        11001 W I70 FRONTAGE RD N                                      WHEAT RIDGE        CO    80033
MEDVED CHEVROLET, INC.           11001 N I 70 SERVICE RD                                                                           WHEAT RIDGE        CO    80033‐2102
MEDVED CHEVROLET, INC.           11001 W I70 FRONTAGE RD N                                                                         WHEAT RIDGE        CO    80033
MEDVED PONTIAC BUICK GMC INC     1506 S WILCOX ST                                                                                  CASTLE ROCK        CO    80104‐1922
MEDVED PONTIAC BUICK GMC, INC.   1506 S WILCOX ST                                                                                  CASTLE ROCK        CO    80104‐1922
MEDVED, ANNA                     860 GALAHAD DR                                                                                    ORTONVILLE         MI    48462‐8945
MEDVED, DARINKA                  2797 TRABAR DR                                                                                    WILLOUGHBY HILLS   OH    44092‐2619
MEDVED, EDWARD                   407 WHISPERING PINES DR SW                                                                        WARREN             OH    44481‐9664
MEDVED, GEORGE W                 14102 BLUE SKIES ST                                                                               LIVONIA            MI    48154‐4995
MEDVED, JASON M                  3522 WYANDOT LN                                                                                   YOUNGSTOWN         OH    44502‐3177
MEDVED, JOHN                     1484 NEW SALEM ROAD                                                                               NEW SALEM          PA    15468‐1170
MEDVED, JOSEPH B                 PO BOX 1356                                                                                       LAPEER             MI    48446‐5356
MEDVED, JULIE                    109 SAINT ROSE ST                  C/O MARY JANE MEDVED                                           JAMAICA PLAIN      MA    02130‐3927
MEDVED, LOUIS                    30 ERIE CANAL DR                                                                                  ROCHESTER          NY    14626
MEDVED, MILAN                    12790 KENYON DR                                                                                   CHESTERLAND        OH    44026‐3230
MEDVED, MILKA                    2800 ROCKEFELLER RD                                                                               WILLOUGHBY HILLS   OH    44092‐1465
MEDVESKAS, JOSEPH J              15912 S RIVER RD                                                                                  PLAINFIELD         IL    60544‐8118
MEDVETZ, MICHAEL B               7602 LIBERTY AVE                                                                                  PARMA              OH    44129‐1307
MEDVETZ, STEVEN                  PO BOX 171                         181 FOURTH STREET                                              ONEIDA             PA    18242‐0171
MEDVETZ, STEVEN                  181 4TH ST                         PO BOX 171                                                     ONEIDA             PA    18242
MEDWEDEFF, CARL G                15555 FAIRLANE DR                                                                                 LIVONIA            MI    48154‐2643
MEDWICK, C L                     295 MAIN ST                                                                                       RIDGEFIELD PK      NJ    07660‐1535
MEDWICK, IRENE                   50 LACEY RD STE B101                                                                              MANCHESTER TW      NJ    08759‐2954
MEDWICK, IRENE                   50 LACEY RD                        APT# D133                                                      WHITING            NJ    08759
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Name                       Address1                       Address2                          Address3   Address4         City              State Zip
MEDWID, MERCEDES           52 MORGAN DR                                                                                 LEXINGTON          OH 44904‐8017
MEDWORK                    PO BOX 710874                                                                                COLUMBUS           OH 43271‐0001
MEDYN, ALICE M             206 CASE ST                                                                                  SOLVAY             NY 13209‐2512
MEDZIE, CARL J             3739 HOAGLAND BLACKSTUB RD                                                                   CORTLAND           OH 44410‐4410
MEE, JEANETTE L            2126 MUSTANG DR                                                                              MOHAVE VALLEY      AZ 86440‐9383
MEE, ROBERT J              200 CAPE SHORES CIR APT J                                                                    CAPE CANAVERAL     FL 32920
MEECE JR, HOBERT S         4212 LINDEN AVE                                                                              CINCINNATI         OH 45236‐2428
MEECE, ALLAN G             2645 N LAKE PLEASANT RD                                                                      ATTICA             MI 48412‐9250
MEECE, CARL                2902 S SHERIDAN AVE                                                                          INDIANAPOLIS       IN 46203‐5847
MEECE, CHRISTINE C         2268 POPPY DR                                                                                LOVELAND           OH 45140‐1256
MEECE, CHRISTOPHER A       138 CLAY ST                                                                                  LEBANON            OH 45036‐2102
MEECE, DONNA S             310 MCCLURE RD                                                                               LEBANON            OH 45036‐9315
MEECE, EDWARD E            2558 MARSCOTT DR                                                                             DAYTON             OH 45440‐2257
MEECE, EDWARD O            1996 MALVIN HILL CHURCH RD                                                                   SOMERSET           KY 42501‐5704
MEECE, JACK L              1595 TIMBERLINE TRCE                                                                         SNELLVILLE         GA 30078‐6619
MEECE, JAMES L             214 E MOUNT EDEN RD                                                                          RUSSELL SPRINGS    KY 42642‐9781
MEECE, LARRY J             58 ASH LN                                                                                    KIMBERLING CY      MO 65686‐7247
MEECE, LARRY R             4929 OAKBROOK DR                                                                             INDIANAPOLIS       IN 46254‐1119
MEECE, LYLE L              7238S 700W‐90                                                                                WARREN             IN 46792
MEECE, QUINTON D           6001 W RIVER RD                                                                              MUNCIE             IN 47304‐4651
MEECE, REBECCA D           2645 N LAKE PLEASANT RD                                                                      ATTICA             MI 48412‐9250
MEECE, SAMUEL P            2849 CYPRESS WAY                                                                             CINCINNATI         OH 45212‐2447
MEECE, SHIRLEY A.          7330 LAKE LAKOTA PL                                                                          INDIANAPOLIS       IN 46217‐7085
MEECE, VICTOR C            5462 DUQUESNE AVE.                                                                           DAYTON             OH 45431‐2826
MEECH DARYL (478160)       LEVIN SIMES & KAISER           160 SANSOME STREET ‐ 12TH FLOOR                               SAN FRANCISCO      CA 94104

MEECH, DARYL               LEVIN SIMES & KAISER           160 SANSOME STREET ‐ 12TH FLOOR                               SAN FRANCISCO     CA 94104

MEECH, HARRY M             1007 19TH STREET                                                                             OTSEGO            MI   49078‐9793
MEECH, JOHN W              3715 ADY RD                                                                                  STREET            MD   21154‐1431
MEECHAN, THOMAS            13145 ORCHARD ST                                                                             SOUTHGATE         MI   48195‐1619
MEECO INC                  250 TITUS AVE                                                                                WARRINGTON        PA   18976‐2426
MEEDER, STEVEN W           3833 E FIVE POINT HWY 5                                                                      CHARLOTTE         MI   48813
MEEDS, MARK R              1454 WARDMIER DR                                                                             DAYTON            OH   45459
MEEDS, RUSSELL O           317 SYCAMORE GLEN DR APT 117                                                                 MIAMISBURG        OH   45342‐5707
MEEGAN, ALICE              4987 LYNWOOD AVE                                                                             BUFFALO           NY   14219‐2609
MEEGAN, MARY E             APT 403 BOYLE CENTER                                                                         AUBURN            NY   13021
MEEGAN, NANCY              2206 CAMPUS DR                                                                               SAINT CHARLES     MO   63301‐1052
MEEGAN, RONALD A           3355 EDMUNTON DR                                                                             ROCHESTER HILLS   MI   48306‐2902
MEEGAN, THERESA M          3355 EDMUNTON DR                                                                             ROCHESTER HLS     MI   48306‐2902
MEEHAN AUTOMOBILES, INC.   KEVIN MEEHAN                   PO BOX 444                                                    MENDON            MA   01756‐0444
MEEHAN BRENDA              MEEHAN, BRENDA                 2722 ESTHNER                                                  WICHITA           KS   67213
MEEHAN JOHN D              656 CHESTER ST                                                                               BIRMINGHAM        MI   48009‐1437
MEEHAN JR, VERNON T        19638 ROMAR ST                                                                               NORTHRIDGE        CA   91324‐1031
MEEHAN KEVIN               2502 SECANE RD                                                                               SECANE            PA   19018‐2814
MEEHAN, BRENDA             2722 W ESTHNER AVE                                                                           WICHITA           KS   67213‐1848
MEEHAN, CAROL A            9S681 CLARENDON HILLS RD                                                                     WILLOWBROOK       IL   60527‐7051
MEEHAN, CAROLE M           2638 FALLENLEAF DR                                                                           STOCKTON          CA   95209‐1107
MEEHAN, CATHERINE A        698 YONKERS AVE                                                                              YONKERS           NY   10704
MEEHAN, DANIEL L           6536 SHEETRAM RD                                                                             LOCKPORT          NY   14094‐7962
MEEHAN, DOROTHY E          1007 SANTA MONICA DR                                                                         MCKEESPORT        PA   15133‐3709
MEEHAN, EILEEN M           23 AUTUMN DR                                                                                 TAPPAN            NY   10983‐2101
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Name                                 Address1                         Address2                      Address3   Address4         City               State Zip
MEEHAN, HELEN                        240 RED HILL RD                                                                            MIDDLETOWN          NJ 07748
MEEHAN, JEROME M                     540 S MAIN ST                                                                              NASHVILLE           MI 49073‐9565
MEEHAN, JOHN D                       656 CHESTER ST                                                                             BIRMINGHAM          MI 48009‐1437
MEEHAN, JOSEPH B                     2208 FRONTIER RD                                                                           JANESVILLE          WI 53546‐5608
MEEHAN, LESTER R                     1640 PERSHING PL                                                                           JANESVILLE          WI 53546‐5640
MEEHAN, M A                          176 2ND ST                                                                                 KEYPORT             NJ 07735‐1850
MEEHAN, MARY F                       1187 ORCHARD PARK RD APT 139                                                               WEST SENECA         NY 14224‐3962
MEEHAN, MICHAEL C                    G9095 S SAGINAW RD UNIT 5                                                                  GRAND BLANC         MI 48439
MEEHAN, MICHAEL G                    12918 WEDGEWOOD WAY APT C                                                                  BAYONET POINT       FL 34667‐2188
MEEHAN, MIKE D                       3821 TRIORA ST                                                                             LAS VEGAS           NV 89129‐2711
MEEHAN, PATRICK J                    6292 VINEYARD AVE                                                                          ANN ARBOR           MI 48108‐5919
MEEHAN, ROBERT L                     APT 7                            710 OHIO STREET                                           DARLINGTON          WI 53530‐1264
MEEHAN, TERENCE L                    4303 ZIMMER RD                                                                             WILLIAMSTON         MI 48895‐8603
MEEHAN, TERESA K                     2150 BRENTHAVEN DR                                                                         BLOOMFIELD HILLS    MI 48304‐1429
MEEHAN, TERRY                        1320 S OAKHILL AVE                                                                         JANESVILLE          WI 53546‐5573
MEEHAN, THERESE                      335 STATE ROAD 58 E                                                                        BEDFORD             IN 47421‐7671
MEEHAN, TIMOTHY J                    2150 BRENTHAVEN DR                                                                         BLOOMFIELD          MI 48304‐1429
MEEHAN, WILLIAM J                    PO BOX 344                       328 BLACKPOINT RD                                         NESHANIC STATION    NJ 08853‐0344
MEEHLE, LAWRENCE R                   3451 N WEST BRANCH DR                                                                      GLADWIN             MI 48624‐7932
MEEHLE, THEODORE D                   217 DUTCH MILL DR                                                                          FLUSHING            MI 48433‐2106
MEEHLEDER, BARBARA J                 206 W. CAPITOL                                                                             SAGINAW             MI 48604‐1456
MEEHLEDER, BARBARA J                 206 W CAPITOL ST                                                                           SAGINAW             MI 48604‐1456
MEEHLEDER, DOMINIC                   PO BOX 123                                                                                 EATON RAPIDS        MI 48827‐0123
MEEHLEDER, JOHN C                    5325 SHERMAN RD                                                                            SAGINAW             MI 48604‐1169
MEEHLEDER, KEVIN J                   2258 BRADFORD DR                                                                           FLINT               MI 48507‐4402
MEEHLEDER, LESTER T                  2143 HAMPSHIRE PIKE                                                                        COLUMBIA            TN 38401‐5649
MEEHLEDER, LINDA J                   GENERAL DELIVERY                                                                           LANSING             MI 48901‐9999
MEEHLEDER, MICHAEL L                 598 N FROST DR                                                                             SAGINAW             MI 48638‐5745
MEEHLEDER, RAYMOND A                 6700 WESTSIDE SAGINAW RD                                                                   BAY CITY            MI 48706‐9325
MEEHLING, JOHN E                     2217 BRIAR LN                                                                              BURTON              MI 48509‐1232
MEEK BRUCE A                         4462 SUSAN DR                                                                              HIGHLAND            MI 48357‐4035
MEEK HARVEY C (ESTATE OF) (637680)   ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                  WILMINGTON          DE 19801‐1813
MEEK JR, FRANKLIN W                  5713 BRETWOOD DR                                                                           KEITHVILLE          LA 71047‐5529
MEEK JR, NORMAN A                    741 ALDWORTH RD                                                                            BALTIMORE           MD 21222‐1305
MEEK MARY JO                         630 NOTRE DAME AVE                                                                         EDWARDSVILLE         IL 62025‐2627
MEEK ROBERT G (640577)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                      STREET, SUITE 600
MEEK TRUCK LINE INC                  1305 8TH ST NE                                                                             STAPLES            MN   56479‐3230
MEEK, A W                            11631 W HARMONY LN                                                                         OLATHE             KS   66062‐9709
MEEK, BRIAN L                        405 BELO CT                                                                                FORT MILL          SC   29715‐7854
MEEK, CAROLE M                       652 LAYMAN CREEK CIR                                                                       GRAND BLANC        MI   48439‐1383
MEEK, CHRISTOPHER S                  119 OAK RIDGE DRIVE                                                                        SHREVEPORT         LA   71106‐7313
MEEK, DANIEL R                       4374 S VASSAR RD                                                                           BURTON             MI   48519‐1700
MEEK, DANIEL RAY                     4374 S VASSAR RD                                                                           BURTON             MI   48519‐1700
MEEK, DENNIS L                       705 S 4TH ST                                                                               MIDLOTHIAN         TX   76065‐3118
MEEK, DONALD P                       331 W SALEM ST APT 311                                                                     COLUMBIANA         OH   44408‐1183
MEEK, DONALD R                       14436 DUFFIELD RD                                                                          BYRON              MI   48418‐9038
MEEK, FLORRIE L                      G8452 N CLIO RD                                                                            MOUNT MORRIS       MI   48458
MEEK, GARY L                         912 COPPERSTONE LN                                                                         FORT MILL          SC   29708‐6413
MEEK, GREGORY L                      8334 CROSLEY RD                                                                            SPRINGBORO         OH   45066‐9362
MEEK, GREGORY L                      8334 CROSLEY ROAD                                                                          SPRINGBORO         OH   45066‐9362
MEEK, HARRIETT L                     6836 MIDDLETON CT                                                                          INDIANAPOLIS       IN   46268‐3410
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Name                       Address1                         Address2                      Address3   Address4         City              State Zip
MEEK, HARVEY C             ANGELOS PETER G LAW OFFICE       1300 N MARKET ST STE 212                                  WILMINGTON         DE 19801‐1813
MEEK, HARVEY C             C/O ANGELOS PETER G LAW OFFICE   1300 N MARKET ST STE 212                                  WILMINGTON         DE 19801‐1813
MEEK, IRIS C               8334 CROSLEY RD                                                                            SPRINGBORO         OH 45066‐9362
MEEK, IRVIN E              320 W PRINCETON AVE                                                                        PONTIAC            MI 48340‐1740
MEEK, JEAN L               442 ISAAC ST.                                                                              NILES              OH 44446‐3440
MEEK, JEAN L               442 ISAAC AVE                                                                              NILES              OH 44446‐3440
MEEK, JEROME T             1202 HALL ST                                                                               EATON RAPIDS       MI 48827‐1724
MEEK, JEROME T             1202 HALL STREET                                                                           EATON RAPIDS       MI 48827‐1724
MEEK, JOHN C               4318 W COUNTY ROAD A                                                                       JANESVILLE         WI 53548‐8900
MEEK, JOYCE                5839 YARMOUTH AVENUE                                                                       TOLEDO             OH 43623‐1235
MEEK, KELSEY E             4374 S VASSAR RD                                                                           BURTON             MI 48519‐1700
MEEK, MARIAN L             9347 CLEARMEADOW LN              TIMBER GREENS                                             NEW PORT RICHEY    FL 34655‐5104
MEEK, MARLENE M.           8584 S PRICETOWN RD                                                                        BERLIN CENTER      OH 44401‐9701
MEEK, MAXIE W              2344 CENTER RD                                                                             CHESTER            SC 29706‐6509
MEEK, MICHAEL J            5359 COPLEY SQUARE RD                                                                      GRAND BLANC        MI 48439‐8741
MEEK, NANCY S              2693 W HICKORY DR                                                                          ANDERSON           IN 46013‐9762
MEEK, RAY D                412 NORWOOD DR                                                                             HURST              TX 76053‐6800
MEEK, RICHARD E            1632 OWEN RD                                                                               NORTHWOOD          OH 43619‐2227
MEEK, ROBERT G             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
MEEK, RONALD L             4042 S 300 E                                                                               ANDERSON          IN   46017‐9546
MEEK, SHERIE E             4302 ANGELICO LANE                                                                         ROUND ROCK        TX   78681‐1693
MEEK, SHIRLEY M            8334 CROSLEY RD                                                                            SPRINGBORO        OH   45066‐9362
MEEK, WALTER               PORTER & MALOUF PA               4670 MCWILLIE DR                                          JACKSON           MS   39206‐5621
MEEK, WILLIAM E            4139 COURTNEY DR L‐7                                                                       FLINT             MI   48504
MEEK, WILLIAM H            414 E MAIN ST                                                                              ANTLERS           OK   74523‐3200
MEEK‐MARTINEZ, KATHY J     219 PROSPECT AVENUE                                                                        JANESVILLE        WI   53545‐3027
MEEKA J. BRUENN            4324 S 8TH                                                                                 TACOMA            WA   98405
MEEKER EDWARD J (667798)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                            STREET, SUITE 600
MEEKER JR, WILLIAM E       APT B42                          11833 JAMES STREET                                        HOLLAND           MI   49424‐7720
MEEKER RONALD J            1205 S MEAHME TRL                                                                          CRAWFORDSVILLE    IN   47933‐6922
MEEKER, ARGYL R            5745 N 300 E                                                                               ANDERSON          IN   46012‐9528
MEEKER, BETH A             6004 HARVARD DR                                                                            KOKOMO            IN   46902‐5234
MEEKER, BILLY L            ROUTE 1 BOX 161C1                                                                          KOSHKONONG        MO   65692
MEEKER, DONALD             1695 BUCHANAN RD                                                                           REMUS             MI   49340‐9705
MEEKER, DORIS J            13540 S CHIPPEWA TRL                                                                       HOMER GLEN        IL   60491‐9645
MEEKER, EDWARD J           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                            STREET, SUITE 600
MEEKER, ERNEST E           203 FOXWORTH LN                                                                            SIMPSONVILLE      SC   29680
MEEKER, EVELYN L           4626 HAMPTON                                                                               ROYAL OAK         MI   48073
MEEKER, EVELYN L           5603 SEABREEZE LN                                                                          STERLING HTS      MI   48310‐7451
MEEKER, GARY R             2822 W 900 S                                                                               PENDLETON         IN   46064‐9531
MEEKER, GEORGE W           527 N MASON ST                                                                             SAGINAW           MI   48602‐4470
MEEKER, GEORGE WILLIAM     527 N MASON ST                                                                             SAGINAW           MI   48602‐4470
MEEKER, GERALD R           1029 SYMMES AVE                                                                            HAMILTON          OH   45015‐1644
MEEKER, GERALD W           3601 WARREN SHARON RD                                                                      VIENNA            OH   44473‐9533
MEEKER, HAZEL A            PO BOX 336                                                                                 LAKE GEORGE       MI   48633‐0336
MEEKER, JAKE J             PO BOX 400                                                                                 OAKWOOD           OH   45873‐0400
MEEKER, JAMES H            116 FONTAINE WALK                                                                          WARNER ROBINS     GA   31088‐6740
MEEKER, JAMES M            58733 RYAN ST                                                                              MATTAWAN          MI   49071‐9577
MEEKER, JAMES T            4506 NW 50TH ST                                                                            KANSAS CITY       MO   64151‐3215
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Name                                Address1                          Address2                      Address3   Address4         City               State Zip
MEEKER, JOHN A                      22 BENJAMIN ST                                                                              SOMERSET            NJ 08873‐7260
MEEKER, JOHN N                      19841 MONTEREY AVE                                                                          EUCLID              OH 44119‐1512
MEEKER, JOSEPH B                    111 RAVENNA ST                                                                              HUDSON              OH 44236‐3466
MEEKER, KAREN D                     13540 S CHIPPEWA TRL                                                                        HOMER GLEN           IL 60491‐9645
MEEKER, KENNETH M                   13540 S CHIPPEWA TRL                                                                        LOCKPORT             IL 60491‐9645
MEEKER, KEVIN B                     919 OGDEN AVE                                                                               TOLEDO              OH 43609‐3035
MEEKER, MARILYN J                   4195 EVERETT HULL RD.                                                                       CORTLAND            OH 44410‐4410
MEEKER, MARK                        8945 CHAMBERLIN RD                                                                          LONDON              OH 43140
MEEKER, MARTIN W                    500 LEXINGTON AVE                                                                           MANSFIELD           OH 44907‐1582
MEEKER, NANCY A                     8945 CHAMBERLIN RD                                                                          LONDON              OH 43140‐9667
MEEKER, PAULINE G                   927 JUDSON RD                                                                               MASURY              OH 44438‐1244
MEEKER, PAULINE G                   927 JUDSON AVE                                                                              MASURY              OH 44438‐4438
MEEKER, PHILLIP D                   3614 RIVER BLUFF RD                                                                         ANDERSON            IN 46012‐4638
MEEKER, RANDY B                     4510 W ELKTON RD                                                                            HAMILTON            OH 45011‐8814
MEEKER, RAYMOND L                   9660 HWY 571                                                                                MANCELONA           MI 49659
MEEKER, RICHARD H                   700 E HAYES ST                                                                              MECOSTA             MI 49332‐9648
MEEKER, RONALD J                    1205 S MEAHME TRL                                                                           CRAWFORDSVLLE       IN 47933‐6922
MEEKER, SALLY W                     126 STOLZ DR                                                                                MIDDLETOWN          OH 45042‐3849
MEEKER, SHARON K                    17172 E 2650 NORTH RD                                                                       DANVILLE             IL 61834‐6190
MEEKER, TIMOTHY J                   5613 CIDER GROVE CT 303                                                                     PLAINFIELD           IL 60586
MEEKER, VERN O                      27348 MANSTROM DR                                                                           LAWTON              MI 49065‐7630
MEEKER‐ EMERSON, RUTH A             1464 SHERIDAN AVE NE                                                                        WARREN              OH 44483‐3968
MEEKHOF TIRE                                                          1640 OLSON ST NE                                                              MI 49503
MEEKHOF, ROBERT J                   9039 56TH AVE                                                                               HUDSONVILLE         MI 49426‐9715
MEEKINS JR, MADISON M               211 FENTON PL                                                                               JACKSONVILLE        NC 28540‐4421
MEEKINS, ALMITE L                   PO BOX 4394                                                                                 FLINT               MI 48504‐0394
MEEKINS, ALMITE L                   PO BOX 320062                                                                               FLINT               MI 48532‐0002
MEEKINS, BEULAH M                   633 E BALTIMORE BLVD                                                                        FLINT               MI 48505‐6404
MEEKINS, BEULAH P                   4 DEASY DR                                                                                  NEWARK              DE 19702‐2749
MEEKINS, BEVERLY A                  12105 ARMENTROUT RD RT 5                                                                    FREDERICKTOWN       OH 43019‐9708
MEEKINS, BRENDA A                   110 S WYNRIDGE WAY                                                                          GOODLETTSVILLE      TN 37072‐8811
MEEKINS, BRENDA ANN                 110 S WYNRIDGE WAY                                                                          GOODLETTSVILLE      TN 37072‐8811
MEEKINS, CHARLES M                  1423 COTTON CT                                                                              WESTMINSTER         MD 21157‐3870
MEEKINS, CURTIS C                   3167 FARMDALE RD                                                                            AKRON               OH 44312‐3522
MEEKINS, DANNY C                    PO BOX 5051                                                                                 FLINT               MI 48505‐0051
MEEKINS, DENISE C                   878 KALLAS CT                                                                               VALLEY STREAM       NY 11580‐1517
MEEKINS, DUDLEY J                   121 HEARTHSTONE DR                                                                          ELKTON              MD 21921‐6055
MEEKINS, JOHN S                     2115 MARTIN LUTHER KING JR BLVD                                                             VICKSBURG           MS 39183‐2444
MEEKINS, MATTIE L                   9535 N VASSAR RD                                                                            MT MORRIS           MI 48458‐9764
MEEKINS, MATTIE LEE                 9535 N VASSAR RD                                                                            MT MORRIS           MI 48458‐9764
MEEKINS, ROBERT J                   5518 GRANVILLE AVE                                                                          FLINT               MI 48505‐2674
MEEKINS, RONALD A                   179 GREENWOOD ST ARUNDEL                                                                    ELKTON              MD 21921
MEEKINS, TIMOTHY H                  RR BOX 1 BOX 770                                                                            CLAYTON             DE 19938
MEEKINS, WILLIAM A                  1676 HOLLETTS CR RD                                                                         CLAYTON             DE 19938
MEEKS                               101 MEDTECH PK STE 200                                                                      JOHNSON CITY        TN 37604
MEEKS JAMES (504041)                GEORGE & SIPES                    151 N DELAWARE ST STE 1700                                INDIANAPOLIS        IN 46204‐2503
MEEKS JOHNNY                        C/O GARRISON SCOTT PC 917813      2113 GOVERNMENT STREET, D‐3                               OCEAN SPRINGS       MS 39564
MEEKS JOHNNY (498289)               (NO OPPOSING COUNSEL)
MEEKS JR, GROVER                    6828 HATCHERY RD                                                                            WATERFORD          MI 48327‐1122
MEEKS JR, IVORY                     17226 MORAN ST                                                                              DETROIT            MI 48212‐1146
MEEKS JR, JOHN W                    215 OPPERMAN RD                                                                             SOUTH NEW BERLIN   NY 13843‐2134
MEEKS RONALD (ESTATE OF) (645109)   (NO OPPOSING COUNSEL)
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Name                       Address1                           Address2                         Address3   Address4         City               State Zip
MEEKS SERVICE CENTER       7051 GA HIGHWAY 29                                                                              SOPERTON            GA 30457‐5241
MEEKS SHAFTER M (189921)   BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG , 233 EAST                               JACKSONVILLE        FL 32202
                           MCCLAMMA & YEGELWEL P.A.           BAY STREET
MEEKS SR, LENARD R         571 PLANTATION BLVD                                                                             LAWRENCEVILLE      GA 30045‐6215
MEEKS WILLIAM (189922)     BROWN TERRELL HOGAN ELLIS          804 BLACKSTONE BLDG , 233 EAST                               JACKSONVILLE       FL 32202
                           MCCLAMMA & YEGELWEL P.A.           BAY STREET
MEEKS, ADAM T              1722 AUDUBON PLACE                                                                              SHREVEPORT         LA   71105‐3422
MEEKS, ANITA D             2922 BURTON DR                                                                                  KOKOMO             IN   46902‐3280
MEEKS, ARTHUR              10611 HELENA AVE                                                                                CLEVELAND          OH   44108‐2224
MEEKS, BEVERLY J           14905 SW DIVISION ST                                                                            SHERWOOD           OR   97140‐8387
MEEKS, BOBBY L             239 GLENBROOK LN                                                                                AVON               IN   46123‐4053
MEEKS, BRENDA              714 MAITLAND AVE.                                                                               DAYTON             OH   45408‐5408
MEEKS, BUDDY J             2204 E CARTER ST                                                                                KOKOMO             IN   46901‐5658
MEEKS, CHARLES C           1101 WEST EUCLID AVENUE                                                                         MARION             IN   46952‐3452
MEEKS, CHARLES R           2624 SHAWNEE DR                                                                                 ANDERSON           IN   46012‐1330
MEEKS, CHARLES R           HC 2 BOX 4320                                                                                   LOWNDES            MO   63951‐9729
MEEKS, CLAIRE              19203 STANSBURY ST                                                                              DETROIT            MI   48235‐1731
MEEKS, CONSTANCE M         2009 E WAYLAND                                                                                  SPRINGFIELD        MO   65804
MEEKS, DAVID K             633 COLORADO DR                                                                                 XENIA              OH   45385‐4511
MEEKS, DAVID L             4068 HUNTINGTON FOREST BLVD B                                                                   JACKSONVILLE       FL   32257
MEEKS, DAVID W             PO BOX 444                                                                                      BELLVILLE          OH   44813‐0444
MEEKS, DEBRA A             3371 KEARSAGE DR 102                                                                            LAKE HAVASU CITY   AZ   86406
MEEKS, DEBRA ANN           322 LAKE FRANCES DR                                                                             WEST PALM BEACH    FL   33411‐2331
MEEKS, DEBRA M.            4518 PINE OVAL                                                                                  PARMA              OH   44134‐5868
MEEKS, DENISE S            103 KINGS GATE LN                                                                               FRANKLIN           TN   37064‐5599
MEEKS, DIANE J             4016 NELSON RD                                                                                  MIDDLETOWN         OH   45042‐2803
MEEKS, DONALD J            5176 EAGLE CREEK RD                                                                             LEAVITTSBURG       OH   44430‐9768
MEEKS, DONNA J             234 WATERDALE RD                                                                                OWINGSVILLE        KY   40360‐8921
MEEKS, DORA A              65934 ENDLEY RD                                                                                 CAMBRIDGE          OH   43725‐8516
MEEKS, DWAIN V             1858 SHERWOOD FOEST BLVD                                                                        WEST PALM BEACH    FL   33415‐6343
MEEKS, EDGAR G             2021 BLAINE ST APT 307                                                                          DETROIT            MI   48206‐2255
MEEKS, EMMA                571 PLANTATION BLVD                                                                             LAWRENCEVILLE      GA   30045‐6215
MEEKS, EMMA C              571 PLANTATION BLVD                                                                             LAWRENCEVILLE      GA   30045‐6215
MEEKS, ERMA M              2204 E CARTER ST                                                                                KOKOMO             IN   46901‐5658
MEEKS, EUGENE L            13531 BEMIS RD                                                                                  MANCHESTER         MI   48158‐8570
MEEKS, FRED D              4235 N CENTER RD                                                                                FLINT              MI   48506‐1439
MEEKS, GLORIA K            6124 RAYTOWN RD                                                                                 RAYTOWN            MO   64133‐4007
MEEKS, GOLDIE I            50 CLARK PL                                                                                     COLUMBUS           OH   43201‐2463
MEEKS, GOLDIE I            50 CLARK PLACE                                                                                  COLUMBUS           OH   43201‐2463
MEEKS, HENRY L             1098 NE INDEPENDENCE AVE APT 201                                                                LEES SUMMIT        MO   64086
MEEKS, IONA                511 DEARBORN ST                                                                                 TIPTON             IN   46072‐1252
MEEKS, JACKIE F            948 FOX BRIDGE RD SE                                                                            DALTON             GA   30721‐5739
MEEKS, JAMES               GEORGE & SIPES                     151 N DELAWARE ST STE 1700                                   INDIANAPOLIS       IN   46204‐2503
MEEKS, JAMES
MEEKS, JAMES G             11525 JOHNSON DR                                                                                PARMA              OH   44130‐7362
MEEKS, JAMES M             7890 HIGHWAY 82 SPUR                                                                            MAYSVILLE          GA   30558‐3407
MEEKS, JAMES N             11000 HENNING DR                                                                                CHARDON            OH   44024‐9796
MEEKS, JANIS               1001 STARKEY RD LOT 817                                                                         LARGO              FL   33771‐5444
MEEKS, JAYNINE L           14604 ASHETON CREEK DR                                                                          CHARLOTTE          NC   28273‐3450
MEEKS, JESSICA R           11315 HERITAGE OAKS                                                                             SHREVEPORT         LA   71106‐8388
MEEKS, JESSICA RUTH        11315 HERITAGE OAKS                                                                             SHREVEPORT         LA   71106‐8388
MEEKS, JOY L               305 WOODVILLE ST                                                                                EDON               OH   43518‐9629
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Name                      Address1                      Address2                        Address3             Address4         City               State Zip
MEEKS, KENNETH A          1401 E BUCKHORN DR                                                                                  SIERRA VISTA        AZ 85635‐1359
MEEKS, LARRY C            624 SASSER DR                                                                                       BEDFORD             IN 47421‐6824
MEEKS, LEE R              14074 OHIO ST                                                                                       DETROIT             MI 48238‐4300
MEEKS, LINDA A            2203 BROOMALL ST                                                                                    BOOTHWYN            PA 19061
MEEKS, LINDA G            401 COUNTY ROAD 504                                                                                 LEXINGTON           AL 35648‐4125
MEEKS, MARTHA L           1628 SE 59TH ST                                                                                     OKLAHOMA CITY       OK 73129‐7314
MEEKS, MARTIN             1190 E ALMA AVE                                                                                     FLINT               MI 48505‐2314
MEEKS, MARY LOU           PO BOX 64                                                                                           PULASKI              IL 62976‐0064
MEEKS, MARY LOU           P.O.BOX 64                                                                                          PULASKI              IL 62976‐0064
MEEKS, MICHAEL D          4519 RED BUD AVE                                                                                    SAINT LOUIS         MO 63115‐3136
MEEKS, MICHAEL D          PO BOX 22223                                                                                        SAINT LOUIS         MO 63116‐0223
MEEKS, MICHAEL J          1250 PHILPOT RD                                                                                     WEST MONROE         LA 71292‐2658
MEEKS, MICHAEL W          241 DUCHESNE LN                                                                                     EROS                LA 71238‐9480
MEEKS, MILTON R           3431 FOX ST APT E12                                                                                 DULUTH              GA 30096‐3387
MEEKS, NICOLINA M         5480 N MENARD AVE                                                                                   CHICAGO              IL 60630‐1234
MEEKS, NINA W             1604 LUSK ST                                                                                        GUNTERSVILLE        AL 35976‐1264
MEEKS, ORVILLE R          503 RIVERVIEW RD              P O BOX 375                                                           WILLIAMSPORT        OH 43164‐9686
MEEKS, PEGGY J            15608 ROYAL COACH CIR                                                                               NORTH FORT MYERS    FL 33917
MEEKS, ROBERT N           90 COUNTRY WALK                                                                                     SOCIAL CIRCLE       GA 30025‐5105
MEEKS, ROBIN L.           9067 DUNN RD                                                                                        HAZELWOOD           MO 63042‐2005
MEEKS, RODNEY W           47 NARROW ST                                                                                        BUTLER              OH 44822‐9763
MEEKS, RONALD             C/O SIMMONS COOPER            PO BOX 521                      707 BERKSHIRE BLVD                    EAST ALTON           IL 62024
MEEKS, ROSCOE             5535 BARTMER AVE                                                                                    SAINT LOUIS         MO 63112‐3406
MEEKS, SHAFTER            BROWN TERRELL HOGAN ELLIS     804 BLACKSTONE BLDG, 233 EAST                                         JACKSONVILLE        FL 32202
                          MCCLAMMA & YEGELWEL P.A.      BAY STREET
MEEKS, THELMA             26245 PENN ST                                                                                       INKSTER            MI   48141‐2640
MEEKS, THOMAS D           1809 PEMBROKE LN                                                                                    MCKINNEY           TX   75070‐4795
MEEKS, THOMAS E           11315 HERITAGE OAKS                                                                                 SHREVEPORT         LA   71106‐8388
MEEKS, TIMOTHY M          4016 NELSON RD                                                                                      MIDDLETOWN         OH   45042‐2803
MEEKS, TOMMIE             6142 NATCHEZ DR                                                                                     MOUNT MORRIS       MI   48458‐2702
MEEKS, VALERIE D          1820 DREXEL RD                                                                                      LANSING            MI   48915‐1212
MEEKS, VENICE D           PO BOX 5233                                                                                         SYLVESTER          GA   31791‐5233
MEEKS, VERNER             9431 INDIAN MEADOWS DR                                                                              SAINT LOUIS        MO   63132‐2135
MEEKS, VIVIAN J           64 COMSTOCK AVENUE                                                                                  BUFFALO            NY   14215‐2245
MEEKS, WAVELENE           33952 MORNING GLORY LN                                                                              NORTH RIDGEVILLE   OH   44039‐5205
MEEKS, WHITNEY E          13906 MILL RD                                                                                       FORT WAYNE         IN   46816‐9763
MEEKS, WILLIAM            BROWN TERRELL HOGAN ELLIS     804 BLACKSTONE BLDG, 233 EAST                                         JACKSONVILLE       FL   32202
                          MCCLAMMA & YEGELWEL P.A.      BAY STREET
MEEKS, WILMA              13446 AGNES                                                                                         SOUTHGATE          MI   48195‐1841
MEEKYUNG CHUNG            6499 ALDEN DR                                                                                       WEST BLOOMFIELD    MI   48324‐2003
MEELER ERIC               DBA A+ CARPET CLEANING        PO BOX 282                                                            MURRAYVILLE        GA   30564‐0282
MEELER, JANICE M          3474 S HENDERSON RD                                                                                 DAVIDSON           MI   48423
MEEMIC INSURANCE          ATTN: MAJOR RUSSELL           3031 W GRAND BLVD # 320                                               DETROIT            MI   48202‐3194
MEEMKEN, GEORGIA          1005 S MORGAN DR                                                                                    MOORE              OK   73160‐7038
MEEMKEN, JEREMIHA S       1005 S MORGAN DR                                                                                    MOORE              OK   73160‐7038
MEENACH, DAVID L          1740 PIPER LN UNIT 206                                                                              DAYTON             OH   45440‐5034
MEENACH, DAVID L          1740 PIPER LN APT 206                                                                               DAYTON             OH   45440‐5034
MEENACH, ROSEMARY GREEN   1608 HENDRICKS CHURCH RD                                                                            THOMASTON          GA   30286‐032
MEENACH, TIMOTHY R        989 SOMERSET DR APT 1                                                                               MIAMISBURG         OH   45342
MEENACH, VIRGIL R         44 JOSEPHINE DR                                                                                     WHEELERSBURG       OH   45694‐5694
MEENAHAN, JAMES G         8483 GOLF LANE DR                                                                                   COMMERCE TWP       MI   48382‐3419
MEER, BONNIE TER          3290 138TH AVE                                                                                      HAMILTON           MI   49419‐9555
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Name                    Address1                          Address2                        Address3   Address4         City              State Zip
MEER, DALE T            6144 SE RIVERBOAT DR                                                                          STUART             FL 34997‐1527
MEERA LAL               560 TRILLIUM DR                                                                               TROY               MI 48085‐3291
MEERA RAJA              2350 HIDDEN LAKE CT                                                                           WEST BLOOMFIELD    MI 48324‐3302
MEERDINK, ROBERT F      9 CLOVER LN                                                                                   VICTOR             NY 14564‐1213
MEERDO, GERALD E        445 RIVER RD                                                                                  BAY CITY           MI 48706‐1449
MEERDO, JAMES M         40 E SHARLEAR DR                                                                              ESSEXVILLE         MI 48732‐1249
MEERDO, WILLIAM J       2530 BENT OAK AVE                                                                             ADRIAN             MI 49221‐1590
MEERE, PETER T          307 E NALDRETTE ST                                                                            DURAND             MI 48429‐1764
MEERE, PETER THOMAS     307 E NALDRETTE ST                                                                            DURAND             MI 48429‐1764
MEERMAN, FLOYD M        12895 CRESCENT DRIVE, R. 2                                                                    GRAND LEDGE        MI 48837
MEERMAN, FREDERICK      510 E GULL LAKE DR.               GULL LAKE                                                   AGUSTA             MI 49012‐9268
MEERMAN, FREDERICK      510 E GULL LAKE DR                                                                            AUGUSTA            MI 49012
MEERMAN, JOANN          343 FIELDS RD                                                                                 DANSVILLE          MI 48819‐9792
MEERNIK, PAUL R         26061 DOW                                                                                     REDFORD            MI 48239‐3211
MEERS, IRENE            523 S SUMMIT AVE                                                                              VILLA PARK          IL 60181‐2970
MEERS, JAMES W          PO BOX 383                                                                                    FAIRMOUNT           IL 61841‐0383
MEERS, KEVIN            3144 MIDLAND ST                                                                               SAINT JOSEPH       MO 64501‐3432
MEERS, MARCUS L         19085 BIRMINGHAM HWY                                                                          ALPHARETTA         GA 30004‐2548
MEERS, PAUL A           1531 BOONE CT                                                                                 SAINT CHARLES      MO 63303‐3929
MEERS, ROSEMARY         5924 STAFFORDSHIRE CIRCLE                                                                     INDIANAPOLIS       IN 46254‐1000
MEERS, RUSSELL          PO BOX 2204                                                                                   ROANOKE            TX 76262‐2204
MEERS, RUSSELL          725 WESTERN STAR DRIVE                                                                        FORT WORTH         TX 76179‐7319
MEERS, TODD M           1213 CHARWOOD ST                                                                              SAINT CHARLES      MO 63301‐2515
MEERS, TODD MICHAEL     1213 CHARWOOD ST                                                                              SAINT CHARLES      MO 63301‐2515
MEERSCHAERT, DOROTHY    13771 COMMON RD                                                                               WARREN             MI 48088‐5828
MEERSCHAERT, JOSEPH G   13787 CASTLE AVE                                                                              WARREN             MI 48088‐5822
MEERSCHAERT, ROBERT G   28345 BUNERT RD                                                                               WARREN             MI 48088‐3884
MEERSCHAERT, ROBERT W   13771 COMMON RD                                                                               WARREN             MI 48088‐5828
MEERTEN, MARIA S        PO BOX 653                                                                                    EAGLE POINT        OR 97524‐0653
MEES, GARNET O          5303 IVAN APT 209                                                                             LANSING            MI 48917‐3341
MEES, GARNET O          5303 IVAN DR APT 209                                                                          LANSING            MI 48917‐3341
MEES, JEAN M.           1219 E PERKINS AVE APT K5                                                                     SANDUSKY           OH 44870‐5039
MEES, JEAN M.           1219 E. PERKINS AVE. # K‐5                                                                    SANDUSKY           OH 44870‐5039
MEESE FRANKFURT INC     1600 PARKWOOD CIRCLE STE 51                                                                   ATLANTA            GA 30339
MEESE JESSE (446301)    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                          PROFESSIONAL BLDG
MEESE, BARBARA SUE      PO BOX 4028                                                                                   EAGLE             CO   81631‐4028
MEESE, DIANE L          1342 WINNEBAGO AVE                                                                            SANDUSKY          OH   44870‐1729
MEESE, DONNA J          870 22ND AVE SE                                                                               MINNEAPOLIS       MN   55414
MEESE, GEORGE H         1416 SUNNY DR                                                                                 GIRARD            OH   44420‐1450
MEESE, H D              1825 GRAND OAK RIDGE DR                                                                       NEW RICHMOND      OH   45157
MEESE, JAMES P          G3434 CAMDEN AVE                                                                              BURTON            MI   48529‐1116
MEESE, JEFFREY J        4639 FITZGERALD AVE                                                                           YOUNGSTOWN        OH   44515‐4430
MEESE, JEFFREY J.       4639 FITZGERALD AVE                                                                           YOUNGSTOWN        OH   44515‐4430
MEESE, JESSE            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH   44067
                                                          PROFESSIONAL BLDG
MEESE, KATHLEEN R       1416 SUNNY DR                                                                                 GIRARD            OH   44420‐1450
MEESE, LINDA K          3121 CHICAGO BLVD                                                                             FLINT             MI   48503‐3474
MEESE, LOTTIE J         HCR 2 BOX 4710                                                                                LOWNDES           MO   63951
MEESE, NAOMI J          4614 GARY DR                                                                                  DAYTON            OH   45424‐5707
MEESE, STEPHEN A        8811 OAKES RD.                                                                                ARCANUM           OH   45304‐5304
MEESE, STEPHEN A        8811 OAKES RD                                                                                 ARCANUM           OH   45304‐8902
                                     09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                 Address1                             Address2                   Address3   Address4                City               State Zip
MEESE, TIMOTHY R                     1834 SYCAMORE LINE                                                                                 SANDUSKY            OH 44870‐4124
MEESS, RONALD E                      8564 SW COUNTY ROAD 141                                                                            JASPER              FL 32052‐5220
MEESSEMAN, RAYMOND E                 13029 N HOLLY RD                                                                                   HOLLY               MI 48442‐9502
MEETH, RANGFRID S.                   10764 WATERFALL RD                                                                                 STRONGSVILLE        OH 44149‐2153
MEETINGS MANAGEMENT INC              PO BOX 30045                                                                                       ALEXANDRIA          VA 22310‐8045
MEETZE, ROGER L                      4091 MILLINGTON RD                                                                                 MILLINGTON          MI 48746‐9003
MEEUSEN, HARVEY J                    6256 SPRINGMONT DR                                                                                 HUDSONVILLE         MI 49426‐8703
MEEUSEN, JEFFREY J                   686 DUNBARTON AVE                                                                                  BOWLING GREEN       KY 42104‐7605
MEEUWSEN, HARVEY F                   PO BOX 664                                                                                         SEASIDE             OR 97138‐0664
MEEUWSEN, HOWARD D                   17 BENNETT ST                                                                                      COOPERSVILLE        MI 49404‐1248
MEEUWSEN, WAYNE                      875 HILLSIDE CT                                                                                    LOWELL              MI 49331‐8800
MEFFE, JOHN                          1067 STATE RD NW                                                                                   WARREN              OH 44481‐9134
MEFFE, JOHN                          1067 STATE RD                                                                                      WARREN              OH 44481‐9134
MEFFE, PEGGY M                       1067 STATE RD NW                                                                                   WARREN              OH 44481‐9134
MEFFERD, JOHN L                      404 N MAIN ST                                                                                      SWANTON             OH 43558‐1038
MEFFERD, PAUL E                      603 SHERRY DR                                                                                      COLUMBIA            TN 38401‐6118
MEFFERT OIL, INC.                    290 S DIVISION ST                                                                                  WAUNAKEE            WI 53597‐1484
MEFFERT, KEITH C                     3203 AMYS COURT                                                                                    GREEN CV SPGS       FL 32043‐7018
MEFFERT, LLOYD A                     25921 MOUNT RAGAN RD                                                                               HETTICK              IL 62649‐4711
MEFFORD, DOROTHY                     755 LAKE DR LANE                                                                                   LAFOLLETTE          TN 37766‐5709
MEFFORD, DOROTHY                     755 LAKE DRIVE LN                                                                                  LA FOLLETTE         TN 37766‐5709
MEFFORD, EDNA J                      231 E MARKET ST                                                                                    GERMANTOWN          OH 45327‐1419
MEFFORD, GAIL J                      51 MARVIN AVE APT 3                                                                                SHELBY              OH 44875‐1167
MEFFORD, KATIE V                     1162 N GENESEE RD                                                                                  BURTON              MI 48509‐1435
MEFFORD, MARY L                      6735 54TH AVE N LOT 71                                                                             SAINT PETERSBURG    FL 33709‐1458
MEFFORD, MARY L                      6735 54TH AVE N.                     LOT 71                                                        ST. PETERSBURG      FL 33709‐1458
MEFFORD, MICHAEL G                   1609 COUNTRY WALK CT                                                                               TERRE HAUTE         IN 47803
MEFFORD, MICHAEL G                   2036 WOODLAWN AVENUE                                                                               TERRE HAUTE         IN 47804‐2749
MEFFORD, MICHELLE A                  4819 NEBRASKA AVE                                                                                  HUBER HEIGHTS       OH 45424‐6005
MEFFORD, SANDRA J                    6092 ROMAINE DR                                                                                    DAYTON              OH 45415‐2133
MEFFORD, SHERRI L                    2416 DARKE COUNTY LINE RD                                                                          NEW PARIS           OH 45347
MEFFORD, STEPHEN L                   503 N ORLANDO CIR                                                                                  MESA                AZ 85205‐7082
MEFOS METALLURGICAL RESEARCH I       ARONSTORPSVAGEN 1                    BOX 812                               LULEA SE 97125 SWEDEN
MEFOS STIFTELSEN FOR METALLURGICAL   ARONSTORPSVAGEN 1                    BOX 812                               LULEA SE 97125 SWEDEN

MEFRO METALLWARENFABRIK             STRUTSTR 21                                                                 EBERSBACH BW 73061
FISCHBACHER                                                                                                     GERMANY
MEG COUGHIN, DICKINGSON WRIGHT PLLC C/O RRG/CLAYTON CHEMICAL PRP GROUP 38525 WOODWARD AVE STE 2000                                      BLOOMFIELD HILLS   MI 48304‐5092

MEG LOPE & ASSOCIATES LLC            714 BROWNING CT                                                                                    BLOOMFIELD HILLS   MI 48304‐3715
MEG LOPE & ASSOCIATES LLC            ATTN: CORPORATE OFFICER/AUTHORIZED   714 BROWNING CT                                               BLOOMFIELD HILLS   MI 48304‐3715
                                     AGENT
MEGA INTERNAT/WARREN                 29400 VAN DYKE                       SUITE 108                                                     WARREN              MI 48093
MEGA TV                              7007 NW 77TH AVE                                                                                   MIAMI               FL 33166‐2835
MEGA TV                              MARILYN NAVARRO                      7007 NW 77TH AVE                                              MIAMI               FL 33166‐2836
MEGA VENT QUEBEC INC                 114 POINTE LANGLOIS                                                        LAVAL CANADA PQ H7L
                                                                                                                8M5 CANADA
MEGA‐LAB MANUFACTURING CO LTD
MEGA‐PLAS                            3334 WHITE OAK RD                                                          LONDON CANADA ON N6E
                                                                                                                1L8 CANADA
MEGA‐TRON INTERNATIONAL INC
MEGAFORCE SNG                        PO BOX 53449                                                                                       FAYETTEVILLE       NC 28305‐3449
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Name                               Address1                            Address2                       Address3             Address4               City                  State Zip
MEGAN A WILLIAMS                   1545 DAYTONA DR                                                                                                TOLEDO                 OH 43612‐4015
MEGAN BACHAND                      2724 CADES CV                                                                                                  BRIGHTON               MI 48114‐8984
MEGAN BATES                        45801 45TH ST                                                                                                  PAW PAW                MI 49079‐9693
MEGAN C FOURNIER                   1000 CENTER AVE APT 11                                                                                         BAY CITY               MI 48708‐6191
MEGAN CAMPBELL                     4443 ELMWOOD AVE                                                                                               ROYAL OAK              MI 48073‐1519
MEGAN CANTY                        8146 REYNOLDSWOOD DR                                                                                           REYNOLDSBURG           OH 43068
MEGAN CRANKSHAW                    14146 AVALON EAST DR                                                                                           FISHERS                IN 46037‐6200
MEGAN CRESPI                       615 S HARVEY ST                                                                                                PLYMOUTH               MI 48170‐1719
MEGAN GERRITY‐STINSON              3477 WEST BLVD                                                                                                 CLEVELAND              OH 44111‐1203
MEGAN GILLIGAN                     C/O COONEY AND CONWAY               120 NORTH LASALLE 30TH FLOOR                                               CHICAGO                 IL 60602
MEGAN K PETERS                     8 CREEKSIDE CIRCLE                                                                                             PENFIELD               NY 14526‐2003
MEGAN KRAFT                        28033 JAMES DR                                                                                                 WARREN                 MI 48092‐2464
MEGAN M JACOBS                     1121 N GRANT ST                                                                                                BAY CITY               MI 48708‐6050
MEGAN MCGEOGH                      APT 203                             12 SOUTH WASHINGTON STREET                                                 DENVER                 CO 80209‐2061
MEGAN MINER                        8525 GILMOUR LN                                                                                                FREELAND               MI 48623‐9045
MEGAN NICOSON                      100 E 7TH ST APT C                                                                                             TILTON                  IL 61833‐7841
MEGAN PERAINO                      1803 GEORGETOWN PARKWAY                                                                                        FENTON                 MI 48430‐3231
MEGAN POIRIER                      11681 OLD OAKS DR                                                                                              DAVISBURG              MI 48350‐3450
MEGAN QUICK                        258 RICHARD ST                                                                                                 ROCHESTER              NY 14607‐3826
MEGAN R CASEY                      121 PLYMOUTH AVE S                                                                                             SYRACUSE               NY 13211‐1848
MEGAN R POIRIER                    11681 OLD OAKS DR                                                                                              DAVISBURG              MI 48350‐3450
MEGAN RODGERS                                                          8255 VINEYARD AVE              APT 300J                                    RCH CUCAMONGA          CA 91730‐6969
MEGAN ROTHE
MEGAN SMITH                        6861 E JK AVE                                                                                                  KALAMAZOO             MI   49048‐5847
MEGAN SNOW                         1314 JAMES EDWARD CT                                                                                           BOWLING GREEN         KY   42103‐6522
MEGAN STOOKE                       79 KENWOOD RD                                                                                                  GROSSE POINTE FARMS   MI   48236‐3608
MEGAN THOMAS                       3013 LUCERNE AVENUE                                                                                            CLEVELAND             OH   44134‐2625
MEGANCK, DENNIS D                  501 W HURON AVE                                                                                                VASSAR                MI   48768‐1243
MEGANCK, KARL L                    PO BOX 21                                                                                                      GRAND BLANC           MI   48480‐0021
MEGANCK, MARGARET I                2379 REID ROAD                                                                                                 GRAND BLANC           MI   48439‐8535
MEGANCK, MARGARET I                2379 E REID RD                                                                                                 GRAND BLANC           MI   48439‐8535
MEGANCK, MARLON E                  9170 E BROOKS RD                                                                                               LENNON                MI   48449‐9639
MEGANCK, MARLON EUGENE             9170 E BROOKS RD                                                                                               LENNON                MI   48449‐9639
MEGANCK, MICHAEL A                 5436 HOWE RD                                                                                                   GRAND BLANC           MI   48439‐7910
MEGAPLAN S.A.                      COLOMBIA                                                                                COLOMBIA
MEGAPRO PROPERTY MANAGEMENT LTD.   ATTN: GABRIEL ZIMMERMAN ‐ GENERAL   40 VOGELL RD                                        RICHMOND HILL ON L4B
                                   COUNSEL                                                                                 3N6 CANADA
MEGARENTS INC                      T/A E TENT                          1005 GREENBANK RD                                                          WILMINGTON            DE   19808‐5838
MEGARO, NICHOLAS                   3239 PORMA                                                                                                     GRAND PRAIRIE         TX   75054‐6738
MEGATECH ENG/WARREN                1950 CONCEPT DR                                                                                                WARREN                MI   48091‐1385
MEGATECH ENGINEERING CORP          22355 W 11 MILE RD                                                                                             SOUTHFIELD            MI   48033‐4735
MEGATECH/CENTERLINE                PO BOX 4008                                                                                                    CENTER LINE           MI   48015‐4008
MEGATOR CORPORATION                562 ALPHA DR                                                                                                   PITTSBURGH            PA   15238‐2912
MEGATRUX TRANSPORTATION INC        9449 8TH ST                                                                                                    RCH CUCAMONGA         CA   91730‐4595
MEGAUGHEY, CHARLES R               10779 CARROL LN                                                                                                NORTHGLENN            CO   80233‐4160
MEGAX MERCANTILE SA                PO BOX 451905                                                                                                  MIAMI                 FL   33245‐1905
MEGAYACHTS C/O FABIO LONDONE       RAYMOND JAMES                       ATTN CAROLYN SIPPERLEY         3399 PGA BLVD #200                          PALM BEACH GARDENS    FL   33410
MEGCHELSEN, MARY R                 12989 87TH AVE N                                                                                               OSSEO                 MN   55369
MEGDALL, JOHN W                    000 PARK PL                         130                                                                        WARREN                MI   48092
MEGDELL, TERI A                    2701 MANSFIELD AVE                                                                                             FLINT                 MI   48503‐2328
MEGE, BERNARD                      101 LINDEN ST                                                                                                  MASSAPEQUA PARK       NY   11762‐1011
MEGEE ERNEST III                   21 FAIRWAY AVE                                                                                                 GEORGETOWN            DE   19947‐9486
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Name                          Address1                          Address2                       Address3   Address4         City                  State Zip
MEGER TERRY                   102 RIVERWALK LN                                                                             PORT BARRINGTON         IL 60010
MEGER, NORBERT F              7809 WARWICK AVE                                                                             DARIEN                  IL 60561‐4566
MEGERDICH MANOOGIAN           20685 NW 27TH AVE                                                                            BOCA RATON             FL 33434‐4365
MEGGENHOFEN, GORDON G         449 MYRTLE DR                                                                                FARMERVILLE            LA 71241‐5354
MEGGENHOFEN, GORDON GRAHAM    449 MYRTLE DR                                                                                FARMERVILLE            LA 71241
MEGGER                        4271 BRONZE WAY                                                                              DALLAS                 TX 75237‐1019
MEGGER, JOSEPH J              3741 S BERN RD LOT 12                                                                        BAY CITY               MI 48706
MEGGER, MARTHA                425 S FIRE RD                                                                                TWINING                MI 48766‐9717
MEGGIN LEHMAN                 339 W HOPKINS AVE                                                                            PONTIAC                MI 48340‐1719
MEGGINSON JOSEPH W (348612)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK                VA 23510
                                                                STREET, SUITE 600
MEGGINSON, EVELYN F           226 HAMROCK DR                                                                               CAMPBELL              OH 44405‐1101
MEGGINSON, HOWARD E           PO BOX 11531                                                                                 BALTIMORE             MD 21229‐0531
MEGGINSON, JOSEPH W           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK               VA 23510‐2212
                                                                STREET, SUITE 600
MEGGINSON, STEVE G            6259 BEECHFIELD DR                                                                           LANSING               MI   48911‐5734
MEGGISON, BILL W              1656 PHYLLIS ST                                                                              YPSILANTI             MI   48198‐6636
MEGGISON, EDITH M             1656 PHYLLIS ST                                                                              YPSILANTI             MI   48198‐6636
MEGGISON, ROBERT T            3475 N M 88                                                                                  CENTRAL LAKE          MI   49622‐9728
MEGGISON, THOMAS A            1376 LEVONA ST                                                                               YPSILANTI             MI   48198‐6440
MEGGITT PLC                   30700 RANCHO VIEJO RD                                                                        SAN JUAN CAPISTRANO   CA   92675
MEGGITT SAFETY SYSTEMS INC    1915 VOYAGER AVE                                                                             SIMI VALLEY           CA   93063‐3375
MEGGITT, RICHARD A            PO BOX 11450                                                                                 SAINT PAUL            MN   55111
MEGGS, KENNY L                1836 GERTIE BARRETT RD                                                                       MANSFIELD             TX   76063‐6325
MEGGS, THOMAS C               6108 MALLARD DR S                                                                            CHARLOTTE             NC   28227‐3124
MEGHAN BUBAN                  1521 BIGGERS RD                                                                              ROCHESTER HILLS       MI   48309‐1613
MEGHAN CHAMBO                 2627 ABERDOVEY DR                                                                            ROYAL OAK             MI   48073‐3708
MEGHAN E COFIELD              2520 ELSMERE AVE                                                                             DAYTON                OH   45406‐1935
MEGHAN GEORGE                 5487 BALDWIN RD                                                                              SWARTZ CREEK          MI   48473‐9153
MEGHAN HOLBROOK               732B MANHATTAN BEACH BLVD                                                                    MANHATTAN BEACH       CA   90266‐4857
MEGHREBLIAN, SHARI L          193 POLK PLACE DR                                                                            FRANKLIN              TN   37064‐5736
MEGIE HARRY                   MEGIE, HARRY
MEGIER, PATRICIA J            31 PHEASANT RUN LANE                                                                         LANCASTER             NY   14086‐1143
MEGINLEY, KAREN               11700 COASTAL HWY                 UNIT 1105                                                  OCEAN CITY            MD   21842‐2486
MEGINNIS SAAB                 6400 Q ST                                                                                    LINCOLN               NE   68505‐2464
MEGINNIS, ELIZABETH A         6232 CARRINGTON DR                                                                           INDIANAPOLIS          IN   46236‐8208
MEGISON PAUL EDWARD           MEGISON, PAUL EDWARD              225 W SANTA CLARA ST STE 950                               SAN JOSE              CA   95113‐1748
MEGISON, PAUL
MEGLIN, MARY K                10006 EDGEWATER DR                                                                           CLEVELAND             OH   44102‐6118
MEGLINO HEATHER               2424 W TAMPA BAY BLVD                                                                        TAMPA                 FL   33607
MEGLIS III, ANDREW            109 S LAUREL CIR                                                                             COLUMBIA              TN   38401‐2022
MEGLIS, HELEN P               101 N OLDS BLVD                                                                              FAIRLESS HILLS        PA   19030‐2405
MEGLIS, THELMA I.             100 PARK DR                                                                                  CLARKS GREEN          PA   18411‐1124
MEGLIS, THELMA I.             100 PARK DRIVE                                                                               CLARKS GREEN          PA   18411‐1124
MEGNA, JENNIE M               3012 N NEWHALL ST                                                                            MILWAUKEE             WI   53211‐3226
MEGNA, JOYCE B                14870 SE 175TH ST                                                                            WEIRSDALE             FL   32195‐3016
MEGO, JEROME E                6222 MOUNTAIN RIDGE CIR                                                                      SUGAR HILL            GA   30518‐8112
MEGONNELL JR, RALPH E         426 HAYES ST                                                                                 YPSILANTI             MI   48198‐6065
MEGONNELL JR, RALPH EUGENE    426 HAYES ST                                                                                 YPSILANTI             MI   48198‐6065
MEGOWN, PAUL E                4475 WARWICK DR N                                                                            CANFIELD              OH   44406‐9235
MEGREY, RITA A                1899 MOUNT PLEASANT RD                                                                       GREENSBURG            PA   15601‐6389
MEGREY, RITA A                1899 MT PLEASANT RD                                                                          GREENSBURG            PA   15601
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Name                      Address1                         Address2                        Address3   Address4             City              State Zip
MEGTEC SYST/GAHANNA       224 WEST JOHNSTON ROAD                                                                           GAHANNA            OH 43230
MEGUIRE, CLIFFORD S       8714 BUTLER WARREN RD                                                                            MASON              OH 45040‐9278
MEGUMI DURANT             502 OMAHA DR                                                                                     YORKVILLE           IL 60560‐2369
MEGUMI PIEKENBROCK        C/O THOMAS PIEKENBROCK           FELDSTR 54                                 40479 DUSSELDORF
                                                                                                      GERMANY
MEGURO, JUN I             1600 ARDMORE AVE BOX 7           7                                                               HERMOSA BEACH     CA   90254
MEGYESI, ARLEEN J         8461 DUDLEY ST                                                                                   TAYLOR            MI   48180‐2837
MEGYESI, DANA ANDREW      600 NW 11TH AVE                                                                                  CHIEFLAND         FL   32626
MEGYESI, DANA ANDREW      527 SHEA ST                                                                                      TOLEDO            OH   43609‐1515
MEGYESI, JAMES P          8461 DUDLEY ST                                                                                   TAYLOR            MI   48180‐2837
MEGYESI, PAUL             1503 MORAN AVE                                                                                   LINCOLN PARK      MI   48146‐3851
MEGYESI, WILLIAM F        4312 W 10TH ST                                                                                   CLEVELAND         OH   44109‐3671
MEHAFFEY MARK             5440 ZIMMER RD                                                                                   WILLIAMSTON       MI   48895‐9181
MEHAFFEY, LILLIAN K       570 SEDAN CRABTREE RD UNIT B                                                                     LUCASVILLE        OH   45648‐9132
MEHAFFEY, LILLIAN K       570 B SEDAN CRABTREE RD                                                                          LUCASVILLE        OH   45648‐8925
MEHAFFEY, NANCY E         PO BOX 1634                                                                                      CLOVER            SC   29710
MEHAFFEY, TY N            1101 HENSON DR                                                                                   HURST             TX   76053‐6315
MEHAL, ANDREW J           370 BRIDGEPORT RD                                                                                MT PLEASANT       PA   15666‐2355
MEHAL, EDWARD J           8730 PIERCE RD                                                                                   GARRETTSVILLE     OH   44231‐9003
MEHALIC, BARBARA A        1112 BEATTY AVE.                                                                                 NEW CASTLE        PA   16101‐2659
MEHALIC, KARIN L          8 HARDING LN                                                                                     W YARMOUTH        MA   02673‐2715
MEHALIC, STEPHEN W        8 HARDING LN                                                                                     W YARMOUTH        MA   02673‐2715
MEHALICK, CARL S          54 COLUMBUS AVE                                                                                  EDISON            NJ   08817‐5208
MEHALIK MARK G (454976)   C/O PAUL REICH & MYERS P.C.      1608 WALNUT ST STE 500                                          PHILADELPHIA      PA   19103‐5446
MEHALIK, MARK G           PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                          PHILADELPHIA      PA   19103‐5446
MEHALKO, DAVID G          774 RIDGE RD SOUTH RD                                                                            MARTINSBURG       WV   25403
MEHALKO, JOAN M           1601 LASALLE BLVD                                                                                HIGHLAND          MI   48356
MEHALKO, JOAN M           1601 LA SALLE BLVD                                                                               HIGHLAND          MI   48356‐2747
MEHALKO, MARK C           9503 ASPEN VIEW DR                                                                               GRAND BLANC       MI   48439‐7382
MEHALKO, MIKE             1870 47TH AVE                                                                                    VERO BEACH        FL   32966‐2236
MEHALL ANDREW (464214)    KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                   CLEVELAND         OH   44114
                                                           BOND COURT BUILDING
MEHALL JR, BERNARD S      13380 BRIDGEFORD AVE                                                                             BONITA SPRINGS    FL 34135‐3489
MEHALL JR, DAVID L        3580 GRANDVIEW CT                                                                                SHELBY TOWNSHIP   MI 48316‐1357
MEHALL MICHAEL (446303)   KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                   CLEVELAND         OH 44114
                                                           BOND COURT BUILDING
MEHALL, ANDREW            KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                    CLEVELAND         OH 44114
                                                           BOND COURT BUILDING
MEHALL, CAROLYN M         3580 GRANDVIEW CT                                                                                SHELBY TWP        MI   48316‐1357
MEHALL, CAROLYN MARIE     3580 GRANDVIEW CT                                                                                SHELBY TWP        MI   48316‐1357
MEHALL, DAVID             3580 GRANDVIEW CT                                                                                SHELBY TWP        MI   48316‐1357
MEHALL, DAVID L           3408 WHEATLAND LN                                                                                PLANO             TX   75025‐3614
MEHALL, KATHLEEN G        45681 TOURNAMENT DR                                                                              NORTHVILLE        MI   48168‐8581
MEHALL, MARY ANN C        121 EMERALD DR                   EMERALD ESTATES                                                 EBENSBURG         PA   15931‐5726
MEHALL, MICHAEL           KELLEY & FERRARO LLP             1300 EAST NINTH STREET, 1901                                    CLEVELAND         OH   44114
                                                           BOND COURT BUILDING
MEHALL, RONALD A          26918 BRIDGEWATER WAY                                                                            BROWNSTOWN        MI   48134‐8043
MEHALL, TIMOTHY C         20011 TWIN POND DR                                                                               BROWNSTOWN TWP    MI   48183‐1166
MEHALL,KATHLEEN G         45681 TOURNAMENT DR                                                                              NORTHVILLE        MI   48168‐8581
MEHALLOW, JAMES J         16962 FREYMAN RD                                                                                 CYGNET            OH   43413‐9625
MEHALLOW, JAMES JOSEPH    16962 FREYMAN RD                                                                                 CYGNET            OH   43413‐9625
MEHALYAK, MARY C          8 PINEWOOD DR                                                                                    TRENTON           NJ   08690‐3346
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Name                                Address1                        Address2                     Address3                    Address4         City           State Zip
MEHAN II, MORGAN J                  3109 MAPLEWOOD AVE                                                                                        LAMBERTVILLE    MI 48144‐9616
MEHAN II, MORGAN JAMES              3109 MAPLEWOOD AVE                                                                                        LAMBERTVILLE    MI 48144‐9616
MEHAN, JUDITH ANN                   PO BOX 423                                                                                                PETERSBURG      MI 49270‐0423
MEHAN, MARLENE A                    594 N COUNTY LINE HWY                                                                                     DEERFIELD       MI 49238‐9603
MEHANGER SANTOKH                    8694 SHASTA LILY DR                                                                                       ELK GROVE       CA 95624‐3437
MEHANNA KAIS                        3288 COLUMBINE DR                                                                                         SAGINAW         MI 48603‐1924
MEHARG, ELDON L                     254 HAMILTON RD                                                                                           MOUNT MORRIS    MI 48458‐8903
MEHARG, GARY W                      12976 NORMAN RD                                                                                           BROCKWAY        MI 48097‐3905
MEHARG, JUDITH ESTELLE              5900 MILLS RD.                                                                                            DECKERVILLE     MI 48427‐9407
MEHARG, JUDITH ESTELLE              5900 MILLS RD                                                                                             DECKERVILLE     MI 48427‐9407
MEHARG, KENNETH L                   1613 RASPBERRY LN                                                                                         FLINT           MI 48507‐2302
MEHARG, KENNETH LEE                 1613 RASPBERRY LN                                                                                         FLINT           MI 48507‐2302
MEHARG, LILLIAN E                   331 BLUE RIDGE RD                                                                                         WINFIELD        AL 35594‐6205
MEHARG, RONALD R                    12966 NORMAN RD                                                                                           BROCKWAY        MI 48097‐3905
MEHARG, TIMOTHY R                   46259 LOOKOUT DR. COURT                                                                                   MACOMB          MI 48044
MEHARRY MED/NASHVILL                1005 D.B. TODD BOULEVARD                                                                                  NASHVILLE       TN 37208
MEHARRY MEDICAL COLLEGE OFFICE OF   LRC BLDG 5TH FL RM 505          1005 DR D B TODD JR BLVD                                                  NASHVILLE       TN 37208
THE TREASURER
MEHARRY, GEORGE L                   4340 SPRINGDALE CIR                                                                                       VENICE         FL 34293‐8207
MEHAY, EUGENE L                     4585 BRITTON RD                                                                                           BANCROFT       MI 48414‐9786
MEHAY, TRAVIS M                     655 BIRD AVE                                                                                              BIRMINGHAM     MI 48009‐2011
MEHDI
MEHDI & OMELKEIR KAROON TRUST       MEHDI KAROON TTEE               OMELKEIR KAROON TTEE         10590 WILSHIRE BLVD #1201                    LOS ANGELES    CA 90024‐7311
MEHDI ALASTI                        LACHNERRING 11 A                31137 HILDESHEIM
MEHDI ALASTI                        LACHNERRING 11A                 31137 HILDESHEIM
MEHDI AND OMOLKEIR KAROON TRUST     MEHDI KAROON TTEE               OMOLKHEIR KAROON TTEE        10590 WILSHIRE BLVD APT                      LOS ANGELES    CA 90024‐7311
                                                                                                 1201
MEHDI KALANI                        619 BELLEVUE AVE                                                                                          HAMMONTON       NJ   08037
MEHDI MANSOUR
MEHDI OMOLKHEIR KAROON TRUST        MEHDI KAROON TTEE               OMOLKHEIR KARRON TTEE        10590 WILSHIRE BLVD APT                      LOS ANGELES    CA 90024‐7311
                                                                                                 1201
MEHDIKHANIAN VAHAN                  MEHDIKANIAN, VAHAN              425 W BROADWAY STE 220                                                    GLENDALE       CA    91204‐1269
MEHELAS, DAVID J                    5 VICTOR RD                                                                                               BEACON         NY    12508‐3936
MEHERG, DIANE W                     3096 CHURCH ST                                                                                            OAKLAND        KY    42159‐6800
MEHERG, JOEY                        3096 CHURCH ST                                                                                            OAKLAND        KY    42159‐6800
MEHERG, JOSEPH                      512 PICKENS LN                                                                                            COLUMBIA       TN    38401‐3943
MEHERG, SHERRIE M                   211 COUNTY ROAD 368                                                                                       TRINITY        AL    35673‐4634
MEHERIN WILLIAM (654409)            BRAYTON PURCELL                 PO BOX 6169                                                               NOVATO         CA    94948‐6169
MEHERIN, WILLIAM                    BRAYTON PURCELL                 PO BOX 6169                                                               NOVATO         CA    94948‐6169
MEHEULA, JULIE A                    45‐628 KULUKEOE PL                                                                                        KANEOHE        HI    96744‐3504
MEHIGH, DONALD H                    545 PARK LN                                                                                               CORUNNA        MI    48817‐1549
MEHIGH, RAYMOND R                   252 STANLEY DR                                                                                            CORUNNA        MI    48817‐1155
MEHIGH, RICHARD                     1275 N STATE RD                                                                                           OWOSSO         MI    48867‐9699
MEHL L SMITH                        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                                HOUSTON        TX    77007
                                    BOUNDAS, LLP
MEHL, J A                           132 S POINT DR                                                                                            FAIRBORN       OH    45324‐2729
MEHL, KENNETH E                     7195 FOX CHASE LN                                                                                         WESTLAND       MI    48185‐7670
MEHL, RODNEY A                      13554 SWAN CREEK RD                                                                                       HEMLOCK        MI    48626‐9797
MEHLBERG JR, RUSSELL F              22783 ADAMS RD                                                                                            COPEMISH       MI    49625‐9567
MEHLBERG, DALE W                    4219 W BRIARWOOD LAKE WEST LN                                                                             MONROVIA       IN    46157‐9278
MEHLBERG, MARJORIE C                2425 EAST DRYDEN ROAD                                                                                     METAMORA       MI    48455‐9311
MEHLBERG, MARY                      PO BOX 67                                                                                                 MANCELONA      MI    49659‐0067
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Name                                 Address1                         Address2                      Address3   Address4              City                 State Zip
MEHLE, ANTHONY A                     989 VILLA PL                                                                                    GIRARD                OH 44420‐2082
MEHLE, BETTY A                       233 FOREST GLEN RD SW                                                                           WARREN                OH 44481‐9679
MEHLE, PETER J                       3696 MAIN STREET                 APT# 28                                                        MINERAL RIDGE         OH 44440‐4440
MEHLE, PETER J                       3696 MAIN ST APT 28                                                                             MINERAL RIDGE         OH 44440‐9715
MEHLE‐SCOTT, FAITH A                 12110 ISLAND RD                                                                                 GRAFTON               OH 44044‐9538
MEHLENBACHER, ROBIN T                2990 GARDEN ST                                                                                  AVON                  NY 14414‐9616
MEHLENBACHER, SANDRA J               2990 GARDEN ST                                                                                  AVON                  NY 14414‐9616
MEHLER & HAGESTROM INC               101 W PROSPECT AVE STE 1750                                                                     CLEVELAND             OH 44115‐1053
MEHLER, DAVID R                      766 BASSETT DR                                                                                  SALINE                MI 48176‐1002
MEHLER, IRENE B                      115 WEST POTTAWATAMIE STREET                                                                    TECUMSEH              MI 49286‐1945
MEHLER, WILMA JEAN                   2997 MOUNT TABOR RD                                                                             WAVERLY               OH 45690‐9093
MEHLHOP, BRUCE                       547 STONEWOOD LANE                                                                              BURNSVILLE            MN 53306
MEHLHOP, BRUCE                       HAUER FARGIONE LOVE LANDY &      5901 CEDAR LAKE RD S                                           MINNEAPOLIS           MN 55416‐1488
                                     MCELLISTREM PA
MEHLING, BETTY A                     1325 N NURSERY RD                                                                               ANDERSON             IN   46012‐2729
MEHLING, CHARLES W                   6707 REDFORD CIR                                                                                TROY                 MI   48085‐1213
MEHLING, GEORGE D                    1325 N NURSERY RD                                                                               ANDERSON             IN   46012‐2729
MEHLING, MONICA F                    1108 NORTHFIELD LANE                                                                            ANDERSON             IN   46011‐9528
MEHLING, PAUL                        MONTGOMERY GOFF & BULLIS         4733 AMBER VALLEY PKWY S                                       FARGO                ND   58104‐8614
MEHLROSE RICHARD H (404342)          ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK             NY   10006‐1638
MEHLROSE RICHARD H (404342) ‐ PALMER ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK             NY   10006‐1638
ALICE
MEHLROSE RICHARD H (404342) ‐        ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK             NY 10006‐1638
RICCIARDI FRED
MEHLROSE RICHARD H (404342) ‐        ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK             NY 10006‐1638
RICCIARDI PAUL
MEHLROSE, RICHARD H                  ANGELOS PETER G LAW OFFICE       115 BROADWAY FRNT 3                                            NEW YORK             NY 10006‐1638
MEHMET C AGABIGUM MD                 ATTN: MEHMET C AGABIGUM          5040 VILLA LINDE PKWY # A                                      FLINT                MI 48532‐3445
MEHMET KUZUOGLU
MEHMET NECATI ARKUN
MEHMET SELCUK KARABEYOGLU            MAHIR IZ CAD NO 128                                                       ALTUNIZADE ISTANBUL
                                                                                                               TURKEY
MEHMOOD, AMERICA                    BODIFORD RAYMOND LAW OFFICES OF   135 W CENTRAL BLVD STE 1100                                    ORLANDO              FL   32801‐2478
MEHMOOD, DANIEL                     RAYMOND BOTIFORD                  135 W CENTRAL BLVD STE 1100                                    ORLANDO              FL   32801‐2478
MEHMOOD, DANIEL                     APT 301                           16430 NELSON PARK DRIVE                                        CLERMONT             FL   34714‐5879
MEHNERT JR, FRANK H                 644 HAMILTON RD                                                                                  BLOOMFIELD VILLAGE   MI   48301‐2550
MEHNERT, JESSIE L                   38 HANNA CT                                                                                      FORT MYERS           FL   33912‐6334
MEHNERT, LYLE E                     2934 CADILLAC DR                                                                                 BAY CITY             MI   48706‐3102
MEHNERT, WILLIAM R                  20151 LUNN RD                                                                                    STRONGSVILLE         OH   44149‐4927
MEHOLIC MAGGIE                      2001 SYLVAN AVE                                                                                  LATROBE              PA   15650‐3068
MEHOLIC, GEORGE E                   1126 POST DR                                                                                     LATROBE              PA   15650‐2624
MEHOLIC, HELEN                      136 VILLAGE WALK DR                                                                              ROYAL PALM BEACH     FL   33411‐2980
MEHOLIC, JOHN J                     1603 JOLSON CT                                                                                   MERRITT ISLAND       FL   32953‐2514
MEHR HARRY F (439329)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA   23510
                                                                      STREET, SUITE 600
MEHR, DANIEL K                      2136 MILLSTREAM DRIVE                                                                            WIXOM                MI   48393‐1747
MEHR, ELEANOR A                     301 KINOOLE STREET                                                                               HILO                 HI   96720‐2980
MEHR, GORDON E                      1140 S ORLANDO AVE APT K4                                                                        MAITLAND             FL   32751‐6434
MEHR, HARRY F                       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                    NORFOLK              VA   23510‐2212
                                                                      STREET, SUITE 600
MEHRA TUBE INC                                                        10168 NORTH HOLLY RD.                                                               MI 48439
MEHRA TUBE/GRAND BLA                PO BOX 615                        10168 NORTH HOLLY RD.                                          GRAND BLANC          MI 48480‐0615
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Name                                Address1                        Address2                        Address3   Address4             City               State Zip
MEHRA, SACHIN J                     1 CORELL RD                                                                                     SCARSDALE           NY 10583‐7405
MEHRDAD NEKOOGAR                    54185 STILLWATER DR                                                                             MACOMB              MI 48042‐6100
MEHRDAD TEIMORZADEH                 2120 HIGHBURY DR                                                                                TROY                MI 48085‐3807
MEHRENS, GEORGE M                   1232 MILL CREEK CT                                                                              FLINT               MI 48532‐2346
MEHRER, CARL J                      40803 WOODSIDE DR                                                                               CLINTON TWP         MI 48038‐4190
MEHRER, MICHAEL E                   7107 BIRCHCREEK RD                                                                              SAN DIEGO           CA 92119
MEHRINGER JR, IRVING F              13‐147 SPRING CREEK DR                                                                          LANARK               IL 61046‐9628
MEHRINGER, CHARLES A                30618 CEDARS DR                                                                                 WARREN              MI 48093‐6519
MEHRINGER, DANIEL C                 PO BOX 51745                                                                                    LIVONIA             MI 48151‐5745
MEHRINGER, DANIEL C.                PO BOX 51745                                                                                    LIVONIA             MI 48151‐5745
MEHRINGER, JOSEPH R                 APT 1424                        12113 METRIC BOULEVARD                                          AUSTIN              TX 78758‐8631
MEHRINGER, JOSEPH R                 1801 WARNER RANCH DR            APT 613                                                         ROUND ROCK          TX 78664
MEHRINGER, LINDA M                  7999 HEATHER CT                                                                                 BROWNSBURG          IN 46112
MEHRINGER, ROBERT L                 960 S OHIO ST                                                                                   MARTINSVILLE        IN 46151‐2527
MEHRL, BAERBEL INGE                 27600 EVELYN AVENUE                                                                             WARREN              MI 48093‐2863
MEHRL, EMMA                         708 SANCTUARY LN                                                                                JOLIET               IL 60435‐2828
MEHRMAN, DONNA K                    12171 MARSHALL RD                                                                               MONTROSE            MI 48457‐9781
MEHRMAN, DONNA KAY                  12171 MARSHALL RD                                                                               MONTROSE            MI 48457‐9781
MEHRMAN, RICHARD J                  12171 MARSHALL RD                                                                               MONTROSE            MI 48457‐9781
MEHRMAN, TERI L                     5962 SILVER BIRCH RD                                                                            ORTONVILLE          MI 48462‐9520
MEHRMAN, TERI LYNN                  5962 SILVER BIRCH RD                                                                            ORTONVILLE          MI 48462‐9520
MEHRMANN JR, ROSS C                 1420 NEWARK RD.                                                                                 GRANVILLE           OH 43023
MEHRMANN, MARCELLA L                1420 NEWARK GRANVILLE RD                                                                        GRANVILLE           OH 43023‐1461
MEHRNAM SHARIF‐BAKHTIAR             5418 YONGE ST                   APT# PH01                                  TORONTO ON CANADA
                                                                                                               M2N6X4
MEHRPAD, MEHDI                      4645 GRAN RIVER GLN                                                                             DULUTH             GA 30096‐6185
MEHSEN, JOSEPH M                    1 BRADFORD CT                                                                                   DEARBORN           MI 48126‐4170
MEHSON MOUSSA                       R MARIA MONTEIRO,477            14 ANDAR                                   CAMPINAS 13025‐150
                                                                                                               BRAZIL
MEHTA, HIMANSHU H                   2898 RENFREW ST                                                                                 ANN ARBOR          MI   48105‐1454
MEHTA, HIMMAT S                     2174 CLINTON VIEW CIR                                                                           ROCHESTER HILLS    MI   48309‐2986
MEHTA, KETAN Y                      50563 FEDERAL BLVD                                                                              CANTON             MI   48188‐2297
MEHTA, MANSI D                      4 LATHROP LN APT G                                                                              ROCKY HILL         CT   06067‐3225
MEHTA, RAJIV                        1428 BRADBURY DR                                                                                TROY               MI   48098‐6313
MEHTA, RAM K, PRESIDENT MES CORP,   612 LONGFELLOW DR                                                                               TROY               MI   48085‐4879
TROY MI
MEHTA, ROHINTON B                   40843 GULLIVER DR                                                                               STERLING HEIGHTS   MI   48310‐1741
MEHTA, VIVEK                        1502 BARTLEY LN                                                                                 BLOOMFIELD HILLS   MI   48304‐1002
MEHTA, YOGIN B                      7505 S CHAPEL DR                                                                                OAK CREEK          WI   53154‐2447
MEHTAB WASI                         74 HIGHOAK DR NE                                                                                MARIETTA           GA   30066‐4932
MEHTAB WASI                         2354 JOHN R RD APT 202                                                                          TROY               MI   48083
MEHTRENS LAURA                      MEHTRENS, LAURA                 12122 TESSON FERRY RD STE 101                                   SAINT LOUIS        MO   63128‐1772
MEI CAI                             2690 HUNTERS BLF                                                                                BLOOMFIELD HILLS   MI   48304‐1823
MEI EXPRESS                         PO BOX 74306                                                                                    ROMULUS            MI   48174‐0306
MEI KOO                             8019 WASHINGTON PARK DR                                                                         DAYTON             OH   45459‐3652
MEI L KOO                           8019 WASHINGTON PARK                                                                            DAYTON             OH   45459
MEI V MCCORMICK RONALD              NO ADVERSE PARTY
MEI YANG                            31450 HARLO DR APT F                                                                            MADISON HEIGHTS    MI 48071‐1979
MEI YEH                             R XINGU,175                     APTO 112                                   SANTO ANDRE BRAZIL
                                                                                                               09060050
MEI‐YUN & CHIEN‐CHUAN LIN           5042 DODSON LN                                                                                  SACRAMENTO          CA 95835
MEI‐YUN HSU YEH                     878 TOWNE CENTER DR                                                                             POMONA              CA 91767
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Name                              Address1                        Address2                        Address3             Address4         City               State Zip
MEI‐YUN LIN                       5042 DODSON LN                                                                                        SACRAMENTO          CA 95835
MEIBUHR, CHERIE L                 10690 E BELLA VISTA DR                                                                                SCOTTSDALE          AZ 85258‐6086
MEICHER, BERNARD F                3629 SCARBOROUGH DR                                                                                   NEW HAVEN           IN 46774‐2705
MEICHER, DANIEL J                 5220 SANDALWOOD CIR                                                                                   GRAND BLANC         MI 48439‐4266
MEICHER, DAVID V                  1402 DAYTON DR                                                                                        JANESVILLE          WI 53546‐1472
MEICHER, JEAN V                   424 HENLEY CT                                                                                         BLOOMFIELD HILLS    MI 48304‐1806
MEICHER, NICHOLAS C               7402 LESWOOD CT                                                                                       FORT WAYNE          IN 46816‐2658
MEICHES MARK                      75 SAM FONZO DR                                                                                       BEVERLY             MA 01915‐1000
MEIDA, FRANK H                    2220 BUCKINGHAM AVE                                                                                   BIRMINGHAM          MI 48009‐7546
MEIDA, LINDA M                    5242 CROTON DR                                                                                        STERLING HTS        MI 48310‐3407
MEIDA, MARTIN E                   4798 ADAMS RD                                                                                         GLADWIN             MI 48624‐8921
MEIDA‐EVANS, LINDA M              5242 CROTON DR                                                                                        STERLING HTS        MI 48310‐3407
MEIDANIS, EKATERINI               1569 LONDON AVE                                                                                       LINCOLN PARK        MI 48146‐3521
MEIDANIS, NIKOLAOS                15063 WILLIAMSBURG ST                                                                                 RIVERVIEW           MI 48193‐7703
MEIDELL, JAY H                    2635 E 3300 S                                                                                         SALT LAKE CITY      UT 84109‐2728
MEIDELL, RICHARD F                4531 CRANBROOK DR                                                                                     INDIANAPOLIS        IN 46250‐2432
MEIDEN AMERICA INC                15800 CENTENNIAL DR                                                                                   NORTHVILLE          MI 48168‐9629
MEIDENBAUER, JOHN J               98 COLETTE AVE                                                                                        CHEEKTOWAGA         NY 14227‐3402
MEIDENBAUER, ROY W                S46W22212 TANSDALE RD                                                                                 WAUKESHA            WI 53189‐8036
MEIDENBAUER, ROY W                S 46 W22212 TANSDALE                                                                                  WAUKESHA            WI 53189‐8036
MEIDENSHA CORP                    15800 CENTENNIAL DR                                                                                   NORTHVILLE          MI 48168‐9629
MEIDINGER, FLORENCE E             3215 W MOUNT HOPE AVE APT 232                                                                         LANSING             MI 48911‐1280
MEIDINGER, WARREN J               1805 N WILLOW HWY                                                                                     LANSING             MI 48917‐1644
MEIDL, KENNETH L                  1700 LEISURE WORLD                                                                                    MESA                AZ 85206‐2329
MEIENBERG THOMAS F (429440)       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK             VA 23510
                                                                  STREET, SUITE 600
MEIENBERG, THOMAS F               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
MEIENBURG, GLYNN R                3440 CASTLEWOOD DR                                                                                    WIXOM              MI   48393‐1749
MEIER ALLAN (636948)              SIMMONS FIRM                    PO BOX 521                                                            EAST ALTON         IL   62024‐0519
MEIER CHEVROLET‐BUICK             477 E SAINT LOUIS ST                                                                                  NASHVILLE          IL   62263‐1705
MEIER CHEVROLET‐BUICK             PO BOX 70                                                                                             SULLIVAN           MO   63080‐0070
MEIER FAMILY REVOCABLE TRUST      UAD 12/01/92                    GLORIA P MEIER & WILLIAM J MEIER 15609 W FUTURA DR                    SUN CITY WEST      AZ   85375‐6547
                                                                  TTEES AMD 2/25/99
MEIER I I I, ROBERT J             517 EDMONDSON AVE                                                                                     CATONSVILLE        MD   21228‐3437
MEIER III, FRANK I                732 WOODEWIND DR                                                                                      NAPERVILLE         IL   60563‐3943
MEIER III, FRANK I                5701 WEBSTER ST                                                                                       DOWNERS GROVE      IL   60516‐1316
MEIER JR, WILLIAM J               1676 KNOX SCHOOL RD                                                                                   BELOIT             OH   44609‐9452
MEIER OTTO                        WIESENWEG 3                                                                                           MUST               AK
MEIER SHARON                      102 INGRAM CIRCLE                                                                                     LONGWOOD           FL   32779
MEIER SR, DOUGLAS J               PO BOX 410                                                                                            HONEOYE            NY   14471‐0410
MEIER TRANSMISSION LTD            5400 CHEVROLET BLVD             DOCK #2                                                               PARMA              OH   44130‐1451
MEIER TRAVIS                      305 W HUGHSON ST                                                                                      RANDOLPH           NE   68771‐9432
MEIER TRUCK SERVICE               5501 FEMRITE DR                                                                                       MADISON            WI   53718‐6837
MEIER VERYL (459203)              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA   23510
                                                                  STREET, SUITE 600
MEIER WICKHEM LYONS & SCHULZ SC   PO BOX 874                                                                                            JANESVILLE         WI   53547‐0874
MEIER, ALETHA                     5642 ASHLEY DR                                                                                        LANSING            MI   48911‐4803
MEIER, ALLAN                      SIMMONS FIRM                    PO BOX 521                                                            EAST ALTON         IL   62024‐0519
MEIER, ALLEN                      5137 E EMELITA CIR                                                                                    MESA               AZ   85206‐2814
MEIER, AMANDA J                   315 RALEIGH CT                                                                                        COLUMBIA CITY      IN   46725‐7415
MEIER, AMANDA JEAN                315 RALEIGH CT                                                                                        COLUMBIA CITY      IN   46725‐7415
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Name                   Address1                        Address2            Address3         Address4         City                 State Zip
MEIER, ANDREA          8710 SUNDAY CT                                                                        WILLIAMSBURG          MI 49690
MEIER, ANN L           7464 STATE ROUTE 15                                                                   DEFIANCE              OH 43512‐9764
MEIER, ARNOLD L        3736 VALLEYWOOD DR                                                                    KETTERING             OH 45429‐4304
MEIER, BILLIE C        10167 WILLARD RD                                                                      MILLINGTON            MI 48746‐9312
MEIER, BRIAN A         10185 WILLARD RD                                                                      MILLINGTON            MI 48746‐9312
MEIER, BRIAN ALAN      10185 WILLARD RD                                                                      MILLINGTON            MI 48746‐9312
MEIER, BRIAN H         3732 LINDA RD                                                                         HERMANTOWN            MN 55811‐4305
MEIER, CHARLES A       84 VILLA AVE                                                                          BUFFALO               NY 14216‐1372
MEIER, CHERYL A        210 COLONEL DR                                                                        CARLISLE              OH 45005‐4298
MEIER, DALE G          7464 STATE ROUTE 15                                                                   DEFIANCE              OH 43512‐9764
MEIER, DAVID A         6285 WHISPERING MEADOWS DR                                                            WHITE LAKE            MI 48383‐2779
MEIER, DAVID G         3426 S 82ND ST                                                                        MILWAUKEE             WI 53219‐3834
MEIER, DAVID W         PO BOX 249                                                                            LINDEN                MI 48451‐0249
MEIER, DAVID WILLIAM   PO BOX 249                                                                            LINDEN                MI 48451‐0249
MEIER, DONNA M         21903 STEPHENS ST                                                                     SAINT CLAIR SHORES    MI 48080‐1211
MEIER, DORIS           4744 W BARNES ROAD                                                                    MILLINGTON            MI 48746‐9663
MEIER, DORIS           4744 BARNES RD                                                                        MILLINGTON            MI 48746‐9663
MEIER, DUANE E         3035 HANCHETT ST                                                                      SAGINAW               MI 48604‐2463
MEIER, EDITH E         682 CASS AVE                                                                          BAY CITY              MI 48708
MEIER, EDWARD E        5642 ASHLEY DRIVE                                                                     LANSING               MI 48911‐4803
MEIER, ELIZABETH
MEIER, ELIZABETH R     1920 CATLIN DR                                                                        ROCHESTER            MI   48306‐4594
MEIER, GERALD E        G6213 W COURT ST                                                                      FLINT                MI   48532
MEIER, HAROLD E        61772 GLENWOOD TRL                                                                    WASHINGTON           MI   48094‐1520
MEIER, HELEN A         439 RHEA AVE                                                                          HAMILTON             OH   45013‐2945
MEIER, HELEN R         2405 CLUBHOUSE CIR UNIT 103                                                           SARASOTA             FL   34232‐3558
MEIER, JAMES A         1875 RIVERVIEW DR                                                                     DEFIANCE             OH   43512‐2565
MEIER, JAMES F         42 CREE TON DR                                                                        BUFFALO              NY   14228‐1607
MEIER, JAMES FRANCIS   42 CREE TON DR                                                                        BUFFALO              NY   14228‐1607
MEIER, JAMES G         1122 GOODWOOD CT                                                                      HOLLAND              MI   49424‐2795
MEIER, JERALD L        9609 SPRUCE LN                                                                        FISHERS              IN   46038‐2141
MEIER, JERRY R         216 N FORCE RD                                                                        ATTICA               MI   48412‐9741
MEIER, JOHN H          47286 CHERRY VALLEY DR                                                                MACOMB               MI   48044‐2834
MEIER, JOHN M          6159 W WYANDOTTE RD                                                                   MAUMEE               OH   43537‐1334
MEIER, JOSEPH E        3871 VIA POINCIANA APT 202                                                            LAKE WORTH           FL   33467‐2925
MEIER, KATHERINE S     2730 WHISTLER LN SE                                                                   OWENS CROSS ROADS    AL   35763‐9324
MEIER, LEIGH A         1261 ELSIE ST                                                                         FORT ATKINSON        WI   53538‐1514
MEIER, LEVONNA F       5702 RHINE CT SW                                                                      WYOMING              MI   49418‐8363
MEIER, LINDA           11610 BEAR PAW LN                                                                     PORT RICHEY          FL   34668‐1201
MEIER, MARGARET        3665 CLOVERLAWN                                                                       YPSILANTI            MI   48197‐3704
MEIER, MARGARET A      35004 GLEN DR                                                                         EASTLAKE             OH   44095‐2621
MEIER, MARTIN          7 LONGVIEW DR                   RD 11 BOX 37                                          MAHOPAC              NY   10541‐4854
MEIER, MATTHEW C       14242 DOVE DRIVE                                                                      CARMEL               IN   46033‐8321
MEIER, MICHAEL J       5104 WOODMARK DR                                                                      FORT WAYNE           IN   46815‐6063
MEIER, MICHAEL J.      5104 WOODMARK DR                                                                      FORT WAYNE           IN   46815‐6063
MEIER, MICHELLE M      47286 CHERRY VALLEY DR                                                                MACOMB               MI   48044‐2834
MEIER, MILDRED S       6213 WEST COURT STREET                                                                FLINT                MI   48532‐3246
MEIER, MONICA          42 CREE TON DR                                                                        AMHERST              NY   14228‐1607
MEIER, PAUL D          3017 E 300 N                                                                          ANDERSON             IN   46012‐9783
MEIER, PAUL J          6213 WEST COURT STREET                                                                FLINT                MI   48532‐3246
MEIER, RALPH A         11789 ABBEY RD                                                                        NORTH ROYALTON       OH   44133‐2631
MEIER, RICHARD A       2185 W CURTIS RD                                                                      SAGINAW              MI   48601‐9723
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Name                             Address1                           Address2                         Address3   Address4            City                State Zip
MEIER, RICHARD A                 14540 PIERCE RD                                                                                    BYRON                MI 48418‐8880
MEIER, RICHARD ALAN              2185 W CURTIS RD                                                                                   SAGINAW              MI 48601‐9723
MEIER, ROBERT M                  13021 MINNETONKA DR                                                                                LINDEN               MI 48451‐9428
MEIER, ROBIN L                   157 CUYLER ST APT 1                                                                                PALMYRA              NY 14522‐1401
MEIER, ROGER L                   2424 VAN VLEET RD                                                                                  SWARTZ CREEK         MI 48473‐9704
MEIER, RONALD A                  15 W HILL LN                                                                                       WYOMING              OH 45215‐4213
MEIER, RONALD F                  168 CHERRY CHAPEL RD                                                                               DOVER                TN 37058‐6110
MEIER, RONALD L                  458 W MAIN ST                                                                                      EVANSVILLE           WI 53536‐1025
MEIER, RONALD W                  5702 RHINE CT SW                                                                                   WYOMING              MI 49418‐8363
MEIER, ROSALEE                   17485 SE 79TH LOVEWOOD AVE                                                                         LADY LAKE            FL 32162‐5808
MEIER, RUTH R                    11789 ABBEY ROAD                                                                                   NORTH ROYALTON       OH 44133‐2631
MEIER, SARA K                    3743 NEWBERRY RD                                                                                   PLAINFIELD           IN 46168‐7329
MEIER, SHAWN M                   5104 WOODMARK DR                                                                                   FORT WAYNE           IN 46815‐6063
MEIER, THOMAS G                  37504 WILLOWOOD DR                                                                                 FREMONT              CA 94536‐6663
MEIER, THOMAS J                  13909 W 71ST TER                                                                                   SHAWNEE              KS 66216‐5513
MEIER, VERYL                     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                     NORFOLK              VA 23510‐2212
                                                                    STREET, SUITE 600
MEIER, VIRGINIA                  4957 MENOMINEE LN                                                                                  CLARKSTON           MI    48348‐2276
MEIER, WALTER J                  2155 N KATHY LN                                                                                    GENOA               OH    43430‐9763
MEIER, WAYNE C                   9940 CRANE RD                                                                                      MILAN               MI    48160
MEIER, WERNER E                  29200 WESTMONT CT                                                                                  FARMINGTN HLS       MI    48334‐3166
MEIER, WILLIAM A                 741 YOUNGSTOWN LOWELLVILLE RD                                                                      LOWELLVILLE         OH    44436‐1063
MEIER,CHERYL A                   210 COLONEL DR                                                                                     CARLISLE            OH    45005‐4298
MEIERER, WILBURN E               RT HC 79 BOX 1779                                                                                  PITTSBURG           MO    65724
MEIERS, JASON                    22884 VALLEY VIEW DRIVE                                                                            HAYWARD             CA    94541‐3541
MEIERS, RAYMOND C                1126 OAKMONT DR                                                                                    TEMPERANCE          MI    48182‐9102
MEIERS, ROGER A                  3177 LAKE RD N                                                                                     BROCKPORT           NY    14420‐9303
MEIGANI, MEYSAM                  34 MANOR AVE                                                                                       ROSLYN HEIGHTS      NY    11577‐2444
MEIGHAN, CARMELINE               52 HAYDEN ST                                                                                       BUFFALO             NY    14210‐1864
MEIGHAN, DOROTHY A               23 PRINCETON AVE.                                                                                  MERCERVILLE         NJ    08619
MEIGHAN, EILEEN                  HERTEN BURSTEIN SHERIDAN CEVASCO   25 MAIN ST ‐ SOURT PLAZA NORTH                                  HACKENSACK          NJ    07601
                                 BOTTINELLI & LITT
MEIGHAN, JOHN P                  104 S PERSHING AVE                                                                                 YORK                PA 17401‐5418
MEIGHAN, LEO F                   23 PRINCETON AVE                                                                                   MERCERVILLE         NJ 08619‐2047
MEIGHAN, RICHARD B
MEIGS COUNTY TREASURER           100 E 2ND ST RM 202                                                                                POMEROY             OH    45769‐1095
MEIGS, CLIFTON E                 201 WINTERBERRY LN                                                                                 SENECA              SC    29678‐2565
MEIHAUS ELLEN                    18902 RIVER CROSSING BLVD                                                                          DAVIDSON            NC    28036‐8875
MEIHOFER LONG & COUTURE LLC      218 N JEFFERSON ST STE 300                                                                         CHICAGO             IL    60661‐1307
MEIJER                           800 BROWN RD                                                                                       AUBURN HILLS        MI    48326‐1309
MEIJER                           ATTN: MACEO BANKS                  2929 WALKER NW                                                  GRAND RAPIDS        MI    49544‐9428
MEIJER INC                       G4333 W PIERSON RD                                                                                 FLINT               MI    48504
MEIJER INC.                      ATTN: BEVERLY STRICKRODT           2777 AIRPORT RD                                                 JACKSON             MI    49202‐1239
MEIJERS                          ATTN GIFT CARDS #982               2929 WALKER AVE NW                                              GRAND RAPIDS        MI    49544‐6402
MEIJI CORPORATION                660 FARGO AVE                                                                                      ELK GROVE VILLAGE   IL    60007‐4701
MEIJIAXIN TOYS COMPANY LIMITED
MEIK STRUCKMEYER                 BUCHENWEG 1                                                                    31860 EMMERTHAL
                                                                                                                GERMANY
MEIKAMP, ALVIN C                 1370 GERBER RD                                                                                     EDWARDSVILLE         IL   62025‐3114
MEIKAMP, EVALYN                  PO BOX 1048                                                                                        BUSHNELL             FL   33513‐0058
MEIKE MUELLER                    ADELHEIDER STRASSE 13E             27755 DELMENHORST
MEIKE M▄LLER                     ADELHEIDER STRA▀E 13 E             27755 DELMENHORST
                                         09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                    Address1                            Address2                     Address3   Address4               City                State Zip
MEIKE SCHMITZ                           GEIBELSTR. 6                        10961 BERLIN                 GERMANY
MEIKE TROJAHN                           AM HEGEWINKEL 109                                                           14169 BERLIN GERMANY
MEIKE, ZANE A                           5002 W ST JOE HWY                                                                                  LANSING             MI    48917‐4019
MEIKLE NEW YORK INC                     400 TRABOLD RD                                                                                     ROCHESTER           NY    14624‐2529
MEIKLE NEW YORK INC                     400 TRABOLD RD                      G 45‐01                                                        ROCHESTER           NY    14624‐2529
MEIKLE, FLORENCE T                      81 NEWTON ST                                                                                       NORWALK             OH    44857‐1200
MEIKLE, GARON C                         4770 DORANDA CRT                                                            WINDSOR ONTARIO
                                                                                                                    CANADA N8T‐3M7
MEIKLE, GARON C                         4770 DORANDA COURT                                                          WINDSOR ON N8T 3M7
                                                                                                                    CANADA
MEIKLE, GARY H                          5360 BRADLEY BROWNLEE RD                                                                           FOWLER              OH    44418‐9605
MEIKLE, GARY R                          1505 STATE ROUTE 61                                                                                NORWALK             OH    44857‐9353
MEIKLE, JOHN E                          1375 INDIAN RD                                                                                     LAPEER              MI    48446‐8082
MEIKLE, LINDA A                         2900 SWARTHOUT ROAD                                                                                PINCKNEY            MI    48169‐9207
MEIKLE, MARTHA A                        3441 BENTWILLOW LA.                                                                                AUSTINTOWN          OH    44511
MEIKLE, REYNER S                        13416 MASSEY RD                                                                                    GALENA              MD    21635
MEIKLE, SHIRLEY B                       808 PAIGE AVE NE                                                                                   WARREN              OH    44483‐4953
MEIKLEJOHN JR, KENNETH A                1141 HOLCOMB ST APT 102                                                                            DETROIT             MI    48214‐2931
MEIKLEJOHN, ALMA L                      6385 SHERMAN DR                                                                                    LOCKPORT            NY    14094‐6517
MEIKLEJOHN, GEORGE A                    412 CHESTNUT ST                                                                                    FLUSHING            MI    48433‐1410
MEIKLEJOHN, JAMES M                     6455 DELAND RD                                                                                     FLUSHING            MI    48433‐1154
MEIKLEJOHN, JAMES MUNRO                 6455 DELAND RD                                                                                     FLUSHING            MI    48433‐1154
MEIKO WILLARD                           2087 EAST PARKWOOD AVENUE                                                                          BURTON              MI    48529‐1763
MEIL CINDY                              6035 W 8TH AVE                                                                                     HIALEAH             FL    33012‐6535
MEIL, CHARLES B                         1328 CAPSTAN DR                                                                                    ALLEN               TX    75013‐3410
MEIL, JAMES P                           9869 SW 59TH CIR                                                                                   OCALA               FL    34476‐3657
MEILANDER, CHARLES E                    1512 BRADFORD ST NW                                                                                WARREN              OH    44485‐1814
MEILE RAYMOND (468154)                  ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET , ONE                                     BALTIMORE           MD    21202
                                                                            CHARLES CENTER 22ND FLOOR
MEILE, RAYMOND                          ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET, ONE                                      BALTIMORE           MD 21202
                                                                            CHARLES CENTER 22ND FLOOR
MEILER, ALBERT J                        11866 ROUTE 78                                                                                     EAST AURORA         NY    14052‐9556
MEILI, GLEN O                           21271 LARKSPUR ST                                                                                  FARMINGTON          MI    48336‐5047
MEILICKE, PATRICIA A                    3705 S WEHR RD                                                                                     NEW BERLIN          WI    53146‐3037
MEILING, KARL                           7100 FIELDCREST DR                                                                                 LOCKPORT            NY    14094‐1644
MEILINGER DENISE (ESTATE OF) (482615)   CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                          CLEVELAND           OH    44113‐1328
                                        COONE AND ASSOCIATES
MEILINGER, DENISE                       CHRISTOPHER J. HICKEY, ESQ. BRENT   1220 W 6TH ST STE 303                                          CLEVELAND           OH 44113‐1328
                                        COONE AND ASSOCIATES
MEILINK, ROBERT D                       2040 W MAIN ST STE 210 # 1656                                                                      RAPID CITY           SD   57702‐2570
MEILLER, SHAWN                          PO BOX 873544                                                                                      WASILLA              AK   99687‐3544
MEILLEUR, ELEANOR R                     3857 MITCHELL RD                                                                                   LAPEER               MI   48446‐9642
MEILLEUR, WILLIAM A                     1726 W OAKLEY PARK RD                                                                              COMMERCE TOWNSHIP    MI   48390‐1147
MEILNER, EDWARD                         135 MAPLE LN                                                                                       NEW LENOX            IL   60451‐1158
MEILS JOHN                              10625 LABERNIA ROAD NO.10                                                                          ADKINS               TX   78101
MEILUS, VIDA                            6287 BAHIA DEL MAR CIR APT 503                                                                     SAINT PETERSBURG     FL   33715‐1067
MEILUTIS, JUDY A                        20 DARBY CIR                                                                                       ROCHESTER            NY   14626‐1104
MEILY LIN                               6398 DENTON DR                                                                                     TROY                 MI   48098‐2061
MEIN, CHARLES R                         1901 MEADOW RIDGE DR                                                                               COMMERCE TOWNSHIP    MI   48390‐2655
MEINBERG, FREDERICK W                   302 MAYWOOD AVE                                                                                    ROCHESTER            MI   48307‐1538
MEINBERG, NANCY A                       2416 VINSETTA BLVD                                                                                 ROYAL OAK            MI   48073‐3338
MEINBURG, GEORGE W                      4373 DUBLIN RD                                                                                     BURTON               MI   48529‐1838
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Name                                 Address1                           Address2                         Address3   Address4               City              State Zip
MEINCK, CATHERINE S.                 701 RUNNING DEER DR                                                                                   COLUMBIA           TN 38401‐8003
MEINCK, THERESA E                    701 RUNNING DEER DR                                                                                   COLUMBIA           TN 38401‐8003
MEINCKE MARK (493052)                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH 44067
                                                                        PROFESSIONAL BLDG
MEINCKE, DAVID J                     3491 MURPHY RD                                                                                        NEWFANE           NY   14108‐9723
MEINCKE, ELDON H                     3120 JAYCOX RD                                                                                        AVON              OH   44011‐1934
MEINCKE, ROLAND J                    PO BOX 1123                                                                                           LOCKPORT          NY   14095‐1123
MEINE, FREDERICK W                   260 DONALDSON DR                                                                                      MUNROE FALLS      OH   44262‐1506
MEINE, JOHN A                        16534 W SANDIA PARK DR                                                                                SURPRISE          AZ   85374‐6293
MEINE, KLARA M                       1695 QUEENS GATE CIR APT 301                                                                          CUYAHOGA FALLS    OH   44221‐5540
MEINE, KLARA M                       1695 QUEENS GATE CIRCLE            APT 301                                                            CUYAHOGA FALLS    OH   44221‐4221
MEINECKE, GREG D                     10029 E COLDWATER RD                                                                                  DAVISON           MI   48423‐8508
MEINECKE, HAROLD A                   6235 N LAKE RD                                                                                        OTTER LAKE        MI   48464‐9793
MEINECKE, HENRY D                    2281 HOLLY TREE DR                                                                                    DAVISON           MI   48423‐2051
MEINECKE, JOHN W                     4375 MILLINGTON RD                                                                                    MILLINGTON        MI   48746‐9005
MEINECKE, MARILYN K                  3255 COOLIDGE RD                                                                                      BEAVERTON         MI   48612
MEINECKE, MARK A                     5309 WIGWAM LN                                                                                        LAPEER            MI   48446‐8033
MEINECKE, MARK ALLEN                 5309 WIGWAM LN                                                                                        LAPEER            MI   48446‐8033
MEINEKE                                                                 1301 W MCGALLIARD RD                                                                 IN   47303
MEINEKE CAR CARE                     1688 DUNDAS ST                                                                 LONDON ON N5W 3C9
                                                                                                                    CANADA
MEINEKE CAR CARE CENTER                                                 3604 N 165TH ST                                                                      NE 68116
MEINEKE CAR CARE CENTER                                                 5250 PEACHTREE INDUSTRIAL BLVD                                                       GA 30071

MEINEKE CAR CARE CENTER              845 W MAIN ST                                                                                         BRANFORD          CT   06405
MEINEKE CAR CARE CENTER              3604 N 165TH ST                                                                                       OMAHA             NE   68116‐6459
MEINEKE CAR CARE CENTER              4839 N 90TH ST                                                                                        OMAHA             NE   68134‐2704
MEINEKE CAR CARE CENTER              2307 OLD COLLINSVILLE RD                                                                              BELLEVILLE        IL   62221‐3194
MEINEKE CAR CARE CENTER              3322 LEAVENWORTH ST                                                                                   OMAHA             NE   68105‐1916
MEINEKE CAR CARE CENTER              111 ROEMER WAY STE D                                                                                  SANTA MARIA       CA   93454‐1149
MEINEKE CAR CARE CENTER              10667 E BRIARWOOD CIR                                                                                 CENTENNIAL        CO   80112‐1147
MEINEKE CAR CARE CENTER              1860 E SERENE AVE                                                                                     LAS VEGAS         NV   89123‐3203
MEINEKE CAR CARE CENTRE              961 VICTORIA ST N                                                              KITCHENER ON N2B 3C6
                                                                                                                    CANADA
MEINEKE CAR CARE CENTRE              2435 EAGLE ST. N.                                                              CAMBRIDGE ON N3H 4R9
                                                                                                                    CANADA
MEINEKE CAR CARE CENTRE ‐ 2131258 ONT 41 WOODLAWN RD. W.                                                            GUELPH ON N1H 1G8
INC.                                                                                                                CANADA
MEINEKE DISCOUNT MUFFLERS             1796 SPRINGFIELD AVE                                                                                 MAPLEWOOD         NJ   07040‐2902
MEINEL, WILLIAM J                     536 E RACINE ST                                                                                      JEFFERSON         WI   53549‐2183
MEINEN, ERNEST E                      W6986 COUNTY ROAD A                                                                                  ELKHORN           WI   53121‐2864
MEINEN, RICHARD G                     1269 SCOTT ST                                                                                        MAUMEE            OH   43537‐3145
MEINEN, RICHARD GALEN                 1269 SCOTT ST                                                                                        MAUMEE            OH   43537‐3145
MEINEN, RONALD J                      3700 NEW TEXAS RD                                                                                    PITTSBURGH        PA   15239‐1614
MEINER, DANIEL
MEINERS, JIMMY                        642 POINT OF VIEW DR                                                                                 COLUMBIA          TN   38401‐9238
MEINERS, RENDA S                      642 POINT OF VIEW DR                                                                                 COLUMBIA          TN   38401‐9238
MEINERT I I I, HENRY J                1328 SE PICCADILLY ST                                                                                BLUE SPRINGS      MO   64014‐3714
MEINERT III, HENRY J                  1328 SE PICCADILLY ST                                                                                BLUE SPRINGS      MO   64014‐3714
MEINERT, DAVID W                      4503 WINDY HILL RD SE                                                                                DECATUR           AL   35603‐5328
MEINERT, FRANK W                      14044 STRATHMORE DR                                                                                  SHELBY TOWNSHIP   MI   48315‐5401
MEINERT, ROLAND W                     6495 DELAND RD                                                                                       FLUSHING          MI   48433‐1154
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Name                              Address1                           Address2                        Address3   Address4               City                 State Zip
MEINGASNER, TERRY E               1710 BEECH DR N                                                                                      PLAINFIELD            IN 46168‐2138
MEINGASNER, TERRY EDWARD          1710 BEECH DR N                                                                                      PLAINFIELD            IN 46168‐2138
MEINHARD LIEBING                  BREDENBERGSWEG 30                                                             21149 HAMBURG
MEINHARD, SUSAN C                 5407 LORRAINE CT                                                                                     BAY CITY             MI   48706‐9740
MEINHARDT, ROBERT H               630 AUGUSTA DR                                                                                       ROCHESTER HILLS      MI   48309‐1530
MEINHART, JACK D                  65 EUCLID AVE                                                                                        PONTIAC              MI   48342‐1114
MEINHART, ROSEMARY                6980 N CUSTER RD                                                                                     MONROE               MI   48162‐9606
MEINHOLD, DALE L                  12550 GREENHILL DR                                                                                   GRAND BLANC          MI   48439‐1819
MEINHOLZ BECKY & BRAD             6801 WINSTONE DR                                                                                     MADISON              WI   53711‐3944
MEINING AUTOMOTIVE INC.           1001 2ND AVE                                                                                         LONGMONT             CO   80501‐5315
MEINING, LAWRENCE E               14651 WILLOW TRACE DR                                                                                HUDSON               MI   49247
MEININGER, CHARLENE O             2726 NW 8TH PL                                                                                       CAPE CORAL           FL   33993‐8611
MEININGER, JOSEPH H               762 GOODWIN AVE                                                                                      SAN JOSE             CA   95128‐3245
MEININGER, LAWRENCE J             9403 SAINT CLAIR HWY                                                                                 CASCO                MI   48064‐1221
MEININGER, NORBERT F              76100 ANDREWS RD                                                                                     RICHMOND             MI   48062‐3704
MEINKE BRUCE J (446304)           KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                     CLEVELAND            OH   44114
                                                                     BOND COURT BUILDING
MEINKE, BEVERLY E                 18730 EMERALD CIR UNIT D                                                                             BROOKFIELD           WI 53045‐3696
MEINKE, BRUCE J                   KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                      CLEVELAND            OH 44114
                                                                     BOND COURT BUILDING
MEINKE, CAROLYN                   502 S CASS ST                                                                                        HASTINGS             MI   49058‐2038
MEINKE, CHARLES G                 25524 SAN ROSA DR                                                                                    ST CLAIR SHRS        MI   48081‐3821
MEINKE, DIETER A                  10664 KNIGHTS WAY                                                                                    N ROYALTON           OH   44133‐1998
MEINKE, JAMES H                   90 CROYDON DR                                                                                        DEPEW                NY   14043‐4419
MEINKE, JAMES HENRY               90 CROYDON DR                                                                                        DEPEW                NY   14043‐4419
MEINKE, RONALD L                  5245 RILEY RD                                                                                        DEFORD               MI   48729‐9735
MEINKE, ROSEMARY A                21225 BON HEUR ST                                                                                    SAINT CLAIR SHORES   MI   48081‐1837
MEINKE, RUSSELL F                 1211 FAR HILLS AVE APT 317                                                                           DAYTON               OH   45419‐3126
MEINKING'S AUTO & TRUCK SERVICE   1756 SHERMAN AVE                                                                                     CINCINNATI           OH   45212‐2545
MEINOLF HENGESBACH                EMIL‐SCHOLAND‐STR. 4                                                          59872 MESCHEDE
MEINS TED                         MEINS, MARY LEE                    11585 BLUE HERON RD                                               BOW                  WA   98232
MEINS TED                         MEINS, TED                         11585 BLUE HERON RD                                               BOW                  WA   98232
MEINS, DILLARD L                  306 IVY ST                                                                                           GARDEN CITY          MO   64747‐8243
MEINS, MARY LEE                   11585 BLUE HERON RD                                                                                  BOW                  WA   98232‐9328
MEINS, TED                        11585 BLUE HERON RD                                                                                  BOW                  WA   98232‐9328
MEINSCHEIN, GEORGE H
MEINTEL JR, NORMAN V              5184 PONDORAY PL                                                                                     DAYTON               OH   45440‐2419
MEINTEL, DAWN MARIE               6652 LIBERTY PARK DR                                                                                 LIBERTY TOWNSHIP     OH   45044
MEINTJES, KEITH                   3440 WORMER DR                                                                                       WATERFORD            MI   48329‐2570
MEINTS, ELIZABETH D               234 PIPERS LANE                                                                                      MT MORRIS            MI   48458
MEINTS, ELIZABETH D               234 PIPERS LN                                                                                        MOUNT MORRIS         MI   48458‐8909
MEINTS, NORMAN                    BOONE ALEXANDRA                    205 LINDA DR                                                      DAINGERFIELD         TX   75638‐2107
MEINTS, ROBERT C                  2407 ROSEWOOD AVE                                                                                    PORTAGE              MI   49024‐1140
MEINTS, SHIRLEY A                 G 4126 W COURT                                                                                       FLINT                MI   48532
MEINTZ, ERMA L                    11834 LONGMONT DR                  C/O CARL MEINTZ                                                   MARYLAND HEIGHTS     MO   63043‐1751
MEINTZ, ERMA L                    C/O CARL MEINTZ                    11834 LONGMONT                                                    MARYLAND HEIGHTS     MO   63043
MEINZER, OSWALD                   7069 ROSEWOOD DR                                                                                     FLUSHING             MI   48433‐2280
MEIQUIADES GARZA                  THE MADEKSHO LAW FIRM              8866 GULF FREEWAY SUITE 440                                       HOUSTON              TX   77017
MEIR EZRA DBA E V INVESTMENTS     C\O BLUE RIDGE REALTY              2501 BLUE RIDGE RD STE 280                                        RALEIGH              NC   27607‐6367
MEIR, CONRAD P                    879 N CAMPBELL RD                                                                                    WEST BRANCH          MI   48661‐9515
MEIR, MARY                        9401 GA HIGHWAY 208                                                                                  WAVERLY HALL         GA   31831‐2437
MEIR, VERNON T                    2371 BOUGHNER LAKE RD                                                                                PRESCOTT             MI   48756‐9371
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Name                               Address1                           Address2                Address3     Address4         City            State Zip
MEIR, WILLIAM W                    PO BOX 131                                                                               LANSE            MI 49946‐0131
MEIREIS, OPAL I                    110 E KEYSVILLE ST APT 5                                                                 STEELVILLE       MO 65565‐8136
MEIRHOFER, JAMES A                 6174 BERRYWOOD DR N                                                                      SAGINAW          MI 48603‐1082
MEIRING, BETTY J                   3612 ALBRIGHT RD                                                                         KOKOMO           IN 46902‐4454
MEIRING, JIMMIE R                  2201 GREYTWIG DR                                                                         KOKOMO           IN 46902‐4556
MEIRING, NANCY A                   2201 GREYTWIG DR                                                                         KOKOMO           IN 46902‐4556
MEIRING, PHYLLIS J                 63753 E VACATION DR                                                                      TUCSON           AZ 85739
MEIRING, ROSEANNE C                1032 LEE HIGH DRIVE                                                                      SWANTON          OH 43558‐9554
MEIRNDORF, LAWRENCE R              1424 S MERIDIAN RD                                                                       MASON            MI 48854‐9682
MEIROW, LINDA J                    2350 33 MILE RD                                                                          BRUCE TWP        MI 48065‐3401
MEIROWSKY, RALPH A                 22 NW LAKEVIEW BLVD # A                                                                  LEES SUMMIT      MO 64063‐2215
MEIRTHEW, GERALD C                 PO BOX 34                                                                                MOORESBURG       TN 37811‐0034
MEIS, DALE J                       360 E TUTTLE RD LOT 113                                                                  IONIA            MI 48846‐8623
MEIS, RONEY H                      9492 TAYLOR RD                                                                           BEAR LAKE        MI 49614‐9352
MEISA J SWAIN                      1225 STILLMAN AVE                                                                        GADSDEN          AL 35903‐2551
MEISAM MOSTAFA
MEISBERGER, DONALD L               7303 S COUNTY ROAD 1050 E                                                                CAMBY           IN   46113‐9110
MEISBERGER, MELVIN E               4662 W COUNTY ROAD 450 S                                                                 VERSAILLES      IN   47042‐9273
MEISE RICHARD & DONNA              221 CLAIBORNE FIELDS DR                                                                  CENTREVILLE     MD   21617‐2527
MEISEL, DANIEL P                   4206 W VIRGINIA AVE APT 3                                                                PHOENIX         AZ   85009‐1047
MEISEL, DAVID J                    1009 GERMANIA ST                                                                         BAY CITY        MI   48706‐5284
MEISEL, FRANK T                    1861 9TH ST                                                                              BAY CITY        MI   48708‐6741
MEISEL, JAMES K                    515 WHITEGATE LN                                                                         WAYZATA         MN   55391‐1335
MEISEL, MARIBEL P                  1538 PLACENTIA AVE APT A103                                                              NEWPORT BEACH   CA   92663‐2862
MEISEL, MARK J                     7208 LAKESIDE WOODS DR                                                                   INDIANAPOLIS    IN   46278‐1659
MEISEL, V D                        4089 E NIGHTINGALE LN                                                                    GILBERT         AZ   85298‐2701
MEISELBACH, THOMAS H               14619 RICE DR                                                                            STERLING HTS    MI   48313‐2939
MEISELMAN ANNETTE                  MEISELMAN, ANNETTE                 1870 SPUR DRIVE SOUTH                                 ISLIP TERRACE   NY   11752
MEISELMAN, ANNETTE                 GRASECK ARTHUR V JR                1870 SPUR DRIVE SOUTH                                 ISLIP TERRACE   NY   11752
MEISENBURG, ADEL P                 607 CANTERBURY RD                                                                        BAY VILLAGE     OH   44140‐2414
MEISENBURG, ADEL P                 5104 FITCH DR                                                                            SHEFFIELD VLG   OH   44054‐2473
MEISENBURG, DAVID J                6735 SHAWNEE RD                                                                          N TONAWANDA     NY   14120‐9504
MEISENBURG, FRANKLIN T             3800 BEEBE RD                                                                            NEWFANE         NY   14108‐9661
MEISENBURG, RICHARD G              202 SCHENCK ST                                                                           N TONAWANDA     NY   14120‐7209
MEISENBURG, RICHARD G.             202 SCHENCK ST                                                                           N TONAWANDA     NY   14120‐7209
MEISENBURG, RICHARD T              5104 FITCH DR                                                                            SHEFFIELD VLG   OH   44054‐2473
MEISENBURG, RUTH C                 4694 TONAWANDA CRK                                                                       N TONAWANDA     NY   14120‐9533
MEISENHALDER CLIFFORD L (424518)   ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                      BETHLEHEM       PA   18018
MEISENHALDER, CLIFFORD L           ANGELOS PETER G LAW OFFICES        60 WEST BROAD ST                                      BETHLEHEM       PA   18018‐5737
MEISENHALDER, ELFREDA A            1929 WALNUT AVE                                                                          BALTIMORE       MD   21222‐1719
MEISER, BARRY A                    18260 W PEET RD                                                                          HENDERSON       MI   48841‐9510
MEISER, DAVID L                    2872 LAKEHILL DR                                                                         CURRAN          MI   48728‐9759
MEISER, DAVID W                    3468 MILLS ACRES ST                                                                      FLINT           MI   48506‐2172
MEISER, DAVID WAYNE                3468 MILLS ACRES ST                                                                      FLINT           MI   48506‐2172
MEISER, REBECCA S                  6543 NW MILL ST                                                                          RIVERDALE       MI   48877‐8767
MEISER, RITA P                     4776 COTTAGE RD                                                                          LOCKPORT        NY   14094‐1602
MEISINGER, ROBERT H                17 LAKESHORE DR                                                                          MARION          KS   66861‐9348
MEISLER RON                        1103 E FRANKLIN ST                                                                       EVANSVILLE      IN   47711‐5737
MEISMER, KYLE
MEISNER JR, OTTO K                 3520 N LAKE SHORE DR APT 5G                                                              CHICAGO         IL 60657‐1805
MEISNER, CARL D                    1257 CECELIA CT                                                                          ESSEXVILLE      MI 48732‐2105
MEISNER, DAVID C                   415 MAIN ST                                                                              DELTA           OH 43515‐1303
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Name                           Address1                           Address2                         Address3   Address4            City            State Zip
MEISNER, DOLORES A             21194 NUMMER ST                                                                                    WARREN           MI 48089‐3402
MEISNER, ELIZABETH             37833 ERNA DR                                                                                      STERLING HTS     MI 48312‐2506
MEISNER, GERALD W              14905 OVERBROOK DR APT 211                                                                         SOUTHGATE        MI 48195‐2233
MEISNER, GLENN E               7237 JANEAN DR                                                                                     BROWNSBURG       IN 46112‐8588
MEISNER, GREGORY P             4660 W ELLSWORTH RD                                                                                ANN ARBOR        MI 48103‐9608
MEISNER, JOAN                  PO BOX 422                                                                                         MT PLEASANT      PA 15666‐0422
MEISNER, JOAN                  BOX 422                                                                                            MT PLEASANT      PA 15666‐0422
MEISNER, JULIA A               1257 CECELIA CT                                                                                    ESSEXVILLE       MI 48732‐2105
MEISNER, MARCIA A              3015 SYLVAN DR                                                                                     ROYAL OAK        MI 48073‐3247
MEISNER, RICHARD P             5628 WEMBLEY CT                                                                                    CLARKSTON        MI 48346‐3061
MEISNER, ROBERT D              10855 DORR ST                                                                                      HOLLAND          OH 43528‐9740
MEISNER, ROBERT DUANE          10855 DORR ST                                                                                      HOLLAND          OH 43528‐9740
MEISNER, ROBERT P              1539 WISCONSIN AVE                                                                                 FLINT            MI 48506‐3572
MEISNER, THERESA M             531 N ELIZABETH ST                                                                                 DEARBORN         MI 48128‐1765
MEISSINGER, FRED               50 MATELSKI RD W                                                                                   GAYLORD          MI 49735‐8393
MEISSINGER, JERRY D            1517 SHEARER CIR                                                                                   MOORE            OK 73160‐6137
MEISSINGER, MARCELLA A         1509 COPPER ROCK DR                                                                                EDMOND           OK 73025‐2909
MEISSINGER, SALLY M            50 MATELSKI RD W                                                                                   GAYLORD          MI 49735‐8393
MEISSINGER, TERRY W            1509 COPPER ROCK DR                                                                                EDMOND           OK 73025‐2909
MEISSNER AG                    MODELL‐UND WERKZEUGFABRIK THDR     MEISSNER‐STRASE 4 35216 BDNKPT              WALLAU GERMANY
                                                                                                              GERMANY
MEISSNER AG                    THEODOR‐MEISSNER‐STRABE 4                                                      BIEDENKONF‐WALLAU
                                                                                                              35216 GERMANY
MEISSNER CHEVROLET MEGASTORE   135 S CHESTER PIKE                                                                                 GLENOLDEN       PA   19036‐1833
MEISSNER JR, HARLEY W          4829 SULLIVAN RD                                                                                   LAPEER          MI   48446‐9744
MEISSNER JR, MAX A             509 REINHARDT DR                                                                                   BAY CITY        MI   48706‐3233
MEISSNER LUDWIG (631855)       BRAYTON PURCELL                    PO BOX 6169                                                     NOVATO          CA   94948‐6169
MEISSNER WALTER                71 SPIER FALLS RD                                                                                  GANSEVOORT      NY   12831‐1006
MEISSNER, BERND W              4513 DRENDEL RD                                                                                    DOWNERS GROVE   IL   60515‐2422
MEISSNER, BRIAN C              7486 PORTER RD                                                                                     GRAND BLANC     MI   48439‐8569
MEISSNER, CHARLES F            1401 RASPBERRY LN                                                                                  FLINT           MI   48507‐2304
MEISSNER, CHARLES FREDRICK     1401 RASPBERRY LN                                                                                  FLINT           MI   48507‐2304
MEISSNER, CHRISTINE E          4252 COOPER AVE                                                                                    ROYAL OAK       MI   48073‐1508
MEISSNER, DANIEL M             3810 N 169TH ST                                                                                    BROOKFIELD      WI   53005‐2198
MEISSNER, DEBORAH J            3829 CRAIG DR                                                                                      FLINT           MI   48506‐2681
MEISSNER, DENISE T             5456 VILLAGE STATION CIR                                                                           WILLIAMSVILLE   NY   14221‐2892
MEISSNER, EMIL T               14724 ST                                                                                           DAMASCUS        OH   44619
MEISSNER, GARY M               5456 VILLAGE STATION CIR                                                                           WILLIAMSVILLE   NY   14221‐2892
MEISSNER, GUS L                4164 KINGS ROW CT NW                                                                               GRAND RAPIDS    MI   49534‐3471
MEISSNER, HANS                 25 BRUNEL DR                                                                                       BOICEVILLE      NY   12412‐5116
MEISSNER, JAMES C              1194 BETHUNE WAY                                                                                   THE VILLAGES    FL   32162‐2241
MEISSNER, JAMES L              4164 KINGS ROW CT NW                                                                               GRAND RAPIDS    MI   49534‐3471
MEISSNER, JOAN                 16 BRADY AVE                                                                                       LANCASTER       NY   14086‐1904
MEISSNER, LUDWIG               BRAYTON PURCELL                    PO BOX 6169                                                     NOVATO          CA   94948‐6169
MEISSNER, ROBERT P             1113 WINDY MEADOWS DR                                                                              BURLESON        TX   76028‐2570
MEISTELMAN, VLADIMIR
MEISTELMAN, ZENAIDA            STATFELD GEORGE N P.C.             3 WEST 35TH ST                                                  NEW YORK        NY   10001
MEISTER JR, LLOYD J            117 W MAIN ST                                                                                      SALINEVILLE     OH   43945‐1037
MEISTER, AARON J               4395 PRITCHARD OHLTOWN RD                                                                          NEWTON FALLS    OH   44444‐9602
MEISTER, ARIC W                RR 305 BOX 33                                                                                      FOWLER          OH   44418
MEISTER, ARIC W                STATE RTE 305 PO BOX 33                                                                            FOWLER          OH   44418
MEISTER, BARBARA               APT 172                            24 TABOR CROSSING                                               LONGMEADOW      MA   01106‐1756
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Name                       Address1                        Address2            Address3         Address4         City               State Zip
MEISTER, CARL G            2916 MEISTER LANE                                                                     LANSING             MI 48906‐9010
MEISTER, CARL G            2916 MEISTER LN                                                                       LANSING             MI 48906‐9010
MEISTER, CARMEN L          414 PATTON CV                                                                         BASTROP             TX 78602‐6641
MEISTER, DAVID F           7648 N LINDEN LN                                                                      PARMA               OH 44130‐5812
MEISTER, DELLA L           6074 CEDARHURST DR                                                                    LAKE                MI 48632‐8978
MEISTER, ERIC J            420 S KENWOOD AVE                                                                     ROYAL OAK           MI 48067‐3944
MEISTER, ERNEST M          APT 172                         24 TABOR CROSSING                                     LONGMEADOW          MA 01106‐1756
MEISTER, FREDERICK W       103 MASSOIT ST                                                                        CLAWSON             MI 48017‐2208
MEISTER, GARY A            1640 S SOMERSET RD                                                                    HUDSON              MI 49247‐9271
MEISTER, GARY ANTHONY      1640 S SOMERSET RD                                                                    HUDSON              MI 49247‐9271
MEISTER, GEORGE            7397 PINEWOOD DR                                                                      MIDDLEBRG HTS       OH 44130‐5552
MEISTER, JAMES A           142 S LINDEN RD                                                                       MANSFIELD           OH 44906‐3028
MEISTER, JAMES H           48 VAN BUREN DR                                                                       HAMILTON            OH 45011‐4625
MEISTER, JAMES H           9085 W DOUBLETREE CT                                                                  HOMOSASSA           FL 34448‐1138
MEISTER, JANET M           1725 35TH ST                    APT 2206 VILLAS                                       OAKBROOK             IL 60523
MEISTER, JANET M           APT 2206                        1725 35TH STREET                                      OAK BROOK            IL 60523‐2647
MEISTER, JEANETTE          10809 MASON AVE                                                                       CHICAGO RIDGE        IL 60415‐2235
MEISTER, JEANETTE          10809 SO MASON AVE                                                                    CHICAGO RIDGE        IL 60415‐2235
MEISTER, JOSEPH W          711 8TH ST                                                                            IRWIN               PA 15642‐3606
MEISTER, KIM A             1760 CRIDER RD                                                                        MANSFIELD           OH 44903‐8719
MEISTER, LINDA K           1525 GYPSY LN                                                                         NILES               OH 44446‐3201
MEISTER, LUCIA M           9809 50TH STREET CIR E                                                                PARRISH             FL 34219‐4421
MEISTER, MARK A            24146 SOUTH INDIAN TRAIL                                                              MANHATTAN            IL 60442‐8435
MEISTER, MARTHA L          456 KENTUCKY AVE                                                                      DANVILLE            KY 40422‐1702
MEISTER, MAURINE           3401 E BAYSHORE RD SPC F10                                                            REDWOOD CITY        CA 94063‐4612
MEISTER, RANDY L           36726 HALEY DR                                                                        NEW BALTIMORE       MI 48047‐6340
MEISTER, RICHARD D         29850 GUCCIONE PL                                                                     EDWARDS             MO 65326‐3119
MEISTER, ROY A             1525 GYPSY LN                                                                         NILES               OH 44446‐3201
MEISTER, SHIRLEY A         8600 N MANILA RD                                                                      BENNETTE            CO 80102‐8029
MEISTER, THOMAS L          6269 MABLEY HILL RD                                                                   FENTON              MI 48430‐9404
MEISTER, VIOLA K           1415 S BAY AVE                                                                        BEACH HAVEN         NJ 08008‐1404
MEISTER, WILLIAM I         8454 TINKLER RD                                                                       STERLING HEIGHTS    MI 48312‐1124
MEITLER, NEAL D            833 HOLYHEAD DR                                                                       WALES               WI 53183
MEITY EMMONS               945 S NAVANO ST                                                                       COLTON              CA 92324‐7512
MEITZ, DOLORES H           23814 PETERSBURG                                                                      EASTPOINTE          MI 48021‐3444
MEITZ, JOSEPH R            5493 SAN PATRICIO DR                                                                  SANTA BARBARA       CA 93111‐1447
MEITZ, RICHARD G           1737 LARAMY LN                                                                        HUDSONVILLE         MI 49426‐8727
MEITZLER JERREL C          DBA JC MEITZLER PHOTOS          PO BOX 117                                            SMITHVILLE          OH 44677‐0117
MEIXELL, BRIAN C           5550 OAKWOOD RD                                                                       ORTONVILLE          MI 48462‐9717
MEIXELL, MARY J            41 RAMPART DR                                                                         GLASTONBURY         CT 06033‐3369
MEIXELL, RICHARD D         5467 COLERAINE DR                                                                     DAYTON              OH 45424‐3713
MEIXNER TIRE & AUTO, LLC   5171 US HIGHWAY 61/67                                                                 IMPERIAL            MO 63052‐1606
MEIXNER, ANITA L.          47133 MALBURG WAY DR                                                                  MACOMB              MI 48044‐3047
MEIXNER, ANNE K            14 OHIO AVE                                                                           METUCHEN            NJ 08840‐2104
MEIXNER, ANNE K            14 OHIO AVENUE                                                                        METUCHEN            NJ 08840‐2104
MEIXNER, CAROL R           705 STAFFORD WAY                                                                      CARSON CITY         NV 89701‐6022
MEIXNER, CLOVIS E          6077 WESTMOOR DR                                                                      SHELBY TWP          MI 48316‐3356
MEIXNER, DOROTHY E         8236 SAINT FRANCIS CT                                                                 CENTERVILLE         OH 45458‐2712
MEIXNER, DOROTHY J         7237 LARME                                                                            ALLEN PARK          MI 48101‐2485
MEIXNER, GARY C            6077 WESTMOOR DR                                                                      SHELBY TOWNSHIP     MI 48316‐3356
MEIXNER, JOHN M            42286 WICKFIELD CT                                                                    CANTON              MI 48187‐3526
MEIXNER, JOHN O            19223 PALMER ST 1                                                                     MELVINDALE          MI 48122
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Name                          Address1                         Address2                     Address3   Address4         City             State Zip
MEIXNER, JOYCE                156 CR903                                                                                 MIDWAY            AR 72651‐9301
MEIXNER, JOYCE                156 COUNTY ROAD 903                                                                       MIDWAY            AR 72651‐9301
MEIXNER, KENNETH N            446 FROG POND RD                                                                          STAUNTON          VA 24401‐8336
MEIXNER, OLGA E               20375 CENTER RIDGE RD APT 335                                                             ROCKY RIVER       OH 44116‐3564
MEIXNER, PHILIP C             15607 JAKES ROAD M‐65 S                                                                   LACHINE           MI 49753
MEIXNER, THOMAS R             38385 HIXFORD PL                                                                          WESTLAND          MI 48185‐3396
MEIXNER, TIMOTHY G            5111 PRAIRIE VW                                                                           BRIGHTON          MI 48116‐9752
MEIXSELL, DONALD A            9691 HARBOUR COVE CT                                                                      YPSILANTI         MI 48197‐6901
MEIXSELL, MARCELLA J          9049 86TH COURT                                                                           SEMINOLE          FL 33777‐3347
MEIZLER, IRVING               3427 CRYSTAL RIDGE DR                                                                     MILFORD           MI 48380‐4600
MEJAK RICHARD A SR (472389)   WEITZ & LUXENBERG                180 MAIDEN LANE                                          NEW YORK          NY 10038
MEJAK, PAUL T                 2776 CREEKRIDGE DR                                                                        EAST AURORA       NY 14052‐9502
MEJAK, RICHARD A              WEITZ & LUXENBERG                180 MAIDEN LANE                                          NEW YORK          NY 10038
MEJALY, GEORGE J              27211 ARMADA RIDGE RD                                                                     RICHMOND          MI 48062‐3816
MEJER, FEDERICO L             614 SAN ANTONIO AVE                                                                       CORAL GABLES      FL 33146‐1321
MEJIA BEINA E                 DBA BLOOMING SENSATIONS FLORAL   145 N K ST                   SHOP                        TULARE            CA 93274‐4003
MEJIA JR, GILBERTO F          3226 EVERGREEN DR                                                                         MURRYSVILLE       PA 15668‐1373
MEJIA MARCO                   MEJIA, MARCO                     5055 WILSHIRE BLVD STE 300                               LOS ANGELES       CA 90036‐6101
MEJIA MEINARDO                MEJIA, MEINARDO                  4455 MORENA BLVD STE 207                                 SAN DIEGO         CA 92117‐4358
MEJIA RAY                     16045 E 123RD AVE                                                                         BRIGHTON          CO 80603‐6945
MEJIA, BENITO S               7610 PIPERS WAY                                                                           SAN ANTONIO       TX 78251‐1228
MEJIA, DAVID                  14032 FERNVIEW ST                                                                         WHITTIER          CA 90605‐3112
MEJIA, DEANNA M               21064 STRAWBERRY HILLS DR                                                                 MACOMB            MI 48044‐2274
MEJIA, DON C                  511 RIDGE ROAD                                                                            LACKAWANNA        NY 14218
MEJIA, FELICIA R              2690 MORRIS AVE. APT. 5‐C                                                                 BRONX             NY 10458
MEJIA, GEORGE                 11179 WEST GRISWOLD ROAD                                                                  PEORIA            AZ 85345‐2986
MEJIA, JACINTO                PO BOX 25                                                                                 YODER             IN 46798‐0025
MEJIA, JACINTO E              9525 YEARLING DR                                                                          FORT WAYNE        IN 46804‐1366
MEJIA, JAIME HABIER‐JOSEPH    3440 WAYSIDE TER                                                                          LANSING           MI 48917‐4384
MEJIA, JESSE A                527 SPECTATOR AVENUE                                                                      HYATTSVILLE       MD 20785‐4579
MEJIA, JOSE W                 1080 FLORA PARKE DR                                                                       JACKSONVILLE      FL 32259‐4259
MEJIA, JUAN                   PO BOX 177                                                                                OLMITO            TX 78575‐0177
MEJIA, LEONARDO
MEJIA, LIDIA                  5 CLINTON ST                                                                              SLEEPY HOLLOW    NY 10591
MEJIA, LUIS                   2690 MORRIS AVE APT 5C                                                                    BRONX            NY 10468‐3589
MEJIA, LUPE                   835 ASH CIR                                                                               FRANKFORT        IN 46041‐2891
MEJIA, MANUELA
MEJIA, MARCO E                5195 PINE HILL CIR                                                                        HOWELL           MI 48843‐9437
MEJIA, MARISELA               TRACY FIRM                       5473 BLAIR RD STE 200                                    DALLAS           TX 75231‐4168
MEJIA, MARISELA
MEJIA, MAX E                  6074 GLENRIDGE RD                                                                         BOARDMAN         OH   44512‐3101
MEJIA, MEINARDO               LINDSEY, MICHAEL E               4455 MORENA BLVD STE 207                                 SAN DIEGO        CA   92117‐4358
MEJIA, MICHAEL J              21064 STRAWBERRY HILLS DR                                                                 MACOMB           MI   48044‐2274
MEJIA, MIGUEL G               13618 BRYAN DRIVE                                                                         HOLLAND          MI   49423
MEJIA, OSCAR                  207 FENTON ST                                                                             LANSING          MI   48910‐4581
MEJIA, PABLO                  21500 LASSEN ST 10                                                                        CHATSWORTH       CA   91311
MEJIA, RAFAEL A               10277 N HARBOR WAY                                                                        CITRUS SPRINGS   FL   34434‐2737
MEJIA, RAMON S                16045 E 123RD AVE                                                                         BRIGHTON         CO   80603‐6945
MEJIA, RAUL
MEJIA, RAYMOND                534 S HAMBLEDON AVE                                                                       LA PUENTE        CA 91744‐5714
MEJIA, RICHARD                PO BOX 827                                                                                BIG BEAR LAKE    CA 92315‐0827
MEJIA, RUBEN                  3730 BERNICE DR                                                                           SAGINAW          MI 48601‐5903
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Name                   Address1                          Address2                         Address3                    Address4         City            State Zip
MEJIA, RUBEN M         726 PACIFIC AVE                                                                                                 KANSAS CITY      KS 66101‐3713
MEJIA, RUBEN M         8 S 11TH ST                                                                                                     KANSAS CITY      KS 66102‐5502
MEJIA, SANTIAGO M      4300 N TOWERLINE RD                                                                                             SAGINAW          MI 48601‐9243
MEJIA, SOCORRO         2048 CUNNINGHAM AVE                                                                                             SAN JOSE         CA 95122‐1715
MEJIAS EDUARDO         MEJIAS, EDUARDO                   120 WEST MADISON STREET , 10TH                                                CHICAGO           IL 60602
                                                         FLOOR
MEJIAS EDUARDO         MEJIAS, CHASTITY                  KROHN & MOSS ‐ FL                120 WEST MADISON STREET ,                    CHICAGO          IL   44114
                                                                                          10TH FLOOR
MEJIAS LUIS            11587 NORTHWEST 83RD WAY                                                                                        DORAL            FL   33178‐1797
MEJIAS, CHASTITY       KROHN & MOSS ‐ FL                 120 WEST MADISON STREET, 10TH                                                 CHICAGO          IL   44114
                                                         FLOOR
MEJIAS, EDUARDO        KROHN & MOSS ‐ FL                 120 WEST MADISON STREET, 10TH                                                 CHICAGO          IL   44114
                                                         FLOOR
MEJORADO, ALFONSO      1200 CLIMAX ST                                                                                                  LANSING         MI    48912‐1606
MEK ENTERPRISES LLC    8263 S SAGINAW ST STE 5                                                                                         GRAND BLANC     MI    48439‐2462
MEK ENTERPRISES, LLC   MEK ENTERPRISES, LLC              8263 SOUTH SAGINAW STREET        SUITE 5                                      GRAND BLANC     MI    48439
MEK ENTERPRISES, LLC   M2 PROPERTIES, LLC                5454 GATEWAY CENTER              STE. C                                       FLINT           MI    48507‐3932
MEK INVESTMENTS, LLC   7550 S. SAGINAW STREET                                                                                          GRAND BLANC     MI    48439
MEKA, BABU R           261 AVON RD APT I452                                                                                            DEVON           PA    19333‐2328
MEKA, BABU R           APT I452                          261 AVON ROAD                                                                 DEVON           PA    19333‐2328
MEKA, JENNIE E         1440 11TH ST                                                                                                    WYANDOTTE       MI    48192
MEKA, JOSEPH J         RR1 BOX 192M                                                                                                    UNIONDALE       PA    18470‐9511
MEKA, JOSEPH J         RR 1 BOX 192M                                                                                                   UNION DALE      PA    18470‐9511
MEKA, JOSEPH W         3 CLUB DR                                                                                                       NESQUEHONING    PA    18240‐2410
MEKA, PETER            271 TERRACE ST                                                                                                  RAHWAY          NJ    07065‐2414
MEKA, PRABHAKAR V      22548 FULLER DR                                                                                                 NOVI            MI    48374‐3781
MEKA, SOPHIA B         2111 BRITTON CT SE                                                                                              GRAND RAPIDS    MI    49546‐5509
MEKAN, DOYLE D         482 NANCY LN                                                                                                    ARNOLD          MO    63010‐1746
MEKANIKS PLUS          632 PACIFIC AVE                                                                                                 OXNARD          CA    93030‐7319
MEKESHA WHITESIDE      28088 UNIVERSAL DR                                                                                              WARREN          MI    48092‐2430
MEKIA STEPHENS         1863 SHELMAN TRL                                                                                                FORT WORTH      TX    76112‐4223
MEKILO GREGORY         LYNNE KIZIS, ESQ                  WILENTZ, GOLDMAN, AND SPITZER    90 WOODBRIDGE CENTER                         WOODBRIDGE      NJ    07095
                                                                                          DRIVE
MEKITTRICK, SCOTT      1321 GRASSY BRANCH RD                                                                                           LAWRENCEBURG    TN    38464‐5523
MEKKER, JOSEPH W       8511 CAMELOT DR                                                                                                 CHESTERLAND     OH    44026‐3101
MEKKES, ALBERT D       5450 ROCKBLUFF DR NE                                                                                            COMSTOCK PARK   MI    49321‐9507
MEKKES, LEE T          4442 W SERVICEBERRY DR                                                                                          FAYETTEVILLE    AR    72704‐7628
MEKKES, ROGER D        2505 DANTON DR SW                                                                                               WYOMING         MI    49519‐4752
MEKO, JUANITA S        1631 CUNNINGHAM RD                                                                                              SPEEDWAY        IN    46224‐5334
MEKO, NICK S           1631 CUNNINGHAM RD                                                                                              INDIANAPOLIS    IN    46224‐5334
MEKOLESKE, BETTY L     PO BOX 482                                                                                                      LAGRANGE        OH    44050‐0482
MEKOSKI, JACQUELYN A   7453 BEAR RIDGE RD                                                                                              NO TONAWANDA    NY    14120‐9587
MEKRAS, DORA           815 JACKSON AVE                                                                                                 LEHIGH ACRES    FL    33972‐3517
MEKRAS, MARY N.        904 RHODES ST NW                                                                                                HARTSELLE       AL    35640‐4439
MEKSULA, RUTH E        108 W OAKLAND ST                                                                                                DURAND          MI    48429‐1232
MEKULA, SUSAN J        7992 LOVEJOY RD                                                                                                 PERRY           MI    48872‐8904
MEKUS, DANIEL J        20951 BUCKSKIN RD                                                                                               DEFIANCE        OH    43512‐9718
MEKUS, DANIEL JOSEPH   20951 BUCKSKIN RD                                                                                               DEFIANCE        OH    43512‐9718
MEKUS, DORIS M         7398 INDEPENDENCE RD                                                                                            DEFIANCE        OH    43512‐9031
MEKUS, DORIS M         07398 INDEPENDENCE RD                                                                                           DEFIANCE        OH    43512‐9031
MEKUS, LARRY M         200 LANE 101 HAMILTON LK                                                                                        HAMILTON        IN    46742‐9522
MEKUS, RANDALL L       4585 ADAMS RIDGE RD                                                                                             DEFIANCE        OH    43512‐8769
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Name                          Address1                         Address2                  Address3   Address4               City               State Zip
MEL BLOUNT YOUTH HOME         6 MEL BLOUNT DR                                                                              CLAYSVILLE          PA 15323‐1329
MEL BRENNER
MEL CARLSON CHEVROLET, INC.   DANIEL ROLLING                   329 HIGHWAY 15 S                                            TRUMAN             MN   56088‐1312
MEL CARLSON CHEVROLET, INC.   329 HIGHWAY 15 S                                                                             TRUMAN             MN   56088‐1312
MEL DINGMAN                   1326 N JOHNSON ST                                                                            BAY CITY           MI   48708‐6258
MEL EVANS ASSOCIATES INC      6 EAST 45TH ST 15TH FL                                                                       NEW YORK           NY   10017
MEL FLENIKEN
MEL FOSSELL                   326 SILVERS RD                                                                               SAINT PETERS       MO   63376‐1052
MEL GRATA CHEVROLET, INC.     MELVIN GRATA                     2757 E STATE ST                                             HERMITAGE          PA   16148‐2717
MEL GRATA CHEVROLET, INC.     2757 E STATE ST                                                                              HERMITAGE          PA   16148‐2717
MEL GREEN                     54 NEOME DR                                                                                  PONTIAC            MI   48341‐1132
MEL HALL TRANSPORT LIMITED    PO BOX 25055                                                          LONDON CANADA ON N6C
                                                                                                    6A8 CANADA
MEL LEE                       5009 ROSEDOWN LN                                                                             BOSSIER CITY       LA   71112‐4591
MEL ROTH OIL CO., INC.        709 3RD AVE NW                                                                               HAZEN              ND   58545‐4508
MEL SOBEL MICROSCOPES LTD     29 LOUIS ST                                                                                  HICKSVILLE         NY   11801‐5335
MEL TROTTER MINISTRIES        225 COMMERCE AVE SW                                                                          GRAND RAPIDS       MI   49503‐4107
MEL WALLER                    CATHARENE WALLER                 345 RIDGELAKE SCENIC DR                                     MONTGOMERY         TX   77316
MEL'S BEAUTY SALON            6080 WOODWARD AVE                                                                            DETROIT            MI   48202‐3518
MEL'S CAR CARE CENTER INC.    4317 W LAKE ST                                                                               MELROSE PARK       IL   60160‐2740
MEL'S SALON & ASSOC           ATTN: MELVINA DAVIS              6080 WOODWARD AVE                                           DETROIT            MI   48202‐3518
MEL'S SUNRISE CHEVRON         2969 S KING ST                                                                               HONOLULU           HI   96826‐3544
MELA, NICK                    5960 PARKLAND AVE                                                                            BOARDMAN           OH   44512‐2841
MELAAS, JOHN F                813 VICTORIA PL                                                                              JANESVILLE         WI   53546‐1706
MELAAS, KIM M                 813 VICTORIA PL                                                                              JANESVILLE         WI   53546‐1706
MELAAS, W M                   6939 E BUSS RD                                                                               CLINTON            WI   53525‐8817
MELADY, ANNE                  1737 CULVER AVE                                                                              DEARBORN           MI   48124‐4039
MELADY, IRENE L               7603 MELVIN AVE                                                                              WESTLAND           MI   48185‐4518
MELAINE AGRESTA               MELAINE AGRESTA                  710 CAPOUSE AVE                                             SCRANTON           PA   18509‐3120
MELAINE CLAXTON               23040 LEEWIN ST                                                                              DETROIT            MI   48219‐1117
MELAINE MCCANN LLC            C/O WELLS FARGO BANK NATIONAL    6411 20TH ST E                                              FIFE               WA   98424‐2205
MELAINE MCCANN, LLC           ATTENTION: MELAINE MCCANN        1625 S TACOMA WAY                                           TACOMA             WA   98409‐7950
MELAMED, ELAN                 16105 2ND ST E                                                                               REDINGTON BEACH    FL   33708‐1605
MELAMPY, DENNIS G             22496 HEATHERSETT CRES                                                                       FARMINGTON HILLS   MI   48335‐3842
MELAMPY, EVELYN C             5962 CHERRY LN                                                                               HILLSBORO          OH   45133‐7025
MELAMPY, EVELYN C             5962 CHERRY LANE                                                                             HILLSBORO          OH   45133
MELAMPY, RUTH E               4342 DANA DR                                                                                 FRANKLIN           OH   45005‐1914
MELAMPY, THELMA               2 WYNDEMERE DRIVE                                                                            FRANKLIN           OH   45005‐5005
MELAN, PENNY A                405 E CENTERWAY ST                                                                           JANESVILLE         WI   53545‐3111
MELANCON, BETTY J             PO BOX 3                                                                                     OSSINEKE           MI   49766‐0003
MELANCON, BETTY J             4230 W NICHOLSON HILL RD                                                                     OSSINEKE           MI   49766‐9725
MELANCON, DENNIS J            10434 STEVENS RD                                                                             BRANT              MI   48614‐9754
MELANCON, EDWARD C            2312 MCCOLLUM ROAD                                                                           REAGAN             TN   38368‐7123
MELANCON, EDWARD CLIFTON      2312 MCCOLLUM ROAD                                                                           REAGAN             TN   38368‐7123
MELANCON, LAURA L             10434 STEVENS RD                                                                             BRANT              MI   48614‐9754
MELANCON, PHILLIP W           619 FAIRWAY DR                                                                               THIBODAUX          LA   70301‐3725
MELANCON, STELLA D            926 NE GATEWOOD COURT                                                                        PALM BAY           FL   32905‐4420
MELANCON, STELLA D            926 GATEWOOD CT NE                                                                           PALM BAY           FL   32905‐4420
MELANCON, WILLIE J            110 CHESTNUT LN                                                                              GRAND CANE         LA   71032‐6300
MELANCON‐O'DOWD, MARY G       1418 SPRINGWOOD LN                                                                           ROCHESTER HILLS    MI   48309‐2609
MELAND, AUDREY                8550 BARTON RD                                                                               GRANITE BAY        CA   95746‐8843
MELAND, GERALD D              335 TALL OAK                                                                                 IRVINE             CA   92603‐0663
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Name                         Address1                        Address2                        Address3   Address4         City              State Zip
MELAND, PATRICIA A           8550 CRAWFORD                                                                               SHELBY TWP         MI 48316‐5109
MELANDER, ARTHUR M           20160 RHAPSODY DR                                                                           CLINTON TWP        MI 48036‐4429
MELANDER, CELESTE            540 CARLETON CT APT 107                                                                     GRAND FORKS        ND 58203‐2762
MELANDER, GERALDINE R        4711 GLENEAGLE DR                                                                           ANDERSON           IN 46013‐4767
MELANGAGIO PAUL              ELSOME, PAUL                    233 PEARL STREET P O BOX 1078                               COUNCIL BLUFFS      IA 51502
MELANGAGIO PAUL              MELANGAGIO, PAUL                233 PEARL STREET P O BOX 1078                               COUNCIL BLUFFS      IA 51502
MELANGAGIO PAUL              OZAYDIN, DAN                    233 PEARL STREET P O BOX 1078                               COUNCIL BLUFFS      IA 51502
MELANGAGIO PAUL              OZAYDIN, DEANN                  233 PEARL STREET P O BOX 1078                               COUNCIL BLUFFS      IA 51502
MELANGAGIO PAUL              WURGLER, PAMELA                 233 PEARL STREET P O BOX 1078                               COUNCIL BLUFFS      IA 51502
MELANGAGIO PAUL              WURGLER, WILLIAM                233 PEARL STREET P O BOX 1078                               COUNCIL BLUFFS      IA 51502
MELANGAGIO, PAUL             PETERS LAW FIRM PC              PO BOX 1078                                                 COUNCIL BLUFFS      IA 51502‐1078
MELANI THOMAS                6340 FOX GLEN DR APT 78                                                                     SAGINAW            MI 48638‐7327
MELANIA BOHDANOWICZ          3451 BETTY BROOK RD                                                                         SOUTH KORTRIGHT    NY 13842‐2219
MELANIA SWOBODA              417 SIESTA DR                                                                               NEW LENOX           IL 60451‐3913
MELANIE A BROYLES            47 BLAINE DR                                                                                PALM COAST         FL 32137
MELANIE A CHAMBERS           4605 HESSEN CASSEL RD                                                                       FORT WAYNE         IN 46806‐2660
MELANIE A GUEST              3202 RAMBLEWOOD CIR APT 1011                                                                ARLINGTON          TX 76014‐2008
MELANIE A HENSLEY            630 OAK ST                                                                                  DAYTON             OH 45410
MELANIE A PRESTON            801 SYME ST                                                                                 MASURY             OH 44438‐1665
MELANIE ADAMS                130 HILLSIDE RD SW                                                                          DECATUR            AL 35601‐3934
MELANIE BANFIELD             2272 RENWICK DR                                                                             POLAND             OH 44514‐1577
MELANIE BARNES C/O           WILLIAM YOUNG                   227 BRIDGE ST                                               FRANKLIN           TN 37064‐2524
MELANIE BEASECKER            816 VICKILEE CT                                                                             RICHMOND           VA 23236
MELANIE BELTRAN              PO BOX 9022                                                                                 WARREN             MI 48090‐9022
MELANIE BOND                 171 CASEMER RD APT 204                                                                      LAKE ORION         MI 48360‐1343
MELANIE BROWN                2823 HOLLIS DR NE                                                                           GRAND RAPIDS       MI 49505‐3410
MELANIE C MERRITT            PO BOX 601                                                                                  WELLINGTON         MO 64097
MELANIE C PRIDE              868 DELAWARE ST                                                                             DETROIT            MI 48202‐2302
MELANIE C TSENG              4300 E HURON RIVER DR                                                                       ANN ARBOR          MI 48105‐9333
MELANIE C. ZOLTENKO
MELANIE CARLSON              45267 GRANT PARK BLVD                                                                       UTICA             MI   48317
MELANIE CHAMBERS             4605 HESSEN CASSEL RD                                                                       FORT WAYNE        IN   46806‐2660
MELANIE CLIFTON              1691 SHEETS RD                                                                              OHIO CITY         OH   45874‐9407
MELANIE CUNNINGHAM           148 HORTON RD                                                                               MASSENA           NY   13662‐3221
MELANIE D ARNOLD             2709 CHURCHLAND AVE                                                                         DAYTON            OH   45406‐1204
MELANIE D COBB               14 JOHNSON ST.                                                                              DAYTON            OH   45410
MELANIE DAVIS                3108 STONEBRIDGE BLVD                                                                       NEW CASTLE        DE   19720‐6741
MELANIE DELANCY              3317 N 53RD ST                                                                              KANSAS CITY       KS   66104
MELANIE DRAGOSLJVICH
MELANIE DZIERBICKI           48823 LANSDOWNE CT                                                                          SHELBY TOWNSHIP   MI 48317‐2529
MELANIE EMERINE              4395 PRITCHARD OHLTOWN RD                                                                   NEWTON FALLS      OH 44444‐9602
MELANIE ESKEW                1219 WYOMING WAY                                                                            ANDERSON          IN 46013‐2478
MELANIE ESTHER KLOPPENBURG   TEMPELHOFER STR. 28             33100 PADERBORN                 GERMANY
MELANIE F TRITES             3814 S LISANNE AVE                                                                          SIOUX FALLS       SD   57103‐7228
MELANIE FERRELL              1022 BEMENT ST                                                                              LANSING           MI   48912‐1702
MELANIE FOX                  1023 N MAPLE AVE                                                                            ROYAL OAK         MI   48067‐1219
MELANIE FREIER               N4080 COUNTY ROAD C                                                                         ELLSWORTH         WI   54011
MELANIE FRISCHKORN           16 OCEANS BLVD                                                                              NAPLES            FL   34104‐4151
MELANIE GANNON               406 OLIVER ST.                                                                              GLENCOE           AL   35905‐1210
MELANIE GARWOOD              114 SHADY DR                                                                                MAUMELLE          AR   72113‐7078
MELANIE GRAF‐WEIN            5378 LEETE RD                                                                               LOCKPORT          NY   14094‐1206
MELANIE GRANGER              1619 STONEWAY DR APT 2146                                                                   ARLINGTON         TX   76011‐9150
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Name                   Address1                       Address2                       Address3   Address4              City            State Zip
MELANIE GRUNDLES       PULUERDINGEN 12/1                                                        71665 VAIHINGEN/ENZ
                                                                                                GERMANY
MELANIE GUEST          3202 RAMBLEWOOD CIR APT 1011                                                                   ARLINGTON       TX    76014‐2008
MELANIE H FIFE         1749 DUMONT DR                                                                                 MINERAL RIDGE   OH    44440
MELANIE HARRIS         8161 MENGE                                                                                     CENTER LINE     MI    48015‐1651
MELANIE HARTMAN        99 TACOMA DR                                                                                   TROY            MI    48084‐5422
MELANIE HAYWOOD        4725 HICKORY WAY                                                                               ANTIOCH         TN    37013‐5617
MELANIE HENDRICKS      12569 W WINDSOR RD                                                                             PARKER CITY     IN    47368‐9336
MELANIE HENSEN         NOT AVAILABLE
MELANIE HOOD           30 W HERRON DR                                                                                 ALBION          IN    46701‐9585
MELANIE J CUNNINGHAM   C/O ATTORNEY ALAN H PERER      ONE OXFORD CENTRE SUITE 2501                                    PITTSBURGH      PA    15219
MELANIE J GLASER       131 CHURCH ST                                                                                  HUBBARD         OH    44425
MELANIE J KREUSCH      1913 SUNNY RIDGE RD S                                                                          DAYTON          OH    45414‐2334
MELANIE JELSO          8198 AUGUST AVE                                                                                WESTLAND        MI    48185‐1742
MELANIE JUDGE          1400 WEST STATE ROAD                                                                           LANSING         MI    48906‐1166
MELANIE KARKOS         89 RIDGEWOOD RD                                                                                ROCHESTER       NY    14626‐3317
MELANIE LOGSDON        4459 LINDEWOOD DR                                                                              SWARTZ CREEK    MI    48473‐8224
MELANIE M MILLER       89 COLONIAL AVE                                                                                KENMORE         NY    14217‐1103
MELANIE M MURRAY       9833 GERALDINE ST                                                                              YPSILANTI       MI    48197‐6924
MELANIE M PARRISH      407 NIES AVE                                                                                   ENGLEWOOD       OH    45322
MELANIE M RODGERS      8980 BARCLAY NORTH                                                                             KINSMAN         OH    44428
MELANIE MAULDIN        2035 WESTRIDGE DR                                                                              ROCK HILL       SC    29732‐9737
MELANIE MC CARTHY      11461 CROSBY RD                                                                                FENTON          MI    48430‐8924
MELANIE MCDONALD       1412 IMPERIAL DRIVE                                                                            KOKOMO          IN    46902‐5618
MELANIE MILLER         89 COLONIAL AVE                                                                                KENMORE         NY    14217‐1103
MELANIE NADOLSKI       655 ROSSELLI CT                                                                                BAY CITY        MI    48708‐7649
MELANIE PETAK          324 CLIFTON DR NE                                                                              WARREN          OH    44484‐1806
MELANIE POPOVICH       133 ORCHARD PL APT 235                                                                         LACKAWANNA      NY    14218‐1762
MELANIE POYNTER        6609 PARK LN                                                                                   HILLSBORO       OH    45133‐9398
MELANIE PRESTON        PO BOX 59                                                                                      MILAN           MI    48160‐0059
MELANIE R CARTER       888 PALLISTER ST APT 212                                                                       DETROIT         MI    48202‐2670
MELANIE R GRANGER      1619 STONEWAY DR APT 2145                                                                      ARLINGTON       TX    76011‐9150
MELANIE R HAYWOOD      4725 HICKORY WAY                                                                               ANTIOCH         TN    37013‐5617
MELANIE R HOGSTEN      2243 SHERER AVE.                                                                               DAYTON          OH    45414‐4635
MELANIE R LEACH        320 N MARSHALL RD                                                                              MIDDLETOWN      OH    45042‐3826
MELANIE R LITTLE       6735 STATE ROUTE 348                                                                           OTWAY           OH    45657‐9078
MELANIE R MAULDIN      2035 WESTRIDGE DR                                                                              ROCK HILL       SC    29732‐9737
MELANIE RODGERS        8980 BARCLAY NORTH RD                                                                          KINSMAN         OH    44428‐9606
MELANIE S PETAK        324 CLIFTON DR NE                                                                              WARREN          OH    44484‐1806
MELANIE S SHUSTER      324 CLIFTON DR NE                                                                              WARREN          OH    44484‐1806
MELANIE S STEVENS      9171 CAIN DR.N.E.                                                                              WARREN          OH    44484‐1708
MELANIE SCHWEER        346 BEAVER LAKE DR                                                                             SAINT CHARLES   MO    63303‐6423
MELANIE SMITH          108 S SCATTERFIELD RD                                                                          ANDERSON        IN    46012‐3105
MELANIE SMITH          318 J SMITH RD                                                                                 MT OLIVE        MS    39119
MELANIE SWINFORD       4111 ROUNDHILL DR                                                                              ANDERSON        IN    46013‐2568
MELANIE TRITES         3814 S LISANNE AVE                                                                             SIOUX FALLS     SD    57103‐7228
MELANIE TSENG          4300 E HURON RIVER DR                                                                          ANN ARBOR       MI    48105‐9333
MELANIE VAN HORN       25215 SAINT CLEMENT DR                                                                         WARREN          MI    48089‐3580
MELANIE WALLER         17 DANBURY CT NW                                                                               WARREN          OH    44481‐9023
MELANIE WHETSEL        704 PLUM ST                                                                                    FRANKTON        IN    46044
MELANIO GONZALEZ       APT 25                         57 WOODLEY COURT                                                MERIDEN         CT    06450‐5861
MELANO, ARNEL          101 EVELYN CIR                                                                                 VALLEJO         CA    94589‐1864
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Name                       Address1                          Address2                    Address3   Address4         City               State Zip
MELANSON, DIANE P          358 TURNPIKE ST                                                                           SOUTH EASTON        MA 02375‐1708
MELANSON, JOHN J           PO BOX 158                                                                                BELLINGHAM          MA 02019‐0158
MELANSON, JOSEPH G         612 ALA DR                                                                                FORT WORTH          TX 76108‐2815
MELANSON, LAURIE B         12 BROOK ST                                                                               HOLLISTON           MA 01746‐1304
MELANSON, MICHAEL J        9707 N HUALAPAI DR                                                                        CASA GRANDE         AZ 85222‐8075
MELANSON, MICHAEL J        5683 LONGFORD RD                                                                          HUBER HEIGHTS       OH 45424‐5424
MELANSON, RANDY            150 AL DON DR                                                                             PINCKNEY            MI 48169‐9169
MELANSON, RONALD M         43 COLONY ST                                                                              BRISTOL             CT 06010‐6147
MELANY A ASTON             160 CHAPEL HILL DR NW                                                                     WARREN              OH 44483‐1181
MELANY C PADILLA           1109 PRIMROSE CT APT 302                                                                  ANNAPOLIS           MD 21403‐5151
MELARAGNI, MICHAEL J       1945 BEAVER CREEK DR                                                                      ROCHESTER           MI 48307‐6021
MELARAGNO, FRANK J         995 MEDINAH TER                                                                           COLUMBUS            OH 43235‐5028
MELAS, DENNIS J            1636 N WELLS ST APT 1811                                                                  CHICAGO              IL 60614‐6017
MELASECCA, GREGORY J       101 DRUMMOND DR                                                                           WILMINGTON          DE 19808‐1314
MELASI, GERALD D           5246 ORCHARD CREST DR                                                                     TROY                MI 48085‐3466
MELASI, GOFFREDO V         17721 PLEASANT VALLEY DR                                                                  MACOMB              MI 48044‐6118
MELASI, PHILIP A           44099 ASTRO DR                                                                            STERLING HTS        MI 48314‐3176
MELASI, PHILIP A           18225 MANORWOOD CIR                                                                       CLINTON TOWNSHIP    MI 48038‐1285
MELASKY, BERNARD J         90 APPLEGATE                      UNIT 2                                                  SOUTHINGTON         CT 06489
MELBA ALEXANDER            2022 HILLSDALE DR                                                                         DAVISON             MI 48423‐2330
MELBA ALLEN                7404 MERKEL ST                                                                            DETROIT             MI 48213‐1004
MELBA ALVARADO             9149 MARYWOOD DR                                                                          STANWOOD            MI 49346‐9766
MELBA BILLSBROUGH          PO BOX 173                                                                                SWARTZ CREEK        MI 48473‐0173
MELBA BLACKBURN            14420 N MCPHEE DR                 C/O MARY E WARNER                                       SUN CITY            AZ 85351‐2343
MELBA BONNER               5513 COUNCIL RING BLVD                                                                    KOKOMO              IN 46902‐5431
MELBA BRADSHAW             207 GRAND AVE                                                                             CLYDE               OH 43410‐1065
MELBA BRYANT               12624 PAGELS DR A 114                                                                     GRAND BLANC         MI 48439
MELBA BURGE                74 NW 215TH RD                                                                            WARRENSBURG         MO 64093‐7910
MELBA BUTLER               433 EAST STATE STREET                                                                     PENDLETON           IN 46064‐1032
MELBA CAMPBELL             7548 S STATE ROAD 13 LOT 1                                                                WABASH              IN 46992‐8068
MELBA CHATTLEY             PO BOX 462                                                                                PANGBURN            AR 72121‐0462
MELBA CHESTNUT             1120 COUNTY ROAD 380                                                                      CENTRE              AL 35960‐7813
MELBA COLE                 THE MADEKSHO LAW FIRM             8866 GULF FREEWAY STE 440                               HOUSTON             TX 77017
MELBA COUCH                1416 WESTBURY DR                                                                          DAVISON             MI 48423‐8308
MELBA CRAIN                3205 W MINNESOTA ST               C/O GLENNA CARTER                                       INDIANAPOLIS        IN 46241‐4561
MELBA D DAY                4166 GORMAN AVE                                                                           ENGLEWOOD           OH 45322‐2620
MELBA DAY                  4166 GORMAN AVE                                                                           ENGLEWOOD           OH 45322‐2620
MELBA DEMPSEY              1928 MARSHALL ST                                                                          FLINT               MI 48506‐2312
MELBA DONNELL              8227 EVERETT AVE                                                                          KANSAS CITY         KS 66112‐1763
MELBA DUTTON COURT CLERK   PO BOX 668 3RD FLR                                                                        DECATUR             AL 35602
MELBA E LANGSTON           24 CABLE COURT                                                                            BRANDON             MS 39042‐1996
MELBA EDWARDS              3011 S ARROW AVE                                                                          BLOOMINGTON         IN 47403‐3801
MELBA ESTES                103 SUNNY KNOLL DR APT 4                                                                  WINCHESTER          IN 47394‐9207
MELBA F MATHEWS            1263 ELMBROOK DR                                                                          KENNEDALE           TX 76060‐6040
MELBA FAYE SHANNON TTEE    MELBA FAY SHANNON REV TRUST DTD   PO BOX 43                                               BLACK ROCK          AR 72415
                           01/24/01
MELBA FOUNTAIN             9072 SCENIC RIVER DR                                                                      BILOXI             MS   39532‐8356
MELBA FOUT                 1701 PLYMOUTH DR                                                                          NEW CASTLE         IN   47362‐1839
MELBA FRAZIER              6630 S MERIDIAN ST                                                                        MARION             IN   46953‐6336
MELBA GILLUM               620 W DIXIE ST                                                                            BLOOMINGTON        IN   47403‐4717
MELBA GREEN                5269 VINEYARD LN                                                                          FLUSHING           MI   48433‐2437
MELBA GRIFFIN              RR 1 BOX 229A                                                                             PRAGUE             OK   74864‐9648
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Name                  Address1                             Address2      Address3         Address4         City            State Zip
MELBA HALL            507 N BAGWELL ST                                                                     POTEAU           OK 74953‐3411
MELBA HINCHEN         6902 QUIMBY AVE                                                                      CLEVELAND        OH 44103‐3240
MELBA HINES           1604 N LONGVIEW ST                                                                   BEAVERCREEK      OH 45432‐2133
MELBA HOGUE           9365 LISA ST                                                                         ROMULUS          MI 48174‐1574
MELBA HOOKER          01763 FEEDER RD                                                                      SAINT MARYS      OH 45885‐9309
MELBA HUNSBARGER      8790 DEER PLAINS WAY                                                                 HUBER HEIGHTS    OH 45424‐7020
MELBA ISASI           8456 NW 201ST TER                                                                    HIALEAH          FL 33015‐5977
MELBA J HUNSBARGER    8790 DEER PLAINS WAY                                                                 HUBER HEIGHTS    OH 45424‐7020
MELBA J SIMUEL        951 HALLER AVE                                                                       DAYTON           OH 45408‐1607
MELBA JACKSON         402 3RD AVE                                                                          MANSFIELD        OH 44905‐1930
MELBA JEFFERS         405 PEEPLES FARM RD                                                                  SYLVANIA         GA 30467‐0901
MELBA KEESEY          427 EAST 53RD STREET                                                                 ANDERSON         IN 46013‐1722
MELBA KING            1518 RACCOON CREEK RD                                                                DALLAS           GA 30132‐1808
MELBA LINHARDT        750 MADISON LN                                                                       FLORISSANT       MO 63031‐2234
MELBA MARTIN          10144 BELLVIEW DR                                                                    MIDWEST CITY     OK 73130‐4642
MELBA MATHEWS         1263 ELMBROOK DR                                                                     KENNEDALE        TX 76060‐6040
MELBA MCCOY           14300 W BELL RD UNIT 45                                                              SURPRISE         AZ 85374‐9761
MELBA MCKNIGHT        PO BOX 431092                                                                        PONTIAC          MI 48343‐1092
MELBA MINOR           633 W PHILADELPHIA BLVD                                                              FLINT            MI 48505‐6317
MELBA MOORE           300 AUTUMN RIDGE DR APT 205                                                          HERCULANEUM      MO 63048‐1577
MELBA N MITCHELL      355 N POST OAK LANE #633                                                             HOUSTON          TX 77024
MELBA OHL             3897 BURKEY RD                                                                       AUSTINTOWN       OH 44515‐3340
MELBA PROBST          9428 SUNSET POINT DR                                                                 BONNE TERRE      MO 63628‐8647
MELBA PROFITT         155 MEADOWLARK DR                                                                    HARRIMAN         TN 37748‐4149
MELBA R YOUNG         2206 JANICE DR                                                                       FLINT            MI 48504‐1697
MELBA REDMAN          1830 BALLA WAY                                                                       GRAND PRAIRIE    TX 75051‐3902
MELBA ROBERTS         89 WOODSEDGE LN                                                                      HEATH            OH 43056‐5501
MELBA RODRIQUEZ       2446 FRINGE LN                                                                       EASTON           PA 18040
MELBA ROSS            4620 NE WHISPERING WINDS DR UNIT C                                                   LEES SUMMIT      MO 64064‐1781

MELBA SASSER          14400 HIGHWAY 315                                                                    CATAULA         GA   31804
MELBA SCHROEDER       4141 MCCARTY RD APT 105                                                              SAGINAW         MI   48603‐9328
MELBA SHERMAN         135 ATWOOD PL                                                                        DAYTON          OH   45431‐1901
MELBA SHYNE           4725 COULSON DR                                                                      DAYTON          OH   45418‐1972
MELBA SIMONS          6379 LOLLYBAY LOOP DR NE                                                             WINTER HAVEN    FL   33881
MELBA STEPHENSON      22490 MULEBARN RD                                                                    SHERIDAN        IN   46069‐9137
MELBA TERRANA         2908 FETSCH PL                                                                       VIRGINIA BCH    VA   23453‐3235
MELBA TOLAR           451 HEMLOCK CIR SE                                                                   ATLANTA         GA   30316‐1837
MELBA TURNER          601 N MADISON ST                                                                     GREENCASTLE     IN   46135‐1050
MELBA VICE            630 EXCELL CIR                                                                       PEARL           MS   39208‐6705
MELBA WALTERS         3414 JOSEPHINE LN                                                                    MASON           MI   48854‐9574
MELBA WENDLING        552 S CHERRY ST                                                                      EUDORA          AR   71640‐2916
MELBA WHEELER         2061 BELLTOWER DR                                                                    SAINT PETERS    MO   63376‐7201
MELBA WILHELM         18903 LAKESIDE DR                                                                    BELTON          MO   64012‐9525
MELBA WILSON          901 E HEMPHILL RD                                                                    FLINT           MI   48507‐2833
MELBA WITHROW         22 N JEFFERSON ST                                                                    BEVERLY HILLS   FL   34465‐3258
MELBA WORLEY          6515 SHORT DR                                                                        WINSTON         GA   30187‐1632
MELBA YOUNG           2206 JANICE DR                                                                       FLINT           MI   48504‐1697
MELBER COLLIER        2669 BAY POINTE CIR W                                                                MEMPHIS         TN   38128‐0923
MELBER SR, EDWARD F   91 ASHFORD AVE                                                                       TONAWANDA       NY   14150‐8507
MELBERT, CLARENCE     3739 CARL RD                                                                         ALEXANDRIA      LA   71302‐2506
MELBERT, CLARENCE J   1013 SHEPARD ST                                                                      LANSING         MI   48912
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Name                      Address1                        Address2              Address3       Address4                 City             State Zip
MELBERT, KENNY R          7050 KINGSWOOD CT               APT 205                                                       INDIANAPOLIS      IN 46256‐3028
MELBIA BENSON             511 SPENCER ST                                                                                FLINT             MI 48505‐4257
MELBIHESS, RONALD C       APT E                           4160 PARKER AVENUE                                            BAKERSFIELD       CA 93309‐4986
MELBIHESS, RONALD CHRIS   APT E                           4160 PARKER AVENUE                                            BAKERSFIELD       CA 93309‐4986
MELBINGER, DONALD G       915 WHITEWATER DR                                                                             FULLERTON         CA 92833‐2195
MELBORN HANSON            11406 MONTROSE ST                                                                             DETROIT           MI 48227‐1676
MELBOURNE PANKOWSKI       2127 BONE RD                                                                                  HOLLY             MI 48442‐9106
MELBOURNE SAMUELSON       137 PARKWAY                                                                                   DAVISON           MI 48423
MELBOURNE, WARREN L       104 SHAWNEE DR                                                                                MARYVILLE         TN 37804‐4339
MELBURN C PRICE JR        WORK                            1776 POLK ST APT 3B                                           HOLLYWOOD         FL 33020
MELBURN TRUCK LINES INC   2215 ROYAL WINDSOR DR                                                MISSISSAUGA, CANADA ON
                                                                                               L5J 1K5 CANADA
MELBY HORTON JR           PO BOX 17                                                                                     BROOKLYN         IN   46111‐0017
MELBY, DAVID P            5497 GUNTHER RD                                                                               MARIPOSA         CA   95338‐9727
MELBY, GEORGE L           38963 LAKESHORE DR                                                                            SELFRIDGE ANGB   MI   48045‐2876
MELBY, MICHAEL E          6928 HOULTON CIR                                                                              LAKE WORTH       FL   33467‐8743
MELBY, SCOTT L            1135 PARALLEL ST                                                                              FENTON           MI   48430‐2216
MELBY, SCOTT L.           1135 PARALLEL ST                                                                              FENTON           MI   48430‐2216
MELBY, STEVE L            1269 ASHWOOD LN                                                                               HOWELL           MI   48843‐8381
MELBYE, ARNOLD H          2114 RIVERVIEW DR                                                                             JANESVILLE       WI   53546‐5382
MELCHER, CAROL J          277 BEATTIE AVE APT 3                                                                         LOCKPORT         NY   14094‐5643
MELCHER, DANIEL J         4571 S ADOBE DR                                                                               CHANDLER         AZ   85249
MELCHER, DOUGLAS
MELCHER, FRANCES K        10742 OXBOW LAKESHORE DRIVE                                                                   WHITE LAKE       MI   48386‐2281
MELCHER, JANET J          3912 SPRING CIRCLE DR W                                                                       PEARLAND         TX   77584‐9386
MELCHER, LISA A           6447 GLENDALE DR                                                                              WHITE LAKE       MI   48383‐3370
MELCHER, MARK E           16200 MASONIC                                                                                 FRASER           MI   48026‐3622
MELCHER, PATRICIA M       9545 EAST SALVATORE PLACE                                                                     TUCSON           AZ   85748‐3251
MELCHER, PAUL F           2263 FOREST TRAIL DR                                                                          TROY             MI   48085‐3607
MELCHER, ROBERT K         400 PINEWOOD ST                                                                               ORTONVILLE       MI   48462‐8444
MELCHER, WILLIAM G        10742 OXBOW LAKESHORE DRIVE                                                                   WHITE LAKE       MI   48386‐2281
MELCHERT, BRUCE A         54 NEWBERRY LANE                                                                              HOWELL           MI   48843‐9569
MELCHERT, DEBRA L         54 NEWBERRY LANE                                                                              HOWELL           MI   48843
MELCHERT, DEBRA L         54 NEWBERRY LN                                                                                HOWELL           MI   48843‐9569
MELCHERT, DIANE K         7159 ROBINSON AVE                                                                             ALLEN PARK       MI   48101‐2245
MELCHERT, JAMES A         10171 JOANNA K                                                                                WHITE LAKE       MI   48386‐2219
MELCHERT, JENNIFER        721 6TH ST                                                                                    OAKMONT          PA   15139‐1516
MELCHERT, JOYCE J         8300 25.3 LN                                                                                  RAPID RIVER      MI   49878‐9517
MELCHERT, JOYCE L         2290 COBB ROAD                                                                                LEWISTON         MI   49756‐8670
MELCHERT, MARIE A         2845 N 70TH ST                                                                                MILWAUKEE        WI   53210‐1224
MELCHERT, ROLAND A        805 WILDWOOD TER                                                                              MARSHALL         TX   75672‐5819
MELCHERT, ROY H           3169 HOGBACK RD                                                                               FOWLERVILLE      MI   48836‐8571
MELCHERT, WAYNE C         4952 OLD FORT WORTH RD                                                                        MIDLOTHIAN       TX   76065‐4906
MELCHI, FAY D             15220 GLEASON RD                                                                              THREE RIVERS     MI   49093‐9252
MELCHI, JAMES L           2653 N LAKEVIEW DR                                                                            SANFORD          MI   48657‐9547
MELCHING, JOHN D          110 EMS D6 LANE                                                                               LEESBURG         IN   46538
MELCHING, JOHN S          1634 WILLOW DR                                                                                SANDUSKY         OH   44870‐5227
MELCHIONNA, JAMES A       1640 W GAMEBIRD RD                                                                            PAHRUMP          NV   89048‐1498
MELCHIONNA, PASQUALE      54 E GRANT AVE                                                                                ROSELLE PARK     NJ   07204‐2218
MELCHIOR LUX              24253 LORETTA AVE                                                                             WARREN           MI   48091‐4469
MELCHIORRE, CHARLES T     6531 E VIA ALGARDI                                                                            TUCSON           AZ   85750‐6381
MELCHIORRE, RAYMOND A     3712 DARBYSHIRE DR                                                                            HILLIARD         OH   43026‐2530
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Name                         Address1                           Address2                      Address3   Address4         City               State Zip
MELCHOIR MASON
MELCHOR GAMBALAN             5260 WESTMORELAND DR                                                                         TROY                MI 48085‐6403
MELCHOR LAROCO               2243 ROCK SPRINGS RD                                                                         COLUMBIA            TN 38401‐7425
MELCHOR RAPHAEL A (494007)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                STREET, SUITE 600
MELCHOR VILLARREAL JR        3732 ROLLING RIDGE CT                                                                        ORION              MI    48359‐1464
MELCHOR, ALEXANDER           1003 PARK LN                                                                                 TOLEDO             OH    43615‐4550
MELCHOR, CANDELARIO R        7 ARROWHEAD BLF                                                                              SEGUIN             TX    78155‐8401
MELCHOR, ELISEO R            937 LOBER DR APT 2                                                                           PERRYSBURG         OH    43551‐1674
MELCHOR, ELISEO RAMIREZ      937 LOBER DR APT 2                                                                           PERRYSBURG         OH    43551‐1674
MELCHOR, ELIZABETH A         5442 N LINDEN RD                                                                             FLINT              MI    48504‐1106
MELCHOR, ELIZABETH ANN       5442 N LINDEN RD                                                                             FLINT              MI    48504‐1106
MELCHOR, FELICIANA T.        PO BOX 321                                                                                   HAMLER             OH    43524‐0321
MELCHOR, FELICIANA T.        P O BOX 321                                                                                  HAMLER             OH    43524‐0321
MELCHOR, FLORA               1054 STEVENSON ST                                                                            NAPOLEON           OH    43545‐1111
MELCHOR, FRANCIS             2735 CHOKECHERRY AVE                                                                         HENDERSON          NV    89074‐1985
MELCHOR, JOE                 214 W GEORGE ST                                                                              PAULDING           OH    45879‐1156
MELCHOR, LAWRENCE E          5442 N LINDEN RD                                                                             FLINT              MI    48504‐1106
MELCHOR, RALPH               9062 COUNTY ROAD D                                                                           LEIPSIC            OH    45856
MELCHOR, RAPHAEL A           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510‐2212
                                                                STREET, SUITE 600
MELCHOR, SAMUEL A            2132 AVON ST                                                                                 SAGINAW             MI 48602‐3957
MELCO ENGRAVING INC          1809 ROCHESTER INDUSTRIAL CT                                                                 ROCHESTER HILLS     MI 48309‐3336
MELCON, PAUL
MELCZER, STEVE J             15435 98TH AVE                                                                               DYER               IN    46311‐7729
MELDA ABSTON                 3230 MOSS ISLAND RD                                                                          ANDERSON           IN    46011‐9742
MELDA C SYSLO                847 BOYD STREET                                                                              MASURY             OH    44438‐9769
MELDA GASKILL                69 WINTER RIDGE RD                                                                           WINTER HAVEN       FL    33881‐5810
MELDA KERR‐JONES             1231 W BLUEBIRD LN                                                                           OAK CREEK          WI    53154‐6338
MELDA LYNN                   615 DUNWICH WAY                                                                              BALTIMORE          MD    21221‐2120
MELDA MITCHELL               817 THOMAS CROSSING DR                                                                       BURLESON           TX    76028‐3207
MELDA P MITCHELL             817 THOMAS CROSSING DR                                                                       BURLESON           TX    76028‐3207
MELDA SMITH                  806 W ELM ST                                                                                 HARTFORD CITY      IN    47348‐1913
MELDANA CATALDO‐BARRERA      24338 LEHIGH ST                                                                              DEARBORN HTS       MI    48125‐1943
MELDANA T CATALDO‐BARRERA    24338 LEHIGH ST                                                                              DEARBORN HEIGHTS   MI    48125‐1943
MELDEN NEUBER                ON 221 WINDERMERE RD                                                                         WINFIELD           IL    60190
MELDISH, RICHARD             DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                          RIVERDALE          NY    10463
MELDON VIPPERMAN             4431 BREEN RD                                                                                EMMETT             MI    48022‐2803
MELDON WESLEY                12830 W 136TH ST APT 207                                                                     OVERLAND PARK      KS    66221
MELDREM, ANITA E             1440 N REDDICK DR                                                                            PERRY              FL    32347‐0979
MELDREM, LLOYD T             187 BILMARSAN DR                                                                             BILOXI             MS    39531‐5317
MELDRUM, CHAD A              106 IRENE ST                                                                                 BUFFALO            NY    14207
MELDRUM, DALE C              123 PARKWOOD AVE                                                                             BUFFALO            NY    14217
MELDRUM, DALE F              333 DESMOND DR                                                                               TONAWANDA          NY    14150‐7841
MELDRUM, DALE FELIX          333 DESMOND DR                                                                               TONAWANDA          NY    14150‐7841
MELDRUM, DANIEL L            52407 WINDSOR CT                                                                             SHELBY TOWNSHIP    MI    48315‐2445
MELDRUM, GARY L              BOONE ALEXANDRA                    205 LINDA DR                                              DAINGERFIELD       TX    75638‐2107
MELDRUM, GARY M              49 PINE RIDGE DR                                                                             BAY CITY           MI    48706‐1844
MELDRUM, GREGG E             27727 LORRAINE AVE                                                                           WARREN             MI    48093‐4948
MELDRUM, JASON C             556 HARROW COURT 10                                                                          ROCHESTER HILLS    MI    48307
MELDRUM, JASON CHARLES       556 HARROW COURT 10                                                                          ROCHESTER HILLS    MI    48307
MELDRUM, JEFFREY D           1518 PEACOCK CIR                                                                             ALGER              MI    48610‐8616
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MELDRUM, JILLANNA G         4011 SPRINGER AVE                                                                              ROYAL OAK           MI 48073‐6415
MELDRUM, LEO E              34115 GARFIELD CIRCLE                                                                          FRASER              MI 48026‐1889
MELDRUM, LINDSAY M          31 SAINT LUCIA LN                                                                              CHEEKTOWAGA         NY 14225‐4819
MELDRUM, MARK L             521 RUSKIN DR                                                                                  ALGONAC             MI 48001‐1650
MELDRUM, MARK LOUIS         521 RUSKIN DR                                                                                  ALGONAC             MI 48001‐1650
MELDRUM, SHARON             67 CHASE ST                                                                                    MASSENA             NY 13662‐1320
MELDRUM, WENDY M            23538 ORCHARD LAKE RD                                                                          FARMINGTON HILLS    MI 48336‐3241
MELDRUM, WILLIAM R          PO BOX 282                                                                                     EMPIRE              MI 49630‐0282
MELE JR, VITO J             1881 E COUNTY LINE RD                                                                          MINERAL RIDGE       OH 44440‐9554
MELE MARIANO (460762)       WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                             NEW YORK            NY 10038
MELE VINCENT (413287)       WEITZ & LUXENBERG                  180 MAIDEN LANE                                             NEW YORK            NY 10038
MELE, BETTIE H              1212 BASSWOOD DR                                                                               NAPERVILLE           IL 60540‐7808
MELE, CHRIS C               191 LUCRETIA LN                                                                                COLUMBIANA          OH 44408‐8460
MELE, DELORES A             1424 POTTER DR                                                                                 COLUMBIA            TN 38401‐9228
MELE, EUSTACE M             200 ROCKWELL AVE                                                                               BRISTOL             CT 06010‐5944
MELE, GARY P                207 LAKE DOCKERY DR.                                                                           JACKSON             MS 39272‐9272
MELE, JOSEPH                12 FRANKLIN ST                                                                                 MEDWAY              MA 02053‐1632
MELE, JOSEPH A              9350 E CALEY AVE APT 310                                                                       ENGLEWOOD           CO 80111‐5366
MELE, LORETTA L             8150 RIZZO DR                                                                                  CLAY                NY 13041‐8807
MELE, MARIANO               WEITZ & LUXENBERG P.C.             180 MAIDEN LANE                                             NEW YORK            NY 10038
MELE, RUTH A                24388 POWERS AVE                                                                               DEARBORN HEIGHTS    MI 48125‐2020
MELE, VINCENT               WEITZ & LUXENBERG                  180 MAIDEN LANE                                             NEW YORK            NY 10038
MELE‐WHITE, ALBERTA D       184 MARKET ST                                                                                  CORTLAND            OH 44410‐1063
MELEANDEZ, RUTH R           472 NICKERSON DRIVE                                                                            TAFO ROBLES         CA 93446
MELEAR DERRELL (453358)     MCLEAN ROBERT A                    40 S MAIN ST STE 2000                                       MEMPHIS             TN 38103‐5500
MELEAR, CLETIS L            815 E NORTHFIELD AVE                                                                           PONTIAC             MI 48340‐1334
MELEAR, DERRELL             MCLEAN ROBERT A                    40 S MAIN ST STE 2000                                       MEMPHIS             TN 38103‐5500
MELEAR, KENNETH J           5806 ARCTIC FOX DR                                                                             CARTERVILLE          IL 62918‐3468
MELEBECK, MARTHA F          3427 RADFORD DR                                                                                LANSING             MI 48911‐4400
MELECA, FRANK T             55 WATERSONG TRL                                                                               WEBSTER             NY 14580‐4613
MELECA, RICHARD P           31 SAHARA DR                                                                                   ROCHESTER           NY 14624‐2252
MELECIA DELGADO             3067 BROOKSIDE DR                                                                              WATERFORD           MI 48328‐2595
MELECIO ARELLANO            105 MICHAEL RD                                                                                 COLUMBIA            TN 38401‐6668
MELECIO MEZA                4499 E JASON RD                                                                                SAINT JOHNS         MI 48879‐9131
MELECOSKY, JASON            814 INVERNESS DR                                                                               OXFORD              MI 48371‐6507
MELEG, JOHN M               7274 LAKESHORE RD                                                                              LAKEPORT            MI 48059‐1942
MELEGA, GREGORY T           6481 PINE VALLEY RD                                                                            CLARKSTON           MI 48346‐2231
MELEGI, STEVE               2065 RUSSELL AVE                                                                               LINCOLN PARK        MI 48146‐1473
MELEKIAN, CHARLES           26023 MEADOW DR                                                                                FRANKLIN            MI 48025‐1242
MELEKIAN, GREGORY           826 HAWKSMOORE DR                                                                              CLARKSTON           MI 48348‐3632
MELEN KELLI                 5090 WINSTON DR                                                                                SWARTZ CREEK        MI 48473‐1225
MELEN, DORCAS P             3 AVENUE A                                                                                     RUTLAND             VT 05701‐4543
MELEN, JOSEPHINE            2851 GEORGE DR                                                                                 WARREN              MI 48092‐4830
MELENBRINK, EDWARD R        5211 MCDOWELL RD                                                                               LAPEER              MI 48446‐8057
MELENBRINK, ELIZABETH J     PO BOX 97                                                                                      JENESEE             MI 48437‐0097
MELENBRINK, ELIZABETH J     5211 MCDOWELL RD                                                                               LAPEER              MI 48446
MELENBRINK, RICHARD H       12393 BLOCK RD                                                                                 BIRCH RUN           MI 48415‐9426
MELENCHEN, JOHN             702 7TH ST                                                                                     N CHARLEROI         PA 15022‐2267
MELENDA HUNTER              28533 CASTLEGATE DR                                                                            SOUTHFIELD          MI 48034‐5607
MELENDEZ FERNADO (446306)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                               PROFESSIONAL BLDG
MELENDEZ FERNANDO           9422 NICHOLS ST                                                                                BELLFLOWER         CA 90706
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MELENDEZ JORGE               MELENDEZ, JORGE                  120 WEST MADISON STREET , 10TH                               CHICAGO              IL 60602
                                                              FLOOR
MELENDEZ JOSE (446307)       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
MELENDEZ WILSON (446308)     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
MELENDEZ, ANGEL L            3665 SHORE DR                                                                                 LINCOLN PARK       MI   48146‐3176
MELENDEZ, ANNIE C            5114 WALNUT PARK DR                                                                           SANTA BARBARA      CA   93111‐1739
MELENDEZ, BLANCA             2800 UNIVERSITY AVE # 3 SOUT                                                                  BRONX              NY   10468
MELENDEZ, CHERYL L           9363 S NICHOLSON RD                                                                           OAK CREEK          WI   53154‐4638
MELENDEZ, DOLORES            1855 GRAND CONCOUNSE             APT B2                                                       BRONX              NY   10453
MELENDEZ, FERNADO            BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD         OH   44067
                                                              PROFESSIONAL BLDG
MELENDEZ, FERNANDO           2816 MISSOURI AVE                                                                             SOUTH GATE         CA   90280‐4044
MELENDEZ, FRANK              2070 SEWARD AVE APT 2H                                                                        BRONX              NY   10473‐2124
MELENDEZ, GALE A             1790 CRANBERRY CT                                                                             MANSFIELD          OH   44905‐2372
MELENDEZ, GALE ANTHONY       1790 CRANBERRY CT                                                                             MANSFIELD          OH   44905‐2372
MELENDEZ, GEORGE FELICIANO
MELENDEZ, GUILIERMINA        828 GRAND CENTRAL DR                                                                          MODESTO            CA   95351‐4482
MELENDEZ, HECTOR L           1444 DERBYSHIRE SE                                                                            GRAND RAPIDS       MI   49507
MELENDEZ, HECTOR LEUIS       1444 DERBYSHIRE ST SE                                                                         GRAND RAPIDS       MI   49508‐2544
MELENDEZ, HERIBERTO          22‐66 35TH STREET                                                                             ASTORIA            NY   11105
MELENDEZ, JACK S             445 SULLIVAN LN APT 74                                                                        SPARKS             NV   89431‐4739
MELENDEZ, JACOB              2438 SAWMILL PIKE                                                                             COLUMBIA           TN   38401
MELENDEZ, JORGE              KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                CHICAGO            IL   60602
                                                              FLOOR
MELENDEZ, JOSE J             15248 W 139TH TER                                                                             OLATHE             KS   66062‐4577
MELENDEZ, JOSE JAVIER        15248 W 139TH TER                                                                             OLATHE             KS   66062‐4577
MELENDEZ, JUAN               329 CHESTNUT HILL RD                                                                          FOREST HILL        MD   21050‐1507
MELENDEZ, JUAN J             4303 ANETTA DR                                                                                MIDLAND            TX   79703‐7034
MELENDEZ, LUCIANO            340 HAGER ST                                                                                  HUBBARD            OH   44425‐2203
MELENDEZ, MARIA DE JESUS     STEVENSON & AMMONS ‐ ROBERT E    3700 MONTROSE BLVD                                           HOUSTON            TX   77006‐4624
                             AMMONS
MELENDEZ, MIGUEL             7603 W 61ST ST                                                                                ARGO               IL   60501‐1501
MELENDEZ, ORLANDO A          28661 GREENWOOD PL                                                                            CASTAIC            CA   91384‐4318
MELENDEZ, OSCAR A            1775 N MARENGO AVE                                                                            PASADENA           CA   91103‐1818
MELENDEZ, OSWALDO R          9609 WOODFORD ST                                                                              PICO RIVERA        CA   90660‐1558
MELENDEZ, PAMELA Y           2438 SOWELL MILL PIKE                                                                         COLUMBIA           TN   38401‐8024
MELENDEZ, RICARDO            4915 NW GATEWAY AVE APT 5                                                                     RIVERSIDE          MO   64150‐3628
MELENDEZ, RICARDO            6804 SE 134TH ST                                                                              OKLAHOMA CITY      OK   73165‐8102
MELENDEZ, SARA               2070 SEWARD AVENUE               APT#2H                                                       BRONX              NY   10473
MELENDEZ, WILSON             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD         OH   44067
                                                              PROFESSIONAL BLDG
MELENDEZ‐HOLDWICK, JANEEN    37104 HOWARD RD                                                                               FARMINGTON HILLS   MI   48331
MELENDRES, ARTURO L          22779 WOODCREEK DR                                                                            TAYLOR             MI   48180‐9321
MELENDREZ, ADOLFO P          1204 S 37TH AVE                                                                               YAKIMA             WA   98902‐4706
MELENDREZ, JOSEPH A          5107 PASSONS BLVD APT 307                                                                     PICO RIVERA        CA   90660‐2842
MELENDY, CLARENCE R          34 RAVENNA RD                                                                                 MANCHESTER         NJ   08759‐6263
MELENDY, CYNTHIA             640 OAKES BLVD                                                                                SAN LEANDRO        CA   94577‐3036
MELENDY, MARK G              16905 KINROSS AVE                                                                             BEVERLY HILLS      MI   48025‐4128
MELENDY, ROSEMARY            5642 W 83RD PL                                                                                BURBANK            IL   60459‐2606
MELENDY, WANDA M             16905 KINROSS AVE                                                                             BEVERLY HILLS      MI   48025‐4128
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MELENOFSKY, WALTER       14348 WINSTON                                                                             DETROIT              MI 48239‐3317
MELENSKI, EMIL S         RR 1 BOX 69                      POLAND BROOK ROAD                                        TERRYVILLE           CT 06786
MELER, DOROTHY A         3 KINGSLEY CT                                                                             FRANKENMUTH          MI 48734‐1271
MELESIA REYNOSO          14060 HERRON ST                                                                           SYLMAR               CA 91342‐4111
MELESIE THERIAULT        155 MARKET ST APT 103                                                                     FORT KENT            ME 04743‐1480
MELESKI JR, MATTHEW F    10020 REESE RD                                                                            CLARKSTON            MI 48348‐1856
MELESKI, EDWARD F        PO BOX 466                                                                                FLAT ROCK            MI 48134
MELESKY JR, HENRY T      59600 GLACIER RDG S                                                                       WASHINGTON           MI 48094‐2232
MELESKY, SIMONE M        552 W CENTER STREET EXT                                                                   SOUTHINGTON          CT 06489‐2139
MELETTE R BRADLEY        119 S FIRST STREET                                                                        TIPP CITY            OH 45371‐1703
MELEWSKI, ANNA C         205 SECRETARIAT DR UNIT N                                                                 HAVRE DE GRACE       MD 21078‐2680
MELEWSKI, ANNA C         205 SECRETARIAT DR               UNIT N                                                   HAVRE DE GRACE       MD 21078
MELEWSKI, RAYMOND A      6745 SUMMIT DR                                                                            CANFIELD             OH 44406‐9064
MELEWSKI, ROBERT E       809 PETEM RD                                                                              KINGSVILLE           MD 21087‐1036
MELEXIS INC              41 LOCKE RD                                                                               CONCORD              NH 03301‐5417
MELEXIS INC              37899 W 12 MILE RD STE 320                                                                FARMINGTON HILLS     MI 48331‐3051
MELFERD PHILLIPS         177 SHIELDS ST                                                                            WINDER               GA 30680‐2266
MELFI, ANTONIO           346 WOODMILL DRIVE                                                                        ROCHESTER            NY 14626‐1176
MELFI, CONCETTA          346 WOODMILL DR                                                                           ROCHESTER            NY 14626‐1176
MELFI, GEORGIA           25131 SAN ROSA                                                                            ST CLAIR SHRS        MI 48081‐2141
MELFI, MICHAEL           10189 BARON BLVD                                                                          DIMONDALE            MI 48821‐9545
MELFI, MICHAEL A         4421 LACON CIR                                                                            HILLIARD             OH 43026‐1206
MELFORD SMITH            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS           OH 44236
MELGARD, RICHARD D       1240 S OAKHILL AVE                                                                        JANESVILLE           WI 53546‐5571
MELGOZA III, FRANK       8621 N POMONA AVE                                                                         KANSAS CITY          MO 64153‐1773
MELGOZA, ELSIE           37157 ALEXANDER ST                                                                        FREMONT              CA 94536‐6501
MELGOZA, FRANCISCO D     15348 S MICHAEL DR                                                                        PLAINFIELD            IL 60544‐9465
MELGOZA, RAUL C          14906 ENVOY ST                                                                            SYLMAR               CA 91342‐5419
MELGOZA‐MONTES, IRMA E   865 PERRY CT                                                                              SANTA BARBARA        CA 93111‐2423
MELHEM RITA              2237 CASEMONT DR                                                                          FALLS CHURCH         VA 22046‐1814
MELHINCH, ALBERT W       613 W RIVER RD N                                                                          ELYRIA               OH 44035‐4913
MELHORN JR, HENRY B      2500 SW LOCUST ST                                                                         OAK GROVE            MO 64075‐9037
MELHUISH, PAUL D         PO BOX 42284                                                                              BROOK PARK           OH 44142‐0284
MELHUS, THOMAS L         685 LEDYARD ST                                                                            WATERFORD            MI 48328‐4136
MELI REBECCA A           MELI, REBECCA                    30 E BUTLER AVE                                          AMBLER               PA 19002‐4514
MELI, ANNE M             373 SPINNAKER LN                                                                          WEBSTER              NY 14580‐1772
MELI, ANTHONY G          5064 CARRIAGE LN                                                                          LOCKPORT             NY 14094‐9747
MELI, BENJAMIN I         159 CYPRESS LN W APT B                                                                    LARGO                FL 33770‐1822
MELI, JAMES M            4421 CORTO MONTEREY                                                                       UNION CITY           CA 94587‐3808
MELI, JOSEPH R           2829 BIGGERS DR                                                                           THOMPSONS STATION    TN 37179‐9271
MELI, LOUIS              41522 VANCOUVER DR                                                                        STERLING HEIGHTS     MI 48314‐4160
MELI, PATRICK J          7025 STAGECOACH RD APT C                                                                  DUBLIN               CA 94568‐2173
MELI, SAMUEL             12355 WHEATON DR                                                                          STERLING HEIGHTS     MI 48313‐1778
MELIA KOSONOVICH         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH 44236
MELIA SPAK               8556 DIXIE LN                                                                             DEARBORN HTS         MI 48127‐1300
MELIA, ANGELA M          3660 POLLEY DR                                                                            AUSTINTOWN           OH 44515‐3348
MELIA, ANN‐MARIE S       29 WINDSHORE DR                                                                           HYANNIS              MA 02601
MELIA, DAVID J           80 WESTCHESTER RD                                                                         BUFFALO              NY 14221
MELIA, DOLORES A         PO BOX 31489                                                                              SAINT LOUIS          MO 63131‐0489
MELIA, JOSEPH T          3660 POLLEY DR                                                                            AUSTINTOWN           OH 44515‐3348
MELIA, MARY C.           2630 VIENNA ESTATE DR                                                                     DAYTON               OH 45459‐1388
MELIA, MICHAEL J         6642 APPLEWOOD BLVD                                                                       BOARDMAN             OH 44512‐4918
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Name                      Address1                         Address2                     Address3   Address4             City           State Zip
MELIC, MICHAEL            2878 RIDGE RD                                                                                 CORTLAND        OH 44410‐9454
MELICAN JR, JAMES P       39 WILLOWMERE CIR                                                                             RIVERSIDE       CT 06878‐2503
MELICE, DOMENICK S        111 ELMHURST AVE                                                                              SYRACUSE        NY 13207‐1934
MELICHAR, GEORGE J        3840 ARTMAR DR                                                                                AUSTINTOWN      OH 44515‐3301
MELICHAR, MARY M          1104 N LINDA LANE                                                                             LAKE CITY       MI 49651‐9378
MELICHAR, MARY M          1104 N LINDA LN                                                                               LAKE CITY       MI 49651‐9378
MELICHAR, VICTOR J        3714 ROSE GARDEN WAY                                                                          NEW FRANKEN     WI 54229‐9614
MELICK, BERNETHA H        1413 W 22ND ST                                                                                LAWRENCE        KS 66046‐2719
MELICK, FREDERICK J       3908 DONAIR DR                                                                                SANDUSKY        OH 44870‐5738
MELICK, JEAN S            419 BROOKES WALK                                                                              WOODSTOCK       GA 30188‐5184
MELICK, WILLIAM R         1535 S TIBBS AVE                                                                              INDIANAPOLIS    IN 46241‐4527
MELIDA R DRISCOLL         318 GOLF DRIVE                                                                                CORTLAND        OH 44410
MELIDA SANTOS             58 E CORNELL AVE                                                                              PONTIAC         MI 48340‐2628
MELIDA VELA               2938 ALPER AVE                                                                                LINCOLN PARK    MI 48146‐3208
MELIDONA, CATHERINE D     1607 MORRIS PL                                                                                NILES           OH 44446‐2839
MELIDONA, GRACE J         1608 MORRIS PL                                                                                NILES           OH 44446‐2840
MELIDONA, GRACE J         1608 MORRIS PL.                                                                               NILES           OH 44446‐2840
MELIDRBANCA PRIVATE SPA   REF MR ALESSANDRO ENEGHES        VIA BORROMEI S                          20123 MILANO ITALY
MELIGARIS, AGELIKI E      45 MORNINGSIDE                                                                                NILES          OH   44446‐2109
MELIK KHOURY              3214 KINGSBRIDGE AVE APT 1F                                                                   BRONX          NY   10463‐5533
MELIK, GARY J             2620 WALNUT ST                                                                                GIRARD         OH   44420‐3155
MELIK, JEFFREY A          2620 WALNUT ST                                                                                GIRARD         OH   44420‐3155
MELILLO, JANE D           9404 N CHURCH DR #214                                                                         PAMA HEIGHTS   OH   44130‐4723
MELILLO, MAUREEN L        2801 DENTON TAP RD APT 315                                                                    LEWISVILLE     TX   75067‐8157
MELILLO, MICHAEL J        3707 SPRING CREST COURT                                                                       LAKE WORTH     FL   33467‐2457
MELIM SERVICE CENTER      333 QUEEN ST                                                                                  HONOLULU       HI   96813
MELIN DONALD              39443 890TH AVE                                                                               OLIVIA         MN   56277‐2524
MELIN, BARBARA S          1119 BAY DR                                                                                   TAWAS CITY     MI   48763‐9315
MELIN, GEORGE E           19160 CHEYENNE ST                                                                             CLINTON TWP    MI   48036‐2126
MELINA GRIFFIN            2815 W 11TH ST                                                                                ANDERSON       IN   46011‐2426
MELINAT, CARL D           209 REMUDA ST                                                                                 CLOVIS         NM   88101‐9317
MELINAT, WOLFGANG         2520 COPPERSMITH AVE                                                                          DAYTON         OH   45414‐2204
MELINAUSKAS, VACLOVAS     478 CATLIN DR                                                                                 RICHMOND HTS   OH   44143‐2530
MELINDA A DECK            8869 DEARDOFF ROAD                                                                            FRANKLIN       OH   45005‐1457
MELINDA A GRADTKE         2262 E BATAAN                                                                                 KETTERING      OH   45420
MELINDA A GREEN               PO BOX 3552                                                                               WARREN         OH   44485‐0552
MELINDA A RICHARDSON      6640 SYRACUSE ST                                                                              TAYLOR         MI   48180‐1761
MELINDA A SIBILA          652 N SHERRY DRIVE                                                                            TROTWOOD       OH   45426‐3618
MELINDA ALLEBACH          502 WHISPERING TRL                                                                            MIDDLETOWN     DE   19709‐5801
MELINDA AVILA             4165 CRUM RD                                                                                  YOUNGSTOWN     OH   44515‐1420
MELINDA B MARTIN          1113 DELHI STREET                                                                             BOSSIER CITY   LA   71111‐4622
MELINDA BAIRD             3500 GOLDNER LN SW APT A                                                                      WARREN         OH   44481‐9635
MELINDA BLOCKSON‐PIERCE   4 DIXIE DR                                                                                    ANDERSON       IN   46016‐2102
MELINDA BLOOM             277 CHESTERFIELD DR                                                                           ROCHESTER      NY   14612‐5237
MELINDA BROWN             14058 LANDINGS WAY                                                                            FENTON         MI   48430‐1314
MELINDA C HENRY           720 LARCH ST APT A                                                                            TIPP CITY      OH   45371
MELINDA C MONTGOMERY      313 VERMONT ST                                                                                SAGINAW        MI   48602‐1341
MELINDA C ONEY            2316 DANUBE CT                                                                                KETTERING      OH   45420
MELINDA C WILLIAMS        3700 RUE FORET APT 238                                                                        FLINT          MI   48532‐2856
MELINDA CALINDA           24838 EMILY DR                                                                                BROWNSTOWN     MI   48183‐5425
MELINDA CARMICHAEL        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.    OH   44236
MELINDA CASTLE            3404 S VASSAR RD                                                                              BURTON         MI   48519‐1679
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Name                  Address1                        Address2            Address3         Address4         City               State Zip
MELINDA CHAMBERS      110 STATE ROAD 15                                                                     LA FONTAINE         IN 46940‐9121
MELINDA CHAPMAN       440 CROSS PARK DR APT 1204                                                            PEARL               MS 39208‐9342
MELINDA CLAPP         PO BOX 259                                                                            STATE LINE          IN 47982‐0259
MELINDA CREMEAN       1138 MAYNARD RD                                                                       PORTLAND            MI 48875‐1226
MELINDA D BARNETTE    860 WEST HYDE RD                                                                      YELLOWSPRINGS       OH 45387‐8753
MELINDA D MCCLINTON   3800 HILLBORN LN                                                                      LANSING             MI 48911‐2147
MELINDA D WINDOM      108 ARCH STREET                                                                       ROCHESTER           NY 14609‐7028
MELINDA DENNINGER     888 GLENMOOR DR                                                                       OXFORD              MI 48371‐4880
MELINDA DUGGAN        1216 WRECKENRIDGE RD                                                                  FLINT               MI 48532‐3231
MELINDA EVANS         2925 BEAL ST NW                                                                       WARREN              OH 44485‐1211
MELINDA F FLEMING     522 MACE STREET                                                                       CANTON              MS 39046
MELINDA FISH          5837 E FILLMORE RD                                                                    ITHACA              MI 48847‐9435
MELINDA FISHER        2545 CARNEGIE ST                                                                      DAYTON              OH 45406‐1416
MELINDA GILLIHAN      3450 BALLINGER RD               C/O JO CAROL DODD                                     MARTINSVILLE        IN 46151‐6860
MELINDA GOOLSBY       415 DEER PATH TRL                                                                     WATERFORD           MI 48327‐4350
MELINDA GOUVION       1475 HARWOOD DR                                                                       OXFORD              MI 48371‐4431
MELINDA GRAY          13926 RENFREW CT                                                                      STERLING HEIGHTS    MI 48312‐4247
MELINDA GUINN         1424 S 1010 E                                                                         GREENTOWN           IN 46936‐9164
MELINDA HARRIS        15360 MORNINGSIDE DR                                                                  CHOCTAW             OK 73020‐7509
MELINDA J KALKMAN     1926 MARQUETTE ST                                                                     SAGINAW             MI 48602‐1739
MELINDA J MAGGS       871 N WARD AVE                                                                        GIRARD              OH 44420
MELINDA JOHNSON       1221 SPENCER RD                                                                       SCOTTSVILLE         KY 42164‐9269
MELINDA JOHNSON       5169 WARWICK WOODS TRL                                                                GRAND BLANC         MI 48439‐9405
MELINDA JOHNSON       5804 W FALL CREEK RD                                                                  CRAWFORDSVILLE      IN 47933‐9305
MELINDA K CHAPMAN     440 CROSSPART APT 1204                                                                PEARL               MS 39208
MELINDA K GAU         2170 TIMBERLANE                                                                       DAYTON              OH 45414
MELINDA K KRUMM       4739 TAYLORSVILLE RD                                                                  HUBER HEIGHTS       OH 45424‐2460
MELINDA K LAWRENCE    631 WOODLAWN AVE                                                                      YPSILANTI           MI 48198‐8019
MELINDA K THOMAS      7760 MOTE ROAD                                                                        W.MILTON            OH 45383‐7705
MELINDA K THOMAS      7760 S MOTE RD                                                                        WEST MILTON         OH 45383‐7705
MELINDA KALKMAN       1926 MARQUETTE ST                                                                     SAGINAW             MI 48602‐1739
MELINDA KELLER        3828 MARYLAND AVE                                                                     FLINT               MI 48506‐3163
MELINDA KERN          2559 KATHLEEN DR                                                                      BRIGHTON            MI 48114‐8939
MELINDA L DRAUGHN     623 LAKE FOREST DRIVE                                                                 W CARROLLTON        OH 45449‐1664
MELINDA L FISHER      2545 CARNEGIE ST                                                                      DAYTON              OH 45406
MELINDA L KNUDSON     6306 WOODVILLE DR.                                                                    DAYTON              OH 45414‐2848
MELINDA L MCCORD      5440 MARINELLI RD APT 431                                                             N BETHESDA          MD 20852‐2519
MELINDA L PATRICK     785 NORTHEDGE DRIVE                                                                   VANDALIA            OH 45377
MELINDA LARA          3680 STONECREEK DR                                                                    SPRING HILL         TN 37174‐2197
MELINDA LATIMER
MELINDA LEMASTERS     6506 HAMPSTEAD AVE                                                                    PARMA              OH   44129‐3731
MELINDA M BAILEY      1591 RIVERSTONE WAY                                                                   MONROE             OH   45050
MELINDA M BASHORE     7330 MEADOW DR                                                                        TIPP CITY          OH   45371‐9635
MELINDA M CASTLE      3404 S VASSAR RD                                                                      BURTON             MI   48519‐1679
MELINDA M HARDIN      1637 C MARS HILL DR                                                                   DAYTON             OH   45449
MELINDA M STRANGE     PO BOX 90193                                                                          INDIANAPOLIS       IN   46290‐0193
MELINDA MACK          88 LANDON DR                                                                          EDMOND             OK   73013‐1772
MELINDA MC GILL       PO BOX 38 1                                                                           GALLUPVILLE        NY   12073
MELINDA MCCLINTON     3800 HILLBORN LN                                                                      LANSING            MI   48911‐2147
MELINDA MCDONALD      16094 JULIANA AVE                                                                     EASTPOINTE         MI   48021‐2946
MELINDA MEDLOCK       10921 WHITESTONE RANCH RD                                                             BENBROOK           TX   76126‐4579
MELINDA N DAVENPORT   4159 WILLIAMSON DR                                                                    DAYTON             OH   45416‐2123
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Name                                   Address1                       Address2                      Address3   Address4             City              State Zip
MELINDA NORTHUP
MELINDA OAKEY                          PO BOX 9022                                                                                  WARREN            MI    48090‐9022
MELINDA OHMER‐CARR                     926 BENNINGTON DR                                                                            LANSING           MI    48917‐3918
MELINDA PARISE                         44621 MEADOWCREEK LN                                                                         CANTON            MI    48187‐2475
MELINDA PETERMAN                       17161 LENORE                                                                                 DETROIT           MI    48219‐3649
MELINDA R AVILA                        4165 CRUM RD                                                                                 YOUNGSTOWN        OH    44515‐1420
MELINDA R BAKER                        1418 SHARE AVE APT 206                                                                       YPSILANTI         MI    48198‐6564
MELINDA RICHARDSON                     1059 QUARTERHORSE RUN                                                                        BARGERSVILLE      IN    46105‐9731
MELINDA ROSARIO                        114 E RUTGERS AVE                                                                            PONTIAC           MI    48340‐2752
MELINDA S CARSTEN                      1624 PRIMROSE AVE                                                                            TOLEDO            OH    43612‐4062
MELINDA S COFFMAN                      7459 OREGONIA RD                                                                             WAYNESVILLE       OH    45068
MELINDA S HARRIS                       15360 MORNINGSIDE DR                                                                         CHOCTAW           OK    73020‐7509
MELINDA S PAUL                         1403 W 3RD ST                                                                                ANDERSON          IN    46016‐2443
MELINDA S. GRANT                       P.O. BOX 1857                                                                                GADSDEN           AL    35902‐1857
MELINDA SHELBY                         24 TURKEY HILLS DR                                                                           TROY              MO    63379‐4166
MELINDA SIMMONS                        4977 TRICKUM RD NE                                                                           MARIETTA          GA    30066‐1374
MELINDA SMART                          1919 EDGEWORTH AVE                                                                           DAYTON            OH    45414
MELINDA SMITH                          202 LEE ROAD 13 13                                                                           SMITHS STATION    AL    36877
MELINDA STEWART                        509 TATE DR                                                                                  DESOTO            TX    75115‐6075
MELINDA STEWART                        822 SAN JUAN DR                                                                              DUNCANVILLE       TX    75115‐3922
MELINDA STRANGE                        PO BOX 90193                                                                                 INDIANAPOLIS      IN    46290‐0193
MELINDA THOMAS                         7760 S MOTE RD                                                                               WEST MILTON       OH    45383‐7705
MELINDA WALSH                          488 ORCHARDALE DR                                                                            ROCHESTER HILLS   MI    48309‐2246
MELINDA WASHINGTON                     645 E PULASKI AVE                                                                            FLINT             MI    48505‐3382
MELINDA WILLIAMS                       3700 RUE FORET APT 238                                                                       FLINT             MI    48532‐2856
MELINE, DAVID W                        4817 OLIVER AVENUE SOUTH                                                                     MINNEAPOLIS       MN    55419‐5255
MELINE,DAVID W                         4817 OLIVER AVE S                                                                            MINNEAPOLIS       MN    55419‐5255
MELING RAPADAS                         PO BOX 26                                                                                    LAPEER            MI    48446‐0026
MELINGONIS, MARK P                     25 ACORN LN                                                                                  BRISTOL           CT    06010‐2578
MELINN JR, ANTHONY E                   500 DEVONSHIRE CT                                                                            TRAVERSE CITY     MI    49686‐5407
MELINN, CYNTHIA A                      1818 BURLINGAME AVE SW                                                                       WYOMING           MI    49509‐1229
MELINN, JERRY L                        4409 SW 2ND AVE                                                                              CAPE CORAL        FL    33914‐5919
MELINN, MARGARET J                     2052 MICHAEL AVE SW                                                                          WYOMING           MI    49509‐1839
MELINN, MARGARET J                     2052 MICHAEL S.W.                                                                            WYOMING           MI    49509‐1839
MELINSKY JOSEPH (ESTATE OF) (635406)   ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                      WILMINGTON        DE    19801‐1813

MELINSKY, JOSEPH                       ANGELOS PETER G LAW OFFICE     1300 N MARKET ST STE 212                                      WILMINGTON         DE 19801‐1813
MELIOR‐DELAWARE INC                    DBA MELIOR INC                 1 PERIMETER PARK S STE 450N                                   BIRMINGHAM         AL 35243‐3201
MELIORBANCA PRIVATE SPA                REF MR ALESSANDRO ENEGRIES     VIA BORROMEI 5                           20123 MILANO ITALY
MELIORBANCA SPA                        EZIO SPOLDI
MELIS, CAROLE J
MELISA BAUGHMAN                        6320 KNOB BEND DR                                                                            GRAND BLANC       MI    48439‐7461
MELISA GIBSON                          8515 SOUTH BREEDEN ROAD                                                                      BLOOMINGTON       IN    47403‐9504
MELISA HAMMOND                         7443 VERONA DR                                                                               WEST BLOOMFIELD   MI    48322‐3317
MELISA J GLEADELL                      4871 TRAILSIDE CT                                                                            HUBER HEIGHTS     OH    45424
MELISA L TAYLOR                        594 EUGENE ST                                                                                YPSILANTI         MI    48198‐6143
MELISA SMITH                           6196 RUTHERFORD AVE                                                                          EAST LANSING      MI    48823‐1552
MELISI JERRY                           21 CHESTNUT ST                                                                               MALVERNE          NY    11565‐1302
MELISSA A BEERT                        134 LAKE VILLAGE DR 2                                                                        WALLED LAKE       MI    48390
MELISSA A BURKE                        404 WRIGHT AVE                                                                               SYRACUSE          NY    13211‐1542
MELISSA A BUSH                         9955 JOAN CIR                                                                                YPSILANTI         MI    48197‐6903
MELISSA A CAMPBELL                     2384 MALLARD LN                                                                              DAYTON            OH    45431
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Name                          Address1                       Address2            Address3              Address4         City              State Zip
MELISSA A CHATFIELD           1124 N MONROE ST                                                                          BAY CITY           MI 48708‐5936
MELISSA A CHENEY              153 DORSETWOOD                                                                            ROCHESTER          NY 14612‐3103
MELISSA A CLARK               1803 SIMISON ROAD                                                                         SPRING VALLEY      OH 45370
MELISSA A CULLERS             3490 WOLFBERRY CT                                                                         SAINT PAUL         MN 55123
MELISSA A DAVIS               3958 GARDENVIEW DR                                                                        DAYTON             OH 45431
MELISSA A DILLON              2247 CARDINAL AVE                                                                         DAYTON             OH 45414
MELISSA A DOTSON              2405 TENNESSEE DR                                                                         XENIA              OH 45385‐4766
MELISSA A DURBIN              2438 VANCE RD LOT 8                                                                       DAYTON             OH 45417‐6870
MELISSA A ENTERMAN            3390 CARLIN DR.                                                                           W. CARROLLTON      OH 45449
MELISSA A FOX                 1140 SHARE DR                                                                             DAYTON             OH 45432
MELISSA A FRANKLIN            346 N MIAMI ST                                                                            WEST MILTON        OH 45383
MELISSA A GEBELE              6815 TORRINGTON DRIVE                                                                     FRANKLIN           OH 45005‐3900
MELISSA A GOMBASH             4309 HARVARD DR SE                                                                        WARREN             OH 44494‐4809
MELISSA A HALL                5017 WOLFCREEK PK LOT 51                                                                  TROTWOOD           OH 45426‐‐ 24
MELISSA A HAWKINS             7754 MARTZ‐PAULIN RD                                                                      FRANKLIN           OH 45005‐4089
MELISSA A HOLDEN              1324 CAMP HILL WAY APT 12                                                                 DAYTON             OH 45449
MELISSA A HOWELL              35 WILLOW DR.                                                                             SPRINGBORO         OH 45066‐1226
MELISSA A JEWELL              812 BUTTERNUT DR                                                                          KETTERING          OH 45419
MELISSA A KENNEDY‐SNODGRASS   178 CHAPEL HILL DR NW                                                                     WARREN             OH 44483‐1181
MELISSA A MACHERZAK           1109 N BANGOR ST                                                                          BAY CITY           MI 48706
MELISSA A MISEKOW             5541 LAKECRESS DR S                                                                       SAGINAW            MI 48603‐1688
MELISSA A MORR                831 LEEKA RD                                                                              NEW VIENNA         OH 45159
MELISSA A NAVARRE             119 W TENNYSON AVE                                                                        PONTIAC            MI 48340‐2673
MELISSA A PAYNE               18 VINE ST                                                                                DAYTON             OH 45409
MELISSA A POWELL              398 FARRELL RD                                                                            VANDALIA           OH 45377
MELISSA A PRESLEY             4041 FRASER ST                                                                            FLINT              MI 48532‐3841
MELISSA A RAGONESE            510 GORDON AVE                                                                            SYRACUSE           NY 13208‐1436
MELISSA A REINHARDT           1104 S HAMILTON ST                                                                        SAGINAW            MI 48602‐1421
MELISSA A RICHMOND            7545 MICHAEL RD                                                                           MIDDLETOWN         OH 45042
MELISSA A SARGENT             1004 NORDALE AVE                                                                          DAYTON             OH 45420‐2344
MELISSA A SAUNDERS            373 GEORGIA DR                                                                            XENIA              OH 45385
MELISSA A SMITH               2270 N. LEAVITT RD                                                                        WARREN             OH 44485
MELISSA A SMITH               237 S BUTTER ST                                                                           GERMANTOWN         OH 45327
MELISSA A STANLEY             8526 CHAMBERSBURG ROAD                                                                    HUBER HEIGHTS      OH 45424
MELISSA A STONE               7687 TORTUGA DR                                                                           DAYTON             OH 45414‐1776
MELISSA A SULLIVAN            240 YORKWOOD DRIVE                                                                        NEW LEBANON        OH 45345‐1327
MELISSA A VANCURA             11 SOUTH MAYSVILLE RD                                                                     GREENVILLE         PA 16125
MELISSA A VIETS               1881 E STROOP ROAD                                                                        KETTERING          OH 45429
MELISSA A WORTHY              3617 EVANSVILLE AVE                                                                       DAYTON             OH 45406
MELISSA A WRIGHT              19 JENKINS DR                                                                             DAYTON             OH 45427‐2618
MELISSA ARNELL                1256 BLAIRFIELD DR                                                                        ANTIOCH            TN 37013‐3920
MELISSA BAGGETT               401 W MARKHAM ST                                                                          LITTLE ROCK        AR 72201‐1407
MELISSA BANAR                 527 WELLS HOLLOW RD                                                                       WELLSVILLE         OH 43968
MELISSA BARE                  324 WILKSHIRE DR                                                                          WATERVILLE         OH 43566‐1227
MELISSA BARELA
MELISSA BARKER                328 PENNSYLVANIA AVE                                                                      MC DONALD         OH   44437‐1938
MELISSA BASSITT               46586 SCHIMMEL CT                                                                         SHELBY TOWNSHIP   MI   48317‐3868
MELISSA BAULT                 1153 RUNNINGBROOK CT                                                                      AVON              IN   46123‐8111
MELISSA BEERT                 134 LAKE VILLAGE DR                                                                       WALLED LAKE       MI   48390‐3635
MELISSA BELIVEAU              KITCHEN SIMESON MCFARLANE      86 SIMCOE ST S      OSHAWA, ON L1H 4G6,
                                                                                 CANADA
MELISSA BENDER                510 HUNTINGTON RIDGE DR                                                                   NASHVILLE         TN 37211‐5995
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Name                          Address1                            Address2                        Address3          Address4         City                 State Zip
MELISSA BLOMQUIST             19389 LAKELAND DR                                                                                      MACOMB                MI 48044‐3670
MELISSA BREWER                1521 W OLD SLOCUM TRL                                                                                  LA FONTAINE           IN 46940‐9112
MELISSA BRIGHT                413 W 11TH ST APT E39                                                                                  ALEXANDRIA            IN 46001‐2831
MELISSA BROWN                 2929 1/2 E LYNN ST                                                                                     ANDERSON              IN 46016‐5635
MELISSA BRUDER                W261S8350 FAULKNER RD                                                                                  MUKWONAGO             WI 53149‐9629
MELISSA BURTON                13424 HARRIS RD                                                                                        GERMANTOWN            OH 45327‐9733
MELISSA C GAU                 4377 GORMAN AVE                                                                                        ENGLEWOOD             OH 45322‐2533
MELISSA C HARRISON            1517 HUFFMAN AVE                                                                                       DAYTON                OH 45403
MELISSA C PEACE               670 FOX AVE                                                                                            YPSILANTI             MI 48198‐6148
MELISSA C SMITH               201 E EDSEL FORD FWY                                                                                   DETROIT               MI 48202‐3707
MELISSA C WEAVER              1868 WESTBROOK RD                                                                                      DAYTON                OH 45415‐‐ 18
MELISSA CALHOUN               110 PEMBROOK DR                                                                                        SYRACUSE              NY 13205‐3339
MELISSA CAMPOS                1100 SAN ANTONIO DR                                                                                    FORNEY                TX 75126‐5110
MELISSA CARTER                PO BOX 2117                                                                                            ANDERSON              IN 46018‐2117
MELISSA CENTERS               4691 MAYBEE RD                                                                                         CLARKSTON             MI 48348‐5124
MELISSA CHMIEL                4957 MACERI CIR                                                                                        STERLING HEIGHTS      MI 48314‐4075
MELISSA COWART FREEMAN        2119 KENTUCKY STREET                                                                                   WEST COVINA           CA 91792‐2502
MELISSA COX                   7161 1/2 COUNTY ROAD 97                                                                                MOUNT GILEAD          OH 43338‐9643
MELISSA CRAMER                129 SNOW AVE                                                                                           SAGINAW               MI 48602‐3158
MELISSA CULVER                9601 SHELLWAY DR NW                                                                                    RAPID CITY            MI 49676‐8428
MELISSA D ADAMS               3968 KEMP RD                                                                                           BEAVERCREEK           OH 45431
MELISSA D BOWMAN              2675 CRESCENT BLVD                                                                                     KETTERING             OH 45409
MELISSA D GARTH               1566 HONEYBEE DR                                                                                       DAYTON                OH 45427
MELISSA D LAVINE              104 W CENTER ST                                                                                        FARMERSVILLE          OH 45325
MELISSA D PITTS               226 WESTDALE CT                                                                                        DAYTON                OH 45402
MELISSA D PLATT               4541 N FAIRGREEN AVE                                                                                   TROTWOOD              OH 45416‐1803
MELISSA D SCHUYLER            518 E MARKET ST                                                                                        GERMANTOWN            OH 45327‐1425
MELISSA D WILLIAMS            5349 SHERONN STREET                                                                                    JACKSON               MS 39209
MELISSA DASCH                 1610 NORTH KING RD                                                                                     MARION                IN 46952‐8669
MELISSA DASCH                 1610 N KING RD                                                                                         MARION                IN 46952‐8669
MELISSA DAVISON               2001 S SHERWOOD FOREST BLVD APT 225                                                                    BATON ROUGE           LA 70816‐8412

MELISSA DEMATTIO              45089 KLINGKAMMER ST                                                                                   UTICA                MI 48317‐5732
MELISSA DENIEL                PO BOX 3140                                                                                            GRAND RAPIDS         MI 49501‐3140
MELISSA DIMERCURIO            ATTN: MARC SAPERSTEIN, ESQ          DAVIS, SAPERSTEIN & SALOMON, P C 375 CEDAR LANE                    TEANECK              NJ 07666

MELISSA DUGGER                10153 BYRON RD                                                                                         BYRON                MI   48418‐9113
MELISSA E EVANS               757 WISTERIA DR                                                                                        TROY                 OH   45373‐9342
MELISSA ELKINS                143 ANITA DR                                                                                           MARTINSBURG          WV   25401‐0052
MELISSA F COCHRAN             2920 LAKEHURST ST                                                                                      MORAINE              OH   45439‐1407
MELISSA FINCH                 7 CONCORD LN                                                                                           PONTIAC              MI   48340‐1213
MELISSA FLAHERTY              23300 HARMON ST                                                                                        SAINT CLAIR SHORES   MI   48080‐3237
MELISSA FLEAHMAN              437 CUMBERLAND DR                                                                                      COLUMBIS             OH   43213‐2062
MELISSA FONTENETTE‐MITCHELL
MELISSA FORBES                PO BOX 1006                                                                                            DAVISON              MI   48423‐5006
MELISSA FORRER                10590 N. 450 W.S                                                                                       ALEXANDRIA           IN   46001
MELISSA FOX‐WILBUR            207 VINE ST                                                                                            CHESTERFIELD         IN   46017‐1622
MELISSA FRANTZ                9165 ROLLING GREENS TRL                                                                                MIAMISBURG           OH   45342‐6780
MELISSA FREEMAN               2856 N 82ND ST                                                                                         KANSAS CITY          KS   66109‐1541
MELISSA FREESTONE             1213 W 1ST ST                                                                                          ANDERSON             IN   46016‐2401
MELISSA G COTTER              3678 EILEEN RD.                                                                                        KETTERING            OH   45429
MELISSA G FLEAHMAN            437 CUMBERLAND DR                                                                                      COLUMBUS             OH   43213‐2052
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Name                               Address1                             Address2                     Address3                    Address4         City                State Zip
MELISSA G TRAMMEL                  4919 BECKER DR                                                                                                 DAYTON               OH 45427
MELISSA GARLAND                    PO BOX 176                                                                                                     THOMPSONS STATION    TN 37179‐0176
MELISSA GARWOOD                    6007 EAGLE CREEK DRIVE                                                                                         FORT WAYNE           IN 46814‐3211
MELISSA GAUNA                      1012 BROKEN RIDGE DR                                                                                           LANSING              MI 48917‐6876
MELISSA GAYTAN IND & BEHALF OF B   MINORS & AS REP EST R GAYTAN ET AT   C/O WATTS GUERRA CRAFT LLP   300 CONVENT ST, SUITE 100                    SAN ANTONIO          TX 78205
GAYTAN & D GAYTAN
MELISSA GENSHAW                    8514 EAST RICHFIELD ROAD                                                                                       DAVISON             MI   48423‐8581
MELISSA GEORGE‐TONKINSON           290 N LUNDY AVE                                                                                                SALEM               OH   44460‐2928
MELISSA GIBOYEAUX                  54047 COUNTY LINE RD                                                                                           NEW BALTIMORE       MI   48047‐1122
MELISSA GODDARD                    10323 N WYANDOTTE ST                                                                                           KANSAS CITY         MO   64155‐3523
MELISSA GODERT                     509 MADISON AVE                                                                                                ANGOLA              NY   14006‐9393
MELISSA GOLDBERG                   6457 JAMIESON AVE                                                                                              RESEDA              CA   91335
MELISSA GOLDEN                     4479 JENA LN                                                                                                   FLINT               MI   48507‐6218
MELISSA GOUGH                      13959 OAKVILLE WALTZ RD                                                                                        WILLIS              MI   48191‐9718
MELISSA GOULET                     15893 LENORE                                                                                                   REDFORD             MI   48239‐3587
MELISSA GRABLE                     16082 ASPEN HOLW                                                                                               FENTON              MI   48430‐9138
MELISSA GRAY                       5085 PHEASANT RUN DR                 APT 1                                                                     SAGINAW             MI   48638‐6344
MELISSA GREGG                      685 PRESTON DR                                                                                                 WAYNESVILLE         OH   45068‐8457
MELISSA GRICE                      4261 GRANGE HALL RD LOT 114                                                                                    HOLLY               MI   48442‐1183
MELISSA GUNNELS                    315 S MONTGOMERY ST                                                                                            SHERMAN             TX   75090‐7140
MELISSA H DUPREE                   922 AVENUE D                                                                                                   GADSDEN             AL   35901
MELISSA HAISS                      2411 WILDWOOD CIR DR                                                                                           GRAND BLANC         MI   48439‐4346
MELISSA HALCOMB                    6820 W ELKTON GIFFORD RD                                                                                       SOMERVILLE          OH   45064‐9685
MELISSA HALL                       808 TRENTON PL                                                                                                 LANSING             MI   48917‐4839
MELISSA HALL                       721 FLORIDA AVE                                                                                                MC DONALD           OH   44437‐1607
MELISSA HALL                       7370 KINGSBRIDGE RD                                                                                            CANTON              MI   48187‐2412
MELISSA HARPER                     8784 GIOVANNI CT                                                                                               HOWELL              MI   48855‐6300
MELISSA HAUCK                      2505 PENNSYLVANIA AVE                                                                                          FLINT               MI   48506‐3843
MELISSA HEBELER                    6363 FARAGHER RD                                                                                               OVID                MI   48866‐9663
MELISSA HEBELER                    6721 WALKER RD                                                                                                 OVID                MI   48866‐9659
MELISSA HERMAN                     9294 PARK CT                                                                                                   SWARTZ CREEK        MI   48473‐8537
MELISSA HERNANDEZ                  10016 ALONDRA ST                                                                                               SHREVEPORT          LA   71115‐3403
MELISSA HOWELL                     7161 DEERHILL CT                                                                                               CLARKSTON           MI   48346‐1275
MELISSA J ANDERSON                 10872 FRIEND RD                                                                                                GERMANTOWN          OH   45327
MELISSA J BOWMAN                   22150 STATE ROUTE 251                                                                                          MIDLAND             OH   45148
MELISSA J FOX                      308 MAIN ST GORDON                                                                                             GORDON              OH   45304
MELISSA J GIVENS                   539 GARLAND DR.WEATHERSFLD                                                                                     NILES               OH   44446‐1108
MELISSA J HALCOMB                  6820 W. ELKTON GIFFORD RD                                                                                      SOMERVILLE          OH   45064
MELISSA J MANGEN                   7780 SHARSTED CIRCLE                                                                                           HUBER HEIGHTS       OH   45424‐2318
MELISSA J MEANS                    839 COLLAR PRICE RD NE                                                                                         BROOKFIELD          OH   44403
MELISSA J SAYLOR                   344 MARVIEW AVE                                                                                                VANDALIA            OH   45377
MELISSA J SCALF                    6421 HARBINGER LN                                                                                              DAYTON              OH   45449
MELISSA J SCOTT                    10631 VERONA RD.                                                                                               LOUISBURG           OH   45338
MELISSA J STIGALL                  3810 BEACON VIEW                                                                                               DAYTON              OH   45424‐1807
MELISSA J STOCKER                  719 LAWNDALE AVE                                                                                               TILTON              IL   61833‐7963
MELISSA J STOYLE                   270 ALBEMARLE                                                                                                  ROCHESTER           NY   14613‐1406
MELISSA K ERBAUGH                  43 N BROADWAY ST                                                                                               FARMERSVILLE        OH   45325
MELISSA K FERRELL                  700 E. SCHANTZ AVE.                                                                                            DAYTON              OH   45419‐3815
MELISSA K LOFFER                   2500 STATE ROUTE 66                                                                                            HOUSTON             OH   45333‐9697
MELISSA K MCDANIEL                 4091 MAXWELL DRIVE                                                                                             BELLBROOK           OH   45305‐1626
MELISSA K MILES                    3053 IVY HILL CIR APT B                                                                                        CORTLAND            OH   44410
MELISSA K MORGAN                   2017 COLTON DR                                                                                                 DAYTON              OH   45420
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MELISSA K PATRICK                    710 ELWOOD ST                                                                                         MIDDLETOWN       OH 45042‐2218
MELISSA K WILKINS                    3252 N DEWITT RD                                                                                      SAINT JOHNS      MI 48879‐9712
MELISSA KAY DUNLEVY                  7112 CLAYBECK DR                                                                                      HUBER HEIGHTS    OH 45424‐2919
MELISSA KENDALL                      1300 MAGINN CT                                                                                        MOUNT MORRIS     MI 48458‐1765
MELISSA KENT                         1056 STATE ROUTE 314 S                                                                                MANSFIELD        OH 44903‐7733
MELISSA KEYSOR                       12515 CHURCH ST APT B4                                                                                BIRCH RUN        MI 48415‐8765
MELISSA KILLIAN                      4444 BERKSHIRE RD                                                                                     ROYAL OAK        MI 48073‐6204
MELISSA KIMBALL                      UNKNOWN
MELISSA KOLLES                       7220 ANDREWS RD                                                                                       SAINT CHARLES   MI    48655‐9676
MELISSA KRETZER                      113 ARROWHEAD DR                 #2                                                                   WILLIAMSTOWN    KY    41097‐8100
MELISSA L FIELDS                     133 OHIO ST                                                                                           YPSILANTI       MI    48198‐7821
MELISSA L HARRIS                     2600 SALEM AVE                                                                                        DAYTON          OH    45406‐2931
MELISSA L HECKROTH                   1000 CENTER AVE APT 3                                                                                 BAY CITY        MI    48708‐6173
MELISSA L HINEY                      1984 SIERRA TRL A                                                                                     XENIA           OH    45385
MELISSA L KNEBEL                     6505 WARREN SHARON RD                                                                                 BROOKFIELD      OH    44403
MELISSA L MARTIN                     31 N CLOVER AVE                                                                                       NILES           OH    44446‐1653
MELISSA L MCLEOD                     106 PLYMOUTH AVE S                                                                                    SYRACUSE        NY    13211‐1836
MELISSA L NEACE                      7733 JEFFERSON DR                                                                                     CANAL WNCHSTR   OH    43110‐8853
MELISSA L SMITH                      4100 INDIAN LN                                                                                        DAYTON          OH    45416
MELISSA L TARASCHKE                  1533 PRIMROSE AVE                                                                                     TOLEDO          OH    43612‐4028
MELISSA L WALKER                     2121 EQUESTRIAN DR               APT 1B                                                               MIAMISBURG      OH    45342‐5609
MELISSA L WILLIAMS                   322 GROVE ST                                                                                          FAIRBORN        OH    45324‐3004
MELISSA LANGDON, PERSONAL REP OF THE REGAN LANGDON, DECEASED          C/O FRASER & SOUWEIDANE PC   10 S MAIN STE 302                       MT CLEMENS      MI    48043
ESTATE OF
MELISSA LEE HAYWORTH                 4415 DEMOREST HIGHLANDS LN                                                                            GROVE CITY      OH    43123‐‐ 10
MELISSA M ALLEN                      P.O. BOX 3701                                                                                         BROOKHAVEN      MS    39603‐7701
MELISSA M BEATTY                     PO BOX 20483                                                                                          KETTERING       OH    45420‐0483
MELISSA M HEARD                      1616 CARRIAGE DRIVE                                                                                   MIDDLETOWN      OH    45044
MELISSA M HUDSON                     2666 MIAMI VILLAGE DRIVE                                                                              MIAMISBURG      OH    45342‐4566
MELISSA M MEYERS                     5221 W COURT ST                                                                                       FLINT           MI    48532‐4114
MELISSA M MUELLER                    1825 2ND ST                                                                                           BAY CITY        MI    48708‐6205
MELISSA M POINT AND MARGARET         6849 VANPORT AVE                                                                                      WHITTIER        CA    90606
THOMAS
MELISSA M SMITH                      6185 GREENFIELD WAY                                                                                   DAYTON          OH 45424
MELISSA M SPEAKMAN                   283 GOLFWOOD DR                                                                                       W CARROLLTON    OH 45449‐1525
MELISSA M VOGEL                      ATTN THOMAS D FLINN ESQ          GARRITY GRAHAM MURPHY        ONE LACKAWANNA PLAZA                    MONTCLAIR       NJ 07044
                                                                      GAROFALO & FLINN PC
MELISSA M VOGEL                     ATTN THOMAS D FLINN ESQ           GARRITY GRAHAM MURPHY        72 EAGLE ROCK AVE      STE 350          EAST HANOVER     NJ   07936‐3100
                                                                      GAROFALO & FLINN PC
MELISSA M WENTWORTH                 905 E MOLLOY RD                                                                                        SYRACUSE        NY    13211‐1302
MELISSA MACE                        9701 E COUNTY ROAD 500 S                                                                               SELMA           IN    47383‐9768
MELISSA MAGEE                       540 TARLETON AVE                                                                                       EAST LANSING    MI    48823‐1458
MELISSA MANTIONE                    261 TREMONT ST                    P O BOX 1003                                                         N TONAWANDA     NY    14120‐6015
MELISSA MARCHLEWSKI                 6062 CURSON DR                                                                                         TOLEDO          OH    43612‐4013
MELISSA MARTINEZ                    902 AVE C                                                                                              ROBSTOWN        TX    78380
MELISSA MCALLISTER                  7722 MONTCLAIR DR                                                                                      FORT WAYNE      IN    46804‐3531
MELISSA MCCOY                       10714 DEEP CREEK CT                                                                                    FORT WAYNE      IN    46804‐6926
MELISSA MEDINA                      420 CAMBRIDGE STREET                                                                                   NAPOLEON        OH    43545‐2065
MELISSA MISEKOW                     5541 LAKECRESS DR S                                                                                    SAGINAW         MI    48603‐1688
MELISSA MISTOVICH                   17711 1/2 EDGEWATER DR                                                                                 LAKE MILTON     OH    44429‐9543
MELISSA N GREGG                     685 PRESTON DR                                                                                         WAYNESVILLE     OH    45068‐8457
MELISSA N HILL                      155 UPPER HILLSIDE DR                                                                                  BELLBROOK       OH    45305
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Name                    Address1                             Address2                         Address3                  Address4         City               State Zip
MELISSA N NELSON        8925 SR 503 NORTH                                                                                                LEWISBURG           OH 45338
MELISSA NICHOLS         3446 W FRANCES RD                                                                                                CLIO                MI 48420‐8537
MELISSA NOBLE           5289 S MALAYA CT                                                                                                 CENTENNIAL          CO 80015‐6430
MELISSA NOWAKOWSKI      960 E GARFIELD AVE                                                                                               HAZEL PARK          MI 48030‐1242
MELISSA OFFICER         11080 N STATE ROAD 1 LOT 153                                                                                     OSSIAN              IN 46777‐9779
MELISSA OLIVO           7096 BERESFORD AVE                                                                                               PARMA HEIGHTS       OH 44130‐5053
MELISSA PARKER          10062 QUIRK RD                                                                                                   BELLEVILLE          MI 48111‐1233
MELISSA PARKS           1038 CLOVERLAWN BLVD                                                                                             LINCOLN PARK        MI 48146‐4216
MELISSA PATTEN          364 CHINKAPIN TRL                                                                                                LAPEER              MI 48446‐4173
MELISSA PENCE           1863 SINGLETON ST                                                                                                INDIANAPOLIS        IN 46203‐3967
MELISSA PINION          12126 CARMELA DR                                                                                                 FENTON              MI 48430‐9640
MELISSA PONS            111 CADILLAC SQ APT 17F                                                                                          DETROIT             MI 48226‐4816
MELISSA PORTER          11365 BRAMWELL                                                                                                   REDFORD             MI 48239‐1345
MELISSA POWELL          1330 W ALEXIS RD LOT 135                                                                                         TOLEDO              OH 43612‐4280
MELISSA PRINCIPE        1465 HOOKSETT RD UNIT 216                                                                                        HOOKSETT            NH 03106‐1829
MELISSA PRYOR           4621 N HERMITAGE AVE UNIT 2                                                                                      CHICAGO              IL 60640‐4505
MELISSA R DILL          7355 MEADOW DR                                                                                                   TIPP CITY           OH 45371
MELISSA R FLEURY        318 BELVEDERE AVE SE                                                                                             WARREN              OH 44483‐‐ 61
MELISSA R GRIFFIN       5068 NORTHCREST DR                                                                                               DAYTON              OH 45414‐‐ 37
MELISSA R GULLEY        62 W BEVERLY AVE                                                                                                 PONTIAC             MI 48340‐2616
MELISSA R SMITH         1800 DARST AVE                                                                                                   DAYTON              OH 45403‐3106
MELISSA RATLIFF         200 MATLOCK MEADOW DR                                                                                            ARLINGTON           TX 76002‐3348
MELISSA REDEEMER        11203 BIG RIVER DR                                                                                               LAKE ST LOUIS       MO 63367‐1979
MELISSA ROTHSTEIN       802 BROOK ST                                                                                                     EATON RAPIDS        MI 48827‐1106
MELISSA RUMLEY          6 KENTWOOD DR                                                                                                    GREENCASTLE         IN 46135‐2400
MELISSA RYLE
MELISSA S BAKER         3340 POBST DR                                                                                                    KETTERING          OH    45420‐1040
MELISSA S CARPER        417 S HARRIS RD                                                                                                  YPSILANTI          MI    48198‐5939
MELISSA S DODGE         6559 HIGHBURY ROAD                                                                                               HUBER HEIGHTS      OH    45424
MELISSA S DRENNEN       1351 PATCHEN AVE SE                                                                                              WARREN             OH    44484‐2802
MELISSA S MYERS         8342 BROOKWOOD ST NE                                                                                             WARREN             OH    44484‐1553
MELISSA S RHODEN        121 PURITAN PL                                                                                                   DAYTON             OH    45420
MELISSA S SANTEE        331 N. YORKSHIRE BLVD.                                                                                           YOUNGSTOWN         OH    44515
MELISSA SAMUEL          PO BOX 420381                                                                                                    PONTIAC            MI    48342‐0381
MELISSA SARFF           220 S POLK ST                                                                                                    WINCHESTER         IN    47394‐1519
MELISSA SAUNDERS        373 GEORGIA DR                                                                                                   XENIA              OH    45385‐4890
MELISSA SCHNEIDER       17399 N. COUNTY ROAD, 150 EAST                                                                                   SUMMITVILLE        IN    46070
MELISSA SCHROYER‐RUIZ   568 BAYBERRY DR                                                                                                  ELYRIA             OH    44035‐8860
MELISSA SCHULZ          3110 N ALEXANDER AVE                                                                                             ROYAL OAK          MI    48073‐3513
MELISSA SEVERADO        319 W 15TH ST                                                                                                    GEORGETOWN         IL    61846‐1032
MELISSA SHAFER          2781 LAKESIDE DR                                                                                                 MANSFIELD          OH    44904‐1440
MELISSA SHAFFER         11860 WILSHIRE DR                                                                                                NORTH HUNTINGDON   PA    15642‐9580
MELISSA SHERWANI        C/O ROGER S BRAUGH JR / DAVID E HARNS SICO WHITE HOELSCHER & BRUAGH   802 N CARANCAHUA SUITE                     CORPUS CHRISTI     TX    78470
                                                              LLP                             900
MELISSA SHERWANI        ATTN: ROGER S BRAUGH JR/DAVID E       SICO, WHITE, HOELSCHER &        802 N CARANCAHUA, SUITE                    CORPUS CHRISTI      TX   78470
                        HARRIS                                BRAUGH, LLP                     900
MELISSA SIMPSON         371 MCCALL RD                                                                                                    ROCHESTER          NY    14616‐5259
MELISSA SMITH           755 2ND ST                                                                                                       FENTON             MI    48430‐4114
MELISSA SNYDER          581 SHELLBOURNE DR                                                                                               ROCHESTER HILLS    MI    48309‐1028
MELISSA SPARKS          207 SURREY LANE                                                                                                  CLARKSTON          MI    48346‐1456
MELISSA SPEAKMAN        283 GOLFWOOD DR                                                                                                  W CARROLLTON       OH    45449‐1525
MELISSA SPRAGUE         6010 S ORR RD                                                                                                    SAINT CHARLES      MI    48655‐9558
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Name                                   Address1                       Address2                       Address3   Address4         City               State Zip
MELISSA SROCK                          1195 FOREST LN                                                                            BLOOMFIELD HILLS    MI 48301‐4115
MELISSA STAHL                          607 S CANAL RD                                                                            LANSING             MI 48917‐9696
MELISSA STANDISH                       ACCT OF RICHARD T KOLOSICK     2565 B AND B BLVD                                          MERCED              CA 95348
MELISSA STOCKER                        160 N MAPLELEAF RD                                                                        LAPEER              MI 48446‐8003
MELISSA SZYBISTY                       38474 ELSIE ST                                                                            LIVONIA             MI 48154‐4804
MELISSA TANNER                         622 E WILLARD AVE                                                                         LANSING             MI 48910‐3448
MELISSA TAYLOR                         14657 COUNTY ROAD N65                                                                     PIONEER             OH 43554‐9679
MELISSA TESTA                          210 PINEVIEW DR NE                                                                        WARREN              OH 44484‐6412
MELISSA THOMAS                         6287 MEADOWGREENE DR                                                                      WATERFORD           MI 48327‐2949
MELISSA TIGHE                          325 ANTIOCH CHURCH RD                                                                     ALVATON             KY 42122‐9806
MELISSA TINCHER                        615 BRIARWOOD LN                                                                          BEDFORD             IN 47421‐7247
MELISSA TUNZI
MELISSA V BARGER                       4543 SEVILLE DR                                                                           ENGLEWOOD          OH   45322
MELISSA VALINSKY                       2925 S SCHENLEY AVE                                                                       YOUNGSTOWN         OH   44511‐2103
MELISSA VREDEVELD                      1322 BELLE AVE                                                                            FLINT              MI   48506‐3250
MELISSA WAALK                          3607 50TH ST                                                                              DES MOINES         IA   50310‐2651
MELISSA WAALK                          3630 COLUMBIA ST                                                                          DES MOINES         IA   50313
MELISSA WARREN                         6447 S STATE RD                                                                           GOODRICH           MI   48438‐8855
MELISSA WEINING                        3100 HARVEST LN                                                                           COOPERSVILLE       MI   49404‐8434
MELISSA WELLS                          5035 PAULA AVE                                                                            CLARKSTON          MI   48346‐2627
MELISSA WENDLING                       304 N UNION ST                                                                            LOUDONVILLE        OH   44842‐1336
MELISSA WENTZELL                       2342 BOTELER RD                                                                           BROWNSVILLE        MD   21715
MELISSA WIGER                          410 MOREN ROAD                                                                            LONDON             KY   40741‐2703
MELISSA WILKINS                        3252 N DEWITT RD                                                                          SAINT JOHNS        MI   48879‐9712
MELISSA WILLIAMS                       3256 COUNTY ROAD 217                                                                      TRINITY            AL   35673‐3749
MELISSA YOUNG                          13506 AUTUMN ASH CT                                                                       ROSHARON           TX   77583‐2156
MELISSA ZARZA                          3627 GILBERT ST                                                                           DETROIT            MI   48210‐2911
MELISSANDE R DEARDURFF                 9903 JULIE DR                                                                             YPSILANTI          MI   48197‐7093
MELISSARI, JOHN J                      7301 GREENBANK RD                                                                         BALTIMORE          MD   21220‐1115
MELITA GHOLSTON                        3127 WAYSIDE LN                                                                           ANDERSON           IN   46011‐2329
MELITA, PATRICIA S                     7860 ROLLING ACRES                                                                        YPSILANTI          MI   48198‐9555
MELITA, TIMOTHY J                      # 116                          66 ZEPHYR ROAD                                             WILLISTON          VT   05495‐7414
MELITA, TIMOTHY J                      17 FOREST RD                                                                              ESSEX JUNCTION     VT   05452‐3803
MELITAS MULTITUDES                     1423 CONWAY ST                                                                            FLINT              MI   48532‐4308
MELITO KENNETH (419337) ‐ BONELLI ROSE WILENTZ GOLDMAN & SPITZER      88 PINE STREET , WALL STREET                               NEW YORK           NY   10005
                                                                      PLAZA
MELITO KENNETH (419337) ‐ WALSH JOHN WILENTZ GOLDMAN & SPITZER        88 PINE STREET , WALL STREET                               NEW YORK           NY 10005
                                                                      PLAZA
MELITO, JAMES F                       9330 CAPE CHARLES AVE                                                                      NEW PORT RICHEY    FL   34655‐1538
MELITO, RICHARD J                     7584 EISENHOWER DR                                                                         BOARDMAN           OH   44512‐5709
MELITTA POWER                         106 PEPPERIDGE DR                                                                          ROCHESTER          NY   14626‐1310
MELITUS BREIER                        19940 BRIGGS RD                                                                            NEW LOTHROP        MI   48460‐9610
MELIUS GARY                           MELIUS, GARY                    152 N WELLWOOD AVE STE 1                                   LINDENHURST        NY   11757‐4091
MELIUS, DAVID L                       16024 HIMALAYA RDG                                                                         EDMOND             OK   73013‐1226
MELIUS, DAWN C
MELIUS, GARY                          ALPERT, MICHAEL W               152 N WELLWOOD AVE STE 1                                   LINDENHURST        NY   11757‐4091
MELIUS, ROGER                         BELZ PAUL WILLIAM               36 CHURCH ST                                               BUFFALO            NY   14202‐3905
MELIUS, SHARON                        222 SPRUCEWOOD TER                                                                         WILLIAMSVILLE      NY   14221‐4739
MELKE, KENNETH G                      38774 L'ANSE CREUSE                                                                        HARRISON TWP       MI   48045
MELKERSON ERIC                        106 BRAMBLE CT                                                                             WINCHESTER         VA   22602‐6809
MELKERSON, PHYLLIS Y                  6795 E MAIN ST                                                                             CASS CITY          MI   48726‐1554
MELKERSON, PHYLLIS Y                  6795 MAIN ST                                                                               CASS CITY          MI   48726‐1554
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Name                                Address1                          Address2                            Address3               Address4                 City             State Zip
MELKERT, HERBERT F                  36880 MAIN ST                                                                                                         NEW BALTIMORE     MI 48047‐1617
MELKI, ALEXANDER A                  3834 RED ARROW RD APT C2                                                                                              FLINT             MI 48507‐5424
MELKI, MICHAEL M                    5350 CHIN MAYA DR                 C/O CHARLES MELKI                                                                   SWARTZ CREEK      MI 48473‐8611
MELKOTE, SANJAY R                   30 CAMBRIDGEPARK DR APT 3103                                                                                          CAMBRIDGE         MA 02140
MELKVIK, LESLIE R                   10820 GAMEWOOD DR                                                                                                     SOUTH LYON        MI 48178‐8820
MELL BRANHAM                        8701 S STATE ROAD 109                                                                                                 MARKLEVILLE       IN 46056‐9715
MELL CHEVROLET COMPANY              305 S 1ST ST                                                                                                          SHELTON           WA 98584‐2245
MELL CHEVROLET COMPANY              ARTHUR MELL                       305 S 1ST ST                                                                        SHELTON           WA 98584‐2245
MELL LATEEF                         972 CHANDLER RD                                                                                                       LAWRENCEVILLE     GA 30045‐8166
MELL, EUGENE W                      8429 SW 82ND CIR                                                                                                      OCALA             FL 34481‐5538
MELLA IRVIN                         8085 N MORLEY DR                                                                                                      WILLIS            MI 48191‐9683
MELLA, RAFFAELE                     15 LEARY ST                                                                                                           EASTCHESTER       NY 10709‐3615
MELLA, RAMON                        8312 S 77TH CT                                                                                                        BRIDGEVIEW         IL 60455‐1743
MELLACE, JOSEPHINE                  RHOADES JOSEPH J LAW OFFICES OF   1225 N KING ST STE 1200                                                             WILMINGTON        DE 19801‐3254
MELLACHERUVU, SRINIVAS              42735 LANCELOT CT                                                                                                     NOVI              MI 48377‐2036
MELLADO, BEATRICE                   2075 OLD LANE                                                                                                         WATERFORD         MI 48327‐1332
MELLADO, BEATRICE                   2075 OLD LN                                                                                                           WATERFORD         MI 48327‐1332
MELLADO, ISOLINA P                  PO BOX 26                                                                                                             CASS CITY         MI 48726‐0026
MELLADO, JOSE                       3330 BLASSER DR                                                                                                       ORION             MI 48359‐1106
MELLADO, MARIA                      540 E 3RD AVE                                                                                                         ROSELLE           NJ 07203‐1565
MELLADO, MARIA                      540 EAST 3RD AVENUE                                                                                                   ROSELLE           NJ 07203‐1565
MELLAN, ELVIE                       C/O JAMES ALLEN                   1314 MEADOW GREEN LN                                                                LINDEN            MI 48451
MELLAN, ELVIE                       1314 MEADOW GREEN LANE                                                                                                LINDEN            MI 48451‐9402
MELLANBY SCOTT                      2548 TOWN AND COUNTRY LANE                                                                                            SAINT LOUIS       MO 63131‐1121
MELLAND, PAUL F                     26530 TRUMBLE RD                                                                                                      SUN CITY          CA 92585‐9239
MELLANIE NOWLAN                     1104 SIMPSON DR                                                                                                       HURST             TX 76053‐4526
MELLANO GIOVANNI MELLANO GIUSEPPE   FRAZ TORRAZZA 5 A                                                                            12037 SALUZZO CN ITALY

MELLAS, ASPASIA Z                   904 CORRENTE LN                                                                                                       VIRGINIA BEACH   VA    23456
MELLAS, KATHRYN L                   3202 LOON LAKE SHORES RD                                                                                              WATERFORD        MI    48329‐4228
MELLAS, SPYROS P                    3202 LOON LAKE SHORES RD                                                                                              WATERFORD        MI    48329‐4228
MELLBERG, KERRY D                   6039 BELSAY RD                                                                                                        GRAND BLANC      MI    48439‐9734
MELLBERG, WENDELL C                 9906 EDGEWOOD AVE                                                                                                     TRAVERSE CITY    MI    49684‐8174
MELLE, JOE L                        612 LINCOLN LAKE AVE NE                                                                                               LOWELL           MI    49331‐9707
MELLEM, CHERYL                      17431 RUSTIC HILLS DR                                                                                                 EDEN PRAIRIE     MN    55346‐1222
MELLEMSTRAND INGBUR (355947)        ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                                 NEW YORK         NY    10006‐1638
MELLEMSTRAND, INGBUR                ANGELOS PETER G LAW OFFICE        115 BROADWAY FRNT 3                                                                 NEW YORK         NY    10006‐1638
MELLEN JOHN                         LYNNE KIZIS, ESQ                  WILENTZ, GOLDMAN, AND SPTIZER       90 WOODBRIDGE CENTER                            WOODBRIDGE       NJ    07095
                                                                                                          DRIVE
MELLEN, JOHN                        WILENTZ GOLDMAN & SPITZER         88 PINE STREET, WALL STREET PLAZA                                                   NEW YORK         NY 10005

MELLEN, LEON A                      4805 WALDON RD                                                                                                        CLARKSTON        MI    48348‐5017
MELLEN, MARY                        2101 ARCADIA ST                                                                                                       CLINTON          MO    64735‐2411
MELLEN, MICHAEL F                   871 INGLEWOOD AVE                                                                                                     PONTIAC          MI    48340
MELLENDORF SHANE                    MELLENDORF, SHANE                 591 MAIN STREET                                                                     KINDE            MI    48445
MELLENDORF, BRUCE D                 5196 PARK DR                                                                                                          FAIRGROVE        MI    48733‐9701
MELLENDORF, DEBRA F                 7557 AUBREY RIDGE DR                                                                                                  FAIRVIEW         TN    37062‐8928
MELLENDORF, SHANE                   591 MAIN ST                                                                                                           KINDE            MI    48445‐9788
MELLENTHIN DAVID                    MELLENTHIN, DAVID                 120 WEST MADISON STREET , 10TH                                                      CHICAGO          IL    60602
                                                                      FLOOR
MELLENTHIN, DAVID                   KROHN & MOSS ‐ WI                 120 WEST MADISON STREET, 10TH                                                       CHICAGO           IL   44114
                                                                      FLOOR
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Name                          Address1                         Address2                         Address3                     Address4         City               State Zip
MELLENTINE, EDWARD J          307 E BROWNELL ST                                                                                               BANNISTER           MI 48807‐5113
MELLENTINE, JOSEPH M          8205 VOLKMER RD                                                                                                 CHESANING           MI 48616‐9748
MELLENTINE, LINDA F           1030 S DURAND RD                                                                                                LENNON              MI 48449‐9631
MELLENTINE, MICHAEL J         1030 S DURAND RD                                                                                                LENNON              MI 48449‐9631
MELLER, DAVID G               31526 NORTHWOOD                                                                                                 FRASER              MI 48026‐2463
MELLER, LARRY D               9824 BERWICK STREET                                                                                             LIVONIA             MI 48150‐2814
MELLER, OSCAR                 41354 S ANNAPOLIS CIR.           LOT #1                                                                         CANTON              MI 48188
MELLEROWICZ, JOHN B           2638 PINE RIDGE ROAD                                                                                            W BLOOMFIELD        MI 48324‐1957
MELLERSON, DOUGLAS            374 LISBON AVE                                                                                                  BUFFALO             NY 14215‐1030
MELLERSON, THOMAS             3 STOUT RUN CT                                                                                                  BALTIMORE           MD 21228‐2438
MELLERT, ALICE G              28083 WILDWOOD TRL                                                                                              FARMINGTON HILLS    MI 48336‐2269
MELLERT, KARL R               645 SUMMERWIND DRIVE                                                                                            CROSSVILLE          TN 38571‐3698
MELLESMOEN LUKE               MELLESMOEN, LUKE                 PROGRESSIVE                      12450 RIVER RIDGE LN SUITE                    BURNSVILLE          MN 55337
                                                                                                100
MELLESMOEN, LUKE              PROGRESSIVE                      12450 RIVER RIDGE BLVD STE 100                                                 BURNSVILLE         MN   55337‐1676
MELLET, EDWARD W              1530 NEWTON CIR                                                                                                 ROCHESTER HLS      MI   48306‐3051
MELLETT SR, JOSEPH C          83 COLONIAL DR                                                                                                  DEDHAM             MA   02026‐2246
MELLETT, BERNARD T            47660 MOUNT VESUVIUS DR                                                                                         MACOMB             MI   48044‐2664
MELLGARD, NILS P              2212 HOLIDAY LN                                                                                                 LANSING            MI   48917‐1342
MELLICHA HORNSBY              259 PHILLIPS RD                                                                                                 BAILEYTON          AL   35019‐8301
MELLICK, GUY C                2519 MORAY LN                                                                                                   CEDAR PARK         TX   78613‐4339
MELLICK, PHILLIP              220 CHARIOT CT                                                                                                  LOUISVILLE         KY   40219‐4556
MELLIE EVERHART               PO BOX 35                                                                                                       SHEFFIELD          AL   35660‐0035
MELLIE HENDRICKS              1456 MALLARD CIR                                                                                                OWOSSO             MI   48867‐1986
MELLIE JERRELL                4229 ENGLISH AVE                                                                                                INDIANAPOLIS       IN   46201‐4505
MELLIEON JR, JAMES S          58625 IRON FARM ROAD                                                                                            PLAQUEMINE         LA   70764‐3023
MELLIGAN, PHYLLIS             P O BOX 43                                                                                                      GLOUSTER           OH   45372
MELLILO, LUCILLE I            164 GARSIDE ST                                                                                                  NEWARK             NJ   07104‐1912
MELLIN JR, GROVER C           10634 KENICOTT TRL                                                                                              BRIGHTON           MI   48114‐9075
MELLIN, ROBERT C              115 WOODFIELD PL                                                                                                CENTERVILLE        OH   45459‐4629
MELLING AUTOMOTIVE PRODUCTS   2620 SARADAN DR                  PO BOX 1188                                                                    JACKSON            MI   49202‐1214
MELLING PROD/FARWELL          333 GRACE ST                                                                                                    FARWELL            MI   48622‐9702
MELLING PRODUCTS CORP         JON WEDEMEYER 124                333 GRACE ST                                                                   ITHACA             MI   48847
MELLING PRODUCTS CORP         333 GRACE ST                                                                                                    FARWELL            MI   48622‐9702
MELLING TOOL CO                                                2620 SARADAN DR                                                                JACKSON            MI   49202‐1214
MELLING TOOL CO               2620 SARADAN DR                                                                                                 JACKSON            MI   49202‐1214
MELLING TOOL CO               2620 SARADAN DR                  PO BOX 1188                                                                    JACKSON            MI   49202‐1214
MELLING TOOL CO               333 GRACE ST                                                                                                    FARWELL            MI   48622‐9702
MELLING TOOL CO               JON WEDEMEYER 124                333 GRACE ST                                                                   ITHACA             MI   48847
MELLING TOOL CO               JON WEDEMEYER‐124                PO BOX 1188/2620                                                               SHEBOYGAN          WI   53082
MELLING TOOL CO.              JON WEDEMEYER‐124                PO BOX 1188/2620                                                               SHEBOYGAN          WI   53082
MELLING, DONALD G             63 CRESTHAVEN DR                                                                                                CHEEKTOWAGA        NY   14225‐1119
MELLING, DONALD GEORGE        63 CRESTHAVEN DR                                                                                                CHEEKTOWAGA        NY   14225‐1119
MELLING, RICHARD              16444 TERRA BELLA ST                                                                                            CLINTON TOWNSHIP   MI   48038‐4075
MELLING, ROSEMARY             4030 NONAVILLE RD                                                                                               MOUNT JULIET       TN   37122
MELLINGER JR, EDWARD M        2423 LINCOLNWOOD DR                                                                                             EVANSTON           IL   60201‐2050
MELLINGER, HARRY A            12 PAGEANT LN                                                                                                   OLMSTED FALLS      OH   44138‐2945
MELLINGER, HERBERT E          1087 JENNA DR                                                                                                   DAVISON            MI   48423‐3601
MELLINGER, KRISTINA
MELLINGER, MARK W             15681 FEATHERSTONE RD                                                                                           CONSTANTINE        MI 49042‐9767
MELLINGER, RAY E              2614 IDA AVE                                                                                                    NORWOOD            OH 45212‐4214
MELLINGER, ROBERT L           476 AETNA ST.                                                                                                   SALEM              OH 44460
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Name                             Address1                        Address2           Address3                 Address4         City               State Zip
MELLINGER, ROGER G               407 DENISE DR                                                                                MARSHALL            TX 75672‐8409
MELLINGER, ROGER GEORGE          407 DENISE DR                                                                                MARSHALL            TX 75672‐8409
MELLINGER, SUSAN E               9235 LISBON RD                                                                               CANFIELD            OH 44406‐9438
MELLIO, LORRAINE A               918 STRECKER RD W                                                                            MILAN               OH 44846‐9715
MELLIOS, GEORGE N                3421 W SAGINAW HWY                                                                           MULLIKEN            MI 48861‐9609
MELLIS, JEFFREY J                3905 QUARTON RD                                                                              BLOOMFIELD HILLS    MI 48302‐4060
MELLIS, LUANNE S                 3905 QUARTON RD                                                                              BLOOMFIELD HILLS    MI 48302‐4060
MELLIS, ROBERT C                 120 OONOGA WAY                                                                               LOUDON              TN 37774‐3014
MELLISH, GEORGE C                8652 SILVERWOOD RD                                                                           SILVERWOOD          MI 48760‐9506
MELLISH, MARIE A                 911 MELLISH DR                                                                               LAPEER              MI 48446‐3340
MELLISSA BROWN                   15371 SORRENTO ST                                                                            DETROIT             MI 48227‐4023
MELLISSA REESE                   10705 MOORISH RD                                                                             BIRCH RUN           MI 48415‐8460
MELLITA L NEELY                  7511 ARUNDEL RD                                                                              TROTWOOD            OH 45426‐3801
MELLO ANTONE (TONY)              MELLO, ANTONE
MELLO SHARON E                   5932 MAIN STREET                                                                             E PETERSBURG       PA   17520‐1520
MELLO, ANTONE B                  1559 GRANDVIEW DR                                                                            ROCHESTER HILLS    MI   48306‐4039
MELLO, CARLA L                   123 LICHEN CT                                                                                FREMONT            CA   94538‐2422
MELLO, CAROLYN S                 1224 MOUNTAIN VIEW LN                                                                        MOLALLA            OR   97038‐7374
MELLO, CYRIL J                   2181 SALT MYRTLE LN                                                                          ORANGE PARK        FL   32003‐7075
MELLO, GEORGE E                  8239 KENSINGTON BLVD            B20‐A462                                                     DAVISON            MI   48423
MELLO, GERALD J                  701 LAWTON ST                                                                                FALL RIVER         MA   02721‐4801
MELLO, GREGORY R                 3968 WILDFLOWER CMN                                                                          FREMONT            CA   94538‐5571
MELLO, JEFF                      341 TENNYSON RD                                                                              HAYWARD            CA   94544‐5463
MELLO, JOSEPH M                  116 WILSON ST                                                                                NORWOOD            MA   02062‐1737
MELLO, MICHAEL J                 12410 SESA PINES DR                                                                          DEWITT             MI   48820‐9395
MELLO, ROBERT M                  PO BOX 33                                                                                    LELAND             MI   49654‐0033
MELLOCH, MEDARD L                N12742 LASSACK RD                                                                            WAUSAUKEE          WI   54177‐9509
MELLODEE BISHOP                  153 N HILLS DR                                                                               MANSFIELD          LA   71052‐2100
MELLODGE, JAMES E                PO BOX 372                                                                                   STOCKTON           NJ   08559‐0372
MELLODGE, JOHN                   528 GREENWAY AVE                                                                             EWING              NJ   08618‐2433
MELLODGE, MARY K                 PO BOX 372                                                                                   STOCKTON           NJ   08559‐0372
MELLOH, CARL E                   2826 E CROSS ST                                                                              ANDERSON           IN   46012‐9563
MELLOH, EDWARD E                 8307 W SYCAMORE RD                                                                           FAIRLAND           IN   46126‐9657
MELLOM, KENNETH D                4025 SKYVIEW DR                                                                              JANESVILLE         WI   53546‐2018
MELLOM, MAUREEN E                415 WINNEBAGO DRIVE                                                                          JANESVILLE         WI   53545‐4338
MELLOM, RICHARD D                400 E MANOGUE RD                                                                             MILTON             WI   53563‐9608
MELLOM, RICHARD D                400 EAST MANOGUE ROAD                                                                        MILTON             WI   53563‐9608
MELLON ASSOCIATES                ACCT OF JOAN C DELGAUDIO
MELLON BANK                      3 MELLON BANK CTR                                                                            PITTSBURGH         PA   15259‐0001
MELLON BANK                      FOR DEPOSIT TO THE ACCOUNT OF   PO BOX 535006      P R SMITH                                 PITTSBURGH         PA   15253‐5006
MELLON BANK                      FOR DEPOSIT TO THE ACCOUNT OF   S TUTTLE           500 ROSS STREET                           PITTSBURGH         PA   15262‐0001
MELLON BANK ‐ GMAC DEMAND NOTE   FOR DEPOSIT IN THE ACCOUNT OF   A CLAY             500 ROSS ST ‐ 154‐0510                    PITTSBURGH         PA   15262‐0001
MELLON BANK NA                   FOR DEPOSIT IN THE ACCOUNT OF   A RIENAS           500 ROSS ST 154‐0510                      PITTSBURGH         PA   15262‐0001
MELLON BANK NA                   FOR DEPOSIT TO THE ACCOUNT OF   P BANDYOPADHYAY    500 ROSS ST 154‐0510                      PITTSBURGH         PA   15262‐0001
MELLON BANK NA                   1 MELLON BANK CTR                                                                            PITTSBURGH         PA   15258‐0001
MELLON BANK PITTSBURGH
MELLON BANK‐GMAC DEMAND NOTE     FOR DEPOSIT IN THE ACCOUNT OF   D LK               500 ROSS STREET                           PITTSBURGH         PA   15262‐0001
MELLON BANK/GMAC DEMAND NOTES    FOR DEPOSIT IN THE ACCOUNT OF   PO BOX 535006      V ROSENKRANZ                              PITTSBURGH         PA   15253‐5006
MELLON BANK/PITTSBRG             TRUST AND INVESTMENT            P.O. BOX 371791M                                             PITTSBURGH         PA   15251
MELLON COLLEEN                   20536 W WALTON DR                                                                            BUCKEYE            AZ   85396
MELLON FINANCIAL CORP            FOR DEPOSIT IN THE A/C OF       PO BOX 535006      C PASCOE                                  PITTSBURGH         PA   15253‐5006
MELLON FINANCIAL CORP            500 ROSS ST                                                                                  PITTSBURGH         PA   15262‐0001
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Name                                Address1                             Address2                      Address3                   Address4         City               State Zip
MELLON GLOBAL SECURITIES SERVICES   PO BOX 371791                                                                                                  PITTSBURGH          PA 15251‐7791
MELLON JR, WILLIAM R                2149 GRICE LN                                                                                                  KETTERING           OH 45429‐4120
MELLON U.S. LEASING                 44 OLD RIDGEBURY ROAD                                                                                          DANBURY             CT 06810
MELLON U.S. LEASING                 6060 OLD RIDGEBURY ROAD                                                                                        DANBURY             CT 06810
MELLON U.S. LEASING                 525 MARKET STREET                    SUITE 3500                                                                SAN FRANCISCO       CA 94105
MELLON U.S. LEASING                 ATTN: CORPORATE OFFICER/AUTHORIZED   44 OLD RIDGEBURY ROAD                                                     DANBURY             CT 06810
                                    AGENT
MELLON U.S. LEASING                 ATTN: CORPORATE OFFICER/AUTHORIZED   6060 OLD RIDGEBURY ROAD                                                   DANBURY             CT   06810
                                    AGENT
MELLON U.S. LEASING                 ATTN: CORPORATE OFFICER/AUTHORIZED   525 MARKET ST STE 3500                                                    SAN FRANCISCO      CA 94105‐2743
                                    AGENT
MELLON US LEASING                   ATTN: CORPORATE OFFICER/AUTHORIZED   525 MARKET ST STE 3500                                                    SAN FRANCISCO      CA 94105‐2743
                                    AGENT
MELLON US LEASING                   ATTN: CORPORATE OFFICER/AUTHORIZED   44 OLD RIDGEBURY ROAD                                                     DANBURY             CT   06810
                                    AGENT
MELLON US LEASING                   ATTN: CORPORATE OFFICER/AUTHORIZED   6060 OLD RIDGEBURY ROAD                                                   DANBURY             CT   06810
                                    AGENT
MELLON US LEASING                   A DIVISION OF MELLON LEASING         ATTN: CORPORATE               44 OLD RIDGEBURY ROAD                       DANBURY             CT   06810
                                    CORPORATION                          OFFICER/AUTHORIZED AGENT
MELLON US LEASING                   44 OLD RIDGEBURY RD                                                                                            DANBURY            CT    06810
MELLON US LEASING                   525 MARKET ST                        SUITE 3500                                                                SAN FRANCISCO      CA    94105‐2743
MELLON US LEASING                   6060 OLD RIDGEBURY ROAD                                                                                        DANBURY            CT    06810
MELLON US LEASING                   A DIVISION OF MELLON LEASING         44 OLD RIDGEBURY ROAD                                                     DANBURY            CT    06810
                                    CORPORATION
MELLON, BONITA J                    3058 EGLESTON AVE                                                                                              FLINT              MI    48506‐2179
MELLON, CRYSTAL M                   33 OHIO ST                                                                                                     FAIRBORN           OH    45324‐4505
MELLON, DEBRA A                     1903 N GILBERT ST                                                                                              DANVILLE           IL    61832‐1746
MELLON, EARL S                      27685 N 1575 EAST RD                                                                                           DANVILLE           IL    61834‐6018
MELLON, JAMES A                     635 REGINA CIR                                                                                                 OAKLAND            FL    34787‐8962
MELLON, JAMES M                     2446 HYTHE LN                                                                                                  CLERMONT           FL    34711‐6973
MELLON, JERRY D                     PO BOX 31                                                                                                      OTISVILLE          MI    48463‐0031
MELLON, JERRY DWANE                 PO BOX 31                                                                                                      OTISVILLE          MI    48463‐0031
MELLON, JOHN J                      36105 MAIN ‐ APT 1                                                                                             NEW BALTIMORE      MI    48047‐2143
MELLON, MARVIN L                    4615 N HOLLAND SYLVANIA RD APT 12                                                                              TOLEDO             OH    43623‐2560
MELLON, MARY J                      PO BOX 73                                                                                                      MILAN              OH    44846‐0073
MELLON, ROBERT E                    33 OHIO ST                                                                                                     FAIRBORN           OH    45324‐4505
MELLON, SHARON A                    4370 LAKESIDE CIR APT 243                                                                                      SAGINAW            MI    48603‐1350
MELLON, WAYNE H                     201 AUGUSTA DR                                                                                                 N SYRACUSE         NY    13212‐3231
MELLON‐ENGEBRETSEN, CAROL L         PO BOX 168                           16056 WATER ST                                                            GARDEN             MI    49835‐0168
MELLON‐SMITH, KIMBERLY E            668 WHISPERING OAKS PL                                                                                         THOUSAND OAKS      CA    91320‐4119
MELLON/GMAC DEMAND NOTES            FOR DEPOSIT TO THE ACCOUNT OF        R PARANJPE                    500 ROSS STREET 154‐0510                    PITTSBURGH         PA    15262‐0001
MELLON/GMAC DEMAND NOTES            FOR DEPOSIT TO THE ACCOUNT OF        H ROMER                       500 ROSS STREET 154‐0510                    PITTSBURGH         PA    15262‐0001
MELLONE, PASQUALE A                 9510 S KOLMAR AVE                    APT 410                                                                   OAKLAWN            IL    60453
MELLONE, PASQUALE A                 9510 S KOLMAR AVE APT 410                                                                                      OAK LAWN           IL    60453‐7212
MELLONEE BROWN                      1026 W SHIAWASSEE ST                                                                                           LANSING            MI    48915‐1865
MELLOR, MARY G                      977 ADAMS CASTLE DR                                                                                            BLOOMFIELD HILLS   MI    48304‐3714
MELLOR, THOMAS J                    164 WILSON AVE                                                                                                 QUINCY             MA    02170‐1025
MELLOS, ANTONIA                     PARKS & NAJAR PLC                    1625 W BIG BEAVER RD STE A                                                TROY               MI    48084‐3538
MELLOS, STEVEN P
MELLOTT BRENDA                      17121 SHINNECOCK DRIVE                                                                                         MACOMB             MI 48042‐6205
MELLOTT GROVER C (429441)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                               NORFOLK            VA 23510
                                                                         STREET, SUITE 600
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Name                            Address1                        Address2                      Address3   Address4         City               State Zip
MELLOTT, BETTY A                4125 HACKBERRY                  P.O. BOX 147                                              BRIDGEPORT          MI 48722‐9504
MELLOTT, BETTY A                4125 HACKBERRY RD               P.O. BOX 147                                              BRIDGEPORT          MI 48722‐9504
MELLOTT, BEVERLY L              13314 DRAPER RD                                                                           CLEAR SPRING        MD 21722‐1325
MELLOTT, CRAIG G                7820 FORT ST. BOX 70                                                                      OLD FORT            OH 44861
MELLOTT, DIANE                  777 OHIO ST                                                                               NORTH TONAWANDA     NY 14120‐1939
MELLOTT, DONALD C               9790 E LANSING RD                                                                         DURAND              MI 48429‐1045
MELLOTT, DOUGLAS A              16340 STATE ROUTE 108                                                                     FAYETTE             OH 43521‐9724
MELLOTT, FREDA M                709 W FITZGERALD ST APT A9                                                                DURAND              MI 48429‐1574
MELLOTT, GENE R                 HC1 BOX 1209                                                                              ISABELLA            MO 65676
MELLOTT, GLENN L                9572 GREEN VINEYARD AVE                                                                   LAS VEGAS           NV 89148‐4582
MELLOTT, GROVER C               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                STREET, SUITE 600
MELLOTT, HELEN L                17931 CLUBHOUSE DR                                                                        HAGERSTOWN         MD   21740‐7953
MELLOTT, HENRY D                53985 JEWELL RD                                                                           SHELBY TWP         MI   48315‐1737
MELLOTT, JESSE E                1259 JULIA DR SW                                                                          WARREN             OH   44481‐9630
MELLOTT, LARRY G                1582 STATE ROUTE 97 E                                                                     BELLVILLE          OH   44813‐1224
MELLOTT, MARVIN E               18511 KENT AVE                                                                            HAGERSTOWN         MD   21740‐9557
MELLOTT, MICHAEL L              4262 WOODMERE DR                                                                          YOUNGSTOWN         OH   44515‐3518
MELLOTT, PAUL R                 13266 W PINE LAKE RD                                                                      SALEM              OH   44460‐9120
MELLOTT, PHILBERT L             11506 ERNSTVILLE RD                                                                       BIG POOL           MD   21711‐1208
MELLOTT, RICHARD G              4945 DUNDALE CT                                                                           SAGINAW            MI   48638‐5576
MELLOTT, STANLEY J              2641 DAVID DR                                                                             NIAGARA FALLS      NY   14304‐4618
MELLOTTE FRANKLIN H (439330)    GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                STREET, SUITE 600
MELLOTTE, FRANKLIN H            GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
MELLOVE L MCFARLAND             5437 CRAWFORD ROAD                                                                        BROOKVILLE         OH   45309‐9750
MELLOVE MCFARLAND               5437 CRAWFORD TOMS RUN RD                                                                 BROOKVILLE         OH   45309‐9750
MELLOW, EDITH                   7216 RODGERS ST                                                                           GENESEE            MI   48437‐7707
MELLOW, JUDY A.                 7216 RODGERS ST                                                                           GENESEE            MI   48437‐7707
MELLOW, JUDY A.                 7216 ROGERS                                                                               GENESEE            MI   48437
MELLOW, MARGUERITE L            4201 SHAWNEE AVE                                                                          FLINT              MI   48507‐2867
MELLOW, MARGUERITE LOUISE       4201 SHAWNEE AVE                                                                          FLINT              MI   48507‐2867
MELLS, LYNN T                   28741 STUART AVE                                                                          SOUTHFIELD         MI   48076‐2953
MELLS, VICTORIA F               20150 WOODBINE ST                                                                         DETROIT            MI   48219‐1034
MELLS, VICTORIA FRANCINE        20150 WOODBINE ST                                                                         DETROIT            MI   48219‐1034
MELLUS, LYNN P                  20 PEACHTREE LN                                                                           PINEHURST          NC   28374‐6818
MELLUSI RAFFAELE (472942)       WEITZ & LUXENBERG               180 MAIDEN LANE                                           NEW YORK           NY   10038
MELLUSI, RAFFAELE               WEITZ & LUXENBERG               180 MAIDEN LANE                                           NEW YORK           NY   10038
MELLWIG LEONARD W SR (478027)   (NO OPPOSING COUNSEL)
MELLWIG, LEONARD W              671 HIGHLAND AVE                                                                          CHERRY HILL        NJ   08002
MELLY LEE                       136 AMBERFIELD CT                                                                         BOWLING GREEN      KY   42104‐8590
MELLY MELL PROMOTIONS           812 E JERSEY ST APT 10                                                                    ELIZABETH          NJ   07201‐2772
MELMA BAGWELL                   1129 S DELPHOS ST                                                                         KOKOMO             IN   46902‐1728
MELMS, MARK K                   15992 CHELMSFORD ST                                                                       CLINTON TOWNSHIP   MI   48038‐3214
MELMS, SHIRLEY A                1610 DRAPER STREET                                                                        BARABOO            WI   53913
MELMS, SHIRLEY A                1610 DRAPER ST                                                                            BARABOO            WI   53913‐1237
MELNICK, GEORGE A               16511 SHILLING RD                                                                         BERLIN CENTER      OH   44401‐8708
MELNICK, JOHN                   404 TENNYSON AVE                                                                          SYRACUSE           NY   13204‐2519
MELNICK, LEONARD W              254 MARMOOR CT                                                                            ROCHESTER HILLS    MI   48309‐1782
MELNICK, LOUIS J                11965 N SANFORD RD                                                                        MILAN              MI   48160‐9779
MELNIK, CHARLES H               5132 S BRANCH RD                                                                          LONG LAKE          MI   48743‐9701
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Name                        Address1                            Address2                         Address3   Address4            City               State Zip
MELNIK, GERALDINE E         1245 PORTSMOUTH DR                                                                                  HOWELL              MI 48843‐6861
MELNIK, IRENE               1580 FULLERTON                                                                                      WATERFORD           MI 48328‐4321
MELNIK, JOHN M              1013 CENTER ST E                                                                                    WARREN              OH 44481‐9356
MELNIK, JUNE P              155 E STATE ST APT 216                                                                              NILES               OH 44446‐5043
MELNIK, MARIA               518 S LUZERNE AVE                                                                                   BALTIMORE           MD 21224‐3715
MELNIK, PAMELA              6449 KAHANA WAY                                                                                     SARASOTA            FL 34241‐5526
MELNIK, PETER               1125 SHADOW RIDGE DR                                                                                NILES               OH 44446‐3559
MELNIK, RAYMOND N           1245 PORTSMOUTH DR                                                                                  HOWELL              MI 48843‐6861
MELNIK, SANDRA F            1013 CENTER ST E                                                                                    WARREN              OH 44481‐9356
MELNIK, VIVIENNE M.         28464 ELMIRA ST                                                                                     LIVONIA             MI 48150‐3105
MELNIK, VIVIENNE M.         28464 ELMIRA                                                                                        LIVONIA             MI 48150‐3105
MELNIKAS, SANDRA F          14711 WYANDOTTE ST.                                                                                 VAN NUYS            CA 91405‐1822
MELNIKAS, VINCENZA          22238 BRIAN ST                                                                                      TAYLOR              MI 48180‐2771
MELNYCZENKO, MICHAEL M      14560 RICE DR                                                                                       STERLING HTS        MI 48313‐2938
MELNYCZUK, DOLORES          2336 HOLLY AVE                                                                                      LAKE HAVASU CITY    AZ 86403
MELNYCZUK, PENELOPE A       15820 CROATIA DR                                                                                    CLINTON TWP         MI 48038‐3306
MELNYK, JOHN                10421 S CAROLINA ST                                                                                 OSCODA              MI 48750‐1911
MELNYK, KASIMIR             925 BATES AVE                                                                                       THREE RIVERS        MI 49093‐1003
MELNYK, MYKOLA              4008 N GRANT ST                                                                                     WESTMONT             IL 60559‐1314
MELNYK, RITA E              24 GRAPEVINE RD                                                                                     LEVITTOWN           PA 19057‐3302
MELNYK, RITA E              24 GRAPEVINE ROAD                                                                                   LEVITTOWN           PA 19057‐3302
MELNYK, SAMUEL J            354 SILMAN ST                                                                                       FERNDALE            MI 48220‐2570
MELNYK, WALTER              27 E 11TH ST                                                                                        LINDEN              NJ 07036‐3304
MELNYKOWICZ, ROBERT J       614 WILSON ST                                                                                       CONKLIN             MI 49403‐9710
MELO RAFAEL B               FIGUEIREDO, CLAUDEIR JOSE           1800 JOHN F. KENNEDY BOULEVARD                                  PHILADELPHIA        PA 19103
                                                                11TH FLOOR
MELO RAFAEL B               MCCULLEY, ROBERT E                  1800 JOHN F. KENNEDY BOULEVARD                                  PHILADELPHIA        PA 19103
                                                                11TH FLOOR
MELO RAFAEL B               MELO, RAFAEL B                      1800 JOHN F. KENNEDY BOULEVARD                                  PHILADELPHIA        PA 19103
                                                                11TH FLOOR
MELO RAFAEL B               SOUZA, CARLOS                       1800 JOHN F. KENNEDY BOULEVARD                                  PHILADELPHIA        PA 19103
                                                                11TH FLOOR
MELO, ANDRES R              507 S WILSON AVE                                                                                    ROYAL OAK           MI 48067‐2948
MELO, ARACELY PEREZ
MELO, ARELY PEREZ
MELO, CARMEN RESENDEZ
MELO, EVANGELINA            1302 FENNER COURT                                                                                   FRANKLIN           TN 37067‐8537
MELO, EVANGELINA            1302 FENNER CT                                                                                      FRANKLIN           TN 37067‐8537
MELO, FILEMON
MELO, JOSE FELIX
MELO, RAFAEL B              WOLOSHIN & KILLINO, PC              1800 JOHN F. KENNEDY BOULEVARD                                  PHILADELPHIA        PA 19103
                                                                11TH FLOOR
MELO, RAFAEL B              WOLOSHIN & KILLINO, PC              1800 JOHN F KENNEDY BLVD FL 11                                  PHILADELPHIA        PA 19103‐7437

MELO, RAPHAEL               415 HORACE AVE                                                                                      PALMYRA            NJ   08065‐2610
MELOAN, TERENCE J           5611 LITCHFIELD RD                                                                                  FORT WAYNE         IN   46835‐8824
MELOCCHI, ANTHONY G         13260 WHITE LAKE RD                                                                                 FENTON             MI   48430‐8426
MELOCHE RONALD E (423573)   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                      BIRMINGHAM         MI   48009‐5394
                                                                406
MELOCHE, ANN L.H.           1334 E HORSESHOE BEND DR                                                                            ROCHESTER          MI 48306‐4140
MELOCHE, DANIEL D           975 REVLAND DR                                                                  WINDSOR ONTARIO
                                                                                                            CANADA N8N‐5B1
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Name                               Address1                            Address2                      Address3              Address4                 City               State Zip
MELOCHE, DANIEL DEAN               975 REVLAND DRIVE                                                                       TECUMSEH ON N8N 5B1
                                                                                                                           CANADA
MELOCHE, JAMES A                   19459 INGRAM ST                                                                                                  LIVONIA             MI   48152‐1589
MELOCHE, JULIE                     6050 ALDINE                                                                                                      BRIGHTON            MI   48116‐2102
MELOCHE, KENNETH                   BALDWIN & BALDWIN                   PO DRAWER 1349                                                               MARSHALL            TX   75670
MELOCHE, KENNETH R                 42239 FULTON CT                                                                                                  STERLING HTS        MI   48313‐2631
MELOCHE, MICHAEL J                 PO BOX 834                                                                              BELLE RIVER ONTARIO
                                                                                                                           CANADA N0R‐1A0
MELOCHE, MICHAEL J                 P.O. BOX 834                        315 TECUMSEH RD                                     BELLE RIVER ON N0R‐1A0
                                                                                                                           CANADA
MELOCHE, MICHAEL J                 213 SHEFFIELD RD                                                                                                 CHERRY HILL         NJ 08034‐1622
MELOCHE, RONALD E                  LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                                   BIRMINGHAM          MI 48009‐5394
                                                                       406
MELOCIK, RICHARD F                 397 E 308TH ST                                                                                                   WILLOWICK          OH    44095‐3719
MELOCIK, THERESA B                 17877 SE 91ST FREEDOM CT                                                                                         THE VILLAGES       FL    32162‐0819
MELODEE BEALS                      36766 CHATHAM CT                                                                                                 CLINTON TOWNSHIP   MI    48035‐1113
MELODEE GUSTAFSON                  207 GALENA LANE                                                                                                  GREER              SC    29651‐6400
MELODEE HANSON                     4236 ELM ST                                                                                                      DOWNERS GROVE      IL    60515‐2115
MELODEE HAUGER                     8659 FULMER RD                                                                                                   MILLINGTON         MI    48746‐9702
MELODI JONES                       23615 ROCKINGHAM ST                                                                                              SOUTHFIELD         MI    48033‐7024
MELODIA, JEANNE M                  1415 DIXON PL                                                                                                    PLACENTIA          CA    92870‐7204
MELODIE A REDMAN                   1601 BONITA DR                                                                                                   MIDDLETOWN         OH    45044
MELODIE CONNER                     9427 E COUNTY ROAD MM                                                                                            JANESVILLE         WI    53546‐9278
MELODIE GARCIA‐ILER                1010 W CENTER RD                                                                                                 ESSEXVILLE         MI    48732‐2008
MELODIE L COLLINS (C/O HUTER)      6348 GOSHEN RD                                                                                                   GOSHEN             OH    45122‐9215
MELODIE L GARCIA‐ILER              1010 W CENTER RD                                                                                                 ESSEXVILLE         MI    48732‐2008
MELODINI ARMAND LOUIS (429442)     GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK            VA    23510
                                                                       STREET, SUITE 600
MELODINI, ARMAND LOUIS             GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                                  NORFOLK             VA 23510‐2212
                                                                       STREET, SUITE 600
MELODY A DECK                      450 MILLARD DR                                                                                                   FRANKLIN           OH    45005
MELODY A MUNGUIA                   7815 BARTEL CT                                                                                                   NEW HAVEN          IN    46774‐3231
MELODY A SHERMAN                   5165 W WILSON RD                                                                                                 CLIO               MI    48420‐9461
MELODY A SHERMAN                   946 LEWIS RD                                                                                                     MANSFIELD          OH    44903‐8945
MELODY AMENDOL                     4443 LANTERMAN RD                                                                                                AUSTINTOWN         OH    44515‐1200
MELODY B FLORINKI                  10196 S DURAND RD                                                                                                DURAND             MI    48429‐9428
MELODY BARIBAULT PERSONAL REP FO   MELODY BARIBAULT                    C/O BRAYTON PURCELL           222 RUSH LANDING RD                            NOVATO             CA    94948‐6169
RERNEST R BARIBAULT
MELODY BLUMENSCHEIN                5331 WESTCHESTER DR                                                                                              FLINT              MI    48532‐4051
MELODY BRONNENBERG                 2737 E 550 S                                                                                                     ANDERSON           IN    46017‐9503
MELODY C MOOREFIELD                11610 VILLAGE POND DR                                                                                            CHARLOTTE          NC    28278‐7676
MELODY CURRY                       4630 ASPENGLOW LN                                                                                                FORT WAYNE         IN    46808‐3505
MELODY D ANCRUM                    4516 EICHELBERGER AVE                                                                                            DAYTON             OH    45406
MELODY D EVANS                     8167 CRETE LANE                                                                                                  BLACKLICK          OH    43004
MELODY D OLSEN                     2832 MARTEL DR                                                                                                   DAYTON             OH    45420
MELODY D STRODE                    4801 HAGEN AVE                                                                                                   DAYTON             OH    45418
MELODY DEPEUGH                     801 PLAINFIELD CT                                                                                                SAGINAW            MI    48609‐4801
MELODY DILLON                      1303 N ALTADENA AVE                                                                                              ROYAL OAK          MI    48067‐3668
MELODY E VANOY                     5900 BRIDGE RD APT 604                                                                                           YPSILANTI          MI    48197‐7010
MELODY ELDRIDGE                    11920 HUNTER RD                                                                                                  BATH               MI    48808‐9442
MELODY FLORINKI                    10196 S DURAND RD                                                                                                DURAND             MI    48429‐9428
MELODY HUDDLESTON                  4090 TOWNSLEY DR                                                                                                 LOVELAND           OH    45140‐1059
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Name                    Address1                         Address2                  Address3   Address4         City               State Zip
MELODY J CURRY          4630 ASPENGLOW LN                                                                      FORT WAYNE          IN 46808‐3505
MELODY J LEMON          9347 BRUCEDALE DR                                                                      CLARKSTON           MI 48346‐1817
MELODY J MCCUISTON      4812 CRESTVIEW RD.                                                                     DAYTON              OH 45431‐‐ 19
MELODY JOHNSON          UNIT 1501                        400 GREENLER ROAD                                     DEFIANCE            OH 43512‐4201
MELODY K LUMSDEN        1051 NORMANDY TERRACE DR                                                               FLINT               MI 48532‐3547
MELODY KING             30 7TH AVE                                                                             NORTH TONAWANDA     NY 14120‐6609
MELODY KRETZSCHMER      331 PROVIDENCE RD                                                                      SOMERSET            KY 42501‐5620
MELODY L KNOX           736 FAIRGROVE WAY                                                                      DAYTON              OH 45426‐2211
MELODY L LEHMAN         5725 BENEDICT ROAD                                                                     DAYTON              OH 45424‐4213
MELODY LAWRYNOWICZ      3150 W 400 N                                                                           COLUMBIA CITY       IN 46725‐9512
MELODY LEMON            9347 BRUCEDALE DR                                                                      CLARKSTON           MI 48346‐1817
MELODY LUMSDEN          1051 NORMANDY TERRACE DR                                                               FLINT               MI 48532‐3547
MELODY MAGEE            25800 TIMBERLINE DR                                                                    WARREN              MI 48091‐6016
MELODY MARTIN           304 S LAKESIDE DR                                                                      MICHIGAN CTR        MI 49254‐1306
MELODY MCGINNIS         114 BROOKS AVE                                                                         BAYVILLE            NJ 08721‐1312
MELODY MILLER           13276 GOLDEN CIR                                                                       FENTON              MI 48430‐1014
MELODY MUNGUIA          7815 BARTEL CT                                                                         NEW HAVEN           IN 46774‐3231
MELODY NUTKINS          18365 SE 21ST ST                                                                       SILVER SPRINGS      FL 34488‐6517
MELODY PIERCE           4310 N HENDERSON RD                                                                    DAVISON             MI 48423‐8401
MELODY RICHARDS         MELODY & ROB RICHARDS            13210 45TH AVE N                                      PLYMOUTH            MN 55442
MELODY ROBINSON         2465 S GENESEE RD                                                                      BURTON              MI 48519‐1235
MELODY SCHROEDER        APT 229                          1326 WEST SUNSET ROAD                                 PRT WASHINGTN       WI 53074‐2422
MELODY SCHUETTE         5673 WOODFIELD PKWY                                                                    GRAND BLANC         MI 48439‐9427
MELODY SEIBERT          7818 KAVANAGH RD                                                                       BALTIMORE           MD 21222‐3303
MELODY SHERMAN          5165 W WILSON RD                                                                       CLIO                MI 48420‐9461
MELODY SHERMAN          946 LEWIS RD                                                                           MANSFIELD           OH 44903‐8945
MELODY SMITH            3565 S LAKESHORE RD                                                                    HARBOR BEACH        MI 48441‐7952
MELODY SUGDEN           6101 BARKER DR                                                                         WATERFORD           MI 48329‐3105
MELODY TURCZYN          3144 PURDY LN                                                                          OXFORD              MI 48371‐2235
MELODY VARGAS‐MONGE     PO BOX 9022                                                                            WARREN              MI 48090‐9022
MELODY ZIEHL            2695 MIDDLE PATTON PARK RD                                                             MARTINSVILLE        IN 46151‐9518
MELODY ZUKOWSKI         38727 KINGSBURY CT                                                                     LIVONIA             MI 48154‐1311
MELODY, GEORGE W        10781 CROOKED RIVER RD APT 202                                                         BONITA SPRINGS      FL 34135‐1781
MELODY, ROY J           321 VIRGINIA AVE                                                                       WILMINGTON          DE 19805‐1142
MELODYE CONAWAY         240 E MIER RD                                                                          SANFORD             MI 48657‐9532
MELODYE DRAFFEN         12 WEDDING LN                                                                          PLAINFIELD          IN 46168‐1269
MELODYE MARTIN          10265 DODGE RD                                                                         MONTROSE            MI 48457‐9034
MELODYLYN E MARSHALL    1269 TREMONT AVE                                                                       FLINT               MI 48505‐1421
MELODYLYN MARSHALL      1269 TREMONT AVE                                                                       FLINT               MI 48505‐1421
MELOENY, GARY G         1204 BURKLEY RD                                                                        WILLIAMSTON         MI 48895‐9795
MELOENY, MICHAEL R      75671 MCKAY RD                                                                         BRUCE TWP           MI 48065‐2714
MELOENY, ROY J          3830 BURNING TREE DR                                                                   BLOOMFIELD HILLS    MI 48302‐1520
MELON, JOHN             COON & ASSOCS BRENT              917 FRANKLIN ST STE 210                               HOUSTON             TX 77002‐1751
MELONE, CHARLES         800 HERITAGE DR                                                                        BIRMINGHAM          AL 35235‐2605
MELONE, DAVID A         6766 TANGLEWOOD DR                                                                     YOUNGSTOWN          OH 44512‐4925
MELONE, MICHAEL G       25684 BECK RD                                                                          NOVI                MI 48374‐2212
MELONEY JOHNSON         7134 BRIDGE WAY                                                                        WEST BLOOMFIELD     MI 48322‐3528
MELONEY, DOROTHY G      65 MASONIC AVE APT 219                                                                 WALLINGFORD         CT 06492‐3090
MELONEY, DOROTHY G      65 MASONIC AVE                   APT # 219                                             WALLINGFORD         CT 06492
MELONI FRANK (127741)   GREITZER & LOCKS                 1500 WALNUT STREET                                    PHILADELPHIA        PA 19102
MELONI, ANN R           35 E CHAMPLAIN AVE APT A         MIDDLEBORO CREST APTS                                 WILMINGTON          DE 19804‐1654
MELONI, ANN R           35 A EAST CHAMPLAIN AVE          MIDDLEBORO CREST APTS                                 WILMINGTON          DE 19804‐1654
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Name                               Address1                           Address2                 Address3                    Address4               City               State Zip
MELONI, FRANK                      GREITZER & LOCKS                   1500 WALNUT STREET                                                          PHILADELPHIA        PA 19102
MELONI, JOSEPH J                   278 SADDLE RIVER RD                                                                                            AIRMONT             NY 10952‐5027
MELONI, VINCENT L                  123 KINGSTON DR                                                                                                BEAR                DE 19701‐1524
MELONIE BUSSE                      325 PROSPECT ST                                                                                                NILES               OH 44446‐1519
MELONIE CRONKRIGHT                 6124 WOODMOOR DR                                                                                               BURTON              MI 48509‐1647
MELONIE J KENNEDY                  7125 LOCUST ST APT 1                                                                                           BOARDMAN            OH 44512‐‐ 48
MELONIE PERKINS                    G‐6176 DETROIT ST                                                                                              MOUNT MORRIS        MI 48458
MELONSON, DOUGLAS V                18464 WESTLAND AVE                                                                                             SOUTHFIELD          MI 48075‐4122
MELONSON, DOUGLAS V                17497 GATEWAY CIR                                                                                              SOUTHFIELD          MI 48075‐4715
MELONY BORDINE‐DUTTON              1210 N TOWNE COMMONS BLVD                                                                                      FENTON              MI 48430‐2691
MELONY J DEVOLL                    814 CENTER AVE APT G                                                                                           BAY CITY            MI 48708‐5996
MELONY SHAFER                      546 N JAMES ST                                                                                                 EAST PALESTINE      OH 44413‐2204
MELONY VOHLER AS MOTHER AND NEXT   ATTN THOMAS P WILLINGHAM           ALVIS & WILLINGHAM LLP   1400 URBAN CTR DR STE 475                          BIRMINGHAM          AL 35242
BEST FRIEND OF ARIEL NIBLET
MELOON, JOHN G                     187 CORINTHIA ST                                                                                               LOCKPORT           NY   14094‐2009
MELORE, DANIEL R                   109 HILLCREST RD                                                                                               RENFREW            PA   16053‐1209
MELOSH, EDWARD T                   9170 MEADOW RIDGE LN                                                                                           GRAND BLANC        MI   48439‐7386
MELOSI, KATHRYN M                  44271 PINE DR                      17‐103                                                                      STERLING HEIGHTS   MI   48313‐1246
MELOY, DONALD G                    17220 OCONTO AVE                                                                                               TINLEY PARK        IL   60477‐2622
MELOY, HAROLD E                    1617 WILLAMET RD                                                                                               KETTERING          OH   45429‐4248
MELOY, HUGH H                      330 NOTTINGHILL COURT                                                                                          INDIANAPOLIS       IN   46234‐2667
MELPOMENI KATSIANTONIS             66 EVERGREEN DR                                                                                                TONAWANDA          NY   14150‐6402
MELQUIADES GARCIA                  11717 E PARKS RD                                                                                               WHEELER            MI   48662‐9789
MELQUIADES GARCIA                  5875 MANN DR                                                                                                   LAPEER             MI   48446‐2763
MELQUIADES GONZALEZ                PO BOX 11                                                                                                      SABANA HOYOS       PR   00688‐0011
MELROSE DISPLAY COMPANY            PO BOX 302                                                                                                     KINGSBURY          IN   46345‐0302
MELROSE ELEC/NSHVILL               509 5TH AVE S                                                                                                  NASHVILLE          TN   37203‐4211
MELROSE FLOTTA                     8011 ANDANTE DR                                                                                                CITRUS HEIGHTS     CA   95621‐1400
MELROSE JOHNSON                    9280 MONICA DR                                                                                                 DAVISON            MI   48423‐2863
MELROSE PLC                        805 LINDBERGH CT STE 200                                                                                       HEBRON             KY   41048‐8799
MELROSE PLC                        FRANK PALAZZOLO                    801 JOHN C. WATTS DR.    JESSAMINE INDUSTRIAL PARK                          AUBURN HILLS       MI   48326

MELROSE PLC                        FRANK PALAZZOLO                    NEWBERRY PLANT           HWY #76, P.O. BOX 537                              DETROIT            MI 48209
MELROSE PLC                        LONGACRES INDSTL EST                                                                    WILLENHALL WEST
                                                                                                                           MIDLANDS GB WV13 2JS
                                                                                                                           GREAT BRITAIN
MELROSE PLC                        CLEVELAND HOUSE 29‐33 KING ST                                                           LONDON GB SW1Y 6RJ
                                                                                                                           GREAT BRITAIN
MELROSE T‐TOP INTERNATIONAL        DAVE WIEHLE                        100 W ELLWALK AVE                                                           CORTLAND           IL   60112‐4021
MELROSE, BARBARA L                 31585 BEACONSFIELD                                                                                             ROSEVILLE          MI   48066
MELROSE, EDNA E                    2264 PINE LAKE LOOP                                                                                            GRAY SUMMIT        MO   63039‐1027
MELROSE, EDNA E                    43 WILLMORE ROAD                                                                                               SAINT LOUIS        MO   63109‐3331
MELROSE, GARY L                    3300 W M‐21                                                                                                    OWOSSO             MI   48867
MELROSE, HOWARD                    114 W SHIAWASSEE AVE                                                                                           FENTON             MI   48430‐2006
MELROSE, ROBERT A                  11161 LINDEN RD                                                                                                LINDEN             MI   48451‐9466
MELROSE, THOMAS L                  3200 RIFLE RIVER TRL                                                                                           PRESCOTT           MI   48756‐9249
MELROSE‐GOLD BONNIE                9228 BLUEGRASS ROAD                NO 38                                                                       PHILADELPHIA       PA   19114
MELS, KENNETH D                    15419 ORCHID CT                                                                                                ORLAND PARK        IL   60462‐5018
MELSA, OTTO EDWARD                 GUY WILLIAM S                      PO BOX 509                                                                  MCCOMB             MS   39649‐0509
MELSHA BRUCE ALBERT                MELSHA, BRUCE ALBERT               4300 GRAND AVE                                                              DES MOINES         IA   50312‐2426
MELSHA BRUCE ALBERT                MELSHA, LINDA KAY                  4300 GRAND AVE                                                              DES MOINES         IA   50312‐2426
MELSHA, BRUCE ALBERT               PO BOX 146                                                                                                     SWISHER            IA   52338‐0146
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Name                                  Address1                        Address2                          Address3   Address4         City               State Zip
MELSHA, BRUCE ALBERT                  BEATTIE LAW FIRM                4300 GRAND AVE                                                DES MOINES           IA 50312‐2426
MELSHA, LINDA KAY                     BEATTIE LAW FIRM                4300 GRAND AVE                                                DES MOINES           IA 50312‐2426
MELSNESS STEVEN                       MELSNESS, STEVEN                5901 CEDAR LAKE RD S                                          MINNEAPOLIS         MN 55416‐1488
MELSON JAMES R (626655)               GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK             VA 23510
                                                                      STREET, SUITE 600
MELSON JR, ELLWOOD M                  PO BOX 49515‐0204                                                                             GRAND RAPIDS       MI   49505
MELSON JR, JAMES R                    4287 N 200 E                                                                                  ANDERSON           IN   46012‐9517
MELSON JR, REX J                      1317 CARR STREET                                                                              SANDUSKY           OH   44870‐3106
MELSON JR, THEODORE E                 416 LANGSTON PLACE DR                                                                         FORT MILL          SC   29708‐6991
MELSON'S SERVICE CENTER, INC.         295 W BRIDGE ST                                                                               NEW HOPE           PA   18938‐1410
MELSON, ANDRE J                       HC 73 BOX 2455                                                                                FAIRDEALING        MO   63939‐9305
MELSON, CARL                          903 E WATER ST                                                                                PRINCETON          IN   47670‐2247
MELSON, DONALD W                      358 DREXEL ST                                                                                 DETROIT            MI   48215‐3004
MELSON, DONNA                         6631 N MECHANICSBURG RD                                                                       MIDDLETOWN         IN   47356‐9763
MELSON, DORIS K                       2163 CHANCEY LANE                                                                             COLLEGE PARK       GA   30349
MELSON, EDNA M                        1022 18TH AVE SE                                                                              DECATUR            AL   35601
MELSON, I W                           2091 DURAND ROAD                                                                              FORT MILL          SC   29715‐8362
MELSON, JAMES A                       140 GARCIA WAY                                                                                FORT MYERS BEACH   FL   33931‐3410
MELSON, JAMES M                       1042 HIGHLAND ESTATES DR                                                                      WENTZVILLE         MO   63385‐5526
MELSON, JAMES R                       GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                                      STREET, SUITE 600
MELSON, JOHN H                        PO BOX 51                                                                                     VONORE             TN   37885‐0051
MELSON, LEAH L                        2767 IOWA DR                                                                                  TROY               MI   48083‐4473
MELSON, MARJORIE M                    6623 ROBINHOOD DR                                                                             ANDERSON           IN   46013‐9542
MELSON, NELLIE DIETZER                3168 TIMBER VALLEY DR                                                                         KOKOMO             IN   46902‐5061
MELSON, ROBERT A                      5694 N HERITAGE LN                                                                            ALEXANDRIA         IN   46001‐8601
MELSON, ROBERT J                      255 HIGHWAY W                                                                                 FORISTELL          MO   63348‐1102
MELSON, SADIE                         4348 DROWFIELD                                                                                DAYTON             OH   45426
MELSON, SARAH                         19566 REDFERN                                                                                 DETROIT            MI   48219‐5514
MELSON, SARAH                         19566 REDFERN ST                                                                              DETROIT            MI   48219‐5514
MELSON, STEVEN M                      433 TIMBER DR                                                                                 WARRENTON          MO   63383‐6182
MELSON, THURSTON P                    4154 KAMMER AVE                                                                               DAYTON             OH   45417‐5417
MELSON, WILLIE L                      19566 REDFERN ST                                                                              DETROIT            MI   48219‐5514
MELSOP, MARIE E                       881 NORRIS DR                                                                                 COLUMBUS           OH   43224‐2646
MELSOP, MARIE E                       881 NORRIS DRIVE                                                                              COLUMBUS           OH   43224‐2646
MELSTER SALYER                        1030 HUNTER AVE                                                                               YPSILANTI          MI   48198‐3186
MELTABARGER, DONALD S                 5030 CORDES RD                                                                                INDIANAPOLIS       IN   46227‐1911
MELTER, WILLIAM G                     PO BOX 2040                                                                                   FRANKLIN           NC   28744‐2040
MELTIROUS R EVANS                     4302 KNOLLCROFT RD                                                                            TROTWOOD           OH   45426‐1934
MELTLAB SYSTEMS                       1201 LINCOLN AVE                                                                              NEW CASTLE         IN   47362‐4641
MELTON A BERRY                        348 DURNAN STREET                                                                             ROCHESTER          NY   14621‐4138
MELTON BERNARD R JR (429443)          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                      STREET, SUITE 600
MELTON BERRY                          10076 GROSVENOR DR                                                                            SAINT LOUIS        MO   63137‐4105
MELTON CAMPBELL                       3907 SE 14TH PL                                                                               DEL CITY           OK   73115‐2229
MELTON CHARLES                        620 3 POINTS RD                                                                               FAYETTEVILLE       NC   28311‐7079
MELTON CHARLES                        MELTON, CHARLES                 433 PIERCY RD                                                 JASPER             TN   37347
MELTON DEBORAH                        MELTON, DEBORAH                 700 E MAIN ST STE 1600                                        RICHMOND           VA   23219‐2604
MELTON DRUMMOND                       12006 GODFREY RD                                                                              MORRICE            MI   48857‐9728
MELTON EDGAR F (ESTATE OF) (665813)   COONEY & CONWAY                 120 NORTH LASALLE STREET , 30TH                               CHICAGO            IL   60602
                                                                      FLOOR
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Name                                Address1                         Address2                       Address3   Address4         City            State Zip
MELTON ELWOOD L (408887)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA 23510
                                                                     STREET, SUITE 600
MELTON GRAY                         G PATTERSON KEAHY PC             ONE INDEPENDENCE PLAZA SUITE                               BIRMINGHAM      AL   35209
                                                                     612
MELTON HAROLD E (439331)            GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510
                                                                     STREET, SUITE 600
MELTON JESSE (ESTATE OF) (500485)   ANGELOS PETER G                  100 N CHARLES STREET , ONE                                 BALTIMORE       MD 21201
                                                                     CHARLES CENTER
MELTON JR, L W                      PO BOX 576                                                                                  HENDERSON       TN 38340‐0576
MELTON LEWIS R (429444)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA 23510
                                                                     STREET, SUITE 600
MELTON MELAINE                      PO BOX 2166                                                                                 ROWLETT         TX   75030‐2166
MELTON MILLER                       8251 OLD WHITE LAKE RD                                                                      WHITE LAKE      MI   48386‐1109
MELTON MOTOR CO., INC.              1836 US HIGHWAY 81                                                                          BELLEVILLE      KS   66935
MELTON MOTOR CO., INC.              HAROLD MELTON                    1836 US HIGHWAY 81                                         BELLEVILLE      KS   66935
MELTON MOTOR/STHGATE                15100 EUREKA RD                                                                             SOUTHGATE       MI   48195‐2614
MELTON MOTORS INC                   15100 EUREKA RD                                                                             SOUTHGATE       MI   48195‐2614
MELTON MOTORS INC                   MELTON HONDA‐VOLKSWAGON‐MITSUB   15100 EUREKA RD                                            SOUTHGATE       MI   48195‐2614

MELTON NARAMORE                     4415 MS HIGHWAY 182                                                                         EUPORA          MS   39744‐6783
MELTON ORCHARDS                     4445 W STATE ROAD 45                                                                        BLOOMINGTON     IN   47403‐5131
MELTON SHELTON                      11008 RIVERWOOD DR                                                                          GRAFTON         OH   44044‐9773
MELTON SOUTHERLAND                  5100 MORRIS HEIGHTS DR                                                                      ARLINGTON       TX   76016‐2959
MELTON THORNBURG                    43511 E STATE RTE N                                                                         CREIGHTON       MO   64739‐9641
MELTON TRUCK LINES INC              808 N 161ST EAST AVE                                                                        TULSA           OK   74116‐4115
MELTON WOODS                        141 SOUTH BLVD W                                                                            PONTIAC         MI   48341‐2967
MELTON ZINCK JR                     8 LEANDRE ST                                                                                MANCHESTER      NH   03102‐4916
MELTON, ALBERT                      2620 W 23RD ST                                                                              ANDERSON        IN   46011‐4015
MELTON, ALFRED D                    2639 INDEPENDENCE                                                                           SHREVEPORT      LA   71109
MELTON, ALICE M                     217 W PIERSON RD 22                                                                         FLINT           MI   48505
MELTON, ALVIN S                     177 N BLUFF RD                                                                              GREENWOOD       IN   46142‐7726
MELTON, ANDREW F                    8386 MAPLEVIEW DR                                                                           DAVISON         MI   48423‐7822
MELTON, ANGELA M                    612 HELEN ST                                                                                LANSING         MI   48912‐1111
MELTON, ANTHONY                     47 DREXEL RD                                                                                BUFFALO         NY   14214‐2801
MELTON, BASIL                       106 HILLS ST                                                                                CHITTENANGO     NY   13037‐1409
MELTON, BENNIE JO                   11077 MARCELLA CIRCLE                                                                       TYLER           TX   75709‐5057
MELTON, BERNARD R                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA   23510‐2212
                                                                     STREET, SUITE 600
MELTON, BETTE J                     1510 E HOLMES ST                                                                            JANESVILLE      WI   53545‐4239
MELTON, BETTY                       171 MASSACHUSETTS ST                                                                        HIGHLAND PARK   MI   48203‐3538
MELTON, BETTY J                     369 SPRUCE                                                                                  MT MORRIS       MI   48458‐1936
MELTON, BETTY J                     600 S CHURCH ST                                                                             LANDRUM         SC   29356‐1904
MELTON, BETTY J                     600 S CHURCH AVE                                                                            LANDRUM         SC   29356‐1904
MELTON, BETTY J                     369 SPRUCE ST                                                                               MOUNT MORRIS    MI   48458‐1936
MELTON, BETTY JEAN                  335 WINDSWOOD WAY                                                                           SANDUSKY        OH   44870‐7520
MELTON, BILLIE J                    16310 GOLDEN SAGE LANE                                                                      CYPRESS         TX   77429
MELTON, BOBBY D                     19621 CO RD 1038                                                                            OAKWOOD         OH   45873
MELTON, BONNIE J                    1604 STIRLING AVE                                                                           PONTIAC         MI   48340‐1344
MELTON, BUEL O                      338 BOWEN RD                                                                                LUCASVILLE      OH   45648‐9527
MELTON, CAROL A                     338 BOWEN RD                                                                                LUCASVILLE      OH   45648‐9527
MELTON, CATHERINE L                 12614 OLLIFFTOWN RD                                                                         METTER          GA   30439‐9227
MELTON, CHARLENE J                  602 W 37TH ST NORTH                                                                         INDEPENDENCE    MO   64050‐1041
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Name                  Address1                        Address2                         Address3   Address4         City             State Zip
MELTON, CHARLES       433 PIERCY RD                                                                                JASPER            TN 37347‐5919
MELTON, CHARLES E     RR 3 BOX 3745                                                                                CHECOTAH          OK 74426‐9536
MELTON, CHARLES R     1007 COTTAGE AVE                                                                             MIDDLETOWN        IN 47356‐1714
MELTON, CHARLES W     6337 S 800 E                                                                                 RUSHVILLE         IN 46173‐7731
MELTON, CHARLOTTE M   714 JEFFERSON AVE                                                                            DEFIANCE          OH 43512‐2871
MELTON, CHRISTINE     534 ATHENS STREET                                                                            SAGINAW           MI 48601
MELTON, CHRISTINE     534 ATHENS ST                                                                                SAGINAW           MI 48601‐1413
MELTON, CHYNIA L      APT 123                         3225 BUICK STREET                                            FLINT             MI 48505‐6812
MELTON, CHYNIA L      3225 BUICK ST APT 123                                                                        FLINT             MI 48505‐6812
MELTON, CLARENCE B    77 AZALEA DR                                                                                 JEFFERSON         GA 30549‐5691
MELTON, CLARENCE R    W9194 LOT 12 RIPLEY ROAD                                                                     CAMBRIDGE         WI 53523
MELTON, DANA          3438 PARKWOOD DR                                                                             DEWITT            MI 48820‐9504
MELTON, DARLA C       843 WILLIAMS ST                                                                              MIAMISBURG        OH 45342‐1720
MELTON, DEBORAH       KAHN & ASSOCIATES LLC           700 E MAIN ST STE 1600                                       RICHMOND          VA 23219‐2604
MELTON, DEBORAH L     1906 DEE ANN DR                                                                              KOKOMO            IN 46902‐4423
MELTON, DELILAH       SICO WHITE & BRAUGH             900 FROST BANK PLAZA ‐ 802 N                                 CORPUS CHRISTI    TX 78470
                                                      CARANCAHUA
MELTON, DELORIS A     932 WYNTERBROOKE DR                                                                          KOKOMO           IN   46901‐7745
MELTON, DONNA         112 JORDAN LN                                                                                HOHENWALD        TN   38462‐5369
MELTON, DONNA J       1613 GEORGETOWN DRIVE                                                                        LAKELAND         FL   33811‐4483
MELTON, DORA K        63 WISTERIA TRL                                                                              LAUREL           MS   39443‐2618
MELTON, EDGAR F       COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                               CHICAGO          IL   60602
                                                      FLOOR
MELTON, EDWARD J      328 MONROE ST                                                                                CAMBRIDGE        WI   53523‐9436
MELTON, EDWARD L      4172 S CENTER RD                                                                             BURTON           MI   48519‐1447
MELTON, EDWARD L      5617 W PINE FOREST DR                                                                        ALGER            MI   48610‐9668
MELTON, ELLEN         10812 NE 90TH ST                                                                             VANCOUVER        WA   98662‐2187
MELTON, ELTON M       11040 BUCKHORN LAKE ROAD                                                                     HOLLY            MI   48442‐8515
MELTON, ELWOOD L      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510‐2212
                                                      STREET, SUITE 600
MELTON, FORT W        2403 MIAMI BEACH DR                                                                          FLINT            MI   48507‐1057
MELTON, GARY D        706 W MAIN ST                                                                                HOHENWALD        TN   38462‐2203
MELTON, GENEVIEVE     18805 STATE HIGHWAY AA                                                                       POTOSI           MO   63664‐9216
MELTON, GENEVIEVE     RT 2 BOX 141                                                                                 POTOSI           MO   63664‐9200
MELTON, GEORGE T      214 ODELL ST                                                                                 CLEBURNE         TX   76033‐7300
MELTON, GEORGIA M     5480 HARBOURWATCH WAY APT 103                                                                MASON            OH   45040‐5913
MELTON, GEORGIA M     5480 HARBOUR WATCH WAY #103                                                                  MASON            OH   45040
MELTON, HAROLD E      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK          VA   23510‐2212
                                                      STREET, SUITE 600
MELTON, HARRY D       45 CREEKSIDE LN                                                                              COVINGTON        GA   30016‐9167
MELTON, HENRY E       1711 SAINT MATHEWS CHURCH RD                                                                 METTER           GA   30439‐6230
MELTON, IVY           261 CR 1801                                                                                  RUSK             TX   75785
MELTON, JACK          12102 BELLE RIVER RD                                                                         RILEY            MI   48041‐3602
MELTON, JACOB         TRACY FIRM                      5473 BLAIR RD STE 200                                        DALLAS           TX   75231‐4168
MELTON, JAMES         GUY WILLIAM S                   PO BOX 509                                                   MCCOMB           MS   39649‐0509
MELTON, JAMES A       1124 BAKEWELL DR                                                                             SAINT LOUIS      MO   63137‐2104
MELTON, JAMES B       3860 W WOODLAND ST                                                                           SPRINGFIELD      MO   65807‐5528
MELTON, JAMES H       535 E REID RD APT 10                                                                         GRAND BLANC      MI   48439‐1244
MELTON, JAMES H.      535 E REID RD APT 10                                                                         GRAND BLANC      MI   48439‐1244
MELTON, JAMES I       13504 SO CO RD 600W                                                                          WESTPORT         IN   47283
MELTON, JAMES M       18 GOSCHE HOLLOW RD                                                                          FREDONIA         KY   42411‐9762
MELTON, JAMES W       140 ASHLEY MARIE DR                                                                          HOHENWALD        TN   38462‐5340
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Name                   Address1                          Address2                       Address3   Address4         City             State Zip
MELTON, JANICE G       275 TRICE RD                                                                                 HENDERSON         TN 38340‐7262
MELTON, JASPER         2723 OWEN ST                                                                                 SAGINAW           MI 48601‐3845
MELTON, JEFFREY D      PO BOX 21031                                                                                 INDIANAPOLIS      IN 46221‐0031
MELTON, JERRY          2008 I ST                                                                                    BEDFORD           IN 47421‐4654
MELTON, JERRY W        PO BOX 513                                                                                   LYLES             TN 37098‐0513
MELTON, JESSE          ANGELOS PETER G                   100 N CHARLES STREET, ONE                                  BALTIMORE         MD 21201‐3812
                                                         CHARLES CENTER
MELTON, JESSE J        6402 MORTON ST                                                                               DETROIT          MI   48210‐2464
MELTON, JILL A         1185 TRALEE TRL                                                                              DAYTON           OH   45430‐1233
MELTON, JIM L          9359 103RD ST LOT 65                                                                         JACKSONVILLE     FL   32210‐8694
MELTON, JIMMIE L       3663 W HOWE RD APT C                                                                         DEWITT           MI   48820‐8218
MELTON, JIMMIE R       112 JORDAN LN                                                                                HOHENWALD        TN   38462‐5369
MELTON, JOE R          6672 E STATE ROAD 26                                                                         HARTFORD CITY    IN   47348‐8903
MELTON, JOEL C         2960 TWIN CREEK LN                                                                           NEWCASTLE        OK   73065‐6484
MELTON, JOHN E         7376 MARCUS ST                                                                               DETROIT          MI   48213‐2109
MELTON, JOHN E         404 N SECTION EXT                                                                            SOUTH LEBANON    OH   45065‐1162
MELTON, JOHN L         4901 N 115TH ST                                                                              KANSAS CITY      KS   66109‐2931
MELTON, JOHN R         PO BOX 33862                                                                                 CHARLOTTE        NC   28233‐3862
MELTON, JOHN T         918 DOGWOOD DELLS LN                                                                         PERRYVILLE       MO   63775‐8117
MELTON, JOYCE M        33 SPRING VALLEY DR                                                                          ANDERSON         IN   46011‐1924
MELTON, JUDY L         5325 FIELDS HOLLOW RD                                                                        SANTA FE         TN   38482‐3355
MELTON, KATHLEEN R     3519 POST VALLEY DRIVE                                                                       O FALLON         MO   63368‐7063
MELTON, KATHRYN        55452 MAYFLOWER RD                                                                           SOUTH BEND       IN   46628‐5131
MELTON, KEVIN D        570 DENVER ST                                                                                LANSING          MI   48910‐3438
MELTON, KIM M          PO BOX 654                                                                                   FORT OGDEN       FL   34267‐0654
MELTON, LANA J         165 MILLCREEK DR                                                                             ANDERSON         IN   46017‐1701
MELTON, LARRY D        1719 HIGHWAY 19 N                 APT 89                                                     MERIDIAN         MS   39307‐5341
MELTON, LARRY D        APT A6                            3830 POPLAR SPRINGS DRIVE                                  MERIDIAN         MS   39305‐3745
MELTON, LENORA F       19 LOCHWOOD CT                                                                               NEW ALBANY       IN   47150‐7703
MELTON, LEWIS R        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                NORFOLK          VA   23510‐2212
                                                         STREET, SUITE 600
MELTON, LILLIAN R      19351 ILENE ST                                                                               DETROIT          MI   48221‐1445
MELTON, LON            C/O THE LIPMAN LAW FIRM           5915 PONCE DE LEON BLVD        SUITE 44                    CORAL GABLES     FL   33146
MELTON, LORI L         3429 KARL RD                                                                                 COLUMBUS         OH   43224‐3463
MELTON, LOYAL S        5319 GENESEE ROAD                                                                            LAPEER           MI   48446‐2747
MELTON, LOYAL S        5319 GENESEE RD                                                                              LAPEER           MI   48446‐2747
MELTON, LOYAL STEVEN   5319 GENESEE ROAD                                                                            LAPEER           MI   48446‐2747
MELTON, LYLBURN B      1500 YAQUI DR                                                                                FLORISSANT       MO   63031‐7412
MELTON, LYLBURN B      1500 YAQUI                                                                                   FLORISSANT       MO   63031‐7412
MELTON, MANDY J        3121 BEECHWOOD DR                                                                            NEW CASTLE       IN   47362‐1936
MELTON, MAROLYN J      367 WHISPER LN                                                                               XENIA            OH   45385‐4872
MELTON, MAROLYN J      367 WHISPER LANE                                                                             XENIA            OH   45385‐5385
MELTON, MARY J         16702 LAHSER RD APT 14                                                                       DETROIT          MI   48219
MELTON, MARY JUNE      6402 MORTON                                                                                  DETROIT          MI   48210
MELTON, MARY S         2619 NORTHVIEW AVENUE                                                                        INDIANAPOLIS     IN   46220‐3517
MELTON, MELVIN         PO BOX 409                                                                                   JEMISON          AL   35085‐0409
MELTON, MICHAEL E      6961 HUBBARDSTON RD                                                                          HUBBARDSTON      MI   48845‐9611
MELTON, MICHAEL S      14180 CHIPPEWA TRL                                                                           JOHANNESBURG     MI   49751‐9422
MELTON, NELLIE H       319 SO DENNEY DR                                                                             NEW CASTLE       IN   47362
MELTON, PAMELA         SICO WHITE & BRAUGH               900 FROST BANK PLAZA ‐ 802 N                               CORPUS CHRISTI   TX   78470
                                                         CARANCAHUA
MELTON, PATRICIA       9704 S US HIGHWAY 191                                                                        SAFFORD          AZ   85546‐9255
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Name                    Address1                          Address2                       Address3   Address4         City               State Zip
MELTON, PRESTON         5152 W SAINT ALBAN AVE                                                                       LOXLEY              AL 36551‐4442
MELTON, PRINCE G        12715 DOGWOOD HILL DR                                                                        JACKSONVILLE        FL 32223‐2791
MELTON, PRINCE GEORGE   12715 DOGWOOD HILL DR                                                                        JACKSONVILLE        FL 32223‐2791
MELTON, RALEIGH         PO BOX 130                                                                                   CAMDEN              OH 45311‐0130
MELTON, RALPH E         4052 CROSLEY AVE                                                                             NORWOOD             OH 45212‐2808
MELTON, RALPH E         1048 ULREY LN                                                                                ENGLEWOOD           FL 34223‐2454
MELTON, RAYMOND         2047 WHITTLESEY ST                                                                           FLINT               MI 48503‐4348
MELTON, RICHARD         SICO WHITE & BRAUGH               900 FROST BANK PLAZA ‐ 802 N                               CORPUS CHRISTI      TX 78470
                                                          CARANCAHUA
MELTON, RICHARD A       C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                                       EDWARDSVILLE        IL   62025
                        AND ROWLAND P C
MELTON, RICHARD E       33 SPRING VALLEY DR                                                                          ANDERSON           IN    46011‐1924
MELTON, RICKY C         361 MATRIX LN # 5413                                                                         ELLIJAY            GA    30540‐6385
MELTON, RICKY C         25221 HANOVER ST                                                                             DEARBORN HEIGHTS   MI    48125‐1833
MELTON, RITA J          140 ASHLEY MARIE DR                                                                          HOHENWALD          TN    38462‐5340
MELTON, ROBERT J        4805 ROLLING ST                                                                              DAYTON             OH    45439‐2962
MELTON, ROBERT R        10690 W COUNTY ROAD 700 S                                                                    MIDDLETOWN         IN    47356‐9600
MELTON, ROSE E          211 RUSSELL AVE APT 23                                                                       GAITHERSBURG       MD    20877‐2884
MELTON, ROY             3606 RONALD ST                                                                               LANSING            MI    48911‐2667
MELTON, ROY A           PO BOX 110                                                                                   SEVEN MILE         OH    45062‐0110
MELTON, ROY G           30238 W HURON RIVER DR                                                                       FLAT ROCK          MI    48134
MELTON, ROY L           3269 BUCK CREEK RD                                                                           WILLIAMSBURG       KY    40769‐7838
MELTON, ROYCE B         103 W SOUTH ST                                                                               WHITESBORO         TX    76273‐2121
MELTON, SARAH A         3100 POWELL AVE APT 226                                                                      KANSAS CITY        KS    66106‐2151
MELTON, SHEENIKA        316 E 9TH ST                                                                                 WILMINGTON         DE    19801‐3610
MELTON, SHIRLEY A       7329 CLAIBORNE WOODS RD                                                                      CHARLOTTE          NC    28216‐5777
MELTON, STEVEN R        10690 W COUNTY ROAD 700 S                                                                    MIDDLETOWN         IN    47356‐9600
MELTON, THOMAS          378 N SECTION ST                                                                             SOUTH LEBANON      OH    45065‐1125
MELTON, THOMAS E        4411 SEYMOUR LAKE RD                                                                         OXFORD             MI    48371
MELTON, THOMAS R        2329 E WHIPP RD                                                                              KETTERING          OH    45440‐2604
MELTON, THOMAS R        2329 WHIPP RD E                                                                              KETTERING          OH    45440‐2604
MELTON, TIMOTHY T       12174 GREEN RD                                                                               GOODRICH           MI    48438‐9740
MELTON, TRESSENA A      14212 CHANDELLE DR                                                                           NEWALLA            OK    74857‐7825
MELTON, VERSIE R        774 E LYNDON AVE                                                                             FLINT              MI    48505‐2954
MELTON, VERSIE R        774 E LYNDON                                                                                 FLINT              MI    48505‐2954
MELTON, VIOLET V        RT1 BOX 195‐A                                                                                VALE               OR    97918‐9801
MELTON, VONNA C         2447 OWOSSO ST                                                                               CRYSTAL            MI    48818‐9612
MELTON, WALTER L        774 E LYNDON AVE                                                                             FLINT              MI    48505‐2954
MELTON, WALTER LEE      774 E LYNDON AVE                                                                             FLINT              MI    48505‐2954
MELTON, WANDA J         14212 CHANDELLE DR                                                                           NEWALLA            OK    74857‐7825
MELTON, WARREN R        1241 COTTAGE AVE                                                                             MIDDLETOWN         IN    47356‐1729
MELTON, WILLIAM C       3251 N LOCUST GROVE CHURCH RD                                                                COLUMBIA           MO    65202‐9094
MELTON, WILLIAM F       2805 SILVER HILL AVE                                                                         GWYNN OAK          MD    21207‐6778
MELTON, WILLIAM G       74 LEGION RD APT 201                                                                         CROSSVILLE         TN    38571
MELTON, WILLIAM H       817 OXFORD LOOP                                                                              NEW ALBANY         MS    38652‐1909
MELTON, ZELDA C         2491 HIGHWAY TT                                                                              SAINT CLAIR        MO    63077‐3803
MELTONIA ROBINSON       3705 WESLEY ST                                                                               FLINT              MI    48505‐3825
MELTSER, MARK A         160 OAKSHIRE WAY                                                                             PITTSFORD          NY    14534‐2567
MELTZ ALFREDO           MELTZ, ALFREDO                    130 CALLE ELEONOR ROOSEVELT                                SAN JUAN           PR    00918‐3105
MELTZ ALFREDO           RIVERA, ADA                       130 CALLE ELEONOR ROOSEVELT                                SAN JUAN           PR    00918‐3105
MELTZ, ALFREDO
MELTZ, ALFREDO          DE CORRAL & DE MIER               130 CALLE ELEONOR ROOSEVELT                                SAN JUAN           PR    00918‐3105
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MELTZ, SHIRLEY M                      12 ESPLENDOR WAY                                                                                          HOT SPRINGS VILLAGE    AR 71909‐6110
MELTZER SHERRY                        11938 SUELLEN CIR                                                                                         WELLINGTON             FL 33414
MELTZER, AGNES L                      7036 N ST RD 9                                                                                            SHELBYVILLE            IN 46176‐9425
MELTZER, AGNES L                      7036 N STATE ROAD 9                                                                                       SHELBYVILLE            IN 46176‐9425
MELTZER, BEATRICE B                   4141 UTICA AVE S                C/O ALBERTA WICK                                                          MINNEAPOLIS            MN 55416‐3210
MELTZER, EMIL H                       7036 N STATE ROAD 9                                                                                       SHELBYVILLE            IN 46176‐9425
MELTZER, JEFFREY                      519 ONEIL LN                                                                                              FRANKLIN               TN 37067‐4407
MELTZER, PURTILL & STELLE, LLC        ATT: FORREST B. LAMMIMAN        ATTY FOR BROADWAY IN CHICAGO   300 SOUTH WACKER DRIVE,                    CHICAGO                 IL 60606
                                                                      LLC                            SUITE 3500
MELTZER, SAMUEL                       1420 OCEAN WAY APT 3B                                                                                     JUPITER               FL    33477‐7271
MELTZER, WILLIAM D                    2807 PFISTER HWY                                                                                          ADRIAN                MI    49221‐8801
MELUCH, DOROTHY                       6034 MERCER DR                                                                                            CLEVELAND             OH    44142‐3036
MELUCH, NORMAN J                      2440 MERSHON DR                                                                                           ANN ARBOR             MI    48103‐6051
MELUCH, WILLIAM C                     8428 PHOENIX AVE                                                                                          SELMA                 TX    78154‐3411
MELUNEY, WILLIAM F                    205 OLD CAMDEN RD                                                                                         CAMDEN                DE    19934‐5524
MELVA ABBOTT                          431 S LEXINGTON CT                                                                                        RICHMOND              MO    64085‐2914
MELVA ALLEN                           11610 TYSON COURT                                                                                         OKLAHOMA CITY         OK    73130‐8432
MELVA ANDIS                           2141 E BERGIN AVE                                                                                         BURTON                MI    48529‐1703
MELVA ANDRESS
MELVA BEAM                            42 CLARK #3                                                                                               PONTIAC               MI    48342
MELVA BEASLEY                         CEDARWOOD APARTMENTS            191 E STATE ST                                                            MONTROSE              MI    48457‐9144
MELVA BULL                            4639 CHESTNUT RD                                                                                          NEWFANE               NY    14108‐9635
MELVA CAMPBELL                        LOT 231                         6710 36TH AVENUE EAST                                                     PALMETTO              FL    34221‐9678
MELVA CRAFT                           17 SIEGFRIED DR                                                                                           WILLIAMSVILLE         NY    14221‐4453
MELVA CRANE                           2319 TITTABAWAEESS                                                                                        ALGER                 MI    48610
MELVA EHMAN                           18458 WINDSTONE CIR                                                                                       NOBLESVILLE           IN    46062‐6660
MELVA G BLACKSHEARE                   2888 W GRAND BLVD                                                                                         DETROIT               MI    48202‐2612
MELVA HALL                            PO BOX 1881                                                                                               NORTH LITTLE ROCK     AR    72115‐1881
MELVA J ANDIS                         2141 E BERGIN AVE                                                                                         BURTON                MI    48529‐1703
MELVA JOHNSON                         408 PALM LN                                                                                               KOKOMO                IN    46901‐5642
MELVA JONES                           120 RAWHIDE DR                                                                                            SARDINIA              OH    45171‐9107
MELVA KAISER                          2463 N GENESEE RD                                                                                         BURTON                MI    48509‐1133
MELVA L PICKENS                       1043 ROSSITER DR                                                                                          DAYTON                OH    45418
MELVA NAVARETTE INDIVIDUALLY A/N/F    THE MALHOTRA LAW FIRM           319 N GRANT AVE                                                           ODESSA                TX    79761‐5117
FOR JOSIAH NAVARRETTE
MELVA NAVARRETTE INDIVIDUALLY A/N/F   C/O THE MALHOTRA LAW FIRM       319 NORTH GRANT AVENUE                                                    ODESSA                 TX   79761
FOR JOSIAH NAVARRETTE
MELVA PACE                            20406 MARYSVILLE RD                                                                                       MARYSVILLE            IN    47141‐9756
MELVA REYNOLDS                        10992 CHILLICOTHE RD                                                                                      KIRTLAND              OH    44094‐5104
MELVA RITZIE                          901 CORLISS AVENUE                                                                                        HAMILTON              OH    45011‐4443
MELVA ROBERTS                         4588 MORGAN VIEW ROAD                                                                                     GENESEO               NY    14454‐9414
MELVA ROBINSON                        719 SURFWOOD LN                                                                                           DAVISON               MI    48423‐1224
MELVA SELLS                           6708 MILLSIDE DR                                                                                          INDIANAPOLIS          IN    46221‐9656
MELVA SHOOK                           9754 E CARLTON CENTER RD                                                                                  WOODLAND              MI    48897‐9778
MELVA SMITH                           641 SHADYWAY DR                                                                                           DALLAS                TX    75232‐4821
MELVA THOMAS                          3470 DWYER LN                                                                                             FLORISSANT            MO    63033‐2913
MELVA TINKA                           1110 VINEWOOD ST                                                                                          AUBURN HILLS          MI    48326‐1645
MELVA VILTZ                           1961 LAUREL OAK DR                                                                                        FLINT                 MI    48507‐6038
MELVA WILLIAMS                        875 BEACH BUGGY LN                                                                                        LINDEN                MI    48451‐9668
MELVAKA WALKER                        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                 HOUSTON               TX    77007
                                      BOUNDAS LLP
MELVEETIA L FORD                      PO BOX 320433                                                                                             FLINT                 MI 48532‐0008
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Name                        Address1                             Address2                        Address3   Address4         City                 State Zip
MELVEN CRIDER               14412 N HOLLY RD                                                                                 HOLLY                 MI 48442‐9404
MELVEN TRAMMELL             2203 CUMBERLAND ST                                                                               SAGINAW               MI 48601‐4155
MELVENA CARMICHAEL          206 GOLF AIRE BLVD                                                                               WINTER HAVEN          FL 33884‐3213
MELVENE SANFORD             PO BOX 1372                                                                                      WARREN                OH 44482‐1372
MELVENUS DUNN               PO BOX 234                                                                                       FLINT                 MI 48501‐0234
MELVENUS P DUNN             PO BOX 234                                                                                       FLINT                 MI 48501‐0234
MELVERN CROWDER             16686 WRIGHTWOOD DR                                                                              TRAVERSE CITY         MI 49686
MELVERN SLAYSMAN            406 S TAYLOR AVE                                                                                 BALTIMORE             MD 21221‐6845
MELVIA PYLES                19525 COUNTY ROAD 212                                                                            DEFIANCE              OH 43512‐9349
MELVIA THOMAS               1427 W NORTH ST                                                                                  KOKOMO                IN 46901‐1954
MELVIA WILLIAMS             405 W MARENGO AVE                                                                                FLINT                 MI 48505‐6300
MELVIE GULLEDGE             2936 N RED BANKS RD                                                                              RED BANKS             MS 38661‐9718
MELVIE TAYLOR               9312 WARWICK ST                                                                                  DETROIT               MI 48228‐1735
MELVIK, FRANK A             204 VIA CONDADO WAY                                                                              PALM BEACH GARDENS    FL 33418‐1701
MELVILLE ALLEMANG           902 RICHARD DR                                                                                   XENIA                 OH 45385‐2531
MELVILLE BLAIR              3553 ROBINSON ROAD                                                                               PELLSTON              MI 49769‐9136
MELVILLE CORPORATION        933 MACARTHUR BLVD                                                                               MAHWAH                NJ 07430‐2045
MELVILLE D. LIDE            470 104TH ST                                                                                     STONE HARBOR          NJ 08247
MELVILLE G ALLEMANG         902 EAST RICHARD DR                                                                              XENIA                 OH 45385
MELVILLE HEPPE              1399 OLD LONG LAKE RD                                                                            TRAVERSE CITY         MI 49684‐7891
MELVILLE III, WILLIAM R     3658 CHILI AVE                                                                                   ROCHESTER             NY 14624‐5239
MELVILLE JOHNSTON           7818 1ST ST                                                                                      MASURY                OH 44438‐1429
MELVILLE KING               PO BOX 338                           33530 BIRCH SHORE DR                                        TROUT LAKE            MI 49793‐0338
MELVILLE MARRIOTT/NY        13501 WALT WHITMAN ROAD                                                                          MELVILLE              NY 11747
MELVILLE WILLIAM            3615 MILL ST                                                                                     HARTLAND              MI 48353‐7701
MELVILLE, AKILAH            KIMMEL & SILVERMAN PC                1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL           NJ 08003
MELVILLE, BARBARA A         8215 CLINTON RIVER RD                                                                            STERLING HTS          MI 48314‐1621
MELVILLE, CLIFFORD          KIMMEL & SILVERMAN PC                1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL           NJ 08003
MELVILLE, HENRIETTA         158 GRAND VILLAGE CT SW                                                                          GRANDVILLE            MI 49418‐2157
MELVILLE, JAMES M           4350 WIMBLEDON DR SW APT 1                                                                       GRANDVILLE            MI 49418‐2815
MELVILLE, JOHN H            31 BRIGHT OAKS DRIVE                                                                             ROCHESTER             NY 14624‐4732
MELVILLE, JOHN W            12632 PRESTON RD                                                                                 BRITTON               MI 49229‐9549
MELVILLE, LANNY R           808 E HOWARD AVE                                                                                 MILWAUKEE             WI 53207‐3938
MELVILLE, LARRY R           158 GRAND VILLAGE CT SW                                                                          GRANDVILLE            MI 49418‐2157
MELVILLE, RANDOLPH I        13179 OLD OAKS DR                                                                                FENTON                MI 48430‐9550
MELVILLE, TOMMY A           3231 REISER AVE SW                                                                               GRAND RAPIDS          MI 49548‐2152
MELVILLE, WILLIAM E         PO BOX 101                                                                                       HARTLAND              MI 48353‐0101
MELVIN
MELVIN & BARBARA SCHRADER   239 TILE MILL RD                                                                                 BEAVER               OH   45613‐9434
MELVIN & CAROLE COHEN       338 ALGONQUIN RD                                                                                 FRANKLIN LAKES       NJ   07417‐1002
MELVIN & FRANCES ARBETER    PO BOX 374                                                                                       DUBLIN               PA   18917
MELVIN A H D INC            ATTN: CORPORATE OFFICER/AUTHORIZED   666 FIFTH AVE                                               NEW YORK             NY   10103
                            AGENT
MELVIN A HARLSTON           1080 RIVERVIEW BLVD                                                                              SAINT LOUIS          MO   63147‐1705
MELVIN A HENDERSON          261 ELMWOOD TERRACE                                                                              ROCHESTER            NY   14620‐3705
MELVIN A JORDAN             1610 SOUTH CENTER BLVD.                                                                          SPRINGFIELD          OH   45506
MELVIN A OGLESBY SR         549 BURGESS                                                                                      DAYTON               OH   45415
MELVIN A PEEPLES            18231 MARLOWE ST                                                                                 DETROIT              MI   48235‐2763
MELVIN A RAU                24160 STATE ROUTE 613                                                                            CONTINENTAL          OH   45831‐8924
MELVIN A VAN DYKE           25 HAWK RIDGE ROAD                                                                               MEREDITH             NH   03253‐5626
MELVIN ADAMS                PO BOX 75                                                                                        SAGOLA               MI   49881‐0075
MELVIN ADAMS                414 ELECTRIC ST                                                                                  NEW CASTLE           PA   16101‐4903
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Name                 Address1                         Address2                       Address3   Address4         City               State Zip
MELVIN ADAMS         6106 NATCHEZ DR                                                                             MOUNT MORRIS        MI 48458‐2778
MELVIN ADAMS         PO BOX 270                                                                                  BIRCH RUN           MI 48415‐0270
MELVIN ALBRITTON     2926 RUE ORLEANS                                                                            SHREVEPORT          LA 71119‐3428
MELVIN ALFRED        5543 DRAUGHN DR                                                                             JACKSON             MS 39209‐4512
MELVIN ALLEN         12747 OINEHURST ST                                                                          DETROIT             MI 48238‐3087
MELVIN ALLEN         4425 KENSINGTON AVE                                                                         DETROIT             MI 48224‐2772
MELVIN ALLEN         188 MORTAR CREEK RD                                                                         QUITMAN             AR 72131‐9322
MELVIN ALMAROAD      4560 HOOPER HWY                                                                             COSBY               TN 37722‐3083
MELVIN ALSPACH       2104 ROCK SPRINGS RD                                                                        COLUMBIA            TN 38401‐7422
MELVIN ALSPAUGH      3513 GLENBROOK DR                                                                           LANSING             MI 48911‐2108
MELVIN ALSTON        UNIT 102                         11338 BELMONT LAKE DRIVE                                   LAS VEGAS           NV 89135‐1365
MELVIN ALTOM         5280 VINEYARD LN                                                                            FLUSHING            MI 48433‐2438
MELVIN ANDERSON      129 HOMEWOOD AVE                                                                            BELLE VERNON        PA 15012‐2247
MELVIN ANDERSON      6310 CHURCH RD                                                                              FELTON              PA 17322‐8692
MELVIN ANDERSON      APT 1124                         1311 WEST BASELINE ROAD                                    TEMPE               AZ 85283‐5384
MELVIN ANDERSON      2908 OTTO RD                                                                                CHARLOTTE           MI 48813‐9791
MELVIN ANNIS         100‐6 CO‐OP BLVD                                                                            BRONX               NY 10475
MELVIN ARGERSINGER   1233 W CENTERLINE RD                                                                        SAINT JOHNS         MI 48879‐9106
MELVIN ARMISTEAD     6375 ROSSI DR                                                                               CANAL WINCHESTER    OH 43110‐8561
MELVIN ARNOLD        1713 VINAL ST                                                                               TOLEDO              OH 43605‐3661
MELVIN ARNOLD        17966 ARGONNE ESTATES DR                                                                    FLORISSANT          MO 63034‐1338
MELVIN ASH           APT A                            221 WILLARD AVENUE SOUTHEAST                               WARREN              OH 44483‐6253

MELVIN ASHENBERNER   580 5TH CT                                                                                  FAIRVIEW           OR   97024‐1959
MELVIN ASHLEY        2900 SW 90TH ST                                                                             OKLAHOMA CITY      OK   73159‐6566
MELVIN AUSTIN        215 S WASHINGTON ST                                                                         CHESANING          MI   48616‐1539
MELVIN AUSTIN        4298 CAYUNA TRAIL                                                                           FLINT              MI   48523
MELVIN AVERY         8328 OAK CROSSING DR W                                                                      JACKSONVILLE       FL   32244‐6943
MELVIN B HUTCHESON   7772 9 MILE RIDGE RD                                                                        HARDY              AR   72542‐8942
MELVIN B JILES       25710 130TH AVE SE                                                                          KENT               WA   98030‐7991
MELVIN B MARTIN      3251 SHEFFIELD RD                                                                           DAYTON             OH   45449‐2752
MELVIN BABBITT       11267 W HOWE RD                                                                             EAGLE              MI   48822‐9774
MELVIN BABCOCK       4805 BEACH RIDGE RD                                                                         LOCKPORT           NY   14094‐9641
MELVIN BAILEY        40 BENT ARROW DR                                                                            STOCKBRIDGE        GA   30281‐4827
MELVIN BAKER         148 LINER DR                                                                                MONROE             LA   71203‐2974
MELVIN BAKER         211 COSMOS DR                                                                               WEST CARROLLTON    OH   45449‐2005
MELVIN BAKER         1482 BEEBE SCHOOL RD                                                                        AFTON              MI   49705‐9704
MELVIN BAKER JR      3228 WARREN DR                                                                              WATERFORD          MI   48329‐3545
MELVIN BALCIAR       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.        OH   44236
MELVIN BALLARD       5966 COLBY RD                                                                               OWOSSO             MI   48867‐9715
MELVIN BALSMAN       206 E SOUTH ST                                                                              PERRYVILLE         MO   63775‐2610
MELVIN BARBER JR     2000 RAMAR RD LOT 386                                                                       BULLHEAD CITY      AZ   86442‐9333
MELVIN BARBEROUSSE   1303 ORIENTAL AVE                                                                           ARLINGTON          TX   76011‐2674
MELVIN BARKLEY       546 S 21ST ST                                                                               SAGINAW            MI   48601‐1533
MELVIN BARNES        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS.        OH   44236
MELVIN BARON         58619 HILL DR                                                                               LAWRENCE           MI   49064‐9719
MELVIN BARROW        16904 BRAILE ST                                                                             DETROIT            MI   48219‐3900
MELVIN BARTON        PO BOX 533                                                                                  ELLINGTON          MO   63638‐0533
MELVIN BASICKER      338 GRESHAM LN                                                                              MURFREESBORO       TN   37129‐4128
MELVIN BASS          264 NORFOLK CIR                                                                             HARROGATE          TN   37752‐7706
MELVIN BASS          3715 N VALDOSTA RD APT 63                                                                   VALDOSTA           GA   31602‐1084
MELVIN BATES         10000 SPRINGS LN APT E                                                                      NORCROSS           GA   30092‐4116
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Name                 Address1                        Address2                       Address3            Address4         City               State Zip
MELVIN BAUER         17606 SE 24TH ST                                                                                    SILVER SPRINGS      FL 34488‐6202
MELVIN BAUER         3 PATRICE TER                                                                                       WILLIAMSVILLE       NY 14221‐4701
MELVIN BAXTER        12799 DOHONEY RD                                                                                    DEFIANCE            OH 43512‐8712
MELVIN BAZEMORE      10810 TYRONE DR                                                                                     UPPER MARLBORO      MD 20772‐4633
MELVIN BEAKER        20451 SENECA AVE                                                                                    BROWNSTOWN TWP      MI 48183‐5081
MELVIN BEASLEY       16101 SUSSEX ST                                                                                     DETROIT             MI 48235‐3853
MELVIN BEDILLION     12A CHARTIERS TER                                                                                   CARNEGIE            PA 15106‐4219
MELVIN BELL          207 N WALDEMERE AVE                                                                                 MUNCIE              IN 47303‐5177
MELVIN BELL          PO BOX 264                                                                                          BIRCH TREE          MO 65438‐0264
MELVIN BELL SR       C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                           HOUSTON             TX 77007
                     BOUNDAS LLP
MELVIN BENCH         5149 3RD AVENUE NORTH                                                                               ST PETERSBURG      FL   33710‐8112
MELVIN BENFORD       3856 N 24TH PL                                                                                      MILWAUKEE          WI   53206‐1419
MELVIN BENNETT       APT 11                          7376 CRYSTAL LAKE DRIVE                                             SWARTZ CREEK       MI   48473‐8948
MELVIN BENNETT       901 RED OAK LN                                                                                      PENDLETON          IN   46064‐9380
MELVIN BERNINGER     17372 EGO AVE                                                                                       EASTPOINTE         MI   48021‐3102
MELVIN BEUTLER       700 80TH AVE SE                                                                                     NORMAN             OK   73026‐3712
MELVIN BICKNELL JR   PO BOX 245                                                                                          MOUNT MORRIS       MI   48458‐0245
MELVIN BIERLEIN      8880 E HOLLAND RD                                                                                   SAGINAW            MI   48601‐9477
MELVIN BILLSTROM     612 PARK RIDGE RD                                                                                   WATERFORD          WI   53185‐4478
MELVIN BINGHAM       521 ODETTE ST                                                                                       FLINT              MI   48503‐5130
MELVIN BINGHAM JR.   3913 JOYNER ST                                                                                      FLINT              MI   48532‐3887
MELVIN BIRKEMEIER    1241 FAIRWAY GREENS DR                                                                              SUN CITY CENTER    FL   33573‐8068
MELVIN BISHOP        883 LOWER AARONS CREEK RD                                                                           MORGANTOWN         WV   26508‐1555
MELVIN BLACK         C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                        CHICAGO            IL   60602
MELVIN BLACKBURN     2668 HALYARD COURT                                                                                  LANSING            MI   48911‐8139
MELVIN BLAIR         5433 W 8TH STREET RD                                                                                ANDERSON           IN   46011‐9106
MELVIN BLANC         11572 POGGEMOELLER AVE                                                                              SAINT LOUIS        MO   63138‐1132
MELVIN BLEVINS       2111 S EBRIGHT ST                                                                                   MUNCIE             IN   47302‐4344
MELVIN BLOCKER       1458 HARDISON RD                                                                                    COLUMBIA           TN   38401‐1351
MELVIN BLOCKTON      2238 HOLLIS DR                                                                                      SAINT LOUIS        MO   63136‐5425
MELVIN BLUE          C/O BARON & BUDD PC             THE CENTRUM SUITE 1100         3102 OAK LAWN AVE                    DALLAS             TX   75219‐4281
MELVIN BOGAR         06B2408                         ATTICA CORRECTIONAL FACILITY                                        ATTICA             NY   14011
MELVIN BOGGS         671 STATE ROUTE 314 N                                                                               MANSFIELD          OH   44903‐8969
MELVIN BOLYARD       RR 1 BOX 303A                                                                                       FAIRMONT           WV   26554‐9601
MELVIN BONE          7293 HAWTHORNE CIR                                                                                  GOODRICH           MI   48438‐9239
MELVIN BONNER        207 W 2ND ST                                                                                        LOWRY CITY         MO   64763‐9573
MELVIN BOOMER JR     1038 BIRD SONG LN                                                                                   MILFORD            MI   48381‐1041
MELVIN BOONSTRA      5100 W STATE RD                                                                                     MIDDLEVILLE        MI   49333‐8723
MELVIN BORREGO       6290 TAFT ST                                                                                        FREDERICK          CO   80530‐4861
MELVIN BOWEN         71 RIVERSIDE HOMES                                                                                  ELYRIA             OH   44035‐7633
MELVIN BOWEN         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.        OH   44236
MELVIN BOWMAN        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.        OH   44236
MELVIN BOWMAN        900 SAINT ANDREWS DR                                                                                RIO VISTA          CA   94571‐9707
MELVIN BOYCE         905 W BROAD ST                                                                                      LINDEN             MI   48451‐8767
MELVIN BOYER         8833 S FRANKLIN RD                                                                                  INDIANAPOLIS       IN   46259‐9771
MELVIN BRAMBLETT     3563 W 750 S                                                                                        JAMESTOWN          IN   46147‐9415
MELVIN BRAMLETT      816 MITWEDE ST SW                                                                                   HARTSELLE          AL   35640‐3504
MELVIN BRANCH        652 N 38TH ST                                                                                       EAST SAINT LOUIS   IL   62205‐2106
MELVIN BRANTLEY      106 DAYLA LN                                                                                        COLUMBIA           TN   38401‐2696
MELVIN BRAUN         278 MOORE RD                                                                                        MOORESBURG         TN   37811‐2302
MELVIN BRENNEMAN     221 MAGOTHY RD                                                                                      PASADENA           MD   21122‐6121
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Name                      Address1                         Address2          Address3         Address4         City              State Zip
MELVIN BREWER             1107 N AUSTIN RD                                                                     JANESVILLE         WI 53548‐9566
MELVIN BREZINSKI          5450 LEROY LN                                                                        GREENDALE          WI 53129‐1947
MELVIN BRIDGES            1625 E THOMPSON RD                                                                   INDIANAPOLIS       IN 46227‐4270
MELVIN BRIDGES            3321 WOLF DR                                                                         GAINESVILLE        GA 30506‐1439
MELVIN BRIDGES            11697 LAING ST                                                                       DETROIT            MI 48224‐1556
MELVIN BRIGHT             PO BOX 45                        416 ALLEN ST                                        CLIO               MI 48420‐0045
MELVIN BRIGHT             360 ELM ST APT 107                                                                   GREENSBORO         NC 27401
MELVIN BRIMAGE            130 STUART AVENUE                                                                    WEST MEMPHIS       AR 72301‐3504
MELVIN BRINSEY            6229 BRADLEY BROWNLEE RD NE                                                          BURGHILL           OH 44404‐9705
MELVIN BRITT              9111 CANOGA CANYON CT UNIT 103                                                       LAS VEGAS          NV 89149‐2955
MELVIN BROCK              10 CRANBERRY CT                                                                      ELSMERE            KY 41018‐2745
MELVIN BROCKETT           4300 STELLO RD                                                                       SAGINAW            MI 48609‐9130
MELVIN BROECKER           5090 HEGEL RD                                                                        GOODRICH           MI 48438‐9677
MELVIN BROOKS             5500 GROVELAND AVE                                                                   BALTIMORE          MD 21215‐4244
MELVIN BROOKS             250 ETHELROB CIR                                                                     CARLISLE           OH 45005
MELVIN BROW               2173 W MOUNT MORRIS RD                                                               MOUNT MORRIS       MI 48458‐8239
MELVIN BROWN              66 CUSTER ST APT 217                                                                 BUFFALO            NY 14214‐1178
MELVIN BROWN              5205 W WILSON RD                                                                     CLIO               MI 48420‐9450
MELVIN BROWN              6767 KINGSLAND                                                                       SHELBY TOWNSHIP    MI 48317‐6313
MELVIN BROWN              319 MARION OAKS CRSE                                                                 OCALA              FL 34473‐2335
MELVIN BROWN              22381 PELTIER PT                                                                     ST CLR SHORES      MI 48081‐2528
MELVIN BROWN              PO BOX 821                                                                           MONROE             GA 30655‐0821
MELVIN BROWN              3980 NORTHRIDGE RD                                                                   BRIDGEPORT         MI 48722‐9541
MELVIN BROWN              205 ABERDEEN ST                                                                      ROCHESTER          NY 14619‐1214
MELVIN BROWN JR           22905 GLENBROOK ST                                                                   ST CLAIR SHRS      MI 48082‐1137
MELVIN BROWN JR           572 HERMAN AVE                                                                       BOWLING GREEN      KY 42104‐8577
MELVIN BRYANT             1971 RIDLEY RD                                                                       DAHLONEGA          GA 30533‐1963
MELVIN BRYANT             3103 LINDA ST                                                                        SHREVEPORT         LA 71119‐5212
MELVIN BUCHER             2202 STEWART RD                                                                      XENIA              OH 45385‐8936
MELVIN BUCHHOLZ           5589 GRAND TRAVERSE LN                                                               PORTAGE            MI 49024‐1279
MELVIN BUMSTEAD           850 MACK BRANCH RD                                                                   LYNNVILLE          TN 38472‐5410
MELVIN BURGGRAF           654 BENAVIDES ST                                                                     MIAMISBURG         OH 45342‐2258
MELVIN BURKS              8678 HEATHER CT                                                                      YPSILANTI          MI 48198‐3216
MELVIN BURNS              2351 REED ST                                                                         LANSING            MI 48911‐7211
MELVIN BURSON JR          6347 PHILLIPS CREEK DR                                                               LITHONIA           GA 30058‐8929
MELVIN BURTON             11390 JUNEBERRY DR                                                                   CINCINNATI         OH 45240‐2935
MELVIN BURTON             4101 GLEN PARK RD                                                                    BALTIMORE          MD 21236‐1016
MELVIN BUTLER             4101 OVERLAND TRL                                                                    KETTERING          OH 45429‐1609
MELVIN BUTLER             385 MAXWELL RD                                                                       PONTIAC            MI 48342‐1750
MELVIN BYRON JR.          613 BRYNFORD AVE                                                                     LANSING            MI 48917‐4901
MELVIN C BELL             538 ONANDAGO ST                                                                      YPSILANTI          MI 48198‐6179
MELVIN C BUCHER           2202 STEWART ROAD                                                                    XENIA              OH 45385‐8936
MELVIN C DAVIS            1507 BURTON ST                                                                       JACKSON            MS 39209‐5710
MELVIN C GREENWALD TTEE   MELVIN C GREENWALD LIVING TR     935 THE TERRACE                                     HAGERSTOWN         MD 21742‐3225
MELVIN C HOUSTON          406 S 25TH ST                                                                        MONROE             LA 71201‐7971
MELVIN C JONES            PO BOX 5053                                                                          SHREVEPORT         LA 71135‐5053
MELVIN C KING             322 HANNA DR                                                                         VINCENT            AL 35178‐9465
MELVIN C PEARSON          4600 S. WASHTENAW                                                                    CHICAGO             IL 60632‐1945
MELVIN C PYLE             3840 JOHNSVILLE BROOKVILLE                                                           BROOKVILLE         OH 45309‐8771
MELVIN C RUDD             3676 MCLEAN RD                                                                       FRANKLIN           OH 45005‐4760
MELVIN C STEPHENS         137 DOSSETT LANE                                                                     JACKSBORO          TN 37757‐2807
MELVIN C WARREN           4901 S HARRAH RD                                                                     NEWALLA            OK 74857‐6505
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Name                 Address1                        Address2                     Address3   Address4         City            State Zip
MELVIN CADLE         11725 BLOTT RD                                                                           NORTH JACKSON    OH 44451‐9716
MELVIN CALHOUN       19391 NEWTOWN RD                                                                         OAKWOOD           IL 61858‐6028
MELVIN CALHOUN       515 N 26TH ST                                                                            SAGINAW          MI 48601‐6210
MELVIN CALHOUN       PO BOX 4306                                                                              SAGINAW          MI 48606‐4306
MELVIN CAMPBELL      3007 KIRK RD                                                                             VASSAR           MI 48768‐9743
MELVIN CAMPBELL      715 ALBERT ST                                                                            MARTINSBURG      WV 25404‐4601
MELVIN CANNON        9437 W US 36                                                                             MIDDLETOWN       IN 47356
MELVIN CARMICHAEL    487 LARCHMONT CIR NW                                                                     ATLANTA          GA 30318‐7113
MELVIN CARMINE       3418 HENRY HARFORD DR                                                                    ABINGDON         MD 21009‐1123
MELVIN CARPENTER     8346 PARKSIDE DR                                                                         GRAND BLANC      MI 48439‐7436
MELVIN CARR JR       3423 S EDSEL ST                                                                          DETROIT          MI 48217‐2406
MELVIN CARROLL       3350 SACKETT AVE                                                                         CLEVELAND        OH 44109‐2018
MELVIN CARSON SR     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                HOUSTON          TX 77007
                     BOUNDAS LLP
MELVIN CARTER        C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                HOUSTON          TX   77007
                     BOUNDAS LLP
MELVIN CARTER        3255 WESTBROOK ST                                                                        SAGINAW         MI    48601‐6949
MELVIN CARTER        315 BOWEN DR                                                                             FREDERICKSBRG   VA    22407‐1468
MELVIN CARVER        13638 MCNAB AVE                                                                          BELLFLOWER      CA    90706‐2737
MELVIN CASADA        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.     OH    44236
MELVIN CASE          835 HOLLY BUSH DR                                                                        HOLLY           MI    48442‐1371
MELVIN CASNER        26772 CC HWY                                                                             CARROLLTON      MO    64633‐7446
MELVIN CHAILLOU      1492 PARK LN                                                                             PASADENA        MD    21122
MELVIN CHAPMAN       1422 TWIN RIVERS BLVD                                                                    OVIEDO          FL    32766‐5084
MELVIN CHECKER       PO BOX 315                                                                               VERNON          MI    48476‐0315
MELVIN CHEESBRO      6500 N HAWKINS HWY                                                                       MANITOU BEACH   MI    49253‐9736
MELVIN CHILDRESS     508 E WILLIAMSBURG MNR                                                                   ARLINGTON       TX    76014‐1142
MELVIN CHILDS        4619 CREIGHTON RD                                                                        PENSACOLA       FL    32504‐9117
MELVIN CHRZANOWSKI   27408 GILBERT DR                                                                         WARREN          MI    48093‐4493
MELVIN CLARK         1605 DEWEY ST                                                                            NEW ALBANY      IN    47150‐5740
MELVIN CLARK         539 VIRGINIA ST                                                                          MARTINSVILLE    IN    46151‐3155
MELVIN CLARK         2456 GRAND RIVER RD                                                                      BANCROFT        MI    48414‐9731
MELVIN CLARK         1077 ARGYLE AVE                                                                          PONTIAC         MI    48341‐2304
MELVIN CLARK         96 WYNDEMERE DR                                                                          FRANKLIN        OH    45005‐2465
MELVIN CLARK         REAR                            15401 PLYMOUTH                                           E CLEVELAND     OH    44112
MELVIN CLEMENTS      3818 MARTINGALE DR SE                                                                    CONYERS         GA    30094‐4156
MELVIN CLEVELAND     PO BOX 361135                                                                            DECATUR         GA    30036‐1135
MELVIN CLIMER        PO BOX 560364                   17750 NEAL DR                                            MONTVERDE       FL    34756‐0364
MELVIN COCKERHAM     6784 BRANDONVIEW CT                                                                      HUBER HEIGHTS   OH    45424‐7302
MELVIN COCKROFT      20672 VESPER DR                                                                          MACOMB          MI    48044‐6809
MELVIN COLCORD       5513 S SHADY LN                                                                          JANESVILLE      WI    53546‐8938
MELVIN COLE          1605 ADAMS STREET SOUTHEAST                                                              GRAND RAPIDS    MI    49506‐3905
MELVIN COLEMAN       7110 EDGETON ST                                                                          DETROIT         MI    48212‐1906
MELVIN COLLIE        833 RANDOLPH ST                                                                          DAYTON          OH    45408‐1733
MELVIN COLLINS       9739 HUFFMAN RD                                                                          FARMERSVILLE    OH    45325‐9225
MELVIN COLLINS JR    3205 HIGHGATE LN                                                                         SAINT CHARLES   MO    63301‐1099
MELVIN COLVIN        1218 RAMBLEWOOD RD                                                                       BALTIMORE       MD    21239‐2637
MELVIN COMPTON       3514 JULIE LN                                                                            INDIANAPOLIS    IN    46228‐2043
MELVIN CONDER        1262 BAREFOOT TRL                                                                        GREENWOOD       IN    46142‐5111
MELVIN CONNORS       908 HOLLIDAY DR                                                                          FAIRVIEW HTS    IL    62208‐2952
MELVIN CONQUERGOOD   4035 S HENDERSON RD                                                                      DAVISON         MI    48423‐8796
MELVIN CONWAY        10078 W MOUNT MORRIS RD                                                                  FLUSHING        MI    48433‐9217
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Name                 Address1                       Address2                   Address3          Address4         City             State Zip
MELVIN COOK          PO BOX 496                                                                                   BIRCH RUN         MI 48415‐0496
MELVIN COOLEY        4957 THEODORE AVE                                                                            SAINT LOUIS       MO 63115‐1814
MELVIN COOPER        404 SHADNECK RD                                                                              ELIZABETH CITY    NC 27909‐7456
MELVIN CORWIN        16651 STATE ROUTE 18                                                                         DEFIANCE          OH 43512‐8773
MELVIN COTTON        7243 KINGSWAY ST.                                                                            FLUSHING          MI 48433
MELVIN COTTON        PO BOX 10343                                                                                 DETROIT           MI 48210‐0343
MELVIN COTTON        87 PALOMINO PL                                                                               CHARLES TOWN      WV 25414‐4504
MELVIN COULTER       7405 COVENTRY DR                                                                             PORT RICHEY       FL 34668‐2617
MELVIN COX           431 APPLE DR                                                                                 CRESTVIEW         FL 32536‐9241
MELVIN COX           5315 BETHANY RD                                                                              MASON             OH 45040‐8130
MELVIN CRAFTON       1960 BEECHMONT ST                                                                            KEEGO HARBOR      MI 48320‐1141
MELVIN CRAIG         512 FOREST VIEW DR                                                                           BEDFORD           IN 47421‐5221
MELVIN CRAMER        3666 IVY DR NE                                                                               GRAND RAPIDS      MI 49525‐2420
MELVIN CRAWFORD      PO BOX 781                                                                                   GREENCASTLE       IN 46135‐0781
MELVIN CRAWFORD      11234 DUFFIELD RD                                                                            MONTROSE          MI 48457‐9400
MELVIN CREEK         4457 NORCROSS RD                                                                             HIXSON            TN 37343‐4435
MELVIN CROCKETT      12500 SHAKER BLVD APT 506                                                                    CLEVELAND         OH 44120‐2050
MELVIN CROSBY        15420 COLUMBIA HWY                                                                           LYNNVILLE         TN 38472‐5225
MELVIN CRYDERMAN     2855 RAY RD                                                                                  OXFORD            MI 48371‐3829
MELVIN CUNNINGHAM    4450 RUPPRECHT RD                                                                            VASSAR            MI 48768‐9108
MELVIN CUNNINGHAM    APT A                          5065 BROUGHTON PLACE                                          DAYTON            OH 45431‐1195
MELVIN CUNNINGHAM    5065 BROUGHTON PL              APT A                                                         RIVERSIDE         OH 45431
MELVIN CURRAN        435 AFTON AVE                                                                                BOARDMAN          OH 44512‐2313
MELVIN CURRY         2135 TURNBULL RD                                                                             BEAVERCREEK       OH 45431‐3228
MELVIN CURTIS        1403 EAST LURAY ROAD                                                                         SPRINGPORT        IN 47386‐9715
MELVIN CUTTING       261 W FIR ST                                                                                 NOLANVILLE        TX 76559‐9739
MELVIN D AUSTIN      NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD      TX 75638
MELVIN D BLACKBURN   2867 WILLIAMSBURG                                                                            WARREN            OH 44485
MELVIN D BURGGRAF    654 BENAVIDES DR                                                                             MIAMISBURG        OH 45342‐2258
MELVIN D COLLINS     9739 HUFFMAN RD                                                                              FARMERSVILLE      OH 45325‐9225
MELVIN D DORSEY      8 HILLPOINT                                                                                  TROTWOOD          OH 45426
MELVIN D GENTRY      267 DARST ROAD                                                                               BEAVERCREEK       OH 45440‐3436
MELVIN D NIPPER      2033 S KIRKWOOD DR                                                                           SHREVEPORT        LA 71118‐4716
MELVIN D PERRY       505 MARINE DR                                                                                ANDERSON          IN 46016‐5944
MELVIN D ROBINSON    3004 GRACE RD                                                                                KALAMAZOO         MI 49006‐2908
MELVIN D RUTLEDGE    190 WILSONIA ROAD                                                                            ROCHESTER         NY 14609‐6758
MELVIN D WICKER      2301 HAZEL AVE                                                                               KETTERING         OH 45420
MELVIN D. AUSTIN     NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD      TX 75638
MELVIN DADE          1107 N 4TH ST                                                                                WEST MONROE       LA 71291‐2821
MELVIN DAMICO        APT 228                        3450 WEST 13 MILE ROAD                                        ROYAL OAK         MI 48073‐6707
MELVIN DANIEL        2203 RIOMAR DR                                                                               HOLIDAY           FL 34691‐3561
MELVIN DARM          7674 E RIDGEVILLE RD                                                                         BLISSFIELD        MI 49228‐9634
MELVIN DARRELL       PO BOX 16                                                                                    BURT              NY 14028‐0016
MELVIN DAVIS         2105 CHASE WLS                                                                               SHREVEPORT        LA 71118‐4602
MELVIN DAVIS         556 SWEENEY LN                                                                               BOWLING GREEN     KY 42101‐9266
MELVIN DAVIS         140 DALE EARNHARDT LANE                                                                      PEARSON           GA 31642
MELVIN DAWKINS       88 COOL RUN RD                                                                               BRIDGETON         NJ 08302‐4627
MELVIN DAWSON        PO BOX 38450                                                                                 DETROIT           MI 48238‐0450
MELVIN DEAN          34940 FRASER ST                                                                              DADE CITY         FL 33523‐8715
MELVIN DEATON        2022 MUNFORD DRIVE                                                                           FORT WAYNE        IN 46816
MELVIN DEERE         1499 SOUTHWESTERN ROAD                                                                       GROVE CITY        OH 43123‐1028
MELVIN DEESE         54 ROCKYWOOD LN                                                                              BALTIMORE         MD 21221‐3260
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Name                  Address1                       Address2                   Address3          Address4         City                 State Zip
MELVIN DEETS          210 SAND PATCH LN                                                                            STEWARTSTOWN          PA 17363‐8363
MELVIN DEMINGS        550 HOLFORD ST                                                                               RIVER ROUGE           MI 48218‐1109
MELVIN DEMLOW         5555 WOLF CREEK HWY                                                                          ADRIAN                MI 49221‐9536
MELVIN DEMOTT         4754 CHARLESTON CT                                                                           HOLLAND               MI 49423‐8719
MELVIN DENIO          3132 N WRIGHT RD                                                                             JANESVILLE            WI 53546‐4215
MELVIN DENNIS         1502 RAVENS GATE LN                                                                          ANDERSON              IN 46012‐5120
MELVIN DENNY          6109 E LAKE RD                                                                               BURT                  NY 14028‐9705
MELVIN DESHANO        2021 9 MILE RD                                                                               KAWKAWLIN             MI 48631‐9768
MELVIN DETTMANN       2663 LINCOLN AVE NW                                                                          GRAND RAPIDS          MI 49544‐1850
MELVIN DEVAUX         4513 NE JAMESTOWN DR                                                                         LEES SUMMIT           MO 64064‐1756
MELVIN DEWAYNE WYNN   C/O EDWARD O MOODY PA          801 WEST 4TH STREET                                           LITTLE ROCK           AR 72201
MELVIN DILL           PO BOX 233                                                                                   THORNBURG             VA 22565‐0233
MELVIN DILLON         4944 LORE DR                                                                                 WATERFORD             MI 48329‐1643
MELVIN DINA           16849 SE 80TH BATHURST CT                                                                    THE VILLAGES          FL 32162‐8303
MELVIN DIXON          9595 MOUNT OLIVE RD                                                                          MT PLEASANT           NC 28124‐9695
MELVIN DOBSON         2 WASHINGTON PL                                                                              DOVER                 DE 19901‐5238
MELVIN DONALD         C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                  NEW YORK CITY         NY 10003
MELVIN DONALD         WEITZ & LUXENBERG PC           700 BROADWAY                                                  NEW YORK CITY         NY 10003
MELVIN DONHAM         9695 MINYOUNG RD                                                                             RAVENNA               OH 44266‐9277
MELVIN DORRIES        4043 SNOOK RD                                                                                METAMORA              MI 48455‐9630
MELVIN DOUGLAS        9368 WINDCHASE WAY                                                                           JONESBORO             GA 30238‐5868
MELVIN DOVERSPIKE     6093 ROUTE 28                                                                                MAYPORT               PA 16240‐1319
MELVIN DOWDY          1200 GRANGER RD                                                                              ORTONVILLE            MI 48462‐9223
MELVIN DRAYTON        6587 SKIPPER TARRRACE                                                                        MARGATE               FL 33063
MELVIN DUNAWAY        2827 GREENLEE RD                                                                             RUTLEDGE              TN 37861‐5360
MELVIN DUTCHER        1813 W 7TH AVE                                                                               FRIENDSHIP            WI 53934‐9790
MELVIN DUWEL          7225 GARBER RD                                                                               DAYTON                OH 45415‐1216
MELVIN E BANKS        1389 CHARLES AVE                                                                             FLINT                 MI 48505‐1748
MELVIN E BEDILLION    12‐A CHARTIERS TERRACE                                                                       CARNEGIE              PA 15106‐4219
MELVIN E BROOKS       NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD          TX 75638
MELVIN E CADLE        11725 BLOTT RD.                                                                              NORTH JACKSON         OH 44451‐9716
MELVIN E CHAPMAN      1422 TWIN RIVERS BLVD                                                                        OVIEDO                FL 32766‐5084
MELVIN E DAVIS        75 ANKARA ST                                                                                 BROOKVILLE            OH 45309‐1220
MELVIN E DENHART JR   813 GLENDALE AVE                                                                             TILTON                 IL 61833‐7943
MELVIN E DOVERSPIKE   6093 ROUTE 28                                                                                MAYPORT               PA 16240‐‐ 13
MELVIN E DUWEL        7225 GARBER RD.                                                                              DAYTON                OH 45415‐1216
MELVIN E HAINES       22683 RT #62                                                                                 ALLIANCE              OH 44601‐9025
MELVIN E HAMPTON      1150 TEMPLE AVE                                                                              MOUNT MORRIS          MI 48458‐2582
MELVIN E LANDRUM      148 BALTIMORE ST                                                                             DAYTON                OH 45404‐1902
MELVIN E MCCOY        4417 COPELAND AVE                                                                            DAYTON                OH 45406‐1206
MELVIN E MICHAEL      2063 BRANDY MILL LN                                                                          CENTERVILLE           OH 45459‐1195
MELVIN E NELSON       618 LONE STAR DRIVE                                                                          ABILENE               TX 79602‐8144
MELVIN E RADTKE       3499 SARATOGA DR                                                                             HAMILTON              OH 45011‐8002
MELVIN E ROSIER       950 WILLOW VALLEY LAKES        #1305                                                         WILLOW STREET         PA 17584
MELVIN E WOOD JR      PO BOX 459                                                                                   AMELIA COURT HOUSE    VA 23002‐0459
MELVIN EARLEY         5866 OLDHAM DR                                                                               SPRINGFIELD           OH 45503‐7700
MELVIN EASTERDAY      1537 LYNWOOD LN                                                                              WHITE LAKE            MI 48383‐3601
MELVIN ECK I I I      2209 LODGE FARM RD                                                                           BALTIMORE             MD 21219‐2132
MELVIN EDMOND         1926 STATE ST                                                                                SAGINAW               MI 48602‐5028
MELVIN EDWARDS        3447 MAGNOLIA AVE 1ST FLOOR                                                                  SAINT LOUIS           MO 63118
MELVIN EDWARDS        4372 HARVARD RD                                                                              DETROIT               MI 48224‐2346
MELVIN EILAND         4155 RIVERSHELL LN                                                                           LANSING               MI 48911‐1908
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Name                  Address1                         Address2                     Address3             Address4            City              State Zip
MELVIN ELKINS         213 CADGEWITH W                                                                                        LANSING            MI 48906‐1752
MELVIN ELLIS          PO BOX 1433                                                                                            GARDEN CITY        MI 48136‐1433
MELVIN ELLISON        13401 LONGVIEW ST                                                                                      DETROIT            MI 48213‐1981
MELVIN EMELOCK
MELVIN EMMERT         1204 FLORENCE ST                                                                                       PARAGOULD         AR   72450‐5545
MELVIN ENDERS         187 PARKDALE AVE                                                                                       PONTIAC           MI   48340‐2551
MELVIN ENGEL          1341 S LAKE DR                                                                                         WEST BRANCH       MI   48661‐9392
MELVIN ENGEL          30503 STANDLEY RD RT 2                                                                                 HOLGATE           OH   43527
MELVIN ENGLISH        4671 S RIDGE DR                                                                                        WEST BLOOMFIELD   MI   48323‐2079
MELVIN ERNEST CRAFT   ROBERT W PHILLIPS                SIMMONS BROWDER GIANARIS     707 BERKSHIRE BLVD   POP BOX 521         EAST ALTON        IL   62024
                                                       ANGELIDES & BARNERD LLC
MELVIN ERTMAN         PO BOX 98                                                                                              ATLANTA           MI   49709‐0098
MELVIN ESTRY          C/O COONEY AND CONWAY            120 LASALLE 30TH FLOOR                                                CHICAGO           IL   60602
MELVIN EVANS          1312 BEACH AVE                                                                                         GULFPORT          MS   39501
MELVIN EVANS          PO BOX 420550                                                                                          PONTIAC           MI   48342‐0550
MELVIN F BUTLER       4101 OVERLAND TRAIL                                                                                    KETTERING         OH   45429
MELVIN F COLLIE       833 RANDOLPH STREET                                                                                    DAYTON            OH   45408‐1733
MELVIN F DEAN         1190 MORRIS HILLS PKWY                                                                                 MOUNT MORRIS      MI   48458‐2575
MELVIN F DUNAWAY      2827 GREENLEE RD                                                                                       RUTLEDGE          TN   37861‐5360
MELVIN FALKER         21 RANDY DR                                                                                            AKRON             NY   14001‐1155
MELVIN FARSEE JR      7055 TAGEN DR                                                                                          MEMPHIS           TN   38133‐4924
MELVIN FEOLE          PO BOX 28                                                                                              HOLLY             MI   48442‐0028
MELVIN FILLMORE       204 ELK RD                                                                                             ESSEX             MD   21221‐3002
MELVIN FINLEY         7584 STATE ROUTE 101 E APT A                                                                           CASTALIA          OH   44824‐9609
MELVIN FISHER         118 AMBER AVE                                                                                          N FORT MYERS      FL   33917‐6527
MELVIN FISHER         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH   44236
MELVIN FLEMING        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.       OH   44236
MELVIN FLETCHER       939 VETO ST NW                                                                                         GRAND RAPIDS      MI   49504‐6358
MELVIN FLETCHER       1222 COUNTRYSIDE RD                                                                                    NOLENSVILLE       TN   37135‐9714
MELVIN FLICKINGER     4015 N LEAVITT RD NW                                                                                   WARREN            OH   44485‐1139
MELVIN FORD           204 N MISSOURI ST                                                                                      ARCHIE            MO   64725‐9522
MELVIN FOSTER         29540 RED LEAF DR                                                                                      SOUTHFIELD        MI   48076‐2064
MELVIN FOUGHT         RT #2 6TH STREET                                                                                       SHELBYVILLE       MI   49344
MELVIN FOX            50 WINNIPEG LN                                                                                         HEDGESVILLE       WV   25427‐6294
MELVIN FREER          6232 E VERMONTVILLE HWY                                                                                POTTERVILLE       MI   48876‐9729
MELVIN FRYMAN         7873 4TH ST                                                                                            LEWISBURG         OH   45338‐8040
MELVIN FULLER         75 TEXAS AVE                                                                                           ROCHESTER HILLS   MI   48309‐1573
MELVIN FULTZ          4664 HEGEL RD                                                                                          GOODRICH          MI   48438‐9605
MELVIN G CAUPP        535 UNGER AVE.                                                                                         ENGLEWOOD         OH   45322
MELVIN G EHRLINGER    6811 HESS RD                                                                                           SAGINAW           MI   48601
MELVIN G GIBSON       MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           P O BOX 1792                             MT PLEASANT       SC   29465
MELVIN G MABE         34839 PHYLLIS ST                                                                                       WAYNE             MI   48184‐2422
MELVIN G PHILLIPS     C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                             HOUSTON           TX   77007
                      BOUNDAS LLP
MELVIN GAINES         79 CHEVES RD                                                                                           FORSYTH           GA   31029‐5114
MELVIN GARRETT        2158 COUNTY ROAD 428                                                                                   SARDIS            AL   36775‐2530
MELVIN GASTON         3235 DOVE DR SW                                                                                        WARREN            OH   44481‐9205
MELVIN GATER          42770 PLYMOUTH HOLLOW DR                                                                               PLYMOUTH          MI   48170‐2563
MELVIN GATER          11930 EAGLE CREEK PL                                                                                   FORT WAYNE        IN   46814‐3201
MELVIN GAWNE          1033 S HORIZONTE PL                                                                                    GREEN VALLEY      AZ   85614‐2036
MELVIN GEBERT         1330 E OREGON RD                                                                                       ADRIAN            MI   49221‐1331
MELVIN GENTRY         145 E FOSS AVE                                                                                         FLINT             MI   48505‐2115
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Name                            Address1                          Address2                   Address3                     Address4         City               State Zip
MELVIN GENTRY                   267 DARST RD                                                                                               DAYTON              OH 45440‐3436
MELVIN GEORGE EDMONDS           ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                    EAST ALTON           IL 62024
                                                                  ANGELIDES & BARNERD LLC    521
MELVIN GERSTENBERGER            1430 DORELLEN AVE                                                                                          FLINT              MI   48532‐5338
MELVIN GIBSON                   3674 CREEK RD                                                                                              YOUNGSTOWN         NY   14174‐1366
MELVIN GILLESPIE                1102 W MCCLELLAN ST                                                                                        FLINT              MI   48504‐2636
MELVIN GILLESPIE                5616 N 200 E                                                                                               HUNTINGTON         IN   46750‐9625
MELVIN GILMER III               2874 CONTINENTAL DR                                                                                        TROY               MI   48083‐5753
MELVIN GILMER JR                241 KEELSON DR                                                                                             DETROIT            MI   48215‐2979
MELVIN GLAZIER                  48440 ORMOND DR                                                                                            BELLEVILLE         MI   48111‐4606
MELVIN GLEASON                  299 S KENDRICK RD                                                                                          DANSVILLE          MI   48819‐9708
MELVIN GOLDSTEIN                PO BOX 740964                                                                                              BOYNTON BEACH      FL   33474‐0964
MELVIN GONZALEZ                 2757 DERBY DR                                                                                              DELTONA            FL   32738‐1723
MELVIN GRAHAM                   130 STATE ST                                                                                               PONTIAC            MI   48341‐1450
MELVIN GRAY                     5433 GERALDINE AVE                                                                                         SAINT LOUIS        MO   63115‐1451
MELVIN GRAY                     1990 15TH ST NE                                                                                            SAUK RAPIDS        MN   56379‐9576
MELVIN GRAY                     4780 WEBBER ST                                                                                             SAGINAW            MI   48601‐6661
MELVIN GRAY                     PO BOX 191                                                                                                 MAGNETIC SPRINGS   OH   43036
MELVIN GREANEY                  54 BRANDON DR                                                                                              GOLETA             CA   93117‐1953
MELVIN GREEN                    PO BOX 7732                                                                                                WILMINGTON         DE   19803‐0732
MELVIN GREENBERG IRA            3 AVENUE OF TWO RIVERS SOUTH                                                                               RUMSON             NJ   07760
MELVIN GREENWALD                4270 LUM RD                                                                                                ATTICA             MI   48412‐9287
MELVIN GREGSON                  2918 S COUNTY LINE RD                                                                                      LENNON             MI   48449‐9302
MELVIN GRIFFITH                 6206 WILLIAMS ST                                                                                           GLADWIN            MI   48624‐9796
MELVIN GROSS                    2212 SOUTHLEA DR                                                                                           CENTERVILLE        OH   45459‐3641
MELVIN GROSSER                  3906 GERMAINE AVE                                                                                          CLEVELAND          OH   44109‐5049
MELVIN GROSZ                    6411 CRYSTAL BROOK DR             C/O TIM GROSZ                                                            TAMPA              FL   33625‐6508
MELVIN GUICE                    2132 URBANDALE ST                                                                                          SHREVEPORT         LA   71118‐3327
MELVIN GUILLORY                 106 SHOLARS ST                                                                                             WEST MONROE        LA   71292‐3642
MELVIN GUISER                   2627 MATTHEWS DR                                                                                           BALTIMORE          MD   21234‐2635
MELVIN GUITAR                   47536 ELDON DR                                                                                             SHELBY TOWNSHIP    MI   48317‐2914
MELVIN GUNTHER                  714 3RD ST SW                                                                                              WARREN             OH   44483‐6424
MELVIN GUNTHER                  3106 PANHANDLE DR                                                                                          KILLEEN            TX   76542‐3119
MELVIN GUST                     3820 NIMBLEWILL CT                                                                                         PORT ST LUCIE      FL   34952‐3151
MELVIN H DARRELL                PO BOX 16                                                                                                  BURT               NY   14028‐0016
MELVIN H HUTCHINSON             PO BOX 482                                                                                                 CLIO               MI   48420‐0482
MELVIN H LITTLE                 31 BURCHWOOD ST                                                                                            TROTWOOD           OH   45426‐3055
MELVIN H SNYDER                 111 HIDDEN CREEK LN                                                                                        HAMLIN             NY   14464
MELVIN H TAYLOR                 1506 GRAND AVENUE                                                                                          DAYTON             OH   45407
MELVIN H. & MARY LU D. CRAMER   1300 OAK HOLLOW DR                                                                                         MILFORD            MI   48380‐4261
MELVIN HACKER JR                13427 N GASBURG RD                                                                                         MOORESVILLE        IN   46158‐6735
MELVIN HAGER                    113 LINCOLN ST                                                                                             PONTIAC            MI   48341‐1345
MELVIN HAIRRELL                 7 KIMBERLY CT                                                                                              MANSFIELD          TX   76063‐4863
MELVIN HALBLAUB                 145 RILEY ST                                                                                               NEWARK             OH   43055‐3861
MELVIN HALL                     7346 MASON RD                                                                                              BERLIN HEIGHTS     OH   44814‐9657
MELVIN HALL                     2161 BETHEL HYGIENE RD                                                                                     BETHEL             OH   45106‐8407
MELVIN HALL                     4010 CLIFFORD RD                                                                                           BRIGHTON           MI   48116‐9717
MELVIN HALL                     3605 CREEKWOOD DR                                                                                          SAGINAW            MI   48601‐5604
MELVIN HAMBLIN                  6824 BAKER RD                                                                                              SOMERVILLE         OH   45064‐9716
MELVIN HAMIEL                   4406 WILMINGTON PIKE                                                                                       KETTERING          OH   45440‐1902
MELVIN HAMILTON                 PO BOX 310793                                                                                              FLINT              MI   48531‐0793
MELVIN HAMMON                   3182 EASTGATE ST                                                                                           BURTON             MI   48519‐1553
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Name                 Address1                             Address2                      Address3   Address4         City            State Zip
MELVIN HAMMOND       2480 BRISTOL AVE NW                                                                            GRAND RAPIDS     MI 49544‐1467
MELVIN HAMPTON       10736 S FOREST AVE                                                                             CHICAGO           IL 60628‐3627
MELVIN HAMPTON       2099 COUNTY ROAD 353                                                                           BONO             AR 72416‐7504
MELVIN HAMPTONIE     2037 W 70TH ST                                                                                 LOS ANGELES      CA 90047
MELVIN HAMPTONIE     9225 WEST CHARLESTON BLVD APT 2150                                                             LAS VEGAS        NV 89117‐7052

MELVIN HANNER        2424 E STANLEY RD                                                                              MOUNT MORRIS    MI   48458‐8979
MELVIN HANSENS       10095 COPPER TRL SW                                                                            FIFE LAKE       MI   49633‐9289
MELVIN HANSINGER     1420 BALMORAL DR                                                                               MOUNT CLEMENS   MI   48043‐3034
MELVIN HARDESTY JR   4 DEER RUN EXTENSION                                                                           HORTENSE        GA   31543
MELVIN HARDIN        3972 BARR CIR                                                                                  TUCKER          GA   30084‐7501
MELVIN HARGROW       217 HOLLINS CIR                                                                                HOLBROOK        AZ   86025‐2977
MELVIN HARLSTON      1080 RIVERVIEW BLVD                                                                            SAINT LOUIS     MO   63147‐1705
MELVIN HARNETZ       1397 DELLMONT DR                                                                               FLINT           MI   48507‐0517
MELVIN HARRINGTON    5305 S IVA RD                                                                                  SAINT CHARLES   MI   48655‐8739
MELVIN HARRIS        3664 RUTHERFORD DR                                                                             SPRING HILL     TN   37174‐2175
MELVIN HARRIS        2119 MENTOR RD                                                                                 LOUISVILLE      TN   37777‐4004
MELVIN HART          8388 WASHINGTON VILLAGE DR                                                                     DAYTON          OH   45458‐1843
MELVIN HART          2965 KESSLER BLVD NORTH DR                                                                     INDIANAPOLIS    IN   46222‐2289
MELVIN HARTLEY       37 KOFLER AVE                                                                                  BUFFALO         NY   14207‐1822
MELVIN HARTLINE      BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.     OH   44236
MELVIN HATCHER       2836 MCGHEES MILL RD                                                                           SEMORA          NC   27343‐9189
MELVIN HATHAWAY      208 APPALOOSA DR                     C/O RON HATHAWAY                                          SAGINAW         TX   76179‐2111
MELVIN HATHAWAY JR   25 JASMINE AVE                                                                                 PALMETTO        FL   34221‐1914
MELVIN HATLEY        240 WASHINGTON AVE                                                                             CAMDEN          TN   38320‐1130
MELVIN HAUGHT        4020 W MARKET ST                                                                               LEAVITTSBURG    OH   44430‐9605
MELVIN HAWKINS       C/O EDWARD O MOODY PA                801 WEST 4TH STREET                                       LITTLE ROCK     AR   72201
MELVIN HAWLEY        16267 DURHAM AVE                                                                               FORT MYERS      FL   33908‐3523
MELVIN HAWLEY        9258 PINE KNOB RD                                                                              CLARKSTON       MI   48348‐3024
MELVIN HAYES         6647 INGLEWOOD RD                                                                              HOLLAND         OH   43528‐9578
MELVIN HAYS          HC 73 BOX 707                                                                                  ARNOLDSBURG     WV   25234‐9523
MELVIN HAYS
MELVIN HEARD         THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 44O                               HOUSTON         TX   77017
MELVIN HEATH         96 COULTER CT                                                                                  LAPEER          MI   48446‐7739
MELVIN HELLER        6106 CARNEGIE DR                                                                               JAMESVILLE      NY   13078
MELVIN HELM          2149 DALEY RD                                                                                  LAPEER          MI   48446‐8682
MELVIN HELMREICH     9490 HOSPITAL RD # RT1                                                                         FREELAND        MI   48623‐9329
MELVIN HELTON        6813 NE STATE ROUTE 92                                                                         SMITHVILLE      MO   64089‐8923
MELVIN HELTON        10519 PLAINFIELD RD                                                                            SHARONVILLE     OH   45241‐2905
MELVIN HEMMER        5611 SUSAN DR                                                                                  CASTALIA        OH   44824‐9749
MELVIN HEMMINGER     4856 CLINTON WAY DR                                                                            WATERFORD       MI   48328‐1006
MELVIN HENDERSON     261 ELMWOOD TER                                                                                ROCHESTER       NY   14620‐3705
MELVIN HENDERSON     524 VALENCIA DR                                                                                PONTIAC         MI   48342‐1678
MELVIN HENDRYX       1003 E LOVERS LN                                                                               ARLINGTON       TX   76010‐5804
MELVIN HENIX         2422 JEFFERSON COURT LN APT 1525                                                               ARLINGTON       TX   76006‐4246
MELVIN HENNESSEE     14688 SE 47TH CT                                                                               SUMMERFIELD     FL   34491‐4000
MELVIN HENSON        403 W 101ST ST                                                                                 LOS ANGELES     CA   90003‐4401
MELVIN HERGENREDER   5680 LONGBRIDGE RD                                                                             PENTWATER       MI   49449‐8531
MELVIN HERRON        THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                               HOUSTON         TX   77017
MELVIN HILE          7021 COUNTY ROAD 47                                                                            LEXINGTON       OH   44904‐9604
MELVIN HILL          719 N HILLS DR                                                                                 SAINT LOUIS     MO   63121‐2448
MELVIN HILL          6740 BATH RD                                                                                   PERRY           MI   48872‐9731
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Name                   Address1                         Address2                     Address3          Address4         City              State Zip
MELVIN HILL            36 E MILWAUKEE ST APT 305                                                                        DETROIT            MI 48202‐3264
MELVIN HITE            710 JEFFREY ST                                                                                   GREENSBURG         PA 15601‐4456
MELVIN HOCH            26193 BOWMAN RD                                                                                  DEFIANCE           OH 43512‐6797
MELVIN HODGINS         PO BOX 622                                                                                       ATLANTA            MI 49709‐0622
MELVIN HOLDORF         260 ARMSTRONG AVE                                                                                FLUSHING           MI 48433‐9295
MELVIN HOLMES          190 WESTWAY ST                                                                                   PONTIAC            MI 48342‐2568
MELVIN HOLMES          168 HATCHET DR                                                                                   EATON              OH 45320‐2710
MELVIN HOLMES          168 HATCHNET DR                                                                                  EATON              OH 45320‐2710
MELVIN HOSEY           14926 104TH AVE                                                                                  COOPERSVILLE       MI 49404‐9740
MELVIN HOSTETLER       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.        OH 44236
MELVIN HOUSTON         406 S 25TH ST                                                                                    MONROE             LA 71201‐7971
MELVIN HOWARD          6523 HERITAGE                                                                                    WEST BLOOMFIELD    MI 48322‐1342
MELVIN HOWARD          514 GRUNDY RD                                                                                    SOMERSET           KY 42501‐4981
MELVIN HOWARD          6050 STONEGATE DR                                                                                SAGINAW            MI 48603‐5000
MELVIN HOWARD          514 GRUNDY RD.                                                                                   SOMERSET           KY 42501‐4981
MELVIN HUGHES          3638 STONEY RIDGE RD                                                                             AVON               OH 44011‐2214
MELVIN HUGHES JR       1498 STONELEIGH HILL RD                                                                          LITHONIA           GA 30058‐5647
MELVIN HUMPHREYS       MELVIN HUMPHREYS                 PO BOX 185                                                      WILLARD            MO 65781‐0185
MELVIN HUNT JR         1051 LOUGHERY LN                                                                                 INDIANAPOLIS       IN 46228‐1322
MELVIN HUNTZINGER      5140 N HUNTINGTON RD                                                                             MARION             IN 46952‐9061
MELVIN HUNZIKER        41306 E 323RD ST                                                                                 CREIGHTON          MO 64739‐9128
MELVIN HUTCHENS        1081 MAPLEROW AVE NW                                                                             GRAND RAPIDS       MI 49534‐3631
MELVIN HUTCHENS JR     1130 VOS ST                                                                                      JENISON            MI 49428‐8105
MELVIN HUTCHESON       7772 9 MILE RIDGE RD                                                                             HARDY              AR 72542‐8942
MELVIN HUTCHINSON      PO BOX 482                                                                                       CLIO               MI 48420‐0482
MELVIN HUTCHISON       1241 S ELM ST                                                                                    W CARROLLTON       OH 45449‐2262
MELVIN I CHAFFIN       NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD       TX 75638
MELVIN I I, JOSEPH K   7929 E SAGINAW HWY                                                                               LANSING            MI 48917‐9717
MELVIN IMEL            3211 E 200 N                                                                                     ANDERSON           IN 46012‐9437
MELVIN INMAN           2780 CASTLE RD                                                                                   NORTH BRANCH       MI 48461‐9334
MELVIN ISHAM           3106 MORNING GLORY RD                                                                            DAYTON             OH 45449‐3027
MELVIN IVY             1530 MARTHA ST                                                                                   SHREVEPORT         LA 71101‐5234
MELVIN J BILLSTROM     612 PARK RIDGE ROAD                                                                              WATERFORD          WI 53185‐4478
MELVIN J BOURQUE       C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                       HOUSTON            TX 77007
                       BOUNDAS LLP
MELVIN J COCKERHAM     6784 BRANDON VIEW CT                                                                             HUBER HEIGHTS     OH   45424‐7302
MELVIN J COTTON        7243 KINGSWAY ST.                                                                                FLUSHING          MI   48433
MELVIN J HURTUBISE     8901 ONE PUTT PLACE                                                                              PORT ST LUCIE     FL   34986
MELVIN J HYCHE         905 CATTAIL DR                                                                                   ARLINGTON         TX   76001
MELVIN J KOLESAR       1347 PHOENIX RD                                                                                  PHILIPSBURG       PA   16866
MELVIN J PRINCE        3738 COLLEGE AVE                                                                                 KANSAS CITY       MO   64128‐2521
MELVIN J PRITCHETT     19374 WHITCOMB ST                                                                                DETROIT           MI   48235‐2057
MELVIN J SMITH         PO BOX 19324                                                                                     KALAMAZOO         MI   49019‐0324
MELVIN J SMOLIK        4925 FOXDALE DR                                                                                  KETTERING         OH   45429‐5753
MELVIN J WALL          361 CR 3542                                                                                      HAWKINS           TX   75765
MELVIN JACKSON         4563 BELVEDERE LANE                                                                              DAYTON            OH   45416‐1603
MELVIN JACKSON         1403 SMITH RD                                                                                    COLUMBUS          OH   43207‐1580
MELVIN JACKSON         4563 BELVEDERE LN                                                                                DAYTON            OH   45416‐1603
MELVIN JACKSON         5120 JUDITH ANN DR                                                                               FLINT             MI   48504‐1224
MELVIN JACKSON         835 GREENHILL WAY                                                                                ANDERSON          IN   46012‐9264
MELVIN JACKSON         3501 PINGREE AVE                                                                                 FLINT             MI   48503‐4544
MELVIN JACKSON         5900 NICHOLS RD                                                                                  MASON             MI   48854‐9521
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MELVIN JACKSON                  1415 COBB AVE                                                                                                 KALAMAZOO         MI 49007‐2453
MELVIN JACOBS                   2186 MIRIAM LN                                                                                                DECATUR           GA 30032‐5565
MELVIN JAMES                    5302 FLEMING RD                                                                                               FLINT             MI 48504‐7080
MELVIN JAMES                    2501 SE 48TH ST                                                                                               OKLAHOMA CITY     OK 73129‐8731
MELVIN JAMES JR                 4361 KELLER RD                                                                                                HOLT              MI 48842‐1251
MELVIN JARVIS                   5296 S STATE ROAD 13                                                                                          LAPEL             IN 46051‐9634
MELVIN JENKINS                  7235 4TH AVE SO.                                                                                              RICHFIELD         MN 55423
MELVIN JENNER                   1062 NORTH SADDLER ROAD                                                                                       LUTHER            MI 49656‐9806
MELVIN JILES                    25710 130TH AVE SE                                                                                            KENT              WA 98030‐7991
MELVIN JOHN BIRCH               ATTN: ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS       707 BERKSHIRE BLVD, PO BOX                    EAST ALTON         IL 62024
                                                                 ANGELIDES & BARNERD LLC        521
MELVIN JOHNSON                  6741 S MAPLEWOOD AVE                                                                                          CHICAGO          IL   60629‐1808
MELVIN JOHNSON                  2355 AMBER DR                                                                                                 CANTON           MI   48188‐1893
MELVIN JOHNSON                  12350 HITCHINGHAM RD                                                                                          MILAN            MI   48160‐9722
MELVIN JOHNSON                  1176 E 125TH ST                                                                                               CLEVELAND        OH   44112‐4179
MELVIN JOHNSON                  847 JADEWOOD DR                                                                                               DALLAS           TX   75232‐4331
MELVIN JOHNSON                  9901 NIAGARA FALLS BLVD APT 35                                                                                NIAGARA FALLS    NY   14304‐2744
MELVIN JOHNSON                  1716 BELLEFLOWER CT                                                                                           AVON             IN   46123‐7107
MELVIN JOHNSON, THE ESTATE OF   1727 ELKINS DR                   C/O MELANIE STOKES, EXECUTOR                                                 SAINT LOUIS      MO   63136‐2430
MELVIN JONES                    PO BOX 5053                                                                                                   SHREVEPORT       LA   71135‐5053
MELVIN JONES                    6113 DAVID BERGER ST                                                                                          MOUNT MORRIS     MI   48458‐2709
MELVIN JONES                    2811 EARLHAM DR                                                                                               DAYTON           OH   45406‐4252
MELVIN JONES                    11117 WATERFIELD PL                                                                                           INDIANAPOLIS     IN   46235‐4966
MELVIN JONES                    1404 CALVERT ST                                                                                               DETROIT          MI   48206‐1505
MELVIN JULIEN                   20131 SAINT FRANCIS ST                                                                                        LIVONIA          MI   48152‐2347
MELVIN JUSTICE                  2566 N BROAD RIVER RD                                                                                         EASTANOLLEE      GA   30538‐2950
MELVIN K HAMBLIN                6824 BAKER RD                                                                                                 SOMMERVILLE      OH   45064‐9716
MELVIN K HAMIEL                 4406 WILMINGTON PIKE                                                                                          KETTERING        OH   45440‐1902
MELVIN K OLDHAM JR              659 CROWN AVE.                                                                                                DAYTON           OH   45427‐3023
MELVIN K OLDHAM JR              659 CROWN AVE                                                                                                 DAYTON           OH   45427‐3023
MELVIN K RAY                    6023 BLUE RIBBON RD                                                                                           HILLSBORO        OH   45133‐8119
MELVIN KADISH                   11933 FOUNTAINSIDE CIRCLE                                                                                     BOYNTON BCH      FL   33437
MELVIN KAMENS                   1 WINDMILL RD                                                                                                 HARWINTON        CT   06791‐1116
MELVIN KEERNS                   2112 GRANADA CT                                                                                               LAKE WALES       FL   33898‐2703
MELVIN KEITH                    10212 W 126TH TER                                                                                             OVERLAND PARK    KS   66213‐1886
MELVIN KELLEY JR                7487 FLOWING WELL RD                                                                                          POLAND           IN   47868‐7180
MELVIN KELLOGG                  10800 E BARNUM RD                                                                                             WOODLAND         MI   48897‐9667
MELVIN KELLY                    3084 BAY VIEW DR                                                                                              FENTON           MI   48430‐3307
MELVIN KELLY JR                 2661 S RACCOON RD                                                                                             YOUNGSTOWN       OH   44515‐5345
MELVIN KENDZIORSKI              2605 BROWNING DR                                                                                              LAKE ORION       MI   48360‐1817
MELVIN KENNEDY                  1558 ANDREA ST                                                                                                YPSILANTI        MI   48198‐6679
MELVIN KEY                      7357 W 500 S                                                                                                  SWAYZEE          IN   46986‐9783
MELVIN KEYSER                   5962 BAKER RD                                                                                                 BRIDGEPORT       MI   48722‐9750
MELVIN KIMBREL                  12325 SANTA MARIA DR                                                                                          SAINT LOUIS      MO   63138‐2652
MELVIN KING                     4750 CHICKERING AVE                                                                                           CINCINNATI       OH   45232‐1704
MELVIN KING                     3713 ARLENE AVE                                                                                               FLINT            MI   48532‐5260
MELVIN KING                     322 HANNA DR                                                                                                  VINCENT          AL   35178‐9465
MELVIN KING                     BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                                   BOSTON HEIGHTS   OH   44236
MELVIN KIPP                     13337 LAKE SHORE DR                                                                                           FENTON           MI   48430‐1021
MELVIN KIRKLAND                 6530 FALLS CHURCH ST                                                                                          SAN ANTONIO      TX   78247‐1030
MELVIN KISAMORE                 39 E HEATH ST                                                                                                 BALTIMORE        MD   21230‐4839
MELVIN KISH                     230 PARKGATE AVE                                                                                              YOUNGSTOWN       OH   44515‐3240
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MELVIN KLEIN           3703 ARCHWOOD AVE                                                                             CLEVELAND        OH 44109‐2543
MELVIN KLOSS           501 W 2 MILE RD                                                                               BALDWIN          MI 49304‐8530
MELVIN KOENIG          302 TANASI PT                                                                                 LOUDON           TN 37774‐3169
MELVIN KOHN            PO BOX 385                                                                                    ELWOOD           IN 46036‐0385
MELVIN KOPP            229 BALTIMORE ST                                                                              ABERDEEN         MD 21001‐3005
MELVIN KRAPP           30127 IROQUOIS DR                                                                             WARREN           MI 48088‐5030
MELVIN KREUTZER JR     204 E CENTER ST                                                                               FARMERSVILLE     OH 45325‐1129
MELVIN KURCHAK         4400 RAVINES DRIVE                                                                            WEST BRANCH      MI 48661‐8923
MELVIN KYLES           5001 ROBERTA DR                                                                               FORT WAYNE       IN 46806‐3456
MELVIN L ANNIS         100‐6 CO‐OP CITY BLVD                                                                         BRONX            NY 10475
MELVIN L AUSTIN        215 S WASHINGTON ST                                                                           CHESANING        MI 48616‐1539
MELVIN L BROWN         66 CUSTER ST APT 217                                                                          BUFFALO          NY 14214‐1178
MELVIN L CURRY         2135 TURNBULL RD                                                                              BEAVERCREEK      OH 45431‐3228
MELVIN L GILCHRIST     315 MAGNOLIA STREET                                                                           ROCHESTER        NY 14611‐3707
MELVIN L GRIERSON      121 MARATHON AVE                                                                              DAYTON           OH 45405‐3615
MELVIN L HAUGHT        4020 W MARKET ST                                                                              LEAVITTSBURG     OH 44430‐9605
MELVIN L HOWARD JR.    3549 DUNSTAN DR NW                                                                            WARREN           OH 44485‐1405
MELVIN L JONES         2811 EARLHAM DRIVE                                                                            DAYTON           OH 45406‐4252
MELVIN L JONES         11117 WATERFIELD PL                                                                           INDIANAPOLIS     IN 46235‐4966
MELVIN L KATES         C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON          TX 77007
                       BOUNDAS LLP
MELVIN L KENT JR       C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                      HOUSTON          TX   77007
                       BOUNDAS LLP
MELVIN L LAEHN         1804 BEECH ST                                                                                 S MILWAUKEE     WI    53172‐‐ 14
MELVIN L LANGLEY       NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                    DAINGERFIELD    TX    75638
MELVIN L MILTON JR     603 DENALI DR                                                                                 ARLINGTON       TX    76002‐3073
MELVIN L REID          545 E 12TH ST                                                                                 FLINT           MI    48503‐4055
MELVIN L STONE         PO BOX 193                                                                                    PHILLIPSBURG    OH    45354
MELVIN L TATE          8791 ABBEY RIDGE AVE                                                                          LAS VEGAS       NV    89149‐4006
MELVIN L TOBIAS        1541 BRUMFIELD RD. SW                                                                         BOGUE CHITTO    MS    39629
MELVIN L TREADWELL     830 EUGENE ST                                                                                 YPSILANTI       MI    48198‐6147
MELVIN L TUCKER        748 ELMHURST RD                                                                               DAYTON          OH    45417‐‐ 12
MELVIN L WHITTINGTON   5431 WHITBY AVENUE                                                                            PHILADELPHIA    PA    19143‐4156
MELVIN L WILLIAMS      NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                    DAINGERFIELD    TX    75638
MELVIN L WILLIS        10080 LEWIS RD                                                                                MILLINGTON      MI    48746‐9530
MELVIN L WINSTON       1330 E JULIAH AVE                                                                             FLINT           MI    48505‐1715
MELVIN L WOOTEN        83 W TENNYSON AVE                                                                             PONTIAC         MI    48340‐2671
MELVIN LACKEY          6340 HARRIS AVE                                                                               RAYTOWN         MO    64133‐5346
MELVIN LAMBERT         2938 WASHTENAW RD APT 2A                                                                      YPSILANTI       MI    48197‐1528
MELVIN LAMPMAN         817 N EDGEWORTH AVE                                                                           ROYAL OAK       MI    48067‐2101
MELVIN LANCASTER       C/O WEITZ & LUXENBERG PC       700 BROADWAY                                                   NEW YORK CITY   NY    10003
MELVIN LANCASTER       C/O WEITZ LUXENBERG PC         700 BROADWAY                                                   NEW YORK CITY   NY    10003
MELVIN LANDRUM         32846 WAUKETA DR                                                                              WARREN          MI    48092‐3294
MELVIN LANGE           PO BOX 705                                                                                    TONGANOXIE      KS    66086‐0705
MELVIN LATTY JR        6177 COUNTRY WAY S                                                                            SAGINAW         MI    48603‐1069
MELVIN LAWRENCE        22549 LEEWIN ST                                                                               DETROIT         MI    48219‐1116
MELVIN LE DUC          2725 HARBOUR CT                                                                               LAPEER          MI    48446‐4500
MELVIN LEE             531 SUNNYSLOPE DR                                                                             FLUSHING        MI    48433‐2176
MELVIN LEE             1655 NORTHEAST 80 PVT ROAD                                                                    OSCEOLA         MO    64776‐2871
MELVIN LEE             9395 CHILLICOTHE RD                                                                           KIRTLAND        OH    44094‐8501
MELVIN LEHNER          1100 W CHADWICK RD                                                                            DEWITT          MI    48820‐8455
MELVIN LESPERANCE      16645 LAKEWOOD DR                                                                             HOLLY           MI    48442‐8751
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Name                   Address1                      Address2               Address3      Address4         City            State Zip
MELVIN LESTER DUBOIS   FOSTER & SEAR, LLP            817 GREENVIEW DRIVE                                   GRAND PRAIRIE    TX 75050
MELVIN LEVIER          71 S JESSIE ST                                                                      PONTIAC          MI 48342‐2815
MELVIN LEWALLEN        PO BOX 91                                                                           LULA             GA 30554‐0091
MELVIN LIDDLE JR       PO BOX 313                                                                          CORTLAND         OH 44410‐0313
MELVIN LILLY           3028 THORNTON HWY                                                                   CHARLOTTE        MI 48813‐9507
MELVIN LINDAHL         6717 W SHARON RD SW                                                                 FIFE LAKE        MI 49633‐9209
MELVIN LINE            68 CLEARVIEW CIR                                                                    WINCHESTER       TN 37398‐3865
MELVIN LITTLE          31 BURCHWOOD ST                                                                     TROTWOOD         OH 45426‐3055
MELVIN LITTRELL        2300 COUNTRY CLUB DR                                                                CHILLICOTHE      MO 64601
MELVIN LOCKHART        812 S 1ST STREET TER                                                                ODESSA           MO 64076‐1513
MELVIN LOFTON          306 IROQUOIS RD                                                                     HILLSIDE          IL 60162‐1628
MELVIN LOFTON          723 MARCELENE DR                                                                    WASKOM           TX 75692‐6821
MELVIN LOHRER          8615 S ALGER RD                                                                     PERRINTON        MI 48871‐9776
MELVIN LOLL            12500 N BUDD RD                                                                     BURT             MI 48417‐9421
MELVIN LONG            815 STEWART HODGES LOOP NE                                                          LUDOWICI         GA 31316‐7009
MELVIN LONG            293 CRYSTAL LAKE DR                                                                 PONTIAC          MI 48341‐2453
MELVIN LOPEZ           APT 10E                       222 WEST 83RD STREET                                  NEW YORK         NY 10024‐4914
MELVIN LOPEZ           11495 BALFOUR DR                                                                    FENTON           MI 48430‐9061
MELVIN LOTH            180 BUZZARD WAY                                                                     NEWPORT          TN 37821‐4732
MELVIN LOUIS           15518 CHELSEA                                                                       REDFORD          MI 48239‐3841
MELVIN LOWE            603 WOODBOURNE AVE                                                                  BALTIMORE        MD 21212‐4205
MELVIN LOWE            4545 PARSONS AVE                                                                    COLUMBUS         OH 43207‐4728
MELVIN LUDWIG          5505 UNIT#32 LIMERIC CI                                                             WILMINGTON       DE 19808
MELVIN LUETJEN         801 N MAIN ST                                                                       HIGGINSVILLE     MO 64037‐1161
MELVIN LUTZ JR         38909 BACK RIVER RD                                                                 PAONIA           CO 81428‐6318
MELVIN M BULOCK JR     415 BRAINARD ST               APT 204                                               DETROIT          MI 48201‐2263
MELVIN M CLARK         96 WYNDEMERE DR                                                                     FRANKLIN         OH 45005‐2465
MELVIN M HAMILTON      PO BOX 310793                                                                       FLINT            MI 48531‐0793
MELVIN M RICKARD JR    1336 UPPER MOUNTAIN RD                                                              LEWISTON         NY 14092‐2230
MELVIN MABE            34839 PHYLLIS ST                                                                    WAYNE            MI 48184‐2422
MELVIN MACE            38730 ARLINGDALE DR                                                                 STERLING HTS     MI 48310‐2805
MELVIN MALAK           3348 WINSTON BLVD                                                                   TOLEDO           OH 43614‐3853
MELVIN MARLOW          1802 IRVIN ST                                                                       NEW CASTLE       IN 47362‐2356
MELVIN MARTIN          115 W MAPLE ST                                                                      VASSAR           MI 48768‐1203
MELVIN MARTIN          3251 SHEFFIELD RD                                                                   DAYTON           OH 45449‐2752
MELVIN MARTIN          4316 CRITTENDEN AVE                                                                 INDIANAPOLIS     IN 46205‐2214
MELVIN MARTIN          20484 MANOR ST                                                                      DETROIT          MI 48221‐1044
MELVIN MARTIN          2530 GREENWOOD CIR                                                                  EAST POINT       GA 30344‐2018
MELVIN MARTIN          9820 KENT ST                                                                        PORTLAND         MI 48875‐9734
MELVIN MARTINEZ        HC 64 BOX 21‐15                                                                     SANTA CRUZ       NM 87567‐9705
MELVIN MARVIN          9647 WILBUR HWY                                                                     EATON RAPIDS     MI 48827‐8350
MELVIN MASKELL JR      4656 SUNSET ST                                                                      OSCODA           MI 48750‐9512
MELVIN MASTERS         3081 HILLGROVE AVE                                                                  COLUMBUS         OH 43223‐3643
MELVIN MATHEWS         9079 NORTHLAWN ST                                                                   DETROIT          MI 48204‐2791
MELVIN MATTHEWS        16906 BRIARGATE DR                                                                  CNTRY CLB HLS     IL 60478‐2142
MELVIN MATTHEWS        514 WINDSOR PL                                                                      NORTH PORT       FL 34287‐1546
MELVIN MATTHEWS        96 OAK VALLEY DR                                                                    SPRING HILL      TN 37174‐2596
MELVIN MATTHEWS        3429 FULLER AVE SE                                                                  GRAND RAPIDS     MI 49508‐2452
MELVIN MAY             1720 W NORMANDY ST                                                                  OLATHE           KS 66061‐3811
MELVIN MAYER           4517 TURTLE CREEK WAY                                                               LEXINGTON        KY 40509‐2155
MELVIN MAYFIELD        2457 E 760TH ST                                                                     URSA              IL 62376‐2212
MELVIN MC CLASKIE      7195 LITHOPOLIS RD                                                                  CARROLL          OH 43112‐9683
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Name                         Address1                          Address2                         Address3   Address4         City            State Zip
MELVIN MC CLENATHAN J        4374 ROBINDALE DR                                                                              BURTON           MI 48519‐1240
MELVIN MC CORMICK            2510 BANNISTER ST                                                                              WESTLAND         MI 48186‐4652
MELVIN MC DOWELL             RR 1 BOX 305                                                                                   SINKS GROVE      WV 24976‐9212
MELVIN MC GEE                PO BOX 602                                                                                     MOUNT MORRIS     MI 48458‐0602
MELVIN MC GREGOR             19659 MACKAY ST                                                                                DETROIT          MI 48234‐1444
MELVIN MC NIEL               7590 CANADA ROAD                                                                               BIRCH RUN        MI 48415
MELVIN MCADORY               1100 BOLTON ST APT 514            BOLTON HOUSE                                                 BALTIMORE        MD 21201‐2209
MELVIN MCAFEE                6904 HERITAGE LN                                                                               FORT WORTH       TX 76134‐3814
MELVIN MCBURNETT JR          715 BAILEY JESTER RD                                                                           GRIFFIN          GA 30224‐7708
MELVIN MCCANTS               C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY, STE 600                                   HOUSTON          TX 77007
                             BOUNDAS, LLP
MELVIN MCCAUGHAN             1400 W WALKER ST                                                                               DENISON         TX    75020‐1818
MELVIN MCCLENDSON            5637 CONLIN DR                                                                                 FORT WORTH      TX    76134‐2221
MELVIN MCCLOUD               1035 MCARTHUR ST                                                                               LAKE ODESSA     MI    48849‐1236
MELVIN MCCOY                 4417 COPELAND AVE                                                                              DAYTON          OH    45406‐1206
MELVIN MCCOY                 835 KING ST                                                                                    DEFIANCE        OH    43512‐3047
MELVIN MCCOY                 11804 KENNEBEC ST                                                                              DETROIT         MI    48205‐5202
MELVIN MCDANIEL              8833 OLD KINGS RD S APT 109                                                                    JACKSONVILLE    FL    32257‐5350
MELVIN MCDONALD              4162 W WOODS EDGE LN                                                                           MUNCIE          IN    47304‐6082
MELVIN MCDONALD              1801 COLMAR LN                                                                                 CINCINNATI      OH    45237‐1119
MELVIN MCFARLAND,JR.         4160 MCGREGORY RD                                                                              CARO            MI    48723‐9384
MELVIN MCGAUGHEY             1338 BROOK VALLEY LN                                                                           DALLAS          TX    75232‐1513
MELVIN MCGINNIS              39 HICKORY RDG                                                                                 DAVISON         MI    48423‐9166
MELVIN MCGUIRE JR            6035 BUCKSKIN CT                                                                               INDIANAPOLIS    IN    46250‐1831
MELVIN MCKANDES              PO BOX 1522                                                                                    SAGINAW         MI    48605‐1522
MELVIN MCKINLEY              1109 TRYON CIR                                                                                 SPRING HILL     FL    34606‐5253
MELVIN MCMILLAN              BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS      OH    44236
MELVIN MCNEELEY              2310 GIBSON RD                                                                                 GRAND BLANC     MI    48439‐8548
MELVIN MCNEELY               769 FOREST DR                                                                                  MANSFIELD       OH    44905‐2030
MELVIN MCNIEL                155 CONDRA RD                                                                                  RINGGOLD        GA    30736‐4611
MELVIN MCPHERSON             442 WOODLAND CIR                                                                               CALHOUN         LA    71225‐8211
MELVIN MEANS D               EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN       CT    06510
                                                               265 CHURC
MELVIN MEANS D (ESTATE OF)   EARLY LUDWICK & SWEENEY, L.L.C.   ONE CENTURY TOWER, 11TH FLOOR,                               NEW HAVEN        CT   06510
                                                               265 CHURCH STREET
MELVIN MELTON                PO BOX 409                                                                                     JEMISON         AL    35085‐0409
MELVIN MENIEFIELD JR         250 E HOME AVE                                                                                 FLINT           MI    48505‐2716
MELVIN MERCHANT              22 COLONIAL RD APT 5                                                                           MILFORD         MA    01757‐1928
MELVIN MERRITT               2300 DRURY AVE                                                                                 KANSAS CITY     MO    64127‐4823
MELVIN METZGER               2084 LANGFORD RD                                                                               NORTH COLLINS   NY    14111‐9704
MELVIN MICHAEL               2063 BRANDY MILL LN                                                                            CENTERVILLE     OH    45459‐1195
MELVIN MICHAEL               3539 W 101ST CIR                                                                               WESTMINSTER     CO    80031‐6732
MELVIN MICHAM                4123 BOYNTON DR                                                                                SYLVANIA        OH    43560‐3822
MELVIN MICKLE JR             173 FINN CIR                                                                                   SAVANNAH        GA    31419‐8416
MELVIN MIELKE                12880 DE COOK DR                                                                               STERLING HTS    MI    48313‐3324
MELVIN MILLER                11030 W PLEASANT VALLEY RD                                                                     SUN CITY        AZ    85351‐1558
MELVIN MILLER                1408 HUGHEL DR                                                                                 ANDERSON        IN    46012‐4610
MELVIN MILLER                RT 1 BOX 45                                                                                    IRONTON         MO    63650
MELVIN MILLS                 21 BURDETTE DR                                                                                 BUFFALO         NY    14225‐1703
MELVIN MILTON                546 HARVEY AVE                                                                                 PONTIAC         MI    48341‐2829
MELVIN MILTON JR             603 DENALI DR                                                                                  ARLINGTON       TX    76002‐3073
MELVIN MISLIVECEK            4024 CURRY LN                                                                                  JANESVILLE      WI    53546‐4331
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Name                             Address1                         Address2                       Address3   Address4         City                State Zip
MELVIN MITTLESTAT                5743 BAY CITY FORESTVILLE RD                                                                CASS CITY            MI 48726‐9431
MELVIN MOCK                      THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                  HOUSTON              TX 77017
MELVIN MONS                      32123 JOY RD                                                                                WESTLAND             MI 48185‐1542
MELVIN MONTESDEOCA               10504 SAN LUIS AVE                                                                          SOUTH GATE           CA 90280‐6630
MELVIN MOORE                     570 COUNTY ROAD 23                                                                          BISMARCK             MO 63624‐7003
MELVIN MORRIS                    1308 MILLER RD                                                                              LAKE ORION           MI 48362‐3730
MELVIN MORRISON                  BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                 BOSTON HTS           OH 44236
MELVIN MORSE                     4737 HIBBARD RD                  RT 2                                                       CORUNNA              MI 48817‐9601
MELVIN MOSES CITY MARSHALL #18   ACCT OF MELVIN LOPEZ             156 WILLIAM ST FL 10                                       NEW YORK             NY 10038‐5324
MELVIN MOSLEY                    611 PLEASANT LN                                                                             MIDDLETOWN           DE 19709‐9687
MELVIN MUELLER                   44219 CARRNATION DR                                                                         STERLING HTS         MI 48313‐1013
MELVIN MULLEN                    47 PARK PL                                                                                  PONTIAC              MI 48342‐3144
MELVIN MURRAY                    C/O COONEY AND CONWAY            120 NORTH LASALLE 30TH FLOOR                               CHICAGO               IL 60602
MELVIN MYERS                     2294 E MOUNT MORRIS RD                                                                      MOUNT MORRIS         MI 48458‐8801
MELVIN MYSLIWIEC                 22065 LORETTA ST                                                                            TRENTON              MI 48183‐1534
MELVIN NATHAN JR                 1117 EMILY ST                                                                               SAGINAW              MI 48601‐2328
MELVIN NEAVINS                   18457 NORTH DRIVE                BLDG. 4                                                    SOUTHFIELD           MI 48076
MELVIN NELMS                     17569 GREELEY ST                                                                            DETROIT              MI 48203‐2407
MELVIN NELSON                    8702 ALLENSWOOD RD                                                                          RANDALLSTOWN         MD 21133‐4110
MELVIN NELSON                    4054 MOULTON DR                                                                             FLINT                MI 48507‐5539
MELVIN NELSON                    618 LONE STAR DR                                                                            ABILENE              TX 79602‐8144
MELVIN NELSON                    6051 IRIS RD                                                                                LUDINGTON            MI 49431‐8332
MELVIN NICHOLS                   879 W ELM ST                                                                                LIMA                 OH 45805‐3264
MELVIN NICHOLS SR                6003 NEVIS CT                                                                               BERKELEY             MO 63134‐2219
MELVIN NIPPER                    2033 S KIRKWOOD DR                                                                          SHREVEPORT           LA 71118‐4716
MELVIN O AUSTIN                  4298 CAYUNA TRAIL                                                                           FLINT                MI 48523
MELVIN O. HOLT, DONNA E. HOLT    2524 YELLOWSTONE AVE.                                                                       BILLINGS             MT 59102‐3853
MELVIN OLDHAM JR                 659 CROWN AVE                                                                               DAYTON               OH 45427‐3023
MELVIN OLIVER                    3294 HARTLEY DR                                                                             ADRIAN               MI 49221‐9247
MELVIN OLIVER                    349 E MOUNT PLEASANT RD                                                                     WILMINGTON           OH 45177
MELVIN OSBEY                     1514 E 196TH ST                                                                             EUCLID               OH 44117‐1451
MELVIN P TOUPS                   C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                  HOUSTON              TX 77007
                                 BOUNDAS LLP
MELVIN P WHIPKEY JR              74 DUNLOP AVE                                                                               TONAWANDA           NY   14150‐7809
MELVIN P WINTERBURN              2441 VOLLMER DR                                                                             YOUNGSTOWN          OH   44511
MELVIN PAHL                      6478 W STANLEY RD                                                                           MOUNT MORRIS        MI   48458‐9327
MELVIN PALMER                    151 BISSELL AVENUE APT 1                                                                    BUFFALO             NY   14211
MELVIN PARKER                    2850 IROQUOIS DR                                                                            THOMPSONS STATION   TN   37179‐5003
MELVIN PARSONS                   1536 GENTIAN DR SE                                                                          KENTWOOD            MI   49508‐6208
MELVIN PATTERSON                 303 HIGHLAND DR                                                                             ENGLEWOOD           OH   45322‐2332
MELVIN PATTERSON JR              1319 CONGRESS AVE                                                                           SAGINAW             MI   48602‐5123
MELVIN PAUL                      117 SILVER LAKES DR                                                                         SUNSET              TX   76270‐2162
MELVIN PAYNE                     880 RICHART LN                   C/O LINDA WHALEN                                           GREENWOOD           IN   46142‐2066
MELVIN PAYNE                     9127 W CUSTER AVE                                                                           MILWAUKEE           WI   53225
MELVIN PEAK                      29540 BOBRICH ST                                                                            LIVONIA             MI   48152‐3496
MELVIN PEARSON                   5805 LAUREL AVE AW                                                                          RAYTOWN             MO   64133
MELVIN PECKA                     26231 BURLINGTON WAY                                                                        SUN CITY            CA   92586‐2715
MELVIN PEEPLES                   18231 MARLOWE ST                                                                            DETROIT             MI   48235‐2763
MELVIN PERRY                     5073 ELDRED ST                                                                              FLINT               MI   48504‐1215
MELVIN PERRY                     3712 GREENMOOR GARDENS CT                                                                   FLORISSANT          MO   63034‐3231
MELVIN PETERSON                  701 COLUMBIA DR                                                                             FLINT               MI   48503‐5207
MELVIN PEYERK                    714 W BARBER ST                                                                             HARTFORD CITY       IN   47348‐1203
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Name                   Address1                        Address2                         Address3      Address4         City            State Zip
MELVIN PHILLIPS        230 E SHORT ST                                                                                  BRAZIL           IN 47834‐3143
MELVIN PHILLIPS        663 DESOTA PL                                                                                   PONTIAC          MI 48342‐1619
MELVIN PIERCE          1035 W 122ND ST                                                                                 LOS ANGELES      CA 90044‐2923
MELVIN PILLOW          617 ROOME CT                                                                                    FLINT            MI 48503‐2210
MELVIN PINE            7305 RISDEN RD                                                                                  VERMILION        OH 44089‐9255
MELVIN PLACE           2215 W MOUNT HOPE AVE                                                                           LANSING          MI 48911‐1660
MELVIN PLASKEY         22205 LAKESHIRE ST                                                                              ST CLAIR SHRS    MI 48081‐2488
MELVIN PLOGGER         168 EARLY ST                                                                                    NEW MARKET       VA 22844‐9600
MELVIN POHL            3072 S ADAMS RD                                                                                 AUBURN HILLS     MI 48326‐3300
MELVIN POKREFKY        81221 BELLE RIVER RD                                                                            MEMPHIS          MI 48041‐4421
MELVIN POPP            1557 WEST 'G' ST. LOT 142                                                                       AVON PARK        FL 33825
MELVIN PORRITT         533 SOUTH LAKES END DRIVE       D‐2                                                             FORT PIERCE      FL 34982
MELVIN PORTER          9025 STARK AVE                                                                                  KANSAS CITY      MO 64138‐4456
MELVIN PORTER          G4121 BEECHER RD                                                                                FLINT            MI 48532‐2707
MELVIN PREVOST         111 MEDFORD PL                                                                                  FRANKLIN         TN 37064‐4933
MELVIN PRICE           750 BELL MANOR RD               P.O. BOX 343                                                    CONOWINGO        MD 21918‐1011
MELVIN PRITCHETT       19374 WHITCOMB ST                                                                               DETROIT          MI 48235‐2057
MELVIN PROFFITT        17000 E 49TH TER S                                                                              INDEPENDENCE     MO 64055‐6307
MELVIN PRUITT          1560 SPUR LANE NORTHWEST                                                                        BROOKHAVEN       MS 39601‐9177
MELVIN PUCKETT         9313 SANDALWOOD DR                                                                              SHREVEPORT       LA 71118‐2825
MELVIN PYLE            3840 JOHNSVILLE BROOKVILLE RD                                                                   BROOKVILLE       OH 45309‐8771
MELVIN PYLE            710 W 3RD ST                                                                                    HILLMAN          MI 49746‐9036
MELVIN R GARRETT       C/O G PATTERSON KEAHEY PC       ONE INDEPENDENCE PLAZA STE 612                                  BIRMINGHAM       AL 35209

MELVIN R KEHRER        9941 GERALDINE ST                                                                               YPSILANTI       MI   48197‐6927
MELVIN R KING          MOTLEY RICE LLC                 28 BRIDGESIDE BLVD               PO BOX 1792                    MT PLEASANT     SC   29465
MELVIN R KREUTZER JR   204 EAST CENTER ST                                                                              FARMERSVILLE    OH   45325‐1129
MELVIN R MATTHEWS      96 OAK VALLEY DR                                                                                SPRING HILL     TN   37174‐2596
MELVIN R NOBLE         1001 SHILOH SPRINGS ROAD                                                                        DAYTON          OH   45415‐2727
MELVIN R TOLLEY        6975 LOVE WARNER RD                                                                             CORTLAND        OH   44410‐8617
MELVIN RADEMACHER      1700 S FRANCIS RD                                                                               SAINT JOHNS     MI   48879‐8704
MELVIN RADLICK         37647 ADRIAN DR                                                                                 STERLING HTS    MI   48310‐4010
MELVIN RADTKE          3499 SARATOGA DR                                                                                HAMILTON        OH   45011‐8002
MELVIN RAHN            2655 CEDARGROVE S                                                                               JENISON         MI   49428‐7138
MELVIN RANDOLPH        1103 WILLIAMSON CIR                                                                             PONTIAC         MI   48340‐3315
MELVIN RATLIFF         8101 MACKENZIE RD                                                                               SAINT LOUIS     MO   63123‐3451
MELVIN RAU             24160 STATE ROUTE 613                                                                           CONTINENTAL     OH   45831‐8924
MELVIN RAWLEY          491 W BLANCHARD RD                                                                              SHEPHERD        MI   48883‐9552
MELVIN RAY             6023 BLUE RIBBON RD                                                                             HILLSBORO       OH   45133‐8119
MELVIN RAY             6691 OLD GREENHILL RD                                                                           BOWLING GREEN   KY   42103‐9727
MELVIN REAM            5439 BALDWIN RD                                                                                 SWARTZ CREEK    MI   48473‐9153
MELVIN REECER          4375 ASBURY ST                                                                                  INDIANAPOLIS    IN   46227‐8607
MELVIN REED            3347 SUNSET AVENUE                                                                              ATLANTA         GA   30354‐1607
MELVIN REED            198 COUNTY ROAD 3371                                                                            DE BERRY        TX   75639‐2722
MELVIN REID            PO BOX 557                                                                                      LAKE ORION      MI   48361‐0557
MELVIN REID            545 E 12TH ST                                                                                   FLINT           MI   48503‐4055
MELVIN REINBOLD        1298 TABITHA TRL                                                                                MIO             MI   48647‐8771
MELVIN REITER          12169 ALBEE RD                                                                                  BURT            MI   48417‐9737
MELVIN REITZEL         7789 E M 71                                                                                     DURAND          MI   48429‐9777
MELVIN RENFROW JR      257 HIGHLAND AVE                                                                                BLOOMFIELD      MI   48302‐0632
MELVIN RETCHER         22909 BOWMAN RD                                                                                 DEFIANCE        OH   43512‐8991
MELVIN RHOADES         1320 N SAYBROOK LN                                                                              MUNCIE          IN   47304‐5062
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Name                               Address1                          Address2                    Address3   Address4         City            State Zip
MELVIN RICHARDS                    455 OLD BIRMINGHAM HWY                                                                    ALPHARETTA       GA 30004‐2517
MELVIN RICHARDS                    10556 RUNYAN LAKE CT                                                                      FENTON           MI 48430‐2438
MELVIN RICHARDSON                  257 CHIP RD                                                                               AUBURN           MI 48611‐9773
MELVIN RICHMOND                    2450 KROUSE RD LOT 324                                                                    OWOSSO           MI 48867‐9314
MELVIN RICKARD                     4004 SE 89TH ST                                                                           OKLAHOMA CITY    OK 73135‐6230
MELVIN RICKARD JR                  1336 UPPER MOUNTAIN RD                                                                    LEWISTON         NY 14092‐2230
MELVIN RIFFE                       RR 1 BOX 207                                                                              LINDSIDE         WV 24951‐9629
MELVIN RILEY                       580 LANDSDOWN BLVD                                                                        YOUNGSTOWN       OH 44505
MELVIN RISING                      43931 MARNE CT                                                                            CANTON           MI 48188‐1721
MELVIN ROACH                       286 LONGFORD DR                                                                           ROCHESTER HLS    MI 48309‐2032
MELVIN ROBBINS                     178 MUIRWOOD VILLAGE DR                                                                   DELAWARE         OH 43015‐4037
MELVIN ROBBINS JR                  PO BOX 66                                                                                 CHARLOTTE        MI 48813‐0066
MELVIN ROBERSON                    124 S 9TH ST                                                                              SAGINAW          MI 48601‐1801
MELVIN ROBERTS                     5179 WOODHAVEN DR                                                                         FLINT            MI 48504‐1264
MELVIN ROBERTS                     3186 STATE RD NW                                                                          WARREN           OH 44481‐9424
MELVIN ROBINSON                    7136 SE REDBIRD CIR                                                                       HOBE SOUND       FL 33455‐6037
MELVIN ROBINSON                    PO BOX 9465                                                                               WILMINGTON       DE 19809‐0465
MELVIN ROBINSON                    3004 GRACE RD                                                                             KALAMAZOO        MI 49006‐2908
MELVIN ROBINSON                    28223 RIVERBRIDGE DR                                                                      ROMULUS          MI 48174‐2911
MELVIN ROBINSON                    78 BASHORE DR                                                                             MARTINSBURG      WV 25404‐7668
MELVIN ROCKETT                     335 SHAMROCK DR APT 10C           LAKEWOOD PLACE APARTMENTS                               BATESVILLE       MS 38606‐2250
MELVIN ROCKINGHAM                  5618 SPENCER DR                                                                           JACKSON          MS 39212‐3615
MELVIN ROGERS                      7603 N BALTIMORE RD                                                                       MONROVIA         IN 46157‐9019
MELVIN ROGERS JR                   13280 GRINDLE DR                                                                          LOWELL           MI 49331‐9324
MELVIN ROSCHEFSKI                  26681 RIDGEMONT ST                                                                        ROSEVILLE        MI 48066‐7123
MELVIN ROSS                        PO BOX 1079                                                                               FLINT            MI 48501‐1079
MELVIN ROWLAND                     4482 SADDLE BEND TRL                                                                      SNELLVILLE       GA 30039‐5980
MELVIN RUDD                        3676 MCLEAN RD                                                                            FRANKLIN         OH 45005‐4760
MELVIN RUFF                        7501 BUCKS DR                                                                             GRAND BLANC      MI 48439‐8558
MELVIN RUFFNER                     3050 EVELYN RD                                                                            YOUNGSTOWN       OH 44511‐1822
MELVIN RUNDEL                      35366 DODGE PARK RD APT 1A                                                                STERLING HTS     MI 48312‐3973
MELVIN RUTAN                       7 MURTLAND AVE                                                                            WASHINGTON       PA 15301‐3355
MELVIN RUTH                        MELVIN, LAWRENCE                  PO BOX 347                                              GREENUP          KY 41144‐0347
MELVIN RUTH                        MELVIN, RUTH                      PO BOX 347                                              GREENUP          KY 41144‐0347
MELVIN RUTLEDGE                    16470 WHITEHEAD DR                                                                        LINDEN           MI 48451‐8776
MELVIN RUTLEDGE                    190 WILSONIA RD                                                                           ROCHESTER        NY 14609‐6758
MELVIN RYAN                        132 BEAVER ST                                                                             FRAMINGHAM       MA 01702‐7008
MELVIN S SCHWARZ DDS MSCD INC PS   C/O MELVYN SCHWARZ                3400 LOMITA BLVD STE #505                               TORRANCE         CA 90505
TRUST UA 10‐1‐97
MELVIN SALWASSER                   PO BOX 1207                                                                               REEDLEY         CA   93654
MELVIN SANDLIN                     921 W 8TH ST                                                                              ANDERSON        IN   46016‐1271
MELVIN SANFORD                     8931 APPOLINE ST                                                                          DETROIT         MI   48228‐2625
MELVIN SAVAGE                      3029 HUDSON AVE                                                                           YOUNGSTOWN      OH   44511‐3129
MELVIN SAYFORD                     1310 LOCUST ST                                                                            MIDDLETOWN      IN   47356‐1133
MELVIN SCHALLER                    7251 HEARTH STONE AVE                                                                     BOYNTON BEACH   FL   33472
MELVIN SCHAPPELL                   3210 N POINT RD                                                                           BALTIMORE       MD   21222‐2605
MELVIN SCHELL                      PO BOX 43                                                                                 ROUND MTN       CA   96084‐0043
MELVIN SCHINDEWOLF                 20 LINWOOD AVE                                                                            EWING           NJ   08638‐1608
MELVIN SCHISLER                    6524 WOODBRIDGE CIR                                                                       BALTIMORE       MD   21228‐1126
MELVIN SCHNACKE JR                 5988 MYRTLE HILL RD                                                                       VALLEY CITY     OH   44280‐9792
MELVIN SCHNALL TTEE                MELVIN SCHNALL LIV TRUST UA DTD   785 NORMANDY Q                                          DELRAY BEACH    FL   33484‐7927
                                   11/10/93
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Name                   Address1                         Address2                 Address3            Address4         City               State Zip
MELVIN SCHNEEBERGER    9137 W COUNTY ROAD M                                                                           EDGERTON            WI 53534‐9744
MELVIN SCHNEIDER       1264 E MOUNT MORRIS RD                                                                         MOUNT MORRIS        MI 48458‐2935
MELVIN SCHRODER        6144 YANKEE RD                                                                                 LIBERTY TOWNSHIP    OH 45044‐9125
MELVIN SCHULZ
MELVIN SCOTT           41 AVERY ST                                                                                    ROCHESTER          NY   14606‐1901
MELVIN SCOTT           119 GRANDVIEW DR                                                                               SAINT CHARLES      MO   63301‐0502
MELVIN SCRUGGS         2710 DUPONT ST                                                                                 FLINT              MI   48504‐2822
MELVIN SCRUGGS         608 E OCONEE ST                                                                                FITZGERALD         GA   31750‐2534
MELVIN SEDRICK         215 HARLEY BEAGLE RD                                                                           HARRISON           MI   48625‐8624
MELVIN SEEFELDT        PO BOX 85                                                                                      MIDDLEPORT         NY   14105‐0085
MELVIN SHAFER          11924 BURTON ST                                                                                CLERMONT           FL   34711‐8853
MELVIN SHANNON         2309 OLD ATLANTA HWY                                                                           FORSYTH            GA   31029‐2708
MELVIN SHANNON         142 JEFFERSON RD                                                                               WEST UNION         SC   29696‐2818
MELVIN SHARP           468 GOLDFINCH DR                                                                               GREENVILLE         MS   38701‐8102
MELVIN SHARP           317 W PIERSON RD                                                                               FLINT              MI   48505‐3356
MELVIN SHAUL           1316 N NURSERY RD                                                                              ANDERSON           IN   46012‐2730
MELVIN SHEBESTER JR    1490 OAK GROVE DR                                                                              WALLED LAKE        MI   48390‐3736
MELVIN SHERMAN         1144 N HURON RD                                                                                LINWOOD            MI   48634‐9306
MELVIN SHIELDS         124 E 1ST ST APT 703                                                                           WESTON             WV   26452‐1979
MELVIN SHIVELY         1125 MILLER AVE                                                                                KOKOMO             IN   46902‐2661
MELVIN SHOLLENBERGER   PO BOX 266                                                                                     EDDY               TX   76524‐0266
MELVIN SHORT JR        PO BOX 127                                                                                     NEW LEBANON        OH   45345‐0127
MELVIN SHUNK           1279 LESTER AVE                                                                                YPSILANTI          MI   48198‐6480
MELVIN SILAS           2219 ASBURY SQ                                                                                 ATLANTA            GA   30346‐2409
MELVIN SIMMONS         11896 E 1500 RD                                                                                STOCKTON           MO   65785‐9360
MELVIN SIMONS          PO BOX 310733                                                                                  NEW BRAUNFELS      TX   78131
MELVIN SIMPSON         BARON & BUDD P C                 THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS             TX   75219‐4281
MELVIN SKABAR          4643 SARASOTA DR                                                                               PARMA              OH   44134‐6251
MELVIN SLAUGHTER       1568 NW 100TH RD                                                                               KINGSVILLE         MO   64061‐9104
MELVIN SMILEY          943 DEWEY ST                                                                                   PONTIAC            MI   48340‐2512
MELVIN SMITH           725 RICE MILL CHAVERS RD                                                                       ALBERTVILLE        AL   35951‐4115
MELVIN SMITH           4611 MILFORD AVE                                                                               OAK FOREST         IL   60452‐4542
MELVIN SMITH           PO BOX 19324                                                                                   KALAMAZOO          MI   49019‐0324
MELVIN SMITH           110 EDGEWATER DR                                                                               SAINT CLOUD        FL   34769‐2521
MELVIN SMITH           5206 HILLWELL RD                                                                               BALTIMORE          MD   21229‐3225
MELVIN SMITH           1521 E STATE ROAD 38                                                                           MARKLEVILLE        IN   46056‐9734
MELVIN SMITH           6409 N WAYNE AVE                                                                               GLADSTONE          MO   64118‐3739
MELVIN SMITH           1134 BRUNSWICK WAY                                                                             ANDERSON           IN   46012‐2618
MELVIN SMITH           14 ROBINS NEST LN                                                                              NEW CASTLE         DE   19720‐1860
MELVIN SNOWDIN         660 KRYSTAL KOVE                                                                               GRAND RAPIDS       MI   49534
MELVIN SNYDER          9191 WARNER ST                                                                                 WEST OLIVE         MI   49460‐9635
MELVIN SOLES           3551 CREED AVE                                                                                 HUBBARD            OH   44425‐9768
MELVIN SPARKS JR       4233 SANDRIDGE DR                                                                              OKEMOS             MI   48864‐3306
MELVIN SPAYDE          301 WINIFRED AVE                                                                               LANSING            MI   48917‐2720
MELVIN SPEARS          3916 INVERNESS AVE                                                                             TOLEDO             OH   43607‐2542
MELVIN SPELLS          6020 TERRYTOWN PARKWAY                                                                         INDIANAPOLIS       IN   46254‐5047
MELVIN SPENCER         4267 CLIFFORD RD                                                                               SILVERWOOD         MI   48760‐9702
MELVIN SPENCER         2459 W 14400 S                                                                                 RIVERTON           UT   84065‐5096
MELVIN SPENS           61381 HAVENRIDGE RD                                                                            LENOX              MI   48048‐1222
MELVIN SPRINGER        11117 WHISPERING RIDGE TRL                                                                     FENTON             MI   48430‐3408
MELVIN SPROUL          PO BOX 295                                                                                     LYONS              MI   48851‐0295
MELVIN STACY           322 S 3RD ST                                                                                   MIAMISBURG         OH   45342‐2933
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Name                   Address1                         Address2            Address3         Address4         City              State Zip
MELVIN STACY           322 S. THIRD ST                                                                        MIAMISBURG         OH 45342‐2933
MELVIN STAMPS          2 GREENHEAD LANE                                                                       RAYMOND            MS 39154
MELVIN STAMPS          2 GREENHEAD LN                                                                         RAYMOND            MS 39154‐7625
MELVIN STANCIL         3723 ATLANTA HWY                                                                       CUMMING            GA 30040‐6382
MELVIN STEINKE         4505 E MCBRIDE DR                                                                      MILTON             WI 53563‐9407
MELVIN STEPHEN         11646 SIR WINSTON WAY                                                                  ORLANDO            FL 32824‐6008
MELVIN STEVENSON       4506 BRIARGLEN DR                                                                      DALLAS             TX 75211‐7806
MELVIN STEWART         28573 BURNING TREE LN                                                                  ROMULUS            MI 48174‐4904
MELVIN STEWART         430M W 6TH STREET                                                                      LEXINGTON          KY 40508‐1363
MELVIN STOCKING        47597 HUGHES RD                                                                        WELLINGTON         OH 44090‐9717
MELVIN STOECKLEIN      11400 E 19TH ST S                                                                      INDEPENDENCE       MO 64052‐3906
MELVIN STOKES          2548 GAYNOR RD                                                                         CHEBOYGAN          MI 49721‐9257
MELVIN STONE           7605 BASELINE RD                                                                       BELLEVUE           MI 49021‐9739
MELVIN STRICKLAND      862 LATHAM ST                                                                          DAYTON             OH 45408‐1924
MELVIN STULTS          1307 S 18TH ST                                                                         NEW CASTLE         IN 47362‐2606
MELVIN SUGG            4445 POLK ST                                                                           DEARBORN HTS       MI 48125‐2937
MELVIN SUMMERS         5340 MILLWOOD DR                                                                       FLINT              MI 48504‐1130
MELVIN SUMMERS         641 INGOMAR ST                                                                         INDIANAPOLIS       IN 46241‐0603
MELVIN SWAFFORD        545 KAREN DR                                                                           HILLSBORO          MO 63050‐5071
MELVIN SWAIN           7356 LAKE STATION AVE                                                                  LAKE               MI 48632‐9115
MELVIN SWEINHAGEN      1207 INDIANA AVE                                                                       NAPOLEON           OH 43545‐1189
MELVIN SZARO           6776 ASBURY PARK                                                                       DETROIT            MI 48228‐3747
MELVIN T BRIGHAM       944 SPRINGFIELD                                                                        DAYTON             OH 45403‐1348
MELVIN T BROWN         3980 NORTHRIDGE RD                                                                     BRIDGEPORT         MI 48722‐9541
MELVIN T ROBERTS       3186 STATE ROAD                                                                        WARREN             OH 44481
MELVIN T ROCKETT       5349 ABBEYCREST DR                                                                     MEMPHIS            TN 38109‐7501
MELVIN T WHITEKER      1338 JONES DR                                                                          WEST ALEXANDRIA    OH 45381‐9348
MELVIN TARNOWSKI       160 STREAMVIEW DR                                                                      TROY               MI 48085‐4753
MELVIN TATE            8791 ABBEY RIDGE AVE                                                                   LAS VEGAS          NV 89149‐4006
MELVIN TAYLOR          33 HANSOM DR                                                                           MERRIMACK          NH 03054‐4583
MELVIN TEBEDO          753 LAKESHORE DR                                                                       GLADWIN            MI 48624‐8064
MELVIN TELLER          50435 RIVERSIDE DR                                                                     MACOMB             MI 48044‐1239
MELVIN TELLIS          PO BOX 19365                                                                           KALAMAZOO          MI 49019‐0365
MELVIN TENNANT         5616 BEVERLY AVE                                                                       SHAWNEE MSN        KS 66202‐2533
MELVIN TERBUSH         5591 BERKLEY DR                                                                        WATERFORD          MI 48327‐2708
MELVIN TERECHENOK JR   6129 WINTER DR                                                                         CANTON             MI 48187‐3640
MELVIN TERRY           2120 E BUDER AVE                                                                       FLINT              MI 48529‐1734
MELVIN TERRY           16700 BRIGGS RD                                                                        CHESANING          MI 48616‐9776
MELVIN TERRY JR        2338 MELODY LN                                                                         BURTON             MI 48509‐1158
MELVIN TERRY SR        3546 UKRAINE DR                                                                        COLUMBUS           GA 31906‐4630
MELVIN TESCHKER        1723 ENTERPRISE DR                                                                     TROY               MI 48083‐1863
MELVIN THOMAS          7720 S GALE RD                                                                         MORRICE            MI 48857‐9771
MELVIN THOMAS          2360 MARLENE DR                                                                        SWARTZ CREEK       MI 48473‐7918
MELVIN THOMAS JR       6804 BROMPTON RD                                                                       BALTIMORE          MD 21207‐5671
MELVIN THOMAS WARD     C/O FOSTER & SEAR, LLP           817 GREENVIEW DR.                                     GRAND PRAIRIE      TX 75050
MELVIN THOMPSON        3450 S AIRPORT RD                                                                      BRIDGEPORT         MI 48722‐9557
MELVIN THOMPSON        3230 E MANNSIDING RD                                                                   HARRISON           MI 48625‐9428
MELVIN THOMPSON        2495 STATE ROAD 142                                                                    MARTINSVILLE       IN 46151‐9587
MELVIN TICE            112 BIRCHWOOD LN                                                                       CADILLAC           MI 49601‐9776
MELVIN TIEDT           7812 LAKE DR                                                                           RODNEY             MI 49342‐9606
MELVIN TINNIN          10357 ATABERRY DR                                                                      CLIO               MI 48420‐1904
MELVIN TISH            516 N BALL ST                                                                          OWOSSO             MI 48867‐2308
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Name                              Address1                        Address2                      Address3   Address4         City            State Zip
MELVIN TOBIAS                     1541 BRUMFIELD RD SW                                                                      BOGUE CHITTO     MS 39629‐9459
MELVIN TOLLEY                     6975 LOVE WARNER RD                                                                       CORTLAND         OH 44410‐8617
MELVIN TOMBLIN                    2511 E. 1000 N ROAD                                                                       KANKAKEE          IL 60901
MELVIN TOOKES                     PO BOX 6509                                                                               ATLANTA          GA 30315‐0509
MELVIN TOPPING                    PO BOX 236                                                                                MIDDLEBURG       NC 27556‐0236
MELVIN TOWNSEND                   PO BOX 195822                                                                             LITTLE ROCK      AR 72219‐5822
MELVIN TOWNSEND                   5298 KIMBERLY DR                                                                          GRAND BLANC      MI 48439‐5158
MELVIN TRAMMELL                   C/O WEITZ & LUXENBERG PC        700 BROADWAY                                              NEW YORK         NY 10003
MELVIN TRENT                      3995 MONTEREALE DR                                                                        CANFIELD         OH 44406‐8085
MELVIN TRIPKOS                    7315 CONSER ST                                                                            OVERLAND PARK    KS 66204‐1825
MELVIN TRUMBO & EURENA B TRUMBO   12537 HIPP ST                                                                             TAYLOR           MI 48180

MELVIN TRUSS                      515 WOODBERRY PLACE                                                                       DECATUR         GA   30034‐5555
MELVIN TUBO                       14386 DALIA                                                                               FORT PIERCE     FL   34951‐4251
MELVIN TUCKER                     5009 DECKERVILLE RD                                                                       LUPTON          MI   48635‐8731
MELVIN TURNER                     532 DORCHESTER DR                                                                         DIMONDALE       MI   48821‐8704
MELVIN TURNER                     7195 STARVILLE RD                                                                         COTTRELLVILLE   MI   48039‐1821
MELVIN UNDERWOOD                  4495 ROSEBUD RD                                                                           LOGANVILLE      GA   30052
MELVIN UPDIKE                     2707 N LEXINGTON DR APT 204                                                               JANESVILLE      WI   53545‐0340
MELVIN V SMITH                    3 GREENLEAF MDWS                                                                          ROCHESTER       NY   14612
MELVIN VETOR                      3201 S BRANSON ST                                                                         MARION          IN   46953‐4037
MELVIN VICKERS                    1202 MAPLEKREST DR                                                                        FLINT           MI   48532‐2231
MELVIN VICKROY                    707 BEACH BUGGY LN                                                                        LINDEN          MI   48451‐9663
MELVIN VINSON                     5410 SAINT LO LN                                                                          ATLANTA         GA   30349‐3446
MELVIN VOELKER                    6710 LOUENE CIR                                                                           SHREVEPORT      LA   71119‐3404
MELVIN VOGEL                      3268 GERMAN CHURCH RD # 7                                                                 MANSFIELD       OH   44904
MELVIN VOLZ                       10074 SEBEWAING RD                                                                        SEBEWAING       MI   48759‐9717
MELVIN W LEWIS                    12812 BRISTOL AVE 6403                                                                    GRANDVIEW       MO   64030
MELVIN WAGNER                     61 BRINKERHOFF AVE                                                                        MANSFIELD       OH   44906‐3208
MELVIN WAINRIGHT                  10790 TEFFT AVE NE                                                                        ROCKFORD        MI   49341‐9769
MELVIN WALKER                     259 WEBSTER AVE                                                                           NEW ROCHELLE    NY   10801
MELVIN WALKER                     209 HERMAN AVE                                                                            DUQUESNE        PA   15110‐1423
MELVIN WALKER                     10 WELDON RD                                                                              BUCHANAN        GA   30113‐4479
MELVIN WALL ‐ EDITH WALL          PO BOX 334                      606 3RD ST                                                DELHI           IA   52223
MELVIN WALLACE                    THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                               HOUSTON         TX   77017
MELVIN WALTERS                    775 FOX RD SE                                                                             BOGUE CHITTO    MS   39629‐3010
MELVIN WARD                       THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                               HOUSTON         TX   77017
MELVIN WARD                       3827 E MIKADO RD                                                                          MIKADO          MI   48745
MELVIN WARD                       1254 N CICERO AVE               APT 1A                                                    CHICAGO         IL   60651
MELVIN WARNER                     2041 MORGAN RD                                                                            CLIO            MI   48420‐1830
MELVIN WASHINGTON                 4194 DAWSON RIDGE DR                                                                      MILLINGTON      TN   38053‐7975
MELVIN WEAVER                     248 NORTHLAND DR                                                                          IONIA           MI   48846‐2124
MELVIN WEBB JR                    7771 LINDEN DR                                                                            ALMONT          MI   48003‐8112
MELVIN WEDLAKE                    34 SANDALWOOD CT                                                                          ATTICA          MI   48412‐9104
MELVIN WEIKART                    356 REA DR                                                                                SALEM           OH   44460‐1159
MELVIN WELHUSEN                   3812 INVERARY DR                                                                          LANSING         MI   48911‐1358
MELVIN WELLS                      1696 LEISURE WAY                                                                          GREENFIELD      IN   46140‐9127
MELVIN WELLS                      901 E CLARA ST                                                                            BAY CITY        MI   48706‐4807
MELVIN WELLS                      39331 CAMBRIDGE ST                                                                        WESTLAND        MI   48186‐8600
MELVIN WHEELER                    19641 SUNSET ST                                                                           DETROIT         MI   48234‐2066
MELVIN WHITE                      2617 RITTENHOUSE AVE                                                                      BALTIMORE       MD   21230‐3313
MELVIN WHITE                      401 N MAIN ST                                                                             ANN ARBOR       MI   48104‐1157
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Name                        Address1                                Address2                           Address3          Address4         City                 State Zip
MELVIN WHITE                1719 HOMESTEAD ST                                                                                             SEBRING               FL 33870‐1735
MELVIN WHITEKER             1338 JONES DR                                                                                                 WEST ALEXANDRIA       OH 45381‐9348
MELVIN WHITESIDE            PO BOX 214604                                                                                                 AUBURN HILLS          MI 48321‐4604
MELVIN WICKER               2301 HAZEL AVE                                                                                                KETTERING             OH 45420‐1345
MELVIN WILEY                13969 WINDING POND LN                                                                                         BELLEVILLE            MI 48111‐7103
MELVIN WILLIAMS             300 TOWNLEY RD                                                                                                OXFORD                GA 30054‐3842
MELVIN WILLIAMS             8898 TRAVIS DR                                                                                                OLIVE BRANCH          MS 38654‐3720
MELVIN WILLIAMS             3047 LANNING DR                                                                                               FLINT                 MI 48506‐2050
MELVIN WILLIAMS             NIX, PATTERSON & ROACH LLP              GM BANKRUPTCY DEPARTMENT           205 LINDA DRIVE                    DAINGERFIELD          TX 75638
MELVIN WILLIAMS             401 HAMPTON PLACE                                                                                             POMPTON PLAINS        NJ 07444
MELVIN WILLIS               10080 LEWIS RD                                                                                                MILLINGTON            MI 48746‐9530
MELVIN WILSON               108 MCDONALD BLVD                                                                                             SWANSEA                IL 62226‐2446
MELVIN WINTER               10200 LEWIS RD                                                                                                LEXINGTON             OK 73051‐8432
MELVIN WISE                 5215 ISHERWOOD DR                                                                                             NIAGARA FALLS         NY 14305‐1382
MELVIN WITHERSPOON          257 BROWNEE LN                                                                                                HARTSELLE             AL 35640‐4804
MELVIN WITZMAN              PO BOX 246                              6424 LAKEVIEW BLVD                                                    SAINT HELEN           MI 48656‐0246
MELVIN WOLF                 6820 VIGNES RD                                                                                                FORESTVILLE           WI 54213‐9788
MELVIN WOLFE                301 E STREETER AVE                                                                                            MUNCIE                IN 47303‐1914
MELVIN WOOD                 2487 ANCHOR AVE                                                                                               SPRING HILL           FL 34608‐4306
MELVIN WOOD                 1441 OAK FOREST WAY SE                                                                                        CONYERS               GA 30013‐1611
MELVIN WOOD JR              PO BOX 459                                                                                                    AMELIA COURT HOUSE    VA 23002‐0459
MELVIN WOODSON              504 PHELPS AVE                                                                                                KALAMAZOO             MI 49048‐1928
MELVIN WOOFTER              23115 HUBER AVE                                                                                               TORRANCE              CA 90501‐5630
MELVIN WYATT                5439 CLUBOK DR                                                                                                FLINT                 MI 48505‐1030
MELVIN YAX                  16470 27 MILE RD                                                                                              RAY                   MI 48096‐3412
MELVIN YOUNG                1723 MACKIN RD                                                                                                FLINT                 MI 48504‐3461
MELVIN YUHNKE               145 WILMINGTON AVE                                                                                            TONAWANDA             NY 14150‐8723
MELVIN ZIMMERMAN            1224 SYLVESTER ST                                                                                             JANESVILLE            WI 53546‐6042
MELVIN ZINN                 1638 ROYCE AVE                                                                                                BELOIT                WI 53511‐3612
MELVIN'S REPAIR SHOP, INC   1625 OLD MOULTRIE RD                                                                                          SAINT AUGUSTINE       FL 32084‐5758
MELVIN, CATHERINE L         38 ALLISON ST                                                                                                 PONTIAC               MI 48342‐1000
MELVIN, CHARLES D           905 REVERE CT                                                                                                 WILMINGTON            NC 28411‐7095
MELVIN, CHARLES J           5882 N HERD RD                                                                                                ORTONVILLE            MI 48462‐8714
MELVIN, CLARIS E.           1005 R ST                                                                                                     BEDFORD               IN 47421‐2801
MELVIN, CLYDE               LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                                      PHILADELPHIA          PA 19106
                            GRAY                                    510 WALNUT STREET
MELVIN, DAWN                4325 SE 87TH ST                                                                                               OKLAHOMA CITY        OK   73135
MELVIN, DAWN                517 HEATHER LN                                                                                                MOORE                OK   73160‐2523
MELVIN, DEBORAH A           13356 DALEVIEW CT                                                                                             SOUTH LYON           MI   48178‐9199
MELVIN, DENISE L            3150 VAUXHALL DR                                                                                              COLUMBUS             OH   43204
MELVIN, DENNIS C            3044 CROSS GATE LN                                                                                            COLUMBIA             TN   38401‐7390
MELVIN, DICK W              5805 PAMPUS LN                                                                                                BOSSIER CITY         LA   71112‐4983
MELVIN, DORENE M            7675 BRIDGE RD                                                                                                WATERFORD            MI   48329‐1005
MELVIN, DOROTHY A           3406 EDWARDS ST                                                                                               SPRINGDALE           MD   20774‐2622
MELVIN, ERIC J              GM CORP 3‐220 (RUSSELSHEIM)                                                                                   DETROIT              MI   48202
MELVIN, EUGENE A            3745 EAST MARKET ST                     APT# 110C                                                             WARREN               OH   44484
MELVIN, FLORENCE N          RR 2                                                                                                          SHOALS               IN   47581‐9802
MELVIN, JAMES B             9505 HACKER FARM LN                                                                                           DAYTON               OH   45458
MELVIN, JERRY L             3206 TULIP DR                                                                                                 INDIANAPOLIS         IN   46227‐7724
MELVIN, JESS R              712 N MARKWELL AVE                                                                                            MOORE                OK   73160
MELVIN, JOE R               SUTTER & ENSLEIN                        1598 KANAWHA BLVD EAST, SUITE                                         CHARLESTON           WV   25311
                                                                    200
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Name                    Address1                              Address2                     Address3   Address4         City              State Zip
MELVIN, JOHN W          1218 SNYDER AVE                                                                                ANN ARBOR          MI 48103‐5328
MELVIN, JOSHUA J        3434 AIRPORT RD                                                                                WATERFORD          MI 48329‐3014
MELVIN, JR., EDWARD L   621 N EPPINGTON DR                                                                             TROTWOOD           OH 45426‐2517
MELVIN, KAREN J         5882 N HERD RD                                                                                 ORTONVILLE         MI 48462‐8714
MELVIN, KATHLEEN M      5645 NETHERLAND AVENUE                                                                         BRONX              NY 10471
MELVIN, LARRY D         346 BRUCE RD                                                                                   BEAVERTON          MI 48612‐8529
MELVIN, LARRY D         3956 WESTPOINT ST                                                                              DEARBORN HTS       MI 48125‐2125
MELVIN, LAWRENCE        MCBRAYER MCGINNIS LESLIE & KIRKLAND   PO BOX 347                                               GREENUP            KY 41144‐0347

MELVIN, MARK C          13356 DALEVIEW CT                                                                              SOUTH LYON        MI   48178‐9199
MELVIN, MARK S          2945 LAYFAIR DR APT 225                                                                        FLOWOOD           MS   39232‐9758
MELVIN, MARY JO         803 4TH ST                                                                                     CINCINNATI        OH   45215‐4829
MELVIN, MARY JO         803 FOURTH ST                                                                                  CINCINNATI        OH   45215‐4829
MELVIN, MARY L          713 NE 46TH ST TERRACE                                                                         KANSAS CITY       MO   64116
MELVIN, MICHAEL G       1363 JOHN ROSS DR                                                                              KALAMAZOO         MI   49009‐8306
MELVIN, NEIL W          PO BOX 1685                                                                                    KODAK             TN   37764‐7685
MELVIN, PATRICK L       13438 MCINTYRE RD                                                                              LEAVENWORTH       KS   66048‐7268
MELVIN, PHYLLIS         3745 EAST MARKET ST                   APT# 110C                                                WARREN            OH   44484
MELVIN, PIERRE          5927 NW 91ST ST                                                                                KANSAS CITY       MO   54154‐1647
MELVIN, PIERRE          3133 FLOWERS RD S APT R                                                                        ATLANTA           GA   30341‐5646
MELVIN, R C             3015 CRESTWOOD CT                                                                              BAY CITY          MI   48706‐2503
MELVIN, REUBEN W        34304 FM 732                                                                                   SAN BENITO        TX   78586‐6708
MELVIN, ROBERT D        1982 MILDRED DR                                                                                WEST BRANCH       MI   48661‐9445
MELVIN, ROBERT L        9288 WARD NORTH RD                                                                             KINSMAN           OH   44428‐9539
MELVIN, RONALD F        4623 BASS DR                                                                                   TUSCALOOSA        AL   35405
MELVIN, RONALD L        3108 SATINWOOD DR                                                                              JANESVILLE        WI   53546‐8867
MELVIN, ROSE M          2975 KEELEY CT                                                                                 WATERFORD         MI   48328‐2631
MELVIN, RUTH            2086 STATE ROUTE 503                                                                           WURTLAND          KY   41144‐7480
MELVIN, RUTH            MCBRAYER MCGINNIS LESLIE & KIRKLAND   PO BOX 347                                               GREENUP           KY   41144‐0347

MELVIN, RUTH E          126 BURKHARDT AVE                                                                              DAYTON            OH   45403‐2630
MELVIN, TANEA           3017 ARUNAH AVE                                                                                BALTIMORE         MD   21216
MELVIN, TERRANCE P      326 N DEERFIELD AVE                                                                            LANSING           MI   48917‐2909
MELVIN, WILLIAM M       792 MICHAEL TER                                                                                LAWRENCEBURG      TN   38464‐6392
MELVIN, WILLIAM O       2700 OLD MILLTOWN RD                                                                           WILMINGTON        DE   19808‐3728
MELVIN‐HODGE, LAURA E   2323 SANDY RIDGE DRIVE                                                                         WILSON            NC   27893
MELVIN‐WEIMER, ADA      6085 ELMOOR DR                                                                                 TROY              MI   48098‐1820
MELVINA BOUIE           20210 HUNTINGTON RD                                                                            DETROIT           MI   48219‐1441
MELVINA BURGESS         BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
MELVINA CAMERON         41856 GLADE RD                                                                                 CANTON            MI   48187‐3774
MELVINA FRITZ           PO BOX 525                                                                                     CASTALIA          OH   44824‐0525
MELVINA GOERSS          409 E STENZIL ST                                                                               NORTH TONAWANDA   NY   14120‐1756
MELVINA ISABELLE        4476 EAST 100 NORTH                                                                            KOKOMO            IN   46901‐8323
MELVINA JOHNSON         8335 CRANE RD                                                                                  JONESBORO         GA   30236‐8612
MELVINA KENNEDY         255 CHERRY HILL TRL APT 203                                                                    INKSTER           MI   48141‐1098
MELVINA KHANDJIAN
MELVINA LAWSON          436 S CHAPEL GATE LN                                                                           BALTIMORE         MD   21229‐3902
MELVINA MCCORMICK       1791 WESTWOOD DR NW                                                                            WARREN            OH   44485‐1841
MELVINA MILLER          1220 S. PALM WAY DRIVE, #12                                                                    ANAHEIM           CA   92802
MELVINA SPEAKS          1043 SMITH ST                                                                                  BUFFALO           NY   14212‐1125
MELVINA STEVENS         1475 S 46TH AVE APT 223                                                                        YUMA              AZ   85364‐4009
MELVINA ZAJAC           289 WATERBURY CT                                                                               WESTLAND          MI   48186‐5285
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Name                                Address1                        Address2                       Address3                     Address4         City                     State Zip
MELVINER BAILEY                     132 IVANHOE DR APT K6                                                                                        SAGINAW                   MI 48638‐6441
MELVIS WATKINS                      3977 BEDFORD ST                                                                                              DETROIT                   MI 48224‐3618
MELVON WILLIAMS                     4064 KIMBERLY WOODS DR                                                                                       FLINT                     MI 48504‐1124
MELVYN C CRAMER                     7015 SHANNON RD                                                                                              VERONA                    PA 15147‐2840
MELVYN COURTLEY                     207 KIOWA POINTE                                                                                             LOUDON                    TN 37774
MELVYN ELLIS                        34059 WILLIAMSBURG CT                                                                                        STERLING HTS              MI 48312‐4664
MELVYN GLASER                       WEITZ & LUXENBERG PC            700 BROADWAY                                                                 NEW YORK CITY             NY 10003
MELVYN GOLDSTEIN                    10498 RENE DR                                                                                                CLIO                      MI 48420‐1937
MELVYN HUGUELY                      PO BOX 5751                                                                                                  DAYTON                    OH 45405‐0751
MELVYN NEWLOVE                      MOTLEY RICE LLC                 28 BRIDGESIDE BLVD             PO BOX 1792                                   MT PLEASANT               SC 29465
MELVYN SCOTT                        1370 ASH ST                                                                                                  HUNTINGTON                IN 46750‐4111
MELVYN STEWART                      6672 WESTPOINTE DR                                                                                           TROY                      MI 48085‐1260
MELVYN WISE                         48050 HULL RD                                                                                                BELLEVILLE                MI 48111‐4280
MELVYN YOUNG                        1113 MEADOWBROOK RD                                                                                          BRYAN                     OH 43506‐2416
MELYMUKA, IHOR J                    6690 EMERALD LAKE DR                                                                                         TROY                      MI 48085‐1446
MELYMUKA, MARY K                    6690 EMERALD LAKE DR                                                                                         TROY                      MI 48085‐1446
MELYNDA L GRUBE                     4841 FAR HILLS APT 2                                                                                         KETTERING                 OH 45429‐2321
MELZENA ROSE                        2364 W NORTH ST                                                                                              KOKOMO                    IN 46901‐7504
MELZER BHIRDO                       8270 MCCARTY RD                                                                                              SAGINAW                   MI 48603‐9679
MELZER, BRENDA K                    1901 N BISSELL ST APT 301                                                                                    CHICAGO                    IL 60614
MELZER, CHARLES W                   8318 GREENLAWN AVE                                                                                           PARMA                     OH 44129‐2435
MELZER, DONALD D                    29081 US HIGHWAY 19 N LOT 265                                                                                CLEARWATER                FL 33761‐2449
MELZER, FOREST L                    15275 BEALFRED DR                                                                                            FENTON                    MI 48430‐1708
MELZER, FREDERICK L                 128 W STATE ST                                                                                               ALBION                    NY 14411‐1334
MELZER, JOHN E                      PO BOX 51                                                                                                    ANDERSON                  IN 46015‐0051
MELZER, JOHN W                      1648 MANOR RD                                                                                                BALTIMORE                 MD 21222‐2051
MELZER, PATRICIA H                  320 GREENDALE CT                                                                                             SPRING HILL               FL 34606‐6015
MELZER, TERESA A                    12300 JENNINGS RD                                                                                            LINDEN                    MI 48451‐9433
MELZIE PULLIN                       1719 MILL ACRES DR SW                                                                                        ATLANTA                   GA 30311‐3810
MELZNER, RICHARD B                  5107 RAINTREE DR                                                                                             PITTSBURGH                PA 15236‐1506
MELZNER, RUTH                       220 S LEE ST                                                                                                 BEVERLY HILLS             FL 34465‐4149
MELZNER, RUTH                       220 SOUTH LEE                                                                                                BEVERLY HILLS             FL 34465‐4149
MELZONI JR, LAWRENCE H              393 LANDVIEW AVE                                                                                             WEST CARROLLTON           OH 45449‐2016
MELZONI, T R                        118 S 7TH ST                                                                                                 MIAMISBURG                OH 45342‐2466
MELZONI, T RANDY                    118 S 7TH ST                                                                                                 MIAMISBURG                OH 45342‐2466
MELZONI, THOMAS A                   1441 SHERWOOD FOREST DR                                                                                      W CARROLLTON              OH 45449‐2306
MELZOW, WARD W                      8835 SADDLE TRL                                                                                              BALL GROUND               GA 30107‐3575
MEM COMPOUNDING RX                  2918 SAN JACINTO ST                                                                                          HOUSTON                   TX 77004‐2708
MEMA FINANCIAL SERVICES GROUP FSG   ACCOUNTING DEPARTMENT           10 LABORATORY DRIVE                                                          RESEARCH TRIANGLE PARK    NC 27709

MEMAC ASSOC PC                      PO BOX 78000                                                                                                 DETROIT                  MI 48278‐0001
MEMBERS EXCHANGE CREDIT UNION       107 MARKETRIDGE DR                                                                                           RIDGELAND                MS 39157‐6027
MEMBERS OF THE BEMS GENERATOR       JOHN R EMBICK ESQ               C/O THORP REED & ARMSTRONG LLP 2005 MARKET ST SUITE 1000                     PHILADELPHIA             PA 19103‐7042
GROUP
MEMBERS OF THE FRONTIER CHEMICAL    ASSOCIATION BY ITS CHAIRMAN A   C/O WEBSTER SZANYI LLP         1400 LIBERTY BLDG 424 MAIN                    BUFFALO                  NY 14202
SITE PRP GROUP AN UNINCORPORATED    TIMOTHY WEBSTER                                                STREET

MEMBRANE TECHNOLOGY & RESEARCH      1360 WILLOW RD                                                                                               MENLO PARK               CA 94025

MEMBRANE TECHNOLOGY & RESEARCH      1360 WILLOW RD                                                                                               MENLO PARK               CA 94025
INC
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Name                              Address1                          Address2                       Address3   Address4                 City             State Zip
MEMBRANE TECHNOLOGY & RESEARCHINC 1360 WILLOW RD STE 103                                                                               MENLO PARK        CA 94025‐1524

MEMBRANE TECHNOLOGY AND RESEARCH, 1360 WILLIOW ROAD                                                                                    MENLO PARK       CA 94025
INC.
MEMBRUS CRT                       GENE OR FRAN GOLDSTEIN TRUSTEES   19801 LINNET ST                                                    WOODLAND HILLS   CA    91364
MEMERING MOTORPLEX INC.           GARY MEMERING                     1949 HART ST                                                       VINCENNES        IN    47591‐5519
MEMERING MOTORPLEX INC.           1949 HART ST                                                                                         VINCENNES        IN    47591‐5519
MEMERING, DONALD H                3851 STATE ROAD 446                                                                                  HELTONVILLE      IN    47436‐8770
MEMERING, DONALD HERMAN           3851 STATE ROAD 446                                                                                  HELTONVILLE      IN    47436‐8770
MEMERING, GERARD L                8116 BUNTON RD                                                                                       WILLIS           MI    48191‐9799
MEMERING, GERARD LOUIS            8116 BUNTON RD                                                                                       WILLIS           MI    48191‐9799
MEMGLER FRANCES                   16434 77TH RD                                                                                        FRESH MEADOWS    NY    11366‐1268
MEMMEL, JOSEPH J                  2356 YELLOW JASMINE LN                                                                               ORANGE PARK      FL    32003‐3370
MEMMER, CARLTON E                 515 W MILKWEED LOOP                                                                                  BEVERLY HILLS    FL    34465‐4271
MEMMER, JERRY J                   5502 E 300 N                                                                                         FRANKLIN         IN    46131‐8796
MEMMER, JOHN D                    2 BARTLES CT                                                                                         SIMPSONVILLE     SC    29681
MEMMER, MARTY R                   13303 RITA ST                                                                                        PAULDING         OH    45879‐8865
MEMMER, RICHARD L                 20993 KISER RD                                                                                       DEFIANCE         OH    43512‐6848
MEMMINGER JR, JOSEPH J            41496 WINDMILL ST                                                                                    HARRISON TWP     MI    48045‐5907
MEMMINGER, BARBARA                41496 WINDMILL ST                                                                                    HARRISON TWP     MI    48045‐5907
MEMMINGER, BARBARA M              41496 WINDMILL ST                                                                                    HARRISON TWP     MI    48045‐5907
MEMO LEAL                         5008 RIMERS DR                                                                                       JACKSON          MI    49201‐9339
MEMON, ABDUL A                    PO BOX 439                                                                                           CALEDONIA        MI    49316‐0439
MEMON, ABDUL K                    2760 COLGATE CT SW                                                                                   WYOMING          MI    49519‐3168
MEMOONA HASNAIN                   1933 W POLK ST                    STE 1                                                              CHICAGO          IL    60612
MEMORIAL CONOCO                   13202 MEMORIAL DR                                                                                    HOUSTON          TX    77079‐3518
MEMORIAL DRIVE WESLEYAN CHR       ATTN: JOHNNIE BLAIR               1440 W MEMORIAL DR                                                 MUNCIE           IN    47302‐2173
MEMORIAL HEALTHCARE               PO BOX 1630                                                                                          OWOSSO           MI    48867‐6630
MEMORIAL HEALTHCARE CENTER        826 W KING ST                                                                                        OWOSSO           MI    48867‐2120
MEMORIAL HOSPITAL AS              PO BOX 1870                                                                                          MODESTO          CA    95353‐1870
MEMORIAL MEDICAL CEN              1 N ATKINSON DR                                                                                      LUDINGTON        MI    49431‐1906
MEMORIAL ORTHO SURG               PO BOX 261430                                                                                        SAN DIEGO        CA    92196‐1430
MEMORIAL SLOAN‐KETTERING CANCER   1275 YORK AVE                                                                                        NEW YORK         NY    10065‐6007
CENTER
MEMORIAL TOURNAMENT               5760 MEMORIAL DR                                                                                     DUBLIN           OH 43017‐9742
MEMORY CONTROL ENTERPRISE/SCOTT   415 W NORTH AVE                                                                                      CHICAGO          IL 60610‐1117
HARRIS
MEMORY SUPPLIERS INC              8145 RIVER DR                     STE 101                                                            MORTON GROVE      IL   60053‐2645
MEMORY WRIGHT                     5512 STONEHILL CT                                                                                    FORT WAYNE        IN   46835‐4199
MEMOTECH                          60 ROUTE DE SARTROUVILLE          PARC DES GRILLONS BATIMENT 6              LE PECQ F‐78232 FRANCE
MEMPHIS AUTO REPAIR SERVICE       3378 SUMMER AVE                                                                                      MEMPHIS          TN    38122‐5135
MEMPHIS CITY SCHOOLS GARAGE                                         1364 FARMVILLE RD                                                                   TN    38122
MEMPHIS COLLEGE OF ART            1930 POPLAR AVE                                                                                      MEMPHIS          TN    38104‐2756
MEMPHIS COOK CONVENTION CENTER    ATTN FINANCE DEPARTMENT           255 N MAIN ST                                                      MEMPHIS          TN    38103‐1623
MEMPHIS EVANS                     338 E 77TH ST                                                                                        SHREVEPORT       LA    71106‐4918
MEMPHIS FUNDING LLC               2650 RENTAL RD                                                                                       MEMPHIS          TN    38118‐1500
MEMPHIS IN MAY INTERNATIONAL      88 UNION AVE STE 301                                                                                 MEMPHIS          TN    38103‐5134
FESTIVAL INC
MEMPHIS INTL AUTO SHOW            C/O MOTOR TREND AUTO SHOWS        6405 FLANK DR                                                      HARRISBURG       PA    17122
MEMPHIS LG&W TRANS.DEPT.          PO BOX 430                                                                                           MEMPHIS          TN    38101‐0430
MEMPHIS LIGHT GAS & WTR DIV       PO BOX 388                                                                                           MEMPHIS          TN    38145‐0001
MEMPHIS LIGHT, GAS & WATER                                          2981 S CENTER RD                                                                    TN    38109
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Name                        Address1                       Address2                   Address3   Address4         City               State Zip
MEMPHIS MARRIOTT/MEM        2625 THOUSAND OAKS BLVD                                                               MEMPHIS             TN 38118‐2410
MEMPHIS PITTMAN             1425 ELECTRIC BLVD                                                                    ALLIANCE            OH 44601‐4535
MEMPHIS STATE UNIVERSITY    BURSARS OFFICE                 ADMINISTRATION BUILDING                                MEMPHIS             TN 38152‐0001
MEMPHIS, TN                 125 N. MAIN ST                                                                        MEMPHIS             TN 38103
MEMS JR, ELBERT N           14157 MARION                                                                          REDFORD             MI 48239‐2843
MEMS JR, ELBERT NUN         14157 MARION                                                                          REDFORD             MI 48239‐2843
MEMS, PATRICIA A            4220 WINONA ST                                                                        FLINT               MI 48504‐2119
MEMS, RUBY L                7050 ARCADIA DR                                                                       MOUNT MORRIS        MI 48458‐9707
MEMTECH INC                 9033 GENERAL DR                                                                       PLYMOUTH            MI 48170‐4680
MEN WHO DARE INC            ATTN: LEWIS LYONS              716 LOTHROP RD                                         DETROIT             MI 48202‐2715
MEN WIELDING FIRE INC       PO BOX 18804                                                                          RENO                NV 89511‐0804
MEN'S WEARHOUSE             311 3RD ST                                                                            BAY CITY            MI 48708‐5805
MENA HENRY                  5635 HEATHLAND CIR                                                                    CLARKSTON           MI 48346‐3114
MENA JOE                    2532 MARKLAND ST                                                                      IRVING              TX 75060‐6870
MENA SR, LORENZO L          1994 KIRBY RD                                                                         LESLIE              MI 49251‐9401
MENA, BRICIO                7150 S AVERS AVE                                                                      CHICAGO              IL 60629‐4317
MENA, CARMEN                20806 W GLEN HAVEN CIR                                                                NORTHVILLE          MI 48167‐2408
MENA, DARIO                 4622 DEVONSHIRE DR                                                                    GRAND PRAIRIE       TX 75052‐3569
MENA, HELEN A               1002 BERT                                                                             ARLINGTON           TX 76012‐4135
MENA, JOE M                 2532 MARKLAND ST                                                                      IRVING              TX 75060‐6870
MENA, JOE MAKIA             2532 MARKLAND ST                                                                      IRVING              TX 75060‐6870
MENA, LUIS L                4565 EAST AVE                                                                         LIVERMORE           CA 94550‐5254
MENA, LUPE S                1909 THOMPSON ST                                                                      LANSING             MI 48906‐4162
MENA, MARK ERIC             COON BRENT & ASSOCIATES PC     TWO PENN CENTER 1500 JFK                               PHILADELPHIA        PA 19102
                                                           BOULEVARD SUITE 1301
MENA, VICTOR                142 PEBBLEBROOK LN                                                                    TROY                IL   62294‐2543
MENACHEM SAHLER
MENAFEE, ROBERT             2741 WINDLOW DR                                                                       DAYTON             OH    45406‐1250
MENAGO, LOUIS J             5211 NEW KENT RD                                                                      WILMINGTON         DE    19808‐2707
MENAGO, MELISSA L           5211 NEW KENT RD                                                                      WILMINGTON         DE    19808‐2707
MENAKER, MARYBETH           1145 N OGDEN DR APT 209                                                               WEST HOLLYWOOD     CA    90046‐5336
MENAKO, BERNICE S           W181S8540 LODGE BLVD APT 108                                                          MUSKEGO            WI    53150‐7316
MENAPACE, JAMES A           2205 HOLIDAY LN                                                                       LANSING            MI    48917‐1343
MENAPACE, MICHAEL M         12453 SILVER CREEK CT                                                                 CLIO               MI    48420‐8872
MENAPACE, MICHAEL MARTIN    12453 SILVER CREEK CT                                                                 CLIO               MI    48420‐8872
MENAPACE, RONALD V          14642 HAWICK MANOR LN                                                                 PINEVILLE          NC    28134‐6405
MENAPACE, SHIRLEY A         2205 HOLIDAY LN                                                                       LANSING            MI    48917‐1343
MENAPACE, SHIRLEY A         2205 HOLIDAY LANE                                                                     LANSING            MI    48917‐1343
MENAPACE, VICTOR J          45300 ESMERADO CT                                                                     TEMECULA           CA    92592‐6070
MENARD DAVID & CHRISTINE    5928 WYNDSTONE DRIVE                                                                  SYLVANIA           OH    43560‐9587
MENARD ELIZABETH            5405 SCOFIELD CARLETON RD                                                             CARLETON           MI    48117‐9595
MENARD GERALD F             316 2ND ST                                                                            WYANDOTTE          MI    48192‐2538
MENARD JR, ALBERT A         30 GLENWOOD AVE                                                                       SOUTHBRIDGE        MA    01550‐1114
MENARD MURPHY & WALSH LLP   28 STATE ST FL 23                                                                     BOSTON             MA    02109‐1775
MENARD, CARL F              5032 LAPEER RD                                                                        BURTON             MI    48509‐2018
MENARD, CAROL L             2399 HORSESHOE DR                                                                     HIGHLAND           MI    48356‐1219
MENARD, CLARA C             191 PAINE STREET,                                                                     BELLINGHAM         MA    02019
MENARD, DAVID J             39159 QUINN DR                                                                        STERLING HEIGHTS   MI    48310‐2442
MENARD, DONALD M            5213 MILLSBORO RD                                                                     GALION             OH    44833‐9524
MENARD, DONALD MICHAEL      5213 MILLSBORO RD                                                                     GALION             OH    44833‐9524
MENARD, DONNA S             30055 SAINT MARTINS ST                                                                LIVONIA            MI    48152‐1938
MENARD, DONNA S             30055 ST. MARTIN                                                                      LAVONIA            MI    48154
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Name                    Address1                        Address2                      Address3     Address4                   City              State Zip
MENARD, DOROTHY R       21 OSPREY LN                                                                                          YORK               ME 03909‐5853
MENARD, ELIZABETH A     5405 SCOFIELD CARLETON ROAD                                                                           CARLETON           MI 48117‐9595
MENARD, FEDA L          1002 STEPHEN ST                                                                                       SCOTT              LA 70583‐5634
MENARD, FRANCES M       8831 WATERGATE DR                                                                                     HUBER HEIGHTS      OH 45424‐6442
MENARD, GERALD F        316 2ND ST                                                                                            WYANDOTTE          MI 48192‐2538
MENARD, GERALD F        289 RIVERBANK ST                                                                                      WYANDOTTE          MI 48192‐2625
MENARD, GUY K           2550 MEZZIO RD                                                                                        FORESTVILLE        NY 14062‐9625
MENARD, HELEN D         7723 VIRGINIA CT                                                                                      WILLOWBROOK         IL 60527‐2617
MENARD, INC.            JON KURSHINSKY                  4777 MENARD DRIVE, R. 12                                              EAU CLAIRE         WI 54703
MENARD, JACQUELINE M    415 UPLAND AVE                                                                                        PONTIAC            MI 48340‐1347
MENARD, JOHN R          32343 SHERIDAN ST                                                                                     GARDEN CITY        MI 48135‐1237
MENARD, MARCEL P        191 PAINE ST                                                                                          BELLINGHAM         MA 02019‐2523
MENARD, MARY A          721 ROBINWOOD ST                                                                                      PONTIAC            MI 48340‐3141
MENARD, PAUL A          6550 TONAWANDA CREEK RD                                                                               LOCKPORT           NY 14094‐7955
MENARD, PAUL R          33 RUGGLES ST                                                                                         FRANKLIN           MA 02038‐1744
MENARD, PHIL C          8621 PINEGATE WAY                                                                                     HUBER HEIGHTS      OH 45424‐1180
MENARD, PHIL CHARLES    8621 PINEGATE WAY                                                                                     HUBER HEIGHTS      OH 45424‐1180
MENARD, PIERRE A        1234 ROLFE ROAD                                                                                       GREENFIELD         OH 45123‐9376
MENARD, PIERRE A        1234 ROLFE RD                                                                                         GREENFIELD         OH 45123‐9376
MENARD, ROCH A          5405 SCOFIELD CARLETON RD                                                                             CARLETON           MI 48117‐9595
MENARD, TIMOTHY M       2553 BULLARD RD                                                                                       HARTLAND           MI 48353‐3003
MENARD, TIMOTHY R       43631 FLEETWOOD DR                                                                                    CANTON             MI 48187‐4913
MENARD, WILLIAM G       2161 MORRIS AVE                                                                                       LINCOLN PARK       MI 48146‐1372
MENARDI LLC             1 MAXWELL DR                                                                                          TRENTON            SC 29847‐2227
MENARGUEZ, EMILIO       6 FLINTLOCK RUN                                                                                       MORRISTOWN         NJ 07960‐4730
MENARINI CESARE         VIA DELL' INDEPENDENZA 41                                                  40012 CALDERARA DI RENO
                                                                                                   (BO)
MENARINI CESARE         VIA INDIPENDENZA 41                                                        40121 BOLOGNA (BO) ITALY
MENARINI CHIARA         VIA ALAMANDINI, 1/2                                                        40136 BOLOGNA ITALY
MENARINI MIRETTA        VIA CASTELDEBOLE 27/4                                                      40132 BOLOGNA ITALY
MENAS GEORGE (404589)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK           VA 23510
                                                        STREET, SUITE 600
MENAS, GEORGE           GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK           VA 23510‐2212
                                                        STREET, SUITE 600
MENASHA CORP
MENASHA CORP            9050 TYLER BLVD                                                                                       MENTOR            OH   44060‐1897
MENASHA CORP            1101 E WHITCOMB AVE                                                                                   MADISON HEIGHTS   MI   48071‐5614
MENASHA CORPORATION     ORBIS CORPORATION               1645 BERGSTROM RD             PO BOX 367                              NEENAH            WI   54956
MENASHA/MT PLEASANT     500 1ST AVE                                                                                           MT PLEASANT       TN   38474‐1208
MENASSA, ROLAND Y       48786 STRAWBERRY KNOLL LN       LANE                                                                  MACOMB            MI   48044‐5635
MENAUGH, BRAD           562 WOODSFERRY RD                                                                                     BEDFORD           IN   47421‐8371
MENAUGH, BRUCE          1621 ROBERT RD                                                                                        COLUMBIA          TN   38401‐5438
MENCER, WALTER L        8720 COMMONWEALTH CT                                                                                  MIDLAND           GA   31820‐4226
MENCH, CYNTHIA L        33120 ARMADA CT                                                                                       WESTLAND          MI   48186‐5451
MENCH, JAMES E          203 HIGHWAY 8 WEST,                                                                                   ABERDEEN          MS   39730
MENCH, PATRICIA K       203 HIGHWAY 8 WEST                                                                                    ABERDEEN          MS   39730‐2103
MENCHACA ALONSO         MENCHACA, ALONSO                2070 N TUSTIN AVE                                                     SANTA ANA         CA   92705‐7827
MENCHACA ALONSO         MENCHACA, ALONSO                17600 RINALDI ST                                                      GRANADA HILLS     CA   91344
MENCHACA, ANDREW        PO BOX 150                                                                                            MARKLE            IN   46770‐0150
MENCHACA, ENRIQUE G     15424 TOBARRA RD                                                                                      RONTANA           CA   92337‐9016
MENCHACA, JOHN L        14632 BRAND BLVD                                                                                      MISSION HILLS     CA   91345‐1707
MENCHACA, LUPE          8403 PENCE HWY                                                                                        BLISSFIELD        MI   49228‐9624
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Name                              Address1                       Address2                         Address3   Address4         City               State Zip
MENCHACA, MARIA B                 2609 KANSAS                                                                                 SAGINAW             MI 48601‐5537
MENCHACA, SALOMON                 30118 GALBRETH CT                                                                           CASTAIC             CA 91384‐4547
MENCHAK, JOHN                     4164 E OAKWOOD RD                                                                           OAK CREEK           WI 53154‐6111
MENCHAK, MARGARET M               4164 E OAKWOOD RD                                                                           OAK CREEK           WI 53154‐6111
MENCHE, CHARLES E                 1250 STEPHANIE DR UNIT 2                                                                    HAMILTON            OH 45013‐1310
MENCHE, MARJORIE A                5368 LIMESTONE DR                                                                           FAIRFIELD           OH 45014
MENCHEN, PAUL H                   2529 MINTON RD                                                                              HAMILTON            OH 45013‐4335
MENCHETTI NICO                    V. COLLE S. ANDREA,1 52045     FOIANO DELLA CHIANA                                          AREZZO
MENCHHOFER, STEPHEN A             7355 HIGHPOINT CIR                                                                          INDIANAPOLIS       IN   46259‐7665
MENCHINI, WILLIAM S               1659 BOGUE RD                                                                               YUBA CITY          CA   95993‐9218
MENCK, DOUGLAS W                  47333 BLUEJAY DR                                                                            MACOMB             MI   48044‐5901
MENCLEWICZ, ELIZABETH B           64 TERRY LN                                                                                 BUFFALO            NY   14225‐1351
MENCONI BARRY                     9355 IRVING PARK RD APT 106                                                                 SCHILLER PARK      IL   60176‐2253
MENDALA, KEVIN R                  1218 COLONIAL VIEW                                                                          CHESAPEAKE         VA   23322‐9503
MENDALA, RICHARD J                3557 RIDGE PARK DR                                                                          BROADVIEW HTS      OH   44147‐2039
MENDALSKI, ARCHIE A               PO BOX 46                      4361 FIRST STREET                                            PORT HOPE          MI   48468‐0046
MENDALSKI, ARCHIE J               PO BOX 39                      4366 SECOND ST                                               PORT HOPE          MI   48468‐0039
MENDE, LETICIA N                  13522 DUCAT CT                                                                              CORPUS CHRISTI     TX   78418‐6912
MENDE, RICHARD L                  11701 LONGSHORE WAY E                                                                       NAPLES             FL   34119‐8964
MENDEL MCFADDEN                   1600 HAMILTON RICHMOND RD                                                                   HAMILTON           OH   45013‐1008
MENDEL PRYOR                      1904 N GRANT CITY RD                                                                        SHIRLEY            IN   47384‐9609
MENDEL, BRUCE H
MENDEL, ERIC R                    2812 HUNTERS WAY                                                                            BLOOMFIELD HILLS   MI 48304‐1928
MENDEL, ISADORE
MENDEL, JOSEPH I                  14648 LAKETRAILS CT                                                                         CHESTERFIELD       MO   63017‐2234
MENDEL, KATHLYN                   1304 SHADY PINE LN                                                                          SAGINAW            MI   48603
MENDEL, MICHAEL E                 4960 OLDS RD                                                                                ONONDAGA           MI   49264‐9706
MENDEL, NEIL V                    29651 ROBERT DR                                                                             LIVONIA            MI   48150‐3047
MENDEL, PANSY J                   4960 OLDS RD                                                                                ONONDAGA           MI   49264‐9706
MENDEL, ROBERT A                  1801 CENTER AVE                                                                             BAY CITY           MI   48708‐6345
MENDEL, THOMAS                    1528 RIVER TERRACE DRIVE                                                                    EAST LANSING       MI   48823
MENDELL, CHARLES W                6126 FANWOOD AVE                                                                            LAKEWOOD           CA   90713‐1108
MENDELL, JOHN P                   3853 CEDAR AVE                                                                              LONG BEACH         CA   90807‐3219
MENDELLE ROLANDA                  MENDELLE, ROLANDA              640 S SAN VICENTE BLVD STE 230                               LOS ANGELES        CA   90048‐4654
MENDELLE, ROLANDA                 ROMANO STANCROFF MIKHOV PC     640 S SAN VICENTE BLVD STE 230                               LOS ANGELES        CA   90048‐4654
MENDELSOHN LIVING TRUST 8/23/95   P MENDELSOHN TTEE              6756 ROTHSCHILD CIRCLE                                       LAKE WORTH         FL   33467‐5779
MENDELSOHN, DAVID P               5570 GREER RD                                                                               WEST BLOOMFIELD    MI   48324‐1414
MENDELSON I I I, MARTIN G         26242 WOODINGHAM DR                                                                         WARREN             MI   48091‐6103
MENDELSON III, MARTIN G           26242 WOODINGHAM DR                                                                         WARREN             MI   48091‐6103
MENDELSON ORTHOPEDIC              14555 LEVAN RD STE 215                                                                      LIVONIA            MI   48154‐5085
MENDELSON STEVEN                  MENDELSON, STEVEN              27240 TURNBERRY LN STE 200                                   VALENCIA           CA   91355‐1045
MENDELSON, ROSLYN S               5617 VINEYARD POINTE                                                                        W BLOOMFIELD       MI   48322
MENDEN HOLDER                     PO BOX 869                                                                                  FLINT              MI   48501‐0869
MENDENHALL CHEVROLET              8602 TEAL ST                                                                                JUNEAU             AK   99801‐8054
MENDENHALL GMC                    8602 TEAL ST                                                                                JUNEAU             AK   99801‐8054
MENDENHALL JR, MILLER             2506 W WASHTENAW ST                                                                         LANSING            MI   48917‐3864
MENDENHALL LARRY G (629582)       GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK            VA   23510
                                                                 STREET, SUITE 600
MENDENHALL ROBERT                 PO BOX 1904                                                                                 FORT SMITH         AR   72902‐1904
MENDENHALL, ANNABELLE R           2822 PATTON DR                                                                              SPEEDWAY           IN   46224‐3349
MENDENHALL, CHARLES M             2822 PATTON DR                                                                              SPEEDWAY           IN   46224‐3349
MENDENHALL, CURT A                606 S ARMSTRONG ST                                                                          KOKOMO             IN   46901
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Name                             Address1                          Address2                        Address3   Address4         City                State Zip
MENDENHALL, DAVID R              2513 SUMMER GROVE DR                                                                          SHREVEPORT           LA 71118‐3224
MENDENHALL, DAVID RAY            2513 SUMMER GROVE DR                                                                          SHREVEPORT           LA 71118‐3224
MENDENHALL, EARL F               8454 RONDALE DR                                                                               GRAND BLANC          MI 48439‐8341
MENDENHALL, ETHEL                81 HILLCREST DR                                                                               CAMDEN               AL 36726‐1830
MENDENHALL, HAROLD E             2740 EAST US HIGHWAY 40                                                                       GREENCASTLE          IN 46135‐8738
MENDENHALL, JAMES D              10630 KAREN DR                                                                                INDIANAPOLIS         IN 46234‐9077
MENDENHALL, JAMES DALE           10630 KAREN DR                                                                                INDIANAPOLIS         IN 46234‐9077
MENDENHALL, JEANINE M            112 HOMESTEAD ROAD                                                                            MILTON               WI 53563‐1462
MENDENHALL, JEFFREY D            2740 E US HIGHWAY 40                                                                          GREENCASTLE          IN 46135‐8738
MENDENHALL, JOHN E               6377 CHIPPEWA TRL                                                                             SHREVEPORT           LA 71107‐9111
MENDENHALL, JOHN L               6377 CHIPPEWA TRL                                                                             SHREVEPORT           LA 71107‐9111
MENDENHALL, JOHN W               2217 PLEASANT HILL CIR                                                                        PARKER               CO 80138‐4686
MENDENHALL, JOSHUA MICHAEL       3914 OLIVER AVE                                                                               INDIANAPOLIS         IN 46241‐0907
MENDENHALL, KIMBERLY K           2522 WHITTIER RD                                                                              YPSILANTI            MI 48197
MENDENHALL, LARRY G              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK              VA 23510‐2212
                                                                   STREET, SUITE 600
MENDENHALL, LARRY L              PO BOX 859                        222 NORTH SIDE CL                                           SILVERTHORNE        CO   80498‐0859
MENDENHALL, LAURENCE A           9215 SW SWEEK DR                                                                              TUALATIN            OR   97062
MENDENHALL, LENORA B             1186 HOUSEL CRAFT RD                                                                          BRISTOLVILLE        OH   44402‐9603
MENDENHALL, LEWIS                1217 W WILLOW ST                                                                              LANSING             MI   48915‐2255
MENDENHALL, LINDA H              2830 DAKOTA DR                                                                                ANDERSON            IN   46012‐1414
MENDENHALL, LINDA K              524 BIRCH                                                                                     WESTFIELD           IN   46074‐9484
MENDENHALL, LINDA K              524 BIRCH ST                                                                                  WESTFIELD           IN   46074‐9484
MENDENHALL, MADELINE K           1186 HOUSEL CRAFT NW                                                                          BRISTOLVILLE        OH   44402‐9603
MENDENHALL, MARY R               PO BOX 124                                                                                    LA FONTAINE         IN   46940‐0124
MENDENHALL, MASON J              316 ROLLING HILLS AVE                                                                         EATON               OH   45320‐1977
MENDENHALL, MILLER E             826 KENDON DR                                                                                 LANSING             MI   48910
MENDENHALL, NATHANIEL            813 WESTMORELAND AVE                                                                          LANSING             MI   48915‐2024
MENDENHALL, PHYLLIS K            PO BOX 92                                                                                     ATLAS               MI   48411‐0092
MENDENHALL, RAYMOND              2667 DOUGLAS LN                                                                               THOMPSONS STATION   TN   37179‐5009
MENDENHALL, RICHARD              6455 MORRELL RAY RD                                                                           BRISTOLVILLE        OH   44402‐8724
MENDENHALL, ROSEMARY J           2806 E SOUTHWAY BLVD                                                                          KOKOMO              IN   46902‐4112
MENDENHALL, SHERRY L             14751 BEARDSLEE RD                                                                            PERRY               MI   48872‐9125
MENDENHALL, SHERRY L             14751 S BEARDSLEE                                                                             PERRY               MI   48872‐9125
MENDENHALL, SHIRLEY J            1930 W 139TH ST                                                                               LEAWOOD             KS   66224‐4567
MENDENHALL, TOMMY B              32 MEADOW LN                                                                                  MOORESVILLE         IN   46158‐1750
MENDENHALL, VINCENT L            PO BOX 423                                                                                    THOMASVILLE         AL   36784‐0423
MENDENHALL, WARREN L             2806 E SOUTHWAY BLVD                                                                          KOKOMO              IN   46902‐4112
MENDENHALL, WYHOMA L             3453 E LIVINGSTON AVE APT E                                                                   COLUMBUS            OH   43227‐2221
MENDENHALL‐ROY CHEVROLET, INC.   13350 STATE ST                                                                                GRABILL             IN   46741
MENDENHALL‐ROY CHEVROLET, INC.   RONALD ROY                        13350 STATE ST                                              GRABILL             IN   46741
MENDERES SULUDERE
MENDES, ESTHER I                 32441 JACKLYNN DR                                                                             UNION CITY          CA   94587
MENDES, JOSEPH M                 1404 TOWER DR                                                                                 COLUMBIA            TN   38401‐8614
MENDES, MARY A                   1149 WISTERIA DR                                                                              FREMONT             CA   94539‐4786
MENDES, RICHARD J                627 AINAPO STREET                                                                             HONOLULU            HI   96825‐1041
MENDEZ , ROGELIO SR PAYAN        CADDELL & CHAPMAN                 1331 LAMAR ST STE 1070                                      HOUSTON             TX   77010‐3036
MENDEZ , ROGELIO SR PAYAN        WEINACHT LAW FIRM PC              PO BOX 170                                                  PECOS               TX   79772‐0170
MENDEZ ANGEL (493053)            BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH   44067
                                                                   PROFESSIONAL BLDG
MENDEZ ANTHONY                   MENDEZ, ANTHONY                   30928 FORD RD                                               GARDEN CITY         MI 48135‐1803
MENDEZ CIRO F                    MENDEZ, CIRO F                    5701 NORTH PINE ISLAND ROAD                                 TAMARAC             FL 33321
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Name                                 Address1                        Address2                       Address3   Address4         City           State Zip
MENDEZ CIRO F                        PROGRESSIVE EXPRESS INSURANCE   5701 NORTH PINE ISLAND ROAD                                TAMARAC         FL 33321
                                     COMPANY
MENDEZ CUESTA, MARIA D
MENDEZ JESSE (459204)                GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK        VA 23510
                                                                     STREET, SUITE 600
MENDEZ JESUS                         MENDEZ, JESUS                   9318 MARYKNOLL AVE                                         WHITTIER       CA 90605‐2539
MENDEZ JESUS (625211)                GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                 EDWARDSVILLE   IL 62025‐0959
                                     ANTOGNOLI
MENDEZ JR, ANTONIO                   2250 NORTH LOWELL AVENUE                                                                   CHICAGO        IL   60639‐3509
MENDEZ JR, ANTONIO                   2250 N LOWELL AVE                                                                          CHICAGO        IL   60639‐3509
MENDEZ JR, JAIME                     1506 LADY BRYAN LN                                                                         LAS VEGAS      NV   89110‐1719
MENDEZ JR., MIGUEL R                 4346 STETSON RUN                                                                           SAN ANTONIO    TX   78223‐5511
MENDEZ JUAN A (ESTATE OF) (662541)   GOLDENBERG, MILLER, HELLER &    PO BOX 959                                                 EDWARDSVILLE   IL   62025‐0959
                                     ANTOGNOLI
MENDEZ ROGELIO JR                    GARCIA, KARLA                   311 N GRANT AVE                                            ODESSA         TX   79761‐5117
MENDEZ ROGELIO JR                    GARCIA MENDEZ, LUCAS MERCED     311 N GRANT AVE                                            ODESSA         TX   79761‐5117
MENDEZ ROGELIO JR                    MENDEZ, LAURA                   311 N GRANT AVE                                            ODESSA         TX   79761‐5117
MENDEZ ROGELIO JR                    MENDEZ, LUZ ELENA               311 N GRANT AVE                                            ODESSA         TX   79761‐5117
MENDEZ ROGELIO JR                    MENDEZ, ROGELIO JR              311 N GRANT AVE                                            ODESSA         TX   79761‐5117
MENDEZ ROGELIO JR                    MENDEZ , ROGELIO SR PAYAN       1331 LAMAR ST STE 1070                                     HOUSTON        TX   77010‐3036
MENDEZ ROGELIO JR                    MENDEZ , ROGELIO SR PAYAN       PO BOX 170                                                 PECOS          TX   79772‐0170
MENDEZ, ALBERTO H                    PO BOX 6660                                                                                KANSAS CITY    KS   66106‐0660
MENDEZ, ALICE C                      588 AVENIDA GAVIOTA                                                                        CAMARILLO      CA   93012‐0945
MENDEZ, ALICE C                      2104 DUNNIGAN ST                                                                           CAMARILLO      CA   93010‐3232
MENDEZ, AMANDA                       4716 SPRINGWOOD DR                                                                         BROOKLYN       OH   44144‐3141
MENDEZ, AMBROCIO                     809 NORTHCREEK DR                                                                          LAREDO         TX   78041‐3280
MENDEZ, ANGEL                        BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD     OH   44067
                                                                     PROFESSIONAL BLDG
MENDEZ, ARMANDO
MENDEZ, ARTHUR M                     919 HOWLAND WILSON RD SE                                                                   WARREN         OH   44484‐2517
MENDEZ, BETTY                        1129 OTTAWA AVE                                                                            DEFIANCE       OH   43512‐3001
MENDEZ, BRENDA                       1777 S CLINTON ST APT 8                                                                    DEFIANCE       OH   43512‐3268
MENDEZ, CARLOS                       30 BENTON ST                                                                               TRENTON        NJ   08609‐2514
MENDEZ, CARLOS J                     619 RIDGEVIEW AVE                                                                          KANSAS CITY    KS   66103‐1223
MENDEZ, CHRISTOPHER M                19335 LOCKWOOD RD                                                                          DEFIANCE       OH   43512‐9742
MENDEZ, CHRISTOPHER MICHEAL          19335 LOCKWOOD RD                                                                          DEFIANCE       OH   43512‐9742
MENDEZ, CRESENCIO L                  1212 POWELL VIEW DR                                                                        DEFIANCE       OH   43512‐3035
MENDEZ, DAVID E                      570 THE BEND RD                                                                            NEY            OH   43549‐9611
MENDEZ, DAVID S                      6349 SHENANDOAH AVE                                                                        ALLEN PARK     MI   48101‐2427
MENDEZ, DOLORES R                    10464 LAYTON WAY                                                                           SAN JOSE       CA   95127‐3018
MENDEZ, ELIJIO                       212 W 30TH ST                                                                              MARION         IN   46953
MENDEZ, ELOISA R                     PO BOX 2095                                                                                UVALDE         TX   78802‐2095
MENDEZ, ELOISA R                     P.O. BOX 2095                                                                              UVALDE         TX   78802‐2095
MENDEZ, FATIMA                       516 JOYNER CIRCLE                                                                          KILEEN         TX   76541
MENDEZ, FATIMA                       516 JOYNER CIR                                                                             KILLEEN        TX   76541‐6943
MENDEZ, FELIPE                       576 PAULISON AVE FL 1                                                                      CLIFTON        NJ   07011‐4119
MENDEZ, FELIX G                      13030 NEWPORT ST                                                                           HESPERIA       CA   92344‐3824
MENDEZ, FRED V                       1292 ASCOT LN                                                                              FRANKLIN       TN   37064‐6731
MENDEZ, GILDARDO O                   PO BOX 2286                                                                                CALEXICO       CA   92232‐2286
MENDEZ, GRACE E                      401 N CHERRY ST                                                                            PAULDING       OH   45879‐1216
MENDEZ, HEATH A                      602 W 500 N                                                                                DECATUR        IN   46733‐9515
MENDEZ, HEATH ANTHONY                602 W 500 N                                                                                DECATUR        IN   46733‐9515
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Name                     Address1                          Address2                      Address3   Address4         City             State Zip
MENDEZ, HECTOR B         33 PALM DESERT DRIVE                                                                        MANVEL            TX 77578‐3294
MENDEZ, HILDA            305 E FOSTER RD                                                                             SANTA MARIA       CA 93455‐3118
MENDEZ, HORTENCIAT       1129 OTTAWA AVE                                                                             DEFIANCE          OH 43512
MENDEZ, JESSE            GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510‐2212
                                                           STREET, SUITE 600
MENDEZ, JESUS            GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                EDWARDSVILLE      IL   62025‐0959
                         ANTOGNOLI
MENDEZ, JESUS            9318 MARYKNOLL AVE                                                                          WHITTIER         CA    90605‐2539
MENDEZ, JESUS H          5572 ANGELUS AVE                                                                            SAN GABRIEL      CA    91776‐1602
MENDEZ, JESUS T          2335 CALIFORNIA AVE                                                                         SAGINAW          MI    48601‐5307
MENDEZ, JOANN MICHELLE   PO BOX 7547                                                                                 CITRUS HEIGHTS   CA    95621‐7547
MENDEZ, JOE G            PO BOX 34                                                                                   CARROLLTON       MI    48724‐0034
MENDEZ, JOHN             2340 DAVIS CT                                                                               PLACERVILLE      CA    95667‐7779
MENDEZ, JOSE A           2955 OAK HAMMOCK CT                                                                         OVIEDO           FL    32765‐9337
MENDEZ, JOSE V           2008 N CHARLES ST                                                                           SAGINAW          MI    48602‐4854
MENDEZ, JUAN             C/O GORI JULIAN & ASSOCIATES PC   156 N MAIN ST                                             EDWARDSVILLE     IL    62025
MENDEZ, JUAN A           GOLDENBERG, MILLER, HELLER &      PO BOX 959                                                EDWARDSVILLE     IL    62025‐0959
                         ANTOGNOLI
MENDEZ, JUAN A           13175 TUCKER DR                                                                             DEWITT           MI    48820‐9351
MENDEZ, JUAN C           9886 KILKENNY CT                                                                            BRIGHTON         MI    48116‐6235
MENDEZ, KELLY L          5984 N RIVER HWY                                                                            GRAND LEDGE      MI    48837‐9319
MENDEZ, LAURA            31 LAUREL VALLEY DR                                                                         ODESSA           TX    79765‐8938
MENDEZ, LAURA            GARRIGA LAW FIRM PC               311 N GRANT AVE                                           ODESSA           TX    79761‐5117
MENDEZ, LEO V            4027 PARKER ST                                                                              DEARBORN HTS     MI    48125‐2229
MENDEZ, LINDA            4645 ALLEN COVE RD                                                                          LUNA PIER        MI    48157‐9731
MENDEZ, LOUIS T          BOONE ALEXANDRA                   205 LINDA DR                                              DAINGERFIELD     TX    75638‐2107
MENDEZ, LUZ ELENA        GARRIGA LAW FIRM PC               311 N GRANT AVE                                           ODESSA           TX    79761‐5117
MENDEZ, LUZ ELENA        926 E 13TH ST                                                                               ODESSA           TX    79761‐2734
MENDEZ, MARTIN C         1761 PHILLIPS DR                                                                            NORTHGLENN       CO    80233‐1380
MENDEZ, MARY A           2718 RHODES DR                                                                              TROY             MI    48083‐2443
MENDEZ, MARY ANN         533 DEER HAVEN DR                                                                           WEBSTER          NY    14580‐4068
MENDEZ, MENA G           13030 NEWPORT ST                                                                            HESPERIA         CA    92344‐3824
MENDEZ, MERCEDES M       4600 VELL RD                                                                                AUBURN           CA    95603
MENDEZ, MICHAEL A        9316 E AVENUE T 6                                                                           LITTLEROCK       CA    93543
MENDEZ, NICHOLAS         17591 ROAD 73                                                                               CECIL            OH    45821‐9324
MENDEZ, OSCAR            129 CANTERBURY DR                                                                           SAGINAW          TX    76179‐6324
MENDEZ, OSCAR M          1215 JACKPINE ST                                                                            WELLINGTON       FL    33414‐5144
MENDEZ, RAOUL A          4123 SANDOVAL AVE                                                                           PICO RIVERA      CA    90660‐1550
MENDEZ, RAY H            804 NE MULBERRY ST                                                                          LEES SUMMIT      MO    64086‐5453
MENDEZ, RAYMOND D        14556 DOHONEY RD                                                                            DEFIANCE         OH    43512‐6964
MENDEZ, RICHARD R        5984 N RIVER HWY                                                                            GRAND LEDGE      MI    48837‐9319
MENDEZ, ROBERT E         915 DIERKES ST                                                                              DECATUR          IN    46733‐1179
MENDEZ, RODOLFO          14046 BADGER AVE                                                                            SYLMAR           CA    91342‐1871
MENDEZ, ROGELIO JR       9836 S GRISSOM AVE                                                                          ODESSA           TX    79766‐9228
MENDEZ, ROGELIO JR       GARRIGA LAW FIRM PC               311 N GRANT AVE                                           ODESSA           TX    79761‐5117
MENDEZ, ROGELIO SR       926 E 13TH ST                                                                               ODESSA           TX    79761‐2734
MENDEZ, RUDY             1812 HIGHWAY P                                                                              O FALLON         MO    63366‐4607
MENDEZ, STEVE P          503 MURBACH ST                                                                              ARCHBOLD         OH    43502‐1257
MENDEZ, STEVE PAUL       503 MURBACH ST                                                                              ARCHBOLD         OH    43502‐1257
MENDEZ, TERESA           9200 W VERNOR HWY APT 206                                                                   DETROIT          MI    48209‐1443
MENDEZ, TERESA           9200 VERNOR HIGHWAY               APT# 206                                                  DETROIT          MI    48209
MENDEZ, THEODORE M       13322 RITA ST                                                                               PAULDING         OH    45879‐8898
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Name                                Address1                        Address2                        Address3   Address4         City            State Zip
MENDEZ, TIMOTHY S.                  132 BERKLEY CT                                                                              DECATUR          IN 46733‐3124
MENDEZ, VIRGINIA J                  1303 WROTHAM LN                                                                             CHANNELVIEW      TX 77530‐2233
MENDEZ, WARREN                      117 N CORBIN ST                                                                             HOLLY            MI 48442‐1432
MENDEZCUESTA, MARIA                 15965 SW 153RD CT                                                                           MIAMI            FL 33187
MENDHAM, DENISE M                   1514 W STEWART ST                                                                           OWOSSO           MI 48867‐4071
MENDHAM, EARLENE                    24055 US HIGHWAY 23 S                                                                       PRESQUE ISLE     MI 49777‐9110
MENDHAM, GLORIA                     11571 S 23RD ST                                                                             VICKSBURG        MI 49097‐9462
MENDHAM, KENNETH L                  2885 SWAFFER RD                                                                             MILLINGTON       MI 48746‐9045
MENDHAM, KENNETH L.                 2885 SWAFFER RD                                                                             MILLINGTON       MI 48746‐9045
MENDHAM, NORMAN J                   1514 W STEWART ST                                                                           OWOSSO           MI 48867‐4071
MENDHAM, ROBERT W                   4250 WATERMAN RD                                                                            EAST JORDAN      MI 49727‐9341
MENDHEIM, IVY                       1 BRANCH BROOK PLZ APT 4J                                                                   NEWARK           NJ 07104‐1686
MENDHEIM, JAMES R                   665 LAKEVIEW ST                                                                             ABBEVILLE        AL 36310‐7801
MENDIBIL, GUSTAVO M                 2365 SILKY SULLIVAN LN                                                                      RENO             NV 89502‐9552
MENDIBLES, EDWARD S                 1618 E CULVER ST                                                                            PHOENIX          AZ 85006
MENDIBLES, JENNIE                   37428 BAYBERRY STREET                                                                       PALMDALE         CA 93550
MENDIBLES, M.A.                     516 ZACHUM DR                                                                               ARLINGTON        TX 76002‐3027
MENDIBLES, MOLLY A                  516 ZACHUM DR                                                                               ARLINGTON        TX 76002‐3027
MENDICINO, R E                      PO BOX 186                                                                                  HINCKLEY         OH 44233‐0186
MENDICINO, R E                      PO BOX 185                                                                                  HINCKLEY         OH 44233‐0186
MENDICINO, TOMMASO                  8431 STANSBURY AVE                                                                          PANORAMA CITY    CA 91402‐3740
MENDICINO, VINCENT                  7253 ENFIELD AVE                                                                            RESEDA           CA 91335‐3202
MENDIE MORRIS                       5330 BROOKLYN RD                                                                            MORGANTOWN       KY 42261‐7416
MENDIETA, ESPERANZA                 PO BOX 210434                                                                               AUBURN HILLS     MI 48321‐0434
MENDIETA, HERMAN                    193 NORTON ST                                                                               PONTIAC          MI 48341‐1353
MENDIOLA ESTEBEN (446314)           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD       OH 44067
                                                                    PROFESSIONAL BLDG
MENDIOLA JR, BRAULIO R              1308 BROADWAY ST                                                                            BAY CITY        MI 48708‐7802
MENDIOLA, ALICE                     4327 PALMER PLANTATION DR D                                                                 MISSOURI CITY   TX 77459
MENDIOLA, ESTEBEN                   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                                    PROFESSIONAL BLDG
MENDIOLA, RAUL                      20704 SANDALWOOD LN                                                                         STRONGSVILLE    OH   44149‐5716
MENDIOLA‐COOK, SUSAN                127 LABURNUM RD                                                                             EDGEWOOD        MD   21040‐3507
MENDIZABAL, JACOB U                 827 OAK ST                                                                                  ADRIAN          MI   49221‐3962
MENDIZABAL, RUBEN H                 PO BOX 662                                                                                  HOLGATE         OH   43527‐0662
MENDLIK I I I, JOSEPH N             270 TWIN LAKES DR                                                                           ELYRIA          OH   44035‐4700
MENDLIK III, JOSEPH N               270 TWIN LAKES DRIVE                                                                        ELYRIA          OH   44035‐4700
MENDOCILLA, ISABEL                  20 MAPLE AVE                                                                                CHESTER         NY   10918‐1321
MENDOCINO COLLEGE FISCAL SERVICES   PO BOX 3000                     1000 HENSLEY CREEK ROAD                                     UKIAH           CA   95482‐3000

MENDOCINO COUNTY TAX COLLECTOR      501 LOW GAP RD ROOM #1060                                                                   UKIAH           CA   95482
MENDOLA, CHARLES M                  103 BRENRIDGE DR                                                                            EAST AMHERST    NY   14051‐1382
MENDOLA, THOMAS A                   5757 GLENDALE DR # B                                                                        LOCKPORT        NY   14094‐5848
MENDOLA, THOMAS A                   23 BENZINGER ST                                                                             BUFFALO         NY   14206‐1401
MENDOLA, WILLIAM V                  304 TAMPA DR                                                                                BUFFALO         NY   14220‐2858
MENDOLA, WILLIAM VICTOR             304 TAMPA DR                                                                                BUFFALO         NY   14220‐2858
MENDONCA MANUEL (ESTATE OF)         BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD      OH   44067
(501020)                                                            PROFESSIONAL BLDG
MENDONCA, DOLORES                   717 MICHELBOOK LANE                                                                         RIO VISTA       CA 94571
MENDONCA, MANUEL                    BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD      OH 44067
                                                                    PROFESSIONAL BLDG
MENDONCA, ORTIE                     4345 BURNEY WAY                                                                             FREMONT         CA 94538‐2617
                                      09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                          Exhibit B
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Name                                 Address1                        Address2                     Address3                  Address4              City                 State Zip
MENDONCA, THOMAS J                   15611 NE 194TH CT                                                                                            BRUSH PRAIRIE         WA 98606‐7735
MENDONCA, VIRGILIO                   230 RANKIN ST                                                                                                ELIZABETH             NJ 07206‐1032
MENDONE GIULIO                       VIA IV OROLOGI 29/D                                                                    80056 ERROLANO (NA)
                                                                                                                            ITALY
MENDORA MARTIN                       24970 COLUMBUS RD                                                                                            BEDFORD HEIGHTS      OH   44146‐2539
MENDOSKIN, MARGARET                  PO BOX 188                                                                                                   GENESEE              MI   48437‐0188
MENDOZA ANTONIO                      MENDOZA, ANTONIO                25805 HARPER AVE                                                             SAINT CLAIR SHORES   MI   48081‐2263
MENDOZA EDUARDO (ESTATE OF) (633391) BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                                  WILMINGTON           DE   19899‐2165

MENDOZA III, FRANK                   PO BOX 820551                                                                                                VICKSBURG            MS   39182‐0551
MENDOZA JR, ALBERTO                  609 E LOOP 19TH ST                                                                                           WESLACO              TX   78596‐8108
MENDOZA JR, ANSELMO                  4041 LAMSON ST                                                                                               SAGINAW              MI   48601‐4172
MENDOZA JR, GUADALUPE                1407 FARMLANE RD                                                                                             LAPEER               MI   48446‐8779
MENDOZA JR, JESSIE                   19736 TOWNSHIP ROAD 1038                                                                                     OAKWOOD              OH   45873
MENDOZA JR, PHILIP                   5106 CANDLEWOOD DR                                                                                           GRAND BLANC          MI   48439‐2007
MENDOZA LEANA M                      MENDOZA, LEANA M                100 WILSHIRE BLVD STE 2100                                                   SANTA MONICA         CA   90401‐1162
MENDOZA LEANA M                      MORAZAN, FRANCISCO              100 WILSHIRE BLVD STE 2100                                                   SANTA MONICA         CA   90401‐1162
MENDOZA LEANA M                      ROSALES, FATIMA                 100 WILSHIRE BLVD STE 2100                                                   SANTA MONICA         CA   90401‐1162
MENDOZA LUIS                         22507 OAK MIST LN                                                                                            KATY                 TX   77494‐2256
MENDOZA ROMAN G                      MENDOZA, MARIA D                TAYLOR & ASSOCIATES NORMAN   425 WEST BROADWAY SUITE                         GLENDALE             CA   91204
                                                                                                  220
MENDOZA ROMAN G                      MENDOZA, ROMAN G                425 W BROADWAY STE 220                                                       GLENDALE             CA   91204‐1269
MENDOZA'S AUTO SERVICE               3566 EASTERN AVE                                                                                             CINCINNATI           OH   45226‐2150
MENDOZA, ADELA                       1350 N. WASHINGTON                                                                                           SAGINAW              MI   48601‐1134
MENDOZA, ADELA                       1350 N WASHINGTON AVE                                                                                        SAGINAW              MI   48601‐1134
MENDOZA, ALFREDO S                   PO BOX 3824                                                                                                  ANTHONY              NM   88021‐3824
MENDOZA, AMY                         BOX 20301                                                                                                    AMARILLO             TX   79114‐2301
MENDOZA, AMY                         PO BOX 20301                                                                                                 AMARILLO             TX   79114‐2301
MENDOZA, ANA
MENDOZA, ANGELINA
MENDOZA, ANTONIO                     730 3RD AVE                     JANIE HARDEN MENDOZA                                                         PONTIAC              MI 48340‐2012
MENDOZA, ANTONIO
MENDOZA, ANTONIO C                   6222 ESCALLONIA DR                                                                                           NEWARK               CA   94560‐4720
MENDOZA, ARMANDO                     409 FERENZ AVE                                                                                               CROWLEY              TX   76036‐3603
MENDOZA, BALBINA O                   13550 GAIN ST                                                                                                PACOIMA              CA   91331‐3813
MENDOZA, BARBARA M                   1744 MOUNTAIN AVE                                                                                            SANTA BARBARA        CA   93101‐4608
MENDOZA, BEATRICE F                  25 S 12TH ST                                                                                                 COTTONWOOD           AZ   86326‐3402
MENDOZA, BERNABE CONTRERAS           MILLER MICHAEL LAW OFFICES OF   926 CHULIE DR                                                                SAN ANTONIO          TX   78216‐6522
MENDOZA, BRIAN                       56 ARROWHEAD DR                                                                                              HYANNIS              MA   02601‐2449
MENDOZA, BRUCE A                     1780 FROMM                                                                                                   SAGINAW              MI   48603‐4408
MENDOZA, BRUCE A                     1780 FROMM DR                                                                                                SAGINAW              MI   48638‐4408
MENDOZA, CESAR P                     7648 KENNETT SQ                                                                                              WEST BLOOMFIELD      MI   48322‐5006
MENDOZA, CHERYL LYNN                 41249 NORTH CAMBRIA DRIVE                                                                                    QUEEN CREEK          AZ   85240‐3173
MENDOZA, CHRISTINA C                 6943 SANTA FE DR                                                                                             OVERLAND PARK        KS   66204‐1357
MENDOZA, COLLEEN                     KIMMEL & SILVERMAN              PO BOX 325                                                                   DAYVILLE             CT   06241‐0325
MENDOZA, CORINA                      7311 ABELARDO DR                                                                                             OLMITO               TX   78575
MENDOZA, DANIEL                      4101 THACKIN DR                                                                                              LANSING              MI   48911‐1920
MENDOZA, DANIEL                      2319 S CLINTON ST                                                                                            DEFIANCE             OH   43512‐3225
MENDOZA, DAVID                       11410 HEGEL RD                                                                                               GOODRICH             MI   48438‐9775
MENDOZA, DENISE L                    421 ARBOR AVE                                                                                                MONROE               MI   48162‐2510
MENDOZA, DENISE LYNN                 421 ARBOR AVE                                                                                                MONROE               MI   48162‐2510
MENDOZA, EDGARDO C                   4836 E COUNTY 12TH ST                                                                                        YUMA                 AZ   85365‐7740
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Name                   Address1                          Address2             Address3        Address4         City              State Zip
MENDOZA, EDUARDO       BIFFERATO GENTILOTTI & BIDEN      PO BOX 2165                                           WILMINGTON         DE 19899‐2165
MENDOZA, EDWARD E      12582 BROMWICH ST                                                                       PACOIMA            CA 91331‐3407
MENDOZA, ELIDA         1718 10TH STREET                                                                        BAY CITY           MI 48708‐6745
MENDOZA, ELIDIA        1040 MAIN ST # RTI                                                                      MARTIN             OH 43445
MENDOZA, ELLEN M       3217 CRESCENT ST                                                                        ASTORIA            NY 11106‐4140
MENDOZA, ENRIQUE       2031 MOFFITT ST                                                                         LANSING            MI 48911‐3520
MENDOZA, ENRIQUE       30200 STEPHENSON HWY              (GMAC GREECE)                                         MADISON HEIGHTS    MI 48071‐1612
MENDOZA, FRANCES       13532 PIERCE ST                                                                         PACOIMA            CA 91331‐3758
MENDOZA, FRANCISCA     3352 GLENWOOD ST                                                                        SAGINAW            MI 48601
MENDOZA, FRANCISCO L   1154 EAGLE DR                                                                           SALINAS            CA 93905‐4457
MENDOZA, FRANK         6898 BRUCKNER ST                                                                        DETROIT            MI 48210‐2829
MENDOZA, FRANK         7027 CANE GRASS LN W                                                                    JACKSONVILLE       FL 32244‐6148
MENDOZA, FRANK R       15903 BELSHIRE AVE                                                                      NORWALK            CA 90650‐6737
MENDOZA, FRED B        6617 SHILOH WAY                                                                         LANSING            MI 48917‐9612
MENDOZA, GARY W        PO BOX 509                                                                              SAN FERNANDO       CA 91341‐0509
MENDOZA, GIL J         41920 MANOR PARK DR APT 98                                                              NOVI               MI 48375‐2767
MENDOZA, GREGORIO
MENDOZA, GUADALUPE     4949 OMAR ST.                                                                           FREMONT           CA   94538‐3247
MENDOZA, GUADALUPE     414 CAMERON AVE                                                                         PONTIAC           MI   48342‐1807
MENDOZA, GUADALUPE     4949 OMAR ST                                                                            FREMONT           CA   94538‐3247
MENDOZA, GUADALUPE C   13625 FILMORE ST                                                                        PACOIMA           CA   91331‐2908
MENDOZA, GUADALUPE G   2223 S MADISON AVE                                                                      BAY CITY          MI   48708‐8760
MENDOZA, GUADALUPE R   1113 WHEATLAND AVE                APT F8                                                LANCASTER         PA   17603‐2535
MENDOZA, HAZEL M       5295 AUSTIN HWY                                                                         FALLON            NV   89406‐9701
MENDOZA, HECTOR L      1148 PATTERSON RD                                                                       CAPE CORAL        FL   33909
MENDOZA, HECTOR M      2213 S NIELSON ST                                                                       GILBERT           AZ   85295‐5434
MENDOZA, HELEN M       1701 S THORNBURG ST. SPACE 57                                                           SANTA MARIA       CA   93458‐7434
MENDOZA, IGNACIO       1032 BROWN DR                                                                           FORT WORTH        TX   76115‐3606
MENDOZA, IRENE         PO BOX 42599                                                                            HOUSTON           TX   77249‐2599
MENDOZA, ISIDORO
MENDOZA, JACK R        7830 BONNY DR                                                                           SAGINAW           MI 48609‐4911
MENDOZA, JAIME         5721 ROSALIA DR                                                                         FORT WAYNE        IN 46809‐2125
MENDOZA, JAMES
MENDOZA, JANE A        1780 FROMM DR                                                                           SAGINAW           MI   48638‐4408
MENDOZA, JANET F       1569 VANCOUVER DR                                                                       SAGINAW           MI   48638‐4772
MENDOZA, JEANNIE       1826 ENSLEN AVE                                                                         MODESTO           CA   95350‐3113
MENDOZA, JESUS         204 ANDOVER RD                                                                          FAIRLESS HILLS    PA   19030‐2202
MENDOZA, JESUS A       767 S BRAND BLVD                                                                        SAN FERNANDO      CA   91340‐4201
MENDOZA, JESUS G       4801 STILLWELL AVE                                                                      LANSING           MI   48911‐2842
MENDOZA, JOANNE
MENDOZA, JOANNE        SHUMWAY G LYNN LAW OFFICES        6909 E GREENWAY                                       SCOTTSDALE        AZ   85254
MENDOZA, JOHN C        1902 PORTSMOUTH AVE                                                                     WESTCHESTER       IL   60154‐4458
MENDOZA, JOHN R        14467 BRAND BLVD                                                                        SAN FERNANDO      CA   91340‐4347
MENDOZA, JOSE L        131 SOUTHLAKE DR                                                                        ROCKWALL          TX   75032
MENDOZA, JOSE P        4203 ELM AVE                                                                            LYONS             IL   60534‐1431
MENDOZA, JOSEPH C      3031 INDIANWOOD RD                                                                      LAKE ORION        MI   48362‐1116
MENDOZA, JOSEPH J      6444 STEADMAN ST                                                                        DEARBORN          MI   48126‐2057
MENDOZA, JUAN LUIS
MENDOZA, JULIANNA
MENDOZA, JULIE ANN     TAYLOR & BREUNIG CO LPA           409 EAST AVE STE B                                    ELYRIA            OH 44035‐5717
MENDOZA, LAWRENCE B    70 JACKSON WAY                                                                          DECATUR           AL 35603‐5168
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Name                      Address1                           Address2                     Address3   Address4         City            State Zip
MENDOZA, LEANA M          GREENE BROILLET TAYLOR WHEELER &   100 WILSHIRE BLVD STE 2100                               SANTA MONICA     CA 90401‐1162
                          PANISH
MENDOZA, LEEANN           19736 TOWNSHIP ROAD 1038                                                                    OAKWOOD         OH   45873
MENDOZA, LOURDES          125 W 60TH ST                                                                               HIALEAH         FL   33012‐2630
MENDOZA, LUIS             1040 MAIN ST                                                                                MARTIN          OH   43445‐9612
MENDOZA, LUIS             7801 ABBOTT AVE APT 402                                                                     MIAMI BEACH     FL   33141‐2046
MENDOZA, MALINDA          1503 HAWKWOLF CRK                                                                           SAN ANTONIO     TX   78245
MENDOZA, MANUEL           10885 CINNABAR WAY APT 7           C/O STEPHANIE LOPEZ                                      TRUCKEE         CA   96161‐2341
MENDOZA, MARCOS           8024 SENECA STREET                                                                          GOODRICH        MI   48438‐8898
MENDOZA, MARGARITA        12 CHARLES HILL RD                                                                          ORINDA          CA   94563‐1905
MENDOZA, MARGARITA        1315 G‐STREET                                                                               UNION CITY      CA   94587
MENDOZA, MARIA            5930 MONTICELLO DR                                                                          LANSING         MI   48911‐4425
MENDOZA, MARIA D          TAYLOR & ASSOCIATES NORMAN         425 W BROADWAY STE 220                                   GLENDALE        CA   91204‐1269
MENDOZA, MARIA T          1051 MAYWOOD DR                                                                             SAGINAW         MI   48638‐5668
MENDOZA, MARIBEL
MENDOZA, MARIO U          1530 SPRINGWELLS ST APT 5                                                                   DETROIT         MI 48209‐1993
MENDOZA, MICHAEL          BRAYTON PURCELL                    PO BOX 6169                                              NOVATO          CA 94948‐6169
MENDOZA, MIGUEL
MENDOZA, NANCY A          202 N BEACH ST                                                                              BANCROFT        MI   48414‐7701
MENDOZA, NANCY ANN        202 N BEACH ST                                                                              BANCROFT        MI   48414‐7701
MENDOZA, OSCAR            4119 MEADOWBROOK DR                                                                         FREELAND        MI   48623‐8840
MENDOZA, PETER M          1747 WRIGHT ST                                                                              POMONA          CA   91766‐1108
MENDOZA, RALPH S          1912 MAPLEWOOD RD                                                                           FORT WAYNE      IN   46819‐1641
MENDOZA, ROBERT           1152 E MEDA AVE                                                                             GLENDORA        CA   91741‐3162
MENDOZA, ROBERT S         2121 W 2ND ST                                                                               MARION          IN   46952‐3251
MENDOZA, ROMAN G          TAYLOR & ASSOCIATES NORMAN         425 W BROADWAY STE 220                                   GLENDALE        CA   91204‐1269
MENDOZA, RONALD T         1051 MAYWOOD DR                                                                             SAGINAW         MI   48638‐5668
MENDOZA, RONNIE           1718 10TH ST                                                                                BAY CITY        MI   48708‐6745
MENDOZA, ROSALIA          PO BOX 1940                                                                                 VEGA BAJA       PR   00694‐1940
MENDOZA, ROSALIA          P.O. BOX 1940                                                                               VEGA BAJA       PR   00694‐1940
MENDOZA, ROY              4269 TRENTON ST                                                                             DETROIT         MI   48210
MENDOZA, ROY R            4418 WALTON PL                                                                              SAGINAW         MI   48603‐2093
MENDOZA, RUBEN            PO BOX 172                                                                                  BANCROFT        MI   48414‐0172
MENDOZA, RUBEN G          1719 W OTTAWA ST                                                                            LANSING         MI   48915‐1779
MENDOZA, SANDY            CONSUMER LEGAL SERVICES            1950 SAWTELLE BLVD STE 245                               LOS ANGELES     CA   90025‐7017
MENDOZA, SHANNON L        241 YOUNT RD                                                                                WEST MILTON     OH   45383‐1621
MENDOZA, SIMON C          3901 ORCHID AVE                                                                             MCALLEN         TX   78504‐5306
MENDOZA, SUNAMITA         3743 GREUSEL ST                                                                             DETROIT         MI   48210‐3019
MENDOZA, VIDAL L          PO BOX 1423                                                                                 VON ORMY        TX   78073
MENDOZA, VIRGINIA         PO BOX 37414                                                                                SAN ANTONIO     TX   78237‐0414
MENDOZA, VIRGINIA         P.O. BOX 37414                                                                              SAN ANTONIO     TX   78237
MENDOZA‐HARDEN, JUANITA   730 3RD AVE                                                                                 PONTIAC         MI   48340‐2012
MENDREK, THOMAS M         1440 BEAUMONT CIR                                                                           FLUSHING        MI   48433‐1872
MENDREK, THOMAS MICHAEL   1440 BEAUMONT CIR                                                                           FLUSHING        MI   48433‐1872
MENDRYGA, ADELIA P        447 S WARING ST                                                                             DETROIT         MI   48217‐1410
MENDRYGA, DAVID B         5419 KLAM RD                                                                                COLUMBIAVILLE   MI   48421‐9322
MENDRYGAL, MYRTLE G       23261 ONEIDA STREET                                                                         OAK PARK        MI   48237‐2299
MENDRYSA, JOSEPH F        33500 ASH RD                                                                                NEW BOSTON      MI   48164‐9539
MENDS, ELIZABETH A        2409 ANNALANE DR                                                                            NORMAN          OK   73072‐2256
MENDS, ELIZABETH A        16513 FENWICK BLVD                                                                          EDMOND          OK   73012‐7083
MENDS, FRANK I            6809 SUGAR MAPLE CRK                                                                        PLANO           TX   75023‐2060
MENDS, FRANK I.           6809 SUGAR MAPLE CRK                                                                        PLANO           TX   75023‐2060
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Name                              Address1                           Address2                      Address3   Address4         City                State Zip
MENDT, WAYNE A                    73 HOOD DR                                                                                   CANFIELD             OH 44406‐1316
MENDU, LINGAIAH N                 5900 LAKE WOODLANDS DR             APT 1425                                                  THE WOODLANDS        TX 77382‐2948
MENDU, LINGAIAH N                 7 FRONTERA CIR                                                                               SPRING               TX 77382‐2848
MENDVILLE REDI MIX CONCRETE INC   19824 COCHRANTON RD                                                                          MENDVILLE            PA 16335
MENDY O DIFRANCESCO               3124 BRADDOCK ST.                                                                            KETTERING            OH 45420
MENDY, MATTHEW                    13504 NE 84TH ST                   SUITE 103‐282                                             VANCOUVER            WA 98682
MENDY, SCOTT EDWARD               9335 SW MILLEN DR                                                                            TIGARD               OR 97224‐5573
MENDYK, CHRISTINE ANN             9847 OAKLEY RD                                                                               SAINT CHARLES        MI 48655‐9527
MENDYK, DORIS M                   3721 FREEDOM CT                                                                              MIDLAND              MI 48642‐6035
MENDYK, DORIS M                   3721 FREEDOM CRT                                                                             MIDLAND              MI 48642
MENDYK, JAMES P                   2652 DUANE DR                                                                                SAGINAW              MI 48603‐3014
MENDYK, LEROY K                   8675 HORNBEAM LN                                                                             SAGINAW              MI 48603‐9668
MENDYK, LORRAINE V                527 N OAKLEY ST                                                                              SAGINAW              MI 48602‐4477
MENDYK, MARY A                    216 E OAK ST                                                                                 SAINT CHARLES        MI 48655‐1117
MENDYK, MARY A                    408 LEMKE ST                                                                                 MIDLAND              MI 48642‐5927
MENDYK, MARY A                    216 OAK ST                                                                                   ST CHARLES           MI 48655
MENDYK, ROSALEA A.                435 W SCHLEIER ST                  APT 11                                                    FRANKENMUTH          MI 48734‐1067
MENDYK, ROSALEA A.                435 W SCHLEIER ST APT 2                                                                      FRANKENMUTH          MI 48734‐1064
MENDYKA, EDWARD J                 4330 JENNINGS RD APT 233                                                                     CLEVELAND            OH 44109‐3688
MENDYKA, LEROY W                  4132 SPRUCE RD                                                                               LINCOLN              MI 48742‐9560
MENDYKA, LEROY W                  4132 SPRUCE ROAD                                                                             LINCOLN              MI 48742‐9560
MENDZA STAMENKOVIC                6580 COLONIAL ST                                                                             DEARBORN HTS         MI 48127‐2111
MENEAR, DOLORES H                 8980 SPRING CREST DR                                                                         BROOKLYN             OH 44144‐1241
MENEAR, ELVA L                    523 CHANDLER STREET                                                                          FLINT                MI 48503‐2269
MENEAR, ESTHER M                  4918 NW 52ND CT                                                                              TAMARAC              FL 33319‐3257
MENEAR, JAMES R                   1694 NORTH M52                     APT 211                                                   OWOSSO               MI 48867
MENEAR, KENNETH W                 523 CHANDLER ST                                                                              FLINT                MI 48503‐2269
MENEAR, RALPH A                   1954 LARCHMONT AVE NE                                                                        WARREN               OH 44483‐3508
MENEAR, RUSSELL N                 4810 CAMP RD                                                                                 RAVENNA              OH 44266‐8614
MENEELY JR, DONALD J              7124 N. BLUE SAGE                                                                            PUNTA GORDA          FL 33955‐1101
MENEELY JR, DONALD J              7124 N BLUE SAGE                                                                             PUNTA GORDA          FL 33955‐1101
MENEESE, MARY                     35 SEVERANCE CIR APT 517                                                                     CLEVELAND HEIGHTS    OH 44118‐1517
MENEESE, MARY                     35 SEVERANCE CIRCLE                APT 517                                                   CLEVELAND HEIGHTS    OH 44118
MENEFEE ROBERT BRISCOE (429445)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                                     STREET, SUITE 600
MENEFEE SR, JAMES N               PO BOX 475                                                                                   DAYTON              OH   45449‐0475
MENEFEE, BERNICE A                6770 BUFFINGTON RD APT 1203                                                                  UNION CITY          GA   30291‐5051
MENEFEE, BONNIE W                 3680 W SUMNER LAKE DR                                                                        ANDERSON            IN   46012‐9416
MENEFEE, CHARLES A                1401 LISCUM DR                                                                               DAYTON              OH   45418‐5418
MENEFEE, CHARLES C                2257 SANTA FE ARCH                                                                           VIRGINIA BCH        VA   23456‐6741
MENEFEE, DOROTHY                  8008 ASPEN ST                                                                                TEXAS CITY          TX   77591‐2462
MENEFEE, GEORGENE                 15 MACGREGOR DR                                                                              TROTWOOD            OH   45426‐2737
MENEFEE, GLENDA N                 PO BOX 392                                                                                   BIG SANDY           TX   75755‐0392
MENEFEE, LARRY J                  PO BOX 2033                                                                                  CHICKASHA           OK   73023‐2033
MENEFEE, MARILYN J                6225 E 296TH ST                                                                              ATLANTA             IN   46031‐9496
MENEFEE, ROBERT BRISCOE           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                                     STREET, SUITE 600
MENEFEE, SHIRLEY A                PO BOX 550                                                                                   DAYTON              OH   45449‐0550
MENEFEE, WARREN D                 1625 TRITTS MILL DR                                                                          AKRON               OH   44312‐5335
MENEFIELD ALFONSO                 MENEFIELD, ALFONSO                 19317 MILAN DR                                            MAPLE HTS           OH   44137
MENEFIELD, ALFONSO                19317 MILAN DR                                                                               MAPLE HEIGHTS       OH   44137‐2319
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Name                         Address1                       Address2                        Address3               Address4         City                State Zip
MENEGHIN KATHRYN TRUST THE   GALBRAITH & BOOMS              29777 TELEGRAPH ROAD SUITE 1460                                         SOUTHFIELD           MI 48034

MENEGHIN KATHRYN TRUST THE   MENEGHIN, EARL                 GALBRAITH & BOOMS               29777 TELEGRAPH ROAD                    SOUTHFIELD          MI 48034
                                                                                            SUITE 1460
MENEGHIN KATHRYN TRUST THE   MENEGHIN, EARL
MENEGHIN KATHRYN TRUST THE
MENEGHIN, EARL J             22204 LANSE ST                                                                                         ST CLAIR SHRS       MI 48081‐2759
MENEGHINI, CAROL J           10660 W 62ND PL                                                                                        ARVADA              CO 80004‐4823
MENELAOS ANAGNOSTOU
MENELIO GOMEZ                10173 SILVER MAPLE CT                                                                                  FORT MYERS          FL   33913‐8828
MENELL, CALIFORNIA L         625 ESKATON CIR APT 221                                                                                GRASS VALLEY        CA   95945‐5731
MENELLE, CAROLE J            1806 ARTHUR DR NW                                                                                      WARREN              OH   44485‐1807
MENELLE, CAROLE J            1806 ARTHUR N. W.                                                                                      WARREN              OH   44485‐1807
MENELLE, CAROLYN N           3743 BRYANT DR                                                                                         YOUNGSTOWN          OH   44511‐1151
MENELLE, DONNA               6620 GREEN BRANCH DR APT 1                                                                             CENTERVILLE         OH   45459‐6807
MENELLE, MICHAEL J           9472 TAHOE DR                                                                                          CENTERVILLE         OH   45458‐3689
MENENDEZ, CARLOS             C/O THE LIPMAN LAW FIRM        5915 PONCE DE LEON BLVD         SUITE 44                                CORAL GABLES        FL   33146
MENENDEZ, FRED               101 CURTIS ST # A                                                                                      MERIDEN             CT   06450‐5908
MENENDEZ, JOSE A             4322 FOXGLOVE CT                                                                                       BELCAMP             MD   21017‐1659
MENENDEZ, JOSE F             4724 MICHAEL CT UNIT 122                                                                               TAMPA               FL   33614‐7240
MENENDEZ, LOUIS R            2621 FERNCLIFF AVE                                                                                     ROYAL OAK           MI   48073‐4606
MENENDEZ, MANUEL             1004 DUCKHORN CT APT 201                                                                               LAS VEGAS           NV   89144‐0877
MENENDEZ, MARIA              3918 W SAN LUIS ST                                                                                     TAMPA               FL   33629‐7834
MENENDEZ, MICHAEL D          820 PEACH TREE ST                                                                                      EXCELSIOR SPRINGS   MO   64024‐3309
MENENDEZ, MICHAEL DEAN       820 PEACH TREE ST                                                                                      EXCELSIOR SPRINGS   MO   64024‐3309
MENENDEZ, VIVIEN M           4505 9TH AVE E                                                                                         BRADENTON           FL   34208‐5803
MENEREY, DAVID L             10355 SILVER LAKE RD                                                                                   BRIGHTON            MI   48116‐8363
MENEREY, PENNY S             10355 SILVER LAKE RD                                                                                   BRIGHTON            MI   48116‐8363
MENEREY, PENNY SUE           10355 SILVER LAKE RD                                                                                   BRIGHTON            MI   48116‐8363
MENESES JIMMY                28 DUFFY DR                                                                                            TAUNTON             MA   02780‐2823
MENESES, ENRIQUE A           1500 85TH ST                                                                                           NORTH BERGEN        NJ   07047
MENESES, IGNACIO             18040 OUTER DR                                                                                         DEARBORN            MI   48128‐1335
MENESES, MILTON M            APT 84                         260 TRIFECTA COURT                                                      WALTON              KY   41094‐7213
MENESES, SANDRA K            41945 SARATOGA CIR                                                                                     CANTON              MI   48187‐3537
MENESINI, MARK L             1944 SEQUOIA CT                                                                                        MARTINEZ            CA   94553‐4947
MENESTRINA, HARRY F          1113 ROBIN DR                                                                                          ANDERSON            IN   46013‐1335
MENEZ, CARLOS H              4327 CARPINTERIA AVE                                                                                   CARPINTERIA         CA   93013‐1807
MENEZES                      158 W 27TH ST FLOOR 11                                                                                 NEW YORK            NY   10001
MENG GILL                    1011 FREMONT AVE                                                                                       FORT MORGAN         CO   80701‐3555
MENG WANG                    29 CLINTWOOD DR # D                                                                                    ROCHESTER           NY   14620‐3517
MENG WEN JIN                 439 PLANTATION RIDGE LN                                                                                BATON ROUGE         LA   70810‐5053
MENG WILLIAM                 MENG, WILLIAM                  918 N. 8TH AVE                                                          MAYWOOD             IL   60153‐1068
MENG, CARL F                 2495 BELFORD ROAD                                                                                      HOLLY               MI   48442‐9451
MENG, CHING‐YU               5766 ROYAL WOOD                                                                                        WEST BLOOMFIELD     MI   48322‐4802
MENG, DOLORES                15459 WINCHESTER DR                                                                                    PLYMOUTH            MI   48170‐6801
MENG, DOROTHY M              2821 THORNTON LN                                                                                       INDIANAPOLIS        IN   46268‐1257
MENG, EUSEBIA                2495 BELFORD ROAD                                                                                      HOLLY               MI   48442
MENG, EUSEBIA                2495 BELFORD RD                                                                                        HOLLY               MI   48442‐9451
MENG, FRANCES B              12319 HUNTINGWICK DR                                                                                   HOUSTON             TX   77024‐4905
MENG, GREGORY F              15459 WINCHESTER DR                                                                                    PLYMOUTH            MI   48170‐6801
MENG, HEINRICH               28 CALLE ANACAPA                                                                                       SAN CLEMENTE        CA   92673‐6867
MENG, JAMES T                228 BRAYTON RD                                                                                         ROCHESTER           NY   14616‐2966
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Name                          Address1                         Address2                      Address3   Address4         City                State Zip
MENG, WILLIAM                 918 N 8TH AVE                                                                              MAYWOOD               IL 60153‐1068
MENG‐FENG LI                  292 BLOSSOM DR                                                                             CANTON               MI 48188‐1412
MENGE, DAVID E                36 SETON RD                                                                                CHEEKTOWAGA          NY 14225‐2031
MENGE, DAX E                  APT 14                           2502 GATES CIRCLE                                         BATON ROUGE          LA 70809‐1008
MENGE, DAX E                  2999 GRAND LAKES DR                                                                        ZACHARY              LA 70791‐2876
MENGE, DONALD W               1586 GREENWOOD TER                                                                         MARILLA              NY 14102‐9709
MENGEDOHT‐KNUST, DEBORAH A    384 FOXRIDGE DR                                                                            SPRINGVILLE          IN 47462‐5023
MENGEL, GEORGE G              G8068 FENTON RD                                                                            GRAND BLANC          MI 48439
MENGEL, MICHAEL T             3410 BENSTEIN RD                                                                           COMMERCE TOWNSHIP    MI 48382‐1902
MENGEL, ROBERT A              KARLOCK KENDRA                   900 JACKSON ST STE 600                                    DALLAS               TX 75202
MENGELKAMP, GAIL              4107 CASCADE FALLS DR                                                                      SARASOTA             FL 34243‐4283
MENGELKOCH HENRY A (357024)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510
                                                               STREET, SUITE 600
MENGELKOCH, HENRY A           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
MENGELT, CAROL L              639 CHARTIER ST                                                                            JANESVILLE          WI   53546‐2445
MENGELT, CURTIS J             1014 SUMMERHILL DR                                                                         JANESVILLE          WI   53546‐3727
MENGER, FRED P                5695 ROYAL CT                                                                              GLADWIN             MI   48624‐8111
MENGER, HANNA                 55080 BELLE ROSE DRIVE                                                                     SHELBY TWP          MI   48316‐5200
MENGES JR., ROBERT H          12512 VIA CATHERINA CT                                                                     GRAND BLANC         MI   48439‐1406
MENGES JR., ROBERT HENRY      12512 VIA CATHERINA CT                                                                     GRAND BLANC         MI   48439‐1406
MENGES, CAROL                 1526 BRIARWOOD CT                                                                          ADRIAN              MI   49221‐9494
MENGES, MARY H                1201 CARRIAGE DR                                                                           TECUMSEH            MI   49286‐7757
MENGES, WILLIAM D             4064 SAVANNAH GROVE LN                                                                     COLUMBUS            OH   43221‐5681
MENGIOS, GEORGIOS S           37210 EVERGREEN DR                                                                         STERLING HTS        MI   48310‐3919
MENGISTU, YARED               313 WILLOWBROOK DR                                                                         NORRISTOWN          PA   19403
MENGISTU, YARED               9930 FREDERICK RD                                                                          ELLICOTT CITY       MD   21042‐3645
MENGWEI CAMPBELL              4253 W 190TH ST                                                                            TORRANCE            CA   90504‐5516
MENGWEI L CAMPBELL            4253 W 190TH ST                                                                            TORRANCE            CA   90504‐5516
MENHART JR, JOHN H            127 WYMPS GAP RD                                                                           SMITHFIELD          PA   15478‐1443
MENHORN, DONALD M             PO BOX 168                       16676 G.A.R. HIGHWAY                                      MONTVILLE           OH   44064‐0168
MENHORN, DONALD M             16676 G A R HIGHWAY              P O BOX 168                                               MONTVILLE           OH   44064‐0168
MENHUSEN, GARY G              2151 ROCK CREEK DR                                                                         TONGANOXIE          KS   66086‐4363
MENHUSEN, GARY GORDON         2151 ROCK CREEK DR                                                                         TONGANOXIE          KS   66086‐4363
MENHUSEN, RALPH A             503 NE ADAMS DR                                                                            LEES SUMMIT         MO   64086‐3396
MENID BAEP                    178 S MERRIMAC ST                                                                          PONTIAC             MI   48340‐2540
MENIE GLENN (459205)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510
                                                               STREET, SUITE 600
MENIE, GLENN                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                               STREET, SUITE 600
MENIEFIELD JR, MELVIN         3321 S JAMES RD                                                                            BALDWIN             MI   49304‐8368
MENIFEE VALLEY ATHLETIC C     29700 BRADLEY RD                                                                           SUN CITY            CA   92586‐6519
MENIFEE, DELORES A            534 CALUMET AVE                                                                            LIMA                OH   45804‐1406
MENIFEE, FANNIE               2408 E 41ST ST                                                                             ANDERSON            IN   46013‐2615
MENIFEE, FANNIE L             2408 EAST 41ST                                                                             ANDERSON            IN   46013‐2615
MENIFEE, ICEPHEEN I           1634 W 8TH ST                                                                              ANDERSON            IN   46016‐2635
MENIFEE, JAMES H              2408 E 41ST ST                                                                             ANDERSON            IN   46013‐2615
MENIFEE, JOHN W               1634 W 8TH ST                                                                              ANDERSON            IN   46016‐2635
MENIFEE, PAUL                 3230 BROOKWOOD                                                                             MONTGOMERY          AL   36116‐3012
MENIFEE, RUTHIE L             5817 DUPONT ST                                                                             FLINT               MI   48505‐2680
MENIFEE, TRENDA L
MENIFIELD, BETTY J            PO BOX 24491                                                                               DETROIT             MI 48224‐0491
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Name                        Address1                         Address2                           Address3                  Address4             City                  State Zip
MENIFIELD, KEVETTEA R       1716 FAIRVIEW ST                                                                                                   ANDERSON               IN 46016‐4136
MENIFIELD, WILL T           1708 SUNCREST DR                                                                                                   FLINT                  MI 48504‐8400
MENIG, JEFFREY S            2239 PONDVIEW CT                                                                                                   LAKE ORION             MI 48362‐1155
MENIG, JEFFREY SCOTT        2239 PONDVIEW CT                                                                                                   LAKE ORION             MI 48362‐1155
MENIG, RONALD W             8269 PITT RD                                                                                                       ELWELL                 MI 48832‐9744
MENIKHEIM, JOHN L           2703 PARALLEL PATH                                                                                                 ABINGDON               MD 21009‐1542
MENILLA MAYRA               MENILLA, MAYRA                   12049 LOWEMONT ST                                                                 NORWALK                CA 90650‐6615
MENILLA, MAYRA              12049 LOWEMONT ST                                                                                                  NORWALK                CA 90650‐6615
MENIN MERLE                 MENIN, MERLE                     6300 S SYRACUSE WAY                                                               CENTENNIAL             CO 80111
MENIN, BRUCE                4082 LEE CIR                                                                                                       WHEAT RIDGE            CO 80033‐4152
MENIN, MARY                 4082 LEE CIR                                                                                                       WHEAT RIDGE            CO 80033‐4152
MENINI GIANFRANCO           C/O LA SCALA                     STUDIO LEGALE E TRIBUTARIO         CORSO MAGENTA N 42        20123 MILANO ITALY
MENION STIMAGE JR           PO BOX 430856                                                                                                      PONTIAC               MI    48343‐0856
MENIX, HARDIN P             8702 WEST HYW US 60                                                                                                OLIVE HILL            KY    41164
MENIX, JOELLEN              2809 LINDBERG RD                                                                                                   ANDERSON              IN    46012
MENIX, PHILIP T             2809 LINBURG RD                                                                                                    ANDERSON              IN    46012
MENIZE, ROBERT L            2735 OAK TREE CT                                                                                                   UNION CITY            CA    94587‐5332
MENJOULET, RONALD V         3091 NAVAHO TRL                                                                                                    HEMLOCK               MI    48626‐8478
MENJUAN JORDAN              2044 FOX HILL DR                                                                                                   GRAND BLANC           MI    48439‐5219
MENK, MELVIN A              7311 JADE CT                                                                                                       CENTERVILLE           OH    45459‐3926
MENKA ATANASOVSKA           15266 CICOTTE AVE                                                                                                  ALLEN PARK            MI    48101‐3006
MENKE'S AUTOMOTIVE          5400 VANN RD                                                                                                       NEWBURGH              IN    47630
MENKE, KARL C               8084 HEYWARD DR                                                                                                    INDIANAPOLIS          IN    46250‐4225
MENKE, MORIA AMY            14104 ADRI CIR                                                                                                     COMMERCE TWP          MI    48390‐5818
MENKE, PAUL F               1728 CAXTON LN                                                                                                     TOLEDO                OH    43613‐2314
MENKE, RICHARD J            39 CAMPBELL RD                                                                                                     SPENCERPORT           NY    14559‐9519
MENKE, ROGER J              720 WINTERBERRY PL NE                                                                                              CEDAR RAPIDS          IA    52402‐7342
MENKEDICK, MICHAEL H        531 N BROADWAY ST                                                                                                  GREENSBURG            IN    47240‐1730
MENKEL ROCKWELL COOLEY      MENKEL, ROCKWELL COOLEY          ONE LINCOLN CENTER ‐ SUITE 900 ‐                                                  SYRACUSE              NY    13202
                                                             110 WEST FAYETTE STREET
MENKEL, HARRY G             13906 MIDDLE PARK DR                                                                                               TAMPA                 FL    33624‐3409
MENKEN, GORDON C            2627 LAKE VALLEY DR                                                                                                JEFFERSON CTY         MO    65109‐2173
MENKER, CHARLES H           9184 WELLBAUM RD                                                                                                   BROOKVILLE            OH    45309‐9230
MENKER, EDWARD H            832 S SHILOH RD                                                                                                    PLEASANT HILL         OH    45359‐9740
MENKING, ROBERT L           28218 URSULINE ST                                                                                                  ST CLAIR SHRS         MI    48081‐1456
MENLEN JR, JOHN A           23308 JAMISON DR                                                                                                   MACOMB                MI    48042‐2734
MENLEN, DENNIS M            879 SELBY DR                                                                                                       TROY                  MI    48098‐1719
MENLO ASSOCIATES LLC        DBA ACCENT REDUCTION INSTITUTE   410 N 4TH AVE                      3RD FLOOR STE 300                              ANN ARBOR             MI    48104‐1104
MENLO LOGISTICS             PO BOX 3980                                                                                                        PORTLAND              OR    97208‐3980
MENLO LOGISTICS INC         19771 BROWNSTOWN CTR DR STE 79                                                                                     BROWNSTOWN TOWNSHIP   MI    48183

MENLO LOGISTICS INC         JEFF RIVERA                      SPO663 KITS                        19771 BROWNSTOWN STR DR                        MCALLEN                TX   78503
                                                                                                ST 790
MENLO LOGISTICS INC         2855 CAMPUS DR STE 300                                                                                             SAN MATEO             CA    94403‐2512
MENLO LOGISTICS INC         PO BOX 3980                                                                                                        PORTLAND              OR    97208‐3980
MENLO LOGISTICS INC         ATTN ACCOUNTS RECEIVABLE         PO BOX 4488                                                                       PORTLAND              OR    97208‐4488
MENLO LOGISTICS INC         2055 NW SAVIER ST                                                                                                  PORTLAND              OR    97209‐1738
MENLO LOGISTICS INC         ATTN ACCOUNTS RECEIVABLE         PO BOX 3980                                                                       PORTLAND              OR    97208‐3980
MENLO LOGISTICS, INC.       550 ECCLES AVE #1                                                                                                  SOUTH SAN FRANCISCO   CA    94080‐1905
MENLO PARK CADILLAC, INC.   INTERCOMPANY
MENLO WORLDWIDE
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Name                                  Address1                         Address2                         Address3           Address4                  City               State Zip
MENLO WORLDWIDE FORWARDING INC        2055 NW SAVIER ST                                                                                              PORTLAND            OR 97209‐1738

MENLO WORLDWIDE FORWARDING, INC.      550 ECCLES AVE 1                                                                                               S SAN FRAN         CA 94080‐1905
F/K/A EMERY AIR FREIGHT CORPORATION

MENLO WORLDWIDE MEXICO S DE RL        AV ZEUS NO 1105 COL              PARQ IND KALOS PONIENTE                             SANTA CATARINE NL 66367
                                                                                                                           MEXICO
MENLO WORLDWIDE MEXICO S DE RL DE     PO BOX 3980                                                                                                    PORTLAND           OR 97208‐3980
CV
MENLO WORLDWIDE MEXICO S DE RL DE     AV CAMINO AL ITESO 8900 EDIF 2   A COL PINAR DE LA CALMA 45080                       TLAQUEPAQUE MEXICO
CV                                                                                                                         MEXICO
MENLO WORLDWIDE TECHNOLOGIES, LLC     550 ECCLES AVE 1                                                                                               S SAN FRANCISCO    CA 97080‐1905

MENLO WORLDWIDE, LLC                  550 ECCLES AVE 1                                                                                               S SAN FRAN         CA 94080‐1905
MENLO/BROWNSTOWN                      19771 BROWNSTOWN CENTER DRIVE                                                                                  BROWNSTOWN         MI 48183
MENLO/MEXICO                          AV ZEUS 1105 PARQUE INDUSTRIAL   KALOS DEL PONIENTE                                  SANTA CATARINA NL 66367
                                                                                                                           MEXICO
MENLO/SMYRNA                          2699 HIGHWOOD BLVD                                                                                             SMYRNA             TN 37167‐9304
MENN, RAYMOND                         HOCKEMA TIPPIT & ESCOBEDO        1 PASEO DEL PRADO AVE BLDG 101                                                EDINBURG           TX 78539‐1401

MENN, RAYMOND                         WATTS LAW FIRM                   BANK OF AMERICA PLAZA ‐ SUITE                                                 SAN ANTONIO         TX   78205
                                                                       100 ‐ 300 CONVENT STREET
MENN, ROBBIE LOU                      HOCKEMA TIPPIT & ESCOBEDO        1 PASEO DEL PRADO AVE BLDG 101                                                EDINBURG            TX   78539‐1401

MENNA ANGELO                          16 LONG VISTA LN                                                                                               CHESTER            NY    10918‐2213
MENNA, FELICE                         22058 GENESIS CT                                                                                               WOODHAVEN          MI    48183‐5258
MENNA, LENA A                         2431 GORNO ST                                                                                                  TRENTON            MI    48183‐2540
MENNA, LENA A                         2431 GORNO DR                                                                                                  TRENTON            MI    48183‐2540
MENNE, GERTRUDE M                     17 14TH ST                                                                                                     BURLINGTON         NJ    08016‐3670
MENNE, HILDA R                        10406 E HILL RD                                                                                                GOODRICH           MI    48438‐9712
MENNE, HILDA R                        10406 HILL RD                                                                                                  GOODRICH           MI    48438‐9712
MENNE, LISA M                         1417 10TH STREET CIR SE                                                                                        NEW PRAGUE         MN    56071
MENNE, MICHAEL D                      829 CAMPBELL ST                                                                                                FLINT              MI    48507‐2424
MENNE, NANCY A                        2656 ST HELENA CT                                                                                              LIVERMORE          CA    94550‐7332
MENNE, PATRICIA K                     414 ADAMS                                                                                                      BAY CITY           MI    48708
MENNEAR, HELEN L                      6935 CARLISLE CT APT 112C                                                                                      NAPLES             FL    34109
MENNEGA, EDWARD                       3573 144TH AVE                                                                                                 DORR               MI    49323‐9029
MENNEGA, STEVEN H                     4078 RILEY ST                                                                                                  HUDSONVILLE        MI    49426‐9420
MENNEL JR, JOSEPH J                   7469 MONAGHAN LN                                                                                               INDIANAPOLIS       IN    46217‐7408
MENNEL, EUGENE C                      6519 TOWNE WOODS DR                                                                                            SAINT LOUIS        MO    63129‐4521
MENNEL, ROBERT L                      7234 BRANT POINTE CIR                                                                                          INDIANAPOLIS       IN    46217‐5366
MENNELLA, VANCE A                     423 LAWRENCEVILLE RD APT 812                                                                                   LAWRENCEVILLE      NJ    08648‐4219
MENNEN, LESLY J                       711 QUINN ST                                                                                                   APLINGTON          IA    50604‐1027
MENNENGA NATHAN                       3 SADDLEWOOD CT                                                                                                MANSFIELD          TX    76063‐5587
MENNES, LINDA                         10541 SPRINKLE RD                                                                                              VICKSBURG          MI    49097‐8458
MENNICE HERRON                        G3450 E CARPENTER RD                                                                                           FLINT              MI    48506
MENNICK, WILLIAM F                    6936 WINDHAM LN                                                                                                BLOOMFIELD HILLS   MI    48301‐4070
MENNIE DODSON                         2406 HEMPHILL RD                                                                                               KETTERING          OH    45440‐1220
MENNIE WEBSTER                        609 CATALPA AVE                                                                                                LIMA               OH    45804‐2025
MENNIE'S MACHINE CO INC               508 N ST PAUL ST                                                                                               MARK               IL    61340
MENNIE'S MACHINE CO INC               GARLAND PARKER‐237               508 N ST PAUL ST.                RR #1 PO BOX 131                             MISHAWAKA          IN    46544
MENNIE'S MACHINE CO., INC.            GARLAND PARKER‐237               508 N ST PAUL ST.                RR #1 PO BOX 131                             MISHAWAKA          IN    46544
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Name                          Address1                           Address2                     Address3                Address4                City                 State Zip
MENNIES MACHINE COMPANY       RT 71 & MINNIE DR                                                                                               MARK                   IL 61340
MENNIGES DAVID                DBA P1 PRODUCTIONS LLC             263 ROUTE 7 S                                                                FALLS VILLAGE         CT 06031‐1607
MENNILLO, ANTHONY F           464 N FULTON AVE                                                                                                MOUNT VERNON          NY 10552‐1908
MENNING, DELORES              3187 S LIPKEY RD                                                                                                NORTH JACKSON         OH 44451‐9788
MENNING, JOLENE               3386 JOHNSON FARM DR                                                                                            CANFIELD              OH 44406‐9213
MENNING, MICHAEL L            3187 S LIPKEY RD                                                                                                NORTH JACKSON         OH 44451‐9788
MENNING, TERESA L             3498 WINTERBERRY DR                                                                                             WEST BLOOMFIELD       MI 48324‐2567
MENNING, THOMAS A             2619 ELIZABETH DR SW                                                                                            WARREN                OH 44481‐9621
MENNING, TOM R                1296 FAIRVIEW AVE                                                                                               SALEM                 OH 44460‐4011
MENNING, VIVIAN C             2122 BENJAMIN FRANKLIN PKWY                                                                                     EDINBURG              PA 16116‐5404
MENNINGA, DAVID G             900 LONG BLVD APT 293                                                                                           LANSING               MI 48911‐6717
MENNINGA, SANDRA L            900 LONG BLVD APT 293                                                                                           LANSING               MI 48911‐6717
MENNINGA, SANDRA LOUISE       900 LONG BLVD APT 293                                                                                           LANSING               MI 48911‐6717
MENNIS, DOROTHY               7006 YARMY DR                                                                                                   SWARTZ CREEK          MI 48473
MENNITT JR, DONALD R          6769 STONEGATE DR                                                                                               TEMPERANCE            MI 48182‐2217
MENNITT JR, DONALD ROBERT     6769 STONEGATE DR                                                                                               TEMPERANCE            MI 48182‐2217
MENNO ARTHUR KLASSEN          C/O MOTLEY RICE LLC                28 BRIDGESIDE BLVD           PO BOX 1792                                     MT PLEASANT           SC 29465
MENNO VANDER VEEN
MENNONITE DISASTER SERVICES   1018 MAIN ST                                                                                                    AKRON                PA   17501‐1547
MENNUCCI, DONALD F            34920 MOURNING DOVE LN                                                                                          RICHMOND             MI   48062‐5504
MENO, RONALD P                PO BOX 530                                                                                                      SAHUARITA            AZ   85629‐0530
MENO, VICTOR G                621 CONKEY DR                                                                                                   FENWICK              MI   48834‐9679
MENOCAL CUSTAVE (404336)      ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                                          NEW YORK             NY   10006‐1638
MENOCAL, CUSTAVE              ANGELOS PETER G LAW OFFICE         115 BROADWAY FRNT 3                                                          NEW YORK             NY   10006‐1638
MENOMINEE, LARRY B            710 W 25TH AVE                                                                                                  SAULT SAINTE MARIE   MI   49783‐9307
MENON BEARINGS LTD            10849 WINDERMERE BLVD                                                                                           FISHERS              IN   46037‐8986
MENON BEARINGS LTD            GI MIDC KOLHAPUR 416234                                                                 KOLHAPUR 416234 INDIA
MENON BEARINGS LTD            G1 MIDC GOKUL SHIRGAON                                                                  KOLHAPUR MAHARASHT IN
                                                                                                                      416234 INDIA
MENON JAYKUMAR                2917 BRANDON RD                                                                                                 COLUMBUS             OH   43221‐3338
MENON SANDEEP U               45217 DEEPWOOD COURT                                                                                            SHELBY TWP           MI   48317‐4983
MENON, BALRAJ V               3712 GREEN OAK CT                                                                                               BALTIMORE            MD   21234‐4259
MENON, BALRAJ VIJAYAN         3712 GREEN OAK CT                                                                                               BALTIMORE            MD   21234‐4259
MENON, HARI G                 1422 BURHAVEN DR                                                                                                ROCHESTER HILLS      MI   48306‐3708
MENON, NARAYANAN P            1936 HUNTERS RIDGE DR                                                                                           BLOOMFIELD HILLS     MI   48304‐1036
MENON, PREM C                 23819 TOSCANA DR                                                                                                VALENCIA             CA   91354‐3016
MENON, SANDEEP U              45217 DEEPWOOD CT                                                                                               SHELBY TOWNSHIP      MI   48317‐4983
MENORCA INTERNATIONAL LTD     C/O MERRILL LYNCH INTERNATIONAL BANK ATTENTION TAU DEPARTMENT   2 RAFFLES LINK MARINA   SINGAPORE 039392
                              LIMITED                                                         BAYFRONT
MENOSKY MARISSA               MENOSKY, MARISSA                     4280 ALISON AVENUE                                                         ERIE                 PA   16506‐6160
MENOSKY, ALLEN L              5510 NEWBERRY RD                                                                                                DURAND               MI   48429‐9172
MENOSKY, GERALDINE L          3385 W WESTERN RESERVE RD                                                                                       CANFIELD             OH   44406‐9127
MENOSKY, MARIE J              136 EASTMAN                                                                                                     MONTROSE             MI   48457‐9156
MENOSKY, MARISSA              4280 ALISON AVE                                                                                                 ERIE                 PA   16506‐6160
MENOSKY, MICHAEL J            409 S STUMP TAVERN RD                                                                                           JACKSON              NJ   08527‐3312
MENOSKY, MICHAEL J            521 CHAMBERLAIN ST                                                                                              FLUSHING             MI   48433‐1619
MENS 3/4 HOUSE                ATTN: JIM COLLINS                    123 UNIVERSITY DR                                                          PONTIAC              MI   48342‐2361
MENS, MICHAEL K               5708 FOX HUNT DR                                                                                                ARLINGTON            TX   76017‐4558
MENS, MICHAEL KWATENG         5708 FOX HUNT DR                                                                                                ARLINGTON            TX   76017‐4558
MENSAH DARRYL                 84 BROWN ST                                                                                                     PAWTUCKET            RI   02860‐3652
MENSAH, ELISA                 2324 164TH ST E                                                                                                 TACOMA               WA   98445‐4518
MENSCH, JAMES F               52 AMBLESIDE DR                                                                                                 LOCKPORT             NY   14094‐3424
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Name                            Address1                          Address2                   Address3   Address4         City              State Zip
MENSCH, JOHN A                  8673 E B AVE                                                                             RICHLAND           MI 49083‐9524
MENSCH, KENNETH H               31690 60TH ST                                                                            BANGOR             MI 49013‐9527
MENSCH, SHARON K                8673 E B AVE                                                                             RICHLAND           MI 49083‐9524
MENSER, GAINES D                11453 N 300 W‐90                                                                         MARKLE             IN 46770‐9500
MENSHON, BEVERLY J              124 MINARD ST                                                                            LOCKPORT           NY 14094‐4806
MENSING, DENNIS F               660 N 10TH ST                                                                            BREESE              IL 62230‐1143
MENSING, GERALD E               11401 ORCHARD DR                                                                         RAPID CITY         MI 49676‐9604
MENSING, MARYANNE               4126 COLTER DR                                                                           KOKOMO             IN 46902‐4494
MENSINGER, EDWARD T             812 MILL ST                                                                              LINCOLN PARK       MI 48146‐2738
MENSINGER, GARY L               116 LAUREL LN                                                                            WILMINGTON         DE 19804‐2326
MENSINGER, HARVEY               2874 S DOCKSIDE DR                                                                       AVON PARK          FL 33825‐6008
MENSINGER, HARVEY E             22 THOMAS PL                                                                             LEVITTOWN          PA 19057‐3820
MENSINGER, JAMES A              22 SENTRY LN                                                                             NEWARK             DE 19711‐6952
MENSINGER, JAMES AARON          22 SENTRY LN                                                                             NEWARK             DE 19711‐6952
MENSINGER, JOAN M               1531 INDIAN MEADOWS DR                                                                   FRANKLIN           TN 37064‐9623
MENSINGER, MARIANNE M           47 IDLEWILD RD                                                                           LEVITTOWN          PA 19057‐2204
MENSINGER, MICHAEL T            1531 INDIAN MEADOWS DR                                                                   FRANKLIN           TN 37064‐9623
MENSIOR, HAROLD R               816 ESTHER LN                                                                            MURFREESBORO       TN 37129‐5536
MENSOR CORPORATION              201 BARNES ST                                                                            SAN MARCOS         TX 78666‐5994
MENTALEWICZ JR, JOSEPH J        15919 LEONARD RD                                                                         SPRING LAKE        MI 49456‐2143
MENTALEWICZ, ANTOINETTE         1250 LAMONT AVE NW                                                                       GRAND RAPIDS       MI 49504‐2413
MENTE JR, DAN J                 116 NOSTRAND RD                                                                          HILLSBOROUGH       NJ 08844‐4280
MENTE JR, FREDERICK J           5204 MAGNOLIA DR # B                                                                     LOCKPORT           NY 14094‐6814
MENTE, MARY T                   5204 MAGNOLIA DR # B                                                                     LOCKPORT           NY 14094‐6814
MENTEER, DAVID M                1784 MADISON #229                                                                        FREDERICKTOWN      MO 63645
MENTEER, ROBERT P               3828 MADISON 208                                                                         FREDERICKTOWN      MO 63645‐8472
MENTEL, GEORGE J                3283 MORAN RD                                                                            BIRCH RUN          MI 48415‐9068
MENTEL, JOSEPH J                30 SCHULTZ RD                                                                            WEST SENECA        NY 14224‐2516
MENTEL, JOSEPH P                30 SCHULTZ RD                                                                            WEST SENECA        NY 14224‐2516
MENTEL, MARIE N                 2921 FLATBUSH PLACE                                                                      GREEN CV SPGS      FL 32043‐7004
MENTEL, ROBERT C                C/O GOLDENBERG HELLER ANTOGNOLI   2227 S STATE RTE 157                                   EDWARDSVILLE        IL 62025
                                AND ROWLAND P C
MENTEL, RONALD J                6347 CARDINAL CREST DR                                                                   NEW PORT RICHEY   FL   34655‐6008
MENTEL, ROSEMARY L              33066 SUMMERS ST                                                                         LIVONIA           MI   48154‐4184
MENTER RUDIN & TRIVELPIECE PC   308 MALTBIE ST STE 200                                                                   SYRACUSE          NY   13204‐1444
MENTER, DANIEL G                1090 W MOORE RD                                                                          SAGINAW           MI   48601‐9705
MENTER, FRANCIS F               1213 E SLOAN RD                                                                          BURT              MI   48417‐2178
MENTER, KATHLEEN A              1031 STONY POINT RD                                                                      GRAND ISLAND      NY   14072‐2708
MENTESANA, FRANK M              38 PUMPKIN HL                                                                            ROCHESTER         NY   14624‐4471
MENTESSI, ROLAND A              8540 OAKWOOD LN                                                                          N ROYALTON        OH   44133‐2270
MENTH, BARBARA J                256 WOODCREST DR                                                                         AMHERST           NY   14226‐1226
MENTH, DOROTHY M                302 FAIRWAYS BLVD                                                                        WILLIAMSVILLE     NY   14221‐3166
MENTH, JANET M                  RENAISSANCE PLACE APTS            145 ARIELLE CT APT F                                   WILLIAMSVILLE     NY   14221‐1968
MENTH, RONALD K                 184 ROGERS AVE                                                                           TONAWANDA         NY   14150‐5266
MENTHYLENE HARRIS               6351 EDMUND ST                                                                           ROMULUS           MI   48174‐4411
MENTIE HORVATH                  3900 HAMMERBERG RD APT 313                                                               FLINT             MI   48507‐6026
MENTION, LESLIE G               5243 MAPLEWOOD ST                                                                        DETROIT           MI   48204‐3635
MENTIS GEORGE N (505086)        ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                               WILMINGTON        DE   19801‐1813
MENTIS, DORIS J                 2300 W NORWOOD DR                                                                        MUNCIE            IN   47304‐1736
MENTIS, DORIS J                 2300 NORWOOD DRIVE                                                                       MUNCIE            IN   47304‐1736
MENTIS, GEORGE N                ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                               WILMINGTON        DE   19801‐1813
MENTO JR, RUSSELL J             509 4TH AVE                                                                              ALTOONA           PA   16602‐3817
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Name                      Address1                          Address2                      Address3                 Address4         City            State Zip
MENTO, DOLORES            345 N HURON VIEW RD                                                                                       CARSONVILLE      MI 48419‐9730
MENTO, DORIS              8000 BEATTY DR                                                                                            IRWIN            PA 15642
MENTO, JOHN P             PAUL REICH & MYERS PC             1608 WALNUT ST                STE 500                                   PHILADELPHIA     PA 19103‐5446
MENTO, JOSEPH             345 N HURON VIEW RD                                                                                       CARSONVILLE      MI 48419‐9730
MENTO, JOSEPH             2050 SHERWOOD CT                                                                                          ORTONVILLE       MI 48462‐9275
MENTO, MARK M             26 LARBO RD                                                                                               MILLERSVILLE     MD 21108‐1745
MENTO, MARK MICHAEL       26 LARBO RD                                                                                               MILLERSVILLE     MD 21108‐1745
MENTO, NICHOLAS L         1371 LAUREL AVE                                                                                           POMONA           CA 91768‐2908
MENTON, ANNABELL          3071 S BANTAM RD                                                                                          BETHEL           OH 45106‐8308
MENTON, ANNABELL          3071 SOUTH BANTAM RD                                                                                      BETHEL           OH 45106‐8308
MENTON, ARTHUR            417 E JACKSON ST                                                                                          LAKE ORION       MI 48362‐3247
MENTON, LINDA H           117 RIPPLEWATER LN                                                                                        CARY             NC 27518‐9705
MENTON, TIMOTHY           6871 AMES ROAD APT.703T                                                                                   PARMA            OH 44129
MENTOR GROUP INC          PO BOX 99117                                                                                              TROY             MI 48099‐9117
MENTOR GROUP INC          2145 CROOKS RD STE 202            PO BOX 99117                                                            TROY             MI 48084‐5539
MENTOR HOSE RAMPS LIFT    HOOKS DIV FAIRPORT INC            P O BOX 330‐44061 10/30/00    7686 ST CLAIR AVE HOLD                    MENTOR           OH 44060
                                                                                          ADDRES
MENTORIA MITCHELL         PO BOX 502                                                                                                SPENCER         OK   73084‐0502
MENTORING SOLUTIONS       27500 COSGROVE DR                                                                                         WARREN          MI   48092‐3093
MENTUS, PAUL J            63 NORY LN                                                                                                ROCHESTER       NY   14606‐3505
MENTZEL, BILLY J          100 E RIDGEWAY DR APT 209                                                                                 MIDLOTHIAN      TX   76065‐2123
MENTZER JR, CHARLES C     18843 MEDFORD ST                                                                                          BEVERLY HILLS   MI   48025‐3045
MENTZER, DENNIS           3235 ROSEMONT RD                                                                                          NORTH JACKSON   OH   44451‐9778
MENTZER, DONALD E         355598 E 780 RD                                                                                           STROUD          OK   74079‐7000
MENTZER, DOUGLAS F        8309 FOREST COVE DR                                                                                       SHREVEPORT      LA   71107‐9264
MENTZER, JOHN C           4772 SHERWELL DR                                                                                          WATERFORD       MI   48327‐3262
MENTZER, MARLENE          1637 LINDEN TRL                                                                                           KALAMAZOO       MI   49009‐2818
MENTZER, ROBIN E          8309 FOREST COVE DR                                                                                       SHREVEPORT      LA   71107‐9264
MENUARD JR, WALTER        143 VICTORY DR                                                                                            PONTIAC         MI   48342‐2563
MENUEL, CHRISTOPHER D     1297 LEE ANN DR                                                                                           DECATUR         GA   30035‐1045
MENUEY, PATRICIA A        1338 LAFAYETTE AVE NE                                                                                     GRAND RAPIDS    MI   49505‐5044
MENYHART, ERNEST J        8490 FILIFERA CT                                                                                          PORT ST LUCIE   FL   34952‐3351
MENYHART, LESLIE J        44769 N HILLS DR APT 109                                                                                  NORTHVILLE      MI   48167‐6117
MENYHART, THOMAS          PO BOX 373                                                                                                OXFORD          MI   48371‐0373
MENYWEATHERS, ANDREW      109 ROOSEVELT CIR                                                                                         MONROE          LA   71202‐5902
MENYWEATHERS, JACK L      800 UNIVERSITY DR                                                                                         PONTIAC         MI   48342‐1762
MENZ DAVID                20546 NE 32ND CT                                                                                          SAMMAMISH       WA   98074‐4356
MENZ RICHARD W (355272)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA   23510
                                                            STREET, SUITE 600
MENZ, ARTHUR M            2035 N SUMAC DR                                                                                           JANESVILLE      WI   53545‐0505
MENZ, CHARLES N           3745 PAINESVILLE WARREN RD                                                                                SOUTHINGTON     OH   44470‐9730
MENZ, DALLAS W            6386 N SWEDE RD                                                                                           RHODES          MI   48652‐9611
MENZ, DAVID D             16122 HURON CIR                                                                                           LAKEVILLE       MN   55044‐8872
MENZ, HAROLD S            8487 OLD ORCHARD RD SE                                                                                    WARREN          OH   44484‐3048
MENZ, HARRY C             1615 MYRA AVE                                                                                             JANESVILLE      WI   53548‐6600
MENZ, JEFFREY A           1515 S OSBORNE AVE                                                                                        JANESVILLE      WI   53546‐5434
MENZ, LYNNE M             14679 LAKESHORE RD                                                                                        KENT            NY   14477‐9609
MENZ, NANCY A             6655 JACKSON RD LOT 744                                                                                   ANN ARBOR       MI   48103
MENZ, RANDALL A           1091 WINDSOR ST                                                                                           FLINT           MI   48507‐4238
MENZ, RICHARD W           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                             NORFOLK         VA   23510‐2212
                                                            STREET, SUITE 600
MENZ, THERESA D           2189 HARMON AVE                                                                                           NILES           OH 44446‐4237
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Name                     Address1                            Address2           Address3      Address4         City              State Zip
MENZ, THERESA D          2189 HARMON ST                                                                        NILES              OH 44446‐4237
MENZ, TOMMIE S           2016 EAGLE SCHOOL RD                                                                  MARTINSBURG        WV 25404‐0618
MENZ, WILLIAM F          875 HIGHLAND RD                                                                       SHARON             PA 16146‐3440
MENZA JR, ANTHONY        40 MELODY LN                                                                          TONAWANDA          NY 14150‐9106
MENZDORF DOROTHY         5015 COUNTY ROAD 512                                                                  HAMILTON           TX 76531‐3433
MENZE, ANNA K            9821 ECHO HILL DR                                                                     FORT WAYNE         IN 46804‐4050
MENZEL, BETTY M          7821 MILL RD                                                                          GASPORT            NY 14067‐9276
MENZEL, CLARENCE M       1730 GRAND AVE                                                                        SPRING VALLEY      CA 91977‐4332
MENZEL, DALE A           6774 CONRAD RD                                                                        MAYVILLE           MI 48744‐9579
MENZEL, DIXIE LOU        9509 HAIST RD                                                                         BAY PORT           MI 48720‐9723
MENZEL, DOUGLAS M        7840 MILL RD                                                                          GASPORT            NY 14067‐9276
MENZEL, FRANK            4449 HARP DR                                                                          LINDEN             MI 48451‐9040
MENZEL, GARY P           7832 MILL RD                                                                          GASPORT            NY 14067‐9276
MENZEL, JAMES R          6610 FRENCH RD                                                                        UNIONVILLE         MI 48767‐9779
MENZEL, JOSEPHINE E      91 KIRKLAND DR                                                                        WEBSTER            NY 14580‐1848
MENZEL, JOSEPHINE E      91 KIRKLAND DRIVE                                                                     WEBSTER            NY 14580‐1848
MENZEL, KLAUS G          22537 E 11 MILE RD                                                                    ST CLAIR SHRS      MI 48081‐1385
MENZEL, MARY A           N 8300 DEADWOOD BEACH RD                                                              FOND DU LAC        WI 54935‐9513
MENZEL, RICHARD J        11 EAST AVE                                                                           MIDDLEPORT         NY 14105‐1102
MENZEL, THERESA W        11 EAST AVE                                                                           MIDDLEPORT         NY 14105‐1102
MENZEL, VARIOUS B        5125 PALM SPRINGS BLVD UNIT 12105                                                     TAMPA              FL 33647‐5037
MENZER AUTO SUPPLY       1004 ONTARIO AVE                                                                      SHEBOYGAN          WI 53081‐3928
MENZER AUTO SUPPLY                                           1004 ONTARIO AVE                                                     WI 53081
MENZER, DARLENE D        1443 NW PINE CREEK AVE                                                                ARCADIA            FL 34266‐5404
MENZER, MICHAEL M        5306 DURFEE RD                                                                        EATON RAPIDS       MI 48827‐8909
MENZIE BOYKINS JR        6968 LEXINGTON DR                                                                     WEST BLOOMFIELD    MI 48322‐2966
MENZIE PUSATERI          5113 EDGEWATER CT                                                                     PLAINFIELD          IL 60586‐5871
MENZIE, ALICE            5 CHETWOOD CT                                                                         HILLSBOROUGH       NJ 08844‐1427
MENZIE, ELIZABETH L      12 BREEZY DR                                                                          ERWINNA            PA 18920‐9209
MENZIE, IVY L            641 S 27TH ST                                                                         SAGINAW            MI 48601‐6539
MENZIE, REGGIONAL A      2424 HEMPSTEAD RD                                                                     AUBURN HILLS       MI 48326‐3410
MENZIE, ROBERT A         1497 NICHOLAS LN                                                                      CHARLOTTE          MI 48813‐8786
MENZIES, ARCHIBALD       1301 RECREATION DR                                                                    GLADWIN            MI 48624‐8025
MENZIES, FLOYD A         106 CORRAL ST                                                                         HOUGHTON LAKE      MI 48629‐9133
MENZIES, HOWARD J        8200 E 103RD TER                                                                      KANSAS CITY        MO 64134‐2101
MENZIES, JAMES E         2290 MAPLE CT                                                                         XENIA              OH 45385‐9550
MENZIES, JEANNINE        2290 MAPLE CT                                                                         XENIA              OH 45385‐9550
MENZIES, JOSEPH B        3304 BROMPTON CT                                                                      ROCHESTER HLS      MI 48309‐4342
MENZIES, MICHAEL         1411 BAINBRIDGE ST,APT 216                                                            RICHMOND           VA 23224‐2081
MENZIES, MICHAEL         PO BOX 975                                                                            RICHMOND           VA 23218
MENZIES, ROBERT H        3703 HUNTLEY RD                                                                       SAGINAW            MI 48601‐5136
MENZIES, ROOSEVELT       3246 LEXINGTON DR                                                                     SAGINAW            MI 48601‐4569
MENZIES, STEWART N       11539 FARMHILL DR                                                                     FENTON             MI 48430‐2531
MENZIES, THOMAS J        3700 BARBERRY CIR                                                                     WIXOM              MI 48393‐1102
MENZING I I, FORREST J   9512 LINDEN RD                                                                        SWARTZ CREEK       MI 48473‐9143
MENZING II, FORREST J    9512 LINDEN RD                                                                        SWARTZ CREEK       MI 48473‐9143
MENZIO CARLO             PIAZZA SILVIO PELLICO 21            10023              CHIERI TO
MENZL, WILLIAM I         217 S ADAMS ST                                                                        SAGINAW           MI   48604‐1301
MENZO DODGE III          2214 DELWOOD DR                                                                       CLIO              MI   48420‐9114
MENZO E DODGE III        2214 DELWOOD DR                                                                       CLIO              MI   48420‐9114
MEO, JOSEPH S            3145 NORTHWEST DR                                                                     SAGINAW           MI   48603‐2333
MEOAK JR, GEORGE D       2312 PERO LAKE RD                                                                     LAPEER            MI   48446‐9075
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Name                            Address1                           Address2                           Address3   Address4               City              State Zip
MEOAK, JOHN R                   3919 TRAILWOOD DR                                                                                       OKEMOS             MI 48864‐3742
MEOAK, RICHARD W                7562 SETTERS POINTE DR                                                                                  BRIGHTON           MI 48116‐6705
MEOLDY A MCGINNESS              RONALD MCGINNESS JR                114 BROOKS AVE                                                       BAYVILLE           NJ 08721
MEOLI, CAROLYN
MEONI'S AUTO                    27 HILLTOP DR                                                                                           SCOTT TOWNSHIP    PA   18447‐7621
MEOSHEE EDWARDS                 19755 DAMMAN ST                                                                                         HARPER WOODS      MI   48225‐1778
MEPHAM, DAVID L                 9960 N WINANS RD                                                                                        ALMA              MI   48801‐9619
MEPHAM, KEVIN P                 #5                                 8810 CRYSTAL DRIVE                                                   OVID              MI   48866‐7600
MEPHAM, LARRY E                 4031 S STATE RD                                                                                         ITHACA            MI   48847‐9637
MERACLE, JEFFREY A              6703 CYPRESS CT                                                                                         CRYSTAL LAKE      IL   60012‐3205
MERAGLIO, ANNA M                9024 DEL RIO DR                                                                                         GRAND BLANC       MI   48439‐8383
MERAGLIO, DAVID A               609 GRANT ST                                                                                            FENTON            MI   48430‐2056
MERAGLIO, MIRIAM                3457 BRIARWOOD LN                                                                                       YOUNGSTOWN        OH   44511‐2508
MERAISAN AUTO PARTS             9289 WOODBRIDGE                                                                                         ZEELAND           MI   49464
MERAMEC TIRE CENTER             635 E SPRINGFIELD RD                                                                                    SULLIVAN          MO   63080‐1347
MERANA, ZACHARY J               146 BONNIE BRAE AVE NE                                                                                  WARREN            OH   44483‐5209
MERANDA GENEVA                  120 MAGNOLIA DR                                                                                         SCOTTSBURG        IN   47170‐5938
MERANDA, AMY E
MERANDA, DAVID L                11301 E COUNTY ROAD 350 N                                                                               ALBANY            IN   47320‐9745
MERANDA, FAY E                  4116 LAKEWOOD CT                                                                                        CLAYTON           IN   46118‐9370
MERANDA, PHYLLIS C              9663 W WINDSOR RD                                                                                       FARMLAND          IN   47340
MERANDA, ROBERT E               4116 LAKEWOOD CT                                                                                        CLAYTON           IN   46118‐9370
MERANDA, WILLIAM H              1831 S 450 E                                                                                            ANDERSON          IN   46017‐9735
MERANDI, JOSEPH P               52832 FLORENCE DR                                                                                       SHELBY TOWNSHIP   MI   48315‐2079
MERANDO, GUY A                  21610 FAIRMOUNT RD                                                                                      LEAVENWORTH       KS   66048
MERANT PLC
MERANT PLC                      JENNIFER A. ALBERT                 1050 CONNECTICUT AVE., N.W.                                          WASHINGTON        DC   20036
MERANTO CYNTHIA                 1964 MAY RD                                                                                             MOGADORE          OH   44260‐9314
MERARI BEN‐YISRAEL              8592 REGENT STREET                                                                                      JONESBORO         GA   30238‐7050
MERAVY, MARIE                   172 BEEKMAN AVE                                                                                         SLEEPY HOLLOW     NY   10591
MERAZ, EDMUNDO                  847 W KNOWLES CIR                                                                                       MESA              AZ   85210‐6758
MERAZ, JESUS                    7426 W 62ND ST                                                                                          SUMMIT            IL   60501‐1608
MERBACH JAMES                   1548 3 LAKES DR                                                                                         TROY              MI   48085‐1430
MERBACH, JAMES                  1548 3 LAKES DR                                                                                         TROY              MI   48085‐1430
MERBANCO INC/MERCANO LLC ATT:   2784 TETON PINES DRIVE, STE F‐11                                                                        WILSON            WY   83014
CHRISTOPHER JOHNSTON
MERCADANTE, DALE                88 SYLVAN LAKE BLVD                                                                                     BAYVILLE          NJ 08721‐1937
MERCADANTE, FRANCESCO           590 CHARLES DR                                                                                          N HUNTINGDON      PA 15642‐1986
MERCADO GERMAN (453988)         CLIMACO LEFKOWITZ PECA WILCOX &    1228 EUCLID AVE , HALLE BLDG 9TH                                     CLEVELAND         OH 44115
                                GAROFOLI                           FL
MERCADO, ADELA                  MARIANO ARCE #44                   COL SAN JAVIER                                QUERETARO ORO MEXICO
                                                                                                                 76020
MERCADO, ANGEL J                136 WENDY LN                                                                                            FITZGERALD        GA   31750
MERCADO, ANITA E                2417 SE 45TH ST                                                                                         OKLAHOMA CITY     OK   73129‐8601
MERCADO, ANTONIO                2744 EDGEVALE DR                                                                                        WATERFORD         MI   48329
MERCADO, CARMEN L               6 ROBART ST                                                                                             WEST HAVEN        CT   06516‐1217
MERCADO, DOMINICK               600 STEEPLE RUN                                                                                         ROSWELL           GA   30075‐2194
MERCADO, DORA                   227 STUYVESANT AVE                                                                                      NEWARK            NJ   07106‐3017
MERCADO, EDWARD C               2725 SHERWOOD PL                                                                                        RENO              NV   89509‐2239
MERCADO, ELSA R                 2831 MAY ST                        C/O BERNICE MACKEY                                                   PORTAGE           IN   46368‐3905
MERCADO, ENILDA P               753 CALLE TAUTO                                                                                         MAYAQUEZ          PR   00682‐1503
MERCADO, ENILDA P               753 CALLE TAURO                                                                                         MAYAGUEZ          PR   00682‐1546
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Name                               Address1                          Address2                          Address3            Address4         City              State Zip
MERCADO, ERNIE
MERCADO, FRANCISCO A               4561 PALM MESA DR                                                                                        LAS VEGAS         NV 89120‐4246
MERCADO, GENEVIEVE A               1187 WEAVER FARM LN                                                                                      SPRING HILL       TN 37174‐2186
MERCADO, GERMAN                    CLIMACO LEFKOWITZ PECA WILCOX &   1228 EUCLID AVE, HALLE BLDG 9TH                                        CLEVELAND         OH 44115
                                   GAROFOLI                          FL
MERCADO, GUADALUPE                 3867 HAVEN AVE                                                                                           FREMONT           CA    94538‐5544
MERCADO, JOSEPH E                  985 TILLSON DR                                                                                           ZIONSVILLE        IN    46077‐9472
MERCADO, LIVIER                    13417 BEAVER ST                                                                                          SYLMAR            CA    91342‐2334
MERCADO, LOUIS C                   2801 W 2ND ST                                                                                            WILMINGTON        DE    19805‐1806
MERCADO, MAURILLO R                10606 HASKELL AVE                                                                                        GRANADA HILLS     CA    91344‐7140
MERCADO, OSCAR                     3809 PALISADE AVE APT 2                                                                                  UNION CITY        NJ    07087‐4836
MERCADO, ROBERT                    160 HERSHEY BOULEVARD                                                                                    WATERFORD         MI    48327‐2566
MERCADO, ROBERT                    1431 AIRWAY                                                                                              WATERFORD         MI    48327‐1824
MERCADO, ROBERT M                  724 N VERMONT AVE                                                                                        ROYAL OAK         MI    48067‐5102
MERCADO, VICTOR                    1628 N NORDICA AVE                                                                                       CHICAGO           IL    60707‐4317
MERCADO‐LACHMANN, BETH             1326 E HORSESHOE BEND DR                                                                                 ROCHESTER HILLS   MI    48306‐4140
MERCANDINO, JANET S                6338 DOWNS RD NW                                                                                         WARREN            OH    44481‐9462
MERCANDINO, TERRY A                6338 DOWNS RD NW                                                                                         WARREN            OH    44481‐9462
MERCANTILE ADJUSTMENT BUREAU       PO BOX 9016                                                                                              WILLIAMSVILLE     NY    14231‐9016
MERCANTILE BANK OF ST LOUIS        NA L STABLEY CORP TRUST DEPT      PO BOX 321 TRAM 17 3                                                   SAINT LOUIS       MO    63166
MERCANTILE BANK OF WEST MICHIGAN   N/A                               310 LEONARD ST NW                                                      GRAND RAPIDS      MI    49504

MERCANTILE BK OF ST LOUIS NA       ACCT 24333DT C/O S BASON          PO BOX 321                        CORP TR DEPT 17‐3                    SAINT LOUIS       MO    63166‐0321
MERCANTILE PARTNERS                2650 MEACHAM BLVD                                                                                        FORT WORTH        TX    76137‐4203
MERCANTILE TITLE AGENCY INC        C\O L SMITH DINSMORE & SHOHL      255 E 5TH ST 1900 CHEMED                                               CINCINNATI        OH    45202
MERCANTINI, ROBERT L               4 SPRUCE CT                                                                                              TRENTON           NJ    08610‐2245
MERCANTINI, SUSAN N                4 SPRUCE CT                                                                                              TRENTON           NJ    08610‐2245
MERCANTINI, SUSAN N                4 SPRUCE COURT                                                                                           TRENTON           NJ    08610
MERCATANTE, DOUGLAS P              9940 TIOGA TRL                                                                                           PINCKNEY          MI    48169‐8185
MERCATANTE, FRANK L                3021 KALAMAZOO AVE SE                                                                                    GRAND RAPIDS      MI    49508‐1461
MERCATANTI, ROSE M                 116 KINO BLVD                                                                                            TRENTON           NJ    08619‐1427
MERCATUS CENTER INC                3301 NORTH FAIRFAX DR STE 450                                                                            ARLINGTON         VA    22201
MERCAUTO, CARMINE A                63 HIGHLAND AVE                                                                                          WINCHESTER        MA    01890‐1407
MERCEA GEORGE                      17350 MAYFIELD ST                                                                                        LIVONIA           MI    48152‐4420
MERCEA, ROBERT L                   30426 BARKLEY ST                                                                                         LIVONIA           MI    48154‐3638
MERCED COUNTY TAX COLLECTOR        2222 M ST                                                                                                MERCED            CA    95340‐3729
MERCED GONZALEZ                    6516 33RD ST                                                                                             BERWYN            IL    60402‐3738
MERCED SYSTEMS INC                 333 TWIN DOLPHIN DR                                                                                      REDWOOD CITY      CA    94065
MERCED SYSTEMS INC                 MARK SELCOW                       333 TWIN DOLPHIN DRIVE                                                 REDWOOD CITY      CA    94065
MERCEDES APONTE                    39 CAPRI DR                                                                                              ROCHESTER         NY    14624‐1358
MERCEDES BENZ OF NOVI              39500 GRAND RIVER AVE                                                                                    NOVI              MI    48375‐2102
MERCEDES CASTILLO                  3 FEENEY RD                                                                                              OSSINING          NY    10562‐2611
MERCEDES CHINCHOR                  849 OAKVILLE ST                                                                                          HOMESTEAD         PA    15120‐2931
MERCEDES CLEMONS                   7 MISTY FALLS DR                                                                                         ORMOND BEACH      FL    32174‐9175
MERCEDES FERNANDEZ                 1365 MARYBELLE AVE                                                                                       SAN LEANDRO       CA    94577‐2317
MERCEDES FOL                       1054 SEWARD AVE                                                                                          WESTFIELD         NJ    07090‐3514
MERCEDES GLICKMAN                  3225 WINDMILL POINT BOULEVARD                                                                            KISSIMMEE         FL    34746‐3529
MERCEDES JOHNSON                   1308 WILLINGHAM DR                                                                                       SAINT LOUIS       MO    63121‐1119
MERCEDES LANG                      PO BOX 258                        300 E FRONT ST                                                         WAUZEKA           WI    53826‐0258
MERCEDES LOPEZ                     PO BOX 715                                                                                               SLEEPY HOLLOW     NY    10591‐0715
MERCEDES MARTINEZ                  2 PINE ST                                                                                                CARTERET          NJ    07008‐2117
MERCEDES MENDEZ                    4600 VELL RD                                                                                             AUBURN            CA    95603
                                     09-50026-mg              Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                                   Exhibit B
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Name                                 Address1                            Address2                        Address3                  Address4                City                State Zip
MERCEDES MICHEL                      420 W 25TH ST APT 3B                                                                                                  NEW YORK             NY 10001‐6550
MERCEDES MILLER                      9445 TILMONT ST                                                                                                       PICO RIVERA          CA 90660‐1841
MERCEDES MONICO                      PO BOX 14                                                                                                             W WARDSBORO          VT 05360‐0014
MERCEDES MONK                        4457 STONES RIVER RD                                                                                                  GRAND PRAIRIE        TX 75052‐1631
MERCEDES NICHOLS                     310 GRANGER RD                                                                                                        WAYLAND              NY 14572‐1124
MERCEDES ORTIZ                       7091 N DELTONA BLVD                                                                                                   CITRUS SPRINGS       FL 34434‐8005
MERCEDES PATT                        1975 LAKE RD                                                                                                          HAMLIN               NY 14464‐9513
MERCEDES PENA                        819 W 180THE STREET #41                                                                                               NEW YORK             NY 10033
MERCEDES PUENTE                      920 RIVERSIDE DR APT 56                                                                                               NEW YORK             NY 10032‐5468
MERCEDES RAMON                       14777 COUNTY ROAD 163                                                                                                 DEFIANCE             OH 43512‐9322
MERCEDES SALZARULO                   15 CARPENTER ST APT B2                                                                                                HARTFORD             CT 06106‐2009
MERCEDES SCHUE                       2835 COLORADO AVE                                                                                                     LORAIN               OH 44052‐2901
MERCEDES SMITH                       2599 WILLIAMSBURG DR                                                                                                  DECATUR              GA 30034‐1351
MERCEDES VITE                        232 LONE STAR PLACE                                                                                                   EL PASO              TX 79907
MERCEDES WELLS                       550 S JEFFERSON ST APT 208                                                                                            MUNCIE               IN 47305‐2564
MERCEDES, DANA                       2321 PITT ST                                                                                                          ANDERSON             IN 46016‐4649
MERCEDES‐BENZ HYBRID LLC             ATTN: EXECUTIVE VICE PRESIDENT,     800 CHRYSLER DR                 CIMS 484‐14‐16                                    AUBURN HILLS         MI 48326‐2757
                                     PRODUCT DEVELOPMENT
MERCEDES‐BENZ HYBRID LLC             800 CHRYSLER DR                                                                                                       AUBURN HILLS        MI 48326‐2757
MERCEDES‐BENZ HYBRID LLC             EXECUTIVE DIRECTOR, HYBRID          1870 TECHNOLOGY DR              CIMS 526‐00‐00, TROY                              TROY                MI 48083‐4232
                                     DEVELOPMENT CENTER                                                  TECHNOLOGY PARK SOUTH
MERCEDES‐BENZ HYBRID LLC             1870 TECHNOLOGY DR                  CIMS 526‐00‐00, TROY TECHNOLOGY                                                   TROY                MI 48083‐4232
                                                                         PARK SOUTH
MERCEDES‐BENZ HYBRID LLC             ATTN: EXECUTIVE DIRECTOR, HYBRID    1870 TECHNOLOGY DR              CIMS 526‐00‐00                                    TROY                MI 48083‐4232
                                     POWERTRAIN PROGRAMS
MERCEDES‐BENZ HYBRID LLC             DR NEIL ARMSTRONG                   MERCEDES‐BENZ HYBRID LLC        12120 TELEGRAPH ROAD                              REDFORD             MI 48239
MERCEDES‐BENZ HYBRID, LLC            BOARD MEMBER                        BUILDING 1, ROOM 808            EPPLESTRASSE 225          STUTTGART 70567
                                                                                                                                   GERMANY
MERCEDES‐BENZ US INTERNATIONAL INC   C/O BURR FOREMAN                    420 20TH ST N STE 3400          ATTN JENNIFER KIMBLE                              BIRMINGHAM           AL   35203‐5210

MERCEDS‐BENZ HYBRID LLC              EXECUTIVE VICE PRESIDENT, PRODUCT   800 CHRYSLER DR                 CIMS 484‐14‐16                                    AUBURN HILLS        MI 48326‐2757
                                     DEVELOPMENT
MERCEL, DOROTHY M                    8588 TRIONFO AVE.                                                                                                     NORTH PORT          FL    34287‐1633
MERCER                               462 S 4TH ST STE 1100                                                                                                 LOUISVILLE          KY    40202‐3408
MERCER                               ATTN: DIANE YELLIN                  1717 ARCH ST FL 27                                                                                    PA    19103‐2723
MERCER (CONSULTING)                  PETER CHINGOS                       600 RENAISSANCE CTR STE 1800                                                      DETROIT             MI    48243‐1811
MERCER (DATA)                        BARBARA ALLUSHUSKI                  600 RENAISSANCE CTR STE 1800                                                      DETROIT             MI    48243‐1811
MERCER BARBARA                       1264 W 950 S                                                                                                          PENDLETON           IN    46064‐9364
MERCER BUCKS ORTHOPA                 PO BOX 848228                                                                                                         BOSTON              MA    02284‐8228
MERCER CARPENTER                     12634 NICHOLS RD                    PO BOX 14                                                                         BURT                MI    48417‐2392
MERCER CNTY DOMESTIC REL SECT        ACCT OF JEFFREY A OSTHEIMER         PO BOX 46                                                                         MERCER              PA    16137‐0046
MERCER CNTY DOMESTIC RELATIONS       ACCT OF ROBERT J FRITCH             PO BOX 46                                                                         MERCER              PA    16137‐0046
MERCER CNTY DOMESTIC RELATIONS       ACCT OF HOWARD W COLES              PO BOX 46                       FILE # 313 834 DR# 1991                           MERCER              PA    16137‐0046
MERCER COUNTY COMMUNITY COLL         ACCOUNTING DEPARTMENT               PO BOX B                                                                          TRENTON             NJ    08690‐0182
MERCER COUNTY SHERIFF                PO BOX 126                                                                                                            HARRODSBURG         KY    40330‐0126
MERCER COUNTY TREASURER              COURTHOUSE SQUARE, ROOM 201         101 NORTH MAIN STREET                                                             CELINA              OH    45822
MERCER COUNTY TREASURER              101 N MAIN ST RM 201                                                                                                  CELINA              OH    45822‐1743
MERCER CTY PROBATION DEPT            ACCOUNT OF WILLIAM N HOFFMANN       PO BOX 8068                     612 S BROAD                                       TRENTON             NJ    08650‐0068
MERCER DARDEN                        2010 HARTLAND RD                                                                                                      FRANKLIN            TN    37069‐6406
MERCER DEREK                         145 BROKEN POTTERY DR                                                                                                 PONTE VEDRA BEACH   FL    32082‐4204
MERCER EVERETT                       1168 DEE KENNEDY RD                                                                                                   AUBURN              GA    30011‐2603
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Name                               Address1                           Address2                        Address3   Address4            City           State Zip
MERCER GROUP INTERNATIONAL OF      1519 REV S HOWARD WOODSON JR WAY                                                                  TRENTON         NJ 08638‐4019

MERCER HELEN                     2849 APPALACHEE TRL                                                                                 MARIANNA       FL 32446‐5184
MERCER HUMAN RESOURCE CONSLT     462 S 4TH ST STE 1500                                                                               LOUISVILLE     KY 40202‐3431
MERCER HUMAN RESOURCE CONSULTING 3475 PIEDMONT RD NE STE 800                                                                         ATLANTA        GA 30305‐2886

MERCER HUMAN RESOURCE CONSULTING 600 RENAISSANCE CTR STE 1800                                                                        DETROIT        MI 48243‐1811

MERCER HUMAN RESOURCE CONSULTING 1166 AVENUE OF THE AMERICAS                                                                         NEW YORK       NY 10036

MERCER HUMAN RESOURCE CONSULTING 111 MONUMENT CIR STE 4300                                                                           INDIANAPOLIS    IN   46204‐5143
INC
MERCER HUMAN RESOURCES CONSULTING ATTN: DARRELL CIRA                  20, RUE FRANCOIS‐PERREARD                  GENEVA 1225
SA                                                                                                               SWITZERLAND
MERCER III, AARON L               16747 HIGHLAND SUMMIT DR                                                                           WILDWOOD       MO 63011‐5421
MERCER JAMES W (350429)           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                    NORFOLK        VA 23510
                                                                      STREET, SUITE 600
MERCER JOHN (446317)               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD     OH 44067
                                                                      PROFESSIONAL BLDG
MERCER JR, AARON L                 162 AMEREN WAY APT 408                                                                            BALLWIN        MO    63021‐3320
MERCER JR, CHARLES W               8 MIMARCHELLE DR                                                                                  ROCKMART       GA    30153
MERCER JR, DONNEL                  4709 BUTTERFIELD RD                                                                               ARLINGTON      TX    76017‐1001
MERCER JR, ROBERT L                1708 NATIVE DANCER DR                                                                             HELENA         AL    35080‐4148
MERCER JR, RONALD L                3878 VAN ATTA RD                                                                                  OKEMOS         MI    48864‐3129
MERCER JR, THOMAS C                5676 OVERBROOK CT                                                                                 ANN ARBOR      MI    48105‐9342
MERCER KENNETH RAYBURN             C/O EDWARD O MOODY P A             801 W 4TH ST                                                   LITTLE ROCK    AR    72201
MERCER MEDICAL                     PO BOX 5610                                                                                       PRINCETON WV   WV    24740‐5610
MERCER ROBERT                      130 RUE MANDELEINE ST                                                                             WILMINGTON     DE    19807‐1214
MERCER ROBERT                      MERCER, ROBERT                     306 WESTRIDGE DR                                               BURLINGTON     NC    27215‐8117
MERCER TRANSPORTATION CO           PO BOX 35610                       12TH& MAIN ST                                                  LOUISVILLE     KY    40232‐5610
MERCER TRANSPORTATION CO, INC      1128 W MAIN ST                     PO BOX 35610                                                   LOUISVILLE     KY    40203‐1432
MERCER UNIVERSITY                  3001 MERCER UNIVERSITY DR          OFFICE OF ENROLLMENT SERVICES                                  ATLANTA        GA    30341‐4115

MERCER UNIVERSITY OFFICE OF THE    1400 COLEMAN AVE                                                                                  MACON          GA 31207‐0001
BURSAR
MERCER UNIVERSITY OFFICE OF THE    1400 COLEMAN DR                                                                                   MACON          GA 31207‐0001
BURSAR
MERCER US INC                      111 MONUMENT CIR STE 4300                                                                         INDIANAPOLIS   IN    46204‐5143
MERCER USA INC                     1166 AVE OF THE AMERICAS                                                                          NEW YORK       NY    10036
MERCER VIKKI                       118 LIVINGSTON DR                                                                                 GOLDSBORO      NC    27530‐9021
MERCER, ALVIN R                    1264 W 950 S                                                                                      PENDLETON      IN    46064‐9364
MERCER, ANTHONY G                  13500 SE WINDECKER RD                                                                             EDGERTON       MO    64444‐9616
MERCER, BARBARA J                  680 ALEXANDRIA LANE                                                                               WINTERVILLE    NC    28590‐9445
MERCER, BETTY                      PORTER & MALOUF PA                 4670 MCWILLIE DR                                               JACKSON        MS    39206‐5621
MERCER, BEVERLY A                  5175 LEIX RD                                                                                      MAYVILLE       MI    48744‐9777
MERCER, BEVERLY ANN
MERCER, BILLY R                    6445 E STATE ROAD 218                                                                             LA FONTAINE    IN    46940‐9224
MERCER, BRANDON M                  7435 SHELL FLOWER APT 7                                                                           LANSING        MI    48917‐7618
MERCER, CALVIN W                   514 WELCOME WAY                                                                                   ANDERSON       IN    46013‐1166
MERCER, CARL M                     2015 BRICKTON STA                                                                                 BUFORD         GA    30518‐6031
MERCER, CARLTON L.                 3491 SOUTH NINE ROAD                                                                              HARRIETTA      MI    49638‐9707
MERCER, CARLTON L.                 3491 S 9 RD                                                                                       HARRIETTA      MI    49638‐9707
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Name                      Address1                           Address2                      Address3   Address4         City                 State Zip
MERCER, CARMIE            58 NEWFIELD DRIVE                                                                            ROCHESTER             NY 14616‐3042
MERCER, CHARLES           1684 HEARN LN                                                                                VAN ALSTYNE           TX 75495‐8168
MERCER, CHARLES W         8 MIMARCHELLE DR                                                                             ROCKMART              GA 30153‐1518
MERCER, CLARA             21207 NW 167 PL                                                                              HIGH SPRINGS          FL 32643‐6823
MERCER, CLARA             21207 NW 167TH PL                                                                            HIGH SPRINGS          FL 32643‐6823
MERCER, CLARE H           1544 KINNEY DR                                                                               ESSEXVILLE            MI 48732‐1910
MERCER, CLARENCE G        5383 BARONNE ST                                                                              WHITE LAKE            MI 48383
MERCER, CLIFFORD J        4001 ANDERSON RD UNIT S161                                                                   NASHVILLE             TN 37217
MERCER, DALE E            204 NE BRISTOL CT                                                                            LEES SUMMIT           MO 64086‐6346
MERCER, DALE I            2524 W 1000 S                                                                                PENDLETON             IN 46064‐9242
MERCER, DANA              5734 WEST STANTON ROAD                                                                       STANTON               MI 48888‐9748
MERCER, DANIEL J          9397 VASSAR RD                                                                               MILLINGTON            MI 48746‐9755
MERCER, DANNY L           433 N DANIEL ST                                                                              EDGERTON              OH 43517‐9631
MERCER, DAWN E            11025 FOWLER DR                                                                              REMUS                 MI 49340‐9641
MERCER, DONALD D          332 S 12TH ST                                                                                BELOIT                OH 44609‐9324
MERCER, DONALD G          1362 HOMESTEAD CT                                                                            FLINT                 MI 48507‐0501
MERCER, DONALD J          9434 VASSAR RD                                                                               MILLINGTON            MI 48746‐9765
MERCER, DOROTHY L         424 VALLEY RD                                                                                SALEM                 OH 44460‐9725
MERCER, EDWARD J          899 WOODY HILL CIR                                                                           EVANS                 GA 30809
MERCER, ELNORA J          PO BOX 61                                                                                    OTISVILLE             MI 48463‐0061
MERCER, ERIKA DANIELLE    TRACY FIRM                         5473 BLAIR RD STE 200                                     DALLAS                TX 75231‐4168
MERCER, EVELYN S          939 PINE ST APT 8                                                                            EUDORA                KS 66025‐9697
MERCER, FLORENCE          115 FAIRFIELD AVE                                                                            TONAWANDA             NY 14223
MERCER, FREDERICK L       1616 WINDSOR RD                                                                              MANSFIELD             OH 44905‐1751
MERCER, GARRETT L         1705 S LAKE MITCHELL DR                                                                      CADILLAC              MI 49601‐8870
MERCER, GARY H            FLORIN ROEBIG                      777 ALDERMAN RD                                           PALM HARBOR           FL 34683‐2604
MERCER, GEORGE M          149 N WAYNESVILLE RD                                                                         LEBANON               OH 45036‐9329
MERCER, GEORGE W          PO BOX 9106                                                                                  MASARYKTOWN           FL 34604‐0102
MERCER, GERALD D          4911 LAUDERDALE DR                                                                           MORAINE               OH 45439‐2803
MERCER, HARNOL A          330 FREEWILL RIDGE RD                                                                        GAINESBORO            TN 38562‐5549
MERCER, HELEN I           1801 RALEIGH AVE APT 9                                                                       LAPEER                MI 48446
MERCER, HENRY N           3780 EMBARCADERO ST                                                                          WATERFORD TOWNSHIP    MI 48329‐2241
MERCER, HOWARD L          208 WIGHT ST BOX 322                                                                         ELSIE                 MI 48831
MERCER, JAMES B           8375 MCCARTY RD                                                                              SAGINAW               MI 48603‐9680
MERCER, JAMES W           GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510‐2212
                                                             STREET, SUITE 600
MERCER, JANE A            8676 LITTLE SWIFT CIRCLE                                                                     JACKSONVILLE         FL   32256‐9643
MERCER, JANICE J          22021 PRESTIGE DR S                                                                          HOLT                 MO   64048‐8781
MERCER, JAY O             602 S PEARL ST                                                                               PAOLA                KS   66071‐1948
MERCER, JEANNE            408 B NE 6TH ST                                                                              BLUEPSRINGS          MO   64041
MERCER, JOE T             1072 CHETFORD DR                                                                             LEXINGTON            KY   40509‐2066
MERCER, JOHN S            1135 WARREN RD                                                                               WEST CHESTER         PA   19382‐5219
MERCER, JOHN W            12095 CAVE CREEK CT                                                                          NOBLESVILLE          IN   46060‐4146
MERCER, JOYCE             1684 HEARN LN                                                                                VAN ALSTYNE          TX   75495‐8168
MERCER, KAREN             5361 WILLIAMS ST                                                                             DEARBORN HTS         MI   48125‐2710
MERCER, KARL A            2511 BELLE TERRE RD                                                                          STATESVILLE          NC   28625‐4332
MERCER, KENNETH E         2798 W MERCER LN                                                                             PENDLETON            IN   46064‐9313
MERCER, KENNETH R         5175 LEIX RD                                                                                 MAYVILLE             MI   48744‐9777
MERCER, KENNETH RAYBURN   MOODY EDWARD O                     801 W 4TH ST                                              LITTLE ROCK          AR   72201‐2107
MERCER, LALANYA D         305 THOMAS ST                                                                                HAUGHTON             LA   71037
MERCER, LARRY E           3513 PITT ST                                                                                 ANDERSON             IN   46013‐5279
MERCER, LAURENE           13030 NEWPORT STREET                                                                         HESPERIA             CA   92344‐3824
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Name                       Address1                       Address2           Address3         Address4         City             State Zip
MERCER, LELAND W           504 HANOVER DR                                                                      ANDERSON          IN 46012‐3917
MERCER, LENORA A           1108 MINER ST                                                                       ANN ARBOR         MI 48103‐3126
MERCER, LINWOOD            30 HOWARD ST APT 1                                                                  WATERBURY         CT 06705‐1160
MERCER, LORI D             4116 DESERT ROSE CT                                                                 FORT MILL         SC 29708‐9353
MERCER, LORRAINE J         4204 EVERGREEN RIDGE DR                                                             CINCINNATI        OH 45215‐5730
MERCER, MARK A             406 E RAILROAD ST                                                                   SAINT JOHNS       MI 48879‐1619
MERCER, MARY S             204 NE BRISTOL CT                                                                   LEES SUMMIT       MO 64086‐6346
MERCER, MAX D              2584 W MERCER LN                                                                    PENDLETON         IN 46064‐9313
MERCER, MICHAEL            13030 NEWPORT STREET                                                                HESPERIA          CA 92344‐3824
MERCER, MICHAEL A          4013 CUMMINGS AVE                                                                   BERKLEY           MI 48072‐1127
MERCER, MICHAEL J          PO BOX 186                                                                          COLUMBIAVILLE     MI 48421‐0186
MERCER, MITCHELL L         PO BOX 742                                                                          ADA               MI 49301‐0742
MERCER, NORMA J            2025 N BROADMOOR AVE APT 181                                                        WICHITA           KS 67206‐1085
MERCER, PAMELA             7171 N 9TH AVE APT C4                                                               PENSACOLA         FL 32504
MERCER, PAUL D             84 SOUTHRIDGE DR                                                                    WILLIMANTIC       CT 06226‐3412
MERCER, R W CO             3124 COMMERCE CENTRE DR                                                             SAGINAW           MI 48601‐9699
MERCER, RANDY G            20458 PINE LAKE RD                                                                  BATTLE CREEK      MI 49014‐8114
MERCER, RAYMOND L          610 BEAVERS RIDGE RD.                                                               PEEBLES           OH 45660‐9604
MERCER, RICHARD B          28 BROOKVIEW DRIVE                                                                  CORTLAND          OH 44410‐1685
MERCER, RICHARD D          1080 MAPLE RIDGE WAY                                                                GREENSBORO        GA 30642‐3933
MERCER, RICK L             PO BOX 322                                                                          ELSIE             MI 48831‐0322
MERCER, RICKY G            PO BOX 592                                                                          ARAGON            GA 30104‐0592
MERCER, ROBERT             306 WESTRIDGE DR                                                                    BURLINGTON        NC 27215‐8117
MERCER, ROBERT A           299 AIRPORT RD NW                                                                   WARREN            OH 44481‐9486
MERCER, ROBERT B           312 GLOVER ST                                                                       FREDERICKSBURG    VA 22401
MERCER, ROBERT R           199 BLUEBERRY HILL DR                                                               STATESVILLE       NC 28625‐9136
MERCER, RODNEY L           3799 VAN ATTA RD                                                                    OKEMOS            MI 48864
MERCER, ROGER W            15312 MARGARITA CT                                                                  LIPAN             TX 76462‐8040
MERCER, RW CO              3124 COMMERCE CENTRE DR                                                             SAGINAW           MI 48601‐9699
MERCER, SHARRON L          1320 GLENVIEW DRIVE                                                                 WATERFORD         MI 48327‐2978
MERCER, SHIRLEY J          707 CLEBUD DR                                                                       EULESS            TX 76040‐5226
MERCER, STACEY R           PO BOX 126                     203 CHURCH ST                                        OAKLAND           KY 42159‐0126
MERCER, STACEY RISINGER    PO BOX 126                     203 CHURCH ST                                        OAKLAND           KY 42159‐0126
MERCER, STEPHEN T          1727 S WAVERLY RD                                                                   EATON RAPIDS      MI 48827‐9715
MERCER, STEPHEN THOMAS     1727 S WAVERLY RD                                                                   EATON RAPIDS      MI 48827‐9715
MERCER, TALTON C           2005 BREEDING LOOP ROAD                                                             BREEDING          KY 42715
MERCER, TERRY C            1808 AMES ST                                                                        ESSEXVILLE        MI 48732‐1402
MERCER, THOMAS J           1340 N LINCOLN AVE                                                                  SALEM             OH 44460‐1335
MERCER, THOMAS L           729 WAUGH STREET                                                                    ALLIANCE          OH 44601‐4165
MERCER, TIMOTHY J          4933 BAYSIDE DR                                                                     DAYTON            OH 45431‐2002
MERCER, VERA M             2707 W MOORE RD                                                                     MUNCIE            IN 47304‐5725
MERCER, VIRGINIA           JONES AND SMITH                PO BOX 296                                           METTER            GA 30439‐0296
MERCER, WILLIAM B          2061 DANE LN                                                                        BELLBROOK         OH 45305‐1841
MERCER, WILLIAM G          2416 PARKSIDE DR                                                                    ANN ARBOR         MI 48105‐9439
MERCER,GERALD D            4911 LAUDERDALE DR                                                                  MORAINE           OH 45439‐2803
MERCER‐MAYES, REBECCA S    3675 LAUREATE DRIVE                                                                 HOLT              MI 48842‐9422
MERCERS EQUIPMENT RENTAL   21588 DIX TOLEDO HWY                                                                BROWNSTOWN TWP    MI 48183‐1352
MERCERUIO, FRANCIS A       10225 WILLIAMSPORT PIKE                                                             FALLING WATERS    WV 25419‐3547
MERCERUIO, KATHLEEN F      1144 GREENSBURG RD                                                                  MARTINSBURG       WV 25404‐0430
MERCERUIO, KATHLEEN F      61 AMHERST LANE                                                                     FALLING WATERS    WV 25419‐4036
MERCERUIO, THOMAS P        PO BOX 510                                                                          FALLING WTRS      WV 25419‐0510
MERCERUIO, TIMOTHY P       79 PRAYER LN                                                                        MARTINSBURG       WV 25405‐3001
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Name                            Address1                        Address2                        Address3      Address4              City               State Zip
MERCES, ANTONIO P               8 REDWOOD DR                                                                                        MARLBORO            NJ 07746‐1228
MERCHAND, KAROLINE E            821 CAMBRIDGE ST APT 174                                                                            MIDLAND             MI 48642‐4635
MERCHAND, PATRICIA L            1101 CHALEN DR                                                                                      SAINT JOHNS         MI 48879‐8254
MERCHANDISING INCENTIVES CORP   352 OLIVER DR                                                                                       TROY                MI 48084‐5401
MERCHANT AUTOMOTIVE             100 N FAIRVIEW RD STE 30                                                                            ZEELAND             MI 49464‐8248
MERCHANT GEORGE M (429446)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                         NORFOLK             VA 23510
                                                                STREET, SUITE 600
MERCHANT II, DONALD J           12 WINTERBERRY LOOP                                                                                 W HENRIETTA        NY 14586‐9437
MERCHANT JEANNE                 909 LANGLEY RD                                                                                      ROCHESTER HILLS    MI 48309‐1504
MERCHANT LAW GROUP              100 ‐ 2401 SASKATCHEWAN DRIVE                                                 REGINA SK S4P 4H8
MERCHANT LAW GROUP LLP          ATTN: JAN ANN SUMMERS           100 ‐ 2401 SASKATCHEWAN DRIVE   REGINA SK     S4P 4H8

MERCHANT LAW GROUP LLP          ATTN: V OLSEN                   531 QUADRA ST                   VICTORIA BC   V8V 3S4
MERCHANT LAW GROUP LLP          ATTN: ANTHONY MERCHANT          100 ‐ 2401 SASKATCHEWAN DRIVE                 REGINA, SK S4P 4H8

MERCHANT THOMAS G (356298)      GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA 23510
                                                                STREET, SUITE 600
MERCHANT VERNON                 206 ABERDEEN DR                                                                                     ANDERSON           SC   29621‐2402
MERCHANT, ABDUL A               15 DAUPHINE DR                                                                                      LAKE ST LOUIS      MO   63367‐1707
MERCHANT, BRYAN D               6501 CHAMPION WAY                                                                                   COLLEYVILLE        TX   76034‐7588
MERCHANT, CHARLES M             7361 HONEYSUCKLE RD                                                                                 WEST BLOOMFIELD    MI   48324‐2429
MERCHANT, CHERYL E              10935 TERRA VISTA PARKWAY                                                                           RANCHO CUCAMONGA   CA   91730
MERCHANT, COREY S               5826 BINGHAM DR                                                                                     TROY               MI   48085‐3843
MERCHANT, COREY STEPHEN         5826 BINGHAM DR                                                                                     TROY               MI   48085‐3843
MERCHANT, DANIEL L              6090 DORWOOD RD                                                                                     SAGINAW            MI   48601‐9322
MERCHANT, DANIEL W              9000 S HONEYCREEK RD                                                                                MUNCIE             IN   47302‐8141
MERCHANT, DAVID D               5314 W FILLMORE RD                                                                                  ITHACA             MI   48847‐9748
MERCHANT, DONALD J              3491 BIG RIDGE RD                                                                                   SPENCERPORT        NY   14559‐1708
MERCHANT, FRED L                1106 VERMILYA AVE                                                                                   FLINT              MI   48507‐1539
MERCHANT, GENE I                1700 LENORE AVE                                                                                     LANSING            MI   48910‐2681
MERCHANT, GENE I                1700 LENORE                                                                                         LANSING            MI   48910‐2681
MERCHANT, GEORGE M              GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                         NORFOLK            VA   23510‐2212
                                                                STREET, SUITE 600
MERCHANT, GERTRUDE              2901 ARIZONA AVE                                                                                    FLINT              MI   48506‐2439
MERCHANT, GRANT L               6815 HURON LINE RD                                                                                  GAGETOWN           MI   48735‐9709
MERCHANT, HARRY A               18500 SPARROW RD                                                                                    SENECAVILLE        OH   43780‐9738
MERCHANT, JEANNE T              909 LANGLEY RD                                                                                      ROCHESTER HILLS    MI   48309‐1504
MERCHANT, JEANNE TEMESAN        909 LANGLEY RD                                                                                      ROCHESTER HILLS    MI   48309‐1504
MERCHANT, JOAN L                22 COLONIAL RD APT 12                                                                               MILFORD            MA   01757‐1955
MERCHANT, JOYCE                 225 DEYONSHIRE DR                                                                                   DIMONDALE          MI   48821‐9777
MERCHANT, KELVIN
MERCHANT, KENNY                 6735 W STATE ROAD 18                                                                                BRYANT             IN   47326‐9097
MERCHANT, LEWIS E               327 N FRANKLIN ST                                                                                   KNIGHTSTOWN        IN   46148‐1014
MERCHANT, LLOYD A               7526 WINDSOR HWY                                                                                    DIMONDALE          MI   48821‐9641
MERCHANT, LORAINE               PO BOX 236124                                                                                       COLUMBUS           OH   43223‐6124
MERCHANT, MARJORIE V            6735 W STATE ROAD 18                                                                                BRYANT             IN   47326‐9097
MERCHANT, MARJORIE V            6735 W. STATE RD 18                                                                                 BRYANT             IN   47326‐9097
MERCHANT, MARK T                11300 SEYMOUR RD                                                                                    BURT               MI   48417‐9624
MERCHANT, MARSHALL H            6901 MIDDLEBROOKE CV                                                                                MEMPHIS            TN   38141‐8561
MERCHANT, MARY
MERCHANT, MARY A                1976 DUNHAM DR                                                                                      ROCHESTER          MI 48306‐4809
MERCHANT, MATTIE M              18301 GREENWALD ST                                                                                  SOUTHFIELD         MI 48075‐5835
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Name                             Address1                          Address2                        Address3      Address4                City              State Zip
MERCHANT, MELVIN R               22 COLONIAL RD APT 5                                                                                    MILFORD            MA 01757‐1928
MERCHANT, NIKKI                  5826 BINGHAM DR                                                                                         TROY               MI 48085‐3843
MERCHANT, PAUL E                 1976 DUNHAM DR                                                                                          ROCHESTER          MI 48306‐4809
MERCHANT, PAULINE M              5774 W. WASHINGTON                                                                                      ITHACA             MI 48847‐9751
MERCHANT, PAULINE M              5774 W WASHINGTON RD                                                                                    ITHACA             MI 48847‐9751
MERCHANT, PEGGY H                4739 FRANKLIN AVE                                                                                       WESTERN SPRINGS     IL 60558‐1720
MERCHANT, PHYLLIS                PO BOX 6012                                                                                             EASTLAKE           OH 44095‐8112
MERCHANT, ROBBY D                PO BOX 25                                                                                               BIRCH RUN          MI 48415‐0025
MERCHANT, ROBERT S               1186 SPARKLE                                                                                            ROCHESTER HILLS    MI 48306‐3568
MERCHANT, SCOTT B                7787 NIXON RD                                                                                           CHARLOTTE          MI 48813‐9340
MERCHANT, SEAN P                 12 WINTERBERRY LOOP                                                                                     W HENRIETTA        NY 14586‐9437
MERCHANT, SHAWN E                16012 W 143RD TER                                                                                       OLATHE             KS 66062‐2580
MERCHANT, SHIRLEY                9568 SUSSEX ST                                                                                          DETROIT            MI 48227‐2008
MERCHANT, SHIRLEY                9568 SUSSEX                                                                                             DETROIT            MI 48227‐2008
MERCHANT, STEPHEN F              4448 JEAN RD                                                                                            BAY CITY           MI 48706‐2205
MERCHANT, THOMAS G               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                           NORFOLK            VA 23510‐2212
                                                                   STREET, SUITE 600
MERCHANT, TIM A                  1594 HIGHWAY Y                                                                                          FOLEY             MO   63347‐3111
MERCHANT, TOM L                  193 N 200 E                                                                                             HARTFORD CITY     IN   47348‐9061
MERCHANT, WAYNE D                120 E FILLMORE RD RT 4                                                                                  ITHACA            MI   48847
MERCHANTS 5 STAR INC             STATE RT 7 S                                                                                            MARIETTA          OH   45750
MERCHANTS AUTOMOTIVE GROUP       1278 HOOKSETT RD                                                                                        HOOKSETT          NH   03106‐1839
MERCHANTS AUTOMOTIVE GROUP       ROBERT SINGER                     1278 HOOKSETT RD                                                      HOOKSETT          NH   03106‐1839
MERCHANTS CREDIT BUREAU SALEM    ACCT OF G COOPER JR               PO BOX 227                                                            SALEM             OR   97308‐0227
MERCHANTS DELIVERY SERVICE INC   2444 10TH ST                                                                                            PORT HURON        MI   48060‐6543
MERCHANTS DELIVERY SYSTEMS       1406 S CUCAMONGA AVE                                                                                    ONTARIO           CA   91761‐4509
MERCHANTS DUTCH EXPRESS INC      DEPT 2098                                                                                               CHICAGO           IL   60674‐2098
MERCHANTS FAST MOTOR LINES INC   PO BOX 591                                                                                              ABILENE           TX   79604‐0591
MERCHANTS FORWARDING CO          8747 BRANDT AVE                                                                                         DEARBORN          MI   48126
MERCHANTS INSURANCE GROUP        C/O ALBERT HATEM, P.C.            202 MAMARONECK AVENUE                                                 WHITE PLAINS      NY   10601‐5312
MERCHANTS NATL BK & TR CO        ASSIGNEE JIT TRANS SERVICES       1 MERCHANTS PLZ STE 875                                               INDIANAPOLIS      IN   46255‐0001
MERCHANTS OF CALIFORNIA          PO BOX 910789                                                                                           DALLAS            TX   75391‐0789
MERCHANTS PAPER CO WINDSOR LTD   975 CRAWFORD AVE                  PO BOX 602 STN A CRAWFORD AVE                 WINDSOR ON N9A 6N4
                                                                                                                 CANADA
MERCHANTS PAPER COMPANY          WINDSOR LIMITED                   975 CRAWFORD AVE.               P O BOX 602   WINDSOR CANADA ON N9A
                                                                                                                 6N4 CANADA
MERCHANTS RENT A CAR             1278 HOOKSETT RD                                                                                        HOOKSETT          NH   03106‐1839
MERCHANTS RENT A CAR INC         1278 HOOKSETT RD                                                                                        HOOKSETT          NH   03106‐1839
MERCHANTS RENT‐A‐CAR             1278 HOOKSETT RD                                                                                        HOOKSETT          NH   03106‐1839
MERCHANTS TRUCK LINE INC         PO BOX 908                                                                                              NEW ALBANY        MS   38652‐0908
MERCHAT, NANCY J                 9393 DEER RIDGE DR                                                                                      ZIONSVILLE        IN   46077‐8655
MERCHBERGER, JOSEPH F            5774 CRANBROOK TRL                                                                                      TRAVERSE CITY     MI   49684‐9578
MERCHEL, ALOIS                   5306 GINA DR                                                                                            WARREN            MI   48091‐4197
MERCHEL, HELEN                   5306 GINA DR                                                                                            WARREN            MI   48091‐4197
MERCHEL, ROBERT W                2845 STONEHENGE DR                                                                                      SIERRA VISTA      AZ   85650‐5741
MERCHEL, THEODORE A              1014 NORTH AVE                                                                                          ESSEX             MD   21221‐3749
MERCHON L RODWELL                640 DELAWARE ST APT 205                                                                                 DETROIT           MI   48202‐4402
MERCI HALL                       1529 VERMONT AVE                                                                                        LANSING           MI   48906‐4636
MERCIA SOFTW/ATLANTA             3101 TOWERCREEK PKWY SE STE 425                                                                         ATLANTA           GA   30339‐3057
MERCIECA, ALFRED                 8518 FOREST GLADE DR                                                                                    BAYONET POINT     FL   34667‐2132
MERCIECA, JOSEPH                 12901 1ST ISLE                                                                                          HUDSON            FL   34667‐7910
MERCIECA, PAUL A                 13185 S WRIGHT RD                                                                                       EAGLE             MI   48822‐9712
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Name                             Address1                     Address2             Address3        Address4                 City               State Zip
MERCIER JR, LOUIE J              11315 DICE RD                                                                              FREELAND            MI 48623‐9279
MERCIER JR, WILLIAM J            900 E SILVERBELL RD                                                                        LAKE ORION          MI 48360‐2331
MERCIER JR, WILLIAM L            8048 JINGELBELL LANE                                                                       CHRISTMAS           MI 49862
MERCIER LEROY (662763)           SIMMONS FIRM                 PO BOX 521                                                    EAST ALTON           IL 62024‐0519
MERCIER MONIQUE HELENE JULIETT   VIA NAZIONALE 30                                                  8040 USSASSAI OG ITALY
MERCIER, ANNA L                  141 HURON PLACE                                                                            CADILLAC           MI   49601‐9235
MERCIER, ANNA L                  141 HURON PL                                                                               CADILLAC           MI   49601‐9235
MERCIER, ANTHONY L               1110 TAYLOR ST                                                                             BAY CITY           MI   48708‐8264
MERCIER, ARNOLD G                6743 MEADOWFIELD ST                                                                        ORCHARD LAKE       MI   48324‐2639
MERCIER, BONNIE M                8048 JINGELBELL LANE                                                                       CHRISTMAS          MI   49862
MERCIER, CAROL E                 PO BOX 657                                                                                 SOUTH CASCO        ME   04077
MERCIER, CLIFFORD R              3822 N AUSABLE RD                                                                          EAST TAWAS         MI   48730‐9625
MERCIER, DAVID C                 290 PINECROFT DR UNIT M                                                                    TAYLORS            SC   29687
MERCIER, DIANNE                  900 E SILVERBELL RD                                                                        LAKE ORION         MI   48360‐2331
MERCIER, DONALD J                8718 SANDYCREST DR                                                                         WHITE LAKE         MI   48386‐2454
MERCIER, DUANE K                 2320 OAKNOLL ST                                                                            AUBURN HILLS       MI   48326‐3131
MERCIER, ELEANOR S               34 HOLT STREET                                                                             BRISTOL            CT   06010‐5349
MERCIER, ELEANOR S               34 HOLT ST                                                                                 BRISTOL            CT   06010‐5349
MERCIER, FRANCIS P               4072 SPRING HUE LN                                                                         DAVISON            MI   48423‐8900
MERCIER, FRANCIS PAUL            4072 SPRING HUE LN                                                                         DAVISON            MI   48423‐8900
MERCIER, GARY R                  1626 N OSPREY CIR                                                                          SANFORD            MI   48657‐9237
MERCIER, GERALD L                34036 TAWAS TRL                                                                            WESTLAND           MI   48185‐2320
MERCIER, GLORIA J                10133 LAPEER RD              APT 218                                                       DAVISON            MI   48423
MERCIER, HOWARD J                437 HILLCREST CT                                                                           OXFORD             MI   48371‐6015
MERCIER, JAMES L                 141 HURON PL                                                                               CADILLAC           MI   49601‐9235
MERCIER, JANET R                 PO BOX 252211                C/O AHMA                                                      W BLOOMFIELD       MI   48325‐2211
MERCIER, JOSEPH D                9638 HAZEL ST                                                                              TAYLOR             MI   48180‐3066
MERCIER, LEROY                   SIMMONS FIRM                 PO BOX 521                                                    EAST ALTON         IL   62024‐0519
MERCIER, LEROY C                 251 PATTERSON RD LOT B1                                                                    HAINES CITY        FL   33844‐6270
MERCIER, MARY M                  1741 SEVERANCE CT                                                                          SAGINAW            MI   48601‐5201
MERCIER, MARY R                  1449 BENVENUE                                                                              PONTIAC            MI   48320‐1715
MERCIER, MARY R                  1449 BENVENUE ST                                                                           SYLVAN LAKE        MI   48320‐1715
MERCIER, MICHAEL A               3146 SOUTH HURON ROAD                                                                      BAY CITY           MI   48706‐1558
MERCIER, MILLARD S               177 PROSPECT AVE             C/O FRANK MERCIER                                             PLATTSBURGH        NY   12901‐1316
MERCIER, NANCY S                 2703 LAKESHORE DR                                                                          GLADWIN            MI   48624‐7811
MERCIER, NORBERT M               6227 MCKENZIE DR                                                                           FLINT              MI   48507‐3835
MERCIER, NORMAN F                1729 OHIO AVE                                                                              FLINT              MI   48506‐4340
MERCIER, NORMAN FRED             1729 OHIO AVE                                                                              FLINT              MI   48506‐4340
MERCIER, PAMELA S                APT 2                        4030 CAMBRIA DRIVE                                            BAY CITY           MI   48706‐2290
MERCIER, RICHARD H               2713 GOLF COURSE RD                                                                        ASHLAND            WI   54806‐2592
MERCIER, ROGER M                 434 WEST MAIN STREET                                                                       LAGRANGE           OH   44050‐9623
MERCIER, ROY G                   3451 ERNEST ST                                                                             SAGINAW            MI   48604‐1707
MERCIER, SHIRLEY M               5601 HATCHERY RD APT 303                                                                   WATERFORD          MI   48329‐3453
MERCIER, STERLING J              11409 DORA DR                                                                              STERLING HEIGHTS   MI   48314‐1590
MERCIER, VALORIE R               7214 GALE RD                                                                               OTISVILLE          MI   48463‐9414
MERCIER, WILLIAM S               4026 ISABELLE ST                                                                           PORTAGE            MI   49024‐1041
MERCIERI, JOHN                   104 JOHNNYCAKE MOUNTAIN RD                                                                 BURLINGTON         CT   06013‐1614
MERCIERI, MARIA                  73 RIMEK RD                                                                                LISBON             CT   06351
MERCIEZ, LEE                     23911 THOMAS ST                                                                            WARREN             MI   48091‐5800
MERCIK, RONALD L                 8 INVERNESS CT                                                                             MANSFIELD          TX   76063‐4014
MERCILLE L ADAMS                 25 E YALE AVE                                                                              PONTIAC            MI   48340‐1976
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Name                              Address1                             Address2                Address3               Address4             City                 State Zip
MERCIT SP                         C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT     2 RAFFLES LINK         MARINA BAYFRONT
                                  LIMITED                                                                             SINGAPORE 039392
MERCK & CO INC                    TWO MERCK DRIVE WS1W‐42                                                                                  WHITEHOUSE STATION    NJ   08889
MERCK & CO. INC.                  JOE LAROSA                           1 MERCK DR                                                          WHITEHOUSE STATION    NJ   08889‐3400
MERCK AND COMPANY                 126 E LINCOLN AVE                                                                                        RAHWAY                NJ   07065‐4607
MERCK FINCK                       HEINZ KIRCHNER AND EDDA HEUSCHEN     AM MUEHLEN FALDER 12    50735 COLOGNE          GERMANY

MERCK HERBERT                     PO BOX 120982                                                                                            CLERMONT              FL   34712‐0982
MERCK KRIS                        103 WENTBRIDGE RD                                                                                        CARY                  NC   27519‐5843
MERCK MEDCO MANAGED CARE LLC      GRUER GENAI                         JAMES TALLON             599 LEXINGTON AVENUE                        NEW YORK              NY   10022
MERCK MEDCO MANAGED CARE LLC      GRUER, GENAI                        JAMES TALLON             599 LEXINGTON AVENUE                        NEW YORK              NY   10022
MERCK MEDCO MANAGED CARE LLC      GRUER GENAI
MERCK MEDCO MANAGED CARE LLC      GRUER, GENAI
MERCK MEDCO MANAGED CARE LLC      MERCK‐MEDCO MANAGED CARE LLC
MERCK, MARY B                     840 E MCCARTY ST                                                                                         SANDERSVILLE          GA   31082‐4779
MERCK, RUTH D                     5017 SHEILA LN                                                                                           STONE MOUNTAIN        GA   30083‐2125
MERCK, RUTH D                     5017 SHELIA LANE                                                                                         STONE MOUNTAIN        GA   30083‐2125
MERCK, SALLY R                    2215 GOLDMINE DR                                                                                         CUMMING               GA   30040‐4422
MERCK, WILLIAM E                  C/O GOLDENBERG HELLER ANTOGNOLI     2227 S STATE RTE 157                                                 EDWARDSVILLE          IL   62025
                                  AND ROWLAND P C
MERCKLE, THERESE D                857 TRUMBLE AVE SE                                                                                       WARREN               OH    44484‐4484
MERCKLE, THERESE D                857 TRUMBULL AVENUE SOUTHEAST                                                                            WARREN               OH    44484‐4573
MERCONE, NICOLA                   185 SOMERWORTH DR                                                                                        ROCHESTER            NY    14626‐3637
MERCORA, MELVIN B                 238 MAGNOLIA DR                                                                                          WINDER               GA    30680‐3788
MERCUARY CASUALTY COMPANY         4484 WILSHIRE BLVD                                                                                       LOS ANGELES          CA    90010‐3710
MERCURE, KEVIN P                  34961 WOOD ST                                                                                            LIVONIA              MI    48154‐2436
MERCURE, LOUISE J                 14330 MARINO DRIVE                                                                                       WARREN               MI    48088‐6322
MERCURI MATT                      2873 CIRCLEWOOD LN                                                                                       DAYTON               OH    45458‐9440
MERCURI, ANTHONY D                382 E 317TH ST                                                                                           WILLOWICK            OH    44095‐3631
MERCURI, MATTHEW J                2873 CIRCLEWOOD LN                                                                                       DAYTON               OH    45458‐9440
MERCURIO, BETTY L                 2294 HAZELNUT DRIVE                                                                                      FAIRBORN             OH    45324‐5324
MERCURIO, BRUNO                   191 SCHOENFELD BLVD                                                                                      PATCHOGUE            NY    11772‐2959
MERCURIO, CHARLES S               9188 BLACKHAWK RUN                                                                                       MACEDONIA            OH    44056‐1212
MERCURIO, DANA W                  4379 EASTSIDE DR                                                                                         BROWNSBURG           IN    46112‐8669
MERCURIO, JOSEPH F                1060 LAKE PARK DR                                                                                        BIRMINGHAM           MI    48009‐1204
MERCURIO, JUDITH A                6676 SHADY GLEN CIR                                                                                      FORT WORTH           TX    76132
MERCURIO, LAURA W                 6239 STREAMING AVE                                                                                       GALLOWAY             OH    43119‐8021
MERCURIO, MARY L                  187 SOUTHWOOD DR                                                                                         BUFFALO              NY    14223‐1054
MERCURIO, MARY P                  1904 HAYWOOD ST.                                                                                         FARRELL              PA    16121‐6121
MERCURIO, PHILLIP A               6239 STREAMING AVENUE                                                                                    GALLOWAY             OH    43119‐8021
MERCURIO, SAMANTHA J              2414 GALAHAD WAY                                                                                         JANESVILLE           WI    53548‐1409
MERCURY CASUALTY COMPANY          4484 WILSHIRE BLVD                                                                                       LOS ANGELES          CA    90010‐3710
MERCURY CASUALTY COMPANY          TONY MANSOUR                        4484 WILSHIRE BLVD                                                   LOS ANGELES          CA    90010‐3710
MERCURY CLEANERS                  123 E 2ND ST                                                                                             DEFIANCE             OH    43512‐2246
MERCURY DISTRIBUTION CARRIERS     5494 LEVERING AVE                                                                                        HALETHORPE           MD    21227
MERCURY EXPRESS INC               PO BOX 695                                                                                               NEWBURY              OH    44065‐0695
MERCURY FINANCE COMPANY           ATTN: OLGA BAUTISTA                 16355 LAGUNA CANYON RD                                               IRVINE               CA    92618‐3801
MERCURY INSURANCE COMPANY         LEA & NIVINSKUS                     134 W WILSHIRE AVE                                                   FULLERTON            CA    92832‐1824
MERCURY INSURANCE COMPANY         SOMERSTEIN BRUCE & ASSOCIATES PC    7 PENN PLZ STE 420                                                   NEW YORK             NY    10001‐0023
MERCURY INTERACTIVE               1325 BORREGAS AVENUE BLDG B                                                                              SUNNYVALE            CA    94089
MERCURY INTERACTIVE CORPORATION
MERCURY INTERACTIVE CORPORATION   ATTN: CONTRACTS ADMINISTRATOR       1325 BORREGAS AVE                                                    SUNNYVALE             CA 94089‐1003
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Name                               Address1                            Address2                   Address3         Address4                 City               State Zip
MERCURY IRON & STEEL, THE          3401 VIRGINIA RD                                                                                         CLEVELAND           OH 44122‐4225
MERCURY MANUFACTURING CO           MR. CRAIG HAWN X627                 1212 GROVE ST                                                        WYANDOTTE           MI 48192‐7008
MERCURY MANUFACTURING CO           MR. CRAIG HAWN X627                 1212 GROVE STREET.                                                   MORRISON             IL
MERCURY MANUFACTURING CO           1212 GROVE ST                                                                                            WYANDOTTE           MI 48192‐7008
MERCURY MANUFACTURING CO           PO BOX 67000                                                                                             DETROIT             MI 48267‐2654
MERCURY MARINE                     W6250 W PIONEER RD                                                                                       FOND DU LAC         WI 54935‐5636
MERCURY MARINE                     3003 N. PERKINS                                                                                          STILLWATER          OK 74074
MERCURY MERCRUISER                 ATTN MARIE GILHART                  PO BOX 1939                                                          FOND DU LAC         WI 54936‐1939
MERCURY MERCRUISER                 3003 N PERKINS RD                                                                                        STILLWATER          OK 74075‐2218
MERCURY MET/SCHAUMBU               1201 MERCURY DR                                                                                          SCHAUMBURG           IL 60193‐3513
MERCURY METALCRAFT CO              29440 CALAHAN RD                                                                                         ROSEVILLE           MI 48066‐1852
MERCURY METALCRAFT COMPANY         29440 CALAHAN RD                                                                                         ROSEVILLE           MI 48066‐1852
MERCURY MFG.                       MR. CRAIG HAWN X627                 1212 GROVE ST                                                        WYANDOTTE           MI 48192‐7008
MERCURY MFG.                       MR. CRAIG HAWN X627                 1212 GROVE STREET.                                                   MORRISON             IL
MERCURY PAINT CO                   14300 SCHAEFER HWY                                                                                       DETROIT             MI 48227‐3668
MERCURY PLAST/MDLFLD               PO BOX 989                          15760 MADISON ROAD                                                   MIDDLEFIELD         OH 44062‐0989
MERCURY PNEUMATIC COMPANY          2010 N RUBY ST                                                                                           MELROSE PARK         IL 60160‐1112
MERCURY PRO/WINDSOR                439 JUTRAS DR SOUTH                                                             WINDSOR ON N8N 5C4
                                                                                                                   CANADA
MERCURY PRODUCTS CO                WINDSOR LTD                         439 JUTRAS DR S                             WINDSOR CANADA ON N8N
                                                                                                                   5C4 CANADA
MERCURY PRODUCTS CO                439 JUTRAS DR S                                                                 WINDSOR ON N8N 5C4
                                                                                                                   CANADA
MERCURY PRODUCTS CO.               BEN CURTIS X228                     439 JUTRAS DRIVE SOUTH                      KITCHENER ON CANADA
MERCURY PRODUCTS CORP              65                                  439 JUTRAS DRIVE SOUTH                      KITCHENER ON CANADA
MERCURY PRODUCTS CORP              1200 S MERCURY DR                                                                                        SCHAUMBURG          IL   60193
MERCURY PRODUCTS CORP              439 JUTRAS DR S                                                                 WINDSOR ON N8N 5C4
                                                                                                                   CANADA
MERCURY PRODUCTS CORP              BEN CURTIS X228                     439 JUTRAS DRIVE SOUTH                      WINDSOR ON CANADA
MERCURY PRODUCTS CORP              DENNIS MCINERNY                     1201 SOUTH MERCURY DRIVE                                             PLYMOUTH           IN    46563
MERCURY PRODUCTS CORP.             DENNIS MCINERNY                     1201 SOUTH MERCURY DRIVE                                             PLYMOUTH           IN    46563
MERCURY PRODUCTS INC               1201 MERCURY DR                                                                                          SCHAUMBURG         IL    60193‐3513
MERCURY PROMOTIONS & FULFILLMENT   35610 MOUND RD                                                                                           STERLING HEIGHTS   MI    48310‐4725

MERCURY RISING LTD                 C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT       2 RAFFLES LINK   039392 MARINA BAYFRONT
                                   LIMITED                                                                         SINGAPORE
MERCY ASSISTED CARE                1010 N WASHINGTON ST                                                                                     JANESVILLE         WI    53548‐1561
MERCY CARE INSURANCE CO            PO BOX 27770                                                                                             JANESVILLE         WI    53547
MERCY CARE INSURANCE CO            WISCONSIN                            PO BOX 27770                                                        JANESVILLE         WI    53547
MERCY CARE INSURANCE CO            RYAN PELZ                            3430 PALMER DR            PO BOX 2770                               JANESVILLE         WI    53546‐2303
MERCY CLINIC EAST                  3524 E MILWAUKEE ST                  ATTN: RECORD RELEASE                                                JANESVILLE         WI    53546‐1626
MERCY COLLEGE                      555 BROADWAY                                                                                             DOBBS FERRY        NY    10522‐1134
MERCY COLLEGE OF NW OHIO           2238 JEFFERSON AVE                                                                                       TOLEDO             OH    43604‐7120
MERCY CORP                         PO BOX 2669                                                                                              PORTLAND           OR    97208‐2669
MERCY FOUNDATION                   3663 S MIAMI AVE                                                                                         MIAMI              FL    33133‐4253
MERCY HEALTH SYSTEM CORP           PO BOX 374                                                                                               FONTANA            WI    53125‐0374
MERCY HEALTH SYSTEM INC            PO BOX 5003                          DBA MERCY HOSPITAL                                                  JANESVILLE         WI    53547‐5003
MERCY HOSP OF BUFFAL               565 ABBOTT RD                                                                                            BUFFALO            NY    14220‐2039
MERCY HOSPITAL                     PO BOX 223096                                                                                            PITTSBURGH         PA    15251‐2096
MERCY HOSPITAL MUSKE               DEPT CH 14223                                                                                            PALATINE           IL    60554
MERCY HOSPITAL OF DE               PO BOX 951629                                                                                            CLEVELAND          OH    44193‐0018
MERCY HOSPITAL OF DEFIANCE         1404 E 2ND ST                                                                                            DEFIANCE           OH    43512‐2440
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MERCY HOSPITAL‐FAIRF               PO BOX 635760                                                                                    CINCINNATI         OH 45263‐5760
MERCY NETWORK CLINIC               35 W HURON ST                                                                                    PONTIAC            MI 48342‐2120
MERCY PLACE CLINIC                 ATTN: CINTHIA L DAVIS           55 CLINTON ST                                                    PONTIAC            MI 48342‐2177
MERCY RILEY                        2603 WESLEY DR                                                                                   SAGINAW            MI 48601‐4547
MERCY TUCKER                       7958 SADSBURY DR.               BUILDING 14                                                      WEST BLOOMFIELD    MI 48322
MERCYCARE HEALTH PLAN              RYAN PELZ                       3430 PALMER DR                    PO BOX 2770                    JANESVILLE         WI 53546‐2303
MERCYHURST COLLEGE                 STUDENT ACCOUNTS                501 E 38TH ST                                                    ERIE               PA 16546‐0002
MERDA BURNS                        701 SYMMES RD                                                                                    FAIRFIELD          OH 45014‐1735
MERDEAN RICHARDSON                 4724 HARVARD AVE                                                                                 KANSAS CITY        MO 64133‐2335
MERDICE J REED                     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                        HOUSTON            TX 77007
                                   BOUNDAS LLP
MERDICH, MARY C                    829 DRAVIS STREET                                                                                GIRARD            OH   44420‐2019
MERDICH, MARY C                    829 DRAVIS ST                                                                                    GIRARD            OH   44420‐2019
MERDICH, NICHOLAS                  106 WILMINGTON AVE                                                                               TONAWANDA         NY   14150‐8724
MERDICH, WALTER                    829 DRAVIS ST                                                                                    GIRARD            OH   44420‐2019
MERDIS TURNER                      APT 81                          3743 SOUTH ADAMS ROAD                                            ROCHESTER HLS     MI   48309‐3970
MERDONIK, ALEX                     11312 ANNA LISA DR                                                                               STERLING HTS      MI   48312‐2104
MERDZINSKI GEORGE (459206)         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA   23510
                                                                   STREET, SUITE 600
MERDZINSKI, GEORGE                 GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                      NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
MERE, KEVIN J                      462 LACOMB RD                                                                                    NORFOLK           NY   13667‐3252
MERE, KEVIN JOSEPH                 462 LACOMB RD                                                                                    NORFOLK           NY   13667‐3252
MERE, ROBERT L                     3910 RUSTIC FOREST TRL                                                                           ARLINGTON         TX   76016‐2767
MERECKI, DANIEL G                  15082 EL DORADO TER                                                                              WARREN            MI   48088‐3931
MERECKI, DANIEL GEORGE             15082 EL DORADO TER                                                                              WARREN            MI   48088‐3931
MEREDIA BLAIR                      1062 BRINDLESTONE DR                                                                             VANDALIA          OH   45377‐3104
MEREDIA M BLAIR                    1062 BRINDLESTONE DR                                                                             VANDALIA          OH   45377
MEREDIETH ARNOLD                   PO BOX 176                                                                                       MATHISTON         MS   39752‐0176
MEREDITH A SIDOTI                  149 RIDGE ROAD                                                                                   SMITHFIELD        RI   02917‐2571
MEREDITH ARMSTRONG                 PO BOX 68                                                                                        WEST NEWTON       IN   46183‐0068
MEREDITH BACK                      4301 AMELIA OLIVE BRANCH RD                                                                      BATAVIA           OH   45103‐8991
MEREDITH BARBER                    1304 24TH ST                                                                                     MANISTEE          MI   49660‐2502
MEREDITH BEEMAN                    911 S ANDERSON ST                                                                                ELWOOD            IN   46036‐2331
MEREDITH BEVERLY                   MEREDITH, BEVERLY               1817 13TH ST                                                     MOLINA            IL   61265‐3906
MEREDITH BLASING
MEREDITH BOSWELL                   22310 KARAM CT                                                                                   WARREN            MI   48091‐2539
MEREDITH CHAPPELL                  4908 POE AVE                                                                                     BALTIMORE         MD   21215‐5345
MEREDITH COLLEGE                   ACCOUNTING OFFICE               3800 HILLSBOROUGH ST                                             RALEIGH           NC   27607‐5237
MEREDITH COLLINS                   5455 BALDWIN RD                                                                                  SWARTZ CREEK      MI   48473‐9153
MEREDITH COMPTON                   4833 MESA LN                                                                                     SPRINGFIELD       OH   45503‐5919
MEREDITH CORPORATION               1716 LOCUST ST                                                                                   DES MOINES        IA   50309‐3038
MEREDITH CORPORATION               STEPHEN LACY                    1716 LOCUST ST                                                   DES MOINES        IA   50309‐3038
MEREDITH FORD                      3606 DONNELLY ST                                                                                 FLINT             MI   48504‐3527
MEREDITH FOUNDATION                ATTN LOU WAGNER                 PO DRAWER 117                                                    MINEOLA           TX   75773‐0117
MEREDITH GUELZO                    741 KORNOELJE DR NE                                                                              COMSTOCK PARK     MI   49321
MEREDITH JR, KENNETH J             395 N TIPSICO LAKE RD                                                                            HARTLAND          MI   48353‐3137
MEREDITH JR, SHELBY L              17169 HOLLY SHORES DR                                                                            HOLLY             MI   48442‐1842
MEREDITH KENNERN LESLIE            C/O SIMON EDDINS & GREENSTONE   3232 MCKINNEY AVE STE 610                                        DALLAS            TX   75204‐8583
MEREDITH KENNETH LESLIE            C/O SWANSON, THOMAS & COON      820 SW SECOND AVENUE, SUITE 200                                  PORTLAND          OR   97204

MEREDITH KENNETH LESLIE (645414)   (NO OPPOSING COUNSEL)
                                   09-50026-mg                Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                               Address1                           Address2                       Address3   Address4         City            State Zip
MEREDITH KENNETH LESLIE (657254)   (NO OPPOSING COUNSEL)
MEREDITH KRZESINSKI                1005 S 74TH ST                                                                                KANSAS CITY     KS    66111‐3278
MEREDITH L FRY                     1730 STANFORD CT                                                                              LAKE FOREST     IL    60045
MEREDITH LAMAR                     2140 W WESTHOLME DR                                                                           MARION          IN    46952‐8622
MEREDITH LEDBETTER                 9746 RAWSONVILLE RD                                                                           BELLEVILLE      MI    48111‐9205
MEREDITH LEWIS                     380 WILD ROSE DR                                                                              HEDGESVILLE     WV    25427‐3345
MEREDITH LYNCH                     5236 S EDEN LAKE RD                                                                           CUSTER          MI    49405‐8721
MEREDITH MACBLAIN                  32403 MUSKEGON CT                                                                             WESTLAND        MI    48186‐4747
MEREDITH MACHINERY                 PO BOX 99573                                                                                  LOUISVILLE      KY    40269‐0573
MEREDITH MANOR                     147 SADDLE LN                                                                                 WAVERLY         WV    26184‐3254
MEREDITH MARSHALL                  1620 N 85TH ST                                                                                KANSAS CITY     KS    66112‐1784
MEREDITH MAXWELL                   3773 E STATE ROAD 18                                                                          FLORA           IN    46929‐9319
MEREDITH MCCLINTIC                 N4085 BROWN DEER DR                                                                           BRODHEAD        WI    53520‐9614
MEREDITH MILES                     134 SPINDLETOP DR                                                                             BOWLING GREEN   KY    42104‐7569
MEREDITH MOCK                      5054 STATE ROAD 32 W                                                                          ANDERSON        IN    46011‐8746
MEREDITH MOIR                      282 1ST ST                                                                                    ROCHESTER       MI    48307‐2600
MEREDITH N PALMER                  54 SMOLLEN STREET                                                                             SAYREVILLE      NJ    08872‐1581
MEREDITH NELSON                    15570 HIGHLAND CENTER RD                                                                      DEFIANCE        OH    43512‐8976
MEREDITH O GOLDIE                  1606‐55THUNDERBIRD LN                                                                         WEST CARROLLT   OH    45449
MEREDITH PADDEN                    PO BOX 585                                                                                    FOLLY BEACH     SC    29439‐0585
MEREDITH SHANEY                    2 GOLDENROD DR                                                                                GEORGETOWN      DE    19947‐1820
MEREDITH SHERRON                   PO BOX 255                                                                                    CAMBY           IN    46113‐0255
MEREDITH STANDFORD                 1672 FOREST HILLS DR                                                                          SAINT CHARLES   MO    63303‐3504
MEREDITH TIMOTHY EARL D (429447)   GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                NORFOLK         VA    23510
                                                                      STREET, SUITE 600
MEREDITH TRIMBLE                   19212 LAUREL DR                                                                               LIVONIA         MI    48152‐1135
MEREDITH VENUS                     PO BOX 891222                                                                                 OKLAHOMA CITY   OK    73189‐1222
MEREDITH VIERLING                  864 EAST HENDRICKS DRIVE                                                                      ALEXANDRIA      IN    46001‐8901
MEREDITH WALK                      4340 MANDALAY AVE                                                                             ROYAL OAK       MI    48073‐1621
MEREDITH WEBER                     668 LOCH CARRON DR                                                                            WENTZVILLE      MO    63385‐2864
MEREDITH WERNER                    16W320 HILLSIDE LN                                                                            BURR RIDGE      IL    60527‐6232
MEREDITH WILLIAM G (475813)        MAZUR & KITTEL PLLC                1490 FIRST NATIONAL BUILDING                               DETROIT         MI    48226
MEREDITH WILSON                    1312 COLEMAN ST                                                                               WILMINGTON      DE    19805‐4771
MEREDITH, ALLAN F                  42332 WATERWHEEL RD                                                                           NORTHVILLE      MI    48168‐2203
MEREDITH, ALYCE R                  110 S 17TH AVE                                                                                MAYWOOD         IL    60153‐1219
MEREDITH, AMBER L                  347 E CASTLE RD                                                                               FOSTORIA        MI    48435‐9663
MEREDITH, AMBER LYNN               347 E CASTLE RD                                                                               FOSTORIA        MI    48435‐9663
MEREDITH, ARTHUR J                 151 SHORECLIFF DR.                                                                            ROCHESTER       NY    14612‐3925
MEREDITH, AUDRA L                  117 S LAKE DR                                                                                 LEESBURG        FL    34788‐2680
MEREDITH, AUDRA L                  117 SO. LAKE DRIVE                                                                            LEESBURG        FL    34788‐2680
MEREDITH, BARBARA                  1809 CREEKSTONE DR                                                                            COLUMBIA        TN    38401‐6719
MEREDITH, BETTY JOANN              920 EVERGREEN ST                                                                              BARE FOOT BAY   FL    32976‐7320
MEREDITH, BEULAH C                 178 HUNTSMAN CIR                                                                              BOWLING GREEN   KY    42103‐7064
MEREDITH, BEVERLY
MEREDITH, BEVERLY                  1817 13TH ST                                                                                  MOLINA           IL   61265‐3906
MEREDITH, BUEFORD C                1005 NAVAJO AVE                                                                               WATERFORD        MI   48327‐3436
MEREDITH, BURNARD F                2224 FIELSTRA DR                                                                              TRAVERSE CITY    MI   49686‐9133
MEREDITH, CARL M                   612 LISBON LN                                                                                 LADY LAKE        FL   32159‐8671
MEREDITH, CAROLYN S                1015 ANN ST                                                                                   BOONVILLE        IN   47601‐1311
MEREDITH, CASILDA M                3948 N WATSON RD 6                                                                            SAINT JOHNS      MI   48879
MEREDITH, CHARLES E                PO BOX 406                                                                                    SELMA            IN   47383‐0406
MEREDITH, CHARLES R                97209 DOUBLOON WAY                                                                            YULEE            FL   32097‐2473
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Name                        Address1                              Address2                      Address3   Address4         City                   State Zip
MEREDITH, CHARLES V         4908 STINKING CREEK RD                                                                          PIONEER                 TN 37847‐4402
MEREDITH, CLARA M           1141 CREEKSIDE WAY                                                                              GALT                    CA 95632‐2116
MEREDITH, DENISE E          6322 THISTLE BEND                                                                               AVON                    IN 46123‐7617
MEREDITH, DIANE M           2762 RANIERI DR                                                                                 TROY                    MI 48085‐1109
MEREDITH, DOYLE W           10001 MACON DR                                                                                  STOCKTON                CA 95209‐4510
MEREDITH, EARL L            1600 S PALMETTO AVE APT 122                                                                     SOUTH DAYTONA           FL 32119‐2285
MEREDITH, EDGAR             PO BOX 891222                                                                                   OKLAHOMA CITY           OK 73189‐1222
MEREDITH, EDMUND            4776 HIDALE                                                                                     PINCKNEY                MI 48169
MEREDITH, ELIZABETH A       95 CHEROKEE DR                                                                                  WEST SENECA             NY 14224‐4720
MEREDITH, ELSIE             80 EAGAN BLVD                                                                                   ROCHESTER               NY 14623‐4318
MEREDITH, ELTON             UNIT B                                3441 WEST 98TH DRIVE                                      WESTMINSTER             CO 80031‐3271
MEREDITH, HAROLD R          PO BOX 606                                                                                      MASON                   MI 48854‐0606
MEREDITH, JAMES B           95 CHEROKEE DR                                                                                  WEST SENECA             NY 14224‐4720
MEREDITH, JAMES E           102 N KIMMEL RD BOX 205                                                                         CLAYTON                 OH 45315
MEREDITH, JAMES E           29 ONEIDA ST                                                                                    PONTIAC                 MI 48341‐1624
MEREDITH, JASON A           676 LAKENGREN DR                                                                                EATON                   OH 45320‐2664
MEREDITH, JEREMY B          787 LAKENGREN DR                                                                                EATON                   OH 45320‐2558
MEREDITH, JERROL L          480 E CONSOLIDATED RD                                                                           EATON                   OH 45320‐9334
MEREDITH, JERROL L          480 EAST CONSOLIDATED ROAD                                                                      EATON                   OH 45320‐9334
MEREDITH, JERROL LYNN       480 EAST CONSOLIDATED ROAD                                                                      EATON                   OH 45320‐9334
MEREDITH, JESSE B           4630 NORWALDO AVE                                                                               INDIANAPOLIS            IN 46205‐2179
MEREDITH, JIMMY E           5501 HOPKINS RD                                                                                 FLINT                   MI 48506‐1594
MEREDITH, JIMMY R           123 CARTER CT                                                                                   BROOKVILLE              OH 45309‐1360
MEREDITH, JIMMY R           123 CARTER COURT                                                                                BROOKVILLE              OH 45309‐5309
MEREDITH, JOHN J            1801 SYLVAN GLN                                                                                 KEEGO HARBOR            MI 48320‐1119
MEREDITH, JOHN W            5337 GOODMAN LN                                                                                 OVERLAND PARK           KS 66202‐1110
MEREDITH, JOSEPH H          572 COLLIER RD                                                                                  UNIONTOWN               PA 15401‐6876
MEREDITH, JUANITA P         4947 REYNOLDS CT.                                                                               WATERFORD               MI 48328‐2033
MEREDITH, KELLY A           48299 GREENWICH LN                                                                              CANTON                  MI 48188‐8305
MEREDITH, KENNETH LESLIE    C/O SIMON, EDDINS & GREENSTONE, LLP   221 EAST OCEAN BLVD STE 200                               LONG BEACH              CA 90802

MEREDITH, LINDA A           12007 E MOUNTAIN VIEW RD                                                                        SCOTTSDALE             AZ   85259‐6011
MEREDITH, LLANO L           11368 FAWN VALLEY TRL                                                                           FENTON                 MI   48430‐4007
MEREDITH, LLANO LEE         11368 FAWN VALLEY TRL                                                                           FENTON                 MI   48430‐4007
MEREDITH, LOIS W            4688 WALFORD RD APT 10                                                                          WARRENSVILLE HEIGHTS   OH   44128‐5116
MEREDITH, LOIS W            4688 WALFORD ROAD                     SUITE 10                                                  WARRENVILLE HEIGHT     OH   44128‐4128
MEREDITH, LYN S             8832 E PUEBLO AVE LOT 33                                                                        MESA                   AZ   85208‐2925
MEREDITH, MARJORIE D        6601 VENUS DR                                                                                   SHREVEPORT             LA   71119‐5013
MEREDITH, MARK E            12913 W 66TH TER                                                                                SHAWNEE                KS   66216‐2454
MEREDITH, MARK E            16207 HINKLE AVENUE                                                                             BELTON                 MO   64012‐1624
MEREDITH, MARK S            5356 NOLAND DR                                                                                  TECUMSEH               MI   49286‐9584
MEREDITH, MARVELINE M       4776 HIDALE                                                                                     PINCKNEY               MI   48169
MEREDITH, MARY              8256 LEE DAVIS RD                                                                               MECHANICSVILLE         VA   23111
MEREDITH, MICHAEL A         1160 CARLSON DR                                                                                 BURTON                 MI   48509‐2343
MEREDITH, MICHAEL ALLEN     1160 CARLSON DR                                                                                 BURTON                 MI   48509‐2343
MEREDITH, MICHAEL C         871 GROVENBURG RD                                                                               HOLT                   MI   48842‐9661
MEREDITH, MICHAEL CHARLES   871 GROVENBURG RD                                                                               HOLT                   MI   48842‐9661
MEREDITH, MICHAEL L         10136 LARIAT LN                                                                                 SHREVEPORT             LA   71106‐8308
MEREDITH, MORLEY C          12007 E MOUNTAIN VIEW RD                                                                        SCOTTSDALE             AZ   85259‐6011
MEREDITH, NOBLE C           32006 VEGAS DR                        C/O DIANA KWIATKOWSKI                                     WARREN                 MI   48093‐6174
MEREDITH, PATRICIA          7806 ALLISON CT                                                                                 ARVADA                 CO   80005‐5006
MEREDITH, PAUL R            266 BULLFINCH RD                                                                                MOORESVILLE            NC   28117‐5407
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Name                              Address1                        Address2                        Address3   Address4            City              State Zip
MEREDITH, RICHARD E               7087 WYERS POINT ROAD                                                                          OVID               NY 14521‐9598
MEREDITH, RICHARD R               8175 TROY TWP RD 55                                                                            MANSFIELD          OH 44904
MEREDITH, RICHARD W               3242 OHARA DR                                                                                  NEW PORT RICHEY    FL 34655‐3346
MEREDITH, RICK P                  12086 GREENVIEW CT                                                                             GRAND BLANC        MI 48439‐1705
MEREDITH, RICKY L                 1917 THOMPSON ST                                                                               LANSING            MI 48906‐4162
MEREDITH, ROBERT                  2519 KENSINGTON DR                                                                             SAGINAW            MI 48601‐4566
MEREDITH, ROBERT L                1167 N MERIDIAN RD                                                                             OVID               MI 48866‐9589
MEREDITH, ROBERT T                3840 MARBURG AVE                                                                               CINCINNATI         OH 45209‐1838
MEREDITH, RONALD L                406 TULIP DR                                                                                   FRUITLAND PARK     FL 34731‐6761
MEREDITH, ROY
MEREDITH, SEAN C                  401 S FOX LN                                                                                   BURLESON          TX   76028‐6287
MEREDITH, SEAN CHRISTOPHER        401 S FOX LN                                                                                   BURLESON          TX   76028‐6287
MEREDITH, STEVEN C                203 MULLINS CHAPEL RD                                                                          SHELBYVILLE       TN   37160‐7230
MEREDITH, TERRENCE L              6732 M‐68 UNIT #62                                                                             ALANSON           MI   49706
MEREDITH, TERRY                   1904 HILLSIDE DRIVE                                                                            FRANKLIN          IN   46131‐8536
MEREDITH, THEO                    13137 SUDAN                                                                                    POWAY             CA   92064‐5813
MEREDITH, THEO                    13137 SUDAN RD                                                                                 POWAY             CA   92064‐5813
MEREDITH, THERESA A               62 BASIL RD                                                                                    LANGHORNE         PA   19047‐8107
MEREDITH, THOMAS W                29524 SHERIDAN ST                                                                              GARDEN CITY       MI   48135‐3610
MEREDITH, TIMOTHY EARL D,         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                    NORFOLK           VA   23510‐2212
                                                                  STREET, SUITE 600
MEREDITH, TIMOTHY G               2580 DODDS RD                                                                                  NORTH BRANCH      MI   48461‐9314
MEREDITH, VENUS                   PO BOX 891222                                                                                  OKLAHOMA CITY     OK   73189‐1222
MEREDITH, VENUS D                 PO BOX 891222                                                                                  OKLAHOMA CITY     OK   73189‐1222
MEREDITH, VIRGINIA A              6915 KIVA LN                                                                                   DALLAS            TX   75227‐1715
MEREDITH, VIRGINIA L              1619 GREEN VALLEY DR                                                                           DAYTON            OH   45432‐2115
MEREDITH, WILLIAM E               6025 PRINCESS LN                                                                               CLARKSTON         MI   48346‐2322
MEREDITH, WILLIAM T               2762 RANIERI DR                                                                                TROY              MI   48085‐1109
MEREDITH, WILLIE C                14623 ROBSON ST                                                                                DETROIT           MI   48227‐2590
MEREL AUTOMOBIEL BEDRIJVEN N.V.   SCHEPENBERG WEG 40                                                         AMSTERDAM 1105‐
                                                                                                             NETHERLANDS
MEREL J MILLER                    1115 E YALE AVE                                                                                FLINT             MI 48505‐1518
MEREL MILLER                      1115 E YALE AVE                                                                                FLINT             MI 48505‐1518
MERELES, PHILLIP                  8490 PINEVIEW LAKE DR                                                                          LINDEN            MI 48451‐9765
MERELEX CORP
MERELEX CORPORATION               10884 WEYBURN AVE                                                                              LOS ANGELES       CA   90024‐2917
MEREM‐KUNITZ, MARGARET            6771 DALY RD                                                                                   DEXTER            MI   48130‐8601
MERENDINO, ANTHONY D              458 FURNACE DOCK RD                                                                            CORTLANDT MANOR   NY   10567‐6202
MERENESS, VIRGINIA M              10511 FLORENCE AVE APT 13                                                                      THONOTOSASSA      FL   33592
MERENKOV, DANIEL C                1024 SHEPPEY CT                                                                                NAPERVILLE        IL   60565‐6109
MERENUK, CHRISTOPHER R            9429 TORREY RD                                                                                 GRAND BLANC       MI   48439‐9377
MERER ELLEN                       MERER, ELLEN                    1930 E MARLTON PIKE SUITE Q29                                  CHERRY HILL       NJ   08003
MERER, ELLEN                      KIMMEL & SILVERMAN PC           1930 E MARLTON PIKE SUITE Q29                                  CHERRY HILL       NJ   08003
MERESS, LAURA L                   2374 LENTZ RD                                                                                  ROSE CITY         MI   48654‐9709
MERFELD, CLAIRE J                 17433 N BOSWELL BLVD                                                                           SUN CITY          AZ   85373‐1669
MERFISH HOLDINGS LTD              C/O GERALD MERFISH              PO BOX 15879                                                   HOUSTON           TX   77220‐5879
MERGAERT, MARGARET L              6940 PENTY RD                                                                                  YALE              MI   48097
MERGAERT, MARGARET L              6940 PERRY RD                                                                                  YALE              MI   48097
MERGEL, SALLY A                   1540 RED JACKET RD                                                                             GRAND ISLAND      NY   14072‐2329
MERGELSBERG, ROYAL FRANK          800 HAUSMAN ROAD APT #419                                                                      ALLENTOWN         PA   18104‐8104
MERGELSBERG, ROYAL FRANK          800 HAUSMAN RD APT 419                                                                         ALLENTOWN         PA   18104‐9399
MERGEN MICHAEL                    3360 FREDERICK ST                                                                              PHILADELPHIA      PA   19129‐1711
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Name                                 Address1                        Address2               Address3     Address4         City               State Zip
MERGEN, HOWARD F                     9701 ARCHER RD                                                                       DAVIDSON            NC 28036‐8567
MERGENTHALER, JOANNE                 3816 OLD CAPITAL TRAIL                                                               WYOMING             DE 19809
MERGERSON, BILLY C                   1829 LUCAS DR                                                                        FORT WORTH          TX 76112‐7722
MERGILI, ANNA                        2033 WEST AVE N12                                                                    PALMDALE            CA 93551
MERGINS, GIRT J                      62 DUPONT ST                                                                         BROOKLYN            NY 11222‐1009
MERGL, CHARLA R                      2019 ROBBINS AVE                                                                     NILES               OH 44446‐3949
MERGLER, EARL J                      232 CASTLE DR                                                                        KETTERING           OH 45429‐1724
MERGLER, EARL J                      232 CASTLE DR.                                                                       KETTERING           OH 45429‐5429
MERGLER, LOIS C                      750 CHESTNUT STREET                                                                  GREENVILLE          OH 45331‐5331
MERGLER, TIMOTHY E                   4205 W KESSLER COWLESVILLE RD                                                        WEST MILTON         OH 45383‐8730
MERGOS, ALFREDA G                    41081 MILLBROOK DR                                                                   STERLING HEIGHTS    MI 48314‐2074
MERGOTT, LOUIS                       350 VALLEY RD                                                                        CLARK               NJ 07066‐2654
MERGUCZ FRANK (ESTATE OF) (662542)   WISE & JULIAN                   156 N MAIN ST STOP 1                                 EDWARDSVILLE         IL 62025‐1972
MERGUCZ JR, JOHN                     8287 PAGE RD                                                                         CHEBOYGAN           MI 49721‐9543
MERGUCZ, FRANK                       WISE & JULIAN                   156 N MAIN ST STOP 1                                 EDWARDSVILLE         IL 62025‐1972
MERGUCZ, MARY M                      PO BOX 534                                                                           PORT AUSTIN         MI 48467‐0534
MERHAR, KENNETH M                    8329 OAK TREE LN                                                                     WARREN              MI 48093‐7925
MERHEB, CHARBEL S                    48633 STONEFIELD DR                                                                  MACOMB              MI 48044‐5623
MERHEB, RAYMOND S                    26807 ROCKWOOD PARK LN                                                               CYPRESS             TX 77433
MERHOFF, ROBERT L                    410 WALCK RD                                                                         NORTH TONAWANDA     NY 14120‐3329
MERI PIFKO                           6 HORIZON ROAD                  APT 1106                                             FORT LEE            NJ 07024
MERI, MALLA L                        5000 HARRI ANN DR                                                                    CHARLOTTE           NC 28227
MERIAL HARVELL                       48 N 19TH ST                                                                         EAST ORANGE         NJ 07017‐5104
MERIAL, LTD.                         CATHY SHAW                      3239 SATELLITE BLVD                                  DULUTH              GA 30096‐4640
MERIAM INST/CLEVLAND                 10920 MADISON AVE                                                                    CLEVELAND           OH 44102‐2526
MERIAM O THOMPSON                    505 PINE STREET                 #202                                                 EDMONDS             WA 98020
MERIAM PROCESS TECHNOLOGIES          10920 MADISON AVE                                                                    CLEVELAND           OH 44102‐2526
MERIAM ROMATZ                        24703 GREENHILL RD                                                                   WARREN              MI 48091‐3301
MERIAN HARRIS                        2855 CAROLINE AVE                                                                    INDIANAPOLIS        IN 46218‐2712
MERIAN JONES                         PO BOX 351                                                                           AVOCA               IN 47420‐0351
MERIAN WALKER                        5306 JONATHON ST APT 2                                                               DEARBORN            MI 48126‐3778
MERIAN, AZAD                         701 NE 48TH AVENUE RD                                                                OCALA               FL 34470‐1113
MERIAN, RALPH D                      33167 OAKLEY ST                                                                      LIVONIA             MI 48154‐3591
MERIANS, JAMES B                     5710 FLEMING RD                                                                      FOWLERVILLE         MI 48836‐8522
MERICA, FRANKLIN E                   1831 HORN RD                                                                         PAHRUMP             NV 89048‐4588
MERICA, GREGORY J                    6481 S 6TH ST                                                                        KALAMAZOO           MI 49009‐8441
MERICAL, ANNE L                      15861 BROOKRIDGE BLVD                                                                BROOKSVILLE         FL 34613‐4923
MERICAL, BARBARA J                   105 HALIFAX DR                                                                       VANDALIA            OH 45377‐2907
MERICAL, BARBARA J                   105 HALIFAX DRIVE                                                                    VANDALIA            OH 45377‐2907
MERICAL, DENNIS G                    7448 LIBERTY WOODS LN                                                                CENTERVILLE         OH 45459‐4075
MERICAL, LARRY E                     399 SYCAMORE GLEN DRIVE                                                              MIAMISBURG          OH 45342‐3667
MERICLE, GAIL A                      PO BOX 189                                                                           GASPORT             NY 14067‐0189
MERICSKO, ANNALENE S                 1606 8TH ST                                                                          MOUNDSVILLE         WV 26041‐2033
MERICSKO, ANNALENE S                 1606 8TH STREET                                                                      MOUNDSVILLE         WV 26041
MERIDA L PINZON                      PO BOX 7                                                                             GASPORT             NY 14067‐0007
MERIDA PINZON                        PO BOX 7                                                                             GASPORT             NY 14067‐0007
MERIDA, ALICE L                      1468 ROUND LAKE RD                                                                   GREENWOOD           IN 46143‐7038
MERIDA, ALONZO                       551 ASPEN GLEN DR APT 603                                                            CINCINNATI          OH 45244‐2678
MERIDA, CARL B                       PO BOX 74                                                                            PINEVILLE           KY 40977‐0074
MERIDA, CLINT                        9043 STORER LN                                                                       HILLSBORO           OH 45133‐7489
MERIDA, DAVID L                      5696 E ROBINSON RD                                                                   BLOOMINGTON         IN 47408‐9377
MERIDA, JENNIE J                     1305 S F ST                                                                          ELWOOD              IN 46036‐2341
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Name                          Address1                           Address2                      Address3                Address4                 City              State Zip
MERIDA, NELL R                PO BOX 199                                                                                                        CALVERT            AL 36513‐0199
MERIDA, ROBERT T              4806 LAKEWOOD HILLS CT                                                                                            ANDERSON           IN 46017‐9305
MERIDEE MASON                 6102 KERRY AVE                                                                                                    CHEYENNE           WY 82009‐3514
MERIDEL A HANSON              6421 OLIVER AVE SO                                                                                                RICHFIELD          MN 55423
MERIDEL HANSON                6421 OLIVER AVENUE SO                                                                                             RICHFIELD          MN 55423‐1125
MERIDEL J WALLS               7687 MICAWBER RD NE                                                                                               WARREN             OH 44484‐1474
MERIDEL WALLS                 7687 MICAWBER RD NE                                                                                               WARREN             OH 44484‐1474
MERIDETH FINKLER              6580 ABBEY LN                                                                                                     STANWOOD           MI 49346‐8711
MERIDETH KRUSE                6904 DOGWOOD HOLLOW                                                                                               AUSTIN             TX 78750
MERIDETH WAYNE C (429448)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK            VA 23510
                                                                 STREET, SUITE 600
MERIDETH, AUDREY S            3517 ROMAR DR                                                                                                     BROWNSBURG        IN   46112‐8790
MERIDETH, DOROTHY G           2001 PONTIAC CT                                                                                                   KOKOMO            IN   46902‐2521
MERIDETH, GENNIE B            218 WHITWORTH DR S W                                                                                              ATLANTA           GA   30331‐3816
MERIDETH, HERMAN W            731 W 600 N                                                                                                       WHITELAND         IN   46184‐9540
MERIDETH, JULIAN D            3842 N LAKE ORLANDO PKWY                                                                                          ORLANDO           FL   32808‐2239
MERIDETH, KEVIN C.            2315 DETOUR RD                                                                                                    BOWLING GREEN     KY   42101‐0785
MERIDETH, REUBEN O            6509 WINDY HILL CT                                                                                                BRENTWOOD         TN   37027‐7883
MERIDETH, REUBEN O            PO BOX 1183                                                                                                       BRENTWOOD         TN   37024‐1183
MERIDETH, RONALD W            3964 CANTEBURY DR                                                                                                 CULLEOKA          TN   38451‐2049
MERIDETH, SHELLEY G           1200 LIBERTY GROVE RD                                                                                             ALPHARETTA        GA   30004‐2619
MERIDETH, TROYE M             2447 DETOUR RD                                                                                                    BOWLING GREEN     KY   42101‐0786
MERIDETH, TROYE MICHAEL       2447 DETOUR RD                                                                                                    BOWLING GREEN     KY   42101‐0786
MERIDETH, WAYNE C             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                    NORFOLK           VA   23510‐2212
                                                                 STREET, SUITE 600
MERIDEW, MARK                 7707 COUNTY ROAD 12                                                                                               WAUSEON           OH   43567‐9639
MERIDIAN                      JIM CLARK                          56 MILFORD DR.                                                                 HUDSON            OH   44236
MERIDIAN AIR CHARTER          485 INDUSTRIAL AVE                                                                                                TETERBORO         NJ   07608‐1006
MERIDIAN AUTO. SYSTEMS        GRACE LUBINSKI                     501 NORTHRIDGE DR                                                              METAMORA          MI   48455
MERIDIAN AUTO. SYSTEMS        GRACE LUBINSKI                     1350 COMMERCE DR                                                               RUSHVILLE         IN   46173‐2117
MERIDIAN AUTO. SYSTEMS        GRACE LUBINSKI                     1350 COMMERCE STREET                                  WATERFORD IRELAND
MERIDIAN AUTO. SYSTEMS        GRACE LUBINSKI                     PO BOX 189                    14123 ROTH ROAD                                  GRABILL           IN   46741‐0189
MERIDIAN AUTO. SYSTEMS        GRACE LUBINSKI                     14123 ROTH ROAD PO BOX 189                                                     PORTAGE           MI   49002
MERIDIAN AUTO. SYSTEMS        GRACE LUBINSKI                     1890 RIVERFORK DR.                                                             MURPHY            NC   28906
MERIDIAN AUTO/SHELBY          1628 JOHN F KENNEDY BLVD STE 950                                                                                  PHILADELPHIA      PA   19103‐2110
MERIDIAN AUTO/TROY            29333 STEPHENSON HWY                                                                                              MADISON HEIGHTS   MI   48071‐2307
MERIDIAN AUTOMOTIVE           3196 KRAFT AVE SE STE 300                                                                                         GRAND RAPIDS      MI   49512‐2065
MERIDIAN AUTOMOTIVE           SYSTEMS DE MEXICO                  AV MEXICO JAPON 400 CD IND                            CELAYA CP 38010 MEXICO
MERIDIAN AUTOMOTIVE           505 N MAIN ST                                                                                                     MERIDIAN          ID   83642‐2709
MERIDIAN AUTOMOTIVE SYS INC   GRACE LUBINSKI                     601 HIBRITEN DR SW            LENOIR                                           LENOIR            NC   28645‐6389
MERIDIAN AUTOMOTIVE SYS INC   GRACE LUBINSKI                     LENOIR                        601 HIBRITEN DR. S.W.                            WALHALLA          SC
MERIDIAN AUTOMOTIVE SYSTEMS   14123 ROTH RD                                                                                                     GRABILL           IN   46741‐9678
MERIDIAN AUTOMOTIVE SYSTEMS   2890 29TH ST SE                                                                                                   GRAND RAPIDS      MI   49512‐1721
MERIDIAN AUTOMOTIVE SYSTEMS   3035 32ND ST SE                                                                                                   GRAND RAPIDS      MI   49512‐1753
MERIDIAN AUTOMOTIVE SYSTEMS   3075 BRETON RD SE                                                                                                 GRAND RAPIDS      MI   49512‐1747
MERIDIAN AUTOMOTIVE SYSTEMS   501 NORTHRIDGE DR                                                                                                 SHELBYVILLE       IN   46176‐9786
MERIDIAN AUTOMOTIVE SYSTEMS   5433 MILLER RD                                                                                                    DEARBORN          MI   48126‐3351
MERIDIAN AUTOMOTIVE SYSTEMS   14 BEARDSLEY ST #T                                                                                                IONIA             MI   48846‐9734
MERIDIAN AUTOMOTIVE SYSTEMS   GRACE LUBINSKI                     1350 COMMERCE DR                                                               RUSHVILLE         IN   46173‐2117
MERIDIAN AUTOMOTIVE SYSTEMS   GRACE LUBINSKI                     1350 COMMERCE STREET                                  WATERFORD IRELAND
MERIDIAN AUTOMOTIVE SYSTEMS   GRACE LUBINSKI                     13881 W CHICAGO ST                                                             DETROIT           MI 48228‐2525
MERIDIAN AUTOMOTIVE SYSTEMS   GRACE LUBINSKI                     14123 ROTH ROAD PO BOX 189                                                     PORTAGE           MI 49002
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Name                               Address1                             Address2                       Address3                    Address4              City              State Zip
MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       1890 RIVERFORK DR.                                                               MURPHY             NC 28906
MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       3075 BRETON RD SE              GRAND RAPIDS OPERATIONS                           GRAND RAPIDS       MI 49512‐1747
                                                                                                       PLT #5
MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       501 NORTHRIDGE DR                                                                METAMORA          MI 48455
MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       601 HIBRITEN DR SW             LENOIR                                            LENOIR            NC 28645‐6389
MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       GRAND RAPIDS OPERATIONS PLT #5 3075 BRETON ROAD SE                               INDEPENDENCE      KS 67301

MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       LENOIR                         601 HIBRITEN DR. S.W.                             WALHALLA           SC
MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       PO BOX 189                     14123 ROTH ROAD                                   GRABILL            IN   46741‐0189
MERIDIAN AUTOMOTIVE SYSTEMS        GRACE LUBINSKI                       SHREVEPORT OPERATIONS          747 SOUTH PORT DRIVE, STE                         BROWNSVILLE        TX   78520
                                                                                                       200
MERIDIAN AUTOMOTIVE SYSTEMS        KM 2 CARR MUZQUIZ                    ROSITA COL INFONAVIT                                       MELCHOR MUZQUIZ CH
                                                                                                                                   38010 MEXICO
MERIDIAN AUTOMOTIVE SYSTEMS        MUZQUIZ                              PO BOX 633581                                                                    CINCINNATI        OH    45263‐3581
MERIDIAN AUTOMOTIVE SYSTEMS        1628 JOHN F KENNEDY BLVD             STE 950                                                                          PHILADELPHIA      PA    19103‐2110
MERIDIAN AUTOMOTIVE SYSTEMS        3196 KRAFT AVE                                                                                                        GRAND RAPIDS      MI    49512
MERIDIAN AUTOMOTIVE SYSTEMS        3196 DRAFT AVE STE 200                                                                                                GRAND RAPIDS      MI    49512
MERIDIAN AUTOMOTIVE SYSTEMS        555 HORACE BROWN DR                                                                                                   MADISON HEIGHTS   MI    48071
MERIDIAN AUTOMOTIVE SYSTEMS        225 HENRY ST                                                                                    BRANTFORD CANADA ON
                                                                                                                                   N3S 7R4 CANADA
MERIDIAN AUTOMOTIVE SYSTEMS         550 TOWN CENTER                                                                                                      DEARBORN          MI 48126
MERIDIAN AUTOMOTIVE SYSTEMS DE MX S KM 2 CARR MUZQUIZ                   ROSITA COL INFONAVIT                                       MELCHOR MUZQUIZ CH
                                                                                                                                   38010 MEXICO
MERIDIAN AUTOMOTIVE SYSTEMS IN     3075 BRETON RD SE                                                                                                     GRAND RAPIDS      MI    49512‐1747
MERIDIAN AUTOMOTIVE SYSTEMS IN     GRACE LUBINSKI                       13881 W CHICAGO ST                                                               DETROIT           MI    48228‐2525
MERIDIAN AUTOMOTIVE SYSTEMS INC    3196 KRAFT AVE SE STE 300            HOLD RLSD 11/8/7                                                                 GRAND RAPIDS      MI    49512‐2065
MERIDIAN AUTOMOTIVE SYSTEMS INC    14 BEARDSLEY ST                                                                                                       IONIA             MI    48846‐9734
MERIDIAN AUTOMOTIVE SYSTEMS INC    14123 ROTH RD                                                                                                         GRABILL           IN    46741‐9678
MERIDIAN AUTOMOTIVE SYSTEMS INC    3035 32ND ST SE                                                                                                       GRAND RAPIDS      MI    49512‐1753
MERIDIAN AUTOMOTIVE SYSTEMS INC    501 NORTHRIDGE DR                                                                                                     SHELBYVILLE       IN    46176‐9786
MERIDIAN AUTOMOTIVE SYSTEMS INC    999 REPUBLIC DR                                                                                                       ALLEN PARK        MI    48101‐3623
MERIDIAN AUTOMOTIVE SYSTEMS INC    GRACE LUBINSKI                       13881 W CHICAGO ST                                                               DETROIT           MI    48228‐2525
MERIDIAN AUTOMOTIVE SYSTEMS INC    KM 2 CARR MUZQUIZ                    ROSITA COL INFONAVIT                                       MELCHOR MUZQUIZ CH
                                                                                                                                   38010 MEXICO
MERIDIAN AUTOMOTIVE SYSTEMS INC    2890 29TH ST SE                                                                                                       GRAND RAPIDS      MI    49512‐1721
MERIDIAN AUTOMOTIVE SYSTEMS INC    3075 BRETON RD SE                                                                                                     GRAND RAPIDS      MI    49512‐1747
MERIDIAN AUTOMOTIVE SYSTEMS INC    1628 JOHN F KENNEDY BLVD STE 950                                                                                      PHILADELPHIA      PA    19103‐2110
MERIDIAN AUTOMOTIVE SYSTEMS INC    1209 ORANGE ST                                                                                                        WILMINGTON        DE    19801
MERIDIAN AUTOMOTIVE SYSTEMS INC    ATTN: CORPORATE OFFICER/AUTHORIZED   1209 N ORANGE ST                                                                 WILMINGTON        DE    19801‐1120
                                   AGENT
MERIDIAN AUTOMOTIVE SYSTEMS‐CO     14123 ROTH RD                                                                                                         GRABILL           IN 46741‐9678
MERIDIAN AUTOMOTIVE SYSTEMS‐COMP   5433 MILLER RD                                                                                                        DEARBORN          MI 48126‐3351
OP
MERIDIAN AUTOMOTIVE SYSTEMS‐COMP   14123 ROTH RD                                                                                                         GRABILL            IN   46741‐9678
OP
MERIDIAN AUTOMOTIVE SYSTEMS‐COMP   501 NORTHRIDGE DR                                                                                                     SHELBYVILLE        IN   46176‐9786
OP
MERIDIAN AUTOMOTIVER SYSTEMS       GRACE LUBINSKI                       SHREVEPORT OPERATIONS          747 SOUTH PORT DRIVE, STE                         BROWNSVILLE        TX   78520
                                                                                                       200
MERIDIAN CHARTER TOWNSHIP          5151 MARSH RD                                                                                                         OKEMOS            MI 48864‐1104
MERIDIAN COMMUNITY COLLEGE         NINE TEN HIGHWAY 19 NORTH                                                                                             MERIDIAN          MS 39307
MERIDIAN ENT/CHSTRFL               14528 SOUTH OUTER FORTY ROAD                                                                                          CHESTERFIELD      MO 63017
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Name                                  Address1                              Address2                       Address3                    Address4                 City              State Zip
MERIDIAN ENTERPRISES LTR RE US PATENT MERIDIAN ENTERPRISES                  111 MONUMENT CIRCLE SUITE 3700                                                      INDIANAPOLIS       IN 46204
NO 5025372
MERIDIAN INDUSTRIAL TRUST             C\O PROFESSIONAL R\E SERVICES         2301 DUPONT DR STE 430                                                              IRVINE            CA    92612‐7504
MERIDIAN INSTITUTE                    C/O USCAP                             PO BOX 1829                                                                         DILLON            CO    80435‐1829
MERIDIAN LEASING CORPORATATION        NINE PARKWAY NORTH                    SUITE 500                                                                           DEERFIELD         IL    60015
MERIDIAN LEASING CORPORATATION        ATTN: CORPORATE OFFICER/AUTHORIZED    9 PARKWAY N STE 500                                                                 DEERFIELD         IL    60015‐2545
                                      AGENT
MERIDIAN LEASING CORPORATION          AS AGENT FOR G.C. MICRO CORPORATIONATTN: CORPORATE                   NINE PARKWAY NORTH, STE 5                            DEERFIELD          IL   60015
                                                                         OFFICER/AUTHORIZED AGENT
MERIDIAN LEASING CORPORATION         AS AGENT FOR G.C. MICRO CORPORATION NINE PARKWAY NORTH                SUITE 500                                            DEERFIELD          IL   60015

MERIDIAN LEASING CORPORATION
MERIDIAN LIGHTWEIGHT TECHNOLOGIES I 155 HIGH ST E                                                                                      STRATHROY ON N7G 1H4
                                                                                                                                       CANADA
MERIDIAN LIGHTWEIGHT TECHNOLOGIES    155 HIGH ST EAST                                                                                  STRATHROY CANADA ON
INC                                                                                                                                    N7G 1H4 CANADA
MERIDIAN LIGHTWEIGHT TECHNOLOGIES    ATTN: ALAN J MILLER                    25 MCNAB AVE                                               STRATHROY ONTARIO N7G
INC                                                                                                                                    4H6 CANADA
MERIDIAN OPERATIONS, INC.            DAVID GREER, JR X233                   MAGNESIUM DIVISION             155 HIGH STREET EAST        STEVENSVILLE ON CANADA
MERIDIAN RESOURCE CORP               FINANCE DEPT                           20725 WATERTOWN RDENCE                                                              WAUKESHA          WI 53196
MERIDIAN RICH/ONTARI                 P.O. BOX 397                                                                                      CORNWALL ON K6H 5T1
                                                                                                                                       CANADA
MERIDIAN TEC/EATON R                 2001 INDUSTRIAL DR                     MAGNESIUM PRODUCTS                                                                  EATON RAPIDS      MI    48827‐8210
MERIDITH DUNAWAY                     990 SOMERSET DR APT 7                                                                                                      MIAMISBURG        OH    45342‐3295
MERIDITH MANKE                       3175 GREEN RD                                                                                                              SAINT JOHNS       MI    48879‐8116
MERIDITH TRUSTY                      146 S MAIN ST                                                                                                              FILLMORE          IN    46128‐9617
MERIDITH, JENNIE B                   230 BARNETT BLVD                                                                                                           MADISONVILLE      KY    42431‐6103
MERIDY, ROGER C                      847 HANSON DRIVE                                                                                                           CINCINNATI        OH    45240‐2546
MERIGGI, JOSEPHINE M                 7 ROCKFORD RD APT C12                                                                                                      WILMINGTON        DE    19806‐1031
MERIGIAN, JOHN C                     3540 N PROSPECT RD                                                                                                         YPSILANTI         MI    48198‐9482
MERIGNAC, ROLAND L                   7060 S RANSOM RD                                                                                                           ASHLEY            MI    48806‐9306
MERIGOLD, BARBARA A                  6871 AMES RD APT 923                                                                                                       PARMA             OH    44129‐5838
MERIGOLD, JAMES F                    50 BROOKVILLE DR                                                                                                           TONAWANDA         NY    14150‐7164
MERIGOLD, JENNIFER L                 64 GROVE ST                                                                                                                NORTH ATTLEBORO   MA    02760
MERIKE KESLER                        398 PAINT RIVER RD                                                                                                         CRYSTAL FALLS     MI    49920‐9446
MERIL GOUDY                          21999 GEORGE WASHINGTON HWY                                                                                                AURORA            WV    26705‐9673
MERIL HEDRICK                        5302 MEADOWLARK LN                                                                                                         ANDERSON          IN    46011‐1439
MERILEE OWEN                         PO BOX 72                                                                                                                  OTISVILLE         MI    48463‐0072
MERILL LYNCH /BANK ONE               FOR DEPOSIT TO THE ACCOUNT OF          8121 TRILLIUM CIRCLE AVE       A FARAH                                              GRAND BLANC       MI    48439‐2476
MERILLAT, BRIAN F                    1707 E CARLETON RD                                                                                                         ADRIAN            MI    49221‐9761
MERILLAT, CYNTHIA L                  PO BOX 224                                                                                                                 TECUMSEH          MI    49286‐0224
MERILLAT, CYNTHIA LEE                PO BOX 224                                                                                                                 TECUMSEH          MI    49286‐0224
MERILLAT, SHIRLEY A                  5763 N ROGERS HWY                                                                                                          TECUMSEH          MI    49286‐9101
MERILUS, BRUNEL S                    824 SAN JUAN LN                                                                                                            PLACENTIA         CA    92870‐6225
MERILYN ALLENBRAND                   21156 MILLRIDGE ST                                                                                                         SPRING HILL       KS    66083‐6506
MERILYN BROWN                        6377 LOWER LEESVILLE RD                                                                                                    CRESTLINE         OH    44827‐9714
MERILYN S AUSTIN                     1189 E HARVARD AVE                                                                                                         FLINT             MI    48505‐1523
MERILYNN M BIRCHAK                   483 TIWN LAKES RD                                                                                                          LATROBE           PA    15650
MERINDA FRAZIER                      15858 KENTFIELD ST                                                                                                         DETROIT           MI    48223‐1247
MERINE FOX                           14838 ROSEMONT AVE                                                                                                         DETROIT           MI    48223‐2341
MERINGA, DOUGLAS N                   2471 STEFF ANN DR                                                                                                          ADRIAN            MI    49221‐1522
MERINGA, STELLA L                    2471 STEFF ANN DR                                                                                                          ADRIAN            MI    49221
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Name                             Address1                             Address2                       Address3                  Address4                   City                State Zip
MERINO MICHELLE                  2907 SHELTER ISLAND DRIVE                                                                                                SAN DIEGO            CA 92106
MERINO, ANTHONY R                4332 TERRACE ST                                                                                                          KANSAS CITY          MO 64111‐4221
MERINO, ANTHONY ROBERT           4332 TERRACE ST                                                                                                          KANSAS CITY          MO 64111‐4221
MERINO, DONNA M                  14 SANDSTONE DR                                                                                                          SPENCERPORT          NY 14559‐1126
MERINO, EDWARD                   943 W 33RD ST                                                                                                            KANSAS CITY          MO 64111‐3606
MERINO, ESPERANZA                4804 S WASHINGTON RD                                                                                                     SAGINAW              MI 48601‐7204
MERINO, ESPERANZA                4804 S. WASHINGTON                                                                                                       SAGINAW              MI 48601‐7204
MERINO, JASON M                  14 SANDSTONE DR                                                                                                          SPENCERPORT          NY 14559‐1126
MERINO, JOSEPH M                 35 CROSSBOW DR                                                                                                           PENFIELD             NY 14526‐9757
MERINSKY, FRANCES G              9423 LENNON RD                                                                                                           SWARTZ CREEK         MI 48473‐9783
MERIQUE, KENNETH A               21184 PARKCREST DR                                                                                                       HARPER WOODS         MI 48225‐1710
MERIT CHEVROLET CO.              2695 BROOKVIEW DR (I‐94 & CENTURY                                                                                        MAPLEWOOD            MN 55119
                                 AVE)
MERIT CHEVROLET CO.              BRUCE RINKEL                         2695 BROOKVIEW DR (I‐94 &                                                           SAINT PAUL          MN 55119
                                                                      CENTURY AVE)
MERIT ENERGY                     13727 NOEL RD STE 500                                                                                                    DALLAS              TX    75240‐7312
MERIT ENERGY COMPANY             JACQUE BARES                         13727 NOEL RD                                                                       DALLAS              TX    75240
MERIT FREIGHT SYSTEMS            1533 ELMHURST RD                                                                                                         ELK GROVE VILLAGE   IL    60007‐6412
MERIT LABORATORIES INC           2680 E LANSING DR                                                                                                        EAST LANSING        MI    48823‐6909
MERIT LABORATORIES INC EFT       ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 992                                                                          EAST LANSING        MI    48826‐0992
                                 AGENT
MERIT MUFFLER BRAKE & WHEEL      56 BEECH ST                                                                                   SYDNEY NS B1P 3B6
                                                                                                                               CANADA
MERIT PRECISION MOULDING LTD     PO BOX 268                                                                                    PETERBOROUGH CANADA
                                                                                                                               ON K9J 6Y8 CANADA
MERIT PRECISION MOULDING LTD     2035 FISHER DR                                                                                PETERBOROUGH ON K9J
                                                                                                                               6X6 CANADA
MERIT PRECISION MOULDING LTD     DAN BAILEYX218                       P.O. BOX 268                   140 BRAIDWOOD AVE. UNIT   WINDSOR ON CANADA
                                                                                                     15
MERIT PRECISION MOULDING LTD.    DAN BAILEYX218                       P.O. BOX 268                   140 BRAIDWOOD AVE. UNIT   WINDSOR ON CANADA
                                                                                                     15
MERIT‐MALTA/SOUTHFIE             24450 EVERGREEN RD STE 207           KILL & BOLTON ASSOC.           ATTN: CARL PETERSON                                  SOUTHFIELD          MI 48075‐5543
MERIT/CANADA                     2035 FISHER DRIVE                                                                             PETERBOROUGH ON K9J
                                                                                                                               6X6 CANADA
MERIT/MARYLAND HTS.              13736 RIVERPORT DRIVE                                                                                                    MARYLAND HTS        MO    63043
MERITA VOHWINKLE                 12140 SEYMOUR RD                                                                                                         MONTROSE            MI    48457‐9783
MERITAS HEALTH CORP OCCUP        9411 N. OAK TRKWY, SUITE LL1                                                                                             KANSAS CITY         MO    64155
MERITEC                          PO BOX 8003                                                                                                              PAINESVILLE         OH    44077‐8003
MERITHEW JR, HENRY G             882 N RACQUETTE RIVER RD                                                                                                 MASSENA             NY    13662‐3248
MERITHEW, ROY L                  24 BROCTON ST 14612                                                                                                      ROCHESTER           NY    14612
MERITOR AUTO/BRIGHTO             740 ADVANCE ST                                                                                                           BRIGHTON            MI    48116‐1238
MERITOR AUTOM SUSP SYS CO        LEIGH WESTON X219                    105 ST. GEORGE STREET                                    CHATHAM ON N7M 4P3
                                                                                                                               CANADA
MERITOR AUTOMOTIVE               HOWARD CAMPBELL                      OSHKOSH OFF‐HIGHWAY DIV.       P.O. BOX 2848                                        ASHLEY               IN   46705
MERITOR AUTOMOTIVE               LEIGH WESTON X219                    SUSPENSION COMP DIV            150 STEELES AVE           REYNOSA TM 88780
                                                                                                                               MEXICO
MERITOR AUTOMOTIVE (PKG SPECS,   WILLIAM HERALD                       SERVICE PARTS DIV L.GASSMAN)   7975 DIXIE HWY            EL SALTO JA 45680 MEXICO
MERITOR AUTOMOTIVE (PKG SPECS,   WILLIAM HERALD                       7975 DIXIE HWY                 SERVICE PARTS DIV                                    FLORENCE             KY   41042‐2754
                                                                                                     L.GASSMAN)
MERITOR AUTOMOTIVE INC           2800 E RIVER RD                      PO BOX 1022                                                                         MORAINE             OH 45439
MERITOR DO BRASIL LTDA           MICHAEL CHERRY                       C/O PROGRESSIVE DIST. CENTER   6307 W. FORT STREET                                  WHITEHALL           MI 49461
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Name                                Address1                              Address2                         Address3                  Address4                 City             State Zip
MERITOR DO BRASIL LTDA              AV MJ LEVY SOBRINHO 2700              C 1 ANDAR‐SALA C BOA VISTA                                 LIMEIRA SP 13486 925
                                                                                                                                     BRAZIL
MERITOR LVZ SA DE CVA DE CV         EJE 130‐175 ZONA INDSTRL DEL POTOSI                                                              SAN LUIS POTOSI SL 78395
                                                                                                                                     MEXICO
MERITOR MEXICANA SA DE CV           NAVE 19‐D PARQ IND CINSA KM 117                                                                  CUAUTLALZINGO PU 72710
                                                                                                                                     MEXICO
MERITOR MEXICANA SA DE CV           LANCE NICHOLS                         NAVE 19‐B PARQ IND CINSA KM117   AUTOPISTA MEXICO‐PUEBLA                            ROSEVILLE         MI

MERITOR MEXICANA SA DE CV           ARVINMERITOR INC                      INDUSTRL EL TENEYAC                                        EL MARQUES QRO 76020
                                                                                                                                     MEXICO
MERITOR MEXICANA SA DE CV           KM 117 AUTOPISTA MEXICO PUEBLA        NAVE 19D FINSA CUAUTLANCINGO                               PUEBLA 72710 MEXICO
                                                                                                                                     MEXICO
MERITOR MEXICANA SA DE CV           NAVE 19‐D PARQ IND CINSA KM 117       AUTOPISTA MEXICO‐PUEBLA                                    CUAUTLALZINGO PU 72710
                                                                                                                                     MEXICO
MERITOR ROOF SYSTEMS                RALPH OWENS                           C/O AG SIMPSON CO LTD            1 SIMPSON BLVD                                       LENOIR          NC 28645
MERITOR SUSPENSION SYS CO US        LEIGH WESTON X219                     102 BILL BRYAN BLVD                                                                   HOPKINSVILLE    KY 42240‐6800
MERITOR SUSPENSION SYSTEMS CO       201 PARK AVE E                                                                                   CHATHAM ON N7M 3V7
                                                                                                                                     CANADA
MERITOR SUSPENSION SYSTEMS CO       150 STEELES AVE E                                                                                MILTON ON L9T 2Y5
                                                                                                                                     CANADA
MERITOR SUSPENSION SYSTEMS CO INC   150 STEELES AVE E                                                                                MILTON ON L9T 2Y5
                                                                                                                                     CANADA
MERITOR SUSPENSION SYSTEMS CO INC   201 PARK AVE E                                                                                   CHATHAM ON N7M 3V7
                                                                                                                                     CANADA
MERITOR SUSPENSION SYSTEMS CO US   102 BILL BRYAN BLVD                                                                                                          HOPKINSVILLE    KY 42240‐6800
MERITOR SUSPENSION SYSTEMS COMPANY PO BOX 77851                                                                                                                 DETROIT         MI 48277‐0851

MERITOR SUSPENSION SYSTEMS COMPANY 150 STEELES AVENUE                                                                                MILTON CANADA ON L9T
                                                                                                                                     2Y5 CANADA
MERITOR SUSPENSION SYSTEMS COMPANY PO BOX 77070                           JENNIFER                                                                              DETROIT         MI 48277‐0070

MERITOR SUSPENSN/CAN                950S 450W BUILDING #4                 COLUMBUS TECHNICAL CENTER                                                             COLUMBUS        IN 47201
MERITOR WABCO                       845 LINDBERGH CT                                                                                                            HEBRON          KY 41048‐8793
MERITOR WABCO VEHICLE CONTROL       2135 W MAPLE RD                       VEHICLE CONTROL SYSTEMS                                                               TROY            MI 48084‐7121
SYSTEMS
MERITOR‐WABCO VEHICLE CONTROL SYS   845 LINDBERGH CT                                                                                                            HEBRON          KY   41048‐8793

MERITOR‐WABCO VEHICLE CONTROL SYS   2135 W MAPLE RD                                                                                                             TROY            MI 48084‐7121

MERITOR/CHATHAM                     201 PARK AVE EAST                                                                                CHATHAM ON N7M 3V7
                                                                                                                                     CANADA
MERITOR/GORDONSVILLE                165 SPICER DR                                                                                                               GORDONSVILLE    TN 38563‐2143
MERITOR/ONTARIO                     150 STEELES AVE                                                                                  MILTON ON L9T 2Y5
                                                                                                                                     CANADA
MERITOR/SAN LUIS POT                EJE 130‐175 ZONA INDUSTRIAL           DEL POTOSI                                                 SAN LUIS POTOSI SL 78395
                                                                                                                                     MEXICO
MERITOR/TROY                        6401 W FORT ST                                                                                                              DETROIT        MI    48209‐1271
MERITT, FLORENCE A                  17209 HOSKINSON RD                                                                                                          POOLESVILLE    MD    20837‐2020
MERIWEATHER, ARTHUR G               5320 LANCELOT DR                                                                                                            INDIANAPOLIS   IN    46228‐2172
MERIWEATHER, CLARENCE               H‐170 WESTLAKE CIR SW                                                                                                       BESSEMER       AL    35020
MERIWEATHER, GERALDINE              14015 ARLINGTON                                                                                                             DETROIT        MI    48212‐2169
MERIWETHER EISENHARD                11 FOSTER LN                                                                                                                DOWNINGTOWN    PA    19335‐3380
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Name                     Address1                          Address2                   Address3   Address4                 City              State Zip
MERIWETHER, BEVERLY J    1913 OAK PARK DR                                                                                 CHAMPAIGN           IL 61822‐5229
MERIWETHER, DARREL       861 SULTHER LAKE RD                                                                              FRANKFORT          KY 40601
MERIWETHER, JOANNA R     1216 W HILLCREST AVE                                                                             DAYTON             OH 45406‐1917
MERIWETHER, LANNY R      723 W HURON AVE                                                                                  VASSAR             MI 48768
MERIWETHER, MANUEL       5312 TUCSON DR                                                                                   DAYTON             OH 45418‐2252
MERIWETHER, REBECCA A    1811 N PURDUM ST                                                                                 KOKOMO             IN 46901‐2476
MERIWETHER, ROBERT D     1001 STARKEY RD LOT 231                                                                          LARGO              FL 33771‐3181
MERK, GARY S             3934 RANDOLPH RD                                                                                 JANESVILLE         WI 53546‐4004
MERK, GARY W             4315 STATE ROUTE 269 S                                                                           CASTALIA           OH 44824‐9354
MERK, JOHN G             301 FLAGSTONE DR                                                                                 BURLESON           TX 76028‐3705
MERK, LENA B             301 FLAGSTONE DR                                                                                 BURLESON           TX 76028‐3705
MERK, NANCY              4315 STATE RTE 269                                                                               CASTALIA           OH 44824
MERKE, LEONA M           2022 CORONADO ST                                                                                 WAUKESHA           WI 53189‐7502
MERKEL, BRAD C           R LOURENCO ALMEIDA,802            APTO 51                               SAO PAULO SP 04508‐001
                                                                                                 BRAZIL
MERKEL, EUGENE C         609 SYCAMORE AVE                                                                                 SOUTH MILWAUKEE   WI   53172‐1335
MERKEL, GORDON M         1682 COUNTY ROAD 19                                                                              SHORTSVILLE       NY   14548‐9227
MERKEL, HERMINA W        GM CORP (ADAM OPEL) RM 3‐220                                                                     DETROIT           MI   48202
MERKEL, KATHRYN A        1721 EAGLE NEST DR                                                                               NORMAN            OK   73071‐6105
MERKEL, PATRICIA A       3916 SE 11TH PLACE 505                                                                           CAPE CORAL        FL   33904‐5130
MERKEL, STEVEN W         5759 LIMESTONE DR                                                                                TROY              MI   48085‐3916
MERKEL, STEVEN WILLIAM   5759 LIMESTONE DR                                                                                TROY              MI   48085‐3916
MERKER ART               100 HAMPTON RD LOT 24                                                                            CLEARWATER        FL   33759‐3951
MERKER JR, HENRY L       48200 JEFFERSON AVE                                                                              CHESTERFIELD      MI   48047‐2220
MERKER JR, WALTER H      6136 DUNHAM RD                                                                                   DOWNERS GROVE     IL   60516‐1834
MERKER, JOHN E           3170 E STROOP RD APT 216                                                                         KETTERING         OH   45440‐1365
MERKER, JOHN F           801 ROCKCREEK DR                                                                                 CENTERVILLE       OH   45458‐2116
MERKER, M                19 VAN CORTLANDT APT 5E                                                                          EAST NEW YORK     NY   10468‐1139
MERKERSON, DEBRA A       6734 S. MORGAN                                                                                   CHICAGO           IL   60621
MERKERSON, GLENDA J      1941 W 95TH ST                                                                                   LOS ANGELES       CA   90047‐3718
MERKERSON, THOMAS E      1941 W 95TH ST                                                                                   LOS ANGELES       CA   90047‐3718
MERKERSON, WILLIE M      4095 SOUTH WASHINGTON ROAD                                                                       SAGINAW           MI   48601‐5172
MERKERT, WILLIAM S       7615 E 1200 S                                                                                    AMBOY             IN   46911‐9343
MERKEY, DENNIS N         494 BIRR ST                                                                                      ROCHESTER         NY   14613‐1304
MERKEY, EMMA T           224 SHARON DR                                                                                    ROCHESTER         NY   14626‐2036
MERKEY, GERALD R         213 CARMAS DR                                                                                    ROCHESTER         NY   14626‐3724
MERKICH, PAULA Y         3940 MEADOWHILL DR                                                                               MINERAL RIDGE     OH   44440‐9567
MERKICH, ROBERT A        305 CONCORD DR                                                                                   CLINTON           MS   39056‐5722
MERKIEL, DONNA L         1950 RIBBLE RD                                                                                   SAGINAW           MI   48601‐6858
MERKISON, JAMECA L       299 SUMMIT CT                                                                                    RIVERDALE         GA   30274‐4331
MERKISON, JAMES L        299 SUMMIT CT                                                                                    RIVERDALE         GA   30274‐4331
MERKISON, JR.,JAMES L    5619 PINNACLE RD                                                                                 MIAMISBURG        OH   45342‐1025
MERKL'S AUTOMOTIVE       4437 W 38TH AVE                                                                                  DENVER            CO   80212‐2056
MERKLE GROUP INC         DAVID PAULIS                      7001 COLUMBIA GATEWAY DR                                       COLUMBIA          MD   21046‐2289
MERKLE GROUP INC         7001 COLUMBIA GATEWAY DRIVE                                                                      COLUMBIA          MD   21046
MERKLE INC               DAVID PAULIS                      7001 COLUMBIA GATEWAY DR                                       COLUMBIA          MD   21046‐2289
MERKLE INC               7001 COLUMBIA GATEWAY DR                                                                         COLUMBIA          MD   21046‐2289
MERKLE INC               PO BOX 64897                                                                                     BALTIMORE         MD   21264‐4897
MERKLE JR, ROBERT D      14390 HARRIS RD                                                                                  MILLINGTON        MI   48746‐9219
MERKLE, ALBERT D         3575 ASHFORD BLVD                                                                                NEW HAVEN         IN   46774‐2741
MERKLE, ALFRED J         10951 S ANDERSON RD                                                                              GUTHRIE           OK   73044‐8301
MERKLE, AMBER
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Name                      Address1                       Address2                       Address3   Address4         City              State Zip
MERKLE, DAVID J           8912 HOSTA WAY                                                                            CAMBY              IN 46113‐7734
MERKLE, DONALD A          10804 LECLAIRE AVE                                                                        OAK LAWN            IL 60453‐5172
MERKLE, ELEANOR V         5475 MAPLE RDG                                                                            HASLETT            MI 48840‐8651
MERKLE, JACQUELINE S      2210 STATE ROUTE 144 W                                                                    HAWESVILLE         KY 42348‐6122
MERKLE, JAMES L           3304 PARCHMOUNT AVE                                                                       KALAMAZOO          MI 49004‐2053
MERKLE, JEROME J          243 GROVE ST                                                                              TONAWANDA          NY 14150‐3525
MERKLE, JEROME JOHN       243 GROVE ST                                                                              TONAWANDA          NY 14150‐3525
MERKLE, JERRY W           1029 DIANE DR                                                                             COLON              MI 49040‐9338
MERKLE, JOHN J            9002 DEER POINT DR                                                                        NEWAYGO            MI 49337‐9250
MERKLE, JON W             128 REBECCA CT                                                                            FRANKLIN           TN 37064‐2970
MERKLE, KAREN A           6886 W KNOLLWOOD                                                                          WEST BLOOMFIELD    MI 48322‐3963
MERKLE, KATHLEEN F        590 ISAAC PRUGH WAY APT 141                                                               KETTERING          OH 45429‐3488
MERKLE, LOIS              12036 SCHONBORN                                                                           CLIO               MI 48420
MERKLE, MARY J            232 S YALE AVE                                                                            ADDISON             IL 60101‐3956
MERKLE, MARY L            180 TRANQUILITY PL                                                                        HENDERSONVILLE     NC 28739‐9336
MERKLE, ROBERT D          12036 SCHONBORN PL                                                                        CLIO               MI 48420‐2126
MERKLE, ROBERT J          1636 W LAUREL GLEN PATH                                                                   HERNANDO           FL 34442‐6338
MERKLE, SANDRA J          5848 WOOLMAN CT APT 57                                                                    PARMA              OH 44130‐1063
MERKLE, THOMAS C          183 BARRINGTON VILLAGE DR                                                                 XENIA              OH 45385‐9126
MERKLE, WILLIAM O         45819 WINTHROP PL                                                                         MACOMB             MI 48044‐5791
MERKLEN GLEN              2673 ORCHID DR                                                                            RICHARDSON         TX 75082‐4247
MERKLER, FRANK            85 SPRING RD                                                                              STOWE              VT 05672‐4352
MERKLER, JOHN M           3611 IMLAY CITY ROAD                                                                      ATTICA             MI 48412‐9505
MERKLER, JOHN M.          3611 IMLAY CITY ROAD                                                                      ATTICA             MI 48412‐9505
MERKLER, MATHIAS J        3611 IMLAY CITY RD                                                                        ATTICA             MI 48412‐9505
MERKLER, WALTER           210 LORRAINE AVENUE                                                                       SPRING LAKE        NJ 07752‐1715
MERKLIN JR, CARL W        PO BOX 197                                                                                MARYSVILLE         OH 43040‐0197
MERKLING, BARBARA         35 PAULA DR                                                                               CHEEKTOWAGA        NY 14225‐4431
MERKLING, WILLIAM G       3774 RT 31                     APT# 707                                                   LIVERPOOL          NY 13090
MERKLINGER III, WILLIAM   3570 HONEY MDW                                                                            SAN ANTONIO        TX 78222‐3334
MERKOURIOS, VASILIOS      54249 ASHLEY LAUREN DR                                                                    MACOMB             MI 48042‐2339
MERKUR STEEL/DETROIT      9075 SE SAINT LUCIE BLVD                                                                  STUART             FL 34997‐5423
MERL BOWMAN               7418 LOVELLS RD                                                                           GRAYLING           MI 49738‐9227
MERL BYERS                C/O COONEY AND CONWAY          120 NORTH LASALLE 30TH FLOOR                               CHICAGO             IL 60602
MERL CRISMAN              1791 N COATS RD                                                                           OXFORD             MI 48371‐3115
MERL DENNIS               1401 E SCHWARTZ BLVD                                                                      LADY LAKE          FL 32159‐2247
MERL FENTON JR            PO BOX 316                                                                                CEDAR KEY          FL 32625‐0316
MERL GRIMES               1817 COUNTY ROAD 314                                                                      CLEBURNE           TX 76031‐8591
MERL GRISSOM              724 FENTON ST                                                                             LANSING            MI 48910‐4537
MERL KRUEGER              2110 BROADWAY BLVD                                                                        FLINT              MI 48506‐3620
MERL NAUMOWICZ            962 BURNS RD                                                                              MILFORD            MI 48381‐1260
MERL P SISK               5100 HAHN RD                                                                              TAWAS CITY         MI 48763‐9726
MERL REECE                3098 BELLS FERRY RD                                                                       MARIETTA           GA 30066‐3400
MERL RICHIE II            1055 MAMBRINO RD                                                                          OREGON             OH 43616‐3195
MERL ROBERTSON            PO BOX 1923                                                                               MONROE             MI 48161‐6923
MERL SHOEMAKER            88 IVY ST                                                                                 PONTIAC            MI 48342‐1515
MERL SISK                 5100 HAHN RD                                                                              TAWAS CITY         MI 48763‐9726
MERL STREET               5880 W 250 S                                                                              ANDERSON           IN 46011‐9437
MERL WHATLEY              C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                  HOUSTON            TX 77007
                          BOUNDAS LLP
MERL WILLIAMS             424 PINE ST                                                                               CLIO              MI 48420‐1533
MERLA GRAHAM              1750 E PREVO RD                                                                           LINWOOD           MI 48634‐9446
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Name                         Address1                         Address2                         Address3                   Address4         City              State Zip
MERLAND ANDREWS              2477 ARROWHEAD RD                                                                                             OKEMOS             MI 48864
MERLAND PURVIS               817 E PIERSON RD                                                                                              FLINT              MI 48505‐3558
MERLAND STAFFNE              G4429 COLUMBINE AVE                                                                                           BURTON             MI 48529
MERLANO JR, ARTHUR C         16871 DRIFTWOOD DR                                                                                            MACOMB             MI 48042‐3601
MERLANO, MARY ANN            33919 OAKWOOD DR                                                                                              STERLING HTS       MI 48312‐6907
MERLANO, SUSAN P             16871 DRIFTWOOD DR                                                                                            MACOMB             MI 48042‐3601
MERLE & GENEVIEVE PETERSON   MERLE P PETERSON & GENEVIEVE C   MERLE & GENEVIEVE PETERSON LIV   2310 DAWSON COVE LANE SO                    CLOVIS             CA 93611‐5993
                             PETERSON TTEE F/T                TR DTD 7/3/91
MERLE A MOSLEY               211 W COLLEGE ST                                                                                              ODESSA            MO   64076‐1439
MERLE A RUPERT               260 W SHARON RD                                                                                               SPRINGDALE        OH   45246
MERLE ADAMS                  4625 S 300 E                                                                                                  ANDERSON          IN   46017‐9508
MERLE ADAMS                  PO BOX 44                                                                                                     KEWADIN           MI   49648‐0044
MERLE ALEXANDER              2968 N 350 W                                                                                                  ANDERSON          IN   46011‐8784
MERLE ALLEN                  11254 JUDDVILLE RD                                                                                            CORUNNA           MI   48817‐9743
MERLE ARNOLD                 PO BOX 33                                                                                                     HUMPTULIPS        WA   98552‐0033
MERLE ARRINGTON              312 W BAKER ST                                                                                                FLINT             MI   48505‐4103
MERLE BAILEY                 6185 DELAND RD                                                                                                FLUSHING          MI   48433‐1197
MERLE BAKER                  145 LONGFELLOW ST                                                                                             ELYRIA            OH   44035‐3726
MERLE BALLARD                1000 MANILA DR                                                                                                SENECA            SC   29672‐0647
MERLE BERGER                 1320 S NORTH CURTICE RD                                                                                       OREGON            OH   43618‐9767
MERLE BLAIN                  369 BLAIN RD                                                                                                  MAYPEARL          TX   76064‐1848
MERLE BLEAVINS               11905 EARL STREET                                                                                             PINCKNEY          MI   48169‐9060
MERLE BODEN                  13875 COUNTY ROAD R                                                                                           NAPOLEON          OH   43545‐9676
MERLE BOUGH                  1743 STANDISH STEEL RD                                                                                        BEDFORD           IN   47421‐7387
MERLE BRAFORD                304 BON AIR RD                                                                                                LANSING           MI   48917‐2903
MERLE BRAUN                  888 NORWAY DR                                                                                                 FOWLER            MI   48835‐9120
MERLE BROOKS                 PO BOX 1341                                                                                                   BRONX             NY   10475‐0962
MERLE BROWN                  37303 E. FALUCKEN BERRY RD                                                                                    LONE JACK         MO   64070
MERLE BROWN                  PO BOX 309                                                                                                    WASKOM            TX   75692‐0309
MERLE BRUMFIELD              461 E ALKALINE SPRINGS RD                                                                                     VANDALIA          OH   45377‐2603
MERLE BRUNNER                1619 LONGBOW LN                                                                                               WEST CARROLLTON   OH   45449‐2344
MERLE BUCKELS                122 69TH ST                                                                                                   DARIEN            IL   60561‐3927
MERLE BURNHAM                328 S TEMPLE DR                                                                                               MILPITAS          CA   95035‐6034
MERLE BURNS                  19058 BURNHAM AVENUE                                                                                          LANSING           IL   60438‐3606
MERLE BURTHAY                3166 N 80 W                                                                                                   KOKOMO            IN   46901‐8109
MERLE CALDWELL               4057 SARGENT CIR                                                                                              GAINESVILLE       GA   30506‐3621
MERLE CALVIN                 862 CRYSTAL VIEW DR                                                                                           PARKER            AZ   85344‐8123
MERLE CAMPBELL               301 EDGEWATER PINES DR SW                                                                                     WARREN            OH   44481‐9680
MERLE CARPENTER              120 HOMER LN                                                                                                  COOPERSVILLE      MI   49404‐1163
MERLE CHAFFINS               43 3RD ST                                                                                                     NEW LONDON        OH   44851‐1131
MERLE CHARTIER               302 PRINCETON ST                                                                                              BAY CITY          MI   48708‐4407
MERLE CLOSE                  4728 WILLIAMSBURG CT                                                                                          FORT WAYNE        IN   46804‐4011
MERLE CRABB                  G10063 N BRAY RD                                                                                              CLIO              MI   48420
MERLE D & SALLY A GAMBLE     921 SHAMROCK AVE                                                                                              STATE COLLEGE     PA   16801
MERLE D BYRD                 5303 EXETER RD                                                                                                DAYTON            OH   45449‐1930
MERLE D CALVIN               862 CRYSTAL VIEW DRIVE                                                                                        PARKER            AZ   85344‐8123
MERLE D FARQUER              PO BOX 216                                                                                                    GRATIS            OH   45330‐0216
MERLE D HINES                319 FAIRVIEW AVE                                                                                              DAYTON            OH   45405
MERLE DAILEY                 916 N OXFORD DR                                                                                               MARION            IN   46952‐2519
MERLE DAVIS                  20370 NELSON RD                                                                                               MERRILL           MI   48637‐9791
MERLE DAVIS                  208 E 5TH ST                                                                                                  TILTON            IL   61833‐7425
MERLE DAVIS JR               7098 S MOUTAIN SPRINGS DR                                                                                     BLOOMFIELD        IN   47424‐5603
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Name                  Address1                          Address2                   Address3          Address4         City            State Zip
MERLE DECKER          4885 W M‐61                                                                                     STANDISH         MI 48658
MERLE DEMOTT          1298 E DODGE RD                                                                                 MOUNT MORRIS     MI 48458‐9127
MERLE DENNEY          375 ROOPVILLE VEAL RD                                                                           ROOPVILLE        GA 30170‐2809
MERLE DI PILLA        700 OLIVE ST WYNDHAM PLACE #3                                                                   FLORENCE         NJ 08518
MERLE DYAR            2825 MONTCLAIR DR                                                                               INDIANAPOLIS     IN 46241‐5845
MERLE E BENNETT       MOTLEY RICE LLC                   28 BRIDGESIDE BLVD         PO BOX 1792                        MT PLEASANT      SC 29465
MERLE E GARNER        NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
MERLE E LA DUQUE SR   535 ROCK BEACH RD                                                                               ROCHESTER        NY 14617‐1332
MERLE E WILHIDE       7396 CHIPWOOD DR                                                                                NOBLESVILLE      IN 46062‐6857
MERLE E WOGOMAN       1024 STONE ROAD                                                                                 XENIA            OH 45385‐8430
MERLE EATON           PO BOX 1005                                                                                     WHITE CLOUD      MI 49349‐1005
MERLE EDGELL          2146 PARKER DR                                                                                  WAYLAND          MI 49348‐9067
MERLE EISENHAUER      10336 ALPINE DR                                                                                 REED CITY        MI 49677‐7301
MERLE ENGEL           3120 BROOKS RD                                                                                  BROWN CITY       MI 48416‐8671
MERLE ETCHISON        612 WOODLAWN DR                                                                                 ANDERSON         IN 46012‐3844
MERLE EVANS           5143 HARROGATE CT                                                                               NAPLES           FL 34112‐3665
MERLE FALK            10346 KING RD                                                                                   DAVISBURG        MI 48350‐1902
MERLE FERRELL         1201 KATHERINE DR                                                                               BEAVERCREEK      OH 45434‐6325
MERLE FISHER          2400 COOPER AVE                                                                                 BALTIMORE        MD 21219‐2006
MERLE FONDESSY        PO BOX 57                                                                                       CLAY CENTER      OH 43408‐0057
MERLE FRITZ           184 POUND ST                                                                                    LOCKPORT         NY 14094‐3924
MERLE FUNK            37462 GIAVON ST                                                                                 PALMDALE         CA 93552‐4701
MERLE GEGENHEIMER     4306 N TILLOTSON AVE                                                                            MUNCIE           IN 47304‐1351
MERLE GIBSON          9110 MEEKER RD                                                                                  DAYTON           OH 45414‐1349
MERLE GILBERT         5197 TOKAY DR                                                                                   FLINT            MI 48507‐2916
MERLE GRAMS JR        9875 SYLVANIA PETERSBURG RD                                                                     OTTAWA LAKE      MI 49267‐8723
MERLE GREENE          1776 CLIFFVIEW RD                                                                               CLEVELAND        OH 44112‐1113
MERLE HARDMAN         9211 BLONDELL ST                                                                                WHITE LAKE       MI 48386‐4211
MERLE HARROD          10146 WOODBURN ALLEN SPRINGS RD                                                                 ALVATON          KY 42122‐9643
MERLE HARROLD         272 POTOKA MINE RD                                                                              RUFFS DALE       PA 15679‐1507
MERLE HAWKINS         2776 LYDIA ST SW                                                                                WARREN           OH 44481‐8619
MERLE HAWKINS JR      16175 HEISER RD                                                                                 BERLIN CENTER    OH 44401‐9721
MERLE HEMBREE         117 CAPERTON DR NE                                                                              CLEVELAND        TN 37312‐4791
MERLE HOLLER          9861 JUDDVILLE RD                                                                               CORUNNA          MI 48817‐9796
MERLE HORSCH          1206 WESTFIELD AVE                                                                              RAHWAY           NJ 07065‐1917
MERLE HOWARD          PO BOX 133                                                                                      LAGRANGE         OH 44050‐0133
MERLE HUTTON          2320 SHADY LN                                                                                   ANDERSON         IN 46011‐2810
MERLE J DI PILLA      3 WINDHAM PLACE                                                                                 FLORENCE         NJ 08518
MERLE JANSEN          3208 NW CANTERBURY PL                                                                           BLUE SPRINGS     MO 64015‐2819
MERLE KING            1258 HIGHWAY N                                                                                  IRONTON          MO 63650‐9176
MERLE KLINGBEIL       527 MITCHELL LAKE DR                                                                            SHERIDAN         MI 48884‐9394
MERLE KOPF            11007 N TIMBERLINE DR                                                                           NORMAN           OK 73026‐8063
MERLE KORN            5850 GREENHAVEN RD                                                                              SYLVANIA         OH 43560‐1562
MERLE L VASBINDER     263 EARL DRIVE NW                                                                               WARREN           OH 44483‐1166
MERLE LA DUQUE SR     535 ROCK BEACH RD                                                                               ROCHESTER        NY 14617‐1332
MERLE LALONDE         7291 GRANDWOOD DR                                                                               SWARTZ CREEK     MI 48473‐9416
MERLE LAWSON          PO BOX 417                                                                                      CONVERSE         IN 46919‐0417
MERLE LESTER          2222 VENADO DR                                                                                  CHRISTOVAL       TX 76935‐3285
MERLE LEWIS           PO BOX 123                                                                                      BOGUE CHITTO     MS 39629‐0123
MERLE LINZEY JR       9500 JUDDVILLE RD                                                                               CORUNNA          MI 48817‐9795
MERLE LOHRBERG JR     2254 COLLINGWOOD AVE SW                                                                         WYOMING          MI 49519‐1666
MERLE M BEEBE         NIX PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD     TX 75638
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Name                             Address1                         Address2                     Address3   Address4         City             State Zip
MERLE MAIER                      6651 76TH ST SE                                                                           CALEDONIA         MI 49316‐8219
MERLE MAILO                      APT D2                           121 EAST JOLLY ROAD                                      LANSING           MI 48910‐6686
MERLE MARTIN                     115 TOWERS BLVD                                                                           CHEEKTOWAGA       NY 14227‐3140
MERLE MCANALLY                   277 MAIN ST                                                                               NETTLETON         MS 38858‐6013
MERLE MCFALL                     11605 SHARROTT RD                                                                         NORTH LIMA        OH 44452‐9724
MERLE MCROBERTS                  PO BOX 132                                                                                SHIRLEY           IN 47384‐0132
MERLE MEAD SR                    808 BROADWAY AVE                                                                          OWOSSO            MI 48867‐4506
MERLE MERRITT                    2618 COVILLE RD                                                                           MIKADO            MI 48745‐9776
MERLE MESHINSKI                  6384 BUCKINGHAM AVE                                                                       ALLEN PARK        MI 48101‐2330
MERLE MILLIRON                   6502 N PARK AVE                                                                           BRISTOLVILLE      OH 44402‐9729
MERLE MORTON                     5004 OAK VALLEY RD                                                                        OKLAHOMA CITY     OK 73135‐2240
MERLE NELSON                     11461 N DESERT HILLS DR W                                                                 SUN CITY          AZ 85351‐3829
MERLE NEWBERRY                   784 DEERVALLEY DR                                                                         CINCINNATI        OH 45245‐1142
MERLE NIETHE                     17 PHELPS ST                                                                              LOCKPORT          NY 14094‐2019
MERLE ORENDER                    1584 SMILEY ST                                                                            LIBERTY           MO 64068‐3298
MERLE OTTO TRUST                 DR MERLE OTTO                    108 MOORINGS PARK DR #B205                               NAPLES            FL 34105‐2153
MERLE P SHOCK                    1553 WAMPLERS LAKE RD                                                                     BROOKLYN          MI 49230
MERLE POTTER                     310 W MONROE ST                                                                           DURAND            MI 48429‐1111
MERLE QUEER                      1990 STONERIDGE DR                                                                        ASHLAND           OH 44805‐4586
MERLE RAYMOND                    603 S 8TH ST                                                                              UPPER SANDSKY     OH 43351‐1605
MERLE REDFIELD                   250 PROSPECTOR WAY                                                                        BALL GROUND       GA 30107‐4386
MERLE REICHERT                   13203 DUNLAP RD                                                                           LA SALLE          MI 48145‐9709
MERLE REYNOLDS                   4867 HOLLYBRIAR CT                                                                        COLUMBUS          OH 43228‐5757
MERLE ROCHESTER                  4603 E SPICERVILLE HWY                                                                    EATON RAPIDS      MI 48827‐9082
MERLE RODGERS                    298 CAMELOT BLVD                                                                          FALLING WATERS    WV 25419‐3734
MERLE ROMIG                      709 BURKE AVE NE                                                                          GRAND RAPIDS      MI 49503‐1922
MERLE RUGGLES                    5457 NE MAYBROOK RD                                                                       LEES SUMMIT       MO 64064‐1125
MERLE RUPERT                     260 WEST SHARON ROAD                                                                      CINCINNATI        OH 45246‐4137
MERLE SAYLES                     5687 HANES RD                                                                             VASSAR            MI 48768‐9216
MERLE SCOTT                      6461 DALE RD                                                                              NEWFANE           NY 14108‐9763
MERLE SECHLER                    4814 COTTAGE RD                                                                           LOCKPORT          NY 14094‐1604
MERLE SHELTON                    8008 NW 8TH TER APT 241                                                                   OKLAHOMA CITY     OK 73127‐4885
MERLE SHINGLER                   6007 N LINVILLE ST                                                                        WESTLAND          MI 48185‐2256
MERLE SHOCK                      1553 WAMPLERS LAKE RD                                                                     BROOKLYN          MI 49230‐9570
MERLE SIPLER                     1095 E WILSON RD                                                                          CLIO              MI 48420‐7918
MERLE SMITH                      6986 RT 2 TWS 85                                                                          MOUNT GILEAD      OH 43338
MERLE SMITH                      3880 LOCKPORT OLCOTT RD LOT 19                                                            LOCKPORT          NY 14094‐1162
MERLE SMITH                      107 MEADOW LN                                                                             MONTGOMERY CY     MO 63361‐2117
MERLE SMITH                      5200 CENTER RD                                                                            LINDEN            MI 48451‐9637
MERLE SNIDER MOTORS, INC.        2301 W 9TH AVE                                                                            WINFIELD          KS 67156‐8907
MERLE SNIDER MOTORS, INC.        LLOYD SNIDER                     2301 W 9TH AVE                                           WINFIELD          KS 67156‐8907
MERLE SR., JOHN W                4793 SYLVESTER AVE                                                                        WATERFORD         MI 48329‐1848
MERLE SR., JOHN WILLIAM          4793 SYLVESTER AVE                                                                        WATERFORD         MI 48329‐1848
MERLE STONE CHEVROLET            LARRY STONE                      2100 E TULARE AVE                                        TULARE            CA 93274‐3222
MERLE STONE CHEVROLET            2100 E TULARE AVE                                                                         TULARE            CA 93274‐3222
MERLE STONE CHEVROLET CADILLAC   800 W HENDERSON AVE                                                                       PORTERVILLE       CA 93257‐1743
MERLE STONE PORTERVILLE, INC.    800 W HENDERSON AVE                                                                       PORTERVILLE       CA 93257‐1743
MERLE STONE PORTERVILLE, INC.    DAVID STONE                      800 W HENDERSON AVE                                      PORTERVILLE       CA 93257‐1743
MERLE STORCK                     2811 RUGER AVE                                                                            JANESVILLE        WI 53545‐2248
MERLE STRAWN                     2610 S MONROE ST                                                                          BAY CITY          MI 48708‐8412
MERLE T HARROD                   10246 WOODBURN ALLEN SP RD                                                                ALVATON           KY 42122
MERLE TAPPEN                     PO BOX 682                                                                                STANFORD          KY 40484‐0682
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Name                          Address1                           Address2                     Address3            Address4         City                State Zip
MERLE THOMAS                  4041 ZINFANDEL WAY                                                                                   INDIANAPOLIS         IN 46254‐4653
MERLE TROUB                   411 W ELBA ST                                                                                        PERRINTON            MI 48871‐5129
MERLE VANDRESAR               BARON & BUDD, PC                   THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                    DALLAS               TX 75219‐4281
MERLE VANSCOY                 505 HIGH ACRE DR                   APT 223                                                           WESTMINSTER          MD 21157‐6573
MERLE VASBINDER               263 EARL DR NW                                                                                       WARREN               OH 44483‐1166
MERLE VULGAMORE               2811 RED LION CT                                                                                     DAYTON               OH 45440‐2322
MERLE W AND MARTHA M AHRENS   MERLE W AND MARTHA M AHRENS TTEE   AHRENS LOVING TRUST          608 GRANT ST                         PORT CLINTON         OH 43452‐2151

MERLE WANGER                  STANLEY J WANGER                   230 174ST #2410 BLDG 300                                          SUNNY ISLES BEACH   FL   33160
MERLE WARNER JR.              38911 BRONSON DR                                                                                     STERLING HTS        MI   48310‐2818
MERLE WAYNE BRUBAKER          BOX 161                                                                                              LITCHFIELD PARK     AZ   85340
MERLE WHITTAKER               2090 N OXFORD RD                                                                                     OXFORD              MI   48371‐2620
MERLE WIDVEY                  PO BOX 235                                                                                           SHIRLEY             IN   47384‐0235
MERLE WILHIDE I I             7396 CHIPWOOD DR                                                                                     NOBLESVILLE         IN   46062‐6857
MERLE WILLIAMS                5875 E COUNTY ROAD 500 N                                                                             BROWNSBURG          IN   46112‐9797
MERLE WOGOMAN                 1024 STONE RD                                                                                        XENIA               OH   45385‐8430
MERLE WOODMAN                 1777 EPLEY RD                                                                                        WILLIAMSTON         MI   48895‐9487
MERLE WOODWARD JR             1615 DAWSON AVE W                                                                                    BIG STONE GAP       VA   24219‐4357
MERLE WOODWORTH               11004 E NEWBURG RD                                                                                   DURAND              MI   48429‐9407
MERLE WRIGHT                  953 VOSBURG ST                                                                                       FLINT               MI   48503‐3105
MERLE'S AUTO SERVICE          113 1ST ST SW                                                                                        OELWEIN             IA   50662‐2203
MERLEEN JONES                 6504 SCENIC PINES CT                                                                                 CLARKSTON           MI   48346‐4474
MERLENE CARR                  1429 LILLIAN DR                                                                                      FLINT               MI   48505‐2529
MERLENE CHADWELL              3245 WIRT RD                                                                                         MASON               MI   48854‐9320
MERLENE HILL                  PO BOX 3608                                                                                          TRENTON             NJ   08629‐0608
MERLENE KIRBYSON              235 PIPERS LN                      HIGHLAND MOBILE HOME PARK                                         MOUNT MORRIS        MI   48458‐8909
MERLENE OMANS                 715 W MICHIGAN AVE APT 205                                                                           JACKSON             MI   49201‐1925
MERLENE STAPLETON             1840 W GUARDIAN DR                                                                                   MEADVIEW            AZ   86444
MERLENE WALTERS               6837 COOLEY LAKE RD                                                                                  W BLOOMFIELD        MI   48324‐3900
MERLENO, JUDITH               1484 LEEWARD LN                                                                                      SAINT HELEN         MI   48656‐9229
MERLETTA LOUCKES              1494 NANCYWOOD DR APT 3                                                                              WATERFORD           MI   48327
MERLETTE, ANGELA V            500 WESTWIND POINTE                                                                                  ALPHARETTA          GA   30005
MERLETTE, THOMAS P            581 FLANDERS PL                                                                                      THE VILLAGES        FL   32162‐1660
MERLEY BROWN                  108 NORTON ST                                                                                        PONTIAC             MI   48341‐1431
MERLIE, DONA M                4700 AUBURN RD                                                                                       UTICA               MI   48317‐4107
MERLIN BARNETT                9465 DEER PARK CT                                                                                    FENTON              MI   48430‐8403
MERLIN BEERS                  PO BOX 93                                                                                            SHINGLETON          MI   49884‐0093
MERLIN BICKEL                 BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.         OH   44236
MERLIN BLACKWELL              7480 SE 114TH LN                                                                                     BELLEVIEW           FL   34420‐4734
MERLIN BURKS                  27278 COLGATE ST                                                                                     INKSTER             MI   48141‐3104
MERLIN BUSCH                  1201 8TH AVE W LOT E44                                                                               PALMETTO            FL   34221‐3728
MERLIN BUTTS JR.              1161 4 MILE RD NW                                                                                    GRAND RAPIDS        MI   49544‐1506
MERLIN CHRISTIANSON           1609 SAINT GEORGE LN                                                                                 JANESVILLE          WI   53545‐5602
MERLIN CHRISTISEN             405 MOON LN                                                                                          PERRYVILLE          MO   63775‐8152
MERLIN CONNETT                112 E KILBUCK ST                                                                                     TECUMSEH            MI   49286‐2025
MERLIN D WENDLAND             703 LAKE ST                                                                                          ONALASKA            WI   54650‐2622
MERLIN E ELDRED               482 MAPLE SPRINGS DRIVE                                                                              DAYTON              OH   45458‐9231
MERLIN E OSTERHOUT            1333 N JOHNSON ST                                                                                    BAY CITY            MI   48708‐6257
MERLIN ELDRED                 482 MAPLE SPRINGS DR                                                                                 DAYTON              OH   45458‐9231
MERLIN F PAGE                 NIX, PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                      DAINGERFIELD        TX   75638
MERLIN F ZANG                 1043 PARK WEST DR                                                                                    GLENWOOD SPRINGS    CO   81601‐4526
MERLIN FORD                   33109 VICTORY RD                                                                                     PAOLA               KS   66071‐8220
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Name                                  Address1                              Address2                          Address3                   Address4         City               State Zip
MERLIN FULKERSON                      PO BOX 115                                                                                                          SIX LAKES           MI 48886‐0115
MERLIN GOTHAM                         2132 E MOORE RD                                                                                                     SAGINAW             MI 48601‐9343
MERLIN GOULET                         4165 GAGNON TRL                                                                                                     OSCODA              MI 48750‐9651
MERLIN GREEN                          369 N FIVE LAKES RD                                                                                                 ATTICA              MI 48412‐9738
MERLIN HEGGE                          PO BOX 363                                                                                                          ORFORDVILLE         WI 53576‐0363
MERLIN HERALD                         9432 ASH ST                                                                                                         NEW LOTHROP         MI 48460‐7700
MERLIN HOLLISTER                      W1037 COUNTY TT                                                                                                     MONDOVI             WI 54755
MERLIN III, VINCENT J                 8797 BRADLEY ROAD                                                                                                   GASPORT             NY 14067‐9461
MERLIN III, VINCENT J                 8797 BRADLEY RD                       APT B                                                                         KASPORT             NY 14067
MERLIN J COWELL
MERLIN J REYNOLDS                     PO BOX 455                                                                                                          CHESANING          MI   48616‐0455
MERLIN KEPHART                        4934 BROWN RD                                                                                                       CONEWANGO VALLEY   NY   14726‐9710
MERLIN LACKIE                         5410 104TH ST                                                                                                       HOWARD CITY        MI   49329‐9609
MERLIN LANAVILLE                      121 WHISPERING PINES DR                                                                                             HUDSON             NC   28638‐9277
MERLIN LESCHINSKY                     W7205 12TH AVE                                                                                                      NECEDAH            WI   54646‐7406
MERLIN LITTLETON                      1494 FIELD LARK LANE NE                                                                                             BROOKHAVEN         MS   39601‐2092
MERLIN MARLATT                        7845 E VERMONTVILLE HWY                                                                                             DIMONDALE          MI   48821‐8746
MERLIN MILLER                         2829 DAVID DR R2                                                                                                    SPRINGPORT         MI   49284
MERLIN MITCHELL                       918 MCKEIGHAN AVE                                                                                                   FLINT              MI   48507‐2861
MERLIN PHILLIPS                       9243 N JARBOE ST                                                                                                    KANSAS CITY        MO   64155‐1280
MERLIN REYNOLDS                       PO BOX 455                                                                                                          CHESANING          MI   48616‐0455
MERLIN ROBERTS                        26 LEMYRA ST SE                                                                                                     GRAND RAPIDS       MI   49548‐1242
MERLIN ROOT                           2657 E SPICERVILLE HWY                                                                                              CHARLOTTE          MI   48813‐9141
MERLIN RUDOLPH                        4347 PHEASANT RUN                                                                                                   JANESVILLE         WI   53546‐9324
MERLIN SCOVILLE                       THE MADEKSHO LAW FIRM                 8866 GULF FREEWAY SUITE 440                                                   HOUSTON            TX   77017
MERLIN SEARS                          1317 10TH ST                                                                                                        BEDFORD            IN   47421‐2529
MERLIN SELLERS                        6313 W FAIRLANE DR                                                                                                  LAKE CITY          MI   49651‐8774
MERLIN SHANNON                        104 W HURON ST                                                                                                      DURAND             MI   48429‐1204
MERLIN SLEIGHT                        1317 W MOUNT HOPE HWY                                                                                               CHARLOTTE          MI   48813‐8631
MERLIN STANTON                        2586 DICK RD                                                                                                        IONIA              MI   48846‐9517
MERLIN STEWARD JR                     773 3RD AVE                                                                                                         LAKE ODESSA        MI   48849‐1253
MERLIN STICE THOMPSON, INDIVIDUALLY   REPRESENTATIVE OF THE ESTATE OF TERRY ATTN: IAN P CLOUD, C/O HEARD      9 GREENWAY PLZ, STE 2300                    HOUSTON            TX   77046
& AS PERSONAL                         THOMPSON                              ROBINS CLOUD BLACK & LUBEL, LLP

MERLIN TEED                           507 TICKNER ST                                                                                                      LINDEN             MI   48451‐9008
MERLIN TRUMAN                         4194 WHITBY LN                                                                                                      BATH               MI   48808‐9412
MERLIN VANDERHOOF                     BEVAN & ASSOCIATES LPA INC            6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS         OH   44236
MERLIN WALWORTH                       116 OAKLANE DR                                                                                                      ROSCOMMON          MI   48653‐8937
MERLIN WELCH                          9400 BERGY AVE SE                                                                                                   ALTO               MI   49302‐9636
MERLIN WENDLAND                       703 LAKE ST                                                                                                         ONALASKA           WI   54650‐2622
MERLIN WITTE                          331 WALNUT ST                                                                                                       CORUNNA            MI   48817‐1064
MERLIN'S QUALITY AUTO                 1261 S GROVE AVE                                                                                                    ONTARIO            CA   91761‐4520
MERLIN, DAVID                         1184 S DOGWOOD DR                                                                                                   HARRISONBURG       VA   22801
MERLIN, SHIRLEY                       1184 S DOGWOOD DR                                                                                                   HARRISONBURG       VA   22801‐1535
MERLINE ALLEN                         4932 CIRCLE CT APT 512                                                                                              CRESTWOOD          IL   60445‐1573
MERLINE BIRTWELL                      11350 PALMER RD                                                                                                     MAYBEE             MI   48159‐9787
MERLINE EDWARDS                       1318 W MOUNT HOPE AVE                                                                                               LANSING            MI   48910‐9074
MERLINE PARKS                         PO BOX 12                                                                                                           COALMONT           IN   47845‐0012
MERLINE, ELLEN M                      1490 BRENTWOOD DR                                                                                                   TROY               MI   48098‐2736
MERLING JR., EARL R                   53565 DRYDEN ST # 0                                                                                                 SHELBY TOWNSHIP    MI   48316‐2411
MERLING, THERESA M                    9484 DEAN RD                                                                                                        FENTON             MI   48430‐9317
MERLINO, JOHN                         529 1ST AVE                                                                                                         SUTERSVILLE        PA   15083‐1213
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Name                    Address1                         Address2                    Address3   Address4                 City              State Zip
MERLINO, TIMOTHY J      2399 TIMBERCREST CT                                                                              ANN ARBOR          MI 48105‐9269
MERLINO, VINCENT        359 TONAWANDA CREEK RD                                                                           AMHERST            NY 14228‐1216
MERLLE SAMPSON          2335 GEIGER RD                                                                                   IDA                MI 48140‐9556
MERLO ENERGY            JO GALLOP COMPANY                1987 CONCEPT DR                                                 WARREN             MI 48091‐6013
MERLO JR, PETE          2549 OAKDALE ST                                                                                  DETROIT            MI 48209‐1032
MERLO'S FIVE            ATTN GARY MAFFER                 1001 SE SANDY BLVD                                              PORTLAND           OR 97214
MERLO, ARTHUR J         1384 PEORIA PL                                                                                   NORTH BRUNSWICK    NJ 08902‐1605
MERLO, BLANCHE M        73 MENLO PARK DR                                                                                 BELLEVILLE         MI 48111‐2918
MERLO, DAVID R          4452 WINTERGREEN DR                                                                              TROY               MI 48098‐4371
MERLO, DAVID RYAN       4452 WINTERGREEN DR                                                                              TROY               MI 48098‐4371
MERLO, DORIS J.         202‐5125 RIVERSIDE DR E                                                 WINDSOR ON CANADA N8S‐
                                                                                                4L8
MERLO, ESTHER T         25 HARRISON TERR                                                                                 ROCHESTER         NY   14617‐1205
MERLO, GIACOMO          326 SPENCER ST                                                                                   ELIZABETH         NJ   07202‐3926
MERLO, JOHN F           10855 CEDAR RUN RD                                                                               TRAVERSE CITY     MI   49684‐9414
MERLO, JOSEPH T         1209 FOUR WINDS CT                                                                               NILES             OH   44446‐3573
MERLO, PHILIP           1868 MERLO CT                                                                                    NILES             OH   44446‐4145
MERLO, PHILLIP M        3550 DARBYSHIRE DR                                                                               CANFIELD          OH   44406‐9233
MERLO, PHILLIP M        1405 FOX DEN TRL                                                                                 CANFIELD          OH   44406‐8304
MERLON BAXTER           6 CECIL AVE                                                                                      MASSENA           NY   13662‐2140
MERLON SCHAEFER         10390 WINTHROP RD                                                                                STREETSBORO       OH   44241‐5161
MERLON THIGPEN          THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                       HOUSTON           TX   77017
MERLONE, DALE K         2533 N MASON ST                                                                                  SAGINAW           MI   48602‐5215
MERLONE, DALE KENNETH   2533 N MASON ST                                                                                  SAGINAW           MI   48602‐5215
MERLONE, JAMES K        609 HIGHWAY 466                  LOT138/1140                                                     LADY LAKE         FL   32159
MERLONE, JOSEPH L       5146 AUSABLE                                                                                     HALE              MI   48739‐8816
MERLONE, RICHARD T      5752 LAKE HILL DR                                                                                ROMULUS           NY   14541‐5024
MERLONI BRANDS KFT      1135 BUDAPOST HUN UTCA 2                                                HUNGARY (REP)
MERLOTTI, DAVID C       29170 CHERRY OAK DR                                                                              CHESTERFIELD      MI   48051‐2048
MERLOTTI, PAUL L        4708 KINGBIRD LN                                                                                 SAINT LOUIS       MO   63128‐2313
MERLS TOWING SERVICE    5510 CLAY AVE SW                                                                                 WYOMING           MI   49548‐5776
MERLUSE PAULEEN         MERLUSE, PAULEEN                 1234 MARKET ST STE 2040                                         PHILADELPHIA      PA   19107‐3720
MERLUSE, PAULEEN        LAW OFFICES OF DAVID GORBERG &   32 PARKING PLZ STE 700                                          ARDMORE           PA   19003‐2440
                        ASSOCIATES
MERLUZZI, MICHAEL J     240 MAPLE AVE                                                                                    EAST TAWAS        MI   48730‐9752
MERLYN B BROWN          5940 WOODHAVEN RD                                                                                JACKSON           MS   39206
MERLYN BURKHOLDER       45182 W PARK DR APT 69                                                                           NOVI              MI   48377‐1303
MERLYN BURTON           806 SIMCOE AVE                                                                                   FLINT             MI   48507‐1681
MERLYN CAUPP            10778 FARMERSVILLE W CARR.                                                                       GERMANTOWN        OH   45327
MERLYN COOK             PO BOX 27                                                                                        VERSAILLES        NY   14168‐0027
MERLYN D CHAPMAN        1129 E DOWNEY AVE                                                                                FLINT             MI   48505‐1626
MERLYN FRENCH           1923 20 MILE RD NE                                                                               CEDAR SPRINGS     MI   49319‐8667
MERLYN G CAUPP          10778 FARMERSVILLE W CARR.                                                                       GERMANTOWN        OH   45327
MERLYN HOBSON           5967 N CHIPPEWA TRL                                                                              HALE              MI   48739‐9041
MERLYN HOLTE            PO BOX 223                                                                                       FOOTVILLE         WI   53537‐0223
MERLYN JINKINS SR       3719 ILLINI AVE                                                                                  DANVILLE          IL   61832‐1009
MERLYN PIPER            1453 CO ROAD 1475 R 1                                                                            ASHLAND           OH   44805
MERLYN THOMPSON         9537 N MCCLELLAND RD R 1                                                                         BRECKENRIDGE      MI   48615
MERLYN WALLACE          15013 CLOVERDALE DR                                                                              FORT MYERS        FL   33919‐8303
MERMELSTEIN, MARTIN     SIMMONS FIRM                     PO BOX 521                                                      EAST ALTON        IL   62024‐0519
MERMINI RINO J          767 FIFTH AVENUE 16TH FLOOR                                                                      NEW YORK          NY   10153
MERMINI, ETALO A        570 PASSAIC AVE                                                                                  KENILWORTH        NJ   07033‐1837
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Name                                  Address1                         Address2                      Address3   Address4              City               State Zip
MERMINI, RINO J                       161 PARK AVENUE                                                                                 WEST CALDWELL       NJ 07006‐7830
MERMON, ALFRED S                      6471 CLOVERLEAF DR                                                                              LOCKPORT            NY 14094‐6120
MERNA CRAIGHEAD                       3010 DELAND RD                                                                                  WATERFORD           MI 48329‐3424
MERNA GILLESPIE                       3411 NEEDLES DR                                                                                 ORLANDO             FL 32810‐2322
MERNA HARGIS                          13125 FARM ROAD 1052                                                                            PURDY               MO 65734‐8761
MERNA MCGUIRE                         1410 S GRANT AVE                                                                                JANESVILLE          WI 53546‐5409
MERNA NUTTER                          3313 FRANCES LN                                                                                 KOKOMO              IN 46902‐9709
MERNA RHODES                          417 HARVEY ST                                                                                   DANVILLE             IL 61832‐4913
MERNA WOLFE                           11443 W RIVER DR                                                                                DEWITT              MI 48820‐9727
MERNEL WHITE                          53071 SPRINGHILL MEADOWS DR                                                                     MACOMB              MI 48042‐2863
MERNIN, PATRICIA A                    623 ADMIRAL DR UNIT 202                                                                         ANNAPOLIS           MD 21401‐8736
MERNIN, PATTI A                       10717 GREENFIELD RD                                                                             LORETTO             MN 55357‐8702
MERNIN, THOMAS J                      1643 EUCLID AVE                                                                                 BERWYN               IL 60402‐1840
MERO DIAZ                             3710 MARGARET LN                                                                                BAY CITY            MI 48706‐1318
MERO RICHARD E (429449)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510
                                                                       STREET, SUITE 600
MERO, CHRISTOPHER M                   164 MARTIN DR                                                             BELLE RIVER ONTARIO
                                                                                                                CANADA N0R‐1A0
MERO, HARRY J                         1462 MEDINAH LN                                                                                 MURRELLS INLET     SC 29576‐8640
MERO, JAMES W                         10559 S STATE RD                                                                                GOODRICH           MI 48438‐9449
MERO, RICHARD E                       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                                       STREET, SUITE 600
MEROA CURTIS                          G3064 MILLER RD APT 805                                                                         FLINT              MI   48507‐1343
MEROLA CLARA                          72 COBURN AVE                                                                                   WORCESTER          MA   01604‐1176
MEROLA, AUGUST E                      820 SOUTHWESTERN RUN UNIT 48                                                                    POLAND             OH   44514‐3680
MEROLA, ROBERT J                      38754 HARTWELL DR                                                                               STERLING HTS       MI   48312‐1327
MEROLA, VINCENT A                     PO BOX 201528                                                                                   ARLINGTON          TX   76006‐1528
MEROLILLO, PETER J                    1537 LYNN AVE                                                                                   YOUNGSTOWN         OH   44514‐1118
MEROLLE, DIANE M                      267 WESTHAVEN CIR                                                                               GENEVA             IL   60134‐3977
MEROLLIS CHEVROLET INC                CARLA MEROLLIS‐NEWTON            12110 LUSHER RD                                                SAINT LOUIS        MO   63138‐1453
MEROLLIS CHEVROLET SALES & SERVICE,   21800 GRATIOT AVE                                                                               EASTPOINTE         MI   48021‐2224

MEROLLIS CHEVROLET SALES & SERVICE,   21800 GRATIOT AVE                                                                               EASTPOINTE         MI 48021‐2224
INC.
MEROLLIS CHEVROLET SALES & SERVICE,   WILLIAM PERKINS                  21800 GRATIOT AVE                                              EASTPOINTE         MI 48021‐2224
INC.
MEROLLIS CHEVROLET SALES AND SERVICE, 21800 GRATIOT AVE                ATTN: MANAGER                                                  EASTPOINTE         MI 48021‐2224
INC.
MEROLLIS CHEVROLET, INC.              CARLA MEROLLIS‐NEWTON            12110 LUSHER RD                                                SAINT LOUIS        MO   63138‐1453
MEROLLIS CHEVROLET, INC.              12110 LUSHER RD                                                                                 SAINT LOUIS        MO   63138‐1453
MEROLLIS ENTERPRISES INC              MEROLLIS CHEVROLET SALES & SVC   3625 SHOREVIEW CT                                              BLOOMFIELD HILLS   MI   48302‐1257
MEROLLIS OLDSMOBILE‐CADILLAC‐GMC TR 473 W GENESEE ST                                                                                  LAPEER             MI   48446‐2231

MEROLLIS OLDSMOBILE‐CADILLAC‐GMC      473 W GENESEE ST                                                                                LAPEER             MI 48446‐2231
TRUCK, INC.
MEROLLIS OLDSMOBILE‐CADILLAC‐GMC      MICHAEL MEROLLIS                 473 W GENESEE ST                                               LAPEER             MI 48446‐2231
TRUCK, INC.
MERONEY, MARIAN E                     3916 GORMAN AVE                                                                                 WACO               TX   76710‐5133
MEROUSE, CHRISTINE A                  8268 RUSSELL ST                                                                                 SHELBY TWP         MI   48317‐5354
MEROVICH, MARY R                      1C SPRUCE DR C                                                                                  HIGHTSTOWN         NJ   08520
MEROZ, RYAN M                         1954 FLAGSTONE CIR                                                                              ROCHESTER          MI   48307‐6096
MERQUE POLK                           227 ELGIN AVE APT 2E                                                                            FOREST PARK        IL   60130‐1343
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Name                       Address1                          Address2            Address3         Address4         City               State Zip
MERR TRUMBORE              1040 EBENEZER CHURCH RD                                                                 RISING SUN          MD 21911
MERRAIN BATEY              5644 HIGHWAY B                                                                          HILLSBORO           MO 63050‐3003
MERRALEE DURST             210 RAINBOW DR PMB 11022                                                                LIVINGSTON          TX 77399‐2010
MERRALEE W DURST           210 RAINBOW DR                    PMB 11022                                             LIVINGSTON          TX 77399‐2010
MERRANCE PETERS            12939 M 50                                                                              BROOKLYN            MI 49230‐8339
MERRELENE F HAMMER         7509 GENESEO LN                                                                         ARLINGTON           TX 76002‐3332
MERRELENE HAMMER           7509 GENESEO LN                                                                         ARLINGTON           TX 76002‐3332
MERRELL & GARAGUSO INC     PO BOX 157                        157 LOCKE AVE                                         SWEDESBORO          NJ 08085‐0157
MERRELL ADKINS             1320 FATE RANKIN RD                                                                     JEFFERSON CITY      TN 37760‐3937
MERRELL HOPSON             200 OAK HAVEN DR                                                                        KELLER              TX 76248‐4624
MERRELL HOWARD             277 HOG TRL                                                                             SHERMAN             WV 26164‐6604
MERRELL JEFFREY            MERRELL, JEFFREY W                89 N HADDON AVE                                       HADDONFIELD         NJ 08033‐2423
MERRELL PENNINGTON         5340 THOMPSON PARK BLVD                                                                 INDIANAPOLIS        IN 46237‐9061
MERRELL, ALVIN DRIVER
MERRELL, BARNETT E         BOX 578                                                                                 ST HELEN           MI   48656‐0578
MERRELL, BARNETT E         PO BOX 578                                                                              SAINT HELEN        MI   48656‐0578
MERRELL, BLAINE W          101 WAY WEST AIRPARK                                                                    BAINBRIDGE         IN   46105‐9449
MERRELL, BOBBY L           3532 HADLEY RD                    P O BOX 260                                           HADLEY             MI   48440‐0260
MERRELL, BOBBY L           PO BOX 260                        3532 HADLEY RD                                        HADLEY             MI   48440‐0260
MERRELL, DANNI L           1368 KRA NUR DR                                                                         BURTON             MI   48509‐1633
MERRELL, DAVID J           235 E ELIZABETH ST                                                                      LAKE ORION         MI   48362‐3116
MERRELL, DAVID W           1722 E ELZA AVE                                                                         HAZEL PARK         MI   48030‐2332
MERRELL, JAMES R           1082 CARLSON DR                                                                         BURTON             MI   48509‐2328
MERRELL, JERRY L           5437 SQUIRE LN                                                                          FLINT              MI   48506‐2275
MERRELL, JUDY A            PO BOX 2825                                                                             WAXAHACHIE         TX   75168‐8825
MERRELL, KAREN J           1082 CARLSON DR                                                                         BURTON             MI   48509‐2328
MERRELL, KEVIN M           2606 BRUNSWICK ROAD                                                                     YOUNGSTOWN         OH   44511‐2114
MERRELL, LOU R             1217 RIDGEVIEW DR                                                                       BRUNSWICK          OH   44212‐2836
MERRELL, LOUISE            PO BOX 925                                                                              FORTUNA            CA   95540‐0925
MERRELL, MARGARET J        3701 BALFOUR CT                                                                         FLINT              MI   48507‐1405
MERRELL, MARGARET JOANNE   3701 BALFOUR CT                                                                         FLINT              MI   48507‐1405
MERRELL, QUEENIE V         2673 BEAL ST NW                                                                         WARREN             OH   44485‐1205
MERRELL, RICHARD F         3486 CLOVER DR                                                                          BRUNSWICK          OH   44212‐3107
MERRELL, RICHARD L         7075 SHANAS TRL                                                                         PORT ST LUCIE      FL   34952‐2711
MERRELL, ROBERT B          6325 FREDS COURT                                                                        INDIANAPOLIS       IN   46237‐2929
MERRELL, ROBERT D          3701 BALFOUR CT                                                                         FLINT              MI   48507‐1405
MERRELL, ROBERT L          1928 W DEFENBAUGH ST                                                                    KOKOMO             IN   46902‐6032
MERRELL, RUSSELL J         8001 S COWAN RD 100 W                                                                   MUNCIE             IN   47302
MERRELL, RYAN L            21745 CUMBERLAND RD                                                                     NOBLESVILLE        IN   46062‐8878
MERRELL, STEVEN J          6720 CAIRO ROAD                                                                         COCOA              FL   32927‐2451
MERRELL, STEVEN L          8177 ENGLISH ELM CIRCLE                                                                 SPRING HILL        FL   34606‐2925
MERRELL, WILLIAM R         119 E 7TH ST                                                                            RUSHVILLE          IN   46173‐1632
MERRELL, WILLIE L          4651 SHERWOOD CIR                                                                       CANTON             MI   48188‐2217
MERRELLI, DONALD R         16454 JULIANA AVE                                                                       EASTPOINTE         MI   48021‐3008
MERRELLI, JEAN M           43707 HAYES RD APT 77                                                                   STERLING HEIGHTS   MI   48313‐2274
MERRELLI, JEAN M           43707 HAYES RD                    APT 77                                                STERLING HEIGHTS   MI   48313
MERRELLI, JOANN M          26552 HUNTERS DR                                                                        CHESTERFIELD       MI   48051‐1984
MERRELLI, MATTHEW G        51700 SASS RD                                                                           CHESTERFIELD       MI   48047‐3032
MERRELLI, RICHARD D        51700 SASS RD                                                                           CHESTERFIELD       MI   48047‐3032
MERRETT, VIRGINIA E        8805 MADISON AVE                  BLDG 3 APT110‐A                                       INDIANAPOLIS       IN   46227‐6463
MERRI LYNN VASS            92 BANNER ST                                                                            CAMDENTON          MO   65020‐7201
MERRIAM BRELSFORD          195 SIMONS DR                                                                           MORRISVILLE        PA   19067‐5913
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Name                        Address1                       Address2                    Address3   Address4         City               State Zip
MERRIAM, DONALD S           2808 N TARRANT RD                                                                      MILTON              WI 53563‐8633
MERRIAM, JAMES K            APT C                          2908 BANCROFT CIRCLE EAST                               PALM HARBOR         FL 34683‐2511
MERRIAM, JOHN D             173 CONLYN AVE                                                                         FRANKLIN            MA 02038‐3115
MERRIAM, KENNETH G          212 CEDAR ST                                                                           PAW PAW             MI 49079‐1109
MERRIAM, MARK D             46316 TURNBUCKLE LN                                                                    MACOMB              MI 48044‐6204
MERRIAM, MICHAEL            12095 BRANT WARD RD                                                                    COTTONDALE          AL 35453‐3129
MERRIAM, WILLIAM J          1215 KENNELY RD                                                                        SAGINAW             MI 48609‐9645
MERRIAM, WILLIAM JAMES      1215 KENNELY RD                                                                        SAGINAW             MI 48609‐9645
MERRIAN VOGEL               PO BOX 332                                                                             FOOTVILLE           WI 53537‐0332
MERRICK                     283 E REAGAN PKWY                                                                      MEDINA              OH 44256‐1298
MERRICK BAKER & STRAUSS     1044 MAIN ST STE 400                                                                   KANSAS CITY         MO 64105‐2135
MERRICK COTTON JR           7341 CRYSTAL LAKE DR APT 8                                                             SWARTZ CREEK        MI 48473‐8937
MERRICK COUNTY TREASURER    PO BOX 27                                                                              CENTRAL CITY        NE 68826‐0027
MERRICK FRANK SR            C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON             TX 77007
                            BOUNDAS LLP
MERRICK GARTH               PO BOX 2257                                                                            HEREFORD           TX   79045‐2257
MERRICK GREENHOUSE          2985 SHAWNEE LN                                                                        WATERFORD          MI   48329‐4339
MERRICK INDUSTRIES INC      ATTN PETRA HILL                10 ARTHUR DRIVE                                         LYNN HAVEN         FL   32444
MERRICK INDUSTRIES INC      10 ARTHUR DR                                                                           LYNN HAVEN         FL   32444‐1685
MERRICK JR, DONALD L        855 DORWOOD PARK                                                                       RANSOMVILLE        NY   14131‐9673
MERRICK LUCKETT             18845 DEQUINDRE ST                                                                     DETROIT            MI   48234‐1205
MERRICK ROBYN M             9425 PECAN TREE DR                                                                     BATON ROUGE        LA   70810‐7010
MERRICK STRONGSVILLE, LLC   520 FRONT ST                                                                           BEREA              OH   44017‐1758
MERRICK, BERTHA D           1328 VIRGINIA DR.                                                                      ELLISVILLE         MO   63011‐2123
MERRICK, DEBORAH            2422 OTTELLO AVE                                                                       DAYTON             OH   45414‐4764
MERRICK, DENNIS R           1627 W ELM ST                                                                          KOKOMO             IN   46901‐1944
MERRICK, DOUGLAS R          PO BOX 162                                                                             BELLAIRE           MI   49615‐0162
MERRICK, FREDERICK W        6255 TELEGRAPH RD LOT 349                                                              ERIE               MI   48133‐8404
MERRICK, GARY R             1011 E. PARK CIRCLE DR                                                                 GIRARD             OH   44420
MERRICK, GORDON L           342 VOORHEIS ST                                                                        PONTIAC            MI   48341‐1947
MERRICK, HENRIETTA G        40 MANOR DR                                                                            BROOKFIELD         OH   44403‐9635
MERRICK, HENRIETTA G        40 MANOR DRIVE                                                                         BROOKFIELD         OH   44403‐9635
MERRICK, JAMES              347 PONDFIELD RD                                                                       GAFFNEY            SC   29340
MERRICK, JANICE M           PO BOX 162                                                                             BELLAIRE           MI   49615‐0162
MERRICK, JODY R             139 S 7TH ST                                                                           SHARPSVILLE        PA   16150‐2030
MERRICK, JOE                SHANNON LAW FIRM               100 W GALLATIN ST                                       HAZLEHURST         MS   39083‐3007
MERRICK, JOHN C             2068 N BLACK RIVER RD                                                                  CHEBOYGAN          MI   49721‐9267
MERRICK, KELLY L            4454 THORNWOOD CT                                                                      WARREN             MI   48092‐6110
MERRICK, MARJORIE A         44688 N HILLS DR APT‐H76                                                               NORTHVILLE         MI   48167
MERRICK, MARLIN L           12968 LAKESIDE DR                                                                      GREENFIELD         OH   45123‐9438
MERRICK, MICHAEL A          4340 GALAXY DR                                                                         JANESVILLE         WI   53546‐8891
MERRICK, MICHAEL S          3529 LAKE MILL RD                                                                      BUFORD             GA   30519‐5352
MERRICK, RICHARD L          178 BELLE VISTA AVE                                                                    HUBBARD            OH   44425‐2161
MERRICK, ROBERT P           40 MANOR DR                                                                            BROOKFIELD         OH   44403‐9635
MERRICK, ROBERT P           40 MANOR DR.                                                                           BROOKFIELD         OH   44403‐9635
MERRICK, RONALD R           170 TEN EYCK ST                                                                        SOUTH PLAINFIELD   NJ   07080‐4519
MERRICK, RUSSELL L          48 COLBY ST                                                                            SPENCERPORT        NY   14559
MERRICK, RUTH ANN           1064 WILLIAMS ROAD                                                                     ANDERSON           SC   29625‐6157
MERRICK, SELMA              625 FREDERICKSBURG DR                                                                  DAYTON             OH   45415‐2650
MERRICK, SHIRLEY J          2916 ROBIN COURT                                                                       SAGINAW            MI   48601‐9223
MERRICK, SHIRLEY J          2916 ROBIN CT                                                                          SAGINAW            MI   48601‐9223
MERRICK, VIRGINIA ANNACH    1614 SLUSSER RD                                                                        AKRON              OH   44305‐1412
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Name                         Address1                            Address2                      Address3   Address4         City              State Zip
MERRICKS JR, POSEY           3444 LOGANVIEW DR                                                                             BALTIMORE          MD 21222‐5951
MERRICKS, CHAUNTELLE         1506 LAUREN CREEK LN                                                                          SPRING             TX 77386‐3331
MERRICKS, MYRNA
MERRICLE, STEVEN W           31147 LYONS CIR W                                                                             WARREN            MI   48092‐1723
MERRIE A WORLEY              1300 IMPERIAL DR                                                                              KOKOMO            IN   46902‐5617
MERRIE RUEGSEGGER            10100 MILLER RD                                                                               SWARTZ CREEK      MI   48473‐8525
MERRIE WORLEY                1300 IMPERIAL DR                                                                              KOKOMO            IN   46902‐5617
MERRIEL FOLDS                5250 GREENWOOD ST                                                                             NEW PORT RICHEY   FL   34653‐4700
MERRIEL SMITH                220 E FULTON ST                                                                               PERRINTON         MI   48871‐5138
MERRIELL, JUANITA D          4228 LOMO ALTO CT                                                                             DALLAS            TX   75219‐1537
MERRIETT, JILL L             870 MAYSON TURNER RD NW UNIT 1222                                                             ATLANTA           GA   30314‐3433

MERRIETT, JOYCE              229 CHIPPINGWOOD CIR                                                                          POOLER            GA   31322‐3617
MERRIETTA GNASTER            2420 DAFFODIL TER                                                                             SANFORD           FL   32771‐6837
MERRIFIED GARY               13996 ROAD 21                                                                                 CORTEZ            CO   81321‐8758
MERRIFIELD I I, JACK K       417 HILLWOOD CT                                                                               FLUSHING          MI   48433‐1777
MERRIFIELD II, JACK K        417 HILLWOOD CT                                                                               FLUSHING          MI   48433‐1777
MERRIFIELD III, RICHARD E    1940 CARRAWAY ST                                                                              BIRMINGHAM        AL   35235‐1910
MERRIFIELD JOHN F (404848)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                                 STREET, SUITE 600
MERRIFIELD, AMANDA L         4403 HEDGETHORN CIRCLE                                                                        BURTON            MI   48509‐1248
MERRIFIELD, EDWARD R         43022 WHARF DR                                                                                CLINTON TWP       MI   48038‐5534
MERRIFIELD, HARRY            1123 BLAINE AVE                                                                               JANESVILLE        WI   53545‐1885
MERRIFIELD, JOAN J           1123 BLAINE AVE                                                                               JANESVILLE        WI   53545‐1885
MERRIFIELD, JOHN F           GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510‐2212
                                                                 STREET, SUITE 600
MERRIFIELD, JOHN W           10616 KETCHUM RD                                                                              NORTH COLLINS     NY   14111‐9778
MERRIFIELD, MARIE A          2920 SUMMERLAND DR                                                                            MATTHEWS          NC   28105‐0805
MERRIFIELD, MARILYN A        6829 MULDERSTRAAT                                                                             GRAND LEDGE       MI   48837‐8429
MERRIFIELD, RANDI R          576 SNOWFALL CT                                                                               HOWELL            MI   48843‐7378
MERRIFIELD, VICTOR H         969 NANTUCKET DR AVE                                                                          JANESVILLE        WI   53546
MERRIFIELD, WALTER D         692 ALBATROSS TER                                                                             SEBASTIAN         FL   32958‐5935
MERRIGAN, KEVIN P            10235 RUE CHAMONIX                                                                            SAN DIEGO         CA   92131‐2611
MERRIGAN, MICHAEL V          11 THORNBURY RD                                                                               SCARSDALE         NY   10583‐4820
MERRIHEW, DALE E             8908 DEHMEL RD                                                                                BIRCH RUN         MI   48415‐9750
MERRIHEW, GALE E             11336 N JENNINGS RD                                                                           CLIO              MI   48420‐1514
MERRIL BRACKEN               7509 S 825 E                                                                                  LADOGA            IN   47954‐7216
MERRIL HAESEMEYER            803 CYPRESS CT                                                                                RAYMORE           MO   64083‐8295
MERRIL JAMES A               767 FIFTH AVE 16TH FLOOR                                                                      NEW YORK          NY   10153
MERRIL KLUG                  11432 N STATE ROAD 26                                                                         MILTON            WI   53563‐9132
MERRIL LYNCH FBO             MICHAEL FARRENS IRA 740‐15470       453 NORRIS LANE                                           LAKE HELEN        FL   32744
MERRIL MILLER                20104 BINDER ST                                                                               DETROIT           MI   48234‐1910
MERRIL MUNN                  10508 DANDALE ST                                                                              PORTAGE           MI   49002‐7329
MERRIL PATTON                5016 ANGELITA AVE                                                                             HUBER HEIGHTS     OH   45424‐2705
MERRIL SHAW                  628 ALEXANDRIA PIKE                                                                           ANDERSON          IN   46012‐2907
MERRIL THOMAS                4639 STATE ROAD 32 E                                                                          ANDERSON          IN   46017‐9511
MERRIL W PATTON              5016 ANGELITA AVE.                                                                            HUBER HEIGHTS     OH   45424‐2705
MERRILEE JOHNSON             RR 1 BOX 2120                                                                                 NAYLOR            MO   63953‐9713
MERRILEE ODOM                PO BOX 714                                                                                    MOUNT MORRIS      MI   48458‐0714
MERRILEES, CHARLES           7432 HYACINTH DR                                                                              AVON              IN   46123‐7135
MERRILL & ASSOCIATES INC     26645 W 12 MILE RD STE 100                                                                    SOUTHFIELD        MI   48034‐7811
MERRILL AUTO ELECTRIC        2525 KIPLING ST                                                                               LAKEWOOD          CO   80215‐1526
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Name                                  Address1                        Address2                        Address3                     Address4         City               State Zip
MERRILL AUTOMOTIVE & TIRE             2528 OAKLAND AVE                                                                                              ELKHART             IN 46517‐1535
MERRILL B STAMM                       2313 SOUTHLEA DR                                                                                              DAYTON              OH 45459‐3642
MERRILL BEAVER                        6420 SUNSHINE RD                                                                                              HENDERSON           TN 38340‐4353
MERRILL BENNETT                       1612 ROSEBUD LN                                                                                               GREENWOOD           IN 46143‐7848
MERRILL BISHIR                        527 S MILLER AVE                                                                                              MARION              IN 46953‐1139
MERRILL BODINE                        3333 QUAIL HOLLOW DR                                                                                          LAMBERTVILLE        MI 48144‐8611
MERRILL BROWN                         PO BOX 259                      409 BALTIMORE STREET                                                          CHARLESTOWN         MD 21914‐0259
MERRILL CHEVROLET                     20285 GRATIOT RD                                                                                              MERRILL             MI 48637‐9558
MERRILL CHRISTOPHER                   805 W SPRUELL AVE                                                                                             COOLIDGE            AZ 85228‐4139
MERRILL COMBS                         PO BOX 3545                                                                                                   HAINES CITY         FL 33845‐3545
MERRILL COMMUNICATIONS LLC            CM‐9638                         PO BOX 86                                                                     SAINT PAUL          MN 55170‐9638
MERRILL COMPTON                       RD7252 S RD700 RT1                                                                                            SWAYZEE             IN 46986
MERRILL COOPER                        5308 S ADAMS ST                                                                                               MARION              IN 46953‐5911
MERRILL CORLEW                        10294 E MOUNT MORRIS RD                                                                                       DAVISON             MI 48423‐9349
MERRILL CORP                          9638 CM                                                                                                       SAINT PAUL          MN 55170‐0001
MERRILL CORP                          650 W WASHINGTON BLVD                                                                                         CHICAGO              IL 60661‐2117
MERRILL D WOODWARD                    PO BOX 121                                                                                                    CATLIN               IL 61817‐0121
MERRILL DI CRISTINA                   PO BOX 1278                                                                                                   PINECREST           CA 95364‐0278
MERRILL ELMO DIEHL                    ATTN: ROBERT W PHILLIPS         SIMMONS BROWDER GIANARIS        707 BERKSHIRE BLVD, PO BOX                    EAST ALTON           IL 62024
                                                                      ANGELIDES & BARNERD LLC         521
MERRILL F PERKINS                     4722 CENTRAL AVE.                                                                                             MIDDLETOWN         OH   45044‐5354
MERRILL F SHORT                       24 SECORE COURT                                                                                               DAYTON             OH   45440‐3619
MERRILL FELTON                        3313 S CHEROKEE RD                                                                                            MUNCIE             IN   47302‐5568
MERRILL FRANKLIN                      4630 ALDEN DR                                                                                                 HOLLY              MI   48442‐9134
MERRILL FRELICH                       6244 LENNON RD                                                                                                SWARTZ CREEK       MI   48473‐7924
MERRILL FRISCHE                       408 S WASHINGTON ST                                                                                           CASTALIA           OH   44824‐9795
MERRILL GERALD                        PO BOX 487                                                                                                    CROYDON            NH   03773‐0487
MERRILL GOSNELL                       212 E MCCULLOUGH BLVD                                                                                         MUNCIE             IN   47303‐3056
MERRILL HACHTEL                       N3991 STATE ROAD 89                                                                                           JEFFERSON          WI   53549‐9614
MERRILL HADCOCK                       6011 ROLLING VISTA LOOP                                                                                       DOVER              FL   33527‐4267
MERRILL HALL JR                       1902 N DOOLITTLE RD                                                                                           EDINBURG           TX   78542‐8609
MERRILL HANSON                        8102 N COUNTY ROAD 800 W                                                                                      MIDDLETOWN         IN   47356‐9783
MERRILL HOUGH                         5025 WILLOW RD                                                                                                ZIONSVILLE         IN   46077‐9445
MERRILL JENKINS                       1711 N GILBERT ST                                                                                             DANVILLE           IL   61832‐2235
MERRILL JEROME (ESTATE OF) (452647)   SIMMONS FIRM                    PO BOX 559                                                                    WOOD RIVER         IL   62095‐0559
MERRILL JEROME (ESTATE OF) (493054)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD         OH   44067
                                                                      PROFESSIONAL BLDG
MERRILL JR, GEORGE L                  PO BOX 257                                                                                                    BRISTOL            CT   06011‐0257
MERRILL JR, JAMES J                   3517 RUTH                                                                                                     LANSING            MI   48910
MERRILL JR, PAUL R                    4144 ROYALTON RD                                                                                              BRECKSVILLE        OH   44141‐2574
MERRILL JR, RICHARD F                 3407 JORDAN RD                                                                                                FREEPORT           MI   49325‐9727
MERRILL LOCKWOOD                      1731 NORWAY ST 64                                                                                             NATIONAL CITY      MI   48748
MERRILL LYNCH                         FOR DEPOSIT TO THE ACCOUNT OF   S KOCH                          32255 NORTHWESTERN HWY                        FARMINGTON HILLS   MI   48334
                                                                                                      ST 260
MERRILL LYNCH                         FOR DEPOSIT TO THE ACCOUNT OF   2501 COOLIDGE RD STE 500        S JANISSE                                     EAST LANSING       MI   48823‐6359
MERRILL LYNCH                         FOR DEPOSIT IN THE A/C OF       8121 TRILLIUM CIRCLE AVE        B ANTONIO                                     GRAND BLANC        MI   48439‐2476
MERRILL LYNCH                         ATTN GIAN JANVEJA DEPOSIT TO    290 TOWN CENTER DR STE 1100     A/C OF I IBRAHIM                              DEARBORN           MI   48126‐2797
MERRILL LYNCH                         FOR DEPOSIT TO THE ACCOUNT OF   99 KERCHEVAL AVE                                                              GROSSE POINTE      MI   48236‐3618
MERRILL LYNCH                         FOR DEPOSIT IN THE ACCOUNT OF   32255 NORTHWESTERN HWY STE      S NURKALA                                     FARMINGTON HILLS   MI   48334‐1574
                                                                      260
MERRILL LYNCH                         FOR DEPOSIT IN THE ACCOUNT OF   16835 KERCHEVAL AVE             C WEIERMILLER                                 GROSSE POINTE      MI 48230‐1532
MERRILL LYNCH                         FOR DEPOSIT IN THE ACCOUNT OF   3030 CROSS CREEK PKWY           R CHALASANI                                   AUBURN HILLS       MI 48326‐2760
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Name                                    Address1                               Address2                         Address3                 Address4                City                State Zip
MERRILL LYNCH                           4 WORLD FINANCIAL CTR                  250 VESEY STREET                                                                  NEW YORK             NY 10080‐1002
MERRILL LYNCH                           801 10TH ST                                                                                                              MODESTO              CA 95354
MERRILL LYNCH                           4 WORLD FINANCIAL CTR                                                                                                    NEW YORK             NY 10080‐1002
MERRILL LYNCH                           4 WORLD FINANCIAL CTR                  NORTH TOWER                                                                       NEW YORK             NY 10080‐1002
MERRILL LYNCH & CO., INC., INVESTMENT   ATTN: HUGH D. SULLIVAN, MANAGING       4 WORLD FINANCIAL CENTER 250                                                      NEW YORK             NY 10080‐0001
BANKING DIVISION                        DIRECTOR                               VESEY ST
MERRILL LYNCH (LASALLE BANK)            PO BOX 640387                          MINORITY ALLIANCE CAPITAL, LLC                                                    PITTSBURGH          PA 15264‐0387
                                                                               C/O GE CAPITAL
MERRILL LYNCH BANK ONE NA               FOR DEPOSIT IN THE ACCOUNT OF          39577 WOODWARD AVE STE 100       J FERNSLER                                       BLOOMFIELD HILLS    MI 48304‐5083
MERRILL LYNCH BANK SUISSE NA            ROUTE DE FLORISSANT, 13                CASE POSTALE 3070                                                                 GENEVA
MERRILL LYNCH BANK SUISSE SA            ROUTE DE FLORISSANT 13                                                                           3070 CASE POSTALE
                                                                                                                                         GENEVA SWITZERLAND
MERRILL LYNCH BANK SUISSE SA            AS AGENT FOR ITS CUSTOMERS             ROUTE DE FLORISSANT 13                                    3070 CASE POSTALE
                                                                                                                                         GENEVA SWITZERLAND
MERRILL LYNCH BANK SUISSE SA .          ROUTE DE FLORISSANT, 13                CASE POSTALE 3070                                                                 GENEVA
MERRILL LYNCH C/F CECILE COHEN          ACCT #839‐87519                        1305 WALT WHITMAN RD                                                              MELVILLE            NY 11747
MERRILL LYNCH CAPITAL                   A DIVISION OF MERRILL LYNCH BUSINESS   ATTN: CORPORATE                  500 W MONROE ST LBBY 1                           CHICAGO             IL 60661‐3756
                                        FINANCIAL SERVICES INC                 OFFICER/AUTHORIZED AGENT
MERRILL LYNCH CAPITAL                   EQUIPMENT FINANCE                      ATTN: CORPORATE                  500 W MONROE ST LBBY 1                           CHICAGO              IL   60661‐3756
                                                                               OFFICER/AUTHORIZED AGENT
MERRILL LYNCH CAPITAL                   A DIVISION OF MERRILL LYNCH BUSINESS   500 W MONROE ST                  FL 10                                            CHICAGO              IL   60661‐3688
                                        FINANCIAL SERVICES INC
MERRILL LYNCH CAPITAL                   EQUIPMENT FINANCE                      500 W MONROE ST                  FL 10                                            CHICAGO              IL   60661‐3688
MERRILL LYNCH CAPITAL SERVICES, INC.

MERRILL LYNCH CMA                       FOR DEPOSIT TO THE ACCOUNT OF          111 MONUMENT CIR STE 4200        F FAUDE                                          INDIANAPOLIS        IN 46204‐5105
MERRILL LYNCH CORPORATE AND             ATTN: ALAIN LEBEC, VICE CHAIRMAN ‐     4 WORLD FINANCIAL CENTER 250                                                      NEW YORK            NY 10080‐0001
INSTITUTIONAL CLIENT GROUP              INVESTMENT BANKING                     VESEY ST
MERRILL LYNCH CORPORATE AND             ATTN: ALFRED F. HURLEY JR., MANAGING   4 WORLD FINANCIAL CENTER 250                                                      NEW YORK            NY 10080‐0001
INSTITUTIONAL CLIENT GROUP              DIRECTOR                               VESEY ST
MERRILL LYNCH HILL/HOSKINS GRO          FOR DEPOSIT TO THE ACCOUNT OF          39577 WOODWARD AVE STE 100       JOCELYN JIASHAN LAU                              BLOOMFIELD HILLS    MI 48304‐5083
MERRILL LYNCH INTERNATIONAL             2 KING EDWARD ST.                                                                                LONDON EC1A 1HP GREAT
                                                                                                                                         BRITAIN
MERRILL LYNCH INTERNATIONAL             MERRILL LYNCH FINANCIAL CENTRE         2 KING EDWARD ST.                                         LONDON EC1A 1HQ GREAT
                                                                                                                                         BRITAIN
MERRILL LYNCH INTERNATIONAL             BANK OF AMERICA MERRILL LYNCH          ATTN MONICA LAM                  2 KING EDWARD STREET     ECIA 1HQ LONDON
                                                                                                                                         ENGLAND GREAT BRITAIN
MERRILL LYNCH PIERCE FENNER & SMITH     250 VESEY STREET                       4 WORLD FINANCIAL CENTER         NORTH TOWER                                      NEW YORK            NY 10281‐1327

MERRILL LYNCH PIERCE FENNER & SMITH     4 WORLD FINANCIAL CENTER                                                                                                 NEW YORK            NY 10080
INC
MERRILL LYNCH PIERCE FENNER & SMITH     WORLD FINANCIAL CENTER                 NORTH TOWER                                                                       NEW YORK            NY 10281
INC
MERRILL LYNCH, PIERCE, FENNER & SMITH   ATTN: HUGH SULLIVAN, MANAGING          4 WORLD FINANCIAL CENTER 250                                                      NEW YORK            NY 10080‐0001
INCORPORATED                            DIRECTOR                               VESEY ST
MERRILL LYNCH‐GE                        MERRILL LYNCH (LASALLE BANK)           MINORITY ALLIANCE CAPITAL, LLC   PO BOX 640387                                    PITTSBURGH          PA 15264‐0387
                                                                               C/O GE CAPITAL
MERRILL LYNCH/BANK ONE                  FOR DEPOSIT IN THE ACCOUNT OF          500 WOODWARD AVE STE 3000        D VENTICICH                                      DETROIT             MI    48226‐5493
MERRILL MAYFIELD                        270 PILGRIM CIR                                                                                                          MILAN               OH    44846‐9754
MERRILL PERKINS                         4722 CENTRAL AVE                                                                                                         MIDDLETOWN          OH    45044‐5354
MERRILL RAY                             10034 E CLEMENTS CIR                                                                                                     LIVONIA             MI    48150‐3276
MERRILL RENNHACK                        37 TOWNSEND RD                                                                                                           MANITOWISH WATERS   WI    54545‐9006
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Name                         Address1                             Address2                Address3     Address4         City                State Zip
MERRILL REYNOLDS             4867 HOLLYBRIAR CT                                                                         COLUMBUS             OH 43228‐5757
MERRILL RICHARDSON           3505 LAWNDALE AVE                                                                          FLINT                MI 48504‐3538
MERRILL ROYAL                6305 W MCARTHUR LN                                                                         MUNCIE               IN 47304‐8818
MERRILL SAUNDERS             11009 ECR 50 SOUTH                                                                         SELMA                IN 47383
MERRILL SCHLOEGL             14162 EASTVIEW DR                                                                          FENTON               MI 48430‐1304
MERRILL SCHUYLER             1117 SE 17TH ST                                                                            CAPE CORAL           FL 33990
MERRILL SERGEANT             623 HARD RD                                                                                WEBSTER              NY 14580‐8903
MERRILL SHELDEN              1046 S WAVERLY RD                                                                          EATON RAPIDS         MI 48827‐9736
MERRILL SKINNER JR           6153 W GREYSTONE LOOP                                                                      TUCSON               AZ 85713‐4324
MERRILL STACY                2097 N BELSAY RD                                                                           BURTON               MI 48509‐1321
MERRILL STAMM                2313 SOUTHLEA DR                                                                           DAYTON               OH 45459‐3642
MERRILL STRAY                13925 SASSAFRAS CT NE                                                                      GREENVILLE           MI 48838‐9033
MERRILL TOM & SUSAN          14320 RESERVATION RD                                                                       SALINAS              CA 93908‐9214
MERRILL TOOL & MACHINE INC   1023 S WHEELER ST                                                                          SAGINAW              MI 48602‐1112
MERRILL TOOL & MACHINE INC   21659 GRATIOT RD                                                                           MERRILL              MI 48637‐8717
MERRILL URBANE               271 AMBLESIDE RD                                                                           DES PLAINES           IL 60016‐2654
MERRILL W OTTERMAN           208 S FOREST DR                                                                            KOKOMO               IN 46901
MERRILL WAHL                 THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES       22ND FLOOR                    BALTIMORE            MD 21201

MERRILL WILLIAMS             8 COVINGTON RD                                                                             BUFFALO             NY 14216‐2102
MERRILL WOODWARD             PO BOX 121                           413 S MERRILL ST                                      CATLIN              IL 61817‐0121
MERRILL WRIGHT               1635 MARLBORO AVE                                                                          OBETZ               OH 43207‐4445
MERRILL WYATT
MERRILL, ALVIN E             20223 N 124TH DR                                                                           SUN CITY WEST       AZ   85375‐3322
MERRILL, BASIL L             6030 GALION RD                                                                             HALE                MI   48739‐9021
MERRILL, BRADLEY C           1207 MEADOWCREST DR                                                                        WATERFORD           MI   48327‐2941
MERRILL, BRUCE J             3189 UTAH ST                                                                               NATIONAL CITY       MI   48748‐9502
MERRILL, CHARLES S           1780 OHIO ST                                                                               NATIONAL CITY       MI   48748‐9693
MERRILL, CLAUDIA             APT 120                              3325 GRANGE HALL ROAD                                 HOLLY               MI   48442‐1096
MERRILL, COLLINS             2210 HOSMER ST                                                                             SAGINAW             MI   48601‐2276
MERRILL, DAN B               1457 S. M‐30                                                                               GLADWIN             MI   48624
MERRILL, DARRELL J           20884 EVERGREEN TRL                                                                        NORTH ROYALTON      OH   44133‐6191
MERRILL, DAVID W             21256 ARCYLE ST                                                                            CLINTON TOWNSHIP    MI   48035‐2700
MERRILL, DEAN S              948 DREON DR                                                                               CLAWSON             MI   48017‐1014
MERRILL, DENNIS D            1115 2ND AVE S                                                                             ESCANABA            MI   49829‐3437
MERRILL, DONALD B            9294 JASON RD                                                                              LAINGSBURG          MI   48848‐9216
MERRILL, DONALD E            42135 SARATOGA CIR                                                                         CANTON              MI   48187‐3570
MERRILL, DONALD F            36 MACINTOSH LN                                                                            OLD ORCHARD BEACH   ME   04064‐1480
MERRILL, DONALD M            3975 N 500 E                                                                               LEBANON             IN   46052‐8994
MERRILL, DOROTHY A           4380 MEADOWS AVE                                                                           GRAND BLANC         MI   48439‐8689
MERRILL, DOROTHY M           21 NOBLE CT                                                                                NEWARK              DE   19713‐2816
MERRILL, DOUGLAS M           6184 GARRISON RD                                                                           DURAND              MI   48429‐9723
MERRILL, EDWARD R            6166 W VIENNA RD                                                                           CLIO                MI   48420‐9404
MERRILL, EDWARD RICHARD      6166 W VIENNA RD                                                                           CLIO                MI   48420‐9404
MERRILL, EILEEN M            23463 ODOM DR                                                                              HAYWARD             CA   94541‐7205
MERRILL, ERMA J              901 BICKERTON CT                                                                           NEWPORT NEWS        VA   23608‐9365
MERRILL, ESSIE P             1112 S 26TH ST                                                                             SAGINAW             MI   48601‐6536
MERRILL, FAYE L              1100 GARDEN ST                                                                             ELYRIA              OH   44035‐4815
MERRILL, FRANCIS A           3409 JUDSON RD                                                                             KOKOMO              IN   46901‐1777
MERRILL, FRANCIS C           2208 ORCHARD LAKE DR                                                                       FENTON              MI   48430‐1450
MERRILL, G T                 1631 LAKE DR APT 52                                                                        HASLETT             MI   48840‐8448
MERRILL, GARNET F            PO BOX 516                                                                                 CHELSEA             MI   48118‐0516
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Name                      Address1                       Address2                       Address3   Address4         City             State Zip
MERRILL, GARY M           354 BISHOP ST                                                                             PORTLAND          MI 48875‐1228
MERRILL, GEORGE E         4823 COTTAGE RD                                                                           LOCKPORT          NY 14094‐1603
MERRILL, HAROLD P         17900 MAHRLE RD                                                                           MANCHESTER        MI 48158‐8626
MERRILL, HENRY R          405 WESTERN HEIGHTS BLVD                                                                  ENDICOTT          NY 13760‐3763
MERRILL, JAMES A          90 RIVERSIDE DR APT 16D                                                                   NEW YORK          NY 10024‐5322
MERRILL, JAMES C          2465 SERVICE RD                                                                           CLINTON           MI 49236‐9726
MERRILL, JAMES L          433 LONGFIELD ST                                                                          EVANSVILLE        WI 53536‐1238
MERRILL, JEROME           SIMMONS FIRM                   PO BOX 559                                                 WOOD RIVER         IL 62095‐0559
MERRILL, JEROME           BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD        OH 44067
                                                         PROFESSIONAL BLDG
MERRILL, JOCK M           3429 COURT ST                                                                             SAGINAW          MI   48602‐3337
MERRILL, JOCK M           5415 GEORGE ST                                                                            SAGINAW          MI   48603
MERRILL, JOHN B           8505 FORD RD                                                                              JACKSON          MI   49201‐9444
MERRILL, JOHN W           12257 DUNBAR CIR N                                                                        CUMBERLAND       IN   46229‐3211
MERRILL, JOSEPH S         1905 W 4700 S PMB 251                                                                     SALT LAKE CITY   UT   84118‐1105
MERRILL, KATHLEEN C       1120 E MAIN ST                                                                            FLUSHING         MI   48433‐2242
MERRILL, KEITH E          9928 LAKESHORE DR W W                                                                     HUNTSVILLE       OH   43324
MERRILL, LAWRENCE F       12669 HOLLY LN                                                                            DEWITT           MI   48820‐9338
MERRILL, LEE J            1901 CORDIE DR                                                                            MENA             AR   71953‐7900
MERRILL, LEONA            1463 KHYBER PASS RD                                                                       LINDEN           VA   22642
MERRILL, LOIS M           PO BOX 206                     9213 CLIO RD                                               CLIO             MI   48420‐0206
MERRILL, LOZINE           11420 ARCHDALE                                                                            DETROIT          MI   48227‐1061
MERRILL, MARGARET LAURA   2490 PINE LAKE AVE                                                                        KEEGO HARBOR     MI   48033
MERRILL, MARY H           321 BEVERLY HILL DR                                                                       YOUNGSTOWN       OH   44505‐1111
MERRILL, MAVIS R          2173 S CENTER RD APT 402                                                                  BURTON           MI   48519‐1808
MERRILL, MERCEDES L       955 KENNELY RD UNIT J158                                                                  SAGINAW          MI   48609‐6748
MERRILL, MICHAEL          PO BOX 320186                                                                             KANSAS CITY      MO   64132‐0186
MERRILL, MILDRED M        RT 1 BOX 159                                                                              WALTON           KY   41094‐9612
MERRILL, MYRON F          7 LIBERTY HILL DR                                                                         BLACKSTONE       MA   01504‐1119
MERRILL, NORMAN B         PO BOX 206                     9213 CLIO RD                                               CLIO             MI   48420‐0206
MERRILL, ORAL L           26075 FORDSON HWY                                                                         REDFORD          MI   48239‐2129
MERRILL, PADDY L          7182 GEER RD                                                                              HOWELL           MI   48855‐8309
MERRILL, PAULA R          7200 MCEWEN ROAD                                                                          DAYTON           OH   45459‐3902
MERRILL, PAULA R          193 ENFIELD RD                                                                            DAYTON           OH   45459‐1723
MERRILL, PEGGY            2075 SAGEBRUSH CIRCLE                                                                     NAPLES           FL   34120
MERRILL, PEGGY R          13958 SR 38 E                                                                             NOBLESVILLE      IN   46060‐8843
MERRILL, PEGGY R          13958 STATE ROAD 38 E                                                                     NOBLESVILLE      IN   46060‐8843
MERRILL, RAYMOND K        6241 MOCKINGBIRD LN                                                                       FLINT            MI   48506‐1605
MERRILL, RAYMOND S        9 S FERRIS ST                                                                             IRVINGTON        NY   10533‐1713
MERRILL, RICHARD A        7146 LINCOLN LAKE RD NE                                                                   BELDING          MI   48809‐9333
MERRILL, RICHARD A        13958 STATE ROAD 38 E                                                                     NOBLESVILLE      IN   46060‐8843
MERRILL, RICHARD E        1120 EAST MAIN STREET                                                                     FLUSHING         MI   48433‐2242
MERRILL, ROBERT B         790 RIVERWALK CIR APT 3A                                                                  CORUNNA          MI   48817‐1371
MERRILL, ROBERT BRENT     790 RIVERWALK CIR APT 3A                                                                  CORUNNA          MI   48817‐1371
MERRILL, ROBERT E         2514 E 9TH ST                                                                             ANDERSON         IN   46012‐4406
MERRILL, ROBERT F         8375 SOUTH WEST109 LANE ROAD                                                              OCALA            FL   34481
MERRILL, RONALD W         3103 LAMPLIGHTER LN                                                                       KOKOMO           IN   46902‐8126
MERRILL, SAMUEL E         PO BOX 58                                                                                 PICKFORD         MI   49774
MERRILL, SANDRA M         3178 PONEMAH DR                                                                           FENTON           MI   48430‐1345
MERRILL, SHARMANE M       1316 DENIES ST                                                                            BURTON           MI   48509‐2121
MERRILL, SHERWOOD J       5655 STOW RD                                                                              FOWLERVILLE      MI   48836‐9613
MERRILL, STACY D          2097 N BELSAY RD                                                                          BURTON           MI   48509‐1321
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Name                               Address1                         Address2                        Address3   Address4         City            State Zip
MERRILL, TERRI MARIE               2232 GUERNSEY RD                                                                             BEAVERTON        MI 48612‐8906
MERRILL, THOMAS R                  1811 SWAN DR                                                                                 DALLAS           TX 75228‐4213
MERRILL, TIMOTHY D                 211 S FRANKLIN                                                                               FOWLERTON        IN 46930
MERRILL, TIMOTHY DEE               211 S FRANKLIN                                                                               FOWLERTON        IN 46930
MERRILL, TINA R                    9294 VAUGHN RD                                                                               MIAMISBURG       OH 45342‐4159
MERRILL, TINA R                    9294 VAUGHN ROAD                                                                             MIAMISBURG       OH 45342
MERRILL, WILLIAM L                 8408 UPTON RD                                                                                LAINGSBURG       MI 48848‐9782
MERRILL, WILLIAM M                 1191 CLUBHOUSE DR                                                                            WEIDMAN          MI 48893‐9382
MERRILL‐THOMAS LLC                 602 WAKE AVE                     UPTD 03/16/06 GJ                                            EL CENTRO        CA 92243‐9543
MERRILY KIRCHEN                    122 BRECKENRIDGE                                                                             GEORGETOWN       TX 78633‐4998
MERRILY M ROGERS                   727 NILES‐CORTLAND N.E.                                                                      WARREN           OH 44484‐1053
MERRILY ROGERS                     727 NILES CORTLAND RD NE                                                                     WARREN           OH 44484‐1053
MERRILYN HOFF                      200 FRIENDSHIP CIR APT 524                                                                   LANSING          MI 48912‐4699
MERRILYN NEWMAN                    3108 SKYLARK ST                                                                              JOSHUA           TX 76058
MERRIMAC INDUSTRIAL SALES INC      111 NECK RD                                                                                  HAVERHILL        MA 01835‐8027
MERRIMACK COLLEGE                  315 TURNPIKE ST                                                                              NORTH ANDOVER    MA 01845‐5806
MERRIMACK VALLEY SATURN, INC.      STEPHEN P. LANNAN                724 ROGERS ST                                               LOWELL           MA 01853‐4338
MERRIMACK VALLEY SCHOOL DISTRICT                                    105 COMMUNITY DR                                                             NH 03303
MERRIMACK VALLEY TIRE & SERVICE    45 HILLDALE AVE                                                                              HAVERHILL        MA 01832‐3829
CENTER
MERRIMAN CECIL J                   GLASSER AND GLASSER              CROWN CENTER, 580 MAIN STREET                               NORFOLK         VA 23510
                                                                    STE 600
MERRIMAN JAMIE AMBER               DBA GOODTYMES KARAOKE & DJ       20606 ROAD 88                                               OAKWOOD         OH   45873‐9457
MERRIMAN JR, GEORGE                4305 PARKVIEW AVE                                                                            ENGLEWOOD       OH   45322‐2655
MERRIMAN, BETTY E                  119 BROOKSIDE DR                                                                             FAYETTEVILLE    TN   37334
MERRIMAN, BRADLEY D                3335 CHAMBERLAIN RD # 352                                                                    ARCADIA         MI   49613
MERRIMAN, BRIAN L                  15351 HOFMA DR                                                                               GRAND HAVEN     MI   49417‐9678
MERRIMAN, DEBORAH A                775 ERNROE DR                                                                                DAYTON          OH   45408‐1507
MERRIMAN, DOROTHY M                7854 REDCOACH CIR                                                                            INDIANAPOLIS    IN   46250‐1854
MERRIMAN, FRANK F                  2805 ARONA ST                                                                                ROSEVILLE       MN   55113‐1617
MERRIMAN, GARY E                   6506 MCCLINTOCKSBURG RD                                                                      NEWTON FALLS    OH   44444‐9248
MERRIMAN, GOLDIE F                 24436 STANFORD ST                                                                            DEARBORN HTS    MI   48125‐1946
MERRIMAN, JAMES I                  5047 STATE ROUTE 66 RR2                                                                      OAKWOOD         OH   45873
MERRIMAN, JAMES IRVIN              5047 STATE ROUTE 66 RR2                                                                      OAKWOOD         OH   45873
MERRIMAN, JEFFREY D                10234 MCCLAIN DR                                                                             BROWNSBURG      IN   46112‐7352
MERRIMAN, JONATHAN C               4878 VALDINA WAY                                                                             SAN DIEGO       CA   92124
MERRIMAN, KENNETH M                5031 S CLARENDON ST                                                                          DETROIT         MI   48204‐2926
MERRIMAN, KENNETH MICHAEL          5031 S CLARENDON ST                                                                          DETROIT         MI   48204‐2926
MERRIMAN, LARRY L                  2119 RECTOR AVENUE                                                                           DAYTON          OH   45414‐5414
MERRIMAN, PAMELA S                 4305 PARKVIEW AVE                                                                            ENGLEWOOD       OH   45322‐2655
MERRIMAN, RHONDA L                 5705 STATE ROUTE 225                                                                         RAVENNA         OH   44266‐9291
MERRIMAN, ROBERT S                 455 MILFORD ST                                                                               BURLINGTON      CT   06013‐2214
MERRIMAN, RUTH M                   3400 SE MINNESOTA AVE                                                                        TOPEKA          KS   66605‐2502
MERRIMAN, SHARON R                 502 BLUE RIDGE RD                                                                            INDIANAPOLIS    IN   46208‐3610
MERRIMAN, SIMONE T                 11 BIRCHWOOD DR APT J                                                                        BRISTOL         CT   06010‐2883
MERRIMAN, SIMONE T                 11 J BIRCHWOOD DR                                                                            BRISTOL         CT   06010‐2883
MERRIMAN, WAYNE                    3562 QUINCY RD                                                                               QUINCY          IN   47456‐8631
MERRIMAN, WILFRED D                160 BARRYPOINT RD                                                                            RIVERSIDE       IL   60546‐2231
MERRIMAN, WILLIAM C                3158 STIRLING AVE                                                                            AUBURN HILLS    MI   48326‐1639
MERRING, JAMES K                   30 MORGAN CT                                                                                 BROCKPORT       NY   14420‐1129
MERRION, RICHARD F                 2283 S COUNTRY RD 300 E                                                                      DANVILLE        IN   46122‐8598
MERRION, RICHARD F                 2283 COUNTY RD 300 E                                                                         DANVILLE        IN   48122‐8598
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Name                                     Address1                              Address2                        Address3   Address4         City                  State Zip
MERRION, RICHARD F                       2283 S COUNTY ROAD 300 E                                                                          DANVILLE               IN 46122‐8598
MERRION, ROBERT M                        5679 N COUNTY ROAD 250 E                                                                          PITTSBORO              IN 46167‐9333
MERRIOTT, BARBARA J                      12900 SIBLEY RD                                                                                   SPRINGPORT             MI 49284‐9781
MERRIOTT, CLIFFORD D                     18655 W BERNARDO DR APT 385                                                                       SAN DIEGO              CA 92127‐3029
MERRIOTT, JUDITH E                       26255 W 14 MILE RD                                                                                FRANKLIN               MI 48025‐1007
MERRIS SR, RICHARD D                     9586 FERRY RD                                                                                     WAYNESVILLE            OH 45068‐9075
MERRIS, STANLEY K                        2814 N BARNHILL PL                                                                                XENIA                  OH 45385‐5385
MERRITECH INC                            ATTN LOCKBOX 12‐19                    12425 MERRIMAN RD 04/28/06 GJ                               LIVONIA                MI 48150
MERRITECH/MERRILL                        20720 GRATIOT RD                      P.O. BOX 518                                                MERRILL                MI 48637‐9574
MERRITHEW GROMER, COLLEAN J              6408 E HILL ROAD                                                                                  GRAND BLANC            MI 48439‐9125
MERRITHEW GROMER, COLLEAN J              6408 E HILL RD                                                                                    GRAND BLANC            MI 48439‐9125
MERRITT A. PARDINI                       KATTEN MUCHIN ROSENMAN LLP            575 MADISON AVENUE                                          NEW YORK               NY 10022
MERRITT ALLEN                            2289 E BEAVER RD                                                                                  KAWKAWLIN              MI 48631‐9401
MERRITT BRIAN                            704 MOCKINGBIRD LN                                                                                AUDUBON                PA 19403‐1918
MERRITT CHARLES THOMAS (429450)          GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK                VA 23510
                                                                               STREET, SUITE 600
MERRITT FORRER                           PO BOX 256                                                                                        LAPEL                 IN   46051‐0256
MERRITT FULTS                            5666 MOLLER RD                                                                                    INDIANAPOLIS          IN   46254‐1018
MERRITT HERPST                           3700 S. WESTPORT AVE. #2860                                                                       SIOUX FALLS           SD   57106
MERRITT HETHCOTE                         8201 S BELLEVILLE RD                                                                              WARREN                IN   46792‐9434
MERRITT HUME                             23238 THORNCLIFFE ST                                                                              SOUTHFIELD            MI   48033‐6557
MERRITT JAMES (499619)                   GEORGE & SIPES                        151 N DELAWARE ST STE 1700                                  INDIANAPOLIS          IN   46204‐2503
MERRITT JERRY CLAY SR (507813)           LEBLANC & WADDELL                     5353 ESSEN LN STE 420                                       BATON ROUGE           LA   70809‐0500
MERRITT JOHNSON                          7218 E PREMIUM ST                                                                                 LONG BEACH            CA   90808‐4358
MERRITT JR, EDGAR H                      1806 MESA RD                                                                                      PASO ROBLES           CA   93446‐6312
MERRITT JR, HUME G                       23238 THORNCLIFFE ST                                                                              SOUTHFIELD            MI   48033‐6557
MERRITT JR, THOMAS                       3614 LANGTON RD                                                                                   CLEVELAND HTS         OH   44121‐1323
MERRITT JR, THOMAS E                     1419 HAMPTON RD                                                                                   MOUNT CLEMENS         MI   48043‐3053
MERRITT JR, WILLIAM H                    40456 LENAH RUN CIR                                                                               ALDIE                 VA   20105‐3470
MERRITT JR, WILLIAM H                    6055 PERRY RD                                                                                     GRAND BLANC           MI   48439‐7800
MERRITT LONG                             2983 EWINGS RD                                                                                    NEWFANE               NY   14108‐9636
MERRITT MARY ANN                         MERRITT, MARY ANN                     27780 NOVI RD STE 105                                       NOVI                  MI   48377‐3427
MERRITT MILLS                            604 N PURSLEY ST                                                                                  FARMLAND              IN   47340‐9788
MERRITT PACE                             1000 GOLDEN POND DR                                                                               RUSSELLVILLE          AR   72802‐8763
MERRITT PRECISION TECHNOLOGY INC         PO BOX 5870                                                                                       CARY                  NC   27512‐5870
MERRITT RICHARD C (157946)               ROE STEPHEN C                         216 WILLIAM STREET                                          ELMIRA                NY   14901
MERRITT RICHARD E (ESTATE OF) (629583)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                PITTSBURGH            PA   15219

MERRITT RUMLER                           2638 N 300 E                                                                                      ANDERSON              IN   46012‐9405
MERRITT SMITH CONSULTING                 3732 MT DIABLO BLVD STE 156                                                                       LAFAYETTE             CA   94549‐3634
MERRITT TERESA                           515 COPLEY DRIVE                                                                                  KILL DEVIL HL         NC   27948‐8963
MERRITT WILLIAM P (358842)               GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                 NORFOLK               VA   23510
                                                                               STREET, SUITE 600
MERRITT WYLIE                            3216 COVE HOLLOW CT                                                                               NORMAN                OK   73072‐3308
MERRITT ZECHINATO                        7256 WILLIAMS RD                                                                                  LANSING               MI   48911‐3035
MERRITT, AIMEE ELIZABETH                 387 SHADOWS LN                                                                                    DUBBERLY              LA   71024‐2651
MERRITT, ANITA M                         20120 PARKSIDE ST                                                                                 SAINT CLAIR SHORES    MI   48080‐1664
MERRITT, ANNE G                          26000 AVENIDA AEROPUERTO SPC 74                                                                   SAN JUAN CAPISTRANO   CA   92675‐4739
MERRITT, ANNE G                          26000 AVE AEROPUERTO SPACE 74                                                                     SAN JUAN CAPISTRANO   CA   92675‐4739
MERRITT, ARNOLD C                        PO BOX 237                                                                                        ISLESBORO             ME   04848‐0237
MERRITT, BARBARA J                       4621 S MARTIN LUTHER KING JR BLVD                                                                 LANSING               MI   48910‐5109
MERRITT, BETTY J                         4116 DAVID DR                                                                                     MATTHEWS              NC   28105‐3682
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Name                      Address1                        Address2                      Address3   Address4         City               State Zip
MERRITT, BETTY LOU        3212 BURLEITH AVENUE                                                                      BALTIMORE           MD 21215‐7908
MERRITT, BILL             ANDERSON N CALHOUN JR           425 E CONGRESS ST                                         SAVANNAH            GA 31401‐2804
MERRITT, BILLY E          21231 ROAD 128                                                                            OAKWOOD             OH 45873‐9318
MERRITT, BILLY W          1251 PIG RD                                                                               SMITHS GROVE        KY 42171‐7222
MERRITT, BILLY WAYNE      1251 PIG RD                                                                               SMITHS GROVE        KY 42171‐7222
MERRITT, BONNIE L         2618 COVILLE RD                                                                           MIKADO              MI 48745‐9776
MERRITT, BRANDY C         407 ANCHORS WAY                                                                           SAINT JOSEPH        MI 49085‐1294
MERRITT, BRIAN L          191 IRVING ST                                                                             LOCKPORT            NY 14094‐2543
MERRITT, CARL A           1016 W CREEK DR                                                                           HURST               TX 76053‐5034
MERRITT, CARL R           4659 ARCADIA BLVD                                                                         DAYTON              OH 45432‐3109
MERRITT, CARLITA P        PO BOX 165                                                                                CONTINENTAL         OH 45831
MERRITT, CARLTON O        95 WETMORE PARK                                                                           ROCHESTER           NY 14606‐1421
MERRITT, CAROLE           12804 ARNOLD AVE                                                                          REDFORD             MI 48239‐2666
MERRITT, CAROLE           12804 ARNOLD                                                                              REDFORD             MI 48239‐2666
MERRITT, CATHY J          3297 N PHILIPS ST                                                                         KOKOMO              IN 46901‐9210
MERRITT, CHARLES S        1639 KINGSDOWN DR                                                                         SARASOTA            FL 34240‐8698
MERRITT, CHARLES THOMAS   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
MERRITT, CHRISTINE        5124 BROOKS CIR                                                                           CAPE CHARLES       VA   23310
MERRITT, CINDY L          1013 E RICHMOND ST                                                                        KOKOMO             IN   46901
MERRITT, CLARENCE E       105 W CHAMPLAIN AVE                                                                       WILMINGTON         DE   19804‐1748
MERRITT, CLAUDE R         PO BOX 431                                                                                MORGANTON          GA   30560‐0431
MERRITT, CLEMENT R        826 CAREFREE                                                                              VENICE             FL   34285‐2907
MERRITT, CLIFFORD T       4771 FREIDA CT                                                                            COATESVILLE        IN   46121
MERRITT, CONNIE J         9188 W 500 S                                                                              RUSSIAVILLE        IN   46979‐9133
MERRITT, DALLAS B         4472 E 500S                                                                               MIDDLETOWN         IN   47356
MERRITT, DAVID C          7246 E MAPLE AVE                                                                          GRAND BLANC        MI   48439‐9762
MERRITT, DAVID K          1211 CO. RD. #326                                                                         MOULTON            AL   35650
MERRITT, DEBBIE J         PO BOX 31922                                                                              ROCHESTER          NY   14603‐1922
MERRITT, DELBERT C        724 TESON RD                                                                              HAZELWOOD          MO   63042‐3334
MERRITT, DELCY RAY        SHANNON LAW FIRM                100 W GALLATIN ST                                         HAZLEHURST         MS   39083‐3007
MERRITT, DELLA H          388 WASHBURN ST C/O S CRAIG                                                               LOCKPORT           NY   14094
MERRITT, DELLA N          4179 E 146TH ST                                                                           CLEVELAND          OH   44128‐1866
MERRITT, DENNIS M         5975 BROWN CITY RD                                                                        BROWN CITY         MI   48416‐9357
MERRITT, DENNIS W         601 SOUTH MIRAMAR WAY                                                                     MUNCIE             IN   47304‐6723
MERRITT, DON W            34900 FREEDOM RD APT 10                                                                   FARMINGTON HILLS   MI   48335‐4017
MERRITT, DONALD C         2919 HARFORD RD                                                                           HYDES              MD   21082‐9601
MERRITT, DONALD E         715 W 34TH ST                                                                             ANDERSON           IN   46013‐3211
MERRITT, DONALD L         2180 TEAKWOOD MANOR DR                                                                    FLORISSANT         MO   63031‐4334
MERRITT, DORIS J          2235 IRONWOOD DR                                                                          CLARKSTON          MI   48348‐1397
MERRITT, DORIS L          19109 HARVARD AVE                                                                         WARRENSVL HTS      OH   44122‐6811
MERRITT, EARNEST A        15831 QUINCY ST                                                                           DETROIT            MI   48238‐1386
MERRITT, EDITH V          150 SHILOH RUN NW                                                                         KENNESAW           GA   30144‐1502
MERRITT, ELIZABETH        884 LONGFELLOW DR                                                                         TROY               MI   48085‐4881
MERRITT, EMMA H           8310 WYOMING ST                                                                           DETROIT            MI   48204‐5213
MERRITT, ERICSON C        2673 VAN HORN AVE                                                                         NEWFANE            NY   14108‐1315
MERRITT, ERWIN L          730 NEEDLE GRASS DR                                                                       ST AUGUSTINE       FL   32086‐4846
MERRITT, ESTER Q          340 GRIGGS ST SE                                                                          GRAND RAPIDS       MI   49507‐2554
MERRITT, EUGENE B         5397 UNIVERSITY DR                                                                        SANTA BARBARA      CA   93111‐1632
MERRITT, FRANCES J        1639 KINGSDOWN DR                                                                         SARASOTA           FL   34240‐8698
MERRITT, FRANK H          5141 PRESTONWOOD LN                                                                       FLUSHING           MI   48433‐1382
MERRITT, FRANK HENRY      5141 PRESTONWOOD LN                                                                       FLUSHING           MI   48433‐1382
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Name                    Address1                         Address2                     Address3   Address4         City               State Zip
MERRITT, GARY A         9454 PATRICIA DR                                                                          OTISVILLE           MI 48463‐9406
MERRITT, GEORGE W       19254 TAMI LN                                                                             WOODBRIDGE          CA 95258‐9261
MERRITT, GEORGE W       2320 SUGAR GROVE AVE                                                                      INDIANAPOLIS        IN 46208‐5411
MERRITT, GERALDINE H    2531 MILLBROOK DR                                                                         SNELLVILLE          GA 30078‐3025
MERRITT, GLENN S        PO BOX 29                                                                                 AFTON               WI 53501‐0029
MERRITT, GROVER K       4656 224 NWY                                                                              WELLINGTON          MO 64097
MERRITT, GROVER KEITH   4656 224 NWY                                                                              WELLINGTON          MO 64097
MERRITT, IDA E          501 COUNTY ROAD 638                                                                       FISK                MO 63940‐7130
MERRITT, IDA E          501 COUNTY RD 638                                                                         FISK                MO 63940‐7130
MERRITT, IRENE          1830 BOWEN RD                                                                             ELMA                NY 14059
MERRITT, ISABEL         944 REYNOLDS RD LOT 19                                                                    LAKELAND            FL 33801‐6460
MERRITT, ISABEL J       944 REYNOLDS RD LOT 19                                                                    LAKELAND            FL 33801‐6460
MERRITT, JACK R         3540 DEATH VALLEY DR                                                                      LAS VEGAS           NV 89122
MERRITT, JAMES          GEORGE & SIPES                   151 N DELAWARE ST STE 1700                               INDIANAPOLIS        IN 46204‐1503
MERRITT, JAMES W        2698 CAMINO PL E                                                                          KETTERING           OH 45420‐3904
MERRITT, JEFFERY P      70274 CAMPGROUND RD                                                                       BRUCE TWP           MI 48065‐4328
MERRITT, JEFFREY L      8453 MOCCASIN WAY                                                                         DAYTON              OH 45424
MERRITT, JENNIFER
MERRITT, JERRY CLAY     LEBLANC & WADDELL                5353 ESSEN LN STE 420                                    BATON ROUGE        LA   70809‐0500
MERRITT, JOHN E         8765 PRINCE AVE                                                                           LOS ANGELES        CA   90002‐1257
MERRITT, JOHN P         APT 48                           26965 MILFORD ROAD                                       SOUTH LYON         MI   48178‐9787
MERRITT, JOHN PATRICK   APT 48                           26965 MILFORD ROAD                                       SOUTH LYON         MI   48178‐9787
MERRITT, JON D          646 HIGH ST                                                                               WASHINGTON COURT   OH   43160‐1813
                                                                                                                  HOUSE
MERRITT, KARL A         8699 OAKES RD                                                                             ARCANUM            OH   45304‐9610
MERRITT, KELLY J        401 S HIGH ST                                                                             ARCANUM            OH   45304‐1213
MERRITT, KENNETH L      1215 E BROADWAY HWY                                                                       CHARLOTTE          MI   48813‐9153
MERRITT, KENT           7863 SCOTT RD                                                                             EDGERTON           OH   43517‐9543
MERRITT, KEVIN
MERRITT, KIM N          6801 118TH PL                                                                             LARGO              FL   33773‐3512
MERRITT, LANCE B        5749 EDDY RIDGE RD                                                                        WILLIAMSON         NY   14589‐9354
MERRITT, LAURA          1065 W LOBO CIR                                                                           MESA               AZ   85210‐7129
MERRITT, LAWRENCE D     1709 CUNNINGHAM RD                                                                        INDIANAPOLIS       IN   46224‐5336
MERRITT, LEKESHA S      PO BOX 672                                                                                WARREN             MI   48090‐0672
MERRITT, LESTER A       3880 LOCKPORT OLCOTT RD LOT 6                                                             LOCKPORT           NY   14094
MERRITT, LINDA A        1439 COUNTY ROUTE 12                                                                      GOUVERNEUR         NY   13642‐3268
MERRITT, LINDA M        355 W 150 N                                                                               COLUMBIA CITY      IN   46725‐9501
MERRITT, LISA A         6209 ROBINWOOD LN                                                                         INDIANAPOLIS       IN   46237
MERRITT, LOWELL F       6003 S LUCAS RD                                                                           MC BAIN            MI   49657‐9576
MERRITT, LUCILA N       1488 MONROE MOUNTAIN ROAD                                                                 CLEARVILLE         PA   15535
MERRITT, LYDIA C        PO BOX 2692                                                                               LEWISBURG          TN   37091‐1692
MERRITT, MARCIA L       6055 PERRY RD                                                                             GRAND BLANC        MI   48439‐7800
MERRITT, MARCIA L       40456 LENAH RUN CIR                                                                       ALDIE              VA   20105‐3470
MERRITT, MARILYN A      1385 WINFIELD DR                                                                          SWARTZ CREEK       MI   48473‐9709
MERRITT, MARK A         124 POUND ST                                                                              LOCKPORT           NY   14094
MERRITT, MARK F         21303 W 888 RD                                                                            COOKSON            OK   74427‐2522
MERRITT, MARK F         21303 WEST 888 ROAD                                                                       COOKSON            OK   74427‐2522
MERRITT, MARK T         1204 N SCHEURMANN RD                                                                      ESSEXVILLE         MI   48732‐1771
MERRITT, MARTHENIA      3418 ITASKA ST                                                                            SAINT LOUIS        MO   63111‐1450
MERRITT, MARTHENIA      3418 ITASKA ST.                                                                           ST LOUIS           MO   63111
MERRITT, MARY           5909 MARRA DR                                                                             BEDFORD HEIGHTS    OH   44146‐3024
MERRITT, MARY A         70274 CAMPGROUND RD                                                                       BRUCE TWP          MI   48065‐4328
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Name                  Address1                              Address2                       Address3   Address4         City               State Zip
MERRITT, MARY M       PO BOX 155                                                                                       PENDLETON           IN 46064‐0155
MERRITT, MARY T       5800 TREATY LN                                                                                   KOKOMO              IN 46902‐5467
MERRITT, MATTHEW J    5575 CANONSBURG RD                                                                               GRAND BLANC         MI 48439‐9133
MERRITT, MELVIN       2300 DRURY AVE                                                                                   KANSAS CITY         MO 64127‐4823
MERRITT, MELVIN D     9473 COLONY POINTE EAST DRIVE                                                                    INDIANAPOLIS        IN 46250‐3465
MERRITT, MERLE A      2618 COVILLE RD                                                                                  MIKADO              MI 48745‐9776
MERRITT, MICHAEL      7620 ELIZABETH LAKE RD                                                                           WATERFORD           MI 48327‐3600
MERRITT, MICHAEL W    18837 ROAD B                                                                                     CONTINENTAL         OH 45831‐9712
MERRITT, MITCHELL R   97 FILLY LN                                                                                      NORTHFIELD          OH 44067‐1278
MERRITT, MYRON A      36893 S GOLF COURSE DR                                                                           TUCSON              AZ 85739‐1603
MERRITT, OPHELIA      1611 RICHLAND RD                                                                                 MURFREESBORO        TN 37130
MERRITT, PAMELA E     9030 E BLUEWATER DR                                                                              CLARKSTON           MI 48348‐4256
MERRITT, PAULINE J.   3419 MAPLE ROAD                                                                                  ANDERSON            IN 46011‐2234
MERRITT, PAULINE J.   3419 MAPLE RD                                                                                    ANDERSON            IN 46011‐2234
MERRITT, PHILIP D     2144 KEMP RD                                                                                     BLOOMFIELD          MI 48302‐0145
MERRITT, R L          2436 E HILL RD                                                                                   GRAND BLANC         MI 48439‐5064
MERRITT, RAE L        4656 HIGHWAY 224                                                                                 WELLINGTON          MO 64097‐9161
MERRITT, RANDELL E    881 WHEELOCK ST                                                                                  DETROIT             MI 48209‐1937
MERRITT, RICHARD      1412 WILLOW TRL SW                                                                               ATLANTA             GA 30311‐3518
MERRITT, RICHARD B    280 E MOUNT HOPE HWY                                                                             GRAND LEDGE         MI 48837‐9434
MERRITT, RICHARD C    ROE STEPHEN C                         216 WILLIAM STREET                                         ELMIRA              NY 14901
MERRITT, RICHARD E    GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH          PA 15219

MERRITT, RICHARD H    1009 BUTTONWOOD ST                                                                               BAREFOOT BAY       FL   32976‐7211
MERRITT, ROBERT D     6159 E LAKE RD                                                                                   BURT               NY   14028
MERRITT, ROBERT J     61961 ARLINGTON CIR UNIT 4                                                                       SOUTH LYON         MI   48178‐1737
MERRITT, ROBERT L     7369 EMBURY RD                                                                                   GRAND BLANC        MI   48439‐8133
MERRITT, ROBERT LEE   7369 EMBURY RD                                                                                   GRAND BLANC        MI   48439‐8133
MERRITT, ROBERT N     584 PROSPECT AVE                                                                                 PULASKI            VA   24301‐4622
MERRITT, ROBERT N     PO BOX 87                                                                                        NAPOLEON           MO   64074‐0087
MERRITT, ROGER A      4619 BRISTOL ST                                                                                  LANSING            MI   48910‐5117
MERRITT, ROGER J      8860 CTLAND DR NE                                                                                ROCKFORD           MI   49341
MERRITT, RONNIE L     769 BELVEDERE AVE NE                                                                             WARREN             OH   44483‐4227
MERRITT, ROSEMARY     3609 HIGHTOWER CT                                                                                COCOA              FL   32926‐4485
MERRITT, RUTH         32855 32 MILE RD                                                                                 RICHMOND           MI   48062‐5336
MERRITT, SARA         PO BOX 388                            312 SHORT STREET                                           LYNCHBURG          OH   45142‐0388
MERRITT, SARA         7144 RAMMEL RD                                                                                   LYNCHBURG          OH   45142‐9380
MERRITT, SCOTT A      2 PARRAN DR                                                                                      KETTERING          OH   45420‐2926
MERRITT, SERENDA      1535 HORSE CREEK LN SOUTHWEST                                                                    MC CALL CREEK      MS   39647‐8022
MERRITT, SHEDRICK     9747 MANISTIQUE ST                                                                               DETROIT            MI   48224‐2866
MERRITT, SHERMAN C    7081 TAMARACK DR                                                                                 HUBBARD            OH   44425‐3053
MERRITT, SHERRY V     7372 REDWOOD DR.                                                                                 HUBBARD            OH   44425‐8711
MERRITT, SHIRLEY      1050 W. OLSON RD                                                                                 MIDLAND            MI   48640‐9056
MERRITT, SHIRLEY      1050 W OLSON RD                                                                                  MIDLAND            MI   48640‐9056
MERRITT, STANLEY A    5294 PINECREST DR                                                                                ELMIRA             MI   49730‐9054
MERRITT, STEPHEN      1885 OLD HOMESTEAD DR                                                                            ROCHESTER HILLS    MI   48306‐2927
MERRITT, STEPHEN D    1940 BRANCH VIEW DR                                                                              MARIETTA           GA   30062‐1908
MERRITT, STEVEN M     2015 E GORMAN RD                                                                                 ADRIAN             MI   49221‐9655
MERRITT, THOMAS L     148 RIDGEWAY DR                                                                                  NASHVILLE          IN   47448‐8131
MERRITT, TRACY M      43124 MIRABILE TRL                                                                               CLINTON TOWNSHIP   MI   48038‐2448
MERRITT, TRACY W      3219 WAYNE AVE                                                                                   DAYTON             OH   45420‐1965
MERRITT, TYLER W      906 QUEENSVIEW CT                                                                                KETTERING          OH   45429‐6106
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Name                             Address1                          Address2                        Address3   Address4         City               State Zip
MERRITT, VERDIE J                6812 BETHELVILLE DR                                                                           NEW CARLISLE        OH 45344‐9695
MERRITT, VICKY S                 1003 N FOREST DR                                                                              KOKOMO              IN 46901‐1875
MERRITT, VIRGINIA S              817 LONSVALE DR                                                                               ANDERSON            IN 46013‐3220
MERRITT, WALTER J                1330 E HELICON RD                                                                             GRADY               AL 36036‐6407
MERRITT, WALTER S                511 SHACKLETON RD.                                                                            BRIDGEPORT          NY 13030
MERRITT, WILLIAM D               4656 HIGHWAY 224                                                                              WELLINGTON          MO 64097‐9161
MERRITT, WILLIAM G               8924 W SUWANEE TRL                                                                            HOWARD CITY         MI 49329‐9332
MERRITT, WILLIAM P               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                 NORFOLK             VA 23510‐2212
                                                                   STREET, SUITE 600
MERRITT, WILLIAM R               3429 MANOR RD                                                                                 ANDERSON           IN   46011‐2224
MERRITT, WILMA M                 15753 KENNEBEC                                                                                SOUTHGATE          MI   48195‐3818
MERRITT,CARL R                   4659 ARCADIA BLVD                                                                             DAYTON             OH   45432‐3109
MERRITT,KARL A                   8699 OAKES RD                                                                                 ARCANUM            OH   45304‐9610
MERRITTE, DENNIS C               4TH STREET                                                                                    OAKWOOD            OH   45873
MERRITTE, DOROTHY R              15464 ROAD 138                                                                                PAULDING           OH   45879‐9323
MERRITTE, MAVIS L                21231 ROAD 128                                                                                OAKWOOD            OH   45873‐9318
MERRITTS, JOHN M                 119 MANHATTAN AVE                                                                             HAWTHORNE          NY   10532‐2505
MERRITTS, RITA A                 154 MARTLING AVE APT D1                                                                       TARRYTOWN          NY   10591
MERRITTS, SCOTT S                APT 604                           7070 KEY HAVEN ROAD                                         SEMINOLE           FL   33777‐3860
MERRIUM HARRIGER                 2220 WAKEFIELD DR                                                                             HERMITAGE          PA   16148‐6737
MERRIUM M HARRIGER               2220 WAKEFIELD DR.                                                                            HERMITAGE          PA   16148‐6737
MERRIWEATH, MYRTLE               4225 179TH ST                                                                                 CNTRY CLUB HILLS   IL   60478‐4714
MERRIWEATHER DUANE (491237)      BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                   PROFESSIONAL BLDG
MERRIWEATHER JR, CHRYSPAN        2839 SELAWICK LN                                                                              JACKSONVILLE       FL   32218‐2348
MERRIWEATHER JR, FRANK           6691 MAPLE GLEN DR                                                                            INDIANAPOLIS       IN   46250
MERRIWEATHER ROBERT LEONARD JR   C/O EDWARD O MOODY P A            801 W 4TH ST                                                LITTLE ROCK        AR   72201
MERRIWEATHER, ALLIE B            1608 VALDOSTA CIR                                                                             PONTIAC            MI   48340‐1078
MERRIWEATHER, ANDRE L            719 DESOTA PL                                                                                 PONTIAC            MI   48342‐1620
MERRIWEATHER, ARTHUR A           1426 N HOLMES AVE                                                                             INDIANAPOLIS       IN   46222‐2871
MERRIWEATHER, BETTYE J           1530 W CONGRESS ST                                                                            MILWAUKEE          WI   53209
MERRIWEATHER, BRENDAN            MERRIWEATHER RONALD J             11819 BOURGEOIS FOREST DR                                   HOUSTON            TX   77066‐3207
MERRIWEATHER, DIANE              3051 TINA MARIE DR                                                                            WATERFORD          MI   48329‐4366
MERRIWEATHER, DONNIE L           PO BOX 311064                                                                                 FLINT              MI   48531‐1064
MERRIWEATHER, ELNORA             PO BOX 1443                                                                                   DANVILLE           IL   61834‐1443
MERRIWEATHER, ELNORA             906 GEORGIAN DR APT C                                                                         DANVILLE           IL   61832
MERRIWEATHER, FRED               4851 AUDUBON RD                                                                               DETROIT            MI   48224‐2754
MERRIWEATHER, GEORGIA A          20233 SORRENTO ST                                                                             DETROIT            MI   48235‐1191
MERRIWEATHER, HAZEL J            16 ACADEMY RD                                                                                 BUFFALO            NY   14211‐2622
MERRIWEATHER, HAZEL J            16 ACADEMY ROAD                                                                               BUFFALO            NY   14211‐2622
MERRIWEATHER, JOHN L             1941 W 64TH ST                                                                                INDIANAPOLIS       IN   46260‐4310
MERRIWEATHER, LAWRENCE           3609 CANYON DR                                                                                KOKOMO             IN   46902‐3914
MERRIWEATHER, OLLIE E            910 SURRY DR                                                                                  SHELBY             NC   28152‐7131
MERRIWEATHER, OSSIE B            3101 N GLADSTONE AVE                                                                          INDIANAPOLIS       IN   46218‐2265
MERRIWEATHER, PATRICIA A         3327 ROBERTS ST                                                                               SAGINAW            MI   48601‐3165
MERRIWEATHER, PATRICIA L         24 LOGAN CT                                                                                   SICKLERVILLE       NJ   08081
MERRIWEATHER, ROBERT LEONARD     C/O MOODY                         801 WEST FOURTH ST                                          LITTLE ROCK        AR   72201
MERRIWEATHER, RONALD             116 STURTEVANT ST                                                                             HIGHLAND PARK      MI   48203‐3253
MERRIWEATHER, TAMIKA G           APT 106                           1901 BIG BEND                                               ORION              MI   48359‐1274
MERRIWEATHER, WILBERT L          3051 TINA MARIE DR                                                                            WATERFORD          MI   48329‐4366
MERRIWEATHER, WILL T             180 LITTLE CREEK DR                                                                           FAYETTEVILLE       GA   30214‐7235
MERRIWEATHER, WILLIAM O          PO BOX 1232                                                                                   KOKOMO             IN   46903‐1232
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Name                             Address1                             Address2                 Address3   Address4         City            State Zip
MERRIWEATHER, WILLIE             3594 E 153RD ST                                                                           CLEVELAND        OH 44120‐4908
MERRIWETHER, CALLIE L            806 W MOORE ST                                                                            FLINT            MI 48504‐2215
MERRIWETHER, GREGORY A           19731 GOULBURN ST                                                                         DETROIT          MI 48205‐1614
MERRIWETHER, GWENDOLYN D         5015 HUNT ST                                                                              WAYNE            MI 48184‐3003
MERRIWETHER, GWENDOLYN DELORES   5015 HUNT ST                                                                              WAYNE            MI 48184‐3003
MERRIWETHER, HAROLD L            3481 BROOKSTREAM                                                                          BURTON           MI 48519‐2806
MERRIWETHER, HAYWARD             3613 WALNUT ST                                                                            INKSTER          MI 48141‐2952
MERRIWETHER, JOHN T              131 STRONG ST                                                                             ROCHESTER        NY 14621
MERRIWETHER, JOHN T              28 3RD ST                                                                                 ROCHESTER        NY 14605‐2444
MERRIWETHER, WILLIAM E           1603 MARION ST SW                                                                         DECATUR          AL 35601‐2736
MERROW, ALEXANDER P              2321 MCCARTY RD                                                                           SAGINAW          MI 48603‐2531
MERROW, ALEXANDER PETER          2321 MCCARTY RD                                                                           SAGINAW          MI 48603‐2531
MERROW, BLADE D                  5120 W COURT ST                                                                           FLINT            MI 48532‐4113
MERROW, CHRISTOPHER J            1815 W 104TH ST                                                                           GRANT            MI 49327‐9671
MERROW, DAVID A                  6129 W COURT ST                                                                           FLINT            MI 48532‐3240
MERROW, DAVID A                  6129 WEST COURT STREET                                                                    FLINT            MI 48532‐3240
MERROW, E. F                     2017 AUSTIN TRACY RD                                                                      LUCAS            KY 42156‐9328
MERROW, E. F.                    2017 AUSTIN TRACY RD                                                                      LUCAS            KY 42156‐9328
MERROW, ELIZABETH J              8069 N WEBSTER RD                                                                         MOUNT MORRIS     MI 48458‐9432
MERROW, HENRY E                  8069 N WEBSTER RD                                                                         MOUNT MORRIS     MI 48458
MERROW, JAMES L                  8025 PARKWOOD DR                                                                          FENTON           MI 48430‐9390
MERROW, LEWIS D                  G‐5341 BROBECK STREET                                                                     FLINT            MI 48532
MERROW, MAGDALENE MARIE          14701 DUNCAN ST                                                                           TAYLOR           MI 48180‐4466
MERROW, PAUL D                   9285 LAHRING RD                                                                           GAINES           MI 48436‐9746
MERROW, PRESTON H                429 BRENTWOOD AVE                                                                         THE VILLAGES     FL 32162‐4302
MERROW, RALPH H                  1922 COLLINGWOOD STREET                                                                   SAGINAW          MI 48601‐3617
MERROW, RAYMOND T                10405 REID RD                                                                             SWARTZ CREEK     MI 48473‐8518
MERROW, RICK D                   5821 DIXON RD                                                                             VASSAR           MI 48768‐9712
MERROW, ROBERT H                 11434 GRAFTON RD                                                                          CARLETON         MI 48117‐9027
MERROW, ROBERT M                 7234 MOORISH RD                                                                           BRIDGEPORT       MI 48722‐9767
MERROW, SHARON L                 8025 PARKWOOD DR                                                                          FENTON           MI 48430‐9390
MERROW, THOMAS E                 12 MAPLE DR                                                                               CATLIN            IL 61817‐9208
MERROW, VELMA                    PO BOX 2917                                                                               DEARBORN         MI 48123‐3117
MERRY AVITTS                     721 FLETCHER ST                                                                           OWOSSO           MI 48867‐3411
MERRY B KUTZ                     1535 BISCAYNE DR                                                                          TOLEDO           OH 43612‐4002
MERRY BENNETT                    8797 S GARLOCK RD                                                                         CARSON CITY      MI 48811‐9629
MERRY BIGGS                      7066 HAMMOND AVE SE                                                                       CALEDONIA        MI 49316‐8353
MERRY BROOM                      217 ABERDEEN CT                                                                           FLUSHING         MI 48433‐2659
MERRY COURTNEY                   8141 KINGSTON DR                                                                          PORTAGE          MI 49002‐5519
MERRY F GRANATO                  6875 SOUTH JAY RD                                                                         WEST MILTON      OH 45383
MERRY HIPSHER                    6917 IVY STONE WAY                                                                        KNOXVILLE        TN 37918‐5436
MERRY JAMES                      210 E PULASKI AVE                                                                         FLINT            MI 48505‐3314
MERRY OLDSMOBILE, INC.           INTERCOMPANY
MERRY ROBERT                     MERRY, ROBERT                        1801 E 9TH ST STE 1710                               CLEVELAND       OH 44114‐3198
MERRY WAMBOLD                    4181 VAN SLYKE                                                                            FLINT           MI 48507
MERRY X‐RAY CHEMICAL CORP        ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 8004                                          MENTOR          OH 44061‐8004
                                 AGENT
MERRY, ANTHONY W                 384 N SECTION ST                                                                          SOUTH LEBANON   OH   45065‐1125
MERRY, DENNIS M                  1119 WILLARD RD                                                                           BIRCH RUN       MI   48415‐8610
MERRY, DENNIS MICHAEL            1119 WILLARD RD                                                                           BIRCH RUN       MI   48415‐8610
MERRY, DONALD                    43 PATRICIA LN                                                                            BEDFORD         IN   47421‐6726
MERRY, ELIZABETH C               1495 FRANCES DRIVE                                                                        DAYTONA BEACH   FL   32124‐3605
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Name                              Address1                       Address2                        Address3   Address4         City               State Zip
MERRY, FRANCIS                    570 W COUNTY ROAD 600 N                                                                    ORLEANS             IN 47452‐9719
MERRY, HAZEL I                    3008 SHAWNEE DR. APT 132                                                                   BEDFORD             IN 47421
MERRY, HAZEL I                    3008 S SHAWNEE DR APT 132                                                                  BEDFORD             IN 47421‐5281
MERRY, LINDA A                    420 CANARY LN                                                                              SAINT CHARLES       MO 63301‐1237
MERRY, RICHARD L                  6790 MOCCASIN ST                                                                           WESTLAND            MI 48185‐2809
MERRY, TIMOTHY A                  N50W26140 BAYBERRY DR                                                                      PEWAUKEE            WI 53072‐1229
MERRY, WALTER E                   3694 US HIGHWAY 50 W                                                                       MITCHELL            IN 47446‐5414
MERRYFIELD, KEITH D               296 S HIGBEE ST                                                                            LYONS               MI 48851‐8623
MERRYFIELD, KEVIN J               372 1ST ST                                                                                 SUNFIELD            MI 48890‐9020
MERRYFIELD, LYNN D                6679 W EATON HWY                                                                           LANSING             MI 48906‐9064
MERRYL HOFFMAN                    401 E 65TH ST APT 7G                                                                       NEW YORK            NY 10065‐6936
MERRYMAN, CATHERINE               5430 BOONE AVE N               NORTHRIDGE CARE CENTER          ROOM 329                    NEW HOPE            MN 55428‐3615
MERRYMAN, GARY                    6929 OLD ZION RD                                                                           COLUMBIA            TN 38401‐6025
MERRYMAN, GREGORY K               1221 WESTBORO                                                                              BIRMINGHAM          MI 48009‐7563
MERRYMAN, JANET                   2800 S TURNER RD                                                                           CANFIELD            OH 44406‐8623
MERRYMAN, JANET                   2800 TURNER ROAD                                                                           CANFIELD            OH 44406
MERRYMAN, JOANN                   335 PINDO PALM DR                                                                          NAPLES              FL 34104‐6402
MERRYMAN, LOIS P                  2035 FORKED CREEK DR                                                                       ENGLEWOOD           FL 34223‐1707
MERRYMAN, MARK W                  5844 MORGAN AVE S                                                                          MINNEAPOLIS         MN 55419‐2007
MERRYMAN, SHERRY Y                12 GEMMA DR                                                                                PEABODY             MA 01960‐6264
MERRYMAN, WILLIAM                 3400 N HIWASSEE RD                                                                         CHOCTAW             OK 73020‐8645
MERRYWEATHER FOAM INC             11 BROWN ST                                                                                BARBERTON           OH 44203‐2314
MERRYWEATHER, JOYCE I             306 COGSHALL                                                                               HOLLY               MI 48442‐1717
MERRYWEATHER, JOYCE I             306 COGSHALL ST                                                                            HOLLY               MI 48442‐1717
MERSBERGER, ELIZABETH W           6940 DEE LN                    C/O MICHAEL RAY                                             MURRAYVILLE         GA 30564‐1521
MERSCHDORF, ARTHUR W              205 LAKEVIEW DR                LAKELAND WOODS                                              BRYAN               OH 43506‐9185
MERSCHDORF, ROBERT F              W227N8181 TAMARACK RD                                                                      SUSSEX              WI 53089‐1653
MERSCHDORF, WILLIAM G             1228 ADDISON AVE                                                                           THE VILLAGES        FL 32162‐7632
MERSCHMAN RICHARD (446321)        BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                 PROFESSIONAL BLDG
MERSCHMAN, FREDERICK P          5670 GREEN RD                                                                                HASLETT            MI   48840‐9712
MERSDORF, RAY A                 4140 2 MILE RD                                                                               BAY CITY           MI   48706‐2322
MERSEAL, EDNA M                 5050 UPPER BLACKWELL RD                                                                      DE SOTO            MO   63020‐5545
MERSED GARCIA                   21 HAMPI CT                                                                                  SWARTZ CREEK       MI   48473‐1613
MERSER, NORMAN L                3521 NIEMI ST                                                                                HARRISON           MI   48625‐8042
MERSEREAU, HOLLAND C            1825 STILESBORO RD NW                                                                        KENNESAW           GA   30152‐4341
MERSEREAU, JACQUELINE N         16 SOUTHWOOD DR                                                                              NORWALK            OH   44857‐2318
MERSEREAU, MARK H               5923 TETHERWOOD DR                                                                           TOLEDO             OH   43613‐1615
MERSFELDER, LARRY R             833 REYNARD AVE                                                                              CINCINNATI         OH   45231‐4921
MERSHALL BLANTON                3459 SHORT MOUNTAIN RD                                                                       WOODBURY           TN   37190‐5457
MERSHIMER, EVELYN M             263 POWERS AVE                                                                               GIRARD             OH   44420‐2237
MERSHIMER, EVELYN M             263 POWERS AVE.                                                                              GIRARD             OH   44420‐2237
MERSHMAN, ALAN J                8900 AKEHURST CT                                                                             WHITE LAKE         MI   48386‐3389
MERSHMAN, JOSHUA A              8900 AKEHURST CT                                                                             WHITE LAKE         MI   48386‐3389
MERSHMAN, RODNEY J              38432 WARWICKSHIRE DR                                                                        STERLING HEIGHTS   MI   48312‐1159
MERSHON MARTIN                  PO BOX 121                                                                                   ALTUS              AR   72821
MERSHON SAWYER JOHNSTON DUNWOD& 200 S BISCAYNE BLVD STE 4500                                                                 MIAMI              FL   33131‐2303
COLE SE FINANCIAL CTR
MERSHON, ARTHUR J               6397 CAREYS RUN POND CREEK RD                                                                PORTSMOUTH         OH   45663‐9060
MERSHON, BRUCE W                2302 STONEBRIDGE LN                                                                          MANSFIELD          TX   76063‐5337
MERSHON, MARJORIE G             1602 WILLOW DR                                                                               TROTWOOD           OH   45426‐2064
MERSHON, THOMAS                 SIMMONS FIRM                     PO BOX 521                                                  EAST ALTON         IL   62024‐0519
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Name                          Address1                          Address2                          Address3   Address4                City            State Zip
MERSINAS, GEORGIOS C          5365 GRAND BLANC RD                                                                                    SWARTZ CREEK     MI 48473‐9449
MERSING, LOUIS C              643 DOW AVE                                                                                            CARNEGIE         PA 15106‐2849
MERSINO DEWATERING INC        10162 E COLDWATER RD                                                                                   DAVISON          MI 48423‐8598
MERSINO, ARTHUR L             3544 KAREN PKWY                                                                                        WATERFORD        MI 48328
MERSINO, DONALD E             5686 KLAM RD                                                                                           COLUMBIAVILLE    MI 48421‐9342
MERSINO, DORIS I              5098 N. FAIRVIEW ROAD                                                                                  WEST BRANCH      MI 48661‐9415
MERSINO, DORIS I              5098 N FAIRVIEW RD                                                                                     WEST BRANCH      MI 48661‐9415
MERSINO, FREDERIC T           PO BOX 561                                                                                             OXFORD           MI 48371‐0561
MERSINO, JEFFERY J            5271 MAIN ST                                                                                           DRYDEN           MI 48428‐9242
MERSINO, KATHLEEN M           5556 GRANGER RD                                                                                        OXFORD           MI 48371‐3028
MERSINO, KENNETH L            7500 JOHNSON RD                                                                                        FLUSHING         MI 48433‐9050
MERSINO, KENNETH LYNN         7500 JOHNSON RD                                                                                        FLUSHING         MI 48433‐9050
MERSINO, LAURA J              2950 AIRPORT RD                                                                                        WATERFORD        MI 48329‐3309
MERSINO, LAURA JANE           2950 AIRPORT RD                                                                                        WATERFORD        MI 48329‐3309
MERSINO, LAWRENCE M           3650 KAREN PKWY APT 302                                                                                WATERFORD        MI 48328‐4651
MERSINO, MARTHA A             5170 EAGLE LAKE DR                                                                                     WATERFORD        MI 48329‐1721
MERSINO, MARY A               1319 WOOLEY RD                                                                                         OXFORD           MI 48371‐3325
MERSINO, MARY A               1319 WOOLEY ROAD                                                                                       OXFORD           MI 48371‐3325
MERSINO, MICHAEL J            1925 SEYMOUR LAKE RD                                                                                   ORTONVILLE       MI 48462‐9158
MERSINO, RANDAL K             2284 W BRITTON RD                                                                                      PERRY            MI 48872
MERSINO, RICHARD K            5556 GRANGER RD                                                                                        OXFORD           MI 48371‐3028
MERSINO, SHEILA               941 LAKE DR                                                                                            OXFORD           MI 48371‐5717
MERSMAN, BENJAMIN J           PO BOX 958                                                                                             BLYTHE           CA 92226‐0958
MERSMAN, KRISTINE M           112 CLARK ST                                                                                           SPARTA           MI 49345‐1527
MERSMANN, FRITZ               2108 N 7 MILE RD                                                                                       SANFORD          MI 48657‐9754
MERSNICK, DONALD L            4005W MICHIBAY DR                                                                                      MANISTIQUE       MI 49854‐9133
MERSON, JEFFREY B             420 BROOK MEADOW CT                                                                                    TROY             MO 63379‐3463
MERSON, MARGARET C            62 MARGARET CT                                                                                         DUMONT           NJ 07628‐2015
MERTA KING                    1201 W HILL ST                                                                                         URBANA            IL 61801‐1403
MERTA, ANTHONY                11117 BELLEFLEUR DR                                                                                    BEAR LAKE        MI 49614‐9629
MERTA, BEVERLY M              5427 CORAL RIDGE DR                                                                                    GRAND BLANC      MI 48439‐9510
MERTA, MARY P                 PO BOX 74584                                                                                           ROMULUS          MI 48174‐0584
MERTA, NANCY A.               29691 REED DR                                                                                          HURON TWP        MI 48134‐6028
MERTA, WALTER J               111 INDIAN SHADOWS DR                                                                                  MARYVILLE        TN 37801‐1547
MERTA, WILDA J                111 INDIAN SHADOWS DR                                                                                  MARYVILLE        TN 37801‐1547
MERTE, WILLIAM F              612 WOODBERRY LN                                                                                       BRIGHTON         MI 48116‐4310
MERTEN BARNERT                RUE ROBERT WILLAME 3                                                           1160 BRUSSELS BELGIUM
MERTEN DONALD (657759)        COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                      CHICAGO          IL   60602
                                                                FLOOR
MERTEN HEIMSTEAD JR           6409 RENWICK CIR                                                                                       TAMPA            FL   33647‐1173
MERTEN, DONALD                COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                       CHICAGO          IL   60602
                                                                FLOOR
MERTEN, JERRY C               251 GOMPERS CIR                                                                                        MORRISTOWN      AZ    85342‐9810
MERTEN, KENNETH M             19 RICHARD ST                                                                                          VIENNA          OH    44473‐9743
MERTENS & HOFFMAN CHEVROLET   MARK HOFFMAN                      704 N 8TH ST                                                         MEDFORD         WI    54451‐1227
MERTENS AVA                   MERTENS, AVA                      625 BROADWAY STE 1104                                                SAN DIEGO       CA    92101‐5418
MERTENS AVA                   MERTENS, TRISANNA                 625 BROADWAY STE 1104                                                SAN DIEGO       CA    92101‐5418
MERTENS DONALD                286 YOURK MILLS ROAD                                                           TORONTO CANADA ON M2L
                                                                                                             1L1 CANADA
MERTENS FLOYD J (439332)      GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                          NORFOLK         VA 23510
                                                                STREET, SUITE 600
MERTENS GERADLINE M           6870 NORTHPOINT DRIVE                                                                                  TROY            MI 48085‐2308
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Name                              Address1                           Address2                      Address3          Address4         City               State Zip
MERTENS GERALDINE M               6870 NORTHPOINT DR                                                                                  TROY                MI 48085‐1212
MERTENS MEDICAL CONSULTANTS INC
MERTENS RONALD E                  6870 NORTHPOINT DR                                                                                  TROY               MI 48085‐1212
MERTENS, AVA
MERTENS, AVA                      GOMEZ LAW FIRM                     625 BROADWAY STE 1104                                            SAN DIEGO          CA   92101‐5418
MERTENS, DONALD J                 33 BALTIMORE PL. RT #1                                                                              HARRISON           OH   45030
MERTENS, EDWARD C                 8555 BELNOR DR                                                                                      CICERO             NY   13039‐8847
MERTENS, FLOYD J                  GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510‐2212
                                                                     STREET, SUITE 600
MERTENS, GERALDINE M              1465 GOLDEN RIDGE DR                                                                                THE VILLAGES       FL   32162‐6763
MERTENS, JEAN H                   624 LINDEN DR                                                                                       ENGLEWOOD          FL   34223‐7118
MERTENS, KENNETH E                17644 E KIRKWOOD DR                                                                                 CLINTON TWP        MI   48038‐1209
MERTENS, RENEE L                  25 PORTSMOUTH CT                                                                                    HOLLAND            PA   18966‐2621
MERTENS, RONALD E                 6870 NORTHPOINT DR                                                                                  TROY               MI   48085‐1212
MERTENS, TRISANNA                 GOMEZ LAW FIRM                     625 BROADWAY STE 1104                                            SAN DIEGO          CA   92101‐5418
MERTES, DEAN R                    7724 BECKENBAUER PL                                                                                 INDIANAPOLIS       IN   46214‐2343
MERTES, JUDY A                    373 N RIVER RD                                                                                      SAGINAW            MI   48609‐6819
MERTES, STEVEN                    PO BOX 9022                        C/O: ADAM OPEL IPC C4‐02                                         WARREN             MI   48090‐9022
MERTHER BROWN                     3743 CHATTAHOOCHEE DR                                                                               DOUGLASVILLE       GA   30135‐3003
MERTI, ELIZABETH M                105 SUTTON AVE                                                                                      HOPWOOD            PA   15445‐2034
MERTIE SLOAN                      14626 GRAFTON ROAD                                                                                  CARLETON           MI   48117‐9220
MERTIS NUNNALLY                   13261 NORTHSIDE DRIVE                                                                               STERLING HIEGHTS   MI   48312
MERTIS WILLIAMS                   1487 CASTO BLVD                                                                                     BURTON             MI   48509‐2013
MERTIS WYANDON                    4748 RICE RD                                                                                        SHREVEPORT         LA   71119‐9612
MERTLBAUER, ALFONS K              139 ARBOUR LN APT 4                                                                                 BUFFALO            NY   14220‐2343
MERTLER, JOHN R                   735 STARLIGHT TER                                                                                   MANSFIELD          OH   44904‐1622
MERTON BABCOCK                    744 FOGG RD                                                                                         LESLIE             MI   49251‐9366
MERTON BEARUP                     4630 RUGBY PIKE                                                                                     ALLARDT            TN   38504‐5007
MERTON BELL JR                    16 MAPLE TRAIL                                                                                      FAIRFIELD          PA   17320‐8494
MERTON BOWER                      PO BOX 88124                                                                                        KENTWOOD           MI   49518‐0124
MERTON COBURN JR                  719 MAIDEN CHOICE LANE             APT BR225                                                        CATONSVILLE        MD   21228‐1940
MERTON DODDS                      9700 MINX RD                                                                                        TEMPERANCE         MI   48182‐9329
MERTON DURGAN JR                  2756 HESS RD                                                                                        APPLETON           NY   14008‐9656
MERTON EMERY JR                   3139 SALEM DR                                                                                       ROCHESTER HILLS    MI   48306‐2932
MERTON ERBER                      3168 DILLON RD                                                                                      FLUSHING           MI   48433‐9762
MERTON F & VIRGINIA H JAQUES      12424 6 1/2 MILE RD                                                                                 BATTLE CREEK       MI   49014
MERTON HALL                       4126 BURNS ST                                                                                       DETROIT            MI   48214‐1270
MERTON JOHNSON                    5885 MINNEGAN ROAD                                                                                  SHABBONA           IL   60550‐4002
MERTON SEARSON                    3917 E BURT RD                                                                                      BURT               MI   48417‐2032
MERTON THOMPSON                   1930 S AURELIUS RD                                                                                  MASON              MI   48854‐9763
MERTON WORDON ADCOCK SR           NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                    DAINGERFIELD       TX   75638
MERTOWSKI, HENRY                  71 EDMUND ST                                                                                        CHEEKTOWAGA        NY   14227‐1803
MERTOWSKI, ROBERT V               6440 HILLCROFT DR                                                                                   BOSTON             NY   14025
MERTSCHING, EDUARDO               344 BECKETT DR                                                                                      DALLAS             GA   30132‐0351
MERTZ CHERYL                      PO BOX 505                                                                                          CHRISTOVAL         TX   76935‐0505
MERTZ JR, DONALD R                5354 SAINT RICHARD DR                                                                               SHELBY TOWNSHIP    MI   48316‐5246
MERTZ JR, HAROLD J                19767 WOODSIDE ST                                                                                   HARPER WOODS       MI   48225‐2205
MERTZ JR, JOSEPH L                11414 REPUBLIC AVE                                                                                  WARREN             MI   48089‐3970
MERTZ, ALLAN R                    EB&HR OPERATIONS DEFAULT ADDRESS   200 RENAISSANCE CTR           PO BOX 200                         DETROIT            MI   48265‐2000

MERTZ, DENNIS K                   1085 RAVENSVIEW TRL                                                                                 MILFORD            MI 48381‐2972
MERTZ, EDWARD A                   2471 ROCK VIEW GLN                                                                                  ESCONDIDO          CA 92026‐5005
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Name                        Address1                         Address2                      Address3   Address4         City               State Zip
MERTZ, EDWARD H             30600 N PIMA RD                  # 115                                                     SCOTTSDALE          AZ 85266
MERTZ, GARY R               49589 KEY COVE DRIVE                                                                       CHESTERFIELD TWP    MI 48047‐8047
MERTZ, GARY R               49589 KEYCOVE ST                                                                           CHESTERFIELD        MI 48047‐2360
MERTZ, GAYLE R              3354 SHILLELAGH DR.                                                                        FLINT               MI 48506‐2221
MERTZ, GLEN A               36256 JEFFREY DR                                                                           STERLING HTS        MI 48310‐4357
MERTZ, GLENN A              5904 GRATIS RD                                                                             CAMDEN              OH 45311‐9713
MERTZ, HAROLD R             1035 LEISURE DR                                                                            FLINT               MI 48507‐4058
MERTZ, HENRY M              1213 DICKENS ST                                                                            BOWLING GREEN       KY 42101‐8647
MERTZ, HENRY MICHAEL        1213 DICKENS ST                                                                            BOWLING GREEN       KY 42101‐8647
MERTZ, JOHN F               647 OAK GROVE DR                                                                           LEHIGHTON           PA 18235‐9601
MERTZ, JOSEPH E             3340 CARDINAL DR                                                                           BROOKFIELD          WI 53005‐7708
MERTZ, MARIJANE             8267 KARAM BLVD UNIT 2                                                                     WARREN              MI 48093‐2130
MERTZ, MARK W               6423 PRESIDENT LN                                                                          KEITHVILLE          LA 71047‐8916
MERTZ, MARK WALTER          6423 PRESIDENT LN                                                                          KEITHVILLE          LA 71047‐8916
MERTZ, MAXINE J             127 NOTTINGHAM CT                                                                          TROY                MI 48085‐3238
MERTZ, OTHA L               1024 KETTERING STREET                                                                      BURTON              MI 48509‐2350
MERTZ, RANDELL H            113 LILY LN                                                                                ROSCOMMON           MI 48653‐8118
MERTZ, ROGER                401 EAST ST                                                                                MILFORD             MI 48381‐1934
MERTZ, RONALD E             9691 TREE TOP CT                                                                           PINCKNEY            MI 48169‐9236
MERTZBACHER, MARY C         350 69TH ST APT 6                                                                          MIAMI BEACH         FL 33141
MERTZMAN, PAUL H            2811 ARGELLA AVENUE                                                                        DAYTON              OH 45410‐3106
MERUELO ENTERPRISES, INC.   TONY VEDOVA                      9550 FIRESTONE BLVD STE 105                               DOWNEY              CA 90241‐5560
MERULLO, PRISCILLA A        2141 RIDGE RD #22                                                                          LARGO               FL 33778‐1615
MERULLO, PRISCILLA A        2141 RIDGE RD S LOT 22                                                                     LARGO               FL 33778‐1615
MERV BOX                    21712 S STATE HIGHWAY 47                                                                   WARRENTON           MO 63383‐6968
MERV GRAY                   BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.         OH 44236
MERVA ROUSE                 1285 RIVER FOREST DR                                                                       FLINT               MI 48532‐2821
MERVA, ELIZABETH J          4075 BOB O LINK DR                                                                         YOUNGSTOWN          OH 44511‐3374
MERVA, EUGENE N             3320 FLO‐LOR DR #11C                                                                       YOUNGSTOWN          OH 44511
MERVA, JOHN J               68 OAK RIDGE RD 4                                                                          WEARE               NH 03281
MERVAR, E. JOSEPHINE        4051 HANNA VILLAGE DR            APT G                                                     INDIANAPOLIS        IN 46227‐9442
MERVAR, E. JOSEPHINE        4051 HANNA VILLAGE DR APT G                                                                INDIANAPOLIS        IN 46227‐9442
MERVAU, JARELD L            11725 WABASIS LAKE DR NE                                                                   GREENVILLE          MI 48838‐9317
MERVAU, RAMON B             11804 LAPPLEY AVE NE                                                                       ROCKFORD            MI 49341‐9576
MERVEL KEEL                 6191 GRACE K DR                                                                            WATERFORD           MI 48329‐1328
MERVEN COMER                5035 WHITE GRAVEL ROAD                                                                     MINFORD             OH 45653
MERVIL WRIGHT               5930 WOODVILLE DR                                                                          DAYTON              OH 45414‐2919
MERVILLE COWELL JR          5048 FLANDERS RD                                                                           TOLEDO              OH 43623‐2002
MERVIN ALLEN                20 STUART MILLS PL                                                                         CATONSVILLE         MD 21228‐2655
MERVIN ANDERSON JR          4710 FREEMAN RD                                                                            MIDDLEPORT          NY 14105‐9676
MERVIN APPLEBEE             11051 N JENNINGS RD                                                                        CLIO                MI 48420‐1570
MERVIN BAIR                 9203 HERITAGE RD                                                                           FRANKLIN            OH 45005‐1355
MERVIN CHEVIS               3903 WESTHAMPTON DR                                                                        HOUSTON             TX 77045‐5543
MERVIN CLARK                975 JERALD DR                                                                              FLINT               MI 48506‐5252
MERVIN CLAYBURN             113 TUTOR LN                                                                               HOHENWALD           TN 38462‐2439
MERVIN D WAKEFIELD          2939 TERESA DR                                                                             JACKSON             MS 39212
MERVIN EGGERT               7242 JOHNSON RD                                                                            FLUSHING            MI 48433‐9049
MERVIN ENSOR                PO BOX 219                                                                                 COVINGTON           TX 76636‐0219
MERVIN EPPS                 236 HEYWOOD AVE                                                                            ORANGE              NJ 07050‐3042
MERVIN FALOR                50093 WICKETT RD                                                                           DECATUR             MI 49045‐9456
MERVIN FERRELL              12346 E LIPPINCOTT BLVD                                                                    DAVISON             MI 48423‐9120
MERVIN FLEGEL               502 S ITHACA ST                                                                            ITHACA              MI 48847‐1824
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Name                              Address1                        Address2                    Address3                    Address4           City               State Zip
MERVIN FLEMING                    3822 HERRICK ST                                                                                            FLINT               MI 48532‐5230
MERVIN G WOLFF                    3011 W GRAND BLVD STE 210                                                                                  DETROIT             MI 48202‐3068
MERVIN G WOLFF                    49 VIRGINIA PARK ST                                                                                        DETROIT             MI 48202‐2009
MERVIN G WOLFF MD                 ATTN: MERVIN G WOLFF            3011 W GRAND BLVD # 210                                                    DETROIT             MI 48202‐3068
MERVIN H BONS                     C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY STE 600                                                  HOUSTON             TX 77007
                                  BOUNDAS LLP
MERVIN HALLEAD                    5307 S AIRPORT RD                                                                                          SAINT JOHNS        MI   48879‐9266
MERVIN JONES                      6445 W CEDAR CHASE DR                                                                                      MC CORDSVILLE      IN   46055‐9306
MERVIN JONES                      PO BOX 471                                                                                                 ALBANY             KY   42602‐0471
MERVIN JONES                      16300 MCSWIGGEN RD                                                                                         SALINEVILLE        OH   43945‐9737
MERVIN L BAIR                     9203 HERITAGE RD                                                                                           FRANKLIN           OH   45005‐1355
MERVIN LEHR                       PO BOX 195                                                                                                 LENZBURG           IL   62255‐0195
MERVIN LINDEN                     3511 S CHANNEL DR                                                                                          DELAVAN            WI   53115‐3348
MERVIN LUTHER BOYER               ATTN ROBERT W PHILLIPS          SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD PO BOX                      EAST ALTON         IL   62024
                                                                  ANGELIDES & BARNERD LLC     521
MERVIN MC DOWELL                  2865 S HADLEY RD                                                                                           ORTONVILLE         MI   48462‐9283
MERVIN MILLER                     810 LEA AVE                                                                                                MIAMISBURG         OH   45342‐3412
MERVIN MOORE                      33212 ELDER RD                                                                                             SUNRISE BEACH      MO   65079‐2019
MERVIN MOSS                       1004 MALIBU DR                                                                                             ANDERSON           IN   46016‐2770
MERVIN PREISCH                    3654 HARRIS AVE                                                                                            RANSOMVILLE        NY   14131‐9516
MERVIN RONALD RESSLER             ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS    707 BERKSHIRE BLVD          PO BOX 521         EAST ALTON         IL   62024
                                                                  ANGELIDES & BARNERD LLC
MERVIN ROSE JR                    29953 PIPERS LN                                                                                            FARMINGTON HILLS   MI   48334‐4886
MERVIN ROSS                       7081 W MARLETTE RD                                                                                         MARLETTE           MI   48453‐9134
MERVIN SHORT                      2695 S WHITNEY BEACH RD                                                                                    BEAVERTON          MI   48612‐8224
MERVIN SMALL                      618 E LAKE ST                                                                                              SUMMITVILLE        IN   46070‐9703
MERVIN SMITH                      313 ALGER ST                                                                                               LANSING            MI   48917‐3806
MERVIN SPRAGUE                    30033 ABELIA RD                                                                                            CANYON CNTRY       CA   91387‐1510
MERVIN STARKEY                    PO BOX 41                                                                                                  BISMARCK           IL   61814‐0041
MERVIN STEPHENS JR                107 S RIDGEVIEW RD                                                                                         OLATHE             KS   66061‐3753
MERVIN STOMBAUGH                  1008 WINFIELD DR                                                                                           BEL AIR            MD   21015‐1537
MERVIN WALKER                     426 MARTIN DR                                                                                              NEW CASTLE         DE   19720‐2760
MERVIN WHITE                      6393 GAULT RD                                                                                              NORTH JACKSON      OH   44451‐8708
MERVIN WILLIAMS                   10377 LINDSEY RD                                                                                           CASCO              MI   48064‐2213
MERVIN, DEBRA L                   10532 W CORTEZ CIR APT 17                                                                                  FRANKLIN           WI   53132‐1560
MERVINE, DANIEL M                 118 CONANT DR                                                                                              BUFFALO            NY   14223‐2217
MERVO, TIMOTHY L                  6409 TITAN CT                                                                                              LAS VEGAS          NV   89108‐1836
MERVYN ARNOLD                     4015 TREE RIDGE LN NE                                                                                      PALM BAY           FL   32905‐4656
MERVYN C BEAUMONT AND DOROTHY I   THE MERVYN BEAUMONT & DOROTHY   2574 E ALGER DR                                                            GREEN VALLEY       AZ   85614‐6253
BEAUMOND CO‐TTEES                 BEAUMONT TRUST UA DTD 12/4/89
MERVYN COUZENS                    1423 GLEN MEADOW LN                                                                                        LEONARD            MI   48367‐3151
MERVYN DAVIES                     2950 LEMKE DR                                                                                              N TONAWANDA        NY   14120‐1143
MERVYN DEIBEL                     2801 N FOREST RD                                                                                           GETZVILLE          NY   14068‐1252
MERVYN MEYER                      1222 BOARD MOORE CIRCLE                                                                                    FRANKLIN           TN   37067
MERVYN, ARLENE J                  1943 E CURTIS RD                                                                                           BIRCH RUN          MI   48415‐9061
MERVYN, BETTY L                   32836 WINONA ST                                                                                            WESTLAND           MI   48185‐9446
MERVYN, FRANCIS J                 1264 W GRAND BLANC RD                                                                                      GRAND BLANC        MI   48439‐9338
MERVYN, JEAN M                    31 MOCKINGBIRD DR.                                                                                         LAKE ORION         MI   48359‐1845
MERVYN, LINDA L                   10317 GLENDALE AVE                                                                                         CLIO               MI   48420‐1609
MERVYN, PERCY J                   4143 NETTLE RD                                                                                             PORT CHARLOTTE     FL   33953‐6041
MERVYN, WILLIAM A                 5444 WAKEFIELD RD                                                                                          GRAND BLANC        MI   48439‐9132
MERWIN ALLEN                      PO BOX 454                                                                                                 FARWELL            MI   48622‐0454
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Name                  Address1                        Address2                     Address3   Address4                City               State Zip
MERWIN BENDER         2233 S VAN BUREN RD                                                                             REESE               MI 48757‐9230
MERWIN BOUGHFMAN      302 W STATE ST                                                                                  CORUNNA             MI 48817‐1348
MERWIN RICE           319 WALNUT AVE                                                                                  OSAWATOMIE          KS 66064‐1163
MERWIN RUSSELL        4069 PEPPERMILL RD                                                                              ATTICA              MI 48412‐9511
MERWIN SVEOM          7640 S LUTHER VALLEY RD                                                                         BELOIT              WI 53511‐8313
MERWIN THOMAS         2675 HILLCREST DR                                                                               IONIA               MI 48846‐8724
MERWIN, DANIEL L      2521 FORT ARGYLE RD                                                                             BLOOMINGDALE        GA 31902‐9349
MERWIN, DANNY L       2463 WOODTHRUSH CT                                                                              NIAGARA FALLS       NY 14304
MERWIN, FRANK C       2834 OTSEGO RD                                                                                  WATERFORD           MI 48328‐3244
MERWIN, GARY L        258 HEIGHTS RD                                                                                  LAKE ORION          MI 48362‐2725
MERWIN, KATHLEEN A    236 LOWELL AVE NE                                                                               WARREN              OH 44483
MERWIN, MARY K        258 HEIGHTS RD                                                                                  LAKE ORION          MI 48362‐2725
MERWYN CASWELL        140 SUMMIT DR                                                                                   BATTLE CREEK        MI 49015‐4114
MERWYN HIRSCH         6591 CLEARBROOK DR                                                                              SAINT HELEN         MI 48656‐9547
MERWYN MAIN           1289 ASH ST 34788                                                                               NATIONAL CITY       MI 48748
MERWYN RIECKHOFF      PO BOX 5232                                                                                     BRADENTON           FL 34281‐5232
MERYL A BRANTLEY      21043 UNIVERSAL AVE                                                                             EASTPOINTE          MI 48021‐2931
MERYL BARRETT         BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.         OH 44236
MERYL BOMKAMP         3842 CREEKSIDE DR                                                                               JANESVILLE          WI 53548‐8325
MERYL BRANTLEY        21043 UNIVERSAL AVE                                                                             EASTPOINTE          MI 48021‐2931
MERYL E BARRETT       PO BOX 1143                                                                                     YOUNGSTOWN          OH 44501
MERYL HIGGINS         4721 S LEFHOLZ RD                                                                               OAK GROVE           MO 64075‐9792
MERYL KLEIN           35386 BOBCEAN RD                                                                                CLINTON TWP         MI 48035‐2309
MERYL LOCKHART        716 CARIBBEAN DR                                                                                FOREST PARK         GA 30297‐4251
MERYL NELSON          1321 E HATCH ST                                                                                 STURGIS             MI 49091‐1216
MERYLE CARMEAN        5026 STATE ROUTE 140                                                                            BETHALTO             IL 62010‐2122
MERYLE MUESKE         2026 N SUMAC DR                                                                                 JANESVILLE          WI 53545‐0564
MERYS, FRANCES M      48303 20TH ST W SPC 54                                                                          LANCASTER           CA 93534‐7408
MERZ & AMEZ‐DROZ AG   SALZHAUSSTRASSE 33                                                      BIEL 2501 SWITZERLAND
MERZ JEREMEY M        4545 HILLSBORO RD                                                                               DAVISBURG          MI   48350‐3812
MERZ JR, AUGUST       5339 ROWLAND RD                                                                                 TOLEDO             OH   43613‐2739
MERZ JR, PAUL E       417 BILLINGS ST                                                                                 ELGIN              IL   60123‐7621
MERZ, BEVERLEY A      6808 SNOW APPLE DR                                                                              CLARKSTON          MI   48346‐1634
MERZ, CHARLES C       37616 JOANNE DR                                                                                 CLINTON TWP        MI   48036‐2137
MERZ, CYNTHIA L       3740 REESE RD                                                                                   ORTONVILLE         MI   48462‐8448
MERZ, EVE             867 ROSEWOOD DR                                                                                 BRUNSWICK          OH   44212‐2620
MERZ, FREDERICK A     30 STOVEL CIR                                                                                   COLORADO SPRINGS   CO   80916‐4704
MERZ, JESSICA L       37616 JOANNE DR                                                                                 CLINTON TWP        MI   48036‐2137
MERZ, JOSEPH S        1422 LAKEWAY AVE                                                                                KALAMAZOO          MI   49001‐4925
MERZ, MARTIN E        3255 GREY RD                                                                                    FREELAND           MI   48623‐9473
MERZ, MICHAEL L       653 GLENDALE AVENUE                                                                             OTTAWA             OH   45875‐1138
MERZ, NOREEN M        110 S CHODIKEE LAKE RD                                                                          HIGHLAND           NY   12528‐2502
MERZ, ROBERT A        6363 DAKOTA CIR                                                                                 BLOOMFIELD HILLS   MI   48301‐1569
MERZ, ROBERT A        767 BELLFLOWER DR                                                                               BROOKLYN           MI   49230‐8902
MERZ, VERNON L        901 SW 138TH AVE APT C210                                                                       PEMBROKE PINES     FL   33027‐3545
MERZ, VICTOR D        605 S GRANT ST                                                                                  BROWNSBURG         IN   46112
MERZ, WILLIAM C       3740 REESE RD                                                                                   ORTONVILLE         MI   48462‐8448
MERZA NABIL           APT 1                           7219 NORTH 35TH AVENUE                                          PHOENIX            AZ   85051‐7473
MERZACCO, DOROTHY M   36 DIXON DRIVE                                                                                  KENMORE            NY   14223‐1815
MERZACCO, DOROTHY M   36 DIXON DR                                                                                     KENMORE            NY   14223‐1815
MERZKE, GERALD D      7823 HOLLANSBURG SAMPSON RD                                                                     ARCANUM            OH   45304‐8607
MERZKE, JAMES A       43 S SHORE DR                                                                                   ADDISON            MI   49220‐9739
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Name                              Address1                               Address2                     Address3   Address4         City             State Zip
MERZWEILER, JANICE M              5729 FYLER AVE APT 3                                                                            SAINT LOUIS       MO 63139‐1750
MES CORP                          448 PARK DR                                                                                     TROY              MI 48083‐2774
MES CREDIT UNION                  3011 W GRAND BLVD # 103                                                                         DETROIT           MI 48202‐3068
MESA (CITY OF)                    PO BOX 1878                                                                                     MESA              AZ 85211‐1878
MESA (CITY OF) AZ                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 1878                                              MESA              AZ 85211‐1878

MESA ARTS CENTER                  ACCOUNTS RECEIVABLE                   PO BOX 1466                                               MESA             AZ   85211‐1466
MESA B&D LLC                      2025 W INLET LOOP                                                                               MESA             AZ   85202‐5510
MESA BUICK PONTIAC GMC L.L.C.     EDWARD CHAVEZ                         6315 E AUTO PARK DR                                       MESA             AZ   85206‐4362
MESA CHAMBER OF COMMERCE          120 N CENTER ST                                                                                 MESA             AZ   85201‐6627
MESA CITY TAX OFFICE              PO BOX 1466                                                                                     MESA             AZ   85211‐1466
MESA CLINICAL PHARMA              PO BOX 1628                                                                                     LAKE ISABELLA    CA   93240‐1628
MESA COMMUNITY COLLEGE            COMMUNITY EDUCATION DEPARTMENT        1833 W SOUTHERN AVE                                       MESA             AZ   85202‐4822

MESA COUNTY TREASURER             PO BOX 2086                                                                                     ENGLEWOOD        CO 80150‐2086
MESA G.S.E.                                                             3916 E AIR LN                                                              AZ 85034
MESA JOSE F (481898)              GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                        STREET, SUITE 600
MESA MACK SALES & SERVICE, INC.   DAVID CALDWELL                        711 RAPTOR RD                                             FRUITA           CO   81521‐9535
MESA PONTIAC BUICK GMC            6315 E AUTO PARK DR                                                                             MESA             AZ   85206‐4362
MESA STUDENT HOUSING LLC          WILLIAM CAMPUS HOUSING                7001 E WILLIAMS FIELD RD                                  MESA             AZ   85212‐6018
MESA UNITED WAY                   137 E UNIVERSITY DR                                                                             MESA             AZ   85201‐5929
MESA, CARLOS F                    1360 EMERSON ST                                                                                 ROCHESTER        NY   14606‐3007
MESA, JOSE F                      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA   23510‐2212
                                                                        STREET, SUITE 600
MESA, M T                         7268 GRANT STREET                                                                               MENTOR           OH   44060‐4704
MESA, ROBERT P                    3380 HOLLY DR                                                                                   SAN JOSE         CA   95127‐1110
MESA, SECUNDINO E                 8615 HAZELNUT ST                                                                                BUENA PARK       CA   90620‐3304
MESAEH, RAYMOND J                 24637 DARTMOUTH                                                                                 DEARBORN HTS     MI   48125‐1611
MESALAM, RICHARD G                12370 N STATE ROAD 9                                                                            ALEXANDRIA       IN   46001‐8925
MESALAM, SAMUEL D                 15025 BOWFIN TER                                                                                LAKEWOOD RANCH   FL   34202‐5823
MESALIC, ELVIR                    1206 MAXWELL AVE                                                                                ROYAL OAK        MI   48067‐1265
MESANZA, GABRIEL E                50268 COLONIAL STREET                                                                           CANTON           MI   48188‐6709
MESAROS, GUSTAV                   9472 COLDWATER RD                                                                               FLUSHING         MI   48433‐1023
MESAROS, MICHAEL A                15 NANTUCKET ROW                                                                                ROCKY RIVER      OH   44116‐3775
MESAROS, ROSARIA                  23 UNION AVE                                                                                    LINDEN           NJ   07036‐3226
MESAROS, ROSARIA                  23 UNION AVENUE                                                                                 LINDEN           NJ   07036‐3226
MESAROS, VERONICA F               5079 N SEYMOUR ROAD                                                                             FLUSHING         MI   48433‐1064
MESAROSH, CHARLES E               4342 WASHBURN RD                                                                                HILLSBORO        OH   45133‐7087
MESCAL DESNOYER                   9332 HOUGHTON ST                                                                                LIVONIA          MI   48150‐3448
MESCALL JR, FRANCIS P             2102 FORD ST                                                                                    BROOKLYN         NY   11229‐5129
MESCAVAGE, WILLIAM A              70 W 15TH ST                                                                                    BAYONNE          NJ   07002‐1408
MESCE, LAWRENCE L                 14 WALNUT TER                                                                                   BLOOMFIELD       NJ   07003‐5026
MESCH, PATRICIA A                 2109 BALLYCASTLE DR                                                                             ARLINGTON        TX   76017‐4512
MESCHEN, MICHAEL P                7189 CHAPEL VIEW DR                                                                             CLARKSTON        MI   48346‐1601
MESCHER SR, EDGAR A               668 FREDERICKSBURG DR                                                                           DAYTON           OH   45415‐2649
MESCHER, ALFRED F                 2900 PARKWOOD DR                                                                                TROY             OH   45373‐8981
MESCHER, ALFRED F                 2900 PARKWOOOD DR                                                                               TROY             OH   45373‐8981
MESCHER, ALVIN D                  7130 GARBER RD                                                                                  DAYTON           OH   45415‐1213
MESCHER, DELORES                  4408 TIMBERWILDE DRIVE                                                                          KETTERING        OH   45440‐1509
MESCHER, EDGAR A                  2701 WEEPING WILLOW DR                                                                          DAYTON           OH   45449‐3246
MESCHER, ELAINE M                 80 E VAN LAKE DR                                                                                VANDALIA         OH   45377‐3256
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Name                      Address1                         Address2                      Address3   Address4              City               State Zip
MESCHER, GEORGE E         7116 GARBER RD                                                                                  DAYTON              OH 45415‐1213
MESCHER, LEANDER F        7140 GARBER RD                                                                                  DAYTON              OH 45415‐1213
MESCHER, NORMA J          7130 GARBER RD                                                                                  DAYTON              OH 45415‐1213
MESCHER, REBA J           668 FREDERICKSBURG DR                                                                           DAYTON              OH 45415‐2649
MESCHER, RICHARD E        4408 TIMBERWILDE DR                                                                             KETTERING           OH 45440‐1509
MESCHER, RODNEY L         3432 DIAMONDBACK DR                                                                             DAYTON              OH 45414‐1760
MESCHIEVITZ, SANDRA G     1110 GREENHILL ST                                                                               MURFREESBORO        TN 37129‐2029
MESCHIEVITZ, THOMAS       E5275 651ST AVENUE                                                                              MENOMONIE           WI 54751‐5505
MESCHINO, JOSEPH          80 VANDERBILT AVE                                                                               STATEN ISLAND       NY 10304‐2606
MESCHKAT, MARK A          18483 LONDON DR                                                                                 MACOMB              MI 48042‐6216
MESCHKE, PATRICIA T       508 N DEAN ST                                                                                   BAY CITY            MI 48706‐4621
MESCHKE, PATRICIA T       508 N DEAN                                                                                      BAY CITY            MI 48706
MESCHKE, WILLIAM H        621 OAKVIEW DR                                                                                  SAGINAW             MI 48604‐2126
MESCLIER, GUY E           2841 GRASS VALLEY DR                                                                            WHITE LAKE          MI 48383‐1805
MESCLIER, THOMAS M        43821 GOLDBERG DR                                                                               STERLING HEIGHTS    MI 48313‐1875
MESCO MFG                 2401 LAPEER RD                                                                                  FLINT               MI 48503‐4350
MESCO, THOMAS J           140 EMBERLY LN                                                                                  WARNER ROBINS       GA 31088‐2972
MESE, ERKAN               ATATURK MAH. TARIM SOK           NO:10 KAT: 2                             ODEMIS‐IZMIR TURKEY
                                                                                                    35750
MESE, UMIT                2064 LEHIGH PL                                                                                  MORAINE            OH   45439‐3060
MESECAR, BARBARA A        9082 84TH ST SE                                                                                 ALTO               MI   49302‐9247
MESECAR, BARBARA A        9082 84TH STREET                                                                                ALTO               MI   49302‐9247
MESECAR, MARSHALL D       7460 NOFFKE DR                                                                                  CALEDONIA          MI   49316‐8830
MESEKE LEROY G (498290)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                           STREET, SUITE 600
MESEKE, DORIS K           336 WHISTLER CREEK CT                                                                           MONUMENT           CO 80132‐8988
MESEKE, ETHAN R           45852 PEBBLE CRK W APT 12                                                                       SHELBY TOWNSHIP    MI 48317‐4885
MESEKE, LEROY G           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA 23510‐2212
                                                           STREET, SUITE 600
MESEKE, SCOTT D           7381 CADES CV                                                                                   CENTERVILLE        OH   45459‐4889
MESENBRINK SUSAN          PO BOX 21927                                                                                    SEATTLE            WA   98111‐3927
MESERKO, MARIE E          1505 KENTON STREET                                                                              LEAVENWORTH        KS   66048‐2205
MESERVE, KATHERINE J      13 KENILWORTH ST                                                                                PORTLAND           ME   04102‐2017
MESERVE, LACY             1029 HUDSON AVE                                                                                 JASPER             TN   37347‐2824
MESERVE, MARY G.M.        26651 MYRTLE LN NE APT C104                                                                     KINGSTON           WA   98346‐9468
MESERVE, RICHARD A        20220 OLD HOMESTEAD DR                                                                          HARPER WOODS       MI   48225‐2039
MESERVEY, TOBY A          14830 CALAHAN ST                                                                                PANORAMA CITY      CA   91402‐1206
MESEY, SUSAN M            6 SKYVIEW CT                                                                                    ARNOLD             MO   63010‐2214
MESEY, SUSAN M            6 SKYVIEW COURT                                                                                 ARNOLD             MO   63010
MESH AUTO                 402 PRAIRIE PSGE                                                                                DAKOTA DUNES       SD   57049‐5103
MESH, MIKHAIL             4528 CEDARCREST CIRCLE                                                                          SANTA FE           NM   87507‐3184
MESHAW, EDWARD C          DONALDSON & BLACK                208 W WENDOVER AVE                                             GREENSBORO         NC   27401‐1307
MESHELL CASON             1 CRYSTAL RIDGE DRIVE                                                                           WATCHUNG           NJ   07069‐6517
MESHELL MYRICK            4645 N GREGORY ST                                                                               SAGINAW            MI   48601‐6622
MESHELL, ALFRED R         447 BURFORD RD                                                                                  STONEWALL          LA   71078‐9699
MESHELL, CARL M           8937 ROSEDOWN PL                                                                                SHREVEPORT         LA   71118‐2308
MESHELL, JAMES G          241 HIGHVIEW DR                                                                                 BALLWIN            MO   63011‐3007
MESHELL, KELLY R          11432 COOK RD                                                                                   GAINES             MI   48436‐9779
MESHELL, KELLY REN        11432 COOK RD                                                                                   GAINES             MI   48436‐9779
MESHELL, MARGIE A         447 BURFORD RD                                                                                  STONEWALL          LA   71078‐9699
MESHELL, NANCY P          3232 MCGREGOR ST                                                                                BOSSIER CITY       LA   71112‐3129
MESHELL, RUSSELL W        11432 COOK RD                                                                                   GAINES             MI   48436‐9779
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Name                            Address1                         Address2                        Address3   Address4         City               State Zip
MESHEW, LORETTA B               1128 WATERVLIET                                                                              DAYTON              OH 45420‐2720
MESHEW, RONALD L                1004 WYTHE WAY                                                                               ROCKY MOUNT         NC 27804‐6424
MESHIA COMMANDER                6023 WAYNE RD                                                                                ROMULUS             MI 48174‐1762
MESHINGOMESIA COUNTRY CLUB      PO BOX 37                                                                                    MARION              IN 46952‐0037
MESHINSKI, MERLE D              6384 BUCKINGHAM AVE                                                                          ALLEN PARK          MI 48101‐2330
MESHNETWORKS INC                485 N KELLER RD STE 250                                                                      MAITLAND            FL 32751‐7535
MESHOT, VIRGINIA S              6951 PAXTON ROAD                                                                             BOARDMAN            OH 44512‐4533
MESHOT, VIRGINIA S              6951 PAXTON RD                                                                               BOARDMAN            OH 44512‐4533
MESHULA, JOYCE M                353 S BRIARCLIFF DR                                                                          CANFIELD            OH 44406‐1016
MESHULA, KENNETH J              12492 LISBON RD                                                                              SALEM               OH 44460‐9209
MESHULA, RICHARD A              16600 LEFFINGWELL RD                                                                         BERLIN CENTER       OH 44401‐9710
MESHYOCK, PAUL D                PO BOX 275                                                                                   THOMPSONTOWN        PA 17094‐0275
MESI, ANGELO V                  209 S MAIN ST                                                                                PROSPECT            OH 43342‐9569
MESI, ANTHONY P                 1403 S 2ND ST                                                                                KILLEEN             TX 76541‐7901
MESI, FRANK P                   10788 EASTLAND RD                                                                            DELEVAN             NY 14042‐9713
MESI, FRANK P                   257 OAKWOOD AVENUE                                                                           EAST AURORA         NY 14052‐2211
MESI, MARY LOU                  7065 ACADEMY LN                                                                              LOCKPORT            NY 14094‐5356
MESI, MARYLOU A                 7065 ACADEMY LN                                                                              LOCKPORT            NY 14094‐5356
MESI, MARYLOU A                 7065 ACADEMY LANE                                                                            LOCKPORT            NY 14094
MESI, RICHARD R                 182 ERIE ST                                                                                  LOCKPORT            NY 14094‐4630
MESI, THOMAS A                  140 SAINT CLARE TER                                                                          TONAWANDA           NY 14150‐4640
MESIC JR, RONALD J              14589 PHILOMENE BLVD                                                                         ALLEN PARK          MI 48101‐2121
MESIC, LINDA M                  670 SHERWOOD DR                                                                              AURORA              OH 44202‐8826
MESICH, GLORIA                  7837 45TH ST                                                                                 LYONS                IL 60534‐1947
MESICH, GLORIA                  7837 W 45TH ST                                                                               LYONS                IL 60534‐1947
MESICH, PAULINE                 3710 44TH ST                                                                                 ROCK ISLAND          IL 61201‐7121
MESICH, ROBERT A                5798 WENGLER DR                                                                              BROOK PARK          OH 44142‐2127
MESICK, LOUIS E                 1852 US HIGHWAY 27 S LOT B‐37                                                                AVON PARK           FL 33825‐8327
MESICK, RAYMOND N               82 HIGHLAND AVE                                                                              GUILFORD            CT 06437‐3378
MESIK, DENNIS J                 384 WYNDCLIFT PL                                                                             AUSTINTOWN          OH 44515‐4300
MESILLA VALLEY TRANSPORTATION   3530 W PICACHO AVE                                                                           LAS CRUCES          NM 88007‐4725
MESINA JR., RICARDO             5301 S LINCOLN BLVD                                                                          MARION              IN 46953‐6202
MESINA RENATO                   4366 GOLDENDAWN WAY                                                                          LIBERTY TOWNSHIP    OH 45044‐8317
MESINA, BRYAN P                 10 STILLWATER CT                                                                             SPRINGBORO          OH 45066
MESINA, RENATO S                4366 GOLDENDAWN WAY                                                                          LIBERTY TOWNSHIP    OH 45044‐8317
MESINA, RENATO SALCEDO          4366 GOLDENDAWN WAY                                                                          LIBERTY TOWNSHIP    OH 45044‐8317
MESINA, RICARDO                 5301 S LINCOLN BLVD                                                                          MARION              IN 46953‐6202
MESINAS, FRANCISCO
MESINAS, JUAN
MESING, ALFRED E                1813 GILL HALL RD                                                                            FINLEYVILLE        PA   15332‐4243
MESITE, PATRICK R               822 MARION RD                                                                                CHESHIRE           CT   06410‐3812
MESITE, SHEILA R                822 MARION RD                                                                                CHESHIRE           CT   06410‐3812
MESKE, IRENE                    8650 W 75TH ST 2                                                                             JUSTICE            IL   60458
MESKER, CHARLES L               PO BOX 276                                                                                   GROVELAND          FL   34736‐0276
MESKER, DONALD F                20815 STATE ROUTE 637                                                                        OAKWOOD            OH   45873‐9045
MESKER, KEVIN J                 22582 ROAD U20                                                                               DELPHOS            OH   45833‐9308
MESKER, WILLIS J                189 W 500 S                                                                                  MARION             IN   46953‐9319
MESKO JOHN (446325)             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH   44067
                                                                 PROFESSIONAL BLDG
MESKO, EMILY S                  2345 OXFORD                      APT 308                                                     BERKLEY            MI 48072‐1756
MESKO, EMILY S                  2345 OXFORD RD APT 308                                                                       BERKLEY            MI 48072‐1756
MESKO, JENNIE                   THE CHELSEA                      295 SOUTH AVE                                               FANWOOD            NJ 07023
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Name                                    Address1                         Address2                       Address3   Address4              City              State Zip
MESKO, JOHN                             BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                    NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
MESKUNAS, WILLIAM L                     30808 RONALD DR                                                                                  WILLOWICK         OH   44095‐4347
MESLEMANI, MOHAMAD M                    38853 PINEBROOK DR                                                                               STERLING HTS      MI   48310‐2914
MESLER ROBERT (665582)                  ZAMLER, MELLEN & SHIFFMAN        23077 GREENFIELD RD STE 557                                     SOUTHFIELD        MI   48075‐3727
MESLER, DAVID E                         44 JESELLA DR W                                                                                  N TONAWANDA       NY   14120‐3337
MESLER, MICHAEL A                       9504 BIVENS RD                                                                                   NASHVILLE         MI   49073‐9701
MESLER, MICHAEL R                       3267 ROBERTSON DRIVE                                                                             BEAVERTON         MI   48612‐9729
MESLER, ROBERT                          ZAMLER, MELLEN & SHIFFMAN        23077 GREENFIELD RD STE 557                                     SOUTHFIELD        MI   48075‐3727
MESLER, SANDRA                          5660 CRESCENT RD                                                                                 WATERFORD         MI   48327‐2722
MESLER, SOPHIA H                        1101 YOUNGER AVE                                                                                 PITTSBURGH        PA   15216‐2949
MESLER, WILLIAM J                       3652 RECREATION LN                                                                               NAPLES            FL   34116‐7303
MESMAN, DONALD S                        APT 202                          310 WEST ELLENDALE AVENUE                                       DALLAS            OR   97338‐1565
MESMER EDNA A                           291 S NEWTON FALLS RD                                                                            NORTH JACKSON     OH   44451‐9624
MESMER, ADA M                           1449 FAIRLAWN DRIVE                                                                              HERMITAGE         PA   16148
MESMER, ELWIN D                         4665 MICHAEL AVE                                                                                 NORTH OLMSTED     OH   44070‐3755
MESNARD, DONALD D                       PO BOX 393                       9547 CRESTLINE                                                  LAKELAND          MI   48143‐0393
MESNARD, LARRY W                        PO BOX 551                                                                                       FENTON            MI   48430‐0551
MESNER, KATHLEEN                        1639 LONGFELLOW DR                                                                               CANTON            MI   48187‐2924
MESO, EUGENE J                          487 VINEWOOD AVE                                                                                 BIRMINGHAM        MI   48009‐1307
MESOGITIS, KATHERINE L                  1279 MONTICELLO AVE                                                                              HERMITAGE         PA   16148‐4446
MESOLELLA, BERNICE A                    3785 LYELL RD                                                                                    ROCHESTER         NY   14606‐4410
MESORACA ROCCO J (639962)               GROSS JAMES N                    1616 WALNUT ST STE 1110                                         PHILADELPHIA      PA   19103‐5311
MESORACA, ROCCO J                       GROSS JAMES N                    1616 WALNUT ST STE 1110                                         PHILADELPHIA      PA   19103‐5311
MESORIO, CARLOS
MESQUITA, TONY A                        1783 PACIFIC AVE                                                                                 SAN LEANDRO       CA 94577‐2603
MESQUITE AUTO SERVICE & MOBILE          780 HAFEN LN STE L                                                                               MESQUITE          NV 89027‐5943
REPAIR
MESQUITE DEALERSHIP ACQUISITION, INC.   RANDY HILEY                      15900 IH 635                                                    MESQUITE          TX   75150

MESQUITE MOTOR PARTS                    424 RIVERSIDE RD                                                                                 MESQUITE          NV   89027‐7100
MESQUITE MOTOR PARTS                                                     424 RIVERSIDE RD                                                                  NV   89027
MESQUITE, HERMAN C                      745 SUMMER CIR                                                                                   BRENTWOOD         CA   94513‐2529
MESROBIAN, VERDI                        5630 BEDFORD ST                                                                                  DEARBORN HTS      MI   48125‐3443
MESS, CHARLES F                         4121 W MILES RD                                                                                  JANESVILLE        WI   53545‐9037
MESSACAR, JAMES A                       5830 W FAIRMOUNT AVE                                                                             PHOENIX           AZ   85031‐2418
MESSAGE VISION INC                      1401 N TUSTIN AVE STE 230                                                                        SANTA ANA         CA   92705‐8686
MESSAGEVISION                           1401 N TUSTIN AVE STE 230                                                                        SANTA ANA         CA   92705‐8686
MESSANA, CHARLES A                      19030 SW 4TH ST                                                                                  PEMBROKE PINES    FL   33029
MESSANA, MARY L                         2892 FOXFIRE DR                                                                                  MILFORD           MI   48380‐4474
MESSEL JR, RALPH J                      855 N STEPHANIE ST UNIT 612                                                                      HENDERSON         NV   89014‐3082
MESSEL, CHAD E                          7408 SWEETBRIAR                                                                                  WEST BLOOMFIELD   MI   48324‐2554
MESSEL, CHAD ELWOOD                     7408 SWEETBRIAR                                                                                  WEST BLOOMFIELD   MI   48324‐2554
MESSEL, RICHARD E                       1292 THISTLERIDGE DR                                                                             HOLLY             MI   48442‐9727
MESSEMORE, WILLIAM                      PORTER & MALOUF PA               4670 MCWILLIE DR                                                JACKSON           MS   39206‐5621
MESSENGER CAROL                         PO BOX 2395                                                                                      NEW LONDON        NH   03257
MESSENGER DELIVERY SERVICE              PO BOX 84                                                                  ST THOMAS ON ON N5P
                                                                                                                   3T5 CANADA
MESSENGER JR, ROBERT W                  7217 GREENBANK RD                                                                                BALTIMORE         MD   21220‐1113
MESSENGER MATTHEW LANE                  239 KINGS LANDING DR                                                                             COLUMBIAVILLE     MI   48421‐9709
MESSENGER PRINTING SERVICE INC          20136 ECORSE RD                                                                                  TAYLOR            MI   48180‐1957
MESSENGER, ADAM F                       3836 SUNRIDGE DRIVE                                                                              FLINT             MI   48506‐2542
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Name                             Address1                         Address2                      Address3   Address4         City            State Zip
MESSENGER, ALAN D                6272 ROBERTA ST                                                                            BURTON           MI 48509‐2436
MESSENGER, ARTHUR W              2604 MITCHELL DR                                                                           WOODRIDGE         IL 60517
MESSENGER, DARYL F               239 KINGS LANDING DR                                                                       COLUMBIAVILLE    MI 48421‐9709
MESSENGER, DARYL FRANK           239 KINGS LANDING DR                                                                       COLUMBIAVILLE    MI 48421‐9709
MESSENGER, DENNIS R              104 RIPLEY RD                                                                              LINDEN           MI 48451‐8955
MESSENGER, DONALD W              93 SPENCER RD                                                                              ROCHESTER        NY 14609‐5654
MESSENGER, DONALD W              93 SPENCER ROAD                                                                            ROCHESTER        NY 14609‐5654
MESSENGER, EDDIE A               102 FOREST ST                                                                              STAMFORD         CT 06901‐2131
MESSENGER, ELEANOR A             10407 S SEYMOUR RD                                                                         GAINES           MI 48436‐9722
MESSENGER, ELEANOR A             10407 SEYMOUR RD                                                                           GAINES           MI 48436‐9722
MESSENGER, ESTHER F              PO BOX 639                                                                                 BEREA            KY 40403‐0639
MESSENGER, FRANK E               6360 N TUTTEROW RD               C/O DENISE HAMILTON                                       MONROVIA         IN 46157‐9008
MESSENGER, FRED R                1313 BAUMAN AVE                                                                            ROYAL OAK        MI 48073‐2077
MESSENGER, JACOB                 239 KINGS LANDING DR                                                                       COLUMBIAVILLE    MI 48421‐9709
MESSENGER, JOHN E                1357 SETSER ST                                                                             NOBLESVILLE      IN 46060‐3897
MESSENGER, KRIS                  547 E EDGEWOOD BLVD APT 621                                                                LANSING          MI 48911‐5948
MESSENGER, LARRY R               1401 PEPPERMILL RD                                                                         LAPEER           MI 48446‐3241
MESSENGER, LESLIE K              2210 MAPLEWOOD AVE                                                                         FLINT            MI 48506
MESSENGER, LESTA L               26020 NEWCOMBE CIR                                                                         LEESBURG         FL 34748‐8064
MESSENGER, MARGARET J            486 LUKES DR                                                                               MANSFIELD        OH 44905‐2126
MESSENGER, MARK                  4675 EAGLE CREEK RD                                                                        LEAVITTSBURG     OH 44430‐9464
MESSENGER, MATTHEW LANE          239 KINGS LANDING DR                                                                       COLUMBIAVILLE    MI 48421‐9709
MESSENGER, MONA K                319 SUMMIT PT                                                                              GUNTERSVILLE     AL 35976‐8067
MESSENGER, RALPH E               21621 SW MARINE BLVD                                                                       DUNNELLON        FL 34431‐3433
MESSENGER, ROBERT C              2717 CRESCENT OAK DR                                                                       STERLING HTS     MI 48314‐3725
MESSENGER, ROBERT W              104 COWHIDE CIR                                                                            MIDDLE RIVER     MD 21220
MESSENGER, ROBIN K               3523 ADVOCATE HILL DR                                                                      JARRETTSVILLE    MD 21084‐1541
MESSENGER, WARREN A              28723 LEROY ST                                                                             ROMULUS          MI 48174‐3009
MESSENHEIMER, CARL J             681 BUNKER HILL CT                                                                         WESTERVILLE      OH 43081‐2709
MESSER BROOKE                    MESSER, BROOKE                   3 SUMMIT PARK DR STE 100                                  INDEPENDENCE     OH 44131‐2598
MESSER CAPARELLO MADSEN          GOLDMAN & METZ PA                215 S MONROE ST STE 702                                   TALLAHASSEE      FL 32301‐1858
MESSER ELDRED G (429451)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510
                                                                  STREET, SUITE 600
MESSER GRIESHEIM INDUSTRIES IN   M G INDUSTRIES                   515 E EDGAR RD US RTE 1                                   LINDEN          NJ   07036
MESSER JESSE                     ICO THE LANIER LAW FIRM P C      6810 FM 1960 WEST                                         HOUSTON         TX   77069
MESSER JR, ADRIAN                414 N LENFESTY AVE                                                                         MARION          IN   46952‐2349
MESSER JR, BENJAMIN              3782 CACTUS LN                                                                             MOUNT DORA      FL   32757‐5404
MESSER JR, DARIUS                4009 NORA DR                                                                               EDMOND          OK   73034‐7165
MESSER JR, RICHIE                577 DAYCO DR                                                                               DAYTON          TN   37321‐6732
MESSER JR, ROBERT O              276 DANNA DR                                                                               SCOTTSVILLE     KY   42164‐6312
MESSER JUDY                      MESSER, JUDY                     8910 PURDUE ROAD SUITE 480                                INDIANAPOLIS    IN   46268
MESSER RONNIE JR                 PO BOX 70                                                                                  BARBOURVILLE    KY   40906‐0070
MESSER SHIRLEY                   MESSER, SHIRLEY                  PO BOX 880                                                CROWN POINT     IN   46308‐0880
MESSER SR, RAYMOND L             494 WENCELLA DR                                                                            HAMILTON        OH   45013‐4178
MESSER SR., BERNARD L            10922 W ABBOTT AVE                                                                         SUN CITY        AZ   85351‐4048
MESSER WILLA                     APT 2403                         1250 WEST PIONEER PARKWAY                                 ARLINGTON       TX   76013‐8207
MESSER, APRIL M                  1092 CIMARRON TRL                                                                          GARDNER         KS   66030‐1581
MESSER, APRIL M                  625 N WALKER LN                                                                            OLATHE          KS   66061‐3338
MESSER, BETTY J                  5283 GROSBEAK GLN                                                                          ORIENT          OH   43146‐9233
MESSER, BOBBY J                  68 OAKHILL ST                                                                              PONTIAC         MI   48342‐2328
MESSER, BRILLENE Y               31069 PERSIMMON TREE RD                                                                    ANDERSON        AL   35610‐3621
MESSER, BROOKE                   KROHN & MOSS                     3 SUMMIT PARK DR STE 100                                  INDEPENDENCE    OH   44131‐2598
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Name                  Address1                              Address2                       Address3   Address4         City               State Zip
MESSER, CALVIN A      310 MOONLITE CT                                                                                  CLARKSTON           MI 48348‐1481
MESSER, CHARLES J     PO BOX 64                                                                                        WOODBINE            KY 40771‐0064
MESSER, CHARLES L     507 ATEN AVE                                                                                     WELLSVILLE          OH 43968‐1118
MESSER, COLTON J      31069 PERSIMMON TREE RD                                                                          ANDERSON            AL 35610‐3621
MESSER, D T           134 S TORRENCE ST                                                                                DAYTON              OH 45403‐2044
MESSER, DELLA J       1010 OTTOLAND DR R #3                                                                            LAKE ODESSA         MI 48849
MESSER, DENVER A      5523 BENPATRICK CT                                                                               WESTERVILLE         OH 43081
MESSER, DONALD        18548 COUNTY ROAD H                                                                              HOLGATE             OH 43527‐9594
MESSER, DONALD R      2910 VANCE RD                                                                                    URBANA              OH 43078‐9632
MESSER, DONALD R      PO BOX 1298                                                                                      PINEVILLE           KY 40977‐7298
MESSER, DONNA F       97 ASHLEY CIRCLE                                                                                 SWARTZ CREEK        MI 48473‐1175
MESSER, DONNA F       97 ASHLEY CIR                                                                                    SWARTZ CREEK        MI 48473‐1175
MESSER, DORIS M       8134 N BROOKSTON DR                                                                              WILLIS              MI 48191‐9667
MESSER, DOUGLAS R     601 S WALNUT ST APT 15                                                                           SWEET SPRINGS       MO 65351‐1255
MESSER, DOUGLAS R     601 SOUTH WALNUT DRIVE                APT 15                                                     SWEET SPRING        MO 65351
MESSER, EARL M        260 OLD MOUNT HARMON RD NE                                                                       CHARLESTON          TN 37310‐6067
MESSER, EDWARD        62 PALAMINO DR                                                                                   BARBOURVILLE        KY 40906‐7674
MESSER, ELDRED G      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510‐2212
                                                            STREET, SUITE 600
MESSER, ESTILL        3280 SINKING CREEK RD                                                                            LONDON             KY 40741‐9207
MESSER, GENE          GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                               PITTSBURGH         PA 15219

MESSER, GEORGE M      990 HOLLANDSBURG‐ARCANUM RD                                                                      HOLLANDSBURG       OH   45332‐9736
MESSER, GEORGE M      990 HOLLANSBURG ARCANUM RD                                                                       HOLLANSBURG        OH   45332‐9736
MESSER, GERALD F      7 TOBIAS WAY                                                                                     E FALMOUTH         MA   02536‐5264
MESSER, GERALD W      7413 BUENA VISTA DR                                                                              CLEVES             OH   45002‐8712
MESSER, IMOGENE L     12545 4 MILE RD                                                                                  EVART              MI   49631‐8057
MESSER, ISABELLE S    33823 LUCY DR                                                                                    WESLEY CHAPEL      FL   33543‐5037
MESSER, IVA J         9252 POLK                                                                                        TAYLOR             MI   48180‐3819
MESSER, IVA J         9252 POLK ST                                                                                     TAYLOR             MI   48180‐3819
MESSER, JACK J        1227 CAIRNS RD                                                                                   MANSFIELD          OH   44903‐9093
MESSER, JAMES H       1520 LAKE POINTE WAY APT 1                                                                       DAYTON             OH   45459
MESSER, JAMES H       149 BLYTHE RD                                                                                    GREENBRIER         AR   72058‐9718
MESSER, JAMES R       2088 HILLRISE CIR                                                                                BELLBROOK          OH   45305‐1869
MESSER, JEAN E        5165 NE TORCHWOOD DR                  LOT 73                                                     PLAIN CITY         OH   43064‐9179
MESSER, JERALDINE G   1049 N JUNE WALK                                                                                 MARION             IN   46952
MESSER, JOE R         117 WHITEHORN DR                                                                                 VANDALIA           OH   45377‐2940
MESSER, JOHN H        5165 TORCHWOOD DR                                                                                PLAIN CITY         OH   43064‐9179
MESSER, JOHN R        5283 GROSBEAK GLN                                                                                ORIENT             OH   43146‐9233
MESSER, JOHN R        5465 N US HIGHWAY 25E                                                                            GRAY               KY   40734‐6582
MESSER, JOHN R        3950 S CREEKSIDE DR                                                                              NEW PALESTINE      IN   46163‐9546
MESSER, JUDY C        5154 FREDRICK DR                                                                                 STERLING HEIGHTS   MI   48310‐2703
MESSER, KELLY R       7335 OLD GREENHILL RD                                                                            BOWLING GREEN      KY   42103‐9203
MESSER, KELLY RENEE   7335 OLD GREENHILL RD                                                                            BOWLING GREEN      KY   42103‐9203
MESSER, KENNETH R     345 S BRINER RD                                                                                  MARION             IN   46953‐9704
MESSER, LARRY G       86057 JOHN ST                                                                                    YULEE              FL   32097‐3248
MESSER, LAURA A       6923 BUNKERHILL LN                                                                               CANTON             MI   48187‐3009
MESSER, LAURA A       6923 BUNKER HILL LANE                                                                            CANTON             MI   48187‐3009
MESSER, LEELEON       16015 STATE ROUTE 111                                                                            CECIL              OH   45821‐9742
MESSER, LINDA F       38741 SUTTON DR                                                                                  STERLING HTS       MI   48310‐2877
MESSER, LOIS V        1550 E CLARK RD APT 309                                                                          YPSILANTI          MI   48198‐3161
MESSER, LOIS V        1550 CLARK RD #309                                                                               YPSILANTI          MI   48198‐3161
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Name                                   Address1                        Address2                 Address3    Address4         City                  State Zip
MESSER, LONNIE M                       PO BOX 153                                                                            LATTY                  OH 45855‐0153
MESSER, LYNETTE J                      3525 E TUPPER LAKE RD                                                                 LAKE ODESSA            MI 48849‐9530
MESSER, LYNETTE M                      553 MABEL STREET                                                                      MARINE CITY            MI 48039‐3430
MESSER, LYNETTE M                      553 MABEL ST                                                                          MARINE CITY            MI 48039‐3430
MESSER, MARCIA                         507 ATEN AVE                                                                          WELLSVILLE             OH 43968‐1118
MESSER, MARGARET A                     590 ISAAC PRUGH WAY APT 131                                                           KETTERING              OH 45429‐3475
MESSER, MARK                           MARK MESSER                     340 NO. GRATIOT                                       CULLMAN                AL 35055
MESSER, MARK E                         53081 BATES RD                                                                        CHESTERFIELD           MI 48051‐1660
MESSER, MARK V                         5 GREENDALE DR                                                                        KETTERING              OH 45429‐1570
MESSER, MARY C                         1765 PIPER LN APT 104                                                                 DAYTON                 OH 45440‐5091
MESSER, MARY C                         1765 PIPER LN                   APT 104                                               DAYTON                 OH 45440‐5091
MESSER, MICHAEL W                      3540 WASHBURN RD                                                                      VASSAR                 MI 48768‐9558
MESSER, MIKE A                         1234 CAIRNS RD                                                                        MANSFIELD              OH 44903‐9093
MESSER, NORMAN K                       4548 LUTZ DR                                                                          WARREN                 MI 48092‐4404
MESSER, OSCAR                          104 S RALLY RD                                                                        AVON PARK              FL 33825‐5300
MESSER, PARIS E                        5154 FREDRICK DR                                                                      STERLING HTS           MI 48310‐2703
MESSER, PAULA M                        HC 70 BOX 445                                                                         LENORE                 WV 25676‐9706
MESSER, PHYLLIS E                      2229 WILDWOOD LANE                                                                    INDIANAPOLIS           IN 46239‐9666
MESSER, RANDALL S                      4950 WAYNE TRACE RD                                                                   HAMILTON               OH 45011‐9637
MESSER, RAYMOND F                      9647 SW 92ND CT                                                                       OCALA                  FL 34481‐9447
MESSER, RHONDA R                       2606 E 8TH ST                                                                         MUNCIE                 IN 47302‐3882
MESSER, RICHARD D                      2009 N RILEY RD                                                                       MUNCIE                 IN 47304‐2568
MESSER, ROBERT H                       83 CLARK NORTON LN                                                                    RABUN GAP              GA 30568‐1716
MESSER, ROBERT J                       22791 PURDUE AVE                                                                      FARMINGTON HILLS       MI 48336‐4879
MESSER, ROBERT O                       313 ESTHER CIR                                                                        WEDOWEE                AL 36278‐4239
MESSER, RONNIE J                       31069 PERSIMMON TREE RD                                                               ANDERSON               AL 35610‐3621
MESSER, RUBEN J                        1622 SHERMAN STREET SOUTHEAST                                                         DECATUR                AL 35601‐3438
MESSER, RUSSELL A                      PO BOX 32                                                                             MULLIKEN               MI 48861‐0032
MESSER, SAMUEL T                       2451 MELVIN AVE                                                                       ROCHESTER HILLS        MI 48307‐4860
MESSER, STANLEY L                      7813 OWL CREEK LN                                                                     MCKINNEY               TX 75070‐5989
MESSER, STANLEY LEE                    7813 OWL CREEK LN                                                                     MCKINNEY               TX 75070‐5989
MESSER, STEPHANIE A                    289 BEAUPRE AVE                                                                       GROSSE POINTE FARMS    MI 48236‐3352
MESSER, STEPHANIE ANN                  289 BEAUPRE AVE                                                                       GROSSE POINTE FARMS    MI 48236‐3352
MESSER, TERRY G                        2514 SEXTON RD                                                                        HOWELL                 MI 48843‐8985
MESSER, TEX H                          PO BOX 24646                                                                          HUBER HEIGHTS          OH 45424‐0646
MESSER, VIRGINIA M                     1813 HILLSTONE DR                                                                     FINDLAY                OH 45840‐7304
MESSER, WENDELL K                      15341 SHERWOOD                                                                        FRASER                 MI 48026‐2306
MESSER, WILLARD E                      PO BOX 985                                                                            MOORESVILLE            IN 46158‐0985
MESSER, WILLIAM J                      5626 GARDEN DR                                                                        INDIANAPOLIS           IN 46217‐3743
MESSER, WILLIE                         407 ELM ST                                                                            LUDLOW                 KY 41016‐1427
MESSER‐SCHLEGEL, AMY D                 19072 POWERS RD                                                                       DEFIANCE               OH 43512‐8050
MESSERI, GERALDINE K                   18800 PURITAS AVE                                                                     CLEVELAND              OH 44135‐1052
MESSERLI & KRAMER PA                   3033 CAMPUS DR STE 250                                                                PLYMOUTH               MN 55441‐2662
MESSERLIAN ALAN (ESTATE OF) (659086)   STE 163W                        1 RICHMOND SQUARE                                     PROVIDENCE              RI 02906‐5172

MESSERLIAN, ALAN                       DEATON LAW FIRM                 1 RICHMOND SQ STE 134C                                PROVIDENCE            RI   02906‐5166
MESSERLIE, ROBERT L                    997 GENEVA DR                                                                         GREENWOOD             IN   46143‐2430
MESSERLY, ERIC R                       5475 BRISTOL PARKE DR                                                                 CLARKSTON             MI   48348‐4801
MESSERLY, MARY B                       5475 BRISTOL PARKE DR                                                                 CLARKSTON             MI   48348‐4801
MESSERLY, MIRIAM B                     401 GRAFF CT                                                                          GRAND BLANC           MI   48439‐1640
MESSERSCHMIDT, NEIL E                  7790 N HONEYSUCKLE LN                                                                 EDGERTON              WI   53534‐9718
MESSERSCHMITT, LOIS J                  9630 KINLOCH                                                                          DETROIT               MI   48239‐2167
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Name                               Address1                          Address2                   Address3   Address4         City               State Zip
MESSERSMITH ELWOOD E (ESTATE OF)   ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                       PHILADELPHIA        PA 19103‐6612
(449999)                           P.C.
MESSERSMITH, AULTON J              6990 ORANGEVILLE KINSMAN RD                                                              KINSMAN            OH   44428‐9531
MESSERSMITH, BARBARA COX           115 N JAMALEE WAY                                                                        PENDLETON          IN   46064‐9149
MESSERSMITH, DEVON M               7483 E STATE ROAD 26                                                                     HARTFORD CITY      IN   47348‐9011
MESSERSMITH, ELWOOD                ANAPOL SCHWARTZ WEISS AND COHAN   1900 DELANCEY PL                                       PHILADELPHIA       PA   19103‐6612
                                   P.C.
MESSERSMITH, GERALDINE P           4004 PHALANX MILLS HERNE ROAD                                                            SOUTHINGTON        OH   44470‐4470
MESSERSMITH, RUSSELL E             19118 NW SNOQUALMIE ST                                                                   BEAVERTON          OR   97006
MESSERSMITH, THOMAS D              1371 PATCHEN AVENUE SOUTHEAST                                                            WARREN             OH   44484‐2802
MESSERSMITH, THOMAS D              1531 PATCHEN AVE SE                                                                      WARREN             OH   44484‐4484
MESSERVY, RICK A                   5275 WOLF CREEK HWY                                                                      ADRIAN             MI   49221‐9536
MESSIAH COLLEGE                    BUSINESS OFFICE                   ONE COLLEGE AVE BOX 3011                               GRANTHAM           PA   17027
MESSICK JOSEPH R (504620)          ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                               WILMINGTON         DE   19801‐1813
MESSICK SPENCE M SR (462831)       OSHEA ROBERT LAW OFFICES OF       1818 MARKET ST STE 3520                                PHILADELPHIA       PA   19103‐3636
MESSICK, BARBARA A                 4083 BAYBROOK DR                                                                         WATERFORD          MI   48329‐3874
MESSICK, DANIEL D                  3394 E PINECREST DR                                                                      GLADWIN            MI   48624‐7105
MESSICK, DANIEL W                  1881 RICHARDSON RD                                                                       WESTMINSTER        MD   21158‐2625
MESSICK, ELIZABETH                 PO BOX 116                                                                               MONTGOMERY CREEK   CA   96065‐0116
MESSICK, GARY D                    2403 S 280 W                                                                             VEEDERSBURG        IN   47987‐8154
MESSICK, JACK D                    PO BOX 874                                                                               GLENVIEW           IL   60025‐0874
MESSICK, JOSEPH R                  ANGELOS PETER G LAW OFFICE        1300 N MARKET ST STE 212                               WILMINGTON         DE   19801‐1813
MESSICK, JULIE L                   1046 W LINWOOD ST                                                                        SPRINGFIELD        MO   65807‐1971
MESSICK, MARK E                    1971 HYDE OAKFIELD RD                                                                    BRISTOLVILLE       OH   44402‐9770
MESSICK, MARTHA                    BARTON & WILLIAMS                 3007 MAGNOLIA ST                                       PASCAGOULA         MS   39567‐4126
MESSICK, ROBERT C                  412 E SILVER ST                                                                          KNIGHTSTOWN        IN   46148‐1059
MESSICK, ROBERT L                  2 ELLEN DR                                                                               BELLMAWR           NJ   08031‐2726
MESSICK, SPENCE M                  OSHEA ROBERT LAW OFFICES OF       1818 MARKET ST STE 3520                                PHILADELPHIA       PA   19103‐3636
MESSICK, THOMAS S                  14 BRIGHT AVE                                                                            PENNSVILLE         NJ   08070‐1727
MESSIER, GERALD O                  207 S. THORNRIDGE LANE                                                                   MT MORRIS          MI   48458‐9132
MESSIER, GERALD O                  207 S THORNRIDGE LN                                                                      MOUNT MORRIS       MI   48458‐9132
MESSIER, GERALDINE C               207 S THORNRIDGE LN                                                                      MOUNT MORRIS       MI   48458‐9132
MESSIER, MARK D                    3288 LAHRING RD                                                                          LINDEN             MI   48451‐9434
MESSIER, MARY                      115 GOLDSMITH AVE APT 153                                                                EAST PROVIDENCE    RI   02914
MESSIH, NADER A                    27072 WINCHESTER CT                                                                      FARMINGTON HILLS   MI   48331‐3685
MESSIMER MD                        501 W OAKLAND AVE STE 3                                                                  JOHNSON CITY       TN   37604‐1667
MESSINA JACK                       54683 MALHEUR DR                                                                         MACOMB             MI   48042‐6130
MESSINA, ANGELINA A                479 FOOT HILLS RD                                                                        HIGGANUM           CT   06441‐4051
MESSINA, ANTHONY                   PO BOX 846                                                                               CLARKSTON          MI   48347‐0846
MESSINA, ANTHONY L                 606 LA JOLLA CIR                                                                         NORTH PORT         FL   34287‐2559
MESSINA, ARTURO A                  3156 ESPLANADE                                                                           CHICO              CA   95973
MESSINA, CATHERINE R               208 KINGSDOWN DRIVE                                                                      LIVERPOOL          NY   13088‐3088
MESSINA, CHARLES                   3856 MONTFORD DR                                                                         CHAMBLEE           GA   30341‐1840
MESSINA, CHRISTOPHER P             1819 OAKHOLLOW DR                                                                        NORMAN             OK   73071‐1253
MESSINA, CINDY L                   PO BOX 434                                                                               ELKTON             MD   21922‐0434
MESSINA, DANIEL B                  159 SUNRISE RIDGE DR                                                                     HENDERSONVILLE     NC   28792‐8190
MESSINA, DONALD L                  16905 E 3RD TER S                                                                        INDEPENDENCE       MO   64056‐1716
MESSINA, EVELYN                    716 NW 43RD CT                                                                           OAKLAND PAK        FL   33309‐4740
MESSINA, FRANCES M                 7965 FALL HARVEST DR                                                                     LAS VEGAS          NV   89147‐3790
MESSINA, FRANK J                   626 PENFIELD RD                   C/O PATRICIA HOPWOOD                                   ROCHESTER          NY   14625‐2049
MESSINA, GERARD A                  2691 S COURSE DR APT 610                                                                 POMPANO BEACH      FL   33069‐3938
MESSINA, GUY                       317 W CHESTNUT AVE                                                                       METUCHEN           NJ   08840‐1348
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Name                       Address1                         Address2                Address3    Address4         City               State Zip
MESSINA, JAMES A           5117 MAMBO VISTA AVE                                                                  LAS VEGAS           NV 89108‐6605
MESSINA, JAMES F           29641 RUSH ST                                                                         GARDEN CITY         MI 48135‐3430
MESSINA, JANLYN M          511 SMOKY PARK HWY STE B1                                                             CANDLER             NC 28715‐8614
MESSINA, JOSEPHINE A       42274 JUNE DR                                                                         STERLING HEIGHTS    MI 48314‐2839
MESSINA, LEWIS             43755 ANTIETAM DRIVE                                                                  CANTON              MI 48188‐1776
MESSINA, LYNDA A           54683 MALHEUR DR                                                                      MACOMB              MI 48042‐6130
MESSINA, MARILYN J         7085 COPPER CREEK CIR                                                                 CANTON              MI 48187‐2498
MESSINA, MARK              14 N WICKOM DR                                                                        WESTFIELD           NJ 07090‐3628
MESSINA, MATHEW            42649 JASON CT                                                                        STERLING HTS        MI 48313‐2632
MESSINA, MICHELLE M        632 E HUDSON AVE                                                                      MADISON HTS         MI 48071‐4076
MESSINA, NATALE            48727 ABERDEEN CT                                                                     SHELBY TWP          MI 48315‐4284
MESSINA, PAUL R            4194 FIELDBROOK RD                                                                    WEST BLOOMFIELD     MI 48323‐3204
MESSINA, PETER G           7965 FALL HARVEST DR                                                                  LAS VEGAS           NV 89147‐3790
MESSINA, ROSE M            614 LOVEVILLE RD APT B5A                                                              HOCKESSIN           DE 19707‐1605
MESSINA, SALVATORE F       340 ALFONSO DR                                                                        ROCHESTER           NY 14626‐2057
MESSINA, SALVATRICE        3590 SHADOW GROVE RD             C/O PETER MESSINA                                    PASADENA            CA 91107‐2110
MESSINA, SALVATRICE        C/O PETER MESSINA                3590 SHAWDOW GROVE RD                                PASADENA            CA 91107‐1107
MESSINA, TERESA            317 W CHESTNUT AVE                                                                    METUCHEN            NJ 08840‐1348
MESSINA, VITO              3694 WARWICK DR                                                                       STERLING HTS        MI 48314‐2802
MESSINA, VITO              42274 JUNE DR                                                                         STERLING HTS        MI 48314‐2839
MESSINEO, FRANCES E        8980 GABRIEL ST                                                                       ROMULUS             MI 48174‐4134
MESSINEO, JAMES M          710 BISHOPS LN                                                                        WEBSTER             NY 14580‐2460
MESSING, CALVIN D          13990 15 MILE RD                                                                      STERLING HEIGHTS    MI 48312‐5500
MESSING, CANDICE M         50440 HEATHERWOOD LN                                                                  SHELBY TWP          MI 48317‐1439
MESSING, DUANE W           17258 COUNTRY CLUB DR                                                                 MACOMB              MI 48042‐1139
MESSING, EARL E            58294 PORCHESTER                                                                      WASHINGTON          MI 48094‐3633
MESSING, JOSEPH H          304 NORTH ST                                                                          HOLLY               MI 48442‐1213
MESSING, MARVIN R          1209 HUMMER LAKE RD                                                                   ORTONVILLE          MI 48462‐9732
MESSING, PAUL W            14529 ELROND DR                                                                       STERLING HEIGHTS    MI 48313‐5622
MESSING, SOPHIE J          3 MERIT DR                                                                            RICHMOND HEIGHTS    OH 44143‐1457
MESSINGER, KAREN M         1014 ORCHARD ST                                                                       PEEKSKILL           NY 10566‐2838
MESSINGER, PRISCILLA G     1900 CLINTON AVE S               C/O LIFESPAN                                         ROCHESTER           NY 14618‐5620
MESSINGER, RONALD C        10360 N FENTON RD                                                                     FENTON              MI 48430‐9604
MESSINGER, RONALD CRAIG    10360 N FENTON RD                                                                     FENTON              MI 48430‐9604
MESSINGER, VIRGIL C        PO BOX 755                                                                            WEST HAMLIN         WV 25571‐0755
MESSINGER, WALTER JUNIOR   10360 NORTH FENTON ROAD                                                               FENTON              MI 48430‐9604
MESSINO, JOSEPH
MESSISCO, DARLENE          3424 MARSHRUN DR                                                                      GROVE CITY         OH   43123‐1878
MESSISCO, JAMES M          3424 MARSHRUN DR                                                                      GROVE CITY         OH   43123‐1878
MESSLER, MARK A            240 GREEN VALLEY RD                                                                   FLINT              MI   48506
MESSLER, MONNIE            32 KIMBERLY LANE                                                                      CLEARFIELD         KY   40313‐9773
MESSLER, RICHARD M         3015 BLUE GRASS LN                                                                    SWARTZ CREEK       MI   48473‐7930
MESSLER, STEPHEN L         6330 STONEHEARTH PASS                                                                 GRAND BLANC        MI   48439‐9141
MESSMAN, MARK R            4925 LIPPINCOTT RD                                                                    LAPEER             MI   48446‐9501
MESSMAN, MARK R.           4925 LIPPINCOTT RD                                                                    LAPEER             MI   48446‐9501
MESSMAN, MICHAEL D         104 RIVER POINT CT                                                                    SIMPSONVILLE       SC   29681‐4756
MESSMAN, TODD E            503 BRUNSWICK GDNS                                                                    HAUGHTON           LA   71037‐8780
MESSMER, BARBARA S         928 MARK RD                                                                           LEESBURG           FL   34748‐9144
MESSMER, CHARLES L         606 WOODMILL DR                                                                       HOLLEY             NY   14470‐9406
MESSMER, CHARLOTTE J       1513 LOST DOUPHIN RD CO J RUYS                                                        DE PERE            WI   54115
MESSMER, DONNA M           W9326 HWY 106                                                                         EDGERTON           WI   53534‐9108
MESSMER, KAREN M           7135 N WACOUSTA RD                                                                    FOWLER             MI   48835‐9739
                                 09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit B
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Name                             Address1                       Address2                Address3     Address4                City              State Zip
MESSMER, KEVIN E                 6125 BLACK ROCK PT                                                                          CUMMING            GA 30041‐4091
MESSMER, RICHARD L               928 MARK RD                                                                                 LEESBURG           FL 34748‐9144
MESSMER, ROBERT N                157 MORGAN RD                                                                               SCOTTSVILLE        NY 14546‐9653
MESSMER, TERRY R                 7135 N WACOUSTA RD                                                                          FOWLER             MI 48835‐9739
MESSMER, WALTER S                284 WHISPERING PINE DR                                                                      MARTINSVILLE       IN 46151‐7158
MESSMORE, BEATRICE               8195 SAWGRASS TRL                                                                           GRAND BLANC        MI 48439‐1874
MESSMORE, CARLA L                RR 1 BOX 149                                                                                SULLIVAN            IL 61951‐9729
MESSMORE, DOROTHY M              4851 TINCHER RD                                                                             INDIANAPOLIS       IN 46221‐3780
MESSMORE, JAMES M                8195 SAWGRASS TRL                                                                           GRAND BLANC        MI 48439‐1874
MESSMORE, TERRY W                16115‐B EAST RD.               2750 NORTH RD.                                               DANVILLE            IL 61834
MESSNER III, MICHAEL             39898 N ENTRY RD                                                                            CHASSELL           MI 49916
MESSNER, ALLEN J                 410 W BUSH ST                                                                               SAGINAW            MI 48604‐1502
MESSNER, DANIEL R                2855 NW 25TH TER                                                                            BOCA RATON         FL 33434‐3671
MESSNER, DIANE D                 6305 SUN DELL CIRCLE                                                                        BLACKSHEAR         GA 31516‐4972
MESSNER, DUANE C                 2957 CARLTON DR. NW                                                                         WARREN             OH 44405‐1221
MESSNER, FRANK J                 4322 JONQUIL DR                                                                             SAGINAW            MI 48603‐1132
MESSNER, GILBERT J               8688 SW 208TH ST                                                                            TRIMBLE            MO 64492‐7845
MESSNER, HENRY                   4266 WOODS EDGE ST                                                                          SAGINAW            MI 48603‐4242
MESSNER, JOSEPH M                16380 NORTHERN PINTAIL DR                                                                   HEMLOCK            MI 48626‐8787
MESSNER, LILLIAN A               406 FREMONT ST                                                                              FLINT              MI 48504‐4506
MESSNER, RICHARD A               72 S HURON DR                                                                               JANESVILLE         WI 53545‐2263
MESSNER, ROBERT B                14 COUNCIL TRL                                                                              WILMINGTON         DE 19810‐2906
MESSNER, ROBERT W                960 REED RD                                                                                 MANSFIELD          OH 44903‐9287
MESSPLAY MACHINERY CO INC        7822 CONSER PL                                                                              SHAWNEE MISSION    KS 66204‐2819
MESSPLAY MACHINERY COMPANY INC   7822 CONSER PL                                                                              OVERLAND PARK      KS 66204‐2819
MESSRS DONALDSON & BURKINSHAW    24 RAFFLES PLACE               15 00 CLIFFORD CENTRE                SINGAPORE 048621
                                                                                                     SINGAPORE
MESSTECHNIK WETZLAR              WALTER‐ZAPP‐STR 4                                                   WETZLAR 35578 GERMANY
MESSURA, JOSEPH R                85 FLOWER DALE DR                                                                           ROCHESTER         NY   14626‐1662
MESTAN, DANIEL W                 5640 S MELVINA AVE                                                                          CHICAGO           IL   60638‐3506
MESTAS, ELEANOR                  3207 ANDRITA ST APT 3                                                                       LOS ANGELES       CA   90065‐2942
MESTEK, ANTHONY E                19083 ABBY AVE                                                                              EUCLID            OH   44119‐1734
MESTER, DAVID J                  4485 GANNON RD                                                                              FOWLERVILLE       MI   48836‐9302
MESTER, PAUL J                   7320 GRAHAM RD                                                                              INDIANAPOLIS      IN   46250‐2636
MESTER, WILLIAM H                70 OAKDALE BLVD                                                                             PLEASANT RDG      MI   48069‐1037
MESTNIK, DONALD E                6771 S GILPIN CIR W                                                                         CENTENNIAL        CO   80122‐1326
MESTON, ROBERT H                 3270 SIGNET DR                                                                              WATERFORD         MI   48329‐4062
MESTRE, RICARDO E                17708 GREYSTONE TERRACE DR                                                                  WILDWOOD          MO   63005‐4225
MESZAROS JR, ANDREW J            3609 S SUMMERLIN AVE                                                                        ORLANDO           FL   32806‐7013
MESZAROS, CHARLES S              98 KOAUKA LOOP 1205                                                                         AIEA              HI   96701
MESZAROS, CHARLES STEVEN         APT 1205                       98‐450 KOAUKA LOOP                                           AIEA              HI   96701‐4528
MESZAROS, COURTNEY               PO BOX 9022                                                                                 WARREN            MI   48090‐9022
MESZAROS, COURTNEY L             PO BOX 9022                                                                                 WARREN            MI   48090‐9022
MESZAROS, EVA M                  11303 ARMSTRONG DR N                                                                        SAGINAW           MI   48609‐9683
MESZAROS, JAMES F                2457 ATLAS RD                                                                               DAVISON           MI   48423‐8316
MESZAROS, JOHN J                 1725 VAN DYKE ST APT 42                                                                     DETROIT           MI   48214
MESZAROS, MARIE                  31209 LYNDON ST                                                                             LIVONIA           MI   48154‐4354
MESZAROS, NITA F                 6731 CLEVELAND RD                                                                           RAVENNA           OH   44266‐4266
MESZAROS, PAUL J                 2657 HAVENWOOD DR                                                                           WHITE LAKE        MI   48383‐3915
MESZAROS, STEVE G                2117 NE 91ST TER                                                                            KANSAS CITY       MO   64155‐3903
MESZAROS, STEVE GLENN            2117 NE 91ST TER                                                                            KANSAS CITY       MO   64155‐3903
MESZAROS, STEVEN D               3854 BARSTOW AVE                                                                            TOLEDO            OH   43623‐3870
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Name                               Address1                             Address2                         Address3             Address4                 City            State Zip
MESZAROS, STEVEN DOUGLAS           3854 BARSTOW AVE                                                                                                    TOLEDO           OH 43623‐3870
MESZES, DOROTHY A                  161 ELMA DR                                                                                                         ELYRIA           OH 44035‐3909
MESZES, DOROTHY A                  161 ELMA DRIVE                                                                                                      ELYRIA           OH 44035‐3909
MESZES, THOMAS V                   161 ELMA DR                                                                                                         ELYRIA           OH 44035‐3909
MET CENTER PARTNERS 3              1135 W 6TH ST STE 120                                                                                               AUSTIN           TX 78703‐5309
MET CENTER PARTNERS C/O ZYDECO     ATTN: HOWARD C. YANCY                1135 W 6TH ST STE 120                                                          AUSTIN           TX 78703‐5309
DEVELOPMENT
MET CENTER PARTNERS C/O ZYDECO     1135 W. SIXTH STREET, STE. 120                                                                                      AUSTIN           TX   78703
DEVELOPMENT
MET CENTER PARTNERS‐3, LTD         402 W 7TH ST                                                                                                        AUSTIN           TX   78701‐2808
MET CENTER PARTNERS‐3, LTD         7401 E BEN WHITE BLVD BLDG 3                                                                                        AUSTIN           TX   78741‐6825
MET CENTER PARTNERS‐3, LTD
MET CENTER PARTNERS‐3, LTD         611 W 15TH ST                                                                                                       AUSTIN           TX   78701‐1513
MET CENTER PARTNERS‐3, LTD         ATTN: MR. TOM FREEMAN                8750 N CENTRAL EXPY STE 650                                                    DALLAS           TX   75231‐6400
MET CENTER PARTNERS‐3, LTD         402 W. SEVENTH STREET                                                                                               AUSTIN           TX   78701
MET CENTER PARTNERS‐3, LTD.        611 W. 15TH STREET                                                                                                  AUSTIN           TX   78701
MET CENTER PARTNERS‐3, LTD.        ATTN: CORPORATE OFFICER/AUTHORIZED   611 W 15TH ST                                                                  AUSTIN           TX   78701‐1513
                                   AGENT
MET INVESTORS SERIES TRUST PIMCO   C/O PIMCO                            SANDY BENSON VICE PRESIDENT      LEGAL & COMPLIANCE   840 NEWPORT CENTER       NEWPORT BEACH   CA 92660
TOTAL RETURN PORTFOLIO                                                                                                        DRIVE
MET LIFE                           100 WALNUT AVE                                                                                                      CLARK           NJ 07066‐1253
MET LIFE                           PO BOX 5140                                                                                                         SOUTHFIELD      MI 48086‐5140
MET LIFE AUTO & HOME
MET ONE INSTRUMENTS INC            1600 NW WASHINGTON BLVD                                                                                             GRANTS PASS     OR 97526‐1052
MET PAK SPECIALTIES INC            2701 S COLISEUM BLVD STE 1172                                                                                       FORT WAYNE      IN 46803‐2900
MET‐CAN SUPPLY CO LIMITED
MET‐COIL SYSTEMS CORPORATION       711 OGDEN AVE                                                                                                       LISLE           IL    60532‐1845
MET‐CYCLE INC                      730 LINCOLN BLVD                                                                                                    MIDDLESEX       NJ    08846‐2146
MET‐PRO CORP                       1550 INDUSTRIAL DR                                                                                                  OWOSSO          MI    48867‐9775
MET‐PRO INC                        780 PROMONTORY DR                                                                                                   MILFORD         MI    48381‐1655
META ARNOLD                        1601 W GILFORD RD APT 103                                                                                           CARO            MI    48723‐1024
META BANK                          4900 S WESTERN AVE                                                                                                  SIOUX FALLS     SD    57108‐2607
META BURN                          23 FAIR ST                           C/O SUBACUTE CENTER OF BRISTOL                                                 BRISTOL         CT    06010‐5531

META CODY                          1514 PARK AVE                                                                                                       BAY CITY        MI 48708‐5533
META EARLY                         26177 S RIVER PARK DR                                                                                               INKSTER         MI 48141‐1973
META GMBH                          KAISERSTRASSE 100                                                                          HERZOGENRATH D‐52134
                                                                                                                              GERMANY
META MALLETT‐KERN                  1485 GRANDVIEW DR                                                                                                   ROCHESTER HLS   MI 48306‐4038
META MOTOREN‐UND ENERGIE‐TECHN     KAISERSTR 100                                                                              HERZOGENRATH NW 52134
                                                                                                                              GERMANY
META MOTOREN‐UND ENERGIE‐TECHNIK

META NICK                          2228 W KING ST                                                                                                      KOKOMO          IN    46901‐5025
META POLEWKA                       34396 MCBRIDE ST                                                                                                    ROMULUS         MI    48174‐3455
META SINKUS                        PO BOX 129                                                                                                          FRASER          MI    48026‐0129
META UMIPEG                        733 MAZE BLVD APT 5                                                                                                 MODESTO         CA    95351
META, JOHN                         831 REMINGTON AVE                                                                                                   FLINT           MI    48507‐1632
META, TIMOTHY S                    10108 MUIRFIELD TRCE                                                                                                FISHERS         IN    46037
METAALGIETERIJ GIESEN              LAGE WEG 390                                                                               ANTWERP B 2660 BELGIUM
METACOMP TECHNOLOGIES INC          28632 ROADSIDE DR STE 255                                                                                           AGOURA HILLS    CA 91301‐6071
METAFORE DIRECT INC
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Name                               Address1                             Address2                       Address3                 Address4                  City               State Zip
METAGAL IND COM LTDA               ROD BR459 KM 121 NO 333              SANTA RITA DO SAPUCAI MG                                37540‐000 BRAZIL BRAZIL
METAGAL INDUSTRIA E COMERCIO LTD   MARCELO SILVA 55                     AV ROBERTO GORDON 222/333 VILA                          APODACA NL 66634
                                                                                                                                MEXICO
METAJ, FATMIRA                     6601 BINGHAM                                                                                                           DEARBORN            MI 48126‐1866
METAJ, FATMIRA                     6601 BINGHAM ST                                                                                                        DEARBORN            MI 48126‐1866
METAL & WELDING INDUSTRIES INC     20101 HOOVER ST                                                                                                        DETROIT             MI 48205‐1031
METAL BULLETIN PLC                 PO BOX 18083                         LONDON EC4V 5JS                                         UNITED KINGDOM GREAT
                                                                                                                                BRITAIN
METAL CASTING TECHNOLOGY INC        127 OLD WILTON RD                                                                                                     MILFORD            NH    03055‐3120
METAL CASTING TECHNOLOGY INC        117 OLD WILTON RD                                                                                                     MILFORD            NH    03055‐3120
METAL CASTING TECHNOLOGY INC        ATTN: GENERAL COUNSEL               117 OLD WILTON RD                                                                 MILFORD            NH    03055‐3120
METAL CASTING TECHNOLOGY INC        ATTN: PRESIDENT                     127 OLD WILTON RD                                                                 MILFORD            NH    03055‐3120
METAL CASTING TECHNOLOGY INC        THE CORPORATION TRUST CENTER        1207 ORANGE ST.                                                                   WILMINGTON         DE    19801
METAL CASTING TECHNOLOGY, INC.      ATTN: PRESIDENT                     127 OLD WILTON RD                                                                 MILFORD            NH    03055‐3120
METAL CASTING TECHNOLOGY, INC.      THE CORPORATION TRUST CENTER        1207 ORANGE ST.                                                                   WILMINGTON         DE    19801
METAL CLADDING INC                  230 S NIAGARA ST                                                                                                      LOCKPORT           NY    14094‐1927
METAL COAT/CHARDON                  275 INDUSTRIAL PKWY                                                                                                   CHARDON            OH    44024‐1052
METAL CRAFT/STRL HTS                42840 MERRILL RD                                                                                                      STERLING HEIGHTS   MI    48314‐3246
METAL CUTTING TOOLS CORP            DBA METCUT/GREENFIELD IND           21 AIRPORT DR                                                                     ROCKFORD           IL    61109‐2901
METAL DECOR                         DIV ASSOCIATES ENGRAVING CO         2731 N DIRKSEN PKWY            PO BOX 19452                                       SPRINGFIELD        IL    62702‐1407
METAL DYNAMICS DETROIT LLC          3100 LONYO ST                                                                                                         DETROIT            MI    48209‐1089
METAL ENCLOSURES                    SHIRLEY KLINE                       85 NANTUCKET BLVD                                                                 HOPE HULL          AL    36043
METAL ENCLOSURES LTD                SHIRLEY KLINE                       85 NANTUCKET BLVD                                                                 HOPE HULL          AL    36043
METAL ETCHING TECHNOLOGY ASSOC      MT HOLLY INDUSTRIAL COMMONS         POB 660                                                                           HAINESPORT         NJ    08036
METAL ETCHING TECHNOLOGY ASSOCIATES MT HOLLY INDUSTRIAL COMMONS         POB 660                                                                           HAINESPORT         NJ    08036

METAL EXCHANGE CORP                111 WESTPORT PLZ STE 704                                                                                               SAINT LOUIS        MO 63146‐3016
METAL FABRICATING DIVISION         ATTN: GENERAL COUNSEL                3852 BUCHANAN AVE SW                                                              GRAND RAPIDS       MI 49548‐3111
METAL FABRICATING DIVISION
METAL FABRICATING DIVISION         340 S WHITE RIVER PKWY WEST DR                                                                                         INDIANAPOLIS        IN   46222‐4514
METAL FABRICATING DIVISION         BILL GEBHART                         MC 483‐622‐206                                                                    TROY                MI
METAL FABRICATING PLANT            10800 S SAGINAW ST                                                                                                     GRAND BLANC         MI   48439‐8120
METAL FLOW CORP                    11694 JAMES ST                                                                                                         HOLLAND             MI   49424‐8963
METAL FLOW CORPORATION             11694 JAMES ST                                                                                                         HOLLAND             MI   49424‐8963
METAL FORGE                        KRIS KLINE X204                      PO BOX 1608                    DIV. OF GENERAL SIGNAL                             ALBEMARLE           NC   28002‐1608
                                                                                                       CORP
METAL FORGE                        KRIS KLINE X204                      DIV. OF GENERAL SIGNAL CORP    1600 WOODHURST LANE/PO                             WATERFORD           MI
                                                                                                       BX 1608
METAL FORGE CO                     PO BOX 277887                        6000 FELDWOOD RD 3RD FL                                                           COLLEGE PARK        GA 30349
METAL FORGE CO EFT                 ATTN: CORPORATE OFFICER/AUTHORIZED   2215 PAYSPHERE CIR                                                                CHICAGO             IL 60674‐0022
                                   AGENT
METAL FORGE/SOUTHFLD               23999 NORTHWESTERN HIGHWAY                                                                                             SOUTHFIELD         MI 48075
METAL FORMING & COINING CORP       1007 ILLINOIS AVE                                                                                                      MAUMEE             OH 43537‐1752
METAL FORMING & COINING            1007 ILLINOIS AVE                                                                                                      MAUMEE             OH 43537‐1752
CORPORATION
METAL IMPROV/BELLVIL               41200 COCA COLA DR                                                                                                     BELLEVILLE         MI    48111‐1640
METAL IMPROV/BLU ASH               11131 LUSCHEK DR                                                                                                       BLUE ASH           OH    45241‐2434
METAL IMPROV/PARAMUS               10 FOREST AVE.                                                                                                         PARAMUS            NJ    07652
METAL IMPROVEMENT CO               30100 CYPRESS RD                                                                                                       ROMULUS            MI    48174‐3591
METAL IMPROVEMENT CO               105 ALFRED KUEHNE BLVD                                                                       BRAMPTON CANADA ON
                                                                                                                                L6T 4K3 CANADA
METAL IMPROVEMENT CO INC           30100 CYPRESS RD                                                                                                       ROMULUS             MI 48174‐3591
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METAL IMPROVEMENT CO INC             105 ALFRED KUEHNE BLVD                                                                  BRAMPTON ON L6T 4K3
                                                                                                                             CANADA
METAL MANAGEMENT NASHVILLE LLC       DBA SOUTHERN RECYCLING               620 CLAY ST                                                                  BOWLING GREEN       KY    42101‐1844
METAL MANAGEMENT OHIO INC            135 S LA SALLE ST DEPT 2169                                                                                       CHICAGO             IL    60674‐2169
METAL MANAGEMENT OHIO INC            235 S LASALLE ST DEPT 2169                                                                                        CHICAGO             IL    60674‐0001
METAL MANAGEMENT OHIO INC            2535 HILL AVE                                                                                                     TOLEDO              OH    43607‐3612
METAL MANAGEMENT OHIO INC            27063 STATE ROUTE 281                                                                                             DEFIANCE            OH    43512‐8963
METAL MANAGEMENT OHIO INC            4431 W 130TH ST                                                                                                   CLEVELAND           OH    44135‐3011
METAL MARKER MANUFACTURING CO        6225 LEAR NAGLE RD                                                                                                NORTH RIDGEVILLE    OH    44039‐3223
METAL MARKER MFG CO                  6225 LEAR NAGLE RD                                                                                                NORTH RIDGEVILLE    OH    44039‐3223
METAL MARKER/N RIDGE                 6225 LEAR NAGLE RD                                                                                                NORTH RIDGEVILLE    OH    44039‐3223
METAL MART USA INC                   31164 DEQUINDRE RD                                                                                                WARREN              MI    48092‐3722
METAL MASTERS                        45 S PARK                                                                                                         GLEN ELLYN          IL    60137
METAL MATIN/BRK                      5281 W 161ST ST                                                                                                   BROOK PARK          OH    44142‐1606
METAL MATION INC                     2391 W 38TH ST                                                                                                    CLEVELAND           OH    44113‐3838
METAL MATION/GRFLD H                 2391 W 38TH ST                                                                                                    CLEVELAND           OH    44113‐3838
METAL PLASMA/INDNPLS                 7950 GEORGETOWN RD STE 300                                                                                        INDIANAPOLIS        IN    46268‐1682
METAL POWDER IND FEDERATION          105 COLLEGE RD E                                                                                                  PRINCETON           NJ    08540
METAL POWDER PRODUCTS                PO BOX 520                                                                                                        SAINT MARYS         PA    15857‐0520
METAL POWDER PRODUCTS                STEVE PATRICK                        WASHINGTON STREET DIVISION   879 WASHINGTON ROAD                             MISHAWAKA           IN    46545
METAL POWDER PRODUCTS CO             PO BOX 520                                                                                                        SAINT MARYS         PA    15857‐0520
METAL POWDER PRODUCTS CO             CHERYL A. RETTGER                    150 FORD RD./PO BOX 520                                                      COLUMBUS            IN    47201
METAL POWDER PRODUCTS CO             CHERYL A. RETTGER                    PO BOX 520                   150 FORD RD /                                   SAINT MARYS         PA    15857‐0520
METAL POWDER PRODUCTS CO             STEVE PATRICK                        WASHINGTON STREET DIVISION   879 WASHINGTON ROAD                             MISHAWAKA           IN    46545
METAL POWDER PRODUCTS CO             879 WASHINGTON ST                                                                                                 SAINT MARYS         PA    15857‐3644
METAL POWDER PRODUCTS CO             17005 A WESTFIELD PARK RD                                                                                         WESTFIELD           IN    46074
METAL POWDER PRODUCTS MEXICO S R L   ACCESO II MANZANA 3 NO 38 CD         INDUSTRIAL BENITO JUAREZ                           QRO CP 76130 MEXICO
CV                                                                                                                           MEXICO
METAL PROCESSORS INC                 1010 W JOHN BEERS RD                                                                                              STEVENSVILLE         MI 49127
METAL PROCESSORS INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   1010 W JOHN BEERS RD                                                         STEVENSVILLE         MI 49127‐9407
                                     AGENT
METAL RECOVERY TECHNOLOGIES
METAL SEAL & PRODUCTS INC            CUSTOMER SERVICE                     4323 HAMANN PKWY                                   ST. THOMAS ON CANADA
METAL SEAL & PRODUCTS INC            4323 HAMANN PKWY                                                                                                  WILLOUGHBY          OH 44094‐5625
METAL SEAL AND PRODUCTS, INC         CUSTOMER SERVICE                     4323 HAMANN PKWY                                   ST. THOMAS ON CANADA
METAL SPEC/26269 GRO                 26269 GROESBECK HWY                                                                                               WARREN               MI 48089‐4150
METAL SYSTEMS OF CANADA              ULC                                  245 VICTORIA STREET W                              DUNDALK CANADA ON N0C
                                                                                                                             1B0 CANADA
METAL SYSTEMS OF CANADA ULC          DAWN DAGGETT                         280 VICTORIA ST W                                  DARTMOUTH NS CANADA
METAL SYSTEMS OF CANADA ULC          280 VICTORIA ST                                                                         DUNDALK ON N0C 1B0
                                                                                                                             CANADA
METAL TECH SYSTEMS INC               3077 OLD FARM LN                                                                                                  COMMERCE TOWNSHIP    MI   48390‐1639
METAL TECHNOLOGIES INC               1401 S GRANDSTAFF DR                                                                                              AUBURN               IN   46706‐2664
METAL TECHNOLOGIES INC               1706 S 68TH ST                                                                                                    WEST ALLIS           WI   53214‐4969
METAL TECHNOLOGIES WEST ALLIS DUCT   1706 S 68TH ST                                                                                                    WEST ALLIS           WI   53214‐4969

METAL TEX/EDISON                     970 NEW DURHAM RD                                                                                                 EDISON               NJ 08817‐2214
METAL TEXTILES CORP                  970 NEW DURHAM RD                                                                                                 EDISON               NJ 08817‐2214
METAL, BARBARA A                     100 CAMBARA HILL DR                                                                                               TARENTUM             PA 15084
METALAC SA INDUSTRIA E COMERCIO      AV ITAVUVU 4690 VL GOMES                                                                SOROCABA BR 18070
                                                                                                                             BRAZIL
METALBAGES AS                        POL IND SANTA ANNA S/N                                                                  BARCELONA E‐08251 SPAIN
                                    09-50026-mg                 Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                           Exhibit B
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Name                                Address1                             Address2                      Address3                Address4                  City             State Zip
METALBAGES SA                       POLIGONO INDUSTRIAL SANTA ANA S/N    CAMINO LES ARENES                                     SANTPEDOR BARCELONA
                                                                                                                               BR 08251 SPAIN
METALCRAFT INC                      149 FOURTH ST. SW                                                                                                    MASON CITY       IA    50402
METALCRAFT/MASON CIT                149 4TH ST SW                                                                                                        MASON CITY       IA    50401‐3845
METALCRETE INDUSTRIES               10330 BRECKSVILLE RD                                                                                                 CLEVELAND        OH    44141‐3338
METALDYNE                           METALDYNE MACHINERY & ASSEMBLY       PO BOX 67000                                                                    DETROIT          MI    48267‐0120
METALDYNE                           METALDYNE DUPAGE DIE CASTING         6119 W HOWARD ST                                                                NILES            IL    60714‐3401
METALDYNE                           METALDYNE LESTER PRECISION DIE                                     29125 HALL ST RMT CH                              SOLON            OH    44139
                                                                                                       1/28/05CS
METALDYNE                           METALDYNE DUPAGE DIE CASTING         PO BOX 67000                                                                    DETROIT          MI    48267‐0002
METALDYNE                           2727 W 14 MILE RD                                                                                                    ROYAL OAK        MI    48073‐1712
METALDYNE                           METALDYNE SINTERED COMPONENTS        PO BOX 67000                                                                    DETROIT          MI    48267‐0002
METALDYNE                           WINDFALL PRODUCTS INC                PO BOX 170                    WEST CREEK ROAD                                   SAINT MARYS      PA    15857
METALDYNE                           METALDYNE PUNCHCRAFT                 30500 RYAN RD                 PO BOX 1308                                       WARREN           MI    48092‐1902
METALDYNE                           WINDFALL PRODUCTS INC                3100 N STATE HIGHWAY 3                                                          NORTH VERNON     IN    47265‐7289
METALDYNE                           METALDYNE MACHINING & ASSEMBLY       6491 FRANZ WARNER PARKWAY                                                       WHITSETT         NC    27377‐9214
METALDYNE                           47603 HALYARD DR                                                                                                     PLYMOUTH         MI    48170‐2429
METALDYNE                           METALDYNE MACHINING & ASSEMBLY       47603 HALYARD DR                                                                PLYMOUTH         MI    48170‐2429
METALDYNE                           METALDYNE TUBULAR PRODUCTS           7444 N HAGGERTY RD                                                              CANTON           MI    48187‐2437
METALDYNE                           LINDA THEISEN                        47603 HALYARD DR                                                                PLYMOUTH         MI    48170‐2429
METALDYNE                           8001 BAVARIA RD                                                                                                      TWINSBURG        OH    44087‐2261
METALDYNE COMPANY LLC               23308 NETWORK PL                                                                                                     CHICAGO          IL    60673‐1233
METALDYNE COMPONENTES               RUA QUATRO LOTE 01 QUADRA B S/N      INDUSTRIAL NOVA ERA                                   INDAIATUBA SP 13333‐000
AUTOMOTIVOS                                                                                                                    BRAZIL
METALDYNE CORP                      BILL JOHANSEN                        288 HOLBROOK DRIVE                                                              FORT WAYNE        IN   46803
METALDYNE CORP                      DAVID MCKEE                          47603 HALYARD DR                                                                PLYMOUTH          MI   48170‐2429
METALDYNE CORP                      6119 W HOWARD ST                                                                                                     NILES             IL   60714‐3401
METALDYNE CORP                      39 STATE ST                                                                                                          MIDDLEVILLE       MI   49333‐9267
METALDYNE CORP                      917 ANDERSON RD                                                                                                      LITCHFIELD        MI   49252‐9776
METALDYNE CORP                      131 W HARVEST RD                                                                                                     BLUFFTON          IN   46714‐9007
METALDYNE CORP                      JEFFREY MORAN                        23589 CIVIC INDUSTRIAL ROAD   HWY 21 NORTH            MISSISSAUGA ON CANADA
METALDYNE CORP                      ANDY SHUBNELL                        BLUFFTON OPERATIONS           131 W. HARVEST ROAD                               MOHALI, PUNJAN    IN
METALDYNE CORP                      30500 RYAN RD                                                                                                        WARREN            MI 48092‐1902
METALDYNE CORP                      23589 CIVIC INDUSTRIAL RD                                                                  THAMESVILLE ON N0P 2K0
                                                                                                                               CANADA
METALDYNE CORP                      47603 HALYARD DR                                                                                                     PLYMOUTH         MI 48170‐2429
METALDYNE CORP                      8001 BAVARIA RD                                                                                                      TWINSBURG        OH 44087‐2261
METALDYNE CORP.                     ANDY SHUBNELL                        METALDYNE FORMING              24701 HALLWOOD COURT   LEAMINGTON ON CANADA
                                                                         TECHNOLOGIES
METALDYNE CORPORATION               SCOTT JORGENS                        BLVD.IND, DE LA TRANSFORMACION 3120 PARQUE INDSTRL                              SHREVEPORT        LA   71130
                                                                                                        SALTILLO
METALDYNE CORPORATION               DINO COSTA                           EDON OPERATIONS DIV.           507 W. INDIANA ST.     RAMOS ARIZPE CP 25903
                                                                                                                               MEXICO
METALDYNE CORPORATION               DINO COSTA                           307 S TILLOTSON ST            FREMONT OPERATION                                 FREMONT           IN   46737‐2157
METALDYNE CORPORATION               DINO COSTA                           FREMONT OPERATION             307 SOUTH TILLOTSON                               SAGINAW           MI   48601
METALDYNE CORPORATION               47603 HALYARD DR                                                                                                     PLYMOUTH          MI   48170‐2429
METALDYNE CORPORATION               6491 FRANZ WARNER PKWY                                                                                               WHITSETT          NC   27377‐9214
METALDYNE EFT METALDYNE MACHINING   ATTN: CORPORATE OFFICER/AUTHORIZED   47603 HALYARD DR                                                                PLYMOUTH          MI   48170‐2429
& ASSEMBLY                          AGENT
METALDYNE HYDRAULIC DUPAGE          MM&A CO INC ‐ SIMPSON IND INC        WEST CREEK RD                                                                   ST MARYS          PA 15857
METALDYNE INTERNATIONAL FRANCE      33/35 RUE ROGER SALENGRO             BP 227                                                VENISSIEUX F‐69633
                                                                                                                               FRANCE
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Name                                Address1                          Address2                         Address3                    Address4                  City           State Zip
METALDYNE INTERNATIONAL FRANCE      VINCENT GOURARD                   33 RUE ROGER SALENGRO                                                                  CLARKSDALE      MS 38614
METALDYNE INTERNATIONAL FRANCE      33 RUE ROGER SALENGRO                                                                          VENISSIEUX 69200 FRANCE
METALDYNE MACHINING & ASSEMBLY      FRMLY SIMPSON INDUSTRIES          47603 HALYARD DR                                                                       PLYMOUTH       MI 48170
CANADA
METALDYNE MACHINING & ASSEMBLYCO    47603 HALYARD DR                                                                                                         PLYMOUTH       MI 48170‐2429
INC ‐ MIDDLEVILLE
METALDYNE MEXICO SA DE CV           CALZ ERMITA IZTAPALAPA 1478       CALZ ERMITA IZTAPALAPA 1478      COL BARRIO SAN MIGUEL       MEXICO
METALDYNE MEXICO SA DE CV           ANDY SHUBNELL                     ERMITA IZTAPALAPA 1478           COL. BARRIO SAN MIGUEL CP   JUAREZ CI 32649 MEXICO

METALDYNE OSLAVANY SPOL             SRO                               PADOCHOVSKA 1/1117 664 12                                    OSLAVANY CZECH REPUBLIC

METALDYNE PRECISION FORMING         PO BOX 67000                                                                                                             DETROIT        MI    48267‐2385
METALDYNE PRECISION FORMING         MTSPC INC MT BROWN                PO BOX 67000 DEPT 238501                                                               DETROIT        MI    48267‐2385
METALDYNE SINTERED COMPONENTS       SEAN PERRERA                      197 WEST CREEK ROAD                                                                    LAWRENCEBURG   TN    38464
METALDYNE SINTERED COMPONENTS INC   197 W CREEK RD                                                                                                           SAINT MARYS    PA    15857‐3339

METALDYNE SINTERED COMPONENTS INC   1149 ROCKY RD                                                                                                            RIDGWAY        PA 15853‐6427

METALDYNE SINTERED COMPONENTS INC   3100 N STATE HIGHWAY 3                                                                                                   NORTH VERNON    IN   47265‐7289

METALDYNE SINTERED COMPONENTS       DE LA TRANSFORMACION NO 3120      25900 RAMOS ARIZPE COAHUILA                                  MEXICO NEED MORE INF
MEXICO BLVD INDUSTRIAS                                                                                                             MEXICO
METALDYNE SUZHOU AUTOMOTIVE CO      SISSI SHI                         SUZHOU INDUSTRIAL PARK           178 QINGQIU ST                                        LAREDO         TX    78045
METALDYNE SUZHOU AUTOMOTIVE         SISSI SHI                         SUZHOU INDUSTRIAL PARK           178 QINGQIU ST                                        LAREDO         TX    78045
COMPONE
METALDYNE TUBULAR PRODUCTS INC      7495 E M‐26                                                                                                              HAMBURG        MI 48139
METALDYNE/ MEXICO                   BLVD INDUSTRIAL DE LA TRANSFORM   #3120 (PARQUE IND SALTILLO)                                  RAMOS ARIZPE CZ
                                                                                                                                   CP259008 MEXICO
METALDYNE/ PLYMOUTH                 47603 HALYARD DR                                                                                                         PLYMOUTH       MI 48170‐2429
METALDYNE/FRANCE                    33‐35 RUE ROGER SALENGRO                                                                       VENISSIEUX FR 69200
                                                                                                                                   FRANCE
METALDYNE/FRMNGN HL                 2727 W 14 MILE RD                                                                                                        ROYAL OAK      MI    48073‐1712
METALDYNE/NILES                     47603 HALYARD DR                                                                                                         PLYMOUTH       MI    48170‐2429
METALDYNE/NILES                     3201 UNIVERSITY DR STE 400                                                                                               AUBURN HILLS   MI    48326‐4605
METALDYNE/NILES                     6119 W HOWARD ST                                                                                                         NILES          IL    60714‐3401
METALDYNE/ONTARIO                   23589 CIVIC INDUSTRIAL RD                                                                      THAMESVILLE ON N0P 2K0
                                                                                                                                   CANADA
METALDYNEM CORP.                    LARRY WEISS                       LITCHFIELD OPERATIONS            917 ANDERSON RD.                                      TRACY          CA    95376
METALDYNEM CORP.                    LARRY WEISS                       917 ANDERSON RD                  LITCHFIELD OPERATIONS                                 LITCHFIELD     MI    49252‐9776
METALFORCE TECHNOLOGIES LLC         7757 AUBURN RD STE 4                                                                                                     PAINESVILLE    OH    44077‐9604
METALFORM I INC                     11500 PLUM ORCHARD RD                                                                                                    MUNITH         MI    49259‐9731
METALFORMING TECHNOLOGIES INC       3271 FIVE POINTS DR STE 102                                                                                              AUBURN HILLS   MI    48326‐2380
METALFORMING TECHNOLOGIES INC       905 WOODLAND DR                                                                                                          SALINE         MI    48176‐1625
METALGAL INDUSTRIA E COMERCIO       MARCELO SILVA 55                  AV ROBERTO GORDON 222/333 VILA                               APODACA NL 66634
                                                                                                                                   MEXICO
METALIST IND/CHICAGO                5700 CROOKS RD STE 405                                                                                                   TROY           MI    48098‐2825
METALIST INTERNATIONAL INC          1159 S PENNSYLVANIA AVE                                                                                                  LANSING        MI    48912‐1657
METALKRAFT INDUSTRIES INC           MARK MATHEWS                      PO BOX 606                                                                             NORCROSS       GA    30091‐0606
METALKRAFT INDUSTRIES, INC.         MARK MATHEWS                      PO BOX 606                                                                             NORCROSS       GA    30091‐0606
METALLIDES MARY                     3950 W BRYN MAWR AVE              APT 504                                                                                CHICAGO        IL    60659‐3149
METALLIX, INC.                      251 INDUSTRIAL BLVD                                                                                                      GREENVILLE     NC    27834‐9004
METALLOY CORP                       GARY BARRIS                       103 W MAIN ST                                                                          HAGERSTOWN     MD    21740
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Name                                Address1                            Address2                        Address3                   Address4                  City              State Zip
METALLURG ALUMINIUM                 12 WEST BOULEVARD                                                                                                        NEWFIELD           NJ 08344
METALLURGICAL & MATERIALS TECH
METALLURGICAL CONSULTANTS INC       737 HAMPTON RIDGE DR                                                                                                     AKRON             OH 44313‐5082
METALLURGICAL TECHNOLOGIES INC      160 BEVAN DR                                                                                                             MOORESVILLE       NC 28115‐7153
METALLURGICAL TECHNOLOGIES INC PA   160 BEVAN DR                                                                                                             MOORESVILLE       NC 28115‐7153

METALLURGICAL TECHNOLOGIES INCPA    160 BEVAN DR                                                                                                             MOORESVILLE       NC 28115‐7153

METALLURGICAL/LOUSVL                4102 BISHOP LN                                                                                                           LOUISVILLE        KY   40218‐4504
METALLWARENFABRIK HERMANN           ABMESSUNGSBEREICHE M3‐68                                                                       SPANLOSE VERFORMUNG
                                                                                                                                   M4‐M52 GERMANY
METALLWARENFABRIK HERMANN WINKER DELLINGER WEG 1                                                                                   SPAICHINGEN BW 78549
                                                                                                                                   GERMANY
METALLWERK BIEBIGHAEUSER GMBH       BORSIGSTRASSE 14                                                                               LEVERKUSEN COLOGNE
                                                                                                                                   51381 GERMANY
METALMARK CAPITAL LLC               123 N CHIPMAN ST                                                                                                         OWOSSO            MI   48867‐2028
METALMARK CAPITAL LLC               1323 N MAIN ST                                                                                                           MOUNT PLEASANT    TN   38474‐1080
METALMARK CAPITAL LLC               1836 LIKENS RD                                                                                                           MARION            OH   43302‐8652
METALMARK CAPITAL LLC               DON LAMAY X137                      123 N CHIPMAN ST                                                                     OWOSSO            MI   48867‐2028
METALMARK CAPITAL LLC               DON LAMAY X137                      123 NORTH CHIPMAN STREET                                                             MONTPELIER        OH   43543
METALMARK CAPITAL LLC               DON LAMAY X137                      1323 N MAIN ST                                                                       MT PLEASANT       TN   38474‐1080
METALMARK CAPITAL LLC               DON LAMAY X137                      1323 NORTH MAIN STREET                                                               CROSSVILLE        TN   38555
METALMARK CAPITAL LLC               DON LAMAYX137                       1836 LIKENS RD                                                                       MARION            OH   43302‐8652
METALMARK CAPITAL LLC               JERRIE CARLSON X216                 3466 ENTERPRISE AVE.                                                                 TINLEY PARK       IL   60477
METALMARK CAPITAL LLC               NEPTUNO 1917 COL SATELITE                                                                      CIUDAD JUAREZ CZ 32540
                                                                                                                                   MEXICO
METALMARK CAPITAL LLC               1177 AVENUE OF THE AMERICAS FL 40                                                                                        NEW YORK          NY 10036‐2714
METALMECCANICA TIBERINA SRL         ZONA INDUSTRIALE MADONNA DEL MORO                                                              UMBERTIDE 6019 ITALY

METALON INDUSTRIES INC              312 MELVIN ST                       PO BOX 235                                                                           CROSWELL          MI   48422‐1026
METALS ALLOY/LOUDON                 161 CHUNILOTI WAY                                                                                                        LOUDON            TN   37774‐2604
METALS ALLOYS & REFACTORIES         161 CHUNILOTI WAY                                                                                                        LOUDON            TN   37774‐2604
METALS INC                          185 OAK LEAF OVAL                                                                                                        OAKWOOD VILLAGE   OH   44146‐6156
METALS PLUS LTD                     1610 MCEWEN DR UNIT 1‐3                                                                        WHITBY ON L1N 8V6
                                                                                                                                   CANADA
METALS, ROBERT H                    704 SAINT CROIX CT                                                                                                       MYRTLE BEACH      SC   29572‐4175
METALSA S DE CV RL                  AV INDUSTRIAS ESQ EJE 128           ZONA INDS DEL POTOSI SAN                                   LUIS POTOSI MEXICO
                                                                                                                                   MEXICO
METALSA S DE RL                     CARRETERA MIGUEL ALEMAN KM          16 5 #100 CP 66600 APODACA NL                              APODACA NL 66600
                                                                                                                                   MEXICO
METALSA S DE RL
METALSA S. DE R.L.                  CIRO VALDES                         AV INDUSTRIAS #4410 MANZANA     3 ZONE INDUSTRIAL 2A SEC   REGINA MARGHERITA ITALY
METALSA SA DE CV                    DAVID GOMEZ                         CARRETERA MIGUEL ALEMAN                                    CLAYTON, VICTORIA
                                                                        KM16.5                                                     AUSTRALIA
METALSA SA DE CV                    CARRETERA MIGUEL ALEMAN KM 16.5     #100                                                       APODACA NL 66600
                                                                                                                                   MEXICO
METALSA SA DE CV                    CARRETERA MIGUEL ALEMAN KM 16.5                                                                APODACA, NL 66600
                                                                                                                                   MEXICO
METALSA/MEXICO                      39555 ORCHARD HILL PL STE 600                                                                                            NOVI              MI   48375‐5381
METALSCO INC                        C\O S FREY HELFREY SIMON            212 S CENTRAL AVE STE 300                                                            SAINT LOUIS       MO   63105‐3500
METALSTAMP INC                      24219 S NORTHERN ILLINOIS DR                                                                                             CHANNAHON         IL   60410‐5114
METALSTAMP INC                      JACK GOCKMAN                        24219 NORTHERN ILLINOIS DR.                                                          CHICAGO           IL   60618
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Name                                Address1                           Address2                       Address3        Address4                City               State Zip
METALSTAMP INC.                     JACK GOCKMAN                       24219 NORTHERN ILLINOIS DR.                                            CHICAGO              IL 60618
METALTEC STEEL ABRASIVE CO          41155 JOY RD                                                                                              CANTON              MI 48187‐2094
METALTEC/CANTON                     41155 JOY RD                                                                                              CANTON              MI 48187‐2094
METALURGICA GERDAU SA               209 W MT HOPE RD                                                                                          LANSING             MI 48910
METALURGICA QUASAR LTDA             R DOS COQUEIROS 542 CAMPES                                                        SANTO ANDRE SP 09050‐
                                                                                                                      000 BRAZIL
METALWORKING LUBRICANTS COMPANY     25 W SILVERDOME INDUSTRIAL PARK                                                                           PONTIAC            MI 48342‐2994

METAMEG INC                         770 WRIGHT STREET                                                                 STRATHORY CANADA ON
                                                                                                                      N7G 3H8 CANADA
METAMORA LANDFILL SETTLING PRP      C/O NED WITTE, GONZALEZ SAGGIO &   225 EAST MICHIGAN STREET,                                              MILWAUKEE          WI 53202
GROUP                               HARLAN LLP                         FOURTH FLOOR
METAMORA LANDFILL SITE TR FD        C\O JAMES CAMPBELL                 1500 ARDMORE BLVD STE 502                                              PITTSBURGH         PA 15221‐4468
METAMORA LANDFILL SITE TR FND       D SCHWARTZ\LEBOEUF LAMB GREENE     225 ASYLUM ST                                                          HARTFORD           CT 06103‐1521
METAMORA LANDFILL SITE TRUST FUND   C/O R MANSIAN STE 135              33 BLOOMFIELD HILLS PKWY                                               BLOOMFIELD HILLS   MI 48304

METAMORA LANDFILL SUPERFUND PRP     C/O NED WITTE, GONAZLEZ SAGGIO &   225 EAST MICHIGAN STREET       FOURTH FLOOR                            MILWAUKEE          WI 53202
GROUP                               HARLAN
METAMORA PRODUCTS CORP              4057 S OAK ST                                                                                             METAMORA           MI   48455‐9252
METAR, JULIA                        16050 CAMBELL DR                                                                                          MACOMB             MI   48044‐2516
METAS, WADE O                       1715 S LAPEER RD                                                                                          LAPEER             MI   48446‐9313
METASTORM INC                       500 E PRATT ST STE 1250                                                                                   BALTIMORE          MD   21202‐3179
METAULLICS SYSTEMS                  DIVISION OF PYROTEK INC            FRMLY METAULLICS SYSTEMS CO LP PO BOX 901305                           CLEVELAND          OH   44190‐1305

METAULLICS SYSTEMS CO L P           31935 AURORA RD                                                                                           SOLON              OH   44139‐2717
METAULLICS SYSTEMS CO LP            31935 AURORA RD                                                                                           SOLON              OH   44139‐2717
METAUX LORBEC LTEE                  3415 WESTERN RD                                                                                           FLINT              MI   48506‐2327
METAVATION LLC                      1867 CASS HARTMAN CT                                                                                      TRAVERSE CITY      MI   49684‐9154
METAVATION LLC                      2424 JOHN DALY ST                                                                                         INKSTER            MI   48141‐2453
METAVATION LLC                      1799 GOVER PKWY                                                                                           MOUNT PLEASANT     MI   48858‐8140
METAVATION LLC                      MATT SEGVICH                       14701 KEEL ST                                                          PLYMOUTH           MI   48170‐6001
METAXAS, IRENE F                    197 W MRKET ST STE 200                                                                                    WARREN             OH   44481‐1024
METCALF & EDDY                      PO BOX 70788                                                                                              CHICAGO            IL   60673‐0001
METCALF & EDDY                      ZECCO INC                          PO BOX 93988                                                           CHICAGO            IL   60673‐0001
METCALF EUGENE                      7250 COUNTY ROAD 3                                                                                        BARNEY             ND   58008‐9643
METCALF FELTON                      METCALF, FENTON                    15110 TAMPA RD                                                         ST ROBERT          MO   65584
METCALF II, THEODORE Z              2306 MAYORS LN                                                                                            LAKE OSWEGO        OR   97034‐7522
METCALF JR, CHARLES A               214 S SMALLWOOD ST                                                                                        BALTIMORE          MD   21223‐2906
METCALF MARCUS (657760)             ZAMLER, MELLEN & SHIFFMAN          23077 GREENFIELD RD STE 557                                            SOUTHFIELD         MI   48075‐3727
METCALF SUSAN                       40 BRONWOOD ST                                                                                            NEW LEBANON        OH   45345
METCALF WALLACE WRIGHT (429452)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                            NORFOLK            VA   23510
                                                                       STREET, SUITE 600
METCALF, ALICIA K                   522 W. GENESEE ST                                                                                         LANSING            MI   48933‐1009
METCALF, BARBARA K                  4893 E 575 N                                                                                              WHITELAND          IN   46184‐9403
METCALF, BRENDA J                   345 ROLLINGRIDGE LN                                                                                       GARLAND            TX   75043‐2972
METCALF, CHARLES A                  303 LEXINGTON AVE                                                                                         DAYTON             OH   45402‐6045
METCALF, CHARLES E                  16233 SUSSEX ST                                                                                           DETROIT            MI   48235‐3875
METCALF, DALE A                     9444 FORESTVIEW CIR                                                                                       GRAND BLANC        MI   48439‐8056
METCALF, DALE R                     3400 S IRONWOOD DR LOT 17                                                                                 APACHE JUNCTION    AZ   85220‐7104
METCALF, DANNY D                    PO BOX 218                                                                                                MULLIKEN           MI   48861‐0218
METCALF, DAVID P                    11010 STONE BRANCH DR                                                                                     RIVERVIEW          FL   33569‐2029
METCALF, DUANE E                    10719 APPALOOSA CT                                                                                        PARKER             CO   80134‐9353
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Name                    Address1                      Address2                      Address3   Address4         City            State Zip
METCALF, ELWIN W        1167 E BLANCHARD RD                                                                     SHEPHERD         MI 48883‐8531
METCALF, ERIC L         APT B                         103 NORTH WEST STREET                                     LEBANON          OH 45036‐2643
METCALF, ERIC L         3547 SHAKER RD                                                                          FRANKLIN         OH 45005‐4939
METCALF, ETHEL M        3808 KENNY LN                                                                           SPRINGBORO       OH 45066‐1816
METCALF, ETHEL M        3808 KENNY LANE                                                                         SPRINGBORO       OH 45066‐1816
METCALF, EUGENE W       9909 W JACKSON ST                                                                       YORKTOWN         IN 47396‐9657
METCALF, FENTON         15110 TAMPA RD                                                                          SAINT ROBERT     MO 65584‐3216
METCALF, FREDERICK R    9148 N ISLAND DR                                                                        FLUSHING         MI 48433‐2930
METCALF, GARY L         4837 WEBER DR                                                                           FAIRFIELD        OH 45014‐1426
METCALF, GENE N         BOONE ALEXANDRA               205 LINDA DR                                              DAINGERFIELD     TX 75638‐2107
METCALF, GENEVA I       2854 SUGARTREE RD                                                                       BETHEL           OH 45106‐9509
METCALF, IDA            2433 ARLENE AVE                                                                         DAYTON           OH 45406‐1345
METCALF, IDA            2433 ARLENE ST                                                                          DAYTON           OH 45406‐1345
METCALF, IRVING E       2618 RUTLEDGE AVE                                                                       JANESVILLE       WI 53545‐1340
METCALF, JAMES B        7320 PECAN CT                                                                           MANSFIELD        TX 76063‐4921
METCALF, JAMES L        1245 MASSAC CHURCH RD                                                                   PADUCAH          KY 42001‐8758
METCALF, JARVINE        1482 FANNIN ST                                                                          ABILENE          TX 79603‐4847
METCALF, JERRY L        833 W ATHERTON RD                                                                       FLINT            MI 48507‐2410
METCALF, JOHN C         149 ELM CREEK CV                                                                        COLLIERVILLE     TN 38017‐6858
METCALF, JOHN G         PO BOX 568                                                                              CLINTON          WI 53525‐0568
METCALF, JOHN M         532 HAWTHORNE BLVD                                                                      LEESBURG         FL 34748‐8619
METCALF, JOHN R         3201 N AVERILL AVE                                                                      FLINT            MI 48506‐2503
METCALF, JOHN RUSSELL   3201 N AVERILL AVE                                                                      FLINT            MI 48506‐2503
METCALF, JOSEPHINE      14500 EGYTT RD.                                                                         HUDSON           MI 49247
METCALF, JOSIE LEE      1344 RUSSELL RD                                                                         CLEVELAND        OH 44103‐2626
METCALF, KATHY L        4837 WEBER DR                                                                           FAIRFIELD        OH 45014‐1426
METCALF, KATHY S        24 S HARBINE AVE                                                                        DAYTON           OH 45403‐2110
METCALF, KENDRA R       5865 LAKE CREST DR                                                                      COLUMBIAVILLE    MI 48421‐8971
METCALF, KIRK R         11171 CHESTNUT SQ                                                                       MIAMISBURG       OH 45342‐4889
METCALF, LAURA C        4048 INFIRMARY ROAD                                                                     MIAMISBURG       OH 45342‐1226
METCALF, LESLIE M       5116 MEMORIAL DR.                                                                       SEBRING          FL 33870
METCALF, LINDA          11575 E YATES CENTER RD                                                                 LYNDONVILLE      NY 14098‐9675
METCALF, LUCY A         C/O DAVID E METCALF           3 LOIS LANE                                               NORFOLK          MA 02056
METCALF, LUCY A         3 LOIS LN                     C/O DAVID E METCALF                                       NORFOLK          MA 02056‐1823
METCALF, M C            2575 SALEM RD                                                                           LAKE             MS 39092‐9607
METCALF, MALINDA S      4831 ERICSON AVE                                                                        DAYTON           OH 45418‐1911
METCALF, MARCUS         ZAMLER, MELLEN & SHIFFMAN     23077 GREENFIELD RD STE 557                               SOUTHFIELD       MI 48075‐3727
METCALF, MARY KAY       1132 SOUTHFIELD RD            C/O ERIC A BRAVERMAN                                      LINCOLN PARK     MI 48146‐2409
METCALF, MICHAEL E      6805 MERRICK ST                                                                         TAYLOR           MI 48180‐1869
METCALF, MICHAEL R      116 WALNUT LN                                                                           COLUMBIA         TN 38401‐4944
METCALF, NORMAN         1251 FLAMINGO DR                                                                        MOUNT MORRIS     MI 48458‐2841
METCALF, PAUL L         2143 MONACO ST                                                                          FLINT            MI 48532‐4423
METCALF, PHYLLIS A      3062 N 750 W                                                                            KOKOMO           IN 46901‐8500
METCALF, PHYLLIS A      3536 W 1050 S                                                                           PENDLETON        IN 46064‐9517
METCALF, RICHARD        1404 MOCK RD                                                                            LEXINGTON        OH 44904‐9301
METCALF, RICHARD L      3548 FAIRHILLS DR                                                                       OKEMOS           MI 48864‐5961
METCALF, RICHARD R      1519 MARSHALL RD                                                                        LYNDONVILLE      NY 14098‐9740
METCALF, RITA ANN       2063 HEMPSTEAD                                                                          TROY             MI 48083‐2637
METCALF, ROBERT A       11561 SHARP RD                                                                          LINDEN           MI 48451‐9176
METCALF, ROBERT N       RR 2 BOX 271                                                                            FAIRFIELD         IL 62837‐9660
METCALF, ROBERT N       ROUTE 2 BOX 271                                                                         FAIRFIELD         IL 62837‐9660
METCALF, ROBERT S       10201 STANLEY RD                                                                        FLUSHING         MI 48433‐9276
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Name                            Address1                           Address2                      Address3   Address4                City               State Zip
METCALF, ROGER N                5126 LAKEWOOD DR                                                                                    GRAND BLANC         MI 48439‐9318
METCALF, RUTH R                 9909 W JACKSON ST                                                                                   YORKTOWN            IN 47396‐9657
METCALF, RUTHANNE               1055 FOREST HILL AVE SE APT 94B    C/O CATHY METCALF                                                GRAND RAPIDS        MI 49546‐8347
METCALF, STEPHEN J              4529 DECKERLAND ST                                                                                  W BLOOMFIELD        MI 48323‐1417
METCALF, STEVEN B               1251 FLAMINGO DR                                                                                    MOUNT MORRIS        MI 48458‐2841
METCALF, STEVEN E               512 DUTCH HILL DR                                                                                   LANSING             MI 48917‐3444
METCALF, THOMAS S               4115 STATE ST                                                                                       BRIDGEPORT          MI 48722‐9633
METCALF, TROY D                 102 CHESTNUT ST                                                                                     LEESBURG            FL 34748‐8664
METCALF, VIRGINIA L             3621 FAIR MEADOWS CT                                                                                NASHVILLE           TN 37211‐7192
METCALF, WALLACE WRIGHT         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                      NORFOLK             VA 23510‐2212
                                                                   STREET, SUITE 600
METCALF, WELDON B               PO BOX 32                                                                                           SUMMITVILLE        IN   46070‐0032
METCALF, WINFRED D              319 RAMSEY WAY                                                                                      SEVIERVILLE        TN   37876‐1168
METCALF‐BELL, BARBARA           4905 W PRAIRIEWOOD DR                                                                               MUNCIE             IN   47304‐3482
METCALFE CARIETHEA              3980 N HUNTINGTON ST                                                                                MEDINA             OH   44256‐8370
METCALFE COUNTY SHERIFF         PO BOX 371                                                                                          EDMONTON           KY   42129‐0371
METCALFE GARY                   METCALFE, GARY                     5832 HOHMAN AVE                                                  HAMMOND            IN   46320‐2323
METCALFE JR, REX                701 LINCOLN ST                                                                                      DICKSON CITY       PA   18519‐1426
METCALFE JR, ROBERT W           3804 N MICHIGAN AVE                                                                                 SAGINAW            MI   48604‐1827
METCALFE, ALETHA A              1835 LAUREL OAK DR                                                                                  FLINT              MI   48507‐2253
METCALFE, ARTIE M               521 W PHILADELPHIA BLVD                                                                             FLINT              MI   48505‐3266
METCALFE, AWILDA                2811 MACKIN RD                                                                                      FLINT              MI   48504‐7541
METCALFE, CAROLYN P             G3231 N CENTER RD                  C/O GREGORY A TOTH                                               FLINT              MI   48506‐2073
METCALFE, CAROLYN P             C/O GREGORY A TOTH                 G‐3231 N CENTER RD                                               FLINT              MI   48506
METCALFE, ELLEN L               22 LAKESIDE TRL                                                                                     KINNELON           NJ   07405‐2842
METCALFE, GARY                  SACHS & HESS PC                    5832 HOHMAN AVE                                                  HAMMOND            IN   46320‐2323
METCALFE, GRADY G               2937 POLKVILLE RD                                                                                   SHELBY             NC   28150‐9326
METCALFE, IVAN L                727 E 60TH ST APT 1309                                                                              CHICAGO            IL   60637‐5508
METCALFE, JACQUELINE R          4284 LATIFEE CT                                                                                     SWARTZ CREEK       MI   48473‐1710
METCALFE, JOHNNIE M             740 E PHILADELPHIA BLVD                                                                             FLINT              MI   48505‐3553
METCALFE, LAURA A               524 E SCHOOL ST                                                                                     ANDERSON           IN   46012
METCALFE, LETHA M               1811 DETROIT ST                                                                                     FLINT              MI   48503
METCALFE, PEARLINE              727 E 60TH ST APT 1309                                                                              CHICAGO            IL   60637‐5508
METCALFE, PEARLINE              727 E 60TH ST                      APT 1309                                                         CHICAGO            IL   60637‐5508
METCALFE, PHYLLIS R             8911 GOSHEN LN                                                                                      PORT RICHEY        FL   34668‐5636
METCALFE, ROBERT C              11597 FARMHILL DR                                                                                   FENTON             MI   48430‐2559
METCALFE, ROBERT CLYDE          11597 FARMHILL DR                                                                                   FENTON             MI   48430‐2559
METCALFE, ROBERT S              19140 ANNCHESTER RD                                                                                 DETROIT            MI   48219‐2751
METCALFE, WILLIAM D             760 SHELBY ONTARIO RD                                                                               MANSFIELD          OH   44906‐1036
METCAST/BOX 15076               PO BOX 15076                                                                                        CINCINNATI         OH   45215‐0076
METCO ENVIRONMENTAL INC         PO BOX 99741                                                                                        CHICAGO            IL   60696‐7541
METCO ENVIRONMENTAL INC         PO BOX 598                         3226 COMMANDER DR                                                ADDISON            TX   75001‐0598
METCO SALES & MARKETING         2109 N WABASH AVE                                                                                   KOKOMO             IN   46901‐2001
METCO/CLAWSON                   650 N ROCHESTER RD                                                                                  CLAWSON            MI   48017‐1730
METCOA PRP RESPONSE COST ACCT   C\O H WEIN, KLETT LIEBER           1 OXFORD CENTRE 40TH FL                                          PITTSBURGH         PA   15219
METCOM CONSTRUCTION LLC         1500 C TROMBLY                                                                                      DETROIT            MI   48211
METCOR INC                      560 ARTHUR SAUVE                                                            ST EUSTACHE CANADA PQ
                                                                                                            J7R 5A8 CANADA
METCOR INC                      425 PHIPPS ST                                                               FORT ERIE ON L2A 2W1
                                                                                                            CANADA
METCUT/CINCINATTI               3980 ROSSLYN DR                                                                                     CINCINNATI         OH 45209‐1110
METE GENCYUZ                    23207 POTOMAC CIR                                                                                   FARMINGTON HILLS   MI 48335‐3319
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Name                          Address1                          Address2                        Address3            Address4         City               State Zip
METEA, DIONISE V              26554 ANN ARBOR TRL UNIT 3                                                                             DEARBORN HEIGHTS    MI 48127‐1199
METEER, GARY R                4373 BENDER CT                                                                                         TROY                MI 48098‐4475
METELSKI, GEORGE H            69 AUSTIN AVE                                                                                          OLD BRIDGE          NJ 08857‐1235
METEOR LLC                    1099 CHICAGO RD                                                                                        TROY                MI 48083‐4204
METEOR PHOTO AND IMAGING      1099 CHICAGO RD                                                                                        TROY                MI 48083‐4204
METEOR PHOTO/TROY             1099 CHICAGO RD                                                                                        TROY                MI 48083‐4204
METEOR WEIGELT GMBH & CO KG                                     GUSTAV‐RAU‐STRABE 21                                                                     BW 74321
METEORLOGIX                   PO BOX 3546                                                                                            OMAHA               NE 68103‐0546
METEORLOGIX                   9110 W DODGE ROAD                 ATTN: RITA BAUGHMAN                                                  OMAHA               NE 68114
METEORLOGIX                   11400 RUPP DR                                                                                          BURNSVILLE          MN 55337‐1279
METEORLOGIX                   NIKOLAI & MERSEREAU               900 2ND AVE S STE 820                                                MINNEAPOLIS         MN 55402‐3813
METEORLOGIX/OMAHA             9110 W DODGE ROAD                 ATTN: RITA BAUGHMAN                                                  OMAHA               NE 68114
METER, MARY                   131 S LEAVITT RD                                                                                       AMHERST             OH 44001‐1782
METERKO, ROBERT A             4710 E HARBOR RD                                                                                       PORT CLINTON        OH 43452‐3836
METESH, JOSEPH L              39949 AYNESLEY ST                                                                                      CLINTON TWP         MI 48038‐2729
METEVIA JOSEPH/JUDY METEVIA   ICO THE LANIER LAW FIRM P C       6810 FM 1960 WEST                                                    HOUSTON             TX 77069
METEVIA, A S                  99 POWHATAN DR                                                                                         CHEROKEE VILLAGE    AR 72529‐2106
METEVIA, ALVINA               5555 LANGE RD                                                                                          BIRCH RUN           MI 48415‐9007
METEVIA, ALVINA               5555 LANGE                                                                                             BIRCH RUN           MI 48415‐9007
METEVIA, JAMES S              330 47TH AVE N                                                                                         ST PETERSBURG        FL 33703‐3910
METEVIA, KENNETH L            8610 GEDDES RD                                                                                         SAGINAW             MI 48609‐9591
METEVIA, MICHAEL F            311 W NORTH BOUTELL RD                                                                                 KAWKAWLIN           MI 48631‐9717
METEVIA, PHILIP A             912 HEATHER LN                                                                                         COLUMBIA            TN 38401‐6750
METEVIA, RICHARD D            3860 KING RD                                                                                           SAGINAW             MI 48601‐7148
METEVIER, ANITA M             1175 RIVIERA DR                                                                                        FLINT               MI 48507‐3361
METEVIER, BARBARA             359 W CLYDESDALE ST                                                                                    MOUNT MORRIS        MI 48458‐8930
METEVIER, GARY J              205 E BELVIDERE AVE                                                                                    FLINT               MI 48503‐4109
METEVIER, JAMES W             11895 SARA ANN DR                                                                                      DEWITT              MI 48820‐7764
METEVIER, JOHN L              314 ECKFORD CT                                                                                         TROY                MI 48085‐4774
METEVIER, KAREN MARIE         7358 LAWRENCE ST                                                                                       GRAND BLANC         MI 48439‐9341
METEVIER, LINDA I             4241 BRISTOLWOOD DR                                                                                    FLINT               MI 48507‐5536
METEVIER, PAUL E              4101 S SHERIDAN RD LOT 568                                                                             LENNON              MI 48449‐9431
METEVIER, PAUL EUGENE         4101 S SHERIDAN RD LOT 568                                                                             LENNON              MI 48449‐9431
METEVIER, THOMAS J            560 WOODSEDGE LN                                                                                       WHITE LAKE          MI 48386‐3556
METEX CORP                    ERIC DIMARTINO                    TECHNICAL PRODUCTS DIV          970 NEW DURHAM RD                    CLEVELAND           OH 44111
METEYER, PAUL W               31398 TWIN OAKS DR                                                                                     CHESTERFIELD        MI 48047‐3072
METEYER, RICHARD D            APT 322                           2250 NORTH CANTON CENTER ROAD                                        CANTON              MI 48187‐2994

METEYER, ROSOLIA H            2250 N CANTON CENTER RD           APT 322                                                              CANTON             MI   48187‐2994
METFORM CORP                  2551 WACKER RD                                                                                         SAVANNA            IL   61074‐2829
METFORM LLC                   2551 WACKER RD                                                                                         SAVANNA            IL   61074‐2898
METGLAS INC                   440 ALLIED DR                                                                                          CONWAY             SC   29526‐8202
METH LAW OFFICES PC           RE: GINA HURLEY                   28 ACADEMY AVENUE               P O BOX 560                          CHESTER            NY   10918
METH LAW OFFICES PC           RE: FREDERICK C LODINI            28 ACADEMY AVENUE               P O BOX 560                          CHESTER            NY   10918
METH LAW OFFICES PC           RE: FREDERICK J LODINI            28 ACADEMY AVENUE               P O BOX 560                          CHESTER            NY   10918
METH LAW OFFICES PC           RE: JEAN LODINI                   28 ACADEMY AVENUE               P O BOX 560                          CHESTER            NY   10918
METHA SHEW                    4345 GRASS LAKE RD                                                                                     WHITE LAKE         MI   48303‐1732
METHAM, RAYMOND               638 S ELM AVE                                                                                          TALLMADGE          OH   44278‐2808
METHENEY JR, DARIS            127 MYERS ST                                                                                           CRESTON            OH   44217‐9428
METHENEY, ANITA C             1325 ROCK RD                                                                                           MANSFIELD          OH   44903‐7342
METHENEY, COOPER G            4100 HARRIS RD                                                                                         BUTLER             OH   44822‐8912
METHENEY, TOMMY D             1325 ROCK RD                                                                                           MANSFIELD          OH   44903‐7342
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Name                                 Address1                          Address2                          Address3                   Address4                 City              State Zip
METHENY, ALFRED C                    950 STARLITE DR                                                                                                         PAHRUMP            NV 89048
METHENY, JOHN A                      38178 30TH ST                                                                                                           PAW PAW            MI 49079‐8415
METHENY, NELLIE L                    3990 N PARK AVENUE EXT                                                                                                  WARREN             OH 44481‐9337
METHENY, NELLIE L                    3990 N. PARK AVE. EXT                                                                                                   WARREN             OH 44481‐9337
METHENY, ROBERT A                    1574 WHITE ROCK RD                                                                                                      FRIENDSVILLE       MD 21531‐1439
METHNER JR, GERALD M                 150 HOLLY HOCK LN                                                                                                       ORTONVILLE         MI 48462‐9404
METHNER JR, LARRY R                  4733 JAMM RD                                                                                                            ORION              MI 48359‐2221
METHNER, FRITZ                       1416 LAFAYETTE AVENUE                                                                                                   MATTOON             IL 61938‐4007
METHNER, GERALD M                    1887 DAVIDSON AVE                                                                                                       THE VILLAGES       FL 32162‐1646
METHNER, LEONARD J                   10060 BOULDER PASS                                                                                                      DAVISBURG          MI 48350‐2054
METHNER, LINDA D                     10060 BOULDER PASS                                                                                                      DAVISBURG          MI 48350‐2054
METHNER, SHIRLEY J                   1416 LAFAYETTE AVE                                                                                                      MATTOON             IL 61938‐4007
METHNER, WILLIAM J                   4692 ROCKCROFT BLVD                                                                                                     CLARKSTON          MI 48346‐3433
METHOD JR, EUGENE W                  112 DISCOVERY LAKE DR                                                                                                   SUNSET BEACH       NC 28468‐4461
METHOD KOCAK                         121 CARL PL                                                                                                             WESTWOOD           NJ 07675‐3338
METHOD PARK AMERICA INC              58TH ST N STE 124                                                                                                       CLEARWATER         FL 33760
METHOD THOMAS E (494009)             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                           NORFOLK            VA 23510
                                                                       STREET, SUITE 600
METHOD, BETTY R                      APT 117                           2656 WEST ALEX BELL ROAD                                                              DAYTON            OH 45459‐6237
METHOD, BETTY R                      2656 W ALEX BELL RD               APT 117                                                                               DAYTON            OH 45459‐5237
METHOD, THOMAS E                     GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                           NORFOLK           VA 23510‐2212
                                                                       STREET, SUITE 600
METHODE ELEC/STHFLD                  24585 EVERGREEN RD                                                                                                      SOUTHFIELD        MI    48075‐5503
METHODE ELECTRONICS                  DON DAVISX44111                   PO BOX 130                                                                            CARTHAGE          IL    62321‐0180
METHODE ELECTRONICS                  DON DAVISX44111                   111 W BUCHANAN ST                                                                     CARTHAGE          IL    62321‐1250
METHODE ELECTRONICS (SHANGHAI)       EVERETT MEGGITT                   C/O SCHENKER INC                  10401 HARRISON ROAD, STE                            SPARTANBURG       SC    29304
                                                                                                         401
METHODE ELECTRONICS (SHANGHAI) CO    #7 GENERAL FACTORY 1765                                                                        SHANGHAI CN 201206
                                                                                                                                    CHINA (PEOPLE'S REP)
METHODE ELECTRONICS (SHANGHAI) CO    #7 GENERAL FACTORY 1765           JIN QIAO EXPORT PROCESSING ZONE                              SHANGHAI 201206 CHINA
                                                                                                                                    (PEOPLE'S REP)
METHODE ELECTRONICS (SHANGHAI) CO.   C/O TIMOTHY S MCFADDEN            111 S WACKER DR                                                                       CHICAGO            IL   60606
LTD
METHODE ELECTRONICS INC              PO BOX 130                                                                                                              CARTHAGE           IL   62321‐0130
METHODE ELECTRONICS INC              DON DAVISX44111                   PO BOX 130                                                                            CARTHAGE           IL   62321‐0130
METHODE ELECTRONICS INC              ATTN A\R                          7401 W WILSON AVE                                                                     HARWOOD HEIGHTS    IL   60706‐4548
METHODE ELECTRONICS INC              #7 GENERAL FACTORY 1765                                                                        SHANGHAI CN 201206
                                                                                                                                    CHINA (PEOPLE'S REP)
METHODE ELECTRONICS INC              #7 GENERAL FACTORY 1765           JIN QIAO EXPORT PROCESSING ZONE                              SHANGHAI 201206 CHINA
                                                                                                                                    (PEOPLE'S REP)
METHODE ELECTRONICS INC              111 W BUCHANAN ST                                                                                                       CARTHAGE           IL   62321‐1250
METHODE ELECTRONICS INC              4001 INDUSTRIAL AVE                                                                                                     ROLLING MEADOWS    IL   60008‐1025
METHODE ELECTRONICS INC              7401 W WILSON AVE                                                                                                       HARWOOD HEIGHTS    IL   60706‐4548
METHODE ELECTRONICS INC              DON DAVISX44111                   111 W BUCHANAN ST                                                                     CARTHAGE           IL   62321‐1250
METHODE ELECTRONICS INC              EVERETT MEGGITT                   C/O SCHENKER INC                  10401 HARRISON ROAD, STE                            SPARTANBURG        SC   29304
                                                                                                         401
METHODE ELECTRONICS INC              EVERETT MEGGITT                   METHODE ELECTRONICS INC           1765 CHUAN QIAO ROAD       PUDONG CHINA (PEOPLE'S
                                                                                                                                    REP)
METHODE ELECTRONICS INC              EVERETT MEGGITT                   MRIEHEL INDUSTRIAL ESTATE                                    BIRKIRKARA, QRM09
                                                                                                                                    MALTA
METHODE ELECTRONICS INC              MRIEHEL INDUSTRIAL ESTATE                                                                      BIRKIRKARA QRM09 MALTA
METHODE ELECTRONICS MALTA LTD        INDUSTRIAL ESTATE                                                                              MRIEHEL QRM09 MALTA
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METHODE ELECTRONICS MALTA LTD       MRIEHEL INDUSTRIAL ESTATE                                                                 BIRKIRKARA QRM09 MALTA
METHODE ELECTRONICS MALTA LTD.      EVERETT MEGGITT                   MRIEHEL INDUSTRIAL ESTATE                                                      DOWAGIAC        MI 48116
METHODE ELECTRONICS MALTA, LTD      C/O TIMOTHY S MCFADDEN            111 S WACKER DR                                                                CHICAGO         IL 60606
METHODE ELECTRONICS SHANGHAI        EVERETT MEGGITT                   METHODE ELECTRONICS INC          1765 CHUAN QIAO ROAD                          AKRON           OH
METHODE ELECTRONICS SHANGHAI CO LTD NO 40B T40B‐7 NO 1765 CHUAN       QIAO RD JIN QIAO EXPRT PRCS ZN                          SHANGHA 201206 CHINA
                                                                                                                              CHINA
METHODIST COLLEGE                   5400 RAMSEY ST                                                                                                   FAYETTEVILLE     NC 28311‐1420
METHODIST OCCUPATIONAL HEALTH       PO BOX 66491                      UPTD 03/14/06 GJ                                                               INDIANAPOLIS     IN 46266‐6491
CENTERS INC
METHODS & EQUIPMENT ASSOCIATES      31731 GLENDALE ST                                                                                                LIVONIA         MI    48150‐1828
METHODS MACHINE TOOLS INC           PO BOX 382                        65 UNION AVE                                                                   SUDBURY         MA    01776‐0382
METHOT, JOSEPH R                    52 JANICE AVE                                                                                                    DRACUT          MA    01826‐1323
METHVEN, GREGORY D                  47220 SARNUS DR                                                                                                  MACOMB          MI    48044‐4822
METHVIN, EMRIE D                    3913 SE 45TH ST                                                                                                  OKLAHOMA CITY   OK    73135‐2053
METHVIN, JOANN L                    815 STAFFORD AVE APT 14B                                                                                         BRISTOL         CT    06010‐3852
METHVIN, THOMAS L                   185 TIFFANY CT                                                                                                   LOCUST GROVE    GA    30248‐2118
METIER, JACQUELINER                 15150 SW OPAL DR                                                                                                 BEAVERTON       OR    97007
METIKOSH, TARA M                    3489 SNOWDEN LN                                                                                                  HOWELL          MI    48843‐8614
METIVA SHOUP, KIM A                 16411 BELFAST DR                                                                                                 FENTON          MI    48430‐9127
METIVA, BOYD J                      5444 DICKERSON RD                                                                                                AKRON           MI    48701‐9605
METIVA, DONALD J                    317 SCHUST RD                                                                                                    SAGINAW         MI    48604‐1419
METIVA, DUANE H                     853 WAUKEE LN                                                                                                    SAGINAW         MI    48604‐1141
METIVA, EDWIN W                     416 SHEPARD ST                                                                                                   SAGINAW         MI    48604‐1230
METIVA, LANCE T                     4494 N STEEL RD                                                                                                  HEMLOCK         MI    48626‐9645
METIVA, LAWRENCE C                  3884 SMITH CROSSING RD                                                                                           FREELAND        MI    48623‐9442
METIVA, LLOYD D                     1500 DURANGO CT                                                                                                  FLINT           MI    48532‐2077
METIVA, MARSHA K                    5294 SAND HILL RD                                                                                                FREDERIC        MI    49733‐9711
METIVA, MARTHA                      509 SHEPARD                                                                                                      SAGINAW         MI    48604‐1231
METIVA, MARTHA                      509 SHEPARD ST                                                                                                   SAGINAW         MI    48604‐1231
METIVA, MARY G                      217 S FRANKLIN ST                                                                                                SAGINAW         MI    48604‐1350
METIVA, MATTHEW L                   5170 SHERMAN RD                                                                                                  SAGINAW         MI    48604‐1145
METIVA, MATTHEW LINUS               5170 SHERMAN RD                                                                                                  SAGINAW         MI    48604‐1145
METIVA, MICHAEL D                   416 TITTABAWASSEE RD                                                                                             SAGINAW         MI    48604‐1266
METIVA, MICHAEL W                   1631 N REESE RD                                                                                                  REESE           MI    48757‐9607
METIVA, RACHEL A                    11250 E STATE ROUTE 69 LOT 1164                                                                                  DEWEY           AZ    86327‐4409
METIVA, RICK J                      3145 5 MILE RD NE                                                                                                GRAND RAPIDS    MI    49525‐1935
METIVA, ROGER P                     1639 MEADOW LN                                                                                                   REESE           MI    48757‐9540
METIVA, SCOTT A                     5194 OTSEGO ST                                                                                                   BURTON          MI    48509‐2024
METIVA, SCOTT ALLEN                 5194 OTSEGO ST                                                                                                   BURTON          MI    48509‐2024
METIVA, SHIRLEY M                   1500 DURANGO CT                                                                                                  FLINT           MI    48532‐2077
METIVIER, BARBARA                   PO BOX 553                        370 NEWTON CREEK LN                                                            FARWELL         MI    48622‐0553
METIVIER, BARBARA                   370 NEWTON CREEK LN PO BOX 553                                                                                   FARWELL         MI    48622‐0553
METIVIER, DOROTHY M                 5034 LINDEN RD                                                                                                   SWARTZ CREEK    MI    48473‐8206
METIVIER, JOHN J                    9236 FENTON RD                                                                                                   GRAND BLANC     MI    48439‐8379
METIVIER, RAYMOND A                 11875 MILE RD                                                                                                    NEW LEBANON     OH    45345‐9143
METIVIER, RICHARD T                 48 GABRIEL ST APT 2A                                                                                             VANDALIA        OH    45377‐1950
METKO, TIMOTHY                      BOONE ALEXANDRA                   205 LINDA DR                                                                   DAINGERFIELD    TX    75638‐2107
METKOWSKI, ANTHONY P                157 THURSTON AVE                                                                                                 KENMORE         NY    14217‐1321
METLAB CORP
METLAB/NIAGARA FALLS                PO BOX 1075                                                                                                      NIAGARA FALLS    NY 14302‐1075
METLER, THOMAS M                    504 THOMAS L PKWY                                                                                                LANSING          MI 48917‐2801
METLIFE                             PO BOX 350                                                                                                       WARWICK          RI 02887‐0350
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METLIFE
METLIFE AUTO & HOME             PO BOX 350                                                                                                       WARWICK             RI   02887‐0350
METLIFE AUTO & HOME             REGAN & REGAN                     438 MAIN ST STE 910                                                            BUFFALO             NY   14202‐3210
METLIFE AUTO & HOME             KAREN ROCHE                       700 QUAKER LN                                                                  WARWICK             RI   02886‐6681
METLIFE INC                     25330 TELEGRAPH RD STE 440                                                                                       SOUTHFIELD          MI   48033‐7460
METLIFE INSURANCE               RE: MARTY KENISON                 P.O. BOX 1503                                                                  LATHAN              NY   12110
METLIFE INSURANCE COMPANY
METLIFE SEN/WESTPOIN            PO BOX 937                                                                                                       WESTPORT           CT    06881‐0937
METLIFE TOWER RESOURCES         1 METLIFE PLAZA                                                                                                  LONG ISLAND CITY   NY    11101
METLIFE‐TSU                     ATTN LORI PLONKA                  25300 TELEGRAPH RD STE 580                                                     SOUTHFIELD         MI    48033‐7488
METLIFE/DETROIT                 3031 W GRAND BLVD                 660 NEW CENTER ONE               ATTN: JENNIFER OLLE                           DETROIT            MI    48202‐3044
METO KOTE/LEBANON               1540 CAINSVILLE RD                                                                                               LEBANON            TN    37090‐7722
METODI PURDEF                   2225 N MOSLEY DR                                                                                                 CHANDLER           AZ    85225‐1356
METODIJ SENIW                   2716 FLORIAN ST                                                                                                  HAMTRAMCK          MI    48212‐3428
METODIJA DIMITRIEVSKI           24024 DEVONSHIRE DR                                                                                              NOVI               MI    48374‐3760
METOKOTE CORP                   1340 NEUBRECHT RD                 PER DAN SHEPARD                                                                LIMA               OH    45801‐3120
METOKOTE CORP                                                     1540 CAINSVILLE RD                                                                                TN    37087
METOKOTE/GRAND BLANC            8186 INDUSTRIAL PARK DR                                                                                          GRAND BLANC        MI    48439‐1865
METOKOTE/LIMA                   1334 NEUBRECHT RD                                                                                                LIMA               OH    45801‐3120
METOKOTE/MEXICO                 CARRETERA SALTILLO                P NEGRAS KM 10.8 IND PARQUE #5                         RAMOS ARIZPE MX 25900
                                                                                                                         MEXICO
METOYER JR, HERBERT R           25785 CATALINA ST                                                                                                SOUTHFIELD         MI    48075‐1742
METOYER, ARNOLD S               216 S BUTLER BLVD STE B                                                                                          LANSING            MI    48915‐1711
METOYER, DESMOND L              1516 OAKDALE ST                                                                                                  SHREVEPORT         LA    71108‐3539
METOYER, EDNA M                 1107 ABBEY PLACE BLVD                                                                                            FORT WAYNE         IN    46804‐3506
METOYER, EDNA M                 1107 ABBEY PL BLVD                                                                                               FORT WAYNE         IN    46804‐3506
METOYER, MARJORIE V             501 S VERLINDEN AVE                                                                                              LANSING            MI    48915‐1153
METOYER, ROSETTA M              2220 OLD SALEM RD                                                                                                AUBURN HILLS       MI    48326‐3428
METOYER, WILLIAM G              8080 MANCHESTER DR                                                                                               GRAND BLANC        MI    48439‐9544
METPATH                         1 MALCOLM AVE                                                                                                    TETERBORO          NJ    07608‐1011
METRA ELECTONICS                CASS DANIELS                      460 WALKER ST                                                                  HOLT               MI    48842
METRA ELECTRONICS CORP          CASS DANIELS                      460 WALKER ST                                                                  HOLT               MI    48842
METRA ELECTRONICS CORP          460 WALKER ST                                                                                                    HOLLY HILL         FL    32117‐2653
METRA TOOL CO                   5275 COGSWELL RD                  PO BOX 310                                                                     WAYNE              MI    48184‐1585
METRA TOOL CO INC               5275 COGSWELL RD                  PO BOX 310                                                                     WAYNE              MI    48184‐1585
METRA, ELIZABETH A              5555 FREDERICK PIKE                                                                                              DAYTON             OH    45414‐2920
METRAS, EDWARD L                9541 109RD ST APT 917                                                                                            JACKSONVILLE       FL    32210‐0994
METRAS, INA R                   4462 KIRK RD                                                                                                     VASSAR             MI    48768‐9789
METRIC MOTORS                   860 BROCK RD UNIT 9                                                                      PICKERING ON L1W 3X3
                                                                                                                         CANADA
METRIC MOTORS                   1314 PASEO DEL PUEBLO SUR                                                                                        TAOS               NM    87571‐5975
METRIC PLUMBING & HEATING INC   320 GROVE AVE                                                                                                    CEDAR GROVE        NJ    07009‐1442
METRIC PRECISION TOOL LLC       12222 UNIVERSAL DR                                                                                               TAYLOR             MI    48180‐4074
METRIC TOOL CO INC              17144 MOUNT ELLIOTT ST                                                                                           DETROIT            MI    48212‐1361
METRIC TOOL COMPANY INC         17144 MOUNT ELLIOTT ST                                                                                           DETROIT            MI    48212‐1361
METRIC, ISABEL M                6664 STONEY POINTE AVE            P.O. BOX 40                                                                    ALDEN              MI    49612‐9509
METRIC, ROBERT J                6664 STONEY POINTE AVE            P O BOX 40                                                                     ALDEN              MI    49612‐9509
METRICS LLC                     STE 200                           177 NORTH MAIN STREET                                                          PLYMOUTH           MI    48170‐5713
METRIS NV                       12701 GRAND RIVER RD                                                                                             BRIGHTON           MI    48116‐8506
METRIS USA                      12701 GRAND RIVER RD                                                                                             BRIGHTON           MI    48116‐8506
METRIS USA INC                  12701 GRAND RIVER RD                                                                                             BRIGHTON           MI    48116‐8506
                                     09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                 Address1                             Address2                        Address3   Address4               City             State Zip
METRIS USA INC                       ATTN: CORPORATE OFFICER/AUTHORIZED   12701 GRAND RIVER RD                                              BRIGHTON          MI 48116‐8506
                                     AGENT
METRO                                                                     707 N 1ST ST STOP 1                                                                MO    63102
METRO AIR INC                        21010 CENTER RIDGE RD                                                                                  ROCKY RIVER      OH    44116‐4305
METRO AIR INC                        1703 READ STREET                                                                                       OMAHA            NE    68112
METRO AIRPORT AUTHORITY                                                   2200 69TH AVE                                                                      IL    61265
METRO ALIGNMENT & STEERING           6201 METROPOLITAN AVE                                                                                  MIDDLE VILLAGE   NY    11379‐1604
METRO ANESTHESIA SER                 PO BOX 18329                                                                                           OKLAHOMA CITY    OK    73154‐0329
METRO ATLANTA AUTOMOBILE DEALERS     440 INTERSTATE N PARKWAY SE                                                                            ATLANTA          GA    30339
ASSOCIATION
METRO ATLANTA CHAMBER OF             235 ANDREW YOUNG INTERNATIONAL                                                                         ATLANTA          GA 30303‐2718
COMMERCE                             BLVD NW
METRO ATLANTA CHAPTER OF NATL        100 EDGEWOOD AVENUE                                                                                    ATLANTA          GA 30303
COALITION OF 100 BLACK WOMEN
METRO ATLANTIC ATHLETIC CONFERENCE   712 AMBOY AVE                                                                                          EDISON            NJ   08837‐3554

METRO AUTO AUCTION OF KANSAS CITY    15511 ADESA DR                                                                                         BELTON           MO 64012‐7879

METRO AUTO CORPORATION               P.O. BOX 29448                                                                  CAROLINA PUERTO RICO
METRO AUTO GROUP, INC.               PO BOX 2497                                                                                            KINGSPORT        TN    37662‐2497
METRO AUTO PARTS & SUPPLY            5398 STATE RD                                                                                          PARMA            OH    44134‐1244
METRO AUTO PARTS & SUPPLY                                                 5398 STATE RD                                                                      OH    44134
METRO BOARD OF EDUCATION DOT                                              336 WOODYCREST AVE                                                                 TN    37210
METRO CANADA TRANSPORT INC           666 BOUL ST MARTIN QUEST                                                        LAVAL CANADA PQ H7M
                                                                                                                     5G4 CANADA
METRO CAP/FRASER                     31560 GROESBECK HWY                                                                                    FRASER           MI    48026‐2549
METRO CAR CARE                       10040 SW CAPITOL HWY                                                                                   PORTLAND         OR    97219‐6800
METRO CARS INC                       24957 BREST                                                                                            TAYLOR           MI    48180‐4027
METRO CENTER FIDELITY ASSOC LP       C\O VOIT MANAGEMENT CO LP            PO BOX 66758                                                      EL MONTE         CA    91735‐0001
METRO CENTER OFFICE PARK             720 OLIVE WAY STE 614                CORP B BY RREEF MANAGEMENT CO                                     SEATTLE          WA    98101‐1859

METRO CENTRO S.A.                    AV. FERROCARRIL NO. 601                                                         HUANCAYO PERU
METRO CHEVROLET, INC.                INTERCOMPANY
METRO CLAIM SERVICE                  PO BOX 159                                                                                             DAVISBURG        MI    48350‐0159
METRO COMMERCE CENTER                C/O DIETZ MANAGEMENT                 1025 E MAPLE RD STE 200                                           BIRMINGHAM       MI    48009‐6483
METRO CONTRAC/ST CLR                 6623 ROSE LN E                                                                                         CHINA            MI    48054‐1712
METRO CONTRACT/CHINA                 6623 ROSE LN E                                                                                         CHINA            MI    48054‐1712
METRO CORP INC                       D. HERBERT LIPSON                    1818 MARKET STREET                                                PHILADELPHIA     PA    19103
METRO COURT REPORTERS INC            1919 PENOBSCOT BLDG                  645 GRISWOLD ST                                                   DETROIT          MI    48226‐3404
METRO CREDIT UNION                   FOR DEPOSIT TO THE ACCOUNT OF        6611 CHICAGO RD                 J DUGGAN                          WARREN           MI    48092‐1685
METRO DENVER AUTOMOBILE DEALER       745 SHERMAN ST                                                                                         DENVER           CO    80203
ASSOC
METRO DETROIT CPA REVIEW             34366 LANCASHIRE                                                                                       LIVONIA          MI    48152
METRO DETROIT JOB SEARCH             PO BOX 436009                                                                                          PONTIAC          MI    48343‐6009
METRO DISTRICTS HIGHLANDS RANCH                                           3280 REDSTONE PARK CIR                                                             CO    80129
METRO DME SUPPLY LLC                 PO BOX 171855                                                                                          ARLINGTON        TX    76003‐1855
METRO EMERG PHYS                     PO BOX 78009                                                                                           SAINT LOUIS      MO    63178‐8009
METRO EXPEDITE                       PO BOX 789                                                                                             ATHENS           TN    37371‐0789
METRO EXPEDITING INC                 PO BOX 4312                                                                                            CENTER LINE      MI    48015‐4312
METRO EXPRESS TRANSPORTATION SVCS    JERRY DUNAWAY                        875 FEE FEE RD                                                    MARYLAND HTS     MO    63043‐3211
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Name                                   Address1                             Address2                      Address3   Address4         City               State Zip
METRO EXPRESS                          875 FEE FEE RD                                                                                 MARYLAND HEIGHTS    MO 63043‐3211
TRANSPORTATIONSERVICES INC
METRO FABRICATING                      1650 TECH DR                                                                                   BAY CITY           MI    48706‐9792
METRO FABRICATING INC                  1650 TECH DR                                                                                   BAY CITY           MI    48706‐9792
METRO FACTORS INC                      7 FLAGG FARRELL                                                                                LAFAYETTE          LA    70508
METRO FACTORS INC                      PO BOX 464                                                                                     BRYANT             AR    72089‐0464
METRO FACTORS INC                      551 BLOCK RD                         PO BOX 970817                                             GUNTER             TX    75058‐4101
METRO FACTORS INC                      200 S FRONTAGE RD STE 216                                                                      BURR RIDGE         IL    60527
METRO FLIGHT SERVICES INC              175 AMMON DR                         UNIT 106                                                  MANCHESTER         NH    03103‐3311
METRO FREIGHT BROKERS LLC              2024 HAZEL ST                                                                                  BIRMINGHAM         MI    48809‐6807
METRO GEORGE H (429453)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA    23510
                                                                            STREET, SUITE 600
METRO GOLF CARS                        4063 SOUTH FWY                                                                                 FORT WORTH         TX    76110‐6353
METRO GOV OF NASHVILLE                 39 PEABODY ST                                                                                  NASHVILLE          TN    37210
METRO GOVERNMENT OF NASHVILLE          39 PEABODY ST                                                                                  NASHVILLE          TN    37210
METRO GRINDING                         35360 CONNECTICUT DR                                                                           STERLING HTS       MI    48310‐4929
METRO HEALTH BURN CENTER               2500 METROHEALTH DR                                                                            CLEVELAND          OH    44109‐1900
METRO IMAGING LLC                      PO BOX 780                                                                                     SAINT CHARLES      MO    63302‐0780
METRO INDUSTRIES INC                   4018 E 137TH TER                                                                               GRANDVIEW          MO    64030‐2834
METRO INTERNATIONAL TRADE SERVICES     6850 MIDDLEBELT ROAD                                                                           ROMULUS            MI    48174
LLC
METRO KOPCHAK                          1311 MAPLE AVE                                                                                 SOUTH PLAINFIELD    NJ   07080‐4515
METRO METALS CORP
METRO METALS CORP                      6600 US HIGHWAY 12                                                                             PORTAGE            IN    46368‐1276
METRO MILWAUKEE AUTO AUCTION           561 27TH ST                                                                                    CALEDONIA          WI    53108‐9785
METRO MOLD & DESIGN INC                20600 COUNTY ROAD 81                                                                           ROGERS             MN    55374‐9567
METRO MOVING & STORAGE CO              3700 RIDER TRL S                                                                               EARTH CITY         MO    63045‐1113
METRO NASHVILLE AIRPORT AUTH.                                               1 TERMINAL DR STE 501                                                        TN    37214
METRO NASHVILLE OFFICE OF FLEET MGT.                                        1417 MURFREESBORO PIKE                                                       TN    37217

METRO NASHVILLE POLICE DEPARTMENT      PO BOX 196300                                                                                  NASHVILLE          TN 37219‐6300

METRO NASHVILLE POLICE DEPARTMENT      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 196300                                             NASHVILLE          TN 37219‐6300
                                       AGENT
METRO NON REVENUE VEHICLES                                                  1301 AIRPORT WAY S                                                           WA    98134
METRO OCCUPATIONAL TRAINERS IN         54344 VERONA PARK DR                                                                           MACOMB             MI    48042‐5812
METRO OCCUPATIONAL TRAINERS INC        54344 VERONA PARK DR                                                                           MACOMB             MI    48042‐5812
METRO PACKAGING INC                    19000 FITZPATRICK ST                                                                           DETROIT            MI    48228‐1428
METRO PACKAGING SYSTEMS                19000 FITZPATRICK ST                                                                           DETROIT            MI    48228‐1428
METRO PARCEL & FREIGHT INC             KURT PROCK                           2024 HAZEL ST                                             BIRMINGHAM         MI    48009‐6807
METRO PARCELS & FREIGHT INC            2024 HAZEL ST                                                                                  BIRMINGHAM         MI    48009‐6807
METRO PATTERN & MODEL LTD              1462 E BIG BEAVER RD                                                                           TROY               MI    48083‐1950
METRO PATTERN/TROY                     1462 E BIG BEAVER RD                                                                           TROY               MI    48083‐1950
METRO PLASTICS TECH INC                9175 E 146TH ST                                                                                NOBLESVILLE        IN    46060‐4310
METRO PLASTICS TECHNOLOGIES            9175 E 146TH ST                                                                                NOBLESVILLE        IN    46060‐4310
METRO PNEUMATICS INC                   2140 POND RD UNIT 11                                                                           RONKONKOMA         NY    11779‐7240
METRO PONTIAC BUICK GMC, INC.          6815 ESSINGTON AVE                                                                             PHILADELPHIA       PA    19153‐3409
METRO PONTIAC BUICK GMC, INC.          CHARLES ARNAO                        6815 ESSINGTON AVE                                        PHILADELPHIA       PA    19153‐3409
METRO PROMO INC                        ATTN: CYRUS VARNER                   3031 W GRAND BLVD # 626                                   DETROIT            MI    48202‐3082
METRO PUMP SERVICE CO                  5053 CREEKMONTE DR                                                                             ROCHESTER          MI    48306‐4793
METRO PUMP SERVICE LLC                 4254 PINEHURST                                                                                 ROCHESTER          MI    48306
METRO SAAB INC                         232 N WASHINGTON AVE                                                                           BERGENFIELD        NJ    07621‐1356
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METRO SAAB, DBA PARKFIELD SAAB        156 ROUTE 17 NORTH                                                                                    ROCHELLE PARK       NJ 07662
METRO SAAB, INC. D/B/A PARKFIELD SAAB CHRISTOPHER J. CERRINA              156 ROUTE 17 NORTH                                                ROCHELLE PARK       NJ 07662

METRO SAAB, INC., D/B/A PARKFIELD SAAB 156 ‐ 160 ROUTE 17 NORTH                                                                             ROCHELLE PARK      NJ

METRO SCALE/MELVINDL                  17670 ALLEN RD                                                                                        MELVINDALE         MI 48122‐1058
METRO SECURESHRED INC                 7215 SULIER DR                                                                                        TEMPERANCE         MI 48182‐9510
METRO SERVICES ORGANIZATION           MSO ELECTRICAL                      ONE WASHINGTON BLVD STE 1020                                      DETROIT            MI 48226

METRO SPINE AND REHA                  PO BOX 413761                                                                                         KANSAS CITY        MO   64141‐3761
METRO SWEEP INC                       4557 HIGHLAND RD                                                                                      WATERFORD          MI   48328‐1132
METRO T‐SHIRT & GRAPHIX               35465 GODDARD RD                                                                                      ROMULUS            MI   48174‐1436
METRO TAXI                                                                3800 HOLLY ST                                                                        CO   80207
METRO TAXI                                                                65 INDUSTRY DR                                                                       CT   06516
METRO TECH                            ATTN FINANCE OFFICE                 1900 SPRINGLAKE DR                                                OKLAHOMA CITY      OK   73111‐5238
METRO TECHNOLOGIES LTD                1462 E BIG BEAVER RD                                                                                  TROY               MI   48083‐1950
METRO TIRE CO.                        1730 8TH AVE N                                                                                        NASHVILLE          TN   37208
METRO TRANSIT AUTHORITY                                                   1215 LABCO ST                                                                        TX   77029
METRO TRANSIT‐DEPT.TRANSP/DAVIS       400 YESLER WAY M.S. YES‐TR‐0700                                                                       SEATTLE            WA   98104
METRO TRUCK & TRACTOR LEASING         6730 INDUSTRIAL DR                                                                                    BELTSVILLE         MD   20705‐1271
METRO TRUCKING CO                     1181 EMBER CT                                                                                         MARCO ISLAND       FL   34145‐5801
METRO UNITED WAY INC                  775 SEXTON                                                                                            LOUISVILLE         KY   40289‐0001
METRO UNITED WAY INC DEPT 52860       PO BOX 950148                                                                                         LOUISVILLE         KY   40295‐0148
METRO VISION                          ATTN: JOHN CALBIRAI                 2875 W GRAND BLVD                                                 DETROIT            MI   48202‐2623
METRO WEST ANESTHESI                  PO BOX 958864                                                                                         SAINT LOUIS        MO   63195‐8864
METRO WIRE & CABLE CO                 36625 METRO CT                                                                                        STERLING HEIGHTS   MI   48312‐1009
METRO, ANGELO                         30431 OAKWOOD CIR                                                                                     NORTH OLMSTED      OH   44070‐3800
METRO, BETTY W                        1253 HOWARD ST                                                                                        CHEBOYGAN          MI   49721‐1484
METRO, DELORES                        11756 METEOR DR                                                                                       STERLING HEIGHTS   MI   48313‐5151
METRO, GEORGE H,                      GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                       NORFOLK            VA   23510‐2212
                                                                          STREET, SUITE 600
METRO, HELEN                          1123 VIA CONTENTO                                                                                     SANTA MARIA        CA   93454
METRO, HELEN                          2989 LAKE REDDING DR                                                                                  REDDING            CA   96003‐3301
METRO, JAMES R                        242 MORNING STAR DR                                                                                   HUNTSVILLE         AL   35811‐7828
METRO, JOAN M                         1063 OAKLAND AVE                                                                                      PLAINFIELD         NJ   07060‐3411
METRO, MARY R                         820 OAK KNOLL AVE NE                                                                                  WARREN             OH   44483‐5323
METRO, MICHAEL L                      PO BOX 104                                                                                            MILLINGTON         MI   48746‐0104
METRO, MICHAEL LEE                    PO BOX 104                                                                                            MILLINGTON         MI   48746‐0104
METRO, STEVE G                        1063 OAKLAND AVENUE                                                                                   PLAINFIELD         NJ   07060‐3411
METRO‐AUTO TAMPERE OY                 TANINKATU 3                                                                   TAMPERE 33400 FINLAND
METRO‐HOME NYC                        515 MADISON AVE FL 25                                                                                 NEW YORK           NY 10022‐5424
METRO. WATER DIST. OF SOUTHERN                                            610 N FIGUEROA ST                                                                    CA 90012
CALIFORNIA
METROCAR S.A.                         AV. REPUBLICA DE PANAMA 16                                                    LIMA PERU
METROGRAPH/COLUMBIA                   808 NASHVILLE HWY                                                                                     COLUMBIA           TN   38401‐2431
METROHEALTH PROFESSI                  PO BOX 931475                                                                                         CLEVELAND          OH   44193‐1623
METROHM USA                           6555 PELICAN CREEK CIR                                                                                RIVERVIEW          FL   33578‐8653
METROL COMPANY                        345 RIDGE RD                                                                                          GROSSE POINTE      MI   48236‐3057
METROL COMPANY                        5523 E 9 MILE RD                                                                                      WARREN             MI   48091‐3606
METROL COMPANY INC                    5523 E 9 MILE RD                                                                                      WARREN             MI   48091‐3606
METROL COMPANY INC                    345 RIDGE RD                                                                                          GROSSE POINT       MI   48236‐3057
METROL/DETROIT                        345 RIDGE RD                                                                                          GROSSE POINTE      MI   48236‐3057
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Name                                 Address1                             Address2                     Address3       Address4         City            State Zip
METROLINA ERGO/MCMIN                 219 PIKE HILL RD                                                                                  MC MINNVILLE     TN 37110‐1023
METROLINA ORTHOPAEDI                 335 BILLINGSLEY ROAD                                                                              CHARLOTTE        NC 28211
METROLOGIC GROUP SERVICES INC        28064 CENTER OAKS CT #100                                                                         WIXOM            MI 48393‐3343
METROLOGY SUPPORT SERVICES INC       840 COMMERCE PARKWAY                                                                              FORTVILLE        IN 46040
METROLOGY SUPPORT SERVICES INC       840 COMMERCE PKY                                                                                  FORTVILLE        IN 46040
METROMEDIA ENERGY INC                ACCOUNTS RECEIVABLE DEPT             PO BOX 48058                                                 NEWARK           NJ 07101‐4858
METRON PRECISION INC                 29671 W SIX MILE RD                                                                               LIVONIA          MI 48152
METRON PRECISION INC                 29671 6 MILE RD                                                                                   LIVONIA          MI 48152
METRON PRECISION INC                 ATTN: CORPORATE OFFICER/AUTHORIZED   29671 W SIX MILE RD                                          LIVONIA          MI 48152
                                     AGENT
METRONOM US INC                      4750 S STATE RD                                                                                   ANN ARBOR       MI    48108‐2226
METROPLEX PAIN MANAG                 1600 CENTRAL DR STE 160                                                                           BEDFORD         TX    76022‐6029
METROPLEX TRAINING CENTER            PO BOX 2003                                                                                       EULESS          TX    76039‐7003
METROPOLITAN AIR COMPRESSOR CO       29191 GROESBECK HWY                                                                               ROSEVILLE       MI    48066‐1921
METROPOLITAN AMBULANCE SERVICES      6750 EASTWOOD TRAFFIC WAY                                                                         KANSAS CITY     MO    64129
TRUST
METROPOLITAN ANESTHE                 400 ANN ST NW STE 209                                                                             GRAND RAPIDS    MI 49504‐2054
METROPOLITAN ASSOCIATES              1123 N ASTOR ST                                                                                   MILWAUKEE       WI 53202‐3326
METROPOLITAN ATLANTA RAPID TRANSIT   C/O GEORGE F SANDERSON III           ELLIS & WINTERS LLP          PO BOX 33550                    RALEIGH         NC 27636
AUTHORITY (MARTA)
METROPOLITAN AUTO CENTER             INTERCOMPANY
METROPOLITAN AUTO DEALERS            1710 N BROADWAY AVE                                                                               OKLAHOMA CITY   OK 73103‐3417
ASSOCIATION
METROPOLITAN CLUB/IL                 233 SOUTH WACKER DRIVE               SEARS TOWER                                                  CHICAGO         IL    60606
METROPOLITAN COMMUNITY COLLEGE       PO BOX 3777                          BUSINESS OFFICE                                              OMAHA           NE    68103‐0777
METROPOLITAN COMMUNITY COLLEGE       BLUE SPRINGS CAMPUS                  1501 NW JEFFERSON ST                                         BLUE SPRINGS    MO    64015‐7242
METROPOLITAN COMMUNITY COLLEGE       BUSINESS OFFICE                      2601 NE BARRY RD                                             KANSAS CITY     MO    64156‐1254
METROPOLITAN COMMUNITY COLLEGE       PENN VELLEY CAMPUS                   3201 SOUTHWEST TRFY                                          KANSAS CITY     MO    64111‐2727
METROPOLITAN COMMUNITY               1775 UNIVERSAL AVE                                                                                KANSAS CITY     MO    64120‐1318
COLLEGEBUSINESS & TECHNOLOGY
CENTER
METROPOLITAN COMMUNITY               6899 EXECUTIVE DR                                                                                 KANSAS CITY     MO 64120‐1313
COLLEGEBUSINESS AND TECHNOLOGY
CENTER
METROPOLITAN COURT REPORT            9200 INDIAN CREEK PKWY STE 205                                                                    OVERLAND PARK   KS    66210‐2088
METROPOLITAN CREDIT UNION            200 REVERE BEACH PKWY                                                                             CHELSEA         MA    02150‐1608
METROPOLITAN CRUSADE OF MERCY        560 W LAKE ST                                                                                     CHICAGO         IL    60661
METROPOLITAN DETROIT CONVENTION &    211 W FORT ST STE 1000                                                                            DETROIT         MI    48226‐3240
VISITORS BUREAU
METROPOLITAN DISTRICT COMMISSION                                          50 MURPHY RD                                                                  CT   06114

METROPOLITAN EMERGENCY MEDICAL       JON SWASON                           PO BOX 2452                                                  LITTLE ROCK     AR 72203‐2452
SERVICES (MEMS)
METROPOLITAN ENTERPR                 1945 BOSTON ST SE STE 400                                                                         GRAND RAPIDS    MI 49506‐4100
METROPOLITAN GROUP PROPERTY &        GOLDMAN & GRANT                      205 W RANDOLPH ST STE 1100                                   CHICAGO         IL 60606‐1813
CASUALTY INSURANCE COMPANY
METROPOLITAN HOME HEALTH             ATTN MARV BASUEGO                    1145 W 6TH ST                                                LOS ANGELES     CA    90017‐1828
METROPOLITAN HOSP                    PO BOX 159                                                                                        GRAND RAPIDS    MI    49501‐0159
METROPOLITAN LIF/DET                 3031 W GRAND BLVD                    525 NEW CENTER ONE                                           DETROIT         MI    48202‐3044
METROPOLITAN LIFE INS CO             NCO BLDG 6TH FL                      3031 W GRAND BLVD                                            DETROIT         MI    48202‐3044
METROPOLITAN LIFE INS CO             22530 TELEGRAPH RD STE 580                                                                        SOUTHFIELD      MI    48033
METROPOLITAN LIFE INS CO             3031 W GRAND BLVD                    600 NEW CENTER ONE                                           DETROIT         MI    48202‐3044
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Name                                  Address1                            Address2                      Address3                  Address4          City            State Zip
METROPOLITAN LIFE INSURANCE CO        C/O LAWERENCE P GALIE               FINANCIAL FACILITY‐ARGO       DO NOT REISSUE/NON‐ACTIVE                   (313)556 0320

METROPOLITAN LIFE INSURANCE CO        ATTN ANN FALLON                     PO BOX 3033                                                               UTICA            NY   13504‐3033
METROPOLITAN LIFE INSURANCE CO        C\O DANIEL REALTY CORP              3030 N ROCKY POINT DR W                                                   TAMPA            FL   33607
METROPOLITAN LIFE INSURANCE CO        GM NATIONAL BENEFIT CENTER          PO BOX 5149                                                               SOUTHFIELD       MI   48086‐5149
METROPOLITAN LIFE INSURANCE CO        1 MADISON AVE                                                                                                 NEW YORK         NY   10010
METROPOLITAN LIFE INSURANCE           25300 TELEGRAPH RD STE 580                                                                                    SOUTHFIELD       MI   48033‐7488
COMPANY
METROPOLITAN LIFE INSURANCE           ONE MADISON AVENUE                                                                                            NEW YORK         NY 10010
COMPANY
METROPOLITAN LIFE INSURANCE           ATTN: DIRECTOR‐OFFICER IN CHARGE    101 E KENNEDY BLVD STE 2330                                               TAMPA            FL   33602‐5147
COMPANY
METROPOLITAN LIFE INSURANCE           2400 LAKEVIEW PARKWAY, SUITE 400    ATTN: LEGAL DEPT                                                          ALPHARETTA       GA 30004‐1976
COMPANY
METROPOLITAN LIFE INSURANCE
COMPANY
METROPOLITAN MOTORS INC               10221 W ARTHUR AVE                                                                                            WEST ALLIS       WI 53227‐2004
METROPOLITAN MOTORS S.A.              NVA. AV. TOMAS MARSANO NO.                                                                  LIMA PERU
METROPOLITAN MOTORS, INC.             10221 W ARTHUR AVE                                                                                            WEST ALLIS      WI 53227‐2004
METROPOLITAN MOTORS, INC.             MAX STEPHENSON                      10221 W ARTHUR AVE                                                        WEST ALLIS      WI 53227‐2004
METROPOLITAN MOTORS/GE FLEET          3 CAPITAL DR                                                                                                  EDEN PRAIRIE    MN 55344‐3890
SERVICS
METROPOLITAN P & C INSURANCE          PLOUFFE RICHARD J                   40 GROVE ST STE 220                                                       WELLESLEY       MA 02482‐7752
COMPANY
METROPOLITAN P&C INSURANCE CO         ATTN RICHARD J PLOUFFE ESQ          40 GROVE ST STE 220                                                       WELLESLEY       MA 02482
METROPOLITAN PIER & EXPO AUTHORITY    MCCORMICK PL                        75 REMITTANCE DR STE 1362                                                 CHICAGO         IL 60675‐1362

METROPOLITAN PIER &                   75 REMITTANCE DR DEPT 1348                                                                                    CHICAGO          IL   60675‐1348
EXPOSITIONAUTHORITY
METROPOLITAN PLASTIC                  70 JUNGERMANN CIR STE 402                                                                                     SAINT PETERS    MO    63376‐1637
METROPOLITAN POLICE DEPARTMENT        2175 W VIRGINIA AVE NE                                                                                        WASHINGTON      DC    20002‐1833
METROPOLITAN PROPERTY                 PO BOX 350                                                                                                    WARWICK         RI    02887‐0350
METROPOLITAN PROPERTY & CASUALTY      SKELLEY ROTTNER PC LAW OFFICES OF   433 SOUTH MAIN STREET                                                     WEST HARTFORD   CT    06110
INSURANCE COMPANY
METROPOLITAN PROPERTY & LIABILITY INS LAING LYNDA L                       403 S MAIN ST                                                             PROVIDENCE       RI   02903‐2914
CO
METROPOLITAN REPORTING INC            831 N WASHINGTON AVE                                                                                          LANSING         MI    48906
METROPOLITAN SAAB OF WEST ALLIS       10221 W ARTHUR AVE                                                                                            WEST ALLIS      WI    53227‐2004
METROPOLITAN SAAB OF WEST ALLIS       STEPHENSON, MAX L.                  10221 W ARTHUR AVE                                                        WEST ALLIS      WI    53227‐2004
METROPOLITAN SEWER DISTRICT                                               1900 SULPHUR AVE                                                                          MO    63110
METROPOLITAN ST. LOUIS SEWER DISTRICT 1900 SULPHUR AVE                                                                                              SAINT LOUIS     MO    63110‐1915

METROPOLITAN STATE COLLEGE OF         PO BOX 173362                       CAMPUS BOX 92                                                             DENVER           CO 80217‐3362
DENVER
METROPOLITAN STATE UNIVERSITY         CASHIER OFFICE                      700 7TH ST E                                                              SAINT PAUL      MN    55106‐5003
METROPOLITAN TRANS SERVICES INC       522 LOCUST LN                                                                                                 KANSAS CITY     MO    64106‐1204
METROPOLITAN TRANSIT AUTHORITY        1201 LOUISIANA                                                                                                HOUSTON         TX    77002
METROPOLITAN TRANSPORTATION           DIRECTOR OF REAL ESTATE             347 MADISON AVE.                                                          NEW YORK        NY    10017
AUTHORITY
METROPOLITAN TRANSPORTATION           LESTER G FREUNDLICH, ESQ SENIOR     METROPOLITAN TRANSPORTATION   347 MADISON AVE                             NEW YORK         NY 10017
AUTHORITY                             ASSOCIATE COUNSEL                   AUTHORITY
METROPOLITAN TRUCK                    1074 TURNPIKE ST                                                                                              STOUGHTON       MA 02072‐1119
                                   09-50026-mg              Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit B
                                                                       Part 25 of 40 Pg 469 of 905
Name                               Address1                               Address2                         Address3   Address4              City              State Zip
METROPOLITAN TRUSTEE               PO BOX 30512                                                                                             NASHVILLE          TN 37230
METROPOLITAN TRUSTEE               ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 305012                                                     NASHVILLE          TN 37230‐5012

METROPOLITAN TRUSTEE               PO BOX 305012                                                                                            NASHVILLE         TN 37230‐5012
METROPOLITAN UNITED MTHDST CHR     ATTN: TONYA ARNESEN                   8000 WOODWARD AVE                                                  DETROIT           MI 48202‐2528
METROPOLITAN WASHINGTON AIRPORTS                                         1 AVIATION CIR                                                                       DC 20001
AUTHORITY
METROPOLITAN WATER DISTRICT OF                                           18250 LA SIERRA AVE                                                                  CA 92503
SOUTHERN CALIFORNIA
METROPOLITAN WILMINGTON URBAN      100 W 10TH ST STE 710                                                                                    WILMINGTON        DE 19801‐6605
LEAGUE
METROPOLITAN/DETROIT               3031 W GRAND BLVD                     660 NEW CENTER ONE                                                 DETROIT           MI 48202‐3044
METROPOLITAN/GE FLEET SERVICES     3 CAPITAL DR                                                                                             EDEN PRAIRIE      MN 55344‐3890
METROPOLITIAN LIFE INSURANCE       C/O TAYLOR & MATHIS, INC.             2901 S.W. 149TH AVE., SUITE 120                                    MIRIMAR           FL 33027
COMPANY
METROPOLITIAN PARKING SERVICES
METROPOLITIAN PARKING SERVICES     PETE BREWIS, PRESIDENT                200 RENAISSANCE CTR STE B‐2800                                     DETROIT           MI 48243‐1310

METROPOLITIAN PARKING SERVICES     ATTN: PETE BREWIS, PRESIDENT          200 RENAISSANCE CTR STE B‐2800                                     DETROIT           MI 48243‐1310

METROPOULOS, GEORGE J              3509 RICHARDSON ST                                                                                       NORTH PORT        FL   34288
METROPOULOS, GEORGE J              N7360 LAKE BLVD                                                                                          ENGADINE          MI   49827‐9514
METROPROMO INCORPORATED            3031 W GRAND BLVD                     626 NEW CENTER 1 BLDG                                              DETROIT           MI   48202‐3044
METROS, CHARLES T                  PO BOX 182351                                                                                            JACKSON           NJ   08527
METROS, CONSTANTINE                666 GARLAND PL                                                                                           DES PLAINES       IL   60016‐4725
METROS, GUS                        3614 LEXINGTON DR                                                                                        AUBURN HILLS      MI   48326‐3976
METROS, VIOLA E                    21 BOXWOOD DR                                                                                            JACKSON           NJ   08527‐3504
METROSE, ROBERT E                  427 73RD ST                                                                                              NIAGARA FALLS     NY   14304‐3205
METROSONICS/1 DRUMLN               1 DRUMLIN SQUARE                                                                                         WEST HENRIETTA    NY   14586
METROTEX ASSOCIATION OF REALTORS   8201 N STEMMONS FREEWAY                                                                                  DALLAS            TX   75247

METROWEST ORTHO & SP               67 UNION ST                                                                                              NATICK            MA   01760‐7700
METRPOLITAN PROPERTY               PO BOX 350                                                                                               WARWICK           RI   02887‐0350
METS, EARL                         GM CORP 3‐220 (BRAZIL)                                                                                   DETROIT           MI   48202
METS, RICHARD G                    15706 HARBISON DR                                                                                        MACOMB            MI   48042‐2228
METSGER, ELIZABETH                 2901 OCTAGON AVE                                                                                         SINKING SPRING    PA   19608‐1017
METSKER, DAVID A                   17111 HAZEL DELL RD                                                                                      NOBLESVILLE       IN   46062‐6913
METSKER, RUBY Y                    16955 HAZEL DELL RD                                                                                      NOBLESVILLE       IN   46062‐6913
METT PTY LTD                       CHRISTINA LONGO                       28‐30 OVERSEAS DRIVE                         WITHAM ESSEX GREAT
                                                                                                                      BRITAIN
METT PTY LTD                       51752 DANVIEW TECHNOLOGY COURT                                                                           SHELY TOWNSHIP    MI 48315
METT PTY LTD                       28‐38 OVERSEAS DR                                                                  NOBLE PARK VI 3174
                                                                                                                      AUSTRALIA
METT, PAUL A                       533 TREY CT                                                                                              GERMANTOWN        OH   45327‐1645
METTA JR, ALFRED J                 412 CATON AVE                                                                                            BROOKLYN          NY   11218‐1704
METTA L RHOTON                     3421 PINNACLE RD                                                                                         DAYTON            OH   45418‐2918
METTA MARRELLO                     9541 MANSFIELD AVE                                                                                       OAK LAWN          IL   60453‐2810
METTA RHOTON                       3421 PINNACLE ROAD                                                                                       MORAINE           OH   45418‐2918
METTA TEDLOCK                      933 S ARMSTRONG ST                                                                                       KOKOMO            IN   46901‐5379
METTAM, DIANE M                    3358 PALM AIRE DR                                                                                        ROCHESTER HILLS   MI   48309‐1048
METTAUER, JOSEPH
METTE, RICHARD K                   46542 BEN FRANKLIN DR                                                                                    SHELBY TWP        MI 48315‐5213
                                    09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit B
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Name                               Address1                        Address2                   Address3   Address4            City               State Zip
METTEE, CHARLOTTE A                3795 MONACA AVE                                                                           YOUNGSTOWN          OH 44511‐2649
METTEL, MICHAEL G                  602 N GENE PL                                                                             TUCSON              AZ 85710
METTEN HAZEL (663698)              SIMMONS FIRM                    PO BOX 521                                                EAST ALTON           IL 62024‐0519
METTEN, BRIAN J                    664 FIELDSTONE DR                                                                         COOPERSVILLE        MI 49404‐8414
METTEN, BRIAN J.                   664 FIELDSTONE DR                                                                         COOPERSVILLE        MI 49404‐8414
METTENBURG, JAMES M                6709 MEADOWCREST DR                                                                       DOWNERS GROVE        IL 60516‐3547
METTER, CARLOTTA A                 1127 RIDGEVIEW DR                                                                         BRUNSWICK           OH 44212‐2834
METTER, JUNE S                     896 CENTRAL PARKWAY, S.E.                                                                 WARREN              OH 44484‐4467
METTER, KENNETH R                  312 ORCHARD COVE DR                                                                       OTISVILLE           MI 48463‐9495
METTER, STEVEN R                   582 S ELBA RD                                                                             LAPEER              MI 48446‐2775
METTERT, JEFFREY L                 1220 TYLER ST                                                                             SANDUSKY            OH 44870‐3150
METTES, KENNETH J                  14857 PHILOMENE BLVD                                                                      ALLEN PARK          MI 48101‐2123
METTETAL, DANNY L                  8445 N LILLEY RD                                                                          CANTON              MI 48187‐2080
METTETAL, DAVID J                  1433 MAYBERRY LN                                                                          FRANKLIN            TN 37064‐9613
METTI, ELEANOR K                   6825 STONEY RIDGE RD                                                                      NORTH RIDGEVILLE    OH 44039‐2949
METTIAS, NEAL                      PAUL HANLEY & HARLEY            1608 4TH ST STE 300                                       BERKELEY            CA 94710‐1749
METTICA, DOLORES                   162 CHIMNEY HILL RD                                                                       YALESVILLE          CT 06492‐1600
METTIE EVANS                       PO BOX 3441                                                                               SAGINAW             MI 48605‐3441
METTIE KING                        PO BOX 1723                                                                               SAGINAW             MI 48605‐1723
METTIE R KING                      PO BOX 1723                                                                               SAGINAW             MI 48605‐1723
METTIE, BONNIE J                   12120 LANDERS DR                                                                          PLYMOUTH            MI 48170‐3521
METTIE, GARY R                     1227 TIMBERVIEW TRL                                                                       BLOOMFIELD          MI 48304‐1556
METTILLE, JOSEPH C                 1368 BRISTOL DOWNS RD                                                                     NEWARK              OH 43055‐3358
METTILLE, LESTER T                 213 S MONROE ST                                                                           WATERTOWN           WI 53094‐4218
METTIMANO, NICKOLAS J              4094 PECHIN ST                                                                            PHILADELPHIA        PA 19128
METTLE GARY R                      1227 TIMBERVIEW TRL                                                                       BLOOMFIELD HILLS    MI 48304‐1556
METTLEN, ROBERT R                  110 PIZARRO AVE                                                                           RANCHO VIEJO        TX 78575‐9676
METTLER JR, MARVIN WALTER          469 81ST STREET                                                                           NIAGARA FALLS       NY 14304‐3305
METTLER TOLEDO INC                 1900 POLARIS PARKWAY                                                                      COLUMBUS            OH 43240
METTLER TOLEDO INC                 1900 POLARIS PKY                PO BOX 1705                                               COLUMBUS            OH 43240
METTLER TOLEDO INTERNATIONAL INC   1900 POLARIS PKY                PO BOX 1705                                               COLUMBUS            OH 43240
METTLER TOLEDO INTERNATIONAL INC   60 COLLEGEVIEW RD                                                                         WESTERVILLE         OH 43081‐1429
METTLER, BOYD R                    60 PACELINE CIR                 ROOM 424                                                  XENIA               OH 45385‐6601
METTLER, BOYD R                    60 PACELINE CIR STE 424                                                                   XENIA               OH 45385‐1280
METTLER, CHARLES W                 2845 HESS RD                                                                              APPLETON            NY 14008‐9636
METTLER, CYNTHIA                   1308 FOSTORIA AVE                                                                         FINDLAY             OH 45840‐6212
METTLER, JOHN F                    13512 EAGLEVILLE RD                                                                       N BALTIMORE         OH 45872‐9700
METTLER, JOHN FRANKLIN             13512 EAGLEVILLE RD                                                                       N BALTIMORE         OH 45872‐9700
METTLER, JOSEPH E                  25794 EASY WAY DR                                                                         GUILFORD            IN 47022‐7315
METTLER, MARION L                  2845 HESS RD                                                                              APPLETON            NY 14008‐9636
METTLER, NORMA                     469 81ST STREET                                                                           NIAGARA FALLS       NY 14304
METTLER, NORMA                     469 81ST ST                                                                               NIAGARA FALLS       NY 14304‐3305
METTLER, VIVIAN M                  2426 PINE LAKE AVE                                                                        KEEGO HARBOR        MI 48320‐1429
METTLER‐TOLEDO INC
METTLER‐TOLEDO INC                 60 COLLEGEVIEW RD                                                                         WESTERVILLE        OH 43081‐1429
METTLER/HIGHSTOWN                  PO BOX 71                       PRINCETON HIGHSTOWN ROAD                                  HIGHTSTOWN         NJ 08520‐0071
METTRAUX PIERRE‐ALAIN              PRAIRIE 19                                                            1720 CORMIN BOEUF
                                                                                                         SWITZERLAND
METTRAUX, PIERRE‐ALAIN             PRAIRIE 19                                                            1720 CORMINBOEUF
                                                                                                         SWITZERLAND
METTRICK, STANLEY                  86 MCGUIRE RD                                                                             ROCHESTER          NY 14616‐2329
METTS TOMMY LEE                    METTS, TOMMY LEE
                         09-50026-mg              Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                     Address1                         Address2                        Address3                  Address4         City            State Zip
METTS VICKY              1760 WILLA CIR                                                                                              WINTER PARK      FL 32792‐6343
METTS, EMILY             1792 FOREST DR                                                                                              ORANGEBURG       SC 29118‐1962
METTS, EMORY             C/O THE LIPMAN LAW FIRM          5915 PONCE DE LEON BLVD         SUITE 44                                   CORAL GABLES     FL 33146
METTS, FRANKLIN D        8052 WALLACE RD                                                                                             BALTIMORE        MD 21222‐2607
METTS, JEROME B          203 N DONEGAL ST                                                                                            EATON RAPIDS     MI 48827‐1388
METTS, JUNE A            1032 E 37TH PL                                                                                              TULSA            OK 74105‐3013
METTS, PAUL R            3539 W 69TH ST                                                                                              CLEVELAND        OH 44102‐5419
METTY, BONNIE R.         822 SAINT CLAIR ST APT D                                                                                    GROSSE POINTE    MI 48230‐2111
METTY, DENIS J           20870 PALOMA ST                                                                                             ST CLAIR SHRS    MI 48080‐1123
METTY, DUANE G           8140 38TH ST S                                                                                              SCOTTS           MI 49088‐9354
METTY, MARK C            23 BARTLETT RD                                                                                              MONSEY           NY 10952‐1709
METWEST SERVICING        ACCT OF WILLIAM R BROOKS         929 W SPRAGUE AVE                                                          SPOKANE          WA 99201‐4014
METYK, VIRGINIA          7504 WAKE ROBIN DR                                                                                          PARMA            OH 44130‐7658
METZ JR, JOHN A          9598 N COUNTY ROAD 300 E                                                                                    BRAZIL           IN 47834‐7640
METZ MARVIN L (409632)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510
                                                          STREET, SUITE 600
METZ PHILLIP (446331)    BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD      OH 44067
                                                          PROFESSIONAL BLDG
METZ RICHARD (464866)    WEITZ & LUXENBERG P.C.           180 MAIDEN LANE                                                            NEW YORK        NY 10038
METZ SARAH & DYLAN       METZ, SARAH                      120 WEST MADISON STREET 10TH                                               CHICAGO         IL 60602
                                                          FLOOR
METZ SARAH & DYLAN       METZ, DYLAN                      KROHN & MOSS ‐ MN               120 WEST MADISON STREET                    CHICAGO          IL   60602
                                                                                          10TH FLOOR
METZ WILBUR L (429454)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                                NORFOLK         VA 23510
                                                          STREET, SUITE 600
METZ, ALBERT H           23212 COLUMBIA ST                                                                                           DEARBORN        MI    48124‐2525
METZ, ALBERT J           165 BENTWILLOW DR                                                                                           NILES           OH    44446‐2026
METZ, ALBERT J.          165 BENTWILLOW DR                                                                                           NILES           OH    44446‐2026
METZ, ANTHONY D          916 CANARY LN                                                                                               MANSFIELD       TX    76063‐1559
METZ, BERNICE L          9863 COMPTON RD                                                                                             WAYNESVILLE     OH    45068‐8515
METZ, BONNIE             1203 RIVER POINTE DRIVE                                                                                     ALBANY          GA    31701‐4769
METZ, CEROBIA M          21017 CEROBIA LANE S W                                                                                      RAWLINGS        MD    21557‐2100
METZ, CHARLES W          2024 OHLTOWN MCDONALD RD                                                                                    MC DONALD       OH    44437‐1314
METZ, DANA E             30 DESERT PEAK CT                                                                                           SPARKS          NV    89441‐8217
METZ, DANA E.            30 DESERT PEAK CT                                                                                           SPARKS          NV    89441‐8217
METZ, DANIEL J           18622 COURTNEY RD                                                                                           BELOIT          OH    44609‐9217
METZ, DANNY A            1211 PEGGY LN                                                                                               KENNEDALE       TX    76060‐5828
METZ, DAVE H             21649 BOWMAN RD                                                                                             DEFIANCE        OH    43512‐6892
METZ, DAVE HOWARD        21649 BOWMAN RD                                                                                             DEFIANCE        OH    43512‐6892
METZ, DEBORAH A          23038 PETERSBURG AVE                                                                                        EASTPOINTE      MI    48021‐2004
METZ, DENNIS             23038 PETERSBURG AVE                                                                                        EASTPOINTE      MI    48021‐2004
METZ, DONALD B           5745 KRAUS RD                                                                                               CLARENCE        NY    14031‐1362
METZ, DONALD E           21017 CEROBIA LN                                                                                            RAWLINGS        MD    21557‐2100
METZ, DONALD E           19503 SPRING VALLEY DR                                                                                      HAGERSTOWN      MD    21742‐2411
METZ, DOROTHY A          4200 BALD EAGLE LAKE RD                                                                                     HOLLY           MI    48442‐8779
METZ, DUANE L            1948 FARMDALE AVE                                                                                           MINERAL RIDGE   OH    44440‐9506
METZ, EVELYN G           4320 LAKEWOOD RD                                                                                            MCHENRY         IL    60050‐3805
METZ, GEORGE E           446 SANDEHURST DR                                                                                           GRAND BLANC     MI    48439‐1556
METZ, GERALD M           8115 N 18TH ST                   APT 229                                                                    PHOENIX         AZ    85020‐6901
METZ, GERALD M           8115 N 18TH ST APT 229                                                                                      PHOENIX         AZ    85020‐6901
METZ, GERALD W           8303 HOLLY DR                                                                                               CANTON          MI    48187‐4237
METZ, GREGORY L          18622 COURTNEY RD                                                                                           BELOIT          OH    44609‐9217
                                  09-50026-mg              Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
                                                                      Part 25 of 40 Pg 472 of 905
Name                             Address1                          Address2                         Address3                    Address4                 City             State Zip
METZ, JAMES D                    9732 N COUNTY ROAD 300 E                                                                                                BRAZIL            IN 47834‐7640
METZ, JAMES J                    45234 METZ RD                                                                                                           COLUMBIANA        OH 44408‐9614
METZ, JAMES L                    111 PIONEER WAY                                                                                                         FOSS              OK 73647‐9029
METZ, JEANETTE M                 223 HEWITT AVE                                                                                                          BUFFALO           NY 14215‐1523
METZ, JOHN O                     18655 CHERRY LN SW                                                                                                      FROSTBURG         MD 21532‐3707
METZ, LARRY L                    17226 STATE ROUTE 235                                                                                                   WAYNESFIELD       OH 45896‐9701
METZ, MARSHALL D                 HC 84 BOX 63                                                                                                            KEYSER            WV 26726‐9703
METZ, MARVIN L                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                           NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
METZ, MICHAEL F                  5316 OSBURN DR                                                                                                          TECUMSEH         MI    49286‐9587
METZ, MILDRED                    162 DONNA LEA BLVD                                                                                                      WILLIAMSVILLE    NY    14221‐3172
METZ, MINA R                     2996 POND LN                                                                                                            WARREN           OH    44481‐9279
METZ, MINA R                     2996 POND LN SW                                                                                                         WARREN           OH    44481‐9279
METZ, PAMELA J                   14465 WALSINGHAM RD APT 3                                                                                               LARGO            FL    33774‐3333
METZ, PATRICIA                   1112 KARNES AVE                                                                                                         DEFIANCE         OH    43512‐3022
METZ, PATRICIA                   1112 KARNES                                                                                                             DEFIANCE         OH    43512‐3022
METZ, PHILIP E                   7 JOY LN                                                                                                                LEVITTOWN        PA    19055‐2503
METZ, PHILLIP                    BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                          NORTHFIELD       OH    44067
                                                                   PROFESSIONAL BLDG
METZ, RALPH K                    4039 SW 53RD PL                                                                                                         PORTLAND         OR    97221‐2015
METZ, RAYMOND E                  407 ALMERIA CT                                                                                                          WINTER SPRINGS   FL    32708‐3912
METZ, RICHARD                    WEITZ & LUXENBERG P.C.            180 MAIDEN LANE                                                                       NEW YORK         NY    10038
METZ, RICHARD C                  1707 KENT DR                                                                                                            ARLINGTON        TX    76010‐8232
METZ, RICHARD E                  271 LAKE DRIVE CLEAR LK                                                                                                 FREMONT          IN    46737‐9509
METZ, ROBERT B                   1635 FAIR HOUSE RD                                                                                                      SPRING HILL      TN    37174‐6111
METZ, ROBERT E                   6541 CASE RD                                                                                                            N RIDGEVILLE     OH    44039‐2725
METZ, ROBERT J                   4981 MURRAY PL                                                                                                          FAIRFIELD        OH    45014‐2727
METZ, RONALD E                   5130 WARMBRIAR RD                                                                                                       WHITE LAKE       MI    48383‐1471
METZ, RONALD L                   2258 LORAIN AVE                                                                                                         NEWTON FALLS     OH    44444‐9446
METZ, SHAWN C                    7620 STATE ROUTE 5                                                                                                      KINSMAN          OH    44428‐9731
METZ, THOMAS L                   2080 WESTLAWN DR                                                                                                        KETTERING        OH    45440‐1822
METZ, WAYNE H                    11 MCKENZIE CT                                                                                                          CHEEKTOWAGA      NY    14227‐3236
METZ, WILBUR L                   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                           NORFOLK          VA    23510‐2212
                                                                   STREET, SUITE 600
METZ, WILFRED W                  7187 PINE GROVE DR. S.E.                                                                                                HUBBARD          OH    44425‐3027
METZ, WILLIAM C                  4236 S HALIFAX CT                                                                                                       AURORA           CO    80013‐4585
METZ, WILLIAM R                  17194 WILLIAMS RD                                                                                                       MITCHELL         IN    47446‐4427
METZ, WILLIAM T                  16601 GARFIELD AVE SPC 92                                                                                               PARAMOUNT        CA    90723‐6398
METZE, GERHARD E                 810 WHIPPOORWILL LN                                                                                                     MANSFIELD        OH    44906‐3487
METZELBURG, DELBERT H            PO BOX 36                                                                                                               FENTON           MI    48430‐0036
METZELER AUTO PROFILE SYS IOWA   KATHERINE MILLER                  METZELER AUTO PROFILE SYS N AM   3200 MAIN STREET POB 2230                            WYTHEVILLE       VA    24382

METZELER AUTO PROFILE SYS IOWA   KATHERINE MILLER                  PO BOX 2230                      METZELER AUTO PROFILE SYS                            KEOKUK            IA   52632‐8230
                                                                                                    N AM
METZELER AUTO PROFILE SYSTEMS    KATHERINE MILLER                  RR1 AIRPORT INDUSTRIAL PK        P.O. BOX 10A                                         FOREST PARK      GA 30298
METZELER AUTOMOTIVE PROFILE SY   KATHERINE MILLER                  13209 S UNITEC DR                                            CELAYA GJ 38101 MEXICO
METZELER/GOMEZ                   BLVD GOMEZ PALACIO #265                                                                        GOMEZ PALACIO DU 35078
                                                                                                                                MEXICO
METZELER/MADISON HTS             36600 CORPORATE DR                                                                                                      FARMINGTON       MI    48331‐3546
METZENDORF, FLORENCE S           306 BONNIE BRAE NE                                                                                                      WARREN           OH    44483‐4483
METZENDORF, JOSEPH M             306 BONNIE BRAE AVE NE                                                                                                  WARREN           OH    44483‐5213
METZENDORF, PATRICIA             4048 WOODSIDE DR NW                                                                                                     WARREN           OH    44483‐4483
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                                                               Part 25 of 40 Pg 473 of 905
Name                        Address1                         Address2                      Address3   Address4         City                 State Zip
METZENDORF, PAUL F          8630 CARRIAGE HILL DR NE                                                                   WARREN                OH 44484‐1662
METZENDORF, STEPHEN P       4048 WOODSIDE DR NW                                                                        WARREN                OH 44483‐2157
METZER, BARRY               1526 OHMER AVE                                                                             DAYTON                OH 45410‐3014
METZER, CLAYTON W           14685 NORTH LITTLE SWEDEN ROAD                                                             NASHWAUK              MN 55769‐4016
METZGAR, EDWARD             317 S 10TH ST                                                                              CONNELLSVILLE         PA 15425‐2959
METZGAR, GREGORY C          2810 MCCONNELL HWY                                                                         CHARLOTTE             MI 48813‐8700
METZGAR, JAMES T            136 HERITAGE DR                                                                            BELOIT                OH 44609‐9602
METZGAR, JEFFREY S          10100 DUCK CREEK RD                                                                        SALEM                 OH 44460‐7627
METZGER JR, FRANCIS B       17150 STUART RD                                                                            CHESANING             MI 48616‐9798
METZGER JR, HENNING         PO BOX 785                                                                                 LOS GATOS             CA 95031‐0785
METZGER JR, NICHOLAS F      8586 N 200 W                                                                               THORNTOWN             IN 46071‐8943
METZGER JR, ROBERT W        8404 FIELDCREST CT                                                                         LOUISVILLE            KY 40299‐1379
METZGER JR, WILLIAM R       12469 SOUTH CO LINE                                                                        OTTAWA LAKE           MI 49267
METZGER ROBERT G (439333)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK               VA 23510
                                                             STREET, SUITE 600
METZGER WILLIAM (436885)    ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET , ONE                                BALTIMORE            MD 21202
                                                             CHARLES CENTER 22ND FLOOR
METZGER'S TIRE & AUTO       1399 DIAMOND DR                                                                            LOS ALAMOS           NM   87544‐2208
METZGER, ADAM W             136 S LINCOLN RD                                                                           BAY CITY             MI   48708‐9186
METZGER, ADAM WADE          136 S LINCOLN RD                                                                           BAY CITY             MI   48708‐9186
METZGER, ALBERT H           6687 GREENBRIAR LN                                                                         TEMPERANCE           MI   48182‐2223
METZGER, ALBERT T           7727 WOODLAWN AVE                                                                          PASADENA             MD   21122‐1812
METZGER, ALBERT TIMOTHY     7727 WOODLAWN AVE                                                                          PASADENA             MD   21122‐1812
METZGER, ALTHEA M           2259 KASSUBA RD                                                                            GAYLORD              MI   49735‐9109
METZGER, ANN M              76 E. 8002                                                                                 CLAYPOOL             IN   46510
METZGER, ANTHONY            719 HILLTOP DR                                                                             MILTON               WI   53563‐1637
METZGER, ARTHUR C           3082 3 MILE RD NE                                                                          GRAND RAPIDS         MI   49525‐3120
METZGER, BARBARA L          21019 MADISON ST                                                                           SAINT CLAIR SHORES   MI   48081‐2146
METZGER, BETTY O            106 KEWBURY RD APT 18                                                                      SPRINGFIELD          OH   45504
METZGER, CAROL              5770 HARTNECK RD                 C/O MR HERBERT METZGER                                    VALLEY CITY          OH   44280‐9767
METZGER, CATHERINE A.       615 N. CAPITOL                                                                             LANSING              MI   48933‐1230
METZGER, CHARLES D          6386 VASSAR RD                                                                             GRAND BLANC          MI   48439‐9763
METZGER, CHARLOTTE E        11483 E ROYAL RD                                                                           STANWOOD             MI   49346‐9748
METZGER, CHRISTOPHER T      2196 GLIDDEN RD                                                                            BEAVERTON            MI   48612‐9165
METZGER, CLIFFORD C         8651 W CROSSFIELD AVE                                                                      MILWAUKEE            WI   53225
METZGER, CYNTHIA A          3511 SUMMER DRIVE                                                                          FRIENDSVILLE         TN   37737
METZGER, CYNTHIA A.         3511 SUMMER DR                                                                             FRIENDSVILLE         TN   37737‐3177
METZGER, DANIEL L           50635 HAWTHORNE CT                                                                         NORTHVILLE           MI   48168‐6818
METZGER, DARYL W            178 VISTA DEL MAR DR                                                                       SANTA BARBARA        CA   93109‐1050
METZGER, DAVID              48391 SAND CASTLE CT                                                                       SHELBY TWP           MI   48315‐4315
METZGER, DAVID B            806 CHEROKEE ST                                                                            OSKALOOSA            KS   66066
METZGER, DEREK CHARLES
METZGER, DONALD E           7081 W 130TH ST APT 151M                                                                   PARMA HEIGHTS        OH   44130‐7849
METZGER, DOROTHY G          2306 E 10TH ST                                                                             ANDERSON             IN   46012‐4315
METZGER, DOROTHY M          93 PLEASANT                                                                                SPARTA               MI   49345‐1230
METZGER, DOROTHY M          93 PLEASANT ST                                                                             SPARTA               MI   49345‐1230
METZGER, ELMER I            1523 W MONROE ST                                                                           ALEXANDRIA           IN   46001‐8031
METZGER, ERICH R            113 COPELAND LN                                                                            YORKTOWN             VA   23692‐4831
METZGER, ETHAN F            13385 SPARTA AVE                                                                           KENT CITY            MI   49330‐9048
METZGER, EUGENE L           130 MILLWOOD VILLAGE DR                                                                    CLAYTON              OH   45315‐9682
METZGER, EUGENE R           1650 W 800 N                                                                               LEBANON              IN   46052‐8224
METZGER, GERALD W           440 SPADARO DR                                                                             VENICE               FL   34285‐3335
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Name                    Address1                         Address2                      Address3   Address4               City               State Zip
METZGER, GERTRUDE S     5018 PRIDES CT                                                                                   MURRYSVILLE         PA 15668‐2628
METZGER, GOLDIE E       5601 SOUTH DENIS COURT                                                                           HALES CORNERS       WI 53130‐2147
METZGER, GUY E          8376 PARKSIDE DR                                                                                 GRAND BLANC         MI 48439‐7436
METZGER, GUY EUGENE     8376 PARKSIDE DR                                                                                 GRAND BLANC         MI 48439‐7436
METZGER, HAROLD E       433 LINWOOD AVENUE               BRISTOLWOOD APT. #2                                             BUFFALO             NY 14209
METZGER, HELEN K        153 JOHNSARBOR DR W                                                                              ROCHESTER           NY 14620‐3628
METZGER, HENRY C        7297 ROBERTA LN                                                                                  WATERFORD           MI 48327‐3770
METZGER, JACK W         5650 STATE ROUTE 201                                                                             TIPP CITY           OH 45371‐8509
METZGER, JAMES A        5909 GLASGOW RD                                                                                  SYLVANIA            OH 43560‐1412
METZGER, JAMES ALBERT   5909 GLASGOW RD                                                                                  SYLVANIA            OH 43560‐1412
METZGER, JAMES F        13251 W SOUTH RANGE RD                                                                           SALEM               OH 44460‐9661
METZGER, JEANNE M       650 MILLBROOK RD                                                                                 RIVER EDGE          NJ 07661‐1430
METZGER, JEFFREY L      PO BOX 344                                                                                       GAINESVILLE         NY 14066‐0344
METZGER, JOHN           1132 N SCHEURMANN RD                                                                             ESSEXVILLE          MI 48732‐1721
METZGER, JOHN A         10410 KATZAFOGLE ST                                                                              MOUNT MORRIS        MI 48450‐8540
METZGER, JOHN A         9661 OLDE GEORGETOWN WAY                                                                         CENTERVILLE         OH 45458‐6095
METZGER, JOHN E         1926 REVERE LN                                                                                   JANESVILLE          WI 53545‐0936
METZGER, JOSEPH S       1268 HARDING RD                                                                                  ESSEXVILLE          MI 48732‐1713
METZGER, JULIA M        2505 CHICKASAW DRIVE                                                                             LONDON              OH 43140‐9014
METZGER, JUNE B         102 N EILEEN ST                                                                                  HAUBSTADT           IN 47639‐8113
METZGER, KELLY D        5679 MONROE ST APT 211                                                                           SYLVANIA            OH 43560‐2711
METZGER, KENNETH C      3025 E 7TH ST                                                                                    ANDERSON            IN 46012‐3829
METZGER, KENNETH E      386 LOCHAVEN AVE                                                                                 SPRINGFIELD         OR 97477‐1934
METZGER, KENNETH M      7069 KESSLING ST                                                                                 DAVISON             MI 48423‐2443
METZGER, LARRY E        5184 N GEORGETOWN RD                                                                             GRAND BLANC         MI 48439‐8775
METZGER, LARRY K        3025 E 7TH ST                                                                                    ANDERSON            IN 46012‐3829
METZGER, LEONARD J      5875 SEBEWAING RD                                                                                OWENDALE            MI 48754‐9775
METZGER, LEONARD P      271 ELWOOD DR                                                                                    ROCHESTER           NY 14616‐4444
METZGER, LOIS J         8670 WILDERNESS CIR                                                                              FREELAND            MI 48623‐8728
METZGER, LUCILLE A      9205 CUCKOLD POINT RD                                                                            BALTIMORE           MD 21219‐1639
METZGER, MARGA          4265 FIRESIDE DRIVE                                                                              WILLIAMSVILLE       NY 14221
METZGER, MARGARET M     664 NORTHFIELD                                                                                   MAUMEE              OH 43537‐2410
METZGER, MARIA LUZIA    AL. CAMPINAS 1497 APT 111        01404‐002                                SAO PAULO, SP BRAZIL
METZGER, MARTIN L       9882 MARBLE RD                                                                                   DELEVAN            NY    14042‐9464
METZGER, MARY L         9908 EDMUND DR                                                                                   BENBROOK           TX    76126‐4133
METZGER, MELVIN D       3262 DELEVAN DR                                                                                  SAGINAW            MI    48603‐1704
METZGER, MELVIN L       2084 LANGFORD RD                                                                                 NORTH COLLINS      NY    14111‐9704
METZGER, MICHAEL A      848 GRACE AVE                                                                                    ROCHESTER HLS      MI    48307‐4918
METZGER, PAMELA A       3290 PASADENA PL                                                                                 SAGINAW            MI    48603
METZGER, RAYMOND B      2184 CRAWFORD TOMS RUN RD                                                                        BROOKVILLE         OH    45309‐9793
METZGER, RICHARD A      2490 BRANDYWINE DR                                                                               DAVISON            MI    48423‐2391
METZGER, RICHARD H      7622 WESTFIELD RD                                                                                INDIANAPOLIS       IN    46240‐2837
METZGER, ROBERT G       GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                     NORFOLK            VA    23510
                                                         STREET, SUITE 600
METZGER, ROGER D        4 CYPRESS HOLW                                                                                   BLUFFTON            SC   29909‐5071
METZGER, RONALD
METZGER, RONALD E       8127 BULLNECK RD                                                                                 BALTIMORE          MD    21222‐6030
METZGER, SAMUEL D       81 MAPLE LN                                                                                      MANSFIELD          OH    44906‐2344
METZGER, SARAH E        2780 E 1300 S                                                                                    NORTH MANCHESTER   IN    46962‐9021
METZGER, SIDNEY G       3340 MECHANICSBURG RD                                                                            SPRINGFIELD        OH    45503‐1831
METZGER, TANI S         6386 VASSAR RD                                                                                   GRAND BLANC        MI    48439
METZGER, THOMAS J       10685 SCOTTS CORNER RD                                                                           DIAMOND            OH    44412‐9754
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Name                        Address1                         Address2                         Address3   Address4         City            State Zip
METZGER, THOMAS O           5191 OLD TROY PIKE ST RT 202                                                                  DAYTON           OH 45424
METZGER, THOMAS W           4069 LYLE RD                                                                                  BEAVERTON        MI 48612‐8604
METZGER, WILLIAM            ANGELOS PETER G LAW OFFICES OF   100 N CHARLES STREET, ONE                                    BALTIMORE        MD 21202
                                                             CHARLES CENTER 22ND FLOOR
METZGER, WILLIAM R          5679 MONROE ST APT 211                                                                        SYLVANIA        OH   43560‐2711
METZING, DAVID R            36019 JENNIE LN                                                                               PINEHURST       TX   77362‐1903
METZING, LENORA S           3822 LIVINGSTON HWY                                                                           CELINA          TN   38551‐3531
METZING, RICHARD L          300 W H ST                                                                                    IRON MOUNTAIN   MI   49801‐4611
METZING, RICHARD LEE        300 W H ST                                                                                    IRON MOUNTAIN   MI   49801‐4611
METZINGER SR, ROBERT G      251 PATTERSON RD LOT 37                                                                       HAINES CITY     FL   33844
METZINGER, CATHERINE R      110 MILL ST                                                                                   WILLIAMSVILLE   NY   14221‐5549
METZINGER, CATHERINE R      110 MILL STREET                                                                               WILLIAMSVILLE   NY   14221‐5549
METZINGER, NORMAN F         223 SOMERSHIRE DR                                                                             ROCHESTER       NY   14617‐5623
METZKA THEODORE             GRANGE MUTUAL CASUALTY COMPANY   55 PUBLIC SQ STE 800                                         CLEVELAND       OH   44113‐1909

METZKA THEODORE             METZKA, THEODORE                 55 PUBLIC SQ STE 800                                         CLEVELAND       OH 44113‐1909
METZKA, THEODORE
METZKE, JACQUELINE          21737 ARROWHEAD                                                                               ST CLAIR SHRS   MI   48082‐1251
METZLER AUTO/REIDSVL        226 WATLINGTON INDUSTRIAL DR                                                                  REIDSVILLE      NC   27320‐8147
METZLER CLYDE M & WILMA S   1100 N PRICETOWN RD                                                                           DIAMOND         OH   44412‐9603
METZLER DAVID E & JANE C    14187 MAHONING AVE                                                                            NORTH JACKSON   OH   44451‐9616
METZLER MARY L 2D ACTION    METZLER, MARY LEE                17931 GEORGIA HIGHWAY 67S                                    STATESBORO      GA   30458
                                                             #2101
METZLER MARY LEE            METZLER, MARY LEE                2801 NOBLE CREEK DR NW                                       ATLANTA         GA   30327‐5116
METZLER, BERNADETTE M       PO BOX 131                                                                                    BARKER          NY   14012‐0131
METZLER, BLANCHE P          609 E ATHERTON RD                                                                             FLINT           MI   48507‐2796
METZLER, BLANCHE P          609 E. APHERTON RD.                                                                           FLINT           MI   48507
METZLER, CLYDE M            1100 N PRICETOWN RD                                                                           DIAMOND         OH   44412‐9603
METZLER, COLIN E            893 REVERE VILLAGE CT APT F                                                                   CENTERVILLE     OH   45458‐3427
METZLER, DAVID A            2706 KELLAR AVE                                                                               FLINT           MI   48504‐2780
METZLER, DAVID E            14187 MAHONING AVE                                                                            NORTH JACKSON   OH   44451‐9616
METZLER, DOROTHY M          7070 MCCLIGGOTT RD                                                                            SAGINAW         MI   48609‐5038
METZLER, GEORGE A           8 SCHAROUN DR                                                                                 PULASKI         NY   13142‐2186
METZLER, JENNIFER A         860 SAGEBRUSH LN                                                                              COLLEGEVILLE    PA   19426‐3805
METZLER, JOANNE A           7424 GREENVIEW RD                                                                             NIAGARA FALLS   NY   14304‐1333
METZLER, JOSEPH C           163 HANGING ROCK RD                                                                           HARRIMAN        TN   37748‐3514
METZLER, KATHERINE          633 S MITCHNER AVE                                                                            INDIANAPOLIS    IN   46239‐1131
METZLER, KATHERINE L        7036 HUNTER ST                                                                                RAYTOWN         MO   64133‐5636
METZLER, KENNETH J          4570 WRIGHTWOOD WAY                                                                           PALMDALE        CA   93552‐3761
METZLER, MARY LEE           SHEPPARD KENNETH W PC            17931 GA HIGHWAY 67 S APT 2101                               STATESBORO      GA   30458‐2325

METZLER, MARY LEE           SHEPPARD KENNETH W               2801 NOBLE CREEK DR NW                                       ATLANTA         GA   30327‐5116
METZLER, MARY LEE           4847 FEATHERBED LN                                                                            SARASOTA        FL   34242‐1558
METZLER, MELVIN L           PO BOX 35                                                                                     RANSOMVILLE     NY   14131‐0035
METZLER, PAUL               3110 OREGON STREET                                                                            EASTON          PA   18045‐7156
METZLER, PAUL D             46250 HEYDENREICH RD                                                                          MACOMB          MI   48044‐4414
METZLER, RONALD H           958 OTTAWA DR                                                                                 YOUNGSTOWN      OH   44511‐1419
METZLER, RONALD H           958 OTTAWA DR.                                                                                YOUNGSTOWN      OH   44511‐4511
METZLER, SARAH L            3149 MEADOW LANE NE                                                                           WARREN          OH   44483‐2633
METZLER, SARAH L            3149 MEADOW LN NE                                                                             WARREN          OH   44483‐2633
METZLER, SHIRLEY J          2480 TRANSIT RD APT A                                                                         NEWFANE         NY   14108‐9507
METZLER, THOMAS N           518 SCHILLER AVE                                                                              TRENTON         NJ   08610
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Name                            Address1                            Address2                        Address3   Address4                 City               State Zip
METZLER, THOMAS R               12183 COUNTY ROAD 232                                                                                   CENTERVILLE         TX 75833‐2917
METZMAKER, GERALD L             1092 E TAFT RD                                                                                          SAINT JOHNS         MI 48879‐9112
METZMAKER, JACOB T              6137 HAAG RD                                                                                            LANSING             MI 48911‐5451
METZMAKER, THERESA P            1092 E TAFT RD                                                                                          SAINT JOHNS         MI 48879‐9112
METZNER, CRAIG A                3317 VERMONT AVENUE SOUTHWEST                                                                           GRANDVILLE          MI 49418‐1807
METZNER, DALE R                 2721 COLGATE CT SW                                                                                      WYOMING             MI 49519‐3168
METZOIAN, RICKY E               1745 DUNWOODIE ST                                                                                       ORTONVILLE          MI 48462‐8584
MEUDT, FRANK J                  57215 LINDA DR                                                                                          THREE RIVERS        MI 49093‐9005
MEUER, YVONNE A                 2820 BRIDGESTONE CIRCLE                                                                                 KOKOMO              IN 46902‐7008
MEUHLEN, ROBERT                 12327 N JENNINGS RD                                                                                     CLIO                MI 48420‐8245
MEUHLEN, RUTHMARY               12327 N JENNINGS RD                                                                                     CLIO                MI 48420‐8245
MEULEMAN JOANNA                 ST MAARTENSBILK 12/4                                                           8000 BRUGGE BELGIUM
MEULEMAN, DAVID J               41630 HAGGERTY WOODS CT                                                                                 CANTON             MI   48187‐3777
MEULEMAN, DAVID J               1928 NOTTINGHAM LN                                                                                      WHEATON            IL   60189
MEULENDYK, MAGDALENE A          2510 LAKE MICHIGAN DR NW APT C101                                                                       GRAND RAPIDS       MI   49504‐8040
MEULENDYK, ROBERT J             2844 EDGEMERE DR                                                                                        ROCHESTER          NY   14612
MEUMANN, HARTMUT W              5450 VILLAGE STATION CIR                                                                                WILLIAMSVILLE      NY   14221‐2890
MEUNCHEN RAYMOND                2712 LASALLE BLVD                                                                                       LANSING            MI   48912‐4251
MEUNIER DAVID                   MEUNIER, DAVID                      15375 265TH RD                                                      AMHERST            NE   68812‐3095
MEUNIER ELECTRONIC SUPPLY INC   3409 E WASHINGTON ST                                                                                    INDIANAPOLIS       IN   46201‐4313
MEUNIER ELECTRONICS SUPPLY      3409 E WASHINGTON ST                                                                                    INDIANAPOLIS       IN   46201‐4313
MEUNIER MICHAEL (468734)        KELLEY & FERRARO LLP                1300 EAST NINTH STREET , 1901                                       CLEVELAND          OH   44114
                                                                    BOND COURT BUILDING
MEUNIER, DAVID                  15375 265TH RD                                                                                          AMHERST            NE 68812‐3095
MEUNIER, MICHAEL                KELLEY & FERRARO LLP                1300 EAST NINTH STREET, 1901                                        CLEVELAND          OH 44114
                                                                    BOND COURT BUILDING
MEUNIER, MILES K                473 E GENEVA ST LOT 56                                                                                  ELKHORN            WI   53121‐1954
MEUNIER, ROLAND H               41559 UTICA RD                                                                                          STERLING HEIGHTS   MI   48313‐3262
MEUNIER, YVONNE B               7624 30TH AVE N                                                                                         MINNEAPOLIS        MN   55427‐2702
MEURER BERNARD (640578)         LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                          BIRMINGHAM         MI   48009‐5394
                                                                    406
MEURER, BERNARD                 LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                          BIRMINGHAM         MI 48009‐5394
                                                                    406
MEURER, DAVID W                 13 FAIRFIELD CT                                                                                         SAINT PETERS       MO   63376‐3403
MEURER, JOHN C                  13620 FAUST AVE                                                                                         BELLFLOWER         CA   90706‐2618
MEURER, RICHARD C               1 KEEL DR                                                                                               BERLIN             MD   21811‐9632
MEURET, KENNETH J               2304 EMERSON ST                                                                                         WAUSAU             WI   54403‐7017
MEURS, ILSE M                   653 E HUNTERS RUN                                                                                       MARION             IN   46953
MEURY, HERMAN G                 150 GOVERNORS LN                                                                                        ZIONSVILLE         IN   46077‐1007
MEUS, HELEN G                   888 TERRA ALTA ST NE                                                                                    WARREN             OH   44483‐3927
MEUSCH, DOROTHY L               2908 ASPEN CT                                                                                           AURORA             IL   60504‐6695
MEUSCH, DOROTHY L               2908 ASPEN COURT                                                                                        AURORA             IL   60504‐6695
MEUSCHKE, SARAH G               3922 GILBERT AVE APT 111                                                                                DALLAS             TX   75219‐3895
MEUSE, JOSEPH                   SIMMONS FIRM                        PO BOX 521                                                          EAST ALTON         IL   62024‐0519
MEUSEL, HERMAN W                6910 N POINT RD                                                                                         EDGEMERE           MD   21219‐1216
MEUSER, WILLIAM W               6456 CRABAPPLE                                                                                          TROY               MI   48098‐1936
MEUTER, RALPH D                 5685 WAYNE DR                                                                                           FLOWERY BRANCH     GA   30542‐3941
MEUTH, EVELYN T                 214 GLADE DR                                                                                            BOERNE             TX   78006‐1913
MEUTSCH III, CHARLES C          78 SOUTHGATE DR                                                                                         WEST SENECA        NY   14224‐3417
MEUTSCH, CHARLES C              34 BRIARWOOD DR                                                                                         BUFFALO            NY   14224‐1904
MEVIS SPA                       VIA BORGO TOCCHI 28/32                                                         ROSA 36027 ITALY
MEVIS, ELAINE                   9260 S NICHOLSON RD                                                                                     OAK CREEK          WI 53154‐4652
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Name                                 Address1                          Address2                          Address3         Address4                   City            State Zip
MEVIS, ELAINE E                      9260 S NICHOLSON RD                                                                                             OAK CREEK        WI 53154
MEVIS, EVELYN M                      10 FOREST PARK BLVD                                                                                             JANESVILLE       WI 53545‐2502
MEVIS, JOHN F                        36237 LYNDON ST                                                                                                 LIVONIA          MI 48154‐5124
MEVOLI KAREN                         135 BRENT CT                                                                                                    WEST DEPTFORD    NJ 08086‐2004
MEVS, M. CHRISTINE                   1657 N JERUSALEM RD                                                                                             EAST MEADOW      NY 11554‐4740
MEWBORN EUGENE                       5151 WILSHIRE BLVD                                                                                              LOS ANGELES      CA 90036‐4304
MEWBORN, WALTER E                    661 E 43RD ST                                                                                                   BROOKLYN         NY 11203‐6506
MEWHORTER, DALE W                    1378 E SCENIC ST                                                                                                APACHE JCT       AZ 85219‐4134
MEWSHAW JR, WILLIAM F                125 REBEL RD                                                                                                    GRASONVILLE      MD 21638‐1142
MEWTON, DOUGLAS                      7452 W PARKWAY ST                                                                                               DETROIT          MI 48239‐1068
MEWTON, KEITH D                      5603 LAKEVIEW BLVD                                                                                              GOODRICH         MI 48438
MEXIA TAULBEE                        PO BOX 461                                                                                                      SPRINGBORO       OH 45066‐0461
MEXICAN AMERICAN COUNCIL INC         ATTN: RAYMOND DE LEON JR          1537 S WASHINGTON AVE                                                         SAGINAW          MI 48601‐2818
MEXICAN INDUSTRIES IN MICHIGAN INC   1801 HOWARD ST                                                                                                  DETROIT          MI 48216

MEXICAN LINE                          5005 MITCHELLDALE ST STE 115                                                                                   HOUSTON         TX 77092‐7230
MEXICAN TOWN FLEA MARKET              5700 FEDERAL ST                                                                                                DETROIT         MI 48209‐1219
MEXICO ‐ GRAND JURY INVEST ‐ SUBPOENA NO ADVERSE PARTY
RQST 1992
MEXICO WHOLESALE                      ATTN: GARY GARMO                 5650 MCGREGOR ST                                                              DETROIT         MI 48209‐1316
MEXICOTT, PAULINE                     410 DEWEY ST                                                                                                   ROYAL OAK       MI 48067‐1380
MEXTRASA S A DE C V                   ANTONIO LAVOSIER #39 PARQUE      INDSTRL CUAMATLA CUAUTITLAN                        IZCALLI EDO DE MEX 54730
                                                                                                                          MEXICO
MEXTRASA SA DE CV                    ANTOINE LAVOISIER #39 PARQUE I    COL CUAMATLA                                       CUAUTITLAN DF 54730
                                                                                                                          MEXICO
MEY, DORIS J                         226 BURRILL DR.                                                                                                 PRUDENVILLE     MI    48651‐9314
MEY, DORIS J                         226 BURRILL DR                                                                                                  PRUDENVILLE     MI    48651‐9314
MEY, JAMES A                         13664 BAUMGARTNER RD                                                                                            SAINT CHARLES   MI    48655‐8631
MEY, RANDALL K                       11911 BAUMGARTNER RD                                                                                            SAINT CHARLES   MI    48655‐9675
MEY, WILLIAM K                       11911 BAUMGARTNER RD                                                                                            SAINT CHARLES   MI    48655‐9675
MEY, YVONNE M                        1769 4 MILE COVE PKWY APT 914                                                                                   CAPE CORAL      FL    33990‐2443
MEYDAN, MURAT                        637 TRACE LN                                                                                                    LAWRENCEVILLE   GA    30045‐4000
MEYER                                34764 DEQUINDRE RD                                                                                              STERLING HTS    MI    48310‐5279
MEYER & NJUS                         21415 CIVIC CENTER DR STE 301                                                                                   SOUTHFIELD      MI    48076‐3954
MEYER & NJUS                         29532 SOUTHFIELD RD STE 200                                                                                     SOUTHFIELD      MI    48076‐2023
MEYER & NJUS                         21415 CIVIC CENTER DR             STE 301                                                                       SOUTHFIELD      MI    48076‐3954
MEYER & TEU/GERMANY                  HAGENER STRABE 78                                                                    DROLSHAGEN GE 57489
                                                                                                                          GERMANY
MEYER & TEUBNER GMBH & CO                                              HAGENER STRABE 78                                                                             GE 57489
MEYER & WILLIAMS, ATTORNEYS AT LAW   ATTN ROBERT N WILLIAMS PAMELA T   ATTY FOR THE BRITTINGHAMS         350 E BROADWAY   P O BOX 2608               JACKSON         WY 83001
                                     HARVEY
MEYER ‐, DENISE M                    2275 LAUREL RD                                                                                                  HINCKLEY        OH    44233‐9519
MEYER ANN                            W7710 HILL RD                                                                                                   BRYANT          WI    54418‐9607
MEYER AUTOMOTIVE, INC.               PO BOX 422                                                                                                      SEWARD          NE    68434‐0422
MEYER AUTOMOTIVE, INC.               975 280TH                                                                                                       SEWARD          NE    68434‐7567
MEYER AUTOMOTIVE, INC.               ROBERT MEYER                      975 280TH                                                                     SEWARD          NE    68434‐7567
MEYER BERNARD (655707)               COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                                               CHICAGO         IL    60602
                                                                       FLOOR
MEYER BRENNAN                        24617 CT G OLDE ORCHARD RD                                                                                      NOVI            MI 48375
MEYER BRUNO L (408895)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK         VA 23510
                                                                       STREET, SUITE 600
MEYER BUILDING SITE TRUST            C\O JOHNSON & BELL\NL OBSALVO     222 N LA SALLE ST STE 2200                                                    CHICAGO          IL   60601‐1106
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Name                                Address1                          Address2                    Address3       Address4         City               State Zip
MEYER CHARLES                       215 N 1ST ST APT 206                                                                          TOOELE              UT 84074
MEYER CHEVROLET, INC.               6115 METROPOLITAN AVE                                                                         MIDDLE VILLAGE      NY 11379
MEYER CHEVROLET, INC.               SHEILA MEYER                      6115 METROPOLITAN AVE                                       MIDDLE VILLAGE      NY 11379
MEYER CHIROPRACTIC C                PO BOX 170728                                                                                 ARLINGTON           TX 76003‐0728
MEYER CUSTOM CHEVY                  19854 150TH ST                                                                                SUMNER               IA 50674‐7690
MEYER DANIEL G                      12918 HIGHLAND AVE                                                                            BLUE ISLAND          IL 60406‐1917
MEYER DARLENE                       24001 KITTRIDGE ST                                                                            WEST HILLS          CA 91307‐2906
MEYER DARRAGH BUCKLER BEBENEK       300 SUMMERS ST STE 800                                                                        CHARLESTON          WV 25301‐1632
MEYER DARRAGH BUCKLER BEBENEK & ECK 150 LAKEMONT PARK BLVD                                                                        ALTOONA             PA 16602‐5900

MEYER DARRAGH BUCKLER BEBENEK & ECK US STEEL TOWER STE 4850           600 GRANT ST                                                PITTSBURGH          PA 15219

MEYER DARRAGH BUCKLER BEBENEK & ECK 2000 FRICK BLDG                                                                               PITTSBURGH          PA 15219
PLLC
MEYER DARRAGH BUCKLER BEBENEK & ECK 150 LAKEMONT PARK BLVD                                                                        ALTOONA             PA 16602‐5900
PLLC
MEYER DAVID                         4034 RICHARDSON RD                                                                            INDEPENDENCE        KY   41051‐8718
MEYER DAVID                         NO ADVERSE PARTY
MEYER DONALD E                      527 SHADY OAKS ST                                                                             LAKE ORION         MI 48362‐2571
MEYER DORIS                         4603 TEJAS TRL                                                                                AUSTIN             TX 78745‐1542
MEYER DOROTHY                       MEYER, DOROTHY                    STATE FARM                  PO BOX 82539                    LINCOLN            MN 68501
MEYER EDWIN R                       EDWARD BUICK GMC TRUCK INC
MEYER EDWIN R
MEYER EUGENE                        508 W 7TH AVE                                                                                 WEBSTER            SD 57274‐1224
MEYER FELDMAN                       5859 W MAPLE RD APT 123                                                                       WEST BLOOMFIELD    MI 48322‐4464
MEYER FORD & GLASSER AND CLAYTON    120 CAPITOL ST                                                                                CHARLESTON         WV 25301‐2610
COTTRELL
MEYER FRED (465085)                 BILBREY & HYLIA                   8724 PIN OAK RD                                             EDWARDSVILLE       IL    62025‐6822
MEYER GARAGE                        2687 480TH ST                                                                                 MC INTIRE          IA    50455‐8024
MEYER GARAGE                        ADAMS, MARTY                      2687 480TH ST                                               MC INTIRE          IA    50455‐8024
MEYER GARY                          MEYER, GARY                       103 N 3RD ST                                                ELYSON             MN    56028
MEYER GMC TRUCKS, INC.              DONALD MEYER                      14415 NORTH STATE ROAD 13                                   NORTH MANCHESTER   IN    46962‐8613
MEYER GMC TRUCKS, INC.              14415 NORTH STATE RAOD 13                                                                     NORTH MANCHESTER   IN    46962‐8613
MEYER HOWARD                        1132 W LILL AVE                                                                               CHICAGO            IL    60614‐2207
MEYER III, JOHN W                   10577 GREENWAY DR                                                                             FISHERS            IN    46037‐9374
MEYER III, JOHN WILLIAM             10577 GREENWAY DR                                                                             FISHERS            IN    46037‐9374
MEYER JAMES A                       1416 ANGELA DR W                                                                              SAGINAW            MI    48609‐4222
MEYER JAY                           160 196TH                                                                                     PLEASANT DALE      NE    68423‐9105
MEYER JEFFREY                       1654 TAYLOR RD                                                                                AUBURN HILLS       MI    48326‐1564
MEYER JEWELRY COMPANY               ACCT OF CHARLES M ROGERS
MEYER JEWELRY COMPANY               FOR ACCT OF LEONARD E SNIPE
MEYER JOHN                          157 PIONEER DR                                                                                SAINT LOUIS        MO    63129‐4814
MEYER JR, CHARLES L                 7 CHIPPENDALE PL                                                                              KETTERING          OH    45420‐2910
MEYER JR, CHRISTIAN                 2968 STRIETER DR                                                                              BAY CITY           MI    48706‐2640
MEYER JR, GEORGE R                  432 COOLIDGE AVE # B                                                                          SEASIDE HEIGHTS    NJ    08751‐1310
MEYER JR, HAROLD D                  615 SPRUCE CT                                                                                 OSWEGO             IL    60543‐7559
MEYER JR, HAROLD DAVID              615 SPRUCE CT                                                                                 OSWEGO             IL    60543‐7559
MEYER JR, HERBERT C                 22718 NORTHWOOD TRL                                                                           STRONGSVILLE       OH    44149‐2888
MEYER JR, JEFFREY W                 1654 TAYLOR RD                                                                                AUBURN HILLS       MI    48326‐1564
MEYER JR, KENNETH L                 14574 GRASS LAKE RD                                                                           GRASS LAKE         MI    49240‐9738
MEYER JR, LAWRENCE W                1901 WILLOW BAY DR                                                                            DEFIANCE           OH    43512‐3712
MEYER JR, ROBERT E                  5626 HIGH ACRES E ST                                                                          NEW PALESTINE      IN    46163
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Name                                Address1                             Address2                           Address3                   Address4            City            State Zip
MEYER LEE M                         MEYER, LEE M                         STATE FARM                         PO BOX 2371                                    BLOOMINGTON       IL 61702
MEYER LEHRER                        27 MARY DR                                                                                                             ROCHESTER        NY 14617‐4511
MEYER MATERIAL HANDLING PDTS        3904 S ARLINGTON AVE                 P.O.BOX 47366                                                                     INDIANAPOLIS     IN 46203‐6170
MEYER MATERIAL HANDLING PRODUCTS    PO BOX 47366                                                                                                           INDIANAPOLIS     IN 46247‐0366
INC
MEYER MOTORS, INC                   107 PLAZA LANE                                                                                                         PLYMOUTH        WI   53073
MEYER MOTORS, INC                   GARY SCHMIDT                         107 PLAZA LANE                                                                    PLYMOUTH        WI   53073
MEYER NANNETTE                      1514 NORTH RIDGE AVENUE                                                                                                ARLINGTON HTS   IL   60004‐3743
MEYER RAYMOND                       3613 10TH ST                                                                                                           ELK MOUND       WI   54739‐4164
MEYER RICHARD (438260)              BROOKMAN ROSENBERG BROWN &           17TH FLR, ONE PENN SQUARE WEST,                                                   PHILADELPHIA    PA   19102
                                    SANDLER                              30 SOUTH 15TH STREET
MEYER RICHARD A                     10206 TOLEDO CIR                                                                                                       BLOOMINGTON     MN 55437‐2510
MEYER ROBERT                        1807 NORWOOD WAY                                                                                                       ANDERSON        IN 46011‐2611
MEYER ROBERT E (498291)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK         VA 23510
                                                                         STREET, SUITE 600
MEYER ROBERT L (360444)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                       NORFOLK         VA 23510
                                                                         STREET, SUITE 600
MEYER ROSEMARY                       8580 WOODWAY DR APT 2116                                                                                              HOUSTON         TX   77063‐2475
MEYER SCOTT                          18611 ERVIN LN                                                                                                        SANTA ANA       CA   92705‐2743
MEYER SERVICE SOUTH                  6078 LEMAY FERRY RD                                                                                                   SAINT LOUIS     MO   63129‐2217
MEYER SONJA                          MEYER, SONJA                        275 COUNTY ROAD 144                                                               CEDAR BLUFF     AL   35959‐3217
MEYER SUOZZI ENGLISH & KLEIN P C     ATTORNEY FOR SHREVEPORT RED RIVER   ATTN THOMAS R SLOME                990 STEWART AVENUE         SUITE 300           GARDEN CITY     NY   11530‐9194
                                     UTILITIES LLC
MEYER SUOZZI ENGLISH & KLEIN P C     ATTY FOR SHREVEPORT RED RIVER       ATTN JIL MAZER‐MARINO AND          990 STEWART AVENUE SUITE   PO BOX 9194         GARDEN CITY     NY 11530‐9194
                                     UTILITIES LLC                       THOMAS R SLOME                     300
MEYER UNKOVIC & SCOTT LLP            1300 OLIVER BUILDING                                                                                                  PITTSBURGH      PA 15222
MEYER UNKOVIC & SCOTT LLP RETIREMENT FBO LAURA A CANDRIS                 535 SMITHFIELD STREET SUITE 1300                                                  PITTSBURGH      PA 15222
PLAN
MEYER WEITZMAN                       WEITZ AND LUXENBERG PC              700 BROADWAY                                                                      NEW YORK CITY   NY 10003
MEYER WILLIAM (660518)               OBRIEN LAW FIRM                     1 METROPOLITAN SQ STE 1500                                                        SAINT LOUIS     MO 63102‐2799
MEYER WILLIAM J (468214)             ANGELOS PETER G LAW OFFICES OF      100 N CHARLES STREET , ONE                                                        BALTIMORE       MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
MEYER ZIELDORFF                     619 CAROLINA                                                                                                           MARYSVILLE      MI   48040‐1237
MEYER'S AUTO SALES & SERVICE        100 MAIN ST                                                                                                            GLANDORF        OH   45848
MEYER, ADELAIDE K                   2840 WURTZEL DR W                                                                                                      FREELAND        MI   48623‐7810
MEYER, ALAN M                       622 ROUNDSTONE DR                                                                                                      WELDON SPRING   MO   63304
MEYER, ALAN W                       466 SYCAMORE LN                                                                                                        HAINES CITY     FL   33844‐8656
MEYER, ALFRED L                     11692 CARRIVEAU RD                                                                                                     OSSINEKE        MI   49766‐9707
MEYER, ALICE M                      5372 CHATFIELD DR                                                                                                      SAINT LOUIS     MO   63129‐3134
MEYER, ALLEN
MEYER, ALLEN G                      18921 HANTHORNE DR                                                                                                     INDEPENDENCE    MO 64057‐1674
MEYER, ALLEN J
MEYER, ALWIN F                      18623 N PALOMAR DR                                                                                                     SUN CITY WEST   AZ   85375‐4721
MEYER, ANDREW D                     11004 RADCLIFF DR                                                                                                      ALLENDALE       MI   49401‐9521
MEYER, ANDREW DAVID                 11004 RADCLIFF DR                                                                                                      ALLENDALE       MI   49401‐9521
MEYER, ANNA                         627 CONESTOGA CIRCLE                                                                                                   ORLANDO         FL   32808
MEYER, ANNABELLE                    2716 TOWNLINE ROAD 32                                                                                                  MONROEVILLE     OH   44847‐9777
MEYER, ANNE A                       1423 MEADOW LARK RD                                                                                                    SPRING HILL     FL   34608‐5254
MEYER, ANNE C                       183 HEDSTROM DR                                                                                                        AMHERST         NY   14226‐3432
MEYER, ANTHONY L                    520 REES ST                                                                                                            HINCKLEY        IL   60520‐9333
MEYER, ARLEEN                       420 RAY MAY DR                                                                                                         JOLIET          IL   60433‐2148
MEYER, ARNOLD H                     124 HERITAGE STA                                                                                                       SAINT CHARLES   MO   63303
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Name                   Address1                        Address2                         Address3   Address4         City                  State Zip
MEYER, ARTHUR G        4043 FOREST AVE                                                                              BROOKFIELD              IL 60513‐2123
MEYER, ARVIN L         2390 E CHOCTAW RD                                                                            BULLHEAD CITY          AZ 86426‐9117
MEYER, BARBARA A       PO BOX 721045                                                                                NORMAN                 OK 73070‐4807
MEYER, BARBARA F       1413 HAMPSHIRE PL                                                                            NASHVILLE              TN 37221‐3624
MEYER, BARTHOLD F      309 BLYTH CT                                                                                 LONGWOOD               FL 32779‐4648
MEYER, BENEDETTA C     2876 HAYES DR                                                                                WILLOUGHBY HILLS       OH 44094‐9403
MEYER, BERNARD         COONEY & CONWAY                 120 NORTH LASALLE STREET, 30TH                               CHICAGO                 IL 60602
                                                       FLOOR
MEYER, BERNICE G       4166 SHOREBROOK                                                                              STERLING HEIGHTS      MI   48314‐1981
MEYER, BERNICE H       5500 WOODBURY HILLS DR                                                                       PARMA                 OH   44134‐6164
MEYER, BERNICE H       5500 WOODBERRY HILLS DR                                                                      PARMA                 OH   44134‐6164
MEYER, BERNICE M       866 VALLEY RIDGE CIRCLE                                                                      PENSACOLA             FL   32514‐1569
MEYER, BERTHA          P O BOX 252                                                                                  UNIONVILLE            MI   48767‐0252
MEYER, BERTHA          PO BOX 252                                                                                   UNIONVILLE            MI   48767‐0252
MEYER, BETTY           515 ROCKPORT RD                                                                              JANESVILLE            WI   53548‐5159
MEYER, BETTY H         568 CIDER MILL WAY                                                                           TIPP CITY             OH   45371‐2492
MEYER, BEULAH M        45182 W PARK DR APT 17                                                                       NOVI                  MI   48377‐1301
MEYER, BEVERLY J       2716 JUNIPER                                                                                 BENTON                AR   72015‐2640
MEYER, BEVERLY J       10277 1ST STREET                                                                             PLAINVIEW             AR   72857‐8903
MEYER, BILLIE M        3551 TYLERSVILLE RD LOT 24                                                                   HAMILTON              OH   45011‐8051
MEYER, BILLY E         2819 MILL ST                                                                                 MOSCOW                OH   45153‐9620
MEYER, BILLY J         3539 COZY CAMP RD                                                                            MORAINE               OH   45439‐1127
MEYER, BOBBY G         595 NEVILLE PENN SCHLHSE RD                                                                  FELICITY              OH   45120‐9721
MEYER, BONNIE L        4525 WOODLAND AVE                                                                            WESTERN SPRGS         IL   60558‐1506
MEYER, BRANDON
MEYER, BRENDA J        14574 GRASS LAKE RD                                                                          GRASS LAKE            MI   49240‐9738
MEYER, BRENT W         3163 FOSS DR                                                                                 SAGINAW               MI   48603‐1715
MEYER, BRUCE A         211 CEDAR LN                                                                                 WATERVILLE            OH   43566‐1102
MEYER, BRUCE ALLEN     211 CEDAR LN                                                                                 WATERVILLE            OH   43566‐1102
MEYER, BRUCE E         8620 NEW HAMPTON RD NE                                                                       ALBUQUERQUE           NM   87111‐1891
MEYER, BRUNO L         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                  NORFOLK               VA   23510‐2212
                                                       STREET, SUITE 600
MEYER, BRYCE T         3306 TENNYSON DR                                                                             JANESVILLE            WI   53548‐8564
MEYER, BUDD L          570 BENNINGTON DR                                                                            LEXINGTON             OH   44904‐1694
MEYER, C E             4596 SAILMAKER LN               REGATTA BAY                                                  DESTIN                FL   32541‐5727
MEYER, CARL V          408 HOLY CROSS ROAD                                                                          BROOKLYN              MD   21225‐3919
MEYER, CARMA L         676 RIDGE RD                                                                                 TROY                  MO   63379‐5644
MEYER, CAROL E         9455 LOW GROUND RD                                                                           EMPORIA               VA   23847‐6953
MEYER, CATHERINE E     2726 289TH STREET S                                                                          ROY                   WA   98580
MEYER, CATHERINE E     2726 289TH ST S                                                                              ROY                   WA   98580‐9658
MEYER, CHARLES H       237 W ELBERT ST                                                                              INDIANAPOLIS          IN   46217‐3417
MEYER, CHARLES W       43326 W OSTER DR                                                                             MARICOPA              AZ   85238‐8969
MEYER, CHERYL H        2623 CROOKS RD                                                                               ROYAL OAK             MI   48073‐3311
MEYER, CHERYL M        200 DEER RUN                                                                                 CROSSVILLE            TN   38571‐3226
MEYER, CHRIS W         6240 GENTRY WOODS DR                                                                         DAYTON                OH   45459‐1159
MEYER, CHRIS WILLIAM   6240 GENTRY WOODS DR                                                                         DAYTON                OH   45459‐1159
MEYER, CHRISTIAN       2148 AVALON CIR                                                                              BAY CITY              MI   48708‐7621
MEYER, CHRISTIAN D     125 RIDGE DR                                                                                 LAPEER                MI   48446‐2825
MEYER, CHRISTINE E     UNIT 4                          998 KENNEDYS LANDING                                         CINCINNATI            OH   45245‐5125
MEYER, CHRISTOPHER W   6240 GENTRY WOODS DR                                                                         DAYTON                OH   45459‐1159
MEYER, CHRISTOPHER Y   42 HENDRIE LN                                                                                GROSSE POINTE FARMS   MI   48236‐3735
MEYER, CLARENCE L      1536 S CLINTON ST                                                                            DEFIANCE              OH   43512‐3216
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Name                   Address1                        Address2                 Address3    Address4         City            State Zip
MEYER, CRAIG A         APT 6101                        355 ELMCROFT BOULEVARD                                ROCKVILLE        MD 20850‐5663
MEYER, CYNTHIA C       253 HILLCREST AVE                                                                     GROSSE POINTE    MI 48236‐3108
MEYER, DANIEL G        12918 HIGHLAND AVE                                                                    BLUE ISLAND       IL 60406‐1917
MEYER, DANIEL J        208 ALTA VISTA ST                                                                     HOT SPRINGS      AR 71913‐6907
MEYER, DANIEL J        1501 SWAGOSA DR                                                                       MAQUOKETA         IA 52060‐3312
MEYER, DANIEL L        702 BULL VALLEY DR                                                                    SAINT PETERS     MO 63304‐8543
MEYER, DANIEL L        1361 WEISS RD                                                                         BAY CITY         MI 48706‐9379
MEYER, DANIEL W        257 N STINE RD                                                                        CHARLOTTE        MI 48813
MEYER, DANNY L         546 CHOCTAW DR                                                                        ABITA SPRINGS    LA 70420‐3324
MEYER, DAVID C         10349 THE BEND RD                                                                     DEFIANCE         OH 43512‐9710
MEYER, DAVID E         8033 ROAD 12                                                                          OTTAWA           OH 45875‐9613
MEYER, DAVID E         4201 MEADOWBROOK DR                                                                   FREELAND         MI 48623‐8840
MEYER, DAVID J         40412 EMERALD LN E                                                                    CLINTON TWP      MI 48038‐4754
MEYER, DAVID L         10343 S BAINBRIDGE TER                                                                HOMOSASSA        FL 34446‐7806
MEYER, DAVID L         1247 VOSKUHL RD                                                                       MARIA STEIN      OH 45860‐9715
MEYER, DAVID M         11067 S WISE RD                                                                       SAINT LOUIS      MI 48880‐9520
MEYER, DAVID R         5263 S RICHFIELD ST                                                                   CENTENNIAL       CO 80015‐2444
MEYER, DAVID W         3265 HARPER RD                                                                        DEFIANCE         OH 43512‐9134
MEYER, DAVID WALTER    3265 HARPER RD                                                                        DEFIANCE         OH 43512‐9134
MEYER, DEBORA A        2544 EATON GATE RD                                                                    LAKE ORION       MI 48360‐1849
MEYER, DEBORAH G       1206 GARDEN ST                                                                        HOBOKEN          NJ 07030‐4406
MEYER, DEBORAH J       6247 NOTTINGHAM PT                                                                    BRIGHTON         MI 48116‐5185
MEYER, DELBERT L       6930 NW PLEASANT VIEW DR                                                              PARKVILLE        MO 64152‐2661
MEYER, DENECE D        1618 ALSPAUGH LN                                                                      GRAND PRAIRIE    TX 75052‐2085
MEYER, DENISE          5600 W BIRCH RUN RD                                                                   SAINT CHARLES    MI 48655
MEYER, DENISE J        5600 W BIRCH RUN RD                                                                   SAINT CHARLES    MI 48655‐9627
MEYER, DENISE M        2275 LAUREL RD                                                                        HINCKLEY         OH 44233‐9519
MEYER, DENNIS A        5611 WOOD VALLEY DR                                                                   HASLETT          MI 48840‐9785
MEYER, DENNIS H        11645 N VANDECAR RD                                                                   FARWELL          MI 48622‐9254
MEYER, DENNIS L        9 513 COUNTY ROAD E                                                                   HAMLER           OH 43524
MEYER, DENNIS T        11765 LAKE SHORE DR                                                                   FIFE LAKE        MI 49633‐9347
MEYER, DIETER A        120 GRANDVIEW BLVD APT E103                                                           GAYLORD          MI 49735‐2028
MEYER, DONALD A        14412 COGSWELL ST                                                                     ROMULUS          MI 48174‐1024
MEYER, DONALD A        1618 ALSPAUGH LN                                                                      GRAND PRAIRIE    TX 75052‐2085
MEYER, DONALD D        1289 WOODFIELD TRL                                                                    HEMLOCK          MI 48626‐9235
MEYER, DONALD E        1741 W SYCAMORE ST                                                                    KOKOMO           IN 46901‐4226
MEYER, DONALD E        PO BOX 660                                                                            NEBO             NC 28761‐0025
MEYER, DONALD E        6931 CAMBRIDGE RD                                                                     DOWNERS GROVE     IL 60516‐6107
MEYER, DONALD E        527 SHADY OAKS ST                                                                     LAKE ORION       MI 48362‐2571
MEYER, DONALD G        3312 N LOCUST ST                                                                      MUNCIE           IN 47304‐1851
MEYER, DONALD L        148 BRECKENRIDGE DR                                                                   ALEXANDRIA       KY 41001‐1165
MEYER, DONALD L        1413 HAMPSHIRE PL                                                                     NASHVILLE        TN 37221‐3624
MEYER, DONALD R        42673 REDFERN ST                                                                      CANTON           MI 48187‐3453
MEYER, DONALD R        1834 TRAILS END DR                                                                    ARNOLD           MO 63010‐2631
MEYER, DONALD T        5493 NIGHTHAWK DR                                                                     CINCINNATI       OH 45247‐7517
MEYER, DOROTHY         STATE FARM                      PO BOX 82539                                          LINCOLN          NE 68501‐2539
MEYER, DOROTHY
MEYER, DOROTHY         47400 MIDDLE RIDGE RD                                                                 AMHERST         OH   44001‐3208
MEYER, DOUGLAS E       4854 MONAC DR                                                                         TOLEDO          OH   43623‐3751
MEYER, DOUGLAS EDWIN   4854 MONAC DR                                                                         TOLEDO          OH   43623‐3751
MEYER, DOUGLAS R       4 HARBOR POINT LN                                                                     MANISTEE        MI   49660‐2684
MEYER, DUANE A         248 RUNYON CT                                                                         GREENWOOD       IN   46142‐9063
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Name                  Address1                         Address2           Address3         Address4         City               State Zip
MEYER, EDWARD         719 MICHIGAN AVE                                                                      BAY CITY            MI 48708‐7934
MEYER, EDWARD C       4546 FIVE POINTS RD                                                                   INDIANAPOLIS        IN 46239‐9641
MEYER, EDWARD D       4816 MEHLBROOK DR                                                                     SAINT LOUIS         MO 63129‐1672
MEYER, EDWARD H       19 DRAKE DR W                                                                         SAGINAW             MI 48603‐9643
MEYER, ELEANOR M      1935 TUMBLEWEED DR                                                                    HOLIDAY             FL 34690‐4530
MEYER, ELFRIEDA M     3137 W 103RD ST                                                                       CLEVELAND           OH 44111‐2722
MEYER, ELFRIEDA M     3137 WEST 103RD ST                                                                    CLEVELAND           OH 44111‐2722
MEYER, ELSWOOD R      945 TENDERFOOT HILL RD APT 207                                                        COLORADO SPRINGS    CO 80906‐3915
MEYER, ESTHER G       230 BRENTWOOD APT 11 E                                                                CLAYTON             MO 63105‐1637
MEYER, EUGENE F       14566 US HIGHWAY 24                                                                   SHERWOOD            OH 43556‐9761
MEYER, FANNIE BELL    57 WINCHESTER CIR                                                                     MONROE              LA 71203‐6626
MEYER, FANNY M        12 BLACKBERRY DR                                                                      SAINT CHARLES       MO 63301‐1400
MEYER, FLORENCE A     2485 SMOKEHOUSE RD                                                                    VIRGINIA BEACH      VA 23456‐6035
MEYER, FRANCES        1301 CAMPBELL                                                                         FLINT               MI 48507‐5307
MEYER, FRANCES        1301 CAMPBELL ST                                                                      FLINT               MI 48507‐5307
MEYER, FRED           BILBREY & HYLIA                  8724 PIN OAK RD                                      EDWARDSVILLE         IL 62025‐6822
MEYER, FRED F         5601 HATCHERY RD APT 1008                                                             WATERFORD           MI 48329‐4835
MEYER, FREDERICK J    PO BOX 311143                                                                         FLINT               MI 48531‐1143
MEYER, FREDERICK M    2069 COOLIDGE AVE                                                                     SAGINAW             MI 48603‐4006
MEYER, FREDERICK N    14604 E 44TH ST S                                                                     INDEPENDENCE        MO 64055‐4811
MEYER, GARFIELD G     5359 SPRUCE DR                                                                        LEWISTON            MI 49756‐8973
MEYER, GARY           103 N 3RD ST                                                                          ELYSON              MN 56028
MEYER, GARY C         13590 ROAD J                                                                          OTTAWA              OH 45875‐9437
MEYER, GARY CHARLES   13590 ROAD J                                                                          OTTAWA              OH 45875‐9437
MEYER, GARY D         PO BOX 1156                                                                           OLATHE              KS 66051‐1156
MEYER, GARY D         9321 ROUND HILL CT                                                                    GRAND BLANC         MI 48439‐9527
MEYER, GARY L         568 CIDER MILL WAY                                                                    TIPP CITY           OH 45371‐2492
MEYER, GENE A         1604 MILLS RD                                                                         PRESCOTT            MI 48756‐9279
MEYER, GENE L         145 MAJESTY LN                                                                        FAYETTEVILLE        GA 30215‐2655
MEYER, GENEVIEVE H    7795 N. LAKE BLUFF               05 DRIVE                                             GLADSTONE           MI 49837
MEYER, GEORGE A       127 POTOMAC DR                                                                        EATON               OH 45320‐8633
MEYER, GEORGE D       1775 ENNIS LN                                                                         WHEATON              IL 60189‐6174
MEYER, GEORGE L       13 ROSEBUD AVE                                                                        ERLANGER            KY 41018‐1519
MEYER, GEORGE R       1 LAKEVIEW DR APT 3D                                                                  PEEKSKILL           NY 10566‐2245
MEYER, GERALD A       18781 GIPE RD                                                                         NEY                 OH 43549‐9728
MEYER, GERALD R       PO BOX 215                                                                            ROGERS CITY         MI 49779‐0215
MEYER, GERALD W       3548 BROTHERTON RD                                                                    CINCINNATI          OH 45209
MEYER, GLENN F        5348 ORCHARD LN                                                                       GREENDALE           WI 53129‐2567
MEYER, GLORIA R       CHARDONWOOD DRIVE                                                                     MENTOR              OH 44060
MEYER, GRACE E        8033 ROAD 12                                                                          OTTAWA              OH 45875‐9613
MEYER, GRACE H        2614 CROSSGATE DR                                                                     WILMINGTON          DE 19808‐2311
MEYER, GREGORY A      6963 DULL RD                                                                          ARCANUM             OH 45304‐9242
MEYER, GUNTER         1631 COUNTRY CT                                                                       APOPKA              FL 32703‐5036
MEYER, H M            11676 LUCAS FERRY RD                                                                  ATHENS              AL 35611
MEYER, HAROLD E       4248 SUMMERWOOD LN                                                                    SAGINAW             MI 48603‐8703
MEYER, HAROLD Y       701 W RAND RD APT 428                                                                 ARLINGTON HTS        IL 60004‐8440
MEYER, HATTIE M       18921 HANTHORNE DR                                                                    INDEPENDENCE        MO 64057‐1674
MEYER, HENRY R        8520 INVITATIONAL DR                                                                  WASHINGTON          MI 48094‐1558
MEYER, HERMAN L       447 PLUM CREEK RD                                                                     LAPEER              MI 48446‐7783
MEYER, HILDA M        9640 S FENMORE RD                                                                     SAINT CHARLES       MI 48655‐9721
MEYER, HOWARD E       906 ARTHUR ST                                                                         ROCHESTER           IN 46975‐2400
MEYER, HOWARD W       6829 E 550 S                                                                          ELWOOD              IN 46036‐8525
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Name                  Address1                            Address2              Address3    Address4         City            State Zip
MEYER, ILETA          7‐B EXECUTIVE VILLAGE COURT                                                            NORWALK          OH 44857
MEYER, INGEBORG       8 GLENCOE PL APT 207                                                                   DUNEDIN          FL 34698‐8540
MEYER, ISABEL M       3281 WICKLOW APTS                   WICKLOW COURT APT 7                                SAGINAW          MI 48603
MEYER, ISABELL F      G 4399 N CENTER RD                                                                     FLINT            MI 48506
MEYER, JACK L         2204 KAYHILL DR                                                                        ANDERSON         IN 46012‐2814
MEYER, JACOB E        6623 W H AVE                                                                           KALAMAZOO        MI 49009‐8557
MEYER, JACQUELYN A    1390 LAKEVIEW DR                                                                       CLARE            MI 48617‐9198
MEYER, JAMES A        1416 ANGELA DR W                                                                       SAGINAW          MI 48609‐4222
MEYER, JAMES A        20417 UNION ST                      P. O. BOX 228                                      WESTON           OH 43569‐9695
MEYER, JAMES C        5040 N ROCHESTER RD                                                                    ROCHESTER        MI 48306‐1836
MEYER, JAMES C        854 INVERNESS DR                                                                       DEFIANCE         OH 43512‐8535
MEYER, JAMES D        4534 HAMLET PL                                                                         MADISON          WI 53714‐1961
MEYER, JAMES E        64 NORFOLK RD                                                                          TORRINGTON       CT 06790‐2716
MEYER, JAMES E        1818 E ANDERSON RD                                                                     LINWOOD          MI 48634‐9451
MEYER, JAMES J        676 RIDGE RD                                                                           TROY             MO 63379‐5644
MEYER, JAMES L        1248 ASHWOOD LN                                                                        HOWELL           MI 48843‐8380
MEYER, JAMES M        5600 W BIRCH RUN RD                                                                    SAINT CHARLES    MI 48655‐9627
MEYER, JAMES N        10109 STATE ROUTE 613                                                                  LEIPSIC          OH 45856‐8912
MEYER, JAMIE W        7393 ALPINE VIEW DR                                                                    WHITE LAKE       MI 48383‐2447
MEYER, JEANNE G       10300 VILLAGE CIRCLE DR UNIT 3102                                                      PALOS PARK        IL 60464‐3421
MEYER, JEFF           N72W23820 CRAVEN DR                                                                    SUSSEX           WI 53089‐5166
MEYER, JEFFERSON A    1413 N PARK PL                                                                         MOORE            OK 73160‐8946
MEYER, JEFFREY W      2777 HAVENWOOD DR                                                                      WHITE LAKE       MI 48383‐3916
MEYER, JENNIE         2410 W SHORE DR                                                                        SAND LAKE        MI 49343‐9750
MEYER, JEROME A       917 MESA VISTA DR                                                                      CROWLEY          TX 76036‐3690
MEYER, JERRY A        14315 S CAMINO VALLADO                                                                 SAHUARITA        AZ 85629‐8437
MEYER, JERRY A        14315 SOUTH CAMINO VALLADO                                                             SAHUARITA        AZ 85629‐8437
MEYER, JERRY H        1101 LEBLANC ST                                                                        LINCOLN PARK     MI 48146‐4257
MEYER, JERRY L        2530 DEEP RIVER RD                                                                     STANDISH         MI 48658‐9117
MEYER, JOANN F        2390 E CHOCTAW RD                                                                      BULLHEAD CITY    AZ 86426‐9117
MEYER, JOHN           2413 SW 2ND STREET TER                                                                 BLUE SPRINGS     MO 64014‐4605
MEYER, JOHN A         30 TURTLE ROCK LOOP                                                                    SAND ROCK        AL 35983‐4048
MEYER, JOHN C         4808 HIGHWAY NN                                                                        CATAWISSA        MO 63015‐2405
MEYER, JOHN D         12831 W CASTLEBAR DR                                                                   SUN CITY WEST    AZ 85375‐3255
MEYER, JOHN E         16417 E RENO AVE                                                                       CHOCTAW          OK 73020‐7418
MEYER, JOHN G         3625 CASEY RD                                                                          METAMORA         MI 48455‐9317
MEYER, JOHN J         3051 S STATE AVE                                                                       INDIANAPOLIS     IN 46237‐1023
MEYER, JOHN J         3648 CINNAMON TREE LN                                                                  SAINT LOUIS      MO 63129‐2227
MEYER, JOHN L         7683 WILLITS RD                                                                        FOSTORIA         MI 48435‐9716
MEYER, JOHN N         64 DELRAY DR                                                                           BUFFALO          NY 14225‐1653
MEYER, JOHN P         PO BOX 1212                                                                            N TONAWANDA      NY 14120‐9212
MEYER, JOHN T         4819 COLE BEND RD                                                                      COLUMBIA         TN 38401‐7686
MEYER, JOHN W         PO BOX 380                                                                             MIAMISBURG       OH 45343‐0380
MEYER, JOHN WALLACE   7655 S COCHRAN RD                                                                      OLIVET           MI 49076‐9443
MEYER, JOSEPH A       PO BOX 315                                                                             ANTWERP          OH 45813‐0315
MEYER, JOYCE M        5390 SOMERSET LN S                                                                     GREENFIELD       WI 53221
MEYER, JUDITH L       1390 W BURT RD                                                                         MONTROSE         MI 48457‐9353
MEYER, JUDITH M       PO BOX 116                                                                             WELLINGTON       MO 64097‐0116
MEYER, JULIANN A      217 JOANNE DR                                                                          DAVENPORT        FL 33897‐9468
MEYER, JUNE F         3513 SOUTH AVE                                                                         SANDUSKY         OH 44870‐5459
MEYER, JUNE F         3513 SOUTH AVENUE                                                                      SANDUSKY         OH 44870‐5459
MEYER, KARL E         24106 NEW YORK ST                                                                      DEARBORN         MI 48124‐3211
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Name                       Address1                       Address2            Address3         Address4         City               State Zip
MEYER, KEITH AARON         3047 S STATE AVE                                                                     INDIANAPOLIS        IN 46237‐1023
MEYER, KEITH M             1045 BARRINGTON LANDING CT                                                           ROSWELL             GA 30076‐2219
MEYER, KENNETH E           5344 KING ARTHURS CT                                                                 GLADWIN             MI 48624‐8205
MEYER, KENNETH G           51 BRIAN AVE                                                                         WILLIAMSVILLE       NY 14221‐3809
MEYER, KENNETH J           4108 WESTMEADOW DR APT 102                                                           COLORADO SPRINGS    CO 80906
MEYER, KENNETH L           2015 WELSH DR                                                                        WEST HARRISON       IN 47060‐9666
MEYER, KENNY D             4141 DEEP CREEK RD SPC 45                                                            FREMONT             CA 94555‐2075
MEYER, KENT L              1605 MELROSE AVE                                                                     EAST LANSING        MI 48823
MEYER, KENTON L            401 ROARING SPRINGS DR                                                               JOSHUA              TX 76058‐3437
MEYER, KERRY               1710 S 11TH ST                                                                       COUNCIL BLUFFS       IA 51501‐7109
MEYER, KEVIN               1064 ASPEN VALLEY DR                                                                 ONALASKA            WI 54650‐8221
MEYER, KEVIN               2275 LAUREL RD                                                                       HINCKLEY            OH 44233‐9519
MEYER, KIRK T              PO BOX 9022                    C/O HOLDEN                                            WARREN              MI 48090‐9022
MEYER, LARRY D             404 HILLTOP ST                                                                       BUNCETON            MO 65237‐1033
MEYER, LARRY J             10707 BALES AVE                                                                      KANSAS CITY         MO 64137
MEYER, LARRY J             9581 GEDDES RD                                                                       SAGINAW             MI 48609‐9209
MEYER, LAVERN M            1205 S ORANGE ST                                                                     CONCORDIA           MO 64020‐9378
MEYER, LAWRENCE J          2453 HORTON ST                                                                       CRESCENT SPRINGS    KY 41017‐1417
MEYER, LAWRENCE J          2315 LIBERTY LN                                                                      JANESVILLE          WI 53545‐0503
MEYER, LEE
MEYER, LEE M               STATE FARM                     PO BOX 2371                                           BLOOMINGTON        IL   61702‐2371
MEYER, LEMOINE K           1212 CONDE ST APT 104                                                                JANESVILLE         WI   53546‐5861
MEYER, LENA                2711 BROOKFORREST RD. #17R                                                           AUSTELL            GA   30168
MEYER, LEONARD H           2112 MCKINLEY ST                                                                     BAY CITY           MI   48708‐6809
MEYER, LESLIE M            47721 222ND ST W WEST                                                                LANCASTER          CA   93536
MEYER, LESLIE R            892 HAMPTON DR                                                                       MACEDONIA          OH   44056‐1922
MEYER, LEWIS E             10498 HALLER ST                                                                      DEFIANCE           OH   43512‐1234
MEYER, LEWIS J             6388 WOODCHUCK DR                                                                    PENDLETON          IN   46064‐9076
MEYER, LILLIAN E           134 REIF ST                                                                          FRANKENMUTH        MI   48734‐1512
MEYER, LILLIAN M           16663 FAIRMOUNT DR                                                                   DETROIT            MI   48205‐1538
MEYER, LINDA E             297 HIGH RIDGE RD                                                                    PISGAH FOREST      NC   28768‐9005
MEYER, LINDA K             N389 POTTAWATOMI TRL                                                                 MILTON             WI   53563‐9501
MEYER, LINDA L             1713 W AVALON RD                                                                     JANESVILLE         WI   53546‐8955
MEYER, LINDA L             8092 N 94TH ST                                                                       MILWAUKEE          WI   53224‐2943
MEYER, LLOYD B             PO BOX 74678                                                                         ROMULUS            MI   48174‐0678
MEYER, LOIS B              1327 HAVEN DR                                                                        OVIEDO             FL   32765‐5204
MEYER, LOREN D             11602 DOWNEY AVE UNIT C                                                              DOWNEY             CA   90241‐4939
MEYER, LORI J              4506 OLD KENNEDY RD                                                                  MILTON             WI   53563‐8978
MEYER, LORRAINE E          1722 FARM LN                                                                         REESE              MI   48757‐9545
MEYER, LORRAINE E          1722 FARM LANE                                                                       REESE              MI   48757‐9545
MEYER, LW ASSOCIATES INC   2196 WALNUT LAKE RD                                                                  WEST BLOOMFIELD    MI   48323‐3736
MEYER, LYNN J              3018 HULL RD                                                                         HURON              OH   44839
MEYER, M J                 9514 E 24TH ST                                                                       INDIANAPOLIS       IN   46229‐1257
MEYER, MACQUELINE J        3097 NORTH STATE R# 123                                                              LEBANON            OH   45036
MEYER, MARGARET ANN        115 GREENHILL DR                                                                     WHITE LAKE         MI   48386‐1945
MEYER, MARGARET H          PO BOX 248                                                                           NEW MEADOWS        ID   83654‐0248
MEYER, MARGARET J          4536 NE 56TH ST                                                                      KANSAS CITY        MO   64119‐2850
MEYER, MARGARET S          5040 N ROCHESTER RD                                                                  ROCHESTER          MI   48306‐1836
MEYER, MARGIE H            1301 N MERLIN TER                                                                    CRYSTAL RIVER      FL   34429‐5724
MEYER, MARGUERITE I        1942 BURNING BUSH CT                                                                 ROCHESTER HILLS    MI   48309‐3323
MEYER, MARILYN J           2408 MISSOURI AVE                                                                    FLINT              MI   48506‐3829
MEYER, MARILYN J           1321 HAMILTON AVE                                                                    JANESVILLE         WI   53548‐0136
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Name                   Address1                              Address2                       Address3   Address4         City                 State Zip
MEYER, MARILYNN L      1731 LORA ST                                                                                     ANDERSON              IN 46013‐2741
MEYER, MARK            201 PLEASANT HILL DR                                                                             CENTERVILLE           OH 45459‐4607
MEYER, MARK D          107 EMS B7 LANE                                                                                  LEESBURG              IN 46538‐8971
MEYER, MARTHA          7089 N MCKINLEY RD                                                                               FLUSHING              MI 48433‐9010
MEYER, MARTHA          1700 WEST BENDER RD                                                                              GLENDALE              WI 53209‐3852
MEYER, MARTIN S        24765 EDGEMONT DR                                                                                SOUTHFIELD            MI 48033‐6436
MEYER, MARVIN P        1925 CONEFLOWER COURT                                                                            YORKVILLE              IL 60560‐4623
MEYER, MARY            PO BOX 30027                                                                                     JEWELL                OH 43530‐0027
MEYER, MARY A          7756 CLYO RD                                                                                     CENTERVILLE           OH 45459‐4831
MEYER, MARY A          932 NORTH 9TH STREET                                                                             BREESE                 IL 62230‐1355
MEYER, MARY A          932 N 9TH ST                                                                                     BREESE                 IL 62230‐1355
MEYER, MARY E          320 S JUNIPER ST                      APT 3                                                      EDMORE                MI 48829‐9382
MEYER, MARY L          102 BRIDLEWOOD DR                                                                                LOCKPORT              NY 14094‐4831
MEYER, MARY M          906 ARTHUR ST                                                                                    ROCHESTER             IN 46975‐2400
MEYER, MARY S          APT 125                               5601 HATCHERY ROAD                                         WATERFORD             MI 48329‐3452
MEYER, MARYELLEN C     125 RIDGE DR                                                                                     LAPEER                MI 48446‐2825
MEYER, MATT J          11296 WILLIAMS CENTER CECIL RD                                                                   SHERWOOD              OH 43556‐9759
MEYER, MATTHEW P       981 COVENTRY CT                                                                                  OXFORD                MI 48371‐6723
MEYER, MAURICE G       1903 CHRISTY RD                                                                                  DEFIANCE              OH 43512‐9797
MEYER, MERVYN J        1222 BOARD MOORE CIRCLE                                                                          FRANKLIN              TN 37067
MEYER, MICHAEL D       493 PINE TREE RD                                                                                 LAKE ORION            MI 48362‐2546
MEYER, MICHAEL G       5090 HECKATHORN ROAD                                                                             BROOKVILLE            OH 45309‐8381
MEYER, MICHAEL H       720 13 MILE RD NW                                                                                SPARTA                MI 49345‐9570
MEYER, MICHAEL H       4295 CHAMBERS RD                                                                                 MAYVILLE              MI 48744‐9799
MEYER, MICHAEL S       C950 COUNTY ROAD 18                                                                              HOLGATE               OH 43527‐9795
MEYER, MICHAEL SCOTT   C950 COUNTY ROAD 18                                                                              HOLGATE               OH 43527‐9795
MEYER, MICHELLE L      29019 WINDJAMMER DR                                                                              TEGA CAY              SC 29708‐7222
MEYER, MILTON L        1269 WATTLES RD                                                                                  COLON                 MI 49040‐9700
MEYER, MIRIAM A.       7772 TIMBERS EDGE                                                                                WATERVILLE            OH 43566‐9410
MEYER, NANCY E         1925 CONEFLOWER CT                                                                               YORKVILLE              IL 60560‐4623
MEYER, NORBERT         2840 WURTZEL DR W                                                                                FREELAND              MI 48623‐7810
MEYER, NORMA L         1993 W LIBERTY ST                                                                                ANN ARBOR             MI 48103‐4535
MEYER, NORMAN H        4059 OBERLIN RD                                                                                  GLADWIN               MI 48624‐8954
MEYER, OLGA            44 CURRY RD                                                                                      HASTINGS ON HUDSON    NY 10706‐4019
MEYER, PAMELA M        34159 WOOD ST                                                                                    LIVONIA               MI 48154‐2533
MEYER, PAMELA MAY      34159 WOOD ST                                                                                    LIVONIA               MI 48154‐2533
MEYER, PATRICIA E      5741 CHESTNUT HILL DR                                                                            CLARKSTON             MI 48346‐3007
MEYER, PATRICK A       4506 OLD KENNEDY RD                                                                              MILTON                WI 53563‐8978
MEYER, PAUL A          821 COLUMBIA DR                                                                                  JANESVILLE            WI 53546‐1723
MEYER, PAUL D          2008 SUNSET DR. D‐2                                                                              ZAPATA                TX 78076
MEYER, PAUL E          13509 INDIAN BOW CIR                                                                             GARFIELD              AR 72732‐9654
MEYER, PAUL E          1487 N LEXINGTON RD                                                                              MARION                IN 46952‐9350
MEYER, PAUL E          820 PLANTATION DR                                                                                SAGINAW               MI 48638‐7173
MEYER, PAUL E          GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW               MI 48604‐2602
                                                             260
MEYER, PAUL F          148 BEAVER CREEK RD                                                                              LACHINE              MI   49753‐9400
MEYER, PAUL S          673 LYNNDALE CT                                                                                  ROCHESTER HILLS      MI   48309‐2436
MEYER, PAUL S          11416 ROUND LN W                                                                                 HASLET               TX   76052‐4163
MEYER, PAULINE C       20 S ROCK RD                                                                                     MANSFIELD            OH   44903‐9203
MEYER, PHILIP E        106 HOLDINGHAUSEN DR                                                                             CRYSTAL CITY         MO   63019‐1104
MEYER, PHILIP J        1633 COUNTY ROAD 23                                                                              STRYKER              OH   43557‐9401
MEYER, PHILIP JAMES    1633 COUNTY ROAD 23                                                                              STRYKER              OH   43557‐9401
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Name                Address1                        Address2                          Address3   Address4         City               State Zip
MEYER, RANDY R      5735 BIG PINE DR                                                                              YPSILANTI           MI 48197‐7184
MEYER, RAYMOND L    39 BEAUVOIR CIR                                                                               ANDERSON            IN 46011‐1906
MEYER, REBECCA L    9321 ROUND HILL CT                                                                            GRAND BLANC         MI 48439‐9527
MEYER, RICHARD      BROOKMAN ROSENBERG BROWN &      17TH FLR, ONE PENN SQUARE WEST,                               PHILADELPHIA        PA 19102
                    SANDLER                         30 SOUTH 15TH STREET
MEYER, RICHARD
MEYER, RICHARD A    10206 TOLEDO CIR                                                                              BLOOMINGTON        MN   55437‐2510
MEYER, RICHARD D    75 E. MULLETT LAKE ROAD                                                                       INDIAN RIVER       MI   49749
MEYER, RICHARD D    6114 KINGSWOOD DR                                                                             ARLINGTON          TX   76001‐5450
MEYER, RICHARD D    4249 N QUINCY AVE                                                                             KANSAS CITY        MO   64117‐2083
MEYER, RICHARD E    4458 W NICHOLSON HILL RD                                                                      OSSINEKE           MI   49766‐9725
MEYER, RICHARD E    2880 HALEY RD                                                                                 WHITE LAKE         MI   48383‐2019
MEYER, RICHARD M    7648 CLOVERBROOK PARK DR                                                                      CENTERVILLE        OH   45459‐5005
MEYER, RICHARD M    21617 JEFFERSON ST                                                                            FARMINGTON HILLS   MI   48336‐5735
MEYER, RICHARD M    2233 VAN ST                                                                                   PRESCOTT           MI   48756‐9678
MEYER, RICHARD W    22 CARNEGIE DR                                                                                PRINCETON          NJ   08540‐4024
MEYER, RICK L       2024 ELLEN AVE                                                                                FORT WAYNE         IN   46808‐3011
MEYER, ROBERT       1226 RUIE RD                                                                                  NORTH TONAWANDA    NY   14120‐2226
MEYER, ROBERT C     3839 SPRINGWOOD CT                                                                            AUBURN HILLS       MI   48326‐1887
MEYER, ROBERT D     1921 W MAIN ST                                                                                NEW LEBANON        OH   45345‐9708
MEYER, ROBERT E     634 E COUNTY ROAD 1000 S                                                                      CLAYTON            IN   46118‐8915
MEYER, ROBERT E     1202 HACKBERRY DR                                                                             MARBLE FALLS       TX   78654‐7261
MEYER, ROBERT E     23616 N HILLTOP TRL                                                                           ATLANTA            MI   49709‐9793
MEYER, ROBERT E     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510‐2212
                                                    STREET, SUITE 600
MEYER, ROBERT H     17260 ST RT 634 RT 2                                                                          FORT JENNINGS      OH   45844
MEYER, ROBERT J     200 DEER RUN                                                                                  CROSSVILLE         TN   38571‐3226
MEYER, ROBERT J     712 GLOUCESTER DR                                                                             HURON              OH   44839‐1424
MEYER, ROBERT J     613 W 3RD ST                                                                                  FLINT              MI   48503‐2664
MEYER, ROBERT L     8444 MAPLEVIEW DR                                                                             DAVISON            MI   48423‐7804
MEYER, ROBERT L     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                    STREET, SUITE 600
MEYER, ROBERT T     320 DEGEORGE CIR APT 3                                                                        ROCHESTER          NY   14626‐4833
MEYER, ROBERT T     7510 MOORISH RD                                                                               BRIDGEPORT         MI   48722‐9769
MEYER, ROBERT W     8435 LYNESS DR                                                                                CINCINNATI         OH   45239‐4240
MEYER, ROBERTA L    1230 E HARRISON ST                                                                            MARTINSVILLE       IN   46151‐1227
MEYER, ROGER L      5378 N 400 W                                                                                  WABASH             IN   46992‐8738
MEYER, RONALD A     217 HURON AVE                                                                                 DEFIANCE           OH   43512‐3316
MEYER, RONALD E     10940 BRAMPTON HTS P.1 LA.                                                                    BRAMPTON           MI   49837
MEYER, RONALD E     3952 FORGE DR                                                                                 TROY               MI   48083‐5905
MEYER, RONALD G     RR1 SANDBORN RD                                                                               SUNFIELD           MI   48890
MEYER, RONALD W     13724 STRASBURG RD                                                                            LA SALLE           MI   48145‐9501
MEYER, RONNIE E     9756 SUMMERFIELD RD                                                                           TEMPERANCE         MI   48182‐9762
MEYER, ROSE         9 FITHIAN DRIVE                                                                               NEW CASTLE         DE   19720‐3248
MEYER, ROSE         300 CRANBROOK DR                                                                              SAGINAW            MI   48638
MEYER, ROSE         44505 FORD RD APT 310                                                                         CANTON             MI   48187
MEYER, ROSEMARY D   1604 MILLS RD                                                                                 PRESCOTT           MI   48756‐9279
MEYER, RUTH A       34 SOENKER CIR                                                                                ST PETERS          MO   63376‐4291
MEYER, RUTH ANN     2965 CHAUCHER DRIVE NE                                                                        NORTH CANTON       OH   44721‐3610
MEYER, RUTH G.      3190 S MANOR DR                                                                               NEW BERLIN         WI   53151‐4356
MEYER, RUTH H       306 KEEVER ST                                                                                 LEBANON            OH   45036‐2104
MEYER, RUTH H       306 KEEVER STREET                                                                             LEBANON            OH   45036‐2104
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MEYER, RUTH M                          1725 WICKLOW WAY                      C/O MARY L. SMITH                                                               MADISON                 WI 53711‐3666
MEYER, RYAN                            3267 HICKORY RIDGE LN                                                                                                 GREEN BAY               WI 54311‐8901
MEYER, RYAN                            6113 NW 33RD TER                                                                                                      GAINESVILLE             FL 32653‐1708
MEYER, RYAN                            40555 RAMBLEWOOD CT                                                                                                   CANTON                  MI 48188‐5078
MEYER, SARAH R                         8417 HILLCREST CT                                                                                                     NORTH RICHLAND HILLS    TX 76180‐3115
MEYER, SCOTT T                         9436 N SERNS RD                                                                                                       MILTON                  WI 53563‐8732
MEYER, SHARON A                        27012 HOLMES RD                                                                                                       SAINT MARY              MO 63673‐9216
MEYER, SONJA                           275 COUNTY ROAD 144                                                                                                   CEDAR BLUFF             AL 35959‐3217
MEYER, STEPHEN
MEYER, STEPHEN C                       3 ABBOTT DR                                                                                                           KETTERING              OH 45420‐2903
MEYER, STEPHEN L                       1761 NW 775TH RD                                                                                                      BATES CITY             MO 64011‐9126
MEYER, STEVEN
MEYER, STEVEN G                        6960 HEATHERIDGE BLVD                                                                                                 SAGINAW                MI   48603‐8602
MEYER, SUOZZI, ENGLISH & KLEIN         JOHN V.N. KLEIN                       990 STEWART AVE.               PO BOX 9194                                      GARDEN CITY            NY   11530
MEYER, SUOZZI, ENGLISH & KLEIN, P.C.   JOHN V.N. KLEIN, ESQ.                 1505 KELLUM PL                                                                  MINEOLA                NY   11501‐4811
MEYER, SUOZZI, ENGLISH & KLEIN, P.C.   ATTY FOR PITNEY BOWES, INC, PITNEY    ATT: EDWARD J. LOBELLO, ESQ.   1350 BROADWAY, SUITE 501    P.O. BOX 822         NEW YORK               NY   10018‐0822
                                       BOWES MGT SVS, INC, PITNEY BOWES SO

MEYER, SUOZZI, ENGLISH & KLEIN, P.C.   ATTY FOR INT'L UNION UAW AND UAW ET ATT: HANAN B. KOLKO, ESQ.        1350 BROADWAY, SUITE 501    P.O. BOX 822         NEW YORK               NY 10018
                                       AL
MEYER, SUOZZI, ENGLISH & KLEIN, P.C.   ATTY FOR INT'L UNION UAW AND UAW ET ATT: EDWARD LOBELLO, ALAN        990 STEWART AVENUE, SUITE                        GARDEN CITY            NY 11530
                                       AL                                  MARDER. JIL MAZER‐MARINO, J.     300
                                                                           RANDO CRISTIANO
MEYER, SUOZZI, ENGLISH & KLEIN, PC     151 S OLD WOODWARD AVE              SUITE 200                                                                         BIRMINGHAM             MI 48009
MEYER, SUOZZI, ENGLISH & KLIEN, PC     ATTORNEY FOR DOMINION VA, ET AL     ATTENTION: THOMAS R. SLOME       990 STEWART AVENUE, SUITE PO BOX 9194            GARDEN CITY            NY 11530‐9194
                                                                                                            300
MEYER, SUOZZI, ENGLISH & KLIEN, PC     ATTORNEY FOR COMMONWEALTH EDISON ATTENTION: THOMAS R. SLOME          990 STEWART AVENUE, SUITE PO BOX 9194            GARDEN CITY            NY 11530‐9194
                                                                                                            300
MEYER, SUOZZI, ENGLISH & KLIEN, PC     ATTORNEY FOR PECCO ENERGY             ATTENTION: THOMAS R. SLOME     990 STEWART AVENUE, SUITE PO BOX 9194            GARDEN CITY            NY 11530‐9194
                                                                                                            300
MEYER, SUSAN M                         4276 POST RAIL LN                                                                                                     FRANKLIN               OH   45005‐4923
MEYER, TERRY A                         186 OLD 40 HWY                                                                                                        BATES CITY             MO   64011
MEYER, TERRY L                         2725 TIMBERLINE DR                                                                                                    BELLEVILLE             IL   62226‐4933
MEYER, TERRY M                         4921 WILLOWBEND DR                                                                                                    MURFREESBORO           TN   37128‐3729
MEYER, TERRY M                         225 ROOSEVELT AVE                                                                                                     JANESVILLE             WI   53546‐3205
MEYER, THOMAS C                        3801 WHITNEY AVE                                                                                                      FLINT                  MI   48532‐5243
MEYER, THOMAS CHARLES                  3801 WHITNEY AVE                                                                                                      FLINT                  MI   48532‐5243
MEYER, THOMAS J                        1909 TERRAPIN BRANCH RD                                                                                               MT PLEASANT            TN   38474‐1961
MEYER, THOMAS L                        525 BELLE AVE                                                                                                         HAMILTON               OH   45015
MEYER, TIMOTHY                         21 W PLEASANTVIEW CT                                                                                                  APPLETON               WI   54914‐1530
MEYER, TIMOTHY E                       4211 FIRETHORN DR                                                                                                     SAGINAW                MI   48603‐1117
MEYER, TIMOTHY J                       1223 HINCHEY RD                                                                                                       ROCHESTER              NY   14624‐2736
MEYER, TIMOTHY L                       15041 SHERWOOD DR                                                                                                     WALKER                 LA   70785‐7342
MEYER, TODD L                          707 W HIGH ST                                                                                                         DEFIANCE               OH   43512‐1407
MEYER, TODD LENARD                     707 W HIGH ST                                                                                                         DEFIANCE               OH   43512‐1407
MEYER, TOMMY J                         461 FERGUSON COVE LOOP                                                                                                CLYDE                  NC   28721‐8357
MEYER, TOMMY J                         4960 W 8TH STREET RD                                                                                                  ANDERSON               IN   46011‐9758
MEYER, VIRGINIA B                      3025 MILL POND DR                                                                                                     BELLBROOK              OH   45305‐1480
MEYER, WALTER C                        10 GENEVIEVE DR                                                                                                       BLOOMINGBURG           NY   12721‐4911
MEYER, WAYNE A                         3751 S BERN RD                                                                                                        BAY CITY               MI   48706‐9235
MEYER, WAYNE R                         29019 WINDJAMMER DR                                                                                                   FORT MILL              SC   29708‐7222
MEYER, WAYNE S                         1922 PENBROOK LN                                                                                                      FLINT                  MI   48507‐6035
                                       09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit B
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Name                                  Address1                                Address2                           Address3   Address4         City               State Zip
MEYER, WILLARD J                      10019 CREEKWOOD TRL                                                                                    DAVISBURG           MI 48350‐2058
MEYER, WILLIAM                        OBRIEN LAW FIRM                         1 METROPOLITAN SQ STE 1500                                     SAINT LOUIS         MO 63102‐2799
MEYER, WILLIAM A                      12634 N CLINTON TRL                                                                                    SUNFIELD            MI 48890‐9709
MEYER, WILLIAM A                      3097 ST. RT.# 123                                                                                      LEBANON             OH 45036
MEYER, WILLIAM C                      1121 WARREN DRIVE                                                                                      CARO                MI 48723‐9512
MEYER, WILLIAM C                      151 SMITHFIELD RD                                                                                      BATTLE CREEK        MI 49015‐3521
MEYER, WILLIAM D                      PO BOX 81                                                                                              POTTSVILLE          PA 17901‐0081
MEYER, WILLIAM E                      1 KENNEALLY BLVD                                                                                       GLADSTONE           MI 49837‐2470
MEYER, WILLIAM F                      19355 INGRAM DR                                                                                        CLINTON TOWNSHIP    MI 48038‐2242
MEYER, WILLIAM H                      26148 BLUEBELL ST                                                                                      SUN CITY            CA 92586‐3753
MEYER, WILLIAM J                      ANGELOS PETER G LAW OFFICES OF          100 N CHARLES STREET, ONE                                      BALTIMORE           MD 21202
                                                                              CHARLES CENTER 22ND FLOOR
MEYER, WILLIAM L                      183 N MANSFIELD ST                                                                                     YPSILANTI          MI   48197
MEYER, WILLIAM L                      2189 HAWTHORNE DR                                                                                      DEFIANCE           OH   43512‐9670
MEYER, WILLIAM R                      2544 EATON GATE RD                                                                                     LAKE ORION         MI   48360‐1849
MEYER, WILLIAM R                      6540 ELLSWORTH ST                                                                                      MARLETTE           MI   48453‐1020
MEYER, WILLIAM R                      LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                               PHILADELPHIA       PA   19106
                                      GRAY                                    510 WALNUT STREET
MEYER, WILLIAM S                      4276 POST RAIL LN                                                                                      FRANKLIN           OH   45005‐4923
MEYER, WILLIAM S                      4474 E PARK DR                                                                                         BAY CITY           MI   48706‐2550
MEYER, WILLIS E                       11703 SE 174TH LOOP                                                                                    SUMMERFIELD        FL   34491
MEYER, WILMA                          4180 JAMIE ANN DR                                                                                      MISSOULA           MT   59803‐2794
MEYER, ZACHARY                        PO BOX 1201                                                                                            OMAK               WA   98841‐1201
MEYER‐EARP AUTO CENTER, L.L.C.        DOUGLAS MEYER                           1100 E ST                                                      AUBURN             NE   68305‐1230
MEYER‐EARP CHEVROLET, CADILLAC, PON   1100 E ST                                                                                              AUBURN             NE   68305‐1230

MEYER‐EARP CHEVROLET, CADILLAC,       1100 E ST                                                                                              AUBURN             NE 68305‐1230
PONTIAC
MEYER‐SMITH, APRYL D                  3882 DUIXIE SCHOOL RD.                                                                                 MACUNE             TX   76255
MEYER‐SMITH, APRYL DAWN               3882 DUIXIE SCHOOL RD.                                                                                 MACUNE             TX   76255
MEYERAND, MICHAEL G                   2302 HIDDEN TRAIL DR                                                                                   STERLING HTS       MI   48314‐3740
MEYERAND, PAUL R                      5238 STREEFKERK DR                                                                                     WARREN             MI   48092‐3186
MEYERAND, SUSAN E                     6031 WILD TURKEY RD                                                                                    GRAND BLANC        MI   48439‐7917
MEYERHOEFER JAMES P (480089)          WEITZ & LUXENBERG                       180 MAIDEN LANE                                                NEW YORK           NY   10038
MEYERHOEFER, HENRY J                  6023 PALMETTO ST                                                                                       RIDGEWOOD          NY   11385‐3240
MEYERHOEFER, JAMES P                  WEITZ & LUXENBERG                       180 MAIDEN LANE                                                NEW YORK           NY   10038
MEYERHOFER, DONALD A                  101 MEADOWBROOK LN                                                                                     LA FAYETTE         GA   30728‐2587
MEYERHOFER, DOROTHY M                 5080 NEWBURY                                                                                           MT MORRIS          MI   48458
MEYERHOLT JR, KARL F                  1174 WILFORD COURT                                                                                     REESE              MI   48757‐9534
MEYERHOLT, SALLY L                    1174 WILFORD COURT                                                                                     REESE              MI   48757‐9534
MEYERING, MARJORIE                    6301 MELBORNE CT.                                                                                      HUDSONVILLE        MI   49426‐8726
MEYERING, MARJORIE                    6301 MELBOURNE CT                                                                                      HUDSONVILLE        MI   49426‐8726
MEYERKORD, DANIEL J                   11208 73RD PL                                                                                          BURR RIDGE         IL   60527‐4939
MEYERLAND CITGO                       5265 BEECHNUT ST                                                                                       HOUSTON            TX   77096‐1322
MEYERRING, RICHARD P                  5170 S SKYLINE DR                                                                                      NEW BERLIN         WI   53151‐8060
MEYERRING, STEVEN                     7829 HIGHWAY X                                                                                         THREE LAKES        WI   54562‐9227
MEYERROSE, DEANNA                     316 W TACOMA ST                                                                                        CLAWSON            MI   48017‐1984
MEYERS BROTHERS CHEVROLET SALES, IN   4748 1ST ST                                                                                            NEW ERA            MI   49446‐5100

MEYERS BROTHERS CHEVROLET SALES, INC. 4748 1ST ST                                                                                            NEW ERA            MI 49446‐5100
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Name                                  Address1                           Address2                        Address3   Address4              City               State Zip
MEYERS BROTHERS CHEVROLET SALES, INC. SCOTT MEYERS                       4748 1ST ST                                                      NEW ERA             MI 49446‐5100

MEYERS CHARLES W                     3812‐B ADELAIDE DRIVE                                                                                MOUNT LAUREL       NJ   08054
MEYERS CHERYL                        MEYERS, CHERYL                      5055 WILSHIRE BLVD STE 300                                       LOS ANGELES        CA   90036‐6101
MEYERS CHRISTOPHER                   MEYERS, CHRISTOPHER                 143 4TH ST                                                       SILEIS             IL   61282
MEYERS DOUGLAS FRANK (657428)        LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                       BIRMINGHAM         MI   48009‐5394
                                                                         406
MEYERS HARRY O III                   15529 DELLINGER RD                                                                                   WILLIAMSPORT       MD   21795‐2036
MEYERS II, ELDON J                   6320 RUSTIC RIDGE TRL                                                                                GRAND BLANC        MI   48439‐4959
MEYERS III, HARRY O                  15529 DELLINGER RD                                                                                   WILLIAMSPORT       MD   21795‐2036
MEYERS JAMES (465081)                BILBREY & HYLIA                     8724 PIN OAK RD                                                  EDWARDSVILLE       IL   62025‐6822
MEYERS JAMES (493055)                BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                    NORTHFIELD         OH   44067
                                                                         PROFESSIONAL BLDG
MEYERS JR, ALBERT J                  34930 HARROUN ST                                                                                     WAYNE              MI   48184‐3203
MEYERS JR, EDWARD                    25550 JENNIFER                                                                                       REDFORD            MI   48239‐1722
MEYERS JR, EDWARD C                  21601 TROMBLY ST                                                                                     ST CLAIR SHRS      MI   48080‐3976
MEYERS JR, GERALD F                  1013 SUMMERFIELD DR                                                                                  MARYVILLE          TN   37801‐8995
MEYERS JR, HARRY O                   16705 TAMMANY MANOR RD                                                                               WILLIAMSPORT       MD   21795‐1343
MEYERS JR, JOSEPH S                  PO BOX 714                                                                                           MIMS               FL   32754‐0714
MEYERS JR, MILTON H                  15 JAMES RIVER BLVD                                                                                  ADRIAN             MI   49221
MEYERS JR., EDWARD J                 130 W BROADWAY UNIT M                                                                                BEL AIR            MD   21014‐3564
MEYERS JR., EDWARD JOSEPH            130 W BROADWAY UNIT M                                                                                BEL AIR            MD   21014‐3564
MEYERS JUDY                          MEYERS, JUDY                        55 PUBLIC SQ STE 650                                             CLEVELAND          OH   44113‐1909
MEYERS KENNETH                       MEYERS, KENNETH                     8391 BEVERLY BLVD                                                LOS ANGELES        CA   90048‐2633
MEYERS LAURA J                       205 WOODBINE AVE                                                                                     STATEN ISLAND      NY   10314‐1835
MEYERS LYNN                          PO BOX 12133                                                                                         GRAND FORKS        ND   58208‐2133
MEYERS MARK                          2799 OLD MILL RD                                                                                     HUDSON             OH   44237‐0001
MEYERS MICHAEL                       PO BOX 457                                                                                           VIBORG             SD   57070‐0457
MEYERS MICHAEL S                     14650 LAKESIDE CIR APT 2013                                                                          STERLING HTS       MI   48313‐6020
MEYERS RANDY                         MEYERS, RANDY                       1930 E MARLTON PIKE SUITE Q29                                    CHERRY HILL        NJ   08003
MEYERS SCOTT                         504 NORTH BAILEY AVENUE                                                                              FORT WORTH         TX   76107‐1004
MEYERS TRANSPORT LIMITED             1049 CRAWFORD DR                                                               PETERBOROUGH CANADA
                                                                                                                    ON K9J 6X6 CANADA
MEYERS WALTER                        ICO THE LANIER LAW FIRM P C         6810 FM 1960 WEST                                                HOUSTON            TX   77069
MEYERS' AUTO TECH                    1120 N GRANT PL                                                                                      KENNEWICK          WA   99336‐2150
MEYERS, ADELINE M                    477 RED CEDAR BLVD                                                                                   WILLIAMSTON        MI   48895‐9585
MEYERS, ALBERTA                      36995 THINBARK ST                                                                                    WAYNE              MI   48184‐1141
MEYERS, ALVIN R                      24191 DANCING STREAM SPUR RD                                                                         TECUMSEH           OK   74873‐7381
MEYERS, ANDREA                       3520 SULGRAVE PLACE                                                                                  IOWA CITY          IA   52246
MEYERS, ANN M                        8934 TUTT BLVD                                                                                       COLORADO SPRINGS   CO   80924
MEYERS, ANNETTE H                    2120 SAVANNA DR                                                                                      JANESVILLE         WI   53546‐1151
MEYERS, AYAKO                        3013 EAGLE RIDGE DR                                                                                  PLATTE CITY        MO   64079‐7251
MEYERS, BARBARA A                    8408 RICH AVE S                                                                                      BLOOMINGTON        MN   55437‐1346
MEYERS, BARBARA E                    136 E BROADWAY                                                                                       WOODLAND           MI   48897‐9797
MEYERS, BARBARA J                    4703 PINEMORE LN                                                                                     LAKE WORTH         FL   33463‐6992
MEYERS, BARBARA J                    231 BALDWIN ST                                                                                       LYONS              MI   48851‐9738
MEYERS, BELINDA ANN                  622 N CHARLES ST                                                                                     SAGINAW            MI   48602‐4803
MEYERS, BELINDA ANN                  622 N CHARLES                                                                                        SAGINAW            MI   48602‐4803
MEYERS, BETTY J                      832 NORTH WILLOW STREET                                                                              RUSHVILLE          IN   46173‐1432
MEYERS, BETTY J                      832 N WILLOW ST                                                                                      RUSHVILLE          IN   46173‐1432
MEYERS, BETTY L                      PO BOX 714                                                                                           MIMS               FL   32754‐0714
MEYERS, BEVERLY                      1109 S WHEELING ST APT G61                                                                           OREGON             OH   43616‐3248
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Name                    Address1                            Address2                     Address3   Address4         City               State Zip
MEYERS, BRIAN R         1112 NORTH RIVER AVENUE                                                                      GLENDIVE            MT 59330‐1933
MEYERS, CALVIN J        6400 STADLER RD                                                                              MONROE              MI 48162‐9135
MEYERS, CARL H          3604 UPPER MOUNTAIN RD                                                                       SANBORN             NY 14132‐9433
MEYERS, CAROL A         PO BOX 95                                                                                    NORTH JACKSON       OH 44451‐0095
MEYERS, CAROLYN K       205 WAINWOOD DR SE                                                                           WARREN              OH 44484‐4649
MEYERS, CHARLES         BOONE ALEXANDRA                     205 LINDA DR                                             DAINGERFIELD        TX 75638‐2107
MEYERS, CHARLES         18 GORDON AVE                                                                                SOUTH AMBOY         NJ 08879‐2028
MEYERS, CHARLES         4727 BETH ANN DR                                                                             INDIANAPOLIS        IN 46221‐3421
MEYERS, CHARLES B       HILLCREST PARK                                                                               MACEDON             NY 14502
MEYERS, CHARLES C       9397 ISABELLA LN                                                                             DAVISON             MI 48423
MEYERS, CHARLES G       22181 HENNING RD                                                                             DANVILLE             IL 61834‐5549
MEYERS, CHARLES J       3806 MIDVIEW AVE                                                                             BRIDGETON           MO 63044‐2919
MEYERS, CHARLES M       2075 SWETT RD                                                                                LYNDONVILLE         NY 14098‐9611
MEYERS, CHARLES W       3812 B ADELAIDE DRIVE                                                                        MOUNT LAUREL        NJ 08054
MEYERS, CHARLOTTE M     51 DAVIDSON DR                                                                               DEPEW               NY 14043‐4755
MEYERS, CHERYL          KROHN & MOSS ‐ CA,                  5055 WILSHIRE BLVD STE 300                               LOS ANGELES         CA 90036‐6101
MEYERS, CHERYL L        1137 WESTFIELD RD                                                                            LANSING             MI 48917‐2376
MEYERS, CHIQUITA M      801 RIVERVIEW DR                                                                             KOKOMO              IN 46901‐7078
MEYERS, CHRISTOPHER     143 4TH ST                                                                                   SILVIS               IL 61282‐1127
MEYERS, CHRISTY A       333 GRIGGS ST SW                                                                             GRAND RAPIDS        MI 49507‐2366
MEYERS, CLIFFORD W      1177 N CASS LAKE RD                                                                          WATERFORD           MI 48328‐1313
MEYERS, CLIFTON         1005 N BRANDON AVE                                                                           CELINA              OH 45822‐1414
MEYERS, CORTNEY         13 DEER SPRINGS RD                                                                           ANTLERS             OK 74523‐9473
MEYERS, CYNTHIA L       10646 LOOKING GLASS AVE                                                                      PORTLAND            MI 48875‐8472
MEYERS, DALE F          1538 SAINT MARYS CT                                                                          ESSEXVILLE          MI 48732
MEYERS, DANIEL J        205 SHORELINE DR                                                                             FAYETTEVILLE        GA 30215‐4666
MEYERS, DANIEL R        5428 CURTICE RD                                                                              MASON               MI 48854‐9738
MEYERS, DANIEL W        4271 EDGEWATER DR                                                                            VERMILION           OH 44089‐2122
MEYERS, DAVID A         PO BOX 12                                                                                    SARANAC             MI 48881‐0012
MEYERS, DAVID J         12 SAINT JOES DR                                                                             ALLEGANY            NY 14706
MEYERS, DAVID L         1746 OAKWOOD AVE                                                                             ADRIAN              MI 49221‐9622
MEYERS, DAVID L         14011 N NEBRASKA AVE LOT 54                                                                  TAMPA               FL 33613‐2245
MEYERS, DAVID M         GM SERVICE PKZ 98‐01                9432 BANDY LN                                            SAINT BONIFACIUS    MN 55375
MEYERS, DENNIS J        9989 MAIN ST                                                                                 WHITMORE LAKE       MI 48189‐9448
MEYERS, DENNIS JOSEPH   9989 MAIN ST                                                                                 WHITMORE LAKE       MI 48189‐9448
MEYERS, DENNIS M        6 SHAWNEE DR                                                                                 SAINT CHARLES       MO 63301‐0643
MEYERS, DENNIS R        9201 BUTTONFIELD AVE                                                                         MOORE               OK 73160‐9136
MEYERS, DIANA M         8020 GEDDES RD                                                                               SAGINAW             MI 48609‐9530
MEYERS, DONALD A        4547 N LATSON RD                                                                             HOWELL              MI 48855‐7792
MEYERS, DONALD C        281 7TH ST SW                                                                                STRASBURG           OH 44680‐9750
MEYERS, DONNA M         1021 HARVEST LN                                                                              LANSING             MI 48917‐4241
MEYERS, DOREATHA J      169 N EAST ST APT 3                                                                          SPENCER             IN 47460‐1449
MEYERS, DOREENE E       16031 BEECH DALY RD                                                                          TAYLOR              MI 48180‐6144
MEYERS, DOROTHY B       5703 LANCE DR                                                                                KOKOMO              IN 46902‐5438
MEYERS, DOUGLAS F       1958 KINGSTON DR                                                                             PINCKNEY            MI 48169‐8549
MEYERS, DOUGLAS FRANK   1958 KINGSTON DR                                                                             PINCKNEY            MI 48169‐8549
MEYERS, DOUGLAS FRANK   LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                               BIRMINGHAM          MI 48009‐5394
                                                            406
MEYERS, EARL E          9999 WARWICK ST                                                                              DETROIT            MI   48228‐1324
MEYERS, EDDIE R         2080 GRANGE HALL RD                                                                          BEAVERCREEK        OH   45431‐2342
MEYERS, EDWARD P        638 S FINN RD                                                                                MUNGER             MI   48747‐9740
MEYERS, EDWARD PAUL     638 S FINN RD                                                                                MUNGER             MI   48747‐9740
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Name                  Address1                           Address2                  Address3   Address4         City                 State Zip
MEYERS, ELEANOR F     117 VALENCIA                                                                             ROSCOMMON             MI 48653‐9274
MEYERS, ELIZABETH L   3604 UPPER MOUNTAIN RD                                                                   SANBORN               NY 14132‐9433
MEYERS, ELLEN         18907 SCHOONER                                                                           BOCA RATON            FL 33496‐5010
MEYERS, ERNEST E      925 FOREST ST                                                                            CHARLOTTE             MI 48813‐1264
MEYERS, ERNEST E      6671 AMBASSADOR AVE APT 511                                                              GRAND LEDGE           MI 48837‐8719
MEYERS, ETHEL A       198 S TRANSIT ST                                                                         LOCKPORT              NY 14094‐4820
MEYERS, ETHEL A       198 SO TRANSIT ST                                                                        LOCKPORT              NY 14094‐4820
MEYERS, EUGENE R      117 VALENCIA DR                                                                          ROSCOMMON             MI 48653‐9274
MEYERS, FRANCIS E     13933 BENNINGTON BLVD                                                                    CLEVELAND             OH 44130‐7008
MEYERS, FRANK E       162 PILGRIM RD                                                                           TONAWANDA             NY 14150‐9028
MEYERS, FRANK J       142 RIVER RIDGE RD                                                                       BRUNSWICK             GA 31523‐9361
MEYERS, FREDERICK F   3223 ARNOLD CT                                                                           BAY CITY              MI 48706‐3129
MEYERS, GARNETT       RT 1 BOX 202                                                                             MASON TOWN            WV 26542‐9716
MEYERS, GARY E        1301 THEODORE ST                                                                         LANSING               MI 48915‐2150
MEYERS, GARY L        7290 GRAND RIVER TRL                                                                     PORTLAND              MI 48875‐9705
MEYERS, GENE B        6146 ALEXANDRA ST                                                                        SAGINAW               MI 48603‐4237
MEYERS, GEORGE C      5931 OAKWOOD ST                                                                          MONROE                MI 48161‐3960
MEYERS, GEORGE L      5005 3RD PL                                                                              MERIDIAN              MS 39305‐2032
MEYERS, GERALD A      394 CHIP RD                                                                              AUBURN                MI 48611‐9741
MEYERS, GERALD F      3238 JEANNETTE AVE                                                                       TOLEDO                OH 43608‐2151
MEYERS, GERALD W      5119 GLENDALE AVE                                                                        HAMBURG               NY 14075‐5609
MEYERS, GERALDINE F   123 CAROL AVE                                                                            BELLEVUE              OH 44811‐1120
MEYERS, GLORIA J      3018 YALE ST                                                                             FLINT                 MI 48503‐6800
MEYERS, GORDON W      22519 WOODRISING LN                                                                      FARMINGTON HILLS      MI 48335‐3872
MEYERS, HELEN E       93 SPRINGWOOD DR                                                                         WEBSTER               NY 14580‐2811
MEYERS, HERMAN R      15370 KILBIRNIE DR                                                                       FORT MYERS            FL 33912‐2421
MEYERS, IDA K         2809 20TH AVENUE DR W                                                                    BRADENTON             FL 34205‐3825
MEYERS, INEZ M        C/O ROSEMARY K COMBS               200 SILVER MAPLES DRIVE                               CHELSEA               MI 48118
MEYERS, INEZ S        517 EDISON AVENUE                                                                        LANSING               MI 48910‐3322
MEYERS, ISHMAEL J     PO BOX 188                                                                               SUMMERVILLE           SC 29484‐0188
MEYERS, JACK R        2303 OLD HIGHWAY 68                                                                      SWEETWATER            TN 37874‐6549
MEYERS, JAMES         BILBREY & HYLIA                    8724 PIN OAK RD                                       EDWARDSVILLE           IL 62025‐6822
MEYERS, JAMES A       PO BOX 532                                                                               CHELSEA               MI 48118‐0532
MEYERS, JAMES A       1520 AVON ST                                                                             SAGINAW               MI 48602‐3974
MEYERS, JAMES D       6500 N WOODRUFF RD                                                                       WEIDMAN               MI 48893‐9709
MEYERS, JAMES F       205 WAINWOOD DR SE                                                                       WARREN                OH 44484‐4649
MEYERS, JAMES L       10644 SANCTUARY DR NE                                                                    BLAINE                MN 55449‐5384
MEYERS, JAMES S       12270 GROUSE ST NW                                                                       MINNEAPOLIS           MN 55448‐1942
MEYERS, JAMES W       134 DAVE HILL RD                                                                         LAWRENCEBURG          TN 38464‐6520
MEYERS, JANELLEN P    9397 ISABELLA LN                                                                         DAVISON               MI 48423
MEYERS, JANSEN
MEYERS, JAY M         9506 RAVENWOOD CIR                                                                       KNOXVILLE            TN   37922‐3524
MEYERS, JEROME B      406 WILDERNESS TRL                                                                       HOLLAND              OH   43528‐8072
MEYERS, JERRY L       5686 MARINE PKWY                                                                         MENTOR ON THE LAKE   OH   44060‐2554
MEYERS, JERRY R       112 MORGAN CT                                                                            FRANKLIN             OH   45005‐1540
MEYERS, JOAN E        5844 ELK CREEK RD                                                                        DELHI                NY   13753‐1429
MEYERS, JOAN M        1364 MCEWEN ST                                                                           BURTON               MI   48509‐2129
MEYERS, JOEL G        14 GROVE LN                                                                              BROOMALL             PA   19008‐1736
MEYERS, JOEL G        108 W HILLCREST AVE FL 2                                                                 HAVERTOWN            PA   19083‐1131
MEYERS, JOEL K        32 NELSON MAINE                                                                          CARROLLTON           VA   23314‐3105
MEYERS, JOEL K        5905 N HERD RD                                                                           ORTONVILLE           MI   48452‐8714
MEYERS, JOHN B        3770 CLUBHOUSE LN SE                                                                     CONYERS              GA   30094‐3720
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Name                 Address1                         Address2               Address3      Address4         City               State Zip
MEYERS, JOHN C       18926 KINBRACE ST                                                                      NORTHRIDGE          CA 91326‐1033
MEYERS, JOHN F       14583 STOLTZ RD                                                                        DIAMOND             OH 44412‐9611
MEYERS, JOHN S       1620 N HURD RD                                                                         ORTONVILLE          MI 48462‐9402
MEYERS, JON L        11223 DEER LODGE PL SE                                                                 ALBUQUERQUE         NM 87123‐3796
MEYERS, JOSEPH       306 CAMBRIDGE DR                                                                       FAIRBORN            OH 45324‐2720
MEYERS, JOSEPH C     265 TRAVERS PL                                                                         LYNDHURST           NJ 07071‐1821
MEYERS, JOSEPH C     44504 MARC TRL                                                                         PLYMOUTH            MI 48170‐3986
MEYERS, JOSEPH F     8920B ROLL RD                                                                          CLARENCE CENTER     NY 14032‐9142
MEYERS, JOSEPH J     9584 N TUTTLE RD                                                                       FREE SOIL           MI 49411
MEYERS, JOSEPH L     3373 LAKEVIEW ST                                                                       HARRISON            MI 48625‐9182
MEYERS, JOY K        908 CORNELL ROAD                                                                       KOKOMO              IN 46901‐1572
MEYERS, JUDY         KAHN & ASSOCIATES                55 PUBLIC SQ STE 650                                  CLEVELAND           OH 44113‐1909
MEYERS, JUDY ANN     416 FAUTEUX CT.                                                                        ROCHESTER HILLS     MI 48307
MEYERS, JUDY ANN     416 FAUTEUX CT                                                                         ROCHESTER HILLS     MI 48307‐2418
MEYERS, KATRINA L    5003 WESTHILL DR                                                                       LANSING             MI 48917‐4440
MEYERS, KEITH A      4132 SWALLOW DR                                                                        FLINT               MI 48506‐1618
MEYERS, KEITH ALAN   4132 SWALLOW DR                                                                        FLINT               MI 48506‐1618
MEYERS, KEITH N      2353 JOHNSON ROAD RR 2                                                                 BELDING             MI 48809
MEYERS, KENNETH A    919 GROVENBURG RD                                                                      HOLT                MI 48842‐8614
MEYERS, KENNETH A    749 LIVINGSTON AVE                                                                     SHREVEPORT          LA 71107‐3914
MEYERS, KENNETH L    1433 DARREL RD                                                                         TOLEDO              OH 43612‐4213
MEYERS, KENNETH R    47121 HARRY ST                                                                         SHELBY TOWNSHIP     MI 48317‐3423
MEYERS, KENNETH R    1547 PINECREST RD                                                                      FORT MYERS          FL 33919‐6429
MEYERS, KERRY
MEYERS, KIM L        5017 DINSMORE RD                                                                       W CARROLLTON       OH   45449‐2732
MEYERS, KIMBERLY A   3005 RIVERVIEW RD                                                                      LAWRENCE           KS   66049‐2015
MEYERS, LARRY W      94 CLINE DR                                                                            INWOOD             WV   25428‐3014
MEYERS, LAWRENCE D   13714 W MAIN ST                                                                        DALEVILLE          IN   47334‐9756
MEYERS, LAWRENCE H   623 MERRITT ST                                                                         CHARLOTTE          MI   48813‐1982
MEYERS, LAWRENCE J   929 DELHI DR                                                                           TRENTON            OH   45067‐9348
MEYERS, LEE R        31385 MOUND RD APT E                                                                   WARREN             MI   48092‐1629
MEYERS, LEONARD A    12610 LOVERS LANE RD                                                                   SPENCER            OH   44275‐9509
MEYERS, LINDA L      3002 BEACHWALK LN                                                                      KOKOMO             IN   46902
MEYERS, LINDA M      5020 BOWERMAN DR                                                                       TECUMSEH           MI   49286‐8507
MEYERS, LONNIE W     4850 KEW CT                                                                            BLOOMFIELD HILLS   MI   48301‐3516
MEYERS, LORETTA      24191 DANCING STREAM SPUR RD                                                           TECUMSEH           OK   74873‐7381
MEYERS, LORRAINE A   33 RR 3                                                                                CANANDAIGUA        NY   14424
MEYERS, LOUIS G      1000 BALFOUR ST                                                                        GROSSE POINTE      MI   48230‐1325
MEYERS, LOUISE M     513 MAIN PL APT 202                                                                    LYNDEN             WA   98264
MEYERS, MARCIA L     699 GLENVALE DR                                                                        COOPERSVILLE       MI   49404‐1055
MEYERS, MARGARET J   1165 EMILY DR                                                                          MILFORD            OH   45150‐2336
MEYERS, MARGARET J   1165 EMILY DRIVE                                                                       MILFORD            OH   45150‐2336
MEYERS, MARIE F      1433 SOUTH MACKINAW ROAD                                                               KAWKAWLIN          MI   48631‐9427
MEYERS, MARIE F      1433 S MACKINAW RD                                                                     KAWKAWLIN          MI   48631‐9427
MEYERS, MARK A       857 SUNSET DR                                                                          ENGLEWOOD          OH   45322‐2227
MEYERS, MARK C       10081 FOLEY RD                                                                         KENOCKEE           MI   48006‐3104
MEYERS, MARK R       1345 BELL AVE                                                                          BRADDOCK           PA   15104
MEYERS, MARLIN L     2710 STANTON HILL RD                                                                   CAMERON            NC   28326‐7934
MEYERS, MARSHALL R   9870 DAVENPORT RD                                                                      WOODLAND           MI   48897‐9736
MEYERS, MARTIN C     8653 AFTON RD                                                                          AFTON              MI   49705‐9705
MEYERS, MARVIN L     PO BOX 37                                                                              AFTON              MI   49705‐0037
MEYERS, MARY J       5371 SAN FLORENTINE AVE          C/O DEBORAH KIRBY                                     LAS VEGAS          NV   89141‐3865
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Name                                Address1                          Address2                         Address3    Address4         City            State Zip
MEYERS, MARY M                      328 MOSLEY RD                                                                                   ROCHESTER        NY 14616‐2948
MEYERS, MARY T                      298 MURRAY ST                                                                                   MERIDEN          CT 06450‐4439
MEYERS, MAVIS K                     P.O. BOX 61 M68‐33                                                                              TOWER            MI 49792‐0061
MEYERS, MICHAEL L                   256 WIESEN LN                                                                                   MORAINE          OH 45418‐2946
MEYERS, MICHAEL R                   6735 OAK DR                                                                                     PORTLAND         MI 48875‐9607
MEYERS, MICHAEL S                   APT 2013                          14650 LAKESIDE CIRCLE                                         STERLING HTS     MI 48313‐6020
MEYERS, NANCY L                     449 MAPLE SPRING DR                                                                             CENTERVILLE      OH 45458
MEYERS, NANCY T                     1257 ORANGE CT                                                                                  MARCO ISLAND     FL 34145‐2325
MEYERS, NICK C                      10001 FAIR OAKS DR                                                                              GOODRICH         MI 48438‐9202
MEYERS, NIKI K                      10450 LOOKING GLASS AVE                                                                         PORTLAND         MI 48875‐8474
MEYERS, NORMAN L                    1133 YEOMANS ST LOT 115           SHERWOOD FOREST                                               IONIA            MI 48846‐1954
MEYERS, ONALEE                      4584 LAFRANCE                                                                                   PORT HURON       MI 48060
MEYERS, PATRICIA A                  3518 TREMOLINO WAY                                                                              JACKSONVILLE     FL 32223‐7358
MEYERS, PATRICIA L                  303 CLINTON ST                                                                                  LOCKPORT         NY 14094
MEYERS, PAUL                        COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                CHICAGO           IL 60602
                                                                      FLOOR
MEYERS, PHILLIP J                   18074 MEYERS DR                                                                                 SPRING LAKE     MI   49456‐1584
MEYERS, QUENTIN A                   22460 KLINE'S RSRT RD #284                                                                      THREE RIVERS    MI   49093
MEYERS, RALPH A                     1541 RIVER RD                                                                                   KAWKAWLIN       MI   48631‐9425
MEYERS, RAMONA I                    6961 RUSH LIMA ROAD                                                                             HONEOYE FALLS   NY   14472‐9006
MEYERS, RANDY                       KIMMEL & SILVERMAN PC             1930 E MARLTON PIKE SUITE Q29                                 CHERRY HILL     NJ   08003
MEYERS, RAY E                       1102 GARY BLVD                                                                                  BRUNSWICK       OH   44212‐2910
MEYERS, REBECCA S                   PO BOX 32                                                                                       GRAND RAPIDS    OH   43522
MEYERS, RICHARD                     2214 RED BUD RD                                                                                 SEVIERVILLE     TN   37876‐8964
MEYERS, RICHARD A                   98 BOUGHTON HILL RD                                                                             HONEOYE FALLS   NY   14472‐9703
MEYERS, RICHARD A                   753 LAKE SHORE TER                                                                              INTERLACHEN     FL   32148‐4304
MEYERS, RICHARD D                   PO BOX 267                                                                                      ALDEN           MI   49612‐0267
MEYERS, RICHARD F                   2660 CORAL DR                                                                                   TROY            MI   48085‐3955
MEYERS, RICHARD G                   20735 CASS ST                                                                                   FARMINGTN HLS   MI   48335‐5211
MEYERS, RICHARD J                   APT 204                           2764 CROSSROADS BOULEVARD                                     GRAND JCT       CO   81506‐8704
MEYERS, RICHARD L                   1649 RIDGE RD.                                                                                  CARYVILLE       TN   37714‐3232
MEYERS, RICHARD L                   1649 RIDGE RD                                                                                   CARYVILLE       TN   37714‐3232
MEYERS, RICHARD W                   5483 BAXMAN RD                                                                                  BAY CITY        MI   48706‐3012
MEYERS, ROBERT H                    1812 ELIZABETH CT                                                                               HAGERSTOWN      MD   21740‐6745
MEYERS, ROBERT J                    13302 ALLEN ST                                                                                  BATH            MI   48808‐8714
MEYERS, ROBERT L                    6688 DAVID HWY                                                                                  LYONS           MI   48851‐9713
MEYERS, ROBERT T                    45 E SIEBENTHALER                                                                               DAYTON          OH   45405‐2425
MEYERS, ROBERT W                    3819 ORANGEPORT RD                                                                              GASPORT         NY   14067‐9311
MEYERS, RODBELL & ROSENBAUM, P.A.   M. EVAN MEYERS                    6801 KENILWORTH AVENUE           SUITE 400                    RIVERDALE       NY   20737‐1385
MEYERS, RONALD D                    1009 FERNSHIRE DR                                                                               DAYTON          OH   45459‐2313
MEYERS, ROSEMARIE                   5197 WESTVIEW RD                                                                                CLARKSTON       MI   48346
MEYERS, RUSSELL D                   5851 GILMAN ST                                                                                  GARDEN CITY     MI   48135‐2512
MEYERS, RUTH A                      4925 S GREENBROOK TER APT 18201                                                                 GREENFIELD      WI   53220‐4705
MEYERS, RUTH M                      406 WELLAND ST                                                                                  SAINT LOUIS     MI   48880‐1111
MEYERS, RUTH W                      11466 OLIVE ST                                                                                  ROMULUS         MI   48174‐1243
MEYERS, SAMUEL                      1196 LAURELWOOD RD                                                                              MANSFIELD       OH   44907‐2327
MEYERS, SANDRA D                    330 NEEDLES HWY                   APT E86                                                       LAUGHLIN        NV   89029
MEYERS, SHARON T                    1600 CENTER ST                                                                                  METAMORA        MI   48455‐9307
MEYERS, SHEILA A                    20375 VERNIER RD APT 3                                                                          HARPER WOODS    MI   48225‐1457
MEYERS, SHEILA A                    20375 VERNIER RD                  APT 3                                                         HARTERWOODS     MI   48225
MEYERS, SHIRLEY                     4700 DUCE ROAD                                                                                  KENOCKEE        MI   48006‐3602
MEYERS, SHIRLEY                     4700 DUCE RD                                                                                    KENOCKEE        MI   48006‐3602
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Name                       Address1                      Address2            Address3         Address4         City                  State Zip
MEYERS, STASIA L           3819 ORANGEPORT RD                                                                  GASPORT                NY 14067‐9311
MEYERS, STEPHEN L          801 RIVERVIEW DR                                                                    KOKOMO                 IN 46901‐7078
MEYERS, STEVE
MEYERS, STEVEN B           381 WILLIE GROCE RD                                                                 GLASGOW               KY    42141‐7844
MEYERS, STEVEN G           70 MAYFAIR RD                                                                       LEXINGTON             OH    44904‐9781
MEYERS, SUSAN M            394 PROSPECT ST                                                                     LOCKPORT              NY    14094‐2155
MEYERS, SUZAN E            2630 HAGUE AVE SW                                                                   WYOMING               MI    49519‐2336
MEYERS, SUZANNE            2246 MEADOW GLEN DR N E                                                             GRAND RAPIDS          MI    49505‐7143
MEYERS, SUZANNE            2246 MEADOWGLEN DR NE                                                               GRAND RAPIDS          MI    49505‐7143
MEYERS, TERRY A            139 E HORSESHOE BEND DR                                                             WINFIELD              MO    63389‐2916
MEYERS, THEDA M            7211 PACKARD CIR                                                                    MIDDLEBURG HEIGHTS    OH    44130‐5305
MEYERS, THOMAS L           5003 WESTHILL DR                                                                    LANSING               MI    48917‐4440
MEYERS, TIMOTHY            10312 ROYAL EAGLE LN A                                                              LITTLETON             CO    80129
MEYERS, TOMMY J            2819 MONTICELLO LN                                                                  SANDUSKY              OH    44870‐5919
MEYERS, TRUDY K            LAMBERTON LAKE APARTMENTS     3116 PLAZA DR NE    APT C8                            GRAND RAPIDS          MI    49525
MEYERS, VALERIE J          141 PLUM CREEK PL                                                                   LITTLETON             CO    80126‐2010
MEYERS, VERNA M            417 ELLIS AVE                                                                       BELLEVUE              OH    44811‐1809
MEYERS, VERNA M            417 ELLIS ST                                                                        BELLEVUE              OH    44811‐1809
MEYERS, VIRGINIA L         5569 STONELICK WMS COR RD                                                           BATAVIA               OH    45103‐9616
MEYERS, VIRGINIA M         7756 BARR RD R 1                                                                    PORTLAND              MI    48875‐8715
MEYERS, WALTER H           16351 ROTUNDA DR APT 314B                                                           DEARBORN              MI    48120
MEYERS, WAYNE B            4616 LA FRANCE BLVD                                                                 KIMBALL               MI    48074‐3901
MEYERS, WAYNE R            3575 N ROCK CREEK LN                                                                BOISE                 ID    83703‐6221
MEYERS, WILLIAM B          10921 JANN CT                                                                       LA GRANGE HIGHLANDS    IL   60525‐7321
MEYERS, WILLIAM B          732 VALLEY VIEW DR                                                                  BROOKFIELD            OH    44403‐9602
MEYERS, WILLIAM C          203 W HEGEL AVE                                                                     EDISON                NJ    08820‐1332
MEYERS, WILLIAM J          9090 WEBBER RD                                                                      MUNGER                MI    48747‐9501
MEYERS, WILLIAM O          23 MAYFIELD AVE                                                                     TONAWANDA             NY    14150‐9201
MEYERS, WILLIAM S          1056 LEE RD                                                                         SARANAC               MI    48881‐9407
MEYERS,JOSEPH              306 CAMBRIDGE DR                                                                    FAIRBORN              OH    45324‐2720
MEYERS‐ROETMAN, MARJORIE   2380 AURORA POND DR SW211                                                           WYOMING               MI    49519
MEYERSIECK, ROGER J        PO BOX 42                                                                           PORT AUSTIN           MI    48467‐0042
MEYETTE, CYNTHIA           PO BOX 741                                                                          PINCONNING            MI    48650
MEYETTE, KENNETH W         2965 FM 897                                                                         DODD CITY             TX    75438‐3227
MEYETTE, MARY H            5935 SHATTCK RD #68                                                                 SAGINAW               MI    48603‐6911
MEYETTE, MARY H            5935 SHATTUCK RD APT 68                                                             SAGINAW               MI    48603‐6911
MEYETTE, ROGER A           PO BOX 741                                                                          PINCONNING            MI    48650‐0741
MEYHOFER, ARTHUR O         4 ESTES DR                                                                          BELLA VISTA           AR    72715‐8813
MEYKA, CHARLES W           801 N SOUTH LONG LAKE RD                                                            TRAVERSE CITY         MI    49684‐9078
MEYLAN CORP                543 VALLEY RD                                                                       UPPER MONTCLAIR       NJ    07043
MEYLAN, JAMES G            1683 8 MILE RD                                                                      KAWKAWLIN             MI    48631‐9725
MEYLAN/NEW YORK            264 WEST 40TH STREET                                                                NEW YORK              NY    10018
MEYLAND, JOHN C            6429 PINE VALLEY RD                                                                 CLARKSTON             MI    48346‐2231
MEYLER, DANIEL H           15 LA VALLEY DR                                                                     MANALAPAN             NJ    07726‐8040
MEYLER‐PIRK, JEANNE        20 CORONATION DR                                                                    AMHERST               NY    14226‐1601
MEYLOR, JOSEPH J           N21W24214 CUMBERLAND DR                                                             PEWAUKEE              WI    53072‐5819
MEYNE, RUSSELL V           206 ROYAL TOWER DR                                                                  IRMO                  SC    29063‐2316
MEYR, ROBERT O             7255 STATE HIGHWAY C                                                                NEW WELLS             MO    63732‐9119
MEYRIS, PAUL C             32 CAMPUS DR                                                                        ROCHESTER             NY    14623‐5136
MEYSING, FAITH S           9369 N COTTAGE GARDEN PLACE                                                         TUCSON                AZ    85743‐5471
MEYST CRAWFORD, LOEKIE M   1301 HAMBLEN WAY                                                                    COOL                  CA    95614‐9422
MEYTHALER, JAMES W         2470 NANDI HILLS CT                                                                 SWARTZ CREEK          MI    48473‐7908
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Name                                Address1                         Address2                           Address3   Address4         City            State Zip
MEYTHALER, JAMES WESTON             2470 NANDI HILLS CT                                                                             SWARTZ CREEK     MI 48473‐7908
MEYTHALER, RUTH E                   1122 NORMANDY TERRACE DR                                                                        FLINT            MI 48532‐3550
MEZA CANDELARIO                     MEZA, CANDELARIO                 120 WEST MADISON STREET , 10TH                                 CHICAGO           IL 60602
                                                                     FLOOR
MEZA MICHELE A                      373 W NEES AVE APT 128                                                                          FRESNO          CA 93711‐6155
MEZA, BENJAMIN
MEZA, BRENDA
MEZA, CANDELARIO                    KROHN & MOSS ‐ IL                120 WEST MADISON STREET, 10TH                                  CHICAGO          IL   60602
                                                                     FLOOR
MEZA, CRISTINA                      3055 NW 32ND ST                                                                                 FORT WORTH      TX    76106‐3511
MEZA, ELSIE G                       2780 GADY RD                                                                                    ADRIAN          MI    49221
MEZA, HILDA                         1615 N 75TH DRIVE                                                                               KANSAS CITY     KS    66112
MEZA, JOSE                          1400 MONTEREY AVE                                                                               CHOWCHILLA      CA    93610‐2229
MEZA, JOSE                          1710 SAN ANDRES ST                                                                              SANTA BARBARA   CA    93101‐4013
MEZA, MARGARET F                    PO BOX 425                                                                                      LOYALTON        CA    96118‐0425
MEZA, MARTHA                        1400 MONTEREY AVE                                                                               CHOWCHILLA      CA    93610‐2229
MEZA, MELECIO R                     4499 E JASON RD                                                                                 SAINT JOHNS     MI    48879‐9131
MEZA, NICHOLAS                      823 N LELAND AVE                                                                                SAN PEDRO       CA    90732‐2633
MEZA, OSCAR
MEZA, REBECCA E                     11713 E. HAVENWOOD DR                                                                           WHITTIER        CA    90606‐2001
MEZA, REBECCA E                     11713 HAVENWOOD DR                                                                              WHITTIER        CA    90606‐2001
MEZA, SALEM                         37352 HACKER DR                                                                                 STERLING HTS    MI    48310‐4055
MEZA, STACIE                        HOUSTON MAREK & GRIFFIN          120 MAIN PLACE SIXTH FLOOR O BOX                               VICTORIA        TX    77902
                                                                     P
MEZA, VALENTINE                     2780 GRADY RD                                                                                   ADRIAN          MI    48601
MEZA‐ESTRADA, RIGOBERTO M           2525 S SAINT CLAIR AVE                                                                          OKLAHOMA CITY   OK    73108‐5014
MEZA‐ESTRADA, RIGOBERTO M           2525 SAINT CLAIR AVE                                                                            OKLAHOMA CITY   OK    73108
MEZALEE PEACOCK                     46 9TH AVE W                                                                                    NEWARK          NJ    07107‐1510
MEZARINA EDITH                      MEZARINA, EDITH                  30 E BUTLER AVE                                                AMBLER          PA    19002‐4514
MEZDREA, ALEX                       36237 ARLENE DR                                                                                 STERLING HTS    MI    48310‐4303
MEZE, JOHN C                        28212 HOLLYWOOD ST                                                                              ROSEVILLE       MI    48066‐2598
MEZE, JOHN C.                       28212 HOLLYWOOD ST                                                                              ROSEVILLE       MI    48066‐2598
MEZEI, BRADLEY E                    42670 ARGYLE CT                                                                                 CANTON          MI    48187
MEZERA, CHARLOTTE E                 3400 BOND PL                                                                                    JANESVILLE      WI    53548‐5816
MEZERA, CHARLOTTE E                 3400 BOND PLACE                                                                                 JANESVILLE      WI    53548‐5816
MEZERA, GERALD L                    1332 RIDGEWOOD LN                                                                               BLUFFTON        IN    46714‐3825
MEZERA, GLORIA                      34271 LAKE DR                                                                                   PINELLAS PARK   FL    33781‐2616
MEZERA, GLORIA                      34271 LAKE DR.                                                                                  PINELLAS PARK   FL    33781‐2616
MEZERA, JASON JOHN                  1332 RIDGEWOOD LN                                                                               BLUFFTON        IN    46714‐3825
MEZERA, PAUL A                      3312 THORNTON DR                                                                                JANESVILLE      WI    53548‐9186
MEZERA, ROBERT J                    4603 N LAURA DR                                                                                 JANESVILLE      WI    53548‐8689
MEZGEC, GARY P                      11048 WOOD RUN CIR                                                                              SOUTH LYON      MI    48178‐6654
MEZIC RENATO (ESTATE OF) (467288)   SIMMONS FIRM                     PO BOX 521                                                     EAST ALTON      IL    62024‐0519
MEZIC, RENATO                       SIMMONS FIRM                     PO BOX 521                                                     EAST ALTON      IL    62024‐0519
MEZICK, TIMOTHY                     GORBERG DAVID J & ASSOCIATES     2325 GRANT BUILDING 310 GRANT                                  PITTSBURGH      PA    15219
                                                                     STREET
MEZIERE, PETER L                    12600 S TRIPLE X RD                                                                             NEWALLA         OK    74857‐8910
MEZIGIAN, HARRY                     8039 NIGHTINGALE ST                                                                             DEARBORN HTS    MI    48127‐1238
MEZIN JR, NIKOLA                    55400 MACINTOSH CT                                                                              SHELBY TWP      MI    48316‐5341
MEZIN, NIKOLA                       13833 BIRCH TREE WAY                                                                            SHELBY TWP      MI    48315‐6003
MEZO, CHARLES W                     5320 W HENDERSON CT                                                                             MARION          IN    46952‐9220
MEZO, CHARLES W                     5320 HENDERSON CT                C/O MARILYN PERCY                                              MARIN           IN    46952
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Name                               Address1                          Address2                        Address3                  Address4             City               State Zip
MEZSICK, MARGARET S                8711 W BELOIT ROAD                APT 242                                                                        WEST ALLIS          WI 53227
MEZSICK, MARGARET S                8711 W BELOIT RD APT 242                                                                                         WEST ALLIS          WI 53227‐3751
MEZYK, MARK T                      3251 VICTORIA PARK RD                                                                                            JACKSONVILLE        FL 32216‐5613
MEZZAPELLI, JOSEPH J               9721 103RD ST                                                                                                    OZONE PARK          NY 11416‐2628
MEZZAPESO SR, STEPHEN A            6608 SHAWBUTTE ST                                                                                                YOUNGSTOWN          OH 44514‐2169
MEZZONE, MICHAEL E                 39333 WASHINGTON DR                                                                                              STERLING HEIGHTS    MI 48313‐5606
MEZZULLO, MARILYN A                2390 W MILLER CIR                                                                                                WESTLAND            MI 48186‐9371
MF SURGERY CENTER, L               PO BOX 8000                                                                                                      BUFFALO             NY 14267‐0002
MFA OIL COMPANY                    P.O. BOX 519, COLUMBIA                                                                                           COLUMBIA            MO 65205
MFA OIL COMPANY                    PO BOX 519                                                                                                       COLUMBIA            MO 65205‐0519
MFA, INC.                          EARL RAY                          201 RAY YOUNG DR                                                               COLUMBIA            MO 65201‐3568
MFB, INC.                          7373 WEST SAGINAW HIGHWAY         BOX 30960                                                                                          MI 48917
MFB, INC. (MICHIGAN FARM BUREAU)   JOHN VANDER MOLEN                 7373 W SAGINAW HWY                                                             LANSING             MI 48917‐1124
MFD FLINT                          CAROL NICOLETTI                   2238 W BRISTOL ROAD                                                            COLUMBIA STATION    OH 44028
MFD DORAVILLE CONTIGUOUS           CAROL NICOLETTI                   3900 MOTORS INDUSTRIAL WAY                                                     MONROE CITY         MO 63456
MFD FLINT                          CAROL NICOLETTI                   2238 W BRISTOL ROAD                                                            COLUMBIA STATION    OH 44028
MFD GRAND RAPIDS                   CAROL NICOLETTI                   300 36TH STREET SW                                                             MARION              IN 46953
MFD HEADQUARTERS                   LYLE MOON                         GEN MTRS CORP M/C 483‐622‐201   5607 NEW KING STREET                           ALMA                MI 48801

MFD INDY METAL FAB.                CAROL NICOLETTI                   PO BOX 388                      GENERAL MOTORS CORP.                           WALWORTH           WI   53184‐0388
MFD LORDSTOWN METAL                CAROL NICOLETTI                   GENERAL MOTORS CORP.            2369 ELLSWORTH BAILEY                          WEST MIFFLIN       PA   15122
MFD MANSFIELD                      CAROL NICOLETTI                   PO BOX 2567                                                                    GRAND RAPIDS       MI   49501‐2567
MFD MARION                         CAROL NICOLETTI                   PO BOX 778                                                                     TUKWILA            WA   98168
MFD PARMA METAL CENTER             CAROL NICOLETTI                   PO BOX 30098                                                                   BUFFALO            NY
MFD PITTSBURGH                     JOE PELAN                         ATTN LEON AGNEW                 1451 LEBANON SCHOOL RD.                        MANSFIELD          OH   44906
MFD PONTIAC                        CAROL NICOLETTI                   PLANT 9 M‐125                   ONE PONTIAC PLAZA                              GRAND RAPIDS       MI   49504
MFD WENTZVILLE                     CAROL NICOLETTI                   GM                              1500 E ROUTE A                                 FLINT              MI   48503
MFG COMPOSITE                      2925 MFG PL                                                                                                      ASHTABULA          OH   44004‐9701
MFG COMPOSITE/ASHTAB               4401 BENEFIT AVE                                                                                                 ASHTABULA          OH   44004‐5458
MFG PRECISION INC
MFI PRODUCTS INC                   BOB PICKENS                       480 N. WALNUT STREET                                                           ELGIN              IL 60123
MFI PRODUCTS INC                   480 N WALNUT ST                                                                                                  PINEBLUFF          NC 28373‐8150
MFI PRODUCTS INC                   CALLE 1 EDIFICIO DE 2 NIVELS      SAN ISIDRO                                                SANTO DOMINGO
                                                                                                                               ORIENTAL 11111
                                                                                                                               DOMINICAN REPUBLIC
MFM TECHNOLOGY INC                 200 13TH AVE                                                                                                     RONKONKOMA         NY 11779
MFRI INC                           400 BATTAILE DR                   PO BOX 2075                                                                    WINCHESTER         VA 22601‐4263
MFS INTELENET                      7430 2ND AVE                                                                                                     DETROIT            MI 48202‐2739
MFT MOTOREN UND                    FAHRZEUGTECHNIK GMBH              KOBILTZER STRABE 7                                        CUNEWALDS 02733
                                                                                                                               GERMANY
MFT MOTOREN‐UND                    FAHRZEUGTECHNIK GMB               KOEBLITZER STR 7                                                               WILLIAMSTON        MI 48895
MFT MOTOREN‐UND FAHRZEUGTECHNIK    FAHRZEUGTECHNIK GMB               KOEBLITZER STR 7                                                               WILLIAMSTON        MI 48895
GMB
MFT/GERMANY                        KOEBLITZER STR 7                  WEIGSDORF KOEBLITZ                                        WEIGSDORF SC 2733
                                                                                                                               GERMANY
MG & PRISCILLA SMITH               4816 WINGED FOOT LANE                                                                                            JONESBORO          AR   72401
MG ‐ MINOR CHILD,                  TRACY FIRM                        5473 BLAIR RD STE 200                                                          DALLAS             TX   75231‐4168
MG METROLOGY SERVICES INC          11328 BOGIE LAKE RD                                                                                              WHITE LAKE         MI   48386‐3733
MG RAGENS                          C/O THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                                                    HOUSTON            TX   77017
MG TOOL & ENGINEERING INC          PO BOX 490                                                                                                       HIGHLAND           MI   48357‐0490
MGA ENTERTAINMENT INC.
MGA RESEARCH CORP                  12790 MAIN RD                     PO BOX 71                                                                      AKRON              NY 14001‐9777
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Name                                Address1                           Address2                        Address3                 Address4                City              State Zip
MGA RESEARCH CORP                   12790 MAIN RD                      KATHY 5‐7592                                                                     AKRON              NY 14001‐9777
MGA RESEARCH CORP                   446 EXECUTIVE DR                                                                                                    TROY               MI 48083‐4534
MGA RESEARCH CORP/MI                32345 HOWARD AVE                                                                                                    MADISON HEIGHTS    MI 48071‐1427
MGE UPS SYSTEMS INC                 C\O BANK OF AMERICA                1660 SCENIC AVE                                                                  COSTA MESA         CA 92626‐1410
MGE UPS SYSTEMS INC                 2300 BARRINGTON RD STE 200                                                                                          HOFFMAN ESTATES     IL 60169‐2091
MGE UPS SYSTEMS INC                 1660 SCENIC AVE                                                                                                     COSTA MESA         CA 92626‐1410
MGG ANTWERPEN                       BART CROLS                         LAGE WEG 390                                                                     JACKSON            MI 49202
MGI APICS PROFESSIONAL REFERENCE    244 WESTCHESTER AVE STE 100                                                                                         WHITE PLAINS       NY 10604‐2900
PRGRMS
MGI COUTIER MEJICO SA DE CV         AVE CENZONTLE #6A PARQUE IND       FINSA RAMOS ARIZPE COAH 25900                            RAMOS ARIZPE COAH
                                                                                                                                25900 MEXICO
MGI COUTIER MEJICO SA DE CV         AV CENZONTLE 6A                    PARQUE INDUSTRIAL FINSA                                  RAMOS ARIZPE CH 25900
                                                                                                                                MEXICO
MGI COUTIER SA                      975 ROUTE DES BURGONDES                                                                     CHAMFROMIER F‐01410
                                                                                                                                FRANCE
MGI COUTIER/MEXICO                  AV CENZONTLE 6A                    PARQUE INDUSTRIAL FINSA                                  RAMOS ARIZPE CO 25900
                                                                                                                                MEXICO
MGI PROFESSIONAL REFERENCE PROGRAM 244 WESTCHESTER AVE STE 100                                                                                          WHITE PLAINS      NY 10604‐2900

MGM BRAKES                          DENNIS GILLESPIE                   DIV OF INDIAN HEAD IND.         PARK AVE / POB 70                                SOUTH BEND        IN    46628
MGM BRAKES MURPHY                   PO BOX 70                          229 PARK AVE                                                                     MURPHY            NC    28906‐0070
MGM ENTERPRISES, INC.               7023 BAY PKWY                                                                                                       BROOKLYN          NY    11204‐5523
MGM RENTAL, LLC                     5155 STATE STREET                                                                                                   FREELAND          MI    48623
MGM STEEL CO INC                    PO BOX 16082                                                                                                        PITTSBURGH        PA    15242‐0082
MGM STUDIOS, INC.                   KIM BRYSON                         655 3RD AVE FL 27                                                                NEW YORK          NY    10017‐9104
MGM TOWING                          658 CESAR E CHAVEZ AVE                                                                                              PONTIAC           MI    48340‐2458
MGMC LLC                            8301 E 21ST ST N STE 350                                                                                            WICHITA           KS    67206‐2955
MGO A/VIS SPRING HIL                HIGHWAY 31 SOUTH                                                                                                    SPRING HILL       TN    37174
MGO C/VIS SPRING HIL                100 SATURN PKWY                                                                                                     SPRING HILL       TN    37174‐2492
MGR JAKUB RADZIEJEWSKI              4833 N HARLEM 2ND FL                                                                                                CHICAGO           IL    60656‐3505
MGR MOLD/STERLING HT                6450 COTTER AVE                                                                                                     STERLING HTS      MI    48314‐2146
MGR VEHICLE PROGRAMS                3800 GREENFIELD RD                                                                                                  DEARBORN          MI    48120‐1206
MGS MFG GROUP                       W188N11707 MAPLE RD                                                                                                 GERMANTOWN        WI    53022‐2409
MH ACOUSTICS LLC                    25 A SUMMIT AVE                                                                                                     SUMMIT            NJ    07901
MH CONTAINERS & EQUIPMENT CO INC    PO BOX 808                                                                                                          WILLOUGHBY        OH    44096‐0808

MH EQUIPMENT                        2235 RELIABLE PKWY                                                                                                  CHICAGO           IL    60686‐0001
MH EQUIPMENT                        111 CARVER LN                                                                                                       EAST PEORIA       IL    61611‐3020
MH EQUIPMENT                        BRAD BARROW                        111 CARVER LN                                                                    EAST PEORIA       IL    61611‐3020
MH EQUIPMENT CORP                   3000 PRODUCTION CT                 PO BOX 13030                                                                     DAYTON            OH    45414‐3514
MH EQUIPMENT CORPORATION            106 CIRCLE FREEWAY DR                                                                                               CINCINNATI        OH    45246‐1204
MH INDUSTRIES LTD                   32235 INDUSTRIAL RD                                                                                                 LIVONIA           MI    48150‐1836
MH TRANSPORT INC                    PO BOX 272                                                                                  MOUNT HOPE CANADA ON
                                                                                                                                L0R 1W0 CANADA
MHART EXPRESS INC                   PO BOX 192                                                                                                          HOPE              IN 47246‐0192
MHC SYSTEMS LLC                     MATERIAL HANDLING EQUIPMENT        4150 S 87TH ST STE A                                                             OMAHA             NE 68127‐1638
MHC SYSTEMS LLC                     200 NW BUSINESS PARK LN                                                                                             KANSAS CITY       MO 64150‐9696
MHI EQUIPMENT EUROPE BV             DAMSLUISWEG 2 1332 EC ALMERE       PO BOX 30101 1303 AC ALMERE                              ALMERE 1303
                                                                                                                                NETHERLANDS
MHL TEK LLC                         MCKOOL SMITH                       SUITE 1500 300 CRESENT COURT                                                     DALLAS             TX   75201
MHL TEK V GENERAL MOTORS ET AL      MHL TEK LLC                        MCKOOL SMITH                    SUITE 1500 300 CRESENT                           DALLAS             TX   75201
                                                                                                       COURT
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Name                             Address1                             Address2                       Address3                Address4            City           State Zip
MHL TEK V GENERAL MOTORS ET AL   MHL TEK LLC                          SUITE 1500 300 CRESENT COURT                                               DALLAS          TX 75201
MHOON, STUART M                  141 W SILVER MEADOW DR                                                                                          MIDWEST CITY    OK 73110‐4102
MHP                              2921 W GRAND BLVD                                                                                               DETROIT         MI 48202‐2611
MHR INTERNATIONAL                44 BROAD ST NW STE 610                                                                                          ATLANTA         GA 30303‐2329
MHS PHYSICIAN SERVIC             PO BOX 5081                                                                                                     JANESVILLE      WI 53547‐5081
MHS PHYSICIAN SERVICE            PO BOX 5081                                                                                                     JANESVILLE      WI 53547‐5081
MHS YEARBOOK                     84 NIGHTENGALE AVE                                                                                              MASSENA         NY 13662‐2538
MI BASIC PROPERTY INS ASSOC      ACCT OF SONIA SIMPSON
MI DEPT OF ENVIRONMENTAL         ATTN: CORPORATE OFFICER/AUTHORIZED   525 W ALLEGAN ST               PO BOX 30273            2ND FLOOR NORTH     LANSING        MI 48933‐1502
QUALIWATER BUREAU                AGENT
MI DEPT OF ENVIRONMENTAL         525 W ALLEGAN ST                     PO BOX 30273                                                               LANSING        MI 48933‐1502
QUALIWATER BUREAU ‐ 2ND FLOOR
NORTH
MI DEPT OF TREASURY              COLLECTION DIVISION                  PO BOX 30158                                                               LANSING        MI   48909‐7658
MI DEPT OF TREASURY COLL DIV     ACCT OF ROBERT L SCITOWSKI           PO BOX 30158                                                               LANSING        MI   48909‐7658
MI DEPT OF TREASURY COLLECTION   ACCT OF FRANK WESTLEY                PO BOX 30149                                                               LANSING        MI   48909‐7649
MI DEPT OF TREASURY SAC          ACCT OF FELICIA K SPRATLING          PO BOX 30149                                                               LANSING        MI   48909‐7649
MI DEPT TREASURY COLL DIV        ACT OF A J SKARICH                   PO BOX 30158                                                               LANSING        MI   48909‐7658
MI INDUSTRIAL HYGIENE SOCIETY    46410 CHESTERFIELD DR                                                                                           CHESTERFIELD   MI   48047
MI JOE AUTOM INC                 632 BROADWAY                                                                                                    AMITYVILLE     NY   11701‐2125
MI PAIN MGMT CONS                PO BOX 67000                                                                                                    DETROIT        MI   48267‐0002
MI PRIMARY CARE PART             20095 GILBERT RD STE B                                                                                          BIG RAPIDS     MI   49307‐2366
MI SCHOOLS & GOV CREDIT UNION    FOR DEPOSIT TO THE ACCOUNT OF        M KAPA                         4555 INVESTMENT DRIVE                       TROY           MI   48098
MI STATE FED CREDIT UNION        FOR DEPOSIT TO THE ACCOUNT OF        600 CRESCENT RD                K JACKSON                                   EAST LANSING   MI   48823‐5762
MI TAX                           16622 SHERWOOD LN                                                                                               NORTHVILLE     MI   48168‐8520
MI TECH/MURFREESBORO             212 S RUTHERFORD BLVD                                                                                           MURFREESBORO   TN   37130‐5557
MI TREASURY COLLECTION DIV       ACCT OF ADNALOY RODRIGUEZ            PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF SONIA SIMPSON                PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF RONALD ROWE                  PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF BOB G BELTON                 PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF BEATRICE C AGUNLOYE          PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCOUNT OF AARON WATKINS             PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF RISTO TODOROVSKI             PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF ALLAN F SHROYER              PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF FRANK WESTLEY                PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF LEVI WILLIAM                 PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF MARLENE J WEAVER             PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF PATRICE Y WHITE              PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF LARRY WILBURN                PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF ROLAND ROWELL                PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF BRUCE E RITCHIE              PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF MICHAEL N TEED               PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF VINCENT F SAJEWSKI           PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF RICHARD SCHNITZER            PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF JOSEPH E TYES                PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF THOMAS WOOLRIDGE             PO BOX 30158                   LEVY #                                      LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF JOHN W RUSHIN                PO BOX 30158                   LEVY #                                      LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF H L TADEMY                   PO BOX 30158                   LEVY #                                      LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF DONALD WADE                  PO BOX 30158                   LEVY #                                      LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF SHERRY L FOSTER              PO BOX 30158                                                               LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF L R HORTON                   PO BOX 30158                   LEVY #                                      LANSING        MI   48909‐7658
MI TREASURY COLLECTIONS DIV      ACCT OF R Q HAMPTON                  PO BOX 30158                   LEVY #                                      LANSING        MI   48909‐7658
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Name                              Address1                           Address2                     Address3          Address4         City                 State Zip
MI ZARAPE                         3800 CENTERPOINT PKWY                                                                              PONTIAC               MI 48341‐3161
MIA C MARSHALL                    1521 TERRACE DR.                                                                                   GADSDEN               AL 35903
MIA HOOPER                        8827 MARYGROVE DR                                                                                  DETROIT               MI 48221‐2947
MIA J IRVINE                      1605 LAUREL CREEK DRIVE                                                                            TROY                  OH 45373
MIA MITCHELL                      203 FREEDOM LN                                                                                     ARLINGTON             TX 76002‐2708
MIA R FORSETT                     1207 STRATFORD DR                                                                                  PROVIDENCE VILLAGE    TX 76227
MIA TUCK                          36755 ROAD 124                                                                                     VISALIA               CA 93291‐9069
MIACZYNSKI, STANLEY T             1600 S VALLEY VIEW BLVD APT 1110                                                                   LAS VEGAS             NV 89102‐1873
MIADENOVSKI, MILICA               59255 HAYES RD                                                                                     WASHINGTON            MI 48094‐2532
MIAH, GOLAM H                     20509 CAPITOL ST                                                                                   DETROIT               MI 48228‐1012
MIAKININ, ELIZABETH               9509 228TH STREET SOUTHWEST                                                                        EDMONDS               WA 98020‐5932
MIAKININ, GEORGE                  580 LAKE FOREST RD                                                                                 ROCHESTER HILLS       MI 48309‐2533
MIAKININ, LORRAINE S              1328 ARBOR CREEK DR                                                                                ROCHESTER HILLS       MI 48306‐3700
MIAL, PAUL W                      2211 E 70TH PLACE                                                                                  CHICAGO                IL 60649‐2209
MIAL, PAUL W                      2209 E 70TH PL APT 1                                                                               CHICAGO                IL 60649
MIAMI ‐ JACOBS CAREER COLLEGE     110 N PATTERSON BLVD                                                                               DAYTON                OH 45402‐1771
MIAMI AIRCRAFT SUPPORT INC        396 ALHAMBRA CIRCLE STE 604                                                                        CORAL GABLES          FL 33134
MIAMI AUTO SUPERCENTER, INC.      1640 N MAIN ST                                                                                     MIAMI                 OK 74354‐2721
MIAMI AUTO SUPERCENTER, INC.      HAROLD CLINE                       1640 N MAIN ST                                                  MIAMI                 OK 74354‐2721
MIAMI AUTOMOTIVE RETAIL INC       665 SW 8TH ST                                                                                      MIAMI                 FL 33130‐3308
MIAMI BEACH CHAMBER OF COMMERCE   1920 MERIDIAN AVENUE 3RD FLOOR                                                                     MIAMI BEACH           FL 33139

MIAMI BEACH CONVENTION CENTER     1901 CONVENTION CENTER DR                                                                          MIAMI BEACH          FL    33139‐1820
MIAMI CNTY COMMON PLEAS CRT       201 W MAIN ST                                                                                      TROY                 OH    45373‐3239
MIAMI CONSERVANCY DISTRICT        38 E MONUMENT AVE                                                                                  DAYTON               OH    45402‐1210
MIAMI CORP, THE                   JOHN WINKLER                       720 ANDERSON FERRY ROAD                                         UBLY                 MI
MIAMI COUNTY C.S.E.A.             ACCT OF MARK KLOPF                 PO BOX 576                                                      TROY                 OH    45373‐0576
MIAMI COUNTY C.S.E.A.             ACCT OF ROBERT L WALTERS           PO BOX 576                                                      TROY                 OH    45373‐0576
MIAMI COUNTY C.S.E.A.             FOR THE ACCOUNT OF WF REASTER      PO BOX 576                   JR CASE#87DR614                    TROY                 OH    45373‐0576
MIAMI COUNTY CSEA                 ACCT OF HOWARD BURTON              PO BOX 576                                                      TROY                 OH    45373‐0576
MIAMI COUNTY MEDICAL              PO BOX 932010                                                                                      KANSAS CITY          MO    64193‐2010
MIAMI COUNTY TREASURER            201 S PEARL ST STE 103                                                                             PAOLA                KS    66071‐1777
MIAMI COUNTY TREASURER            201 W MAIN ST                      SAFETY BUILDING                                                 TROY                 OH    45373
MIAMI CTY C.S.E.A.                ACCT OF STEVE GALLIMORE            PO BOX 576                                                      TROY                 OH    45373‐0576
MIAMI CTY CT CLERK PLACEMENTS     PO BOX 184                                                                                         PERU                 IN    46970‐0184
MIAMI CTY MUNICIPAL COURT         ACCT OF TERRY GOTTHARDT
MIAMI DADE AVIATION DEPARTMENT    FINANCE DIVISION                   PO BOX 592616                                                   MIAMI                FL    33159
MIAMI DADE COMMUNITY COLLEGE      ACCOUNTS RECEIVABLE DEPT           11011 SW 104TH ST                                               MIAMI                FL    33176‐3330
MIAMI DADE COUNTY                 PO BOX 863415                                                                                      ORLANDO              FL    32886‐3415
MIAMI DADE COUNTY TAX COLLECTOR   OCCUPATIONAL LICENSE SECTION       140 W FLAGER ST 14TH FLOOR                                      MIAMI                FL    33130
MIAMI DADE TAX COLLECTOR          140 W FLAGLER STREET                                                                               MIAMI                FL    33130
MIAMI DATA COMMUNICATIONS         PO BOX 522043                                                                                      MIAMI                FL    33152‐2043
MIAMI HERALD                      PO BOX 19135                                                                                       MIAMI                FL    33101‐9135
MIAMI HERALD MEDIA COMPANY        MH EVENTS ‐ ATTN A LORENZO 2FL     1 HERALD PLZ                                                    MIAMI                FL    33132‐1609
MIAMI INDUSTRIAL TRUCKS           DIV HH DONNELLY & ASSOC INC        2830 E RIVER RD                                                 MORAINE              OH    45439‐1538
MIAMI INDUSTRIAL TRUCKS INC       2830 E RIVER RD                                                                                    MORAINE              OH    45439‐1538
MIAMI INDUSTRIAL TRUCKS INC       3485 SILICA RD                                                                                     SYLVANIA             OH    43560
MIAMI INTERNATIONAL AIRPORT       METROPOLITAN DADE COUNTY           PO BOX 592616                                                   MIAMI                FL    33159
MIAMI JACOBS CAREER COLLEGE       DIANE HALL                         110 N PATTERSON BLVD                                            DAYTON               OH    45402‐1771
MIAMI LAKES BPG
MIAMI LAKES GMC BUICK PONTIAC     6100 NW 167TH ST                                                                                   MIAMI LAKES           FL   33014‐6143
MIAMI LAKES GMC BUICK PONTIAC     DOUGLAS PLATTNER                   6100 NW 167TH ST                                                MIAMI LAKES           FL   33014‐6143
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Name                                  Address1                            Address2                     Address3          Address4         City           State Zip
MIAMI LAKES PONTIAC, INC.             INTERCOMPANY
MIAMI MOTORCYCLE SALON INC            MIAMI MOTORCYCLE SHOW               2921 CORAL WAY                                                  CORAL GABLES   FL    33145‐3205
MIAMI RUBBER                          JOHN WINKLER                        720 ANDERSON FERRY ROAD                                         UBLY           MI
MIAMI RUBBER CO                       720 ANDERSON FERRY RD                                                                               CINCINNATI     OH    45238‐4742
MIAMI STEEL                           ATTN: EUGENE CRASE                  1525 MANCHESTER RD                                              DAYTON         OH    45449‐1933
MIAMI SUPERIOR COURT ACT OF           J HENDRICKS                         COURTHOUSE 25 N BROADWAY                                        PERU           IN    46970
MIAMI SUPERIOR COURT CLERK            ACT OF J HENDRICKS                  COURTHOUSE 25 N BROADWAY                                        PERU           IN    46970
MIAMI SUPERIOR CT CLERK               COURTHOUSE 25 N BROADWAY                                                                            PERU           IN    46970
MIAMI TIMES                           PAULA JAMES                         900 NW 54TH ST                                                  MIAMI          FL    33127‐1818
MIAMI UNIVERSITY                      ATTN LINDA MANLEY                   ROUDEBUSH ROOM 107                                              OXFORD         OH    45056
MIAMI UNIVERSITY                      OFFICE OF THE BURSAR                                                                                OXFORD         OH    45056
MIAMI UNIVERSITY                      BUSINESS OFFICE                     1601 UNIVERSITY BLVD                                            HAMILTON       OH    45011‐3316
MIAMI UNIVERSITY                      CASHIERS OFFICE                     4200 N UNIVERSITY BLVD                                          MIDDLETOWN     OH    45042‐3458
MIAMI UNIVERSITY                      MOLECULAR MICROSPECTROSCOPY         DEPT OF CHEMISTRY &          BIOCHEMISTRY                       OXFORD         OH    45056
MIAMI UNIVERSITY                      701 E HIGH ST RM 164                HUGHES HALL                                                     OXFORD         OH    45056
MIAMI UNIVERSITY INC                  213 ROUDEBUSH HALL                                                                                  OXFORD         OH    45056
MIAMI UNIVERSITY OFFICE OF            4200 N UNIVERSITY BLVD                                                                              MIDDLETOWN     OH    45042‐3458
CONTINUING EDUCATION
MIAMI UNIVERSITY OFFICE OF THE BURSAR 108 ROUDEBUSH HALL                                                                                  OXFORD         OH 45056

MIAMI VALLEY BINGO                  4218 E RIVER RD                                                                                       MORAINE        OH 45439‐1459
MIAMI VALLEY CAREER TECHNOLOGY      6800 HOKE RD                                                                                          CLAYTON        OH 45315‐8975
CENTER
MIAMI VALLEY CAREER                 6800 HOKE RD                                                                                          CLAYTON        OH 45315‐8975
TECHNOLOGYCENTER
MIAMI VALLEY COUNCIL BSA            PO BOX 13057                                                                                          DAYTON         OH    45413‐0057
MIAMI VALLEY CRIME PREVENTION       2601 W STROOP RD                                                                                      MORAINE        OH    45439‐1929
MIAMI VALLEY EMERGEN                PO BOX 951426                                                                                         CLEVELAND      OH    44193‐0016
MIAMI VALLEY HEALTH IMPROVEMENT     1133 W EDWIN C MOSES BLD STE 308                                                                      DAYTON         OH    45417‐4078
COUNCIL INC
MIAMI VALLEY HOSITAL CENTER OF      1 WYOMING ST                                                                                          DAYTON         OH 45409‐2722
NURING EXCELLENCE
MIAMI VALLEY HOSPITA                1 WYOMING ST                                                                                          DAYTON         OH 45409‐2722
MIAMI VALLEY REGIONAL               ONE DAYTON CENTRE                     ONE SOUTH MAIN ST STE 260                                       DAYTON         OH 45402
PLANNINGCOMMISSION
MIAMI VALLEY STEEL SERVICE INC      201 FOX DR                                                                                            PIQUA          OH    45356‐9265
MIAMI VALLEY WOMEN'S CTR            ATTN: TL DRAKE                        2345 W STROOP RD                                                DAYTON         OH    45439‐2005
MIAMI‐DADE COUNTY                   TAX COLLECTOR                         TANGIBLE PERSONAL PROPERTY   P.O. BOX 025218                    MIAMI          FL    33102
MIAMI‐DADE COUNTY                   111 NW 1ST ST STE 2450                                                                                MIAMI          FL    33128‐1929
MIAMI‐DADE COUNTY                   111 NW 1ST STREET, S2450                                                                              MIAMI          FL    33128
MIAMI‐DADE COUNTY ‐ FLORIDA                                                6100 SW 87TH AVE                                                              FL    33173
MIAMI‐DADE COUNTY AUTO SHOP 3                                              8801 NW 58TH ST                                                               FL    33178
MIAMI‐DADE COUNTY DEPARTMENT OF     ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 701 NW 1ST COURT                                               MIAMI          FL    33136
ENVIRONMENTAL RESOURCES
MANAGEMENT
MIAMI‐DADE COUNTY DOWNTOWN                                                201 NW 1ST ST                                                                   FL   33128
MOTOR POOL
MIAMI‐DADE COUNTY MAIN SHOP 3                                             8801 NW 58TH ST                                                                 FL   33178
MIAMI‐DADE COUNTY MAINTENANCE                                             703 NW 25TH ST                                                                  FL   33127
SHOP 1
MIAMI‐DADE COUNTY POLICE HDQTS                                            9109 NW 25TH ST                                                                 FL   33172
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Name                              Address1                           Address2              Address3             Address4            City               State Zip
MIAMI‐DADE COUNTY SOUTH DADE GOVT                                    10740 SW 211TH ST                                                                  FL 33189
CENTER
MIAMI‐DADE COUNTY STATION 1                                          5975 MIAMI LAKES DR                                                                FL   33014
MIAMI‐DADE COUNTY STATION 2                                          2950 NW 83RD ST                                                                    FL   33147
MIAMI‐DADE COUNTY STATION 5                                          7707 SW 117TH ST                                                                   FL   33156
MIAMI‐DADE COUNTY STATION 6                                          15665 BISCAYNE BLVD                                                                FL   33160
MIAMI‐DADE COUNTY STATION 8                                          10000 SW 142ND AVE                                                                 FL   33186
MIAMI‐DADE COUNTY STATION 9                                          18802 NW 27TH AVE                                                                  FL   33056
MIAMI‐DADE COUNTY SW SHOP 3B                                         7900 SW 107TH AVE                                                                  FL   33173
MIAMI‐DADE FIRE RESCUE DEPARTMENT                                    6100 SW 87TH AVE      LOGISTICS DIVISION                                           FL   33173

MIAMI‐DADE SHOP 2‐AUTO                                               6100 SW 87TH AVE                                                                  FL    33173
MIAMISBURG MUNICIPAL COURT        10 N 1ST ST                                                                                       MIAMISBURG         OH    45342‐2305
MIAN, JAMES M                     165 S OPDYKE RD LOT 70                                                                            AUBURN HILLS       MI    48326‐3155
MIANA A HILTON                    4028 HAMILTON CIR APT 185                                                                         ARLINGTON          TX    76013‐5647
MIANA HILTON                      4028 HAMILTON CIR APT 185                                                                         ARLINGTON          TX    76013‐5647
MIANK, DORIS E                    882 YORKTOWN CT                                                                                   NORTHVILLE         MI    48167‐1058
MIANO, ANGELO                     1323 SHERWOOD AVE                                                                                 N TONAWANDA        NY    14120‐3520
MIANO, DAWN EDNA                  60 CANTERBURY CIR                                                                                 BATESVILLE         AR    72501‐9185
MIANO, DAWN EDNA                  60 CANTEBURY CIRCLE                                                                               BATESVILLE         AR    72501
MIANO, JAMES A                    60 CANTERBURY CIR                                                                                 BATESVILLE         AR    72501‐9185
MIANO, JOSEPH                     126 GOLDEN HILL ST                                                                                NEW BRITAIN        CT    06053‐2312
MIANO, LAURA J                    6905 COUNTY ROAD 191                                                                              BELLEVUE           OH    44811
MIANO, PAUL L                     RR 4                                                                                              BELLEVUE           OH    44811
MIANO, ROSE                       417 SAYBROOK LN                    C/O JO ANN FAHEY                                               WALLINGFORD        PA    19086‐6757
MIANO, ROSE                       C/O JO ANN FAHEY                   417 SAYBROOK LANE                                              WALLINGFORD        PA    19086
MIANO, VINCENT                    275 NORCREST DR                                                                                   ROCHESTER          NY    14617‐1305
MIAO YONG                         283 HAWKEYE CT                                                                                    IOWA CITY          IA    52246‐2805
MIAO, HSU‐CHIANG                  329 TARA DR                                                                                       TROY               MI    48085‐3119
MIAO, YONG                        4848 HILLWAY CT                                                                                   ANN ARBOR          MI    48105‐9441
MIARER TRANSPORTATION INC         2930 COUNTY ROAD 69                                                                               GIBSONBURG         OH    43431‐9709
MIARITIS LOUIS                    120 OLD FIELD RD                                                                                  SETAUKET           NY    11733‐1668
MIARKA, MARK M                    1129 GLENWOOD DR                                                                                  COLUMBIA           TN    38401‐6705
MIARS, DAVID L                    19491 CENTREVILLE CONSTANTINE RD                                                                  CONSTANTINE        MI    49042‐9746
MIAS INC                          3684 CENTRE CIR                                                                                   FORT MILL          SC    29715‐9733
MIASEK, JEAN                      58 FAIRMOUNT AVE                                                                                  NO ARLINGTON       NJ    07031‐6137
MIASTKOWSKI, EDITH                51 BROOK STREET                                                                                   ROCKY HILL         CT    06067
MIAZGA JR, LEONARD S              1138 BRIGHTON DR                                                                                  EVANS              GA    30809‐8265
MIAZGA, BEVERLY M                 112 CLEARFIELD DRIVE                                                                              MERIDEN            CT    06450‐4803
MIAZGA, JENNY                     1910 RAYMOND AVE. #1                                                                              DEARBORN           MI    48124‐4340
MIAZGA, VERONICA L                1310 MCLEAN AVE                                                                                   ROYAL OAK          MI    48067‐3493
MIAZGOWICZ JR, THOMAS J           1105 N PARK DR                                                                                    TEMPERANCE         MI    48182‐9301
MIAZGOWICZ, ANTHONY J             11727 KRUSE RD                                                                                    PETERSBURG         MI    49270‐9808
MIAZGOWICZ, JEFFREY J             PO BOX 234                                                                                        CAMDEN             MI    49232‐0234
MIAZGOWICZ, THOMAS J              13851 HILLSDALE RD                                                                                CAMDEN             MI    49232‐9069
MIB FOUNDATION INC                21611 WAHOO TRL                                                                                   CHATSWORTH         CA    91311‐7503
MIBA HYDRAMECHANICA CORP          6625 COBB DR                                                                                      STERLING HEIGHTS   MI    48312‐2625
MIBA SINTER AUSTRIA GMBH          DR MITTERBAUER STRASSE 1                                                      VORCHDORF AT 4655
                                                                                                                AUSTRIA
MIBA SINTERMETALL AG              DR MITTERBAUER STR                 POSTFACH 42                                VORCHDORF A 4655
                                                                                                                AUSTRIA
MIBA/AUSTRIA                      DR MITTERBAUER STRASSE 3           A‐4655 VORCHDORF                                               VORCHDORF          AS
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Name                                 Address1                           Address2                          Address3                    Address4                 City              State Zip
MIC                                  PO BOX 6779                                                                                                               SOMERSET           NJ 08875‐6779
MIC                                  PO BOX 6543                                                                                                               CHICAGO             IL 60680‐6543
MIC                                  PO BOX 944                                                                                                                YONKERS            NY 10703
MIC                                  PO BOX 37560                                                                                                              DETROIT            MI 48237
MIC                                  PO BOX 50015                                                                                                              ATLANTA            GA 30302‐0015
MIC                                  PO BOX 7825                                                                                                               BURBANK            CA 91510
MIC                                  PO BOX 660431                                                                                                             DALLAS             TX 75266‐0431
MIC                                  TATE STRICKLAND                    300 GALLERIA OFFICENTRE                                                                SOUTHFIELD         MI 48034
MIC DATENVERARBEITUNG GMBH           A4020 LINZ OSTERREICH                                                                            HAFENSTRABE 24 AUSTRIA
MIC GENERAL INS CORP                 NATIONAL GENERAL INS CO            PO BOX 66790                      ONE NATIONAL GENERAL                                 SAINT LOUIS       MO 63166‐6790
                                                                                                          PLAZA
MIC INSURANCE CORP                  1000 ABERNATHY RD NE STE 275                                                                                               ATLANTA           GA 30328‐5610
MIC PROPERTY AND CASUALTY INSURANCE INSURANCE CORPORATION               300 GALLERIA OFFICENTRE STE 300                                                        SOUTHFIELD        MI 48034‐8424

MIC PROPERTY AND CASUALTY INSURANCE 300 GALLERIA OFFICENTRE STE 200                                                                                            SOUTHFIELD        MI 48034‐8461
CORPORATION
MIC SERVICES CORPORATION              200 NORTH COTTONTAIL LANE                                                                                                SOMERSET          NJ 08873
MIC SERVICES CORPORATION              300 GALLERIA OFFICENTRE                                                                                                  SOUTHFIELD        MI 48034
MIC SERVICES CORPORATION; MRP         300 GALLERIA OFFICENTRE                                                                                                  SOUTHFIELD        MI 48034
SERVICE AGREEMENT CORPORATION
MICA K PIERSON                        849 FOLEY DR                                                                                                             VANDALIA          OH 45377‐2828
MICA N PARKS                          4370 RIVERSIDE DR APT D‐1                                                                                                DAYTON            OH 45405‐1351
MICAELA G FRIAS IND, ON BEHALF OF R G & AS REP ESTATE SALVADOR GUZMAN   C/O WATTS GUERRA CRAFT LLP        300 CONVENT ST, SUITE 100                            SAN ANTONIO       TX 78205
& J J G, MINORS,
MICAELA GONZALEZ‐HERNAND              504 HULL AVE                                                                                                             LEWISBURG         TN   37091‐3619
MICAELA GONZALEZ‐HERNANDEZ            504 HULL AVE                                                                                                             LEWISBURG         TN   37091‐3619
MICAELA STOLL                         PO BOX 972116                                                                                                            YPSILANTI         MI   48197‐0836
MICAH A BUSH                          549 KENNEDY AVE                                                                                                          YPSILANTI         MI   48198‐8006
MICAH BAUGH                           322 SCARBOROUGH WAY                                                                                                      NOBLESVILLE       IN   46060‐3881
MICAH BENNETT
MICAH BIGGINS                         2612 S OUTER DR                                                                                                          SAGINAW           MI   48601‐6648
MICAH ENZ                             2517 GOLDEN POND LN                                                                                                      SPRING HILL       TN   37174‐2333
MICAH FUCHS                           7880 VAN DYKE PL                                                                                                         DETROIT           MI   48214‐2429
MICAH J BOWMAN                        9497 LAKESIDE DR                                                                                                         YPSILANTI         MI   48197‐6173
MICAH J COLBERT                       2512 BAYWOOD ST                                                                                                          DAYTON            OH   45406‐1409
MICAH JONES                           646 LAPRAIRIE ST                                                                                                         FERNDALE          MI   48220‐3214
MICAH KERN                            4193 MAPLEWOOD MEADOWS AVE                                                                                               GRAND BLANC       MI   48439‐3501
MICAH PERRY                           248 BLUE SPRUCE DR                                                                                                       PENDLETON         IN   46064‐8818
MICAH S BRENT                         836 WILLIAMSBURY CT APT 293                                                                                              WATERFORD         MI   48328‐2225
MICAH SUTPHIN                         7326 STATE ROUTE 19 UNIT 2703                                                                                            MOUNT GILEAD      OH   43338‐9480
MICAHEL GAJDZIK                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                                             BOSTON HTS.       OH   44236
MICAHEL JOHN STAWICKI                 BARON & BUDD PC                   THE CENTRUM SUITE 1100            3102 OAK LAWN AVE                                    DALLAS            TX   75219‐4281
MICAI, ALDO A                         6 LAWRENCIA DR                                                                                                           LAWRENCEVILLE     NJ   08648‐1533
MICAILA HERNANDEZ                     4833 MACKINAW RD                                                                                                         SAGINAW           MI   48603‐7247
MICAL JR, RICHARD                     1106 PARK LN                                                                                                             WESTERN SPRINGS   IL   60558‐2116
MICALAITCH ELIZABETH                  56249 PARKVIEW DR                                                                                                        SHELBY TOWNSHIP   MI   48316‐1002
MICALE JR., THOMAS R                  84 HOWARD STREET                                                                                                         PERTH AMBOY       NJ   08861‐1526
MICALE, ANTHONY M                     19953 COYOTE TRL                                                                                                         MACOMB            MI   48042‐6003
MICALE, JAMES E                       305 VICTORIA PARK DR                                                                                                     LIVERPOOL         NY   13088‐5439
MICALE, THOMAS R                      1436 PEGGY LANE                                                                                                          MANNING           SC   29102‐5824
MICALE, THOMAS R                      1436 PEGGY LN                                                                                                            MANNING           SC   29102‐5824
MICALE, TOM M                         42114 WOODCREEK LN                                                                                                       CANTON            MI   48188‐2615
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Name                         Address1                             Address2                        Address3   Address4                 City           State Zip
MICALIZIO AARON              MICALIZIO, AARON                     609 MAIN STREET P O BOX 1288                                        TOMS RIVER      NJ 08754
MICALIZIO AARON              PASALANO, DONNA                      609 MAIN STREET P O BOX 1288                                        TOMS RIVER      NJ 08754
MICALIZIO, AARON             1498 EAST BEECHWOOD DRIVE                                                                                LAYTON          UT 84040‐2230
MICALIZIO, RUSSELL A         5839 CHILI AVE LOT F6                                                                                    CHURCHVILLE     NY 14428‐9417
MICALIZZI, PALMA             205 MOCKING BIRD                                                                                         WHITTING        NJ 08759‐3711
MICALIZZI, PALMA             205 MOCKINGBIRD WAY                                                                                      WHITING         NJ 08759‐3711
MICALIZZI, THOMAS            1004 BURNLEY CT                                                                                          BENSALEM        PA 19020‐4825
MICALLEF, ANTHONY G          2755 PARKER RD                                                                                           HOLLY           MI 48442‐8504
MICALLEF, BERNARD            17246 OPORTO AVE                                                                                         LIVONIA         MI 48152‐4508
MICALLEF, CLAUDINE           RESIDENCE ALEXANDRA PARK             596 AVENUE PIERRE SAUVAIGO                 06700 ST LAUREN DU VAR
                                                                                                             FRANCE
MICALLEF, EMMANUELA          2381 ECUADORIAN WAY #39                                                                                  CLEARWATER     FL   33763‐3439
MICALLEF, FRANCIS X          15846 N FRANKLIN DR                                                                                      CLINTON TWP    MI   48038‐1029
MICALLEF, GAETANA            28738 BUCKINGHAM                                                                                         LIVONIA        MI   48154‐4506
MICALLEF, JOHN               8906 MYSTIC LN                                                                                           WARREN         MI   48093‐1189
MICALLEF, MARJORIE A         16700 SE 78TH LILLYWOOD CT           PO BOX 2868                                                         THE VILLAGES   FL   32162‐8348
MICALLEF, ROSE M             30071 HALECREEK ST                                                                                       ROMULUS        MI   48174‐3131
MICALLEF, TIMOTHY M          101 ANDOVER LN                                                                                           BROOKLYN       MI   49230‐8929
MICALLEF, TIMOTHY MICHAEL    101 ANDOVER LN                                                                                           BROOKLYN       MI   49230‐8929
MICALLEF, WALTER J           1072 TOMPKINS DR                                                                                         CEMENT CITY    MI   49233‐9706
MICARI, BERNADETTE L         15 JAN ROAD                                                                                              BRISTOL        CT   06010
MICARI, BERNADETTE L         15 JAN RD                                                                                                BRISTOL        CT   06010‐2624
MICARI, JANET S              279 GLENEAGLE DR                                                                                         CENTERVILLE    MA   02632‐2320
MICCICHE JR, ANTHONY J       7 BELMONT RD                                                                                             ROCHESTER      NY   14612‐4216
MICCICHE, JOSEPH P           7230 STONEY LONESOME ROAD                                                                                WILLIAMSON     NY   14589‐9581
MICCICHE, JULIANN            1030 SUMMITVILLE DR                                                                                      WEBSTER        NY   14580‐4140
MICCICHE, LILLIAN E          143 W FRANKLIN AVE APT 217                                                                               PENNINGTON     NJ   08534‐1440
MICCICHE, LILLIAN E          143 W. FRANKLIN AVE                  APT 217                                                             PENNINGTON     NJ   08534
MICCICHE, MARGARET A         13 GERALDING PKWY                                                                                        ROCHESTER      NY   14624‐1609
MICCICHE, MARGARET A         13 GERALDINE PKWY                                                                                        ROCHESTER      NY   14624‐1609
MICCICHE, RUSSELL
MICCIULLI ANTHONY L          MICCIULLI, ANTHONY L                 1930 E MARLTON PIKE SUITE Q29                                       CHERRY HILL    NJ   08003
MICCO, DARLA M               1317 E BOSTON AVE                                                                                        YOUNGSTOWN     OH   44502‐2807
MICCO, SUSAN                 31716 DOUGLAS DR                                                                                         WILLOWICK      OH   44095‐4327
MICCOLIS, FRANK              36388 BARNARD ST                                                                                         NEWARK         CA   94560‐2415
MICEK, JULIUS M              8400 ENGLEMAN APT 257                                                                                    CENTER LINE    MI   48015‐1585
MICEK, JULIUS M              8400 ENGLEMAN                        RM 257                                                              CENTERLINE     MI   48015
MICEL ANDRONICOS
MICELI BARBARA               3344 SOUTHERN CAY DR                                                                                     JUPITER        FL 33477‐1375
MICELI NICHOLAS J (493056)   WEITZ & LUXENBERG                    180 MAIDEN LANE                                                     NEW YORK       NY 10038
MICELI WAYNE (634482)        HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                                           ANTIOCH        CA 94509‐2323

MICELI, CHRISTOPHER P        427 N MARLYN AVE                                                                                         BALTIMORE      MD 21221‐3327
MICELI, GIOACCHINO           5 CORRINE ST                                                                                             EDISON         NJ 08820‐1838
MICELI, GIOACCHINO           VIA DE CHRISTOFORIS # 3                                                         COMO 22100 ITALY
MICELI, JAMES M              4 CREIGHTON CT                                                                                           FORDS          NJ   08863‐1302
MICELI, JOSEPH               1368 PIUS ST                                                                                             SAGINAW        MI   48638‐6501
MICELI, LORENZO              89 ELMONT PL                                                                                             COLONIA        NJ   07067‐2429
MICELI, MARJORIE             310 SUNSET TER                                                                                           ORCHARD PARK   NY   14127‐2537
MICELI, MARJORIE             310 SUNSET TERRACE                                                                                       ORCHARD PARK   NY   14127
MICELI, MAUREEN V            26335 CAMPAU LN                                                                                          HARRISON TWP   MI   48045‐2436
MICELI, MICHAEL A            6930 CLIFFSIDE DR                                                                                        RACINE         WI   53402‐1322
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Name                             Address1                             Address2           Address3    Address4                City               State Zip
MICELI, MICHAEL V                11428 FAWN VALLEY TRL                                                                       FENTON              MI 48430‐4008
MICELI, NICHOLAS J               WEITZ & LUXENBERG                    180 MAIDEN LANE                                        NEW YORK            NY 10038
MICELI, P A                      406 N GIDDINGS AVE                                                                          JERSEYVILLE          IL 62052‐1722
MICELI, PATRICIA A               1018 S MASON AVE                                                                            CHICAGO              IL 60644‐5336
MICELI, PETER                    7140 TOMOTLEY RD                                                                            MARYVILLE           TN 37801‐1443
MICELI, PETER C                  1540 W SQUIRE LN                                                                            ADDISON              IL 60101
MICELI, RICHARD K                HC 75 BOX 2005                                                                              ISONVILLE           KY 41149‐9711
MICELI, ROSALIA                  147 PICKETTS RIDGE RD                                                                       REDDING             CT 06896‐1101
MICELI, WAYNE                    HOBIN RICHARD D; SHINGLER RONALD J   1011 A ST                                              ANTIOCH             CA 94509‐2323

MICELLI, MARK A                  530 MOLINO ST STE 112                                                                       LOS ANGELES        CA   90013‐2278
MICELLI, NICKOLIS C              1327 SMITH AVE                                                                              ROYAL OAK          MI   48073‐3148
MICENSKY, HARRY A                924 RIVERBEND STREET                                                                        BOWLING GREEN      KY   42104‐0825
MICENSKY, HARRY A                C/O NORMA MICENSKY                   924 RIVERBAND                                          BOWLING GREEN      KY   42104
MICENSKY, HARRY M                161 PEPPERELL AVE                                                                           HOUGHTON LAKE      MI   48629‐8900
MICENSKY, LOTTIE                 5450 MAPLE RIDGE                                                                            HASLETT            MI   48840‐8651
MICEWICZ, MARK                   61 W 5TH ST                                                                                 BAYONNE            NJ   07002‐2410
MICH DEPT OF TREASURY COLL       ACT OF C P BAILO                     PO BOX 30158                                           LANSING            MI   48909‐7658
MICH NATIONAL BANK ACCT OF       W R JACKSON                          PO BOX 9065                                            FARMINGTON HILLS   MI   48333‐9065
MICH OTT                         25 RUE DE STRABOURG                                                                         STRASBOURG
MICH PROD MACH                   KEVIN WEST X‐227                     16700 23 MILE RD                                       MACOMB             MI   48044
MICH TREASURY COLLECTION         ACT OF A J SLOAN                     PO BOX 30158                                           LANSING            MI   48909‐7658
MICH TREASURY COLLECTION         ACT OF M BEEMON                      PO BOX 30158                                           LANSING            MI   48909‐7658
MICH TREASURY COLLECTIONS DIV    ACCT OF LARRY D CONRAD               PO BOX 30158       LEVY #                              LANSING            MI   48909‐7658
MICH TREASURY COLLECTIONS DIV    ACCT OF ROCHESTER BROWN              PO BOX 30158                                           LANSING            MI   48909‐7658
MICH TREASURY COLLECTIONS DIV    ACCT OF HENRY C DEAN                 PO BOX 30158                                           LANSING            MI   48909‐7658
MICH TREASURY COLLECTIONS DIV    ACCT OF DEBORAH A ELLIS              PO BOX 30158       LEVY #                              LANSING            MI   48909‐7658
MICH TREASURY COLLECTIONS DIV    ACCT OF CHARLES E BOWMAN             PO BOX 30158                                           LANSING            MI   48909‐7658
MICH TREASURY COLLECTIONS DIV    ACCT OF KIM ECKSTEIN                 PO BOX 30158                                           LANSING            MI   48909‐7658
MICH, LINDA L                    3408 SHERWOOD RD                                                                            BAY CITY           MI   48706‐1597
MICH, LORRAINE A                 2933 POWDERHORN RIDGE RD                                                                    ROCHESTER HILLS    MI   48309‐1344
MICHA RAWLINGS                   814 BOLINGER ST                                                                             ROCHESTE HLS       MI   48307‐2825
MICHA WIMMEL                     RASEANGER 11                                                        ROSDORF DE 37124
                                                                                                     GERMANY
MICHA, MARY SUE                  116 GARWOOD DR                                                                              CANFIELD           OH 44406‐1123
MICHAEL
MICHAEL                          705 CHESAPEAKE DR                                                                           STEVENSVILLE       MD 21666‐2709
MICHAEL A. CASO                  16 HILLVIEW DRIVE                                                                           POUGHKEEPSIE       NY 12603
MICHAEL HOLMLUND
MICHAEL & ANGELA MCCARTHY        62 ORCHARD KNOLL DR                                                                         READING            OH 45215
MICHAEL & CARY BONNER            2105 B RICHARDSON RD                                                                        CAMDEN             SC 29020
MICHAEL & DANIELA WEISS          HINTER DEM SEE 15                                                   75015 BRETTEN GERMANY
MICHAEL & DIANE DUNFEE           17 CARY STREET                                                                              NAHANT             MA   01908
MICHAEL & GLORIA BARONE JTWROS   MICHAEL & GLORIA BARONE              572 48TH ST                                            BROOKLYN           NY   11220
MICHAEL & JASMINE BAHIA JT TEN   36 OLD STAGE ROAD                                                                           CHELMSFORD         MA   01824
MICHAEL & MARY ANN BROWN         5029 DOREN DR                                                                               OGDEN              UT   84403
MICHAEL ( WATSON                 706 VICTORIA DRIVE                                                                          FRANKLIN           OH   45005‐1550
MICHAEL A & DIANE J GRANITZ      2143 LIBERTY ST                                                                             ALLENTOWN          PA   18104
MICHAEL A ADAIR                  203 ATWOOD ST                                                                               TILTON             IL   61833‐7513
MICHAEL A ALLARD                 101 MT. SALUS #307                                                                          CLINTON            MS   39056‐5040
MICHAEL A ALSTON                 3130 MALLERY ST                                                                             FLINT              MI   48504‐2928
MICHAEL A ANTCLIFFE              2170 EAST M 61                                                                              GLADWIN            MI   48624‐8336
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Name                           Address1                         Address2                    Address3   Address4         City           State Zip
MICHAEL A ARNOLD               4126 SHENANDOAH DRIVE                                                                    DAYTON          OH 45417‐1155
MICHAEL A ASHER                1259 BROOKWALTER                                                                         NEW CARLISLE    OH 45344‐2709
MICHAEL A ATKINS               312 TREMONT ST                                                                           ROCHESTER       NY 14608‐2316
MICHAEL A BENNETT              1358 DUNCAN AVE                                                                          YPSILANTI       MI 48198‐5942
MICHAEL A BENTON               2576 CROFTHILL DR                                                                        AUBURN HILLS    MI 48326‐3517
MICHAEL A BEYER                9862 HOLLOW TREE DR                                                                      TIPP CITY       OH 45371
MICHAEL A BIGGER               909 N GRANT ST APT 1                                                                     BAY CITY        MI 48708‐6092
MICHAEL A BIGGS SR             C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                               HOUSTON         TX 77007
                               BOUNDAS LLP
MICHAEL A BILLS                6393 STATE RD                                                                            VASSAR         MI   48768‐9215
MICHAEL A BLAIR                9 OAKLAWN AVE                                                                            MEDWAY         OH   45341
MICHAEL A BLEVINS              1240 ASH ST                                                                              HUNTINGTON     IN   46750‐4109
MICHAEL A BRANCH               814 GREENFIELD CT                                                                        MURFREESBORO   TN   37128‐4723
MICHAEL A BRILEY               10374 BAKER DR                                                                           CLIO           MI   48420‐7720
MICHAEL A BROWN                16490 E STATE FAIR ST                                                                    DETROIT        MI   48205‐2039
MICHAEL A BROWN                2016 KING AVE                                                                            DAYTON         OH   45420‐2451
MICHAEL A BRUCZ                23 HEDGE LN                                                                              LANCASTER      NY   14086‐1470
MICHAEL A BUGNONE              117 HARTZELL AVE.                                                                        NILES          OH   44446
MICHAEL A BULLOCK              C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                               HOUSTON        TX   77007
                               BOUNDAS, LLP
MICHAEL A BUNNELL              1010 AUBURN AVE                                                                          GADSDEN        AL   35901‐2608
MICHAEL A BURDEN II            4485 PEBBLE CREEK BLVD                                                                   GRAND BLANC    MI   48439‐9069
MICHAEL A BURLILE              705 S LAKE CUNNINGHAM AVE                                                                SAINT JOHNS    FL   32259
MICHAEL A BUSH                 433 BLUE JAY DR                                                                          VANDALIA       OH   45377‐2607
MICHAEL A CAFOLLA              16 TALOS WAY                                                                             ROCHESTER      NY   14624
MICHAEL A CANADA SR            106 OAK ST                                                                               TROTWOOD       OH   45426‐3520
MICHAEL A CARPINO              16 CHISWICK DR                                                                           CHURCHVILLE    NY   14428‐9407
MICHAEL A CARTER               30 CARTER AVE                                                                            DAYTON         OH   45405
MICHAEL A CASO & AGATHA CASO   16 HILLVIEW DR                                                                           POUGHKEEPSIE   NY   12603‐3808
MICHAEL A CATALFAMO            409 BURCH FARM DR                                                                        BROCKPORT      NY   14420
MICHAEL A CATTRELLE            P O BOX 292847                                                                           KETTERING      OH   45429
MICHAEL A CHATFIELD            6356 N SWEDE RD                                                                          RHODES         MI   48652‐9611
MICHAEL A CHILL                2614 CRIPPLE CREEK DR                                                                    ST LOUIS       MO   63129‐4915
MICHAEL A COALSON              10820 TIDWELL LOOP                                                                       BON AQUA       TN   37025‐2722
MICHAEL A COLEMAN              PO BOX 50193                                                                             FORT WORTH     TX   76105‐0193
MICHAEL A COLEMAN              3832 ROLAND CR                                                                           DAYTON         OH   45406‐3536
MICHAEL A COMER                2365 GHENT AVE                                                                           KETTERING      OH   45420
MICHAEL A COOK                 C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                               HOUSTON        TX   77007
                               BOUNDAS LLP
MICHAEL A CORIDDI JR           775 PARK AVE 1                                                                           ROCHESTER      NY   14607
MICHAEL A COZZI                1812 HYDE SHAFFER RD                                                                     BRISTOLVILLE   OH   44402‐9708
MICHAEL A CRAVER               3727 ROLLAND CIR                                                                         DAYTON         OH   45406
MICHAEL A CROLEY               106 SHEETS ST                                                                            UNION          OH   45322‐3104
MICHAEL A CUNNINGHAM           141 ROCKWOOD AVE.                                                                        DAYTON         OH   45405
MICHAEL A DAMICO SR            208 WESTWOOD AVE                                                                         MATTYDALE      NY   13211‐1624
MICHAEL A DANIELS              500 E DEWEY CAMP RD                                                                      FLORENCE       MS   39073
MICHAEL A DAVIES               201 12TH ST                                                                              NILES          OH   44446‐4319
MICHAEL A DAVIS                1415 PARKER, APT. 566                                                                    DETROIT        MI   48214
MICHAEL A DAVIS                1709 MICHAELANE DR                                                                       SAGINAW        MI   48604‐9209
MICHAEL A DE FILIPPS           19 EAST AVE                                                                              HOLLEY         NY   14470‐1015
MICHAEL A DELUCIA              127 MISTRAL TER                                                                          SUFFOLK        VA   23434
MICHAEL A DESIVO               C/O WEITZ & LUXENBERG PC         700 BROADWAY                                            NEW YORK       NY   10003
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Name                            Address1                           Address2                   Address3    Address4         City            State Zip
MICHAEL A DESKIN                371 MEADOWBROOK AVE                                                                        BOARDMAN         OH 44512‐3007
MICHAEL A DIETZ                 7326 PINE ROAD                                                                             LEXINGTON        MI 48450‐8959
MICHAEL A DORSTEN               4822 HASSAN CIRCLE APT 12                                                                  DAYTON           OH 45432
MICHAEL A DRUMMER               64 SALEM CIR                                                                               SALINE           MI 48176‐9135
MICHAEL A EDWARDS               4912 RITTENHOUSE DR                                                                        HUBER HEIGHTS    OH 45424‐4325
MICHAEL A ELDER                 3021 DOROTHY LN                                                                            RED OAK          TX 75154
MICHAEL A EMRICK                6500 LEMANS LN                                                                             DAYTON           OH 45424
MICHAEL A EXMAN                 P O BOX 431                                                                                MEDWAY           OH 45341
MICHAEL A FARRINGTON            54 GREENWOOD DR                                                                            BREWER           ME 04412
MICHAEL A FINLEY                530 ORIOLE DR.                                                                             HUBBARD          OH 44425
MICHAEL A FREEMAN               1130 EATON FT. NESBIT RD                                                                   NEW PARIS        OH 45347‐‐ 91
MICHAEL A GALLO                 NADLER NADLER & BURDMAN CO., LPA   20 FEDERAL PLAZA WEST      SUITE 600                    YOUNGSTON        OH 44503‐1423
MICHAEL A GALLO CH 13 TRUSTEE   ACCT OF FLOYD ALEXANDER            20 FEDL PLAZA W STE 600                                 YOUNGSTOWN       OH 29050
MICHAEL A GALLO CH13 TRUSTEE    ACCT OF CONSTANCE E COSPY          20 FEDERAL PLZ W STE 600                                YOUNGSTOWN       OH 44503‐1424
MICHAEL A GALLO TRUSTEE         ACCT OF JOHN P VERDREAM            20 FEDERAL PLZ W STE 600                                YOUNGSTOWN       OH 44503‐1424
MICHAEL A GALLO TRUSTEE         ACCOUNT OF STEPHEN M TERLECKI      20 FEDERAL PLZ W STE 600                                YOUNGSTOWN       OH 44503‐1424
MICHAEL A GALLO TRUSTEE         ACCT OF HERBERT W LAKE             20 FEDERAL PLZ W STE 600                                YOUNGSTOWN       OH 44503‐1424
MICHAEL A GALLO TRUSTEE         ACCT OF ELAYNE A JOHNSON           20 FEDERAL PLZ W STE 600                                YOUNGSTOWN       OH 44503‐1424
MICHAEL A GALLO, TRUSTEE        ACCT OF RICHARD A KIDD             20 FEDERAL PLZ W STE 600                                YOUNGSTOWN       OH 44503‐1424
MICHAEL A GIANNINI JR           6504 S TIMBERIDGE DR                                                                       AUSTINTOWN       OH 44515‐5546
MICHAEL A GITZINGER             4385 VALLEY ST                                                                             DAYTON           OH 45424
MICHAEL A GONZALES              779 CORWIN CT                                                                              PONTIAC          MI 48340‐2415
MICHAEL A HADDIX                1499 NEW WAY DR                                                                            BEAVERCREEK      OH 45434‐6925
MICHAEL A HAIGHT                7231 ASHWOOD DR                                                                            PORT RICHEY      FL 34668‐1508
MICHAEL A HALL                  5253 FLOTRON                                                                               HUBER HEIGHTS    OH 45424
MICHAEL A HARDIN                30 HEMLOCK CT                                                                              SPRINGBORO       OH 45066
MICHAEL A HARDIN                30 HEMLOCK DR                                                                              SPRINGBORO       OH 45066‐1118
MICHAEL A HARMON                109 HYDE PARK                                                                              LOCKPORT         NY 14094‐4750
MICHAEL A HARRIS                PO BOX 26176                                                                               DAYTON           OH 45426‐0176
MICHAEL A HARTY                 1732 DREXEL                                                                                SOUTH MILW       WI 53172‐2938
MICHAEL A HECHT                 7093 FRANKLIN MADISON RD                                                                   MIDDLETOWN       OH 45042‐1105
MICHAEL A HELLER                783 EDEN HILL RD                                                                           BEULAH           MI 49617
MICHAEL A HENRY                 2333 LEHIGH PLACE                                                                          DAYTON           OH 45439‐2855
MICHAEL A HERNANDEZ             17142 GROVEMONT                                                                            SANTA ANA        CA 92705
MICHAEL A HIATT                 2867 SPRINGDALE LN                                                                         SAN RAMON        CA 94583‐3346
MICHAEL A HOLT                  5724HORRELL RD                                                                             DAYTON           OH 45426‐2141
MICHAEL A HUMMONS               707 FOREST AVENUE                                                                          DAYTON           OH 45405‐4115
MICHAEL A JACKSON               140 HARKER ST                                                                              MANSFIELD        OH 44903‐1218
MICHAEL A JESKE                 9985 BURGESS CT                                                                            WHITE LAKE       MI 48386‐2809
MICHAEL A JOHNSON               4754 GERMANTOWN PK                                                                         DAYTON           OH 45418‐2130
MICHAEL A JOHNSON               316 HURON AVE                                                                              DAYTON           OH 45417‐1624
MICHAEL A JONAS                 1007 STERLING STREET                                                                       BAY CITY         MI 48706
MICHAEL A KENNEDY               1134 DOWAGIAC AVE                                                                          MOUNT MORRIS     MI 48458‐2580
MICHAEL A KERRIDGE              3454 ADA DR                                                                                BAY CITY         MI 48706‐1709
MICHAEL A KIMINAS               7706 REDBANK LANE                                                                          HUBER HEIGHTS    OH 45424
MICHAEL A KIRKSEY               9153 RACHEL SHEA AVE                                                                       OLIVE BRANCH     MS 38654
MICHAEL A LAGA                  513 DEVILLEN                                                                               ROYAL OAK        MI 48073‐3651
MICHAEL A LAPIO                 4124 ROLLING SPRINGS DRIVE                                                                 TAMPA            FL 33624‐2377
MICHAEL A LEIGH                 290 PROGRESS RD                                                                            DAYTON           OH 45449
MICHAEL A LEO                   3840 LEONORA DR                                                                            KETTERING        OH 45420
MICHAEL A LEWITZKE              99 DEPPIESSE RD                                                                            RANDOM LAKE      WI 53075‐1659
MICHAEL A LOBELLO               87 CASTLEWOOD DRIVE                                                                        ROCHESTER        NY 14624‐1722
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Name                       Address1                         Address2                    Address3   Address4         City              State Zip
MICHAEL A LONG             1026 E VIENNA RD                                                                         CLIO               MI 48420‐1834
MICHAEL A LOVETT           7520 TOWNLINE ROAD                                                                       BERGEN             NY 14416‐9757
MICHAEL A LOWERY           C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                               HOUSTON            TX 77007
                           BOUNDAS LLP
MICHAEL A MA
MICHAEL A MACNEIL          5911 CASS AVE                                                                            DETROIT           MI   48202‐3421
MICHAEL A MADER            7945 SOUTHBURY DR                                                                        DAYTON            OH   45458
MICHAEL A MAJEWSKI         2010 BALDWIN ST                                                                          MCKEESPORT        PA   15132‐2116
MICHAEL A MALINIAK         1941 HOWARD AVE                                                                          POTTSVILLE        PA   17901
MICHAEL A MARTELLI         670 GOLF VILLA DR                                                                        OXFORD            MI   48371‐3695
MICHAEL A MARTIN           7791 REDBANK                                                                             DAYTON            OH   45424‐2150
MICHAEL A MARTIN           1355 STATE ROUTE 7 NE                                                                    BROOKFIELD        OH   44403‐9785
MICHAEL A MASON ATTORNEY   516 W COURT ST                                                                           FLINT             MI   48503
MICHAEL A MASON ATTORNEY   2610 N DORT HWY                                                                          FLINT             MI   48506‐2960
MICHAEL A MASON TRUSTEE    516 W COURT ST                                                                           FLINT             MI   48503‐5010
MICHAEL A MASON TRUSTEE    445 S LIVERNOIS RD STE 305                                                               ROCHESTER HILLS   MI   48307‐2577
MICHAEL A MATHEWS          1714 HORLACHER AVE                                                                       DAYTON            OH   45420‐3237
MICHAEL A MATHIS JR        3857 HASSFURT DRIVE                                                                      FAIRFIELD         OH   45011
MICHAEL A MAZZEO           1030 C GREENLEAF RD                                                                      ROCHESTER         NY   14612‐1964
MICHAEL A MCCLURE          1543 SALEM AVE                                                                           DAYTON            OH   45406
MICHAEL A MCCOLLUM         PO BOX 138                                                                               VERNON            MI   48476‐0138
MICHAEL A MCCOY            511 HALES BRANCH RD                                                                      MIDLAND           OH   45148‐9648
MICHAEL A MCDONALD         569 SAINT PAUL AVE                                                                       DAYTON            OH   45410‐2244
MICHAEL A MCGHEE           3102 LODWICK DR NW APT 6                                                                 WARREN            OH   44485
MICHAEL A MCILVAIN         2629 SAN RAE DR                                                                          KETTERING         OH   45419‐2767
MICHAEL A MCKENNA          2121 E CENTERVILLE STATION RD                                                            CENTERVILLE       OH   45459‐5542
MICHAEL A MCLOSKY          722 CENTER ST                                                                            OWOSSO            MI   48867‐1414
MICHAEL A MIGLIORE         108 WINDMILL TRL                                                                         ROCHESTER         NY   14624
MICHAEL A MITCHELL         1709 WESTWOOD DR NW                                                                      WARREN            OH   44485
MICHAEL A MITCHELL         7370 FREDERICK PIKE                                                                      DAYTON            OH   45414
MICHAEL A MUDGET           2570 N KREPPS RD                                                                         SAINT JOHNS       MI   48879‐9057
MICHAEL A MURGILLO         45 CHESTNUT ST                                                                           ROCHESTER         NY   14604‐2303
MICHAEL A MURGILLO         45 CHESTNUT ST                   ROOM 804                                                ROCHESTER         NY   14604
MICHAEL A MURPHY           559 CALDER AVE                                                                           YPSILANTI         MI   48198‐6189
MICHAEL A NATHAN           242 LEROY ST                                                                             MONTROSE          MI   48457‐9161
MICHAEL A NEAL             4288 WILTSHIRE CT                                                                        BEAVERCREEK       OH   45440
MICHAEL A NEVINSKI         1605 ASHEVILLE SPRINGS CIR                                                               ASHEVILLE         NC   28806‐6530
MICHAEL A NILES            4188 KIRK RD                                                                             YOUNGSTOWN        OH   44511
MICHAEL A NIXON            PO BOX 96                                                                                ENGLEWOOD         OH   45322
MICHAEL A NUGENT           45 S POND CT                                                                             SPRINGBORO        OH   45066
MICHAEL A O'CONNELL        3115 OLEANDER DRIVE                                                                      SUMTER            SC   29154‐1682
MICHAEL A PATRONE          240 LAKE POINTE CIR                                                                      CANFIELD          OH   44406‐8773
MICHAEL A PEPPERS          748 BROOKLYN AVE.                                                                        DAYTON            OH   45407‐1401
MICHAEL A PERRY            1485 LAKEVIEW DRIVE              LOT 232                                                 DELAND            FL   32720
MICHAEL A PETYAK           144 FAIRWAY PLACE                                                                        WARREN            OH   44483
MICHAEL A PIESKO           7300 ORCHARD AVE                                                                         DEARBORN          MI   48126‐1310
MICHAEL A POPE             2628 CHURCHLAND                                                                          DAYTON            OH   45406‐1201
MICHAEL A POPRAFSKY        29087 GRAND AVE                                                                          LACOMBE           LA   70445‐3633
MICHAEL A POZZANGHERA      15 B GREEN LEAF MEADOWS                                                                  ROCHESTER         NY   14612‐4338
MICHAEL A PRATER           321 WEST FUNDERBURG RD                                                                   FAIRBORN          OH   45324‐2338
MICHAEL A PRICE            2237 TERRYLYNN AVE                                                                       DAYTON            OH   45439
MICHAEL A PRICE            12274 FRANCES RD                                                                         OTISVILLE         MI   48463‐9742
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Name                    Address1                       Address2            Address3         Address4         City              State Zip
MICHAEL A PRITCHETT     P O BOX 978                                                                          BEDFORD            IN 47421
MICHAEL A PROCKNAL      9077 HOLLAND GLENWOOD RD                                                             GLENWOOD           NY 14069‐9612
MICHAEL A PRUITT        316 PLEASANT STREET                                                                  DAYTON             OH 45403‐2732
MICHAEL A RACE          1007 N GRANT ST                                                                      BAY CITY           MI 48708‐6048
MICHAEL A RANDOLPH
MICHAEL A RAZZANO       359 TOWSON DR NW                                                                     WARREN            OH   44483‐1732
MICHAEL A REIDOSH       344 DEAN RD                                                                          SPENCERPORT       NY   14559‐9542
MICHAEL A RHODES        1538 HARDING AVE                                                                     MINERAL RIDGE     OH   44440‐9342
MICHAEL A RICHARDS      1407 2ND ST                                                                          BAY CITY          MI   48708‐6123
MICHAEL A RIES          46615 ECORSE RD                                                                      BELLEVILLE        MI   48111‐1160
MICHAEL A RIOPELLE      1782 REUVEN CIR APT 4                                                                NAPLES            FL   34112‐3609
MICHAEL A RIVERA        8755 TANGELO AVE                                                                     FONTANA           CA   92335
MICHAEL A RIVERA III    8755 TANGELO AVE                                                                     FONTANA           CA   92335‐5054
MICHAEL A ROSSIGNOL     1170 KNOLLWOOD DR                                                                    SAINT HELEN       MI   48656‐9534
MICHAEL A ROWE          450 TANGLEWOOD DR                                                                    DAYTON            OH   45440
MICHAEL A RUSSELL       843 S MOORE SCHOOL RD                                                                TROY              MO   63379‐3842
MICHAEL A RUTH          10166 HACKBERRY RD                                                                   SULLIVAN          MO   63080‐6422
MICHAEL A RYKOSKEY      5700 SHANK RD.                                                                       DAYTON            OH   45418‐1832
MICHAEL A RYLL          PO BOX 411                                                                           BAY CITY          MI   48707‐0411
MICHAEL A SALAMON       13 WILDERNEST DR                                                                     SPRINGBROOK TWP   PA   18444
MICHAEL A SALERNO       3045 SOUTH LEGACY PARK BLVD                                                          FORT MILL         SC   29715
MICHAEL A SAMSON        7270 BROCKWAY ROAD                                                                   YALE              MI   48097‐3800
MICHAEL A SCHALK        18814 STATE ROUTE 111                                                                DEFIANCE          OH   43512‐8341
MICHAEL A SCHELLHOUSE   224 NORTH HYATT STREET                                                               TIPP CITY         OH   45371
MICHAEL A SCIGEL        2240 W SNOVER RD                                                                     MAYVILLE          MI   48744‐9773
MICHAEL A SEMCHEE       3835 NEW RD                                                                          AUSTINTOWN        OH   44515‐4625
MICHAEL A SHATTO        3355 W ALEXIS RD APT A5                                                              TOLEDO            OH   43623‐1434
MICHAEL A SHORKEY       5960 2ND AVE                                                                         DETROIT           MI   48202‐3402
MICHAEL A SKINNER       213 OVERLOOK CIR STE B4                                                              BRENTWOOD         TN   37027‐3291
MICHAEL A SMITH         5041 WAY ST                                                                          BURTON            MI   48509‐1536
MICHAEL A SPARKMAN      1106 S. MISSOURI AVE           APT 105                                               CLEARWATER        FL   33756
MICHAEL A STRICKLEN     2215 N 40TH ST                                                                       KANSAS CITY       KS   66104‐3531
MICHAEL A SUMMERS       33 E FAIRMOUNT AVE                                                                   PONTIAC           MI   48340‐2727
MICHAEL A TAACK         12305 S MERRILL RD                                                                   BRANT             MI   48614
MICHAEL A TERNET        140 DOGWOOD DR                                                                       WARREN            IN   46792‐9260
MICHAEL A THOMAS        1096 HENRY ST                                                                        ELSMERE           KY   41018
MICHAEL A TIRAK         2596 LYDIA ST SW                                                                     WARREN            OH   44481‐8618
MICHAEL A TODD          14093 BARRETT MILL RD                                                                BAINBRIDGE        OH   45612‐9540
MICHAEL A TYSICK        5320 SCHOTT RD                                                                       MAYVILLE          MI   48744‐9704
MICHAEL A VANPELT       130 BRAYTON ROAD                                                                     ROCHESTER         NY   14616‐2962
MICHAEL A VERHOFF       17460 ROAD K                                                                         OTTAWA            OH   45875‐9445
MICHAEL A VISCONTI      510 E MOLLOY RD                                                                      SYRACUSE          NY   13211‐1644
MICHAEL A VOLZ          3154 TANYARD HOLLOW RD                                                               CULLEOKA          TN   38451‐2336
MICHAEL A WALKER        140 UNION RIDGE                                                                      UNION             OH   45322
MICHAEL A WALLER        4258 WOLF RD                                                                         DAYTON            OH   45416
MICHAEL A WALLING       3102 DREXEL RD                                                                       BENSALEM          PA   19020‐1726
MICHAEL A WALTERS       1463 PEPPERWOOD DR                                                                   NILES             OH   44446‐3550
MICHAEL A WASHINGTON    201 LORENZ AVE                                                                       DAYTON            OH   45417‐2335
MICHAEL A WATTS         6301 WEYBRIDGE DR                                                                    DAYTON            OH   45426
MICHAEL A WEBSTER       139 OHIO ST                                                                          YPSILANTI         MI   48198‐7821
MICHAEL A WENNING       PO BOX 26217                                                                         TROTWOOD          OH   45426
MICHAEL A WHITE         33 CALUMET LN                                                                        DAYTON            OH   45417
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Name                                 Address1                           Address2                     Address3                Address4         City             State Zip
MICHAEL A WHITFIELD                  595 WELLINGTON AVE                                                                                       ROCHESTER         NY 14619
MICHAEL A WIGGINS                    13370 JANE                                                                                               DETROIT           MI 48205‐4009
MICHAEL A WILLIAMS                   2606 LEHIGH PL                                                                                           MORAINE           OH 45439‐2812
MICHAEL A WILSON, SR.                2850 PLAINFIELD RD                                                                                       BALTIMORE         MD 21222‐2234
MICHAEL A WOOD                       854 LONG RUN RD.                                                                                         HOLBROOK          PA 15341‐1508
MICHAEL A WOODARD                    746 FERGUSON AVE                                                                                         DAYTON            OH 45407‐2206
MICHAEL A WRIGHT                     1033 HARBOR PINES DR                                                                                     MERRITT ISLAND    FL 32952‐2796
MICHAEL A YAMBRICK                   1432 EGGLESTON AVE                                                                                       FLINT             MI 48532‐4132
MICHAEL A YANCHO JR                  1404 EGGLESTON AVE                                                                                       FLINT             MI 48532‐4132
MICHAEL A YAUCH                      2825 JOHN GRAY ROAD                                                                                      CINCINNATI        OH 45251‐4218
MICHAEL A YORTON                     317 EEAGLE STREET                                                                                        EAGLE             WI 53119
MICHAEL A ZAAYER                     509 CRESTWOOD ST                                                                                         TILTON             IL 61833‐8010
MICHAEL A ZALESKI                    932 DRAVIS ST                                                                                            GIRARD            OH 44420‐2020
MICHAEL A ZIMMERMAN                  510 BARBER RD.                                                                                           CLEVELAND         NC 27013
MICHAEL A ZUCCARO                    1216 SUNFLOWER OVAL                                                                                      BROADVIEW HTS     OH 44147
MICHAEL A. COX, ATTORNEY GENERAL FOR C/O BRADLEY K. MORTON, ASSISTANT   C/O STEVEN B. FLANCHER,      P.O. BOX 30754                           LANSING           MI 48909
THE STATE OF MICHIGAN                ATTORNEY GENERAL                   ASSISTANT ATTORNEY GENERAL
MICHAEL A. COX, ATTY GENERAL         KATHLLEN A. GARDINER, ASST. ATTY   CADILLAC PLACE               3030 WEST GRAND BLVD.                    DETROIT          MI 48202
                                     GENERAL
MICHAEL A. NORWOOD, SR.
MICHAEL A. PEPE
MICHAEL A. SCAFURI
MICHAEL A. TELLES                    31348 HALLWOOD CT.                                                                                       MENIFEE          CA   92584‐8720
MICHAEL AARHUS                       13209 RIDGEPOINTE RD                                                                                     KELLER           TX   76248‐8148
MICHAEL AARON                        4219 W FARRAND RD                                                                                        CLIO             MI   48420‐8244
MICHAEL ABBENANTE                    236 WEDGEFIELD DR                                                                                        CONWAY           SC   29526‐9076
MICHAEL ABBOTT                       112 CHESTNUT OAK LN                                                                                      CLEVELAND        GA   30528‐7508
MICHAEL ABBOTT                       3424 BROOKGATE DR                                                                                        FLINT            MI   48507‐3213
MICHAEL ABBOTT                       3964 GUILFORD ST                                                                                         DETROIT          MI   48224‐2242
MICHAEL ABBOTT                       712 HOLT DR                                                                                              LIBERTY          MO   64068‐2584
MICHAEL ABBOTT                       1160 PLEASANT VALLEY RD                                                                                  MANSFIELD        OH   44903‐9019
MICHAEL ABEL                         2125 COOLRIDGE RD                                                                                        HOLT             MI   48842‐1423
MICHAEL ABERNATHY                    414 RIDGE HILL PL                                                                                        FORT WAYNE       IN   46804‐6451
MICHAEL ABLER                        1516 BARNARD ST                                                                                          SAGINAW          MI   48602‐4901
MICHAEL ABLESON                      723 OAKLAND AVE                                                                                          BIRMINGHAM       MI   48009‐5756
MICHAEL ABNER                        5285 PINNACLE CT                                                                                         ANN ARBOR        MI   48108‐8658
MICHAEL ABOWD                        317 MAPLE RIDGE ST                                                                                       ANN ARBOR        MI   48103‐3725
MICHAEL ABRAHAM                      582 BONDIE ST                                                                                            WYANDOTTE        MI   48192‐2666
MICHAEL ABRAHAM                      4625 DAWSONVILLE HWY                                                                                     GAINESVILLE      GA   30506‐3864
MICHAEL ABRAHAM                      3495 LOOP RD                                                                                             MIDDLEVILLE      MI   49333‐8517
MICHAEL ABRAMS                       19686 CREST DR                                                                                           APPLE VALLEY     CA   92307‐5432
MICHAEL ABRAMSON                     2323 HARVARD DR APT 41                                                                                   JANESVILLE       WI   53548‐2770
MICHAEL ABSHIRE                      12217 EDWIN RD                                                                                           OKLAHOMA CITY    OK   73165‐6729
MICHAEL ACETO                        39 GODFREY RD                                                                                            MASHPEE          MA   02649‐3827
MICHAEL ACEVEDO                      1109 BROWN ST APT 4B                                                                                     PEEKSKILL        NY   10566‐3720
MICHAEL ACHA                         2156 S RIVER RD                                                                                          SAGINAW          MI   48609‐5325
MICHAEL ACKERMAN                     2418 SAN JOSE AVE                                                                                        AVON PARK        FL   33825‐9631
MICHAEL ACKERSON                     2022 N PONTIAC DR                                                                                        JANESVILLE       WI   53545‐0656
MICHAEL ACREY                        2766 N TEAL LN                                                                                           BIRCHWOOD        WI   54817‐3053
MICHAEL ACTON                        2120 HAYES DENTON RD                                                                                     COLUMBIA         TN   38401‐8227
MICHAEL ADAIR                        4769A S PARADISE RD                                                                                      FALMOUTH         MI   49632‐9611
MICHAEL ADAMS                        619 CRAWFORD ST                                                                                          FLINT            MI   48507‐2458
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MICHAEL ADAMS             2197 E HENDERSON RD                                                                                    OWOSSO              MI 48867‐9402
MICHAEL ADAMS             11835 BUECHE RD                                                                                        BURT                MI 48417‐9774
MICHAEL ADAMS             1254 N 650 W                                                                                           ANDERSON            IN 46011‐9125
MICHAEL ADAMS             151 W BEECH LN                                                                                         ALEXANDRIA          IN 46001‐8385
MICHAEL ADAMS             2100 QUARTER PATH RD                                                                                   CICERO              IN 46034‐9346
MICHAEL ADAMS             480 W PINCONNING RD                                                                                    PINCONNING          MI 48650‐8991
MICHAEL ADAMS             3137 WINTERHAVEN DR                                                                                    LAKE HAVASU CITY    AZ 86404‐3272
MICHAEL ADAMS             7950 HIGHWAY 78 WEST                                                                                   OKEECHOBEE          FL 34974
MICHAEL ADAMS             6214 EMERALD DR                                                                                        GRAND BLANC         MI 48439‐7809
MICHAEL ADAMS             7331 HAVILAND BEACH DR                                                                                 LINDEN              MI 48451‐8721
MICHAEL ADAMS             105 E EDGEWOOD BLVD APT C                                                                              LANSING             MI 48911‐5804
MICHAEL ADAMS             1370 GRACELAND DR                                                                                      FAIRBORN            OH 45324‐4372
MICHAEL ADAMS             1048 PLEASANT RIDGE RD                                                                                 CARROLLTON          GA 30117‐6845
MICHAEL ADAMS             8325 SATINWOOD DR                                                                                      GREENWOOD           LA 71033‐3228
MICHAEL ADAMS             3397 RIDGECLIFFE DR                                                                                    FLINT               MI 48532‐3736
MICHAEL ADAMSON           1411 FIR LN                                                                                            AVON                IN 46123‐7195
MICHAEL ADDISON           96 REED ST                                                                                             BUFFALO             NY 14212‐1225
MICHAEL ADDISON           12663 DORWOOD RD                                                                                       BURT                MI 48417‐2359
MICHAEL ADELSON           4657 MCDONALD CT                                                                                       BRIGHTON            MI 48116‐4721
MICHAEL ADKINS            8085 ORCHARDVIEW DR                                                                                    WASHINGTON          MI 48095‐1396
MICHAEL ADKINS            651 MARWAY NW                                                                                          COMSTOCK PARK       MI 49321‐9719
MICHAEL ADKINS            145 W COLUMBIA AVE                                                                                     PONTIAC             MI 48340‐1811
MICHAEL ADKINS            412 WESTBROOK                                                                                          WHITMORE LAKE       MI 48189‐8211
MICHAEL ADKINS            14303 W DIANE DR                                                                                       CAMDEN              MI 49232‐9550
MICHAEL ADLER
MICHAEL ADOLPH            PO BOX 228                                                                                             LENNON             MI   48449‐0228
MICHAEL ADRIAN            7086 DOVE LN                                                                                           DIMONDALE          MI   48821‐8748
MICHAEL AGNONE            18 HANNAH LEE RD                                                                                       BARNEGAT           NJ   08005‐1511
MICHAEL AGUILAR           8074 OHERN RD                                                                                          SAGINAW            MI   48609‐5113
MICHAEL AHA               AVENUE DE L'AULNE 93            BRUSSELS                   B‐1180 BELGIUM
MICHAEL AHA               AVENUE DE L'AULNE 93                                                         B‐1180 BRUSSELS BELGIUM
MICHAEL AHEARN            7 LOG CABIN LN                                                                                         WATERBORO          ME   04087‐3610
MICHAEL AHLBORN           5606 WAYNE TRCE                                                                                        FORT WAYNE         IN   46806‐2770
MICHAEL AHN               31661 BOBRICH ST                                                                                       LIVONIA            MI   48152‐4309
MICHAEL AIVAZIS           10 SPRING CREEK HOLW NE                                                                                WARREN             OH   44484‐1760
MICHAEL AKIN              635 BARRY RD                                                                                           HASLETT            MI   48840‐9120
MICHAEL ALAN BURKHOLDER   NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                             DAINGERFIELD       TX   75638
MICHAEL ALBANO            PO BOX 9022                                                                                            WARREN             MI   48090‐9022
MICHAEL ALBERTSON         2335 N WILLIAMSTON RD                                                                                  WILLIAMSTON        MI   48895‐9748
MICHAEL ALBRECHT          2086 PARADISE DR                                                                                       LEWISBURG          TN   37091‐4534
MICHAEL ALBRECHT          4526 16 MILE RD NE                                                                                     CEDAR SPRINGS      MI   49319‐9406
MICHAEL ALCHIN            7480 W BEARD RD                                                                                        PERRY              MI   48872‐8145
MICHAEL ALDRICH           PO BOX 72                       P.O. BOX 72                                                            VERNON             MI   48476‐0072
MICHAEL ALDRICH           1702 POLLY ADAMS RD                                                                                    BELFAST            TN   37019‐2033
MICHAEL ALDRIDGE          301 NETTLECARRIER LN                                                                                   MONROE             TN   38573‐6114
MICHAEL ALDRIDGE          460 E HIGHLAND ST                                                                                      MARTINSVILLE       IN   46151‐1128
MICHAEL ALDRIDGE          10166 SEABROOK AVE                                                                                     ENGLEWOOD          FL   34224‐7702
MICHAEL ALESI             6391 S MAIN ST                                                                                         CLARKSTON          MI   48346‐2368
MICHAEL ALEXANDER         7782 CRICKLEWOOD DR                                                                                    TALLAHASSEE        FL   32312‐6785
MICHAEL ALEXANDER         167 RANDY SMITH DR                                                                                     SPRINGVILLE        IN   47462‐5104
MICHAEL ALEXANDER         930 N A ST                                                                                             ELWOOD             IN   46036‐1569
MICHAEL ALEXANDER         14806 W ANTELOPE DR                                                                                    SUN CITY WEST      AZ   85375‐5738
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Name                          Address1                         Address2            Address3         Address4                City                 State Zip
MICHAEL ALEXANDER             501 4TH ST                                                                                    ALBANY                WI 53502‐9402
MICHAEL ALEXANDER JR          7365 CRYSTAL LAKE DR APT 4                                                                    SWARTZ CREEK          MI 48473‐8951
MICHAEL ALFONSI               20507 ALEXANDER ST                                                                            SAINT CLAIR SHORES    MI 48081‐1785
MICHAEL ALKEMA                155 CENTENNIAL AVE NW                                                                         GRAND RAPIDS          MI 49504‐5923
MICHAEL ALLAN                 16420 STAGES IS                                                                               FENTON                MI 48430‐9102
MICHAEL ALLARD                8908 HIGHWAY Y                                                                                CALEDONIA             WI 53108
MICHAEL ALLEN                 8527 NEFF RD                                                                                  MOUNT MORRIS          MI 48458‐1009
MICHAEL ALLEN                 5774 KNOLL CT                                                                                 SAGINAW               MI 48603‐1607
MICHAEL ALLEN                 2670 SCOTT RD                                                                                 MOSCOW MILLS          MO 63362‐2300
MICHAEL ALLEN                 8374 ELKRUN DR                                                                                CLARKSTON             MI 48348‐2863
MICHAEL ALLEN                 6488 FOX HILLS RD                                                                             CANTON                MI 48187‐2459
MICHAEL ALLEN                 47148 N POINTE DR                                                                             CANTON                MI 48187‐1443
MICHAEL ALLEN                 311 W MAIN ST                                                                                 DEWITT                MI 48820‐8950
MICHAEL ALLEN PEARCY          8604 W PIN OAK DR                                                                             PENDLETON             IN 46064‐8799
MICHAEL ALLEY                 330 E WILLIAMS ST                                                                             CARDINGTON            OH 43315‐1151
MICHAEL ALLEY                 6857 GREENVIEW AVE                                                                            DETROIT               MI 48228‐5400
MICHAEL ALLISON               27256 WYATT AVE                                                                               BROWNSTOWN TWP        MI 48183‐4855
MICHAEL ALLISON               9550 PRINGLE BENJAMIN RD                                                                      LONDON                OH 43140‐8872
MICHAEL ALLMAN                406 SHANDELL DR                                                                               BEDFORD               IN 47421‐9656
MICHAEL ALLOCCO               420 ROSEWOOD LN                                                                               HARRISBURG            PA 17111‐2066
MICHAEL ALLOS                 25 W CORNELL AVE                                                                              PONTIAC               MI 48340‐2717
MICHAEL ALLOWAY               711 HURON ST                                                                                  FLINT                 MI 48507‐2550
MICHAEL ALMAZAN               5230 COOLEY LAKE RD                                                                           WATERFORD             MI 48327‐2817
MICHAEL ALSGAARD              10901 ROEDEL RD                                                                               FRANKENMUTH           MI 48734‐9139
MICHAEL ALSTON                3130 MALLERY ST                                                                               FLINT                 MI 48504‐2928
MICHAEL ALTMAN                1333 ST RT 42                                                                                 ASHLAND               OH 44805
MICHAEL ALUKAS                2525 RIVIERA ST                                                                               RENO                  NV 89509‐1198
MICHAEL ALVARADO              PO BOX 301241                                                                                 ARLINGTON             TX 76007‐1241
MICHAEL AMAREL                PO BOX 764                                                                                    MASSENA               NY 13662‐0764
MICHAEL AMATO                 60 LAKE WOBEGON DR                                                                            CANFIELD              OH 44406‐7642
MICHAEL AMATUZZO              817 E MAIN ST                                                                                 GREENTOWN             IN 46936‐1310
MICHAEL AMBORSKI              22 DOUCETTE ST                                                                                WEST SENECA           NY 14224‐4814
MICHAEL AMERSON               8255 WOODS EDGE                                                                               WHITE LAKE            MI 48386‐3571
MICHAEL AMES                  1158 PARKLAND RD                                                                              LAKE ORION            MI 48360‐2808
MICHAEL AMOROSO               39339 LAKESHORE DR                                                                            HARRISON TWP          MI 48045‐1861
MICHAEL AMOS                  12 NORMA PL.                     BUFFALO             NEW YORK         14214                   BUFFALO               NY 14214
MICHAEL AMSDEN                447 SAMOA CIR                                                                                 UNION CITY            CA 94587‐4118
MICHAEL ANALLA                6997 S CARMEL DR                                                                              FRANKLIN              WI 53132‐8694
MICHAEL ANAPLE                74425 GOULD RD                                                                                BRUCE TWP             MI 48065‐3177
MICHAEL ANATRA                735 N HENRY ST                                                                                CRESTLINE             OH 44827‐1036
MICHAEL AND ANGELIKA KLEIN    ALSENSTR 23                                                           D‐58097 HAGEN GERMANY
MICHAEL AND DIANA SCHURR      2020 S EASTERN LANE                                                                           SPOKANE              WA   99212
MICHAEL AND EVA RIZZI         6 LISA DR                                                                                     DEER PARK            NY   11729
MICHAEL AND JOYCE RIENZO      6230 PETALUMA DRIVE                                                                           BOCA RATON           FL   33433
MICHAEL AND LUCY CASTELLANO   345 MEADOWLARK CT                                                                             MARCO ISLAND         FL   34145
MICHAEL AND MARY LANG         16 CHELTEN RISE                                                                               FAIRPORT             NY   14450
MICHAEL ANDALORA              306 GROVEVIEW LN                                                                              SENECA               SC   29672
MICHAEL ANDERS                701 MARGARET ST                                                                               CORUNNA              MI   48817‐1021
MICHAEL ANDERSON              13795 GRASS LAKE RD                                                                           GRASS LAKE           MI   49240‐9737
MICHAEL ANDERSON              11628 E LENNON RD                                                                             LENNON               MI   48449‐9627
MICHAEL ANDERSON              5109 N JENNINGS RD                                                                            FLINT                MI   48504‐1115
MICHAEL ANDERSON              4570 CLINTON DR                                                                               CLARKSTON            MI   48346‐3700
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Name                          Address1                       Address2               Address3      Address4         City                  State Zip
MICHAEL ANDERSON              57 LENI LN                                                                           CHEEKTOWAGA            NY 14225‐4419
MICHAEL ANDERSON              PO BOX 2011                                                                          COLUMBIA               TN 38402‐2011
MICHAEL ANDERSON              435 HIRAM ST                                                                         LAKE ORION             MI 48360‐2212
MICHAEL ANDERSON              6224 S STINE RD                                                                      OLIVET                 MI 49076‐9657
MICHAEL ANDERSON              11615 N NELSON ST                                                                    MILTON                 WI 53563‐9187
MICHAEL ANDERSON              310 CROSBY DR                                                                        OKLAHOMA CITY          OK 73115‐2902
MICHAEL ANDERSON              444 AMBOY ST                                                                         DEARBORN HTS           MI 48127‐3600
MICHAEL ANDERSON              5340 BENTLEY RD APT 102                                                              WEST BLOOMFIELD        MI 48322‐2186
MICHAEL ANDERSON              8782 S SHORE DR                                                                      CLARKSTON              MI 48348‐2678
MICHAEL ANDERSON              48609 QUAIL RUN DR S                                                                 PLYMOUTH               MI 48170‐5719
MICHAEL ANDERSON              944 WINDSHIRE CT SE                                                                  GRAND RAPIDS           MI 49546‐3693
MICHAEL ANDERSON              633 LOCKMOORE CT                                                                     ROCHESTER HILLS        MI 48307‐4229
MICHAEL ANDERSON              2551 LA PLATA DR                                                                     KETTERING              OH 45420‐1153
MICHAEL ANDERSON              5626 W US HIGHWAY 36                                                                 URBANA                 OH 43078‐8615
MICHAEL ANDERSON              2028 MELVIN CT                                                                       LANSING                MI 48917‐1802
MICHAEL ANDERSON              236 BARROW ST                                                                        PEARL                  MS 39208‐5014
MICHAEL ANDERSON              340 S GLEANER RD                                                                     SAGINAW                MI 48609‐9603
MICHAEL ANDERSON              2323 W COUNTY ROAD 1000 N                                                            MUNCIE                 IN 47303‐9745
MICHAEL ANDERSON              2052 CHELAN ST                                                                       FLINT                  MI 48503‐4312
MICHAEL ANDERSON              9166 MCWAIN RD                                                                       GRAND BLANC            MI 48439‐8005
MICHAEL ANDERSON              7675 CRESTROSE DR                                                                    MANCELONA              MI 49659‐9683
MICHAEL ANDERSON              4471 N GALE RD                                                                       DAVISON                MI 48423‐8953
MICHAEL ANDERSON SR.          19801 OLD YORK RD                                                                    WHITE HALL             MD 21161‐9014
MICHAEL ANDRADA               830 2ND ST                                                                           FENTON                 MI 48430‐4112
MICHAEL ANDRES                4881 CHESANING RD                                                                    CHESANING              MI 48616‐8424
MICHAEL ANDREWS               58 LEXINGTON AVE 2ND FLOOR                                                           MAPLEWOOD              NJ 07040
MICHAEL ANDREWS               6739 PAYNE RD                                                                        PORTLAND               TN 37148‐8433
MICHAEL ANDREWS               250 FREEMAN DR                                                                       LEWISBURG              TN 37091‐3005
MICHAEL ANDREZIK              296 UNION AVE                                                                        OAKDALE                PA 15071
MICHAEL ANDRING               435 CHALMERS ST                                                                      DETROIT                MI 48215‐3163
MICHAEL ANDRITSCH             1405 EAST ST                                                                         N MANCHESTER           IN 46962‐1011
MICHAEL ANGELETTI             916 WOODHILL CT                                                                      BRUNSWICK              OH 44212‐2273
MICHAEL ANGELICO              52 PENNWOOD DR APT D                                                                 ROCHESTER              NY 14625‐2527
MICHAEL ANGERS                1422 BRIARSON DR                                                                     SAGINAW                MI 48638‐5473
MICHAEL ANKER                 1729 WREN WAY                                                                        NICEVILLE              FL 32578‐7103
MICHAEL ANNABLE               MICHAEL ANNABLE                5330 US HIGHWAY 98 N                                  LAKELAND               FL 33809‐0517
MICHAEL ANNUNZIATO            50 FREDERICK RD                                                                      TONAWANDA              NY 14150‐4215
MICHAEL ANSBERRY              115 TUCK ST                                                                          MORGANTOWN             KY 42261‐8807
MICHAEL ANSTETH               106 TANNENBAUM CT                                                                    MOORESVILLE            NC 28117‐6609
MICHAEL ANTHONY               9619 BLACKSTONE CT                                                                   LEO                    IN 46765‐9694
MICHAEL ANTHONY               4713 CHATEAU FOREST WAY                                                              HOSCHTON               GA 30548
MICHAEL ANTHONY STEINBRUGGE   2022 W. BATAAN DRIVE                                                                 KETTERING              OH 45420‐3648
MICHAEL ANTON                 7945 STANDISH RD                                                                     BENTLEY                MI 48613‐9609
MICHAEL ANTONIO               65 ANTONIO LN                                                                        WARWICK                MD 21912‐1247
MICHAEL ANTOS                 14730 COTTONWOOD CT                                                                  WASHINGTON TOWNSHIP    MI 48094‐3238
MICHAEL ANZALONE              130 MOORE AVE                                                                        BUFFALO                NY 14223‐1553
MICHAEL ANZALONE DC           5449 SOUTHWESTERN BLVD                                                               HAMBURG                NY 14075‐3503
MICHAEL APOSTOL               10381 POLLARD RD                                                                     HASLETT                MI 48840‐9228
MICHAEL APP                   5033 E ALLISON RD                                                                    CAMBY                  IN 46113‐8412
MICHAEL APPEL                 816 FAGLEY ST                                                                        BALTIMORE              MD 21224‐4323
MICHAEL APPLEBEE              5260 TOWNLINE RD                                                                     BIRCH RUN              MI 48415‐9005
MICHAEL APPLEGATE             1056 BECKY DR                                                                        MANSFIELD              OH 44905‐2328
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Name                    Address1                       Address2            Address3         Address4         City            State Zip
MICHAEL APPLETON        5892 LEHMAN DR                                                                       BEDFORD HTS      OH 44146‐3129
MICHAEL ARBERTHA        4385 WESTMONT DR                                                                     SHEFFIELD VLG    OH 44054‐2975
MICHAEL ARBOUR          5308 LEIX RD                                                                         MAYVILLE         MI 48744‐9403
MICHAEL ARBUTINA        24452 MISTWOOD CT                                                                    LUTZ             FL 33559‐7908
MICHAEL ARBUTINA        4076 STATE ROUTE 546                                                                 LEXINGTON        OH 44904‐9769
MICHAEL ARCURI          304 RIDGEWAY DR                                                                      GREENWOOD        MO 64034‐9670
MICHAEL ARDIZZONE
MICHAEL AREDYAN         24701 HARMON ST                                                                      ST CLAIR SHRS   MI   48080‐1014
MICHAEL AREGANO         5873 GILLETTE RD                                                                     CICERO          NY   13039‐9589
MICHAEL ARELLANO        2084 GRANDVIEW RD                                                                    LAKE MILTON     OH   44429‐9757
MICHAEL ARELLANO        9525 KRISTEN DR                                                                      OTISVILLE       MI   48463‐9491
MICHAEL ARENS           PO BOX 385                                                                           FOWLER          MI   48835‐0385
MICHAEL ARIZOLA         9203 E 36TH ST                                                                       NEWAYGO         MI   49337‐9524
MICHAEL ARLINGHAUS      11723 SCHMIDT LN                                                                     WALTON          KY   41094‐9598
MICHAEL ARMENTROUT      1761 HEATHERDOWNS BLVD                                                               TOLEDO          OH   43614‐3935
MICHAEL ARMES           1713 E 45TH ST                                                                       ANDERSON        IN   46013‐2523
MICHAEL ARMSTRONG       23808 VALENCOURT RD                                                                  COPEMISH        MI   49625‐9719
MICHAEL ARMSTRONG       1744 S CLINTON ST                                                                    DEFIANCE        OH   43512‐3220
MICHAEL ARMSTRONG       1209 N DEWEY ST                                                                      AUBURN          IN   46706‐9461
MICHAEL ARMSTRONG SR.
MICHAEL ARNESON         1020 SUMMERHILL DR                                                                   JANESVILLE      WI   53546‐3727
MICHAEL ARNETT          4049 OTTER LAKE RD                                                                   OTTER LAKE      MI   48464‐9681
MICHAEL ARNETT          31093 LAKEVIEW BLVD APT 4108                                                         WIXOM           MI   48393‐2855
MICHAEL ARNETT          5508 WACO AVE                                                                        DAYTON          OH   45449‐2761
MICHAEL ARNOLD          8013 HUNTERS CV                                                                      BOARDMAN        OH   44512‐8115
MICHAEL ARNOLD          115 N SHEPPARD DR                                                                    EULESS          TX   76039‐3570
MICHAEL ARNOLD          PO BOX 4310                                                                          AUSTINTOWN      OH   44515‐0310
MICHAEL ARNOLD          9101 MARSHALL RD                                                                     BIRCH RUN       MI   48415‐8729
MICHAEL ARNOLD
MICHAEL ARNST           10000 RIDGEWOOD DR #306‐1                                                            PARMA           OH   44130
MICHAEL ARNTZ           1838 ENFIELD DR                                                                      HOLT            MI   48842‐1535
MICHAEL AROLA           8342 LAWRENCE AVE                                                                    YPSILANTI       MI   48197‐9331
MICHAEL ARSICH          6040 BENTWOOD CIR E                                                                  WHITE LAKE      MI   48383‐1082
MICHAEL ARTHUR          22 JAWOL DR                                                                          CHARLESTON      SC   29414‐6807
MICHAEL ARTZ            3090 BENHAM RD                                                                       TIPP CITY       OH   45371‐9460
MICHAEL ARUCK           PO BOX 161                                                                           SHORTSVILLE     NY   14548‐0161
MICHAEL ARVANEH         1399 KINGS POINTE RD                                                                 GRAND BLANC     MI   48439‐8618
MICHAEL ARVIN           143 36TH ST SE                                                                       LARGO           FL   33771‐2509
MICHAEL ARY             11713 NW 34TH AVE                                                                    VANCOUVER       WA   98685‐3573
MICHAEL ASBERRY         763 GREENLAWN AVE                                                                    DAYTON          OH   45403‐3331
MICHAEL ASBURY          3420 HICKORY HILL TRL                                                                FORT WAYNE      IN   46804‐6087
MICHAEL ASHBY           7416 LOVERS LN                                                                       PORTAGE         MI   49002‐4436
MICHAEL ASHBY           305 S MAIN ST                                                                        PENDLETON       IN   46064‐1138
MICHAEL ASHBY           PO BOX 612                                                                           BLANCHARD       LA   71009‐0612
MICHAEL ASHER           PO BOX 225                                                                           COLEMAN         MI   48618‐0225
MICHAEL ASHLEY          12 MIDDLEBURY AVE                                                                    MASSENA         NY   13662‐2518
MICHAEL ASHLEY          1106 TURNER ST                                                                       DEWITT          MI   48820‐8116
MICHAEL ASHLEY          5181 N FOX RD                                                                        SANFORD         MI   48657‐9114
MICHAEL ASHLEY          316 GARNER DR                                                                        MOGADORE        OH   44260‐1555
MICHAEL ASHLEY          1226 LYNNWOOD DR                                                                     ANDERSON        IN   46012‐4491
MICHAEL ASHURST         1201 BROWNBERRY DRIVE          APPT#A                                                WILMINGTON      OH   45177
MICHAEL ASP             5458 LITCHFIELD DR                                                                   FLINT           MI   48532‐4039
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MICHAEL AST            625 N WRIGHT RD                                                                                JANESVILLE      WI 53546‐1957
MICHAEL ASTUCCIO       PO BOX 678                                                                                     CHOCTAW         OK 73020‐0678
MICHAEL ATALICK        3835 ELEVENTH ST                RR 3                                 ST CATHARINES ON L2R6P9
                                                                                            CANADA
MICHAEL ATCHISON       6276 GUNNELL RD                                                                                MILLINGTON     MI   48746‐9720
MICHAEL ATCHISON       628 S LEATHERWOOD RD                                                                           BEDFORD        IN   47421‐8851
MICHAEL ATKIN          22 KEARSLEY ST                                                                                 ORTONVILLE     MI   48462‐8602
MICHAEL ATKINS         1026 VILLA PARK DR                                                                             TROY           MI   48085‐1339
MICHAEL ATKINS         5101 S WALNUT ST                                                                               MUNCIE         IN   47302‐8770
MICHAEL ATKINSON       15533 INGLESIDE AVE                                                                            DOLTON         IL   60419‐2759
MICHAEL AUBE           2152 W NICHOLSON HILL RD                                                                       OSSINEKE       MI   49766‐9516
MICHAEL AUDLEMAN       4975 GREENWOOD HEIGHTS ST                                                                      GREENWOOD      LA   71033‐2311
MICHAEL AUER           1214 GWINN LN                                                                                  LAPEL          IN   46051‐9790
MICHAEL AUGER          1695 LACLAFF AVE                                                                               LAPEER         MI   48446‐8387
MICHAEL AUGUSTA        37398 EUCLID AVE                                                                               WILLOUGHBY     OH   44094‐5618
MICHAEL AUKER          227 INGLEWOOD CT                                                                               LINDEN         MI   48451‐8952
MICHAEL AUKERMAN       12814 SHENANDOAH TRL                                                                           PLAINFIELD     IL   60585‐4700
MICHAEL AUNGST         10151 W HOWE RD                                                                                EAGLE          MI   48822‐9740
MICHAEL AURILIO        233 SUMMIT AVE                                                                                 NILES          OH   44446‐3633
MICHAEL AUSTIN         203 JULIE DR                                                                                   LANSING        MI   48906‐1977
MICHAEL AUSTIN         3321 DUBLIN DR                                                                                 DECATUR        GA   30032‐7116
MICHAEL AUSTIN         PO BOX 11                                                                                      VERMONTVILLE   MI   49096‐0011
MICHAEL AUSTIN         16434 WHITEHEAD DR                                                                             LINDEN         MI   48451‐8776
MICHAEL AUTEN          7645 E Y AVE                                                                                   VICKSBURG      MI   49097‐9539
MICHAEL AVERILL        PO BOX 783                                                                                     CAVE CITY      AR   72521‐0783
MICHAEL AVERY          1141 CORNELIA ST                                                                               SAGINAW        MI   48601‐2332
MICHAEL AVEY           4405 BERKSHIRE RD                                                                              INDIANAPOLIS   IN   46226‐3184
MICHAEL AWAD           3043 N GLENWAY DR                                                                              BAY CITY       MI   48706‐2313
MICHAEL AXFORD         MICHAEL AXFORD                  8245 ENFIELD PL     YES              WINDSOR ON N8S 4N2
                                                                                            CANADA
MICHAEL AYERS          1124 N CHALLENGE RD                                                                            MUNCIE         IN   47304‐5012
MICHAEL AYERS          2325 GRAND BLVD                                                                                MONROE         MI   48162‐4920
MICHAEL AYRIS          2175 E BLANCHARD RD                                                                            SHEPHERD       MI   48883‐9557
MICHAEL AZELTON        6290 SCOTT RD                                                                                  MOUNT MORRIS   MI   48458‐9725
MICHAEL AZZOPARDI      25915 COLERIDGE ST                                                                             HARRISON TWP   MI   48045‐3429
MICHAEL B ALLEN        740 LILA AVENUE                 APT # 1                                                        MILFORD        OH   45150
MICHAEL B BELL         1850 DELPHINE DR                                                                               DECATUR        GA   30032‐3927
MICHAEL B CHAMBERLIN   6209 JESSICA CT                                                                                MIDDLETOWN     OH   45044
MICHAEL B COPELAND     1033 HIGHLAND CREST CIR                                                                        LAKE WALES     FL   33853
MICHAEL B COTTAGE      2701 INTERNATIONAL DR           APT 1627A                                                      YPSILANTI      MI   48197‐1324
MICHAEL B COVINGTON    6409 WEDGEWOOD DR                                                                              SYLVANIA       OH   43560‐3346
MICHAEL B DENNISON     931 S PALOMAR DR                                                                               PUEBLO         CO   81007
MICHAEL B FASE         2980 STONEY CREEK CT                                                                           HUDSONVILLE    MI   49426‐8777
MICHAEL B FISCUS       27 VILLAGE PARK DR                                                                             GROVE CITY     PA   16127
MICHAEL B FRANKLIN     PO BOX 2458                                                                                    DETROIT        MI   48202‐0458
MICHAEL B FRANKLIN     PO BOX 2554                                                                                    DETROIT        MI   48202‐0554
MICHAEL B GRIFFIN      7481 MOHAWK TRAIL                                                                              DAYTON         OH   45459
MICHAEL B HAGEMAN      11126 PANSING ROAD                                                                             BROOKVILLE     OH   45309‐9640
MICHAEL B HUBBARD      5425 DAVID DR.                                                                                 TIPP CITY      OH   45371
MICHAEL B JACOBS       204 IROQUOIS AVE                                                                               PRUDENVILLE    MI   48651‐9707
MICHAEL B JONES        367 A FRANKLIN ST. BOX 794                                                                     WAYNESVILLE    OH   45068‐0794
MICHAEL B JOSEPH       PO BOX 660                                                                                     MEMPHIS        TN   38101‐0660
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Name                                 Address1                         Address2                       Address3   Address4         City               State Zip
MICHAEL B LAMBERT                    PO BOX 305                                                                                  BAY CITY            MI 48707‐0305
MICHAEL B LOMBARD                    39 UTAH CT.                                                                                 DAYTON              OH 45410‐2003
MICHAEL B MATEVIA                    9831 JULIE DR                                                                               YPSILANTI           MI 48197‐7091
MICHAEL B MCCLARTY                   C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                  HOUSTON             TX 77007
                                     BOUNDAS LLP
MICHAEL B MCHALE                     5405 HAMMERSMITH DR                                                                         W BLOOMFIELD       MI   48322‐1454
MICHAEL B MONTGOMERY                 109 MITCHELL AVE                                                                            MATTYDALE          NY   13211‐1737
MICHAEL B NOVIC                      31825 SANKUER                                                                               WARREN             MI   48093‐7634
MICHAEL B PROWANT                    301 W RICE ST                                                                               CONTINENTAL        OH   45831‐9042
MICHAEL B ROSS                       3376 WOODRIDGE DR                                                                           FLUSHING           MI   48433‐1791
MICHAEL B RUBIN                      PO BOX 228                                                                                  PARADISE           MI   49768‐0228
MICHAEL B SHEPARD                    915 SHARON AVE                                                                              COLLINGDALE        PA   19023
MICHAEL B WALKER                     23205 GRATIOT AVE #178                                                                      EASTPOINTE         MI   48021
MICHAEL B WALKER                     32035 VAN DYKE ROOM 322                                                                     WARREN             MI   48093
MICHAEL B WILSON                     1711 MIAMI AVE                                                                              FAIRBORN           OH   45324‐3011
MICHAEL B WILSON                     130 NORTH 2ND ST APT 4                                                                      FAIRBORN           OH   45324
MICHAEL B WOODS                      416 NEAL LANE                                                                               UNION              OH   45322‐3046
MICHAEL B ZEEK                       WEITZ & LUXENBERG PC             700 BROADWAY                                               NEW YORK CITY      NY   10003
MICHAEL B. ARY
MICHAEL B. PEGUES                    3301 SUNRISE ST                                                                             MEMPHIS            TN 38127‐1439
MICHAEL B. PHELPS                    1113 COPPER STONE CIR                                                                       CHESAPEAKE         VA 23320‐8278
MICHAEL B. SERLING, PC               RUSSELL R. BEAUDOEN              280 NORTH OLD WOODWARD AVE.,                               BIRMINGHAM         MI 48009
                                                                      STE. 406
MICHAEL BAAB                         540 KATHYS WAY                                                                              XENIA              OH   45385‐4882
MICHAEL BAATTAI                      101 CHINKAPIN RILL                                                                          FENTON             MI   48430‐8781
MICHAEL BABCOCK                      5856 KEENEY DR                                                                              SIX LAKES          MI   48886‐9783
MICHAEL BABER                        6846 OLIVER RD                                                                              FOSTORIA           MI   48435‐9643
MICHAEL BACCHETTA                    11304 REGAL DR                                                                              STERLING HEIGHTS   MI   48313‐4976
MICHAEL BACH                         PO BOX 278                                                                                  PRINCETON          TX   75407‐0278
MICHAEL BACHAUS                      2728 E PLEASANT RD                                                                          MILTON             WI   53563‐9471
MICHAEL BACHLEDA                     15264 MEYER AVE                                                                             ALLEN PARK         MI   48101‐2683
MICHAEL BACZEWSKI                    15344 THERESA CT                                                                            CLINTON TOWNSHIP   MI   48038‐4177
MICHAEL BADEN                        269 TERRY SCOTT RD                                                                          AUSTIN             KY   42123‐9735
MICHAEL BADER                        3365 COLUMBIANA RD                                                                          NEW SPRINGFLD      OH   44443‐9718
MICHAEL BADER                        892 OAKNOLL DR                                                                              SPRINGBORO         OH   45066‐9272
MICHAEL BADGLEY                      238 SOUTH ST                                                                                CHESTERFIELD       IN   46017‐1728
MICHAEL BADIA                        7449 N INKSTER RD                                                                           WESTLAND           MI   48185‐2679
MICHAEL BADILA                       PO BOX 386                                                                                  MC DONALD          OH   44437‐0386
MICHAEL BADOUR                       685 KNODT RD                                                                                ESSEXVILLE         MI   48732‐9785
MICHAEL BAEUMLER                     239 CRANDON BOULEVARD                                                                       BUFFALO            NY   14225‐3735
MICHAEL BAGAGLIA                     1318 WILSON SHARPSVILLE RD                                                                  CORTLAND           OH   44410‐9383
MICHAEL BAGDASSIAN                   929 RUSSET ST                                                                               RACINE             WI   53405‐2361
MICHAEL BAGWELL                      210 KATHLEEN CT                                                                             CLARKSVILLE        TN   37043‐6240
MICHAEL BAHIA CUST FOR CRAIG BAHIA   36 OLD STAGE ROAD                                                                           CHELMSFORD         MA   01824
UTMA/MA
MICHAEL BAHRIE                       6810 S CEDAR ST STE 2C                                                                      LANSING            MI   48911
MICHAEL BAHUN                        2150 BELLOAK DR                                                                             KETTERING          OH   45440‐2004
MICHAEL BAILEY                       5525 COLYERS DR                                                                             ROCHESTER          MI   48306‐2631
MICHAEL BAILEY                       6806 DONALDSON DR                                                                           TROY               MI   48085‐1553
MICHAEL BAILEY                       1051 KIMBALL AVE                                                                            KANSAS CITY        KS   66104‐5268
MICHAEL BAILEY                       1134 11TH ST                                                                                BELOIT             WI   53511‐4317
MICHAEL BAILEY                       400 LAVISTA DR                                                                              BLUE RIDGE         GA   30513‐2820
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Name                        Address1                      Address2            Address3         Address4         City             State Zip
MICHAEL BAILEY              11393 HARBOR GROVE DR                                                               FENTON            MI 48430
MICHAEL BAILEY              5991 AXIS DR                                                                        SPARKS            NV 89436‐7144
MICHAEL BAILEY              4144 NW 36TH ST               APT B                                                 OKLAHOMA CITY     OK 73112‐2920
MICHAEL BAILEY              2943 GATEWAY DR                                                                     HAMILTON          OH 45011‐2016
MICHAEL BAILEY              106 S PLEASANT VALLEY RD                                                            MILFORD           MI 48380‐2613
MICHAEL BAILEY              U231 COUNTY ROAD 4                                                                  LIBERTY CENTER    OH 43532‐9574
MICHAEL BAIN                8850 N ORR RD                                                                       FREELAND          MI 48623‐9508
MICHAEL BAIR                12409 E 33RD ST S                                                                   INDEPENDENCE      MO 64055‐2316
MICHAEL BAIRD               315 E ELIZABETH ST                                                                  ALMA              MI 48801‐2737
MICHAEL BAITINGER           13761 SUNFIELD HWY # 1                                                              LAKE ODESSA       MI 48849
MICHAEL BAJZER              PO BOX 9022                   C/O GM RAYONG                                         WARREN            MI 48090‐9022
MICHAEL BAKER               2682 N LAKEVIEW DR                                                                  SANFORD           MI 48657‐9547
MICHAEL BAKER               6556 DUNN RD                                                                        HOWELL            MI 48855‐9064
MICHAEL BAKER               1146 E OOLITIC RD                                                                   BEDFORD           IN 47421‐8622
MICHAEL BAKER               433 I ST                                                                            BEDFORD           IN 47421‐2215
MICHAEL BAKER               4110 TALL OAKS DR                                                                   GRAND LEDGE       MI 48837‐8143
MICHAEL BAKER               12 WINDSOR ACRES                                                                    WINDSOR           PA 17366‐9707
MICHAEL BAKER               717 PEACH ORCHARD DR                                                                W CARROLLTON      OH 45449‐1628
MICHAEL BAKER               PO BOX 4162                                                                         INDEPENDENCE      MO 64051‐4162
MICHAEL BAKER               4818 FARMER JOHN LN                                                                 STOCKBRIDGE       MI 49285‐9608
MICHAEL BAKER               11539 SW 71ST CIR                                                                   OCALA             FL 34476‐9482
MICHAEL BAKER               1699 HORTON LAKE RD                                                                 LAPEER            MI 48446‐7504
MICHAEL BAKER               6090 JOHNSON RD                                                                     FLUSHING          MI 48433‐1106
MICHAEL BAKER               PO BOX 19670                                                                        KALAMAZOO         MI 49019‐0670
MICHAEL BAKER               N4605 OAK GROVE RD                                                                  TONY              WI 54563‐9627
MICHAEL BAKER               225 WHITES STATION RD                                                               SEYMOUR           IN 47274‐8619
MICHAEL BAKER               2889 16TH AVE                                                                       HUDSONVILLE       MI 49426‐9635
MICHAEL BAKER               2912 TANGLEWOOD DR                                                                  WAYNE             MI 48184‐2815
MICHAEL BAKER               2135 CLEARVIEW DR                                                                   BELLBROOK         OH 45305
MICHAEL BAKER CORPORATION   AMY SNIDER                    PO BOX 12259                                          PITTSBURGH        PA 15231‐0259
MICHAEL BAKOS               5405 ROBIN DR                                                                       GRAND BLANC       MI 48439‐7925
MICHAEL BALASH JR           11217 RUSSELL AVE                                                                   PLYMOUTH          MI 48170‐4480
MICHAEL BALCH               2184 BURNSIDE RD                                                                    NORTH BRANCH      MI 48461‐9630
MICHAEL BALDAROTTA          5196 WALKABOUT LN                                                                   SWARTZ CREEK      MI 48473‐9473
MICHAEL BALDWIN             206 SYCAMORE DR                                                                     BEDFORD           IN 47421‐3402
MICHAEL BALDWIN             350 INDEPENDENCE DR                                                                 DAVISON           MI 48423‐2633
MICHAEL BALDWIN             2856 LANCASTER RD                                                                   MELBOURNE         FL 32935‐2427
MICHAEL BALDWIN             202 WOODLAND TRL                                                                    ANDERSON          IN 46016‐6805
MICHAEL BALDWIN             G5222 W COURT ST                                                                    FLINT             MI 48532
MICHAEL BALDYGA             6341 N CHARLESWORTH ST                                                              DEARBORN HTS      MI 48127‐3921
MICHAEL BALICKI             3115 MORAINE DR                                                                     BRIGHTON          MI 48114‐9223
MICHAEL BALKWELL            3071 WEST OREGON ROAD                                                               LAPEER            MI 48446‐7738
MICHAEL BALL                8076 BAMM HOLLOW RD                                                                 CLAY              NY 13041‐9133
MICHAEL BALL                8900 W COUNTY ROAD 300 N                                                            MUNCIE            IN 47304‐9537
MICHAEL BALL                355 W 150 N                                                                         COLUMBIA CITY     IN 46725‐9501
MICHAEL BALL                5210 S NORTH COUNTRY DR                                                             LAKE CITY         MI 49651‐9600
MICHAEL BALL                4350 BRADFORD DR                                                                    SAGINAW           MI 48603‐3048
MICHAEL BALL                47324 VALLEY FORGE DR                                                               MACOMB            MI 48044‐4844
MICHAEL BALL                345 PINERIDGE LN                                                                    SANDUSKY          MI 48471‐1294
MICHAEL BALL                6175 BIRCH RUN RD                                                                   BIRCH RUN         MI 48415‐8743
MICHAEL BALL                228 HUNTERS CREEK RD                                                                METAMORA          MI 48455‐8503
MICHAEL BALL                1133 HARRIS ST                                                                      HUNTINGTON        IN 46750‐1629
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Name                 Address1                         Address2            Address3         Address4         City             State Zip
MICHAEL BALL         77 RIDGE RD                                                                            PITMAN            PA 17964
MICHAEL BALLARD      1439 WILES LN                                                                          LEWISBURG         TN 37091‐6628
MICHAEL BALLARD      2644 FREMBES RD                                                                        WATERFORD         MI 48329‐3613
MICHAEL BALLINGER    2719 LEBANON RD                                                                        LEBANON           OH 45036‐8796
MICHAEL BALLOR       2900 EVERGREEN DR                                                                      BAY CITY          MI 48706‐6315
MICHAEL BALLS        20 DELRAY ST                                                                           SAGINAW           MI 48601‐5210
MICHAEL BALLWEG      39025 UNIVERSITY DR                                                                    STERLING HTS      MI 48310‐2775
MICHAEL BALOGH       22541 ARDEN GLEN CT                                                                    NOVI              MI 48374‐3799
MICHAEL BALON        3655 GREEN MEADOW LN                                                                   ORION             MI 48359‐1493
MICHAEL BALSAMO      670 ANN ST APT 203                                                                     BIRMINGHAM        MI 48009‐3611
MICHAEL BALSAR       875 WYNNDY HILL RD                                                                     DADEVILLE         AL 36853
MICHAEL BANAR        33441 OPUS CT                                                                          STERLING HTS      MI 48312‐6733
MICHAEL BANAS        5092 BRADFORD CIR                                                                      BRIGHTON          MI 48114‐9027
MICHAEL BANASIAK     19 TROUT LAKE DR                                                                       EUSTIS            FL 32726‐7440
MICHAEL BANGERT      20 BROADCREST DR                                                                       FRANKLIN          OH 45005‐4596
MICHAEL BANGERT      521 ELM DR                                                                             FRANKLIN          OH 45005
MICHAEL BANHAJER     7948 HUGH ST                                                                           WESTLAND          MI 48185‐2510
MICHAEL BANISTER     22268 BRUSH LN                                                                         WARRENTON         MO 63383‐6339
MICHAEL BANKS        11241 FERNITZ RD                                                                       BYRON             MI 48418‐9558
MICHAEL BANNARN      2918 IDLEWOOD AVE                                                                      YOUNGSTOWN        OH 44511‐3134
MICHAEL BAPST        9864 TOTTENHAM AVE                                                                     CLARENCE          NY 14031‐2097
MICHAEL BARAJAS JR   1317 LAMSON ST                                                                         SAGINAW           MI 48601‐3455
MICHAEL BARAK        3829 S SCHENLEY AVE                                                                    YOUNGSTOWN        OH 44511‐3330
MICHAEL BARAN        14750 LAKESIDE CIR APT 110                                                             STERLING HTS      MI 48313‐1376
MICHAEL BARAN        4530 SEDUM GLN                                                                         WATERFORD         MI 48328‐1155
MICHAEL BARBATO JR   PO BOX 13209                                                                           WILMINGTON        DE 19850‐3209
MICHAEL BARBER       9197 N WEBSTER RD                                                                      CLIO              MI 48420‐8544
MICHAEL BARBER       38 WINDY LN                                                                            WILLIAMS          IN 47470‐9054
MICHAEL BARBER       10120 REID RD                                                                          SWARTZ CREEK      MI 48473‐8567
MICHAEL BARC         18509 WHALEN DR                                                                        CLINTON TWP       MI 48035‐5023
MICHAEL BARCAS       3348 S PARNELL AVE                                                                     CHICAGO            IL 60616‐3518
MICHAEL BARCELOW     701 WILDWOOD DR.                                                                       SARANAC           MI 48881
MICHAEL BARCZEWSKI   47974 BEN FRANKLIN DR                                                                  SHELBY TWP        MI 48315‐4122
MICHAEL BARD         136 CONDA LN                                                                           OXFORD            MI 48371‐4622
MICHAEL BARDEN       9500 TWIN LAKES DR                                                                     OTISVILLE         MI 48463‐9792
MICHAEL BARDONI      9496 MARSHALL RD                                                                       BIRCH RUN         MI 48415‐8562
MICHAEL BARGER       71 TWIN LAKES DR                                                                       FRANKLIN          OH 45005‐4500
MICHAEL BARILKA      59252 ROYAL OAK CT                                                                     WASHINGTON TWP    MI 48094‐3729
MICHAEL BARKER       3415 E HIGHTOWER TRL                                                                   CONYERS           GA 30012‐1938
MICHAEL BARKER       135 ORCHARD LN                                                                         KOKOMO            IN 46901‐5123
MICHAEL BARKER       47830 FREEDOM VALLEY DR                                                                MACOMB            MI 48044‐2594
MICHAEL BARKER       111 STRATTON CIR                                                                       ELKTON            MD 21921‐3608
MICHAEL BARKLEY      44 NIGHTENGALE AVE                                                                     MASSENA           NY 13662‐1715
MICHAEL BARKUME      14886 KARA LN                                                                          STERLING HTS      MI 48312‐5790
MICHAEL BARLOS       4950 MAGNOLIA AVENUE                                                                   SAINT LOUIS       MO 63139‐1026
MICHAEL BARLOW       1295 MOORMAN LN                                                                        BOWLING GREEN     KY 42101‐0778
MICHAEL BARNES       802 SIMON DR                                                                           CEDAR HILL        TX 75104‐7202
MICHAEL BARNES       9101 TUCKER RD                                                                         EATON RAPIDS      MI 48827‐9587
MICHAEL BARNES       5730 GRACE LN                                                                          ALMONT            MI 48003‐9659
MICHAEL BARNES       419 N OHIO AVE                                                                         FREMONT           OH 43420‐4119
MICHAEL BARNES       8190 WADDING DR                                                                        ONSTED            MI 49265‐9419
MICHAEL BARNES       10128 BURT RD                                                                          BIRCH RUN         MI 48415‐9339
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Name                    Address1                          Address2                 Address3            Address4         City               State Zip
MICHAEL BARNETT         PO BOX 272                                                                                      TRENTON             OH 45067‐0272
MICHAEL BARNETT         4765 WILMINGTON PIKE                                                                            KETTERING           OH 45440‐2020
MICHAEL BARNETT         15746 OTSEGO PIKE                                                                               WESTON              OH 43569‐9767
MICHAEL BARNETTE        PO BOX 322                                                                                      DALEVILLE           IN 47334‐0322
MICHAEL BARNEY          3066 GRACEVIEW CT                                                                               WATERFORD           MI 48329‐4311
MICHAEL BARNHART        PO BOX 23                                                                                       BROOKVILLE          OH 45309‐0023
MICHAEL BARNHOLDT
MICHAEL BARR            17770 CEDAR MOUNTAIN DR                                                                         RENO               NV   89508‐9805
MICHAEL BARRAGER        4151 MCINTYRE CT                                                                                OXFORD             MI   48371‐5419
MICHAEL BARRATT         1701 CROSS CREEK LN                                                                             DEFIANCE           OH   43512‐3678
MICHAEL BARRERA         3 SCOTT CT                                                                                      ADRIAN             MI   49221‐1934
MICHAEL BARRETT         2113 W CLEARVIEW DR                                                                             MARION             IN   46952‐1061
MICHAEL BARRETT         3029 EGLESTON AVE                                                                               FLINT              MI   48506‐2149
MICHAEL BARRETT         1114 VASSAR DR                                                                                  KALAMAZOO          MI   49001‐4474
MICHAEL BARRON          O‐645 DOVER DR NW                                                                               GRAND RAPIDS       MI   49534‐3305
MICHAEL BARRON          210 TOWLER DR                                                                                   LOGANVILLE         GA   30052‐3280
MICHAEL BARRY           2395 4TH ST NW                                                                                  FARIBAULT          MN   55021‐5653
MICHAEL BARRY           2840 FOREST BEND DR                                                                             SOUTHAVEN          MS   38671‐9387
MICHAEL BARRY           6875 DONALDSON DR                                                                               TROY               MI   48085‐1555
MICHAEL BARRY
MICHAEL BARTKO          164 HERNLEY LN                                                                                  SCOTTDALE          PA   15683‐7714
MICHAEL BARTKOWIAK      5171 WAKEFIELD RD                                                                               GRAND BLANC        MI   48439‐9189
MICHAEL BARTLETT        1724 RIDGECREST                                                                                 ROCHESTER HILLS    MI   48306‐3160
MICHAEL BARTLETT        257 WHITE LN                                                                                    BEDFORD            IN   47421‐9224
MICHAEL BARTLETT        5903 WHITNEY AVE                                                                                FORT WAYNE         IN   46809‐9639
MICHAEL BARTNICKI       ACCT OF JAMES R SCOTT             134 N MAIN ST                                                 PLYMOUTH           MI   48170‐1236
MICHAEL BARTOLAC        1179 TERRA LN                                                                                   ROCHESTER          MI   48306‐4818
MICHAEL BARTOLOTTA      65 POINCIANA PKWY                                                                               BUFFALO            NY   14225‐3610
MICHAEL BARTOLOTTA JR   6317 HIDDEN RIDGE LANE                                                                          WHEATFIELD         NY   14120
MICHAEL BARTON          7232 STANDARD                                                                                   CENTER LINE        MI   48015‐1025
MICHAEL BARTON          505 BURT ST                                                                                     OAKWOOD            OH   45873‐8902
MICHAEL BARTON          1612 NW 179TH ST                                                                                EDMOND             OK   73012‐4186
MICHAEL BARTON          4888 KNOLLTON RD                                                                                INDIANAPOLIS       IN   46228‐2926
MICHAEL BARTON JR       4204 LAKEFIELD CT                                                                               INDIANAPOLIS       IN   46254‐4910
MICHAEL BARTSCH         125 ELMSFORD DR                                                                                 CLAWSON            MI   48017‐1247
MICHAEL BARYO           1002 RIDGELAWN LN                                                                               SAINT PETERS       MO   63376‐4336
MICHAEL BASINGER        24501 ROAD P                                                                                    FORT JENNINGS      OH   45844‐8807
MICHAEL BASISTA         6635 RIVER RD                                                                                   FLUSHING           MI   48433‐2511
MICHAEL BASS            1101 LARONA RD                                                                                  TROTWOOD           OH   45426‐2574
MICHAEL BASSEMER        1305 S PARK AVE TRLR 61                                                                         ALEXANDRIA         IN   46001‐2730
MICHAEL BAST            302 LOOKOUT DR                                                                                  COLUMBIA           TN   38401‐6135
MICHAEL BASTIAN         7751 N 37TH ST                                                                                  RICHLAND           MI   49083‐9377
MICHAEL BASTIAN         C/O BARON & BUDD PC               THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS             TX   75219‐4281
MICHAEL BATCHIK         8847 LAKEVIEW DR                                                                                WHITE LAKE         MI   48386‐4173
MICHAEL BATES           411 ZUNI TRL                                                                                    FORT MYERS BEACH   FL   33931‐4857
MICHAEL BATES           23300 GREENCREST ST                                                                             ST CLAIR SHRS      MI   48080‐2565
MICHAEL BATES           7805 GAYLE DR                                                                                   CARLISLE           OH   45005‐3858
MICHAEL BATES           6 NORSHIRE LN                                                                                   HAZELWOOD          MO   63042‐2620
MICHAEL BATES           7980 DON DAVID DR                                                                               SHREVEPORT         LA   71129‐4647
MICHAEL BATES           7305 HOLLISTER RD                                                                               LAINGSBURG         MI   48848‐9229
MICHAEL BATES           10791 ARROWHEAD DR                                                                              CHESANING          MI   48616‐9625
MICHAEL BATKE           29812 HILLBROOK ST                                                                              LIVONIA            MI   48152‐4520
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Name                 Address1                       Address2            Address3         Address4         City                    State Zip
MICHAEL BATTAGLIA    61 MARTHA AVE                                                                        CENTERVILLE              OH 45458‐2429
MICHAEL BATTISTONI   19808 STONEHENGE DR                                                                  MOKENA                    IL 60448‐7894
MICHAEL BATZKA       810 DEER CLIFF CT                                                                    FORT WAYNE               IN 46804‐3562
MICHAEL BAUER        609 CANYON DR                                                                        COLUMBIA                 TN 38401‐6119
MICHAEL BAUER        33621 N HAMPSHIRE ST                                                                 LIVONIA                  MI 48154‐2705
MICHAEL BAUER        7413 E SAINT JOE HWY                                                                 GRAND LEDGE              MI 48837‐9184
MICHAEL BAUGH        7316 W 500 S                                                                         MORGANTOWN               IN 46160‐9665
MICHAEL BAUGH        889 HOME PARK DR                                                                     SAINT PETERS             MO 63376‐1750
MICHAEL BAUMANN      955 SCHEIER RD                                                                       MANSFIELD                OH 44903
MICHAEL BAUMANN      1101 MANSFIELD WASHINGTON RD                                                         MANSFIELD                OH 44903‐8876
MICHAEL BAXTER       107 SHADY LN                                                                         WHITE HOUSE              TN 37188‐9315
MICHAEL BAYER        60303 CREEKSIDE CT                                                                   WASHINGTON TWP           MI 48094‐2122
MICHAEL BAYNE        2053 ROSALIND                                                                        GRAYLING                 MI 49738‐7016
MICHAEL BAZULKA JR   6310 MILLEVILLE CIR                                                                  SANBORN                  NY 14132‐9239
MICHAEL BEACH        11178 E CONDENSERY RD                                                                CARSON CITY              MI 48811‐9579
MICHAEL BEACH        8157 E US 223                                                                        BLISSFIELD               MI 49228
MICHAEL BEACH        1438 CHARLESTON LN                                                                   COLUMBIA                 TN 38401‐7371
MICHAEL BEACHNAU     9812 BRUMM RIVER DR                                                                  NASHVILLE                MI 49073‐9775
MICHAEL BEAIRD       269 WOODARD DR                                                                       MINDEN                   LA 71055‐8927
MICHAEL BEALS        12125 ALPS RD                                                                        LYNDONVILLE              NY 14098‐9623
MICHAEL BEAMISH      72 FISHER RD                                                                         NORFOLK                  NY 13667‐3285
MICHAEL BEAN         3284 DUNE LN                                                                         HARRISVILLE              MI 48740‐9249
MICHAEL BEAN         6454 S ELMS RD                                                                       SWARTZ CREEK             MI 48473‐9439
MICHAEL BEANE        2140 14TH ST                                                                         CUYAHOGA FALLS           OH 44223‐2451
MICHAEL BEARD        11105 DODGE RD                                                                       OTISVILLE                MI 48463‐9739
MICHAEL BEARD        10204 PEAKE RD                                                                       PORTLAND                 MI 48875‐9434
MICHAEL BEATY        8981 COVENANT CT                                                                     NEWBURGH                 IN 47630
MICHAEL BEAUCHESNE   4341 WEBSTER RD                                                                      FLUSHING                 MI 48433‐9054
MICHAEL BEAUMONT     2442 FORDHAM ST                                                                      KEEGO HARBOR             MI 48320‐1412
MICHAEL BECHER       G804 COUNTY ROAD 10A                                                                 HOLGATE                  OH 43527‐9756
MICHAEL BECK         1112 LASK DR                                                                         FLINT                    MI 48532‐3633
MICHAEL BECK         1405 JOPPA FOREST DR APT L                                                           JOPPA                    MD 21085‐3433
MICHAEL BECK         8568 HOLLISTER RD                                                                    LAINGSBURG               MI 48848‐8221
MICHAEL BECKER       11845 ELMS RD                                                                        BIRCH RUN                MI 48415‐8456
MICHAEL BECKERT      6474 ISLAND LAKE DR                                                                  BRIGHTON                 MI 48116‐9570
MICHAEL BECKHAM      148 GABE HOLLOW RD                                                                   RUSSELL SPRINGS          KY 42642‐8762
MICHAEL BECKLOFF     6622 W RIVER RD                                                                      VERMILION                OH 44089‐3415
MICHAEL BECKMAN      1331 VAN VLEET RD                                                                    FLUSHING                 MI 48433‐9735
MICHAEL BECKMAN      6200 JACQUELINE DR NE                                                                BROOKFIELD               OH 44403‐9735
MICHAEL BECKMAN      568 JUNIPER DR                                                                       DAVISON                  MI 48423‐1832
MICHAEL BECKNER      8206 W 875 S                                                                         PENDLETON                IN 46064‐9794
MICHAEL BECKWITH     33557 BAYVIEW DR                                                                     CHESTERFIELD             MI 48047‐2086
MICHAEL BECRAFT      202 BRONSTON TRL                                                                     DAYTON                   OH 45430‐2030
MICHAEL BEDARD       539 CYNTHIA DR                                                                       FLUSHING                 MI 48433‐2181
MICHAEL BEDELL       108 N WALNUT ST APT 301                                                              BAY CITY                 MI 48706‐4975
MICHAEL BEDNAREK     305 HARTFORD AVE                                                                     BUFFALO                  NY 14223‐2314
MICHAEL BEDNARSKI    6090 PECK AVE                                                                        WARREN                   MI 48092‐3845
MICHAEL BEECH        PO BOX 351                                                                           HOUGHTON LAKE HEIGHTS    MI 48630‐0351

MICHAEL BEEKER       1652 N FRANKLIN ST                                                                   DANVILLE                IL 61832‐2364
MICHAEL BEEMON       16969 HARBOR HILL DR                                                                 CLINTON TWP             MI 48035‐2357
MICHAEL BEESLER      1121 N HAGUE AVE                                                                     COLUMBUS                OH 43204‐2125
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Name                 Address1                       Address2            Address3         Address4         City             State Zip
MICHAEL BEESON       15458 N 100 E                                                                        SUMMITVILLE       IN 46070‐9647
MICHAEL BEHM         13075 N STATE ROAD 9                                                                 ALEXANDRIA        IN 46001‐8836
MICHAEL BEHMER       280 LONG RD                                                                          MACEDONIA         OH 44056‐1509
MICHAEL BEHRINGER    54 RICHLAND ST                                                                       DEFIANCE          OH 43512‐2480
MICHAEL BEHUN        77 BISCAYNE DR                                                                       CHEEKTOWAGA       NY 14225‐3739
MICHAEL BEHUN        855 LOCUST DR                                                                        N HUNTINGDON      PA 15642‐2214
MICHAEL BEIER        185 FRASER ST                                                                        ROCHESTER         MI 48307‐2632
MICHAEL BEKAVAC      1842 GINA DR                                                                         WEST MIFFLIN      PA 15122‐3117
MICHAEL BEKELESKI    818 PENNSYLVANIA AVE                                                                 MANSFIELD         OH 44905‐1512
MICHAEL BEKEMEIER    1931 SEMINOLE LN                                                                     SAGINAW           MI 48638‐4497
MICHAEL BELANGER     127 DEER CHASE CT                                                                    AZLE              TX 76020‐1472
MICHAEL BELANSKI     8305 WESSON RD                                                                       ARLINGTON         TX 76002‐4262
MICHAEL BELEVENDER   4223 INGLEWOOD DR                                                                    YPSILANTI         MI 48197‐6624
MICHAEL BELILL       10424 ATABERRY DR                                                                    CLIO              MI 48420‐1907
MICHAEL BELKE        2048 WILSHIRE DR SE                                                                  GRAND RAPIDS      MI 49506‐4061
MICHAEL BELL         17177 BROOKVIEW DR                                                                   LIVONIA           MI 48152‐4271
MICHAEL BELL         7130 N WYOMING AVE                                                                   KANSAS CITY       MO 64118‐8351
MICHAEL BELL         3004 LOMITA ST                                                                       FORT WORTH        TX 76119‐3222
MICHAEL BELL         3421 EDGEWOOD CT                                                                     DAVISON           MI 48423‐8423
MICHAEL BELL         1062 LAKESIDE DR                                                                     BROOKSVILLE       FL 34601‐1532
MICHAEL BELL         2671 HEAD RD SW                                                                      ATLANTA           GA 30311‐3701
MICHAEL BELL         1850 DELPHINE DR                                                                     DECATUR           GA 30032‐3927
MICHAEL BELL         13 RED MAPLE CT                                                                      AMHERST           NY 14228‐3457
MICHAEL BELLAS JR    294 RIDGE WAY                                                                        SHARON            PA 16146‐1325
MICHAEL BELLAVIA     361 DEWITT ST                                                                        BUFFALO           NY 14213‐1127
MICHAEL BELLCOUR     2229 SHERIDAN ST                                                                     JANESVILLE        WI 53546‐5976
MICHAEL BELLER       3816 CHRISTOPHER DR                                                                  BRIGHTON          MI 48114‐9255
MICHAEL BELLISH      11 DARTMOUTH DR                                                                      CANFIELD          OH 44406‐1210
MICHAEL BELMEGA      22481 WESTCHESTER BLVD         BLDG. A‐1 UN A‐3                                      PORT CHARLOTTE    FL 33980
MICHAEL BELONGA      46121 GALWAY DR                                                                      NOVI              MI 48374‐3972
MICHAEL BELSITO      3641 ALLIUM DR                                                                       HOLT              MI 48842‐8769
MICHAEL BELTON       20498 CHEYENNE ST                                                                    DETROIT           MI 48235‐1090
MICHAEL BELTOWSKI    14755 FRAZHO RD                                                                      WARREN            MI 48089‐1561
MICHAEL BEMENT       6098 EAST HARRISON STREET                                                            WHITE CLOUD       MI 49349‐7510
MICHAEL BEMIS        533 S MAIN ST                                                                        NASHVILLE         MI 49073‐9565
MICHAEL BEMISS       PO BOX 615                                                                           PERRY             MI 48872‐0615
MICHAEL BENBOW       13956 PETRIE RD                                                                      SUNFIELD          MI 48890‐9768
MICHAEL BENCHIC      10 REGINA DR                                                                         FAIRBORN          OH 45324‐4328
MICHAEL BENDER       557 OREGON AVE                                                                       BRICK             NJ 08724‐1246
MICHAEL BENDER       56 N 2ND ST                                                                          SAINT CLAIR       PA 17970‐1028
MICHAEL BENDER       9947 RIVERSIDE DR                                                                    EAGLE             MI 48822‐9716
MICHAEL BENDERSKY    3504 51ST AVENUE DR W                                                                BRADENTON         FL 34210‐3299
MICHAEL BENEDICT     101 ARGALI PL                                                                        CORTLAND          OH 44410‐1602
MICHAEL BENEDICT     2189 STATE ROUTE 31                                                                  CANASTOTA         NY 13032‐3214
MICHAEL BENEDICT     16035 WILLOWSHORES DR                                                                FENTON            MI 48430‐9104
MICHAEL BENFORD      1226 AMOS ST                                                                         PONTIAC           MI 48342‐1804
MICHAEL BENJAMIN     1020 N GALE RD                 P.O.BOX 651                                           DAVISON           MI 48423‐2505
MICHAEL BENKARSKI    23070 ENNISHORE                                                                      NOVI              MI 48375‐4237
MICHAEL BENNER       121 W FRANKLIN ST                                                                    WOODLAND          MI 48897‐9780
MICHAEL BENNER       39 HENRY DR                                                                          GLEN COVE         NY 11542
MICHAEL BENNETT      1554 GREEN SPRING WAY                                                                GREENWOOD         IN 46143‐7987
MICHAEL BENNETT      705 COACH ROAD                                                                       INDIANAPOLIS      IN 46227‐2511
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Name                           Address1                       Address2              Address3                     Address4         City               State Zip
MICHAEL BENNETT                130 CHERRY HILL AVE                                                                                GOOSE CREEK         SC 29445‐5311
MICHAEL BENNETT                8956 G AVE APT 13                                                                                  HESPERIA            CA 92345‐6170
MICHAEL BENNETT                1994 LASEA RD                                                                                      SPRING HILL         TN 37174‐2564
MICHAEL BENNETT                4040 KINGSTON RD                                                                                   KINGSTON            MI 48741‐9767
MICHAEL BENNETT                4071 CROSBY RD                                                                                     FLINT               MI 48506‐1410
MICHAEL BENNETT                PO BOX 684                                                                                         EVART               MI 49631‐0684
MICHAEL BENNETT                4353 STRATHCONA                                                                                    HIGHLAND            MI 48357‐2746
MICHAEL BENNETTS               W9909 COUNTY HWY. U                                                                                ELCHO               WI 54428
MICHAEL BENO                   9175 EVA LN                                                                                        FOWLERVILLE         MI 48836‐8782
MICHAEL BENOIT                 38157 LANTERN HILL CT                                                                              FARMINGTON HILLS    MI 48331‐2898
MICHAEL BENS                   2330 PINE HOLLOW DR                                                                                EAST LANSING        MI 48823‐9748
MICHAEL BENSON                 1952 GILSEY AVE                                                                                    DAYTON              OH 45418‐2510
MICHAEL BENSON                 8272 JACKSON ST                                                                                    TAYLOR              MI 48180‐2924
MICHAEL BENTON                 2576 CROFTHILL DR                                                                                  AUBURN HILLS        MI 48326‐3517
MICHAEL BENTZ                  6020 HARDY AVE                                                                                     EAST LANSING        MI 48823‐1519
MICHAEL BENYOUNES              5322 VERMILION PL                                                                                  KEITHVILLE          LA 71047‐7029
MICHAEL BERAN                  W 6650 STATELINE RD                                                                                WALWORTH            WI 53184
MICHAEL BERARDI                78 BETHANY RD                                                                                      FRAMINGHAM          MA 01702‐7250
MICHAEL BERBERICH              5814 S EMERSON RD                                                                                  BELOIT              WI 53511‐9423
MICHAEL BERCK                  2549 BROWN ST                                                                                      FLINT               MI 48503‐3334
MICHAEL BERDEN                 44081 RIVERGATE DR                                                                                 CLINTON TOWNSHIP    MI 48038‐1366
MICHAEL BERG                   7132 LONG AVE                                                                                      SHAWNEE             KS 66216‐3613
MICHAEL BERGEN                 67 DORIS RD                                                                                        ROCHESTER           NY 14622‐2507
MICHAEL BERGER                 PO BOX 205                                                                                         LAKE ORION          MI 48361‐0205
MICHAEL BERGMAN                30810 LORRAINE AVE                                                                                 WARREN              MI 48093‐2267
MICHAEL BERGMAN                1064 BLUE RIDGE CIR                                                                                CLARKSTON           MI 48348‐5212
MICHAEL BERGMANN               2025 LOCUST DR SW                                                                                  WARREN              OH 44481‐9203
MICHAEL BERGSTROM              PO BOX 7765                                                                                        FLINT               MI 48507‐0765
MICHAEL BERIAN                 3175 S BELSAY RD                                                                                   BURTON              MI 48519‐1619
MICHAEL BERILLA JR             10499 STUART DR                                                                                    PAINESVILLE         OH 44077‐5903
MICHAEL BERIOU                 37731 HAWTHORNE AVE                                                                                NORTH BRANCH        MN 55056‐5963
MICHAEL BERISH                 860 BLOOMING GROVE RD                                                                              PULASKI             TN 38478‐6814
MICHAEL BERLIN                 705 E LINCOLN ST                                                                                   HOOPESTON            IL 60942‐1623
MICHAEL BERNABO                46536 FOX RUN DRIVE                                                                                MACOMB              MI 48044
MICHAEL BERNABO                46536 FOX RUN DRIVE                                                                                MACOMB              MI 48044
MICHAEL BERNARDO               18 BOXWOOD RD                                                                                      WILMINGTON          DE 19804‐1737
MICHAEL BERNE                  1408 6TH ST                                                                                        BAY CITY            MI 48708‐6610
MICHAEL BERNICKE               N236 COUNTY ROAD 16B                                                                               NAPOLEON            OH 43545‐9795
MICHAEL BERRY                  3620 GALLOWAY CT APT 2602                                                                          ROCHESTER HILLS     MI 48309‐2790
MICHAEL BERRY                  9046 GRANDVILLE AVE                                                                                DETROIT             MI 48228‐1720
MICHAEL BERRY                  PO BOX 537                                                                                         SWARTZ CREEK        MI 48473‐0537
MICHAEL BERRY                  1839 W SCHWARTZ BLVD                                                                               THE VILLAGES        FL 32159‐6130
MICHAEL BERRY
MICHAEL BERTHIAUME             8068 BLOOMSBURY CIR                                                                                NORTHVILLE         MI   48167‐9495
MICHAEL BERTIN                 4859 GREER RD                                                                                      W BLOOMFIELD       MI   48324‐1243
MICHAEL BERTULEIT              2804 CARRIAGE HILL DR                                                                              BOWLING GREEN      KY   42104‐4392
MICHAEL BESSER                 2507 BRADFORD AVE                                                                                  KOKOMO             IN   46902‐3365
MICHAEL BESSINGER              3619 100TH TER                                                                                     PINELLAS PARK      FL   33782‐4125
MICHAEL BEST & FRIEDRICH LLP   1 S PINCKNEY ST                CORR ZIP 2/27/02 CP                                                 MADISON            WI   53703
MICHAEL BEST & FRIEDRICH LLP   35206 EAGLE WAY                                                                                    CHICAGO            IL   60678‐0001
MICHAEL BEST & FRIEDRICH LLP   ATTORNEY FOR JEFFERSON WELLS   TONYA A. TRUMM        100 EAST WISCONSIN AVENUE,                    MILWAUKEE          WI   53202‐4108
                               INTERNATIONAL, INC.                                  SUITE 3300
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Name                 Address1                          Address2            Address3         Address4              City                 State Zip
MICHAEL BESTEDA      17321 HARTWELL ST                                                                            DETROIT               MI 48235‐4138
MICHAEL BETHKA       7525 N LUCE RD                                                                               ALMA                  MI 48801‐9206
MICHAEL BETTS        714 HARRISON AVE                                                                             DEFIANCE              OH 43512‐2024
MICHAEL BETTS        648 EDGEFIELD DR                                                                             HOHENWALD             TN 38462‐1900
MICHAEL BETZNER      41450 COUNTY ROAD 652                                                                        MATTAWAN              MI 49071‐8622
MICHAEL BEUTHIN      3129 KANE RD                                                                                 MERRILL               MI 48637‐9314
MICHAEL BEVILLE      202 S CRESCENT LAKE WAY                                                                      BLYTHEWOOD            SC 29016‐7867
MICHAEL BEVIS        1464 ROAD 106                                                                                PAYNE                 OH 45880‐9106
MICHAEL BEYER        554 EASTLAND CT                                                                              BAY CITY              MI 48708‐6946
MICHAEL BEZUSKO      431 TRIPLE CROWN WAY                                                                         MARYSVILLE            OH 43040‐7053
MICHAEL BIALKOWSKI   ADENAUERRING 11                                                        D‐90552 ROETHENBACH
                                                                                            GERMANY
MICHAEL BIANCO       7680 THOMSON TWP. RD #79                                                                     BELLEVUE             OH   44811
MICHAEL BICHEK       3800 LINCOLN AVE                                                                             PARMA                OH   44134‐1804
MICHAEL BICKERS      16343 GRANDVIEW DR                                                                           MACOMB               MI   48044‐4068
MICHAEL BICKFORD     822 WESTWOOD DR                                                                              FENTON               MI   48430‐1421
MICHAEL BICKHAM      1643 N HURON RD                                                                              TAWAS CITY           MI   48763‐9461
MICHAEL BIDDIS       3367 N GENESEE RD                                                                            FLINT                MI   48506‐2105
MICHAEL BIEBER       582 PINESPAR DR SW                                                                           BYRON CENTER         MI   49315‐8371
MICHAEL BIELEC       335 NORWOOD AVE                                                                              ROCHESTER            NY   14606‐3723
MICHAEL BIELEC       335 NORWOOD AVE                                                                              ROCHESTER            NY   14606‐3723
MICHAEL BIELICKI     12508 MILLION DOLLAR HWY                                                                     MEDINA               NY   14103‐9222
MICHAEL BIENIEK      4145 VASSAR ST                                                                               DEARBORN HTS         MI   48125‐2419
MICHAEL BIERNATT     1486 SOUTH DR                                                                                DAVISON              MI   48423‐8123
MICHAEL BIGELOW      10330 FARRAND RD                                                                             MONTROSE             MI   48457‐9733
MICHAEL BILBEY       5240 OLD HAVERHILL CT                                                                        GRAND BLANC          MI   48439‐8736
MICHAEL BILBO        6156 PALM SUMMIT CIR                                                                         CICERO               NY   13039‐8348
MICHAEL BILBREY      7641 TOWERING PINES DR                                                                       BRIGHTON             MI   48116‐5127
MICHAEL BILES        400 KNOTTY PINE DR                                                                           LOCKPORT             NY   14094‐9191
MICHAEL BILITZKE     2315 CUMBERLAND RD                                                                           ROCHESTER HLS        MI   48307‐3710
MICHAEL BILLS        6393 STATE RD                                                                                VASSAR               MI   48768‐9215
MICHAEL BILLS        2550 SALT SPRINGS RD                                                                         WARREN               OH   44481‐9730
MICHAEL BINDAS       PO BOX 2856                                                                                  ASHTABULA            OH   44005‐2856
MICHAEL BINGHAM      28646 BOCK ST                                                                                GARDEN CITY          MI   48135‐2803
MICHAEL BINGHAM      9063 ACORN WAY                                                                               HEBER CITY           UT   84032
MICHAEL BIONDO       8747 LAKEVIEW BLVD                                                                           CLARKSTON            MI   48348‐3421
MICHAEL BIONDO       1564 QUAKER RD                                                                               ORCHARD PARK         NY   14127‐2004
MICHAEL BIRCH        1380 MEADOW PARK DR                                                                          SPARTA               MI   49345‐9488
MICHAEL BIRD         2185 RICHLAND AVE                                                                            LAKEWOOD             OH   44107‐6067
MICHAEL BIRD         PO BOX 80776                                                                                 SAINT CLAIR SHORES   MI   48080‐5776
MICHAEL BIRDWELL     231 FARLEY AVE APT D                                                                         COOKEVILLE           TN   38501‐7128
MICHAEL BIRMINGHAM   11304 MCKINLEY RD                                                                            MONTROSE             MI   48457‐9007
MICHAEL BIRMINGHAM   17746 KINLOCH                                                                                REDFORD              MI   48240‐2245
MICHAEL BISCHOF      5183 OAKHILL DR                                                                              SWARTZ CREEK         MI   48473‐8607
MICHAEL BISHOP       2845 W LOGAN BLVD                                                                            CHICAGO              IL   60647‐1729
MICHAEL BISHOP       P. O. BOX 656                                                                                DAYTON               OH   45449
MICHAEL BISHOP       1871 W TAFT RD                                                                               SAINT JOHNS          MI   48879‐9263
MICHAEL BISHOP       9627 STEPHENSON RD                                                                           ONSTED               MI   49265‐9322
MICHAEL BISHOP       8511 FRIENDSHIP LN                                                                           INDIANAPOLIS         IN   46217‐5418
MICHAEL BISHOP       2621 S HAGGERTY RD                                                                           CANTON               MI   48188‐2021
MICHAEL BISHOP       8548 N MCKINLEY RD                                                                           FLUSHING             MI   48433‐8828
MICHAEL BISHOP       6243 REID RD                                                                                 SWARTZ CREEK         MI   48473‐9460
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Name                            Address1                        Address2            Address3         Address4         City             State Zip
MICHAEL BISIGNANI               320 ABBINGTON AVE                                                                     TN OF TONA        NY 14223‐1629
MICHAEL BLACK                   18674 WILDEMERE ST                                                                    DETROIT           MI 48221‐2215
MICHAEL BLACK                   664 OLD FLORENCE PULASKI RD     ROAD                                                  LEOMA             TN 38468‐5126
MICHAEL BLACK                   17133 HAGGERTY RD                                                                     BELLEVILLE        MI 48111‐3048
MICHAEL BLACK                   8970 JEFFERS RD                                                                       GRAND RAPIDS      OH 43522‐9645
MICHAEL BLACK                   5375 N COUNTY ROAD 825 E                                                              COATESVILLE       IN 46121‐8801
MICHAEL BLACK                   92 TEAL DR                                                                            SWARTZ CREEK      MI 48473‐1578
MICHAEL BLACK                   1702 WHISPERING LN                                                                    CHOCTAW           OK 73020‐6635
MICHAEL BLACKBURN               813 GREEN VALLEY CIR W                                                                BURLESON          TX 76028‐1329
MICHAEL BLACKCLOUD              7960 SACKETT RD                                                                       BERGEN            NY 14416‐9522
MICHAEL BLACKMER                5494 CORVETTE PASS                                                                    GRAND BLANC       MI 48439‐9144
MICHAEL BLACKMER                7101 TREASURE ISLE                                                                    LANSING           MI 48917‐9766
MICHAEL BLAGA                   100 W 5TH ST APT 701                                                                  ROYAL OAK         MI 48067‐2561
MICHAEL BLAIR                   7983 GEDDES RD                                                                        SAGINAW           MI 48609‐4214
MICHAEL BLAIR                   6868 S NORRIS RD                                                                      DELTON            MI 49046‐9720
MICHAEL BLAIR PRODUCTIONS LLC   PO BOX 551108                                                                         ATLANTA           GA 30355‐3608
MICHAEL BLAIS                   24892 GREGORY DR                                                                      BROWNSTOWN        MI 48183‐5466
MICHAEL BLAKE                   4120 CHEVELLE DR SE                                                                   WARREN            OH 44484‐4730
MICHAEL BLAKE                   1262 LASALLE AVE                                                                      BURTON            MI 48509‐2371
MICHAEL BLAKE                   6280 AUGUSTA ST                                                                       SWARTZ CREEK      MI 48473‐7943
MICHAEL BLAKEY                  108 GRAND TETON DR                                                                    SAINT PETERS      MO 63376‐2076
MICHAEL BLANCHER                1432 MICHELSON RD                                                                     HOUGHTON LAKE     MI 48629‐9089
MICHAEL BLANCHETTE              PO BOX 1047                                                                           SLATERSVILLE       RI 02876‐0897
MICHAEL BLANCK                  6168 CHESHIRE PARK DR                                                                 CLARKSTON         MI 48346‐4815
MICHAEL BLAND                   8446 S SHORE DR                                                                       CLARKSTON         MI 48348‐2674
MICHAEL BLANKENSHIP             12380 AIRPORT RD                                                                      DEWITT            MI 48820‐9281
MICHAEL BLANTON                 693+ WOODHEATH AVE                                                                    FORT WAYNE        IN 46809‐2052
MICHAEL BLASCYK                 4320 ATLAS RD                                                                         DAVISON           MI 48423‐8707
MICHAEL BLASKO                  21755 BEECHCREST ST                                                                   DEARBORN HTS      MI 48127‐2404
MICHAEL BLAZER                  48579 MARTZ RD                                                                        BELLEVILLE        MI 48111‐4480
MICHAEL BLEVINS                 1240 ASH ST                                                                           HUNTINGTON        IN 46750‐4109
MICHAEL BLEVINS                 16046 HARRIS RD                                                                       DEFIANCE          OH 43512‐8921
MICHAEL BLISS                   5235 N ZERMATT DR                                                                     JANESVILLE        WI 53545‐8357
MICHAEL BLISS                   217 WHITE FIELD DR                                                                    FORT WAYNE        IN 46804‐6475
MICHAEL BLOCH                   5490 HERTFORD DR                                                                      TROY              MI 48085‐3235
MICHAEL BLOCK                   RR 3 BOX 65A                                                                          MCLOUD            OK 74851‐8352
MICHAEL BLODGETT                1900 AVON ST                                                                          SAGINAW           MI 48602‐3980
MICHAEL BLONDELL                6131 PERRY RD                                                                         GRAND BLANC       MI 48439‐7801
MICHAEL BLOOD                   900 W NORTH GROVE RD                                                                  MAYVILLE          MI 48744‐9679
MICHAEL BLOOM                   6530 CONNELY RD                                                                       NEW WASHINGTN     OH 44854‐9759
MICHAEL BLOWERS                 1825 DOGWOOD DR                                                                       HOLT              MI 48842‐1530
MICHAEL BLUBAUGH                668 BROOKSIDE AVE                                                                     GALION            OH 44833‐3104
MICHAEL BLUE                    2086 ROAD 19A                                                                         CONTINENTAL       OH 45831
MICHAEL BLUE
MICHAEL BLUM                    9322 WILD BEES LANE                                                                   COLUMBIA         MD 21045
MICHAEL BLUM                    PO BOX 8                                                                              MONTICELLO       WI 53570‐0008
MICHAEL BLUM                    990 SPORTSMEN LANE                                                                    RUSSELLVILLE     KY 42276
MICHAEL BLUME                   SCH╓NBLICK 8
MICHAEL BLUMENSCHEIN            1401 JEWELL DR                                                                        COLUMBIA         TN   38401‐5210
MICHAEL BLUMERICK               5513 TRAGER RD                                                                        TRAVERSE CITY    MI   49686‐9440
MICHAEL BLY                     30 OAKDALE BLVD                                                                       PLEASANT RIDGE   MI   48069‐1031
MICHAEL BOALS                   206 ARAPAHO ST                                                                        MONROE           LA   71203‐7372
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Name                   Address1                         Address2                Address3     Address4         City                  State Zip
MICHAEL BOARD          3106 S MILFORD RD                                                                      HIGHLAND               MI 48357‐4949
MICHAEL BOARDMAN       905 TIMBERCREEK DR APT 132                                                             GRAND LEDGE            MI 48837‐2318
MICHAEL BOBAY          3370 AUBURN DR                                                                         TROY                   MI 48083‐5703
MICHAEL BOBULA         4190 VICTORIAN DR                                                                      HAMBURG                NY 14075‐1852
MICHAEL BOBZIEN        139 EDGEMONT DR                                                                        DECATUR                IN 46733‐2529
MICHAEL BOCHENEK       CASCINO MICHAEL P                220 SOUTH ASHLAND AVE                                 CHICAGO                 IL 60607
MICHAEL BOCHINSKI      2038 ATLAS DR                                                                          TROY                   MI 48083‐2663
MICHAEL BOCHNIARZ      477 POINSETTIA DR                                                                      LARGO                  FL 33770
MICHAEL BOCKLAGE       5731 N AMORET AVE                                                                      KANSAS CITY            MO 64151‐2757
MICHAEL BODAG          1465 E JUDDVILLE RD                                                                    OWOSSO                 MI 48867‐9468
MICHAEL BODNER         41973 EDENBROOKE DR                                                                    CANTON                 MI 48187‐3947
MICHAEL BODNER         2241 W WATTLES RD                                                                      TROY                   MI 48098‐4225
MICHAEL BODWELL
MICHAEL BOEDEKER       808 CLARK RD                                                                           LANSING               MI   48917‐2100
MICHAEL BOEHMER        920 BUCKINGHAM RD                                                                      DAYTON                OH   45419‐3743
MICHAEL BOEMMELS       3766 ACALA ST.                                                                         CAMARILLO             CA   93010
MICHAEL BOERNER        6010 WHITE ACRE DR                                                                     LAKE                  MI   48632‐9082
MICHAEL BOFFING        4601 WINTER DR                                                                         ANDERSON              IN   46012‐9567
MICHAEL BOGART         PO BOX 351                                                                             REPUBLIC              OH   44867‐0351
MICHAEL BOGDEN         5236 PLYMOUTH ST                                                                       STERLING HTS          MI   48310‐6634
MICHAEL BOGOS          1263 BUTLER BLVD                                                                       HOWELL                MI   48843‐1303
MICHAEL BOGUE          52033 HICKORY DR                                                                       CHESTERFIELD          MI   48047‐4560
MICHAEL BOHACIK        6413 DYKE RD                                                                           ALGONAC               MI   48001
MICHAEL BOHACIK JR     6413 DYKE RD                                                                           CLAY                  MI   48001‐4208
MICHAEL BOHLANDER      3007 S D ST                                                                            ELWOOD                IN   46036‐2676
MICHAEL BOHM           1130 W WATERLOO RD                                                                     AKRON                 OH   44314‐1539
MICHAEL BOIS           1180 E PINE AVE                                                                        MOUNT MORRIS          MI   48458‐1614
MICHAEL BOISVERT       1311 THAYER RD                                                                         ORTONVILLE            MI   48462‐8903
MICHAEL BOJARCZYK      710 LINCOLN RD                                                                         GROSSE POINTE FARMS   MI   48230‐1222
MICHAEL BOJKO          2690 DEEP FOREST WAY                                                                   FENNVILLE             MI   49408‐7617
MICHAEL BOKOR          13942 W RICO DR                                                                        SUN CITY WEST         AZ   85375‐2802
MICHAEL BOKOVOY JR     3616 W SAINT JOSEPH ST                                                                 LANSING               MI   48917‐3621
MICHAEL BOLANDER       5096 HILL RD                                                                           SWARTZ CREEK          MI   48473‐8205
MICHAEL BOLANOWSKI     4264 E. MT. MORRIS RD.                                                                 GENESEE               MI   48458
MICHAEL BOLCER         6142 LINDEN RD                                                                         FENTON                MI   48430‐9202
MICHAEL BOLDIZAR       26656 W OUTER DR                                                                       ECORSE                MI   48229‐1247
MICHAEL BOLDT          3813 LINDSAY LN                                                                        CRYSTAL LAKE          IL   60014‐4783
MICHAEL BOLEN          15461 RIVER CIR                                                                        LINDEN                MI   48451‐8764
MICHAEL BOLES          1506 HIGHWAY D                                                                         SILEX                 MO   63377‐3242
MICHAEL BOLEY          26 COUNTY ROAD 321                                                                     CORINTH               MS   38834‐8851
MICHAEL BOLIN          9681 ELMS RD                                                                           BIRCH RUN             MI   48415‐8445
MICHAEL BOLIN          68 AUGUSTA DR                                                                          NEWARK                DE   19713‐1843
MICHAEL BOLINGER       8100 PINES RD APT 20G                                                                  SHREVEPORT            LA   71129‐4435
MICHAEL BOLLINGER      619 60TH AVE NE                                                                        NORMAN                OK   73026‐0738
MICHAEL BOLOGNA        14048 ELLEN DR                                                                         LIVONIA               MI   48154‐5347
MICHAEL BOLT           11052 W PIERSON RD                                                                     FLUSHING              MI   48433‐9719
MICHAEL BOLTON         9701 PENNFIELD RD                                                                      BATTLE CREEK          MI   49014‐8107
MICHAEL BOLTON         418 SYCAMORE DR                                                                        BEDFORD               IN   47421‐3406
MICHAEL BOLTON         9160 DRURY LN                                                                          PIGEON                MI   48755‐9770
MICHAEL BOMMARITO      898 AUGUSTA DR                                                                         ROCHESTER HILLS       MI   48309‐1512
MICHAEL BOMMARITO JR   1249 OAKDALE CIR E                                                                     FREELAND              MI   48623‐9780
MICHAEL BONADIO        35 ELMFORD RD                                                                          ROCHESTER             NY   14606‐4335
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Name                  Address1                         Address2                        Address3                     Address4         City               State Zip
MICHAEL BONADONNA     7444 AKRON RD                                                                                                  LOCKPORT            NY 14094‐9308
MICHAEL BONAFFINE     5 MARY DR                                                                                                      ROCHESTER           NY 14617‐4511
MICHAEL BONAVENTURA   1681 ALPINE DR                                                                                                 COLUMBUS            OH 43229‐2162
MICHAEL BONCZYK       1681 BRAMBLEWOOD DR                                                                                            DORR                MI 49323‐9785
MICHAEL BOND          9433 TIGER RUN TRL                                                                                             DAVISON             MI 48423‐8431
MICHAEL BOND          2337 CARLOS DR                                                                                                 WATERFORD           MI 48327‐1009
MICHAEL BOND          418 S SHERIDAN ST                                                                                              BAY CITY            MI 48708‐7466
MICHAEL BOND          4845 W TEMPERANCE RD                                                                                           OTTAWA LAKE         MI 49267‐8713
MICHAEL BOND          PO BOX 115                                                                                                     BLANCHARD           OK 73010‐0115
MICHAEL BONDURANT     2309 LAKE DR                                                                                                   ANDERSON            IN 46012‐1820
MICHAEL BONE          1104 WHIRLAWAY LN                                                                                              MONROE              GA 30655‐8402
MICHAEL BONELLO       46464 LARCHMONT DR                                                                                             CANTON              MI 48187‐4719
MICHAEL BONESTEEL     7231 SCHOOLCRAFT DR                                                                                            DAVISON             MI 48423‐2389
MICHAEL BOODE         1359 W FAIRVIEW LN                                                                                             ROCHESTER HLS       MI 48306‐4139
MICHAEL BOOHER        2586 JOHN ANDERSON DR                                                                                          ORMOND BEACH        FL 32176‐2404
MICHAEL BOOKER        6440 BELSAY RD                                                                                                 GRAND BLANC         MI 48439‐9757
MICHAEL BOOKER        4341 COMANCHE TRAIL BLVD                                                                                       JACKSONVILLE        FL 32259‐4285
MICHAEL BOOKOUT       8494 S 1200 W                                                                                                  LOSANTVILLE         IN 47354‐9390
MICHAEL BOONE         918 WELCH BLVD                                                                                                 FLINT               MI 48504‐3147
MICHAEL BOONE         11514 N BELSAY RD                                                                                              CLIO                MI 48420‐9756
MICHAEL BOOTH         10465 CARTER RD                                                                                                FREELAND            MI 48623‐8750
MICHAEL BORAN         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS.         OH 44236
MICHAEL BORDEAUX
MICHAEL BORDIN        EVANS SWEENEY BORDIN             1 KING STREET WEST SUITE 1201   HAMILTON, ONTARIO L8P 1A4,
                                                                                       CANADA
MICHAEL BORDNER       1155 WILDWOOD LN                                                                                               BLUFFTON           IN   46714‐9306
MICHAEL BORGES        9021 FARRAND RD                                                                                                OTISVILLE          MI   48463‐9638
MICHAEL BORGWARDT     5843 N JONES DR                                                                                                MILTON             WI   53563‐8810
MICHAEL BORKOWSKI     37659 ADRIAN DR                                                                                                STERLING HEIGHTS   MI   48310‐4010
MICHAEL BORNSTEIN     8113 E 34TH PL                                                                                                 INDIANAPOLIS       IN   46226‐6419
MICHAEL BOROSKI       43429 INTERLAKEN DR                                                                                            STERLING HEIGHTS   MI   48313‐2371
MICHAEL BOROVITCKY    106 HEATHER CREEK RUN                                                                                          YOUNGSTOWN         OH   44511‐3634
MICHAEL BORTEL        236 WAINWRIGHT ST                                                                                              NOVI               MI   48377‐2707
MICHAEL BORTNICK      13435 PARALLEL PKWY                                                                                            KANSAS CITY        KS   66109‐3734
MICHAEL BORTON        274 WISTERIA DR                                                                                                FRANKLIN           TN   37064‐6170
MICHAEL BORUCKI       29806 MANHATTAN ST                                                                                             ST CLAIR SHRS      MI   48082‐2615
MICHAEL BOSERMAN      737 PURDUE AVE                                                                                                 YOUNGSTOWN         OH   44515‐4220
MICHAEL BOSS          10058 STATE ST                                                                                                 DALTON             NY   14836‐9602
MICHAEL BOSSE         7175 ARTHUR ST                                                                                                 COOPERSVILLE       MI   49404‐9757
MICHAEL BOSSNER       14205 BROOKINGS DR                                                                                             STERLING HEIGHTS   MI   48313‐5413
MICHAEL BOSTIC        2459 JACKSON PIKE                                                                                              BATAVIA            OH   45103‐9425
MICHAEL BOTSICK       12942 NORBORNE                                                                                                 REDFORD            MI   48239‐2783
MICHAEL BOTSKO        9909 W PEORIA AVE                                                                                              SUN CITY           AZ   85351‐4233
MICHAEL BOTTIGLIERI   58 BERKSHIRE DR                                                                                                HOWELL             NJ   07731‐2353
MICHAEL BOTZUM        636 BAKEWAY CIR                                                                                                INDIANAPOLIS       IN   46231‐3114
MICHAEL BOUCHER       3208 DUKE ST                                                                                                   KALAMAZOO          MI   49008‐2939
MICHAEL BOUDE         955 STATE RTE 42 S                                                                                             XENIA              OH   45385
MICHAEL BOUNDS        PO BOX 2041                                                                                                    BUFFALO            NY   14240‐2041
MICHAEL BOURCIER      934 S MACKINAW RD                                                                                              KAWKAWLIN          MI   48631‐9471
MICHAEL BOURCIER      12411 HENDERSON RD                                                                                             OTISVILLE          MI   48463‐9728
MICHAEL BOURGEOIS     1035 WINEPRESS RD                                                                                              BURLESON           TX   76028‐6781
MICHAEL BOURNE        23 ALCOLON CV                                                                                                  DESTIN             FL   32550‐3838
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Name                 Address1                        Address2             Address3        Address4         City               State Zip
MICHAEL BOUTIN       130 CODFISH CORNER RD                                                                 PORTSMOUTH          NH 03801‐2004
MICHAEL BOUTORWICK   51636 BATTANWOOD DR                                                                   MACOMB              MI 48042‐6064
MICHAEL BOVA         1120 PRIMROSE DR                                                                      W CARROLLTON        OH 45449‐2031
MICHAEL BOVEN        10081 WALNUT SHORES DR                                                                FENTON              MI 48430‐2435
MICHAEL BOWDEN       22549 FULLERTON ST                                                                    DETROIT             MI 48223‐3106
MICHAEL BOWEN        1870 BEAR CREEK PIKE                                                                  COLUMBIA            TN 38401‐7654
MICHAEL BOWEN        906 E RIVER RD                                                                        FLUSHING            MI 48433‐2223
MICHAEL BOWERS       5299 DENTON RD                                                                        ORIENT              OH 43146‐9201
MICHAEL BOWERS       207 N LAFAYETTE AVE APT 201                                                           ROYAL OAK           MI 48067‐1763
MICHAEL BOWES        32616 JOHN HAUK ST                                                                    GARDEN CITY         MI 48135‐1259
MICHAEL BOWLING      1422 HIGHVIEW DR APT I301                                                             COLUMBIA            TN 38401‐9403
MICHAEL BOWLING      1889 COUNTY ROAD 184                                                                  MOULTON             AL 35650‐4909
MICHAEL BOWNS        3460 E CARPENTER RD                                                                   FLINT               MI 48506‐1036
MICHAEL BOWSER       2212 ENTERPRISE RD                                                                    WEST ALEXANDRIA     OH 45381‐9510
MICHAEL BOWSER       446 ROCKY HOLLOW DR                                                                   MEDINA              OH 44256
MICHAEL BOYARKO      41874 KELLY PARK RD                                                                   LEETONIA            OH 44431‐9678
MICHAEL BOYCE        6574 W MESA VISTA AVE                                                                 LAS VEGAS           NV 89118‐1817
MICHAEL BOYD         2101 ARLINGTON APT 117                                                                TOLEDO              OH 43609
MICHAEL BOYD         16099 FAIRFAX CT                                                                      HOLLY               MI 48442‐9651
MICHAEL BOYD         2400 NERREDIA ST                                                                      FLINT               MI 48532‐4827
MICHAEL BOYD         187 N COUNTY LINE RD E                                                                SPENCER             IN 47460‐7408
MICHAEL BOYD         2613 KELLAR AVE                                                                       FLINT               MI 48504‐2761
MICHAEL BOYD         10551 STONE GATE LN                                                                   DEFIANCE            OH 43512‐1268
MICHAEL BOYD SR      5176 WILDCAT RD                                                                       CROSWELL            MI 48422‐9143
MICHAEL BOYER        1125 W OUTER 21 RD                                                                    ARNOLD              MO 63010‐4644
MICHAEL BOYER        347 SWAMP FOX DR                                                                      FORT MILL           SC 29715‐6701
MICHAEL BOYER        4339 N CHAPEL RD                                                                      FRANKLIN            TN 37067‐7818
MICHAEL BOYKO        211 SOUTH LN                                                                          GRAND ISLAND        NY 14072‐1322
MICHAEL BOYLE        23685 MAUDE LEA ST                                                                    NOVI                MI 48375‐3563
MICHAEL BOZA         5102 M‐13 NORTH                                                                       PINCONNING          MI 48650
MICHAEL BOZYNSKI     3708 KLAM RD                                                                          COLUMBIAVILLE       MI 48421‐9390
MICHAEL BRABBS       406 BELLEWOOD DR                                                                      FLUSHING            MI 48433‐1847
MICHAEL BRACE        12000 SAUBEE RD                                                                       LAKE ODESSA         MI 48849‐9216
MICHAEL BRACHFELD    4833 CARAMBOLA CIR              KARANDA VILLAGE II                                    COCONUT CREEK       FL 33066
MICHAEL BRADDOCK     27321 MARKBARRY AVE                                                                   EUCLID              OH 44132‐2109
MICHAEL BRADLEY      3809 ELIE ST                                                                          NORMAN              OK 73072‐1962
MICHAEL BRADLEY      1211 PLAYER DR                                                                        TROY                MI 48085‐3310
MICHAEL BRADLEY      225 W EDDINGTON AVE                                                                   FLINT               MI 48503‐5714
MICHAEL BRADLEY      30134 BLOSSOM LN                                                                      WARREN              MI 48088‐5811
MICHAEL BRADLEY      3247 LIENHART RD                                                                      DANSVILLE           MI 48819‐9772
MICHAEL BRADO        221 TOWNE CRIER RD                                                                    LYNCHBURG           VA 24502‐4966
MICHAEL BRADSHAW     5133 WESTMORELAND DR                                                                  TROY                MI 48085‐6401
MICHAEL BRADY        2217 WESTOVER DR                                                                      IONIA               MI 48846‐2145
MICHAEL BRADY        4197 COUNTY FARM RD                                                                   SAINT JOHNS         MI 48879‐9211
MICHAEL BRADY        PO BOX 441                                                                            CORTLAND            OH 44410‐0441
MICHAEL BRADY        108 PLUMMER ST                                                                        ESSEXVILLE          MI 48732‐1134
MICHAEL BRADY        1920 AVALON DR                                                                        STERLING HEIGHTS    MI 48310‐7800
MICHAEL BRAKKE       2751 LILAC RD                                                                         HILLSDALE           MI 49242‐8226
MICHAEL BRAMAN       1890 THUNDERBIRD DR                                                                   SAGINAW             MI 48609‐9542
MICHAEL BRAMMER      485 THORNEHILL TRL                                                                    OXFORD              MI 48371‐5170
MICHAEL BRANCH       814 GREENFIELD CT                                                                     MURFREESBORO        TN 37128‐4723
MICHAEL BRANCH       4887 E TITTABAWASSEE RD                                                               FREELAND            MI 48623‐9107
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Name                    Address1                          Address2             Address3        Address4             City               State Zip
MICHAEL BRANDENBURG     2831 MARIGOLD DR                                                                            DAYTON              OH 45449‐3235
MICHAEL BRANDENBURG     1216 E OVERPECK RD                                                                          MOORESVILLE         IN 46158‐6790
MICHAEL BRANDON         6517 PARSON BROWN DR                                                                        ORLANDO             FL 32819
MICHAEL BRANDON ET AL   C/O STUART MICHAEL ROBERTSON      105‐186 ALBERT ST                    LONDON ONTARIO N6A
                                                                                               1M1
MICHAEL BRANI           5355 CLOISTER DR                                                                            TROY               MI   48085‐4088
MICHAEL BRANIFF         1121 N HURD RD                                                                              ORTONVILLE         MI   48462‐9769
MICHAEL BRAUN           4827 LAKESIDE DR                                                                            PERRINTON          MI   48871‐9744
MICHAEL BRAUN           5984 EAGLES WAY                                                                             HASLETT            MI   48840‐9764
MICHAEL BRAY            10032 E 750 N                                                                               BROWNSBURG         IN   46112
MICHAEL BRAY            41251 HIDDEN OAKS DR                                                                        CLINTON TOWNSHIP   MI   48038‐4531
MICHAEL BRAY            1123 3RD ST                                                                                 WYANDOTTE          MI   48192‐3214
MICHAEL BRAYTON         4497 JASLO AVE                                                                              NORTH PORT         FL   34285‐5527
MICHAEL BREAM           1909 NEWHAVEN DR                                                                            BALTIMORE          MD   21221‐1739
MICHAEL BRECKENRIDGE    24152 BRENTWOOD CT                                                                          NOVI               MI   48374‐3774
MICHAEL BREDDERMAN
MICHAEL BREEN           2715 LINDEN ST                                                                              EAST LANSING       MI   48823‐3813
MICHAEL BREHLER         24432 SIMMONS DR                                                                            NOVI               MI   48374‐3064
MICHAEL BRELLO          3416 COLUMBUS AVE                 OHIO VETERANS HOME                                        SANDUSKY           OH   44870‐5557
MICHAEL BRENDLY         467 EAGLES NEST RD                                                                          INDIAN RIVER       MI   49749‐9705
MICHAEL BRENNAN         5612 NW 87TH TER                  APT 248                                                   KANSAS CITY        MO   64154‐2479
MICHAEL BRENNAN         75 VERSAILLES CT                                                                            HAMILTON           NJ   08619‐4644
MICHAEL BRENNAN         2145 ETHEL ST                                                                               SAGINAW            MI   48603‐4014
MICHAEL BRENNAN         222 RONNI DRIVE                                                                             EAST MEADOW        NY   11554
MICHAEL BRENNAN JR      10755 HAVERMALE RD                                                                          FARMERSVILLE       OH   45325‐8266
MICHAEL BRENNAN SR      10755 HAVERMALE RD                                                                          FARMERSVILLE       OH   45325‐8266
MICHAEL BREWER          984 CHEROKEE DR                                                                             PERRYVILLE         MO   63775‐8186
MICHAEL BREWER          24707 W 287TH ST                                                                            PAOLA              KS   66071‐5368
MICHAEL BREWER          624 FOXHALL RD                                                                              BLOOMFIELD         MI   48304‐1912
MICHAEL BREWER          624 FOXHALL ROAD                                                                            BLOOMFIELD HILLS   MI   48304
MICHAEL BREZKO          1711 SANDOVAL CT                                                                            INDIANAPOLIS       IN   46214‐2226
MICHAEL BRIDE           32054 HULL AVE                                                                              FARMINGTON HILLS   MI   48336‐1148
MICHAEL BRIDGES         2443 DEER SPRINGS CT                                                                        ELLENWOOD          GA   30294‐1170
MICHAEL BRIDGINS        115 PARK CHARLES BLVD N                                                                     SAINT PETERS       MO   63376‐3258
MICHAEL BRIENZA         713 RIDGE BOULEVARD                                                                         CONNELLSVILLE      PA   15425‐1956
MICHAEL BRIGGS          1507 HILLSIDE DR                                                                            MIDLOTHIAN         TX   76065‐2005
MICHAEL BRIGGS          3765 RIDGE DR                                                                               JANESVILLE         WI   53548‐5836
MICHAEL BRIGGS          77 NIGHTENGALE AVE                                                                          MASSENA            NY   13662‐1717
MICHAEL BRIGOLIN        10350 BIG HAND RD                                                                           COLUMBUS           MI   48063‐2804
MICHAEL BRILEY          10374 BAKER DR                                                                              CLIO               MI   48420‐7720
MICHAEL BRILL           3674 ARBUTUS LN                                                                             GRAYLING           MI   49738‐8791
MICHAEL BRIMM           3408 MILLS HWY                                                                              CHARLOTTE          MI   48813‐9311
MICHAEL BRIN            1648 STANLEY ST                                                                             SAGINAW            MI   48602‐1061
MICHAEL BRINKER         PO BOX 157                                                                                  COLUMBIA           TN   38402‐0157
MICHAEL BRINKMANN       2953 SATURN DR                                                                              LAKE ORION         MI   48360‐1742
MICHAEL BRISCOE         10772 N OGDEN RD                                                                            N MANCHESTER       IN   46962‐8319
MICHAEL BRISTOW         2916 DOUGLAS DR                                                                             BAY CITY           MI   48706‐1222
MICHAEL BRITT           2608 E 28TH ST                                                                              GRANITE CITY       IL   62040‐4922
MICHAEL BRITT           106 KRING ST                                                                                JOHNSTOWN          PA   15904
MICHAEL BRITTON         2396 EAST BEAVER ROAD                                                                       KAWKAWLIN          MI   48631‐9442
MICHAEL BRITZ           7956 CREEK BEND DR                                                                          YPSILANTI          MI   48197‐6204
MICHAEL BROADDUS        3205 ACKERMAN BLVD                                                                          DAYTON             OH   45429‐3503
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Name                 Address1                          Address2              Address3       Address4         City              State Zip
MICHAEL BROADWATER   215 ELEANOR RD                                                                          HIGHLAND           MI 48356‐2903
MICHAEL BROCK        14828 BUCKTHORN CT                                                                      FORT WAYNE         IN 46814‐9058
MICHAEL BRODEN       1906 JASMINE AVENUE                                                                     FLINT              MI 48503‐4086
MICHAEL BROEKER      3230 JACOBS RD                                                                          WATERFORD          WI 53185‐4803
MICHAEL BROHAWN      4906 CATAMARAN CT                                                                       WILMINGTON         DE 19808‐1826
MICHAEL BROIHAN      6545 BASSWOOD DR                                                                        TROY               MI 48098‐2086
MICHAEL BROMBERG     CENTURY VILLAGE W                 HYTHE A#407                                           BOCA RATON         FL 33434
MICHAEL BROOKLIER    36784 JEFFERSON AVE                                                                     HARRISON TWP       MI 48045‐2918
MICHAEL BROOKS       6941 MAROSE DR                                                                          DAYTON             OH 45424‐3474
MICHAEL BROOKS       # 134                             499 DIXIE HILL ROAD                                   SPENCER            IN 47460‐5688
MICHAEL BROOKS       5940 HATCHERY RD                                                                        WATERFORD          MI 48329‐3328
MICHAEL BROOKS       3816 DELANO DR                                                                          EATON RAPIDS       MI 48827‐9623
MICHAEL BROOKS       1984 MCRAE DRIVE                                                                        CHEBOYGAN          MI 49721‐8921
MICHAEL BROOKS       12810 GREGWARE DR                                                                       SAND LAKE          MI 49343‐9592
MICHAEL BROOKS       PO BOX 370743                                                                           DECATUR            GA 30037‐0743
MICHAEL BROOKS       1072 BREYMAN HWY                                                                        TIPTON             MI 49287‐9740
MICHAEL BROOKS       12312 TOWNLINE RD                                                                       GRAND BLANC        MI 48439‐1696
MICHAEL BROOKS       8177 ROOSEVELT AVE                                                                      MOUNT MORRIS       MI 48458‐1313
MICHAEL BROOKS JR.   305 BLACKWOOD LN                                                                        SUWANEE            GA 30024‐1188
MICHAEL BROPHY       15318 RIVIERA SHORES DR                                                                 HOLLY              MI 48442‐1132
MICHAEL BROTHERS     3301 N DALINDA RD                                                                       MUNCIE             IN 47303‐1511
MICHAEL BROWDER      PO BOX 171                                                                              GRASS LAKE         MI 49240‐0171
MICHAEL BROWER       228 JERRY GARLINGTON RD                                                                 MONROE             LA 71203‐8104
MICHAEL BROWN        285 WEXFORD DR                                                                          WILMINGTON         OH 45177‐1560
MICHAEL BROWN        5415 COLUMBUS AVE                                                                       SANDUSKY           OH 44870‐8331
MICHAEL BROWN        389 HILL ST                                                                             XENIA              OH 45385‐5654
MICHAEL BROWN        8661 N 675 W                                                                            GASTON             IN 47342
MICHAEL BROWN        212 VICTORY HILL DR                                                                     COATESVILLE        IN 46121
MICHAEL BROWN        2521 E 6TH ST                                                                           ANDERSON           IN 46012‐3722
MICHAEL BROWN        5957 FALL CREEK DR                                                                      MIDDLETOWN         IN 47356‐9546
MICHAEL BROWN        3826 W 300 N                                                                            GREENFIELD         IN 46140‐8479
MICHAEL BROWN        6335 GERMANTOWN PIKE                                                                    MORAINE            OH 45418‐1635
MICHAEL BROWN        16490 E STATE FAIR ST                                                                   DETROIT            MI 48205‐2039
MICHAEL BROWN        6680 W EATON HWY                                                                        LANSING            MI 48906‐9057
MICHAEL BROWN        3109 MENOMINEE AVE                                                                      FLINT              MI 48507‐1903
MICHAEL BROWN        3875 HERMANSAU DR                                                                       SAGINAW            MI 48603‐2524
MICHAEL BROWN        6367 GRANDVILLE AVE                                                                     DETROIT            MI 48228‐3946
MICHAEL BROWN        1640 W WASHINGTON RD                                                                    FARWELL            MI 48622‐9323
MICHAEL BROWN        4325 BENNETT DR                                                                         BURTON             MI 48519‐1111
MICHAEL BROWN        1997 DOWELL BRANCH RD                                                                   COLUMBIA           TN 38401‐1540
MICHAEL BROWN        489 E HOTCHKISS RD                                                                      BAY CITY           MI 48706‐8715
MICHAEL BROWN        8360 W GRAND RIVER RD                                                                   LAINGSBURG         MI 48848‐8747
MICHAEL BROWN        16301 TUCKER RD                                                                         HOLLY              MI 48442‐9743
MICHAEL BROWN        300 WESTERN AVE APT A25                                                                 LANSING            MI 48917‐3751
MICHAEL BROWN        PO BOX 1015                                                                             LAPEER             MI 48446‐5015
MICHAEL BROWN        811 S EAST ST                                                                           BENTON             AR 72015‐4323
MICHAEL BROWN        4294 BEMIS RD                                                                           YPSILANTI          MI 48197‐6641
MICHAEL BROWN        7361 WOLF ROAD                                                                          BELLEVUE           MI 49021‐8220
MICHAEL BROWN        18311 WILD LILAC TRL                                                                    HUMBLE             TX 77346‐4087
MICHAEL BROWN        688 NICHOLS RD                                                                          SUWANEE            GA 30024‐1150
MICHAEL BROWN        204 BELLSHIRE LN                                                                        ROCHESTER HILLS    MI 48307‐3523
MICHAEL BROWN        19049 BAILEY DR                                                                         MACOMB             MI 48044‐1282
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Name                Address1                       Address2            Address3         Address4         City               State Zip
MICHAEL BROWN       2684 SUNNY MEADOWS DR                                                                SAINT CHARLES       MO 63303‐4442
MICHAEL BROWN       1296 POPPY HILL DR                                                                   OXFORD              MI 48371‐6093
MICHAEL BROWN       218 RHODE ISLAND ST                                                                  HIGHLAND PARK       MI 48203‐3361
MICHAEL BROWN       20010 SAINT MARYS ST                                                                 DETROIT             MI 48235‐2373
MICHAEL BROWN       6196 LEESVILLE RD                                                                    BEDFORD             IN 47421‐7313
MICHAEL BROWN       5869 MILLBROOK DR                                                                    MIDDLETOWN          OH 45042‐3073
MICHAEL BROWN       813 WEEDON ST                                                                        FREDERICKSBRG       VA 22401‐5646
MICHAEL BROWN       1033 RIVER FOREST PT                                                                 LAWRENCEVILLE       GA 30045‐2600
MICHAEL BROWN       1510 HILLSIDE DR                                                                     BEL AIR             MD 21015‐4723
MICHAEL BROWN       236 KIRKLEY DR                                                                       BROOKLYN            MI 49230‐8975
MICHAEL BROWN       15200 ROSEMARY BLVD                                                                  OAK PARK            MI 48237‐1924
MICHAEL BROWN       3159 MEGAN DRIVE                                                                     WATERFORD           MI 48328‐2591
MICHAEL BROWN       6502 LOST CANYON CT                                                                  BAKERSFIELD         CA 93307‐7113
MICHAEL BROWN       PO BOX 314                                                                           MCLOUD              OK 74851‐0314
MICHAEL BROWN       113 OAK LN                                                                           BURLESON            TX 76028‐6145
MICHAEL BROWN       17 DUKE BLD.                                                                         ROANOKE             IN 46783
MICHAEL BROWN       2218 WILLOW RD                                                                       MILAN               MI 48160‐9517
MICHAEL BROWN       1621 WAYNE AVE                                                                       DAYTON              OH 45410
MICHAEL BROWN SR    8813 NORTHEAST 12TH STREET                                                           OKLAHOMA CITY       OK 73110‐7113
MICHAEL BROWNE      7875 W FILLMORE RD                                                                   SUMNER              MI 48889‐9745
MICHAEL BROWNER     6658 MAPLE CREEK BLVD                                                                W BLOOMFIELD        MI 48322‐4553
MICHAEL BROWNING    12548 TERRA BELLA ST                                                                 PACOIMA             CA 91331‐1944
MICHAEL BROWNING    27974 OAK GROVE RD                                                                   ELKMONT             AL 35620‐3330
MICHAEL BROWNING    6671 EAGLE RIDGE LN                                                                  CANAL WINCHESTER    OH 43110‐8061
MICHAEL BROWNLEE    PO BOX 937                                                                           MOUNT CLEMENS       MI 48046‐0937
MICHAEL BROZOWSKI   13652 KNIGHT CT                                                                      SHELBY TOWNSHIP     MI 48315‐1906
MICHAEL BRUCZ       23 HEDGE LN                                                                          LANCASTER           NY 14086‐1470
MICHAEL BRUDER      W261S8350 FAULKNER RD                                                                MUKWONAGO           WI 53149‐9629
MICHAEL BRUFF       PO BOX 241                                                                           NEW LOTHROP         MI 48460‐0241
MICHAEL BRUGGEMAN   PO BOX 711                                                                           TROY                MI 48099‐0711
MICHAEL BRUNETTE    4654 2 MILE RD                                                                       BAY CITY            MI 48706‐2705
MICHAEL BRUNETTE    356 S MILLER DR APT 3                                                                EATON RAPIDS        MI 48827‐2613
MICHAEL BRUNN       693 SCOTT DR                                                                         MANSFIELD           OH 44906‐4002
MICHAEL BRUNO       102 EMILY DR                                                                         PITTSBURGH          PA 15215
MICHAEL BRUNS       PO BOX 587                                                                           ROANOKE             IN 46783‐0587
MICHAEL BRUNTON     15529 JONES RD                                                                       GRAND LEDGE         MI 48837‐9603
MICHAEL BRUSKE      2231 KENNELY RD                                                                      SAGINAW             MI 48609‐9315
MICHAEL BRYAN       7541 W BEARD RD                                                                      PERRY               MI 48872‐8145
MICHAEL BRYANT      5689 TULANE AVE                                                                      AUSTINTOWN          OH 44515‐4225
MICHAEL BRYANT      2049 NEAL RD                                                                         PYLESVILLE          MD 21132‐1018
MICHAEL BRYANT      4259 UNROE AVE                                                                       GROVE CITY          OH 43123‐1031
MICHAEL BRYANT      1008 SUPERIOR AVE                                                                    DAYTON              OH 45402‐6257
MICHAEL BRYMER      1732 CLARKSON AVE                                                                    NEWBERRY            SC 29108‐3926
MICHAEL BRYNDLE     35206 COLONY HILLS DR                                                                ZEPHYRHILLS         FL 33541‐8306
MICHAEL BUBAR       3770 WILSON CAMBRIA RD                                                               WILSON              NY 14172‐9713
MICHAEL BUCALA      318 JOHN R RD #316                                                                   TROY                MI 48083
MICHAEL BUCHANAN    4756 PINE EAGLES DR                                                                  BRIGHTON            MI 48116‐9759
MICHAEL BUCHANAN    2950 TATHAM RD                                                                       SAGINAW             MI 48601‐7066
MICHAEL BUCHLER     139 S 79TH PL                                                                        MESA                AZ 85208‐1323
MICHAEL BUCHNER     12232 FARRAND RD                                                                     OTISVILLE           MI 48463‐9720
MICHAEL BUCK        20412 LESURE ST                                                                      DETROIT             MI 48235‐1538
MICHAEL BUCK        250 INDIANSIDE RD                                                                    OAKLAND             MI 48363‐1010
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Name                            Address1                        Address2          Address3         Address4                City                    State Zip
MICHAEL BUCK                    5405 PATTERSON LN                                                                          ANDERSON                 IN 46017‐9755
MICHAEL BUCK
MICHAEL BUCKBEE                 535 E HURON ST                                                                             MILFORD                 MI   48381‐2424
MICHAEL BUCKLAND                23840 MONROE ST                                                                            ARMADA                  MI   48005‐4819
MICHAEL BUCKLEY                 3765 E CRONK RD                                                                            OWOSSO                  MI   48867‐9620
MICHAEL BUCKMAN                 825 SOUTHWEST TULIP BOULEVARD                                                              FORT ST. LUCY           FL   34953
MICHAEL BUCKMAN                 825 SW TULIP BOULEVARD                                                                     PORT ST. LUCY           FL   34953
MICHAEL BUCKMASTER              1017 COLINA VISTA LN                                                                       CROWLEY                 TX   76036‐9157
MICHAEL BUCKNER                 7280 COLE RD                                                                               SAGINAW                 MI   48601‐9732
MICHAEL BUCSANSZKY              804 HARRELL AVE                                                                            WOODBRIDGE              NJ   07095‐3216
MICHAEL BUCZYNSKI               409 WARD AVE                                                                               SOUTH AMBOY             NJ   08879‐1558
MICHAEL BUEHLMANN               3583 TIMOTHY LN                                                                            EAST AURORA             NY   14052‐9640
MICHAEL BUERGER                 3959 MAPLELEAF RD                                                                          WATERFORD               MI   48328‐4058
MICHAEL BUETTNER                513 COZY LN                                                                                BRANSON                 MO   65616‐9693
MICHAEL BUKAWESKI               5875 PIERCE RD                                                                             FREELAND                MI   48623‐9035
MICHAEL BUKOVCHIK               16284 HILLTOP DR                                                                           LINDEN                  MI   48451‐8782
MICHAEL BUKOWSKI                522 HECHT DR                                                                               MADISON HTS             MI   48071‐2854
MICHAEL BULLARD                 6295 E COLDWATER RD                                                                        FLINT                   MI   48506‐1211
MICHAEL BULLINGER               9407 FAIR LN                                                                               FREELAND                MI   48623‐8812
MICHAEL BULLOCK                 PO BOX 1122                                                                                SAINT PETERS            MO   63376‐0019
MICHAEL BULLY                   6371 N ELMS RD                                                                             FLUSHING                MI   48433‐9002
MICHAEL BUNDY                   8072 N MCKINLEY RD                                                                         FLUSHING                MI   48433‐8801
MICHAEL BUNKER                  20 POND VIEW DR                                                                            SAGINAW                 MI   48609‐5142
MICHAEL BUNSICK                 13 OAKWOOD DR                                                                              PARLIN                  NJ   00059‐2105
MICHAEL BUNTE & DORIS BUNTE     C/O MICHAEL BUNTE               TORNEIWEG 10                       23568 LUEBECK GERMANY
MICHAEL BUNTE AND DORIS BUNTE   TORNEIWEG 10                                                                               23568 LUEBECK GERMANY
MICHAEL BUONODONO               641 HUME BLVD                                                                              LANSING                 MI   48917‐4247
MICHAEL BURASINSKI              268 MALLARD LN                                                                             CAPAC                   MI   48014‐3745
MICHAEL BURCH                   PO BOX 631                                                                                 ALPINE                  TX   79831‐0631
MICHAEL BURCH                   3359 SHILLELAGH DR                                                                         FLINT                   MI   48506‐2246
MICHAEL BURD                    3145 MARATHON RD                                                                           COLUMBIAVILLE           MI   48421‐8954
MICHAEL BURDEN II               4485 PEBBLE CREEK BLVD                                                                     GRAND BLANC             MI   48439‐9069
MICHAEL BURDETTE                2258 E TOBIAS RD                                                                           CLIO                    MI   48420‐7949
MICHAEL BURDICK                 8379 BEACON LN                                                                             NORTHVILLE              MI   48168‐9469
MICHAEL BURDIS                  870 CLINE PETTY WAY                                                                        LAWRENCEVILLE           GA   30043‐6719
MICHAEL BURGDORF                1450 RUBY ANN DRIVE                                                                        SAGINAW                 MI   48601‐9762
MICHAEL BURGE                   PO BOX 574                                                                                 ROANOKE                 IN   46783‐0574
MICHAEL BURGESS                 4043 SKELTON RD                                                                            COLUMBIAVILLE           MI   48421‐9753
MICHAEL BURGESS                 5888 BULLARD RD                                                                            FENTON                  MI   48430‐9410
MICHAEL BURGETT                 3438 E MOUNT MORRIS RD APT 1                                                               MOUNT MORRIS            MI   48458‐8729
MICHAEL BURICH                  10844 OWL CREEK DR                                                                         FORT WORTH              TX   76179‐6827
MICHAEL BURK                    3100 MITCHELL WEAVER RD                                                                    SCOTTSVILLE             KY   42164‐9663
MICHAEL BURK                    4369 N WEST DR                                                                             QUINCY                  IN   47456‐9403
MICHAEL BURKE                   15531 CALYPSO LN                                                                           ORLAND PARK             IL   60462‐5111
MICHAEL BURKE                   7409 NW KERNS DR                                                                           WEATHERBY LAKE          MO   64152‐1742
MICHAEL BURKE                   26 DALBERT ST TRLR H1                                                                      CARTERET                NJ   07008‐1422
MICHAEL BURKE                   126 MONET AVENUE                                                                           WHITE LAKE              MI   48383‐3721
MICHAEL BURKE                   2939 YALE DR                                                                               JANESVILLE              WI   53548‐2796
MICHAEL BURKE                   3749 LAURIA RD                                                                             BAY CITY                MI   48706‐8113
MICHAEL BURKE                   164 ORCHARD ST                                                                             CHELSEA                 MI   48118‐1052
MICHAEL BURKE                   P0 BOX 2461                                                                                NAPLES                  FL   34106
MICHAEL BURKE                   13802 PARADISE CHURCH RD                                                                   HAGERSTOWN              MD   21742‐2428
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Name                  Address1                        Address2            Address3         Address4         City              State Zip
MICHAEL BURKE         1043 LEISURE DR                                                                       FLINT              MI 48507‐4058
MICHAEL BURKETT       1767 STATE ROUTE 603                                                                  MANSFIELD          OH 44903‐8718
MICHAEL BURKEY        570 OLD STAGE RD                                                                      DANDRIDGE          TN 37725‐4202
MICHAEL BURLESON      4835 PYLES RD                                                                         CHAPEL HILL        TN 37034‐2657
MICHAEL BURLEY        8422 RIDGE RD                                                                         GASPORT            NY 14067‐9415
MICHAEL BURLISON      2343 OVERRIDGE AVE                                                                    WATERFORD          MI 48327‐1151
MICHAEL BURNETT       1241 COUNTY ROUTE 37                                                                  MASSENA            NY 13662‐3331
MICHAEL BURNETT       17250 LENORE                                                                          DETROIT            MI 48219‐3693
MICHAEL BURNETT       5295 TWIN CT                                                                          GRAND BLANC        MI 48439‐5141
MICHAEL BURNHAM       6679 NICHOLSON HILL RD                                                                HUBBARD LAKE       MI 49747‐9510
MICHAEL BURNS         305 JADE DR                                                                           YORKTOWN           IN 47396‐9264
MICHAEL BURNS         1624 BERKELEY DR                                                                      LANSING            MI 48910‐1125
MICHAEL BURNS         150 CREEKWOOD CIRCLE                                                                  LINDEN             MI 48451‐8935
MICHAEL BURNS         7287 HORIZON DR                                                                       WEST PALM BEACH    FL 33412‐3027
MICHAEL BUROW         W6064 RIESS RD                                                                        JEFFERSON          WI 53549‐9401
MICHAEL BURR          PO BOX 264                                                                            LUZERNE            MI 48636‐0264
MICHAEL BURRELL       PO BOX 662                                                                            WILLIS             MI 48191‐0662
MICHAEL BURRIER       1466 TIMOTHY ST                                                                       SAGINAW            MI 48638‐6504
MICHAEL BURROWS       19933 BALMORAL DR                                                                     MACOMB             MI 48044‐2846
MICHAEL BURSON        18191 N NUNNELEY RD                                                                   CLINTON TWP        MI 48036‐3617
MICHAEL BURTON        2255 TAMARACK ST                                                                      LAKE ODESSA        MI 48849‐9500
MICHAEL BURTON        6177 CREEKSIDE CT                                                                     GRAND BLANC        MI 48439‐7445
MICHAEL BURTON        16080 HARVEST SPRING LN                                                               MACOMB             MI 48042‐2344
MICHAEL BURTON        2801 W OLIVER DR                                                                      MUNCIE             IN 47302‐2059
MICHAEL BURTON        6309 LABOR LN                                                                         LOUISVILLE         KY 40291‐2369
MICHAEL BURZENSKI     3076 GRETCHEN DR NE                                                                   WARREN             OH 44483‐2951
MICHAEL BUSCHOR       35 W BRUCE AVE                                                                        DAYTON             OH 45405‐2715
MICHAEL BUSH          4414 CLOVERLAWN DR                                                                    FLINT              MI 48504‐2056
MICHAEL BUSH          5797 CREEK RD                                                                         ANDOVER            OH 44003‐9749
MICHAEL BUSH          107 JEWELL AVE                                                                        SMYRNA             TN 37167‐4170
MICHAEL BUSH          103 GINGER PL                                                                         RUIDOSO            NM 88345‐9447
MICHAEL BUSH          11300 EVERGREEN TRL                                                                   EATON RAPIDS       MI 48827‐8209
MICHAEL BUSH          7574 MESTER RD                                                                        CHELSEA            MI 48118‐9519
MICHAEL BUSHMAN       6322 S FRIEGEL RD                                                                     OWOSSO             MI 48867‐9263
MICHAEL BUSSELL       1420 CORVETTE AVE                                                                     SEBRING            FL 33872‐2928
MICHAEL BUSSIE        4793 E LOOP 820 S TRLR 39                                                             FORT WORTH         TX 76119‐5424
MICHAEL BUTKA JR      110 LAURELTON LN                                                                      CROSSVILLE         TN 38558‐2692
MICHAEL BUTLER        1032 SUNSHINE CT                                                                      GRAFTON            OH 44044‐1426
MICHAEL BUTLER        4500 SUNSET AVE                                                                       LOUISVILLE         KY 40211
MICHAEL BUTLER        5095 RICCI CT                                                                         ELLENWOOD          GA 30294‐3692
MICHAEL BUTLER        104 WILLOW CREEK CIR                                                                  MANSFIELD          TX 76063‐4919
MICHAEL BUTLER        3324 JONIS CIR                                                                        LANSING            MI 48906‐2461
MICHAEL BUTLER        2212 SHADY MEADOW CT                                                                  ARLINGTON          TX 76013‐5702
MICHAEL BUTLER        3310 LUDWIG RD                                                                        OXFORD             MI 48371‐1409
MICHAEL BUTTERWORTH   302 PINYAN LN                                                                         CANTON             GA 30115‐6558
MICHAEL BUTTS         6221 CALKINS RD                                                                       FLINT              MI 48532‐3205
MICHAEL BUTZIN        3606 COTTAGE GROVE CT                                                                 SAGINAW            MI 48604‐9525
MICHAEL BUYTAS        2531 LISA DR                                                                          COLUMBIAVILLE      MI 48421‐8910
MICHAEL BYBERG        4795 W STEVENSON LAKE RD                                                              LAKE               MI 48632‐9626
MICHAEL BYCE          5180 WILLOW CREST AVE                                                                 YOUNGSTOWN         OH 44515‐3954
MICHAEL BYERS         PO BOX 265                                                                            ROSCOMMON          MI 48653‐0265
MICHAEL BYERS         1404 6TH AVE                                                                          WOODLYN            PA 19094‐1115
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Name                   Address1                           Address2             Address3      Address4         City              State Zip
MICHAEL BYERS          716 S SHELDON ST                                                                       CHARLOTTE          MI 48813‐2156
MICHAEL BYERS          8381 LANMARK DR                                                                        MENTOR             OH 44060‐2430
MICHAEL BYLE           36 EAGLE POINT DR                                                                      NEWTON FALLS       OH 44444‐1289
MICHAEL BYRD           5120 CONNORS LN                                                                        HIGHLAND           MI 48356‐1514
MICHAEL BYRD           213 PINE LAKE DR                                                                       HAUGHTON           LA 71037‐9511
MICHAEL BYRD           15655 GOLDWIN PL                                                                       SOUTHFIELD         MI 48075‐2108
MICHAEL BYRNE          8629 N CLEAR CREEK RD                                                                  HUNTINGTON         IN 46750‐9739
MICHAEL BYTNER         23659 COLONIAL RD                                                                      ARMADA             MI 48005‐3348
MICHAEL BZDOK          1300 ERIN WAY                                                                          LAKE ORION         MI 48362‐2418
MICHAEL C ALEXANDER    1176 HERBERICH AVE                                                                     AKRON              OH 44301
MICHAEL C ALSIP        502 E WALNUT ST                                                                        BRADFORD           OH 45308‐9428
MICHAEL C ARNETT       5508 WACO AVE                                                                          W. CARROLLTON      OH 45449
MICHAEL C ARNETT       1978 CAMPUS DRIVE                                                                      FAIRBORN           OH 45324
MICHAEL C BADER        2651 PENTLEY PL.                                                                       KETTERING          OH 45429
MICHAEL C BANGERT      20 BROADCREST RD                                                                       FRANKLYN           OH 45005‐4596
MICHAEL C BASS         1101 LARONA RD                                                                         TROTWOOD           OH 45426‐2574
MICHAEL C BISHOP       9627 STEPHENSON RD                                                                     ONSTED             MI 49265‐9322
MICHAEL C BLANCHETTE   PO BOX 1047                                                                            SLATERSVILLE        RI 02876‐0897
MICHAEL C BURLEY       8422 RIDGE RD                                                                          GASPORT            NY 14067‐9415
MICHAEL C BUTLER       4500 SUNSET AVE                                                                        LOUISVILLE         KY 40211
MICHAEL C CAYLEY       6216 LAKE DR                                                                           YPSILANTI          MI 48197‐7054
MICHAEL C COE          3560 WOODBINE AVE SE                                                                   WARREN             OH 44484
MICHAEL C COUCH        2839 COVINGTON CIRCLE                                                                  SHREVEPORT         LA 71106
MICHAEL C COX          700 GEORGIA DR                                                                         DAYTON             OH 45404‐2334
MICHAEL C CREAR        115 BENNETT AVE #42B                                                                   NEW YORK           NY 10033‐2317
MICHAEL C DAVENPORT    1815 N CROSS LAKES CIR APT E                                                           ANDERSON           IN 46012‐4959
MICHAEL C DEVORCHIK    287 RASPBERRY ROAD                                                                     LEOLA              PA 17540‐2215
MICHAEL C DI MASSA     220 LAS LOMAS DR.                                                                      LA HABRA           CA 90631‐7102
MICHAEL C DIGGS        3306 S LEAVITT ST                                                                      CHICAGO             IL 60608‐6019
MICHAEL C DOSSIER      2761 RIDGEWAY AVE                                                                      ROCHESTER          NY 14626‐4210
MICHAEL C FAZIANI      127 ANN MARIE DR                                                                       MONROE             MI 48162‐3287
MICHAEL C FLANNERY     4511 POPLAR CREEK RD                                                                   VANDALIA           OH 45377
MICHAEL C FOX          25433 FOUNTAIN PARK DR E APT 108                                                       NOVI               MI 48375‐2537
MICHAEL C FURL         120 COMMONS AVENUE                                                                     ENGLEWOOD          OH 45322‐2301
MICHAEL C GLASCO       MOTLEY RICE LLC                    28 BRIDGESIDE BLVD   PO BOX 1792                    MT PLEASANT        SC 29465
MICHAEL C GONCHOROFF   5474 PARVIEW DR APT 2                                                                  CLARKSTON          MI 48346
MICHAEL C HALCOMB      8107 OLD GATE RD                                                                       LOUISVILLE         KY 40241
MICHAEL C HALE         7326 W FARRAND RD                                                                      CLIO               MI 48420‐9451
MICHAEL C HAMMAN       7307 NW 75TH TER                                                                       KANSAS CITY        MO 64152‐1782
MICHAEL C HITCHCOCK    223 N HIGH ST                                                                          YELLOW SPGS        OH 45387‐2007
MICHAEL C HOFFMAN      1860 CLEMMENS N.W.                                                                     WARREN             OH 44485‐2110
MICHAEL C HOUSTON      708 BRADFIELD DR                                                                       TROTWOOD           OH 45426
MICHAEL C HUGHES       523 IMO DR APT #4                                                                      DAYTON             OH 45405
MICHAEL C IRETON       1070 BBERYL TRL                                                                        DAYTON             OH 45439‐3965
MICHAEL C KARPIE       841 HOLMDEL ROAD                                                                       HOLMDEL            NJ 07733‐2067
MICHAEL C KEENAN       11‐C EDGEWATER PARK                                                                    BRONX              NY 10465‐3506
MICHAEL C KELLY        6638 DEPOT RD                                                                          LISBON             OH 44432‐9452
MICHAEL C KERN         4601 GOLDEN PALOMINO LN                                                                NORTH LAS VEGAS    NV 89032‐2435
MICHAEL C LAMMACCHIA   12245 CARY ROAD                                                                        ALDEN              NY 14004‐8806
MICHAEL C LUCE         3097 PATSIE DR                                                                         BEAVERCREEK        OH 45434
MICHAEL C MALONE       1684 HUMPHREY                                                                          DAYTON             OH 45410
MICHAEL C MCLAUGHLIN   7254 COOK JONES RD                                                                     WAYNESVILLE        OH 45068
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Name                                 Address1                         Address2                     Address3              Address4         City             State Zip
MICHAEL C MILLS                      1609 BURTON ST SE                                                                                    GRAND RAPIDS      MI 49506‐4418
MICHAEL C MORRIS                     3125 SUTTON AVE                                                                                      DAYTON            OH 45429
MICHAEL C NAPOLI                     1226 LIBERTY AVE                                                                                     BROOKLYN          NY 11208
MICHAEL C NOGAS
MICHAEL C OGDEN                      1721 TUTTLE AVE.                                                                                     DAYTON           OH   45403
MICHAEL C OGLE                       906 ALHAMBRA DR                                                                                      ANDERSON         IN   46012‐4221
MICHAEL C PALMER                     125 WA WEE NORK                  5B                                                                  BATTLE CREEK     MI   49015
MICHAEL C PEITZ                      72 MEETING HOUSE RD                                                                                  CENTERVILLE      OH   45459
MICHAEL C PERKINS                    906 STANLEY ST                                                                                       MIDDLETOWN       OH   45044‐4747
MICHAEL C PREMO                      3393 S BELSAY RD                                                                                     BURTON           MI   48519‐1623
MICHAEL C PUTMAN                     11701 MERIDIAN LINE RD                                                                               JOHANNESBURG     MI   49751‐9404
MICHAEL C RAGOZINE                   26 NAVAJO TRL                                                                                        GIRARD           OH   44420‐3631
MICHAEL C RANTTILA                   117 VINE TREE PL                                                                                     CORTLAND         OH   44410
MICHAEL C REYNOLDS                   1207 ACORN DRIVE                                                                                     DAYTON           OH   45419
MICHAEL C SAGAR TTEE                 SHARON A SAGAR TTEE              SAGAR TRUST DTD 09‐6‐96      1286 TEMPLE TERRACE                    LAGUNA BEACH     CA   92651‐2962
MICHAEL C SCHWEGMAN                  2969 #306 COUNTRY DR                                                                                 LITTLE CANADA    MN   55117‐1015
MICHAEL C SMITH                      113 W FAIRMOUNT AVE                                                                                  PONTIAC          MI   48340‐2737
MICHAEL C STOKES IRR TRST & JAMI S   1351 BIG BEN DR                                                                                      HERNANDO         MS   38632
RISHER
MICHAEL C STUMPF                     141 E RITTER STREET                                                                                  SEVEN MILE       OH   45062
MICHAEL C TERLECKI                   4032 SHELBOURNE DR.                                                                                  YOUNGSTOWN       OH   44511
MICHAEL C TIPTON                     238 S CHURCH ST                                                                                      NEW LEBANON      OH   45345
MICHAEL C UHRAIN                     890 BRISTOL CHAMP TOWN LINE                                                                          BRISTOLVILLE     OH   44402
MICHAEL C VAN KEIRSBELK              1747 DETROIT ST.                                                                                     NORCO            CA   92860‐‐ 12
MICHAEL C WAGERS                     1660 E LOWER SPRINGBORO RD                                                                           WAYNESVILLE      OH   45068‐9353
MICHAEL C WAIBEL                     2816 WILLIAM FLYNN HIGHWAY                                                                           SLIPPERY ROCK    PA   16057
MICHAEL C WASSOUF                    2228 LADUE LN                                                                                        FORT WAYNE       IN   46804‐2794
MICHAEL C WILLIAMS                   7535 TROPHY CLUB DR N                                                                                INDIANAPOLIS     IN   46214‐4052
MICHAEL C WYNN                       288 FITZPATRICK ST                                                                                   HILLSIDE         NJ   07205‐2126
MICHAEL C YACKS                      303 BELMONT DR                                                                                       MARSHALL         TX   75672‐2277
MICHAEL C YANG TTEE                  6817 ALTAMOR DRIVE                                                                                   LOS ANGELES      CA   90045
MICHAEL C ZULLO                      39 HIGHWOOD ROAD                                                                                     SOMERSET         NJ   08873‐1834
MICHAEL C ZYDYK                      884‐B SODOM HITCHINS             PO BOX 605                                                          VIENNA           OH   44473
MICHAEL C. DOUGHERTY
MICHAEL CACIOPPO                     1623 MARIETTA DR                                                                                     FORT WAYNE       IN   46804‐5723
MICHAEL CACKOVIC                     11344 W CALLA RD                                                                                     SALEM            OH   44460‐9632
MICHAEL CADILLAC, INC.               MICHAEL ROSVOLD                  5737 N BLACKSTONE AVE                                               FRESNO           CA   93710‐5005
MICHAEL CADY                         7107 E HILL RD                                                                                       GRAND BLANC      MI   48439‐9169
MICHAEL CAESAR                       311 W BERRY AVE                                                                                      LANSING          MI   48910‐2908
MICHAEL CAFINI                       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                          BOSTON HEIGHTS   OH   44236
MICHAEL CAGLE                        463 LAFAYETTE RD                                                                                     MEDINA           OH   44256‐2361
MICHAEL CAGLE                        6235 PONTIAC LAKE RD                                                                                 WATERFORD        MI   48327‐1853
MICHAEL CAIN                         2561 NARROW LAKE RD                                                                                  CHARLOTTE        MI   48813‐8116
MICHAEL CAIN                         4050 FARREL RD                                                                                       HASTINGS         MI   49058‐8469
MICHAEL CAIN                         524 WYNDHAM HALL LN                                                                                  FARRAGUT         TN   37934‐2613
MICHAEL CAIN                         4234 SWAFFER RD                                                                                      VASSAR           MI   48768‐9287
MICHAEL CALABRESE                    1021 PORTSMERE CT                                                                                    NORTHVILLE       MI   48167‐1073
MICHAEL CALAVANO                     321 LAKE SHORE DR                                                                                    BRICK            NJ   08723‐6013
MICHAEL CALCAGNO                     28093 CANNON DR                                                                                      SUN CITY         CA   92585‐3910
MICHAEL CALDARELLI                   93 CLEARWATER CIR                                                                                    ROCHESTER        NY   14612‐3090
MICHAEL CALDWELL                     2536 MUNDALE AVE                                                                                     DAYTON           OH   45420‐2330
MICHAEL CALDWELL                     4800 BURNSIDE RD                                                                                     NORTH BRANCH     MI   48461‐8940
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Name                  Address1                            Address2               Address3   Address4         City               State Zip
MICHAEL CALDWELL      11131 TITUS AVE NW                                                                     UNIONTOWN           OH 44685‐8509
MICHAEL CALHOUN       7700 GRANDMONT AVE                                                                     DETROIT             MI 48228‐3627
MICHAEL CALHOUN       853 NIMBLEWILL CHURCH RD                                                               DAHLONEGA           GA 30533‐3726
MICHAEL CALHOUN       856 LINCOLN AVE                                                                        NILES               OH 44446‐3169
MICHAEL CALICCHIO     528 WINNING DR                                                                         COLUMBIA            TN 38401‐7004
MICHAEL CALL          416 E CHURCH ST                                                                        BRAZIL              IN 47834‐2205
MICHAEL CALLADINE     6496 BOWLING GREEN RD                                                                  SCOTTSVILLE         KY 42164‐9686
MICHAEL CALLAHAN      354 W BROADWAY ST                                                                      DANVILLE            IN 46122‐1602
MICHAEL CALLAHAN      5474 GEORGE ST                                                                         SAGINAW             MI 48603‐3661
MICHAEL CALLAWAY      104 SHEPHERD LN                                                                        LINCOLN UNIV        PA 19352‐9304
MICHAEL CALLEJA       3469 CINNAMON DR                                                                       LAKE HAVASU CITY    AZ 86406‐6324
MICHAEL CALLEN        574 SUNSET ST                                                                          PLYMOUTH            MI 48170‐1013
MICHAEL CALLENTINE    PO BOX 457                                                                             BYRON               MI 48418‐0457
MICHAEL CALVARUSO     1100 WALSH ST SE                                                                       GRAND RAPIDS        MI 49507‐3903
MICHAEL CALVERT       4208 E PLEASANT RUN PARKWAY NORTH                                                      INDIANAPOLIS        IN 46201‐4529
                      DR
MICHAEL CALVERT       PO BOX 221                                                                             MARKLEVILLE        IN   46056‐0221
MICHAEL CALVERT       11235 WOODBURN ALLEN SPRINGS RD                                                        ALVATON            KY   42122‐9641
MICHAEL CALVERT       3100 S 46TH ST                                                                         KANSAS CITY        KS   66106‐3734
MICHAEL CALVERT       1313 HIGHWAY E                                                                         SILEX              MO   63377‐2438
MICHAEL CAMARGO       1817 KENDRICK ST                                                                       SAGINAW            MI   48602‐1185
MICHAEL CAMBIANO      517 NW 65TH TER                                                                        KANSAS CITY        MO   64118‐3212
MICHAEL CAMERON       51851 ADLER PARK DR EAST                                                               CHESTERFIELD TWP   MI   48051
MICHAEL CAMP          2232 DUNHILL WAY CT                                                                    CHESTERFIELD       MO   63005‐4511
MICHAEL CAMP          858 OLIVE ST                                                                           OXFORD             MI   48371‐5067
MICHAEL CAMPAGNA      PO BOX 573                                                                             LANCASTER          NY   14086‐0573
MICHAEL CAMPAGNA      23088 WELLINGTON AVE                                                                   WARREN             MI   48089‐2227
MICHAEL CAMPANA       PO BOX 8909                                                                            TURNERSVILLE       NJ   08012‐8909
MICHAEL CAMPANELLA    24 GREENLEAF AVE                                                                       TONAWANDA          NY   14150‐8313
MICHAEL CAMPAU        25945 FRANCES LN                                                                       NEW BOSTON         MI   48164‐9176
MICHAEL CAMPBELL      603 W MAPLEHURST ST                                                                    FERNDALE           MI   48220‐1290
MICHAEL CAMPBELL      4815 CLARKSTON RD                                                                      CLARKSTON          MI   48348‐3865
MICHAEL CAMPBELL      2316 GREGORY LN                                                                        ANDERSON           IN   46012‐9440
MICHAEL CAMPBELL      278 STATE PARK DR                                                                      BAY CITY           MI   48706‐1761
MICHAEL CAMPBELL      4117 SHERWOOD RD                                                                       ORTONVILLE         MI   48462‐9207
MICHAEL CAMPBELL      8373 GALE RD                                                                           OTISVILLE          MI   48463‐8405
MICHAEL CAMPBELL      2734 OXFORD AVE                                                                        DAYTON             OH   45406‐4336
MICHAEL CAMPBELL SR   335 WISE RD                                                                            SPRINGHILL         LA   71075‐4742
MICHAEL CANCE         4434 HAPPY HOLLOW ST SW                                                                GRANDVILLE         MI   49418‐9623
MICHAEL CANNAZZARO    8555 TIPSICO LAKE RD                                                                   HOLLY              MI   48442‐9193
MICHAEL CANNON        105 FLORIDA LN                                                                         CRESCENT CITY      FL   32112‐4825
MICHAEL CANNON        6243 CREEKSIDE CIR                                                                     YPSILANTI          MI   48197‐9485
MICHAEL CANNON I I    6178 W MOUNT MORRIS RD                                                                 MOUNT MORRIS       MI   48458‐9331
MICHAEL CANTRELL      4876 LAKEWOOD DR                                                                       ACWORTH            GA   30101‐4827
MICHAEL CANTRELL      1122 FAIRWAYS BLVD                                                                     TROY               MI   48085‐6110
MICHAEL CANTU
MICHAEL CAPAZZI       3467 PINEMONT DR                                                                       DOUGLASVILLE       GA   30135
MICHAEL CAPERTON      2399 RAILROAD BED RD                                                                   IRON CITY          TN   38463‐5741
MICHAEL CAPUTO        320 PHEASANT DR                                                                        MIDDLETOWN         DE   19709‐9201
MICHAEL CARAM         2917 RIDGEWOOD DR                                                                      HURST              TX   76054‐2107
MICHAEL CARBAJAL      APT 2208                            4170 LA VALSE STREET                               GRAND PRAIRIE      TX   75052‐0250
MICHAEL CARBERY       75230 CRYDERMAN RD                                                                     RICHMOND           MI   48062‐3228
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Name                 Address1                             Address2                      Address3     Address4         City              State Zip
MICHAEL CARD         7001 N OAK TRFY                                                                                  GLADSTONE          MO 64118‐2512
MICHAEL CARDELEIN    2224 BEARS DEN RD                                                                                YOUNGSTOWN         OH 44511‐1302
MICHAEL CARDILLI     39370 KING EDWARD CT                                                                             WILLOUGHBY         OH 44094‐7982
MICHAEL CARDWELL     46 NE 69 HWY APT A                                                                               CLAYCOMO           MO 64119
MICHAEL CARL         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES STREET      22ND FLOOR                    BALTIMORE          MD 21201

MICHAEL CARLETON     4035 HARTLAND RD                                                                                 HARTLAND          MI   48353‐1005
MICHAEL CARLIN       4781 MEYER RD                                                                                    N TONAWANDA       NY   14120‐9514
MICHAEL CARLSON      27119 DARTMOUTH ST                                                                               MADISON HEIGHTS   MI   48071‐3266
MICHAEL CARLSON      725 MEADOWVIEW LN                                                                                LANSING           MI   48917‐4204
MICHAEL CARLSON      2958 N HORSESHOE DR SW                                                                           WYOMING           MI   49418‐9728
MICHAEL CARLTON      11548 FENNER RD                                                                                  PERRY             MI   48872‐8749
MICHAEL CARMAN       PO BOX 9022                                                                                      WARREN            MI   48090‐9022
MICHAEL CARMICHAEL   2305 NEWMAN ST                                                                                   JANESVILLE        WI   53545‐1252
MICHAEL CARMODY      PO BOX 8046                                                                                      CARLISLE          OH   45005‐8046
MICHAEL CARMODY      3801 AVERY RD                                                                                    SAINT JOHNS       MI   48879‐8011
MICHAEL CARNES       5909 CLOVERLAWN DR                                                                               FLINT             MI   48504‐7087
MICHAEL CARNEY       PO BOX 35                                                                                        AZALIA            MI   48110‐0035
MICHAEL CARPENTER    404 WINDING WAY                                                                                  FRANKTON          IN   46044‐9631
MICHAEL CARPENTER    3366 VELDON ST                                                                                   FLINT             MI   48504‐2432
MICHAEL CARPENTER    5570 GENESEE RD                                                                                  LAPEER            MI   48446‐2748
MICHAEL CARPENTER    1154 HARDING DR                                                                                  FLINT             MI   48507‐4250
MICHAEL CARPENTER    1362 GLENWOOD DR                                                                                 TROY              MI   48083‐5307
MICHAEL CARPENTER    3343 TALBERT CIR                                                                                 ROCHESTER HILLS   MI   48307‐5078
MICHAEL CARPENTER    18303 BERKSHIRE DR                                                                               GREGORY           MI   48137‐9400
MICHAEL CARPENTER    332 E SAINT CLAIR ST                                                                             ROMEO             MI   48065‐5265
MICHAEL CARPENTER    1194 MAYFAIR DR                                                                                  MANSFIELD         OH   44905‐1645
MICHAEL CARPENTER    THE MADEKSHO LAW FIRM                8866 GULF FREEWAY SUITE 440                                 HOUSTON           TX   77017
MICHAEL CARPENTER    6718 ENGLISH RD                                                                                  SILVERWOOD        MI   48760‐9402
MICHAEL CARPENTER    1716 PRESTONWOOD DR                                                                              ARLINGTON         TX   76012‐5415
MICHAEL CARPER       1113 WALKER LAKE RD                                                                              MANSFIELD         OH   44906‐1934
MICHAEL CARR         3275 E LANSING RD                                                                                BANCROFT          MI   48414‐9793
MICHAEL CARR         6062 MCGUIRE RD                                                                                  FENTON            MI   48430‐9082
MICHAEL CARR         2645 LAKE POINT DR APT 1227                                                                      GRAND PRAIRIE     TX   75050‐0614
MICHAEL CARR         2134 RECTOR AVE                                                                                  DAYTON            OH   45414
MICHAEL CARRADINE    12403 AKRON CANFIELD RD                                                                          NORTH JACKSON     OH   44451‐9722
MICHAEL CARRERO      1580 FAYETTEVILLE DR                                                                             SPRING HILL       FL   34609‐4926
MICHAEL CARRICO      2050 MALCOM DR                                                                                   KETTERING         OH   45420‐3628
MICHAEL CARRIERE     6423 MELSHORE DR                                                                                 MENTOR            OH   44060‐2345
MICHAEL CARRIGAN     5753 N COUNTY ROAD 150 W                                                                         KOKOMO            IN   46901
MICHAEL CARRIGAN     5084 SHADY OAK TRL                                                                               FLINT             MI   48532‐2360
MICHAEL CARRITTI     328 PARKER LAKE DR                                                                               OXFORD            MI   48371‐5284
MICHAEL CARROLL      400 N STATE HIGHWAY 360 APT 1114                                                                 MANSFIELD         TX   76063‐3589
MICHAEL CARROLL      4714 RAYMOND AVE                                                                                 DEARBORN HTS      MI   48125‐3304
MICHAEL CARROLL      420 BEECHWOOD DR                                                                                 OSSIAN            IN   46777‐9054
MICHAEL CARROLL      10714 HOFFMAN RD                                                                                 FORT WAYNE        IN   46816‐9550
MICHAEL CARSON       1148 BEECHWOOD DR                                                                                GIRARD            OH   44420‐2106
MICHAEL CARSON       40 MCARTHUR CT                                                                                   ANDERSON          IN   46012‐1828
MICHAEL CARSTEN      309 N PERRY CREEK RD                                                                             MIO               MI   48647
MICHAEL CARSTENSEN   18870 S FENMORE RD                                                                               ELSIE             MI   48831‐9239
MICHAEL CARTER       123 E MAPLE ST                                                                                   SAINT CHARLES     MI   48655‐1301
MICHAEL CARTER       3621 ROSA PARKS BLVD                 APT 204                                                     DETROIT           MI   48208‐2724
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Name                 Address1                         Address2                     Address3   Address4         City              State Zip
MICHAEL CARTER       1822 EMBERWOOD CIR                                                                        BOSSIER CITY       LA 71111‐5159
MICHAEL CARTER       902 MARKEY PL                                                                             BELTON             MO 64012‐1768
MICHAEL CARTER       22286 ANTLER DR                                                                           NOVI               MI 48375‐4809
MICHAEL CARTER       6272 LAKE WALDON DR                                                                       CLARKSTON          MI 48346‐2282
MICHAEL CARTER       140 WINDING STREAM TRL                                                                    HAMPTON            GA 30228‐2039
MICHAEL CARTER       7449 WINDSOR HWY                                                                          DIMONDALE          MI 48821‐8740
MICHAEL CARTER       141 FOURTH ST                                                                             VERMONTVILLE       MI 49096‐9407
MICHAEL CARTER       3775 S 11 MILE RD                                                                         BRECKENRIDGE       MI 48615‐9654
MICHAEL CARTER       143 LINCOLN HLS                                                                           COATESVILLE        IN 46121‐8943
MICHAEL CARTER       7997 BIG BEND RD                                                                          MARTINSVILLE       IN 46151‐7869
MICHAEL CARTER       4395 GARRATT CT                                                                           SPARKS             NV 89436‐0642
MICHAEL CARTER       31 HORSTMAN LN                                                                            FOLEY              MO 63347‐2736
MICHAEL CARTIER      11463 WILLARD RD                                                                          MONTROSE           MI 48457‐9467
MICHAEL CARTMELL     649 SNOW LAKE DR                                                                          ASHLAND            MS 38603‐7309
MICHAEL CARTWRIGHT   179 N MARION ST                                                                           DAYTON             OH 45417‐2207
MICHAEL CARTWRIGHT   7835 MCGARY RD                                                                            NAPLES             NY 14512‐9152
MICHAEL CARTWRIGHT   2011 WIMBLEDON DRIVE                                                                      ARLINGTON          TX 76017‐2789
MICHAEL CARUANA      25 BLUEBIRD LANE                                                                          BUFFALO            NY 14228‐1023
MICHAEL CARUSO       28001 ELLIS CT                                                                            SAUGUS             CA 91350‐1955
MICHAEL CARUSO SR    328 GARY PLAYER DR                                                                        DAVENPORT          FL 33837‐5028
MICHAEL CARVER       3300 SOUTHWEST MEYER BOULEVARD                                                            BLUE SPRINGS       MO 64015‐8800
MICHAEL CARY         N2471 SHELDON ST                                                                          DARIEN             WI 53114‐1318
MICHAEL CASELLA      33 DREW PL                                                                                TONAWANDA          NY 14150‐6201
MICHAEL CASEY        9319 HILLS COVE DR                                                                        GOODRICH           MI 48438‐9407
MICHAEL CASEY        215 14TH AVE                                                                              SOUTH MILWAUKEE    WI 53172‐1110
MICHAEL CASEY        4370 ISLAND VIEW DR                                                                       FENTON             MI 48430‐9145
MICHAEL CASHMAN
MICHAEL CASSADA      1047 85TH ST                                                                              NIAGARA FALLS     NY   14304‐2419
MICHAEL CASSEL       3205 E WINWOOD DR                                                                         MUNCIE            IN   47303‐9485
MICHAEL CASSENS      727 W CAPITAL AVE                                                                         BELLEVUE          MI   49021‐1345
MICHAEL CASSENTI     759 MARKET ST                                                                             LOCKPORT          NY   14094‐2560
MICHAEL CASSIDY      529 SWANSON DR                                                                            LAWRENCEVILLE     GA   30043‐4537
MICHAEL CASSIE       9063 SNOW DRIFT LN                                                                        CORDOVA           TN   38016‐5367
MICHAEL CASTLE       12463 WABASH RD                                                                           MILAN             MI   48160‐9290
MICHAEL CASTLEMAN    18421 GROMEAUX RD                                                                         MONROEVILLE       IN   46773‐9746
MICHAEL CASTRO JR    3231 SCHOOLHOUSE DR                                                                       WATERFORD         MI   48329‐4332
MICHAEL CASWELL      7686 SHENANDOAH AVE                                                                       ALLEN PARK        MI   48101‐2481
MICHAEL CATES        426 E SEMINARY ST APT 1                                                                   CHARLOTTE         MI   48813‐1686
MICHAEL CATES        34452 PARKGROVE DR                                                                        WESTLAND          MI   48185‐1404
MICHAEL CATHELL      114 ASCOT CT                                                                              BEAR              DE   19701‐2364
MICHAEL CAUDLE       301 COMANCHE WALK                                                                         JOSHUA            TX   76058‐6213
MICHAEL CAULFIELD    2360 WISE RD                                                                              GRAND PRAIRIE     TX   75052‐0715
MICHAEL CAUSEY       7424 VALLEY CT                                                                            FORT WAYNE        IN   46815‐6554
MICHAEL CAVALIER     1681 KRONEN WAY                                                                           SOLVANG           CA   93463‐2155
MICHAEL CAVANAGH     685 MANSION ST                                                                            BRISTOL           PA   19007‐3843
MICHAEL CAVANAUGH    7 E GREEN LN                                                                              MILFORD           DE   19963‐3774
MICHAEL CAVARRETTA   6122 E PLAZA DR                                                                           BURTCHVILLE       MI   48059‐2588
MICHAEL CAVAZOS      6591 N BEECH DALY RD                                                                      DEARBORN HTS      MI   48127‐2021
MICHAEL CAVELLIER    5985 GLENNSHIRE CT                                                                        WEST CHESTER      OH   45069‐4933
MICHAEL CAVERLY      5670 N HUBBARD LAKE RD                                                                    SPRUCE            MI   48762‐9510
MICHAEL CAVERLY      19675 SKANEE RD                                                                           LANSE             MI   49946‐9030
MICHAEL CAWLEY       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH   44236
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Name                    Address1                       Address2                     Address3   Address4             City               State Zip
MICHAEL CEFARATTI       647 WALNUT DR                                                                               EUCLID              OH 44132‐2144
MICHAEL CELOTTO         728 RIDGECREST DR                                                                           FENTON              MI 48430‐4152
MICHAEL CENCARIK        1010 CARLA CT                                                                               ARLINGTON           TX 76014‐1358
MICHAEL CERNIGLIARO     3222 JUDY LN                                                                                SHREVEPORT          LA 71119‐3943
MICHAEL CERVANTES       399 N FAIRVIEW RD                                                                           WEST BRANCH         MI 48661‐9260
MICHAEL CHADDERDON      7826 S WALL LAKE DR                                                                         CLOVERDALE          MI 49035
MICHAEL CHAMARRO        331 N ANDERSON ST                                                                           LAKE ORION          MI 48362‐3207
MICHAEL CHAMBERLIN      6209 JESSICA CT                                                                             LIBERTY TOWNSHIP    OH 45044‐9153
MICHAEL CHAMBERS        BOX 317 CANOE BRANCH                                                                        CHAPMANVILLE        WV 25508
MICHAEL CHAMBERS        6825 W ELLER RD                                                                             BLOOMINGTON         IN 47403‐9104
MICHAEL CHAMBERS        2765 N LINCOLN RD                                                                           LUDINGTON           MI 49431‐9510
MICHAEL CHAMBERS        30 PONDRUN CIR                                                                              HAMILTON            OH 45013‐6326
MICHAEL CHAMBERS        BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                   BOSTON HEIGHTS      OH 44236
MICHAEL CHAMBLIN        195 PINECONE DR                                                                             SPRINGBORO          OH 45066‐9771
MICHAEL CHAMBORA        3469 MILEAR RD                                                                              CORTLAND            OH 44410‐9478
MICHAEL CHAMNESS        14401 E 1100 N                                                                              DUNKIRK             IN 47336‐9231
MICHAEL CHAN            6122 SAINT FRANCIS DR                                                                       SEVEN HILLS         OH 44131‐2869
MICHAEL CHANDLER        10221 US HIGHWAY 50 W                                                                       BEDFORD             IN 47421‐8324
MICHAEL CHANDLER        349 CLOVERVIEW LN                                                                           HOWELL              MI 48843‐7598
MICHAEL CHANEY          52381 BRYAN MICHAEL DR                                                                      MACOMB              MI 48042‐5628
MICHAEL CHANEY          PO BOX 1103                                                                                 DEFIANCE            OH 43512‐1103
MICHAEL CHANEY          767 CORTLAND STREET                                                                         PERTH AMBOY         NJ 08861
MICHAEL CHANGERI        8705 MORTON AVE                                                                             BROOKLYN            OH 44144‐2526
MICHAEL CHAPIE          3189 HUNTINGTON CIR S                                                                       WASHINGTON          MI 48094‐1169
MICHAEL CHAPIN          6 LARNARD ST                                                                                POTSDAM             NY 13676‐1104
MICHAEL CHAPIN          PO BOX 51                                                                                   FOSTORIA            MI 48435‐0051
MICHAEL CHAPMAN         4807 ENGLISH AVE                                                                            INDIANAPOLIS        IN 46201‐4710
MICHAEL CHAPMAN         1385 S CENTER RD                                                                            SAGINAW             MI 48638‐6321
MICHAEL CHAPMAN         BARBERS HILL FARM CAREBY RD    AUNBY                                   LINCOLNSHIRE GREAT
                                                                                               BRITAIN PE9 4EE
MICHAEL CHAPMAN         PO BOX 836                                                                                  LAPEER             MI   48446‐0836
MICHAEL CHAPMAN         26427 STATE ROUTE 281                                                                       DEFIANCE           OH   43512‐6781
MICHAEL CHAPPEL         384 NUTHATCH RD                                                                             ORTONVILLE         MI   48462‐8551
MICHAEL CHARBONNEAU     PO BOX 355                                                                                  LINWOOD            MI   48634‐0355
MICHAEL CHARLEBOIS      16847 PAUL REVERE LN                                                                        CLINTON TWP        MI   48035‐2378
MICHAEL CHARLES DIECK   PO BOX 433                                                                                  RIVERSIDE          PA   17868
MICHAEL CHARRON         21652 PINERY CEMETERY RD                                                                    SKANEE             MI   49962‐9016
MICHAEL CHASE           3370 KINGS CORNERS RD W                                                                     LEXINGTON          OH   44904‐9218
MICHAEL CHASTEEN        7501 17TH LN N                                                                              SAINT PETERSBURG   FL   33702‐4911
MICHAEL CHATTERSON      10528 N 100 E                                                                               ALEXANDRIA         IN   46001‐9031
MICHAEL CHAVEZ          1220 S SMITH RD                                                                             EATON RAPIDS       MI   48827‐9358
MICHAEL CHAVIS          PO BOX 1131                                                                                 BOWLING GREEN      KY   42102‐1131
MICHAEL CHEEKS          7235 WOODSTEAD CT APT 5                                                                     SAINT LOUIS        MO   63121‐2307
MICHAEL CHERNYAK        28425 LAKE PARK DR W                                                                        FARMINGTON HILLS   MI   48331‐3220
MICHAEL CHERRY          34322 BROOKSHIRE DR                                                                         STERLING HTS       MI   48312‐5614
MICHAEL CHERRY          8552 RATHBUN RD                                                                             BIRCH RUN          MI   48415‐8420
MICHAEL CHERRY          604 RUTH ST                                                                                 AUBURN             MI   48611‐9450
MICHAEL CHERRY          527 WINTERBERRY LANE                                                                        MYRTLE BEACH       SC   29579
MICHAEL CHERVENY I I    241 PLYMOUTH BEACH RD                                                                       INDIAN RIVER       MI   49749‐9774
MICHAEL CHESNEY         1700 MICHIGAN AVE                                                                           BAY CITY           MI   48708‐4914
MICHAEL CHESTER         2963 WHEAT VALLEY DR                                                                        HOWELL             MI   48843‐7059
MICHAEL CHETSKO         4839 S RACCOON RD                                                                           CANFIELD           OH   44406
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Name                   Address1                          Address2                   Address3                     Address4         City                 State Zip
MICHAEL CHEVROLET                                                                                                                 FRESNO                CA 93710
MICHAEL CHEVROLET      C\O MICHAEL JOHNSON               PO BOX 4240                                                              TROY                  MI 48099‐4240
MICHAEL CHEVROLET      PO BOX 4240                                                                                                TROY                  MI 48099‐4240
MICHAEL CHEVROLET      5737 N BLACKSTONE AVE                                                                                      FRESNO                CA 93710‐5005
MICHAEL CHIANG         2357 TWIN LAKES DR APT 1B                                                                                  YPSILANTI             MI 48197‐1469
MICHAEL CHIAPPETTA     329 LUZON AVENUE                                                                                           DEL MAR               CA 92014
MICHAEL CHIAVERINI     3010 MEMORY LANE                                                                                           MCKEESPORT            PA 15133‐2326
MICHAEL CHICHESTER     4130 MOHAWK AVE SW                                                                                         GRANDVILLE            MI 49418‐2449
MICHAEL CHILDERS       G4071 DOWDALL                                                                                              FLINT                 MI 48506
MICHAEL CHILDRES
MICHAEL CHILDRESS      1043 NORMANDY TERRACE DR                                                                                   FLINT                MI   48532‐3547
MICHAEL CHILDS         2628 CASTLE RD                                                                                             BURLESON             TX   76028‐1440
MICHAEL CHILL          2614 CRIPPLE CREEK DR                                                                                      SAINT LOUIS          MO   63129‐4915
MICHAEL CHILTON        2726 BERKLEY ST                                                                                            FLINT                MI   48504‐3313
MICHAEL CHIPKA         814 10TH ST                                                                                                SPARKS               NV   89431‐4404
MICHAEL CHIRCOP        4707 MOTORWAY DR                                                                                           WATERFORD            MI   48328‐3460
MICHAEL CHISM          3659 W 300 S                                                                                               MARION               IN   46953‐9728
MICHAEL CHITTENDEN     2338 BENT OAK AVE.                                                                                         ADRIAN               MI   49221
MICHAEL CHITTLE        G3249 AUGUSTA ST                                                                                           FLINT                MI   48532‐5107
MICHAEL CHLAN          10766 PALLISER BAY DR                                                                                      LAS VEGAS            NV   89141‐4225
MICHAEL CHMIELEWSKI    3 STABLE GATE CT                                                                                           PERRY HALL           MD   21128‐9685
MICHAEL CHMURA         38958 FAITH DR                                                                                             STERLING HTS         MI   48310‐2951
MICHAEL CHOBAN         11861 DOROTHA DR                                                                                           EATON RAPIDS         MI   48827‐8719
MICHAEL CHOMIK         311 WAHL RD                                                                                                ROCHESTER            NY   14609‐1810
MICHAEL CHOMIK         311 WAHL ROAD                                                                                              ROCHESTER            NY   14609‐1810
MICHAEL CHOP JR        1223 CLARK ST                                                                                              WHITE OAK            PA   15131‐2905
MICHAEL CHRISMAN       4592 CLINTON DR                                                                                            CLARKSTON            MI   48346‐3700
MICHAEL CHRISTIAN      PO BOX 21                                                                                                  ORTONVILLE           MI   48462‐0021
MICHAEL CHRISTIANSEN   5839 WILLIAMS LAKE RD                                                                                      WATERFORD            MI   48329‐3277
MICHAEL CHRISTIE       6 TAYLOR RD                                                                                                DOVER                NH   03820‐3659
MICHAEL CHRISTNER      1196 W WELLMAN LINE RD                                                                                     MELVIN               MI   48454‐9771
MICHAEL CHRISTOFF      9877 SPRINGFIELD RD                                                                                        POLAND               OH   44514‐3149
MICHAEL CHRISTOPHER    1146 BIRCHWOOD DR                                                                                          FLUSHING             MI   48433‐1486
MICHAEL CHRISTSEN      10750 CHESTNUT ST                                                                                          LOS ALAMIROS         CA   90720
MICHAEL CHRIVIA        8064 KENSINGTON BLVD APT 167                                                                               DAVISON              MI   48423‐2907
MICHAEL CHUCKRAN       37337 27 MILE RD                                                                                           LENOX                MI   48048‐2335
MICHAEL CHUDLEY        7512 ECHO LN                                                                                               LANSING              MI   48917‐9558
MICHAEL CHUDNOW        20201 ALGER ST                                                                                             SAINT CLAIR SHORES   MI   48080‐3709
MICHAEL CHUNN          39 S TASMANIA ST                                                                                           PONTIAC              MI   48342‐2853
MICHAEL CHURCHILL      6683 BRIARHILL DR NE                                                                                       WINTER HAVEN         FL   33881‐9525
MICHAEL CHURCHILL      10275 SOUTH 700 E‐92                                                                                       ROANOKE              IN   46783‐9210
MICHAEL CIAK           2029 SOUTHWYCK DR                                                                                          FLINT                MI   48507‐3923
MICHAEL CICALO         131 S WASHINGTON ST                                                                                        CHESANING            MI   48616‐1537
MICHAEL CICALO II      1271 BALDWIN RD                                                                                            FENTON               MI   48430‐9729
MICHAEL CICCARELLI
MICHAEL CIENKI         5115 NICHOLS RD                                                                                            SWARTZ CREEK         MI 48473‐8586
MICHAEL CIESLAK        27 MONTBLEU DR                                                                                             GETZVILLE            NY 14068‐1327
MICHAEL CIKARICH       ATTN: ROBERT W PHILLIPS           SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD, PO BOX                    EAST ALTON           IL 62024
                                                         ANGELIS & BARNERD LLC      521
MICHAEL CIRCELLO       916 NE 116TH TER                                                                                           KANSAS CITY          MO 64155‐1592
MICHAEL CIRINO         PO BOX 422                                                                                                 MILFORD              MI 48381‐0422
MICHAEL CISNEROZ       13626 DRONFIELD AVE               C/O JOHN F CISNEROZ                                                      SYLMAR               CA 91342‐1428
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Name                 Address1                           Address2            Address3         Address4         City              State Zip
MICHAEL CLAPP        12366 DOLLAR LAKE CT                                                                     FENTON             MI 48430‐9727
MICHAEL CLARK        4907 N 1350 E                                                                            CONVERSE           IN 46919
MICHAEL CLARK        6814 S COUNTY LINE RD                                                                    DURAND             MI 48429‐9461
MICHAEL CLARK        2283 REED ST                                                                             LANSING            MI 48911‐7203
MICHAEL CLARK        1055 WAVERLY RD                                                                          DIMONDALE          MI 48821‐9647
MICHAEL CLARK        8464 OLD ORCHARD RD SE                                                                   WARREN             OH 44484‐3047
MICHAEL CLARK        5001 HOAGLAND BLACKSTUB RD                                                               CORTLAND           OH 44410‐9519
MICHAEL CLARK        5 LARREL LN                                                                              WEST MILTON        OH 45383‐1104
MICHAEL CLARK        802 YORICK PATH                                                                          WIXOM              MI 48393‐4519
MICHAEL CLARK
MICHAEL CLARKSON     2420 E 38TH ST                                                                           ANDERSON          IN   46013‐2641
MICHAEL CLARY        1209 SHELBY AVE                                                                          ALEXANDRIA        IN   46001‐2546
MICHAEL CLARY        2248 LOST CREEK DR                                                                       FLUSHING          MI   48433‐9404
MICHAEL CLAUNCH      7570 E SPEEDWAY BLVD UNIT 452                                                            TUCSON            AZ   85710‐8845
MICHAEL CLAY         109 W MULBERRY ST                                                                        GEORGETOWN        IL   61846‐1832
MICHAEL CLAY         897 ELROD RD                                                                             BOWLING GREEN     KY   42104‐8531
MICHAEL CLAY         RT 7 BOX 104                                                                             JACKSON           MS   39209‐9807
MICHAEL CLAYTON      8900 SOUTH ST                                                                            SAINT HELEN       MI   48656
MICHAEL CLAYTON      237 REYNICK AVE                                                                          SAGINAW           MI   48602‐3154
MICHAEL CLEARY       3364 WALLINGFORD DR                                                                      GRAND BLANC       MI   48439‐7933
MICHAEL CLEES        1700 LOCHAVEN RD                                                                         WEST BLOOMFIELD   MI   48324‐3411
MICHAEL CLEGHORN     2496 E CHEROKEE DR                                                                       WOODSTOCK         GA   30188‐2035
MICHAEL CLEMENT      1233 E FRANCES RD                                                                        MOUNT MORRIS      MI   48458‐1103
MICHAEL CLEMENTS     406 W MILHON CENTER DR                                                                   MOORESVILLE       IN   46158‐6463
MICHAEL CLEMENTS     12588 CLINTONIA RD                                                                       PORTLAND          MI   48875‐9444
MICHAEL CLEMMER
MICHAEL CLEMONS      2360 GASPER SOMERS RD                                                                    CAMDEN            OH   45311‐8604
MICHAEL CLEMONS      2360 GASPER SOMERS RD                                                                    CAMDEN            OH   45311‐8604
MICHAEL CLEMONS      9807 CHARLESTON DR                                                                       SHREVEPORT        LA   71118‐4234
MICHAEL CLEMONS      2317 RASKOB ST                                                                           FLINT             MI   48504‐3495
MICHAEL CLEVENGER    PO BOX 495                                                                               DALEVILLE         IN   47334‐0495
MICHAEL CLIFFORD     5931 PARK RD                                                                             LEAVITTSBURG      OH   44430‐9448
MICHAEL CLINE        10820 SE 3RD ST                                                                          MIDWEST CITY      OK   73130‐5104
MICHAEL CLINE        19777 N 76TH ST APT 1253                                                                 SCOTTSDALE        AZ   85255‐3816
MICHAEL CLINE        1011 BEAL RD                                                                             MANSFIELD         OH   44905‐1609
MICHAEL CLOHERTY     22 VALLEY LN                                                                             CHAPPAQUA         NY   10514‐2003
MICHAEL CLOOS        20 IRONWOOD CT                                                                           ORCHARD PARK      NY   14127‐3403
MICHAEL CLOUGH       6022 W 112TH ST                                                                          GRANT             MI   49327‐8958
MICHAEL CLOUM        8092 MICHELLE LN                                                                         LAMBERTVILLE      MI   48144‐9581
MICHAEL CLOUSE       3200 BRAFORD DR                                                                          CROWLEY           TX   76036‐9734
MICHAEL CLOWE        8920 SUMMERFIELD RD                                                                      LAMBERTVILLE      MI   48144‐9762
MICHAEL CLYMORE      755 W EPLER AVE                                                                          INDIANAPOLIS      IN   46217‐3623
MICHAEL CMACH        4894 HEPBURN RD                                                                          SAGINAW           MI   48603‐2923
MICHAEL COALSON      10820 TIDWELL LOOP                                                                       BON AQUA          TN   37025‐2722
MICHAEL COBB         28 SILK OAK ST                                                                           LAKE PLACID       FL   33852‐5474
MICHAEL COBBETT      13823 KIMBALL RD                                                                         ALLENTON          MI   48002‐3323
MICHAEL COCHRAN      525 W CHESTNUT ST                                                                        GRAPELAND         TX   75844‐2343
MICHAEL COCHRAN DC   812 KENMORE AVE                                                                          BUFFALO           NY   14216‐1506
MICHAEL COCHRANE     3723 SHAMROCK DR                                                                         TOLEDO            OH   43615‐1227
MICHAEL COCHRANE     2297 PIERCE WAY                                                                          BUFORD            GA   30519‐2248
MICHAEL COCKRILL     1211 PARK CIRCLE DR                                                                      ANDERSON          IN   46012‐5600
MICHAEL COE          36 MAIN ST                                                                               DEFIANCE          OH   43512‐2312
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Name                 Address1                           Address2            Address3         Address4         City              State Zip
MICHAEL COE          3560 WOODBINE AVE SE                                                                     WARREN             OH 44484‐3434
MICHAEL COE          4306 ARBOR DR                                                                            OKEMOS             MI 48864‐3029
MICHAEL COFFEY       104 S PONTIAC DR                                                                         JANESVILLE         WI 53545‐2210
MICHAEL COFFMAN      2050 OLD FALLS DR                                                                        VANDALIA           OH 45377‐3207
MICHAEL COFFMAN      8325 GRENADA DR                                                                          INDIANAPOLIS       IN 46227‐8864
MICHAEL COFFRON      3085 REVERE DR                                                                           SAGINAW            MI 48603‐1632
MICHAEL COHN IRA     5602 N SCOTTSDALE RD                                                                     SCOTTSDALE         AZ 85253
MICHAEL COIN         1705 CEDAR HILL RD                                                                       KEITHVILLE         LA 71047‐9589
MICHAEL COLAPIETRO   834 CAMBRIDGE AVE                                                                        YOUNGSTOWN         OH 44502‐2523
MICHAEL COLAPIETRO   4504 189TH ST                                                                            FLUSHING           NY 11358‐3427
MICHAEL COLBERT      60643 EYSTER RD                                                                          ROCHESTER HILLS    MI 48306‐2023
MICHAEL COLBERT      4048 CALDERWOOD DR                                                                       SHREVEPORT         LA 71119‐7621
MICHAEL COLBY        6250 DENTON RD                                                                           BELLEVILLE         MI 48111‐5005
MICHAEL COLBY        13010 WARNER RD                                                                          PERRY              MI 48872‐9174
MICHAEL COLE         68 W GRAND LEDGE HWY                                                                     MULLIKEN           MI 48861‐9768
MICHAEL COLE         7959 E PASEO HERMOSO                                                                     PRESCOTT VALLEY    AZ 86314‐5513
MICHAEL COLE         7374 E COLDWATER RD                                                                      DAVISON            MI 48423‐8925
MICHAEL COLE         33 N FREMONT ST NE                                                                       ROCKFORD           MI 49341‐1207
MICHAEL COLE         9028 DEER CREEK RD                                                                       GREENTOWN          IN 46936‐9620
MICHAEL COLEGROVE    21325 24 MILE RD                                                                         MACOMB             MI 48042‐3117
MICHAEL COLEMAN      442 S RACCOON RD APT 15                                                                  AUSTINTOWN         OH 44515‐3603
MICHAEL COLEMAN      229 BROOKWOOD WAY N                                                                      MANSFIELD          OH 44906‐2469
MICHAEL COLEMAN      943 VINCENT CT                                                                           LANSING            MI 48910‐5114
MICHAEL COLEMAN      PO BOX 99                                                                                ELSIE              MI 48831‐0099
MICHAEL COLEMAN      RT 5 BOX 10                                                                              DONIPHAN           MO 63935
MICHAEL COLEMAN      1159 LEMPI DR                                                                            DAVISON            MI 48423‐2880
MICHAEL COLETTA      3126 ROLLING GREEN CIR S                                                                 ROCHESTER HILLS    MI 48309‐1252
MICHAEL COLEY        2304 SW 122ND ST                                                                         OKLAHOMA CITY      OK 73170‐4826
MICHAEL COLLARD      7504 RIDGE VALLEY DR                                                                     CLARKSTON          MI 48348‐4158
MICHAEL COLLERAN     44530 WHITE PINE CIR E                                                                   NORTHVILLE         MI 48168‐4350
MICHAEL COLLETTI     167 BETTERIDGE RD                                                                        CHURCHVILLE        NY 14428‐9560
MICHAEL COLLICA      25514 WALDORF ST                                                                         ROSEVILLE          MI 48066‐3928
MICHAEL COLLINO      313 PARE ST                                                                              CLAWSON            MI 48017‐2503
MICHAEL COLLINS      2484 HEMPSTEAD RD                                                                        AUBURN HILLS       MI 48326‐3410
MICHAEL COLLINS      270 UNION HILL RD                                                                        MANALAPAN          NJ 07726‐1863
MICHAEL COLLINS      1132 MAIN STREET                   PO BOX 9100‐124                                       BANDERA            TX 78003
MICHAEL COLLINS      3933 SCARBOROUGH DR                                                                      NEW HAVEN          IN 46774‐2711
MICHAEL COLLINS      10525 BEECH DALY ROAD                                                                    TAYLOR             MI 48180‐3146
MICHAEL COLLINS      1468 SCHAFER DR                                                                          BURTON             MI 48509‐1547
MICHAEL COLLUM       14401 STEEPLE RIDGE RD                                                                   OKLAHOMA CITY      OK 73150‐8451
MICHAEL COLOMBO      5224 APPLEWOOD DR                                                                        FLUSHING           MI 48433‐1193
MICHAEL COLON        10068 RUTH AVE                                                                           ALLEN PARK         MI 48101‐1379
MICHAEL COLONNA
MICHAEL COLQUITT     PO BOX 6889                                                                              MOORE             OK   73153‐0889
MICHAEL COLVILLE     17243 JADOR LN                                                                           FENTON            MI   48430‐8538
MICHAEL COMER        2365 GHENT AVE                                                                           KETTERING         OH   45420‐3447
MICHAEL COMER        2213 OAKBRANCH CIR                                                                       FRANKLIN          TN   37064‐7434
MICHAEL COMERFORD    702 WILLOWRIDGE DR                                                                       KOKOMO            IN   46901‐7043
MICHAEL COMPAGNONI   8066 CRANBERRY HILL RD                                                                   CLARKSTON         MI   48348‐4589
MICHAEL COMPARONI    2028 RIVA DEL GARDA PL                                                                   LAS VEGAS         NV   89134‐2564
MICHAEL COMPTON      14465 LEIPARD LN                                                                         PLATTE CITY       MO   64079‐9527
MICHAEL COMPTON      9045 LOTIE LN                                                                            DEXTER            MI   48130‐8500
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Name                    Address1                         Address2             Address3        Address4         City                 State Zip
MICHAEL CONANT          810 ALPINE CT                                                                          KISSIMMEE             FL 34758‐3401
MICHAEL CONAWAY         2141 BOON DOCK RD                                                                      AVINGER               TX 75630‐7561
MICHAEL CONGDON         4090 COLUMBIAVILLE RD                                                                  COLUMBIAVILLE         MI 48421‐9633
MICHAEL CONGER          13679 JACKSON RD                                                                       LAKE ODESSA           MI 48849‐9506
MICHAEL CONKLIN         12303 NEWMAN RD                                                                        BRIGHTON              MI 48114‐8114
MICHAEL CONN            4227 PEACE HAVEN LN                                                                    BATAVIA               OH 45103‐2016
MICHAEL CONNELLY        151 CYPRESS ST                                                                         ROCHESTER             NY 14620‐2301
MICHAEL CONNELLY        4634 W SALISBURY DR                                                                    GLADWIN               MI 48624‐8643
MICHAEL CONNELLY        2701 COURT LN S                                                                        HOWELL                MI 48843‐7588
MICHAEL CONNER          54765 SHADY CREEK DR                                                                   NEW BALTIMORE         MI 48047‐5546
MICHAEL CONNER SEARCY   C/O CONNER SEARCY                3835 STRATFORD AVE                                    DALLAS                TX 75205‐2815
MICHAEL CONNERS         6596 SLAYTON SETTLEMENT RD                                                             LOCKPORT              NY 14094‐1137
MICHAEL CONNOR          524 HIGHWAY FF                                                                         NAPOLEON              MO 64074‐7194
MICHAEL CONNOR          25151 DEQUINDRE RD LOT 38                                                              MADISON HTS           MI 48071‐4220
MICHAEL CONNORS         4312 MUNFORD GILTEDGE RD                                                               BRIGHTON              TN 38011‐6088
MICHAEL CONNORS         10 AUTUMN RIDGE RD                                                                     NEWTOWN               CT 06470‐1062
MICHAEL CONRAD          244 N COLONIAL DR                                                                      CORTLAND              OH 44410‐1167
MICHAEL CONRAD          13638 W MONTEBELLO AVE                                                                 LITCHFIELD PARK       AZ 85340‐8399
MICHAEL CONRAD          1404 E SCOTTWOOD AVE                                                                   BURTON                MI 48529‐1624
MICHAEL CONRAD          8544 RED LION 5 POINTS RD                                                              SPRINGBORO            OH 45066‐9605
MICHAEL CONSTANTINO     5872 TORREY PINES AVENUE                                                               WESTERVILLE           OH 43082‐9597
MICHAEL CONTI           50311 COLONIAL ST                                                                      CANTON                MI 48188‐6710
MICHAEL CONVERSO        298 SAGEWOOD TER                                                                       WILLIAMSVILLE         NY 14221‐3908
MICHAEL CONVIS          22740 CAROLINA ST                                                                      SAINT CLAIR SHORES    MI 48080‐3832
MICHAEL CONWAY          7861 HIGHWAY 11                                                                        CARRIERE              MS 39426‐8917
MICHAEL CONWAY          706 SARA CT                                                                            LEWISTON              NY 14092‐1194
MICHAEL CONWAY          6938 KNOLL CREST WAY                                                                   PENDLETON             IN 46064‐8689
MICHAEL COOGAN          1413 E MEMORIAL DR                                                                     JANESVILLE            WI 53545‐1954
MICHAEL COOK            205 N WISTERIA ST                                                                      MANSFIELD             TX 76063‐1837
MICHAEL COOK            5406 S RIDGEVIEW RD                                                                    ANDERSON              IN 46013‐9733
MICHAEL COOK            11712 BUNKER HWY                                                                       EATON RAPIDS          MI 48827‐9281
MICHAEL COOK            7304 110TH ST                                                                          FLUSHING              MI 48433‐8743
MICHAEL COOK            2042 2ND ST                                                                            VASSAR                MI 48768‐9724
MICHAEL COOK            3055 PATCH DR                                                                          BLOOMFIELD            MI 48304‐2040
MICHAEL COOK            PO BOX 34                                                                              HOGANSBURG            NY 13655‐0034
MICHAEL COOK            6135 S LUCE AVE                                                                        FREMONT               MI 49412‐9258
MICHAEL COOK            4256 SILVERLEAF DR                                                                     YPSILANTI             MI 48197‐7483
MICHAEL COOK            PO BOX 152                                                                             ITMANN                WV 24847‐0152
MICHAEL COOMER          503 S ST                                                                               BEDFORD               IN 47421‐1913
MICHAEL COONEY          10053 N JUDSON DR                                                                      MOORESVILLE           IN 46158‐6506
MICHAEL COONEY          1274 SIESTA BAYSIDE DR 1274‐C                                                          SARASOTA              FL 34242
MICHAEL COOPER          12101 E OUTER DR                                                                       DETROIT               MI 48224‐2695
MICHAEL COOPER          3500 W ISLAND RD                                                                       SAINT JOHNS           MI 48879‐9422
MICHAEL COOPER          605 BOXELDER DR                                                                        EDGEWOOD              MD 21040‐2518
MICHAEL COOPER          2719 STATE ROUTE 131                                                                   BATAVIA               OH 45103‐9679
MICHAEL COOPER          86 JOELLEN DR                                                                          ROCHESTER             NY 14626‐1282
MICHAEL COOPER          PO BOX 73                                                                              MT STERLING           OH 43143‐0073
MICHAEL COOPER          3324 MURPHY LAKE RD                                                                    MILLINGTON            MI 48746‐9137
MICHAEL COOPER          56 N BALDWIN RD                                                                        CLARKSTON             MI 48348‐2300
MICHAEL COPE            23486 STATE HIGHWAY 140                                                                STEVINSON             CA 95374‐9779
MICHAEL COPELAND        1033 HIGHLAND CREST CIR                                                                LAKE WALES            FL 33853‐3594
MICHAEL COPELAND        4595 MILNER RD                                                                         STOCKBRIDGE           MI 49285‐9621
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Name                  Address1                         Address2                      Address3   Address4         City                 State Zip
MICHAEL COPELAND      12458 HARVEST DR                                                                           BRIGHTON              MI 48114‐9688
MICHAEL COPELAND      THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON               TX 77017
MICHAEL COPENHAVER    4535 S. BAILEY ROAD                                                                        NORTH JACKSON         OH 44451‐‐ 97
MICHAEL CORBIN        429 STATE ROAD 458                                                                         BEDFORD               IN 47421‐7542
MICHAEL CORLEY        165 GRAVELLY RUN BRANCH RD                                                                 CLAYTON               DE 19938‐3935
MICHAEL CORNELIUS     2417 PEACH TREE CT                                                                         MILFORD               MI 48381‐2584
MICHAEL CORNETT       5112 DUDLEY ST                                                                             DEARBORN HTS          MI 48125‐2630
MICHAEL CORNWELL      1120 LAVERN AVE                                                                            DAYTON                OH 45429
MICHAEL CORONA        8625 LAMAR DR                                                                              ARVADA                CO 80003‐1360
MICHAEL CORRELL       556 OAKBROOK CIR                                                                           FLUSHING              MI 48433‐1704
MICHAEL CORRIE        17 GARDEN STREET                                                                           GARDEN CITY           NY 11530
MICHAEL CORRIGAN      2622 RIPPLE WAY                                                                            WHITE LAKE            MI 48383‐3259
MICHAEL CORSETTI JR   159 UNION ST APT E6                                                                        BRISTOL               CT 06010‐6551
MICHAEL CORTICHIATO   7060 AUGUSTINE CT                                                                          FENTON                MI 48430‐8983
MICHAEL CORWIN        1559 COUNTY ROAD 16                                                                        BRYAN                 OH 43506‐8836
MICHAEL CORYA         13684 POST OAK LN                                                                          PLATTE CITY           MO 64079‐8390
MICHAEL COSTA         212 EAST RD                                                                                HOLLY                 MI 48442‐1435
MICHAEL COSTANZO      1910 GETTYSBURG LN                                                                         COLUMBIA              TN 38401‐6812
MICHAEL COSTELLO      5396 MERIDIAN RD                                                                           HASLETT               MI 48840‐9724
MICHAEL COSTELLO      56 ALFONSO DR                                                                              ROCHESTER             NY 14626‐2006
MICHAEL COSTELLO      10265 BIRCH RUN RD                                                                         BIRCH RUN             MI 48415‐9440
MICHAEL COSTELLO      1215 E GRAND RIVER AVE                                                                     PORTLAND              MI 48875‐1627
MICHAEL COSTIN        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.           OH 44236
MICHAEL COSTON        7151 W COUNTY ROAD 750 N                                                                   MIDDLETOWN            IN 47356‐9402
MICHAEL COTTER JR     903 KNOWLES ST                                                                             ROYAL OAK             MI 48067‐3747
MICHAEL COUCH         213 N BROOKWOOD AVE                                                                        HAMILTON              OH 45013‐1213
MICHAEL COUGHLIN      941 JILMAR STREET                                                                          CHESANING             MI 48616‐1367
MICHAEL COUGHLIN      1205 DAFFODIL CT                                                                           NORTH BRUNSWICK       NJ 08902‐5210
MICHAEL COULTER       7397 E MAPLE AVE                                                                           GRAND BLANC           MI 48439‐9620
MICHAEL COULTER       987 BELLGRADE AVE                                                                          LOOGOOTEE             IN 47553‐4603
MICHAEL COULTHARD     22510 MAPLE ST                                                                             SAINT CLAIR SHORES    MI 48081‐2362
MICHAEL COUNCE        7105 E 131ST ST                                                                            GRANDVIEW             MO 64030‐3316
MICHAEL COURTNEY      5078 N NELSON AVE                                                                          KATY                  TX 77493‐9512
MICHAEL COURTNEY      13220 W HAMILTON LN                                                                        FORT WAYNE            IN 46814‐9118
MICHAEL COURTRIGHT    15020 ACORN CIR                                                                            PORT CHARLOTTE        FL 33981‐4243
MICHAEL COUTTS        16640 WALKER RD                                                                            GRASS LAKE            MI 49240‐9609
MICHAEL COUTURE       1414 FIGUERS DR                                                                            FRANKLIN              TN 37064‐3829
MICHAEL COVINGTON     6409 WEDGEWOOD DR                                                                          SYLVANIA              OH 43560‐3346
MICHAEL COWAN         52538 STAG RIDGE DR                                                                        MACOMB                MI 48042‐3481
MICHAEL COWAN         PO BOX 2461                                                                                NORCROSS              GA 30091‐2461
MICHAEL COWARD        8201 SHERIDAN RD                                                                           MILLINGTON            MI 48746‐9620
MICHAEL COWART        9235 WATERSIDE DR                                                                          BALL GROUND           GA 30107‐7008
MICHAEL COWELL        3491 LEVALLEY RD                                                                           COLUMBIAVILLE         MI 48421‐9632
MICHAEL COWIE         8023 MARCHES WAY                                                                           EL DORADO HILLS       CA 95762‐5426
MICHAEL COX           2790 POINTE COVE RD                                                                        BLOOMINGTON           IN 47401‐8301
MICHAEL COX           1201 PARKWOOD PL                                                                           IRVING                TX 75060‐3833
MICHAEL COX           12684 W CRYSTALVUE LN                                                                      CRYSTAL RIVER         FL 34428‐7489
MICHAEL COX           6348 E ALLEN RD                                                                            FENTON                MI 48430‐9345
MICHAEL COY           987 TOM OSBORNE RD                                                                         COLUMBIA              TN 38401‐6776
MICHAEL COY           2944 GALWAY BAY DR                                                                         METAMORA              MI 48455‐9624
MICHAEL COYNE         24531 SURREY CIR                                                                           WESTLAKE              OH 44145‐4954
MICHAEL COYNE         13121 GERMANY RD                                                                           FENTON                MI 48430‐9552
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Name                 Address1                         Address2          Address3         Address4         City               State Zip
MICHAEL COZZI        1812 HYDE SHAFFER RD                                                                 BRISTOLVILLE        OH 44402‐9708
MICHAEL CRABTREE     5367 WILLIAMSON ST                                                                   CLARKSTON           MI 48346‐3560
MICHAEL CRAIG        503 N JACKSON ST                                                                     BEDFORD             IN 47421‐1529
MICHAEL CRAIG        2469 S BELSAY RD                                                                     BURTON              MI 48519‐1217
MICHAEL CRAINE       10185 WASHBURN RD                                                                    COLUMBIAVILLE       MI 48421‐8810
MICHAEL CRALL        2281 FLORENCE RD                                                                     MOUNT DORA          FL 32757‐3502
MICHAEL CRAME JR     7816 SAVAGE DR                                                                       KANSAS CITY         KS 66109‐1158
MICHAEL CRAMPTON     4772 WOODMIRE DR                                                                     SHELBY TWP          MI 48316‐1566
MICHAEL CRANDALL     1120 W VALLEY RD                                                                     LANSING             MI 48906‐6849
MICHAEL CRANE        8510 N MCCAFFREY RD                                                                  OWOSSO              MI 48867‐9085
MICHAEL CRANE        302 TOURNAMENT ROAD                                                                  PONTE VEDRA         FL 32082‐3645
MICHAEL CRANE        2836 GARDENDALE DR                                                                   FORT WORTH          TX 76120‐5653
MICHAEL CRANMORE     4795 MEREDITH GRADE RD                                                               GLADWIN             MI 48624‐8969
MICHAEL CRAWFORD     2637 N 5 MILE RD                                                                     MIDLAND             MI 48642‐7940
MICHAEL CRAWFORD     24153 FORDSON HWY                                                                    DEARBORN HTS        MI 48127‐1329
MICHAEL CRAWFORD     1558 WILLAMET RD                                                                     DAYTON              OH 45429‐4839
MICHAEL CRAWFORD     2471 VAN VLEET RD                                                                    SWARTZ CREEK        MI 48473‐9704
MICHAEL CRAWFORD     2245 DOTY CHAPEL RD                                                                  AFTON               TN 37616‐4017
MICHAEL CRAWFORD     133 BRYAN J DR                                                                       HOUGHTON LAKE       MI 48629‐9360
MICHAEL CRAWFORD     11325 BATH RD                                                                        BYRON               MI 48418‐9140
MICHAEL CRAWLEY      8338 LANDMARK CT UNIT 207                                                            WEST CHESTER        OH 45069‐8824
MICHAEL CREANEY      2881 BELGARDE BLVD               APT 105                                             RAPID CITY          SD 57702‐9825
MICHAEL CRECINE      1610 S EDGAR RD                                                                      MASON               MI 48854‐9727
MICHAEL CRENSHAW     5807 NOTTINGHAM RD                                                                   DETROIT             MI 48224‐3114
MICHAEL CRICK        953 E MAPLE ST                                                                       HOLLY               MI 48442‐1723
MICHAEL CRINGOLI     1508 WYOMING AVE                                                                     FORT PIERCE         FL 34982‐5738
MICHAEL CRISP        6651 W GRAND RIVER RD                                                                LAINGSBURG          MI 48848‐8753
MICHAEL CRISS        7273 NORMANDY DR                                                                     PARMA               OH 44134‐5435
MICHAEL CRIST        27110 JONES LOOP RD UNIT 197                                                         PUNTA GORDA         FL 33982‐2473
MICHAEL CRITES       11 CLEMENTINA CT                                                                     PALM COAST          FL 32137‐4562
MICHAEL CRITTENDEN   9406 MILLINGTON RD                                                                   VASSAR              MI 48768‐9690
MICHAEL CROCKETT     7106 LOU MAC DR                                                                      SWARTZ CREEK        MI 48473‐9718
MICHAEL CROCKETT     1786 HIGHWAY 583                                                                     RAYVILLE            LA 71269‐7218
MICHAEL CRONAUER     2133 ELKHORN DR                                                                      ROCHESTER HILLS     MI 48307‐3828
MICHAEL CRONE        522 FULTON ST                                                                        PORT CLINTON        OH 43452‐2033
MICHAEL CRONIN       7105 OAK MEADOWS DR                                                                  CLARKSTON           MI 48348‐4261
MICHAEL CROOK        5606 KONARCIK RD                                                                     WATERLOO             IL 62298‐3144
MICHAEL CROSBY       7666 RIDGE RD                                                                        FARMDALE            OH 44417‐9737
MICHAEL CROSE        4240 BEAM RD                                                                         CRESTLINE           OH 44827‐9653
MICHAEL CROSHECK     5180 DUTTON RD                                                                       GREGORY             MI 48137‐9540
MICHAEL CROSLEY      311 JEFFERSON ST                                                                     PENDLETON           IN 46064‐1133
MICHAEL CROSS        9513 WHITE LAKE RD                                                                   FENTON              MI 48430‐8764
MICHAEL CROSS        18277 KENT RD                                                                        DUNDEE              MI 48131‐9646
MICHAEL CROSS        7327 OLIVE BRANCH LN                                                                 KNOXVILLE           TN 37931‐4050
MICHAEL CROSS        6230 N MICHIGAN RD                                                                   SAGINAW             MI 48604‐9208
MICHAEL CROSSLAND    5348 PROVINCIAL DR                                                                   BLOOMFIELD          MI 48302‐2537
MICHAEL CROTEAU      1591 BAYPOINTE CIR                                                                   GRAND BLANC         MI 48439‐7274
MICHAEL CROUCH       18400 WHITCOMB ST                                                                    DETROIT             MI 48235‐2842
MICHAEL CROUSE       39125 DRAKE ST                                                                       CLINTON TOWNSHIP    MI 48036‐1591
MICHAEL CROWDER      903 WESTFIELD DR                                                                     CHAMPAIGN            IL 61821‐4132
MICHAEL CROWDER      6329 YORKSHIRE NORTH RIDING RD                                                       FLINT               MI 48532‐3236
MICHAEL CROWELL      652 W RUSSELL LAKE DR                                                                ZIONSVILLE          IN 46077‐9038
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Name                      Address1                           Address2                     Address3          Address4         City                 State Zip
MICHAEL CROWLEY           3174 WOODFIELD BLVD APT 136                                                                        SAULT SAINTE MARIE    MI 49783‐9432
MICHAEL CROWLEY           3848 GRANADA CT NW                                                                                 GRAND RAPIDS          MI 49534‐2257
MICHAEL CROZIER           PO BOX 246                                                                                         SHARPSVILLE           IN 46068‐0246
MICHAEL CRUCE             7557 DUTCH RD                                                                                      SAGINAW               MI 48609‐9583
MICHAEL CRUMP             2800 NW 44TH ST APT 315                                                                            OAKLAND PARK          FL 33309‐4375
MICHAEL CRUMPLEY          9218 SOUTHLAND PARK DR N                                                                           SHREVEPORT            LA 71118‐3022
MICHAEL CRUTCHFIELD       2718 TIHART WAY                                                                                    BEAVERCREEK           OH 45430‐1944
MICHAEL CSINSI            21766 RASPBERRY RDG                                                                                PINCKNEY              MI 48169‐8764
MICHAEL CSINTYAN JR       8397 N LINDEN RD                                                                                   MOUNT MORRIS          MI 48458‐9326
MICHAEL CUBBA             3155 PEARSON RD                                                                                    MILFORD               MI 48380‐4337
MICHAEL CUBBIN            5075 HAVEN PL APT 301                                                                              DUBLIN                CA 94568‐7943
MICHAEL CUDE              45055 MCBRIDE AVE                                                                                  BELLEVILLE            MI 48111‐1334
MICHAEL CUDWORTH          15050 S HURON RIVER DR                                                                             ROMULUS               MI 48174‐3686
MICHAEL CUKIER            25905 W 150TH TER                                                                                  OLATHE                KS 66061‐8507
MICHAEL CULL              10720 S COUNTY ROAD 300 E                                                                          MUNCIE                IN 47302‐8731
MICHAEL CULLEN            5851 LEMONA AVENUE                                                                                 VAN NUYS              CA 91411‐3005
MICHAEL CULLEN PLUMBING   ATTN: MIKE CULLEN                  PO BOX 5794                                                     WILMINGTON            DE 19808‐0794
MICHAEL CULLEY            9904 N CANTON CENTER RD                                                                            PLYMOUTH              MI 48170‐3865
MICHAEL CULLEY            611 NEIL ST                                                                                        SANDUSKY              OH 44870‐3718
MICHAEL CULLOTY JR        4260 LAKE KNOLLS DR                                                                                OXFORD                MI 48371‐5416
MICHAEL CULP              16540 CENTREVILLE CONSTANTINE RD                                                                   CONSTANTINE           MI 49042‐9760
MICHAEL CULPEPPER         411 W GRAND RIVER RD                                                                               LAINGSBURG            MI 48848‐9692
MICHAEL CULVERHOUSE       2665 SEMLOH ST                                                                                     LAKE ORION            MI 48360‐2322
MICHAEL CUMBERLEDGE       BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.           OH 44236
MICHAEL CUMINS            2019 MAPLES RD                                                                                     FORT WAYNE            IN 46816‐2419
MICHAEL CUMMINGS          2007 TOTH PL                                                                                       GROVE CITY            OH 43123‐4775
MICHAEL CUMMINGS          6317 HILL RD                                                                                       SWARTZ CREEK          MI 48473‐8202
MICHAEL CUMMINGS          27096 WEDDEL AVE                                                                                   BROWNSTOWN TWP        MI 48183‐4838
MICHAEL CUMMINGS          12342 S 700 E                                                                                      GALVESTON             IN 46932
MICHAEL CUMMINGS          2092 SEYMOUR RD                                                                                    SWARTZ CREEK          MI 48473‐9773
MICHAEL CUMMINS           728 LUDLOW AVE                                                                                     ROCHESTER             MI 48307‐1308
MICHAEL CUNNINGHAM        314 MAIN ST                                                                                        FENTON                MI 48430‐2132
MICHAEL CUNNINGHAM        383 E 148TH ST                                                                                     CLEVELAND             OH 44110‐1842
MICHAEL CUNNINGHAM        7915 W FOSTORIA DR                                                                                 DUNNELLON             FL 34433‐4406
MICHAEL CUNNINGHAM        7274 IRISH RD                                                                                      MILLINGTON            MI 48746‐9510
MICHAEL CUNNINGHAM        3706 SHERRY DR                                                                                     FLINT                 MI 48506‐2684
MICHAEL CUPIT             2157 NERREDIA ST                                                                                   FLINT                 MI 48532‐4822
MICHAEL CUPPETT           881 CLIFFS DR #201A                                                                                YPSILANTI             MI 48198
MICHAEL CURD              40851 FIRWOOD DR                                                                                   PLYMOUTH              MI 48170‐4431
MICHAEL CURINGTON         4790 KENTFIELD DR                                                                                  TROTWOOD              OH 45426‐1822
MICHAEL CURL              MICHAEL CURL                       1116 DEANNA DR                                                  ROCKFORD               IL 61103‐8604
MICHAEL CURRAN            6424 HUNTLEIGH ST                                                                                  GARDEN CITY           MI 48135‐2013
MICHAEL CURRENT           8409 WASHINGTON VILLAGE DR                                                                         CENTERVILLE           OH 45458‐1846
MICHAEL CURRY             3346 40TH ST SW                                                                                    GRANDVILLE            MI 49418‐2443
MICHAEL CURTIS            143 INDIAN OAKS TRL                                                                                PRUDENVILLE           MI 48651‐8421
MICHAEL CURTIS            13049 MORNING GLORY CT                                                                             HOMER GLEN             IL 60491‐9062
MICHAEL CURTIS STACEY     NIX PATTERSON & ROACH LLP          GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD          TX 75638
MICHAEL CURTISS           27415 GOLDENGATE DR W                                                                              LATHRUP VILLAGE       MI 48076‐3481
MICHAEL CUSMA             BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS.           OH 44236
MICHAEL CUTAJAR           1500 N LAFAYETTE ST                                                                                DEARBORN              MI 48128‐1144
MICHAEL CUTSHAW           331 E CHICAGO BLVD                                                                                 BRITTON               MI 49229‐8506
MICHAEL CUTTER            5743 WYNKOOP RD                                                                                    LOCKPORT              NY 14094‐9370
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Name                              Address1                            Address2           Address3      Address4         City                 State Zip
MICHAEL CUZ                       2942C W HIGGINS LAKE DR                                                               ROSCOMMON             MI 48653‐9273
MICHAEL CWIKLINSKI                10373 N CEDAR DR                                                                      GRAND HAVEN           MI 49417‐9720
MICHAEL CYPRET                    3970 GROVELAND RD                                                                     ORTONVILLE            MI 48462‐9048
MICHAEL CYRAN                     124 ROSE BRIER DR                                                                     ROCHESTER HILLS       MI 48309‐1120
MICHAEL CZAPIEWSKI                15951 57TH ST NE                                                                      OLSO                  MN 56744
MICHAEL CZAPSKI                   30461 HOY ST                                                                          LIVONIA               MI 48154‐3613
MICHAEL CZARNECKI                 2781 SE CARTHAGE RD                                                                   PORT ST LUCIE         FL 34952‐5204
MICHAEL CZARNECKI                 8260 ODOWLING                                                                         ONSTED                MI 49265‐9483
MICHAEL CZARNIK                   11798 FLEMING RD                                                                      FOWLERVILLE           MI 48836‐9577
MICHAEL CZEISZPERGER              12355 NIBLOCK RD                                                                      CHESANING             MI 48616‐9439
MICHAEL CZERWINSKI                TAUNUSSTR. 87                                                                         WIESBADEN                  65183
MICHAEL CZUK                      10073 N 12TH ST                                                                       KALAMAZOO             MI 49009‐9019
MICHAEL D ABNEY                   826 TWIN OAKS DR                                                                      RIVERSIDE             OH 45431
MICHAEL D ADAMSON                 12212 SUNGROVE ST                                                                     GARDEN GROVE          CA 92840
MICHAEL D ALLEN                   831 HIGHRIDGE AVE                                                                     DAYTON                OH 45420‐2738
MICHAEL D ALLEN                   518 PLYMOUTH AVE                                                                      SYRACUSE              NY 13211‐1243
MICHAEL D ALLEN                   2670 SCOTT RD                                                                         MOSCOW MILLS          MO 63362‐2300
MICHAEL D ANDERSON                5626 W US ST RT 36                                                                    URBANA                OH 43078‐‐ 00
MICHAEL D ANDERSON                2551 LA PLATA DR                                                                      KETTERING             OH 45420‐1153
MICHAEL D ARTZ                    3090 BENHAM RD                                                                        TIPP CITY             OH 45371‐9460
MICHAEL D AUSTIN DO               3061 CHRISTY WAY                                                                      SAGINAW               MI 48603
MICHAEL D BAKER                   12 WINDSOR ACRES                                                                      WINDSOR               PA 17366‐9707
MICHAEL D BANIC                   238 CAROLINE AVE                                                                      HUBBARD               OH 44425
MICHAEL D BARNEY                  949 JOHNSON PLANK ROAD                                                                WARREN                OH 44481‐9327
MICHAEL D BATES                   23300 GREENCREST ST                                                                   SAINT CLAIR SHORES    MI 48080‐2565
MICHAEL D BECK                    1112 LASK DR                                                                          FLINT                 MI 48532‐3633
MICHAEL D BENSON                  1952 GILSEY AVE                                                                       DAYTON                OH 45418
MICHAEL D BERNARDINI              2157 WESTLAND AVE                                                                     SAN DIEGO             CA 92104
MICHAEL D BISHOP                  2621 S HAGGERTY RD                                                                    CANTON                MI 48188‐2021
MICHAEL D BLACKBURN               1956 RYAN RD.                                                                         SPRINGBORO            OH 45066
MICHAEL D BRADSHAW                310 CLOVER LN APT P                                                                   DAYTON                OH 45440‐4541
MICHAEL D BRADY                   108 PLUMMER ST                                                                        ESSEXVILLE            MI 48732
MICHAEL D BRAKOVICH               492 CHAMPION AVE E                                                                    WARREN                OH 44483‐1505
MICHAEL D BRANI                   5355 CLOISTER DR                                                                      TROY                  MI 48085‐4088
MICHAEL D BRIDGES                 2443 DEER SPRINGS CT                                                                  ELLENWOOD             GA 30294‐1170
MICHAEL D BROUMAN                 C/O ALVIN BROUMAN ATTORNEY AT LAW   3509 KERSDALE RD                                  PEPPER PIKE           OH 44124

MICHAEL D BROWN                   2521 E 6TH ST                                                                         ANDERSON             IN   46012‐3722
MICHAEL D BROWN                   1116 ANGEL CV                                                                         TERRY                MS   39170
MICHAEL D BURNSIDE                2596 HIGHLAND VILLAGE                                                                 MIAMISBURG           OH   45342‐4578
MICHAEL D BURRESS                 11 LANCE DRIVE                                                                        FRANKLIN             OH   45005
MICHAEL D CALABRESE               656 ELMWOOD AVE                                                                       BUFFALO              NY   14222
MICHAEL D CALABRESE PHYSICAN PC   656 ELMWOOD AVE                                                                       BUFFALO              NY   14222‐1836
MICHAEL D CAMP                    346 JORDAN AVE                                                                        ROCHESTER            NY   14606‐4118
MICHAEL D CARRICO                 1268 OBIE ST                                                                          DAYTON               OH   45432
MICHAEL D CARTER                  8400 EDINGER AVE                    APT Y206                                          HUNTINGTN BEACH      CA   92647‐7230
MICHAEL D CHANGERI                8705 MORTON AVE                                                                       BROOKLYN             OH   44144‐2526
MICHAEL D CLEMONS                 2317 RASKOB ST                                                                        FLINT                MI   48504‐3495
MICHAEL D COCHRANE                3723 SHAMROCK DR                                                                      TOLDEO               OH   43615‐1227
MICHAEL D COLE                    2214 W 9TH ST.                                                                        PANAMA CITY          FL   32401
MICHAEL D COLLINS                 8231 LOCHWOOD DR                                                                      MONTGOMERY           AL   36117
MICHAEL D COOPER                  56 N BALDWIN RD                                                                       CLARKSTON            MI   48348‐2300
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Name                            Address1                       Address2                     Address3          Address4         City              State Zip
MICHAEL D DAMRON                4889 FISHBURG RD                                                                               DAYTON             OH 45424
MICHAEL D DAUGHERTY             2136 W PORTER                                                                                  FULLERTON          CA 92833‐3652
MICHAEL D DAVIS                 PO BOX 153                                                                                     ROBINSONVILLE      MS 38664‐0153
MICHAEL D DICKINSON             2209 SLANE AVE APT #2                                                                          NORWOOD            OH 45212‐‐ 36
MICHAEL D DOOLING               71 E EDSEL FORD FWY                                                                            DETROIT            MI 48202‐3721
MICHAEL D DOWELL                8592 GULL ROAD                                                                                 RICHLAND           MI 49083‐9647
MICHAEL D DUCHON                4708 YOUNGERS RD                                                                               NORTH JAVA         NY 14113‐9734
MICHAEL D DUNN                  6243 EASTKNOLL DR APT 144                                                                      GRAND BLANC        MI 48439‐5008
MICHAEL D DYCUS                 8120 BOOMERSHINE RD                                                                            GERMANTOWN         OH 45327‐9797
MICHAEL D EARNEST               2566 SOLDIERS HOME ROAD                                                                        DAYTON             OH 45418‐2347
MICHAEL D EDWARDS               347 MONTANA DR                                                                                 XENIA              OH 45385
MICHAEL D EERDMANS              1152 BUCKINGHAM ST SW                                                                          WYOMING            MI 49509‐2833
MICHAEL D ELLIOTT               4148 WHITE OAK DR                                                                              BEAVERCREEK        OH 45432
MICHAEL D FISH
MICHAEL D FISH                  WETIZ & LUXENBERG PC           700 BROADWAY                                                    NEW YORK CITY     NY   10003
MICHAEL D FOLGER                325 MONIKA PL                                                                                  SAINT AUGUSTINE   FL   32080‐6442
MICHAEL D FORBUSH               853 KLEMPP DR                                                                                  HOLLY             MI   48442‐1442
MICHAEL D FORMAN                6020 YOUNGSTOWN POLAND RD                                                                      POLAND            OH   44514‐1477
MICHAEL D FRANKLIN              PSC 2 BOX 11522                                                                                APO               AE   09012‐0085
MICHAEL D FRANKLIN              C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                      HOUSTON           TX   77007
                                BOUNDAS, LLP
MICHAEL D FRANTZ                1610 S. ALEX RD.                                                                               WEST CARROLLTON   OH   45449
MICHAEL D FRIESZELL             126 E HUDSON AVE                                                                               DAYTON            OH   45405‐3505
MICHAEL D GALES                 704 CHANDLER DRIVE                                                                             TROTWOOD          OH   45426‐2510
MICHAEL D GEMUS                 9623 HARBOUR COVE CT                                                                           YPSILANTI         MI   48197‐6901
MICHAEL D GIBSON                120 DENWOOD TRL                                                                                CLAYTON           OH   45315
MICHAEL D GILLIGAN              3260 WARREN‐BURTON RD.                                                                         SOUTHINGTON       OH   44470
MICHAEL D GRAHAM                895 GETAWAY LN                                                                                 DUCK RIVER        TN   38454‐3637
MICHAEL D GRANT                 2554 DUCK CREEK RD                                                                             CINCINNATI        OH   45212
MICHAEL D GUNNELL               11382 WILSON RD                                                                                MONTROSE          MI   48457‐9180
MICHAEL D HALL                  2256 TREBEIN ROAD                                                                              FAIRBORN          OH   45324
MICHAEL D HANEY                 481 HWY 844                                                                                    WEST LIBERTY      KY   41472‐8059
MICHAEL D HARGETT               330 CHRISTINA WAY                                                                              FRANKLIN          OH   45005
MICHAEL D HARRIS                46 CLOVER ST                                                                                   DAYTON            OH   45410‐1420
MICHAEL D HARRISON              5683 LYNN                                                                                      FRANKLIN          OH   45005
MICHAEL D HATFIELD              1883 WEST LAKE SHORE DR                                                                        TROY              OH   45373
MICHAEL D HAUK                  849 CHERRY BLOSSOM DR                                                                          DAYTON            OH   45449‐1550
MICHAEL D HAYES                 4502 CLIFF COVE                                                                                BYRAM             MS   39272
MICHAEL D HAZELRIGG             2874 HWY 160                                                                                   HINDMAN           KY   41822‐‐ 90
MICHAEL D HEITZ                 NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT     205 LINDA DRIVE                    DAINGERFIELD      TX   75638
MICHAEL D HERNANDEZ             2928 CROWN PT                                                                                  CORTLAND          OH   44410‐9210
MICHAEL D HIGGINS               11614 KILLARNEY HWY                                                                            BROOKLYN          MI   49230‐9247
MICHAEL D HOLLAND               5806 TROY VILLA BLVD.                                                                          HUBER HEIGHTS     OH   45424‐2650
MICHAEL D HOPSON                1541 MCARTHUR AVE                                                                              DAYTON            OH   45418‐2657
MICHAEL D HUGUELY               3126 GARVIN DRIVE                                                                              DAYTON            OH   45405‐2009
MICHAEL D ISON                  6718 LANDIS RD.                                                                                BROOKVILLE        OH   45309
MICHAEL D JARVIS                94 DURHAM ROAD                                                                                 DEDHAM            MA   02026‐5328
MICHAEL D JONES                 1510 N JEFFERSON ST                                                                            HARTFORD CITY     IN   47348‐1058
MICHAEL D KILBURN               5427 FERNGROVE DR                                                                              DAYTON            OH   45432‐3519
MICHAEL D KVIDERA & JANETTE M   JT TEN                         308 NORTH 15TH STREET                                           MARSHALLTOWN      IA   50158
KVIDERA
MICHAEL D LANCEN                1557 ALMEDIA CT.,#20                                                                           MIAMISBURG        OH 45342‐2647
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Name                             Address1                       Address2                    Address3   Address4         City            State Zip
MICHAEL D LAWLER                 C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                               HOUSTON          TX 77007
                                 BOUNDAS LLP
MICHAEL D LAWRENCE               39 SUPERIOR TRL                                                                        SWARTZ CREEK    MI   48473‐1616
MICHAEL D LEIS                   15562 DECHANT RD                                                                       FARMERSVILLE    OH   45325
MICHAEL D LEWIS                  P. O. BOX 486                                                                          BOLTON          MS   39041‐0486
MICHAEL D LOOMIS                 1603 S NIAGARA ST                                                                      SAGINAW         MI   48602‐1377
MICHAEL D LYONS                  3456 REDBUD LN                                                                         LIMA            OH   45806
MICHAEL D MACKENZIE              C/O BRAYTON PURCELL            222 RUSH LANDING RD                                     NOVATO          CA   94948‐6169
MICHAEL D MADDALENA              29 SAND PEBBLE DR                                                                      ROCHESTER       NY   14624‐3627
MICHAEL D MAGEE                  2512 SYKES TRL SE                                                                      BROOKHAVEN      MS   39601
MICHAEL D MALLORY                310 N VAN BUREN ST                                                                     BLOOMINGDALE    MI   49026‐8717
MICHAEL D MARSH                  1777 HICKORY RIDGE                                                                     MILFORD         MI   48380
MICHAEL D MAYBERRY               15710 SORRENTO ST                                                                      DETROIT         MI   48227‐4028
MICHAEL D MAYES                  3823 LOFTY OAKS DR                                                                     BEAVERCREEK     OH   45430
MICHAEL D MC DANIEL              21217 129TH AVE S E                                                                    SNOHOMISH       WA   98296‐7843
MICHAEL D MCCLENDON              712 STRAWBERRY ST                                                                      DUNDEE          MI   48131‐1043
MICHAEL D MCDONALD               241 SANDHURST                                                                          DAYTON          OH   45405‐2418
MICHAEL D MCKINNEY               113 MONTGOMERY AVE                                                                     CARLISLE        OH   45005‐1333
MICHAEL D MEEKER                 39201 PLYMOUTH RD                                                                      LIVONIA         MI   48150‐1056
MICHAEL D MERITHEW               PO BOX 282                                                                             SYRACUSE        NY   13211‐0282
MICHAEL D MILLER                 713 CANAL ST                                                                           ANDERSON        IN   46012‐9471
MICHAEL D MILLER                 823 WALLER ST                                                                          SAGINAW         MI   48602‐1614
MICHAEL D MOBLEY                 259 EVANS GLEN TRL                                                                     TIPTON          MI   49287‐9724
MICHAEL D MOORE                  832 RUSTIC RD                                                                          ANDERSON        IN   46013‐1544
MICHAEL D MORELAND               3501 AUTUMN PLANK LN 916                                                               MIAMISBURG      OH   45342‐3745
MICHAEL D MORGAN                 13401 NORTHFIELD BLVD                                                                  OAK PARK        MI   48237‐1645
MICHAEL D MOSER                  PO BOX 23                      111 W MAIN                                              HAVILAND        OH   45851‐0023
MICHAEL D NEWCOMER SR            1921 N HIGH ST                                                                         LANSING         MI   48906‐4654
MICHAEL D NIEMAN                 7282 E POTTER RD                                                                       DAVISON         MI   48423‐9544
MICHAEL D NORMAN AND ASSOCIATE   DALE CARNEGIE TRAINING         4938 LINCOLN DR                                         EDINA           MN   55436‐1071
MICHAEL D NORTON                 1868 NORTH BLVD.                                                                       FAIRBORN        OH   45324
MICHAEL D NOVACK                 4400 PHILADELPHIA ST SPC 20                                                            CHINO           CA   91710
MICHAEL D OAKLEY                 1093 NASH RD                                                                           XENIA           OH   45385‐9432
MICHAEL D OLIVER                 38 E BEVERLY AVE                                                                       PONTIAC         MI   48340‐2610
MICHAEL D OPATIK                 709 W BETHUNE ST                                                                       DETROIT         MI   48202‐2708
MICHAEL D PAYNE                  P.O.BOX418                                                                             ALTOONA         AL   35952‐0418
MICHAEL D PEARSON                116 PUNKIN CT                                                                          GREENFIELD      IN   46140‐3156
MICHAEL D PENIX                  2500 CINNAMON RIDGE CT.                                                                MIAMISBURG      OH   45342
MICHAEL D PERKINS                12171 JASON DR                                                                         MEDWAY          OH   45341
MICHAEL D PETERSON               219 N WESTVIEW AVE                                                                     DAYTON          OH   45403‐1625
MICHAEL D PIERCE                 PO BOX 197                                                                             TALKEETNA       AK   99676‐0197
MICHAEL D PIRTZ                  224 BANE AVE                                                                           NEWTON FALLS    OH   44444‐1503
MICHAEL D PISCAL                 619 WOODSIDE                                                                           TOMS RIVER      NJ   08753‐5630
MICHAEL D PLATE                  2890 CONIFER DR APT 136                                                                CANANDAIGUA     NY   14424
MICHAEL D PRESSEL                9760 MINTWOOD DRIVE                                                                    CENTERVILLE     OH   45459
MICHAEL D PROCTOR                12000 2ND AVE                                                                          CINCINNATI      OH   45249
MICHAEL D PUTERBAUGH             1612 REDBUSH AVE                                                                       KETTERING       OH   45420‐1348
MICHAEL D PYBURN                 18 GUNCKEL AVE                                                                         DAYTON          OH   45410
MICHAEL D RADKA                  236 W BEVERLY AVE                                                                      PONTIAC         MI   48340‐2623
MICHAEL D RICE                   6825 STATE ROUTE 718                                                                   PLEASANT HILL   OH   45359
MICHAEL D RISCHOW                7721 WOODLAND RD                                                                       LAKE ODESSA     MI   48849‐9323
MICHAEL D ROMANACK               9066 DODGE RD                                                                          MONTROSE        MI   48457‐9132
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Name                               Address1                        Address2                     Address3              Address4         City               State Zip
MICHAEL D SALSGIVER                1004 BRAUFT ST                                                                                      ELIZABETH           PA 15037
MICHAEL D SAMONS                   1638 PARKWOOD AVE                                                                                   YPSILANTI           MI 48198‐6036
MICHAEL D SCHUBERT II              137 N. QUENTIN AVE.                                                                                 DAYTON              OH 45403
MICHAEL D SCHWEIGER                5302 MADISON ST                                                                                     DEARBORN HEIGHTS    MI 48125‐2362
MICHAEL D SELLARS                  102A WOODSTONE PL                                                                                   CLINTON             MS 39056‐4936
MICHAEL D SHARP                    1428 PAR CT                                                                                         LINDEN              MI 48451‐9403
MICHAEL D SHARPE                   11 SOUTHVIEW RD.                                                                                    RANDOLPH            NJ 07869‐4812
MICHAEL D SHEFFER                  PO BOX 300392                                                                                       DRAYTON PLNS        MI 48330‐0392
MICHAEL D SHEPHERD                 8824 EAST ST RT 40                                                                                  NEW CARLISLE        OH 45344
MICHAEL D SHORT                    9 SAVOY AVE                                                                                         DAYTON              OH 45449
MICHAEL D SIMS                     4197 REDONDA LN                                                                                     DAYTON              OH 45416‐1423
MICHAEL D SMITH                    1020 GASLIGHT COURT APT 2                                                                           MIAMISBURG          OH 45342‐3495
MICHAEL D SOCHA                    2451 S 6TH ST                                                                                       MILWAUKEE           WI 53215‐3224
MICHAEL D SOROKA                   427 POWERS AVE                                                                                      GIRARD              OH 44420
MICHAEL D SPEDOSKE                 9245 W M78                      NO 1                                                                HASLETT             MI 48840‐9201
MICHAEL D SPURLING                 2371 SPRING ROSE DR                                                                                 DAYTON              OH 45459‐2874
MICHAEL D STASA                    6024 JOHNSON RD                                                                                     FLUSHING            MI 48433‐1106
MICHAEL D STEPHENS                 548 VOELM RD                                                                                        WELLSTON            MI 49689‐9554
MICHAEL D STEPHEY                  210 SJEFERSON ST                                                                                    MOORESVILLE         TN 45150‐1714
MICHAEL D STEWART                  PO BOX 278                                                                                          WEST BLOOMFIELD     NY 14585‐0278
MICHAEL D STEWART                  O.N.125BEVERLY                                                                                      WHEATON              IL 60187
MICHAEL D STORER                   378 TRAILS END RD                                                                                   CAMPTON             KY 41301
MICHAEL D TATE                     17241 BURGESS                   APT 203                                                             DETROIT             MI 48219‐3291
MICHAEL D TAYLOR                   8907 W NATIONAL RD                                                                                  NEW CARLISLE        OH 45344
MICHAEL D TAYLOR                   14010 N STATE RD                                                                                    OTISVILLE           MI 48463‐9712
MICHAEL D TEPELIDES                4156 WAGNER RD.                                                                                     KETTERING           OH 45440‐1450
MICHAEL D TESSENEER JR, PERSONAL   FOR MICHAEL D TESSENEER SR      C/O BRAYTON PURCELL          222 RUSH LANDING RD                    NOVATO              CA 94948‐6169
REPRESENTATIVE
MICHAEL D THOMAS                   1858 S STATE ROUTE 2                                                                                SISTERSVILLE       WV   26175‐9501
MICHAEL D THOMAS                   1621 BAKER AVE                                                                                      GADSDEN            AL   35903‐3407
MICHAEL D THRALL                   114B DUNES CT                                                                                       ATLANTIC BEACH     NC   28512‐7424
MICHAEL D TINNIN                   6099 LAKE RD                                                                                        MILLINGTON         MI   48746‐9209
MICHAEL D TOBIAS                   4435 LENROSE AVE                                                                                    FLINT              MI   48532‐4336
MICHAEL D TOTH                     4252 POINTE AUX PEAUX                                                                               NEWPORT            MI   48166‐9506
MICHAEL D TOWNER                   570 KANSAS AVE                                                                                      YPSILANTI          MI   48198‐6131
MICHAEL D TRENT                    1481 WESTERN ROW RD                                                                                 MASON              OH   45040
MICHAEL D VANARSDALE               1177 BROOKSIDE DR                                                                                   BEAVERCREEK        OH   45434‐7019
MICHAEL D VAUGHN                   803 TAYWOOD ROAD                                                                                    ENGLEWOOD          OH   45322
MICHAEL D VETITOE                  4324 MCKENNA DR                                                                                     ADRIAN             MI   49221‐9019
MICHAEL D WARD                     2780 MOHICAN AVENUE                                                                                 KETTERING          OH   45429
MICHAEL D WATSON                   5892 RED OAK CT                                                                                     DAYTON             OH   45424‐4085
MICHAEL D WHITE                    7331 UNION SCHOOLHOUSE ROAD                                                                         RIVERSIDE          OH   45424‐5212
MICHAEL D WILSON                   2145 SNYDER RD                                                                                      BUTLER             OH   44822‐9625
MICHAEL D WISE                     465 SLIGO ROAD                                                                                      BOAZ               AL   35956‐7927
MICHAEL D WOOD                     105 FAIRACRES DR                                                                                    LANSDALE           PA   19446
MICHAEL D YARGER                   416 LONSDALE AVE.                                                                                   DAYTON             OH   45419‐3250
MICHAEL D YORK                     7432 E 500 S                                                                                        MARION             IN   46953‐9536
MICHAEL D'AGOSTINO                 2074 JARMAN DR                                                                                      TROY               MI   48085‐1036
MICHAEL D'AIGLE                    7010 CALKINS RD                                                                                     FLINT              MI   48532‐3001
MICHAEL D'AMICO                    3818 MENGEL DR                                                                                      KETTERING          OH   45429‐4534
MICHAEL D'AMICO                    BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                          BOSTON HTS.        OH   44236
MICHAEL D'ANNA                     1756 MILLARD FARMER RD                                                                              NEWNAN             GA   30263‐5137
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Name                                  Address1                      Address2                  Address3   Address4         City                State Zip
MICHAEL D'LAMATER                     1002 KINNEVILLE RD                                                                  LESLIE               MI 49251‐9545
MICHAEL D. BOSWAK                     C/O FOSTER & SEAR, LLP        817 GREENVIEW DRIVE                                   GRAND PRAIRIE        TX 75050
MICHAEL D. HECK
MICHAEL D. SCHRUNK, DISTRICT ATTORNEY MULTNOMAH COUNTY COURTHOUSE   1021 SW 4TH AVE STE 600                               PORTLAND            OR 97204‐1110

MICHAEL D. WALSH, MD               114 BENDERMERE AVENUE                                                                  INTERLAKEN          NJ   07712‐4402
MICHAEL D. WANCHICK                COUNTY ADMINISTRATOR             4020 LEWIS SPEEDWAY                                   SAINT AUGUSTINE     FL   32084‐8637
MICHAEL D. WEISSMAN, MD            2 DEER CREEK LANE                                                                      MT. KISCO           NY   10549
MICHAEL DAAR                       17705 FOXPOINTE DR                                                                     CLINTON TWP         MI   48038‐2139
MICHAEL DABROWSKI                  3386 PEMBROOK CIR                                                                      DAVISON             MI   48423‐8428
MICHAEL DACKO                      6881 WALTERS RD                                                                        HUDSON              OH   44236‐1134
MICHAEL DAGELEWICZ                 7355 WREN DR                                                                           DAVISON             MI   48423‐7819
MICHAEL DAGGETT                    10595 PEAKE RD                                                                         PORTLAND            MI   48875‐9436
MICHAEL DAGLEY                     2723 SAMUEL DR                                                                         DARDENNE PRAIRIE    MO   63368‐9617
MICHAEL DAHL                       7993 MESTER RD                                                                         CHELSEA             MI   48118‐9519
MICHAEL DAHLGREN                   4466 ASHLAWN DR                                                                        FLINT               MI   48507‐5656
MICHAEL DAHMEN                     20345 FAIRVIEW DR                                                                      DEARBORN HTS        MI   48127‐2643
MICHAEL DAILEY                     947 BERRY ROAD                                                                         PARK CITY           KY   42160‐7802
MICHAEL DAILEY                     4535 W ALLEN RD                                                                        HOWELL              MI   48855‐8615
MICHAEL DAILY                      6122 SPY GLASS RUN                                                                     FORT WAYNE          IN   46804‐4226
MICHAEL DALEY                      13 ELAINE CT                                                                           CHEEKTOWAGA         NY   14225‐1623
MICHAEL DALRYMPLE                  PO BOX 3                                                                               COLUMBIAVILLE       MI   48421‐0003
MICHAEL DALUGA                     4491 BAY BEACH LN APT 124                                                              FORT MYERS BEACH    FL   33931‐5907
MICHAEL DALY                       111 MIDFOREST LDG                                                                      PRUDENVILLE         MI   48651‐9471
MICHAEL DALY                       3156 DAKOTA AVE                                                                        FLINT               MI   48506‐3026
MICHAEL DAMMER                     939 W COTTAGE GROVE RD                                                                 LINWOOD             MI   48634‐9715
MICHAEL DANDO                      5320 RAVENNA RD                                                                        NEWTON FALLS        OH   44444‐9440
MICHAEL DANES                      2526 MAURER RD                                                                         CHARLOTTE           MI   48813‐8514
MICHAEL DANIEL                     22093 HUNTER CIR S                                                                     TAYLOR              MI   48180‐6363
MICHAEL DANIEL ROSENMAN            ALLEN ROSENMAN                   145 LAKE DESTINY TR                                   ALTAMONTE SPRINGS   FL   32714
MICHAEL DANIELIAN                  3160 WEST RD                                                                           METAMORA            MI   48455‐9356
MICHAEL DANIELS                    1161 HOLLYHOCK DR                                                                      GRAND BLANC         MI   48439‐8957
MICHAEL DANIELS                    5109 MALIBU CT                                                                         TROTWOOD            OH   45426‐2353
MICHAEL DANIELS                    54 SANDROCK RD                                                                         BUFFALO             NY   14207‐2018
MICHAEL DANIELS                    48556 GREENWICH CIR                                                                    CANTON              MI   48188‐8506
MICHAEL DANIELS                    2515 NW 86TH TER                                                                       KANSAS CITY         MO   64154‐1226
MICHAEL DANIELS                    4231 BEMIS RD                                                                          YPSILANTI           MI   48197‐6641
MICHAEL DANIELS                    3270 CACHE PEAK DR                                                                     RENO                NV   89512‐1124
MICHAEL DANIELSON                  80 DUNCAN HILL CT                                                                      WENTZVILLE          MO   63385‐3246
MICHAEL DANIS                      17815 MCINTYRE ST                                                                      DETROIT             MI   48219‐2367
MICHAEL DANKANICH                  1685 CARMEN RD                                                                         BARKER              NY   14012‐9665
MICHAEL DANKERT                    6532 SEYMOUR RD                                                                        SWARTZ CREEK        MI   48473‐7607
MICHAEL DANKS                      1374 ELROD RD                                                                          BOWLING GREEN       KY   42104‐8512
MICHAEL DANNER                     344 E 3RD ST                                                                           LAWSON              MO   64062‐9342
MICHAEL DANOWSKI                   3947 PRESIDENTIAL WAY                                                                  HIGHLAND            MI   48356‐1692
MICHAEL DANSER                     318 TROOK CT                                                                           MARION              IN   46952‐3203
MICHAEL DARENSBOURG                9112 SCOTT ST                                                                          BELLFLOWER          CA   90706‐2838
MICHAEL DARK                       11316 MAIN RD                                                                          FENTON              MI   48430‐9746
MICHAEL DARLING                    74975 LOWE PLANK RD                                                                    RICHMOND            MI   48062‐4104
MICHAEL DAROCHA                    3199 PEED ROAD                                                                         HOUGHTON LAKE       MI   48629
MICHAEL DARR                       PO BOX 408                                                                             SMITHVILLE          MO   64089‐0408
MICHAEL DARR                       9407 E L J TOWNLINE RD                                                                 MILTON              WI   53563‐9331
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Name                     Address1                        Address2            Address3         Address4         City               State Zip
MICHAEL DARROW           1879 BEAVER CREEK DR                                                                  ROCHESTER           MI 48307‐6018
MICHAEL DARROW           9944 REYNOLDS RD                                                                      BELLEVUE            MI 49021‐9708
MICHAEL DARTY            10460 BIRCH ST                                                                        TAYLOR              MI 48180‐3460
MICHAEL DASARO           2015 SOUTHFIELD DR                                                                    THE VILLAGES        FL 32162‐6724
MICHAEL DASHER           11154 JENNINGS RD                                                                     FENTON              MI 48430‐9784
MICHAEL DATRIO           11 OAK DR                                                                             JACKSON             NJ 08527‐2046
MICHAEL DAUENHAUER       4811 ROSSITER AVE                                                                     WATERFORD           MI 48329‐1756
MICHAEL DAUGHERTY        520E EATON WHEELING PIKE                                                              EATON               IN 47338
MICHAEL DAUGHTRY         19A PHELPS AVE                                                                        NEW BRUNSWICK       NJ 08901‐3709
MICHAEL DAVENPORT        1815 N CROSS LAKES CIR APT E                                                          ANDERSON            IN 45012‐4959
MICHAEL DAVENPORT        4455 KOCHVILLE RD                                                                     SAGINAW             MI 48604‐9228
MICHAEL DAVENPORT        6385 WALDON WOODS DR                                                                  CLARKSTON           MI 48346‐2483
MICHAEL DAVICH           674 EAST AUGUSTA AVENUE                                                               VINTON              VA 24179‐3517
MICHAEL DAVID            422 DUE LN                                                                            COLUMBIA            TN 38401‐5809
MICHAEL DAVID            6166 SURREY LN                                                                        BURTON              MI 48519‐1316
MICHAEL DAVID STEPHENS   5775C CHENOWETH RD.                                                                   WAYNESVILLE         OH 45068
MICHAEL DAVIDSON         9813 MCCLEMENTS RD                                                                    BRIGHTON            MI 48114‐8776
MICHAEL DAVIDSON         670 NORTHRIDGE RD                                                                     COLUMBIA            TN 38401‐5565
MICHAEL DAVIDSON         4608 TREE TERRACE PKWY                                                                AUSTELL             GA 30160‐5559
MICHAEL DAVIS            6845 PASEO BLVD                                                                       KANSAS CITY         MO 64132‐2974
MICHAEL DAVIS            3210 LINDENWOOD DR #203210                                                            DEARBORN            MI 48120‐1343
MICHAEL DAVIS            5659 W STATE ROAD 132                                                                 PENDLETON           IN 46064‐9098
MICHAEL DAVIS            5326 WILLIAMSON ST                                                                    CLARKSTON           MI 48346‐3559
MICHAEL DAVIS            3657 KAREN PKWY APT 101                                                               WATERFORD           MI 48328‐4653
MICHAEL DAVIS            1508 HOFFMAN AVE                                                                      ROYAL OAK           MI 48067‐3427
MICHAEL DAVIS            164 COTE D AZUR                                                                       CHICO               TX 76431‐2043
MICHAEL DAVIS            5504 W AUTUMN SPRINGS CT                                                              MUNCIE              IN 47304‐6709
MICHAEL DAVIS            3748 CHALLENGER DR                                                                    LAKE HAVASU CITY    AZ 86406‐9136
MICHAEL DAVIS            905 DONMAR DR                                                                         HOUGHTON            MI 49931‐1738
MICHAEL DAVIS            2367 OLD PEACHTREE RD                                                                 DULUTH              GA 30097‐3431
MICHAEL DAVIS            8931 S 35TH ST                                                                        FRANKLIN            WI 53132‐9365
MICHAEL DAVIS            321 OLE CARRIAGE DR                                                                   ATHENS              AL 35613‐2030
MICHAEL DAVIS            PO BOX 153                                                                            ROBINSONVILLE       MS 38664‐0153
MICHAEL DAVIS            822 EL CAMINO DR                                                                      PEVELY              MO 63070‐2032
MICHAEL DAVIS            155 CADDY RD                                                                          ROTONDA WEST        FL 33947‐2221
MICHAEL DAVIS            103 HILLSIDE DR                                                                       BALDWIN CITY        KS 66006‐7003
MICHAEL DAVIS            13401 LEGACY HILL RD                                                                  OKLAHOMA CITY       OK 73170‐5027
MICHAEL DAVIS            1629 FOREST COMMONS DR                                                                AVON                IN 46123‐7411
MICHAEL DAVIS            1601 S J ST                                                                           ELWOOD              IN 46036‐2834
MICHAEL DAVIS            130 GREENBRIAR CT                                                                     LIMA                OH 45804‐3340
MICHAEL DAVIS            2228 WRENWOOD ST SW                                                                   WYOMING             MI 49519‐2325
MICHAEL DAVIS            11655 GODFREY RD                                                                      MORRICE             MI 48857‐9617
MICHAEL DAVIS            3163 S 100 E                                                                          KOKOMO              IN 46902‐9545
MICHAEL DAVIS            3440 BURTON PL                                                                        ANDERSON            IN 46013‐5242
MICHAEL DAVIS            3608 BRIARWOOD DR                                                                     FLINT               MI 48507‐1458
MICHAEL DAVIS            2409 WEST M61                                                                         GLADWIN             MI 48624
MICHAEL DAVIS            16545 SAINT MARYS ST                                                                  DETROIT             MI 48235‐3652
MICHAEL DAVIS            5301 CHIN MAYA DR                                                                     SWARTZ CREEK        MI 48473‐8611
MICHAEL DAVIS            1709 MICHAELANE DR                                                                    SAGINAW             MI 48604‐9209
MICHAEL DAVIS            3164 W SUTTON RD                                                                      LAPEER              MI 48446‐9811
MICHAEL DAVIS            9595 HADLEY RD                                                                        CLARKSTON           MI 48348‐1903
MICHAEL DAVIS            9200 WARNER RD                                                                        HASLETT             MI 48840‐9236
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Name                   Address1                        Address2                   Address3             Address4           City               State Zip
MICHAEL DAVIS          5441 LESSANDRO ST                                                                                  SAGINAW             MI 48603‐3628
MICHAEL DAVIS          509 E EDGEWOOD BLVD APT 216                                                                        LANSING             MI 48911‐5994
MICHAEL DAVIS          16 CAMBRIDGE CT                                                                                    LEXINGTON           OH 44904‐9780
MICHAEL DAVIS          1401 DODSON CT                                                                                     FRANKLIN            TN 37064‐9617
MICHAEL DAVIS          1415 PARKER ST #566                                                                                DETROIT             MI 40214‐2614
MICHAEL DAVIS          5960 OAKMAN BLVD                                                                                   DETROIT             MI 48204‐3040
MICHAEL DAVIS          1565 APPLEWOOD AVE                                                                                 LINCOLN PARK        MI 48146‐2128
MICHAEL DAVIS          310 KIMBERLY DR                                                                                    COLUMBIA            TN 38401‐6908
MICHAEL DAVIS          811 SUNCREST DR                                                                                    FLINT               MI 48504‐8108
MICHAEL DAVIS          2136 GLEN ELLYN ST                                                                                 OKLAHOMA CITY       OK 73111‐2124
MICHAEL DAVIS          4224 BOWMAN MEADOW DR                                                                              CANAL WINCHESTER    OH 43110‐7843
MICHAEL DAVIS          1632 COUNTY ROAD 1107A                                                                             CLEBURNE            TX 76031‐0817
MICHAEL DAVIS          328 N. MAPLE AVE APT8                                                                              FAIRBORN            OH 45324
MICHAEL DAVITON        2610 STARKS WAY                                                                                    RENO                NV 89512‐1480
MICHAEL DAWSON         4401 S HILLCREST CIR                                                                               FLINT               MI 48506‐1451
MICHAEL DAWSON         1635 ROBIN PL                                                                                      CLEBURNE            TX 76033‐4124
MICHAEL DAY            520 HARRISON ST                                                                                    ROCHESTER           MI 48307‐1916
MICHAEL DAY            18920 E LAKE DR                                                                                    AURORA              CO 80016‐3840
MICHAEL DAY            3510 TENNYSON DR                                                                                   JANESVILLE          WI 53548‐8808
MICHAEL DAY            PO BOX 276                      IN CARE OF DONNA MOORE                                             CROSS PLAINS        TX 76443‐0276
MICHAEL DAY EN/WADSW   PO BOX 179                      960 SEVILLE ROAD                                                   WADSWORTH           OH 44282‐0179
MICHAEL DAYS           1451 ALTON DARBY CREEK RD                                                                          COLUMBUS            OH 43228‐9654
MICHAEL DE ANGELIS     14 FRANKLIN AVE                                                                                    WEST CALDWELL       NJ 07006‐7236
MICHAEL DE BONIS       506 NOTTINGHILL LN                                                                                 HAMILTON            NJ 08619‐4007
MICHAEL DE CARO        LEVY PHILLIPS & KONIGSBERG      800 3RD AVE 13TH FL                                                NEW YORK            NY 10022‐4213
MICHAEL DE COOK        9551 KLAIS RD                                                                                      CLARKSTON           MI 48348‐2332
MICHAEL DE FILIPPS     19 EAST AVE                                                                                        HOLLEY              NY 14470‐1015
MICHAEL DE FRAIN       5157 MIDDLEBORO RD                                                                                 GRAND BLANC         MI 48439‐8632
MICHAEL DE GRANDE      35317 REMINGTON DR                                                                                 STERLING HEIGHTS    MI 48310‐4912
MICHAEL DE LEY         1809 E 47TH ST                                                                                     ANDERSON            IN 46013‐2755
MICHAEL DE MAY         6136 BORDMAN RD                                                                                    BRUCE TWP           MI 48065‐1210
MICHAEL DE MEO         47 PROSPECT PL                                                                                     BELLEVILLE          NJ 07109‐2526
MICHAEL DE PETRO       1165 PINE RIDGE CT                                                                                 MILFORD             MI 48380‐3600
MICHAEL DE ROSO        992 N FAIRVIEW RD                                                                                  WEST BRANCH         MI 48661‐9210
MICHAEL DE RUITER      2087 HILLWOOD DR                                                                                   LAKE ORION          MI 48360‐2291
MICHAEL DE WYSE        694 E KITCHEN RD                                                                                   PINCONNING          MI 48650‐7486
MICHAEL DEAN           P O 1203                                                                                           N TONAWANDA         NY 14120
MICHAEL DEAN           117 BLACKBEARD WAY                                                                                 FORT MYERS BEACH    FL 33931‐3423
MICHAEL DEAN           2505 OHIO AVE                                                                                      FLINT               MI 48506‐3846
MICHAEL DEAN           1351 KNICKERBOCKER AVE                                                                             FLINT               MI 48505‐1128
MICHAEL DEAN           563 MICHAEL PL                                                                                     TIPP CITY           OH 45371‐1239
MICHAEL DEAN HELMS     NIX, PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DR                            DAINGERFIELD        TX 75638
MICHAEL DEAN PIKAART   ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                       ANGELIDES & BARNERD LLC
MICHAEL DEANOVICH      323 RESERVE RIDGE DR                                                                               HUFFMAN            TX   77336‐3161
MICHAEL DEAR           6300 BURNINGTREE DR                                                                                BURTON             MI   48509‐2611
MICHAEL DEARING        309 EAGLE GLEN CT                                                                                  RAYMORE            MO   64083‐9576
MICHAEL DEARING        2101 N VASSAR RD                                                                                   BURTON             MI   48509‐1380
MICHAEL DEASON         4915 VICTORIA ROSE CT                                                                              CUMMING            GA   30040‐1838
MICHAEL DEATON         10420 TULLIS AVE                                                                                   KANSAS CITY        MO   64134‐2045
MICHAEL DEATON         4318 WALBRIDGE TRL                                                                                 DAYTON             OH   45430‐1829
MICHAEL DEBARBA        16704 STATE ROUTE 15                                                                               DEFIANCE           OH   43512‐8955
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Name                   Address1                        Address2                     Address3   Address4         City             State Zip
MICHAEL DEBEAU         2528 VERNOR RD                                                                           LAPEER            MI 48446‐8329
MICHAEL DEBO           1093 E ERICKSON RD                                                                       PINCONNING        MI 48650‐9475
MICHAEL DEBOER         47740 N SHORE DR                                                                         BELLEVILLE        MI 48111‐2231
MICHAEL DEBONO         52060 ANTLER DR                                                                          MACOMB            MI 48042‐3496
MICHAEL DECAIRE        G6075 N MCKINLEY RD                                                                      FLUSHING          MI 48433
MICHAEL DECK           9708 MIAMISBURG SPRINGBORO RD                                                            MIAMISBURG        OH 45342‐4764
MICHAEL DECKER         3920 WHITE SPRINGS RD                                                                    SPENCER           IN 47460‐6443
MICHAEL DECKER         PO BOX 183                                                                               MORRICE           MI 48857‐0183
MICHAEL DEEN           2723 OCEAN OAKS DRIVE NORTH                                                              FERNANDINA        FL 32034‐4826
MICHAEL DEERING        471 W HILDALE                                                                            DETROIT           MI 48203‐1949
MICHAEL DEFEBAUGH      22080 N 1245 EAST RD                                                                     DANVILLE           IL 61834‐5328
MICHAEL DEFFENBAUGH    27522 HALL CEMETERY RD                                                                   TONEY             AL 35773‐8164
MICHAEL DEFILIPPIS     13500 BELL RD                                                                            CALEDONIA         WI 53108‐9754
MICHAEL DEFILIPPO JR   249 S NIAGARA ST                                                                         LOCKPORT          NY 14094‐1926
MICHAEL DEFOOR         2833 NILES VIENNA RD                                                                     NILES             OH 44446‐4406
MICHAEL DEFRANK        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
MICHAEL DEGRAZIA       15211 EUCLID AVE                                                                         ALLEN PARK        MI 48101‐2961
MICHAEL DEIESO         9605 HAVEN FARM RD UNIT J                                                                PERRY HALL        MD 21128‐9168
MICHAEL DELANEY        1005 W STEWART ST                                                                        OWOSSO            MI 48867‐4259
MICHAEL DELASHAW       1601 COUNTY ROAD 345                                                                     DECATUR           AL 35603‐7123
MICHAEL DELGROSSO      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MICHAEL DELINE         416 BUTTERNUT ST                                                                         SAINT LOUIS       MI 48880‐1957
MICHAEL DELISIO        BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MICHAEL DELLANGELO     BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
MICHAEL DELONG         1295 ROCHESTER RD                                                                        LEONARD           MI 48367‐3831
MICHAEL DELOR          650 N CARNEY DR                                                                          SAINT CLAIR       MI 48079‐5215
MICHAEL DEMAGGIO       5575 AMAZON AVE                                                                          JACKSONVILLE      FL 32254
MICHAEL DEMAGGIO       2825 DELLWOOD AVE                                                                        JACKSONVILLE      FL 32205‐5807
MICHAEL DEMAGGIO
MICHAEL DEMAGGIO       5508 AMAZON AVE                                                                          JACKSONVILLE     FL   32254
MICHAEL DEMARCO        488 BOUTELL DR                                                                           GRAND BLANC      MI   48439‐1517
MICHAEL DEMARIA        1751 REGENE ST                                                                           WESTLAND         MI   48186‐9728
MICHAEL DEMENT         7141 KESSLING ST                                                                         DAVISON          MI   48423‐2445
MICHAEL DEMKO          1370 BOYD ST                                                                             TROY             MI   48083‐5404
MICHAEL DEMPSEY        5377 E COUNTY LINE RD                                                                    CAMBY            IN   46113‐8483
MICHAEL DEMPSEY        303 E WALNUT ST                                                                          KOKOMO           IN   46901‐4811
MICHAEL DEMPSEY        584 W VIENNA ST                                                                          CLIO             MI   48420‐1310
MICHAEL DEMPSEY        2963 WOODLAND CT                                                                         METAMORA         MI   48455‐8930
MICHAEL DEMSKY         5908 NOTTINGHAM POINTE                                                                   BRIGHTON         MI   48116
MICHAEL DENDY          297 CORTNER HOLLOW RD                                                                    PETERSBURG       TN   37144‐8541
MICHAEL DENHAM         304 WESTBRIAR WAY                                                                        WOODSTOCK        GA   30189‐8131
MICHAEL DENIAKIS       7775 VENICE HEIGHTS DR NE                                                                WARREN           OH   44484‐1507
MICHAEL DENIHAN        202 S MAIN ST                                                                            CORNERSVILLE     TN   37047‐4225
MICHAEL DENISON        1230 N ASTOR RD                                                                          BALDWIN          MI   49304‐7745
MICHAEL DENK           3127 N 59TH ST                                                                           KANSAS CITY      KS   66104‐1525
MICHAEL DENNEE         1148 CLAIRE DR                                                                           SPRING HILL      TN   37174‐7349
MICHAEL DENNIS         3811 IMLAY CITY RD                                                                       ATTICA           MI   48412‐9730
MICHAEL DENNISON       16243 COUNTY ROAD 153                                                                    DEFIANCE         OH   43512‐9350
MICHAEL DENNISS        6984 GEIGER RD                                                                           TEMPERANCE       MI   48182‐9784
MICHAEL DENNY          4385 MEADOWS AVE                                                                         GRAND BLANC      MI   48439‐8698
MICHAEL DENT           PO BOX 123                                                                               DIMONDALE        MI   48821‐0123
MICHAEL DENTON         2737 WISMER AVE                                                                          OVERLAND         MO   63114‐3138
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Name                    Address1                         Address2                     Address3           Address4              City               State Zip
MICHAEL DEOERIO         8081 AQUADALE DR                                                                                       YOUNGSTOWN          OH 44512‐5908
MICHAEL DEPAOLO
MICHAEL DERISO          5799 BELLSHIRE LN                                                                                      CLARKSTON          MI   48346‐4745
MICHAEL DERONNE         19126 DEVONSHIRE ST                                                                                    BEVERLY HILLS      MI   48025‐3946
MICHAEL DEROSE          8276 LEFFINGWELL RD                                                                                    CANFIELD           OH   44406‐9786
MICHAEL DERRIG          32524 PARKWOOD ST                                                                                      WESTLAND           MI   48186‐4944
MICHAEL DERRIG JR       37481 MUNGER ST                                                                                        LIVONIA            MI   48154‐1276
MICHAEL DERRINGER       PO BOX 135904                                                                                          CLERMONT           FL   34713
MICHAEL DERUSHA         7405 GOLF GATE DR                                                                                      LANSING            MI   48917‐9672
MICHAEL DERWINSKI       4366 S ATLANTIC AVE                                                                                    PONCE INLET        FL   32127‐6939
MICHAEL DERZSY          14127 PHEASANT LN                                                                                      ORLAND PARK        IL   60467‐1120
MICHAEL DESANTIS        118 MANDERLY CT                                                                                        BEAR               DE   19701‐3318
MICHAEL DESANTIS JR     918 NOB HILL DR APT 2                                                                                  NILES              OH   44446‐4631
MICHAEL DESJARDINS      426 DAVIE AVE                                                                                          STATESVILLE        NC   28677‐5321
MICHAEL DESJARLAIS      3953 PEMBROKE RD                                                                                       BAY CITY           MI   48706‐1452
MICHAEL DESMARAIS       48163 FORBES ST                                                                                        CHESTERFIELD       MI   48047‐2273
MICHAEL DESMET          8063 HAVILAND BEACH DR                                                                                 LINDEN             MI   48451‐8749
MICHAEL DESMON          AGENT FOR THE DESMON &           CREIGHTON PC PSP             U/A/D 03/31/1981   305 EAST MAPLE ROAD   TROY               MI   48083
MICHAEL DESMON          AGENT FOR THE                    DESMON & CREIGHTON PC PSP    U/A/D 03/31/1981   305 EAST MAPLE ROAD   TROY               MI   48083
MICHAEL DESSERT         24723 WESTMORELAND DR                                                                                  FARMINGTON HILLS   MI   48336‐1963
MICHAEL DESTRAMPE       7073 EVANS DR                                                                                          FRANKLIN           WI   53132‐8908
MICHAEL DETRYCH         46442 N VALLEY DR                                                                                      NORTHVILLE         MI   48167‐1791
MICHAEL DETTERMAN       7150 COUNTY ROAD 47                                                                                    LEXINGTON          OH   44904‐9601
MICHAEL DEVAULT         1972 HIGGINS RD                                                                                        SAINT HELEN        MI   48656‐9354
MICHAEL DEVEAUX         9888 ROAD 191                                                                                          OAKWOOD            OH   45873‐9343
MICHAEL DEVEREAUX       1188 JAMES R ST                                                                                        HOWELL             MI   48843‐9137
MICHAEL DEVEREUX        PO BOX 9022                                                                                            WARREN             MI   48090‐9022
MICHAEL DEVERSO         1951 PALACO GRANDE PKWY                                                                                CAPE CORAL         FL   33904‐4450
MICHAEL DEVINE          1731 HILTON PARMA CRNS RD                                                                              SPENCERPORT        NY   14559
MICHAEL DEVINE          4450 WALL RD                                                                                           PORT HURON         MI   48060‐2448
MICHAEL DEVLIN          6471 OCHA DR                                                                                           EAST LANSING       MI   48823‐9412
MICHAEL DEVLIN          45 BARCLAY COURT                                                                                       ROCHESTER          NY   14612‐2383
MICHAEL DEVLIN          45 BARCLAY CT                                                                                          ROCHESTER          NY   14612‐2383
MICHAEL DEVORCHIK       287 RASPBERRY ROAD                                                                                     LEOLA              PA   17540‐2215
MICHAEL DEW             1730 35TH AVE                                                                                          OAKLAND            CA   94601‐3616
MICHAEL DEWITT          9312 W 700 S                                                                                           PENDLETON          IN   46064‐9738
MICHAEL DEWYSE          2570 N PETERSON BEACH DR                                                                               PINCONNING         MI   48650‐7527
MICHAEL DEWYSE JR       4524 CARPENTER RD                                                                                      DEFIANCE           OH   43512‐9698
MICHAEL DI BEASE, JR.   160 DARWIN DR                                                                                          DEPEW              NY   14043‐1636
MICHAEL DI FILIPPO      306 GYPSY HILL RD                                                                                      LANDENBERG         PA   19350‐1511
MICHAEL DI STEFANO      91 SHEPPERTON WAY                                                                                      ROCHESTER          NY   14626‐5218
MICHAEL DI STEFANO      53 ROSALIE DR                                                                                          ROCHESTER          NY   14626‐1511
MICHAEL DIAMANDIS       126 PIN OAK PL                                                                                         CAMPBELL           OH   44405‐1683
MICHAEL DIAMOND         2490 SWARTHOUT RD                                                                                      PINCKNEY           MI   48169‐9252
MICHAEL DIAZ
MICHAEL DIBBLE          45 VAN RD                                                                                              NORTH AUGUSTA      SC   29860‐8497
MICHAEL DIBLASIO        433 MAPLEVIEW RD                                                                                       CHEEKTOWAGA        NY   14225‐1661
MICHAEL DICATO          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.        OH   44236
MICHAEL DICICCO         5717 BELLE RIVER RD                                                                                    ATTICA             MI   48412‐9601
MICHAEL DICK            809 S ALBANY ST                                                                                        SELMA              IN   47383‐9742
MICHAEL DICKENS         1413 KETTERING ST                                                                                      BURTON             MI   48509‐2405
MICHAEL DICKENS         160 S 21ST AVE 598                                                                                     MAYWOOD            IL   60153
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MICHAEL DICKERSON      44 OAK LANE DR                                                                      JAMESTOWN           IN 46147‐8908
MICHAEL DICKERSON      7049 BRAZOS TRL                                                                     WEATHERFORD         TX 76087‐9387
MICHAEL DICKERSON      22102 FABIUS DR                                                                     LAKE ST LOUIS       MO 63367‐1999
MICHAEL DICKHAUSEN     1120 DOERR ST                                                                       SAGINAW             MI 48601‐4548
MICHAEL DICKINSON      15264 PARIS ST                                                                      ALLEN PARK          MI 48101‐3512
MICHAEL DICUS
MICHAEL DIDONATO       PO BOX 2115                                                                         WOONSOCKET         RI   02895‐0913
MICHAEL DIEFENBACH     661 JIM TOWN RD                                                                     MOORESBURG         TN   37811‐2447
MICHAEL DIETLEIN       2009 MAPLE LN                                                                       GARRETT            IN   46738‐1818
MICHAEL DIETZ          910 LEIGHSFORD LN APT 4105                                                          ARLINGTON          TX   76006
MICHAEL DIETZ          7326 PINE RD                                                                        LEXINGTON          MI   48450‐8959
MICHAEL DIFABIO        6815 PINEBROOK CT                                                                   AUSTINTOWN         OH   44515‐5589
MICHAEL DIGIOVANNI     28652 WINTERGREEN CT                                                                FARMINGTON HILLS   MI   48331‐3003
MICHAEL DIGREGORIO     154 S MAIN ST                                                                       AUSTINTOWN         OH   44515‐3226
MICHAEL DIKOS          11369 LENNON RD                                                                     SWARTZ CREEK       MI   48473‐8575
MICHAEL DILDINE        30232 DELL LN                                                                       WARREN             MI   48092‐1834
MICHAEL DILLARD        2200 GENESSEE AVE                                                                   COLUMBUS           OH   43211‐1832
MICHAEL DIMATTEO I I   4508 HASTINGS DR                                                                    DAYTON             OH   45440‐1812
MICHAEL DIMEFSKI       817 STAG RIDGE RD                                                                   ROCHESTER HILLS    MI   48309‐2553
MICHAEL DIMMICK        163 WOODLAND HOLLOW DRIVE                                                           FOREST CITY        NC   28043
MICHAEL DINAPOLI       707 SIERRA VISTA LN                                                                 VALLEY COTTAGE     NY   10989‐2718
MICHAEL DINGLER        6851 ROSWELL RD NE APT I29                                                          ATLANTA            GA   30328‐2478
MICHAEL DINGMAN        522 YORKSHIRE DR APT 54                                                             ROCHESTER HILLS    MI   48307‐4080
MICHAEL DINNAN         2022 INDIAN RD                                                                      LAPEER             MI   48446‐8048
MICHAEL DISHAW         4210 RICHMARK LN                                                                    BAY CITY           MI   48706‐2259
MICHAEL DIVINEY        1550 N HADLEY RD                                                                    ORTONVILLE         MI   48462‐9794
MICHAEL DIVINEY JR     2120 QUAIL RUN                                                                      ORTONVILLE         MI   48452‐9257
MICHAEL DIVIRGILIO     1704 S RIDING LN                                                                    WILMINGTON         DE   19804‐3430
MICHAEL DIX            1570 SUNDALE AVE                                                                    DAYTON             OH   45406‐3647
MICHAEL DIXON          7144 LAKE AVE                                                                       MECOSTA            MI   49332‐9673
MICHAEL DIXON          909 SHERIDAN PL                                                                     SAGINAW            MI   48601‐2361
MICHAEL DJURICIN       1610 LILLIAN CIR                                                                    COLUMBIA           TN   38401‐5418
MICHAEL DOAN           403 W CLARA ST                                                                      LINWOOD            MI   48634‐9531
MICHAEL DOBBELAERE     19603 RD T‐108                                                                      OAKWOOD            OH   45873
MICHAEL DOBBINS        1618 HILL ST                                                                        ANDERSON           IN   46012‐2426
MICHAEL DOBBS          808 S WHITNEY RD                                                                    MUNCIE             IN   47302‐9248
MICHAEL DOBIAS         513 HARRIET AVE                                                                     LANSING            MI   48917‐2711
MICHAEL DOBLE          1150 BARR RD                                                                        OXFORD             MI   48370‐2935
MICHAEL DOBROMIL       242 ARMSTRONG AVE                                                                   FLUSHING           MI   48433‐9297
MICHAEL DOBROVIC       2685 ALVESTON DR                                                                    BLOOMFIELD HILLS   MI   48304‐1803
MICHAEL DOBROWOLSKI    393 BUCK HOLLOW RD                                                                  FAIRFIELD          VT   05455‐5680
MICHAEL DOBSON         13538 ABINGTON AVE                                                                  DETROIT            MI   48227‐1328
MICHAEL DOBUSKI        140 LIBERTY ST                                                                      NEWTOWN            PA   18940‐2025
MICHAEL DOCKHAM        1105 COCHISE TRL                                                                    CROSSVILLE         TN   38572‐6325
MICHAEL DOCKHAM        417 CAMERON AVE                                                                     PONTIAC            MI   48342‐1809
MICHAEL DODGE          13916 E GERONIMO RD                                                                 SCOTTSDALE         AZ   85259‐3722
MICHAEL DOEDEN         747 PURITAN AVE                                                                     BIRMINGHAM         MI   48009‐1261
MICHAEL DOERR          1892 S KREPPS RD R#6                                                                SAINT JOHNS        MI   48879
MICHAEL DOGARIU        52336 WALNUT DR                                                                     CHESTERFIELD       MI   48047‐4548
MICHAEL DOHERTY        66 WOODBURY RD                                                                      EDISON             NJ   08820‐2959
MICHAEL DOIDGE         429 OLD PINE WAY                                                                    WALLED LAKE        MI   48390‐3546
MICHAEL DOKTER         65 THREE OAKS RD                                                                    OKEMOS             MI   48864‐4172
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Name                    Address1                       Address2            Address3         Address4         City                 State Zip
MICHAEL DOLAN           10212 N DELAWARE DR                                                                  BANGOR                PA 18013‐4422
MICHAEL DOLES           6709 FARMSTEAD LN                                                                    FREDERICKSBRG         VA 22407‐1744
MICHAEL DOLLOFF         11500 COLONIAL WOODS DR                                                              CLIO                  MI 48420‐1573
MICHAEL DOLPHIN         6985 VINTON AVE NW                                                                   COMSTOCK PARK         MI 49321‐9715
MICHAEL DOMBROWSKI      8945 24 MILE RD                                                                      SHELBY TWP            MI 48316‐3710
MICHAEL DOMBROWSKI      19665 TWIN SCHOOL HWY                                                                ONAWAY                MI 49765‐9635
MICHAEL DOMBROWSKI JR   2270 LEE HILL RD                                                                     CARO                  MI 48723‐9448
MICHAEL DOMINICK        14458 VALE CT                                                                        STERLING HEIGHTS      MI 48312‐2574
MICHAEL DOMINY          75 FALLING CREEK CIR                                                                 JANESVILLE            WI 53548‐9106
MICHAEL DOMMOND         20113 MANOR ST                                                                       DETROIT               MI 48221‐1041
MICHAEL DONAGHUE        18 ALBERT DR                                                                         OLD BRIDGE            NJ 08857‐2505
MICHAEL DONAHOO         707 CASHMERE DR                                                                      THOMPSONS STN         TN 37179‐5365
MICHAEL DONAHUE         19658 US HIGHWAY 59 N                                                                QUEEN CITY            TX 75572‐6914
MICHAEL DONAHUE         210 GLEN BERNE DR                                                                    WILMINGTON            DE 19804‐3410
MICHAEL DONALDSON       2333 WEMPLE ST                                                                       HOLT                  MI 48842‐1131
MICHAEL DONES           109 CARR DR                                                                          SPRING HILL           TN 37174‐7359
MICHAEL DONNAURNMO      5880 YORKTOWN LN                                                                     AUSTINTOWN            OH 44515‐2209
MICHAEL DONNELLON       7433 VILLAGE CT                                                                      DAVISBURG             MI 48350‐2555
MICHAEL DONNELLY        6082 PEARL ST                                                                        BURTON                MI 48509‐2225
MICHAEL DONNELLY        16940 JOSEPHINE                                                                      FRASER                MI 48026‐2246
MICHAEL DONNELLY        230 PIONEER DR                                                                       PONTIAC               MI 48341‐1849
MICHAEL DONNELLY        16107 W SANDIA PARK DR                                                               SURPRISE              AZ 85374‐6426
MICHAEL DONNELLY        2 RIVERVIEW DR                                                                       ANDERSON              IN 46012‐9461
MICHAEL DONNELLY JR     5114 RIVER RIDGE DR                                                                  LANSING               MI 48917‐1357
MICHAEL DONNENWERTH     9640 HILL ST                                                                         REESE                 MI 48757‐9441
MICHAEL DONOGHUE        1676 DEVONWOOD DR                                                                    ROCHESTER HILLS       MI 48306‐3105
MICHAEL DONOVAN         11421 ZUBRICK RD                                                                     ROANOKE               IN 46783‐9641
MICHAEL DONOVAN         1917 CONNECTICUT BLVD                                                                HOLLAND               OH 43528‐9780
MICHAEL DONOVAN         1711 W NELSON ST                                                                     MARION                IN 46952‐3323
MICHAEL DOOLITTLE       8716 W ST JOE HWY                                                                    LANSING               MI 48917‐8810
MICHAEL DOORHY          3788 KEDRON RD                                                                       SPRING HILL           TN 37174‐2154
MICHAEL DORAIS          7633 MCCLEMENTS RD                                                                   BRIGHTON              MI 48114‐8774
MICHAEL DORAN           3339 S MURRAY RD                                                                     JANESVILLE            WI 53548‐9196
MICHAEL DORAN           5417 MILES RD                                                                        PLAINFIELD            IN 46168‐9784
MICHAEL DORAN           449 WESTFIELD DR NW                                                                  COMSTOCK PARK         MI 49321‐9315
MICHAEL DORAN           7207 SANFORD RD                                                                      HOWELL                MI 48855‐8265
MICHAEL DOREY           6355 RUIDOSO DR                                                                      SAGINAW               MI 48603‐4805
MICHAEL DORNBUSH        4159 AQUARINA ST                                                                     WATERFORD             MI 48329‐2119
MICHAEL DOROW           852 W SUMMERFIELD GLEN CIR                                                           ANN ARBOR             MI 48103‐9164
MICHAEL DORSEY          6222 SONHAVEN DR                                                                     SHREVEPORT            LA 71119‐6219
MICHAEL DOTSON          526 S 100 W                                                                          FRANKLIN              IN 46131‐8433
MICHAEL DOTSON          22347 ROAD 122                                                                       OAKWOOD               OH 45873‐9322
MICHAEL DOTY            2823 BRIDGESTONE CIR                                                                 KOKOMO                IN 46902‐7007
MICHAEL DOTY            2810 MCGEE CT                                                                        THOMPSONS STN         TN 37179‐5036
MICHAEL DOUGET          1530 INDUSTRIAL ST                                                                   VINTON                LA 70668‐4506
MICHAEL DOUGHERTY       22445 ARDMORE PARK DR                                                                SAINT CLAIR SHORES    MI 48081‐2012
MICHAEL DOUGHERTY       205 ONEIDA DR                                                                        CLAIRTON              PA 15025‐2711
MICHAEL DOUGLAS         7454 HANOVER ST                                                                      DETROIT               MI 48206‐2650
MICHAEL DOUGLAS         5415 WYNDAM LN                                                                       BRIGHTON              MI 48116‐4734
MICHAEL DOUGLAS         10047 GABRIELLA DR                                                                   N ROYALTON            OH 44133‐1303
MICHAEL DOUGLAS         7380 JORDAN RD                                                                       LEWISBURG             OH 45338‐6786
MICHAEL DOUGLASS        9383 N KINGBIRD CT                                                                   FORTVILLE             IN 46040‐9756
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Name                   Address1                         Address2                     Address3   Address4         City                 State Zip
MICHAEL DOVELL         107 EAGLE RIDGE CT                                                                        CARLISLE              OH 45005‐3098
MICHAEL DOVER          5273 VINEYARD LN                                                                          FLUSHING              MI 48433‐2437
MICHAEL DOVORANY       10483 HART AVE                                                                            HUNTINGTON WOODS      MI 48070‐1127
MICHAEL DOWD           7898 DEBORA DR                                                                            BRIGHTON              MI 48114‐9478
MICHAEL DOWDALL        2205 HOLLY TREE DR                                                                        DAVISON               MI 48423‐2065
MICHAEL DOWDY          4187 US HIGHWAY 45 W                                                                      KENTON                TN 38233‐3443
MICHAEL DOWELL         8592 GULL ROAD                                                                            RICHLAND              MI 49083‐9647
MICHAEL DOWLAN         6114 ADAMSON DR                                                                           WATERFORD             MI 48329‐3001
MICHAEL DOWN           809 N MICHIGAN AVE                                                                        HOWELL                MI 48843‐1513
MICHAEL DOWNEY         6480 TWP RD 255                                                                           GALION                OH 44833
MICHAEL DOWNEY         11637 MILLER RD                                                                           GAINES                MI 48436‐8803
MICHAEL DOYLE          506 N WARNER ST                                                                           BAY CITY              MI 48706‐4448
MICHAEL DOYLE          1594 MANCHESTER WAY                                                                       GLADWIN               MI 48624‐8522
MICHAEL DOYLE          3128 ELDER RD N                                                                           WEST BLOOMFIELD       MI 48324‐2416
MICHAEL DOYLE          1302 S MICHIGAN AVE                                                                       SAGINAW               MI 48602‐1410
MICHAEL DOZIER         24994 CROCKER BLVD                                                                        HARRISON TWP          MI 48045‐1909
MICHAEL DRAGON JR      3737 WALTERS DR                                                                           BRUNSWICK             OH 44212‐2746
MICHAEL DRAKE          3320 WOODSTOCK DR                                                                         DETROIT               MI 48221‐1340
MICHAEL DRAKE          3863 BOONE AVE SW                                                                         WYOMING               MI 49519‐3705
MICHAEL DRAKE          PO BOX 32                                                                                 CROSS PLAINS          IN 47017‐0032
MICHAEL DRAKE          55 HELEN ST                                                                               OXFORD                MI 48371‐3603
MICHAEL DRAKE          357 PINNACLE DR                                                                           LAKE ORION            MI 48360‐2483
MICHAEL DRAKE          1057 VALLEY STREAM DR                                                                     ROCHESTER HILLS       MI 48309‐1730
MICHAEL DRANE          3590 N LASALLE ST                                                                         INDIANAPOLIS          IN 46218‐1313
MICHAEL DRANKOSKI
MICHAEL DRAPAL         PO BOX 900                                                                                ROYAL OAK            MI   48068‐0900
MICHAEL DRAPER         2071 MACKINAW DR                                                                          DAVISON              MI   48423‐2357
MICHAEL DRAYBUCK       50924 WESTON DR                                                                           PLYMOUTH             MI   48170‐3198
MICHAEL DREES          2010 HERTEL AVE                                                                           BUFFALO              NY   14214‐1030
MICHAEL DREGER         15165 28 MILE RD                                                                          WASHINGTN TWP        MI   48094‐1800
MICHAEL DRESSEL        5560 SAMARIA RD                                                                           OTTAWA LAKE          MI   49267‐9729
MICHAEL DREVON         3512 GRANGE HALL RD APT 309                                                               HOLLY                MI   48442‐1095
MICHAEL DRISCOLL       13684 GEDDES RD                                                                           HEMLOCK              MI   48626‐9431
MICHAEL DROBA          291 GOLF DR NE                                                                            WARREN               OH   44483‐6308
MICHAEL DROGOSEK JR    120 DIANA RD                                                                              PLANTSVILLE          CT   06479‐1307
MICHAEL DUANE TAYLOR   1906 GUENTHER RD                                                                          DAYTON               OH   45427‐3304
MICHAEL DUBEY          1236 CHATWELL DR                                                                          DAVISON              MI   48423‐2722
MICHAEL DUBOIS         PO BOX 354                                                                                BYRON                MI   48418‐0354
MICHAEL DUCHATEAU      13631 E 300 S                                                                             GREENTOWN            IN   46936‐9771
MICHAEL DUCHON         4708 YOUNGERS RD                                                                          NORTH JAVA           NY   14113‐9734
MICHAEL DUCKWORTH      127 FRANK ST                                                                              MEDINA               NY   14103‐1714
MICHAEL DUCKWORTH      111 SPARROW POINT RD                                                                      LEXINGTON            SC   29073‐7906
MICHAEL DUDA           6809 ARMISTEAD RD                                                                         BALTIMORE            MD   21219‐1201
MICHAEL DUDASH         353 CALLAHAN RD                                                                           CANFIELD             OH   44406‐1334
MICHAEL DUDASH         2258 VALLEY VISTA DR                                                                      DAVISON              MI   48423‐8336
MICHAEL DUDEK          253 FOREST AVE                                                                            NORTH MIDDLETOWN     NJ   07748‐5721
MICHAEL DUDUKOVICH     BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.          OH   44236
MICHAEL DUEDE          2811 MILTON AVE # 405                                                                     JANESVILLE           WI   53545
MICHAEL DUERKSEN       1425 BALD EAGLE LAKE RD                                                                   ORTONVILLE           MI   48462‐8438
MICHAEL DUERR          742 HARCOURT RD                                                                           GROSSE POINTE PARK   MI   48230‐1832
MICHAEL DUEWEKE        5933 LYONS RD                                                                             IMLAY CITY           MI   48444‐8824
MICHAEL DUFFEY         236 SALDON LN                                                                             COCOA                FL   32926‐5231
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Name                 Address1                        Address2              Address3             Address4         City               State Zip
MICHAEL DUFRESNE     2326 JOSE RD                                                                                KAWKAWLIN           MI 48631‐9437
MICHAEL DUGAN        683 N JEWELL RD                                                                             NEWTON FALLS        OH 44444‐9569
MICHAEL DUGAN        2205 HENLOPEN AVE                                                                           WILMINGTON          DE 19804‐3621
MICHAEL DUHAIME      17886 MISSION PT                                                                            NORTHVILLE          MI 48168‐8487
MICHAEL DUKES        213 BOXWOOD CIR                                                                             BRANDON             MS 39047‐8004
MICHAEL DULANEY      6930 WHITE PINE CIR                                                                         PARKVILLE           MO 64152‐7102
MICHAEL DULANEY      1955 W WESTHOLME DR                                                                         MARION              IN 46952‐9332
MICHAEL DULAY        2937 NOEL DR                                                                                YOUNGSTOWN          OH 44509‐3025
MICHAEL DUMAS        770 ORION RD APT 433                                                                        LAKE ORION          MI 48362‐3550
MICHAEL DUNAVAN      PO BOX 99                       213 VIRGINIA ST                                             CAMBRIA              IL 62915‐0099
MICHAEL DUNCAN       349 BLUEBIRD ACRES RD                                                                       WOODSTOCK           GA 30188‐3029
MICHAEL DUNCAN       879 DOROTHY LN                                                                              BROOKVILLE          OH 45309‐8689
MICHAEL DUNCAN       292 FAIRVIEW CT                                                                             XENIA               OH 45385
MICHAEL DUNCAN       2014 PENNSYLVANIA DR                                                                        XENIA               OH 45385
MICHAEL DUNHAM       1127 N RIVER BLVD                                                                           INDEPENDENCE        MO 64050‐1752
MICHAEL DUNMIRE      17279 SAN CARLOS BLVD                                                                       FORT MYERS BEACH    FL 33931‐5357
MICHAEL DUNN         6243 EASTKNOLL DR APT 144                                                                   GRAND BLANC         MI 48439‐5008
MICHAEL DUNN         19714 PARK RD                                                                               BIG RAPIDS          MI 49307‐9291
MICHAEL DUNN         35 MILL ST                                                                                  OXFORD              MI 48371‐4959
MICHAEL DUNN         762 BLUE BIRD LN                                                                            MILAN               MI 48160‐1172
MICHAEL DUNN         7334 CORNWELL DR                                                                            DAVISON             MI 48423‐9514
MICHAEL DUNN         DUNN & COMPANY A PROFESSIONAL   903‐700 W PENDER ST   VANCOUVER BRITHSIH   V6C 1G8
                     CORPORATION                                           COLUMBIA
MICHAEL DUNN JR      1050 RIP STEELE RD                                                                          COLUMBIA           TN   38401‐7745
MICHAEL DUNNE        6921 W IRVING PK                                                                            CHICAGO            IL   60634
MICHAEL DUNSIRE      9127 NORBURY DR                                                                             SWARTZ CREEK       MI   48473‐1148
MICHAEL DUNSTAN      2329 MILLBROOK CT                                                                           ROCHESTER HILLS    MI   48306‐3144
MICHAEL DUPREE       PO BOX 430583                                                                               PONTIAC            MI   48343‐0583
MICHAEL DUPUIS       PO BOX 21                                                                                   CARROLLTON         MI   48724‐0021
MICHAEL DURAK        44102 RIVERGATE DR                                                                          CLINTON TWP        MI   48038‐1368
MICHAEL DURBIN       7400 GLENLEAF RD LOT 93                                                                     SHREVEPORT         LA   71129‐3713
MICHAEL DURCO        504 N RIVER RD APT B200                                                                     NAPERVILLE         IL   60563‐4146
MICHAEL DURDLE       PO BOX 354                                                                                  LIMA               OH   45802‐0354
MICHAEL DURKIN       2676 INVITATIONAL DR                                                                        OAKLAND            MI   48363‐2455
MICHAEL DURSO        829 CENTRAL ST                                                                              SANDUSKY           OH   44870‐3204
MICHAEL DURTKA       PO BOX 74576                                                                                ROMULUS            MI   48174‐0576
MICHAEL DUSING       125 HELEN ST                                                                                CHEEKTOWAGA        NY   14206‐2618
MICHAEL DUSSAULT     10248 LEV AVE                                                                               ARLETA             CA   91331‐4471
MICHAEL DUSTIN       2374 E DODGE RD                                                                             CLIO               MI   48420‐9783
MICHAEL DUSUTE       8957 BARNES RD                                                                              MILLINGTON         MI   48746‐9574
MICHAEL DUTCHER      6503 KEMLER TRL NE                                                                          KALKASKA           MI   49646‐7948
MICHAEL DUTTON       5710 MERWIN CHASE RD                                                                        BROOKFIELD         OH   44403‐9763
MICHAEL DUTTON       1227 FM 9 S                                                                                 WASKOM             TX   75692‐5667
MICHAEL DUTZY        674 W LEWISTON AVE                                                                          FERNDALE           MI   48220‐1204
MICHAEL DUVA         236 OAK BARK DR                                                                             HOWELL             MI   48843‐6954
MICHAEL DUVALL       18195 GILMORE RD                                                                            ARMADA             MI   48005‐4112
MICHAEL DYE          315 RIVERVIEW BLVD                                                                          DAYTONA BEACH      FL   32118‐3834
MICHAEL DYE          6235 HOLLINGSWORTH DR                                                                       INDIANAPOLIS       IN   46268‐5072
MICHAEL DYER         7045 REEDS LANE                                                                             WATERFORD          MI   48327
MICHAEL DYKEMAN      2204 S WALNUT ST                                                                            JANESVILLE         WI   53546‐6162
MICHAEL DYLETCZUK    87 W 2ND ST FL 2                                                                            BAYONNE            NJ   07002‐2303
MICHAEL DYMKOUWSKI   135 BOBBY JONES DR                                                                          ETTERS             PA   17319
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Name                     Address1                      Address2            Address3         Address4         City               State Zip
MICHAEL DYTRI            51406 ELLY DR                                                                       CHESTERFIELD        MI 48051‐1964
MICHAEL DZIEGLEWICZ      1127 BETA RD                                                                        WALLED LAKE         MI 48390‐3710
MICHAEL DZINGLESKI       6860 N RIVER RD                                                                     FREELAND            MI 48623‐9269
MICHAEL DZIURDA          3829 MARK ORR RD                                                                    ROYAL OAK           MI 48073‐2247
MICHAEL E AIKEN          268 GLENDOLA AVE NW                                                                 WARREN              OH 44483‐1247
MICHAEL E ALLINOS        229 PENHALE AVE.                                                                    CAMPBELL            OH 44405
MICHAEL E ARMSTRONG      23808 VALENCOURT RD                                                                 COPEMISH            MI 49625‐9719
MICHAEL E BAAB           540 KATHYS WAY                                                                      XENIA               OH 45385‐4882
MICHAEL E BARCAS         3348 S PARNELL AVE                                                                  CHICAGO              IL 60616‐3518
MICHAEL E BENCHIC        10 REGINA DR                                                                        FAIRBORN            OH 45324‐4328
MICHAEL E BLAKE          4120 CHEVELLE DRIVE                                                                 WARREN              OH 44484‐4730
MICHAEL E BORGSTADT      333 NE FIDDLEWOOD AVE                                                               LEES SUMMIT         MO 64086‐8443
MICHAEL E BOWLES         25700 SAN LUPE AVE                                                                  MORENO VALLEY       CA 92551
MICHAEL E BOWLING        4940 ECK RD                                                                         MIDDLETOWN          OH 45042
MICHAEL E BRADO          221 TOWNE CRIER ROAD                                                                LYNCHBURG           VA 24502
MICHAEL E BURTON         2801 W OLIVER DR                                                                    MUNCIE              IN 47302‐2059
MICHAEL E BUSSARD        218 NORTH CHERRY ST                                                                 GERMANTOWN          OH 45327‐1102
MICHAEL E CALLAHAN       3501 CHRISTOPHER LANE                                                               RICHARDSON          TX 75082‐2641
MICHAEL E CHESTER        2963 WHEAT VALLEY DR                                                                HOWELL              MI 48843‐7059
MICHAEL E COLEMAN        RT 5 BOX 10                                                                         DONIPHAN            MO 63935
MICHAEL E COLLINSWORTH   320 HEATHER ST APT 9                                                                ENGLEWOOD           OH 45322
MICHAEL E CORNELIUS      2417 PEACH TREE CT                                                                  MILFORD             MI 48381‐2584
MICHAEL E CRAWFORD       1558 WILLAMET ROAD                                                                  KETTERING           OH 45429
MICHAEL E CROWLEY        448 KIRKWOOD DR                                                                     FAIRBORN            OH 45324
MICHAEL E CURTIS         357 WOODBINE AVE                                                                    STRUTHERS           OH 44471‐2353
MICHAEL E DANIELS        5109 MALIBU COURT                                                                   TROTWOOD            OH 45426
MICHAEL E DAVIS          328 N MAPLE AVE APT 8                                                               FAIRBORN            OH 45324‐5167
MICHAEL E DAY            273 WILLASTON DR                                                                    DAYTON              OH 45431‐2250
MICHAEL E DEVINE         1731 HILTON PARMA CRNS RD                                                           SPENCERPORT         NY 14559‐‐ 95
MICHAEL E DOBSON         WEITZ & LUXENBERG PC          700 BROADWAY                                          NEW YORK CITY       NY 10003
MICHAEL E ECTON          4991 ALHAMBRA COURT                                                                 TROTWOOD            OH 45416‐1101
MICHAEL E EDMONDSON      2635 MARCHMONT DR                                                                   DAYTON              OH 45406‐1236
MICHAEL E ERVIN          3640 HEATHWOOD DR                                                                   TIPP CITY           OH 45371
MICHAEL E FAULMAN        26 LAURELGROVE DR                                                                   UNION               OH 45322
MICHAEL E FITZGERALD     811 BOULEVARD ST                                                                    SYRACUSE            NY 13211‐1804
MICHAEL E FITZMAURICE    1263 ARLINGTON DR                                                                   XENIA               OH 45385
MICHAEL E FORD           4313 BRICK SCHOOLHOUSE RD                                                           HAMLIN              NY 14464‐9532
MICHAEL E FOREMAN        1727 SANDOVAL CT                                                                    INDIANAPOLIS        IN 46214‐2226
MICHAEL E FRAKES         PO BOX 131                                                                          ELVASTON             IL 62334‐0131
MICHAEL E FREELS         1102 COLORADO AVE                                                                   LOVELAND            CO 80537
MICHAEL E FUESTON        6988 COOK JONES RD.                                                                 WAYNESVILLE         OH 45068
MICHAEL E GENDRON        1117 ORANGE AVE                                                                     NORTH FORT MYERS    FL 33903‐7110
MICHAEL E GEORGE         16 ELM ST                                                                           ENGLEWOOD           OH 45322
MICHAEL E GILZOW         1707 APPLE HOLLOW LN                                                                HAMLIN              NY 14464
MICHAEL E GLOVER         18616 OHIO ST                                                                       DETROIT             MI 48221‐2058
MICHAEL E GOLDEN         112 WASHINGTON ST                                                                   SAYREVILLE          NJ 08872‐1735
MICHAEL E GRZESIAK       4224 MAHONING AVE NW                                                                WARREN              OH 44483‐1929
MICHAEL E GUNTER         107 YUKON AVE                                                                       YUKON               OK 73099‐4556
MICHAEL E GURLEY         1004 CLOVERDALE CIRCLE                                                              TALLADEGA           AL 35160
MICHAEL E HALLORAN       2302 EUCLID AVE                                                                     SYRACUSE            NY 13224‐1810
MICHAEL E HANNAN         210 PLYMOUTH AVE                                                                    SYRACUSE            NY 13211‐1609
MICHAEL E HANSEN         25505 CUBBERNESS ST                                                                 ST CLAIR SHRS       MI 48081‐2119
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Name                  Address1                         Address2                    Address3   Address4                City               State Zip
MICHAEL E HARRIS      6661 HEDINGTON SQ APT 5                                                                         CENTERVILLE         OH 45459‐6233
MICHAEL E HAYSLIP     21 ALEX COURT                                                                                   W. CARROLLTON       OH 45449‐1905
MICHAEL E HITCHENS    2979 E 500 N                                                                                    ANDERSON            IN 46012‐9237
MICHAEL E HOBBS       2536 SHAMROCK GDN DR                                                                            CHESPEAKE           VA 23323‐3757
MICHAEL E HOLDCRAFT   401 HAYDEN                                                                                      DAYTON              OH 45431‐1940
MICHAEL E HORNBACK    4538 DARKE PREBLE                COUNTY LINE RD                                                 LEWISBURG           OH 45338
MICHAEL E HULING      309 FRANKLIN ST                                                                                 MIDDLETOWN          OH 45042
MICHAEL E HUS         3344 BISHOP RD                                                                                  DRYDEN              MI 48428‐9752
MICHAEL E JACKSON     1820 APT. K2 WOODVINE ST.                                                                       FAIRBORN            OH 45324
MICHAEL E JENNINGS    1833 MONET DR                                                                                   FORT WAYNE          IN 46845‐9542
MICHAEL E KAISER      107 E HARMON ST                                                                                 OAKWOOD             OH 45873
MICHAEL E KLOC        1257 RIDGE RD                                                                                   LACKAWANNA          NY 14218‐1820
MICHAEL E KNICLEY     1108 BURKET DRIVE                                                                               NEW CARLISLE        OH 45344‐2601
MICHAEL E KRAJEWSKI   4144 KALAYNE LN                                                                                 WILLIAMSVILLE       NY 14221‐7376
MICHAEL E LANE        5319 NASSAR ST                                                                                  FLINT               MI 48505‐1064
MICHAEL E LEE         C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                      HOUSTON             TX 77007
                      BOUNDAS LLP
MICHAEL E LEIGHOW     356 KATYS CHURCH RD                                                                             MUNCY              PA   17756
MICHAEL E LILLY       5365 VALCOURT ST                                                                                MIAMISBURG         OH   45342‐1432
MICHAEL E LINDSEY     4457 SATELLITE AVE                                                                              DAYTON             OH   45415‐1825
MICHAEL E LINES       930 BROADACRE AVE                                                                               CLAWSON            MI   48017‐1433
MICHAEL E LOGAN       PO BOX 501                                                                                      ORTONVILLE         MI   48462‐0501
MICHAEL E LYNCH       RVA MARQUES DA SILVA 4, 3D                                              1170‐224 LISBON
                                                                                              PORTUGAL
MICHAEL E MANN        PO BOX 340247                                                                                   DAYTON             OH   45434‐‐ 02
MICHAEL E MARKS       APT E 3914 CORNELL WDS WEST                                                                     DAYTON             OH   45406‐3758
MICHAEL E MARVE       6342 STONEGATE PKWY                                                                             FLINT              MI   48532‐2152
MICHAEL E MASSEY      2690 BAYBERRY COURT LOT 13                                                                      BROOKLYN           MI   49230
MICHAEL E MASSIE      3646 STATE RT. 124                                                                              LATHAM             OH   45646
MICHAEL E MASSIE      3646 STATE ROUTE 124                                                                            LATHAM             OH   45646‐9726
MICHAEL E MATHIS      53222 MARTIN LN                                                                                 SOUTH BEND         IN   46635
MICHAEL E MATTA       1672 HANES RD                                                                                   BEAVERCREEK        OH   45432
MICHAEL E MC BRIDE    5265 TARNOW ST                                                                                  DETROIT            MI   48210
MICHAEL E MC MASTER   12490 PENINSULA DR                                                                              TRAVERSE CITY      MI   49686‐8457
MICHAEL E MCCOY       100 CATALPA DR                                                                                  SPRINGBORO         OH   45066
MICHAEL E MEIXNER     227 ERNST AVE                                                                                   DAYTON             OH   45405‐3407
MICHAEL E METZGER     3540 ARCANUM BEARS MILL RD R                                                                    ARCANUM            OH   45304
MICHAEL E MEZZONE     39333 WASHINGTON DR                                                                             STERLING HEIGHTS   MI   48313‐5606
MICHAEL E MILLER      219 E MAIN ST                                                                                   W CARROLLTON       OH   45449
MICHAEL E MOBLEY      1692 REEDER RD                                                                                  BLANCHESTER        OH   45107‐8798
MICHAEL E MOORE       416 CLAY STREET                                                                                 BRADFORD           OH   45308‐1130
MICHAEL E MORGAN      5490 LOU IDA BLVD                                                                               YOUNGSTOWN         OH   44515
MICHAEL E MT CASTLE   3474 SUBURBAN DRIVE                                                                             BEAVERCREEK        OH   45432
MICHAEL E MUSSELMAN   3458 N. DAKAR DR                                                                                DAYTON             OH   45431
MICHAEL E NEWBAUER    1973 KATHY DR                                                                                   FAIRBORN           OH   45324
MICHAEL E NEWPORT     55 OLD YELLOW SPRINGS RD APT D                                                                  FAIRBORN           OH   45324‐2574
MICHAEL E NIXON       PSC 477 BOX 22                                                                                  S SAN FRANCISCO    CA   94080
MICHAEL E NORD JR     314 GORDON AVE                                                                                  MATTYDALE          NY   13211‐1842
MICHAEL E NOVOSEL     846 YANKEE RUN RD                                                                               MASURY             OH   44438‐8722
MICHAEL E ODONNELL    3065 LYNWOOD DR NW                                                                              WARREN             OH   44485‐1306
MICHAEL E ONEY        PO BOX 1278                                                                                     NEW TAZEWELL       TN   37824
MICHAEL E OSBORN      19 MONROE PKWY                                                                                  MASSENA            NY   13662‐1220
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Name                     Address1                       Address2                     Address3   Address4         City               State Zip
MICHAEL E OWENS          9518 N LAKE RD                                                                          OTTER LAKE          MI 48464
MICHAEL E PAIZ           104 FLORIDA RD N                                                                        MATTYDALE           NY 13211‐1604
MICHAEL E PASONO         227 EMBERGLOW LN                                                                        ROCHESTER           NY 14612
MICHAEL E PATRICK        10352 SPRINGPOINTE CIR APT L                                                            MIAMISBURG          OH 45342
MICHAEL E PATTERSON      818 PIPER RD                                                                            MANSFIELD           OH 44905‐1353
MICHAEL E PIERSON        719 FOX AVE                                                                             YPSILANTI           MI 48198‐6197
MICHAEL E PLUNKET        8525 SCHOOLGATE DR                                                                      DAYTON              OH 45424‐1129
MICHAEL E RACER          840 BUCKHORN DR                                                                         LAKE ORION          MI 48362‐2824
MICHAEL E REID SR        1378 BEECHCREST ST NW                                                                   WARREN              OH 44485
MICHAEL E REINHART       10372 TALLMADGE RD.                                                                     DIAMOND             OH 44412‐9744
MICHAEL E RICHHART       2221 MANHATTAN AVE                                                                      INDIANAPOLIS        IN 46241‐5002
MICHAEL E ROSE           932 LINCOLN AVENUE                                                                      FLINT               MI 48507‐1756
MICHAEL E ROTRAMEL       1345 RICE RD                                                                            YELLOW SPGS         OH 45387‐1330
MICHAEL E SANDIFER       127 N CLEVELAND AVE                                                                     BROOKHAVEN          MS 39601
MICHAEL E SANDRIDGE      414 XENIA AVE, APT D                                                                    DAYTON              OH 45410‐1520
MICHAEL E SAVOCCHIO      16545 DAWN DR                                                                           CLINTON TOWNSHIP    MI 48038‐1941
MICHAEL E SCHARRER       ACCT OF JESSE MILES            12452 CANADA RD                                          BIRCH RUN           MI 48415
MICHAEL E SCHOSTAK       118 S MERRIMAC ST                                                                       PONTIAC             MI 48340‐2538
MICHAEL E SCHULL SR      310 DELLWOOD ST                                                                         TILTON               IL 61833‐7552
MICHAEL E SEEBERG        604 E LIGHT ST                                                                          URBANA              OH 43078‐1230
MICHAEL E SEMANCO        416 S COLONIAL DR                                                                       CORTLAND            OH 44410
MICHAEL E SHAFFER        PO BOX 281                                                                              BYRON               NY 14422‐0281
MICHAEL E SIMS           817 MATTY AVE                                                                           SYRACUSE            NY 13211‐1311
MICHAEL E SMITH          717 R ST                                                                                BEDFORD             IN 47421‐2030
MICHAEL E SMITH          1023 MARCELLUS DR                                                                       VANDALIA            OH 45377
MICHAEL E SPENCER        48698 STONEACRE DR                                                                      MACOMB              MI 48044‐1880
MICHAEL E STANLEY        28 1/2 EAST PEARL ST.                                                                   MIAMISBURG          OH 45342‐‐ 23
MICHAEL E STIERS         19 W ELIZABETH ST                                                                       NEW CASTLE          PA 16105‐2855
MICHAEL E STOKES I I I   2196 THISTLEWOOD DR                                                                     BURTON              MI 48509‐1244
MICHAEL E STUTZ          1640 HEARTHSTONE DR                                                                     DAYTON              OH 45410‐3345
MICHAEL E SWIGERT        1123 PROVIDENCE PIKE RD.                                                                BROOKVILLE          OH 45309
MICHAEL E TABOR          13316 W SOUTH RANGE RD                                                                  SALEM               OH 44460‐9661
MICHAEL E TANNER         125 PLYMOUTH AVE S                                                                      MATTYDALE           NY 13211‐1848
MICHAEL E TEBOE          1624 PARKWOOD AVE                                                                       YPSILANTI           MI 48198‐6036
MICHAEL E THOMAS         C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                               HOUSTON             TX 77007
                         BOUNDAS, LLP
MICHAEL E THOMPSON       5227 IVYHURST DR                                                                        COLUMBUS           OH   43232
MICHAEL E THOMPSON       2746 PETERSON DRIVE                                                                     SANFORD            MI   48657
MICHAEL E TIPTON         4884 SEDGEWICK DR                                                                       DAYTON             OH   45424‐4635
MICHAEL E TOWLER         618 HAYES ST                                                                            YPSILANTI          MI   48198‐8026
MICHAEL E TRAGESSER      201 PRAETORIAN CT                                                                       WILMINGTON         OH   45177
MICHAEL E VOIGHT         25 W STRATHMORE AVE                                                                     PONTIAC            MI   48340‐2771
MICHAEL E WADE           2927 WHEELER HWY                                                                        CLAYTON            MI   49235‐9527
MICHAEL E WADE           39076 CLOCKTOWER DR                                                                     ROMULUS            MI   48174‐5318
MICHAEL E WALTON         3904 KINGS HWY                                                                          DAYTON             OH   45406‐3518
MICHAEL E WARD           2041 LOWER BELLBROOK RD                                                                 SPRING VALLEY      OH   45370
MICHAEL E WELLING        1300 WARD RD                                                                            WILMINGTON         OH   45177
MICHAEL E WELLING        6900 KELLOGG AVE                                                                        CINCINNATI         OH   45230‐‐ 37
MICHAEL E WELSH          218 JACKSON ST                                                                          PORT CARBON        PA   17965
MICHAEL E WESTENBURG     1409 4TH ST                                                                             BAY CITY           MI   48708‐6133
MICHAEL E WILLIAMS       227 CHARLES ST                                                                          DESOTO             TX   75115‐3927
MICHAEL E WILSON         RT 5 BOX 92                                                                             DUNNELLON          FL   34432‐9805
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Name                       Address1                        Address2                         Address3        Address4         City              State Zip
MICHAEL E WRIGHT           5940 BASORE RD.                                                                                   DAYTON             OH 45415‐2432
MICHAEL E WRIGHT           5940 BASORE RD                                                                                    DAYTON             OH 45415‐2432
MICHAEL E ZYVITH           PO BOX 185                                                                                        BOVARD             PA 15619
MICHAEL E. BONGIORNO       COUNTY ATTORNEY                 1 SOUTH MAIN STREET, SUITE 500                                    NEW YORK           NY 10044
MICHAEL E. FISHER          16560 GLASTONBURY RD                                                                              DETROIT            MI 48219
MICHAEL E. JENKINS
MICHAEL EADS               9190 GALE RD                                                                                      GOODRICH          MI   48438‐9443
MICHAEL EARL               4212 BALLANTINE RD                                                                                DEWITT            MI   48820‐9790
MICHAEL EARLEY             1425 E HOUGHTON LAKE DR                                                                           HOUGHTON LAKE     MI   48629‐8706
MICHAEL EARLY              6108 HIGHWAY 251                                                                                  POCAHONTAS        AR   72455‐8704
MICHAEL EARVIN             31367 HARLO DR APT E                                                                              MADISON HEIGHTS   MI   48071‐1986
MICHAEL EASHOO             7337 VARLEY CIR                                                                                   PORT CHARLOTTE    FL   33981‐2629
MICHAEL EASLICK            3637 TATHAM RD                                                                                    SAGINAW           MI   48601‐7137
MICHAEL EASTER             1313 MAPLE ST                                                                                     MCKEESPORT        PA   15132‐5222
MICHAEL EASTWOOD           PO BOX 5                                                                                          CHESANING         MI   48616‐0005
MICHAEL EATMON             14154 LANDINGS WAY                                                                                FENTON            MI   48430‐1316
MICHAEL EAVES              42620 BRADNER RD                                                                                  NORTHVILLE        MI   48168‐2261
MICHAEL EBBERT             33776 PO                                                                                          INDIANAPOLIS      IN   46203
MICHAEL EBEL               4402 SE 10TH PL                                                                                   CAPE CORAL        FL   33904‐5330
MICHAEL EBER               2104 N COUNTY ROAD 650 E                                                                          SELMA             IN   47383‐9522
MICHAEL EBERLINE           9368 FRANKOMA RD                                                                                  SAPULPA           OK   74066‐8317
MICHAEL EBERLY             325 S GRIFFIN ST                                                                                  DANVILLE          IL   61832‐7009
MICHAEL EBERT              901 LAFAYETTE COURT                                                                               MARION            IN   46952‐2553
MICHAEL EBLEN              18628 WAKENDEN                                                                                    REDFORD           MI   48240
MICHAEL EBNER              3446 W FRANCES RD                                                                                 CLIO              MI   48420‐8537
MICHAEL ECHLIN             6255 WEBSTER RD                                                                                   FLINT             MI   48504‐1004
MICHAEL ECKERD             10576 MILLEN ROAD                                                                                 LYNDONVILLE       NY   14098
MICHAEL ECKERT             5751 HIGHWAY V                                                                                    WASHINGTON        MO   63090‐5626
MICHAEL EDDS               1247 TULBERRY CIR                                                                                 ROCHESTER         MI   48306‐4820
MICHAEL EDDY               6171 UTLEY RD                                                                                     IMLAY CITY        MI   48444‐8922
MICHAEL EDGAR              10421 MCWAIN RD                                                                                   GRAND BLANC       MI   48439‐8321
MICHAEL EDGETT             3151 PICKLES LN                                                                                   SPRING HILL       TN   37174‐2256
MICHAEL EDGHILL            18410 AUTUMNWOOD DR                                                                               CLINTON TWP       MI   48035‐1370
MICHAEL EDING              16202 DERBY CIR                                                                                   HOLLY             MI   48442‐9639
MICHAEL EDRINGTON          1165 BLYTHE ELLEN CT NW                                                                           GRAND RAPIDS      MI   49534‐7968
MICHAEL EDWARD LILLY       BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                        BOSTON HEIGHTS    OH   44236
MICHAEL EDWARD RICKETSON   CHARLES SCHWAB & CO             IRA ROLLOVER                     1046 CHASE RD                    CORNELIA          GA   30571‐2505
MICHAEL EDWARDS            1918 W 230TH ST                                                                                   TORRANCE          CA   90501‐5523
MICHAEL EDWARDS            2499 E MADDOX RD                EAST MADDOX ROAD NORTH EAST                                       BUFORD            GA   30519‐4323

MICHAEL EDWARDS            4338 GRAND BLANC RD                                                                               SWARTZ CREEK      MI   48473‐9150
MICHAEL EDWARDS            7437 PENSACOLA AVE                                                                                FORT WORTH        TX   76116‐7834
MICHAEL EDWARDS            7958 SYRACUSE ST                                                                                  TAYLOR            MI   48180‐2250
MICHAEL EDWARDS            404 PLEASANT MEADOWS CT                                                                           WENTZVILLE        MO   63385‐2680
MICHAEL EDWARDS            40439 FRANKLIN MILL ST                                                                            NOVI              MI   48375‐3612
MICHAEL EDWARDS            PO BOX 403                                                                                        CONWAY            SC   29528‐0403
MICHAEL EDWARDS            6746 BELMONT CT                                                                                   CLARKSTON         MI   48348‐2872
MICHAEL EERDMANS           1152 BUCKINGHAM ST SW                                                                             WYOMING           MI   49509‐2833
MICHAEL EGAN               952 W BORTON RD                                                                                   ESSEXVILLE        MI   48732‐9656
MICHAEL EHLE               3750 E 100 S                                                                                      ANDERSON          IN   46017‐9618
MICHAEL EHLERT             366 ABBE RD N                                                                                     ELYRIA            OH   44035‐3715
MICHAEL EHRET              2520 ALCAROL DR                                                                                   FENTON            MO   63026‐2227
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Name                             Address1                       Address2            Address3         Address4               City              State Zip
MICHAEL EICHHORN                 453 CHANNING ST                                                                            FERNDALE           MI 48220‐2555
MICHAEL EICKHOFF                 7508 PERRY RD                                                                              GRAND BLANC        MI 48439‐9744
MICHAEL EIDEN                    3644 CERULEAN WAY                                                                          ROUND ROCK         TX 78681‐2331
MICHAEL EIFERT                   4143 KING BIRD LN                                                                          MIAMISBURG         OH 45342‐0884
MICHAEL EIKENBARY                2558 S WILLMAN RD                                                                          HARTFORD CITY      IN 47348‐9787
MICHAEL EILBER                   5375 W MI 36                                                                               PINCKNEY           MI 48169‐9606
MICHAEL EISENHARDT               GLOTTERTALER STR 7A                                                 12559 BERLIN GERMANY
MICHAEL EKERS                    2932 SAWYER CT                                                                             GROVE CITY        OH   43123‐3306
MICHAEL EKONIAK JR               9660 NEW BUFFALO RD                                                                        CANFIELD          OH   44406‐9116
MICHAEL ELAM                     13021 HANLON RD                                                                            ALBION            NY   14411‐9058
MICHAEL ELDER                    2757 WEST JUNQUILLO CIRCLE                                                                 MESA              AZ   85202‐5441
MICHAEL ELDRIDGE                 1840 N MADISON AVE                                                                         ANDERSON          IN   46011‐2144
MICHAEL ELEY                     6784 CHERRY BLOSSOM DR W                                                                   FISHERS           IN   46038
MICHAEL ELEY                     5110 S COUNTY ROAD 575 E                                                                   SELMA             IN   47383‐9358
MICHAEL ELIAS                    3792 SANDLEWOOD DR                                                                         OKEMOS            MI   48864‐3649
MICHAEL ELIAS                    54767 WOODCREEK BLVD                                                                       SHELBY TOWNSHIP   MI   48315‐1401
MICHAEL ELINSKI                  315 EAST AVE                                                                               N TONAWANDA       NY   14120‐6725
MICHAEL ELLINGTON                PO BOX 3187                                                                                LA PINE           OR   97739‐3187
MICHAEL ELLIOTT                  66 CUSHMAN DR                                                                              MANCHESTER        CT   06042‐2314
MICHAEL ELLIOTT                  1239 LELAND ST                                                                             FLINT             MI   48507‐5342
MICHAEL ELLIOTT                  3242 PATSIE DR                                                                             BEAVERCREEK       OH   45434‐6034
MICHAEL ELLIOTT                  1405 GROSBECK RD                                                                           LAPEER            MI   48446‐3418
MICHAEL ELLIOTT                  4148 WHITE OAK DR                                                                          BEAVERCREEK       OH   45432‐1942
MICHAEL ELLIS                    2500 DUNLAP ST                                                                             LANSING           MI   48911‐1717
MICHAEL ELLIS                    6291 TOMMY TRL                                                                             MOUNT MORRIS      MI   48458‐9372
MICHAEL ELLIS                    348 RAINBOW BLVD                                                                           INDIANAPOLIS      IN   46234‐9716
MICHAEL ELLISON                  101 WELD                                                                                   ROCHESTER         NY   14605‐2650
MICHAEL ELLSWORTH                5346 W FARRAND RD                                                                          CLIO              MI   48420‐8249
MICHAEL ELLSWORTH & ASSOCIATES   PO BOX 291                                                                                 ELKHORN           WI   53121‐0291
MICHAEL ELLUL                    51605 SHADY WOOD DR                                                                        MACOMB TWP        MI   48042
MICHAEL ELMORE                   6417 RIDGLEA DR                                                                            WATAUGA           TX   76148‐1428
MICHAEL ELSEA                    11884 SHADY PINES DR                                                                       GRAND LEDGE       MI   48837‐9162
MICHAEL ELWART                   2696 COLE RD                                                                               GLENNIE           MI   48737‐9727
MICHAEL ELY                      157 ANNA ST                                                                                DAYTON            OH   45417‐2213
MICHAEL EMERICK                  3791 AYRSHIRE DR                                                                           YOUNGSTOWN        OH   44511‐1119
MICHAEL EMERSON                  1006 PINE ST                                                                               ESSEXVILLE        MI   48732‐1484
MICHAEL EMERSON                  9435 MARINUS DR                                                                            FENTON            MI   48430‐8756
MICHAEL EMERY                    4410 KENILWORTH ST                                                                         FORT WAYNE        IN   46806‐4614
MICHAEL EMMENDORFER              103 FRIAR TUCK DR                                                                          ROSCOMMON         MI   48653‐9476
MICHAEL EMMENDORFER              17640 ORRVILLE RD                                                                          WILDWOOD          MO   63005‐6310
MICHAEL EMMOREY                  3983 STARSHINE TRL                                                                         BRIGHTON          MI   48114‐9286
MICHAEL EMO                      3189 W LAKE RD                                                                             WILSON            NY   14172‐9733
MICHAEL ENGERSON                 PO BOX 446                                                                                 HUSTISFORD        WI   53034‐0446
MICHAEL ENGLER                   989 CECELIA DR                                                                             ESSEXVILLE        MI   48732‐2103
MICHAEL ENGLER                   22750 FROST RD                                                                             MERRILL           MI   48637‐9742
MICHAEL ENGLISH                  260 UNION LAKE RD                                                                          WHITE LAKE        MI   48386‐3166
MICHAEL ENGLISH                  216 WATER AVE                                                                              OSCODA            MI   48750‐1722
MICHAEL ENK                      4014 SHENANDOAH DR                                                                         COLUMBIA          TN   38401‐5314
MICHAEL ENOS                     3564 MILLER RD                                                                             BAY CITY          MI   48706‐1320
MICHAEL ENTRY                    2001 CARISBROOK DR                                                                         TEMPERANCE        MI   48182‐1136
MICHAEL EPPS                     758 BON AIR RD                                                                             LANSING           MI   48917‐2316
MICHAEL ERB                      217 STILLWATER PL                                                                          BOSSIER CITY      LA   71112‐9729
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Name                       Address1                            Address2                     Address3   Address4         City               State Zip
MICHAEL ERDMAN             1180 BOOKHOUT DR                                                                             CUMMING             GA 30041‐9533
MICHAEL ERDODI             29195 CAMPBELL DR                                                                            WARREN              MI 48093‐2465
MICHAEL ERICKSON           4748 LUTZ DR                                                                                 WARREN              MI 48092‐4406
MICHAEL ERICKSON           8805 S BALDWIN RD                                                                            ASHLEY              MI 48806‐9736
MICHAEL ERIKSEN            7243 BUCKTHORN DR                                                                            WEST BLOOMFIELD     MI 48324‐2513
MICHAEL ERISMAN            190 N NEW JASPER STATION RD                                                                  XENIA               OH 45385‐9624
MICHAEL ERLACHER           7639 2ND ST                                                                                  DEXTER              MI 48130‐1442
MICHAEL ERNEST             18340 GLENDALE ST                                                                            ROSEVILLE           MI 48066‐3407
MICHAEL ERWIN              2124 CLEARVIEW DR                                                                            BELLBROOK           OH 45305‐1520
MICHAEL ESSAD              3452 RISHER RD                                                                               YOUNGSTOWN          OH 44511‐3061
MICHAEL ESTERLINE          1225 ANSEL DR                                                                                KETTERING           OH 45419‐2306
MICHAEL ESTES              7155 REDMOND ST                                                                              WATERFORD           MI 48327‐3856
MICHAEL ESTILL             PO BOX 182                                                                                   ROSE CITY           MI 48654‐0182
MICHAEL ESTOK              4280 NEW CASTLE RD                                                                           LOWELLVILLE         OH 44436‐9706
MICHAEL EUBANKS            1124 W 38TH ST                                                                               ANDERSON            IN 46013‐1004
MICHAEL EURICH             PO BOX 347                          2054 WEST STREET                                         FAIRGROVE           MI 48733‐0347
MICHAEL EVANGELISTA        34790 WEST 8 MILE ROAD              CONDO #7                                                 FARMINGTON HILLS    MI 48335
MICHAEL EVANOFF            2771 JOEL CT                                                                                 DAYTON              OH 45439‐2919
MICHAEL EVANS              1405 PHILADELPHIA DR                                                                         DAYTON              OH 45406‐4646
MICHAEL EVANS              601 W ALLEN ST                                                                               SPRING HILL         KS 66083‐9109
MICHAEL EVANS              125 COUNTY LINE CT                                                                           FAYETTEVILLE        GA 30215‐4601
MICHAEL EVANS              5317 BARDITH CIR                                                                             VIRGINIA BEACH      VA 23455‐3868
MICHAEL EVANS              77 ARIZONA AVE                                                                               ROCHESTER HLS       MI 48309‐1557
MICHAEL EVANS              11745 HIGHLAND CT                                                                            DIMONDALE           MI 48821‐9327
MICHAEL EVANS              5337 WYNDEMERE COMMON SQ                                                                     SWARTZ CREEK        MI 48473‐8911
MICHAEL EVANS              5966 MURPHY LAKE RD                                                                          MILLINGTON          MI 48746‐8714
MICHAEL EVANS              503 RIDDLE ST                                                                                HOWELL              MI 48843‐1139
MICHAEL EVANS              41 BURRWOOD CT                                                                               NORTH EAST          MD 21901‐2118
MICHAEL EVANS              5329 N CYPRESS DR                                                                            MILTON              WI 53563‐9431
MICHAEL EVANS              1725 PRATT LAKE RD                                                                           GLADWIN             MI 48624
MICHAEL EVENS              PO BOX 43                           109 W LANSING ST                                         GAINES              MI 48436‐0043
MICHAEL EVERHART           1212 E CHANDLER ST                                                                           SHAWNEE             OK 74801‐5402
MICHAEL EVERTS             3522 COLLINGWOOD AVE SW                                                                      WYOMING             MI 49519‐3223
MICHAEL EVON               6419 PADDOCK LN                                                                              SAGINAW             MI 48603‐2736
MICHAEL EWALD              5321 SHREEVES RD                                                                             FAIRGROVE           MI 48733‐9563
MICHAEL EWANYK             315 W. GRAND ST. APT. #12 R                                                                  ELIZABETH           NJ 07202
MICHAEL EWANYK             540 ERNSTON RD BLD21 APT23                                                                   PARLIN              NJ 08859
MICHAEL EWING              6377 RUSTIC RIDGE TRL                                                                        GRAND BLANC         MI 48439‐4958
MICHAEL EXMAN              PO BOX 431                                                                                   MEDWAY              OH 45341‐0431
MICHAEL EZELL              23965 AL HIGHWAY 99                                                                          ELKMONT             AL 35620‐7701
MICHAEL EZZIE              C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MICHAEL EZZO               6515 CABIN CROFT DR                                                                          GALLOWAY            OH 43119‐9393
MICHAEL F & JUDITH A MEE   425 BEACH ROAD APT 8 OCEAN                                                                   TEQUESTA            FL 33469
MICHAEL F & JUDITH A MEE   425 BEACH RD                        APARTMENT 8 OCEAN                                        TEQUESTA            FL 33469
MICHAEL F ADAMS            1358 BELLBROOK AVE                                                                           XENIA               OH 45385‐4018
MICHAEL F ALI              1909 SHEFFIELD DRIVE                                                                         COLUMBIA            TN 38401‐6860
MICHAEL F BARTOL           6921 SPRING ST                                                                               RACINE              WI 53406
MICHAEL F BOLLINGER        5111 OLEVA DR                                                                                DAYTON              OH 45440‐3711
MICHAEL F BORGERT          1814 SCOTCH PINE DR.                                                                         BEAVERCREEK         OH 45432‐1860
MICHAEL F CARTIER          11463 WILLARD RD                                                                             MONTROSE            MI 48457‐9467
MICHAEL F COWAN            PO BOX 2461                                                                                  NORCROSS            GA 30091‐2461
MICHAEL F CRANE            8510 N MCCAFFREY RD                                                                          OWOSSO              MI 48867‐9085
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Name                      Address1                             Address2             Address3   Address4         City                State Zip
MICHAEL F DIXON           10 BRENNER AVE                                                                        DAYTON               OH 45403‐1122
MICHAEL F DRAKE           3863 BOONE AVE SW                                                                     WYOMING              MI 49519‐3705
MICHAEL F DURTSCHI        652 DAVOS RD                         BOX 1012                                         GIRDWOOD             AK 99587
MICHAEL F ELLIOTT         3242 PATSIE DRIVE                                                                     BEAVERCREEK          OH 45434‐6034
MICHAEL F FARON           6328 BEAVER DAM RD                                                                    MATTESON              IL 60443‐1308
MICHAEL F FLANAGAN        132 SQUAREVIEW LANE                                                                   ROCHESTER            NY 14626
MICHAEL F FRALEY          PO BOX 114                                                                            VERNON               MI 48476‐0114
MICHAEL F GRAHAM          4837 N FAIRVIEW RD                                                                    WEST BRANCH          MI 48661‐9416
MICHAEL F HEARD           244 STRATHMOOR WAY                                                                    O FALLON             MO 63368‐7227
MICHAEL F HENNESSY I V    6400 BLOSSOM PARK DR                                                                  W CARROLLTON         OH 45449
MICHAEL F HINDS           932 GLENEAGLES RD                                                                     BEAUMONT             CA 92223‐8524
MICHAEL F HINES           9410 OAK GROVE RD                                                                     HOWELL               MI 48855‐9520
MICHAEL F HODGES          221 PAGE ST                                                                           FLINT                MI 48505‐4639
MICHAEL F HOGAN           636 BONNIE BRAE NE                                                                    WARREN               OH 44483
MICHAEL F HOGAN           2381 EDGEWATER DR.                                                                    CORTLAND             OH 44410
MICHAEL F HRITZ LMT       PO BOX 3465                                                                           BOARDMAN             OH 44513‐3465
MICHAEL F KOLB            516 CAYUGA RD                                                                         CHEEKTOWAGA          NY 14225‐1332
MICHAEL F LIPOSCHAK       357 RUTLAND AVE                                                                       YOUNGSTOWN           OH 44515
MICHAEL F LIPOSCHAK       136 ROSEMONT AVE                                                                      YOUNGSTOWN           OH 44515
MICHAEL F MAJERNICEK      1087 HANNA ST                                                                         GRAND BLANC          MI 48439‐9357
MICHAEL F MATHEWS         31520 VAN BORN RD APT 101                                                             WAYNE                MI 48184‐2664
MICHAEL F MAY             PO BOX 1982                                                                           MUNCIE               IN 47308‐1982
MICHAEL F MICKELSON       78 WOODVIEW DRIVE                                                                     ROCHESTER            NY 14624‐2623
MICHAEL F MULDOWNEY       53 TAFT AVENUE                                                                        EDISON               NJ 08817
MICHAEL F PALERMO         22 ROBBIN CRESCENT                                                                    ROCHESTER            NY 14624‐1038
MICHAEL F PEARCE          5113 ONONDAGA RD                                                                      SYRACUSE             NY 13215‐1405
MICHAEL F REYNOLDS        17872 LAKEFIELD RD                                                                    MERRILL              MI 48637‐8704
MICHAEL F ROMEO           920 CLASSIC VIEW DR                                                                   AUBURNDALE           FL 33823
MICHAEL F SALMON          1537 T JEFFERSON CT                                                                   MAYS LANDING         NJ 08330
MICHAEL F SAVAGE          80 E HANCOCK ST APT 508                                                               DETROIT              MI 48201
MICHAEL F SLOGOR          429 DUTCH MILL DR                                                                     FLUSHING             MI 48433‐2122
MICHAEL F STEIN           711 E 13TH ST                                                                         OKMULGEE             OK 74447‐6041
MICHAEL F STOLLINGS, JR   3470 SWEET POTATO RIDGE RD                                                            ENGLEWOOD            OH 45322
MICHAEL F SULLIVAN        2766 LYDIA ST SW                                                                      WARREN               OH 44481‐8619
MICHAEL F URSCHEL         218 MARK CT.                                                                          GERMANTOWN           OH 45327
MICHAEL F VORHIES         622 PIN OAK LN                                                                        FLINT                MI 48506‐5224
MICHAEL F WEADICK II      6248 PAINT‐CREEK FOUR‐MILE ROAD                                                       CAMDEN               OH 45311
MICHAEL F WISHNEWSKI      165 CHAPEL HILL DR. N.                                                                WARREN               OH 44483‐1179
MICHAEL F WOOTAN          800 S GEBHART CHURCH RD                                                               MIAMISBURG           OH 45342
MICHAEL FABER             54381 STILLWATER DR                                                                   MACOMB               MI 48042‐6101
MICHAEL FABIAN            131 SAWMILL RUN DR                                                                    CANFIELD             OH 44406‐9639
MICHAEL FABIAN            2756 WOODLAND TRL                                                                     GIRARD               OH 44420‐3175
MICHAEL FABIAN            13367 S BUDD RD                                                                       BURT                 MI 48417‐9419
MICHAEL FABIAN            4920 PLEASANT VALLEY RD                                                               MANITOU BEACH        MI 49253‐9810
MICHAEL FABIJANCE         504 SCOTT AVE                                                                         NILES                OH 44446‐2914
MICHAEL FABRICATING INC   21516 S TELEGRAPH RD                                                                  BROWNSTOWN TWP       MI 48183
MICHAEL FABRICATING INC   ATTN: CORPORATE OFFICER/AUTHORIZED   21516 TELEGRAPH RD                               BROWNSTOWN TWP       MI 48183‐1398
                          AGENT
MICHAEL FACCHINI          7940 SUNSET CT                                                                        SALINE              MI   48176‐8832
MICHAEL FACENDO           38 BARKALOW ST                                                                        SOUTH AMBOY         NJ   08879‐1331
MICHAEL FADIE             3555 CAR DR                                                                           COMMERCE TOWNSHIP   MI   48382‐1607
MICHAEL FAERBER           1492 PINE CREEK CT                                                                    THOUSAND OAKS       CA   91320‐5978
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Name                   Address1                         Address2                     Address3   Address4         City               State Zip
MICHAEL FAFF           475 WASHINGTON BLVD                                                                       WHITE LAKE          MI 48386‐2962
MICHAEL FAHEY          100 KINGSTON DR                                                                           BEAR                DE 19701‐1505
MICHAEL FAHEY          1903 E 161ST ST                                                                           CARMEL              IN 46033‐9443
MICHAEL FAHIE          24778 CRESCENT CT                                                                         FARMINGTON HILLS    MI 48335‐2405
MICHAEL FAHY           15552 OAK HOLLOW DR                                                                       HOLLY               MI 48442‐9524
MICHAEL FAIBISOFF      9 LINDEN ST                                                                               FRAMINGHAM          MA 01702‐6311
MICHAEL FAIRCHILD      1035 S ELLISON AVE                                                                        EL RENO             OK 73036‐5321
MICHAEL FALKENBERG     2541 IVY PLACE                                                                            TOLEDO              OH 43613‐3811
MICHAEL FALKENBERRY    711 PLEASANT POINT CIR                                                                    CICERO              IN 46034‐9524
MICHAEL FALLERS        119 W SENECA DR                                                                           NEWARK              DE 19702‐1913
MICHAEL FALLIS         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MICHAEL FALLON         539 PEPPERWOOD DR                                                                         BRUNSWICK           OH 44212‐2021
MICHAEL FALLON JR      8808 BELTON DR                                                                            N RIDGEVILLE        OH 44039‐8793
MICHAEL FALZONE        200 STERLING AVE                                                                          BUFFALO             NY 14216‐2445
MICHAEL FALZONE        11099 CONGRESS RUN RD                                                                     GLOUSTER            OH 45732‐9740
MICHAEL FANNIN         12025 BRANDYWINE DR                                                                       BRIGHTON            MI 48114‐9088
MICHAEL FANT           19966 LITTLEFIELD ST                                                                      DETROIT             MI 48235‐1161
MICHAEL FARAIS         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.         OH 44236
MICHAEL FARAN          1003 JACKSONVILLE RD                                                                      BURLINGTON          NJ 08016
MICHAEL FARBER         23132 CORESSEL RD                                                                         DEFIANCE            OH 43512‐9616
MICHAEL FARELLA        10493 VARNA ST                                                                            CLIO                MI 48420‐1951
MICHAEL FARGNOLI JR.
MICHAEL FARIS          392 TWIN PONDS RD                                                                         BEDFORD            IN   47421‐8315
MICHAEL FARKAS         1818 ALPINE DR                                                                            COLUMBIA           TN   38401‐3959
MICHAEL FARKAS         6955 DORR ST STE 91                                                                       TOLEDO             OH   43615‐4155
MICHAEL FARMER         1936 LARKHILL DR                                                                          KERNERSVILLE       NC   27284‐9611
MICHAEL FARMER         2660 LINDA ST                                                                             SAGINAW            MI   48603‐3068
MICHAEL FARMER         1766 BUCKINGHAM AVE                                                                       LINCOLN PARK       MI   48146‐3506
MICHAEL FARNSWORTH     3231 MONTEBELLO TER                                                                       BALTIMORE          MD   21214‐3324
MICHAEL FARNUM         16103 BRIDGEPARK DR                                                                       LITHIA             FL   33547‐4854
MICHAEL FARON          6328 BEAVER DAM RD                                                                        MATTESON           IL   60443‐1308
MICHAEL FARRAGHER      208 HARTWOOD DR.                                                                          GADSDEN            AL   35901
MICHAEL FARRELL        G1 GREEN POND RD                                                                          EAST FALMOUTH      MA   02536
MICHAEL FARRELL        11300 SW ROCKINGHAM DR                                                                    PORT SAINT LUCIE   FL   34987‐1996
MICHAEL FARROW         257 THOMAS LN                                                                             TROY               MO   63379‐5620
MICHAEL FARTHING       6316 TURNER RD                                                                            FLUSHING           MI   48433‐9251
MICHAEL FARWIG         1769 W VIEW TRL                                                                           HOWELL             MI   48843‐8126
MICHAEL FASE           2980 STONEY CREEK CT                                                                      HUDSONVILLE        MI   49426‐8777
MICHAEL FASTIGGI       405 COCKLIN STREET                                                                        MECHANICSBURG      PA   17055
MICHAEL FAULKNER       8833 N CONGRESS AVE APT 811                                                               KANSAS CITY        MO   64153‐1991
MICHAEL FAULKNER       9628 JUDD RD                                                                              WILLIS             MI   48191‐9789
MICHAEL FAULS          4808 KELSO RD                                                                             HUDSON             MI   49247‐9289
MICHAEL FAULSTICH      8706 N 750 W                                                                              ELWOOD             IN   46036‐8908
MICHAEL FAUST          9904 CRESTMONT AVE                                                                        PHILADELPHIA       PA   19114‐1960
MICHAEL FAVRO          161 S BROOKSIDE DR                                                                        OAK HARBOR         OH   43449‐1276
MICHAEL FAWBUSH        7690 S STATE ROAD 67                                                                      MUNCIE             IN   47302‐9743
MICHAEL FAYAK          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH   44236
MICHAEL FAZEKAS        8563 BERESFORD LN                                                                         JACKSONVILLE       FL   32244‐7142
MICHAEL FAZEKAS        2401 E DANDELION ST                                                                       PAHRUMP            NV   89048‐6373
MICHAEL FAZIANI        127 ANN MARIE DR                                                                          MONROE             MI   48162‐3287
MICHAEL FEASTER        3434 HICKORY LN W                                                                         INDIANAPOLIS       IN   46214‐1289
MICHAEL FEDAK          351 W NEWBERG RD                                                                          PINCONNING         MI   48650‐7466
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Name                             Address1                        Address2                      Address3             Address4           City                 State Zip
MICHAEL FEDEWA                   3533 N BAUER RD                                                                                       FOWLER                MI 48835‐9715
MICHAEL FEDEWA                   14137 CHADWICK RD                                                                                     PORTLAND              MI 48875‐9308
MICHAEL FEDEWA                   2210 MOORWOOD DR                                                                                      HOLT                  MI 48842‐8711
MICHAEL FEDEWA                   1886 WENTWORTH DR                                                                                     CANTON                MI 48188‐3093
MICHAEL FEDRONICH JR             5480 FREEPORT LN                                                                                      NAPLES                FL 34119‐9516
MICHAEL FEDRUK                   8271 ANNA AVE                                                                                         WARREN                MI 48093‐2767
MICHAEL FEEHELEY                 14830 PECAN RD                                                                                        KEITHVILLE            LA 71047‐9127
MICHAEL FEEKART                  43 MOHAWK RD                                                                                          PONTIAC               MI 48341‐1121
MICHAEL FEEST                    66 CEDAR LN                                                                                           WOLCOTT               CT 06716‐2232
MICHAEL FEHR                     4903 WEAKLEY CREEK RD                                                                                 LAWRENCEBURG          TN 38464‐8344
MICHAEL FEIRN                    1037 MORNINGSIDE DR                                                                                   JANESVILLE            WI 53546‐1848
MICHAEL FEIST                    7300 FAIT AVE                                                                                         BALTIMORE             MD 21224‐3129
MICHAEL FEIST                    310 WATERTONS WAY                                                                                     JOPPA                 MD 21085‐5427
MICHAEL FEJEDELEM                14417 SEYMOUR RD                                                                                      MONTROSE              MI 48457‐9075
MICHAEL FELDER                   6346 W 1000 N                                                                                         HUNTINGTON            IN 46750‐9748
MICHAEL FELDKAMP                 121 REDBUD LN                                                                                         BELTON                MO 64012‐1945
MICHAEL FELLABAUM                6356 ROBINS NEST CT                                                                                   LINDEN                MI 48451‐8739
MICHAEL FELLBERG                 15417 ESSEX AVE                                                                                       GROSSE POINTE PARK    MI 48230‐1736
MICHAEL FELTY                    15642 ARON CIR                                                                                        PORT CHARLOTTE        FL 33981‐5157
MICHAEL FELTZ                    9107 LAKESHORE DR                                                                                     BARKER                NY 14012‐9652
MICHAEL FELVER                   8285 LINDEN RD                                                                                        FENTON                MI 48430‐9257
MICHAEL FENECH                   13 RYDER RD                                                                                           OSSINING              NY 10562‐2801
MICHAEL FENECH                   9836 HUBERT AVE                                                                                       ALLEN PARK            MI 48101‐1304
MICHAEL FENNER                   118 N LANE ST                                                                                         BLISSFIELD            MI 49228‐1122
MICHAEL FENOGLIO                 PO BOX 451                                                                                            TONGANOXIE            KS 66086‐0451
MICHAEL FENSKA                   10110 NIXON RD                                                                                        GRAND LEDGE           MI 48837‐9404
MICHAEL FENSLAU                  10076 LAKE RD                                                                                         OTISVILLE             MI 48463‐9714
MICHAEL FENWICK                  613 NW 90TH TER                                                                                       PLANTATION            FL 33324‐1113
MICHAEL FEOLA                    78 WEILAND WOODS LN                                                                                   ROCHESTER             NY 14626‐4057
MICHAEL FERARU                   1129 WHITCOMB AVE                                                                                     ROYAL OAK             MI 48073‐2007
MICHAEL FERGUSON                 28919 GRANT ST                                                                                        ST CLAIR SHRS         MI 48081‐1011
MICHAEL FERGUSON                 1120 N APPERSON WAY                                                                                   KOKOMO                IN 46901‐2934
MICHAEL FERGUSON                 4371 FLEMING WAY                                                                                      PLYMOUTH              MI 48170‐6361
MICHAEL FERGUSON                 3230 BRIARWOOD DR                                                                                     WOOSTER               OH 44691‐9065
MICHAEL FERGUSON                 119 TIMBER LN                                                                                         BROWNSBURG            IN 46112‐1057
MICHAEL FERGUSON                 4206 W 2ND ST                                                                                         DAYTON                OH 45417‐1327
MICHAEL FERICH                   1349 W KING ST                                                                                        OWOSSO                MI 48867‐2151
MICHAEL FERRA                    ROBERT W PHILLIPS               SIMMONS BROWDER GIANARIS      707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON             IL 62024
                                                                 ANGELIDES & BARNERD LLC
MICHAEL FERRARESE                115 CHELSEA DRIVE                                                                                     W HENRIETTA          NY 14586
MICHAEL FERRELL                  2412 SUNCREST DR                                                                                      FLINT                MI 48504‐8405
MICHAEL FERRENCE                 PA DEPT OF ENVIRONMENTAL        OFFICE OF CHIEF COUNSEL       2 PUBLIC SQUARE                         WILKES BARRE         PA 18711
                                 PROTECTION
MICHAEL FERRENCE, ASST COUNSEL   COMMONWEALTH OF PENNSYLVANIA    DEPARTMENT OF ENVIRONMENTAL   2 PUBLIC SQUARE                         WILKES BARRE         PA 18711
                                                                 PROTECTION
MICHAEL FERRERI                  2438 ALEXANDER DR                                                                                     TROY                 MI   48083‐2405
MICHAEL FERRIS                   711 E OHIO ST                                                                                         FORTVILLE            IN   46040‐1553
MICHAEL FERRY                    6013 NELSON CT                                                                                        BURTON               MI   48519‐1662
MICHAEL FESTIAN                  46129 DONAHUE AVE                                                                                     MACOMB               MI   48044‐3420
MICHAEL FEYEDELEM                PO BOX 734                                                                                            KELLEYS ISLAND       OH   43438‐0734
MICHAEL FICI                     11430 TIMBERS DR                                                                                      WASHINGTON TWP       MI   48094‐3775
MICHAEL FICK                     2423 N WOODBRIDGE ST                                                                                  SAGINAW              MI   48602‐5257
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Name                     Address1                         Address2            Address3         Address4         City            State Zip
MICHAEL FIEDLER          1226 E STATE ROAD 59                                                                   MILTON           WI 53563‐9139
MICHAEL FIEGL            2320 NAUTILUS CV                                                                       FORT WAYNE       IN 46814‐8940
MICHAEL FIELDER          2103 N MAIN ST                                                                         ROYAL OAK        MI 48073‐3403
MICHAEL FIELDS           PO BOX 401                                                                             SELMA            IN 47383‐0401
MICHAEL FIGURA           1072 SKYVIEW CT                                                                        ROCHESTER        MI 48307‐2260
MICHAEL FIKE             400 JEFF DR                                                                            KOKOMO           IN 46901‐3725
MICHAEL FIL              8433 COOK RD                                                                           SWARTZ CREEK     MI 48473‐9194
MICHAEL FILAR            50284 MADISON DR                                                                       MACOMB           MI 48044‐1263
MICHAEL FILIPEK          27327 SUTHERLAND DR                                                                    WARREN           MI 48088‐4856
MICHAEL FINCH            13156 HEATHER LN                                                                       PERRY            MI 48872‐9120
MICHAEL FINCH            2530 MEADOWOOD LN                                                                      MILFORD          MI 48380‐3554
MICHAEL FINCH            145 MUSGROVE TRL                                                                       TIPTON           MI 49287‐9605
MICHAEL FINDLEY          4624 S MELROSE LN                                                                      OKLAHOMA CITY    OK 73109‐7533
MICHAEL FINDLEY
MICHAEL FINFROCK         524 CLAIR ST                                                                           GARDEN CITY     MI   48135‐2670
MICHAEL FINK             152 PONDEROSA TRL S                                                                    BELLEVILLE      MI   48111‐5402
MICHAEL FINKLE           109 FISH AND GAME ROAD                                                                 HUDSON          NY   12534‐3814
MICHAEL FINN             25551 CRESTFIELD DR                                                                    CASTRO VALLEY   CA   94552‐5541
MICHAEL FINNERTY I I I   4 ROBIN CT                                                                             WENTZVILLE      MO   63385‐5955
MICHAEL FINNEY           32680 PARDO ST                                                                         GARDEN CITY     MI   48135‐1275
MICHAEL FINOCCHI         12843 SOUTH AVE                                                                        NORTH LIMA      OH   44452‐9785
MICHAEL FISCHER          7570 WYNFIELD DR                                                                       CUMMING         GA   30040‐5672
MICHAEL FISCHER          1513 TAM O SHANTER LN                                                                  KOKOMO          IN   46902‐3115
MICHAEL FISCUS           27 VILLAGE PARK DR                                                                     GROVE CITY      PA   16127‐6357
MICHAEL FISETTE
MICHAEL FISHER           8991 WILLOWGATE LN                                                                     HUBER HEIGHTS   OH   45424‐6416
MICHAEL FISHER           9345 LAKE RD                                                                           OTISVILLE       MI   48463‐9713
MICHAEL FISHER           4156 STATE ROUTE 634                                                                   CONTINENTAL     OH   45831‐9221
MICHAEL FISHER           689 NORBORNE AVE                                                                       DEARBORN HTS    MI   48127‐3761
MICHAEL FISHER           1932 OHLTOWN MCDONALD RD                                                               MC DONALD       OH   44437‐1312
MICHAEL FISHER           21 ALAMOSA DR                                                                          TROPHY CLUB     TX   76262‐5206
MICHAEL FISHER           4371 RIVERWOOD CIR                                                                     DECATUR         GA   30035‐2930
MICHAEL FISHER           3786 WESTPORT DR                                                                       NEW HAVEN       IN   46774‐1183
MICHAEL FISHER           PO BOX 183                                                                             WILLISTON       OH   43468‐0183
MICHAEL FITCH            8081 CLOVERDALE LN                                                                     ROCKFORD        IL   61107‐2811
MICHAEL FITCH            1509 E ALTO RD                                                                         KOKOMO          IN   46902‐4405
MICHAEL FITCH            3135 CELIA DR                                                                          WATERFORD       MI   48329‐2223
MICHAEL FITCH            3268 S BARLOW RD                                                                       MIKADO          MI   48745‐9770
MICHAEL FITE             6433 NIGHTINGALE DR                                                                    FLINT           MI   48506‐1716
MICHAEL FITE             1478 S SECOND ST                                                                       UPLAND          IN   46989‐9151
MICHAEL FITTON           26601 COOLIDGE HIGHWAY                                                                 OAK PARK        MI   48237‐1135
MICHAEL FITZGERALD       9150 PINE KNOB RD                                                                      CLARKSTON       MI   48348‐3022
MICHAEL FITZGERALD       6723 SPIREA CT                                                                         FORT WAYNE      IN   46814‐4517
MICHAEL FITZGEREL        739 LOGGERS CIR                                                                        ROCHESTER       MI   48307‐6023
MICHAEL FITZMAURICE      1263 ARLINGTON DR                                                                      XENIA           OH   45385‐5311
MICHAEL FITZSIMMONS      231 FAIRWAY CT                                                                         PLAINWELL       MI   49080‐9122
MICHAEL FLAGG            38554 NOTTINGHAM DR                                                                    ROMULUS         MI   48174‐6305
MICHAEL FLAHERTY         2003 RIGGLE RD                                                                         BELLVILLE       OH   44813‐9163
MICHAEL FLAMM            3363 TANDA AVE                                                                         KALAMAZOO       MI   49004‐9102
MICHAEL FLANAGAN         132 SQUAREVIEW LN                                                                      ROCHESTER       NY   14626‐1868
MICHAEL FLANIGAN         54 MALVERN CURV                                                                        TONAWANDA       NY   14150‐8737
MICHAEL FLECK            3980 STRATHMORE BLVD                                                                   OAKLAND         MI   48363‐2826
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Name                 Address1                          Address2                     Address3   Address4         City              State Zip
MICHAEL FLEET        121 STAGECOACH DR.                                                                         ALVATON            KY 42122
MICHAEL FLEMING      6445 HILLIARD RD                                                                           LANSING            MI 48911‐5626
MICHAEL FLEMING      45 BERRYHILL CT                                                                            SPRINGBORO         OH 45066‐8946
MICHAEL FLEMING      828 NORTH ST APT 3                                                                         MOUNT MORRIS       MI 48458‐1757
MICHAEL FLEMING      6750 SUMMERFIELD RD                                                                        TEMPERANCE         MI 48182‐1341
MICHAEL FLESCHERT    7 TWILIGHT DR                                                                              SAINT PETERS       MO 63376‐3655
MICHAEL FLETCHER     3197 NILES CARVER RD                                                                       MC DONALD          OH 44437‐1224
MICHAEL FLETCHER     19724 HARLOW ST                                                                            DETROIT            MI 48235‐2241
MICHAEL FLETCHER     1801 KIAMICHI RD                                                                           NORMAN             OK 73026‐5900
MICHAEL FLEURY       871 SPYGLASS DR.                                                                           NEW BRAUNFELS      TX 78130‐2467
MICHAEL FLINN        9179 MCCARTY ST                                                                            INDIANAPOLIS       IN 46231‐3111
MICHAEL FLITTON      9850 S WRIGHT RD                                                                           EAGLE              MI 48822‐9734
MICHAEL FLOERKEY     19818 COYOTE TRL                                                                           MACOMB             MI 48042‐4275
MICHAEL FLOOD JR     3920 ROHR RD                                                                               ORION              MI 48359‐1435
MICHAEL FLORES       3839 MIDNIGHT PATH                                                                         SAGINAW            MI 48603‐8504
MICHAEL FLORES       10579 OAKFIELD DR                                                                          KEITHVILLE         LA 71047‐9569
MICHAEL FLORES       501 E 97TH ST                                                                              KANSAS CITY        MO 64131‐4102
MICHAEL FLORIDDIA    3500 ELLIS PARK DR                                                                         BURTON             MI 48519‐1474
MICHAEL FLORY        42150 ECHO FOREST DR                                                                       CANTON             MI 48188‐4818
MICHAEL FLOWER       3788 CULVERT RD                                                                            MEDINA             NY 14103‐9612
MICHAEL FLOWERS      1711 CHARLES ST                                                                            ANDERSON           IN 46013‐2721
MICHAEL FLOWERS      10231 LOST HOLLOW RD                                                                       BIRDSEYE           IN 47513‐9379
MICHAEL FLOYD        127 E 3RD ST                      PO BOX 742                                               PINCONNING         MI 48650‐9314
MICHAEL FLOYD        1138 FISK ST SE                                                                            GRAND RAPIDS       MI 49507‐1412
MICHAEL FLYNN        2700 PRATT LAKE RD                                                                         GLADWIN            MI 48624‐9765
MICHAEL FLYNN        105 HIGHLAND AVE                                                                           MASSENA            NY 13662‐1771
MICHAEL FLYNN        5161 HIGHPOINT DR                                                                          SWARTZ CREEK       MI 48473‐8903
MICHAEL FLYNN        PO BOX 291314                                                                              KERRVILLE          TX 78029‐1314
MICHAEL FLYNN        2956 MEISNER AVE                                                                           FLINT              MI 48506‐2434
MICHAEL FLYNN        BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.        OH 44236
MICHAEL FOCKLER      3289 STATE HIGHWAY 310                                                                     NORFOLK            NY 13667‐3151
MICHAEL FOCKLER      307 TINDELL LN                                                                             COLUMBIA           TN 38401‐0721
MICHAEL FOLDIE       203 S CHILSON ST                                                                           BAY CITY           MI 48706‐4458
MICHAEL FOLEY        161 FAIR HAVEN RD                                                                          FAIR HAVEN         NJ 07704‐3414
MICHAEL FOLEY        9281 CHAMBERLIN RD                                                                         TWINSBURG          OH 44087‐1907
MICHAEL FOLEY        480 SHATTUCK RD                                                                            SAGINAW            MI 48604‐2380
MICHAEL FOLEY        11174 W PALMERAS DR                                                                        SUN CITY           AZ 85373‐1869
MICHAEL FOLGER       325 MONIKA PL                                                                              SAINT AUGUSTINE    FL 32080‐6442
MICHAEL FOLLETT      2110 ELMWOOD AVENUE                                                                        ROCHESTER          NY 14618‐1022
MICHAEL FOLSOM       359 DAVISON RD                    APT 6                                                    LOCKPORT           NY 14094‐4779
MICHAEL FONDOW
MICHAEL FONS         596 OAKBROOK CIR                                                                           FLUSHING          MI   48433‐1704
MICHAEL FONTE        218 WOODSTREAM DR                                                                          GRAND ISLAND      NY   14072‐3235
MICHAEL FONTENETTE   5823 W AVENUE J12                                                                          LANCASTER         CA   93536‐7165
MICHAEL FOOTE        11836 DIAMOND RD                                                                           CUSTER            SD   57730‐8148
MICHAEL FORBESS      4800 DANBI DR                                                                              METAMORA          MI   48455‐9608
MICHAEL FORBUSH      853 KLEMPP DR                                                                              HOLLY             MI   48442‐1442
MICHAEL FORCE        1909 CADILLAC ST                                                                           FLINT             MI   48504‐4814
MICHAEL FORD         9727 FERNCLIFF RD                                                                          BETHANY           LA   71007‐8724
MICHAEL FORD         59 STONE BRIDGE LN                                                                         MARSTONS MILLS    MA   02648‐2141
MICHAEL FORD         8050 TAYLOR RD APT 2804                                                                    RIVERDALE         GA   30274‐7106
MICHAEL FORD         4386 STAUNTON DR                                                                           SWARTZ CREEK      MI   48473‐8278
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Name                    Address1                           Address2         Address3         Address4                City           State Zip
MICHAEL FORD            20030 BINDER ST                                                                              DETROIT         MI 48234‐1929
MICHAEL FORD            4 WESTBRIDGE CT                                                                              SAGINAW         MI 48601‐7228
MICHAEL FORD
MICHAEL FORD SR         510 W BROADWAY ST                                                                            GREENWOOD      IN   46142‐3524
MICHAEL FORDE           1045 PINE AVE                                                                                UNION          NJ   07083‐3623
MICHAEL FOREMAN         4898 WINGS DR                                                                                BROWNSBURG     IN   46112‐8608
MICHAEL FORGO           G5450 N VASSAR ROAD                                                                          FLINT          MI   48506
MICHAEL FORKEY          1974 POTTER CT                                                                               MIDWEST CITY   OK   73130‐8242
MICHAEL FORMAN          2075 W HIBISCUS RD                                                                           AVON PARK      FL   33825‐9543
MICHAEL FORMAN          6020 YOUNGSTOWN POLAND RD                                                                    POLAND         OH   44514‐1477
MICHAEL FORNEY SR       5617 HEATHER VIEW DR                                                                         MEMPHIS        TN   38125‐4255
MICHAEL FORRESTER       5081 PONDEROSA FARM RD                                                                       GAINESVILLE    GA   30507‐8715
MICHAEL FORSHEE         1104 WEAVER FARM LN                                                                          SPRING HILL    TN   37174‐2185
MICHAEL FORSLUND        W16361 US 2                                                                                  GOULD CITY     MI   49838
MICHAEL FORSYTH         2225 E TOBIAS RD                                                                             CLIO           MI   48420‐7949
MICHAEL FORYS           2743 N BRANCH RD                                                                             NORTH BRANCH   MI   48461‐9386
MICHAEL FOSS            9350 DOUBLE R BLVD                 APT 1317                                                  RENO           NV   89521‐3813
MICHAEL FOSTER          3089 SHABAY DR                                                                               FLUSHING       MI   48433‐2482
MICHAEL FOSTER          2601 STEVENS HWY                                                                             CHARLOTTE      MI   48813‐9130
MICHAEL FOSTER          19264 LAHSER RD                                                                              DETROIT        MI   48219‐1891
MICHAEL FOSTER          3869 HUMPHREY ST                                                                             SAINT LOUIS    MO   63116‐4825
MICHAEL FOSTER          3700 SUMTER WAY                                                                              CARMEL         IN   46032‐8639
MICHAEL FOSTER          3708 CREEK RD                                                                                SHARONVILLE    OH   45241‐2708
MICHAEL FOUCART         3646 OAKVIEW RD                                                                              WATERFORD      MI   48329‐1843
MICHAEL FOUGHT          216 ASH ST                                                                                   PORT CLINTON   OH   43452‐1225
MICHAEL FOURNIER        3462 E WILSON RD                                                                             CLIO           MI   48420‐9776
MICHAEL FOUT            7421 ALTERNATE STATE ROUTE 49                                                                ARCANUM        OH   45304‐9603
MICHAEL FOX             202 ALMER DR                                                                                 CARO           MI   48723‐1239
MICHAEL FOX             25433 FOUNTAIN PARK DR E APT 108                                                             NOVI           MI   48375‐2537
MICHAEL FOX             1975 18 MILE RD                                                                              KENT CITY      MI   49330‐9067
MICHAEL FOX             103 POLO RUN DR                                                                              PERRYVILLE     MO   63775‐2204
MICHAEL FOX             3141 E 700 N                                                                                 GREENFIELD     IN   45140‐9050
MICHAEL FOX             8829 SQUIRE TRL                                                                              BELLEVUE       MI   49021‐9566
MICHAEL FOY             7865 BONNY DR                                                                                SAGINAW        MI   48609‐4912
MICHAEL FOYE            PO BOX 210491                                                                                AUBURN HILLS   MI   48321‐0491
MICHAEL FRAEYMAN        47694 JEFFERSON AVE                                                                          CHESTERFIELD   MI   48047‐2234
MICHAEL FRAILEY         6997 TUSON BLVD APT 1D                                                                       CLARKSTON      MI   48346‐4331
MICHAEL FRAKES          PO BOX 131                                                                                   ELVASTON       IL   62334‐0131
MICHAEL FRALEY          PO BOX 114                                                                                   VERNON         MI   48476‐0114
MICHAEL FRANK           213 HARWOOD DR                                                                               LEAGUE CITY    TX   77573‐4343
MICHAEL FRANK I I I     11280 WINDY RIDGE TRL                                                                        FENTON         MI   48430‐9057
MICHAEL FRANKE          SCHWARZSTRASSE 13‐15                                                 5020 SALZBURG AUSTRIA
MICHAEL FRANKE          ERLENWEG 2
MICHAEL FRANKENBERGER   875 SANCTUARY DR                                                                             MASON          MI   48854‐1389
MICHAEL FRANKLIN        2249 PEMBERTON RD SW                                                                         ATLANTA        GA   30331‐2526
MICHAEL FRANKLIN        2836 CLEARVIEW DR                                                                            SAINT LOUIS    MO   63121‐4506
MICHAEL FRANKLIN        719 THOMAS ST                                                                                JANESVILLE     WI   53545‐1633
MICHAEL FRANKLIN        16111 TERRACE VILLAGE DR                                                                     TAYLOR         MI   48180‐6137
MICHAEL FRANKLIN        4070 E PIERSON RD                                                                            FLINT          MI   48506‐1438
MICHAEL FRANKS          9555 CLARK RD                                                                                GRAND LEDGE    MI   48837‐9210
MICHAEL FRANZ           5206 LARLIN RD                                                                               HALETHORPE     MD   21227‐2527
MICHAEL FRANZEL         5430 SW 191ST CT                                                                             DUNNELLON      FL   34432‐2060
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Name                               Address1                          Address2                   Address3   Address4         City               State Zip
MICHAEL FRASE                      6840 CATLETT RD                                                                          ST AUGUSTINE        FL 32095‐8304
MICHAEL FRASER                     169 LEROY ST                                                                             FERNDALE            MI 48220‐1862
MICHAEL FRAY                       2401 LOST CREEK DR                                                                       FLUSHING            MI 48433‐9436
MICHAEL FRAZIER                    4236 RUGER AVE                                                                           JANESVILLE          WI 53546‐8695
MICHAEL FREDERICK                  424 SOUTH ST                                                                             BLISSFIELD          MI 49228‐1038
MICHAEL FREDERICK                  2991 W BRADFORD RD                                                                       MIDLAND             MI 48640‐9141
MICHAEL FREDERICK                  1877 BEAL RD                                                                             MANSFIELD           OH 44903‐9175
MICHAEL FREDERICKS                 63 WOODBURY DR                                                                           LOCKPORT            NY 14094‐5934
MICHAEL FREELEY                    2519 36TH AVE                                                                            LONG ISLAND CITY    NY 11106‐3209
MICHAEL FREEMAN                    13 DODGE DR                                                                              HAMILTON            NJ 08610‐1901
MICHAEL FREEMAN                    9069 LAKE RD                                                                             OTISVILLE           MI 48463‐9781
MICHAEL FREEMAN, COUNTY ATTORNEY   HENNEPIN COUNTY GOVERNMENT CENTER 300 S 6TH ST                                           MINNEAPOLIS         MN 55487‐1308

MICHAEL FREEMAN, COUNTY ATTORNEY   HENNEPIN COUNTY GOVERNMENT CENTER 301 S 6TH ST                                           MINNEAPOLIS        MN 55488‐0001

MICHAEL FREER                      2700 GORLAD ST                                                                           LAKE ORION         MI   48360‐2206
MICHAEL FREGOE                     6 MAPLE DR                                                                               WARRENTON          MO   63383‐2900
MICHAEL FREIBERGER                 2485 FOWLER RD                                                                           GLENNIE            MI   48737‐9740
MICHAEL FREMD                      7850 NEWBERRY RD                                                                         DURAND             MI   48429‐9149
MICHAEL FRENCH                     4514 RIDGEDALE DR                                                                        AKRON              OH   44319‐4539
MICHAEL FRENCH                     2716 GIBSON ST                                                                           FLINT              MI   48503‐3006
MICHAEL FRENCH                     1771 EDINBOROUGH DR                                                                      ROCHESTER HILLS    MI   48306‐3631
MICHAEL FRENCH                     PO BOX 31                                                                                DRUMMOND IS        MI   49726‐0031
MICHAEL FRENCH                     PO BOX 123                                                                               FORISTELL          MO   63348‐0123
MICHAEL FRENCH                     6077 BEACON HILL ST                                                                      FLINT              MI   48506‐1652
MICHAEL FRESINA                    3979 RIVER RIDGE DR                                                                      LEWISBURG          TN   37091‐5610
MICHAEL FRETTO                     88 BOCK ST                                                                               ROCHESTER          NY   14609‐4133
MICHAEL FREY                       91 MORROW AVE                                                                            LOCKPORT           NY   14094‐5014
MICHAEL FREY                       92 STEWARTS CHAPEL RD                                                                    FLINTVILLE         TN   37335‐5217
MICHAEL FRICK                      30238 UNDERWOOD DR                                                                       WARREN             MI   48092‐4858
MICHAEL FRIDLEY                    217 WILLIAMS ST                                                                          NILES              OH   44446‐1738
MICHAEL FRIERMOOD                  5519 VILLAGE WINDS DR APT A                                                              NOBLESVILLE        IN   46062‐7346
MICHAEL FRIERSON                   APT 2                              2105 LITTLE CREEK COURT                               LOUISVILLE         KY   40218‐1847
MICHAEL FRIGO                      7 SAUK CT                                                                                SULLIVAN           MO   63080‐4235
MICHAEL FRISH                      7 PILGRIM DR                                                                             ANDOVER            MA   01810‐3410
MICHAEL FRITTS                     260 RIDGEMONT RD                                                                         OXFORD             MI   48370‐3038
MICHAEL FROEDGE                    1672 DOUB ST                                                                             GREENWOOD          IN   46143‐8205
MICHAEL FROMM                      PO BOX 722                         35879 AMBER RIDGE                                     SELIGMAN           AZ   86337‐0722
MICHAEL FROMWILLER                 2273 KING RD                                                                             LAPEER             MI   48446‐8326
MICHAEL FROST                      5099 FAIRCHILD ST                                                                        SWARTZ CREEK       MI   48473‐1257
MICHAEL FRUITT                     8313 S LINN AVE                                                                          OKLAHOMA CITY      OK   73159‐5736
MICHAEL FRY                        11120 LUANN DR                                                                           PINCKNEY           MI   48169‐8768
MICHAEL FRYE                       19721 HARTWELL ST                                                                        DETROIT            MI   48235‐1173
MICHAEL FRYE                       371 LINCOLN RD                                                                           GROSSE POINTE      MI   48230‐1606
MICHAEL FUESTON                    6988 COOK JONES RD                                                                       WAYNESVILLE        OH   45068‐8802
MICHAEL FULKERSON                  29836 HILLBROOK ST                                                                       LIVONIA            MI   48152‐4520
MICHAEL FULLER                     5635 AUSTIN GARNER RD                                                                    BUFORD             GA   30518‐2102
MICHAEL FULLER                     1635 W 6TH ST                                                                            ANDERSON           IN   46016‐2639
MICHAEL FULTON                     44 ENCANTO AVE                                                                           SAN FRANCISCO      CA   94115
MICHAEL FURRY                      310 W VAN BUREN ST                                                                       PARIS              IL   61944‐2758
MICHAEL FUSSMAN                    7463 N LUCE RD                                                                           ALMA               MI   48801‐9614
MICHAEL FYLAN                      PO BOX 135                         2460 ROCHESTER ROAD                                   LAKEVILLE          MI   48366‐0135
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Name                      Address1                         Address2         Address3         Address4         City              State Zip
MICHAEL FYTCZYK           675 96 39TH STREET                                                                  PAW PAW            MI 49079
MICHAEL G ADOLPH          PO BOX 228                                                                          LENNON             MI 48449‐0228
MICHAEL G ALLEN           324 SKINNER DR                                                                      TROTWOOD           OH 45426
MICHAEL G BALDWIN         5222 W COURT ST                                                                     FLINT              MI 48532‐4115
MICHAEL G BEACHLER        1476 VICKI LANE                                                                     LEBANON            OH 45036
MICHAEL G BIDLACK         258 DUPONT AVE                                                                      TONAWANDA          NY 14150‐7817
MICHAEL G BRADLEY         225 W EDDINGTON AVE                                                                 FLINT              MI 48503‐5714
MICHAEL G BROWN           12928 BROADRIDGE LANE                                                               FLORISSANT         MO 63033‐4534
MICHAEL G BROWN           5869 MILLBROOK DR                                                                   MIDDLETOWN         OH 45042
MICHAEL G BRUCE           6785 HOGPATH RD.                                                                    GREENVILLE         OH 45331
MICHAEL G BUNSICK         13 OAKWOOD DR                                                                       PARLIN             NJ 08859‐2105
MICHAEL G CAIN            4050 FARREL RD                                                                      HASTINGS           MI 49058‐8469
MICHAEL G CHASTEEN        7501 17TH LN N                                                                      ST PETERSBURG      FL 33702‐4911
MICHAEL G CHASTEEN        7501 17TH LANE NORTH                                                                ST. PETERSBURG     FL 33702‐4911
MICHAEL G COMBS           4705 HARLOU DR                                                                      DAYTON             OH 45432
MICHAEL G COURTRIGHT      15020 ACORN CIRCLE                                                                  PORT CHARLOTTE     FL 33981‐4243
MICHAEL G CURTIS          2833 BLACKHAWK RD                                                                   KETTERING          OH 45420
MICHAEL G DECKER          55682 LORDONA LN                                                                    SHELBY TOWNSHIP    MI 48315
MICHAEL G DUFF            9665 W COVINGTON GETTYSBURG RD                                                      COVINGTON          OH 45318
MICHAEL G ELLISON         64 CONSTANCEWAY EAST                                                                ROCHESTER          NY 14612‐2763
MICHAEL G FERRAUILO       210 EVERWILD LA                                                                     ROCHESTER          NY 14616‐2042
MICHAEL G FERRETT         178 GLENWOOD DR                                                                     HUBBARD            OH 44425
MICHAEL G FIRMENT         424 S COLONIAL DR                                                                   CORTLAND           OH 44410
MICHAEL G FORD            9727 FERNCLIFF RD                                                                   BETHANY            LA 71007‐8724
MICHAEL G GAVIN           752 TANYA CIRCLE                                                                    WEBSTER            NY 14580‐2430
MICHAEL G GESSNER         2050 MATTIS DR                                                                      DAYTON             OH 45439
MICHAEL G GOODPASTER      1144 CASTLE ST                                                                      PORTSMOUTH         OH 45662‐5331
MICHAEL G HAISLEY         7137 STONEHURST DR.                                                                 DAYTON             OH 45424‐2213
MICHAEL G HANNEMAN        12606 E 195TH ST                                                                    RAYMORE            MO 64083‐8428
MICHAEL G HENNESSY        175 LORELEE DR                                                                      TONAWANDA          NY 14150‐4326
MICHAEL G HILL            18204 GREENLAWN ST                                                                  DETROIT            MI 48221‐2107
MICHAEL G HULITT          PO BOX 709                                                                          CLINTON            MS 39060
MICHAEL G HUNLEY          4092 LAURA MARIE DR                                                                 WAYNESVILLE        OH 45068
MICHAEL G JOHNSON         247 GEMINI DR                    UNIT 4C                                            HILLSBORO          NJ 08844
MICHAEL G JONES           4222 WILL‐O‐RUN DRIVE                                                               JACKSON            MS 39212‐3420
MICHAEL G JONES           251 WIESEN LN                                                                       DAYTON             OH 45417‐6946
MICHAEL G KRASS           39321 CAMBRIDGE ST                                                                  WESTLAND           MI 48186‐8600
MICHAEL G LAQUIDARI SR    103 BREMAN AVE                                                                      MATTYDALE          NY 13211‐1625
MICHAEL G LEVI            1615 MENOMINEE DR                                                                   MASON              MI 48854‐9611
MICHAEL G MAGEE           8265 CADE RD                                                                        BROWN CITY         MI 48416‐9666
MICHAEL G MANUEL          126 FOX RUN                                                                         ROCHESTER          NY 14606‐5410
MICHAEL G MC CLENDON      6203 PINE CONE DR                                                                   DAYTON             OH 45449‐3034
MICHAEL G MC KIAN         601 LINCOLN LAWNS DR NW                                                             WALKER             MI 49534‐4551
MICHAEL G MCCAFFREY       2249 BROOKSTREAM CT                                                                 MIAMISBURG         OH 45342
MICHAEL G MCKELVY         116 ORTH DR                                                                         NEW CARLISLE       OH 45344‐1734
MICHAEL G MCNALLY         106 COSMOS DR.                                                                      W. CARROLLTON      OH 45449‐2062
MICHAEL G MEYER           5090 HECKATHORN ROAD                                                                BROOKVILLE         OH 45309‐8381
MICHAEL G MISSENTZIS JR   1022 TERRY AVE                                                                      MOUNT MORRIS       MI 48458‐2568
MICHAEL G MOORE           17 FRAZER DR                                                                        MIDDLETOWN         OH 45042‐3974
MICHAEL G PALUCH          32550 LAKE RD                                                                       AVON LAKE          OH 44012‐1732
MICHAEL G PIZZICATO       3431 DEWEY AVENUE                                                                   ROCHESTER          NY 14616‐3241
MICHAEL G SCUTCHFIELD     1320 REDLEAF LN                                                                     YPSILANTI          MI 48198‐3167
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Name                             Address1                           Address2                     Address3      Address4         City            State Zip
MICHAEL G SEMAN                  5685 CHENOWETH RD                                                                              WAYNESVILLE      OH 45068
MICHAEL G SIGNORE + VIRGINIA R   1385 TIERRA CIR                                                                                WINTER PARK      FL 32792
SIGNORE
MICHAEL G SIGNORE R/O IRA        1385 TIERRA CIR                                                                                WINTER PARK     FL   32792
MICHAEL G SISSON                 992 COUNTY LINE RD                                                                             ACME            PA   15610
MICHAEL G THOMPSON               2724 MILDA CT                                                                                  BEAVERCREEK     OH   45430‐1910
MICHAEL G TOLLE                  312 WESTERLY HILLS                                                                             ENGLEWOOD       OH   45322‐2341
MICHAEL G TUOHY JR               39 WARD PARK ROAD                                                                              GRAND ISLAND    NY   14072
MICHAEL G TVAROCH                1608 DIFFORD DR.                                                                               NILES           OH   44446‐2845
MICHAEL G URANKO                 21 KIMBERLY LANE                                                                               POTTSVILLE      PA   17901
MICHAEL G URBAN                  12096 POWDERHORN TRL                                                                           OTISVILLE       MI   48463‐9762
MICHAEL G VOJTKO                 814 COLLAR PRICE RD NE                                                                         BROOKFIELD      OH   44403
MICHAEL G WAGNER                 7120 KRAENZLEIN RD                                                                             SAGINAW         MI   48604‐9756
MICHAEL G WEYRICH                1634 N ARGYLE PL                                                                               CINCINNATI      OH   45223‐1702
MICHAEL G WISCHER JR             3291 RAVENWOOD RD                                                                              FAIRBORN        OH   45324
MICHAEL G WIXOM                  4631 THORNLEY DR                                                                               FORT WAYNE      IN   46809‐9724
MICHAEL G YOUNESS                42592 ELIZABETH WAY                                                                            CLINTON TWP     MI   48038‐1726
MICHAEL G. GALLACHER, ESQUIRE    436 JEFFERSON AVENUE                                                                           SCRANTON        PA   18510
MICHAEL G. WILLEFORD
MICHAEL GABBARD                  10330 COUNTY LINE RD                                                                           ORTONVILLE      MI   48462‐8734
MICHAEL GABBARD                  425 N 900 E                                                                                    MARION          IN   46952‐9501
MICHAEL GABBARD                  301 COUNTY ROAD 428                                                                            HILLSBORO       AL   35643‐3638
MICHAEL GABBARD                  115 S HEFLIN ST                                                                                INDIANAPOLIS    IN   46229‐2909
MICHAEL GABIL                    1031 N JONES RD                                                                                ESSEXVILLE      MI   48732‐9692
MICHAEL GABIN
MICHAEL GACH
MICHAEL GADD                     40 N. LIBERTY ST                                                                               CAMDEN          OH   45311‐1114
MICHAEL GADDIS                   7468 BEEBE DR                                                                                  GREENWOOD       LA   71033‐3317
MICHAEL GADDIS                   2244 OVERRIDGE AVE                                                                             WATERFORD       MI   48327‐1148
MICHAEL GADZINSKI                1941 NORWALK ST                                                                                HAMTRAMCK       MI   48212‐3415
MICHAEL GAETANI                  8119 VIRGIL ST                                                                                 DEARBORN HTS    MI   48127‐1517
MICHAEL GAGACKI                  800 N VERMONT AVE                                                                              ROYAL OAK       MI   48067‐2024
MICHAEL GAGERMEIER               7861 BETSY ROSS CIR                                                                            CENTERVILLE     OH   45459‐4023
MICHAEL GAGNE                    8188 CARPENTER RD                                                                              FLUSHING        MI   48433‐1360
MICHAEL GAINOR                   3343 SPRINGBROOK DR NW                                                                         GRAND RAPIDS    MI   49544‐6922
MICHAEL GALASSO                  2344 BROWNING DR                                                                               LAKE ORION      MI   48360‐1806
MICHAEL GALBRAITH & HEATHER      MACAMOR FOUNDATION TRUST U/A DTD   C/O WHITENER CAPITAL         PO BOX 7743                    ROCKY MOUNT     NC   27804
VONHERRMANN                      11/07/1955                         MANAGEMENT, INC.
MICHAEL GALEY                    4115 DIVINE HWY                                                                                LYONS           MI   48851‐9675
MICHAEL GALL                     1329 N TEXAS LN                                                                                MIDLAND         MI   48642‐9319
MICHAEL GALLAGHER                5312 N GALE RD                                                                                 DAVISON         MI   48423‐8913
MICHAEL GALLAGHER                18127 ERIK CT UNIT 331                                                                         SANTA CLARITA   CA   91387‐4985
MICHAEL GALLAGHER                BEVAN & ASSOCIATES, LPA, INC.      6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS.     OH   44236
MICHAEL GALLANT                  PO BOX 98                                                                                      FLUSHING        MI   48433‐0098
MICHAEL GALLEGOS                 1807 E MITCHELL ST                                                                             ARLINGTON       TX   76010‐3025
MICHAEL GALLO TRUSTEE            CHAPTER 13 TRUSTEE                 PO BOX 80                                                   MEMPHIS         TN   38101‐0080
MICHAEL GALLO, TRUSTEE           ACCT OF CHARLES E BUTCHER          20 FEDERAL PLZ W STE 600                                    YOUNGSTOWN      OH   44503‐1424
MICHAEL GALLOWAY                 631 MIDDLEGATE CT                                                                              MARIETTA        GA   30066‐2586
MICHAEL GALONSKA                 1201 ALVORD AVE                                                                                FLINT           MI   48507‐2311
MICHAEL GALVIN                   6091 FERRIS RD                                                                                 EATON RAPIDS    MI   48827‐9636
MICHAEL GANCSOS                  2399 N BELSAY RD                                                                               BURTON          MI   48509‐1365
MICHAEL GANDHAM                  3429 YELLOWSTONE DR                                                                            ANN ARBOR       MI   48105‐1524
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Name                  Address1                        Address2                     Address3   Address4         City                  State Zip
MICHAEL GANDOLFO      225 N ALICE AVE                                                                          ROCHESTER              MI 48307‐1811
MICHAEL GANDY         602 W OLD PHILADELPHIA RD                                                                NORTH EAST             MD 21901‐3425
MICHAEL GANHEART      22011 IVANHOE LN                                                                         SOUTHFIELD             MI 48034‐2014
MICHAEL GANICH        457 VICTORIA LANE #7                                                                     ROMEO                  MI 48065
MICHAEL GANN          209 DEER POINT RD                                                                        UNIONVILLE             TN 37180‐2001
MICHAEL GANO          11144 HORTON RD                                                                          HOLLY                  MI 48442‐9472
MICHAEL GARBARINO     183 DELIA ST                                                                             LAPEER                 MI 48446‐7766
MICHAEL GARBER        1147 LEE AVE                                                                             PORT CLINTON           OH 43452‐2231
MICHAEL GARCIA        1657 BOTKINS DR APT A                                                                    TOLEDO                 OH 43605‐4595
MICHAEL GARCIA        9959 MINOCK ST                                                                           DETROIT                MI 48228‐1343
MICHAEL GARD          6172 SANDBURY DR                                                                         HUBER HEIGHTS          OH 45424‐3749
MICHAEL GARDNER       3914 MAYWOOD DR                                                                          BAY CITY               MI 48706‐2011
MICHAEL GARDNER       4522 OLD LANSING RD                                                                      LANSING                MI 48917‐4456
MICHAEL GARDNER       1986 RED RUN DR                                                                          DORR                   MI 49323‐9444
MICHAEL GARDNER       10417 LAKE SHORE DR                                                                      FENTON                 MI 48430‐2421
MICHAEL GARIEPY       1047 SHETLAND DR                                                                         SOUTH LYON             MI 48178‐5316
MICHAEL GARILANO      42 AVENUE B                                                                              BAYONNE                NJ 07002‐1928
MICHAEL GARLICK       356 OAKBRIDGE DR                                                                         ROCHESTER              MI 48306‐4629
MICHAEL GARLICK       67840 HOWARD ST                                                                          RICHMOND               MI 48062‐1326
MICHAEL GARLOCK       2873 DRUM RD                                                                             MIDDLEPORT             NY 14105‐9777
MICHAEL GARNER        1103 DRESSER DR                                                                          ANDERSON               IN 46011‐1117
MICHAEL GARNER        5465 SHATTUCK RD                                                                         SAGINAW                MI 48603‐2854
MICHAEL GARNO         12477 BELL RD                                                                            BURT                   MI 48417‐9794
MICHAEL GAROFALO      231 HILLSIDE DR                                                                          NEPTUNE                NJ 07753‐5437
MICHAEL GARRETT       554 E ERIE RD                                                                            TEMPERANCE             MI 48182‐9349
MICHAEL GARRETT       5530 RIDGE HILL WAY                                                                      AVON                   IN 46123‐8180
MICHAEL GARRICK       93 RIDGEMONT DR                                                                          HOPEWELL JUNCTION      NY 12533‐8229
MICHAEL GARRISON      123 SAINT ANDREWS                                                                        CORTLAND               OH 44410‐8721
MICHAEL GARRISON      184 MONROE DR                                                                            DAVISON                MI 48423‐8411
MICHAEL GARTEE        3117 MCCOLLUM AVE                                                                        FLINT                  MI 48504‐1820
MICHAEL GARVEY        4125 OLD KING RD                                                                         SAGINAW                MI 48601‐7166
MICHAEL GARZA         72345 MCFADDEN RD                                                                        ARMADA                 MI 48005‐3432
MICHAEL GASE          3745 E 1000 S‐92                                                                         ROANOKE                IN 46783‐9222
MICHAEL GASICIEL      1985 LAKE LANSING                                                                        HASLETT                MI 48840
MICHAEL GASSER        10480 SHERIDAN RD                                                                        MONTROSE               MI 48457‐9169
MICHAEL GAST          8499 DALTON RD                                                                           ONSTED                 MI 49265‐9577
MICHAEL GASTMEIER     28190 ASMUS ST                                                                           ROSEVILLE              MI 48066‐2679
MICHAEL GASZCZYNSKI   6525 E GILFORD RD                                                                        DEFORD                 MI 48729‐9724
MICHAEL GATES         3707 AMHURST RD                                                                          JANESVILLE             WI 53546‐8802
MICHAEL GATES         13187 CHURCHILL DRIVE                                                                    STERLING HTS           MI 48313‐1920
MICHAEL GATES         571 BENNINGTON DR                                                                        MANSFIELD              OH 44904‐1693
MICHAEL GATTO         6150 GULFPORT BLVD. S. 113B                                                              GULFPORT               FL 33707
MICHAEL GAUCI         23046 PARK ST                                                                            DEARBORN               MI 48124‐2649
MICHAEL GAUGHAN       49 STONY BROOK DR                                                                        LANCASTER              NY 14086‐1419
MICHAEL GAUNT         4210 BARBER RD                                                                           METAMORA               MI 48455‐9257
MICHAEL GAVIE         4581 BONANZA DR NE                                                                       GRAND RAPIDS           MI 49525‐1388
MICHAEL GAVITO        HENSLEE SCHWARTZ, LLP           6243 IH 10 WEST, SUITE 550                               SAN ANTONIO            TX 78201
MICHAEL GAZELL        13818 BAYVIEW DR                                                                         LANSE                  MI 49946‐9044
MICHAEL GEARHART      33 GREENLEAF LN                                                                          CHEEKTOWAGA            NY 14225‐4523
MICHAEL GEARY         814 SOUTH ST                                                                             POINT PLEASANT BORO    NJ 08742‐4547
MICHAEL GEARY         488 HILLTOP AVE                                                                          KEYPORT                NJ 07735‐5015
MICHAEL GEBKE         1104 CHERRY ST                                                                           BARTELSO                IL 62218‐2306
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Name                   Address1                        Address2                     Address3       Address4         City               State Zip
MICHAEL GEBRIAN        88 SCOTT SWAMP RD               VILLAGE GATE #107                                            FARMINGTON          CT 06032‐2804
MICHAEL GEBSKI         3235 BERRY RD                                                                                YPSILANTI           MI 48198‐9530
MICHAEL GEDEON         8949 RANCH DR                                                                                CHESTERLAND         OH 44026‐3137
MICHAEL GEIGER         46 GASLIGHT TRL                                                                              WILLIAMSVILLE       NY 14221‐2207
MICHAEL GEIGER         2409 ADAIR ST                                                                                FLINT               MI 48506
MICHAEL GEINER         1633 POOL ST                                                                                 TOLEDO              OH 43605‐3736
MICHAEL GELLINGS       176 BROOKFIELD                                                                               SWARTZ CREEK        MI 48473‐1138
MICHAEL GENDRON        1117 ORANGE AVE                                                                              NORTH FORT MYERS    FL 33903‐7110
MICHAEL GENNA          43 PAINT ISLAND SPRING RD                                                                    CLARKSBURG          NJ 08510‐1224
MICHAEL GENSLAK        173 LAKESHORE DR                                                                             CLARKSTON           MI 48348‐1488
MICHAEL GENSON         23312 LONGACRE CT                                                                            FARMINGTON          MI 48335‐4020
MICHAEL GENSTERBLUM    PO BOX 1413                                                                                  CLARKSTON           MI 48347‐1413
MICHAEL GENTRY         16217 SEYMOUR RD                                                                             LINDEN              MI 48451‐9775
MICHAEL GENTRY         2017 THAMES DR                                                                               ARLINGTON           TX 76017‐2771
MICHAEL GEORGE         16 ELM ST                                                                                    ENGLEWOOD           OH 45322‐1239
MICHAEL GEORGE         3468 CONE AVE                                                                                ROCHESTER HILLS     MI 48309‐4368
MICHAEL GERALD JONES   NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT     205 LINDA DR                    DAINGERFIELD        TX 75638
MICHAEL GERALD QUINN   15277 FOX RUN TRAIL                                                                          MISHAWAKA           IN 46545
MICHAEL GERANT JR      24107 S HARPER RD                                                                            PECULIAR            MO 64078‐9086
MICHAEL GERARD         9321 WELDER DR.                                                                              SWARTZ CREEK        MI 48473
MICHAEL GERARD         PO BOX 313                      207 CENTER WEST                                              LINWOOD             MI 48634‐0313
MICHAEL GERDA          11 PERIWINKLE DR                                                                             OLMSTED FALLS       OH 44138‐3021
MICHAEL GERLOVICH      4204 S 300 E                                                                                 GREENFIELD          IN 46140‐7701
MICHAEL GERMERAAD      2955 PECKHEATH RD SW                                                                         WYOMING             MI 49509‐2953
MICHAEL GERRITY        4499 ROADOAN RD                                                                              BROOKLYN            OH 44144‐2745
MICHAEL GESSNER        3414 WORCHESTER PL                                                                           FORT WAYNE          IN 46815‐6264
MICHAEL GETSY          85 SLEEPY HOLLOW DR                                                                          CANFIELD            OH 44406‐1056
MICHAEL GHERING        1503 W THOMPSON RD                                                                           FENTON              MI 48430‐9722
MICHAEL GIACALONE      518 S MEADE ST                                                                               FLINT               MI 48503‐2276
MICHAEL GIANGRANDE     95 LEETONIA DR                                                                               TROY                MI 48085‐4728
MICHAEL GIANNANGELI    5429 STARWOOD DR                                                                             COMMERCE TWP        MI 48382‐1138
MICHAEL GIANNINI JR    6504 S TIMBERIDGE DR                                                                         AUSTINTOWN          OH 44515‐5546
MICHAEL GIBA           181 LAKESHORE CT                                                                             COLUMBIANA          OH 44408‐9679
MICHAEL GIBAS          5874 E 900 N                                                                                 FAIR OAKS           IN 47943‐8027
MICHAEL GIBBS          PO BOX 64                                                                                    MITCHELL            IN 47446‐0064
MICHAEL GIBBS          3502 SHELBY ST                                                                               WATERFORD           MI 48328‐1374
MICHAEL GIBSON         2005 BIG OAK DR                                                                              SPRING HILL         TN 37174‐2587
MICHAEL GIBSON         11236 TAVERNAY PKWY                                                                          CHARLOTTE           NC 28262‐4429
MICHAEL GIBSON         2420 E COON LAKE RD                                                                          HOWELL              MI 48843‐7401
MICHAEL GIBSON         3337 MAYWOOD DR                                                                              FLINT               MI 48504‐1812
MICHAEL GIBSON         10928 W JACKSON ST                                                                           MUNCIE              IN 47304‐9657
MICHAEL GIBSON         7671 W 00 NS                                                                                 KOKOMO              IN 46901‐9527
MICHAEL GIDZINSKI      135 SUMMIT AVE                                                                               FORDS               NJ 08863‐1734
MICHAEL GIELNIAK       301 TENTH STREET NW             APARTMENT #606A                                              ATLANTA             GA 30318
MICHAEL GIESFELDT      S52W23725 PARTRIDGE LN                                                                       WAUKESHA            WI 53189‐9717
MICHAEL GIESSINGER     5259 ROBERTS DR                                                                              FLINT               MI 48506‐1553
MICHAEL GIEZA          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS.         OH 44236
MICHAEL GIFFORD        1291 JOHN SHARP RD                                                                           SPRING HILL         TN 37174‐2536
MICHAEL GIFFORD        72 FAYETTEVILLE‐OWENSBURG RD                                                                 BEDFORD             IN 47421
MICHAEL GIGANTE JR     39 FULLER BROOK RD                                                                           WELLESLEY           MA 02482‐7108
MICHAEL GILBERT        2577 FOX RD                                                                                  LEXINGTON           OH 44904‐9791
MICHAEL GILBERT        701 BIRCH CT                                                                                 KOKOMO              IN 46902‐5509
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Name                 Address1                           Address2            Address3         Address4         City            State Zip
MICHAEL GILBERT      210 7TH ST                                                                               OOLITIC          IN 47451‐9755
MICHAEL GILBERT      2021 LA FONTAINE STREET                                                                  FORT WAYNE       IN 46802
MICHAEL GILBERT      1055 LAPORT AVE                                                                          MOUNT MORRIS     MI 48458‐2557
MICHAEL GILBREATH    1603 WOODSIDE DR                                                                         DANVILLE         IN 46122‐1472
MICHAEL GILDER       10293 COUNTRY RD. 322                                                                    DUBLIN           TX 76446
MICHAEL GILLAM       31379 MOUND RD APT A                                                                     WARREN           MI 48092‐1628
MICHAEL GILLARD      16379 N 300 E                                                                            SUMMITVILLE      IN 46070‐9190
MICHAEL GILLEAN      1460 WOODFIELD DR                                                                        NASHVILLE        TN 37211‐6896
MICHAEL GILLEN       10737 SLEE RD                                                                            ONSTED           MI 49265‐8503
MICHAEL GILLESPIE    5511 DOOLEY DR                                                                           LINDEN           MI 48451‐9042
MICHAEL GILLESPIE    64 SWEET BRIAR LN                                                                        JEFFERSON        GA 30549‐7262
MICHAEL GILLETT      3032 W FRANCES RD                                                                        CLIO             MI 48420‐8564
MICHAEL GILLETT      3421 FERNVIEW DR                                                                         LAWRENCEVILLE    GA 30044‐4267
MICHAEL GILLEY       1912 NORTHSHORE EXT                                                                      ANDERSON         IN 46011‐1332
MICHAEL GILLIAM      6328 PINE ST APT 1                                                                       CASS CITY        MI 48726‐1318
MICHAEL GILLIAM      304 COUNTY ROAD 337                                                                      MOULTON          AL 35650‐6228
MICHAEL GILLIAM      4366 E CARPENTER RD                                                                      FLINT            MI 48506‐1087
MICHAEL GILLIGAN     WEITZ & LUXENBERG P C              700 BROADWAY                                          NEW YORK         NY 10003
MICHAEL GILLIGAN     3260 WARREN BURTON RD                                                                    SOUTHINGTON      OH 44470‐9582
MICHAEL GILLILAND    2990 FOREST DR                                                                           CELINA           TX 75009‐2824
MICHAEL GILLILAND    19715 S BEATTIE RD                                                                       PLEASANT HILL    MO 64080‐8264
MICHAEL GILLIS       11500 WING DR                                                                            CLIO             MI 48420‐1590
MICHAEL GILLIS       5537 CHRISTYWAY CT                                                                       BAY CITY         MI 48706‐3104
MICHAEL GILLUM       5482 WEIDNER RD                                                                          SPRINGBORO       OH 45066‐7427
MICHAEL GILMORE      PO BOX 172                                                                               S ROCKWOOD       MI 48179‐0172
MICHAEL GILMORE      2500 MANN RD LOT 249                                                                     CLARKSTON        MI 48346‐4283
MICHAEL GILROY       38 BENSON ST                                                                             BLOOMFIELD       NJ 07003‐2722
MICHAEL GILSINN      326 FOX HOLLOW WOODS DR                                                                  BALLWIN          MO 63021‐6188
MICHAEL GILTROP      16963 2ND SAND BEACH RD                                                                  LANSE            MI 49946‐8340
MICHAEL GINGER       1810 GARFIELD AVE                                                                        BAY CITY         MI 48708‐7843
MICHAEL GINN         421 S MAIN ST                                                                            MIAMISBURG       OH 45342‐3101
MICHAEL GIORDANO     2200 ELLERY AVE                                                                          WATERFORD        MI 48327‐1106
MICHAEL GIOVANNONE   2901 SALT SPRINGS RD                                                                     WARREN           OH 44481‐9281
MICHAEL GIRARDOT     2634 PERCH DR                                                                            LAKE WALES       FL 33898‐8815
MICHAEL GIRLING      43 FAIRCHILD PL                                                                          BUFFALO          NY 14216‐2726
MICHAEL GIST         7350 BIRCH ST                                                                            TAYLOR           MI 48180‐2391
MICHAEL GLAGOLA      659 MILL POINTE DR                                                                       MILFORD          MI 48381‐1879
MICHAEL GLASPIE      4517 CATLIN RD                                                                           COLUMBIAVILLE    MI 48421‐8970
MICHAEL GLASS        8400 JACARANDA WAY                                                                       ARLINGTON        TX 76002‐4524
MICHAEL GLASSCOE     2408 CHAMPION WAY                                                                        LANSING          MI 48910‐4869
MICHAEL GLASSER
MICHAEL GLAZE        160 HANOVER RD                                                                           LEXINGTON       OH   44904‐1023
MICHAEL GLEASON      5095 W EMERY RD                                                                          PRUDENVILLE     MI   48651‐9792
MICHAEL GLENTZER     5847 SAINT JOE CENTER RD                                                                 FORT WAYNE      IN   46835‐2449
MICHAEL GLEZMAN      19710 GOULBURN ST                                                                        DETROIT         MI   48205‐1615
MICHAEL GLIMSTAD     409 GLORIA ST                                                                            KELLER          TX   76248‐2481
MICHAEL GLINSKI      2501 INDIAN WELLS TRL                                                                    XENIA           OH   45385‐9373
MICHAEL GLOBKE       26340 PENNIE ST                                                                          DEARBORN HTS    MI   48125‐1456
MICHAEL GLOVER       7202 CARPENTER RD                                                                        FLUSHING        MI   48433‐9040
MICHAEL GLOVER       18616 OHIO STREET                                                                        DETROIT         MI   48221‐2058
MICHAEL GLUTZ        206 S M13 APT 2                                                                          LENNON          MI   48449
MICHAEL GODDARD      4386 KLONDIKE RD                                                                         LITHONIA        GA   30038‐4417
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Name                      Address1                         Address2            Address3         Address4         City                  State Zip
MICHAEL GODIN             3180 BECK BLVD                                                                         NAPLES                 FL 34114‐1203
MICHAEL GODISAK           22200 SQUIRES RD                                                                       CONKLIN                MI 49403‐9542
MICHAEL GODLESKI          5730 FAIRLEE RD                                                                        ANDERSON               IN 46013‐9742
MICHAEL GODLESKY          8227 FOUNTAIN VIEW CT                                                                  FLUSHING               MI 48433‐2197
MICHAEL GOERKE            6386 LOCUST STREET EXT                                                                 LOCKPORT               NY 14094‐6512
MICHAEL GOFORTH           1851 CLAYPOOL BOYCE RD                                                                 ALVATON                KY 42122‐8636
MICHAEL GOHL              6195 KING ARTHUR DR                                                                    SWARTZ CREEK           MI 48473‐8808
MICHAEL GOHS              13240 N JENNINGS RD                                                                    CLIO                   MI 48420‐8826
MICHAEL GOHSMAN           1164 W SAGINAW RD                                                                      VASSAR                 MI 48768‐9485
MICHAEL GOINS             35309 MICHELLE DR APT 221                                                              ROMULUS                MI 48174‐3475
MICHAEL GOLA              619 KENT LN                                                                            WHITE LAKE             MI 48386‐3391
MICHAEL GOLANKA           4691 SHADIGEE RD                                                                       NEWFANE                NY 14108‐9627
MICHAEL GOLANSKI          4858 BEECH RD                                                                          HOPE                   MI 48628‐9609
MICHAEL GOLDFINE          31290 STONEGATE CT                                                                     FARMINGTN HLS          MI 48331‐1458
MICHAEL GOLDKAMP          1540 HARPER AVE                                                                        MCKINLEYVILLE          CA 95519‐4327
MICHAEL GOLDSTEIN         2667 BIRCH HARBOR LN                                                                   WEST BLOOMFIELD        MI 48324‐1905
MICHAEL GOLDSWORTHY       7031 LINDEN RD                                                                         FENTON                 MI 48430‐9324
MICHAEL GOLEC             3689 EDINBOROUGH DR                                                                    ROCHESTER HILLS        MI 48306‐3633
MICHAEL GOLEMBIEWSKI      2889 SHARON DR                                                                         ADRIAN                 MI 49221‐4156
MICHAEL GOLESKI           56616 HONEY CT                                                                         MACOMB                 MI 48042‐1183
MICHAEL GOLLINI           12964 CHERRY LN                                                                        CHESTERLAND            OH 44026‐3023
MICHAEL GOLOWKA           8052 TORREY RD                                                                         GRAND BLANC            MI 48439‐9313
MICHAEL GOMEZ             401 S 78TH ST                                                                          KANSAS CITY            KS 66111‐2660
MICHAEL GOMOLL            17836 COUNTRY CLUB DR                                                                  MACOMB                 MI 48042‐1165
MICHAEL GONZALES          779 CORWIN CT                                                                          PONTIAC                MI 48340‐2415
MICHAEL GONZALES          10723 N ROYSTON RD                                                                     GRAND LEDGE            MI 48837‐9471
MICHAEL GONZALES          PO BOX 210002                                                                          AUBURN HILLS           MI 48321‐0002
MICHAEL GONZALEZ          1020 HICKORY RIDGE CIR                                                                 MILFORD                MI 48380‐3430
MICHAEL GONZALEZ
MICHAEL GOOD              334 W MAIN ST                                                                          ELSIE                 MI   48831‐9712
MICHAEL GOODIN            12 LOCUST HILLS CT                                                                     O FALLON              MO   63366‐5570
MICHAEL GOODKNECHT        2920 E LAKE LANSING RD                                                                 EAST LANSING          MI   48823‐2203
MICHAEL GOODMAN           1121 RILEY ST                                                                          LANSING               MI   48910‐3566
MICHAEL GOODMAN           104 WASHINGTON ST                                                                      HOLLY                 MI   48442‐1659
MICHAEL GOODPASTER        281 S MAIN ST                                                                          FILLMORE              IN   46128‐9623
MICHAEL GOODRICH          8140 ORCHARDVIEW DR                                                                    WASHINGTON TOWNSHIP   MI   48095‐1344
MICHAEL GOODRICH STUART   12012 CARMON ST                                                                        RICHMOND              CA   93233
MICHAEL GOODROW           2647 EAGLE GREENS DR                                                                   PLANT CITY            FL   33566‐9318
MICHAEL GOODSON           114 HUGHES CIR                                                                         LACEYS SPRING         AL   35754‐6351
MICHAEL GOOLDEN           7190 STATE ROAD 54 W                                                                   SPRINGVILLE           IN   47462‐5149
MICHAEL GORDON            1397 MISTLETOE RD                                                                      ABBEVILLE             GA   31001‐5609
MICHAEL GORDON            8188 BIRCH RUN RD                                                                      MILLINGTON            MI   48746‐9733
MICHAEL GORDON            23231 BARNACLE LN                                                                      VALENCIA              CA   91355‐1616
MICHAEL GORDON            398 HEL MAR DR                                                                         MITCHELL              IN   47446‐8135
MICHAEL GORDON            PO BOX 2656                                                                            DETROIT               MI   48202‐0656
MICHAEL GORMAN            45660 BRISTOL CIR                                                                      NOVI                  MI   48377‐3880
MICHAEL GORMAN            11458 CEDAR BEND DR                                                                    PINCKNEY              MI   48169‐9556
MICHAEL GORNEY            9047 LARAMIE ST                                                                        GRAND BLANC           MI   48439‐8324
MICHAEL GORSKI            10707 ANDREWS AVE                                                                      ALLEN PARK            MI   48101‐1101
MICHAEL GORSKI            2953 CAPRI DR                                                                          TOLEDO                OH   43611‐1202
MICHAEL GOSEWEHR          830 MILLERWOOD DR                                                                      LEBANON               IN   46052‐1902
MICHAEL GOSKA             6588 SUMMERDALE CIR E                                                                  YPSILANTI             MI   48197‐6103
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Name                  Address1                         Address2                      Address3   Address4         City            State Zip
MICHAEL GOSS          731 MELLOWOOD DR                                                                           INDIANAPOLIS     IN 46217‐4843
MICHAEL GOSS          11121 WARNER RD                                                                            DARIEN CENTER    NY 14040‐9508
MICHAEL GOSSELIN      10609 VIEW HIGH DR                                                                         KANSAS CITY      MO 64134‐2450
MICHAEL GOTTSCHLING   210 ROBIN HOOD ST                                                                          ROSCOMMON        MI 48653‐9414
MICHAEL GOULD         PO BOX 51                        6460 BENNINGTON                                           VERNON           MI 48476‐0051
MICHAEL GOULDING      2717 GROVENBURG RD                                                                         LANSING          MI 48911‐6450
MICHAEL GOULET        3320 WOODVALLEY DR                                                                         FLUSHING         MI 48433‐2264
MICHAEL GOULET        1130 EDDIE DR                                                                              AUBURN           MI 48611‐9422
MICHAEL GOURNARIS     3608 APPLEWOOD LN                                                                          ANTIOCH          TN 37013‐4844
MICHAEL GOUSHAW       4448 LOUISE CT                   PO BOX 412                                                GENESEE          MI 48437‐7715
MICHAEL GOUVAN        410 S 500 W ‐ 90                                                                           MARKLE           IN 46770
MICHAEL GOYETTE       PO BOX 5                                                                                   ATLAS            MI 48411‐0005
MICHAEL GRAB          9205 NASHUA TRL                                                                            FLUSHING         MI 48433‐8837
MICHAEL GRABLE        1643 OLDTOWN AVE                                                                           W BLOOMFIELD     MI 48324‐1255
MICHAEL GRABOWSKI     12117 KRUSE RD                                                                             PETERSBURG       MI 49270‐8700
MICHAEL GRABOWSKI     2177 HORTON WAY                                                                            LEWISBURG        TN 37091‐6575
MICHAEL GRACE         2279 MARSTON DR                                                                            WATERFORD        MI 48327‐1143
MICHAEL GRADY         30489 LEEMOOR ST                                                                           BEVERLY HILLS    MI 48025‐4916
MICHAEL GRAHAM        895 GETAWAY LN                                                                             DUCK RIVER       TN 38454‐3637
MICHAEL GRAHAM        1753 HANNIBAL ST                                                                           NOBLESVILLE      IN 46060‐3042
MICHAEL GRAHAM        3015 N IRISH RD                                                                            DAVISON          MI 48423‐9558
MICHAEL GRAHAM        21650 E GEDDES PL                                                                          CENTENNIAL       CO 80016‐1708
MICHAEL GRAHAM        4837 N FAIRVIEW RD                                                                         WEST BRANCH      MI 48661‐9416
MICHAEL GRAHAM        24444 JULIET DR                                                                            CENTER LINE      MI 48015‐1056
MICHAEL GRAINGER      21730 ULRICH ST                                                                            CLINTON TWP      MI 48036‐3720
MICHAEL GRAMER        6521 EUDAILY COVINGTON RD                                                                  COLLEGE GROVE    TN 37046‐9109
MICHAEL GRANATA       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.      OH 44236
MICHAEL GRAND         7444 TWIN FALLS DR                                                                         BOYNTON BEACH    FL 33437‐3936
MICHAEL GRANDSTAFF    3317 HAMMERBERG RD                                                                         FLINT            MI 48507‐3257
MICHAEL GRANGER       8090 BOULDER DR                                                                            DAVISON          MI 48423‐8644
MICHAEL GRANT         THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                               HOUSTON          TX 77017
MICHAEL GRANT         8939 LITTLE RICHMOND RD                                                                    DAYTON           OH 45426‐4419
MICHAEL GRANT         3907 PRATT LAKE RD                                                                         GLADWIN          MI 48624‐8249
MICHAEL GRANT         116 REGAN LN                                                                               LA FOLLETTE      TN 37766‐3977
MICHAEL GRANT         2736 STRAWBERRY LN                                                                         PORT HURON       MI 48060‐2302
MICHAEL GRANT         2001 PARADISE DR                                                                           LEWISBURG        TN 37091‐4533
MICHAEL GRANT         PO BOX 405                                                                                 MIDWAY           GA 31320‐0405
MICHAEL GRANT JR      51475 SARAHSVILLE RD                                                                       SARAHSVILLE      OH 43779‐9737
MICHAEL GRASKEY       10885 BYRON RD                                                                             BYRON            MI 48418‐9156
MICHAEL GRASKI        130 KING                                                                                   HIGHLAND         MI 48357‐4610
MICHAEL GRAY          7336 GREENWOOD LN                                                                          RAPIDAN          VA 22733‐2103
MICHAEL GRAY          2516 RUGER DR APT 133                                                                      ARLINGTON        TX 76006‐3257
MICHAEL GRAY          1680 COOLEY LAKE RD                                                                        MILFORD          MI 48381‐1153
MICHAEL GRAY          6078 TUCKER RD                                                                             CAMDEN           OH 45311‐9517
MICHAEL GRAY          6967 E COUNTY ROAD 151 N                                                                   AVON             IN 46123‐6139
MICHAEL GRAY          PO BOX 163                                                                                 CLARKSVILLE      OH 45113‐0163
MICHAEL GRAY          1611 WAXWING DR                                                                            DEWITT           MI 48820‐9546
MICHAEL GRAY          9414 LISA ST                                                                               ROMULUS          MI 48174‐1575
MICHAEL GRAYSON       4921 INDIANOLA AVE                                                                         INDIANAPOLIS     IN 46205‐1225
MICHAEL GRAYSON       5436 WOODLAND FORREST DR                                                                   TUSCALOOSA       AL 35405‐5640
MICHAEL GRAZIER       3454 BLACK OAK LA.                                                                         AUSTINTOWN       OH 44511
MICHAEL GREASON       8988 W WALDEN DR                                                                           BELLEVILLE       MI 48111‐2692
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Name                                  Address1                         Address2                     Address3   Address4         City            State Zip
MICHAEL GREATHOUSE                    1623 MAIN ST APT 1101                                                                     DALLAS           TX 75201‐4775
MICHAEL GREATHOUSE                    5723 S PARK RD                                                                            KOKOMO           IN 46902‐5048
MICHAEL GREB                          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
MICHAEL GREB JR                       3294 HELSEY FUSSELMAN RD                                                                  SOUTHINGTON      OH 44470‐9738
MICHAEL GREEN                         78 HIDE A WAY LN                                                                          WINTER HAVEN     FL 33881‐9511
MICHAEL GREEN                         30924 BOCK ST                                                                             GARDEN CITY      MI 48135‐1433
MICHAEL GREEN                         31564 BLOCK ST                                                                            GARDEN CITY      MI 48135‐1945
MICHAEL GREEN                         1500 E BLACKMORE RD                                                                       MAYVILLE         MI 48744‐9588
MICHAEL GREEN                         659 ROSEWOOD PL                                                                           PONTIAC          MI 48342‐2984
MICHAEL GREEN                         5036 LAUR RD # ELD                                                                        NORTH BRANCH     MI 48461
MICHAEL GREEN                         18585 150TH ST                                                                            BASEHOR          KS 66007‐3028
MICHAEL GREEN                         1078 BARBARA ST                                                                           GRAND BLANC      MI 48439‐8933
MICHAEL GREEN                         13075 S CORK RD                                                                           PERRY            MI 48872‐8530
MICHAEL GREEN                         7181 MARCO DR                                                                             WATERFORD        MI 48327‐1539
MICHAEL GREEN                         9000 US HIGHWAY 192 LOT 251                                                               CLERMONT         FL 34714‐8219
MICHAEL GREEN                         1312 CHAPMAN CT                                                                           SPRING HILL      TN 37174‐7144
MICHAEL GREEN                         PO BOX 351389                                                                             DETROIT          MI 48235‐6389
MICHAEL GREEN                         21082 FAIRFIELD DR                                                                        MACOMB           MI 48044‐2917
MICHAEL GREEN
MICHAEL GREENE                        8130 FRANCES RD                                                                           FLUSHING        MI   48433‐8825
MICHAEL GREENE                        3741 CLINTONVILLE RD                                                                      WATERFORD       MI   48329‐2416
MICHAEL GREENE                        7436 VIENNA RD                                                                            OTISVILLE       MI   48463‐9475
MICHAEL GREENFIELD                    5377 FERN AVE                                                                             GRAND BLANC     MI   48439‐4321
MICHAEL GREENLEE                      204 S WYNDEMERE LAKES DR                                                                  MOORE           OK   73160‐8138
MICHAEL GREER                         PO BOX 432                                                                                CONTINENTAL     OH   45831‐0432
MICHAEL GREGG                         2502 BROOKLINE CT                APT 507                                                  ARLINGTON       TX   76006‐2922
MICHAEL GREGORY                       PO BOX 1723                                                                               SMYRNA          TN   37167‐1701
MICHAEL GREGORY                       5988 S RED BUD LN‐57                                                                      COLUMBIA CITY   IN   46725‐9400
MICHAEL GREGORY                       1037 RIVER HILLS RD                                                                       BEAVERCREEK     OH   45430‐1123
MICHAEL GREGUS                        2327 FLAGSTONE DR                                                                         FLUSHING        MI   48433‐2583
MICHAEL GREINER                       29405 HOOVER RD                                                                           WARREN          MI   48093‐3480
MICHAEL GRESCHUK                      2 ROSE LN                                                                                 UNION BEACH     NJ   07735‐3537
MICHAEL GRESH                         1922 S WYANDOTTE TRL                                                                      MARBLEHEAD      OH   43440‐2475
MICHAEL GREULICH                      10091 BOSTON STATE RD                                                                     BOSTON          NY   14025‐9786
MICHAEL GRIDER                        9919 SPRINGVILLE HWY                                                                      ONSTED          MI   49265‐9517
MICHAEL GRIDLEY                       8740 WINDING RIDGE RD                                                                     INDIANAPOLIS    IN   46217‐4685
MICHAEL GRIEVE                        576 S REDWOOD AVE                                                                         YPSILANTI       MI   48198‐6109
MICHAEL GRIEWAHN                      13523 VENETIAN DR                                                                         MONROE          MI   48161‐4784
MICHAEL GRIFFEE                       108 TOPAZ CT                                                                              WINLOCK         WA   98596‐9119
MICHAEL GRIFFEN                       9858 PRAIRIE WILLOW PL                                                                    ROSCOE          IL   61073‐8521
MICHAEL GRIFFIN                       5615 PADDOCKVIEW DR                                                                       ARLINGTON       TX   76017‐4433
MICHAEL GRIFFIN                       6020 WOODS RD                                                                             BELLEVUE        MI   49021‐9285
MICHAEL GRIFFIN                       5217 W FARRAND RD                                                                         CLIO            MI   48420‐8234
MICHAEL GRIFFIN                       6348 38TH AVE SW                                                                          SEATTLE         WA   98126
MICHAEL GRIFFIN SCHAFER & KATHRYN L   602 E AVE R                                                                               PALMDALE        CA   93550
SCHAFER JT TEN
MICHAEL GRIFFOR                       899 FLAJOLE RD                                                                            MIDLAND         MI   48642‐9611
MICHAEL GRIFFOR                       629 KLEIN RD                                                                              STERLING        MI   48659‐9651
MICHAEL GRIGG                         2793 BLOSSOM FARMS DR                                                                     HOWELL          MI   48843‐7043
MICHAEL GRIGNANI                      14255 N GENESEE RD                                                                        CLIO            MI   48420‐9166
MICHAEL GRIGSBY                       9564 BRADY                                                                                REDFORD         MI   48239‐2029
MICHAEL GRILLS                        401 ELY DR S                                                                              NORTHVILLE      MI   48167‐2755
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Name                            Address1                       Address2            Address3         Address4         City               State Zip
MICHAEL GRIMALDI                3072 HERON POINTE DR                                                                 BLOOMFIELD HILLS    MI 48302‐0716
MICHAEL GRIMES                  9845 YORK WOODS DR                                                                   SALINE              MI 48176‐9041
MICHAEL GRIMES                  1235 FROMM ST                                                                        GRAND BLANC         MI 48439
MICHAEL GRIMES                  953 13TH ST                                                                          COVINGTON           IN 47932‐1386
MICHAEL GRIMES                  2408 S CECIL RD                                                                      MUNCIE              IN 47302‐9282
MICHAEL GRIMM                   4 SEABRIGHT AVE                                                                      BALTIMORE           MD 21222‐4928
MICHAEL GRIMM
MICHAEL GRIMMER                 3830 WOODMAN DR                                                                      TROY               MI   48084‐1153
MICHAEL GRIMMETT                1410 STRAUS RD                                                                       CEDAR HILL         TX   75104‐4405
MICHAEL GRIMMETT                386 WILLOW GROVE LN                                                                  ROCHESTER HILLS    MI   48307‐2557
MICHAEL GRIMSLEY                445 PREVOT AVE                                                                       SAINT CHARLES      MO   63303‐5323
MICHAEL GRISSOM                 8809 DITZLER AVE                                                                     KANSAS CITY        MO   64138‐4542
MICHAEL GRITT                   1548 DOVER ST                                                                        FERNDALE           MI   48220‐1615
MICHAEL GRIZZLE                 3958 POINTE N                                                                        GAINESVILLE        GA   30506‐5385
MICHAEL GROAT                   3395 MEINRAD DR                                                                      WATERFORD          MI   48329‐3532
MICHAEL GROBBEL                 49997 LEXINGTON AVE E                                                                SHELBY TOWNSHIP    MI   48317‐6301
MICHAEL GRODIAK                 3102 MALONEY ST                                                                      LANSING            MI   48911‐1801
MICHAEL GROESCHEN               1132 PUTNAM ST                                                                       NEWPORT            KY   41071‐1443
MICHAEL GROGAN                  38 KNOX AVE                                                                          MONESSEN           PA   15062‐1511
MICHAEL GROHS                   5762 GARNET CIR                                                                      CLARKSTON          MI   48348‐3060
MICHAEL GROLL                   305 NORTH HARMONY DRIVE                                                              NAPOLEON           OH   43545‐9473
MICHAEL GRONSKY                 163 CAROLINE ST                                                                      ELYRIA             OH   44035‐3905
MICHAEL GROSS                   17647 BISHOP RD                                                                      CHESANING          MI   48616‐9732
MICHAEL GROSS                   1122 BOGEY DR                                                                        MANSFIELD          OH   44903‐6525
MICHAEL GROSS                   1204 SILVERTHORNE RD                                                                 BALTIMORE          MD   21239‐3433
MICHAEL GROSS                   2116 LION HEART DR                                                                   MIAMISBURG         OH   45342‐2044
MICHAEL GROSS                   1996 ROBERTS RD                                                                      BASOM              NY   14013‐9721
MICHAEL GROSS                   3372 RENAULT DR                                                                      FLINT              MI   48507‐3364
MICHAEL GROSS                   676 ANITA LANE                                                                       MT PLEASANT        MI   48858
MICHAEL GROSS CH 13 TRUSTEE     ACCT OF REED B WOFFORD         PO BOX 7190                                           TYLER              TX   75711‐7190
MICHAEL GROSS TRUSTEE ACCT OF   W H BROWN JR 97‐62146‐A        PO BOX 734                                            TYLER              TX   75710‐0734
MICHAEL GROULX                  7150 SCHOOLCRAFT DR                                                                  DAVISON            MI   48423‐2364
MICHAEL GROULX                  699 E 24TH ST                                                                        BALDWIN            MI   49304‐7303
MICHAEL GROVER                  12074 E BRISTOL RD                                                                   DAVISON            MI   48423‐9135
MICHAEL GROVES                  4828 GISES POINT RD                                                                  HALE               MI   48739‐9132
MICHAEL GROVES                  730 GOODE ST                                                                         BALLSTON SPA       NY   12020‐3309
MICHAEL GRUDNOSKI               9078 E MONROE RD                                                                     BRITTON            MI   49229‐9796
MICHAEL GRUMLEY                 152 APPLEWOOD CT                                                                     DAVISON            MI   48423‐9137
MICHAEL GRUNO                   3159 BIRCH RUN RD                                                                    MILLINGTON         MI   48746‐9656
MICHAEL GRUSKIN                 4671 MAPLE CREEK COURT                                                               W BLOOMFIELD       MI   48322‐3495
MICHAEL GRZESIAK                4224 MAHONING AVE NW                                                                 WARREN             OH   44483‐1929
MICHAEL GRZYBOWSKI              APT 3B                         712 KINGS PATH                                        BEL AIR            MD   21014‐3294
MICHAEL GUARINO JR              14 CARDINAL RD                                                                       CHEEKTOWAGA        NY   14227‐2368
MICHAEL GUDITH                  8751 JACKSON ST                                                                      TAYLOR             MI   48180‐2996
MICHAEL GUERCIO                 68163 WINGATE DR                                                                     WASHINGTON TWP     MI   48095‐1267
MICHAEL GUERRERO                915 JAPONICA LN                                                                      SHREVEPORT         LA   71118‐3510
MICHAEL GUGLIELMO               8361 CARRIAGE HILLS DR                                                               BRENTWOOD          TN   37027‐8100
MICHAEL GUGLIUZZA               8412 WASHINGTON AVE                                                                  GASPORT            NY   14067‐9285
MICHAEL GUILIANO                PO BOX 489                                                                           MERIDEN            CT   06450‐0489
MICHAEL GUINDON                 376 DEER LANE                                                                        OXFORD             MI   48371‐2809
MICHAEL GUIRE                   1233 LOIS LN                                                                         BOWLING GREEN      KY   42104‐4675
MICHAEL GULASH                  338 N STATE RD                                                                       OTISVILLE          MI   48463‐9486
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Name                                   Address1                          Address2                    Address3   Address4         City              State Zip
MICHAEL GULICK                         7448 WICKLOW NORTH DR                                                                     DAVISON            MI 48423‐8380
MICHAEL GULLETT                        1497 DONOVAN ST                                                                           BURTON             MI 48529‐1225
MICHAEL GULLETT                        1726 KENTUCKY AVE                                                                         FLINT              MI 48506‐4304
MICHAEL GULLIAN                        PO BOX 245                                                                                COLUMBIAVILLE      MI 48421‐0245
MICHAEL GUM                            962 S CROSS BRIDGES RD                                                                    MT PLEASANT        TN 38474‐2920
MICHAEL GUNN                           808 LOWE RD                                                                               MIDDLE RIVER       MD 21220‐3765
MICHAEL GUNNELL                        11382 WILSON RD                                                                           MONTROSE           MI 48457‐9180
MICHAEL GUNNELLS                       2627 ATHENA DR                                                                            TROY               MI 48083‐2469
MICHAEL GUNTER                         3533 MURPHY DR                                                                            BEDFORD            TX 76021‐2751
MICHAEL GUNTER                         107 YUKON AVE                                                                             YUKON              OK 73099‐4556
MICHAEL GURAK JR                       991 DRAVIS ST                                                                             GIRARD             OH 44420‐2021
MICHAEL GURK                           1347 E. BENSON HWY                                                                        TUCSON             AZ 85714
MICHAEL GURLEY
MICHAEL GURNE                          12842 RED BUD DR                                                                          SHELBY TOWNSHIP   MI   48315‐6912
MICHAEL GURNSEY                        4612 BUCKINGHAM DR                                                                        PORT HURON        MI   48060‐1642
MICHAEL GURSKE                         1320 N WASHINGTON ST                                                                      KOKOMO            IN   46901‐2215
MICHAEL GUTE                           8501 GARY RD                                                                              CHESANING         MI   48616‐8411
MICHAEL GUTHRIE                        8180 LITTLE RICHMOND RD                                                                   TROTWOOD          OH   45426‐4404
MICHAEL GUTHRIE                        1225 S GENEVA DR                                                                          DEWITT            MI   48820‐9531
MICHAEL GUTSHALL                       309 ANN CROCKETT CT                                                                       FRANKLIN          TN   37064‐6735
MICHAEL GUTTMANN
MICHAEL GUZDA JR                       6156 WILDWOOD DR                                                                          HAMBURG           NY   14075‐7324
MICHAEL GUZEK                          6494 SOUTHAMPTON DR                                                                       CLARKSTON         MI   48346‐4741
MICHAEL GUZIK                          1030 44TH AVE NE                                                                          MINNEAPOLIS       MN   55421‐3051
MICHAEL GUZMAN                         100 PLEASANT MANOR DR                                                                     WATERFORD         MI   48327‐3695
MICHAEL H BOKOR                        13942 W. RICO DR.                                                                         SUN CITY WEST     AZ   85375‐2802
MICHAEL H BRADY                        PO BOX 441                                                                                CORTLAND          OH   44410‐0441
MICHAEL H BRUNEA                       91 SIESTA DR                                                                              LEESBURG          FL   34748
MICHAEL H CASEY & DIANE T CASEY TTEE   12 APRIAN CT                                                                              DANVILLE          CA   94526‐3701

MICHAEL H CHRISTIAN                    6015 LAKE DR                                                                              YPSILANTI         MI   48197‐7016
MICHAEL H DEAN                         9801 N. PARK AVE.                                                                         WARREN            OH   44450‐9796
MICHAEL H GRICE                        1424 MORSON RD                                                                            JACKSON           MS   39209‐6539
MICHAEL H HAYDA                        364 WESTCHESTER NE                                                                        WARREN            OH   44484
MICHAEL H HICKS                        C/O WILLIAMS KHERKHER HART AND    8441 GULF FREEWAY STE 600                               HOUSTON           TX   77007
                                       BOUNDAS LLP
MICHAEL H KIRK                         10251 MARTZ RD                                                                            YPSILANTI         MI   48197‐9735
MICHAEL H KLEINFELDER                  430 MORSE AVE                                                                             DAYTON            OH   45420
MICHAEL H LEWIS                        678 BUCKSKIN TRAIL                                                                        XENIA             OH   45385‐4147
MICHAEL H MAGEE                        6219 SHADY OAK ST                                                                         DAYTON            OH   45424
MICHAEL H MCDONOUGH                    1600 VILLAGE DR APT 1518                                                                  EULESS            TX   76039‐5679
MICHAEL H MCMILLON                     980 BRIGHT AVE                                                                            VANDALIA          OH   45377‐1521
MICHAEL H NEELEY                       6105 EAGLE RIDGE LN APT 101                                                               FLINT             MI   48505‐2943
MICHAEL H PAULSON                      5421 STATLER DR                                                                           BURTON            MI   48509‐1348
MICHAEL H PRICE                        11435 CEDAR GLEN CIRCLE                                                                   FLINT             TX   75762
MICHAEL H SCHICK                       429 E. PEAST AVE                                                                          WEST CARROLTON    OH   45449
MICHAEL H SCHUITEMA                    4101 E 82ND ST                                                                            NEWAYGO           MI   49337‐9636
MICHAEL H SMART                        224 NORTHWOOD                                                                             DAYTON            OH   45405‐2216
MICHAEL H SOLON                        1810 ALDER WAY                                                                            HAZLE TWP         PA   18202
MICHAEL H THOMAS                       C/O WEITZ & LUXENBERG PC          700 BROADWAY                                            NEW YORK          NY   10003
MICHAEL H TWISS                        29200 SOUTHFIELD RD STE 200                                                               SOUTHFIELD        MI   48076‐1925
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Name                                  Address1                          Address2                    Address3   Address4               City               State Zip
MICHAEL H. PERRY, FRASER TREBILCOCK   C/O BARREL'S INC PRP GROUP        124 W ALLEGAN ST STE 1000                                     LANSING             MI 48933‐1716
DAVIS & FOSTER, P.C.
MICHAEL HAAG                          1497 N IONIA RD                                                                                 VERMONTVILLE       MI   49096‐9558
MICHAEL HAAGENSEN                     W9249 US HIGHWAY 18                                                                             CAMBRIDGE          WI   53523‐9739
MICHAEL HAAS                          2401 N LIBERTY ST                                                                               MUNCIE             IN   47303‐1818
MICHAEL HABERMEHL                     3444 DILLON RD                                                                                  FLUSHING           MI   48433‐9763
MICHAEL HABITZ                        4489 JOAN DR                                                                                    CLIO               MI   48420‐9406
MICHAEL HABKIRK                       823 MONTEVIDEO DR APT 1                                                                         LANSING            MI   48917‐3939
MICHAEL HACK                          1926 ROWLAND AVE SE                                                                             GRAND RAPIDS       MI   49546‐4331
MICHAEL HACKETT                       1430 WILDCAT RD                                                                                 SAINT JOHNS        MI   48879‐9167
MICHAEL HACKETT                       463 UPTON DR                                                                                    SAINT JOSEPH       MI   49085‐1058
MICHAEL HACKETTE                      3319 WOODMONT DR                                                                                LAMBERTVILLE       MI   48144‐9623
MICHAEL HACKNEY                       654 N ONONDAGA RD                                                                               MASON              MI   48854‐9522
MICHAEL HADDEN                        51195 PLYMOUTH RIDGE CT                                                                         PLYMOUTH           MI   48170‐6369
MICHAEL HADDIX                        1499 NEW WAY DR                                                                                 BEAVERCREEK        OH   45434‐6925
MICHAEL HADIDON                       2350 S MORRICE RD                                                                               OWOSSO             MI   48867‐8983
MICHAEL HADLEY                        7818 COPPERFIELD DR                                                                             INDIANAPOLIS       IN   46256‐4005
MICHAEL HADLOCK                       PO BOX 550                                                                                      TUTTLE             OK   73089‐0550
MICHAEL HADSALL                       1003 BETSY CT                                                                                   VENICE             FL   34293‐2001
MICHAEL HAEFFNER                      975 W 8TH ST                                                                                    WASHINGTON         MO   63090‐1707
MICHAEL HAFNER                        14218 AMMAN RD                                                                                  CHESANING          MI   48616‐9450
MICHAEL HAGLUND                       11145 E MAPLE AVE                                                                               DAVISON            MI   48423‐8616
MICHAEL HAHN                          753 CEDAR ST                                                                                    ROCK HILL          SC   29730‐4102
MICHAEL HAHN                          ALBERT‐FELLERT‐STR. 17                                                                          FRANKFURT (ODER)        15234
MICHAEL HAHN                          ALBERT‐FELTERT‐STR 17                                                    FRANKFURT ODER 15234
                                                                                                               GERMANY
MICHAEL HAICL                         33020 KARIN DR APT 205                                                                          STERLING HEIGHTS   MI   48310‐6209
MICHAEL HAIDUC                        14430 BRANDYWINE RD                                                                             STERLING HTS       MI   48312‐5606
MICHAEL HAIGHT                        12280 WAHL RD                                                                                   SAINT CHARLES      MI   48655‐9539
MICHAEL HAILEY                        87 STAFFORD ST SW                                                                               ATLANTA            GA   30314‐2545
MICHAEL HAINEAULT                     6091 DORCHESTER CIR                                                                             KEITHVILLE         LA   71047‐8926
MICHAEL HAINES                        869 S HOCKADAY RD                                                                               GLADWIN            MI   48624‐8496
MICHAEL HAINES                        2433 NE OLD PAINT RD                                                                            LEES SUMMIT        MO   64086‐7035
MICHAEL HAIR                          35523 BROOKE CT                                                                                 NEW BALTIMORE      MI   48047‐1137
MICHAEL HAIST                         2853 NICKELBY DR                                                                                SHELBY TOWNSHIP    MI   48316‐4870
MICHAEL HAIST                         1155 LEMPI DR                                                                                   DAVISON            MI   48423‐2880
MICHAEL HAKES                         5942 SHAKERTWOWN DR NW APT L9                                                                   CANTON             OH   44718‐1797
MICHAEL HAKES                         725 CLOVERLEAF CT                                                                               MANSFIELD          OH   44904‐1805
MICHAEL HALDENWANGER                  10055 MARSHALL RD                                                                               SOUTH LYON         MI   48178‐9336
MICHAEL HALE                          8467 BLUE LAKE CIR                                                                              GALLOWAY           OH   43119‐8706
MICHAEL HALE                          22135 STUDIO ST                                                                                 TAYLOR             MI   48180‐2473
MICHAEL HALE                          7326 W FARRAND RD                                                                               CLIO               MI   48420‐9451
MICHAEL HALE                          2235 WINDER CIR                                                                                 FRANKLIN           TN   37064‐4984
MICHAEL HALL                          2341 WOODLAND TRCE                                                                              PLAINFIELD         IN   46168‐3803
MICHAEL HALL                          2020 WILLOW BAY DR                                                                              DEFIANCE           OH   43512‐3714
MICHAEL HALL                          6359 KIMS DR                                                                                    VICTOR             NY   14564‐9214
MICHAEL HALL                          3941 E FAIRBROOK CIR                                                                            MESA               AZ   85205‐5100
MICHAEL HALL                          2334 WESTMERE DR                                                                                PLAINFIELD         IN   46168‐4761
MICHAEL HALL                          33001 BARKLEY ST                                                                                LIVONIA            MI   48154‐3518
MICHAEL HALL                          5177 18 MILE RD NE                                                                              CEDAR SPRINGS      MI   49319‐9561
MICHAEL HALL                          5260 OLDE SHAWBORO RD                                                                           GRAND BLANC        MI   48439‐8729
MICHAEL HALL                          20410 MARK TWAIN ST                                                                             DETROIT            MI   48235‐1615
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Name                 Address1                      Address2            Address3         Address4                City            State Zip
MICHAEL HALL         11488 N SAGINAW RD                                                                         CLIO             MI 48420‐1623
MICHAEL HALL         2939 JESSITAN LN                                                                           CULLEOKA         TN 38451‐2372
MICHAEL HALL         9150 E COLDWATER RD                                                                        DAVISON          MI 48423‐8901
MICHAEL HALL         4727 GOODISON PLACE DR                                                                     ROCHESTER        MI 48306‐1673
MICHAEL HALL         17430 HARRIS RD                                                                            DEFIANCE         OH 43512‐8097
MICHAEL HALLAHAN     5832 STATE ROUTE 380                                                                       WILMINGTON       OH 45177‐8632
MICHAEL HALLAK       6717 COUNTY ROAD 527                                                                       BURLESON         TX 76028‐1307
MICHAEL HALLOCK      4302 GARDEN PARK DR                                                                        TOLEDO           OH 43613
MICHAEL HALLORAN     2302 EUCLID AVE                                                                            SYRACUSE         NY 13224‐1810
MICHAEL HALLOS       PO BOX 12                                                                                  BERLIN CENTER    OH 44401‐0012
MICHAEL HAMEL        RR 4                                                                                       OTTAWA           OH 45875
MICHAEL HAMES        2911 WOODLAND CT                                                                           METAMORA         MI 48455‐8930
MICHAEL HAMILTON     719 FAIRLEDGE ST                                                                           LAKE ORION       MI 48362‐2611
MICHAEL HAMILTON     5032 WILLOWBEND DR                                                                         MURFREESBORO     TN 37128‐3728
MICHAEL HAMILTON     10584 E 00 NS                                                                              GREENTOWN        IN 46936‐9012
MICHAEL HAMILTON     648 PORTPATRICK PL                                                                         FORT MILL        SC 29708‐7916
MICHAEL HAMLETT      619 CYPRESSPOINTE DR                                                                       SEVERNA PARK     MD 21146‐4122
MICHAEL HAMLETT      3928 EMMAJEAN RD                                                                           TOLEDO           OH 43607‐1011
MICHAEL HAMLIN       PO BOX 298                                                                                 MILLINGTON       MI 48746‐0298
MICHAEL HAMLIN       7440 PIERCE RD                                                                             FREELAND         MI 48623‐9030
MICHAEL HAMM         5603 BRANCHWOOD DR                                                                         KEITHVILLE       LA 71047‐5576
MICHAEL HAMM         9450 N COUNTY ROAD 800 W                                                                   MIDDLETOWN       IN 47356‐9325
MICHAEL HAMM         14514 WATERBROOK RD                                                                        FORT WAYNE       IN 46814‐9141
MICHAEL HAMMAN       7307 NORTHWEST 75TH TERRACE                                                                KANSAS CITY      MO 64152‐1782
MICHAEL HAMMER       PAUL‐DUDEN‐STR. 74                                                 65830 KRIFTEL GERMANY
MICHAEL HAMMINGA     PO BOX 472                                                                                 DEFIANCE        OH   43512‐0472
MICHAEL HAMMON       2338 HOWE RD                                                                               BURTON          MI   48519‐1132
MICHAEL HAMMOND      2168 OLD HICKORY BLVD                                                                      DAVISON         MI   48423‐2064
MICHAEL HAMMOND      1007 E 8TH ST                                                                              MUNCIE          IN   47302‐3524
MICHAEL HAMMOND      103 PIKES PEAK DR                                                                          COLUMBIA        TN   38401‐6151
MICHAEL HAMMOND      2118 BRUNSWICK DR                                                                          AUSTIN          TX   78723‐2053
MICHAEL HAMMOND      2889 WOODSBORO DR NE                                                                       GRAND RAPIDS    MI   49525‐3051
MICHAEL HAMMOND      7470 BRISTOL RD                                                                            SWARTZ CREEK    MI   48473‐7910
MICHAEL HAMPTON      79 BRICKER RD                                                                              SHILOH          OH   44878‐9011
MICHAEL HAMRICK      PO BOX 683                                                                                 OAK GROVE       MO   64075‐0683
MICHAEL HANCOCK      3928 138TH AVE                                                                             HAMILTON        MI   49419‐9767
MICHAEL HANCOCK      22729 WILLOW LAKES DR                                                                      LUTZ            FL   33549‐8737
MICHAEL HANCOOK      10082 N 1200 W                                                                             MONTICELLO      IN   47960‐8094
MICHAEL HAND         2820 SCENIC MEADOWS DR                                                                     ORTONVILLE      MI   48462‐8933
MICHAEL HANDLER      366 WOODLAND AVE                                                                           WOOD RIVER      IL   62095‐1337
MICHAEL HANEL        3294 FREMBES RD                                                                            WATERFORD       MI   48329‐4017
MICHAEL HANEY        481 HIGHWAY 844                                                                            WEST LIBERTY    KY   41472‐8059
MICHAEL HANGEN       107 SIERRA LN                                                                              ARCANUM         OH   45304‐1364
MICHAEL HANKERD      PO BOX 245                                                                                 PLEASANT LAKE   MI   49272‐0245
MICHAEL HANKINS      4362 EAST M72 HIGHWAY                                                                      GRAYLING        MI   49738
MICHAEL HANKINSON    1651 JACKSON ST                                                                            HUDSONVILLE     MI   49426‐9428
MICHAEL HANKLEY      2323 MAIN ST                                                                               ELWOOD          IN   46036‐2163
MICHAEL HANLEY       750 N HACKER RD                                                                            HOWELL          MI   48843‐9028
MICHAEL HANLEY       203 S BATES ST                                                                             SAGINAW         MI   48602‐2527
MICHAEL HANLEY       1719 ROYAL OAKS DR                                                                         JANESVILLE      WI   53548‐0169
MICHAEL HANLEY III   2414 VALLEY RD                                                                             MANSFIELD       OH   44903‐8520
MICHAEL HANLON       9112 N KLUG RD                                                                             MILTON          WI   53563‐9319
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Name                 Address1                      Address2            Address3         Address4         City            State Zip
MICHAEL HANNEMAN     12606 E 195TH ST                                                                    RAYMORE          MO 64083‐8428
MICHAEL HANNERS      922 ROCK SPRING RD                                                                  HARTSELLE        AL 35640‐6632
MICHAEL HANRAHAN     1212 CRESTWOOD AVE                                                                  YPSILANTI        MI 48198‐5919
MICHAEL HANSBARGER   11057 W VERMONTVILLE HWY                                                            VERMONTVILLE     MI 49096‐9777
MICHAEL HANSEN       25505 CUBBERNESS ST                                                                 ST CLAIR SHRS    MI 48081‐2119
MICHAEL HANSEN       2213 GARDEN DR                                                                      JANESVILLE       WI 53546‐5633
MICHAEL HANSON       5613 N MEADOWLARK LN                                                                MIDDLETOWN       IN 47356‐9701
MICHAEL HANSON       313 N ELMS RD                                                                       FLUSHING         MI 48433‐1830
MICHAEL HANSON       7897 STERNS RD                                                                      OTTAWA LAKE      MI 49267‐9703
MICHAEL HANUS        7741 E GARFIELD RD                                                                  ASHLEY           MI 48806‐9323
MICHAEL HARASTI      8323 W FRONT ST                                                                     HANOVER          WI 53542
MICHAEL HARBAUGH     7718 PARKCREST CIR                                                                  CLARKSTON        MI 48348‐2967
MICHAEL HARBIN       9920 SILVERWOOD RD                                                                  SILVERWOOD       MI 48760‐9502
MICHAEL HARDESTY     4240 HAYNES RD                                                                      STOCKBRIDGE      MI 49285‐9435
MICHAEL HARDGES      P.O. BOX 254                                                                        OKOLONA          MS 38860
MICHAEL HARDGES      P.O BOX 254                                                                         OKOLONA          MS 38860
MICHAEL HARDGES      P.O.BOX 254                                                                         OKOLONA          MS 38860
MICHAEL HARDGES      PO.BOX 254                                                                          OKOLONA          MS 38860
MICHAEL HARDGES      PO BOX 254                                                                          OKOLONA          MS 38860
MICHAEL HARDIN       30 HEMLOCK DR                                                                       SPRINGBORO       OH 45066‐1118
MICHAEL HARDIN       8600 LAWRENCE RD                                                                    NASHVILLE        MI 49073‐9703
MICHAEL HARDING      3084 REEDER RD                                                                      CLARKSTON        MI 48346‐4136
MICHAEL HARDWICK     N2408 COUNTY ROAD W                                                                 NEW LONDON       WI 56861‐8768
MICHAEL HARDY        1216 PRAIRIE DEPOT                                                                  INDIANAPOLIS     IN 46241‐2965
MICHAEL HARDY        11700 SHELL BARK LN                                                                 GRAND BLANC      MI 48439‐1391
MICHAEL HARE         9409 S HARVEY AVE                                                                   OKLAHOMA CITY    OK 73139‐8711
MICHAEL HARENCHAR    PO BOX 477                                                                          CLIO             MI 48420‐0477
MICHAEL HARGRAVES    3742 SENOUR RD                                                                      WANAMAKER        IN 46239‐9103
MICHAEL HARKER       RR 1 BOX 172                                                                        ERICK            OK 73645‐9759
MICHAEL HARLACH      5976 REDWOOD LN                                                                     NEWFANE          NY 14108‐9538
MICHAEL HARLEY       8805 E SMITHFIELD PIKE                                                              SELMA            IN 47383‐9310
MICHAEL HARMICAR     6573 S TIMBERIDGE DR                                                                AUSTINTOWN       OH 44515‐5547
MICHAEL HARMON       4107 JONES RD                                                                       NORTH BRANCH     MI 48461‐8914
MICHAEL HARMON       25000 SUPERIOR RD                                                                   TAYLOR           MI 48180‐4517
MICHAEL HARMON       5367 W WILLOUGHBY RD                                                                LANSING          MI 48911‐6636
MICHAEL HARMON       109 HYDE PARK                                                                       LOCKPORT         NY 14094‐4750
MICHAEL HARNICHAR    335 RAVENNA RD                                                                      NEWTON FALLS     OH 44444‐1514
MICHAEL HARNISCH     45735 JUDD RD                                                                       BELLEVILLE       MI 48111‐8913
MICHAEL HARP         3509 BEECHWOOD LN                                                                   ANDERSON         IN 46011‐3807
MICHAEL HARPER       11200 ALPINE DR                                                                     LAKE             MI 48632‐9723
MICHAEL HARPER       12700 TRINKLE RD                                                                    CHELSEA          MI 48118‐9544
MICHAEL HARPER       45671 GRAYSTONE LN                                                                  CANTON           MI 48187‐6656
MICHAEL HARPER       PO BOX 37764                                                                        OAK PARK         MI 48237‐0764
MICHAEL HARPER JR.   3940 SNOWBERRY RD                                                                   BRIDGEPORT       MI 48722‐9539
MICHAEL HARPSTER     3829 DEER SPRINGS DR                                                                ROCHESTER        MI 48306‐4732
MICHAEL HARRELL      4342 SUNNYMEAD AVE                                                                  BURTON           MI 48519‐1244
MICHAEL HARRINGTON   6536 104TH ST                                                                       HOWARD CITY      MI 49329‐9631
MICHAEL HARRINGTON   P.0. BOX 588                                                                        GRAND BLANC      MI 48480
MICHAEL HARRIS       27 DAVID RD NW                                                                      CARTERSVILLE     GA 30121‐4944
MICHAEL HARRIS       5950 FRY ROAD                                                                       BROOK PARK       OH 44142‐2748
MICHAEL HARRIS       6502 KAREN DR                                                                       FLINT            MI 48504‐1680
MICHAEL HARRIS       2144 CREEKVIEW TRL                                                                  DECATUR          GA 30035‐3639
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Name                           Address1                         Address2                     Address3            Address4         City              State Zip
MICHAEL HARRIS                 PO BOX 26176                                                                                       DAYTON             OH 45426‐0176
MICHAEL HARRIS                 449 SELKIRK DR                                                                                     MOUNT MORRIS       MI 48458‐8950
MICHAEL HARRIS                 4729 MERRY LN                                                                                      TOLEDO             OH 43615‐6014
MICHAEL HARRIS                 4797 S NEW COLUMBUS RD                                                                             ANDERSON           IN 46013‐3968
MICHAEL HARRIS                 2907 LEGACY DR SW                                                                                  DECATUR            AL 35603‐4489
MICHAEL HARRIS                 3702 SENECA ST                                                                                     FLINT              MI 48504‐2154
MICHAEL HARRIS                 25678 ISLAND LAKE DR                                                                               NOVI               MI 48374‐2175
MICHAEL HARRIS                 3518 CARPENTER AVE                                                                                 HURRICANE          WV 25526‐1361
MICHAEL HARRIS                 857 PINE RIDGE CT                                                                                  STONE MTN          GA 30087‐4634
MICHAEL HARRIS                 6 PARKDALE LN                                                                                      SAINT PETERS       MO 63376‐2004
MICHAEL HARRIS                 5525 W 43RD ST                                                                                     INDIANAPOLIS       IN 46254‐2396
MICHAEL HARRIS                 4163 THOM RD                                                                                       COLUMBIAVILLE      MI 48421‐9314
MICHAEL HARRIS                 BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.        OH 44236
MICHAEL HARRIS
MICHAEL HARRIS II              795 BEAR MOUNTAIN DR                                                                               SAINT PETERS      MO   63376‐2083
MICHAEL HARRISON               326 LOOKOUT DR                                                                                     COLUMBIA          TN   38401‐6135
MICHAEL HARRISON               23 FOREST LN                                                                                       LEXINGTON         MO   64067‐2207
MICHAEL HARRISON               8943 SALEM FARMS DR                                                                                SOUTH LYON        MI   48178‐9008
MICHAEL HARRISON               31433 MOUND RD APT G                                                                               WARREN            MI   48092‐1636
MICHAEL HARRISON               5534 N CLEAR CREEK RD                                                                              HUNTINGTON        IN   46750‐8817
MICHAEL HARRISON               BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.       OH   44236
MICHAEL HARRISON INC           23724 WARNER ST STE A                                                                              FARMINGTON        MI   48336
MICHAEL HARROD                 2069 GARNER RD                                                                                     MT PLEASANT       TN   38474‐2818
MICHAEL HARRY POWELL           BARON & BUDD PC                  THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                    DALLAS            TX   75219‐4281
MICHAEL HARSHEY                1822 S MICHIGAN RD                                                                                 EATON RAPIDS      MI   48827‐9265
MICHAEL HART                   32155 COUNTY ROAD 687                                                                              BANGOR            MI   49013‐9405
MICHAEL HART                   4841 APACHE TRL                                                                                    COLUMBIAVILLE     MI   48421‐8946
MICHAEL HART                   8869 S OAK PARK DR APT 6                                                                           OAK CREEK         WI   53154
MICHAEL HART                   1516 IRON LIEGE RD                                                                                 INDIANAPOLIS      IN   46217‐4457
MICHAEL HART                   21920 SUNFLOWER RD                                                                                 NOVI              MI   48375‐5354
MICHAEL HART                   8075 HAVILAND BEACH DR                                                                             LINDEN            MI   48451‐8749
MICHAEL HARTE                  5261 DORT RD                                                                                       ROSCOMMON         MI   48653‐9402
MICHAEL HARTER                 236 NW 1401ST RD                                                                                   HOLDEN            MO   64040‐9457
MICHAEL HARTING                14851 PATTERSON DR                                                                                 SHELBY TWP        MI   48315‐4938
MICHAEL HARTLEY                3049 E 1100 N                                                                                      ALEXANDRIA        IN   46001‐9045
MICHAEL HARTLEY                72 LAUREL RD                                                                                       CHARLEROI         PA   15022‐2549
MICHAEL HARTLEY                325 WEST ANSON SMITH ROAD                                                                          KINGMAN           AZ   86409‐3504
MICHAEL HARTLEY                458 POTOMAC AVE                                                                                    BUFFALO           NY   14213‐1264
MICHAEL HARTMAN JR             7949 CHOCTAW LN                                                                                    SHREVEPORT        LA   71107‐9436
MICHAEL HARTSUFF               16400 UPTON RD LOT 147                                                                             EAST LANSING      MI   48823‐9306
MICHAEL HARTY                  1732 DREXEL BLVD                                                                                   SOUTH MILWAUKEE   WI   53172‐2938
MICHAEL HARTZELL SCHOLARSHIP   C/O WILLIAM A LESKOVEC           4271 PATRICIA AVE                                                 YOUNGSTOWN        OH   44511‐1046
MICHAEL HARTZLER               4312 HAMPTON RIDGE BLVD                                                                            HOWELL            MI   48843‐5516
MICHAEL HARVAN                 6355 GROSSE DR                                                                                     BROOK PARK        OH   44142‐3433
MICHAEL HARVEY                 3578 ABBOTT RD                                                                                     ORCHARD PARK      NY   14127‐1711
MICHAEL HARVEY                 3153 OLEARY RD                                                                                     FLINT             MI   48504‐1765
MICHAEL HARVEY                 8703 W SANILAC RD                                                                                  VASSAR            MI   48768‐9445
MICHAEL HARVEY                 1009 BIRCHWOOD DR                                                                                  FLUSHING          MI   48433‐1460
MICHAEL HARVEY                 501 E MARKLE RD                                                                                    HUNTINGTON        IN   46750‐9305
MICHAEL HARVEY                 1009 WILLOWDALE AVE                                                                                KETTERING         OH   45429‐4732
MICHAEL HARWICK                60 JUNCTION RD                                                                                     FLEMINGTON        NJ   08822‐5721
MICHAEL HARWOOD                5524 S MORRICE RD                                                                                  OWOSSO            MI   48867‐8716
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Name                 Address1                       Address2                 Address3   Address4         City            State Zip
MICHAEL HARY         1922 SW 30TH ST                                                                     CAPE CORAL       FL 33914‐4085
MICHAEL HASEL        N643 WISHING WELL LN                                                                FORT ATKINSON    WI 53538‐8763
MICHAEL HASKINS      PO BOX 635                                                                          STOCKBRIDGE      MI 49285‐0635
MICHAEL HASLINGER    7471 CHESTNUT RIDGE RD                                                              LOCKPORT         NY 14094‐3505
MICHAEL HASTE        716 MEADOW LANE                                                                     GREENFIELD       IN 46140‐1049
MICHAEL HASTINGS     2414 GALAHAD WAY                                                                    JANESVILLE       WI 53548‐1409
MICHAEL HASTON       711 APPLEBY CT                                                                      HUNTINGTON       IN 46750‐7962
MICHAEL HATFIELD     1471 VZCR 3211                                                                      WILLS POINT      TX 75169
MICHAEL HATFIELD     RR 1 BOX 441A                                                                       WEST HAMLIN      WV 25571‐9748
MICHAEL HATHAWAY     468 SB THOMAS RD                                                                    BOWLING GREEN    KY 42103‐9803
MICHAEL HAUCK        3025 EASTMORELAND DR                                                                OREGON           OH 43616‐2906
MICHAEL HAUETER      231 ASH RIDGE                                                                       MASON            MI 48854‐2511
MICHAEL HAUGAN       1702 SUMMIT AVE                                                                     BELOIT           WI 53511‐3749
MICHAEL HAUGEN       7616 SUGAR MAPLE CIR                                                                LANSING          MI 48917‐8823
MICHAEL HAUK         849 CHERRY BLOSSOM DR                                                               DAYTON           OH 45449‐1550
MICHAEL HAUKE SR     3405 BARDSHAR RD                                                                    SANDUSKY         OH 44870‐9681
MICHAEL HAUSER       1284 SOUTH THOMPSONVILLE HWY                                                        THOMPSONVILLE    MI 49683‐8704
MICHAEL HAVER        49 TURRILL RD                                                                       LAPEER           MI 48446‐3708
MICHAEL HAWK         15011 OAKRIDGE RD                                                                   CARMEL           IN 46032‐5068
MICHAEL HAWKINS      1744 BUCK DANIELS RD                                                                CULLEOKA         TN 38451‐2703
MICHAEL HAWKINS      3405 BRIER PATCH TRL                                                                OXFORD           MI 48371‐5653
MICHAEL HAWKINS      4501 RED ARROW RD                                                                   FLINT            MI 48507‐5409
MICHAEL HAWKINS
MICHAEL HAWTHORNE    16100 ROSEMONT AVE                                                                  DETROIT         MI   48219‐4153
MICHAEL HAY          1713 W STROOP RD                                                                    KETTERING       OH   45439‐2509
MICHAEL HAYDA        364 WESTCHESTER DR SE                                                               WARREN          OH   44484‐2173
MICHAEL HAYDEN       166 S MAPLELEAF RD                                                                  LAPEER          MI   48446‐3512
MICHAEL HAYDEN       1351 N PACKARD AVE                                                                  BURTON          MI   48509‐1642
MICHAEL HAYDEN       16800 N COUNTY ROAD 300 W                                                           MUNCIE          IN   47303‐9714
MICHAEL HAYDEN JR    10063 HUTCHINSON DR                                                                 DAVISBURG       MI   48350‐1185
MICHAEL HAYES        G3278 AUGUSTA ST                                                                    FLINT           MI   48532‐5112
MICHAEL HAYES        6149 COVENTRY DR                                                                    SWARTZ CREEK    MI   48473‐8851
MICHAEL HAYES        14455 RIPLEY RD                                                                     LINDEN          MI   48451‐9044
MICHAEL HAYES        9931 WALNUT DR APT 103                                                              KANSAS CITY     MO   64114‐4321
MICHAEL HAYES        6109 RHONE DR                                                                       CHARLOTTE       NC   28226‐8904
MICHAEL HAYES        520 6 MILE RD                                                                       WHITMORE LAKE   MI   48189‐9235
MICHAEL HAYES        2702 MALLERY ST                                                                     FLINT           MI   48504‐7367
MICHAEL HAYGOOD      APT 208                        4843 WESTCHESTER DRIVE                               YOUNGSTOWN      OH   44515‐2559
MICHAEL HAYGOOD      PO BOX 36729                                                                        GROSSE POINTE   MI   48236‐0729
MICHAEL HAYNES       7726 QUAIL RUN WEST                                                                 KENTWOOD        MI   49508
MICHAEL HAYNES SR    3330 STADIUM DR                                                                     KANSAS CITY     MO   64128‐2365
MICHAEL HAYNIE       294 E RIDGE DR                                                                      BROOKLYN        MI   49230‐9048
MICHAEL HAYS         5986 ANGLERS DR                                                                     ORTONVILLE      MI   48462‐9507
MICHAEL HAYS         5164 JIMTOWN RD                                                                     E PALESTINE     OH   44413
MICHAEL HAZELRIGG    2874 HIGHWAY 160 S                                                                  HINDMAN         KY   41822‐9054
MICHAEL HAZZARD
MICHAEL HEACOX       410 S 5TH ST                                                                        EVANSVILLE      WI 53536‐1218
MICHAEL HEAD
MICHAEL HEATLEY      600 WADES BRANCH RD                                                                 CENTERVILLE     TN   37033‐3864
MICHAEL HEATON       80 SUNSET DR LOT 17                                                                 BLUFFTON        IN   46714‐1230
MICHAEL HEBEKEUSER   8086 FRANCES RD                                                                     OTISVILLE       MI   48463‐9422
MICHAEL HEBERT       117 LAKEVIEW DR                                                                     LEESBURG        FL   34788‐2764
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Name                 Address1                        Address2            Address3         Address4             City                State Zip
MICHAEL HEBERT       6517 DEER RIDGE DR                                                                        CLARKSTON            MI 48348‐2805
MICHAEL HEDDEN       7020 DEEPWATER POINT RD                                                                   WILLIAMSBURG         MI 49690‐9248
MICHAEL HEDIN        2392 GUNN RD                                                                              HOLT                 MI 48842‐1042
MICHAEL HEDRICK      230 N 950 E                                                                               GREENTOWN            IN 46936‐9527
MICHAEL HEFLIN       4090 W STATE ROAD 32                                                                      ANDERSON             IN 46011‐1534
MICHAEL HEGEDUS      3428 LUCERNE AVE                                                                          PARMA                OH 44134‐2634
MICHAEL HEGENER      1250 HEREFORD CT                                                                          CANTON               MI 48187‐4676
MICHAEL HEGER        2855 S TOWERLINE RD                                                                       WHITTEMORE           MI 48770‐9441
MICHAEL HEGWOOD      82 RIVIERA TER                                                                            WATERFORD            MI 48328‐3463
MICHAEL HEHIR        1306 BRIDGE WATER CIR                                                                     HOSCHTON             GA 30548‐3728
MICHAEL HEIDEN       1997 OVERLAND DR                                                                          CHAPEL HILL          TN 37034‐4026
MICHAEL HEILSHORN    1451 RIVERBEND DR                                                                         DEFIANCE             OH 43512‐6978
MICHAEL HEIMAN       2756 FIVE POINTS HARTFORD RD                                                              FOWLER               OH 44418‐9755
MICHAEL HEIN         13852 DEVONSHIRE LN                                                                       GRAND HAVEN          MI 49417‐8523
MICHAEL HEIN         SENNEGARTEN 26                                                       BAD HARZBURG 38667
                                                                                          GERMANY
MICHAEL HEINITZ      18149 GRATIOT RD                                                                          HEMLOCK             MI   48626‐8609
MICHAEL HEISCHMAN    1330 BRUSHY FORK RD                                                                       SUGAR GROVE         OH   43155‐9789
MICHAEL HEITJAN      20309 MELVIN ST                                                                           LIVONIA             MI   48152‐1830
MICHAEL HEITMANN     53142 OAK GRV                                                                             SHELBY TOWNSHIP     MI   48315‐2005
MICHAEL HEJKA        8222 WORMER ST                                                                            DEARBORN HTS        MI   48127‐1355
MICHAEL HEKMAN       5610 WEST R AVE R 2                                                                       SCHOOLCRAFT         MI   49087
MICHAEL HELLER       783 EDEN HILL RD                                                                          BEULAH              MI   49617‐9705
MICHAEL HELLOW       47901 JAMESTOWN DR                                                                        MACOMB              MI   48044‐5927
MICHAEL HELM         11060 OAK POINTE DR                                                                       WHITEHOUSE          OH   43571‐9102
MICHAEL HELNER       15871 WINCHESTER DR                                                                       NORTHVILLE          MI   48168‐2339
MICHAEL HEMGESBERG   15015 LINCOLN RD                                                                          CHESANING           MI   48616‐9728
MICHAEL HEMINGWAY    10 OAK ST                                                                                 SAINT ALBANS        VT   05478‐2137
MICHAEL HEMINGWAY    10 OAK STREET                                                                             SAINT ALBNAS        VT   05478
MICHAEL HEMMERT      352 WILSHIRE DR                                                                           BLOOMFIELD HILLS    MI   48302‐1064
MICHAEL HEMSWORTH    PO BOX 9022                     GM KOREA                                                  WARREN              MI   48090‐9022
MICHAEL HENDERSON    PO BOX 155                                                                                LINDEN              MI   48451‐0155
MICHAEL HENDERSON    2992 HIDDEN TIMBER DR                                                                     LAKE ORION          MI   48359‐1572
MICHAEL HENDERSON    8317 CANTEEN CIR                                                                          FREDERICKSBURG      VA   22407‐2117
MICHAEL HENDERSON    819 E. HENRY ST.                                                                          LINDEN              NJ   07036
MICHAEL HENGESBACH   PO BOX 121                                                                                EAGLE               MI   48822‐0121
MICHAEL HENISSE      43135 CHAUCER CT                                                                          STERLING HEIGHTS    MI   48313‐1830
MICHAEL HENK         910 W SILVER LAKE RD                                                                      FENTON              MI   48430‐2627
MICHAEL HENNAGIR     G5225 LAPEER RD                                                                           BURTON              MI   48509
MICHAEL HENNESSY     175 LORELEE DR                                                                            TONAWANDA           NY   14150‐4326
MICHAEL HENNESSY     1061 W WHITTLERS LN                                                                       ONTARIO             CA   91762‐6705
MICHAEL HENNING      3360 N AIRPORT RD                                                                         SAINT JOHNS         MI   48879‐9779
MICHAEL HENNINGS     1924 DELT                                                                                 ST LOUIS            MO   63112
MICHAEL HENRY        PO BOX 71                                                                                 EMPIRE              MI   49630‐0071
MICHAEL HENRY        1907 E PERSHING BLVD                                                                      CHEYENNE            WY   82001‐4106
MICHAEL HENRY        835 E 2ND ST                                                                              DEFIANCE            OH   43512‐2325
MICHAEL HENRY        3550 E ENID AVE                                                                           MESA                AZ   85204‐4821
MICHAEL HENRY        1888 JASON CT                                                                             COMMERCE TOWNSHIP   MI   48382‐1259
MICHAEL HENRY        11905 FIR DR                                                                              RENO                NV   89506‐8304
MICHAEL HENRY JR.    10635 S BEGOLE RD                                                                         PERRINTON           MI   48871‐9767
MICHAEL HENRYS       231 W ROLFE                                                                               PERRY               MI   48872‐9508
MICHAEL HENSLEY      1135 LEWIS RIDGE CIR                                                                      LAWRENCEVILLE       GA   30045‐7800
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Name                 Address1                      Address2             Address3        Address4            City              State Zip
MICHAEL HENSLEY      2800 WEST MEMORIAL DRIVE      # 57 FREEDOM ACRES                                       MUNCIE             IN 47302
MICHAEL HENSLEY      4288 TROUSDALE LN                                                                      COLUMBIA           TN 38401‐8403
MICHAEL HENSLEY      1701 ARIZONA AVE                                                                       FLINT              MI 48506‐4628
MICHAEL HENSLEY      511 HEMINGWAY DR                                                                       COLUMBIA           TN 38401‐5309
MICHAEL HENSLEY      9382 E ARBOR DR                                                                        GREENWOOD VLG      CO 80111‐5263
MICHAEL HENSON       G3446 CLEMENT ST                                                                       FLINT              MI 48504‐2451
MICHAEL HENTGES      1315 NE 103RD ST                                                                       KANSAS CITY        MO 64155‐1996
MICHAEL HERB         1356 TOURIST PARK RD                                                                   HALIFAX            PA 17032
MICHAEL HERBERT      48917 MEADOWBROOK CT                                                                   SHELBY TOWNSHIP    MI 48317‐2533
MICHAEL HERBERT      PO BOX 749                                                                             WAYNE              MI 48184‐0749
MICHAEL HERBERT      9825 BLUE MOUND DR                                                                     FORT WAYNE         IN 46804‐5986
MICHAEL HERBISON     7073 WIDE VALLEY DR                                                                    BRIGHTON           MI 48116‐5108
MICHAEL HEREDIA      5070 AKRON ST                                                                          SAGINAW            MI 48601‐6801
MICHAEL HEREDIA      7495 TROUTWOOD DR APT 2A                                                               GRAND BLANC        MI 48439‐7501
MICHAEL HEREVIA      5910 NW 90TH TER                                                                       KANSAS CITY        MO 54154
MICHAEL HERING       11133 OLD BRIDGE RD                                                                    GRAND BLANC        MI 48439‐1055
MICHAEL HERINGTON    12148 MORRISH RD                                                                       CLIO               MI 48420‐9423
MICHAEL HERMAN       4323 CAMERON RD                                                                        WILLIAMSVILLE      NY 14221‐7638
MICHAEL HERMAN       3131 WESTWOOD PKWY                                                                     FLINT              MI 48503‐4693
MICHAEL HERMAN       PO BOX 280                                                                             UNIONVILLE         MI 48767‐0280
MICHAEL HERMAN       46598 SERENITY DR                                                                      MACOMB             MI 48044‐3759
MICHAEL HERMAN       2773 TRUFFLE DR                                                                        TROY               MI 48083‐6400
MICHAEL HERMAN       549 OAK HILL DR                                                                        SEBEWAING          MI 48759‐9557
MICHAEL HERMAN       619 RIVERVIEW DR                                                                       ELLENTON           FL 34222‐3254
MICHAEL HERMES       18661 HERMES CT                                                                        NORMAN             OK 73026‐9530
MICHAEL HERMSEN      514 PENNY LN                                                                           COCKEYSVILLE       MD 21030‐2756
MICHAEL HERNANDEZ    9286 EAGLE HILL DR                                                                     CLARKSTON          MI 48346‐1824
MICHAEL HERNANDEZ    2928 CROWN PT                                                                          CORTLAND           OH 44410‐9210
MICHAEL HERNANDEZ    1058 CHAMPAIGN RD                                                                      LINCOLN PARK       MI 48146
MICHAEL HERRICK      6694 E NYE HWY                                                                         EATON RAPIDS       MI 48827‐9556
MICHAEL HERRING      1316 W 55TH ST                                                                         MARION             IN 46953‐5752
MICHAEL HERRING      8109 JOHN ROBERT DR                                                                    OKLAHOMA CITY      OK 73135‐6044
MICHAEL HERRMANN     647 S BYWOOD AVE                                                                       CLAWSON            MI 48017‐1873
MICHAEL HERRON       4033 CANEY CREEK LN                                                                    CHAPEL HILL        TN 37034‐2076
MICHAEL HESCOTT      530 E OLIVER ST                                                                        OWOSSO             MI 48867‐2440
MICHAEL HESLEITNER
MICHAEL HESS         4 BAYSIDE CT                                                                           LAKE ST LOUIS     MO   63367‐1339
MICHAEL HESSION      1502 N WORTH AVE                                                                       SPEEDWAY          IN   46224‐6409
MICHAEL HESTER       6770 BELMONT CT                                                                        CLARKSTON         MI   48348‐2872
MICHAEL HETTLER      1495 S WALDRON RD                                                                      CRYSTAL           MI   48818‐9748
MICHAEL HEUER        211 W CASS ST                                                                          SAINT JOHNS       MI   48879‐1806
MICHAEL HIANS        285 ROME DR                                                                            YOUNGSTOWN        OH   44515‐4160
MICHAEL HIBBARD      800 N NORMAN AVE                                                                       MOORE             OK   73160‐1931
MICHAEL HICKEY       166 FOREST LAWN DR                                                                     CADILLAC          MI   49601‐9734
MICHAEL HICKMAN      545 SOUTHFORK DR                                                                       WAUKEE            IA   50263‐9559
MICHAEL HICKMAN      4366 MARGO STREET                                                                      AUSTELL           GA   30106‐1056
MICHAEL HICKS        621 CATHERINE ST                                                                       SAGINAW           MI   48602‐4747
MICHAEL HICKS        7 LOREWOOD AVE                                                                         WILMINGTON        DE   19804‐1546
MICHAEL HICKS        4242 TROUSDALE LN                                                                      COLUMBIA          TN   38401‐8403
MICHAEL HICKS SR     1315 CHIPPENDALE CIR                                                                   COLUMBIA          TN   38401‐7206
MICHAEL HIEBER       UNTERM BERGSCHLOSSLE 32                                            73529 SCHWABISCH
                                                                                        GMUND GERMANY
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Name                  Address1                      Address2            Address3         Address4         City            State Zip
MICHAEL HIGGINS       2082 SWAN LN                                                                        PALM HARBOR      FL 34683‐6272
MICHAEL HIGGINS       11614 KILLARNEY HWY                                                                 BROOKLYN         MI 49230‐9247
MICHAEL HILAS         3259 OVERLOOK DR NE                                                                 WARREN           OH 44483‐5621
MICHAEL HILDERBRAND   2357 W MIDLAND RD                                                                   MIDLAND          MI 48642‐9210
MICHAEL HILEMAN       7845 W EATON HWY                                                                    GRAND LEDGE      MI 48837‐9311
MICHAEL HILFINGER     216 SELKIRK ST                                                                      CANTON           MI 48187‐3928
MICHAEL HILL          33335 STANTON RD                                                                    OSAWATOMIE       KS 66064‐7104
MICHAEL HILL          833 W THOMAS L PKWY                                                                 LANSING          MI 48917‐2121
MICHAEL HILL          5 N JOYCE ELLEN WAY                                                                 SAINT PETERS     MO 63376‐1203
MICHAEL HILL          109 DIHEDRAL DR                                                                     BALTIMORE        MD 21220‐4634
MICHAEL HILL          9157 S YOUNG RD                                                                     FALMOUTH         MI 49632‐9718
MICHAEL HILL          418 CAMBRIDGE ST                                                                    BAY CITY         MI 48708‐6919
MICHAEL HILL          7850 CLOVERHILL DR                                                                  LANSING          MI 48917‐9641
MICHAEL HILL          16598 BENTLER ST                                                                    DETROIT          MI 48219‐3864
MICHAEL HILL          5627 MIRAMAR DR                                                                     FRISCO           TX 75034‐5949
MICHAEL HILL          2102 GILES DR NE                                                                    HUNTSVILLE       AL 35811‐2315
MICHAEL HILL          4011 S NEVADA TRL                                                                   JANESVILLE       WI 53546‐8743
MICHAEL HILL          216 QUILLAN DR                                                                      ATTALLA          AL 35954‐7302
MICHAEL HILL          3925 BRADWOOD DR                                                                    DAYTON           OH 45405‐2002
MICHAEL HILLARD       10200 COOPER RD                                                                     PLEASANT LAKE    MI 49272‐9642
MICHAEL HILLARD       7507 EPAULET LN                                                                     MAUMEE           OH 43537‐8943
MICHAEL HILLEN        37815 WOODRIDGE DR APT 103                                                          WESTLAND         MI 48185‐5777
MICHAEL HILLIARD      384 W 2ND ST                                                                        SALEM            OH 44460‐2706
MICHAEL HILLIARD      2645 BROWN ST                                                                       FLINT            MI 48503‐3336
MICHAEL HILOBUK       12700 RABY RD                                                                       GRASS LAKE       MI 49240‐9727
MICHAEL HILT          627 N OAKHILL AVE                                                                   JANESVILLE       WI 53548‐2714
MICHAEL HIMBURG       6267 HALLENBECK HWY                                                                 MANITOU BEACH    MI 49253‐9400
MICHAEL HIMES         5500 N COUNTY ROAD 330 E                                                            MUNCIE           IN 47303‐9146
MICHAEL HINAUS        832 SUFFOLK DR                                                                      JANESVILLE       WI 53546‐1822
MICHAEL HINCHEY       20803 NE 178TH ST                                                                   HOLT             MO 64048‐8713
MICHAEL HINDS         932 GLENEAGLES RD                                                                   BEAUMONT         CA 92223‐8524
MICHAEL HINES         2021 ALTON DR                                                                       KOKOMO           IN 46901‐4129
MICHAEL HINES         9410 OAK GROVE RD                                                                   HOWELL           MI 48855‐9520
MICHAEL HINES II      17654 LINCOLN AVE                                                                   EASTPOINTE       MI 48021‐3061
MICHAEL HINKLE        105 S 6TH ST                                                                        CONTINENTAL      OH 45831‐9167
MICHAEL HINKLE        2638 CORAL RIDGE CT                                                                 W CARROLLTON     OH 45449‐2834
MICHAEL HINTERMAN     12123 PINE ROW LN                                                                   GRAND BLANC      MI 48439‐1620
MICHAEL HINTON        514 PINERIDGE CT                                                                    ALGER            MI 48610‐9445
MICHAEL HINTON        5228 COUNTRY WOOD LN                                                                GRAND BLANC      MI 48439‐9014
MICHAEL HINTZ         136 E VIENNA ST                                                                     CLIO             MI 48420‐1421
MICHAEL HINZ          7 KINGS COURT RD                                                                    GOREVILLE         IL 62939‐3280
MICHAEL HIPES         2600 W SNOVER RD                                                                    MAYVILLE         MI 48744‐9425
MICHAEL HIPKE         4111 VENOY RD                                                                       WAYNE            MI 48184‐1838
MICHAEL HIPP          205 BOND ST                   PO BOX 337                                            PEMBERVILLE      OH 43450‐7009
MICHAEL HIRSCH        1986 N HIGHGATE CT                                                                  BEAVERCREEK      OH 45432‐1879
MICHAEL HITCHCOCK     223 N HIGH ST                                                                       YELLOW SPGS      OH 45387‐2007
MICHAEL HITCHENS      2979 E 500 N                                                                        ANDERSON         IN 46012‐9237
MICHAEL HITE          155 LAKE SHORE DR                                                                   PASADENA         MD 21122‐5203
MICHAEL HITE          3225 LONGRIDGE WAY                                                                  GROVE CITY       OH 43123‐9699
MICHAEL HITE          3702 ALBRIGHT RD                                                                    KOKOMO           IN 46902‐4404
MICHAEL HITE          363 W G TALLEY RD                                                                   ALVATON          KY 42122‐9663
MICHAEL HITT          5302 W DODGE RD                                                                     CLIO             MI 48420‐8535
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Name                               Address1                        Address2                Address3     Address4                City              State Zip
MICHAEL HITTE                      16391 WEATHERFIELD DR                                                                        NORTHVILLE         MI 48168‐2323
MICHAEL HITTEL                     5213 CORDES RD                                                                               INDIANAPOLIS       IN 46227‐1914
MICHAEL HITTEL                     57490 APPLE LN                                                                               NEW HUDSON         MI 48165‐9504
MICHAEL HITZELBERGER               4199 MAPLEWOOD MEADOWS AVE      AVENUE                                                       GRAND BLANC        MI 48439‐3501
MICHAEL HNAT                       8231 CLARENCE LN N                                                                           EAST AMHERST       NY 14051‐1997
MICHAEL HNAT                       PO BOX 22                                                                                    MASURY             OH 44438‐0022
MICHAEL HOAG                       7149 MILLER LN                                                                               GRAND BLANC        MI 48439‐7430
MICHAEL HOBBS                      150 MATHY HOBBS RD                                                                           BUCHANAN           GA 30113‐4646
MICHAEL HOBSON                     6405 SMOKE RISE TRL                                                                          GRAND BLANC        MI 48439‐4859
MICHAEL HOCHREITER                 6962 ACADEMY LN                                                                              LOCKPORT           NY 14094‐5359
MICHAEL HOCHSTEDLER                905 NW FALCON DR                                                                             LEES SUMMIT        MO 64081‐4003
MICHAEL HOCKENBERGER               3033 135TH ST                                                                                TOLEDO             OH 43611‐2333
MICHAEL HOCKENBERRY                7641 E VON DETTE CIR                                                                         CENTERVILLE        OH 45459‐5037
MICHAEL HOCKENBERRY                1973 GLENFIELD RD                                                                            ORTONVILLE         MI 48462‐8443
MICHAEL HOCKETT                    2827 ST. RT. 22/3, W.                                                                        WILMINGTON         OH 45177
MICHAEL HOCKMAN                    3318 LAKEWOOD SHORES DRIVE                                                                   HOWELL             MI 48843‐7858
MICHAEL HODGES                     119 CLEMENT RD                                                                               LANSING            MI 48917‐3602
MICHAEL HODGES                     221 PAGE ST                                                                                  FLINT              MI 48505‐4639
MICHAEL HODGES                     9689 ARROEHEAD SHORES                                                                        EDGERTON           WI 53534
MICHAEL HODGES                     13400 BUECHE RD                                                                              MONTROSE           MI 48457‐9360
MICHAEL HODGKISS                   980 E MAIN ST                                                                                IONIA              MI 48846‐9709
MICHAEL HODSON                     3508 WHITE RIVER CT                                                                          ANDERSON           IN 46012‐4650
MICHAEL HOFFMAN                    2434 CALLY ST                                                                                VENICE             FL 34293‐7911
MICHAEL HOFFMAN                    7527 S IVA RD                                                                                SAINT CHARLES      MI 48655‐9756
MICHAEL HOFFMAN                    3475 YORK RD                                                                                 ROCHESTER HILLS    MI 48309‐3950
MICHAEL HOFFMAN                    51652 BLACK HILLS LN                                                                         MACOMB             MI 48042‐4250
MICHAEL HOFFMANN                   KIRCHSTR. 12                                                         58579 SCHALKSMUEHLE
                                                                                                        GERMANY
MICHAEL HOFFMEYER                   1717 TUSCANY LN                                                                             HOLT              MI 48842‐2096
MICHAEL HOFMANN                     WANDERSMANNSTRA▀E 3A
MICHAEL HOFMANN
MICHAEL HOGAN                       137 ROBERTS DR                                                                              HEATH             OH   43056‐9653
MICHAEL HOGAN                       636 BONNIE BRAE AVE NE                                                                      WARREN            OH   44483‐5237
MICHAEL HOGAN                       8641 W BANCROFT ST                                                                          TOLEDO            OH   43617‐1907
MICHAEL HOGAN                       9089 W BASSETT CT                                                                           LIVONIA           MI   48150‐3391
MICHAEL HOGUE SR                    318 OAK KNOLL AVE                                                                           NEWTON FALLS      OH   44444‐1735
MICHAEL HOHENSTEIN                  2316 W HAPPY HOLLOW RD                                                                      JANESVILLE        WI   53546‐9042
MICHAEL HOHL CARSON VALLEY CHEVROLE 1601 US HIGHWAY 395 N                                                                       MINDEN            NV   89423‐4102

MICHAEL HOHL CARSON VALLEY         THEODORE HOHL                   1601 US HIGHWAY 395 N                                        MINDEN            NV 89423‐4102
CHEVROLET
MICHAEL HOHL CARSON VALLEY         1601 US HIGHWAY 395 N                                                                        MINDEN            NV 89423‐4102
CHEVROLET
MICHAEL HOHL CARSON VALLEY         3700 S CARSON ST                                                                             CARSON CITY       NV 89701‐4519
CHEVROLET
MICHAEL HOHL CHEVROLET, INC.       1062 FAIRVIEW DRIVE                                                                          CARSON CITY       NV   89701‐5403
MICHAEL HOHL MOTOR COMPANY         3700 S. CANNON STREET                                                                        CARSON CITY       NV   89701
MICHAEL HOHL MOTOR COMPANY         3700 S CARSON ST                                                                             CARSON CITY       NV   89701‐4519
MICHAEL HOHL MOTOR COMPANY         THEODORE HOHL                   3700 S CARSON ST                                             CARSON CITY       NV   89701‐4519
MICHAEL HOHLSCHEN                  WEIDEWEG 1                                                           D‐34246 VELLMAR
                                                                                                        GERMANY
MICHAEL HOHMAN                     13230 FORK RD                                                                                BALDWIN           MD 21013‐9315
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Name                               Address1                             Address2                     Address3     Address4                City                 State Zip
MICHAEL HOJNACKI JR                1485 MERKLE ST                                                                                         ORTONVILLE            MI 48462‐8609
MICHAEL HOKANSON                   23696 LAZY ACRES LN                                                                                    SEARS                 MI 49679‐8192
MICHAEL HOLBACK                    216 PETERSON AVE                                                                                       MARION                OH 43302‐4541
MICHAEL HOLBERT                    4064 MOHEGAN AVE                                                                                       HUBER HEIGHTS         OH 45424‐2825
MICHAEL HOLBROOK                   1217 BRIAR PATCH LN                                                                                    BURTON                MI 48529‐2222
MICHAEL HOLBROOK                   314 SHEA ST                                                                                            GARLAND               TX 75040‐3759
MICHAEL HOLCOMB                    406 SMITHSTONE RD SE                                                                                   MARIETTA              GA 30067‐6740
MICHAEL HOLDEN                     100 HOLIDAY PL                                                                                         NEWARK                DE 19702‐2315
MICHAEL HOLDENRIEDER               THALFINGER STRASSE 24                                                          NEU‐ULM 89233 GERMANY
MICHAEL HOLDERMAN                  PO BOX 85                                                                                              LA FONTAINE          IN 46940‐0085
MICHAEL HOLENDA                    THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES            22ND FLOOR                           BALTIMORE            MD 21201

MICHAEL HOLIK                      998 N GRAF RD                                                                                          CARO                 MI   48723‐9682
MICHAEL HOLLAND                    5806 TROY VILLA BLVD                                                                                   HUBER HEIGHTS        OH   45424‐2650
MICHAEL HOLLAND                    30 ADAMS AVE                                                                                           PERU                 IN   46970‐1034
MICHAEL HOLLAND                    10384 S LUCE RD                                                                                        PERRINTON            MI   48871‐9751
MICHAEL HOLLAND                    5701 E GRAND RIVER AVE                                                                                 PORTLAND             MI   48875‐9644
MICHAEL HOLLEY CHEVROLET           925 BARTOW RD                                                                                          LAKELAND             FL   33801‐5827
MICHAEL HOLLEY PONTIAC BUICK GMC   255 W VAN FLEET DR                                                                                     BARTOW               FL   33830‐3839
MICHAEL HOLLIDAY                   4307 MILLER RD                                                                                         SANDUSKY             OH   44870‐8393
MICHAEL HOLLINGER
MICHAEL HOLLOWAY                   49 LEONARD HOLLOWAY RD                                                                                 LAUREL               MS   39443‐5750
MICHAEL HOLLOWELL                  2812 MOUNDS ROAD                                                                                       ANDERSON             IN   46016‐5867
MICHAEL HOLLOWELL                  9545 SYRACUSE AVE                                                                                      CLARKSTON            MI   48348‐3150
MICHAEL HOLLY                      20919 WINKEL ST                                                                                        SAINT CLAIR SHORES   MI   48081‐1132
MICHAEL HOLMBERG                   15720 W COUNTY ROAD 700 N                                                                              GASTON               IN   47342‐9362
MICHAEL HOLMES                     3009 N 9TH ST                                                                                          KANSAS CITY          KS   66101‐1113
MICHAEL HOLMES                     15 ARMS BLVD APT 10                                                                                    NILES                OH   44446‐5326
MICHAEL HOLMES                     5460 BANGOR AVE                                                                                        FLUSHING             MI   48433‐9000
MICHAEL HOLMES                     7740 SENECA TRL                                                                                        TEMPERANCE           MI   48182‐1558
MICHAEL HOLOKA                     237 HUSSA ST                                                                                           LINDEN               NJ   07036‐3021
MICHAEL HOLSAPPLE                  840 LOUIE SMITH RD                                                                                     WILLIAMS             IN   47470‐8760
MICHAEL HOLSCLAW                   326 CANEY DR                                                                                           JAMESTOWN            KY   42629‐8610
MICHAEL HOLSINGER                  7355 JEFFREY CT                                                                                        LINDEN               MI   48451‐8612
MICHAEL HOLSTEN                    913 PLANTATION BLVD                                                                                    SIKESTON             MO   63801
MICHAEL HOLT                       4381 SCOTT HOLLOW RD                                                                                   CULLEOKA             TN   38451‐3141
MICHAEL HOLT                       2534 N 110TH ST                                                                                        KANSAS CITY          KS   66109‐3683
MICHAEL HOLTHAM                    1017 EDDIE DR                                                                                          LANSING              MI   48917‐9240
MICHAEL HOLTSBERRY                 409 N SQUIRE ST                                                                                        HOLGATE              OH   43527
MICHAEL HOLTSCLAW                  302 16TH AVE                                                                                           INDIAN ROCKS BEACH   FL   33785‐2824
MICHAEL HOLUB                      5364 SCOTT ST                                                                                          NEWTON FALLS         OH   44444‐1890
MICHAEL HOLWITZ                    27 TINTON FALLS RD                                                                                     FARMINGDALE          NJ   07727‐3696
MICHAEL HOLZWORTH                  442 N MCELROY RD                                                                                       MANSFIELD            OH   44905‐2706
MICHAEL HONOSHOFSKY                BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS.          OH   44236
MICHAEL HONSOWITZ                  13450 W HOWE RD                                                                                        EAGLE                MI   48822‐9714
MICHAEL HOOD                       PO BOX 296                                                                                             RANDOLPH             OH   44265‐0296
MICHAEL HOOD                       209 N MERCER ST                                                                                        DURAND               MI   48429‐1418
MICHAEL HOOF                       7323 THOROUGHBRED DR APT 1D                                                                            FT WAYNE             IN   46804‐2349
MICHAEL HOOGERHYDE                 3332 SHAWNEE TRL                                                                                       PINCKNEY             MI   48169‐9311
MICHAEL HOOGEWIND                  2955 HOOGEWIND DR NW                                                                                   GRAND RAPIDS         MI   49544‐9732
MICHAEL HOOK                       5153 WISHING WELL DR                                                                                   GRAND BLANC          MI   48439‐4241
MICHAEL HOOKS                      944 CEDAR ST 2                                                                                         FLINT                MI   48503‐3620
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Name               Address1                          Address2                  Address3   Address4         City              State Zip
MICHAEL HOOPER     3911 GLENGATE DR                                                                        ARLINGTON          TX 76016‐4710
MICHAEL HOOPER     5135 CECELIA ANN AVE                                                                    CLARKSTON          MI 48346‐3907
MICHAEL HOOPES     6379 LONGWOOD DR                                                                        MURRELLS INLET     SC 29576‐8956
MICHAEL HOOPS      11270 SEACRIST RD                                                                       SALEM              OH 44460‐9114
MICHAEL HOOVER     1908 E CARTER ST                                                                        KOKOMO             IN 46901‐5664
MICHAEL HOOVER     5421 GARD RD                                                                            WAYNESVILLE        OH 45068‐9438
MICHAEL HOOVER     1240 LAKEMERE AVE                                                                       BOWLING GREEN      KY 42103‐6013
MICHAEL HOOVER     176 VAN BUREN CIR                                                                       DAVISON            MI 48423‐8563
MICHAEL HOPCIA     11428 HERITAGE POINT DR                                                                 HUDSON             FL 34667‐5786
MICHAEL HOPKINS    2974 E EASTRIDGE DR                                                                     MARION             IN 46953‐5616
MICHAEL HOPKINS    10788 N CLINTON TRL                                                                     SUNFIELD           MI 48890‐9700
MICHAEL HOPPE      425 WALDEN DR                                                                           OTSEGO             MI 49078‐9652
MICHAEL HORAK      2050 ESCOTT RD                                                                          OWOSSO             MI 48867‐9600
MICHAEL HOREY      126A FOXBERRY DR                                                                        GETZVILLE          NY 14068‐1013
MICHAEL HORGAN     39 EAGLE AVE                                                                            SWARTZ CREEK       MI 48473
MICHAEL HORGAN     4436 LENROSE AVE                                                                        FLINT              MI 48532‐4335
MICHAEL HORN       4175 MAPLE BLVD                                                                         WEST BLOOMFIELD    MI 48323‐1268
MICHAEL HORNADAY   1996 GERRARD AVE                                                                        SPEEDWAY           IN 46224‐5620
MICHAEL HORNE      28446 ABERDEEN ST                                                                       SOUTHFIELD         MI 48076‐2918
MICHAEL HORNE      9498 OAK RD                                                                             OTISVILLE          MI 48463‐9789
MICHAEL HORNE      THE LIPMAN LAW FIRM               5915 PONCE DE LEON BLVD   SUITE 44                    CORAL GABLES       FL 33146
MICHAEL HORNER     13095 BRIGHTON AVE                                                                      CARMEL             IN 46032‐9672
MICHAEL HORNIG     537 WARBLER ST                                                                          ROCHESTER HILLS    MI 48309‐3480
MICHAEL HORNING    9113 W 100 N                                                                            ANDERSON           IN 46011‐9144
MICHAEL HORNYAK    1159 JENKINS RUN RD                                                                     MOOREFIELD         WV 26836‐8351
MICHAEL HORST      10506 KILMANAGH RD                                                                      SEBEWAING          MI 48759‐9748
MICHAEL HORTON     13 GREENHILLS CT                                                                        GREENFIELD         IN 46140‐1118
MICHAEL HORTON     6650 BRITTON RD                                                                         PERRY              MI 48872‐8724
MICHAEL HOSEY      5524 GRAYTON ST                                                                         DETROIT            MI 48224‐2152
MICHAEL HOSKINS    2407 S STATE ST                                                                         WESTVILLE           IL 61883‐6043
MICHAEL HOSLER     2104 EASTBROOK DR                                                                       KOKOMO             IN 46902‐4513
MICHAEL HOSLER     1809 HARDWICK DR                                                                        LAPEER             MI 48446‐9790
MICHAEL HOST       304 BRONCO WAY                                                                          LANSING            MI 48917‐2728
MICHAEL HOSTE      47930 ROLAND CT                                                                         SHELBY TOWNSHIP    MI 48317‐2939
MICHAEL HOUCK      522 BRIARWOOD CT                                                                        ALDEN              NY 14004‐9405
MICHAEL HOUCK      3410 THOMAS RD                                                                          OXFORD             MI 48371‐1437
MICHAEL HOUGH      16224 FEIGHNER RD                                                                       ROANOKE            IN 46783‐9615
MICHAEL HOUGHTON   702 PANORAMA                                                                            ROCHESTER HILLS    MI 48306‐3569
MICHAEL HOURIHAN   84 GEORGE ST                                                                            HAMBURG            NY 14075‐3852
MICHAEL HOUSER     1887 CROSSWINDS CT SE             SOUTH EAST                                            KENTWOOD           MI 49508‐5328
MICHAEL HOUSTON    708 BRADFIELD DR                                                                        TROTWOOD           OH 45426‐2504
MICHAEL HOUSTON    1142 WHEATFIELD DR                                                                      LAKE ORION         MI 48362‐3494
MICHAEL HOUSTON    408 SANDPIPER LN                                                                        NORMAN             OK 73071‐6150
MICHAEL HOVIOUS    PO BOX 222                                                                              PARAGON            IN 46166‐0222
MICHAEL HOWANIEC   10 CEDAR CT                                                                             NEWARK             DE 19702‐3701
MICHAEL HOWARD     3504 APPLE GROVE DR                                                                     BEAVERCREEK        OH 45430‐1477
MICHAEL HOWARD     941 PEASLEY BLVD                                                                        HARRISON           MI 48625‐8120
MICHAEL HOWARD     1718 OHIO AVE                                                                           FLINT              MI 48506‐4339
MICHAEL HOWARD     262 QUILL AVE                                                                           THE VILLAGES       FL 32162‐5034
MICHAEL HOWARD     2332 GARDEN DR                                                                          JANESVILLE         WI 53546‐6100
MICHAEL HOWARD     4426 WINDY MEADOWS DR                                                                   HAMILTON           OH 45011‐9196
MICHAEL HOWARD     224 STANLEY DR                                                                          AUBREY             TX 76227‐6263
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Name                     Address1                       Address2            Address3         Address4         City            State Zip
MICHAEL HOWARD NICKELL   6142 CARDIFF PL.                                                                     DAYTON           OH 45424‐‐ 37
MICHAEL HOWE             565 PREAKNESS STAKES ST                                                              HENDERSON        NV 89015‐6947
MICHAEL HOWELL           58 E MITCHELL AVE                                                                    CINCINNATI       OH 45217‐1520
MICHAEL HOWELL           2904 RIVERPLACE DR APT 1087                                                          ARLINGTON        TX 76006‐2145
MICHAEL HOWELL           25741 FRITH ST                                                                       LAND O LAKES     FL 34639‐5683
MICHAEL HOWELLS          7088 NORTHVIEW DR                                                                    LOCKPORT         NY 14094‐5313
MICHAEL HOWKO JR         4246 FERDEN RD                                                                       NEW LOTHROP      MI 48460‐9608
MICHAEL HOWLAND          3300 ALTERNATE 19 N            164                                                   DUNEDIN          FL 34698
MICHAEL HOWSE            14 SILVERKNOLL DR                                                                    ROCHESTER        NY 14624‐5352
MICHAEL HOYLE            4144 E NORTH ROSE CIR                                                                LUPTON           MI 48635‐9647
MICHAEL HRABOVSKY        40727 EXECUTIVE DR                                                                   STERLING HTS     MI 48313‐4430
MICHAEL HRECZUCK         310 INMAN RD                                                                         HARRISVILLE       RI 02830‐1745
MICHAEL HREHOVCIK        10441 W WESTERN RESERVE RD                                                           CANFIELD         OH 44406‐8408
MICHAEL HRITZ            2044 COUNTRYSIDE DR                                                                  SALEM            OH 44460‐1041
MICHAEL HRITZ            6796 TANGLEWOOD DR                                                                   BOARDMAN         OH 44512‐4925
MICHAEL HRIVNAK          11546 DELVIN DR                                                                      STERLING HTS     MI 48314‐2609
MICHAEL HRYNCZUK         28962 JAMES DR                                                                       WARREN           MI 48092‐5617
MICHAEL HRYNYK           3816 DILL DR                                                                         WATERFORD        MI 48329‐2134
MICHAEL HUBBARD          2914 N WILMOTH HWY                                                                   ADRIAN           MI 49221‐9372
MICHAEL HUBBARD          3019 N 9TH ST                                                                        SAINT JOSEPH     MO 64505‐1925
MICHAEL HUBBARD          16550 ELLIS AVENUE                                                                   SOUTH HOLLAND     IL 60473‐2425
MICHAEL HUBBELL          9136 WALTHAM ST                                                                      WHITE LAKE       MI 48386
MICHAEL HUBBERT          32950 REDBUD PKWY                                                                    CHESTERFIELD     MI 48047‐1454
MICHAEL HUBBS            2374 DELWOOD DR                                                                      CLIO             MI 48420‐9158
MICHAEL HUBER            5458 WAKEFIELD RD                                                                    GRAND BLANC      MI 48439‐9132
MICHAEL HUBERT           788 GILLOCK RD                                                                       GLASGOW          KY 42141‐9657
MICHAEL HUCKABY          7447 FRANKLIN RIDGE LN                                                               W BLOOMFIELD     MI 48322‐4126
MICHAEL HUDAK            5563 CIDER MILL XING                                                                 YOUNGSTOWN       OH 44515‐4274
MICHAEL HUDAK            10325 ATABERRY DR                                                                    CLIO             MI 48420‐1904
MICHAEL HUDDLESTON       26275 WOODHILL CT                                                                    WARRENTON        MO 63383‐6620
MICHAEL HUDEPOHL         4402 MCKIBBEN DR                                                                     KOKOMO           IN 46902‐4718
MICHAEL HUDSON           1723 MARY ST                                                                         BELOIT           WI 53511‐3220
MICHAEL HUDSON           18899 EASTER FERRY RD                                                                ATHENS           AL 35614‐5840
MICHAEL HUDSON           3764 E 600 N                                                                         ALEXANDRIA       IN 46001‐8896
MICHAEL HUDSON           2453 HULL RD                                                                         LESLIE           MI 49251‐9557
MICHAEL HUELL            PO BOX 5482                                                                          SAGINAW          MI 48603‐0482
MICHAEL HUERTA           607 MADISON                                                                          PERRY            MI 48872‐9111
MICHAEL HUEY             5365 MOCERI LN                                                                       GRAND BLANC      MI 48439‐4371
MICHAEL HUEY             30302 PINTO DR                                                                       WARREN           MI 48093‐5022
MICHAEL HUFF             10066 MORRISH RD                                                                     SWARTZ CREEK     MI 48473‐9127
MICHAEL HUFF             2030 DANIEL RD                                                                       VILLA RICA       GA 30180‐3795
MICHAEL HUFF             6055 BUNKER HILL STREET                                                              FLINT            MI 48506‐1679
MICHAEL HUFFORD          24347 WICK RD                                                                        TAYLOR           MI 48180‐3305
MICHAEL HUGHES           16 LEE'S LN.                                                                         OLMSTED TWP      OH 44138
MICHAEL HUGHES           485 BURNSIDE DR                                                                      TIPP CITY        OH 45371‐3714
MICHAEL HUGHES           2523 S WARD LAKE RD                                                                  BRANCH           MI 49402‐8443
MICHAEL HUGHES           1822 W GENESEE ST                                                                    FLINT            MI 48504‐2592
MICHAEL HUGHES           305 SUMMER SHADE DR                                                                  SOMERSET         KY 42503‐3544
MICHAEL HUHN             114 DONNA DR                                                                         PORTLAND         MI 48875‐1115
MICHAEL HUHN             1811 TWELFTH NIGHT CV                                                                FORT WAYNE       IN 46818‐9176
MICHAEL HULBURT          W987 NORTH DR                                                                        BRODHEAD         WI 53520‐9621
MICHAEL HULL             7421 E POTTER RD                                                                     DAVISON          MI 48423‐9520
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Name                  Address1                           Address2                     Address3   Address4         City              State Zip
MICHAEL HULL          8824 BLOOMING GROVE DR                                                                      CAMBY              IN 46113‐8213
MICHAEL HULSEY        RR 3 BOX 2792                                                                               HAWKINSVILLE       GA 31036‐9222
MICHAEL HULVA         7968 S 475 W                                                                                WINAMAC            IN 46996‐8317
MICHAEL HUMES         2680 BONITA DR                                                                              WATERFORD          MI 48329‐4822
MICHAEL HUMPHREY      708 E ADAMS RD                                                                              SAINT LOUIS        MI 48880‐9711
MICHAEL HUNLEY        4092 LAURA MARIE DR                                                                         WAYNESVILLE        OH 45068‐8940
MICHAEL HUNT          917 MARTIN RD                                                                               BALTIMORE          MD 21221‐5206
MICHAEL HUNT          2082 N 12TH ST                                                                              TOLEDO             OH 43620‐1902
MICHAEL HUNT          3290 LEXINGTON RD 110                                                                       WATERFORD          MI 48328
MICHAEL HUNT          3121 TERRACE DR                                                                             KOKOMO             IN 46902‐3730
MICHAEL HUNT          2283 MCKAYLA CT                                                                             OXFORD             GA 30054‐3224
MICHAEL HUNT          8591 N BRIARWOOD LAKE EAST LN                                                               MONROVIA           IN 46157‐9060
MICHAEL HUNTER        3366 SPRUCERIDGE CT                                                                         DAVISON            MI 48423‐8454
MICHAEL HUNTER        16390 MURRAY RD                                                                             BYRON              MI 48418‐9041
MICHAEL HUNTER                                                                                                    HOWELL             MI
MICHAEL HUNTWORK      4781 HILLSBORO RD                                                                           DAVISBURG          MI 48350‐3816
MICHAEL HURD          PO BOX 232                                                                                  GALVESTON          IN 46932‐0232
MICHAEL HURD          4231 N THOMAS RD                                                                            FREELAND           MI 48623‐8887
MICHAEL HURD          PO BOX 1916                                                                                 TAYLOR             MI 48180‐8816
MICHAEL HURD          4176 MITCHELL WEAVER RD                                                                     SCOTTSVILLE        KY 42164‐8374
MICHAEL HURD          2019 N CONNECTICUT AVE                                                                      ROYAL OAK          MI 48073‐4281
MICHAEL HURDLE        PO BOX 1886                                                                                 MILWAUKEE          WI 53201‐1886
MICHAEL HURLEY        14894 LOUISVILLE RD                                                                         SMITHS GROVE       KY 42171‐8222
MICHAEL HURLEY        1074 CLIFF WHITE RD                                                                         COLUMBIA           TN 38401‐6759
MICHAEL HURRELL       453 FAWN HILL PL                                                                            SANFORD            FL 32771‐7163
MICHAEL HURSKY        19248 BOSTON RD                                                                             STRONGSVILLE       OH 44149‐6902
MICHAEL HURST         13956 REDWOOD DR                                                                            SHELBY TOWNSHIP    MI 48315‐6801
MICHAEL HURTADO       MIKE HURTADO                       2901 S RIVERSIDE AVE STE E   N/A                         COLTON             CA 92324‐3336
MICHAEL HUS           3344 BISHOP RD                                                                              DRYDEN             MI 48428‐9752
MICHAEL HUSEREAU      15924 RYLAND                                                                                REDFORD            MI 48239‐3951
MICHAEL HUSKEY
MICHAEL HUSSON        5379 HERTFORD DR                                                                            TROY              MI    48085‐3232
MICHAEL HUTCHINGS     3726 STEVE LILLIE CIRCLE                                                                    STOCKTON          CA    95206
MICHAEL HUTCHINS      15611 NE 313TH ST                                                                           BATTLE GROUND     WA    98604‐7834
MICHAEL HUTCHINSON    4566 AMESBOROUGH RD                                                                         DAYTON            OH    45420‐3348
MICHAEL HUTCHINSON    10308 N HARRISON CT                                                                         KANSAS CITY       MO    64155‐1956
MICHAEL HUTSON        2400 OAKWOOD RD                                                                             ORTONVILLE        MI    48462‐9411
MICHAEL HUTTON        2100WEST BEACH DRIVE               #Y 104                                                   PANAMA CITY       FL    32401
MICHAEL HWANG         700 LAKE VILLAGE BLVD APT 203                                                               AUBURN HILLS      MI    48326‐4531
MICHAEL HYDER         3377 N GENESEE RD                                                                           FLINT             MI    48506‐2163
MICHAEL HYLE
MICHAEL HYLTON        13774 KATHLEEN DR                                                                           BROOK PARK        OH    44142‐4030
MICHAEL HYNSON        7219 FRONTERA                                                                               GRAND PRAIRIE     TX    75054‐5540
MICHAEL I COTHERN     25200 66TH AVE                                                                              LOS MOLINOS       CA    96055
MICHAEL I DAVIS       2697 HAVERSTRAW AVE                                                                         DAYTON            OH    45414
MICHAEL I GRADY JR    13725 DESTER AVE                   APT 318                                                  DETROIT           MI    48238‐2607
MICHAEL I GUERRERO    2159 S TROY ST                                                                              ANAHEIM           CA    92802
MICHAEL IACONO        34491 SPRUCE DR                                                                             LEWES             DE    19958‐4703
MICHAEL IANNUCCI      3312 TRAPPERS TRL UNIT A                                                                    CORTLAND          OH    44410‐9154
MICHAEL IDLEWINE JR   2858 W 1400 N                                                                               ALEXANDRIA        IN    46001‐8535
MICHAEL IDROGO
MICHAEL IDZIKOWSKI    1209 VIRGINIA ST APT 4                                                                      KEY WEST           FL   33040‐3452
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Name                           Address1                       Address2            Address3         Address4         City               State Zip
MICHAEL IGNOMIRELLO            1516 NEUTRINO DR                                                                     MURFREESBORO        TN 37129‐2972
MICHAEL IHRIG JR               816 ROUND HILL RD                                                                    BLUE MOUND          TX 76131‐3808
MICHAEL IIAMS                  855 W JEFFERSON ST LOT 44C                                                           GRAND LEDGE         MI 48837‐1379
MICHAEL IKNER                  401 MORTIMER DR APT 108                                                              BEDFORD             OH 44146‐2354
MICHAEL IMBIROWICZ             3861 HIDDEN CREEK CT                                                                 ROCHESTER HLS       MI 48309‐1004
MICHAEL IMBS                   568 DONNA MARIE DR                                                                   WENTZVILLE          MO 63385‐6897
MICHAEL IMEL                   28164 WILDWOOD TRL                                                                   FARMINGTON HILLS    MI 48336‐2157
MICHAEL IMIG                   5653 PRATT RD                                                                        LAPEER              MI 48446‐9740
MICHAEL IMTHURN                23348 WATSON RD                                                                      DEFIANCE            OH 43512‐8734
MICHAEL INDGJER                1021 BEDFORD DR                                                                      JANESVILLE          WI 53546‐3726
MICHAEL INGBER                 25961 MARLOWE PL                                                                     OAK PARK            MI 48237‐1019
MICHAEL INGRAM                 10109 N HEDGES AVE                                                                   KANSAS CITY         MO 64157‐1244
MICHAEL INGRAM                 160 PINE BRANCH DR                                                                   STOCKBRIDGE         GA 30281‐6029
MICHAEL INMAN                  2062 KENNETH ST                                                                      BURTON              MI 48529‐1351
MICHAEL INSCHO                 6077 N BEUTHIEM RD                                                                   MERRITT             MI 49667‐9753
MICHAEL INTILLE                3605 W LAWTHER DR                                                                    DALLAS              TX 75214
MICHAEL IORIO                  4272 COVE STREET                                                                     HEMET               CA 92545‐9020
MICHAEL IRVING                 PO BOX 735                                                                           MOUNT MORRIS        MI 48458‐0735
MICHAEL IRVING                 16228 COVE DR                                                                        LINDEN              MI 48451‐8717
MICHAEL IRWIN                  12400 N COUNTY ROAD 600 W                                                            GASTON              IN 47342‐9726
MICHAEL ISAAC                  1233 JAYNE DR                                                                        KOKOMO              IN 46902‐6127
MICHAEL ISAAC                  3520 OLIENE DR                                                                       KOKOMO              IN 46902‐4732
MICHAEL ISAACSON               1435 CHISSOM TRL                                                                     FLINT               MI 48532‐2311
MICHAEL ISECKE                 54081 CAMBRIDGE DR                                                                   SHELBY TOWNSHIP     MI 48315‐1664
MICHAEL ISENHATH               9797 N FERRIS RD                                                                     RIVERDALE           MI 48877‐9763
MICHAEL ISLER II               7779 SUMMER BREEZE TRL                                                               HOWELL              MI 48843‐9593
MICHAEL IVANCIC                64 BELLWOOD LN                                                                       DEPEW               NY 14043‐1704
MICHAEL IVANOVAS               3720 S 60TH CT                                                                       CICERO               IL 60804‐4114
MICHAEL IVES                   35780 82ND AVE                                                                       DECATUR             MI 49045‐8962
MICHAEL IVORY                  PO BOX 911                                                                           FLINT               MI 48501‐0911
MICHAEL IVY                    3918 GOLF LINKS BLVD                                                                 SHREVEPORT          LA 71109‐5008
MICHAEL IWANIUSZ               4065 MONTICELLO DR                                                                   ADRIAN              MI 49221‐9356
MICHAEL IZZO                   2672 WINDSOR DR                                                                      TROY                MI 48085‐3728
MICHAEL IZZO                   2800 GOULD RD                                                                        ONONDAGA            MI 49264‐9795
MICHAEL J & MARY BOLAND        34111 STAGECOACH BLVD                                                                EVERGREEN           CO 80439
MICHAEL J & MARY M SCHROEDER   2625 HUNTSMAN TRAIL                                                                  ZEBULON             NC 27597
MICHAEL J AGUAYO               163 W KENNETT RD                                                                     PONTIAC             MI 48340‐2647
MICHAEL J ALBER                130 ASTOR DRIVE                                                                      ROCHESTER           NY 14610‐3508
MICHAEL J AMAREL               PO BOX 764                                                                           MASSENA             NY 13662‐0764
MICHAEL J ANDER                4320 PARKVIEW AVENUE                                                                 ENGLEWOOD           OH 45322‐2655
MICHAEL J ANGELICO             52 PENNWOOD DR APT D                                                                 ROCHESTER           NY 14625‐2527
MICHAEL J ARNOLD               685 GILMER RD.                                                                       LEAVITTSBURG        OH 44430‐9683
MICHAEL J ATCHISON             6276 GUNNELL RD                                                                      MILLINGTON          MI 48746‐9720
MICHAEL J BAILEY               3491 MONUMENT DR                                                                     DELTONA             FL 32738
MICHAEL J BAILEY               8170 LOWER‐MIAMISBURG RD                                                             GERMANTOWN          OH 45327
MICHAEL J BANGERT              521 ELM DR                                                                           CARISLE             OH 45005
MICHAEL J BARR                 2254 ABBEYWOOD DR APT D                                                              LISLE                IL 60532
MICHAEL J BARTOLOTTA           65 POINCIANA PKWY                                                                    BUFFALO             NY 14225‐3610
MICHAEL J BATTAGLIA            61 MARTHA AVE.                                                                       CENTERVILLE         OH 45458‐2429
MICHAEL J BAUDENDISTEL         110 MITCHELL AVE                                                                     MATTYDALE           NY 13211‐1738
MICHAEL J BEAMISH              72 FISHER RD                                                                         NORFOLK             NY 13667‐3285
MICHAEL J BEASLEY              5506 WOODBINE AVE                                                                    DAYTON              OH 45432‐3657
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Name                                 Address1                          Address2                         Address3      Address4         City            State Zip
MICHAEL J BEHL                       216 W BEVERLY AVE                                                                                 PONTIAC          MI 48340‐2623
MICHAEL J BELL                       13 RED MAPLE CT                                                                                   AMHERST          NY 14228‐3457
MICHAEL J BELLAVIA                   361 DEWITT ST                                                                                     BUFFALO          NY 14213‐1127
MICHAEL J BENCHIC                    10 REGINA DR                                                                                      FAIRBORN         OH 45324‐4328
MICHAEL J BINDAS                     P.O. BOX 2856                                                                                     ASHTABULA        OH 44005
MICHAEL J BISCEGLIA                  210 CHARLES PL                                                                                    UNION            OH 45322
MICHAEL J BISHOP                     P. O. BOX 656                                                                                     W. CARROLLTON    OH 45449
MICHAEL J BODIFORD                   3630 SIMKEN DR APT 3                                                                              LANSING          MI 48910‐4393
MICHAEL J BONESTEEL                  7231 SCHOOLCRAFT DR                                                                               DAVISON          MI 48423‐2389
MICHAEL J BOWSER                     9782 STATE ROUTE 7 N.E.                                                                           KINSMAN          OH 44428‐9554
MICHAEL J BRENNAN JR                 10755 HAVERMALE RD                                                                                FARMERSVILLE     OH 45325
MICHAEL J BRENNAN SR                 10755 HAVERMALE RD                                                                                FARMERSVILLE     OH 45325
MICHAEL J BROWN                      285 WEXFORD DR                                                                                    WILMINGTON       OH 45177‐1560
MICHAEL J BRYANT                     1008 SUPERIOR AVE                                                                                 DAYTON           OH 45402‐6257
MICHAEL J BUDINSKI                   112 WIDGEDON LNDG                                                                                 HILTON           NY 14468‐8953
MICHAEL J BURDICK                    124 MEDFORD RD                                                                                    SYRACUSE         NY 13211‐1828
MICHAEL J BYRNES                     4 MAPLE ST                                                                                        ELBA             NY 14058‐9767
MICHAEL J CALICCHIO                  528 WINNING DR                                                                                    COLUMBIA         TN 38401‐7004
MICHAEL J CAMPBELL                   4815 CLARKSTON RD                                                                                 CLARKSTON        MI 48348‐3865
MICHAEL J CARSON                     1148 BEECHWOOD DR.                                                                                GIRARD           OH 44420‐2106
MICHAEL J CHEEKS                     7235 WOODSTEAD CT APT 5                                                                           SAINT LOUIS      MO 63121‐2307
MICHAEL J CINGLE                     4879 SUMMER LN                                                                                    BROOKLIN         OH 44144‐3053
MICHAEL J CONNELLY                   4634 W SALISBURY DR                                                                               GLADWIN          MI 48624‐8643
MICHAEL J CONNOLLY                   226 FLEMING LANE                                                                                  SCHAUMBURG        IL 60193‐2821
MICHAEL J CONNOLLY ‐ IRA THROUGH UBS C/O UBS FINANCIAL SERVICES INC.   ONE NORTHBROOK PLACE             5 REVERE DR                    NORTHBROOK        IL 60062‐8003
FINANCIAL SERVICES
MICHAEL J CONNOLLY THROUGH TD        C/O TD AMERITRADE                 DIVISION OF TD AMERITRADE INC.   PO BOX 2209                    OMAHA           NE 68103‐2209
AMERITRADE
MICHAEL J CORNELE                    3117 ILLINOIS AVE                                                                                 MIDDLETOWN      OH 45042‐2609
MICHAEL J DAUGHERTY                  C/O WILLIAMS KHERKHER HART &      8441 GULF FREEWAY, STE 600                                      HOUSTON         TX 77007
                                     BOUNDAS, LLP
MICHAEL J DAVIS                      5341 HAVERFIELD RD.                                                                               DAYTON          OH   45432
MICHAEL J DAY                        4024 LAKES CORNERS                ROSE VALLEY RD.                                                 CLYDE           NY   14433‐‐ 96
MICHAEL J DECAROLIS                  43 FAIRGATE ST                                                                                    ROCHESTER       NY   14606‐1403
MICHAEL J DELADURANTAYE              701 CENTER AVE APT 8                                                                              BAY CITY        MI   48708‐5992
MICHAEL J DELORENZO                  2816 BEDELL RD                                                                                    GRAND ISLAND    NY   14072
MICHAEL J DELVECCHIO                 237 LONE OAK AVENUE                                                                               ROCHESTER       NY   14616‐3547
MICHAEL J DOLPHIN                    6985 VINTON AVE NW                                                                                COMSTOCK PARK   MI   49321‐9715
MICHAEL J DOOLEY                     6141 LAKE DR                                                                                      YPSILANTI       MI   48197‐7052
MICHAEL J DOUGHERTY                  205 ONEIDA DR                                                                                     CLAIRTON        PA   15025‐2711
MICHAEL J DUGGAN                     2902 KNOLL RIDGE DR APT A                                                                         DAYTON          OH   45449‐3434
MICHAEL J DUPUIS                     PO BOX 21                                                                                         CARROLLTON      MI   48724‐0021
MICHAEL J DUVERNAY                   1800 FRUIT STREET                                                                                 ALGONAC         MI   48001
MICHAEL J EASTERLING                 118 BLOSSOM LN                                                                                    NILES           OH   44446
MICHAEL J EDSALL                     1245 BRAINARD WOODS DRIVE                                                                         CENTERVILLE     OH   45458‐2901
MICHAEL J EILERS                     165 HILLCREST DR                                                                                  SPRINGBORO      OH   45066
MICHAEL J ERISMAN                    190 N NEW JASPER STATION RD                                                                       XENIA           OH   45385
MICHAEL J FAHEY                      100 KINGSTON DR                                                                                   BEAR            DE   19701‐1505
MICHAEL J FALLERS                    119 W SENECA DR                                                                                   NEWARK          DE   19702‐1913
MICHAEL J FALLON JR                  8808 BELTON DR                                                                                    N RIDGEVILLE    OH   44039‐8793
MICHAEL J FERRARA                    133 AUBURN AVE                                                                                    ROCHESTER       NY   14606‐4133
MICHAEL J FERRETT                    3547 OAKVIEW DR                                                                                   GIRARD          OH   44420‐ 316
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Name                    Address1                          Address2                 Address3            Address4         City             State Zip
MICHAEL J FIORUCCI      15 E KIRBY ST                     APT 410                                                       DETROIT           MI 48202‐4040
MICHAEL J FOLEY         WEITZ & LUXENBERG PC              700 BROADWAY                                                  NEW YORK CITY     NY 10003
MICHAEL J FONS          596 OAKBROOK CIR                                                                                FLUSHING          MI 48433‐1704
MICHAEL J FRESINA JR    3979 RIVER RIDGE DR                                                                             LEWISBURG         TN 37091‐5610
MICHAEL J FRETTO        88 BOCK ST                                                                                      ROCHESTER         NY 14609‐4133
MICHAEL J FUGATE        1027 BURLEIGH AVE                                                                               DAYTON            OH 45407‐1146
MICHAEL J GARRETT       554 E ERIE RD                                                                                   TEMPERANCE        MI 48182‐9349
MICHAEL J GARVEY        4125 OLD KING RD                                                                                SAGINAW           MI 48601‐7166
MICHAEL J GASIOROWSKI   907 E MOLLOY RD                                                                                 SYRACUSE          NY 13211‐1302
MICHAEL J GAUCI         23046 PARK ST                                                                                   DEARBORN          MI 48124‐2649
MICHAEL J GERBASI       8450 MURRAY RIDGE RD                                                                            ELYRIA            OH 44035‐4749
MICHAEL J GLAVIES       320 CENTRAL PARKWAY AVE SE                                                                      WARREN            OH 44483‐‐ 62
MICHAEL J GOLDBERG      15 VIA MARINA                                                                                   VENICE            CA 90292
MICHAEL J GORDON        8188 BIRCH RUN RD                                                                               MILLINGTON        MI 48746‐9733
MICHAEL J GRANA         1174 MANITOU ROAD                                                                               HILTON            NY 14468‐9331
MICHAEL J GREENE        714 E PEARL ST                                                                                  MIAMISBURG        OH 45342
MICHAEL J GRIFFIE       PO BOX 741                                                                                      SPRINGBORO        OH 45066
MICHAEL J GRIMMETT      BARON & BUDD PC                   THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS            TX 75219‐4281
MICHAEL J GROSS, JR.    709 BEATRICE DR                                                                                 DAYTON            OH 45404‐1412
MICHAEL J GURAK JR.     991 DRAVIS ST                                                                                   GIRARD            OH 44420‐2021
MICHAEL J HAIDUC        14430 BRANDYWINE RD                                                                             STERLING HTS      MI 48312‐5606
MICHAEL J HANCOCK       3928 138TH AVE                                                                                  HAMILTON          MI 49419‐9767
MICHAEL J HANSON        313 N ELMS RD                                                                                   FLUSHING          MI 48433‐1830
MICHAEL J HARRIS II     795 BEAR MOUNTAIN DR                                                                            SAINT PETERS      MO 63376‐2083
MICHAEL J HAY           1713 WEST STROOP RD.                                                                            KETTERING         OH 45439‐2509
MICHAEL J HAYES         5087 O'NEALL RD                                                                                 WAYNESVILLE       OH 45068
MICHAEL J HAYES         6109 RHONE DR                                                                                   CHARLOTTE         NC 28226‐8904
MICHAEL J HELCO         3130 WILDWOOD DR                                                                                MC DONALD         OH 44437
MICHAEL J HERRON        180 DIAMOND WAY                                                                                 CORTLAND          OH 44410
MICHAEL J HERTWCK       507 RIDGEVIEW DR                                                                                DILLSBURG         PA 17019
MICHAEL J HICKS         4242 TROUSDALE LN                                                                               COLUMBIA          TN 38401‐8403
MICHAEL J HILL          7850 CLOVERHILL DR                                                                              LANSING           MI 48917‐9641
MICHAEL J HNAT          P O BOX 22                                                                                      MASURY            OH 44438‐0022
MICHAEL J HOESLEY       1455 N SANDBURG                   UNIT 2201B                                                    CHICAGO            IL 60610
MICHAEL J HOLLSTEGGE    4446 SCHINKAL ROAD                                                                              CINCINNATI        OH 45248‐1324
MICHAEL J HOLMES        18 CLIFTON AVE                                                                                  BATAVIA           NY 14020
MICHAEL J HOLTSBERRY    409 S SQUIRE ST                                                                                 HOLGATE           OH 43527
MICHAEL J HORVATH       8183 STUART CT                                                                                  NORTH ROYALTON    OH 44133
MICHAEL J IANNI         3 BOGUE AVE                                                                                     BATAVIA           NY 14020‐1205
MICHAEL J JANES         4835 PLANTATION ST                                                                              ANDERSON          IN 46013‐2895
MICHAEL J JAVORNICKY    406 MCDONALD AVE                                                                                MC DONALD         OH 44437‐1539
MICHAEL J JENKINS       5879 FARMERSVILLE W. CARROLLTON                                                                 MIAMISBURG        OH 45342
MICHAEL J JOHNSON       211 A PORTER ST                                                                                 WARREN            OH 44483
MICHAEL J JONES         932 GARRY AVE.                                                                                  GIRARD            OH 44420‐1940
MICHAEL J KELLY         PO BOX 30022                                                                                    LANSING           MI 48909‐7522
MICHAEL J KESKES        14351 SWANEE BEACH DR                                                                           FENTON            MI 48430‐1463
MICHAEL J KETTERER      14131 N BRAY RD                                                                                 CLIO              MI 48420‐7906
MICHAEL J KILGALLEN     740 WELLMEIER AVE                                                                               DAYTON            OH 45410‐2729
MICHAEL J KINAHAN       PO BOX 34                                                                                       SYRACUSE          NY 13206‐0034
MICHAEL J KIRCHHOFF     1601 2ND ST                                                                                     BAY CITY          MI 48708‐6195
MICHAEL J KISER         5034 SE 34TH AVE                                                                                PORTLAND          OR 97202
MICHAEL J KISH          925 THISTLE PL SE                                                                               WARREN            OH 44484‐2624
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Name                            Address1                        Address2                    Address3           Address4         City              State Zip
MICHAEL J KNAPKE                201 PAULY DR.                                                                                   CLAYTON            OH 45315‐9645
MICHAEL J KOCH                  5424 PRESCOTT CT                                                                                MASON              OH 45040
MICHAEL J KOLISCHAK REV TRUST   MICHAEL J KOLISCHAK AND         MARY B KOLISCHAK CO‐TTEES   3000 MAGAZINE DR                    WINSTON SALEM      NC 27106
MICHAEL J KOONTZ                3245 CHARITY DR                                                                                 STERLING HTS       MI 48310‐2947
MICHAEL J KOVALCIK              7390 ROUTE 22 HWY E                                                                             NEW FLORENCE       PA 15944‐8242
MICHAEL J KOWACH                3080 N RIVER RD NE                                                                              WARREN             OH 44483‐3072
MICHAEL J KOWACH                25 S OUTER DR.                                                                                  VIENNA             OH 44473
MICHAEL J KOWAL                 3152 10TH ST                                                                                    WAYLAND            MI 49348‐9537
MICHAEL J KRAFT                 161 DOYLE DR                                                                                    NORTH TONAWANDA    NY 14120‐2413
MICHAEL J KRAUS                 BELAIR & EVANS LLP              61 BROADWAY                                                     NEW YORK           NY 10006
MICHAEL J KRENCIPROCK           1101 ROBBINS AVE                                                                                NILES              OH 44446
MICHAEL J KRENCIPROCK           429 STANLEY AVE.                                                                                COLUMBUS           OH 43206‐2317
MICHAEL J KRETZER               3636 ECHO HILL LN                                                                               DAYTON             OH 45430‐1720
MICHAEL J LAMB                  250 MAPLE AVENUE                                                                                CARLISLE           OH 45005‐1330
MICHAEL J LANAHAN               1622 NELSON LANE                                                                                BRISTOLVILLE       OH 44402‐9609
MICHAEL J LAND                  NIX PATTERSON & ROACH LLP       GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                     DAINGERFIELD       TX 75638
MICHAEL J LANFEAR               241 TANVIEW                                                                                     OXFORD             MI 48371‐4772
MICHAEL J LAUDERMILK            7936 CANAL RD                                                                                   TIPP CITY          OH 45371‐8214
MICHAEL J LAWLOR                PO BOX 10103                                                                                    TRENTON            NJ 08650‐3103
MICHAEL J LEE                   2327 MORTON AVE                                                                                 FLINT              MI 48507‐4445
MICHAEL J LEICK                 2860 HARTLAND RD                                                                                HARTLAND           MI 48353
MICHAEL J LEVAN                 29011 WEBER AVE                                                                                 WICKLIFFE          OH 44092
MICHAEL J LINERT                1433 SALT SPRINGS RD                                                                            NILES              OH 44446‐1347
MICHAEL J LIPSKI                3695 ST. RT. 7, N.E.                                                                            BURGHILL           OH 44404‐9758
MICHAEL J LIVINGSTON            434 BEACH ST                                                                                    MOUNT MORRIS       MI 48458‐1904
MICHAEL J LOGAN                 2423 MCLARAN AVE                                                                                SAINT LOUIS        MO 63136‐2678
MICHAEL J LOMBARDI              1167 JOEL CT                                                                                    RICHMOND           CA 94805
MICHAEL J LOWRY SR              WEITZ & LUXENBERG PC            700 BROADWAY                                                    NEW YORK CITY      NY 10003
MICHAEL J LUCAS                 3809 CHERRY BLOSSOM BLVD                                                                        INDIANAPOLIS       IN 46237‐3814
MICHAEL J LUCAS                 5133 PENSACOLA BLVD                                                                             MORAINE            OH 45439‐2942
MICHAEL J MABRY                 208 WILLOW OAKS DR                                                                              CLINTON            MS 39056‐9417
MICHAEL J MACOLUS & EVA‐MARIE   MICHAEL J & EVA‐MARIE MACOLUS   TRUST U/A DTD 09/27/07      1340 MARGARET ST                    ST PAUL            MN 55106‐4723
MACOLUS TTEES
MICHAEL J MAHER                 80 STOUGHTON AVE                                                                                MASSENA           NY   13662‐1209
MICHAEL J MAHER                 170 MCCARTHY LN                                                                                 SAGINAW           MI   48609‐5032
MICHAEL J MALESKIS III          4 BENZ DR                                                                                       DEPEW             NY   14043‐4626
MICHAEL J MALESKO               3147 SANTA ROSA DR                                                                              KETTERING         OH   45440
MICHAEL J MALLORY               5678 MOUNT OLIVE CT.                                                                            DAYTON            OH   45426
MICHAEL J MALONEY               8885 MCCAIN RD                                                                                  PARMA             MI   49269
MICHAEL J MARRANCO              643 LINDEN AVE                                                                                  BUFFALO           NY   14216‐2716
MICHAEL J MARTIN                PO BOX 115                                                                                      VANDALIA          OH   45377‐0115
MICHAEL J MAURICE               2044 NUTT ROAD                                                                                  DAYTON            OH   45458
MICHAEL J MAXWELL               4225 MILLER ROAD #334                                                                           FLINT             MI   48507
MICHAEL J MAXWELL               4225 MILLER RD # 334                                                                            FLINT             MI   48507
MICHAEL J MC FARLAND            ATTN: MICHAEL J MC FARLAND      2605 SYLVAN AVE                                                 WILMINGTON        DE   19805‐2344
MICHAEL J MC GEE                47534 HICKORY ST APT 25211                                                                      WIXOM             MI   48393‐2707
MICHAEL J MCCONNELL             6551 BROWN RD                                                                                   VERSAILLES        OH   45380‐9541
MICHAEL J MCDEDE                110 LAWRENCE AVE                                                                                HIGHLAND PARK     NJ   08904‐1849
MICHAEL J MCKENNA               10621 GANDER GROVE WAY          APT 102                                                         KNOXVILLE         TN   37932‐1767
MICHAEL J MCNICHOL              53 E RUTGERS AVE                                                                                PONTIAC           MI   48340‐2749
MICHAEL J MEDLIN                55 W MARKET ST                                                                                  SPRINGBORO        OH   45066
MICHAEL J MELANSON              9707 N HUALAPAI DR                                                                              CASA GRANDE       AZ   85122‐8075
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Name                    Address1                           Address2                   Address3             Address4           City               State Zip
MICHAEL J MILLER        2624 HENDERSON AVE                 APT 8                                                              HURRICANE           WV 25526‐1147
MICHAEL J MILLER        75 COBBLYNOB LANE                                                                                     ONEONTA             AL 35121
MICHAEL J MILLSOP       660 WASHINGTON ST                                                                                     ST MARYS            PA 15857
MICHAEL J MITCHELL      1213 N VAN BUREN ST                                                                                   BAY CITY            MI 48708‐6079
MICHAEL J MONTPAS       6189 SUGARLOAF DR                                                                                     GRAND BLANC         MI 48439‐9159
MICHAEL J MORRIN        448 AVON WAY                                                                                          KETTERING           OH 45429
MICHAEL J MORRIS        7410 WEST BLVD APT 105                                                                                YOUNGSTOWN          OH 44512
MICHAEL J MOWBRAY       5209 MELVINA ST                                                                                       FAIRBORN            OH 45324‐1845
MICHAEL J MOYER         1550 LANGDON DRIVE                                                                                    CENTERVILLE         OH 45459‐5007
MICHAEL J MURPHY IV     1303 5TH ST                                                                                           BAY CITY            MI 48708‐6035
MICHAEL J NAKONECHNI    3781 PEREGRINE CIR                                                                                    RENO                NV 89508‐6409
MICHAEL J NEMETH        34 WOLF                                                                                               ENGLEWOOD           OH 45322
MICHAEL J NEZEZON       1310A COUNTY ROUTE 53                                                                                 BRASHER FALLS       NY 13613‐3226
MICHAEL J NICKERSON     ACT OF J GREIG 93 C04543           PO BOX 1001                                                        MOUNT CLEMENS       MI 48046‐1001
MICHAEL J NORLAND       2507 NE SPRINGBROOK ST                                                                                BLUE SPRINGS        MO 64014‐1441
MICHAEL J O'NEAL        5341 W COURT ST                                                                                       FLINT               MI 48532‐3344
MICHAEL J O'NEIL        18W218 LOWELL LN                                                                                      VILLA PARK           IL 60181
MICHAEL J OBERMIYER     6099 MERWIN CHASE ROAD                                                                                BROOKFIELD          OH 44403‐9781
MICHAEL J OESCHGER      2119 BEAR CREEK DR                                                                                    ONTARIO             NY 14519‐9730
MICHAEL J OHOL          6559 LINCOLN PL APT B                                                                                 LOCKPORT            NY 14094‐6173
MICHAEL J PANASIEWICZ   10331 S AVENUE H                                                                                      CHICAGO              IL 60617‐6051
MICHAEL J PARIS         59 OLD PINE LANE                                                                                      ROCHESTER           NY 14615‐1167
MICHAEL J PEARSON       4077 LIBBIE DR                                                                                        CLIO                MI 48420‐8202
MICHAEL J PERRY         1510 S HARRISON ST                                                                                    SAGINAW             MI 48602‐1365
MICHAEL J PETRUSKA      1552 CRAB CREEK RD                                                                                    HENDERSONVILLE      NC 28739‐8454
MICHAEL J PIERCE        40 AMADEO DR                                                                                          GILBERTSVILLE       PA 19525
MICHAEL J PINO JR       40 CHERRY CREEK LA                                                                                    ROCHESTER           NY 14626‐4202
MICHAEL J PIPERIDES     ROBERT W PHILLIPS                  SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON           IL 62024
                                                           ANGELIDES & BARNERD LLC
MICHAEL J PIRTZ         5467 STATE ROUTE 303                                                                                  NEWTON FALLS       OH   44444
MICHAEL J PLUTA         11520 ORCHARDVIEW DR                                                                                  FENTON             MI   48430‐2546
MICHAEL J POHAR         2840 CHASE RD                                                                                         PHILADEPHIA        PA   19152
MICHAEL J POZEGA        3606 SOCHA WAY                                                                                        PORT ORANGE        FL   32129
MICHAEL J PUFKI         131 MEDFORD RD                                                                                        SYRACUSE           NY   13211‐1827
MICHAEL J PURIGRASKI    1309 3RD ST                                                                                           BAY CITY           MI   48708‐6016
MICHAEL J PUSATERI      10800 BRIGHTON BAY BLVD NE APT 3                                                                      SAINT PETERSBURG   FL   33716
MICHAEL J PUSTULKA      4094 WOODARD RD                                                                                       DELEVAN            NY   14042‐9712
MICHAEL J RALSTON       11 BRIARWOOD CT                                                                                       WARRENTON          MO   63383‐1056
MICHAEL J RAMBY         554 GABRIEL ST                                                                                        VANDALIA           OH   45377‐1837
MICHAEL J REAGAN        17 HIDDEN MEADOWS DR                                                                                  BERGEN             NY   14416‐9559
MICHAEL J REED          1519 COVENTRY RD                                                                                      DAYTON             OH   45410‐3210
MICHAEL J REPKO         1081 COLLAR PRICE RD SE                                                                               BROOKFIELD         OH   44403‐9778
MICHAEL J REYNOLDS      59 SEWARD ST APT 810                                                                                  DETROIT            MI   48202‐4434
MICHAEL J ROACH         45 NORTHGATE ROAD                                                                                     ROCHESTER          NY   14616‐3045
MICHAEL J ROBINSON      85 E STRATHMORE AVE                                                                                   PONTIAC            MI   48340‐2765
MICHAEL J ROGAN         PO BOX 185                                                                                            FARRELL            PA   16121
MICHAEL J ROZZI         5 WEDGEWOOD DRIVE                                                                                     GATES              NY   14624‐2815
MICHAEL J SAVAGE        11580 OLD DAYTON RD                                                                                   BROOKVILLE         OH   45309‐9383
MICHAEL J SAXON         5043 WILLEO ESTATES DR                                                                                MARIETTA           GA   30068‐1678
MICHAEL J SCALA         1430 EASTLAND S.E.                                                                                    WARREN             OH   44484‐4548
MICHAEL J SCHELL        1886 S RIVERSIDE DR                                                                                   AU GRES            MI   48703‐9796
MICHAEL J SCHEY         293 AUBURN AVE                                                                                        ROCHESTER          NY   14606‐4135
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Name                                Address1                           Address2                  Address3   Address4         City             State Zip
MICHAEL J SCHMIDT                   24 SUGAR TREE CIRCLE                                                                     BROCKPORT         NY 14420
MICHAEL J SCHMIDT AND ELIZABETH E   LAUREL ROAD                        PO BOX 259                                            SOLEBURY          PA 18963‐0259
SCHMIDT
MICHAEL J SCHWIND                   2526 N PETERSON DR                                                                       SANFORD          MI   48657‐9499
MICHAEL J SHERMAN                   5570 AUTUM LEAF DR. APT.7                                                                TROTWOOD         OH   45426‐1360
MICHAEL J SHEROKEE                  9394 DORAL DR SE                                                                         WARREN           OH   44484‐2151
MICHAEL J SHORT                     1379 TEAL COURT                                                                          LOVELAND         OH   45140‐8716
MICHAEL J SIMMONS                   1392 HILLCREST DR                                                                        LAKE             MI   48632‐9021
MICHAEL J SINOPOLI                  20 FAIRVIEW DR                                                                           BROCKPORT        NY   14420‐2616
MICHAEL J SLAWIENSKI                42 NORTH LN                                                                              ORCHARD PARK     NY   14127‐3347
MICHAEL J SLUSNY                    1509 NELSON AVE                                                                          DAYTON           OH   45410‐3333
MICHAEL J SMITH                     5848 YORKTOWN CT                                                                         DAYTON           OH   45431‐2948
MICHAEL J SMITH                     4935 BITTERN CT.                                                                         DAYTON           OH   45424
MICHAEL J SMITH                     7749 BASSETT DR                                                                          DAYTON           OH   45424
MICHAEL J SMOLAK                    2402 DAVIS PECK RD                                                                       CORTLAND         OH   44410‐9616
MICHAEL J SMOLAK                    809 SANTA RITA WAY                                                                       THE VILLAGES     FL   32159‐0102
MICHAEL J SNURR                     3645 ZACOMA RD                                                                           MOUNT PLEASANT   SC   29466
MICHAEL J SNYDER                    34 E LONGFELLOW AVE                                                                      PONTIAC          MI   48340‐2742
MICHAEL J SOPRONYI JR               2315 KING RICHARD PKWY                                                                   MIAMISBURG       OH   45342‐2750
MICHAEL J SPARKS                    263 E BETHUNE ST                                                                         DETROIT          MI   48202‐2812
MICHAEL J STALKER                   6719 FOXFIRE DR                                                                          INDIANAPOLIS     IN   46214‐2033
MICHAEL J STANCHAK                  6125 POWERS RD                                                                           ORCHARD PARK     NY   14127‐3213
MICHAEL J STAVA                     5920 IVY RIDGE ROAD                                                                      DAYTON           OH   45431‐2914
MICHAEL J SUMMERS                   25 W RUTGERS AVE                                                                         PONTIAC          MI   48340‐2755
MICHAEL J SUMNER                    1767 SHELTERING TREE                                                                     W CARROLLTON     OH   45449
MICHAEL J SWEENEY                   3128 GLENROCK ROAD                                                                       DAYTON           OH   45420‐1939
MICHAEL J SZCZUREK                  2680 WARREN BURTON RD                                                                    SOUTHINGTON      OH   44470
MICHAEL J TALLARICO                 1591 S LACEY LAKE RD                                                                     CHARLOTTE        MI   48813‐9556
MICHAEL J TAYLOR                    3362 MARATHON RD                                                                         COLUMBIAVILLE    MI   48421‐8974
MICHAEL J TAYLOR                    2107 KEEN AVE                                                                            TOLEDO           OH   43611‐1887
MICHAEL J TAYLOR                    305 EAST ENON RD                                                                         YELLOW SPRNGS    OH   45387‐1416
MICHAEL J TEAGUE                    1610 SUTTER PL                                                                           RENO             NV   89521‐5164
MICHAEL J THOMAS                    5024 ELTER DR                                                                            MORAINE          OH   45439‐1136
MICHAEL J THRAIN                    1000 WALDEN CREEK TRCE STE 31‐1B                                                         SPRING HILL      TN   37174‐6563
MICHAEL J THRAIN                    STE 311B                           1000 WALDEN CREEK TRACE                               SPRING HILL      TN   37174‐6563
MICHAEL J TOMASETTI                 45 CHESTNUT LN                                                                           LEVITTOWN        PA   19055
MICHAEL J TOPP                      6455 LITTLE JOHN CIR                                                                     CENTERVILLE      OH   45459
MICHAEL J TURNER                    822 SALEM AVE                                                                            DAYTON           OH   45406‐5826
MICHAEL J UHL                       2224 LYNN RD 48657                                                                       SANFORD          MI   48657
MICHAEL J VARGA                     344 HEIKES AVE.                                                                          DAYTON           OH   45405
MICHAEL J VASILOVCIK                552 INTERVALE DR.                                                                        HIGHLAND         MI   48357‐2865
MICHAEL J VERBANOVIC                APT 91                             6841 LOCKWOOD BOULEVARD                               YOUNGSTOWN       OH   44512‐3927
MICHAEL J VILLAGE                   3076 NILES CARVER RD                                                                     MC DONALD        OH   44437‐1222
MICHAEL J VON WRYEZA                499 ESHUEY AVE                                                                           MACCLENNY        FL   32063
MICHAEL J VON WRYEZA                499 E SHUEY AVE                                                                          MACCLENNY        FL   32063‐2227
MICHAEL J WALSH                     RR 1 BOX 362A                                                                            HARVEYS LAKE     PA   18618‐9772
MICHAEL J WANDISHIN                 2505 HARVEST DRIVE                                                                       CROWN POINT      IN   46307‐9679
MICHAEL J WARD                      11273 LAKEHAVEN DR                                                                       WHITE LAKE       MI   48386‐3647
MICHAEL J WATKINS                   118 STATE LINE RD                                                                        ALBANY           KY   42602
MICHAEL J WEIDINGER                 6045 THOUSAND OAKS DR                                                                    TOLEDO           OH   43613‐5628
MICHAEL J WESSEL                    3468 FRYE AVE                                                                            FINLEYVILLE      PA   15332‐1306
MICHAEL J WHITT                     1402 WILMORE DRIVE                                                                       MIDDLETOWN       OH   45042
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Name                          Address1                        Address2          Address3         Address4         City            State Zip
MICHAEL J WILL                3301 MILLER RD                                                                      SPRINGFIELD      OH 45502‐‐ 76
MICHAEL J WILLIAMS            73 HALLOCK ROAD                                                                     ROCHESTER        NY 14624‐4030
MICHAEL J WILLIAMS            43533 ELIZABETH ST                                                                  MOUNT CLEMENS    MI 48043‐1034
MICHAEL J WILSON              1331 WEISS ROAD                                                                     BAY CITY         MI 48706
MICHAEL J WINN                7877 CRAFTSMAN CT                                                                   ANTELOPE         CA 95843‐5740
MICHAEL J WOOD                9680 BRADFORD‐BLOOMER RD                                                            BRADFORD         OH 45308‐9713
MICHAEL J WOODCOCK            6161 HALIFAX DR                                                                     LANSING          MI 48911‐6455
MICHAEL J WOODROW             1147 W WALNUT ST                                                                    SAINT CHARLES    MI 48655‐8749
MICHAEL J WOODS               5039 MERIT DR                                                                       FLINT            MI 48506‐2187
MICHAEL J WOODY               6057 WASHBURN RD                                                                    GOODRICH         MI 48438‐9601
MICHAEL J WOOLEY              152 CLOVER LEAF DR                                                                  KEATCHIE         LA 71045‐2572
MICHAEL J YONOSIK             441 IDAHO AVE                                                                       GIRARD           OH 44420
MICHAEL J YOULL               725 BONNIE BRAE N.E.                                                                WARREN           OH 44483‐5238
MICHAEL J ZAMBITO             7 LORNA LN                                                                          TONAWANDA        NY 14150‐2804
MICHAEL J ZIEGERT             1365 PRIMROSE AVE                                                                   TOLEDO           OH 43612‐4025
MICHAEL J ZUHOSKY             8186 WHEELER NE                                                                     MASURY           OH 44438‐9722
MICHAEL J ZUHOSKY             8186 WHEELER ST                                                                     MASURY           OH 44438‐9722
MICHAEL J. GOLDBERG SEP IRA   15 VIA MARINA                                                                       VENICE           CA 90292
MICHAEL J. WALLER             STATE'S ATTORNEY                18 N COUNTY ST                                      WAUKEGAN          IL 60085‐4304
MICHAEL JABARA                1212 ENGLEWOOD AVE                                                                  ROYAL OAK        MI 48073‐2835
MICHAEL JABLONSKI             9368 N 750 W                                                                        HUNTINGTON       IN 46750‐8848
MICHAEL JACEK                 34052 PEMBROKE AVE                                                                  LIVONIA          MI 48152‐1203
MICHAEL JACHIM                164 DALTON ST                                                                       ROSELLE PARK     NJ 07204‐2016
MICHAEL JACKOWSKI             8180 HEPLER DR                                                                      NEWAYGO          MI 49337‐9557
MICHAEL JACKSON               9092 E 600 S                                                                        WALTON           IN 46994
MICHAEL JACKSON               9535 TIMBERLINE DR                                                                  INDIANAPOLIS     IN 46256‐4723
MICHAEL JACKSON               9498 N 350 W                                                                        ALEXANDRIA       IN 46001‐8429
MICHAEL JACKSON               701 LAKEVIEW DR                                                                     NOBLESVILLE      IN 46060‐1218
MICHAEL JACKSON               2634 NE RIVER RD                                                                    LAKE MILTON      OH 44429‐9780
MICHAEL JACKSON               5682 SODERQUIST RD                                                                  MANCELONA        MI 49659‐8684
MICHAEL JACKSON               5397 AMENO LN                                                                       SWARTZ CREEK     MI 48473‐8830
MICHAEL JACKSON               4175 S VASSAR RD                                                                    DAVISON          MI 48423‐2423
MICHAEL JACKSON               909 WILSON BLVD                                                                     SAINT LOUIS      MI 48880‐1119
MICHAEL JACKSON               978 BERWICK BLVD                                                                    PONTIAC          MI 48341‐2319
MICHAEL JACKSON               6045 GREEN BANK DR                                                                  GRAND BLANC      MI 48439‐9429
MICHAEL JACKSON               1404 MAPLEWOOD COURT                                                                YOUNGSTOWN       OH 44505‐5209
MICHAEL JACKSON               6650 WESTVIEW DR                                                                    LAINGSBURG       MI 48848‐9489
MICHAEL JACKSON               PO BOX 511415                                                                       LIVONIA          MI 48151‐7415
MICHAEL JACKSON               7000 S WALKER AVE APT 31                                                            OKLAHOMA CITY    OK 73139‐7207
MICHAEL JACKSON               310 S CHERRY ST                                                                     TROY             OH 45373
MICHAEL JACOB                 907 PEARSON DR                                                                      ROSWELL          NM 88201‐1167
MICHAEL JACOBS                6698 SANDYWELL DR                                                                   TEMPERANCE       MI 48182‐1335
MICHAEL JACOBS                210 KIMBERLY DRIVE                                                                  PRUDENVILLE      MI 48651‐9313
MICHAEL JACOBS                2006 MOUNT VERNON CT                                                                POTTERVILLE      MI 48876‐9526
MICHAEL JACOBS                424 ZION HILL RD                                                                    UNIONVILLE       TN 37180‐8719
MICHAEL JACOBS                204 IROQUOIS AVE                                                                    PRUDENVILLE      MI 48651‐9707
MICHAEL JACOBS                2886 MAURER RD                                                                      CHARLOTTE        MI 48813‐8514
MICHAEL JACOBS                8985 REED RD                                                                        NEW LOTHROP      MI 48460‐9702
MICHAEL JACOBS                12023 WOODLAND PARK DR NE                                                           BELDING          MI 48809‐9368
MICHAEL JACOBS                10 WILMINGTON AVENUE APT 218C                                                       DAYTON           OH 45420‐4809
MICHAEL JACOBSON              3105 N BURDICK RD                                                                   JANESVILLE       WI 53548‐9059
MICHAEL JACZYN                3219 SARATOGA AVE                                                                   CLEVELAND        OH 44109‐4979
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Name                            Address1                         Address2                       Address3              Address4                City                State Zip
MICHAEL JAFFE
MICHAEL JAFFKE                  2091 LONE BIRCH DR                                                                                            WATERFORD           MI 48329‐4726
MICHAEL JAGEMAN                 3870 NORTHWOODS CT NE UNIT 6                                                                                  WARREN              OH 44483‐4586
MICHAEL JAGEMAN                 UNIT 6                           3870 NORTHWOODS CT NORTHEAST                                                 WARREN              OH 44483‐4586

MICHAEL JAHN                    2056 ALBERTA ST                                                                                               WESTLAND             MI 48186‐4666
MICHAEL JAHNE                   AM PFORTENER BAHNHOF 40
MICHAEL JAHNE AND DIANA JAHNE   AM PFORTENER BAHNHOF 40                                                               GERA DE 07546 GERMANY
MICHAEL JAKUBOWSKI
MICHAEL JALOSZYNSKI             885 AHEARN CT                                                                                                 SUWANEE             GA    30024‐3504
MICHAEL JAMES                   1310 BIRD RD                                                                                                  EARLVILLE           NY    13332‐2626
MICHAEL JAMES                   6209 LITTLE RICHMOND RD                                                                                       DAYTON              OH    45426‐3231
MICHAEL JAMES                   7804 S COUNTRY CLUB DR                                                                                        OKLAHOMA CITY       OK    73159‐4916
MICHAEL JAMES                   PO BOX 123                       118 MCINTOSH LN                                                              REELSVILLE          IN    46171‐0123
MICHAEL JAMES                   1501 BRADSHAW DR                                                                                              COLUMBIA            TN    38401‐8647
MICHAEL JAMES                   26153 ANNAPOLIS ST                                                                                            DEARBORN HEIGHTS    MI    48125‐1434
MICHAEL JAMES                   PO BOX 203                                                                                                    AU GRES             MI    48703‐0203
MICHAEL JAMES                   1620 HAYES DENTON RD                                                                                          COLUMBIA            TN    38401‐8199
MICHAEL JAMES                   511 W STEWART AVE                                                                                             FLINT               MI    48505‐3207
MICHAEL JAMES                   1029 LORENE AVE                                                                                               MOUNT MORRIS        MI    48458‐2111
MICHAEL JAMES                   49505 HELMSLEY DR                                                                                             MACOMB              MI    48044‐1761
MICHAEL JAMES                   5816 WEDGWORTH RD                                                                                             FORT WORTH          TX    76133‐3627
MICHAEL JAMES                   6113 DEXTER ST                                                                                                ROMULUS             MI    48174‐1829
MICHAEL JAMES                   327 STORMY RIDGE PL                                                                                           FORT WAYNE          IN    46804‐6430
MICHAEL JAMES                   2634 MARTIN WAY                                                                                               WHITE BEAR LAKE     MN    55110
MICHAEL JAMES & LAURA L MOORE   31275 BIG RIVER WAY                                                                                           COARSEGOLD          CA    93614
MICHAEL JAMES GOODWIN           2915 FOREST GROVE AVE                                                                                         DAYTON              OH    45406
MICHAEL JANCZEWSKI              2069 REINHARDT ST                                                                                             SAGINAW             MI    48604‐2431
MICHAEL JANDA                   430 MAIN ST                                                                                                   TONAWANDA           NY    14150‐3816
MICHAEL JANDRON                 670 MEISNER RD                                                                                                EAST CHINA          MI    48054‐4131
MICHAEL JANECZKO                PO BOX 389240                                                                                                 CHICAGO             IL    60638‐9240
MICHAEL JANES                   4835 PLANTATION ST                                                                                            ANDERSON            IN    46013‐2895
MICHAEL JANIK                   5601 GOLDEN GLOW                                                                                              BOUGERE             LA    71112
MICHAEL JANKOVIAK               4576 CHURCHHILL DR                                                                                            LESLIE              MI    49251
MICHAEL JANKOWSKI               801 JOSEPH ST                                                                                                 BAY CITY            MI    48706‐5507
MICHAEL JANSEN                  2664 MICAWBER DR                                                                                              SHELBY TOWNSHIP     MI    48316‐4875
MICHAEL JAPENGA                 25513 MCALLISTER ST                                                                                           SOUTHFIELD          MI    48033‐5230
MICHAEL JAPOWICZ                21710 LANSE ST                                                                                                ST CLAIR SHRS       MI    48081‐2756
MICHAEL JARONEK                 2721 SW 116TH ST                                                                                              OKLAHOMA CITY       OK    73170‐2644
MICHAEL JAROSZYK                3036 STERLING RD                                                                                              OMER                MI    48749‐9722
MICHAEL JAROUS                  10747 NIXON RD                                                                                                GRAND LEDGE         MI    48837‐8404
MICHAEL JARRARD                 68 MELINDA PL                                                                                                 BEDFORD             IN    47421‐9281
MICHAEL JARRETT                 1902 HOUSEL CRAFT RD                                                                                          BRISTOLVILLE        OH    44402‐9650
MICHAEL JARVIS                  2755 MILLVILLE RD                                                                                             LAPEER              MI    48446‐9052
MICHAEL JASKIEWICZ              6701 N WELLING RD                                                                                             SAINT JOHNS         MI    48879‐8442
MICHAEL JASKIEWICZ              10131 E RICHFIELD RD                                                                                          DAVISON             MI    48423‐8418
MICHAEL JAUDON                  28 EDITH ST                                                                                                   DAYTON              OH    45409
MICHAEL JAVOR                   4749 HARPETH PEYTONSVILLE RD                                                                                  THOMPSONS STATION   TN    37179‐9206
MICHAEL JAY ZUCKER TTEE         RYTE OPTICAL INC DEF BEN PEN P   U/A DTD 05/01/1998             965 W EUCALYPTUS PL                           TUCSON              AZ    85704‐4136
MICHAEL JEFF                    PO BOX 16437                                                                                                  SOUTH LAKE TAHOE    CA    96151‐6437
MICHAEL JEFFERS                 1600 WOODBERRY DR                                                                                             ZANESVILLE          OH    43701‐7547
MICHAEL JEFFERS                 17179 HOLLY SHORES DR                                                                                         HOLLY               MI    48442‐1842
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Name                                 Address1                          Address2                      Address3   Address4         City              State Zip
MICHAEL JEFFERSON                    1007 W RIDGEWAY AVE                                                                         FLINT              MI 48505‐5141
MICHAEL JEFFERSON                    1038 TURRILL RD                                                                             LAPEER             MI 48446‐3719
MICHAEL JEFFRIES                     6637 E COUNTY RD                  600S                                                      PLAINFIELD         IN 46168
MICHAEL JENDRASIAK                   1414 RECTOR ST NE                                                                           SPARTA             MI 49345‐8362
MICHAEL JENKINS                      5879 FARMERSVILLE W. CARROLLTON                                                             MIAMISBURG         OH 45342
MICHAEL JENKINS                      4341 FRANKLIN TRL                                                                           STERLING           MI 48659‐9405
MICHAEL JENKINS                      261 JACKSON COVE RD                                                                         SOMERVILLE         AL 35670‐6866
MICHAEL JENKINS                      350 WOODVIEW ROAD                                                                           BYHALIA            MS 38611‐8224
MICHAEL JENKINS                      22460 KENWYCK DR                                                                            SOUTHFIELD         MI 48034‐2125
MICHAEL JENNINGS                     C/O WEITZ & LUXENBERG PC          700 BROADWAY                                              NEW YORK CITY      NY 10003
MICHAEL JENNINGS                     1115 S FIELDVIEW LOOP                                                                       LECANTO            FL 34461‐8380
MICHAEL JENNINGS                     2928 AVALON AVE NE                                                                          CANTON             OH 44705‐4156
MICHAEL JENNINGS                     5574 NEW BURLINGTON RD                                                                      WILMINGTON         OH 45177‐9031
MICHAEL JENNINGS                     1833 MONET DR                                                                               FORT WAYNE         IN 46845‐9542
MICHAEL JENO                         37326 GREGORY DR                                                                            STERLING HTS       MI 48312‐1922
MICHAEL JENSEN                       7850 N WOODARD LK R                                                                         FENWICK            MI 48834
MICHAEL JENSENIUS                    3274 W BARNES LAKE RD                                                                       COLUMBIAVILLE      MI 48421‐9364
MICHAEL JERZEWSKI                    47 LOCKHART CIR                                                                             AMHERST            NY 14228‐3728
MICHAEL JESIEL                       27420 MILTON AVE                                                                            WARREN             MI 48092‐4540
MICHAEL JESKE                        9985 BURGESS CT                                                                             WHITE LAKE         MI 48386‐2809
MICHAEL JESS COMPKINS LIVING TRUST   2731 AVERY RD                                                                               ST JOHNS           MI 48879‐9047

MICHAEL JESSE                        10024 S ROSS AVE                                                                            OKLAHOMA CITY     OK   73159‐7227
MICHAEL JESSIE                       16801 N 150 E                                                                               SUMMITVILLE       IN   46070‐9117
MICHAEL JESSOP                       3699 HATFIELD DR                                                                            WATERFORD         MI   48329‐1736
MICHAEL JESTER                       BEVAN & ASSOCIATES, LPA, INC.     6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.       OH   44236
MICHAEL JETT                         PO BOX 23                                                                                   S WILMINGTON      IL   60474‐0023
MICHAEL JEWELL                       2290 WOODROW WILSON BLVD APT 10                                                             WEST BLOOMFIELD   MI   48324‐1707
MICHAEL JEWELL                       200 LINK RD                                                                                 REIDSVILLE        NC   27320‐9104
MICHAEL JEWELL                       201 WARREN ST                                                                               CHARLOTTE         MI   48813‐1911
MICHAEL JEWELL                       12105 CAMPOBONITO DR                                                                        SPARTA            MI   49345‐8536
MICHAEL JEZIORSKI                    418 BROWNING DR                                                                             HOWELL            MI   48843‐2061
MICHAEL JEZOWSKI                     205 W ANDERSON RD                                                                           LINWOOD           MI   48634‐9771
MICHAEL JIANNINEY                    11 GODWIN RD                                                                                NEW CASTLE        DE   19720‐1713
MICHAEL JIMENEZ                      2 N 80TH TER                                                                                KANSAS CITY       KS   66111‐3050
MICHAEL JIRASEK                      47640 EDINBOROUGH LN                                                                        NOVI              MI   48374‐3457
MICHAEL JOANETTE                     8485 RIVERSIDE RD                                                                           BROOKLYN          MI   49230‐8351
MICHAEL JOE L (667799)               GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA   23510
                                                                       STREET, SUITE 600
MICHAEL JOHNS                        G‐4233 E CARPENTER RD                                                                       FLINT             MI   48506
MICHAEL JOHNS                        915 TAYWOOD RD                                                                              ENGLEWOOD         OH   45322‐2402
MICHAEL JOHNS                        915 TAYWOOD                                                                                 ENGLEWOOD         OH   45322‐2402
MICHAEL JOHNSON                      17345 SAINT JAMES RD                                                                        BROOKFIELD        WI   53045‐2055
MICHAEL JOHNSON
MICHAEL JOHNSON                      925 W SHAFFMASTER AVE                                                                       CEDARVILLE        MI   49719‐9761
MICHAEL JOHNSON                      1090 VALLEY VIEW LN                                                                         ORTONVILLE        MI   48462‐9288
MICHAEL JOHNSON                      2394 IVANHOE DR                                                                             WEST BLOOMFIELD   MI   48324‐1737
MICHAEL JOHNSON                      637 WOOD CREST ST                                                                           MOORE             OK   73160‐6043
MICHAEL JOHNSON                      2617 W WINSFORD ST                                                                          LANSING           MI   48911‐3470
MICHAEL JOHNSON                      1801 TIM DR                                                                                 OKLAHOMA CITY     OK   73141‐4427
MICHAEL JOHNSON                      429 W FLINT PARK BLVD                                                                       FLINT             MI   48505‐6310
MICHAEL JOHNSON                      6905 DARYLL DR                                                                              FLINT             MI   48505‐5416
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Name                 Address1                        Address2                     Address3   Address4         City             State Zip
MICHAEL JOHNSON      6127 WOODLAND DR                                                                         GRAND BLANC       MI 48439‐4880
MICHAEL JOHNSON      528 QUEEN ANN DR                                                                         HAZELWOOD         MO 63042‐3588
MICHAEL JOHNSON      W306S8594 STONERIDGE DR                                                                  MUKWONAGO         WI 53149‐8844
MICHAEL JOHNSON      G9143 POTTER RD                                                                          FLUSHING          MI 48433
MICHAEL JOHNSON      2831 VERMONT R 1                                                                         LANSING           MI 48906
MICHAEL JOHNSON      1205 S MEARS AVE                                                                         WHITEHALL         MI 49461‐1732
MICHAEL JOHNSON      6822 MADDEN RD                                                                           DEXTER            MI 48130‐9573
MICHAEL JOHNSON      68072 EAGLE DR                                                                           PAW PAW           MI 49079‐9761
MICHAEL JOHNSON      4290 BROOKHILL LN                                                                        DAYTON            OH 45405‐1128
MICHAEL JOHNSON      218 SHELTON BLVD                                                                         EASTLAKE          OH 44095‐1069
MICHAEL JOHNSON      7110 CHURCHLAND ST                                                                       PITTSBURGH        PA 15206‐1218
MICHAEL JOHNSON      15292 COUNTY ROAD 149                                                                    DEFIANCE          OH 43512‐9313
MICHAEL JOHNSON      2459 MAIN ST APT 304                                                                     ANDERSON          IN 46016‐5149
MICHAEL JOHNSON      PO BOX 9022                                                                              WARREN            MI 48090‐9022
MICHAEL JOHNSON      18526 SOUTHAMPTON ST                                                                     LIVONIA           MI 48152‐3089
MICHAEL JOHNSON      PO BOX 115226                                                                            ATLANTA           GA 30310‐8226
MICHAEL JOHNSON      4774 PENNINGTON CT                                                                       INDIANAPOLIS      IN 46254‐9651
MICHAEL JOHNSON      9005 FERNHILL AVE                                                                        PARMA             OH 44129‐2025
MICHAEL JOHNSON      11274 HARWOOD RD                                                                         LAKE ODESSA       MI 48849‐9545
MICHAEL JOHNSON      19928 RUSSELL ST                                                                         DETROIT           MI 48203‐1230
MICHAEL JOHNSON      2753 BOWMAN ST. RD.                                                                      MANSFIELD         OH 44903
MICHAEL JOHNSON      318 JOHN R RD.#273                                                                       TROY              MI 48083
MICHAEL JOHNSON      PO BOX 731                                                                               FLINT             MI 48501‐0731
MICHAEL JOHNSON      6311 SHERWOOD RD                                                                         FOWLERVILLE       MI 48836‐9749
MICHAEL JOHNSON      2101 MOORESVILLE HWY APT 1402                                                            LEWISBURG         TN 37091‐4607
MICHAEL JOHNSON      260 N FROMHOLTZ RD                                                                       BRODHEAD          WI 53520‐9027
MICHAEL JOHNSON      3073 MISTY CREEK DR                                                                      SWARTZ CREEK      MI 48473‐8628
MICHAEL JOHNSON      BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MICHAEL JOHNSON SR   16848 E 2750 NORTH RD                                                                    DANVILLE           IL 61834‐6047
MICHAEL JOHNSTON     1055 OHLTOWN RD                                                                          YOUNGSTOWN        OH 44515‐1023
MICHAEL JOHNSTON     PO BOX 796                                                                               STOCKTON          MO 65785‐0796
MICHAEL JOHNSTON     1702 EAGLE TRL                                                                           OXFORD            MI 48371‐6064
MICHAEL JOLLEY       2424 N ARAGON AVE                                                                        KETTERING         OH 45420‐3712
MICHAEL JOLLEY       823 MONTEVIDEO DR APT 22                                                                 LANSING           MI 48917‐4829
MICHAEL JONAS        1007 STERLING CT                                                                         BAY CITY          MI 48706‐3974
MICHAEL JONES        6716 AURORA DR                                                                           TROY              MI 48098‐2080
MICHAEL JONES        251 WIESEN LN                                                                            MORAINE           OH 45418‐2946
MICHAEL JONES        9161 SPRING RUN BLVD APT 1707                                                            BONITA SPRINGS    FL 34135‐4055
MICHAEL JONES        4850 E EXCHANGE RD                                                                       BANCROFT          MI 48414‐9211
MICHAEL JONES        17750 ROUND LAKE RD                                                                      BIG RAPIDS        MI 49307‐9333
MICHAEL JONES        6615 N HAMPSHIRE DR                                                                      HOLLY             MI 48442‐8854
MICHAEL JONES        2650 BEECH HILL RD                                                                       PULASKI           TN 38478‐7203
MICHAEL JONES        PO BOX 10131                                                                             BOWLING GREEN     KY 42102‐4731
MICHAEL JONES        751 E 1050 S                                                                             FAIRMOUNT         IN 46928‐9297
MICHAEL JONES        1205 N COUNTY ROAD 650 E                                                                 SELMA             IN 47383‐9408
MICHAEL JONES        1510 N JEFFERSON ST                                                                      HARTFORD CITY     IN 47348‐1058
MICHAEL JONES        172 W 500 N                                                                              ANDERSON          IN 46012‐9500
MICHAEL JONES        3513 CLEARY AVE                                                                          JOLIET             IL 60431‐2811
MICHAEL JONES        PO BOX 192                                                                               BIG SANDY         TN 38221‐0192
MICHAEL JONES        3190 CARSON HWY                                                                          ADRIAN            MI 49221‐1119
MICHAEL JONES        630 SMITH ELLIS RD                                                                       HILHAM            TN 38568‐5851
MICHAEL JONES        2776 MILLINGTON RD                                                                       MILLINGTON        MI 48746‐9609
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Name                        Address1                           Address2                          Address3   Address4         City               State Zip
MICHAEL JONES               1621 N WHEATON RD                                                                                CHARLOTTE           MI 48813‐8601
MICHAEL JONES               944 E 218TH ST                                                                                   EUCLID              OH 44119‐2424
MICHAEL JONES               2305 MASON ST                                                                                    FLINT               MI 48505‐4115
MICHAEL JONES               4490 N SQUIRREL RD                                                                               AUBURN HILLS        MI 48326‐1836
MICHAEL JONES               3928 PALACE AVE                                                                                  CANTON              MI 48188‐7205
MICHAEL JONES               45475 MUIRFIELD DRIVE                                                                            CANTON              MI 48188‐1098
MICHAEL JONES               11700 E COUNTY ROAD 125 S                                                                        SELMA               IN 47383‐9324
MICHAEL JONES               1695 E 1000 N                                                                                    PENDLETON           IN 46064‐9418
MICHAEL JONES               4415 NW DMONS DR APT D                                                                           RIVERSIDE           MO 64150‐1250
MICHAEL JONES               15561 DEERFIELD AVE                                                                              EASTPOINTE          MI 48021‐1609
MICHAEL JONES               2175 BECKENHAM PL                                                                                DACULA              GA 30019‐6820
MICHAEL JONES               7121 BAHAMA CT                                                                                   N RICHLND HLS       TX 76180‐6102
MICHAEL JONES               315 N FRIERSON ST                                                                                COLUMBIA            TN 38401‐2721
MICHAEL JONES               212 MACARTHUR RD                                                                                 WOONSOCKET           RI 02895‐3840
MICHAEL JONES               7253 COPPER CREEK DR                                                                             YPSILANTI           MI 48197‐9585
MICHAEL JONES               2375 STEPPING STONE PASS                                                                         FLUSHING            MI 48433‐2589
MICHAEL JONES               RICHARDSON, PATRICK, WESTBROOK AND 1730 JACKSON ST ‐ POST OFFICE BOX                             BARNWELL            SC 29812
                            BRICKMAN LLC                       1368
MICHAEL JORDAN              768 PROVINCETOWN RD                                                                              AUBURN HILLS       MI   48326‐3444
MICHAEL JORDAN              1027 HICKORY HILL CT                                                                             ROCHESTER HILLS    MI   48309‐1783
MICHAEL JORDAN              531 ARBOR STATION DR                                                                             LONG BEACH         MS   39560‐5740
MICHAEL JORDAN              307 SPRING DAY CT                                                                                LAKE ST LOUIS      MO   63367‐1963
MICHAEL JOSEFCHUK           24786 W MIDDLE FORK RD                                                                           BARRINGTON         IL   60010‐2440
MICHAEL JOSEPH              6335 WALDON WOODS DR                                                                             CLARKSTON          MI   48346‐2483
MICHAEL JOSEPH              3983 MEANDER DR                                                                                  MINERAL RIDGE      OH   44440‐9012
MICHAEL JOSEPH              7215 GLEN TERRA DR                                                                               LANSING            MI   48917‐8831
MICHAEL JOSEPH KEARNS
MICHAEL JOSEPH LOWMAN, II   5932 CHAMBERSBURG RD                                                                             HUBER HEIGHTS      OH   45424‐3853
MICHAEL JOSEPH SCHINDLER    233 FOOTHILL DRIVE                                                                               BROOKVILLE         OH   45309‐1514
MICHAEL JOSTOCK             1810 PACE DR NW                                                                                  PALM BAY           FL   32907‐7069
MICHAEL JOURNEY             313 NELSON PARK CIR                                                                              MOORE              OK   73160‐8118
MICHAEL JOYCE               5514 GERMANTOWN PIKE                                                                             DAYTON             OH   45418‐1808
MICHAEL JR, CHARLES L       5816 CHERRYWOOD APT 2204             CHIMNEY HILL APTS                                           WEST BLOOMFIELD    MI   48322‐4526
MICHAEL JR, MARVIN B        55 TAMMY LN                                                                                      MARTINSBURG        WV   25405‐5867
MICHAEL JUDD                9925 MOORISH RD                                                                                  BIRCH RUN          MI   48415‐8781
MICHAEL JUEN                9269 PARK PL                                                                                     SWARTZ CREEK       MI   48473‐8530
MICHAEL JUHOLA              9851 E COLE RD                                                                                   DURAND             MI   48429‐9464
MICHAEL JULIANO             30 TWYLA PL                                                                                      BUFFALO            NY   14223‐1527
MICHAEL JUNE                6305 N OAK RD                                                                                    DAVISON            MI   48423‐9385
MICHAEL JUNTUNEN            PO BOX 444                                                                                       SUTTONS BAY        MI   49682‐0444
MICHAEL JURDZY              6204 CORNWALLIS DR APT 3A                                                                        FORT WAYNE         IN   46804‐8373
MICHAEL JUSTICE             214 W NORTH D ST                                                                                 GAS CITY           IN   46933‐1082
MICHAEL JUSTICE             1234 S MAIN ST                                                                                   KOKOMO             IN   46902‐1606
MICHAEL JUSTICE             21100 WASSON RD                                                                                  GREGORY            MI   48137‐9476
MICHAEL JUSTIN              PO BOX 471                                                                                       ATLANTA            MI   49709‐0471
MICHAEL JUSZKIEWICZ         6004 N SEYMOUR RD                                                                                OWOSSO             MI   48867‐9457
MICHAEL JUTILA              34770 BUNKER HILL DR                                                                             FARMINGTON HILLS   MI   48331‐3231
MICHAEL K ADAMS             1370 GRACELAND DR                                                                                FAIRBORN           OH   45324
MICHAEL K ALBRECHT          4526 16 MILE RD NE                                                                               CEDAR SPRINGS      MI   49319‐9406
MICHAEL K BROWN             605 BRYANT STREET                                                                                BROOKHAVEN         MS   39601‐4308
MICHAEL K BROWNLEE          PO BOX 937                                                                                       MOUNT CLEMENS      MI   48046‐0937
MICHAEL K BUTLER            4500 SUNSET AVE                                                                                  LOUISVILLE         KY   40211
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Name                                Address1                         Address2                      Address3                 Address4               City               State Zip
MICHAEL K DUDEK                     28937 BROADMOOR ST                                                                                             LIVONIA             MI 48154‐3305
MICHAEL K DURHAM                    510 FLORAL ACRES DRIVE                                                                                         TIPP CITY           OH 45371
MICHAEL K EWALD                     5321 SHREEVES RD                                                                                               FAIRGROVE           MI 48733
MICHAEL K FERRELL                   2412 SUNCREST DR                                                                                               FLINT               MI 48504‐8405
MICHAEL K FLOYD                     702 HOLLY                                                                                                      ST PAUL             MN 55104‐7193
MICHAEL K FORD                      17814 DOWNEY AVENUE                                                                                            BELLFLOWER          CA 90706‐6314
MICHAEL K GARRISON                  123 ST. ANDREWS                                                                                                CORTLAND            OH 44410‐8721
MICHAEL K GINN                      421 S MAIN ST                                                                                                  MIAMISBURG          OH 45342
MICHAEL K HALL                      20410 MARK TWAIN ST                                                                                            DETROIT             MI 48235‐1615
MICHAEL K HAMMON                    2338 HOWE RD                                                                                                   BURTON              MI 48519‐1132
MICHAEL K HANGEN                    107 SIERRA LANE                                                                                                ARCANUM             OH 45304
MICHAEL K HEFELFINGER               985 N UNION RD                                                                                                 CLAYTON             OH 45315‐8804
MICHAEL K JENKINS                   350 WOODVIEW ROAD                                                                                              BYHALIA             MS 38611‐8224
MICHAEL K LANE                      1649 CHURCH ST                                                                                                 DETROIT             MI 48216‐1524
MICHAEL K MARKOVICH                 1833 CANAVAN DR                                                                                                POLAND              OH 44514‐1408
MICHAEL K MARUSKA                   4441 OMEGA DR                                                                                                  MIDLOTHIAN          TX 76065‐4564
MICHAEL K QUACH                     1635 KATHY MARIE CT                                                                                            XENIA               OH 45385
MICHAEL K RANDOLPH                  PO BOX 130                                                                                                     MEDWAY              OH 45341
MICHAEL K RISK                      219 JONES RD                                                                                                   MARSHALL            TX 75670‐5722
MICHAEL K ROBERTS                   905 MAIDEN LA                                                                                                  ROCHESTER           NY 14615‐1123
MICHAEL K SCHULTZ                   1952 HARRIET LN                                                                                                ANAHEIM             CA 92804‐6005
MICHAEL K SHAVER                    1130 SMITHSONIAN AVE                                                                                           YOUNGSTOWN          OH 44505
MICHAEL K SMITH                     3790 KINGSWOOD DR                                                                                              KETTERING           OH 45429‐4320
MICHAEL K SPRAY                     334 S 5TH ST                                                                                                   CARSON CITY         MI 48811‐9655
MICHAEL K STALLINGS                 170 S ROCK RD                                                                                                  MANSFIELD           OH 44903‐6940
MICHAEL K UTZ                       80 GLENCROFT PL                                                                                                CENTERVILLE         OH 45459
MICHAEL K WAITE                     603 E MOLLOY RD                                                                                                SYRACUSE            NY 13211‐1645
MICHAEL K WILLIAMSON                5119 FREIERMUTH RD                                                                                             STOCKBRIDGE         MI 49285‐9507
MICHAEL K WINFIELD                  7096 STOCK RD                                                                                                  W ALEXANDRIA        OH 45381‐9554
MICHAEL K. WALKER                   MICHAEL K. WALKER                301 W STADIUM AVE APT 5                                                       WEST LAFAYETTE      IN 47906‐2673
MICHAEL KACHINSKI                   12601 STONERIDGE LN APT 201                                                                                    SOUTH ROCKWOOD      MI 48179‐9577
MICHAEL KACHMAN III                 19741 SYCAMORE DR                                                                                              MACOMB              MI 48044‐5724
MICHAEL KACIK                       511 ASHLEY AVE                                                                                                 YOUNGSTOWN          OH 44509‐1713
MICHAEL KACZMAR                     30469 ROCKSHIRE AVE                                                                                            FARMINGTON HILLS    MI 48334‐4628
MICHAEL KACZMARCZYK                 12805 HAWKINS RD                                                                                               BURT                MI 48417‐9621
MICHAEL KACZMAREK                   4980 CORALBERRY RD                                                                                             SAGINAW             MI 48604‐9521
MICHAEL KACZMAREK                   7760 PRINCETON CT                                                                                              WESTLAND            MI 48185‐7608
MICHAEL KACZOROWSKI
MICHAEL KADOSH V. WAL‐MART CANADA   C/O IRVING MITCHELL KALICHMAN,   PLACE ALEXIS NIHON, TOWER 2   3500 DE MAISONNEUVE BLVD MONTREAL, QUEBEC H3Z
                                    S.E.N.C.R.L. LLP                                               W, STE 1400              3C1
MICHAEL KAECKMEISTER                218 SHEPARD ST                                                                                                 SAGINAW            MI   48604‐1225
MICHAEL KAHLE                       PO BOX 538                                                                                                     KALIDA             OH   45853‐0538
MICHAEL KAHLE                       5369 RUSTIC HILLS DR                                                                                           MEDINA             OH   44256‐8784
MICHAEL KAHLER                      14359 MIRAMAR PARKWAY            #251                                                                          MIRAMAR            FL   33027
MICHAEL KAHLER                      JFASLJJFJ 22                                                                                                                      AK
MICHAEL KAHN                        2991 EDGEFIELD DR                                                                                              WATERFORD          MI   48328‐3210
MICHAEL KAIN JR                     4240 ZACHS CT                                                                                                  MIDLOTHIAN         TX   76065‐3706
MICHAEL KAISER                      1338 FOX FARM DR                                                                                               ALPENA             MI   49707‐4346
MICHAEL KAISER                      7541 APT. 3 COUNTY ROAD 151                                                                                    PAULDING           OH   45879
MICHAEL KAISER                      1234 SUTTER STREET                                                                                             SAN FRANCISCO      CA   94115
MICHAEL KALAMETS                    11062 THOMAS DRIVE                                                                                             SALEM              OH   44460
MICHAEL KALBFLEISCH                 858 INGLEWOOD AVE                                                                                              PONTIAC            MI   48340‐2313
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Name                     Address1                         Address2                     Address3   Address4            City               State Zip
MICHAEL KALCIC           PO BOX 28753                                                                                 KANSAS CITY         MO 64188‐8753
MICHAEL KALICZYNSKI      61 WEBER AVE                                                                                 SAYREVILLE          NJ 08872‐1065
MICHAEL KALINSKI         2517 JANELLE DR                                                                              SPARKS              NV 89431‐2441
MICHAEL KALLIN           3718 LEITH ST                                                                                FLINT               MI 48506‐3159
MICHAEL KALOUSTIAN       50449 KNIGHTSBRIDGE DR                                                                       MACOMB              MI 48044‐6339
MICHAEL KAM              27 DONALD DR                                                                                 N TONAWANDA         NY 14120‐4203
MICHAEL KAMINSKI         219 ELLSWORTH ST                                                                             ISELIN              NJ 08830‐2433
MICHAEL KAMINSKI JR      68453 OAK RIDGE CIR                                                                          RICHMOND            MI 48062‐1668
MICHAEL KAMMER           20649 DIANE CIR                                                                              STRONGSVILLE        OH 44149‐8534
MICHAEL KANDEA           326 CLOVERLAND DR                                                                            LANSING             MI 48910‐5370
MICHAEL KANE             44 TRADITIONS WAY                                                                            LAWRENCEVILLE       NJ 08648‐1590
MICHAEL KANE             4406 N 112TH ST                                                                              KANSAS CITY         KS 66109‐4708
MICHAEL KANINE           5010 CHESANING RD                                                                            CHESANING           MI 48616‐9470
MICHAEL KANOUSE          46237 LOOKOUT DR                                                                             MACOMB              MI 48044‐6240
MICHAEL KANTOR           6350 STUMPH RD APT 219                                                                       CLEVELAND           OH 44130‐2935
MICHAEL KANUSZEWSKI      3553 E KENT RD                                                                               FREELAND            MI 48623‐9409
MICHAEL KAPHENGST        69573 DEQUINDRE RD                                                                           LEONARD             MI 48367‐4425
MICHAEL KAPLAN R/O IRA   FCC AS CUSTODIAN                 45 COPPERMINE RD                                            PRINCETON           NJ 08540‐8602
MICHAEL KAPLANIS         2203 S COCHRAN RD                                                                            CHARLOTTE           MI 48813‐9102
MICHAEL KAPPAZ           4670 WHITESELL DR                                                                            TROY                MI 48085‐5023
MICHAEL KAPPELER         APT 2                            99 PATTERSON VILLAGE DRIVE                                  DAYTON              OH 45419‐4238
MICHAEL KARACIA          216 W WARREN ST                                                                              GERMANTOWN          OH 45327‐1045
MICHAEL KARAFA           1658 LARCHMONT AVE NE                                                                        WARREN              OH 44483‐3958
MICHAEL KARAGOULIS       2177 HERITAGE AVE                                                                            OKEMOS              MI 48864‐3613
MICHAEL KARAKOGLOU
MICHAEL KARAS JR         2707 SUMMIT TER                                                                              LINDEN             NJ   07036‐4833
MICHAEL KARCZMARSKI      5519 VASSAR RD                                                                               GRAND BLANC        MI   48439‐9138
MICHAEL KARDASZ          5626 GLASGOW DR                                                                              TROY               MI   48085‐3155
MICHAEL KARHOFF          14732 ROAD J                                                                                 OTTAWA             OH   45875‐9441
MICHAEL KARKAU           1627 INVERNESS AVE                                                                           LANSING            MI   48915‐1286
MICHAEL KARL             1100 BLUESTEM CT                                                                             OWOSSO             MI   48867‐2935
MICHAEL KARLAK           6282 DORCHESTER RD                                                                           LOCKPORT           NY   14094‐5906
MICHAEL KARMOL           4531 DON ST                                                                                  HOLT               MI   48842‐1107
MICHAEL KARPENKO         107 VICTORIA CT                                                                              FRANKLIN           TN   37067‐4422
MICHAEL KARPIAK          29289 EIFFEL AVE                                                                             WARREN             MI   48088‐3606
MICHAEL KARR             9269 DEBOLD KOEBEL RD                                                                        PLEASANT PLN       OH   45162‐9354
MICHAEL KARRAM           5241 POTTER RD                                                                               FLINT              MI   48506‐2154
MICHAEL KARSTI           249 SHIELDS RD                                                                               YOUNGSTOWN         OH   44512‐1920
MICHAEL KASBARIAN        6382 FAIRWOOD DR                                                                             DEARBORN HEIGHTS   MI   48127‐2849
MICHAEL KASEL            2167 S LAKEMAN DR                                                                            BELLBROOK          OH   45305‐1437
MICHAEL KASER            52276 TEN POINT DR.                                                                          MACOMB             MI   48042‐3459
MICHAEL KASPER           5441 WEEPING WILLOW DR                                                                       HUDSON             OH   44236‐4427
MICHAEL KASSANDER        PO BOX 1898                                                                                  WARREN             OH   44482‐1898
MICHAEL KASTER           1378 WEDGEWOOD DR                                                                            SALINE             MI   48176‐9290
MICHAEL KASTOR           502 E STONEPLACE DR                                                                          SANDUSKY           OH   44870‐5482
MICHAEL KASZOWSKI SR     623 STURGIS STREET                                                                           FORT WAYNE         IN   46802‐3311
MICHAEL KASZYNSKI        8955 SAINT CLAIR HWY                                                                         CASCO              MI   48064‐1314
MICHAEL KATCHKA          3204 S SASHABAW RD                                                                           OXFORD             MI   48371‐4010
MICHAEL KATERBERG        4359 COOK RD                                                                                 SWARTZ CREEK       MI   48473‐9105
MICHAEL KATES            11093 S.W. JJ HWY                                                                            SAINT JOSEPH       MO   64504
MICHAEL KAUPP            C/O MARKUS KAUPP                 BRUNNENBERGSTR 46                       72260 DORNSTETTEN
                                                                                                  GERMANY
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Name                  Address1                           Address2            Address3         Address4         City              State Zip
MICHAEL KAURICH       56688 PORTSMOUTH DR                                                                      SHELBY TWP         MI 48316‐4840
MICHAEL KAVANAGH      1037 POXSON AVE                                                                          LANSING            MI 48910‐2736
MICHAEL KAWKA         8370 CHESTERTON DR SW                                                                    BYRON CENTER       MI 49315‐9063
MICHAEL KAZARIAN      3235 HIGHWAY 15                                                                          CALHOUN            LA 71225‐8159
MICHAEL KAZNOWSKI     3376 PAULAN DR                                                                           BAY CITY           MI 48706‐2048
MICHAEL KEAN          700 CAROL ST                                                                             NEW CUMBERLAND     PA 17070
MICHAEL KEATING       55 HIGHCROFT DR                                                                          MORGANTOWN         PA 19543‐8847
MICHAEL KEDO          7038 PINE OAK LN                                                                         GREENWOOD          LA 71033‐3374
MICHAEL KEEL          8565 WINDY HILL PKWY                                                                     GRAND BLANC        MI 48439‐8960
MICHAEL KEELER        813 MAXINE ST                                                                            FLINT              MI 48503‐5317
MICHAEL KEEN          230 BENT STREAM LN                                                                       BROWNSBURG         IN 46112‐8125
MICHAEL KEENAN        18841 SARATOGA BLVD                                                                      LATHRUP VILLAGE    MI 48076‐7816
MICHAEL KEENE         5893 N OAKMONT DR                                                                        BEVERLY HILLS      FL 34465‐2367
MICHAEL KEENOY        5001 ORA ST                                                                              LANSING            MI 48910‐5353
MICHAEL KEESLING      5110 COUNTYROAD125B2                                                                     WILDWOOD           FL 74885
MICHAEL KEEVER        2012 N NEW YORK AVE                                                                      MUNCIE             IN 47304‐2765
MICHAEL KEHOE         820 3RD ST                                                                               FENTON             MI 48430‐4118
MICHAEL KEHRES        191 N WHEATON RD                                                                         CHARLOTTE          MI 48813‐8801
MICHAEL KEIDEL        1306 BLUE LAKE WAY APT B                                                                 BOWLING GREEN      KY 42104‐4430
MICHAEL KEIENBURG     FREILIGRATHSTRA▀E 9                                                                      HANNOVER                30171
MICHAEL KEIF          4128 LEDGESTONE DR                                                                       WATERFORD          MI 48329‐1543
MICHAEL KEINATH       G‐6432 E. CARPENTER RD.                                                                  FLINT              MI 48506
MICHAEL KEIPINGER     11289 VIENNA RD                                                                          MONTROSE           MI 48457‐9702
MICHAEL KEITH         PO BOX 226                                                                               DOVER              MO 64022‐0226
MICHAEL KEIZER        17209 E 41ST ST S                                                                        INDEPENDENCE       MO 64055‐3905
MICHAEL KEKEL         2611 MYAKKA MARSH LN                                                                     PORT CHARLOTTE     FL 33953‐7603
MICHAEL KEKESSY       24555 EDGEWOOD DR                                                                        NOVI               MI 48374‐2942
MICHAEL KELCH         39459 DORCHESTER CIR                                                                     CANTON             MI 48188‐5017
MICHAEL KELECAVA SR   12000 AKRON CANFIELD RD                                                                  NORTH JACKSON      OH 44451‐9722
MICHAEL KELEMAN       236 S MCNAB PKWY                                                                         SAN MANUEL         AZ 85631‐1111
MICHAEL KELLAWAY      4320 NEWBURG RD                                                                          BANCROFT           MI 48414‐9798
MICHAEL KELLER        8871 S 400 W                                                                             FAIRMOUNT          IN 46928‐9767
MICHAEL KELLER        3828 MARYLAND AVE                                                                        FLINT              MI 48506‐3163
MICHAEL KELLER        1497 MARS AVE                                                                            LAKEWOOD           OH 44107‐3820
MICHAEL KELLER        1218 W TYLER ST                                                                          GREENVILLE         MI 48838‐9101
MICHAEL KELLER        821 W SUTTON RD                                                                          METAMORA           MI 48455‐9712
MICHAEL KELLEY        2501 N MORRISON RD                                                                       MUNCIE             IN 47304‐5070
MICHAEL KELLEY        104 CLARK ST                                                                             GEORGETOWN          IL 61846‐1914
MICHAEL KELLEY        3109 TAMARRON DR                                                                         ROCHESTER HILLS    MI 48309‐1248
MICHAEL KELLEY        2170 FORTRESS DR                                                                         WATERFORD          MI 48329‐3824
MICHAEL KELLEY        1246 APACHE PASS                                                                         STREETSBORO        OH 44241‐5304
MICHAEL KELLEY        228 W FAIRMOUNT AVE                                                                      PONTIAC            MI 48340‐2740
MICHAEL KELLING       6280 COLD SPRING TRL                                                                     GRAND BLANC        MI 48439‐7969
MICHAEL KELLOGG       PO BOX 24448                                                                             INDIANAPOLIS       IN 46224‐0448
MICHAEL KELLY         12141 TOWNLINE RD                                                                        GRAND BLANC        MI 48439‐1659
MICHAEL KELLY         12786 MELODY RD                                                                          GRAND LEDGE        MI 48837‐8902
MICHAEL KELLY         12032 JUNIPER WAY                                                                        GRAND BLANC        MI 48439‐1714
MICHAEL KELLY         9950 E WASHINGTON RD                                                                     REESE              MI 48757‐9321
MICHAEL KELLY         26134 DRAKE RD                                                                           FARMINGTN HLS      MI 48331‐3847
MICHAEL KELLY         1254 EDGEWOOD ST NE                                                                      WARREN             OH 44483‐4118
MICHAEL KELLY         1830 N RUMSEY RD                                                                         OSSEO              MI 49266‐9063
MICHAEL KELLY         6168 LUCAS RD                                                                            FLINT              MI 48506‐1247
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Name                  Address1                      Address2                 Address3    Address4               City              State Zip
MICHAEL KELLY         7330 E SCHMIDT RD                                                                         FORT ATKINSON      WI 53538‐9219
MICHAEL KELLY         1335 JOLIET ST                                                                            JANESVILLE         WI 53546‐5881
MICHAEL KELLY         4015 TISBURY DR                                                                           JANESVILLE         WI 53546‐1795
MICHAEL KELLY         12 SPENCER PATH DR                                                                        SAINT PETERS       MO 63376‐2540
MICHAEL KELLY         APT 316                       4831 WESTCHESTER DRIVE                                      YOUNGSTOWN         OH 44515‐2539
MICHAEL KELLY         9940 W DIXON RD                                                                           REESE              MI 48757‐9413
MICHAEL KELLY         PO BOX 142                                                                                CLIO               MI 48420‐0142
MICHAEL KELLY         2732 SLOAN ST                                                                             FLINT              MI 48504‐3307
MICHAEL KELOW         177 FAVA DR                                                                               GREENVILLE         MS 38701‐7305
MICHAEL KEMERLY       PO BOX 194                                                                                FORTVILLE          IN 46040‐0194
MICHAEL KEMPER        10478 HALLER ST                                                                           DEFIANCE           OH 43512‐1234
MICHAEL KEMPF         1559 S IONIA RD                                                                           VERMONTVILLE       MI 49096‐9587
MICHAEL KEMPISTY JR   8821 MEGAN LN                                                                             ORLANDO            FL 32836‐6196
MICHAEL KEMPL         3238 ERIE DR                                                                              ORCHARD LAKE       MI 48324‐1514
MICHAEL KEMPPAINEN    30114 DUTCH RD                                                                            ONTONAGON          MI 49953‐9317
MICHAEL KENDALL       2937 RUBBINS RD                                                                           HOWELL             MI 48843‐7925
MICHAEL KENDALL       718 LOCUST DR                                                                             DAVISON            MI 48423‐1955
MICHAEL KENDRICK      4712 PALOMAR AVE                                                                          TROTWOOD           OH 45426‐1945
MICHAEL KENDZIUK      11122 DALE AVE                                                                            WARREN             MI 48089‐3548
MICHAEL KENEFICK      1555 RYAN RD                                                                              CARO               MI 48723‐9578
MICHAEL KENERSON      6539 SUN VALLEY DR                                                                        CLARKSTON          MI 48348‐4939
MICHAEL KENNARD       2247 MILLSBORO ROAD                                                                       MANSFIELD          OH 44906‐1338
MICHAEL KENNEDY       1030 KETTERING AVENUE                                                                     PONTIAC            MI 48340‐3259
MICHAEL KENNEDY       1003 THISTLEDOWN TRCE                                                                     CLAYTON            OH 45315‐8762
MICHAEL KENNEDY       1322 HOWARD ST                                                                            MOUNT MORRIS       MI 48458‐1750
MICHAEL KENNEDY       3623 N BURDICK RD                                                                         JANESVILLE         WI 53548‐8949
MICHAEL KENNISON      140 BROOK HILL LN                                                                         TROY               MO 63379‐3465
MICHAEL KENNY         6815 W ISLAND RD                                                                          SAINT JOHNS        MI 48879‐8525
MICHAEL KENNY         44837 RIVERGATE DR                                                                        CLINTON TWP        MI 48038‐1385
MICHAEL KENSEK        431 RUSSELL AVE                                                                           NILES              OH 44446‐3731
MICHAEL KENT          344 VINEWOOD DR N                                                                         BROWNSBURG         IN 46112‐2040
MICHAEL KENWORTHY     2443 MURPHY RD                                                                            FLINT              MI 48504‐6555
MICHAEL KEPICS JR     285 E 6TH ST                                                                              SALEM              OH 44460‐1603
MICHAEL KEPNER        2321 N 750 W                                                                              KOKOMO             IN 46901‐8507
MICHAEL KERL          6207 SHADOW RIDGE RUN                                                                     FORT WAYNE         IN 46804‐4288
MICHAEL KERN          175 W MAIN ST REAR                                                                        SHELBY             OH 44875‐1439
MICHAEL KERN          4601 GOLDEN PALOMINO LN                                                                   NORTH LAS VEGAS    NV 89032‐2435
MICHAEL KERNS         2924 BAY CITY RD                                                                          MIDLAND            MI 48642‐5921
MICHAEL KERR          345 EAST 2ND AVENUE                                                                       ALEXANDRIA         IN 46001‐8296
MICHAEL KERR          PO BOX 115                                                                                STERLING           MI 48659‐0115
MICHAEL KERRIDGE      3454 ADA DR                                                                               BAY CITY           MI 48706‐1709
MICHAEL KERRY         6360 BUTTRICK AVE SE                                                                      ALTO               MI 49302‐9708
MICHAEL KERRY         11365 BRISTOL RD                                                                          LENNON             MI 48449‐9450
MICHAEL KERSTING      PO BOX 273                                                                                WENTZVILLE         MO 63385‐0273
MICHAEL KERUL         900 S WONNELL RD                                                                          PORT CLINTON       OH 43452‐9668
MICHAEL KERWIN        22309 VERSAILLES CT                                                                       ST CLR SHORES      MI 48081‐2406
MICHAEL KESKES        14351 SWANEE BEACH DR                                                                     FENTON             MI 48430‐1463
MICHAEL KESOCK        9233 STONINGTON RD                                                                        PARMA HEIGHTS      OH 44130‐2357
MICHAEL KESSELHON     53822 OAKVIEW DR                                                                          SHELBY TWP         MI 48315‐1925
MICHAEL KESSLER       9918 CHURCH RD                                                                            HURON              OH 44839‐9300
MICHAEL KESSLER       BUCHARAINWEG 9                                                     63069 OFFENBACH/MAIN
                                                                                         GERMANY
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Name                  Address1                         Address2               Address3     Address4         City              State Zip
MICHAEL KESSLER       7022 SHAWNEE DR #36                                                                   ROMULUS            MI 48174
MICHAEL KESSLER       BUCHRAINWEG 9                    63069 OFFENBACH/MAIN   GERMANY
MICHAEL KETCHERSIDE   18305 OAK ST                                                                          GARDNER           KS   66030‐9479
MICHAEL KETRING       2010 E BOCOCK RD                                                                      MARION            IN   46952‐8799
MICHAEL KETTERER      14131 N BRAY RD                                                                       CLIO              MI   48420‐7906
MICHAEL KETTLER       14062 MONTLE RD                                                                       CLIO              MI   48420‐7903
MICHAEL KEUSCH        307 CHURCH ST                                                                         PORTLAND          MI   48875‐1145
MICHAEL KEY           1485 HIDDEN VALLEY DR SE APT 9                                                        KENTWOOD          MI   49508‐6483
MICHAEL KEYSER        1703 MOORESVILLE PIKE                                                                 CULLEOKA          TN   38451‐2730
MICHAEL KHAN          1324 RANKIN ST                                                                        TROY              MI   48083
MICHAEL KHIABANI
MICHAEL KICZAK        5420 FITZGERALD RD                                                                    SAINT CLAIR       MI   48079‐1418
MICHAEL KIDDER        PO BOX 9022                                                                           WARREN            MI   48090‐9022
MICHAEL KIEFER        1490 W FRANCES RD                                                                     MOUNT MORRIS      MI   48458‐1039
MICHAEL KIEHL         261 SOUTHWIND DR                                                                      BOWLING GREEN     KY   42104‐8550
MICHAEL KIESELBACH    1170 HUBBARD RD                                                                       MONROE            MI   48161‐9628
MICHAEL KIETZMAN      129 NORMAN DRIVE                                                                      COLORADO SPGS     CO   80911‐1452
MICHAEL KILBURN       330 LANTIS DR                                                                         CARLISLE          OH   45005‐3251
MICHAEL KILBURN       4265 COOK RD                                                                          SWARTZ CREEK      MI   48473‐9144
MICHAEL KILCORSE      7282 TWIN CANYON DR                                                                   LAMBERTVILLE      MI   48144‐9542
MICHAEL KILGALLEN     740 WELLMEIER AVE                                                                     DAYTON            OH   45410‐2729
MICHAEL KILIAN        14726 JENNY DR                                                                        WARREN            MI   48088‐1512
MICHAEL KILLEN        181 N PEAKE RD                                                                        BARTON CITY       MI   48705‐9728
MICHAEL KILLEN        10281 KILLEN RD                                                                       MERIDIAN          MS   39307‐5925
MICHAEL KILLIAN       71404 LUCILLE DR                                                                      RICHMOND          MI   48062‐4938
MICHAEL KIMBALL       4013 S VASSAR AVE                                                                     INDEPENDENCE      MO   64052‐2458
MICHAEL KIMBER        6055 CROWN PT                                                                         FLINT             MI   48506‐1627
MICHAEL KIMBERLIN     2438 I ST                                                                             BEDFORD           IN   47421‐5128
MICHAEL KIMOCK        3001 S DUCK CREEK RD                                                                  NORTH JACKSON     OH   44451‐9627
MICHAEL KINAHAN       PO BOX 34                                                                             SYRACUSE          NY   13206‐0034
MICHAEL KINDER        1566 BAUER RD                                                                         JENISON           MI   49428‐9449
MICHAEL KINDER        7001 N OAK TRFY                                                                       GLADSTONE         MO   64118‐2512
MICHAEL KING          1402 OAK ST                                                                           MELBOURNE BEACH   FL   32951‐2618
MICHAEL KING          100 E BLACKJACK BRANCH WAY                                                            JACKSONVILLE      FL   32259‐1900
MICHAEL KING          36651 MICRO RACETRACK RD                                                              FRUITLAND PK      FL   34731‐5163
MICHAEL KING          646 VAUGHN RD                                                                         LESLIE            MI   49251‐9509
MICHAEL KING          9457 PARKWOOD N                                                                       DAVISON           MI   48423‐1706
MICHAEL KING          1125 N SCATTERFIELD RD                                                                ANDERSON          IN   46012‐1842
MICHAEL KING          1757 GIRARD RD                                                                        RAYVILLE          LA   71269‐6553
MICHAEL KING          2513 N COUNTY ROAD 600 E                                                              AVON              IN   46123‐8694
MICHAEL KING          55 CHURCHILL RD                                                                       AUBURN HILLS      MI   48326‐2901
MICHAEL KING          142 PUEBLO TRL                                                                        BUCKLEY           MI   49620‐9522
MICHAEL KING          7829 DUBUQUE RD                                                                       CLARKSTON         MI   48348‐3817
MICHAEL KING          9071 COUGHLIN DR                                                                      DAVISON           MI   48423‐8921
MICHAEL KING          1979 GOLF VIEW DR                                                                     WENTZVILLE        MO   63385‐3303
MICHAEL KING          4111 DAVIS RD                                                                         NEWALLA           OK   74857‐8896
MICHAEL KING          11718 HIGHWAY 16 E                                                                    SHIRLEY           AR   72153‐8891
MICHAEL KING          8895 MIDLAND DR                                                                       GREENDALE         WI   53129‐1042
MICHAEL KING          5010 GLENROSE DR                                                                      COLUMBIA          TN   38401‐4955
MICHAEL KINKEL        2815 ROSELAWN AVE                                                                     BALTIMORE         MD   21214‐1720
MICHAEL KINLOCH       1418 HERFORD DRIVE                                                                    CANTON            MI   48187
MICHAEL KINMARTIN     19248 WEATHERVANE DR                                                                  MACOMB            MI   48044‐2884
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Name                          Address1                         Address2               Address3      Address4            City                State Zip
MICHAEL KINNANE               7225 FREED RD                                                                             BUTLER               OH 44822‐9673
MICHAEL KINOSHITA             2728 SPRECKELS LN                                                                         REDONDO BEACH        CA 90278‐5417
MICHAEL KINSEY                9325 NAVAHO DR                                                                            BRENTWOOD            TN 37027‐7447
MICHAEL KIPPEN                4649 EASTWOOD WAY                                                                         ANDERSON             IN 46017‐9633
MICHAEL KIRBY                 2018 ROUND BARN CT                                                                        ANDERSON             IN 46017‐9592
MICHAEL KIRBY                 374 RANDOLPH ST                                                                           WESTLAND             MI 48186‐3749
MICHAEL KIRBY                 16336 LAUREN ST                                                                           TAYLOR               MI 48180‐4864
MICHAEL KIRCHER               31 MAXWELL LN                                                                             MANALAPAN            NJ 07726‐2933
MICHAEL KIRK                  3608 GLENMANOR CIR                                                                        MIDWEST CITY         OK 73110‐1210
MICHAEL KIRK
MICHAEL KIRKPATRICK           1064 CHIPMUNK LN                                                                          PENDLETON           IN 46064‐9166
MICHAEL KIRNBERGER            593 MAYER RD                                                                              WALES               MI 48027‐3900
MICHAEL KIRSH                 PO BOX 59                                                                                 ONTARIO             OH 44862‐0059
MICHAEL KISCHNER              LORENA ‐ DEIHL ‐ STRAPE 16       55131 MAINZ                          DEUTSCHLAND
MICHAEL KISH                  4565 MAJOR AVE                                                                            WATERFORD           MI   48329‐1942
MICHAEL KISSEL                4312 BOWMAN STREET RD                                                                     SHELBY              OH   44875‐8806
MICHAEL KITCHEN               11235 E CARPENTER RD                                                                      DAVISON             MI   48423‐9303
MICHAEL KIVI                  9418 WINDYGAP RD                                                                          CHARLOTTE           NC   28278‐9769
MICHAEL KIYAK                 94 HARDING AVE                                                                            CLARK               NJ   07066‐2539
MICHAEL KLACIK                8920 LIDO LN                                                                              PORT RICHEY         FL   34668‐4917
MICHAEL KLACIK                8920 LIDO LN.                                                                             PORTRICHEY          FL   34668‐4917
MICHAEL KLAKULAK              3179 NICKELBY DR                                                                          SHELBY TWP          MI   48316‐4833
MICHAEL KLAMO                 1922 WOODMAR CT                                                                           HOWELL              MI   48843‐8146
MICHAEL KLAMO                 3181 DAVENPORT LN                                                                         ROCHESTER HLS       MI   48309‐4283
MICHAEL KLARMANN              KOPERNIKUSSTRA▀E 58                                                                       MANNHEIM            DE   68165
MICHAEL KLEBBA                10886 CULVER RD                                                                           BRIGHTON            MI   48114‐9067
MICHAEL KLEBER                2811 CLIFFWOOD LN                                                                         FORT WAYNE          IN   46825‐7136
MICHAEL KLEHM                 1 CIRCLE RD                                                                               DARIEN              CT   06820‐4901
MICHAEL KLEIN                 10 MILLER DR                                                                              CONKLIN             MI   49403‐9716
MICHAEL KLEIN                 10945 N 40TH ST                                                                           HICKORY CRNRS       MI   49060‐9507
MICHAEL KLEIN                 3580 JIM WARREN RD                                                                        SPRING HILL         TN   37174‐2818
MICHAEL KLEIST                907 SOUTH WILLIAMS ST.           213                                                      WESTMONT            IL   60559
MICHAEL KLEMENTS              239 VALLEY MIST DR                                                                        CLAYTON             DE   19938‐3204
MICHAEL KLEMM                 307 W CLARA ST                                                                            LINWOOD             MI   48634‐9530
MICHAEL KLEMPAY               8800 ALMONT RD                                                                            ALMONT              MI   48003‐8827
MICHAEL KLEPAC                338 MAPLE ST                                                                              PORTLAND            MI   48875‐1842
MICHAEL KLEPPER               2773 E COTTONWOOD TRL                                                                     MORRISTOWN          IN   46161‐9621
MICHAEL KLETTE                14199 BLIVEN RD                                                                           BYRON               MI   48418‐8803
MICHAEL KLIDA                 7332 SHOREWARD TRL                                                                        SOUTH BRANCH        MI   48761‐9613
MICHAEL KLIMEK                7765 BIRCKLAN DR                                                                          CANTON              MI   48187‐1064
MICHAEL KLINE                 1037 DEER CREEK TRL                                                                       GRAND BLANC         MI   48439‐9265
MICHAEL KLINE                 2420 TIFFANY LN                                                                           HOLT                MI   48842‐9777
MICHAEL KLINE JR              336 CHIPPEWA ST                                                                           CLAWSON             MI   48017‐2096
MICHAEL KLINEFELTER           110 E JACKSON ST                                                                          ALEXANDRIA          IN   46001‐1413
MICHAEL KLING                 6725 N SAINT CLAIR AVE                                                                    KANSAS CITY         MO   64151‐3901
MICHAEL KLINGELSMITH          1429 FLORENCE ST 65                                                                       NATIONAL CITY       MI   48748
MICHAEL KLINGLER              4155 N M 52                                                                               OWOSSO              MI   48867‐9467
MICHAEL KLINGLER              4350 MALTBY HILLS RD             P O BOX 93                                               SOUTH BRANCH        MI   48761‐9508
MICHAEL KLINKHAMER            4341 THOMAS DR LOT G24                                                                    PANAMA CITY BEACH   FL   32408‐7377
MICHAEL KLOC                  1257 RIDGE RD                                                                             LACKAWANNA          NY   14218‐1820
MICHAEL KLOCKOW LAW OFFICES   ATTN: MICHAEL KLOCKOW            1 N SAGINAW ST # 201                                     PONTIAC             MI   48342‐2111
MICHAEL KLOOS                 6065 CHIDESTER DR                                                                         CANFIELD            OH   44406‐9749
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Name                    Address1                         Address2            Address3        Address4         City               State Zip
MICHAEL KLOSSNER        539 CORNELIA ST                                                                       JANESVILLE          WI 53545‐2415
MICHAEL KLUCHAR         6440 TARA DR                                                                          POLAND              OH 44514‐5607
MICHAEL KLUCHAR         3508 42ND ST                                                                          CANFIELD            OH 44406‐8203
MICHAEL KLUCKA          143 MANSKER PARK DR                                                                   HENDERSONVILLE      TN 37075‐2088
MICHAEL KLUKOWSKI       303 SMITH ST APT 422                                                                  CLIO                MI 48420‐2005
MICHAEL KLUMPP          11497 KIPP RD                                                                         GOODRICH            MI 48438‐9274
MICHAEL KLUTING         3130 ARTHUR ST E                                                                      COOPERSVILLE        MI 49404‐9447
MICHAEL KLYMOCHKO       21 MARJORIE LN                                                                        HILTON              NY 14468‐9797
MICHAEL KNAACK          1296 ROCK VALLEY DR                                                                   ROCHESTER           MI 48307‐6030
MICHAEL KNAPIC          4775 CHESTNUT RIDGE RD APT 2                                                          AMHERST             NY 14228‐3342
MICHAEL KNAPKE          201 PAULY DR                                                                          CLAYTON             OH 45315‐9645
MICHAEL KNAPP           656 MAPLEWOOD AVE                                                                     BRUNSWICK           OH 44212‐1312
MICHAEL KNAPP           910 PITTSBURG LANDING DR                                                              WENTZVILLE          MO 63385‐3577
MICHAEL KNAPPEN         7270 LUPINE AVE                                                                       JENISON             MI 49428‐9721
MICHAEL KNIEBBE         460 N LINWOOD BEACH RD                                                                LINWOOD             MI 48634‐9310
MICHAEL KNIGHT          25146 HAGGERTY RD                                                                     NEW BOSTON          MI 48164‐9058
MICHAEL KNIGHT          7928 VICTORIA LN                                                                      WATERFORD           MI 48329‐4636
MICHAEL KNIGHT          7278 W HIGGINS LAKE DR                                                                ROSCOMMON           MI 48653‐8867
MICHAEL KNIGHT          4206 E MOUNT MORRIS RD                                                                MOUNT MORRIS        MI 48458‐8960
MICHAEL KNILANS         1516 WINCHESTER PL                                                                    JANESVILLE          WI 53548‐6820
MICHAEL KNIPP           1166 E COOPER DR                                                                      EDGERTON            WI 53534‐9022
MICHAEL KNIQZUK         44 ELIZABETH AVE                                                                      CRANFORD            NJ 07016
MICHAEL KNISELEY        122 RAINBOW DR # 2221                                                                 LIVINGSTON          TX 77399‐1022
MICHAEL KNOBLAUCH       HAUPTSTR. 19                     D‐79798 JESTETTEN   GERMANY
MICHAEL KNOBLOCK        241 TIMBER RIDGE DR                                                                   HIGHLAND           MI   48357‐4335
MICHAEL KNOFSKI         49344 BEMIS RD                                                                        BELLEVILLE         MI   48111‐9761
MICHAEL KNOP            13189 STAGE RD                                                                        AKRON              NY   14001‐9557
MICHAEL KNOTTS          2817 DORCHESTER DR SE                                                                 DECATUR            AL   35601‐6714
MICHAEL KNOWLTON        4319 KETTLE MORAINE DR APT 1A                                                         KALAMAZOO          MI   49048‐3151
MICHAEL KNOX            PO BOX 80633                                                                          LANSING            MI   48908‐0633
MICHAEL KNOX            13050 N LINDEN RD                                                                     CLIO               MI   48420‐8206
MICHAEL KNOX            13944 LONGACRE ST                                                                     DETROIT            MI   48227‐1355
MICHAEL KNOX            332 PRAIRIE DR                                                                        CLIMAX             MI   49034‐9789
MICHAEL KNUCKLES        1500 DARBY DR APT 104                                                                 ARLINGTON          TX   76010‐6545
MICHAEL KNUDSEN         30129 WAGNER DR                                                                       WARREN             MI   48093‐5624
MICHAEL KNUST           14631 30 MILE RD                                                                      WASHINGTON         MI   48095‐2125
MICHAEL KOBELT          4064 HAWKRIDGE DR                                                                     JANESVILLE         WI   53546‐4290
MICHAEL KOBUS           1725 CASTLEWOOD DR                                                                    MADISON HTS        MI   48071‐2266
MICHAEL KOCH            30927 WEICHMAN RD                                                                     HOLGATE            OH   43527‐9605
MICHAEL KOCHENDERFER    11217 SONJA DR                                                                        FARRAGUT           TN   37934‐2819
MICHAEL KOCHIE JR       4136 FINVILLE AVE                                                                     PALMDALE           CA   93552‐2406
MICHAEL KOCIBA          1390 COURTNEY CT                                                                      HARTLAND           MI   48353‐3460
MICHAEL KOCSIS          3509 N VASSAR RD                                                                      FLINT              MI   48506‐2226
MICHAEL KOENIGSKNECHT   524 N. WALNUT STREET             BOX 12C                                              FOWLER             MI   48835
MICHAEL KOHAN           11447 HEGEL RD                                                                        GOODRICH           MI   48438‐9775
MICHAEL KOHAN           PO BOX 67                                                                             GOODRICH           MI   48438‐0067
MICHAEL KOHLER          12277 DE GROVE DR                                                                     STERLING HTS       MI   48312‐3126
MICHAEL KOHUT           4673 MESA CT                                                                          CLARKSTON          MI   48348‐2266
MICHAEL KOIVISTO        7270 PARKWOOD DR                                                                      FENTON             MI   48430‐9209
MICHAEL KOKOSKY         C/O THE LAW OFFICES OF PETER G   100 N CHARLES ST    22ND FL                          BALTIMORE          MD   21201
                        ANGELOS
MICHAEL KOLANOWSKI      2620 ORMSBY DR                                                                        STERLING HEIGHTS   MI 48310‐6971
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Name                              Address1                          Address2          Address3         Address4         City                State Zip
MICHAEL KOLB                      516 CAYUGA RD                                                                         CHEEKTOWAGA          NY 14225‐1332
MICHAEL KOLESAR                   7155 GILLETTE RD                                                                      FLUSHING             MI 48433‐9207
MICHAEL KOLLATH                   3144 COMBINE CT                                                                       HOWELL               MI 48843‐8691
MICHAEL KOLMAN                    248 W 105TH ST APT 5D                                                                 NEW YORK             NY 10025‐3933
MICHAEL KOLOVITZ                  277 NW RHODEN GLN                                                                     LAKE CITY            FL 32055‐7103
MICHAEL KOLVEK                    750 PEPPERMILL CIR                                                                    LAPEER               MI 48446‐2677
MICHAEL KONKEL                    2779 SCOTTWOOD PL                                                                     BRIGHTON             MI 48114‐9458
MICHAEL KONRO JR                  3797 HARVARD DR                                                                       WILLOUGHBY           OH 44094‐6328
MICHAEL KONTOZOGLOU               5009 JARVIS LN                                                                        NAPLES               FL 34119‐9539
MICHAEL KONWINSKI                 21544 KINGS POINTE BLVD APT 107                                                       TRENTON              MI 48183‐7609
MICHAEL KOON                      2119 E FRANCES RD                                                                     CLIO                 MI 48420‐9767
MICHAEL KOONCE                    3531 BIG BEAR CT                                                                      WENTZVILLE           MO 63385‐3394
MICHAEL KOONTZ                    3245 CHARITY DR                                                                       STERLING HEIGHTS     MI 48310‐2947
MICHAEL KOOPMANN                  SANDBERG 91 B                     25335 ELMSHORN
MICHAEL KOOPMANN                  SANDBERG 91B                      25335 ELMSHORN
MICHAEL KOPANIC LIVING TRUST UA   250 RICHARDS DR                                                                       YOUNGSTOWN          OH 44505
11/4/96
MICHAEL KOPESKY                   11471 HEGEL RD                                                                        GOODRICH            MI   48438‐9775
MICHAEL KOPKA                     11274 CENTER ST                                                                       OTISVILLE           MI   48463‐9707
MICHAEL KOPKO                     719 WALNUT HLS                                                                        WEST HAVERSTRAW     NY   10993‐1144
MICHAEL KORDA III                 12325 LEFFINGWELL RD                                                                  BERLIN CENTER       OH   44401‐9608
MICHAEL KORDA JR                  4433 BURKEY RD                                                                        AUSTINTOWN          OH   44515‐3710
MICHAEL KORECK                    29065 SHERRY AVE                                                                      MADISON HTS         MI   48071‐4431
MICHAEL KORVUN                    5504 SALTAMONTE DR                                                                    NEW PORT RICHEY     FL   34655‐1299
MICHAEL KORYCIAK                  1902 BERKLEY ST                                                                       FLINT               MI   48504‐3437
MICHAEL KOS                       20 BENJAMIN ST                                                                        CLARK               NJ   07066‐1511
MICHAEL KOSANOVICH                965 N NEWBURGH RD                                                                     WESTLAND            MI   48185‐3222
MICHAEL KOSCH                     1776 ROAD 19A                                                                         CONTINENTAL         OH   45831‐9746
MICHAEL KOSCHO                    2631 ROBINHOOD DR                                                                     LORAIN              OH   44053‐1564
MICHAEL KOSKI                     4147 N TIPSICO LAKE RD                                                                HARTLAND            MI   48353‐1722
MICHAEL KOST                      14415 WHITE OAKS DR                                                                   LANSING             MI   48906‐1060
MICHAEL KOSTAK                    128 LOCKTOWN FLEMINGTON RD                                                            FLEMINGTON          NJ   08822‐2753
MICHAEL KOSTESICH                 15561 VALERIE DR                                                                      MACOMB              MI   48044‐2481
MICHAEL KOSTEVICKI                420 TOMS KNOB RD                                                                      SPARTA              NC   28675‐8007
MICHAEL KOTELES                   PO BOX 90024                                                                          BURTON              MI   48509‐0024
MICHAEL KOTENKO                   6055 BERT RD                                                                          UNIONVILLE          MI   48767‐9731
MICHAEL KOTESKEY                  4105 EMERALD DR                                                                       BRIDGEPORT          MI   48722‐9570
MICHAEL KOTH                      4177 SMITHLAND RD                                                                     SHELBYVILLE         IN   46176‐9670
MICHAEL KOTSONAS                  3519 LAKEVIEW DR                                                                      HIGHLAND            MI   48356‐2378
MICHAEL KOTT                      2565 CARMEL LANE                                                                      GREEN BAY           WI   54311‐5255
MICHAEL KOTTAR                    5340 OAKCREST AVE                                                                     YOUNGSTOWN          OH   44515‐4044
MICHAEL KOUVARAS                  ROETELSTRASSE 106                 8057 ZURICH
MICHAEL KOVAC                     54871 FRANKLIN DR                                                                     SHELBY TOWNSHIP     MI   48316‐1626
MICHAEL KOVACEVIC                 1068 EDMUNDSON DR                                                                     GLASSPORT           PA   15045‐1014
MICHAEL KOVALCIK                  7390 ROUTE 22 HWY E                                                                   NEW FLORENCE        PA   15944‐8242
MICHAEL KOVIACK                   18800 W SHARON RD                                                                     OAKLEY              MI   48649‐8714
MICHAEL KOWACH                    25 S OUTER DR                                                                         VIENNA              OH   44473‐9777
MICHAEL KOWAL                     4569 7TH ST                                                                           CALEDONIA           MI   49316‐9230
MICHAEL KOWALCZYK                 2131 COUNTRY WAY LN                                                                   WHITE LAKE          MI   48383‐1795
MICHAEL KOWALEC                   8159 N GENESEE RD                                                                     MOUNT MORRIS        MI   48458‐8984
MICHAEL KOWALSKI                  1140 W REFLECTION RIDGE PL                                                            ORO VALLEY          AZ   85755‐0839
MICHAEL KOWALSKI                  3486 BUSS DR                                                                          COMMERCE TOWNSHIP   MI   48390‐1212
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Name                   Address1                        Address2                     Address3   Address4              City                 State Zip
MICHAEL KOWALSKI       1058 S MCCORD                                                                                 HOLLAND               OH 43528
MICHAEL KOWALSKI       3946 ATHENS AVE                                                                               WATERFORD             MI 48329‐2124
MICHAEL KOWALSKI       4737 BRUNER DR                                                                                STERLING HTS          MI 48310‐2602
MICHAEL KOWALSKI       9304 WATERS CT                                                                                FORT WAYNE            IN 46825‐7008
MICHAEL KOZAK          8126 N DANNENBURG DR                                                                          MILTON                WI 53563‐8925
MICHAEL KOZAR          5010 JACOB RD                                                                                 GRASS LAKE            MI 49240‐9607
MICHAEL KOZEL          438 PARKDALE AVE                                                                              ROCHESTER             MI 48307‐1613
MICHAEL KOZELLE        13965 GYPSY RD                                                                                WARSAW                MO 65355‐3908
MICHAEL KOZICKI        12165 CABERFAE HWY                                                                            MANISTEE              MI 49660‐9565
MICHAEL KOZICKI        19938 DOVETAIL DR                                                                             BROWNSTOWN TWP        MI 48183‐1182
MICHAEL KOZIKOWSKI     1410 LINDEN ST                                                                                WILMINGTON            DE 19805‐3956
MICHAEL KOZLOWSKI      99 LINDHURST DR                                                                               LOCKPORT              NY 14094‐5717
MICHAEL KOZMA          61 BACON ST                                                                                   LOCKPORT              NY 14094‐4215
MICHAEL KOZMINSKE      13133 COXSWAIN COURT                                                                          HUDSON                FL 34667‐1719
MICHAEL KRAFJACK       2935 S OAKHILL AVE                                                                            JANESVILLE            WI 53546‐8920
MICHAEL KRAFT          161 DOYLE DR                                                                                  N TONAWANDA           NY 14120‐2413
MICHAEL KRAJ           13420 MARK ST                                                                                 SOUTHGATE             MI 48195‐2424
MICHAEL KRAJEWSKI      4144 KALAYNE LN                                                                               WILLIAMSVILLE         NY 14221‐7376
MICHAEL KRAMER         7639 LAUREL DR                                                                                PASADENA              MD 21122‐1911
MICHAEL KRAMER         426 BELMONT AVE                                                                               NILES                 OH 44446‐3016
MICHAEL KRAMER         6027 FORDHAM DR                                                                               SHELBY TWP            MI 48316‐2530
MICHAEL KRAMP          6136 PROSPECT ST                                                                              NEWFANE               NY 14108‐1313
MICHAEL KRAPF          1167 BROOKVIEW AVE                                                                            KETTERING             OH 45409‐1431
MICHAEL KRASNOSELSKY   11855 MILLSTONE DR                                                                            GRAND LEDGE           MI 48837‐2269
MICHAEL KRASS          39321 CAMBRIDGE ST                                                                            WESTLAND              MI 48186‐8600
MICHAEL KRAUT          3900 WILSON AVE SW                                                                            GRANDVILLE            MI 49418‐2345
MICHAEL KRAUZIEWICZ    14310 COOPER ST                                                                               TAYLOR                MI 48180‐4615
MICHAEL KRAVEC         10813 GORDON DR                                                                               PARMA                 OH 44130‐5142
MICHAEL KRAWCZONEK     3915 MEADOW GTWY                                                                              BROADVIEW HTS         OH 44147‐2744
MICHAEL KRAWCZUK       107 BELCODA DR                                                                                ROCHESTER             NY 14617‐2914
MICHAEL KREBS          16208 PINE LAKE FOREST D                                                                      LINDEN                MI 48451
MICHAEL KRECHOWSKI     3911 41ST AVE                                                                                 NEW BRIGHTON          PA 15066‐2835
MICHAEL KREGER         PO BOX 443                                                                                    VERMILION             OH 44089‐0443
MICHAEL KREKLAU        17102 IVANHOE DR                                                                              MACOMB                MI 48044‐3354
MICHAEL KREMER         3142 GREENS MILL RD                                                                           SPRING HILL           TN 37174‐2114
MICHAEL KREMSKI        6279 PERRY RD                                                                                 GRAND BLANC           MI 48439‐7802
MICHAEL KRENCIPROCK    1101 ROBBINS AVE                                                                              NILES                 OH 44446‐3347
MICHAEL KRENDICK       BEVAN & ASSOCAITES LPA INC      6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGTHS        OH 44236
MICHAEL KRESBAUGH      35824 SHELL DR                                                                                STERLING HEIGHTS      MI 48310‐4980
MICHAEL KRESKI         3417 LOON LAKE SHORES RD                                                                      WATERFORD             MI 48329‐4232
MICHAEL KRESS          13511 LAKESHORE DR                                                                            RUTLEDGE              TN 37861‐4965
MICHAEL KRETZ          1280 CRIST ISLE DR                                                                            CHEBOYGAN             MI 49721‐9262
MICHAEL KRETZER        3636 ECHO HILL LN                                                                             DAYTON                OH 45430‐1720
MICHAEL KRICK          805 MARSHALL AVE                                                                              SANDUSKY              OH 44870‐6910
MICHAEL KRIEGEL        2233 SW 59TH PL                                                                               OKLAHOMA CITY         OK 73159‐1801
MICHAEL KRIEGER        1691 W HEATHER GLEN DR                                                                        SAINT GEORGE          UT 84790‐4832
MICHAEL KRISTIN        19971 EDINBERG DR                                                                             MACOMB                MI 48044‐2151
MICHAEL KROHN          15930 TURNBERRY RD                                                                            LANSING               MI 48906‐8308
MICHAEL KROL           3359 OXFORD W                                                                                 AUBURN HILLS          MI 48326‐3968
MICHAEL KROL           LIESEINDSESTRAAT 28                                                     5482 2H SCHIJNDEL
                                                                                               NETHERLANDS
MICHAEL KROLIKOWSKI    22432 GARFIELD ST                                                                             SAINT CLAIR SHORES   MI 48082‐1804
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Name                   Address1                        Address2            Address3         Address4              City            State Zip
MICHAEL KROME          PO BOX 329                                                                                 MORLEY           MI 49336‐0329
MICHAEL KROPINSKI      1530 HAMMAN DR                                                                             TROY             MI 48085‐5065
MICHAEL KRUMSIEK       20 JOHNSON ST                                                                              MILLBURY         MA 01527‐2118
MICHAEL KRUPP          5650 LEMON RD                                                                              BANCROFT         MI 48414‐9724
MICHAEL KRYCHIW        312 NAUTILUS BLVD                                                                          FORKED RIVER     NJ 08731‐2813
MICHAEL KRYSTYAN       18295 RAY ST                                                                               RIVERVIEW        MI 48193‐7456
MICHAEL KRYWKO         3 HODGKINS PL                                                                              NEW CASTLE       DE 19720‐4707
MICHAEL KUBIAK         4393 HICKORY TRL                                                                           STOW             OH 44224‐3677
MICHAEL KUBIAK         2459 W GILFORD RD                                                                          CARO             MI 48723‐9602
MICHAEL KUCHEY         8831 BRADLEY RD                                                                            GASPORT          NY 14067‐9446
MICHAEL KUCK           1347 CHELSEA AVE                                                                           VANDALIA         OH 45377‐1607
MICHAEL KUDLICK        4084 ABBEY RD                                                                              SYRACUSE         NY 13215‐8754
MICHAEL KUDLOVSKY      343 BROADVIEW AVE                                                                          YOUNGSTOWN       OH 44509‐1150
MICHAEL KUEHNEL        PO BOX 9022                                                                                WARREN           MI 48090‐9022
MICHAEL KUEHNER        3629 N WILLOWBROOK DR                                                                      MARION           IN 46952‐8757
MICHAEL KUENNEN        37593 SUMMERS ST                                                                           LIVONIA          MI 48154‐4946
MICHAEL KUESTER        E 18035 HEIGHT RD                                                                          HILLSBORO        WI 54634
MICHAEL KUFFLER        HALSBERGSTR. 1                                                       67098 BAD DUERKHEIM
                                                                                            GERMANY
MICHAEL KUHARCIK       3409 STAUFFER CT                                                                           CLAYTON         NC   27520‐5934
MICHAEL KUHLMAN        6628 ROAD 11                                                                               OTTAWA          OH   45875‐9602
MICHAEL KUHN           225 OAK ORCHARD ESTATES                                                                    ALBION          NY   14411‐1055
MICHAEL KUIAWA         7274 GRANDWOOD DR                                                                          SWARTZ CREEK    MI   48473‐9416
MICHAEL KUJAT          PO BOX 320704                                                                              FLINT           MI   48532‐0013
MICHAEL KUJAWA         118 PALMDALE DR                                                                            WILLIAMSVILLE   NY   14221‐4005
MICHAEL KUKLA          1105 PENDLETON ST                                                                          BAY CITY        MI   48708‐6265
MICHAEL KULA           4035 W ELECTRA LN                                                                          GLENDALE        AZ   85310‐5509
MICHAEL KULHANEK       4107 N M 52                                                                                OWOSSO          MI   48867‐9467
MICHAEL KULIKOWICH     65 RUSSELL ST                                                                              EDWARDSVILLE    PA   18704‐2308
MICHAEL KULIS          9360 WAH‐LO‐HI                                                                             CLARKSTON       MI   48348
MICHAEL KULPA          26764 MIDWAY ST                                                                            DEARBORN HTS    MI   48127‐3936
MICHAEL KUNC           313 WINDY BLF                                                                              FLUSHING        MI   48433‐2646
MICHAEL KUNC II        1451 W SUMMERDALE AVE APT GDN                                                              CHICAGO         IL   60640‐2148
MICHAEL KUNKLE         3083 KETZLER DR                                                                            FLINT           MI   48507‐1221
MICHAEL KUREK          20651 LAKE SHORE BLVD                                                                      EUCLID          OH   44123‐1816
MICHAEL KURTANICH      226 S 12TH ST                                                                              SHARPSVILLE     PA   16150‐1904
MICHAEL KURTANICH      226 SOUTH 12TH                                                                             SHARPSVILLE     PA   16150‐1904
MICHAEL KURTANSKY      1809 S BRADFORD RD                                                                         REESE           MI   48757‐9232
MICHAEL KUSMIERZ       3013 GARFIELD AVE                                                                          BAY CITY        MI   48708‐8431
MICHAEL KUSNIER        2311 N OVID RD                                                                             OVID            MI   48866‐9751
MICHAEL KUSOWSKI JR    2250 HETZNER DR                                                                            SAGINAW         MI   48603‐2526
MICHAEL KUSZEK         1780 CAMBRIDGE PARK E                                                                      MAUMEE          OH   43537‐2346
MICHAEL KUTCHER        1310 S CREEK DR                                                                            WIXOM           MI   48393‐1639
MICHAEL KUTLICH        1865 FORDHAM DR                                                                            TROY            MI   48098‐2541
MICHAEL KUTTKUHN       3532 GRAFTON ST                                                                            ORION           MI   48359‐1533
MICHAEL KUTZY          16186 SILVERCREST DR                                                                       FENTON          MI   48430‐9154
MICHAEL KUZAWINSKI     514 RUSHMORE DR                                                                            COLUMBIA        TN   38401‐6124
MICHAEL KUZMINSKI      75632 PORTABELLA LN                                                                        BRUCE TWP       MI   48065‐2530
MICHAEL KWAPIS         5780 S FENMORE RD                                                                          MERRILL         MI   48637‐8703
MICHAEL KWAST DC CSC   4150 E BELTLINE AVE NE STE 3                                                               GRAND RAPIDS    MI   49525‐9316
MICHAEL KWIATKOWSKI    PO BOX 6957                                                                                SAGINAW         MI   48608‐6957
MICHAEL KWIATKOWSKI    7036 FOXCREEK DR                                                                           CANTON          MI   48187‐3580
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Name                          Address1                         Address2                     Address3   Address4         City            State Zip
MICHAEL KWIECIEN              2515 CROMIE DR                                                                            WARREN           MI 48092‐4806
MICHAEL L
MICHAEL L & LINDA A SWEENEY   5452 WOODSTREAM CT                                                                        GAINESVILLE     GA   30507
MICHAEL L ALDRICH             1702 POLLY ADAMS RD                                                                       BELFAST         TN   37019‐2033
MICHAEL L ALLEN               4981 RIDGE RD                                                                             CORTLAND        OH   44410‐9730
MICHAEL L ALLEN               3900 W. FERNWALD DRIVE                                                                    BEAVERCREEK     OH   45440‐3432
MICHAEL L ANDERSON            236 BARROW ST                                                                             PEARL           MS   39208
MICHAEL L ASBERRY             763 GREEN LAWN                                                                            DAYTON          OH   45403‐3331
MICHAEL L BALLARD             120 WYNDEMERE DR                                                                          FRANKLIN        OH   45005
MICHAEL L BARLEY              709 N WEST ST                                                                             XENIA           OH   45385
MICHAEL L BARNETT             PO BOX 272                                                                                TRENTON         OH   45067‐0272
MICHAEL L BARNHART            PO BOX 23                                                                                 BROOKVILLE      OH   45309‐0023
MICHAEL L BASSEMER            1305 S PARK AVE TRLR 61                                                                   ALEXANDRIA      IN   46001‐2730
MICHAEL L BLACK SR            31 NORTH KILMER AVENUE                                                                    DAYTON          OH   45417‐2547
MICHAEL L BLISS               322 CAMERON HILL DR                                                                       ROCHESTER       NY   14612
MICHAEL L BOUDE               955 STATE RTE 42 S                                                                        XENIA           OH   45385‐‐ 00
MICHAEL L BOUTS               7938 WESTBROOK ROAD                                                                       BROOKVILLE      OH   45309‐9243
MICHAEL L BOWENS              1139 LISA DRIVE                                                                           S CHARLESTON    OH   45368
MICHAEL L BRANDENBURG         182 EAST MCKINLEY STREET                                                                  SOUTH LEBANON   OH   45065‐1322
MICHAEL L BRANDENBURG         2831 MARIGOLD DRIVE                                                                       W. CARROLLTON   OH   45449‐3235
MICHAEL L BROOKS              # 134                            499 DIXIE HILL ROAD                                      SPENCER         IN   47460‐5688
MICHAEL L BROOME              5339 RAYMOND BOLTON RD                                                                    BOLTON          MS   39041
MICHAEL L BROWN               6335 GERMANTOWN PIKE                                                                      DAYTON          OH   45418
MICHAEL L BROWN               PO BOX 448                                                                                CLINTON         MS   39060
MICHAEL L BROWN               107 N PLAZA AVE APT C                                                                     DAYTON          OH   45417‐1761
MICHAEL L BUBAR               3770 WILSON CAMBRIA RD                                                                    WILSON          NY   14172‐9713
MICHAEL L BURCH               3359 SHILLELAGH DR                                                                        FLINT           MI   48506‐2246
MICHAEL L BURCHETT            821 HUNTERS RIDGE DR                                                                      FAIRBORN        OH   45324
MICHAEL L BYRD                901 FIRWOOD DR                                                                            NEW CARLISLE    OH   45344
MICHAEL L CALVERT             11235 WOODBURN ALLEN SPR.                                                                 ALVATON         KY   42122
MICHAEL L CARTWRIGHT          179 N MARION ST                                                                           DAYTON          OH   45417‐2207
MICHAEL L CHAMBLIN            195 PINECONE DR                                                                           SPRINGBORO      OH   45066‐9771
MICHAEL L CLEVINGER           8365 ADAMS RD                                                                             DAYTON          OH   45424‐4031
MICHAEL L CLINE               10820 SE 3RD ST                                                                           MIDWEST CITY    OK   73130‐5104
MICHAEL L COLE                153 CUMBERLAND CIR                                                                        SCOTTSBORO      AL   35769‐3821
MICHAEL L COLEMAN             6122 WESTKNOLL DR APT 311                                                                 GRAND BLANC     MI   48439‐5310
MICHAEL L COSTIN              BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.     OH   44236
MICHAEL L CREEKMORE           25 N. VANLEAR                                                                             DAYTON          OH   45403‐1117
MICHAEL L CRISS               7273 NORMANDY DR                                                                          PARMA           OH   44134‐5435
MICHAEL L CROSS               1 HALSEY DR                                                                               DAYTON          OH   45431‐1309
MICHAEL L CRUTCHFIELD         2718 TIHART WAY                                                                           BEAVERCREEK     OH   45430
MICHAEL L DAVIS               PO BOX 4447                                                                               DETROIT         MI   48204‐0447
MICHAEL L DAY                 3729 ROLAND CIRCLE                                                                        DAYTON          OH   45406‐3535
MICHAEL L DEARTH              14474 CHICKENBRISTLE RD                                                                   FARMERSVILLE    OH   45325
MICHAEL L DEMPSEY             584 W VIENNA ST                                                                           CLIO            MI   48420‐1310
MICHAEL L DOBBINS             1618 HILL ST                                                                              ANDERSON        IN   46012‐2426
MICHAEL L DOYLE               RR 1 BOX 240B                                                                             SPRINGPORT      IN   47386‐9801
MICHAEL L DUGAN               683 JEWEL NORTH RD                                                                        NEWTON FALLS    OH   44444‐95
MICHAEL L EILBER              5375 W MI 36                                                                              PINCKNEY        MI   48169‐9606
MICHAEL L ELLIOTT             13 CURRIER ST                                                                             ATHENS          OH   45701
MICHAEL L FARMER              1936 LARKHILL DR                                                                          KERNERSVILLE    NC   27284‐9611
MICHAEL L FARWELL             1355 PARK AVE                                                                             HAMILTON        OH   45013
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Name                     Address1                        Address2          Address3         Address4         City               State Zip
MICHAEL L FREDERICK      2991 W BRADFORD RD                                                                  MIDLAND             MI 48640‐9141
MICHAEL L FREDERICK      222 EATON ST                                                                        BRECKENRIDGE        MI 48615‐8512
MICHAEL L FREEMAN        2201 GRISSOM DR NE                                                                  WARREN              OH 44483‐4321
MICHAEL L GABBARD        4130 S EATON AVE                                                                    INDIANAPOLIS        IN 46239‐1575
MICHAEL L GELLER ESQ     300 E LONG LAKE RD STE 200                                                          BLOOMFIELD HILLS    MI 48304‐2376
MICHAEL L GENTRY         522 E COTTAGE AVE                                                                   W CARROLLTON        OH 45449‐1352
MICHAEL L GIESSINGER     5259 ROBERTS DR                                                                     FLINT               MI 48506‐1553
MICHAEL L GILLUM         5482 WEIDNER RD                                                                     SPRINGBORO          OH 45066‐7427
MICHAEL L GOFF           1924 BROWN ST                                                                       DAYTON              OH 45409‐2456
MICHAEL L GOULD          613 LINCOLN PARK BLD                                                                KETTERING           OH 45429‐3411
MICHAEL L GRAHAM         705 LINCOLN ST                                                                      PIQUA               OH 45356
MICHAEL L GRAY           P O BOX 163                                                                         CLARKSVILLE         OH 45113‐‐ 01
MICHAEL L GREEN          1078 BARBARA ST                                                                     GRAND BLANC         MI 48439‐8933
MICHAEL L GREENE         7436 VIENNA RD                                                                      OTISVILLE           MI 48463‐9475
MICHAEL L HALL           2020 WILLOW BAY DR                                                                  DEFIANCE            OH 43512‐3714
MICHAEL L HALL           2025 PERSHING BLVD                                                                  DAYTON              OH 45420
MICHAEL L HALL           2361 LEHIGH PLACE                                                                   DAYTON              OH 45439‐2855
MICHAEL L HARRIS         4074 MIDDLEHURST LANE                                                               DAYTON              OH 45406
MICHAEL L HARTMAN        1167 STEVEN CIRCLE DR                                                               NEW CARLISLE        OH 45344‐1643
MICHAEL L HEISEL         31260 SUNSET DR                                                                     FRANKLIN            MI 48025‐2231
MICHAEL L HENSLEY, JR.   4212 CENTRAL AVE                                                                    MIDDLETOWN          OH 45044
MICHAEL L HERMAN         619 RIVERVIEW DRIVE                                                                 ELLENTON            FL 34222‐3254
MICHAEL L HERNON         179 EILEEN DRIVE                                                                    ROCHESTER           NY 14616‐2233
MICHAEL L HERZOG         114 PLYMOUTH AVE S                                                                  SYRACUSE            NY 13211‐1836
MICHAEL L HILL           9157 S YOUNG RD                                                                     FALMOUTH            MI 49632‐9718
MICHAEL L HOAGLAND       23 JOYCE KILMER AVE                                                                 NEW BRUNSWICK       NJ 08901‐2507
MICHAEL L HOCKETT        2827 ST. RT. 22/3, W.                                                               WILMINGTON          OH 45177‐7625
MICHAEL L HOOKS          944 CEDAR 2                                                                         FLINT               MI 48503‐3620
MICHAEL L HUELL          PO BOX 5482                                                                         SAGINAW             MI 48603‐0482
MICHAEL L HUTCHINSON     4566 AMESBOROUGH RD                                                                 DAYTON              OH 45420‐3348
MICHAEL L INSCHO         6077 N BEUTHIEM RD                                                                  MERRITT             MI 49667‐9753
MICHAEL L JAKOVIC        75 N MAIN ST                                                                        MILLTOWN            NJ 08850
MICHAEL L JEFFERS        1600 WOODBERRY DR                                                                   ZANESVILLE          OH 43701‐7547
MICHAEL L JENKINS        9271 NEFF RD                                                                        CLIO                MI 48420‐1660
MICHAEL L JENNINGS       234 PAT LANE                                                                        FAIRBORN            OH 45324‐4438
MICHAEL L JENNINGS JR    9931 JULIE DR                                                                       YPSILANTI           MI 48197‐7095
MICHAEL L JOHNSON        7038 U. S. 35 E                                                                     W. ALEXANDRIA       OH 45381‐9552
MICHAEL L JOHNSTON       PO BOX 796                                                                          STOCKTON            MO 65785‐0796
MICHAEL L JONES          33 GLASGOW STREET                                                                   ROCHESTER           NY 14608‐2417
MICHAEL L JONES          2405 HEARTSOUL DR.                                                                  DAYTON              OH 45408
MICHAEL L JORDAN         1711 KNOB CREEK DR.                                                                 DAYTON              OH 45418‐2207
MICHAEL L KAHLER         1467 VALLEY ST                                                                      DAYTON              OH 45404
MICHAEL L KEIPINGER      11289 VIENNA RD                                                                     MONTROSE            MI 48457‐9702
MICHAEL L KELLY          1254 EDGEWOOD ST NE                                                                 WARREN              OH 44483‐4118
MICHAEL L KENDRICK       4712 PALOMAR AVE.                                                                   TROTWOOD            OH 45426
MICHAEL L KENNEDY        1003 THISTLEDOWN TRACE                                                              CLAYTON             OH 45315
MICHAEL L KNISLEY        3761 WAYNESVILLE‐JAMESTOWN RD                                                       JAMESTOWN           OH 45335‐9746
MICHAEL L KROK           903 LINCOLN AVE                                                                     NILES               OH 44446
MICHAEL L LIPKA          52 W CORNELL AVE                                                                    PONTIAC             MI 48340‐2716
MICHAEL L LUCAS          435 S SCHLEIER DR                                                                   FRANKENMUTH         MI 48734
MICHAEL L LUMPKINS       200 N BIGBY DR                                                                      COLUMBIA            TN 38401‐4706
MICHAEL L MAMULA JR      6145 KIMMEL RD                                                                      CLAYTON             OH 45315‐8922
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Name                                Address1                         Address2                    Address3   Address4         City             State Zip
MICHAEL L MARCKS                    10602 N OAKWAY LN                                                                        EDGERTON          WI 53534‐8606
MICHAEL L MARINE                    614 S PINE ST                                                                            ALTOONA           PA 16602
MICHAEL L MARTORELLI                452 E MILWAUKEE ST                                                                       DETROIT           MI 48202‐3236
MICHAEL L MASSIE                    410 W. LINDEN AVE.                                                                       MIAMISBURG        OH 45342‐2230
MICHAEL L MATTHEWS & TERRI M HANDEY 38 SETH JOHNSON DRIVE                                                                    WETUMPKA          AL 36093
JTWROS
MICHAEL L MAYBEE                    4016 STATE RT.7                                                                          BURGHILL         OH   44404‐9713
MICHAEL L MCCARTY                   504 CROSSKEYS DRIVE                                                                      CLINTON          MS   39056‐5004
MICHAEL L MCCLANAHAN                6191 SPRINGBORO PK                                                                       SPRINGBORO       OH   45066
MICHAEL L MCCREADY                  832 S. ELM ST                                                                            W. CARROLLTON    OH   45449
MICHAEL L MCGHEE                    WEITZ & LUXENBERG PC             700 BROADWAY                                            NEW YORK CITY    NY   10003
MICHAEL L MCGRAW                    1520 E STATE ROUTE 55                                                                    TROY             OH   45373
MICHAEL L MCPHERSON                 205 E. MAIN ST                                                                           SPRING VALLEY    OH   45370
MICHAEL L MCSHIRLEY                 210 SPRINGWAY DR                                                                         DAYTON           OH   45415‐2365
MICHAEL L MENDE                     254 BALABAN CIR                                                                          WOODSTOCK        GA   30188
MICHAEL L MILLER                    7024 N BRAY RD                                                                           MOUNT MORRIS     MI   48458‐8988
MICHAEL L MURPHY                    528 HOUSEL CRAFT RD                                                                      CORTLAND         OH   44410
MICHAEL L MUSIELAK                  3967 POSEYVILLE RD                                                                       HEMLOCK          MI   48626‐9519
MICHAEL L NELSON                    C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                               HOUSTON          TX   77007
                                    BOUNDAS LLP
MICHAEL L NIGRIN                    2856 DURST CLAGG RD NE                                                                   WARREN           OH   44481‐9357
MICHAEL L OBERLIN                   2571 FLOWERSTONE DRIVE                                                                   W CARROLLTON     OH   45449‐3212
MICHAEL L ONDOCSIN                  14365 N CENTER RD                                                                        CLIO             MI   48420‐7934
MICHAEL L OSBORNE                   264 HORMELL RD                                                                           WILMINGTON       OH   45177‐8368
MICHAEL L OWENS                     2515 HOOVER AVE.                                                                         DAYTON           OH   45407‐1531
MICHAEL L PAKE                      472 BIGLEAF CT                                                                           FLINT            MI   48506‐4587
MICHAEL L PATE                      34855 SOMERSET STREET                                                                    WESTLAND         MI   48186‐4365
MICHAEL L PATTERSON                 PO BOX 774                                                                               GROVE CITY       PA   16127‐0774
MICHAEL L PAYNE                     708 S GRANT AVE APT A                                                                    CRAWFORDSVILLE   IN   47933‐3312
MICHAEL L PERDUE                    C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                               HOUSTON          TX   77007
                                    BOUNDAS LLP
MICHAEL L PERKINS                   9216 GREAT LAKES CIR                                                                     CENTERVILLE      OH   45458‐3678
MICHAEL L PETITJEAN                 166 BROOK HOLLOW CIR                                                                     MANCHESTER       TN   37355‐2463
MICHAEL L PETRO                     PO BOX 3012                                                                              MUNCIE           IN   47307‐1012
MICHAEL L PHILLABAUM                262 STATE ROUTE 503                                                                      ARCANUM          OH   45304‐9458
MICHAEL L PHILLIPS                  936 JOHNSON ST                                                                           OWOSSO           MI   48867‐3825
MICHAEL L POTTER                    N38W26876 GLACIER RD                                                                     PEWAUKEE         WI   53072
MICHAEL L PRATHER                   69 LAVEIANAN CT                                                                          MARTINSVILLE     IN   46151
MICHAEL L PRENTICE                  722 MILTON AVE                                                                           ANDERSON         IN   46012
MICHAEL L PROFFITT                  1037 SUMMER ST                                                                           HAMILTON         OH   45013‐‐ 28
MICHAEL L RAUCH                     983 OMARD DR                                                                             XENIA            OH   45385‐2457
MICHAEL L REGIS                     214 GEORGETOWN PKWY                                                                      FENTON           MI   48430‐3207
MICHAEL L REINEKE                   2918 MARIMONT DR                                                                         DAYTON           OH   45410
MICHAEL L RILEY                     4302 CORDELL DRIVE                                                                       DAYTON           OH   45439‐2708
MICHAEL L RILEY                     15097 PAMMY WAY                                                                          GRASS VALLEY     CA   95949
MICHAEL L ROBERTS                   623 DUNAWAY DR.                                                                          MIAMISBURG       OH   45342‐3828
MICHAEL L ROSE                      229 NORTH MAIN ST.                                                                       GERMANTOWN       OH   45327
MICHAEL L RUDD                      5848 STATE ROUTE 3 WEST                                                                  WILMINGTON       OH   45177‐7634
MICHAEL L SANDOZ                    5113 KINGSWAY                                                                            ANACORTES        WA   98221
MICHAEL L SCINTA                    4109 ALLENDALE PKWY LEFT                                                                 BLASDELL         NY   14219
MICHAEL L SCLESKY                   2007 MURRAY ST                                                                           GRAND BLANC      MI   48439‐9389
MICHAEL L SCOTT                     12030 OXFORD RD                                                                          GERMANTOWN       OH   45327‐9731
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Name                   Address1                           Address2                    Address3   Address4         City              State Zip
MICHAEL L SEVERT       4840 W ST RT 571                                                                           WEST MILTON        OH 45383‐9781
MICHAEL L SHAFFER      23 S 9TH ST                                                                                MIAMISBURG         OH 45342
MICHAEL L SHAW         1427 PRIMROSE AVE                                                                          TOLEDO             OH 43612‐4001
MICHAEL L SHOTTS       3943 RIDGE AVE                                                                             DAYTON             OH 45414‐5327
MICHAEL L SINIARD      163 BEE GEE MCREE LNDG                                                                     GOODSPRING         TN 38460‐5299
MICHAEL L SNELL        2373 COPAS RD                                                                              OWOSSO             MI 48867‐9036
MICHAEL L SNURR        3650 PANDORA DR                                                                            MOUNT PLEASANT     SC 29466‐9153
MICHAEL L STEVENS      2414 BEATRICE ST                                                                           SPRINGFIELD        OH 45503‐4815
MICHAEL L STUCKER JR   392 BRIDLE LN S                                                                            DAYTON             OH 45449
MICHAEL L STUDEBAKER   4933 HARWICH CT                                                                            DAYTON             OH 45440
MICHAEL L SWEENEY      5452 WOODSTREAM CT                                                                         GAINESVILLE        GA 30507
MICHAEL L SWIFT        1734 REDBUD LN                                                                             LANSING            MI 48917‐7635
MICHAEL L TAYLOR       2131 BELLSBURG DR                                                                          DAYTON             OH 45459
MICHAEL L TAYLOR       534 LAURELWOOD DR SE                                                                       WARREN             OH 44484‐2417
MICHAEL L TELLIS       1461 KIPLING DR                                                                            DAYTON             OH 45406‐4225
MICHAEL L TIMMONS      83 BUSH CREEK DR                                                                           ROCHESTER          NY 14612‐2258
MICHAEL L TOWNES       1824 JACKSON ST. S.W.                                                                      WARREN             OH 44485‐3551
MICHAEL L TRAVIS       2916 EGGERT RD                                                                             TONAWANDA          NY 14150‐8140
MICHAEL L TUPMAN       5924 CURSON DR                                                                             TOLEDO             OH 43612‐4011
MICHAEL L VOYLES       3064 FONTANO DR                                                                            DAYTON             OH 45440
MICHAEL L WALLACE      C/O WILLIAM KHERKHER HART &        8441 GULF FREEWAY STE 600                               HOUSTON            TX 77007
                       BOUNDAS LLP
MICHAEL L WANTZ        5381 APPLEWOOD LN                                                                          LEBANON           OH   45036
MICHAEL L WARE         4022 MYRON AVE                                                                             TROTWOOD          OH   45416‐1659
MICHAEL L WEBSTER      6586 FRANKLIN D. R. DR.                                                                    JACKSON           MS   39213
MICHAEL L WHITE        923 N GRANT ST                                                                             BAY CITY          MI   48708‐6046
MICHAEL L WHITLEY      101 JOHNSON TRL                                                                            MORAINE           OH   45418‐2991
MICHAEL L WILLARD      48 RAMSDELL AVE                                                                            BUFFALO           NY   14215‐1141
MICHAEL L WILLIAMS     4508 WAYMIRE AVE                                                                           DAYTON            OH   45406‐2417
MICHAEL L WILLIAMS     4508 WAYMIRE AVENUE                                                                        DAYTON            OH   45406‐2417
MICHAEL L WITTE JR     11256 CARRIAGE HILL DR                                                                     NEW CARLISLE      OH   45344
MICHAEL L WITWER       934 N WESTEDGE DR                                                                          TIPP CITY         OH   45371
MICHAEL L WUNN         406 JACKSON LANE                                                                           MIDDLETOWN        OH   45044
MICHAEL L YOUNG        195 FINLAND DR                                                                             EATON             OH   45320
MICHAEL L. FRITZ
MICHAEL L. MEIER
MICHAEL L. MESTER      MICHAEL L. & ELIZABETH J. MESTER   225 KENTUCKY DRIVE                                      LOWER BURRELL     PA   15068
MICHAEL L. MESTER      MICHAEL L & ELIZABETH J. MESTER    225 KENTUCKY DRIVE                                      LOWER BURRELL     PA   15068
MICHAEL LA BELLE       12575 ELM AVE                                                                              SAND LAKE         MI   49343‐9691
MICHAEL LA BOE         1006 HICKORY DR                                                                            BRIGHTON          MI   48116‐1884
MICHAEL LA CHAPELLE    880 HOGSBACK RD                                                                            MASON             MI   48854‐9569
MICHAEL LA CHAPELLE    918 W HAMPTON ST                                                                           MARQUETTE         MI   49855‐5133
MICHAEL LA PRADD       2773 PINCKNEY RD                                                                           HOWELL            MI   48843‐8864
MICHAEL LAACK          4713 N US HIGHWAY 51                                                                       JANESVILLE        WI   53545‐9606
MICHAEL LABA           54795 QUEENS ROW                                                                           SHELBY TOWNSHIP   MI   48316‐1532
MICHAEL LABA           27147 SIMONE ST                                                                            DEARBORN HTS      MI   48127‐3339
MICHAEL LABA           8467 WILSON RD                                                                             OTISVILLE         MI   48463‐9479
MICHAEL LABAERE        53808 BUCKINGHAM LN                                                                        SHELBY TWP        MI   48316‐2020
MICHAEL LABBE          1551 HOMEWOOD AVE SE                                                                       WARREN            OH   44484‐4912
MICHAEL LACEY          102 QUAIL RUN CT                                                                           FERNLEY           NV   89408‐9051
MICHAEL LACEY          900 E COUNTY ROAD 700 S                                                                    MUNCIE            IN   47302‐9173
MICHAEL LACROSSE       124 WOODSIDE AVE                                                                           HURON             OH   44839‐1232
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Name                 Address1                        Address2            Address3         Address4               City               State Zip
MICHAEL LACZEK       1455 HURDS CORNER RD                                                                        CASS CITY           MI 48726‐9340
MICHAEL LACZKO       8596 11 MILE RD                                                                             STERLING            MI 48659‐9601
MICHAEL LADISKY      3400 W TOWNSEND RD                                                                          SAINT JOHNS         MI 48879‐9552
MICHAEL LAFALCE      73247 GOULD RD                                                                              BRUCE TWP           MI 48065‐3115
MICHAEL LAFERNEY     292 US HIGHWAY 61                                                                           NEW MADRID          MO 63869‐9752
MICHAEL LAFFERTY     5625 SECORD LAKE RD                                                                         LEONARD             MI 48367‐1434
MICHAEL LAFITTE      127 SMOKY HILL RD                                                                           MANSFIELD           LA 71052‐6821
MICHAEL LAFOREST     1207 N SCHEURMANN RD                                                                        ESSEXVILLE          MI 48732‐1770
MICHAEL LAGGAN       4604 BLISS DR                                                                               NORTON              OH 44203‐6002
MICHAEL LAHMANN      1690 COPAS RD                                                                               OWOSSO              MI 48867‐9086
MICHAEL LAHMANN      FREIERTWEG 30                                                        12305 BERLIN GERMANY
MICHAEL LAHMANN      FREIERTWEG 30                   12305 BERLIN        GERMANY
MICHAEL LAI          36207 DOMINION CIR                                                                          STERLING HEIGHTS   MI   48310‐7457
MICHAEL LAIBLE       366 WILLOW GREEN DR                                                                         AMHERST            NY   14228‐3426
MICHAEL LAIDLER      2350 BALDWIN RD                                                                             LAPEER             MI   48446‐9771
MICHAEL LAKIES       10416 VAN VLEET RD                                                                          GAINES             MI   48436‐9631
MICHAEL LALANDE      4054 GRANGE RD                                                                              TRENTON            MI   48183‐3959
MICHAEL LALICH       621 VALLEY RD                                                                               LAKE ORION         MI   48362‐2450
MICHAEL LALOND JR    2025 S 137TH ST                                                                             BONNER SPRINGS     KS   65012‐1741
MICHAEL LAMB         5524 OAKLEY AVE                                                                             KANSAS CITY        MO   64130‐3240
MICHAEL LAMB         654 PROVINCETOWN RD                                                                         AUBURN HILLS       MI   48326‐3442
MICHAEL LAMB         14464 COUNTY ROAD 171                                                                       DEFIANCE           OH   43512‐8319
MICHAEL LAMBDIN      18188 W EAST WIND AVE                                                                       GOODYEAR           AZ   85338‐5060
MICHAEL LAMBERT      PO BOX 451                                                                                  MATEWAN            WV   25678‐0451
MICHAEL LAMBERT      4010 E SMITH RD                                                                             BAY CITY           MI   48706‐1774
MICHAEL LAMBREGTSE   3894 RED ROOT RD                                                                            LAKE ORION         MI   48360‐2624
MICHAEL LAMBROS      420 CHESTNUT HILL RD                                                                        FOREST HILL        MD   21050‐1506
MICHAEL LAMMING      17‐221‐RD M‐1                                                                               NAPOLEON           OH   43545
MICHAEL LAMPRECHT    BRUCKNER STR 45                                                      40670 MEERBUSCH
                                                                                          GERMANY
MICHAEL LAMPRECHT    BRUCKNER STR. 45                                                     40670 MEERBUSCH
                                                                                          GERMANY
MICHAEL LANANE       908 PARK RD                                                                                 ANDERSON           IN   46011‐2314
MICHAEL LANCE        323 DALTON RD                                                                               STONEWALL          LA   71078‐9535
MICHAEL LANDERS      PO BOX 1215                                                                                 WASKOM             TX   75692‐1215
MICHAEL LANDINGHAM   440 N ASHBURY AVE                                                                           BOLINGBROOK        IL   60440‐2167
MICHAEL LANDIS       810 GREENFIELD DR                                                                           ANDERSON           IN   46013‐5027
MICHAEL LANE         11313 MAIN RD                                                                               FENTON             MI   48430‐9746
MICHAEL LANE         117 PLUM HILL RD                                                                            PEACH BOTTOM       PA   17563‐9603
MICHAEL LANE         PO BOX 235                                                                                  BUNKER HILL        IN   46914‐0235
MICHAEL LANE         1316 PEERLESS RD                                                                            BEDFORD            IN   47421‐8100
MICHAEL LANE         2146 MACKINAW DR                                                                            DAVISON            MI   48423‐2360
MICHAEL LANE         1509 W WILSON RD                                                                            CLIO               MI   48420‐1646
MICHAEL LANE         3191 W BARNES LAKE RD                                                                       COLUMBIAVILLE      MI   48421‐9331
MICHAEL LANE         5319 NASSAR ST                                                                              FLINT              MI   48505‐1064
MICHAEL LANE         19 N TAWANA DR                                                                              SHAWNEE            OK   74804‐1133
MICHAEL LANG         345 SITTON DR                                                                               WASKOM             TX   75692‐5633
MICHAEL LANG         5439 TEAKWOOD DR                                                                            SWARTZ CREEK       MI   48473‐9427
MICHAEL LANG         107 IVY CT                                                                                  GALLATIN           MO   64640‐6354
MICHAEL LANGDON      5305 MATTHEW CT                                                                             SARASOTA           FL   34231‐6356
MICHAEL LANGE        1521 BRIARSON DR                                                                            SAGINAW            MI   48638‐4462
MICHAEL LANGE        316 HICKORY CT                                                                              ORFORDVILLE        WI   53576‐9599
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Name                    Address1                         Address2                      Address3   Address4         City               State Zip
MICHAEL LANGFORD        PO BOX 894                                                                                 FENTON              MI 48430‐0894
MICHAEL LANGHAM
MICHAEL LANGLEY         155 GOLFVIEW DR                                                                            BROOKLYN           MI   49230‐9731
MICHAEL LANGLOIS        KELLER, FISHBACK & JACKSON LLP   18425 BURBANK BLVD, STE 610                               TARZANA            CA   91356
MICHAEL LANGONE         602 WILLIAM DR                                                                             OVILLA             TX   75154‐3612
MICHAEL LANGSTON        260 LOWE CIR APT 8A                                                                        RICHLAND           MS   39218‐9208
MICHAEL LANIER          4812 WHITESELL DR                                                                          TROY               MI   48085‐5089
MICHAEL LANZO TRUSTEE   PO BOX 43                                                                                  CALDWELL           NJ   07006‐0043
MICHAEL LAPAUGH         233 E BUCKEYE ST                                                                           CICERO             IN   46034‐9458
MICHAEL LAPINSKI        347 RAYSON ST                                                                              NORTHVILLE         MI   48167‐1221
MICHAEL LAPPRICH        4126 EMERICK ST                                                                            SAGINAW            MI   48638‐6614
MICHAEL LARA            15626 NINETY‐THIRD ST                                                                      FLORISSANT         MO   63034
MICHAEL LARGENT         971 FROEDGE NUBREE RD.                                                                     SUMMER SHADE       KY   42166
MICHAEL LAROCK          28 BEECHCREST LANE                                                                         WHITE HAVEN        PA   18661‐3939
MICHAEL LARR            407 NORTH ST                                                                               HOLLY              MI   48442‐1216
MICHAEL LARRY           PO BOX 7006                                                                                TUPELO             MS   38802‐7006
MICHAEL LARSCHEID       2601 EAST MCKELLIPS              #2063                                                     MESA               AZ   85213
MICHAEL LARSEN          536 RAINTREE DR                                                                            DANVILLE           IN   46122‐1458
MICHAEL LARSEN          5840 NORTHFIELD PARKWAY                                                                    TROY               MI   48098‐5124
MICHAEL LARSON          2093 GUNN RD                                                                               HOLT               MI   48842‐1047
MICHAEL LARSON          1031 W DAVID HWY                                                                           IONIA              MI   48846‐9481
MICHAEL LARSON          9514 GLENBURG RD                                                                           DEFIANCE           OH   43512‐9609
MICHAEL LARSON          4339 BOBWHITE DR                                                                           FLINT              MI   48506‐1767
MICHAEL LARUE           221 BENT OAK DR                                                                            LAKE ST LOUIS      MO   63367‐1430
MICHAEL LARUE           4610 KEKIONGA DR                                                                           FORT WAYNE         IN   46809‐1610
MICHAEL LASALLE         3709 ENAMOR DR                                                                             ARLINGTON          TX   76016‐4217
MICHAEL LASER           31325 MARQUETTE ST                                                                         GARDEN CITY        MI   48135‐3323
MICHAEL LASHBROOK       3506 TIMBERLINE DR                                                                         CLYDE              MI   48049‐4543
MICHAEL LASHURE         413 E MADISON ST                                                                           FAIRMOUNT          IN   46928‐2014
MICHAEL LASKE           40351 HAMILTON DR                                                                          STERLING HEIGHTS   MI   48313‐3929
MICHAEL LASKOWSKI       917 21ST ST                                                                                BAY CITY           MI   48708‐7237
MICHAEL LATARTE         3639 PENN RD                                                                               LEWISTON           MI   49756‐7502
MICHAEL LATHAM          819 PINEDALE TER                                                                           SUGAR HILL         GA   30518‐4574
MICHAEL LATHERS         PO BOX 447                                                                                 EASTPORT           MI   49627‐0447
MICHAEL LATHERS         1938 MOULTON ROAD                P. O. BOX 447                                             EASTPORT           MI   49627
MICHAEL LATORELLA       7135 SAWGRASS DR                                                                           WASHINGTON TWP     MI   48094‐1481
MICHAEL LATSKO          2064 REVELEY AVE                                                                           LAKEWOOD           OH   44107‐5835
MICHAEL LATTANY         5469 SHALE DR                                                                              TROY               MI   48085‐3973
MICHAEL LAUB            3090 ABBEYVILLE RD                                                                         MEDINA             OH   44256‐7155
MICHAEL LAUCK           1207 CARRIAGE PARK DR                                                                      FRANKLIN           TN   37064‐5703
MICHAEL LAUDERMILK      7936 CANAL RD                                                                              TIPP CITY          OH   45371‐8214
MICHAEL LAUGHLIN        15531 W 140TH TER                                                                          OLATHE             KS   66062‐6538
MICHAEL LAUGHMILLER     2313 SHELBURNE AVE SW                                                                      DECATUR            AL   35603‐1843
MICHAEL LAURIN          6011 BOOTH CT                                                                              FLINT              MI   48532‐5325
MICHAEL LAUX            5557 HICKORY CIR                                                                           FLUSHING           MI   48433‐2481
MICHAEL LAUZON          526 COUNTY ROUTE 42                                                                        FT COVINGTON       NY   12937‐2512
MICHAEL LAUZONIS        6309 CHARLOTTEVILLE RD                                                                     NEWFANE            NY   14108‐9755
MICHAEL LAVELLE         709 S 2ND ST                                                                               MOUNT HOREB        WI   53572‐3314
MICHAEL LAVIN           14893 COUNTY ROAD Z                                                                        NAPOLEON           OH   43545‐9570
MICHAEL LAW             182 W WILKINSON RD                                                                         OWOSSO             MI   48867‐1251
MICHAEL LAWLESS         1699 SNOWDEN CIR                                                                           ROCHESTER HILLS    MI   48306‐3659
MICHAEL LAWLESS         7215 BASEL DR                                                                              FORT WAYNE         IN   46835‐4003
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Name                 Address1                         Address2                     Address3            Address4             City                 State Zip
MICHAEL LAWLESS      1604 AMBLESIDE CIR                                                                                     NAPERVILLE             IL 60540‐0300
MICHAEL LAWLOR       PO BOX 10103                                                                                           TRENTON               NJ 08650‐3103
MICHAEL LAWRENCE     7 MUGGETT HILL RD                                                                                      CHARLTON              MA 01507‐1323
MICHAEL LAWRENCE     39 SUPERIOR TRL                                                                                        SWARTZ CREEK          MI 48473‐1616
MICHAEL LAWRENCE     120 HAWK RIDGE DR                                                                                      CLARKSTON             MI 48348‐1055
MICHAEL LAWSON       572 CHASSEUR DR                                                                                        GRAND BLANC           MI 48439‐2308
MICHAEL LAWSON       603 MARSH RD                                                                                           WILMINGTON            DE 19809‐2148
MICHAEL LAWSON       BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                            BOSTON HTS.           OH 44236
MICHAEL LAWTON       3885 MACK RD                                                                                           SAGINAW               MI 48601‐7120
MICHAEL LAYTON       4901 SCR 83                                                                                            MIZE                  MS 39116‐5257
MICHAEL LAZAROFF     4275 FALLOW ST                                                                                         WEST BLOOMFIELD       MI 48323‐1323
MICHAEL LAZIC        301 BECKENHAM LN                                                                                       DACULA                GA 30019‐6742
MICHAEL LAZZARO      6323 DEWHIRST DR                                                                                       SAGINAW               MI 48638‐7370
MICHAEL LAZZO        43320 CREEK DR                                                                                         CLINTON TOWNSHIP      MI 48038‐4851
MICHAEL LE PERE      12348 HYNE RD                                                                                          BRIGHTON              MI 48114‐9236
MICHAEL LEACH        2475 POPLAR GROVE RD                                                                                   SPRINGVILLE           TN 38256‐5308
MICHAEL LEAF         6714 HAMMOND RD                                                                                        OVID                  MI 48866‐9535
MICHAEL LEBLANC      10136 STANLEY RD                                                                                       FLUSHING              MI 48433‐9259
MICHAEL LEBOW        9949 CROFOOT RD                                                                                        FOWLERVILLE           MI 48836‐9246
MICHAEL LECHNER      10247 N KIDDER RD                                                                                      EDGERTON              WI 53534‐9013
MICHAEL LEDDY        449 LUTZKE RD                                                                                          SAGINAW               MI 48609‐6918
MICHAEL LEDERHOUSE   28 GEORGIA AVE                                                                                         LOCKPORT              NY 14094‐5740
MICHAEL LEDUC        12130 JEFFERS LN                                                                                       FENTON                MI 48430‐2497
MICHAEL LEE          3639 W COUNTY ROAD 600 N                                                                               MIDDLETOWN            IN 47356‐9412
MICHAEL LEE          2327 MORTON AVE                                                                                        FLINT                 MI 48507‐4445
MICHAEL LEE          129 CHAPULTEPEC ST                                                                                     MERCEDES              TX 78570‐9603
MICHAEL LEE          721 COUNTY ROAD 15400                                                                                  DEPORT                TX 75435‐3802
MICHAEL LEE          4367 WHEATLAND DR                                                                                      SWARTZ CREEK          MI 48473‐8255
MICHAEL LEE          3356 COOLIDGE RD                                                                                       BEAVERTON             MI 48612‐9185
MICHAEL LEE BOWDEN   C/O WEITZ & LUXENBERG PC         700 BROADWAY                                                          NEW YORK CITY         NY 10003
MICHAEL LEE BOWDEN   WEITZ & LUXENBERG PC             700 BROADWAY                                                          NEW YORK CITY         NY 10003
MICHAEL LEE CHEEK    BARON & BUD PC                   THE CENTRUM SUITE 1100       3102 OAK LAWN AVE                        DALLAS                TX 75219‐4281
MICHAEL LEE E        MICHAEL, LEE E                   237 N SYCAMORE ST                                                     PETERSBURG            VA 23803‐3227
MICHAEL LEE KELLER   6537 DAVIDSBURG RD                                                                                     DOVER                 PA 17315‐3113
MICHAEL LEE MILLER   MOTLEY RICE LLC                  28 BRIDGESIDE BLVD           PO BOX 1792                              MT PLEASANT           SC 29465
MICHAEL LEEMAN       16026 TENOR WAY                                                                                        NOBLESVILLE           IN 46060‐9287
MICHAEL LEFEVERS     657 S AVONDALE RD                                                                                      DUNDALK               MD 21222‐6225
MICHAEL LEFFERT      1171 HEATHER GLENS CT                                                                                  HOWELL                MI 48843‐6782
MICHAEL LEGG         842 BRIARWOOD DR                                                                                       ANDERSON              IN 46012‐9803
MICHAEL LEGIERSKI    1638 CENTER RD                                                                                         BUFFALO               NY 14224‐3212
MICHAEL LEHNER       PAUL‐KLEE‐STRASSE 27                                                              85053 INGOLSTADT,
                                                                                                       GERMANY
MICHAEL LEIFERMAN    3684 ABERDEEN CT                                                                                       BRIGHTON             MI 48114‐9062
MICHAEL LEIGHT       310 MORSE DR                                                                                           SIX LAKES            MI 48886‐8746
MICHAEL LEIMEISTER   4876 W COLLINS RD                                                                                      COLLINS              OH 44826‐9772
MICHAEL LEINERT      BEETHOVENSTR 47                                                                   D‐69121 HEIDELBERG
                                                                                                       GERMANY
MICHAEL LEININGER    591 E HIGHWAY 8                                                                                        STEELVILLE           MO   65565‐7028
MICHAEL LEISING      513 PEMBERTON RD                                                                                       GROSSE POINTE PARK   MI   48230‐1711
MICHAEL LEITNER      27790 WATSON RD                                                                                        DEFIANCE             OH   43512‐6845
MICHAEL LEKSE        6875 PALMYRA LN                                                                                        CLARKSTON            MI   48348‐2893
MICHAEL LELLI        1844 RING NECK DR                                                                                      ROCHESTER            MI   48307‐6009
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Name                   Address1                       Address2            Address3         Address4         City                State Zip
MICHAEL LEMAIRE        6466 STROEBEL RD                                                                     SAGINAW              MI 48609‐5215
MICHAEL LEMANSKI       24113 OAK GROVE BLVD                                                                 MACOMB               MI 48042‐5387
MICHAEL LEMAY          226 ASH RD                                                                           SANFORD              MI 48657‐9560
MICHAEL LEMISH         3903 CROSS HILL CT                                                                   ARLINGTON            TX 76016‐3830
MICHAEL LEMON          1615 B ST LOT 14                                                                     ANDERSON             IN 46016‐2171
MICHAEL LEMOND         4507 IVY CT                                                                          CLARKSTON            MI 48348‐1437
MICHAEL LENER          2010 W 37TH ST                                                                       LORAIN               OH 44053‐2520
MICHAEL LENERZ         7560 MAPLE DR                                                                        WESTLAND             MI 48185‐2397
MICHAEL LENGYEL        15175 HOGAN RD                                                                       LINDEN               MI 48451‐8732
MICHAEL LENHARDT       8283 SHERWOOD DR                                                                     GRAND BLANC          MI 48439‐8356
MICHAEL LENOIR         PO BOX 392                                                                           FRANKLIN             NC 28744‐0392
MICHAEL LENOSKY        37853 LOLA DR                                                                        STERLING HTS         MI 48312‐2049
MICHAEL LENTZ          2952 CONTINENTAL DRIVE                                                               BAY CITY             MI 48706‐3108
MICHAEL LENZ           2444 WALNUT ST                                                                       BLUE ISLAND           IL 60406‐2041
MICHAEL LENZ           9563 SAINT CHRISTINE CT                                                              SYLVANIA             OH 43560‐9920
MICHAEL LEONARD        1199 W MADISON RD                                                                    SAINT LOUIS          MI 48880‐9718
MICHAEL LEONE          45 N YORKSHIRE BLVD                                                                  YOUNGSTOWN           OH 44515‐2723
MICHAEL LEPO           7600 RAGLAN DR NE                                                                    WARREN               OH 44484‐1432
MICHAEL LESLIE         3351 W LYNDON AVE                                                                    FLINT                MI 48504‐6966
MICHAEL LESS           12652 WASHINGTONVILLE RD                                                             SALEM                OH 44460‐9247
MICHAEL LESTER         983 ROOKUS ST                                                                        WAYLAND              MI 49348‐9146
MICHAEL LESZ           7040 7 MILE RD                                                                       SOUTH LYON           MI 48178‐9656
MICHAEL LETSON         115 CO RD#545                                                                        MOULTON              AL 35650
MICHAEL LEVAN          29011 WEBER AVE                                                                      WICKLIFFE            OH 44092‐2344
MICHAEL LEVASSEUR      505 W SMITH ST                                                                       BAY CITY             MI 48706‐3685
MICHAEL LEVERENTZ      2608 HESS RD                                                                         APPLETON             NY 14008‐9637
MICHAEL LEVI           1615 MENOMINEE DR                                                                    MASON                MI 48854‐9611
MICHAEL LEVY           3994 CATALPA DR                                                                      BERKLEY              MI 48072‐1043
MICHAEL LEWANDOWSKI    513 GRAND PARKE DR                                                                   JACKSONVILLE         FL 32259‐5258
MICHAEL LEWANDOWSKI    6391 HAMM RD                                                                         LOCKPORT             NY 14094‐6527
MICHAEL LEWANDOWSKI    3501 REFUGE TRL                                                                      THOMPSONS STATION    TN 37179‐5240
MICHAEL LEWIS          2324 LABERDEE RD                                                                     ADRIAN               MI 49221‐8644
MICHAEL LEWIS          10580 LAWRENCE RD                                                                    BROOKLYN             MI 49230‐9427
MICHAEL LEWIS          7953 N INKSTER RD                                                                    WESTLAND             MI 48185‐2637
MICHAEL LEWIS          2231 KARL ANN DR                                                                     SANDUSKY             OH 44873‐4567
MICHAEL LEWIS          25801 CODY LN                                                                        NOVI                 MI 48374‐2360
MICHAEL LEWIS          9420 NORTH WEBSTER ROAD                                                              CLIO                 MI 48420‐8546
MICHAEL LEWIS          7040 NORMANDY CT                                                                     FLINT                MI 48506‐1758
MICHAEL LEWIS          696 FOOTHILL DR                                                                      CANTON               MI 48188‐1563
MICHAEL LEWIS          18250 HUNTLEY SQ N # 1803                                                            BEVERLY HILLS        MI 48025‐5320
MICHAEL LEWIS          1343 CHERRY ST                                                                       HUNTINGTON           IN 46750‐1843
MICHAEL LEWIS TOLSON   3903 ARK AVE                                                                         DAYTON               OH 45416
MICHAEL LEYMAN         6667 GREENBRIAR LN                                                                   TEMPERANCE           MI 48182‐2223
MICHAEL LI             983 HOLLOW CORNERS CT                                                                ROCHESTER            MI 48307‐6001
MICHAEL LIBERATORE     720 WOODLAWN DRIVE                                                                   HOUSTON              PA 15342
MICHAEL LIBUTTI        907 N GREECE RD                                                                      ROCHESTER            NY 14626‐1046
MICHAEL LICKVER        20 SOUTH RD                                                                          STURBRIDGE           MA 01566‐1403
MICHAEL LIECHTI        3422 EDGEWOOD CT                                                                     DAVISON              MI 48423‐8423
MICHAEL LIECKFELT      40428 ESCHENBURG DR                                                                  CLINTON TWP          MI 48038‐2522
MICHAEL LIEDTKE        1801 DEER PATH TRL                                                                   OXFORD               MI 48371‐6061
MICHAEL LIESEN         5295 BIRCHCREST DR                                                                   SWARTZ CREEK         MI 48473‐1043
MICHAEL LIEURANCE      5673 TOMBERG ST                                                                      HUBER HEIGHTS        OH 45424‐5329
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Name                 Address1                           Address2            Address3         Address4                City               State Zip
MICHAEL LIGAS
MICHAEL LIGHT        301 BEECHVIEW DR S                                                                              ROCHESTER          MI 48306‐2808
MICHAEL LIGHTHILL    19967 NIVER RD                                                                                  OAKLEY             MI 48649‐9709
MICHAEL LIIKALA      113 N LAKE ST                                                                                   OSCODA             MI 48750‐1734
MICHAEL LIINK        50, BOTTENHORNERWEG                                                                             FRANKFURT             60489
MICHAEL LIKES        2614 TIFFIN AVE LOT 83                                                                          SANDUSKY           OH 44870‐5380
MICHAEL LILLEY       4860 SERRA AVE                                                                                  FREMONT            CA 94538‐1137
MICHAEL LILLSTRUNG   622 NAVARRE AVE                                                                                 TOLEDO             OH 43605‐2929
MICHAEL LIMMER       1694 OTTO RD                                                                                    CHARLOTTE          MI 48813‐9713
MICHAEL LIND         219 ULLMAN RD                                                                                   PASADENA           MD 21122‐4146
MICHAEL LINDEMANN    SOPHIE‐CHARLOTTE‐STR. 21                                                BERLIN GERMANY 14169
MICHAEL LINDERMAN    1710 WHITEWATER CT                                                                              FORT WAYNE         IN    46825‐5971
MICHAEL LINDON       35639 PARK ST APT 2                                                                             WAYNE              MI    48184‐2749
MICHAEL LINDSAY      942 CRESCENT DR                                                                                 MONROVIA           CA    91016‐1549
MICHAEL LINDSAY      8019 WISEMAN RD                                                                                 LAMBERTVILLE       MI    48144‐9683
MICHAEL LINES        930 BROADACRE AVE                                                                               CLAWSON            MI    48017‐1433
MICHAEL LINK         757 SAINT JAMES PARK AVE                                                                        MONROE             MI    48161‐9064
MICHAEL LINK         23 HEMLOCK CT S                                                                                 HOMOSASSA          FL    34446‐5113
MICHAEL LINK         4117N HUFF ST                                                                                   SILVER CITY        NM    88061
MICHAEL LINK         50, BOTTENHORNERWEG
MICHAEL LINK         50 BOTTENHORNERWEG                                                      60489 FRANKFURT
                                                                                             GERMANY
MICHAEL LINKEVICH    311 WILTON ST                                                                                   ANN ARBOR          MI    48103‐3664
MICHAEL LINNEMAN     20 S LEXINGTON DR                                                                               JANESVILLE         WI    53545‐2139
MICHAEL LINTZ        1866 FOSTERS RD                                                                                 BIRCH RUN          MI    48415‐9033
MICHAEL LIPKA        52 W CORNELL AVE                                                                                PONTIAC            MI    48340‐2716
MICHAEL LIPSEY       734 GUILFORD ST                                                                                 HUNTINGTON         IN    46750‐2141
MICHAEL LIPSKI       3695 STATE ROUTE 7                                                                              BURGHILL           OH    44404‐9734
MICHAEL LISBON       86 WOODLAND AVE                                                                                 CAMPBELL           OH    44405‐1046
MICHAEL LIST         #8                                 513 DELFT WAY                                                KNOXVILLE          TN    37923‐3516
MICHAEL LITTELL      10380 HODGE RD                                                                                  CLAYTON            IN    46118‐9169
MICHAEL LITTLE       7508 MORNINGSIDE DR N                                                                           ELLENTON           FL    34222‐3743
MICHAEL LITTLE       8428 BUTTERNUT CK.                                                                              MOUNT MORRIS       MI    48458
MICHAEL LITTLEFORD   3533 RHOTEN DR                                                                                  STERLING HEIGHTS   MI    48310‐5366
MICHAEL LITTON       8525 E 1700TH RD                                                                                BROCTON            IL    61917‐8017
MICHAEL LITTON       2319 BEATRICE ST                                                                                SPRINGFIELD        OH    45503
MICHAEL LITVINSKAS   4301 TIFFTON DR                                                                                 SAGINAW            MI    48603‐2071
MICHAEL LITWICKI     707 PLAINFIELD CT                                                                               SAGINAW            MI    48609‐4801
MICHAEL LITWIN       1826 N CLEVELAND AVE                                                                            CHICAGO            IL    60614
MICHAEL LITZ         833 WILLOWOOD DR W                                                                              MANSFIELD          OH    44906‐1748
MICHAEL LIVENGOOD    15184 MATTOX LN                                                                                 WRIGHT CITY        MO    63390‐5538
MICHAEL LIVINGSTON   203 BALD EAGLE LN                                                                               MONROE             TN    38573‐4157
MICHAEL LIVINGSTON   9851 FULMER RD                                                                                  MILLINGTON         MI    48746‐9704
MICHAEL LIVINGSTON   434 BEACH ST                                                                                    MOUNT MORRIS       MI    48458‐1904
MICHAEL LIVSHIZ      2904 LESLIE PARK CIR                                                                            ANN ARBOR          MI    48105‐9255
MICHAEL LO BIANCO    2716 SCHURZ AVE                                                                                 BRONX              NY    10465
MICHAEL LOBEDANN     S▄DSTRA▀E 6                        02923 KODERSDORF
MICHAEL LOBEDANN     SUEDSTRASSE 6                      02923 KODERSDORF
MICHAEL LOBRAICO     1520 ARBUTUS ST                                                                                 JANESVILLE          WI   53546‐6140
MICHAEL LOCHER       311 WATERWAY CT                                                                                 HOUGHTON LAKE       MI   48629‐9577
MICHAEL LOCHRIE      3162 MCCORMICK DR                                                                               WATERFORD           MI   48328‐1638
MICHAEL LOCKWOOD     901 STONEWALL RD                                                                                STONEWALL           LA   71078
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Name                  Address1                      Address2             Address3                Address4         City                   State Zip
MICHAEL LOCKWOOD      4650 RAMSEY RD                                                                              OXFORD                  MI 48371‐3905
MICHAEL LODATO        2609 VALLEYDALE RD                                                                          STOW                    OH 44224‐2026
MICHAEL LODGE         3715 CASSANDRA DR                                                                           TIPP CITY               OH 45371‐9367
MICHAEL LODOVICO SR   1325 FARMINGTON AVE APT 43    FARMINGTON MEADOWS                                            BRISTOL                 CT 06010‐4756
MICHAEL LOEFFLER      3629 PERCY KING RD                                                                          WATERFORD               MI 48329‐1360
MICHAEL LOGAN         PO BOX 501                                                                                  ORTONVILLE              MI 48462‐0501
MICHAEL LOGAN         ATTN BRENT A LANCE            THE LANCE LAW FIRM   5520 SAINT CHARLES ST                    COTTLEVILLE             MO 63304
MICHAEL LOGRASSO JR   980 RUIE RD                                                                                 NORTH TONAWANDA         NY 14120‐1728
MICHAEL LOISELLE      6013 GRAND BLANC RD                                                                         SWARTZ CREEK            MI 48473‐9441
MICHAEL LOMBARDO      235 COASTAL HILL DR                                                                         INDIAN HARBOUR BEACH    FL 32937‐2759
MICHAEL LOMBARDO      17 GERALDINE PKWY                                                                           ROCHESTER               NY 14624‐1609
MICHAEL LONARDO       7211 SHELDON AVE                                                                            BOARDMAN                OH 44512‐4627
MICHAEL LONDON        26421 NOTRE DAME ST                                                                         INKSTER                 MI 48141‐2656
MICHAEL LONDON        1676 STIRLING AVE                                                                           PONTIAC                 MI 48340‐1344
MICHAEL LONG          33 FISHER RD                                                                                GROSSE POINTE           MI 48230‐1601
MICHAEL LONG          1026 E VIENNA RD                                                                            CLIO                    MI 48420‐1834
MICHAEL LONG          11913 SHADY PINES DR                                                                        GRAND LEDGE             MI 48837‐9191
MICHAEL LONG          918 MANOR PL                                                                                SHREVEPORT              LA 71118‐3420
MICHAEL LONG          3882 FORGE DR                                                                               TROY                    MI 48083‐5926
MICHAEL LONG          PO BOX 82001                                                                                ROCHESTER               MI 48308‐2001
MICHAEL LONG          5995 HOOVER AVE                                                                             DAYTON                  OH 45427‐2218
MICHAEL LONG          9550 WASHINGTON CHURCH RD                                                                   MIAMISBURG              OH 45342‐4549
MICHAEL LONG          5300 DANA SPRINGS WAY                                                                       LAS VEGAS               NV 89130‐1736
MICHAEL LONG          710 RAILWAY AVE                                                                             HOLGATE                 OH 43527‐9724
MICHAEL LONG          1 JANICE LN                                                                                 SHAWNEE                 OK 74801‐5615
MICHAEL LONGE         1016 E WINDEMERE AVE                                                                        ROYAL OAK               MI 48073‐2858
MICHAEL LONGFELLOW    104 S KANSAS AVE                                                                            DANVILLE                 IL 61834‐5271
MICHAEL LONGJOHN      12536 S 36TH ST                                                                             VICKSBURG               MI 49097‐8567
MICHAEL LONSER        14240 WAMPLERS LAKE RD                                                                      BROOKLYN                MI 49230‐9556
MICHAEL LOONEY        510 W ALMA AVE                                                                              FLINT                   MI 48505‐2093
MICHAEL LOOP          1321 LEEWARD LN                                                                             SAINT HELEN             MI 48656‐9230
MICHAEL LOPEZ         1260 SCOTT LAKE RD                                                                          WATERFORD               MI 48328‐1577
MICHAEL LOPEZ
MICHAEL LORANG        240 S MONROE ST                                                                             ROCKFORD               MI   49341‐1234
MICHAEL LORENTI       4581 LOWER RIVER RD                                                                         LEWISTON               NY   14092‐1061
MICHAEL LORENZ        1330 KINGS CARRIAGE RD                                                                      GRAND BLANC            MI   48439‐8785
MICHAEL LORINCZ       45712 CUMBERLAND ST                                                                         SHELBY TOWNSHIP        MI   48317‐4608
MICHAEL LORNSON       175 HILLSIDE AVE                                                                            ROANOKE                IN   46783‐8832
MICHAEL LOSCHIAVO     59 FREDERICK RD                                                                             TONAWANDA              NY   14150‐4214
MICHAEL LOSEE         2119 S MCCLELLAND RD                                                                        ITHACA                 MI   48847‐9522
MICHAEL LOSEY         1412 KETTERING ST                                                                           BURTON                 MI   48509‐2406
MICHAEL LOSEY         371 COUNTRY ESTATES DR                                                                      MITCHELL               IN   47446‐6616
MICHAEL LOTZ          1508 GAGE RD                                                                                FORESTVILLE            NY   14062‐9528
MICHAEL LOUCH         4360 BARTON RD                                                                              LANSING                MI   48917‐1656
MICHAEL LOVE          PO BOX 456                                                                                  MILLINGTON             MI   48746‐0456
MICHAEL LOVE          11336 S GRAYLING RD                                                                         ROSCOMMON              MI   48653‐8880
MICHAEL LOVE          15832 GEORGE WASHINGTON DR                                                                  SOUTHFIELD             MI   48075‐3083
MICHAEL LOVEDAY       1687 PARDY LN                                                                               LEONARD                MI   48367‐4452
MICHAEL LOVELAND      8681 MURPHY LAKE RD                                                                         VASSAR                 MI   48768‐9631
MICHAEL LOVELL        260 LENA HILL DR                                                                            LEONARD                MI   48367‐4215
MICHAEL LOVETT        1648 TAYLOR RD ‐ 508                                                                        PORT ORANGE            FL   32128
MICHAEL LOWE          4171 W LAKE RD                                                                              CLIO                   MI   48420‐8852
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Name                        Address1                        Address2          Address3         Address4              City             State Zip
MICHAEL LOWE                5232 W FARRAND RD                                                                        CLIO              MI 48420‐8251
MICHAEL LOWERY              46 ELSMAR AVE                                                                            FORT THOMAS       KY 41075‐1038
MICHAEL LOWRY               302 HICKORY LN                                                                           FRANKLIN          TN 37064‐5238
MICHAEL LOYA                1517 WOODHURST AVE                                                                       MAYFIELD HTS      OH 44124‐3405
MICHAEL LOYD                1101 OAK HILL DR                                                                         COOKEVILLE        TN 38501‐6612
MICHAEL LOYD & ASSOCIATES   3810 N PENIEL AVE                                                                        BETHANY           OK 73008‐3443
MICHAEL LOZON               17408 KOOGLER ST                                                                         CLINTON TWP       MI 48038‐1753
MICHAEL LOZON               1185 HULL ST                                                                             SPARTA            MI 49345‐8489
MICHAEL LOZON               8190 POTTER RD                                                                           FLUSHING          MI 48433‐9445
MICHAEL LUBIANETZKI         PO BOX 454                                                                               VIENNA            OH 44473‐0454
MICHAEL LUCAS
MICHAEL LUCAS               295 LANE 201 TURKEY LK                                                                   HUDSON           IN   46747‐9754
MICHAEL LUCAS               435 WEST SCHLERER DRIVE         APT 26                                                   FRANKENMUTH      MI   48734
MICHAEL LUCAS               3809 CHERRY BLOSSOM BLVD                                                                 INDIANAPOLIS     IN   46237‐3814
MICHAEL LUCE                376 SPRINGVILLE AVE                                                                      AMHERST          NY   14226‐2858
MICHAEL LUCHETTA            7930 ADAMS ST                                                                            DARIEN           IL   60561‐5004
MICHAEL LUCIDO              42372 COTSWOLD CT                                                                        NORTHVILLE       MI   48168‐2010
MICHAEL LUCIDORE            1114 EASTBROOK HARLANSBURG RD                                                            NEW CASTLE       PA   16101‐8412
MICHAEL LUCKETT             1657 VALDOSTA CIR                                                                        PONTIAC          MI   48340‐1083
MICHAEL LUCKHAM             1487 MALIBU CT                                                                           HIGHLAND         MI   48357‐2650
MICHAEL LUDLOW              4313 PATUXET DR                                                                          LAFAYETTE        IN   47909‐8236
MICHAEL LUECK               9318 S SPRINGHILL LN                                                                     FRANKLIN         WI   53132‐9141
MICHAEL LUEPKE              3328 S SPRINGFIELD AVE                                                                   MILWAUKEE        WI   53207‐3136
MICHAEL LUETH               1029 BEDFORD DR                                                                          JANESVILLE       WI   53546‐3726
MICHAEL LUICK               1624 W GARRISON RD                                                                       OWOSSO           MI   48867‐9743
MICHAEL LUKACZYK            1224 BUCKINGHAM CT                                                                       ADRIAN           MI   49221‐9368
MICHAEL LUKE                25090 CORAL GABLES                                                                       SOUTHFIELD       MI   48034‐2403
MICHAEL LUKITSCH            1428 NEW HAMPSHIRE AVE                                                                   MARYSVILLE       MI   48040‐1707
MICHAEL LUKON JR            8419 CLASSIQUE AVE UNIT 101                                                              LAS VEGAS        NV   89178‐8613
MICHAEL LUMA                7113 MAPLE AVE                                                                           CASTALIA         OH   44824‐9301
MICHAEL LUMBERT             PO BOX 634                                                                               MASON            MI   48854‐0634
MICHAEL LUMMUS              PO BOX 124                                                                               BLOOMBURG        TX   75556‐0124
MICHAEL LUMPKIN             PO BOX 111883                                                                            NASHVILLE        TN   37222‐1883
MICHAEL LUMPKINS            200 N BIGBY DR                                                                           COLUMBIA         TN   38401‐4706
MICHAEL LUMSDEN             7711 N MICHIGAN RD                                                                       SAGINAW          MI   48604‐9728
MICHAEL LUNDBY              9670 SILVERSIDE                                                                          SOUTH LYON       MI   48178‐9317
MICHAEL LUNZ                ADAM‐ ALLENDORF‐ WEG 7                                             MAINZ 55122 GERMANY
MICHAEL LUNZ                ADAM‐ALLENDORF WEG 7                                                                     MAINZ
MICHAEL LUTAWAN             4 E LEXTON RD                                                                            NEW CASTLE       DE   19720‐8826
MICHAEL LUTEYN              9373 NORTH 27TH STREET                                                                   RICHLAND         MI   49083‐9562
MICHAEL LUTIKER             529 JACK CROWELL RD                                                                      EROS             LA   71238‐8488
MICHAEL LUTTERBEI           4900 RANGEWOOD DR                                                                        FLOWER MOUND     TX   75028‐1696
MICHAEL LUTZ                2714 RED SCHOOLHOUSE RD                                                                  OSCEOLA MILLS    PA   16666‐8627
MICHAEL LUTZ                G5046 FENTON RD                                                                          FLINT            MI   48507‐4041
MICHAEL LUYET               912 BRASILENO CT                                                                         VIRGINIA BEACH   VA   23456‐6443
MICHAEL LYNCH               214 W BROWN RD                                                                           MUNGER           MI   48747‐9304
MICHAEL LYNCH               2217 W ANDERSON RD                                                                       LINWOOD          MI   48634‐9743
MICHAEL LYNCH               2718 WILLOWRIDGE DR                                                                      DAYTON           OH   45414‐2840
MICHAEL LYNCH               219 ONIZUKA CT                                                                           SOMERSET         NJ   08873
MICHAEL LYON                PO BOX 139                                                                               ELSIE            MI   48831‐0139
MICHAEL LYONS               4900 N NOTTINGHAM AVE                                                                    CHICAGO          IL   60656‐3827
MICHAEL LYONS               9275 EAGLE RD                                                                            DAVISBURG        MI   48350‐2105
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Name                   Address1                         Address2            Address3         Address4         City              State Zip
MICHAEL LYONS          5010 TYRONE RD                                                                         FORT WAYNE         IN 46809‐1918
MICHAEL LYONS          23019 STATE HIGHWAY B                                                                  HERMANN            MO 65041‐6044
MICHAEL LYPKA          46991 RED OAK DR                                                                       NORTHVILLE         MI 48168‐1868
MICHAEL LYSHER         1159 W ROWLAND ST                                                                      FLINT              MI 48507‐4012
MICHAEL M BISHOP       293 MILL RD                                                                            ROCHESTER          NY 14626‐1035
MICHAEL M BISHOP       293 MILL RD                                                                            ROCHESTER          NY 14626‐1035
MICHAEL M BOLDIZAR     26656 W OUTER DR                                                                       ECORSE             MI 48229‐1247
MICHAEL M DOZIER       840 KUMLER AVE                                                                         DAYTON             OH 45407‐1912
MICHAEL M FOLEY        215 DUPONT AVE                                                                         TONAWANDA          NY 14150‐7816
MICHAEL M GONZALEZ     1020 HICKORY RIDGE CIR                                                                 MILFORD            MI 48380‐3430
MICHAEL M GRABOWSKI    909 5TH ST                                                                             BAY CITY           MI 48708‐6027
MICHAEL M MAGLEY       506 E MCCONNELL ST                                                                     SAINT JOHNS        MI 48879
MICHAEL M MAJHAN       46201 CHATSWORTH DR                                                                    BELLEVILLE         MI 48111‐1218
MICHAEL M MENZER       5306 DURFEE RD                                                                         EATON RAPIDS       MI 48827‐8909
MICHAEL M MUNGER       1020 E FRANCES RD                                                                      MOUNT MORRIS       MI 48458‐1126
MICHAEL M NALAZEK      2976 E. ZURICH DR. LOT #064                                                            BAY CITY           MI 48706
MICHAEL M NICHOLAS     146 ALBERT ST NE                                                                       WARREN             OH 44483
MICHAEL M NOVAK        10052 COUNTRY BROOK RD                                                                 BOCA RATON         FL 33428
MICHAEL M NOVAK        307 MARZ WAY                                                                           KEYPORT            NJ 07735
MICHAEL M RITTEL       1450 N STATE RTE 934                                                                   ANNVILLE           PA 17003
MICHAEL M RYBAK        200 GORDON AVE                                                                         MATTYDALE          NY 13211‐1818
MICHAEL M SAVICH       3874 POTATO FARM RD                                                                    CROSSVILLE         TN 38571
MICHAEL M SHINEDLING   102 W TENNYSON AVE                                                                     PONTIAC            MI 48340‐2672
MICHAEL M SHINEDLING   109 PARKDALE AVE                                                                       PONTIAC            MI 48340‐2549
MICHAEL M TODD         1049 ST. RT. 42 SOUTH                                                                  XENIA              OH 45385‐9351
MICHAEL M WALL SR      502 PLYMOUTH AVE                                                                       SYRACUSE           NY 13211‐1243
MICHAEL M WINNING      312 FARNSWORTH                                                                         W CARROLLTON       OH 45459
MICHAEL M YUGOVICH     3804 JEANETTE DR SE                                                                    WARREN             OH 44484‐2763
MICHAEL MABON          1805 MYRTLE AVE                                                                        KANSAS CITY        MO 64127‐3406
MICHAEL MAC DONALD     5962 OAKLAND VALLEY DR                                                                 ROCHESTER          MI 48306‐2850
MICHAEL MACALPINE      PO BOX 300754                                                                          DRAYTON PLAINS     MI 48330‐0754
MICHAEL MACAULEY       339 COUNTY ROUTE 41                                                                    MASSENA            NY 13662‐3121
MICHAEL MACCIOMEI      52689 ARAGON DR                                                                        SHELBY TOWNSHIP    MI 48315‐2506
MICHAEL MACEK          17317 FIVE POINTS ST                                                                   REDFORD            MI 48240‐2121
MICHAEL MACHESNEY      2124 E PARKWOOD AVE                                                                    BURTON             MI 48529‐1766
MICHAEL MACHLEIT       26479 MONTICELLO ST                                                                    INKSTER            MI 48141‐1322
MICHAEL MACHULSKI      11410 GREEN HOLLY CV                                                                   FORT WAYNE         IN 46845‐2015
MICHAEL MACIAG         455 CENTRAL AVE                                                                        LANCASTER          NY 14086‐1252
MICHAEL MACIEJEWSKI    49536 CUMBERLAND DR                                                                    MACOMB             MI 48044‐1812
MICHAEL MACK           4030 W OUTER DRIVE 236                                                                 DETROIT            MI 48221
MICHAEL MACKEY         1116 NE 22ND ST                                                                        MOORE              OK 73160‐6322
MICHAEL MACKEY         290 MAPLE                                                                              CARLISLE           OH 45005
MICHAEL MACKIEWICZ     PO BOX 884                                                                             CENTRAL LAKE       MI 49622‐0884
MICHAEL MACUGA         59190 ELIZABETH LN                                                                     RAY TWP            MI 48096‐3551
MICHAEL MADDEN         5350 24 MILE RD                                                                        SHELBY TWP         MI 48316‐3114
MICHAEL MADDOX         5182 BOARDMAN DR                                                                       ONSTED             MI 49265
MICHAEL MADIGAN        2767 MOHAWK LN                                                                         ROCHESTER HILLS    MI 48306‐3831
MICHAEL MADIGAN        2176 SUNRISE DR                                                                        JACKSONVILLE       FL 32246‐2214
MICHAEL MADSEN         1027 BROOKSIDE CT                                                                      OXFORD             MI 48371‐6053
MICHAEL MADSEN         4440 E ARROWHEAD LN                                                                    JANESVILLE         WI 53546‐8836
MICHAEL MAGAT          3220 W INA RD                    APT 15202                                             TUCSON             AZ 85741‐2171
MICHAEL MAGDINEC       10111 S HIGHLAND AVE                                                                   GARFIELD HTS       OH 44125‐5917
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Name                     Address1                         Address2                     Address3   Address4         City              State Zip
MICHAEL MAGEE            6219 SHADY OAK ST                                                                         DAYTON             OH 45424‐4028
MICHAEL MAGEE            PO BOX 1538                                                                               BRIGHTON           MI 48116‐5338
MICHAEL MAGEE            8265 CADE RD                                                                              BROWN CITY         MI 48416‐9666
MICHAEL MAGERS           7490 S 250 W                                                                              PENDLETON          IN 46064‐9088
MICHAEL MAGISTRO         417 LAKE CIR                                                                              COLUMBIA           TN 38401‐8881
MICHAEL MAGLEY           210 S WHITTEMORE ST                                                                       SAINT JOHNS        MI 48879‐1904
MICHAEL MAGLOTHIN        2735 S HADLEY RD                                                                          ORTONVILLE         MI 48462‐9291
MICHAEL MAGNOTTE         1105 W MAPLE AVE                                                                          FLINT              MI 48507‐3731
MICHAEL MAGUIRE          3861 VAN GEISEN RD                                                                        CARO               MI 48723‐9648
MICHAEL MAGWOOD          15177 WACOUSTA RD                                                                         GRAND LEDGE        MI 48837‐9256
MICHAEL MAHALAK          5477 CALKINS RD                                                                           FLINT              MI 48532‐3304
MICHAEL MAHER            265 RICHMOND AVE                                                                          BOAZ               AL 35957‐6448
MICHAEL MAHER            80 STOUGHTON AVE                                                                          MASSENA            NY 13662‐1209
MICHAEL MAHER            9265 THENDARA BLVD                                                                        CLARKSTON          MI 48348‐3289
MICHAEL MAHER            PO BOX 183385                                                                             SHELBY TOWNSHIP    MI 48318‐3385
MICHAEL MAHER            2365 E RIDGE RD APT 76                                                                    ROCHESTER          NY 14622
MICHAEL MAHONEY
MICHAEL MAHONEY          6188 N 418 W                                                                              MARION            IN   46952‐9655
MICHAEL MAHONEY          115 W KLEIN RD                                                                            WILLIAMSVILLE     NY   14221‐1527
MICHAEL MAHONEY          14600 ROBSON RD                                                                           BATH              MI   48808‐9711
MICHAEL MAHONEY          3702 TWILIGHT DR                                                                          FLINT             MI   48506‐2555
MICHAEL MAISANO          21460 CARLTON DR                                                                          MACOMB            MI   48044‐1857
MICHAEL MAIVILLE         360 E TUTTLE RD LOT 104                                                                   IONIA             MI   48846‐8622
MICHAEL MAIZLAND         7555 GLEN HATT DR                                                                         LINDEN            MI   48451‐8719
MICHAEL MAJCHROWSKI      14201 IROQUOIS DRIVE                                                                      FENTON            MI   48430
MICHAEL MAJERNICEK       1087 HANNA ST                                                                             GRAND BLANC       MI   48439‐9357
MICHAEL MAJESKI          1609 SUE AVE                                                                              MIAMISBURG        OH   45342‐3846
MICHAEL MAJEWSKI         22805 LAKE WAY                                                                            FARMINGTON        MI   48336‐3211
MICHAEL MAJHAN           46201 CHATSWORTH DR                                                                       BELLEVILLE        MI   48111‐1218
MICHAEL MAJOR            17147 HOXEYVILLE RD                                                                       WELLSTON          MI   49689‐9754
MICHAEL MALANOWSKI       BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH   44236
MICHAEL MALECKI          8526 MOORISH RD                                                                           BIRCH RUN         MI   48415‐8570
MICHAEL MALENFANT        717 MONTROSE AVE                                                                          ROYAL OAK         MI   48073‐2719
MICHAEL MALES            346 N SUMMERFIELD DR                                                                      GREENFIELD        IN   46140‐8400
MICHAEL MALESKIS I I I   4 BENZ DR                                                                                 DEPEW             NY   14043‐4626
MICHAEL MALESKO          2644 SAN RAE DR                                                                           KETTERING         OH   45419‐2766
MICHAEL MALINICH         3454 EASTDALE DR                                                                          FLINT             MI   48506‐2268
MICHAEL MALINOWSKI       6481 FENTON ST                                                                            DEARBORN HTS      MI   48127‐2114
MICHAEL MALINOWSKI       2470 HOBBS DRIVE                                                                          ALPENA            MI   49707‐4318
MICHAEL MALINOWSKI       3489 WOODLANDS CIR                                                                        MACEDON           NY   14502‐9307
MICHAEL MALINOWSKI       711 MCKINLEY PKWY                                                                         BUFFALO           NY   14220‐1523
MICHAEL MALKOWSKI        6270 FAUSSETT RD                                                                          HOWELL            MI   48855‐9238
MICHAEL MALLECK          1200 MCGRAW ST                                                                            BAY CITY          MI   48708‐8451
MICHAEL MALLIA           2545 WOODMONT DR E                                                                        CANTON            MI   48188‐1666
MICHAEL MALLORY          310 N VAN BUREN ST                                                                        BLOOMINGDALE      MI   49026‐8717
MICHAEL MALLOY           1215 N JENISON AVE                                                                        LANSING           MI   48915‐1415
MICHAEL MALLOY           929 RAMBLEWOOD DR                                                                         ROCHESTER         MI   48307‐6068
MICHAEL MALLOY           9398 S STATE RD                                                                           MORRICE           MI   48857‐9751
MICHAEL MALMO            3385 E BURT RD                                                                            BURT              MI   48417‐9638
MICHAEL MALNAR           14414 N BRAY RD                                                                           CLIO              MI   48420‐7930
MICHAEL MALONE           11541 BUNTON RD                                                                           WILLIS            MI   48191‐9731
MICHAEL MALONE           5267 WELLS RD                                                                             PETERSBURG        MI   49270‐9396
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Name                   Address1                        Address2                      Address3           Address4         City               State Zip
MICHAEL MALONEY        1357 WHITNEY ST                                                                                   SHAKOPEE            MN 55379‐8037
MICHAEL MALONEY        9566 DEER HOLLOW LN                                                                               WARRENTON           VA 20186‐7807
MICHAEL MALONEY        8885 MCCAIN RD                                                                                    PARMA               MI 49269‐9701
MICHAEL MALTERER       8843 W SEEMAN RD                                                                                  EVANSVILLE          WI 53536‐8727
MICHAEL MAMENKO JR     1433 SUMMIT ST APT 1‐C                                                                            LINWOOD             PA 19061‐4336
MICHAEL MAMULA JR      6145 KIMMEL RD                                                                                    CLAYTON             OH 45315‐8922
MICHAEL MANCINI        1930 MCCOLLUM RD                                                                                  YOUNGSTOWN          OH 44509‐2137
MICHAEL MANCUSO        19976 DAMMAN ST                                                                                   HARPER WOODS        MI 48225‐1768
MICHAEL MANDA JR       911 CYNTHIA CT                                                                                    NILES               OH 44446‐2742
MICHAEL MANDICH        4425 GAGETOWN RD                                                                                  OWENDALE            MI 48754‐9787
MICHAEL MANDOKA        2072 1 1/2 MILE RD                                                                                FULTON              MI 49052‐9615
MICHAEL MANDROS        500 WIND RIVER DRIVE APT B                                                                        GREEN RIVER         WY 82935
MICHAEL MANDZIUK       5104 PARVIEW DR                                                                                   CLARKSTON           MI 48346‐2806
MICHAEL MANER          969 OLIVER RD                                                                                     HAUGHTON            LA 71037‐8947
MICHAEL MANES          WEDBUSH MORGAN SEC CTDN         IRA CONT 01/17/06 ALT INV     6002 W ALDER AVE                    LITTLETON           CO 80128
MICHAEL MANISCALCO     525 WASHINGTOM BLVD                                                                               JERSEY CITY         NJ 07310
MICHAEL MANKO          1008 S HOLMES ST                                                                                  LANSING             MI 48912‐1924
MICHAEL MANLEY         3185 GEORGE RUSSELL RD                                                                            DECATUR             AL 35603‐4043
MICHAEL MANLOVE        1665 DARTMOUTH ST                                                                                 CLEARWATER          FL 33755‐6404
MICHAEL MANNING        10243 EAGLE CLIFF WAY                                                                             SANDY               UT 84092‐4931
MICHAEL MANNING        124 TULIP DR                                                                                      W CARROLLTON        OH 45449‐2044
MICHAEL MANSELL        2400 COVERT RD                                                                                    BURTON              MI 48509‐1019
MICHAEL MANSFIELD      748 LEISURE LN                                                                                    GREENWOOD           IN 46142‐8319
MICHAEL MANSIR         9140 CASTLE HILL AVE                                                                              ENGLEWOOD           FL 34224‐7604
MICHAEL MANSO          341 ALTAVIEW DR                                                                                   MONROEVILLE         PA 15146‐3714
MICHAEL MANTEY         4210 DREXEL DR                                                                                    TROY                MI 48098‐4312
MICHAEL MANTHEI        2812 REGENT ST                                                                                    JANESVILLE          WI 53546‐4407
MICHAEL MANWELL        1460 SAN ROY DR                                                                                   DUNEDIN             FL 34698‐4352
MICHAEL MANZARDO       3918 BRANCH RD                                                                                    FLINT               MI 48506‐2418
MICHAEL MARASCHIELLO   932 80TH ST                                                                                       NIAGARA FALLS       NY 14304‐4701
MICHAEL MARCHIG        509 MACDUFF DR                                                                                    MOUNT MORRIS        MI 48458‐8922
MICHAEL MARCHIONE      36672 STACEY ST                                                                                   NEW BALTIMORE       MI 48047‐5536
MICHAEL MARCHWINSKI    47147 SUSAN RD                                                                                    MACOMB              MI 48044‐2585
MICHAEL MARCINIAK      3272 MAC AVE                                                                                      FLINT               MI 48506‐2124
MICHAEL MARCKS         10602 N OAKWAY LN                                                                                 EDGERTON            WI 53534‐8606
MICHAEL MARCOTTE       3087 HAVERFORD DR                                                                                 CANTON              MI 48188‐3303
MICHAEL MARCUS IRA     20983 WAVEVIEW DR                                                                                 TOPANGA             CA 90290
MICHAEL MARCY          23 MCCOLLUM ST                                                                                    LOCKPORT            NY 14094‐2939
MICHAEL MARETICK
MICHAEL MARHEE         612 BEKKEDAL CT                                                                                   VIROQUA            WI   54665‐1135
MICHAEL MARICH         8211 LIBERTY BLVD                                                                                 WESTLAND           MI   48185‐1731
MICHAEL MARIN          124 SARATOGA BLVD                                                                                 SARATOGA SPRINGS   NY   12866‐9194
MICHAEL MARINO         603 PURDUE AVE                                                                                    AUSTINTOWN         OH   44515‐4215
MICHAEL MARK           THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                                       HOUSTON            TX   77017
MICHAEL MARKEL         12075 SANDY RD                                                                                    NORTH JACKSON      OH   44451‐9637
MICHAEL MARKLE         6526 S 450 E                                                                                      MARKLEVILLE        IN   46056‐9450
MICHAEL MARKS          3452 MAHOPAC DR                                                                                   LAKE ORION         MI   48360‐1526
MICHAEL MARLEY         6769 N E00W                                                                                       MARION             IN   46952
MICHAEL MARLEY         315 E WALKER ST                                                                                   JONESBORO          IN   46938‐1646
MICHAEL MARMULAK       C/O MOTLEY RICE LLC             28 BRIDGESIDE BLVD            PO BOX 1792                         MT PLEASANT        SC   29465
MICHAEL MARONEY        1944 GUY WAY                                                                                      BALTIMORE          MD   21222‐4751
MICHAEL MARRANCA       56 WILMA DR                                                                                       LANCASTER          NY   14086‐2718
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Name                Address1                       Address2                     Address3   Address4                  City               State Zip
MICHAEL MARRANCO    643 LINDEN AVE                                                                                   BUFFALO             NY 14216‐2716
MICHAEL MARSH       PO BOX 251                     100 BENNETT DRIVE                                                 MARKLEVILLE         IN 46056‐0251
MICHAEL MARSH       2515 PHALANX MILLS HERNER RD                                                                     SOUTHINGTON         OH 44470‐9515
MICHAEL MARSH       7010 DELLBANK DR                                                                                 CLEVELAND           OH 44144‐1627
MICHAEL MARSH       2096 DARKS MILL RD                                                                               COLUMBIA            TN 38401‐7261
MICHAEL MARSH       813 LENORE AVE                                                                                   LANSING             MI 48910‐2766
MICHAEL MARSH       4637 N 200 E                                                                                     ANDERSON            IN 46012‐9515
MICHAEL MARSHALL    4446 THORNHILL DR                                                                                AUBURN HILLS        MI 48326‐4316
MICHAEL MARSHALL    32840 SCONE ST                                                                                   LIVONIA             MI 48154‐4140
MICHAEL MARSHALL    10731 WACOUSTA RD                                                                                DEWITT              MI 48820‐8071
MICHAEL MARSHALL    23011 ALBION AVE                                                                                 FARMINGTON HILLS    MI 48336‐3609
MICHAEL MARSHALL    1892 HALL ST                                                                                     HOLT                MI 48842‐1703
MICHAEL MARSIGLIA   1939 KNOLLWOOD BND                                                                               YPSILANTI           MI 48198‐9551
MICHAEL MARSON      1900 RAMSEY CREEK RD                                                                             JAMESTOWN           KY 42629‐6520
MICHAEL MARTELLI    670 GOLF VILLA DR                                                                                OXFORD              MI 48371‐3695
MICHAEL MARTIN      2100 RENEGADE CT                                                                                 CARMEL              IN 46032‐7118
MICHAEL MARTIN      9180 HILL RD                                                                                     WALES               MI 48027‐1800
MICHAEL MARTIN      541 S MELBORN ST                                                                                 DEARBORN            MI 48124‐1654
MICHAEL MARTIN      7700 GREMECY PARK RD                                                                             KINGSVILLE          MD 21087‐1161
MICHAEL MARTIN      9364 HOPP RD                                                                                     SAINT JOHNS         MI 48879‐9243
MICHAEL MARTIN      3907 NOE BIXBY RD                                                                                COLUMBUS            OH 43232‐6114
MICHAEL MARTIN      1061 WOODS DR                                                                                    TALLMADGE           OH 44278‐3353
MICHAEL MARTIN      8443 SOMERVILLE DR                                                                               INDIANAPOLIS        IN 46216‐2059
MICHAEL MARTIN      150 CRESTON DR                                                                                   BOARDMAN            OH 44512‐6501
MICHAEL MARTIN      3549 HOPKINS DR                                                                                  WILMINGTON          DE 19808‐2914
MICHAEL MARTIN      PO BOX 134                                                                                       GASPORT             NY 14067‐0134
MICHAEL MARTIN      6273 CORWIN CRES                                                       NIAGARA FALLS ON L2G2L9
                                                                                           CANADA
MICHAEL MARTIN      22539 LE FEVER AVE                                                                               WARREN             MI   48091‐5239
MICHAEL MARTIN      393 S BRIARCLIFF DR                                                                              CANFIELD           OH   44406‐1016
MICHAEL MARTIN      14017 BELSAY RD                                                                                  MILLINGTON         MI   48746‐9215
MICHAEL MARTIN      PO BOX 1213                                                                                      MCLOUD             OK   74851‐1213
MICHAEL MARTIN      3408 LINCOLNSHIRE BLVD                                                                           KALAMAZOO          MI   49001‐5015
MICHAEL MARTIN      8565 COUNTY ROAD 236                                                                             TOWN CREEK         AL   35672‐6928
MICHAEL MARTIN      6263 W COLUMBIA RD                                                                               MASON              MI   48854‐9517
MICHAEL MARTIN      10457 WATERLOO MUNITH RD                                                                         GRASS LAKE         MI   49240‐9521
MICHAEL MARTIN      9850 W FAIRGROVE RD                                                                              REESE              MI   48757‐9513
MICHAEL MARTIN      553 FOREST ST                                                                                    WYANDOTTE          MI   48192‐6820
MICHAEL MARTIN      6179 KING ARTHUR DR                                                                              SWARTZ CREEK       MI   48473‐8808
MICHAEL MARTIN      4416 LINCHMERE DR                                                                                DAYTON             OH   45415‐1811
MICHAEL MARTIN      2414 N MACEDONIA AVE                                                                             MUNCIE             IN   47303‐2343
MICHAEL MARTIN      1318 BARBARA DR                                                                                  FLINT              MI   48505‐2594
MICHAEL MARTIN      9222 GARRISON DR APT 308B      C/O SHARON E DOBBS                                                INDIANAPOLIS       IN   46240‐4244
MICHAEL MARTIN      3294 MUNDELEIN PL                                                                                THE VILLAGES       FL   32162‐7118
MICHAEL MARTIN      751 AVENUE C                   LOT 31                                                            CHEYENNE           WY   82007‐2630
MICHAEL MARTIN      #4                             21845 INDIAN CREEK DRIVE                                          FARMINGTN HLS      MI   48335‐5535
MICHAEL MARTIN      635 S SEYMOUR RD                                                                                 FLUSHING           MI   48433‐2621
MICHAEL MARTIN      875 MARY JO RD                                                                                   SILEX              MO   63377‐3207
MICHAEL MARTIN      5900 TIMBERGATE TRL                                                                              HUBER HEIGHTS      OH   45424‐1158
MICHAEL MARTIN      240 LANE 220 BIG TURKEY LK                                                                       HUDSON             IN   46747‐9320
MICHAEL MARTIN      4353 N IRISH RD                                                                                  DAVISON            MI   48423‐8946
MICHAEL MARTIN      BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH   44236
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Name                     Address1                          Address2                      Address3   Address4         City              State Zip
MICHAEL MARTINA          1145 WASKOM ELYSIAN FIELDS RD                                                               WASKOM             TX 75692‐6805
MICHAEL MARTINEZ         4605 BEACH RIDGE RD                                                                         LOCKPORT           NY 14094‐9612
MICHAEL MARTINEZ         205 W HOUSTONIA AVE                                                                         ROYAL OAK          MI 48073‐4189
MICHAEL MARTINEZ         1327 W COMMERCE ST                                                                          LEWISBURG          TN 37091‐3127
MICHAEL MARTINEZ         3050 MERWOOD DR                                                                             MOUNT MORRIS       MI 48458‐8208
MICHAEL MARTINKA         7224 SLAFTER RD                                                                             VASSAR             MI 48768‐9653
MICHAEL MARTINKO         19824 SCENIC HARBOUR DR                                                                     NORTHVILLE         MI 48167‐1980
MICHAEL MARTZ            20802 TWISTING TRL                                                                          LEANDER            TX 78645‐6421
MICHAEL MARUCA           777 AIRPORT RD NW                                                                           WARREN             OH 44481‐9409
MICHAEL MARUSKA          4441 OMEGA DR                                                                               MIDLOTHIAN         TX 76065‐4564
MICHAEL MARVE            6342 STONEGATE PKWY                                                                         FLINT              MI 48532‐2152
MICHAEL MARX             13105 BELSAY RD                                                                             MILLINGTON         MI 48746‐9226
MICHAEL MARZ             8895 RACHAEL DR                                                                             DAVISBURG          MI 48350‐1726
MICHAEL MASCARELLA       4299 HEATHERSTONE DR                                                                        WATERFORD          MI 48329‐2391
MICHAEL MASK             2760 MALLARD DR                                                                             WOODBURY           MN 55125‐3845
MICHAEL MASON            2607 SAINT JAMES CHURCH RD                                                                  WILMINGTON         DE 19808‐4033
MICHAEL MASON            5406 EMERSON WAY                                                                            ANDERSON           IN 46017‐9648
MICHAEL MASON
MICHAEL MASSA            1365 BETH LN                                                                                ORTONVILLE        MI   48462‐9752
MICHAEL MASSE            2310 PUMPKIN CREEK LN                                                                       SPRING HILL       TN   37174‐7502
MICHAEL MASSENGALE       11411 S 500 E                                                                               FAIRMOUNT         IN   46928‐9127
MICHAEL MASSER           29330 BONNIE DR                                                                             WARREN            MI   48093‐3576
MICHAEL MASSEY           # 13                              2690 BAYBERRY COURT                                       BROOKLYN          MI   49230‐9248
MICHAEL MASSEY           3852 WOODCLIFFE DR                                                                          NEW HAVEN         IN   46774‐3240
MICHAEL MASSEY           THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                               HOUSTON           TX   77017
MICHAEL MASSIE           PO BOX 292464                                                                               KETTERING         OH   45429‐0464
MICHAEL MASSIE           410 W LINDEN AVE                                                                            MIAMISBURG        OH   45342‐2230
MICHAEL MASTALSKI, JR.
MICHAEL MASTERSON        9924 W STATE ROAD 11                                                                        JANESVILLE        WI 53548‐9132
MICHAEL MASTORIO         8 PULASKI AVE                                                                               SAYREVILLE        NJ 08872‐1648
MICHAEL MATALUCCI
MICHAEL MATCHETT         1210 E COOPER RD                                                                            MUNCIE            IN   47303‐9450
MICHAEL MATEN            1975 ENTERPRISE DR                                                                          TROY              MI   48083‐1816
MICHAEL MATESICK         6606 NO TERRITORIAL RD 78                                                                   GREEN SPRINGS     OH   44836
MICHAEL MATHENY          389 CLARK DR APT 34                                                                         CIRCLEVILLE       OH   43113‐1875
MICHAEL MATHEWS          31520 VAN BORN RD APT 101                                                                   WAYNE             MI   48184‐2664
MICHAEL MATHEWS          5 DRYBRIDGE RD                                                                              MEDWAY            MA   02053‐2164
MICHAEL MATHIS           12125 N ELMS RD                                                                             CLIO              MI   48420‐9426
MICHAEL MATHIS           THE MADEKSHO LAW FIRM             8866 GULF FREEWAY SUITE 440                               HOUSTON           TX   77017
MICHAEL MATHIS
MICHAEL MATLOCK JR       2062 TOWNHALL TER APT 3                                                                     GRAND ISLAND      NY   14072
MICHAEL MATOUKA          54577 COVENTRY LN                                                                           SHELBY TOWNSHIP   MI   48315‐1621
MICHAEL MATRACIA         1294 E COONPATH RD                                                                          SPENCER           IN   47460‐6797
MICHAEL MATSON           4445 DIXON DR                                                                               SWARTZ CREEK      MI   48473‐8279
MICHAEL MATT             537 EAST ST                                                                                 MILFORD           MI   48381‐1635
MICHAEL MATTESON         514 E VAN BUREN ST                                                                          JANESVILLE        WI   53545‐4050
MICHAEL MATTHEWS         4042 WESTWAY ST                                                                             TOLEDO            OH   43612‐1637
MICHAEL MATTISON         1864 7 MILE RD                                                                              KAWKAWLIN         MI   48631‐9735
MICHAEL MATTISON         9656 WHITCOMB ST                                                                            DETROIT           MI   48227‐2091
MICHAEL MATTOX           1716 SE 7TH ST                                                                              MOORE             OK   73160‐8351
MICHAEL MATUSIK          1588 LAMBDEN RD                                                                             FLINT             MI   48532‐4552
MICHAEL MATUSIK          6374 BARNES RD                                                                              MILLINGTON        MI   48746‐9553
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Name                 Address1                         Address2                     Address3   Address4               City              State Zip
MICHAEL MATUSZAK     706 N MURRAY RD                                                                                 CARO               MI 48723‐9363
MICHAEL MATWEYCHEK   7711 RANDY DR                                                                                   WESTLAND           MI 48185‐5567
MICHAEL MATZKE       1504 S MARION AVE                                                                               JANESVILLE         WI 53546‐5423
MICHAEL MAUDE        1330 FOREST RIDGE DR                                                                            MILFORD            MI 48381‐4708
MICHAEL MAULDIN      58291 DEERFIELD DR                                                                              WASHINGTN TWP      MI 48094‐3525
MICHAEL MAULDIN      PO BOX 571                                                                                      DALLAS             GA 30132‐0010
MICHAEL MAURER       928 GRENOBLE DR UNIT B                                                                          LANSING            MI 48917‐3929
MICHAEL MAURICE      2044 NUTT RD                                                                                    DAYTON             OH 45458‐9364
MICHAEL MAURY        3307 COY AVE                                                                                    KALAMAZOO          MI 49048‐2247
MICHAEL MAUS         ILLERSTR 27                                                              90451 NURNBERG
                                                                                              GERMANY
MICHAEL MAUSOLF      4785 SUNDALE DR                                                                                 CLARKSTON         MI   48346‐3690
MICHAEL MAXA         12960 BALDWIN RD                                                                                CHESANING         MI   48616‐9498
MICHAEL MAXWELL      1283 ARLINGTON DR                                                                               XENIA             OH   45385‐5311
MICHAEL MAXWELL      4225 MILLER RD                   #334                                                           FLINT             MI   48507
MICHAEL MAXWELL      8330 E JEFFERSON AVE APT 709                                                                    DETROIT           MI   48214‐2741
MICHAEL MAXWELL      3585 MILLSBORO RD W                                                                             MANSFIELD         OH   44903‐8650
MICHAEL MAXWELL      13900 CLOVERLAWN ST                                                                             DETROIT           MI   48238‐2416
MICHAEL MAY          3368 CHERRY HILL DR                                                                             FAIRFIELD         OH   45014‐5202
MICHAEL MAY          PO BOX 1982                                                                                     MUNCIE            IN   47308‐1982
MICHAEL MAY          1616 15TH ST                                                                                    BEDFORD           IN   47421‐3604
MICHAEL MAY          1044 N OAKLAND BLVD APT 9                                                                       WATERFORD         MI   48327‐1566
MICHAEL MAYBERRY     15710 SORRENTO ST                                                                               DETROIT           MI   48227‐4028
MICHAEL MAYEWSKI     71707 JULIET CT                                                                                 BRUCE TWP         MI   48065‐3849
MICHAEL MAYFIELD     2005 N BRINGOLD AVE                                                                             HARRISON          MI   48625‐9782
MICHAEL MAYRA        5868 FAIRCASTLE DR                                                                              TROY              MI   48098‐2546
MICHAEL MAYS         119 ANITA DR                                                                                    WINDER            GA   30680‐3401
MICHAEL MAYVILLE     8030 WOODLAND TERR‐S                                                                            IRVINGTON         AL   36544
MICHAEL MAZANOWSKI   BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH   44236
MICHAEL MAZER JR     12 LYONS ST                                                                                     SOUTH RIVER       NJ   08882‐2443
MICHAEL MAZER JR     12 LYONS ST                                                                                     SOUTH RIVER       NJ   08882‐2443
MICHAEL MAZIASZ      2401 CHESWICK DRIVE                                                                             TROY              MI   48084
MICHAEL MAZZEO       1030C GREENLEAF RD                                                                              ROCHESTER         NY   14612‐1964
MICHAEL MC AFEE      1741 S CARRIAGE LN                                                                              CHANDLER          AZ   85286‐6714
MICHAEL MC BRIDE     5265 TARNOW ST                                                                                  DETROIT           MI   48210
MICHAEL MC CABE      1243 SOUTH 230TH STREET                                                                         PITTSBURG         KS   66762‐6856
MICHAEL MC CAFFREY   2614 S ATHENA                                                                                   MESA              AZ   85209‐7207
MICHAEL MC CALL      1644 QUEENS DR                                                                                  SOUTH PARK        PA   15129‐8835
MICHAEL MC CANN      28490 FOUNTAIN ST                                                                               ROSEVILLE         MI   48066‐4764
MICHAEL MC CARTHY    337 ANTOINETTE DR                                                                               ROCHESTER HILLS   MI   48309‐1114
MICHAEL MC CARTHY    6010 SNOW APPLE DR                                                                              CLARKSTON         MI   48346‐2445
MICHAEL MC CARTHY    5501 TRIPP RD                                                                                   TIPTON            MI   49287‐9620
MICHAEL MC CARTY     1965 PERO LAKE ROAD                                                                             LAPEER            MI   48446‐9093
MICHAEL MC CARTY     9232 VISTA DEL ARROYA DR                                                                        FLUSHING          MI   48433‐1235
MICHAEL MC CAULEY    4010 GENESEE RD                                                                                 LAPEER            MI   48446‐3608
MICHAEL MC CLAIN     4128 WOODSTOCK DR                                                                               FORT WAYNE        IN   46815‐6761
MICHAEL MC CLELLAN   2235 S SANDUSKY RD                                                                              SANDUSKY          MI   48471‐8961
MICHAEL MC CLURE     47120 VANKER AVE                                                                                SHELBY TOWNSHIP   MI   48317‐3469
MICHAEL MC COMBS     2323 PINGREE RD                                                                                 HOWELL            MI   48843‐9682
MICHAEL MC CONNELL   10056 WALNUT HILL DR                                                                            DAVISBURG         MI   48350‐1161
MICHAEL MC COY       130 PENRITH AVE                                                                                 ALMA              MI   48801‐2528
MICHAEL MC COY       124 CASAS DEL SUR ST                                                                            GRANBURY          TX   76049‐1406
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MICHAEL MC CUE         34984 SWAN CREEK BLVD                                                                 RICHMOND            MI 48062‐5519
MICHAEL MC CURRY       1954 N 79TH TER                                                                       KANSAS CITY         KS 66112‐2049
MICHAEL MC CUTCHEON    1136 WEST OUTER DRIVE                                                                 OAK RIDGE           TN 37830‐8611
MICHAEL MC DANIEL      2305 S PLAIN RD                                                                       CARO                MI 48723‐9465
MICHAEL MC DERMOTT     4150 WINIFRED ST                                                                      WAYNE               MI 48184‐2206
MICHAEL MC DONALD      7310 CRYSTAL LAKE DR APT 5                                                            SWARTZ CREEK        MI 48473‐8955
MICHAEL MC DONALD      PO BOX 587                       51 E ELMWOOD                                         LEONARD             MI 48367‐0587
MICHAEL MC DONALD      859 FALCON AVE                                                                        WATERFORD           MI 48328‐2501
MICHAEL MC DOUGALL     PO BOX 139                                                                            WELLSTON            MI 49689‐0139
MICHAEL MC ELLIGOTT    46 PAULA DR                                                                           CHEEKTOWAGA         NY 14225‐4432
MICHAEL MC ELMEEL      38630 GAINSBOROUGH DR                                                                 CLINTON TWP         MI 48038‐3224
MICHAEL MC ELWEE SR    8037 LARK LN                                                                          GRAND BLANC         MI 48439‐7251
MICHAEL MC EWAN        52137 RIVARD RD                                                                       NEW BALTIMORE       MI 48047‐4293
MICHAEL MC GAUGHY      738 TILDEN ST                                                                         FLINT               MI 48505‐3953
MICHAEL MC GEE         850 DOWNHILL LN                                                                       ROCHESTER HLS       MI 48307‐3341
MICHAEL MC GEE         47534 HICKORY ST APT 25211                                                            WIXOM               MI 48393‐2707
MICHAEL MC GINNIS      39901 E DORIS NEER RD                                                                 OAK GROVE           MO 64075‐7311
MICHAEL MC GRATH       13700 COMMONWEALTH ST                                                                 SOUTHGATE           MI 48195‐1975
MICHAEL MC GRAW        10542 WHITE LAKE RD                                                                   FENTON              MI 48430‐2474
MICHAEL MC GUIRE       127 CHANNEL CT                                                                        HOUGHTON LAKE       MI 48629‐9318
MICHAEL MC KAY         5540 INDIAN TRL                                                                       CHINA               MI 48054‐4400
MICHAEL MC KEE         PO BOX 291                                                                            LAPEER              MI 48446‐0291
MICHAEL MC KENNA       534 SURFWOOD LN                                                                       DAVISON             MI 48423‐1225
MICHAEL MC KIAN        601 LINCOLN LAWNS DR NW                                                               WALKER              MI 49534‐4551
MICHAEL MC KINLEY      494 BRANDT ST                                                                         GARDEN CITY         MI 48135‐2610
MICHAEL MC MAHON       852 BASELINE RD                                                                       GRAND ISLAND        NY 14072‐2508
MICHAEL MC MANUS       8 ROBIN RD                                                                            HOWELL              NJ 07731‐2048
MICHAEL MC MENEMY      2213 MISSOURI AVENUE                                                                  FLINT               MI 48506‐3862
MICHAEL MC NAMARA JR   6522 GRAND BLANC RD                                                                   SWARTZ CREEK        MI 48473‐9403
MICHAEL MC NEA         5475 GINA DR                                                                          SWARTZ CREEK        MI 48473‐8829
MICHAEL MC NEELY       21615 THOROFARE RD                                                                    GROSSE ILE          MI 48138‐1490
MICHAEL MC PHERSON     PO BOX 211                                                                            HAMBURG             MI 48139‐0211
MICHAEL MC RAE         128 E HOWE AVE                                                                        LANSING             MI 48906‐3118
MICHAEL MC SHAN        473 BROWNING LOOP                                                                     MANDEVILLE          LA 70448‐1914
MICHAEL MC SHEA        915 ASHLAND CT                                                                        MANSFIELD           TX 76063‐3802
MICHAEL MCABEE         18250 N CAVE CREEK RD UNIT 176                                                        PHOENIX             AZ 85032‐1047
MICHAEL MCARDLE        28662 WESTERLEIGH RD                                                                  FARMINGTON HILLS    MI 48334‐2777
MICHAEL MCARTHUR       6136 ELAINE ST                                                                        SPEEDWAY            IN 46224‐3035
MICHAEL MCAULIFFE      PO BOX 680536                                                                         FRANKLIN            TN 37068‐0536
MICHAEL MCBETH         825 CRYSTAL CT                                                                        ALBANY              IN 47320‐8919
MICHAEL MCBRIDE        7209 TONNELLE AVE                                                                     SHELBY TOWNSHIP     MI 48317‐2384
MICHAEL MCBRIEN        205 ASH RDG                                                                           MASON               MI 48854‐1090
MICHAEL MCCABE         60 OXFORD RD                                                                          LEXINGTON           OH 44904‐1036
MICHAEL MCCAFFERY      213 FOX LN                                                                            MIDDLETOWN          DE 19709‐9200
MICHAEL MCCAFFREY      PO BOX 68                                                                             FT COVINGTON        NY 12937‐0068
MICHAEL MCCAIN         2709 ARTHUR'S WAY                                                                     ANDERSON            IN 46011
MICHAEL MCCALL         1902 ALPINE DRIVE                                                                     COLUMBIA            TN 38401‐5148
MICHAEL MCCALLUM       4345 CROSBY RD                                                                        FLINT               MI 48506‐1415
MICHAEL MCCANCE        31225 PICKWICK LN                                                                     BEVERLY HILLS       MI 48025‐5244
MICHAEL MCCANN         1428 W M‐115                                                                          BOON                MI 49618
MICHAEL MCCANN         306 N OAKHILL AVE                                                                     JANESVILLE          WI 53548‐3441
MICHAEL MCCANN         716 W JAMIESON ST                                                                     FLINT               MI 48504‐2614
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Name                 Address1                        Address2                      Address3   Address4         City            State Zip
MICHAEL MCCANN       9015 VILLAGE GROVE DR                                                                     FORT WAYNE       IN 46804‐2648
MICHAEL MCCARTHY     2149 HOMEWOOD DR                                                                          HERMITAGE        PA 16148‐2917
MICHAEL MCCARTNEY    2820 LYNTZ RD                                                                             WARREN           OH 44481
MICHAEL MCCARTNEY    11 PONDVIEW CT                                                                            BROWNSBURG       IN 46112‐8386
MICHAEL MCCARTNEY    44 MIDDLE RD                                                                              LANCASTER        VA 22503‐3518
MICHAEL MCCARTNEY
MICHAEL MCCAULEY     1804 RUHL RD                                                                              KOKOMO          IN   46902‐2823
MICHAEL MCCLAIN      PO BOX 371                                                                                DIMONDALE       MI   48821‐0371
MICHAEL MCCLAIN      17394 COUNTY ROAD 400                                                                     HILLSBORO       AL   35643‐3940
MICHAEL MCCLAINE     PO BOX 1222                                                                               SAGINAW         MI   48606‐1222
MICHAEL MCCLASKEY    13026 BROOKRIDGE DR                                                                       FORT WAYNE      IN   46814‐7401
MICHAEL MCCLEAN      BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS      OH   44236
MICHAEL MCCLEERY     3835 CANNON RD                                                                            AUSTINTOWN      OH   44515‐4602
MICHAEL MCCLELLAN    8904 RIVER BEND CT                                                                        INDIANAPOLIS    IN   46250‐3246
MICHAEL MCCLELLAN    3601 E MIAMI TRL                                                                          MUNCIE          IN   47302‐8665
MICHAEL MCCLENDON    712 STRAWBERRY ST                                                                         DUNDEE          MI   48131‐1043
MICHAEL MCCLINTON    3304 BOYD TRL                                                                             ARLINGTON       TX   76017‐3511
MICHAEL MCCLOREY     10997 BIGELOW RD                                                                          DAVISBURG       MI   48350‐1801
MICHAEL MCCLOUD      2438 SUNNYDALE DR                                                                         TEMPERANCE      MI   48182‐1147
MICHAEL MCCLURE      2061 PARADISE DR                                                                          LEWISBURG       TN   37091‐4533
MICHAEL MCCLURE      1543 SALEM AVE                                                                            DAYTON          OH   45406‐4958
MICHAEL MCCLURE      1110 E CHARLES RD                                                                         MARION          IN   46952‐9297
MICHAEL MCCOLLOR     PO BOX 54                                                                                 EAGLE           MI   48822‐0054
MICHAEL MCCOLLUM     PO BOX 138                                                                                VERNON          MI   48476‐0138
MICHAEL MCCONNELL    THE MADEKSHO LAW FIRM           8866 GULF FREEWAY SUITE 440                               HOUSTON         TX   77017
MICHAEL MCCORMACK    73 CANTON RD                                                                              LAKE WORTH      FL   33467‐3809
MICHAEL MCCORMICK    3 DEEPWOOD CT                                                                             AMHERST         NY   14228‐2821
MICHAEL MCCORMICK    12440 LAKE RD                                                                             OTTER LAKE      MI   48464‐9102
MICHAEL MCCOWAN      1121 S BASSETT ST                                                                         DETROIT         MI   48217‐1677
MICHAEL MCCOY        32785 SUTTON RD                                                                           CHESTERFIELD    MI   48047‐3371
MICHAEL MCCOY        511 HALES BRANCH RD                                                                       MIDLAND         OH   45148‐9648
MICHAEL MCCOY        6107 LOWELL AVE                                                                           INDIANAPOLIS    IN   46219‐6111
MICHAEL MCCOY        1003 HARRISON AVE                                                                         DEFIANCE        OH   43512‐2028
MICHAEL MCCOY        520 W. SHERMAN ST.              PO BOX 496                                                CARSON CITY     MI   48811
MICHAEL MCCOY        23273 LIPAN ST NW                                                                         SAINT FRANCIS   MN   55070‐8791
MICHAEL MCCOY        336 SANDHURST DR                                                                          DAYTON          OH   45405
MICHAEL MCCRANDALL   1465 LEAFGREEN DR                                                                         TROY            MI   48083‐4492
MICHAEL MCCREEDY     874 OUTER DR                                                                              FENTON          MI   48430‐2253
MICHAEL MCCREERY     3900 INGLES LN                                                                            ORTONVILLE      MI   48462‐8929
MICHAEL MCCREERY     10220 W MCCREERY RD                                                                       GASTON          IN   47342‐9207
MICHAEL MCCROSKEY    3459 DRUMMOND RD                                                                          TOLEDO          OH   43606‐1660
MICHAEL MCCRUDEN     451 SLOCUM DR                                                                             AUBURN HILLS    MI   48326‐3839
MICHAEL MCCURRY      1954 N 79TH TER                                                                           KANSAS CITY     KS   66112
MICHAEL MCDANIEL     718 RUNNING DEER DR                                                                       COLUMBIA        TN   38401‐8002
MICHAEL MCDANIEL     1262 BELLUNE DR                                                                           CINCINNATI      OH   45231‐3265
MICHAEL MCDERMOTT    22 S STUYVESANT DR                                                                        WILMINGTON      DE   19809‐3432
MICHAEL MCDIARMID    141 W DAWSON RD                                                                           MILFORD         MI   48381‐2707
MICHAEL MCDONALD     414 N BILTMORE AVE                                                                        MUNCIE          IN   47303‐4221
MICHAEL MCDONALD     1715 DELEVAN AVE                                                                          LANSING         MI   48910‐1331
MICHAEL MCDONALD     1040 N ROBERT ST                                                                          LUDINGTON       MI   49431‐1346
MICHAEL MCDONALD     115 SUNRISE LN                                                                            LIZTON          IN   46149‐9241
MICHAEL MCDONALD     531 BRADY LANE                                                                            PONTIAC         MI   48342‐1775
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Name                 Address1                            Address2        Address3         Address4         City               State Zip
MICHAEL MCDONALD     4491 NICHOLS RD                                                                       SWARTZ CREEK        MI 48473‐8511
MICHAEL MCDONALD     9288 FISK RD                                                                          AKRON               NY 14001‐9025
MICHAEL MCDONOUGH    750 E MID CITIES BLVD APT 504                                                         EULESS              TX 76039‐4642
MICHAEL MCDOWELL     7450 PONDEROSA DR                                                                     SWARTZ CREEK        MI 48473‐9414
MICHAEL MCELMURRAY   1091 CLUBHOUSE DR                                                                     LAKE ISABELLA       MI 48893‐9339
MICHAEL MCELROY      1231 BEMENT ST                                                                        LANSING             MI 48912‐1705
MICHAEL MCENTEE      12500 ALBION RD                                                                       N ROYALTON          OH 44133‐2446
MICHAEL MCFARLAND    4010 TEETERS RD                                                                       MARTINSVILLE        IN 46151‐8911
MICHAEL MCFARLAND    10162 LINDEN RD                                                                       GRAND BLANC         MI 48439‐9361
MICHAEL MCGAFFIGAN   4326 MAYA LN                                                                          SWARTZ CREEK        MI 48473‐1593
MICHAEL MCGARRY      1978 BEAVER CREEK DR                                                                  ROCHESTER           MI 48307‐6020
MICHAEL MCGARRY      522 MISTY MORNING DR                                                                  FLUSHING            MI 48433‐2192
MICHAEL MCGAUGHEY    11 ASHFORD PLACE CT                                                                   O FALLON            MO 63366‐1294
MICHAEL MCGEE        3920 SAWBRIDGE DR APT 5                                                               RICHFIELD           OH 44286
MICHAEL MCGILLIS     G‐13212 N CLIO RD                                                                     CLIO                MI 48420
MICHAEL MCGINNIS     836 N HAMPTON DR                                                                      NORCROSS            GA 30071‐3025
MICHAEL MCGINNIS     4254 N VASSAR RD                                                                      FLINT               MI 48506‐1739
MICHAEL MCGINNIS     45949 CHATSWORTH DR                                                                   BELLEVILLE          MI 48111‐1214
MICHAEL MCGINNIS     10095 SUGAR PINE DR W                                                                 CLARKSTON           MI 48348‐1651
MICHAEL MCGOWAN      42220 MALBECK DR                                                                      STERLING HEIGHTS    MI 48314‐3042
MICHAEL MCGOWAN      406 1ST AVE SW                                                                        GLEN BURNIE         MD 21061‐3459
MICHAEL MCGRAIL      9158 N DIXBORO RD                                                                     SOUTH LYON          MI 48178‐9678
MICHAEL MCGRAW       3475 EAST LAKE ROAD                                                                   CLIO                MI 48420‐7932
MICHAEL MCGRAW       2527 BRIARCLIFFE AVE                                                                  CINCINNATI          OH 45212‐1303
MICHAEL MCGUCKIN     3546 HEIN DR                                                                          STERLING HTS        MI 48310‐6139
MICHAEL MCGUIRE      7253 LEHRING RD                                                                       BANCROFT            MI 48414‐9402
MICHAEL MCGUIRE      1763 BRISTOL DR                                                                       MILFORD             MI 48380‐2032
MICHAEL MCGUIRE      710 GIBSON ST                                                                         DEFIANCE            OH 43512‐1530
MICHAEL MCGUIRE      9187 NICHOLS RD                                                                       GAINES              MI 48436‐9790
MICHAEL MCHALE       5405 HAMMERSMITH DR                                                                   W BLOOMFIELD        MI 48322‐1454
MICHAEL MCHALE       512 SOMERSET DR                                                                       KOKOMO              IN 45902‐1722
MICHAEL MCHARGUE     514 DIXIE HWY                                                                         MITCHELL            IN 47446‐6732
MICHAEL MCINCHAK     10340 MIDLAND RD LOT 72                                                               FREELAND            MI 48623‐9715
MICHAEL MCINERNEY    2730 N MARTIN LUTHER KING JR BLVD                                                     LANSING             MI 48906‐2925
MICHAEL MCINTOSH     905 W HART ST                                                                         BAY CITY            MI 48706‐3632
MICHAEL MCINTOSH     13800 MCKINLEY RD                                                                     MONTROSE            MI 48457
MICHAEL MCINTYRE     1042 2ND ST                                                                           WYANDOTTE           MI 48192‐3212
MICHAEL MCKAY        145 JULIE ANNE DRIVE                                                                  ORTONVILLE          MI 48462
MICHAEL MCKEARN      2317 E HUEBBE PKWY                                                                    BELOIT              WI 53511‐1848
MICHAEL MCKEE        6080 PARK LAKE RD                                                                     EAST LANSING        MI 48823‐9722
MICHAEL MCKEEMAN     9203 BARBARA LN                                                                       FORT WAYNE          IN 46804‐4702
MICHAEL MCKELLAR     3120 E RIVERVIEW DR                                                                   BAY CITY            MI 48706‐1321
MICHAEL MCKELVY      116 ORTH DR                                                                           NEW CARLISLE        OH 45344‐1734
MICHAEL MCKENNA      2121 E CENTERVILLE STATION RD                                                         CENTERVILLE         OH 45459‐5542
MICHAEL MCKENNA
MICHAEL MCKEOWN      43340 VINSETTA DR                                                                     STERLING HEIGHTS   MI   48313‐2388
MICHAEL MCKILLIP     11210 W BETHEL AVE                                                                    GASTON             IN   47342‐8988
MICHAEL MCKILLIP     2207 E ELDER LN                                                                       MUNCIE             IN   47303‐1029
MICHAEL MCKINLEY     744 COUNTY ROAD 2654                                                                  LOUDONVILLE        OH   44842‐9680
MICHAEL MCKINNEY     219 KEEFER ST                                                                         WILLARD            OH   44890‐1162
MICHAEL MCKINNEY     623 92ND ST                                                                           NIAGARA FALLS      NY   14304‐3565
MICHAEL MCKINNEY     27740 JERKWATER RD                                                                    SHERIDAN           IN   46069‐9357
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Name                 Address1                         Address2            Address3         Address4         City                  State Zip
MICHAEL MCKINNEY     5729 STATE ROUTE 503 N                                                                 LEWISBURG              OH 45338‐8772
MICHAEL MCKINNEY     1851 STATE ROUTE 56 SW                                                                 LONDON                 OH 43140
MICHAEL MCKNIGHT     241 HARPETH VIEW TRL                                                                   KINGSTON SPRINGS       TN 37082‐9047
MICHAEL MCLARTY      3014 CLAY TRL                                                                          CORINTH                TX 76210‐3124
MICHAEL MCLAUGHLIN   7254 COOK JONES RD                                                                     WAYNESVILLE            OH 45068‐8805
MICHAEL MCLAUGHLIN   10 ADVENT CT                                                                           NEWARK                 DE 19713‐2124
MICHAEL MCLEANE      12390 NOONAN CT                                                                        UTICA                  MI 48315‐5867
MICHAEL MCLEOD       3708 BIG TREE RD                                                                       HAMBURG                NY 14075‐1276
MICHAEL MCLOSKY      722 CENTER ST                                                                          OWOSSO                 MI 48867‐1414
MICHAEL MCMAN        13276 NICHOLS RD                                                                       BURT                   MI 48417‐9434
MICHAEL MCMANAMON    122 LADY SLIPPER LN                                                                    ROSCOMMON              MI 48653‐8117
MICHAEL MCMANUS      C/O COONEY AND CONWAY            120 NORTH LASALLE   30TH FLOOR                        CHICAGO                 IL 60602
MICHAEL MCMILLAN     2424 TENNIS CT APT B6                                                                  BAY CITY               MI 48706‐9036
MICHAEL MCMILLAN     2537 MITCHELL LAKE RD                                                                  LUM                    MI 48412‐9365
MICHAEL MCMILLAN     39805 HILLARY DR                                                                       CANTON                 MI 48187‐4249
MICHAEL MCMILLON     1403 S JONQUIL ST                                                                      BOSSIER CITY           LA 71112‐4623
MICHAEL MCMORROW     241 E 236TH ST                                                                         BRONX                  NY 10470‐2113
MICHAEL MCMULLEN     3925 WHITNEY AVE                                                                       FLINT                  MI 48532‐5258
MICHAEL MCNALLY      106 COSMOS DR                                                                          DAYTON                 OH 45449‐2062
MICHAEL MCNALLY      PO BOX 281                                                                             SCHOOLCRAFT            MI 49087‐0281
MICHAEL MCNALLY JR   4295 MAUREEN DR                                                                        YOUNGSTOWN             OH 44511‐1013
MICHAEL MCNAMARA     559 ENGLISH RD                                                                         GLOSTER                LA 71030‐3501
MICHAEL MCNAMARA     15200 MARL DR                                                                          LINDEN                 MI 48451‐8916
MICHAEL MCNAMARA
MICHAEL MCNAMEE      19973 E EMORY CT                                                                       GROSSE POINTE WOODS   MI   48236‐2333
MICHAEL MCNEAL       5408 PATTERSON LN                                                                      ANDERSON              IN   46017‐9567
MICHAEL MCNEELY      481 OVERLAND DR                                                                        GREENWOOD             IN   46143‐8126
MICHAEL MCNEIL       6518 GREENE HAVEN DR                                                                   CLARKSTON             MI   48348‐4418
MICHAEL MCNERNEY     4256 HIGHLAND PKWY                                                                     BLASDELL              NY   14219‐2926
MICHAEL MCNULTY      5483 MAPLE PARK DR                                                                     FLINT                 MI   48507‐3902
MICHAEL MCREE        1682 HAYWOOD CREEK RD                                                                  PULASKI               TN   38478‐7484
MICHAEL MCSHAN       473 BROWNING LOOP                                                                      MANDEVILLE            LA   70448
MICHAEL MCUNE        226 GAYWOOD DR                                                                         CHESTERFIELD          IN   46017‐1324
MICHAEL MCVAY        8344 LYONS HWY                                                                         SAND CREEK            MI   49279‐9758
MICHAEL MCWILLIAMS   1190 BUCHANAN PENISULA RD                                                              CHEROKEE              AL   35616‐6534
MICHAEL MCWILLIAMS   1257 S 300 E                                                                           ANDERSON              IN   46017‐1909
MICHAEL MCWILLIAMS   515 RICHLYN DR                                                                         ADRIAN                MI   49221‐9117
MICHAEL MEAD         20558 W RIDGE RD                                                                       ELSIE                 MI   48831‐9245
MICHAEL MEAD         3453 II RD                                                                             GARDEN                MI   49835‐9434
MICHAEL MEAD         2060 AUBURN AVE                                                                        HOLT                  MI   48842‐1307
MICHAEL MEAD         4730 MOUNT MORRIS RD                                                                   COLUMBIAVILLE         MI   48421‐8713
MICHAEL MEADE        490 S EATON RD                                                                         NASHVILLE             MI   49073‐9806
MICHAEL MEADER       6205 NEW LOTHROP RD                                                                    NEW LOTHROP           MI   48460‐9750
MICHAEL MEADOR       3339 PIRRIN DR                                                                         WATERFORD             MI   48329‐2745
MICHAEL MEADOWS      172 GLENN EAGLES WAY                                                                   HIRAM                 GA   30141‐5303
MICHAEL MEANS        1113 HUNTER AVE                                                                        YPSILANTI             MI   48198‐3187
MICHAEL MEARS        6273 MYRON RD                                                                          GRANT TOWNSHIP        MI   48032‐2207
MICHAEL MEASEL       7888 TUBSPRING RD                                                                      ALMONT                MI   48003‐8207
MICHAEL MECH         1252 ANEE DR                                                                           ROCKFORD              IL   61108‐4364
MICHAEL MEDCOFF      7055 MORRISH RD                                                                        SWARTZ CREEK          MI   48473‐7621
MICHAEL MEDENWALD    3339 EATON MEWS CT                                                                     GREENWOOD             IN   46143‐7650
MICHAEL MEDINA       1002 CODY DR                                                                           COLUMBIA              TN   38401‐2291
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Name                  Address1                         Address2            Address3         Address4                City                State Zip
MICHAEL MEDVEC        6700 DORA BLVD                                                                                INDEPENDENCE         OH 44131‐4956
MICHAEL MEDVETZ       7602 LIBERTY AVE                                                                              PARMA                OH 44129‐1307
MICHAEL MEEK          5359 COPLEY SQUARE RD                                                                         GRAND BLANC          MI 48439‐8741
MICHAEL MEEKS         4519 RED BUD AVE                                                                              SAINT LOUIS          MO 63115‐3136
MICHAEL MEEKS         1250 PHILPOT RD                                                                               WEST MONROE          LA 71292‐2658
MICHAEL MEEKS         241 DUCHESNE LN                                                                               EROS                 LA 71238‐9480
MICHAEL MEGANCK       5436 HOWE RD                                                                                  GRAND BLANC          MI 48439‐7910
MICHAEL MEIER         ARMENHOEFESTR 48A                                                     77871 RENCHEN ULM
                                                                                            GERMANY
MICHAEL MEIER         5104 WOODMARK DR                                                                              FORT WAYNE           IN   46815‐6063
MICHAEL MEINERT       ALTKIRCHENWEG 11A                91056               ERLANGEN
MICHAEL MEIXNER       DR STEINHUBEL & V BUTTLAR        LOEFFELSTRASSE 44                    70597 STUTTGART
                      RECHTSANWALTE                                                         GERMANY
MICHAEL MEJIA         21064 STRAWBERRY HILLS DR                                                                     MACOMB              MI    48044‐2274
MICHAEL MELANSON      9707 N HUALAPAI DR                                                                            CASA GRANDE         AZ    85222‐8075
MICHAEL MELARAGNI     1945 BEAVER CREEK DR                                                                          ROCHESTER           MI    48307‐6021
MICHAEL MELFI         10189 BARON BLVD                                                                              DIMONDALE           MI    48821‐9545
MICHAEL MELFI         4421 LACON CIR                                                                                HILLIARD            OH    43026‐1206
MICHAEL MELIA         6642 APPLEWOOD BLVD                                                                           BOARDMAN            OH    44512‐4918
MICHAEL MELIC         2878 RIDGE RD                                                                                 CORTLAND            OH    44410‐9454
MICHAEL MELIN
MICHAEL MELKI         5350 CHIN MAYA DR                C/O CHARLES MELKI                                            SWARTZ CREEK        MI    48473‐8611
MICHAEL MELLENTINE    1030 S DURAND RD                                                                              LENNON              MI    48449‐9631
MICHAEL MELLO         12410 SEA PINES DR                                                                            DEWITT              MI    48820‐9395
MICHAEL MELNYCZENKO   14560 RICE DR                                                                                 STERLING HTS        MI    48313‐2938
MICHAEL MELOCHE       PO BOX 834                                                            BELLE RIVER ON N0R1A0
                                                                                            CANADA
MICHAEL MELOENY       75671 MCKAY RD                                                                                BRUCE TWP           MI    48065‐2714
MICHAEL MELTON        14180 CHIPPEWA TRL                                                                            JOHANNESBURG        MI    49751‐9422
MICHAEL MELTON        6961 HUBBARDSTON RD                                                                           HUBBARDSTON         MI    48845‐9611
MICHAEL MENAPACE      12453 SILVER CREEK CT                                                                         CLIO                MI    48420‐8872
MICHAEL MENDEL        4960 OLDS RD                                                                                  ONONDAGA            MI    49264‐9706
MICHAEL MENELLE       9472 TAHOE DR                                                                                 CENTERVILLE         OH    45458‐3689
MICHAEL MENENDEZ      820 PEACH TREE ST                                                                             EXCELSIOR SPRINGS   MO    64024‐3309
MICHAEL MENGEL        3410 BENSTEIN RD                                                                              COMMERCE TOWNSHIP   MI    48382‐1902
MICHAEL MENNE         829 CAMPBELL ST                                                                               FLINT               MI    48507‐2424
MICHAEL MENNING       3187 S LIPKEY RD                                                                              NORTH JACKSON       OH    44451‐9788
MICHAEL MENOSKY       409 S STUMP TAVERN RD                                                                         JACKSON             NJ    08527‐3312
MICHAEL MENOSKY       521 CHAMBERLAIN ST                                                                            FLUSHING            MI    48433‐1619
MICHAEL MENS          5708 FOX HUNT DR                                                                              ARLINGTON           TX    76017‐4558
MICHAEL MENSINGER     1531 INDIAN MEADOWS DR                                                                        FRANKLIN            TN    37064‐9623
MICHAEL MENZER        5306 DURFEE RD                                                                                EATON RAPIDS        MI    48827‐8909
MICHAEL MENZIES       1411 BAINBRIDGE ST, APT 216                                                                   RICHMOND            VA    23224‐2081
MICHAEL MERCER        13030 NEWPORT STREET                                                                          HESPERIA            CA    92344‐3824
MICHAEL MERCER        PO BOX 186                                                                                    COLUMBIAVILLE       MI    48421‐0186
MICHAEL MEREDITH      1160 CARLSON DR                                                                               BURTON              MI    48509‐2343
MICHAEL MEREDITH      871 GROVENBURG RD                                                                             HOLT                MI    48842‐9661
MICHAEL MERKLE        BRUDERHOF STR 24                                                      60388 FRANKFURT
                                                                                            GERMANY
MICHAEL MERRICK       4340 GALAXY DR                                                                                JANESVILLE          WI 53546‐8891
MICHAEL MERRITT       7620 ELIZABETH LAKE RD                                                                        WATERFORD           MI 48327‐3600
MICHAEL MERRITT       18837 ROAD B                                                                                  CONTINENTAL         OH 45831‐9712
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MICHAEL MERSINO           1925 SEYMOUR LAKE RD                                                                 ORTONVILLE             MI 48462‐9158
MICHAEL MESAROS           15 NANTUCKET ROW                                                                     ROCKY RIVER            OH 44116‐3775
MICHAEL MESCHEN           7189 CHAPEL VIEW DR                                                                  CLARKSTON              MI 48346‐1601
MICHAEL MESLER            9504 BIVENS RD                                                                       NASHVILLE              MI 49073‐9701
MICHAEL MESSNER III       39898 N ENTRY RD                                                                     CHASSELL               MI 49916
MICHAEL METCALF           116 WALNUT LN                                                                        COLUMBIA               TN 38401‐4944
MICHAEL METCALF           6805 MERRICK ST                                                                      TAYLOR                 MI 48180‐1869
MICHAEL METIVA            416 TITTABAWASSEE RD                                                                 SAGINAW                MI 48604‐1266
MICHAEL METRO             PO BOX 104                                                                           MILLINGTON             MI 48746‐0104
MICHAEL METZ              5316 OSBURN DR                                                                       TECUMSEH               MI 49286‐9587
MICHAEL MEYER             4295 CHAMBERS RD                                                                     MAYVILLE               MI 48744‐9799
MICHAEL MEYER             5090 HECKATHORN RD                                                                   BROOKVILLE             OH 45309‐8381
MICHAEL MEYER             720 13 MILE RD NW                                                                    SPARTA                 MI 49345‐9570
MICHAEL MEYER             C950 COUNTY ROAD 18                                                                  HOLGATE                OH 43527‐9795
MICHAEL MEYERAND          2302 HIDDEN TRAIL DR                                                                 STERLING HTS           MI 48314‐3740
MICHAEL MEYERS            6735 OAK DR                                                                          PORTLAND               MI 48875‐9607
MICHAEL MEYERS            256 WIESEN LN                                                                        MORAINE                OH 45418‐2946
MICHAEL MEZZONE           39333 WASHINGTON DR                                                                  STERLING HEIGHTS       MI 48313‐5606
MICHAEL MICELI            11428 FAWN VALLEY TRL                                                                FENTON                 MI 48430‐4008
MICHAEL MICHALIK          4098 E PIERSON RD                                                                    FLINT                  MI 48506‐1438
MICHAEL MICHALOWSKI       PO BOX 1088                                                                          HOWELL                 MI 48844‐1088
MICHAEL MICHELETTI TTEE   BY ETILO B MICHELETTI TRUST       1730 PICKWICK LN                                   GLENVIEW                IL 60026
MICHAEL MICHELON          680 BLISS DR                                                                         ROCHESTER HILLS        MI 48307‐3597
MICHAEL MICHNA            115 HAVERFORD ST                                                                     NORTH BRUNSWICK        NJ 08902‐2454
MICHAEL MIDDENDORF        1475 N MAIN ST                                                                       O FALLON               MO 63366‐4328
MICHAEL MIDDLEBROOKS      3823 FOX RUN DR APT 1335                                                             CINCINNATI             OH 45236‐6008
MICHAEL MIDDLETON         3200 LENOX RD NE APT C314                                                            ATLANTA                GA 30324‐2623
MICHAEL MIELENZ           2431 NW 15TH ST                                                                      OKLAHOMA CITY          OK 73107‐4922
MICHAEL MIER              9635 E LINDNER AVE                                                                   MESA                   AZ 85209‐1154
MICHAEL MIHAILUK          14945 MAPLE ST                                                                       POSEN                  MI 49776‐9783
MICHAEL MIHALIK           406 MAIN ST.,PO 134                                                                  OAKLEY                 MI 48649
MICHAEL MIKISHKO          259 PADDOCK AVE                                                                      MERIDEN                CT 06450‐6943
MICHAEL MIKOLAJCZYK       14838 S TROY AVE                                                                     POSEN                   IL 60469‐1428
MICHAEL MIKOLAJSKI        1080 SHREBROKE                                                                       SAGINAW                MI 48603
MICHAEL MIKULA            116 WESTVIEW DR                                                                      SPRING HILL            TN 37174‐9607
MICHAEL MIKULUS           6 PATTY ANN CT                                                                       SAINT PETERS           MO 63376‐3703
MICHAEL MILAM             5712 EDGEPARK DR                                                                     BROOK PARK             OH 44142‐1026
MICHAEL MILANI            2275 SPARTA DR                                                                       RANCHO PALOS VERDES    CA 90275‐6534
MICHAEL MILANOWICZ        1673 BURLINGTON JACKSONVILLE RD                                                      BORDENTOWN             NJ 08505‐4110
MICHAEL MILBURN           4450 EDMUND ST                                                                       WAYNE                  MI 48184‐2159
MICHAEL MILEK             1337 SAYBROOK AVE                                                                    N TONAWANDA            NY 14120‐2358
MICHAEL MILES             5631 BALFOUR RD                                                                      SYLVANIA               OH 43560‐2008
MICHAEL MILES             1391 HAMMERBERG CT                # 8B                                               FLINT                  MI 48507‐3214
MICHAEL MILES             21180 LASER LN                                                                       SOUTH LYON             MI 48178‐9259
MICHAEL MILES             1151 E COUNTY ROAD 300 N                                                             CENTERPOINT            IN 47840‐8296
MICHAEL MILGIE            719 WESTVIEW RD                                                                      BLOOMFIELD HILLS       MI 48304‐2475
MICHAEL MILLAR            48862 CELESTE ST                                                                     CHESTERFIELD           MI 48051‐2909
MICHAEL MILLER            2885 IROQUOIS DR                                                                     THOMPSONS STATION      TN 37179‐5011
MICHAEL MILLER            4198 W 046 N                                                                         HUNTINGTON             IN 46750‐7825
MICHAEL MILLER            713 CANAL ST                                                                         ANDERSON               IN 46012‐9471
MICHAEL MILLER            PO BOX 161                                                                           MEXICO                 IN 46958‐0161
MICHAEL MILLER            6509 JACKMAN RD                                                                      TEMPERANCE             MI 48182‐1046
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Name                Address1                        Address2            Address3         Address4         City                    State Zip
MICHAEL MILLER      4665 KOCHVILLE RD                                                                     SAGINAW                  MI 48604‐9764
MICHAEL MILLER      3852 N BRIARVALE RD                                                                   AUBURN HILLS             MI 48326‐3327
MICHAEL MILLER      5809 NW RAINTREE DR                                                                   PARKVILLE                MO 64152‐3315
MICHAEL MILLER      2101 N 300 E                                                                          ANDERSON                 IN 46012‐9404
MICHAEL MILLER      75 COBBLYNOB LANE                                                                     ONEONTA                  AL 35121
MICHAEL MILLER      1081 W REID RD                                                                        FLINT                    MI 48507‐4671
MICHAEL MILLER      110 CHERRY GROVE RD                                                                   CANTON                   MI 48188‐5252
MICHAEL MILLER      4329 OLD US 23                                                                        FENTON                   MI 48430‐9371
MICHAEL MILLER      11767 WHITEHALL DR                                                                    STERLING HEIGHTS         MI 48313‐5078
MICHAEL MILLER      25399 THE OLD RD                8‐201                                                 STEVENSON RANCH          CA 91381
MICHAEL MILLER      614 SUNFLOWER DR                                                                      LINDEN                   MI 48451‐9155
MICHAEL MILLER      11220 FEES RD                                                                         GRAND LEDGE              MI 48837‐9722
MICHAEL MILLER      218 MADISON ST                                                                        JANESVILLE               WI 53548‐3638
MICHAEL MILLER      4852 TONAWANDA CREEK RD                                                               N TONAWANDA              NY 14120‐9528
MICHAEL MILLER      6070 CARRIAGE HILL DR APT 22                                                          EAST LANSING             MI 48823‐2241
MICHAEL MILLER      PO BOX 78                                                                             KALIDA                   OH 45853‐0078
MICHAEL MILLER      14785 POWER DAM RD                                                                    DEFIANCE                 OH 43512‐6807
MICHAEL MILLER      6352 REDEAGLE CREEK DR                                                                FORT WORTH               TX 76179‐4705
MICHAEL MILLER      2397 FIVE FORKS TRL                                                                   THE VILLAGES             FL 32162‐1216
MICHAEL MILLER      188 MONROE DR                                                                         DAVISON                  MI 48423‐8549
MICHAEL MILLER      13183 SHERIDAN RD                                                                     MONTROSE                 MI 48457‐9346
MICHAEL MILLER      908 THROOP ST                                                                         SAGINAW                  MI 48602‐4560
MICHAEL MILLER      PO BOX 487                                                                            FRANKTON                 IN 46044‐0487
MICHAEL MILLER      2204 S COURTLAND AVE                                                                  KOKOMO                   IN 46902‐3351
MICHAEL MILLER      3104 E OAKLAWN DR                                                                     MUNCIE                   IN 47303‐9437
MICHAEL MILLER      115 CIRCLE DR                                                                         ANDERSON                 IN 46013‐4701
MICHAEL MILLER      2550 S ELLSWORTH RD UNIT 214                                                          MESA                     AZ 85209‐2455
MICHAEL MILLER      6097 BYRAM LAKE DRIVE                                                                 LINDEN                   MI 48451‐8784
MICHAEL MILLER      4595 PIER RD                                                                          COLOMA                   MI 49038‐9138
MICHAEL MILLER      1058 ANGOLA AVE                                                                       MOUNT MORRIS             MI 48458‐2122
MICHAEL MILLER      2840 S ROGERS HWY                                                                     PALMYRA                  MI 49268‐9718
MICHAEL MILLER      823 WALLER ST                                                                         SAGINAW                  MI 48602‐1614
MICHAEL MILLER      607 WADSWORTH ST                                                                      EAST TAWAS               MI 48730‐1447
MICHAEL MILLER      3457 KEEFER HWY                                                                       LYONS                    MI 48851‐9722
MICHAEL MILLER      1155 BROOKFIELD RD                                                                    CHARLOTTE                MI 48813‐9158
MICHAEL MILLER      PO BOX 50399                                                                          BOWLING GREEN            KY 42102‐2999
MICHAEL MILLER      11079 BISHOP HWY                                                                      LANSING                  MI 48911‐6200
MICHAEL MILLER      HAUPTSTR. 60                                                                          D‐87770 OBERSCHOENEGG

MICHAEL MILLIKIN    1717 MORTON AVE                                                                       ANN ARBOR               MI   48104‐4521
MICHAEL MILLMINE    210 COLFAX ST                                                                         FENTON                  MI   48430‐2024
MICHAEL MILLS       1146 S BRIER CREEK CT                                                                 NEW PALESTINE           IN   46163
MICHAEL MILLS       3001 HUSTON DR                                                                        MILLINGTON              MI   48746
MICHAEL MILLS       1609 BURTON ST SE                                                                     GRAND RAPIDS            MI   49506‐4418
MICHAEL MILLS I I   2204 E FARRAND RD                                                                     CLIO                    MI   48420‐9150
MICHAEL MILLWEE     104 N RAMBLIN OAKS DR                                                                 MOORE                   OK   73160‐7833
MICHAEL MILONE      2989 BEAVER TRL                                                                       CORTLAND                OH   44410‐9101
MICHAEL MILZARSKI   11093 BOXWOOD DR                                                                      CANADIAN LAKE           MI   49346‐9763
MICHAEL MINARD      367 W COON LAKE RD                                                                    HOWELL                  MI   48843‐7926
MICHAEL MINARDI     10216 VINTAGE DR                                                                      KELLER                  TX   76248‐6652
MICHAEL MINCE       8406 MABLEY HILL ROAD                                                                 FENTON                  MI   48430‐9454
MICHAEL MINCHER     4205 PEMBROOK ROAD                                                                    YOUNGSTOWN              OH   44515‐4516
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Name                   Address1                           Address2            Address3         Address4         City              State Zip
MICHAEL MINDER         9396 BUTWELL ST                                                                          LIVONIA            MI 48150‐3442
MICHAEL MINEER         3612 DAWSON DR                                                                           WARREN             MI 48092‐3252
MICHAEL MINELLA        1014 LAWN VIEW CT                                                                        FRANKLIN           TN 37064‐5564
MICHAEL MINGO          5436 BENTWOOD DR                                                                         TOLEDO             OH 43615‐6702
MICHAEL MINICH         18127 UNIVERSITY PARK DR                                                                 LIVONIA            MI 48152‐2643
MICHAEL MINISCHETTI    11331 UNION TPKE                                                                         FOREST HILLS       NY 11375‐6849
MICHAEL MINK
MICHAEL MINNICK        613 EAGLE CREST DR                                                                       LAKE PARK         GA   31636‐2752
MICHAEL MINNIE         1248‐1 N. US 23                                                                          EAST TAWAS        MI   48730
MICHAEL MINOR          3711 RAIBLE AVENUE                                                                       ANDERSON          IN   46011‐4733
MICHAEL MINOR          4036 COTTONWOOD CT                                                                       LEWISBURG         TN   37091‐6693
MICHAEL MINTERFERING   6472 LEWIS RD                                                                            MOUNT MORRIS      MI   48458‐2553
MICHAEL MINZEY         126 N SAGINAW ST                                                                         MONTROSE          MI   48457‐9785
MICHAEL MISIAK         94 FERNDALE AVE                                                                          KENMORE           NY   14217‐1004
MICHAEL MISIAK         1429 N HIDDEN CREEK DR                                                                   SALINE            MI   48176‐9019
MICHAEL MISNER         2651 VINEYARD LN                                                                         BROOKLYN          MI   49230‐8915
MICHAEL MISSEL         1204 HILLARY LN                                                                          ARLINGTON         TX   76012‐5500
MICHAEL MITCHELL       3231 N TIPSICO LAKE RD                                                                   HARTLAND          MI   48353‐2418
MICHAEL MITCHELL       820 BRIDGESTONE DR                                                                       ROCHESTER HILLS   MI   48309‐1618
MICHAEL MITCHELL       808 E 16TH ST                                                                            KEARNEY           MO   64060‐7566
MICHAEL MITCHELL       34 SOUTHBRIDGE RD                                                                        BEAR              DE   19701‐1611
MICHAEL MITCHELL       1556 STOCKTON AVE                                                                        KETTERING         OH   45409‐1853
MICHAEL MITCHELL       1910 BEACON HILL DR                                                                      LANSING           MI   48906‐3668
MICHAEL MITCHELL       704 PALMER DR                                                                            PONTIAC           MI   48342‐1857
MICHAEL MITCHELL       4300 KENSINGTON AVE                                                                      DETROIT           MI   48224‐2737
MICHAEL MITCHELL       700 PARK ROW                                                                             VEEDERSBURG       IN   47987‐1146
MICHAEL MITCHELL       2022 BERKLEY ST                                                                          FLINT             MI   48504‐4014
MICHAEL MITCHELL       PO BOX 172774                                                                            ARLINGTON         TX   76003‐2774
MICHAEL MITHEN         1625 BINDER RD                                                                           NATIONAL CITY     MI   48748‐9685
MICHAEL MITTENDORF     2829 MORGAN TRL                                                                          MARTINSVILLE      IN   46151‐6696
MICHAEL MIX            2399 EM 42                                                                               MANTON            MI   49663
MICHAEL MIZE           10807 COUNTY ROAD 19                                                                     HEFLIN            AL   36264‐4453
MICHAEL MIZGALA        1302 IDLEWOOD RD                                                                         WILMINGTON        DE   19805‐1321
MICHAEL MIZICKO        5188 KING GRAVES RD                                                                      VIENNA            OH   44473‐9713
MICHAEL MOBLEY         259 EVANS GLEN TRL                                                                       TIPTON            MI   49287‐9724
MICHAEL MOBLEY         1692 REEDER RD                                                                           BLANCHESTER       OH   45107‐8798
MICHAEL MODER          5801 ROSEBROOK DR                                                                        TROY              MI   48085‐3880
MICHAEL MOEBUIS        276 LONGHORN DR                                                                          BOSSIER CITY      LA   71112‐9709
MICHAEL MOFFETT        P 0 BOX 441853                                                                           DETROIT           MI   48244
MICHAEL MOFFITT        210 WELLINGTON DR                                                                        BOSSIER CITY      LA   71111‐2037
MICHAEL MOLINARO       6407 ERNA DR                                                                             LOCKPORT          NY   14094‐6525
MICHAEL MOLNAR         PO BOX 316                                                                               RICHEYVILLE       PA   15358‐0316
MICHAEL MOLNAR         305 N MAIN ST                                                                            IMLAY CITY        MI   48444‐1148
MICHAEL MOLONEY        140 CHURCH ST                                                                            HOUGHTON LAKE     MI   48629‐9666
MICHAEL MOMINEE        156 MASON BLVD                                                                           MASON             MI   48854‐9269
MICHAEL MONCINI        12016 W LAKE RD                                                                          VERMILION         OH   44089‐3036
MICHAEL MONDRALL       6144 N CANYON DR                                                                         BEVERLY HILLS     FL   34465‐2130
MICHAEL MONDRY         1151 N MARBLE RD                                                                         TRUFANT           MI   49347‐9792
MICHAEL MONGELLI       WEITZ & LUXENBERG PC               700 BROADWAY                                          NEW YORK CITY     NY   10003
MICHAEL MONREAL        649 FENTON AVE                                                                           ROMEOVILLE        IL   60446
MICHAEL MONROE         851 S NEVINS RD                                                                          STANTON           MI   48888‐9137
MICHAEL MONTAGUE       3880 GOSLINE RD                                                                          MARLETTE          MI   48453‐9314
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Name                  Address1                         Address2                     Address3   Address4            City               State Zip
MICHAEL MONTALVO      1817 S WHEELER ST                                                                            SAGINAW             MI 48602‐1069
MICHAEL MONTALVO      BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                  BOSTON HTS          OH 44236
MICHAEL MONTANA       62 EAST STREET                                                                               ANNAPOLIS           MD 21401‐1732
MICHAEL MONTANO       21058 SUMMERFIELD DR                                                                         MACOMB              MI 48044‐2924
MICHAEL MONTARO       45 JANE LN                                                                                   DEPEW               NY 14043‐1909
MICHAEL MONTGOMERY    555 CANDLELITE CT                                                                            FORT WAYNE          IN 45807‐3601
MICHAEL MONTGOMERY    836 CLEVELAND ST                                                                             BELOIT              WI 53511‐4903
MICHAEL MONTGOMERY    226 MT. ELLIOT LOFT 440                                                                      DETROIT             MI 48207
MICHAEL MONTGOMERY    17471 18 MILE RD                                                                             MARSHALL            MI 49068‐9461
MICHAEL MONTGOMERY    9501 W BUSINESS 83 LOT 855                                                                   HARLINGEN           TX 78552‐2082
MICHAEL MONTGOMERY
MICHAEL MONTI         20732 HANNAH CT                                                                              NOVI               MI   48375‐4775
MICHAEL MONTPAS       7067 FAIRGROVE DR                                                                            SWARTZ CREEK       MI   48473‐9408
MICHAEL MONTS         5711 TAHOE DR                                                                                CLINTON            IL   61727‐9489
MICHAEL MOOMEY        1400 W 1ST ST APT 8                                                                          WEWOKA             OK   74884‐5003
MICHAEL MOONEY        440 SUNSET ST                                                                                COOPERSVILLE       MI   49404‐1015
MICHAEL MOONEY        1608 NORTHRIDGE DR                                                                           ARLINGTON          TX   76012‐2247
MICHAEL MOONEY        11073 OAKWOOD DR                                                                             BYRON              MI   48418‐9087
MICHAEL MOONEY        3670 HIGHTREE AVE SE                                                                         WARREN             OH   44484‐3730
MICHAEL MOORADIAN     15151 PENNSYLVANIA AVE                                                                       ALLEN PARK         MI   48101‐3700
MICHAEL MOORE         80 RUSHFORD HOLLOW DR                                                                        CHEEKTOWAGA        NY   14227‐2388
MICHAEL MOORE         17 FRAZER DR                                                                                 MIDDLETOWN         OH   45042‐3974
MICHAEL MOORE         832 RUSTIC RD                                                                                ANDERSON           IN   46013‐1544
MICHAEL MOORE         801 COUNTRYSIDE DR                                                                           OSSIAN             IN   46777‐9390
MICHAEL MOORE         4094 WILLARD RD                                                                              BIRCH RUN          MI   48415‐8711
MICHAEL MOORE         2103 W GERMAN RD                                                                             BAY CITY           MI   48708‐9646
MICHAEL MOORE         387 N JANESVILLE ST                                                                          MILTON             WI   53563‐1308
MICHAEL MOORE         6817 FELLRATH ST                                                                             TAYLOR             MI   48180‐1503
MICHAEL MOORE         5496 E STANLEY RD                                                                            FLINT              MI   48506‐1107
MICHAEL MOORE         1109 HARBOR CV                                                                               BAY CITY           MI   48706‐3994
MICHAEL MOORE         9027 AKRON RD                                                                                AKRON              NY   14001‐9028
MICHAEL MOORE         1115 BIRCH ST                                                                                MAUMEE             OH   43537‐3030
MICHAEL MOORE         1088 GREYSTONE COVE DR                                                                       BIRMINGHAM         AL   35242‐7043
MICHAEL MOORE         BREMTHALER STR. 39                                                       WIESBADEN GERMANY
                                                                                               65207
MICHAEL MOORE         PO BOX 261                                                                                   NEW LOTHROP        MI   48460‐0261
MICHAEL MOORE JR      5303 N WEST ROTAMER RD                                                                       MILTON             WI   53563‐9417
MICHAEL MOORED        5590 CHAUNCEY DR NE                                                                          BELMONT            MI   49306‐9198
MICHAEL MOORHOUS SR   3485 FORT DR                                                                                 WATERFORD          MI   48328‐1328
MICHAEL MOPPIN        1042 STONEMARK TRL                                                                           LA VERGNE          TN   37086‐3822
MICHAEL MORALES       2506 INDIANS LAIR                                                                            EDGEWOOD           MD   21040‐1319
MICHAEL MORAN         1965 HAWTHORNE BLVD                                                                          BRUNSWICK          OH   44212‐4236
MICHAEL MORAN         1 DREW AVE                                                                                   BRICK              NJ   08724‐2527
MICHAEL MORAN         PO BOX 354                                                                                   CONTINENTAL        OH   45831‐0354
MICHAEL MORAN         309 FULTON ST                                                                                WILLIAMSTON        MI   48895‐1525
MICHAEL MORANO        135 NEW YORK AVE                                                                             NEWARK             NJ   07105‐1222
MICHAEL MORAST        14363 ALLEN RD                                                                               CLINTON            MI   49236‐9608
MICHAEL MOREHEAD      18617 NEGAUNEE                                                                               REDFORD            MI   48240‐2026
MICHAEL MORELLI       2433 E LINCOLN AVE                                                                           ROYAL OAK          MI   48067‐4033
MICHAEL MORELLI       11814 ONTARIO DR                                                                             STERLING HEIGHTS   MI   48313‐1610
MICHAEL MORELLI       33522 ALTA ST                                                                                GARDEN CITY        MI   48135‐1081
MICHAEL MORENO        2450 HARTEL RD                                                                               CHARLOTTE          MI   48813‐8329
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Name                  Address1                       Address2            Address3         Address4         City               State Zip
MICHAEL MOREY         5149 N LAPEER RD                                                                     COLUMBIAVILLE       MI 48421‐6842
MICHAEL MORFORD       301 SW 99TH ST                                                                       OKLAHOMA CITY       OK 73139‐8908
MICHAEL MORGAN        212 W ROSE ST                                                                        HOLLY               MI 48442‐1526
MICHAEL MORGAN        116 E PLEASANT ST                                                                    RIVER ROUGE         MI 48218‐1628
MICHAEL MORGAN        1078 COUNTY ROAD 317                                                                 TRINITY             AL 35673‐3950
MICHAEL MORGAN        4151 TANGLEWOOD CT                                                                   BLOOMFIELD HILLS    MI 48301‐1220
MICHAEL MORGAN        5711 N 500 W                                                                         MARION              IN 46952‐9690
MICHAEL MORGESON      305 REYMONT RD                                                                       WATERFORD           MI 48327‐2864
MICHAEL MORIARITY     3134 HAROLD DR                                                                       COLUMBIAVILLE       MI 48421‐8962
MICHAEL MORIARTY      PO BOX 258                                                                           BARRYTON            MI 49305‐0258
MICHAEL MORIARTY      PO BOX 221                                                                           GAYLORD             MI 49734‐0221
MICHAEL MORIN         43 VICTOR ST                                                                         WOONSOCKET           RI 02895‐4842
MICHAEL MORITZ
MICHAEL MORLAND       104 E LARRY RD                                                                       SHAWNEE            OK   74804‐1080
MICHAEL MORLEY        PO BOX 214                                                                           OAKLEY             MI   48649‐0214
MICHAEL MORLOCKE      10471 RIVEREDGE DR                                                                   PARMA              OH   44130‐1201
MICHAEL MORONE        1964 WOODMONT RD                                                                     MANSFIELD          OH   44905‐1841
MICHAEL MORR          451 S CLAYTON RD                                                                     NEW LEBANON        OH   45345‐1652
MICHAEL MORRIS        3125 SUTTON AVE                                                                      DAYTON             OH   45429‐3921
MICHAEL MORRIS        2607 HERMOSA DR                                                                      WOLVERINE LAKE     MI   48390‐2004
MICHAEL MORRIS        2266 BOWERS RD                                                                       LAPEER             MI   48446‐3310
MICHAEL MORRISON      262 S PERKINS RD                                                                     HARRISVILLE        MI   48740‐9662
MICHAEL MORRISSEY     241 STANHOPE DR                                                                      WILLOWBROOK        IL   60527
MICHAEL MORRISSEY     21506 BEAUFORD CT                                                                    NORTHVILLE         MI   48167‐9045
MICHAEL MORSE         4787 HICKORY CT                                                                      YPSILANTI          MI   48197‐6631
MICHAEL MORSE         1710 INDIAN RD                                                                       LAPEER             MI   48446‐8053
MICHAEL MORTIER       1260 CHAFFER DR                                                                      ROCHESTER HILLS    MI   48306
MICHAEL MORTIMER      525 E HANLEY RD                                                                      MANSFIELD          OH   44903‐7301
MICHAEL MORTON        8689 WHISPERING PINES DR                                                             CLARKSTON          MI   48346‐1974
MICHAEL MORTON        PO BOX 155                                                                           DEFIANCE           OH   43512‐0155
MICHAEL MOSBURG       998 N ROAD 700 W                                                                     BARGERSVILLE       IN   46106‐9193
MICHAEL MOSELEY       373 BEECHCREST CIR                                                                   LEWISBURG          TN   37091‐3107
MICHAEL MOSER         PO BOX 23                      111 W MAIN                                            HAVILAND           OH   45851‐0023
MICHAEL MOSER         PO BOX 504                                                                           MILAN              OH   44846‐0504
MICHAEL MOSES         31840 NARDELLI LN                                                                    ROSEVILLE          MI   48066‐4566
MICHAEL MOSES         3252 SAPPHIRE ST                                                                     BEDFORD            TX   76021‐3804
MICHAEL MOSKAITIS     45046 CUSTER AVE                                                                     UTICA              MI   48317‐5700
MICHAEL MOSKALIK      9186 MEADOWLAND DR                                                                   GRAND BLANC        MI   48439‐8355
MICHAEL MOSLEY        19360 FORREST HILL CT                                                                WOODHAVEN          MI   48183‐4312
MICHAEL MOSSING       3274 BIRCH RUN S                                                                     ADRIAN             MI   49221‐1162
MICHAEL MOSSINGTON    51762 WALNUT DR                                                                      MACOMB             MI   48042‐3545
MICHAEL MOTLEY        50322 MARGARET AVE                                                                   MACOMB             MI   48044‐6340
MICHAEL MOTLOCH       4420 QUEENS WAY                                                                      BLOOMFIELD         MI   48304‐3051
MICHAEL MOTSINGER     1200 WINDSOR ST                                                                      FLINT              MI   48507‐4263
MICHAEL MOTT          4643 VINCENT DR                                                                      HOLLY              MI   48442‐9005
MICHAEL MOULTON       2713 WOODROW AVE                                                                     FLINT              MI   48506‐3472
MICHAEL MOURER        12760 DUNDEE DR                                                                      GRAND LEDGE        MI   48837‐8956
MICHAEL MOURES        778 WIGAN PIER DR                                                                    HENDERSON          NV   89002‐6584
MICHAEL MOWBRAY       5209 MELVINA ST                                                                      FAIRBORN           OH   45324‐1845
MICHAEL MOWREY        3034 HICKORY LN                                                                      LAPEL              IN   46051‐9540
MICHAEL MOZARIWSKYJ   56296 ASHBROOKE DR E                                                                 SHELBY TWP         MI   48316‐5530
MICHAEL MOZINGO       6 LEDGEWOOD DR                                                                       BROOKFIELD         CT   06804‐3419
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Name                 Address1                      Address2            Address3         Address4         City                 State Zip
MICHAEL MOZOLIK      9350 E INDIGO MOUNTAIN WAY                                                          VAIL                  AZ 85641‐2752
MICHAEL MRAKOVICH    5008 ARAVESTA AVE                                                                   YOUNGSTOWN            OH 44512‐2003
MICHAEL MRAZIK       5259 PLEASANT HILL DR                                                               FENTON                MI 48430‐9336
MICHAEL MRLA         9135 HICKORYWOOD ST                                                                 WHITE LAKE            MI 48386‐4047
MICHAEL MUCHA        14750 BEACH BLVD APT 9                                                              JACKSONVILLE BEACH    FL 32250
MICHAEL MUDGER       36120 STATE ROUTE 344                                                               SALEM                 OH 44460‐9495
MICHAEL MUDGET       2570 N KREPPS RD                                                                    SAINT JOHNS           MI 48879‐9057
MICHAEL MUEHLEISEN   2645 COUNTRY KATE                                                                   IMLAY CITY            MI 48444‐9687
MICHAEL MUELLER      2632 S CHRISTIAN HILLS DR                                                           ROCHESTER HILLS       MI 48309‐2823
MICHAEL MUELLER      6287 FLAJOLE RD                                                                     BENTLEY               MI 48613‐9602
MICHAEL MUELLER      5584 GLENBURG RD                                                                    DEFIANCE              OH 43512‐9809
MICHAEL MUIR         7591 BURGUNDY ST                                                                    CANTON                MI 48187‐1417
MICHAEL MUIR         2664 HAY CREEK DR                                                                   PINCKNEY              MI 48169‐8244
MICHAEL MUKHTAR      36016 W 13 MILE RD                                                                  FARMINGTON HILLS      MI 48331‐2512
MICHAEL MULHALL      751 WILDWOOD DR                                                                     BOARDMAN              OH 44512‐3242
MICHAEL MULKERAN     17221 NEW YORK ST                                                                   DETROIT               MI 48224‐2212
MICHAEL MULLALLY     924 DORO LN                                                                         SAGINAW               MI 48604‐1113
MICHAEL MULLARKY     W8535 WHITE CROW RD                                                                 FORT ATKINSON         WI 53538‐9138
MICHAEL MULLEN       580 S BRIARVALE DR                                                                  AUBURN HILLS          MI 48326‐3333
MICHAEL MULLETT      100 HILLCREST LANE                                                                  AMBLER                PA 19002
MICHAEL MULLIGAN     5235 BORDEN RD                                                                      FENWICK               MI 48834‐9683
MICHAEL MULLIKIN     PO BOX 346                                                                          WAUZEKA               WI 53826‐0346
MICHAEL MULLIN       40444 MEADE POINT DR                                                                STERLING HEIGHTS      MI 48313‐3956
MICHAEL MULLINS      825 CENTRAL ST                                                                      SANDUSKY              OH 44870‐3204
MICHAEL MULLINS      6360 SHORE DR                                                                       HUBER HEIGHTS         OH 45424‐2850
MICHAEL MULLINS      4986 WELLS RD                                                                       PETERSBURG            MI 49270‐9394
MICHAEL MULVANEY     420 S KENSINGTON DR                                                                 DIMONDALE             MI 48821‐8764
MICHAEL MULVIHILL    20 PLAZA STREET EAST                                                                BROOKLYN              NY 11238
MICHAEL MUMMA        407 CRESTDALE                                                                       NOBLE                 OK 73068‐8408
MICHAEL MUNCEY       3757 S CREEK DR                                                                     ROCHESTER HILLS       MI 48306‐1477
MICHAEL MUNDAY       130 PINEBERRY DR                                                                    VONORE                TN 37885‐2054
MICHAEL MUNDT        942 BENTLE BRANCH LN                                                                CEDAR HILL            TX 75104‐1811
MICHAEL MUNDTH       1608 PEBBLE BEACH DR                                                                PONTIAC               MI 48340‐1368
MICHAEL MUNDY        506 N 14TH ST                                                                       MITCHELL              IN 47446‐1038
MICHAEL MUNGER       9151 HIDDEN OAKS DR                                                                 GRAND BLANC           MI 48439‐2506
MICHAEL MUNGER       1020 E FRANCES RD                                                                   MOUNT MORRIS          MI 48458‐1126
MICHAEL MUNOZ        17319 BRODY AVE                                                                     ALLEN PARK            MI 48101‐3417
MICHAEL MUNOZ        706 S WALNUT ST                                                                     O FALLON               IL 62269‐2423
MICHAEL MUNSON       3235 WYATT DR                                                                       BOWLING GREEN         KY 42101‐0767
MICHAEL MURAJDA      956 CARNATION ST NE                                                                 MASSILLON             OH 44646‐4812
MICHAEL MURDAUGH     4556 KNIGHTS XING                                                                   GRAND PRAIRIE         TX 75052‐3460
MICHAEL MURDOCK      2038 LORA ST                                                                        ANDERSON              IN 46013‐2748
MICHAEL MURDOCK      1193 LINFORD CIR                                                                    MAINEVILLE            OH 45039‐8078
MICHAEL MURDOCK JR   838 WASHINGTON AVE                                                                  DEFIANCE              OH 43512‐2851
MICHAEL MURON        2118 W STANLEY RD                                                                   MOUNT MORRIS          MI 48458‐8242
MICHAEL MURPHY       11732 20TH AVE NE                                                                   SEATTLE               WA 98125‐5128
MICHAEL MURPHY       1415 SAN METEO AVE                                                                  THE VILLAGES          FL 32159‐8662
MICHAEL MURPHY       3352 PERIMETER DR                                                                   GREENACRES            FL 33467‐2065
MICHAEL MURPHY       1811 NORFOLK RD                                                                     GLEN BURNIE           MD 21061‐4315
MICHAEL MURPHY       66 BEATTIE AVE                                                                      LOCKPORT              NY 14094‐5021
MICHAEL MURPHY       3955 WHITNEY PARK DR                                                                DULUTH                GA 30096‐3140
MICHAEL MURPHY       172 THURSTON PL                                                                     CRESTVIEW             FL 32536‐5501
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Name                    Address1                       Address2                     Address3   Address4         City               State Zip
MICHAEL MURPHY          4150 N WOODRUFF RD                                                                      WEIDMAN             MI 48893‐8651
MICHAEL MURPHY          2819 S TEAKWOOD CIR                                                                     MESA                AZ 85212‐2898
MICHAEL MURPHY          1339 CASTO BLVD                                                                         BURTON              MI 48509‐2011
MICHAEL MURPHY          3611 BIGBYVILLE RD                                                                      COLUMBIA            TN 38401‐8537
MICHAEL MURPHY          476 N KENSINGTON DR                                                                     DIMONDALE           MI 48821‐9769
MICHAEL MURPHY          21414 HOLLY CT                                                                          WARRENTON           MO 63383‐5690
MICHAEL MURPHY          319 SMALLWOOD DR                                                                        SNYDER              NY 14226‐4010
MICHAEL MURPHY          1784 KILBURN RD N                                                                       ROCHESTER HILLS     MI 48306‐3034
MICHAEL MURPHY          261 W HIBBARD RD                                                                        OWOSSO              MI 48867‐8932
MICHAEL MURPHY          15509 BUCKINGHAM AVENUE                                                                 BEVERLY HILLS       MI 48025‐3301
MICHAEL MURPHY          391 DARWIN DR                                                                           AMHERST             NY 14226‐4804
MICHAEL MURPHY          3227 MARGARET ST                                                                        AUBURN HILLS        MI 48326‐3632
MICHAEL MURPHY          5250 WAYLAND RD                                                                         DIAMOND             OH 44412‐9766
MICHAEL MURPHY          4848 PERRYVILLE RD                                                                      HOLLY               MI 48442‐9408
MICHAEL MURPHY          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MICHAEL MURPHY II       12511 CRABAPPLE LN                                                                      GRAND LEDGE         MI 48837‐8907
MICHAEL MURRAY          1508 DEL ROSA WAY                                                                       SPARKS              NV 89434‐2603
MICHAEL MURRAY          PO BOX 1776                                                                             SPRING HILL         TN 37174‐1776
MICHAEL MURRAY          15014 PILGRIM CT                                                                        SHELBY TWP          MI 48315‐4455
MICHAEL MURRAY          2067 ROYAL OAK AVE                                                                      DEFIANCE            OH 43512‐3525
MICHAEL MURRAY          5178 N 500 E                                                                            MOORELAND           IN 47360
MICHAEL MURRAY          671 CANDLERIDGE DR                                                                      CINCINNATI          OH 45233
MICHAEL MURRAY          MICHAEL MURRAY                 1644 S RAYMOND AVE                                       ALHAMBRA            CA 91803‐3048
MICHAEL MUSGRAVE        7504 N 350 E                                                                            ALEXANDRIA          IN 46001‐8868
MICHAEL MUSIC SR        1920 W TARRANT RD APT 51C                                                               GRAND PRAIRIE       TX 75050‐3046
MICHAEL MUSIELAK        3967 POSEYVILLE RD                                                                      HEMLOCK             MI 48626‐9519
MICHAEL MUSSEY          6394 EAST                      900 NORTH                                                NORTH MANCHESTER    IN 46962
MICHAEL MUTICH          BEVAN & ASSOCIATES LPA INC     6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MICHAEL MYATT           1069 DYEMEADOW LN                                                                       FLINT               MI 48532‐2315
MICHAEL MYCHALCZUK      2341 1ST ST                                                                             GRAND ISLAND        NY 14072‐1560
MICHAEL MYCHALCZUK JR   2706 HARTLAND RD                                                                        GASPORT             NY 14067‐9435
MICHAEL MYERS           205 BEVERLY HILLS DR                                                                    GLASGOW             KY 42141‐6201
MICHAEL MYERS           42247 LUDLOW CT                                                                         NORTHVILLE          MI 48168‐2021
MICHAEL MYERS           PO BOX 1275                                                                             NORTH TONAWANDA     NY 14120‐9275
MICHAEL MYERS           11 WHITE HORSE LN                                                                       PALM COAST          FL 32164‐3939
MICHAEL MYERS           3072 N IRISH RD                                                                         DAVISON             MI 48423‐9558
MICHAEL MYERS           4802 ANGELINA AVE                                                                       WICHITA FALLS       TX 76308‐4527
MICHAEL MYHRE           2412 KENWOOD AVE                                                                        JANESVILLE          WI 53545‐2221
MICHAEL MYKIETIUK       41266 OAK HILL DR                                                                       CLINTON TWP         MI 48038‐4614
MICHAEL MYLES           5190 GILA BEND TRL                                                                      KALAMAZOO           MI 49009‐4933
MICHAEL MYS             6377 HILL RD                                                                            SWARTZ CREEK        MI 48473‐8202
MICHAEL N BOWMAN II     5872 E DECKER RD                                                                        FRANKLIN            OH 45005‐2624
MICHAEL N CHAFETZ       2260 GLEN IRIS                                                                          COMMERCE            MI 48382
MICHAEL N CLIFFORD      5931 PARK RD                                                                            LEAVITTSBURG        OH 44430‐9448
MICHAEL N GULLIAN       PO BOX 245                                                                              COLUMBIAVILLE       MI 48421‐0245
MICHAEL N HALE          22135 STUDIO ST                                                                         TAYLOR              MI 48180‐2473
MICHAEL N JENSENIUS     3274 W BARNES LAKE RD                                                                   COLUMBIAVILLE       MI 48421‐9364
MICHAEL N PORTER        PO BOX 353                                                                              ENGLEWOOD           OH 45322‐0353
MICHAEL N ROBINSON      1269 E CASS AVE                                                                         FLINT               MI 48505‐1718
MICHAEL N SELMON        5949 HOOVER AVE                                                                         DAYTON              OH 45427‐2218
MICHAEL N THURIK        16589 SE 77TH NORTHRIDGE CT                                                             THE VILLAGES        FL 32162‐‐ 83
MICHAEL NAAS            57633 HAWTHORN DR                                                                       WASHINGTON TWP      MI 48094
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Name                  Address1                        Address2            Address3         Address4         City            State Zip
MICHAEL NADASI        6648 TAYWOOD RD                                                                       ENGLEWOOD        OH 45322‐3760
MICHAEL NADASI        6648 TAYWOOD RD                                                                       ENGLEWOOD        OH 45322‐3760
MICHAEL NADER
MICHAEL NADOLNY       14957 TROUT SCHOOL RD                                                                 FELTON          PA   17322‐8224
MICHAEL NAEGELE       7600 CHESANING RD                                                                     CHESANING       MI   48616‐9480
MICHAEL NAESSENS      10225 S RAUCHOLZ RD                                                                   SAINT CHARLES   MI   48655‐9522
MICHAEL NAGEL         3105 ROYAL BLVD                                                                       COMMERCE TWP    MI   48382‐4389
MICHAEL NAGEL JR      7080 STANLEY RD                                                                       FLUSHING        MI   48433‐9069
MICHAEL NAGORKA       13455 BYRON BLVD                                                                      CLEVELAND       OH   44130‐7110
MICHAEL NAGY          1740 HAMMOND COURT                                                                    BLOOMFIELD      MI   48304‐2405
MICHAEL NAHIRNIAK     619 BENNINGTON DR                                                                     UNION           NJ   07083‐9105
MICHAEL NAILER        18504 PREST ST                                                                        DETROIT         MI   48235‐2877
MICHAEL NAISH         2423 SALEM PARK DR                                                                    INDIANAPOLIS    IN   46239‐7799
MICHAEL NAJEWSKI      22497 MISTY FALLS LANE                                                                FRANKFORT       IL   60423
MICHAEL NAKO          17848 BRIARWOOD DR                                                                    MACOMB          MI   48044‐2088
MICHAEL NAKONECHNI    3781 PEREGRINE CIR                                                                    RENO            NV   89508‐6409
MICHAEL NALAZEK       2976 E ZURICH DR                                                                      BAY CITY        MI   48706‐9273
MICHAEL NALL          7155 BIG HAND RD                                                                      SAINT CLAIR     MI   48079‐3606
MICHAEL NALLEY        3495 PLEASANT GROVE RD                                                                CUMMING         GA   30028‐3749
MICHAEL NAMETH        32460 GRANDVIEW AVE                                                                   WESTLAND        MI   48186‐4971
MICHAEL NAPURANO      20 MEADOWBROOK DR                                                                     HOWELL          NJ   07731‐2024
MICHAEL NARANJO       1005 E BEARD RD                                                                       PERRY           MI   48872‐9521
MICHAEL NASERS        47543 PEMBROKE DR                                                                     CANTON          MI   48188‐7234
MICHAEL NASTI         PO BOX 806                                                                            HUNTINGTOWN     MD   20639‐0806
MICHAEL NASTOFF       2846 SPRING MEADOW CIR                                                                YOUNGSTOWN      OH   44515‐4959
MICHAEL NASTRI        1239 CARRIAGE PARK DR                                                                 FRANKLIN        TN   37064‐5730
MICHAEL NATALE        APT K‐42                        325 MILL ROAD                                         EAST AURORA     NY   14052‐2824
MICHAEL NATHAN        242 LEROY ST                                                                          MONTROSE        MI   48457‐9161
MICHAEL NAU           3489 E ROLSTON RD                                                                     LINDEN          MI   48451‐9442
MICHAEL NAUGLE        6434 RIDGE RD                                                                         LOCKPORT        NY   14094‐1015
MICHAEL NAULT         141 N COUNTY LINE HWY                                                                 DEERFIELD       MI   49238‐9627
MICHAEL NAUS          457 LOZENGE CT                                                                        ROCKTON         IL   61072‐1694
MICHAEL NAUSLEY       11080 INKSTER RD                                                                      ROMULUS         MI   48174‐2842
MICHAEL NAVARI        109 MACADEMIA LN                                                                      SIMI VALLEY     CA   93065‐6914
MICHAEL NAVILIO       2404 S WOLCOTT, UNIT 2627                                                             CHICAGO         IL   60608
MICHAEL NAVOYSKI      223 JACKSON TREE CT                                                                   FORT WAYNE      IN   46804‐6730
MICHAEL NAYLOR        330 MILLER LAKE RD                                                                    WOOSTER         OH   44691‐2368
MICHAEL NAYLOR        172 FULTON ST                                                                         PONTIAC         MI   48341‐2757
MICHAEL NEACE         7733 JEFFERSON DRIVE                                                                  CANAL WNCHSTR   OH   43110‐8863
MICHAEL NEAL          7165 AUGUSTINE CT                                                                     FENTON          MI   48430‐8984
MICHAEL NEAL          PO BOX 1842                                                                           ASHEVILLE       NC   28802‐1842
MICHAEL NEARGARDNER   1310 EDWARDS AVE                                                                      LAKEWOOD        OH   44107‐2346
MICHAEL NEATON        1058 BROKAW DR                                                                        DAVISON         MI   48423‐7907
MICHAEL NECKEL        9408 MCGREGOR RD                                                                      PINCKNEY        MI   48169‐9410
MICHAEL NEELEY        1620 PARADISE LN                                                                      ASTOR           FL   32102‐7939
MICHAEL NEELY         205 SE TONYA CIR                                                                      BLUE SPRINGS    MO   64014‐5050
MICHAEL NEELY         8532 STEELEBERRY DR                                                                   CHARLOTTE       NC   28217‐5317
MICHAEL NEERING       4590 WINTERGREEN DR N                                                                 SAGINAW         MI   48603‐1943
MICHAEL NEFF          10459 LAKE SHORE DR                                                                   FENTON          MI   48430‐2421
MICHAEL NEFF          4018 BURCHFIELD DR                                                                    LANSING         MI   48910‐4492
MICHAEL NEHAN         2231 ALEXANDER DR                                                                     TROY            MI   48083‐2402
MICHAEL NEILSON       3147 COLORADO AVE                                                                     FLINT           MI   48506‐2531
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Name                  Address1                      Address2                     Address3   Address4         City                State Zip
MICHAEL NELDER        805 5TH ST                                                                             NILES                OH 44446‐1015
MICHAEL NELLETT       1022 PASSOLT ST                                                                        SAGINAW              MI 48602‐2942
MICHAEL NELSON        68469 KNOLLSIDE CT                                                                     WASHINGTON           MI 48095‐1394
MICHAEL NELSON        10464 NIXON RD                                                                         GRAND LEDGE          MI 48837‐9455
MICHAEL NELSON        110 RODEO DR                                                                           COLUMBIA             TN 38401‐6805
MICHAEL NELSON        4411 OLDWYCK DR                                                                        JANESVILLE           WI 53546‐2188
MICHAEL NELSON        4191 S KIVA HILL DR                                                                    SAINT GEORGE         UT 84790‐4773
MICHAEL NELSON        5033 23 MILE RD                                                                        SHELBY TOWNSHIP      MI 48316‐4203
MICHAEL NELSON        8925 STATE ROUTE 503 N                                                                 LEWISBURG            OH 45338‐8943
MICHAEL NELSON        505 KENILWORTH LN                                                                      GALVESTON            IN 46932‐9403
MICHAEL NELSON        PO BOX 63                                                                              JUNIATA              NE 68955‐0063
MICHAEL NELUMS        2227 6TH AVENUE TER E                                                                  BRADENTON            FL 34208‐2963
MICHAEL NEMECEK       8511 BEAVER ST SE                                                                      ALTO                 MI 49302‐9769
MICHAEL NEMETH        8102 SPRING GARDEN RD                                                                  PARMA                OH 44129‐3638
MICHAEL NEMINSKI      247 RED FOX CT                                                                         GRAND BLANC          MI 48439‐7034
MICHAEL NENNIG        1165 WEAVER FARM LN                                                                    SPRING HILL          TN 37174‐2186
MICHAEL NESBITT       4460 HOWE RD                                                                           WAYNE                MI 48184‐1832
MICHAEL NESKOVICH     1215 VINE ST                                                                           GIRARD               OH 44420
MICHAEL NESMITH       1246 COUNTY ROAD 372                                                                   HILLSBORO            AL 35643‐3505
MICHAEL NESTERICK     BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS           OH 44236
MICHAEL NESTOROVSKI   768 KIMBERLY APT 202                                                                   LAKE ORION           MI 48362‐2967
MICHAEL NETTLES       8310 SPANISH FIR LN                                                                    INDIANAPOLIS         IN 46227‐2722
MICHAEL NEVINS        4952 E COUNTY ROAD 200 S                                                               MIDDLETOWN           IN 47356‐9204
MICHAEL NEVINSKI      1605 ASHEVILLE SPRINGS CIR                                                             ASHEVILLE            NC 28806‐5530
MICHAEL NEVITT        53653 OAKVIEW DR                                                                       SHELBY TWP           MI 48315‐1922
MICHAEL NEWBY         9815 E 266TH ST                                                                        ARCADIA              IN 46030‐9715
MICHAEL NEWCOMBE      9660 S 7 1/2 RD                                                                        WELLSTON             MI 49689‐9605
MICHAEL NEWCOMER      1921 N HIGH ST                                                                         LANSING              MI 48906‐4654
MICHAEL NEWMAN        8356 TIMBER COVE ST                                                                    COMMERCE TOWNSHIP    MI 48382‐4542
MICHAEL NEWMAN        7412 BRENTWOOD STAIR RD                                                                FORT WORTH           TX 76112‐4407
MICHAEL NEWOOD        15049 RIVENDELL DR                                                                     STERLING HEIGHTS     MI 48313‐5755
MICHAEL NEWTON        39221 WOODWARD AVE UNIT 808                                                            BLOOMFIELD HILLS     MI 48304‐5171
MICHAEL NEWTON        15181 MARL DR                                                                          LINDEN               MI 48451‐9068
MICHAEL NEWTON        5511 VASSAR RD                                                                         AKRON                MI 48701‐9763
MICHAEL NEWTON        4297 COOK RD                                                                           SWARTZ CREEK         MI 48473‐9144
MICHAEL NEWTOWN       78 W MAIN ST                                                                           NORFOLK              NY 13667‐3132
MICHAEL NEZEZON       1310A COUNTY ROUTE 53                                                                  BRASHER FALLS        NY 13613‐3226
MICHAEL NICHOLAS      220 W HOLMES RD                                                                        LANSING              MI 48910‐4448
MICHAEL NICHOLAS      555 OLLIE MEEKS RD.                                                                    OAKLAND              KY 42159
MICHAEL NICHOLAS      146 ALBERT ST NE                                                                       WARREN               OH 44483‐3426
MICHAEL NICHOLLS      19232 HERRICK ST                                                                       ALLEN PARK           MI 48101‐3443
MICHAEL NICHOLS       8527 LAKE ST                                                                           PORT AUSTIN          MI 48467‐9536
MICHAEL NICHOLS       140 SCOTT ROAD                                                                         HOHENWALD            TN 38462‐4047
MICHAEL NICHOLSON     123 WALTERS AVE                                                                        FRANKLIN             TN 37067‐2604
MICHAEL NICKEL        15155 NELSON RD                                                                        SAINT CHARLES        MI 48655‐9767
MICHAEL NICKELS       7242 FORSYTHIA AVE SE                                                                  GRAND RAPIDS         MI 49508‐7702
MICHAEL NICKELSON     133 COUNTY ROAD 20C                                                                    BELLEVIEW            MO 63623‐6329
MICHAEL NICKSON       2318 PATWYNN RD                                                                        WILMINGTON           DE 19810‐2731
MICHAEL NICOLAY       10 MUIRFIELD CT N                                                                      SAINT CHARLES        MO 63304‐0402
MICHAEL NICOLIN       1804 W BLUE RIDGE WAY                                                                  CHANDLER             AZ 85248‐5413
MICHAEL NICOLL        821 DALY CIR                                                                           FORT MILL            SC 29715‐6546
MICHAEL NICOLOSI      86 BRONZE LEAF TRAIL                                                                   ROCHESTER            NY 14612‐2360
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Name                                 Address1                               Address2                  Address3   Address4         City                 State Zip
MICHAEL NICPON                       PO BOX 940                                                                                   FENTON                MI 48430‐0940
MICHAEL NIDAY                        12532 W 123RD ST                                                                             OVERLAND PARK         KS 66213‐2224
MICHAEL NIEDBALSKI                   21 BOONE LN                                                                                  MAGGIE VALLEY         NC 28751
MICHAEL NIEMAN                       7112 W THORNAPPLE DR                                                                         JANESVILLE            WI 53548‐8830
MICHAEL NIEMAN                       7282 E POTTER RD                                                                             DAVISON               MI 48423‐9544
MICHAEL NIEMEIER                     57 GOLDEN OAK DR                                                                             TRINITY               AL 35673‐6406
MICHAEL NIENHUIS                     9463 WHIPPLE SHORES DR                                                                       CLARKSTON             MI 48348‐2163
MICHAEL NIESE                        12619 RD 11‐J                                                                                OTTAWA                OH 45875
MICHAEL NIETO                        621 SUGAR ST                                                                                 PAULDING              OH 45879‐1524
MICHAEL NIEZGODA                     1140 PREL LN                                                                                 LEWISBURG             TN 37091‐6469
MICHAEL NIGHTINGALE                  5 WEDGEWOOD COURT                                                                            GLEN HEAD             NY 11545
MICHAEL NILES                        4188 KIRK RD                                                                                 YOUNGSTOWN            OH 44511‐1849
MICHAEL NISHEK                       460 AARONS WAY                                                                               ORTONVILLE            MI 48462‐9046
MICHAEL NIX                          917 NEW YORK AVE                                                                             MIDLOTHIAN            TX 76065‐8758
MICHAEL NIX                          1565 HIGHWAY 294                                                                             MURPHY                NC 28906‐7978
MICHAEL NOBLE                        1869 DALEY RD                                                                                LAPEER                MI 48446‐8311
MICHAEL NOBLE                        2759 GERALD AVE                                                                              ROCHESTER HLS         MI 48307‐4739
MICHAEL NOBLE                        112 COLHOUN DR                                                                               CLINTON               MI 49236
MICHAEL NOBLE                        9159 E BRISTOL RD                                                                            DAVISON               MI 48423‐8718
MICHAEL NOBLE‐JACK                   70 WRIGHT CT                                                                                 SPRINGBORO            OH 45066‐7400
MICHAEL NOBLES                       207 MASTERS LN                                                                               COLUMBIA              TN 38401‐8603
MICHAEL NOE                          11839 ARROWHEAD                                                                              GRAND LEDGE           MI 48837‐2424
MICHAEL NOEL                         13156 BIRRELL ST                                                                             SOUTHGATE             MI 48195‐1037
MICHAEL NOEL                         18 DEQUIMPAL ST                                                                              WESTVILLE              IL 61883‐1116
MICHAEL NOELL                        205 W PRINCETON AVE                                                                          PONTIAC               MI 48340‐1845
MICHAEL NOLAN                        49926 WILLOWOOD DR                                                                           MACOMB                MI 48044‐1656
MICHAEL NOLAN                        28187 LOS OLAS DR                                                                            WARREN                MI 48093‐4937
MICHAEL NOLEN                        1819 MARIE PEINE CT                                                                          WENTZVILLE            MO 63385‐2676
MICHAEL NOLL                         HOHEMARKSTRASSE 15                     61440 OBERURSEL
MICHAEL NOONAN                       95 AYRAULT DR                                                                                AMHERST              NY   14228‐1928
MICHAEL NOONAN                       6685 E 500 S                                                                                 WABASH               IN   46992‐8580
MICHAEL NORCIA                       116 N BAYSIDE ROAD BOX 601                                                                   NORMANDY BEACH       NJ   08739
MICHAEL NORD                         9559 BARKLEY RD                                                                              MILLINGTON           MI   48746‐9761
MICHAEL NORDNESS                     N2516 EVENSON RD                                                                             CAMBRIDGE            WI   53523‐9790
MICHAEL NORLAND                      2507 NE SPRINGBROOK ST                                                                       BLUE SPRINGS         MO   64014‐1441
MICHAEL NORMAN                       19310 NADOL DR                                                                               SOUTHFIELD           MI   48075‐5827
MICHAEL NORRIS                       2317 SAGAMORE DR                                                                             ANDERSON             IN   46011‐9736
MICHAEL NORRIS                       6443 E COUNTY ROAD 600 S                                                                     PLAINFIELD           IN   46168‐8646
MICHAEL NORRIS                       8242 BIG WALNUT RD                                                                           WESTERVILLE          OH   43082‐8611
MICHAEL NORRITO                      9255 WINDEMERE CT                                                                            CLARKSTON            MI   48348‐2468
MICHAEL NORTH                        5171 WINCHESTER PASS RD                                                                      LAPEER               MI   48446‐8037
MICHAEL NORTHUP AS PERSONAL REP OF   C/O ERIC G ZAJAC ESQUIRE ZAJAC & ARIAS 1818 MARKET ST 30TH FLR                               PHILADELPHIA         PA   19103
THE ESTATE OF KAREN NORTHUP          LLC
MICHAEL NORTON                       1868 NORTH BLVD                                                                              FAIRBORN             OH   45324‐3138
MICHAEL NORWOOD,SR                   PO BOX 212                                                                                   MONTICELLO           MS   39654‐0212
MICHAEL NOSTI                        196 RED HILL RD                                                                              MIDDLETOWN           NJ   07748‐2406
MICHAEL NOTESTINE                    136 SPRING LEAF DR                                                                           SAINT PETERS         MO   63376‐6951
MICHAEL NOTHACKER                    452 ADARIO                                                                                   SHILOH               OH   44878
MICHAEL NOTZ                         750 PARKER BLVD                                                                              BUFFALO              NY   14223‐3123
MICHAEL NOVAK                        1440 GRAYTON ST                                                                              GROSSE POINTE PARK   MI   48230‐1130
MICHAEL NOVAK                        1805 CAPE MAY RD                                                                             BALTIMORE            MD   21221‐1619
MICHAEL NOVARA                       851 COOLIDGE AVE                                                                             CLAWSON              MI   48017‐1772
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Name                   Address1                            Address2                     Address3   Address4         City               State Zip
MICHAEL NOVIC          31825 SANKUER DR                                                                             WARREN              MI 48093‐7634
MICHAEL NOVICK         6277 SPRINGDALE BLVD                                                                         GRAND BLANC         MI 48439‐8524
MICHAEL NOVOSEL        846 YANKEE RUN RD                                                                            MASURY              OH 44438‐8722
MICHAEL NOVOTNEY       1530 RANCH RD                                                                                HOLLY               MI 48442‐8670
MICHAEL NOVOTNEY       9615 W GOLF PORT DR                                                                          STANWOOD            MI 49346‐9411
MICHAEL NOWACZYK       7031 RAMBLEHURST RD                                                                          SYLVANIA            OH 43560‐3573
MICHAEL NOWACZYK       813 DEER RUN BLVD                                                                            PRUDENVILLE         MI 48651‐9201
MICHAEL NOWAK          4078 BLUE HERON DR                                                                           AUBURN HILLS        MI 48326‐1875
MICHAEL NOWAK          6073 OLD HICKORY DR                                                                          BAY CITY            MI 48706‐9069
MICHAEL NOWICKI        15 YOHE ST                                                                                   FINLEYVILLE         PA 15332‐3807
MICHAEL NOWISKI        8575 BIRCH RUN RD                                                                            MILLINGTON          MI 48746‐9533
MICHAEL NUCKOLLS       313 VALLEY LOOP                                                                              HEBER SPRINGS       AR 72543‐8817
MICHAEL NUNEZ          C/O BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MICHAEL NUNHAM         2746 MUSSON RD                                                                               HOWELL              MI 48855‐8052
MICHAEL NUSSBAUMER     6815 ANDERSON LAKE RD                                                                        DAWSONVILLE         GA 30534‐4810
MICHAEL NUTTALL        5218 PARKWAY DR                                                                              BAY CITY            MI 48706‐3347
MICHAEL NUZZO          119 FELIX ST                                                                                 GEORGETOWN          KY 40324‐8010
MICHAEL O ALLEN        1141 REDBLUFF DR                    APT B                                                    DAYTON              OH 45449‐3187
MICHAEL O BRIEN        4881 SE 130TH PL                                                                             BELLEVIEW           FL 34420‐5027
MICHAEL O CONNOR       22010 COOLIDGE HWY                                                                           OAK PARK            MI 48237‐2849
MICHAEL O FLATTS       R4 QUINCY CIRCLE                                                                             DAYTON              NJ 08810‐1341
MICHAEL O FLYNN        WEITZ & LUXENBERG PC                700 BROADWAY                                             NEW YORK CITY       NY 10003
MICHAEL O JONES        315 N FRIERSON ST                                                                            COLUMBIA            TN 38401‐2721
MICHAEL O MALECKI      8526 MOORISH RD                                                                              BIRCH RUN           MI 48415‐8570
MICHAEL O MCGOWAN      25 N LOCKWOOD AVE                                                                            CHICAGO              IL 60644‐‐ 33
MICHAEL O MILLER       30 SOUTH MAIN ST                                                                             W ALEXANDRIA        OH 45381‐1246
MICHAEL O RABEL        5633 NORTH PARK EXT.                                                                         WARREN              OH 44481
MICHAEL O'BERRY        1800 E ROUND LAKE RD                                                                         DEWITT              MI 48820‐9723
MICHAEL O'BRIEN        2399 N IRWIN ST                                                                              INDIANAPOLIS        IN 46219‐2224
MICHAEL O'BRIEN        STE 105                             5001 MAYFIELD ROAD                                       CLEVELAND           OH 44124‐2608
MICHAEL O'BRIEN
MICHAEL O'CONNELL      230 COUNTY RD. #545                                                                          MARQUETTE          MI   49855
MICHAEL O'CONNOR       11 FRITZ RD                                                                                  STERLING           MI   48659‐9404
MICHAEL O'CONNOR       208 GOODEMOOTE RD                                                                            PORTLAND           MI   48875‐9798
MICHAEL O'CONNOR       BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH   44236
MICHAEL O'CONNOR JR.   1362 TANGLEWOOD DR                                                                           N TONAWANDA        NY   14120‐2357
MICHAEL O'GEEN         221 MCGINNIS RD                                                                              WADDINGTON         NY   13694‐3107
MICHAEL O'GRADY        4755 LIBERTY CT                                                                              STERLING HEIGHTS   MI   48310‐1942
MICHAEL O'GRADY SR     5140 BRIDGEMAN RD                                                                            SANBORN            NY   14132‐9359
MICHAEL O'HARA         7515 N PALMYRA RD                                                                            CANFIELD           OH   44406‐9709
MICHAEL O'HARE         PO BOX 9022                         C/O SHANGHAI                                             WARREN             MI   48090‐9022
MICHAEL O'HARE         17030 SHARON RD                                                                              CHESANING          MI   48616‐9567
MICHAEL O'KEEFE        2749 BENT TREE DR                                                                            DEXTER             MI   48130‐9403
MICHAEL O'LEARY        1360 STARLIGHT CT                                                                            HOWELL             MI   48843‐6153
MICHAEL O'LEARY        7292 BERNE RD                                                                                PIGEON             MI   48755‐9709
MICHAEL O'LEARY        BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH   44236
MICHAEL O'MALLEY       7060 YARMY DR                                                                                SWARTZ CREEK       MI   48473‐1546
MICHAEL O'MEARA        6432 SUGAR RIDGE DR                                                                          ROANOKE            VA   24018
MICHAEL O'NEAL         5341 W COURT ST                                                                              FLINT              MI   48532‐3344
MICHAEL O'ROURKE       3920 OAK GROVE RD                                                                            NORTH BRANCH       MI   48461‐8910
MICHAEL O'SHANNON      3705 CORALBERRY CT                  APT 536                                                  ARLINGTON          TX   76014‐4271
MICHAEL OAKLEY         1093 NASH RD                                                                                 XENIA              OH   45385‐9432
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Name                  Address1                     Address2            Address3         Address4         City                State Zip
MICHAEL OBARD         509 BLUEWATER DR                                                                   NASHVILLE            TN 37217‐4203
MICHAEL OBENDORFER    5303 RIVA RIDGE DR                                                                 WESLEY CHAPEL        FL 33544‐5525
MICHAEL OBERAITIS     PO BOX 1117                  561 FRIAR TUCK                                        LAKE SHERWOOD        MO 63357‐1117
MICHAEL OBERMIYER     6099 MERWIN CHASE RD                                                               BROOKFIELD           OH 44403‐9781
MICHAEL OBERRY        1903 GREENWAY DR                                                                   SEBRING              FL 33870‐4714
MICHAEL OBERTZ        877 PRATT ST                                                                       RAHWAY               NJ 07065‐1817
MICHAEL OBOZA         468 SUNNINGDALE DR                                                                 INKSTER              MI 48141‐4006
MICHAEL OBRIEN        4348 HEDGETHORN CIR                                                                BURTON               MI 48509‐1257
MICHAEL OBRIEN        5490 WILSON RD                                                                     COLUMBIAVILLE        MI 48421‐8937
MICHAEL OBRIEN        8132 RAINBOW RD                                                                    LAKE TOMAHAWK        WI 54539
MICHAEL OBRIEN        7358 SILO MEADOWS DR                                                               TEMPERANCE           MI 48182‐1577
MICHAEL OCONNELL      241 MARSHA JEANNE WAY                                                              CENTERVILLE          OH 45458‐4027
MICHAEL OCONNELL      3115 OLEANDER DR                                                                   SUMTER               SC 29154‐1682
MICHAEL OCONNELL      11313 S BARRY RD                                                                   BANNISTER            MI 48807‐9754
MICHAEL OCONNOR       PO BOX 155                                                                         KENT CITY            MI 49330‐0155
MICHAEL OCONNOR       3 PARK LN                                                                          WILMINGTON           DE 19809‐2011
MICHAEL OCONNOR JR.   5175 BOTTLE BRANCH RD                                                              CONWAY               SC 29527‐3905
MICHAEL ODDI          32428 DUNFORD ST                                                                   FARMINGTON HILLS     MI 48334‐2724
MICHAEL ODEA          3459 BLUE LAKE DR                                                                  FLINT                MI 48506‐2083
MICHAEL ODEN          3241 PLAINS ROAD                                                                   MASON                MI 48854‐9214
MICHAEL ODENWALD      7422 OBRIEN RD                                                                     HUBBARDSTON          MI 48845‐9529
MICHAEL ODLE          3360 HIDDEN RIDGE DR                                                               DEWITT               MI 48820‐8767
MICHAEL ODOM          630 KIMBERTON DR                                                                   FORT WAYNE           IN 46816‐1151
MICHAEL ODREN         9484 ASPEN VIEW DR                                                                 GRAND BLANC          MI 48439‐8037
MICHAEL OFFMAN        534 HOPE ST                                                                        BRIGHTON             MI 48116‐1822
MICHAEL OGDEN         137 GUENTHER LN                                                                    APOLLO               PA 15613‐1731
MICHAEL OGINSKY       30605 PALOMINO DR                                                                  WARREN               MI 48093‐5023
MICHAEL OGLE          906 ALHAMBRA DR                                                                    ANDERSON             IN 46012‐4221
MICHAEL OGLETREE      2391 CLIFTON SPRINGS RD                                                            DECATUR              GA 30034‐2911
MICHAEL OHAGAN        159 ORA RD                                                                         OXFORD               MI 48371‐3229
MICHAEL OHERON        407 HICKORY POST CT                                                                WENTZVILLE           MO 63385‐3786
MICHAEL OHOL          6559 LINCOLN PL APT B                                                              LOCKPORT             NY 14094‐6173
MICHAEL OKE           48 GRANGE ST                                                                       LEXINGTON            OH 44904‐1221
MICHAEL OKOLOVITCH    3445 PERRY LAKE RD                                                                 ORTONVILLE           MI 48462‐9153
MICHAEL OKONSKI       3760 WINGTIP CT                                                                    LAKE ORION           MI 48360‐2502
MICHAEL OLEARY        3750 LANG RD                                                                       BEAVERTON            MI 48612‐9725
MICHAEL OLEARY        3478 FAIR OAKS AVE                                                                 BOWLING GREEN        KY 42104‐5529
MICHAEL OLENIK        5324 YOUNGSTOWN POLAND RD                                                          POLAND               OH 44514‐1269
MICHAEL OLESZCZAK     48761 FIFTH AVE                                                                    CANTON               MI 48188‐8308
MICHAEL OLESZCZUK     5647 COPPER SANDS RUN                                                              FRUITPORT            MI 49415‐8877
MICHAEL OLEYAR        8341 FRANCES RD                                                                    FLUSHING             MI 48433‐8810
MICHAEL OLISH         1402 PRINCETON DR                                                                  BRUNSWICK            OH 44212‐3572
MICHAEL OLIVER        15959 FARMINGTON RD                                                                LIVONIA              MI 48154‐2856
MICHAEL OLIVER        3281 HARTLAND RD                                                                   GASPORT              NY 14067‐9418
MICHAEL OLIVER        2700 KEYSTONE DR                                                                   JONESBORO            AR 72401‐8554
MICHAEL OLIVER        530 N UNION ST APT 4                                                               WESTFIELD            IN 46074‐9591
MICHAEL OLK           6481 W BURT RD                                                                     SAINT CHARLES        MI 48655‐9633
MICHAEL OLKOWSKI      2401 W RATTALEE LAKE RD                                                            HOLLY                MI 48442‐9104
MICHAEL OLLETTE       12292 DELLA DR                                                                     BRIGHTON             MI 48114‐8106
MICHAEL OLSON         RR 2 BOX 60                                                                        HIXTON               WI 54635
MICHAEL OLSON         2736 NOTTINGHAM CT                                                                 THOMPSONS STATION    TN 37179‐9291
MICHAEL OLSON         3216 SEEBALDT AVE                                                                  WATERFORD            MI 48329‐4154
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Name                  Address1                      Address2                      Address3   Address4         City               State Zip
MICHAEL OLSON
MICHAEL OLSZEWSKI     1434 LAKE DR                                                                            NATIONAL CITY      MI    48748‐9569
MICHAEL OMANS         291 W MAPLEHURST ST                                                                     FERNDALE           MI    48220‐2716
MICHAEL ONDER         8683 WARWICK RD SE                                                                      WARREN             OH    44484‐3060
MICHAEL ONDOCSIN      14365 N CENTER RD                                                                       CLIO               MI    48420‐7934
MICHAEL ONDOVCSIK     PO BOX 369                                                                              TREGO              MT    59934‐0369
MICHAEL ONDRIAS       919 SUNNY SLOPE RD                                                                      WOODBURY           TN    37190‐5955
MICHAEL ONEAL         1120 ORCHARD HLS                                                                        MARTINSVILLE       IN    46151‐8100
MICHAEL ONEIL         5103 VILLAGE LANE CT                                                                    TRAVERSE CITY      MI    49684‐6916
MICHAEL ONOFRAY       25239 PALOMINO AVE                                                                      WARREN             MI    48089‐1341
MICHAEL ONUFRY        9276 GALE RD                                                                            OTISVILLE          MI    48463‐9423
MICHAEL ONYIA         APT 48214                     44422 BAYVIEW AVENUE                                      CLINTON TWP        MI    48038‐1584
MICHAEL ORDWAY        A865 COUNTY ROAD 13                                                                     NEW BAVARIA        OH    43548‐9744
MICHAEL OREBEAUX      505 BENTON DR                 APT 5101                                                  ALLEN              TX    75013‐5343
MICHAEL ORENDICK      119 ROLAND AVE                                                                          LACKAWANNA         NY    14218‐3540
MICHAEL ORGANEK       1254 WHITES BRIDGE RD                                                                   LOWELL             MI    49331‐9232
MICHAEL ORLANDO       225 CAMPBELL BLVD                                                                       GETZVILLE          NY    14068‐1501
MICHAEL ORLICH        37716 HACKER DR                                                                         STERLING HEIGHTS   MI    48310‐4064
MICHAEL ORMAN         590 N STINE RD                                                                          CHARLOTTE          MI    48813‐8857
MICHAEL ORME          5400 INDEPENDENCE COLONY RD                                                             GRAND BLANC        MI    48439‐9113
MICHAEL OROSZ         924 BENMAR DR                                                                           HOUSTON            TX    77032‐1804
MICHAEL OROURKE       353 GOLFVIEW CT                                                                         MURFREESBORO       TN    37127‐7132
MICHAEL ORTEGA        3261 BARRINGTON CIR                                                                     SAGINAW            MI    48603‐3080
MICHAEL ORTEGA        243 KILDARE COURT                                                                       O FALLON           MO    63366‐7425
MICHAEL ORTYL         9462 SYLVANIA AVE                                                                       SYLVANIA           OH    43560‐9664
MICHAEL OSBORN        19 MONROE PKWY                                                                          MASSENA            NY    13662‐1220
MICHAEL OSBORN        1494 FOREST HILLS DR                                                                    OKEMOS             MI    48864‐3038
MICHAEL OSBORNE       264 HORMELL RD                                                                          WILMINGTON         OH    45177‐8368
MICHAEL OSBORNE       2714 REFLECTION WAY                                                                     GREENWOOD          IN    46143‐7838
MICHAEL OSBURN        14 COLONIAL DRIVE                                                                       MARION             IN    46953
MICHAEL OSENBERG      DORNROESCHENWEG 56            42111 WUPPERTAL
MICHAEL OSENTOSKI     2865 RED ARROW DR                                                                       COMMERCE TWP       MI    48382‐3470
MICHAEL OSGOOD        PO BOX 855                    1118 FRENCH TRAIL                                         ROSCOMMON          MI    48653‐0855
MICHAEL OSGOOD        THE MADEKSHO LAW FIRM         8866 GULF FREEWAY SUITE 440                               HOUSTON            TX    77017
MICHAEL OSHUST        G6329 RICHFIELD RD                                                                      FLINT              MI    48506
MICHAEL OSTERFELD     615 GRAY GOOSE CT                                                                       W CARROLLTON       OH    45449‐2220
MICHAEL OSTERMILLER   8748 SOUTHRIDGE DR                                                                      HOWELL             MI    48843‐8014
MICHAEL OSTIPOW       4010 ALLAN RD                                                                           OWOSSO             MI    48867‐9636
MICHAEL OSTRANDER     952 E BRITTON RD                                                                        MORRICE            MI    48857‐9720
MICHAEL OSTROSKIE     6427 HUNTLEIGH ST                                                                       GARDEN CITY        MI    48135‐2014
MICHAEL OTREMBA       8206 SAINT JAMES CT                                                                     GROSSE ILE         MI    48138‐1774
MICHAEL OTT           5575 KNOLLWOOD DRIVE R        T1                                                        LEWISBURG          OH    45338
MICHAEL OTT           47632 ZUNIC DR                                                                          FREMONT            CA    94539‐7552
MICHAEL OTTENBACHER   46896 SPRINGHILL DR                                                                     SHELBY TOWNSHIP    MI    48317‐4068
MICHAEL OTTER         2687 BRYANWOOD DR NW                                                                    GRAND RAPIDS       MI    49544‐1773
MICHAEL OTTNEY        417 NORTH ST                                                                            MASON              MI    48854‐1531
MICHAEL OUIMET        228 BAYLEY RD                                                                           MASSENA            NY    13662‐3258
MICHAEL OUIMETTE      3195 S ORTONVILLE RD                                                                    CLARKSTON          MI    48348‐1231
MICHAEL OVERTON       712 PICCADILLY ROW                                                                      ANTIOCH            TN    37013‐1767
MICHAEL OWEN          23399 CURRIE RD                                                                         SOUTH LYON         MI    48178‐8922
MICHAEL OWEN          9225 WOODRIDGE DR                                                                       DAVISON            MI    48423‐8393
MICHAEL OWEN          8046 W 81ST CIR                                                                         ARVADA             CO    80005‐2554
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Name                             Address1                              Address2                           Address3   Address4         City              State Zip
MICHAEL OWENS                    196 ALMER DR                                                                                         CARO               MI 48723‐1239
MICHAEL OWENS                    2202 WINDEMERE AVE                                                                                   FLINT              MI 48503‐2258
MICHAEL OWENS                    56 MANSFIELD AVE                                                                                     MANSFIELD          OH 44902‐7881
MICHAEL OWENS                    5587 PLUM RUN CT                                                                                     MILFORD            OH 45150‐9791
MICHAEL OWENS                    10196 KLEINHEN RD                                                                                    DEFIANCE           OH 43512‐9739
MICHAEL OWUSU                    8920 SCIROCCO CIR                                                                                    OKLAHOMA CITY      OK 73135‐6510
MICHAEL OXENDINE                 683 N RIVERSIDE AVE                                                                                  SAINT CLAIR        MI 48079‐5418
MICHAEL OXLEY                    4126 WINTER HUE LN                                                                                   DAVISON            MI 48423‐8923
MICHAEL OXMAN                    2522EFHKLFDKL                         HKDFL                                                          CHIC                IA 60614
MICHAEL OYSTER AND STATE FARM    ZEEHANDELAR, SABATINO & ASSOCIATES,   471 EAST BROAD STREET SUITE 1200                               COLUMBUS           OH 43215
MUTUAL AUTOMOBILE INSURANCE CO   LLC
MICHAEL OZZIE SPANN              C/O EDWARD O MOODY PA                 801 WEST 4TH STREET                                            LITTLE ROCK       AR   72201
MICHAEL P ASHBROOK               3820 SKYROS ST                                                                                       DAYTON            OH   45424
MICHAEL P ASHURST                1201 BROWNBERRY DRIVE                 APPT#A                                                         WILMINGTON        OH   45177
MICHAEL P BAILEY JR.             2516 N 64TH TER                                                                                      KANSAS CITY       KS   66104‐2611
MICHAEL P BARBER                 9197 N WEBSTER RD                                                                                    CLIO              MI   48420‐8544
MICHAEL P BATES                  C/O BRAYTON PURCELL                   222 RUSH LANDING RD                                            NOVATO            CA   94948‐6169
MICHAEL P BIENIEK                4145 VASSAR ST                                                                                       DEARBORN HTS      MI   48125‐2419
MICHAEL P BIGELOW                665 ROTHROCK AVENUE                                                                                  ATTALLA           AL   35954‐3256
MICHAEL P BONADONNA              7444 AKRON RD                                                                                        LOCKPORT          NY   14094‐9308
MICHAEL P BULLOCK                PO BOX 1122                                                                                          SAINT PETERS      MO   63376‐0019
MICHAEL P BURZENSKI              3076 GRETCHEN DR NE                                                                                  WARREN            OH   44483‐2951
MICHAEL P CONANT                 810 ALPINE CRT                                                                                       KISSIMMEE         FL   34758‐3401
MICHAEL P COOLEY                 24 LUZERNE ST                                                                                        ROCHESTER         NY   14620‐1633
MICHAEL P CROSBY                 7666 RIDGE RD                                                                                        FARMDALE          OH   44417‐9737
MICHAEL P CUZ                    2942C W HIGGINS LAKE DR                                                                              ROSCOMMON         MI   48653‐9273
MICHAEL P DEGAETANO              4237 E CREOSOTE DRIVE                                                                                CAVE CREEK        AZ   85331
MICHAEL P DOLEHANTY              1372 EGGLESTON AVE                                                                                   FLINT             MI   48532‐4130
MICHAEL P DONNELLY               5900 BRIDGE RD APT 809                                                                               YPSILANTI         MI   48197‐7010
MICHAEL P DONOGHUE               25 GERALDINE PKWY                                                                                    ROCHESTER         NY   14624‐1609
MICHAEL P EVANS                  49 CHESTER STREET                                                                                    WILKES‐BARRE      PA   18701
MICHAEL P EVANS                  106 FRANKLIN AVE                                                                                     NILES             OH   44446‐5119
MICHAEL P FILO                   5300 ORCHARD WAY                                                                                     LEBANON           OH   45036
MICHAEL P GALLAGHER              339 WESTMINSTER AVE                                                                                  YOUNGSTOWN        OH   44515‐1514
MICHAEL P GIARRUSSO              325 E MOLLOY RD                                                                                      SYRACUSE          NY   13211‐1639
MICHAEL P GREGORY                1037 RIVERHILL RD                                                                                    BEAVERCREEK       OH   45430
MICHAEL P HASTING                510 SHADE DR.                                                                                        WEST CARROLLTON   OH   45449
MICHAEL P HERMAN                 1412 CENTER AVE APT E                                                                                BAY CITY          MI   48708‐6174
MICHAEL P HOFFMEYER              1717 TUSCANY LN                                                                                      HOLT              MI   48842‐2096
MICHAEL P HUGHES                 4322 W 226TH ST                                                                                      FAIRVIEW PARK     OH   44126‐1829
MICHAEL P JOHNSON                PO BOX 115226                                                                                        ATLANTA           GA   30310‐8226
MICHAEL P JOLLEY                 2424 N ARAGON AVE                                                                                    KETTERING         OH   45420‐3712
MICHAEL P JONES                  1308 MEADOW LN                                                                                       POLAND            OH   44514‐1480
MICHAEL P JOSEPH                 3983 MEANDER DR                                                                                      MINERAL RIDGE     OH   44440‐9012
MICHAEL P JOYCE                  5514 GERMANTOWN PIKE                                                                                 DAYTON            OH   45418‐1808
MICHAEL P JUNG                   458 SADDLEWOOD AVE                                                                                   DAYTON            OH   45459
MICHAEL P KANIEWSKI              1705 WARNER RD                                                                                       VIENNA            OH   44473
MICHAEL P KIRK                   3608 GLENMANOR CIR                                                                                   MIDWEST CITY      OK   73110‐1210
MICHAEL P KRUIMER                33 PARKERSON RD                                                                                      EDISON            NJ   08817
MICHAEL P LEPO                   7600 RAGLAN DR NE                                                                                    WARREN            OH   44484‐1432
MICHAEL P LYNCH                  2539 PHILLIPS AVE                                                                                    BERKLEY           MI   48072‐3227
MICHAEL P MC CABE                1243 S 230TH ST                                                                                      PITTSBURG         KS   66762‐6856
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Name                                  Address1                          Address2                       Address3                 Address4         City               State Zip
MICHAEL P MC GRATH                    464 JOSEPH ST                                                                                              CARLTON PLACE ON
MICHAEL P MCLAIN                      2421 HEMLOCK DR                                                                                            BEAVER CREEK       OH    45431
MICHAEL P MEADE                       490 S EATON RD                                                                                             NASHVILLE          MI    49073‐9806
MICHAEL P MUELLER                     1757 19TH AVE                                                                                              KENOSHA            WI    53140
MICHAEL P NIEZGODA                    1140 PREL LN                                                                                               LEWISBURG          TN    37091‐6469
MICHAEL P NIEZODA                     1140 PREL LN                                                                                               LEWISBURG          TN    37091‐6469
MICHAEL P OGG                         2999 S.R. EAST 35                                                                                          XENIA              OH    45385
MICHAEL P PAYNE                       15 HALL ST                                                                                                 ROCHESTER          NY    14609‐7145
MICHAEL P PENNUCCI                    4898 SHELLER AVENUE                                                                                        DAYTON             OH    45432‐1667
MICHAEL P SABELLA                     585 STAMBAUGH AVE                                                                                          SHARON             PA    16146‐4140
MICHAEL P SCARBER                     11932 CHAMPAIGN AVE                                                                                        WARREN             MI    48089‐4605
MICHAEL P SCIBETTA                    PO BOX 30768 RIVER STAT                                                                                    ROCHESTER          NY    14603‐0768
MICHAEL P SERAMONE                    33 SUMAC CT                                                                                                NEWARK             DE    19702‐2885
MICHAEL P SHANNON                     2308 MARCH DR                                                                                              SPRING HILL        TN    37174‐7510
MICHAEL P SHUSTER                     PORT WRIGHT MORRIS & ARTHUR LLP   925 EUCLID AVE                 SUITE 1700                                CLEVELAND          OH    44115‐1483
MICHAEL P TRIPI                       1787 WALKER LAKE ONTARIO RD                                                                                HILTON             NY    14468
MICHAEL P UNGER                       2247 SALT ST                                                                                               SAGINAW            MI    48602‐1267
MICHAEL P VANDYKE                     1535 DAYTONA DR                                                                                            TOLEDO             OH    43612‐4015
MICHAEL P WILCOX                      234 W STATE                                                                                                MENDON             MI    49072
MICHAEL P WILLIAMS                    707 CRESTMONT DR                                                                                           RIVERSIDE          OH    45431
MICHAEL P WILLIAMSON                  5432 LANDAU DR UNIT 11                                                                                     KETTERING          OH    45429‐5448
MICHAEL P WOODARD                     311 BROWN AVE                                                                                              SYRACUSE           NY    13211‐1723
MICHAEL P. COMODECA, ESQ., SPENCER,   1000 WALNUT ST STE 1400                                                                                    KANSAS CITY        MO    64106‐2168
FANE, BRITT & BROWNE
MICHAEL P. MURPHY                     HALL OF JUSTICE AND RECORDS       400 COUNTY CENTER, 6TH FLOOR                                             REDWOOD CITY        CA 94063
MICHAEL P. O'HARA
MICHAEL P. SUMNER
MICHAEL PACE                          2406 VILLA VERA DR                                                                                         ARLINGTON          TX    76017‐2635
MICHAEL PACE                          14155 LANDINGS WAY                                                                                         FENTON             MI    48430‐1315
MICHAEL PACHE                         240 CROWLEY AVE                                                                                            BUFFALO            NY    14207‐1516
MICHAEL PACHOLKA                      4239 SHAWNEE TRL                                                                                           JAMESTOWN          OH    45335‐1213
MICHAEL PACKARD                       15362 RAMBLING DR                                                                                          FRASER             MI    48026‐5211
MICHAEL PADEN                         37 ESCONDIDO LN                                                                                            EDWARDS            MO    65326‐2024
MICHAEL PADGETT                       11844 N FOREST MANOR DR                                                                                    MOORESVILLE        IN    46158‐6734
MICHAEL PAGE                          6527 KINGS POINTE RD                                                                                       GRAND BLANC        MI    48439‐8606
MICHAEL PAGE                          6655 FENWAY ST                                                                                             PITTSBORO          IN    46167‐9044
MICHAEL PAGE INTERNATIONAL            ATTN: PETER ANSELMO               405 LEXINGTON AVE              THE CHRYSLER BUILDING,                    NEW YORK           NY    10174‐0001
                                                                                                       28TH FLOOR
MICHAEL PAGE INTERNATIONAL INC        ATTN ACCOUNTS RECEIVABLE          177 BROAD STREET 5TH FLOOR                                               STAMFORD            CT   06901
                                                                        SUITE 500
MICHAEL PAGE INTERNATIONAL PLC        ATTN: PETER ANSELMO               405 LEXINGTON AVE              THE CHRYSLER BUILDING,                    NEW YORK            NY 10174‐0001
                                                                                                       28TH FLOOR
MICHAEL PAHL                          STADER STRASSE 45A                BREMEN
MICHAEL PAHL                          STADER STRASSE 45A                28205 BREMEN
MICHAEL PAHOLSKY                      8902 TIMBERLINE DR                                                                                         SHELBY TWP          MI   48316‐4565
MICHAEL PAIR                          2702 PARK PLACE CT                                                                                         ARLINGTON           TX   76016‐5868
MICHAEL PAKE                          472 BIGLEAF COURT                                                                                          FLINT               MI   48506‐4587
MICHAEL PAKOSZ                        5016 LUCINDA DR                                                                                            PRESCOTT            MI   48756‐9650
MICHAEL PALAN                         3509 W CIRCLE DR‐57                                                                                        COLUMBIA CITY       IN   46725‐9422
MICHAEL PALAZZOLA                     PO BOX 478                                                                                                 MEMPHIS             MI   48041‐0478
MICHAEL PALAZZOLO                     32738 GREENWOOD DR                                                                                         CHESTERFIELD        MI   48047‐2734
MICHAEL PALECEK                       4264 HASTINGS DR                                                                                           GRAND BLANC         MI   48439‐8087
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Name                   Address1                      Address2            Address3         Address4         City                State Zip
MICHAEL PALMER         9950 REESE RD                                                                       BIRCH RUN            MI 48415‐9445
MICHAEL PALMER         1750 E SANILAC RD                                                                   CARO                 MI 48723‐9553
MICHAEL PALMERI MD P   PO BOX 1135                                                                         YORKTOWN HEIGHTS     NY 10598‐8135
MICHAEL PALOCIN        947 LAKEHURST AVE                                                                   JACKSON              NJ 08527‐5249
MICHAEL PALOMBA        16217 S KNORPP RD                                                                   PLEASANT HILL        MO 64080‐8842
MICHAEL PALUCH         32550 LAKE RD                                                                       AVON LAKE            OH 44012‐1732
MICHAEL PALUMBO        15 RAMSGATE DR                                                                      ROCHESTER            NY 14624‐2639
MICHAEL PALUMBO        431 NATURES COVE CT                                                                 WIXOM                MI 48393‐4575
MICHAEL PALUMBO        12 FERNWOOD PL                                                                      OLD BRIDGE           NJ 08857
MICHAEL PANASIEWICZ    10331 S AVENUE H                                                                    CHICAGO               IL 60617‐6051
MICHAEL PANCOAST       17735 MICKEY LN                                                                     GREGORY              MI 48137‐9570
MICHAEL PANCZENKO      12 MADISON AVE                                                                      OSSINING             NY 10562‐5704
MICHAEL PANDO          416 OLD TRAIL DR                                                                    HOUGHTON LAKE        MI 48629‐9586
MICHAEL PANEK          1066 E HARVARD AVE                                                                  FLINT                MI 48505‐1508
MICHAEL PANKOW         45352 DIAMOND POND DR                                                               MACOMB               MI 48044‐3550
MICHAEL PAPARELLA      24560 JAMESTOWNE RD                                                                 NOVI                 MI 48375‐2324
MICHAEL PAPCUN         53485 LUANN DR                                                                      SHELBY TWP           MI 48316‐2607
MICHAEL PAPPAS         6434 WILLIAMS LAKE RD                                                               WATERFORD            MI 48329‐3066
MICHAEL PAPSIDERO      291 HOMESTEAD DR                                                                    N TONAWANDA          NY 14120‐1644
MICHAEL PAPSUN         24360 SURFSIDE RD                                                                   NOVI                 MI 48374‐3072
MICHAEL PAQUET         5550 WOODVILLE RD                                                                   HASLETT              MI 48840‐8411
MICHAEL PARATORE JR    1468 ANDOVER BLVD                                                                   HOWELL               MI 48843‐6319
MICHAEL PARDONOFF      1517 ROCHESTER RD                                                                   LEONARD              MI 48367‐3552
MICHAEL PARHAM         2733 AERIAL AVE                                                                     KETTERING            OH 45419‐2243
MICHAEL PARIS          747 RIDGEFIELD DR                                                                   COOPERSVILLE         MI 49404‐9665
MICHAEL PARITEE        30 WINDSOR DR                                                                       WEST WINDSOR         NJ 08550‐1642
MICHAEL PARKER         8342 E TRUCKEE WAY                                                                  ANAHEIM              CA 92808‐2372
MICHAEL PARKER         1828 WEST WENLOCK DRIVE                                                             MARION               IN 46952‐2432
MICHAEL PARKER         2812 CASTLE CT                                                                      PERU                 IN 46970‐8721
MICHAEL PARKER         1131 DAVENPORT CT                                                                   BURTON               MI 48529‐1903
MICHAEL PARKER         44 PICADILLY CT                                                                     BROWNSBURG           IN 46112‐1807
MICHAEL PARKS          18850 DELAWARE AVE                                                                  REDFORD              MI 48240‐1935
MICHAEL PARKS          10590 EAGLE RD                                                                      DAVISBURG            MI 48350‐2126
MICHAEL PARR           8585 BABCOCK RD                                                                     BELLEVUE             MI 49021‐9406
MICHAEL PARR           19821 VERMANDER AVE                                                                 CLINTON TWP          MI 48035‐4719
MICHAEL PARR           3701 KINGSWAY DR                                                                    HIGHLAND             MI 48356‐1847
MICHAEL PARRETT        1838 HUNTERS COVE CIR                                                               KOKOMO               IN 46902‐5181
MICHAEL PARROW         25828 MARITIME CIR S                                                                HARRISON TOWNSHIP    MI 48045‐3075
MICHAEL PARSONS        5884 MICHAEL ST                                                                     TAYLOR               MI 48180‐1272
MICHAEL PARSONS        7027 FAIRGROVE DR                                                                   SWARTZ CREEK         MI 48473‐9408
MICHAEL PARTRIDGE      5380 WALNUT HILLS DR                                                                BRIGHTON             MI 48116‐8882
MICHAEL PARTYKA        5703 HAKEN RD                                                                       ALPENA               MI 49707‐9409
MICHAEL PASKELL        14800 W COUNTY ROAD 850 N                                                           GASTON               IN 47342‐9012
MICHAEL PASQUALINI     4808 COLUMBUS AVE                                                                   SANDUSKY             OH 44870‐7129
MICHAEL PASTERZ JR     4782 ASHWOOD DR W                                                                   SAGINAW              MI 48603‐4210
MICHAEL PASTUKHOV      2164 TALL OAKS DR                                                                   DAVISON              MI 48423‐2132
MICHAEL PASTULA        850 DOUGLAS ST                                                                      GARDEN CITY          MI 48135‐1062
MICHAEL PATE           34855 SOMERSET STREET                                                               WESTLAND             MI 48186‐4365
MICHAEL PATRICK        PO BOX 3182                                                                         LEBANON              TN 37088‐3182
MICHAEL PATRIX         7201 BLUEBILL ST                                                                    CLAY                 MI 48001‐4105
MICHAEL PATRNCHAK      1638 STATE RD NW                                                                    WARREN               OH 44481‐9476
MICHAEL PATRONE        240 LAKE POINTE CIR                                                                 CANFIELD             OH 44406‐8773
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Name                   Address1                          Address2          Address3       Address4         City               State Zip
MICHAEL PATRONIK       8800 S HARLEM AVE TRLR 2382                                                         BRIDGEVIEW           IL 60455‐1940
MICHAEL PATTERSON      13905 W COLONIAL DR               # 154                                             WINTER GARDEN       FL 34787
MICHAEL PATTERSON      3717 HAZELHURST DR                                                                  FORT WAYNE          IN 46804‐6215
MICHAEL PATTERSON      13840 RATTALEE LAKE RD                                                              DAVISBURG           MI 48350‐1242
MICHAEL PATTERSON      414 AUTUMNWOOD DR SW                                                                DECATUR             AL 35601‐5600
MICHAEL PATTERSON      620 N STONEGATE DR                                                                  ANTIOCH             TN 37013‐1650
MICHAEL PATTERSON      8271 WOODWORTH RD                                                                   OVID                MI 48866‐9408
MICHAEL PATTERSON      818 PIPER RD                                                                        MANSFIELD           OH 44905‐1353
MICHAEL PATTERSON      3221 DAVID DR                                                                       HURST               TX 76054‐2040
MICHAEL PATTERSON      3732 BEN CREEK CT                                                                   ALEDO               TX 76008‐3607
MICHAEL PATTISON       1869 SOMERVILLE DR                                                                  OXFORD              MI 48371‐5930
MICHAEL PATTON         4105 PLEASANTVIEW DR                                                                SAGINAW             MI 48603‐9659
MICHAEL PAUL           327 CORBETT ST UNIT 2                                                               CARSON CITY         NV 89706‐3090
MICHAEL PAUL II        1093 E COLDWATER RD                                                                 FLINT               MI 48505‐1501
MICHAEL PAULEY         5384 LIN HILL DR                                                                    SWARTZ CREEK        MI 48473‐8868
MICHAEL PAULIN         SCHILLERSTRASSE 16
MICHAEL PAULIN         SCHILLERSTRA▀E 16                                                                   ST. VEIT /GLAN          9300
MICHAEL PAULINO        7737 GUNNISON CT                                                                    BRIGHTON           MI   48114‐9469
MICHAEL PAULSON        5421 STATLER DR                                                                     BURTON             MI   48509‐1348
MICHAEL PAVEGLIO       713 S JACKSON ST                                                                    BAY CITY           MI   48708‐7371
MICHAEL PAVEGLIO       3272 CHASE RD                                                                       ADRIAN             MI   49221‐9346
MICHAEL PAVELCHAK JR   PO BOX 627                                                                          NORTH EASTHAM      MA   02651‐0627
MICHAEL PAVESE         25 OLD DOANSBURG LN                                                                 BREWSTER           NY   10509‐4911
MICHAEL PAVLIK         3135 AVALON DR LOT 177                                                              FLINT              MI   48507‐3468
MICHAEL PAVLISCAK      3741 HI DALE DR                                                                     LAKE ORION         MI   48360‐2422
MICHAEL PAVONE JR      1641 HILTON PARMA CORNERS RD                                                        SPENCERPORT        NY   14559
MICHAEL PAWLACZYK      728 W YOUNGS DITCH RD                                                               BAY CITY           MI   48708‐9166
MICHAEL PAWLAK         1916 3RD ST                                                                         BAY CITY           MI   48708‐6215
MICHAEL PAWLIKOWSKI    4540 STATE ROUTE 545                                                                ASHLAND            OH   44805‐9644
MICHAEL PAWLOSKE       2386 SHERLOCK TRL                                                                   HIGHLAND           MI   48356‐3012
MICHAEL PAYNE          358 SPUR CT                                                                         GREENWOOD          IN   46143‐7859
MICHAEL PAYNE          708 S GRANT AVE                                                                     CRAWFORDSVILLE     IN   47933‐3312
MICHAEL PAYNE          13447 HADDON ST                                                                     FENTON             MI   48430‐1156
MICHAEL PAYNE          1211 JACKSON BRIDGE RD                                                              CANON              GA   30520‐1618
MICHAEL PAYNE          2438 PARKSIDE DRIVE                                                                 GRAND PRAIRIE      TX   75052‐4611
MICHAEL PAYNE          555 S OLD WOODWARD AVE APT 1504                                                     BIRMINGHAM         MI   48009‐6680
MICHAEL PEA            3430 RANGELEY ST                                                                    FLINT              MI   48503‐2938
MICHAEL PEACOCK        8242 RUSSELL ST                                                                     SHELBY TOWNSHIP    MI   48317‐5354
MICHAEL PEAK           841 BEECH ST                                                                        LAKE ODESSA        MI   48849‐9431
MICHAEL PEARSALL       6367 BARKER DR                                                                      WATERFORD          MI   48329‐3111
MICHAEL PEARSON        2058 WEXFORD ST                                                                     WATERFORD          MI   48329‐3819
MICHAEL PEARSON        116 PUNKIN CT                                                                       GREENFIELD         IN   46140‐3156
MICHAEL PEARSON        PO BOX 3676                                                                         WARREN             OH   44485‐0676
MICHAEL PEARSON        4077 LIBBIE DR                                                                      CLIO               MI   48420‐8202
MICHAEL PEASEL         14001 S HARVEY AVE                                                                  OKLAHOMA CITY      OK   73170‐6868
MICHAEL PEASLEY        517 EDISON AVE                                                                      LANSING            MI   48910‐3322
MICHAEL PECK           13461 W COUNTY ROAD 400 N                                                           QUINCY             IN   47456‐9474
MICHAEL PECKNYO        9128 JACINTO ST                                                                     NEW PORT RICHEY    FL   34655‐5254
MICHAEL PEDDYCOART     PO BOX 462050                                                                       AURORA             CO   80046‐2050
MICHAEL PEDRIE         8886 COLOGNE DR                                                                     STERLING HEIGHTS   MI   48314‐1640
MICHAEL PEETZ          ARNSBURGER STRASSE 37             60385 FRANKFURT
MICHAEL PEFFLEY        1552 TERRAWENDA DR                                                                  DEFIANCE           OH 43512‐3708
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Name                 Address1                         Address2                     Address3   Address4               City              State Zip
MICHAEL PEGG         20 BARCELONA AVE                                                                                SAINT LOUIS        MO 63138‐3101
MICHAEL PEKALLA      145 GEORGETOWN PL                                                                               YOUNGSTOWN         OH 44515‐2220
MICHAEL PEKARSCIK    13265 BLACKSTONE LN                                                                             PLAINFIELD          IL 60585‐5555
MICHAEL PELEKAKIS    9335 MIDVALE DR                                                                                 SHREVEPORT         LA 71118‐3553
MICHAEL PELTIER      4188 MILLER RD                                                                                  STERLING           MI 48659‐9445
MICHAEL PELTOLA      427 N PETWAY ST                                                                                 FRANKLIN           TN 37064‐3121
MICHAEL PELZ         DIESELSTR. 4C                                                            D‐63225 LANGEN
MICHAEL PENIX        2500 CINNAMON RIDGE CT                                                                          MIAMISBURG        OH   45342‐5209
MICHAEL PENIX        3211 NASHVILLE HWY                                                                              LEWISBURG         TN   37091‐6235
MICHAEL PENN         2465 KELLY LAKE DR                                                                              DECATUR           GA   30032‐6415
MICHAEL PENN         417 TIMBERIDGE DR                                                                               SAINT PETERS      MO   63376‐6855
MICHAEL PENNACCHIA   1405 PARKSIDE DR                                                                                MANSFIELD         TX   76063‐8619
MICHAEL PENNELL      2936 BURTONWOOD DR                                                                              SPRING HILL       TN   37174‐8243
MICHAEL PEPPER       750 HAWICK CIR                                                                                  MOUNT MORRIS      MI   48458‐8718
MICHAEL PERES
MICHAEL PEREZ        1067 RAVEN DR                                                                                   BAY CITY          MI   48706‐9751
MICHAEL PEREZ        2187 130TH AVE                                                                                  HOPKINS           MI   49328‐9734
MICHAEL PEREZ        653 WASHINGTON AVE                                                                              DEFIANCE          OH   43512‐2660
MICHAEL PEREZ        176 CHESTNUT CIR W                                                                              DAVISON           MI   48423‐9189
MICHAEL PEREZ        PO BOX 9022                                                                                     WARREN            MI   48090‐9022
MICHAEL PERILLO      185 FOCH AVE                                                                                    TRENTON           NJ   08648‐3719
MICHAEL PERKINS      1105 N GOODLET AVE                                                                              INDIANAPOLIS      IN   46222‐3008
MICHAEL PERKINS      7302 SECOR RD                                                                                   PETERSBURG        MI   49270‐9724
MICHAEL PERRI        2122 MAGNOLIA CT                                                                                CINNAMINSON       NJ   08077‐3461
MICHAEL PERRIS       6149 WALDON RD                                                                                  CLARKSTON         MI   48346‐2240
MICHAEL PERRY        1151 WEILAND RD                                                                                 ROCHESTER         NY   14626‐3916
MICHAEL PERRY        5404 S EDGEWOOD DR                                                                              MUNCIE            IN   47302‐9539
MICHAEL PERRY        2183 SATINWOOD DR                                                                               MANSFIELD         OH   44903‐8676
MICHAEL PERRY        PO BOX 384                                                                                      PENROSE           NC   28766‐0384
MICHAEL PERRY        4149 STELLO RD                                                                                  SAGINAW           MI   48609‐9726
MICHAEL PERRY        536 E GLASS RD                                                                                  ORTONVILLE        MI   48462‐8879
MICHAEL PERRY        3268 LINZIE DR                                                                                  LAMBERTVILLE      MI   48144‐9702
MICHAEL PERRY        7394 STATE ROUTE 97 LOT 53                                                                      MANSFIELD         OH   44903‐8565
MICHAEL PERRY        5098 MCLAIN ST                                                                                  SWARTZ CREEK      MI   48473‐1259
MICHAEL PERSAK       1051 MAYBELLE ST NE                                                                             GRAND RAPIDS      MI   49503‐1262
MICHAEL PERSECHINO   294 OLD FALLS BLVD                                                                              NORTH TONAWANDA   NY   14120‐3120
MICHAEL PERTZ        C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                     BOSTON HTS        OH   44236
MICHAEL PERUSKI JR   4397 NEMO AVE                                                                                   NORTH PORT        FL   34287‐3906
MICHAEL PERUZZI      1164 PRINCETON AVE                                                                              ROCHESTER HILLS   MI   48307‐3134
MICHAEL PESSEFALL    8627 TRINITY RD                                                                                 DEFIANCE          OH   43512‐9762
MICHAEL PESTA        699 HOLMES RIVERVIEW PARK                                                                       BAY CITY          MI   48706
MICHAEL PETERS       12013 SOMERVILLE DR                                                                             YUKON             OK   73099‐8136
MICHAEL PETERS       2752 LIBERTY TRL                                                                                PLAINFIELD        IN   46168‐8157
MICHAEL PETERS       9370 WILBUR HWY                                                                                 EATON RAPIDS      MI   48827‐9322
MICHAEL PETERSON     790 FRIAR DR                                                                                    MILFORD           MI   48381‐1747
MICHAEL PETERSON     2362 LANSBURY DR                                                                                WATERFORD         MI   48329‐2320
MICHAEL PETERSON     6732 WINTERBERRY RIDGE DR                                                                       STONE MOUNTAIN    GA   30087‐4795
MICHAEL PETERSON     5649 S VERNON RD LOT 17                                                                         DURAND            MI   48429‐9157
MICHAEL PETERSON     219 N WESTVIEW AVE                                                                              DAYTON            OH   45403‐1625
MICHAEL PETERSON     8137 VANDEN DR                                                                                  WHITE LAKE        MI   48386‐2549
MICHAEL PETERSON     3701 BANGOR RD                                                                                  BAY CITY          MI   48706‐2213
MICHAEL PETERSON     2637 22 MILE RD                                                                                 KENT CITY         MI   49330‐9228
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Name                  Address1                          Address2            Address3         Address4           City             State Zip
MICHAEL PETERSON      243 W MAIN ST                                                                             ADRIAN            MO 64720‐9208
MICHAEL PETIPRIN      5427 WILLIAMETTE CT                                                                       LAPEER            MI 48446‐8016
MICHAEL PETIT         438 STATE PARK RD                                                                         ORTONVILLE        MI 48462‐9464
MICHAEL PETRAGLIA     7077 LINCOLN AVENUE EXT                                                                   LOCKPORT          NY 14094‐6219
MICHAEL PETREKOVICH   413 W OAK ST                                                                              NEW BADEN          IL 62265‐1019
MICHAEL PETRELLO      3735 BURKEY RD                                                                            YOUNGSTOWN        OH 44515‐3338
MICHAEL PETRICK       3078 EAGLE CREEK RD                                                                       LEAVITTSBURG      OH 44430‐9763
MICHAEL PETRIK        101 HANCOCK RD                                                                            PISCATAWAY        NJ 08854‐3623
MICHAEL PETRIK        6310 EWALT RD                                                                             IMLAY CITY        MI 48444‐8831
MICHAEL PETRIK        2459 NAZOR RD                                                                             CRESTLINE         OH 44827‐9784
MICHAEL PETRIKEN      1343 SCHAFER DR                                                                           BURTON            MI 48509‐1548
MICHAEL PETRO         PO BOX 3012                                                                               MUNCIE            IN 47307‐1012
MICHAEL PETRONELLA    PO BOX 985                                                                                POCONO PINES      PA 18350‐0985
MICHAEL PETRUCCI      274 MITCHELL RD                                                                           WEST MIDDLESEX    PA 16159‐3322
MICHAEL PETRUCCI      8080 TIPSICO LAKE RD                                                                      HOLLY             MI 48442‐8987
MICHAEL PETRUCCI      820 W BOXBOROUGH DR                                                                       WILMINGTON        DE 19810‐1457
MICHAEL PETRUSKA      1552 CRAB CREEK RD                                                                        HENDERSONVILLE    NC 28739‐8454
MICHAEL PETRY         35520 COOLEY RD                                                                           GRAFTON           OH 44044‐9481
MICHAEL PETTY         12860 HIBISCUS AVE                                                                        SEMINOLE          FL 33776‐4311
MICHAEL PETYO
MICHAEL PEVOVAR       16510 BROOKLANE BLVD                                                                      NORTHVILLE       MI   48168‐8418
MICHAEL PEWITT        10457 W HOWE RD                                                                           EAGLE            MI   48822‐9740
MICHAEL PFEIFFER      1592 S CROWN ST                                                                           WESTLAND         MI   48186‐4187
MICHAEL PHARRIS       5205 N 7 MILE RD                                                                          PINCONNING       MI   48650‐8915
MICHAEL PHELPS        7040 E PRD 375 N                                                                          POLAND           IN   47868
MICHAEL PHELPS        4419 S SHERIDAN RD                                                                        LENNON           MI   48449‐9403
MICHAEL PHELPS        5552 WILD IRIS LN                                                                         HASLETT          MI   48840‐8686
MICHAEL PHELPS        2817 FERNWOOD AVE                                                                         LANSING          MI   48912‐4206
MICHAEL PHELPS        5971 RAINBOW LAKE DR E                                                                    BRAZIL           IN   47834
MICHAEL PHERIGO       3 S KERN DR                                                                               O FALLON         MO   63366‐3413
MICHAEL PHILLABAUM    262 STATE ROUTE 503                                                                       ARCANUM          OH   45304‐9458
MICHAEL PHILLIPS      43609 WELLAND DR                                                                          CLINTON TWP      MI   48038‐5503
MICHAEL PHILLIPS      5 SAVAGE RD                                                                               KENDALL PARK     NJ   08824‐1207
MICHAEL PHILLIPS      315 ASTOR AVE                                                                             W CARROLLTON     OH   45449‐2001
MICHAEL PHILLIPS      5550 FREDERICK PIKE                                                                       DAYTON           OH   45414‐2921
MICHAEL PHILLIPS      6399 JEFFERSON RD                                                                         NORTH BRANCH     MI   48461‐8136
MICHAEL PHILLIPS      8199 GREEN VALLEY DR                                                                      GRAND BLANC      MI   48439‐7023
MICHAEL PHILLIPS      936 JOHNSON ST                                                                            OWOSSO           MI   48867‐3825
MICHAEL PHILLIPS      123 WALPER AVE                                                                            CLAWSON          MI   48017‐2222
MICHAEL PHILLIPS      453 S RIDGE ST                                                                            SOUTH LYON       MI   48178‐1141
MICHAEL PHILLIPS      6385 HILLS DR                                                                             BLOOMFIELD       MI   48301‐1934
MICHAEL PHILLIPS SR   1222 W 36TH ST                                                                            INDIANAPOLIS     IN   46208‐4134
MICHAEL PIBER         GABRIELENSTR. 15                                                       80636 MUENCHEN
                                                                                             GERMANY
MICHAEL PICCINI       3975 KAELEAF RD 181                                                                       LAKE ORION       MI   48360
MICHAEL PICCOLO       4393 CREEKWOOD CT                                                                         ROCHESTER        MI   48306‐4605
MICHAEL PICKELL       7875 S CHANDLER RD # 5                                                                    SAINT JOHNS      MI   48879
MICHAEL PICKERT       808 E 15TH ST                                                                             KEARNEY          MO   64060‐8773
MICHAEL PICKETT       743 SPRINGHILL RD                                                                         MONROE           LA   71203‐9342
MICHAEL PICKETT       1531 S MAIN ST APT 2                                                                      KOKOMO           IN   46902‐2162
MICHAEL PICKETT       207 CLEVELAND ST                                                                          ALEXANDRIA       IN   46001
MICHAEL PICKLESIMER   20545 LAW AVE                                                                             BROWNSTWN TWP    MI   48183‐5023
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MICHAEL PICURI         BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS          OH 44236
MICHAEL PIECHOCKI II   2254 GARDEN BLVD                                                                              LIMA                OH 48505‐3545
MICHAEL PIEKNIK        PO BOX 1485                                                                                   DEARBORN            MI 48121‐1485
MICHAEL PIERCE         PO BOX 197                                                                                    TALKEETNA           AK 99676‐0197
MICHAEL PIERCE         2302 AVENUE B                                                                                 BRADENTON BCH       FL 34217‐2215
MICHAEL PIERCE         298 CONCEPT CT                                                                                CENTERVILLE         OH 45458‐2266
MICHAEL PIERCE         7907 LINCOLN AVENUE EXT                                                                       LOCKPORT            NY 14094‐9319
MICHAEL PIERZ          1520 WAYWARD DR                                                                               SYLVAN LAKE         MI 48320‐1819
MICHAEL PIESKO         2899 PACIFIC AVE                                                                              LAS VEGAS           NV 89121‐1181
MICHAEL PIETRO         39700 VALIANT DR                                                                              STERLING HTS        MI 48313‐5172
MICHAEL PIETROGALLO    3401 CHURCHILL AVE                                                                            FLINT               MI 48506‐4705
MICHAEL PIETRZAK       3017 HUNTINGTON PARK DR                                                                       WATERFORD           MI 48329‐4530
MICHAEL PIETRZAK       10448 PIEDMONT DR                                                                             BRIGHTON            MI 48114‐7580
MICHAEL PINCUMBE       840 VILLAGE PINE LN                                                                           ORTONVILLE          MI 48462‐8595
MICHAEL PINKUS         HANS‐BOECKLER‐STR 24                                                     40476 DUSSELDORF
                                                                                                GERMANY
MICHAEL PINNOW         5605 W US HIGHWAY 14                                                                          JANESVILLE         WI   53548‐9481
MICHAEL PINO           530 WHITNEY WAY                                                                               COLLIERVILLE       TN   38017‐6170
MICHAEL PINO JR        40 CHERRY CREEK LN                                                                            ROCHESTER          NY   14626‐4202
MICHAEL PINTYE         1624 JAMIE DR                                                                                 COLUMBIA           TN   38401‐5432
MICHAEL PIONTKOWSKI    42 JACKSON AVE                                                                                N TONAWANDA        NY   14120‐2604
MICHAEL PIOTROWSKI     238 GEORGIAN TERRANCE                                                                         SAGINAW            MI   48609
MICHAEL PIOTROWSKI     8350 W STEVENSON LAKE RD                                                                      LAKE               MI   48632‐9674
MICHAEL PIPER          7405 SAINT PATRICIA CT                                                                        DUNDALK            MD   21222‐3516
MICHAEL PIPER          10539 N ROYSTON RD                                                                            GRAND LEDGE        MI   48837‐9423
MICHAEL PIPER          4787 LANSING RD                                                                               PERRY              MI   48872‐9715
MICHAEL PIPERAKIS      12923 HAMPTON LAKES CIR                                                                       BOYNTON BEACH      FL   33436‐8207
MICHAEL PIPPIN         5045 W ROCKPORT RD                                                                            JANESVILLE         WI   53548‐8556
MICHAEL PISTELLI       5322 ADOBE DRIVE                                                                              PITTSBURGH         PA   15236‐2840
MICHAEL PITERA         56665 PORTSMOUTH DR                                                                           SHELBY TOWNSHIP    MI   48316‐4839
MICHAEL PITSCH         2045 CHURCHILL DR                                                                             ANN ARBOR          MI   48103‐6006
MICHAEL PITTS          BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS         OH   44236
MICHAEL PITZO          211 SPRINGVIEW DR                                                                             MARSHALL           WI   53559‐9608
MICHAEL PIZZICATO      3431 DEWEY AVE                                                                                ROCHESTER          NY   14616‐3241
MICHAEL PLACE          53 COUNTRY PLACE CT                                                                           XENIA              OH   45385‐8701
MICHAEL PLACKO         2330 PILGRIM VALLEY DR                                                                        BRUNSWICK          OH   44212‐4134
MICHAEL PLAGEMAN       711 PIONEER WOODS DR                                                                          INDIANAPOLIS       IN   46224‐6165
MICHAEL PLAHUTNIK      3660 S LAPEER RD LOT 19                                                                       METAMORA           MI   48455‐8916
MICHAEL PLAKOSH        10 ROSEMONT DR                                                                                ROCHESTER          NY   14617‐5152
MICHAEL PLAKOSH        10 ROSEMONT DRIVE                                                                             ROCHESTER          NY   14617‐5152
MICHAEL PLAMONDON      3499 S STATE RD                                                                               DAVISON            MI   48423‐8751
MICHAEL PLANCHAK       2427 SAFFRON LN                                                                               THE VILLAGES       FL   32162‐5110
MICHAEL PLANT          2970 PENNY LN                                                                                 LEXINGTON          OH   44904‐9540
MICHAEL PLATA          12240 FOREST GATE DR N                                                                        JACKSONVILLE       FL   32246‐1118
MICHAEL PLATER         5234 BRADMORE LN                                                                              WARREN             MI   48092‐6322
MICHAEL PLETTL         19312 LAKELAND DR                                                                             MACOMB             MI   48044‐3671
MICHAEL PLISOWSKI JR   10225 W BURNS DR                                                                              SUN CITY           AZ   85351‐1636
MICHAEL PLOTAR         16 PATTON LN                                                                                  CHEEKTOWAGA        NY   14225‐4608
MICHAEL PLOTNIKOV      3224 W 119TH ST                                                                               CLEVELAND          OH   44111‐1715
MICHAEL PLOTZKE        28387 SEVEN OAKS DR                                                                           FARMINGTON HILLS   MI   48331‐3111
MICHAEL PLOUCHA        2946 WOODSLEE DR                                                                              ROYAL OAK          MI   48073‐2935
MICHAEL PLUMB          4451 CRICKET RIDGE DR APT 103                                                                 HOLT               MI   48842‐2947
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Name                 Address1                         Address2                          Address3          Address4         City               State Zip
MICHAEL PLUMMER      2504 TAMRA LN                                                                                         ANDERSON            IN 46012
MICHAEL PLUNKETT     6093 E PILOT CT                                                                                       CAMBY               IN 46113‐8346
MICHAEL PLUTA        11520 ORCHARDVIEW DR                                                                                  FENTON              MI 48430‐2546
MICHAEL PLUTH        529 CHRISTENSEN RD               C/O JEAN RATKOVICH                                                   MOUNTAIN HOME       AR 72653‐8800
MICHAEL PLYLER       1908 CEDARBROOK DR                                                                                    COLUMBIA            SC 29212‐2003
MICHAEL POAGE        2801 S DORT HWY LOT 49                                                                                FLINT               MI 48507‐5258
MICHAEL POBOCIK      5190 GRAND BLANC RD                                                                                   SWARTZ CREEK        MI 48473‐9447
MICHAEL PODOJAK      913 N LINN ST                                                                                         BAY CITY            MI 48706‐3734
MICHAEL PODRASKY     1100 BLUE HERON DR                                                                                    HIGHLAND            MI 48357‐3906
MICHAEL POEHNER      APT 530                          12037 JUNIPER WAY                                                    GRAND BLANC         MI 48439‐2151
MICHAEL POHL         9476 PEAKE RD                                                                                         PORTLAND            MI 48875‐8423
MICHAEL POHL         7491 OAKMONT CT                                                                                       CANTON              MI 48187‐1259
MICHAEL POHL         244 OAK ST                                                                                            SOUTH HAVEN         MI 49090‐2301
MICHAEL POINDEXTER   2517 DANHAVEN CT                                                                                      AURORA               IL 60502‐9460
MICHAEL POIRIER      35210 ELMIRA ST                                                                                       LIVONIA             MI 48150‐5621
MICHAEL POISSON      29096 LIST ST                                                                                         FARMINGTON HILLS    MI 48336‐5931
MICHAEL POISSON      4488 VAN SLYKE RD                                                                                     FLINT               MI 48507
MICHAEL POLAK JR     5560 TRACY DR                                                                                         BOARDMAN            OH 44512‐3828
MICHAEL POLAND       1590 INDIAN SPRINGS DR                                                                                O FALLON            MO 63366‐5988
MICHAEL POLASEK      2776 PINTO DR                                                                                         COMMERCE TWP        MI 48382‐3454
MICHAEL POLDER       1216 SHAWNEE TRL                                                                                      YOUNGSTOWN          OH 44511‐1348
MICHAEL POLDER       3341 STARWICK DR                                                                                      CANFIELD            OH 44406‐9280
MICHAEL POLELLO      NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT          205 LINDA DRIVE                    DAINGERFIELD        TX 75638
MICHAEL POLIDAN      13286 ENID BOULEVARD                                                                                  FENTON              MI 48430‐1152
MICHAEL POLINCHAK    108 WOODINGHAM DR                                                                                     VENICE              FL 34292‐3926
MICHAEL POLISKI      6700 FAIROAKS DR SE                                                                                   ALTO                MI 49302‐9515
MICHAEL POLITO       6714 DESEO APT 314                                                                                    IRVING              TX 75039‐3133
MICHAEL POLITOWICZ   38244 SADDLE LN                                                                                       CLINTON TWP         MI 48036‐1779
MICHAEL POLK         2659 DETROIT ST                                                                                       DEARBORN            MI 48124‐4188
MICHAEL POLKABLA     329 MOSIER RD                                                                                         GIRARD              OH 44420‐3227
MICHAEL POLLICK      988 ROCK HILL LANE                                                                                    THE VILLAGES        FL 32162‐1428
MICHAEL POLLIE       308 N ELMWOOD AVE                C/O MICHELLE ANNE MCGUIRE                                            TRAVERSE CITY       MI 49684‐2178
MICHAEL POLLOCK      38328 YONKERS DR                                                                                      STERLING HEIGHTS    MI 48310‐3459
MICHAEL POLOM        1223 PARKS RD                                                                                         OAKLAND             MI 48363‐2536
MICHAEL POLOVINA     5319 RICHFIELD RD                                                                                     FLINT               MI 48506‐2216
MICHAEL POLZELLA     540 77TH ST                                                                                           NIAGARA FALLS       NY 14304‐2326
MICHAEL POLZIN       908 SHADY SHORE DR                                                                                    BAY CITY            MI 48706‐1962
MICHAEL POLZIN       6681 N MAYNE RD                                                                                       ROANOKE             IN 46783‐9150
MICHAEL PONDER       317 VERDON PLACE                                                                                      TROT WOOD           OH 45426
MICHAEL PONEROS      275 SQUAWBROOK RD.                                                                                    WYCKOFF             NJ 07481
MICHAEL PONKAUSKAS   106 N MAIN ST                                                                                         ORFORDVILLE         WI 53576‐9738
MICHAEL PONKE        5143 TERRITORIAL ROAD                                                                                 GRAND BLANC         MI 48439‐2020
MICHAEL PONTELLO     27648 PALOMINO DR                                                                                     WARREN              MI 48093‐8325
MICHAEL PONTON       25275 MACKINAC ST                                                                                     ROSEVILLE           MI 48066‐3951
MICHAEL POOLE        2902 EMORY STREET                                                                                     COLUMBUS            GA 31903‐2624
MICHAEL POOLER       422 GRAMONT AVENUE                                                                                    DAYTON              OH 45417‐2328
MICHAEL POPADAK      5407 CENTRAL COLLEGE RD                                                                               WESTERVILLE         OH 43081
MICHAEL POPE         6307 N 500 E                                                                                          ROANOKE             IN 46783‐9152
MICHAEL POPE         RICHARDSON PATRICK WESTBROOK &   1730 JACKSON STREET PO BOX 1368                                      BARNWELL            SC 29812
                     BRICKMAN LLC
MICHAEL POPLER       2651 E BATH RD                                                                                        MORRICE            MI 48857‐9741
MICHAEL POPOWICH     1438 W NORTH ST                                                                                       OWOSSO             MI 48867‐9404
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Name                  Address1                       Address2                 Address3            Address4         City              State Zip
MICHAEL POPPEI        275 S CASS LAKE RD                                                                           WATERFORD          MI 48328‐3526
MICHAEL POPRAFSKY     9636 OAKBROOKE LN APT 11                                                                     HOWELL             MI 48843‐6345
MICHAEL POPRAFSKY     29087 GRAND AVE                                                                              LACOMBE            LA 70445‐3633
MICHAEL PORTER        4110 BURTON PLACE CT                                                                         ANDERSON           IN 46013‐5600
MICHAEL PORTER        22440 STATE ROUTE 613                                                                        OAKWOOD            OH 45873‐9520
MICHAEL PORTER        PO BOX 353                                                                                   ENGLEWOOD          OH 45322‐0353
MICHAEL PORTER        PO BOX 351                                                                                   FREDERIC           MI 49733‐0351
MICHAEL PORTER        9165 VIRGIL                                                                                  REDFORD            MI 48239‐1255
MICHAEL PORTNER       7685 SWAN CREEK RD                                                                           SAGINAW            MI 48609‐5392
MICHAEL POSS          3264 SALEM DR                                                                                ROCHESTER HILLS    MI 48306‐2937
MICHAEL POST          620 WHITE PINE BLVD                                                                          LANSING            MI 48917‐8822
MICHAEL POSTEK        44665 MERRILL RD                                                                             STERLING HTS       MI 48314‐1452
MICHAEL POSTELL       1299 OAKLAWN DR                                                                              PONTIAC            MI 48341‐3604
MICHAEL POTASNIK      11163 STRATHMORE CT                                                                          GRAND BLANC        MI 48439‐9467
MICHAEL POTE          10374 HEGEL ROAD                                                                             GOODRICH           MI 48438‐9718
MICHAEL POTOSKI       940 ADAM DR                    APT G                                                         PITTSBURG          PA 15216
MICHAEL POTRZUSKI     32305 HARVARD ST                                                                             WESTLAND           MI 48186‐4985
MICHAEL POTTER        2294 MAIN ST APT 1                                                                           HOLT               MI 48842
MICHAEL POTTER        4578 S MORRICE RD                                                                            OWOSSO             MI 48867‐9758
MICHAEL POTTER        PO BOX 9022                    GMPT‐E TURIN                                                  WARREN             MI 48090‐9022
MICHAEL POTTER        N38W26876 GLACIER RD                                                                         PEWAUKEE           WI 53072‐2323
MICHAEL POTTER        49 RILEY CV                                                                                  MEDINA             TN 38355‐9812
MICHAEL POTTER        5 RUSSELL DR                                                                                 SHELBY             OH 44875‐1741
MICHAEL POTTER        2624 BOYLAN CT                                                                               ROCKFORD            IL 61101‐5235
MICHAEL POTTORFF      876 LINCOLN HEIGHTS DR                                                                       MARTINSVILLE       IN 46151‐7512
MICHAEL POTTS         820 W WASHINGTON ST                                                                          AUGUSTA            WI 54722‐9033
MICHAEL POTTS         226 PATIENCE WAY               SPRING MILL                                                   MIDDLETOWN         DE 19709‐5815
MICHAEL POUNCY        3552 PARK MEADOW DR                                                                          LAKE ORION         MI 48362‐2063
MICHAEL POWELL        3835 WILLOUGHBY RD                                                                           HOLT               MI 48842‐9742
MICHAEL POWELL        3110 MANN RD                                                                                 CLARKSTON          MI 48346‐4121
MICHAEL POWELL        2544 TERI LYN CT                                                                             LAPEER             MI 48446‐8321
MICHAEL POWELL        1460 MCCARTHY ST                                                                             YPSILANTI          MI 48198‐6633
MICHAEL POWERS        3304 STRALEY LN                                                                              YOUNGSTOWN         OH 44511‐3359
MICHAEL POWERS        3285 W MOUNT MORRIS RD                                                                       MOUNT MORRIS       MI 48458‐8240
MICHAEL POWERS        APT G75                        1513 HATCHER LANE                                             COLUMBIA           TN 38401‐4855
MICHAEL POWERS        3610 HARBER RD                                                                               CHAPEL HILL        TN 37034‐2020
MICHAEL POWERS        7312 WILLIAMSBURG RD                                                                         LANSING            MI 48917‐9616
MICHAEL POZEGA        3606 SOCHA WAY                                                                               PORT ORANGE        FL 32129‐4259
MICHAEL POZNIAK       PO BOX 602652                                                                                CLEVELAND          OH 44102‐0652
MICHAEL POZZANGHERA   15 GREENLEAF MDWS APT B                                                                      ROCHESTER          NY 14612‐4338
MICHAEL PRACHICK      BARON & BUDD PC                THE CENTRUM SUITE 1100   3102 OAK LAWN AVE                    DALLAS             TX 75219‐4281
MICHAEL PRAPPACHER    WEICHSELHECKEN 39                                                                            VOLKACH                 97332
MICHAEL PRAPPACHER    WEICHSELHECKEN 39              97332 VOLKACH            GERMANY
MICHAEL PRATER        17048 FISH LAKE RD                                                                           HOLLY             MI   48442‐8367
MICHAEL PRATHER       69 LAVEIANAN CT                MERIDETH PL                                                   MARTINSVILLE      IN   46151‐6755
MICHAEL PRATT         11 SPRING CREEK DR                                                                           CORTLAND          OH   44410‐1662
MICHAEL PRATT         2045 NONAVILLE RD                                                                            MOUNT JULIET      TN   37122‐5095
MICHAEL PRAY          8500 WALDRON RD                                                                              JEROME            MI   49249‐9614
MICHAEL PRECHT        21222 W 48TH ST                                                                              SHAWNEE           KS   66218‐9461
MICHAEL PREECS        26 MARTIN DR                                                                                 DANVILLE          IN   46122‐1501
MICHAEL PREHODA       1529 JACOBS RD                                                                               COLUMBIA          TN   38401‐1358
MICHAEL PREMO         3393 S BELSAY RD                                                                             BURTON            MI   48519‐1623
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Name                    Address1                        Address2             Address3        Address4                City                  State Zip
MICHAEL PRENTICE        722 MILTON AVE                                                                               ANDERSON               IN 46012
MICHAEL PRENTICE        38410 JUDD RD                                                                                BELLEVILLE             MI 48111‐9614
MICHAEL PRESCOTT        PO BOX 102                                                                                   SAINT PETERS           MO 63376‐0002
MICHAEL PRESGROVE       6335 W STOLL RD                                                                              LANSING                MI 48906‐9327
MICHAEL PRESSEL         9760 MINTWOOD RD                                                                             CENTERVILLE            OH 45458‐5122
MICHAEL PRESTAGE        1905 BROADWAY BLVD                                                                           FLORENCE               AL 35630‐1146
MICHAEL PRESTIA         13 LOIS DR                                                                                   CHEEKTOWAGA            NY 14227‐3508
MICHAEL PREUKSCHAT      ASTERNWEG 20                    41517 GREVENBROICH
MICHAEL PREVETTE        5070 MERIT DR                                                                                FLINT                 MI   48506‐2127
MICHAEL PREZIOSO        WINSTON PARK CONDO 700          4910 BAY ST.                                                 SAINT PETERSBURG      FL   33703
MICHAEL PREZKOP         607 NORMANDIE BLVD                                                                           BOWLING GREEN         OH   43402‐1547
MICHAEL PRICE           1606 FALLS OF ROUGH RD                                                                       CANEYVILLE            KY   42721‐9042
MICHAEL PRICE           2288 E 200 N                                                                                 ANDERSON              IN   46012‐9401
MICHAEL PRICE           313 LINWOOD LN                                                                               WABASH                IN   46992‐1137
MICHAEL PRICE           19000 N COUNTY ROAD 100 W                                                                    MUNCIE                IN   47303‐9613
MICHAEL PRICE           12274 FRANCES RD                                                                             OTISVILLE             MI   48463‐9742
MICHAEL PRICE           510 RIGGS ST                                                                                 FENTON                MI   48430‐2301
MICHAEL PRICE           3340 KERNWAY DR                                                                              BLOOMFIELD HILLS      MI   48304‐2437
MICHAEL PRICE SR        2328 STATE ST                                                                                SAGINAW               MI   48602‐3963
MICHAEL PRICHARD        9890 GLADIOLUS PRESERVE CIR                                                                  FORT MYERS            FL   33908‐9722
MICHAEL PRIEST          916 S GENEVA AVE                                                                             MARION                IN   46953‐1403
MICHAEL PRIEST          5350 E COLUMBIA RD                                                                           WEBBERVILLE           MI   48892‐9228
MICHAEL PRIESTLEY       28420 CHIPPEWA AVE                                                                           MILLSBORO             DE   19966‐2538
MICHAEL PRIEUR          8339 N CLEAR CREEK RD                                                                        HUNTINGTON            IN   46750‐9739
MICHAEL PRILL           13153 KINLOCK DR                                                                             STERLING HTS          MI   48312‐1569
MICHAEL PRITCHETT       15257 TEMAN MILL RD                                                                          BEAVERDAM             VA   23015‐1354
MICHAEL PRITCHETT       PO BOX 978                                                                                   BEDFORD               IN   47421‐0978
MICHAEL PROBST          1204 S HOLLY RD                                                                              FENTON                MI   48430‐8501
MICHAEL PROCACCINI      2861 HADDINGTON TRCE                                                                         DACULA                GA   30019‐1721
MICHAEL PROCASKEY       5827 TROTTER LN                                                                              W BLOOMFIELD          MI   48322‐1636
MICHAEL PROCKNAL        9077 HOLLAND GLENWOOD RD                                                                     GLENWOOD              NY   14069‐9612
MICHAEL PROCTOR         1905 VICKSBURG CIR                                                                           COLUMBIA              TN   38401‐6808
MICHAEL PROEHL          610 JACK BURDEN RD, LOT 16                                                                   WICKENBURG            AZ   85390‐1556
MICHAEL PROKOFF         1133 GEORGE MALONE RD                                                                        GREENEVILLE           TN   37745‐1115
MICHAEL PROKOP          4702 MALPASO                                                                                 LANSING               MI   48917‐1556
MICHAEL PROSONIC        203 AUSTIN AVE                                                                               SYRACUSE              NY   13207‐1006
MICHAEL PROULX          1903 S WOODBRIDGE ST                                                                         BAY CITY              MI   48706‐3440
MICHAEL PROWANT         301 W RICE ST                                                                                CONTINENTAL           OH   45831‐9042
MICHAEL PRUCHYAPUTTRA   4907 GERALD ST                                                                               WARREN                MI   48092‐3481
MICHAEL PRUDHOMME       255 LOCKWOOD ST                                                                              SAGINAW               MI   48602‐3027
MICHAEL PRUENTE         8360 ENGLEWOOD DR                                                                            CLARKSTON             MI   48346‐1116
MICHAEL PRUETT
MICHAEL PRUITT          836 INNES ST NE                                                                              GRAND RAPIDS          MI   49503‐3518
MICHAEL PRUITT          1232 BUCKINGHAM CIR                                                                          FRANKLIN              TN   37064‐5407
MICHAEL PRUSKI          51604 JOHNS DR                                                                               CHESTERFIELD          MI   48047‐1415
MICHAEL PRYSTASH        1894 WOODLAND TRCE                                                                           AUSTINTOWN            OH   44515‐4820
MICHAEL PRZYDATEK       27270 GROVER ST                                                                              HARRISON TWP          MI   48045‐3526
MICHAEL PRZYSTUP        160 LAZY WILLOW LN UNIT 102                                                                  MYRTLE BEACH          SC   29588‐4416
MICHAEL PSAUTE          2008 E GORMAN RD                                                                             ADRIAN                MI   49221‐9655
MICHAEL PTASHNIK        423 BELANGER ST                                                                              GROSSE POINTE FARMS   MI   48236‐3201
MICHAEL PUCHEL          8200 MCCARTY RD                                                                              SAGINAW               MI   48603‐9679
MICHAEL PUCHER          KOHLSTATTSTR. 2                                                      86420 DIEDORF GERMANY
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Name                  Address1                           Address2            Address3      Address4         City                 State Zip
MICHAEL PUCHER        KOHLSTATTSTR. 2                    86420 DIEDORF
MICHAEL PUCKETT       4509 PEPPERMILL LN                                                                    LAKE ORION           MI    48359‐2071
MICHAEL PUGH          5309 BLUE GRASS LN                                                                    SUGAR HILL           GA    30518‐4501
MICHAEL PUGH          901 COUNTY ROAD 95                                                                    MOULTON              AL    35650‐5027
MICHAEL PUHALA        491 CREED ST                                                                          STRUTHERS            OH    44471‐1249
MICHAEL PULA          880 KNABB RD                                                                          ELMA                 NY    14059‐9108
MICHAEL PULIS         17 DOWNING CT                                                                         GREENFIELD           IN    46140‐1312
MICHAEL PULLEN        8581 W 400 S                                                                          YORKTOWN             IN    47396
MICHAEL PULLIAM       3922 GILFORD CIR                                                                      LANSING              MI    48911‐4307
MICHAEL PULLIS        5699 COOMER RD                                                                        W BLOOMFIELD         MI    48324‐1110
MICHAEL PUMFREY       5934 JESSUP DRIVE                                                                     ZEPHYRHILLS          FL    33540‐7593
MICHAEL PUNG          107 ARNOLD ST                                                                         IONIA                MI    48864‐2009
MICHAEL PUNG          14196 CHADWICK RD                                                                     PORTLAND             MI    48875‐9308
MICHAEL PURTON        1921 SPICEWAY DR                                                                      TROY                 MI    48098‐4384
MICHAEL PUSATERI      10800 BRIGHTON BAY BLVD            NE APT 3103                                        ST PETERSBURG        FL    33716
MICHAEL PUSKA         APT 403                            4141 MCCARTY ROAD                                  SAGINAW              MI    48603‐9327
MICHAEL PUTERBAUGH    1612 REDBUSH AVE                                                                      KETTERING            OH    45420‐1348
MICHAEL PUTMAN        11701 MERIDIAN LINE RD                                                                JOHANNESBURG         MI    49751‐9404
MICHAEL PUTNAM        404 N ADELAIDE ST                                                                     FENTON               MI    48430‐1825
MICHAEL PUTTS         708 WESSEX DR                                                                         MURRELLS INLET       SC    29576‐9763
MICHAEL PUWAL         5110 PYLES RD                                                                         COLUMBIAVILLE        MI    48421‐8726
MICHAEL PYATT         1336 GOVERNORS RUN CT                                                                 O FALLON             MO    63366‐5576
MICHAEL PYTLIK        6781 NASH RD                                                                          N TONAWANDA          NY    14120‐1231
MICHAEL Q WARD        1115 GRAFTON AVE                                                                      DAYTON               OH    45405
MICHAEL QUACH         1635 KATHY MARIE DR                                                                   XENIA                OH    45385‐9209
MICHAEL QUACKENBUSH   2511 LANSBURY DR                                                                      WATERFORD            MI    48329‐2325
MICHAEL QUADE         3268 HAINES RD                                                                        ATTICA               MI    48412‐9207
MICHAEL QUALLS        99 LAKESHORE POINTE DR                                                                HOWELL               MI    48843‐6502
MICHAEL QUARTUCCIO    11376 SNOWBOWL RD                                                                     HOUGHTON LAKE        MI    48629‐7511
MICHAEL QUATRO        13520 PARADISE OAKS DR APT 16202                                                      EULESS               TX    76040‐8435
MICHAEL QUEEN         1140 MAPLE LEAF CT                                                                    CHARLOTTE            MI    48813‐7704
MICHAEL QUELLET       5950 WILLOWBROOK DRIVE                                                                SAGINAW              MI    48638‐5487
MICHAEL QUICK         203 SUMMIT AVE                                                                        WEST SENECA          NY    14224‐2300
MICHAEL QUIGLEY       2800 WHISPERING HILLS DR                                                              WASHINGTON TWP       MI    48094‐1043
MICHAEL QUINLAN       20824 SAINT GERTRUDE ST                                                               SAINT CLAIR SHORES   MI    48081‐1127
MICHAEL QUINN         16725 WANATAH TRL                                                                     WESTFIELD            IN    46074‐8016
MICHAEL QUINN         6883 EMERALD SHORES DR                                                                TROY                 MI    48085‐1439
MICHAEL QUINN         1439 WOODVIEW RD                                                                      YARDLEY              PA    19067‐5779
MICHAEL QUINN         15022 HIX ST                                                                          LIVONIA              MI    48154‐4873
MICHAEL QUINN         10223 CHAPEL PINES PL                                                                 FORT WAYNE           IN    46804‐3309
MICHAEL QUINN         9873 STATE ROUTE 503 N                                                                LEWISBURG            OH    45338‐8921
MICHAEL QUINN         704 RAYMOND DR                                                                        LEWISTON             NY    14092‐1189
MICHAEL QUINTANA      PO BOX 682006                                                                         FRANKLIN             TN    37068‐2006
MICHAEL QUINTIERI     6319 BERNER CT                                                                        GRAND LEDGE          MI    48837‐1677
MICHAEL R ARIZOLA     9203 E 36TH ST                                                                        NEWAYGO              MI    49337‐9524
MICHAEL R BECRAFT     202 BRONSTON TRAIL                                                                    DAYTON               OH    45430‐2030
MICHAEL R BEDELL      108 N WALNUT ST APT 301                                                               BAY CITY             MI    48706‐4975
MICHAEL R BROWN       389 HILL ST                                                                           XENIA                OH    45385‐5654
MICHAEL R BROWN       12367 EDGEWATER DR                                                                    HAMPTON              GA    30228
MICHAEL R BURKE       693 FLOWER CITY PARK                                                                  ROCHESTER            NY    14615‐3620
MICHAEL R BUSCHOR     35 W BRUCE AVE                                                                        DAYTON               OH    45405‐2715
MICHAEL R BUTLER      3310 LUDWIG RD                                                                        OXFORD               MI    48371‐1409
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Name                                Address1                           Address2                    Address3                   Address4         City             State Zip
MICHAEL R CAMPBELL SR               335 WISE RD                                                                                                SPRINGHILL        LA 71075‐4742
MICHAEL R CAREY & FRANCES S CAREY   2490 OLD SALEM CIR                                                                                         CONYERS           GA 30013
MICHAEL R CARNEY                    PO BOX 35                                                                                                  AZALIA            MI 48110‐0035
MICHAEL R CARSON                    C/O WILLIAM N IVERS                HARRISON & MOBERLY LLP      10 W MARKET STREET SUITE                    INDIANAPOLIS      IN 46024
                                                                                                   700
MICHAEL R CHERGI                    2430 MCMONAGLE AVE                                                                                         PITTSBURGH       PA 15216
MICHAEL R CLUTTER                   9525 NORTH TWINKLING SHADOWS WAY                                                                           TUCSON           AZ 85743

MICHAEL R CONZELMANN                1724 N LAPEER RD                                                                                           LAPEER           MI   48446‐7751
MICHAEL R COOPER                    113 N. BUTTER ST.                                                                                          GERMANTOWN       OH   45327
MICHAEL R CORNETT                   3011 US HIGHWAY 50                                                                                         FAYETTEVILLE     OH   45118
MICHAEL R COURTNEY                  2481 ORANGE AVE                                                                                            MORAINE          OH   45439‐2839
MICHAEL R COWARD                    8201 SHERIDAN RD                                                                                           MILLINGTON       MI   48746‐9620
MICHAEL R CRUMP                     251 EARLMOOR BLVD                                                                                          PONTIAC          MI   48341‐2751
MICHAEL R CURSON                    22 E RUTGERS AVE                                                                                           PONTIAC          MI   48340‐2748
MICHAEL R DAVIS                     3417 CLEARVIEW AVE                                                                                         MORAINE          OH   45439‐1111
MICHAEL R DIAMOND                   8530 RAY ROAD                                                                                              ARCANUM          OH   45304
MICHAEL R DOOGS
MICHAEL R DREGER                    15165 28 MILE RD                                                                                           WASHINGTN TWP    MI 48094‐1800
MICHAEL R DRUMMOND                  C/O WILLIAMS KHERKHER HART AND     8441 GULF FREEWAY STE 600                                               HOUSTON          TX 77007
                                    BOUNDAS LLP
MICHAEL R DUNLAP                    3224 FLORIDA ST                                                                                            OAKLAND          CA   94602‐3806
MICHAEL R DUNN & ASSOCIAT ES        100 W BIG BEAVER RD STE 200                                                                                TROY             MI   48084‐5283
MICHAEL R ELLIS                     4808 AMBERJACK CT                                                                                          VIRGINIA BEACH   VA   23464
MICHAEL R EPLY                      C/O BRAYTON PUCELL                 222 RUSH LANDING RD                                                     NOVATO           CA   94948‐6169
MICHAEL R ERNST                     803 HUFFMAN AVE                                                                                            DAYTON           OH   45403
MICHAEL R EVANOFF                   2771 JOEL CT                                                                                               DAYTON           OH   45439‐2919
MICHAEL R FRAILEY                   6997 TUSON BLVD APT 1D                                                                                     CLARKSTON        MI   48346‐4331
MICHAEL R GARD                      7270 COHASSET                                                                                              HUBER HEIGHTS    OH   45424
MICHAEL R GARRIGAN                  NIX, PATTERSON & ROACH LLP         GM BANKRUPTCY DEPARTMENT    205 LINDA DRIVE                             DAINGERFIELD     TX   75638
MICHAEL R GEROW II                  2022 BOATFIELD RD                                                                                          BURTON           MI   48529
MICHAEL R GIBSON                    609 KENNEDY AVE                                                                                            YPSILANTI        MI   48198‐8028
MICHAEL R GILLILAND                 156 KUHN RD                                                                                                ROCHESTER        NY   14612‐1447
MICHAEL R GOOCH                     5746 GARD RD                                                                                               WAYNESVILLE      OH   45068
MICHAEL R GOSS                      11121 WARNER RD                                                                                            DARIEN CENTER    NY   14040‐9508
MICHAEL R GRAHAM                    3526 DELPHOS AVE                                                                                           DAYTON           OH   45417
MICHAEL R GRAY                      15 JOY LANE                                                                                                CAMDEN           OH   45311‐1108
MICHAEL R GROOMS                    1950 EDGEWORTH AVE                                                                                         DAYTON           OH   45414‐5504
MICHAEL R HAJJAR                    210 WESTWOOD AVE                                                                                           SYRACUSE         NY   13211‐1624
MICHAEL R HARENCHAR                 PO BOX 477                                                                                                 CLIO             MI   48420‐0477
MICHAEL R HARRIS                    MICHAEL R HARRIS                   13 OAKWOOD DR                                                           BEAUFORT         SC   29907‐2009
MICHAEL R HARRIS                    13 OAKWOOD DR                                                                                              BEAUFORT         SC   29907‐2009
MICHAEL R HARTLEY                   325 WEST ANSON SMITH ROAD                                                                                  KINGMAN          AZ   86409‐3504
MICHAEL R HAWTHORNE                 16100 ROSEMONT AVE                                                                                         DETROIT          MI   48219‐4153
MICHAEL R HEDGES                    904 YOUNG ST                                                                                               PIQUA            OH   45356‐3237
MICHAEL R HENDERSON                 986 BRENDR LEE DRIVE                                                                                       MANTECA          CA   95337
MICHAEL R HERRON                    154 BRITTON LN                                                                                             MONROE           OH   45050
MICHAEL R HERRON                    1904 LAMBERTON ST                                                                                          MIDDLETOWN       OH   45044‐7004
MICHAEL R HILT                      627 N OAKHILL AVE                                                                                          JANESVILLE       WI   53548‐2714
MICHAEL R HIRSCH                    1986 N HIGHGATE CT                                                                                         BEAVERCREEK      OH   45432‐1879
MICHAEL R HOOPER                    5135 CECELIA ANN AVE                                                                                       CLARKSTON        MI   48346‐3907
MICHAEL R HUTCHISON                 7047 MAYNARD AVENUE                                                                                        DAYTON           OH   45415‐1336
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Name                        Address1                      Address2            Address3         Address4         City            State Zip
MICHAEL R JENNINGS          452 N. KING ST.                                                                     XENIA            OH 45385‐2208
MICHAEL R JONES             4873 NEBRASKA AVE                                                                   HUBER HEIGHTS    OH 45424‐6005
MICHAEL R JONES             144 LAURA AVE.                                                                      CENTERVILLE      OH 45458
MICHAEL R JONES             10477 W NATIONAL RD                                                                 NEW CARLISLE     OH 45344
MICHAEL R JORDAN            531 ARBOR STATION DR                                                                LONG BEACH       MS 39560
MICHAEL R KAPELKE           RTE 258                                                                             MT MORRIS        NY 14510
MICHAEL R KAPPEN            445 SPRINGS BLVD                                                                    SPRINGBORO       OH 45066‐5214
MICHAEL R KLEINER           230 WHITTINGTON DR                                                                  CENTERVILLE      OH 45459
MICHAEL R KNIERIM           515 DAVID DR.                                                                       MIAMISBURG       OH 45342‐2619
MICHAEL R KNOLL             1808 S HAMILTON ST                                                                  SAGINAW          MI 48602‐1205
MICHAEL R KOMOROWSKI        1433 W VIOLET DR                                                                    OAK CREEK        WI 53154
MICHAEL R LAMBERT           PO BOX 451                                                                          MATEWAN          WV 25678‐0451
MICHAEL R LEFEVERS          657 S AVONDALE RD                                                                   DUNDALK          MD 21222‐6225
MICHAEL R LINK              9415 PARKSIDE DR                                                                    DAYTON           OH 45458
MICHAEL R LOWREY            604 COLONY TRL                                                                      NEW CARLISLE     OH 45344‐8569
MICHAEL R LUCIANO           1127 JOSEPH AVENUE                                                                  ROCHESTER        NY 14621‐3415
MICHAEL R LUFRANO           5707 N RAVENSWOOD                                                                   CHICAGO           IL 60660‐3913
MICHAEL R LUNDY             2802 GOLDMAN AVE                                                                    MIDDLETOWN       OH 45044
MICHAEL R MACEK             PO BOX 41                                                                           HARRIETTA        MI 49638
MICHAEL R MANGOLD           535 QUEEN ELEANOR CT                                                                MIAMISBURG       OH 45342
MICHAEL R MCCLURE           604 CENTRAL AVE                                                                     TILTON            IL 61833‐7908
MICHAEL R MCCORKLE          8839 W EATON HWY                                                                    GRAND LEDGE      MI 48837‐9310
MICHAEL R MCELROY           1231 BEMENT ST                                                                      LANSING          MI 48912‐1705
MICHAEL R MCGAUGHEY         11 ASHFORD PLACE CT                                                                 O FALLON         MO 63366‐1294
MICHAEL R MCKNIGHT          5572 AUTUMN LEAF DR APT #6                                                          TROTWOOD         OH 45426‐1361
MICHAEL R MILLER            5375 FLAMINGO CT                                                                    DAYTON           OH 45431‐2827
MICHAEL R MIZICKO           5188 KING GRAVES ROAD                                                               VIENNA           OH 44473‐9713
MICHAEL R MOCKABEE          4460 S CLAYTON RD                                                                   FARMERSVILLE     OH 45325
MICHAEL R MONNIN            1100 CHRISTI CIR                                                                    BEAVERCREEK      OH 45434‐6376
MICHAEL R MOORE             PO BOX 2483                                                                         RIDGELAND        MS 39158
MICHAEL R MURPHY            4848 PERRYVILLE RD                                                                  HOLLY            MI 48442‐9408
MICHAEL R NAIRY             4 HILLCREEK LANE                                                                    ROCHESTER        NY 14626
MICHAEL R OLSCHEWSKI        281 OLD MEADOW DR                                                                   ROCHESTER        NY 14626‐3548
MICHAEL R OWENS             5587 PLUM RUN                                                                       MILFORD          OH 45150
MICHAEL R PAPSUN            24360 SURFSIDE RD                                                                   NOVI             MI 48374‐3072
MICHAEL R PARKER            132 ROCKWELL ST                                                                     JACKSON          MI 49203‐3165
MICHAEL R PARKHURST         7124 AMHERST AVE                                                                    BOARDMAN         OH 44512‐4536
MICHAEL R PATTEEN           910 N GRANT ST APT 2                                                                BAY CITY         MI 48708‐6481
MICHAEL R PENNINGTON        1968 JACKSON RD                                                                     VANDALIA         OH 45377
MICHAEL R PENNINGTON, JR.   914 RANDLER AVE                                                                     VANDALIA         OH 45377
MICHAEL R PHELPS            414 EAST CANAL STREET                                                               TROY             OH 45373‐3617
MICHAEL R PHILLIPS          5550 FREDERICK PIKE                                                                 DAYTON           OH 45414
MICHAEL R POEHNER           APT 530                       12037 JUNIPER WAY                                     GRAND BLANC      MI 48439‐2151
MICHAEL R RABEL             5619 LIBERTY AVE                                                                    NEWTON FALLS     OH 44444‐8410
MICHAEL R REED              4953 LINDBERGH BLVD                                                                 DAYTON           OH 45449
MICHAEL R REED              672 NEW NORTH DEXTER                                                                IONIA            MI 48846
MICHAEL R SCHNEIDER         835 PORTAGE‐EASTERLY RD.                                                            CORTLAND         OH 44410‐9558
MICHAEL R SEVERS            3945 DAYTON XENIA RD                                                                DAYTON           OH 45432‐2835
MICHAEL R SHELTON           640 ALMOND DR                                                                       OAKLEY           CA 94561‐2101
MICHAEL R SHERMAN           3344 LEVERENZ DR                                                                    SAINT CHARLES    MO 63301‐0542
MICHAEL R SHIRLEY           400 COWN RD                                                                         TEMPLE           GA 30179‐4020
MICHAEL R SMITH             4590 WILSON RD.                                                                     JAMESTOWN        OH 45335
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Name                      Address1                         Address2            Address3            Address4                City               State Zip
MICHAEL R SNELLING        8132 FRANKLIN‐TRENTON RD                                                                         FRANKLIN            OH 45005‐3968
MICHAEL R STALL           1037 CHATEAU DR                                                                                  KETTERING           OH 45429
MICHAEL R STILLMAN        7091 ORCHARD LAKE RD STE 270                                                                     WEST BLOOMFIELD     MI 48322‐3667
MICHAEL R SWAIN           5003 PIERCE ROAD NORTHWEST                                                                       WARREN              OH 44481‐9376
MICHAEL R THOMAS          041 DUNAWAY, APT.#5                                                                              MIAMISBURG          OH 45342
MICHAEL R VANCAMP JR      806 KINGSDALE AVE                                                                                TILTON               IL 61833‐7956
MICHAEL R WAGERS          13960 CREEKVIEW DR                                                                               SOMERVILLE          OH 45064
MICHAEL R WARD            3415 PARALLEL RD                                                                                 DAYTON              OH 45439‐1211
MICHAEL R WELCH           PO BOX 757                                                                                       DAVISON             MI 48423‐0757
MICHAEL R WHITE           1920 CEMETERY LN                                                                                 KETTERING           OH 45429‐4213
MICHAEL R WILLIAMS        PO BOX 20911                                                                                     FERNDALE            MI 48220‐0911
MICHAEL R WILLIAMS        1304 MCDANIEL LN SE APT 103                                                                      LACEY               WA 98503‐7244
MICHAEL R WILSON          4864 MARYBROOK DR                                                                                KETTERING           OH 45429
MICHAEL R WILSON          7785 MANNING ROAD                                                                                MIAMISBURG          OH 45342
MICHAEL R WITHEY          1112 DITCH RD                                                                                    NEW LOTHROP         MI 48460‐9648
MICHAEL R ZITNIK          907 N. CEDAR ST.                                                                                 SUMMERVILLE         SC 29483‐6607
MICHAEL R. LINN R/O IRA   MICHAEL LINN IRA                 C/O MICHAEL LINN    5675 GOLFRIDGE DR                           ALMA                MI 48801
MICHAEL R. MCLEOD
MICHAEL R. SPENCER        706 EDGE ST                                                                                      FT WALTON BCH      FL   32547‐2980
MICHAEL RAAB              706 SEBEK ST                                                                                     OXFORD             MI   48371‐4453
MICHAEL RABEL             5633 NORTH PARK EXT.                                                                             WARREN             OH   44481
MICHAEL RABIDEAU          6022 W EMERY RD                                                                                  HOUGHTON LAKE      MI   48629‐9058
MICHAEL RABY              500 HUNT CLUB RD                                                                                 BLANCHARD          OK   73010‐5021
MICHAEL RACER             840 BUCKHORN DR                                                                                  LAKE ORION         MI   48362‐2824
MICHAEL RACICOT           595 FIELDSTONE DR                                                                                ROCHESTER HILLS    MI   48309‐2630
MICHAEL RADAKOVITZ        11701 S RIDGELAND AVE TRLR 60                                                                    WORTH              IL   60482‐3032
MICHAEL RADEN             50636 JIM DR                                                                                     CHESTERFIELD       MI   48047‐1840
MICHAEL RADKE             4577 CLEARVIEW DR                                                                                CLARKSTON          MI   48348‐4005
MICHAEL RADMER
MICHAEL RADWAN            29822 OAKLEY ST                                                                                  LIVONIA            MI   48154‐3736
MICHAEL RAGAN JR          289 ALVA WAY                                                                                     MONROEVILLE        PA   15146‐4506
MICHAEL RAGAY             PO BOX 293                                                                                       RAPID RIVER        MI   49878‐0293
MICHAEL RAGOZINE          26 NAVAJO TRL                                                                                    GIRARD             OH   44420‐3631
MICHAEL RAIKE             11017 HARRIS RD                                                                                  DEFIANCE           OH   43512‐8906
MICHAEL RAINES            2160 SPRING HOLLOW LN                                                                            GERMANTOWN         TN   38139‐5628
MICHAEL RAJEWSKI          813 S VAN BUREN ST                                                                               BAY CITY           MI   48708‐7316
MICHAEL RALEIGH           2093 EAGLE POINTE                                                                                BLOOMFIELD HILLS   MI   48304‐3807
MICHAEL RALSTON           11 BRIARWOOD CT                                                                                  WARRENTON          MO   63383‐1056
MICHAEL RAMBY             554 GABRIEL ST                                                                                   VANDALIA           OH   45377‐1837
MICHAEL RAMEY             4310 WYLIE RD                                                                                    DEXTER             MI   48130‐8556
MICHAEL RAMIREZ           6911 SCOTT WOODS CT NE                                                                           COMSTOCK PARK      MI   49321‐9620
MICHAEL RAMIREZ           1646 WOODHURST DR                                                                                DEFIANCE           OH   43512‐3442
MICHAEL RAMSEY            25 CRESCENT LN                                                                                   LEVITTOWN          PA   19055‐1621
MICHAEL RAMSEY            711 VALLEY DR                                                                                    ANDERSON           IN   46011‐2039
MICHAEL RAMSEY            9236 BALDWIN RD                                                                                  GAINES             MI   48436‐9719
MICHAEL RANDALL           5232 STATE ROAD 50                                                                               DELAVAN            WI   53115‐4202
MICHAEL RANDALL           1023 WILLOW DR                                                                                   CHOCTAW            OK   73020‐7145
MICHAEL RANDALL           632 LUCAS LN                                                                                     OAKWOOD            IL   61858‐5801
MICHAEL RANDALL           443 N PEMBER RD                                                                                  JANESVILLE         WI   53546‐8627
MICHAEL RANDERATH         KLEINE SCHMIEH 23                                                        61440 OBERURSEL
                                                                                                   GERMANY
MICHAEL RANDERATH         KLEINE SCHMIEH 23                61440 OBERURSEL
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Name                                 Address1                         Address2                        Address3                   Address4         City               State Zip
MICHAEL RANDOLPH                     4817 MUND RD                                                                                                 SHAWNEE             KS 66218‐9091
MICHAEL RANDOLPH                     PO BOX 130                                                                                                   MEDWAY              OH 45341‐0130
MICHAEL RANEY                        169 IDA RED AVE                                                                                              SPARTA              MI 49345‐1715
MICHAEL RANEY                        3378 PARK MEADOW DR                                                                                          LAKE ORION          MI 48362‐2071
MICHAEL RANGEL                       1960 MAPLE RD                                                                                                GLADWIN             MI 48624‐8778
MICHAEL RANGEL                       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                                  BOSTON HTS          OH 44236
MICHAEL RANGER                       4423 HEDGETHORN CIR                                                                                          BURTON              MI 48509‐1248
MICHAEL RANKIN                       3700 UPPERWOOD DR NE                                                                                         GRAND RAPIDS        MI 49525‐9562
MICHAEL RANLY                        463 SAINT JAMES PL                                                                                           SPRINGBORO          OH 45066‐9748
MICHAEL RAPER                        2237 DRAPER AVE                                                                                              YPSILANTI           MI 48197‐4311
MICHAEL RASPOLIC                     5489 N LINDEN RD                                                                                             FLINT               MI 48504‐1105
MICHAEL RASSEL                       976 MEADOR RD                                                                                                FRANKLIN            KY 42134‐6835
MICHAEL RASTETTER                    9155 N 400 W                                                                                                 FRANKTON            IN 46044‐9412
MICHAEL RATAJCZAK                    PO BOX 6175                                                                                                  SAGINAW             MI 48608‐6175
MICHAEL RATH                         81 SUN HAVEN CT                                                                                              WENTZVILLE          MO 63385‐7001
MICHAEL RATH                         1695 HILLCREST DR                                                                                            ROCHESTER HLS       MI 48306‐3139
MICHAEL RATZA                        3098 MURPHY LAKE RD                                                                                          MILLINGTON          MI 48746‐9621
MICHAEL RAU                          5251 ROAD 21                                                                                                 PAYNE               OH 45880‐9355
MICHAEL RAUBACHER                    PO BOX 9022                                                                                                  WARREN              MI 48090‐9022
MICHAEL RAUCH                        983 OMARD DR                                                                                                 XENIA               OH 45385‐2457
MICHAEL RAUSER                       24767 KING RD                                                                                                ROMULUS             MI 48174‐9432
MICHAEL RAVOTTI                      3567 MCCRACKEN RD                                                                                            SALEM               OH 44460‐9415
MICHAEL RAWLINS                      4812 S STATE ROAD 109                                                                                        KNIGHTSTOWN         IN 46148‐9579
MICHAEL RAY                          1961 MORRIS RD                                                                                               LAPEER              MI 48446‐9323
MICHAEL RAY                          11242 LORMAN DR                                                                                              STERLING HEIGHTS    MI 48312‐4966
MICHAEL RAY                          409 ROYAL AVE                                                                                                ROYAL OAK           MI 48073‐2538
MICHAEL RAY BROWER                   BARON & BUDD, PC                 THE CENTRUM SUITE 1100          3102 OAK LAWN AVE                           DALLAS              TX 75219‐4281
MICHAEL RAY HOUSE INDIVIDUALLY AND   ESTATE OF DAVID C HOUSE          C/O ALVIS AND WILLINGHAM LLP‐   1400 URBAN CENTER DR STE                    BIRMINGHAM          AL 35242
AS ADMINISTRATOR OF THE                                               ATTN K RICK ALVIS               475
MICHAEL RAYBURN                      9314 CROCKETT RD                                                                                             BRENTWOOD          TN   37027‐8461
MICHAEL RAYFORD                      1771 NORTHWOOD CIR                                                                                           JACKSON            MS   39213
MICHAEL RAYKHINSHTEYN                35110 OAKLAND ST                                                                                             FARMINGTON         MI   48335‐3343
MICHAEL READING                      1189 KNOWLING LOOP RD                                                                                        TALBOTT            TN   37877
MICHAEL READO                        PO BOX 1125                                                                                                  SPRINGFIELD        LA   70462‐1125
MICHAEL REALE                        40 MILL ST                                                                                                   MIDDLEPORT         NY   14105‐1018
MICHAEL REARDON                      113 BUCHANAN DR                                                                                              EPHRATA            PA   17522‐9621
MICHAEL REAUME                       8776 BOMIEA RD                                                                                               NEWPORT            MI   48166‐9347
MICHAEL REAVES                       6171 INDUSTRIAL LOOP #L100                                                                                   SHREVEPORT         LA   71129
MICHAEL REC                          16425 BRANDT ST                                                                                              ROMULUS            MI   48174‐3212
MICHAEL RECK                         1206 BEAVER RUN                                                                                              ANDERSON           SC   29625‐6707
MICHAEL RECK                         10279 LAFAYETTE LN.                                                                                          DIMONDALE          MI   48821
MICHAEL REDDER                       7294 GREENTREE DR                                                                                            JENISON            MI   49428‐8711
MICHAEL REDDICK                      57 SUNSET LN                                                                                                 WILLIFORD          AR   72482‐7106
MICHAEL REDING                       920 ROMINE RD                                                                                                ANDERSON           IN   46011‐8781
MICHAEL REDWANZ                      1611 JARRATT DR                                                                                              ROCKVALE           TN   37153‐4050
MICHAEL REED                         301 BICOLE DR                                                                                                BURLESON           TX   76028‐7491
MICHAEL REED                         1575 E 13 MILE RD APT 106                                                                                    MADISON HEIGHTS    MI   48071‐5012
MICHAEL REED                         1660 KILBURN RD N                                                                                            ROCHESTER HILLS    MI   48306‐3030
MICHAEL REED                         1519 COVENTRY RD                                                                                             DAYTON             OH   45410‐3210
MICHAEL REED                         4630 E 400 S                                                                                                 MIDDLETOWN         IN   47356
MICHAEL REED                         2829 S DEERFIELD AVE                                                                                         LANSING            MI   48911‐1756
MICHAEL REED                         3630 S EUCLID AVE                                                                                            BAY CITY           MI   48706‐3456
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Name                 Address1                         Address2           Address3         Address4         City               State Zip
MICHAEL REED         672 NEW NORTH DEXTER                                                                  IONIA               MI 48846
MICHAEL REED         11823 TERRACE DR                                                                      GRAND BLANC         MI 48439‐1137
MICHAEL REED         2812 OETTING DR                                                                       SAINT CHARLES       MO 63303‐8424
MICHAEL REED         14465 DUFFIELD RD                                                                     MONTROSE            MI 48457‐9432
MICHAEL REED         LOT 148                          8499 EAST M 71                                       DURAND              MI 48429‐1077
MICHAEL REED         2901 LETCHWORTH PKWY                                                                  TOLEDO              OH 43606
MICHAEL REED         443 KITE RD                                                                           SAINT PARIS         OH 43072‐9470
MICHAEL REEDY        120 S 12TH ST                                                                         MIDDLETOWN          IN 47356‐1140
MICHAEL REEK         4227 COLUMBIA PIKE                                                                    FRANKLIN            TN 37064‐9683
MICHAEL REEMTSEN     12411 WILSON RD                                                                       MONTROSE            MI 48457‐9416
MICHAEL REES         9401 S 750 WEST                                                                       DALEVILLE           IN 47334
MICHAEL REESE        2922 GRANDELL AVE                                                                     LANSING             MI 48906‐2617
MICHAEL REESE        2147 LEE RD                                                                           SPRING HILL         TN 37174‐2520
MICHAEL REESE        24890 LOIS LN                                                                         SOUTHFIELD          MI 48075‐1043
MICHAEL REEVES       1250 FOSTER ARBOR RD                                                                  CASTOR              LA 71016‐5210
MICHAEL REGAN        295 CYPRESS LN                                                                        OLDSMAR             FL 34677‐2167
MICHAEL REGAN        9033 N CLIO RD                                                                        CLIO                MI 48420‐8529
MICHAEL REGAN        7214 ANDREA CT                                                                        GRAND BLANC         MI 48439‐9655
MICHAEL REGAN        7204 E GRAND RIVER AVE LOT 135                                                        PORTLAND            MI 48875‐8774
MICHAEL REGGISH DC   ATTN: MICHAEL REGGISH            PO BOX 51997                                         LIVONIA             MI 48151‐5997
MICHAEL REGIEC       8123 CARIBOU LAKE LN                                                                  CLARKSTON           MI 48346‐1984
MICHAEL REGIS        214 GEORGETOWN PKWY                                                                   FENTON              MI 48430‐3207
MICHAEL REHAGE       641 HULL AVE                                                                          LEWISBURG           TN 37091‐3620
MICHAEL REID         8033 CARDIGAN WAY                                                                     SHREVEPORT          LA 71129‐4902
MICHAEL REID         18449 TARA DR                                                                         CLINTON TOWNSHIP    MI 48036‐3653
MICHAEL REID         263 MADELEINE LN                                                                      WATERFORD           MI 48328‐2875
MICHAEL REIF         4261 BOBWHITE DR                                                                      FLINT               MI 48506‐1704
MICHAEL REILLY       5251 EASTBROOK CT                                                                     SHELBY TWP          MI 48316‐3146
MICHAEL REINA        24 ANDOVER LN                                                                         WILLIAMSVILLE       NY 14221‐3309
MICHAEL REINBOLD     1687 E ANDERSON RD                                                                    LINWOOD             MI 48634‐9452
MICHAEL REINBOLT     128 FORBES AVE                                                                        TONAWANDA           NY 14150‐2909
MICHAEL REINERTH     210 RIVERS EDGE LANE                                                                  PORTLAND            MI 48875‐1299
MICHAEL REINHARDT    527 N KNIGHT RD                                                                       BAY CITY            MI 48708‐9165
MICHAEL REINHARDT    306 OXFORD ST                                                                         BAY CITY            MI 48708‐4402
MICHAEL REINHART     7410 W FARRAND RD                                                                     CLIO                MI 48420‐9470
MICHAEL REINKE       5230 N WILLIAMSTON RD                                                                 WILLIAMSTON         MI 48895‐9653
MICHAEL REISINGER    4645 VILLAGE DR                                                                       ANDERSON            IN 46012‐9764
MICHAEL REITZ        7426 NOEL AVE                                                                         DIMONDALE           MI 48821‐9549
MICHAEL REITZEL      47 DRY BRANCH CT                                                                      WENTZVILLE          MO 63385‐4108
MICHAEL REJKO        PO BOX 26647                                                                          INDIANAPOLIS        IN 46226‐0647
MICHAEL REKIETA      10963 LIVE OAK CREEK DR                                                               FORT WORTH          TX 76108‐4732
MICHAEL REKIS        32 PETER PAN LN                                                                       MARSHALL            MI 49068‐9586
MICHAEL REKUTA       31025 SIBLEY RD                                                                       ROMULUS             MI 48174‐9236
MICHAEL REMBOSKI     4514 MAIN ST                                                                          PORT HOPE           MI 48468‐7714
MICHAEL REMLEY       902 ROMAN DR                                                                          WHITE LAKE          MI 48386‐4397
MICHAEL REMPERT      15557 ALPINE DR                                                                       LIVONIA             MI 48154‐2635
MICHAEL RENAUD       PO BOX 35                                                                             FORESTDALE          MA 02644‐0035
MICHAEL RENFROE      1653 VALDOSTA CIR                                                                     PONTIAC             MI 48340‐1083
MICHAEL RENICK       520 BERRY PATCH LN                                                                    WHITE LAKE          MI 48386‐2005
MICHAEL RENNA        49 MORROW AVE                                                                         LOCKPORT            NY 14094‐5014
MICHAEL RENNER       3100 S WINTER ST APT H16                                                              ADRIAN              MI 49221‐8781
MICHAEL RENSBERGER   1399 HEATHERCREST DR                                                                  FLINT               MI 48532‐2670
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Name                 Address1                       Address2                 Address3    Address4             City               State Zip
MICHAEL RENSLOW      8217 32ND PL NE                                                                          MARYSVILLE          WA 98270‐7003
MICHAEL RENTON       3105 MENOMINEE AVE                                                                       FLINT               MI 48507‐1903
MICHAEL RENZ         APT 2A                         1026 RUNAWAY BAY DRIVE                                    LANSING             MI 48917‐8720
MICHAEL REPKO        1081 COLLAR PRICE RD SE                                                                  BROOKFIELD          OH 44403‐9778
MICHAEL RESCH        7193 CHILI RIGA CENTER RD                                                                CHURCHVILLE         NY 14428‐9511
MICHAEL RESZKA       22 CHERRYWOOD RDG                                                                        HOLLAND             NY 14080‐9660
MICHAEL RETCHER      5304 PIN TAIL PL                                                                         FORT WAYNE          IN 46818‐2532
MICHAEL RETHERFORD   123 LAKE ST                                                                              CHESTERFIELD        IN 46017‐1006
MICHAEL RETTMAN      5930 HIGHVIEW ST                                                                         DEARBORN HTS        MI 48127‐3034
MICHAEL RETZ         2600 N WHEELING AVE APT 3B                                                               MUNCIE              IN 47303‐1643
MICHAEL REY          ANGERMUNDER STR. 225F                                               D‐47269 DUISBURG
                                                                                         GERMANY
MICHAEL REYES        506 DENISE DR                                                                            MARSHALL           TX   75672‐8412
MICHAEL REYNOLDS     4166 BEACH TRL                                                                           JAMESTOWN          OH   45335‐1152
MICHAEL REYNOLDS     924 OLD HIGHWAY 60 W                                                                     MITCHELL           IN   47446‐7313
MICHAEL REYNOLDS     2704 W BROOKFIELD DR                                                                     MUNCIE             IN   47302‐2047
MICHAEL REYNOLDS     517 LAWRENCE RD                                                                          BROCKPORT          NY   14420‐9325
MICHAEL REYNOLDS     10468 CLARK RD                                                                           DAVISON            MI   48423‐8597
MICHAEL REYNOLDS     134 RUSSELL RD                                                                           STONEWALL          LA   71078‐9219
MICHAEL REYNOLDS     2420 W LAKE RD                                                                           CLIO               MI   48420‐8856
MICHAEL REYNOLDS     8809 EASLEY ST                                                                           WHT SETTLEMT       TX   76108‐1014
MICHAEL REYNOLDS     10316 ROSSMAN HWY                                                                        EATON RAPIDS       MI   48827‐9337
MICHAEL REYNOLDS     17872 LAKEFIELD RD                                                                       MERRILL            MI   48637‐8704
MICHAEL REYNOLDS     248 MCNIEL DR                                                                            MURFREESBORO       TN   37128‐4510
MICHAEL REYNOLDS     612 SOUTH WILLOW STREET                                                                  MANSFIELD          TX   76063‐2418
MICHAEL REYNOLDS     1197 DORAL DR                                                                            TROY               MI   48085‐6106
MICHAEL REYNOLDS     8308 N SERNS RD                                                                          MILTON             WI   53563‐9107
MICHAEL REYNOLDS     6475 WEYBURN CT                                                                          GRAND BLANC        MI   48439‐9477
MICHAEL REZMERSKI    24515 BRAMBLEWOOD DR                                                                     NOVI               MI   48374‐4019
MICHAEL RHADIGAN     3015 CEDAR KEY DR                                                                        LAKE ORION         MI   48360‐1515
MICHAEL RHOADS       5590 MIDDLE BRANCH DR                                                                    SHELBY TOWNSHIP    MI   48316‐3200
MICHAEL RHOADS       1935 HILLWOOD DRIVE                                                                      BLOOMFIELD         MI   48304‐2420
MICHAEL RHODERICK    817 S DUDLEY ST                                                                          DEWITT             AR   72042‐3313
MICHAEL RHODES       1935 THISTLEWOOD CT                                                                      ASHTABULA          OH   44004‐9705
MICHAEL RHODES       745 E FOSS AVE                                                                           FLINT              MI   48505‐2230
MICHAEL RHYNE        11054 WOODWARD DR                                                                        BYRON              MI   48418‐9014
MICHAEL RICE         6825 STATE ROUTE 718                                                                     PLEASANT HILL      OH   45359‐9768
MICHAEL RICE         208 CAMBRIDGE PL                                                                         FRANKLIN           TN   37067‐4412
MICHAEL RICE         850 EARL AVE                                                                             MIDDLETOWN         IN   47356‐9308
MICHAEL RICE         2254 DELTON CT                                                                           WESTLAND           MI   48186‐4624
MICHAEL RICH         10603 N MICHIGAN AVE                                                                     KANSAS CITY        MO   64155‐8914
MICHAEL RICH         6612 POND VIEW RD                                                                        CLARKSTON          MI   48346‐3484
MICHAEL RICH         17 MILL SPGS                                                                             COATESVILLE        IN   46121‐8946
MICHAEL RICH         12522 N DARTMOUTH LN                                                                     MOUNT VERNON       IL   62864‐9873
MICHAEL RICHARD A    1857 SUNRISE DRIVE                                                                       GREENBUSH          MI   48738‐9630
MICHAEL RICHARDS     41412 PATRICK DR                                                                         STERLING HEIGHTS   MI   48313‐3555
MICHAEL RICHARDS     699 S 88TH RD                                                                            CARMICHAELS        PA   15320
MICHAEL RICHARDSON   7594 LEONARD ST                                                                          COOPERSVILLE       MI   49404‐9729
MICHAEL RICHARDSON
MICHAEL RICHARDSON   3842 EDGEMONT DR                                                                         TROY               MI 48084‐1421
MICHAEL RICHARDSON   821 COUNTRY CLUB PL                                                                      GRAND PRAIRIE      TX 75052‐6205
MICHAEL RICHARDSON   3148 MARTHAROSE CT                                                                       FLINT              MI 48504‐1234
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Name                   Address1                        Address2            Address3         Address4         City              State Zip
MICHAEL RICHARDSON     7641 S EAST END AVE APT 3‐E                                                           CHICAGO             IL 60649‐4045
MICHAEL RICHARDSON     1808 E 44TH ST                                                                        ANDERSON           IN 46013‐2559
MICHAEL RICHART        2221 MANHATTAN AVE                                                                    INDIANAPOLIS       IN 46241‐5002
MICHAEL RICHER         4149 ILLINOIS AVE SW                                                                  WYOMING            MI 49509‐4448
MICHAEL RICHEY         2103 ROCKY BRANCH CT                                                                  ARLINGTON          TX 76013‐5244
MICHAEL RICHEY         506 CENTER ST                                                                         PENDLETON          IN 46064‐1308
MICHAEL RICHMOND       110 LEONARD DR                                                                        CAHOKIA             IL 62206‐2423
MICHAEL RICKER         220 SHEFFIELD DR APT 1                                                                RACINE             WI 53402‐3670
MICHAEL RICKERD        12001 RYAN RD                                                                         MUNITH             MI 49259‐9704
MICHAEL RICKETTS       7818 N STRATHBURY AVE                                                                 KANSAS CITY        MO 64151‐4282
MICHAEL RICKLE         PO BOX 112                                                                            POTTERVILLE        MI 48876‐0112
MICHAEL RIDGE          15743 TURNER RD                                                                       LANSING            MI 48906‐1139
MICHAEL RIDINGS        PO BOX 872                                                                            SPRING HILL        TN 37174‐0872
MICHAEL RIDNER         2661 DEBORAH ST                                                                       MONROE             MI 48162‐9201
MICHAEL RIEHS          47356 CAYLEE DR                                                                       SHELBY TOWNSHIP    MI 48315‐5057
MICHAEL RIEKE          27229 NAGEL RD. RT. 3                                                                 DEFIANCE           OH 43512
MICHAEL RIEMAN         RR 1                                                                                  LEIPSIC            OH 45856
MICHAEL RIEMER         6145 NORTH POND PTE.                                                                  GRAND BLANC        MI 48439
MICHAEL RIESENBERGER   11 CARDIFF CT E                                                                       NEWARK             DE 19711‐3443
MICHAEL RIETZ          617 S MCKINLEY RD                                                                     FLUSHING           MI 48433‐1904
MICHAEL RIGG           3255 S FENMORE RD                                                                     MERRILL            MI 48637‐9706
MICHAEL RIKER          PO BOX 553                                                                            LAKELAND           MI 48143‐0553
MICHAEL RILEY          15097 PAMMY WAY                                                                       GRASS VALLEY       CA 95949‐6525
MICHAEL RILEY          1104 SWEETGUM ST                                                                      MOORE              OK 73160‐8224
MICHAEL RILEY          154 ROSSMORE ST                                                                       ROCHESTER          NY 14606‐5520
MICHAEL RILEY          530 E ELLENDALE RD UNIT 101                                                           EDGERTON           WI 53534
MICHAEL RILEY          1809 FERNBROOK LN                                                                     FLORISSANT         MO 63031‐3305
MICHAEL RINARD         13620 92ND ST SE                                                                      ALTO               MI 49302‐9615
MICHAEL RINDERMANN     PO BOX 268822                                                                         OKLAHOMA CITY      OK 73126‐8822
MICHAEL RINE           138 W BROOKS RD                                                                       MIDLAND            MI 48640‐9317
MICHAEL RINGER         RR 2 BOX 142                                                                          BRISTOL            WV 26426‐9418
MICHAEL RINGLE         PO BOX 131                                                                            OTTAWA LAKE        MI 49267
MICHAEL RINK           375 WICKS ST                                                                          GRAYSLAKE           IL 60030‐2759
MICHAEL RINKO          242 WILCOX RD                                                                         AUSTINTOWN         OH 44515‐4253
MICHAEL RIOPELLE       1782 REUVEN CIR APT 4                                                                 NAPLES             FL 34112‐3609
MICHAEL RIPPLE         2393 LYON BLVD                                                                        POLAND             OH 44514‐1531
MICHAEL RISCH          12896 PEACOCK RD                                                                      LAINGSBURG         MI 48848‐9265
MICHAEL RISCHOW        7721 WOODLAND RD                                                                      LAKE ODESSA        MI 48849‐9323
MICHAEL RISELAY        1603 DURAND ST                                                                        SAGINAW            MI 48602‐5135
MICHAEL RISK           219 JONES RD                                                                          MARSHALL           TX 75670‐5722
MICHAEL RISSIN         5216 W FRANCES RD                                                                     CLIO               MI 48420‐8514
MICHAEL RISUM          13610 S CHIPPEWA TRL                                                                  HOMER GLEN          IL 60491‐9647
MICHAEL RITCHIE        211 WESTFIELD DR                                                                      ARCHBOLD           OH 43502‐1059
MICHAEL RITCHIE        5452 REID RD                                                                          SWARTZ CREEK       MI 48473‐9430
MICHAEL RITTENOUR      596 CHIPPEWA DR                                                                       DEFIANCE           OH 43512‐3339
MICHAEL RITTER         1351 S SAINT CLAIR RD                                                                 SAINT JOHNS        MI 48879‐8024
MICHAEL RITTER         201 WILSON AVE                                                                        AUBURN             KY 42206‐5222
MICHAEL RITTER         10609 BISSONETTE DR                                                                   OSCODA             MI 48750‐2312
MICHAEL RITTERSPACH    PO BOX 182                                                                            COLUMBIANA         OH 44408‐0182
MICHAEL RIVARD         330 W 2ND ST                                                                          DAVISON            MI 48423‐1317
MICHAEL RIVERS         5610 BUNCOMBE RD APT 1212                                                             SHREVEPORT         LA 71129‐3622
MICHAEL RIVISTO SR     WEITZ & LUXENBERG P C           700 BROADWAY                                          NEW YORK           NY
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Name                          Address1                          Address2                 Address3               Address4             City              State Zip
MICHAEL RIVISTO SR            WEITZ & LUXWNBERG PC              700 BROADWAY                                                         NEW YORK CITY      NY 10003
MICHAEL RIZZO                 1897 MAYFAIR DR                                                                                        WHITE LAKE         MI 48383‐3385
MICHAEL RIZZO JR              1111 JEFFERSON PL                                                                                      BELLINGHAM         MA 02019‐1368
MICHAEL ROBBINS               3171 LES CHAPPELL RD                                                                                   SPRING HILL        TN 37174‐2513
MICHAEL ROBERT DIEFENBACHER   MICHAEL ROBERT DIEFENBACHER       BARON & BUDD PC          THE CENTRUM STE 1100   3102 OAK LAWN AVE    DALLAS             TX 75219‐4281
MICHAEL ROBERTS               428 SPROLL ST                                                                                          HEMLOCK            MI 48626‐9356
MICHAEL ROBERTS               3750 AUSTINWOOD CT                                                                                     WATERFORD          MI 48329‐2600
MICHAEL ROBERTS               3716 HULL RD                                                                                           HURON              OH 44839‐2124
MICHAEL ROBERTS               2538 W 1025 N                                                                                          ALEXANDRIA         IN 46001‐8401
MICHAEL ROBERTS               1770 THERESA AVE                                                                                       DEWITT             MI 48820‐9020
MICHAEL ROBERTS               4215 RED FOX TRL                                                                                       OAKWOOD            GA 30566‐2148
MICHAEL ROBERTS               PO BOX 693                                                                                             HEDGESVILLE        WV 25427‐0693
MICHAEL ROBERTS               6296 DONNYBROOK DR                                                                                     SHELBY TWP         MI 48316‐3326
MICHAEL ROBERTS               130 KINGSTON PARK LN                                                                                   BALTIMORE          MD 21220‐4903
MICHAEL ROBERTS               1618 QUAIL CT                                                                                          PENDLETON          IN 46064‐8607
MICHAEL ROBERTS               6326 N CAMDEN AVE APT L                                                                                KANSAS CITY        MO 64151‐4711
MICHAEL ROBERTS
MICHAEL ROBERTSON             2841 LAFAYETTE AVE                2020 WASHINGTON AVENUE                                               SAINT LOUIS       MO   63104‐2015
MICHAEL ROBERTSON             2700 EATON RAPIDS RD LOT 140                                                                           LANSING           MI   48911‐6320
MICHAEL ROBERTSON             3646 N WILLOWBROOK DR                                                                                  MARION            IN   46952‐8757
MICHAEL ROBETON               818 HILLSIDE DR                                                                                        ANDERSON          IN   46011‐2032
MICHAEL ROBINS                426 BOARDWALK DR                                                                                       WALLED LAKE       MI   48390‐3544
MICHAEL ROBINSON              136 STREAMVIEW DR                                                                                      TROY              MI   48085‐4753
MICHAEL ROBINSON              556 CHERRY TREE LN                                                                                     ROCHESTER HILLS   MI   48306‐3311
MICHAEL ROBINSON              1435 CRYSTALAIRE CT SE                                                                                 CALEDONIA         MI   49316‐9758
MICHAEL ROBINSON              11532 TUSCANY DR                                                                                       LAUREL            MD   20708‐2875
MICHAEL ROBINSON              3208 CLEARVIEW WAY                                                                                     BLASDELL          NY   14219‐1348
MICHAEL ROBINSON              414 LEGRANDE ST                                                                                        HOLLY             MI   48442‐1537
MICHAEL ROBINSON              18417 WEXFORD ST                                                                                       DETROIT           MI   48234‐1853
MICHAEL ROBINSON              3516 IDLEWILD DR                                                                                       PRESCOTT          MI   48756‐9202
MICHAEL ROBINSON              6251 S INWOOD RD                                                                                       SHREVEPORT        LA   71119‐7240
MICHAEL ROBINSON              4320 BALFOUR RD                                                                                        DETROIT           MI   48224‐3442
MICHAEL ROBINSON              10435 NICHOLS RD                                                                                       MONTROSE          MI   48457‐9175
MICHAEL ROBINSON
MICHAEL ROBLIN                9702 OAKBROOKE LN APT 2                                                                                HOWELL            MI   48843‐6351
MICHAEL ROCHE                 129 MONROE ST                                                                                          FLINT             MI   48503‐3953
MICHAEL ROCHE                 2000 SHINING TREE DR NE                                                                                BELMONT           MI   49306‐8834
MICHAEL ROCHE                 300 CENTER ST                                                                                          SOLVAY            NY   13209‐2306
MICHAEL ROCHOWIAK             19739 JOLGREN DR                                                                                       CLINTON TWP       MI   48038‐2258
MICHAEL ROCK                  8780 CLEMENT RD                                                                                        CLARKSTON         MI   48346‐1914
MICHAEL RODACK                WEITZ & LUXENBERG PC              700 BROADWAY                                                         NEW YORK CITY     NY   10003
MICHAEL RODE                  18501 STATE ROUTE 190                                                                                  FORT JENNINGS     OH   45844‐9105
MICHAEL RODEBAUGH             3828 13TH ST                                                                                           MICCO             FL   32976‐2833
MICHAEL RODGERS               2619 ELVA DR                                                                                           KOKOMO            IN   46902‐6806
MICHAEL RODOCKER              5261 N ROLLIN HWY                                                                                      MANITOU BEACH     MI   49253‐9704
MICHAEL RODOLPH               PO BOX 541766                                                                                          GRAND PRAIRIE     TX   75054‐1766
MICHAEL RODRIGUES             PO BOX 601                                                                                             KULA              HI   96790‐0601
MICHAEL RODRIGUEZ             2115 CREEKSIDE DR SW                                                                                   BYRON CENTER      MI   49315‐8253
MICHAEL RODRIGUEZ             641 BRUNS DR                                                                                           ROSSFORD          OH   43460‐1548
MICHAEL RODRIGUEZ             612 CLARA AVE                                                                                          PONTIAC           MI   48340‐2034
MICHAEL ROE                   219 ELLIOTT CT                                                                                         COLUMBIA          TN   38401‐5535
MICHAEL ROEMELEN              1957 MARTIN AVE                                                                                        FREMONT           OH   43420‐3160
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Name                          Address1                       Address2               Address3      Address4                 City                  State Zip
MICHAEL ROESCHKE              11068 WINDMILL CT                                                                            STERLING HTS           MI 48313‐3269
MICHAEL ROETZER               KRELINGSTRASSE 19
MICHAEL ROGAN                 PO BOX 185                                                                                   FARRELL               PA 16121‐0185
MICHAEL ROGAN                 1639 FERNDALE AVE                                                   WINDSOR ON CANADA N8T‐
                                                                                                  2K6
MICHAEL ROGERS                1332 SPRINGBROOK DR                                                                          MANSFIELD             OH   44906‐3541
MICHAEL ROGERS                3838 WINEGAR RD                                                                              BANCROFT              MI   48414‐9604
MICHAEL ROGERS                4258 SORRELLS BLVD                                                                           POWDER SPRINGS        GA   30127‐4040
MICHAEL ROGERS                3462 VAN CAMPEN RD                                                                           FLINT                 MI   48507‐3349
MICHAEL ROGERS                6019 DEER PARK PASS                                                                          GRAND BLANC           MI   48439‐9609
MICHAEL ROGERS                27455 SHACKETT AVE                                                                           WARREN                MI   48093‐8347
MICHAEL ROGGER                1111 CHILDRESS AVE                                                                           SAINT LOUIS           MO   63139‐3303
MICHAEL ROHLEDER              DROSSELWEG 10                  D‐65779 KELKHEIM/TS.
MICHAEL ROHLEDER              DROSSELWEG 10                                                       D‐65779 KELKHEIM/TS
                                                                                                  GERMANY
MICHAEL ROHN                  5332 GARY C DR                                                                               PRESCOTT              MI   48756‐9521
MICHAEL ROLLERSON             5515 HEATHERCREST DR                                                                         ARLINGTON             TX   76018‐2525
MICHAEL ROLLINGS              1030 RIP STEELE RD                                                                           COLUMBIA              TN   38401‐7745
MICHAEL ROLLINS               8172 BURPEE RD                                                                               GRAND BLANC           MI   48439‐7409
MICHAEL ROLLINS               923 JACKSON AVE                                                                              DEFIANCE              OH   43512‐2720
MICHAEL ROLLINS               3604 N ROYAL OAK DR                                                                          MUNCIE                IN   47304‐2033
MICHAEL ROLLINS               7765 SUMMER BREEZE TRL                                                                       HOWELL                MI   48843‐9593
MICHAEL ROMACK                442 E MAGNOLIA CT                                                                            EDGERTON              WI   53534‐8617
MICHAEL ROMAN                 604 PARK CIR                                                                                 CLIO                  MI   48420‐2303
MICHAEL ROMANEK               1404 HAPPY HILL RD                                                                           LYNNVILLE             TN   38472‐5048
MICHAEL ROMANELLI             727 S RENAUD RD                                                                              GROSSE POINTE WOODS   MI   48236‐1731
MICHAEL ROMANO                8125 ROSE CREEK CT                                                                           BURLESON              TX   76028‐0401
MICHAEL ROMANS                4130 ROSEDALE RD                                                                             MIDDLETOWN            OH   45042‐3745
MICHAEL ROMBACH               10891 KILLARNEY HWY                                                                          ONSTED                MI   49265‐9615
MICHAEL ROMEO                 2813 NE WESTON CIR                                                                           BLUE SPRINGS          MO   64014‐1360
MICHAEL ROMINE                183 CALAMONDIN ST                                                                            LAKELAND              FL   33803
MICHAEL RONAN                 2509 WEATHERBY DR APT 218                                                                    ARLINGTON             TX   76006‐3274
MICHAEL RONCHETTO             1898 E LEISURE LN                                                                            FORT MOHAVE           AZ   86426‐6707
MICHAEL ROOP                  1826 N 975 W 27                                                                              CONVERSE              IN   46919‐9567
MICHAEL ROOS                  3019 GEHRING DR                                                                              FLINT                 MI   48506‐2259
MICHAEL ROOT                  6553 ALLEGAN RD                RR #1                                                         VERMONTVILLE          MI   49096‐9739
MICHAEL ROPER                 11624 SUNFIELD RD                                                                            SUNFIELD              MI   48890‐9042
MICHAEL ROPER                 999 DAHLWOOD CT                                                                              WESTMINSTER           MD   21157‐6758
MICHAEL ROPER                 1763 FISHING FORD RD                                                                         BELFAST               TN   37019‐2062
MICHAEL ROSA                  5470 POTTER RD                                                                               BURTON                MI   48509‐1346
MICHAEL ROSALEZ               987 N ORTONVILLE RD M‐15                                                                     ORTONVILLE            MI   48462
MICHAEL ROSAS                 205 S GLASSFORD ST                                                                           CAPAC                 MI   48014‐3609
MICHAEL ROSATI                11121 HOME SHORE DR                                                                          PINCKNEY              MI   48169‐9569
MICHAEL ROSE                  145 E 36TH ST APT 4                                                                          NEW YORK              NY   10016‐3510
MICHAEL ROSE                  PO BOX 176                                                                                   WEST MIDDLETON        IN   46995
MICHAEL ROSE                  932 LINCOLN AVE                                                                              FLINT                 MI   48507‐1756
MICHAEL ROSE                  7014 S TOWNSHIP ROAD 131                                                                     TIFFIN                OH   44883‐8642
MICHAEL ROSE                  7083 WHITE TAIL DR                                                                           GRAND BLANC           MI   48439‐9644
MICHAEL ROSE                  8923 NEST WAY                                                                                INDIANAPOLIS          IN   46231‐5236
MICHAEL ROSE PRODUCTION INC   1526 14TH ST STE 105                                                                         SANTA MONICA          CA   90404‐3320
MICHAEL ROSEMAN III           2327 MCDEVITT RD                                                                             SEWICKLEY             PA   15143‐8602
MICHAEL ROSENCRANS            4409 FAIRFIELD DR                                                                            JANESVILLE            WI   53546‐3312
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Name                  Address1                         Address2            Address3         Address4              City               State Zip
MICHAEL ROSIAR        657 S WONNELL RD                                                                            PORT CLINTON        OH 43452‐9655
MICHAEL ROSIER        8669 DEERING ST                                                                             YPSILANTI           MI 48198‐3208
MICHAEL ROSNITSCHEK   AZALEENSTR. 34                                                        80935 M▄NCHEN
                                                                                            GERMANY
MICHAEL ROSOLOWSKI    PO BOX 485                                                                                  GRAND BLANC        MI   48480‐0485
MICHAEL ROSS          558 MIDDLE RD                                                                               HIGHLAND           MI   48357‐3545
MICHAEL ROSS          3763 CHURCH ST                                                                              SAGINAW            MI   48604‐1732
MICHAEL ROSS          13732 MAIN ST                                                                               BATH               MI   48808‐9701
MICHAEL ROSS          176 CEDAR TRACE DR                                                                          HARTSELLE          AL   35640‐4976
MICHAEL ROSS          3376 WOODRIDGE DR                                                                           FLUSHING           MI   48433‐1791
MICHAEL ROSS          2012 E BUTLER ST                                                                            MUNCIE             IN   47303‐3215
MICHAEL ROSS          4851 GANDY BLVD                  B15‐28                                                     TAMPA              FL   33611
MICHAEL ROSS          24770 CLARK RD                                                                              NEW BOSTON         MI   48164‐9608
MICHAEL ROSS          53290 MARIAN DR                                                                             SHELBY TOWNSHIP    MI   48315‐1908
MICHAEL ROSSBACH      1138 PRINCETON AVE                                                                          ROCHESTER HILLS    MI   48307‐3134
MICHAEL ROSSIGNOL     1170 KNOLLWOOD DR                                                                           SAINT HELEN        MI   48656‐9534
MICHAEL ROST          8715 DUNMORE LN                                                                             FORT WAYNE         IN   46804‐3433
MICHAEL ROTH          4048 RAINBOW VIEW DR                                                                        INDIANAPOLIS       IN   46221‐2954
MICHAEL ROTH          5979 N 7 MILE RD                                                                            PINCONNING         MI   48650‐8917
MICHAEL ROTH          2728 ROCKHILL                                                                               ZANESVILLE         IN   46799
MICHAEL ROTH          1787 MESA VERDE #140                                                                        VENTURA            CA   93003
MICHAEL ROTHMAN       10 ANTOINE COURT                                                                            HUNTINGTON         NY   11743
MICHAEL ROUMAYA       4584 WALDEN DR                                                                              BLOOMFIELD HILLS   MI   48301‐1149
MICHAEL ROURK         6635 WOODMERE DR                                                                            CANTON             MI   48187‐1669
MICHAEL ROUSH         343 S HAGUE AVE                                                                             COLUMBUS           OH   43204‐3005
MICHAEL ROUSSEAU      2166 HAGADORN RD                                                                            MASON              MI   48854‐9414
MICHAEL ROUTHIER      6771 NASH RD                                                                                N TONAWANDA        NY   14120‐1231
MICHAEL ROVANSEK      6530 DEERVIEW CRES                                                    WINDSOR ON N9J0A2
                                                                                            CANADA
MICHAEL ROVINSKI      30250 FOREST DR                                                                             FRANKLIN           MI   48025‐1584
MICHAEL ROWE          450 TANGLEWOOD DR                                                                           DAYTON             OH   45440‐3346
MICHAEL ROWE          3821 ALTHORP DR W                                                                           WILSON             NC   27893‐9222
MICHAEL ROWELL        249 N GARFIELD RD                                                                           LINWOOD            MI   48634‐9818
MICHAEL ROWLETTE      19204 E 28TH ST S                                                                           INDEPENDENCE       MO   64057‐1415
MICHAEL ROWLEY        PO BOX 225                       9463 ROUND LK RD                                           LAINGSBURG         MI   48848‐0225
MICHAEL ROYER         533 HAMPTON LAKE DR                                                                         ESSEXVILLE         MI   48732‐8612
MICHAEL ROZBORIL      4050 E LAKE RD                                                                              CLIO               MI   48420‐9121
MICHAEL ROZZI         5 WEDGEWOOD DR                                                                              ROCHESTER          NY   14624‐2815
MICHAEL RUBBO         275 W DAVISBURG RD                                                                          HOLLY              MI   48442‐8660
MICHAEL RUBIN         PO BOX 228                                                                                  PARADISE           MI   49768‐0228
MICHAEL RUBY          10400 OAKHURST RD                                                                           HOLLY              MI   48442‐8662
MICHAEL RUCKER        5109 THEODORE ST                                                                            MAPLE HEIGHTS      OH   44137‐1329
MICHAEL RUDD          5848 W US HIGHWAY 22 3                                                                      WILMINGTON         OH   45177‐7634
MICHAEL RUDDICK       4436 T U AVE                                                                                VICKSBURG          MI   49097
MICHAEL RUDDY         15630 BUECHE RD                                                                             CHESANING          MI   48616‐9769
MICHAEL RUHL          2894 MARATHON RD                                                                            COLUMBIAVILLE      MI   48421‐8901
MICHAEL RULONG        3219 N 52ND ST                                                                              KANSAS CITY        KS   66104‐1624
MICHAEL RUMLEY        6 KENTWOOD DR                                                                               GREENCASTLE        IN   46135‐2400
MICHAEL RUNGE         HAUPTSTRASSE 58                  APPEN
MICHAEL RUNGE         HAUPTSTRASSE 58                                                       25482 APPEN GERMANY
MICHAEL RUNNELS       2434 SHAMROCK DR                                                                            SAN PABLO          CA 94806‐1540
MICHAEL RUNYAN        4352 WHITE BIRCH DR                                                                         GRAND BLANC        MI 48439‐8681
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Name                            Address1                              Address2                         Address3               Address4         City              State Zip
MICHAEL RUNYON                  10180 MCCRONE RD                                                                                               MILAN              MI 48160‐9801
MICHAEL RUPERT                  PO BOX 1705                                                                                                    FRAMINGHAM         MA 01701‐1705
MICHAEL RUPINO                  261 WALL ST                                                                                                    METUCHEN           NJ 08840‐2945
MICHAEL RUPP                    10401 E MILLER RD                                                                                              DURAND             MI 48429‐9423
MICHAEL RUSAW                   1612 STATE HIGHWAY 420                                                                                         NORFOLK            NY 13667‐3250
MICHAEL RUSCZYK                 1623 HAWLEY AVE                                                                                                SYRACUSE           NY 13206‐3540
MICHAEL RUSH                    6171 BERT KOUNS INDUSTRIAL LOOP APT                                                                            SHREVEPORT         LA 71129‐5071
                                K207
MICHAEL RUSH                    7492 THORNSBY CT                                                                                               LAS VEGAS         NV   89120‐3126
MICHAEL RUSSELL                 2709 TROPICBIRD DR                                                                                             NORTH LAS VEGAS   NV   89084‐2233
MICHAEL RUSSELL                 31755 WIXSON DR                                                                                                WARREN            MI   48092‐1420
MICHAEL RUSSELL                 843 S MOORE SCHOOL RD                                                                                          TROY              MO   63379‐3842
MICHAEL RUSSELL                 9110 BUCK POINT RD                                                                                             LOWVILLE          NY   13367‐2324
MICHAEL RUSSO                   3652 CLAREY DR SW                                                                                              GRANDVILLE        MI   49418‐8389
MICHAEL RUSSO                   10409 SLOUGH RD                                                                                                DEFIANCE          OH   43512‐9760
MICHAEL RUSSO                   4619 MT READ BLVD                                                                                              ROCHESTER         NY   14616‐1123
MICHAEL RUTH                    10166 HACKBERRY RD                                                                                             SULLIVAN          MO   63080‐6422
MICHAEL RUTKOWSKI               6535 SUNSET ST                                                                                                 GARDEN CITY       MI   48135‐3443
MICHAEL RUTKOWSKI               48584 TILCH RD                                                                                                 MACOMB            MI   48044‐1998
MICHAEL RUTLEDGE                5420 N CENTER RD                                                                                               FLINT             MI   48506‐1046
MICHAEL RYAN                    7 COOMBS STREET                                                                                                SOUTHBRIDGE       MA   01550
MICHAEL RYAN                    159 E ORVIS ST                                                                                                 MASSENA           NY   13662‐2257
MICHAEL RYAN                    PO BOX 929                                                                                                     DEFIANCE          OH   43512‐0929
MICHAEL RYAN                    502 S MAIN ST                                                                                                  CORNERSVILLE      TN   37047‐4403
MICHAEL RYAN                    7912 COVE TRACE CT                                                                                             INDIANAPOLIS      IN   46256
MICHAEL RYAN                    3910 W BENNINGTON RD                                                                                           OWOSSO            MI   48867‐9295
MICHAEL RYAN                    65 FARNESE CT                                                                                                  LEBANON           OH   45036‐9023
MICHAEL RYAN                    PO BOX 733                                                                                                     ROOSEVELTOWN      NV   13683‐0733
MICHAEL RYBICKI                 11974 SHARON LEE DR                                                                                            WASHINGTON        MI   48095‐1435
MICHAEL RYDER                   220 LARCH LN                                                                                                   MILTON            WI   53563‐1433
MICHAEL RYGWELSKI               879 CASS AVENUE RD                                                                                             BAY CITY          MI   48708‐9143
MICHAEL RYLL                    PO BOX 411                                                                                                     BAY CITY          MI   48707‐0411
MICHAEL RYNCA                   11511 E POTTER RD                                                                                              DAVISON           MI   48423‐8158
MICHAEL RYS JR.                 24108 COLONIAL DR                                                                                              WOODHAVEN         MI   48183‐3725
MICHAEL RYSKEWICZ               1727 W ALEXIS RD APT 29                                                                                        TOLEDO            OH   43613
MICHAEL RYTLEWSKI               1920 CASS AVENUE RD                                                                                            BAY CITY          MI   48708‐9192
MICHAEL RZEMISKI                C/O BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS        OH   44236
MICHAEL S AND GLENNA M KELLEY   ATTN JAMES F BOLLINGER                C/O MCKENNA & ASSOCIATES, P.C.   436 BOULEVARD OF THE                    PITTSBURGH        PA   15219
                                                                                                       ALLIES ‐ SUITE 500
MICHAEL S ANDERSON              9166 MCWAIN RD                                                                                                 GRAND BLANC       MI   48439‐8005
MICHAEL S BARGER                71 TWIN LAKES DR                                                                                               FRANKLIN          OH   45005‐4500
MICHAEL S BEAM                  120 PEPPERWOOD PL                                                                                              UNION             OH   45322
MICHAEL S BIDDIS                3367 N GENESEE RD                                                                                              FLINT             MI   48506‐2105
MICHAEL S BLACKBURN             1300 OBIE ST                                                                                                   DAYTON            OH   45432‐1525
MICHAEL S BLICHA                5737 BROAD ST                                                                                                  SOUTH PARK        PA   15129
MICHAEL S BOWNS                 3460 E CARPENTER RD                                                                                            FLINT             MI   48506‐1036
MICHAEL S BRANHAM               1449 GASCHO DR                                                                                                 DAYTON            OH   45410‐3304
MICHAEL S BREWER                126 MONTGOMERY AVE                                                                                             FRANKLIN          OH   45005
MICHAEL S BROWN                 1066 HALE AVE                                                                                                  DAYTON            OH   45419
MICHAEL S BURTON                4427 NATIONAL RD                                                                                               CLAYTON           OH   45315
MICHAEL S BURTON                1093 E CORNELL AVE                                                                                             FLINT             MI   48505‐1628
MICHAEL S BYERLY                1033 WENG AVE                                                                                                  DAYTON            OH   45420
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Name                     Address1                        Address2                     Address3   Address4         City              State Zip
MICHAEL S CAMPBELL       452 FAIRMOUNT AVE NE                                                                     WARREN             OH 44483‐5223
MICHAEL S CAMPBELL       8373 GALE RD                                                                             OTISVILLE          MI 48463‐8405
MICHAEL S CARTER         3775 S 11 MILE RD                                                                        BRECKENRIDGE       MI 48615‐9654
MICHAEL S CAYEA          102 MOHAWK DR                                                                            SYRACUSE           NY 13211‐1832
MICHAEL S CISNEROZ       13626 DRONFIELD AVE                                                                      SYLMAR             CA 91342‐1428
MICHAEL S COFFMAN        77 APPIAN WAY RD                                                                         WILMINGTON         OH 45177
MICHAEL S COFFMAN        2050 OLD FALLS DR                                                                        VANDALIA           OH 45377‐3207
MICHAEL S DAVIS          270 W FUNDERBURG RD                                                                      FAIRBORN           OH 45324
MICHAEL S DEUTSCH        9 WOODSIDE DR                                                                            STRATHAM           NH 03885
MICHAEL S DISHMAN        4710 BONITA DR                                                                           MIDDLETOWN         OH 45044‐6824
MICHAEL S DIX            1570 SUNDALE                                                                             DAYTON             OH 45406‐3647
MICHAEL S DUFFIELD       P O BOX 954                                                                              TROY               OH 45373
MICHAEL S EKE            220 HICKORY LN                  APT 103                                                  WESTLAND           MI 48185‐3428
MICHAEL S ESTES          114 W 4TH ST                                                                             TILTON              IL 61833‐7419
MICHAEL S FLEMING        287 E MAIN ST                                                                            E. KEANSBURG       NJ 07734‐2030
MICHAEL S GORMAN         210 CRAWFORD ROAD                                                                        NEW LEBANON        OH 45345‐9283
MICHAEL S GORSKI         10707 ANDREWS AVE                                                                        ALLEN PARK         MI 48101‐1101
MICHAEL S GRABOWSKI      2177 HORTON WAY                                                                          LEWISBURG          TN 37091‐6575
MICHAEL S GRANT          2001 PARADISE DR                                                                         LEWISBURG          TN 37091‐4533
MICHAEL S HAMMOND        1670 TYLER RD                                                                            YPSILANTI          MI 48198‐6152
MICHAEL S HARTRUM        113 HALEY WALK                                                                           BRISTOL            TN 37620
MICHAEL S HAY            8006 HETZLER RD                                                                          GERMANTOWN         OH 45327
MICHAEL S HEID           PO BOX 6010                                                                              DAYTON             OH 45405‐1010
MICHAEL S HETTLER        1495 S WALDRON RD                                                                        CRYSTAL            MI 48818‐9748
MICHAEL S HOLBROOK       1298 CEDARCLIFF DR                                                                       BEAVERCREEK        OH 45434‐6737
MICHAEL S HUFF           1570 BAYBERRY DR                                                                         GREENFIELD         IN 46140
MICHAEL S HUGHES         2643 PENTLEY PLACE                                                                       KETTERING          OH 45429‐3740
MICHAEL S HYDER          3377 N GENESEE RD                                                                        FLINT              MI 48506‐2163
MICHAEL S JOHNSON        2624 ONEIDA DR                                                                           DAYTON             OH 45414‐5125
MICHAEL S JOHNSON        6 HARPER PKWY                                                                            AVON               NY 14414
MICHAEL S KNEPPER        4062 EVERETT HULL RD.                                                                    CORTLAND           OH 44410
MICHAEL S LATARTE        3140 CHURCH ST                                                                           SAGINAW            MI 48604‐2204
MICHAEL S LEIGH          923 SHARON DR                                                                            LEBANON            OH 45036‐‐ 14
MICHAEL S LING           1819 27 TH AVENUE                                                                        BRADENTON          FL 34208‐7621
MICHAEL S LIPPA          72 WHEATFIELD DR                                                                         ROCHESTER          NY 14616‐1010
MICHAEL S MCCOY          294 N UNION RD                                                                           DAYTON             OH 45427‐1511
MICHAEL S MCKENNA        86 PAT CIRCLE                                                                            HOLCOMB            NY 14469‐9551
MICHAEL S MCMANUS        215 COLONY BLVD                                                                          GEORGETOWN         KY 40324
MICHAEL S MILLER         7875 SHADOW CREEK DR UNIT 113                                                            HAMILTON           OH 45011‐5323
MICHAEL S MITCHELL       1556 STOCKTON AVE                                                                        KETTERING          OH 45409
MICHAEL S MORRELLA       455 N COMMERCE ST                                                                        LEWISBURG          OH 45338
MICHAEL S PAVLAKOS       483 S MIAMI AVE                                                                          XENIA              OH 45385
MICHAEL S PHILLIPS       5 SAVAGE RD                                                                              KENDALL PARK       NJ 08824‐1207
MICHAEL S READING        1189 KNOWLING LOOP RD.                                                                   TALBOTT            TN 37877
MICHAEL S REYNOLDS       612 S WILLOW ST                                                                          MANSFIELD          TX 76063‐2418
MICHAEL S RILEY          1809 FERNBROOK LN                                                                        FLORISSANT         MO 63031‐3305
MICHAEL S ROGERS         1048 E PEARL ST                                                                          MIAMISBURG         OH 45342‐2520
MICHAEL S SACKOS         PO BOX 2525                                                                              RUSSELL SPRINGS    KY 42642‐2525
MICHAEL S SALMONS        1592 N DETROIT ST                                                                        XENIA              OH 45385‐1220
MICHAEL S SHINGLEDECKE   282 OREGON ST                                                                            YPSILANTI          MI 48198‐6034
MICHAEL S SHULIMSON      610 CAMERON‐BROWN BUILDING      301 SOUTH MC DOWELL STREET                               CHARLOTTE          NC 28204
MICHAEL S SORRENTINO     1593 LONG POND ROAD                                                                      ROCHESTER          NY 14626‐4122
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Name                             Address1                              Address2                       Address3                  Address4         City              State Zip
MICHAEL S STOVICH                2663 LA RINCONADA PLACE                                                                                         REDDING            CA 96002‐3708
MICHAEL S SUMMERS                7 WOODLAND AVE                                                                                                  DAYTON             OH 45409‐2853
MICHAEL S SZLAPAK                4101 BAYVIEW RD                                                                                                 BLASDELL           NY 14219‐2705
MICHAEL S SZUBA                  40600 ANN ARBOR RD E STE 200                                                                                    PLYMOUTH           MI 48170‐4675
MICHAEL S TAYLOR                 3727 FULLER AVE                                                                                                 KANSAS CITY        MO 64129‐1807
MICHAEL S THOMPSON               10431 LAMPSON                                                                                                   GARDEN GROVE       CA 92840‐4901
MICHAEL S THUMA                  4515 REAN MEADOW DRIVE                                                                                          KETTERING          OH 45440‐1921
MICHAEL S TORRES                 3985 BRANDYCHASE WAY #33                                                                                        CINCINNATI         OH 45245
MICHAEL S TRUSTY                 465 STILLPASS WAY                                                                                               MONROE             OH 45050
MICHAEL S VADAS                  66 WESTMINSTER AVE                                                                                              YOUNGSTOWN         OH 44515‐2918
MICHAEL S VELASQUEZ              11201 HERRICK AVE                                                                                               PACOIMA            CA 91331‐1922
MICHAEL S VIOLETTE               205 CAMPUS LAKES CT                                                                                             BEL AIR            MD 21015‐1724
MICHAEL S WELLS                  PO BOX 4044                                                                                                     YOUNGSTOWN         OH 44515‐0044
MICHAEL S WERBLAN                9628 CAIN DR NE                                                                                                 WARREN             OH 44484
MICHAEL S WHEATLEY               241 GENEVA RD                                                                                                   DAYTON             OH 45417‐1437
MICHAEL S WHIPP                  367A FRANKLIN ROAD                                                                                              WAYNESVILLE        OH 45068
MICHAEL S WHITE                  4898 MAYCREST DR                                                                                                WATERFORD          MI 48328‐1021
MICHAEL S WILLIAMS               162 FAIRVIEW DR.                                                                                                CARLISLE           OH 45005‐3054
MICHAEL S. ABBEY
MICHAEL S. HOLMES, P.C.          ATTY FOR OAKS L‐M, INC. DBA WESTPOINT ATT: MICHAEL S. HOLMES, ESQ.   8100 WASHINGTON AVENUE,                    HOUSTON            TX   77007
                                                                                                      SUITE 120
MICHAEL S. O'CONNOR              MICHAEL S. O'CONNOR                   69 NORTH TURNPIKE ROAD                                                    WALLINGFORD       CT    06492
MICHAEL S. STRADER               560 W FULTON ST APT 206                                                                                         CHICAGO           IL    60661‐‐ 11
MICHAEL S. TRAN                  1036 MONTCLAIR ROAD                                                                                             BIRMINGHAM        AL    98055
MICHAEL SAARELA                  4210 200TH ST E                                                                                                 PRIOR LAKE        MN    55372‐8873
MICHAEL SABADA                   94 DUNLAP CIR                                                                                                   OXFORD            MI    48371‐5210
MICHAEL SABO                     819 FAIRVIEW ST                                                                                                 LAKE ORION        MI    48362‐2335
MICHAEL SABOL                    20 BUFFALO ST                                                                                                   CLARKSTON         MI    48346‐2100
MICHAEL SADLER                   15522 KNOBHILL DR                                                                                               LINDEN            MI    48451‐8716
MICHAEL SADLER                   6128 LOCUST TRL                                                                                                 GRAND BLANC       MI    48439‐9034
MICHAEL SADLER                   22109 FRANCIS ST                                                                                                ST CLAIR SHRS     MI    48082‐1929
MICHAEL SADLER                   574 OVERVIEW LN                                                                                                 FRANKLIN          TN    37064‐5558
MICHAEL SAFFRON                  11413 CINDER RD                                                                                                 BEULAH            MI    49617‐9739
MICHAEL SAGER                    2549 BULLOCK RD                                                                                                 BAY CITY          MI    48708‐8485
MICHAEL SAGER                    120 EXCALIBUR BLVD                                                                                              TROY              MO    63379‐2542
MICHAEL SAINT DENIS LAW OFFICE   1845 SOUTH ELENA AVENUE FLOOR 4                                                                                 REDONDO BEACH     CA    90277
MICHAEL SAKALA                   81 RONALD AVE S                                                                                                 BAYVILLE          NJ    08721‐1402
MICHAEL SALAMON                  668 ARDELLA RD                                                                                                  CUYAHOGA FLS      OH    44223‐2722
MICHAEL SALAY                    1560 W PLACITA SIN PARADA                                                                                       SAHUARITA         AZ    85629‐9243
MICHAEL SALAZAR                  6441 COOPER RD                                                                                                  LANSING           MI    48911‐5558
MICHAEL SALCIDO                  202 BROOKHAVEN ST SOUTHWEST                                                                                     DECATUR           AL    35601‐4128
MICHAEL SALEM                    42001 HARBORTOWNE DR                                                                                            SAGINAW           MI    48603‐1374
MICHAEL SALERNO                  2513 DOUBLE BRANCH RD                                                                                           COLUMBIA          TN    38401‐6167
MICHAEL SALERNO                  151 FEDERAL ROAD                                                                                                MONROE TOWNSHIP   NJ    08831‐8016
MICHAEL SALICA                   133 SO COLLIER BLVD #505                                                                                        MARCO ISLAND      FL    34145‐4355
MICHAEL SALINAS                  3767 SKYVIEW DR                                                                                                 JANESVILLE        WI    53546‐2024
MICHAEL SALISBURY                3090 METAMORA RD                                                                                                OXFORD            MI    48371‐1611
MICHAEL SALITSKY                 1160 UPPER MOUNTAIN RD                                                                                          LEWISTON          NY    14092‐2208
MICHAEL SALMONS                  1592 N DETROIT ST                                                                                               XENIA             OH    45385‐1220
MICHAEL SAMBORSKI                610 RED MAPLE DR                                                                                                TECUMSEH          MI    49286‐1085
MICHAEL SAMDAL                   4598 MAIN ST                                                                                                    MILLINGTON        MI    48746‐9603
MICHAEL SAMLASKA                 14423 MANCHESTER DR                                                                                             NAPLES            FL    34114‐8630
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Name                    Address1                       Address2                Address3     Address4         City                  State Zip
MICHAEL SAMOLIS         300 1/2 PLYMOUTH AVE                                                                 SYRACUSE               NY 13211‐1537
MICHAEL SAMP            1105 GLENDALE ST                                                                     BURTON                 MI 48509‐1937
MICHAEL SAMPSON         43145 GOLDBERG DR                                                                    STERLING HTS           MI 48313‐1860
MICHAEL SAMS            1111 BEAR CREEK PIKE                                                                 COLUMBIA               TN 38401‐6732
MICHAEL SAMSONOW        45800 W ANN ARBOR TRL                                                                PLYMOUTH               MI 48170‐3532
MICHAEL SAMUELS         PO BOX 97                      190 W. WAYNE ST.                                      LAKETON                IN 46943‐0097
MICHAEL SAMYN           224 RIDGEMONT RD                                                                     GROSSE POINTE FARMS    MI 48236‐3044
MICHAEL SANBORN         14265 WASHBURN BOX 258                                                               OTTER LAKE             MI 48464
MICHAEL SANCHEZ         13748 COUNTY ROAD C                                                                  BRYAN                  OH 43506‐8755
MICHAEL SANDERS         1317 ROSE BOWER AVE                                                                  KETTERING              OH 45429‐5123
MICHAEL SANDERS         4703 PALMER ST                                                                       LANSING                MI 48910‐6228
MICHAEL SANDERS         1844 BLUEHILL DR NE                                                                  GRAND RAPIDS           MI 49525‐1153
MICHAEL SANDERS         3654 MARION COUNTY 8004                                                              YELLVILLE              AR 72687‐9835
MICHAEL SANDERS         14800 S SADDLETREE LN                                                                OLATHE                 KS 66062‐4719
MICHAEL SANDERS         2757 OWENS DR UNIT 3‐14                                                              HOUGHTON LAKE          MI 48629‐9046
MICHAEL SANDERS
MICHAEL SANDOR          673 CHURCHILL RD                                                                     GIRARD                OH   44420‐2006
MICHAEL SANDOVAL        10792 BRAUN RD                                                                       MANCHESTER            MI   48158‐9568
MICHAEL SANDS           14153 TUSCOLA RD                                                                     CLIO                  MI   48420‐8848
MICHAEL SANFILIPPO      145 IDLEWILD LN                                                                      ABERDEEN              NJ   07747‐1535
MICHAEL SANFORD         5617 FARLEY RD                                                                       CLARKSTON             MI   48346‐1740
MICHAEL SANGSTER        318 CROOKED OAK CT                                                                   FRANKLIN              TN   37067‐4046
MICHAEL SANH HUU TRAN   1036 MONTCLAIR RD                                                                    BIRMINGHAM            AL   35213
MICHAEL SANKO           6127 GLENRIDGE RD                                                                    YOUNGSTOWN            OH   44512‐3112
MICHAEL SANOCKI         30748 MOULIN AVE                                                                     WARREN                MI   48088‐6832
MICHAEL SANT ANGELO     5652 LINCOLN BLVD                                                                    DEARBORN HTS          MI   48125‐2402
MICHAEL SANTO           1963 OLD FARM TRL                                                                    YOUNGSTOWN            OH   44515‐5624
MICHAEL SANTOS          619 BLOOMINGDALE AVE                                                                 KENILWORTH            NJ   07033‐1905
MICHAEL SANTURE         2919 COUSINO RD                                                                      ERIE                  MI   48133‐9714
MICHAEL SANZONI         26601 COOLIDGE HWY             C/O GUARDIAN CARE INC                                 OAK PARK              MI   48237‐1135
MICHAEL SAPUTO          11696 DEACON DR                                                                      ROCKTON               IL   61072‐9436
MICHAEL SARAFINSKI      53130 VILLA ROSA DR                                                                  MACOMB                MI   48042‐5747
MICHAEL SARGINSON       3913 HERRICK ST                                                                      FLINT                 MI   48532‐5282
MICHAEL SARNA           6585 PARKVIEW DR                                                                     TROY                  MI   48098‐2243
MICHAEL SARRA           6505 JEFFERS RD                                                                      SWANTON               OH   43558‐9140
MICHAEL SARTAIN         7422 NW LOCUST DR                                                                    PARKVILLE             MO   64152‐1910
MICHAEL SARWAS          6940 OAK HILL RD                                                                     CLARKSTON             MI   48348‐1204
MICHAEL SASSANO         436 HAZEL ST                                                                         GIRARD                OH   44420‐2217
MICHAEL SASSEEN         156 PLEASANT ST                                                                      ROMEO                 MI   48065‐5141
MICHAEL SASSIAN         7 MARICREST DR                                                                       AMHERST               NY   14228‐3042
MICHAEL SATER           2105 MOONLIGHT DR                                                                    HAMPSTEAD             MD   21074‐2544
MICHAEL SATTERWHITE     20476 ANDERSON MILL RD                                                               BEAVERDAM             VA   23015‐2022
MICHAEL SAUNDERS        2020 WINDSOR DR                                                                      COLUMBIA              TN   38401‐4953
MICHAEL SAUNDERS        5497 BANGOR AVE                                                                      FLUSHING              MI   48433‐9000
MICHAEL SAVAGE          7240 LAKE DR                                                                         FORT MYERS            FL   33908‐4118
MICHAEL SAVAGE          18309 W 13 MILE RD             APT 23                                                SOUTHFIELD            MI   48076‐1145
MICHAEL SAVAGE          11580 OLD DAYTON RD                                                                  BROOKVILLE            OH   45309‐9383
MICHAEL SAVARD          426 FRANCONIAN DR E                                                                  FRANKENMUTH           MI   48734‐1002
MICHAEL SAVICH          3874 POTATO FARM RD                                                                  CROSSVILLE            TN   38571‐0790
MICHAEL SAVOCCHIO       16545 DAWN DR                                                                        CLINTON TOWNSHIP      MI   48038‐1941
MICHAEL SAVOIE          7105 BLACKBERRY CREEK DRIVE                                                          BURTON                MI   48519
MICHAEL SAVOIE          12230 MANTAWAUKA DR                                                                  FENTON                MI   48430‐8849
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Name                  Address1                              Address2                     Address3      Address4                City               State Zip
MICHAEL SAWAYDA       5118 KUSZMAUL AVE NW                                                                                     WARREN              OH 44483‐1257
MICHAEL SAWDY         7278 COLBY LAKE RD                                                                                       LAINGSBURG          MI 48848‐8770
MICHAEL SAWYER        3126 BERT KOUNS INDUSTRIAL LOOP APT                                                                      SHREVEPORT          LA 71118‐2968
                      276
MICHAEL SAXON         5043 WILLEO ESTATES DR                                                                                   MARIETTA           GA   30068‐1678
MICHAEL SAYEN         177 BEN LACY DR                                                                                          GUN BARREL CITY    TX   75156‐5909
MICHAEL SAYEN         765 W REDBUD DR                                                                                          HURST              TX   76053‐6477
MICHAEL SAYLOR        1‐15523‐4‐1                                                                                              METAMORA           OH   43540
MICHAEL SAYNE         101 W. C.R. 775 S.                                                                                       OAKVILLE           IN   47367
MICHAEL SBROCCA       4815 MANSVILLE AVE                                                                                       ROYAL OAK          MI   48073
MICHAEL SCAFE         515 FRANKLIN LAKE CIR                                                                                    OXFORD             MI   48371‐6706
MICHAEL SCALA         1430 EASTLAND AVE SE                                                                                     WARREN             OH   44484‐4548
MICHAEL SCALES        48533 CELEBRITY WOODS CT                                                                                 SHELBY TOWNSHIP    MI   48317‐2609
MICHAEL SCALZI        948 ARMILLARIA ST                                                                                        HENDERSON          NV   89011‐3029
MICHAEL SCARANGELLA   13924 BROUGHAM DR                                                                                        STERLING HTS       MI   48312‐4302
MICHAEL SCARBECZ      4628 SUNSET DR                                                                                           LOCKPORT           NY   14094‐1232
MICHAEL SCARBER       11932 CHAMPAIGN AVE                                                                                      WARREN             MI   48089‐4605
MICHAEL SCARLATELLI   780 BROOKWOOD CT                                                                                         ROCHESTER HILLS    MI   48309‐1550
MICHAEL SCARTH        4041 GREATUS DR                                                                                          HAMILTON           OH   45011‐8105
MICHAEL SCAVNICKY     BEVAN & ASSOCIATES, LPA, INC          6555 DEAN MEMORIAL PARKWAY                                         BOSTON HTS         OH   44236
MICHAEL SCHABEL       853 WOODLAWN DR                                                                                          COLUMBIAVILLE      MI   48421‐9737
MICHAEL SCHAEFER      11200 BIRCH RUN RD                                                                                       BIRCH RUN          MI   48415‐9480
MICHAEL SCHAFER       8405 MISTY MDWS                                                                                          GRAND BLANC        MI   48439‐7428
MICHAEL SCHAFFRANEK   8251 STATE ROUTE 61                                                                                      GALION             OH   44833‐9030
MICHAEL SCHAFFRATH    41650 RIVEROAKS DR                                                                                       PLYMOUTH           MI   48170‐4324
MICHAEL SCHAFRAN      1832 PELICAN CT                                                                                          TROY               MI   48084‐1432
MICHAEL SCHAFSNITZ    2346 E DODGE RD                                                                                          CLIO               MI   48420‐9783
MICHAEL SCHALK        18814 STATE ROUTE 111                                                                                    DEFIANCE           OH   43512‐8341
MICHAEL SCHANICK      387 WILSON AVE                                                                                           MOUNT MORRIS       MI   48458‐1443
MICHAEL SCHARL        2541 RED FOX TR                                                                                          TROY               MI   48098
MICHAEL SCHARRER      12452 CANADA RD                                                                                          BIRCH RUN          MI   48415‐9726
MICHAEL SCHARRER      28484 THORNY BRAE RD                                                                                     FARMINGTON HILLS   MI   48331‐3347
MICHAEL SCHELL        4355 LAPEER RD                                                                                           BURTON             MI   48509‐1805
MICHAEL SCHELL        1886 S RIVERSIDE DR                                                                                      AU GRES            MI   48703‐9796
MICHAEL SCHELOSKE     55414 BOARDWALK DR                                                                                       SHELBY TOWNSHIP    MI   48316‐1129
MICHAEL SCHEMENAUR    98 N DELEWARE LN                                                                                         SOMERSET           IN   46984
MICHAEL SCHICK        429 E PEASE AVE                                                                                          WEST CARROLLTON    OH   45449‐1373
MICHAEL SCHIEL        4170 COMMERCE DRIVE                                                                                      FLUSHING           MI   48433
MICHAEL SCHILD        8429 S SHERIDAN AVE                                                                                      DURAND             MI   48429‐9309
MICHAEL SCHIPP        1533 THORN RIDGE DR                                                                                      HOWELL             MI   48843‐8011
MICHAEL SCHIRMER      2736 STONEWALL STA                                                                                       SAINT CHARLES      MO   63303‐6180
MICHAEL SCHIRMER      GOETHESTR 4                                                                      D53913 SWISTTAL
                                                                                                       GERMANY
MICHAEL SCHLACTER     1128 GLENDALE LN                                                                                         NASHVILLE          TN   37204‐4113
MICHAEL SCHLITER      4325 ISLAND PARK DR                                                                                      WATERFORD          MI   48329‐1918
MICHAEL SCHLITZ       LAW OFFICES OF PETER G. ANGELOS       100 NORTH CHARLES STREET     22ND STREET                           BALTIMORE          MD   21201
MICHAEL SCHLITZ       THE LAW OFFICES OF PETER G ANGELOS    100 NORTH CHARLES            22ND FLOOR                            BALTIMORE          MD   21201

MICHAEL SCHLOEGL      9280 MARINUS DR                                                                                          FENTON             MI   48430‐8703
MICHAEL SCHMELTZER    2086 WALNUT RD                                                                                           AUBURN HILLS       MI   48326‐2548
MICHAEL SCHMIDT       4306 E M H TOWNLINE RD                                                                                   MILTON             WI   53563‐9405
MICHAEL SCHMIDT       2493 OAK RD                                                                                              PINCONNING         MI   48650‐9747
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Name                     Address1                         Address2             Address3        Address4                City             State Zip
MICHAEL SCHMIDT          3469 MILLSHAFT CT SE                                                                          CALEDONIA         MI 49316‐9165
MICHAEL SCHMIDT          1807 S WILLARD AVE                                                                            JANESVILLE        WI 53546‐5949
MICHAEL SCHMIDT          2216 BOWMAN RD                                                                                FRANKLIN          TN 37064‐4916
MICHAEL SCHMIDT          3838 W VINCENT DR                                                                             SPRINGFIELD       MO 65810‐1061
MICHAEL SCHMIEDEKNECHT   5816 EDGEWATER TER                                                                            SEBRING           FL 33876‐6448
MICHAEL SCHMITT          2101 LAMBROS DR                                                                               MIDLAND           MI 48642‐4037
MICHAEL SCHMITZ          31114 ROTHBURY WAY                                                                            CHESTERFIELD      MI 48047‐5929
MICHAEL SCHMITZ          W291N3617 PRAIRIESIDE CT                                                                      PEWAUKEE          WI 53072‐3170
MICHAEL SCHMITZ          11515 CADMUS RD                                                                               CLAYTON           MI 49235‐9735
MICHAEL SCHNEIDER        216 W KENNETT RD                                                                              PONTIAC           MI 48340‐2652
MICHAEL SCHNEIDER        835 PORTAGE EASTERLY RD                                                                       CORTLAND          OH 44410‐9558
MICHAEL SCHNELL          4337 MACKINAW RD                                                                              SAGINAW           MI 48603‐3111
MICHAEL SCHNELLER        7831 MULGRAVE DR                                                                              SAGINAW           MI 48609‐9545
MICHAEL SCHOEN           11365 W FREELAND RD                                                                           FREELAND          MI 48623‐9501
MICHAEL SCHOEN           4792 SYLVESTER AVE                                                                            WATERFORD         MI 48329‐1847
MICHAEL SCHOENEWEISS     132 SPARROW DR                                                                                WEST HENRIETTA    NY 14586‐9307
MICHAEL SCHOENFELDER     PERSHING LLC AS CUSTODIAN        1110 CLINTON ST #7                                           HOBOKEN           NJ 07030‐3275
MICHAEL SCHOENLEBER      3812 KIRKWOOD HIGHWAY                                                                         WILMINGTON        DE 19808
MICHAEL SCHOMER          5001 E MAIN ST LOT 1038                                                                       MESA              AZ 85205‐1327
MICHAEL SCHRADER         814 CUTTING HORSE DR                                                                          MANSFIELD         TX 76063‐2453
MICHAEL SCHRADER         4904 SYCAMORE RUN DRIVE                                                                       LAGRANGE          KY 40031
MICHAEL SCHRADER         17068 MAYFIELD DR                                                                             MACOMB            MI 48042‐3537
MICHAEL SCHREINER        1696 CLARK RD                                                                                 PRESCOTT          MI 48756‐9505
MICHAEL SCHREMS          8650 EDERER RD                                                                                SAGINAW           MI 48609‐9506
MICHAEL SCHRODER         9814 FOREST HIGHWAY 13                                                                        RAPID RIVER       MI 49878‐9495
MICHAEL SCHROEDER        AM PUTZBERG 21                   D‐37079 GOETTINGEN
MICHAEL SCHROEDER        PO BOX 41                                                                                     STOCKBRIDGE      MI   49285‐0041
MICHAEL SCHROEDER        6462 FOX HILLS RD                                                                             CANTON           MI   48187‐2459
MICHAEL SCHROER          946 PTARMIGAN TRL                                                                             BRUNSWICK        OH   44212‐2288
MICHAEL SCHRUBBE         406 WESTMORELAND AVE                                                                          LANSING          MI   48915‐1833
MICHAEL SCHUCHASKIE      6174 LOUNSBURY RD                                                                             WILLIAMSTON      MI   48895‐9619
MICHAEL SCHUCK           2934 ALEXANDRIA PIKE                                                                          ANDERSON         IN   46012‐9206
MICHAEL SCHUITEMA        4101 E 82ND ST                                                                                NEWAYGO          MI   49337‐9636
MICHAEL SCHULTE          248 BANKS RIDGE RD                                                                            TAZEWELL         VA   24651‐8480
MICHAEL SCHULTZ          506 CAROM CIR                                                                                 MASON            MI   48854‐9373
MICHAEL SCHULTZ          9910 NORMAN ST                                                                                LIVONIA          MI   48150‐2436
MICHAEL SCHULTZ          855 LEDDY RD                                                                                  SAGINAW          MI   48609‐9425
MICHAEL SCHULTZ          4531 ALURA PL                                                                                 SAGINAW          MI   48604‐1031
MICHAEL SCHULTZ          5840 LAWNDALE ST                                                                              NORTH BRANCH     MI   48461‐9600
MICHAEL SCHULTZ          1207 MCKINLEY ST                                                                              BAY CITY         MI   48708‐6654
MICHAEL SCHULTZ          C/O EHELEUTE SCHULTZ             JAEGERHEIDE 23                       29352 ADELHEIDSDORF
                                                                                               GERMANY
MICHAEL SCHULZ           8092 DUNGARVIN DR                                                                             GRAND BLANC      MI 48439‐8164
MICHAEL SCHULZ           3243 MOBLEY RIDGE RD                                                                          DUCK RIVER       TN 38454‐3455
MICHAEL SCHULZE          HAYDNSTR 20                                                           70195 STUTTGART
                                                                                               GERMANY
MICHAEL SCHUMAKER        392 W HARWOOD AVE                                                                             MADISON HTS      MI   48071‐3938
MICHAEL SCHUSTER         429 ARMY RD                                                                                   LEONARD          MI   48367‐2908
MICHAEL SCHWAB           146 VANDERBILT RD                                                                             LEXINGTON        OH   44904‐9586
MICHAEL SCHWAB           4603 GREGORY GERARD DR                                                                        SAINT CHARLES    MO   63304‐3432
MICHAEL SCHWAB           610 LYNDHURST DR                                                                              JANESVILLE       WI   53546‐2131
MICHAEL SCHWARTZ         5331 GREENVIEW DR                                                                             CLARKSTON        MI   48348‐3718
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Name                      Address1                       Address2                     Address3       Address4               City              State Zip
MICHAEL SCHWARTZ          15081 MONTVIEW BLVD                                                                               AURORA             CO 80011
MICHAEL SCHWEIGER         5302 MADISON ST                                                                                   DEARBORN HTS       MI 48125‐2362
MICHAEL SCHWEITZER        8283 ELLIS RD                                                                                     CLARKSTON          MI 48348‐2609
MICHAEL SCHWERIN          5100 MARILYN DR                                                                                   FLINT              MI 48506‐1579
MICHAEL SCHWERTNER        4408 CUTHBERTSON ST                                                                               FLINT              MI 48507‐2514
MICHAEL SCHWIND           2526 N PETERSON DR                                                                                SANFORD            MI 48657‐9499
MICHAEL SCIBIORSKI        712 CUMBERLAND DR                                                                                 EATON RAPIDS       MI 48827‐1613
MICHAEL SCIGEL            2240 W SNOVER RD                                                                                  MAYVILLE           MI 48744‐9773
MICHAEL SCINTA            4109 ALLENDALE PKWY LEFT                                                                          BLASDELL           NY 14219
MICHAEL SCINTA            4109 R ALLENDALE PARKWAY                                                                          BLASDELL           NY 14219
MICHAEL SCLESKY           2007 MURRAY ST                                                                                    GRAND BLANC        MI 48439‐9389
MICHAEL SCOBEY            6203 KING ARTHUR DR                                                                               SWARTZ CREEK       MI 48473‐8808
MICHAEL SCODOVA           461 MIDLAND DR                                                                                    MANSFIELD          OH 44903‐1915
MICHAEL SCOLA             8258 LINDAMAR LN                                                                                  SHELBY TWP         MI 48316‐1059
MICHAEL SCOPEL            1230 PARK RD                                                                                      CRESTLINE          OH 44827‐1018
MICHAEL SCOTT             713 HOOKERS MILL RD                                                                               ABINGDON           MD 21009‐1146
MICHAEL SCOTT             PO BOX 20700                                                                                      INDIANAPOLIS       IN 46220‐0700
MICHAEL SCOTT             3827 MAIN ST                                                                                      ANDERSON           IN 46013‐4719
MICHAEL SCOTT             5940 64TH AVE                                                                                     HUDSONVILLE        MI 49426‐9515
MICHAEL SCOTT             3902 SPRINGER AVE                                                                                 ROYAL OAK          MI 48073‐6412
MICHAEL SCOTT             C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                                         HOUSTON            TX 77007
                          BOUNDAS, LLP
MICHAEL SCOTT & COMPANY   13264 STAGG HILL DR                                                                               CARMEL            IN   46033‐9135
MICHAEL SCOTT ABBOTT      NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPT           205 LINDA DR                          DAINGERFIELD      TX   75638
MICHAEL SCUTCHFIELD       1320 REDLEAF LN                                                                                   YPSILANTI         MI   48198‐3167
MICHAEL SEABROOK          1504 OYSTER LN                                                                                    HOLLY             MI   48442‐8363
MICHAEL SEALIE            28213 PARKWOOD ST                                                                                 INKSTER           MI   48141‐1749
MICHAEL SEALY             PO BOX 32                                                                                         VERMONTVILLE      MI   49096‐0032
MICHAEL SEAR FREEDLEY     7715 N CALLE CABALLEROS                                                                           PARADISE VALLEY   AZ   85253
MICHAEL SEARCY            7505 E 52ND TER                                                                                   KANSAS CITY       MO   64129‐2338
MICHAEL SEARL             6319 MONROE CT                                                                                    BELLEVILLE        MI   48111‐4207
MICHAEL SEARS             460 OAK ST                                                                                        MOUNT MORRIS      MI   48458‐1931
MICHAEL SEARS             PO BOX 356                                                                                        WILLIAMSTON       MI   48895‐0356
MICHAEL SEASE             232 TIFFIN ST                                                                                     GREENVILLE        OH   45331‐1882
MICHAEL SEATON            198 CLIFFORD ST                                                                                   PONTIAC           MI   48342‐3319
MICHAEL SEAY              PO BOX 137183                                                                                     FORT WORTH        TX   76136‐1183
MICHAEL SEAY              5218 FOREST GATE CT                                                                               GRAND BLANC       MI   48439‐3426
MICHAEL SEBASTO           76A STENTON CT                 LALOR GARDENS APT.                                                 TRENTON           NJ   08610‐6550
MICHAEL SEBERT            7215 MOUNT JULIET DR                                                                              DAVISON           MI   48423‐2361
MICHAEL SECICH            413 RUTHIE LN                                                                                     PORT ARANSAS      TX   78373‐5181
MICHAEL SEDORE            13351 N WHEATON RD                                                                                GRAND LEDGE       MI   48837‐9712
MICHAEL SEEBER            PO BOX 38                                                                                         NORFOLK           NY   13667‐0038
MICHAEL SEEBERG           604 E LIGHT ST                                                                                    URBANA            OH   43078‐1230
MICHAEL SEELER            27907 187TH ST                                                                                    LEAVENWORTH       KS   66048‐7637
MICHAEL SEELY             6055 PONTIAC LAKE RD                                                                              WATERFORD         MI   48327‐1848
MICHAEL SEELY             49265 MONTE RD                                                                                    CHESTERFIELD      MI   48047‐4869
MICHAEL SEFCIK            1209 RIPLEY RD                                                                                    LINDEN            MI   48451‐9467
MICHAEL SEGER             5868 POWDERHORN CT SW                                                                             WYOMING           MI   49418‐9340
MICHAEL SEGONA            34800 WILLOW RD                                                                                   NEW BOSTON        MI   48164‐9395
MICHAEL SEGUIN            5718 N BERRY ST                                                                                   WESTLAND          MI   48185‐2237
MICHAEL SEIBERT           201 BANBURY RD                                                                                    CENTERVILLE       OH   45459‐1705
MICHAEL SEIDLER           ZUR ALTEN SCHMIEDE 5                                                       50354 HUERTH GERMANY
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Name                   Address1                      Address2            Address3         Address4         City               State Zip
MICHAEL SEIGO          4029 CANEY CREEK LN                                                                 CHAPEL HILL         TN 37034‐2076
MICHAEL SEILER         194 DRAKES CREEK DR                                                                 BOWLING GREEN       KY 42103‐9004
MICHAEL SEILER         PO BOX 181                                                                          CADDO               TX 76429‐0181
MICHAEL SEILER         5103 OLD BROCK RD                                                                   WEATHERFORD         TX 76087‐6638
MICHAEL SEITER         11242 HEGEL RD                                                                      GOODRICH            MI 48438‐9719
MICHAEL SEIVERT        114 TREMBLE AVE                                                                     CAMPBELL            OH 44405‐1632
MICHAEL SEKELSKY       3205 BRANDON ST                                                                     FLINT               MI 48503‐6603
MICHAEL SEKMISTRZ      5672 SUTTERS LN                                                                     BLOOMFIELD          MI 48301‐1056
MICHAEL SELDEN         PO BOX 1966                                                                         YUCCA VALLEY        CA 92286
MICHAEL SELDON         31325 MOUND RD                                                                      WARREN              MI 48092
MICHAEL SELMON         5949 HOOVER AVE                                                                     DAYTON              OH 45417‐8318
MICHAEL SELONKE        341 KINMORE CT                                                                      DEARBORN HEIGHTS    MI 48125‐1068
MICHAEL SELVY          10790 RENO RD                                                                       OSKALOOSA           KS 66066‐4036
MICHAEL SEMARK         5098 SCHOOL ST                                                                      SWARTZ CREEK        MI 48473‐1264
MICHAEL SEMCHEE        3835 NEW RD                                                                         AUSTINTOWN          OH 44515‐4625
MICHAEL SEMCHENA       38912 WOODMONT DR                                                                   STERLING HTS        MI 48310‐3237
MICHAEL SENYSZYN       15700 E 13 MILE RD                                                                  ROSEVILLE           MI 48066‐1470
MICHAEL SERAMONE       33 SUMAC CT                                                                         NEWARK              DE 19702‐2885
MICHAEL SERATT         138 MCMILLAN ST                                                                     GRAND LEDGE         MI 48837‐1122
MICHAEL SERFOZO        44314 STANG RD                                                                      ELYRIA              OH 44035‐1938
MICHAEL SERMO          1890 ROSEMONT RD                                                                    BERKLEY             MI 48072‐1846
MICHAEL SERNIUK        818 WOLVERINE DR                                                                    WOLVERINE LAKE      MI 48390‐2377
MICHAEL SERRANO        2930 NO 75 TERRACE                                                                  KANSAS CITY         KS 66109
MICHAEL SEVENSKI       4011 W KALAMO HWY                                                                   CHARLOTTE           MI 48813‐9539
MICHAEL SEVERT         4840 W STATE ROUTE 571                                                              WEST MILTON         OH 45383‐9781
MICHAEL SEWELL         4703 ROCKVALLEY DR NE                                                               GRAND RAPIDS        MI 49525‐1378
MICHAEL SEWELL         2418 CUMBERLAND ST                                                                  SAGINAW             MI 48601‐4218
MICHAEL SEXTON         5431 S GLASTONBERRY RD                                                              TOLEDO              OH 43613‐2318
MICHAEL SEXTON         8060 ELLIS CREEK DR                                                                 CLARKSTON           MI 48348‐2616
MICHAEL SEYFRIED       1554 ROBERTS RD                                                                     FRANKLIN            IN 46131‐1139
MICHAEL SFERRA         317 ROOSEVELT ST NW                                                                 WARREN              OH 44483
MICHAEL SGROI          1236 HIGHLAND CIRCLE DR                                                             WENTZVILLE          MO 63385‐5540
MICHAEL SHADRICK       1345 TURNPIKE RD                                                                    SUMMERTOWN          TN 38483‐7255
MICHAEL SHAEFFER       1362 OAKROCK LN                                                                     ROCHESTER HILLS     MI 48309‐1727
MICHAEL SHAFFER        33065 SPRING GARDEN DRIVE                                                           GLADE SPRING        VA 24340
MICHAEL SHAFFER        PO BOX 272                                                                          SCHOOLCRAFT         MI 49087‐0272
MICHAEL SHAFFER        205 KETTENRING DR                                                                   DEFIANCE            OH 43512‐1751
MICHAEL SHAFFER        14544 TURNER RD                                                                     DEWITT              MI 48820‐9025
MICHAEL SHAFFER        8525 EMERALD LN                                                                     ALMONT              MI 48003‐8127
MICHAEL SHAKER         68 VANDERBURGH AVE                                                                  RUTHERFORD          NJ 07070‐1040
MICHAEL SHAKER         6075 KING ARTHUR DR                                                                 SWARTZ CREEK        MI 48473‐8808
MICHAEL SHAKO          9151 W GREENWAY RD UNIT 274                                                         PEORIA              AZ 85381‐3616
MICHAEL SHALTIS        230 TINA MARIE LN                                                                   SMYRNA              DE 19977‐9677
MICHAEL SHAMHART       52 EAGLE POINT DR                                                                   NEWTON FALLS        OH 44444‐1289
MICHAEL SHAMP          426 WHITE OAK TRL                                                                   SPRING HILL         TN 37174‐7539
MICHAEL SHANAHAN       2580 HORSESHOE TRL                                                                  HASTINGS            MI 49058‐8265
MICHAEL SHANE WOOLEY   148 OLDS LANE                                                                       MONROE              LA 71203‐9788
MICHAEL SHANK          24337 HANOVER ST                                                                    DEARBORN HEIGHTS    MI 48125‐2043
MICHAEL SHANKS         650 W HAWTHORNE DR                                                                  ORLEANS             IN 47452‐9790
MICHAEL SHANNON        2308 MARCH DR                                                                       SPRING HILL         TN 37174‐7510
MICHAEL SHAR           7356 FRAMPTON DR                                                                    WASHINGTON          MI 48095‐1276
MICHAEL SHARO JR       109 BENJAMIN ST                                                                     CRANFORD            NJ 07016‐2623
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Name                    Address1                         Address2                Address3    Address4         City            State Zip
MICHAEL SHARON          9822 WOODRING ST                                                                      LIVONIA          MI 48150‐5701
MICHAEL SHARP           5665 DOUGLAS RD                                                                       TOLEDO           OH 43613‐2057
MICHAEL SHARP           1428 PAR CT                                                                           LINDEN           MI 48451‐9403
MICHAEL SHARP           205 N ROSEWOOD                                                                        JACKSON          MI 49201‐8460
MICHAEL SHARP           1406 W 1ST ST                                                                         MARION           IN 46952‐3565
MICHAEL SHARP           901 HARRISON ST                                                                       FRANKTON         IN 46044
MICHAEL SHARPE          27 MAC ARTHUR RD                                                                      ROCHESTER        NY 14615‐2015
MICHAEL SHATTO          APT A5                           3355 WEST ALEXIS ROAD                                TOLEDO           OH 43623‐1434
MICHAEL SHATTO          6560 E LAS ANIMAS TRL                                                                 GOLD CANYON      AZ 85218‐1810
MICHAEL SHAUGHNESSY     2354 LOEFFLER RD                                                                      CHELSEA          MI 48118‐9216
MICHAEL SHAVER          1940 LAKEVILLE ROAD NORTH                                                             OXFORD           MI 48371
MICHAEL SHAW            1042 S SMITH RD                                                                       EATON RAPIDS     MI 48827‐9358
MICHAEL SHAW            5048 PALOMAR DR                                                                       FLINT            MI 48507‐4534
MICHAEL SHAW            3004 LAREDO DR                                                                        FORT WORTH       TX 76116‐3320
MICHAEL SHAW            1013A HAWTHORNE ST                                                                    DESLOGE          MO 63601
MICHAEL SHAWL           3 FOREST LODGE RD                                                                     KINCHELOE        MI 49788‐1406
MICHAEL SHAY            310 N FITCH ST                                                                        DURAND           MI 48429‐1370
MICHAEL SHAYDIK         1742 E KING ST                                                                        CORUNNA          MI 48817‐1558
MICHAEL SHAYDIK JR      487 MIDDLETON RD                                                                      OWOSSO           MI 48867‐9483
MICHAEL SHAYNA          12258 LAPEER RD                                                                       DAVISON          MI 48423‐8174
MICHAEL SHEA            1630 BIRCH ST                                                                         SCRANTON         PA 18505‐2716
MICHAEL SHEA            9474 PERE MARQUETTE DR                                                                GRAND BLANC      MI 48439‐8387
MICHAEL SHEA            3516 N CRYSTAL SPRINGS RD                                                             JANESVILLE       WI 53545‐9545
MICHAEL SHEARER         11601 W LAKE STANLEY DRAPER DR                                                        OKLAHOMA CITY    OK 73165‐9301
MICHAEL SHEARER         617 OLDEFIELD COMMONS DR                                                              GREENWOOD        IN 46142‐2200
MICHAEL SHEEHAN         35‐1203 RIVER DRIVE SOUTH                                                             JERSEY CITY      NJ 07310
MICHAEL SHEEHY          32100 MARBLEHEAD RD                                                                   FARMINGTON       MI 48336‐2450
MICHAEL SHEETER         8675 FOUR MILE RD                                                                     JACKSON          OH 45640‐9075
MICHAEL SHEETS          427 WINDY BLF                                                                         FLUSHING         MI 48433‐2613
MICHAEL SHEETS          8747 SURREY DR                                                                        PENDLETON        IN 46064‐9050
MICHAEL SHEETS          9730 S STATE ROAD 109                                                                 MARKLEVILLE      IN 46056‐9740
MICHAEL SHEFFER         PO BOX 300392                                                                         DRAYTON PLNS     MI 48330‐0392
MICHAEL SHEFTICK        1564 VALLEY VIEW AVE                                                                  NORCO            CA 92860‐2924
MICHAEL SHEINERMAN
MICHAEL SHELDON         242 E WARDLOW RD                                                                      HIGHLAND        MI   48356‐2531
MICHAEL SHELLENBERGER   11428 COUNTY ROAD D                                                                   BRYAN           OH   43506‐9549
MICHAEL SHELTON         2014 JANICE DR                                                                        FLINT           MI   48504‐1663
MICHAEL SHELTON         11404 BRECKENRIDGE DR                                                                 DAVISON         MI   48423‐9335
MICHAEL SHELTON         5701 SOUTHWARD AVE                                                                    WATERFORD       MI   48329‐1566
MICHAEL SHELTON         16533 GRAYVILLE DR                                                                    LA MIRADA       CA   90638‐2721
MICHAEL SHENBERGER      1160 WANDA ST                                                                         WALLED LAKE     MI   48390‐2569
MICHAEL SHEPARD         9123 APPLE ORCHARD DR                                                                 FENTON          MI   48430‐8912
MICHAEL SHEPARD         1800 S TRIPLE X RD                                                                    CHOCTAW         OK   73020‐6474
MICHAEL SHEPARD         8230 ROGUE RDG NE                                                                     ROCKFORD        MI   49341‐9151
MICHAEL SHEPARD         8219 NICHOLS RD                                                                       GAINES          MI   48436‐9705
MICHAEL SHEPHERD        3619 MILLSBORO RD W                                                                   MANSFIELD       OH   44903‐8647
MICHAEL SHEPHERD        15226 E SHOREWAY DR                                                                   CARMEL          IN   46032‐1071
MICHAEL SHEPLER         8901 SENEY DR                                                                         DIMONDALE       MI   48821‐9633
MICHAEL SHERIDAN        1032 NANTUCKET DR                                                                     JANESVILLE      WI   53546‐1762
MICHAEL SHERIDAN        31224 BRETZ DR                                                                        WARREN          MI   48093‐1672
MICHAEL SHERIDAN        10 BLUFFWOOD CT                                                                       SAINT CHARLES   MO   63301‐0379
MICHAEL SHERK           935 CAMPBELL GATE RD                                                                  LAWRENCEVILLE   GA   30045‐2313
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Name                   Address1                          Address2         Address3         Address4         City              State Zip
MICHAEL SHERMAN        3344 LEVERENZ DR                                                                     SAINT CHARLES      MO 63301‐0542
MICHAEL SHERMAN        115 ARIELLE DR                                                                       NEWARK             DE 19702‐2678
MICHAEL SHERMAN        5405 LAMTON RD                                                                       CASS CITY          MI 48726‐8909
MICHAEL SHERMAN        10284 N BRAY RD                                                                      CLIO               MI 48420‐9774
MICHAEL SHEROSKI       1510 BRIDLE LN                                                                       CHAPEL HILL        TN 37034‐4006
MICHAEL SHEWALTER      10 MEMORY LN                                                                         BLUFFTON           IN 46714‐1508
MICHAEL SHIELDS        332 N HAYES RD                                                                       LAPEER             MI 48446‐2832
MICHAEL SHIELDS        1474 S GENESEE RD                                                                    BURTON             MI 48509‐1825
MICHAEL SHIELDS        236 S OAKDALE AVE                                                                    HERMITAGE          PA 16148‐1829
MICHAEL SHIEVER        16750 AUBURN RD                                                                      CHAGRIN FALLS      OH 44023‐2508
MICHAEL SHIGLEY        1271 LILY CT                                                                         MARCO ISLAND       FL 34145‐5012
MICHAEL SHILAKES       9112 CHAMBORD DR                                                                     YPSILANTI          MI 48197‐9281
MICHAEL SHILLING       1330 PINCH HWY                                                                       CHARLOTTE          MI 48813‐9719
MICHAEL SHIPLEY        2841 CLEARVIEW DR                                                                    LEXINGTON          OH 44904‐8630
MICHAEL SHIRLEY        400 COWN RD                                                                          TEMPLE             GA 30179‐4020
MICHAEL SHIRLEY        356 SHORELINE DR                                                                     AZLE               TX 76020‐4038
MICHAEL SHIVOK         414 NORTH WEST KNIGHTS AVE #712                                                      LAKE CITY          FL 32055
MICHAEL SHLIAPIN       1615 E 4TH ST                                                                        ROYAL OAK          MI 48067‐2967
MICHAEL SHOCK          5244 N CENTER RD                                                                     FLINT              MI 48506‐1031
MICHAEL SHOCKEY        12459 FRUIT RIDGE RD                                                                 DEFIANCE           OH 43512‐9097
MICHAEL SHOECRAFT      11294 OAK RD                                                                         OTISVILLE          MI 48463‐9724
MICHAEL SHOEMAKER      11709 BRENFORD CREST DR                                                              RIVERVIEW          FL 33579‐4040
MICHAEL SHOFFNER       1480 BIG CREEK RD                                                                    RAYMOND            MS 39154‐9668
MICHAEL SHOOKS         401 KEARSLEY CT                                                                      ORTONVILLE         MI 48462
MICHAEL SHORE          PO BOX 99                                                                            ALLENTON           MI 48002‐0099
MICHAEL SHORE          20860 SWITZER RD                                                                     BUCYRUS            KS 66013‐9676
MICHAEL SHOTTS         3943 RIDGE AVE                                                                       DAYTON             OH 45414‐5327
MICHAEL SHOULTS        205 N LINE ST APT 1                                                                  SOUTH WHITLEY      IN 46787‐1268
MICHAEL SHULL          3597 W CHAPEL HILL RD                                                                DECATUR            AL 35603‐4079
MICHAEL SHUMWAY        1196 E CLINTON TRL                                                                   CHARLOTTE          MI 48813‐9387
MICHAEL SHUPE          508 S BRYAR ST                                                                       WESTLAND           MI 48186‐3833
MICHAEL SHUTAK         21 COURTLAND CIR                                                                     BEAR               DE 19701‐1211
MICHAEL SHUTES         320 KEEGAN ST                                                                        TILTON              IL 61833‐8025
MICHAEL SHUTTLEWORTH   10585 KING RD                                                                        DAVISBURG          MI 48350‐1905
MICHAEL SICZAK         716 SHENANDOAH DR                                                                    COLUMBIA           TN 38401‐6120
MICHAEL SIDEL          8380 ROUND LAKE RD                                                                   LAINGSBURG         MI 48848‐9480
MICHAEL SIECINSKI      13422 COLLINS SCHOOL RD                                                              FELTON             PA 17322‐8169
MICHAEL SIEFKER        9649 RD 10‐I                                                                         OTTAWA             OH 45875
MICHAEL SIEGEL         1250 S. GROVE STREET                                                                 BARRINGTON          IL 60010
MICHAEL SIEGRIST       254 ROSE BRIER DR                                                                    ROCHESTER HILLS    MI 48309‐1125
MICHAEL SIELOFF        4635 18TH ST                                                                         WYANDOTTE          MI 48192‐6926
MICHAEL SIENKIEWICZ    4352 OLD SAND RD                                                                     CASEVILLE          MI 48725‐9682
MICHAEL SIENKIEWICZ    4977 WAVEWOOD DR                                                                     COMMERCE TWP       MI 48382‐1364
MICHAEL SIGELKO        832 DAKOTA                                                                           ROCHESTER HILLS    MI 48307‐2877
MICHAEL SIKORSKI       2344 WEST ENGEL ROAD                                                                 WEST BRANCH        MI 48661‐9225
MICHAEL SILAMIANOS     13981 HARRINGTON #62                                                                 WARREN             MI 48088
MICHAEL SILENO         756 AVENUE E                                                                         BAYONNE            NJ 07002‐4042
MICHAEL SILFAN         223 AVENUE B                                                                         BAYONNE            NJ 07002‐3105
MICHAEL SILPOCH        G6438 LAURA LANE                                                                     FLINT              MI 48507
MICHAEL SILSBEE        4885 S M66 HWY                                                                       NASHVILLE          MI 49073
MICHAEL SILSBY         795 E HIGH ST APT 2                                                                  LOCKPORT           NY 14094‐4726
MICHAEL SIMEISTER      44 FRANKLIN AVE                                                                      LOCKPORT           NY 14094‐3920
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Name                  Address1                         Address2                     Address3   Address4         City              State Zip
MICHAEL SIMEK         5400 WILMINGTON CT                                                                        RENO               NV 89511‐4587
MICHAEL SIMIK         1753 N VAN DYKE RD                                                                        IMLAY CITY         MI 48444‐9480
MICHAEL SIMINARI      1113 S DUPONT HWY                                                                         NEW CASTLE         DE 19720‐5203
MICHAEL SIMMONS       1392 HILLCREST DR                                                                         LAKE               MI 48632‐9021
MICHAEL SIMMONS       135 TUCKAHOE CIR                                                                          GADSDEN            AL 35904‐3044
MICHAEL SIMMONS       2928 DUNSTAN DR NW                                                                        WARREN             OH 44485‐1512
MICHAEL SIMMONS       137 W GRAND                                                                               HIGHLAND PARK      MI 48203‐3644
MICHAEL SIMMONS       3800 FOX HOLLOW DR                                                                        BEDFORD            TX 76021‐2111
MICHAEL SIMMONS       25956 WOODBINE DR                                                                         INKSTER            MI 48141‐1917
MICHAEL SIMON         6822 LOOKOUT LN                                                                           LANSING            MI 48917‐7853
MICHAEL SIMON         7 N CREEK RD                                                                              SMITHVILLE         MO 64089‐8573
MICHAEL SIMON         292 ARTHUR ST                                                                             PLYMOUTH           MI 48170‐1121
MICHAEL SIMON         8975 GOODWIN RD                                                                           LYONS              MI 48851‐9673
MICHAEL SIMON         355 S HADLEY RD                                                                           ORTONVILLE         MI 48462‐8661
MICHAEL SIMON         21162 ROAD C20                                                                            CONTINENTAL        OH 45831‐9243
MICHAEL SIMON         46618 FOXTAIL CT                                                                          MACOMB             MI 48044‐3467
MICHAEL SIMON         6050 URBAN DR                                                                             EAST CHINA         MI 48054‐4744
MICHAEL SIMPKINS      3086 GREENWOOD DR R                                                                       ROCHESTER HILLS    MI 48309
MICHAEL SIMPKINS      2336 HARLAN RD                                                                            COLUMBIA           TN 38401‐7301
MICHAEL SIMPSON       1575 BOULDER LAKE DR                                                                      MILFORD            MI 48380‐3243
MICHAEL SIMPSON       24440 CHERNICK ST                                                                         TAYLOR             MI 48180‐2112
MICHAEL SIMPSON       3600 BAL HARBOR BLVD APT 2J                                                               PUNTA GORDA        FL 33950‐8243
MICHAEL SIMPSON       1180 WASHINGTON TWIN RD                                                                   EATON              OH 45320‐1304
MICHAEL SIMPSON       C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
MICHAEL SIMPSON       1180 WASHINGTON TWIN RD                                                                   EATON              OH 45320‐1304
MICHAEL SIMPSON JR.   7028 CLEON DR                                                                             SWARTZ CREEK       MI 48473‐9407
MICHAEL SIMS          3000 FORD RD APT K14                                                                      BRISTOL            PA 19007‐1453
MICHAEL SINAY JR      2946 IROQUOIS DR                                                                          OREGON             OH 43616‐2240
MICHAEL SINCLAIR      LOT 39                           4115 AURORA ROAD                                         MELBOURNE          FL 32934‐7170
MICHAEL SINCLAIR      5330 W MICHIGAN AVE APT 201                                                               LANSING            MI 48917‐3320
MICHAEL SINDEL        162 CLEVELAND AVE                                                                         DEFIANCE           OH 43512‐3402
MICHAEL SINE          710 W FITZGERALD ST                                                                       DURAND             MI 48429‐1520
MICHAEL SINGER        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
MICHAEL SINGLETON     8023 KINGSTON BLVD                                                                        DAVISON            MI 48423
MICHAEL SINGLETON     122 CRESTWOOD DR                                                                          MURFREESBORO       TN 37128‐4501
MICHAEL SINGLETON     84 LESTER AVE APT 1125                                                                    NASHVILLE          TN 37210‐4286
MICHAEL SINGLETON     503 CHEAIRS CIR                                                                           COLUMBIA           TN 38401‐2206
MICHAEL SINIARD       163 BEEGEE MCREE ROAD                                                                     GOODSPRING         TN 38460
MICHAEL SINKS         19531 SYCAMORE ST                                                                         MOKENA              IL 60448‐9326
MICHAEL SINNOTT       106 BOSTON HILLS ESTATES DR                                                               HAMBURG            NY 14075‐7330
MICHAEL SINSKO        2306 SE CALCUTTA CIR                                                                      PORT ST LUCIE      FL 34952‐6510
MICHAEL SIOP          47315 ROLAND ST                                                                           SHELBY TOWNSHIP    MI 48317‐2975
MICHAEL SIRCOVITCH    270 BOULEVARD                                                                             KENILWORTH         NJ 07033‐1534
MICHAEL SIRENE        3702 OSBORN DR                                                                            SANDUSKY           OH 44870‐7145
MICHAEL SIRLET        306 HUNT CLUB DR                                                                          GRAND BLANC        MI 48439‐7061
MICHAEL SISKA         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
MICHAEL SIVNKSTY JR   RR 8 BOX 341                                                                              FAIRMONT           WV 26554‐8839
MICHAEL SIZICK JR     4572 SANDS PARK DR NE                                                                     KALKASKA           MI 49646‐8707
MICHAEL SKAGGS        6501 N M‐33                                                                               CHEBOYGAN          MI 49721
MICHAEL SKAGGS        188 APOLLO CIRCLE                                                                         FLUSHING           MI 48433‐9323
MICHAEL SKANK         9900 HART LAKE RD                                                                         OTTER LAKE         MI 48464‐9408
MICHAEL SKEBO         9901 CHEROKEE LN                                                                          SPOTSYLVANIA       VA 22553‐3734
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Name                 Address1                        Address2            Address3         Address4         City               State Zip
MICHAEL SKEBO        1365 BRANTFORD DR                                                                     YOUNGSTOWN          OH 44509‐1902
MICHAEL SKELLY       2108 GRANGER RD                                                                       ORTONVILLE          MI 48462‐9201
MICHAEL SKELTON      40900 BEMIS RD                                                                        BELLEVILLE          MI 48111‐9159
MICHAEL SKERKAVICH   63 OLD RT 322                                                                         BROOKVILLE          PA 15825
MICHAEL SKIBA        PO BOX 413                                                                            BRIDGEPORT          MI 48722‐0413
MICHAEL SKORUPSKI    12167 ROCKFORD CT                                                                     NOBLESVILLE         IN 46060‐4155
MICHAEL SKOURI       2813 E WESTCHESTER RD                                                                 LANSING             MI 48911‐1038
MICHAEL SKOVRAN      30402 HARRISON ST                                                                     WILLOWICK           OH 44095‐4822
MICHAEL SKOVRAN      331 N STYGLER RD                                                                      GAHANNA             OH 43230‐2460
MICHAEL SKOWRONSKI   4123 MAPLE AVE                                                                        STICKNEY             IL 60402‐4240
MICHAEL SKRETNY      74 W CAVALIER DR                                                                      BUFFALO             NY 14227‐3526
MICHAEL SKROCKE      21860 PARKLANE ST                                                                     FARMINGTON HILLS    MI 48335‐4227
MICHAEL SLACK        38238 LYNDON ST                                                                       LIVONIA             MI 48154‐4964
MICHAEL SLAMMON      1802 BONITA BLUFF CT                                                                  RUSKIN              FL 33570‐3223
MICHAEL SLANCIK      400 W CLARA ST                                                                        LINWOOD             MI 48634‐9531
MICHAEL SLATER JR    620 WINDY MILL WAY                                                                    TEMPLE              GA 30179‐5405
MICHAEL SLATTERY     1509 CRESTBROOK LANE                                                                  FLINT               MI 48507‐2364
MICHAEL SLAVENS      17062 4TH ST 217                                                                      ARCADIA             MI 49613
MICHAEL SLAVIN       1354 E STATE ROAD 14                                                                  COLUMBIA CITY       IN 46725‐9205
MICHAEL SLAWIENSKI   42 NORTH LN                                                                           ORCHARD PARK        NY 14127‐3347
MICHAEL SLEE         6695 E MOUNT HOPE HWY                                                                 GRAND LEDGE         MI 48837‐9469
MICHAEL SLEESEMAN    602 S GOMAS CT                                                                        DURAND              MI 48429‐1723
MICHAEL SLOCUM       9520 W MOSS RD                                                                        FOWLER              MI 48835‐9798
MICHAEL SLOGOR       429 DUTCH MILL DR                                                                     FLUSHING            MI 48433‐2122
MICHAEL SLOPNICK     53 MORNING SONG LN                                                                    HUDSON              OH 44236‐4711
MICHAEL SLOVAK       766C MARLTON RD                                                                       MONROE TOWNSHIP     NJ 08831‐7259
MICHAEL SLOWEY       11129 N CHARLEY BLUFF RD                                                              MILTON              WI 53563‐8948
MICHAEL SMAGALA      415 CYPRESS WAY                                                                       BEAR                DE 19701‐5306
MICHAEL SMAIL        2514 IVANHOE DR                                                                       W BLOOMFIELD        MI 48324‐1739
MICHAEL SMALLEY      26635 CROCKER BLVD                                                                    HARRISON TWP        MI 48045‐2464
MICHAEL SMALLWOOD    7278 COLDWATER RD                                                                     FLUSHING            MI 48433‐9060
MICHAEL SMART        1900 E ROYERTON RD                                                                    MUNCIE              IN 47303‐9504
MICHAEL SMARTT       22341 GARFIELD ST                                                                     ST CLAIR SHRS       MI 48082‐1688
MICHAEL SMITH        8339 MAURICE DR                                                                       INDIANAPOLIS        IN 46234‐1737
MICHAEL SMITH        9100 N 000 RD                                                                         DECATUR             IN 46733‐9712
MICHAEL SMITH        PO BOX 254                                                                            NEW BAVARIA         OH 43548‐0254
MICHAEL SMITH        9455 SKY VISTA PKWY APT 22F                                                           RENO                NV 89506‐2049
MICHAEL SMITH        12746 SAN CLEMENTE DR                                                                 BRIDGETON           MO 63044‐3702
MICHAEL SMITH        20228 STOUT ST                                                                        DETROIT             MI 48219‐1456
MICHAEL SMITH        3094 N CANAL RD                                                                       DIMONDALE           MI 48821‐9714
MICHAEL SMITH        117 SCOTT DR                                                                          BRYAN               OH 43506‐8958
MICHAEL SMITH        837 LAIRD ST                                                                          LAKE ORION          MI 48362‐2038
MICHAEL SMITH        2222 MONTEITH ST                                                                      FLINT               MI 48504‐4656
MICHAEL SMITH        21627 SUNNYDALE ST                                                                    ST CLAIR SHRS       MI 48081‐2882
MICHAEL SMITH        8052 FENTON ST                                                                        DEARBORN HTS        MI 48127‐1770
MICHAEL SMITH        847 PLATEAU RD                                                                        ALBERTON            MT 59820‐9342
MICHAEL SMITH        2539 HENRY RD                                                                         LAPEER              MI 48446‐9037
MICHAEL SMITH        1566 WISMER ST                                                                        YPSILANTI           MI 48198‐6533
MICHAEL SMITH        35748 JOY RD                                                                          LIVONIA             MI 48150‐3563
MICHAEL SMITH        2576 PETERS ST                                                                        ORION               MI 48359‐1146
MICHAEL SMITH        12350 ODELL RD                                                                        LINDEN              MI 48451‐9489
MICHAEL SMITH        PO BOX 24                                                                             PEWAMO              MI 48873‐0024
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Name                Address1                            Address2                     Address3   Address4         City             State Zip
MICHAEL SMITH       4014 30TH ST                                                                                 DORR              MI 49323‐9717
MICHAEL SMITH       6727 ONEILL WAY                                                                              NORTH BRANCH      MI 48461‐9387
MICHAEL SMITH       6065 WENDT DR                                                                                FLINT             MI 48507‐3823
MICHAEL SMITH       11491 CASSEL RD                                                                              PORTLAND          MI 48875‐9741
MICHAEL SMITH       5744 3 MILE RD                                                                               BAY CITY          MI 48706‐9031
MICHAEL SMITH       2230 BERT RD                                                                                 HARRISON          MI 48625‐8602
MICHAEL SMITH       1023 MARCELLUS DR                                                                            VANDALIA          OH 45377‐1129
MICHAEL SMITH       3790 KINGSWOOD DR                                                                            KETTERING         OH 45429‐4320
MICHAEL SMITH       1385 JACKSON AVE                                                                             DEFIANCE          OH 43512‐3206
MICHAEL SMITH       7600 S PITTSFORD RD                                                                          PITTSFORD         MI 49271‐9735
MICHAEL SMITH       513 E ROLSTON RD                                                                             LINDEN            MI 48451‐9462
MICHAEL SMITH       579 TAWAS BEACH RD                                                                           EAST TAWAS        MI 48730‐9301
MICHAEL SMITH       5041 WAY ST                                                                                  BURTON            MI 48509‐1536
MICHAEL SMITH       10331 VIRIDIAN DR                                                                            PORT RICHEY       FL 34668‐3135
MICHAEL SMITH       3951 N HARDY LAKE RD                                                                         AUSTIN            IN 47102‐8321
MICHAEL SMITH       4590 WILSON RD                                                                               JAMESTOWN         OH 45335‐9574
MICHAEL SMITH       3730 OLD TROY PIKE                                                                           DAYTON            OH 45404‐1319
MICHAEL SMITH       200 PARK FOREST SOUTH DR                                                                     FRANKLIN          IN 46131‐9749
MICHAEL SMITH       7506 E 80TH ST                                                                               INDIANAPOLIS      IN 46256‐1648
MICHAEL SMITH       6832 MARMONT CT                                                                              INDIANAPOLIS      IN 46220‐4234
MICHAEL SMITH       3108 E IMPERIAL LN                                                                           MUNCIE            IN 47302‐7510
MICHAEL SMITH       155 BENHAM LN                                                                                SPRINGVILLE       IN 47462‐5005
MICHAEL SMITH       1175 STEPP RD                                                                                KINGSTON          OK 73439‐9220
MICHAEL SMITH       2486 ZION RD                                                                                 COLUMBIA          TN 38401‐6049
MICHAEL SMITH       262 BELMONT CT W                                                                             N TONAWANDA       NY 14120‐4862
MICHAEL SMITH       93 CARNEGIE AVE                                                                              AUSTINTOWN        OH 44515‐2902
MICHAEL SMITH       717 R ST                                                                                     BEDFORD           IN 47421‐2030
MICHAEL SMITH       1653 PINE TREE WAY W. DR. APT.                                                               GREENWOOD         IN 46143
MICHAEL SMITH       723 N POWELL RD                                                                              ESSEXVILLE        MI 48732‐1766
MICHAEL SMITH       4242 N HINMAN RD                                                                             PEWAMO            MI 48873‐9621
MICHAEL SMITH       8357 MILLER RD                                                                               SWARTZ CREEK      MI 48473‐1246
MICHAEL SMITH       105 GENERALS WAY CT                                                                          FRANKLIN          TN 37064‐4981
MICHAEL SMITH       6425 ALMOND LN                                                                               CLARKSTON         MI 48346‐2205
MICHAEL SMITH       4628 CHAPEL CREEK DR                                                                         PLANO             TX 75024‐6851
MICHAEL SMITH       1207 E COUNTY ROAD 200 N                                                                     DANVILLE          IN 46122‐7941
MICHAEL SMITH       BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS    OH 44236
MICHAEL SMITH       BOX 201                                                                                      DENNIS            MA 02638
MICHAEL SMITH       300 N 4TH ST APT 1701                                                                        SAINT LOUIS       MO 63102‐1963
MICHAEL SMITH       301 BELVEDERE AVE APT 13                                                                     CHARLEVOIX        MI 49720‐1446
MICHAEL SMITH
MICHAEL SMITH       416 MANDY LOOP                                                                               BROOKHAVEN       MS   39601
MICHAEL SMITH JR    6497 FRY RD                                                                                  BROOK PARK       OH   44142‐3631
MICHAEL SMITH JR.   2206 DUDLEY ST                                                                               BURTON           MI   48529‐2121
MICHAEL SMITHSON    130 S LAND LN                                                                                ANAHEIM          CA   92804‐2464
MICHAEL SMITHSON    2146 HUNTERS BLUFF CT                                                                        DAYTON           OH   45458‐9412
MICHAEL SMITLEY     3800 CARSON SALT SPRINGS RD APT B                                                            NEWTON FALLS     OH   44444‐8789
MICHAEL SMOLAK      2402 DAVIS PECK RD                                                                           CORTLAND         OH   44410‐9616
MICHAEL SMOOT       6551 W CHURCH ST                                                                             KNIGHTSTOWN      IN   46148‐9662
MICHAEL SMOTHERS    6254 DAVISON RD                                                                              BURTON           MI   48509‐1654
MICHAEL SMYTHE      6 CLARKSON AVE                                                                               MASSENA          NY   13662‐1757
MICHAEL SNABON      3613 FOX RUN DR                                                                              HAMBURG          NY   14075‐2215
MICHAEL SNEDEKER    582 BRICKYARD RD                                                                             DANVILLE         IL   61832‐7704
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Name                 Address1                          Address2          Address3         Address4         City             State Zip
MICHAEL SNELL        2373 COPAS RD                                                                         OWOSSO            MI 48867‐9036
MICHAEL SNELL        11229 WIRRA HILL                                                                      ROANOKE           IN 46783
MICHAEL SNELLING     8132 FRANKLIN TRENTON RD                                                              FRANKLIN          OH 45005‐3968
MICHAEL SNELLINGS    PO BOX 135                                                                            CHERRY LOG        GA 30522‐0135
MICHAEL SNIDER
MICHAEL SNIDER       PO BOX 24                                                                             SAINT CHARLES    MI   48655‐0024
MICHAEL SNIDER       12124 BIRD RD                                                                         GAINES           MI   48436‐9733
MICHAEL SNITZER      52 YOUNGS RD                                                                          WILLIAMSVILLE    NY   14221‐5804
MICHAEL SNOHA        5091 PANTHER DR                                                                       SPRING HILL      FL   34607‐2486
MICHAEL SNORDEN      1440 N CONCORD ST                                                                     INDIANAPOLIS     IN   46222‐3036
MICHAEL SNOVAK       1936 WAKEFIELD AVE                                                                    YOUNGSTOWN       OH   44514‐1063
MICHAEL SNOW         PO BOX 26                                                                             SHARPSVILLE      IN   46068‐0026
MICHAEL SNURR        3650 PANDORA DR                                                                       MOUNT PLEASANT   SC   29466‐9153
MICHAEL SNYDER       PO BOX 4783                                                                           AUSTINTOWN       OH   44515‐0783
MICHAEL SNYDER       235 VAN BUREN AVE                                                                     OREGON           OH   43605‐1925
MICHAEL SNYDER       5702 ANGOLA RD LOT 185                                                                TOLEDO           OH   43615‐6359
MICHAEL SNYDER       390 KELLOGG ST                                                                        NASHVILLE        MI   49073‐9689
MICHAEL SNYDER       207 N PRAIRIE LN                                                                      RAYMORE          MO   64083‐9643
MICHAEL SNYDER       47647 PINE CREEK COURT                                                                NORTHVILLE       MI   48168‐8527
MICHAEL SNYDER       140 NATTIX CT                                                                         CARLISLE         OH   45005‐6215
MICHAEL SOAVE        11346 HEMINGWAY                                                                       REDFORD          MI   48239‐2260
MICHAEL SOBOCINSKI   4629 WAH‐WAH‐SOO DR                                                                   GAYLORD          MI   49735
MICHAEL SOBOL        12841 BEARDSLEE RD                                                                    PERRY            MI   48871‐9147
MICHAEL SOBRAN       3509 PARK HILL DR                                                                     GREENSBORO       NC   27410‐8454
MICHAEL SOCIA        204 W SUMMIT ST                                                                       DURAND           MI   48429‐1275
MICHAEL SODERBERG    6002 S BELDING RD                                                                     JANESVILLE       WI   53546‐9570
MICHAEL SOICH        4540 E ENCINAS AVE                                                                    GILBERT          AZ   85234‐7473
MICHAEL SOLBERG      32210 AVONDALE ST                                                                     WESTLAND         MI   48186‐4904
MICHAEL SOLINSKI     12044 OAK ST                                                                          BIRCH RUN        MI   48415‐9241
MICHAEL SOLLOSI      909 FAWCETT AVE                                                                       MCKEESPORT       PA   15132‐1409
MICHAEL SOLOMON      1349 E TOBIAS RD                                                                      CLIO             MI   48420‐2141
MICHAEL SOLOMON      45652 BRISTOL CIR                                                                     NOVI             MI   48377‐3888
MICHAEL SOLOMON      WEITZ & LUXENBERG P C             700 BROADWAY                                        NEW YORK         NY   10003
MICHAEL SOLOMON      C/O WEITZ & LUXENBERG PC          700 BROADWAY                                        NEW YORK         NY   10003
MICHAEL SOLT         31615 WALTHAM DR                                                                      BEVERLY HILLS    MI   48025‐5120
MICHAEL SOMERO       118 HERITAGE PL                                                                       MOUNT JULIET     TN   37122‐4409
MICHAEL SOMMER       61025 EVERGREEN CT                                                                    SOUTH LYON       MI   48178‐1735
MICHAEL SOMMERS      23 S PALM ST                                                                          JANESVILLE       WI   53548‐3721
MICHAEL SONNEN       73 SUNSET DR                                                                          NIAGARA FALLS    NY   14304‐3717
MICHAEL SOO HOO      5211 S HOLT AVE                                                                       LOS ANGELES      CA   90056‐1119
MICHAEL SOPPI        5832 VANCOUVER CIR APT 3                                                              FORT MYERS       FL   33907‐5327
MICHAEL SORGELOOS    35724 KINCAID DR                                                                      CLINTON TWP      MI   48035‐2369
MICHAEL SOTOMAYOR    9090 PITMAN RD                                                                        YPSILANTI        MI   48197‐8909
MICHAEL SOTUS        PO BOX 694                                                                            GREENFIELD       IN   46140‐0694
MICHAEL SOUSLEY      8505 LINDA LN                                                                         PLEASANT VLY     MO   64068‐9040
MICHAEL SOUTHWELL    PO BOX 9022                       C/O AUSTRALIA                                       WARREN           MI   48090‐9022
MICHAEL SOUTHWORTH   176 N GRASSMERE RD                                                                    ELKTON           MI   48731‐9614
MICHAEL SOUZA        14905 SE 25TH ST                                                                      CHOCTAW          OK   73020‐6513
MICHAEL SOVA         379 ELM ST                                                                            MOUNT MORRIS     MI   48458‐1911
MICHAEL SOWA         42509 GREEN VALLEY DR APT 9‐208                                                       CLINTON TWP      MI   48038‐3671
MICHAEL SOWARDS      1289 E LAKE DR APT 1                                                                  NOVI             MI   48377‐1462
MICHAEL SOWDER       205 HAWTHORNE DR                                                                      BEDFORD          IN   47421‐3430
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Name                   Address1                        Address2                     Address3   Address4              City            State Zip
MICHAEL SOWINSKI       817 S JACKSON ST                                                                              BAY CITY         MI 48708‐7312
MICHAEL SPAIN          8578 RED OAK DR NE                                                                            WARREN           OH 44484‐1630
MICHAEL SPANAKIS       1787 ATLANTIC ST NE                                                                           WARREN           OH 44483‐4111
MICHAEL SPANGLER       14650 COOPER ST                                                                               TAYLOR           MI 48180‐4674
MICHAEL SPANKE         2165 IMLAY CITY RD                                                                            LAPEER           MI 48446‐3261
MICHAEL SPANKE         8630 VENTANA DR UNIT 3906                                                                     OAK CREEK        WI 53154‐8329
MICHAEL SPANN          541 AVENUE C                                                                                  REDONDO BEACH    CA 90277‐4837
MICHAEL SPARACO        1352 RENSLAR AVE                                                                              DAYTON           OH 45432‐3131
MICHAEL SPARACO        1352 RENSLAR AVE                                                                              DAYTON           OH 45432‐3131
MICHAEL SPARKS         9784 BOUCHER RD                                                                               OTTER LAKE       MI 48464‐9416
MICHAEL SPAULDING      2643 SHERRIE LN                                                                               THOMPSONS STN    TN 37179‐9282
MICHAEL SPAULDING      1054 W BERGIN AVE                                                                             FLINT            MI 48507‐3602
MICHAEL SPAULDING      220 JEFFERSON STREET                                                                          FOWLERTON        IN 46930
MICHAEL SPAULDING      208 ASHFORD CT                                                                                NOBLESVILLE      IN 46062‐9010
MICHAEL SPEAKMAN       1419 DEAN ST                                                                                  DANVILLE          IL 61832‐7707
MICHAEL SPEAKS         703 W 12TH ST                                                                                 LYNN HAVEN       FL 32444‐2220
MICHAEL SPEARLING      5143 LAKEWOOD DR                                                                              HARRISON         MI 48625‐9644
MICHAEL SPEARS         11222 BLUE SEDGE DR                                                                           ROANOKE          IN 46783‐8601
MICHAEL SPEARS         1630 OWEN ST                                                                                  SAGINAW          MI 48601‐2852
MICHAEL SPEARS         E. 515 EASTVIEW                                                                               SPOKANE          WA 99208
MICHAEL SPEARS         10032 FLIGHT PLAN DR                                                                          GRANBURY         TX 76049‐4455
MICHAEL SPEDOSKE       9245 W M78                      NO 1                                                          HASLETT          MI 48840
MICHAEL SPEER          3440 SHERWOOD ST                                                                              SAGINAW          MI 48603‐2062
MICHAEL SPEISER        23410 STATE ROUTE 613                                                                         CONTINENTAL      OH 45831‐8923
MICHAEL SPENCER        PO BOX 322                                                                                    INKSTER          MI 48141‐0322
MICHAEL SPENCER
MICHAEL SPENCER        2029 PALISADES DR                                                                             DAYTON          OH   45414‐5704
MICHAEL SPERKO         1213 FOUR WINDS CT                                                                            NILES           OH   44446‐3573
MICHAEL SPERLING       7070 S CUSTER RD                                                                              MONROE          MI   48161‐9620
MICHAEL SPHAR          11322 MOUNTAIN ASH RUN                                                                        FORT WAYNE      IN   46818‐9069
MICHAEL SPIELMACHER    7536 KNAPP ST NE                                                                              ADA             MI   49301‐9513
MICHAEL SPIER          6900 KIRK RD                                                                                  CANFIELD        OH   44406‐9646
MICHAEL SPIER          BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS      OH   44236
MICHAEL SPIKES         30152 CRESCENT DR                                                                             CHESTERFIELD    MI   48051‐3906
MICHAEL SPINKS         2230 ELMWOOD DR APT 212                                                                       ARLINGTON       TX   76010‐8717
MICHAEL SPIRES         1013 TWIN PONDS RD                                                                            BEDFORD         IN   47421‐8320
MICHAEL SPISZ          28639 BANNOCKBURN ST                                                                          FARMINGTN HLS   MI   48334‐2701
MICHAEL SPITALE        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS      OH   44236
MICHAEL SPITZBART      ST. VEITGASSE 37/19                                                     A‐1130 WIEN AUSTRIA
MICHAEL SPLEET         13101 VILLAGE CT                                                                              CLIO            MI   48420‐8263
MICHAEL SPOHN          8938 WATERTON PL                                                                              FISHERS         IN   46038‐4512
MICHAEL SPOONER        12865 STATE RD                                                                                LESLIE          MI   49251‐9622
MICHAEL SPORMAN        5594 MICHAEL DR                                                                               BAY CITY        MI   48706‐3113
MICHAEL SPOTTS         11791 PARKIN LN                                                                               FENTON          MI   48430‐8769
MICHAEL SPRADLING SR   1502 SAGEWOOD CIR                                                                             STONE MTN       GA   30083‐1206
MICHAEL SPRAGUE        5844 SEMOFF DR                                                                                TOLEDO          OH   43613‐1528
MICHAEL SPRAGUE        295 E MCKIMMEY RD                                                                             GLADWIN         MI   48624‐8434
MICHAEL SPRAGUE        706 N EIFERT RD                                                                               MASON           MI   48854‐9525
MICHAEL SPRAIGL        1104 MATILDA ST                                                                               SAINT PAUL      MN   55117‐4818
MICHAEL SPRAY          334 S 5TH ST                                                                                  CARSON CITY     MI   48811‐9655
MICHAEL SPRING         19165 ARMADA CENTER RD                                                                        ARMADA          MI   48005‐2401
MICHAEL SPRINKEL       6315 THOMPSON RD                                                                              MARSING         ID   83639‐8033
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Name                    Address1                         Address2               Address3      Address4         City             State Zip
MICHAEL SPRUELL         2805 SW 109TH ST                                                                       OKLAHOMA CITY     OK 73170‐2461
MICHAEL SPURGEON
MICHAEL SPURLING        2371 SPRING ROSE DR                                                                    DAYTON           OH   45459‐2874
MICHAEL SR, KENNETH E   12305 WALNUT POINT RD                                                                  HAGERSTOWN       MD   21740‐2320
MICHAEL SREDINSKY       141 SUSAN CT                                                                           NILES            OH   44446‐2733
MICHAEL ST JOHN         13575 S M52                                                                            PERRY            MI   48872
MICHAEL ST. THOMAS      14374 STATE HIGHWAY 37                                                                 MASSENA          NY   13662‐3154
MICHAEL STACHOWSKI      5599 COACHMANS LN                                                                      HAMBURG          NY   14075‐5854
MICHAEL STACK           3179 PINE HOLLOW DR                                                                    RAVENNA          OH   44266‐8274
MICHAEL STACK           4851 N 123RD ST                                                                        KANSAS CITY      KS   66109‐3804
MICHAEL STACK           110 MEADOW POINTE DR                                                                   FENTON           MI   48430‐1400
MICHAEL STACKLE         506 SHERMAN AVE E                                                                      FORT ATKINSON    WI   53538‐1959
MICHAEL STACY           1341 WYSONG RD                                                                         W ALEXANDRIA     OH   45381‐9737
MICHAEL STADE
MICHAEL STAFFORD        2316 W MEMORIAL DR                                                                     MUNCIE           IN   47302‐2076
MICHAEL STAFFORD        1025 TREMONT AVE                                                                       FLINT            MI   48505‐1417
MICHAEL STAFFORD        2479 LANSBURY DR                                                                       WATERFORD        MI   48329‐2324
MICHAEL STAHL           223 PEBBLE BROOK DR                                                                    CHARLESTOWN      IN   47111‐7811
MICHAEL STAHL           752 S VENOY RD                                                                         WESTLAND         MI   48186‐4893
MICHAEL STALKER         6719 FOXFIRE DR                                                                        INDIANAPOLIS     IN   46214‐2033
MICHAEL STALL           1037 CHATEAU DR                                                                        KETTERING        OH   45429‐4619
MICHAEL STALLINGS       1728 KINGSTON RD                                                                       DEFORD           MI   48729
MICHAEL STALLINGS       170 S ROCK RD                                                                          MANSFIELD        OH   44903‐6940
MICHAEL STAMBAUGH       8557 HENDERSON RD                                                                      GOODRICH         MI   48438‐9778
MICHAEL STAMBERSKY      115 W MAIN BOX 69                                                                      BANNISTER        MI   48807
MICHAEL STAMPFER        3740 S RIVERSHIRE DR APT 1                                                             GREENFIELD       WI   53228‐1159
MICHAEL STANCHAK        6125 POWERS RD                                                                         ORCHARD PARK     NY   14127‐3213
MICHAEL STANCROFF       # 4A                             11185 COMMERCIAL WAY                                  WEEKI WACHEE     FL   34614‐3002
MICHAEL STANDEN         3056 MORRISH RD                                                                        SWARTZ CREEK     MI   48473‐9787
MICHAEL STANDERFER      810 MINNEAPOLIS AVE                                                                    GLADSTONE        MI   49837‐1623
MICHAEL STANDING        41857 CONNERWOOD CT                                                                    CANTON           MI   48187‐3592
MICHAEL STANDLEY        2374 MORRISH RD                                                                        SWARTZ CREEK     MI   48473‐9723
MICHAEL STANDLEY II     8250 CORUNNA RD                                                                        FLINT            MI   48532‐5501
MICHAEL STANECK         9391 FERRY RD                                                                          WAYNESVILLE      OH   45068‐9081
MICHAEL STANEFF         14135 WILSON DR                                                                        PLYMOUTH         MI   48170‐2390
MICHAEL STANKO          220 ROAD 18.5 NE                                                                       SOAP LAKE        WA   98851‐9603
MICHAEL STANLEY         10581 COLBY LAKE RD                                                                    PERRY            MI   48872‐9796
MICHAEL STANLEY         600 GROVELAND PKWY                                                                     LAWRENCEVILLE    GA   30046‐5543
MICHAEL STANSBERY       11539 S MERIDIAN LINE RD                                                               CLOVERDALE       IN   46120‐9162
MICHAEL STANTON         17269 NEW JERSEY ST                                                                    SOUTHFIELD       MI   48075‐2827
MICHAEL STANTON         2307 ARMSTRONG ROAD                                                                    GRAND PRAIRIE    TX   75052‐0720
MICHAEL STANWOOD        8314 FOREST GATE DR                                                                    SUGAR LAND       TX   77479
MICHAEL STANZIONE       225 ASHLAR WAY                                                                         TOMS RIVER       NJ   08753‐8101
MICHAEL STAPLETON       PO BOX 9022                      SHANGHAI                                              WARREN           MI   48090‐9022
MICHAEL STAPLETON       543 ANACONDA RD                                                                        SAINT CLAIR      MO   63077‐4448
MICHAEL STARK           9 W MIDLAND RD                                                                         AUBURN           MI   48611‐9311
MICHAEL STARKS          20510 KEYSTONE ST                                                                      DETROIT          MI   48234‐2317
MICHAEL STARNS          PO BOX 244                                                                             PATRICKSBURG     IN   47455‐0244
MICHAEL STARON          PO BOX 137                                                                             CLARKLAKE        MI   49234‐0137
MICHAEL STARR           PO BOX 300781                                                                          DRAYTON PLAINS   MI   48330‐0781
MICHAEL STASA           6024 JOHNSON RD                                                                        FLUSHING         MI   48433‐1106
MICHAEL STASKIE         12581 VILLAGIO WAY                                                                     FORT MYERS       FL   33912‐0602
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Name                               Address1                        Address2                    Address3      Address4         City            State Zip
MICHAEL STATER                     8847 E STATE ROAD 26                                                                       FOREST           IN 46039‐9673
MICHAEL STAUCH                     2189 CHICAGO RD                                                                            WARREN           MI 48092‐1050
MICHAEL STAVELY                    15 NORRIS RD                                                                               POUGHKEEPSIE     AR 72569‐9305
MICHAEL STAWICKI                   10279 EDGERTON RD                                                                          N ROYALTON       OH 44133‐5540
MICHAEL STEAD CHEVROLET CADILLAC   2390 N MAIN ST                                                                             WALNUT CREEK     CA 94596‐3546
MICHAEL STEAD CHEVROLET CADILLAC   MICHAEL STEAD                   2390 N MAIN ST                                             WALNUT CREEK     CA 94596‐3546
MICHAEL STEBBINS                   10476 HEGEL RD                                                                             GOODRICH         MI 48438‐9792
MICHAEL STECHLY                    C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FL                                  CHICAGO           IL 60602
MICHAEL STECHSCHULTE               8555 ROAD 12                                                                               OTTAWA           OH 45875‐9614
MICHAEL STEDRY                     4332 LIMBERLOST TRL                                                                        GLENNIE          MI 48737‐9527
MICHAEL STEELE                     23132 LAKE RAVINES DR                                                                      SOUTHFIELD       MI 48033‐6531
MICHAEL STEENBURG                  30631 BOCK ST                                                                              GARDEN CITY      MI 48135‐1424
MICHAEL STEFANIC
MICHAEL STEFFES                    36621 DOWLING ST                                                                           LIVONIA         MI   48150‐3415
MICHAEL STEGER                     4844 INTERBORO AVE                                                                         PITTSBURGH      PA   15207‐2130
MICHAEL STEIBEL                    4266 ISLAND PARK DR             APT A                                                      WATERFORD       MI   48329
MICHAEL STEIN                      624 W 13TH ST                                                                              OKMULGEE        OK   74447‐7711
MICHAEL STEINE                     1392 DOWNINGTON VIEW                                                                       ACWORTH         GA   30101
MICHAEL STEINKE                    705 HILLCREST CIRCLE                                                                       AUBURN HILLS    MI   48326
MICHAEL STELLWAGEN                 5045 BIDWELL ST                                                                            BRIGHTON        MI   48116‐9702
MICHAEL STELTER                    5112 W TRIPP RD                                                                            JANESVILLE      WI   53548‐9245
MICHAEL STENBERG                   18 SMITH ST                                                                                MOUNT CLEMENS   MI   48043‐2338
MICHAEL STENCEL                    4441 CORNWELL LN                                                                           WHITMORE LAKE   MI   48189‐9799
MICHAEL STENGEL                    85 JEFFREY DR                                                                              AMHERST         NY   14228‐1930
MICHAEL STEPHAN                    PO BOX 123                                                                                 WAPITI          WY   82450‐0123
MICHAEL STEPHEN DOUGLAS
MICHAEL STEPHEN HORVATH            WEITZ & LUXENBERG PC            700 BROADWAY                                               NEW YORK CITY   NY   10003
MICHAEL STEPHEN HORVATH            C/0 WEITZ & LUXENBERG PC        700 BROADWAY                                               NEW YORK CITY   NY   10003
MICHAEL STEPHEN PAULEY             MOTLEY RICE LLC                 28 BRIDGESIDE BLVD          PO BOX 1792                    MT PLEASANT     SC   29465
MICHAEL STEPHENS                   13866 FOWLER RD                                                                            HONOR           MI   49640‐9449
MICHAEL STEPHENS                   5824 N VICTORIA DR                                                                         INDIANAPOLIS    IN   46228‐1654
MICHAEL STEPHENS                   548 VOELM RD                                                                               WELLSTON        MI   49689‐9554
MICHAEL STEPHENS                   1483 BUCKNELL WAY                                                                          MARIETTA        GA   30068‐2002
MICHAEL STEPHENSON                 3522 E 1000 N                                                                              ALEXANDRIA      IN   46001‐8477
MICHAEL STEPHEY                    210 S JEFFERSON ST                                                                         MOORESVILLE     IN   45158‐1714
MICHAEL STEPP                      809 PEPPERMILL CIR                                                                         LAPEER          MI   48446‐2678
MICHAEL STERK                      108 S ACADEMY ST                                                                           JANESVILLE      WI   53548‐3766
MICHAEL STERLING                   2938 LEE MARIE DRIVE                                                                       ADRIAN          MI   49221
MICHAEL STERNIK                    2018 TOMAHAWK RD                                                                           OKEMOS          MI   48864‐2131
MICHAEL STESNEY                    6591 WHITETAIL DR                                                                          ALGER           MI   48610‐9427
MICHAEL STETZ                      1682 SHERWOOD CT                                                                           DEARBORN        MI   48124‐4073
MICHAEL STEVEN WILLIAMS            322 ADELITE AVE.                                                                           DAYTON          OH   45408
MICHAEL STEVENS                    21432 CHERI LN                                                                             BRISTOL         IN   46507‐9323
MICHAEL STEVENS                    2414 BEATRICE ST                                                                           SPRINGFIELD     OH   45503‐4815
MICHAEL STEVENS                    3539 GRANT AVE                                                                             GROVE CITY      OH   43123‐2516
MICHAEL STEVENS                    23 AMBER WAY                                                                               NORWALK         OH   44857‐9038
MICHAEL STEVENS                    303 NORTHLAND DR                                                                           PRUDENVILLE     MI   48651‐9537
MICHAEL STEVENS                    8087 DOYLE RD                                                                              LAINGSBURG      MI   48848‐9724
MICHAEL STEVENS                    122 NATCHES TRCE                                                                           COPPELL         TX   75019‐7904
MICHAEL STEVENS                    14717 FAIRGROVE ST                                                                         SOUTHGATE       MI   48195‐2530
MICHAEL STEVENS                    8113 N DOVIN GATE RD                                                                       MUNCIE          IN   47303‐9305
MICHAEL STEVENS                    3416 HARDWAY LN                                                                            SPRING HILL     TN   37174‐5123
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Name                       Address1                         Address2                    Address3   Address4                 City              State Zip
MICHAEL STEVENSON          4101 S SHERIDAN RD LOT 427                                                                       LENNON             MI 48449‐9426
MICHAEL STEVENTON          5963 CALLAWAY CIR                                                                                AUSTINTOWN         OH 44515‐4181
MICHAEL STEWARD            12333 STANLEY RD                                                                                 COLUMBIAVILLE      MI 48421‐8804
MICHAEL STEWARD            1886 EILEEN ST                                                                                   YPSILANTI          MI 48198‐6240
MICHAEL STEWART            1495 TERNBURY DR                                                                                 ROCHESTER HILLS    MI 48307‐3539
MICHAEL STEWART            9050 SADDLE HORN DR                                                                              FLUSHING           MI 48433‐1212
MICHAEL STEWART            2027 HENBERT RD                                                                                  W BLOOMFIELD       MI 48324‐1039
MICHAEL STEWART            9417 RAVENSWOOD ROAD                                                                             GRANBURY           TX 76049‐4523
MICHAEL STEWART            PO BOX 278                       9081 MAIN RD                                                    W BLOOMFIELD       NY 14585‐0278
MICHAEL STEWART            5572 ALEXANDRIA PIKE                                                                             ANDERSON           IN 46012‐9509
MICHAEL STEWART            3366 OLD LAKEVIEW RD                                                                             HAMBURG            NY 14075‐6141
MICHAEL STEWART            393 HUBBARD LAKE RD                                                                              HUBBARD LAKE       MI 49747‐9604
MICHAEL STICHT             11 COLONIAL AVE                                                                                  LANCASTER          NY 14086‐2508
MICHAEL STIDHAM            1051 CANTERBURY DR                                                                               PONTIAC            MI 48341‐2340
MICHAEL STIERLE            325 DEWEY LAKE BCH                                                                               BROOKLYN           MI 49230‐9039
MICHAEL STIERMAN           12704 SHADOW RUN BLVD                                                                            RIVERVIEW          FL 33569
MICHAEL STIERS             19 W ELIZABETH ST                                                                                NEW CASTLE         PA 16105‐2855
MICHAEL STIEVE             5038 BERNEDA DR                                                                                  FLINT              MI 48506‐1502
MICHAEL STIMAC             2001 24TH AVE                                                                                    MENOMINEE          MI 49858‐2019
MICHAEL STIMAC             358 ORCHARD RIDGE DR                                                                             LAKE ORION         MI 48362‐3918
MICHAEL STIMAGE            PO BOX 397                                                                                       BLOOMFIELD         MI 48303‐0397
MICHAEL STIMPSON           841 SPARLING DR                                                                                  SAGINAW            MI 48609‐5124
MICHAEL STINE              5260 ATTICA RD                                                                                   ATTICA             MI 48412‐9638
MICHAEL STINSON            986 CRYOLITE PL                                                                                  CASTLE ROCK        CO 80108‐3084
MICHAEL STIVASON           2150 W MOORESTOWN RD                                                                             LAKE CITY          MI 49651‐9343
MICHAEL STOBB              9075 N 306 W                                                                                     HUNTINGTON         IN 46750‐9713
MICHAEL STOCK              13567 SPRING CREEK RD SW                                                                         FIFE LAKE          MI 49633‐9075
MICHAEL STOCK & URSULA A   STEINWEG 1                                                              D‐41564 KAARST GERMANY
GRETSCHMANN‐STOCK
MICHAEL STOCKARD           165 FRANKLIN LAKE CIR                                                                            OXFORD            MI   48371‐3665
MICHAEL STOCKMAN           580 HARSEN RD                                                                                    LAPEER            MI   48446‐2742
MICHAEL STOCKWELL          35780 BIRCHWOOD CT                                                                               NEW BOSTON        MI   48164‐9135
MICHAEL STOCKWELL          11621 HERON BAY DR                                                                               FENTON            MI   48430‐8612
MICHAEL STODDARD           1716 CR 103                                                                                      WHITESBORO        TX   76273
MICHAEL STOFFER            12360 DIEHL RD                                                                                   NORTH JACKSON     OH   44451‐9734
MICHAEL STOGSDILL          3208 CLIFTON AVE APT C                                                                           SAINT LOUIS       MO   63139‐2300
MICHAEL STOKES             32 CHAMBORD DR                                                                                   NEWARK            DE   19702‐5548
MICHAEL STOMA              THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                       HOUSTON           TX   77017
MICHAEL STONE              1724 BAYARD AVE                                                                                  BALTIMORE         MD   21222‐1803
MICHAEL STONE              5960 E 300 N                                                                                     GREENFIELD        IN   46140‐8798
MICHAEL STONE              7027 WINBURN DR                                                                                  GREENWOOD         LA   71033‐3215
MICHAEL STONE              5005 W ADAMS ST                                                                                  CHICAGO           IL   60644‐4343
MICHAEL STONE              3810 S REED RD                                                                                   DURAND            MI   48429‐9010
MICHAEL STORER             378 TRAILS END                                                                                   CAMPTON           KY   41301‐8930
MICHAEL STORK              18570 COUNTY ROAD 218                                                                            DEFIANCE          OH   43512‐9312
MICHAEL STORY              2613 N RIVER BLUFF DR                                                                            JANESVILLE        WI   53545‐0796
MICHAEL STOSIK             9998 HOLT HWY                                                                                    DIMONDALE         MI   48821‐9730
MICHAEL STOUT              7009 W RIVER RD                                                                                  YORKTOWN          IN   47396‐9399
MICHAEL STOVICH            2663 LA RINCONADA PL                                                                             REDDING           CA   96002‐3708
MICHAEL STRAH              17360 STATE ROUTE 57                                                                             GRAFTON           OH   44044‐9649
MICHAEL STRAHAM            1605 N FRANKLIN AVE                                                                              FLINT             MI   48506‐3754
MICHAEL STRAHAN            4801 W STOLL RD                                                                                  LANSING           MI   48906‐9384
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Name                   Address1                             Address2                  Address3     Address4           City                 State Zip
MICHAEL STRANGE        13811 GARRISON PLACE DR                                                                        MIDLOTHIAN            VA 23112
MICHAEL STRANGE        1700 N EDON RD                                                                                 ALLEN                 MI 49227‐9766
MICHAEL STRANGE        1310 N WABASH AVE                                                                              KOKOMO                IN 46901‐2602
MICHAEL STRASSER       383 1ST ST                                                                                     SUNFIELD              MI 48890‐9020
MICHAEL STRASZ         36832 OAKWOOD LN                                                                               RICHMOND              MI 48062‐1466
MICHAEL STRATTON       6897 WOODRUFF RD                                                                               LIMA                  NY 14485‐9448
MICHAEL STRAUS         2401 LINDSAY LN                                                                                GRAND BLANC           MI 48439‐8080
MICHAEL STRAUSS        5311 GREENLEAF DR                                                                              SWARTZ CREEK          MI 48473‐1135
MICHAEL STRAYER        54 ARGUS ST                                                                                    BUFFALO               NY 14207‐1218
MICHAEL STREET         2950 W GRAND BLVD                                                                              DETROIT               MI 48202‐3007
MICHAEL STREETER       1427 SPAINWOOD ST                                                                              COLUMBIA              TN 38401‐5245
MICHAEL STREMICK
MICHAEL STRICKHOUSER   PO BOX 9022                          CO ADAM OPEL, IPC T2‐05                                   WARREN               MI 48090‐9022
MICHAEL STRICKLEN      2215 N 40TH ST                                                                                 KANSAS CITY          KS 66104‐3531
MICHAEL STRICKLER      7280 BERESFORD AVE                                                                             PARMA                OH 44130‐5059
MICHAEL STRIEGLER      HEINTGESWEG 27                                                              41239
                                                                                                   MOENCHENGLADBACH
                                                                                                   GERMANY
MICHAEL STRONG         957 FAIRWAY TRAILS DR                                                                          BRIGHTON             MI   48116‐1781
MICHAEL STRONG         7268 PINNACLE OAKS DR                                                                          MEMPHIS              TN   38125‐3655
MICHAEL STRONG         11709 OAKLAND DR                                                                               SCHOOLCRAFT          MI   49087‐9756
MICHAEL STROUP         4295 FLOWERS RD                                                                                MANSFIELD            OH   44903‐7712
MICHAEL STRUBLE        2649 S 300 W                                                                                   PERU                 IN   46970‐3180
MICHAEL STRUTZ         6200 PINEWOOD DR                                                                               CLARKSTON            MI   48346‐2232
MICHAEL STUART         2610 ALPHA WAY                                                                                 FLINT                MI   48506‐1831
MICHAEL STUBBERT       4290 BALDWIN RD                                                                                LAINGSBURG           MI   48848‐9718
MICHAEL STUBBS         12229 DENTONVIEW DR                                                                            FENTON               MI   48430‐2505
MICHAEL STUCHELL       252 W SAINT CLAIR ST                                                                           ROMEO                MI   48065‐4661
MICHAEL STUCKEY        RR 6                                                                                           DEFIANCE             OH   43512
MICHAEL STUDER         6818 E SANDRA TERRACE                                                                          SCOTTSDALE           AZ   85254
MICHAEL STUDNICKI      2938 ORCHARD TRAIL DR                                                                          TROY                 MI   48098‐5416
MICHAEL STUETZER       PO BOX 300581                                                                                  DRAYTON PLAINS       MI   48330‐0581
MICHAEL STULLER        2213 DURHAM DR                                                                                 SAGINAW              MI   48609‐9234
MICHAEL STULTS         4183 WESTERN ST                                                                                DETROIT              MI   48210‐3509
MICHAEL STULTZ         701 RUCKER LN                                                                                  MURFREESBORO         TN   37128‐4621
MICHAEL STUMPF         141 E RITTER STREET                                                                            SEVEN MILE           OH   45062
MICHAEL STUTTS         2927 BARTH ST                                                                                  FLINT                MI   48504‐3051
MICHAEL SUBIC          34058 SUMMERHILL LN                                                                            CHESTERFIELD         MI   48047‐4179
MICHAEL SUBIC          23200 EDGEWATER ST                                                                             SAINT CLAIR SHORES   MI   48082‐2037
MICHAEL SUCHY          1228 RALPH ST                                                                                  GARDEN CITY          MI   48135‐1129
MICHAEL SUDAL          THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES         22ND FLOOR                      BALTIMORE            MD   21201

MICHAEL SUGGS          3060 OLD JACKSON RD                                                                            LOCUST GROVE         GA   30248‐2757
MICHAEL SUISSE         6428 CLOVERTON DR                                                                              WATERFORD            MI   48329‐1313
MICHAEL SULENSKI       8726 YOUNGSTOWN SALEM RD                                                                       CANFIELD             OH   44406‐9481
MICHAEL SULEWSKI       11280 DOUGLAS RD                                                                               TEMPERANCE           MI   48182‐9770
MICHAEL SULFRIDGE      1910 W BARCELONA DR                                                                            MUNCIE               IN   47304‐1431
MICHAEL SULLIVAN       7081 MARSTELLA DR                                                                              BROWNSBURG           IN   46112‐8440
MICHAEL SULLIVAN       2766 LYDIA ST SW                                                                               WARREN               OH   44481‐8619
MICHAEL SULLIVAN       1735 NEBRASKA AVENUE                                                                           FLINT                MI   48506‐4317
MICHAEL SULLIVAN       5777 CARO RD                                                                                   VASSAR               MI   48768‐9757
MICHAEL SULLIVAN       6675 TAMMANY DR                                                                                SHREVEPORT           LA   71107‐8639
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Name                  Address1                       Address2            Address3         Address4         City                State Zip
MICHAEL SULLIVAN      117 WREXHAM CT S                                                                     TONAWANDA            NY 14150‐8813
MICHAEL SULLIVAN      2323 OVERLOOK AVE                                                                    YOUNGSTOWN           OH 44509‐2206
MICHAEL SULLIVAN
MICHAEL SULTANA       23500 LOWRIE DR                                                                      GROSSE ILE          MI   48138‐1555
MICHAEL SUMMERS       9188 N STATE ROAD 37                                                                 ELWOOD              IN   46036‐8836
MICHAEL SUMMERS       PO BOX 15                                                                            GOSPORT             IN   47433‐0015
MICHAEL SUMMERS       5500 RUSHMORE PASS                                                                   GRAND BLANC         MI   48439‐9149
MICHAEL SUMMERS I I   1093 WALES CENTER RD                                                                 WALES               MI   48027‐3117
MICHAEL SUMMERS SR    1317 SISSON DR                                                                       N TONAWANDA         NY   14120‐3067
MICHAEL SUMMITT       3364 BROOKGATE DR                                                                    FLINT               MI   48507‐3211
MICHAEL SUMNER        835 MOON CT                                                                          MIAMISBURG          OH   45342‐3421
MICHAEL SUMTER        777 PROSPECT LN                                                                      FORT MILL           SC   29708‐8164
MICHAEL SUNDAY        5459 N BELSAY RD                                                                     FLINT               MI   48506‐1251
MICHAEL SUNDIN        3576 JUNCTION ST                                                                     NORTH PORT          FL   34288‐8235
MICHAEL SUPERNANT     923 S VAN BUREN ST                                                                   BAY CITY            MI   48708‐7316
MICHAEL SURMA         21864 INTERNATIONAL LN                                                               MACOMB              MI   48044‐3796
MICHAEL SUSAN         MICHAEL, SUSAN                 731 GLENN ABBE CT                                     SAINT CHARLES       MO   63303‐3855
MICHAEL SUSKI         739 NORTH ST                                                                         MOULTON             AL   35650‐1227
MICHAEL SUSKO         235 E WESTERN RESERVE RD                                                             POLAND              OH   44514‐3345
MICHAEL SUSZYCKI      4635 DIEHL RD                                                                        METAMORA            MI   48455‐9617
MICHAEL SUTKOWI       5384 BROOKWAY DR                                                                     BAY CITY            MI   48706‐3381
MICHAEL SUTLIFF       3125 BOSTON BLVD                                                                     LANSING             MI   48910‐6504
MICHAEL SUTTLE        2594 SOUTHWICK ST                                                                    IDA                 MI   48140‐9500
MICHAEL SUTTON        15136 KELLY ST                                                                       SPRING LAKE         MI   49456‐1538
MICHAEL SVENTY JR     70801 CARNEGIE LN                                                                    BRUCE TWP           MI   48065‐4266
MICHAEL SVESTKA       418 PINELAND TRL                                                                     WATERFORD           MI   48327‐4523
MICHAEL SWAFFORD      8643 WHISPERING PINES DR                                                             ST JAMES CITY       FL   33956‐3010
MICHAEL SWAIN         5003 PIERCE RD NW                                                                    WARREN              OH   44481‐9376
MICHAEL SWANGER       675 HEIM CT                                                                          ALMONT              MI   48003‐8963
MICHAEL SWANGO        1603 E 32ND ST                                                                       ANDERSON            IN   46013‐5235
MICHAEL SWANSON       81 MORTIS CT UNIT 9134                                                               ELLIJAY             GA   30540‐5368
MICHAEL SWANSON       21441 FLAG DR                                                                        MACOMB              MI   48042‐4332
MICHAEL SWANTEK       9016 ROYCE DR                                                                        STERLING HEIGHTS    MI   48313‐3208
MICHAEL SWARTHOUT     4218 REBECCA CIR                                                                     COMMERCE TOWNSHIP   MI   48390‐1357
MICHAEL SWARTOUT      6650 N 400 W‐90                                                                      MARKLE              IN   46770‐9713
MICHAEL SWARTZ        2341 BALTUSROL DR                                                                    COMMERCE TWP        MI   48382‐4884
MICHAEL SWARTZ        4539 NAKOMA DR                                                                       OKEMOS              MI   48864‐2084
MICHAEL SWARTZINSKI   4760 HESS RD RT 3                                                                    VASSAR              MI   48768
MICHAEL SWEDORSKI     3214 ELNOR DR                                                                        GLADWIN             MI   48624‐8366
MICHAEL SWEENEY       2022 COLLIER BLVD                                                                    O FALLON            MO   63366‐3352
MICHAEL SWEENEY       6214 CHIEHO DR                                                                       LANSING             MI   48917‐9230
MICHAEL SWEET         6257 CORWIN STA                                                                      NEWFANE             NY   14108‐9733
MICHAEL SWEET         4246 PORT ROYAL RD                                                                   SPRING HILL         TN   37174‐2136
MICHAEL SWEPPY        38261 TOWNHALL ST                                                                    HARRISON TWP        MI   48045‐5522
MICHAEL SWICK         6329 GOLF LAKES COURT D                                                              BAY CITY            MI   48706‐9369
MICHAEL SWIFT         1734 REDBUD LN                                                                       LANSING             MI   48917‐7635
MICHAEL SWINDLE       812 TERRY TRL                                                                        WEATHERFORD         TX   76086‐4642
MICHAEL SWINFORD      7633 N 200 E                                                                         ALEXANDRIA          IN   46001‐8727
MICHAEL SWISS         6775 N BRANCH RD                                                                     GRAYLING            MI   49738‐7183
MICHAEL SWITALA       613 W MIDLAND RD                                                                     AUBURN              MI   48611‐9214
MICHAEL SWITRAS       1820 PERO LAKE RD                                                                    LAPEER              MI   48446‐9093
MICHAEL SWORD         3641 ASCOT DR                                                                        BRUNSWICK           OH   44212‐3621
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Name                         Address1                         Address2                     Address3   Address4         City               State Zip
MICHAEL SYERSAK              C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS          OH 44236
MICHAEL SYKES                PO BOX 13031                                                                              TOLEDO              OH 43613‐0031
MICHAEL SYKES                5765 CHURCH RD                                                                            CASCO               MI 48064‐4205
MICHAEL SYMONS               2086 LARKSPUR LN                                                                          GRAND BLANC         MI 48439‐7306
MICHAEL SYRKO                106 THOMPSON HILL RD                                                                      ALIGUIPPA           PA 15001
MICHAEL SZABO I I I          13006 HOBART RD                                                                           GARRETTSVILLE       OH 44231‐9629
MICHAEL SZAKARA              BOILER MEADOWS OF BROWNSTOWN     21400 DIX TOLEDO HWY                                     BROWNSTOWN TWP      MI 48183
MICHAEL SZCODRONSKI          10100 BENNETT LAKE RD                                                                     FENTON              MI 48430‐8734
MICHAEL SZCZERBA             3935 STEPHENS RD                                                                          WARREN              MI 48091‐5809
MICHAEL SZCZUREK             2680 WARREN BURTON RD                                                                     SOUTHINGTON         OH 44470‐9776
MICHAEL SZEFLER SR           11599 GENESEE ST                                                                          ALDEN               NY 14004‐9695
MICHAEL SZLAPAK              4101 BAYVIEW RD                                                                           BLASDELL            NY 14219‐2705
MICHAEL SZPAKOWSKI           826 DORAL DR                                                                              OXFORD              MI 48371‐6503
MICHAEL SZUCS                3 RED FEATHER TRL                                                                         BROWNS MILLS        NJ 08015‐6147
MICHAEL SZYJKA               12511 UEBELHOER RD                                                                        ALDEN               NY 14004‐8540
MICHAEL SZYMBERSKI           37516 FIELDCREST LN                                                                       STERLING HEIGHTS    MI 48312‐2513
MICHAEL T AMBRIATI JR        125 LIND AVE                                                                              SYRACUSE            NY 13211‐1820
MICHAEL T BANKS              10092 ANTIGUA ST                                                                          ANAHEIM             CA 92804
MICHAEL T BRADFORD           C/O WEITZ & LUXENBERG PC         700 BROADWAY                                             NEW YORK CITY       NY 10003
MICHAEL T BROUGHER           2160 COLUMBUS AVE                                                                         SPRINGFIELD         OH 45503‐3530
MICHAEL T BROWN              300 WESTERN AVE APT A25                                                                   LANSING             MI 48917
MICHAEL T CALDWELL           2536 MUNDALE AVE                                                                          DAYTON              OH 45420‐2330
MICHAEL T CAREY              3310 NORTH ROAD                                                                           GENESEO             NY 14454‐9716
MICHAEL T CHRISTIAN, SR.     110 BELMEADE CIRCLE                                                                       JOHNSON CITY        TN 37601
MICHAEL T CRIMMINS           PO BOX 729                                                                                MONTVILLE           NJ 07045
MICHAEL T CRITTENDEN         9406 MILLINGTON RD                                                                        VASSAR              MI 48768‐9690
MICHAEL T DAVIS              4927 PENSACOLA BLVD                                                                       MORAINE             OH 45439‐2833
MICHAEL T DEAN               3937 NORBROOK DR                                                                          UPPER ARLINGTON     OH 43220
MICHAEL T EDDY               6171 UTLEY RD                                                                             IMLAY CITY          MI 48444‐8922
MICHAEL T FARRELL PH         375 GLENSPRINGS DRIVE SUITE 30                                                            CINCINNATI          OH 45246
MICHAEL T FINLEY             325 SKINNER DR                                                                            TROTWOOD            OH 45426
MICHAEL T GROSODONIA         78 MENARD DR                                                                              ROCHESTER           NY 14616‐4332
MICHAEL T GROSS              2116 LION HEART DR                                                                        MIAMISBURG          OH 45342‐2044
MICHAEL T HACKETT            463 UPTON DR                                                                              ST. JOSEPH          MI 49085‐1058
MICHAEL T HERRON             824 LOTHROP RD                                                                            DETROIT             MI 48202‐2736
MICHAEL T HETTICH            31904 BAY ST                                                                              TAVARES             FL 32778
MICHAEL T HOPKINS            602 S. STADIUM DRIVE                                                                      XENIA               OH 45385‐2114
MICHAEL T HUDSON AND         LINDA B HUDSON JTWROS            2 CLUBHOUSE DR                                           ROGERS              AR 72758‐9563
MICHAEL T ISENBERG           23979 EMMONS RD                                                                           COLUMBIA STA        OH 44028‐9473
MICHAEL T JAMES              26153 ANNAPOLIS ST                                                                        DEARBORN HEIGHTS    MI 48125‐1434
MICHAEL T JARMAN             1845 YORKSHIRE                                                                            BIRMINGHAM          MI 48009
MICHAEL T JONES              725 CHERRY BLOSSOM DR.                                                                    W CARROLLTON        OH 45449
MICHAEL T JONES              3379 SHILOH SPRINGS RD APT E                                                              TROOTWOOD           OH 45425‐2252
MICHAEL T JONES              212 MACARTHUR RD                                                                          WOONSOCKET           RI 02895‐3840
MICHAEL T JONES 2ND ACTION   PRO SE                           63 WAVERLY AVE                                           DAYTON              OH 45405‐2228
MICHAEL T KANTOR             6350 STUMPH RD APT 219                                                                    CLEVELAND           OH 44130‐2935
MICHAEL T KERN               PO BOX 13386                                                                              JACKSON             MS 39236
MICHAEL T KONICKI            612 E STROOP RD                                                                           KETTERING           OH 45429‐3244
MICHAEL T LOVE               316 CARTHAGE PL                                                                           TROTWOOD            OH 45426
MICHAEL T LOWERY             46 ELSMAR AVE                                                                             FORT THOMAS         KY 41075‐1038
MICHAEL T MAHER              C/O SIEBEN POLK P A              1640 S FRONTAGE RD           STE 200                     HASTINGS            MN 55033
MICHAEL T MCCURLEY           1145 REVERS RUN                                                                           LEBANON             OH 45036
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Name                  Address1                         Address2                     Address3   Address4                 City            State Zip
MICHAEL T MCHOSE      24 OLD FORGE RD                                                                                   HELMETTA         NJ 08828
MICHAEL T MENSINGER   1531 INDIAN MEADOWS DR                                                                            FRANKLIN         TN 37064‐9623
MICHAEL T MILLER      PO BOX 50399                                                                                      BOWLING GREEN    KY 42102‐2999
MICHAEL T PALERMO     166 JAMESTOWN TERRACE                                                                             ROCHESTER        NY 14615‐1120
MICHAEL T PERRY       2835 MAIN ST                                                                                      MORAINE          OH 45439‐1412
MICHAEL T PHILLIPS    1955 RUGBY RD                                                                                     DAYTON           OH 45406
MICHAEL T POWERS      204 APPLEGATE DRIVE                                                                               ENGLEWOOD        OH 45322‐3032
MICHAEL T PUGH        795 W COUNTY LINE RD APT 42                                                                       JACKSON          MS 39213
MICHAEL T RATLIFF     160 COUSINS DRIVE                                                                                 CARLISLE         OH 45005
MICHAEL T RAUB        2335 AUSTINTOWN WARREN RD                                                                         WARREN           OH 44481‐9698
MICHAEL T RILEY       158 MEDFORD ST                                                                                    DAYTON           OH 45410
MICHAEL T ROBB        809 N FARRAGUT ST                                                                                 BAY CITY         MI 48708‐6037
MICHAEL T ROSS        3736 WENZLER DR                                                                                   KETTERING        OH 45429‐3366
MICHAEL T RUSSELL
MICHAEL T SAYEN       2128 MOUNTVIEW CIRCLE                                                                             DAYTON          OH   45414
MICHAEL T SCHRICKER   3541 CENTER DR 2                                                                                  GREENVILLE      OH   45331
MICHAEL T SNYDER      3951 FAIRSMITH ST                                                                                 DAYTON          OH   45416‐1943
MICHAEL T STALEY      4533 RIDGEBURY DR                                                                                 KETTERING       OH   45440‐1844
MICHAEL T STINSON     746 E. 90TH STREET                                                                                CHICAGO         IL   60619‐7502
MICHAEL T TRAMMELL    4240 MIDWAY AVE                                                                                   DAYTON          OH   45417
MICHAEL T VANCE       2210 TITUS AVENUE                                                                                 DAYTON          OH   45414‐4138
MICHAEL T VAREHA      41496 N DESERT WINDS DR                                                                           CAVE CREEK      AZ   85331‐7701
MICHAEL T VETALICE    4907 LINCOLN AVE                                                                                  PARMA           OH   44134‐1825
MICHAEL T WEBB        102 JETTA DR                                                                                      CAMDEN          OH   45311
MICHAEL T WILLIAMS    1409 VAN DYKE RD                                                                                  HOLT            MI   48842‐9543
MICHAEL T WILSON      707 STEWART AVE SE                                                                                ATTALLA         AL   35954
MICHAEL T WRIGHT      7660 GRANITE                                                                                      WASHINGTON      MI   48094‐2840
MICHAEL T. BOJKO      11414 ACUFF LN                                                                                    LENEXA          KS   66215‐4878
MICHAEL TAACK         12305 S MERRILL RD                                                                                BRANT           MI   48614‐8741
MICHAEL TABIT         5364 DEARING DR                                                                                   FLINT           MI   48506‐1536
MICHAEL TABOR         13316 W SOUTH RANGE RD                                                                            SALEM           OH   44460‐9661
MICHAEL TACKABURY     914 NEWPORT DR                                                                                    FENTON          MI   48430‐1854
MICHAEL TACZAK JR     PO BOX 111                                                                                        GASPORT         NY   14067‐0111
MICHAEL TADAJEWSKI    13720 MELVILLE RD                                                                                 POSEN           MI   49776‐9725
MICHAEL TADAJEWSKI    3622 CLAIRMONT ST                                                                                 FLINT           MI   48532‐5224
MICHAEL TALLARICO     1591 S LACEY LAKE RD                                                                              CHARLOTTE       MI   48813‐9556
MICHAEL TALLEY        6798 MEADOW LN                                                                                    CLEVELAND       OH   44130‐8380
MICHAEL TALLMAN       52752 BROOKFIELD CT                                                                               SHELBY TWP      MI   48316‐3036
MICHAEL TAMONE        56 LOWRY DR. WOODLAND APTS                                                                        WILMINGTON      DE   19805
MICHAEL TAMPANELLO    1151 DUCK CREEK RD                                                                                SMYRNA          DE   19977‐9434
MICHAEL TANARI        32903 KNAPP AVE                                                                                   WARREN          MI   48093‐8105
MICHAEL TANE          114 SUNDOWN CIRCLE                                                                                MANSON          NC   27553
MICHAEL TANINECZ      C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS      OH   44236
MICHAEL TANNER        1133 GIDNER RD                                                                                    CHARLOTTE       MI   48813‐9743
MICHAEL TANNER        1725 ARGUS ST                                                            WINDSOR ON CANADA N9J‐
                                                                                               3G5
MICHAEL TANNER        120 RAINBOW DR # 2020                                                                             LIVINGSTON      TX   77399‐1020
MICHAEL TARBURTON     302 RIVERSIDE DR                                                                                  BALTIMORE       MD   21221‐6828
MICHAEL TARRENCE JR   12469 N ELMS RD                                                                                   CLIO            MI   48420‐9485
MICHAEL TATMAN        1229 N SCATTERFIELD RD                                                                            ANDERSON        IN   46012‐1540
MICHAEL TATMON        511 LAUREN AVE                                                                                    BOWLING GREEN   KY   42104‐6441
MICHAEL TAUBITZ       54 CHATEAUX DU LAC                                                                                FENTON          MI   48430‐9140
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Name                  Address1                      Address2              Address3       Address4         City              State Zip
MICHAEL TAUCHER       31168 E AMURCON                                                                     FRASER             MI 48026‐2756
MICHAEL TAURO         4767 SHADIGEE RD                                                                    NEWFANE            NY 14108‐9640
MICHAEL TAYLOR        2107 KEEN AVE                                                                       TOLEDO             OH 43611‐1887
MICHAEL TAYLOR        5480 W JASON RD                                                                     SAINT JOHNS        MI 48879‐9253
MICHAEL TAYLOR        3330 E STATE ROAD 18                                                                GALVESTON          IN 46932‐8872
MICHAEL TAYLOR        317 WINE SAP CIR                                                                    HARVEST            AL 35749‐7956
MICHAEL TAYLOR        8433 HYNE RD                                                                        BRIGHTON           MI 48114‐4956
MICHAEL TAYLOR        32070 HAZELWOOD ST                                                                  WESTLAND           MI 48186‐4931
MICHAEL TAYLOR        332 W RANKIN ST                                                                     FLINT              MI 48505‐4124
MICHAEL TAYLOR        3362 MARATHON RD                                                                    COLUMBIAVILLE      MI 48421‐8974
MICHAEL TAYLOR        1623 DILLON ST                                                                      SAGINAW            MI 48601‐1379
MICHAEL TAYLOR        3324 GRAYLING PL                                                                    TOLEDO             OH 43623‐1912
MICHAEL TAYLOR        3326 N COUNTY ROAD 800 W                                                            GREENCASTLE        IN 46135‐7503
MICHAEL TAYLOR        16155 CREST DR                                                                      LINDEN             MI 48451‐8718
MICHAEL TAYLOR        257 MEADOW LN                                                                       GALION             OH 44833‐2300
MICHAEL TAYLOR        1109 CORA DR                                                                        FLINT              MI 48532‐2723
MICHAEL TAYLOR        20255 NORTHLAWN ST                                                                  DETROIT            MI 48221‐1153
MICHAEL TAYLOR        6345 MOONSTONE DR                                                                   GRAND BLANC        MI 48439‐7810
MICHAEL TAYLOR        3663 HERON RIDGE DR                                                                 ROCHESTER HILLS    MI 48309‐4522
MICHAEL TAYLOR        1434 SUNSET DR                                                                      WOLVERINE LAKE     MI 48390‐2348
MICHAEL TAYLOR        811 BRETTON RD                                                                      LANSING            MI 48917‐2000
MICHAEL TAYLOR        1502 GROVE ARBOR CT                                                                 DACULA             GA 30019‐5023
MICHAEL TAYLOR        8565 E LANDERSDALE RD                                                               CAMBY              IN 46113‐8522
MICHAEL TAYLOR        2476 HUTCHINSON LN                                                                  FLINT              MI 48507‐3827
MICHAEL TAYLOR SR.    734 MORRIS AVE SE                                                                   GRAND RAPIDS       MI 49503‐5324
MICHAEL TAYLOUR       558 BIG BEND DR                                                                     WENRVILLE          MO 63385‐3867
MICHAEL TAYSOM        102 W MAPLE ST                                                                      HOLLY              MI 48442‐1512
MICHAEL TEAGAN        21401 CURRIE RD                                                                     NORTHVILLE         MI 48167‐9717
MICHAEL TEAGUE        1610 SUTTER PL                                                                      RENO               NV 89521‐5164
MICHAEL TEAL          4628 1ST AVE                                                                        LYONS               IL 60534‐1636
MICHAEL TEBEAU        24 BLAINE AVE                                                                       PONTIAC            MI 48342
MICHAEL TEDESCO       890 NANCY AVE                                                                       NILES              OH 44446‐2730
MICHAEL TEDFORD       8300 N BRAY RD                                                                      MOUNT MORRIS       MI 48458‐8929
MICHAEL TEDRAKE       840 CHARRINGTON CT                                                                  MASON              MI 48854‐1373
MICHAEL TEETS         15 E EVENING ROSE WAY                                                               WESTFIELD          IN 46074‐9026
MICHAEL TEFFT         5563 N IONIA RD                                                                     VERMONTVILLE       MI 49096‐8764
MICHAEL TELISZEWSKI   61 BOWERSTOWN RD                                                                    WASHINGTON         NJ 07882‐4121
MICHAEL TELLIS        1461 KIPLING DR                                                                     DAYTON             OH 45406‐4225
MICHAEL TEMBREULL     PO BOX 46                     300 TOWER BAY DRIVE                                   MICHIGAMME         MI 49861‐0046
MICHAEL TEMPLE        21807 E CHIPMUNK TRL                                                                WOODHAVEN          MI 48183‐1507
MICHAEL TEMPLEMAN     7819 KENSINGTON RD                                                                  LAMBERTVILLE       MI 48144‐8680
MICHAEL TEMPLETON     4053 N IRISH RD                                                                     DAVISON            MI 48423‐8945
MICHAEL TEMPLIN       2508 MENTOR PL                                                                      SAINT LOUIS        MO 63144‐2130
MICHAEL TENANT        1789 SPINDLER RD                                                                    HILLIARD           OH 43026‐9611
MICHAEL TENNANT       4330 GRACE AVE                                                                      WAYNE              MI 48184‐1518
MICHAEL TEODORESCU    47124 VALLEY FORGE DR                                                               MACOMB             MI 48044‐4842
MICHAEL TEOLI         33 S OGLE AVE                                                                       WILMINGTON         DE 19805‐1418
MICHAEL TERBOVICH     2067 PARKWOOD DR NW                                                                 WARREN             OH 44485‐2326
MICHAEL TERBRACK      6189 E POTTER RD                                                                    DAVISON            MI 48423‐9526
MICHAEL TERNET        140 DOGWOOD DR                                                                      WARREN             IN 46792‐9260
MICHAEL TERPEZA       6103 MADELINE LN                                                                    CALEDONIA          WI 53108‐9557
MICHAEL TERRELL       8114 COOLSHIRE LN                                                                   HOUSTON            TX 77070‐4202
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Name                  Address1                          Address2                 Address3    Address4                City                 State Zip
MICHAEL TERRILL       6144 10TH ST                                                                                   ZEPHYRHILLS           FL 33542‐3524
MICHAEL TERRY         11443 N LAKE DR                                                                                FENTON                MI 48430‐8846
MICHAEL TERRY         1702 6TH ST                                                                                    WYANDOTTE             MI 48192‐7211
MICHAEL TERRY         173 CREEKVIEW DR E                                                                             RED OAK               TX 75154‐4021
MICHAEL TERRY         3444 PIEDMONT AVE                                                                              BALTIMORE             MD 21216‐2325
MICHAEL TERRY         18231 FILMORE ST                                                                               SOUTHFIELD            MI 48075‐1861
MICHAEL TESCHENDORF   21705 FRAZHO ST                                                                                SAINT CLAIR SHORES    MI 48081‐2856
MICHAEL TETIL         4664 DECKERVILLE RD                                                                            FAIRGROVE             MI 48733‐9521
MICHAEL TETRICK       1933 10TH ST                                                                                   DANVILLE              IN 46122‐9177
MICHAEL TEUBNER       8108 YORK BEACH PL                                                                             ARLINGTON             TX 76002‐3783
MICHAEL TEUTSCH SR    5704 KIRK RD                                                                                   CANFIELD              OH 44406‐8614
MICHAEL TEW           6616 BENNETT LAKE RD                                                                           FENTON                MI 48430‐8920
MICHAEL THACKER       5265 W BARNWOOD DR                                                                             NEW PALESTINE         IN 46163‐9475
MICHAEL THARRETT      120 W MANSFIELD AVE                                                                            PONTIAC               MI 48340‐2658
MICHAEL THAYER        BOX 777                                                                                        NORTH VERNON          IN 47265‐0777
MICHAEL THAYER        11316 S 200 W                                                                                  BUNKER HILL           IN 46914‐9549
MICHAEL THEAKSTON     C/O JON B MUNGER,PLLC             7152 GATEWAY PARK DR                                         CLARKSTON             MI 48346‐2574
MICHAEL THEIS         4691 S RANGE RD                                                                                NEW MIDDLETOWN        OH 44442‐9444
MICHAEL THEIS         9203 NELSON RD                                                                                 PORTLAND              MI 48875‐9772
MICHAEL THEISEN       1423 GREENE ST                                                                                 FORT ATKINSON         WI 53538‐8911
MICHAEL THELEN        12395 PRATT RD                                                                                 WESTPHALIA            MI 48894‐9516
MICHAEL THELEN        908 SHERWOOD CT                                                                                ROCHESTER             MI 48307‐2961
MICHAEL THELEN        156 CLARENDON CIR                                                                              FRANKLIN              TN 37069‐1836
MICHAEL THEODORE      7529 BYRON RD                                                                                  NEW LOTHROP           MI 48460‐9748
MICHAEL THEODORSKI    4700 HAGER RD                                                                                  NASHVILLE             MI 49073‐9601
MICHAEL THERRIEN      401 LALONDE ST                                                         BELLE RIVER ON N0R1A0
                                                                                             CANADA
MICHAEL THIBODEAU     2484 SEBASTIAN DR                                                                              GRAND BLANC          MI   48439‐8159
MICHAEL THIEL         222 LANCEWOOD RD                                                                               COLUMBIA             SC   29210‐7526
MICHAEL THIEL         6304 BUCKSHORE DR                                                                              WHITMORE LAKE        MI   48189‐9109
MICHAEL THIELEMANS    788 SHELLEY DR                                                                                 ROCHESTER HILLS      MI   48307‐4243
MICHAEL THIELEN       4745 MOTORWAY DR                                                                               WATERFORD            MI   48328‐3460
MICHAEL THIEMAN       12645 AIRPORT HWY                                                                              SWANTON              OH   43558‐9386
MICHAEL THIESING      4972 W 15TH ST                                                                                 SPEEDWAY             IN   46224‐6506
MICHAEL THILL         6714 E NORTHRIDGE ST                                                                           MESA                 AZ   85215‐1671
MICHAEL THODOROFF     648 WINTERS EAVE                                                                               FLUSHING             MI   48433‐1947
MICHAEL THOMAS        102 CHATEAU WHISTLER CT                                                                        LAS VEGAS            NV   89149‐2730
MICHAEL THOMAS        3012 E 10TH ST                                                                                 ANDERSON             IN   46012‐4507
MICHAEL THOMAS        1858 S STATE ROUTE 2                                                                           SISTERSVILLE         WV   26175‐9501
MICHAEL THOMAS        2386 EAGLE RIDGE DR                                                                            CENTERVILLE          OH   45459‐7917
MICHAEL THOMAS        620 BARFIELD DR APT 6                                                                          HASTINGS             MI   49058‐2603
MICHAEL THOMAS        516 ARTHURS DR                                                                                 DESOTO               TX   75115‐2953
MICHAEL THOMAS        1601 S 9TH AVE                                                                                 BEECH GROVE          IN   46107‐2545
MICHAEL THOMAS        4704 MILLSBORO RD W                                                                            MANSFIELD            OH   44903‐7759
MICHAEL THOMAS        6074 HUNTERS CREEK RD                                                                          SOUTH WALES          NY   14139‐9740
MICHAEL THOMAS        2372 KNIGHTS HILL LN                                                                           TOLEDO               OH   43614‐1036
MICHAEL THOMAS        109 W RISING ST                                                                                DAVISON              MI   48423‐1517
MICHAEL THOMAS        38880 COUNTRY CIR                 CROSSWINDS OF F. HILLS                                       FARMINGTON HILLS     MI   48331‐1027
MICHAEL THOMAS        10564 FALLS CREEK LN                                                                           CENTERVILLE          OH   45458‐6005
MICHAEL THOMAS        2925 N ALEXANDER AVE                                                                           ROYAL OAK            MI   48073‐3508
MICHAEL THOMAS        830 MEDINAH DR                                                                                 ROCHESTER HILLS      MI   48309‐1033
MICHAEL THOMAS        10056 SEMINOLE                                                                                 REDFORD              MI   48239‐2355
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MICHAEL THOMAS            52944 MUIRFIELD DR                                                                    CHESTERFIELD       MI 48051‐3664
MICHAEL THOMAS            1045 COUNTY ROAD 910                                                                  JOSHUA             TX 76058‐4663
MICHAEL THOMAS            203 W 1ST ST                                                                          LAWSON             MO 64062‐8362
MICHAEL THOMAS            26883 DRISCOLL LN                                                                     NORTH OLMSTED      OH 44070‐2651
MICHAEL THOMAS JENNINGS   C/O WEITZ & LUXENBERG PC           700 BROADWAY                                       NEW YORK CITY      NY 10003
MICHAEL THOMPSON          1733 HONEYSUCKLE DR                                                                   MANSFIELD          OH 44905‐2313
MICHAEL THOMPSON          2746 N PETERSON DR                                                                    SANFORD            MI 48657‐9417
MICHAEL THOMPSON          7426 IVANREST AVE SW                                                                  BYRON CENTER       MI 49315‐8463
MICHAEL THOMPSON          5275 ROBERTS DR                                                                       FLINT              MI 48506‐1553
MICHAEL THOMPSON          1431 COLUMBIA AVE                                                                     PLAINFIELD         NJ 07062‐1753
MICHAEL THOMPSON          289 GOLDENRIDGE DR                                                                    LEVITTOWN          PA 19057‐3427
MICHAEL THOMPSON          11423 E RICHFIELD RD                                                                  DAVISON            MI 48423‐8517
MICHAEL THOMPSON          16238 SUNSET WAY                                                                      LINDEN             MI 48451‐9639
MICHAEL THOMPSON          12493 WHITEHILL ST                                                                    DETROIT            MI 48224‐1097
MICHAEL THOMPSON          50850 WILLIS RD                                                                       BELLEVILLE         MI 48111‐8615
MICHAEL THOMPSON          5030 DOERR RD                                                                         MANCELONA          MI 49659‐9812
MICHAEL THOMPSON          1 DOVER CT                                                                            ORINDA             CA 94563‐3633
MICHAEL THOMPSON          511 E 38TH ST                                                                         ANDERSON           IN 46013‐4901
MICHAEL THOMPSON          100 CANADIAN DR                                                                       SCOTTSBORO         AL 35769‐6041
MICHAEL THOMPSON          2724 MILDA CT                                                                         BEAVERCREEK        OH 45430‐1910
MICHAEL THOMPSON          1776 ARROWHEAD CT                                                                     DEFIANCE           OH 43512‐3355
MICHAEL THOMPSON          2504 MAGELLAN TER                                                                     PUNTA GORDA        FL 33983‐3114
MICHAEL THOMPSON          1046 E YORK AVE                                                                       FLINT              MI 48505‐2270
MICHAEL THOMPSON          3172 OLD FARM RD                                                                      FLINT              MI 48507‐1251
MICHAEL THOMPSON          4418 ALDER DR                                                                         FLINT              MI 48506‐1462
MICHAEL THOMPSON          3268 S KEARSLEY BLVD                                                                  FLINT              MI 48506‐2043
MICHAEL THOMPSON          9071 DODGE RD                                                                         OTISVILLE          MI 48463‐9449
MICHAEL THOMSON           6003 MONTEVIDEO DR UNIT F                                                             LANSING            MI 48917‐3952
MICHAEL THON              1853 ALPENGLOW LN                                                                     LINCOLN            CA 95648‐8475
MICHAEL THORLTON          3115 GOLF CIR                                                                         DANVILLE            IL 61832‐1226
MICHAEL THORNBURG         375 N SMITH RD                                                                        OWOSSO             MI 48867‐8116
MICHAEL THORNE            433 STONE CREST AVE                                                                   BOWLING GREEN      KY 42101‐8868
MICHAEL THORNTON          152 JENNETTE DR                                                                       YOUNGSTOWN         OH 44512‐1547
MICHAEL THORNTON          2140 FORD BLVD                                                                        LINCOLN PARK       MI 48146‐3705
MICHAEL THORNTON          353 FREEMANTLE CT                                                                     SALINE             MI 48176‐9155
MICHAEL THORP             6370 OAKVILLE WALTZ RD                                                                CARLETON           MI 48117‐9534
MICHAEL THORPE            2440 DELWOOD DR                                                                       CLIO               MI 48420‐9183
MICHAEL THRAIN            1000 WALDEN CREEK TRCE STE 31‐1B                                                      SPRING HILL        TN 37174‐6563
MICHAEL THRALL            114 DUNES CT # B                                                                      ATLANTIC BEACH     NC 28512‐7424
MICHAEL THRASHER          10702 MARKET ST                                                                       DEFIANCE           OH 43512‐1210
MICHAEL THROCKMORTON      8307 PRAIRIE WIND LN                                                                  HOUSTON            TX 77040
MICHAEL THURIK            16589 SE 77TH NORTHRIDGE CT                                                           THE VILLAGES       FL 32162‐8358
MICHAEL THURMOND          616 SPRITLAKE CT                                                                      NORTH LAS VEGAS    NV 89032‐1174
MICHAEL TIBBETTS          PO BOX 339                                                                            DALLAS             GA 30132‐0006
MICHAEL TIBBITTS          1680 VALLEY RDG                                                                       ORTONVILLE         MI 48462‐9019
MICHAEL TICK              PO BOX 596225                                                                         FORT GRATIOT       MI 48059‐6225
MICHAEL TIDSWELL          13252 TWIN CREEK LN NE                                                                GREENVILLE         MI 48838‐8332
MICHAEL TIERNAN           PO BOX 27                                                                             AU TRAIN           MI 49806‐0027
MICHAEL TIERNAN
MICHAEL TIERNEY           4247 WINDMILL CT                   REGAL BROOK FARM                                   MEDINA            OH 44256‐6920
MICHAEL TILDEN            13303 BELSAY RD                                                                       MILLINGTON        MI 48746‐9240
MICHAEL TILLERY           106 MEADOWBROOK ST                                                                    CARTHAGE          TX 75633‐2241
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Name                    Address1                             Address2                   Address3             Address4         City               State Zip
MICHAEL TIMKO           6555 DEAN MEMORIAL PARKWAY                                                                            BOSTON HTS          OH 44236
MICHAEL TIMM            1220 MICHIGAN AVE                                                                                     BAY CITY            MI 48708‐8781
MICHAEL TIMMERMAN       14505 SPYGLASS CIRCLE                                                                                 CHOWCHILLA          CA 93610‐7908
MICHAEL TINGLEY         2541 W AUBURN RD                                                                                      ROCHESTER HILLS     MI 48309‐4000
MICHAEL TINNIN          6099 LAKE RD                                                                                          MILLINGTON          MI 48746‐9209
MICHAEL TINTI           1633 WENWOOD PKWY                                                                                     FENTON              MI 48430‐1149
MICHAEL TIPPIN          3505 HERRICK ST                                                                                       FLINT               MI 48503‐6616
MICHAEL TIPTON          238 S CHURCH ST                                                                                       NEW LEBANON         OH 45345‐1330
MICHAEL TIPTON          4884 SEDGEWICK DR                                                                                     DAYTON              OH 45424‐4635
MICHAEL TIRAK           2596 LYDIA ST SW                                                                                      WARREN              OH 44481‐8618
MICHAEL TITSWORTH       3261 MILLINGTON RD                                                                                    MILLINGTON          MI 48746‐9047
MICHAEL TOBIAS          12 SANDY DR                                                                                           NEW MIDDLETOWN      OH 44442‐8734
MICHAEL TOBIAS JR       PO BOX 50392                                                                                          MIDWEST CITY        OK 73140‐5392
MICHAEL TOBIN           28889 E KING WILLIAM DR                                                                               FARMINGTON HILLS    MI 48331‐2540
MICHAEL TOBIN           PO BOX 126                           1852 BUNGO TRAIL                                                 LAKE GEORGE         MI 48633‐0126
MICHAEL TOCKASH         THE LAW OFFICES OF PETER G ANGELOS   100 NORTH CHARLES          22ND FLOOR                            BALTIMORE           MD 21201

MICHAEL TOCKASH         LAW OFFICES OF PETER G. ANGELOS      100 NORTH CHARLES STREET   22ND FLOOR                            BALTIMORE          MD   21201
MICHAEL TODD            425 LAUREL LEAH                                                                                       OXFORD             MI   48371‐6369
MICHAEL TODD            14093 BARRETT MILL RD                                                                                 BAINBRIDGE         OH   45612‐9540
MICHAEL TODD            232 E 300 N                                                                                           ANDERSON           IN   46012‐1206
MICHAEL TODD            12401 STATE ROAD 58 E                                                                                 NORMAN             IN   47264‐8614
MICHAEL TOLBERT         16 LESTER CT                                                                                          PONTIAC            MI   48341‐3022
MICHAEL TOLL            233 N WHITE PINE DR                                                                                   LUDINGTON          MI   49431‐8651
MICHAEL TOMASEK         4949 STARVILLE RD                                                                                     CHINA              MI   48054‐3019
MICHAEL TOMASETTI       45 CHESTNUT LN                                                                                        LEVITTOWN          PA   19055‐1627
MICHAEL TOMBERS         12709 W BEAVER DEN TRL                                                                                LOCKPORT           IL   60491‐9025
MICHAEL TOMCZAK         48564 ROMA VALLEY APT 31‐P                                                                            SHELBY TOWNSHIP    MI   48317
MICHAEL TOMKIEWICZ      30637 APPLE GROVE WAY                                                                                 FLAT ROCK          MI   48134‐2741
MICHAEL TOMPKINS        8208 WILLITS RD                                                                                       FOSTORIA           MI   48435‐9426
MICHAEL TOMSHA          20358 GLORIA DR                                                                                       MACOMB             MI   48044‐6343
MICHAEL TONEY           PO BOX 1192                                                                                           COLUMBIA           TN   38402
MICHAEL TOOLEY          731 JEANNIE LN                                                                                        BELOIT             WI   53511‐2059
MICHAEL TOOLEY          7788 CLIFFVIEW CT                                                                                     DAYTON             OH   45459‐5415
MICHAEL TOPEL           6691 W WOOD RIDGE DR                                                                                  JANESVILLE         WI   53548‐8659
MICHAEL TOPELIAN        10699 DOUGLAS RD                                                                                      TEMPERANCE         MI   48182‐2705
MICHAEL TOPORSKI        1704 S WENONA ST                                                                                      BAY CITY           MI   48706‐5273
MICHAEL TORELLO         308 PEACH TREE AVE                                                                                    LONE JACK          MO   64070‐8154
MICHAEL TORRE           56 RIO GRANDE DR                                                                                      NORTH CHILI        NY   14514‐9760
MICHAEL TORRENTO TTEE   M J TORRENTO AND A TORRENTO REV TR   U/A DTD 07/14/1997         22501 MASONIC BLVD                    ST CLAIR SHORES    MI   48082‐1381

MICHAEL TORRES          2993 MELVIN AVE                                                                                       ROCHESTER HLS      MI   48307‐4867
MICHAEL TORRETTA        12112 W LAYTON AVE                                                                                    GREENFIELD         WI   53228‐3028
MICHAEL TORSIELLO       64B HUDSON PKWY                                                                                       WHITING            NJ   08759‐6304
MICHAEL TOTH            4252 POINTE AUX PEAUX                                                                                 NEWPORT            MI   48166‐9506
MICHAEL TOTH            7110 DUTCH RD                                                                                         SAGINAW            MI   48609‐9579
MICHAEL TOTH            10200 TORREY RD                                                                                       WILLIS             MI   48191‐9777
MICHAEL TOTH            1212 OWANA AVE                                                                                        ROYAL OAK          MI   48067‐5006
MICHAEL TOTH            15 RUSSELL CT                                                                                         E FALLOWFIELD      PA   19320‐4252
MICHAEL TOURVILLE       415 ROWLETTS ST                                                                                       MUNFORDVILLE       KY   42765‐7614
MICHAEL TOUSLEY         919 WAXEN WAY                                                                                         GRAND LEDGE        MI   48837‐2247
MICHAEL TOWARNICKE      PO BOX 42053                                                                                          BROOK PARK         OH   44142‐0053
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Name                  Address1                       Address2            Address3         Address4         City           State Zip
MICHAEL TOWN          6991 LARSON RD                                                                       HUBBARD LAKE    MI 49747‐9619
MICHAEL TOWNSEND      1338 E MADISON DR                                                                    CASA GRANDE     AZ 85222‐3289
MICHAEL TOWNSEND      3317 RENAULT DR                                                                      FLINT           MI 48507‐3363
MICHAEL TOWNSEND      2232 N OAK RD                                                                        DAVISON         MI 48423‐8170
MICHAEL TOWNSEND      2270 CRABAPPLE LN                                                                    LAPEER          MI 48446‐9328
MICHAEL TOWNSEND JR   11825 LOVE RD                                                                        ROSCOE           IL 61073‐9283
MICHAEL TRABALKA      308 E GARY ST                                                                        BAY CITY        MI 48706‐3558
MICHAEL TRACY         845 EAGLE PKWY                                                                       BROWNSBURG      IN 46112‐9782
MICHAEL TRACY         RR E 24465                                                                           CONTINENTAL     OH 45831
MICHAEL TRAGESSER     201 PRAETORIAN CT                                                                    WILMINGTON      OH 45177‐9010
MICHAEL TRAHAN        9062 RAY RD                                                                          GAINES          MI 48436‐9717
MICHAEL TRAHAN        8345 SHERWOOD DR                                                                     GRAND BLANC     MI 48439‐8391
MICHAEL TRAIL         2348 PIONEER DR                                                                      BELOIT          WI 53511‐2549
MICHAEL TRAVIS        2916 EGGERT RD                                                                       TONAWANDA       NY 14150‐8140
MICHAEL TRAVIS        13732 TRIUMPH CT                                                                     HUDSON          FL 34667‐6564
MICHAEL TREADWAY      129 WARD DR                                                                          WINTERSVILLE    OH 43953‐4213
MICHAEL TREADWAY      2552 DAVID ST                                                                        MELVINDALE      MI 48122‐1922
MICHAEL TRECHA        312 GREEN AVE                                                                        BAY CITY        MI 48708‐6887
MICHAEL TREMAIN       5712 WILLOW HWY                                                                      GRAND LEDGE     MI 48837‐8970
MICHAEL TREMBLEY      8485 DEVIN DR                                                                        DAVISON         MI 48423‐2147
MICHAEL TREPKOWSKI    3058 SHILLAIR DR                                                                     BAY CITY        MI 48706‐1324
MICHAEL TRESNAK       6776 ISLES RD                                                                        BROWN CITY      MI 48416‐8649
MICHAEL TRESSLER      1245 CLARK ST                                                                        HOLLAND         OH 43528
MICHAEL TREVINO       3069 BEACHAM DR                                                                      WATERFORD       MI 48329‐4503
MICHAEL TREVORROW     1335 FOREST RIDGE DR                                                                 MILFORD         MI 48381‐4715
MICHAEL TREW          3500 N ORR RD                                                                        HEMLOCK         MI 48626‐9440
MICHAEL TRIMBLE       11445 OLDE WOOD TRL                                                                  FENTON          MI 48430‐4025
MICHAEL TRIMM         4825 HUSTON DR                                                                       ORION           MI 48359‐2134
MICHAEL TRIPP         43845 VICKSBURG CT                                                                   CANTON          MI 48188‐1730
MICHAEL TRIPP         7830 EMERALD RUN RD                                                                  MEDINA          OH 44256‐7757
MICHAEL TRIVETT       13818 CLIFFORD AVE                                                                   CLEVELAND       OH 44135‐1558
MICHAEL TROBAUGH      25491 NORVELL ST                                                                     CHESTERFIELD    MI 48051‐2831
MICHAEL TROEDEL       1907 NORMAND AVENUE                                                                  BOSSIER CITY    LA 71112‐4356
MICHAEL TROIA         6800 STILES RD                                                                       BROWN CITY      MI 48416‐8310
MICHAEL TROMBLEY      6160 PINE CREEK XING                                                                 GRAND BLANC     MI 48439‐9730
MICHAEL TROOP         410 S MAIN ST                                                                        CAPAC           MI 48014‐3719
MICHAEL TROTTA        884 BLACKBIRD GREENSPRING RD                                                         SMYRNA          DE 19977‐9462
MICHAEL TROTTER       5056 HYDE PARK DR                                                                    SWARTZ CREEK    MI 48473‐8234
MICHAEL TROTTER       3621 OAK TREE CIR APT 1403                                                           FORT WORTH      TX 76133‐4744
MICHAEL TROTTO        1677 THOMAS ST                                                                       PORT HURON      MI 48060‐3364
MICHAEL TROTZ         BRUNSBUETTELER DAMM 224
MICHAEL TROWSSE       3801 WATERFORD WAY                                                                   ANTIOCH        TN   37013‐2576
MICHAEL TROY          PO BOX 64                                                                            PERRY          MI   48872‐0064
MICHAEL TROYER        21428 ROAD I18                                                                       CLOVERDALE     OH   45827‐9513
MICHAEL TRUEBLOOD     5308 LIZ LN                                                                          CHESTERFIELD   IN   46017‐9669
MICHAEL TRUEBLOOD     1296 CHURCH CAMP RD                                                                  BEDFORD        IN   47421‐7480
MICHAEL TRUMBLE       157 N IONIA RD                                                                       VERMONTVILLE   MI   49096‐9522
MICHAEL TRUSS         1907 ROBERTS LN NE                                                                   WARREN         OH   44483‐3625
MICHAEL TRUSTY        550 BUNCHBERRY DR                                                                    MAINEVILLE     OH   45039‐8925
MICHAEL TRZCIENSKI    710 LINDA DR                                                                         HARRISON       MI   48625‐9228
MICHAEL TSAO          5662 OAKLEY TER                                                                      IRVINE         CA   92603
MICHAEL TSCHIRHART    13492 VIOLA DR                                                                       STERLING HTS   MI   48312‐4263
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Name                  Address1                       Address2            Address3         Address4         City              State Zip
MICHAEL TUCKER        8135 E CARPENTER RD                                                                  DAVISON            MI 48423‐8961
MICHAEL TUCKER        APT C                          468 SOUTH STREET                                      LOCKPORT           NY 14094‐3940
MICHAEL TUCKER        1691 BACON AVE                                                                       EAST PALESTINE     OH 44413‐1439
MICHAEL TUCKER        4330 HAZEL ST                                                                        CLARKSTON          MI 48348‐1433
MICHAEL TUCKER        1024 PARKWAY BLVD                                                                    ALLIANCE           OH 44601‐3739
MICHAEL TUCKER        4305 STARKEY DR                                                                      MARION             IN 46953‐1682
MICHAEL TUDOR         1274 RAHMIER RD                                                                      MOSCOW MILLS       MO 63362‐2808
MICHAEL TUFNELL       6195 DRUMHELLER RD                                                                   BATH               MI 48808‐9746
MICHAEL TULUMELLO     2679 PEBBLE BEACH DR                                                                 OAKLAND            MI 48363‐2450
MICHAEL TUNK          415 S VAN ETTEN ST                                                                   PINCONNING         MI 48650‐9338
MICHAEL TUOHY         1827 BACK RIVER NECK RD                                                              BALTIMORE          MD 21221‐6401
MICHAEL TUOHY JR      39L WARD PARK                                                                        GRAND ISLAND       NY 14072‐2224
MICHAEL TURANIN JR    108 WALTERS AVE                                                                      FRANKLIN           TN 37067‐2602
MICHAEL TURLEY        6060 HICKORY LN                                                                      DEXTER             MI 48130‐9654
MICHAEL TURNBERGER    107 KINGSTON DR                                                                      BEAR               DE 19701‐1524
MICHAEL TURNER        LOT 22E                        1202 N 650 W                                          ANDERSON           IN 48011‐9125
MICHAEL TURNER        2135 BLACKMORE ST                                                                    SAGINAW            MI 48602‐3646
MICHAEL TURNER        6321 N CURTIS DR                                                                     EVANSVILLE         WI 53536‐8352
MICHAEL TURNER        5820 HILLSBORO RD                                                                    DAVISBURG          MI 48350‐3619
MICHAEL TURNER        620 CHARLES LN                                                                       SPRING HILL        TN 37174‐7351
MICHAEL TURNER        PO BOX 43                                                                            YODER              IN 46798‐0043
MICHAEL TURNER        3251 W SUTTON RD                                                                     LAPEER             MI 48446‐9703
MICHAEL TURNER        7557 SHETLAND DR                                                                     SAGINAW            MI 48609‐4273
MICHAEL TURNER        1404 ALCONA DR                                                                       BURTON             MI 48509‐2004
MICHAEL TURNWALD      2400 INDIAN RD                                                                       LAPEER             MI 48446‐8081
MICHAEL TURPIN        PO BOX 135                                                                           GILLSVILLE         GA 30543‐0135
MICHAEL TURSKI        2277 BUNKER HILL RD                                                                  ROCHESTER HILLS    MI 48309‐2934
MICHAEL TUTTLE        16695 W WESTERN RESERVE RD                                                           BERLIN CENTER      OH 44401‐9705
MICHAEL TUTTLE        APT 44                         739 LOUISA STREET                                     LANSING            MI 48911‐5148
MICHAEL TUTTLE        9854 STODDARD RD                                                                     ADRIAN             MI 49221‐9438
MICHAEL TUTTLE        10126 W SKINNER RD                                                                   BELOIT             WI 53511‐8141
MICHAEL TUTTLE        1166 PARMA CORNER HILTON RD                                                          HILTON             NY 14468
MICHAEL TVAROCH       1608 DIFFORD DR                                                                      NILES              OH 44446‐2845
MICHAEL TWAREK        10273 E BAYSHORE RD                                                                  MARBLEHEAD         OH 43440‐2312
MICHAEL TWAROZYNSKI   2301 W HURON RD                                                                      STANDISH           MI 48658‐9222
MICHAEL TWOHILL       547 KEEPATAW DR                                                                      LEMONT              IL 60439‐4357
MICHAEL TYLER         106 RIDGE ST N                                                                       MONROEVILLE        OH 44847‐9428
MICHAEL TYLER         4341 KENTWOOD AVE                                                                    FLINT              MI 48507‐3520
MICHAEL TYLER         1704 DENLEY AVE                                                                      CLEVELAND          OH 44109‐3034
MICHAEL TYMA          1839 ALVERNE DR                                                                      POLAND             OH 44514‐1406
MICHAEL TYRELL        1660 KLOCKNER RD APT 1                                                               TRENTON            NJ 08619‐3107
MICHAEL TYRKA         101 DALEVIEW CIRCLE                                                                  DECATUR            AL 35603
MICHAEL TYRPAK
MICHAEL TYSICK        5320 SCHOTT RD                                                                       MAYVILLE          MI   48744‐9704
MICHAEL UHL           2224 LYNN RD                                                                         SANFORD           MI   48657‐9273
MICHAEL UHLICH        244 MILL POND DR                                                                     SAINT CLOUD       FL   34769‐6314
MICHAEL UHLIN         19 E QUARRY ST                                                                       NEWTON FALLS      OH   44444‐1640
MICHAEL UHRAIN        890 BRISTOL CHAMP TOWN LINE                                                          BRISTOLVILLE      OH   44402
MICHAEL ULMAN         2303 E MORNINGSIDE DR                                                                HENDERSONVILLE    NC   28791‐1756
MICHAEL ULRICH        3243 ALGONQUIN PKWY                                                                  TOLEDO            OH   43606‐2106
MICHAEL ULRICH        PO BOX 6325                                                                          PLYMOUTH          MI   48170‐0333
MICHAEL UMBARGER      2535 PEMBROKE RD                                                                     BIRMINGHAM        MI   48009‐7511
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Name                  Address1                        Address2                     Address3   Address4         City           State Zip
MICHAEL UNDERWOOD     5001 W FLORIDA AVE SPC 696                                                               HEMET           CA 92545‐3898
MICHAEL UNDERWOOD     PO BOX 589                                                                               GLOBE           AZ 85502‐0589
MICHAEL UNGER         2159 ANTRIM DR                                                                           DAVISON         MI 48423‐8438
MICHAEL UNGER         2401 HUNTERS CREEK RD                                                                    METAMORA        MI 48455‐9351
MICHAEL UNGVARSKY     3875 MAIDEN ST                                                                           WATERFORD       MI 48329‐1046
MICHAEL UNWIN         909 VIRGINIA ST                                                                          PLYMOUTH        MI 48170‐1921
MICHAEL UPCHURCH      6420 HERON PARK WAY                                                                      CLARKSTON       MI 48346‐4803
MICHAEL UPLINGER      43 AUBURN AVE                                                                            SHELBY          OH 44875‐1121
MICHAEL UPSHAW        1500 ROSEWOOD DR APT B9                                                                  COLUMBIA        TN 38401‐4880
MICHAEL URBAN         12096 POWDERHORN TRL                                                                     OTISVILLE       MI 48463‐9762
MICHAEL URBANIK       3142 RIPPLE WAY                                                                          WHITE LAKE      MI 48383‐3273
MICHAEL URDA          12666 GRAYFIELD ST                                                                       DETROIT         MI 48223‐3070
MICHAEL URIBE         2275 WIXOM TRL                                                                           MILFORD         MI 48381‐2583
MICHAEL URICEK        2103 COVERT RD                                                                           BURTON          MI 48509‐1010
MICHAEL UTECHT        31 ROSWELL AVE                                                                           BUFFALO         NY 14207‐1038
MICHAEL UTSEY         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS      OH 44236
MICHAEL UTT           111 N CHARLOTTE ST                                                                       SUGAR CREEK     MO 64054‐1333
MICHAEL UZZELL        2162 GLENCOE RD                                                                          CULLEOKA        TN 38451‐2153
MICHAEL V BADER       892 OAKNOLL DR                                                                           SPRINGBORO      OH 45066
MICHAEL V BAKER       5229 BUCKS RD.                                                                           DAYTON          OH 45407
MICHAEL V BOUGHNER    166 W BEVERLY AVE                                                                        PONTIAC         MI 48340‐2620
MICHAEL V FINLEY      1920 SUNNY RIDGE RD N                                                                    DAYTON          OH 45414
MICHAEL V FULLER      5635 AUSTIN GARNER RD                                                                    BUFORD          GA 30518‐2101
MICHAEL V JAMISON     7705 WOODWARD AVE                                                                        DETROIT         MI 48202‐2819
MICHAEL V MCGARRY     8552 N.LIMA RD.                                                                          POLAND          OH 44514‐2908
MICHAEL V MILAM       5712 EDGEPARK DR                                                                         BROOK PARK      OH 44142‐1026
MICHAEL V PICKETT     101 BRIARS DR #201                                                                       CLINTON         MS 39056‐3574
MICHAEL V PLACE       53 COUNTRY PLACE CT                                                                      XENIA           OH 45385‐8701
MICHAEL V RUSSO       63 SUMMIT HILL DR                                                                        ROCHESTER       NY 14612‐3827
MICHAEL V SCHNEIDER   216 W KENNETT RD                                                                         PONTIAC         MI 48340‐2652
MICHAEL VACCARIELLO   209 E OVERLOOK DR                                                                        EASTLAKE        OH 44095‐1110
MICHAEL VACKETTA      20348 WOODHILL DR                                                                        NORTHVILLE      MI 48167‐3041
MICHAEL VACULIK       1‐8696‐T                                                                                 LYONS           OH 43533
MICHAEL VADAS         3400 ALMERINDA DR                                                                        CANFIELD        OH 44406‐9203
MICHAEL VADAS         66 WESTMINSTER AVE                                                                       AUSTINTOWN      OH 44515‐2918
MICHAEL VAGMAN
MICHAEL VAGO          7065 W THORNAPPLE DR                                                                     JANESVILLE     WI   53548‐8772
MICHAEL VAHEY         19 NORWOOD CT                                                                            MEDFORD        NJ   08055‐9375
MICHAEL VALENTI       59 MORNING GLORY LN                                                                      ROCHESTER      NY   14626‐4731
MICHAEL VALENTI       2440 SE OCEAN BLVD                                                                       STUART         FL   34996‐3316
MICHAEL VALENTINE     2549 E STOTTLER DR                                                                       GILBERT        AZ   85296‐8837
MICHAEL VALENTINE     4099 MILNER RD                                                                           STOCKBRIDGE    MI   49285‐9782
MICHAEL VALENTINE     3513 MILL CREEK DR                                                                       LAKE ORION     MI   48360‐1566
MICHAEL VALERIO       61 ORCHARD HILL RD                                                                       KATONAH        NY   10536‐3023
MICHAEL VALKO         620 TRINWAY DR                                                                           TROY           MI   48085‐3122
MICHAEL VALLEJOS      403 LOOKOUT DR                                                                           COLUMBIA       TN   38401‐6146
MICHAEL VALLET        LOT 62 MERRY LN                                                                          MOUNT MORRIS   MI   48458
MICHAEL VALUS         5230 LIN HILL DR                                                                         SWARTZ CREEK   MI   48473‐8872
MICHAEL VAN CAMP      5184 VAN VLEET RD                                                                        SWARTZ CREEK   MI   48473‐8526
MICHAEL VAN GORDEN    5101 N OLIVE ST                                                                          KANSAS CITY    MO   64118‐6208
MICHAEL VAN HORN      46 N GARFIELD RD                                                                         LINWOOD        MI   48634‐9814
MICHAEL VAN NORMAN    12253 MARGARET DR                                                                        FENTON         MI   48430‐8805
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Name                     Address1                      Address2                  Address3   Address4         City              State Zip
MICHAEL VAN PROEYEN      18243 TERESA DR                                                                     MACOMB             MI 48044‐1681
MICHAEL VAN SLYKE        1657 E RATTALEE LAKE RD                                                             HOLLY              MI 48442‐8578
MICHAEL VAN VLACK        19280 HWY 152 LACYGNE                                                               LACYGNE            KS 66040
MICHAEL VANALLEN         10261 ROYAL EAGLE LN                                                                HIGHLANDS RANCH    CO 80129‐6282
MICHAEL VANBUSKIRK       5317 W DODGE RD                                                                     CLIO               MI 48420‐8535
MICHAEL VANCIL           1505 CANTERBURY ST                                                                  ADRIAN             MI 49221‐1855
MICHAEL VANDAELE         6648 JOUSMA CT SE                                                                   CALEDONIA          MI 49316‐8021
MICHAEL VANDEN BOSSCHE   1885 VIOLA DR                                                                       ORTONVILLE         MI 48462‐8847
MICHAEL VANDERLIP        804 GEORGIA ST                                                                      WILLIAMSTON        MI 48895‐1614
MICHAEL VANEK            4977 S RIDGESIDE CIR                                                                ANN ARBOR          MI 48105‐9447
MICHAEL VANFOSSAN        800 HUNTERBORO CT                                                                   BRENTWOOD          TN 37027‐6102
MICHAEL VANHURK          5026 PALOMAR DR                                                                     FLINT              MI 48507‐4534
MICHAEL VANLOOCKE        6153 STAMP HWY                                                                      BLISSFIELD         MI 49228‐9603
MICHAEL VANPATTEN        951 NEW RD                                                                          AMHERST            NY 14228‐1534
MICHAEL VANSUMEREN       5850 AVALON DR                                                                      PINCONNING         MI 48650‐8410
MICHAEL VARANA           40535 VILLAGE WOOD RD                                                               NOVI               MI 48375‐4564
MICHAEL VARDON           8098 LONGVIEW DR                                                                    CLARKSTON          MI 48348‐3966
MICHAEL VAREHA           41496 N DESERT WINDS DR                                                             CAVE CREEK         AZ 85331‐7701
MICHAEL VARGA            2472 N SEYMOUR RD                                                                   FLUSHING           MI 48433‐9741
MICHAEL VARGO            2271 OXLEY DR                                                                       WATERFORD          MI 48328‐1834
MICHAEL VARGO            255 W ROSS CT                                                                       HIGHLAND           MI 48357‐3667
MICHAEL VARNER           8517 LENNON RD                                                                      SWARTZ CREEK       MI 48473‐9716
MICHAEL VARNER           201 MESQUITE ST                                                                     BURKBURNETT        TX 76354‐2602
MICHAEL VASAS            3319 DALE AVE                                                                       FLINT              MI 48506‐4709
MICHAEL VASILOVCIK       552 INTERVALE DR                                                                    HIGHLAND           MI 48357‐2865
MICHAEL VAUGHAN          138 NEW BETHEL CHURCH RD                                                            DAWSONVILLE        GA 30534‐4512
MICHAEL VAUGHN           2113 CHISHOLM TRL                                                                   GRAND PRAIRIE      TX 75052‐1724
MICHAEL VAUGHN           7429 ALEXANDER ST                                                                   MOUNT MORRIS       MI 48458‐2904
MICHAEL VAUGHN           803 TAYWOOD RD                                                                      ENGLEWOOD          OH 45322‐1824
MICHAEL VAYRE            3111 LUTHER RD                                                                      SAGINAW            MI 48603‐3272
MICHAEL VEDDER           8798 N WHEATON RD                                                                   CHARLOTTE          MI 48813‐8629
MICHAEL VEDRODY          11395 ANDERSONVILLE RD                                                              DAVISBURG          MI 48350‐3136
MICHAEL VELANDRA         1028 BREYMAN HWY                                                                    TIPTON             MI 49287‐9740
MICHAEL VELASQUEZ        10037 BEACHY AVE                                                                    ARLETA             CA 91331‐5001
MICHAEL VELASQUEZ        11201 HERRICK AVE                                                                   PACOIMA            CA 91331‐1922
MICHAEL VELLIKY          7560 LEDGEWOOD DR                                                                   FENTON             MI 48430‐9225
MICHAEL VENESKEY         14430 DRAKE RD                                                                      STRONGSVILLE       OH 44136‐7930
MICHAEL VENIA            4854 CLEGG RD                                                                       OTTAWA LAKE        MI 49267‐9537
MICHAEL VENTRESCO        904 BRINTON AVE                                                                     PITCAIRN           PA 15140‐1234
MICHAEL VERBANOVIC       APT 91                        6841 LOCKWOOD BOULEVARD                               YOUNGSTOWN         OH 44512‐3927
MICHAEL VERGON           17127 TELEGRAPH CREEK DR                                                            SPRING             TX 77379‐4837
MICHAEL VERHOFF          17460 ROAD K                                                                        OTTAWA             OH 45875‐9445
MICHAEL VERKEYN          7958 FLAGSTAFF ST                                                                   COMMERCE TWP       MI 48382‐2327
MICHAEL VERNIERI         1230 CELLAR AVE APT 7                                                               CLARK              NJ 07066‐2043
MICHAEL VESCO            4002 CHIEFTAN RD                                                                    IRWIN              PA 15642‐8022
MICHAEL VESPA            23271 HARMON ST                                                                     ST CLAIR SHRS      MI 48080‐3209
MICHAEL VEST             1932 E CARDINAL DR                                                                  ALBANY             IN 47320‐1421
MICHAEL VETITOE          4324 MMCKENNA DR                                                                    ADRIAN             MI 49221‐9019
MICHAEL VETOR            1626 NE 9TH ST                                                                      MOORE              OK 73160‐7956
MICHAEL VEZINA           209 SAINT IVES N                                                                    LANSING            MI 48906‐1528
MICHAEL VICARI           39369 QUINN DR                                                                      STERLING HTS       MI 48310‐2447
MICHAEL VICHINSKY        17369 N MI STATE ROAD 52                                                            CHELSEA            MI 48118‐9468
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Name                  Address1                        Address2            Address3         Address4         City                  State Zip
MICHAEL VICKERY       3070 GRANT RD                                                                         ROCHESTER HLS          MI 48309‐4107
MICHAEL VICKERY       2220 W 650 S                                                                          LEBANON                IN 46052‐9489
MICHAEL VIEAU II      44743 DELAWARE CT                                                                     CLINTON TOWNSHIP       MI 48038‐1071
MICHAEL VIG           14076 NORTH RD                                                                        FENTON                 MI 48430‐1331
MICHAEL VIKE          2317 S ARCH ST                                                                        JANESVILLE             WI 53546‐6125
MICHAEL VILAND        9834 LOVELAND ST                                                                      LIVONIA                MI 48150‐2784
MICHAEL VILLAGE       3076 NILES CARVER RD                                                                  MC DONALD              OH 44437‐1222
MICHAEL VINCELLI      302 PARMA VIEW DR                                                                     HILTON                 NY 14468
MICHAEL VINCENT       4402 GRAND BLANC RD                                                                   SWARTZ CREEK           MI 48473‐9150
MICHAEL VINCENT       19550 NORTHRIDGE DR                                                                   NORTHVILLE             MI 48167‐2912
MICHAEL VINCENT       3903 COLLINGWOOD AVE SW                                                               WYOMING                MI 49519‐3610
MICHAEL VINH          882 S MAIN ST                                                                         ATTLEBORO              MA 02703‐6221
MICHAEL VINOVRSKI     2078 PARKER BLVD                                                                      TONAWANDA              NY 14150‐8146
MICHAEL VINOVRSKI     121 ULLMAN ST                                                                         BUFFALO                NY 14207‐1150
MICHAEL VIOLA         17394 SHINNECOCK DR                                                                   MACOMB                 MI 48042‐1147
MICHAEL VIOLETTE      205 CAMPUS LAKES CT                                                                   BEL AIR                MD 21015‐1724
MICHAEL VIRKSTIS      0‐129098TH AVE NW                                                                     GRAND RAPIDS           MI 49544
MICHAEL VIROSTICK     50061 LEXINGTON AVE E 89LIBE                                                          SHELBY TOWNSHIP        MI 48317
MICHAEL VISNAW        9381 MORRISH RD                                                                       MONTROSE               MI 48457‐9016
MICHAEL VITELLI       PO BOX 2488                                                                           YOUNGSTOWN             OH 44509‐0488
MICHAEL VIVIAN        PO BOX 491                                                                            WILLIS                 MI 48191‐0491
MICHAEL VIVIANO       10555 CEDAR VALLEY DR                                                                 DAVISBURG              MI 48350‐1106
MICHAEL VLAIKU        207 FAWN MEADOWS AVE                                                                  NORTH JACKSON          OH 44451‐8738
MICHAEL VLASIC        PO BOX 899                                                                            PRUDENVILLE            MI 48651‐0899
MICHAEL VLAUN         9 KENTON PL                                                                           MOUNT LAUREL           NJ 08054‐2644
MICHAEL VOGEL         9352 COUNTY ROAD H                                                                    MONTPELIER             OH 43543‐9624
MICHAEL VOGT          1261 EDMUNDTON DR                                                                     GROSSE POINTE WOODS    MI 48236‐1232
MICHAEL VOJTKO        814 COLLAR PRICE RD NE                                                                BROOKFIELD             OH 44403‐9522
MICHAEL VOJTKO JR     221 ARTHUR ST                                                                         LINDEN                 NJ 07036‐3503
MICHAEL VOLIKAS       1405 S WEBSTER ST                                                                     KOKOMO                 IN 46902‐6364
MICHAEL VOLKERT       10690 FOUNTAIN STREET RD                                                              MARK CENTER            OH 43536‐9731
MICHAEL VOLLMER       5514 SAN PEDRO DR                                                                     TOLEDO                 OH 43612‐3343
MICHAEL VON LINSOWE   24277 CRESCENT ST                                                                     WOODHAVEN              MI 48183‐3730
MICHAEL VON WRYEZA    499 E SHUEY AVE                                                                       MACCLENNY              FL 32063‐2227
MICHAEL VORHIES       1 BLUE SPRUCE LN                                                                      FLINT                  MI 48506‐5267
MICHAEL VOSCHENKO     16 SYDOR AVE                                                                          JACKSON                NJ 08527‐3725
MICHAEL VOSTERS       13920 COON HOLLOW RD                                                                  THREE RIVERS           MI 49093‐9559
MICHAEL VOUTSAS       23 HIGH WOOD RD                                                                       BLOOMFIELD             CT 06002‐2113
MICHAEL VOZAR         5151 MORRISH RD                                                                       SWARTZ CREEK           MI 48473‐1356
MICHAEL VREDEVELD     3279 MEADOW GLEN DR                                                                   HUDSONVILLE            MI 49426‐9015
MICHAEL W ALFONSI     20507 ALEXANDER ST                                                                    SAINT CLAIR SHORES     MI 48081‐1785
MICHAEL W ARVIN       143 36TH ST SE                                                                        LARGO                  FL 33771‐2609
MICHAEL W BACHER      5887 LEWISBURG OZIAS RD                                                               LEWISBURG              OH 45338‐7725
MICHAEL W BAILEY      10 TRI CITY MOBILE HOME PARK                                                          NEWCASTLE              OK 73065‐4154
MICHAEL W BAKER       1852 SADDLE HORN DR                                                                   CANANDAIGUA            NY 14424
MICHAEL W BALLINGER   2719 LEBANON RD                                                                       LEBANON                OH 45036‐8796
MICHAEL W BARR        17770 CEDAR MOUNTAIN DR                                                               RENO                   NV 89508‐9805
MICHAEL W BELL        7130 N WYOMING AVE                                                                    KANSAS CITY            MO 64118‐8351
MICHAEL W BERRY       1229 GREYSTONE CIR 1ST                                                                DAYTON                 OH 45414
MICHAEL W BLAMA       4536 WARWICK DR N                                                                     CANFIELD               OH 44406
MICHAEL W BOWEN       906 E RIVER RD                                                                        FLUSHING               MI 48433‐2223
MICHAEL W BRUTON      417 2ND ST SW                                                                         WARREN                 OH 44483‐6405
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Name                     Address1                       Address2                     Address3   Address4         City            State Zip
MICHAEL W BUSBY          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY, STE 600                               HOUSTON          TX 77007
                         BOUNDAS, LLP
MICHAEL W CATES          34452 PARKGROVE DR                                                                      WESTLAND        MI   48185
MICHAEL W CHRISTNER      1196 W WELLMAN LINE RD                                                                  MELVIN          MI   48454‐9771
MICHAEL W CLAYBOURN      1 PRINGLE AVE                                                                           BATAVIA         NY   14020
MICHAEL W COLEY          2304 SW 122ND ST                                                                        OKLAHOMA CITY   OK   73170‐4826
MICHAEL W COLLINS        270 UNION HILL RD                                                                       MANALAPAN       NJ   07726‐1863
MICHAEL W COOK           205 N WISTERIA ST                                                                       MANSFIELD       TX   76063‐1837
MICHAEL W COPEMAN        PO BOX 321123                                                                           FLINT           MI   48532‐0020
MICHAEL W COTES          34452 PARKGROVE DR                                                                      WESTLAND        MI   48185
MICHAEL W COX            112 COPPERFIELD DR                                                                      DAYTON          OH   45415‐1263
MICHAEL W CZAPSKI        30461 HOY ST                                                                            LIVONIA         MI   48154‐3613
MICHAEL W DAVENPORT      120 BROWN AVE                                                                           FAIRBORN        OH   45324
MICHAEL W DAVIS          C/O WILLIAMS KHERKHER HART &   8441 GULF FREEWAY STE 600                                HOUSTON         TX   77007
                         BOUNDAS LLP
MICHAEL W DAY            5845 BARRETT DRIVE                                                                      DAYTON          OH   45431‐2215
MICHAEL W DEATON         4318 WALBRIDGE TRAIL                                                                    DAYTON          OH   45430
MICHAEL W DECK           9708 MIAMISBURG‐SPRINGBORO                                                              MIAMISBURG      OH   45342‐4764
MICHAEL W DEPP           850 GENESEE AVE NE                                                                      WARREN          OH   44483‐‐ 42
MICHAEL W DUSING         125 HELEN ST                                                                            CHEEKTOWAGA     NY   14206‐2618
MICHAEL W DUSSAULT       10248 LEV AVE                                                                           ARLETA          CA   91331‐4471
MICHAEL W EASTER         1001 N VAN BUREN ST                                                                     BAY CITY        MI   48708‐6075
MICHAEL W FLOYD          1138 FISK ST SE                                                                         GRAND RAPIDS    MI   49507‐1412
MICHAEL W GIRLING        43 FAIRCHILD PL                                                                         BUFFALO         NY   14216‐2726
MICHAEL W GUNTHER SR     108 FLORIDA RD N                                                                        SYRACUSE        NY   13211‐1604
MICHAEL W HARVEY         1009 WILLOWDALE AVE                                                                     KETTERING       OH   45429
MICHAEL W HAYES          1373 NUTWOOD                                                                            CENTERVILLE     OH   45458‐5109
MICHAEL W HENSLEY, JR.   8442 N. US 42                                                                           WAYNESVILLE     OH   45068
MICHAEL W HOPKINS        2974 EASTRIDGE DRIVE                                                                    MARION          IN   46953
MICHAEL W HOWARD         1718 OHIO AVE                                                                           FLINT           MI   48506‐4339
MICHAEL W HUGHES         485 BURNSIDE DR.                                                                        TIPP CITY       OH   45371
MICHAEL W HUNTWORK       4781 HILLSBORO RD                                                                       DAVISBURG       MI   48350‐3816
MICHAEL W JACKSON        5682 SODERQUIST RD                                                                      MANCELONA       MI   49659‐8684
MICHAEL W JENNINGS       5574 NEW BURLINGTON RD.                                                                 WILMINGTON      OH   45177‐9031
MICHAEL W JERGE          88 SUNSET STREET                                                                        ROCHESTER       NY   14606
MICHAEL W JOHNSON        429 W FLINT PARK BLVD                                                                   FLINT           MI   48505‐6310
MICHAEL W JONES          775 SUPERIOR AVE                                                                        SALEM           OH   44460
MICHAEL W JONES          1516 GREENSLEAVE CIR                                                                    HUBBARD         OH   44425
MICHAEL W KALINSKI       2517 JANELLE DR                                                                         SPARKS          NV   89431‐2441
MICHAEL W KAPPELER       359 SAIL BOAT RUN                                                                                       OH   45458
MICHAEL W KELOW          177 FAVA DR                                                                             GREENVILLE      MS   38701‐7305
MICHAEL W KENNISON       140 BROOK HILL LN                                                                       TROY            MO   63379‐3465
MICHAEL W KILBURN        330 LANTIS DR                                                                           CARLISLE        OH   45005‐3251
MICHAEL W KISTHARDT      1735 MAPLEWOOD LANE                                                                     ALLENTOWN       PA   18103
MICHAEL W KLOS           854 DONORA                                                                              VANDALIA        OH   45377‐2818
MICHAEL W KRAPF          1167 BROOKVIEW AVE                                                                      KETTERING       OH   45409
MICHAEL W LAMPOS TRUST   16491 RIVERWIND DR                                                                      JUPITER         FL   33477
MICHAEL W LANCE          323 DALTON RD                                                                           STONEWALL       LA   71078‐9535
MICHAEL W LUECK          9318 S SPRINGHILL LN                                                                    FRANKLIN        WI   53132
MICHAEL W MARKOWSKI      1341 SOUTHERN BLVD NW                                                                   WARREN          OH   44485‐2045
MICHAEL W MARTIN         1371 DUNCAN AVE                                                                         YPSILANTI       MI   48198‐5924
MICHAEL W MAXWELL        8330 E JEFFERSON AVE APT 709                                                            DETROIT         MI   48214‐2741
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Name                                  Address1                         Address2                      Address3                 Address4             City              State Zip
MICHAEL W MCMURREN                    2201 BRYANT ST                                                                                               MIDDLETOWN         OH 45042‐2639
MICHAEL W MILLS                       1902 BECKERT DRIVE                                                                                           PIQUA              OH 45356‐4404
MICHAEL W NICHOLS
MICHAEL W O'DELL                      150 LAKESIDE ST                                                                                              PONTIAC           MI   48340‐2527
MICHAEL W ONDER                       8683 WARWICK DRIVE                                                                                           WARREN            OH   44484‐3060
MICHAEL W PETRO                       9221 BALTIMORE PHILLISPBURG                                                                                  BROOKVILLE        OH   45309‐9680
MICHAEL W POWERS                      110 E 3RD ST                                                                                                 TILTON            IL   61833‐7407
MICHAEL W REACH                       C/O WILLIAMS KHERKHER HART &     8441 GULF FREEWAY STE 600                                                   HOUSTON           TX   77007
                                      BOUNDAS LLP
MICHAEL W REED                        PO BOX 2781                                                                                                  DETROIT           MI 48202‐0781
MICHAEL W RICKARD                     WEITZ & LUXENBERG P C            700 BROADWAY                                                                NEW YORK          NY 10003
MICHAEL W ROEHRIG, LIV TRUST UA DTD   MICHAEL W ROEHRIG, TRUSTEE       21100 MICHAEL CT                                                            ST CLAIR SHORES   MI 48081
4/13/96
MICHAEL W RUSSELL                     MICHAEL W RUSSELL                BARON & BUDD PC               THE CENTRUM SUITE 1100   3102 OAK LAWN AVE    DALLAS            TX   75219‐4281
MICHAEL W SCHAEFFER                   3646 ECHO HILL LANE                                                                                          BEAVERCREEK       OH   45430‐1720
MICHAEL W SCHOULTEN                   271 E LAMBERT RD                                                                                             LA HABRA          CA   90631‐6132
MICHAEL W SHELTON                     2001 HILL AVE                                                                                                MIDDLETOWN        OH   45044
MICHAEL W SHIVERDECKER                98 NIMITZ DR                                                                                                 RIVERSIDE         OH   45431
MICHAEL W SIMPSON                     5227KYLESTATION                                                                                              HAMILTON          OH   45011‐2412
MICHAEL W SMITH                       425 S 2ND ST                                                                                                 MIAMISBURG        OH   45342
MICHAEL W SMITH                       EMBRY & NEUSNER                  PO BOX 1409                                                                 GROTON            CT   06340
MICHAEL W SMITH                       265 S FORD BLVD                                                                                              YPSILANTI         MI   48198‐6066
MICHAEL W STALLINGS                   1728 KINGSTON RD                                                                                             DEFORD            MI   48729
MICHAEL W STUART                      104 FAIRINGTON                                                                                               TROY              IL   62294
MICHAEL W TANKSLEY                    1612 #B MARS HILL DR.                                                                                        DAYTON            OH   45449‐3127
MICHAEL W TANKSLEY                    620 CHERRY HILL DR APT C                                                                                     MIAMISBURG        OH   45342
MICHAEL W TEEPLE                      33 W RUTGERS AVE                                                                                             PONTIAC           MI   48340‐2755
MICHAEL W TEUBNER                     8108 YORK BEACH PL                                                                                           ARLINGTON         TX   76002‐3783
MICHAEL W THIESS                      487 CHESTNUT STREET                                                                                          MEADVILLE         PA   16335‐4407
MICHAEL W THOMPSON                    9071 DODGE RD                                                                                                OTISVILLE         MI   48463‐9449
MICHAEL W TOBIAS JR                   PO BOX 50392                                                                                                 MIDWEST CITY      OK   73140‐5392
MICHAEL W TODARO                      283 PARKEDGE AVE                                                                                             TONAWANDA         NY   14150‐7820
MICHAEL W TODD                        C/O WILLIAMS KHERKHER HART AND   8441 GULF FREEWAY STE 600                                                   HOUSTON           TX   77007
                                      BOUNDAS LLP
MICHAEL W TRAIL                       190 ELEU PL                                                                                                  KIHEI             HI   96753
MICHAEL W VANEPPS                     905 3RD ST                                                                                                   BAY CITY          MI   48708‐6010
MICHAEL W WADE                        1036 E. MAPLE AVE                                                                                            MIAMISBURG        OH   45342‐2514
MICHAEL W WARDEN                      658 KANSAS AVE                                                                                               YPSILANTI         MI   48198‐6131
MICHAEL W WEBSTER SR                  317 ERNST AVE                                                                                                DAYTON            OH   45405‐3450
MICHAEL W WILDING                     12269 LINDEN RD                                                                                              LINDEN            MI   48451‐9483
MICHAEL W WILSON                      3657 WEAVER FT JEFFERSON RD                                                                                  GREENVILLE        OH   45331
MICHAEL W WILSON                      9721 KEMPWOOD DR 1304                                                                                        HOUSTON           TX   77080‐3905
MICHAEL W. DAY                        875 MAHOGANY DR.                                                                                             MINDEN            NV   89423
MICHAEL WACHOWSKI                     53912 SCARBORO WAY                                                                                           SHELBY TOWNSHIP   MI   48316‐1230
MICHAEL WACKERLE                      72 OLD KAWKAWLIN ROAD                                                                                        BAY CITY          MI   48706‐2117
MICHAEL WADDELL                       6310 CRAB APPLE ST                                                                                           CLARKSTON         MI   48346‐1616
MICHAEL WADDELL                       THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                                 HOUSTON           TX   77017
MICHAEL WADDLE                        101 CHICORY DR                                                                                               ANDERSONVILLE     TN   37705‐3031
MICHAEL WADE                          18621 DEAN ST                                                                                                DETROIT           MI   48234‐2023
MICHAEL WADE                          3416 CRABAPPLE LN                                                                                            JANESVILLE        WI   53548‐5813
MICHAEL WADE                          1036 E MAPLE AVE                                                                                             MIAMISBURG        OH   45342‐2514
MICHAEL WADE                          2927 WHEELER HWY                                                                                             CLAYTON           MI   49235‐9527
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Name                Address1                          Address2          Address3         Address4            City            State Zip
MICHAEL WADE        39076 CLOCKTOWER DR                                                                      ROMULUS          MI 48174‐5318
MICHAEL WADSWORTH   11426 LAPEER RD                                                                          DAVISON          MI 48423‐8184
MICHAEL WAECHTER    3980 AMHURST DR                                                                          HERMITAGE        PA 16148‐5412
MICHAEL WAEDT       FRIEDHOFSTR 19                                                       51588 NUEMBRECHT
                                                                                         GERMANY
MICHAEL WAGAMAN     523 ANCHOR DR                                                                            JOPPA           MD   21085‐4501
MICHAEL WAGERS      1660 E LOWER SPRINGBORO RD                                                               WAYNESVILLE     OH   45068‐9353
MICHAEL WAGNER      2850 HILLSIDE DR                                                                         BEDFORD         IN   47421‐5233
MICHAEL WAGNER      27652 BOWMAN RD                   ROUTE 8                                                DEFIANCE        OH   43512‐8999
MICHAEL WAGNER      5710 KLAM RD                                                                             COLUMBIAVILLE   MI   48421‐9342
MICHAEL WAGNER      7120 KRAENZLEIN RD                                                                       SAGINAW         MI   48604‐9756
MICHAEL WAGNER      700 16TH ST                                                                              BAY CITY        MI   48708‐7227
MICHAEL WAGNER      4310 TIMBER RIDGE TRL SW APT 5                                                           WYOMING         MI   49519‐4288
MICHAEL WAGNER      129 W ORCHARD ST                                                                         PERRY           MI   48872‐8127
MICHAEL WAGNER      12080 W BASE RD                                                                          PARKER CITY     IN   47368‐9394
MICHAEL WAGNER      2570 WEST CAMINO REAL, STE 650,                                                          MOUNTAIN VIEW   CA   94040
                    MOUNTAIN VIEW
MICHAEL WAHL        437 E PITTSFIELD ST                                                                      PENNSVILLE      NJ   08070‐1925
MICHAEL WAHL        2125 GOLF ISLE DR APT 1414                                                               MELBOURNE       FL   32935‐3542
MICHAEL WAHL        156 WHITE OAK LN                                                                         MONTICELLO      KY   42633‐2344
MICHAEL WAINSCOTT   4399 N 200 E                                                                             ANDERSON        IN   46012‐9516
MICHAEL WAITE       12118 PINE ROW LN                                                                        GRAND BLANC     MI   48439‐1621
MICHAEL WAITE       8605 ROOT RD                                                                             N RIDGEVILLE    OH   44039‐4430
MICHAEL WAITS       600 VICTORY CT                                                                           BOWLING GREEN   KY   42104‐5510
MICHAEL WAKELY      47248 FORTON ST                                                                          CHESTERFIELD    MI   48047‐3444
MICHAEL WALCUTT     3180 SHORELINE DR                                                                        LEWIS CENTER    OH   43035‐9231
MICHAEL WALCZAK     5488 PARKSIDE DR                                                                         BRIGHTON        MI   48114‐7572
MICHAEL WALDEN      31501 BOCK ST                                                                            GARDEN CITY     MI   48135‐1410
MICHAEL WALEK       6639 DRAKE SETTLEMENT RD                                                                 APPLETON        NY   14008‐9640
MICHAEL WALEZAK     47238 NOLA DR                                                                            MACOMB          MI   48044‐2683
MICHAEL WALKER      7289 POTTER RD                                                                           FLUSHING        MI   48433‐9443
MICHAEL WALKER      2308 LANGE LN                                                                            LAPEER          MI   48446‐9034
MICHAEL WALKER      9090 PINEVIEW LAKE CT                                                                    LINDEN          MI   48451‐8573
MICHAEL WALKER      61 WHITE BARK DR                                                                         MIDDLETOWN      DE   19709‐9780
MICHAEL WALKER      5532 RAVENNA RD                                                                          NEWTON FALLS    OH   44444‐9437
MICHAEL WALKER      7966 ENGELHURST CT                                                                       JENISON         MI   49428‐8517
MICHAEL WALKER      10724 OLDS RD                                                                            ELMIRA          MI   49730‐8244
MICHAEL WALKER      32035 VAN DYKE                    RM 322                                                 WARREN          MI   48093
MICHAEL WALKER      PO BOX 221                                                                               MAYVILLE        MI   48744‐0221
MICHAEL WALKER      PO BOX 28297                                                                             DETROIT         MI   48228‐0297
MICHAEL WALKER      9906 S STATE ROAD 9                                                                      PENDLETON       IN   46064‐8910
MICHAEL WALKER      12122 W 97TH ST APT 108                                                                  LENEXA          KS   66215‐1632
MICHAEL WALKER      337 E KENILWORTH AVE                                                                     ROYAL OAK       MI   48067‐3715
MICHAEL WALKER      7328 WALKERS LN                                                                          POTTERVILLE     MI   48876‐8710
MICHAEL WALKER      1121 WHITE VIEW DR                                                                       BLANCHARD       OK   73010‐7531
MICHAEL WALKER      8110 KNIGHTS CROSSING CT                                                                 O FALLON        MO   63368‐6224
MICHAEL WALKER      27500 BRADFORD LN                                                                        SOUTHFIELD      MI   48076‐3129
MICHAEL WALKER      867 VICTORIA AVE                                                     WINDSOR ON N9A4N5
                                                                                         CANADA
MICHAEL WALKER
MICHAEL WALKONIS    10326 LONDONDERRY DR                                                                     SOUTH LYON      MI 48178‐1911
MICHAEL WALL
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Name                Address1                          Address2        Address3         Address4         City               State Zip
MICHAEL WALLACE     3300 W PETTY RD                                                                     MUNCIE              IN 47304‐3270
MICHAEL WALLACE     11952 W OLIVE RD                                                                    RIVERDALE           MI 48877‐9719
MICHAEL WALLACE     3934 CLIPPERT ST                                                                    DEARBORN HTS        MI 48125‐2731
MICHAEL WALLACE     512 WILDEWOOD TER                                                                   OKLAHOMA CITY       OK 73105‐1446
MICHAEL WALLACE     118 HIGH ST                                                                         PAULS VALLEY        OK 73075‐5217
MICHAEL WALLEN      240 RIVERDALE DR                                                                    DEFIANCE            OH 43512‐1760
MICHAEL WALLING     3102 DREXEL RD                                                                      BENSALEM            PA 19020‐1726
MICHAEL WALLIS      10520 PINE TREE LN                                                                  GOODRICH            MI 48438‐9452
MICHAEL WALLS       745 CENTENNIAL RD                                                                   MARTINSVILLE        IN 46151‐8229
MICHAEL WALLS       4145 SHAMROCK CT                                                                    OXFORD              MI 48371‐5432
MICHAEL WALSH       10496 GRAND BLANC RD                                                                GAINES              MI 48436‐9770
MICHAEL WALSH       3510 BEECHWOOD LN                                                                   ANDERSON            IN 46011‐3808
MICHAEL WALSH       48 STATE PARK DR                                                                    BAY CITY            MI 48706‐2143
MICHAEL WALSH       5820 SUMNER LN                                                                      BOSSIER CITY        LA 71112‐9614
MICHAEL WALSH       18215 NESTLEBRANCH CT                                                               HUDSON              FL 34667‐5576
MICHAEL WALSH SR.   15060 IDA CENTER RD                                                                 PETERSBURG          MI 49270‐9761
MICHAEL WALTER      216 HURON AVE                                                                       DEFIANCE            OH 43512‐3317
MICHAEL WALTER      415 MALIBU CANYON DR                                                                COLUMBIA            TN 38401‐6803
MICHAEL WALTER      7206 LITTLE RICHMOND RD.                                                            DAYTON              OH 45427
MICHAEL WALTERS     1011 NORTHFIELD DR                                                                  LEBANON             IN 46052‐1483
MICHAEL WALTERS     4280 OVERBROOK DR                                                                   GRAND LEDGE         MI 48837‐2416
MICHAEL WALTERS     1463 PEPPERWOOD DR                                                                  NILES               OH 44446‐3550
MICHAEL WALTERS     115C WESTSIDE CV                                                                    PEARL               MS 39208‐8967
MICHAEL WALTON      3470 TRIMBLE AVE                                                                    CINCINNATI          OH 45207‐1626
MICHAEL WALTON      9038 N GENESEE RD                                                                   MOUNT MORRIS        MI 48458‐9729
MICHAEL WALTRIP     121 ARLIE RD                                                                        STOCKBRIDGE         GA 30281‐2371
MICHAEL WALZ        15900 SILVER PKWY APT 103                                                           FENTON              MI 48430‐3464
MICHAEL WANEK       2516 GABEL RD                                                                       SAGINAW             MI 48601‐9310
MICHAEL WANITSHKA   2022 PETERWOOD                                                                      ROCHESTER HILLS     MI 48307‐4328
MICHAEL WANK        2611 CINNAMON RIDGE RD                                                              HOWELL              MI 48855‐9069
MICHAEL WANLESS     4385 NORWAY ST                                                                      OSCODA              MI 48750‐9516
MICHAEL WANSITLER   11488 BRISTOL RD                                                                    LENNON              MI 48449‐9416
MICHAEL WARCHUCK    4600 WATERMAN RD                                                                    VASSAR              MI 48768‐9703
MICHAEL WARD        3415 PARALLEL RD                                                                    MORAINE             OH 45439‐1211
MICHAEL WARD        3739 KIDDER RD                                                                      ALMONT              MI 48003‐8138
MICHAEL WARD        3049 EGLESTON AVE                                                                   FLINT               MI 48506‐2149
MICHAEL WARD        11273 LAKEHAVEN DR                                                                  WHITE LAKE          MI 48386‐3647
MICHAEL WARD        PO BOX 1411                                                                         WILLIAMSBURG        KY 40769‐3411
MICHAEL WARD        16377 SW INDIANWOOD CIR                                                             INDIANTOWN          FL 34956‐3610
MICHAEL WARD        57685 WALNUT ST                                                                     THREE RIVERS        MI 49093‐1398
MICHAEL WARD        3590 ROUND BOTTOM RD APT F24252                                                     CINCINNATI          OH 45244
MICHAEL WARD        2041 LOWER BELLBROOK RD                                                             SPRING VALLEY       OH 45370‐9710
MICHAEL WARD        3635 EMBARCADERO ST                                                                 WATERFORD           MI 48329‐2240
MICHAEL WARD        8163 BRAMBLE CREEK CT                                                               MANSFIELD           TX 76063‐6503
MICHAEL WARD        15607 59TH DR SE                                                                    SNOHOMISH           WA 98296‐4239
MICHAEL WARDA       8320 N PORT                                                                         GRAND BLANC         MI 48439‐8064
MICHAEL WARDEN      320 180TH AVE NE                                                                    NORMAN              OK 73026‐7621
MICHAEL WARDLAW     1200 MCGREGOR DR                                                                    ROCHESTER HILLS     MI 48306‐4322
MICHAEL WARGEL      1066 FARNSWORTH RD                                                                  LAPEER              MI 48446‐1522
MICHAEL WARGO       37660 MILANN DR                                                                     WILLOUGHBY HILLS    OH 44094‐8715
MICHAEL WARGO       260 YORKSHIRE CIRCLE                                                                EWING               NJ 08628‐3262
MICHAEL WARMBIER    3133 S 9 MILE RD                                                                    AUBURN              MI 48611‐9719
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Name                 Address1                         Address2            Address3         Address4         City           State Zip
MICHAEL WARNER       6019 LINCOLN BLVD                                                                      GRAND BLANC     MI 48439‐5049
MICHAEL WARNER       1137 CONQUEST                                                                          GRAND BLANC     MI 48439‐9300
MICHAEL WARNER       5541 ELDRIDGE DR                                                                       WATERFORD       MI 48327‐2727
MICHAEL WARNER       16380 HILLTOP DR                                                                       LINDEN          MI 48451‐8781
MICHAEL WARNER       505 TERRY LN                                                                           HASTINGS        MI 49058‐9350
MICHAEL WARNING      1230 PAYNE AVE                                                                         N TONAWANDA     NY 14120‐2615
MICHAEL WAROSH       4513 PLANTATION LN                                                                     MILTON          WI 53563‐8430
MICHAEL WARREN
MICHAEL WARREN       3052 WILD ORCHARD LANE                                                                 BURTON         MI   48519
MICHAEL WARREN       PO BOX 451                                                                             BRIDGEPORT     MI   48722‐0451
MICHAEL WARREN       50 FIELDSPARROW CT                                                                     OXFORD         GA   30054‐3042
MICHAEL WARTH        2458 SECLUDED LN                                                                       FLINT          MI   48507‐3897
MICHAEL WASCO        13 COBBLESTONE PL                                                                      SAGINAW        MI   48603‐3547
MICHAEL WASHINGTON   151 AMITY ST                                                                           SPENCERPORT    NY   14559‐1324
MICHAEL WASHINGTON   33 PARKSIDE AVE                                                                        BUFFALO        NY   14214‐2617
MICHAEL WASHINGTON   1466 HICKORY HOLLOW DR                                                                 FLINT          MI   48532‐2054
MICHAEL WASHINGTON   1830 HILL CHASE                                                                        ALPHARETTA     GA   30022‐4464
MICHAEL WASHUTA      6309 HORGER ST                                                                         DEARBORN       MI   48126‐2226
MICHAEL WASIECZKO    150 HIGHLAND AVE                                                                       TONAWANDA      NY   14150‐3931
MICHAEL WASIK        206 LIMESTONE DR                                                                       ALVARADO       TX   76009
MICHAEL WASTOG       780 CLIFFWOOD AVE                                                                      KEYPORT        NJ   07735‐5162
MICHAEL WATERMAN     1707 N PLEASANT ST                                                                     ROYAL OAK      MI   48067‐4341
MICHAEL WATKINS      118 STATE LINE RD                                                                      ALBANY         KY   42602
MICHAEL WATKINS      9201 N HIGHWAY 171                                                                     GODLEY         TX   76044‐3473
MICHAEL WATKINS      5109 N CAPITOL AVE                                                                     INDIANAPOLIS   IN   46208‐3406
MICHAEL WATSON       12051 SUNRISE CIR                                                                      FISHERS        IN   46038‐1545
MICHAEL WATSON       120 CAMILLE COURT                                                                      OLDSMAR        FL   34677‐2226
MICHAEL WATSON       26368 LYNDON                                                                           REDFORD        MI   48239‐2924
MICHAEL WATSON       6257 KNOB BEND DR                                                                      GRAND BLANC    MI   48439‐7459
MICHAEL WATSON       2118 HOOVER DR APT 6M                                                                  ARLINGTON      TX   76011‐0811
MICHAEL WATTAI       3405 MEDFORD DR                                                                        TROY           MI   48084‐2740
MICHAEL WATTERS      277 N M‐88 HWY                                                                         BELLAIRE       MI   49615
MICHAEL WATTS        2680 WELLVIEW CT                                                                       LAKE ORION     MI   48360‐1662
MICHAEL WAUGH        24981 SADDLEHORN CIR                                                                   COLUMBIA STA   OH   44028‐9811
MICHAEL WAXMAN       28 CONDIT ST                                                                           SUCCASUNNA     NJ   07876‐1508
MICHAEL WAY          7867 SUMMERFIELD RD                                                                    PETERSBURG     MI   49270‐9739
MICHAEL WAY          2715 S LILLEY RD                                                                       CANTON         MI   48188‐2003
MICHAEL WEAKS        PO BOX 970211                                                                          YPSILANTI      MI   48197‐0804
MICHAEL WEAVER       131 WESTLAKE DR                                                                        BRANDON        MS   39047‐9019
MICHAEL WEAVER       PO BOX 122                                                                             HARRAH         OK   73045‐0122
MICHAEL WEAVER       3700 GOODMAN AVE SW                                                                    WYOMING        MI   49519‐3120
MICHAEL WEAVER       7902 MIDGEWOOD DR                                                                      YOUNGSTOWN     OH   44512‐5945
MICHAEL WEAVER       641 MAIN ST                                                                            ITHACA         OH   45304‐8429
MICHAEL WEBB         909 W 10TH ST                                                                          MARION         IN   46953‐1657
MICHAEL WEBB         15200 W DEL CR 550 N                                                                   ALEXANDRIA     IN   46001
MICHAEL WEBB         23469 ANNAPOLIS ST                                                                     DEARBORN HTS   MI   48125‐2200
MICHAEL WEBB         5179 ONA LAKE DR                                                                       WHITE LAKE     MI   48383‐3255
MICHAEL WEBB         665 COUNTY RD N                                                                        STOUGHTON      WI   53589‐4348
MICHAEL WEBER        37490 LAKEVILLE ST                                                                     HARRISON TWP   MI   48045‐2877
MICHAEL WEBER        9421 JUDDVILLE RD                                                                      CORUNNA        MI   48817‐9794
MICHAEL WEBER        4420 WARWICK CIRCLE DR                                                                 GRAND BLANC    MI   48439‐8337
MICHAEL WEBER        473 CROOKED TREE DR                                                                    DAWSONVILLE    GA   30534‐3625
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Name                               Address1                           Address2          Address3         Address4               City                 State Zip
MICHAEL WEBER                      712 SAN ANTONIO TRL                                                                          MANSFIELD             TX 76063‐3424
MICHAEL WEBER                      7817 BRADBURY AVE                                                                            FORT WAYNE            IN 46809‐2905
MICHAEL WEBER AND JENNIFER WEBER   JENNIFER J WEBER REVOCABLE TRUST   7373 SAHALEE DR                                           DENVER                NC 28037
TRUSTEES
MICHAEL WEBER CATERING INC         2023A CALAIS DRIVE                                                                           MIAMI BEACH          FL   33141‐3561
MICHAEL WEBSTER                    13453 HIDE AWAY LN                                                                           DEWITT               MI   48820‐9172
MICHAEL WEBSTER SR                 317 ERNST AVE                                                                                DAYTON               OH   45405‐3450
MICHAEL WEHINGER                   3802 N BENNINGTON AVE                                                                        KANSAS CITY          MO   64117‐7800
MICHAEL WEHNER                     35 GARFIELD ST                                                                               LANCASTER            NY   14086‐2408
MICHAEL WEIBLE                     10363 N BRAY RD                                                                              CLIO                 MI   48420‐9742
MICHAEL WEIDINGER                  6045 THOUSAND OAKS DR                                                                        TOLEDO               OH   43613‐5628
MICHAEL WEIDMAN                    6558 WESTLAKE CT                                                                             TROY                 MI   48085‐1003
MICHAEL WEIERSHAUSER               5192 OAKHILL DR                                                                              SWARTZ CREEK         MI   48473‐8597
MICHAEL WEINBERGER                 10471 WOODCLIFF CT                                                                           HARTLAND             MI   48353‐2540
MICHAEL WEIS                       AM HAIN 13                                                            63688 GEDERN GERMANY
MICHAEL WEIS                       AM HAIN                            63688 GEDERN
MICHAEL WEIS                       AM HAIN13                          63688 GEDERN
MICHAEL WEISE                      4150 VERA ST                                                                                 SAGINAW              MI   48603‐4053
MICHAEL WEISS                      4688 MACKINAW RD                                                                             SAGINAW              MI   48603‐2102
MICHAEL WEISS                      99 OAK VALLEY DR                                                                             SPRING HILL          TN   37174‐2597
MICHAEL WEITZMAN                   236 WILCOX RD                                                                                AUSTINTOWN           OH   44515‐4253
MICHAEL WEKENMAN                   1947 N CANAL RD                                                                              EATON RAPIDS         MI   48827‐9329
MICHAEL WELBORN                    203 E LAKE ST                      P.O.BOX 122                                               SUMMITVILLE          IN   46070‐9734
MICHAEL WELBORN                    772 COUNTY ROAD 226                                                                          MOULTON              AL   35650‐6492
MICHAEL WELCH                      12074 E BRISTOL RD                                                                           DAVISON              MI   48423‐9135
MICHAEL WELCH                      8272 W HURON CT                                                                              WHITE LAKE           MI   48386‐2512
MICHAEL WELCH                      6423 E RENO AVE                                                                              MIDWEST CITY         OK   73110‐2141
MICHAEL WELCH                      11201 ANDERSONVILLE RD                                                                       DAVISBURG            MI   48350‐3135
MICHAEL WELCH                      1952 WILDER CT                                                                               HASLETT              MI   48840‐8238
MICHAEL WELCHER                    3159 S 750 W                                                                                 RUSSIAVILLE          IN   46979‐9716
MICHAEL WELENSE                    3935 STATE ST                                                                                BRIDGEPORT           MI   48722‐9661
MICHAEL WELLER                     6310 TUPPER LAKE RD                                                                          SUNFIELD             MI   48890‐9034
MICHAEL WELLING                    3105 KASSAB LANE                                                                             COMMERCE TWP         MI   48382‐4613
MICHAEL WELLMAN                    5365 S BANCROFT RD                                                                           DURAND               MI   48429‐9142
MICHAEL WELLS                      3106 MOYER DR                                                                                FRANKLIN             OH   45005‐4835
MICHAEL WELLS                      483 ROYAL CREST DR                                                                           MARTINSBURG          WV   25401‐5153
MICHAEL WELLS                      7021 BAYBRIDGE DR                                                                            ARLINGTON            TX   76002‐3732
MICHAEL WELLS                      986 N WARD AVE                                                                               GIRARD               OH   44420‐1954
MICHAEL WELLS                      11612 MONROEVILLE RD                                                                         MONROEVILLE          IN   46773‐9116
MICHAEL WELLS                      PO BOX 4044                                                                                  YOUNGSTOWN           OH   44515‐0044
MICHAEL WELLS
MICHAEL WELSH                      PO BOX 44                                                                                    BRUCE CROSSING       MI   49912‐0044
MICHAEL WELTE                      412 SAINT MARYS ST                                                                           CORUNNA              MI   48817‐1055
MICHAEL WENDLING                   19585 W BRADY RD                                                                             ELSIE                MI   48831‐9248
MICHAEL WENDTLAND                  3747 N HARVEST VIEW DR                                                                       JANESVILLE           WI   53548‐8321
MICHAEL WENDZINSKI                 1334 BUCKINGHAM RD                                                                           GROSSE POINTE PARK   MI   48230‐1140
MICHAEL WENGELER                   52995 DAY RD                                                                                 LA PINE              OR   97739‐9015
MICHAEL WENNER                     5250 GREAT FOSTERS DR                                                                        ROCHESTER            MI   48306‐2439
MICHAEL WENNING                    PO BOX 26217                                                                                 TROTWOOD             OH   45425‐0217
MICHAEL WENTLAND                   219 MIAMI PL                                                                                 HURON                OH   44839‐1718
MICHAEL WENZEL                     GAILBACHER STR 73                                                     63743 ASCHAFFENBURG
                                                                                                         GERMANY
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Name                 Address1                      Address2            Address3         Address4         City              State Zip
MICHAEL WERNER       2989 MONTGOMERY DR                                                                  PORT CHARLOTTE     FL 33981‐1051
MICHAEL WESNER       57671 RIDGEWOOD DR                                                                  WASHINGTON TWP     MI 48094‐3161
MICHAEL WESOLEK      3967 MACK RD                                                                        SAGINAW            MI 48601‐7152
MICHAEL WESSEL       3468 FRYE AVE                                                                       FINLEYVILLE        PA 15332‐1306
MICHAEL WESSEL       9517 BARRY CT                                                                       PORTAGE            MI 49002‐7408
MICHAEL WEST         4393 ROHR RD                                                                        ORION              MI 48359‐1940
MICHAEL WEST         5935 JUSTINE ST                                                                     BELLEVILLE         MI 48111‐1026
MICHAEL WEST         463 OMAR ST                                                                         PONTIAC            MI 48342‐1660
MICHAEL WEST         1018 RIVER ROCK BLVD                                                                MURFREESBORO       TN 37128‐6791
MICHAEL WEST         7683 PIONEER DR                                                                     YPSILANTI          MI 48197‐9461
MICHAEL WEST         414 E RING FACTORY RD                                                               BEL AIR            MD 21014‐5573
MICHAEL WEST         16271 RAVEN CREST DR                                                                FORT MILL          SC 29707
MICHAEL WESTERVELT   3660 W SUMNER LAKE DR                                                               ANDERSON           IN 46012‐9416
MICHAEL WESTHOFF     41 FAITH LN                                                                         DANBURY            CT 06810‐7122
MICHAEL WESTON       25305 B DR S                                                                        ALBION             MI 49224‐9706
MICHAEL WESTRICK     516 HARRISON AVE                                                                    DEFIANCE           OH 43512‐2020
MICHAEL WETHY        4143 HIGHWAY N                                                                      ROBERTSVILLE       MO 63072‐1305
MICHAEL WHALEN       60 YVONNE AVE                                                                       BUFFALO            NY 14225‐1134
MICHAEL WHALEY       113 SAPPHIRE LN                                                                     STREETBORO         OH 44241‐4134
MICHAEL WHALEY SR    2316 WESLEY CIR                                                                     BOSSIER CITY       LA 71111‐5915
MICHAEL WHEEKER      6007 AUGUSTA CT 50                                                                  GRAND BLANC        MI 48439
MICHAEL WHEELER      298 W CONGRESS ST                                                                   CARO               MI 48723‐1710
MICHAEL WHEELER      4283 PLANK RD                                                                       LOCKPORT           NY 14094‐9732
MICHAEL WHEELER      6609 HORSE SHOE BND                                                                 ORLANDO            FL 32822‐3610
MICHAEL WHETSEL      7698 N 750 W                                                                        FRANKTON           IN 46044‐9469
MICHAEL WHINIHAN     1157 SHALLOWDALE DR                                                                 TROY               MI 48085‐4909
MICHAEL WHITAKER     3333 NOAHS ARK RD                                                                   JONESBORO          GA 30236‐5510
MICHAEL WHITE        RR 2 BOX 297                                                                        BLOOMFIELD         IN 47424‐9619
MICHAEL WHITE        11212 E COUNTY ROAD 170 S                                                           SELMA              IN 47383‐9766
MICHAEL WHITE        7331 UNION SCHOOLHOUSE RD                                                           DAYTON             OH 45424‐5212
MICHAEL WHITE        1920 CEMETERY RD                                                                    KETTERING          OH 45429‐4213
MICHAEL WHITE        1208 HANGING MOSS CT SW                                                             DECATUR            AL 35603‐2071
MICHAEL WHITE        4431 SHELDON LN                                                                     FLINT              MI 48507‐3556
MICHAEL WHITE        2700 SHIMMONS RD LOT 110                                                            AUBURN HILLS       MI 48326‐2037
MICHAEL WHITE        5174 HEGEL RD                                                                       GOODRICH           MI 48438‐9678
MICHAEL WHITE        4439 28TH ST                                                                        DETROIT            MI 48210‐2650
MICHAEL WHITE        103 CEDAR HILL DR                                                                   FRANKLIN           NC 28734‐5567
MICHAEL WHITE        3432 VIRGINIA DR                                                                    COLUMBIAVILLE      MI 48421‐9367
MICHAEL WHITE        5206 W 76TH ST                                                                      SHAWNEE MISSION    KS 66208‐4435
MICHAEL WHITE        172 HANNAH CT N                                                                     SMITHS GROVE       KY 42171‐9162
MICHAEL WHITE        4244 W WOODS EDGE LN                                                                MUNCIE             IN 47304‐6087
MICHAEL WHITE        PO BOX 6836                                                                         MESA               AZ 85216‐6836
MICHAEL WHITE        6076 E CARPENTER RD                                                                 FLINT              MI 48506‐1255
MICHAEL WHITE        3103 ALBEMARLE RD # LNDN                                                            WILMINGTON         DE 19808
MICHAEL WHITE        125 LENOX DR                                                                        COLUMBIA           TN 38401‐7203
MICHAEL WHITE        6924 MOCCASIN ST                                                                    WESTLAND           MI 48185‐2809
MICHAEL WHITED       6595 RIVER RD                                                                       FLUSHING           MI 48433‐2509
MICHAEL WHITEHAIR    426 TOMOKA DR                                                                       ENGLEWOOD          FL 34223‐6559
MICHAEL WHITEMAN     3403 W 100 N                                                                        KOKOMO             IN 46901‐3976
MICHAEL WHITESEL     2212 COURTYARD LN                                                                   MONROE             NC 28112‐8897
MICHAEL WHITESELL    3944 N JACKSON AVE                                                                  KANSAS CITY        MO 64117‐2308
MICHAEL WHITFIELD    142 TRAFALGAR ST                                                                    ROCHESTER          NY 14619‐1224
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Name                       Address1                           Address2                     Address3   Address4         City              State Zip
MICHAEL WHITING            11800 BUECHE RD                                                                             BURT               MI 48417‐9774
MICHAEL WHITING            615 MELROSE ST                                                                              PONTIAC            MI 48340‐3116
MICHAEL WHITLEY            101 JOHNSON TRL                                                                             MORAINE            OH 45418‐2991
MICHAEL WHITLOCK           4939 W COUNTY ROAD 650 N                                                                    NORTH SALEM        IN 46165‐9500
MICHAEL WHITMAN            3701 BAY RD                                                                                 ERIE               MI 48133‐9404
MICHAEL WHITNEY            433 W NORTHGATE PKWY                                                                        TOLEDO             OH 43612‐3411
MICHAEL WHITNEY            8299 W WALKER RD                                                                            MANTON             MI 49663‐9311
MICHAEL WHITNEY II         18334 COUNTRY CLUB CIR                                                                      RIVERVIEW          MI 48193‐8164
MICHAEL WHITTENBURG        4904 ARROWVIEW DR                                                                           HUBER HEIGHTS      OH 45424‐2557
MICHAEL WHITTUM            2355 E SPICERVILLE HWY                                                                      CHARLOTTE          MI 48813‐9141
MICHAEL WHITWORTH          2083 E SOONER RD                                                                            TUTTLE             OK 73089‐9400
MICHAEL WHITWORTH          3590 N 300 E                                                                                ANDERSON           IN 46012‐9414
MICHAEL WHYTE              4562 SACKETT AVE                                                                            CLEVELAND          OH 44109‐1050
MICHAEL WIANT              4271 CAHOKIA RDG                                                                            LINDEN             MI 48451‐8435
MICHAEL WIBMER             SANDSTR. 12
MICHAEL WICK               17530 CRANBROOK DR                                                                          NORTHVILLE        MI   48168‐4331
MICHAEL WICKER             1277 CREEK POINTE DR                                                                        ROCHESTER HILLS   MI   48307‐1726
MICHAEL WIECZORKOWSKI      7510 DURWOOD RD                                                                             BALTIMORE         MD   21222‐1332
MICHAEL WIERSMA            488 WATER ST                                                                                CAMBRIDGE         WI   53523‐9231
MICHAEL WIESNER            BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH   44236
MICHAEL WIGHTMAN           740 N DIETERLE RD                                                                           FOWLERVILLE       MI   48836‐8928
MICHAEL WILBERT            31203 NARRAGANSETT LANE                                                                     BAY VILLAGE       OH   44140‐1065
MICHAEL WILBUR             107 KATIE LN                                                                                COLUMBIA          TN   38401‐5539
MICHAEL WILCHAK            4054 SE FAIRWAY E                                                                           STUART            FL   34997‐6123
MICHAEL WILCOX             5765 S 100 W                                                                                FOUNTAINTOWN      IN   46130‐9416
MICHAEL WILCOX             PO BOX 522                                                                                  MENDON            MI   49072‐0522
MICHAEL WILCOX             7925 RAYNA CT                                                                               BELLEVILLE        MI   48111‐5379
MICHAEL WILDERMAN          6934 WALLING LANE                                                                           DALLAS            TX   75231‐7308
MICHAEL WILDING            12269 LINDEN RD                                                                             LINDEN            MI   48451‐9483
MICHAEL WILDMAN            1153 W COLDWATER RD                                                                         FLINT             MI   48505‐4812
MICHAEL WILEY              1513 GRAY FOX LN                                                                            SPRING HILL       TN   37174‐5114
MICHAEL WILEY              4155 SIMPSON RD                                                                             GAINESVILLE       GA   30507‐7766
MICHAEL WILEY              4200 COMMERCE DR                                                                            FLUSHING          MI   48433
MICHAEL WILEY              7188 N WEBSTER RD                                                                           MOUNT MORRIS      MI   48458
MICHAEL WILHELM            2561 TACKLES DR                                                                             WHITE LAKE        MI   48386‐1561
MICHAEL WILHELM            63 BACK BAY RD                                                                              BOWLING GREEN     OH   43402‐9742
MICHAEL WILKIE             360 SKYLINE DR                                                                              BLISSFIELD        MI   49228‐1071
MICHAEL WILKINS            8950 STELZER RD                    P.O. BOX 1143                                            HOWELL            MI   48855‐9404
MICHAEL WILLARD            48 RAMSDELL AVE                                                                             BUFFALO           NY   14215‐1141
MICHAEL WILLGER            109 VALLEY DR                                                                               JANESVILLE        WI   53546‐2206
MICHAEL WILLIAM ASHWORTH   C/O LAW OFFICE OF G LYNN SHUMWAY   4647 N 32ND STREET #230                                  PHOENIX           AZ   85018

MICHAEL WILLIAMS
MICHAEL WILLIAMS           274 CRESCENT AVE.                                                                           SPOTSWOOD         NJ   08884‐1054
MICHAEL WILLIAMS           1409 VAN DYKE RD                                                                            HOLT              MI   48842‐9543
MICHAEL WILLIAMS           5180 HILLSBORO RD                                                                           DAVISBURG         MI   48350‐3823
MICHAEL WILLIAMS           7490 N LEATON RD APT 1                                                                      CLARE             MI   48617‐9033
MICHAEL WILLIAMS           1230 E 89TH ST 1 N                                                                          KANSAS CITY       MO   64131
MICHAEL WILLIAMS           707 CRESTMONT DR                                                                            DAYTON            OH   45431‐2951
MICHAEL WILLIAMS           7603 ACKLEY RD                                                                              CLEVELAND         OH   44129‐4905
MICHAEL WILLIAMS           227 CHARLES ST                                                                              DESOTO            TX   75115‐3927
MICHAEL WILLIAMS           3670 ESTATES DR                                                                             FLORISSANT        MO   63033‐3031
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Name                 Address1                        Address2           Address3         Address4         City               State Zip
MICHAEL WILLIAMS     2964 MCLEMORE CIR                                                                    FRANKLIN            TN 37064‐1181
MICHAEL WILLIAMS     30105 WINDSOR                                                                        GIBRALTAR           MI 48173‐9452
MICHAEL WILLIAMS     14114 DEANNA CT                                                                      GARDENA             CA 90247‐2244
MICHAEL WILLIAMS     43533 ELIZABETH ST                                                                   MOUNT CLEMENS       MI 48043‐1034
MICHAEL WILLIAMS     3161 JEFFLAND RD                                                                     BALTIMORE           MD 21244‐3420
MICHAEL WILLIAMS     9996 S UNION RD                                                                      MIAMISBURG          OH 45342‐4610
MICHAEL WILLIAMS     8020 BEECH GROVE RD                                                                  MARTINSVILLE        IN 46151‐7290
MICHAEL WILLIAMS     7801 W KEY DR                                                                        MUNCIE              IN 47304‐8823
MICHAEL WILLIAMS     1309 DULEE DR                                                                        ELWOOD              IN 46036‐3219
MICHAEL WILLIAMS     4508 WAYMIRE AVE                                                                     DAYTON              OH 45406‐2417
MICHAEL WILLIAMS     7535 TROPHY CLUB DR N                                                                INDIANAPOLIS        IN 46214‐4052
MICHAEL WILLIAMS     10555 SYLVANIA METAMORA RD                                                           BERKEY              OH 43504‐9744
MICHAEL WILLIAMS     76 GANGES BLVD                                                                       SWARTZ CREEK        MI 48473‐1606
MICHAEL WILLIAMS     35712 RAVINE CIR                                                                     FARMINGTON HILLS    MI 48335‐2429
MICHAEL WILLIAMS     3727 CURRY LN                                                                        JANESVILLE          WI 53546‐3445
MICHAEL WILLIAMS     1304 MCDANIEL LN SE APT 103                                                          LACEY               WA 98503‐7244
MICHAEL WILLIAMS     13619 DORCHESTER DR                                                                  CEMENT CITY         MI 49233‐9636
MICHAEL WILLIAMS     1925 CLEMENT ST                                                                      FLINT               MI 48504‐3199
MICHAEL WILLIAMS     1551 PARKE ST                                                                        ROCHESTER           MI 48307‐3634
MICHAEL WILLIAMS     PO BOX 20911                                                                         FERNDALE            MI 48220‐0911
MICHAEL WILLIAMS     8615 E 57TH TER                                                                      KANSAS CITY         MO 64129‐2719
MICHAEL WILLIAMS     118 WHISPERING DR                                                                    TROTWOOD            OH 45426‐3029
MICHAEL WILLIAMS     6568 CRANE RD                                                                        YPSILANTI           MI 48197‐8851
MICHAEL WILLIAMSON   11407 COYLE ST                                                                       DETROIT             MI 48227‐2456
MICHAEL WILLIAMSON   5079 3 MILE RD                                                                       BAY CITY            MI 48706‐9004
MICHAEL WILLIAMSON   PO BOX 310681                                                                        FLINT               MI 48531‐0681
MICHAEL WILLIAMSON   136 ALFRED AVE                                                                       ROSCOMMON           MI 48653‐9531
MICHAEL WILLIAMSON   5119 FREIERMUTH RD                                                                   STOCKBRIDGE         MI 49285‐9507
MICHAEL WILLIAMSON   5432 LANDAU DR APT 11                                                                KETTERING           OH 45429‐5448
MICHAEL WILLIS       6 ARLINDA CT                                                                         MIDDLETOWN          DE 19709‐6807
MICHAEL WILLIS       712 VIEW AVE                                                                         FAIRMONT            WV 26554‐1561
MICHAEL WILLIS       728 PERRYSVILLE AVE                                                                  DANVILLE             IL 61832‐6824
MICHAEL WILLIS
MICHAEL WILLS        1599 RULANE DR                                                                       LAPEER             MI   48446‐1358
MICHAEL WILMERS      PO BOX 367                                                                           BATH               MI   48808‐0367
MICHAEL WILSON       704 S MAIN ST                                                                        DUNKIRK            IN   47336‐1516
MICHAEL WILSON       2145 SNYDER RD                                                                       BUTLER             OH   44822‐9625
MICHAEL WILSON       5988 LAFFLER ST                                                                      BURT               NY   14028‐9750
MICHAEL WILSON       2262 N CENTER RD                                                                     BURTON             MI   48509‐1003
MICHAEL WILSON       1365 YOUNGS RD                                                                       ORLEANS            MI   48865‐9738
MICHAEL WILSON       1711 MIAMI AVE                                                                       FAIRBORN           OH   45324‐3011
MICHAEL WILSON       5315 PINE KNOB LN                                                                    CLARKSTON          MI   48346‐4078
MICHAEL WILSON       6920 BLISS CT SW                                                                     GRANDVILLE         MI   49418‐2104
MICHAEL WILSON       3225 NR. 47 RIO VISTA DRIVE                                                          LAUGHLIN           NV   89029
MICHAEL WILSON       108 OAKDALE PL                                                                       CORTLAND           OH   44410‐1671
MICHAEL WILSON       3657 WEAVER FORT JEFFERSON RD                                                        GREENVILLE         OH   45331‐9594
MICHAEL WILSON       802 MARQUETTE ST                                                                     FLINT              MI   48504‐7716
MICHAEL WILSON       6505 N BROADWAY ST                                                                   GLADSTONE          MO   64118‐3263
MICHAEL WILSON       47040 MALBURG WAY DR                                                                 MACOMB             MI   48044‐3026
MICHAEL WILSON       423 LAVITA DR                                                                        SHREVEPORT         LA   71106‐7518
MICHAEL WILSON       1102 RIVINGTON PIKE                                                                  GRAND LEDGE        MI   48837‐9797
MICHAEL WILSON       1331 WEISS RD                                                                        BAY CITY           MI   48706‐9379
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Name                 Address1                         Address2                     Address3   Address4               City                 State Zip
MICHAEL WILSON
MICHAEL WILSON SR    2850 PLAINFIELD RD                                                                              BALTIMORE            MD    21222‐2234
MICHAEL WIMMER       523 NOTTINGHAM PL                                                                               LIBERTY              MO    64068‐1073
MICHAEL WINCEK       937 ASPEN DR                                                                                    ROCHESTER            MI    48307‐1006
MICHAEL WINCHESTER   5312 S WALNUT ST                                                                                MUNCIE               IN    47302‐8773
MICHAEL WINDOM       923 BRANCH RD                                                                                   ALBANY               GA    31705‐5306
MICHAEL WINDOM       5083 OLDE SAYBROOKE RD                                                                          GRAND BLANC          MI    48439‐8759
MICHAEL WINDT        1056 W PINCONNING RD                                                                            PINCONNING           MI    48650‐8973
MICHAEL WINFIELD     7096 STOCK RD                                                                                   W ALEXANDRIA         OH    45381‐9554
MICHAEL WING         10200 S AIRPORT RD                                                                              DEWITT               MI    48820‐9193
MICHAEL WING         4456 S DUFFIELD RD                                                                              LENNON               MI    48449‐9419
MICHAEL WING         47215 W 11 MILE RD                                                                              NOVI                 MI    48374‐2317
MICHAEL WING         6426 HIGH POINT RUN                                                                             FORT WAYNE           IN    46825‐4681
MICHAEL WING         7667 W EATON HWY                                                                                GRAND LEDGE          MI    48837‐9311
MICHAEL WINGER       PO BOX 654                                                                                      MARION               IN    46952‐0654
MICHAEL WINGER       1591 E DEXTER TRL                                                                               DANSVILLE            MI    48819‐9776
MICHAEL WINKLER      326 BALDWIN AVE                                                                                 SHARON               PA    16146‐2724
MICHAEL WINN         7877 CRAFTSMAN CT                                                                               ANTELOPE             CA    95843‐5740
MICHAEL WINSETT
MICHAEL WINTER       5741 ALLEN RD                                                                                   ALGER                MI    48610‐9361
MICHAEL WISBISKI     703 FAIRWAY TRAILS DR                                                                           BRIGHTON             MI    48116‐1784
MICHAEL WISE         388 MAPLE DR                                                                                    CRESTLINE            OH    44827‐1335
MICHAEL WISER        5479 INDEPENDENCE COLONY RD                                                                     GRAND BLANC          MI    48439‐9105
MICHAEL WISHNEWSKI   165 CHAPEL HILL DR NW                                                                           WARREN               OH    44483‐1179
MICHAEL WISHNOWSKI
MICHAEL WISKUR JR.   10155 N CENTER RD                                                                               CLIO                 MI    48420‐9713
MICHAEL WISSINGER    4113 AUTUMN VIEW CT                                                                             FENTON               MI    48430‐9128
MICHAEL WISWELL      210 S GRANT ST                                                                                  PAULDING             OH    45879‐1336
MICHAEL WITHEY       1112 DITCH RD                                                                                   NEW LOTHROP          MI    48460‐9648
MICHAEL WITIK        3 GRIFFIN RD                                                                                    TERRYVILLE           CT    06786‐4105
MICHAEL WITKE        STIFTSGASSE 19                   53111 BONN                   GERMANY
MICHAEL WITKOWSKI    4395 SASHABAW RD                                                                                WATERFORD            MI    48329‐1957
MICHAEL WITTREICH    BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                     BOSTON HEIGHTS       OH    44236
MICHAEL WIVELL       11121 GARDEN ST                                                                                 LIVONIA              MI    48150‐3138
MICHAEL WIXOM        4631 THORNLEY DR                                                                                FORT WAYNE           IN    46809‐9724
MICHAEL WIZNER       308 GLEN GARY DR                                                                                MOUNT MORRIS         MI    48458‐8912
MICHAEL WLODARSKI    15361 DIAMOND DR                                                                                OAK FOREST           IL    60452‐2151
MICHAEL WNUK         108 RIVER VALLEY LOOP                                                                           MAUMELLE             AR    72113‐7137
MICHAEL WOAK         6496 W KNOLL PINES WAY                                                                          TUCSON               AZ    85757‐1506
MICHAEL WOLANIN      2709 PARKWAY PL                                                                                 HARTLAND             MI    48353‐3233
MICHAEL WOLCOTT      212 SCHULTZ RD                                                                                  WEST SENECA          NY    14224‐2553
MICHAEL WOLESHIN     4428 TIDEVIEW DR                                                                                JACKSONVILLE BEACH   FL    32250‐1800
MICHAEL WOLF         7390 TUPPER LAKE RD                                                                             SUNFIELD             MI    48890‐9740
MICHAEL WOLF         307 HILLCREST DRIVE                                                                             ASHLAND              OH    44805
MICHAEL WOLF         AUF DER BLEICHE 32                                                       59964 MEDEBACH
                                                                                              GERMANY
MICHAEL WOLF         AUF DER BLEICHE 32               59964 MEDEBACH
MICHAEL WOLFE        133 OPPRESSION LN                                                                               FLINT                 MI 48507‐5927
MICHAEL WOLFE        514 E BROAD ST                                                                                  CHESANING             MI 48616‐1508
MICHAEL WOLFF        URACHSTR. 32A
MICHAEL WOLFORD      604 TAYLOR ST                                                                                   DELTA                OH 43515‐1046
MICHAEL WOLLET       1391 S WAVERLY RD                                                                               EATON RAPIDS         MI 48827‐8748
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Name                  Address1                      Address2            Address3         Address4         City               State Zip
MICHAEL WOLODKOWICZ   C/O WEITZ & LUXENBERG PC      700 BROADWAY                                          NEW YOK CITY        NY 10003
MICHAEL WONDEL        3607 BEDFORD FALLS CT N                                                             WENTZVILLE          MO 63385‐2681
MICHAEL WOOD          11383 COLUMBIA                                                                      REDFORD             MI 48239‐2274
MICHAEL WOOD          2912 PITT ST                                                                        ANDERSON            IN 46016‐5656
MICHAEL WOOD          17380 29 MILE RD                                                                    RAY                 MI 48096‐2307
MICHAEL WOOD          234 STONER RD                                                                       LANSING             MI 48917‐3781
MICHAEL WOOD          755 1ST ST                                                                          FENTON              MI 48430‐4103
MICHAEL WOOD          8455 PETTIBONE RD                                                                   CHAGRIN FALLS       OH 44023‐5005
MICHAEL WOOD          150 HIGH BRIDGE RD                                                                  WELLSTON            MI 49689‐9585
MICHAEL WOOD          5157 DEWBERRY DR                                                                    SAGINAW             MI 48603‐1106
MICHAEL WOOD          5030 W HARVARD AVE                                                                  CLARKSTON           MI 48348‐3108
MICHAEL WOODARD       501 FRANKLIN ST                                                                     LINDEN              MI 48451‐8963
MICHAEL WOODARD       1293 W PRINCETON AVE                                                                FLINT               MI 48505‐1221
MICHAEL WOODARD       2321 EASY ST                                                                        ANN ARBOR           MI 48104‐5028
MICHAEL WOODARD       447 GREENLAWN ST                                                                    YPSILANTI           MI 48198‐5994
MICHAEL WOODCOCK      3309 WOODSTOCK RD SE                                                                ATLANTA             GA 30316‐4553
MICHAEL WOODCOCK      6161 HALIFAX DR                                                                     LANSING             MI 48911‐6455
MICHAEL WOODIE        PO BOX 168                    11346 DAYTON GRN                                      PHILLIPSBURG        OH 45354‐0168
MICHAEL WOODROW       1147 W WALNUT ST                                                                    SAINT CHARLES       MI 48655‐8749
MICHAEL WOODRUFF      5 SPRINGFIELD DR                                                                    OKLAHOMA CITY       OK 73149‐1817
MICHAEL WOODRUFF      1133 WILLOUGHBY RD                                                                  MASON               MI 48854‐9434
MICHAEL WOODRUFF      715 PINEGATE DR                                                                     FOWLERVILLE         MI 48836‐7928
MICHAEL WOODS         17409 PARK LN                                                                       SOUTHFIELD          MI 48076‐7717
MICHAEL WOODS         216 BROOK HOLLOW CIRCLE                                                             MANCHESTER          TN 37355‐2464
MICHAEL WOODS         1835 CABALLERO ST                                                                   SIMI VALLEY         CA 93065‐4815
MICHAEL WOODS         3125 WHITTIER AVE                                                                   FLINT               MI 48506‐3050
MICHAEL WOODSIDE      85318 BOSTICK WOOD DR                                                               FERNANDINA BEACH    FL 32034‐8142
MICHAEL WOODY         6057 WASHBURN RD                                                                    GOODRICH            MI 48438‐9601
MICHAEL WOOLEY        152 CLOVER LEAF DR                                                                  KEATCHIE            LA 71046‐2572
MICHAEL WOOLF         PO BOX 167                                                                          BALLWIN             MO 63022‐0167
MICHAEL WOOLUM        8103 CRAPO ST                                                                       SWARTZ CREEK        MI 48473‐1314
MICHAEL WORKMAN       9227 KELLY LAKE DR                                                                  CLARKSTON           MI 48348‐2592
MICHAEL WORMLEY       901 HOMESTEAD LN                                                                    GRAPEVINE           TX 76051‐7416
MICHAEL WORRELL       3712 PETERS RD                                                                      COLUMBIAVILLE       MI 48421‐9203
MICHAEL WORRINGER     6550 WOODRIDGE WAY SW                                                               WARREN              OH 44481‐9626
MICHAEL WORSWICK      7525 RIVER RD                                                                       COTTRELLVILLE       MI 48039‐3336
MICHAEL WORTHINGTON   31 SWAN ST                                                                          LAMBERTVILLE        NJ 08530‐1019
MICHAEL WRIGHT        6376 EAST MOUNT MORRIS ROAD                                                         MOUNT MORRIS        MI 48458‐9704
MICHAEL WRIGHT        416 S DAVISON ST                                                                    DAVISON             MI 48423‐1602
MICHAEL WRIGHT        1033 HARBOR PINES DR                                                                MERRITT ISLAND      FL 32952‐2796
MICHAEL WRIGHT        7660 GRANITE                                                                        WASHINGTON          MI 48094‐2840
MICHAEL WRIGHT        12211 FARRAND RD                                                                    OTISVILLE           MI 48463‐9720
MICHAEL WRIGHT        4524 HESSEN CASSEL RD                                                               FORT WAYNE          IN 46806‐2659
MICHAEL WRIGHT        8242 TUNNELTON RD                                                                   BEDFORD             IN 47421‐7869
MICHAEL WRIGHT        5940 BASORE RD                                                                      DAYTON              OH 45415‐2432
MICHAEL WRIGHT        753 GOLFSIDE LN                                                                     SEBRING             FL 33872‐4351
MICHAEL WRIGHT        838 ALGER AVE                                                                       OWOSSO              MI 48867‐4606
MICHAEL WRIGHT        29077 FOREST HILL DR                                                                FARMINGTON HILLS    MI 48331‐2443
MICHAEL WRIGHT        3242 N PARK AVE                                                                     INDIANAPOLIS        IN 46205‐3836
MICHAEL WROBEL        516 ILIMANO ST                                                                      KAILUA              HI 96734‐1829
MICHAEL WROTECKI      49 ROSARY BLVD                                                                      BUFFALO             NY 14225‐2152
MICHAEL WRUBEL        112 PEARL ST                                                                        CHARLOTTE           MI 48813‐1403
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Name                Address1                         Address2            Address3         Address4           City                State Zip
MICHAEL WSZOLA      5822 WINSTAR LN                                                                          RACINE               WI 53402‐5527
MICHAEL WUERGLER    836 HONEYCRISP                                                                           ROCHESTER HILLS      MI 48307‐6811
MICHAEL WUEST       6625 BETHESDA ARNO RD                                                                    THOMPSONS STATION    TN 37179‐9216
MICHAEL WUEST       208 E LEXINGTON ST                                                                       DAVISON              MI 48423‐1825
MICHAEL WURTH       140 CRAIG ST                                                                             BUTLER               OH 44822‐8934
MICHAEL WURTH       65 SPRING SONG CT                                                                        SAINT PETERS         MO 63376‐1285
MICHAEL WYATT       26931 PONCHARTRAIN ST                                                                    HARRISON TWP         MI 48045‐5401
MICHAEL WYATT       12351 RUSTY DR                                                                           DAVISON              MI 48423‐9328
MICHAEL WYBLE       6214 VALLEY HWY                                                                          CHARLOTTE            MI 48813‐8881
MICHAEL WYCISK      CHRISTOPH‐PROBST‐STRASSE 8       APPARTMENT 335                       80805 MUENCHEN
                                                                                          GERMANY
MICHAEL WYNN        1815 OAKRIDGE DRIVE                                                                      DAYTON              OH   45417‐2314
MICHAEL WYNN        288 FITZPATRICK ST                                                                       HILLSIDE            NJ   07205‐2126
MICHAEL WYNN        RT #1 6721 ST RT 546                                                                     BELLVILLE           OH   44813
MICHAEL WYON        1063 RIVER RIDGE CIR                                                                     GRAND BLANC         MI   48439‐8046
MICHAEL WYSOCKI     9055 DEVONSHIRE CT                                                                       LAINGSBURG          MI   48848‐9445
MICHAEL Y SKOURI    2813 E WESTCHESTER RD                                                                    LANSING             MI   48911‐1038
MICHAEL YACK        5515 CHIPPEWA DR                                                                         HOWELL              MI   48843‐9100
MICHAEL YACKS       303 BELMONT DR                                                                           MARSHALL            TX   75672‐2277
MICHAEL YAGER       6213 DENHILL AVE                                                                         BURTON              MI   48519‐1335
MICHAEL YAKIM       503 LIGHTHOUSE DR                                                                        PERRYVILLE          MD   21903‐2529
MICHAEL YAKLIN      3041 DITCH RD                                                                            NEW LOTHROP         MI   48460‐9627
MICHAEL YAMADA      NO ADDRESS ON FILE
MICHAEL YAMBOR      2186 HAWTHORNE DR                                                                        DEFIANCE            OH   43512‐9670
MICHAEL YAMBRICK    G1432 W EGGLESTON ST                                                                     FLINT               MI   48532
MICHAEL YANACHIK    12 DIAMOND CT                                                                            SICKLERVILLE        NJ   08081‐1670
MICHAEL YANCHO      10640 HALSEY RD                                                                          GRAND BLANC         MI   48439‐8002
MICHAEL YANCHUK     2 LYNWOOD DR                                                                             PALMYRA             PA   17078‐3440
MICHAEL YANKEL      20865 WOLF DR                                                                            MACOMB              MI   48044‐2126
MICHAEL YANKOSKI    5651 CLINTON RIVER DR                                                                    WATERFORD           MI   48327‐2528
MICHAEL YANNIELLO   PO BOX 2091                                                                              MANSFIELD           OH   44905‐0091
MICHAEL YANOCHKO    4654 BROOKWOOD DR                                                                        BROOKLYN            OH   44144‐3216
MICHAEL YARD        8057 WASHBURN RD                                                                         GOODRICH            MI   48438‐9600
MICHAEL YARDE       15607 WARWICK AVE                                                                        ALLEN PARK          MI   48101‐2791
MICHAEL YARINA      3136 MEANDERWOOD DR                                                                      CANFIELD            OH   44406‐9620
MICHAEL YAROSH      930 STRONGBOX LN                                                                         N FT MYERS          FL   33917‐2903
MICHAEL YATER       3105 SLEAFORD DR                                                                         WATERFORD           MI   48329‐3352
MICHAEL YATES       5328 BURGUNDY DR                                                                         CLARKSTON           MI   48346‐3200
MICHAEL YATES       11911 W 49TH ST                                                                          SHAWNEE             KS   66216‐1358
MICHAEL YAW         261 JACKSON ST                                                                           SARANAC             MI   48881‐9507
MICHAEL YEAGER      3354 PARK MEADOW DR                                                                      LAKE ORION          MI   48362‐2071
MICHAEL YENS        5029 HURDS CORNER RD                                                                     SILVERWOOD          MI   48760‐9769
MICHAEL YENSAN      1305 WHITEHAVEN RD                                                                       GRAND ISLAND        NY   14072‐1915
MICHAEL YENSCH      2075 YARGERVILLE RD                                                                      LA SALLE            MI   48145‐9710
MICHAEL YINGLING    8806 OAK HILL RD                                                                         CLARKSTON           MI   48348‐1041
MICHAEL YOEST       3245 S LEAVITT RD SW                                                                     WARREN              OH   44481‐9115
MICHAEL YORK        7432 E 500 S                                                                             MARION              IN   46953‐9536
MICHAEL YORTON      319 N BOWER ST                                                                           GREENVILLE          MI   48838‐1524
MICHAEL YOSHIZAWA   132 COBBLESTONE CT                                                                       BEREA               OH   44017‐1080
MICHAEL YOULL       725 BONNIE BRAE AVE NE                                                                   WARREN              OH   44483‐5238
MICHAEL YOUNES      1016 THAMES DR                                                                           ROCHESTER HILLS     MI   48307‐5738
MICHAEL YOUNESS     42592 ELIZABETH WAY                                                                      CLINTON TWP         MI   48038‐1726
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Name                   Address1                       Address2                   Address3          Address4            City               State Zip
MICHAEL YOUNG          1 JOHN DEERE PL                BEIJING POUCH                                                    MOLINE               IL 61265‐8010
MICHAEL YOUNG          1353 HATHAWAY RISING                                                                            ROCHESTER HILLS     MI 48306‐3945
MICHAEL YOUNG          9748 COZYCROFT AVE                                                                              CHATSWORTH          CA 91311
MICHAEL YOUNG          71 ADAMS RD                                                                                     FRANKFORT           ME 04438‐3331
MICHAEL YOUNG          12277 E MOUNT MORRIS RD                                                                         DAVISON             MI 48423‐9345
MICHAEL YOUNG          4408 SUNSET BLVD                                                                                GRAND BLANC         MI 48439‐9055
MICHAEL YOUNG          3918 BROWN ST                                                                                   ANDERSON            IN 46013‐4366
MICHAEL YOUNG          361 S COUNTY ROAD 400 W                                                                         NEW CASTLE          IN 47362‐9713
MICHAEL YOUNG          PO BOX 5263                                                                                     WARREN              MI 48090‐5263
MICHAEL YOUNG          381 SIPES BRANCH RD                                                                             HELTONVILLE         IN 47436
MICHAEL YOUNGBLOOD     2337 BALDWIN RD                                                                                 LAPEER              MI 48446‐9770
MICHAEL YOUNGS         4920 BROWER TREE LN                                                                             KENT                OH 44240‐5637
MICHAEL YOUSOUFIAN     9070 LIONEL ST                                                                                  LIVONIA             MI 48150‐3410
MICHAEL YUGOVICH       3804 JEANETTE DR SE                                                                             WARREN              OH 44484‐2763
MICHAEL YURESKO        11190 LANGDON DR                                                                                CLIO                MI 48420‐1567
MICHAEL YUSKO          4488 WOOD DUCK CT                                                                               LINDEN              MI 48451‐8410
MICHAEL YUSKOWATZ      28401 LAKE PARK DR W                                                                            FARMINGTON HILLS    MI 48331‐3220
MICHAEL Z SEASE        232 TIFFIN AVE.                                                                                 GREENVILLE          OH 45331
MICHAEL Z SEASE        232 TIFFIN ST                                                                                   GREENVILLE          OH 45331‐1882
MICHAEL ZACHARY        4375 BRIDGEMAN TRL                                                                              SWARTZ CREEK        MI 48473‐8805
MICHAEL ZAFONTE        180 HOPE RD                                                                                     TINTON FALLS        NJ 07724‐3010
MICHAEL ZAJACZKOWSKI   5512 GARY RD                                                                                    CHESANING           MI 48616‐8429
MICHAEL ZALAC          1480 CRIMSON WAY                                                                                WALLED LAKE         MI 48390‐2149
MICHAEL ZALACK         5270 MCCLANDISH ROAD                                                                            GRAND BLANC         MI 48439
MICHAEL ZALESKI        932 DRAVIS ST                                                                                   GIRARD              OH 44420‐2020
MICHAEL ZALESKY        4 SHADOW WOOD DR                                                                                EAST AMHERST        NY 14051‐1716
MICHAEL ZALEWSKI       4074 LOCH DR                                                                                    HIGHLAND            MI 48357‐2234
MICHAEL ZALOPANYJ      7267 KINGSLEY ST                                                                                DEARBORN            MI 48126‐1631
MICHAEL ZALUPSKI       28837 ADLER DR                                                                                  WARREN              MI 48088‐4271
MICHAEL ZAMBITO        7 LORNA LN                                                                                      TONAWANDA           NY 14150‐2804
MICHAEL ZAMBO          29465 GLOEDE DR                                                                                 WARREN              MI 48088‐3969
MICHAEL ZAMBORAS       12701 DUNN CT                                                                                   PLYMOUTH            MI 48170‐6507
MICHAEL ZAMITO         577 W HEREFORD DR                                                                               QUEEN CREEK         AZ 85243‐5509
MICHAEL ZAMORA         G3418 CAMDEN AVE                                                                                BURTON              MI 48529‐1116
MICHAEL ZAMPINI        305 TROY AVE                                                                                    WILMINGTON          DE 19804‐2130
MICHAEL ZANE GRAY      NIX PATTERSON & ROACH LLP      GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                       DAINGERFIELD        TX 75638
MICHAEL ZANGARA        148 GREEN FOREST ESTATES DR                                                                     SAINT PETERS        MO 63376‐1964
MICHAEL ZAREM          455 QUEENS WAY                                                                                  CANTON              MI 48188‐1164
MICHAEL ZAROFF         5378 RIDGEMONT ST                                                                               HOWELL              MI 48843‐9145
MICHAEL ZASTROW        4258 N RIDGE RD                                                                                 LOCKPORT            NY 14094‐9773
MICHAEL ZAVADIL        PO BOX 1495                                                                                     HOT SPRINGS         AR 71902‐1495
MICHAEL ZAVATSKY       4227 W 36TH ST                                                                                  CLEVELAND           OH 44109‐3163
MICHAEL ZAVODNIK       MOOSTRASSE 35                                                               VILLACH LANDSKRON
                                                                                                   AUSTRIA 9523
MICHAEL ZAWISA         770 DUCK HOLW                                                                                   VICTOR             NY   14564‐9568
MICHAEL ZAWISLAK       PO BOX 185                                                                                      MORRICE            MI   48857‐0185
MICHAEL ZDAN           3025 PAYNES PL                                                                                  THE VILLAGES       FL   32162
MICHAEL ZDYBEL         710 OAKLEIGH RD NW                                                                              GRAND RAPIDS       MI   49504‐4612
MICHAEL ZEBERLEIN      703 CLOVER VALLEY CT                                                                            EDGEWOOD           MD   21040‐2141
MICHAEL ZECCHINI       6976 VALLEY PIKE                                                                                HUBER HEIGHTS      OH   45424‐6357
MICHAEL ZEDRICK JR     3642 WHITTIER LN                                                                                DANVILLE           IL   61832‐1135
MICHAEL ZEGER          9041 COUNTY ROAD 46                                                                             GALION             OH   44833‐9664
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Name                      Address1                        Address2                       Address3   Address4              City               State Zip
MICHAEL ZELEK             6370 LAMBETH WAY                                                                                CANTON              MI 48187‐4729
MICHAEL ZELENUK           3124 WOODBRIDGE DR                                                                              BEDFORD             TX 76021‐3644
MICHAEL ZELINSKI          3784 BRIMFIELD AVE                                                                              AUBURN HILLS        MI 48326‐3339
MICHAEL ZELLER JR         1487 PRATT RD                                                                                   METAMORA            MI 48455‐8972
MICHAEL ZELYEZ            14 HOPSON RD                                                                                    BRASHER FALLS       NY 13613‐3282
MICHAEL ZEMBO             10 CHARLES CT                                                                                   EASTON              PA 18045‐2150
MICHAEL ZEMBO JR          139 3RD ST                                                                                      NAZARETH            PA 18064‐2547
MICHAEL ZEMER             207 REDWINE DR                                                                                  HOUGHTON LAKE       MI 48629‐9135
MICHAEL ZEMKE             C/O COONEY AND CONWAY           120 NORTH LASALLE 30TH FLOOR                                    CHICAGO              IL 60602
MICHAEL ZEMMIN            1953 TIVERTON RD                                                                                BLOOMFIELD HILLS    MI 48304‐2348
MICHAEL ZEMROSE           7108 ZOAR VALLEY RD                                                                             SPRINGVILLE         NY 14141‐9743
MICHAEL ZERKA             3114 YALE ST                                                                                    FLINT               MI 48503‐4612
MICHAEL ZERMENO           20024 MARLIN CT                                                                                 LYNWOOD              IL 60411‐6903
MICHAEL ZETTS             24 POLAND MNR                                                                                   POLAND              OH 44514‐2057
MICHAEL ZETZENFAND        305 N ROSE DR                                                                                   GLENSHAW            PA 15116
MICHAEL ZEWALK            2057 IMPERIAL CIR                                                                               NAPLES              FL 34110‐1036
MICHAEL ZGAYB             BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS          OH 44236
MICHAEL ZIARKO            45650 SAVANNAH DR                                                                               CANTON              MI 48187‐4842
MICHAEL ZIELINSKI         280 S LINCOLN RD                                                                                BAY CITY            MI 48708‐9126
MICHAEL ZIELINSKI         12121 CARPENTER RD                                                                              FLUSHING            MI 48433‐9721
MICHAEL ZIELKE            885 MAPLE RD                                                                                    ORTONVILLE          MI 48462‐8810
MICHAEL ZIETZ             9595 DICE RD                                                                                    FREELAND            MI 48623‐8861
MICHAEL ZIKA              5633 WILLIAM ST                                                                                 LANCASTER           NY 14086‐9410
MICHAEL ZILLINGER I I I   1746 DODGE DR NW                                                                                WARREN              OH 44485‐1823
MICHAEL ZIMMERMAN         510 BARBER RD.                                                                                  CLEVELAND           NC 27013
MICHAEL ZIMMERMANN        TRESCKOWSTRASSE 50              20259 HAMBURG                  GERMANY
MICHAEL ZIMMERMANN        TRESCKOWSTRASSE 50                                                        20259 HAMBURG
MICHAEL ZIMNI             14017 HARRISON DR                                                                               WARREN             MI   48088‐3719
MICHAEL ZINK              3438 MILLINGTON RD                                                                              MILLINGTON         MI   48746‐9608
MICHAEL ZINSKI            PO BOX 321                                                                                      WHITE SWAN         WA   98952‐0321
MICHAEL ZIOMKOWSKI        68401 ROMEO PLANK RD                                                                            RAY                MI   48096‐1123
MICHAEL ZIZZI             1256 LOSSON RD                                                                                  BUFFALO            NY   14227‐2647
MICHAEL ZLOTUCHA          29086 PARK ST                                                                                   ROSEVILLE          MI   48066‐2153
MICHAEL ZMIJSKI           951 WILLOWGATE DRIVE                                                                            PROSPER            TX   75078‐8310
MICHAEL ZOBEL JR          349 MAYNARD DR                                                                                  BUFFALO            NY   14226‐2928
MICHAEL ZOFCHAK JR        2416 BEVERLY BLVD                                                                               FLINT              MI   48504‐6521
MICHAEL ZOLFO             2634 122ND ST                                                                                   BLUE ISLAND        IL   60406‐1010
MICHAEL ZORETICH          2208 POINT WOOD RD                                                                              FORT WAYNE         IN   46818‐8821
MICHAEL ZUBALIK           11215 ANDERSONVILLE RD                                                                          DAVISBURG          MI   48350‐3135
MICHAEL ZUBER             5142 BRIERCLIFF DR                                                                              HAMBURG            NY   14075‐3436
MICHAEL ZUBER             2551 BONITA DR                                                                                  WATERFORD          MI   48329‐4819
MICHAEL ZUCKSCHWERDT      7141 DANNY DR                                                                                   SAGINAW            MI   48609‐5254
MICHAEL ZUHOSKY           8186 WHEELER ST                                                                                 MASURY             OH   44438‐9722
MICHAEL ZULLO             BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH   44236
MICHAEL ZUMBAUGH          4676 FAIRMONT DR                                                                                TROY               MI   48085‐5046
MICHAEL ZUMBRO            1185 GRIMES RD                                                                                  MANSFIELD          OH   44903‐9190
MICHAEL ZUMSTEG           3480 S DIVINE HWY                                                                               PEWAMO             MI   48873‐9715
MICHAEL ZUNIGA            PO BOX 54                       3226 MILLER RD                                                  PERRY              MI   48872‐0054
MICHAEL ZURAW JR          304 MAIN ST                                                                                     BAY CITY           MI   48706‐5016
MICHAEL ZURBRICK          4771 MAPLEVIEW AVE                                                                              W BLOOMFIELD       MI   48324‐1253
MICHAEL ZWEBER            988 WHEATFIELD DR                                                                               LAKE ORION         MI   48362‐3492
MICHAEL ZWIEZYNSKI        675 EAST ST                                                                                     MILFORD            MI   48381‐1638
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Name                               Address1                        Address2                    Address3   Address4         City            State Zip
MICHAEL ZWOELFER                   WEINBERGSTRASSE 16 A            14469 POTSDAM
MICHAEL ZW╓LFER                    WEINBERGSTRA▀E 16 A             14469 POTSDAM
MICHAEL ZYDYK                      PO BOX 605                      884‐B SODOM HITCHINS                                    VIENNA          OH    44473‐0605
MICHAEL'S ARTS & CRAFTS            ATTN: NIKIA ABNER               13110 MIDDLEBELT RD                                     LIVONIA         MI    48150‐2231
MICHAEL'S AUTO SERVICE             3358 DRUSILLA LN STE 7D                                                                 BATON ROUGE     LA    70809‐1877
MICHAEL'S AUTOMOTIVE TECH CENTER   70 FRANKFORT ST                                                                         ROCHESTER       NY    14608‐1723
MICHAEL'S CHEVROLET OF ISSAQUAH    1601 18TH AVE NW                                                                        ISSAQUAH        WA    98027‐8105
MICHAEL'S IMPORT & DOMESTIC        17443 NE 70TH ST                                                                        REDMOND         WA    98052‐4917
MICHAEL'S PHARMACY                 4955 VAN NUYS BLVD                                                                      SHERMAN OAKS    CA    91403
MICHAEL, A G                       GUY WILLIAM S                   PO BOX 509                                              MCCOMB          MS    39649‐0509
MICHAEL, ALAN D                    7055 CROSSWINDS DR                                                                      SWARTZ CREEK    MI    48473‐9778
MICHAEL, ALBERTUS D                351 S BROADWAY ST                                                                       PENDLETON       IN    46064‐1205
MICHAEL, ALICE M                   4725 PREEMPTION RD                                                                      ROCK STREAM     NY    14878‐9653
MICHAEL, ALLPHIN E                 41 STILLWELL DR                                                                         DAYTON          OH    45431‐1353
MICHAEL, ANGELA M                  APT 715                         2655 GREENSTONE BOULEVARD                               AUBURN HILLS    MI    48326‐3765
MICHAEL, ANNE B                    3745 SEBRING PKWY                                                                       SEBRING         FL    33870‐6601
MICHAEL, ARVIN E                   8800 E COUNTY ROAD 800 S                                                                MUNCIE          IN    47302‐9704
MICHAEL, BARRY D                   205 CROW RD                                                                             DOVER           TN    37058‐3342
MICHAEL, BEULAH L                  PO BOX 42                                                                               LUZERNE         MI    48636
MICHAEL, BEULAH L                  4190 LEVALLEY RD                APRT 22                                                 COLUMBIAVILLE   MI    48421
MICHAEL, BILLY L                   15 BROADWAY ST                                                                          BERKELEY SPGS   WV    25411‐1057
MICHAEL, BOBBY G                   COUNTY RD 7461 #414                                                                     BALDWYN         MS    38824‐8937
MICHAEL, BOBBY G                   414 COUNTY ROAD 7461                                                                    BALDWYN         MS    38824‐8937
MICHAEL, BONNIE D                  4776 STAGECOACH RD                                                                      IRON STATION    NC    28080‐7797
MICHAEL, CALVIN J                  104 TRACE WOOD COVE                                                                     CLINTON         MS    39056‐3913
MICHAEL, CAREY D                   643 ALVORD AVE                                                                          FLINT           MI    48507‐2519
MICHAEL, CAREY DOUGLAS             643 ALVORD AVE                                                                          FLINT           MI    48507‐2519
MICHAEL, CARL D                    19412 SANDY SPRINGS CIR                                                                 LUTZ            FL    33558‐9735
MICHAEL, CAROLYN J                 PO BOX 1395                                                                             JACKSON         MS    39215‐1395
MICHAEL, CECIL H                   11233 N LEWIS RD                                                                        CLIO            MI    48420‐7936
MICHAEL, CHARLES A                 3732 INDEPENDENCE AVE N                                                                 NEW HOPE        MN    55427‐1629
MICHAEL, CHARLES E                 2534 N JAY ST                                                                           KOKOMO          IN    46901‐1525
MICHAEL, CHARLES H                 32 SHADYBROOK DR                                                                        DAYTON          OH    45459‐1929
MICHAEL, CHARLES J                 533 BERNARDO AVE NE                                                                     PALM BAY        FL    32907‐2020
MICHAEL, CHRISTINA U               397 1/2 STATE PARK DR                                                                   BAY CITY        MI    48706‐1338
MICHAEL, CLARENCE B                4 CASSANDRA CT                                                                          HAMILTON        OH    45011‐2202
MICHAEL, CLARK D                   12402 OPENLANDER RD                                                                     SHERWOOD        OH    43556‐9754
MICHAEL, DALE L                    130 WARNER DR                                                                           UNION           OH    45322‐2963
MICHAEL, DALE LES                  130 WARNER DR                                                                           UNION           OH    45322‐2963
MICHAEL, DANIEL P                  47103 WATERS EDGE LN APT B104                                                           BELLEVILLE      MI    48111‐3154
MICHAEL, DARYL M                   11825 MILE RD                                                                           NEW LEBANON     OH    45345‐9143
MICHAEL, DAVID H                   PO BOX 105                                                                              FOREST          IN    46039‐0105
MICHAEL, DAVID J                   2256 E JUDD RD                                                                          BURTON          MI    48529‐2409
MICHAEL, DAVID J                   718 S PENDLETON AVE                                                                     PENDLETON       IN    46064
MICHAEL, DAVID K                   1017 SHADOW LN                                                                          TOLEDO          OH    43615‐7719
MICHAEL, DAVID L                   8854 E VERMONTVILLE HWY                                                                 DIMONDALE       MI    48821‐9637
MICHAEL, DAVID‐CARLOS              5842 UPLAND DR APT 204                                                                  CLARKSTON       MI    48346‐4708
MICHAEL, DAWN M                    450 LIVERNOIS ST                                                                        FERNDALE        MI    48220‐2384
MICHAEL, DEAN R                    PO BOX 1151                                                                             FRANKFORT       MI    49635‐1151
MICHAEL, DEBORAH A                 1161 STANLEY BLVD                                                                       BIRMINGHAM      MI    48009‐1949
MICHAEL, DELORES K                 100 MCNAMEE LN APT 317                                                                  RISING SUN      MD    21911‐2250
MICHAEL, DENNIS D                  2529 N MASON ST                                                                         SAGINAW         MI    48602‐5215
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Name                    Address1                      Address2                      Address3   Address4         City           State Zip
MICHAEL, DOLPHIN        18450 GREENLAWN ST                                                                      DETROIT         MI 48221‐2109
MICHAEL, DONALD B       PO BOX 3491                                                                             BROOKHAVEN      MS 39603‐7491
MICHAEL, DONALD B       P.O. BOX 3491                                                                           BROOKHAVEN      MS 39601‐9601
MICHAEL, DORIAN         20455 NEGAUNEE                                                                          REDFORD         MI 48240‐1211
MICHAEL, EDWARD S       4528 FORDER OAKS DR                                                                     SAINT LOUIS     MO 63129‐7103
MICHAEL, EILEEN A       12157 OPENLANDER ROAD                                                                   SHERWOOD        OH 43556‐9807
MICHAEL, ERIC L         529 LAYTON RD                                                                           ANDERSON        IN 46011‐1521
MICHAEL, FLORENCE A     426 LITTLE COVE DR                                                                      DANDRIDGE       TN 37725‐6242
MICHAEL, FRANCIS E      1083 BROWN RD                                                                           ORION           MI 48359‐2201
MICHAEL, FREDERICK J    9359 LITTLE SPRUCE CT                                                                   LINDEN          MI 48451‐8751
MICHAEL, GAYE R         12009 S SAGINAW ST APT 7                                                                GRAND BLANC     MI 48439‐1449
MICHAEL, GEORGE L       17245 HANOVER AVE                                                                       ALLEN PARK      MI 48101‐2834
MICHAEL, GERALDINE L.   385 W BROWN ST LOT 15                                                                   BEAVERTON       MI 48612‐9778
MICHAEL, GERTRUDE       4528 FORDER OAKS DR                                                                     SAINT LOUIS     MO 63129‐7103
MICHAEL, GRETA M        7162 BRITTWOOD LN                                                                       FLINT           MI 48507‐4622
MICHAEL, GRETA MARIE    7162 BRITTWOOD LN                                                                       FLINT           MI 48507‐4622
MICHAEL, GWEN A         800 E SOUTH B ST APT 54                                                                 GAS CITY        IN 46933‐2110
MICHAEL, GWEN A         800 EAST SO B ST. APT#54                                                                GAS CITY        IN 46933‐2110
MICHAEL, HAROLD F       2255 TOWN CREEK SCHOOL RD                                                               BLAIRSVILLE     GA 30512‐5943
MICHAEL, HELEN          118 W. HARRIS ST              APT. 1                                                    CHARLOTTE       MI 48813‐2204
MICHAEL, HELEN E.       221 ANTIETAM RD                                                                         BALTIMORE       MD 21221‐1503
MICHAEL, HELEN L        1200 EARHART ROAD                                                                       ANN ARBOR       MI 48105‐2768
MICHAEL, HELEN S        113 WILLOW LN                                                                           ANDERSON        IN 46012‐1025
MICHAEL, HELEN S        113 WILLOW LANE                                                                         ANDERSON        IN 46012‐1025
MICHAEL, HERMAN R       204 NORTH MAIN ST                                                                       LEWISBURG       OH 45338‐5338
MICHAEL, HERMAN R       204 N MAIN ST                                                                           LEWISBURG       OH 45338‐9711
MICHAEL, HUBERT         550 WALNUT HILLS DR                                                                     ZANESVILLE      OH 43701‐9284
MICHAEL, J B            104 GRAHAM AVE                                                                          TUSCUMBIA       AL 35674‐3311
MICHAEL, JAMES A        903 S 4TH ST                                                                            HAYTI           MO 63851
MICHAEL, JAMES A        728 SE 11TH ST                                                                          LEES SUMMIT     MO 64081‐3046
MICHAEL, JAMES C        3633 BROWN RD                                                                           MILLINGTON      MI 48746‐9633
MICHAEL, JAMES L        8777 BIG STONE LAKE RD                                                                  EVART           MI 49631‐7708
MICHAEL, JAMES R        1090 WOODBINE RD                                                                        SAGINAW         MI 48609‐5246
MICHAEL, JASON L        2047 E 550 S                                                                            ANDERSON        IN 46017‐9552
MICHAEL, JASON LEE      2047 E 550 S                                                                            ANDERSON        IN 46017‐9552
MICHAEL, JEAN K         8777 BIG STONE LAKE ROAD                                                                EVART           MI 49631‐7708
MICHAEL, JEANNE         214 T COURT CIR                                                                         DOVER           TN 37058‐3346
MICHAEL, JEFFREY A      7109 E SALT CREEK DR                                                                    BLOOMINGTON     IN 47401‐9429
MICHAEL, JOE L          GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA 23510‐2212
                                                      STREET, SUITE 600
MICHAEL, JOSEPH F       4725 PREEMPTION RD                                                                      ROCK STREAM    NY   14878‐9653
MICHAEL, JOSEPH T       3555 WILLOW HILL RD                                                                     LEXINGTON      OH   44904‐9739
MICHAEL, JULIA K        1555 N MAIN ST                                                                          FRANKFORT      IN   46041‐1167
MICHAEL, KATHRYN P      6718 CLIFTON RD                                                                         CLIFTON        VA   20124‐1453
MICHAEL, KEITH O        913 MAE ST                                                                              WILMINGTON     IL   60481‐1538
MICHAEL, KELLY R        5004 SOUTH LARAMIE AVENUE                                                               CHICAGO        IL   60638‐2131
MICHAEL, KENNETH W      718 S PENDLETON AVE                                                                     PENDLETON      IN   46064‐1353
MICHAEL, LAURA M        9 FURNACE COURT                                                                         COCKEYSVILLE   MD   21030‐1917
MICHAEL, LAURA M        9 FURNACE CT                                                                            COCKEYSVILLE   MD   21030‐1917
MICHAEL, LAURIE R       1655 MICHAEL DR                                                                         LEWISTON       MI   49756‐8111
MICHAEL, LEE            7059A E MOUNT MORRIS RD                                                                 OTISVILLE      MI   48463‐9420
MICHAEL, LEE E          HANNA, STEVEN P               237 N SYCAMORE ST                                         PETERSBURG     VA   23803‐3227
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Name                   Address1                         Address2               Address3      Address4         City                State Zip
MICHAEL, LINDA J       APT 1                            2055 ROCKCREEK DRIVE                                  BOWLING GREEN        KY 42101‐3682
MICHAEL, LINDA JEAN    2055 ROCKCREEK DR                APT 1                                                 BOWLING GREEN        KY 42101‐3682
MICHAEL, LOIS          18228 MONTE VISTA ST                                                                   DETROIT              MI 48221‐1949
MICHAEL, M C           7109 HOUGHTON DR                                                                       DAVISON              MI 48423‐2335
MICHAEL, MARGARET      1924 AMYS RIDGE CT                                                                     BEAVERCREEK          OH 45434‐7194
MICHAEL, MARVIN A      PO BOX 343                                                                             PERRYVILLE           KY 40468‐0343
MICHAEL, MARY L        7055 CROSSWINDS DR                                                                     SWARTZ CREEK         MI 48473‐9778
MICHAEL, MARY V        1643 SOMERS‐GRATIS RD                                                                  CAMDEN               OH 45311‐8845
MICHAEL, MARY V        1643 SOMERS GRATIS RD                                                                  CAMDEN               OH 45311‐8845
MICHAEL, MAX D         C/O PAUL BODYCOMB                3535 FISHINGER BLVD.   SUITE 220                      HILLIARD             OH 43026
MICHAEL, MELVIN E      2063 BRANDY MILL LN                                                                    CENTERVILLE          OH 45459‐1195
MICHAEL, NANCY C       2754 W GARDEN DR                                                                       GREENFIELD           IN 46140‐8523
MICHAEL, NORMA G       1707 BETHANY RD                  #231                                                  ANDERSON             IN 46012
MICHAEL, OLA J         1171 BOURNEMOUTH CT                                                                    CENTERVILLE          OH 45459‐2647
MICHAEL, OLGA N        5648 3 MILE RD                   C/O CAROL L TAYLOR                                    BAY CITY             MI 48706‐9031
MICHAEL, OLLIE L       3924 BEATTIE RD                                                                        HOWELL               MI 48843‐7800
MICHAEL, PATRICK L     7069 PAMELA DR                                                                         YPSILANTI            MI 48197‐1775
MICHAEL, PATSY         4950 CAMDEN ST                                                                         INDIANAPOLIS         IN 46227‐1682
MICHAEL, PAUL A        5741 WATERFORD PL                                                                      TOLEDO               OH 43623‐1567
MICHAEL, PAUL M        2840 WOLCOTT ST                                                                        FLINT                MI 48504‐7514
MICHAEL, PAULINE H     41429 GREENBRIAR LANE                                                                  PLYMOUTH TOWNSHIP    MI 48170‐2625
MICHAEL, PHILIP E      RT 1                                                                                   SHERWOOD             OH 43556
MICHAEL, PHILIP P      1105 S STOCKPORT DR                                                                    MUNCIE               IN 47304‐4659
MICHAEL, PHILIP PAUL   1105 S STOCKPORT DR                                                                    MUNCIE               IN 47304‐4659
MICHAEL, REED C        88 HAMPSHIRE LN                                                                        BERKELEY SPGS        WV 25411‐3232
MICHAEL, RICHARD A     1857 SUNRISE DRIVE                                                                     GREENBUSH            MI 48738‐9630
MICHAEL, RICHARD G     160 W OLSON RD                                                                         MIDLAND              MI 48640‐9050
MICHAEL, RICHARD O     979 XANADU E                                                                           VENICE               FL 34285‐6357
MICHAEL, RICHARD O     979 XANADU AVENUE E                                                                    VENICE               FL 34285‐6357
MICHAEL, RICKIE L      920 HURON ST                                                                           FLINT                MI 48507‐2555
MICHAEL, RICKIE LEE    920 HURON ST                                                                           FLINT                MI 48507‐2555
MICHAEL, ROBERT E      1040 WOODGLEN DRIVE                                                                    NEWTON FALLS         OH 44444‐9706
MICHAEL, ROBERT E      1040 WOODGLEN AVE                                                                      NEWTON FALLS         OH 44444‐9706
MICHAEL, ROBERT L      2789 E COUNTY ROAD 67                                                                  ANDERSON             IN 46017‐1858
MICHAEL, ROBERT L      9355 JAMIE DR                                                                          DAVISON              MI 48423‐2827
MICHAEL, ROBERT R      11305 HALO LN                                                                          MERCERSBURG          PA 17236‐9769
MICHAEL, ROBERT RAY    11305 HALO LN                                                                          MERCERSBURG          PA 17236‐9769
MICHAEL, ROBERT V      198 N HURON RD                                                                         AU GRES              MI 48703
MICHAEL, RODNEY L      PO BOX 2085                                                                            ANDERSON             IN 46018‐2085
MICHAEL, ROGER D       9854 N 29TH ST                                                                         PHOENIX              AZ 85028‐4444
MICHAEL, RONALD D      PO BOX 672                                                                             ARCADIA              IN 46030‐0672
MICHAEL, RONNIE C      152 MARGARET RD                                                                        EGGERTSVILLE         NY 14226‐2015
MICHAEL, ROSEANN F     2256 E JUDD RD                                                                         BURTON               MI 48529‐2409
MICHAEL, ROSS V        308 LAFAYETTE ST                                                                       WATERTOWN            WI 53094‐6112
MICHAEL, ROY T         2023 S STATE ROUTE 19                                                                  GREEN SPRINGS        OH 44836‐9629
MICHAEL, RUTH C        9355 JAMIE DR                                                                          DAVISON              MI 48423‐2827
MICHAEL, SANDRA K      920 HURON ST                                                                           FLINT                MI 48507
MICHAEL, SANDRA M      28506 HELENA RUN DRVIE                                                                 LEESBURG             FL 34748
MICHAEL, SANDRA N.     207 MILL ST                                                                            BANCROFT             MI 48414‐9605
MICHAEL, SANDRA S      1040 WOODGLEN DR                                                                       NEWTON FALLS         OH 44444‐9706
MICHAEL, SANDRA S      1040 WOODGLEN AVE                                                                      NEWTON FALLS         OH 44444‐9706
MICHAEL, SARA P        625 IMY LN                                                                             ANDERSON             IN 46013‐3870
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Name                                Address1                          Address2                       Address3         Address4                   City                  State Zip
MICHAEL, SHARON L                   2180 S WHITECAPS LN                                                                                          LAKESIDE MARBLEHEAD    OH 43440‐9766
MICHAEL, SHELTON                    11332 DENTON HILL RD                                                                                         FENTON                 MI 48430‐2524
MICHAEL, SHIRLEY E                  2792 CRESTWOOD DR NW                                                                                         WARREN                 OH 44485‐1227
MICHAEL, SHIRLEY K                  641 N 2ND ST APT 1                                                                                           DECATUR                IN 46733‐1396
MICHAEL, SHIRLEY M                  137 W CHURCH ST                                                                                              WILLIAMSTON            MI 48895‐1119
MICHAEL, STEVEN                     PO BOX 721552                                                                                                NORMAN                 OK 73070‐8193
MICHAEL, STEVEN B                   5387 MULLIGANS BLUFF RD                                                                                      NEY                    OH 43549‐9757
MICHAEL, SUZANNE M                  12401 RAILROAD RD                                                                                            CLIO                   MI 48420‐8231
MICHAEL, THEODORE A                 758 PERIMETER PARK CIR                                                                                       SAINT AUGUSTINE        FL 32084‐3977
MICHAEL, THOMAS G                   22811 E 321ST ST                                                                                             HARRISONVILLE          MO 64701‐7398
MICHAEL, THOMAS R                   6716 VILLA HERMOSA DR                                                                                        EL PASO                TX 79912‐1724
MICHAEL, TIMOTHY D                  1232 GLENWICK DR                                                                                             LOGANSPORT             IN 46947‐4001
MICHAEL, TIMOTHY W                  1332 TIMBERLINE DR                                                                                           FLINT                  MI 48507‐0507
MICHAEL, TIMOTHY W.                 1332 TIMBERLINE DR                                                                                           FLINT                  MI 48507‐0507
MICHAEL, TRACY D                    1209 W GILBERT ST                                                                                            MUNCIE                 IN 47303‐3614
MICHAEL, VINCENT E                  6579 S KIMBERLY DR                                                                                           HOLLY                  MI 48442‐8741
MICHAEL, VIRGINIA B                 2325 S H ST                                                                                                  ELWOOD                 IN 46036‐2557
MICHAEL, VIRGINIA B                 2325 SO H STREET                                                                                             ELWOOD                 IN 46036‐2557
MICHAEL, WAYNE D                    226 MILLS PLACE                                                                                              NEW LEBANON            OH 45345‐1518
MICHAEL, WAYNE D                    226 MILLS PL                                                                                                 NEW LEBANON            OH 45345‐1518
MICHAEL, WILLIAM H                  3904 S MAPLE LN                                                                                              MUNCIE                 IN 47302‐5859
MICHAEL, WILLIAM L                  4290 N PARK AVE                                                                                              CORTLAND               OH 44410‐9508
MICHAEL, WILLIAM R                  1090 PETER YOST RD                                                                                           BERKELEY SPGS          WV 25411‐5637
MICHAEL,DALE LES                    130 WARNER DR                                                                                                UNION                  OH 45322‐2963
MICHAEL‐FRANZ KRAUSE                OERESUNDSVEJ 12                                                                   DK‐3100 HORNBAEK
                                                                                                                      DENMARK
MICHAELA AND STEFANIE CREMER        WERNER V CREMER                   VEREIDIGTER BUCHPRUFER,        SCHIFFERSTR 29   60594 FRANKFURT AM
                                                                      STEUERBERATER                                   MAIN GERMANY
MICHAELA PINGGERA                   DORF 158                                                                          I‐39029 STILFS BZ ITALY
MICHAELA REED                       182 CORNWALLICE LANE                                                                                         FLINT                 MI 48507‐5915
MICHAELA REISCHL                    PERLHOFGASSE 22                                                                   A‐2372 GIESZHUBL AUSTRIA
MICHAELA WHITFIELD                  4764 ELLINGTON CT                                                                                            MARIETTA              GA   30067‐1502
MICHAELE HATTABAUGH                 542 BENT OAK DR                                                                                              LAKE ST LOUIS         MO   63367‐1422
MICHAELE NELSON                     APT 305                           2001 NORTH CENTER ROAD                                                     FLINT                 MI   48506‐3183
MICHAELENA PALMIERI                 5 VANCE CT                                                                                                   HAMILTON              OH   45015‐1957
MICHAELENE KARAS                    14295 OAKWOOD DR                                                                                             SHELBY TOWNSHIP       MI   48315‐1449
MICHAELENE KEARNEY                  2819 E MILWAUKEE ST                                                                                          JANESVILLE            WI   53545‐1360
MICHAELENE M BATTAGLIA              TOD REGISTRATION                  10104 S WOOD ST                                                            CHICAGO               IL   60643‐2014
MICHAELENE MATIJEVIC                PO BOX 293                                                                                                   WEST MIDDLESEX        PA   16159‐0293
MICHAELENE POLLOCK                  1279 BROADWAY ST                                                                                             MASURY                OH   44438‐1453
MICHAELENE POLLOCK                  1279 BROADWAY AVE                                                                                            MASURY                OH   44438‐1453
MICHAELENE R MATIJEVIC              P O BOX 293                                                                                                  W. MIDDLESEX          PA   16159‐0293
MICHAELENE SIWINSKI                 237 DAVIS LN                                                                                                 BOLINGBROOK           IL   60440‐2333
MICHAELFRANK KING                   675 SEWARD ST APT 320                                                                                        DETROIT               MI   48202‐4444
MICHAELI CHARLES (640779)           LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                               HOUSTON               TX   77069
MICHAELI CHARLES P /JODY MICHAELI   ICO THE LANIER LAW FIRM P C       6810 FM 1960 WEST                                                          HOUSTON               TX   77069
MICHAELI, CHARLES                   LANIER LAW FIRM                   6810 FM 1960 WEST SUITE 1550                                               HOUSTON               TX   77069
MICHAELI, JEFFREY S                 6340 GREAT OAKS TRL                                                                                          ALMONT                MI   48003‐9716
MICHAELIDES, LYDIS                  26 EDGEWOOD DR                                                                                               ORANGEBURG            NY   10962‐1610
MICHAELIDES, LYDIS                  89 CORTWOOD VLG                                                                                              ORANGEBURG            NY   10962
MICHAELIDES, ROBERT                 2301 WEYBORN DR                                                                                              ARLINGTON             TX   76018‐2539
MICHAELIDIS, PHOTIOS                4660 GERTRUDE ST                                                                                             DEARBORN HTS          MI   48125‐2806
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Name                          Address1                         Address2                           Address3   Address4         City               State Zip
MICHAELINE KONAR              4708 BEECHNUT DR                                                                                SAINT JOSEPH        MI 49085‐9321
MICHAELINE VOGEL              1071 PELHAM BLVD                                                                                WATERFORD           MI 48328‐4262
MICHAELIS, BETTY A            182 GUERNSEY AVE                                                                                COLUMBUS            OH 43204‐2529
MICHAELIS, DOUGLAS A          PO BOX 171                                                                                      HOLGATE             OH 43527‐0171
MICHAELIS, ELMER O            38145 N IL ROUTE 59                                                                             LAKE VILLA           IL 60046‐9794
MICHAELIS, GARY P             84 N ASPEN DR                                                                                   CORTLAND             IL 60112‐4003
MICHAELIS, JAMES P            134 PINEY LOOP                                                                                  HOT SPRINGS         AR 71913‐9185
MICHAELIS, JEFFREY E          2110 BURR OAK LN                                                                                LINDENHURST          IL 60046‐9227
MICHAELIS, KATHRYN M          2584 BESSMORE PARK RD                                                                           ROCHESTER           IN 46975‐7275
MICHAELIS, KENNETH R          5649 S STATE ROAD 213                                                                           BELOIT              WI 53511‐9469
MICHAELIS, MARCIELE M         216 KETTENRING DR                C/O GAYE A BURNETT                                             DEFIANCE            OH 43512‐1752
MICHAELIS, MARIE              1308 OPAL AVE                                                                                   SEBRING             FL 33870‐4586
MICHAELIS, MARIE              1308 OPAL AVE.                                                                                  SEBRING             FL 33870
MICHAELIS, RANDY J            206 LEONARD ST                                                                                  CHESANING           MI 48616‐1424
MICHAELIS, ROBERT N           2176 MARDI CT                                                                                   GROVE CITY          OH 43123‐4004
MICHAELIS, SHARON M           553 5TH RD                                                                                      DODGE               NE 68633
MICHAELIS, VICKI J            1653 KILDARE PL                                                                                 COLUMBUS            OH 43228‐3429
MICHAELL ROBINSON             2891 CRIPPLE CREEK RD                                                                           IVANHOE             VA 24350‐3676
MICHAELLA M CONROY            1915 S.RT.59 LOT100                                                                             KENT                OH 44240‐7604
MICHAELLE JENNINGS            5237 N 100 W                                                                                    ANDERSON            IN 46011‐9285
MICHAELLENE BOWLING           23503 MABEL CT                                                                                  BROWNSTOWN          MI 48183‐5465
MICHAELOU, ANTHONY M          4395 OLD CARRIAGE RD                                                                            FLINT               MI 48507‐5619
MICHAELOU, MIKE               6040 N BELSAY RD                                                                                FLINT               MI 48506‐1246
MICHAELOU, SEVASTI            2416 TORRANCE AVE                                                                               FLINT               MI 48506‐3475
MICHAELS CAR CENTER           4371 24TH AVE                                                                                   FORT GRATIOT        MI 48059‐3858
MICHAELS DO                   120 E FM 544 STE 72 PMB 133                                                                     MURPHY              TX 75094‐4035
MICHAELS FRANCIS D (626656)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK             VA 23510
                                                               STREET, SUITE 600
MICHAELS JAMES                MICHAELS, JAMES                  33900 WEST 8 MILE ROAD SUITE 149                               FARMINGTON HILLS   MI 48335

MICHAELS RAYMOND (446348)     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                  NORTHFIELD         OH 44067
                                                               PROFESSIONAL BLDG
MICHAELS, ALEXANDRA R         347 CEDAR BOULEVARD                                                                             PITTSBURGH         PA   15228‐1137
MICHAELS, ALLEN F             10640 JUDD RD                                                                                   WILLIS             MI   48191‐9745
MICHAELS, ARTHUR J            PO BOX 1292                                                                                     LAKE CITY          TN   37769‐1292
MICHAELS, BERNARD G           423 APPALOOSA DR                                                                                PASO ROBLES        CA   93446‐2924
MICHAELS, BONNIE J            PO BOX 70                                                                                       WILSON             NY   14172‐0070
MICHAELS, BRANDON W           59 WOODVIEW AVE                                                                                 BOARDMAN           OH   44512‐4643
MICHAELS, CHRISTOPHER A       57413 SUFFIELD DR                                                                               WASHINGTON         MI   48094‐3557
MICHAELS, CINDY L             252 MAPLE RUN                                                                                   MASON              MI   48854‐2528
MICHAELS, DAVID A             5901 KNAPP RD                                                                                   CANANDAIGUA        NY   14424‐8978
MICHAELS, DONALD C            6209 SILVER LAKES DRIVE WEST                                                                    LAKELAND           FL   33810‐7439
MICHAELS, DONALD M            473 PORTER AVE                                                                                  CAMPBELL           OH   44405‐1447
MICHAELS, DONNA C             2781 CLYDESDALE CT                                                                              PINCKNEY           MI   48169
MICHAELS, ELOISE              1109 TONER DR                                                                                   ANDERSON           IN   46012‐1528
MICHAELS, FRANCIS D           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                    NORFOLK            VA   23510
                                                               STREET, SUITE 600
MICHAELS, GEORGE T            132 MAIN ST                                                                                     CHESTER            NY   10918‐1325
MICHAELS, GERDA F             1439 ARCHER ST                                                                                  LEHIGH ACRES       FL   33936‐5369
MICHAELS, GLORIA H            4031 GREENMONT DR., S.E.                                                                        WARREN             OH   44484‐2613
MICHAELS, GORDON J            10584 WALLIS RUN RD                                                                             TROUT RUN          PA   17771‐9043
MICHAELS, HELEN J             4595 CAMINO DEL MIRASOL                                                                         SANTA BARBARA      CA   93110‐1003
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Name                                  Address1                        Address2                    Address3   Address4             City               State Zip
MICHAELS, JAMES                       ROMANO STANCROFF MIKHOV PC,     33900 W 8 MILE RD STE 149                                   FARMINGTON HILLS    MI 48335‐5204
MICHAELS, JAMES                       331 DALE COUNTY 1                                                                           DALEVILLE           AL 36322
MICHAELS, JASON M                     3084 RUSHTON                                                           WINDSOR ON N8R 1M4
                                                                                                             CANADA
MICHAELS, JERE L                      190 HILLCREST AVE                                                                           BRIGHTON           MI   48116‐1608
MICHAELS, JESSE K                     PO BOX 236                      118 N MAIN ST                                               MODOC              IN   47358‐0236
MICHAELS, JOHN M                      2043 THORNWOOD CIR                                                                          SAINT CHARLES      IL   60174‐5015
MICHAELS, JOYCE M                     PO BOX 873                                                                                  WADSWORTH          OH   44282‐0873
MICHAELS, JOYCE M                     P.O. BOX 873                                                                                WADSWORTH          OH   44282
MICHAELS, KENNETH F                   1614 6TH ST                                                                                 WYANDOTTE          MI   48192‐3720
MICHAELS, KERRY L                     1223 BLAINE AVE                                                                             JANESVILLE         WI   53545‐1833
MICHAELS, LAWRENCE H                  25860 SHORELINE DR                                                                          NOVI               MI   48374‐2171
MICHAELS, LORRAINE M                  325 TRENTON ROAD                                                                            FAIRLESS HLS       PA   19030‐2803
MICHAELS, LOUELLA                     524 DAVID DR                                                                                MIAMISBURG         OH   45342‐2620
MICHAELS, LOUELLA                     524 DAVID DRIVE                                                                             MIAMISBURG         OH   45342‐2620
MICHAELS, LOUISE N                    2350 WATKINS LAKE RD #119                                                                   WATERFORD          MI   48328‐1426
MICHAELS, MARTHA L                    125 WOODVINE STREET                                                                         JACKSBORO          TN   37757‐2326
MICHAELS, MARY J                      1907 FALLING LEAF LN                                                                        MIAMISBURG         OH   45342‐7633
MICHAELS, MOLLIE C                    38 TALL TREE DRIVE                                                                          PENFIELD           NY   14526‐9521
MICHAELS, MYRA H                      2224 WILLOWGROVE AVE                                                                        KETTERING          OH   45409‐1951
MICHAELS, RAYMOND L                   2500 S HICKORY RIDGE RD                                                                     MILFORD            MI   48380‐1926
MICHAELS, RICHARD E                   1709 WESTHAMPTON DR                                                                         AUSTINTOWN         OH   44515‐3800
MICHAELS, RICHARD E                   4031 GREENMONT DR, S.E.                                                                     WARREN             OH   44484‐2613
MICHAELS, RICHARD W                   6221 MEYER RD                                                                               CHOCTAW            OK   73020‐5057
MICHAELS, RITA M                      265 EVANS ST APT 8                                                                          WILLIAMSVILLE      NY   14221‐5553
MICHAELS, ROBERT A                    2 TROTTER CT                                                                                DAYTONA BEACH      FL   32119‐1665
MICHAELS, ROBERT J                    106 MAPLE CT APT 154                                                                        ROSELLE            NJ   07203‐3067
MICHAELS, ROBERT M                    402 PONOKA ST                                                                               SEBASTIAN          FL   32958‐3902
MICHAELS, ROBERT P                    59 FAWN MEADOWS CT                                                                          GETZVILLE          NY   14068‐1467
MICHAELS, ROBERT W                    13193 HAMPTON CLUB DR APT 102                                                               NORTH ROYALTON     OH   44133‐7413
MICHAELS, ROSEMARY J                  10640 JUDD RD                                                                               WILLIS             MI   48191‐9745
MICHAELS, RUTH G                      2138 PASSOLT ST                                                                             SAGINAW            MI   48603‐4017
MICHAELS, TERRY B                     2393 SECLUDED LN                                                                            FLINT              MI   48507‐3831
MICHAELS, THOMAS C                    48960 KINGS DR                                                                              SHELBY TOWNSHIP    MI   48315‐4038
MICHAELS, TOBI                        1102 NW WILLOW DR                                                                           GRAIN VALLEY       MO   64029‐8012
MICHAELS, WILMA B                     3612 FAR HILLS AVENUE                                                                       KETTERING          OH   45429‐2504
MICHAELS‐, SHIRLEY M                  717 MEADOW CREEK CT                                                                         CLEBURNE           TX   76033‐8953
MICHAELS‐WOODS, KRIS A                6498 RIDGEWOOD LAKES DR                                                                     PARMA              OH   44129‐5011
MICHAELSEN RYAN                       MICHAELSEN, RYAN                P O BOX 3010                                                BOCA RATON         FL   33431‐0910
MICHAELSEN, RYAN                      P O BOX 3010                                                                                BOCA RATON         FL   33431‐0910
MICHAELSEN, RYAN                      PO BOX 3010                                                                                 BOCA RATON         FL   33431‐0910
MICHAELSON TOMMIE KLAIR (ESTATE OF)   BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                 WILMINGTON         DE   19899‐2165
(662165)
MICHAELSON, DAVID W                   35 DENEVEU CIR                                                                              FOND DU LAC        WI   54935
MICHAELSON, EDWARD M                  28675 SUBURBAN DR                                                                           WARREN             MI   48088‐4258
MICHAELSON, HOWARD L                  384 MARTIN RD                                                                               HAMLIN             NY   14464‐4464
MICHAELSON, HOWARD L                  384 MARTIN ROAD                                                                             HAMLIN             NY   14464‐9741
MICHAELSON, KATHEREN                  590 ISAAC PRUGH WAY APT 535                                                                 DAYTON             OH   45429
MICHAELSON, MARVIN E                  873 N 300 W                                                                                 HUNTINGTON         IN   46750‐9107
MICHAELSON, RODNEY D                  221 W SAINT CLAIR ST                                                                        ROMEO              MI   48065‐4660
MICHAELSON, TOMMIE KLAIR              BIFFERATO GENTILOTTI & BIDEN    PO BOX 2165                                                 WILMINGTON         DE   19899‐2165
MICHAELSON, WILHO A                   5100 SADDLE CREEK CT                                                                        PLYMOUTH           MI   48170
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Name                             Address1                        Address2            Address3         Address4         City                State Zip
MICHAELYN HAWKINS                1116 FOURNIE ST                                                                       MIDLAND              MI 48640‐5410
MICHAILOFF, NIKOLA               2230 ROLLING HILLS                                                                    GRAND RAPIS          MI 49506
MICHAJLYSZYN, BENJAMIN W         PO BOX 9022                     C/O GM KOREA                                          WARREN               MI 48090‐9022
MICHAL BRODAK                    56841 DICKENS DR                                                                      SHELBY TWP           MI 48316‐4882
MICHAL HOLLIS                    718 W MCKINLEY AVE                                                                    HAUGHTON             LA 71037‐9474
MICHAL MALIK                     13202 BRIAR FOREST DR           APT 1404                                              HOUSTON              TX 77077‐2441
MICHAL TOLON                     4060 GARFIELD ST                                                                      WAYNE                MI 48184‐1978
MICHAL TRICIA                    742 MUIRFIELD DR                                                                      GREENSBURG           PA 15601‐8944
MICHAL WITYK                     5353 WHISTLER PT                                                                      HOWELL               MI 48843‐8875
MICHAL, DANIEL J                 5635 LAKEVIEW BLVD                                                                    GOODRICH             MI 48438‐9654
MICHAL, MARLYN H                 828 WAGON WHEEL TRL                                                                   GEORGETOWN           TX 78628‐2467
MICHAL, MATTHEW J                2317 STARR RD APT 325                                                                 ROYAL OAK            MI 48073‐2237
MICHAL, PENNY S                  830 WESTMINSTER LN                                                                    KOKOMO               IN 46901‐1824
MICHALAK GEORGE                  162 GRIDLEY ST                                                                        TRENTON              NJ 08610‐5148
MICHALAK JAMES                   3153 BANTON CIRCLE                                                                    CORONA               CA 92882‐6067
MICHALAK, BERNARD J              33059 CHIEF LN                                                                        WESTLAND             MI 48185‐2380
MICHALAK, CATHERINE B            PO BOX 84                                                                             GRAND BLANC          MI 48480‐0084
MICHALAK, CHESTER T              19653 NORTHRIDGE DR                                                                   NORTHVILLE           MI 48167‐2914
MICHALAK, CLARENCE R             2022 BARROWS ST                                                                       TOLEDO               OH 43613‐4504
MICHALAK, DAVID                  8851 RIDGE RD                                                                         GASPORT              NY 14067‐9413
MICHALAK, ELLA                   41242 GREENBRIAR LANE                                                                 PLYMOUTH TOWNSHIP    MI 48170
MICHALAK, GARY M                 46359 PLUM GROVE DR                                                                   MACOMB               MI 48044‐4618
MICHALAK, GEORGE A               162 GRIDLEY ST                                                                        TRENTON              NJ 08610‐5148
MICHALAK, GERALD E               24476 WALTER DR                                                                       FLAT ROCK            MI 48134
MICHALAK, HEATHER C              7811 24 MILE RD                                                                       SHELBY TWP           MI 48316‐2509
MICHALAK, HELENA                 51118 SARAH CT                                                                        CHESTERFIELD         MI 48047‐3047
MICHALAK, JENNIFER               28000 SHOCK ST                                                                        ST CLAIR SHRS        MI 48081‐1557
MICHALAK, JOAN                   69 HAVERHILL PL.                                                                      SOMERSET             NJ 08873‐4771
MICHALAK, LAWRENCE H             7299 OLD MILL RD                                                                      BLOOMFIELD HILLS     MI 48301
MICHALAK, MAREK W                145 REEGER AVE                                                                        TRENTON              NJ 08610‐6313
MICHALAK, MARK W                 145 REEGER AVE                                                                        TRENTON              NJ 08610‐6313
MICHALAK, MARY ANN               2218 OLD HIGHWAY 54                                                                   PITTSVILLE           WI 54466
MICHALAK, NORBERT J              31926 CAMBRIDGE DR                                                                    WARREN               MI 48093‐1249
MICHALAK, PATRICIA M             5683 S 92ND ST                                                                        HALES CORNERS        WI 53130‐2215
MICHALAK, PAUL D                 PO BOX 83                                                                             MACKINAW CITY        MI 49701‐0083
MICHALAK, RICHARD R              418 LAUREL LAKE DR UNIT 101                                                           VENICE               FL 34292‐7545
MICHALAK, ROBERT J               3000 NABLUS DR                                                                        WAXHAW               NC 28173‐8264
MICHALAK, RONALD S               466 GLENEAGLES                                                                        HIGHLAND             MI 48357‐4777
MICHALAK, STANLEY                30068 BALMORAL ST                                                                     GARDEN CITY          MI 48135‐2061
MICHALAK, THOMAS L               18678 FOX                                                                             REDFORD              MI 48240‐1963
MICHALAK, VIRGINIA E             677 DEWEY ST APT 227                                                                  LAPEER               MI 48446‐1747
MICHALAK, WILLIAM H              878 DARIEN CIR                                                                        ROCHESTER            MI 48306‐2505
MICHALAKIS, ANNA MARIA           15591 HICKORY LN                                                                      SOUTHGATE            MI 48195‐6829
MICHALAKIS, CHRYSOSTOMOS C       15591 HICKORY LN                                                                      SOUTHGATE            MI 48195‐6829
MICHALAKIS, CHRYSOSTOMOS CHRIS   15591 HICKORY LN                                                                      SOUTHGATE            MI 48195‐6829
MICHALAKIS, SAYOKO               29613 CHESTER ST                                                                      GARDEN CITY          MI 48135‐3423
MICHALCHICK, LOU KAYE            12135 SHAFTON RD.                                                                     SPRING HILL          FL 34608
MICHALCZUK, ALAN J               31506 NORTHWOOD                                                                       FRASER               MI 48026‐2463
MICHALCZUK, GALE                 31506 NORTHWOOD                                                                       FRASER               MI 48026‐2463
MICHALE J JEWEL                  PO BOX 05112                                                                          DETROIT              MI 48205‐0112
MICHALE JEWEL                    PO BOX 05112                                                                          DETROIT              MI 48205‐0112
MICHALE ZUZOLO                   3483 CURTIS AVE SE                                                                    WARREN               OH 44484‐3605
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Name                      Address1                        Address2        Address3         Address4         City               State Zip
MICHALEC, BARBARA         1475 ROYAL OAK TRL                                                                MANSFIELD           OH 44906
MICHALEC, DANIEL          1475 ROYAL OAK TRL                                                                MANSFIELD           OH 44906‐3634
MICHALEC, JOHN F          1225 ORCHARD ST                                                                   OWOSSO              MI 48867‐4918
MICHALEC, JUDITH          1311 SUMMIT ST                                                                    OWOSSO              MI 48867‐1871
MICHALEC, JUDITH L        1311 SUMMIT                                                                       OWOSSO              MI 48867‐1871
MICHALEC, MARY E          902 STATE ST                                                                      OWOSSO              MI 48867‐4249
MICHALEC, MICHAEL S       1311 SUMMIT ST                                                                    OWOSSO              MI 48867‐1871
MICHALEC, PAUL C          1120 GEORGE ST                                                                    OWOSSO              MI 48867‐4118
MICHALEK JAMES            4601 CHICAGO RD                                                                   WARREN              MI 48092‐1442
MICHALEK, CHARLES F       207 GRANT AVE                                                                     CLARENDON HILLS      IL 60514‐1326
MICHALEK, DEBORAH K       10549 WOODROCK DR                                                                 PARKER              CO 80134‐2528
MICHALEK, JAMES A         4601 CHICAGO RD                                                                   WARREN              MI 48092‐1442
MICHALEK, JAMES J         1240 ASHFORD DUNWOODY PARKWAY   APT C341                                          ATLANTA             GA 30338
MICHALEK, JEAN A          5394 S 45TH ST                                                                    GREENFIELD          WI 53220‐5100
MICHALEK, JEFFREY L       47509 BROCKMOR DR                                                                 SHELBY TOWNSHIP     MI 48315‐4947
MICHALEK, JOHN W          43525 CLAY RD                                                                     BELLEVILLE          MI 48111‐9114
MICHALEK, JOSEPH M        4090 OAK TREE CIR                                                                 ROCHESTER           MI 48306‐4656
MICHALEK, KRISTEN P       17236 CAMERON DR                                                                  NORTHVILLE          MI 48168‐3211
MICHALEK, MARCIN P        14433 ALABAMA AVENUE SOUTH                                                        SAVAGE              MN 55378‐2859
MICHALEK, PATRICIA E      24737 COTTAGE LN                                                                  WARREN              MI 48089‐4714
MICHALEK, RAY A           13486 RIVERSIDE DR                                                                CONSTANTINE         MI 49042‐9798
MICHALEK, RICHARD J       13332 RED CEDAR LN                                                                PLAINFIELD           IL 60544‐9369
MICHALEK, ROBERT E        12399 RUPPERT RD                                                                  PERRY               MI 48872‐9509
MICHALEK, ROBERT H        3634 RANGER PKWY                                                                  ZEPHYRHILLS         FL 33541‐8616
MICHALEK, STEPHANIE       38 RED HAWK DR                                                                    OSWEGO               IL 60543‐9413
MICHALEK, STEPHANIE P     207 GRANT AVE                                                                     CLARENDON HILLS      IL 60514‐1326
MICHALEK, THOMAS S        402 WAVERLY AVE                                                                   BALTIMORE           MD 21225‐3734
MICHALEK, W M             4220 IVERNESS LN                                                                  W BLOOMFIELD        MI 48323‐2828
MICHALET, ALAN J          12829 PRATHAM RD                                                                  EAST CONCORD        NY 14055‐9786
MICHALEWICZ, RONALD J     78475 CAPAC RD                                                                    ARMADA              MI 48005‐1713
MICHALEWSKI, DAVID        159 TEMPLE DR                                                                     CHEEKTOWAGA         NY 14225‐5213
MICHALIK, CANDICE A       104 WOODSVIEW LN                                                                  COLUMBIA            SC 29223‐8148
MICHALIK, CHRISTOPHER J   104 WOODSVIEW LN                                                                  COLUMBIA            SC 29223‐8148
MICHALIK, DENNIS J        3345 N 9 MILE RD                                                                  PINCONNING          MI 48650‐7006
MICHALIK, DONALD J        2162 CASHIN ST                                                                    BURTON              MI 48509‐1140
MICHALIK, DORIS J         2521 E BEAVER ROAD                                                                KAWKAWLIN           MI 48631
MICHALIK, ELLEN M         3416 EASTDALE DR                                                                  FLINT               MI 48506‐2268
MICHALIK, GARY R          3 REES ST                                                                         BUFFALO             NY 14213‐1056
MICHALIK, GENEVIEVE R     7442 JENNINGS ROAD                                                                SWARTZ CREEK        MI 48473‐8865
MICHALIK, GERALD L        2567 LUCINDA DR                                                                   PRESCOTT            MI 48756‐9339
MICHALIK, IRENE F         395 GOLD ST                                                                       BUFFALO             NY 14206‐1207
MICHALIK, JOHN A          7442 JENNINGS RD                                                                  SWARTZ CREEK        MI 48473‐8865
MICHALIK, LOUISE          1125 HASTY TRL                                                                    CANTON              GA 30115‐5845
MICHALIK, MARY V          5247 S MOODY AVE                                                                  CHICAGO              IL 60638‐1434
MICHALIK, MICHAEL A       4098 E PIERSON RD                                                                 FLINT               MI 48506‐1438
MICHALIK, RANDALL J       2822 GRANGE HALL RD                                                               ORTONVILLE          MI 48462‐8409
MICHALIK, RONALD M        3382 EASTDALE DR                                                                  FLINT               MI 48506‐2202
MICHALIK, RYAN A          10734 KINGSTON AVE                                                                HUNTINGTON WOODS    MI 48070‐1116
MICHALIK, SANDRA M        2822 GRANGE HALL RD                                                               ORTONVILLE          MI 48462‐8409
MICHALIK, THOMAS L        8159 HIDDEN PONDS DR                                                              GRAND BLANC         MI 48439‐7231
MICHALIK, VIRGINIA D      31 EMPIRE WAY                                                                     BRISTOL             CT 06010‐3072
MICHALINA ZACHARKO        2738 ROBINWOOD PL                                                                 YOUNGSTOWN          OH 44510‐1038
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Name                               Address1                             Address2                        Address3   Address4         City                 State Zip
MICHALINE JASON                    7330 COLEMAN ST                                                                                  DEARBORN              MI 48126‐1378
MICHALINE OSAR                     5730 ONAWAY OVAL                                                                                 PARMA                 OH 44130
MICHALISHYN, JAMES                 4251 BOSCHER RD                                                                                  HOWELL                MI 48843‐9402
MICHALLS, ELIZABETH P              6016 LEAVENWORTH RD #224             MANOR PLACE APARTMENTS                                      KANSAS CITY           KS 66104‐1485
MICHALLS, VERNON F                 15614 HOLLINGSWORTH RD                                                                           BASEHOR               KS 66007‐3079
MICHALOSKI, CHARLES M              1794 SENECA ST                                                                                   BUFFALO               NY 14210‐1825
MICHALOSKI, WALTER J               219 QUAIL HOLLOW DR                                                                              MIDDLETOWN            DE 19709
MICHALOVIC, FREDERICK M            2847 MAHAN DENMAN RD NW                                                                          BRISTOLVILLE          OH 44402‐9773
MICHALOVIC, JANETTE P              2847 MAHAN DENMAN RD NW                                                                          BRISTOLVILLE          OH 44402‐9773
MICHALOWSK, LAUREN                 1436 BRINKER                                                                                     METAMORA              MI 48445
MICHALOWSKI, EDWARD W              293 HAMILTON AVE                                                                                 TONAWANDA             NY 14150‐5909
MICHALOWSKI, KARL                  1322 ELLICOTT CREEK RD                                                                           TONAWANDA             NY 14150‐4719
MICHALOWSKI, MADELINE P            118 WOODSMOKE LN                                                                                 ROCHESTER             NY 14612‐1643
MICHALOWSKI, MARIA E               6272 TWIN OAKS                                                                                   WESTLAND              MI 48185‐9132
MICHALOWSKI, MARIE S               1213 ASHLAR VLG                                                                                  WALLINGFORD           CT 06492‐3074
MICHALOWSKI, MICHAEL               PO BOX 1088                                                                                      HOWELL                MI 48844‐1088
MICHALS INSURANCE AGENCY INC       19 MAIN ST                                                                                       WATERTOWN             MA 02472‐4403
MICHALS, GERALDINE M               3855 BOEING DR                                                                                   SAGINAW               MI 48604‐1805
MICHALS, JOHN R                    7963 PLANTATION LAKES DR                                                                         PORT ST LUCIE         FL 34986‐3060
MICHALS, PEARL M                   612 HEARTLAND DR                                                                                 NEW LENOX              IL 60451‐3346
MICHALS, RONALD W                  29535 PALOMINO DR                                                                                WARREN                MI 48093‐3506
MICHALSEN, DAVID L                 17415 SUNSET ST                                                                                  LIVONIA               MI 48152‐3479
MICHALSKI ANTHONY                  MICHALSKI, ANTHONY                   32 CENTERBURY GARDENS                                       NORTH ARLINGTON       NJ 07031‐4841
MICHALSKI ENTERPRISES D/B/A TOOL   16733 INDUSTRIAL PARKWAY                                                                         LANSING               MI 48906
CRAFT CORPORATION
MICHALSKI ENTERPRISES D/B/A TOOL   ATTN: CORPORATE OFFICER/AUTHORIZED   16733 INDUSTRIAL PKWY                                       LANSING               MI 48906‐9136
CRAFT CORPORATION                  AGENT
MICHALSKI ENTERPRISES INC          16733 INDUSTRIAL PKWY                                                                            LANSING              MI 48906‐9136
MICHALSKI JOSEPH                   MICHALSKI, JOSEPH                    1930 E MARLTON PIKE SUITE Q29                               CHERRY HILL          NJ 08003
MICHALSKI JOSEPH W (633896)        ANGELOS PETER G                      100 N CHARLES STREET , ONE                                  BALTIMORE            MD 21201
                                                                        CHARLES CENTER
MICHALSKI JR, JOHN J               48084 TILCH RD                                                                                   MACOMB               MI   48044‐1989
MICHALSKI SR., DONALD F            PO BOX 91                                                                                        RHODES               MI   48652‐0091
MICHALSKI, ALFRED J                26 LUCY LN                                                                                       CHEEKTOWAGA          NY   14225‐4438
MICHALSKI, ANNA                    6810 MARIUS RD                                                                                   NORTH PORT           FL   34287‐2156
MICHALSKI, ANTHONY                 32 CANTERBURY GDNS                                                                               NORTH ARLINGTON      NJ   07031‐4841
MICHALSKI, ANTHONY J               109 HARVEST LN                                                                                   FRANKENMUTH          MI   48734‐1211
MICHALSKI, BENJAMIN J              5153 NARCISSUS DR                                                                                SAGINAW              MI   48603‐1147
MICHALSKI, DANIEL J                3938 WYANDOTTE ST APT 1N                                                                         KANSAS CITY          MO   64111‐2244
MICHALSKI, DARLENE A               301 TAWAS ST APT 3                                                                               EAST TAWAS           MI   48730‐1332
MICHALSKI, DAVID M                 24236 BRITTANY AVE                                                                               EASTPOINTE           MI   48021‐1204
MICHALSKI, DENNIS A                6549 PARKVIEW DR                                                                                 TROY                 MI   48098‐2243
MICHALSKI, DENNIS ALAN             6549 PARKVIEW DR                                                                                 TROY                 MI   48098‐2243
MICHALSKI, DOLORES J.              2 ROCKLAND AVENUE                                                                                CLARENCE             NY   14031‐2018
MICHALSKI, EUGENE G                701 NEWBERRY AVE                                                                                 LA GRANGE PK         IL   60526‐1655
MICHALSKI, EUGENE J                PO BOX 5681                                                                                      WILLOWICK            OH   44095‐0681
MICHALSKI, GREG E                  13931 AUTUMN AVE                                                                                 GRAND HAVEN          MI   49417‐8451
MICHALSKI, HELEN A                 2013 RIDGEVIEW LANE                                                                              SENECA               SC   29678
MICHALSKI, HELEN P                 24821 CULVER ST                                                                                  SAINT CLAIR SHORES   MI   48080‐3127
MICHALSKI, IDA CELIA               515 SEDGEFIELD DRIVE                                                                             BLOOMFIELD           MI   48304‐1058
MICHALSKI, JOHN G                  3770 HAMLET DR E                                                                                 SAGINAW              MI   48603‐1953
MICHALSKI, JOHN M                  290 FIDDLERS POINT DR                                                                            SAINT AUGUSTINE      FL   32080‐6199
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Name                        Address1                           Address2                    Address3   Address4               City               State Zip
MICHALSKI, JOSEPH H         450A AVENUE E                                                                                    BAYONNE             NJ 07002‐8667
MICHALSKI, JOSEPH W         ANGELOS PETER G                    100 N CHARLES STREET, ONE                                     BALTIMORE           MD 21201
                                                               CHARLES CENTER
MICHALSKI, JUDY             2200 S SHERIDAN ST                                                                               BAY CITY           MI   48708‐8190
MICHALSKI, KATHLEEN         7193 WOODHAVEN DR                                                                                LOCKPORT           NY   14094‐6210
MICHALSKI, KENNETH P        2855 KENT RD                                                                                     HEMLOCK            MI   48626‐9509
MICHALSKI, KIMBERLY A       9646 COUNTY ROAD 489                                                                             ATLANTA            MI   49709‐9023
MICHALSKI, LAWRENCE         2011 S FARRAGUT ST                                                                               BAY CITY           MI   48708‐3807
MICHALSKI, LAWRENCE R       34685 FENDT ST                                                                                   FARMINGTON HILLS   MI   48335‐5007
MICHALSKI, LEE A            802 S MCLELLAN ST                                                                                BAY CITY           MI   48708‐7578
MICHALSKI, MARLENE          6311 E DALLAS ST                                                                                 MESA               AZ   85205‐6711
MICHALSKI, MATTHEW R        4873 E SAINT JOE HWY                                                                             GRAND LEDGE        MI   48837‐9491
MICHALSKI, MAY A            1821 DOROTHY CIRCLE                LOT 77                                                        ESSEXVILLE         MI   48732
MICHALSKI, MICHAEL C        105 CORNELL ST                                                                                   AVENEL             NJ   07001‐1803
MICHALSKI, PAUL             2140 ANDERSON RD                                                                                 SAGINAW            MI   48603‐7807
MICHALSKI, PAUL E           439 DEER WATCH CIR                                                                               LONGS              SC   29568‐8921
MICHALSKI, RICHARD A        7410 ALVAH AVE                                                                                   BALTIMORE          MD   21222
MICHALSKI, RICHARD E        N6353 COUNTY ROAD H33                                                                            GOULD CITY         MI   49838‐9052
MICHALSKI, RICHARD J        3070 WAINS WAY                                                                                   OAKLAND            MI   48363‐2748
MICHALSKI, RITA E           807 N BANGOR ST                                                                                  BAY CITY           MI   48706‐3905
MICHALSKI, RITA E           807 BANGOR                                                                                       BAY CITY           MI   48706‐3905
MICHALSKI, ROBERT S         33 E 19TH ST                                                                                     BAYONNE            NJ   07002
MICHALSKI, STEVEN W         3670 WYOMING ST                                                                                  SAINT LOUIS        MO   63116
MICHALSKI, SUSAN M          2712 N VAN BUREN                                                                                 BAY CITY           MI   48708‐5449
MICHALSKI, THOMAS           PO BOX 1629                                                                                      HOUGHTON LAKE      MI   48629‐1629
MICHALSKI, THOMAS G         2815 ESCAMBIA CIR                                                                                NORTH PORT         FL   34288‐6359
MICHALSKI, THOMAS J         45907 LOOKOUT DR                                                                                 MACOMB             MI   48044‐6238
MICHALSKI, WALTER L         907 ROBINS LAIN                                                                                  MUKWONAGO          WI   53149
MICHALSKI, WALTER LEROY     907 ROBINS LANE                                                                                  MUKWONAGO          WI   53149‐1134
MICHALSKI, WANDA J          105 CORNELL ST                                                                                   AVENEL             NJ   07001‐1803
MICHALSKI, WILLIAM
MICHALSKI‐TAYLOR, LINDA L   3202 DUCE ROAD                                                                                   KENOCKEE           MI   48006‐4508
MICHALSKI‐TAYLOR, LINDA L   3202 DUCE RD                                                                                     KENOCKEE           MI   48006‐4508
MICHALSKY, DANIEL M         1641 KAISER TOWER RD                                                                             PINCONNING         MI   48650‐7451
MICHALSKY, SHIRLEY J        6 SHERIN DR                                                                                      NEWARK             DE   19702‐6827
MICHALUK, IRIS W            323 SNOWFALL WAY                                                                                 WESTMINSTER        MD   21157‐4644
MICHALUK, MARY              4284 HIGHCREST DR                                                                                BRIGHTON           MI   48116
MICHAM, MELVIN W            4123 BOYNTON DR                                                                                  SYLVANIA           OH   43560‐3822
MICHANG CABLE CO LTD        598 MYUNGGOK‐DONG YANGSAN‐SI       KYUNGNAM                               KOREA SOUTH KOREA
MICHANG CABLE CO LTD        361‐1 PUKCHONG‐DONG YANGSAN CITY                                          KYONGSANGNAM‐DO 626‐
                                                                                                      110 KOREA (REP)
MICHAUD, ALBERT N           231 CENTRAL ST                                                                                   BRISTOL            CT   06010‐6743
MICHAUD, ARVILLA D          1641 GEORGETOWN BLVD                                                                             LANSING            MI   48911‐5429
MICHAUD, BARBARA J          110 E CENTER ST                    UNIT 373                                                      MADISON            SD   57042
MICHAUD, BONNIE J           715 COLLINGWOOD CT                                                                               DAVISON            MI   48423‐1710
MICHAUD, CARL               2194 VANCE RD                                                                                    DELTONA            FL   32738‐5036
MICHAUD, CAROLYN H          21 G ST                                                                                          BANGOR             ME   04401
MICHAUD, CHANTAL E          2194 VANCE RD                                                                                    DELTONA            FL   32738‐5036
MICHAUD, DALE M             217 W LINCOLN ST                                                                                 EASTON             PA   18042‐6652
MICHAUD, DARVIN H           144 CURTISS ST                                                                                   BRISTOL            CT   06010‐3509
MICHAUD, DAVID B            7136 DRIFTWOOD DR                                                                                FENTON             MI   48430
MICHAUD, DENNIS P           3910 BUSH CT                                                                                     ABINGDON           MD   21009‐1193
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Name                     Address1                         Address2                   Address3       Address4         City               State Zip
MICHAUD, DONALD H        3973 S KIRKWOOD AVE 50                                                                      SAINT FRANCIS       WI 53235
MICHAUD, DONALD L        560 MAHONEY RD                                                                              BRASHER FALLS       NY 13613‐4260
MICHAUD, JAMES M         265 ROSIE ST                                                                                BOWLING GREEN       KY 42103‐8428
MICHAUD, JAMES M         497 DOUGLAS ROAD                                                                            NORWOOD             NY 13668‐3125
MICHAUD, JAMES M         497 DOUGLAS RD                                                                              NORWOOD             NY 13668‐3125
MICHAUD, JOEL A          415 HART STREET                                                                             BRISTOL             CT 06010‐2393
MICHAUD, JOHN T          640 BRADFORD DR                                                                             GALLATIN            TN 37066‐6150
MICHAUD, JOSEPH E
MICHAUD, KATHERINE R     6046 BELMONT CT                                                                             GRAND BLANC        MI   48439‐8683
MICHAUD, KENNETH A       11519 JOURDAN LAKE RD # 52                                                                  LAKE ODESSA        MI   48849
MICHAUD, LAURA ANN       89 LEWIS RD                                                                                 BRISTOL            CT   06010‐3637
MICHAUD, LEROY J         6872 BIPPLEY RD                                                                             CLARKSVILLE        MI   48815‐9775
MICHAUD, LORI A          550 THORNRIDGE DR                                                                           ROCHESTER HILLS    MI   48307‐2852
MICHAUD, MARGUERITE A    124 PILGRIM RD                                                                              SPRINGFIELD        MA   01118‐1416
MICHAUD, MARIE M         11 WELD ST APT 37                                                                           FRAMINGHAM         MA   01702‐7499
MICHAUD, MARK JAMES      71 S MAIN ST                                                                                NORWOOD            NY   13668‐3168
MICHAUD, MONIQUE M       2170 GROVE PARK RD                                                                          FENTON             MI   48430‐1438
MICHAUD, NANCY S         144 N MAIN ST APT 2                                                                         TERRYVILLE         CT   06786‐5337
MICHAUD, PATTI
MICHAUD, PETER B         RT. #2 BOX 88                                                                               NORFOLK            NY   13667
MICHAUD, PHYLLIS K       1931 GIDNER RD                                                                              CHARLOTTE          MI   48813‐8715
MICHAUD, RAYMOND R       3623 SUNSET DR                                                                              SANTA BARBARA      CA   93105‐2518
MICHAUD, RITA L          415 HART STREET                                                                             BRISTOL            CT   06010
MICHAUD, ROGER J         1931 GIDNER RD                                                                              CHARLOTTE          MI   48813‐8715
MICHAUD, ROLAND M        598 MANVILLE RD                                                                             WOONSOCKET         RI   02895‐5550
MICHAUD, VELLA           2306 BURCHARD S.E.                                                                          GRAND RAPIDS       MI   49506‐3534
MICHAUX JR, ROBERT A     PO BOX 621                                                                                  WARREN             MI   48090‐0621
MICHAUX KURTIS           4208 FAWN MEADOWS CIR                                                                       CLERMONT           FL   34711‐5331
MICHEAL                  5 PERRYRIDGE RD                                                                             GREENWICH          CT   06830‐4608
MICHEAL A BOWERS         14170 LITTLE RICHMOND RD                                                                    NEW LEBANON        OH   45345
MICHEAL BENJAMIN         6955 HONEYSUCKLE RD                                                                         CANNELTON          IN   47520‐6796
MICHEAL BLASER           5024 S DRIFTWOOD DR                                                                         JANESVILLE         WI   53546‐9018
MICHEAL CANTRELL         8758 S BOND CEMETERY RD                                                                     AMBOY              IN   46911‐9398
MICHEAL D MORRIS         121 CUMBERLAND AVE                                                                          MARYLAND HEIGHTS   MO   63043
MICHEAL DANFORD          1050 POTEET RD                                                                              LEWISBURG          TN   37091‐5239
MICHEAL DAVID            10170 MORRISH RD                                                                            MONTROSE           MI   48457‐9048
MICHEAL DUCHAM           339 MAYFLOWER DR                                                                            SAGINAW            MI   48638‐5748
MICHEAL EAGER            524 SUNSET LANE                                                                             BELTON             MO   64012‐1837
MICHEAL EDWARDS SPARKS   NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT   205 LINDA DR                    DAINGERFIELD       TX   75638
MICHEAL FERICH           6128 GORDON RD                                                                              WATERFORD          MI   48327‐1738
MICHEAL FOX              5251 ROBERTS DR                                                                             FLINT              MI   48506‐1553
MICHEAL GABLE            PO BOX 735                                                                                  DURANT             OK   74702‐0735
MICHEAL GALLOWAY         4161 N HENDERSON RD                                                                         DAVISON            MI   48423‐8512
MICHEAL GIPSON           3813 OAKCREST ST                                                                            SHREVEPORT         LA   71109‐4730
MICHEAL GRIFFIN          59097 MARY LN                                                                               WASHINGTON TWP     MI   48094‐3945
MICHEAL HAGLE            9730 MILLIMAN RD                                                                            MILLINGTON         MI   48746‐9712
MICHEAL HARTEL           270 MARILYN BLVD                                                                            IMLAY CITY         MI   48444‐1429
MICHEAL JACKSON          2936 LEGACY DR SW                                                                           DECATUR            AL   35603‐4488
MICHEAL JENKINS          9271 NEFF RD                                                                                CLIO               MI   48420‐1660
MICHEAL KARCZEWSKI       558 FLAGSTONE WAY                                                                           ACWORTH            GA   30101‐2234
MICHEAL KELLOGG JR       1197 US HIGHWAY 6                                                                           EDGERTON           OH   43517‐9701
MICHEAL KROMER           4238 CRESTKNOLL DR                                                                          GRAND BLANC        MI   48439‐2064
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Name                                Address1                             Address2                Address3                  Address4                City                 State Zip
MICHEAL LANIGAN                     6469 LEONE WAY                                                                                                 CYPRESS               CA 90630‐4806
MICHEAL MARSHALL                    4473 ROBINDALE DR                                                                                              BURTON                MI 48519‐1265
MICHEAL MAXWELL                     PO BOX 182                                                                                                     CADILLAC              MI 49601‐0182
MICHEAL MCKINNEY                    1744 PETROLIA                                                                                                  W BLOOMFIELD          MI 48324‐3961
MICHEAL MILLER                      7548 HOLIDAY DR                                                                                                SPRING HILL           FL 34606‐6221
MICHEAL ONEAL                       105 DUDLEY CV                                                                                                  BYHALIA               MS 38611‐6993
MICHEAL PORTELL                     PMB 237                              10730 POTRANCO RD       STE 122                                           SAN ANTOIO            TX 79251‐3330
MICHEAL R WILLIAMS                  RT 7 BOX 101 SIWELL RD                                                                                         JACKSON               MS 39209‐9807
MICHEAL RAINES                      5611 HEATHLAND CIR                                                                                             CLARKSTON             MI 48346‐3114
MICHEAL REYNOLDS                    2235 N POINTE LN                                                                                               FLORISSANT            MO 63031‐2509
MICHEAL ROTH                        7311 NW 79TH ST                                                                                                KANSAS CITY           MO 64152‐2150
MICHEAL SACKOS                      PO BOX 2525                                                                                                    RUSSELL SPRINGS       KY 42642‐2525
MICHEAL SMITHMIER                   8200 BAYTES DR                                                                                                 BRIGHTON              MI 48116‐8539
MICHEAL SUTTON                      25445 HUNTER GATES RD                                                                                          LESTER                AL 35647‐3123
MICHEAL TRIPP                       2302 NW 5TH ST                                                                                                 BLUE SPRINGS          MO 64014‐1100
MICHEAL VAN ACKER                   N6449 SHOREWOOD HILLS RD                                                                                       LAKE MILLS            WI 53551‐9724
MICHEAL WEAKS                       305 GLENNHURST DR                                                                                              ROSCOMMON             MI 48653‐9244
MICHEAL WEBB                        18008 NE 92ND ST                                                                                               LIBERTY               MO 64068‐8691
MICHEAL, CHARLES E                  4254 BIELEFELD DR                                                                                              FLORISSANT            MO 63033
MICHEALS SR, BRUCE C                4062 LANARK AVE                                                                                                WATERFORD             MI 48328‐1225
MICHEALS, NANCY G                   9114 ORTONVILLE RD                                                                                             CLARKSTON             MI 48348‐2847
MICHEAU, NOLITA J                   4613 5TH AVE S                                                                                                 MINNEAPOLIS           MN 55419
MICHEAU,JOHN L                      10204 CEDAR LAKE DR                                                                                            PROVIDENCE VILLAGE    TX 76227‐7545
MICHEAUX, LINDA D                   14337 WINTHROP STREET                                                                                          DETROIT               MI 48227‐2165
MICHEELS, TIMOTHY J                 9068 MELODY LN                                                                                                 SHREVEPORT            LA 71118‐2417
MICHEL ABOU‐EID                     16 MARKIE DR W                                                                                                 ROCHESTER             NY 14606‐4555
MICHEL ADKINS                       311 BUCK CREEK BLVD                                                                                            INDIANAPOLIS          IN 46227‐2013
MICHEL ADRIAENSSENS                 VAN DAELSTRAAT 53                                                                      2140 ANTWERPEN
                                                                                                                           BELGIUM EUROPE
MICHEL AUTO CARES                   12205 HOLDERRIETH RD                                                                                           TOMBALL              TX 77375‐7321
MICHEL AVEDISSIAN                   1705 PEDERSEN RD                                                                                               COMMERCE TOWNSHIP    MI 48390‐2718
MICHEL BARIGAND                     VITAL FRANCOISSE 113 3/1                                                               6001 MARCINELLE
MICHEL BROT‐BOUCHER
MICHEL COENEN                       [NULL]                               GEBBENLAAN 47                                     2625KC DELFT            2625KC DELFT
                                                                                                                           NETHERLANDS
MICHEL COTE                         34 RUE MARTIN                                                                          ST ETIENNE DE LAUZON
                                                                                                                           QUEBEC G6J 1P3 CANADA
MICHEL COUBARD                       12981 22 MILE RD                                                                                              SHELBY TWP           MI 48315‐4109
MICHEL COUCKE                        8443 GOSLINE RD                                                                                               MARLETTE             MI 48453‐9124
MICHEL CUYPERS                       2/19 RUE DE TOMBEEK                                                                   1331 ROSIERES BELGIUM
MICHEL CUYPERS                       2/19 RUE DE TOMBEEK                 1331 ROSI╚RES           BELGIUM
MICHEL DE SCHEERDER                  C/O SG PRIVATE BANKING              CUSTODY / ANN GELAUDE   KORTRIJKSESTEENWEG 302    B ‐ 9000 GENT BELGIUM
MICHEL DUNN                          1223 N CIRCLE DR                                                                                              CRYSTAL RIVER        FL 34429‐5369
MICHEL G LIENARD                     770 CALDER AVE                                                                                                YPSILANTI            MI 48198‐6139
MICHEL GRATTINI                      RUE DE LA BYRONNE 8                                                                                           VEVEY                   1800
MICHEL HABCHI                        JIITA                                                                                                                              MN
MICHEL HABCHI ET/OU YOLLA HABCHI NEE C/O EMIRATES LEBANON BANK‐ AGENCE   CENTRE BADOUI ‐ PLACE   JOUNIEH LIBAN PO BOX 11   1608 BEIRUT LEBANON
SALAME                               JOUNIEH                             MUNICIPALITE
MICHEL HADDAD                        2869 MANORWOOD DR                                                                                             TROY                 MI 48085‐1147
MICHEL HARDY
MICHEL HODGE                         3222 S 300 E                                                                                                  ANDERSON             IN 46017‐9705
MICHEL JOHNSTON                      1240 CEDAR OAK LN                                                                                             LAWRENCEVILLE        GA 30043‐7229
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Name                               Address1                         Address2                       Address3     Address4              City                State Zip
MICHEL JR, KARL                    7465 FRANCES RD                                                                                    FLUSHING             MI 48433‐8865
MICHEL LACROIX                     14500 WEDD ST                                                                                      OVERLAND PARK        KS 66221‐7554
MICHEL LIENARD                     770 CALDER AVE                                                                                     YPSILANTI            MI 48198‐6139
MICHEL MASSEAU                     2783 CENTURY CT                                                                                    ATLANTA              GA 30340‐3222
MICHEL MCCALLUM                    27244 LARKIN DR                                                                                    BROWNSTOWN TWP       MI 48183‐4847
MICHEL MERCKX                      SPRL MEGENCE                     RUE CAMILLE DURAY 71                        7190 ECAUSSINNES
                                                                                                                BELGIUM
MICHEL MERCKX                      RUE CAMILLE DURAY 71             7190 ECAUSSINNES
MICHEL MIREAULT & ING DU CANANDA   C/O DONATI MAISONNEUVE LAWYERS   625 PRESIDENT KENNEDY AVENUE   SUITE 1200   MONTREAL QUEBEC H3A
                                                                                                                1K2
MICHEL MOUFARREG                   532 N WESTMORELAND AVE APT 3                                                                       LOS ANGELES         CA   90004‐2231
MICHEL MUCHOW                      715 SOUTHBROOK PKWY                                                                                KEARNEY             MO   64050‐7535
MICHEL NAHED                       2110 MAPLERIDGE RD                                                                                 ROCHESTER HILLS     MI   48309‐4504
MICHEL NAHIRNYJ                    41616 STONEHENGE MANOR DR                                                                          CLINTON TOWNSHIP    MI   48038‐4642
MICHEL NOURY                       6681 SPRUCE DR                                                                                     BLOOMFIELD HILLS    MI   48301‐3055
MICHEL PEARCE                      870 ECHO LN                                                                                        KOKOMO              IN   46902‐2601
MICHEL PLAMONDON
MICHEL R E CO INC                  1 R E MICHEL DR                                                                                    GLEN BURNIE         MD   21060
MICHEL REKUTA                      26465 HIGGINS WAY                                                                                  BROWNSTOWN TWP      MI   48134‐8200
MICHEL SAOUD                       24600 TUDOR LN                                                                                     FRANKLIN            MI   48025‐1622
MICHEL SOUFFRANT                   PO BOX 208                                                                                         VAUXHALL            NJ   07088‐0208
MICHEL SOURIS
MICHEL STAWASZ                     3301 GULL RD APT 501                                                                               KALAMAZOO           MI 49048‐7361
MICHEL TAYLOR                      1495 LAURENTIAN PASS                                                                               FLINT               MI 48532‐2051
MICHEL THIERRY GROUP               RUE DENIS PAPIN                                                              LAROQUE D'OLMES FR
                                                                                                                09600 FRANCE
MICHEL VAN GYSEL                   VORSTLAAN 100                    1170 BRUSSEL
MICHEL WINFRED G (439334)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                    STREET, SUITE 600
MICHEL, BEULAH M                   7465 FRANCIS RD                                                                                    FLUSHING            MI   48433‐8834
MICHEL, BEULAH M                   7465 FRANCES RD                                                                                    FLUSHING            MI   48433‐8865
MICHEL, BRANDON G                  11480 W GENZMAN RD                                                                                 OAK HARBOR          OH   43449‐9268
MICHEL, BRIAN J                    10111 NORTH 200 EAST                                                                               ROANOKE             IN   46783‐8889
MICHEL, BRIAN J                    10111 N 200 E                                                                                      ROANOKE             IN   46783‐8889
MICHEL, DAVID D                    667 MOUNT OLIVET RD                                                                                COLUMBIA            TN   38401‐6744
MICHEL, DOUGLAS A                  PO BOX 584                                                                                         MILAN               OH   44846‐0584
MICHEL, EDWARD S                   794 BENNETT DR                                                                                     COLDWATER           MI   49036‐8872
MICHEL, EDWIN P                    904 GREEN BROOK DR                                                                                 ALLEN               TX   75002‐2313
MICHEL, ELENE                      18 WINDY RIDGE LANE                                                                                TROY                MO   63379‐5055
MICHEL, ELIZABETH A                3052 OAKHILL DR                                                                                    TROY                MI   48084‐1233
MICHEL, ERNEST W                   3356 SLATTERY RD                                                                                   LUM                 MI   48412‐9219
MICHEL, ETHEL E                    73 EGLANTINE RD                                                                                    ROCHESTER           NY   14616‐4553
MICHEL, EVELYN R                   6506 BRILLIANT WAY                                                                                 CENTERVILLE         OH   45459‐1919
MICHEL, HAROLD L                   73 EGLANTINE RD                                                                                    ROCHESTER           NY   14616‐4553
MICHEL, HERBERT                    MICHEL, HERBERT                  550 WALNUT HILLS DRIVE                                            HOPEWELL TOWNSHIP   OH   43701
MICHEL, J. W                       1576 SAINT LOUIS DR                                                                                HONOLULU            HI   96816‐1921
MICHEL, J. WHITNEY                 1576 SAINT LOUIS DR                                                                                HONOLULU            HI   96816
MICHEL, JAMES E                    21 FARNUM LN                                                                                       PALM COAST          FL   32137‐4460
MICHEL, JESSIE L                   3169 PALMER RD                                                                                     RANSOMVILLE         NY   14131‐9621
MICHEL, KATHLEEN M                 1336 CRESCENT CT                                                                                   XENIA               OH   45385‐5757
MICHEL, KENNETH F                  2640 SPYGLASS DR                                                                                   OAKLAND             MI   48363‐2464
MICHEL, MERCEDES                   420 W 25TH ST APT 3B                                                                               NEW YORK            NY   10001‐6550
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Name                     Address1                           Address2                      Address3   Address4             City                  State Zip
MICHEL, NORMAN H         18 WINDY RIDGE LN                                                                                TROY                   MO 63379‐5055
MICHEL, PATRICK J        4321 KENTWOOD AVE                                                                                FLINT                  MI 48507‐3520
MICHEL, PATRICK JOSEPH   4321 KENTWOOD AVE                                                                                FLINT                  MI 48507‐3520
MICHEL, RICHARD E        453 KIMBERLY ST                                                                                  BIRMINGHAM             MI 48009‐1114
MICHEL, ROBERT J         1547 FONTAINE AVE                                                                                MADISON HTS            MI 48071‐2640
MICHEL, STEVEN E         2816 ARBOR PL                                                                                    KNOXVILLE              TN 37917‐2344
MICHEL, SUSAN            1606 CARBINE LANE                                                                                ST CHARLES             MO 63303
MICHEL, TIMOTHY M        3935 IRIS DR                                                                                     WATERFORD              MI 48329‐1118
MICHEL, VERA             19540 MANN CT UNIT 418                                                                           NORTHVILLE             MI 48167
MICHEL, WINFRED G        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK                VA 23510‐2212
                                                            STREET, SUITE 600
MICHEL,KENNETH F         2640 SPYGLASS DR                                                                                 OAKLAND               MI 48363‐2464
MICHELA ALESSANDRI       VIA CABELLA 22 D                                                            GENOVA ITALY
MICHELA FALZONE          9 BRANDON CIR                                                                                    ROCHESTER             NY   14612‐3055
MICHELA GUERCIO          121 RODNEY LN                                                                                    ROCHESTER             NY   14625‐1249
MICHELA STEPHENS         651 E 305TH ST                                                                                   WILLOWICK             OH   44095‐4861
MICHELA, ANTHONY J       341 GALAXY LANE                                                                                  MELBOURNE BCH         FL   32951‐4237
MICHELAKIS, JOHN G       1555 WESTVIEW DR NE                                                                              WARREN                OH   44483‐5254
MICHELANGELA SCHINO      24 W UPPER FERRY RD                                                                              EWING                 NJ   08628‐2714
MICHELANGELO ARDANESE    601 LAWRENCE ST                                                                                  ANN ARBOR             MI   48104‐5501
MICHELANGELO ESPOSITO    CORSO UMBERTO I, 381
MICHELANGELO NATI        1312 MERIDEN AVE                                                                                 SOUTHINGTON           CT   06489‐4265
MICHELANGELO PUMA        118 KENILWORTH BLVD                                                                              CRANFORD              NJ   07016‐1512
MICHELANGELO SALAMONE    46832 EDGEWATER DR                                                                               MACOMB                MI   48044‐3596
MICHELE A COLE           8155 EAST NEW CARLISLE RD                                                                        NEW CARLISLE          OH   45344
MICHELE A DENT           15 WAINWRIGHT DR                                                                                 RIVERSIDE             OH   45431
MICHELE A GILL           1386 DYEMEADOW LN                                                                                FLINT                 MI   48532‐2323
MICHELE A SAKALIAN       1021 OLD MILFORD FARMS                                                                           MILFORD               MI   48381
MICHELE A SMITH          516 PLYMOUTH AVE                                                                                 SYRACUSE              NY   13211‐1243
MICHELE A VULTAGGIO      750 SUFFOLK DR                                                                                   JANESVILLE            WI   53546
MICHELE ABBATA           21 ALLEN ST                                                                                      N TONAWANDA           NY   14120‐6545
MICHELE ABRAHAM          3855 ANOKA DR                                                                                    WATERFORD             MI   48329‐2101
MICHELE ACHESON          535 HICKORY ST                                                                                   LINDEN                MI   48451‐8922
MICHELE ADAMS            RR 1 BOX 3511B                                                                                   SAYLORSBURG           PA   18353‐9749
MICHELE ALLEN‐HALL       11280 RUNYAN LAKE RD                                                                             FENTON                MI   48430‐2458
MICHELE AMOS             33212 VOTAW BLVD                                                                                 LISBON                OH   44432‐8404
MICHELE ANDERSON         4204 BENT OAKS DR                                                                                ARLINGTON             TX   76001‐5157
MICHELE ASSAD            10134 NADINE AVE                                                                                 HUNTINGTON WOODS      MI   48070‐1556
MICHELE AUSTIN           618 CHALMERS ST                                                                                  FLINT                 MI   48503‐6906
MICHELE B CALLAHAN       153 SHADOW BROOK DRIVE                                                                           ROCHESTER             NY   14616‐1520
MICHELE BACCE            O‐2040 LEONARD ST NW                                                                             GRAND RAPIDS          MI   49534‐9543
MICHELE BAKER            554 MORAN AVE                                                                                    LINCOLN PARK          MI   48146‐4337
MICHELE BARKS            2526 NEW COLUMBIA HWY                                                                            LEWISBURG             TN   37091‐6728
MICHELE BARNES           168 UPLAND AVE                                                                                   YOUNGSTOWN            OH   44505
MICHELE BARRIOS          16555 GRACE CT APT 204                                                                           SOUTHGATE             MI   48195‐3627
MICHELE BARTON           4604 BROOKHAVEN DR                                                                               KOKOMO                IN   46901‐3612
MICHELE BAUER            JOHN G. CRONIN, ATTORNEY‐IN‐FACT   722 CHESTNUT STREET                                           MANCHESTER            NH   03104
MICHELE BAUMAN           407 CHALFONTE AVE                                                                                GROSSE POINTE FARMS   MI   48236‐2944
MICHELE BAVARO           43 NADON PL                                                                                      TONAWANDA             NY   14150‐4622
MICHELE BAYLOR           2651 SOLAR DR                                                                                    LAKE ORION            MI   48360‐1981
MICHELE BELL             12680 WOODLAND TRL                                                                               DAVISBURG             MI   48350‐3725
MICHELE BEMENT           8047 KRAFT AVE SE                                                                                CALEDONIA             MI   49316‐9403
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Name                    Address1                            Address2            Address3         Address4         City            State Zip
MICHELE BENEDETTO       45 THISTLEDOWN DR                                                                         ROCHESTER        NY 14617‐3018
MICHELE BIBBS           3802 WISNER ST                                                                            FLINT            MI 48504‐3706
MICHELE BLASK           10977 OTAHNAGON DR                                                                        STANWOOD         MI 49346‐9595
MICHELE BLOCKER         4905 STIVERSVILLE RD                                                                      CULLEOKA         TN 38451‐2419
MICHELE BOOK            2385 EASTBROOK RD                                                                         NEW CASTLE       PA 16105‐6509
MICHELE BORGERDING      4322 BRAYAN DR                                                                            SWARTZ CREEK     MI 48473‐8823
MICHELE BOWYER          4237 ILLINOIS AVE SW                                                                      WYOMING          MI 49509‐4450
MICHELE BRACKEN         3033 MANN RD                                                                              WATERFORD        MI 48329‐2258
MICHELE BRENNAN         15042 W 128TH ST                                                                          OLATHE           KS 66062‐5809
MICHELE BROTHERS        PO BOX 124                                                                                MATTYDALE        NY 13211‐0124
MICHELE BROWN           46475 MARINER DR                                                                          MACOMB           MI 48044‐5758
MICHELE BRUNK           3170 DIXIE HWY APT E                                                                      WATERFORD        MI 48328‐1675
MICHELE BUCKLER         9105 SUNCREST DR                                                                          FLINT            MI 48504‐8140
MICHELE BUDD            10100 WILCOX RD                                                                           ONONDAGA         MI 49264‐9635
MICHELE BURLEY          PO BOX 1417                                                                               SPRING HILL      TN 37174‐1417
MICHELE BURNETT         12399 RAY RD                                                                              ORTONVILLE       MI 48462‐8704
MICHELE BUTCHER         2160 NOBLE AVE                                                                            FLINT            MI 48532‐3916
MICHELE C GUAY          16981 JACKSON RD                                                                          HOLLEY           NY 14470
MICHELE C MCGREW        214 S DIXON AVE                                                                           DIXON             IL 61021‐3143
MICHELE C PITTMAN       9191 SUNCREST DR                                                                          FLINT            MI 48504‐8140
MICHELE C SHUMATE       11807 CATANIA CT                                                                          MOORPARK         CA 93021‐3329
MICHELE CAPOBIANCO      124 MOBILE DR                                                                             ROCHESTER        NY 14616‐2145
MICHELE CAREY           3384 SKYVIEW LN                                                                           CORONA           CA 92882‐8665
MICHELE CASWELL         4996 W LEHMAN RD                                                                          DEWITT           MI 48820‐9150
MICHELE CHAKROFF        8400 ALLEN ROAD                                                                           CLARKSTON        MI 48348‐2708
MICHELE CHAPMAN         6101 REGER DR                                                                             LOCKPORT         NY 14094‐6303
MICHELE CHIOINO         2095 HACIENDA ST                                                                          SEASIDE          CA 93955‐3406
MICHELE COLAGRANDE      351 STONE FENCE RD                                                                        ROCHESTER        NY 14626‐3186
MICHELE CONNOLLY        8745 RACHAEL DR                                                                           DAVISBURG        MI 48350‐1724
MICHELE CONNORS         1356 CYPRESS HOLLOW CT                                                                    SAINT CHARLES    MO 63304‐5083
MICHELE D BARNES        1640 BURTON ST SE                                                                         WARREN           OH 44484
MICHELE D BENAVIDEZ     491 RIVER RIDGE DR                                                                        WATERFORD        MI 48327‐2886
MICHELE D BOLDEN        175 MERTLAND AVE                                                                          DAYTON           OH 45431‐1824
MICHELE D GEE           2073 AUBURN AVE                                                                           DAYTON           OH 45406
MICHELE D MCGREEVY      1213 FOX HOLLOW DR                                                                        LEBANON          OH 45036
MICHELE D SINKLER       215 W HIGH TER 14619                                                                      ROCHESTER        NY 14619
MICHELE D SUMERLIN      110 IRIQUOIS DRIVE APT. B                                                                 W. CARROLLTON    OH 45449
MICHELE D UDELL         6623 TOWNLAKE CIR                                                                         ARLINGTON        TX 76016‐2551
MICHELE DADABBO JR.     11255 HILLMAN                                                                             DAVISBURG        MI 48350‐3509
MICHELE DAVIS           17067 HILTON ST                                                                           SOUTHFIELD       MI 48075‐7014
MICHELE DEMENIUK        5393 BISHOP RD                                                                            DRYDEN           MI 48428‐9335
MICHELE DENISON         220 MILL OAKS LN                                                                          HOLLY            MI 48442‐8999
MICHELE DOBBELAERE      P.O. BOX 210‐076                                                                          BROOKLYN         NY 11221
MICHELE DUNFORD‐SMITH   4053 OLD RIVERSIDE DR                                                                     DAYTON           OH 45405‐2327
MICHELE DUNNING         43 BANNER ST SW                                                                           GRAND RAPIDS     MI 49507‐2905
MICHELE DUROCHER        1720 CLIFFS LNDG APT 102                                                                  YPSILANTI        MI 48198‐7337
MICHELE E COLON         60 SHADYSIDE DR.                                                                          BOARDMAN         OH 44512
MICHELE E WHITMORE      8047 3RD ST                                                                               DETROIT          MI 48202‐2420
MICHELE ELIEZER         PO BOX 15496                                                                              NEW ORLEANS      LA 70175
MICHELE ESCHTRUTH       4485 HAWTHORN CT                                                                          AUBURN HILLS     MI 48326‐1884
MICHELE FARACE          15 RIVER RUN                                                                              CARMEL           NY 10512‐6168
MICHELE FEIGHNER        4030 E MOUNT HOPE HWY                                                                     GRAND LEDGE      MI 48837‐9443
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Name                               Address1                       Address2                    Address3   Address4         City                 State Zip
MICHELE FIORANTE                   8212 W STRONG ST                                                                       NORRIDGE               IL 60706‐3023
MICHELE FOX                        321 W LAMONT RD                                                                        HUNTINGTON            IN 46750‐9601
MICHELE FRY                        620 CRESCENT CT                                                                        ORTONVILLE            MI 48462‐9742
MICHELE FUGETT                     704 CAHILL RD TRLR 2                                                                   ANGLETON              TX 77515‐7149
MICHELE G ALLEN‐HALL               11280 RUNYAN LAKE RD                                                                   FENTON                MI 48430‐2458
MICHELE G. RE                      VIA RIVERA 49                  20048 CARATE BRIANZA (MI)
MICHELE GILL                       1386 DYEMEADOW LN                                                                      FLINT                MI 48532‐2323
MICHELE GREEN                      27125 SUTHERLAND ST                                                                    SOUTHFIELD           MI 48076‐7432
MICHELE GREGORY                    1309 KNIGHT AVE                                                                        FLINT                MI 48503‐3278
MICHELE GRETH
MICHELE GRIEVE                     55256 MACINTOSH CT                                                                     SHELBY TOWNSHIP      MI   48316‐5341
MICHELE GROSS                      46 GREENWOOD AVE                                                                       BETHEL               CT   06801‐2602
MICHELE H BROWNSTEIN A/C/F BLAKE   BROWNSTEIN, UTMA CT            ONE BRADLEY RD, STE 305                                 WOODBRIDGE           CT   06525
MICHELE HALEY                      259 GREEN ST                                                                           LOCKPORT             NY   14094‐2707
MICHELE HALL                       ACCT OF ROY A PLEW             PO BOX 325                                              EAST AMHERST         NY   14051‐0325
MICHELE HARDWICK                   5684 W 250 S                                                                           ANDERSON             IN   46011‐9437
MICHELE HARRINGTON                 1452 KIRTLAND DR                                                                       ANN ARBOR            MI   48103‐5722
MICHELE HART                       1001 W LAMBERT RD SPC 261                                                              LA HABRA             CA   90631‐1462
MICHELE HEFFNER                    1477 S RTE 183                                                                         SCHUYLKILL HAVEN     PA   17972
MICHELE HOGAN                      21701 VISNAW ST                                                                        SAINT CLAIR SHORES   MI   48081‐1297
MICHELE ICE                        2033 E RIVER RD UNIT 33                                                                NEWTON FALLS         OH   44444‐8779
MICHELE J CAPOBIANCO               124 MOBILE DR                                                                          ROCHESTER            NY   14616‐2145
MICHELE J DUNFORD‐SMITH            4053 OLD RIVERSIDE DR                                                                  DAYTON               OH   45405
MICHELE J ZIMMERMAN                2335 N IRISH RD                                                                        DAVISON              MI   48423
MICHELE JOHN                       2720 E VAN NORMAN AVE                                                                  SAINT FRANCIS        WI   53235‐5620
MICHELE JONES                      1833 GREENBRIAR LN                                                                     FLINT                MI   48507‐2219
MICHELE JONES                      4013 HORIZON DR                                                                        DAVISON              MI   48423‐8445
MICHELE K KANE                     9524 LAS COLINAS DR                                                                    LONE TREE            CO   80124
MICHELE K MC KINLEY                919 ROMINE RD                                                                          ANDERSON             IN   46011‐8781
MICHELE KELLEY                     114 E BROOKLYN AVE                                                                     PONTIAC              MI   48340‐1210
MICHELE KELLY                      23157 STAG CT                                                                          NEW BOSTON           MI   48164‐8947
MICHELE KENNEDY                    32535 EIFFEL AVE                                                                       WARREN               MI   48088‐1321
MICHELE KIRKSEY‐PARKER             3437 RIDGECLIFFE DR                                                                    FLINT                MI   48532‐3764
MICHELE KNOX                       4408 LIPPINCOTT BLVD                                                                   BURTON               MI   48519‐1158
MICHELE KOON                       322 GROVE CIR                                                                          AVON PARK            FL   33825‐2264
MICHELE KUK                        13954 STEFFENSEN STREET                                                                GOWEN                MI   49326‐9484
MICHELE L BESSE                    610 CENTRAL AVE                                                                        TILTON               IL   61833‐7908
MICHELE L BOWYER                   4237 ILLINOIS AVE SW                                                                   WYOMING              MI   49509‐4450
MICHELE L BRUEWER                  2318 BRAHMS                                                                            W. CARROLLTON        OH   45449‐3326
MICHELE L CRAIN                    PO BOX 320817                                                                          FLINT                MI   48532‐0014
MICHELE L FERGUSON                 221 WOODRIDGE DR.                                                                      MIAMISBURG           OH   45342
MICHELE L GULAS                    5950 GLENWOOD AVE.                                                                     BOARDMAN             OH   44512
MICHELE L HARDIN                   6855 KEATS DR                                                                          DAYTON               OH   45414
MICHELE L HILEMAN                  239 1ST AVE NORTH                                                                      LAKE WALES           FL   33859
MICHELE L METZGER                  501 SUN TERRACE CT A                                                                   PALM BEACH GARDENS   FL   33403
MICHELE L RAINEY                   5240 HARVARD AVE                                                                       RAYTOWN              MO   64133‐2344
MICHELE L SMART                    1320 E CORNELL AVE                                                                     FLINT                MI   48505‐1751
MICHELE L STEGMAN                  232 EAST AVE                                                                           E ROCHESTER          NY   14445‐1506
MICHELE L STOKES                   6384 E HARVEST RIDGE DR                                                                AUSTINTOWN           OH   44515
MICHELE L TITUS                    3709 TIGER LILLY CT                                                                    SOUTHPORT            NC   28461‐9097
MICHELE L WAYMIRE                  1300 S SANLOR AVE APT 4                                                                WEST MILTON          OH   45383‐1129
MICHELE LADIGO                     5332 W ROCKWELL RD                                                                     AUSTINTOWN           OH   44515‐1828
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Name                        Address1                       Address2                      Address3   Address4         City                State Zip
MICHELE LAMBERT             115 WESTWIND DR NE                                                                       WARREN               OH 44484‐1069
MICHELE LEAHY               1505 NORFOLK RD                                                                          TORRINGTON           CT 06790‐2034
MICHELE LEWIS               7270 MCCARTY RD                                                                          SAGINAW              MI 48603‐9619
MICHELE LIGON               794 STEWART RD                                                                           ANDERSON             IN 46012‐9648
MICHELE LITTLE              501 SHERMAN RD                                                                           SAGINAW              MI 48604‐2022
MICHELE LUKAS               5553 COMMERCE RD                                                                         ORCHARD LAKE         MI 48324‐2213
MICHELE M CILIBERTO         10 REX LN                                                                                SPENCERPORT          NY 14559
MICHELE M NOCK              68 QUINBY LANE                                                                           DAYTON               OH 45432‐3414
MICHELE M PLATTER           PO BOX 170                                                                               WILSON               NY 14172‐0170
MICHELE M RICKERT           2504 S CANAL ST                                                                          NEWTON FALLS         OH 44444
MICHELE M SULLIVAN‐PORTER   1190 S MOJAVE RD TRLR 121                                                                LAS VEGAS            NV 89104‐4440
MICHELE M TUCCI             ACCT OF MARY JANE VERSEY       29777 TELEGRAPH RD STE 2500                               SOUTHFIELD           MI 48034‐7625
MICHELE M WIATROWSKI        20 CANTERBURY LANE                                                                       BERGEN               NY 14416‐9717
MICHELE MARTIN              2051 CAROL DR                                                                            LAPEER               MI 48446‐7743
MICHELE MC GREW             214 S DIXON AVE                                                                          DIXON                 IL 61021‐3143
MICHELE MCINTYRE            15314 W STATE ROAD 11                                                                    ORFORDVILLE          WI 53576‐9629
MICHELE MCKINLEY            919 ROMINE RD                                                                            ANDERSON             IN 46011‐8781
MICHELE MCLEAN‐ROSE         2230 MILES RD                                                                            LAPEER               MI 48446‐8058
MICHELE MICHELS             303 SMITH ST APT 219                                                                     CLIO                 MI 48420‐1355
MICHELE MILLER              48052 AMANDA DR                                                                          MACOMB               MI 48044‐4955
MICHELE MINEO               120 AMBROSE ST                                                                           ROCHESTER            NY 14608‐1204
MICHELE MORRIS              4400 JORDYN DR                                                                           LAPEER               MI 48446‐3655
MICHELE MURPHY              10416 N CLIO RD                                                                          CLIO                 MI 48420‐1967
MICHELE N MILLER            2463 MIDDLETOWN‐EATON RD                                                                 MIDDLETOWN           OH 45042‐9553
MICHELE NEWBY               20654 SANDLIN RD                                                                         ELKMONT              AL 35620
MICHELE NIGH                5225 GREENVIEW DR                                                                        CLARKSTON            MI 48348‐3831
MICHELE NOPPINGER           4339 HALBERT AVE                                                                         BALTIMORE            MD 21236‐1526
MICHELE NOTEBOOM            56409 FAIRCHILD RD                                                                       MACOMB               MI 48042‐1522
MICHELE NOWACKI             50 FORBES TER                                                                            N TONAWANDA          NY 14120‐1832
MICHELE ORSI
MICHELE OSTROM              6021 52 STREET
MICHELE PACIFICO            676 MEADOWBROOK AVE SE                                                                   WARREN              OH   44484‐4552
MICHELE PANCZYK             53129 OAK GRV                                                                            SHELBY TOWNSHIP     MI   48315‐2006
MICHELE PANNELL             77 SULLIVAN PL. APT3 20C                                                                 BROOKLYN            NY   11225
MICHELE PARADISO            4227 PINE MEADOW TER                                                                     SARASOTA            FL   34233‐3642
MICHELE PARSON              3885 S 450 E RD                                                                          ANDERSON            IN   46017
MICHELE PELTIER             5480 LANCASTER LN                                                                        COMMERCE TWP        MI   48382‐2886
MICHELE PETERS              1027 RED PEPPER RDG                                                                      SPRING HILL         TN   37174‐7426
MICHELE PITTMAN             9191 SUNCREST DR                                                                         FLINT               MI   48504‐8140
MICHELE PLATTER             PO BOX 170                                                                               WILSON              NY   14172‐0170
MICHELE PLOUCHA             2757 RAVINEWOOD DR                                                                       COMMERCE TOWNSHIP   MI   48382‐5401
MICHELE PROVENZINO          43338 VINTNERS PLACE DR                                                                  STERLING HEIGHTS    MI   48314‐1332
MICHELE PRUETT              7735 BIG BEND RD                                                                         MARTINSVILLE        IN   46151‐7785
MICHELE R BUSIC             2831 LITTLE YORK RD                                                                      DAYTON              OH   45414‐1635
MICHELE R GROPENGIESER      6223 MIDDLEBORO                                                                          BLANCHESTER         OH   45107‐9312
MICHELE R HUBBLE            203 W RUTGERS AVE                                                                        PONTIAC             MI   48340‐2763
MICHELE R JONES             243 KENILWORTH AVE SE                                                                    WARREN              OH   44483‐6013
MICHELE RAINEY              5240 HARVARD AVE                                                                         RAYTOWN             MO   64133‐2344
MICHELE RAMO                750 RIVER EDGE CT                                                                        FLUSHING            MI   48433‐2130
MICHELE RAY                 9817 LOVEJOY RD                                                                          BYRON               MI   48418‐9536
MICHELE RIGAZZI             7614 TAMIAMI DR                                                                          PARMA               OH   44134‐6633
MICHELE RILEY               393 ALLEN CIRCLE                                                                         CADIZ               KY   42211‐6646
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Name                        Address1                        Address2              Address3           Address4              City            State Zip
MICHELE ROBERTS             2524 VAN DYKE ST                                                                               CONKLIN          MI 49403‐9595
MICHELE ROSA                9 OAKBROOK LN                                                                                  SPENCERPORT      NY 14559‐9606
MICHELE ROSE NUNES          50 CLUBHOUSE DR APT 203                                                                        PALM COAST       FL 32137‐8164
MICHELE ROSENBALM           6405 WHITEFORD CENTER RD                                                                       LAMBERTVILLE     MI 48144‐9473
MICHELE ROWLAND             26629 TOM ALLEN DR                                                                             WARREN           MI 48089‐3525
MICHELE RYDZEWSKI           24632 VENICE DR                                                                                NOVI             MI 48374‐2985
MICHELE S DIPRETA           2557 ROMAR DRIVE                                                                               SHARON           PA 16148‐2889
MICHELE S HORN              167 PARKEDGE AVE                                                                               TONAWANDA        NY 14150‐7818
MICHELE S MALAK             11 KEABLE COURT                                                                                BROCKPORT        NY 14420‐1615
MICHELE SCHIEDEL            APT E                           205 AUTUMN COURT                                               BLUFFTON         IN 46714‐1397
MICHELE SCHILL‐KAPP         42293 WEBSTER RD                                                                               LAGRANGE         OH 44050‐9425
MICHELE SCHULZ              16 E MANITOU RD                                                                                ROCHESTER        NY 14612‐1065
MICHELE SCHUSTER            2004 LAKEWOOD AVE                                                                              HURON            OH 44839‐1121
MICHELE SCHWARZER           BIRKENWEG 27                                                             51061 KOELN GERMANY
MICHELE SEMINO              VIA MOLTENI 9                                                                                  MILANO          IL
MICHELE SHUMATE             11807 CATANIA CT                                                                               MOORPARK        CA   93021‐3329
MICHELE SKINNER             PO BOX 97                                                                                      SUMMITVILLE     IN   46070‐0097
MICHELE SMALL               30144 WINDSOR                                                                                  GIBRALTAR       MI   48173‐9452
MICHELE SMALL               850 SEVILLE ROW                                                                                DETROIT         MI   48202‐2602
MICHELE SMITH               7351 CHANNEL RD                                                                                PETOSKEY        MI   49770‐9624
MICHELE SMITH               390 WILDFLOWER LN                                                                              LAPEER          MI   48446‐7655
MICHELE STENGEL             VIA DE CESARE 71
MICHELE SULLIVAN‐PORTER     1190 S MOJAVE RD TRLR 121                                                                      LAS VEGAS       NV   89104‐4440
MICHELE SUMERLIN            110 IROQUOIS DR APT B                                                                          DAYTON          OH   45449‐3970
MICHELE SWEENEY             393 OXBOW CT                                                                                   WHITE LAKE      MI   48386‐2258
MICHELE TANNER              17 SPRUCE STREET                #151                                                           DEMING          NM   88030
MICHELE TASH                2647 S US HIGHWAY 23                                                                           TAWAS CITY      MI   48763‐9560
MICHELE TAYLOR              5126 PRINCE PHILLIPS COV                                                                       BRENTWOOD       TN   37027
MICHELE THORNTON            PO BOX 1133                                                                                    GARY            IN   46407‐0133
MICHELE TOLSDORF
MICHELE TORTORICI           965 BRIDGESTONE DR                                                                             ROCHESTER HLS   MI   48309‐1621
MICHELE TRUBIRO             7505 ROYAL CRYSTAL ST                                                                          LAS VEGAS       NV   89149‐0170
MICHELE TSCHUDY             APT 143                         2516 RUGER DRIVE                                               ARLINGTON       TX   76006‐3268
MICHELE TUER                11479 CARR ROAD                                                                                DAVISON         MI   48423‐9336
MICHELE UDELL               6623 TOWNLAKE CIR                                                                              ARLINGTON       TX   76016‐2551
MICHELE UNDERWOOD           21809 MERRIMAN RD                                                                              NEW BOSTON      MI   48164‐9458
MICHELE VALENTINE           662 CLIFTON DR                                                                                 BEAR            DE   19701‐2150
MICHELE VULTAGGIO           750 SUFFOLK DR                                                                                 JANESVILLE      WI   53546‐1824
MICHELE WANG                4575 MICHAEL ERIC DR                                                                           GOODRICH        MI   48438‐9617
MICHELE WESLOCK             4547 S AIRPORT RD                                                                              BRIDGEPORT      MI   48722‐9561
MICHELE WESTON              11838 CURWOOD DR                                                                               GRAND BLANC     MI   48439‐1158
MICHELE WIANT               4271 CAHOKIA RDG                                                                               LINDEN          MI   48451‐8435
MICHELE WILLIAMS            107 DEWEY RD                                                                                   MEXICO          NY   13114‐3167
MICHELE YARTZ               6961 DOWNS RD NW                                                                               WARREN          OH   44481‐9412
MICHELE YONKER              15213 S SCENIC DR                                                                              SPRING LAKE     MI   49456‐9083
MICHELE YOUNG               3411 SUNSET DR                                                                                 FLINT           MI   48503‐2364
MICHELE ZEISS               2690 GRIFFITH AVE                                                                              BERKLEY         MI   48072‐1304
MICHELE ZOTTA               VIA ROMAGNA 136                 TEL.+39 040 2415704   E.MAIL:                                  TRIESTE              34134
                                                                                  MZOTTA@GMAIL.COM
MICHELE ZOTTA               VIA ROMAGNA 136                                                          34134 TRIESTE ITALY
MICHELEN TIRES CANADA LTD   GRANTON                                                                  NEW GLASGOW NS B2H
                                                                                                     5E6 CANADA
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Name                                Address1                             Address2                       Address3                 Address4                  City                State Zip
MICHELET NARCISSE                   401 39TH ST                                                                                                            TUSCALOOSA           AL 35405‐2947
MICHELETTO, ANGELO                  PO BOX 2257                                                                                                            BRIDGEVIEW            IL 60455‐6257
MICHELETTO, THERESA K               8331 W 82ND ST                                                                                                         JUSTICE               IL 60458‐2254
MICHELI JR, THOMAS J                736 BANBURY RD                                                                                                         DAYTON               OH 45459‐1650
MICHELI JR, THOMAS JOHN             736 BANBURY RD                                                                                                         DAYTON               OH 45459‐1650
MICHELI, JOSEPH C                   2599 MILLSBORO RD E                                                                                                    MANSFIELD            OH 44903‐8784
MICHELI, KATHRYN J                  9000 N WHITE OAK LN APT 306                                                                                            BAYSIDE              WI 53217‐1674
MICHELI, KENNETH M                  3260 EL SUYO DR                                                                                                        SAN RAMON            CA 94583‐3064
MICHELI, SCOTT                      108 WEST RALEIGH AVENUE                                                                                                MANSFIELD            OH 44907‐1336
MICHELIC, THOMAS G                  15819 S RIVER CT                                                                                                       PLAINFIELD            IL 60544‐5107
MICHELIN CORP.                      ED CROUCH                            1 PARKWAY S.                                                                      BROOKHAVEN           MS 39601
MICHELIN NA INC                     PEPPER HAMILTON LLP                  C/O THOMAS P WILCZAK           100 RENAISSANCE CENTER   SUITE 3600                DETROIT              MI 48243
MICHELIN NORTH AMERICA              PO BOX 19001                                                                                                           GREENVILLE           SC 29602‐9001
MICHELIN NORTH AMERICA              (SUCCESSOR TO UNIROYAL GOODRICH TIRE PEPPER HAMILTON LLP C/O THOMAS 100 RENAISSANCE CENTER                             DETROIT              MI 48243
                                    COMPANY INC)                         P WILCZAK                      SUITE 3600
MICHELIN NORTH AMERICA (SUCCESSOR   ATTN THOMAS P WILCZAK                PEPPER HAMILTON LLP            100 RENAISSANCE CENTER                             DETROIT             MI 48243
TO UNIROYAL GOODRICH TIRE CO INC)                                                                       SUITE 3600

MICHELIN NORTH AMERICA CANADA INC   2540 DANIEL JOHNSON BLVD            RELEASE B COURISH CANADA                                 LAVAL PQ H7T 2T9 CANADA

MICHELIN NORTH AMERICA INC          ONE PARKWAY SOUTH OEM DEPT                                                                                             GREENVILLE           SC   29615
MICHELIN NORTH AMERICA INC          5101 21ST ST                                                                                                           TUSCALOOSA           AL   35401‐2589
MICHELIN NORTH AMERICA INC          2420 OLD 2 NOTCH RD                                                                                                    LEXINGTON            SC   29072
MICHELIN NORTH AMERICA INC
MICHELIN NORTH AMERICA INC          1101 MICHELIN RD                                                                                                       ARDMORE             OK    73401‐1085
MICHELIN NORTH AMERICA INC          3290 W BIG BEAVER RD STE 201                                                                                           TROY                MI    48084‐2908
MICHELIN NORTH AMERICA, INC.        PAM LOVE                            PO BOX 19001                                                                       GREENVILLE          SC    29602‐9001
MICHELIN NORTH AMERICA, INC.,       515 MICHELIN RD                                                                                                        GREENVILLE          SC    29605‐6131
MICHELIN TIRE CORP
MICHELIN, ASSUNTA                   392 MARQUETTE                                                                                                          CALUMET CITY        IL    60409‐2321
MICHELIN, ASSUNTA                   392 MARQUETTE AVE                                                                                                      CALUMET CITY        IL    60409‐2321
MICHELIN, BARBARA                   244 BEALE DR                                                                                                           FRANKLIN            NC    28734‐6264
MICHELIN, DIANE M                   5355 DILLON RD                                                                                                         FLUSHING            MI    48433‐9706
MICHELIN, DIANE MARIE               5355 DILLON RD                                                                                                         FLUSHING            MI    48433‐9706
MICHELIN, DONALD                    C/O GEICO                           1 GEICO LNDG                                                                       VIRGINIA BEACH      VA    23454‐5694
MICHELIN, EUGENE J                  1814 BEECHMONT ST                                                                                                      KEEGO HARBOR        MI    48320‐1124
MICHELIN, FRANK                     180 WHITE BIRCH ROAD                                                                                                   NORTHVILLE          NY    12134‐5521
MICHELIN, THOMAS                    11 CASHMAN DR                                                                                                          HOPEWELL JUNCTION   NY    12533‐5126
MICHELIN/TROY                       3290 W BIG BEAVER RD STE 201                                                                                           TROY                MI    48084‐2908
MICHELINA ANNICCHIARICO             428 CORTLANDT ST                                                                                                       BELLEVILLE          NJ    07109‐3206
MICHELINA BORG                      3925 BERKELEY AVE                                                                                                      CANTON              MI    48188‐7226
MICHELINA BUONANNO                  15 EZECHIEL CARRE RD                                                                                                   EAST GREENWICH      RI    02818‐1552
MICHELINA D'AMICO                   1030 PEACHCREEK RD                                                                                                     CENTERVILLE         OH    45458‐3259
MICHELINA E MASSELLA                186 WHITE SHADOW COURT                                                                                                 LAS VEGAS           NV    89123
MICHELINA FICHERA                   44 KINGS COURT WAY APT 1                                                                                               ROCHESTER           NY    14617‐5525
MICHELINA G PETRILLO                55 W CONNELLY BLVD #208                                                                                                SHARON              PA    16146‐1718
MICHELINA MASSELLA                  186 WHITE SHADOW CT CT                                                                                                 LAS VEGAS           NV    89123
MICHELINA PETRILLO                  55 W CONNELLY BLVD APT 208                                                                                             SHARON              PA    16146‐1718
MICHELINA SPINARDI                  3567 MONTEREY BLVD                                                                                                     SAN LEANDRO         CA    94578‐4066
MICHELINE DE FAZIO                  131 KAYMAR DR                                                                                                          ROCHESTER           NY    14616‐1235
MICHELINE DESCHREIDER               3 AVENUE JOSSE SMETS                                                                                                   BRUSSELS                  1160
MICHELINE FERM                      14525 RENMORE RD                                                                                                       HOMER GLEN           IL   60491‐9412
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Name                          Address1                      Address2                      Address3   Address4         City               State Zip
MICHELINE HAYDA               1499 NW AMHERST DR APT A                                                                SAINT LUCIE WEST    FL 34986‐1862
MICHELINE M HAYDA             1499‐A N.W. AMHERST DR.                                                                 PORT ST. LUCIE      FL 34986
MICHELINE RICHTER             1739 PALO ALTO AVE                                                                      LADY LAKE           FL 32159‐9195
MICHELINE TOMASEK             711 W STEWART ST                                                                        OWOSSO              MI 48867‐4331
MICHELINE, ANNETTE P          499 E LIBERTY ST                                                                        HUBBARD             OH 44425‐2189
MICHELINI, DENNIS J           1421 OKLAHOMA ST                                                                        WATERFORD           MI 48327‐3344
MICHELINI, JAMES M            228 PINE HILL RD                                                                        CHELMSFORD          MA 01824‐1903
MICHELINI, JOHN A             2833 CHARD AVE                                                                          WARREN              MI 48092‐2802
MICHELINI, MARIA              40768 SUFFIELD DR                                                                       CLINTON TOWNSHIP    MI 48038‐7124
MICHELINI, MICHELLE L         45898 ROCKLEDGE DR                                                                      PLYMOUTH            MI 48170‐3560
MICHELIS, JANIECE M           947 HIGHLAND AVE                                                                        LINCOLN PARK        MI 48146‐4201
MICHELITSCH, ALBERT J         9601 STANWIN AVE                                                                        ARLETA              CA 91331‐4657
MICHELIZZI BRUNO R (626657)   GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                            STREET, SUITE 600
MICHELIZZI, BRUNO R           GLASSER AND GLASSER           CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                            STREET, SUITE 600
MICHELL COATS                 22477 BELL CT                                                                           FARMINGTON HILLS   MI   48335‐3901
MICHELL GIBBONS               2621 SW 90TH PL                                                                         OKLAHOMA CITY      OK   73159‐6750
MICHELL LITNAR                8210 DEEPWOOD BLVD APT 1                                                                MENTOR             OH   44060‐7742
MICHELL SANTORO               4401 POINT BLVD APT 7204                                                                GARLAND            TX   75043‐7737
MICHELL SHIPPY                621 MYSTIC WOODS DR                                                                     HOWELL             MI   48843‐6301
MICHELLE
MICHELLE A BROOKS             1332 ANGELA AVE                                                                         CINCINNATI         OH   45231
MICHELLE A CROPO              809 MAIN ST 12                                                                          JASPER             TN   37347
MICHELLE A DANIELS            10967 ST RT 122                                                                         CAMDEN             OH   45311
MICHELLE A DAVIS              1606 BRAZOS TRACES DR                                                                   RICHMOND           TX   77469
MICHELLE A DAVIS              1606 BRAZON TRACES DR                                                                   RICHMOND           TX   77469
MICHELLE A ENGLE              424 N WATER ST                                                                          ALBANY             IN   47320‐1129
MICHELLE A GERMANY            2406 N 11TH ST                                                                          KANSAS CITY        KS   66104‐5539
MICHELLE A GIBEAU             1132 TROY ST                                                                            DAYTON             OH   45404
MICHELLE A GRACE              4108 ASPEN ST                                                                           CHEVY CHASE        MD   20815
MICHELLE A GRIEWAHN           5763 N ADRIAN HWY                                                                       ADRIAN             MI   49221‐9305
MICHELLE A HENDERSON          234 W FEDERAL ST                                                                        NILES              OH   44446
MICHELLE A HOELSCHER          143 WYATT                                                                               BRADFORD           OH   45308‐1043
MICHELLE A LOPER              431 N 12TH ST                                                                           MIAMISBURG         OH   45342
MICHELLE A LOWRIE             5246 BELLE ISLE DR                                                                      DAYTON             OH   45439‐3236
MICHELLE A MEFFORD            4819 NEBRASKA                                                                           HUBER HEIGHTS      OH   45424
MICHELLE A MILLER             3849 JIM DR                                                                             BRIDGEPORT         MI   48722‐9617
MICHELLE A NASSAR             4000 WATERLAND DR                                                                       METAMORA           MI   48455
MICHELLE A NISWONGER          8395 PITSBURG‐LAURA RD                                                                  ARCANUM            OH   45304‐‐ 94
MICHELLE A POOLE              111 HUTCHINGS ROAD                                                                      ROCHESTER          NY   14624‐1019
MICHELLE A SHIELDS            4629 QUEENS AVE                                                                         DAYTON             OH   45406
MICHELLE A SMITH              2700 SUTTON AVE                                                                         DAYTON             OH   45429
MICHELLE A THOMAS             10 NONA                                                                                 TROTWOOD           OH   45426‐‐ 30
MICHELLE A WILLIAMS           15725 AUBURN ST                                                                         DETROIT            MI   48223‐1216
MICHELLE ADAMS                3532 STROLL ROAD                                                                        PLANO              TX   75025‐5855
MICHELLE ADAMS                3532 STROLL RD                                                                          PLANO              TX   75025‐5855
MICHELLE AGER                 5300 AGERS ALY N                                                                        CHARLEVOIX         MI   49720‐8819
MICHELLE ALLEN                683 REDMANS VICTORY LN                                                                  OAK GROVE          MO   64075‐5476
MICHELLE ALLIE                2338 MONTGOMERY AVE NW                                                                  WARREN             OH   44485‐1420
MICHELLE ALTIER               85 LAWNVIEW AVE                                                                         NILES              OH   44446‐2043
MICHELLE AMOS                 13800 ELWELL RD                                                                         BELLEVILLE         MI   48111‐2549
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Name                        Address1                        Address2                 Address3    Address4         City               State Zip
MICHELLE ANDERSON
MICHELLE ANTCZAK‐HEALEY     13120 ROXBURY DR                                                                      STERLING HEIGHTS   MI    48312‐1534
MICHELLE APFEL              2822 JOLIET ST                                                                        JANESVILLE         WI    53546‐5451
MICHELLE ARION‐WILLIAMS     2546 GREY ROCK LN                                                                     KOKOMO             IN    46902‐7314
MICHELLE ASHFORD            11852 WAYBURN ST                                                                      DETROIT            MI    48224‐1036
MICHELLE B LEZAIC           4646 EVERETT HULL RD                                                                  CORTLAND           OH    44410‐9727
MICHELLE B MCGUIGAN         225 PENFIELD ROAD                                                                     ROCHESTER          NY    14610‐3127
MICHELLE B TURNER           629 W MILWAUKEE ST APT 203                                                            DETROIT            MI    48202‐2963
MICHELLE BAILEY‐LOPEZ       1321 N STATE ROAD 115                                                                 WABASH             IN    46992‐8700
MICHELLE BAIRD              8120 ROLLER RD                                                                        SALEM              OH    44460‐9241
MICHELLE BAIZE              2705 GOLF CLUB RD                                                                     HOWELL             MI    48843‐8600
MICHELLE BAKER              16163 TOURAINE DR               16163 TOURAINE                                        CLINTON TWP        MI    48038‐4514
MICHELLE BARANOWSKI         1209 ADDINGTON LN                                                                     ANN ARBOR          MI    48108‐8960
MICHELLE BARONE             240 MINOT ST                                                                          ROMEO              MI    48065‐4629
MICHELLE BARRAGAN           7350 SILVER LAKE RD APT 22F                                                           RENO               NV    89506‐3198
MICHELLE BARROW             8345 LAKE RD                                                                          INDIANAPOLIS       IN    46217‐9439
MICHELLE BARRY              305 ABINGDON CT                                                                       O FALLON           MO    63368‐6781
MICHELLE BARTKOVICH         601 SHAWNESEE                                                                         FLUSHING           MI    48433‐1326
MICHELLE BAUER              C/O JOHN G. GRONIN              772 CHESTNUT STREET                                   MANCHESTER         NH    03104
MICHELLE BEILSTEIN          2585 ALLYSON DR SE                                                                    WARREN             OH    44484‐3709
MICHELLE BERG               11033 PRIOR RD                                                                        SAINT CHARLES      MI    48655‐8533
MICHELLE BERRY              2373 E DODGE RD                                                                       CLIO               MI    48420‐9783
MICHELLE BESHEARS           3833 N BENNINGTON AVE                                                                 KANSAS CITY        MO    64117‐7803
MICHELLE BIRD               4471 CRYSTAL CREEK DR                                                                 LAKE ORION         MI    48362‐1021
MICHELLE BLASDELL           2203 ANOKA ST                                                                         FLINT              MI    48532‐4404
MICHELLE BLIGHT             4206 PHEASANT DR                                                                      FLINT              MI    48506‐1729
MICHELLE BLISS              541 WALKER RD                                                                         HILTON             NY    14468‐9762
MICHELLE BLUNK              4408 N HILLVIEW DR                                                                    BLOOMINGTON        IN    47408‐9721
MICHELLE BOOTH              1481 LINCOLN AVE                                                                      MINERAL RIDGE      OH    44440‐9704
MICHELLE BOWLING            1675 LAMBERS DR                                                                       NEW CARLISLE       OH    45344
MICHELLE BRAUN              7649 BENT GRASS TRL                                                                   HOWELL             MI    48843‐9599
MICHELLE BROWN              300 E FRANKLIN ST                                                                     LIBERTY            MO    64068‐1710
MICHELLE BUNKER             10034 BORGMAN AVE                                                                     HUNTINGTON WOODS   MI    48070‐1103
MICHELLE BURROWS            1210 HOFFMAN AVE                                                                      ROYAL OAK          MI    48067‐3479
MICHELLE C LEWIS            22 PALLISTER ST                                                                       DETROIT            MI    48202‐2417
MICHELLE C PRUITT           209 MAIN ST. WEST                                                                     GLENCOE            AL    35905
MICHELLE C. FALK
MICHELLE C. RICARD
MICHELLE CALBERT            732 CANDLELITE CT                                                                     FORT WAYNE         IN    46807‐3606
MICHELLE CALLOWAY           45426 PEBBLE BEACH CT                                                                 NORTHVILLE         MI    48168‐8486
MICHELLE CAMPBELL           33570 GERTRUDE ST                                                                     WAYNE              MI    48184‐1827
MICHELLE CAPLE              525 WILKINSON ST                                                                      SHREVEPORT         LA    71104‐3253
MICHELLE CARLTON‐WOOLFORK   4747 SHERWOOD CIR                                                                     CANTON             MI    48188‐2244
MICHELLE CARMAN             634 DONALDSON DRIVE                                                                   PITTSBURGH         PA    15226
MICHELLE CARNEY             3433 MEADOW GLEN DR                                                                   HUDSONVILLE        MI    49426‐9070
MICHELLE CARPENTER          28571 ABERDEEN ST                                                                     SOUTHFIELD         MI    48076‐2984
MICHELLE CASHNER            3259 SCIOTO GLEN DR                                                                   HILLIARD           OH    43026‐4815
MICHELLE CHIARA             7404 CRAIGMERE DRIVE                                                                  CLEVELAND          OH    44130‐5347
MICHELLE CHIN               APT 11207                       47927 THORNWOOD STREET                                WIXOM              MI    48393‐2619
MICHELLE CHOLGER            19896 EDINBERG DR                                                                     MACOMB             MI    48044‐2150
MICHELLE CLARK              39611 SPALDING DR                                                                     STERLING HTS       MI    48313‐4871
MICHELLE CLARK              1512 PINEHURST LANE                                                                   OAKMONT            PA    15139
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Name                      Address1                         Address2                Address3        Address4             City               State Zip
MICHELLE COBAUX           RUE ARTHUR POUPLIER 42           7190 ECAUSSINNES
MICHELLE COBAUX           RUE ARTHUR POUPLIER 42                                                   7190 ECAUSSINNES
                                                                                                   BELGIUM
MICHELLE COFFELT          1162B SYCAMORE AVE                                                                            TUSTIN             CA    92780
MICHELLE COHAN            JILL SIMPSON TTEE                PO BOX 229              450 TILTON RD                        NORTHFIELD         NJ    08225
MICHELLE COLEMAN          1931 BENSON DR                                                                                DAYTON             OH    45406
MICHELLE COLLINS          PO BOX 313                                                                                    HUBBARD            OH    44425‐0313
MICHELLE COLLINS          207 CALGARY CT                                                                                FRANKLIN           TN    37067‐5691
MICHELLE COLYAR           PO BOX 235                                                                                    YOUNGSTOWN         OH    44501‐0235
MICHELLE COWLE            27131 BLANCHARD RD                                                                            DEFIANCE           OH    43512‐8985
MICHELLE CROSBY           36177 WEBER DR                                                                                STERLING HEIGHTS   MI    48310‐4647
MICHELLE D AMYX           1309 US ROUTE 68 S                                                                            XENIA              OH    45385
MICHELLE D DINARDO        450 KENDALL RD                                                                                CHURCHVILLE        NY    14428
MICHELLE D DISHMAN        1844 ONEGA PARK RD                                                                            SOMERSET           KY    42501‐5774
MICHELLE D FABRIZIO       3981 GREENMONT DR SE                                                                          WARREN             OH    44484‐2611
MICHELLE D GERLACK        235 DUDLEY RD                                                                                 ALTON              NH    03809
MICHELLE D HARRIS         1152 STILFORD AVE                                                                             PLAINFIELD         NJ    07060
MICHELLE D JACKSON        5951 JOHN R ST APT 8                                                                          DETROIT            MI    48202‐3573
MICHELLE D KAHL           719 WILLIAMS ST                                                                               JANESVILLE         WI    53545‐1648
MICHELLE D KNISLEY        57 W BEVERLY AVE                                                                              PONTIAC            MI    48340‐2617
MICHELLE D KOWALSKI       16 COTTONWOOD LN                                                                              PITTSFORD          NY    14534
MICHELLE D LEE            610 WOODLAWN AVE                                                                              YPSILANTI          MI    48198‐8029
MICHELLE D MONTGOMERY     2657 DUNSTAN DR NW                                                                            WARREN             OH    44485
MICHELLE D MURPHY         10 HIGHMANOR DRIVE #4                                                                         HENRIETTA          NY    14467‐9105
MICHELLE D PREUSSER       22 WASHINGTON AVE                                                                             NILES              OH    44446
MICHELLE D TIMMONS        137 CARRINGTON DR                                                                             ROCHESTER          NY    14626
MICHELLE D WATSON         4411 BURKHARDT AVE APT B9                                                                     DAYTON             OH    45431‐1879
MICHELLE D WHITESIDE      3101 SANSOM AVE                                                                               GADSDEN            AL    35904‐1818
MICHELLE DAMMEN           1432 SHANNON DRIVE                                                                            JANESVILLE         WI    53546‐1462
MICHELLE DAVIS            APT 57                           6530 PIPING ROCK LANE                                        INDIANAPOLIS       IN    46254‐2275
MICHELLE DAY              1588 CENTENNIAL DR                                                                            CANTON             MI    48187‐5812
MICHELLE DE PAULIS        2224 S NEW LOTHROP RD                                                                         LENNON             MI    48449‐9633
MICHELLE DEARTH           427 N JEFFERSON ST                                                                            DELPHOS            OH    45833‐1460
MICHELLE DEGENHARDT       5010 N WEST ROTAMER RD                                                                        MILTON             WI    53563‐9416
MICHELLE DENISE STRAUCH   ANDREWS STRAUCH                  IM JOHANNISTAL 18                       42119 WUPPERTAL
                                                                                                   GERMANY
MICHELLE DENZER           1469 E MCLEAN AVE                                                                             BURTON             MI    48529‐1613
MICHELLE DIXON            PO BOX 9022                                                                                   WARREN             MI    48090‐9022
MICHELLE DIXON            3004 MOON LAKE DR                                                                             WEST BLOOMFIELD    MI    48323‐1842
MICHELLE DOLBY            516 LAUREN ST                                                                                 LIBERTY            MO    64068‐4800
MICHELLE DONOGHUE         8177 VALLEYVIEW DR                                                                            CLARKSTON          MI    48348‐4040
MICHELLE DRAGOS           PO BOX 36                                                                                     BELLEVILLE         MI    48112‐0036
MICHELLE DRAKE            23561 BEVERLY ST                                                                              OAK PARK           MI    48237‐1969
MICHELLE DROCTON          4237 W 35TH ST                                                                                CLEVELAND          OH    44109‐3107
MICHELLE DUNHAM           59534 BARKLEY DR                                                                              NEW HUDSON         MI    48165‐9659
MICHELLE DUNN             PO BOX 203030                                                                                 ARLINGTON          TX    76006‐9130
MICHELLE DYE              5325 ALVA AVE NW                                                                              WARREN             OH    44483‐1213
MICHELLE EC HINSON        1129 RIVERWOOD DR                                                                             NASHVILLE          TN    37216‐2227
MICHELLE ELLSON           12209 MOSSY OAK RUN                                                                           FORT WAYNE         IN    46845‐9563
MICHELLE ENGLE            424 N WATER ST                                                                                ALBANY             IN    47320‐1129
MICHELLE ERNST            299 COURTNEYS PL                                                                              LAPEER             MI    48446‐7624
MICHELLE ESCHBORN         5140 LEDGE LN                                                                                 WILLIAMSVILLE      NY    14221‐4146
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Name                    Address1                       Address2            Address3         Address4             City                 State Zip
MICHELLE EVANS          1612 NASH RD                                                        COURTICE ON L1E2K9
                                                                                            CANADA
MICHELLE EVANS          205 JOLLY AVE                                                       WINDSOR ON N9J3T1
                                                                                            CANADA
MICHELLE F LAMBERTSON   109 NORTHWOOD DR                                                                         MATTYDALE            NY    13211‐1313
MICHELLE FABIAN         PO BOX 904                                                                               FENTON               MI    48430‐0904
MICHELLE FILIAS         46291 MEADOWVIEW DR                                                                      SHELBY TOWNSHIP      MI    48317‐4146
MICHELLE FISHER         743 BERKSHIRE RD                                                                         GROSSE POINTE PARK   MI    48230‐1817
MICHELLE FISHER         PO BOX 13075                                                                             FLINT                MI    48501‐3075
MICHELLE FISHER         3294 HANOVER CT                                                                          BAY CITY             MI    48706‐2427
MICHELLE FLYNN          7695 E SAINT JOE HWY                                                                     GRAND LEDGE          MI    48837‐9152
MICHELLE FORTE          478 BEELER DR                                                                            BEREA                OH    44017‐2445
MICHELLE FORTUNE        7467 VINTAGE LN                                                                          WEST BLOOMFIELD      MI    48322‐2858
MICHELLE FRANKS         3016CASTLE VALLEY DRIVE                                                                  BENTON               AK    72019
MICHELLE FROST          8055 BRIANS WAY                                                                          PEVELY               MO    63070‐1677
MICHELLE FULLER         PO BOX 1737                                                                              WAYCROSS             GA    31502‐1737
MICHELLE G TOLLES       4437 W COURT ST                                                                          FLINT                MI    48532‐4328
MICHELLE GARDNER        10090 PINE MEADOWS CT                                                                    GOODRICH             MI    48438‐8809
MICHELLE GARDNER        14219 MARINA DR                                                                          BELLEVILLE           MI    48111‐1041
MICHELLE GARITY         15141 RENDA DR                                                                           STERLING HEIGHTS     MI    48313‐5376
MICHELLE GERMANY        2406 N 11TH ST                                                                           KANSAS CITY          KS    66104‐5539
MICHELLE GIL            10372 E SUTTON DR                                                                        SCOTTSDALE           AZ    85260‐7293
MICHELLE GLAZIER        11154 STRATHMORE CT                                                                      GRAND BLANC          MI    48439‐9467
MICHELLE GNAGEY         2068 N HENDERSON RD                                                                      DAVISON              MI    48423‐8115
MICHELLE GOFF           8480 CRANBROOK DR                                                                        GRAND BLANC          MI    48439‐7455
MICHELLE GOLDYCH        141 SHOP CITY PLZ                                                                        SYRACUSE             NY    13206‐1943
MICHELLE GORDON         536 HEATHER KNOLL PL                                                                     FORT WAYNE           IN    46804‐6410
MICHELLE GOWARD         565 DENVER ST                                                                            LANSING              MI    48910‐3437
MICHELLE GRAY           5714 SUBURBAN CT                                                                         FLINT                MI    48505‐2645
MICHELLE GREEN          7897 STERNS RD                                                                           OTTAWA LAKE          MI    49267‐9703
MICHELLE GREER          7492 WESTWOOD DR                                                                         RIVERSIDE            CA    92504‐2726
MICHELLE GRIEWAHN       5763 N ADRIAN HWY                                                                        ADRIAN               MI    49221‐9305
MICHELLE GRIFFIN        3817 GLOUCESTER ST                                                                       FLINT                MI    48503‐7001
MICHELLE GUILLETT       9778 OAK RIDGE RD                                                                        NEW LOTHROP          MI    48460‐9784
MICHELLE HAAR           5671 HIDDEN PINES CT                                                                     WHITE LAKE           MI    48383‐1178
MICHELLE HAGER          10077 FRANCES RD                                                                         OTISVILLE            MI    48463‐9410
MICHELLE HANNA          6973 ALLEN HILL CT                                                                       CLARKSTON            MI    48348‐2801
MICHELLE HARDEN         16868 CEDAR CREEK LN                                                                     NOBLESVILLE          IN    46060‐4161
MICHELLE HARP‐ROUSER    2946 HERITAGE DRIVE                                                                      KOKOMO               IN    46901‐5958
MICHELLE HART           2216 EAST DRYDEN ROAD                                                                    METAMORA             MI    48455‐9296
MICHELLE HARTER         6601 E PRICE RD                                                                          SAINT JOHNS          MI    48879‐9188
MICHELLE HEATH          1441 SAND PIPER DR                                                                       GRAND BLANC          MI    48439‐7246
MICHELLE HICKS          20520 ANNCHESTER RD                                                                      DETROIT              MI    48219‐1462
MICHELLE HIGGINS        7133 S VOLUTSIA ST                                                                       WICHITA              KS    67216‐5067
MICHELLE HILL           7071 MANCOUR DR                                                                          GRAND BLANC          MI    48439‐7403
MICHELLE HILLS          3708 BAYVIEW DR                                                                          LANSING              MI    48911‐2038
MICHELLE HOIN           28474 ALYCEKAY ST                                                                        FARMINGTON HILLS     MI    48334‐3834
MICHELLE HOLADAY        3328 MINNEHAHA AVE, APT 3                                                                MINNEAPOLIS          MN    55406
MICHELLE HOLLIS         3203 HEATHERSTONE CT                                                                     LAKE ORION           MI    48360‐1721
MICHELLE HOWELL         PO BOX 4509                                                                              MONROE               LA    71211‐4509
MICHELLE HUBBARD        6968 E 300 S                                                                             PERU                 IN    46970‐7143
MICHELLE HUNGERMAN      6889 WOODBANK DR                                                                         BLOOMFIELD HILLS     MI    48301‐3042
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Name                      Address1                         Address2           Address3         Address4         City              State Zip
MICHELLE HUNT             1817 NW BRADFORD CT                                                                   GRAIN VALLEY       MO 64029‐7207
MICHELLE I HALL           5858 STATE ROUTE 46                                                                   CORTLAND           OH 44410‐9664
MICHELLE J BALLARD        1790 SOUTHWEST BLVD SW                                                                WARREN             OH 44485
MICHELLE J SCALERA        41 FALLWOOD TER                                                                       HILTON             NY 14458‐9195
MICHELLE JACOBS           6478 CLUB CT E                                                                        GRAND BLANC        MI 48439‐9455
MICHELLE JANISH           141 W BUELL RD                                                                        OAKLAND            MI 48363‐2303
MICHELLE JENKINS          7050 STATE ROUTE 7                                                                    KINSMAN            OH 44428‐9202
MICHELLE JOHNSON          26 CAROLE RD                                                                          NEWARK             DE 19713‐1854
MICHELLE JONES            1016 EASTFIELD RD                                                                     LANSING            MI 48917‐2346
MICHELLE JONES            28 CLARA CT NO 28                                                                     CORTLANDT MANOR    NY 10567
MICHELLE JOSSELYN         ACCT OF LAWRENCE E JOSSELYN JR   2014 CORRAL DR                                       HOUSTON            TX 77090‐2013
MICHELLE K PENEWIT        1119 WOODLAND DR                                                                      XENIA              OH 45385
MICHELLE K WHITE          426 WATERVLIET AVE                                                                    DAYTON             OH 45420‐2467
MICHELLE K WOJTYSIAK      6231 RICK ST                                                                          YPSILANTI          MI 48197‐8271
MICHELLE KAHL             719 WILLIAMS ST                                                                       JANESVILLE         WI 53545‐1648
MICHELLE KAPA             64669 LIMERICK LN                                                                     WASHINGTON TWP     MI 48095‐2534
MICHELLE KAPTUR           23732 DEMLEY DR                                                                       CLINTON TWP        MI 48035‐2919
MICHELLE KARABOYAS        23947 BRIGHTON LN                                                                     BROWNSTOWN         MI 48134‐8000
MICHELLE KAUFMAN
MICHELLE KELLAR           184 NAVAJO AVE                                                                        PONTIAC           MI   48341‐2030
MICHELLE KENNEDY          305 EUCLID AVE                                                                        GREENVILLE        OH   45331‐1317
MICHELLE KENT             13300 250TH ST                                                                        BROOTEN           MN   56316
MICHELLE KERN             8908 W GIBBS LAKE RD                                                                  EDGERTON          WI   53534‐8534
MICHELLE KIDROSKE         2649 GRAHAM RD                                                                        CULLEOKA          TN   38451‐3124
MICHELLE KIDROSKE         2549 GRAHAM RD                                                                        CULLEOKA          TN   38451‐3124
MICHELLE KILLEN           44248 PRINCETON DR                                                                    CLINTON TWP       MI   48038‐1095
MICHELLE KINCAID          957 KAYDEN LN                                                                         BALTIMORE         MD   21221‐5936
MICHELLE KIRBY            9669 WILD GINGER WAY                                                                  MIAMISBURG        OH   45342
MICHELLE KNEPEL           1501 ADAMS ST UPPR                                                                    TOLEDO            OH   43604‐2724
MICHELLE KOLATH           50354 MARGARET AVE                                                                    MACOMB            MI   48044‐6340
MICHELLE KOLONGOWSKI      20613 CHAMPAIGN ST                                                                    TAYLOR            MI   48180‐2962
MICHELLE KOTLARCHICK      10637 DANUBE AVE                                                                      GRANADA HILLS     CA   91344‐7222
MICHELLE KRAUSE           PO BOX 137                                                                            ONEIDA            IL   61467‐0137
MICHELLE KRUEGER          4621 HURDS CORNER RD                                                                  MAYVILLE          MI   48744‐9524
MICHELLE L ABNER          107 WILLIAM ST                                                                        W. CARROLLTON     OH   45449
MICHELLE L BARTLETT       643 CRESTMONT DR                                                                      RIVERSIDE         OH   45431
MICHELLE L BARTON         3613 MECCA DR                                                                         BEAVERCREEK       OH   45431
MICHELLE L BEACH          104 N PADGETT DR                                                                      MARION            NC   28752‐6463
MICHELLE L BELL           ACCT OF WILLIE EARL MOORE        233 MALLARD DR                                       BRANDON           MS   39047
MICHELLE L BLACK          3423 JEFFERY DR                                                                       FRANKLIN          OH   45005
MICHELLE L BREWER         2977 SPRING FALLS DR                                                                  DAYTON            OH   45449‐3465
MICHELLE L BROOKINS       8912 E 42ND ST APT 2                                                                  INDIANAPOLIS      IN   46226
MICHELLE L BUTLER         1010 UNION RD                                                                         XENIA             OH   45385
MICHELLE L COLLINS        51 HILLSDALE DR                                                                       FRANKLIN          OH   45005‐4566
MICHELLE L COLYAR         PO BOX 235                                                                            YOUNGSTOWN        OH   44501‐0235
MICHELLE L COPPOLA        1430 NEW BOLTON DR                                                                    PORT ORANGE       FL   32129‐5315
MICHELLE L CROSS          2080 FULS RD                                                                          FARMERSVILLE      OH   45325‐9284
MICHELLE L GREENLEE       118 BLECKLEY AVE                                                                      MYRTLE BEACH      SC   29579‐7408
MICHELLE L HALFHILL       811 MASON ST                                                                          NILES             OH   44446
MICHELLE L HALLORAN PLC   1525 JEANNNINE LAYNE                                                                  DEWITT            MI   48820
MICHELLE L HARMSEN        19 PIEDMONT ROAD                                                                      EDISON            NJ   08817‐4110
MICHELLE L KISTNER        1612 BELVO RD                                                                         MIAMISBURG        OH   45342
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Name                      Address1                       Address2            Address3         Address4         City                  State Zip
MICHELLE L LOMASON        2500 MANN RD LOT 209                                                                 CLARKSTON              MI 48346‐4254
MICHELLE L LYONS‐HARMON   475 WOODLAWN AVE                                                                     YPSILANTI              MI 48198‐5993
MICHELLE L MAYO           2250 RUGBY RD., APT #3                                                               DAYTON                 OH 45406‐‐ 30
MICHELLE L MCGAHA         817 BROADFIELD DR                                                                    NEWARK                 DE 19713‐2724
MICHELLE L MEANS          407 1/2 BRENTWOOD ST                                                                 TILTON                  IL 61833‐7522
MICHELLE L MEYER          5090 HECKATHORN RD                                                                   BROOKVILLE             OH 45309‐8381
MICHELLE L NISWONGER      11511 KEMPLE RD                                                                      BROOKVILLE             OH 45309‐9734
MICHELLE L NORTH          4820 PRESCOTT AVE.                                                                   DAYTON                 OH 45406‐2201
MICHELLE L PATE           9517 LAKESIDE DR                                                                     YPSILANTI              MI 48197‐3033
MICHELLE L PAYNE          856 GREENWOOD LN                                                                     TRENTON                OH 45067‐1076
MICHELLE L PHILLIPS       5034 WEIDNER ROAD                                                                    SPRINGBORO             OH 45066
MICHELLE L R MINNICH      364 NATALIE DR                                                                       ALLENTOWN              PA 18104
MICHELLE L RATH           27 PARISH RD                                                                         CHURCHVILLE            NY 14428‐9549
MICHELLE L REESE          3194 DEER TRAIL "D"                                                                  CORTLAND               OH 44410
MICHELLE L SCHULLER       1241 BRACEVILLE ROBINSON RD                                                          SOUTHINGTON            OH 44470
MICHELLE L SIMS           12186 SANDI LN                                                                       MEDWAY                 OH 45341
MICHELLE L SMITH          443 TRAVIS DR.                                                                       DAYTON                 OH 45431‐2256
MICHELLE L SPIER          500 PLYMOUTH AVE                                                                     SYRACUSE               NY 13211‐1243
MICHELLE L STIEF          16376 TIMERVIEW                                                                      FRASER                 MI 48036‐1657
MICHELLE L SWANGER        222 MILFORD STREET #12                                                               ROCHESTER              NY 14615‐1828
MICHELLE L TERRY          48 WARD ST                                                                           HINGHAM                MA 02043
MICHELLE L VALERIO        60 PINEHURST AVE.                                                                    DAYTON                 OH 45405
MICHELLE L WALLS          1938 TALBOT ST                                                                       TOLEDO                 OH 43613
MICHELLE L WARD           1901 BENSON DR                                                                       DAYTON                 OH 45406
MICHELLE L WELLS          2606 BELLFIELD ST                                                                    KETTERING              OH 45420
MICHELLE L WILLIAMS       314 SO. HESPERIAN                                                                    SANTA ANA              CA 92703‐3711
MICHELLE L WINFIELD       7096 STOCK ROAD                                                                      W ALEXANDRIA           OH 45381‐9554
MICHELLE L YEAGLEY        47610 FORD RD                                                                        CANTON                 MI 48187‐5414
MICHELLE LAFEAR           31598 WINTER CREEK DR                                                                CHESTERFIELD           MI 48047‐5973
MICHELLE LAKER            16147 STATE ROUTE 111                                                                CECIL                  OH 45821‐9742
MICHELLE LAMBERT          8100 PINE KNOLL DR                                                                   BRUCE TWP              MI 48065‐5306
MICHELLE LANGSTON         1979 MARTIN RD                                                                       FERNDALE               MI 48220‐2074
MICHELLE LAYLE            8315 DARLENE ST                                                                      WARREN                 MI 48093‐2883
MICHELLE LEARY            5280 N 500 E                                                                         ROANOAK                IN 45783
MICHELLE LETENDRE         5988 BARCLAY DR                                                                      BRIGHTON               MI 48116‐5218
MICHELLE LIBBEE           4411 ALBERT DR                                                                       FORT WAYNE             IN 46835‐3479
MICHELLE LOMASON          2500 MANN RD LOT 209                                                                 CLARKSTON              MI 48346‐4254
MICHELLE LOUISELL         1649 SEVERN RD                                                                       GROSSE POINTE WOODS    MI 48236‐1944
MICHELLE LUMBERT          8199 E EATON HWY                                                                     MULLIKEN               MI 48861‐9643
MICHELLE LUNA             5841 EAST RD                                                                         SAGINAW                MI 48601‐9786
MICHELLE M BARBAGALLO     183 MEDFORD RD                                                                       SYRACUSE               NY 13211‐1829
MICHELLE M BERWANGER      1258 PHILLIPS AVENUE                                                                 DAYTON                 OH 45410‐2635
MICHELLE M BLAIR          571 KARNS DR                                                                         VANDALIA               OH 45377
MICHELLE M BOSLER         5916 MAYVILLE DR.                                                                    RIVERSIDE              OH 45432‐1723
MICHELLE M CALDWELL       2121 KOEHLER AVE                                                                     DAYTON                 OH 45414
MICHELLE M DUNN           247 FLEMING RD                                                                       NEW VIENNA             OH 45159‐9586
MICHELLE M FLETCHER       106 BOSTON RD                                                                        SYRACUSE               NY 13211‐1614
MICHELLE M FOSTER         3102 SEIFERT AVE                                                                     YOUNGSTOWN             OH 44505‐4349
MICHELLE M FRALEY         8507 ELMWAY DR                                                                       DAYTON                 OH 45415
MICHELLE M FRANKLIN       75 PARKER DR                                                                         SPRINGBORO             OH 45066
MICHELLE M HOLMES         44 REMSEN                                                                            NEW BRUNSWICK          NJ 08901
MICHELLE M KING           680 DELAWARE ST APT B1                                                               DETROIT                MI 48202‐4411
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Name                                  Address1                       Address2            Address3         Address4            City              State Zip
MICHELLE M KUK                        13954 STEFFENSEN ST                                                                     GOWEN              MI 49326‐9484
MICHELLE M LOSKEY                     160 HERITAGE LN                                                                         CORTLAND           OH 44410
MICHELLE M MCLEOD                     3429 EAGLES LOFT                                                                        CORTLAND           OH 44410‐‐ 91
MICHELLE M MCMANN                     7193 MANDRAKE DR.                                                                       HUBER HEIGHTS      OH 45424
MICHELLE M NORTH                      1809 RIDGELAWN AVE                                                                      YOUNGSTOWN         OH 44509‐2115
MICHELLE M PARSONS                    12945 RAMBLER RD                                                                        DEWITT             MI 48820‐7910
MICHELLE M SIMONS                     1013 5TH ST APT 1                                                                       BAY CITY           MI 48708‐6085
MICHELLE M SMITH                      315 GRANGER AVE                                                                         NORTH LIMA         OH 44452
MICHELLE M SMITH‐ALBRITTON            186 COURT ST                                                                            PONTIAC            MI 48342‐2510
MICHELLE M TIPTON                     1430 SLEEPY HOLLOW DR                                                                   TROY               MO 63379‐2355
MICHELLE M VANNUYS                    8797 BUNNELL HILL RD                                                                    SPRINGBORO         OH 45066
MICHELLE M VORHEES                    2441 EAGLE RIDGE DR.                                                                    CENTERVILLE        OH 45459‐7907
MICHELLE M WALEN                      1359 PRIMROSE AVE                                                                       TOLEDO             OH 43612‐4025
MICHELLE MABONE                       PO BOX 2532                                                                             DETROIT            MI 48202‐0532
MICHELLE MACK                         22633 BERTRAM DR                                                                        NOVI               MI 48374‐3739
MICHELLE MACK                         1100 BOARDMAN‐CANFIELD RD      APT. #56B                                                YOUNGSTOWN         OH 44512
MICHELLE MAJACK, U.S. ENVIRONMENTAL   77 WEST JACKSON BOULEVARD                                                               CHICAGO             IL 60604‐3590
PROTECTION AGENCY, REGION 5

MICHELLE MARTIN
MICHELLE MARTLAGE                     11260 S 375 W                                                                           FAIRMOUNT          IN   46928‐9522
MICHELLE MARX                         BRESLAUER STR 9                                                     52388 NORVENICH
                                                                                                          GERMANY
MICHELLE MATEWICZ                     263 BEDLINGTON DR                                                                       ROCHESTER HILLS   MI    48307‐3520
MICHELLE MCALDUFF                     17 KINGS CT                                                                             MASHPEE           MA    02649‐3446
MICHELLE MCCALLISTER                  8830 PILGRIM                                                                            WASHINGTON        MI    48094‐2928
MICHELLE MCCOMB                       4923 NW GATEWAY APT 9                                                                   RIVERSIDE         MO    64150
MICHELLE MCCUNE                       1431 BEXLEY DR                                                                          AUSTINTOWN        OH    44515‐3835
MICHELLE MCELROY                      2304 TAFT ST                                                                            ALBANY            GA    31707‐2660
MICHELLE MCGEE                        5307 PERSIMMON TRL APT 10                                                               KANSAS CITY       MO    64129‐2916
MICHELLE MEAD                         1006 EATON GREEN DR                                                                     CHARLOTTE         MI    48813‐9381
MICHELLE MEDICO                       2203 WYNCOTE DR                                                                         WILMINGTON        DE    19808‐4954
MICHELLE MEIER                        47286 CHERRY VALLEY DR                                                                  MACOMB            MI    48044‐2834
MICHELLE MICHELINI                    45898 ROCKLEDGE DR                                                                      PLYMOUTH          MI    48170‐3560
MICHELLE MIKOLAJCZAK                  38821 WINKLER ST                                                                        HARRISON TWP      MI    48045‐6305
MICHELLE MILLER                       3849 JIM DR                                                                             BRIDGEPORT        MI    48722‐9617
MICHELLE MITCHELL                     256 CRANDALL AVE                                                                        YOUNGSTOWN        OH    44504‐1711
MICHELLE MONROE
MICHELLE MOORE                        54763 PINE ST                                                                           NEW BALTIMORE     MI    48047‐5553
MICHELLE MOORE                        2386 N 600 E                                                                            KOKOMO            IN    46901‐9328
MICHELLE MOORE‐THOMPSON               15900 W COUNTY ROAD 400 S                                                               DALEVILLE         IN    47334‐9393
MICHELLE MORELLI                      3505 KIBLER TOOT RD SW                                                                  WARREN            OH    44481‐9159
MICHELLE MORGAN                       3704 TALLY HO DR                                                                        KOKOMO            IN    46902‐4449
MICHELLE MORHOVICH                    11188 RACINE RD                                                                         WARREN            MI    48093‐6562
MICHELLE MULLENHOUR                   PO BOX 565                                                                              SPRING HILL       TN    37174‐0565
MICHELLE MUNOZ                        14845 ANGELIQUE AVE                                                                     ALLEN PARK        MI    48101‐1844
MICHELLE MURPHY                       967 ASHTON WOODS DR                                                                     CANTON            MI    48187‐4459
MICHELLE MURPHY                       8100 DRIVE ROUND CIRCLE                                                                 GERMANTOWN        OH    45327
MICHELLE MUSE                         2205 YAGER CREEK DR APT L                                                               CHARLOTTE         NC    28273‐6336
MICHELLE N BIRCHETT                   5900 BRIDGE RD APT 211                                                                  YPSILANTI         MI    48197‐7009
MICHELLE N BOLEN                      10425 TARA DR                                                                           RIVERVIEW         FL    33578‐8832
MICHELLE N ENGLISH                    1711 NEWTON AVE                                                                         DAYTON            OH    45406
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Name                   Address1                       Address2            Address3         Address4         City              State Zip
MICHELLE N FAGNER      5606 SOUTH PEORIA PLACE #D                                                           TULSA              OK 74105‐8526
MICHELLE N MATHIEU     3426 CALUMET RD                                                                      LUDLOW FALLS       OH 45339‐9702
MICHELLE N TITUS       814 ILLINOIS AVE                                                                     MC DONALD          OH 44437‐1616
MICHELLE NAGY          208 CAMBRIDGE DR                                                                     AURORA             OH 44202‐8454
MICHELLE NASSAR        4000 WATERLAND DR                                                                    METAMORA           MI 48455‐9610
MICHELLE NELSON        800 TRENTON RD APT 487                                                               LANGHORNE          PA 19047‐5663
MICHELLE NIGRIN        292 WHITE TAIL RUN                                                                   CORTLAND           OH 44410‐2610
MICHELLE NORWOOD       5258 SAFFRON DR                                                                      TROY               MI 48085‐6705
MICHELLE O'HERRON      8825 HYNE RD                                                                         BRIGHTON           MI 48114‐4955
MICHELLE OSTROWSKI     9296 SHERWOOD DR                                                                     DAVISBURG          MI 48350‐1949
MICHELLE P JENKINS     7050 STATE ROUTE 7                                                                   KINSMAN            OH 44428
MICHELLE PARRINELLO    49618 DECKER DR                                                                      SHELBY TOWNSHIP    MI 48317‐1839
MICHELLE PARSONS       12945 RAMBLER RD                                                                     DEWITT             MI 48820‐7910
MICHELLE PATTERSON     PO BOX 1523                                                                          SAGINAW            MI 48605‐1523
MICHELLE PENFIELD      7781 W GRAND RIVER L 224                                                             GRAND LEDGE        MI 48837
MICHELLE PEREZ         1025 WASHINGTON AVE                                                                  DEFIANCE           OH 43512‐2822
MICHELLE PICKERING     1865 S BATES ST                                                                      BIRMINGHAM         MI 48009‐1978
MICHELLE PILON         613 MILL CREEK CT                                                                    CLIO               MI 48420‐2019
MICHELLE POWERS        507 BLUEBIRD TRL                                                                     ORTONVILLE         MI 48462‐8481
MICHELLE PRUITT        12715 SUNRISE CT                                                                     WAYLAND            MI 49348‐9201
MICHELLE R AGER        5534 N M66                                                                           CHARLEVOIX         MI 49720
MICHELLE R BEIGHLEY    206 W BOITNOTT DR                                                                    UNION              OH 45322
MICHELLE R BLAIR       10383 BROOKS‐CARROLL RD                                                              WAYNESVILLE        OH 45068‐8663
MICHELLE R BRYANT      941 HURON AVE.                                                                       DAYTON             OH 45407‐1327
MICHELLE R BUSH        4718 PRESCOTT AVE                                                                    DAYTON             OH 45406‐2442
MICHELLE R CARPENTER   5534 N M66                                                                           CHARLEVOIX         MI 49720
MICHELLE R DEARTH      427 N JEFFERSON ST                                                                   DELPHOS            OH 45833‐1460
MICHELLE R DRAPER      54 CHARLES ST                                                                        FRANKLIN           OH 45005‐1771
MICHELLE R GRIFFITH    146 S PHILADELPHIA ST 148                                                            DAYTON             OH 45403
MICHELLE R HARVEY      637 THIRD                                                                            WARREN             OH 44483‐6421
MICHELLE R HICKMAN     1315 JOHN GLENN RD.                                                                  DAYTON             OH 45410‐3006
MICHELLE R HOLLIGAN    1499 WESTBURY DR                                                                     DAVISON            MI 48423‐8350
MICHELLE R HORST       108 ELIZABETH ST                                                                     GADSDEN            AL 35901
MICHELLE R ISHMAN      641 BROOKLYN AVE                                                                     DAYTON             OH 45407
MICHELLE R JUDSON      334 CAMERON STATION BLVD                                                             ALEXANDRIA         VA 22304
MICHELLE R KELLAR      184 NAVAJO AVE                                                                       PONTIAC            MI 48341‐2030
MICHELLE R KIDROSKE    2549 GRAHAM RD                                                                       CULLEOKA           TN 38451‐3124
MICHELLE R LANOS       708 BURMAN AVE.                                                                      TROTWOOD           OH 45426
MICHELLE R MAYER       3964 ALEESA DR SE                                                                    WARREN             OH 44484‐2912
MICHELLE R MAYS        5139 WELLFLEET DR                                                                    TROTWOOD           OH 45426
MICHELLE R MILLER      1565 EDGEWOOD ST NE                                                                  WARREN             OH 44483‐4123
MICHELLE R NOBLE       771 PAULA ST                                                                         VANDALIA           OH 45377
MICHELLE R NORMAN      2121 ARTHUR AVE.                                                                     DAYTON             OH 45414
MICHELLE R ROSE        1600 BAUER AVE                                                                       DAYTON             OH 45420
MICHELLE R SHARP       345 TAMARACK TRL                                                                     SPRINGBORO         OH 45066
MICHELLE R SYLVESTER   2913 ECKLEY BLVD                                                                     DAYTON             OH 45449
MICHELLE R SYLVESTER   2599 FLOWERSTONE DR                                                                  DAYTON             OH 45449‐3212
MICHELLE R TODD        484 CLINE AVE                                                                        MANSFIELD          OH 44907‐1024
MICHELLE R WOOLCOTT    40275 PLYMOUTH RD APT 203                                                            PLYMOUTH           MI 48170‐4215
MICHELLE RADCLIFFE     105 JUNIPER CT                                                                       WILLIAMSBURG       VA 23185
MICHELLE RAO           32200 ARLINGTON DR                                                                   BEVERLY HILLS      MI 48025‐4216
MICHELLE RATH          27 PARISH RD                                                                         CHURCHVILLE        NY 14428‐9549
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Name                               Address1                       Address2              Address3              Address4            City                 State Zip
MICHELLE RHODES                    26300 HARMON ST                                                                                SAINT CLAIR SHORES    MI 48081‐3356
MICHELLE RIMKUS                    6261 ACADEMY DR                                                                                WASHINGTON            MI 48094‐1235
MICHELLE RIPPLE                    136 STEWART ST                                                                                 HUBBARD               OH 44425‐1719
MICHELLE RISTER                    882 JAMESTOWN AVE                                                                              ELYRIA                OH 44035‐1812
MICHELLE ROBINSON                  1138 NUTANA BLVD                                                                               MOUNT MORRIS          MI 48458‐2134
MICHELLE RODAMAKER                 918 MOLLOY DR                                                                                  O FALLON              MO 63366‐3229
MICHELLE ROYAL                     46376 HULL RD                                                                                  BELLEVILLE            MI 48111‐3535
MICHELLE RYAN                      53 RIVER LANE                                                                                  LEVITTOWN             PA 19055
MICHELLE S PARINA                  75 DEBBY LN                                                                                    ROCHESTER             NY 14606‐5340
MICHELLE S SNYDER‐COLEMAN          5021 MOSIMAN RD                                                                                MIDDLETOWN            OH 45042
MICHELLE SALAZAR                   9200 WINDSOR HWY                                                                               DIMONDALE             MI 48821‐9785
MICHELLE SANDERS                   439 BURLEIGH AVE                                                                               DAYTON                OH 45417
MICHELLE SCHEER                    82 BANK ST APT 3                                                                               NEW YORK              NY 10014‐5926
MICHELLE SCHMITT                   BLUMENSTR. 5                                                               DURMERSHEIM 76448
                                                                                                              GERMANY
MICHELLE SCOTT                     1001 PRIMROSE DR                                                                               WEST CARROLLTON      OH   45449‐2028
MICHELLE SCOTT                     1127 N FROST DR                                                                                SAGINAW              MI   48638‐5454
MICHELLE SEVERNS                   2693 TOZER RD                                                                                  NORTH BRANCH         MI   48461‐9342
MICHELLE SHAFFER                   5676 BURRELL                                                                                   WEST BLOOMFIELD      MI   48322‐1223
MICHELLE SHAPURAS                  9422 US HIGHWAY 50 W                                                                           MITCHELL             IN   47446‐5449
MICHELLE SHAW                      4794 SHADETREE CT                                                          WINDSOR ON N9G2T9
                                                                                                              CANADA
MICHELLE SIEVERDING                3503 EVANSVILLE AVE                                                                            DAYTON               OH   45406‐‐ 15
MICHELLE SILVA                     2305 HICKORY HOLW                                                                              BURTON               MI   48519‐1367
MICHELLE SIMON                     6285 MUIRFIELD DR                                                                              TEMPERANCE           MI   48182‐9682
MICHELLE SIMON                     1217 N LINCOLN AVE                                                                             MOORE                OK   73160‐6837
MICHELLE SIMONIS                   5663 MAYVILLE RD                                                                               MARLETTE             MI   48453‐9702
MICHELLE SMART                     104 RUTH ROAD                                                                                  BLOOMINGTON          IL   61701‐4350
MICHELLE SMITH                     57 N 600 W                                                                                     ANDERSON             IN   46011‐8744
MICHELLE SMITH‐ALBRITTON           186 COURT ST                                                                                   PONTIAC              MI   48342‐2510
MICHELLE SOTHERLAND                27 ANDREW CT                                                                                   WEST SALEM           OH   44287‐9763
MICHELLE SOUTHERN                  3601 WESTMINISTER CT                                                                           HOLIDAY              FL   34691‐3647
MICHELLE SPALDING                  3493 S ELMS RD                                                                                 SWARTZ CREEK         MI   48473‐7913
MICHELLE SPENCER                   10336 WALNUT SHORES DR                                                                         FENTON               MI   48430‐2433
MICHELLE SPURGEON                  2367 E DAVISBURG RD                                                                            HOLLY                MI   48442‐8560
MICHELLE STARGELL                  6691 LISTER FERRY RD                                                                           RAINBOW CITY         AL   35906‐9308
MICHELLE STEPHENS                  24313 THORN DR                                                                                 BROWNSTOWN           MI   48134‐6037
MICHELLE STEVENSON                 218 LEEDOM AVE                                                                                 WEST BRISTOL         PA   19007‐3003
MICHELLE STONEBURN                 26 W 10 ST                                                                                     NEW YORK CITY        NY   10011
MICHELLE STOUTERMIRE               3686 DEER SPRINGS DR                                                                           ROCHESTER            MI   48306‐4752
MICHELLE SULLIVAN
MICHELLE SUZANNE GOLDSWORTHY       ACCT OF DAVID A GOLDSWORTHY
MICHELLE SWEENEY                   11474 LEVERNE                                                                                  REDFORD              MI   48239‐2200
MICHELLE SYLVESTER                 2599 FLOWERSTONE DR                                                                            DAYTON               OH   45449‐3212
MICHELLE SZABO                     20300 ANITA ST                                                                                 CLINTON TOWNSHIP     MI   48036‐1802
MICHELLE SZOLDATITS                21 WEST SECOND ST                                                                              HINSDALE             IL   60521
MICHELLE T CATES                   4066 RYMARK COURT                                                                              DAYTON               OH   45415
MICHELLE TALBOT PERSONAL           MICHELLE TALBOT                C/O BRAYTON PURCELL   222 RUSH LANDING RD                       NOVATO               CA   94948‐6169
REPRESENTATIVE FOR THOMAS LAMANTEA

MICHELLE TAYLOR                    779 APOPKA ST                                                                                  WATERFORD            MI 48327‐4345
MICHELLE TEAGUE                    7473 N MAYNE RD                                                                                ROANOKE              IN 46783‐9165
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Name                              Address1                           Address2                     Address3   Address4             City                 State Zip
MICHELLE TELLO                    PO BOX 689                                                                                      NILAND                CA 92257
MICHELLE THOMAS                   27913 JOAN ST                                                                                   SAINT CLAIR SHORES    MI 48081‐3612
MICHELLE THOMAS                   21101 KENOSHA ST                                                                                OAK PARK              MI 48237‐3814
MICHELLE THORNWELL                2705 MAPLE ST                                                                                   PORT HURON            MI 48060‐2856
MICHELLE TIPTON                   1430 SLEEPY HOLLOW DR                                                                           TROY                  MO 63379‐2355
MICHELLE TODD                     484 CLINE AVE                                                                                   MANSFIELD             OH 44907‐1024
MICHELLE TOLES                    7519 GATHINGS DR                                                                                FORT WAYNE            IN 46816‐2755
MICHELLE TOMASON                  333 DEVONSHIRE ST                                                                               YPSILANTI             MI 48198‐7817
MICHELLE TRAPPE                   3237 ROYAL RD                                                                                   JANESVILLE            WI 53546‐2217
MICHELLE TRICE                    11084 PRESTWICK DR                                                                              LANSING               MI 48917‐8884
MICHELLE TRUDEAU                  907 PEACH BLOSSOM CT                                                                            ROCHESTER HILLS       MI 48306‐3346
MICHELLE TURNER                   1429 LINCOLN DR                                                                                 FLINT                 MI 48503‐3555
MICHELLE TURNER                   518 N SIXTH STREET                                                                              CLAIRTON              PA 15025
MICHELLE V SIMMONS                96 RUGBY AVE.                                                                                   ROCHESTER             NY 14619‐1136
MICHELLE VALENTINE                6115 ORCHARD LAKE RD APT 103                                                                    WEST BLOOMFIELD       MI 48322‐2310
MICHELLE VALERIO                  60 PINEHURST AVE                                                                                DAYTON                OH 45405‐3025
MICHELLE VAN OVERBEKE             42635 KINGSLEY DR                                                                               CLINTON TWP           MI 48038‐1680
MICHELLE VILLASIN                 30 GERALD AVE                                                                                   CLAWSON               MI 48017‐1932
MICHELLE VOORHEES                 3575 N STEWART RD                                                                               CHARLOTTE             MI 48813‐8710
MICHELLE W WILLOCKX               22 E CORNELL AVE                                                                                PONTIAC               MI 48340‐2628
MICHELLE WARREN                   32 RENWICK DR                                                                                   CROSSVILLE            TN 38558‐2840
MICHELLE WARREN                   PO BOX 220782                                                                                   SAINT LOUIS           MO 63122‐0782
MICHELLE WEST                     6110 PINE CREEK XING                                                                            GRAND BLANC           MI 48439‐9730
MICHELLE WHIKEHART                3321 SEATON CT                                                                                  FLOWER MOUND          TX 75028‐2652
MICHELLE WHITE                    2507 STOP 8 RD                                                                                  DAYTON                OH 45414‐2911
MICHELLE WHITT                    9906 WOODLAND CT                                                                                YPSILANTI             MI 48197‐9437
MICHELLE WILHITE                  2197 S TERM ST                                                                                  BURTON                MI 48519‐1077
MICHELLE WILLIAMS                 5377 MERTZ RD                                                                                   MAYVILLE              MI 48744‐9684
MICHELLE WILLIAMS                 15725 AUBURN ST                                                                                 DETROIT               MI 48223‐1216
MICHELLE WILLIAMS                 42308 FOUNTAIN PARK DR S APT 245                                                                NOVI                  MI 48375‐2550
MICHELLE WILLIAMS                 5051 VILLA LINDE PKWY STE 23                                                                    FLINT                 MI 48532‐3449
MICHELLE WILLIS                   227 HOLIDAY CR,LARCHMONT ESTATES                                                                SAVANNAH              GA 31419
MICHELLE WILTZ
MICHELLE WINLARSKI                BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                   BOSTON HTS           OH   44236
MICHELLE WOJEK                    11126 FULLER ST                                                                                 GRAND BLANC          MI   48439‐1037
MICHELLE WOOD                     3417 PARK MEADOW DR                                                                             LAKE ORION           MI   48362‐2072
MICHELLE WOODARD                  105 N SCOUGLE ST                                                                                DURAND               MI   48429‐1131
MICHELLE WOZNIAK                  406 E MURPHY ST                                                                                 BAY CITY             MI   48706‐3978
MICHELLE Y CALHOUN                1917 MARY CATHERINE ST                                                                          YPSILANTI            MI   48198‐6246
MICHELLE Y SHEWMAKER              691 SEWARD ST APT D2                                                                            DETROIT              MI   48202‐2471
MICHELLE Y SPRINGER               5905 PHILADELPHIA DR                                                                            DAYTON               OH   45415‐3051
MICHELLE YE                       604 DELAWARE AVE                                                           WINDSOR ON N9J3J8
                                                                                                             CANADA
MICHELLE YEAGLEY                  47610 FORD RD                                                                                   CANTON               MI 48187‐5414
MICHELLE ZIRBEL                   6050 LONG POINT DR                                                                              DAVISBURG            MI 48350‐3529
MICHELLI, DAVID W                 7584 MAPLE VALLEY RD                                                                            BROWN CITY           MI 48416‐8664
MICHELLI, EUGENE J
MICHELLI, G T CO INC              4711 VIKING DR                                                                                  BOSSIER CITY         LA   71111‐7420
MICHELLI, GT CO INC               130 BROOKHOLLOW                    ESPLANADE                                                    HARAHAN              LA   70123
MICHELLI, SIDONIA C               LEONARD MELINDA                    3022 RAY WEILAND DR                                          BAKER                LA   70714‐3252
MICHELMANN, BETTY J               558 SHERMAN AVE                                                                                 NILES                OH   44446‐1460
MICHELOB ULTRA OPEN AT KINGSMIL   1010 KINGSMILL RD                                                                               WILLIAMSBURG         VA   23185‐5576
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Name                                     Address1                                Address2                        Address3         Address4         City                State Zip
MICHELON, ERSELIA                        11275 N PEARSON RD                                                                                        SHELBY TOWNSHIP      MI 48315‐6314
MICHELON, MICHAEL L                      680 BLISS DR                                                                                              ROCHESTER HILLS      MI 48307‐3597
MICHELON, WILLIAM P                      140 S GRANT ST                                                                                            WESTMONT              IL 60559‐1908
MICHELS CORPORATION                      KEVIN MICHELS                           817 W MAIN ST                                                     BROWNSVILLE          WI 53006‐1439
MICHELS EARL W SR (ESTATE OF) (662543)   KELLEY & FERRARO LLP                    1300 EAST NINTH STREET , 1901                                     CLEVELAND            OH 44114
                                                                                 BOND COURT BUILDING
MICHELS KENNETH J (626658)               GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510
                                                                                 STREET, SUITE 600
MICHELS, BARRY N                         1789 HURON CT                                                                                             OXFORD              MI   48371‐6094
MICHELS, CHARLES V                       636 FERNDALE AVE NW                                                                                       GRAND RAPIDS        MI   49534‐3532
MICHELS, DALE R                          4200 BANDURY DR                                                                                           LAKE ORION          MI   48359‐1860
MICHELS, DANIEL P                        881 ZEHNDER DR                                                                                            FRANKENMUTH         MI   48734‐1017
MICHELS, DANIEL PETER                    881 ZEHNDER DR                                                                                            FRANKENMUTH         MI   48734‐1017
MICHELS, DELORES A                       6225 W KINNICKINNIC RIVER PY                                                                              MILWAUKEE           WI   53219
MICHELS, EARL W                          KELLEY & FERRARO LLP                    1300 EAST NINTH STREET, 1901                                      CLEVELAND           OH   44114
                                                                                 BOND COURT BUILDING
MICHELS, ELEANOR M                       2487 S PONTE VEDRA BLVD                                                                                   PONTE VEDRA BEACH   FL   32082‐4521
MICHELS, GREGORY J                       5410 SHABBONA RD                                                                                          DEFORD              MI   48729‐9707
MICHELS, GWEN W                          200 S SWEET GUM PL                                                                                        BROKEN ARROW        OK   74012‐4587
MICHELS, HERBERT J                       387 CARMEN RD APT 2                                                                                       AMHERST             NY   14226‐1305
MICHELS, JACKIE L                        3237 LANSING ST                                                                                           HARRISON            MI   48625‐9183
MICHELS, JAMES A                         1315 CRESCENT DR                                                                                          DERBY               NY   14047‐9571
MICHELS, JAMES E                         3117 OLD FARM RD                                                                                          FLINT               MI   48507‐1250
MICHELS, JOSEPH H                        5906 LOCHLEVEN DR                                                                                         WATERFORD           MI   48327‐1843
MICHELS, JUDY E                          741 SAINT ANDREWS LANE                                                                                    KELLER              TX   76248‐8235
MICHELS, KENNETH J                       GLASSER AND GLASSER                     CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA   23510‐2212
                                                                                 STREET, SUITE 600
MICHELS, KENNETH L                       871 MEMORIAL DR                                                                                           BREESE              IL   62230
MICHELS, MARY                            335 HAMMOND DR NE APT 709                                                                                 ATLANTA             GA   30328‐5006
MICHELS, MICHELE A                       303 SMITH ST APT 219                                                                                      CLIO                MI   48420‐1355
MICHELS, NICHOLAS E                      27854 EASTWICK SQ                                                                                         ROSEVILLE           MI   48066‐4811
MICHELS, NICHOLAS M                      18513 MORNINGSIDE AVE                                                                                     EASTPOINTE          MI   48021‐2779
MICHELS, PATSY G                         10275 OLD SAINT AUGUSTINE RD APT 1202                                                                     JACKSONVILLE        FL   32257‐7674

MICHELS, RICHARD E                       11360 BAYBERRY DR                                                                                         BRUCE TWP           MI   48065‐3741
MICHELS, RICHARD E.                      11360 BAYBERRY DR                                                                                         BRUCE TWP           MI   48065‐3741
MICHELS, RICHARD J                       11475 MARTIN RD                                                                                           WARREN              MI   48093‐4409
MICHELS, ROBERT R                        5845 BLUEBONNETT DR                                                                                       BOSSIER CITY        LA   71112‐4971
MICHELS, ROBERT RENE'                    5845 BLUEBONNETT DR                                                                                       BOSSIER CITY        LA   71112‐4971
MICHELS, ROSE M                          2574 EMOGENE ST                                                                                           MELVINDALE          MI   48122‐1925
MICHELS, ROSE M                          2574 EMOGENE                                                                                              MELVINDALE          MI   48122‐1925
MICHELS, SHIRLEY                         27513 BRIAR LN                                                                                            MILLSBORO           DE   19966‐4585
MICHELS, TERRY L                         867 MOSS GLEN CIR                                                                                         HASLETT             MI   48840‐9715
MICHELS, TERRY L                         22300 HOMESTEAD ST                                                                                        TAYLOR              MI   48180‐3683
MICHELS, THOMAS C                        2006 SLOAN ST                                                                                             FLINT               MI   48504‐4017
MICHELS, WALTER H                        PO BOX 272                                                                                                DERBY               NY   14047‐0272
MICHELS, WALTER J                        4661 CHAPMAN PKWY                                                                                         HAMBURG             NY   14075‐3110
MICHELS,JOSEPH H                         5906 LOCHLEVEN DR                                                                                         WATERFORD           MI   48327‐1843
MICHELSEN, BRENT R                       7797 OAK HILL RD                                                                                          CLARKSTON           MI   48348‐1221
MICHELSON LIVING TRUST                   C/O RICHARD L MICHELSON                 IRENE A MICHELSON, TTEES        1654 COYOTE RD                    PRESCOTT            AZ   86303‐5339
MICHELSON LIVING TRUST                   UAD 06/23/08                            RICHARD MICHELSON & IRENE A     1654 COYOTE RD                    PRESCOTT            AZ   86303‐5339
                                                                                 MICHELSON TTEES
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Name                             Address1                          Address2                          Address3                      Address4         City              State Zip
MICHELSON, BETH A                4368 TIFFTON DR                                                                                                    SAGINAW            MI 48603‐2070
MICHELSON, DENNIS E              2371 PINEVIEW CT                                                                                                   FLUSHING           MI 48433‐2500
MICHELSON, GEORGE E              799 N FORCE RD                                                                                                     ATTICA             MI 48412‐9731
MICHELSON, GEORGE N              4368 TIFFTON DR                                                                                                    SAGINAW            MI 48603‐2070
MICHELSON, HAROLD E              225 RALEIGH PL                                                                                                     LENNON             MI 48449‐9604
MICHELSON, HENRY E               506 APPLEWOOD DR                                                                                                   LOCKPORT           NY 14094‐9154
MICHELSON, KAROL M               2371 PINEVIEW CT                                                                                                   FLUSHING           MI 48433‐2500
MICHELSON, KAROL MARIE           2371 PINEVIEW CT                                                                                                   FLUSHING           MI 48433‐2500
MICHELSON, NICKOLATA S           241 RAYMOND DR                                                                                                     HUBBARD            OH 44425‐1277
MICHELSON, NICKOLATA S           241 RAYMOND DR.                                                                                                    HUBBARD            OH 44425‐1277
MICHELUTTI, ROBERT E             1251 WINELEAF LN                                                                                                   DEWITT             MI 48820‐7798
MICHENER VALERIE                 URBAN, DORIS                      KIMMEL & SILVERMAN PC             30 EAST BUTLER PIKE , SUITE                    AMBLER             PA 19002
                                                                                                     310
MICHENER VALERIE                 MICHENER, VALERIE                 30 EAST BUTLER PIKE , SUITE 310                                                  AMBLER            PA   19002
MICHENER, JEAN H                 5 CAMPANA PL                                                                                                       HOT SPRINGS       AR   71909‐5125
MICHENER, NANCY L                206 EVERGREEN RD                                                                                                   FLINT             MI   48506‐5312
MICHENER, VALERIE                KIMMEL & SILVERMAN PC             30 EAST BUTLER PIKE, SUITE 310                                                   AMBLER            PA   19002
MICHETTI, EDITH C                4445 MISSION BELL DR                                                                                               BOYNTON BEACH     FL   33436‐2629
MICHETTI, JAMES                  1413 ROBERTSON RD                                                                                                  LYNNVILLE         TN   38472‐5130
MICHETTI, ROBERT P               25216 PLEASANT CREEK DR                                                                                            BROWNSTOWN        MI   48134‐1174
MICHEWICZ, LINDA L               2965 QUARRY RD                                                                                                     PORT AUSTIN       MI   48467‐9352
MICHIANA AUTO PROS               11672 MCKINLEY HWY                                                                                                 OSCEOLA           IN   46561‐9507
MICHIANA DELIVERY SERVICES       2220 S 11TH ST                                                                                                     NILES             MI   49120‐4410
MICHIANA TRUCK CENTER            3610 DEAHL CT                                                                                                      SOUTH BEND        IN   46628‐9771
MICHIE HARRY H (429455)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA   23510
                                                                   STREET, SUITE 600
MICHIE JR, KENNETH G             52874 TURNBERRY DR                                                                                                 CHESTERFIELD      MI 48051‐3656
MICHIE, ALLAN J                  1366 CHARLESTON LN                                                                                                 COLUMBIA          TN 38401‐7344
MICHIE, HARRY H                  GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                      NORFOLK           VA 23510‐2212
                                                                   STREET, SUITE 600
MICHIE, KENNETH G                56796 SAINT JAMES DR                                                                                               SHELBY TOWNSHIP   MI   48316‐4846
MICHIE, MARC R                   4497 RAYMOND AVE                                                                                                   DEARBORN HTS      MI   48125‐3333
MICHIE/BOX 7587                  PO BOX 7587                                                                                                        CHARLOTTESVILLE   VA   22906‐7587
MICHIELLI, NICHOLAS R            330 N OAKLAND AVE                                                                                                  RUNNEMEDE         NJ   08078‐1328
MICHIELSON, ANN                  55310 DELONG RD                                                                                                    MARCELLUS         MI   49067‐9369
MICHIELSON, BRUCE A              55310 DELONG RD                                                                                                    MARCELLUS         MI   49067‐9369
MICHIELUTTI, RONALD E            23078 FIRWOOD AVE                                                                                                  EASTPOINTE        MI   48021
MICHIELUTTI, RONALD E            23078 FIRWOOD                                                                                                      EAST POINT        MI   48021
MICHIGAN ACADEMY OF EMERGENCY    17612 COMMERCE DR STE 100                                                                                          NEW BOSTON        MI   48164‐8305
SERVICES
MICHIGAN AEROSPACE FOUNDATION    MR. DENNIS NORTON, PRESIDENT      PO BOX 8282                                                                      ANN ARBOR         MI 48107‐8282
MICHIGAN AFFILIATED HEALTHCARE   DBA MICH CAPITAL M                401 W GREENLAWN AVE                                                              LANSING           MI 48910‐2819
SYSTEMS INC
MICHIGAN AIR PRODUCTS            5265 N MICHIGAN STE B                                                                                              SAGINAW           MI   48604
MICHIGAN AIR PRODUCTS            ATTN STEPHEN J MOLLISON           PO BOX 1155                                                                      TROY              MI   48099
MICHIGAN AIR PRODUCTS CO         3831 LINDEN AVE SE                                                                                                 GRAND RAPIDS      MI   49548‐3429
MICHIGAN AIR PRODUCTS CO         1185 EQUITY DR                    PO BOX 1155                                                                      TROY              MI   48084‐7108
MICHIGAN AMVET                   PO BOX 254                                                                                                         DRYDEN            MI   48428‐0254
MICHIGAN ANTI‐CRUELTY SOCIETY    13569 JOSEPH CAMPAU ST                                                                                             DETROIT           MI   48212‐1648
MICHIGAN ARC PRODUCTS            2040 AUSTIN DR                                                                                                     TROY              MI   48083‐2209
MICHIGAN ARC PRODUCTS INC        2040 AUSTIN DR                                                                                                     TROY              MI   48083‐2209
MICHIGAN ASCIA CONFERENCE        714 S HARRISON RD                                                                                                  EAST LANSING      MI   48823‐5143
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Name                                Address1                             Address2                      Address3                 Address4         City               State Zip
MICHIGAN ASSOCIATION FOR DEAF       2929 COVINGTON CT STE 20                                                                                     LANSING             MI 48912
MICHIGAN ASSOCIATION FOR DEAF HEARI 2929 COVINGTON CT STE 20                                                                                     LANSING             MI 48912

MICHIGAN ASSOCIATION OF              CONSERVATION DISTRICTS              3001 COOLIDGE RD STE 25                                                 EAST LANSING       MI 48823
MICHIGAN ASSOCIATION OF              ALCOHOL DRUG ABUSE COUNSELORS       7755 RIDGE ROAD SUITE 200                                               CANTON             MI 48187
MICHIGAN ASSOCIATION OF CHIEFSOF     2133 UNIVERSITY PARK DR STE 200                                                                             OKEMOS             MI 48864‐5909
POLICE
MICHIGAN ASSOCIATION OF CPAS         ACCOUNTS RECEIVABLE DEPT            5480 CORPORATE DR STE 200                                               TROY               MI 48098‐2642
MICHIGAN ASSOCIATION OF CPAS         28116 ORCHARD LAKE RD               P O BOX 9054                                                            FARMINGTON HILLS   MI 48334‐3737
MICHIGAN ASSOCIATION OF PRIVATE      ATTN WAYNE PURCHASE                 16043 RODRICK ST                                                        GRAND HAVEN        MI 49417‐9418
CAMPGROUND OWNERS (MAPCO)
MICHIGAN ASSOCIATION OF UNITEDWAYS   1627 LAKE LANSING RD STE B                                                                                  LANSING            MI 48912‐3788

MICHIGAN AUTOMOTIVE COMPRESSOR       2400 N DEARING RD                                                                                           PARMA              MI 49269‐9415

MICHIGAN AUTOMOTIVE COMPRESSOR       DAVE WILSON                         DENSO CORPORATION             2400 N. DEERING ROAD                      STERLING HEIGHTS   MI 48078

MICHIGAN AUTOMOTIVE COMPRESSOR       2400 N DEARING RD                                                                                           PARMA              MI 49269‐9415
INC
MICHIGAN AUTOMOTIVE COMPRESSOR       7699 W BERT KOUNS INDUSTRIAL LOOP                                                                           SHREVEPORT         LA    71129‐4724
INC
MICHIGAN AUTOMOTIVE COMPRESSOR       C/O HOLLY SWANSON ESQ               DENSO INTERNATIONAL AMERICA   24777 DENSO DRIVE                         SOUTHFIELD         MI 48086
INC                                                                      INC
MICHIGAN AUTOMOTIVE OF INDIANA INC   JONES WALLACE LLC                   ATTN PAUL J WALLACE           420 MAIN ST SUITE 1600                    EVANSVILLE          IN   47708

MICHIGAN AUTOMOTIVE OF INDIANA, INC. RONALD ROMAIN                       24730 HAGGERTY RD                                                       FARMINGTON HILLS   MI 48335‐1540

MICHIGAN AVENUE PARTY HALL           408 DEARBORN ST                                                                                             SAGINAW            MI    48602‐1304
MICHIGAN BAR REVIEW                  PO BOX 381                                                                                                  FARMINGTON         MI    48332‐0381
MICHIGAN BATTERY EQUIPMENT           2612 LAVELLE RD                                                                                             FLINT              MI    48504‐2361
MICHIGAN BATTERY EQUIPMENT           PO BOX 310407                                                                                               FLINT              MI    48531‐0407
MICHIGAN BATTERY EQUIPMENT CO        2612 LAVELLE RD                     PO BOX 310407                                                           FLINT              MI    48504‐2361
MICHIGAN BEHAVIORAL                  61 COMMERCE AVE SW                                                                                          GRAND RAPIDS       MI    49503‐4124
MICHIGAN BELL                        ACCT OF LARRY G BONDS
MICHIGAN BELL TELEPHONE CO           ACCT OF MUFID ABU‐ZAHRA
MICHIGAN BELL TELEPHONE CO           ACCT OF WILLIAM MCCONNELL
MICHIGAN BELL TELEPHONE CO
MICHIGAN BELL TELEPHONE COMPANY      1365 CASS AVENUE                                                                                            DETROIT            MI    48226
MICHIGAN BELL TELEPHONE COMPANY      1565 CASS AVENUE                                                                                            DETROIT            MI    48226
MICHIGAN BELL TELEPHONE COMPANY      441 MICHIGAN AVENUE                                                                                         DETROIT            MI    48226
MICHIGAN BELL TELEPHONE COMPANY      54 N MILL ST                        SBC AMERITECH MICHIGAN                                                  PONTIAC            MI    48342‐2213
MICHIGAN BELL TELEPHONE COMPANY      444 MICHIGAN AVE                                                                                            DETROIT            MI    48226‐2517
MICHIGAN BOATING INDUSTRIES          32398 5 MILE RD                                                                                             LIVONIA            MI    48154‐6109
ASSOCIATION
MICHIGAN BOX COMPANY                 1910 TROMBLY ST                                                                                             DETROIT            MI    48211‐2130
MICHIGAN BOX COMPANY                 1962 TROMBLY ST                                                                                             DETROIT            MI    48211‐2130
MICHIGAN BRUSH MFG CO                7411 CENTRAL ST                                                                                             DETROIT            MI    48210‐1097
MICHIGAN BRUSH MFG CO INC            7411 CENTRAL ST                                                                                             DETROIT            MI    48210‐1036
MICHIGAN BUSINESS REVIEW             155 MICHIGAN ST NW                                                                                          GRAND RAPIDS       MI    49503‐2302
MICHIGAN CAPITAL AREA ASSOC OF       7791 E SAGINAW HWY                  DIANA D KEENAN                                                          LANSING            MI    48917‐9711
OCCUPATIONAL NURSES
MICHIGAN CARDIOLOGY                  ATTN: WILFREDO RIVERA               1386 S LINDEN RD                                                        FLINT              MI 48532‐4185
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Name                                 Address1                              Address2                        Address3                    Address4         City               State Zip
MICHIGAN CARTAGE                     15245 MARTIN RD                                                                                                    ROSEVILLE           MI 48066‐2347
MICHIGAN CARTAGE MI‐CART INC         7072 CROMWELL DR                                                                                                   JENISON             MI 49428‐8727
MICHIGAN CASE MANAGEMENT             11801 E. GRAND RIVER STE 1                                                                                         BRIGHTON            MI 48116
MICHIGAN CASH N MORE                 2740 E HOLLAND AVE                                                                                                 SAGINAW             MI 48601
MICHIGAN CAT MACHINERY CO            28004 CENTER CT                                                                                                    WIXOM               MI 48393
MICHIGAN CATALYSIS SOCIETY           C/O SULJO LINIC                       UNIVERSITY OF MICHIGAN          2300 HAYWARD UPDT 4/30/07                    ANN ARBOR           MI 48109
                                                                                                           AM
MICHIGAN CATHOLIC CREDIT UNION       FOR DEPOSIT TO THE ACCOUNT OF         255 E MAPLE RD                  C CAVALLIN                                   TROY               MI 48083‐2717
MICHIGAN CATHOLIC CREDIT UNION       FOR DEPOSIT IN THE ACCOUNT OF         255 E MAPLE RD                  R POMPER                                     TROY               MI 48083‐2717
MICHIGAN CENTRAL RAILROAD
MICHIGAN CHAPTER AMERICAN            PUBLIC WORKS ASSOCIATION              4693 ROCHESTER RD                                                            TROY               MI   48085‐4928
MICHIGAN CHAPTER OF NAFA             ATTN DAVID HEIN HANDLEMAN CO          PO BOX 7045                                                                  TROY               MI   48007‐7045
MICHIGAN CHLORIDE SALES INC          402 W JACKSON RD                                                                                                   SAINT LOUIS        MI   48880‐9279
MICHIGAN CHRONICLE                   479 LEDYARD ST                                                                                                     DETROIT            MI   48201‐2641
MICHIGAN CHURCH SUPPLY               ATTN: LEO FLYNN                       PO BOX 279                                                                   MT MORRIS          MI   48458‐0279
MICHIGAN COALITION FOR CLEAN WATER   310 N GRAND AVE STE 100                                                                                            LANSING            MI   48933‐1228

MICHIGAN COLLEGE OF BEAUTY           5620 DIXIE HWY                                                                                                     WATERFORD          MI   48329‐1618
MICHIGAN COMMERCIAL CREDIT           6265 GRAND RIVER RD                                                                                                BRIGHTON           MI   48114
MICHIGAN COMMERCIAL CREDIT LLC       5300 PLAINS RD                                                                                                     EATON RAPIDS       MI   48827‐9650
MICHIGAN COMPREHENSIVE MEDICAL       23700 ORCHARD LAKE RD STE A                                                                                        FARMINGTON HILLS   MI   48336‐2559
EVALUATIONS
MICHIGAN COMPUTER CONSULTANTS OF     24901 NORTHWESTERN HWY STE 601                                                                                     SOUTHFIELD         MI 48075‐2210
AMERICA INC
MICHIGAN CONSOLIDATED GAS CO         ACCOUNTS REC DEPT NO 78149            PO BOX 77000                                                                 DETROIT            MI 48277‐0149
MICHIGAN CONSOLIDATED GAS CO.
MICHIGAN CONSOLIDATED GAS CO.        TOM BAHLMAN                           500 GRISWOLD / 24TH FLOOR/                                                   DETROIT            MI 48226
MICHIGAN CONSOLIDATED GAS COMPANY    TOM BAHLMAN                           500 GRISWOLD                    24TH FLOOR                                   DETROIT            MI 48226

MICHIGAN CORNEA CONS                 PO BOX 32669                                                                                                       DETROIT            MI   48232‐0669
MICHIGAN CORNEA CONSULTANTS          PO BOX 32669                                                                                                       DETROIT            MI   48232‐0669
MICHIGAN CORPORATE OFFICE PLUS       30100 JOHN R RCAD                                                                                                  MADISON HEIGHTS    MI   48071
MICHIGAN CRYSTAL FLASH PETROLE       1754 ALPINE AVE NW                    PO BOX 1804                                                                  GRAND RAPIDS       MI   49504‐2810
MICHIGAN CRYSTAL FLASH PETROLEUM     1754 ALPINE AVE NW                    PO BOX 1804                                                                  GRAND RAPIDS       MI   49504‐2810

MICHIGAN CUSTOM MACHINES INC      22750 HESLIP DR                                                                                                       NOVI               MI   48375‐4143
MICHIGAN CUSTOMS MACHINES INC     22750 HESLIP DR                                                                                                       NOVI               MI   48375‐4143
MICHIGAN CUTTING TOOL             35566 MOUND RD                                                                                                        STERLING HEIGHTS   MI   48310‐4722
MICHIGAN DANCE CO                 DBA AN ARTHUR MURRAY FRANCHISE           42000 6 MILE RD STE 250                                                      NORTHVILLE         MI   48168‐4377
MICHIGAN DEPARTMENT               ENVIRONMENTAL QUALITY OFFICE             PO BOX 30657                    CASHIERS OFFICE‐WURF                         LANSING            MI   48909‐8157
MICHIGAN DEPARTMENT OF COMMUNITY PO BOX 30658                              RADIATION SAFETY SECTION                                                     LANSING            MI   48909‐8158
HEALTH
MICHIGAN DEPARTMENT OF COMMUNITY PO BOX 30194                                                                                                           LANSING            MI 48909‐7694
HEALTH
MICHIGAN DEPARTMENT OF CONSUMER & PO BOX 30664                                                                                                          LANSING            MI 48909‐8164
INDUSTRY SERVICES
MICHIGAN DEPARTMENT OF            C/O CELESTE R GILL                       ASSISTANT ATTORNEY GENERAL      525 W OTTAWA ST                              LANSING            MI 48933
ENVIRONMENT QUALITY
MICHIGAN DEPARTMENT OF            WASTE AND HAZARDOUS MATERIALS            525 WEST ALLEGAN STREET, P.O.                                                LANSING            MI 48909‐7973
ENVIRONMENTAL QUALITY             DIVISION                                 BOX 30473
MICHIGAN DEPARTMENT OF            STATE OFFICE BUILDING, 301 E. LOUIS B.                                                                                JACKSON            MI 49201‐1556
ENVIRONMENTAL QUALITY             GLICK HIGHWAY
                                 09-50026-mg               Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                             Exhibit B
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Name                             Address1                              Address2                        Address3                  Address4         City           State Zip
MICHIGAN DEPARTMENT OF           REMEDIATION AND REDEVELOPMENT         350 OTTAWA AVE NW UNIT 10                                                  GRAND RAPIDS    MI 49503‐2341
ENVIRONMENTAL QUALITY            DIVISION
MICHIGAN DEPARTMENT OF           REMEDIATION AND REDEVELOPMENT         301 E LOUIS GLICK HWY                                                      JACKSON        MI 49201‐1535
ENVIRONMENTAL QUALITY            DIVISION C/O VICKI KATKO
MICHIGAN DEPARTMENT OF           STATE OFFICE BUILDING                 301 E. LOUIS B. GLICK HIGHWAY                                              JACKSON        MI 49201‐1556
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           HOLLISTER BUILDING                    PO BOX 30347                                                               LANSING        MI 48909
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           REMEDIATION & REDEVELOPMENT            LEAKING UNDERGROUND STORAGE    PO BOX 30426                               LANSING        MI 48909‐7926
ENVIRONMENTAL QUALITY            DIVISION                               TANK PROGRAM
MICHIGAN DEPARTMENT OF           WASTE AND HAZARDOUS MATERIALS          525 W ALLEGAN ST               P.O. BOX 30473                             LANSING        MI 48933‐1502
ENVIRONMENTAL QUALITY            DIVISION
MICHIGAN DEPARTMENT OF           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 525 W ALLEGAN ST               P.O. BOX 30473                             LANSING        MI 48933‐1502
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           KALAMAZOO DISTRICT OFFICE             7953 ADOBE                                                                 KALAMAZOO      MI 49009‐5025
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           REMEDIATION AND REDEVELOPMENT         SOUTHEAST MICHIGAN DISTRICT     38980 7 MILE RD                            LIVONIA        MI 48152‐1006
ENVIRONMENTAL QUALITY            DIVISION                              OFFICE
MICHIGAN DEPARTMENT OF           PO BOX 30157                          WASTE & HAZARDOUS MATL DIV                                                 LANSING        MI 48909‐7657
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           REMEDIATION AND LIABILITY              ATTN: GENERAL COUNSEL          2000 CENTERPOINT PKWY                      PONTIAC        MI 48341‐3146
ENVIRONMENTAL QUALITY            MANAGEMENT COMPANY, INC.
MICHIGAN DEPARTMENT OF           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 402 KETCHUM STREET                                                        BAY CITY       MI 48708
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           SAGINAW BAY DISTRICT OFFICE           401 KETCHUM ST                                                             BAY CITY       MI 48708‐5430
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           2000 CENTERPOINT PKWY                                                                                                           MI 48341‐3146
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           STATE OFFICE BUILDING                 301 E LOUIS B GLICK HIGHWAY                                                JACKSON        MI 49201
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           LANSING DISTRICT OFFICE               525 WEST ALLEGAN ST.                                                       LANSING        MI 48933
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           REGION 5                              PO BOX 30473                    525 WEST ALLEGAN STREET                    LANSING        MI 48909‐7973
ENVIRONMENTAL QUALITY
MICHIGAN DEPARTMENT OF           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 525 W ALLEGAN ST               P.O. BOX 30473                             LANSING        MI 48933‐1502
ENVIRONMENTAL QUALITY AIR
MICHIGAN DEPARTMENT OF           REMEDIATION AND REDEVELOPMENT DIV. C/O VICKI KATKO                    301 E LOUIS GLICK HWY                      JACKSON        MI 49201‐1535
ENVIRONMENTAL QUALITY,
MICHIGAN DEPARTMENT OF           REMEDIATION AND REDEVELOPMENT         350 OTTAWA AVE NW UNIT 10                                                  GRAND RAPIDS   MI 49503‐2341
ENVIRONMENTAL QUALITY,           DIVISION
MICHIGAN DEPARTMENT OF LABOR     CSHD ‐ ASBESTOS PROGRAM               PO BOX 30671                                                               LANSING        MI 48909‐8171
MICHIGAN DEPARTMENT OF LABOR &   GEN INDSTRY SAFETY & HEALTH DV        7150 HARRIS DR UPDT 2/17/06                                                LANSING        MI 48909
ECONOMIC GROWTH MIOSHA
MICHIGAN DEPARTMENT OF LABOR &   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 30702                                                              LANSING        MI 48909‐8202
ECONOMICS
MICHIGAN DEPARTMENT OF LABOR &   PO BOX 30702                                                                                                     LANSING        MI 48909‐8202
ECONOMICS
MICHIGAN DEPARTMENT OF NATURAL   KNAPP'S OFFICE CENTRE                 SUITE 530                       300 SOUTH WASHINGTON                       LANSING        MI 48913
RESOURCES
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Name                                Address1                             Address2                        Address3         Address4         City      State Zip
MICHIGAN DEPARTMENT OF NATURAL                                                                                                             JACKSON    MI
RESOURCES
MICHIGAN DEPARTMENT OF NATURAL      KNAPP'S OFFICE CENTRE                300 S. WAHINGTON, SUITE 530                                       LANSING    MI 48913
RESOURCES
MICHIGAN DEPARTMENT OF NATURAL      MASON BUILDING                       FIFTH FLOOR                     P.O. BOX 30452                    LANSING    MI 48909
RESOURCES
MICHIGAN DEPARTMENT OF NATURAL      FIFTH FLOOR                          PO BOX 30452                                                      LANSING    MI 48909‐7952
RESOURCES, MASON BUILDING
MICHIGAN DEPARTMENT OF QUALITY      WASTE & HAZARDOUS MATERIALS DI       PO BOX 30241                                                      LANSING    MI   48909‐7741
MICHIGAN DEPARTMENT OF REVENUE      TREASURY BUILDING                                                                                      LANSING    MI   48922‐0001
MICHIGAN DEPARTMENT OF STATE        CASHIER UNIT                         7064 CROWNER DR                                                   LANSING    MI   48918‐0002
MICHIGAN DEPARTMENT OF STATE        CASHIER UNIT                         7064 CROWNER RD                                                   LANSING    MI   48918‐0002
MICHIGAN DEPARTMENT OF STATE        7064 CROWNER DR                                                                                        LANSING    MI   48918‐0001
MICHIGAN DEPARTMENT OF STATE
MICHIGAN DEPARTMENT OF STATE        425 W OTTAWA ST                                                                                        LANSING    MI 48933‐1516
HIGHWAYS AND TRANSPORTATION
MICHIGAN DEPARTMENT OF STATE OFFICE 7064 CROWNER BLVD                                                                                      LANSING    MI 48918‐0002
OF THE GREAT SEAL
MICHIGAN DEPARTMENT OF              PO BOX 30050                                                                                           LANSING    MI 48909‐7550
TRANSPORATION
MICHIGAN DEPARTMENT OF              3044 W GRAND BLVD                                                                                      DETROIT    MI 48202‐3009
TRANSPORTATION
MICHIGAN DEPARTMENT OF              PO BOX 30050                         STATE TRANSPORTATION BUILDING                                     LANSING    MI 48909‐7550
TRANSPORTATION
MICHIGAN DEPARTMENT OF
TRANSPORTATION
MICHIGAN DEPARTMENT OF                                                   1420 FRONT AVE NW                                                            MI 49504
TRANSPORTATION GR
MICHIGAN DEPARTMENT OF TREASURER PO BOX 30199                                                                                              LANSING    MI 48909‐7699

MICHIGAN DEPARTMENT OF TREASURER   ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 30199                                                     LANSING    MI 48909‐7699

MICHIGAN DEPARTMENT OF TREASURY    MICHIGAN DEPARTMENT OF TREASURY                                                                         LANSING    MI 48922
MICHIGAN DEPARTMENT OF TREASURY    COLLECTION DIVISION                   PO BOX 3375                                                       LANSING    MI 48909
MICHIGAN DEPARTMENT OF TREASURY
MICHIGAN DEPARTMENT OF TREASURY    PO BOX 30756                          UNCLAIMED PROPERTY DIVISION                                       LANSING    MI 48909‐8256
MICHIGAN DEPARTMENT OF TREASURY                                                                                                            DETROIT    MI 48277‐0003
DEPT 77003
MICHIGAN DEPARTMENT OF TREASURYSET PO BOX 40728                                                                                            LANSING    MI 48901‐7928

MICHIGAN DEPT OF AGRICULTURE      PESTICIDE & PLANT PEST MNGT            PO BOX 30776                                                      LANSING    MI 48909‐8276
MICHIGAN DEPT OF COMM HEALTH      PO BOX 30670                                                                                             LANSING    MI 48909‐8170
BOARD OF PHARMACY
MICHIGAN DEPT OF COMMUNITY HEALTH 611 W OTTAWA ST 1ST FL                                                                                   LANSING    MI 48933

MICHIGAN DEPT OF CONSUMER &        7150 HARRIS DR                                                                                          LANSING    MI 48909
INDUSTRY SERVICES
MICHIGAN DEPT OF ENV Q‐TY          STATE OF MICHIGAN                     PO BOX 30460                                                      LANSING    MI   48909‐7960
MICHIGAN DEPT OF ENVIROMENTAL      QUALITY STATE OF MICHIGAN             3423 N LOGAN ST                                                   LANSING    MI   48909
MICHIGAN DEPT OF ENVIRONMENTAL     ESSD‐WT                               PO BOX 30667                                                      LANSING    MI   48909‐8167
MICHIGAN DEPT OF LABOR             MIOSHA‐CONSTRUCTION SAFETY            7150 HARRIS DR                                                    LANSING    MI   48909
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Name                                 Address1                             Address2                           Address3                  Address4               City               State Zip
MICHIGAN DEPT OF LABOR               BUREAU OF CONSTRUCTION CODES         PO BOX 30255                       ELEVATOR INSPECTION                              LANSING             MI 48909‐7755
                                                                                                             ANNUAL FEE
MICHIGAN DEPT OF NATURAL RESOURCES   C/O CELESTE R GILL ASSISTANT ATTORNEY 525 W OTTAWA ST 6TH FLOOR                                                          LANSING            MI 48933
& ENVIRONMENT                        GENERAL
MICHIGAN DEPT OF TREASURY            PO BOX 30199                                                                                                             LANSING            MI   48909‐7699
MICHIGAN DEPT OF TREASURY            DEPT 77437                             P.O. BOX 77000                                                                    DETROIT            MI   48277‐0437
MICHIGAN DEPT OF TREASURY            SBT QUARTERLY TAX DEPT 77889                                                                                             DETROIT            MI   48277‐0889
MICHIGAN DEPT. OF TREASURY           PO BOX 35009                                                                                                             LANSING            MI   48909
MICHIGAN DEPT. OF TREASURY           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. PO BOX 35009                                                                      LANSING            MI   48909

MICHIGAN DEPT. OF TREASURY                                                                                                                                    LANSING            MI
MICHIGAN DIST CTR PARTNERS          C\O LEESHORE PROPERTY MGMT LLC        3347 128TH AVE                                                                      HOLLAND            MI 49424‐9263
MICHIGAN DOT
MICHIGAN EAR INSTITU                PO BOX 67000                                                                                                              DETROIT            MI 48267‐0002
MICHIGAN ECONOMIC DEVELOPMENT       201 N WASHINGTON SQ FL 5                                                                                                  LANSING            MI 48913‐0001
CORPORATION
MICHIGAN ECONOMIC DEVELOPMENT
CORPORATION
MICHIGAN ECONOMIC GROWTH            PO BOX 30234                                                                                                              LANSING            MI 48909‐7734
AUTHORITY
MICHIGAN EDUCATION CTR              3031 W GRAND BLVD                                                                                                         DETROIT            MI 48202‐3046
MICHIGAN EDUCATORS APPRENTICESHIP & PO BOX 4070                           KALAMAZOO VALLEY COMM                                                               KALAMAZOO          MI 49003‐4070
TRAINING ASSO                                                             COLLEGE
MICHIGAN EDUCATORS APPRENTICESHIP & 2900 FEATHERSTONE MEATA               APPRENTICE DEPT                                                                     AUBURN HILLS       MI 48326
TRAINING ASSO
MICHIGAN ELECTRIC SUPPLY CO         ATTN: DON MARLINGA                    976 E WOOD ST                                                                       FLINT              MI 48503‐1608
MICHIGAN EMPLOYEE BENEFIT CONF      660 WOODWARD AVE STE 2290                                                                                                 DETROIT            MI 48226‐3506
MICHIGAN EMPLOYMENT SECURITY
COMMISSION
MICHIGAN ENVIRONMENT, NATURAL       ATTY FOR MICHIGAN DEPARTMENT OF       ATTN: CELESTE R. GILL, ASSISTANT   525 W. OTTAWA, 6TH FLOOR, P.O. BOX 30755         LANSING            MI 48909
RESOURCES AND AGRICULTURE DIVISION ENVIRONMENTAL QUALITY                  ATTORNEY GENERAL                   G. MENNE WILLIAMS
                                                                                                             BUILDING
MICHIGAN EVALUATION                  26400 LAHSER RD STE 200                                                                                                  SOUTHFIELD         MI   48033‐2674
MICHIGAN EVALUATION GROUP            26400 LAHSER RD STE 200              ONE LAHSER CENTER                                                                   SOUTHFIELD         MI   48033‐2674
MICHIGAN EVALUATION GROUP            26400 LASHER ROAD                    SUITE 200                                                                           SOUTHFIELD         MI   48034
MICHIGAN EVALUATION GROUP INC        2054 SOLUTIONS CTR                                                                                                       CHICAGO            IL   60677‐2000
MICHIGAN EVALUATION GROUPINC         26400 LAHSER RD STE 200                                                                                                  SOUTHFIELD         MI   48033‐2674
MICHIGAN EYE CARE SP                 702 W LAKE LANSING RD                                                                                                    EAST LANSING       MI   48823
MICHIGAN EYE INSTITUTE               ATTN: BRIAN HAYES                    4499 TOWN CENTER PKWY                                                               FLINT              MI   48532‐3425
MICHIGAN FARM BUREAU                 PO BOX 30960                                                                                                             LANSING            MI   48909‐8460
MICHIGAN FARM BUREAU                 JULIE ANNA POTTS, ESQ. AND GENERAL   600 MARYLAND AVE SW STE 1000W                                                                          DC   20024‐2555
                                     COUNSEL
MICHIGAN FEDERAL CREDIT UNION        1314 E COLDWATER RD                                                                                                      FLINT              MI   48505‐1702
MICHIGAN FEN/STR HGT                 41124 MOUND RD                                                                                                           STERLING HEIGHTS   MI   48314‐4245
MICHIGAN FENCE CO.                   G‐3059 W HILL RD                                                                                                         FLINT              MI   48507
MICHIGAN FENCE COMPANY INC           3059 W HILL RD                                                                                                           FLINT              MI   48507‐3859
MICHIGAN FIRST AID & SAFETY CO       PO BOX 386                                                                                                               ROSEVILLE          MI   48066‐0386
MICHIGAN FIRST CREDIT UNION          FOR DEPOSIT IN THE ACCOUNT OF M      PO BOX 5179                                                                         SOUTHFIELD         MI   48086‐5179
                                     BAJZER
MICHIGAN FIRST CREDIT UNION          3031 W GRAND BLVD # 208                                                                                                  DETROIT            MI 48202‐3026
MICHIGAN FIRST RESPONSE              1135 S BRACY AVE                                                                                                         GREENVILLE         MI 48838‐9701
MICHIGAN FLUID POWER INC             4556 SPARTAN INDUSTRIAL DR SW                                                                                            GRANDVILLE         MI 49418‐2510
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Name                                   Address1                               Address2                        Address3   Address4         City               State Zip
MICHIGAN FLUID POWER, INC              4556 SPARTAN INDUSTRIAL DR SW                                                                      GRANDVILLE          MI 49418‐2510
MICHIGAN FOOT AND AN                   14555 LEVAN RD                         SUITE E 302                                                 LIVONIA             MI 48154
MICHIGAN FOREST ASSOCIATION            6120 S CLINTON TRL                                                                                 EATON RAPIDS        MI 48827‐9585
MICHIGAN FRONT PAGE                    479 LEDYARD ST                                                                                     DETROIT             MI 48201‐2641
MICHIGAN FUNDS ADMINISTRATION          7201 W. SAGINAW HWY, STE 110                                                                       LANSING             MI 48917
MICHIGAN FURNITURE MFG INC             ATTN: TIM FULLER                       409 N ROSEMARY ST                                           LANSING             MI 48917‐4915
MICHIGAN GAG/STERLNG                   PO BOX 1439                                                                                        STERLING HEIGHTS    MI 48311‐1439
MICHIGAN GAGE AND MANUFACTURIN         PO BOX 1439                                                                                        STERLING HEIGHTS    MI 48311‐1439

MICHIGAN GASTROENTER                   1650 RAMBLEWOOD DR STE 100                                                                         EAST LANSING       MI   48823‐7396
MICHIGAN GASTROENTEROLOGY              5059 VILLA LINDE PKWY # 28                                                                         FLINT              MI   48532‐3438
MICHIGAN GEAR & ENGR CO                20416 KAISER RD                                                                                    GREGORY            MI   48137‐9718
MICHIGAN GRAPHICS & AWARDS             3742 12 MILE RD                                                                                    BERKLEY            MI   48072‐1114
MICHIGAN GUARANTY AGENCY               PO BOX 30047                                                                                       LANSING            MI   48909‐7547
MICHIGAN GUARANTY AGENCY               PO BOX 46426                                                                                       CHICAGO            IL   60646‐0426
MICHIGAN GUARANTY AGENCY               PO BOX 7074                                                                                        INDIANAPOLIS       IN   46207‐7074
MICHIGAN GULF TO BAY                   PO BOX 214722                                                                                      AUBURN HILLS       MI   48321‐4722
MICHIGAN HAND & SPOR                   29900 LORRAINE AVE STE 400                                                                         WARREN             MI   48093‐5270
MICHIGAN HEAD & SPIN                   2319 MOMENTUM PL                                                                                   CHICAGO            IL   60689‐0001
MICHIGAN HEAD & SPINE INSTITUT         PO BOX 673415                                                                                      DETROIT            MI   48267‐3415
MICHIGAN HEALTH & SAFETY COALITION     2445 WOODLAKE CIR                                                                                  OKEMOS             MI   48864‐5941

MICHIGAN HERITAGE BANK                 28300 ORCHARD LAKE ROAD                SUITE 200                                                   FARMINGTON HILLS   MI 48334
MICHIGAN HERITAGE BANK                 ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 28300 ORCHARD LAKE RD STE 200                               FARMINGTON HILLS   MI 48334‐3704

MICHIGAN HISPANIC CHAMBER OF           ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 2835 BAGLEY ST # 600                                        DETROIT            MI 48216‐1729
COMMERCE
MICHIGAN HISPANIC CHAMBER OF           24445 NORTHWESTERN HWY STE 206                                                                     SOUTHFIELD         MI 48075‐2437
COMMERCE
MICHIGAN HISTORICAL CENTER FOU         702 W KALAMAZOO ST                                                                                 LANSING            MI 48915‐1609
MICHIGAN HISTORICAL CENTER             PO BOX 17035                                                                                       LANSING            MI 48901‐7035
FOUNDATION
MICHIGAN HONE & DRILL                  32370 HOWARD AVE                                                                                   MADISON HTS        MI   48071‐1429
MICHIGAN HOT GLASS WORKSHOP            29 W LAWRENCE                                                                                      PONTIAC            MI   48342
MICHIGAN HUMANE SOCIETY                7401 CHRYSLER DR                                                                                   DETROIT            MI   48211‐1942
MICHIGAN HUMANE SOCIETY                30300 TELEGRAPH RD STE 220                                                                         BINGHAM FARMS      MI   48025‐4509
MICHIGAN IMPORTED CARS INC             350 S NEWBURGH RD                                                                                  WESTLAND           MI   48186‐3447
MICHIGAN INDUSTRIAL CONTROLS           2402 GRATIOT AVE                                                                                   PORT HURON         MI   48060‐2940
MICHIGAN INDUSTRIAL CONTROLS INC       2402 GRATIOT AVE                                                                                   PORT HURON         MI   48060‐2940
MICHIGAN INDUSTRIAL FORKLIFTS          9103‐05 MICHIGAN AVE                                                                               DETROIT            MI   48210
MICHIGAN INDUSTRIAL FORKLIFTS INC      9103 MICHIGAN AVE                                                                                  DETROIT            MI   48210‐2034
MICHIGAN INDUSTRIAL PAINT SUPPLY INC   29740 PARKWAY                                                                                      ROSEVILLE          MI   48066‐1939

MICHIGAN INDUSTRIAL SHOE CO            25477 W 8 MILE RD                                                                                  DETROIT            MI   48240‐1005
MICHIGAN INDUSTRIAL SHOE CO.           25477 W 8 MILE RD                                                                                  DETROIT            MI   48240‐1005
MICHIGAN INDUSTRIAL SYSTEMS INC        11756 PENINSULA DR                                                                                 TRAVERSE CITY      MI   49686‐9216
MICHIGAN INDUSTRIAL TRIM               RENE PEREZ                             12400 UNIVERSAL DRIVE                                       EL PASO            TX   79927
MICHIGAN INDUSTRIAL TRIM INC           12400 UNIVERSAL DR                                                                                 TAYLOR             MI   48180‐6837
MICHIGAN INDUSTRIAL TRIM INC           RENE PEREZ                             12400 UNIVERSAL DRIVE                                       EL PASO            TX   79927
MICHIGAN INDUSTRIAL TRIM INC           PO BOX 1675                                                                                        TAYLOR             MI   49180‐5676
MICHIGAN INSTITUTE FOR EDUCATIONAL     1001 CENTENNIAL WAY STE 300                                                                        LANSING            MI   48917‐8249
MANAGEMENT
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Name                                Address1                              Address2                     Address3   Address4         City               State Zip
MICHIGAN INSTITUTE OF AERONAUTICS   47884 D ST                            WILLOW RUN AIRPORT                                       BELLEVILLE          MI 48111‐1126

MICHIGAN INSTITUTE OF REAL ESTATE   24655 SOUTHFIELD RD STE 101                                                                    SOUTHFIELD         MI   48075‐8100
MICHIGAN INSTITUTE OF REAL ESTATE   21896 FARMINGTON RD                                                                            FARMINGTON         MI   48336‐4412
MICHIGAN INTERNAL ME                PO BOX 77000                                                                                   DETROIT            MI   48277‐2000
MICHIGAN INTERNATIONAL              SPEEDWAY                              12626 US 12                                              BROOKLYN           MI   49230
MICHIGAN JOB CORP OUTREACH          707 W MILWAUKEE ST                                                                             DETROIT            MI   48202‐2943
MICHIGAN LABOR MANAGEMENT           36500 FORD RD #264                                                                             WESTLAND           MI   48185
ASSOCIATION
MICHIGAN LIBRARY CONSORTIUM         6810 S CEDAR ST STE 8                                                                          LANSING            MI   48911‐6909
MICHIGAN LICENSES LLC               FILLMORE THEATER ‐ DETROIT            2115 WOODWARD AVE                                        DETROIT            MI   48201‐3469
MICHIGAN LUMBER CO                  1919 CLIFFORD ST                      PO BOX 766                                               FLINT              MI   48503‐4033
MICHIGAN LUMBER COMPANY INC         1919 CLIFFORD ST                      PO BOX 766                                               FLINT              MI   48503‐4033
MICHIGAN MACH/DETROI                9105 MICHIGAN AVE                                                                              DETROIT            MI   48210‐2034
MICHIGAN MACH/RYL OK                PO BOX 1585                                                                                    ROYAL OAK          MI   48068‐1585
MICHIGAN MACH/STHFLD                21312 HILLTOP ST                                                                               SOUTHFIELD         MI   48033‐4063
MICHIGAN MANUFACTURER SERVICE INC   28800 WALL ST                                                                                  WIXOM              MI   48393‐3518

MICHIGAN MANUFACTURERS              PO BOX 14247                                                                                   LANSING            MI 48901‐4247
ASSOCIATION
MICHIGAN MANUFACTURING              47911 HALYARD DR                                                                               PLYMOUTH           MI 48170‐2461
TECHNOLOGY CENTER
MICHIGAN MECHANICAL INC             25445 BREST                                                                                    TAYLOR             MI   48180‐6811
MICHIGAN MED ANESTH                 1051 PROFESSIONAL DR                                                                           FLINT              MI   48532‐3636
MICHIGAN MEDICAL CLINIC             5059 VILLA LINDE PKWY                                                                          FLINT              MI   48532‐3438
MICHIGAN MEDICAL PC                 4085 BURTON ST SE STE 200                                                                      GRAND RAPIDS       MI   49546‐2444
MICHIGAN MERCHANTS SUPPLY           ATTN: JAMES ISHMON                     PO BOX 91                                               MT MORRIS          MI   48458‐0091
MICHIGAN MET/STRLNG                 42840 MERRILL RD                                                                               STERLING HEIGHTS   MI   48314‐3246
MICHIGAN MET/TROY                   1263 SOUTER DR                                                                                 TROY               MI   48083‐2838
MICHIGAN METAL                      JEREMY BATTIER                         36253 MICHIGAN AVE                                      WAYNE              MI   48184‐1652
MICHIGAN METAL TECHNOLOGIES         50320 E RUSSELL SCHMIDT BLVD                                                                   CHESTERFIELD       MI   48051‐2447
MICHIGAN METAL TECHNOLOGIES INC     50320 E RUSSELL SCHMIDT BLVD                                                                   CHESTERFIELD       MI   48051‐2447
MICHIGAN METAL TRANSPORTERS         8055 HIGHLAND POINTE PKWY                                                                      MACEDONIA          OH   44056‐2147
MICHIGAN METAL TRANSPORTERS         JEREMY BATTIER                         36253 MICHIGAN AVE                                      WAYNE              MI   48184‐1652
MICHIGAN METAL TRANSPORTERS IN      8055 HIGHLAND POINTE PKWY                                                                      MACEDONIA          OH   44056‐2147
MICHIGAN METAL TRANSPORTERS INC     36253 MICHIGAN AVE                                                                             WAYNE              MI   48184‐1652
MICHIGAN METRO GIRL SCOUTS          ATTN: ARLENE M ROBINSON                3011 W GRAND BLVD # 500                                 DETROIT            MI   48202‐3012
MICHIGAN METROLOGY                  17199 N LAUREL PARK DR STE 51                                                                  LIVONIA            MI   48152‐2679
MICHIGAN MINORITY BUSINESS DEV      3011 W GRAND BLVD # 230                                                                        DETROIT            MI   48202‐3042
MICHIGAN MINORITY BUSINESS          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 3011 W GRAND BLVD STE 230                               DETROIT            MI   48202‐3042
DEVELOPMENT COUNCIL
MICHIGAN MINORITY BUSINESS          3011 W GRAND BLVD STE 230                                                                      DETROIT            MI 48202‐3042
DEVELOPMENT COUNCIL
MICHIGAN MODEL/TROY                 2326 ALGER DR                                                                                  TROY               MI 48083‐2001
MICHIGAN MOLECULAR INSTITUTE        DBA IMPACT ANALYTICAL                 1910 W SAINT ANDREWS RD                                  MIDLAND            MI 48640‐2657
MICHIGAN MOTOR FREIGHT INC          4007 W BRISTOL RD                     PO BOX 13                                                FLINT              MI 48507
MICHIGAN NATIONAL BANK              ACCT OF LOIS J FLOWERS
MICHIGAN NATIONAL BANK              ACCT OF HENRY A HUNT
MICHIGAN NATIONAL BANK              ACCT OF EDWARD J O'NEILL              27777 INKSTER RD                                         FARMINGTON HILLS   MI 48334‐5326
MICHIGAN NATIONAL BANK              ACCT OF OLIVIA EDWARDS‐PEARSON        PO BOX 5148                                              SOUTHFIELD         MI 48086‐5148
MICHIGAN NATIONAL BANK              ACCT OF MELVINA T BOUIE
MICHIGAN NATIONAL BANK              ACCT OF ALFRED BOUIE
                                     09-50026-mg               Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit B
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Name                                Address1                               Address2                         Address3           Address4           City               State Zip
MICHIGAN NATIONAL BANK              C\O MARTIN COMMERCIAL PROP             1111 MICHIGAN AVE STE 201                                              EAST LANSING        MI 48823‐4050
MICHIGAN NATIONAL BANK              ACCT OF PHILLIP IRA VENABLE
MICHIGAN NATIONAL BANK              124 WEST ALLEGAN STREET                                                                                       LANSING            MI 48933
MICHIGAN NATIONAL BANK              A NATIONAL BANKING ASSOCIATION         27777 INKSTER RD                 PO BOX 9065                           FARMINGTON HILLS   MI 48331
MICHIGAN NATIONAL BANK              A NATIONAL BANKING ASSOCIATION         ATTN: LEGAL OFFICER / BANKRUPTCY 27777 INKSTER RD   PO BOX 965         FARMINGTON HILLS   MI 48334‐5326
                                                                           DEPT.
MICHIGAN NATIONAL BANK OF DETROIT   22595 W 8 MILE RD                                                                                             DETROIT            MI 48219‐4418

MICHIGAN NATIONAL CORPORATION
MICHIGAN NATIONAL CORPORATION       124 WEST ALLEGAN STREET                                                                                       LANSING            MI   48933
MICHIGAN NDT INC                    PO BOX 296                                                                                                    CHELSEA            MI   48118‐0296
MICHIGAN NEURODIAGNO                15142 LEVAN RD STE 42                                                                                         LIVONIA            MI   48154
MICHIGAN NEUROSURGIC                5220 HIGHLAND RD                                                                                              WATERFORD          MI   48327
MICHIGAN NEUROSURGIC                4620 GENESYS PKWY                                                                                             GRAND BLANC        MI   48439‐8067
MICHIGAN NON PROFIT ASSN            ATTN: CHARLENE TURNER JOHNSON          28 W ADAMS AVE STE 1500                                                DETROIT            MI   48226‐1686
MICHIGAN NOTARY SERVICE             2176 OAKWOOD DR                                                                                               TROY               MI   48085‐3892
MICHIGAN NURSES ASSOICATION         2310 JOLLY OAK RD                                                                                             OKEMOS             MI   48864‐3546
MICHIGAN OCCUPATIONAL HEALTH        751 S MILITARY ST                                                                                             DEARBORN           MI   48124‐2107
ASSOCIATES,
MICHIGAN OFFICE DESIGN INC          32376 WOODWARD AVE                                                                                            ROYAL OAK          MI 48073‐0945
MICHIGAN OPERA THEATRE              1526 BROADWAY ST                                                                                              DETROIT            MI 48226‐2115
MICHIGAN OPERA THEATRE              DR. DAVID DICHIERA, GENERAL DIRECTOR   1526 BROADWAY ST                                                       DETROIT            MI 48226‐2115

MICHIGAN ORTHOPAEDIC                26025 LAHSER RD FL 2                                                                                          SOUTHFIELD         MI   48033‐2606
MICHIGAN ORTHOPAEDIC                2911 KNAPP ST NE STE A                                                                                        GRAND RAPIDS       MI   49525‐4600
MICHIGAN ORTHOPEDIC                 13450 FARMINGTON RD                                                                                           LIVONIA            MI   48150‐4207
MICHIGAN ORTHOPEDIC                 6565 W MAIN ST STE 235                                                                                        KALAMAZOO          MI   49009‐6115
MICHIGAN ORTHOPEDIC                 12150 30 MILE RD STE 105                                                                                      WASHINGTON TWP     MI   48095‐2035
MICHIGAN ORTHOPEDIC                 7164 N MAIN ST                                                                                                CLARKSTON          MI   48346‐1569
MICHIGAN ORTHOPEDIC SERVICES        13450 FARMINGTON RD                                                                                           LIVONIA            MI   48150‐4207
MICHIGAN OVERMAN SERVICES           PO BOX 324                                                                                                    DEARBORN           MI   48121‐0324
MICHIGAN PAIN CONSUL                61 COMMERCE AVE SW                                                                                            GRAND RAPIDS       MI   49503‐4124
MICHIGAN PAIN MANAGE                PO BOX 10                                                                                                     MASON              MI   48854‐0010
MICHIGAN PAIN MANAGE                PO BOX 67000                                                                                                  DETROIT            MI   48267‐0002
MICHIGAN PAIN SPECIALIST            3520 GREEN CT STE 100                                                                                         ANN ARBOR          MI   48105‐1566
MICHIGAN PALLET INC                 PO BOX 97                                                                                                     SAINT CHARLES      MI   48655‐0116
MICHIGAN PALLET INC                 KIRK PERRY                                                                                                                       MI   48655
MICHIGAN PARALYLZED VETERANS OF     40550 GRAND RIVER AVE                                                                                         NOVI               MI   48375‐2808
AMERICA
MICHIGAN PETROLEUM TECH             PO BOX 610808                                                                                                 PORT HURON         MI 48061‐0808
MICHIGAN PETROLEUM TECHNOLOGIE      3030 MOAK ST                                                                                                  PORT HURON         MI 48060‐6846
MICHIGAN PETROLEUM TECHNOLOGIES     3030 MOAK ST                                                                                                  PORT HURON         MI 48060‐6846
INC
MICHIGAN PHYSICAL TH                5409 GATEWAY CENTER DR                 SUITE B                                                                FLINT              MI 48507
MICHIGAN PLUMBING AND               3127 TRAPPERS COVE TRL                                                                                        LANSING            MI 48910‐8279
MECHANICCONTRACTORS ASSOCIATION

MICHIGAN POLYMER RECLAIM INC        PO BOX 127                                                                                                    EAST LANSING       MI 48826‐0127
MICHIGAN PRECISION SWISS PARTS      ED STOWELL                             2145 WADHAMS RD                                                        GREENEVILLE        TN 37743
MICHIGAN PRECISION SWISS PARTS CO   ED STOWELL                             2145 WADHAMS RD                                                        GREENEVILLE        TN 37743
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Name                                Address1                             Address2                          Address3                   Address4         City               State Zip
MICHIGAN PRESS ASSOC FOUNDATION FOR 827 N WASHINGTON AVE                                                                                               LANSING             MI 48906‐5135
BAY CITY TIMES
MICHIGAN PROD/MT CLE                16700 23 MILE RD                                                                                                   MACOMB             MI 48044‐1100
MICHIGAN PRODUCTION MACHINING       16700 23 MILE RD                                                                                                   MACOMB             MI 48044‐1100
MICHIGAN PRODUCTION MACHINING INC 1720 NORMAN ST                                                                                                       SAGINAW            MI 48601

MICHIGAN PRODUCTION MACHINING INC     KEVIN WEST X‐227                   16700 23 MILE RD                                                              LESLIE             MI 49251

MICHIGAN PRODUCTION MACHINING INC     16700 23 MILE RD                                                                                                 MACOMB             MI 48044

MICHIGAN PUBLIC SERVICE COMM.
MICHIGAN PUBLIC SERVICE COMMISSION

MICHIGAN QUALITY DESIGN INC           PO BOX 282                                                                                                       GENESEE            MI   48437‐0282
MICHIGAN QUALITY DESIGNS              9066 N SAGINAW RD                                                                                                MOUNT MORRIS       MI   48458‐1128
MICHIGAN QUALITY LAMINATING           ATTN: TODD THRALL                  G4438 S SAGINAW ST                                                            BURTON             MI   48529‐2086
MICHIGAN QUALITY LAMINATING &         G4438 S SAGINAW ST                                                                                               BURTON             MI   48529‐2086
MICHIGAN QUALITY LAMINATING & SALES   G4438 S SAGINAW ST                                                                                               BURTON             MI   48529‐2086
CO
MICHIGAN REAL ESTATE TODAY            ATTN: BOB CHAMBERS                 G4295 S SAGINAW ST                                                            BURTON             MI 48529‐2015
MICHIGAN RECOVERY SYS INC             36345 VAN BORN RD                                                                                                ROMULUS            MI 48174‐4057
MICHIGAN REGIONAL COUNCIL OF          3800 WOODWARD AVE STE 1200                                                                                       DETROIT            MI 48201‐2062
CARPENTERS
MICHIGAN REGIONAL COUNCIL OF          3800 WOODWARD AVE STE 1120         ATTN JOSEPH A CIPOLLA                                                         DETROIT            MI 48201‐2062
CARPENTERS FRINGE BENEFIT FUND
MICHIGAN REHABILITATION SVC           ATTN: CARRIE WATERS                707 W MILWAUKEE ST # 4                                                        DETROIT            MI 48202‐2943
MICHIGAN RETINA VITREOUS INST         1290 S LINDEN RD                                                                                                 FLINT              MI 48532‐3407
MICHIGAN RIVET CORP                   ATTN CREDIT DEPT                   300 GALLERIA OFFICENTRE STE 103                                               SOUTHFIELD         MI 48034‐8429

MICHIGAN RIVET CORP                   KERMIT KNUPPENBURG                 13201 STEPHENS RD                                                             WARREN             MI   48089‐4340
MICHIGAN RIVET/WRREN                  24400 NORTHWESTERN HWY             STE 204                                                                       SOUTHFIELD         MI   48075‐2427
MICHIGAN ROD PRODUCTS                 KEVIN WOLANIN                      1326 GRAND OAKS DR                MICHIGAN ROD PRODUCTS                       HOWELL             MI   48843‐8579
MICHIGAN ROD PRODUCTS                 KEVIN WOLANIN                      MICHIGAN ROD PRODUCTS             1326 GRAND OAKS DRIVE                       HOPKINSVILLE       KY   42240
MICHIGAN ROD PRODUCTS                 1326 GRAND OAKS DR                                                                                               HOWELL             MI   48843‐8579
MICHIGAN ROD PRODUCTS INC             1326 GRAND OAKS DR                                                                                               HOWELL             MI   48843‐8579
MICHIGAN ROD/HOWELL                   1010 BOWERS ST STE B                                                                                             BIRMINGHAM         MI   48009‐6797
MICHIGAN ROD/HOWELL                   1326 GRAND OAKS DR                                                                                               HOWELL             MI   48843‐8579
MICHIGAN ROUNDTABLE FOR DIVERSITY     ATTN CHERYL BIRKS 525 NEW CENTER                                                                                 DETROIT            MI   48202
AND INCLUSION                         GRAND BLVD BLDG 3031
MICHIGAN ROUNDTABLE‐DIVERSITY         ATTN: THOMAS COSTELLO              3031 W GRAND BLVD # 525                                                       DETROIT            MI   48202‐3025
MICHIGAN RUB/AUB HIL                  3069 UNIVERSITY DR STE 210                                                                                       AUBURN HILLS       MI   48326‐2322
MICHIGAN RUB/CAD                      1200 8TH ST                                                                                                      CADILLAC           MI   49601‐9274
MICHIGAN RUB/TROY                     3254 UNIVERSITY DR                 STE 195                           C/O MARK MURPHY & ASSOC.                    AUBURN HILLS       MI   48326‐2392

MICHIGAN RUBBER PRODUCTS INC          HOOLEY FIEWIG                      1200 8TH ST                                                                   CADILLAC           MI 49601‐9274
MICHIGAN RUBBER PRODUCTS INC          HOOLEY FIEWIG                      1200 EIGHTH AVE                                                               HOLLAND            MI 49423
MICHIGAN RUBBER PRODUCTS INC
MICHIGAN RUBBER PRODUCTS INC          1200 8TH ST                                                                                                      CADILLAC           MI   49601‐9274
MICHIGAN SAFETY PRODUCTS              8260 EMBURY RD                                                                                                   GRAND BLANC        MI   48439
MICHIGAN SAFETY PRODUCTS OF FL        8640 COMMERCE CT                                                                                                 HARBOR SPRINGS     MI   49740‐9672
MICHIGAN SAW & TOOL CO.               G‐3053 W. PASADENA                                                                                               FLINT              MI   48504
MICHIGAN SCHOOLS & GOV C U            FOR DEPOSIT TO THE A/C OF          40400 GARFIELD RD                 R CAVANAUGH                                 CLINTON TOWNSHIP   MI   48038‐4004
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Name                                Address1                             Address2                     Address3                    Address4         City               State Zip
MICHIGAN SCHOOLS & GOVT CU          FOR DEPOSIT IN THE ACCOUNT OF        40400 GARFIELD RD            G CURD                                       CLINTON TOWNSHIP    MI 48038‐4004
MICHIGAN SCIENTIFIC CORP            730 BELLEVUE                                                                                                   MILFORD             MI 48381‐2209
MICHIGAN SCIENTIFIC CORP            321 E HURON ST                                                                                                 MILFORD             MI 48381‐2352
MICHIGAN SCIENTIFIC CORP            8500 ANCE RD                         HWY 31N INDUSTRIAL PARK                                                   CHARLEVOIX          MI 49720‐2033
MICHIGAN SECRETARY OF STATE         73185 COUNTY ROAD 388                                                                                          SOUTH HAVEN         MI 49090
MICHIGAN SELF INSURERS ASSOC        C\O SHEILA MAHAN                     300 MONROE NW                                                             GRAND RAPIDS        MI 49503
MICHIGAN SPECIALTY COATINGS INC     2953 MANCHESTER DR                                                                                             KIMBALL             MI 48074
MICHIGAN SPECIALTY COATINGS INC     ATTN: CORPORATE OFFICER/AUTHORIZED   2953 MANCHESTER DR                                                        KIMBALL             MI 48074‐1552
                                    AGENT
MICHIGAN SPINE & BRA                22250 PROVIDENCE DR STE 601                                                                                    SOUTHFIELD         MI   48075‐6214
MICHIGAN SPINE AND J                32500 23 MILE RD                                                                                               CHESTERFIELD       MI   48047‐1991
MICHIGAN SPLINE GAGE CO             1626 E 9 MILE RD                     PO BOX 69                                                                 HAZEL PARK         MI   48030‐1937
MICHIGAN SPRING & STAMPING          2700 WICKHAM DR                                                                                                MUSKEGON           MI   49441‐3532
MICHIGAN SPRING & STAMPING          LINDA DORNBUSH                       PO BOX 4008                  ELYRIA DIVISION                              ELYRIA             OH   44036‐2008
MICHIGAN SPRING & STAMPING          LINDA DORNBUSH                       ELYRIA DIVISION              811 TAYLOR ST PO BOX 4008                    CROGHAN            NY   13327
MICHIGAN SPRING & STAMPING OF MUSKE 2700 WICKHAM DR                                                                                                MUSKEGON           MI   49441‐3532

MICHIGAN SPRING & STAMPING OF MUSKE TINA BARR EX 233                     2700 WICKHAM DR BOX 720                                                   MUSKEGON           MI 49441

MICHIGAN SPRING CO                   TINA BARR EX 233                    2700 WICKHAM DR BOX 720                                                   MORTON GROVE       IL
MICHIGAN SPRING/MUSK                 PO BOX 720                          MSC                                                                       MUSKEGON           MI   49443‐0720
MICHIGAN ST POL/LANS                 PO BOX 30157                        HAZARDOUS MATERIAL SECTION                                                LANSING            MI   48909‐7657
MICHIGAN STAMPING                    50605 RICHARD W BLVD                                                                                          CHESTERFIELD       MI   48051‐2493
MICHIGAN STATE BAR FOUNDATION        C/O LINDA REXER                     306 TOWNSEND ST                                                           LANSING            MI   48933‐2012
MICHIGAN STATE DISB. UNIT            PO BOX 30350                                                                                                  LANSING            MI   48909‐7850
MICHIGAN STATE FAIR EXPOSITIONCENTER 1120 W STATE FAIR                                                                                             DETROIT            MI   48203‐1040

MICHIGAN STATE HIGHWAY COMMISSION 3044 W GRAND BLVD                                                                                                DETROIT            MI 48202‐3009

MICHIGAN STATE HIGHWAY COMMISSION PO BOX K                                                                                                         LANSING            MI 48904

MICHIGAN STATE HIGHWAY COMMISSION HIGHWAY BUILDING                       POST OFFICE DRAWER X                                                      LANSING            MI 48904

MICHIGAN STATE HIGHWAY COMMISSION STEVENS T. MASON BUILDING                                                                                        LANSING            MI 48926

MICHIGAN STATE HIGHWAY COMMISSION GENERAL MOTORS CORPORATION             3044 W GRAND BLVD                                                         DETROIT            MI 48202

MICHIGAN STATE HIGHWAY DEPARTMENT

MICHIGAN STATE POLICE               3062 W GRAND BLVD STE L‐200                                                                                    DETROIT            MI 48202
MICHIGAN STATE POLICE TROOPERS      1715 ABBEY RD STE B                                                                                            EAST LANSING       MI 48823‐6365
MICHIGAN STATE TRANSP COMMISSION    3044 W GRAND BLVD                                                                                              DETROIT            MI 48202‐3009

MICHIGAN STATE UNIVERSITY           2100 ENGINEERING BLDG                MICHIGAN STATE UNIVERSITY                                                 EAST LANSING       MI   48824
MICHIGAN STATE UNIVERSITY           301 ADMINISTRATION BLDG                                                                                        EAST LANSING       MI   48824‐1046
MICHIGAN STATE UNIVERSITY           INSTITUTE OF PUBLIC UTILITIES        W157 OWEN GRADUATE HALL                                                   EAST LANSING       MI   48825‐1109
MICHIGAN STATE UNIVERSITY           201 MORRILL HALL                                                                                               EAST LANSING       MI   48824‐1036
MICHIGAN STATE UNIVERSITY           ATTN CRAIG NOTHNAGEL                 200 WALKER ST                                                             DETROIT            MI   48207‐4229
MICHIGAN STATE UNIVERSITY           UAW/GM CENTER FOR HUMAN RESOUR       200 WALKER ST                                                             DETROIT            MI   48207‐4229

MICHIGAN STATE UNIVERSITY           110 LINTON HALL                                                                                                EAST LANSING       MI 48824‐1044
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Name                                  Address1                             Address2                       Address3                   Address4         City               State Zip
MICHIGAN STATE UNIVERSITY             DEPT OF CHEM ENG & MATERIAL SC       ATTN PROF DAVID S GRUMMON PH   3525 ENGINEERING BLDG                       EAST LANSING        MI 48824
                                                                           D
MICHIGAN STATE UNIVERSITY             HR EDUCATION & TRAINING CTR          422 S KEDZIE HALL              SCHL OF LABOR & INDUST                      EAST LANSING       MI 48824‐1032
                                                                                                          RLTNS
MICHIGAN STATE UNIVERSITY             DEPT OF INTERCOLLEGIATE ATHLET       228 JENISON FIELD HOUSE                                                    EAST LANSING       MI 48824
MICHIGAN STATE UNIVERSITY             INSTITUTE OF PUBLIC UTILITIES        240 NISBET BUILDING                                                        EAST LANSING       MI 48824
MICHIGAN STATE UNIVERSITY             HR EDUCATION AND TRAINING CNTR       422 S KEDZIE HALL              SCHL OF LABOR AND INDUST                    EAST LANSING       MI 48824‐1032
                                                                                                          RLTNS
MICHIGAN STATE UNIVERSITY             ATT BARBARA BROCHU                   103 FARRALL HALL                                                           EAST LANSING       MI   48824‐1323
MICHIGAN STATE UNIVERSITY             ELI BROAD GRAD SCHOOL OF MGMT        3535 FOREST RD                 EXEC MBA PGRM                               LANSING            MI   48910‐3734
MICHIGAN STATE UNIVERSITY             EVENING COLLEGE                      8 KELLOGG CTR                                                              EAST LANSING       MI   48824‐1022
MICHIGAN STATE UNIVERSITY             DETROIT COLLEGE OF LAW               306 LAW COLLEGE BLDG                                                       EAST LANSING       MI   48824
MICHIGAN STATE UNIVERSITY             DIVISION OF ENGINEERING RSRCH        B100 RESEARCH COMPLEX ENGINEER                                             EAST LANSING       MI   48824

MICHIGAN STATE UNIVERSITY             COMPOSITE MTRLS & STRCTRS CNTR       2100 ENGINEERING               COLLEGE OF ENGINEERING                      EAST LANSING       MI 48824‐1226
MICHIGAN STATE UNIVERSITY             COLLEGE OF ENGINEERING, MICHIGAN     2555 ENGINEERING BUILDING                                                  EAST LANSING       MI 48824‐1226
                                      STATE UNIVERSITY
MICHIGAN STATE UNIVERSITY BOARD OF    ATTN PEGGY WAD ENG RES               3428 ENGINEERING BUILDING                                                  EAST LANSING       MI 48824
TRUSTEES
MICHIGAN STATE UNIVERSITY BOARD OF                                                                                                                    EAST LANSING       MI 48224
TRUSTEES
MICHIGAN STATE UNIVERSITY COLLEGE OF A308 E FEE HALL                                                                                                  EAST LANSING       MI 48824‐1316
OSTEOPATHIC MEDICIN
MICHIGAN STATE UNIVERSITY CONTRACT & FRED SALAS                            301 ADMINISTRATION BLDG                                                    EAST LANSING       MI 48824‐1046
GRANT ADMINISTRATION

MICHIGAN STATE UNIVERSITY DEPT. OF    225 JENNISON FIELDHOUSE                                                                                         EAST LANSING       MI 48823
INTERCOLLEGIATE ATHLETICS
MICHIGAN STATE UNIVERSITY DEPT. OF    MARK HOLLIS ‐ ATHLETIC DIRECTOR      218 JENNISON FIELDHOUSE EAST                                               EAST LANSING       MI 48824
INTERCOLLEGIATE ATHLETICS                                                  LANSING
MICHIGAN STATE UNIVERSITY             811 W SQUARE LAKE RD                                                                                            TROY               MI 48098‐2831
MANAGEMENT EDUCATION CENTER
MICHIGAN STATE UNIVERSITY OFF OF THE 110 JOHN HANNAH                       ADMINISTRATION BUILDING                                                    EAST LANSING       MI 48824
CONTROLLER DEPT REC
MICHIGAN STATE UNIVERSITY OFFICE OF   424 EPPLEY CTR                                                                                                  EAST LANSING       MI 48824‐1121
EXECUTIVE PROGRAMS
MICHIGAN STATE UNIVERSITY OFFICE OF   252 STUDENT SERVICES BLDG                                                                                       EAST LANSING       MI 48824
FINANCIAL AID
MICHIGAN STATE UNIVERSITY POLICE DEPT 87 RED CEDAR RD                                                                                                 EAST LANSING       MI 48824‐1275

MICHIGAN STATE/LANSI                  7 OLDS HALL                          OFFICE OF EXECUTIVE PROGRAMS                                               EAST LANSING       MI 48824‐1047

MICHIGAN STATE/TROY                   811 W SQUARE LAKE RD                 MANAGEMENT EDUCATION CENTER                                                TROY               MI 48098‐2831

MICHIGAN STEAM EQUIPMENT INC          28200 ORCHARD LAKE RD STE 109                                                                                   FARMINGTON HILLS   MI 48334‐3761
MICHIGAN STEAM EQUIPMENT, INC         28200 ORCHARD LAKE RD STE 109                                                                                   FARMINGTON HILLS   MI 48334‐3761
MICHIGAN STEEL PROCESSING INC         ATTN: CORPORATE OFFICER/AUTHORIZED   36211 S HURON RD                                                           NEW BOSTON         MI 48164‐9513
                                      AGENT
MICHIGAN STRATEGIC FUND               ATTN: PRESIDENT                      PO BOX 30234                                                               LANSING            MI   48909‐7734
MICHIGAN STRATEGIC FUND               300 N WASHINGTON SQ                                                                                             LANSING            MI   48913‐0001
MICHIGAN STREET ORTH                  1300 MICHIGAN NE                                                                                                GRAND RAPIDS       MI   49503
MICHIGAN SURGICAL CE                  2075 COOLIDGE RD                                                                                                EAST LANSING       MI   48823‐1378
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MICHIGAN SURVEYORS SUPPLY INC       MIDWEST SURVEY SUPPLY INC      5700 AURELIUS ROAD                                          LANSING             MI 48911
MICHIGAN SWITCHGEAR SERVICE IN      990 W BEAVER RD                PO BOX 25                                                   AUBURN              MI 48611‐9735
MICHIGAN SWITCHGEAR SERVICE INC     990 W BEAVER RD                PO BOX 25                                                   AUBURN              MI 48611‐9735
MICHIGAN SWITCHGEAR SERVICE INC     990 W BEAVER UPDTE PER LTR                                                                 AUBURN              MI 48611
MICHIGAN TAREASURY                  ACCT OF ALVIN C BANKS          PO BOX 30158                                                LANSING             MI 48909‐7658
MICHIGAN TAREASURY                  ACCT OF S C SMITH              PO BOX 30158                                                LANSING             MI 48909‐7658
MICHIGAN TAX SVC                    ATTN: WILLIE BERNETT           2712 N SAGINAW ST # 213                                     FLINT               MI 48505‐4480
MICHIGAN TECH FUND                  MI TECHOLOGICAL UNIVERSITY     TECHNOLOGY & ECONOMIC     1400 TOWNSEND                     HOUGHTON            MI 49931
                                                                   DEVELOPM                  DRIVECHG8/10/7
MICHIGAN TECH UNIVERSITY            FINANCE OFFICE                 1400 TOWNSEND DR                                            HOUGHTON           MI   49931‐1200
MICHIGAN TECHNICAL SERVICES INC                                    32036 EDWARD STREET                                                            MI   48071
MICHIGAN TECHNOLOGICAL UNIVERS      1400 TOWNSEND DR                                                                           HOUGHTON           MI   49931‐1200
MICHIGAN TECHNOLOGICAL UNIVERSITY   1400 TOWNSEND DR               CASHIERS OFFICE                                             HOUGHTON           MI   49931‐1200

MICHIGAN TECHNOLOGICAL UNIVERSITY   1400 TOWNSEND DR                                                                           HOUGHTON           MI 49931‐1200

MICHIGAN TEST/STRLNG                42818 MOUND RD                                                                             STERLING HEIGHTS   MI   48314‐3256
MICHIGAN TESTING INSTITUTE          42818 MOUND RD                                                                             STERLING HEIGHTS   MI   48314‐3256
MICHIGAN TESTING INSTITUTE INC      42818 MOUND RD                                                                             STERLING HEIGHTS   MI   48314‐3256
MICHIGAN THEOLOGICAL SEMINARY       41550 E ANN ARBOR TRL                                                                      PLYMOUTH           MI   48170‐4308
MICHIGAN THERAPY INS                2117 E 11 MILE RD                                                                          WARREN             MI   48092‐3553
MICHIGAN TIRE RECYCLING INC         6550 GRATIOT AVE                                                                           DETROIT            MI   48207‐1811
MICHIGAN TOOLING MATERIALS LLC      PO BOX 1014                                                                                UNION LAKE         MI   48387‐1014
MICHIGAN TOOLING MATERIALS LLC      50217 SCHOENHERR RD                                                                        SHELBY TOWNSHIP    MI   48315‐3117
MICHIGAN TRACTOR & MACHINERY C      24800 NOVI RD                                                                              NOVI               MI   48375‐1624
MICHIGAN TRACTOR AND MACHINERY CO   MULLER MULLER RICHMOND HARMS   33233 WOODWARD AVE                                          BIRMINGHAM         MI   48009
                                    MYERS & SGROI PC
MICHIGAN TREASURY                   ACCT OF R M WALLACE            PO BOX 30158                                                LANSING            MI   48909‐7658
MICHIGAN TREASURY                   ACCT OF DANITA RODGERS         PO BOX 30158                                                LANSING            MI   48909‐7658
MICHIGAN TREASURY                   ACCT OF MARK A LESLIE          PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY                   ACCT OF MICHAEL J CRANMORE     PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY                   ACCT OF THEODORE HEMPHILL      PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY                   ACCT OF KATHY M LOVELESS       PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF EDDIE B JOHNSON        PO BOX 30158                                                LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF PETER G GIES           PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF JAMES C FORD           PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF JESSIE B HUBBARD       PO BOX 30158              LEVY#                             LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF PATRICK T GOGGINS      PO BOX 30158              LEVY#                             LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF ERNESTINE HUNTER       PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF REGENALD G FLETCHER    PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF TIMOTHY L GAUTHIER     PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF LESLIE D HALL          PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF GARY C FULKS           PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF JAMES B GRAHAM         PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF JOSEPH N JOHNSON       PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF LINDA W JENKINS        PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF CAROLYN R ETHERLY      PO BOX 30158              LEVY #                            LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF ALETA ONEAL            PO BOX 30158              LEVY#                             LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF MARK DENNIS            PO BOX 30158              LEVY#                             LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF ROBERT MC GEE          PO BOX 30158              LEVY#                             LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF ALAN H PETERSON        PO BOX 30158              LEVY#                             LANSING            MI   48909‐7658
MICHIGAN TREASURY COLL DIV          ACCT OF RONALD MC GINNIS II    PO BOX 30158              LEVY#                             LANSING            MI   48909‐7658
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Name                               Address1                       Address2               Address3     Address4         City      State Zip
MICHIGAN TREASURY COLL DIV         ACCT OF THOMAS PHIPPS          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF ALPHONSO DIAL          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF PAUL E ROMAIN          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF DAVID MC INTOSH        PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF WILFRED CASWELL JR     PO BOX 30158           LEVY #                        LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF JANICE MOODY           PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF GAYLEEN M NIKORIUK     PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF SANTONIA A MARTIN      PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF MARK NADOLSKI          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF DAVID W PARKER         PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF DEBORAH MOSLEY‐EADY    PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF ELOISE PASSMORE        PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF CAROL A PETERSON       PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF EDMUND F NOWOS         PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF ANTHONY PAIGE          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF JAMES A MC CURDY       PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF JAMES E PROVINS JR     PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF RAYMOND W MC MILLIAN   PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF CONRAD DAVILLIER       PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF LIONEL K PERKINS       PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF MICHAEL J CRANE        PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF PETER R SCHOLAR        PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF DANIEL J BICKNELL      PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF CHARLES E COLE         PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF RICHARD PORTER         PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF ARNETT RISON JR        PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF HOWARD L MARSHALL      PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF BARBARA J RODRIGUEZ    PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF JOHN D ODNEAL          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF MONTEZ CLARKE          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF CARMELITA MC KINNIS    PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF AARON WATKINS          PO BOX 30158           LEVY #                        LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF JOE BUTTS              PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF MARY E BURTON          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF AARON A HAMLER III     PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF KAREN L BOWIE          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF AARON HARRISON         PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF WILLIE B KING          PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACT D A KOOP                   PO BOX 30158                                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV         ACCT OF MOZELLA E BOGAN        PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL DIV LEVY#   PO BOX 30158                   ACCT OF JAMES C FORD                                 LANSING    MI 48909‐7658
MICHIGAN TREASURY COLL. DIV.       ACCT OF KIMBERLY L IKIET       PO BOX 30158           LEVY #                        LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF AARON R HARRISON       PO BOX 30158                                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF FRANK T GAUSE          PO BOX 30158                                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF CRAIG A LAWRENCE       PO BOX 30158                                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF LULA GAMBLE            PO BOX 30158           LEVY #                        LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF BRENDA HAIRSTON        PO BOX 30158                                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF WILLIE B KING          PO BOX 30158           LEVY #                        LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF CHERLYNE LAIRD‐GRANT   PO BOX 30158           LEVY#                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF DARRELL ISON           PO BOX 30158                                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF WILLIAM ABRAHAM JR     PO BOX 30158                                         LANSING    MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV      ACCT OF BRADLEY K WILSON       PO BOX 30158                                         LANSING    MI 48909‐7658
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Name                              Address1                        Address2                    Address3                 Address4         City              State Zip
MICHIGAN TREASURY COLLECT DIV     ACCT OF PHILIP BERNHART         PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECT DIV     ACCT OF MAURICE W ROSE          PO BOX 30158                LEVY#                                     LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTION      ACT OF V MRAK                   PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF MUFID ABU‐KAHRA         PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF CHARLES DAVENPORT       PO BOX 30158                LEVY #                                    LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF MOSES H CALDWELL        PO BOX 30158                LEVY #                                    LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF FRANCIS DURISH          PO BOX 30158                LEVY #                                    LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF DWIGHT E ANDERSON       PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF JOYCE A WILSON          PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF HENRY L TREADWELL       PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACT A BYRD                      PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACT OF J L BERRY                PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY COLLECTIONS     ACCT OF JAMES A GRANDBERRY      PO BOX 30158                                                          LANSING            MI 48909‐7658
MICHIGAN TREASURY DEPT            3060 W GRAND BLVD                                                                                     DETROIT            MI 48202‐6060
MICHIGAN TREASURY‐COLL DIV        ACCT OF KAREN C HINTON          PO BOX 30158                LEVY #                                    LANSING            MI 48909‐7658
MICHIGAN TREASURY‐COLL DIV        ACCT OF HAROLD L KNOX           PO BOX 30158                LEVY #                                    LANSING            MI 48909‐7658
MICHIGAN TREASURY‐COLL DIV        ACCT OF GLENN JETT              PO BOX 30158                LEVY #                                    LANSING            MI 48909‐7658
MICHIGAN TRUCKING ASSOCIATION     1131 CENTENNIAL WAY                                                                                   LANSING            MI 48917
MICHIGAN TRUCKING INTERSTATE      1505 E 11 MILE RD                                                                                     ROYAL OAK          MI 48067‐2027
MICHIGAN VALV/DET                 46417 CONTINENTAL DR                                                                                  CHESTERFIELD       MI 48047‐5251
MICHIGAN VALV/WARREN              27610 COLLEGE PARK DR                                                                                 WARREN             MI 48088‐4876
MICHIGAN VALVE & FITTING INC      46417 CONTINENTAL DR                                                                                  CHESTERFIELD       MI 48047‐5251
MICHIGAN VISION INST              4281 LENNON RD                                                                                        FLINT              MI 48507‐1024
MICHIGAN VOTERS AGAINST           LAWSUIT ABUSE ATTN C HADDEN     620 S CAPITOL                                                         LANSING            MI 48933
MICHIGAN WINDOW TINT‐FINE ARTS    ATTN: RANDY GEBHARDT            2905 W SAGINAW ST                                                     LANSING            MI 48917‐2334
MICHIGAN WOMENS FOUNDATION        18530 MACK ACE # 562                                                                                  GROSSE POINTE      MI 48236‐3254
MICHIGAN WOMENS STUDIES           213 W MAIN ST                                                                                         LANSING            MI 48933‐2315
ASSOCIATION INC
MICHIGAN WOMENS TAX ASSOCIATION   C/O VAMUM                       STE 350                     39500 HIGH POINTE                         NOVI              MI 48375‐5516
                                                                                              BOULEVARD
MICHIGAN WORKERS' COMPENSATION    7150 HARRIS DR.                                                                                       DIMONDALE         MI 48821
AGENCY
MICHIGAN WORKERS' COMPENSATION    7150 HARRIS DRIVE               PO BOX 30016                                                          LANSING           MI 48909
AGENCY
MICHIGAN, STATE OF
MICHIGAN, STATE OF                MICHAEL FILDEY                  ENHANCED SERVICES SECTION   MICHIGAN DEPARTMENT OF                    LANSING           MI 48918‐0001
                                                                                              STATE
MICHIKO IWAMOTO                   2745 MADRILLO CT                                                                                      PASADENA          CA   91107
MICHIKO NORRIS                    1357 E LONGVIEW DR                                                                                    WOODBRIDGE        VA   22191‐2301
MICHLEWICZ, EUGENE                7371 TRUMBLE RD                                                                                       SAINT CLAIR       MI   48079‐4318
MICHLING, RONALD D                12830 JONES ST                                                                                        CARLETON          MI   48117‐9767
MICHLONY, STELLA                  369 MUSKOKA                                                                                           COMMERCE TWP      MI   48382‐2567
MICHNA, EDWARD                    52 HIGHLAND AVE                                                                                       HIGHLAND PARK     NJ   08904‐3619
MICHNA, MARY E                    3638 MEADOW VIEW DR                                                                                   KOKOMO            IN   46902‐5070
MICHNA, MICHAEL J                 115 HAVERFORD ST                                                                                      NORTH BRUNSWICK   NJ   08902‐2454
MICHNA, MICHELLE M                11420 E 75TH ST                                                                                       INDIANAPOLIS      IN   46236
MICHNA, THOMAS
MICHNAL, ANNA S                   45238 YORKSHIRE DRIVE                                                                                 MACOMB            MI   48044
MICHNAY, BARBARA R                29420 LORAIN RD DOWN                                                                                  NORTH OLMSTED     OH   44070
MICHNAY, SUZANNE D                836 VERIDIAN WAY                                                                                      CARY              IL   60013‐3234
MICHNER, JERRY L                  3109 FIELD DR                                                                                         KOKOMO            IN   46902‐3917
MICHNER, PATRICIA K               3109 FIELD DR                                                                                         KOKOMO            IN   46902
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Name                              Address1                          Address2                          Address3   Address4         City              State Zip
MICHNIAK, ALBERT C                18519 MYRON ST                                                                                  LIVONIA            MI 48152‐3028
MICHNIAK, WILLIAM E               1103 WYCLIFFE PL                                                                                DAYTON             OH 45459‐1448
MICHNICK, THOMAS JOHN             BOONE ALEXANDRA                   205 LINDA DR                                                  DAINGERFIELD       TX 75638‐2107
MICHNIEWICZ STANLEY (ESTATE OF)   COONEY & CONWAY                   120 NORTH LASALLE STREET , 30TH                               CHICAGO             IL 60602
(641331)                                                            FLOOR
MICHNIEWICZ, EDWARD M             1120 W GENESEE AVE                                                                              FLINT             MI 48505‐1374
MICHNIEWICZ, JOSEPH
MICHNIEWICZ, STANLEY              COONEY & CONWAY                   120 NORTH LASALLE STREET, 30TH                                CHICAGO            IL   60602
                                                                    FLOOR
MICHNO, BERNARD E                 24142 GRAND TRAVERSE AVE                                                                        BROWNSTOWN        MI    48134‐8050
MICHNO, DAVID E                   7414 BLUE RIDGE TRL                                                                             WAPWALLOPEN       PA    18660‐1833
MICHNO, THOMAS J                  28 LOCUST ST                                                                                    ROCHESTER         NY    14613‐2544
MICHO, MARGARET R                 193 REVILO RD                                                                                   BAY CITY          MI    48706‐1431
MICHON BAILEY                     1300 KELLER PKWY APT 2212                                                                       KELLER            TX    76248‐1615
MICHON, DOLORES M                 26275 PATTOW ST                                                                                 ROSEVILLE         MI    48066‐3561
MICHON, JOHN L                    1989 KINGSTON DR                                                                                PINCKNEY          MI    48169‐8549
MICHON, LOUIS J                   115 W 2ND ST                                                                                    GAYLORD           MI    49735‐1335
MICHON, SANDRA J B                6424 HANOVER RD                                                                                 HANOVER           MI    49241‐9790
MICHONSKI, HELEN P                160 EVERGREEN LN                                                                                MERIDEN           CT    06450‐6816
MICHONSKI, JEFFREY J              53650 WELLINGTON DR                                                                             SHELBY TOWNSHIP   MI    48315‐2156
MICHOR PATRICIA (663910)          WISE & JULIAN                     PO BOX 1108                                                   ALTON             IL    62002‐1108
MICHOR, PATRICIA                  WISE & JULIAN                     156 N MAIN ST STOP 1                                          EDWARDSVILLE      IL    62025‐1972
MICHOWSKI, CLARENCE               23199 W LE BOST                                                                                 NOVI              MI    48375‐3410
MICHRINA, CARMEN T                3726 W ALLEN RD                                                                                 HOWELL            MI    48855‐8739
MICHRINA, CARMEN T                3726 WEST ALLEN ROAD                                                                            HOWELL            MI    48855‐8739
MICHTEL COMMUNICATION LLC         PO BOX 71544                                                                                    MADISON HTS       MI    48071‐0544
MICHUDA, MATTHEW BARRETT          3900 E 900 N                                                                                    OSSIAN            IN    46777‐9253
MICIANO, BRIAN                    428 BEDLINGTON DR                                                                               ROCHESTER HILLS   MI    48307‐3572
MICIC, STEVE S                    2680 N LAKE GEORGE RD                                                                           METAMORA          MI    48455‐9393
MICICH JOHN (340551)              EARLY & STRAUSS                   420 LEXINGTON AVE RM 840                                      NEW YORK          NY    10170‐0840
MICICH, JOHN                      EARLY & STRAUSS                   GRAYBAR BUILDING SUITE 840, 420                               NEW YORK          NY    10170
                                                                    LEXINGTON AVENUE
MICIELI, FRANK A                  503 PARKSIDE PL                                                                                 YOUNGSTOWN        NY    14174‐1231
MICIELI, FRANK ANTHONY            503 PARKSIDE PL                                                                                 YOUNGSTOWN        NY    14174‐1231
MICINSKI, ROBERT F                4093 SQUIRE HILL DR                                                                             FLUSHING          MI    48433‐3106
MICIOTTO JOE                      C/O GUY PORTER & MALOUF           4670 MCWILLIE DRIVE                                           JACKSON           MS    39206
MICIOTTO JOE (504967)             (NO OPPOSING COUNSEL)
MICIOTTO, JOE                     GUY WILLIAM S                     PO BOX 509                                                    MCCOMB            MS    39649‐0509
MICIUNAS, ANTANAS E               43100 TWELVE OAKS CRES STE 2033                                                                 NOVI              MI    48377
MICIUNAS, ERNA                    43100 TWELVE OAKS CRES STE 2033                                                                 NOVI              MI    48377
MICK A NAULIN FOUNDATION INC      N73 W15906 EDELWEISS LA                                                                         MENOMONEE FALLS   WI    53051
MICK DELMER (429456)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                   NORFOLK           VA    23510
                                                                    STREET, SUITE 600
MICK DERRIKS                      BRASSCHAATSTEENWEG 15             2920 KALMTHOUT
MICK JR, CHARLES W                4465 W 134TH ST                                                                                 CLEVELAND         OH    44135‐2905
MICK OLENDER CHEVROLET, LLC       125 POQUONOCK AVE                                                                               WINDSOR           CT    06095‐2539
MICK'S REPAIR                     98 NOBLES ST                                                                                    WORTHINGTON       MN    56187‐2955
MICK, ALICE S                     680 KENILWORTH AVE                                                                              SHEFFIELD LAKE    OH    44054‐1231
MICK, ALICE S                     680 KENNELWORTH AVENUE                                                                          SHEFFIELD LAKE    OH    44054‐1231
MICK, C A                         724 NICHOLS DR                                                                                  PONTIAC           MI    48326‐3826
MICK, CHRISTINA J                 4551 OLD KENNEDY ROAD                                                                           MILTON            WI    53563‐8972
MICK, CHRISTINE                   46915 FRANKS LN                                                                                 SHELBY TOWNSHIP   MI    48315‐5249
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Name                            Address1                         Address2                      Address3   Address4         City               State Zip
MICK, CLETIS C                  771 GOLF VILLA DRIVE                                                                       OXFORD              MI 48371‐3696
MICK, DAVID R                   5165 WHIPPLE LAKE RD                                                                       CLARKSTON           MI 48348‐3159
MICK, DEBRA J                   6775 CARPENTER RD                                                                          YPSILANTI           MI 48197‐8844
MICK, DELMER                    GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                                 STREET, SUITE 600
MICK, DENNIS T                  8322 N WHEATON RD                                                                          CHARLOTTE          MI   48813‐8629
MICK, DONALD D                  14703 ROSE CT                                                                              WARREN             MI   48088‐3321
MICK, DOUGLAS D                 2571 COLUMBUS DR W                                                                         HAMILTON           OH   45013‐4255
MICK, FLORENCE L                6019 SELFRIDGE BLVD.                                                                       LANSING            MI   48911
MICK, GAIL W                    9307 CHAPEL ST                                                                             PORTAGE            MI   49024‐6015
MICK, GARY L                    5218 EASTVIEW RD                                                                           CLARKSTON          MI   48346‐4102
MICK, J A                       8506 HENDERSON RD                                                                          GOODRICH           MI   48438‐9778
MICK, J ANDREW                  8506 HENDERSON RD                                                                          GOODRICH           MI   48438‐9778
MICK, JACKIE D.                 4012 BAYBROOK DR                                                                           WATERFORD          MI   48329‐3911
MICK, JAMES S                   314 VINONA TER                                                                             COMMERCE TWP       MI   48382‐3274
MICK, JASON                     2850 HEMMETER RD                                                                           SAGINAW            MI   48603‐3025
MICK, JEFFREY A                 641 E MADGE AVE                                                                            HAZEL PARK         MI   48030‐2088
MICK, JOAN                      6563 CLOVERTON DRIVE                                                                       WATERFORD          MI   48329‐1201
MICK, JOHN D                    771 GOLF VILLA DR                                                                          OXFORD             MI   48371‐3696
MICK, JOHNNIE S                 10393 VINTAGE DR                                                                           PENSACOLA          FL   32514‐7493
MICK, JOHNNY G                  14965 NE 154TH PL                                                                          FORT MC COY        FL   32134‐8058
MICK, KAREN E                   10393 VINTAGE DR                                                                           PENSACOLA          FL   32514‐7493
MICK, LAWRENCE A                2012 STEVENSON ST                                                                          FLINT              MI   48504
MICK, LELAND W                  2140 PERO LAKE RD                                                                          LAPEER             MI   48446‐9033
MICK, PANSY R                   2345 OXFORD RD APT 322                                                                     BERKLEY            MI   48072‐1756
MICK, PANSY R                   2345 OXFORD APT 322                                                                        BERKLEY            MI   48072‐1756
MICK, PATRICIA                  4415 HAVERLAND DR                                                                          HAMILTON           OH   45015‐1929
MICK, PENNY L                   615 W CLINTON ST                                                                           HOWELL             MI   48843‐1536
MICK, PENNY LYNN                615 W CLINTON ST                                                                           HOWELL             MI   48843‐1536
MICK, SCOTT R                   224 S CR 1250 W                                                                            PARKER CITY        IN   47368
MICK, STEVEN R                  421 GANDER CT                                                                              SPRING HILL        TN   37174‐7562
MICK, THOMAS H                  4902 FAIRVIEW AVE                                                                          NEWTON FALLS       OH   44444‐9419
MICK, WINDEL H                  4474 GRAND TETON DR                                                                        MEDINA             OH   44256‐7092
MICKALACKI, CAROLYN B           16179 MCINTIRE RD                                                                          COMINS             MI   48619‐9626
MICKALICH, MARY K               56249 PARKVIEW DR                                                                          SHELBY TOWNSHIP    MI   48316‐1002
MICKEL, ALBERT B                1517 OVERLAND                                                                              YOUNGSTOWN         OH   44511‐1681
MICKEL, ALBERT B                1517 OVERLAND AVE                                                                          YOUNGSTOWN         OH   44511‐1681
MICKEL, GREGORY A               636 LAURELWOOD DR SE                                                                       WARREN             OH   44484‐2419
MICKEL, LINDA V                 1517 OVERLAND AVE                                                                          YOUNGSTOWN         OH   44511‐1681
MICKEL, LINDA V                 1517 OVERLAND                                                                              YOUNGSTOWN         OH   44511‐1681
MICKEL, PHILLIP D               7593 BLACKSMITH CT                                                                         PLAINFIELD         IN   46168‐8909
MICKEL, RONALD L                943 BOWMAN ST                                                                              NILES              OH   44446‐2713
MICKEL‐BARNETT, MARY M          6850 ORINOCO CIR                                                                           BLOOMFIELD HILLS   MI   48301‐2935
MICKELETTO, DONNA R             8745 JAMES A REED RD             APT 2207                                                  RAYTOWN            MO   64138
MICKELINC, GARY P               2534 SHEPHERDSTOWN RD                                                                      MARTINSBURG        WV   25404‐0301
MICKELS, JOHN E                 1198 RIVIERA DR                                                                            FLINT              MI   48507‐3362
MICKELS, LESLIE C               113 COTTONWOOD DR                                                                          FRANKLIN           TN   37069
MICKELS, LINDSEY M              1198 RIVIERA DR                                                                            FLINT              MI   48507‐3362
MICKELSEN LAWRENCE H (439335)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                 STREET, SUITE 600
MICKELSEN, GRACE K              5704 VINCENT AVE S                                                                         MINNEAPOLIS        MN 55410
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Name                    Address1                       Address2                      Address3   Address4         City               State Zip
MICKELSEN, LAWRENCE H   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                       STREET, SUITE 600
MICKELSON CAROL         MICKELSON, CAROL               5908 PRAIRIE RIDGE DR                                     SHOREVIEW          MN   55126
MICKELSON ROSS          MICKELSON, ROSS                5901 CEDAR LAKE RD S                                      MINNEAPOLIS        MN   55416‐1488
MICKELSON ROSS          NEW LIFE FARMS LLLP            5901 CEDAR LAKE RD S                                      MINNEAPOLIS        MN   55416‐1488
MICKELSON, BEVERLY A    373 N 500 E                                                                              KOKOMO             IN   46901‐8874
MICKELSON, CORA K       3158 S COUNTY ROAD 400 E                                                                 KOKOMO             IN   46902
MICKELSON, DEBRA        25358 COUNTY ROAD 2                                                                      STAPLES            MN   56479‐3081
MICKELSON, DOROTHY      1046 S WASHINGTON ST                                                                     KOKOMO             IN   46902‐6345
MICKELSON, GLENN H      3800 CARMAN DR                 APT B321                                                  LAKE OSWEGO        OR   97035‐2464
MICKELSON, HAROLD A     9756 RUTHERFORD AVE                                                                      OAK LAWN           IL   60453‐2146
MICKELSON, JEFFERY W    585 W RIVERWOOD DR APT 211                                                               OAK CREEK          WI   53154‐7589
MICKELSON, JOANNE B     4210 MAPLE RD                                                                            EAST TROY          WI   53120
MICKELSON, JOHN         3669 S 77TH ST                                                                           MILWAUKEE          WI   53220‐1145
MICKELSON, JOHN N       DELPHI DELCO ELECTRONICS       PO BOX 9005 M/S DEE                                       KOKOMO             IN   46904
MICKELSON, LINDA S      5130 E 100 N                                                                             KOKOMO             IN   46901‐8312
MICKELSON, NANCY        50 CLEARVIEW DRIVE                                                                       PENFIELD           NY   14526‐2402
MICKELSON, RICHARD E    500 E 373 N                                                                              KOKOMO             IN   46901
MICKELSON, ROBERT W     5130 E 100 N                                                                             KOKOMO             IN   46901‐8312
MICKELSON, RONALD L     3158 SO CO RD 400 E                                                                      KOKOMO             IN   46902
MICKELSON, ROSS         HAUER FARGIONE LOVE LANDY &    5901 CEDAR LAKE RD S                                      MINNEAPOLIS        MN   55416‐1488
                        MCELLISTREM PA
MICKELSON, WILLIAM G    41 PIRATES CV                                                                            SPENCERPORT        NY   14559‐2507
MICKENS HERMAN          2075 E SPINNINGWHEEL LN                                                                  BLOOMFIELD         MI   48304‐1064
MICKENS JR, BURGESS L   20528 CHARLTON SQUARE          APT 108                                                   SOUTHVILLE         MI   48076
MICKENS JR, BURGESS L   20528 CHARLTON SQ APT 108                                                                SOUTHFIELD         MI   48076‐4011
MICKENS JR, ROBERT L    2002 SUMMIT CREEK DRIVE                                                                  STONE MTN          GA   30083‐6437
MICKENS MOSES JR        C/O EDWARD O MOODY P A         801 W 4TH ST                                              LITTLE ROCK        AR   72201
MICKENS, ALAN R         805 E BOGART RD                                                                          SANDUSKY           OH   44870‐6419
MICKENS, EULA M         2075 EAST SPINNINGWHEEL LANE                                                             VLOOMFIELDHILLS    MI   48304
MICKENS, EULA M         2075 E SPINNINGWHEEL LN                                                                  BLOOMFIELD HILLS   MI   48304‐1064
MICKENS, GLORIA J       14 HOUSMAN CT                                                                            MAPLEWOOD          NJ   07040‐3006
MICKENS, HENRY L        19726 SAINT MARYS ST                                                                     DETROIT            MI   48235‐2327
MICKENS, HERMAN L       2075 E SPINNINGWHEEL LN                                                                  BLOOMFIELD HILLS   MI   48304‐1064
MICKENS, JACQUELINE N   505 LINNAEUS AVE                                                                         FLINT              MI   48503‐3929
MICKENS, JIMMIE J       4155 DUNNINGTON DR                                                                       MARIETTA           GA   30062‐1034
MICKENS, JIMMIE W       1411 RYAN ST                                                                             FLINT              MI   48532‐3746
MICKENS, LAMARZETTA     52100 WESTGROVE EAST CT                                                                  MACOMB             MI   48042‐3528
MICKENS, LAURA S        1528 CARLISLE AVE.                                                                       GUNTERSVILLE       AL   35976‐1774
MICKENS, LEONORA L      10523 SKYLARK PL                                                                         RIVERVIEW          FL   33569‐8708
MICKENS, LOUISE         340 E LAKE AVE                                                                           RAHWAY             NJ   07065‐4942
MICKENS, MARTHA A       207 W LAKEWOOD DR                                                                        HATTIESBURG        MS   39402‐9410
MICKENS, MILDRED E      8525 E RADCLIFF AVE                                                                      DENVER             CO   80237‐2505
MICKENS, MOSES          MOODY EDWARD O                 801 W 4TH ST                                              LITTLE ROCK        AR   72201‐2107
MICKENS, NAOMI          319 LAWRENCE ST                                                                          SANDUSKY           OH   44870‐2317
MICKENS, PATRICIA A     1411 RYAN ST                                                                             FLINT              MI   48532
MICKENS, R V            505 LINNAEUS AVE                                                                         FLINT              MI   48503‐3929
MICKENS, ROBERT A       5280 INAH CT S                                                                           COLUMBUS           OH   43228‐2610
MICKENS, ROBERT L       PO BOX 1062                                                                              VALDOSTA           GA   31603‐1062
MICKENS, WESLEY         14626 STATE ST                                                                           DOLTON             IL   60419‐1515
MICKETTI II, KEN A      202 N FITCH ST                                                                           DURAND             MI   48429‐1451
MICKETTI, KENNETH A     202 N FITCH ST                                                                           DURAND             MI   48429‐1451
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Name                          Address1                               Address2                   Address3          Address4         City               State Zip
MICKETTI, KENNETH ANTHONY     202 N FITCH ST                                                                                       DURAND              MI 48429‐1451
MICKEWICH, FAY M              219 SCHRADE RD APT 1B                                                                                BRIARCLIFF MANOR    NY 10510‐1432
MICKEY BANKS                  14313 S HARVEY AVE                                                                                   OKLAHOMA CITY       OK 73170‐7278
MICKEY BARNHART               1179 ROAD 135                                                                                        CHEYENNE            WY 82009‐9426
MICKEY BERRY                  2801 BRANDON ST                                                                                      FLINT               MI 48503‐3468
MICKEY BLACKSTOCK             133 BRADFORD PL                                                                                      MIDWEST CITY        OK 73130‐3542
MICKEY BOOKER                 3570 TURNERTOWN RD                                                                                   NEEDHAM             AL 36915‐5280
MICKEY BRADSHAW               1069 CHATWELL DR                                                                                     DAVISON             MI 48423‐2703
MICKEY CALDERONE              10 SPRING VALLEY LN                                                                                  TRENTON             NJ 08638‐2012
MICKEY CARROLL                5021 LIN HILL DR                                                                                     SWARTZ CREEK        MI 48473‐8849
MICKEY CASTEEL                189 S MAIN ST                                                                                        WOODLAND            MI 48897‐9701
MICKEY CRAMER                 2090 CRAMERTOWN LOOP                                                                                 MARTINSVILLE        IN 46151‐8618
MICKEY CRIPPS                 217 KIRBY ST                                                                                         BAY CITY            MI 48706‐3841
MICKEY CROSS                  443 ROSEWAE AVE                                                                                      CORTLAND            OH 44410‐1307
MICKEY D WHITT                4214 WINONA ST                                                                                       FLINT               MI 48504‐2119
MICKEY DAKIN                  5723 STATE ROUTE 45                                                                                  BRISTOLVILLE        OH 44402‐9706
MICKEY DEEGAN                 43 MILDRED AVE                                                                                       EDGERTON            WI 53534‐1942
MICKEY DILS AUTOMOTIVE        11135 PELLICANO DR                                                                                   EL PASO             TX 79935‐5304
MICKEY DONALDSON              20977 HIGHWAY 84                                                                                     ENTERPRISE          AL 36330‐7639
MICKEY E COPPER               RT.2 DAILY ROAD                                                                                      EATON               OH 45320‐9802
MICKEY EASTER                 703 ROSEWOOD CIR                                                                                     MARSHALL            TX 75672‐5853
MICKEY GERLOFF
MICKEY GLASCO                 7367 NEW HAMPSHIRE DR                                                                                DAVISON            MI   48423‐9543
MICKEY GRAY                   3304 ASHLEY DR                                                                                       ORION              MI   48359‐1102
MICKEY HARRIS                 3014 IDLEWOOD AVE                                                                                    YOUNGSTOWN         OH   44511‐3136
MICKEY HARRIS                 3014 IDLEWOOD AVE                                                                                    YOUNGSTOWN         OH   44511‐3136
MICKEY HART                   1127 N LEEDS ST                                                                                      KOKOMO             IN   46901‐2627
MICKEY HOUSE                  NIX, PATTERSON & ROACH LLP             GM BANKRUPTCY DEPARTMENT   205 LINDA DRIVE                    DAINGERFIELD       TX   75638
MICKEY HOVIOUS                9021 W BASE LINE RD                                                                                  PARAGON            IN   46166‐9405
MICKEY J CURTIS               610 FRASER ST                                                                                        SAGINAW            MI   48602‐1361
MICKEY J LOVELY               8385 HENDRICKSON RD                                                                                  MIDDLETOWN         OH   45044
MICKEY J SAXBURY              786 ALT BLVD                                                                                         GRAND ISLAND       NY   14072‐2448
MICKEY JONES                  3427 MODAUS RD SW                                                                                    DECATUR            AL   35603‐4259
MICKEY KIZER                  710 DEERWOOD DR                                                                                      DEFIANCE           OH   43512‐8126
MICKEY KLUDING                33125 DAVID DR                                                                                       SHAWNEE            OK   74804‐3411
MICKEY L BLACKSTOCK           133 BRADFORD PL                                                                                      OKLAHOMA CITY      OK   73130‐3542
MICKEY L CROSS                443 ROSEWAE AVE.                                                                                     CORTLAND           OH   44410‐1307
MICKEY L DAKIN                5723 S.R. 45, N.W.                                                                                   BRISTOLVILLE       OH   44402‐9706
MICKEY L FORMAN               2505 TANK ROAD                                                                                       TERRY              MS   39170
MICKEY L FORMAN               2505 TANK RD                                                                                         TERRY              MS   39170‐8394
MICKEY L FRENCH               2901 US ROUTE 40                                                                                     TIPP CITY          OH   45371
MICKEY LITTLE                 25958 COLGATE ST                                                                                     INKSTER            MI   48141‐3217
MICKEY LOVELY                 1800 DRAKE RD                                                                                        LEBANON            OH   45036‐8623
MICKEY MCKENZIE               908 COTTAGE AVE                                                                                      ANDERSON           IN   46012‐4045
MICKEY MCKONE                 8377 GALLANT FOX TRL                                                                                 FLUSHING           MI   48433‐8827
MICKEY MCNALL                 3719 DERBYSHIRE DR                                                                                   BRUNSWICK          OH   44212‐4112
MICKEY MILLER CHEVROLET LLC   869 BROAD ST                                                                                         WADSWORTH          OH   44281‐9001
MICKEY MITCHELL               612 TOM SMITH RD SW                                                                                  LILBURN            GA   30047‐2201
MICKEY MOUSE                  C/O BANK SARASIN‐RABO (ASIA) LIMITED   77 ROBINSON ROAD #31‐00                                                               06889

MICKEY NELMS
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Name                            Address1                             Address2                     Address3   Address4         City              State Zip
MICKEY R BURCHFIELD             C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                                HOUSTON            TX 77007
                                BOUNDAS LLP
MICKEY SAUM                     8372 MILLIGAN EAST RD                                                                         BURGHILL          OH   44404‐9729
MICKEY SAXBURY                  786 ALT BLVD                                                                                  GRAND ISLAND      NY   14072‐2448
MICKEY SCARBERRY                5672 IDELLA DR                                                                                GALLOWAY          OH   43119‐8995
MICKEY SMITH                    105 VILLAGE DR                                                                                HARTSELLE         AL   35640‐5976
MICKEY STROCK                   7965 W LINCOLN ST NE                                                                          MASURY            OH   44438‐9780
MICKEY STROCK                   C/O BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH   44236
MICKEY TANNEHILL                2515 S OHIO ST APT 410                                                                        SALINA            KS   67401‐7892
MICKEY THOMPSON                 BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS        OH   44236
MICKEY TURNER                   30548 FORT HAMPTON ST                                                                         ARDMORE           TN   38449‐3231
MICKEY WHITEAKER                4411 OLDFIELD DR                                                                              ARLINGTON         TX   76016‐6228
MICKEY WHITT                    4214 WINONA ST                                                                                FLINT             MI   48504‐2119
MICKEY WILCOX                   7735 ELLIS RD                                                                                 MILLINGTON        MI   48746‐9484
MICKEY WOLFF                    4978 SE DAVID WAY                                                                             PRINEVILLE        OR   97754‐8833
MICKEY'S TEXTILES INC           ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 2980                                              GREENVILLE        SC   29602‐2980
                                AGENT
MICKEY'S TROPHY & SIGN SHOP     444 FRONT ST                                                                                  LAUREL            MS   39440‐3902
MICKEY, JUDY A                  159 UPPER HILLSIDE DR                                                                         BELLBROOK         OH   45305‐2122
MICKEY, JUNE                    5019 SOUTHVIEW DR                                                                             ANDERSON          IN   46013‐4855
MICKEY, LYNN E                  1856 COUNTRYSIDE DR                                                                           AUSTINTOWN        OH   44515‐5570
MICKEY, MAGDALENE Y             2597 REEVES RD NE APT 8                                                                       WARREN            OH   44483‐4351
MICKEY, MAGDALENE Y             2597 REEVES RD NE                    APT. #8                                                  WARREN            OH   44483‐4483
MICKEY, MARJORIE                196 IVES RD                                                                                   MASON             MI   48854‐9240
MICKEY, MILTON A                29141 SHERRY AVE                                                                              MADISON HTS       MI   48071‐4442
MICKEYS TEXTILES INC            PO BOX 2980                                                                                   GREENVILLE        SC   29602‐2980
MICKEYS TROPHY SHOP             444 FRONT ST                                                                                  LAUREL            MS   39440‐3902
MICKI ASHER
MICKI SEMROC                    156 MAPLE AVE                                                                                 CORTLAND          OH   44410‐1223
MICKI TINSLEY                   18325 SUMPTER RD                                                                              BELLEVILLE        MI   48111‐8723
MICKIE CLOUSE                   13410 HAWKINS RD                                                                              HUBBARD LAKE      MI   49747‐9516
MICKIE HOWARD                   1135 FAIRWAY DR                                                                               PONTIAC           MI   48340‐1480
MICKIE PETERSON                 1306 CHANDLER ST                                                                              DANVILLE          IL   61832‐2525
MICKIE WORTHLEY, PERS REP FOR   C/O BRAYTON PURCELL                  222 RUSH LANDING RD                                      NOVATO            CA   94948‐6169
RICHARD D WORTHLY SR
MICKIE, ALICE                   2326 PARK AVE                                                                                 NORTH RIVERSIDE   IL   60546‐1348
MICKIEWICZ, BONNIE L            108 FORD RD                                                                                   MARQUETTE         MI   49855‐9428
MICKIEWICZ, DAVID R             7047 SMITH RD                                                                                 GAINES            MI   48436‐9750
MICKLASH, GORMAN R              4107 CLIPPERT ST                                                                              DETROIT           MI   48210‐2820
MICKLASH, MARSHALL G            3446 CICOTTE ST                                                                               DETROIT           MI   48210‐2921
MICKLE JR, MELVIN               173 FINN CIR                                                                                  SAVANNAH          GA   31419‐8416
MICKLE LEE                      7059 E MOUNT MORRIS RD                                                                        OTISVILLE         MI   48463‐9420
MICKLE, DIANA L                 3400 GOVERNORS TRAIL                                                                          DAYTON            OH   45409‐1105
MICKLE, HELEN D                 PO BOX 127                                                                                    WINDFALL          IN   46076‐0127
MICKLE, JAMES A                 PO BOX 2374                                                                                   STAFFORD          VA   22555
MICKLE, JAMES A                 44 MINE RD STE 2 PMB 310             44 MINE ROAD, SUITE 2                                    STAFFORD          VA   22554‐7556
MICKLE, JAMES F                 2775 BULLIS DR                                                                                MARION            IA   52302‐9071
MICKLE, MATTIE J                1491 ILKA SWITCH                                                                              SEGUIN            TX   78155‐1535
MICKLE, ROBERT G                1117 SCOTT DR                                                                                 MYRTLE BEACH      SC   29577‐5321
MICKLER JR, HOWARD E            608 E PAYTON ST                                                                               GREENTOWN         IN   46936‐1345
MICKLER, CAROLYN E              3010 WATERFORD DR                                                                             TWINSBURG         OH   44087‐2690
MICKLER, DEBORAH L              3470 ALMERINDA DR                                                                             CANFIELD          OH   44406‐9203
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Name                     Address1                             Address2                     Address3                 Address4               City             State Zip
MICKLER, JAMES E         822 E VAILE AVE                                                                                                   KOKOMO            IN 46901
MICKLER, JAMES E         2506 N LOCKE ST                                                                                                   KOKOMO            IN 46901‐1516
MICKLER, RAYMOND A       PO BOX 283                                                                                                        PINETTA           FL 32350‐0283
MICKLER, SARAH LOUELLA   904 LEMAKA DR                                                                                                     HAHIRA            GA 31632‐1223
MICKLER, SHARON G        315 W HOFFER ST                                                                                                   KOKOMO            IN 46902
MICKLER, TIMOTHY A       3952 HAIGH RD                                                                                                     BEAVERTON         MI 48612‐8301
MICKLER, TIMOTHY R       3952 HAIGH RD                                                                                                     BEAVERTON         MI 48612‐8301
MICKLES, ANTHONY         APT 2087                             3625 WEST WALNUT HILL LANE                                                   IRVING            TX 75038‐4022
MICKLES, CAROLYN H       15818 E 14 MILE RD                                                                                                FRASER            MI 48026‐2077
MICKLES, CHARLES J       PO BOX 121 MICKLES                                                                                                NEWTONSVILLE      OH 45158
MICKLES, HERMAN L        5872 COPPER LAKE DR                                                                                               JACKSONVILLE      FL 32218
MICKLES, JOHNNY L        2500 AUDUBON RD                                                                                                   COLUMBUS          OH 43211
MICKLES, LINDA D         1332 BUCKINGHAM ST                                                                                                TOLEDO            OH 43607‐4362
MICKLES, LINDA DEAN      1332 BUCKINGHAM ST                                                                                                TOLEDO            OH 43607‐4362
MICKLES, MICHAEL L       APT 4                                360 BATAVIA STREET                                                           TOLEDO            OH 43620‐1220
MICKLES, NORMAN W        3128 ENRIGHT ST                                                                                                   TOLEDO            OH 43608‐2132
MICKLES, VALERIE         405 FOUNTAIN AVE                                                                                                  DAYTON            OH 45405
MICKLEY, DAVID F         609 W LACLEDE ST                                                                                                  MALDEN            MO 63863‐2152
MICKLEY, DAVID W         1341 SECRETARIAT LN                                                                                               INDIANAPOLIS      IN 46217‐6802
MICKLEY, JAMES R         4630 GADSDEN ST                                                                                                   INDIANAPOLIS      IN 46241‐5612
MICKLEY, KEVIN D         2910E‐630N                                                                                                        HUNTINGTON        IN 46750
MICKLOSH, ANN E          13816 HAMILTON AVE                                                                                                RIVERVIEW         MI 48193
MICKLUS, JOHN V          734 SUTHERLAND AVE                                                                                                JANESVILLE        WI 53545‐1628
MICKLUS, THOMAS P        1100 SENTINEL DR                                                                                                  JANESVILLE        WI 53546‐1798
MICKOL TAFE              28358 HARTLEY RD                                                                                                  BELOIT            OH 44609‐9429
MICKOOL, HELEN A         20109 RUNNYMEDE ST                                                                                                CANOGA PARK       CA 91306‐2958
MICKS, WINIFRED W        611 S FERN AVE                                                                                                    ELMHURST           IL 60126‐4143
MICKUAL MILLER           1495 ALLEN SPRINGS RD                                                                                             ALVATON           KY 42122‐8701
MICKUEL FAIR             39 IRIS AVE                                                                                                       INDIANAPOLIS      IN 46241‐1317
MICKULIN, DOLLIE S       33285 MILL RACE CIR                                                                                               WESTLAND          MI 48185‐1486
MICKUS, FELIX            16025 W SENTINEL DR                                                                                               SUN CITY WEST     AZ 85375‐6682
MICKUS, JASON P          8217 E COLDWATER RD                                                                                               DAVISON           MI 48423‐8965
MICKUS, JASON PAUL       8217 E COLDWATER RD                                                                                               DAVISON           MI 48423‐8965
MICKY BROUSSARD
MICKY ETNIER             1128 LAKESIDE DR                                                                                                  JACKSBORO        TN 37757
MICKY HANNAH             170 MCCARTHY LN                                                                                                   SAGINAW          MI 48609‐5032
MICKY HESS               2501 W RIGGIN RD                                                                                                  MUNCIE           IN 47304‐1018
MICKY KENTROS
MICKY VESNIC             4184 FRANKLIN PARK DR                                                                                             STERLING HTS     MI 48310‐1937
MICLEA, JEFF L           906 PIERCE AVE                                                                                                    TORONTO          OH 43964‐1052
MICO IND/GRAND RAPID     1425 BURLINGAME AVE SW                                                                                            GRAND RAPIDS     MI 49509‐1059
MICO INDUSTRIES INC      BRIAN THEBO                          1425 BURLINGAME AVE, S.W.                             TORSAS, 38522 SWEDEN
MICO INDUSTRIES INC      1425 BURLINGAME AVE SW                                                                                            GRAND RAPIDS      MI 49509‐1059
MICO INDUSTRIES, INC.    BRIAN THEBO                          1425 BURLINGAME AVE, S.W.                             TORSAS, 38522 SWEDEN
MICO, EDWARD             22700 BARTON ST                                                                                                   ST CLAIR SHRS    MI 48081‐2551
MICOCCI, FRANCES S       574 BUCK DR                                                                                                       FAIRLESS HILLS   PA 19030‐3704
MICOLI, RUSSELL A        7148 FIELDCREST DR                                                                                                LOCKPORT         NY 14094‐1614
MICOLITTI ROBERTO        VIA TOSCANA 1                                                                                                     LATINA              04100
MICOMONACO, DAWN         6275 KYLE COURT                                                                                                   MIDDLETOWN       OH 45042‐8931
MICONI, GAIL M           124 JASMINE BAY                                                                                                   CHAPIN           SC 29036‐9129
MICOS LTD                C/O MERRILL LYNCH INTERNATIONAL BANK ATTN TAU DEPARTMENT          2 RAFFLES LINK, MARINA   SINGAPORE 039392
                         LIMITED                                                           BAYFRONT
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Name                              Address1                            Address2                     Address3                   Address4                City              State Zip
MICOU, MONNETTE E                 607 HOWLAND WILSON RD SE                                                                                            WARREN             OH 44484‐2511
MICOU, REGINALD K                 3787 HILLSIDE DR                                                                                                    YPSILANTI          MI 48197‐3735
MICOVIC, MIROSLAV                 18421 LANGE ST                                                                                                      LANSING             IL 60438‐3305
MICRO AIR INC                     7132 LAKEVIEW PKWY W DR                                                                                             INDIANAPOLIS       IN 46268
MICRO ANALYTICAL INC              11521 W NORTH AVE                                                                                                   MILWAUKEE          WI 53226‐2127
MICRO CENTER COMPUTER EDUCATION   1555 W LANE AVE                                                                                                     COLUMBUS           OH 43221‐3955

MICRO CENTRIC CORP                25 S TERMINAL DR                                                                                                    PLAINVIEW         NY   11803‐2310
MICRO COMPU/COLUMBIA              408 S. JAMES M. CAMPBELL BLVD.                                                                                      COLUMBIA          TN   38401
MICRO CONT/W BLOOMFI              4970 COUNTRYSIDE DR                                                                                                 WEST BLOOMFIELD   MI   48323‐2790
MICRO CONTROL INC                 1307 SOUTER DR                                                                                                      TROY              MI   48083‐2840
MICRO CORPORATION
MICRO CRAFT                       NILES ACQUISITION CORP              41107 JO DR                                                                     NOVI              MI   48375‐1920
MICRO CRAFT INC                   15656 HWY 84 COUNTY RD 242                                                                                          QUITMAN           GA   31643
MICRO CRAFT/MI                    41107 JO DR                                                                                                         NOVI              MI   48375‐1920
MICRO CRAFT/NOVI                  41129 JO DR                                                                                                         NOVI              MI   48375‐1920
MICRO CRAFT/SOUTHFLD              24901 NORTHWESTERN                  SUITE 314C                                                                      SOUTHFIELD        MI   48075
MICRO CRANE INC                   3650 CORAL RIDGE DR                 STE 108                                                                         CORAL SPRINGS     FL   33065‐2559
MICRO CRANE INC                   3650 CORAL RIDGE DR STE 108                                                                                         CORAL SPRINGS     FL   33065‐2559
MICRO DOCTOR INC                  4195 PARKMAN RD NW                                                                                                  WARREN            OH   44481‐9141
MICRO EDIT LLC                    31739 NORRID CIR                                                                                                    WARREN            MI   48092‐5005
MICRO EPSILON                     3200 GLEN ROYAL RD STE 110                                                                                          RALEIGH           NC   27617‐7419
MICRO GAUGE INC                   PETE HUSTON                         7350 KENSINGTON RD           DIVISION OF MUELLER IND.                           BRIGHTON          MI   48116‐8354
MICRO GAUGE INC                   PETE HUSTON                         DIVISION OF MUELLER IND.     7350 KENSINGTON RD.                                LAGRANGE          GA   30240
MICRO GAUGE INC.                  PETE HUSTON                         7350 KENSINGTON RD           DIVISION OF MUELLER IND.                           BRIGHTON          MI   48116‐8354
MICRO GAUGE INC.                  PETE HUSTON                         DIVISION OF MUELLER IND.     7350 KENSINGTON RD.                                LAGRANGE          GA   30240
MICRO HEAT INC                    SEYBURN KAHN GINN BESS HOWARD AND   2000 TOWN CTR STE 1500                                                          SOUTHFIELD        MI   48075‐1148
                                  DEITCH PC
MICRO HEAT INC                    2000 TOWN CTR STE 1500                                                                                              SOUTHFIELD        MI   48075‐1148
MICRO INSTRUMENT CORP             1199 EMERSON ST                     PO BOX 60619                                                                    ROCHESTER         NY   14606‐3038
MICRO INSTRUMENTS                 1199 EMERSON ST                     PO BOX 60619                                                                    ROCHESTER         NY   14606‐3038
MICRO LINE PLASTICS INC.          ANNE ALLEN                          996 EAST MANDOLINE                                                              AURORA            OH   44202
MICRO LINE/MADISON                996 E MANDOLINE AVE                                                                                                 MADISON HEIGHTS   MI   48071‐1435
MICRO MATERIALS LIMITED           MEASURING NANOTECHNOLOGY            UNIT 3 WREXHAM TECHNOLOGY PK LL13 7YP WREXHAM           UNITED KINGDOM GREAT
                                                                                                                              BRITAIN
MICRO MATERICALS LTD              WILLOW HOUSE YALE BUSINESS VIL      ELLICE WAY                                              WREXHAM CLWYD GB LL13
                                                                                                                              7YL GREAT BRITAIN
MICRO MOTION INC                  7070 WINCHESTER CIR                                                                                                 BOULDER           CO   80301‐3506
MICRO MOTION INC                  PO BOX 70707                                                                                                        CHICAGO           IL   60673‐0001
MICRO PATENT LLC                  250 DODGE AVE                                                                                                       EAST HAVEN        CT   06512
MICRO PHOTONICS INC               PO BOX 3129                                                                                                         ALLENTOWN         PA   18106‐0129
MICRO PHOTONICS INC               6 MORGAN STE 156                                                                                                    IRVINE            CA   92618‐1922
MICRO PLASTICS INC                HWY 178 N                                                                                                           FLIPPIN           AR   72634
MICRO PLATERS & PAINT SUPPLY      G3149 S DORT HWY                                                                                                    BURTON            MI   48529‐1017
MICRO PLATERS SALES HP            221 VICTOR ST                                                                                                       HIGHLAND PARK     MI   48203‐3131
MICRO PRE/BERNE                   525 BERNE ST                                                                                                        BERNE             IN   46711‐1246
MICRO QUICK SERVICES, INC .       PO BOX 6270                                                                                                         ORANGE            CA   92863‐6270
MICRO SEC/118 ALTO                118 ALTO ST                                                                                                         SAN RAFAEL        CA   94901‐4768
MICRO SECURITY DEVICES INC        2171 FRANCISCO BLVD E STE G                                                                                         SAN RAFAEL        CA   94901‐5509
MICRO SOFTWARE TRAINING CENTER    801 S WAVERLY RD STE 300                                                                                            LANSING           MI   48917‐4200
MICRO SURFACE FINISHING PRODS     1217 W 3RD ST                       PO BOX 818                                                                      WILTON            IA   52778‐7600
MICRO SYSTEMS INC                 31032 LOUISE CT                                                                                                     WARREN            MI   48088‐2005
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Name                                Address1                         Address2                        Address3   Address4               City                  State Zip
MICRO TARGET MEDIA US INC           425 BLOOR ST E STE 350                                                      TORONTO CANADA ON
                                                                                                                M4W 3B4 CANADA
MICRO‐LINE PLASTICS INC             ANNE ALLEN                       996 EAST MANDOLINE                                                AURORA                OH 44202
MICRO‐POISE MEASUREMENT SYSTEM      1624 ENGLEWOOD AVE               PO BOX 1869                                                       AKRON                 OH 44305‐4205
MICRO‐POISE MEASUREMENT SYSTEMS

MICRO‐POISE MEASUREMENT SYSTEMS      1624 ENGLEWOOD AVE              PO BOX 1869                                                       AKRON                 OH 44305‐4205
LLC
MICRO‐POISE MEASUREMENT SYSTEMS      1731 THORNCROFT DR                                                                                TROY                   MI 48084‐4613
LLC
MICRO‐POISE MEASUREMENT SYSTEMS      DEPT 7059                                                                                         CAROL STREAM           IL   60122‐7059
LLC
MICRO‐POISE MEASUREMENT SYSTEMS      1624 ENGLEWOOD AVE              FMLY AKRON STANDARD AN ITW CO                                     AKRON                 OH 44305‐4205
LLC
MICRO‐REALITY RACING BY DAN          7528 ROSSLYN AVE                                                                                  INDIANAPOLIS           IN   46240‐3151
MICRO‐SURFACE FINISHING PRODUCTS INC 1217 W 3RD ST                                                                                     WILTON                 IA   52778‐7600

MICRO‐SYSTEMS INC                   31032 LOUISE CT                                                                                    WARREN                 MI 48088‐2005
MICROBEADS AS                       VESTVOLVEIEN 8A                                                             SKEDSMOKORSET N‐2019
                                                                                                                NORWAY
MICROCAT                            19557 MACK AVE STE C                                                                               GROSSE POINTE WOODS    MI 48236
MICROCODE INC                       2899 E BIG BEAVER RD STE 254                                                                       TROY                   MI 48083
MICROCODE INCORPORATED
MICROCODE/STERLING H                39393 VAN DYKE AVENUE                                                                              STERLING HEIGHTS       MI   48313
MICROCODE/TROY                      2899 E. BIG BEAVER ROAD          SUITE #254                                                        TROY                   MI   48083
MICROCOMPUTER TECHNOLOGY INST       17164 BLACKHAWK BLVD                                                                               FRIENDSWOOD            TX   77546‐3423
MICROFILM DOCUMENT SVCS DBA         PO BOX 4608                      LEGAL PHOTOSTAT SERVICES                                          COVINA                 CA   91723‐4608
MICROGENICS                         46360 FREMONT BLVD                                                                                 FREMONT                CA   94538‐6406
MICROGENICS CORP                    46360 FREMONT BLVD                                                                                 FREMONT                CA   94538‐6406
MICROHARD TECHNOLOGIES INC          300 W ADAMS ST STE 825                                                                             CHICAGO                IL   60606‐5182
MICROHEAT                           38755 HILLS TECH DR                                                                                FARMINGTN HLS          MI   48331‐3408
MICROHEAT                           NO ADVERSE PARTY
MICROHEAT INC                       38755 HILLS TECH DR                                                                                FARMINGTN HLS          MI   48331‐3408
MICROHEAT INC                       JOE TRUBAK                       38755 HILLS TECH DR                                               MONROE                 MI   48162
MICROHEAT INC                       27611 HALSTED RD                                                                                   FARMINGTON HILLS       MI   48331‐3511
MICROHEAT/FARMINGTON                27611 HALSTED RD                                                                                   FARMINGTON HILLS       MI   48331‐3511
MICROKNOWLEDGE INC                  845 CENTRAL AVE STE 3                                                                              ALBANY                 NY   12206‐1504
MICROMASH                           6402 S TROY CIR                                                                                    CENTENNIAL             CO   80111‐6424
MICROMATIC                          FRMLY MICRO‐PRECISION OPERATIO   4970 MOMENTUM PLACE 1/3/06 MR                                     CHICAGO                IL   60689‐0001

MICROMATIC LLC                      525 BERNE ST                                                                                       BERNE                 IN    46711‐1246
MICROMATIC T/BERNE                  525 BERNE ST                                                                                       BERNE                 IN    46711‐1246
MICROMEDEX                          PO BOX 95334                                                                                       CHICAGO               IL    60694‐5334
MICROMERITICS ANALYTICAL SERVICES   1 MICROMERITICS DR                                                                                 NORCROSS              GA    30093‐1819
MICROMERITICS ANALYTICAL SERVICES   4356 COMMUNICATIONS DR                                                                             NORCROSS              GA    30093‐2901
MICROMERITICS INSTRUMENT CORP       1 MICROMERITICS DR                                                                                 NORCROSS              GA    30093‐1819
MICROMERITICS INSTRUMENT CORP       4356 COMMUNICATIONS DR                                                                             NORCROSS              GA    30093‐2901
MICRON ELEC/NAMPA                   900 E KARCHER RD                                                                                   NAMPA                 ID    83687‐3045
MICRON LASER TECHNOLOGY INC         22750 NW WAGON WAY STE A                                                                           HILLSBORO             OR    97124
MICRON MANUFACTURING INC            C/O FIRST BUSINESS CAPITAL       186 COMMERCE DR                                                   LAGRANGE              OH    44050‐8926
MICRON MANUFACTURING INC            186 COMMERCE DR                                                                                    LAGRANGE              OH    44050‐8926
MICRON TECHNOLOGY INC               8000 S FEDERAL WAY                                                                                 BOISE                 ID    83716‐9632
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Name                                 Address1                           Address2                     Address3                  Address4                City               State Zip
MICRON U S A INC                     4936 KENDRICK ST SE                                                                                               GRAND RAPIDS        MI 49512‐9648
MICRON‐USA INC                       5150 FALCON VIEW AVE SE                                                                                           KENTWOOD            MI 49512‐5450
MICROOFFICE CO LTD                   1589 SORYONG‐DONG                  KUNSAN SI JEOLLABUK DO                                 KUNSAN CHONBUK KR 573
                                                                                                                               400 KOREA (REP)
MICROSCOPE CO/MEDINA                 2411 MEDINA ROAD (RT. 18)                                                                                         MEDINA             OH 44256
MICROSCOPICAL OPTICAL CONSULTI       164 ROUTE 303                      PO BOX 586                                                                     VALLEY COTTAGE     NY 10989‐1924
MICROSCOPICAL OPTICAL CONSULTING INC PO BOX 586                                                                                                        VALLEY COTTAGE     NY 10989‐0586

MICROSCOPTICS INC                 8960 BUCKHORN LAKE RD                                                                                                HOLLY              MI 48442‐8018
MICROSHRED DOCUMENT DESTRCUTION & 10909 WILLOWBRAE AVE                                                                                                 CHATSWORTH         CA 91311‐1488
RECYCLING INC
MICROSOFT (MSN)                   ONE MICROSOFT WAY                                                                                                    REDMOND            WA   98052
MICROSOFT (MSN)                   KEITH LORIZIO                         ONE MICROSOFT WAY                                                              REDMOND            WA   98052
MICROSOFT CORP                    MICROSOFT TECHNET                     PO BOX 848536                                                                  DALLAS             TX   75284‐8536
MICROSOFT CORP                    1 MICROSOFT WAY                       PO BOX 97017                                                                   REDMOND            WA   98052
MICROSOFT CORP                    1000 TOWN CTR STE 2000                                                                                               SOUTHFIELD         MI   48075‐1236
MICROSOFT CORP                    501 CORPORATE CENTRE DR                                                                                              FRANKLIN           TN   37067
MICROSOFT CORP                    ALLAN SEGAL                           1 MICROSOFT WAY              PO BOX 97017                                      REDMOND            WA   98052
MICROSOFT CORPORATION
MICROSOFT CORPORATION             ONE MICROSOFT WAY                                                                                                    REDMOND            WA 98052
MICROSOFT CORPORATION             MICROSOFT TECHNET                     PO BOX 848536                                                                  DALLAS             TX 75284‐8536
MICROSOFT GLOBAL FINANCE LTD      C/O PIMCO                             SANDY BENSON                 VICE PRESIDENT LEGAL &    840 NEWPORT CENTER      NEWPORT BEACH      CA 92660
                                                                                                     COMPLIANCE                DRIVE
MICROSOFT LICENSING, GP              ATTN: DEPT 551, VOLUME LICENSING   6100 NEIL RD STE 210                                                           RENO               NV   89511‐1157
MICROSOFT TECH/BOULD                 PO BOX 51812                                                                                                      BOULDER            CO   80322‐1812
MICROSOFT/ST LOUIS                   1 CITYPLACE DR STE 570                                                                                            SAINT LOUIS        MO   63141‐7067
MICROSTAQ                            4150 FREIDRICH LN STE A                                                                                           AUSTIN             TX   78744‐1052
MICROSTAQ INC                        4150 FREIDRICH LN STE A                                                                                           AUSTIN             TX   78744‐1052
MICROSTAQ INC.                       4150 FREIDRICH LN STE A                                                                                           AUSTIN             TX   78744‐1052
MICROSTAQ, INC.                      SANDEEP KUMAR                      4150 FREIDRICH LN STE A                                                        AUSTIN             TX   78744‐1052
MICROSTAQ, INC.                      MICROSTAQ, INC.                    SANDEEP KUMAR                4150 FREIDRICH LN STE A                           AUSTIN             TX   78744‐1052
MICROSTAT LABORATORIES               RIVERS EDGE TECHNICAL SERVICES     3612 3RD PL NW                                                                 ROCHESTER          MN   55901‐7556
MICROSTRAIN INC                      459 HURRICANE LANE                 STE 102                                                                        WILLISTON          VT   05495‐2082
MICROSTRATEGY INC                    1861 INTERNATIONAL DR                                                                                             MCLEAN             VA   22102
MICROSTRATEGY INC                    5933 RIVER RUN CT.                                                                                                CANTON             MI   48187
MICROSTRATEGY LIMITED                ST. MARTIN'S PLACE                 51 BATH R.                                             SLOUGH MB SL1 3UF
                                                                                                                               CANADA
MICROSTRATEGY SERVICES CORPORATION

MICROSTRATEGY SERVICES CORPORATION ST. MARTIN'S PLACE                   51 BATH R.                                             SLOUGH MB SL1 3UF
                                                                                                                               CANADA
MICROSTRATEGY SERVICES CORPORATION 1861 INTERNATIONAL DRIVE                                                                                            MCLEAN             VA 22102

MICROSYSTEMS INC                     1834 RIDGE AVE                     PO BOX 7                                                                       EVANSTON           IL   60201
MICROTECH/BOOTHWYN                   1420 CONCHESTER HWY                                                                                               GARNET VALLEY      PA   19061‐2103
MICROTECHNOLOGIES INC                44 WASHINGTON AVE STE 8            PO BOX 8126                                                                    BERLIN             CT   06037‐2290
MICROTROL INC                        6 BUCKINGHAM DR                                                                                                   SUGAR GROVE        IL   60554‐4201
MICROVIEW USA INC                    420 W WTER ST #287                                                                                                MARINE CITY        MI   48039‐1690
MICROWARE EDUCATION CENTERS          REGISTRATION                       34119 W 12 MILE RD STE 355                                                     FARMINGTON HILLS   MI   48331‐5644
MICROWAVE ENGINEERING CORP           1551 OSGOOD ST                                                                                                    NORTH ANDOVER      MA   01845‐1014
MICS MICROCHEMICAL SYSTEMS SA        RUE DE PORCENA 15                                                                         CORCELLES CH 2035
                                                                                                                               SWITZERLAND
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Name                                   Address1                          Address2                        Address3                   Address4                 City              State Zip
MICS MICROCHEMICAL SYSTEMS SA          15 RUE DE PORCENA CORCELLES                                                                  CORMONDRECHE
                                                                                                                                    NEUCHATEL 2035
                                                                                                                                    SWITZERLAND
MICSAK, EDWARD A                       1038 SPRINGWOOD DR                                                                                                    HEMLOCK           MI    48626‐9396
MICU, DUMITRU                          31634 ECKSTEIN ST                                                                                                     WARREN            MI    48092‐1621
MICU, FILOMENA                         575 LENOX ST                                                                                                          PONTIAC           MI    48340‐3013
MICUCCI, DONALD S                      9200 CANDLE RIDGE CT                                                                                                  DAYTON            OH    45458‐6020
MICUE, ROBERT R                        PO BOX 378661                                                                                                         KEY LARGO         FL    33037‐8661
MICULKA JR, RUDOLPH                    6456 BALDWIN RD                                                                                                       SWARTZ CREEK      MI    48473‐9104
MICULKA NICHOLAS                       2290 N CENTER RD                                                                                                      BURTON            MI    48509‐1003
MICULKA, CLIFTON
MICULKA, HELEN S                       1411 NORTH WATER STREET                                                                                               OWOSSO             MI   48867‐1271
MICULKA, HOLLY                         1127 STONE ARCH                                                                                                       NEW BRAUNFELS      TX   78130‐2445
MICULKA, JULIA                         1520 CEDARWOOD DR APT 211                                                                                             FLUSHING           MI   48433
MICULKA, NICHOLAS F                    2290 N CENTER RD                                                                                                      BURTON             MI   48509‐1003
MICULKA, RICHARD A                     1411 N WATER ST                                                                                                       OWOSSO             MI   48867‐1271
MICULLA, TIMOTHY
MICUS, PAUL T                          1224 HIGHLAND AVE                                                                                                     BERWYN            IL    60402‐1122
MID ‐ MISSOURI K‐9 UNIT                SEARCH & RESCUE                   524 S BERNHARDT AVE                                                                 GERALD            MO    63037‐2355
MID AMERICA AUTO AUCTION               3515 NEWBURG RD                                                                                                       LOUISVILLE        KY    40218‐3332
MID AMERICA CABLING & COMMS            ATTN: ROGER SCHULTZ               3160 FAIRFAX TRFY                                                                   KANSAS CITY       KS    66115‐1306
MID AMERICA CINE SUPPORT INC           1750 AUSTIN DR                                                                                                        TROY              MI    48083‐2203
MID AMERICA CLUTCH INC                 315 MECHANIC ST                   PO BOX 806                                                                          EMPORIA           KS    66801‐3933
MID AMERICA FREIGHT SYSTEMS LTD        PO BOX 7213                                                                                  ANCASTER CANADA ON L9G
                                                                                                                                    3L4 CANADA
MID AMERICA MAT/HERN                   PO BOX 547                                                                                                            HERNANDO          MS 38632‐0547
MID AMERICA MOTORWORKS                 #1 MID AMERICA PLACE                                                                                                  EFFINGHAM         IL 62401
MID AMERICA MOTORWORKS                 TIM CURTIS *MAIL TO POB& CC       ONE MID AMERICA PLACE, NORTH                                                        EFFINGHAM         IL 62401
                                                                         ROUTE 45
MID AMERICA MOTORWORKS
MID AMERICA OVERSEAS INC               PO BOX 1546 DEPT 72                                                                                                   BENSENVILLE        IL   60106
MID AMERICA PATHOLOG                   1801 SENATE BLVD STE 745                                                                                              INDIANAPOLIS       IN   46202‐1238
MID AMERICA PHYSIATR                   PO BOX 2746                                                                                                           SHAWNEE MISSION    KS   66201‐2746
MID AMERICA SEAL & GASKET INC          4221 JAMES P COLE BLVD CB                                                                                             FLINT              MI   48505
MID AMERICAN ENERGY                                                      3990 SOUTH GAGE DRIVE                                                                                  IA   51106
MID AMERICAN ENERGY                                                      2701 5TH AVE                                                                                           IL   61201
MID AMERICAN INSPECTION SERVICES INC   1206 EFFIE ROAD                                                                                                       GAYLORD            MI   49735

MID AMERICAN NATIONAL BANK & TRUST     PO BOX 6626                       519 MADISON AVE 10TH FLOOR                                                          TOLEDO            OH 43612‐0626
CO
MID AMERICAN PRODUCTS                  PO BOX                                                                                                                DETROIT            MI   48204
MID AMERICAN PRODUCTS                  VINCE HOLMES                      1623 WILDWOOD AVE                                                                   JACKSON            MI   49202‐4041
MID AMERICAN PRODUCTS INC              PO BOX 983                        1623 WILDWOOD AVE                                                                   JACKSON            MI   49204‐0983
MID ATLANTIC COCA COLA BOTTLING                                          5401 SEMINARY RD                                                                                       VA   22311
COMPANY.INC
MID BUS INC                            PO BOX 2946                                                                                                           HUTCHINSON         KS 67504‐2946
MID CENTURY INS CO                     A/S/O TIMOTHY NEMETH 09 FA 7949   JOYCE M GOLDSTEIN               ALTSCHUL GOLDSTEIN &       17 BATTERY PLACE SUITE   NEW YORK           NY 10004
                                                                                                         GELLER, LLP                711
MID CENTURY INS CO A/S/O ELIZABETH     JOYCE GOLDSTEIN                   ALTSCHUL GOLDSTEIN GELLER LLP   17 BATTERY PLACE SUITE 711                          NEW YORK           NY 10004
BARNES 09 FA 7942
MID CENTURY INSURANCE COMPANY OF       CULP & LITTLE                     12345 JONES RD STE 190                                                              HOUSTON            TX   77070‐4959
TEXAS
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Name                                  Address1                           Address2                Address3      Address4         City              State Zip
MID CITIES LINKS INCORPORATED         PO BOX 2167                                                                               COPPELL            TX 75019‐8167
MID CITIES NEUROLOGY                  1305 AIRPORT FWY STE 205                                                                  BEDFORD            TX 76021‐6606
MID CITIES SERVICE CENTER             219 W EULESS BLVD                                                                         EULESS             TX 76040‐4590
MID CITY NAT BANK CHICAGO TRUSTRUST   7400 W CERMAK RD                   7400 BLDG ACCT                                         NORTH RIVERSIDE     IL 60546‐1404
2763 & A CASTELBUONO
MID COAST STUDIO INC                  2616 INDUSTRIAL ROW DR                                                                    TROY              MI   48084‐7036
MID CON FREIGHT SYSTEMS INC           14147 POPLAR ST                                                                           SOUTHGATE         MI   48195‐2517
MID CONTINENT COLLEGE                 99 E POWELL RD                                                                            MAYFIELD          KY   42066‐9007
MID CONTINENT                         MATT NELSON                        3600 MINNESOTA DR                                      MINNEAPOLIS       MN   55435
MEDIA/COMMUNICATIONS
MID CONTINENT SPRING CO               PO BOX 649                                                                                HOPKINSVILLE      KY   42241‐0649
MID EAST ACCEPTANCE CORP              ATTN RUBY NETERCUT                 3015 S MEMORIAL DR                                     GREENVILLE        NC   27834‐6224
MID FLORIDA FEDERAL CREDIT UN         FOR DEPOSIT IN THE ACCOUNT OF      3008 S FLORIDA AVE      B SCHNEIDER                    LAKELAND          FL   33803‐4035
MID HAMMOND JR                        706 MCKOY ST                                                                              DECATUR           GA   30030‐4844
MID JOHNSON                           1178 COUNTY ROAD 644                                                                      BROSELEY          MO   63932‐8110
MID MICHIGAN AUTO PARTS INC           2153 RICHFIELD RD                                                                         FLINT             MI   48506‐2344
MID MICHIGAN AUTO PARTS INC                                              2153 RICHFIELD RD                                                        MI   48506
MID MICHIGAN CARDIOLOGY ASSOC         ATTN: ETH RAJ                      1165 S LINDEN RD                                       FLINT             MI   48532‐3406
MID MICHIGAN CHIROPR                  120 COMMERCE CT                                                                           GLADWIN           MI   48624‐1220
MID MICHIGAN COMMUNITY COLLEGE        1375 S CLARE AVE                                                                          HARRISON          MI   48625‐9442
MID MICHIGAN HEARING                  WILLIAM CRANMORE                   1000 N WASHINGTON AVE                                  LANSING           MI   48906
MID MICHIGAN HEARING SERVICES         WILLIAM CRANMORE                   1000 N WASHINGTON AVE                                  LANSING           MI   48906
MID MICHIGAN HEART G                  3520 OKEMOS RD PMB 179                                                                    OKEMOS            MI   48864
MID MICHIGAN HOME BUYERS              PO BOX 356                                                                                WILLIAMSTON       MI   48895‐0356
MID MICHIGAN ICE CO                   1755 YEAGER ST                                                                            PORT HURON        MI   48060‐2594
MID MICHIGAN MFG & MAINTENANCEINC     5282 E MOUNT MORRIS RD                                                                    MOUNT MORRIS      MI   48458‐9730

MID MICHIGAN NEUROLO                  3061 CHRISTY WAY                                                                          SAGINAW            MI 48603
MID MICHIGAN NEUROLOGICAL CONS        ACCT OF MAURINE H MUHAMMAD
MID MICHIGAN ORTHOPA                  830 W LAKE LANSING RD STE 190                                                             EAST LANSING      MI   48823‐6371
MID MICHIGAN ORTHOPE                  PO BOX 820                                                                                OWOSSO            MI   48867‐0820
MID MICHIGAN PAIN MANAGEMENT          1230 S LINDEN RD # 4                                                                      FLINT             MI   48532‐3424
MID OHIO EDUCATIONAL SERVICE CENTER   890 W 4TH ST STE 100                                                                      MANSFIELD         OH   44906‐2561

MID OHIO EXPRESS                      226 DRAKEWOOD RD                                                                          WESTERVILLE       OH   43081‐3024
MID OHIO ORTHOPA                      51 S SOUDER AVE                    STEPHEN N KOLODZIK MD                                  COLUMBUS          OH   43222‐1517
MID OHIO PACKAGING                    2135 INNOVATION DR                                                                        MARION            OH   43302‐8261
MID SIZE DIVISION                     BOSTON EDISON COMPANY              800 BOYLSTON ST                                        BOSTON            MA   02199
MID SOUTH BATTERY                     2715 HIGHWAY 1 S                                                                          GREENVILLE        MS   38701‐8345
MID SOUTH EXPRESS DELIVERY INC        PO BOX 16901                                                                              MEMPHIS           TN   38186‐0901
MID SOUTH MET/MRFRSB                  742 OLD SALEM RD                                                                          MURFREESBORO      TN   37129‐4979
MID SOUTH PAC/CULLMA                  1622 22ND ST SE                                                                           CULLMAN           AL   35055‐5458
MID SOUTH PACKAGING LLC.              3958 PAYSPHERE CIR                                                                        CHICAGO           IL   60674‐0039
MID SOUTH PACKAGING LLC.              1622 22ND ST SE                                                                           CULLMAN           AL   35055‐5458
MID SOUTH ROOF SYSTEMS INC            PO BOX 45717                                                                              ATLANTA           GA   30320‐5717
MID SOUTH TRANSPORT                   2765 PROFIT DR                                                                            MEMPHIS           TN   38132‐2202
MID STATE CARTAGE INC                 110 RAY RICHARDSON ROAD                                                                   TONICA            IL   61370
MID STATE IND/BX1177                  PO BOX 1177                                                                               BIG RAPIDS        MI   49307‐0177
MID STATE MAT/GRBLNC                  536 PERRY RD STE 4                                                                        GRAND BLANC       MI   48439‐1483
MID STATE MATERIAL HANDLING INC       8226 S SAGINAW ST STE B                                                                   GRAND BLANC       MI   48439‐2493
MID STATES AUD/KANSA                  2800 MCGEE TRFY                                                                           KANSAS CITY       MO   64108‐3121
MID STATES BOLT & SCREW CO            4126 SOMERS DR                                                                            BURTON            MI   48529‐2279
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Name                                  Address1                             Address2                       Address3                   Address4             City                State Zip
MID STATES DEVELOPMENT CO             C/O MILLER VALENTINE GROUP           PO BOX 744                                                                     DAYTON               OH 45401‐0744
MID STATES EXPRESS INC                540 W GALENA BLVD                                                                                                   AURORA                IL 60506
MID STATES RUBBER PRODUCTS INC        1230 S RACE ST                                                                                                      PRINCETON            IN 47670‐3034
MID STATES SUPPLY CO INC              1716 GUINOTTE AVE                                                                                                   KANSAS CITY          MO 64120‐1424
MID STATES/PRINCETON                  1230 S RACE ST                                                                                                      PRINCETON            IN 47670‐3034
MID TECH INC                          175 DINO DR                                                                                                         ANN ARBOR            MI 48103‐9502
MID TENNESSEE BONE A                  1050 N JAMES CAMPBELL BLVD STE 200                                                                                  COLUMBIA             TN 38401‐2754
MID TENNESSEE BONE AND JOINT          1050 N JAMES CAMPBELL BLVD STE 200                                                                                  COLUMBIA             TN 38401‐2754
MID TENNESSEE BONE AND JOINT          1223 AND ONE HALF TROTWOOD AVE                                                                                      COLUMBIA             TN 38401
MID THUMB SERVICES                    PO BOX 331                                                                                                          MARLETTE             MI 48453‐0331
MID THUMB SERVICES INC                6359 EUCLID ST                       PO BOX 331                                                                     MARLETTE             MI 48453‐1426
MID TN BONE/COLUMBIA                  1223 1‐2 TROTWOOD AVENUE                                                                                            COLUMBIA             TN 38401
MID TOWN AUTOMOTIVE (31203)           2510 JULIANN RD                                                                                KELOWNA BC V1Z 2M4
                                                                                                                                     CANADA
MID WEEK‐US DEPT OF COMMERCE          C/O VENICE HARRIS                    MINORITY BUSI DEVELOP AGENCY   1401 CONSTITUTION AVE NW                        WASHINGTON          DC 20230‐0001
                                                                                                          R5089
MID WEST CONV/KANSAS                  2601 MID‐WEST DRIVE                                                                                                 KANSAS CITY         KS   66112
MID WEST FAB/AMANDA                   313 N JOHNS ST                                                                                                      AMANDA              OH   43102‐9002
MID WEST FABRICATING CO               313 N JOHNS ST                                                                                                      AMANDA              OH   43102‐9002
MID WESTERN CAR CARRIERS              ED VAUGHN                            2010 TELEVISION PL                                                             KANSAS CITY         MO   64126‐3093
MID‐ALABAMA CORVETTE CLUB             C/O HOKE GRAHAM                      7012 COUNTRY CLUB LN           RMIT 07/13/06 LC                                LEEDS               AL   35094‐3851
MID‐AMERICA CARDIOLO                  PO BOX 804446                                                                                                       KANSAS CITY         MO   64180‐4446
MID‐AMERICA CHRISTIAN UNIVERSITY      3500 SW 119TH ST                                                                                                    OKLAHOMA CITY       OK   73170‐4500
MID‐AMERICA CLUTCH INC                315 MECHANIC ST                                                                                                     EMPORIA             KS   66801‐3933
MID‐AMERICA GOLF CAR TRANSPORTINC     PO BOX 26641                                                                                                        OVERLAND PARK       KS   66225‐6641

MID‐AMERICA PTS DIST                  4274 PILOT DR                                                                                                       MEMPHIS             TN 38118‐6932
MID‐AMERICA YOUTH AVIATION            PO BOX 681118                                                                                                       KANSAS CITY         MO 64168‐1118
ASSOCIATION
MID‐AMERICAN ENERGY                   MARY ANN JOHNSON                     111 SOUTH 103RD STREET                                                         OMAHA               NE
MID‐AMERICAN PRO/MI                   1623 WILDWOOD AVE                                                                                                   JACKSON             MI   49202‐4041
MID‐AMERICAN PRODUCTS INC             1623 WILDWOOD AVE                                                                                                   JACKSON             MI   49202‐4041
MID‐ARK AUTO AUCTION                  8700 HIGHWAY 70                                                                                                     NORTH LITTLE ROCK   AR   72117‐9567
MID‐ATLANTIC CNC INC                  260 EVANS WAY                                                                                                       BRANCHBURG          NJ   08876‐3767
MID‐ATLANTIC SECURITY SOLUTIONS INC   100 NAAMANS RD STE 2F                                                                                               CLAYMONT            DE   19703‐2736

MID‐CENTURY INSURANCE COMPANY      ROBERTS, MATEJCZYK AND ITA CO LPA       5045 PARK AVE. W               SUITE 2B                                        SEVILLE             OH   44273
MID‐CONTINENT SPRING               PO BOX 649                                                                                                             HOPKINSVILLE        KY   42241‐0649
MID‐CONTINENT SPRING CO            PO BOX 649                                                                                                             HOPKINSVILLE        KY   42241‐0649
MID‐CONTINENT SPRING CO            1500 INDUSTRIAL DR                                                                                                     HOPKINSVILLE        KY   42240‐4934
MID‐CONTINENT SPRING CO            HAL LEDUC                               INDUSTRIAL DRIVE                                                               HOPKINSVILLE        KY   42240
MID‐CONTINENT SPRING CO.           HAL LEDUC                               PO BOX 649                                                                     HOPKINSVILLE        KY   42241‐0649
MID‐CONTINENT SPRING CO.           HAL LEDUC                               INDUSTRIAL DRIVE                                                               DETROIT             MI   48211
MID‐GEORGIA COURIER, INC.          FRIDAY LARRY                            1564                                                                           ATLANTA             GA
MID‐MICHIGAN FABRICATION INC       5801 W MOUNT HOPE                                                                                                      LANSING             MI   48917
MID‐MICHIGAN MFG & MAINTENANCE     5282 E MOUNT MORRIS RD                                                                                                 MOUNT MORRIS        MI   48458‐9730
MID‐MICHIGAN MFG & MAINTENANCE INC 5282 E MOUNT MORRIS RD                                                                                                 MOUNT MORRIS        MI   48458‐9730

MID‐MICHIGAN MRI INC                  271 WOODLAND PASS STE 120                                                                                           EAST LANSING        MI   48823‐2060
MID‐MICHIGAN PEDIATRIC DNTSTRY        1125 S LINDEN RD # 800                                                                                              FLINT               MI   48532‐4069
MID‐MICHIGAN PHYSICI                  2510 KERRY ST STE 200                                                                                               LANSING             MI   48912‐3671
MID‐MICHIGAN SERVICE                  2153 RICHFIELD RD                                                                                                   FLINT               MI   48506‐2344
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Name                                   Address1                             Address2                    Address3   Address4         City            State Zip
MID‐MISSOURI MOTORS, INC.              JULIAN HARRISON                      617 OLD ROUTE 66                                        SAINT ROBERT     MO 65584‐4632
MID‐MISSOURI MOTORS, INC.              617 OLD ROUTE 66                                                                             SAINT ROBERT     MO 65584‐4632
MID‐OHIO HEART CLINI                   PO BOX 1257                                                                                  MANSFIELD        OH 44901‐1257
MID‐PLAINS FARM EQUIPMENT
MID‐PLAINS FARM EQUIPMENT              GANZ ROMATZKE & STAMM PC LLO         317 W 11TH STREET PO                                    KEARNEY         NE 68848
MID‐SOUTH ACCESSORY CENTER
MID‐SOUTH BUS CENTER                                                        3590 MANSON PIKE                                                        TN 37129
MID‐SOUTH CHEVROLET, BUICK, PONTIAC    12465 HWY 64                                                                                 SOMERVILLE      TN

MID‐SOUTH CHEVROLET, BUICK, PONTIAC,   12465 US HIGHWAY 64                                                                          SOMERVILLE      TN 38068‐6029
LLC
MID‐SOUTH CHEVROLET, BUICK, PONTIAC,   STEVE ARMSTRONG                      12465 US HIGHWAY 64                                     SOMERVILLE      TN 38068‐6029
LLC
MID‐SOUTH SURGEONS P                   1222 TROTWOOD AVE STE 211                                                                    COLUMBIA        TN   38401‐6405
MID‐STATE AUTOMOTIVE, INC.             GREGORY TUCKER                       1947 SUTTON LN                                          SUTTON          WV   26601‐9538
MID‐STATE BOLT & SCREW CO.             MARK SOMMERS                         1611 N GRAND RIVER AVE.                                 TROY            MI   48083
MID‐STATE CHEVROLET & BUICK            1947 SUTTON LN                                                                               SUTTON          WV   26601‐9538
MID‐STATE DOOR INC                     ATTN: GARY SISTO                     505 FACTORY AVE                                         SYRACUSE        NY   13208‐1440
MID‐STATE DOOR INC                     ATTN: UDO H JOHN                     602 CAMBRIDGE AVE                                       SYRACUSE        NY   13208‐1413
MID‐STATE INDUSTRIAL LEASING I         1601 HULTS DR                        PO BOX 98                                               EATON RAPIDS    MI   48827‐9500
MID‐STATE INDUSTRIAL LEASING INC       1601 HULTS DR                        PO BOX 98                                               EATON RAPIDS    MI   48827‐9500
MID‐STATE INDUSTRIAL LEASING INC       1601 HULTS DR                                                                                EATON RAPIDS    MI   48827‐9500
MID‐STATE MATERIAL HANDLING IN         8226 S SAGINAW ST STE B                                                                      GRAND BLANC     MI   48439‐2493
MID‐STATE TRUCK SERVICE, INC.          2100 E 29TH ST                                                                               MARSHFIELD      WI   54449
MID‐STATE TRUCK SERVICE, INC.          JON VANDEHEY                         2100 E 29TH ST                                          MARSHFIELD      WI   54449
MID‐STATES BOLT & SCREW CO             360 S OUTER DR                                                                               SAGINAW         MI   48601‐6372
MID‐STATES BOLT & SCREW CO             MARK SOMMERS                         1611 N GRAND RIVER AVE.                                 TROY            MI   48083
MID‐STATES BOLT & SCREW CO             SCOTT SOMERS                         4126 SOMERS DR                                          BURTON          MI   48529‐2279
MID‐STATES BOLT & SCREW CO             SCOTT SOMERS                         4126 SOMERS DRIVE                                       LANSING         MI   48917
MID‐STATES BOLT & SCREW CO             4126 SOMERS DR                       PO BOX 2050                                             FLINT           MI   48529‐2279
MID‐STATES BOLT & SCREW CO             ATTN: SCOTT SOMERS                   PO BOX 2050                                             FLINT           MI   48501‐2050
MID‐STATES BOLT & SCREW CO.            SCOTT SOMERS                         4126 SOMERS DRIVE                                       LANSING         MI   48917
MID‐STATES BOLT & SCREW CO.            SCOTT SOMERS                         4126 SOMERS DR                                          BURTON          MI   48529‐2279
MID‐STATES DEVELOPMENT CO              C/O MILLER VALENTINE PROP MGMT       PO BOX 744                  LTD                         DAYTON          OH   45401‐0744
MID‐STATES FIBERGLASS SERVICE          PO BOX 10238                                                                                 FORT WAYNE      IN   46851‐0238
MID‐STATES PACKAGING                   NICK TOMASEK                                                                                                 OH   43333
MID‐STATES PACKAGING INC               12163 STATE ROUTE 274                                                                        LEWISTOWN       OH   43333‐9707
MID‐STATES RUB/ROCHE                   PO BOX 80429                         C/O R.A. SMITH AND ASSOC.                               ROCHESTER       MI   48308‐0429
MID‐STATES RUBBER                                                           C/O R.A. SMITH AND ASSOC.                                               MI   48308
MID‐STATES RUBBER CO                   ROBERT A. ROSHEK                     1230 S RACE ST                                          PRINCETON       IN   47670‐3034
MID‐STATES RUBBER CO                   ROBERT A. ROSHEK                     1230 RACE ST                                            MOUNTAIN HOME   AR
MID‐STATES RUBBER PRODUCTS INC         1230 S RACE ST                       PO BOX 370                                              PRINCETON       IN   47670‐3034
MID‐STATES RUBBER PRODUCTS INC         ROBERT A. ROSHEK                     1230 RACE ST                                            MOUNTAIN HOME   AR
MID‐STATES RUBBER PRODUCTS INC         ROBERT A. ROSHEK                     1230 S RACE ST                                          PRINCETON       IN   47670‐3034
MID‐STATES RUBBER PRODUCTS INC         1230 S RACE ST                                                                               PRINCETON       IN   47670‐3000
MID‐STATES SUPPLY CO INC               1716 GUINOTTE AVE                    PO BOX 410558                                           KANSAS CITY     MO   64120‐1424
MID‐TENNESSEE BONE & JOINT CLINIC PC   1050 N JAMES CAMPBELL BLVD STE 200                                                           COLUMBIA        TN   38401‐2754

MID‐WAY BUICK, PONTIAC, GMC TRUCK      120 RTE 108                                                                                  SOMERSWORTH     NH 03878

MID‐WAY BUICK, PONTIAC, GMC, INC.      ROBERT DEMERS                        120 RTE 108                                             SOMERSWORTH     NH 03878
MID‐WAY CHEVROLET, INC.                CARLTON NIXON                        131 NC HIGHWAY 32 N                                     SUNBURY         NC 27979
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Name                             Address1                               Address2                      Address3   Address4                City               State Zip
MID‐WAY CHEVROLET, INC.          131 NC HIGHWAY 32 N                                                                                     SUNBURY             NC 27979
MID‐WEST ELECTRIC CO.                                                   3828 PINEMONT DR                                                                     TX 77018
MID‐WEST FABRICATING CO          313 N JOHNS ST                         PO BOX 218                                                       AMANDA              OH 43102‐9002
MID‐WEST FABRICATING CO          JAN WOJCIECHOWSKI                      313 N JOHNS ST                                                   AMANDA              OH 43102‐9002
MID‐WEST FABRICATING CO          JAN WOJCIECHOWSKI                      313 N. JOHNS STREET                                              MELROSE PARK         IL 60160
MID‐WEST FABRICATING CO          PAUL STRIGLE                           313 N. JOHN ST                                                   AMANDA              OH 43102
MID‐WEST FABRICATING CO          313 N JOHNS ST                                                                                          AMANDA              OH 43102‐9002
MID‐WEST FABRICATING CO.         JAN WOJCIECHOWSKI                      313 N JOHNS ST                                                   AMANDA              OH 43102‐9002
MID‐WEST FABRICATING CO.         JAN WOJCIECHOWSKI                      313 N. JOHNS STREET                                              MELROSE PARK         IL 60160
MID‐WEST INSTRUMENT              6500 DOBRY DR                                                                                           STERLING HEIGHTS    MI 48314‐1424
MID‐WEST METAL PRODUCTS          PO BOX 1031                                                                                             MUNCIE              IN 47308‐1031
MID‐WEST METAL PRODUCTS CO INC   4211 E JACKSON ST                      PO BOX 1031                                                      MUNCIE              IN 47303‐4423
MID‐WEST PODIATRY &              PO BOX 419074                                                                                           CREVE COEUR         MO 63141‐9074
MID‐WESTERN CAR CARRIERS         2010 TELEVISION PL                                                                                      KANSAS CITY         MO 64126‐3093
MID‐WESTERN CAR CARRIERS INC     ED VAUGHN                              2010 TELEVISION PL                                               KANSAS CITY         MO 64126‐3093
MID/LUX CAR GROUP ‐ FLINT        400 S SAGINAW ST                                                                                        FLINT               MI 48557‐0001
MIDA COPENHAVER                  5908 BLUE RIDGE CUT OFF                                                                                 RAYTOWN             MO 64133‐3728
MIDA, CHARLES C                  44705 TYLER RD                                                                                          BELLEVILLE          MI 48111‐1309
MIDAC CORPORATION                130 MCCORMICK AVE STE 111                                                                               COSTA MESA          CA 92626‐3316
MIDAMERICA NAZARENE COLLEGE      2030 E COLLEGE WAY                                                                                      OLATHE              KS 66062‐1851
MIDAS                            12391 PEMBROKE RD                                                                                       PEMBROKE PINES      FL 33025‐1723
MIDAS AUTO SERVICE               11211 100 ST                                                                    GRANDE PRAIRIE AB T8V
                                                                                                                 6P7 CANADA
MIDAS AUTO SERVICE EXPERTS       1722 S MARKET ST                                                                                        CHATTANOOGA        TN   37408‐1833
MIDAS AUTO SERVICE EXPERTS                                              8158 RITCHIE HWY                                                                    MD   21122
MIDAS AUTO SVC EXPERTS           1111 W ALEXIS RD                                                                                        TOLEDO             OH   43612‐4203
MIDAS AUTO SYSTEMS/MUNCIE        1901 N DR MARTIN LUTHER KING JR BLVD                                                                    MUNCIE             IN   47303‐5098

MIDAS FORD                       18085 ILENE ST                                                                                          DETROIT            MI 48221‐2436
MIDAS MUFFLER                    1110 FLORENCE ST.                                                               LONDON ON N5W 2M9
                                                                                                                 CANADA
MIDAS MUFFLER                    73 WHARNCLIFFE RD. N.                                                           LONDON ON N6H 2A5
                                                                                                                 CANADA
MIDAS MUFFLER                    1009 WONDERLAND RD. S.                                                          LONDON ON N6K 3S4
                                                                                                                 CANADA
MIDAS MUFFLER                    615 WELLINGTON RD                                                               LONDON ON N6C 4R3
                                                                                                                 CANADA
MIDAS MUFFLER ACORN AUTO         32601 VAN DYKE AVE                                                                                      WARREN             MI   48093‐1040
MIDAS OF FLEMINGTON              221 US HIGHWAY 202/31                                                                                   FLEMINGTON         NJ   08822‐1717
MIDAS WHITLEY                    9325 S PALMER RD                                                                                        DAYTON             OH   45424‐1621
MIDASH, JOHN R                   20919 BAYSIDE AVE                                                                                       ROCK HALL          MD   21661‐1440
MIDBO, JON A                     775 BIRCH TREE LN                                                                                       ROCHESTER HILLS    MI   48306‐3306
MIDBON, JAMES W                  5719 OAK CHAPEL CT                                                                                      FORT WAYNE         IN   46845‐1860
MIDBROOK INC                     2080 BROOKLYN RD                       CANE SYSTEMS INC                                                 JACKSON            MI   49203‐4744
MIDBROOK INC                     2080 BROOKLYN RD                                                                                        JACKSON            MI   49203‐4744
MIDBROOK INC                     2080 BROOKLYN RD                       PO BOX 867                                                       JACKSON            MI   49203‐4744
MIDBROOK INC                     ATTN: CORPORATE OFFICER/AUTHORIZED     2080 BROOKLYN RD                                                 JACKSON            MI   49203‐4700
                                 AGENT
MIDCALF JR, WALTER A             4961 BAKER RD                                                                                           BRIDGEPORT         MI 48722‐9564
MIDCALF KENNETH W SR (429457)    GLASSER AND GLASSER                    CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510
                                                                        STREET, SUITE 600
MIDCALF, DALE L                  2414 ANDERSON RD                                                                                        SAGINAW            MI 48603‐7802
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Name                                Address1                         Address2                        Address3   Address4               City               State Zip
MIDCALF, KENNETH W                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                       NORFOLK             VA 23510‐2212
                                                                     STREET, SUITE 600
MIDCAP CREDIT LLC                   12170 GLOBE ST                   12/21/06 AM                                                       LIVONIA            MI 48150‐1167
MIDCAP CREDIT LLC                   25225 EASY ST                                                                                      WARREN             MI 48089‐4133
MIDCAP RANDY (446352)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                     NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
MIDCAP, RANDY                       BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                      NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
MIDCO SLING & CABLE CO              9101 W CARPENTER FRWY                                                                              DALLAS             TX   75247
MIDCON INVESTORS INC                3570 ROGER B CHAFFEE MEM DR SE                                                                     GRAND RAPIDS       MI   49548‐2328
MIDDAUGH, CLARA B.                  1240 ASH ST                                                                                        HUNTINGTON         IN   46750‐4109
MIDDAUGH, FRANK R                   1723 LAKE VILLAGE DR                                                                               MEDFORD            OR   97504‐8671
MIDDAUGH, JOYCE A                   9090 E STATE RD                                                                                    NASHVILLE          MI   49073‐9750
MIDDAUGH, JOYCE A                   9090 STATE RD                                                                                      NASHVILLE          MI   49073‐9750
MIDDAUGH, LEONARD L                 10 DAVISON ST                                                                                      JOLIET             IL   60433‐1322
MIDDAUGH, NANCY                     7947 TONAWANDA CREEK                                                                               LOCKPORT           NY   14094
MIDDAUGH, NANCY L                   409 W. WASHINGTON ST.                                                                              HARTFORD CITY      IN   47348
MIDDAUGH, NANCY L                   409 W WASHINGTON ST                                                                                HARTFORD CITY      IN   47348‐2063
MIDDAUGH, RONNIE J                  409 W WASHINGTON ST                                                                                HARTFORD CITY      IN   47348‐2063
MIDDAUGH, RUBY F.                   180 E NORTH ST                   C/O OLIVER DEAN WALLEN                                            PECULIAR           MO   64078‐9412
MIDDAUGH, TOMMY F                   16701 E 123RD ST N                                                                                 COLLINSVILLE       OK   74021‐5875
MIDDEL, GEORGE L                    11134 GEOFFRY DR                                                                                   WARREN             MI   48093‐2468
MIDDENDORF ALLAN                    STE 20                           5720 NORTH BELT WEST                                              BELLEVILLE         IL   62226‐4661
MIDDENDORF, DIANA L                 1047 DAVID CT                                                                                      MILFORD            OH   45150‐1519
MIDDENDORF, DONALD R                1717 FAIRVIEW FARMS CIR                                                                            WENTZVILLE         MO   63385‐2764
MIDDENDORF, KEVIN L                 2982 SUMMERCREST LN                                                                                HUDSONVILLE        MI   49426‐8806
MIDDENDORF, LEO C                   1155 PARK ST                                                                                       PENTWATER          MI   49449‐9424
MIDDENDORF, MICHAEL D               1475 N MAIN ST                                                                                     O FALLON           MO   63366‐4328
MIDDENDORF, RICHARD A               1047 DAVID CT                                                                                      MILFORD            OH   45150‐1519
MIDDIE PATTERSON                    17749 PARKLANE ST                                                                                  LIVONIA            MI   48152‐2726
MIDDLE BUCKS AVTS ADULT EDUCATION   2740 OLD YORK RD                                                                                   JAMISON            PA   18929‐1021

MIDDLE EAST BATTERY COMPANY         POST OFFICE BOX 13441                                                       DAMMAM 31493,
                                                                                                                KINGDOM OF SAUDI
                                                                                                                ARABIA
MIDDLE EAST SHIPPING                AGENCIES OVERSEAS LTD            19 MILTIADOU STR                           GLYFADA 16675 GREECE
MIDDLE EAST SHIPPING                AGENCIES OVERSEAS LTD            MILTIADOU 19                               16675 GLYFADA ATHENS
                                                                                                                GREECE
MIDDLE GEORGIA TRANSPORTATION       170 LOWER BAY ST                                                                                   MACON              GA 31206‐1012
SERVICES INC
MIDDLE STREET SHELL                 40 MIDDLE ST                                                                                       PORTSMOUTH         NH   03801
MIDDLE TENNESSEE ANE                PO BOX 235022                                                                                      MONTGOMERY         AL   36123‐5022
MIDDLE TENNESSEE SCUBA AND SWIM     320 MALLORY STATION RD                                                                             FRANKLIN           TN   37067‐8210
MIDDLE TENNESSEE STATE UNIV         DIV OF CONT STUDIES              1301 E MAIN ST COPE 119                                           MURFREESBORO       TN   37132‐0001
MIDDLE TENNESSEE STATE UNIV         BUSINESS OFFICE                  105 COPE ADMINISTRATION                                           MURFREESBORO       TN   37132‐0001
MIDDLE TENNESSEE STATE UNIV         BUSINESS OFFICE                                                                                    MURFREESBORO       TN   37132‐0001
MIDDLE TENNESSEE STATE UNIVERSITY   1301 E MAIN ST                   DIV OF CONT STUDIES                                               MURFREESBORO       TN   37132‐0001
MIDDLE TN AUTO‐TECH & BODY          3909 RICKMAN RD                                                                                    RICKMAN            TN   38580‐1835
MIDDLE TN CONV/DICKS                136 TENNSCO DR                                                                                     DICKSON            TN   37055‐3000
MIDDLE TN CONV/FAIRV                7103 JUNIPER RD                                                                                    FAIRVIEW           TN   37062‐8240
MIDDLE TN/KINGSTON                  403 N MAIN ST                    P.O. BOX 190                                                      KINGSTON SPRINGS   TN   37082‐9070
MIDDLEBORO CHIROPRAC                63 ANDERSON AVE                                                                                    MIDDLEBORO         MA   02346
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Name                         Address1                         Address2                        Address3   Address4         City              State Zip
MIDDLEBROOK DEON             3011 W GRAND BLVD                                                                            DETROIT            MI 48202‐3096
MIDDLEBROOK JAMES (503743)   BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
MIDDLEBROOK RICHARD O JR     MIDDLEBROOK, RICHARD O           5201 CALIFORNIA AVE STE 450                                 BAKERSFIELD       CA   93309‐1685
MIDDLEBROOK, ADA M           3211 NORWICH RD                                                                              LANSING           MI   48911‐1566
MIDDLEBROOK, CARL F          3678 MISSION DR APT A                                                                        INDIANAPOLIS      IN   46224‐1194
MIDDLEBROOK, DONNIE R        4714 STILLWELL AVE                                                                           LANSING           MI   48911‐2839
MIDDLEBROOK, EDWARD          DEARIE & ASSOCS JOHN C           3265 JOHNSON AVE                                            RIVERDALE         NY   10463
MIDDLEBROOK, EDWARD L        1281 S SNYDER RD                                                                             NEW LEBANON       OH   45345‐9371
MIDDLEBROOK, EDWARD L        1281 SYNDER ROAD                                                                             NEW LEBANON       OH   45345‐9371
MIDDLEBROOK, JAMES           BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD, BEVAN                                NORTHFIELD        OH   44067
                                                              PROFESSIONAL BLDG
MIDDLEBROOK, JAMES L         C/O MOODY                        801 WEST FOURTH ST                                          LITTLE ROCK       AR   72201
MIDDLEBROOK, JOHN B          16204 CUIVRE DR                  # 16204                                                     LAKE ST LOUIS     MO   63367‐2159
MIDDLEBROOK, JOHN B          16204 CUIVRE DR                  #16204                                                      LAKE ST LOUIS     MO   63367‐2159
MIDDLEBROOK, JOHN G          775 PEACH TREE LN                                                                            ROCHESTER HILLS   MI   48306‐3354
MIDDLEBROOK, JOHN R          200 GRAMONT AVENUE                                                                           DAYTON            OH   45417‐2324
MIDDLEBROOK, KATHERINE       436 EVERETT DR                                                                               LANSING           MI   48915‐1106
MIDDLEBROOK, LARRY           4192 BANDURY DR                                                                              ORION             MI   48359‐1858
MIDDLEBROOK, LARRY           1601 HORNSBY AVE                                                                             SAINT LOUIS       MO   63147‐1409
MIDDLEBROOK, LEON            14518 WOODWORTH RD                                                                           EAST CLEVELAND    OH   44112‐1930
MIDDLEBROOK, OCIE            436 EVERETT DR                                                                               LANSING           MI   48915‐1106
MIDDLEBROOK, OSCAR A         7738 PARK NORTH LAKE DR                                                                      INDIANAPOLIS      IN   46260‐5266
MIDDLEBROOK, ZEARLEEN        4555 COMMONWEALTH                                                                            DETROIT           MI   48208‐2223
MIDDLEBROOK,JOHN G           775 PEACH TREE LN                                                                            ROCHESTER HILLS   MI   48306‐3354
MIDDLEBROOKS JR, ALFRED      PO BOX 120                                                                                   BUFFALO           NY   14240‐0120
MIDDLEBROOKS JR, WILLIAM J   4804 PINENEEDLE TRL                                                                          FLORISSANT        MO   63033‐7527
MIDDLEBROOKS SR, RICHARD L   124 LENNOX AVE                                                                               AMHERST           NY   14226‐4267
MIDDLEBROOKS, ALFRED         249 S DIVISION ST                                                                            BUFFALO           NY   14204‐1711
MIDDLEBROOKS, BRENDA         3921 N FORDHAM PL                                                                            CINCINNATI        OH   45213‐2326
MIDDLEBROOKS, CARL           3597 PENNINGTON RD                                                                           SHAKER HTS        OH   44120‐5013
MIDDLEBROOKS, CHERYL A       206 SHADY DR                                                                                 COLUMBIA          TN   38401‐2040
MIDDLEBROOKS, GERALDINE M    8116 SWANEE LN NW                                                                            COVINGTON         GA   30014‐2057
MIDDLEBROOKS, GERALDINE M    8116 SWANNE LANE                                                                             COVINGTON         GA   30014‐2057
MIDDLEBROOKS, HAZEL L        20150 AUDREY ST                                                                              DETROIT           MI   48235‐1651
MIDDLEBROOKS, JEROME         173 ONEIDA ST                                                                                PONTIAC           MI   48341‐1628
MIDDLEBROOKS, JOHNNY L       1915 CABRIOLET TRAIL                                                                         GRIFFIN           GA   30223‐1070
MIDDLEBROOKS, KELVIN J       PO BOX 2516                                                                                  SOUTHFIELD        MI   48037‐2516
MIDDLEBROOKS, LARRY C        2512 CANTON ST                                                                               DETROIT           MI   48207‐3538
MIDDLEBROOKS, LARRY COLEY    2512 CANTON ST                                                                               DETROIT           MI   48207‐3538
MIDDLEBROOKS, MARY           466 KOONS AVE                                                                                BUFFALO           NY   14211‐2318
MIDDLEBROOKS, MICHAEL        3823 FOX RUN DR APT 1335                                                                     CINCINNATI        OH   45236‐6008
MIDDLEBROOKS, PATRICIA E     PO BOX 432103                                                                                PONTIAC           MI   48343‐2103
MIDDLEBROOKS, REUBEN         3701 PENBROOK LN APT 2                                                                       FLINT             MI   48507‐1490
MIDDLEBROOKS, REUBEN         APT 2                            3701 PENBROOK LANE                                          FLINT             MI   48507‐1490
MIDDLEBROOKS, REUBEN         3701 PEN BROOK LN                BLDG 2                                                      FLINT             MI   48507
MIDDLEBROOKS, RONALD C       729 CHEAIRS CIR                                                                              COLUMBIA          TN   38401‐2209
MIDDLEBROOKS, SHIRLEY A      26121 EUREKA RD APT 113                                                                      TAYLOR            MI   48180
MIDDLEBROOKS, WILLIAM L      8540 GLENDALE DR                                                                             YPSILANTI         MI   48198‐3622
MIDDLEBURY COLLEGE           OFFICE OF THE COMPTROLLER                                                                    MIDDLEBURY        VT   05753
MIDDLEDITCH, BRENDA D        4024 E. 50TH                                                                                 MT. MORRIS        MI   48458
MIDDLEDITCH, CULLEN S        PO BOX 15                                                                                    PARADISE          MI   49768‐0015
                                      09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                            Exhibit B
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Name                                 Address1                         Address2                        Address3                     Address4         City            State Zip
MIDDLEDITCH, JOHN F                  5167 HUGHES STREET                                                                                             OSCODA           MI 48750‐1506
MIDDLEDITCH, LOIS E                  15526 KIRKSHIRE AVE                                                                                            BEVERLY HILLS    MI 48025‐3350
MIDDLEDITCH, LORRIE L                11491 WING DR                                                                                                  CLIO             MI 48420‐1528
MIDDLEDITCH, ROBERT E                1051 STRAWBERRY ST                                                                                             DUNDEE           MI 48131‐1048
MIDDLEDITCH, ROBERT O                840 HUNTSFORD DRIVE                                                                                            TROY             MI 48084‐1614
MIDDLEDITCH, ROBERT P                4125 PARK ST N LOT 314                                                                                         ST PETERSBURG    FL 33709‐4039
MIDDLEDITCH, STEPHEN A               3400 LONGVIEW DR                                                                                               FLUSHING         MI 48433‐2203
MIDDLEKAUFF, GARRETT R               38 WILDERNESS LAKE CT                                                                                          MILFORD          MI 48380‐1344
MIDDLEKAUFF, WILLIAM P               2449 OAK RIDGE DR                                                                                              TROY             MI 48098‐5325
MIDDLEMAN, ROBERT E                  445 S ROBERT CT                                                                                                OAK CREEK        WI 53154‐5735
MIDDLEMISS, CAROLYN A                7 OXFORD DR                                                                                                    CORAOPOLIS       PA 15108‐3509
MIDDLER, BARBARA J                   2238 120TH STREET                                                                                              LOWDEN            IA 52255‐9513
MIDDLER, BETTY ANN                   729 W SHELDON ST                                                                                               GAYLORD          MI 49735‐1836
MIDDLER, MARTIN P                    2238 120TH ST                                                                                                  LOWDEN            IA 52255‐9513
MIDDLESBORO ISD                      PO BOX 959                       220 NORTH 20TH STREET                                                         MIDDLESBORO      KY 40965‐0959
MIDDLESEX COMMUNITY COLLEGE          BURSARS OFFICE                   591 SPRINGS RD                                                                BEDFORD          MA 01730‐1120
MIDDLESEX COMMUNITY TECHNICAL        100 TRAINING HILL RD                                                                                           MIDDLETOWN       CT 06457‐4829
COLLEGE
MIDDLESEX COUNTY COLLEGE             ACCOUNTS RECEIVABLE ‐ ASB        155 MILL RD                     P.O. BOX 3050                                 EDISON           NJ   08837‐3601
MIDDLESEX CTY PROBATION DEPT         FOR ACCT OF R J CHLOPICKI        PO BOX 1285                                                                   NEW BRUNSWICK    NJ   08903‐1285
MIDDLESEX CTY PROBATION DEPT         FOR ACCT OF B DAVIS              PO BOX 1285                                                                   NEW BRUNSWICK    NJ   08903‐1285
MIDDLESEX CTY PROBATION DEPT         ACCT OF ROBERT ROZYLA            PO BOX 1285                                                                   NEW BRUNSWICK    NJ   08903‐1285
MIDDLESEX CTY SHERIFF'S OFFICE       ACCT OF JOSEPH L RIDDICK         PO BOX 1188                     DOCKET #SOM‐L‐1208‐90 J‐11                    NEW BRUNSWICK    NJ   08903‐1188

MIDDLESEX MUTUAL ASSURANCE           SKELLEY ROTTNER                  12 CHARTER OAK PL                                                             HARTFORD         CT   06106‐1914
COMPANY
MIDDLESEX UNITED WAY INC             100 RIVERVIEW CTR STE 230                                                                                      MIDDLETOWN      CT    06457‐3401
MIDDLESTETTER, CHARLES D             106 TIMBERWOLF WAY                                                                                             BROOKVILLE      OH    45309‐9342
MIDDLESTETTER, CONSTANCE L           14 ANNAPOLIS LANE                                                                                              ROTONDA WEST    FL    33947‐2201
MIDDLESTETTER, CONSTANCE L           14 ANNAPOLIS LN                                                                                                ROTONDA WEST    FL    33947‐2201
MIDDLESTETTER, EVELYEN               PO BOX 251                       208 N. JEFFERSON                                                              PITSBURG        OH    45358‐0251
MIDDLESTETTER, HOPE                  PO BOX 251                       208 N. JEFFERSON                                                              PITSBURG        OH    45358‐0251
MIDDLESTETTER, KENNETH               PO BOX 251                       208 N. JEFFERSON                                                              PITSBURG        OH    45358‐0251
MIDDLESTETTER, MARY                  PO BOX 251                       208 N. JEFFERSON                                                              PITSBURG        OH    45358‐0251
MIDDLESTETTER, RACHEAL L             10 S WILLIAMS DR                                                                                               WEST MILTON     OH    45383‐1231
MIDDLESTETTER, ROBERT L              7476 DULL RD                                                                                                   ARCANUM         OH    45304‐9418
MIDDLESTETTER, SUSAN J               3 STINTON LN                                                                                                   MIAMISBURG      OH    45342‐6618
MIDDLESTETTER, TONY A                10 S WILLIAMS DR                                                                                               WEST MILTON     OH    45383‐1231
MIDDLESWORTH, ALEXA                  305 PARKVIEW CRES                                                                                              CHAPEL HILL     NC    27516
MIDDLESWORTH, ARLENE B               22 WILLOW DR                                                                                                   WESTBROOK       ME    04092‐3712
MIDDLESWORTH, DOUGLAS A              6703 W WILEY RD                                                                                                WEIDMAN         MI    48893‐9221
MIDDLESWORTH, IVAN                   6 JONNA DR                                                                                                     BEAVERTOWN      PA    17813‐9706
MIDDLESWORTH, JANET                  9369 N MEADOWLARK LN                                                                                           ELWOOD          IN    46036
MIDDLESWORTH, JEANETTE S
MIDDLETON ‐ DANIELS, THEDA           2107 KITCHEN DR                                                                                                ANDERSON        IN 46017‐9658
MIDDLETON AGEE (464215)              KELLEY & FERRARO LLP             1300 EAST NINTH STREET , 1901                                                 CLEVELAND       OH 44114
                                                                      BOND COURT BUILDING
MIDDLETON BRUCE                      30810 STATE ROAD 70 E                                                                                          MYAKKA CITY      FL   34251
MIDDLETON ELIZABETH W JD MEDIATION   PO BOX 11796                                                                                                   ALEXANDRIA       LA   71315‐1796
SERVICES
MIDDLETON GARRETT                    MIDDLETON, GARRETT               17730 DENBY ST                                                                REDFORD         MI 48240
MIDDLETON GLENN                      940 LOCHWOOD PL                                                                                                ESCONDIDO       CA 92026‐4042
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Name                             Address1                          Address2                       Address3   Address4         City            State Zip
MIDDLETON JAMES OLIVER           C/O EDWARD O MOODY P A            801 WEST 4TH STREET                                        LITTLE ROCK      AR 72201
MIDDLETON JEFFREY                309 PAR DRIVE                                                                                PHILADELPHIA     PA 19115‐1017
MIDDLETON JR, GREEN B            4531 S TONYA TER                                                                             HOMOSASSA        FL 34446‐1573
MIDDLETON JR, MARVIN F           791 KLINE RD                                                                                 OAKLAND          MI 48363‐1225
MIDDLETON JR, THURLOW R          4905 BUCK SHERROD RD LOT 1                                                                   MARSHALL         TX 75672‐3221
MIDDLETON JR, WILBERT J          2203 AVALON CT                                                                               FREDERICK        MD 21702‐2647
MIDDLETON MARIAN                 791 KLINE RD                                                                                 OAKLAND          MI 48363‐1225
MIDDLETON PEST CONTROL, INC.     C/O ZENITH INSURANCE CO           PO BOX 1558                                                SARASOTA         FL 34230‐1558
MIDDLETON REAL ESTATE TRAINING   20300 CIVIC CENTER DR STE 103                                                                SOUTHFIELD       MI 48076‐4166
MIDDLETON REAL ESTATE TRAINING   26211 CENTRAL PARK BLVD                                                                      SOUTHFIELD       MI 48076
MIDDLETON SHERRY                 247 LAKEWOOD DR                                                                              BLAKELY          GA 39823‐1573
MIDDLETON TODD                   MIDDLETON, TODD                   30928 FORD RD                                              GARDEN CITY      MI 48135‐1803
MIDDLETON, AGEE                  KELLEY & FERRARO LLP              1300 EAST NINTH STREET, 1901                               CLEVELAND        OH 44114
                                                                   BOND COURT BUILDING
MIDDLETON, ALBERT L              6214 WHITESTONE RD                                                                           JACKSON         MS 39206‐2311
MIDDLETON, ANTHONY J             14568 CHERRY RIDGE ROAD                                                                      CARMEL          IN 46033‐9178
MIDDLETON, BARBARA L             1568 MARY FRANCIS CT                                                                         MIAMISBURG      OH 45342‐2642
MIDDLETON, BERNARD
MIDDLETON, BERNICE M             569 W CAMP RD                                                                                SANFORD         MI   48657‐9432
MIDDLETON, BETTE L               1366 W PREDMORE RD                                                                           OAKLAND         MI   48363‐1340
MIDDLETON, BRIAN J               1778 ABERDEEN ST                                                                             CANTON          MI   48187‐3406
MIDDLETON, BRUCE R               10451 N HOLLY RD                                                                             HOLLY           MI   48442‐9319
MIDDLETON, CAROL H               508 SAINT CLAIR ST                                                                           GROSSE POINTE   MI   48230‐1504
MIDDLETON, CHARLES D             2771 WEST QUIMBY ROAD                                                                        HASTINGS        MI   49058‐8380
MIDDLETON, CHARLES H             25378 HASKELL ST                                                                             TAYLOR          MI   48180‐2083
MIDDLETON, CHARLES T             2012 HERMITAGE DR                                                                            KINGSPORT       TN   37664‐3614
MIDDLETON, CHERYL J              2804 GREEN RIDGE ST                                                                          FORT WORTH      TX   76133‐7242
MIDDLETON, CHRIS                 517 LINDLY ST                                                                                GRAND PRAIRIE   TX   75052‐3415
MIDDLETON, CLEON W               2425 GRANGER RD                                                                              OXFORD          MI   48371‐3129
MIDDLETON, CONNIE R.             53 NW 247TH RD                                                                               CLINTON         MO   64735‐8938
MIDDLETON, CONNIE R.             53 NW 247 RD                                                                                 CLINTON         MO   64735
MIDDLETON, CONSTANCE L           1097 MANSFIELD CT                 C/O NAJWA MIDDLETON'SALEM                                  NORCROSS        GA   30093‐4635
MIDDLETON, CRAIG R               11864 N SHERMAN RD                                                                           LAKE            MI   48632‐9408
MIDDLETON, CURTIS                1617 W 5TH ST                                                                                MARION          IN   46953‐1322
MIDDLETON, CURTIS                7227 COLONIAL ST                                                                             DEARBORN HTS    MI   48127‐1741
MIDDLETON, DALE J                2829 ARDEN AVE                                                                               DAYTON          OH   45420‐2201
MIDDLETON, DALE L                2820 MIDDLETON RD                                                                            PRESCOTT        MI   48756‐9389
MIDDLETON, DANIEL B              394 OWLS NEST DRIVE, BOX 514                                                                 BRACEY          VA   23919
MIDDLETON, DANIEL R              4850 S BILL RD                                                                               DURAND          MI   48429‐9787
MIDDLETON, DANNY P               4055 CARMANWOOD DR                                                                           FLINT           MI   48507‐5501
MIDDLETON, DANNY PATRICK         4055 CARMANWOOD DR                                                                           FLINT           MI   48507‐5501
MIDDLETON, DAVID B               9993 S SPRINKLE RD                                                                           PORTAGE         MI   49002‐7454
MIDDLETON, DAVID J               920 BRADLEY AVE                                                                              FLINT           MI   48503‐3107
MIDDLETON, DAVID L               2923 WINCHESTER DR                                                                           HAYWARD         CA   94541‐5612
MIDDLETON, DAVID P               425 S WAVERLY ST                                                                             DEARBORN        MI   48124‐1671
MIDDLETON, DAWN D                3141 WEXFORD WALK DRIVE                                                                      FORT WORTH      TX   76116
MIDDLETON, DEBRA P               2270 COVE LNDG                                                                               GROVE CITY      OH   43123‐8200
MIDDLETON, DENNIS A              1016 W MURPHY LAKE RD                                                                        FOSTORIA        MI   48435‐9729
MIDDLETON, DENNIS E              PO BOX 151                        3155 WEST BROADWAY                                         ZANESVILLE      IN   46799‐0151
MIDDLETON, DENNIS L              4046 HENNESSEY DR                                                                            PLAINFIELD      IN   46168‐9058
MIDDLETON, DIANE                 9030 MONTICELLO RD                                                                           WESSON          MS   39191‐9027
MIDDLETON, DONALD R              11951 HIGHLAND ST                                                                            MOUNT MORRIS    MI   48458‐1408
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Name                     Address1                           Address2            Address3         Address4         City             State Zip
MIDDLETON, DONNA         5027 WILLARD RD                                                                          BIRCH RUN         MI 48415‐8608
MIDDLETON, DONNA M       5027 WILLARD RD                                                                          BIRCH RUN         MI 48415‐8608
MIDDLETON, DOROTHY J     741 ENSENADA DR                                                                          HEMET             CA 92545‐1540
MIDDLETON, DOROTHY L     1052 E ROWLAND ST                                                                        FLINT             MI 48507‐4147
MIDDLETON, DOUGLAS A     3935 BISSONETTE RD                                                                       GLENNIE           MI 48737‐9593
MIDDLETON, EDNA E        11600 W JACKSON ST                                                                       YORKTOWN          IN 47396‐9735
MIDDLETON, ELLA L        19 BIRCH SHORES                                                                          TROUT LAKE        MI 49793
MIDDLETON, ERIC P        1033 E PHILADELPHIA BLVD                                                                 FLINT             MI 48505‐3642
MIDDLETON, EUGENE M      478 DEFOE DR                                                                             DAYTON            OH 45431‐1907
MIDDLETON, EVELYN M      2336 BERVILLE ROAD                                                                       BERLIN            MI 48002
MIDDLETON, EVERETTE      2324 SHARPSHIRE LN                                                                       ARLINGTON         TX 76014‐3528
MIDDLETON, FELTON        SHANNON LAW FIRM                   100 W GALLATIN ST                                     HAZLEHURST        MS 39083‐3007
MIDDLETON, FLOYD A       1015 CAROM CIR                                                                           MASON             MI 48854‐9378
MIDDLETON, FRANCES       15161 FORD RD APT 506                                                                    DEARBORN          MI 48126‐4652
MIDDLETON, FRANCES
MIDDLETON, FRANCES D     4905 BUCK SHERROD RD LOT 1                                                               MARSHALL         TX   75672‐3221
MIDDLETON, FRANCIS E     1460 WHITAKER WAY                                                                        MONTPELIER       OH   43543‐9567
MIDDLETON, FRED K        345 S JERSEY STREET                                                                      DAYTON           OH   45403‐2723
MIDDLETON, FREDDY J      5523 FLORIDA DR                                                                          CONCORD          CA   94521‐4632
MIDDLETON, GARRETT
MIDDLETON, GEORGE D      4200 RICHMARK LN                                                                         BAY CITY         MI   48706‐2259
MIDDLETON, GEORGE F      725 ADAMS ST                                                                             VICKSBURG        MI   49097‐1404
MIDDLETON, GEORGE L      131 SE 3RD TER                                                                           CAPE CORAL       FL   33990‐1032
MIDDLETON, GEORGE W      1874 NOTTELY SHRS W                                                                      BLAIRSVILLE      GA   30512‐1724
MIDDLETON, GERALDINE     551 GRACE ST LOT 30                                                                      FARWELL          MI   48622‐8419
MIDDLETON, GERALDINE E   2467 N. VASSAR ROAD                                                                      BURTON           MI   48509‐1383
MIDDLETON, GERALDINE E   2467 N VASSAR RD                                                                         BURTON           MI   48509‐1383
MIDDLETON, GREGORY R     4850 S BILL RD                                                                           DURAND           MI   48429‐9787
MIDDLETON, HARLEN L      4931 FORD ST                                                                             SPEEDWAY         IN   46224‐6927
MIDDLETON, HAROLD E      9106 HIGHPOINT BLVD                                                                      BROOKSVILLE      FL   34613‐5687
MIDDLETON, HELEN L       540 WALLEN RD                                                                            BISMARCK         MO   63624‐9625
MIDDLETON, HOLLY D       602 E MADISON AVE                                                                        MILTON           WI   53563
MIDDLETON, HOWARD R      PO BOX 145                                                                               SOMERSET         IN   46984‐0145
MIDDLETON, HOWARD W      501 PORTOLA RD APT 8150                                                                  PORTOLA VALLEY   CA   94028‐8628
MIDDLETON, IVAN R        9601 MISSOURI ST, UNIT A                                                                 OSCODA           MI   48750
MIDDLETON, JACK J        2453 OLD HIGHWAY 60 W                                                                    MITCHELL         IN   47446‐7326
MIDDLETON, JAMES D       147 OLD STATE ROUTE 34 UNIT 12                                                           JONESBOROUGH     TN   37659‐5583
MIDDLETON, JAMES H       PO BOX 1226                                                                              NOBLE            OK   73068‐1226
MIDDLETON, JAMES I.
MIDDLETON, JAMES J       1257 W ROWLAND ST                                                                        FLINT            MI   48507‐4045
MIDDLETON, JAMES M       2114 E MCLEAN AVE                                                                        BURTON           MI   48529
MIDDLETON, JAMES R       1140 N SMITH RD                                                                          EATON RAPIDS     MI   48827‐9327
MIDDLETON, JAMES R       1456 PROPER AVE                                                                          BURTON           MI   48529‐2046
MIDDLETON, JEWEL T       4556 COBURN AVE                                                                          INDIANAPOLIS     IN   46228‐3015
MIDDLETON, JOHN L        2440 S RITTER AVE                                                                        INDIANAPOLIS     IN   46203‐5650
MIDDLETON, JOYCE M       3081 W RIVERVIEW DRIVE                                                                   BAY CITY         MI   48706‐1322
MIDDLETON, JUANITA J     133 QUESTVIEW DR                                                                         HOUGHTON LAKE    MI   48629
MIDDLETON, JUDITH A      22 BROADMOOR DR                                                                          TONAWANDA        NY   14150‐5532
MIDDLETON, JUDITH C      3517 MILLER RD                                                                           FLINT            MI   48503‐4687
MIDDLETON, JUDITH D      2008 PEAR TREE LN                                                                        OAKLAND          MI   48363‐2933
MIDDLETON, KAREY T       9617 S OGLESBY AVE                                                                       CHICAGO          IL   60617‐4867
MIDDLETON, KATHYRN R     6928 TAPPON DR                                                                           CLARKSTON        MI   48346‐2630
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Name                       Address1                        Address2            Address3         Address4         City            State Zip
MIDDLETON, KENNETH A       11520 FAIRBANKS RD                                                                    LINDEN           MI 48451‐9419
MIDDLETON, KENNETH E       5813 EAGLE CREEK RD                                                                   LEAVITTSBURG     OH 44430‐9767
MIDDLETON, KENNETH L       173 E MICHIGAN AVE APT 211A                                                           THREE RIVERS     MI 49093‐1549
MIDDLETON, KENNETH R       7017 BRANCH ST LOT 17                                                                 MOUNT MORRIS     MI 48458
MIDDLETON, KENNETH R       4400 91ST AVE NE                                                                      NORMAN           OK 73026‐6713
MIDDLETON, KRAIG P         3175 ECKINGER ST                                                                      FLINT            MI 48506‐2039
MIDDLETON, KRAIG PHILLIP   3175 ECKINGER ST                                                                      FLINT            MI 48506‐2039
MIDDLETON, KRISTI          2711 FISH LAKE ROAD                                                                   LAPEER           MI 48446‐8320
MIDDLETON, LARRY J         10694 MARION AVE                                                                      MECOSTA          MI 49332‐9744
MIDDLETON, LARRY L         3823 MILAN AVE SW                                                                     WYOMING          MI 49509‐3937
MIDDLETON, LARRY L         6735 SHARP RD                                                                         ALPENA           MI 49707‐8708
MIDDLETON, LAWRENCE W      711 HELMSDALE PL N                                                                    BRENTWOOD        TN 37027‐5523
MIDDLETON, LEE R           2112 CUMINGS AVE                                                                      FLINT            MI 48503‐3514
MIDDLETON, LIZA M          119 NICHOLS ST APT 2                                                                  LOCKPORT         NY 14094
MIDDLETON, LIZA M          119 NICHOLS ST                  APT 2                                                 LOCKPORT         NY 14094
MIDDLETON, LOIS D          1271 FM 2005 E                                                                        HAMILTON         TX 76531‐3597
MIDDLETON, LORETTA J       PO BOX 90526                                                                          BURTON           MI 48509‐0526
MIDDLETON, LOUIS L         705 RAYMOND ST                                                                        BAY CITY         MI 48706‐5035
MIDDLETON, MARGOT B        4006 N LAKESIDE DR                                                                    MUNCIE           IN 47304‐6363
MIDDLETON, MARILYN J       11556 BROOKLAND DR                                                                    ALLENDALE        MI 49401‐8404
MIDDLETON, MARK W          3626 MORNINGSIDE DR                                                                   GREENWOOD        IN 46143‐7945
MIDDLETON, MARTHA B        825 RAND RD                                                                           GARNER           NC 27529‐9045
MIDDLETON, MARY A          9788 WINTERCREST AVE NW                                                               UNIONTOWN        OH 44685‐9419
MIDDLETON, MARY A          1297 CRETE LN NW                                                                      BROOKHAVEN       MS 39601‐5919
MIDDLETON, MARY C          2986 MAIN ST                                                                          CALEDONIA        NY 14423‐1214
MIDDLETON, MARY J          478 DEFOE DR                                                                          DAYTON           OH 45431‐1907
MIDDLETON, MARY J          285 EVERGREEN DR                                                                      SPRINGBORO       OH 45066‐9764
MIDDLETON, MARY S          1147 E 77TH TER                                                                       KANSAS CITY      MO 64131‐1940
MIDDLETON, MAZIE N         3343 PIPING ROCK ST                                                                   TALLAHASSEE      FL 32309‐2707
MIDDLETON, MELVIN S        121 MOSS CREEK DR                                                                     ROUND O          SC 29474‐4517
MIDDLETON, MICHAEL E       3200 LENOX RD NE APT C314                                                             ATLANTA          GA 30324‐2623
MIDDLETON, MILDRED I       11207 LONGBROOKE DR                                                                   RIVERVIEW        FL 33579
MIDDLETON, MILLARD         222 HALIFAX DR                                                                        VANDALIA         OH 45377‐2910
MIDDLETON, NORMAN D        133 QUESTVIEW DR                                                                      HOUGHTON LAKE    MI 48629
MIDDLETON, PATRICIA
MIDDLETON, PATRICIA H      7515 SHERIDAN DR APT 3D                                                               WILLOWBROOK     IL   60527‐2498
MIDDLETON, PATRICK J       16 BOBCAT TRL                                                                         WILDWOOD        FL   34785‐9050
MIDDLETON, PATTY A         4 FOREST GLEN DR                                                                      ROCHESTER       NY   14612‐2276
MIDDLETON, PAUL A          1800 DELWOOD AVE SW                                                                   WYOMING         MI   49509‐1337
MIDDLETON, RALPH E         2334 TANDY DR                                                                         FLINT           MI   48532‐4958
MIDDLETON, RANDAL A        W233S8625 CHATEAU LN                                                                  BIG BEND        WI   53103‐9654
MIDDLETON, RANDALL L       2344 S OAK RD                                                                         DAVISON         MI   48423‐9144
MIDDLETON, RAY C           6106 HOPKINS RD                                                                       FLINT           MI   48506‐1658
MIDDLETON, RAY CARLTON     6106 HOPKINS RD                                                                       FLINT           MI   48506‐1658
MIDDLETON, REBECCA E       16390 CRESCENT DR                                                                     SOUTHFIELD      MI   48076‐5801
MIDDLETON, RICHARD D       143 LURAY AVE NW                                                                      GRAND RAPIDS    MI   49504‐5940
MIDDLETON, RICHARD J       795 CENTER WORLD SO RD SW                                                             LEAVITTSBURG    OH   44430
MIDDLETON, RICHARD L       2425 W RIVER RD N APT 402                                                             ELYRIA          OH   44035‐2242
MIDDLETON, ROBERT C        8534 BIG CREEK RD                                                                     JOHANNESBURG    MI   49751‐9510
MIDDLETON, ROBERT E        PO BOX 41                                                                             FOSTORIA        MI   48435‐0041
MIDDLETON, ROBERT W        12318 COSTER RD SW                                                                    FIFE LAKE       MI   49633‐9474
MIDDLETON, RONALD W        PO BOX 292                                                                            GILLIAM         LA   71029‐0292
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Name                               Address1                       Address2                   Address3             Address4          City                  State Zip
MIDDLETON, RUTH E                  2203 COMBES RD                                                                                   QUINCY                 IN 47456‐8512
MIDDLETON, RUTH E                  2203 COMBES RD.                                                                                  QUINCY                 IN 47456‐8512
MIDDLETON, SANDRA D                3766 CENTENNIAL ST                                                                               LAS VEGAS              NV 89121‐4412
MIDDLETON, SANDRA L                10 CABANA PL                                                                                     HOT SPRINGS VILLAGE    AR 71909‐4804
MIDDLETON, SANDRA R                125 EMERALD LAKE DR                                                                              FAYETTEVILLE           GA 30215‐5063
MIDDLETON, SARAH M.                276 NORTHPOINT AVE                                                                               HUNTINGTON             IN 46750‐8452
MIDDLETON, STEVE                   18 E YPSILANTI AVE                                                                               PONTIAC                MI 48340‐1977
MIDDLETON, TERENCE O               3310 MCPHAUL RD                                                                                  SHANNON                NC 28386‐9665
MIDDLETON, THERESA                 500 S HIGHLAND                                                                                   DEARBORN               MI 48124
MIDDLETON, THOMAS J                327 BETHANY ST                                                                                   THOUSAND OAKS          CA 91360‐2023
MIDDLETON, THOMAS L                620 PORTAGE AVE                                                                                  THREE RIVERS           MI 49093‐1468
MIDDLETON, THOMAS R                19 BIRCH SHORES BOX 157                                                                          TROUT LAKE             MI 49793
MIDDLETON, TODD                    CONSUMER LEGAL SERVICES P.C.   30928 FORD RD                                                     GARDEN CITY            MI 48135‐1803
MIDDLETON, VALERIE J               4401 LANDINGS ROAD                                                                               GROVEPORT              OH 43125‐8921
MIDDLETON, VICKIE L                113 STONERIDGE DR                                                                                SANTA ANA              CA 92704‐2458
MIDDLETON, WALTER L                10 CABANA PL                                                                                     HOT SPRINGS VILLAGE    AR 71909‐4804
MIDDLETON, WANDA A                 1513 OLIVE BRANCH LN                                                                             GREENWOOD              IN 46143‐8600
MIDDLETON, WILLIAM B               172 VALENCIA LAKES DR                                                                            VENICE                 FL 34292‐7400
MIDDLETON, WILLIAM E               6593 STATE ROUTE 15                                                                              BRYAN                  OH 43506‐9760
MIDDLETON, WILLIAM G               15424 W 163RD ST                                                                                 HOMER GLEN              IL 60491‐7937
MIDDLETON, WILLIAM G               15424 WEST 163RD STREET                                                                          HOMER GLEN              IL 60491‐7937
MIDDLETON, WILLIAM J               PO BOX 90                                                                                        GREEN SPRING           WV 26722‐0090
MIDDLETON‐SALIM, NAJWA             1097 MANSFIELD CT                                                                                NORCROSS               GA 30093‐4635
MIDDLETONO, SALLY                  7491 AMERICAN AVE                                                                                DETROIT                MI 48210‐1003
MIDDLETONS                         LEVEL 25, RIALTO SOUTH TOWER   525 COLLINS STREET         MELBOURNE VIC 3000   AUSTRALIA
MIDDLETOWN AREA YMCA               1020 MANCHESTER AVE                                                                              MIDDLETOWN            OH   45042‐1928
MIDDLETOWN CAR CARE                2512 ATCO AVE                                                                                    MIDDLETOWN            OH   45042‐2517
MIDDLETOWN CHEVROLET, INC.         ISAAC WILLIS                   5221 SUMMIT BRIDGE RD                                             MIDDLETOWN            DE   19709‐8823
MIDDLETOWN CHEVROLET, INC.         5221 SUMMIT BRIDGE RD                                                                            MIDDLETOWN            DE   19709‐8823
MIDDLETOWN CITY                    31 WEST MAIN STREET                                                                              MIDDLETOWN            MD   21769
MIDDLETOWN PONTIAC BUICK GMC       PO BOX M                                                                                         MILFORD               PA   18337‐0349
MIDDLETOWN PONTIAC BUICK GMC LLC   500 ROUTE 6 AND 209                                                                              MILFORD               PA   18337‐9414

MIDDLETOWN TAX COLLECTION          FOR SUSQUEHANNA TWP, PA
MIDDLETOWN VEHICLE REALTY, LP      ATTENTION: WILLIAM ROSADO      500 ROUTE 6 AND 209                                               MILFORD               PA   18337‐9414
MIDDLEVILLE MFG. CO.               KENNETH ROWE                   39 E. STATE STREET                                                TROY                  MI   48083
MIDGARDEN, SAM                     101 CHARLES STREET                                                                               PARK RIVER            ND   58270‐5105
MIDGARDEN, SAM                     101 CHARLES ST                                                                                   PARK RIVER            ND   58270‐5105
MIDGETT I I I, WILLIAM A           HC 70 BOX 2848                                                                                   KINGSTON              OK   73439‐9651
MIDGETT JR, WILLIAM E              2736 AVONDALE DR                                                                                 BOWLING GREEN         KY   42104‐4748
MIDGETT, BETTY                     6534 HAHN RD                                                                                     FARMINGTON            MO   63640‐7376
MIDGETT, CARRY                     759 WOODSTONE RD                                                                                 LITHONIA              GA   30058‐8298
MIDGETT, CLENIE B                  3873 GREEN RD                                                                                    FARMINGTON            MO   63640‐7361
MIDGETT, JANINE S                  4100 PHILLIPS RD                                                                                 METAMORA              MI   48455‐9604
MIDGETT, JANINE SUSAN              4100 PHILLIPS RD                                                                                 METAMORA              MI   48455‐9604
MIDGETT, MOLLIE C                  24483 CAVE CREEK RD                                                                              ABINGDON              VA   24211‐4255
MIDGETT, THOMAS E                  3586 W 120TH ST                                                                                  CLEVELAND             OH   44111‐3542
MIDGLEY ROY W                      7255 OAK FOREST DR                                                                               CLARKSTON             MI   48346‐1334
MIDGLEY, ARTHUR W                  700 E LANSING RD               C/O ROBERT W CROSTHWAITE                                          MORRICE               MI   48857‐9629
MIDGLEY, MAUREEN E                 1528 STONY CREEK DR                                                                              ROCHESTER             MI   48307‐1780
MIDGLEY, MAURICE E                 G5279 EAST ATHERTON ROAD                                                                         BURTON                MI   48519
MIDGLEY, ROY W                     7255 OAK FOREST DR                                                                               CLARKSTON             MI   48346‐1334
                                    09-50026-mg              Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                       Exhibit B
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Name                                Address1                          Address2                       Address3            Address4               City                State Zip
MIDKIFF, BETTY D                    8889 MINNE WANNA RD                                                                                         CLARKSTON            MI 48348‐3316
MIDKIFF, CHARLES J                  9249 E PITTSBURG RD                                                                                         DURAND               MI 48429‐9402
MIDKIFF, EDGAR A                    15624 MEADOW LN                                                                                             EXCELSIOR SPRINGS    MO 64024‐9794
MIDKIFF, JAMES E                    25178 OSBORNE RD                                                                                            COLUMBIA STA         OH 44028‐9527
MIDKIFF, JERRY A                    RR 1 BOX 158                                                                                                SALT ROCK            WV 25559‐9710
MIDKIFF, JOHN M                     9329 PARK PL                                                                                                SWARTZ CREEK         MI 48473‐8550
MIDKIFF, JOHN MARK                  9329 PARK PL                                                                                                SWARTZ CREEK         MI 48473‐8550
MIDKIFF, LARRY G                    452 SPRING DR                                                                                               GREENWOOD            IN 46143‐1118
MIDKIFF, ROBERT W                   1700 SE 4TH ST                                                                                              SMITHVILLE           TX 78957‐2918
MIDKIFF, ROY L                      HC 72 BOX 1F                                                                                                FRANKLIN             WV 26807‐9302
MIDKIFF, STANLEY D                  5027 ROOSEVELT RD                                                                                           DEXTER               KY 42036‐9418
MIDKIFF, WILLIAM L                  595 1ST AVE                                                                                                 PONTIAC              MI 48340‐2806
MIDLAM, ANTONIO P                   PO BOX 13                                                                                                   PLEASANT HILL        OH 45359‐0013
MIDLAM, GARY R                      1069 KNOOP RD                                                                                               TROY                 OH 45373‐9660
MIDLAM, MARLENE K                   1069 KNOOP RD                                                                                               TROY                 OH 45373‐9660
MIDLAND APPRAISAL DISTRICT          PO BOX 908002                                                                                               MIDLAND              TX 79708‐0002
MIDLAND AUTOMOTIVE                  1624 90TH ST E                                                                                              TACOMA               WA 98445‐4130
MIDLAND CITY OF                     333 W ELLSWORTH ST                                                                                          MIDLAND              MI 48640
MIDLAND COMPANY                     MICHAEL J.JACKSON                 7000 MIDLAND BLVD                                                         AMELIA               OH 45102‐2608
MIDLAND COMPUTER SHOPPE             MCS BUSINESS TECH CENTER          244 E MAIN ST                                                             MIDLAND              MI 48640‐5114
MIDLAND COUNTY                      KATHY REEVES TAX A\C              PO BOX 712                                                                MIDLAND              TX 79702‐0712
MIDLAND COUNTY FRIEND OF COURT      FOR ACCT OF D MAYHEW              PO BOX 619                     ALPHA#                                     MIDLAND              MI 48640‐0619
MIDLAND COUNTY FRIEND OF COURT      ACCT OF ANTHONY G NELOMS          PO BOX 619                                                                MIDLAND              MI 48640‐0619
MIDLAND COUNTY FRIEND OF COURT      ACCT OF DUANE COOPER              PO BOX 619                                                                MIDLAND              MI 48640‐0619
MIDLAND COUNTY FRIEND OF COURT      ACCT OF RUBEN TREVINO             PO BOX 619                                                                MIDLAND              MI 48640‐0619
MIDLAND DESIG/MAD HT                1280 KEMPAR AVE                                                                                             MADISON HTS          MI 48071‐1424
MIDLAND FENCE COMPANY (INC)         1649 N SAGINAW RD                                                                                           MIDLAND              MI 48640
MIDLAND HEAVY VEHICLE SYSTEMS       DONNA STREET                      2702 N STATE ST                DIV. ECHLIN INC.                           IOLA                 KS 66749‐9403
MIDLAND HEAVY VEHICLE SYSTEMS       DONNA STREET                      DIV. ECHLIN INC.               2702 N. STATE ST.                          HAYWARD              CA 94545
MIDLAND ISD                                                           7201 W COUNTY ROAD 60                                                                          TX 79707
MIDLAND MOLDING INC                 WENDELL DUBBS                     2905 E. 39TH STREET                                KITCHENER ON CANADA
MIDLAND PATHOLOGY AS                PO BOX 7150                                                                                                 TRAVERSE CITY       MI 49696‐7150
MIDLAND ROUSTABOUT SERVICES INC     24 SMITH RD STE 400                                                                                         MIDLAND             TX 79705‐4430
MIDLAND ROUSTABOUT SERVICES INC     BROCKETT & MCNEEL LLP             TGAAR TOWER 24 SMITH ROAD                                                 MIDLAND             TX 79705
                                                                      SUITE 400
MIDLAND ROUSTABOUT SERVICES INC ‐   MIDLAND ROUSTABOUT SERVICES INC   24 SMITH RD STE 400                                                       MIDLAND              TX   79705‐4430
2ND VIN
MIDLAND ROUSTABOUT SERVICES INC ‐   MIDLAND ROUSTABOUT SERVICES INC   24 SMITH RD STE 400                                                       MIDLAND              TX   79705‐4430
3RD VIN
MIDLAND ROUSTABOUT SERVICES INC ‐   MIDLAND ROUSTABOUT SERVICES INC   24 SMITH RD STE 400                                                       MIDLAND              TX   79705‐4430
4TH VIN
MIDLAND ROUSTABOUT SERVICES INC ‐   MIDLAND ROUSTABOUT SERVICES INC   24 SMITH RD STE 400                                                       MIDLAND              TX   79705‐4430
5TH VIN
MIDLAND STEEL PRODUCTS CO           10615 MADIOSON AVE                INACTIVATED PER NYTO 6/21/05                                              CLEVELAND           OH 44102
MIDLAND TRANSPORT LTD               100 MIDLAND DR                                                                       DIEPPE CANADA NB E1A
                                                                                                                         6X4 CANADA
MIDLAND TRANSPORTATION              PO BOX 673                                                                                                  MARSHALLTOWN        IA    50158‐0673
MIDLAND VALVE & FITTING CO          401 BARTH ST                                                                                                MIDLAND             MI    48640
MIDLANDS TECHNICAL COLLEGE          PO BOX 2408                                                                                                 COLUMBIA            SC    29202‐2408
MIDLOTHIAN MEDICAL C                2010 E MIDLOTHIAN BLVD                                                                                      YOUNGSTOWN          OH    44502‐2908
MIDMARK CAPITAL II LP               TOMMY WILLIAMSON                  201 HWY 80 WEST                                                           CLINTON TOWNSHIP    MI    48036
MIDMARK CORPORATION                 MITCH EITING                      60 VISTA DR                                                               VERSAILLES          OH    45380‐9488
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Name                                Address1                             Address2                    Address3   Address4                 City            State Zip
MIDMICHIGAN HEALTH S                9249A W LAKE CITY RD                                                                                 HOUGHTON LAKE    MI 48629
MIDMICHIGAN HOME CARE               MELODIE DODMAN                       3007 N SAGINAW RD                                               MIDLAND          MI 48640‐4555
MIDMICHIGAN KIDNEY‐HYPERTENSI       ATTN: JODI MILLER                    5080 VILLA LINDE PKWY # 2                                       FLINT            MI 48532‐3423
MIDMICHIGAN MEDICAL                 4005 ORCHARD DR                                                                                      MIDLAND          MI 48670‐0001
MIDMICHIGAN PHYSICIA                2618 W SUGNET RD                                                                                     MIDLAND          MI 48640‐2647
MIDNIGHT CARRIAGE
MIDNIGHT IMPRESSIONS, INC.
MIDOCK, PETER P                     3288 W PARKWAY AVE                                                                                   FLINT           MI    48504‐6947
MIDORA, JOHN M                      3267 WOODRIDGE DR                                                                                    LADY LAKE       FL    32162‐7502
MIDOUIN, ARNOLD                     380 E 18TH ST APT 6S                                                                                 BROOKLYN        NY    11226‐5763
MIDPOINT CHEVROLET PONTIAC BUICK GM 17801 VIRGIL H GOODE HWY                                                                             ROCKY MOUNT     VA    24151‐6731

MIDPOINT CHEVROLET PONTIAC BUICK      BRUCE FARRELL                      17801 VIRGIL H GOODE HWY                                        ROCKY MOUNT     VA 24151‐6731
GMC
MIDPOINT CHEVROLET PONTIAC BUICK      17801 VIRGIL H GOODE HWY                                                                           ROCKY MOUNT     VA 24151‐6731
GMC
MIDPOINT INTERNATIONAL INC            35 FURBACHER LANE UNIT 1                                                  AURORA CANADA ON L4G
                                                                                                                6W3 CANADA
MIDPOINT INTERNATIONAL INC            35 FURBACHER LN STE 1                                                     AURORA ON L4G 6W1
                                                                                                                CANADA
MIDRANO, THOMAS                       256 STANTON ST                                                                                     RAHWAY          NJ    07065‐3124
MIDRENA LOWE                          4147 WISNER ST                                                                                     SAGINAW         MI    48601‐4251
MIDSIZE & LUXURY CAR GROUP            DONALD C. TREVILLIAN               902 E HAMILTON                                                  FLINT           MI    48550‐0001
MIDSIZE‐FWD FAIRFAX ASSEMBLY          3201 FAIRFAX TRAFFIC WAY                                                                           KANSAS CITY     KS    66115
MIDSTATE CONSTRUCTION                 ATTN: ROGER NELSON, PRESIDENT      1180 HOLM RD                                                    PETALUMA        CA    94954‐1105
MIDSTATES ANALY/TULS                  5460 S 101ST EAST AVE                                                                              TULSA           OK    74146‐5731
MIDSTATES UNIFORM & LETTERING, INC.

MIDSUN AUTOMOTIVE REPAIR              BAY 1 ‐15016 BANNISTER ROAD S.E.                                          CALGARY AB T2X 1Z5
                                                                                                                CANADA
MIDTEXAS INTERNATIONAL CENTER INC     PO BOX 80                                                                                          MIDLOTHIAN       TX   76065‐0080

MIDTOWN AUTO REPAIR                   254 GEORGE ST                                                             ARTHUR ON N0G 1A0
                                                                                                                CANADA
MIDTOWN AUTO REPAIR                   18 W 32ND ST                                                                                       BAYONNE          NJ   07002‐3906
MIDTOWN AUTO SERVICE                  4510 ALMEDA RD                                                                                     HOUSTON          TX   77004‐4904
MIDTOWN EMERGENCY EXPEDITE            340 EDINBURGH RD N                                                        GUELPH CANADA ON N1H
                                                                                                                7Y4 CANADA
MIDTOWN SECURITY                      330 MADISON AVENUE/BSMT                                                                            NEW YORK        NY    10017
MIDTOWN SQUARE APARTMENTS             ATTN: ANGELA BURKE                 93 SEWARD ST                                                    DETROIT         MI    48202‐2485
MIDTRONICS INC                        7000 MONROE ST                                                                                     WILLOWBROOK     IL    60527‐5654
MIDURA, LOUIS J                       52 DAWES AVE                                                                                       EWING           NJ    08638‐4633
MIDVALE IND/ST.LOUIS                  6310 KNOX INDUSTRIAL DR                                                                            SAINT LOUIS     MO    63139‐3025
MIDWAY AUTO GROUP                     2115 S FIGUEROA ST                                                                                 LOS ANGELES     CA    90007‐2048
MIDWAY AUTO PARTS                     1131 HIGHWAY 98 AND 51                                                                             SUMMIT          MS    39666‐9304
MIDWAY AUTO PARTS                                                        1131 HIGHWAY 51 AND 98                                                          MS    39666
MIDWAY AUTO PARTS & SERVICE           1131 HIGHWAY 98 AND 51                                                                             SUMMIT          MS    39666‐9304
MIDWAY AUTO SERVICE                   92 E MAIN ST                                                                                       NORTON          MA    02766‐2310
MIDWAY AUTO SERVICE                   5128 S RAUL LONGORIA RD                                                                            EDINBURG        TX    78542‐6350
MIDWAY AUTOMOTIVE                     6730 DAVAND DRIVE UNIT 7                                                  MISSISSAUGA ON L5T 1J5
                                                                                                                CANADA
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Name                                 Address1                                Address2                    Address3           Address4         City            State Zip
MIDWAY AUTOS LLC                     COFFEY WILLIAM DAVID III & ASSOCIATES   13810 FM1826                                                    AUSTIN           TX 78737

MIDWAY AUTOS LLC                     COFFEY WILLIAM DAVID III & ASSOCIATES   13810 FM 1826                                                   AUSTIN          TX   78737‐9129

MIDWAY AUTOS, LLC                    JAMES DICK                              5915 MONTANA AVE                                                EL PASO         TX   79925‐1824
MIDWAY BUICK PONTIAC GMC AND         MIDWAY BUICK PONTIAC GMC,               MIDWAY BUICK PONTIAC GMC,   2323 W BELL ROAD                    PHOENIX         AZ   85023
MIDWAY CHEVROLET
MIDWAY BUICK PONTIAC GMC AND         MIDWAY CHEVROLET                        MIDWAY CHEVROLET CO         2323 W. BELL RD.                    PHOENIX         AZ   85023‐3298
MIDWAY CHEVROLET
MIDWAY BUICK PONTIAC GMC AND         MIDWAY BUICK PONTIAC GMC
MIDWAY CHEVROLET
MIDWAY BUICK PONTIAC GMC AND         MIDWAY CHEVROLET
MIDWAY CHEVROLET
MIDWAY CARTAGE INC                   140 S DEARBORN ST                       STE 420                                                         CHICAGO         IL 60603‐5233
MIDWAY CHEV. OLDS PONTIAC, INC.      837 W 3RD ST                                                                                            OWEN            WI 54460‐9721
MIDWAY CHEV. OLDS PONTIAC, INC.      BRIAN BREDLAU                           837 W 3RD ST                                                    OWEN            WI 54460‐9721
MIDWAY CHEVROLET AND MIDWAY BUICK
PONTIAC GMC
MIDWAY CHEVROLET BUICK CADILLAC      BRIAN HAMILTON                          515 SECOND AVE E                                                KEARNEY         NE   68847
MIDWAY CHEVROLET BUICK CADILLAC      515 SECOND AVE E                                                                                        KEARNEY         NE   68847
MIDWAY CHEVROLET COMPANY             LARRY VAN TUYL                          2323 W BELL RD                                                  PHOENIX         AZ   85023‐3202
MIDWAY CHEVROLET COMPANY                                                                                                                     PHOENIX         AZ   85023
MIDWAY CHEVROLET COMPANY             2323 W BELL RD                                                                                          PHOENIX         AZ   85023‐3202
MIDWAY CHEVROLET, INC.               BRIAN HAMILTON                          515 SECOND AVE E                                                KEARNEY         NE   68847
MIDWAY CHEVROLET, INC.               2200 E INTERSTATE 40                                                                                    AMARILLO        TX   79103‐4111
MIDWAY CHEVROLET‐OLDSMOBILE, INC.    381 12TH ST                                                                                             PLAINWELL       MI   49080‐1157

MIDWAY CHEVROLET‐OLDSMOBILE, INC.    THOMAS KOOL                             381 12TH ST                                                     PLAINWELL       MI 49080‐1157

MIDWAY CHEVROLET‐OLDSMOBILE‐         PO BOX 268                                                                                              POCOMOKE CITY   MD 21851‐3015
CADILLA
MIDWAY CHEVROLET‐OLDSMOBILE‐         GLENN NORDSTROM                         1337 OCEAN HWY                                                  POCOMOKE CITY   MD 21851‐3015
CADILLAC‐PONTIAC‐BUICK, INC.
MIDWAY CHEVROLET‐OLDSMOBILE‐         PO BOX 268                                                                                              POCOMOKE CITY   MD 21851
CADILLAC‐PONTIAC‐BUICK, INC.
MIDWAY CHEVROLET/BUDGET              2323 W BELL RD                                                                                          PHOENIX         AZ   85023‐3202
MIDWAY COLLEGE SCHOOL FOR CAREER     512 E STEPHENS ST                                                                                       MIDWAY          KY   40347‐1112
DEVELOPMENT
MIDWAY CORPORATE PLAZA LLC           3051 RESEARCH DR                                                                                        RICHMOND        CA   94806‐5206
MIDWAY DELIVERY SERVICE INC          PO BOX 28307                                                                                            CLEVELAND       OH   44128‐0307
MIDWAY ELEMENTARY SCHOOL             MS COREYS 1ST GRADE CLASS               4552 SPAHR ST                                                   HOLT            MI   48842‐1122
MIDWAY GARAGE                        736 FRENCHTOWN RD                                                                                       MILFORD         NJ   08848‐2226
MIDWAY GROUP                         4751 WILSHIRE BLVD STE 120                                                                              LOS ANGELES     CA   90010‐3838
MIDWAY HOLDINGS, INC.                LARRY VAN TUYL                          2201 W BELL RD                                                  PHOENIX         AZ   85023‐3213
MIDWAY HOME ENTERTAINMENT INC.
MIDWAY MOTOR CO., INC.               LINDA TETER                             RTE 33 & MAIN                                                   HARMAN          WV   26270
MIDWAY MOTOR CO., INC.               RTE 33 & MAIN                                                                                           HARMAN          WV   26270
MIDWAY MOTORS                        416 S DATE ST                                                                                           HILLSBORO       KS   67063‐1424
MIDWAY MOTORS BUICK, PONTIAC, GMC,   GLENN HOOVER                            113 S ASH ST                                                    MC PHERSON      KS   67460‐4801
CADILLAC LLC
MIDWAY MOTORS CHEVROLET, BUICK,      GLENN HOOVER                            416 S DATE ST                                                   HILLSBORO       KS   67063‐1424
PONTIAC LLC
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Name                                 Address1                       Address2                         Address3                     Address4                   City             State Zip
MIDWAY MOTORS SUPERCENTER            113 S ASH ST                                                                                                            MC PHERSON        KS 67460‐4801
MIDWAY PONT‐GMC‐BUI/BUDGET           2201 W BELL RD                                                                                                          PHOENIX           AZ 85023‐3213
MIDWAY PONTIAC (BUDGET)              300 CENTRE POINTE DR                                                                                                    VIRGINIA BEACH    VA 23462‐4415
MIDWAY PONTIAC‐GMC‐BUICK             2201 W BELL RD                                                                                                          PHOENIX           AZ 85023‐3213
MIDWAY PROD/MONROE                   1 LYMAN E HOYT DRIVE                                                                                                    MONROE            MI 48161
MIDWAY PROD/SHIPSHEW                 450 E MIDDLEBURY ST            C/O LAKEPART INDUSTRIES OF IN                                                            SHIPSHEWANA       IN 46565‐8632
MIDWAY PRODUCTS                      ROB DARNELL X2261              40 SEMINARY ST                                                                           GREENWICH         OH 44837‐1040
MIDWAY PRODUCTS                      ROB DARNELL X2261              40 SEMINARY ST.                                                                          FINDLAY           OH 45840
MIDWAY PRODUCTS CORP                 ED BYERS                       523 DETROIT AVE                                                                          MONROE            MI 48162‐2540
MIDWAY PRODUCTS GROUP                ROB DARNELL X2261              600 CRYSTAL AVE                                                                          LINCOLN           NE
MIDWAY PRODUCTS GROUP INC            CHRIS FOOR                     200 PROGRESSIVE DRIVE,                                                                   OTTOVILLE         OH 45876
MIDWAY PRODUCTS GROUP INC            G.W. (JERRY) UFFORD            600 CRYSTAL AVE                                                                          FINDLAY           OH 45840‐4600
MIDWAY PRODUCTS GROUP INC            G.W. (JERRY) UFFORD            750 E MIDDLEBURY ST                                                                      SHIPSHEWANA       IN 46565‐8801
MIDWAY PRODUCTS GROUP INC            JERRY UFFORD                   2045 INDUSTRIAL DR                                                                       FINDLAY           OH 45840‐5444
MIDWAY PRODUCTS GROUP INC            JERRY UFFORD                   40 SEMINARY ST                                                                           GREENWICH         OH 44837‐1040
MIDWAY PRODUCTS GROUP INC            ROB DARNELL X2261              40 SEMINARY ST                                                                           GREENWICH         OH 44837‐1040
MIDWAY PRODUCTS GROUP INC            ROB DARNELL X2261              40 SEMINARY ST.                                                                          FINDLAY           OH 45840
MIDWAY PRODUCTS GROUP INC            ROB DARNELL X2261              450 E MIDDLEBURY ST              C/O LAKEPARK INDUSTRIES OF                              SHIPSHEWANA       IN 46565‐8632
                                                                                                     IN.
MIDWAY PRODUCTS GROUP INC            ROB DARNELL X2261              600 CRYSTAL AVE                                                                          LINCOLN          NE
MIDWAY PRODUCTS GROUP INC            ROB DARNELL X2261              C/O FINDLAY PRODUCTS CORP        2045 INDUSTRIAL DR                                      CANTON           MI 48188
MIDWAY PRODUCTS GROUP INC            ROB DARNELL X2261              C/O LAKEPARK INDUSTRIES OF IN.   450 E MIDDLEBURY ST          REYNOSA TM 88780
                                                                                                                                  MEXICO
MIDWAY PRODUCTS GROUP INC            ROBERT DARNELL X2261           C/O PROGRESSIVE STAMPINGS, INC   200 PROGRESSIVE DRIVE        TRMICE 40004 CZECH (REP)

MIDWAY PRODUCTS GROUP INC            1 LYMAN E HOYT DR                                                                                                       MONROE           MI   48161
MIDWAY PRODUCTS GROUP INC            2045 INDUSTRIAL DR                                                                                                      FINDLAY          OH   45840‐5444
MIDWAY PRODUCTS GROUP INC            40 SEMINARY ST                                                                                                          GREENWICH        OH   44837‐1040
MIDWAY PRODUCTS GROUP INC            600 CRYSTAL AVE                                                                                                         FINDLAY          OH   45840‐4600
MIDWAY PRODUCTS GROUP INC            750 E MIDDLEBURY ST                                                                                                     SHIPSHEWANA      IN   46565‐8801
MIDWAY PRODUCTS GROUP, INC.          ROBERT DARNELL X2261           C/O PROGRESSIVE STAMPINGS, INC   200 PROGRESSIVE DRIVE        TRMICE 40004 CZECH (REP)

MIDWAY RAILROAD CONSTRUCTION C       PO BOX 639                                                                                                              MABLETON         GA 30126‐0639
MIDWAY RAILROAD CONSTRUCTION CO      PO BOX 639                                                                                                              MABLETON         GA 30126‐0639
INC
MIDWAY SIGNS INC                     803 N MICHIGAN AVE                                                                                                      SAGINAW          MI 48602‐4322
MIDWAY‐PONTIAC, CHEVROLET & BUICK,   320 E MAIN ST                                                                                                           ORWELL           OH 44076‐9431

MIDWAY‐PONTIAC, CHEVROLET & BUICK,   320 E MAIN ST                                                                                                           ORWELL           OH 44076‐9431
INC.
MIDWAY‐PONTIAC, CHEVROLET & BUICK,   WALTER SCOTT                   320 E MAIN ST                                                                            ORWELL           OH 44076‐9431
INC.
MIDWESCO FILTER RESOURCES INC        400 BATTAILE DR                PO BOX 2075                                                                              WINCHESTER       VA 22601‐4263
MIDWESCO FILTER RESOURCES INC        385 BATTAILE DR                PO BOX 2075                                                                              WINCHESTER       VA 22601‐4262
MIDWEST 008209 10 25 2007
MIDWEST 009305 10 25 2007
MIDWEST ACOUST‐A‐FIBER               GARY BALLARD                   487 LONDON ROAD                                                                          CARMEL           IN   46032
MIDWEST ACOUST‐A‐FIBER INC           759 PITTSBURGH DR                                                                                                       DELAWARE         OH   43015‐2862
MIDWEST ACOUST‐A‐FIBER INC                                          759 PITTSBURGH DR                                                                        DELAWARE         OH   43015
MIDWEST ACOUST‐A‐FIBER INC           487 LONDON RD                                                                                                           DELAWARE         OH   43015‐2849
MIDWEST ACOUST‐A‐FIBER INC           DAVID DOLIK                    759 PITTSBURGH DR                MAI                                                     DELAWARE         OH   43015‐2862
MIDWEST ACOUST‐A‐FIBER INC           DAVID DOLIK                    MAI                              759 PITTSBURGH DRIVE                                    FREDERICK        OK   73542
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Name                             Address1                              Address2               Address3               Address4         City                  State Zip
MIDWEST ACOUST‐A‐FIBER INC       GARY BALLARD                          487 LONDON ROAD                                                CARMEL                 IN 46032
MIDWEST ACOUST‐A‐FIBER INC.      DAVID DOLIK                           759 PITTSBURGH DR      MAI                                     DELAWARE               OH 43015‐2862
MIDWEST ACOUST‐A‐FIBER INC.      DAVID DOLIK                           MAI                    759 PITTSBURGH DRIVE                    FREDERICK              OK 73542
MIDWEST ACOUST‐A/DEL             759 PITTSBURGH DR                                                                                    DELAWARE               OH 43015‐2862
MIDWEST AIR FILTER INC           319 CLINTON ST                                                                                       LANSING                MI 48906‐4414
MIDWEST AIRE                     218 TONE RD                                                                                          KINCHELOE              MI 49788
MIDWEST AMERICA FED C U          FOR DEPOSIT TO THE ACCOUNT OF         1104 MEDICAL PARK DR   G RICE                                  FORT WAYNE             IN 46825‐5826
MIDWEST AMERICA FED CREDIT UNI   FOR DEPOSIT TO THE ACCOUNT OF         1104 MEDICAL PARK DR   T BRADFORD                              FORT WAYNE             IN 46825‐5826
MIDWEST AMERICA FEDERAL CREDIT   1104 MEDICAL PARK DR                                                                                 FORT WAYNE             IN 46825‐5826
UNION
MIDWEST ASSOCIATES IN NEU        PO BOX 87541                                                                                         CHICAGO                IL   60680‐0541
MIDWEST AUTO REPAIR              611 WOOD AVE                                                                                         CARTER LAKE            IA   51510‐1519
MIDWEST AUTO SERVICE             409 W ILLINOIS AVE                                                                                   MORRIS                 IL   60450‐1726
MIDWEST AUTOMOTIVE INC.                                                1065 LEE ST                                                                           IL   60016
MIDWEST AUTOMOTIVE MEDIA ASSOC   7390 N LINCOLN AVE                                                                                   LINCOLNWOOD            IL   60712‐1705
MIDWEST AUTOMOTIVE MEDIA ASSOC   12423 S 75TH AVE                                                                                     PALOS HEIGHTS          IL   60463‐1307
MIDWEST AUTOMOTIVE MEDIA         ATTN DAVE BOE                         155 E ALGONQUIN RD     C/O DAILY HERALD                        ARLINGTON HEIGHTS      IL   60005‐4617
ASSOCIATION                                                                                   NEWSPAPER
MIDWEST AUTOMOTIVE MEDIA         27383 LILLY CT                                                                                       BROWNSTOWN TOWNSHIP   MI 48183‐2788
ASSOCIATION
MIDWEST BLOCK & BRICK            2203 E MCCARTY ST                                                                                    JEFFERSON CITY        MO    65101‐4359
MIDWEST BRAKE BOND CO            26255 GROESBECK HWY                                                                                  WARREN                MI    48089‐4150
MIDWEST BRAKE/WARREN             26255 GROESBECK HWY                                                                                  WARREN                MI    48089‐4150
MIDWEST BUSINESS SYSTEMS         PO BOX 40090                                                                                         REDFORD               MI    48240‐0090
MIDWEST CAR CORPORATION          SALT LAKE INTL AIRPORT                PO BOX 22249 AMF                                               SALT LAKE CITY        UT    84122
MIDWEST CAR CORPORATION          6500 CONVAIR ROAD                                                                                    EL PASO               TX    79925
MIDWEST CAR CORPORATION          6610 S TUCSON BLVD                                                                                   TUCSON                AZ    85756‐7012
MIDWEST CAR CORPORATION          222 LAWE ST                                                                                          KAUKAUNA              WI    54130
MIDWEST CAR CORPORATION          3201 AIRPORT WAY                                                                                     BOISE                 ID    83705
MIDWEST CAR CORPORATION          606 NORTH 3800 WEST                                                                                  SALT LAKE CITY        UT    84122
MIDWEST CAR CORPORATION          1411 COULTER DR NW                                                                                   ROANOKE               VA    24012‐1133
MIDWEST CAR CORPORATION          5934 S HOWELL AVE                                                                                    MILWAUKEE             WI    53207‐6232
MIDWEST CAR CORPORATION          3906 PIPER DR                                                                                        FORT WAYNE            IN    46809‐3166
MIDWEST CAR CORPORATION          1680 JETWAY BLVD                                                                                     COLUMBUS              OH    43219‐1671
MIDWEST CAR CORPORATION          2302 COMMERCIAL AVE                                                                                  MADISON               WI    53704‐4768
MIDWEST CAR CORPORATION          6500 CONVAIR                                                                                         EL PASO               TX    79925
MIDWEST CAR CORPORATION          3795 EAST 17TH AVENUE                                                                                COLUMBUS              OH    43219
MIDWEST CAR CORPORATION          BOISE MUNICIPAL AIRPORT                                                                              BOISE                 ID    83705
MIDWEST CAR CORPORATION          222 LAWE STREET                                                                                      KAUKAUNA              WI    54130
MIDWEST CAR CORPORATION          1300 AIRPORT ROAD                                                                                    WICHITA               KS    67209
MIDWEST CAR CORPORATION          606 N 3800 WEST                                                                                      SALT LAKE CITY        UT    84122
MIDWEST CAR CORPORATION          3795 INT'L GATEWAY/INT'L AP                                                                          COLUMBUS              OH    43219
MIDWEST CAR CORPORATION          1300 AIRPORT RD                                                                                      WICHITA               KS    67209
MIDWEST CAR CORPORATION          PO BOX 800                                                                                           KAUKAUNA              WI    54130‐0800
MIDWEST CAR CORPORATION          EL PASO INTERNATIONAL AIRPORT                                                                        EL PASO               TX    79925
MIDWEST CAR CORPORATION          TUCSON INTERNATIONAL AIRPORT                                                                         TUCSON                AZ    85719
MIDWEST CAR CORPORATION          3043 WRIGHT STREET                                                                                   BOISE                 ID    83705
MIDWEST CAR CORPORATION          280 N. MAYFLOWER DRIVE                                                                               APPLETON              WI    54915
MIDWEST CAR CORPORATION          PT. COLUMBUS A/P, 3795 INTL.GATEWAY                                                                  COLUMBUS              OH    43219

MIDWEST CAR RENTAL               201 RYAN ST                                                                                          CHILLICOTHE           MO 64601‐2746
MIDWEST CARRIERS INC             PO BOX 530                                                                                           MARS HILL             ME 04758‐0530
                                    09-50026-mg            Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit B
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Name                                Address1                           Address2                   Address3   Address4         City                State Zip
MIDWEST COCA COLA COMPANY                                              1189 EAGAN INDUSTRIAL RD                                                    MN 55121
MIDWEST COLLISION CONSULTANTS INC   6009 STEEPLEGATE CT                                                                       JEFFERSON CITY       MO 65101‐8624

MIDWEST COLLISION EQUIPMENT       1553 BENTON DR                                                                              ARNOLD              MO   63010‐1830
MIDWEST COLLISIONS EQUIPMENT L    1553 BENTON DR                                                                              ARNOLD              MO   63010‐1830
MIDWEST COMMUNITY FCU             8770 N STATE ROUTE 66                                                                       DEFIANCE            OH   43512‐8254
MIDWEST COMMUNITY HE              442 W. HIGH ST.                                                                             BRYAN               OH   43506
MIDWEST COMPRESSOR CO INC         12901 ELMWOOD AVE                                                                           CLEVELAND           OH   44111‐5916
MIDWEST COURIER                   1550 E HIGGINS RD STE 122                                                                   ELK GROVE VILLAGE   IL   60007‐1627
MIDWEST COURIER                   DANA JORDAN                          1550 E HIGGINS RD                                      ELK GROVE VILLAGE   IL   60007
MIDWEST DEDICATED SERVICES INC    14921 GREEN BRIAR DR                                                                        SMITHVILLE          MO   64089‐8831
MIDWEST DEDICATED SERVICES INC    JENNIFER DOSS                        6200 NE 142ND ST                                       SMITHVILLE          MO   64089‐8360
MIDWEST DEDICATED SERVICES INC    ATTN: CORPORATE OFFICER/AUTHORIZED   14921 GREEN BRIAR DR                                   SMITHVILLE          MO   64089‐8831
                                  AGENT
MIDWEST DIAGNOSTIC C              PO BOX 60109                                                                                SAINT LOUIS         MO   63150‐0001
MIDWEST DIE SUPPLY CO             6240 AMERICAN RD                                                                            TOLEDO              OH   43612
MIDWEST DIE SUPPLY CO             6240 AMERICAN RD                     PO BOX 6657                                            TOLEDO              OH   43612
MIDWEST ELEVATOR INSPECTION       7337 TERRI ROBYN DR                                                                         SAINT LOUIS         MO   63129‐5233
MIDWEST EMERGENCY ME              PO BOX 11157                                                                                KANSAS CITY         MO   64119‐0157
MIDWEST ENGINE EXCHANGE           3712 MILWAUKEE ST                                                                           MADISON             WI   53714‐2402
MIDWEST ENVIRONMENTAL CONTROL     4708 ANGOLA RD                                                                              TOLEDO              OH   43615‐6409
MIDWEST ENVIRONMENTAL CONTROL INC 4708 ANGOLA RD                                                                              TOLEDO              OH   43615‐6409

MIDWEST EXPRESS INC                 PO BOX 632744                                                                             CINCINNATI          OH   45263‐2744
MIDWEST EXPRESS LLC                 PO BOX 12030                                                                              LANSING             MI   48901‐2030
MIDWEST FAB/GR RAPID                648 BOND AVE NW                                                                           GRAND RAPIDS        MI   49503‐1400
MIDWEST FASTENER CORP                                                  ATTN. ED GALLAUDET                                                         MI   48083
MIDWEST FILTRATION CO               PO BOX 23128                                                                              CINCINNATI          OH   45223‐0128
MIDWEST FLUID POWER CO              ATTN: BRUCE GONRING                5702 OPPORTUNITY DR                                    TOLEDO              OH   43612‐2903
MIDWEST FLUID POWER LLC             5702 OPPORTUNITY DR                                                                       TOLEDO              OH   43612‐2903
MIDWEST HEALTH CENTER‐ROMULUS       9301 MIDDLEBELT RD                                                                        ROMULUS             MI   48174‐2532
MIDWEST HEALTH STRAT                75 REMITTANCE DR DEPT 6535                                                                CHICAGO             IL   60675‐6535
MIDWEST HOSPITAL SPE                PO BOX 803805                                                                             KANSAS CITY         MO   64180‐0001
MIDWEST II                          6194 SECTION RD                                                                           OTTAWA LAKE         MI   49267‐9526
MIDWEST IMAGING                     19951 JAMES COUZENS FWY                                                                   DETROIT             MI   48235‐1840
MIDWEST INDUSTRIAL METALS CORP      3030 N TRIPP AVE                                                                          CHICAGO             IL   60641‐5450
MIDWEST INDUSTRIAL RUBBER INC       2360 59TH ST                                                                              SAINT LOUIS         MO   63110‐2812
MIDWEST INDUSTRIAL SERVICES INC     PO BOX 714                                                                                BRIGHTON            MI   48116‐0714
MIDWEST INSERT COMPOSITE MLDG       CHIRAV PATEL                       3940 INDUSTRIAL AVE                                    HARRISON TOWNSHIP   MI
MIDWEST INSERT COMPOSITE MOLDING    CHIRAV PATEL                       3940 INDUSTRIAL AVE                                    HARRISON TOWNSHIP   MI

MIDWEST INSTAL/ROSEV                PO BOX 270                                                                                ROSEVILLE           MI 48066‐0270
MIDWEST INTERNATIONAL CONCOURS      21700 NORTHWESTERN HWY STE 645                                                            SOUTHFIELD          MI 48075‐4912
MIDWEST INTERNATIONAL               105 STOVER RD                                                                             CHARLEVOIX          MI 49720‐1756
STANDARDPRODUCTS INC
MIDWEST LOCOMOTIVE INC              ATTN: DAVID WYNN                   6817 STADIUM DR # 114                                  KANSAS CITY         MO   64129‐1862
MIDWEST LOGISTICS INC               PO BOX 2963                                                                               SOUTH BEND          IN   46680‐2963
MIDWEST LOGISTICS SYSTEMS LTD       PO BOX 461                                                                                SAINT MARYS         OH   45885‐0461
MIDWEST MANUFACTURING CO            117 W 2ND ST                       PO BOX F                                               STANBERRY           MO   64489‐1105
MIDWEST MANUFACTURING RESOURCES     10165 INTERNATIONAL BLVD                                                                  CINCINNATI          OH   45246‐4840

MIDWEST MAT SALES INC               PO BOX 744                                                                                MIAMISBURG          OH 45343‐0744
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Name                                Address1                              Address2                    Address3                  Address4               City               State Zip
MIDWEST MECHANICAL CONTRATORS, INC. DAVID CIMPL                           10955 LOWELL AVE STE 350                                                     OVERLAND PARK       KS 66210‐2408

MIDWEST MEDICAL COPY SERVICE        PO BOX 129                                                                                                         LEO                IN 46765‐0129
MIDWEST MEDICAL SUPP                3319 GREENFIELD RD #343                                                                                            DEARBORN           MI 48120
MIDWEST METAL PRODUCTS              ATTN: JEREMI DOBBS                    1403 S LIBERTY ST                                                            MUNCIE             IN 47302‐3147
MIDWEST MFG. CO.                    GEORGE ORLEMAN                        DIV. OF SMITH JONES, INC.   117 W 2ND ST., PO BOX F   GUANGZHOU, 511356
                                                                                                                                CHINA (PEOPLE'S REP)
MIDWEST MICRO/FLETCH                6910 US ROUTE 36E                                                                                                  FLETCHER           OH   45326
MIDWEST MODEL/OAK PK                8800 NORTHEND AVE                                                                                                  OAK PARK           MI   48237‐2364
MIDWEST MOTOR                       PETER RINGDAHL                         5115 EAST MAIN                                                              BISMARCK           ND   58502
MIDWEST MOTOR EXPRESS INC           PO BOX 1496                                                                                                        BISMARCK           ND   58502‐1496
MIDWEST MOTOR SUPPLY CO             582 W GOODALE ST                       PO BOX 2470                                                                 COLUMBUS           OH   43215‐1105
MIDWEST MOTOR SUPPLY CO             5015 EAST MAIN, PO BOX 1058                                                                                        BISMARK            ND   58501
MIDWEST MOTOR SUPPLY CO             50515 EAST MAIN, PO BOX 1058                                                                                       BISMARK            ND   58501
MIDWEST MOTORS                      7871 MARKET ST                                                                                                     BOARDMAN           OH   44512‐5970
MIDWEST MOTORS                      775 N MERIDIAN RD                                                                                                  YOUNGSTOWN         OH   44509‐1006
MIDWEST MOVING & STORAGE CO INC     8150 RONDA DR                                                                                                      CANTON             MI   48187‐2071
MIDWEST NEUROSURGERY                6420 PROSPECT AVE STE T411                                                                                         KANSAS CITY        MO   64132‐4182
MIDWEST NEUROSURGICA                2901 W KINNICKINNIC RIVER PKWY STE 201                                                                             MILWAUKEE          WI   53215‐3660

MIDWEST OPEN MRI MGM                PO BOX 413022                                                                                                      KANSAS CITY        MO   64141‐3022
MIDWEST ORTHOPAEDICS                INSURANCE PAYMENTS DEPARTMENT                                                                                      CAROL STREAM       IL   60122‐59
MIDWEST ORTHOPEDICS                 1010 CARONDELET DR STE 312                                                                                         KANSAS CITY        MO   64114‐4823
MIDWEST ORTHOPEDICS                 PO BOX 2689                                                                                                        CAROL STREAM       IL   60132‐0001
MIDWEST PAPER SPECIALTIES CO        322 RYDER RD                                                                                                       TOLEDO             OH   43607‐3104
MIDWEST PAPER SPECIALTIES CO I      322 RYDER RD                          PO BOX 2769                                                                  TOLEDO             OH   43607‐3104
MIDWEST PAVEMENT CONTRACTING I      2530 E BUNO RD                                                                                                     MILFORD            MI   48381‐3612
MIDWEST PAVEMENT CONTRACTING INC    2530 E BUNO RD                                                                                                     MILFORD            MI   48381‐3612

MIDWEST PAVEMT/WIXOM                PO BOX 302                                                                                                         WIXOM              MI 48393
MIDWEST PHOTOGRAPHY WORKSHOPS       28830 W 8 MILE RD                                                                                                  FARMINGTON HILLS   MI 48336

MIDWEST PHYSICIAN AN                PO BOX 633478                                                                                                      CINCINNATI         OH   45263‐3478
MIDWEST PHYSICIAN COPY SO           7322 SE APACHE RD                                                                                                  COWGILL            MO   64637‐8795
MIDWEST PLASTIC & HA                621 S NEW BALLAS RD STE 6003B                                                                                      SAINT LOUIS        MO   63141‐8273
MIDWEST PLASTIC & HAND SU           621 S NEW BALLAS RD STE 6003B                                                                                      SAINT LOUIS        MO   63141‐8273
MIDWEST PRECISION PRODUCTS INC      9940 YORK ALPHA DR                                                                                                 NORTH ROYALTON     OH   44133‐3510
MIDWEST PRESSURE SYSTEMS INC        1035 ENTRY DR                                                                                                      BENSENVILLE        IL   60106‐3314
MIDWEST PRO PAINTING INC            12845 FARMINGTON RD                                                                                                LIVONIA            MI   48150‐1607
MIDWEST PUMP/BX 702                 PO BOX 702                                                                                                         NEWBURGH           IN   47629‐0702
MIDWEST QUALITY TRANSPORT LTD       4201 LAYBOURNE RD                                                                                                  SPRINGFIELD        OH   45505‐3617
MIDWEST RADIOLOGICAL ASSOC PC       PO BOX 38900                                                                                                       SAINT LOUIS        MO   63138‐8900
MIDWEST RENTAL SERVICES             3521 INTERNATIONAL LN                                                                                              MADISON            WI   53704‐3137
MIDWEST RESEARCH INSTITUTE          425 VOLKER BLVD                                                                                                    KANSAS CITY        MO   64110‐2241
MIDWEST RESEARCH INSTITUTE INC      1617 COLE BLVD                                                                                                     LAKEWOOD           CO   80401‐3305
MIDWEST RETAR/BEDFRD                2300 PINNACLE PKWY                                                                                                 TWINSBURG          OH   44087‐2368
MIDWEST RUBBER CO                   3525 RANGE LINE RD                    PO BOX 98                                                                    DECKERVILLE        MI   48427‐9420
MIDWEST RUBBER CO                   ROBERT A. ROSHEK                      3525 RANGE LINE RD                                                           MANCHESTER         MI   48158
MIDWEST RUBBER CO                   3525 RANGE LINE RD                                                                                                 DECKERVILLE        MI   48427‐9420
MIDWEST RUBBER COMPANY              ROBERT A. ROSHEK                      3525 RANGE LINE RD                                                           MANCHESTER         MI   48158
MIDWEST RUBBER COMPANY              3525 RANGE LINE RD                    PO BOX 98                                                                    DECKERVILLE        MI   48427‐9420
MIDWEST SCRAP MANAGEMENT            PO BOX 4950                                                                                                        KANSAS CITY        MO   64120‐0050
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Name                              Address1                             Address2                   Address3   Address4               City               State Zip
MIDWEST SCRAP MANAGEMENT INC      ATTN: CORPORATE OFFICER/AUTHORIZED   PO BOX 4950                                                  KANSAS CITY         MO 64120‐0050
                                  AGENT
MIDWEST SEAS SOFTWARE DEV         206 S 5TH AVE STE 200                                                                             ANN ARBOR          MI 48104‐2297
MIDWEST SEAS SOFTWARE DEVELOPMENT 307 S MACOMB ST                      SRT SOLUTIONS                                                MANCHESTER         MI 48158‐9639

MIDWEST SERVICES                   645 W 155 S                                                                                      ANGOLA             IN 46703‐7930
MIDWEST SHOWS INC                  PO BOX 737                                                                                       AUSTIN             MN 55912‐0737
MIDWEST SIGN & SCREEN PRINTING     GLORIA RUSSELL                      45 MARYLAND AVE E                                            SAINT PAUL         MN 55117‐4610
SUPPLY CO.
MIDWEST SINTERED                   CHRISTY X612                        13605 S HALSTED ST                                           RIVERDALE          IL    60827‐1163
MIDWEST SINTERED                   CHRISTY X612                        13605 SOUTH HALSTEAD ST.                                     TWINSBURG          OH
MIDWEST SPECIAL SURGERY,PC         830 WATERBURY FALLS DR                                                                           O FALLON           MO    63368‐2215
MIDWEST SPECIALTIES INC            FLEXARM                             851 INDUSTRIAL DR                                            WAPAKONETA         OH    45895‐9243
MIDWEST SPECIALTIES INC            851 INDUSTRIAL DR                                                                                WAPAKONETA         OH    45895‐9243
MIDWEST SPINE INSTIT               1950 CURVE CREST BLVD W STE 100                                                                  STILLWATER         MN    55082‐6062
MIDWEST SPRINKLER CORP             1420 S JACKSON ST                                                                                LOUISVILLE         KY    40208‐2719
MIDWEST STAMP/BOWL G               513 NAPOLEON RD                                                                                  BOWLING GREEN      OH    43402‐4822
MIDWEST STAMP/DEARBO               23400 MICHIGAN AVE STE 715                                                                       DEARBORN           MI    48124‐1915
MIDWEST STAMPING & MFG CO          PO BOX 1120 RMVD MS                 3455 BRIARFIELD RD STE A                                     MAUMEE             OH    43537
MIDWEST STAMPING INC               3455 BRIARFIELD BLVD STE A                                                                       MAUMEE             OH    43537‐8933
MIDWEST TECHNOLOGY VENTURES IN     PO BOX 78155                        11301 E 300 S                                                INDIANAPOLIS       IN    46278‐0155
MIDWEST TERMINALS OF TOLEDO        387 W DUSSEL DR                                                                                  MAUMEE             OH    43537‐1632
INTERNATIONAL INC
MIDWEST TERMITE & PEST CONTROL     ATTN: MIKE LUCAS                    5133 PENSACOLA BLVD                                          MORAINE            OH    45439‐2942
MIDWEST TEST/TROY                  1072 WHEATON DR                                                                                  TROY               MI    48083‐1927
MIDWEST THER/ROCHEST               321 SOUTH ST                                                                                     ROCHESTER          MI    48307‐2241
MIDWEST THERMAL SPRAY              23164 COMMERCE DR                                                                                FARMINGTON HILLS   MI    48335‐2722
MIDWEST THERMAL SPRAY INC          23164 COMMERCE DR                                                                                FARMINGTON HILLS   MI    48335‐2722
MIDWEST THERMAL VAC                5727 95TH AVE                                                                                    KENOSHA            WI    53144‐7801
MIDWEST TOOL & EQUIPMENT CENTE     4485 HIGHLAND RD                                                                                 WATERFORD          MI    48328‐1223
MIDWEST TOOL & EQUIPMENT CENTER    4485 HIGHLAND RD                                                                                 WATERFORD          MI    48328‐1223
MTEC
MIDWEST TRANSATLANTIC LINES INC    1230 W BAGLEY RD                                                                                 BEREA              OH    44017‐2910
MIDWEST TRANSIT EQUIPMENT          ATTN TOM BOLDWIN                    PO BOX 582                                                   KANKAKEE           IL    60901‐0582
MIDWEST TRANSIT EQUIPMENT                                              16725 VAN DAM RD                                                                IL    60473
MIDWEST TRANSIT SERVICE INC        5700 W MINNESOTA                                                                                 INDIANAPOLIS       IN    46241
MIDWEST TRANSPORTATION RESOURCES   PO BOX 110119                                                                                    NASHVILLE          TN    37222‐0119
LLC
MIDWEST TV INC                     ED TRIMBLE                          7677 ENGINEER RD                                             SAN DIEGO          CA    92111‐1515
MIDWEST TYPESETTING CORP           DBA MARKETING CONNECTION            93 PIQUETTE ST                                               DETROIT            MI    48202‐3511
MIDWEST TYPESETTING CORP           93 PIQUETTE ST                                                                                   DETROIT            MI    48202‐3511
MIDWEST VAN EXPRESS                PO BOX 725                                                                                       ALGONQUIN          IL    60102‐0725
MIDWEST VIDEO
MIDWEST VIDEO COMPANY              1515 SOUTER DR                                                                                   TROY               MI    48083‐2846
MIDWEST VISION                     PO BOX 456                                                                                       SAINT CLOUD        MN    56302‐0456
MIDWEST WATERBLASTING              6299 PENNINGTON ROAD                                                                             TECUMSEH           MI    49286
MIDWESTERN AUTO GROUP              6335 PERIMETER LOOP RD                                                                           DUBLIN             OH    43017‐3207
MIDWESTERN AUTO GROUP              BRENTLINGER, MARK R                 6335 PERIMETER LOOP RD                                       DUBLIN             OH    43017‐3207
MIDWESTERN INS ALLIANCE
MIDWESTERN PATHOLOGY               6810 RELIABLE PKWY                                                                               CHICAGO             IL   60686‐0001
MIDWESTERN RUBBER CO               JOHN MILLER                         2124 W WILDEN                         WENZHOU ZHEJIANG
                                                                                                             CHINA (PEOPLE'S REP)
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Name                             Address1                        Address2                        Address3   Address4               City               State Zip
MIDWESTERN RUBBER PRODUCTS CO    JOHN MILLER                     2124 W WILDEN                              WENZHOU ZHEJIANG
                                                                                                            CHINA (PEOPLE'S REP)
MIDWESTERN RUBBER PRODUCTS INC   2124 W WILDEN AVE                                                                                 GOSHEN              IN   46528‐1146
MIDWESTERN STATE UNIVERSITY      3410 TAFT BLVD                                                                                    WICHITA FALLS       TX   76308‐2036
MIDWESTERN STATE UNIVERSITY      3410 TAFT BLVD                                                                                    WICHITA FALLS       TX   76308‐2036
CONTINUING EDUCATION
MIDWESTERN TRANSIT SERVICE INC   4367 E SEURAT RD                                                                                  ASHLEY             IL    62808‐3803
MIDWESTERN TRANSPORT INC         5300 LAWNDALE AVE                                                                                 MC COOK            IL    60525
MIDWESTERN UNIVERSITY            555 31ST ST                                                                                       DOWNERS GROVE      IL    60515‐1235
MIDWESTERN WHEELS INC            404 E 1‐240 SERVICE ROAD                                                                          OKLAHOMA CITY      OK    73149
MIDWESTERN WHEELS INC.           1611 E AMELIA ST                                                                                  APPLETON           WI    54911‐4006
MIDWESTERN WHEELS, INC           N755 COMMUNICATION DR                                                                             APPLETON           WI    54914‐8592
MIDWESTERN WHEELS, INC.          2077 AIRPORT DRIVE                                                                                GREEN BAY          WI    54313
MIDYETT, GARY W                  PO BOX 493                                                                                        VERSAILLES         MO    65084‐0493
MIDYETT, MARTHA A                4601 BUCKNER LN                                                                                   PADUCAH            KY    42001‐6562
MIDYETT, RUBEN                   32 WINCHESTER CIR                                                                                 MONROE             LA    71203‐6625
MIDYETT, RUBEN J                 32 WINCHESTER CIR                                                                                 MONROE             LA    71203‐6625
MIDYETT, RUBEN JAMES             BARON & BUDD PC                 9015 BLUEBONNET BLVD                                              BATON ROUGE        LA    70810‐2812
MIDYETT, RUBEN JAMES             BARON & BUDD                    3102 OAK LANE AVE, SUITE 1100                                     DALLAS             TX    75219
MIDYETT, RUBEN JAMES             DIMOS BROWN ERSKINE BURKETT &   1216 STUBBS AVE                                                   MONROE             LA    71201‐5622
                                 GARNER LLP
MIDYETTE, JOHN H                 1135 CENTRAL PARK BLVD N                                                                          GREENWOOD          IN    46143‐7313
MIDZINSKI, ROBERT S              1303 OLD WILMINGTON RD                                                                            HOCKESSIN          DE    19707‐9674
MIE WKM                          107 W IRON ALY                                                                                    BLAIRSVILLE        PA    15717‐1424
MIECHIELS, RICHARD L             70855 DEQUINDRE RD                                                                                LEONARD            MI    48367‐4438
MIECHUR THOMAS                   470 DELNOR GLEN DR                                                                                SAINT CHARLES      IL    60174‐1207
MIECISLAO SOLTYS                 11433 LAKEVIEW DR                                                                                 CORAL SPRINGS      FL    33071‐6344
MIECNIKOWSKI, KENNETH W          2 GLENDON CT                                                                                      HUNTINGTON         NY    11743‐2819
MIECZKOWSKI, BRIAN J             11222 IRVINGTON DR                                                                                WARREN             MI    48093‐4950
MIECZKOWSKI, STELLA              PO BOX 115                                                                                        ANCHORVILLE        MI    48004
MIECZKOWSKI, STEPHEN A           6842 CHURCH RD                                                                                    IRA                MI    48023‐1906
MIECZNIKOWSKI, FRANK A           7160 MILDON DR                                                                                    PAINESVILLE        OH    44077‐9371
MIECZYSLAW CHORAZYCZEWSKI        36327 ALMONT DR                                                                                   STERLING HTS       MI    48310‐4609
MIECZYSLAW CYGANOWSKI            2380 LEARMONTH LN                                                                                 MILFORD            MI    48381‐1300
MIECZYSLAW FRANKEL               33885 SCHNEIDER RD                                                                                CHESTERFIELD       MI    48047‐4320
MIECZYSLAW FRET                  551 N VISTA AVE                                                                                   LOMBARD            IL    60148‐1934
MIECZYSLAW JANCZURA              5802 ALBER AVE                                                                                    PARMA              OH    44129‐3333
MIECZYSLAW KOBYLAK               4612 KENNEBEC DR                                                                                  CASS CITY          MI    48726‐1021
MIECZYSLAW KOLODZIEJ             4224 MARCY ST                                                                                     WARREN             MI    48091‐4472
MIECZYSLAW MARKOWSKI             UI SWIERKOWA 14                                                            USTRON POLAND 43‐450
MIECZYSLAW PAWLOWSKI             25368 BROOKVIEW ST                                                                                FARMINGTON HILLS   MI    48336‐1323
MIECZYSLAW ZABLOCKI              576 N BROADWAY                                                                                    YONKERS            NY    10701‐1731
MIECZYSLAWA NOWACKI              371 BUCKHORN DR                                                                                   BELVIDERE          NJ    07823‐2709
MIEDEL, DAVID D                  86 DARDEN PL                                                                                      COLUMBIA           TN    38401‐4947
MIEDEL, ELIZABETH                51737 OAK DR                                                                                      MATTAWAN           MI    49071‐9343
MIEDEMA III, DAVID               84 KERRY LN                                                                                       WHITINSVILLE       MA    01588‐1367
MIEDEMA, KEITH A                 632 MULFORD CT                                                                                    INDIANAPOLIS       IN    46234‐2110
MIEDEMA, PEGGY A                 11690 FARLAND AVE                                                                                 CEDAR SPRINGS      MI    49319‐9529
MIEDEN, JEFFREY J                1325 S 110TH ST                                                                                   WEST ALLIS         WI    53214‐2352
MIEDEN, JEFFREY JOHN             1325 S 110TH ST                                                                                   WEST ALLIS         WI    53214‐2352
MIEDLAR, ROBERT J                APT 414                         2325 WINDMILL PARKWAY                                             HENDERSON          NV    89074‐5437
MIEDLAR, ROBERT J                2325 WINDMILL PKY APT 414                                                                         HENDERSON          NV    89074‐5437
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Name                             Address1                            Address2                          Address3        Address4         City              State Zip
MIEDLAR, ROBERT JOSEPH           APT 414                             2325 WINDMILL PARKWAY                                              HENDERSON          NV 89074‐5437
MIEHER, LUCILLE E                5613 BUTANO PARK DR                                                                                    FREMONT            CA 94538‐3210
MIEHLKE, RAYMOND A               4404 HARDING AVE                                                                                       HOLT               MI 48842‐9767
MIEHLKE, WILLIAM W               13908 MAIN ST R1                                                                                       BATH               MI 48808
MIEHM, JOHN R                    4424 REGENCY RD                                                                                        SWARTZ CREEK       MI 48473‐8807
MIEKKA, WILLIAM G                203 E WILLIAMS ST                                                                                      CORUNNA            MI 48817‐1770
MIEKOWSKI, DANIEL E              14120 LA CHENE AVE                                                                                     WARREN             MI 48088‐5845
MIEKOWSKY, LUCILLE               31801 ARLINGTON                                                                                        BIRMINGHAM         MI 48025‐5665
MIEKSTYN PAUL                    4100 SOUTHWEST FWY APT 366                                                                             HOUSTON            TX 77027
MIEL, MARY                       30005 BARBARY CT                                                                                       WARREN             MI 48093‐3071
MIELA, GERALD J                  15591 CAMDEN AVE                                                                                       EASTPOINTE         MI 48021‐1601
MIELCAREK JOSEPH (490903)        BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                                      NORTHFIELD         OH 44067
                                                                     PROFESSIONAL BLDG
MIELCAREK, JEFFREY N             6390 LAWNDALE RD                                                                                       SAGINAW           MI   48604‐9457
MIELCAREK, JEFFREY NELSON        6390 LAWNDALE RD                                                                                       SAGINAW           MI   48604‐9457
MIELCAREK, JENNIE B              3180 MORTIMER RD.                                                                                      TRANSFER          PA   16154‐8910
MIELCAREK, JOSEPH M              140 PATRICIA LN                                                                                        ALPENA            MI   49707‐3009
MIELCAREK, JUDITH L              9315 KENNEDY AVE                                                                                       HIGHLAND          IN   46322‐2751
MIELCAREK, RONALD J              1740 PALM SPRINGS STREET                                                                               SARASOTA          FL   34234‐4119
MIELCAREK, SHIRLEY A             51 WENDE ST                                                                                            BUFFALO           NY   14211‐1726
MIELCARZ, THEODORE T             145 GALE AVE                                                                                           MERIDEN           CT   06450‐6410
MIELCZAREK STANLEY (ESTATE OF)   EARLY LUDWICK & SWEENEY L.L.C.      ONE CENTURY TOWER, 11TH FLOOR ,                                    NEW HAVEN         CT   06510
(508497)                                                             265 CHURCH STREET
MIELCZAREK, FREDERICK E          12242 SOUL RD                                                                                          SWANTON           OH   43558‐9422
MIELCZAREK, STANLEY              C/O EARLY LUDWICK & SWEENEY LLC     ONE CENTURY TOWER, 11TH FL        265 CHURCH ST                    NEW HAVEN         CT   06508
MIELE JR, ANGELO                 1741 OAKLAND DR                                                                                        MADISON HTS       MI   48071‐2254
MIELE JULIUS J (660208)          LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                         BIRMINGHAM        MI   48009‐5394
                                                                     406
MIELE, AUGUSTUS A                3 TRUMAN RD                                                                                            WILMINGTON        MA   01887‐1421
MIELE, DOMENIC J                 12 RAKEVILLE CIR                                                                                       BELLINGHAM        MA   02019‐2132
MIELE, JOANN                     25719 SAN ROSA DRIVE                                                                                   ST CLAIR SHRS     MI   48081‐3829
MIELE, JULIUS J                  LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                                         BIRMINGHAM        MI   48009‐5394
                                                                     406
MIELE, KAREN
MIELE, LAURA J                   1128 AGNEW DR                                                                                          DREXEL HILL       PA   19026‐1808
MIELE, MARY JO                   1511 SPREADING OAK DR                                                                                  PITTSBURGH        PA   15220‐2047
MIELE, MICHAEL                   713 W INGOMAR RD                                                                                       PITTSBURGH        PA   15237‐4969
MIELE, PATRICIA A                44 CHOCTAW RIDGE RD                                                                                    BRANCHBURG        NJ   08876‐5437
MIELE, PETER M                   VAMC 400 FORT HILL AVE #7           CANANDAIGUA MEDICAL CENTER                                         CANANDAIGUA       NY   14424
MIELE, SALVATORE R               2673 KOPSON CT                                                                                         BLOOMFIELD        MI   48304‐1749
MIELE, STEVEN T                  8406 MISTY MEADOWS                                                                                     GRAND BLANC       MI   48439‐7428
MIELE, TOBY J                    RR 1 BOX 97F                                                                                           STEVENSVILLE      PA   18845‐9740
MIELENS, ALVIN A                 6086 W DARBEE RD                                                                                       FAIRGROVE         MI   48733‐9756
MIELENS, DONALD E                1962 S TUSCOLA RD                                                                                      MUNGER            MI   48747‐9794
MIELENS, GERALD O                3444 BOY SCOUT RD                                                                                      BAY CITY          MI   48706‐1214
MIELENS, RANDY H                 1177 S KNIGHT RD                                                                                       MUNGER            MI   48747‐9782
MIELENS, RONALD E                359 CASS AVENUE RD                                                                                     MUNGER            MI   48747‐9717
MIELENZ, DOUGLAS W               W173N7944 BLUEJAY CT                                                                                   MENOMONEE FALLS   WI   53051‐4159
MIELENZ, MICHAEL E               2431 NW 15TH ST                                                                                        OKLAHOMA CITY     OK   73107‐4922
MIELER, THOMAS J                 3073 E MAPLE HILL CT                                                                                   MIDLAND           MI   48642‐7851
MIELEWSKI, FLORENCE I            1365 AUDREY ST                                                                                         BURTON            MI   48509‐2102
MIELKE, ALICE K                  120 FELICIE DR                                                                                         LAFAYETTE         LA   70506‐6222
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Name                      Address1                      Address2            Address3         Address4         City               State Zip
MIELKE, CAROL J           8243 2ND AVE SO                                                                     BLOOMINGTON         MN 55420
MIELKE, CHRISTOPHER J     8833 NANCY AVE                                                                      SHELBY TOWNSHIP     MI 48317‐5343
MIELKE, DAVID W           7607 SCHWEIGER ST                                                                   SHAWNEE             KS 66217‐3031
MIELKE, DOREEN K          3875 E SANTA FE LN                                                                  GILBERT             AZ 85297
MIELKE, EDWARD G          120 FELICIE DR                                                                      LAFAYETTE           LA 70506‐6222
MIELKE, ELDRED M          10323 N STATE ROAD 26                                                               MILTON              WI 53563‐9127
MIELKE, HAROLD J          7563 HIGHPOINT BLVD                                                                 BROOKSVILLE         FL 34613‐7343
MIELKE, HELEN             5111 TREEHILL RD                                                                    GRAND BLANC         MI 48439‐2053
MIELKE, HERBERT H         6460 SWAN CREEK RD                                                                  SAGINAW             MI 48609‐7035
MIELKE, HERMAN E          440 10TH STREET                                                                     FREELAND            MI 48623‐9082
MIELKE, HOWARD O          2417 GROVE RIDGE DR                                                                 PALM HARBOR         FL 34683‐3220
MIELKE, JEAN H            4 THORNAPPLE CT                                                                     SAGINAW             MI 48603‐4802
MIELKE, JEFFERY S         4188 CARLISLE HWY                                                                   CHARLOTTE           MI 48813‐9562
MIELKE, JR,JAMES J        26516 ROOSEVELT LN                                                                  WIND LAKE           WI 53185‐2110
MIELKE, LEONARD           343 MADRID BLVD                                                                     PUNTA GORDA         FL 33950‐7917
MIELKE, MELVIN J          12880 DE COOK DR                                                                    STERLING HTS        MI 48313‐3324
MIELKE, MILTON A          PO BOX 1043                                                                         LEWISTON            MI 49756‐1043
MIELKE, NORMAN D          1056 W M‐61                                                                         STANDISH            MI 48658
MIELKE, NORMAN J          5598 WORTH RD                                                                       STANDISH            MI 48658‐9438
MIELKE, PEGGY E           12360 GREEN TREE DR                                                                 RANCHO CUCAMONGA    CA 91739‐2430
MIELKE, RAINER U          42160 WOODWARD AVE APT 55                                                           BLOOMFIELD HILLS    MI 48304
MIELKE, RAYMOND R         1704 S RIVERSIDE DR                                                                 AU GRES             MI 48703‐9794
MIELKE, RICHARD W         31267 WELLSTON DR                                                                   WARREN              MI 48093‐7642
MIELKE, STEVEN E          1012 LINDA LN                                                                       LADY LAKE           FL 32159‐2435
MIELKE, WILLIAM H         641 GROVER ST                                                                       SEBEWAING           MI 48759‐1342
MIELKE, WILLIAM T         516 DUNKELBERG RD                                                                   FORT WAYNE          IN 46819‐2404
MIELNECZEK SR., FRANK J   8391 BACK YONDER LN NE                                                              DEER RIVER          MN 56636‐2767
MIELNICKI ZBIGNIEW W      DBA EMTECH SERVICES LLC       85 STEIN AVE                                          WALLINGTON          NJ 07057‐1530
MIELNIK, FRANCIS J        7103 GERALD AVE                                                                     PARMA               OH 44129‐3241
MIELOCH, DIANE K          123 OLD KAWKAWLIN RD                                                                BAY CITY            MI 48706‐2140
MIELOCH, THOMAS R         805 19TH ST                                                                         BAY CITY            MI 48708‐7236
MIELONEN, BARBARA A       18 S CLEMENT AVE                                                                    RAVENA              NY 12143‐1813
MIENHEARTT, CLYDE A       4027 MIKEHILL DR                                                                    HAMILTON            OH 45014‐5938
MIENKWIC, DOROTHY D       4031 MOULTON DR                                                                     FLINT               MI 48507‐5538
MIENKWIC, DOROTHY DAWN    4031 MOULTON DR                                                                     FLINT               MI 48507‐5538
MIENKWICZ, SOPHIA         1629 RASPBERRY                                                                      FLINT               MI 48507‐2302
MIENTEK, MICHAEL F        728 COTTONWOOD DR                                                                   ALLEN               TX 75002‐5009
MIENTKIEWICZ, CHESTER J   706 ROBBINS AVE                                                                     NILES               OH 44446‐2416
MIENTKIEWICZ, MARK        9897 BECKER AVE                                                                     ALLEN PARK          MI 48101‐1336
MIENTKIEWSKI, JOSEPH      2179 MARLOW DR                                                                      WARREN              MI 48092‐2101
MIER PRODUCTS INC         ATTN: ROBERT HULLINGER        1500 ANN ST                                           KOKOMO              IN 46901‐2242
MIER, DARRELL W           5770 TRAILWINDS DR APT 224                                                          FORT MYERS          FL 33907‐8344
MIER, ERNESTO             5102 W 22ND PL                                                                      CICERO               IL 60804‐2921
MIER, FINNEY J            116 PHEASANT RUN                                                                    LAPEER              MI 48446
MIER, HARVEY D            1555 CRYSTAL DR                                                                     WEST BRANCH         MI 48661‐9797
MIER, JAMES F             534 SANTE FE CIR                                                                    AVON                IN 46123‐7359
MIER, JAY C               12277 N EVERETT DR                                                                  ALEXANDRIA          IN 46001‐9081
MIER, JOSE R              215 MENORES AVE APT 3                                                               CORAL GABLES        FL 33134
MIER, JOSEPH W            21 FOX LN                                                                           FOXBORO             MA 02035‐1563
MIER, MARY C              1496 W M‐55                                                                         W BRANCH            MI 48661
MIER, MICHAEL P           9635 E LINDNER AVE                                                                  MESA                AZ 85209‐1154
MIER, ROBERT L            4717 N STATE RD                                                                     IONIA               MI 48846‐9677
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Name                          Address1                          Address2                      Address3   Address4         City               State Zip
MIER, THOMAS C                14145 N CENTER RD                                                                           CLIO                MI 48420‐7908
MIER, YVONNE B                3008 FERNWOOD AVE                                                                           ALTON                IL 62002‐2926
MIER, YVONNE B                3008 FERNWOOD                                                                               ALTON                IL 62002‐2926
MIERA, EDMUND A               2154 WILLOW TRACE DRIVE                                                                     ARNOLD              MO 63010‐5202
MIERAS, ADRIAN C              7658 22ND AVE                                                                               JENISON             MI 49428‐7760
MIERAS, BARBARA J             125 COUNTRY RD                                                                              SILVER CITY         NM 88061‐8722
MIERAS, HELEN J               502 WINONA AVE NW                                                                           GRAND RAPIDS        MI 49504‐4740
MIERAS, JOHN H                4580 LAUREL CLUB CIR                                                                        W BLOOMFIELD        MI 48323‐2946
MIERAS, MARGARET              240 SUNSET HILLS AVE SW                                                                     GRAND RAPIDS        MI 49534‐5852
MIERAS, MIKE P                240 SUNSET HILLS AVE SW                                                                     GRAND RAPIDS        MI 49534‐5852
MIERAS, ROBERT D              273 9 MILE RD NE                                                                            COMSTOCK PARK       MI 49321‐9682
MIERAS, STEVEN                3103 AMON AVE NE                                                                            GRAND RAPIDS        MI 49525‐3058
MIERKA, DONALD A              95 MULBERRY ST                                                                              WYANDOTTE           MI 48192‐4625
MIERKA, LINDA M               274 HUDSON ST                                                                               WYANDOTTE           MI 48192‐3714
MIERKIEWICZ, PAUL             30 MCCURLEY DR                                                                              NEW FREEDOM         PA 17349‐9489
MIERKIEWICZ, PAUL C           2933 CRAIGSTON LN                                                                           ABINGDON            MD 21009‐1826
MIERKOWICZ, PAMELA K          4805 HILLCREST RD                                                                           TRENTON             MI 48183‐4593
MIERNICKI DONALD J (355276)   GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510
                                                                STREET, SUITE 600
MIERNICKI, DONALD J           GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                STREET, SUITE 600
MIERS BRAD                    1417 BENTURA RD                                                                             KOUNTZE            TX   77625‐6734
MIERS, DAVID W                207 S PEARL ST                                                                              SPICELAND          IN   47385
MIERS, JOHN                   5228 S 7TH ST                                                                               MILWAUKEE          WI   53221‐3620
MIERS, LOREN L                723 ELM ST                                                                                  BEECH GROVE        IN   46107‐2220
MIERS, MARLIN L               1123 GROVEWOOD DR                 PO BOX #732                                               BEECH GROVE        IN   46107‐2492
MIERTA, ROSA D                2210 AMY                                                                                    BURTON             MI   48519‐1110
MIERTA, ROSA D                2210 AMY ST                                                                                 BURTON             MI   48519‐1110
MIERTA, THOMAS L              11372 E POTTER RD                                                                           DAVISON            MI   48423‐8155
MIERTL, DONN A                909 ROSELAWN WAY                                                                            BOWLING GREEN      KY   42104‐3115
MIERVALDIS LULAKS             93 LULAKS LN                                                                                ALBANY             KY   42602‐8070
MIERZEJEWSKI, JAN A           16500 QUARRY RD APT 107                                                                     SOUTHGATE          MI   48195‐1408
MIERZEJEWSKI, JUDY            15090 DRAKE ST                                                                              SOUTHGATE          MI   48195‐2606
MIERZEJWSKI, DAVID M          55 BUSHNELL RD                                                                              OLD BRIDGE         NJ   08857‐2368
MIERZWA, ADOLPH M             28401 RYAN RD                                                                               WARREN             MI   48092‐4123
MIERZWA, ANDREW               334 STONYBROOK DR                                                                           LEVITTOWN          PA   19055‐2017
MIERZWA, EDWARD D             796 E ALLEN RD                                                                              HOWELL             MI   48855‐9205
MIERZWA, GERALD P             53610 WOLF DR                                                                               SHELBY TOWNSHIP    MI   48316‐2649
MIERZWA, JOHN F               4112 ADAMS DR                                                                               SHELBY TOWNSHIP    MI   48316‐1111
MIERZWA, LUCY B               7264 STATE ST RD                                                                            AUBURN             NY   13021‐8051
MIERZWA, LUCY B               7264 STATE STREET RD                                                                        AUBURN             NY   13021‐8051
MIERZWINSKI, WANDA S          24645 SPRINGBROOK DR.                                                                       FARMINGTON HILLS   MI   48336‐1944
MIES CONSTRUCTION                                               1919 SOUTHWEST BLVD                                                          KS   67213
MIESCH, ELEANOR MARGARET      205 AYRAULT RD                                                                              FAIRPORT           NY   14450‐2803
MIESCH, GREGG B               30D SALMON RUN                                                                              HILTON             NY   14468‐1481
MIESCH, RON                   49582 WILLOWOOD DR                                                                          MACOMB             MI   48044‐1654
MIESCH, ROSE MARIE            4561 KIRKWOOD DR                                                                            STERLING HTS       MI   48310‐6402
MIESEL, SUSAN E               28751 SUTHERLAND DR                                                                         WARREN             MI   48088‐4340
MIESEL, WILLIAM G             105 MARIGOLD LN                                                                             HOUGHTON LAKE      MI   48629‐8938
MIESES, MARCOS V              67 BATEMAN ST 39                                                                            ROSLINDALE         MA   02131
MIESHA PIGRUM                 208 NE 80TH ST                                                                              KANSAS CITY        MO   64118‐1215
MIESIACZEK, WILLIAM G         4833 N MAPLE HILL RD                                                                        PIERSON            MI   49339
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Name                           Address1                     Address2                     Address3   Address4         City                 State Zip
MIESKE, DANIEL J               2258 9 MILE RD                                                                        KAWKAWLIN             MI 48631‐9707
MIESKE, FREDERICK L            5949 N MACKINAW RD                                                                    PINCONNING            MI 48650
MIESKE, LOUISE R               185 N FLAJOLE RD                                                                      LINWOOD               MI 48634‐9738
MIESKE, RICHARD D              5384 N WALDO RD                                                                       MIDLAND               MI 48642‐9713
MIESKO, JUNE M                 18235 UNIVERSITY PARK DR                                                              LIVONIA               MI 48152‐2625
MIESKOWSKI JR, HENRY           7300 CHERRY ST                                                                        INDEPENDENCE          OH 44131‐5017
MIESKOWSKI, ELMER J            CLARK RETIREMENT COMMUNITY   2241 LONGMEADOW ST NW                                    GRAND RAPIDS          MI 49504
MIESLIK, ELIZABETH M           4073 NORTH LAKE ROAD                                                                  COLUMBIAVILLE         MI 48421‐8961
MIESOWICZ, RICHARD F           39063 GRENNADA ST                                                                     LIVONIA               MI 48154‐4748
MIESS, GARY L                  PO BOX 606                                                                            DELEVAN               NY 14042‐0606
MIESTERFELD, FREDERICK P       3065 WILLET AVE                                                                       ROCHESTER HILLS       MI 48309‐3538
MIESZALA, STANLEY A            40 S LINDEN DR                                                                        PLANO                  IL 60545‐9643
MIESZALA, WINCENTY             20 MICHEL DR                                                                          HENRIETTA             NY 14467‐8907
MIESZANEK, MATHILDA            1127 WHITTIER RD                                                                      GROSSE POINTE PARK    MI 48230‐1410
MIESZCZUR JR, JOHN S           9129 INKSTER RD                                                                       LIVONIA               MI 48150‐4142
MIESZKOWSKI, IRENE R           58165 COLCHESTER RD                                                                   WASHINGTON            MI 48094‐3609
MIESZKOWSKI, RICHARD M         31131 RICHERT                                                                         FRASER                MI 48026‐2796
MIESZKOWSKI, RICHARD MICHAEL   31131 RICHERT                                                                         FRASER                MI 48026‐2796
MIETELKA, JAMES M              3999 W TERRITORIAL RD                                                                 RIVES JCT             MI 49277‐8602
MIETELSKI, GEORGE M            10702 MISTY HILL RD                                                                   ORLAND PARK            IL 60462‐7441
MIETH                          1 COLOMBA DR STE 1           WITMER PARK MEDICAL CENTER                               NIAGARA FALLS         NY 14305‐1275
MIETHKE, RICHARD P             3206 THOMAS TRCE                                                                      COLUMBUS              IN 47203‐2846
MIETLICKI, DOROTHY M           2072 PHILLIPS RD                                                                      BURT                  NY 14028‐9754
MIETTUNEN, JACK E              4916 ROCKCRESS DR NW                                                                  ALBUQUERQUE           NM 87120‐4106
MIETUS, MONICA E               148 NORTHCREST                                                                        CHEEKTOWAGA           NY 14225‐3434
MIETZ, ELEZAR D                5759 PATTISON RD                                                                      MAYVILLE              MI 48744‐9514
MIETZ, HOWARD N                305/327 HIGH ST ROOM 130                                                              LOCKPORT              NY 14094
MIETZ, LEO R                   3380 E MIDLAND RD                                                                     BAY CITY              MI 48706‐2822
MIETZ, LLOYD E                 5238 SALT WORKS ROAD                                                                  MIDDLEPORT            NY 14105‐9307
MIETZ, MILDRED                 101 LAKEWOOD VLG                                                                      MEDINA                NY 14103‐1848
MIETZ, RENEE M                 8050 N GENESEE RD                                                                     MOUNT MORRIS          MI 48458‐8828
MIF REALTY LP                  TWO BENT TREE TOWER          16479 DALLAS PKY STE 400                                 DALLAS                TX 75249
MIFFLIN, ARTHUR R              6424 WOODLAWN AVE                                                                     REX                   GA 30273‐1825
MIFFLIN, FRANK R               264 PEACE DR                                                                          CAMDENTON             MO 65020‐4421
MIFFLIN, JACK                  1004 LAKE JAMES DR                                                                    PRUDENVILLE           MI 48651‐9416
MIFFLIN, JACQUELINE            8220 MASON RD                                                                         LYNN                  MI 48097‐1218
MIFFLIN, JAMES W               113 MARCO LN                                                                          CENTERVILLE           OH 45458‐3820
MIFFLIN, LARRY D               3020 S PERSHING DR                                                                    MUNCIE                IN 47302‐5266
MIFFLIN, LLOYD D               4200 COMMUNITY DR APT 1209                                                            WEST PALM BCH         FL 33409‐2747
MIFFLIN, MAURICE R             550 NORTH AVE                                                                         TALLMADGE             OH 44278‐1456
MIFFLIN, NORMA J               264 PEACE DRIVE                                                                       CAMDENTON             MO 65020‐4421
MIFFLIN, NORMA J               264 PEACE DR                                                                          CAMDENTON             MO 65020‐4421
MIFFLIN, ROBERT A              5513 TORY WAY                                                                         FLOWERY BRANCH        GA 30542‐5572
MIFFLIN, THOMAS                2446 HIGHLAND ST                                                                      DETROIT               MI 48206‐1236
MIFORD MASSEY                  3576 COLLEGE RD                                                                       FARMINGTON            MO 63640‐7213
MIFSUD EMMANUEL C              520 AUTUMN LN                                                                         ROSCOMMON             MI 48653
MIFSUD, CHARLES                PO BOX 2659                                                                           GARDEN CITY           MI 48135
MIFSUD, CHARLES                32119 BALMORAL ST                                                                     GARDEN CITY           MI 48135‐1706
MIFSUD, DAVID J                19232 GLEN EAGLES DR                                                                  LIVONIA               MI 48152‐4017
MIFSUD, DIXIE                  19933 FENTON                                                                          DETROIT               MI 48219‐1007
MIFSUD, DIXIE                  19933 FENTON ST                                                                       DETROIT               MI 48219‐1007
MIFSUD, EMMANUEL C             520 AUTUMN LN                                                                         ROSCOMMON             MI 48653
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Name                             Address1                         Address2                      Address3   Address4         City               State Zip
MIFSUD, ROBERT                   4700 MARCEL AVE                                                                            PORTAGE             MI 49024‐3057
MIFSUD, VINCENT J                24785 SAUGER LAKE RD                                                                       STURGIS             MI 49091‐9337
MIFSUD, WILLIAM                  112 HOLLY LN                                                                               ROSCOMMON           MI 48653‐8116
MIG‐ALBERICI LLC                 607 SHELBY ST STE 305                                                                      DETROIT             MI 48226‐3283
MIGA, ELIZABETH                  11129 NANCY DR                                                                             WARREN              MI 48093‐2469
MIGA, MARK R                     11129 NANCY DR                                                                             WARREN              MI 48093‐2469
MIGA, MATTHEW                    3003 LAKESHORE RD                                                                          LEXINGTON           MI 48450‐9217
MIGA, RICHARD L                  2923 NIAGARA ST APT 4                                                                      BUFFALO             NY 14207‐1068
MIGALA, CECELIA I                716 N DELPHIA AVE                                                                          PARK RIDGE           IL 60068‐2516
MIGALDI, SAMUEL                  10415 HARTLAND DR                                                                          DIMONDALE           MI 48821‐9522
MIGCHELBRINK, JAMES E            5611 DUNHAM RD                                                                             MAPLE HEIGHTS       OH 44137‐3652
MIGCHELBRINK, THOMAS L           2667 OVERBROOK DR                                                                          TOLEDO              OH 43614‐5523
MIGDALIA GONZALEZ                BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS.         OH 44236
MIGDALIA MONTOYA                 819 EDPAS RD                                                                               NEW BRUNSWICK       NJ 08901‐3814
MIGDALIA RUIZ                    URB EXT COSTA SUR I12 CALLE E                                                              YAUCO               PR 00698
MIGDEN, BRUCE
MIGDILIO GUERRA                  17761 SW 143RD CT                                                                          MIAMI              FL   33177‐7660
MIGEL B SALAZ                    714 STRATTON AVENUE                                                                        DEFIANCE           OH   43512‐2749
MIGEL SALAZ                      PO BOX 842                                                                                 DEFIANCE           OH   43512‐0842
MIGET, GILBERT L                 82 VALLEY VW                                                                               HILLSBORO          MO   63050‐3915
MIGET, RICHARD A                 838 PCR 538                                                                                PERRYVILLE         MO   63775‐7266
MIGGINS, LULA                    1510 EDWARD AVE SE                                                                         GRAND RAPIDS       MI   49507‐2219
MIGGINS, TERRY L                 247 SHILOH DR                                                                              JACKSON            MS   39212‐3049
MIGGINS‐MATTHIS, IDA L           3303 S CREEK DR SE APT 101                                                                 KENTWOOD           MI   49512‐8336
MIGHT JAMES SR (634225)          ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST , THE                                PHILADELPHIA       PA   19107
                                                                  WANAMAKER BUILDING
MIGHT, JAMES                     ANGELOS PETER G LAW OFFICES OF   100 PENN SQUARE EAST, THE                                 PHILADELPHIA        PA 19107
                                                                  WANAMAKER BUILDING
MIGHTON, ARLENE E                3357 MARISMA STREET                                                                        SAN MATEO          CA 94403‐3008
MIGHTY AUTO PARTS OF NYC         120‐18 ROCKAWAY BLVD                                                                       SOUTH OZONE        NY 11420
MIGHTY AUTO PRO                  290 S PROSPECT ST                                                                          MEDINA             OH 44256‐2313
MIGHTY FINE
MIGHTY LUBE SYSTEMATIC LUBRICA   9569 W 40TH ST                                                                             FREMONT            MI   49412‐8017
MIGIEL, STANLEY                  6933 ROCKDALE ST                                                                           DEARBORN HEIGHTS   MI   48127‐2547
MIGL, DENNIS                     COOK & WALLACE                   1221 LAMAR ST STE 1300                                    HOUSTON            TX   77010‐3073
MIGLESZ, RONALD M                7194 PINE GROVE DR                                                                         HUBBARD            OH   44425‐3028
MIGLESZ, STACIA L                7681 CONNELLY RD                                                                           MASURY             OH   44438‐1525
MIGLETS, STANLEY J               3441 ALMERINDA DR                                                                          CANFIELD           OH   44406‐9203
MIGLIACCI, ROSE A                PO BOX 812                                                                                 TRENTON            NJ   08625‐0812
MIGLIACCIO SAM (339732)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510
                                                                  STREET, SUITE 600
MIGLIACCIO, FRANCESCA B          205 BUCHANAN AVE                                                                           TRENTON            NJ 08610‐6037
MIGLIACCIO, RALPH F              46 MAFALDA DR                                                                              BUFFALO            NY 14215‐2018
MIGLIACCIO, SAM                  GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA 23510‐2212
                                                                  STREET, SUITE 600
MIGLIN JR, FRANK G               5159 BONG AVE                                                                              BELTON             MO   64012‐4003
MIGLIN, DANIEL W                 806 LYNN DR                                                                                GOODLETTSVILLE     TN   37072‐3560
MIGLIN, FRANK F                  806 LYNN DR                                                                                GOODLETTSVILLE     TN   37072‐3560
MIGLIO, D J                      26729 KAISER ST                                                                            ROSEVILLE          MI   48066‐7129
MIGLIO, TITO I                   21 W 735 GLEN CREST DR                                                                     GLEN ELLYN         IL   60137
MIGLIOCCO DANIEL                 MIGLIOCCO, DANIEL                30 E BUTLER AVE                                           AMBLER             PA   19002‐4514
MIGLIORATI, JULIA M              6738 AMBOY ST                                                                              DEARBORN HTS       MI   48127‐3966
                                     09-50026-mg                Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit B
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Name                                 Address1                           Address2                            Address3   Address4         City             State Zip
MIGLIORE ANTHONY (419026)            WILENTZ GOLDMAN & SPITZER          88 PINE STREET , WALL STREET                                    NEW YORK          NY 10005
                                                                        PLAZA
MIGLIORE ANTHONY (419026) ‐ GRAHAM   WILENTZ GOLDMAN & SPITZER          88 PINE STREET , WALL STREET                                    NEW YORK         NY 10005
SHARON S                                                                PLAZA
MIGLIORE ANTHONY (419026) ‐          WILENTZ GOLDMAN & SPITZER          88 PINE STREET , WALL STREET                                    NEW YORK         NY 10005
VINCIQUERRA ANDREW                                                      PLAZA
MIGLIORE CHARLES                     587 DUQUESNE BLVD                                                                                  BRICK            NJ 08723‐5072
MIGLIORE PHILIP (469539)             DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                BRONX            NY 10463
MIGLIORE, ANTHONY                    WILENTZ GOLDMAN & SPITZER          88 PINE STREET, WALL STREET PLAZA                               NEW YORK         NY 10005

MIGLIORE, BRENDA L                   PO BOX 26288                                                                                       ROCHESTER        NY    14626‐0288
MIGLIORE, CHRISTINE M                108 WINDMILL TRL                                                                                   ROCHESTER        NY    14624‐2457
MIGLIORE, MADELINA                   APT 123                            920 JOHN R ROAD                                                 TROY             MI    48083‐4306
MIGLIORE, MICHAEL A                  108 WINDMILL TRL                                                                                   ROCHESTER        NY    14624
MIGLIORE, PHILIP                     DEARIE & ASSOCS JOHN C             3265 JOHNSON AVE                                                RIVERDALE        NY    10463
MIGLIORE, THOMAS J                   181 KEATS AVE                                                                                      ELIZABETH        NJ    07208‐1059
MIGLIORI, VINCENT J                  55 MONTE CARLO DR                                                                                  HAMILTON         NJ    08691‐3742
MIGLIOZZI, CONNIE A                  10 HICKORY TRACE DR                                                                                GIRARD           OH    44420‐1009
MIGLIOZZI, CRISTINA M                956 KREHL AVE                                                                                      GIRARD           OH    44420‐1904
MIGLIOZZI, PAUL V                    1103 RIPLEY AVE                                                                                    WESTFIELD        NJ    07090‐1663
MIGLIOZZI, VINCENYA                  1028 WASHINGTON AVE                                                                                GIRARD           OH    44420‐1963
MIGLIOZZI, VINCENZO                  948 KREHL AVE                                                                                      GIRARD           OH    44420‐1904
MIGNACCA, JAMES R                    27150 SHADEL RD SPC 184                                                                            SUN CITY         CA    92586‐3314
MIGNACCA, JAMES R                    27150 SHADEL ROAD 184                                                                              SUN CITY         CA    92586
MIGNANELLI ALBERT C (453992)         KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                   CLEVELAND        OH    44114
                                                                        BOND COURT BUILDING
MIGNANELLI, ALBERT C                 KELLEY & FERRARO LLP               1300 EAST NINTH STREET, 1901                                    CLEVELAND        OH 44114
                                                                        BOND COURT BUILDING
MIGNANO TREE CARE                    ADAM HURTIG                        8751 W BROWARD BLVD STE 410                                     PLANTATION        FL   33324‐2632
MIGNANO TREE CARE
MIGNANO, EDWARD R                    923 TOWER RIDGE CIR                                                                                MIDDLETOWN       NY    10941‐2611
MIGNANO, JOHN R                      994 SAINT JAMES PARK AVE                                                                           MONROE           MI    48161‐9086
MIGNANO, LOUIS                       9541 N BUNKER WAY                                                                                  CITRUS SPRINGS   FL    34434‐4016
MIGNARD, JAMES E                     527 ROSEWOOD ST                                                                                    GEORGETOWN       FL    32139‐2719
MIGNEAULT, BARBARA J                 PO BOX 788                         16 SPRING LAKE RD                                               GLENDALE         RI    02826‐0788
MIGNELLA, JEANETTE                   1311 W HILLIARDSON RD                                                                              NASHVILLE        NC    27856
MIGNELLA, SARAH G                    1617 MORRIS PL                                                                                     NILES            OH    44446‐2839
MIGNELLA, SARAH G                    1617 MORRIS PL.                                                                                    NILES            OH    44446‐2839
MIGNOGNA, MICHAEL T                  104 FARMSTEAD DRIVE                                                                                LANCASTER        PA    17603‐7912
MIGNON DOWNS                         148 AUBURN AVE                                                                                     ROCHESTER        NY    14606‐4134
MIGNON E DOWNS                       148 AUBURN AVENUE                                                                                  ROCHESTER        NY    14606‐4134
MIGNON GOINS                         5702 SUBURBAN CT                                                                                   FLINT            MI    48505‐2645
MIGOCKI, EDWARD J                    17108 WESTGROVE DR                                                                                 MACOMB           MI    48042‐3530
MIGRANT, JANELL K                    145 CHEYENNE ST                                                                                    SHERIDAN         WY    82801‐5528
MIGRIN, CHRISTINE A.                 9634 GARDEN ST                                                                                     LIVONIA          MI    48150‐3109
MIGRIN, GREGORY J                    14873 MELVIN ST                                                                                    LIVONIA          MI    48154‐3731
MIGRIN, MARION L                     49450 W 9 MILE RD                  C/O KARL MIGRIN                                                 NOVI             MI    48374‐3300
MIGUEL
MIGUEL A GONZALEZ                    150 STALEY RD                                                                                      UNIONVILLE       TN    37180‐8592
MIGUEL A GONZALEZ JR                 103 RELLIS ST                                                                                      SAGINAW          MI    48601‐4844
MIGUEL A ORTIZ                       2476 ALTON RD                                                                                      DELTONA          FL    32738‐4182
MIGUEL A OSORIO                      305 DAKOTA ST                                                                                      YPSILANTI        MI    48198‐7814
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Name                                 Address1                             Address2                 Address3        Address4                  City             State Zip
MIGUEL A OSORIO                      405 DEVONSHIRE ST                                                                                       YPSILANTI         MI 48198‐6081
MIGUEL ALABADO                       4904 SHADY OAK TRAIL                                                                                    GRAND PRAIRIE     TX 75052‐4420
MIGUEL ALFARO                        410 S MAIN ST                                                                                           CAPAC             MI 48014‐3719
MIGUEL ALTAMIRA                      732 CORSICANA DR                                                                                        OXNARD            CA 93036‐1409
MIGUEL ALTUNA                        PASCO DUQUE DE BAENA, 40‐201ZQ                                                20009 SAN SEBASTIAN
                                                                                                                   SPAIN
MIGUEL ALTUNA                        P DUQUE DE BAENA 40‐201ZQ                                                     20009 SAN SEBASTIAN
                                                                                                                   SPAIN
MIGUEL ALVIAR                        3718 WEDGEWOOD DR                                                                                       LANSING          MI 48911‐2143
MIGUEL ANGEL BALTANAS AND ANA        PRIMERO DE MAYO 3317                                                          3000 SANTA FE ARGENTINA
MARIA DEL ROSARIO VALENCIA
MIGUEL ANGEL DE ALVA & MARIA LEVY DE PRIVADA PILAV #111 COL HACIENDA EL                                            SAN PEDRO GARZA GARCIA
ALVA                                 ROSARIO                                                                       NL 66247 MEXICO
MIGUEL ANGEL LESTERO                 FRANCISCO JOSE MARTIN CRANIZO 14     POZVEW DE ALARCON                        28224 MADRID SPAIN
MIGUEL ANGEL MARTIN                  CALLE LAS BAHAMAS 162                URB. SOL LA MOLINA III   LIMA 12, PERU
MIGUEL ANGEL VELA GIL                ARDA TENOR F BETA 38 5║ A                                                     50.007 ZARAGOZA SPAIN
MIGUEL ANTONETTI                     3140 WOODLAND AVE                                                                                       NIAGARA FALLS    NY   14304‐1311
MIGUEL BENAVIDES                     15619 KIRKSHIRE AVE                                                                                     FRANKLIN         MI   48025‐3353
MIGUEL BONILLA                       PO BOX 238                           902 3RD STREET                                                     SOMERVILLE       TX   77879‐0238
MIGUEL CABRAL                        687 CLARA AVE                                                                                           PONTIAC          MI   48340‐2035
MIGUEL CALDERON                      531 VENTURA AVE                                                                                         CORONA           CA   92879‐1135
MIGUEL CANALES                       8112 BLUFFRIDGE DR                                                                                      RALEIGH          NC   27615‐2585
MIGUEL CANCEL                        CALLE ROOSEVELT #18 INT                                                                                 MAYAGUEZ         PR   00680
MIGUEL CANDELARIA                    3833 E SAN REMO AVE                                                                                     GILBERT          AZ   85234‐3033
MIGUEL CARABALLO                     10 PRAIRIE TRL                                                                                          W HENRIETTA      NY   14586‐9761
MIGUEL CARDENAS                      3318 WEBSTER ST                                                                                         FORT WAYNE       IN   46807‐1955
MIGUEL CARDENAS                      PO BOX 217                                                                                              BUFFALO          NY   14207‐0217
MIGUEL CARDOSA                       PO BOX 1743                                                                                             WESLACO          TX   78599‐1743
MIGUEL CHAVARRIA                     2800 WAKEFIELD RD                                                                                       BERKLEY          MI   48072‐3617
MIGUEL CRESPO                        2262 W EDGERTON AVE                                                                                     MILWAUKEE        WI   53221‐3531
MIGUEL CRUZ                          1677 MYSTIC CV                                                                                          DEFIANCE         OH   43512‐3698
MIGUEL D RODRIGUEZ                   5120 PENSACOLA BLVD                                                                                     MORAINE          OH   45439‐2943
MIGUEL DELVALLE                      545 MORRIS PL                                                                                           MONTEBELLO       CA   90640‐2337
MIGUEL DESMOND                       4726 N LAIRD WAY                                                                                        TUCSON           AZ   85705‐4835
MIGUEL DIAZ                          3640 BRYAN AVE                                                                                          FORT WORTH       TX   76110‐5403
MIGUEL ECHEMENDIA                    15631 SW 48TH ST                                                                                        MIAMI            FL   33185‐4124
MIGUEL ESCALERA                      1276 BYRNWYCK CT                                                                                        DEFIANCE         OH   43512‐8853
MIGUEL ESPINOZA                      2505 S HARDING AVE                                                                                      CHICAGO          IL   60623‐3717
MIGUEL FERNANDEZ BLANCO              CALDERDALESTR. 3                                                              LUEDENSCHEID 58515
                                                                                                                   GERMANY
MIGUEL FERNANDEZ BLANCO              CALDERDELE STR 3                     58515 LUEDENSCHEID       02351 42302
MIGUEL FERREYRA‐FLORES               725 LOUISA ST                                                                                           LANSING          MI   48911‐5144
MIGUEL FILPO                         6258 SADDLEHORSE DR                                                                                     FLOWERY BRANCH   GA   30542‐4908
MIGUEL FLORES                        902 CAMERON AVE                                                                                         PONTIAC          MI   48340‐3208
MIGUEL FULLER                        6405 SHADOW VALLEY DR                                                                                   BURLESON         TX   76028‐1197
MIGUEL G MOLINA                      10 MEADOW LANE                       GARDEN HILLS                             00966 GUAYNABO PUERTO
                                                                                                                   RICO
MIGUEL GALAVIZ                       646 TUPPER LAKE ST                                                                                      LAKE ODESSA      MI   48849‐1063
MIGUEL GARZA                         1730 OAKBROOK DR                                                                                        JENISON          MI   49428‐9548
MIGUEL GODINEZ                       12022 PADDISON AVE                                                                                      NORWALK          CA   90650‐2466
MIGUEL GOMEZ                         14349 SAN JOSE ST                                                                                       MISSION HILLS    CA   91345‐2321
MIGUEL GONZALEZ                      30850 GERALDINE ST                                                                                      WESTLAND         MI   48185‐1798
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Name                      Address1                         Address2                      Address3   Address4               City               State Zip
MIGUEL GONZALEZ           2613 EMBRY RD                                                                                    BURLESON            TX 76028‐1463
MIGUEL GONZALEZ           150 STALEY RD                                                                                    UNIONVILLE          TN 37180‐8592
MIGUEL GUZMAN             9868 MCKEON CT                                                                                   SOUTH LYON          MI 48178‐9655
MIGUEL GUZMAN             7635 N RIVER RD                                                                                  FREELAND            MI 48623‐9256
MIGUEL GUZMAN             1843 CAPESIDE CIRCLE                                                                             WELLINGTON          FL 33414
MIGUEL HERNANDEZ          644 RIVERSIDE AVE                                                                                DEFIANCE            OH 43512‐2884
MIGUEL HERNANDEZ          5721 N LENOX AVE                                                                                 KANSAS CITY         MO 64151‐2723
MIGUEL HERRERA            320 ZENA DR                                                                                      BROWNSVILLE         TX 78521‐5333
MIGUEL IBARRA             1756 W BRIAN AVE                                                                                 PORTERVILLE         CA 93257‐8870
MIGUEL INFANTE            828 HEIN AVE                                                                                     LANSING             MI 48911‐4833
MIGUEL JACOME             803 104TH AVE N                                                                                  NAPLES              FL 34108‐3232
MIGUEL JR, ALFRED F       6415 SHADOW RIDGE RUN                                                                            FORT WAYNE          IN 46804‐4292
MIGUEL KRUX               HEINESTRASSE 23                                                           D 50931 UOLN GERMANY
MIGUEL LAGUERRE           7133 71ST                                                                                        GLENDALE           NY   11385
MIGUEL LARA               11841 RINGWOOD AVE                                                                               NORWALK            CA   90650‐7771
MIGUEL LEIVA              8443 W ROMA AVE                                                                                  PHOENIX            AZ   85037
MIGUEL LOWE               33854 CURCIO DR                                                                                  STERLING HEIGHTS   MI   48310
MIGUEL LUNA               309 LAMBETH LN                                                                                   SAINT LOUIS        MO   63125‐2960
MIGUEL LUNA               149 VILLAGE GRN                                                                                  UNIVERSAL CITY     TX   78148‐4152
MIGUEL MALDONADO          2538 BOREN DR                                                                                    SAN JOSE           CA   95121‐2703
MIGUEL MALDONADO          2900 RISDALE AVE                                                                                 LANSING            MI   48911‐2911
MIGUEL MANDUCA            253 BRIDGETON RD                                                                                 WESTON             FL   33326‐2954
MIGUEL MARTIN             33 ALYEA ST                                                                                      NEWARK             NJ   07105
MIGUEL MARTINEZ           AVE. BOULEVARD MONRIOG AG‐21                                                                     TOA BAJA           PR   00949
MIGUEL MEDINA JR          4901 KESSLER DR                                                                                  LANSING            MI   48910‐5324
MIGUEL MEDINA SR          412 W 7TH ST                                                                                     SAN JUAN           TX   78589‐2408
MIGUEL MEJIA              13618 BRYAN DRIVE                                                                                HOLLAND            MI   49423
MIGUEL MELENDEZ           7603 W 61ST ST                                                                                   ARGO               IL   60501‐1501
MIGUEL MELENDEZ           THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                     HOUSTON            TX   77017
MIGUEL MILIAN             3909 CANE RIVER RD                                                                               KELLER             TX   76248‐1935
MIGUEL MORA               8701 N ROBINHOOD AVE                                                                             KANSAS CITY        MO   64154‐7901
MIGUEL MORALEZ            519 BUFFALO RIDGE CIR                                                                            INDIANAPOLIS       IN   46227‐2886
MIGUEL ORTIZ              2476 ALTON RD                                                                                    DELTONA            FL   32738‐4182
MIGUEL PADILLA            204 BRAMBURY DR APT B                                                                            ROCHESTER          NY   14621‐1835
MIGUEL PALASOX FELIX      629 N MESA DR CONDO 32                                                                           MESA               AZ   85201‐5111
MIGUEL PEREZ              2872 ROOSEVELT AVE                                                                               BRONX              NY   10465‐2416
MIGUEL PEREZ              R‐R01 BOX 280                                                                                    ANASCO             PR   00610
MIGUEL PEREZ‐PASCUAL      5061 VILLA LINDE PKWY                                                                            FLINT              MI   48532‐3412
MIGUEL PEREZ‐PASCUAL MD   ATTN: MIGUEL PEREZ‐PASCUAL       5061 VILLA LINDE PKWY                                           FLINT              MI   48532‐3412
MIGUEL QUEZADA JR         28505 EVERGREEN RD                                                                               SOUTHFIELD         MI   48076‐5431
MIGUEL QUINTANA           PO BOX 1920                                                                                      LARES              PR   00669‐1920
MIGUEL R MENDEZ JR.       4346 STETSON RUN                                                                                 SAN ANTONIO        TX   78223‐5511
MIGUEL RAMIREZ            584 TULANE ST                                                                                    SAGINAW            MI   48604‐2249
MIGUEL RAMIREZ            BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS     OH   44236
MIGUEL RAMOS              C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                      BOSTON HTS         OH   44236
MIGUEL RAMOS              VILLA MAR                        CALLE PALMAR SUR #22                                            CAROLINA           PR   00979
MIGUEL REYES              611 HENRY ST                                                                                     DEFIANCE           OH   43512‐2214
MIGUEL RICO               2072 FOREST DR                                                                                   CARO               MI   48723‐9227
MIGUEL RIOS               PO BOX 9022                      C/O: RAMOS ARIZPE                                               WARREN             MI   48090‐9022
MIGUEL RIVERA             2038 ELM TRACE ST                                                                                AUSTINTOWN         OH   44515‐4808
MIGUEL RIVERA             210 SURREY CT                                                                                    SMITHVILLE         MO   64089‐8373
MIGUEL RIVERA             BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                      BOSTON HEIGHTS     OH   44236
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Name                            Address1                      Address2                     Address3   Address4                   City             State Zip
MIGUEL ROBLES                   657 WOODMONT PL                                                                                  SHREVEPORT        LA 71108‐5724
MIGUEL ROCHA                    2017 W 17TH ST                                                                                   CHICAGO            IL 60608‐1814
MIGUEL RODRIGUEZ                3272 VAN CAMPEN DR                                                                               WATERFORD         MI 48329‐4171
MIGUEL RODRIGUEZ                12 CALLE ARBOLEDA                                                                                CIDRA             PR 00739‐9573
MIGUEL ROSALEZ JR               306 ELMWOOD AVE                                                                                  ALMA              MI 48801‐2636
MIGUEL RUBIO                    1180 MORRIS HILLS PKWY                                                                           MOUNT MORRIS      MI 48458‐2575
MIGUEL RUIZ                     1404 WARREN ST                                                                                   SAN FERNANDO      CA 91340‐1718
MIGUEL S GUZMAN                 9868 MCKEON CT                                                                                   SOUTH LYON        MI 48178‐9655
MIGUEL S LAPID                  107 CADIZ COURT                                                                                  VALLEJO           CA 94591‐6709
MIGUEL SALAZAR                  NO ADDRESS ON FILE
MIGUEL SANCHEZ                  1622 LAKESIDE DR                                                                                 MISSION          TX 78572‐3000
MIGUEL SANCHEZ JR               1749 HOPKINS ST                                                                                  DEFIANCE         OH 43512‐2452
MIGUEL SANTIN                   25 RUE SACCO ET VANZETTI                                              F 94800 VILLEJUIF FRANCE
MIGUEL SEGURA                   2330 SILVERWOOD RD                                                                               LUPTON           MI   48635‐9634
MIGUEL SILVA                    367 MCGRADY RD                                                                                   RISING SUN       MD   21911‐2535
MIGUEL SOLANO                   514 W 184TH ST APT 1                                                                             NEW YORK         NY   10033‐4326
MIGUEL SOTO AND ROSA G SOTO     4141 CORAL TREE CIRCLE        #341                                                               COCONUT CREEK    FL   33073‐4442
MIGUEL T VARGAS                 1721 S MICHIGAN AVE                                                                              SAGINAW          MI   48602‐1333
MIGUEL TORAL                    13665 LEXICON PL                                                                                 SYLMAR           CA   91342‐1817
MIGUEL TORIBIO                  3219 97TH ST                                                                                     EAST ELMHURST    NY   11369‐1809
MIGUEL TORRES                   3940 SCHOONER LOOP                                                                               LAS CRUCES       NM   88012‐6067
MIGUEL TORRES                   BEVAN & ASSOCIATES LPA INC    6555 DEAN MEMORIAL PARKWAY                                         BOSTON HEIGHTS   OH   44236
MIGUEL URDIALES                 2169 HAWTHORNE/LAKE CHRISTY                                                                      DEFIANCE         OH   43512
MIGUEL VALADEZ I I I            2514 FALLCREEK ST                                                                                ARLINGTON        TX   76014‐1012
MIGUEL VAZQUEZ                  4996 BROADWAY                                                                                    NEW YORK         NY   10034
MIGUEL VAZQUEZ
MIGUEL VELOZ                    PO BOX 368                    3836 MT PINOS                                                      FRAZIER PARK     CA   93225‐0368
MIGUEL VELOZ                    11786 AVALON AVE                                                                                 YUCAIPA          CA   92399‐2823
MIGUEL VIERA‐MONTALVO           91 COMMONWEALTH AVE. UPPER                                                                       BUFFALO          NY   14216
MIGUEL VILLALOBOS               3840 SW 128 AVE                                                                                  MIAMI            FL   33175
MIGUEL VIVANCO                  21519 LOCH LN                                                                                    CREST HILL       IL   60403‐1196
MIGUEL'S AUTO REPAIR            1211 W OLIVE AVE                                                                                 PORTERVILLE      CA   93257‐3031
MIGUEL, ANGEL                   6415 BROADWAY IA                                                                                 WEST NEW YORK    NJ   07093
MIGUEL, ANGELA E                6415 SHADOW RIDGE RUN                                                                            FORT WAYNE       IN   46804‐4292
MIGUEL, ANGELA ELISE            6415 SHADOW RIDGE RUN                                                                            FORT WAYNE       IN   46804‐4292
MIGUEL, AVELINA                 248 HAZELHURST AVE                                                                               SYRACUSE         NY   13206‐2814
MIGUEL, KYLE PATRICK            6415 SHADOW RIDGE RUN                                                                            FORT WAYNE       IN   46804‐4292
MIGUEL, LUCINDA G               42 HIGHLAND ST                                                                                   MILFORD          MA   01757‐2334
MIGUEL, RICHARD J               3218 SHALLOWBROOK DR                                                                             FORT WAYNE       IN   46814‐8814
MIGUEL‐SAMUEL KLABER‐LEISSNER   STOLPSTR 3                                                            D‐51643 GUMMERSBACH
                                                                                                      GERMANY
MIGUELEZ, MARIA C               802 HIGHPOINTE CIR                                                                               LANGHORNE        PA 19047‐5163
MIGUELEZ, MARIA C               802 HIGH POINT CIR.                                                                              LANGHORNE        PA 19047‐5163
MIGUELS, JENNIFER               107 8TH AVE                                                                                      COLUMBIA         TN 38401‐2857
MIGUEZ BRINGUE AYALA            PZA MERCADOAL 14                                                      25520 POUT DE SUERT
                                                                                                      LLEIDA ESPANA
MIGUT, JUDY                     2617 22ND ST.                                                                                    BAY CITY         MI 48708
MIGUT, ROBERT A                 700 S LINCOLN RD                                                                                 BAY CITY         MI 48708‐9651
MIGYANKA JR, CHARLES            51015 WARREN RD                                                                                  CANTON           MI 48187‐1133
MIHA SKODA
MIHACSI JR, JOHN W              #1                            11875 KILMANAGH ROAD                                               SEBEWAING         MI 48759‐9797
MIHACSI, ELIZABETH M            11875 KILMANAGH RD            1                                                                  SEBEWAING         MI 48759‐9797
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Name                        Address1                        Address2                        Address3   Address4                 City               State Zip
MIHACSI, ELIZABETH M        #1                              11875 KILMANAGH ROAD                                                SEBEWAING           MI 48759‐9797
MIHACSI, MARGARET           804 BEACH STREET                                                                                    SEBEWAING           MI 48759
MIHAI VARGA
MIHAIL CRISTACHE            25008 TODDY LN                                                                                      FARMINGTON HILLS   MI 48335‐2078
MIHAIL GIOFU                4250 NORTH TOWN LINE RD                                                    WINDSOR ON CANADA N9A‐
                                                                                                       6Z6
MIHAIL NEAMONITAKIS         17 HUNT PT                                                                                          ROCHESTER          NY   14624‐3703
MIHAIL, MARIAN R            9023 W 24TH ST                                                                                      LOS ANGELES        CA   90034
MIHAIL, STEVE F             PO BOX 121                                                                                          KENNEDALE          TX   76060‐0121
MIHAILO DULOVIC             10847 S AVENUE B                                                                                    CHICAGO            IL   60617‐6814
MIHAILOFF GEORGE            1266 MARYMAR LN                                                                                     BLOOMFIELD         MI   48302‐2825
MIHAILOFF, DONNA J          5316 SEYMOUR RD                                                                                     SWARTZ CREEK       MI   48473‐1032
MIHAILOFF, GEORGE           1266 MARYMAR LN                                                                                     BLOOMFIELD HILLS   MI   48302‐2825
MIHAILOFF, JOSEPH G         5316 SEYMOUR RD                                                                                     SWARTZ CREEK       MI   48473‐1032
MIHAILOFF, VALADE           4135 MONROE ST                                                                                      DEARBORN HEIGHTS   MI   48125‐2516
MIHAILOVIC, BRANKO          PO BOX 341                                                                                          NAPLES             FL   34106‐0341
MIHAILUK, MICHAEL G         14945 MAPLE ST                                                                                      POSEN              MI   49776‐9783
MIHAJLO BENKA               31171 GOLDEN OAK DR                                                                                 CHESTERFIELD       MI   48047‐4695
MIHAJLO MOMCILOVIC          11421 S EWING AVE                                                                                   CHICAGO            IL   60617‐7471
MIHAJLOV, DENNIS M          18822 ANGLING RD                                                                                    ATLANTA            MI   49709‐9549
MIHAJLOVSKI, BLAGOJE        6163 COLONIAL ST                                                                                    DEARBORN HTS       MI   48127‐3103
MIHALCHICK, ETHEL           924 MEDORA DR                                                                                       GREER              SC   29650‐4752
MIHALCHIK, ANITA L          35203 ANNS CHOICE WAY                                                                               WARMINSTER         PA   18974‐3391
MIHALCIK DOROTHY (446354)   BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD , BEVAN                                       NORTHFIELD         OH   44067
                                                            PROFESSIONAL BLDG
MIHALCIK, DOROTHY           BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                                        NORTHFIELD         OH 44067
                                                            PROFESSIONAL BLDG
MIHALEC, MARY J             10131 CRABB RD                                                                                      TEMPERANCE         MI   48182‐9347
MIHALEK, DENNIS J           104 KENSINGTON PL                                                                                   COLUMBIA           TN   38401‐8884
MIHALEK, ELSIE K            ELM HAVEN MANOR                 600 W. WALTON BLVD                                                  PONTIAC            MI   48340
MIHALEK, JOHN               838 SUNCHASE DR                                                                                     FORT COLLINS       CO   80524‐6022
MIHALEK, JOSEPH A           835 COTHRAN RD                                                                                      COLUMBIA           TN   38401‐6756
MIHALEK, STACY              835 COTHRAN RD                                                                                      COLUMBIA           TN   38401‐6756
MIHALEK, WILLIAM            600 W WALTON BLVD APT 214       ELM HAVEN MANOR                                                     PONTIAC            MI   48340‐1097
MIHALIC, JOHN               14132 MARTIN RD                                                                                     WARREN             MI   48088‐6326
MIHALICH, DOROTHY S         2021 MAYFLOWER CIRCLE                                                                               GROVE CITY         OH   43123‐8774
MIHALICK, MARGARET A        2 AUGUSTA RD                                                                                        WHITING            NJ   08759‐2238
MIHALICK, MARGARET A        2 AUGUSTA RD.                                                                                       WHITING            NJ   08759
MIHALICK, RONALD J          5462 NORQUEST BLVD.                                                                                 YOUNGSTOWN         OH   44515‐1820
MIHALIK ANDY                1039 S SCHENLEY AVE                                                                                 YOUNGSTOWN         OH   44509‐3036
MIHALIK JOSEPHINE A         1039 S SCHENLEY AVE                                                                                 YOUNGSTOWN         OH   44509‐3036
MIHALIK PAUL B              1843 VERNON AVE NW                                                                                  WARREN             OH   44483‐3147
MIHALIK, ANDREW J           5179 WILLOW CREST AVE                                                                               AUSTINTOWN         OH   44515‐3955
MIHALIK, ANNA               1860 TICE CREEK DR APT 1232                                                                         WALNUT CREEK       CA   94595‐2449
MIHALIK, ANNA               1860 TIRE CREEK DR #1232                                                                            WALNUT CREEK       CA   94595
MIHALIK, DOROTHY A          2524 W 37TH ST                                                                                      LORAIN             OH   44053‐2304
MIHALIK, JOHN A             1221 TREK TRL                   SILVER SHORES                                                       TRAVERSE CITY      MI   49684‐9570
MIHALIK, JOHN J             15777 BOLESTA RD LOT 202                                                                            CLEARWATER         FL   33760‐3449
MIHALIK, MICHAEL G          406 MAIN ST.,PO 134                                                                                 OAKLEY             MI   48649
MIHALIK, RICHARD F          50 TALSMAN DR UNIT 4                                                                                CANFIELD           OH   44406‐1297
MIHALIK, RICHARD J          4292 LUMONT AVE                                                                                     CANFIELD           OH   44406‐9326
MIHALIK, STEVEN L           414 MCKAYS CT                                                                                       BRENTWOOD          TN   37027‐2932
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Name                      Address1                        Address2               Address3      Address4         City                State Zip
MIHALIS STEPHAN           WISE & JULIAN                   156 N MAIN ST          STOP 1                         EDWARDSVILLE          IL 62025‐1972
MIHALIS STEPHAN           ICO THE LANIER LAW FIRM P C     6810 FM 1960 WEST                                     HOUSTON              TX 77069
MIHALIS, JOANNA P         2039 SCOTLAND DR                                                                      CLEARWATER           FL 33763‐1338
MIHALIS, JOHN E           50099 STATE ROUTE 303                                                                 WELLINGTON           OH 44090‐9739
MIHALIS, RONALD E         11809 GRAFTON RD                                                                      GRAFTON              OH 44044‐9137
MIHALIS, SOPHIA           2084 HILLWOOD DR                                                                      CLEARWATER           FL 33763‐1306
MIHALIS, STEPHAN          WISE & JULIAN                   156 N MAIN ST STOP 1                                  EDWARDSVILLE          IL 62025‐1972
MIHALIS, TERESA M         245 E CHURCH ST                                                                       BLOOMFIELD           IN 47424
MIHALJEVIC, DAN G         5330 S BRENNAN DR                                                                     NEW BERLIN           WI 53146‐4419
MIHALJEVIC, MARK          3286 PERSIMMON LN                                                                     AVON                 OH 44011‐3708
MIHALKA, HELEN J          PO BOX 891                                                                            COBB                 CA 95426‐0891
MIHALKO, JASON K          25134 HAZELNUT CT                                                                     GROSSE ILE           MI 48138‐2314
MIHALKO, LARRY S          33730 HUNTERS POINTE RD                                                               FARMINGTON HILLS     MI 48331‐2721
MIHALKO, LINDA M          223 YACHT POINT DR                                                                    LUCAS                OH 44843‐9630
MIHALKO, MARY S           16225 N CAVE CREEK RD LOT 33                                                          PHOENIX              AZ 85032‐2964
MIHALO JAMES M            5702 LASSITER OVAL                                                                    PARMA                OH 44129‐6358
MIHALOVIC, JOSEPH J       300 FOXWOOD DR UNIT 170                                                               WATERFORD            WI 53185‐4371
MIHALOVICH, LAWRENCE J    2233 BOLLINGER AVE NE                                                                 CANTON               OH 44705‐3511
MIHALOW, DORIS B          158 JULIA AVE                                                                         TRENTON              NJ 08610‐6530
MIHALOW, GEORGE T         50 CATHY LN                                                                           BURLINGTON           NJ 08016‐9720
MIHALOW, STEPHEN A        158 JULIA AVE                                                                         TRENTON              NJ 08610‐6530
MIHALOW, STEPHEN M        1029 N SEMINARY ST                                                                    ROANOKE              IN 46783‐9115
MIHALSKI, JUDITH          26601 COOLIDGE HWY                                                                    OAK PARK             MI 48237‐1135
MIHALTAN, VICTOR D        6047 MIDDLESEX ST                                                                     DEARBORN             MI 48126‐2114
MIHALTAN, VICTOR DANIEL   6047 MIDDLESEX ST                                                                     DEARBORN             MI 48126‐2114
MIHALY A POLCZER          167 CHICKASAW RD.                                                                     HOBOKEN              GA 31542
MIHALY GUGYELA            4882 CRESTBROOK DR                                                                    WATERFORD            MI 48328‐1010
MIHALY KOVACS             35465 MONTECRISTO DR                                                                  STERLING HEIGHTS     MI 48310‐5332
MIHALY POLCZER            167 CHICKASAW RD                                                                      HOBOKEN              GA 31542‐2913
MIHALY, DORIS             2676 HARRIS RD                                                                        BROADVIEW HTS        OH 44147‐2641
MIHALY, JOSEPH J          1489 MELBOURNE DR                                                                     GIRARD               OH 44420‐1333
MIHALY, KENNETH A         2676 HARRIS RD                                                                        BROADVIEW HEIGHTS    OH 44147‐2641
MIHALY, RUTH              1107 CASCADE DR                                                                       W HOMESTEAD          PA 15120‐1322
MIHALYAK, AMANDA B        9 BARLOW ST                                                                           BRISTOL              CT 06010‐4002
MIHALYOV, ROBERT D        825 DULCE TIERRA DR                                                                   EL PASO              TX 79912
MIHANSKY, VIVIAN D        119 BURNSIDE AVE                                                                      CRANFORD             NJ 07016‐2677
MIHAS, EUGENIA M          1509 ELM RD NE                                                                        WARREN               OH 44483‐4020
MIHAVETZ, ADELE B         24 BALTUSROL DR                                                                       JACKSON              NJ 08527‐3991
MIHAY, MARIE L            2275 ROSEWOOD DR.                                                                     WATERFORD            MI 48328‐1859
MIHELC, MARILYN S         220 SHERWOOD CT                                                                       ZIONSVILLE           IN 46077‐1043
MIHELC, WILLIAM P         220 SHERWOOD CT                                                                       ZIONSVILLE           IN 46077‐1043
MIHELCIC, MATT            156 CONNIE PARK DR                                                                    MC KEES ROCKS        PA 15136‐1648
MIHELCIC, ROSE A          1266 RINN ST                                                                          BURTON               MI 48509‐2372
MIHIC, ALBERT G           6353 S STATE ROAD 10                                                                  KNOX                 IN 46534‐7821
MIHIN, RICHARD D          7004 PASO ROBLES BLVD                                                                 FORT PIERCE          FL 34951‐1223
MIHLAN, ROSE A            1825 VILLAGE PATH                                                                     HERMITAGE            PA 16148
MIHLFELD, EVERETT L       467 S FARM ROAD 89                                                                    SPRINGFIELD          MO 65802‐8717
MIHLHAUSER, JAMES B       727 REED ST                                                                           LIBERTY              MO 64068‐2243
MIHM, MATTHEW J           3929 E STREET                                                                         OXFORD               MI 48371‐1560
MIHM, SUSAN B             745 DUTCH LANE LOT #32                                                                SHARON               PA 16148
MIHNA, ANNIE L            9234 ROXBURY RD                                                                       PARMA HEIGHTS        OH 44130‐2349
MIHOCES, DANIEL J         1026 MARIPAT DR                                                                       SOUTH PARK           PA 15129‐9105
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Name                                 Address1                              Address2                         Address3     Address4         City             State Zip
MIHOCES, KENNETH J                   269 BOST DR                                                                                          WEST MIFFLIN      PA 15122‐2510
MIHOK, DAVID M                       304 ROGER COLE RD                                                                                    BOWLING GREEN     KY 42101‐9316
MIHOK, DAVID MICHAEL                 304 ROGER COLE RD                                                                                    BOWLING GREEN     KY 42101‐9316
MIHOK, ROBERT W                      176 SKEES RD                                                                                         BOWLING GREEN     KY 42104‐8751
MIHOM DAN                            MIHOM, DAN
MIHON, DAN                           HILBORN GEORGE A                      31000 LAHSER , STE 6                                           BIRMINGHAM       MI   48010
MIHOPULOS, CHRISTINE M               4215 S PINE AVE                                                                                      MILWAUKEE        WI   53207‐5137
MIHULKA, DORRIS S                    PO BOX 413                                                                                           MOUNT MORRIS     MI   48458‐0413
MIHULKA, ROBERT J                    PO BOX 413                                                                                           MOUNT MORRIS     MI   48458
MIHUTA THOMAS (446357)               BEVAN & ASSOCIATES                     10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD       OH   44067
                                                                            PROFESSIONAL BLDG
MIHUZO CORPORATE BANK (USA)          1251 AVENUE OF THE AMERICAS            32ND FLOOR                                                    NEW YORK         NY 10020
MIHUZO CORPORATE BANK (USA)          ATTN: LEGAL OFFICER / BANKRUPTCY DEPT. 1251 AVENUE OF THE AMERICAS     32ND FLOOR                    NEW YORK         NY 10020

MIILU, DONALD J                      1800 BAILEY ST                                                                                       LANSING          MI 48910‐9127
MIILU, HELEN M                       1392 13TH ST                                                                                         MASS CITY        MI 49948‐9799
MIINCH, JANICE C.                    25140 ELMER LADNER RD                                                                                PASS CHRISTIAN   MS 39571
MIJAJLOVIC
MIJAK I I I, EDWARD J                600 GRAMPIAN AVE                                                                                     LAKE ORION       MI   48362‐3330
MIJAK III, EDWARD J                  600 GRAMPIAN AVE                                                                                     LAKE ORION       MI   48362‐3330
MIJAK, ANN E                         600 GRAMPIAN AVE                                                                                     LAKE ORION       MI   48362‐3330
MIJAL, CHESTER J                     6240 W MORGAN CIR                                                                                    WESTLAND         MI   48185‐6916
MIJANKA SA                           64010 NW 82ND AVE 0#0037                                                                             MIAMI            FL   33166
MIJARES, ALICIA M                    21740 RENEE COURT                                                                                    SONORA           CA   95370‐9682
MIJARES, ALICIA M                    21740 RENEE CT                                                                                       SONORA           CA   95370‐9682
MIJARES, ROBIN R                     1177 E 49TH ST                                                                                       LOS ANGELES      CA   90011‐4201
MIJARES, ROLANDO R                   5535 ASHBY CT                                                                                        WATERFORD        MI   48327‐3094
MIJAREZ, ROBERT R                    10416 OMELVENY AVE                                                                                   PACOIMA          CA   91331‐3711
MIJIC, MILKA                         8477 FAY AVE                                                                                         NORTH PORT       FL   34287‐1929
MIJOLJKA VUNJAK                      11615 S AVENUE H                                                                                     CHICAGO          IL   60617‐7470
MIKA ADAMS                           29 SORREL CT                                                                                         ZIONSVILLE       IN   46077‐1938
MIKA GROUP INETERNATIONAL INC        599 LEXINGTON AVE STE 2300                                                                           NEW YORK         NY   10022
MIKA KARJALAINEN
MIKA SYSTEMS INC                     30600 TELEGRAPH RD STE 1375                                                                          BINGHAM FARMS    MI   48025‐4589
MIKA TRANSPORTATION INC              12222 PINE SPRINGS DR                                                                                EL PASO          TX   79936‐7825
MIKA, DIANA J                        1459 KRISTIN CT                                                                                      PARADISE         CA   95969‐2705
MIKA, DOROTHY                        20858 W TORREY PINES LN APT D                                                                        PLAINFIELD       IL   60544‐5419
MIKA, GARY R                         3228 ARENAC STATE RD                                                                                 STANDISH         MI   48658‐9715
MIKA, JAMES E                        2911 STRATFORD DR                                                                                    BAY CITY         MI   48706‐1529
MIKA, JOHN R                         APT G                                 85 OAKBROOK DRIVE                                              BUFFALO          NY   14221‐2561
MIKA, JOSEPHINE                      82 BLICK APT#2                                                                                       BUFFALO          NY   14212
MIKA, LAWRENCE J                     2208 FITZHUGH ST                                                                                     BAY CITY         MI   48708‐8667
MIKA, MARGARET MARY                  55 CAMDEN ST                                                                                         ROCHESTER        NY   14612
MIKA, MARGARET MARY                  HURLBUT NURSING HOME                  1177 E HENRIETTA ROAD                                          ROCHESTER        NY   14623‐4623
MIKA, MARYANN J                      2911 STRATFORD                                                                                       BAY CITY         MI   48706‐1529
MIKA, MEYERS, BECKETT & JONES PLC    LARRY G. GARDNER                      200 OTTAWA AVE NW STE 700                                      GRAND RAPIDS     MI   49503‐2421
MIKA, MEYERS, BECKETT & JONES, PLC
MIKA, RICHARD J                      2407 NANCY ST BOX 176                                                                                LUZERNE          MI   48636
MIKA, RICHARD M                      759 BRENNAN DR                                                                                       AMHERST          OH   44001‐2405
MIKA, ROBERT                         106 E WISCONSIN ST                                                                                   VIOLA            WI   54664‐7035
MIKA, THOMAS H                       PO BOX 860054                                                                                        SHAWNEE          KS   66286‐0054
MIKA, THOMAS HERBERT                 PO BOX 860054                                                                                        SHAWNEE          KS   66286‐0054
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Name                        Address1                       Address2                               Address3   Address4         City               State Zip
MIKA, VICTOR S              30767 MIDDLEBURY ST                                                                               WESTLAND            MI 48186‐5315
MIKA, VIRGINIA M            45325 STONEHEDGE DR                                                                               PLYMOUTH            MI 48170‐3992
MIKAA T BAYLESS             8082 VETERANS PKWY APT 1304                                                                       COLUMBUS            GA 31909
MIKAC, FRANK J              4117 RODEO DR                                                                                     SYLVANIA            OH 43560‐3281
MIKAEL NYSTROM              35606 ASHTON CT                                                                                   CLINTON TOWNSHIP    MI 48035‐2175
MIKAEL WINTERS              551 SW 131 AVE                                                                                    DAVIE               FL 33325
MIKAELA ROJAS               1944 NW 550TH RD                                                                                  KINGSVILLE          MO 64061‐9180
MIKAELIAN, MARGARET E       27105 WOODWARD AVE                                                                                BERKLEY             MI 48072‐0909
MIKAELIAN, NORMAN           39805 CORONATION RD                                                                               CANTON              MI 48188‐1526
MIKAILA, JURGIS             50 RICHMOND RD APT 30                                                                             PUTNAM              CT 06260‐1876
MIKALAS, LAWRENCE J         2521 STATE ROUTE 772                                                                              RARDEN              OH 45671‐9605
MIKALAUSKAS, ALINA          67 PULASKI BLVD.                                                                                  TOMS RIVER          NJ 08757‐6420
MIKALAUSKAS, BARBARA        23425 CALVIN                                                                                      TAYLOR              MI 48180‐2346
MIKALAUSKAS, BARBARA        23425 CALVIN ST                                                                                   TAYLOR              MI 48180‐2346
MIKALAUSKAS, DOMINIC        23425 CALVIN ST                                                                                   TAYLOR              MI 48180‐2346
MIKALAUSKAS, GEORGE A       104 E BRUCE AVE                                                                                   DAYTON              OH 45405‐2604
MIKALAUSKAS, LENORA         4205 ASHER UNIT 3                                                                                 SAN DIEGO           CA 92110‐3603
MIKALAUSKAS, LENORA         4205 ASHER ST UNIT 3                                                                              SAN DIEGO           CA 92110‐3603
MIKAN MOTOR COMPANY, INC.   ROBERT MIKAN                   340 NEW CASTLE RD                                                  BUTLER              PA 16001‐2419
MIKAN MOTOR COMPANY, INC.   340 NEW CASTLE RD                                                                                 BUTLER              PA 16001‐2419
MIKANOVICH, MARY            110 CROMWELL CT                                                                                   SUMMERVILLE         SC 29485‐3451
MIKASA, BETTY J             8196 CHASE LAKE RD                                                                                FOWLERVILLE         MI 48836‐9770
MIKASHUS, DAVID J           6001 RICHMOND                                                                                     CLARENDON HLS        IL 60514
MIKASHUS, NANCY A           14918 S HAWTHORN CIR                                                                              PLAINFIELD           IL 60544‐2106
MIKASHUS, OLGA              6001 S RICHMOND AVE                                                                               WILLOWBROOK          IL 60527‐1837
MIKASHUS, PAUL D            14918 S HAWTHORN CIR                                                                              PLAINFIELD           IL 60544‐2106
MIKAWA, ROBERT R            4215 SHERWOOD RD                                                                                  ORTONVILLE          MI 48462‐9145
MIKAYLA JOHNSON             38 E STRATHMORE AVE                                                                               PONTIAC             MI 48340‐2764
MIKAYLA R JAMES             5230 OLENTANGY                                                                                    DAYTON              OH 45431
MIKE                        12200 LAFAYETTE CENTER RD                                                                         ROANOKE             IN 46783‐9628
MIKE                        60343 COUNTY ROAD 4                                                                               SQUAW LAKE          MN 56681‐2033
MIKE                        MIKE TRAMONTE                  200 LITTLE FALLS ST, SUITE 303 FALLS                               FALLS CHURCH        VA 22046
                                                           CHURCH, VA
MIKE
MIKE K
MIKE & LOUIS PIANO MOVING   ATTN: SAM MC KENZIE            132 CESAR E CHAVEZ AVE                                             PONTIAC             MI 48342‐2047
MIKE & NATALIE MAGULA       1554 JUNIPER COURT                                                                                HERMITAGE           PA 16148
MIKE & PAM PEARSON
MIKE A SANCHEZ              15060 CUTLER DR                                                                                   LINDEN              MI 48451‐9064
MIKE A TALTON               5383 HIGHWAY 21                                                                                   HORTON              AL 35980
MIKE ABRAHAM
MIKE ACEVES                 183 PARKDALE AVE                                                                                  PONTIAC            MI   48340‐2551
MIKE ADAMS                  1045 MALONE LN                                                                                    COOKEVILLE         TN   38506‐9730
MIKE AGEMY                  6153 N BANKLE CT                                                                                  DEARBORN HEIGHTS   MI   48127‐2918
MIKE AGUIRRE                27827 ALDER GLEN CIR                                                                              VALENCIA           CA   91354‐1367
MIKE ALBERT LEASING         10349 EVANDALE                                                                                    CINCINNATI         OH   45241
MIKE ALBERT LEASING         RICHARD BETAGOLE               10340 EVENDALE DR                                                  CINCINNATI         OH   45241‐2512
MIKE ALBERT LEASING INC                                    10340 EVENDALE DR                                                                     OH   45241
MIKE ALBERT LEASING INC     10381 EVENDALE DR                                                                                 CINCINNATI         OH   45241‐2513
MIKE ALBERT LEASING, INC.   10381 EVENDALE DR                                                                                 CINCINNATI         OH   45241‐2513
MIKE ALLAIN
MIKE ALLEN
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Name                                Address1                              Address2                Address3   Address4         City                State Zip
MIKE AND CHADS REPAIR               1N S MINNESOTA ST                                                                         CONRAD               MT 59425
MIKE ANDERSON                       1004 LICHFIELD CT                                                                         THOMPSONS STATION    TN 37179‐5336
MIKE ANDERSON CHEVROLET OF CHICAGO 5301 W IRVING PARK RD                                                                      CHICAGO               IL 60641‐2529
LLC
MIKE ANDERSON CHEVROLET OF CHICAGO, 5333 W IRVING PARK RD                                                                     CHICAGO              IL   60641‐2529

MIKE ANDERSON CHEVROLET OF CHICAGO, 5333 W IRVING PARK RD                                                                     CHICAGO              IL   60641‐2529
LLC
MIKE ANDERSON CHEVROLET OF CHICAGO, MICHAEL ANDERSON                      5333 W IRVING PARK RD                               CHICAGO              IL   60641‐2529
LLC
MIKE ANDERSON CHEVROLET OF MERRILLV 1550 E 61ST AVE                                                                           MERRILLVILLE         IN   46410‐2762

MIKE ANDERSON CHEVROLET OF          1550 E 61ST AVE                                                                           MERRILLVILLE         IN   46410‐2762
MERRILLVILLE
MIKE ANDERSON CHEVROLET OF OSSIAN,I 604 S JEFFERSON ST                                                                        OSSIAN               IN   46777‐9689

MIKE ANDERSON CHEVROLET OF           604 S JEFFERSON ST                                                                       OSSIAN               IN   46777‐9689
OSSIAN,INC.
MIKE ANDERSON CHEVROLET OF           MICHAEL ANDERSON                     604 S JEFFERSON ST                                  OSSIAN               IN   46777‐9689
OSSIAN,INC.
MIKE ANDERSON CHEVROLET, INC.        ROBERT ALTHOUSE                      119 E MAIN ST                                       GAS CITY             IN   46933‐1455
MIKE ANDERSON CHEVROLET, INC.        119 E MAIN ST                                                                            GAS CITY             IN   46933‐1455
MIKE ANDERSON GM SUPER CENTER        4301 E MARKET ST                                                                         LOGANSPORT           IN   46947‐2355
MIKE ANDERSON GM SUPER CENTER        MICHAEL ANDERSON                     4301 E MARKET ST                                    LOGANSPORT           IN   46947‐2355
MIKE ANDERSON PONTIAC & GMC TRUCK,   MICHAEL ANDERSON                     4301 E MARKET ST                                    LOGANSPORT           IN   46947‐2355
INC.
MIKE ANDERSON PONTIAC OLDSMOBILE &   4301 E MARKET ST                                                                         LOGANSPORT           IN   46947‐2355
GMC TRUCK INC
MIKE ARCAMONE                        6811 SHADOWOOD DR                                                                        WEST BLOOMFIELD     MI 48322‐3297
MIKE ARVIDSON
MIKE AUGUSTA                         318 PATRIOTS LNDG                                                                        COATESVILLE         IN    46121‐8954
MIKE BAILEY MOTORS, INC.             MICHAEL BAILEY                       812 INDUSTRIAL AVENUE                               HENRYETTA           OK    74437
MIKE BAILEY MOTORS, INC.             812 INDUSTRIAL AVENUE                                                                    HENRYETTA           OK    74437
MIKE BALL                            2601 DELAVAN DR                                                                          DAYTON              OH    45459‐3547
MIKE BARNARD                         9997 CENTER RD                                                                           FOSTORIA            MI    48435‐9752
MIKE BARNARD CHEVROLET‐BUICK CORP.   847 ROUTES 5 & 20                                                                        GENEVA              NY    14456

MIKE BARNARD CHEVROLET‐BUICK CORP.   MICHAEL BARNARD                      847 ROUTES 5 & 20                                   GENEVA              NY 14456

MIKE BARNARD CHEVROLET‐CADILLAC‐BUI PO BOX 362                                                                                NEWARK              NY 14513

MIKE BARNARD CHEVROLET‐CADILLAC‐     MICHAEL BARNARD                      808 W UNION ST                                      NEWARK              NY 14513
BUICK‐PONTIAC‐GMC, INC.
MIKE BARNARD CHEVROLET‐CADILLAC‐     PO BOX 362                                                                               NEWARK              NY 14513
BUICK‐PONTIAC‐GMC, INC.
MIKE BARNARD CHEVROLET‐CADILLAC‐     ATT: MICHAEL E. BARNARD, PRESIDENT   616 THAYER ROAD                                     FAIRPORT            NY 14450
BUICK‐PONTIAC‐GMC, INC.
MIKE BARNES                          1942 BALL LN                                                                             KANSAS CITY         KS    66103‐1453
MIKE BATEMAN                         6031 NEWTON RD                                                                           EAST LANSING        MI    48823‐9718
MIKE BAUMANN                         8090 CASA MIA ST                                                                         WHITE LAKE          MI    48386‐4304
MIKE BEAN                            720 RIVERVIEW DR                                                                         KOKOMO              IN    46901‐7024
MIKE BELL CHEVROLET, INC.            1200 N PARK ST                                                                           CARROLLTON          GA    30117‐2260
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Name                                  Address1                        Address2                     Address3   Address4              City             State Zip
MIKE BELL CHEVROLET, INC.             MICHAEL BELL                    1200 N PARK ST                                                CARROLLTON        GA 30117‐2260
MIKE BENNAGE CHEVROLET, LLC           MICHAEL BENNAGE                 311 BLACKWOOD ST                                              HUGHES            AR 72348‐8923
MIKE BENNAGE CHEVROLET, LLC           311 BLACKWOOD ST                                                                              HUGHES            AR 72348‐8923
MIKE BLAKE                            5760 W 300 N                                                                                  SHARPSVILLE       IN 46068‐9133
MIKE BLAMA
MIKE BLEMASTER                        8563 W HYDE RD                                                                                SAINT JOHNS      MI 48879‐9737
MIKE BOECKLE
MIKE BOLLING                          PO BOX 34641                                                                                  N KANSAS CITY    MO 64116‐1041
MIKE BOSSY C/O MIKE BOSSY ENTERPRISES 136 ILE DUCHARME                                                        ROSEMERE QC J7A 4H8
INCORPORATED                                                                                                  CANADA
MIKE BOYAN
MIKE BOZSOKI                          BEVAN & ASSOCIATES, LPA, INC.   6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS.      OH   44236
MIKE BRADLEY'S AUTOMOTIVE             10121 CANOGA AVE UNIT HI                                                                      CHATSWORTH       CA   91311
MIKE BRADSHAW                         PO BOX 152818                                                                                 ARLINGTON        TX   76015‐8818
MIKE BRELINSKI                        1946 RINIEL RD                                                                                LENNON           MI   48449‐9316
MIKE BRIDGES                          10208 NORTH 120TH EAST AVENUE                                                                 OWASSO           OK   74055‐2698
MIKE BROWN                            101 YORKSHIRE CT                                                                              WAXAHACHIE       TX   75165‐8890
MIKE BROWN                            504 SHILOH CIR                                                                                COLUMBIA         TN   38401‐5316
MIKE BROWN                            2005 24 AVE. NW                                                         CALGARY AB T2M 1Z6
                                                                                                              CANADA
MIKE BROWNING                       PO BOX 10003                                                                                    DULUTH           GA 30096‐9403
MIKE BUBEN                          210 ZIMMERMAN RD                                                                                HAMPSHIRE        TN 38461‐5112
MIKE BURKLEO
MIKE BUTLER'S GARAGE                301 W HERMOSA ST                                                                                LINDSAY          CA   93247‐1911
MIKE BUTTRAM                        5298 COUNTY ROAD 434                                                                            TRINITY          AL   35673‐4411
MIKE C AUGUSTA                      318 PATRIOTS LNDG                                                                               COATESVILLE      IN   46121‐8954
MIKE C RODRIGUEZ                    169 DALEHURST DR                                                                                SAN ANTONIO      TX   78201‐2202
MIKE C SMITH                        BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGHTS   OH   44236
MIKE CADENA                         3895 DWIGGINS ST                                                                                LOS ANGELES      CA   90063‐2007
MIKE CAMP                           PO BOX 1151                                                                                     BURLESON         TX   76097
MIKE CANTRELL
MIKE CARROLL
MIKE CASTRUCCI CHEVROLET‐OLDSMOBILE 1099 LILA AVE                                                                                   MILFORD          OH 45150‐1684

MIKE CASTRUCCI CHEVROLET‐OLDSMOBILE MICHAEL CASTRUCCI                 1099 LILA AVE                                                 MILFORD          OH 45150‐1684
SALES, INC.
MIKE CASTRUCCI CHEVROLET‐OLDSMOBILE 1099 LILA AVE                                                                                   MILFORD          OH 45150‐1684
SALES, INC.
MIKE CHAFFIN                        11737 BISHOP HWY                                                                                LANSING          MI 48911‐6200
MIKE CHAMBERS                       6091 S COUNTY ROAD 700 W                                                                        YORKTOWN         IN 47396‐9714
MIKE CHRISWELL                      5000 S OLD STATE RD 67                                                                          MUNCIE           IN 47302‐9179
MIKE CLIFFORD
MIKE CLOUGHESSY                     BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGHTS   OH 44236
MIKE CODIAN                         BEVAN & ASSOCIATES LPA INC        6555 DEAN MEMORIAL PARKWAY                                    BOSTON HEIGHTS   OH 44236
MIKE COFFEY                         3903 FISHER RD                                                                                  INDIANAPOLIS     IN 46239‐1312
MIKE COLI
MIKE COMMERO
MIKE CONLEY                         2804 SAGEBRUSH CIR APT 102                                                                      ANN ARBOR        MI   48103‐8770
MIKE CORONADO                       3511 FARM LAND CT                                                                               GRANBURY         TX   76048‐3792
MIKE COSCARELLI                     2815 HOPKINS AVE                                                                                LANSING          MI   48912‐4801
MIKE CRAIG CHEVROLET, PONTIAC, BUIC 1635 N STATE HIGHWAY 6                                                                          MARLIN           TX   76661‐6619
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Name                                   Address1                              Address2                     Address3   Address4         City             State Zip
MIKE CRAIG CHEVROLET, PONTIAC, BUICK   1635 N STATE HIGHWAY 6                                                                         MARLIN            TX 76661‐6619

MIKE CRAIG CHEVROLET, PONTIAC, BUICK, JOSEPH FOUST                           1635 N STATE HIGHWAY 6                                   MARLIN            TX   76661‐6619
L.P.
MIKE CRAIG CHEVROLET‐CADILLAC‐HILLS 306 SOUTHWEST I‐35                                                                                HILLSBORO         TX   76645

MIKE CRAIG CHEVROLET‐CADILLAC‐         306 SOUTHWEST I‐35                                                                             HILLSBORO         TX   76645
HILLSBORO
MIKE CRAIG CHEVROLET‐PONTIAC‐BUICK‐    210 S HIGHWAY 36 BYP N                                                                         GATESVILLE        TX   76528‐2745

MIKE CRAIG CHEVROLET‐PONTIAC‐BUICK‐    210 S HIGHWAY 36 BYP N                                                                         GATESVILLE        TX   76528‐2745
GMC‐GATESVILLE
MIKE CRAIG CHEVROLET‐PONTIAC‐BUICK‐    GAINES STANLEY                        210 S HIGHWAY 36 BYP N                                   GATESVILLE        TX   76528‐2745
GMC‐GATESVILLE L.P.
MIKE CROSS                             168 MAIN ST                                                                                    LEETONIA         OH    44431‐1130
MIKE CUSACK                            3080 WOODLAND RD                                                                               WOODLAND         MI    48897‐9750
MIKE D HARTSOCK                        4230 WAGNER                                                                                    DAYTON           OH    45440
MIKE D LAND                            8393 S CHRISTIAN DR                                                                            NINEVEH          IN    46164‐5205
MIKE DAMICO                            4360 ARROWROCK AVE                                                                             DAYTON           OH    45424‐5004
MIKE DARGAJ                            5728 SOMERDALE AVE                                                                             BROOK PARK       OH    44142‐2564
MIKE DAUGHERTY                         1185 EASTVIEW DR                                                                               MANSFIELD        OH    44905‐1629
MIKE DAUGHERTY CHEVROLET                                                                                                              SACRAMENTO       CA    95825‐0389
MIKE DAUGHERTY CHEVROLET               2449 FULTON AVE                                                                                SACRAMENTO       CA    95825‐0347
MIKE DAVIS                             MICHAEL DAVIS                         503 N APPERSON WAY                                       KOKOMO           IN    46901‐4733
MIKE DAVIS                             385 B KENLEE CIRCLE                                                                            BOWLING GREEN    KY    42101
MIKE DEAN & STEPHEN NODINE             MOBILE COUNTY COMMISSION              205 GOVERNMENT ST                                        MOBILE           AL    36644‐0001
MIKE DENNEY CHEVROLET, INC.            PO BOX 1586                                                                                    GUTHRIE          OK    73044‐1586
MIKE DERZINSKI                         11138 230TH ST                                                                                 LINWOOD          KS    66052‐4126
MIKE DETERMAN
MIKE DIKUN SR                          BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.      OH 44236
MIKE DINWIDDIE                         3598 W CENTER MOUNTAIN WAY                                                                     TUCSON           AZ 85746‐7505
MIKE DIRIENZO
MIKE DONOVAN                           12200 LAFAYETTE CENTER RD                                                                      ROANOKE          IN    46783‐9628
MIKE DORICH JR                         21560 SUNSET DR                                                                                MACOMB           MI    48044‐5427
MIKE DRAGGICH                          1346 LAND HBR                                                                                  NEWLAND          NC    28657
MIKE DUMAN CHEVROLET, BUICK, PONTIA    1201 ARMORY DR                                                                                 FRANKLIN         VA    23851‐2415

MIKE DUMAN CHEVROLET, BUICK,           1201 ARMORY DR                                                                                 FRANKLIN         VA 23851‐2415
PONTIAC, GMC
MIKE DUMONT                            4884 HILLCREST RD                                                                              TRENTON          MI 48183‐4591
MIKE DUNN
MIKE DUPUIS                            4004 LIVE OAK BLVD                                                                             FORT WAYNE       IN    46804‐3942
MIKE E DIETZ                           1335 ROSEBUD CT                                                                                WAYNESVILLE      OH    45068
MIKE E DILBECK                         119 W 3RD ST                                                                                   TILTON           IL    61833‐7410
MIKE E HOOVER                          4225 OLD SALEM RD.                                                                             ENGLEWOOD        OH    45322
MIKE ERDMAN CADILLAC                   445 E MERRITT ISLAND CSWY                                                                      MERRITT ISLAND   FL    32952‐3502
MIKE ERDMAN MOTORS, INC.               MICHAEL ERDMAN                        445 E MERRITT ISLAND CSWY                                MERRITT ISLAND   FL    32952‐3502
MIKE ETCHBERGER
MIKE EVANS                             C/O MIKE EVANS AUTOMOTIVE RESEARCH,                                                            CANTON           MI 48188
                                       40340 WORTHINGTON CT, CANTON

MIKE F MILLER                          501 ROSEGARDEN DR. NE                                                                          WARREN           OH 44484‐1832
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Name                                 Address1                         Address2                     Address3   Address4         City            State Zip
MIKE FARHAT                          7754 OAKMAN BLVD                                                                          DEARBORN         MI 48126‐1171
MIKE FERENCE                         601 THIRD AVE C                                                                           CENTRAL CITY     PA 15926
MIKE FERRAN AUTOMOTIVE               5552 BEACH BLVD                                                                           JACKSONVILLE     FL 32207‐5161
MIKE FINGERS                         76 S CIRCLE DR                                                                            WRIGHT CITY      MO 63390‐1328
MIKE FISHER
MIKE FLAHERTY                        BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.     OH 44236
MIKE FLORES                          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.     OH 44236
MIKE FREEMAN CHEVROLET BUICK, INC.   KEITH FREEMAN                    2352 TEMPLE AVE N                                        FAYETTE         AL 35555‐1118

MIKE FREEMAN CHEVROLET BUICK, INC.   2352 TEMPLE AVE N                                                                         FAYETTE          AL   35555‐1118

MIKE FROST                           435 S KENTUCKY ST                                                                         DANVILLE         IN   46122‐1613
MIKE G
MIKE G MATTI                         5900 SKY POINTE DR               UNIT 1028                                                LAS VEGAS       NV    89130‐1845
MIKE G WOMACK                        922 VALLEY DRIVE                                                                          REECE CITY      AL    35954
MIKE GADDIS                          6110 N BALES AVE                                                                          GLADSTONE       MO    64119‐1938
MIKE GARCIA                          6440 CENTENNIAL RD                                                                        TECUMSEH        MI    49286‐9524
MIKE GARCIA                          90 W YPSILANTI AVE                                                                        PONTIAC         MI    48340‐1872
MIKE GARTIN                          15274 NASHUA CIR                                                                          WESTFIELD       IN    46074‐8058
MIKE GERAGOSIAN                      17015 CICOTTE AVE                                                                         ALLEN PARK      MI    48101‐3116
MIKE GHIRAN                          2813 AMBERWOOD LN                                                                         NAPLES          FL    34120‐7522
MIKE GIBSON AUTO SERVICE CENTER      1701 E WALNUT ST                                                                          PASADENA        CA    91106‐1611
MIKE GILLEAN                         4311 CIRCLE SQUARE DR                                                                     MOORINGSPORT    LA    71060‐9517
MIKE GILLESPIE                       MADISON COUNTY COMMISSION        6994 COURTHOUSE 700, 100                                 HUNTSVILLE      AL    35801
                                     CHAIRMAN                         NORTHSIDE SQ.
MIKE GLASS
MIKE GOFF                           21885 BOWMAN RD                                                                            DEFIANCE        OH    43512‐8990
MIKE GOMEZ                          2371 IVY PL                                                                                LA HABRA        CA    90631
MIKE GONZALES                       10502 ONEIDA AVE                                                                           PACOIMA         CA    91331‐3026
MIKE GONZALES                       420 W LINCOLN AVE                                                                          MADISON HTS     MI    48071‐3908
MIKE GREENE                         658 SHERWOOD RD                                                                            MITCHELL        IN    47446‐7349
MIKE GRIFFIN JR                     16 ELM CT                                                                                  SAINT PETERS    MO    63376‐1316
MIKE GRUBBS CHEVROLET CADILLAC      2701 1ST ST NW                                                                             MOULTRIE        GA    31768‐2601
MIKE GUADNO                         1455 FERRY AVE                                                                             NIAGARA FALLS   NY    14301‐2249
MIKE GUELLEC                        4135 BIG FISH LAKE RD                                                                      ORTONVILLE      MI    48462‐9522
MIKE HAGGERTY PONTIAC‐BUICK‐GMC TRU 9301 S CICERO AVE                                                                          OAK LAWN        IL    60453‐2517

MIKE HAGGERTY PONTIAC‐BUICK‐GMC      MICHAEL HAGGERTY                 9301 S CICERO AVE                                        OAK LAWN         IL   60453‐2517
TRUC
MIKE HAGGERTY PONTIAC‐BUICK‐GMC      MICHAEL HAGGERTY                 9301 S CICERO AVE                                        OAK LAWN         IL   60453‐2517
TRUCK, INC.
MIKE HAGGERTY PONTIAC‐BUICK‐GMC      9301 S CICERO AVE                                                                         OAK LAWN         IL   60453‐2517
TRUCK, INC.
MIKE HAKE                            16521 E GEORGE FRANKLIN DR                                                                INDEPENDENCE    MO    64055‐3814
MIKE HAKES                           1052 EATON GREEN DR                                                                       CHARLOTTE       MI    48813‐9381
MIKE HALE CHEVROLET, INC.            2190 RASMUSSEN RD                                                                         PARK CITY       UT    84098‐5424
MIKE HALE CHEVROLET, INC.            MICHAEL HALE                     2190 RASMUSSEN RD                                        PARK CITY       UT    84098‐5424
MIKE HALL CHEVROLET, INC.            DANIEL AGNEW                     8100 HIGHWAY 6 S                                         HOUSTON         TX    77083‐5701
MIKE HARD
MIKE HARTMAN                         719 HENDERSON ST                                                                          JOSHUA          TX 76058‐5708
MIKE HATZIS                          3841 BELLWOOD DR SE                                                                       WARREN          OH 44484‐2940
MIKE HELLACK CHEVROLET, INC.         MICHAEL HELLACK                  1630 E MAIN ST                                           DAVIS           OK 73030‐2969
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Name                                 Address1                             Address2                     Address3                 Address4         City               State Zip
MIKE HELLACK CHEVROLET, INC.         1630 E MAIN ST                                                                                              DAVIS               OK 73030‐2969
MIKE HENDRICKS
MIKE HENDRIX                         1080 SENECA RD                                                                                              LAKE ORION         MI    48362‐1349
MIKE HENIK                           2065 SQUIRREL RUN                                                                                           MINERAL RIDGE      OH    44440‐9032
MIKE HERILLA                         707 MARY ST                                                                                                 BENTLEYVILLE       PA    15314‐1016
MIKE HERRERA                         15211 SW 143RD ST                                                                                           MIAMI              FL    33196‐5681
MIKE HICHME                          700 EDGEWOOD DR                                                                                             ROCHESTER          MI    48306‐2632
MIKE HODGE                           2030 MAIN ST STE 1300                                                                                       IRVINE             CA    92614‐7220
MIKE HOFFMAN                         5252 BELSAY RD                                                                                              GRAND BLANC        MI    48439‐9123
MIKE HOLSTINE                        7322 LAWRENCE ST                                                                                            GRAND BLANC        MI    48439‐9341
MIKE HOOD AUTOMOTIVE                 1233 W RUSK ST                                                                                              JACKSONVILLE       TX    75766‐2186
MIKE HOOVER                          4225 OLD SALEM RD                                                                                           ENGLEWOOD          OH    45322‐2635
MIKE HOWELL                          BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.        OH    44236
MIKE HUFFMAN ENTERPRISES             4972 ELMORE DR                                                                                              CATAWBA            NC    28609‐8128
MIKE HUMMER                          BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.        OH    44236
MIKE HURLEY
MIKE HUSON                           284 SOUTHCREST PL                                                                                           SIMI VALLEY        CA 93065
MIKE I SCOTT                         309 EAST PIKE STREET                                                                                        SOUTH LEBANON      OH 45065‐1333
MIKE IBACH
MIKE J. LAHITA
MIKE JACOBI, U.S. ENVIRONMENTAL      1650 ARCH STREET                                                                                            PHILADELPHIA       PA 19103‐2029
PROTECTION AGENCY, REGION 3
MIKE JAMES                           2301STONEY RUN TRAIL, APT 1                                                                                 BROADVIEW HGTS     OH 44147‐2558
MIKE JEN
MIKE JOHNSON                         11861 SALERNO CT                                                                                            CARMEL              IN   46032‐4672
MIKE JOLICOEUR
MIKE JUNIER                          PO BOX 140                                                                                                  WILBURTON          OK    74578‐0140
MIKE JUSTICE                         9451 PHELPS RD                                                                                              CLAY               MI    48001‐4350
MIKE KARS INC                        940 OLD HARRISBURG RD                                                                                       GETTYSBURG         PA    17325‐8521
MIKE KATICH                          BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                             BOSTON HEIGHTS     OH    44236
MIKE KATTO                           2139 BRINSTON DR                                                                                            TROY               MI    48083‐2594
MIKE KELLER
MIKE KENNEDY                         10683 N 400 E                                                                                               ROANOKE            IN    46783‐9441
MIKE KILLMER                         45 PARKSIDE LN                                                                                              BAYONNE            NJ    07002‐1602
MIKE KING                            1501 S KING AVE                                                                                             HARRISONVILLE      MO    64701‐3328
MIKE KOVACICH                        835 SHADY LN NE                                                                                             WARREN             OH    44484‐1637
MIKE KROWN
MIKE KRZYZEWSKI C/O SFX SPORTS GROUP MIKE KRZYZEWSKI (COACH K)            5335 WISCONSIN AVENUE, NW                                              WASHINGTON         DC 20015

MIKE KRZYZEWSKI C/O SFX SPORTS GROUP MIKE KRZYZEWSKI C/O SFX SPORTS GROUP MIKE KRZYZEWSKI (COACH K)    5335 WISCONSIN AVENUE,                    WASHINGTON         DC 20015
                                                                                                       NW
MIKE KUCHAR                           6711 ROSEMARY ST                                                                                           DEARBORN HEIGHTS   MI    48127‐3972
MIKE KYWA                             BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.        OH    44236
MIKE L GRIFFIN JR                     16 ELM CT                                                                                                  SAINT PETERS       MO    63376‐1316
MIKE L SHERWOOD                       53 RINGGOLD STREET                                                                                         DAYTON             OH    45403
MIKE LANCINA
MIKE LAND                             8393 S CHRISTIAN DR                                                                                        NINEVEN            IN 46164‐5205
MIKE LANDIN                           BEVAN & ASSOCIATES, LPA, INC.       6555 DEAN MEMORIAL PARKWAY                                             BOSTON HTS.        OH 44236
MIKE LASSEN                           500 HENRY ST                                                                                               ELYRIA             OH 44035‐6524
MIKE LAWRENCE
MIKE LEE                              1000 SUTTER ST                                                                                             SAN FRANCISCO      CA 94109‐5818
MIKE LEE
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Name                                 Address1                        Address2                     Address3   Address4         City               State Zip
MIKE LESTER
MIKE LOPEZ                           6531 ALBANY ST                                                                           HUNTINGTON PK       CA 90255‐3604
MIKE LOPEZ                           1153 VALLEY VIEW DR                                                                      HURST               TX 76053‐4542
MIKE LU
MIKE LUKAS
MIKE LYONS
MIKE M MC KEIRNAN                    77 CHELTON LANE                                                                          OAKLAND             CA 94611‐2514
MIKE MADDEN                          4603 SE 12TH AVE                                                                         GOLDSBY             OK 73093‐9245
MIKE MAHONEY                         7254 SALZBRENNER LN                                                                      MACHESNEY PARK      IL 61115‐7608
MIKE MAIRA
MIKE MAJORS                          PO BOX 227                                                                               LAKE ORION         MI    48361‐0227
MIKE MARKOVANOVICH                   BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH    44236
MIKE MARSHALL                        42 LAKE VALHALLA                                                                         EAST STROUDSBURG   PA    18301‐8713
MIKE MARTINEZ                        3901 KENDALWOOD DR                                                                       LANSING            MI    48911‐2140
MIKE MARTINEZ                        1529 N FRIES AVE                                                                         WILMINGTON         CA    90744‐2035
MIKE MARTINEZ                        6320 N CENTER RD                                                                         SAGINAW            MI    48604‐9761
MIKE MATTERA                         5687 MARTIN RD                                                                           WARREN             MI    48092‐2634
MIKE MATTHEWS
MIKE MATTI                           5055 W HACIENDA AVE             UNIT 1196                                                LAS VEGAS          NV    89118‐1845
MIKE MAZOCK                          251 SOUTH HANOVER STREET                                                                 CARLISLE           PA    17013‐3905
MIKE MC ALLISTER                     304 WALLS FORD RD                                                                        SAINT CLAIR        MO    63077‐2225
MIKE MCBROOM                         28872 N OAK DR                                                                           WRIGHT CITY        MO    63390‐3097
MIKE MCBROOM                         24893 KAMMEYER RD                                                                        DEFIANCE           OH    43512‐9137
MIKE MCCANN JR                       1201 HIDDEN BROOK DR                                                                     HICKSVILLE         OH    43526‐9343
MIKE MCCAULEY                        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH    44236
MIKE MCCOMBS                         737 PARK AVE                                                                             NEWTON FALLS       OH    44444‐1066
MIKE MCDONALD                        50053 MIDDLE RIVER DR                                                                    MACOMB             MI    48044‐1208
MIKE MCELLHINEY
MIKE MCFEETERS                       1887 RIVERVIEW DR                                                                        DEFIANCE           OH 43512‐2565
MIKE MCGARRITY CHEVROLET, BUICK, P   1011 S MAIN ST                                                                           ANDREWS            TX 79714‐7601

MIKE MCGARRITY CHEVROLET, BUICK,     1011 S MAIN ST                                                                           ANDREWS             TX   79714‐7601
PONTIAC, GMC
MIKE MCGARRITY CHEVROLET, INC.       MICHAEL MCGARRITY               1011 S MAIN ST                                           ANDREWS             TX   79714‐7601
MIKE MCGINNIS
MIKE MCGRATH AUTO CENTER             4610 CENTER POINT RD NE                                                                  CEDAR RAPIDS       IA 52402‐2412
MIKE MCGUIRE                         200 TECHE DR                                                                             BOSSIER CITY       LA 71111‐6338
MIKE MCKARSKI                        BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS         OH 44236
MIKE MCLAUGHLIN
MIKE MCMILLION
MIKE MEDDLEY                         310 LIND AVE                                                                             SYRACUSE            NY 13211‐1824
MIKE MEEHAN                          3821 TRIORA ST                                                                           LAS VEGAS           NV 89129‐2711
MIKE MEHALKO                         1870 47TH AVE                                                                            VERO BEACH          FL 32966‐2236
MIKE MEHRINGER
MIKE MERCER                          137 MANCHESTER ST                                                                        CONCORD            NH    03301‐5118
MIKE MESSER                          1234 CAIRNS RD                                                                           MANSFIELD          OH    44903‐9093
MIKE MICHAELOU                       6040 N BELSAY RD                                                                         FLINT              MI    48506‐1246
MIKE MIHELIS                         BEVAN & ASSOCIATES LPA INC      6555 DEAN MEMORIAL PARKWAY                               BOSTON HEIGHTS     OH    44236
MIKE MILLER                          953 BONNIE BLUE LN                                                                       COLUMBIA           TN    38401‐6765
MIKE MILLER                          501 ROSEGARDEN DR NE                                                                     WARREN             OH    44484‐1832
MIKE MILLER                          5462 ERIC ST                                                                             ALLENDALE          MI    49401‐8309
MIKE MILLERING                       15361 GREEN OAK ST                                                                       GRAND HAVEN        MI    49417‐8857
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Name                                    Address1                         Address2                     Address3   Address4              City               State Zip
MIKE MILUTZKI                           BERLINER LAUDSTR. 265                                                    21465 WENDORF
MIKE MINTER SR                          135 LONGWOOD DR                                                                                JONESBORO          GA    30236‐5565
MIKE MISKOV                             C/O BEVAN & ASSOCIATES LPA INC   6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS         OH    44236
MIKE MITROFF                            703 N A ST                                                                                     ELWOOD             IN    46036‐1420
MIKE MOBLEY REPORTING                   334 S MAIN ST                                                                                  DAYTON             OH    45402‐2716
MIKE MOLSTEAD MOTORS, INC.              MICHAEL MOLSTEAD                 1501 S GRAND AVE                                              CHARLES CITY       IA    50616‐3671
MIKE MOLSTEAD MOTORS, INC.              1501 S GRAND AVE                                                                               CHARLES CITY       IA    50616‐3671
MIKE MONTEROSSO                         2201 LONDON AVE                                                                                LINCOLN PARK       MI    48146‐3467
MIKE MOONEY CHEVROLET, PONTIAC,         204 N 4TH ST                                                                                   DEKALB             IL    60115‐3306
GMC
MIKE MOONEY CHEVROLET, PONTIAC,         204 N 4TH ST                                                                                   DEKALB              IL   60115‐3306
GMC, CADILLAC, INC.
MIKE MOONEY CHEVROLET, PONTIAC,         MICHAEL MOONEY                   204 N 4TH ST                                                  DEKALB              IL   60115‐3306
GMC, CADILLAC, INC.
MIKE MOONEY, INC.                       MICHAEL MOONEY                   15624 US HIGHWAY 150                                          PARIS              IL    61944‐6000
MIKE MOONEY, INC.                       15624 US HIGHWAY 150                                                                           PARIS              IL    61944‐6000
MIKE MORA                               6513 W AVENUE L APT E                                                                          LANCASTER          CA    93536
MIKE MORR                               11360 TUPPER LAKE RD                                                                           GRAND LEDGE        MI    48837‐9508
MIKE MOTORS CO.                         908 E SHERIDAN ST                                                                              ELY                MN    55731‐1636
MIKE MOWDY CHEVROLET                    PO BOX 5061                                                                                    EDMOND             OK    73083‐5061
MIKE MROZINSKI                          8632 BROWN RD                                                                                  VERMONTVILLE       MI    49096‐9748
MIKE NELSON                             4722 ORA ST                                                                                    LANSING            MI    48910‐5357
MIKE NOONAN PONTIAC, INC.               MICHAEL NOONAN                   42111 VAN DYKE AVE                                            STERLING HEIGHTS   MI    48314‐3673
MIKE NOVASKY                            14529 OXFORD                                                                                   PLYMOUTH           MI    48170‐2672
MIKE NOWACZYNSKI                        17903 ROCCO DR                                                                                 MACOMB             MI    48044‐1651
MIKE O SHEA                             21613 ROSEDALE ST                                                                              ST CLAIR SHRS      MI    48080‐3558
MIKE ODALOVICH                          1575 NORTHBROOK DRIVE                                                                          ANN ARBOR          MI    48103‐6193
MIKE ORENDOCK                           216 ANGLE RD                                                                                   GRANTVILLE         PA    17028
MIKE ORTIZ                              12508 FAIRPORT ST                                                                              DETROIT            MI    48205‐3436
MIKE P MULLINS                          LOT 45 SHAWNEE PLAINS                                                                          CAMDEN             OH    45311‐1153
MIKE PALLONE CHEVROLET, LLC             MICHAEL PALLONE                  7722 BACKLICK RD                                              SPRINGFIELD        VA    22150‐2209
MIKE PALLONE CHEVROLET, LLC             7722 BACKLICK RD                                                                               SPRINGFIELD        VA    22150‐2209
MIKE PALOMA                             2454 LARGUIER LN                                                                               PORT ALLEN         LA    70767‐3244
MIKE PASTIVA                            808 N. THRID ST.                                                                               SAINT CLAIR        MI    48079
MIKE PATRICK                            7020 LEAF CIRCLE BOX 61                                                                        MOUNT MORRIS       MI    48458
MIKE PAULETTE                           6423 ROLLING HILLS DR                                                                          FORT WAYNE         IN    46804‐6353
MIKE PAVELSCHAK                         BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS         OH    44236
MIKE PAVLICKO                           44159 MANITOU DR                                                                               CLINTON TOWNSHIP   MI    48038‐4429
MIKE PAVLOVICH                          PO BOX 5292                                                                                    CHEBOYGAN          MI    49721‐5292
MIKE PEDDICORD                          BEVAN & ASSOCIATES, LPA INC      6555 DEAN MEMORIAL PARKWAY                                    BOSTON HTS         OH    44236
MIKE PEEHLER                            706 COURTHOUSE DR                                                                              MARTINSBURG        WV    25404‐3774
MIKE PELUSO                             90 N TAYLOR AVE                                                                                NORWALK            CT    06854‐1427
MIKE PERICA                             725 STANFORD CIR                                                                               ROCHESTER HLS      MI    48309‐2331
MIKE PERRY CADILLAC‐GMC, INC.           REX PERRY                        3916 NW STALLINGS DR                                          NACOGDOCHES        TX    75964‐1414
MIKE PERRY CHEVROLET, PONTIAC, BUIC     101 W MAIN ST                                                                                  SAN AUGUSTINE      TX    75972‐1916

MIKE PERRY CHEVROLET, PONTIAC, BUICK,   WILLIAM PERRY                    101 W MAIN ST                                                 SAN AUGUSTINE       TX   75972‐1916
INC.
MIKE PERRY CHEVROLET, PONTIAC, BUICK,   101 W MAIN ST                                                                                  SAN AUGUSTINE       TX   75972‐1916
INC.
MIKE PESANSKY                           4914 MAPLECREST AVE                                                                            PARMA              OH 44134‐3538
MIKE PETERS                             N8804 HIGHVIEW ROAD                                                                            IXONIA             WI 53036
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Name                                Address1                           Address2                     Address3   Address4                  City               State Zip
MIKE PETRICHUK SERVICE CENTRE       850 3RD AVE W                                                              MELVILLE SK S0A 2P0
                                                                                                               CANADA
MIKE PETTENGILL                     6915 ARBUTUS AVE                                                                                     HUNTINGTON PK       CA 90255‐5227
MIKE PIGOTT
MIKE PILAK                          172 FAIRMEADOW DR                                                                                    YOUNGSTOWN         OH 44515‐2217
MIKE PITZER                         9352 WINCHESTER AVE                                                                                  BUNKER HILL        WV 25413‐3388
MIKE PLAGGE
MIKE PLY 76                         3102 E THOUSAND OAKS BLVD                                                                            THOUSAND OAKS       CA 91362‐3403
MIKE PODANY                         82480 567 AVE                                                                                        CLARKSON            NE 68629‐3982
MIKE POLONSKI                       5 FISHERVILLE RD., SUITE 106                                               NORTH YORK, ON M2R 3B6,
                                                                                                               CANADA
MIKE POPE
MIKE PRELL                          8404 VASSAR RD                                                                                       MILLINGTON         MI    48746‐9437
MIKE PRENDIZ                        7625 POPPY LN                                                                                        FONTANA            CA    92336‐4237
MIKE PSIUK                          4020 RIVERVIEW DR                                                                                    BRIDGEPORT         MI    48722‐9704
MIKE PUERCO                         24 CANTORA                                                                                           FOOTHILL RANCH     CA    92610
MIKE R BALL                         2601 DELAVAN                                                                                         DAYTON             OH    45459
MIKE R MELLO                        191 W DEERWOOD LN                                                                                    TRACY              CA    95376
MIKE R SNYDER                       112 WEST JACKSON ST                                                                                  NEW CARLISLE       OH    45344‐1833
MIKE R VENTURI                      2750 15TH STREET                                                                                     SAN PABLO          CA    94806‐2328
MIKE RADOVANOVICH                   BEVAN & ASSOCIATES LPA INC         6555 DEAN MEMORIAL PARKWAY                                        BOSTON HTS         OH    44236
MIKE RAISOR PONTIAC, INC.           2912 MAIN ST                                                                                         LAFAYETTE          IN    47904‐3354
MIKE RAISOR PONTIAC, INC.           MICHAEL RAISOR                     2912 MAIN ST                                                      LAFAYETTE          IN    47904‐3354
MIKE RAPASARDI                      1221 18 1/2 RD                                                                                       FRUITA             CO    81521
MIKE RATKOVICH                      1048 OLD STATE ROAD 37 N                                                                             BEDFORD            IN    47421‐8074
MIKE RICHARDSON
MIKE ROBINSON
MIKE RODGERS
MIKE RODRIGUEZ                      169 DALEHURST DR                                                                                     SAN ANTONIO         TX 78201‐2202
MIKE RODRIGUEZ                      1802 CENTRAL AVE                                                                                     S EL MONTE          CA 91733‐3322
MIKE ROSEN
MIKE ROY AUTOMOTIVE INC             4476 PARK LN UNIT A                                                                                  WEST PALM BEACH    FL    33406
MIKE S KOVACICH                     835 SHADY LANE                                                                                       WARREN             OH    44484‐1637
MIKE S SIPE                         435 GRAFTON AVE.                                                                                     DAYTON             OH    45406
MIKE SALAZAR                        801 W COVINA BLVD SPC 17                                                                             SAN DIMAS          CA    91773‐2465
MIKE SANCHEZ                        15060 CUTLER DR                                                                                      LINDEN             MI    48451‐9064
MIKE SANDELLA                       4735 CEDAR AVE                                                                                       KANSAS CITY        MO    64133‐1824
MIKE SARNICOLA                      PO BOX 821                                                                                           WEED               CA    96094‐0821
MIKE SAVOIE CHEVROLET, INC.         MICHAEL SAVOIE                     1900 W MAPLE RD                                                   TROY               MI    48084‐7105
MIKE SAVOIE CHEVROLET, INC.         1900 W MAPLE RD                                                                                      TROY               MI    48084‐7105
MIKE SCHERMER
MIKE SCHRAMM
MIKE SCHWAIGER                      12678 ROAD G12                                                                                       OTTAWA             OH    45875‐9647
MIKE SHAMBO                         MICHAEL SHAMBO                     203 SILVER LAKE RD                                                AU SABLE FORKS     NY    12912
MIKE SHANNON AUTOMOTIVE,INC.        MICHAEL SHANNON                    321 N ROLLING MEADOWS DR                                          FOND DU LAC        WI    54937‐9726
MIKE SHAW BUICK‐GMC, INC.           MICHAEL SHAW                       1313 MOTOR CITY DR                                                COLORADO SPRINGS   CO    80905‐7316
MIKE SHAW BUICK‐PONTIAC‐GMC, INC.   1313 MOTOR CITY DR                                                                                   COLORADO SPRINGS   CO    80905‐7316

MIKE SHAW CHEVROLET                 1080 S COLORADO BLVD                                                                                 DENVER              CO   80246‐2404
MIKE SHAW SAAB                      1080 S COLORADO BLVD                                                                                 DENVER              CO   80246‐2404
MIKE SHAW SAAB                      SHAW, MICHAEL J                    1080 S COLORADO BLVD                                              DENVER              CO   80246‐2404
MIKE SHOUDEL                        0950 CR 60                                                                                           GARRETT             IN   46738
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Name                                 Address1                         Address2                      Address3          Address4         City            State Zip
MIKE SIMON
MIKE SIMPSON                         3416 BELFORD RD                                                                                   HOLLY           MI    48442‐9503
MIKE SIRAK                           14700 SLEEPY HOLLOW DRIVE                                                                         NOVELTY         OH    44072‐9695
MIKE SMITH                           918 BALDWIN ST                                                                                    ELYRIA          OH    44035‐7220
MIKE SMITH                           4234 E 100 N                                                                                      KOKOMO          IN    46901‐8321
MIKE SMITH                           7310 VILLAGE PARK DR                                                                              CLARKSTON       MI    48346‐1993
MIKE SMITH
MIKE SMITH AUTOPLEX INC              1855 I‐10 SOUTH                                                                                   BEAUMONT        TX    77701
MIKE SMITH BUICK PONTIAC GMC, INC.   6014 S TRANSIT RD                                                                                 LOCKPORT        NY    14094‐6308
MIKE SMITH BUICK PONTIAC GMC, INC.   KAREN SMITH                      6014 S TRANSIT RD                                                LOCKPORT        NY    14094‐6308
MIKE SOCHA                           2021 RIVERSIDE DR                                                                                 HUNTINGTON      IN    46750‐3555
MIKE SOSA                            1245 PARADISE RD                                                                                  MODESTO         CA    95351
MIKE SOTELO                          112 FEATHERSTONE ST                                                                               OXNARD          CA    93030‐5553
MIKE SOWELL                          14171 CAMBRIDGE LN                                                                                ATHENS          AL    35613‐8233
MIKE SREDICH                         3080 E FARRAND RD                                                                                 CLIO            MI    48420‐9119
MIKE STAFFORD                        HARRIS COUNTY ATTORNEY           1019 CONGRESS ST FL 15                                           HOUSTON         TX    77002‐1799
MIKE STAMPS                          44 WATERSVIEW DR                                                                                  JACKSON         MS    39212‐5630
MIKE STANIC JR                       16694 WHITEHEAD RD                                                                                LAGRANGE        OH    44050‐9583
MIKE STANICH                         2310 UMBEL ST                                                                                     MISSION         TX    78574‐7920
MIKE STEPHEN                         THE MADEKSHO LAW FIRM            8866 GULF FREEWAY STE 440                                        HOUSTON         TX    77017
MIKE STOLARCYK, INC.                 2898 NY ROUTE 11                                                                                  WHITNEY POINT   NY    13862
MIKE STOLARCYK, INC.                 EDWARD STOLARCYK                 2898 NY ROUTE 11                                                 WHITNEY POINT   NY    13862
MIKE STRUBE                          RANTULFSTRA▀E 19                 55294 BODENHEIM
MIKE SWANEY PONTIAC‐BUICK‐GMC        211 E AUGLAIZE ST                                                                                 WAPAKONETA      OH 45895‐1531
TRUCK
MIKE SWANEY PONTIAC‐BUICK‐GMC        MICHAEL SWANEY                   211 E AUGLAIZE ST                                                WAPAKONETA      OH 45895‐1531
TRUCK, INC.
MIKE SWANEY PONTIAC‐BUICK‐GMC        211 E AUGLAIZE ST                                                                                 WAPAKONETA      OH 45895‐1531
TRUCK, INC.
MIKE SZAGESH                         5720 PINKERTON RD                                                                                 VASSAR          MI    48768‐9668
MIKE SZIROVECZ                       637 STEKETEE AVENUE                                                                               HOLLAND         MI    49423‐6716
MIKE T DAMICO                        4360 ARROWROCK AVE.                                                                               DAYTON          OH    45424‐5004
MIKE T WILSON                        NIX PATTERSON & ROACH LLP        GM BANKRUPTCY DEPARTMENT      205 LINDA DRIVE                    DAINGERFIELD    TX    75638
MIKE TABOR                           8020 MYERSVILLE RD                                                                                MIDDLETOWN      MD    21769
MIKE TATE'S 99 TIRE AND AUTO         4940 HIGHWAY 90A                                                                                  SUGAR LAND      TX    77498‐2047
MIKE TESSMAN                         1080 KEWADIN DR                                                                                   WATERFORD       MI    48327‐3328
MIKE THOMAS                          2121 NORTH LOCKE STREET                                                                           KOKOMO          IN    46901‐1610
MIKE THOMPSON                        4920 W HOYT PLACE                                                                                 MILWAUKEE       WI    53216‐2331
MIKE THORNTON                        15015 JOHNS RD                                                                                    KEATCHIE        LA    71046‐3901
MIKE TIMPONE                         827 PRINCETON RD                                                                                  JANESVILLE      WI    53546‐1713
MIKE TOMPKINS                        BEVAN & ASSOCIATES LPA INC       6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS      OH    44236
MIKE TOWNSEND
MIKE TRACE                           11235 W HAFEMAN RD                                                                                ORFORDVILLE      WI   53576‐9676
MIKE TRUJILLO                        1304 SYCAMORE DR                                                                                  BURKBURNETT      TX   76354‐3137
MIKE UNIAK                           13418 W 56TH PL                                                                                   SHAWNEE          KS   66216‐4634
MIKE UTLEY                           THE MADEKSHO LAW FIRM            8866 GULF FREEWAY SUITE 440                                      HOUSTON          TX   77017
MIKE VALDEZ                          6502 BLACKBERRY DR                                                                                ARLINGTON        TX   76016‐5101
MIKE VAN CHEVROLET                   2427 S US HIGHWAY 31                                                                              BAY MINETTE      AL   36507‐8277
MIKE VAN CHEVROLET,INC.              MICHAEL VANDENHEUVEL             2427 S US HIGHWAY 31                                             BAY MINETTE      AL   36507‐8277
MIKE VARGA
MIKE VARHELYI                        412 RENDALE PL                                                                                    TROTWOOD        OH 45426‐2828
MIKE VECHELL                         337 DECOY LN                                                                                      LAPEER          MI 48446‐4139
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Name                                 Address1                         Address2            Address3         Address4                 City               State Zip
MIKE VELASCO                         265 EAST HOLLY STREET                                                                          RIALTO              CA 92376‐4315
MIKE VINSON AUTOMOTIVE               7123 E EARLL DR                                                                                SCOTTSDALE          AZ 85251‐6314
MIKE VIZMEG                          2903 BARLOW RD                                                                                 HUDSON              OH 44236‐4143
MIKE VOLK CO INC                     2880 PARK AVE W                                                                                MANSFIELD           OH 44906‐1026
MIKE VOLPE                           KJHKJHKLH                                                                                      ZURIGO
MIKE W MAZER                         12 LYONS STREET                                                                                SOUTH RIVER        NJ    08882‐2443
MIKE WAECHTER                        5990 S BELL CREEK RD                                                                           MUNCIE             IN    47302‐8899
MIKE WALKER                          478 W 550 N                                                                                    KOKOMO             IN    46901‐9185
MIKE WASHINGTON                      1379 POLO FIELDS LANE                                                                          COLUMBIA           TN    38401‐7360
MIKE WASSILCHALK                     906 GRAHAM ST.                                                                                 N DELLE VERNON     PA    15012
MIKE WATSON
MIKE WEAVER
MIKE WEBSTER                         4790 OAK ST APT 224                                                                            KANSAS CITY        MO 64112‐2221
MIKE WERNER
MIKE WEST                            296 LOUIE LN                                                                                   CANTON             GA 30115‐5727
MIKE WHEELER                         3825 W 300 N                                                                                   PERU               IN 46970‐7508
MIKE WILLARD AUTOMOTIVE              7901 CANOGA AVE STE H                                                                          CANOGA PARK        CA 91304‐5020
MIKE WILLIAMS
MIKE WILLIAMS                        PO BOX 667                                                                                     HARRISONVILLE      MO 64701‐0667
MIKE WILSON                          8000 N COUNTY ROAD 600 W                                                                       GASTON             IN 47342‐9339
MIKE WILSON CHEVROLET‐OLDSMOBILE     MIKE WILSON                      1000 EARLY DR                                                 WINCHESTER         KY 40391‐1406

MIKE WILSON CHEVROLET‐OLDSMOBILE     1000 EARLY DR                                                                                  WINCHESTER          KY   40391‐1406

MIKE WINGFIELD                       25222 VERMONT DR                                                                               NEWHALL            CA 91321‐2434
MIKE WINNERS
MIKE WISNIEWSKI                      4901 BURNHAM AVE                                                                               TOLEDO             OH 43612‐2440
MIKE WITHERSPOON                     ATTN: MIKE WITHERSPOON           4111 S DIXIE DR                                               MORAINE            OH 45439‐2103
MIKE WOJCIECHOWICZ
MIKE WRIGHT                          450 NORRIS RD                                                                                  BOWLING GREEN      KY 42101‐8024
MIKE YOUNG BUICK PONTIAC GMC, INC.   MICHAEL YOUNG                    312 N MAIN ST                                                 FRANKENMUTH        MI 48734‐1114

MIKE YOUNG BUICK PONTIAC GMC, INC.   312 N MAIN ST                                                                                  FRANKENMUTH        MI 48734‐1114

MIKE YOUNG CHEVROLET                 125 HWY 124                                                                                    WINNIE             TX    77665
MIKE ZELJEZNJAK                      18662 153RD ST                                                                                 BASEHOR            KS    66007‐5137
MIKE ZERVOS                          1808 WEST RICHARDSON PLACE                                                                     TAMPA              FL    33606‐3229
MIKE ZUZELSKI                        265 W HAZELHURST ST                                                                            FERNDALE           MI    48220‐1822
MIKE'S AUTO CARE                     2717 W MICHIGAN AVE                                                                            LANSING            MI    48917‐2971
MIKE'S AUTO REPAIR                   411 GOLD AVE                                                                                   COLUMBIA           MS    39429‐8718
MIKE'S AUTO REPAIR                   3902 W 45TH AVE                                                                                GARY               IN    46408‐3521
MIKE'S AUTO REPAIR                   452 1ST AVE W                                                                                  SHAKOPEE           MN    55379‐1206
MIKE'S AUTO REPAIR                   200 W JEFFERSON ST                                                                             FRANKLIN           IN    46131‐2108
MIKE'S AUTO SERVICE                  170 FULLER RD UNIT 8                                                  AJAX ON L1S 7G8 CANADA
MIKE'S AUTO SERVICE                  1499 GERALD ST.                                                       CORNWALL ON K6H 7G8
                                                                                                           CANADA
MIKE'S AUTO SERVICE                  2010 5TH AVE N                                                                                 MOORHEAD           MN    56560‐2322
MIKE'S AUTO SERVICE                  769 N MADISON ST                                                                               ROCKFORD           IL    61107‐3933
MIKE'S AUTO SERVICE                  2516 N STERLING AVE                                                                            PEORIA             IL    61604‐2250
MIKE'S AUTO SERVICE                  16882 GOTHARD ST                                                                               HUNTINGTON BEACH   CA    92647
MIKE'S AUTO TECH                     6844 W BELMONT AVE                                                                             GLENDALE           AZ    85303‐1709
MIKE'S AUTOMOTIVE                    3905 TOWSON AVE                                                                                FORT SMITH         AR    72901‐7537
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Name                                  Address1                           Address2              Address3       Address4                  City                State Zip
MIKE'S AUTOMOTIVE                     224 W 8TH ST                                                                                      GEORGETOWN           TX 78626‐5806
MIKE'S AUTOMOTIVE                     1150 SAINT LOUIS RD                                                                               COLLINSVILLE          IL 62234‐1910
MIKE'S AUTOMOTIVE                     549 W MAIN ST                                                                                     TILTON               NH 03276‐5014
MIKE'S AUTOMOTIVE                     1638 PLACENTIA AVE                                                                                COSTA MESA           CA 92627
MIKE'S AUTOMOTIVE                     10921 VALLEY AVE E                                                                                PUYALLUP             WA 98372‐2550
MIKE'S AUTOMOTIVE PERFECTION          5301 LONGLEY LN # F‐214                                                                           RENO                 NV 89511
MIKE'S AUTOMOTIVE SERVICE             48 KING ST                                                              DELHI ON N4B 1X4 CANADA
MIKE'S AUTOMOTIVE SERVICES            1 UNION SQ                                                                                        SOMERVILLE          MA   02143‐3029
MIKE'S BARBER SHOP                    ATTN: MICHAEL CLARK                11728 N SAGINAW ST                                             MT MORRIS           MI   48458‐2023
MIKE'S BODY & FRAME, INC              219 N OAK AVE                                                                                     AMES                IA   50010‐3352
MIKE'S BUICK PONTIAC GMC              7550 E WASHINGTON ST                                                                              INDIANAPOLIS        IN   46219‐6730
MIKE'S BUMPING & PAINTING             ATTN: MARK BODRIE                  2114 S MICHIGAN AVE                                            SAGINAW             MI   48602‐1233
MIKE'S CATERING REPAIR                ATTN: MIKE OLSON                   1539 ECORSE RD                                                 YPSILANTI           MI   48198‐6071
MIKE'S CUSTOM PERFORMANCE PARTS       876 CAPE CORAL PKWY E                                                                             CAPE CORAL          FL   33904‐9081
MIKE'S DOWNTOWN GARAGE                400 S FLORES ST                                                                                   SAN ANTONIO         TX   78204‐1108
MIKE'S FAMOUS HAM PLACE               ATTN: SADIK MUFTARI                3700 MICHIGAN AVE                                              DETROIT             MI   48216‐1010
MIKE'S GMC TRUCK SALES AND SERVICE,   124 1ST ST E                                                                                      ROUNDUP             MT   59072‐2933
INC.
MIKE'S KAR KARE                       3120 WOODMAN DR STE B                                                                             KETTERING           OH   45420‐1179
MIKE'S MAINTANCE AND REPAIR           1149 FAIRFIELD AVE                                                                                BROOKVILLE          IN   47012‐1060
MIKE'S MARATHON INC.                  5075 LEE RD                                                                                       MAPLE HEIGHTS       OH   44137‐1227
MIKE'S MARATHON INC.                  5075 LEE RD                                                                                       MAPLE HEIGHTS       OH   44137‐1227
MIKE'S PLACE                          17 KING ST W                                                            OSHAWA ON L1H 1A1
                                                                                                              CANADA
MIKE'S PLUM STREET AUTOMOTIVE          1100 PLUM ST SE                                                                                  OLYMPIA             WA   98501‐2401
MIKE'S REPAIR                          531 W SOUTH ST                                                                                   OWOSSO              MI   48867‐8905
MIKE'S REPAIR                          17 FRANKLIN AVE NE                                                                               SAINT CLOUD         MN   56304‐0522
MIKE'S REPAIR & SERVICE, L.L.C.        16205 232ND AVE NE                                                                               WOODINVILLE         WA   98077‐7410
MIKE'S REPAIR, INC.                    1829 HIGHWAY 81 S                                                                                GRAFTON             ND   58237‐2053
MIKE'S RIVERSIDE AUTO                  431 DOVER RD                                                                                     TOMS RIVER          NJ   08757‐5238
MIKE'S SERVICE CENTER                  1698 MAIN ST                                                                                     GREEN BAY           WI   54302‐2635
MIKE'S SERVICE CENTRE/495773 ONT. LTD. 252 BROADWAY                                                           ORANGEVILLE ON L9W 1K7
                                                                                                              CANADA
MIKE'S SERVICE GARAGE                 884 7TH ST NW                                                                                     SIOUX CENTER        IA   51250‐1944
MIKE'S SERVICE STATION INC.           1890 S TAYLOR RD                                                                                  CLEVELAND HEIGHTS   OH   44118‐2175
MIKE'S ULTRA SERVICE CENTER           8901 RIDGE AVE                                                                                    PHILADELPHIA        PA   19128‐2028
MIKE, ADAM T                          324 GREEN VIEW CT                                                                                 PLYMOUTH MEETING    PA   19462‐2581
MIKE, BENNY L                         5525 CULVER ST                                                                                    INDIANAPOLIS        IN   46226‐4714
MIKE, CHRISTOPHER                     221 POTLICKER RD                                                                                  STERLINGTON         LA   71280‐2973
MIKE, CHRISTOPHER K                   160 POTLICKER RD                                                                                  STERLINGTON         LA   71280‐2970
MIKE, JANICE A                        6213 SUNSET DR                                                                                    BEDFORD HTS         OH   44146‐3161
MIKE, JR, WALTER D                    S70 W12950 FLINTLOCK TRL                                                                          MUSKEGO             WI   53150
MIKE, JR,WALTER D                     S70W12950 FLINTLOCK TRL                                                                           MUSKEGO             WI   53150‐3427
MIKE, LEROY                           2711 ERLENE DR APT 804                                                                            CINCINNATI          OH   45238‐2844
MIKE, MARIE                           3552 DECAMP DR                                                                                    INDIANAPOLIS        IN   46226‐7016
MIKE, MINNIE                          HC 58 BOX 70                                                                                      GANADO              AZ   86505
MIKE`S AUTO PARTS & ACCESSORIES       MICHAEL HOLZMILLER                 100 ILLINOIS AVE S                                             MANSFIELD           OH   44905‐2866
MIKEFELL ROY                          MIKEFELL, ROY                      329 NORTH FORWARD                                              WINFIELD            KS   67156
MIKEK, ANN S                          617 JAMES CIR                                                                                     ROYAL OAK           MI   48067‐4542
MIKEK, JOSEPH                         11489 E MONROE RD                                                                                 MERRILL             MI   48637‐9621
MIKEK, THOMAS J                       17638 GRATIOT RD                                                                                  HEMLOCK             MI   48626‐9675
MIKEK, VALDA J.                       635 30TH AVE W #314 F                                                                             BRADENTON           FL   34205‐8936
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Name                       Address1                               Address2           Address3    Address4         City              State Zip
MIKEL ALICIA               PO BOX 93                                                                              BRIMLEY            MI 49715‐0093
MIKEL ARNOLD               4952 N CHATHAM DR                                                                      BLOOMINGTON        IN 47404‐1340
MIKEL GAREY                1063 STONEHENGE RD                                                                     FLINT              MI 48532‐3222
MIKEL JOHNSON              1309 KIMBERLY DR SE                                                                    GRAND RAPIDS       MI 49508‐8944
MIKEL KING                 29790 LONE STAR RD                                                                     PAOLA              KS 66071‐4487
MIKEL LAUBER               3404 TAPPE DR.                                                                         SCHOFIELD          WI 54476
MIKEL LIENHART             540 FROST RD                                                                           WILLIAMSTON        MI 48895‐9724
MIKEL MOORE, VALERIE K     10350 HADLEY RD                                                                        CLARKSTON          MI 48348‐1920
MIKEL SALES INC            ATTN: MIKE RUBENSTEIN                  508 MITCHELL AVE                                SYRACUSE           NY 13208‐1431
MIKEL SKRIPNIK             2837 ORCHARD DR                                                                        PALM HARBOR        FL 34684‐1754
MIKEL SMITH                214 E NORTH E ST                                                                       GAS CITY           IN 46933‐1125
MIKEL THORNBURG            8310 W BUTTERNUT RD                                                                    MUNCIE             IN 47304‐9794
MIKEL, ALAN R              2997 GAYLA DR                                                                          BLANCHARD          OK 73010‐9796
MIKEL, CHARLES J           11090 S COUNTY ROAD 800 W                                                              DALEVILLE          IN 47334‐9711
MIKEL, ELMA                155 E LONGS CAMP RD                                                                    KARNACK            TX 75661‐1501
MIKEL, HERSHEL R           1602 EDGEWOOD CIR                                                                      PARAGOULD          AR 72450‐5551
MIKEL, JAMES L             1910 WELLESLEY BLVD APT 110                                                            INDIANAPOLIS       IN 46219‐8401
MIKEL, KENNETH             26 OAK LN                                                                              HODGKINS            IL 60525‐4143
MIKEL, LOIS A              49 DEMETER DR APT E                                                                    ROCHESTER          NY 14626‐2518
MIKEL, LOIS A              49E DEMETER DR                                                                         ROCHESTER          NY 14626‐2518
MIKEL, LORA L              2805 BLACKBURN RD SE                                                                   CLEVELAND          TN 37323
MIKEL, MARTHA              794 DEER LAKE TRL                                                                      STONE MTN          GA 30087‐5463
MIKEL, MARY E              5998 STERLING CT.                                                                      TIPP CITY          OH 45371‐2234
MIKEL, MARY KAY            202 W PEARL ST                                                                         PARAGOULD          AR 72450‐5717
MIKEL, PATSY MAE           212 W 7TH ST ‐ TILTON                                                                  DANVILLE            IL 61833
MIKEL, PAULINE             3203 REED RD                                                                           TUNNEL HILL        GA 30755‐9264
MIKEL, ROBERT L            2415 W SPRINGFIELD RD                                                                  SAINT CLAIR        MO 63077‐4413
MIKEL, SYLVIA              2105 S JEFFERSON ST                                                                    MUNCIE             IN 47302‐4038
MIKEL, SYLVIA              2105 S. JEFFERSON ST.                                                                  MUNCIE             IN 47302
MIKEL, TOMMIE              37 HONEYSUCKLE LN                                                                      ANDREWS            SC 29510‐5116
MIKEL, WINFORD G           3203 REED RD                                                                           TUNNEL HILL        GA 30755‐9264
MIKELL SCHNECKENBERGER     13828 LAWSON RD                                                                        GRAND LEDGE        MI 48837‐9757
MIKELL, ARMOND             GUY WILLIAM S                          PO BOX 509                                      MCCOMB             MS 39649‐0509
MIKELL, CHARLES            COLOM LAW FIRM                         605 2ND AVE N                                   COLUMBUS           MS 39701‐4513
MIKELL, EDWARD             1950 BIRDS NEST RD                                                                     WADMALAW ISLAND    SC 29487‐7002
MIKELL, ROOSEVELT          2073 BIRDS NEST RD                                                                     WADMALAW ISLAND    SC 29487‐7076
MIKELL, TOMMIE L           5631 SPRING VALLEY RD                  APT 298                                         DALLAS             TX 75254
MIKELS, BETTY L            6101 PROMENADE CT                                                                      INDIANAPOLIS       IN 46224‐1292
MIKELS, C M                2237 MOUNT PLEASANT RD                                                                 BEDFORD            IN 47421‐8038
MIKELS, C MICHELLE         2237 MOUNT PLEASANT RD                                                                 BEDFORD            IN 47421‐8038
MIKELS, DAVID W            43611 WESTRIDGE LN                                                                     NORTHVILLE         MI 48167‐9785
MIKELS, ELEANOR A          424 OAK ORCHARD ESTATES                                                                ALBION             NY 14411‐1037
MIKELS, INC.               207 WEAVER RD                                                                          BLOOMFIELD          IA 52537‐1267
MIKELS, INC.               RUSSELL MIKELS                         207 WEAVER RD                                   BLOOMFIELD          IA 52537‐1267
MIKELS, JOHN S             1 CROSS LN                                                                             HILTON             NY 14468‐1603
MIKELS, JUDITH E           1500 E PUSCH WILDERNESS DR UNIT 4108                                                   TUCSON             AZ 85737

MIKELS, JUDITH E           3660 E 3RD ST                          APT C39                                         TUCSON            AZ   85716
MIKELS, KENNETH E          2303 W SPRINGLANE ST                                                                   SPRINGFIELD       MO   65807‐8617
MIKELSON, DORIS J          200 TOWNEPARK DR APT B                                                                 KINGSLAND         TX   78639
MIKEN CARTAGE INC          9600 W 47TH ST                                                                         MC COOK           IL   60525
MIKES COMPLETE AUTO CARE   1174 RICE ST                                                                           SAINT PAUL        MN   55117‐4903
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Name                        Address1                            Address2                        Address3   Address4         City              State Zip
MIKES FAITH                 MILKES, FAITH                       200 E WATER ST                                              ROCKLAND           MA 02370‐1830
MIKES LAWN MOWER REPAIR     ATTN: MIKE BURNS                    112 W LORDEMAN ST                                           KOKOMO             IN 46901‐2236
MIKES PUMP SERVICES INC     6473 23 MILE RD                                                                                 SHELBY TOWNSHIP    MI 48316‐4400
MIKES WELDING               5589 US 35 EAST                                                                                 JAMESTOWN          OH 45335
MIKES WRECKER SERVICE INC   2850 BAY RD                                                                                     SAGINAW            MI 48603‐3311
MIKES, JACQUELINE           2129 ELM ST UNIT 203                                                                            DUNEDIN            FL 34698‐5658
MIKES, JACQUELINE           2129 ELM ST APT 203                                                                             DUNEDIN            FL 34698‐5658
MIKESEL, STEPHEN G
MIKESELL JEFF               8195 STARRY NIGHT DR                                                                            GERMANTOWN        OH   45327‐8713
MIKESELL JOHN R (663911)    WISE & JULIAN                       156 N MAIN ST STOP 1                                        EDWARDSVILLE      IL   62025‐1972
MIKESELL JR, EDWARD D       3208 NEW LAKE RD.                                                                               SPRING CITY       TN   37381‐7381
MIKESELL, ASAKO             217 N. CATHERINE ST.                                                                            ITHACA            MI   48847‐1632
MIKESELL, ASAKO             217 N CATHERINE ST                                                                              ITHACA            MI   48847‐1632
MIKESELL, CAROLYN K         4030 IOLA AVE                                                                                   PUNTA GORDA       FL   33982
MIKESELL, CHRISTINA         5871 WARNER SPRINGS DR                                                                          WESTERVILLE       OH   43081‐8697
MIKESELL, CHRISTINE L       1807 TORQUAY AVE                                                                                ROYAL OAK         MI   48073‐1222
MIKESELL, DALE W            PO BOX 56                                                                                       HEMLOCK           MI   48626‐0056
MIKESELL, DAVID L           3462 E 450 N                                                                                    MARION            IN   46952‐9072
MIKESELL, DONALD E          4132 MEADOWCROFT RD                                                                             KETTERING         OH   45429‐5028
MIKESELL, DOROTHEA G        112 HAVERHILL DR                                                                                ANDERSON          IN   46013‐4226
MIKESELL, DOUGLAS J         C/O GOLDENBERG HELLER ANTOGNOLI &   2227 S STATE ROUTE 157                                      EDWARDSVILLE      IL   62025
                            ROWLAND PC
MIKESELL, GLORIA M          525 MC KINLEY RD                                                                                FLUSHING          MI   48433
MIKESELL, GLORIA M          525 N MCKINLEY RD                                                                               FLUSHING          MI   48433‐1352
MIKESELL, HENRY C           2029 W 11TH ST                                                                                  MARION            IN   46953‐1246
MIKESELL, JAMES E           1192 HOWARD DR                                                                                  GREENVILLE        OH   45331‐2644
MIKESELL, JOHN R            WISE & JULIAN                       156 N MAIN ST STOP 1                                        EDWARDSVILLE      IL   62025‐1972
MIKESELL, JOHN W            513 N MCKINLEY RD                                                                               FLUSHING          MI   48433‐1352
MIKESELL, JOHN WILFRED      513 N MCKINLEY RD                                                                               FLUSHING          MI   48433‐1352
MIKESELL, JOSEPHINE         2011 N JAY ST                                                                                   KOKOMO            IN   46901‐2462
MIKESELL, KEITH A           325 N EMERSON AVE                                                                               INDIANAPOLIS      IN   46219‐5601
MIKESELL, KELLY S           15319 HENDRICKS ST                                                                              LOWELL            IN   46356‐1585
MIKESELL, LLOYD M           112 HAVERHILL DRIVE                                                                             ANDERSON          IN   46013
MIKESELL, PALALU            369 SEPTEMBER FALLS DR                                                                          REEDS SPRING      MO   65737‐7426
MIKESELL, RICHARD C         11921 BROADBENT RD                                                                              LANSING           MI   48917‐9697
MIKESELL, RICHARD L         161 STOVER RD                                                                                   WEST ALEXANDRIA   OH   45381‐9390
MIKESELL, ROBERT W          5708 OZIAS RD                                                                                   EATON             OH   45320‐9716
MIKESELL, RODNEY L          3260 MILLS ACRES ST                                                                             FLINT             MI   48506‐2131
MIKESELL, RONALD T          5868 OZIAS RD                                                                                   EATON             OH   45320‐9716
MIKESELL, ROY               329 N SOWARD ST                                                                                 WINFIELD          KS   67156‐1915
MIKESELL, SCOTT E           8465 TANAGER LANE                                                                               STREETSBORO       OH   44241‐5905
MIKESELL, STEVEN
MIKESELL, TIMOTHY J         2520 N ROYSTON RD                                                                               CHARLOTTE         MI   48813‐9323
MIKESELL, TOMMY L           1901 S UNTER RD                                                                                 YORKTOWN          IN   47396
MIKESH, KAREN               525 REVERE AVE                                                                                  WESTMONT          IL   60559‐1250
MIKESKA FRANK (446360)      BEVAN & ASSOCIATES                  10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD        OH   44067
                                                                PROFESSIONAL BLDG
MIKESKA, RAYMOND J          3100 WESTADOR CT                                                                                ARLINGTON         TX   76015‐2337
MIKETA, CHERYL M            540 SANTA MONICA DR.                                                                            YOUNGSTOWN        OH   44505‐1142
MIKETA, KURTIS C            466 BONNIE BRAE AVE                                                                             NILES             OH   44446‐3850
MIKETA, ROBERT P            540 SANTA MONICA DR                                                                             YOUNGSTOWN        OH   44505‐1142
MIKETO, EDWARD J            13186 ROSEWOOD LN                                                                               STRONGSVILLE      OH   44136‐2700
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Name                             Address1                         Address2                Address3     Address4             City               State Zip
MIKEWORTH, ROGER L               1731 BEECHCROFT ST                                                                         KEEGO HARBOR        MI 48320‐1108
MIKHAEIL‐BOULES, NAILA D         2055 PONDWAY DR                                                                            TROY                MI 48098‐4193
MIKHAIL BENFELD                  2 GODWIN AVE                                                                               FAIR LAWN           NJ 07410
MIKHAIL, SAAD I                  1442 KENSINGTON DR                                                                         DAYTON              OH 45440‐4043
MIKHAIL, YOUSSEF M               12702 WINDSOR CT                                                                           STERLING HTS        MI 48313‐4173
MIKI HALL                        1838 N NIXON AVE                                                                           SPRINGFIELD         MO 65802‐1240
MIKI HENSON                      101 GRIGSBY ST                                                                             NEWCASTLE           OK 73065‐5906
MIKIC, BRANKO                    77 ARCHER RD                                                                               ROCHESTER           NY 14624‐4625
MIKIE KIRBY                      24 FOREST HOME DR                                                                          TRINITY             AL 35673‐6403
MIKIJANIS, PHILIP B              3747 N 124TH ST                                                                            KANSAS CITY         KS 66109‐4242
MIKIS, MICHAEL A                 1421 GRANT AVE                                                                             MELROSE PARK         IL 60160‐2326
MIKISHKO, MICHAEL                259 PADDOCK AVE                                                                            MERIDEN             CT 06450‐6943
MIKISHKO, STACIA S               259 PADDOCK AVE                                                                            MERIDEN             CT 06450‐6943
MIKITA RAINEY                    2717 MACKIN RD                                                                             FLINT               MI 48504‐3389
MIKITA, CAROL A                  323 ELIZABETH                                                                              HUBBARD             OH 44425‐1103
MIKITA, CAROL A                  323 ELIZABETH ST                                                                           HUBBARD             OH 44425‐1103
MIKITA, DENNIS M                 10255 PINE ISLAND DR                                                                       SPARTA              MI 49345‐9332
MIKITA, PETER J                  3410 OVERLOOK AVE SE                                                                       WARREN              OH 44484‐3640
MIKITS, NORMA J                  965 N 1200 E                                                                               LEHI                UT 84043‐1451
MIKITS, STUART W                 5680 GASKILL BRANCH RD                                                                     SANTA FE            TN 38482‐3046
MIKKELSEN'S AUTO ELECTRIC LTD.   4720A 1 ST SE                                                         CALGARY AB T2G 2L3
                                                                                                       CANADA
MIKKELSEN, BRENT C               3414 SPRUCE ST                                                                             JANESVILLE         WI   53546‐1112
MIKKELSEN, KRISTINE A            3414 SPRUCE ST                                                                             JANESVILLE         WI   53546‐1112
MIKKELSEN, LINDA B               PO BOX 11507                                                                               COSTA MESA         CA   92627‐0507
MIKKELSEN, PAUL A                901 BROAD STREET                                                                           FLORENCE           NJ   08518‐2813
MIKKELSON, KATRINA M             931 BLAINE AVE                                                                             JANESVILLE         WI   53545‐1735
MIKKELSON, KEITH G               47803 MEADOWBROOK DR                                                                       MACOMB             MI   48044‐5116
MIKKELSON, MAXINE A              700 19TH AVE SE                                                                            MINOT              ND   58701‐6723
MIKKELSON, RONALD A              156 E HICKORY LN                                                                           INDIANAPOLIS       IN   46227‐2498
MIKKELSON, ROXANNE L             13649 ELKWOOD DR                                                                           APPLE VALLEY       MN   55124‐8773
MIKKI BAHL                       753 HORMELL RD                                                                             WILMINGTON         OH   45177‐6517
MIKKI U BAHL                     753 HORMEL RD                                                                              WILMINGTON         OH   45177‐6517
MIKKO NUUTTILA
MIKKOLA, CATHERINE K             4 WHITNEY ST                                                                               NORTH GRAFTON      MA   01536‐2029
MIKKOLA, GEORGE W                3503 DELAWARE DR                                                                           TROY               MI   48084‐1606
MIKKOLA, KEITH C                 9740 ECKLES RD                                                                             LIVONIA            MI   48150‐2413
MIKKOLA, KENNETH S               10451 OAK GROVE RD                                                                         HOWELL             MI   48855‐8315
MIKKOLA, MARGARET D              1181 WITHINGTON ST                                                                         FERNDALE           MI   48220‐1253
MIKKOLA, PAUL H                  99 POWDER HILL RD                                                                          BEDFORD            NH   03110‐4845
MIKKOLA, PAUL W                  115 TANGLEWOOD DR                                                                          SHARPSVILLE        IN   46068
MIKLA, JOHN G                    138 MEADOWBROOK DR                                                                         NORTH PLAINFIELD   NJ   07062‐2426
MIKLAS, MARY ANN                 831 AUBURN HILLS DR UNIT B                                                                 BOARDMAN           OH   44512‐7719
MIKLAS, MARY ANN                 831 B AUBURN HILLS DR.                                                                     BOARDMAN           OH   44512‐7719
MIKLASKI, HENRY J                8622 CAVELL ST                                                                             WESTLAND           MI   48185‐1885
MIKLAZEWSKI ED                   MIKLAZEWSKI, ED                  4 CHIMNEY SWIFT DRIVE                                     SANDY HOOK         CT   06482
MIKLAZEWSKI, ED                  4 CHIMMNEY SWIFT DR                                                                        SANDY HOOK         CT   06482‐1212
MIKLE CURTIS                     1517 OLIVESBURG RD                                                                         MANSFIELD          OH   44905‐1346
MIKLE SR, DONALD E               12185 SPRINKLE RD                                                                          VICKSBURG          MI   49097‐8469
MIKLEJN, CLAUDIA                 3003 MACKLEM AVE                                                                           NIAGARA FALLS      NY   14305‐1831
MIKLER, EDWARD A                 270 BUFFALO RD APT 3                                                                       EAST AURORA        NY   14052‐1366
MIKLER, FRANK R                  11 ASHWOOD CT                                                                              LANCASTER          NY   14086‐9490
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Name                                 Address1                             Address2                           Address3     Address4                 City                 State Zip
MIKLES III, TOM A                    8508 N BRYAN RD                                                                                               SHAWNEE               OK 74804‐9531
MIKLES, ARTHUR A                     ST 756 BOX 2773                                                                                               MOSCOW                OH 45153
MIKLES, RAY E                        7031 UNION SCHOOLHOUSE RD                                                                                     DAYTON                OH 45424‐5206
MIKLEWICZ, JEAN A                    4 DARRYL DR                                                                                                   MORGANVILLE           NJ 07751‐9720
MIKLEWICZ, JEAN A                    4 DARRYL COURT                                                                                                MORGANVILLE           NJ 07751
MIKLO, SOPHIE J                      792 N RIVER RD                                                                                                GREENVILLE            PA 16125‐8332
MIKLOICHE, ANDREW                    68816 APPLEVIEW DR                                                                                            WASHINGTON            MI 48095‐1326
MIKLOS GONZALEZ                      14855 CAMPUS PARK DR UNIT B                                                                                   MOORPARK              CA 93021‐1434
MIKLOS JAMES (453993)                BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD            OH 44067
                                                                          PROFESSIONAL BLDG
MIKLOS KISS                          12 TROPICANA CT                                                                                               TOMS RIVER           NJ   08757‐6445
MIKLOS KULHA                         44571 PATRICIA DR                                                                                             STERLING HEIGHTS     MI   48314‐1586
MIKLOS L KISS                        12 TROPICANA CT                                                                                               TOMS RIVER           NJ   08757‐6445
MIKLOS MOLNAR                        5681 HARBORAGE DR                                                                                             FORT MYERS           FL   33908‐4531
MIKLOS ROBERT (ESTATE OF) (501725)   LIPMAN DAVID M                       5901 SW 74TH ST STE 304                                                  MIAMI                FL   33143‐5163
MIKLOS VARI                          415 WALNUT AVE                                                                                                CRANFORD             NJ   07016‐2966
MIKLOS VASTAGH                       324 PURITAN RD                                                                                                TONAWANDA            NY   14150‐7024
MIKLOS VINCZE                        548 LYMAN AVE                                                                                                 WOODBRIDGE           NJ   07095‐2312
MIKLOS, GUY R                        84 MONMOUTH DR                                                                                                CRANBERRY TOWNSHIP   PA   16066‐5752
MIKLOS, JAMES                        BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD, BEVAN                                             NORTHFIELD           OH   44067
                                                                          PROFESSIONAL BLDG
MIKLOS, JOSEPH                       205 CABOT AVENUE                                                                                              EDISON               NJ   08837‐2839
MIKLOS, JOSEPH                       205 CABOT AVE                                                                                                 EDISON               NJ   08837‐2839
MIKLOS, JUDITH G                     6800 PHILLIPS‐RICE RD.                                                                                        CORTLAND             OH   44410‐9679
MIKLOS, JUDITH G                     6800 PHILLIPS RICE RD                                                                                         CORTLAND             OH   44410‐9679
MIKLOS, MARCELLA E                   1560 HAWTHORNE ST                                                                                             TRENTON              MI   48183‐1818
MIKLOS, PAUL G                       8488 BLUEBIRD DR                                                                                              WEST CHESTER         OH   45069‐3470
MIKLOS, REGINA L                     72 ASHFORD DR                                                                                                 CRANBERRY TWP        PA   16066‐7401
MIKLOS, ROBERT                       LIPMAN DAVID M                       5901 SW 74TH ST STE 304                                                  MIAMI                FL   33143‐5163
MIKLOS, ROBERT                       C/O THE LIPMAN LAW FIRM              5915 PONCE DE LEON BLVD            SUITE 44                              CORAL GABLES         FL   33146
MIKLOS, SUZANNE M                    2871 ASPEN LN                                                                                                 BLOOMFIELD HILLS     MI   48302‐1014
MIKLOSKO DAN                         2155 COAST AVENUE                                                                                             SAN MARCOS           CA   92078‐8402
MIKLOSOVIC JOSEPH                    MIKLOSOVIC, JOSEPH                   33900 WEST 8 MILE ROAD SUITE 149                                         FARMINGTON HILLS     MI   48335

MIKLOSOVIC, JOSEPH R                 911 FLEETWOOD DR                                                                                              SAGINAW              MI   48604‐2100
MIKLOSOVIC, JOSEPH ROBERT            911 FLEETWOOD DR                                                                                              SAGINAW              MI   48604‐2100
MIKLOVIC, MARY                       3939 DALE RD                                                                                                  SAGINAW              MI   48603
MIKLOVIC, RANDALL L                  3939 DALE RD                                                                                                  SAGINAW              MI   48603‐3135
MIKLOVICH JR, LEONARD J              1800 FISH LAKE RD                                                                                             LAPEER               MI   48446‐8345
MIKLOWSKI, GENEVIEVE S               5700 PERKINS RD APT 125                                                                                       BEDFORD HEIGHTS      OH   44146‐2574
MIKLUS, JOHN                         21019 LAURELWOOD ST                                                                                           FARMINGTON           MI   48336‐5053
MIKLUS,JOHN                          21019 LAURELWOOD ST                                                                                           FARMINGTON           MI   48336‐5053
MIKLUSICAK, ANNE L                   695 133RD AVE                                                                                                 WAYLAND              MI   49348‐9109
MIKLUSICAK, DANIEL J                 PO BOX 274                                                                                                    DORR                 MI   49323‐0274
MIKO HONE MACHINE CO INC             2424 SUPREME CT                                                                                               GOSHEN               IN   46528‐7560
MIKO SRL                             VIA RESSEL                                                                           GORIZIA 34170 ITALY
MIKO SRL                             VIA RESSEL 3 34170                                                                   GORIZIA ITALY
MIKO SRL                             JEANNETTE LANGLOIS                   17515 WEST NINE MILE ROAD          12TH FLOOR                            SOUTHFIELD           MI 48075
MIKO SRL                             VIA GIUSEPPE RESSEL 3                                                                GORIZIA IT 34170 ITALY
MIKO SRL                             17515 9 MILE RD 12TH FL                                                                                       SOUTHFIELD           MI 48075
MIKO SRL JEANNETTE LANGLOIS          ATTN: CORPORATE OFFICER/AUTHORIZED   17515 WEST NINE MILE ROAD          12TH FLOOR                            SOUTHFIELD           MI 48075
                                     AGENT
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Name                            Address1                          Address2           Address3      Address4         City               State Zip
MIKO, DEBORAH J                 2039 SHERWOOD FOREST DR                                                             MIAMISBURG          OH 45342‐6200
MIKO, DOROTHY                   1923 E JOYCE BLVD                                                                   FAYETTEVILLE        AR 72703
MIKO, JOHN A                    2039 SHERWOOD FOREST DR                                                             MIAMISBURG          OH 45342‐6200
MIKO, JOHN J                    23475 MICHELE CT                                                                    CLINTON TWP         MI 48036‐2925
MIKO, MARY V                    39785 MOUNT ELLIOTT DR                                                              CLINTON TOWNSHIP    MI 48038‐4041
MIKO, WILLIAM                   221 PASADENA AVE                                                                    ELYRIA              OH 44035‐3939
MIKOL, MARY A                   6811 TANGLEWOOD BAY DR APT 2503                                                     ORLANDO             FL 32821‐9380
MIKOLA, KAREN M                 1032 BIRCHWAY CT                                                                    SOUTH LYON          MI 48178‐2520
MIKOLAIZIK, JAMES D             5524 226TH STREET NORTHWEST                                                         STANWOOD            WA 98292‐6823
MIKOLAJ, MELISSA M              1336 MAPLECREST DR                                                                  AUSTINTOWN          OH 44515‐3801
MIKOLAJ, ROY W                  664 NOTRE DAME AVE                                                                  YOUNGSTOWN          OH 44515‐4131
MIKOLAJ, ROY W                  664 NORTE DAME AVE                                                                  YOUNGSTOWN          OH 44515‐4131
MIKOLAJCZAK JAMES A 2D ACTION   MIKOLAJCZAK, JAMES A              6024 MAIN STREET                                  WILLIAMSVILLE       NY 14221
MIKOLAJCZAK JAMES A 2D ACTION   MIKOLAJCZAK, JULIE M              6024 MAIN STREET                                  WILLIAMSVILLE       NY 14221
MIKOLAJCZAK, EDITH M            1612 SOUTH FARRAGUT                                                                 BAY CITY            MI 48708‐8049
MIKOLAJCZAK, EDITH M            1612 S FARRAGUT ST                                                                  BAY CITY            MI 48708‐8049
MIKOLAJCZAK, FRANK J            25075 MEADOWBROOK RD APT 219                                                        NOVI                MI 48375
MIKOLAJCZAK, JAMES A            FELLE STOCKER & MARGULIS          6024 MAIN STREET                                  WILLIAMSVILLE       NY 14221
MIKOLAJCZAK, JULIE M            FELLE STOCKER & MARGULIS          6024 MAIN STREET                                  WILLIAMSVILLE       NY 14221
MIKOLAJCZAK, JULIE M
MIKOLAJCZAK, MICHELLE M         38821 WINKLER ST                                                                    HARRISON TWP       MI   48045‐6305
MIKOLAJCZAK, MICHELLE MARIE     38821 WINKLER ST                                                                    HARRISON TWP       MI   48045‐6305
MIKOLAJCZAK, STANLEY M          114 OOSTANALI WAY                                                                   LOUDON             TN   37774‐2621
MIKOLAJCZK, STANLEY A           3467 S ADAMS RD                                                                     ROCHESTER HILLS    MI   48309‐3199
MIKOLAJCZYK, ANGELINE E         5225 S 21ST ST                                                                      MILWAUKEE          WI   53221‐3818
MIKOLAJCZYK, EDWARD B           4 PEBBLE BEACH CT                                                                   TOMS RIVER         NJ   08757‐5914
MIKOLAJCZYK, GARY B             2319 W BRIDGE ST                                                                    MILWAUKEE          WI   53221‐4947
MIKOLAJCZYK, JAMES N            30 QUARRY HILL EST                                                                  AKRON              NY   14001‐9760
MIKOLAJCZYK, JEANETTE           1983 IDA MAYBEE RD                                                                  MONROE             MI   48162‐9141
MIKOLAJCZYK, MARIAN W           5633 KING ARTHUR CT                                                                 TOLEDO             OH   43613‐2323
MIKOLAJCZYK, MICHAEL P          14838 S TROY AVE                                                                    POSEN              IL   60469‐1428
MIKOLAJCZYK, RICHARD J          2120 AIRLINE AVE                                                                    TOLEDO             OH   43609‐1822
MIKOLAJCZYK, RONALD A           150 6TH ST                                                                          IMLAY CITY         MI   48444‐1026
MIKOLAJCZYK, TIMOTHY D          2913 WYNDALE RD                                                                     TOLEDO             OH   43613‐3264
MIKOLAJEK, JULIAN C             153 FENTON ST                                                                       BUFFALO            NY   14206‐3509
MIKOLAJEWSKI, ROMAN             392 SEA TURTLE DR                                                                   MYRTLE BEACH       SC   29588‐7922
MIKOLAJEWSKI, THERESA C         204 BLAINE AVE                                                                      PIQUA              OH   45356‐3102
MIKOLAJSKI, ADA E               3014 STATE STREET                                                                   SAGINAW            MI   48602
MIKOLAJSKI, ADA E               3014 STATE ST                                                                       SAGINAW            MI   48602‐3653
MIKOLAJSKI, DONNA               1108 S FAYETTE ST                                                                   SAGINAW            MI   48602‐1558
MIKOLAJSKI, MICHAEL R           1080 SHREBROKE                                                                      SAGINAW            MI   48603
MIKOLASKI, TED                  5140 E HOLLAND RD                                                                   SAGINAW            MI   48601‐9470
MIKOLAY, ANTOINETTE             1935 SUNSET DR                                                                      RICHMOND HTS       OH   44143‐1248
MIKOLAY, JOHN P                 50 SPRING ST                                                                        TARRYTOWN          NY   10591‐5020
MIKOLAY, THOMAS J               3302 SEA MIST LN                                                                    MELBOURNE BEACH    FL   32951‐3043
MIKOLEIT, PAUL N                35 LA FLECHA LANE                                                                   SANTA BARBARA      CA   93105‐2529
MIKOLEIT, PAUL N                35 LA FLECHA LN                                                                     SANTA BARBARA      CA   93105‐2529
MIKOLESKI, ROSE MARY            6036 SUMMIT ST                                                                      SYLVANIA           OH   43560‐1275
MIKOLESKI, ROSE MARY            6036 SUMMIT STREET                                                                  SYLVANIA           OH   43560‐1275
MIKOLIC, LOUIS E                PO BOX 964                                                                          GREENVILLE         OH   45331‐0964
MIKOLICH MD                     1044 BELMONT AVE                                                                    YOUNGSTOWN         OH   44504‐1006
MIKOLICH, MONA                  1706 E 123RD ST                                                                     BURNSVILLE         MN   55337‐2904
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Name                           Address1                       Address2                         Address3   Address4         City               State Zip
MIKOLIN, CAROL A.              559 ROYCROFT BLVD                                                                           BUFFALO             NY 14225
MIKOLIN, MAGDALEN              441 LAKEVIEW AVE                                                                            ORCHARD PARK        NY 14127‐1029
MIKOLON, FRITZ                 9926 POOLE AVE                                                                              SHADOW HILLS        CA 91040‐1336
MIKOLOWSKI JR, EDWARD W        3305 F 30                                                                                   GLENNIE             MI 48737‐9518
MIKOLOWSKI, MARY A             49753 SERENITY LANE                                                                         SHELBY TOWNSHIP     MI 48315‐7001
MIKOLOWSKI‐PAGE, ARLENE B      3137 BOOKHAM CIRCLE                                                                         AUBURN HILLS        MI 48326‐2301
MIKON CORP                     PO BOX 1222                                                                                 MARIETTA            GA 30061‐1222
MIKORYAK, DAVID W              4447 RIVERBIRCH RUN                                                                         ZIONSVILLE          IN 46077‐9286
MIKORYAK, VEDA L               6435 WINONA AVE                                                                             ALLEN PARK          MI 48101‐2321
MIKOS TRACY                    MIKOS, ROBERT                  120 WEST MADISON STREET , 10TH                               CHICAGO              IL 60602
                                                              FLOOR
MIKOS TRACY                    MIKOS, TRACY                   120 WEST MADISON STREET , 10TH                               CHICAGO             IL   60602
                                                              FLOOR
MIKOS‐HOOVER, KARA E           2714 EAST DR                                                                                FORT WAYNE         IN    46805‐3617
MIKOS‐HOOVER, KARA ELIZABETH   2714 EAST DR                                                                                FORT WAYNE         IN    46805‐3617
MIKOSZ, JOHN J                 39 CENTRAL AVE                                                                              N VERSAILLES       PA    15137‐1101
MIKOTA, DONALD R               544 W BROWNING AVE                                                                          HAZEL PARK         MI    48030‐1003
MIKOTA, DONALD R               544 WEST BROWNING AVENUE                                                                    HAZEL PARK         MI    48030‐1003
MIKOTA, FRANCES C              3872 MOREFIELD RD                                                                           HERMITAGE          PA    16148‐3774
MIKOTA, MARIE E                6943 TAMARACK DR                                                                            HUBBARD            OH    44425‐3051
MIKOTACZYK, MARY JANE          10 RAVENS ROCK RD                                                                           MANAHAWKIN         NJ    08050‐6042
MIKOTACZYK, MARY JANE          10 RAVEN ROCK RD                                                                            MANAHAWKIN         NJ    08050
MIKOVITS JR, JOHN L            15538 ALCOVE CIR                                                                            PORT CHARLOTTE     FL    33981‐3334
MIKOVITS, FRITZ O              7275 N WEBSTER RD                                                                           MOUNT MORRIS       MI    48458‐9430
MIKOVSKY, ANTHONY J            1015 OLD TRENTON RD                                                                         TRENTON            NJ    08690‐1229
MIKOWSKI JOE (492073)          BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD , BEVAN                                NORTHFIELD         OH    44067
                                                              PROFESSIONAL BLDG
MIKOWSKI, JOE                  BEVAN & ASSOCIATES             10360 NORTHFIELD ROAD, BEVAN                                 NORTHFIELD         OH 44067
                                                              PROFESSIONAL BLDG
MIKOY, THOMAS P                3342 PALM AIRE DR                                                                           ROCHESTER HLS      MI    48309‐1048
MIKRUT, DANIEL E               1576 E 88TH ST                                                                              NEWAYGO            MI    49337‐8863
MIKRUT, JOHN                   8022 W 85TH PL                                                                              JUSTICE            IL    60458‐2246
MIKS, BARBARA A                1883 DUNHAM DR                                                                              ROCHESTER          MI    48306‐4807
MIKSCHEWITSCH, PETER W         401 W SHORELINE DR UNIT 267                                                                 SANDUSKY           OH    44870‐0909
MIKSENAS, ROBERT B             68 ALBERT RD                                                                                AUBURNDALE         MA    02466‐1303
MIKSIK JANETTE                 FARMERS INSURANCE COMPANY      200 N MAIN ST FL 2                                           SANTA ANA          CA    92701‐4800
MIKSIK JANETTE                 MIKSIK, DAVID                  200 N MAIN ST FL 2                                           SANTA ANA          CA    92701‐4800
MIKSIK JANETTE                 MIKSIK, JANETTE                200 N MAIN ST FL 2                                           SANTA ANA          CA    92701‐4800
MIKSIK JANETTE                 MIKSIK, JUNE                   200 N MAIN ST FL 2                                           SANTA ANA          CA    92701‐4800
MIKSIK JANETTE                 MISHOE, JUDY                   200 N MAIN ST FL 2                                           SANTA ANA          CA    92701‐4800
MIKSIK, DAVID                  7349 MCKINLEY AVE                                                                           SAN BERNARDINO     CA    92410‐4325
MIKSIK, DAVID                  JOHN HANNA & DOUG SCOTT        200 N MAIN ST FL 2                                           SANTA ANA          CA    92701‐4800
MIKSIK, JANETTE                HANNA & SCOTT LAW OFFICES      200 N MAIN ST FL 2                                           SANTA ANA          CA    92701
MIKSIK, JANETTE                PO BOX 30436                                                                                SN BERNRDNO        CA    92413‐0436
MIKSIK, JUNE                   HANNA & SCOTT LAW OFFICES      200 N MAIN ST FL 2                                           SANTA ANA          CA    92701‐4800
MIKSITZ JOSEPH                 22279 ROBERTS DRIVE                                                                         NORTHVILLE         MI    48167‐9150
MIKSITZ, JOSEPH M              22279 ROBERTS DR                                                                            NORTHVILLE         MI    48167‐9150
MIKSTAS, PAULINE               2850 59TH STREET SOUTH         #405                                                         GOLFPORT           FL    33707
MIKSTAS, PAULINE               2850 59TH ST S APT 405                                                                      GULFPORT           FL    33707‐5329
MIKSTAS, PETER                 8602 ARNOLD ST                                                                              DEARBORN HEIGHTS   MI    48127‐1221
MIKSZEWSKI, JOSEPH S           30190 MANOR DR                                                                              MADISON HTS        MI    48071‐2294
MIKTUK ALAN A                  MIKTUK, ALAN A                 55 PUBLIC SQ STE 650                                         CLEVELAND          OH    44113‐1909
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Name                                   Address1                         Address2                        Address3   Address4         City               State Zip
MIKTUK, MARGARET A                     155 VILLAGE DR                                                                               SEVEN HILLS         OH 44131‐5707
MIKULA JOSEPH (ESTATE OF) (489153)     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                               NORTHFIELD          OH 44067
                                                                        PROFESSIONAL BLDG
MIKULA JR, RAYMOND C                   4267 E COLONY RD                                                                             SAINT JOHNS        MI   48879‐9070
MIKULA JR, RAYMOND C                   PO BOX 123                                                                                   BANNISTER          MI   48807
MIKULA, BERNICE                        17103 MESSENGER RD                                                                           BURTON             OH   44021‐9736
MIKULA, DAVID H                        7846 CEDAR LAKE RD                                                                           OSCODA             MI   48750‐9493
MIKULA, DONALD G                       61650 WHISPERING PINES DR                                                                    CAMBRIDGE          OH   43725‐8553
MIKULA, DONNA J                        1443 GARFIELD AVE NW                                                                         GRAND RAPIDS       MI   49504‐2926
MIKULA, EDMUND W                       PO BOX 1774                                                                                  FREMONT            CA   94538‐0177
MIKULA, ELEANOR P                      PO BOX 115                                                                                   SAINT CHARLES      MI   48655
MIKULA, ELEANOR P                      11111 MORNINGSTAR DRIVE                                                                      SAGINAW            MI   48609‐8609
MIKULA, JANICE                         PO BOX 738                                                                                   DAVISON            MI   48423‐0738
MIKULA, JOYCE E                        5895 S SUMMERTON RD                                                                          SHEPHERD           MI   48883‐9328
MIKULA, JULIA M                        15079 RIVIERA SHORES DR                                                                      HOLLY              MI   48442‐1127
MIKULA, KEVIN R                        5677 GRACE LN                                                                                ALMONT             MI   48003‐9658
MIKULA, MARIA L                        PO BOX 123                                                                                   BANNISTER          MI   48807‐0123
MIKULA, MARIA L                        4267 E COLONY RD                                                                             SAINT JOHNS        MI   48879‐9070
MIKULA, MICHAEL R                      116 WESTVIEW DR                                                                              SPRING HILL        TN   37174‐9607
MIKULA, SALLY A                        9100 SULLIVAN DR.                                                                            ST. HELEN          MI   48656‐9767
MIKULA, SHIRLEY                        1316 N TRUMBULL ST                                                                           BAY CITY           MI   48708
MIKULA, STEPHEN E                      7562 APPLEBY DR                                                                              HUNTINGTON BEACH   CA   92648‐1405
MIKULA, THEODORE A                     9151 DEITERING RD                                                                            CHESANING          MI   48616‐1733
MIKULA, VENCE M                        17100 WALNUT DR                                                                              NEWALLA            OK   74857‐1320
MIKULA, WILLIAM F                      1738 KREFT ST NE                                                                             GRAND RAPIDS       MI   49525‐2851
MIKULAK, GEORGE                        5370 SHERWOOD RD                                                                             OXFORD             MI   48371‐3926
MIKULAK, PETER                         3092 TWISTED TWIG LANE                                                                       APISON             TN   37302‐7573
MIKULAK, PETER P                       3092 TWISTED TWIG LANE                                                                       APISON             TN   37302‐7573
MIKULAK, ROXI A                        3092 TWISTED TWIG LANE                                                                       APISON             TN   37302‐7573
MIKULAS BILLIK                         786 WOOD AVE                                                                                 COLONIA            NJ   07067‐1916
MIKULAS, ROGER W                       11344 N CACTUS ROSE DR                                                                       TUCSON             AZ   85737‐7289
MIKULAY, HELEN I                       117 AUSABLE RIVER TRAIL                                                                      ROSCOMMON          MI   48653‐7923
MIKULCIC, SINISA                       2859 CAMELOT CT                                                                              WILLOUGHBY HILLS   OH   44092‐1470
MIKULCIK, MARGARET L                   218 SKYLOCK DRIVE E                                                                          DUNEDIN            FL   34698‐8138
MIKULCIK, MARGARET L                   218 SKYLOCH DR E                                                                             DUNEDIN            FL   34698‐8138
MIKULEC, CHARLES R                     6770 YORK RD                                                                                 CLEVELAND          OH   44130‐4568
MIKULEC, JAMES A                       796 ALYSA CT                                                                                 HIGHLAND           MI   48356‐1695
MIKULEC, MICHEAL A                     1743 PRUIT DR                                                                                HIGHLAND           MI   48356‐2520
MIKULEWICZ, PEGGY E                    8401 CLUB SIDE DR                                                                            MARS               PA   16046‐4244
MIKULEWICZ, WILLIAM H                  22 BEECH ST                                                                                  NORTH ARLINGTON    NJ   07031‐6408
MIKULICH, DONALD J                     532 MURRAY HILL DR                                                                           YOUNGSTOWN         OH   44505‐1564
MIKULKA RICHARD (ESTATE OF) (513226)   WEITZ & LUXENBERG                180 MAIDEN LANE                                             NEW YORK           NY   10038

MIKULKA, RICHARD                       WEITZ & LUXENBERG                180 MAIDEN LANE                                             NEW YORK           NY   10038
MIKULSKI, DOLORES E                    3406 NORTHWAY DRIVE                                                                          BALTIMORE          MD   21234‐7923
MIKULSKI, FRANK J                      34 RESEVOIR RD                                                                               LEBANON            CT   06249‐2717
MIKULSKI, GEORGE J                     3406 NORTHWAY DR                                                                             BALTIMORE          MD   21234‐7923
MIKULSKI, HILDA                        40 ELLSINORE ST 14606                                                                        ROCHESTER          NY   14606
MIKULSKI, MARGARET                     7045 MIDDLEPOINTE                                                                            DEARBORN           MI   48126‐1948
MIKULSKI, MARGARET                     29529 MIRLON DR                                                                              FARMINGTON HTS     MI   48331‐2061
MIKULSKI, MAYBELLE                     40 BEALE AVE                                                                                 CHEEKTOWAGA        NY   14225‐2009
MIKULSKI, RAYMOND H                    6173 SILVER LAKES DR W                                                                       LAKELAND           FL   33810‐7402
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Name                               Address1                            Address2                       Address3   Address4                City               State Zip
MIKULSKIS, TEISUOLIS C             PO BOX 4223                                                                                           PINEHURST           NC 28374‐4223
MIKULSKY, BENJAMIN A               93 GRANITE ST                                                                                         UXBRIDGE            MA 01569‐1228
MIKULSKY, NEAL F                   13105 KITTRIDGE CT                                                                                    BROOKFIELD          WI 53005‐1922
MIKULUS, MICHAEL L                 6 PATTY ANN CT                                                                                        SAINT PETERS        MO 63376‐3703
MIKUS, GEORGE M                    11255 ENDICOTT CT                                                                                     ORLAND PARK          IL 60467‐1020
MIKUS, JOSEPH L                    313 HART ST ALLISON PL                                                                                HOUSTON             PA 15342
MIKUS, PHOEBE M                    9244 W FRANKLIN AVE                                                                                   FRANKFORT            IL 60423‐1369
MIKUS, STEVE J                     7175 S RANSOM RD                                                                                      ASHLEY              MI 48806‐9306
MIKUSEK, THERESA J                 3470 ANGEL DR                                                                                         SAGINAW             MI 48601‐7201
MIKUSKI, JAMES J                   PO BOX 211                                                                                            CANON               GA 30520‐0211
MIKUSKI, ROBERT                    3567 KENNEDY RD                                                                                       SOUTH PLAINFIELD    NJ 07080
MIKUSKO, GEORGE F                  20220 GRATIOT RD                                                                                      MERRILL             MI 48637‐9558
MIKUSKO, SHIRLEY A                 20220 GRATIOT RD                                                                                      MERRILL             MI 48637‐9558
MIKUSZEWSKI, MARIAN                15671 TORREY PINES DR                                                                                 ORLAND PARK          IL 60462‐7755
MIKUTA, ALLEN W                    1177 GALAHAD DR                                                                                       CASSELBERRY         FL 32707‐4562
MIKUTOWICZ, GEORGE T               509 LONG IRON LN                                                                                      MESQUITE            NV 89027‐8855
MIL MAR ENGINEERING INC            27300 FULLERTON                                                                                       REDFORD             MI 48239‐2563
MIL TEC/SHREVEPORT                 7350 JULIE FRANCES DR                                                                                 SHREVEPORT          LA 71129‐2902
MIL, GERRIE V                      36924 COYOTE LAKE RD                                                                                  NEWBERRY SPRINGS    CA 92365
MIL, RUDY G                        996 TREYMONT WAY                                                                                      LAWRENCEVILLE       GA 30045‐7812
MIL‐TEC                            MECHANICAL SERVICES INC             7350 JULIE FRANCES DR                                             SHREVEPORT          LA 71129‐2902
MIL‐TEC MECHANICAL SERVICES IN     7350 JULIE FRANCES DR                                                                                 SHREVEPORT          LA 71129‐2902
MILA BERRY                         11410 FILLMORE AVE                                                                                    SEFFNER             FL 33584‐4350
MILA CONWAY                        622 E 5TH ST                                                                                          LIMA                OH 45804‐2524
MILA ROOSE                         16277 12B RD                                                                                          PLYMOUTH            IN 46563‐9093
MILA SCHOUN                        23200 LAKE RD APT 52                                                                                  BAY VILLAGE         OH 44140‐2972
MILACRON CANADA INC                1175 APPLEBY LINE UNIT B1           PO BOX 85114 RPO BRANT PLAZA              BURLINGTON ON L7R 4K3
                                                                                                                 CANADA
MILACRON INC
MILACRON INC                       300000 DISNEY AVE                                                                                     CINCINNATI         OH 45209‐5028
MILACRON INDUSTRIAL PRODUCTS I     30000 DISNEY                                                                                          CINCINNATI         OH 45209‐5028
MILACRON INDUSTRIAL PRODUCTS INC   3000 DISNEY AVE                                                                                       CINCINNATI         OH 45209‐5028
MILAD
MILAD ZERKA                        1183 WRECKENRIDGE RD                                                                                  FLINT              MI   48532‐3232
MILADORE                           1335 BELMONT AVE                                                                                      YOUNGSTOWN         OH   44504
MILADY A STRICKLAND                RT 2 BOX 72 HWY 49                                                                                    YAZOO CITY         MS   39194‐9802
MILAGRITO I CORTEZ                 125 PERRY ST                                                                                          STRUTHERS          OH   44471
MILAGRO VILLANUEVA                 3533 OLDE WINTER TRL                                                                                  POLAND             OH   44514‐5827
MILAGROS GONZALEZ                  7830 COPPERFIELD CT                                                                                   ORLANDO            FL   32825‐3380
MILAGROS PAUL                      2196 OLIVE AVE                                                                                        LINCOLN PARK       MI   48146‐1284
MILAK, ELSIE M                     723 INDIANA AVE                                                                                       MCDONALD           OH   44437‐1822
MILAK, KAREN L                     723 INDIANA AVE                                                                                       MC DONALD          OH   44437‐1822
MILAK, LESLIE A                    608 WASHINGTON BLVD                                                                                   MC DONALD          OH   44437‐1846
MILAKOVICH, ELI M                  201 GRAND AVE #154                                                                                    CARLSBAD           CA   92008
MILAM COUNTY ASSESSOR              101 S FANNIN AVE                                                                                      CAMERON            TX   76520‐4217
MILAM COUNTY TAX OFFICE            PO BOX 551                                                                                            CAMERON            TX   76520‐0551
MILAM WILLIAM                      5537 ALDEN ST                                                                                         SHAWNEE            KS   66216‐4681
MILAM#, MARY M                     292 RD NO 2 SOUTH SW                                                                                  CARTERSVILLE       GA   30120
MILAM, ARLO B                      190 COUNTY ROAD 449                                                                                   RIENZI             MS   38865‐9790
MILAM, BETTY J                     3460 POPLAR LN                                                                                        JANESVILLE         WI   53545‐8868
MILAM, BRENT S                     2335 GARDEN DR                                                                                        JANESVILLE         WI   53546‐6147
MILAM, CHRISTOPHER
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Name                        Address1                        Address2            Address3         Address4                 City               State Zip
MILAM, DAVID S              34311 PARKGROVE DR                                                                            WESTLAND            MI 48185‐1457
MILAM, DAVID STANLEY        34311 PARKGROVE DR                                                                            WESTLAND            MI 48185‐1457
MILAM, ERWIN D              9250 STREAMVIEW CT                                                                            DAYTON              OH 45458‐9271
MILAM, FLORENCE J           26231 QUEEN MARY LANE                                                                         BONITA SPGS         FL 34135‐6537
MILAM, FLORENCE J           1345 SWEETWATER CV APT 203                                                                    NAPLES              FL 34110
MILAM, GARY W               345 JACQUALYN DR                                                                              LAPEER              MI 48446
MILAM, GEORGE R             4605 W MCNEIL ST                                                                              LAVEEN              AZ 85339‐2072
MILAM, HELEN J              2416 KELLOGG AVE                                                                              JANESVILLE          WI 53546‐5923
MILAM, JAMES R              1501 CAMBRIDGE DR                                                                             SHREVEPORT          LA 71105‐5003
MILAM, JERRY W              2936 MOROCCO RD                                                                               IDA                 MI 48140
MILAM, JOHN P               4812 STATE HIGHWAY 31 E                                                                       MURCHISON           TX 75778‐2993
MILAM, JOHN W               2936 MOROCCO RD                                                                               IDA                 MI 48140‐9535
MILAM, JUDY A               PO BOX 46                                                                                     BOULDER JUNCTION    WI 54512‐0046
MILAM, KATHRYN E            34311 PARKGROVE DR                                                                            WESTLAND            MI 48185‐1457
MILAM, KELLY W              2014 LEOTA RD                                                                                 GADSDEN             AL 35907
MILAM, LARRY A              6799 TAHITI DR                                                                                CYPRESS             CA 90630‐5746
MILAM, LARRY L              4601 ROLLAND DR                                                                               KOKOMO              IN 46902‐4780
MILAM, MICHAEL V            5712 EDGEPARK DR                                                                              BROOK PARK          OH 44142‐1026
MILAM, MYRA                 409 EAST 3RD ST                                                                               TUSCUMBIA           AL 35674‐1330
MILAM, PATRICIA             1696 WISE FIVE FORKS RD                                                                       MACON               NC 27551‐9060
MILAM, RANDALL A            12 CLEARPOND LN                                                                               SHAWNEE             OK 74801‐5612
MILAM, S J                  1072 W CASS AVE                                                                               FLINT               MI 48505‐1383
MILAM, SAMANATHA            PO BOX 361901                                                                                 BIRMINGHAM          AL 35236‐1901
MILAM, STEVEN D             PO BOX 46                                                                                     BOULDER JUNCTION    WI 54512‐0046
MILAM, THOMAS M             404 LORENE DR                                                                                 O FALLON            MO 63366‐1329
MILAM, WILLARD E            1916 SHADY LN                                                                                 DAYTON              OH 45432‐2008
MILAN
MILAN BALDWIN               3625 CHRISTY RD                                                                               DEFIANCE           OH   43512‐9603
MILAN BENDER & ASSOCIATES   5915 LANDERBROOK DR STE 120                                                                   MAYFIELD HEIGHTS   OH   44124‐4034
MILAN BOROVICH              12921 W MANDALAY LN                                                                           EL MIRAGE          AZ   85335‐3413
MILAN BOX                   2240 SHENFIELD RD                                                                             TURNER             MI   48765‐9740
MILAN CAMPBELL              10365 OAK RD                                                                                  OTISVILLE          MI   48463‐9768
MILAN CARR                  978 DORWOOD PARK                                                                              RANSOMVILLE        NY   14131‐9674
MILAN CHARLES (464881)      WEITZ & LUXENBERG P.C.          180 MAIDEN LANE                                               NEW YORK           NY   10038
MILAN CURKOVIC              1675 W DILL RD                                                                                DEWITT             MI   48820‐9316
MILAN D MILISICH            6146 WHISKEY CREEK DR APT 719                                                                 FORT MYERS         FL   33919‐8742
MILAN DRAGOJEVIC            560 FOWLER ST                                                                                 CORTLAND           OH   44410‐1337
MILAN EXPRESS CO INC        PO BOX 699                      1091 KEFAUVER DR                                              MILAN              TN   38358‐0699
MILAN EXPRESS CO INC        PO BOX T577                                                                                   NASHVILLE          TN   37244
MILAN GLUSICA               4174 W COURT ST                                                                               FLINT              MI   48532‐3521
MILAN GRAHOVAC              PO BOX 170074                                                                                 CHICAGO            IL   60617‐9074
MILAN KUKLIK                1223 W GUNN RD                                                                                ROCHESTER          MI   48306‐1602
MILAN LIZALEK               N2571 COUNTY RD E                                                                             REDGRANITE         WI   54970‐7001
MILAN MASON                 16657 E STREET RD                                                                             MONTROSE           MI   48457‐9370
MILAN MATUSEK               1508 BURNET AVE TRLR 40                                                                       UNION              NJ   07083‐4273
MILAN MCDIARMID             9402 ROUND LAKE RD                                                                            LAINGSBURG         MI   48848‐9492
MILAN MEDVED                12790 KENYON DR                                                                               CHESTERLAND        OH   44026‐3230
MILAN METAL SYSTEMS         ALYCE MAGER X234                555 S PLATT RD                                                MILAN              MI   48160‐9303
MILAN METAL SYSTEMS         ALYCE MAGER X234                555 PLATT RD                         SUZHOU CHINA (PEOPLE'S
                                                                                                 REP)
MILAN METAL SYSTEMS LLC     555 S PLATT RD                                                                                MILAN              MI 48160‐9303
MILAN METAL SYSTEMS LLC     555 PLATT RD                                                                                  MILAN              MI 48160
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Name                 Address1                              Address2                        Address3   Address4              City                  State Zip
MILAN MILISICH       6146 WHISKEY CREEK DR APT 719                                                                          FORT MYERS             FL 33919‐8742
MILAN MITROVIC       13709 JANA LEI AVE                                                                                     BONNER SPRINGS         KS 66012‐2102
MILAN MUTIC          6276 COLDSTREAM DR                                                                                     HIGHLAND HEIGHTS       OH 44143‐3702
MILAN PAJIC          18 BRINKER RD                                                                                          LACKAWANNA             NY 14218‐2822
MILAN PLESKO         11180 LAKESIDE DR                                                                                      PERRINTON              MI 48871‐9616
MILAN PRILEPOK       425 150TH AVE                         CONDO 2202                                                       MADEIRA BEACH          FL 33708
MILAN R GLUSICA JR   5081 CALKINS RD                                                                                        FLINT                  MI 48532‐3402
MILAN RAJSIC         19305 TAYLOR LAKE RD                                                                                   HOLLY                  MI 48442‐8925
MILAN RUDELIK        713 PENDLEY RD                                                                                         WILLOWICK              OH 44095‐4230
MILAN SEBO           BEVAN & ASSOCIATES, LPA, INC.         6555 DEAN MEMORIAL PARKWAY                                       BOSTON HTS             OH 44236
MILAN STASA          1405 SHADY LANE DR                                                                                     OWOSSO                 MI 48867‐1431
MILAN STOCKING       2004 RUSH CREEK CT                                                                                     FINDLAY                OH 45840‐7448
MILAN STUBBLEFIELD   5455 SONNEFIELD CT                                                                                     INDIANAPOLIS           IN 46224‐7108
MILAN SVACHA         470 CARPENTER                                                                                          LEMONT                  IL 60439
MILAN SYLVESTER      1540 STATE HIGHWAY 31                                                                                  MANDERSON              WY 82432‐9708
MILAN THURSTON       3602 COUNTY FARM RD                                                                                    SAINT JOHNS            MI 48879‐9295
MILAN TRIFUNOVIC
MILAN WILDER         2257 E 86TH ST                                                                                         CLEVELAND             OH   44106‐3428
MILAN YENCIK         10860 BASINGER RD                                                                                      NORTH LIMA            OH   44452‐9500
MILAN, ANDRE         138 HIGHLAND STREET                                                                                    TAUNTON               MA   02780‐4716
MILAN, CHARLES       WEITZ & LUXENBERG P.C.                180 MAIDEN LANE                                                  NEW YORK              NY   10038
MILAN, FRANCIS D     6380 PARTRIDGE CT                                                                                      LAKE                  MI   48632‐9256
MILAN, HERMAN B      1770 BROOKSIDE DR                                                                                      MANTECA               CA   95336‐8511
MILAN, JACK D        1370 LAKE SHORE DR                                                                                     CATAWISSA             MO   63015‐1147
MILAN, JOELLA
MILAN, JOSE L        10007 SILVERWOOD WAY                                                                                   HOUSTON               TX   77070‐1767
MILAN, JOSEPH L      7867 N 30TH ST                                                                                         RICHLAND              MI   49083‐9761
MILAN, MARTHA E      493 UNION ST S                                                                                         CONCORD               NC   28025‐5558
MILAN, MARTHA E      493 UNION STREET SOUTH                                                                                 CONCORD               NC   28025
MILAND, ALAN R       1325 ROYAL OAKS DR                                                                                     JANESVILLE            WI   53548‐6804
MILANES, ANGEL       4747 CADIZ CIRCLE                                                                                      PALM BCH GDNS         FL   33418‐8981
MILANES, ENRIQUE M   2223 CLIFFORD ST                                                                                       LOS ANGELES           CA   90026‐1735
MILANES, JOSE N      100 RIDGELEY AVE                                                                                       ISELIN                NJ   08830‐2054
MILANESIO ANDREA     FRAZIONE BERRI 10                                                                12064 LA MORRA ‐CN‐
                                                                                                      ITALY
MILANEZ, ARTHUR      9440 LOCH AVON DR                                                                                      PICO RIVERA           CA   90660‐2817
MILANI               PO BOX 650351                                                                                          DALLAS                TX   75265‐0351
MILANI, MARIA        4 MARINA DR #N2                                                                                        MAHOPAC               NY   10541
MILANI, MICHAEL W    2275 SPARTA DR                                                                                         RANCHO PALOS VERDES   CA   90275‐6534
MILANI, RICHARD J    PO BOX 501                                                                                             VIENNA                OH   44473‐0501
MILANO MARY          4888 S SHERWOOD FOREST BLVD APT 301                                                                    BATON ROUGE           LA   70815‐4601

MILANO STEPHEN AND   ALEX SIMANOVSKY & ASSOCIATES          2300 HENDERSON MILL RD NE STE                                    ATLANTA               GA 30345‐2704
                                                           300
MILANO, ANTONIO      308 SPENCER ST                                                                                         ELIZABETH             NJ   07202‐3926
MILANO, BARBARA J    5191 REDLANDS DR                                                                                       HILLIARD              OH   43026
MILANO, BETTY W      710 SOUTH KEELRIDGE ROAD                                                                               HERMITAGE             PA   16148‐6148
MILANO, BETTY W      710 S KEEL RIDGE RD                                                                                    HERMITAGE             PA   16148‐9123
MILANO, DANIEL C     21299 ASCOT DR                                                                                         MACOMB                MI   48044‐1877
MILANO, DOMINIC      2581 ECKERT RD                                                                                         LEXINGTON             OH   44904‐8731
MILANO, DONALD E     5191 REDLANDS DR                                                                                       HILLIARD              OH   43026‐9223
MILANO, FRANK J      2581 ECKERT RD                                                                                         LEXINGTON             OH   44904‐8731
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Name                         Address1                          Address2                    Address3   Address4         City                 State Zip
MILANO, GREGORY              8 RUMSON CT                                                                               WARETOWN              NJ 08758‐2633
MILANO, JACQUES              24895 CHERNICK ST                                                                         TAYLOR                MI 48180‐2113
MILANO, JOSEPH J             4611 WARWICK DR S                                                                         CANFIELD              OH 44406‐9271
MILANO, JOSEPH J             4421 YAKATA DORA DR                                                                       YOUNGSTOWN            OH 44511‐3322
MILANO, JOSEPH JOHN          4611 WARWICK DR S                                                                         CANFIELD              OH 44406‐9271
MILANO, KEITH G              8 RUMSON COURT                                                                            WARETOWN              NJ 08758‐2633
MILANO, KENNETH M            24405 SHERBORNE RD                                                                        BEDFORD HTS           OH 44146‐4054
MILANO, RICHARD A            526 NEOKA DR                                                                              CAMPBELL              OH 44405‐1261
MILANO, RICHARD ALBERT       526 NEOKA DR                                                                              CAMPBELL              OH 44405‐1261
MILANO, WILLIAM P            136 S KIMBERLY AVE                                                                        YOUNGSTOWN            OH 44515‐2413
MILANO,DANIEL C              21299 ASCOT DR                                                                            MACOMB                MI 48044‐1877
MILANOV, THOMAS W            36831 WEBER DR                                                                            STERLING HTS          MI 48310‐4657
MILANOVICH, MARTHA JANE      PO BOX 461                                                                                CROSSNORE             NC 28616‐0461
MILANOVICH, MARTHA JANE      2168 FOREST DR S/W                                                                        SUPPLY                NC 28462‐3931
MILANOWICZ, ERIC             1673 BURLINGTON JACKSONVILLE RD                                                           BORDENTOWN            NJ 08505‐4110
MILANOWICZ, MICHAEL S        1673 BURLINGTON JACKSONVILLE RD                                                           BORDENTOWN            NJ 08505‐4110
MILANOWICZ, MICHAEL STEVEN   1673 BURLINGTON JACKSONVILLE RD                                                           BORDENTOWN            NJ 08505‐4110
MILANOWSKI, DALE B           1433 SCHOAL CREEK DR                                                                      SAINT PETERS          MO 63366‐3194
MILANOWSKI, DONALD W         463 GARDEN VALLEY CT                                                                      YOUNGSTOWN            OH 44512‐6503
MILANOWSKI, DOROTHY M        1140 BLANCHARD ST SW                                                                      WYOMING               MI 49509‐2816
MILANOWSKI, GERALD P         386 MEADOWBROOK CIR                                                                       LIVINGSTON            TN 38570‐6018
MILANOWSKI, JANET F          386 MEADOWBROOK CIR                                                                       LIVINGSTON            TN 38570‐6018
MILANOWSKI, JANET F          386 MEADOW BROOK CIRCLE                                                                   LIVINGSTON            TN 38570‐6018
MILARA, DIEGO                11 UNION PL                                                                               NORTH ARLINGTON       NJ 07031‐6315
MILARA, JUAN                 119 GIBSON BLVD                                                                           CLARK                 NJ 07066‐1415
MILARD GROUP, LTD.           400 RUTHERFORD ST                                                                         GOLETA                CA 93117‐3702
MILARDO, ALFRED A            583 MOUNTAIN LINKS DR                                                                     HENDERSON             NV 89012‐6146
MILARDO, MARIA               17 MAGNOLIA AVE                                                                           MIDDLETOWN            CT 06457‐4350
MILARDO, SEBASTIAN A         123 W ST ‐ FOX GLEN APT 101                                                               CROMWELL              CT 06416
MILARGROS PAUL               2196 OLIVE AVE                                                                            LINCOLN PARK          MI 48146‐1284
MILAS CAUDLE                 3361 HAMPSHIRE AVE                                                                        FLINT                 MI 48504‐1263
MILAS CLEPHUS JUNIEL         C/O EDWARD O MOODY PA             801 WEST 4TH STREET                                     LITTLE ROCK           AR 72201
MILAS CURL                   111 W 99TH TER APT 102                                                                    KANSAS CITY           MO 64114‐4347
MILAS DONEY                  2245 PARK DR                                                                              JACKSON               MI 49203‐5448
MILAS, WALTER                423 TYLER ST                                                                              SANDUSKY              OH 44870‐3445
MILAS, WILLIAM               635 MELROSE ST                                                                            PONTIAC               MI 48340‐3116
MILASKY, DIANA J             803 N RIDGE RD W                                                                          LORAIN                OH 44053‐3757
MILASZEWSKI, RUTH M          920 STROWBRIDGE DR                                                                        HURON                 OH 44839‐1448
MILATOVIC, NATASA            BRADY LAW GROUP                   1015 IRWIN STREET SUITE A                               SAN RAFAEL            CA 94901
MILATOVICH, PHILIP R         6720 GERONIMO ST                                                                          WESTLAND              MI 48185‐2782
MILATZ, SHARON L             30808 GREATER MACK AVE                                                                    SAINT CLAIR SHORES    MI 48082‐1714
MILAUCKAS, EDMUND            SIMMONS FIRM                      PO BOX 521                                              EAST ALTON             IL 62024‐0519
MILAUSKAS LEONARD            14903 W BUTTONWOOD DR                                                                     SUN CITY              AZ 85375‐5747
MILAVEC, BRUCE L             712 MIDDLE RIVER RD                                                                       MIDDLE RIVER          MD 21220
MILAVEC, CHESTER E           301 TIREE CT UNIT 101                                                                     ABINGDON              MD 21009‐2432
MILAVEC, ELIZABETH D         301 TIREE CT UNIT 101                                                                     ABINGDON              MD 21009‐2432
MILAVEC, ELIZABETH D         301 TIREE COURT                   APT 101                                                 ABINGDON              MD 21009
MILAVEC, JEAN A              206 MACE AVE                                                                              BALTIMORE             MD 21221‐6622
MILAVES, HELEN K             534 PEFFER AVE                                                                            NILES                 OH 44446‐3317
MILAZZO, ANGELO              62 NESTING LOOP                                                                           SAINT CLOUD           FL 34769‐1908
MILAZZO, CHARLES             600 LINDEN AVE                                                                            BUFFALO               NY 14216‐2717
MILAZZO, DAVID S             7466 STARVATION LAKE RD NE                                                                MANCELONA             MI 49659‐9594
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Name                                Address1                             Address2                      Address3                     Address4         City               State Zip
MILAZZO, DOMINIC S                  2451 N CONNECTICUT AVE                                                                                           ROYAL OAK           MI 48073‐4214
MILAZZO, DOROTHY A                  6355 APPROACH RD                                                                                                 SARASOTA            FL 34238‐5733
MILAZZO, MARIE J                    92 HARTWELL RD                                                                                                   BUFFALO             NY 14216‐1704
MILAZZO, MICHAEL                    BELLUCK & FOX LLP                    546 5TH AVE #4                                                              NEW YORK            NY 10036‐5000
MILAZZO, MICHAEL                    56 LEDGEWOOD CIR                                                                                                 ROCHESTER           NY 14615‐1402
MILAZZO, SAMUEL B                   41330 N CONGRESSIONAL DR                                                                                         ANTHEM              AZ 85086‐1809
MILAZZO, STELLA A                   19976 GREAT OAKS                                                                                                 CLINTON TOWNSHIP    MI 48036
MILBANK TWEED HADLEY & MCCLOY       1825 EYE STREET NW                                                                                               WASHINGTON          DC 20006
INTERNATIONAL SQUARE BLDG
MILBANK TWEED HADLEY & MCCLOY LLP   ATTN TYSON LOMAZOW                   1 CHASE MANHATTAN PLAZA                                                     NEW YORK           NY 10005‐1413

MILBANK, TWEED, HADLEY & MCCLOY LLP ATTY FOR WELLS FARGO BANK            DAVID S. COHEN, ESQ.          1850 K STREET, N.W., SUITE                    WASHINGTON         DC 20006
                                    NORTHWEST, NATIONAL ASSOCIATION                                    1100

MILBANK, TWEED, HADLEY & MCCLOY LLP MATTHEW S. BARR, TYSON M. LOMAZOW,   ONE CHASE MANHATTAN PLAZA                                                   NEW YORK           NY 10005
                                     SAMUEL KHALIL
MILBANK, TWEED, HADLEY & MCCLOY LLP ATT: MATTHEW S. BARR, TYSON M.       ATTY FOR: MANUFACTURERS AND   1 CHASE MANHATTAN PLAZA                       NEW YORK           NY 10005
                                     LOMAZOW & SAMUEL A. KHALIL, ESQ.    TRADERS TRUST COMPANY
MILBANK, TWEED, HADLEY & MCCLOY, LLP ATTY FOR WELLS FARGO BANK           SEAN M. NEWELL, ESQ.          1850 K STREET, N.W., SUITE                    WASHINGTON         DC 20006
                                     NORTHWEST, NATIONAL ASSOCIATION                                   1100

MILBAR HYDRO‐TEST, INC                                                   651 AERO DR                                                                                    LA   71107
MILBAUER, GERALD J                  16555 ADMIRAL                                                                                                    FRASER             MI   48026‐3247
MILBECK, JOHN H                     5809 RS AVE E                                                                                                    SCOTTS             MI   49088‐9728
MILBERG JON                         24145 MCDONALD ST                                                                                                DEARBORN HEIGHTS   MI   48125‐1921
MILBERG, JOHN F                     7838 PARK AVE                                                                                                    ALLEN PARK         MI   48101‐1714
MILBERG, JOHN G                     24145 MCDONALD ST                                                                                                DEARBORN HTS       MI   48125‐1921
MILBERG, KATHERINE N                5581 12 MILE RD NE                                                                                               ROCKFORD           MI   49341‐9749
MILBOCKER LORI                      39321 WEST ARCHER DRIVE                                                                                          HARRISON TWP       MI   48045‐1816
MILBOCKER RANDY                     39321 WEST ARCHER DRIVE                                                                                          HARRISON TWP       MI   48045‐1816
MILBOCKER, DEREK T                  26711 CLANCY ST                                                                                                  ROSEVILLE          MI   48066‐3108
MILBOCKER, MARY C                   3410 M32                                                                                                         ATLANTA            MI   49709
MILBOCKER, MARY CHRISTINE           3410 M32                                                                                                         ATLANTA            MI   49709
MILBOURN BRUCE                      7660 BUCKWOOD DR                                                                                                 SMITHVILLE         MO   64089‐8596
MILBOURN, BRUCE L                   7660 BUCKWOOD DR                                                                                                 SMITHVILLE         MO   64089‐8596
MILBOURN, CHARLES C                 5785 S CLINTON TRL                                                                                               EATON RAPIDS       MI   48827‐8919
MILBOURN, CHARLES R                 RR 2                                                                                                             RUSHVILLE          IN   46173
MILBOURN, DELBERT L                 1706 7TH AVE                                                                                                     SAINT JOSEPH       MO   64505‐1804
MILBOURN, RONALD L                  15608 POPLAR ST                                                                                                  BASEHOR            KS   66007‐9702
MILBOURN, TERRY L                   5785 S CLINTON TRL                                                                                               EATON RAPIDS       MI   48827‐8919
MILBOURN, TERRY LEE                 5785 S CLINTON TRL                                                                                               EATON RAPIDS       MI   48827‐8919
MILBOURNE LORI                      5288 BENJAMIN DR                                                                                                 CHARLOTTE          MI   48813‐7330
MILBOURNE, LORI L                   5288 BENJAMIN DR                                                                                                 CHARLOTTE          MI   48813‐7330
MILBOURNE, RONALD L                 1314 S SHORE DR                                                                                                  TAVARES            FL   32778‐4220
MILBOWER JR, FRANCIS J              8555 CHARLESTON CREEK DR                                                                                         MASON              OH   45040‐8519
MILBRA SAMPLE                       1135 E SCENIC ST                                                                                                 APACHE JUNCTION    AZ   85219‐4131
MILBRAND, GARY J                    1240 PENORA ST                                                                                                   DEPEW              NY   14043‐4511
MILBRANDT JR, CLIFFORD A            3565 S HEMLOCK RD                                                                                                HEMLOCK            MI   48626‐9785
MILBRANDT, BRUCE M                  7 WHITE TAIL WAY # A                                                                                             NORWALK            OH   44857‐2802
MILBRANDT, CARLTON A                18272 BLUE HERON POINTE DR                                                                                       NORTHVILLE         MI   48168‐9259
MILBRANDT, DALE A                   9030 GREENWAY BLVD APT D58                                                                                       SAGINAW            MI   48609‐6731
MILBRANDT, JIMMY A                  4235 PRAIRIE FOX DR                                                                                              JANESVILLE         WI   53546‐3401
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Name                       Address1                           Address2              Address3       Address4         City            State Zip
MILBRANDT, ROBERT D        1561 SAUK LN                                                                             SAGINAW          MI 48638‐5541
MILBRANDT, TOM O           4760 ASHWOOD DR W                                                                        SAGINAW          MI 48603‐4210
MILBRATH, RAY C            668 RIDGECREST DR                                                                        FENTON           MI 48430‐4153
MILBREATH GREG             47937 JEFFERSON AVE                                                                      CHESTERFIELD     MI 48047‐2221
MILBREATH, GREGORY C       47937 JEFFERSON AVE                                                                      CHESTERFIELD     MI 48047‐2221
MILBREATH, HERMAN C        60371 APACHE LN                                                                          WASHINGTON       MI 48094‐2005
MILBRIA ANGLIN             PO BOX 174                                                                               WELEETKA         OK 74880‐0174
MILBRY, W. K               4070 BUCKLEIGH WAY                                                                       TROTWOOD         OH 45426‐2314
MILBURN BEN                15992 EDWARDSVILLE RD                                                                    WINNEBAGO         IL 61088‐9213
MILBURN BROWN              4005 ELIZABETH LAKE RD                                                                   WATERFORD        MI 48328‐2909
MILBURN COMPANY            520 BELLEVUE ST                                                                          DETROIT          MI 48207‐3733
MILBURN DAVIS              5909 S STEVE AVE                                                                         OKLAHOMA CITY    OK 73129‐9259
MILBURN DECKER             17239 HIGHWAY 196                                                                        NANCY            KY 42544‐4417
MILBURN DONATHAN           22512 WEST RD APT 204                                                                    WOODHAVEN        MI 48183‐3141
MILBURN DOSENBERRY         2429 LINDA AVE SE                                                                        GRAND RAPIDS     MI 49546‐6732
MILBURN JR, DENNIS D       14466 MONTLE RD                                                                          CLIO             MI 48420‐7928
MILBURN JR, DENNIS DUANE   14466 MONTLE RD                                                                          CLIO             MI 48420‐7928
MILBURN LONG               927 PIERCE RD                                                                            LANSING          MI 48910‐5272
MILBURN LONG               29189 BOWMAN RD                                                                          DEFIANCE         OH 43512‐8980
MILBURN MASON              25769 WESTWOOD RD                                                                        WESTLAKE         OH 44145‐4721
MILBURN THOMAS             6770 N MICHIGAN RD                 C/O DENNIS N THOMAS                                   FAIRLAND         IN 46126‐9425
MILBURN TURNER JR          29107 SE OUTER RD                                                                        HARRISONVILLE    MO 64701‐6328
MILBURN, ARTHUR            1751 E OHIO PIKE LOT 221                                                                 AMELIA           OH 45102‐2069
MILBURN, BRUCE A           3505 CHURCH DR                                                                           ANDERSON         IN 46013‐2251
MILBURN, CARL E            4805 SPRING RIDGE DR                                                                     COLUMBUS         GA 31909‐2024
MILBURN, CAROL L           16532 MILLWOOD PL                                                                        TYLER            TX 75703‐7334
MILBURN, CARY E            2442 BETTY LN                                                                            FLINT            MI 48507‐3535
MILBURN, CLAUDE E          18334 MANSFIELD RD                                                                       KEEDYSVILLE      MD 21756‐1122
MILBURN, DAVID E           869 JOSHUA DR                                                                            HIGHLAND         MI 48356‐2961
MILBURN, DAVID M           4201 S FALCON DR                                                                         BLOOMINGTON      IN 47403‐9048
MILBURN, DENNIS D          8111 LEWIS RD                                                                            BIRCH RUN        MI 48415‐9603
MILBURN, DENNIS D          8258 PIEDMONT ST                                                                         DETROIT          MI 48228‐3020
MILBURN, DENNIS R          5977 W 100 S                                                                             ANDERSON         IN 46011‐8742
MILBURN, ENID H            5725 W 550 N                                                                             SHARPSVILLE      IN 46068‐9305
MILBURN, FRANK L           8706 STORRINGTON CT                                                                      LOUISVILLE       KY 40222‐5337
MILBURN, GARNET M          91 WELLSPRING DRIVE                                                                      CONWAY           SC 29526‐9526
MILBURN, HENRY W           5940 S 600 E                                                                             CUTLER           IN 46920‐9445
MILBURN, IDA M             2744 EASTLAND DR                                                                         GRAND PRAIRIE    TX 75052‐0738
MILBURN, INEZ H            204 STAUDT DRIVE                                                                         UNION CITY       IN 47390‐9488
MILBURN, IVAN R            1013 MCARTHUR AVENUE                                                                     LEHIGH ACRES     FL 33972‐3513
MILBURN, KAY A             200 CEMENT AVE                                                                           SANDUSKY         OH 44870‐1705
MILBURN, KEITH E           4603 PUMPKIN VINE DR                                                                     KOKOMO           IN 46902‐2822
MILBURN, KENT H            PO BOX 64                                                                                RUSSIAVILLE      IN 46979‐0064
MILBURN, KURT M            9 TINSBURY                                                                               MATTOON           IL 61938‐9381
MILBURN, LEONARD G         5714 FENWICK PL                                                                          CLARKSTON        MI 48348‐4718
MILBURN, MICHAEL D         4450 EDMUND ST                                                                           WAYNE            MI 48184‐2159
MILBURN, NANCY L           4603 PUMPKIN VINE DR                                                                     KOKOMO           IN 46902‐2822
MILBURN, RICHARD L         230 ASPEN WAY                                                                            NOBLESVILLE      IN 46062‐9170
MILBURN, RYAN A            211 SURREY HL                                                                            NOBLESVILLE      IN 46062‐9047
MILBURN, THOMAS J          16532 MILLWOOD PL                                                                        TYLER            TX 75703‐7334
MILBURN, VIRGINIA R        PO BOX 93                                                                                LAGRANGE         OH 44050‐0093
MILBURN, WILLIAM E         4212 DOWNERS DR                                                                          DOWNERS GROVE     IL 60515‐1853
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Name                         Address1                        Address2                     Address3   Address4               City               State Zip
MILBURN, WILLIAM L           5725 W 550 N                                                                                   SHARPSVILLE         IN 46068‐9305
MILBURN, WILLIS L            PO BOX 56                                                                                      MIDDLETOWN          IN 47356‐0056
MILBURNE HAMILTON            11791 68TH AVE                                                                                 SEMINOLE            FL 33772‐6104
MILBURY, J T                 PO BOX 83                                                                                      TARRYTOWN           NY 10591‐0083
MILBURY, TODD A              9414 TUBA COURT                                                                                VIENNA              VA 22182‐1647
MILBY JALAL                  MILBY, JALAL                    21900 BURBANK BLVD FL 3                                        WOODLAND HILLS      CA 91367‐7418
MILBY JR, HARRY              1044 LINWOOD DR                                                                                TROY                OH 45373‐1810
MILBY JR, JAMES B            3975 PORT AUSTIN RD                                                                            CASEVILLE           MI 48725‐9790
MILBY SR, DONALD R           6772 NANCY AVE                                                                                 CELINA              OH 45822‐9268
MILBY TODD                   MILBY, TODD                     1235 N HARBOR BLVD STE 115                                     FULLERTON           CA 92832‐1323
MILBY, DENISE                4809 CAMBRIDGE DR APT B         C/O DONNA SHANLEY                                              LOCKPORT            NY 14094‐3450
MILBY, DENISE                C/O DONNA SHANLEY               4809 B CAMBRIDGE DR                                            LOCKPORT            NY 14094
MILBY, HERBERT J             4796 ARCHMORE DRIVE                                                                            KETTERING           OH 45440‐1835
MILBY, JAHAL S               10511 LINDLEY AVE UNIT 5                                                                       PORTER RANCH        CA 91326
MILBY, JALAL                 FREEMAN & FREEMAN LLP           21900 BURBANK BLVD FL 3                                        WOODLAND HILLS      CA 91367‐7418
MILBY, MARY G                1044 LINWOOD DR                                                                                TROY                OH 45373‐1810
MILBY, RONNIE G              PO BOX 573                                                                                     WAYNESVILLE         OH 45068‐0573
MILBY, RONNIE G              1393 IRVIN RD                                                                                  BLANCHESTER         OH 45107
MILBY, ROSELLA M             317 ARCHER DR                                                                                  FAIRBORN            OH 45324‐5109
MILBY, TODD                  LEONARD, G THOMAS               1235 N HARBOR BLVD STE 115                                     FULLERTON           CA 92832‐1323
MILCETIC DONNA               96 WASHINGTON AVE                                                                              GARDEN CITY         NY 11530‐4626
MILCHEN SR, ANDREW P         712 SANDALWOOD DR                                                                              ELYRIA              OH 44035
MILCHEN, ANNA                118 KENDALL DR E                                                                               EAST SYRACUSE       NY 13057‐2628
MILCIADES CEDENO             924 HOLTEN ST                                                                                  LANSING             MI 48915‐2012
MILCIK, PAUL                 525 SOPHEE LN                                                                                  LAKEWOOD            NJ 08701‐6245
MILCO MANUFACTURING CO       2147 E 10 MILE RD                                                                              WARREN              MI 48091‐3784
MILCO MFG CO                 2147 E 10 MILE RD                                                                              WARREN              MI 48091‐3784
MILCZAK, DOUGLAS M           3988 EDGEWOOD ST                                                                               DEARBORN HEIGHTS    MI 48125‐3224
MILCZARSKI JR, EUGENE        35595 COURT RIDGE CT                                                                           FARMINGTON HILLS    MI 48335‐5815
MILCZARSKI, RICHARD W        8015 FRONTIER AVE                                                                              NIAGARA FALLS       NY 14304‐3315
MILCZYNSKI, CLARA E          13688 VILLA POINTE                                                                             WARREN              MI 48088‐6669
MILDA BLOME                  850 KENTSHIRE DR                                                                               CENTERVILLE         OH 45459‐2328
MILDA DAMBRANS               JURMALA 15 SAULES IELA 11‐1     SAULES IELA 11‐1                        LATVIA SSR FA LATVIA
MILDA ECHELLE                12537 VILLAGE LN                                                                               OKLAHOMA CITY      OK   73170‐3413
MILDA ESTES                  1736 KINGWOOD CT                                                                               ASHLAND            OH   44805‐3694
MILDA KAIMINS                174 SIMS CREEK LN                                                                              JUPITER            FL   33458‐7984
MILDA LYNCH                  602 S MAIN ST #538                                                                             CRESTVIEW          FL   32536
MILDA PUTNINS                12830 DEER PATH LN              C/O SILVIJA ROWE                                               HARTLAND           MI   48353‐3014
MILDE, TINA M                5510 PUNKINTOWN RD                                                                             DOUGLASVILLE       GA   30135
MILDENBERGER MOTORS          1717 N 1ST ST                                                                                  HAMILTON           MT   59840‐3112
MILDENBERGER MOTORS
MILDENBERGER MOTORS, INC     BRADLEY MILDENBERGER            1717 N 1ST ST                                                  HAMILTON           MT   59840‐3112
MILDENBERGER, LOUIS E        5443 FERN DR                                                                                   TOLEDO             OH   43613‐1927
MILDENBERGER, LOUIS EDWARD   5443 FERN DR                                                                                   TOLEDO             OH   43613‐1927
MILDIE LIPPS                 PO BOX 508                                                                                     PEEBLES            OH   45660‐0508
MILDIE M LIPPS               PO BOX 508                                                                                     PEEBLES            OH   45660‐0508
MILDIE M LIPPS               P.O. BOX 508                                                                                   PEEBLES            OH   45660‐0508
MILDON, WENDEL R             3460 147TH ST                                                                                  TOLEDO             OH   43611‐2519
MILDRED A BLANTON            342 RIDGELEA RD                                                                                JACKSON            MS   39272
MILDRED A BROWNE             117 BENNINGTON DR                                                                              SYRACUSE           NY   13205‐1810
MILDRED A BUCKNER            680 FOX AVE                                                                                    YPSILANTI          MI   48198‐6148
MILDRED A FREEMAN            965 POINTVIEW CIR                                                                              MOUNT JULIET       TN   37122
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Name                   Address1                         Address2                     Address3   Address4         City                 State Zip
MILDRED A HAMM         PO BOX 23391                                                                              DETROIT               MI 48223‐0391
MILDRED A LINEBERG     PO BOX 1265                                                                               BERRYVILLE            VA 22611‐8265
MILDRED A MOWERY       2142 EDWARDS RD                                                                           GROVE CITY            OH 43123
MILDRED A RUZICH       109 LAFAYETTE RD                                                                          FORDS                 NJ 08863‐1013
MILDRED ACKER          16494 27 MILE RD                                                                          RAY                   MI 48096‐3412
MILDRED ADAMS          18615 WARRINGTON DR                                                                       DETROIT               MI 48221‐2271
MILDRED ADAMS          6969 MATHER ST                                                                            WATERFORD             MI 48327‐3851
MILDRED ADAMS          161 HOPE AVE                                                                              SYRACUSE              NY 13205‐1604
MILDRED ADKINS         6764 HARDING ST                                                                           TAYLOR                MI 48180‐1826
MILDRED ADUSKY         925 RED CLOVER AVE               C/O BRENDA MARTIN                                        BOWLING GREEN         KY 42101‐7522
MILDRED ALBERT‐WOODS   20631 MOROSS RD                                                                           DETROIT               MI 48224‐1241
MILDRED ALEXANDER      519 ALBEE FARM RD APT 217                                                                 VENICE                FL 34285‐6210
MILDRED ALFORD         C/O BRAYTON PURCELL              222 RUSH LANDING ROAD                                    NOVATO                CA 94948‐6169
MILDRED ALFORD         50 E HORTON RD                                                                            KIRKLIN               IN 46050‐9568
MILDRED ALLABAUGH      2716 W GERMAN RD                                                                          BAY CITY              MI 48708‐4907
MILDRED ALLEMAN        7204 WAGONWHEEL RD                                                                        FORT WORTH            TX 76133‐8169
MILDRED ALLEN          BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.           OH 44236
MILDRED ALLREAD        4770 ASTON GARDENS WAY APT 107                                                            NAPLES                FL 34109‐3589
MILDRED ALLWOOD        24041 BLACKSTONE ST                                                                       OAK PARK              MI 48237‐2056
MILDRED AMEY           3887 LIBERTY ELLERTON RD                                                                  DAYTON                OH 45417‐5348
MILDRED ANDERSON       2610 HOMEWOOD DR                                                                          LORAIN                OH 44055‐2252
MILDRED ANDERSON       5652 GENESEE AVE                 P.O BOX 213                                              OTTER LAKE            MI 48464‐1000
MILDRED ANDERSON       522 LEISURE ACRES ST                                                                      SPARTA                MI 49345‐1556
MILDRED ANDERSON       5584 OAKLAND DR                                                                           GLENNIE               MI 48737‐9563
MILDRED ANNARELLI      603 S STREEPER ST                                                                         BALTIMORE             MD 21224‐3831
MILDRED ANTHONY        22584 HESSEL AVE                                                                          DETROIT               MI 48219‐1160
MILDRED ANTOLINI       3153 NEWTON TOMLINSON RD SW                                                               WARREN                OH 44481‐9273
MILDRED ARNDT          24404 MARY ST                                                                             TAYLOR                MI 48180‐2174
MILDRED ARNETT         3514 MELODY LN E                                                                          KOKOMO                IN 46902‐3982
MILDRED ARNOLD         2457 CORNER SHOALS DR                                                                     DECATUR               GA 30034‐1224
MILDRED ARTIS          45 W 139TH ST APT 8N                                                                      NEW YORK              NY 10037‐1407
MILDRED ARTMAN         21C HUNTERS WOODS BLVD                                                                    CANFIELD              OH 44406‐8783
MILDRED AUSBURN        15 THOMPSON RD                                                                            TIFTON                GA 31793‐6649
MILDRED B CARPENTER    264 STEWART STREET N.W.                                                                   WARREN                OH 44483‐2067
MILDRED BACK           150 N PLEASANT VALLEY AVE                                                                 DAYTON                OH 45404‐2426
MILDRED BADANJEK       744 MALONEY ST                                                                            OXFORD                MI 48371‐4561
MILDRED BADGLEY        2256 E WHIPP RD                                                                           KETTERING             OH 45440‐2617
MILDRED BADYNA         26117 CUBBERNESS ST                                                                       SAINT CLAIR SHORES    MI 48081‐3314
MILDRED BAILEY         11021 S.COUNTY 650 E.                                                                     CLOVERDALE            IN 46120
MILDRED BAILEY         821 MUNDELL CHURCH RD                                                                     HELTONVILLE           IN 47436‐8747
MILDRED BAIR           2743 EL CAMINO DR APT C                                                                   MIDDLETOWN            OH 45044‐7138
MILDRED BAIRD          1691 WARWICK ST                                                                           SYLVAN LAKE           MI 48320‐1551
MILDRED BAKER          706 NORTH MAIN STREET                                                                     FARMLAND              IN 47340‐9421
MILDRED BALCOM         1513 SE HENRY ST                                                                          PORTLAND              OR 97202‐5515
MILDRED BALDWIN        3280 ABBINGTON ST                                                                         JACKSON               MI 49201‐9009
MILDRED BALIUS         2409 HICKORY HILLS CIR                                                                    BILOXI                MS 39532‐3007
MILDRED BALLOR         2944 S MACKINAW RD                                                                        KAWKAWLIN             MI 48631‐9117
MILDRED BAMBERG        108 BOWDOIN ST                                                                            MINEOLA               TX 75773‐1208
MILDRED BANGLE         261 HIGHWAY DR                                                                            MARION                IN 46953‐6309
MILDRED BANKS          7626 HORIZON HILL DR                                                                      SPRINGBORO            OH 45066‐9733
MILDRED BANKS          3552 WALLACE AVE                                                                          INDIANAPOLIS          IN 46218‐1661
MILDRED BANKS          PO BOX 5102                                                                               FLINT                 MI 48505‐0102
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Name                              Address1                      Address2                     Address3   Address4         City                 State Zip
MILDRED BARBARA SANTOPOLO TRUST   JOHN SANTOPOLO TTEE           1570 STEVENSON RD                                        HEWLETT               NY 11557

MILDRED BARITOT                   47 OUTLOOK DR                                                                          ROCHESTER            NY   14622‐1643
MILDRED BARNETT                   213 SANDERSON DR                                                                       DAYTON               OH   45459‐1908
MILDRED BARR                      7114 COMANCHE TRAIL H B                                                                WEATHERFORD          TX   76087
MILDRED BARRINGER                 261 GREEN VALLEY RD                                                                    FLINT                MI   48506‐5320
MILDRED BARTON                    7316 MAGILL RD                                                                         CASTALIA             OH   44824‐9303
MILDRED BASHORE                   4723 HARTEL RD LOT 36                                                                  POTTERVILLE          MI   48876‐9725
MILDRED BASTIEN                   3240 W STEIN RD                                                                        LA SALLE             MI   48145‐9602
MILDRED BATTAGLIA                 39538 VILLAGE RUN DR                                                                   NORTHVILLE           MI   48168‐3480
MILDRED BATTLE                    1817 SPRINGFIELD ST                                                                    FLINT                MI   48503‐4579
MILDRED BAUER                     5420 WHITE CREEK RD                                                                    MARLETTE             MI   48453‐9622
MILDRED BEAVER                    7637 ROSEWOOD DRIVE                                                                    BLANCHESTER          OH   45107‐1521
MILDRED BECK                      3141 DAVENPORT AVE APT 6                                                               SAGINAW              MI   48602‐3454
MILDRED BECKWITH                  1600 W DILL RD                                                                         DE WITT              MI   48820‐9316
MILDRED BEECH                     4887 E STRANGE HWY                                                                     GRAND LEDGE          MI   48837‐9481
MILDRED BEGLEY                    5123 RUCKS RD                                                                          DAYTON               OH   45427‐2120
MILDRED BELL                      19 RAVEN WOOD                                                                          ROCHESTER            NY   14624
MILDRED BELL                      5555 E COLBY ST                                                                        MESA                 AZ   85205
MILDRED BELLEFEUIL                5765 SAVOY DR                                                                          WATERFORD            MI   48327‐2668
MILDRED BEMISH                    9252 N 400 E                                                                           ALEXANDRIA           IN   46001‐8185
MILDRED BENEDICT                  101 NICHOLS ST                                                                         LOCKPORT             NY   14094‐4863
MILDRED BENNETT                   3910 HILLTOP DR                                                                        COOKEVILLE           TN   38506‐6644
MILDRED BENUZZI                   11741 OAKDALE ST                                                                       YUKON                OK   73099‐6609
MILDRED BERGQUIST                 55 FULTON ST. APT. #8 E                                                                MIDDLETOWN           NY   10940
MILDRED BERRY                     PO BOX 5306                                                                            PLANT CITY           FL   33563‐0041
MILDRED BERRY                     5419 N RODGERS AVE                                                                     HARRISON             MI   48625‐9680
MILDRED BIGELOW                   7423 DE SOTO AVE                                                                       CANOGA PARK          CA   91303‐1429
MILDRED BILICK                    6628 FERNHURST AVE                                                                     PARMA HEIGHTS        OH   44130‐3601
MILDRED BISHOP                    243 WILLIAM ST                                                                         BUFFALO              NY   14204‐1405
MILDRED BISHOP                    6125 PINE MEADOWS DRIVE                                                                LOVELAND             OH   45140‐6558
MILDRED BLACK                     900 LONG BLVD APT 548                                                                  LANSING              MI   48911‐6763
MILDRED BLACKBURN                 5131 SIMPSON LN                                                                        COLUMBIA             TN   38401‐9551
MILDRED BLAISDELL                 715 SKYNOB DR                                                                          ANN ARBOR            MI   48105‐2598
MILDRED BLAKLEY                   255 BUCK CREEK RD                                                                      CUMBERLAND           IN   46229‐3268
MILDRED BLAND                     40 LAWNDALE DR                                                                         SMYRNA               DE   19977‐1843
MILDRED BLIVEN                    16175 JOHN MORRIS ROAD        #104                                                     FORT MYERS           FL   33908
MILDRED BOCEK                     ONE CUSTOMS HOUSE SUITE 560                                                            WILMINGTON           DE   19899
MILDRED BOHUCKI                   5520 TAMBERLANE CIR APT 312                                                            PALM BEACH GARDENS   FL   33418‐3825
MILDRED BONACCI                   7 LACROIX COURT DR APT K                                                               ROCHESTER            NY   14609‐1533
MILDRED BORDWINE                  2204 JEFFERSON AVE APT 10                                                              NORWOOD              OH   45212‐3242
MILDRED BORIS                     6815 PITTS BLVD                                                                        N RIDGEVILLE         OH   44039‐3123
MILDRED BORTON                    1761 W RIDGE RD                                                                        BAY CITY             MI   48708‐9182
MILDRED BORZA                     1141 PARKWAY AVE                                                                       EWING                NJ   08628‐3014
MILDRED BOTTOM                    2372 15 MILE RD               CHERRY WOOD NURSING CENTER                               STERLING HEIGHTS     MI   48310‐4811
MILDRED BOURASSA                  7665 LAKEVIEW DRIVE                                                                    PUEBLO               CO   81005‐9760
MILDRED BOURISAW                  20578 N STATE HIGHWAY 21                                                               CADET                MO   63630‐9575
MILDRED BOUTWELL                  9900 SELTZER ST                                                                        LIVONIA              MI   48150‐3290
MILDRED BOWEN                     4350 KUERBITZ DR                                                                       BAY CITY             MI   48706‐2224
MILDRED BOWLING                   20510 GENTZ RD                                                                         BELLEVILLE           MI   48111‐9654
MILDRED BOWSER                    96 CATHERINE CT                                                                        GERMANTOWN           OH   45327‐9304
MILDRED BOYCE                     715 COUNTRY PINES DR SW                                                                WARREN               OH   44481‐9674
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Name                    Address1                        Address2                          Address3   Address4                  City              State Zip
MILDRED BRADSHAW        999 BALMER ROAD                                                                                        YOUNGSTOWN         NY 14174
MILDRED BRADY           8063 TANAGER OVAL                                                                                      BRECKSVILLE        OH 44141‐1429
MILDRED BRAKE           2466 COLUMBUS DR W                                                                                     HAMILTON           OH 45013‐4254
MILDRED BRAXDALE        PO BOX 28                                                                                              WELLINGTON         MO 64097‐0028
MILDRED BREWER          3692 MAPLE FORGE LN                                                                                    GAINESVILLE        GA 30504‐5766
MILDRED BREWER          3648 RUSSELL BLVD APT A                                                                                SAINT LOUIS        MO 63110‐3706
MILDRED BRINEGAR        45 SUGAR HOLLOW SPUR                                                                                   IRVINE             KY 40336‐8000
MILDRED BRINEGAR        2357 MILLVILLE AVE                                                                                     HAMILTON           OH 45013‐4207
MILDRED BRNILOVICH      702 PARK AVE                                                                                           MOUNT PLEASANT     PA 15666‐1230
MILDRED BROCK           PO BOX 143                                                                                             JASPER             AR 72641‐0143
MILDRED BRODNAX         2905 BETHANY CHURCH RD                                                                                 SNELLVILLE         GA 30039‐5968
MILDRED BROUGHTON       3472 HAMILTON MASON RD          GLEN MEADOWS                                                           HAMILTON           OH 45011‐5437
MILDRED BROUSSARD       8315 WILEYVALE RD                                                                                      HOUSTON            TX 77016‐5819
MILDRED BROWN           3012 SHERWOOD DR                                                                                       KOKOMO             IN 46902‐4528
MILDRED BROWN           31 WOODLAND AVE                                                                                        CAMPBELL           OH 44405‐1039
MILDRED BROWN           12 RUPPERT CT                                                                                          FRANKLIN           OH 45005‐1152
MILDRED BROWN           PO BOX 364                                                                                             SIKESTON           MO 63801‐0364
MILDRED BROWN           1648 W 110TH ST                                                                                        LOS ANGELES        CA 90047‐4817
MILDRED BROWNE          117 BENNINGTON DR                                                                                      SYRACUSE           NY 13205‐1810
MILDRED BROWNING        28253 EDWARD AVE                                                                                       MADISON HEIGHTS    MI 48071‐2825
MILDRED BROYLES         926 E POST RD                                                                                          ANDERSON           IN 46012‐2704
MILDRED BRYANT          PO BOX 4013                                                                                            WARREN             OH 44482‐4013
MILDRED BRYANT          3853 MEMORY LN APT B                                                                                   ABINGDON           MD 21009‐2096
MILDRED BRYANT          201 SWANTON WAY                 C/O ANN J. HERRERA, CONSERVATOR                                        DECATUR            GA 30030‐3271

MILDRED BUBLITZ         12760 CIMARRON DR                                                                                      BIRCH RUN         MI   48415‐9315
MILDRED BUCHANAN        1296 WOLF RD                                                                                           W ALEXANDRIA      OH   45381‐8326
MILDRED BUCK            1211 GREENBRIAR DR                                                                                     ANDERSON          IN   46012‐4529
MILDRED BUDNICK         2020 MULDOON RD UNIT 114                                                                               ANCHORAGE         AK   99504‐3665
MILDRED BUGGS           4305 EAGLE LN                                                                                          BURTON            MI   48519‐1490
MILDRED BUKOVI          4485 LOCKWOOD BLVD                                                                                     YOUNGSTOWN        OH   44511‐3572
MILDRED BULLARD         2360 STANTON RD SE                                                                                     CONYERS           GA   30094‐2530
MILDRED BURDETTE        8414 ORCHARD KNOLL LN                                                                                  COLUMBUS          OH   43235‐3800
MILDRED BURGAN          527 WILLIAMS ST                                                                                        PAINESVILLE       OH   44077‐4320
MILDRED BURGESS         6333 N STATE RD                                                                                        DAVISON           MI   48423‐9366
MILDRED BURGESS         432 E CLARK ST                                                                                         DAVISON           MI   48423‐1821
MILDRED BURGIN          11766 AZALEA AVE                                                                                       FOUNTAIN VALLEY   CA   92708
MILDRED BURINK          1604 WILLOW BROOK DR NE                                                                                WARREN            OH   44483‐4652
MILDRED BURKE           198 DERBY RD                                                                 CRYSTAL BEACH ON L0S1B0
                                                                                                     CANADA
MILDRED BURNETTE        2561 ROSE CREEK RD                                                                                     FRANKLIN          NC   28734‐6076
MILDRED BURNS           PO BOX 201                                                                                             GASPORT           NY   14067‐0201
MILDRED BURTON          3240 ELMERS DR                                                                                         SAGINAW           MI   48601‐6915
MILDRED C FULLER        12901 BETH CT                                                                                          OKLAHOMA CITY     OK   73120‐1760
MILDRED C MARCHANT      101 BREMEN WAY                                                                                         MADISON           MS   39110‐6949
MILDRED C RICHARDSON    17 BENNETT DR                                                                                          VIENNA            OH   44473‐9512
MILDRED C THOMPSON      3016 EAST RAHN ROAD                                                                                    KETTERING         OH   45440‐2137
MILDRED CAGE            2814 E GENESEE AVE APT 214      C/O CHRISTINE BANKHEAD                                                 SAGINAW           MI   48601‐4049
MILDRED CAHILL          RR 1 BOX 94A                                                                                           LINDSIDE          WV   24951‐9612
MILDRED CAIN            6409 WILLOW BEND DR                                                                                    LANSING           MI   48917‐9750
MILDRED CALDWELL WEBB   703 AUBREY RD                                                                                          DOUGLAS           GA   31535‐7249
MILDRED CALHOUN         24 BEECHWOODE LN                                                                                       PONTIAC           MI   48340‐2200
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Name                  Address1                       Address2                Address3     Address4         City             State Zip
MILDRED CALLEJA       6357 MOUNTAIN VIEW RD                                                                TAYLORS           SC 29687‐6933
MILDRED CAMPBELL      416 WHITE FOREST LN                                                                  LIVINGSTON        TX 77351‐3288
MILDRED CANDOW        5043 BROOKSDALE RD                                                                   MENTOR            OH 44060‐1211
MILDRED CANTERBURY    1200 NAPOLEON RD                                                                     JACKSON           MI 49201‐9148
MILDRED CAREY         1550 YELLOWSTONE AVE TRLR 74                                                         POCATELLO         ID 83201‐4234
MILDRED CARLINGTON    36219 CANYON DR                                                                      WESTLAND          MI 48186‐4161
MILDRED CARLYSLE      3461 EVERGREEN PKWY                                                                  FLINT             MI 48503‐4581
MILDRED CARPENTER     264 STEWART AVE NW                                                                   WARREN            OH 44483‐2067
MILDRED CARROLL       585 NEWTON CALHOUN RD                                                                NEWTON            MS 39345‐9668
MILDRED CARSON        8327 HERRINGTON AVE NE         C/O JAN WATERWAY                                      BELMONT           MI 49306‐9776
MILDRED CARSON        364 N SHORE DR                                                                       CRYSTAL           MI 48818‐9745
MILDRED CARTER        6120 NW 27TH TER                                                                     GAINESVILLE       FL 32653‐1991
MILDRED CARTER        1060 BROAD ST APT 510                                                                NEWARK            NJ 07102‐2327
MILDRED CARTER        4156 LONDONDERRY DR                                                                  INDIANAPOLIS      IN 46221‐2935
MILDRED CARYER        PO BOX 152                                                                           NEY               OH 43549‐0152
MILDRED CASIERO       79 FRANKLIN TER                                                                      IRVINGTON         NJ 07111‐1351
MILDRED CASPER        19520 HOXEYVILLE RD                                                                  WELLSTON          MI 49689‐9583
MILDRED CASSELBERRY   2808 FOREST GROVE AVE                                                                DAYTON            OH 45406
MILDRED CASTLE        6994 BRAMBLE HILL DR                                                                 CINCINNATI        OH 45227‐3255
MILDRED CASTO         APT 305                        625 EAST WATER STREET                                 PENDLETON         IN 46064‐8532
MILDRED CATHEY        1939 OAKWOOD AVE                                                                     TOLEDO            OH 43607‐1521
MILDRED CELINA        14555 CHAMPAIGN RD APT 109                                                           ALLEN PARK        MI 48101‐1682
MILDRED CHANDLER      819 E 14TH ST                                                                        BENTON            KY 42025‐8431
MILDRED CHASE         11617 MARSH RD                                                                       SHELBYVILLE       MI 49344‐9627
MILDRED CHASE         531 MARION AVE                                                                       INTERLACHEN       FL 32148‐5103
MILDRED CHEPY         2603 W MOUNT HOPE AVE                                                                LANSING           MI 48911‐1662
MILDRED CHISHOLM      711 AUSTIN DR                                                                        FAIRLESS HILLS    PA 19030‐1325
MILDRED CHRISTENSEN   890 SHADY LN                                                                         FAIRFIELD         OH 45014‐2744
MILDRED CIARROCHI     209 WAE TRL                                                                          CORTLAND          OH 44410‐1643
MILDRED CIMINO        6148 W 63RD ST 2 E                                                                   CHICAGO            IL 60638
MILDRED CLABORN       1815 E 45TH ST                                                                       ANDERSON          IN 46013‐2525
MILDRED CLARK         162 MARCY CT                                                                         PONTIAC           MI 48340‐1652
MILDRED CLARK         200 JUNIPER AVE                                                                      BRODHEAD          WI 53520‐1047
MILDRED CLIFFORD      1520 CEDARWOOD DR APT 240                                                            FLUSHING          MI 48433‐1866
MILDRED CLIFTON       527 BARRY ST.                                                                        STROUDSBURG       PA 18360
MILDRED CLOUGH        1107 TACE DR APT 2D                                                                  BALTIMORE         MD 21221‐5985
MILDRED CLOW          5480 QUEENS HWY                                                                      PARMA             OH 44130‐1315
MILDRED COBURN        PO BOX 179                                                                           BARRYTON          MI 49305‐0179
MILDRED COCKRELL      250 S LEYDEN ST                                                                      DENVER            CO 80224‐1047
MILDRED COGGINS       PO BOX 27                                                                            GOODRICH          MI 48438‐0027
MILDRED COLE          233 AIRPORT RD                                                                       NEW CASTLE        DE 19720‐1538
MILDRED COLEMAN       428 N ENDERLY AVE                                                                    BROWNSBURG        IN 46112‐1176
MILDRED COLEMAN       526 W MCCLELLAN ST                                                                   FLINT             MI 48505‐4077
MILDRED COLEMAN       2475 BEAL STREET NORTHWEST                                                           WARREN            OH 44485‐1202
MILDRED COLLETTE      720 W 600 S                                                                          ATLANTA           IN 46031‐9352
MILDRED CONOVER       1592 SIX POINT COURT                                                                 WORTHINGTON       OH 43085
MILDRED CONRAN        5121 BRIDLE CREEK CT SE                                                              KENTWOOD          MI 49508‐4940
MILDRED COOK          3964 ED SEXTON DR                                                                    BLAIRSVILLE       GA 30512‐4717
MILDRED COOK          1701 N OHIO ST                                                                       KOKOMO            IN 46901‐2525
MILDRED COON          10271 FRANCES RD                                                                     OTISVILLE         MI 48463‐9410
MILDRED COURTNEY      39500 WARREN RD TRLR 46                                                              CANTON            MI 48187‐4343
MILDRED COVERDALE     304 E 11TH ST                                                                        LAPEL             IN 46051‐9512
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MILDRED COX          4181 CARMANWOOD DR                                                                      FLINT            MI 48507‐5503
MILDRED COX          43711 PROCTOR RD                                                                        CANTON           MI 48188
MILDRED COYNER       120 ACADIA CT APT 1                                                                     PRINCETON        NJ 08540‐7073
MILDRED CRAFT        5882 BELVIDERE ST                                                                       DETROIT          MI 48213‐3006
MILDRED CRAIN        404 COUNTY ROAD 5090                                                                    SALEM            MO 65560‐7868
MILDRED CRANDALL     406 N 1ST AVE                                                                           TAWAS CITY       MI 48763‐9395
MILDRED CRAWFORD     6173 MANTZ AVE                                                                          DAYTON           OH 45427‐1830
MILDRED CRAWFORD     6600 DURAND RD                                                                          NEW LOTHROP      MI 48460‐9744
MILDRED CRIDER       15765 US HIGHWAY 278 W                                                                  CULLMAN          AL 35057‐6111
MILDRED CRIDER       7420 DAYTON BRANDT RD                                                                   TIPP CITY        OH 45371‐8790
MILDRED CRISP        206 CAMPBELL ST                                                                         BAY CITY         MI 48708‐5413
MILDRED CROCKETT     317 N STETSON ST                                                                        ORLEANS          IN 47452‐9609
MILDRED CROFOOT      4627 N MISSION RD                                                                       ROSEBUSH         MI 48878‐8722
MILDRED CROMWELL     303 TECUMSEH ST                                                                         DUNDEE           MI 48131‐1061
MILDRED CROSBY       555 HUBBS RD                                                                            CAMDEN           TN 38320‐6814
MILDRED CROSS        3331 LINDENRIDGE DR                                                                     BUFORD           GA 30519‐7238
MILDRED CROY         227 E SOUTH H ST                                                                        GAS CITY         IN 46933‐1756
MILDRED CRUIKSHANK   4059 SE 38TH LOOP                                                                       OCALA            FL 34480‐4948
MILDRED CRUMRINE     14506 COUNTY ROAD C2                                                                    NEW BAVARIA      OH 43548‐9736
MILDRED CRUNKLETON   PO BOX 36                                                                               TURIN            GA 30289‐0036
MILDRED CUDNIK       30440 RUSH ST                                                                           GARDEN CITY      MI 48135‐2020
MILDRED CULBERSON    2509 MICHELLE ST                                                                        SAGINAW          MI 48601‐6628
MILDRED CUMMINGS     13320 HIGHWAY 99 APT 77                                                                 EVERETT          WA 98204
MILDRED CURTIS       2699 E 700 N                                                                            GREENFIELD       IN 46140‐9052
MILDRED CUSENZA      643 CLAY ST                                                                             CLIO             MI 48420‐1467
MILDRED CUTLER       204 OAK STREET                                                                          SHEBOYGAN FLS    WI 53085‐1239
MILDRED D BRYANT     P.O. BOX 4013                                                                           WARREN           OH 44482
MILDRED D SHOCKEY    2332 BONNIEVIEW AVE                                                                     DAYTON           OH 45431‐1904
MILDRED DALES        PO BOX 791                                                                              HILLSBORO        OH 45133‐0791
MILDRED DALZIEL      11089 DODGE RD                                                                          OTISVILLE        MI 48463‐9739
MILDRED DANIELSON    1477 W CASS AVE                                                                         FLINT            MI 48505‐1154
MILDRED DARBY        14319 FORRER ST                                                                         DETROIT          MI 48227‐2146
MILDRED DARCY        3339 CLIFFORD RD                                                                        SILVERWOOD       MI 48760‐9546
MILDRED DAUGHERTY    PO BOX 607                                                                              WARSAW           MO 65355
MILDRED DAUGHERTY    141 ORCHARD ST                                                                          NEWTON FALLS     OH 44444‐1508
MILDRED DAUGHTRY     614 HYDE PARK PL                                                                        SHREVEPORT       LA 71108‐6036
MILDRED DAVIS        4811 US 70                                                                              MEBANE           NC 27302‐8538
MILDRED DAVIS        2701 MEADOWVIEW DR                                                                      ARLINGTON        TX 76016‐1428
MILDRED DAVIS        3422 FERNCLIFF AVE                                                                      INDIANAPOLIS     IN 46227‐7039
MILDRED DAVIS        3041 COKER DR                                                                           KETTERING        OH 45440‐2147
MILDRED DAVIS        112 CONNOLLY DR                                                                         SAINT LOUIS      MO 63135‐1021
MILDRED DAWLEY       160 HUNTLEY DRIVE                                                                       COMMERCE TWP     MI 48390‐4061
MILDRED DE LAND      5393 W STATE ST                                                                         HOMOSASSA        FL 34446‐1540
MILDRED DEBNAR       1406 GORDON AVE                                                                         LANSING          MI 48910‐2613
MILDRED DEBONIS      818 ROEBLING AVE                                                                        TRENTON          NJ 08611‐1024
MILDRED DELANEY      155 OAK LN                                                                              BEDFORD          IN 47421‐9283
MILDRED DELEONE      506 LINCOLN AVE                                                                         WILLOW GROVE     PA 19090
MILDRED DEMERS       1235 SAN LUCAS DRIVE                                                                    BROOKFIELD       WI 53045‐3875
MILDRED DENNIS       5246 SW 53RD ST                                                                         TOPEKA           KS 66610‐9424
MILDRED DEPRIEST     105 N 5TH ST APT B                                                                      SIKESTON         MO 63801
MILDRED DESMETT      4127 SABIN DR                                                                           ROOTSTOWN        OH 44272‐9678
MILDRED DESOVICH     423 REED AVE                                                                            WINDSOR LOCKS    CT 06096‐1254
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Name                   Address1                        Address2            Address3         Address4                 City             State Zip
MILDRED DESTAFNEY      107 E KEYSTONE AVE                                                                            WILMINGTON        DE 19804‐2025
MILDRED DEVLIN         7867 CANTERBURY LN                                                                            NORTHVILLE        MI 48167‐8612
MILDRED DEVOE          1186 B HIGHWAY 17 E                                                  GARDEN RIVER ON P6A6Z5
                                                                                            CANADA
MILDRED DEVOR          8203 NIGHT HERON LN             C/O CHARLES DEVOR                                             PICKERINGTON     OH   43147‐8063
MILDRED DICKEY         3201 SUMAC RD SW APT 1                                                                        DECATUR          AL   35603‐1738
MILDRED DILLON         1556 SEABROOK RD                                                                              DAYTON           OH   45432‐3530
MILDRED DIMAIO         6103 RAINTREE TRL                                                                             FORT PIERCE      FL   34982‐7522
MILDRED DIMOND         600 W PARKWAY DR                                                                              CAMBRIDGE CITY   IN   47327‐1040
MILDRED DOBIS          6572 TAMARACK CT                                                                              TROY             MI   48098‐1929
MILDRED DOCKEMEYER     1812 N JAY ST                                                                                 KOKOMO           IN   46901‐2444
MILDRED DOLLISON       4411 DELAVAN AVE                                                                              KANSAS CITY      KS   66104‐1736
MILDRED DONAKOWSKI     705 ATRICE LN                   C/O BARBARA POLK                                              PLEASANT HILL    CA   94523‐3544
MILDRED DORSEY         1211 N WARMAN AVE                                                                             INDIANAPOLIS     IN   46222‐3057
MILDRED DRAGON         1027 CORONADO DR                                                                              ROCKLEDGE        FL   32955‐3357
MILDRED DRAKE          24061 ROSEWOOD ST                                                                             OAK PARK         MI   48237‐2270
MILDRED DROSTE         4156 S GRANGE RD                                                                              WESTPHALIA       MI   48894‐9257
MILDRED DUCKSON        4808 HAMLIN DR                                                                                DAYTON           OH   45414‐4708
MILDRED DUDLEY         2088 PARKTON RD                                                                               MOUNT MORRIS     MI   48458‐2650
MILDRED DUFF           4224 GLENDALE ST                                                                              DETROIT          MI   48238‐3212
MILDRED DUNAJ          4552 LAKE SUPERIOR DR                                                                         STANDISH         MI   48658‐9752
MILDRED DUNCAN         1101 E 21ST ST                                                                                MUNCIE           IN   47302‐5316
MILDRED DUNN           PO BOX 399                                                                                    ELKTON           MI   48731‐0399
MILDRED DUNN           PO BOX 129                                                                                    CADWELL          GA   31009‐0129
MILDRED DURKO          8 RIDGE ST                                                                                    SLEEPY HOLLOW    NY   10591‐1713
MILDRED E BANKS        7626 HORIZON HILL DR                                                                          SPRINGBORO       OH   45066‐9733
MILDRED E CORNETT      63 CLAYTON ROAD                                                                               FARMERSVILLE     OH   45325
MILDRED E ECHOLS       6125 DERBY RD                                                                                 DAYTON           OH   45418‐1503
MILDRED E ESCO         P O BOX 20862                                                                                 JACKSON          MS   39289
MILDRED E HAZELRIGG    4519 LONGFELLOW AVE                                                                           DAYTON           OH   45424‐5952
MILDRED E RUTHERFORD   PO BOX 320455                                                                                 FLINT            MI   48532‐0008
MILDRED E TURNER       905 WALTON AVENUE                                                                             DAYTON           OH   45407‐1334
MILDRED EASLEY         1483 SHEPHERD DR                                                                              DE SOTO          MO   63020‐2809
MILDRED EATON          3254 W 52ND ST                                                                                CLEVELAND        OH   44102‐5844
MILDRED EBERTING       607 SPRUCE AVE                                                                                LIBERTY          MO   64068‐3740
MILDRED EBRON          332 N DIBBLE AVE                                                                              LANSING          MI   48917‐2824
MILDRED ECHOLS         6125 DERBY RD                                                                                 DAYTON           OH   45418‐1503
MILDRED EDMONDSON      2815 LAKE SHORE PL APT 101                                                                    DAYTON           OH   45420‐1758
MILDRED EDWARDS        3312 RIVER PARK DR                                                                            ANDERSON         IN   46012‐4640
MILDRED EICHHORN       1717 E HAMILTON AVE                                                                           FLINT            MI   48506‐4401
MILDRED EICK           310 BUSH AVE                                                                                  GRAND BLANC      MI   48439‐1115
MILDRED EITNIEAR       630 S FOSTER AVE                                                                              LANSING          MI   48912‐3812
MILDRED ELLE           4870 WYATT DR                                                                                 POWDER SPGS      GA   30127‐4707
MILDRED ELLIOTT        129 CROSS AVE                                                                                 NEW CASTLE       DE   19720‐2001
MILDRED ELLIOTT        3032 W 43RD ST                                                                                CLEVELAND        OH   44113‐4815
MILDRED ELLIS          5676 BROADVIEW RD APT 114                                                                     PARMA            OH   44134‐1640
MILDRED ELLISON        8032 SIRRON ST                                                                                DETROIT          MI   48234‐3312
MILDRED ELLSWORTH      1201 RIVA RIDGE CT APT 133                                                                    GAHANNA          OH   43230‐8804
MILDRED ELWELL         404 WINTERSUN AVE                                                                             LADY LAKE        FL   32159‐4621
MILDRED ENGLAND        5917 MCCANN RD                                                                                LONGVIEW         TX   75605‐5801
MILDRED EOFF           111 SOUTH DR                                                                                  ROGERS           AR   72756‐9254
MILDRED ERLINE         3216 TAYLOR AVE                                                                               BALTIMORE        MD   21234‐6931
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Name                      Address1                        Address2            Address3         Address4              City            State Zip
MILDRED EVANS             4755 SOUTH DEAN ROAD                                                                       ITHACA           MI 48847‐9507
MILDRED EVANS             50 EVANS RD NW                                                                             RYDAL            GA 30171‐1013
MILDRED EVANS             69 EVANS TRL                                                                               DAWSONVILLE      GA 30534‐5930
MILDRED EVERSOLE          1614 BLUEBIRD DR                                                                           DAYTON           OH 45432‐2707
MILDRED EVERSON           213 TRADERS WAY                                                                            MARTINSBURG      WV 25401‐3092
MILDRED F EDMONDSON       2815 LAKE SHORE PLACE APT 101                                                              DAYTON           OH 45420‐1758
MILDRED F HOKE            1311 SURREY ROAD                                                                           VANDALIA         OH 45377‐1646
MILDRED F MOORE           5720 BOLTON BAY WAY                                                                        LAS VEGAS        NV 89149
MILDRED F SNYDER          980 WILMINTON AVE               APT 529                                                    DAYTON           OH 45420
MILDRED FARMER            3034 SE 10TH PL                                                                            CAPE CORAL       FL 33904‐3903
MILDRED FARROW            93 ALANS DR F13                                                                            FOWLERVILLE      MI 48836
MILDRED FEENEY            100 PAGE DRIVE                                                                             DEFIANCE         OH 43512‐9649
MILDRED FENTON            4172 SAN CLEMENTE AVE                                                PEACHLAND BC CANADA
                                                                                               V0H‐1X6
MILDRED FERTIG            6 CERES DR                                                                                 VIENNA          OH   44473‐9764
MILDRED FETTES            5469 POTTER RD                                                                             FLINT           MI   48506‐2239
MILDRED FEWLESS‐SALOMON   1314 ARREDONDO DR                                                                          THE VILLAGES    FL   32162‐0193
MILDRED FIELDS            1622 FOUNTAIN SQUARE DR                                                                    AUSTINTOWN      OH   44515‐4617
MILDRED FISHER            205 S CROSNO AVE                                                                           BONNIE          IL   62816‐1005
MILDRED FISHER            3289 BOWMAN RD                                                                             BAY CITY        MI   48706‐1766
MILDRED FLAGGS            29782 CARLYSLE ST                                                                          INKSTER         MI   48141‐2714
MILDRED FLANARY           1905 ELIZAVILLE RD                                                                         LEBANON         IN   46052‐1222
MILDRED FLANARY           626 E JERE WHITSON RD                                                                      COOKEVILLE      TN   38501‐1422
MILDRED FLECK             563 MARKLE AVE                                                                             PONTIAC         MI   48340‐3022
MILDRED FLETCHER          6165 LOOKOVER CT                                                                           TOLEDO          OH   43612‐4230
MILDRED FLYNN             630 HAWLEY DR                                                                              DANVILLE        IN   46122‐1158
MILDRED FLYNN             1277 SHERWAT CIR                                                                           MIAMISBURG      OH   45342‐6366
MILDRED FOOKES            1016 TOM OSBORNE RD                                                                        COLUMBIA        TN   38401‐6738
MILDRED FORSEE            827 BROADACRE AVE                                                                          CLAWSON         MI   48017‐1466
MILDRED FORTNER           11339 N WEBSTER RD                                                                         CLIO            MI   48420‐8235
MILDRED FOSTER            4721 ELZO LN                                                                               KETTERING       OH   45440‐2026
MILDRED FOX               8162 BRIARWOOD DR                                                                          BIRCH RUN       MI   48415‐8523
MILDRED FOX CUMMINGS      1630 SHERIDAN RD                                                                           WILMETTE        IL   60091
MILDRED FRANCES TAULBEE   228 S DIAMOND MILL RD                                                                      N LEBANON       OH   45345‐9144
MILDRED FRANCIS           532 AMES ST                                                                                ROCHESTER       NY   14606‐1208
MILDRED FRANK             1657 OSAGE CT                                                                              GROVE CITY      OH   43123‐9720
MILDRED FRANKLIN          645 NEWTON FALLS RD                                                                        DIAMOND         OH   44412‐9612
MILDRED FRASIER           1480 D ST                                                                                  BLAINE          WA   98230‐9117
MILDRED FRAZIER           1009 EASTCREST DR                                                                          GREENTOWN       IN   46936‐1612
MILDRED FREDERICK         8846 FAUST AVE                                                                             DETROIT         MI   48228‐1812
MILDRED FREEMAN           965 POINTVIEW CIR                                                                          MOUNT JULIET    TN   37122‐2224
MILDRED FRICK             385 NUTHATCH RD                                                                            ORTONVILLE      MI   48462‐8551
MILDRED FULLER            2 LATIMER ST                                                                               WILMINGTON      DE   19804‐2255
MILDRED FULLER            12901 BETH CT                                                                              OKLAHOMA CITY   OK   73120‐1760
MILDRED FUSSELL           25 BURNHAM RD SPC 21                                                                       OAK VIEW        CA   93022‐9344
MILDRED G DAVIS           2701 MEADOWVIEW DR                                                                         ARLINGTON       TX   76016‐1428
MILDRED G HILL            3617 TRAIL‐ON RD                                                                           DAYTON          OH   45439‐1151
MILDRED G LEWIS           4257 PATRICIA AVENUE                                                                       YOUNGSTOWN      OH   44511‐1046
MILDRED G OLESH           3810 N. WOODS COURT             APT #2                                                     WARREN          OH   44483‐4574
MILDRED GALBRAITH         PO BOX 462                                                                                 AU GRES         MI   48703‐0462
MILDRED GANT              1157 MANCHESTER DR                                                                         BROWNSBURG      IN   46112‐7704
MILDRED GARFIELD          12865 BIRCH RUN RD                                                                         BIRCH RUN       MI   48415‐9455
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Name                  Address1                       Address2                Address3     Address4         City           State Zip
MILDRED GARRISON      PO BOX 5461                                                                          GAINESVILLE     GA 30504‐0461
MILDRED GARY          10075 BANDY RD                                                                       NORTH BENTON    OH 44449‐9628
MILDRED GATES         701 W RIDGEWAY AVE                                                                   FLINT           MI 48505‐5136
MILDRED GAVIN         12580 WILDCAT COVE CIR                                                               ESTERO          FL 33928‐2088
MILDRED GENTRY        4406 MITCHELL BRIDGE RD NE                                                           DALTON          GA 30721‐6849
MILDRED GERDES        11385 HIGHWAY 70 N                                                                   CROSSVILLE      TN 38571‐7201
MILDRED GERLACH       2905 GHENT AVE                                                                       DAYTON          OH 45420
MILDRED GEROUX        9680 WILCOX DR                                                                       BELVIDERE        IL 61008‐8846
MILDRED GILBERT       475 SHIPS BRANCH RD                                                                  CLAY CITY       KY 40312‐9560
MILDRED GILLESPIE     2333 E 35TH ST                                                                       ANDERSON        IN 46013‐2202
MILDRED GLAPA         1272 COUNTY ROAD 65 APT 303                                                          EVERGREEN       CO 80439‐9673
MILDRED GLASSCOCK     5820 STUDENT ST                                                                      DAYTON          OH 45449‐2935
MILDRED GLICK         10971 STEVENS RD                                                                     DEFIANCE        OH 43512‐8706
MILDRED GLOWACKI      9605 DICE RD                                                                         FREELAND        MI 48623‐8862
MILDRED GLYNN         9742 ANDERSONVILLE RD                                                                CLARKSTON       MI 48346‐1705
MILDRED GOINS         325 E NEWALL ST                                                                      FLINT           MI 48505‐4685
MILDRED GOLDEN        375 W BRANNEN RD LOT 357                                                             LAKELAND        FL 33813‐2722
MILDRED GOLDER        1516 DIFFORD DR                                                                      NILES           OH 44446‐2844
MILDRED GOLDSBERRY    5165 PINE HILL DR                                                                    NOBLESVILLE     IN 46062‐6774
MILDRED GOODE         2313 WIGEON DR                                                                       LAFAYETTE       IN 47905‐4084
MILDRED GORDON        PO BOX 301                                                                           ALEXANDRIA      IN 46001‐0301
MILDRED GOREE         PO BOX 541                                                                           ATHENS          AL 35612‐0541
MILDRED GOYAK         5347 JASMINE LN                                                                      HILLIARD        OH 43026‐9668
MILDRED GRACIAS       3580 RIVERVIEW DR                                                                    SAGINAW         MI 48601‐9311
MILDRED GRAEF         5054 SEABREEZE DRIVE                                                                 SAN ANTONIO     TX 78220
MILDRED GRAVES        4370 WATERLOO ST                                                                     WATERFORD       MI 48329
MILDRED GRAY          1410 LAKE FOREST DR                                                                  FLINT           MI 48504‐1917
MILDRED GRAY          5011 SOUTHVIEW DR                                                                    ANDERSON        IN 46013‐4855
MILDRED GREEN         34 TERRACE DR                                                                        MONROE          LA 71202‐5833
MILDRED GREEN         12200 ROSELAWN ST                                                                    DETROIT         MI 48204‐5415
MILDRED GREEN         4600 CRACOW AVE                                                                      LYONS            IL 60534‐1630
MILDRED GREEN         5075 WYNDEMERE SQ                                                                    SWARTZ CREEK    MI 48473‐8891
MILDRED GREGORY       2113 N ROSEWOOD AVE                                                                  MUNCIE          IN 47304‐2365
MILDRED GRIFFIN       PO BOX 10442                                                                         CONWAY          AR 72034‐0006
MILDRED GRIFFIN       1725 ARBOR LN APT 312                                                                CREST HILL       IL 60403‐2105
MILDRED GRIGSBY       4413 POST DRIVE                                                                      FLINT           MI 48532‐2673
MILDRED GRIM‐BAKER    1750 CONOWINGO RD                                                                    RISING SUN      MD 21911‐1434
MILDRED GROVER        901 EDGEMONT AVE                                                                     GREENVILLE      SC 29617‐2856
MILDRED H KREMPASKY   1205 WESTOVER DR SE                                                                  WARREN          OH 44484‐2741
MILDRED H KRNACIK     11465 CANTERBURY DR                                                                  STERLING HTS    MI 48312
MILDRED H POLIVKA     1318 SALT SPRINGS RD.                                                                WARREN          OH 44481
MILDRED H SAYERS      220 E. MAIN ST                                                                       CORTLAND        OH 44410‐1224
MILDRED HAACK         3097 W DODGE RD                                                                      CLIO            MI 48420‐1936
MILDRED HADDAD        8333 HILLCREST RD                                                                    ROSCOMMON       MI 48653‐9582
MILDRED HALCOMB       10376 DEER RUN RD                                                                    POLAND          IN 47868‐7471
MILDRED HALL          3522 BURNSIDE RD               IN C/O JERRY SCHLOUD                                  NORTH BRANCH    MI 48461‐8125
MILDRED HALLORAN      7436 N BRAEBURN LN                                                                   GLENDALE        WI 53209‐2015
MILDRED HAM           11041 IVAN AVENUE                                                                    SAINT ANN       MO 63074‐2126
MILDRED HAMM          PO BOX 23391                                                                         DETROIT         MI 48223‐0391
MILDRED HAMPTON       200 PRAIRIE HEN LN                                                                   HAMPTON         GA 30228‐6032
MILDRED HANCOCK       APT 3                          524 WITHINGTON STREET                                 FERNDALE        MI 48220‐2904
MILDRED HANNER        1100 STRATH CLYDE WAY          C/O THERESA R KNIGHT                                  MCDONOUGH       GA 30253‐8747
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Name                Address1                             Address2                     Address3   Address4         City             State Zip
MILDRED HANSARD     2745 NAPA VLY                                                                                 CUMMING           GA 30041‐8028
MILDRED HANSEN      530 TINSMITH CT                                                                               TOMS RIVER        NJ 08753‐5929
MILDRED HARDY       2571 GUTHRIE AVENUE                                                                           DES MOINES         IA 50317‐3019
MILDRED HARPER      5628 CHAGRIN DRIVE                                                                            MENTOR ON THE     OH 44060‐2628
MILDRED HARRELL     19480 MARK TWAIN ST                                                                           DETROIT           MI 48235‐1915
MILDRED HARRIS      5451 MOORES RUN DR                                                                            BALTIMORE         MD 21206‐3702
MILDRED HARRIS      239 WESTWOOD DR                                                                               FOREST CITY       NC 28043‐2864
MILDRED HARRIS      RM 1304                              95 FRANKLIN STREET                                       BUFFALO           NY 14202‐3914
MILDRED HARRIS      1082 MYSTIC LN S                                                                              TROY              OH 45373‐1823
MILDRED HARRIS      714 MARIGOLD DR                                                                               CEDAR HILL        TX 75104‐2110
MILDRED HART        128 WINDING TRL                                                                               DIAMOND            IL 60416‐7093
MILDRED HARWOOD     1010 STATE RD 47 S.                                                                           CRAWFORDSVILLE    IN 47933
MILDRED HASKIN      3914 W 1400 S                                                                                 KOKOMO            IN 46901‐9422
MILDRED HASKINS     7970 E M 21                                                                                   CORUNNA           MI 48817‐9530
MILDRED HASTINGS    1266 KINGSWAY DR                                                                              CAPE GIRARDEAU    MO 63701‐3628
MILDRED HAUCK       213 EUCLID AVE                                                                                FAIRBORN          OH 45324‐3303
MILDRED HAVERLY     390‐CR1                                                                                       WESTERLO          NY 12193
MILDRED HAWKINS     122 PUBLIC SQ                                                                                 MEDINA            OH 44256‐2206
MILDRED HAWKINS     26601 COOLIDGE HWY                   C/O GUARDIAN CARE, INC                                   OAK PARK          MI 48237‐1135
MILDRED HAYDEN      8810 THOMAS MARION CT                                                                         INDIANAPOLIS      IN 46234‐9507
MILDRED HAZELRIGG   4519 LONGFELLOW AVE                                                                           DAYTON            OH 45424‐5952
MILDRED HEATER      1059 BROOKS ST                                                                                BATESVILLE        AR 72501‐3333
MILDRED HEATHERLY   1232 HOUSEL CRAFT RD                                                                          BRISTOLVILLE      OH 44402‐9603
MILDRED HECK        3331 SHANNON RD                                                                               BURTON            MI 48529‐1830
MILDRED HEINTZ      316 N MAIN ST                                                                                 EATON RAPIDS      MI 48827‐1034
MILDRED HEMINGWAY   3608 SPATTERDOCK LN                                                                           PORT ST LUCIE     FL 34952‐3161
MILDRED HENDERSON   210 CARR ST                                                                                   PONTIAC           MI 48342‐1608
MILDRED HENNIGHAN   PO BOX 957                                                                                    BRICK             NJ 08723‐0050
MILDRED HENRY       1165 N PERSHING AVE                                                                           INDIANAPOLIS      IN 46222‐3154
MILDRED HENSLEY     5533 HURLBUT ZONE 13                                                                          DETROIT           MI 48213
MILDRED HESCH       6484 TAYLOR ST                                                                                COLOMA            MI 49038‐9355
MILDRED HICKEY      2509 E CROSS ST                                                                               ANDERSON          IN 46012‐1913
MILDRED HICKMAN     575 SUMPTER RD APT 303                                                                        BELLEVILLE        MI 48111‐4955
MILDRED HICKS       1461 CENTER SPRING AVE                                                                        WAYNESVILLE       OH 45068‐8781
MILDRED HICKS       255 N LAUDERDALE ST APT 706                                                                   MEMPHIS           TN 38105‐3631
MILDRED HIESIGER    11753 CASTELLON CT                                                                            BOYNTON BEACH     FL 33437
MILDRED HIGGINS     637 E LORADO AVE                                                                              FLINT             MI 48505‐2168
MILDRED HIGH        704 DUDLEY ST                                                                                 BLANCHESTER       OH 45107‐1328
MILDRED HILDRETH    2195 S ORTONVILLE RD                                                                          ORTONVILLE        MI 48462‐8548
MILDRED HILL        5990 ESHBAUGH RD                                                                              DAYTON            OH 45418‐1724
MILDRED HILL        3617 TRAIL ON RD                                                                              MORAINE           OH 45439‐1151
MILDRED HILL        5990 ESHBAUGH ROAD                                                                            DAYTON            OH 45418‐1724
MILDRED HINDERER    11506 WINCHESTER RD                                                                           FORT WAYNE        IN 46819‐9786
MILDRED HINTON      282 HARRISON ST                                                                               LAPEER            MI 48446‐1834
MILDRED HLAVIN      5048 OAKRIDGE DR                                                                              N ROYALTON        OH 44133‐2031
MILDRED HOCKER      BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                               BOSTON HTS.       OH 44236
MILDRED HODGE       8365 E COUNTY ROAD 851 S                                                                      PLAINFIELD        IN 46168‐9110
MILDRED HOEVE       1006 LINCOLNSHIRE DR                                                                          SAINT JOHNS       MI 48879‐2416
MILDRED HOFER       111 N WASHINGTON ST                  C/O MELANIE CAMPBELL                                     CHESTERFIELD      IN 46017‐1143
MILDRED HOKE        1311 SURREY RD                                                                                VANDALIA          OH 45377‐1646
MILDRED HOLDEN      743 BIRCHWOOD DR                                                                              FLUSHING          MI 48433‐1332
MILDRED HONAKER     4976 PLAIN CITY GEORGESVILLE RD NE                                                            PLAIN CITY        OH 43064‐9523
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MILDRED HOOPER             8827 MARYGROVE DR                                                                     DETROIT                MI 48221‐2947
MILDRED HOPPER             912 NORTHLANE ST                                                                      DEFIANCE               OH 43512‐1419
MILDRED HOSAM              12637 MONICA ST                                                                       DETROIT                MI 48238‐3171
MILDRED HOSKINS            1354 OBANNONVILLE RD                                                                  LOVELAND               OH 45140‐9736
MILDRED HOUCHINS           333 LAUREL ST                                                                         SMITHS GROVE           KY 42171‐8112
MILDRED HOUCK              1200 CHRIS DR                                                                         BENTON                 AR 72015‐3223
MILDRED HRABOVSKY          1451 S RENAUD RD                                                                      GROSSE POINTE WOODS    MI 48236‐1764
MILDRED HUBBARD            28 LEE DR                       MURRAY MANOR                                          WILMINGTON             DE 19808‐4973
MILDRED HUDSON             320 MARION AVE                                                                        WATERFORD              MI 48328‐3230
MILDRED HUEY               104 SILVERS LN                                                                        PORTLAND               IN 47371‐3028
MILDRED HUFFMAN            1407 SKIPPER DR APT 430                                                               WATERFORD              MI 48327‐2496
MILDRED HUMPHRIES          3107 W RIVERVIEW AVE                                                                  DAYTON                 OH 45406‐4317
MILDRED HUNDLEY            3136 MASSENA ST                                                                       COMMERCE TWP           MI 48382‐4633
MILDRED HUNT               74 BIANACA RD                   APT# 49                                               BRISTOL                CT 06010
MILDRED HUNTER             1219 E MCCORK RD                                                                      IDLEWILD               MI 49642‐9693
MILDRED HUNTOON            1427 W SCOTT PL                                                                       INDEPENDENCE           MO 64052‐3134
MILDRED HURD               5155 KUSZMAUL AVE NW                                                                  WARREN                 OH 44483‐1256
MILDRED HURLEY             255 KIMBERLY LN                                                                       COUNCE                 TN 38326‐2894
MILDRED HUTCHINGS          1306 S 34TH ST                                                                        KANSAS CITY            KS 66106‐2008
MILDRED I FOSTER           4721 ELZO LN                                                                          KETTERING              OH 45440‐2026
MILDRED I STILES ‐         11191 BOX 131                                                                         ALVERDA                PA 15710
MILDRED ICARDO             1500 STRAWBERRY AVE.                                                                  ARROYO GRANDE          CA 93420
MILDRED IRELAND            39010 SCHOOL HOUSE RD                                                                 SALISBURY              MO 65281‐2133
MILDRED IRENE FORD SMITH   ACCT OF CHARLES LEE SMITH       276 FRANKLIN ST                                       ELM GROVE              LA 71051‐8652
MILDRED J ARNOLD           2457 CORNER SHOALS DR                                                                 DECATUR                GA 30034‐1224
MILDRED J BEGLEY           5123 RUCKS RD.                                                                        DAYTON                 OH 45427‐2120
MILDRED J GREATHOUSE       1238 PARKWOOD AVE                                                                     YPSILANTI              MI 48198‐5946
MILDRED J HEATHERLY        1232 HOUSEL CRAFT                                                                     BRISTOLVILLE           OH 44402‐9603
MILDRED J SPENCER          418 WOODLAWN AVE                                                                      YPSILANTI              MI 48198‐5917
MILDRED J THORPE           76 SYLVANIA RD                                                                        DAYTON                 OH 45440‐3238
MILDRED J WITHROW          38682 WHITE DR.                                                                       ZEPHYRHILLS            FL 33542
MILDRED JACCAUD            4889 STATE ROUTE 56                                                                   MECHANICSBURG          OH 43044‐9673
MILDRED JACKSON            2672 FAIRFIELD DR SW                                                                  MARIETTA               GA 30064‐3720
MILDRED JACKSON            9524 TUCKER RD                                                                        EATON RAPIDS           MI 48827‐9587
MILDRED JACKSON            4517 CRANFILL DR                                                                      DALLAS                 TX 75216‐7312
MILDRED JACKSON            461 CHADWICK LN                                                                       AUBURN                 AL 36832‐8365
MILDRED JACKSON            234 RAE AVENUE                                                                        MANSFIELD              OH 44903‐1441
MILDRED JACOBS             2891 IKE STONE RD NW                                                                  MONROE                 GA 30656‐4338
MILDRED JAMES              7 MASONIC DR APT 2C                                                                   SPRINGFIELD            OH 45504‐3679
MILDRED JANKOWSKE          5975 LAUR RD                                                                          NORTH BRANCH           MI 48461‐9780
MILDRED JARRARD            613 ROBERT JARRARD RD                                                                 CLEVELAND              GA 30528‐1670
MILDRED JASINSKI           4734 W MAPLE LEAF CIR                                                                 GREENFIELD             WI 53220‐2781
MILDRED JEFFERS            832 CHESTER ST                                                                        ANDERSON               IN 46012‐4326
MILDRED JEFFERSON          1551 DILL AVE APT 409                                                                 LINDEN                 NJ 07036‐1770
MILDRED JENKINS            2142 HURON AVE                                                                        SPRINGFIELD            OH 45505‐4774
MILDRED JENKINS            2834 FEATHERSTONE DR                                                                  HOLIDAY                FL 34691‐2627
MILDRED JENKINS            PO BOX 1164                                                                           ANTIOCH                TN 37011‐1164
MILDRED JESSE              5106 ROMAN DR                                                                         FERNCREEK              KY 40291
MILDRED JOHNS              196 CHARIOT DR                                                                        ANDERSON               IN 46013‐1086
MILDRED JOHNSON            7992 BRIARBROOK DR                                                                    YPSILANTI              MI 48197‐9447
MILDRED JOHNSON            11558 ARGENTINE RD              P O BOX 832                                           LINDEN                 MI 48451‐8528
MILDRED JOHNSON            6179 FLOWERDAY DR                                                                     MOUNT MORRIS           MI 48458‐2811
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Name                  Address1                         Address2                  Address3   Address4         City                   State Zip
MILDRED JOHNSON       2258 S COUNTY ROAD 1100 E                                                              PERU                    IN 46970‐8804
MILDRED JOHNSON       1420 S GRANT ST                                                                        LONGWOOD                FL 32750‐6515
MILDRED JOHNSON       116 E MOULTRIE CHSE                                                                    BLYTHEVILLE             AR 72315
MILDRED JOHNSON       904 BESSIE ST                                                                          FORT WORTH              TX 76104‐1530
MILDRED JOHNSON       318 SAVOY AVENUE                                                                       DAYTON                  OH 45449‐2039
MILDRED JOHNSON       1071 N WARREN                                                                          GARY                    IN 46403
MILDRED JOHNSON       2616 KNORR AVENUE                                                                      CINCINNATI              OH 45214‐1124
MILDRED JOHNSON       4118 SHEFFIELD BLVD                                                                    LANSING                 MI 48911‐1923
MILDRED JOLLIFFE      1030 N FOREST DR                                                                       KOKOMO                  IN 46901‐1860
MILDRED JONES         4502 SUNNYMEAD AVE                                                                     BURTON                  MI 48519‐1262
MILDRED JONES         4638 S STAR DR                                                                         MARION                  IN 46953‐7302
MILDRED JONES         3505 RANGELEY ST APT 1                                                                 FLINT                   MI 48503
MILDRED JOSLIN        1866 E M 21                                                                            OWOSSO                  MI 48867‐9058
MILDRED K BURINK      1604 WILLOW BROOK NE                                                                   WARREN                  OH 44483
MILDRED K CULBERSON   2509 MICHELLE ST                                                                       SAGINAW                 MI 48601‐6628
MILDRED K HOWINGTON   P. O. BOX 292                                                                          WESSON                  MS 39191‐0292
MILDRED K VANLANEN    1320 STATE ROUTE 7 NE                                                                  BROOKFIELD              OH 44403
MILDRED K WENG        5440 WAGNER FORD RD                                                                    DAYTON                  OH 45414‐3668
MILDRED KAISER        2601 SNOW RD APT 205             PARMA PARK WEST                                       PARMA                   OH 44134‐2967
MILDRED KAMENSKY      42478 WOODWARD AVE APT B                                                               BLOOMFIELD HILLS        MI 48304‐5140
MILDRED KAMINSKI      18960 FALLING WATER RD APT 318                                                         STRONGSVILLE            OH 44136‐4251
MILDRED KAMPF         2131 LAKEVIEW DR APT 610                                                               SEBRING                 FL 33870‐3198
MILDRED KARLA         5992 TWIN LAKES DR                                                                     PARMA                   OH 44129‐3541
MILDRED KASPRZYK      1006 S VAN BUREN ST                                                                    BAY CITY                MI 48708‐7319
MILDRED KEFFER        20 JUDY ST                                                                             PETERSBURG              WV 26847‐1508
MILDRED KENNEDY       610 OLD MACATAWA CT                                                                    HOLLAND                 MI 49423‐6739
MILDRED KENNEDY       2010 29TH AVENUE DR NE           SPRING ARBOR OF HICKORY                               HICKORY                 NC 28601‐7517
MILDRED KENNELL       106 ROSEWOOD DR                                                                        TIPTON                  IN 46072‐9291
MILDRED KESSELER      C/O JOAN JACOBS EXECUTOR         8114 146TH CT NE                                      REDMOND                 WA 98052‐3402
MILDRED KESTERSON     6818 COOPER ST                                                                         TAYLOR                  MI 48180‐1618
MILDRED KIDD          731 FOREST AVE                                                                         JACKSON                 MS 39206‐3309
MILDRED KIDD          6077 MANTZ AVE                                                                         DAYTON                  OH 45427‐1828
MILDRED KIDDER        147 APPLEWOOD CT                                                                       DAVISON                 MI 48423‐9137
MILDRED KIKTA         7966 E POINTE DR                                                                       PORT HOPE               MI 48468‐9644
MILDRED KILBY         2228 HARDING AVE                                                                       DAYTON                  OH 45414‐3208
MILDRED KILGORE       4429 LAWRENCE ST UNIT 1012                                                             NORTH LAS VEGAS         NV 89081‐3252
MILDRED KILLEY        640 S NORTON ST                  CO BONNIE APPLEBY                                     CORUNNA                 MI 48817‐1206
MILDRED KILLIAN       15759 CANAL RD APT 105                                                                 CLINTON TOWNSHIP        MI 48038‐5019
MILDRED KILMER        1136 CHAMBERLAIN RD                                                                    AUBURN                  NY 13021‐9576
MILDRED KIMBALL       690 HIGH ST                                                                            MIDDLETOWN              IN 47356‐1427
MILDRED KING          3307 FOREST AVE                                                                        KANSAS CITY             KS 66106‐4132
MILDRED KING          324 GAGE DR                                                                            SAINT LOUIS             MO 63135‐3040
MILDRED KINGERY       8053 ALLEN STREET NORTH WEST                                                           WASHINGTON COURT HOU    OH 43160‐9532

MILDRED KIRBY         7482 CRYSTAL DR                                                                        BEULAH                 MI   49617‐9216
MILDRED KIRCHNER      1380 ARBOR AVE SE APT 602                                                              WARREN                 OH   44484‐4447
MILDRED KIRK          771 W RAHN RD                                                                          DAYTON                 OH   45429‐2042
MILDRED KISER         814 LOCUST ST                                                                          MINONK                 IL   61760‐1131
MILDRED KITCHENS      5985 NOBLE GIN RD                                                                      PINEHURST              GA   31070‐7710
MILDRED KLEYLA        9219 VINELAND CT APT F                                                                 BOCA RATON             FL   33496‐4211
MILDRED KLINE         3223 NORTHWAY DR                                                                       SANBORN                NY   14132‐9482
MILDRED KNACK         14 SEAFOAM AVE APT B                                                                   WINFIELD PARK          NJ   07036
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Name                     Address1                     Address2                   Address3             Address4           City              State Zip
MILDRED KOLBUSZ          5666 HARRISON ST                                                                                GARDEN CITY        MI 48135‐2900
MILDRED KOLLMAN          1525 S MIMOSA RD                                                                                GILMER             TX 75644‐4498
MILDRED KORF             1464 N M52 #51                                                                                  OWOSSO             MI 48867
MILDRED KOSMOWSKI        2655 SENECA ST                                                                                  WEST SENECA        NY 14224‐1832
MILDRED KOTT             1211 HEMINGWAY LN                                                                               TRAVERSE CITY      MI 49686‐5073
MILDRED KOZLOWSKI        10313 MANGLOS RD                                                                                ELMIRA             MI 49730‐9111
MILDRED KOZLOWSKI        75 4TH AVE                                                                                      LANCASTER          NY 14086‐3009
MILDRED KOZMA            3081 COVERT ROAD                                                                                FLINT              MI 48506‐2031
MILDRED KRAS             816 W MOUNT HOPE AVE                                                                            LANSING            MI 48910‐9065
MILDRED KROL             110 VOORHEES RD                                                                                 GLEN GARDNER       NJ 08826‐3203
MILDRED KRUEGER          5326 EDGEWOOD SHORES DR                                                                         HOWELL             MI 48843‐6848
MILDRED KRULL            APT 160                      1110 PAYNE AVENUE                                                  N TONAWANDA        NY 14120‐2750
MILDRED KUIPER           826 HARVEST DR                                                                                  HOLLAND            MI 49423‐7800
MILDRED KUKAN            472 CHARNWOOD RD                                                                                NEW PROVIDENCE     NJ 07974‐1307
MILDRED KUNKLE           PO BOX 318                                                                                      MANOR              PA 15665‐0318
MILDRED L BRINKLEY       358 ABERDEEN ST                                                                                 ROCHESTER          NY 14619‐1339
MILDRED L EHRHEART       526 WINTER RD                                                                                   NEW CASTLE         PA 16101‐1033
MILDRED L HUMPHRIES      3107 W RIVERVIEW AVE                                                                            DAYTON             OH 45406‐4317
MILDRED L JOHNSON        325 MARSTON ST                                                                                  DETROIT            MI 48202‐2571
MILDRED L KIRK           771 WEST RAHN RD                                                                                DAYTON             OH 45429‐2042
MILDRED L MILLS          ROBERT W PHILLIPS            SIMMONS BROWDER GIANARIS   707 BERKSHIRE BLVD   PO BOX 521         EAST ALTON          IL 62052
                                                      ANGELIDES & BARNERD LLC
MILDRED L SCOTT          1507 EDISON ST.                                                                                 DAYTON            OH   45417‐‐ 23
MILDRED L SMITH          1206 ANGIERS DR                                                                                 DAYTON            OH   45417‐4411
MILDRED L STAY           8671 CRABAPPLE LN                                                                               WARREN            MI   48093‐5578
MILDRED L WIGGLESWORTH   4424 ANNAPOLIS AVE                                                                              DAYTON            OH   45416‐1511
MILDRED LA RICCIA        5130 PARK SIDE TRL                                                                              SOLON             OH   44139‐1115
MILDRED LA ROCCA         331 VILLAGE WALK CIR                                                                            SPENCERPORT       NY   14559‐1434
MILDRED LADOUCE          202 W MAPLE ST                                                                                  ALPENA            MI   49707‐3563
MILDRED LAKE             2842 DRUM RD                                                                                    MIDDLEPORT        NY   14105‐9777
MILDRED LAMBDIN          3559 GOLDEN MEADOWS CT                                                                          DAYTON            OH   45404‐1437
MILDRED LANE             486 N CLEVELAND ST                                                                              BLOOMFIELD        IN   47424‐1002
MILDRED LANE             118 REDWOOD DR                                                                                  GREENVILLE        OH   45331
MILDRED LANG             1924 PERRYSVILLE AVE                                                                            PITTSBURGH        PA   15214‐3826
MILDRED LANGDON          PO BOX 422                                                                                      HAZELWOOD         MO   63042‐0422
MILDRED LANKFORD         535 PONDEROSA CIR                                                                               SYLACAUGA         AL   35151‐4228
MILDRED LARK             2848 S IRWIN ST                                                                                 INDIANAPOLIS      IN   46203‐5811
MILDRED LATCHAW          32 S FAIRWAY DR                                                                                 ALEXANDRIA        IN   46001‐2812
MILDRED LATHROP          5606 MALL DR W # 171                                                                            LANSING           MI   48917‐1901
MILDRED LATIMER          1744 JUNE AVE                                                                                   ROCHESTER HILLS   MI   48309‐4201
MILDRED LAUFFER          104 WILLIAM ST                                                                                  TONAWANDA         NY   14150‐3424
MILDRED LAURANCE         309 CRESTWOOD DR                                                                                KERRVILLE         TX   78028‐3960
MILDRED LAWSON           1746 HANFIELD ST                                                                                CINCINNATI        OH   45223‐2262
MILDRED LEE              7073 N GARFIELD AVE                                                                             GLADSTONE         MO   64118‐7849
MILDRED LEE              2400 DANFORTH ST                                                                                HAMTRAMCK         MI   48212‐3655
MILDRED LEE              173 MILDRED DR                                                                                  RED SPRINGS       NC   28377‐6478
MILDRED LEE              4706 ROBINHOOD LN                                                                               ADRIAN            MI   49221
MILDRED LEE              604 SOUTH 1ST BOX 485                                                                           VAN BUREN         IN   46991
MILDRED LEE              2942 WINCHESTER RD                                                                              XENIA             OH   45385‐9721
MILDRED LEFLORE          3272 TALL OAKS CT                                                                               FLINT             MI   48532‐3752
MILDRED LEGAS            6878 HEYDEN ST                                                                                  DETROIT           MI   48228‐4934
MILDRED LEMONDS          714 COUNTRY CLUB LN                                                                             FLINT             MI   48507‐1825
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Name                                  Address1                           Address2                    Address3   Address4         City                State Zip
MILDRED LEONARDELLI                   410 FRANKLIN ST                                                                            MUKWONAGO            WI 53149‐1264
MILDRED LESSARD                       1205 MANOR DR                                                                              JANESVILLE           WI 53548‐1414
MILDRED LEWIS                         4012 TIMBERGLEN RD                                                                         DALLAS               TX 75287‐5034
MILDRED LEWIS                         1406 S 13TH AVE                                                                            MAYWOOD               IL 60153‐1832
MILDRED LEWIS                         # 117                              60 SOUTH BEACHVIEW DRIVE                                JEKYLL ISLAND        GA 31527‐0905
MILDRED LEWIS                         1916 MANGER LN                                                                             ANDERSON             IN 46011‐3913
MILDRED LEWIS                         4257 PATRICIA AVE                                                                          YOUNGSTOWN           OH 44511‐1046
MILDRED LIBERTO                       5996 EDESVILLE RD                                                                          ROCK HALL            MD 21661‐2053
MILDRED LINDSEY                       901 PALLISTER ST APT 512                                                                   DETROIT              MI 48202‐2680
MILDRED LINDSEY‐COOK                  901 PALLISTER ST APT 512                                                                   DETROIT              MI 48202‐2680
MILDRED LINEBERG                      7 BATTLETOWN DR                                                                            BERRYVILLE           VA 22611
MILDRED LITTLE                        317 CANTERBURY CT                                                                          TIPTON               IN 46072‐8497
MILDRED LOCKHART                      2330 HUNN RD                                                                               FORISTELL            MO 63348‐2651
MILDRED LOCKHART                      7621 DANCY DR                                                                              INDIANAPOLIS         IN 46239‐8732
MILDRED LOPEZ                         15230 HANOVER AVENUE                                                                       ALLEN PARK           MI 48101‐2676
MILDRED LOUDERBACK                    3601 E LYNN ST                                                                             ANDERSON             IN 46013‐5377
MILDRED LOWERY                        PO BOX 1946                                                                                CEDARTOWN            GA 30125‐1946
MILDRED LOYCHIK                       1775 CLEMMENS AVE NW                                                                       WARREN               OH 44485‐2109
MILDRED LUCAS                         4650 NEWCASTLE CIR                                                                         LITHONIA             GA 30038‐3517
MILDRED LUDWIG                        PO BOX 351                         C/O CASHIER                                             JANESVILLE           WI 53547‐0351
MILDRED LUECKE                        3845 W. COLLEGE AVE                                                                        MILWAUKEE            WI 53221
MILDRED LUECKE                        3845 WEST COLLEGE AVE.                                                                     MILWAUKEE            WI 53221
MILDRED LUECKE                        3845 W COLLEGE AVE                                                                         MILWAUKEE            WI 53221
MILDRED LUETY                         3027 S LEXINGTON CT                                                                        BELOIT               WI 53511‐1658
MILDRED LUKSCH                        123 CATHEDRAL LN                                                                           CHEEKTOWAGA          NY 14225‐4630
MILDRED LUZ                           39 GATES AVE                                                                               HUDSON               MA 01749‐1903
MILDRED LYCOS                         9805 SUCIA CIR                                                                             PARRISH              FL 34219‐9395
MILDRED LYON                          11892 N SHAYTOWN RD                                                                        SUNFIELD             MI 48890‐9751
MILDRED LYON                          850 36TH ST SW APT 303                                                                     WYOMING              MI 49509‐3565
MILDRED LYONS                         3917 S BEACON ST                                                                           MUNCIE               IN 47302‐5848
MILDRED LYONS                         8015 MILL RD                                                                               GASPORT              NY 14067‐9501
MILDRED LYTTAKER                      38 W IRIS ST                                                                               MIDLAND              MI 48640‐8641
MILDRED M APGAR                       36112 WATSONIA ST                                                                          FORT MILL            SC 29707
MILDRED M BELL                        8623 N LAGOON DRIVE                UNIT B1                                                 PANAMA CITY BEACH    FL 32408
MILDRED M BOYCE                       715 COUNTRY PINES DR SW                                                                    WARREN               OH 44481‐9674
MILDRED M BRINEGAR                    2357 MILLVILLE AVE                                                                         HAMILTON             OH 45013‐4207
MILDRED M CRIDER                      7420 S DAYTON BRANDT                                                                       TIPP CITY            OH 45371‐8790
MILDRED M FERNSLER/CRAIG E FERNSLER   2261 CHARLES ST                                                                            GLENSIDE             PA 19038
JT TEN
MILDRED M POOLE                       207 GREENWAY BLVD                                                                          CHURCHVILLE         NY   14428‐9215
MILDRED M RADEMACHER                  139 DUPONT AVE                                                                             TONAWANDA           NY   14150‐7814
MILDRED M ROBINSON                    3459 WESTBURY RD                                                                           KETTERING           OH   45409
MILDRED M SERENSKY                    404 FAIRGROUND BLVD #103                                                                   CANFIELD            OH   44406
MILDRED M SMITH TTEE                  UNIVERSITY VILLAGE                 12401 N 22ND ST APT C‐701                               TAMPA               FL   33612
MILDRED M TAYLOR                      3576 DUNBAR LANE                                                                           CORTLAND            OH   44410‐9628
MILDRED MABIN                         5712 HOLLYWOOD DR                                                                          PARMA               OH   44129‐5219
MILDRED MAC FARLANE                   3867 LOCKPORT OLCOTT RD                                                                    LOCKPORT            NY   14094‐1128
MILDRED MACCARI                       62 STARDUST DR                                                                             NEWARK              DE   19702‐4742
MILDRED MADDOCK                       281 DUFFS LN                                                                               HILLSBORO           IL   62049‐3439
MILDRED MALLETT                       10608 W SALEM DR                                                                           SUN CITY            AZ   85351‐4730
MILDRED MALONE                        PO BOX 48                                                                                  BELLE MINA          AL   35615‐0048
MILDRED MALONE                        4907 E 41ST ST                                                                             INDIANAPOLIS        IN   46226‐4513
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Name                              Address1                       Address2            Address3         Address4         City                State Zip
MILDRED MALZAHN                   722 S CHILSON ST                                                                     BAY CITY             MI 48706‐5021
MILDRED MANLEY                    315 WATTS HILL RD                                                                    ELGIN                SC 29045‐8860
MILDRED MANN                      5420 MAPLE PARK DR             APT 2                                                 FLINT                MI 48507
MILDRED MARCHANT                  101 BREMEN WAY                                                                       MADISON              MS 39110‐6949
MILDRED MARRIOTT                  23159 HIGHWAY TT                                                                     VERSAILLES           MO 65084‐5428
MILDRED MARSHALL                  800 E COURT ST APT 220                                                               FLINT                MI 48503‐6212
MILDRED MARTIN                    PO BOX 174                                                                           BIG PINE             CA 93513‐0174
MILDRED MARTIN                    245 27TH CT NW                                                                       BIRMINGHAM           AL 35215‐2425
MILDRED MARTIN                    7933 TRAFALGAR ST                                                                    TAYLOR               MI 48180‐2440
MILDRED MARTIN                    734 CASSIUS AVE                                                                      YOUNGSTOWN           OH 44505‐3465
MILDRED MASSEY                    1272 HISTORIC HOMER HWY                                                              HOMER                GA 30547‐2737
MILDRED MASSEY                    747 SEALS ROAD                                                                       DALLAS               GA 30157‐6745
MILDRED MASSEY                    4029 104TH AVE                                                                       ALLEGAN              MI 49010‐9319
MILDRED MASSIE                    2247 FORESTDEAN CT                                                                   DAYTON               OH 45459‐8422
MILDRED MATA                      3724 FOREST TER                                                                      ANDERSON             IN 46013‐5262
MILDRED MATHE                     8479 NEFF RD                                                                         MOUNT MORRIS         MI 48458‐1045
MILDRED MATHEWS                   9536 KALE PL                                                                         DIAMONDHEAD          MS 39525‐4113
MILDRED MATT                      3722 N TOWER BEACH RD                                                                PINCONNING           MI 48650‐9736
MILDRED MATTOON                   28500 KING RD                                                                        ROMULUS              MI 48174‐9447
MILDRED MAULL                     2032 PRESCOTT WAY                                                                    SPRING HILL          TN 37174‐9284
MILDRED MC BRIDE                  PO BOX 214316                                                                        AUBURN HILLS         MI 48321‐4316
MILDRED MC BRIDE                  759 ALEXANDRINE AVE                                                                  MOUNT MORRIS         MI 48458‐1730
MILDRED MC CULLEM                 4200 WALTON DR                                                                       LANSING              MI 48910‐0342
MILDRED MC ELRATH                 6133 MILLER RD                                                                       SWARTZ CREEK         MI 48473‐1516
MILDRED MC ELROY                  2153 PARADOR BND                                                                     MCDONOUGH            GA 30253‐9059
MILDRED MC GLAMERY                PO BOX 1272                                                                          MC CAYSVILLE         GA 30555‐1272
MILDRED MC NEIL                   440 ELIZABETH AVE APT 9F                                                             NEWARK               NJ 07112‐2665
MILDRED MC TAGGART                5006 ALPHA WAY                                                                       FLINT                MI 48506‐1856
MILDRED MCALISTER                 27 S BIGGS ST                                                                        BELLEVILLE           MI 48111‐3616
MILDRED MCCARTHY                  95 BEEKMAN AVE APT 237R                                                              SLEEPY HOLLOW        NY 10591‐2584
MILDRED MCCASLIN                  69 BRANTWOOD AVE                                                                     ELK GROVE VILLAGE     IL 60007‐3901
MILDRED MCCLAIN                   217 W MECHANIC ST                                                                    SHELBYVILLE          IN 46176‐1117
MILDRED MCCOLLUM                  8499 EM‐71                     LOT229                                                DURAND               MI 48429
MILDRED MCCONNELL & JOAN SALTER   302 OVERLOOK DR                                                                      OPELIKA              AL 36801
MILDRED MCCRIMMON                 6370 NEWS RD                                                                         CHARLOTTE            MI 48813‐8350
MILDRED MCCULLOCH                 100 N 7TH ST                                                                         DUPO                  IL 62239‐1511
MILDRED MCCULLUM                  727 N 70TH TER                                                                       KANSAS CITY          KS 66112‐3075
MILDRED MCDOWELL                  39 PEACH TREE DR                                                                     DAVISON              MI 48423‐9123
MILDRED MCELWANEY                 9760 HIGHWAY 31                                                                      CALERA               AL 35040‐3307
MILDRED MCKEE                     3921 HAZELETT DR                                                                     WATERFORD            MI 48328‐4035
MILDRED MCKEE                     5407 HOOVER AVE APT 238                                                              DAYTON               OH 45427‐2585
MILDRED MCKONE                    G‐5400 VAN SLYKE RD                                                                  FLINT                MI 48507
MILDRED MCLEAN                    9136 CHESTERBROOK CT APT A                                                           INDIANAPOLIS         IN 46240‐1126
MILDRED MCMANAWAY                 66 BROAD ST                                                                          GLOUSTER             OH 45732‐1132
MILDRED MCMICHAEL                 1012 MURTLAND ROAD                                                                   LYNCHBURG            OH 45142‐9746
MILDRED MCNETT                    6331 RIVERSIDE RD                                                                    WATERFORD            WI 53185‐2401
MILDRED MCREYNOLDS                306 CAROL LANE                                                                       UNION                OH 45322
MILDRED MCWILLIAMS                9269 AEGEAN CIR                                                                      LEHIGH ACRES         FL 33936‐6012
MILDRED MEADOR                    156 MARCRUM LN                                                                       SCOTTSVILLE          KY 42164‐8987
MILDRED MEADOWS                   752 BUDDHA ROAD                                                                      BEDFORD              IN 47421‐7715
MILDRED MERRILL                   RT 1 BOX 159                                                                         WALTON               KY 41094
MILDRED METZ                      162 DONNA LEA BLVD                                                                   WILLIAMSVILLE        NY 14221‐3172
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Name                                   Address1                        Address2                 Address3    Address4         City               State Zip
MILDRED MIDDLETON                      11207 LONGBROOKE DR                                                                   RIVERVIEW           FL 33579
MILDRED MILLAR                         1915 BALDWIN AVE APT 341                                                              PONTIAC             MI 48340‐1176
MILDRED MITCHELL                       111 CREEKSIDE DR                                                                      COLUMBIA            TN 38401‐6527
MILDRED MITCHELL                       3857 SWEETBRIAR DR                                                                    ORANGE PARK         FL 32073‐7608
MILDRED MODE                           2 ELMWOOD PL                                                                          SAINT CHARLES       MO 63301‐4637
MILDRED MONIUSZKO                      400 NAUTILUS BLVD                                                                     FORKED RIVER        NJ 08731‐1919
MILDRED MONROE                         4464 WORTH RD                                                                         PINCONNING          MI 48650‐8316
MILDRED MONTALTO                       11618 SUMMIT ST                                                                       KANSAS CITY         MO 64114‐5500
MILDRED MONTGOMERY                     1655 S HIGHLAND AVE APT J292                                                          CLEARWATER          FL 33756‐6367
MILDRED MOON                           PO BOX 82735                                                                          CONYERS             GA 30013‐9440
MILDRED MOON                           1537 JOBEY GREEN HOLLOW RD                                                            SEVIERVILLE         TN 37876‐2653
MILDRED MOORE                          1935 HOUSTON RD                                                                       BOLTON              MS 39041‐9387
MILDRED MOORE                          3113 MICHAEL LN                                                                       ANDERSON            IN 46011‐2008
MILDRED MOORE                          APT 301                         3375 NORTH LINDEN ROAD                                FLINT               MI 48504‐5728
MILDRED MOORE                          8050 N HICKORY ST APT 1422                                                            KANSAS CITY         MO 64118‐8315
MILDRED MOORE                          16576 CRUSE ST                                                                        DETROIT             MI 48235‐4003
MILDRED MORENO                         320 E 4TH AVENUE                                                                      ROSELLE             NJ 07203‐1340
MILDRED MORFORD                        16345 24TH AVE                                                                        COOPERSVILLE        MI 49404‐9643
MILDRED MORGAN                         4695 CHALMERS ST                                                                      DETROIT             MI 48215‐2164
MILDRED MORRIS                         14911 PIEDMONT ST                                                                     DETROIT             MI 48223‐2290
MILDRED MORRISON                       PO BOX 79                                                                             SHAFTSBURG          MI 48882‐0079
MILDRED MORTSEA                        122 FREDRICKS STREET                                                                  CARTERET            NJ 07008
MILDRED MOULIS                         1903 S CENTRAL AVE                                                                    CICERO               IL 60804‐2233
MILDRED MRAKAVA‐BLACKBURN              5201 WOODHAVEN CT APT 403                                                             FLINT               MI 48532‐4172
MILDRED MUMAUGH                        2501 N APPERSON WAY TRLR 26                                                           KOKOMO              IN 46901‐1494
MILDRED MYERS                          503 MEADOW DR                                                                         KOKOMO              IN 46902‐3719
MILDRED MYERS                          18943 PLAIN VIEW AVE                                                                  DETROIT             MI 48218‐2835
MILDRED MYLES                          210 LUDWIG AVE                                                                        WEST MONROE         LA 71291‐3340
MILDRED N JACKSON                      234 RAE AVENUE                                                                        MANSFIELD           OH 44903‐1441
MILDRED N RYAN REV TR DATED 10/21/99   C/O MILDRED N RYAN              1417 SADLER ROAD #379                                 FERNANDINA BEACH    FL 32034‐4466

MILDRED NASH                           PO BOX 28                                                                             OTTER LAKE         MI   48464‐0028
MILDRED NAYLOR                         6518 FASCINATION WAY                                                                  HILLSBORO          OH   45133‐9384
MILDRED NEAL                           MASTER STREET                   UNIT 9C                                               SPRINGFIELD        OH   45504
MILDRED NEAROR                         262 REMY AVE                                                                          MANSFIELD          OH   44902‐7745
MILDRED NECHAL                         1620 INVERNESS ST                                                                     SYLVAN LAKE        MI   48320‐1629
MILDRED NEELY                          8051 S FRANCISCO AVE                                                                  CHICAGO            IL   60652‐2726
MILDRED NELLIS                         1624 HIGHLAND DR                RM #211A                                              WASHINGTON         NC   27889
MILDRED NELSON                         22580 NORTHVIEW DR                                                                    HAYWARD            CA   94541‐3458
MILDRED NEMARD                         107 SUMMIT AVE                                                                        DUMONT             NJ   07628‐1344
MILDRED NEMETH                         14964 COLLEGE AVE                                                                     ALLEN PARK         MI   48101‐3041
MILDRED NEPH                           59223 US HIGHWAY 41                                                                   CALUMET            MI   49913‐6964
MILDRED NEUMANN                        614 JEROME AVE                                                                        BRISTOL            CT   06010‐2669
MILDRED NEWHOUSE                       PO BOX 19278                                                                          FORT WORTH         TX   76119‐1278
MILDRED NICHOLAS                       225 SUMMER MOUNTAIN RD                                                                LOGANTON           PA   17747‐9413
MILDRED NICHOLS                        6492 SANDHURST DR                                                                     BROOK PARK         OH   44142‐3640
MILDRED NILES                          12021 S SCRIBNER RD                                                                   MORRICE            MI   48857‐9739
MILDRED NISWONGER                      908 WAYNE AVE                                                                         GREENVILLE         OH   45331‐1139
MILDRED NORMAN                         207 HELTONVILLE RD W                                                                  BEDFORD            IN   47421‐9386
MILDRED NORRIS                         PO BOX 8                                                                              EMINENCE           IN   46125‐0008
MILDRED NOYCE                          9761 REESE RD                                                                         BIRCH RUN          MI   48415‐9606
MILDRED O CHRISTIAN                    8911 LAKE DR #406                                                                     CAPE CANAVERAL     FL   32920
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Name                 Address1                            Address2                   Address3   Address4         City              State Zip
MILDRED O PELPHREY   9740 SHEEHAN RD                                                                            DAYTON             OH 45458‐4112
MILDRED O'DIERNO     2010 KENSINGTON ST                                                                         JANESVILLE         WI 53546‐5752
MILDRED OAKES        225 BIBB AVE                                                                               BECKLEY            WV 25801‐6337
MILDRED OAKS         9650 SAINT CLAIR RD                                                                        HAINES CITY        FL 33844‐9031
MILDRED OHAVER       14591 E 196TH ST                                                                           NOBLESVILLE        IN 46060‐9512
MILDRED OKENKA       3035 S DUFFIELD RD                                                                         LENNON             MI 48449‐9407
MILDRED OLDHAM       8701 SLEEPY HOLLOW LN               C/O MARY ROBERTS‐PEARSON                               ELK GROVE          CA 95624‐9673
MILDRED OLESH        3810 NORTHWOODS CT NE UNIT 2                                                               WARREN             OH 44483‐4574
MILDRED OLLI         5 MOA CT                                                                                   FORT MYERS         FL 33912‐2022
MILDRED OROSTIN      425 SENECA ST APT 504                                                                      NILES              OH 44446‐2449
MILDRED ORTMAN       110 JUDSON RD                                                                              KENT               OH 44240‐6063
MILDRED OVERTON      1914 GREENBRIER RD                                                                         FLORENCE           AL 35630‐1630
MILDRED OWEN         1363 GADY RD                                                                               ADRIAN             MI 49221‐9382
MILDRED OWEN         517 W PENN ST                                                                              HOOPESTON           IL 60942‐1141
MILDRED OWENSBY      9 MARIO DR                                                                                 DAYTON             OH 45426‐2914
MILDRED P HOLDFORD   209 MAPLE LEAF DRIVE                                                                       HUBBARD            OH 44425‐1531
MILDRED P ROSS       5840 LIDDELL DR                                                                            NEW PORT RICHEY    FL 34652‐6319
MILDRED P WATSON     6112 KENBURRY PLACE                                                                        DAYTON             OH 45414‐2825
MILDRED PACK         1502 KNIGHT AVE                                                                            FLINT              MI 48503‐3229
MILDRED PAFFORD      3480 FARMERS CREEK RD                                                                      METAMORA           MI 48455‐9791
MILDRED PALERMO      33 ARDMORE PL                                                                              BUFFALO            NY 14213‐1447
MILDRED PALMER       3666 LENORE ST                                                                             MELVINDALE         MI 48122‐1120
MILDRED PALMER       1425 PINETREE DR                                                                           NAPERVILLE          IL 60565‐1276
MILDRED PARHAM       1232 VISTA VALLEY DR NE                                                                    ATLANTA            GA 30329‐3452
MILDRED PARK         678 LORETTA STREET                                                                         TONAWANDA          NY 14150‐8755
MILDRED PARKER       PO BOX 252                                                                                 SMITHFIELD         PA 15478‐0252
MILDRED PASCHAL      5150 LILBURN STONE MOUNTAIN RD SW                                                          LILBURN            GA 30047‐7320

MILDRED PATTON       1012 CIRCLE DR                                                                             JAMESTOWN         TN   38556‐5512
MILDRED PATTON       118 HALLER AVE                                                                             BUFFALO           NY   14211‐2704
MILDRED PAVESE       1621 N E ST                                                                                ELWOOD            IN   46036‐1330
MILDRED PAWLAK       625 S LINCOLN RD                                                                           BAY CITY          MI   48708‐9650
MILDRED PEACOCK      1269 WEST AVE                                                                              BUFFALO           NY   14213‐1118
MILDRED PEARSON      4681 PAGO PAGO LN                                                                          BONITA SPRINGS    FL   34134‐7146
MILDRED PEARSON      2332 N C ST                                                                                ELWOOD            IN   46036‐1620
MILDRED PELPHREY     9740 SHEEHAN RD                                                                            DAYTON            OH   45458‐4112
MILDRED PENDLETON    1000 E SPRAKER ST                                                                          KOKOMO            IN   46901‐2511
MILDRED PERKINS      721 W LAKE AVE                                                                             NEW CARLISLE      OH   45344‐1733
MILDRED PERRY        2106 MOLER DR                                                                              AKRON             OH   44312‐5546
MILDRED PETERSON     1301 LAKELAND DR APT 120                                                                   LIBERTY           TX   77575‐3852
MILDRED PFEIFFER     1425 QUAKER AVE                                                                            WABASH            IN   46992‐3529
MILDRED PHELPS       4742 WOODWARD ST                                                                           SHAWNEE MISSION   KS   66203‐1352
MILDRED PHELPS       3458 BENMARK PL                                                                            FLINT             MI   48506‐1946
MILDRED PHILLIPS     PO BOX 602                                                                                 SOUTH PITTSBURG   TN   37380‐0602
MILDRED PHILLIPS     1810 W 53RD ST TRLR D1                                                                     ANDERSON          IN   46013‐1160
MILDRED PICKENS      5019 LARCHMONT ST                                                                          DETROIT           MI   48204‐3748
MILDRED PINGEL       4491 DAVISON RD                                                                            LAPEER            MI   48446‐2845
MILDRED PLUMMER      5882 W 2400 RD                                                                             PARKER            KS   66072‐5048
MILDRED POLING       PO BOX 64                           8772 STATE RT 534                                      MESOPOTAMIA       OH   44439‐0064
MILDRED POLIVKA      1318 SALT SPRINGS RD                                                                       WARREN            OH   44481‐9690
MILDRED POPE         2911 ELMO PL                                                                               MIDDLETOWN        OH   45042‐3315
MILDRED PORTER       3256 FRANCES LN                                                                            KOKOMO            IN   46902‐9706
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Name                   Address1                          Address2               Address3   Address4         City           State Zip
MILDRED PORTER         2670 GRAHAM RD                                                                       STOW            OH 44224‐3663
MILDRED PORTER         5341 MCAULEY DR APT 318                                                              YPSILANTI       MI 48197‐1017
MILDRED PORTER         18140 MATTHEWS STREET                                                                RIVERVIEW       MI 48193‐7405
MILDRED POTRATZ        6751 JUNEVIEW CT NE               C/O TAMMY L WATTS                                  ROCKFORD        MI 49341‐9247
MILDRED POU            5107 RETFORD DR                                                                      DAYTON          OH 45418‐2046
MILDRED POWELL         199 ROAD 103                                                                         PAULDING        OH 45879‐8776
MILDRED POWELL         79 GOTHIC ST                                                                         ROCHESTER       NY 14621‐4903
MILDRED POWERS         113 NOBES AVE                                                                        LOCKPORT         IL 60441‐5026
MILDRED PRATER         422 CENTER HILL RD                                                                   WOODBURY        TN 37190‐5524
MILDRED PRESIDENT      1741 PACIFIC PL                                                                      FORT WORTH      TX 76112‐4608
MILDRED PRIBBLE        401 VERMILION ST                                                                     GEORGETOWN       IL 61846‐1631
MILDRED PRICE          1992 S US HIGHWAY 25E                                                                BARBOURVILLE    KY 40906‐7600
MILDRED PRINCE         12333 SHIPPY ROAD SOUTHWEST                                                          FIFE LAKE       MI 49633‐9106
MILDRED PRINGLE        2027 HIGHLAND ST                                                                     DETROIT         MI 48206‐3603
MILDRED PRZYBYLO       1838 PRESTON CT NW APT A45                                                           GRAND RAPIDS    MI 49504‐2757
MILDRED PUFF           76 IDLEWOOD DR                                                                       ORCHARD PARK    NY 14127‐2822
MILDRED QUILLEN        354 DOGWOOD LN                                                                       JACKSBORO       TN 37757‐2802
MILDRED QUINONES       74 BELKNAP AVE                                                                       YONKERS         NY 10710‐5404
MILDRED R LEE          2942 WINCHESTER RD                                                                   XENIA           OH 45385‐9721
MILDRED R MCKEE        5407 HOOVER AVE.#238                                                                 DAYTON          OH 45427‐2585
MILDRED R SPARKS       1121 E RICHARD ST                                                                    MIAMISBURG      OH 45342‐1947
MILDRED R WATHEN       1826 ENTERPRISE RD                                                                   W ALEXANDRIA    OH 45381‐9557
MILDRED RADECKI        113 CRANDON BLVD                                                                     CHEEKTOWAGA     NY 14225‐3721
MILDRED RAINGE‐WORKS   577 WALL ST                                                                          HAYNEVILLE      AL 36040‐6311
MILDRED RANGER         1010 ALICE ST                                                                        EAST TAWAS      MI 48730
MILDRED RANNEY         574 LONG POND RD                                                                     ROCHESTER       NY 14612‐3041
MILDRED RATLIFF        122 VONDALE CT                                                                       DAYTON          OH 45404‐2182
MILDRED REBSTOCK       2331 W HENRY AVE                                                                     MILWAUKEE       WI 53221‐4921
MILDRED REID           PO BOX 39                                                                            BARBOURVILLE    KY 40906‐0039
MILDRED REINKE         2435 KOSCIUSZKO AVE                                                                  BAY CITY        MI 48708‐7610
MILDRED RHODES         1902 RUTHERFORD LN                                                                   ARLINGTON       TX 76014‐3516
MILDRED RIBARCHIK      5092 MAPLE AVE                                                                       SWARTZ CREEK    MI 48473‐8225
MILDRED RICHARDSON     17 BENNETT DR                                                                        VIENNA          OH 44473‐9512
MILDRED RICHARDSON     220 WELCOME WAY BLVD W APT 302B                                                      INDIANAPOLIS    IN 46214‐4928
MILDRED RICHARDSON     2412 E ALWARD RD                                                                     DEWITT          MI 48820‐9750
MILDRED RIESTERER      PO BOX 1885                                                                          SANDUSKY        OH 44871‐1885
MILDRED RILEY          1303 N REDWOOD DR                                                                    INDEPENDENCE    MO 64056‐1140
MILDRED RILEY          1819 SYLVAN RD SW                                                                    ATLANTA         GA 30310‐4905
MILDRED RILEY          906 W 5TH ST                                                                         ANDERSON        IN 46016‐1018
MILDRED ROBERSON       5754 PONTIAC LAKE RD                                                                 WATERFORD       MI 48327‐2115
MILDRED ROBERTS        60 ATKINSON ST                                                                       DETROIT         MI 48202‐1571
MILDRED ROBERTS        8180 N LINDEN RD                                                                     MOUNT MORRIS    MI 48458‐9488
MILDRED ROBERTS        514 STUART CT                                                                        SAVANNAH        GA 31405‐5460
MILDRED ROBERTS        LOT 249                           4245 WEST JOLLY ROAD                               LANSING         MI 48911‐3067
MILDRED ROBINSON       6898 HAMILTON RD APT927                                                              MIDDLETOWN      OH 45044
MILDRED ROBINSON       2005 WEST 3RD STREET                                                                 MARION          IN 46952‐3245
MILDRED ROBINSON       PO BOX 1                                                                             MOORELAND       IN 47360‐0001
MILDRED ROBINSON       1495 HAMPSTEAD CV                                                                    OVIEDO          FL 32765‐5150
MILDRED RODGERS        PO BOX 84                                                                            SINCLAIR        ME 04779‐0084
MILDRED ROE            12524 LINDEN RD                                                                      LINDEN          MI 48451‐9455
MILDRED ROEBUCK        9 LEE AVE                                                                            OSSINING        NY 10562‐2827
MILDRED ROGOZINSKI     11369 RICHARD DR                                                                     PARMA           OH 44130‐1344
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Name                    Address1                       Address2               Address3      Address4         City              State Zip
MILDRED ROSE            PO BOX 284                                                                           GALVESTON          IN 46932
MILDRED ROSE            4425 US HIGHWAY 441 S LOT 9                                                          OKEECHOBEE         FL 34974‐6277
MILDRED ROSITANO        5520 PACIFIC BLVD APT 211                                                            BOCA RATON         FL 33433‐6702
MILDRED ROSS            5840 LIDDELL DR                                                                      NEW PORT RICHEY    FL 34652‐6319
MILDRED ROSS            124 SIESTA TRL                                                                       ROSCOMMON          MI 48653‐8333
MILDRED ROWLAND         1829 HAMBLETONIAN CT                                                                 MIAMISBURG         OH 45342‐6376
MILDRED RUBENSTEIN      950 AUGUSTA WAY #315                                                                 HIGHLAND PARK       IL 60035‐1844
MILDRED RUMOVICZ        23266 BILLINGS AVE                                                                   PORT CHARLOTTE     FL 33954‐3621
MILDRED RUPPEE          PO BOX 753                                                                           WARTBURG           TN 37887‐0753
MILDRED RUPPEL          2595 LUELLA AVE                                                                      SAGINAW            MI 48603‐3039
MILDRED RUSH            4954 W CEDAR COVE DR                                                                 NEW PALESTINE      IN 46163‐8702
MILDRED RUSSELL         191 LUTHER AVE                                                                       PONTIAC            MI 48341‐2774
MILDRED RUSSELL         1120 W 5TH ST                                                                        MARION             IN 46953‐1631
MILDRED RUTHERFORD      PO BOX 320455                                                                        FLINT              MI 48532‐0008
MILDRED RYAN            3026 BRANDED CT W                                                                    KOKOMO             IN 46901‐7005
MILDRED RYAN            324 BERT AVE                                                                         TRENTON            NJ 08629‐2612
MILDRED RYAN            488 SAM GIBBS RD                                                                     ARAB               AL 35016‐4137
MILDRED RYDER           4069 BROWNLEE DR                                                                     TUCKER             GA 30084‐6114
MILDRED S BURGESS       62 WOODLEAF                                                                          PITTSFORD          NY 14534‐2827
MILDRED S EVERSOLE      1614 BLUEBIRD DR                                                                     DAYTON             OH 45432‐2707
MILDRED S FRANCIS       532 AMES ST                                                                          ROCHESTER          NY 14606‐1208
MILDRED S PALETTA       111 HIGHLAND AVE                                                                     NEW KENSINGTON     PA 15068
MILDRED S PENTON        23607 CO RD 83                                                                       ROBERTSDALE        AL 36567‐5930
MILDRED S TOWLES        3614 EASTERN DRIVE                                                                   DAYTON             OH 45432‐2208
MILDRED SALOFF          2714 KELLOGG AVE                                                                     JANESVILLE         WI 53546‐5605
MILDRED SALTER          83 INTER PARK AVE                                                                    BUFFALO            NY 14211
MILDRED SANDERS         2669 WHITNEY ST                                                                      DETROIT            MI 48206‐2336
MILDRED SASS            11411 83RD ST                                                                        BURR RIDGE          IL 60527
MILDRED SAWINA          1802 WINDERMERE AVE                                                                  WILMINGTON         DE 19804‐4025
MILDRED SAYERS          220 E MAIN ST                                                                        CORTLAND           OH 44410‐1224
MILDRED SAYLOR          5664 STEWART RD                                                                      SYLVANIA           OH 43560‐2076
MILDRED SCHAFFER        3017 EAST AVE                                                                        BALTIMORE          MD 21234‐3104
MILDRED SCHEUERN        3866 E POND CT                 C/O CRAIG C SCHEUERN                                  ORION              MI 48359‐1472
MILDRED SCHIRF (HALL)   2524 BEAVER RIDGE TRL                                                                MOGADORE           OH 44260‐1831
MILDRED SCHMERMUND      980 WILMINGTON AVE APT 307                                                           DAYTON             OH 45420‐1621
MILDRED SCHMIDT         1523 COOLIDGE AVE                                                                    SAGINAW            MI 48638‐4711
MILDRED SCHOFIELD       231 SPARROW ST                                                                       WEWAHITCHKA        FL 32465‐3535
MILDRED SCHULDT         6274 BAILEY RD                                                                       BROWN CITY         MI 48416‐8906
MILDRED SCHULTZ         11787 DEVONSHIRE ST                                                                  ALGONQUIN           IL 60102‐2590
MILDRED SCHUTTE         8851 COTTONWOOD DR                                                                   CINCINNATI         OH 45231‐4707
MILDRED SCOTT           2250 E M 21                                                                          OWOSSO             MI 48867‐9067
MILDRED SCOTT           1002 CHANDLER AVE                                                                    ROSELLE            NJ 07203‐2704
MILDRED SCRANTON        1101 SOUTH SCOTT ROAD                                                                SAINT JOHNS        MI 48879‐8044
MILDRED SCROGGINS       1713 TOWERY ST                                                                       MALDEN             MO 63863‐1240
MILDRED SCROSIA         13 LOTZ HILL RD                                                                      CLIFTON            NJ 07013‐2312
MILDRED SEARCY          2647 YALE TER                                                                        DECATUR            GA 30032‐6469
MILDRED SEARS           14600 COLLINGHAM DR                                                                  DETROIT            MI 48205‐1220
MILDRED SELF            6887 WREN AVE NW                                                                     NORTH CANTON       OH 44720‐7048
MILDRED SERENSKY        404 FAIRGROUND BLVD APT 103                                                          CANFIELD           OH 44406‐1519
MILDRED SEXTON          242 SW 44TH TER                                                                      CAPE CORAL         FL 33914‐5904
MILDRED SEXTON          1116 DARLENE RD                C/O ANITA CUNNINGHAM                                  FOREST HILL        MD 21050‐2731
MILDRED SHAHAN          30 E WALNUT ST                                                                       BELLBROOK          OH 45305‐2025
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Name                  Address1                        Address2                 Address3   Address4         City               State Zip
MILDRED SHANGLE       3602 CLAIRMONT ST                                                                    FLINT               MI 48532‐5224
MILDRED SHARPE        5128 S LIVONIA RD                                                                    LIVONIA             NY 14487‐9562
MILDRED SHARROW       1301 PASSOLT ST                                                                      SAGINAW             MI 48638‐4746
MILDRED SHAVER        2901 W ENON RD                                                                       XENIA               OH 45385‐9505
MILDRED SHEPPARD      3738 4 MILE RD N                                                                     TRAVERSE CITY       MI 49686‐8130
MILDRED SHIPLEY       4151 SE 150TH ST                                                                     SUMMERFIELD         FL 34491‐3996
MILDRED SHOCKEY       2332 BONNIEVIEW AVE                                                                  DAYTON              OH 45431‐1904
MILDRED SHORES        511 14TH AVE                                                                         MIDDLETOWN          OH 45044‐5601
MILDRED SHOTWELL      4720 ORCHARD MANOR BLVD APT 3                                                        BAY CITY            MI 48706‐2827
MILDRED SHRINER       2454 E STANLEY RD                                                                    MOUNT MORRIS        MI 48458‐8979
MILDRED SHRUM         149 MONROE WAY                                                                       CALIFORNIA          PA 15419‐1123
MILDRED SIMPSON       835 CEDAR ST                                                                         PONTIAC             MI 48342‐1711
MILDRED SINKS         PO BOX 4101                                                                          POPLAR BLUFF        MO 63902‐4101
MILDRED SIXBERRY      697 EAST SAGER ROAD                                                                  HASTINGS            MI 49058‐9372
MILDRED SKIDMORE      406 GREEN VALLEY DR                                                                  JOHNSON CITY        TN 37601‐1372
MILDRED SKINNER       5530 W MICHIGAN AVE APT 2I4                                                          LANSING             MI 48917‐2518
MILDRED SLAMA         1490 E BUENA VISTA DR           C/O LINDA L PRESCOTT                                 CHANDLER            AZ 85249‐8562
MILDRED SLAVIN        5320 ROUNDUP DR                                                                      COLORADO SPRINGS    CO 80918‐5232
MILDRED SMILEY        4451 COLUMBINE AVE                                                                   BURTON              MI 48529‐2151
MILDRED SMITH         61 MONROE DR                                                                         WILLIAMSVILLE       NY 14221‐6827
MILDRED SMITH         3118 ENCLAVE CT                 C/O ESTHER SUE MURRELL                               KOKOMO              IN 46902‐8129
MILDRED SMITH         6006 E 102ND ST                                                                      KANSAS CITY         MO 64134‐1403
MILDRED SMITH         26 COUNTY ROAD 1480                                                                  CULLMAN             AL 35058‐0806
MILDRED SMITH         1206 ANGIERS DRIVE                                                                   DAYTON              OH 45408‐2411
MILDRED SMITH         947 CAROL ST                                                                         YPSILANTI           MI 48198‐3032
MILDRED SMITH         6201 LUCAS RD                                                                        FLINT               MI 48506‐1225
MILDRED SMOOT         2297 TOBY BETH DR                                                                    FLINT               MI 48505‐1076
MILDRED SNOVER        1557 W EDDY SCHOOL RD                                                                BELLAIRE            MI 49615‐9016
MILDRED SNOWDIN       18711 24TH AVE                                                                       CONKLIN             MI 49403‐9779
MILDRED SOBCZYNSKI    603 MARYLAND AVE                                                                     BALTIMORE           MD 21221‐4915
MILDRED SOLLEY        130 THURSTON AVE                                                                     KENMORE             NY 14217‐1322
MILDRED SOMMERFELDT   4603 BALFOUR RD TRLR 11                                                              BRENTWOOD           CA 94513‐1662
MILDRED SOUTHWELL     205 E GARY ST                                                                        BAY CITY            MI 48706‐3556
MILDRED SOWDER        5748 WHITE CAP ST                                                                    LAS VEGAS           NV 89110‐4969
MILDRED SPARKS        1228 STATE HIGHWAY 986                                                               OLIVE HILL          KY 41164‐7624
MILDRED SPARKS        1121 RICHARD ST                                                                      MIAMISBURG          OH 45342‐1947
MILDRED SPENCER       3501 GEORGIA AVE                                                                     KANSAS CITY         KS 66104‐3662
MILDRED SPENCER       418 WOODLAWN AVE                                                                     YPSILANTI           MI 48198‐5917
MILDRED SPICER        PO BOX 10257                                                                         CLEVELAND           OH 44110‐0257
MILDRED SPRINGER      300 CHAMBERS RD                                                                      MCDONOUGH           GA 30253‐6442
MILDRED SPRINOT       1113 RIDGE AVE                                                                       COLLINSVILLE         IL 62234‐4127
MILDRED STACK         PO BOX 1157                                                                          LITCHFIELD          CT 06759‐0157
MILDRED STALLA        11440 GABRIELLA DR                                                                   PARMA               OH 44130‐1337
MILDRED STANUSZEK     1010 W BROAD ST                                                                      CHESANING           MI 48616‐1078
MILDRED STATON        1726 N IRVINGTON AVE                                                                 INDIANAPOLIS        IN 46218‐4819
MILDRED STAUFFER      4296 MARCUS RD                                                                       WATERFORD           MI 48329‐1426
MILDRED STAY          8671 CRABAPPLE LN                                                                    WARREN              MI 48093‐5578
MILDRED STAYTON       3621 LAW RD                                                                          NORTH BRANCH        MI 48461‐8697
MILDRED STEEN         1724 W 23RD ST                                                                       ANDERSON            IN 46016‐3833
MILDRED STELLA        170 WALNUT ST                                                                        WINSTED             CT 06098‐1236
MILDRED STEPHENS      4130 HIGHWAY 77                                                                      NEWBERN             TN 38059‐6320
MILDRED STEWART       3096 AYRE CT                                                                         FLINT               MI 48506‐5402
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Name                Address1                         Address2                    Address3   Address4         City               State Zip
MILDRED STEWART     14031 ASBURY PARK                                                                        DETROIT             MI 48227‐1387
MILDRED STIGALL     8160 STATE ROAD 446                                                                      NORMAN              IN 47264‐8658
MILDRED STILES      3657 TARTAN CIR                                                                          PORTAGE             MI 49024‐4095
MILDRED STILES      11191 BOX 131                    ROUTE 553                                               ALVERDA             PA 15710
MILDRED STOCKTON    402 STEFAN CT                                                                            DUNDALK             MD 21222‐2858
MILDRED STRAHAM     5402 SARA ROSE DR                                                                        FLINT               MI 48505‐1075
MILDRED STRANGE     581 N MIAMI ST                                                                           WABASH              IN 46992‐1705
MILDRED STRAUGHEN   2500 GROVER AVE                                                                          PUNTA GORDA         FL 33982‐1514
MILDRED STRICKLIN   ROUTE 1 BOX 679A                                                                         BISMARCK            MO 63624
MILDRED STROM       BY MILDRED STROM REVCBLE TRUST   401 E LINTON BLVD APT 526                               DELRAY BEACH        FL 33483‐5015
MILDRED STRUNK      414 BROOKLIN WAY                                                                         PIGEON FORGE        TN 37863‐5215
MILDRED STURGILL    RR 1                                                                                     NORTH BEND          OH 45052
MILDRED STUTESMAN   56 SAINT LAWRENCE DRIVE                                                                  AUBURN HILLS        MI 48326‐1437
MILDRED SUCHOCKI    159 CAMBRIDGE DR                                                                         LAKE OZARK          MO 65049‐9460
MILDRED SULSER      3413 DOVE HOLLOW CT                                                                      PALM HARBOR         FL 34683‐2212
MILDRED SUMAKITIS   4955 GRIST MILL CIR                                                                      NEW PORT RICHEY     FL 34655‐1309
MILDRED SUMMERS     8388 CYPRESS MILL RD                                                                     NOTTINGHAM          MD 21236‐5566
MILDRED SVINARICH   8380 E COURT ST                                                                          DAVISON             MI 48423‐3396
MILDRED SVONAVEC    8212 CLOVER LANE                                                                         GARRETTSVILLE       OH 44231‐1033
MILDRED SWAFFORD    163 N LOCKWOOD AVE                                                                       CHICAGO              IL 60644‐3302
MILDRED SWAN        465 S FREMONT ST                                                                         JANESVILLE          WI 53545‐4211
MILDRED SWANIGAN    PO BOX 311164                                                                            FLINT               MI 48531‐1164
MILDRED SWEAZY      1698 MONTGOMERY AVE                                                                      HOLLY HILL          FL 32117‐1526
MILDRED SWYGERT     300 WILBANKS DR                                                                          FAYETTEVILLE        GA 30215‐6806
MILDRED SYKES       1617 E ST                                                                                BEDFORD             IN 47421‐4321
MILDRED SZUCH       568 DEERWOOD DR                                                                          TALLMADGE           OH 44278‐2008
MILDRED T MASSIE    2247 FORESTDEAN CT.                                                                      DAYTON              OH 45459
MILDRED TACKETT     520 HANNA AVE                                                                            LOVELAND            OH 45140‐3104
MILDRED TALIAN      8246 SW 61ST CT                                                                          OCALA               FL 34476‐8585
MILDRED TANCOS      137 TURQUOISE DR                                                                         CORTLAND            OH 44410‐1908
MILDRED TANGI       26 MULBERRY LN                                                                           NEWTOWN SQUARE      PA 19073‐4604
MILDRED TAULBEE     228 S DIAMOND MILL RD                                                                    NEW LEBANON         OH 45345‐9144
MILDRED TAYLOR      176 MORNINGSIDE DR                                                                       PORT CLINTON        OH 43452‐1414
MILDRED TAYLOR      3576 DUNBAR LN                                                                           CORTLAND            OH 44410‐9628
MILDRED TAYLOR      PO BOX 191                                                                               WALLAND             TN 37886‐0191
MILDRED TAYLOR      420 S OPDYKE RD APT 11B                                                                  PONTIAC             MI 48341‐3101
MILDRED TAYLOR      5524 3 MILE RD                                                                           BAY CITY            MI 48706‐9005
MILDRED TAYLOR      12 ESSEX ROAD                                                                            SCOTCH PLAINS       NJ 07076
MILDRED TERRY       21247 GODDARD RD                                                                         TAYLOR              MI 48180‐4215
MILDRED THACKER     306 MAXWELL RD                                                                           INDIANAPOLIS        IN 46217‐3438
MILDRED THOMAS      1205 S LOCKE ST                                                                          KOKOMO              IN 46902‐1742
MILDRED THOMAS      40610 REISA LN APT 104                                                                   CANTON              MI 48188‐1368
MILDRED THOMAS      801 GARDENVIEW DR APT 313                                                                FLINT               MI 48503‐6325
MILDRED THOMAS      4332 SANFORD LN                                                                          FORT WAYNE          IN 46816‐2290
MILDRED THOMAS      509 N 22ND ST                                                                            EAST SAINT LOUIS     IL 62205‐2305
MILDRED THOMAS      2700 ELIZABETH LAKE RD APT 121                                                           WATERFORD           MI 48328‐3264
MILDRED THOMPSON    4767 HESS RD                                                                             SAGINAW             MI 48601‐6924
MILDRED THOMPSON    11451 VISTA DR                                                                           FENTON              MI 48430‐2412
MILDRED THOMPSON    8690 SCENIC BLUFF LN                                                                     WHITE LAKE          MI 48386‐2053
MILDRED THOMPSON    5112 COLUMBUS AVE                                                                        ANDERSON            IN 46013‐5136
MILDRED THOMPSON    3016 E RAHN RD                                                                           KETTERING           OH 45440‐2137
MILDRED THOMPSON    PO BOX 431606                                                                            PONTIAC             MI 48343‐1606
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Name                    Address1                         Address2            Address3                  Address4         City             State Zip
MILDRED TIBBS           PO BOX 98                                                                                       LEAVITTSBURG      OH 44430‐0098
MILDRED TINKER          5891 ELLISON RD                                                                                 STERLING          MI 48659‐9634
MILDRED TITHOF          19654 S FORDNEY RD                                                                              OAKLEY            MI 48649‐9727
MILDRED TITUS           3044 COLUMBUS ST                                                                                GROVE CITY        OH 43123‐2754
MILDRED TOOMEY          639 E COTTAGE AVE                                                                               W CARROLLTON      OH 45449‐1353
MILDRED TOWLES          3614 EASTERN DR                                                                                 DAYTON            OH 45432‐2208
MILDRED TROXELL         2316 SE 31ST ST                                                                                 OKEECHOBEE        FL 34974‐6759
MILDRED TURCUS          3400 WOOSTER RD APT 122                                                                         ROCKY RIVER       OH 44116‐4107
MILDRED TURNER          33 KIRKSTONE PASS                                                                               ROCHESTER         NY 14626‐1744
MILDRED TWARDZIK        2401 BABCOCK RD                                                                                 HINCKLEY          OH 44233‐9434
MILDRED TYE             1658 BURLINGAME ST                                                                              DETROIT           MI 48206‐1306
MILDRED VALENTINE       222 ANN AVE                                                                                     PENDLETON         IN 46064‐9110
MILDRED VALLEY          1132 S JEFFERSON AVE                                                                            SAGINAW           MI 48601‐2526
MILDRED VANBUSKIRK      1829 S SHERIDAN ST                                                                              ELWOOD            IN 46036‐3354
MILDRED VANLANEN        1320 STATE ROUTE 7 NE                                                                           BROOKFIELD        OH 44403‐9785
MILDRED VARGO           403 W PINE ST                    RD 403                                                         EDMORE            MI 48829‐9739
MILDRED VARNEY          1337 W LOBSTER TRAP DR                                                                          GILBERT           AZ 85233‐7442
MILDRED VISSER          6630 64TH AVE                    C/O JOEL VISSER                                                HUDSONVILLE       MI 49426‐9545
MILDRED VOUT            11455 S HOLLY RD                                                                                HOLLY             MI 48442
MILDRED W HANSEN        530 TINSMITH CT                                                                                 TOMS RIVER        NJ 08753‐5929
MILDRED W KANE          9623 S HOLLYBROOK LK DR          APT 104 BLDG 13                                                PEMBROKE PINES    FL 33025
MILDRED W MALONE        4907 E 41ST ST                                                                                  INDIANAPOLIS      IN 46226‐4513
MILDRED WADE            388 EAST LN                                                                                     SCOTTSVILLE       KY 42164‐8925
MILDRED WAGNER          209 WILDWOOD DR                                                                                 ROCHESTER         NY 14616‐3520
MILDRED WAGSTER         868 COUNTY ROAD 113                                                                             BONO              AR 72416‐8111
MILDRED WALKER          2288 THISTLEWOOD DR                                                                             BURTON            MI 48509‐1253
MILDRED WALKER‐O'HARA   208 SMYRNA AVE                                                                                  WILMINGTON        DE 19809‐1237
MILDRED WALL            6362 AMELIA DR                                                                                  CINCINNATI        OH 45241‐1312
MILDRED WALLEN          102 W HIGH ST BOX 16                                                                            MOUNT SUMMIT      IN 47361
MILDRED WALSH           7220 NOFFKE DR                                                                                  CALEDONIA         MI 49316‐8816
MILDRED WAMPLE          215 CHESTNUT ST                                                                                 NEW CASTLE        DE 19720‐4833
MILDRED WARD            2679 SHERLOCK DR                                                                                DECATUR           GA 30034‐1053
MILDRED WARNER          3210 LEONARD RD                                                                                 MARTINSVILLE      IN 46151‐8653
MILDRED WARRUM          4214 W 32ND ST                                                                                  ANDERSON          IN 46011‐4523
MILDRED WATKINS         C/O SHANNON SCHLESMAN ZETROUER   BUTLER PAPPAS       HARBOUR ISLAND BLVD STE                    TAMPA             FL 33602
                                                                             500
MILDRED WATSON          6112 KENBERRY PL                                                                                DAYTON           OH   45414‐2825
MILDRED WATSON          27380 MAYFAIR AVE                                                                               BROWNSTOWN TWP   MI   48183‐4893
MILDRED WATTS           642 DOUGLAS ST                                                                                  BALTIMORE        MD   21225‐3819
MILDRED WAYMIRE         107 S MONTGOMERY ST                                                                             UNION            OH   45322‐3313
MILDRED WEAVER          PO BOX 2674                                                                                     DETROIT          MI   48202‐0674
MILDRED WEBBER          27 HARWOOD ST                                                                                   LOCKPORT         NY   14094‐2305
MILDRED WEHN            70546 NATURES WAY                                                                               RICHMOND         MI   48062‐5534
MILDRED WEITZEL         23925 LAKE RD                                                                                   BAY VILLAGE      OH   44140
MILDRED WELCH           1606 FEDERAL AVE                                                                                SAGINAW          MI   48601‐1864
MILDRED WELLS           414 N MAIN ST                                                                                   EDGERTON         WI   53534‐1634
MILDRED WEMMER          PO BOX 101                                                                                      SOMERSET         IN   46984‐0101
MILDRED WENG            5440 WAGONER FORD RD                                                                            DAYTON           OH   45414‐3668
MILDRED WENZEL          1187 INDIAN CHURCH ROAD                                                                         WEST SENECA      NY   14224
MILDRED WEST            6355 ADAMSON DR                                                                                 WATERFORD        MI   48329‐3005
MILDRED WESTERBY        3811 E UNIVERSITY DR LOT 125                                                                    MESA             AZ   85205‐6936
MILDRED WESTRICK        15629 RD. B                                                                                     NEW BAVARIA      OH   43548
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Name                 Address1                       Address2                 Address3    Address4         City               State Zip
MILDRED WHEELER      1636 CARLYON RD                                                                      EAST CLEVELAND      OH 44112‐4402
MILDRED WHITE        3812 ASH ST                                                                          LAKE ELSINORE       CA 92530‐2005
MILDRED WHITMORE     13154 FORESTDALE DR                                                                  GARFIELD HTS        OH 44125‐1836
MILDRED WHITTEN      S 1434 WALNUT ST                                                                     SPOKANE             WA 99203‐1070
MILDRED WHITWORTH    1911 S KATHY DR                                                                      MUNCIE              IN 47302‐2065
MILDRED WILCOX       PO BOX 25                                                                            HOWARD              OH 43028‐0025
MILDRED WILE         1101 FOREST DR                                                                       ANDERSON            IN 46011‐1239
MILDRED WILFONG      153 RUNNEMEDE DR                                                                     BOARDMAN            OH 44512‐6638
MILDRED WILL         1920 SANDUSKY ST                                                                     SANDUSKY            OH 44870‐3055
MILDRED WILLIAMS     210 S BROADWAY ST                                                                    LAKE ORION          MI 48362‐2737
MILDRED WILLIAMS     2929 SUNNYSIDE DR APT C148                                                           ROCKFORD             IL 61114‐6092
MILDRED WILLIAMS     4307 40TH AVE                                                                        MERIDIAN            MS 39305‐3108
MILDRED WILLIAMS     1290 FLAMINGO DR                                                                     MOUNT MORRIS        MI 48458‐2859
MILDRED WILLIAMS     1914 DOBBS RD                                                                        ALEX CITY           AL 35010
MILDRED WILLIAMSON   7793 MEADOW VALE DR                                                                  MEMPHIS             TN 38125‐3147
MILDRED WILLIS       750 E 10 MILE RD                                                                     FERNDALE            MI 48220‐1045
MILDRED WILSON       513 OHIO AVE                                                                         WESTVILLE            IL 61883‐1741
MILDRED WILSON       561 RUFUS ROBINSON RD                                                                SYLVA               NC 28779‐8446
MILDRED WILSON       2987 SENECA STREET                                                                   BUFFALO             NY 14224‐2648
MILDRED WILSON       518 GRAFTON AVE                C/O JAMES WHITNEY RICE                                DAYTON              OH 45406‐5205
MILDRED WILSON       3601 E WYOMING AVE SPC 254                                                           LAS VEGAS           NV 89104‐4949
MILDRED WILSON       1672 PORTER AVE                                                                      BELOIT              WI 53511‐3610
MILDRED WILSON       210 RIVER HEIGHTS DR                                                                 COLUMBIA            TN 38401‐2326
MILDRED WISSINGER    4247 STATE ROUTE 48                                                                  WEST MILTON         OH 45383‐1926
MILDRED WITCHER      5448 VIVIAN ST                                                                       DEARBORN HEIGHTS    MI 48125‐1851
MILDRED WITHEM       1003 W CHERRY AVE              C/O M FISCHER                                         SEARCY              AR 72143‐3420
MILDRED WITHROW      38682 WHITE DR                                                                       ZEPHYRHILLS         FL 33542‐7180
MILDRED WOMER        1839 VILLAGE PATH                                                                    HERMITAGE           PA 16148‐7803
MILDRED WOOD         340 E 80 ST 11L                                                                      NEW YORK            NY 10015
MILDRED WOODS        333 HUBBARD CIR                                                                      ANNISTON            AL 36206‐1560
MILDRED WOODS        920 WHEELOCK RD                                                                      CLEVELAND           OH 44103‐1834
MILDRED WOODS        17345 PREVOST ST                                                                     DETROIT             MI 48235‐3554
MILDRED WOODY        8253 TAUROMEE AVE                                                                    KANSAS CITY         KS 66112‐1950
MILDRED WOOTEN       PO BOX 307                                                                           WHITTAKER           MI 48190‐0307
MILDRED WRIGHT       3131 N SQUIRREL RD APT 226                                                           AUBURN HILLS        MI 48326‐3951
MILDRED WRIGHT       6581 CORALBELLS CT                                                                   DAYTON              OH 45449‐3064
MILDRED Y CALHOUN    24 BEECHWOODE LN                                                                     PONTIAC             MI 48340‐2200
MILDRED Y LOYCHIK    1775 CLEMMENS NW                                                                     WARREN              OH 44485‐2109
MILDRED YODER        8721 BLUEWATER HWY                                                                   SARANAC             MI 48881‐9448
MILDRED YODER        3465 FARNSWORTH RD                                                                   LAPEER              MI 48446‐8740
MILDRED YOUNG        209 BEND FARM ROAD                                                                   FREDERICKSBRG       VA 22408‐2303
MILDRED YOUNG        400 WALTON AVE                                                                       DAYTON              OH 45417‐1672
MILDRED YOUNGMAN     1623 OLD 19                                                                          AUGUSTA             KY 41002‐9304
MILDRED YUHAS        1131 N MAPLE RD APT 133                                                              ANN ARBOR           MI 48103‐2867
MILDRED ZARR         1229 WASHINGTON AVE                                                                  MADISON              IL 62060‐1244
MILDRED ZAVORAL      6240 LAKEWOOD DRIVE                                                                  MARENGO              IL 60152‐2921
MILDRED ZAYAC        3317 W RIDGEWAY AVE                                                                  FLINT               MI 48504‐6940
MILDRED ZEMAN        7506 DEARBORN AVE                                                                    BROOKSVILLE         FL 34613‐7325
MILDRED ZEMKO        47 N BELLE VISTA AVE                                                                 YOUNGSTOWN          OH 44509‐2432
MILDRED ZLOTEK       2 OAK ST                                                                             CLARK               NJ 07066‐1931
MILDRED ZUBKE        7021 N MAPLE DR                                                                      COLOMA              MI 49038‐9537
MILDRED‐MARIE MINK   209 HELTON ROAD                                                                      E BERNSTADT         KY 40729‐6623
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Name                                 Address1                         Address2                         Address3   Address4              City                  State Zip
MILDRER JAWOROWSKI                   307 RAFFEL RD                                                                                      WOODSTOCK               IL 60098
MILDRIGE ELLISON                     405 LYNCH AVE                                                                                      PONTIAC                MI 48342‐1954
MILDTON, DOROTHY M                   3714 FOXPOINT SO                                                                                   LANSING                MI 48911
MILDTON, VICTOR C                    3714 S FOX POINTE ST                                                                               LANSING                MI 48911‐4416
MILE HIGH UNITED WAY                 2505 18TH ST                     UNITED WAY CENTENNIAL PLAZA                                       DENVER                 CO 80211‐3907
MILE MARKER, INC.                    BOB FERNANDEZ                    2121 BLOUNT RD                                                    POMPANO BEACH          FL 33069‐5112
MILE ONE RAC                         TOM THAYER                       9428 REISTERSTOWN RD                                              OWINGS MILLS           MD 21117‐4405
MILE TODOROVICH                      294 DOCKWAY LN                                                                                     NEW CONCORD            KY 42076‐9341
MILE V SRBINOVSKI                    230 HARPINGTON DR                                                                                  ROCHESTER              NY 14624‐2637
MILEA PONTIAC BUICK GMC              BARRY MILEA                      3211 E TREMONT AVE                                                BRONX                  NY 10461‐5707
MILEA PONTIAC BUICK GMC              3211 E TREMONT AVE                                                                                 BRONX                  NY 10461‐5707
MILEA TRUCK SALES CORPORATION        BARRY MILEA                      3211 E TREMONT AVE                                                BRONX                  NY 10461‐5707
MILEAF, SUSAN L                      80 GOLD ST APT 2H                                                                                  PECK SLIP              NY 10038‐1880
MILEDGE R BELL                       4724 S DIXIE DR                                                                                    DAYTON                 OH 45439‐2116
MILEDGE, JOHNNY R                    5819 STERLING GREEN TRL                                                                            ARLINGTON              TX 76017‐4225
MILEDGE, LINDA F                     5819 STERLING GREEN TRL                                                                            ARLINGTON              TX 76017‐4225
MILEFCHIK, ARNOLD J                  4471 E LINDA DR                                                                                    PORT CLINTON           OH 43452‐9132
MILEFCHIK, CHRISTOPHER D             3304 RODS DR                                                                                       SANDUSKY               OH 44870‐6702
MILEFCHIK, DAVID L                   5467 BOULDERWOOD RDG 2                                                                             CLARKSTON              MI 48348
MILEK, DOLORES                       29464 LINDA ST                                                                                     LIVONIA                MI 48154‐3720
MILEK, DONALD J                      3390 FOXMEADOW CT                                                                                  LONGWOOD               FL 32779‐3189
MILEK, JENNIFER J                    400 GREENLER RD UNIT 1504                                                                          DEFIANCE               OH 43512‐4201
MILEK, JENNIFER JOAN                 400 GREENLER RD UNIT 1504                                                                          DEFIANCE               OH 43512‐4201
MILEK, MATTHEW M                     163 10TH AVE UPPR                                                                                  NORTH TONAWANDA        NY 14120
MILEK, MICHAEL R                     1337 SAYBROOK AVE                                                                                  N TONAWANDA            NY 14120‐2358
MILEK, MICHAEL RAY                   1337 SAYBROOK AVE                                                                                  N TONAWANDA            NY 14120‐2358
MILEK, THEODORE                      29464 LINDA ST                                                                                     LIVONIA                MI 48154‐3720
MILEM, DOUGLAS                       SUTTER & ENSLEIN                 1598 KANAWHA BLVD EAST, SUITE                                     CHARLESTON             WV 25311
                                                                      200
MILEN, BETTY J                       268 CENTER ST. WEST                                                                                WARREN                OH   44481‐9338
MILEN, BETTY J                       268 CENTER ST W                                                                                    WARREN                OH   44481‐9338
MILEN, LARRY J                       6514 CORTLAND AVE                                                                                  ALLEN PARK            MI   48101‐2310
MILENA BROOKS                        5276 MICHIGAN AVE                                                                                  SANFORD               FL   32771‐8573
MILENA SIMI                          13487 HIGHLAND CIR                                                                                 STERLING HEIGHTS      MI   48312‐5342
MILENDER, JOSH A                     10525 ROLLING SPRINGS DR                                                                           INDIANAPOLIS          IN   46234‐8911
MILENIUM DESARROLLO SILAO SA DE CV   LIBRAMIENTO NORTE 3360 COL LA    JOYA CARR SILAO‐IRAPUATO SILAO              GTO CP 36169 MEXICO
                                                                                                                  MEXICO
MILENIUS, KEITH A                    410 MORAN RD                                                                                       GROSSE POINTE FARMS   MI   48236‐3213
MILENKO MILENKOVICH                  1538 N BEECH DALY RD                                                                               DEARBORN HTS          MI   48127‐3454
MILENKOVICH, MILENKO                 1538 N BEECH DALY RD                                                                               DEARBORN HTS          MI   48127‐3454
MILENKOVSKA, TOMKA                   5341 JOS CAMPAU                                                                                    DETROIT               MI   48211
MILENKOVSKI, DANIELLE
MILENKOVSKI, FILOMENA                6141 SUNNY VALE DR                                                                                 COLUMBUS              OH 43228‐9552
MILER ELECTRIC COMPANY
MILER, CHARLES R                     1002 OTTAWA AVE                                                                                    DEFIANCE              OH   43512‐3056
MILER, FRED R                        2989 CARLTON DR NW                                                                                 WARREN                OH   44485‐1221
MILES & STOCKBRIDGE PC               10 LIGHT STREET                                                                                    BALTIMORE             MD   21202
MILES & STOCKBRIDGE PC               30 W PATRICK ST                  STE 600                                                           FREDERICK             MD   21701‐5665
MILES A HADDIX                       6776 MIDDLETOWN GERMANTOWN RD                                                                      MIDDLETOWN            OH   45042
MILES AND ASSOCIATES                 MATERIAL MANAGEMENT SPECIALIST   6366 HEIDLER RD                                                   FAIRVIEW              PA   16415‐2215
MILES AND SONS                       MILI PASIC                       2700 CENTRAL AVENUE                         WINDSOR ON N8W 4
                                                                                                                  CANADA
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MILES AND SONS TRANSPORT               MILI PASIC                       2700 CENTRAL AVENUE                              WINDSOR ON N8W4J
                                                                                                                         CANADA
MILES ARNOLD LEE                       C/O EDWARD O MOODY P A           801 WEST 4TH STREET                                                      LITTLE ROCK         AR   72201
MILES AUTO SERVICE INC.                7501 STAPLES MILL RD                                                                                      RICHMOND            VA   23228‐4106
MILES AUTO SERVICE INC.                7501 STAPLES MILL RD                                                                                      RICHMOND            VA   23228‐4106
MILES AUTOMOTIVE                       2736 9TH AVE N                                                                                            SAINT PETERSBURG    FL   33713‐6805
MILES BILLY (352621)                   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA   23510
                                                                        STREET, SUITE 600
MILES BLAIR                            7267 PACKARD AVE                                                                                          WARREN             MI    48091‐4964
MILES BOBBY                            MILES, BOBBY                     PROGRESSIVE INSURANCE           P.O. BOX 89480                           CLEVELAND          OH    44101
MILES CARTER                           13 W HANNA LN                                                                                             BRATENAHL          OH    44108‐1163
MILES CHEVROLET                        3001 W NEWBERG HWY                                                                                        WOODBURN           OR    97071
MILES CHEVROLET, INC.                  150 W PERSHING RD                                                                                         DECATUR            IL    62526‐3243
MILES CHEVROLET, INC.                  CECIL VAN TUYL                   150 W PERSHING RD                                                        DECATUR            IL    62526‐3243
MILES CHEVROLET, INC.                                                                                                                            DECATUR            IL    62526‐3243
MILES COLLEGE                          STUDENT ACCOUNTS                 PO BOX 3800                                                              BIRMINGHAM         AL    35208
MILES COTTON
MILES D AUTOMOTIVE LTD                 UNIT A 1002 HERRING GULL WAY                                                      PARKSVILLE BC V9P 2N1
                                                                                                                         CANADA
MILES DALE DEAN (ESTATE OF) (626659)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK             VA 23510
                                                                        STREET, SUITE 600
MILES DONALD (488510)                  BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                            NORTHFIELD         OH 44067
                                                                        PROFESSIONAL BLDG
MILES E PETTITT                        PO BOX 211                                                                                                ALPHA              OH    45301‐0211
MILES EVENT RENTAL                     25 ELDREDGE                                                                                               MOUNT CLEMENS      MI    48043
MILES FEENEY                           771 SUNDISK CT                                                                                            INDIANAPOLIS       IN    46231‐1184
MILES FELMLY                           1252 ST RT #14                                                                                            DEERFIELD          OH    44411
MILES FITZGERALD                       13340 KARL ST                                                                                             SOUTHGATE          MI    48195‐2415
MILES FOSTER                           BEVAN & ASSOCIATES, LPA, INC.    6555 DEAN MEMORIAL PARKWAY                                               BOSTON HTS.        OH    44236
MILES FOX/WARREN                       5775 E 13 MILE RD                                                                                         WARREN             MI    48092‐1504
MILES GRUBB & ASSOCIATES               DBA STAR EMS                     PO BOX 420155                                                            PONTIAC            MI    48342‐0155
MILES GRUBB & ASSOCIATES LLC           63 OAKLAND AVE                   PO BOX 420155                                                            PONTIAC            MI    48342‐2044
MILES GRUBB & ASSOCIATESLLC            PO BOX 420155                    DBA STAR EMS                                                             PONTIAC            MI    48342‐0155
MILES HAVENS                           868 ALT BLVD                                                                                              GRAND ISLAND       NY    14072‐2413
MILES HOFF                             909 MURPHY CT                                                                                             BAY CITY           MI    48706‐3960
MILES HOFFER                           30 TWIN LAKE DR APT 3                                                                                     LAKE SAINT LOUIS   MO    63367
MILES HUBBARD                          6505 LEMON RD                                                                                             BANCROFT           MI    48414‐9723
MILES HUNTER                           3178 TONEY DR                                                                                             DECATUR            GA    30032
MILES III, MACK                        2650 CROSSWOOD LN                                                                                         SHREVEPORT         LA    71118‐5020
MILES INC/TROY                         11505 STEPHENSON HIGHWAY                                                                                  TROY               MI    48083
MILES JESSE J SR (356533)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                              NORFOLK            VA    23510
                                                                        STREET, SUITE 600
MILES JIM INC                          1408 HIGHWAY 45 BYP                                                                                       JACKSON             TN   38305‐2710
MILES JOHN                             1004 OLMSTED DR                                                                                           GLENDALE            CA   91202‐1430
MILES JOHNSON                          3008 M L KING AVE                                                                                         FLINT               MI   48505‐4266
MILES JR, BASIL J                      4597 ELM CREEK RD                                                                                         NORTH BRANCH        MI   48461‐8949
MILES JR, CHARLIE                      6807 PARKBELT DR                                                                                          FLINT               MI   48505‐1938
MILES JR, CLAUDE W                     43 GOLF CLUB CROSSOVER                                                                                    CROSSVILLE          TN   38571‐5728
MILES JR, EDDIE L                      9214 CINNEBAR DR                                                                                          INDIANAPOLIS        IN   46268‐3201
MILES JR, FRANK L                      21318 MAJESTIC AVE                                                                                        FERNDALE            MI   48220‐2114
MILES JR, HARLEY B                     1640 HUNTWOOD PARK CT                                                                                     WEST BLOOMFIELD     MI   48324‐3998
MILES JR, JOE E                        417 CARRIER ST                                                                                            LANSING             MI   48906‐3026
                           09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                                Exhibit B
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Name                      Address1                             Address2                         Address3                    Address4         City            State Zip
MILES JR, JONNIE W        2323 FRANKLIN ST                                                                                                   ANDERSON         IN 46016‐4660
MILES JR, LEE H           3838 N IRVINGTON AVE                                                                                               INDIANAPOLIS     IN 46226‐4767
MILES JR, ODELL           3207 SKANDER DR                                                                                                    FLINT            MI 48504‐1231
MILES JR, PAUL A          3733 PALISADES BLVD                                                                                                YPSILANTI        MI 48197‐7502
MILES JR, ROBERT J        5893 OLD ALLEGAN ROAD                                                                                              HAMILTON         MI 49419‐9695
MILES JR, WILLIAM P       APT 210                              14500 N FRANK LLOYD WRGHT BLVD                                                SCOTTSDALE       AZ 85260‐8831

MILES JR., LENWOOD        1417 SAINT TERESA CT                                                                                               LOCUST GROVE    GA 30248‐4364
MILES KEENE               114 TANNER SCHOOL BUS RD                                                                                           FLORAHOME       FL 32140‐3326
MILES KOVSKI              BEVAN & ASSOCIATES, LPA, INC.        6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS.     OH 44236
MILES LAURA               GREEN, BRAIN
MILES LAURA               MILES, LAURA
MILES LAURA               GREEN, BRAIN                         BRIAN J GREEN                    SIGNATURE SQUARE II SUITE                    BEACHWOOD       OH 44122
                                                                                                220 25101 CHAGRIN
                                                                                                BOULEVARD
MILES LAURA               MILES, LAURA                         BRIAN J GREEN                    SIGNATURE SQUARE II SUITE                    BEACHWOOD       OH 44122
                                                                                                220 25101 CHAGRIN
                                                                                                BOULEVARD
MILES LEFFLER             445 N 700 E                                                                                                        MARION          IN 46952‐9189
MILES LEWIS               5035 FOREST SIDE DR                                                                                                FLINT           MI 48532‐2327
MILES LIONEL E (176647)   BROWN TERRELL HOGAN ELLIS            804 BLACKSTONE BLDG , 233 EAST                                                JACKSONVILLE    FL 32202
                          MCCLAMMA & YEGELWEL P.A.             BAY STREET
MILES LISA M              APT 73                               541 YORKSHIRE DRIVE                                                           ROCHESTER HLS   MI   48307‐4085
MILES LISTENBEE           6510 COVINGTON RD APT E236                                                                                         FORT WAYNE      IN   46804‐7358
MILES LOCKARD             353 POTOMAC AVE                                                                                                    YOUNGSTOWN      OH   44507‐1956
MILES LOIS                26 97TH AVENUE NORTHWEST                                                                                           MINNEAPOLIS     MN   55448‐5637
MILES MABE                BRENT COON & ASSOCIATES              215 ORLEANS                                                                   BEAUMONT        TX   77701
MILES MANIFOLD            96 MAPLE RUN BLVD                                                                                                  SPRINGVILLE     IN   47462
MILES MANIFOLD SR         2840 FOXWOOD CT                                                                                                    MIAMISBURG      OH   45342‐4435
MILES MARTHA              289 ASHLEY ROAD 201 WEST                                                                                           CROSSETT        AR   71635‐9047
MILES MAXEY               8663 FISH LAKE RD                                                                                                  HOLLY           MI   48442‐9160
MILES MAYO                2601 NYACK LN                                                                                                      DAYTON          OH   45439‐2936
MILES MILLER              3355 S ELMS RD                                                                                                     SWARTZ CREEK    MI   48473‐7929
MILES MODINE              2770 BROWN HOLLOW RD                                                                                               COLUMBIA        TN   38401‐7179
MILES OWENS               1141 COUTANT ST                                                                                                    FLUSHING        MI   48433‐1771
MILES PETTITT             PO BOX 211                                                                                                         ALPHA           OH   45301‐0211
MILES PRESS INC, THE      4923 W 78TH ST                                                                                                     INDIANAPOLIS    IN   46268‐4170
MILES PRESS INC, THE      ATTN: CORPORATE OFFICER/AUTHORIZED   P O BOX 6069                     DEPT 98                                      INDIANAPOLIS    IN   46206‐6069
                          AGENT
MILES ROBERT D            9440 GLADSTONE RD                                                                                                  NORTH JACKSON   OH   44451‐9608
MILES ROBERT L (450098)   SIMMONS FIRM                         PO BOX 559                                                                    WOOD RIVER      IL   62095‐0559
MILES RUBBER & PACKING    9020 DUTTON DR                                                                                                     TWINSBURG       OH   44087‐1931
MILES RUBBER & PACKING    9020 DUTTON DRIVE                                                                                                  INDIANAPOLIS    IN   46250
MILES RUBBER CO           9020 DUTTON DR                                                                                                     TWINSBURG       OH   44087‐1931
MILES RUBBER CO           9020 DUTTON DRIVE                                                                                                  INDIANAPOLIS    IN   46250
MILES S MCGUFFIN          4910 UPPER VALLEY RD                                                                                               DAYTON          OH   45424
MILES S MCINTOSH          834 POWELL AVE                                                                                                     MIAMISBURG      OH   45342‐1717
MILES SCHLARB             9309 ERNST RD                                                                                                      FORT WAYNE      IN   46809‐9605
MILES SETER
MILES SHAFFER             9901 BELSAY RD                                                                                                     MILLINGTON      MI 48746‐9721
MILES SHARIE              MILES, SHARIE                        25 MALL RD STE 300                                                            BURLINGTON      MA 01803‐4145
MILES SMITH               23595 NORRIS CIR                                                                                                   MORENO VALLEY   CA 92557
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Name                            Address1                            Address2                      Address3   Address4         City               State Zip
MILES STAFFORD                  BEVAN & ASSOCIATES LPA INC          6555 DEAN MEMORIAL PARKWAY                                BOSTON HTS          OH 44236
MILES STEVEN                    29464 VALLEY BND                                                                              FARMINGTON HILLS    MI 48331‐2469
MILES SUSAN                     5764 NW 71ST TER                                                                              PARKLAND            FL 33067‐1204
MILES TANNER                    5374 WARWICK TRL                                                                              GRAND BLANC         MI 48439‐9578
MILES TRANSPORTATION DISB INC   4950 GATEWAY BLVD E                                                                           EL PASO             TX 79905‐1606
MILES TY INC                    9855 DERBY LN                                                                                 WESTCHESTER          IL 60154‐3765
MILES VULETICH                  13809 HILLTOP DR W                                                                            PLYMOUTH            MI 48170‐5310
MILES W LEWIS                   C/O WILLIAMS KHERKHER HART AND      8441 GULF FREEWAY STE 600                                 HOUSTON             TX 77007
                                BOUNDAS LLP
MILES WALTER JR                 528 PERSHING AVE APT D                                                                        GLEN ELLYN         IL   60137‐6284
MILES WAYBRANT                  1422 KNAPP AVE                                                                                FLINT              MI   48503‐6707
MILES WEATHERUP                 9875 TOWNE CENTRE DRIVE                                                                       SAN DIEGO          CA   92121
MILES WILLIAMS                  740 HIGHWAY 23 NW                                                                             SUWANEE            GA   30024‐2142
MILES WILSON                    497 MASSEY CT                                                                                 CINCINNATI         OH   45255‐4900
MILES, ADA                      3820 M L KING AVE                                                                             FLINT              MI   48505‐3702
MILES, ALIJAH RAISHON
MILES, ALLEN D                  430 HOLLY CT                                                                                  MIDDLETOWN         DE   19709‐8600
MILES, ANGELA D                 1720 COOPER LAKE DR SE                                                                        SMYRNA             GA   30080‐6410
MILES, ANNA H                   6777 CLEARY RD                                                                                LIVONIA            NY   14487‐9567
MILES, ANNA H                   6777 CLEARY ROAD                                                                              LIVONIA            NY   14487‐9567
MILES, ANNIE C                  1471 S. CORNELL                                                                               FLINT              MI   48505‐1117
MILES, ANNIE C                  1471 S CORNELL AVE                                                                            FLINT              MI   48505‐1117
MILES, ANQUENETTE RASHON
MILES, ARNOLD LEE               MOODY EDWARD O                      801 W 4TH ST                                              LITTLE ROCK        AR   72201‐2107
MILES, ARTHUR D                 1700 EAST 38TH STREET                                                                         MARION             IN   46953‐4568
MILES, ARTHUR E                 10395 RUSTIC RDG                                                                              FENTON             MI   48430‐8432
MILES, ARTHUR F                 4318 E CARPENTER RD                                                                           FLINT              MI   48506‐1087
MILES, ARTHUR FRANK             4318 E CARPENTER RD                                                                           FLINT              MI   48506‐1087
MILES, BECKY                    660 PERRY ST                                                                                  DEFIANCE           OH   43512‐2765
MILES, BELINDA G                213 PORTER DR                                                                                 ENGLEWOOD          OH   45322‐2449
MILES, BETTY J                  5407 GRANVILLE AVE                                                                            FLINT              MI   48505‐2657
MILES, BILLY                    GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                               NORFOLK            VA   23510‐2212
                                                                    STREET, SUITE 600
MILES, BILLY G                  909 CANNON DR                                                                                 EULESS             TX   76040‐5314
MILES, BIRDA L                  4538 WHITE DOGWOOD LANE                                                                       NORTHPORT          AL   35473‐1247
MILES, BLANCHE M                4662 BIRCHWOOD ST.                                                                            ALGER              MI   48610‐9533
MILES, BOBBY                    PROGRESSIVE INSURANCE               PO BOX 89480                                              CLEVELAND          OH   44101‐6480
MILES, BOBBY                    PO BOX 79414                                                                                  FORT WORTH         TX   76179‐0414
MILES, BRADLEY T                PO BOX 1777                                                                                   NEWPORT            TN   37822‐1777
MILES, BRANDON                  34 PATTON DR APT 117                                                                          PENSACOLA          FL   32507
MILES, BRANT E                  PO BOX 20402                                                                                  PHILADELPHIA       PA   19137
MILES, BRENDA E.                4916 GLENCROSS DR                                                                             DAYTON             OH   45406‐1126
MILES, BRUCE R                  2011 HASLER LAKE RD                                                                           LAPEER             MI   48446‐9648
MILES, BRUCE W                  26650 AYERSVILLE PLEASANT BEND RD                                                             DEFIANCE           OH   43512‐6967
MILES, CARLISLE L               8757 SOUTHCREEK CT                                                                            INDIANAPOLIS       IN   46217‐5080
MILES, CAROL C                  5644 N OLIVIA DR                                                                              ALEXANDRIA         IN   46001‐8605
MILES, CAROLYN                  1034 BITTNER ST                                                                               SAINT LOUIS        MO   63147‐1852
MILES, CAROLYN                  1034 BITTNER                                                                                  ST LOUIS           MO   63147‐1852
MILES, CHAQUESE R               18460 MENDOTA ST                                                                              DETROIT            MI   48221‐1947
MILES, CHARLENE                 1219 51ST AVE E LOT 1                                                                         BRADENTON          FL   34203‐4869
MILES, CHARLES A                4616 CAMBRIA WILSON RD                                                                        LOCKPORT           NY   14094‐9738
MILES, CHARLOTTE F              46 MILL SPRINGS                                                                               COATSVILLE         IN   46121‐8946
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Name                     Address1                        Address2                      Address3   Address4         City            State Zip
MILES, CHARLOTTE F       46 MILL SPGS                                                                              COATESVILLE      IN 46121‐8946
MILES, CHARLOTTE L       6799 EDGEWATER DR                                                                         TROY             MI 48085‐1354
MILES, CHERYL A          35495 HICKORY GREEN CT APT D                                                              WESTLAND         MI 48185‐6679
MILES, CHRISTENE         325 THE LANE RD                                                                           COOKEVILLE       TN 38506‐8755
MILES, CHRISTINE M       8597 TANGLEWOOD STREET                                                                    TEMPERANCE       MI 48182‐2713
MILES, CLAIRE A          3357 CHESHAM ST                                                                           RESCUE           CA 95672‐9369
MILES, CLAIRE C          7296 TARA DR                                                                              VILLA RICA       GA 30180‐3922
MILES, CLARENCE D        6210 CEDAR BEND WAY                                                                       AVON             IN 46123‐7273
MILES, CLAUDETTE         PO BOX 496                                                                                MULLINS          SC 29574‐0496
MILES, CLAUDETTE         P.O.BOX 496                                                                               MULLINS          SC 29574‐0496
MILES, CLORA C.          RR 1 BOX 267                                                                              SAINT CHARLES    VA 24282‐9718
MILES, CORA              5758 VERMONT AVE                                                                          DETROIT          MI 48208‐1611
MILES, CORA              5758 VERMONT ST                                                                           DETROIT          MI 48208‐1611
MILES, DALE DEAN         GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                         STREET, SUITE 600
MILES, DALE S            1552 NE RIVER RD                                                                          LAKE MILTON     OH   44429‐9641
MILES, DANIEL C          5250 KNOLLWOOD DR APT 7                                                                   PARMA           OH   44129‐1015
MILES, DANIEL CLEOPHAS   5250 KNOLLWOOD DR APT 7                                                                   PARMA           OH   44129‐1015
MILES, DANIEL P          46616 MCBRIDE AVE                                                                         BELLEVILLE      MI   48111‐1248
MILES, DANIEL PATRICK    46616 MCBRIDE AVE                                                                         BELLEVILLE      MI   48111‐1248
MILES, DANIEL W          13956 QUITMAN MERIDIAN HWY                                                                MERIDIAN        MS   39301‐7718
MILES, DARDEN D          16868 FENMORE ST                                                                          DETROIT         MI   48235‐3338
MILES, DARDEN DELORCE    COON BRENT W                    PO BOX 4905                                               BEAUMONT        TX   77704‐4905
MILES, DARREN P          1149 TERRA LN                                                                             ROCHESTER       MI   48306‐4817
MILES, DARRYL C          4774 UPPER MOUNTAIN RD                                                                    LOCKPORT        NY   14094‐9606
MILES, DARVEN L          618 W ELDRIDGE AVE                                                                        FLINT           MI   48505‐3291
MILES, DARYL M           PO BOX 1646                                                                               ANDOVER         OH   44003‐1646
MILES, DAVID B           59 N CARPENTER RD                                                                         BRUNSWICK       OH   44212‐1315
MILES, DAVID H           3286 MAJESTIC OAK DR                                                                      ANDERSON        IN   46011
MILES, DAVID L           5587 E GRAND RIVER AVE                                                                    HOWELL          MI   48843‐9144
MILES, DAVID LEROY       11094 PATTERSON LAKE DR                                                                   PINCKNEY        MI   48169
MILES, DAVID M           9130 ARNOLD                                                                               REDFORD         MI   48239‐1556
MILES, DEBORAH           66 CREEKVIEW TRL                                                                          CLAYTON         GA   30525
MILES, DELBORAH L        134 SPINDLETOP DR                                                                         BOWLING GREEN   KY   42104‐7569
MILES, DELMER S          3296 LEIGHTON ROAD                                                                        COLUMBUS        OH   43221‐1319
MILES, DENISE D          4481 ROBB HWY                                                                             PALMYRA         MI   49268‐9753
MILES, DIXIE E           PO BOX 3311                                                                               WARREN          OH   44485
MILES, DOLORES I         2331 ARROW AVE                                                                            ANDERSON        IN   46016
MILES, DON G             27871 BEAUTYVIEW LN                                                                       GRAVOIS MILLS   MO   65037‐3602
MILES, DONALD J          4539 WILDWOOD LOOP                                                                        CLARKSTON       MI   48348‐1467
MILES, DOROTHY E         1015 NE 20TH ST                                                                           OKLAHOMA CITY   OK   73111‐2101
MILES, DOROTHY E         1473 NORTH FAXONY DRIVE SE                                                                GRAND RAPIDS    MI   49508
MILES, DOROTHY M         9658 BROADSTREET                                                                          DETROIT         MI   48204
MILES, DOYCE R           3802 CASTANO DR.                                                                          DAYTON          OH   45416‐1138
MILES, DUANE P           3834 HOOVER RD                                                                            BARRYTON        MI   49305‐9737
MILES, E D               8314 BLEWETT AVE                                                                          SEPULVEDA       CA   91343‐6302
MILES, EARNESTINE O      2406 BETH DR                                                                              ANDERSON        IN   46017‐9627
MILES, EDDIE L           1001 CHANDLER ST                                                                          DANVILLE        IL   61832‐3724
MILES, EDDIE L           149 INFIRMARY RD                                                                          DAYTON          OH   45427‐2604
MILES, EDWARD E          PO BOX 26075                                                                              INDIANAPOLIS    IN   46226‐0075
MILES, ELEANOR C         2930 LOCKPORT OLCOTT RD         POST OFFICE BOX 162                                       NEWFANE         NY   14108‐9601
MILES, ELEANOR C         2930 SOUTH MAIN                 POST OFFICE BOX 162                                       NEWFANE         NY   14108‐9601
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Name                  Address1                        Address2                      Address3   Address4         City                State Zip
MILES, ELEANOR M      23225 LORAIN RD                                                                           NORTH OLMSTED        OH 44070‐1624
MILES, ELIZABETH M    8885 HATHAWAY                                                                             CLIFFORD             MI 48727‐9709
MILES, ELIZABETH M    8885 HATHAWAY RD                                                                          CLIFFORD             MI 48727‐9709
MILES, ELLEN J        1315 ANDREW AVE                                                                           SHREVEPORT           LA 71103‐2314
MILES, ELLEN JOYCE    1315 ANDREW AVE                                                                           SHREVEPORT           LA 71103‐2314
MILES, EUGENE         5400 LAKE VISTA DR                                                                        WATERFORD            MI 48327‐3047
MILES, EVA M          3569A COUNTY ROAD 13                                                                      SHORTSVILLE          NY 14548‐9713
MILES, EVELYN         33 W COLGATE                                                                              PONTIAC              MI 48340
MILES, EVELYN         33 W COLGATE AVE                                                                          PONTIAC              MI 48340‐1140
MILES, FLORENCE G     10939 MAPLE RIDGE RD                                                                      MEDINA               NY 14103‐9516
MILES, FLOYD W        630 PLEASANT ST SE                                                                        GRAND RAPIDS         MI 49503‐5531
MILES, FLOYD W        99 POE LN                                                                                 XENIA                OH 45385‐2731
MILES, FREDIE G       44 DARTMOUTH AVE                                                                          BUFFALO              NY 14215‐1002
MILES, GABBY          355 E STATE ROAD 64                                                                       HUNTINGBURG          IN 47542‐9567
MILES, GENE R         25409 CONCORD LN                                                                          SOUTH LYON           MI 48178‐1049
MILES, GEORGIA A      20229 KLINGER ST                                                                          DETROIT              MI 48234‐1773
MILES, GILBERT J      1740 S LAPEER RD                                                                          LAPEER               MI 48446‐9313
MILES, GLADYS M       9370 TERRY ST                                                                             DETROIT              MI 48228‐2344
MILES, GLEN A         8425 S STATE ROAD 267                                                                     MOORESVILLE          IN 46158‐7483
MILES, GRACE L        9008 MAYFAIR                                                                              JACKSONVILLE         AR 72076‐5619
MILES, GRANT E        4703 MERMAID BLVD                                                                         WILMINGTON           DE 19808‐1803
MILES, HANNAH         16 MILLENNIUM DR                                                                          COLUMBUS             NJ 08022‐2250
MILES, HOWARD W       10797 N SHORE DR                                                                          HILLSBORO            OH 45133‐9749
MILES, HOWARD W       10797 NORTH SHORE DRIVE                                                                   HILLSBORO            OH 45133‐5133
MILES, HUGH F         277 HARBOR VIEW LN                                                                        PETOSKEY             MI 49770‐8692
MILES, I G            34570 SE COLORADO RD                                                                      SANDY                OR 97055‐8267
MILES, IRMA           APT 302                         66 CUSTER STREET                                          BUFFALO              NY 14214‐1179
MILES, IRMA           66 CUSTER ST APT 302                                                                      BUFFALO              NY 14214
MILES, JACK           2229 9TH ST                                                                               WYANDOTTE            MI 48192‐4339
MILES, JACK D         2020 NW N ST                                                                              RICHMOND             IN 47374‐1423
MILES, JACK D         21470 KISER RD                                                                            DEFIANCE             OH 43512‐9061
MILES, JACQUELINE A   3139 VALERIE ARMS DR., APT. 2                                                             DAYTON               OH 45405‐5405
MILES, JACQUELINE A   1427 NEWTON AVE                                                                           DAYTON               OH 45406‐4256
MILES, JACQUELYN R    5417 YOUNGSTOWN KINGSVILLE RD                                                             CORTLAND             OH 44410‐9717
MILES, JAMES C        402 LODY LN                                                                               KOKOMO               IN 46901‐4102
MILES, JAMES D        420 N ROSEVERE AVE                                                                        DEARBORN             MI 48128‐1738
MILES, JAMES H        PO BOX 33                       316 W FULTON                                              POMPEII              MI 48874‐0033
MILES, JAMES M        PO BOX 2529                                                                               CLEBURNE             TX 76033‐2529
MILES, JAMES T        4000 HAROLD ST APT 229                                                                    SAGINAW              MI 48601
MILES, JAMES T        21 N SQUIRREL RD                                                                          AUBURN HILLS         MI 48326‐4002
MILES, JAMES W        PO BOX 34028                                                                              DETROIT              MI 48234‐0028
MILES, JANINE M
MILES, JANIS          2303 BELLFIELD ST               APT# 4                                                    CLEVLAND HEIGHTS    OH   44106
MILES, JANIS          2303 BELLFIELD AVE APT 4                                                                  CLEVELAND HEIGHTS   OH   44106‐3158
MILES, JERRY          2299 OAKLAND BOULEVARD                                                                    DETROIT             MI   48238
MILES, JESSE          13246 SANTA ROSA DR                                                                       DETROIT             MI   48238‐4206
MILES, JESSE J        GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA   23510‐2212
                                                      STREET, SUITE 600
MILES, JILL M         3063 BAKER HTS                                                                            FLINT               MI   48507‐4538
MILES, JOAN P         2302 LUCAYA LN APT M3                                                                     COCONUT CREEK       FL   33066‐1125
MILES, JOHN E         3330 FEE FEE RD                                                                           BRIDGETON           MO   63044‐3225
MILES, JOHN I         7159 N EBERHART AVE                                                                       HARRISON            MI   48625‐8833
                      09-50026-mg             Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit B
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Name                  Address1                                Address2                           Address3   Address4         City                State Zip
MILES, JOHN K         1265 OQUIRRH DR                                                                                        PROVO                UT 84604‐2935
MILES, JOHN M         7099 REFLECTION DR NE                                                                                  COMSTOCK PARK        MI 49321‐9639
MILES, JOHN P         5644 N OLIVIA DR                                                                                       ALEXANDRIA           IN 46001‐8605
MILES, JOHN P         14125 CASTLE AVE                                                                                       WARREN               MI 48088‐5824
MILES, JOHN T         5644 N OLIVIA DR                                                                                       ALEXANDRIA           IN 46001‐8605
MILES, JOHN T         309 MAIN STREET                                                                                        FRANKFORD            MO 63441‐1027
MILES, JOHNNIE M      2209 CRESTWOOD DR                                                                                      ANDERSON             IN 46016‐2751
MILES, JON A          1128 WOODBINE AVE                                                                                      LANSING              MI 48910‐2633
MILES, JON A          153 FAIRVIEW DR                                                                                        CORTLAND             OH 44410‐1425
MILES, JOSEPH         1471 S CORNELL AVE                                                                                     FLINT                MI 48505‐1117
MILES, JOSEPH E       4150 N VINEWOOD AVE                                                                                    INDIANAPOLIS         IN 46254‐2833
MILES, JOSEPH L       327 E 3RD ST                                                                                           LIMA                 OH 45804‐2015
MILES, JOSHUA         7602 IVYWOOD DR                                                                                        INDIANAPOLIS         IN 46250‐2119
MILES, JOYCE
MILES, JUDITH A       1062 PAINT CREEK LN                                                                                    ROCHESTER HILLS     MI   48306‐4242
MILES, KAREN J        2011 HASLER LAKE RD                                                                                    LAPEER              MI   48446‐9648
MILES, KAREN S        761 OHIO AVE.                                                                                          MCDONALD            OH   44437‐1835
MILES, KAREN S        761 OHIO AVE                                                                                           MC DONALD           OH   44437‐1835
MILES, KENDEL D       411 CAMPBELL AVENUE                                                                                    YPSILANTI           MI   48198‐3801
MILES, KENDEL DEE     411 CAMPBELL AVENUE                                                                                    YPSILANTI           MI   48198‐3801
MILES, KENNETH        COLOM LAW FIRM                          605 2ND AVE N                                                  COLUMBUS            MS   39701‐4513
MILES, KENNETH D      19691 GALLAGHER ST                                                                                     DETROIT             MI   48234‐1611
MILES, KENNETH E      387 WARREN ST                                                                                          FLINT               MI   48505‐4349
MILES, KENNETH EARL   387 WARREN ST                                                                                          FLINT               MI   48505‐4349
MILES, KENNETH L      20718 GARDENVIEW DR                                                                                    MAPLE HEIGHTS       OH   44137‐2420
MILES, KENNETH W      23309 ROAD 1008                                                                                        DEXTER              NY   13634‐2100
MILES, KIM D          5407 GRANVILLE AVENUE                                                                                  FLINT               MI   48505‐2657
MILES, KIMMIE S       7211 SCOTT HWY                                                                                         BLISSFIELD          MI   49228‐9621
MILES, KIMMIE SCOTT   7211 SCOTT HWY                                                                                         BLISSFIELD          MI   49228‐9621
MILES, KRISANDRA L    128 MAEDER AVE                                                                                         DAYTON              OH   45427‐1933
MILES, LAREISHA W     2323 FRANKLIN ST                                                                                       ANDERSON            IN   46016‐4660
MILES, LARRY L        PO BOX 47                                                                                              RIDGE FARM          IL   61870‐0047
MILES, LATANYA R      713 SAINT ANDREWS CT                                                                                   PONTIAC             MI   48340‐1340
MILES, LAURA          1748 CLEMSON DRIVE                                                                                     BRUNSWICK           OH   44212‐6107
MILES, LAURANCE R     431 PARKVIEW DR                                                                                        BLUE EYE            MO   65611‐7323
MILES, LAWRENCE       LAVIN COLEMAN ONEIL RICCI FINARELLI &   10TH FLR, PENN MUTUAL BUILDIN, G                               PHILADELPHIA        PA   19106
                      GRAY                                    510 WALNUT STREET
MILES, LEE V          7950 MEADOWVIEW CT                                                                                     YPSILANTI           MI   48197‐8321
MILES, LEE VELL       7950 MEADOWVIEW CT                                                                                     YPSILANTI           MI   48197‐8321
MILES, LELAN L        3109 BRIARWOOD DR                                                                                      FLINT               MI   48507
MILES, LEON           16855 RIVERVIEW ST                                                                                     DETROIT             MI   48219‐3724
MILES, LEROY          9658 BROADSTREET AVE                                                                                   DETROIT             MI   48204‐1659
MILES, LINDA          502 WALLER PL                                                                                          EXCELSIOR SPRINGS   MO   64024‐1453
MILES, LINDA L        6210 CEDAR BEND WAY                                                                                    AVON                IN   46123‐7273
MILES, LINDA M        7736 BERMEJO RD                                                                                        FORT WORTH          TX   76112‐6119
MILES, LIONEL         BROWN TERRELL HOGAN ELLIS               804 BLACKSTONE BLDG, 233 EAST                                  JACKSONVILLE        FL   32202
                      MCCLAMMA & YEGELWEL P.A.                BAY STREET
MILES, LONNY N        6753 WESTWOOD DR                                                                                       MILLINGTON          MI   48746‐9475
MILES, LORAIN         PO BOX 934                                                                                             ANDERSON            IN   46015‐0934
MILES, LORAIN C       PO BOX 934                                                                                             ANDERSON            IN   46015‐0934
MILES, LOUIS A        3129 E PARK ROW DR APT 349                                                                             ARLINGTON           TX   76010‐3780
MILES, LOUIS H        2700 ELIZABETH LAKE RD APT 614                                                                         WATERFORD           MI   48328‐3269
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Name                    Address1                        Address2            Address3         Address4               City               State Zip
MILES, LOUISE A         255 BASKET BRANCH                                                                           OXFORD              MI 48371‐6344
MILES, LOUISE A         255 BASKET BR                                                                               OXFORD              MI 48371‐6344
MILES, LOUISE T         4121 WILKESVIEW DR APT C                                                                    CHATTANOOGA         TN 37416‐3326
MILES, LUCILE M         4432 WISNER ST                                                                              SAGINAW             MI 48601‐6789
MILES, M S              3831 CORNICE FALLS DR APT 3                                                                 HOLT                MI 48842‐9803
MILES, MALVINA E        7075 FORD                                                                                   WARREN              MI 48091‐3046
MILES, MARGIE D         G8070 N BRAY RD                                                                             MOUNT MORRIS        MI 48458
MILES, MARILYN K        2305 W 22ND ST                                                                              ANDERSON            IN 46016‐3620
MILES, MARILYN M        320 E SOUTH                                                                                 ITHACA              MI 48847‐1503
MILES, MARION E         108 BUTLER DR                                                                               SHAWNEE             OK 74804‐9313
MILES, MARION J         2965 TUXEDO BLVD                                                                            WATERFORD           MI 48329‐2866
MILES, MARION J         2965 TUXEDO                                                                                 WATERFORD           MI 48329‐2866
MILES, MARJORIE A       6880 E NIGHTINGALE STAR CIR                                                                 SCOTTSDALE          AZ 85266‐7044
MILES, MARJORIE A       29862 N TATUM BLVD APT 1072                                                                 CAVE CREEK          AZ 85331‐3728
MILES, MARJORIE S       PO BOX 908                                                                                  PLEASANTON          CA 94566‐0090
MILES, MARJORIE S       P.O. BOX 908                                                                                PLEASANTON          CA 94566‐0090
MILES, MARK A           PO BOX 56                       106 S FIFTH ST                                              POMPEII             MI 48874‐0056
MILES, MARK E           38368 RIVER PARK DR                                                                         STERLING HEIGHTS    MI 48313‐5774
MILES, MARK Q           378 PARKWOOD DR                                                                             ORANGE PARK         FL 32073‐2616
MILES, MARLIN A         APT 4                           411 MEADOW DRIVE                                            TROY                 IL 62294‐1078
MILES, MARLIN A         411 MEADOW DRIVE                APT 4                                                       TROY                 IL 62294
MILES, MARY             459 ROBINSON AVE                                                                            MARRERO             LA 70072‐1622
MILES, MARY             16 MILLENNIUM DR                                                                            COLUMBUS            NJ 08022‐2250
MILES, MARY E           2719 DELK CT                                                                                BALTIMORE           MD 21222‐1610
MILES, MARY H           143 RUNNING DEER RD                                                                         MABANK              TX 75156
MILES, MARY J           721 W PETERS RD                                                                             WEST BRANCH         MI 48661‐9531
MILES, MAUREEN          1010 W MANSUR AVE                                                                           GUTHRIE             OK 73044
MILES, MAXCINE          302 W FLINT PARK BLVD                                                                       FLINT               MI 48505‐3242
MILES, MEREDITH D       134 SPINDLETOP DR                                                                           BOWLING GREEN       KY 42104‐7569
MILES, MICHAEL A        1151 E COUNTY ROAD 300 N                                                                    CENTERPOINT         IN 47840‐8296
MILES, MICHAEL D        21180 LASER LN                                                                              SOUTH LYON          MI 48178‐9259
MILES, MICHAEL E        1391 HAMMERBERG CT              #8B                                                         FLINT               MI 48507‐3214
MILES, MICHAEL EUGENE   1391 HAMMERBERG CT 8B                                                                       FLINT               MI 48507‐3214
MILES, MICHAEL I        5631 BALFOUR RD                                                                             SYLVANIA            OH 43560‐2008
MILES, MICHAEL J        1302 COACH HOUSE LANE                                                                       SOUTH LYON          MI 48178‐8719
MILES, MICHAEL T        1015 ATHLETIC STREET                                                                        VASSAR              MI 48768‐1111
MILES, MICHAEL W        27316 HOFFMAN RD                                                                            DEFIANCE            OH 43512‐8979
MILES, NANCY            1034 NORDYKE RD                                                                             CINCINNATI          OH 45255‐4746
MILES, NANCY A          3401 ROBINSONVILLE RD                                                                       ATMORE              AL 36502‐4707
MILES, NEIL F           6240 PRICE RD                   6240 PRICE RD                                               LIVONIA             NY 14487‐9523
MILES, NEIL R           7‐2407 WOODWARD AVE                                                  BURLINGTON ON CANADA
                                                                                             L7R‐4J2
MILES, NICOLE M         309 MAIN STREET                                                                             FRANKFORD          MO   63441‐1027
MILES, NORMAN R         10850 S TALLMAN RD                                                                          EAGLE              MI   48822‐9750
MILES, NOVELETTE R      1905 W 16TH ST                                                                              ANDERSON           IN   46016‐3221
MILES, NOVELETTE R      1905 WEST 16TH STREET                                                                       ANDERSON           IN   46016‐3221
MILES, OWEN             PO BOX 244                                                                                  DEFIANCE           OH   43512‐0244
MILES, PATTY G          2326 SHADY LN                                                                               ANDERSON           IN   46011‐2810
MILES, PAUL A           3805 EGBERT RD                                                                              MARTINSVILLE       IN   46151‐8477
MILES, PEGGY J          9063 HATHAWAY RD                                                                            CLIFFORD           MI   48727‐9707
MILES, PHYLLIS B        9440 GLADSTONE RD                                                                           NORTH JACKSON      OH   44451‐9608
MILES, PRISCILLA L      PO BOX 999                      3041 APPLEBLOSSOM                                           INDIAN RIVER       MI   49749‐0999
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Name                   Address1                        Address2            Address3         Address4         City               State Zip
MILES, RANDALL         410 LAUREL LAKE RESORT RD                                                             CORBIN              KY 40701‐7851
MILES, RANDY L         8063 ROOSEVELT ST                                                                     TAYLOR              MI 48180‐2489
MILES, RANDY LEE       8063 ROOSEVELT ST                                                                     TAYLOR              MI 48180‐2489
MILES, RAY M           1538 INDIAN MEADOWS DR                                                                FRANKLIN            TN 37064‐9636
MILES, RAYMOND A       PO BOX 333                                                                            CLIO                MI 48420‐0333
MILES, RAYMOND L       8429 DEERCREEK                                                                        WARREN              OH 44484‐4484
MILES, RAYMOND L       8429 DEER CREEK LN NE                                                                 WARREN              OH 44484‐2077
MILES, REGINA          43620 BAYFIELD DR                                                                     CLINTON TWP         MI 48038‐1305
MILES, RICHARD         19241 GREELEY ST                                                                      DETROIT             MI 48203‐4700
MILES, RICHARD         67 MONA ST                                                                            ROCHESTER           NY 14609‐3916
MILES, RICHARD E       7601 SE BAY CEDAR CIR                                                                 HOBE SOUND          FL 33455‐7834
MILES, RICHARD J       218 BEACHWOOD DR                                                                      YOUNGSTOWN          OH 44505‐4282
MILES, RICHARD L       3890 OTTO RD                                                                          WATERFORD           MI 48328‐3050
MILES, ROBERT A        1214 WILLOWS ST                                                                       ITHACA              MI 48847‐1801
MILES, ROBERT D        1647 HIGLEY RD                                                                        LAPEER              MI 48446‐9438
MILES, ROBERT D        9440 GLADSTONE RD                                                                     NORTH JACKSON       OH 44451‐9608
MILES, ROBERT E        22200 INDIAN CREEK DR                                                                 FARMINGTON HILLS    MI 48335‐5544
MILES, ROBERT J        69 CANDLEWICK LN                                                                      WHITMAN             MA 02382‐1612
MILES, ROBERT L        SIMMONS FIRM                    PO BOX 559                                            WOOD RIVER           IL 62095‐0559
MILES, ROBERT L        2331 ARROW AVE                                                                        ANDERSON            IN 46016‐3846
MILES, ROBERT N        9189 HATHAWAY RD                                                                      CLIFFORD            MI 48727‐9707
MILES, ROBERT W        230 DOVER RD                                                                          NOBLESVILLE         IN 46060‐4227
MILES, RODNEY L        PO BOX 316                                                                            PERU                IN 46970‐0316
MILES, RODNEY P        2012 W CREST DR                                                                       TOLEDO              OH 43614‐1804
MILES, ROGER C         1202 BEVAN DR                                                                         SEBASTIAN           FL 32958‐5431
MILES, ROGER D         1688 PLEASANT HILL RD                                                                 BUTLER              KY 41006‐8952
MILES, ROGER O         12345 KNOX DR                                                                         CARLETON            MI 48117‐9506
MILES, RONALD          1337 ASCOT LN                                                                         FRANKLIN            TN 37064‐6748
MILES, RONALD E        5376 CENTER ST                                                                        CLARKSTON           MI 48346‐3567
MILES, RONALD E        380 EMBRY ST                                                                          MONROVIA            IN 46157‐9556
MILES, ROSETTA         415 LAURA CIR                                                                         EATON               OH 45320‐1261
MILES, ROY E           514 MARLAY RD                                                                         DAYTON              OH 45405‐1949
MILES, ROY E           514 MARLAY RD.                                                                        DAYTON              OH 45405‐1949
MILES, RUBEN D         414 RAYMOND DR                                                                        MONROE              LA 71203‐2439
MILES, RUSH            WEITZ & LUXENBERG               180 MAIDEN LANE                                       NEW YORK            NY 10038
MILES, RUSSELL R       8811 BILLINGS RD                                                                      KIRTLAND            OH 44094‐9571
MILES, SANDRA J        218 BEACHWOOD DR                                                                      YOUNGSTOWN          OH 44505‐4282
MILES, SANDRA K        2070 S.ALMONT AVE LOT           94                                                    IMLAY CITY          MI 48444‐9637
MILES, SANDRA L        7298 103RD ST                                                                         FLUSHING            MI 48433‐8714
MILES, SARA S          18750 SIXTH AVENUE                                                                    THREE RIVERS        MI 49093
MILES, SCOTT E         11600 REED RD                                                                         BANCROFT            MI 48414‐9768
MILES, SCOTT EVERETT   11600 REED RD                                                                         BANCROFT            MI 48414‐9768
MILES, SHANTIQUE
MILES, SHARON J        8144 COOLIDGE                                                                         CENTER LINE        MI   48015‐1370
MILES, SHIRLEY A       1624 W BOULEVARD                                                                      KOKOMO             IN   46902‐6169
MILES, SHONDA N        912 W 3RD ST                                                                          ANDERSON           IN   46016‐2320
MILES, SIDNEY J        1973 CASE ST                                                                          TWINSBURG          OH   44087‐2047
MILES, SIDNEY L        25442 FORDSON HWY                                                                     REDFORD            MI   48239‐2047
MILES, STEPHEN D       PO BOX 34                                                                             COULTERVILLE       IL   62237‐0034
MILES, STEVEN D        2382 FLAGSTONE DR                                                                     FLUSHING           MI   48433‐2582
MILES, STEVEN S        4729 WICKFORD DR E                                                                    SYLVANIA           OH   43560‐3350
MILES, STEVEN SCOTT    4729 WICKFORD DR E                                                                    SYLVANIA           OH   43560‐3350
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Name                       Address1                        Address2              Address3       Address4         City               State Zip
MILES, SUSAN G             4816 GOODISON PLACE DR                                                                OAKLAND TOWNSHIP    MI 48306‐1674
MILES, TAMMY J             260 MARION COUNTY RD 3318                                                             BIVINS              TX 75555
MILES, TERRY               1537 HOWELL DRIVE                                                                     INDIANAPOLIS        IN 46231‐1085
MILES, THEODORE C          10414 E BRISTOL RD                                                                    DAVISON             MI 48423‐8732
MILES, THERESA B           1320 CHARING CROSS LN                                                                 BALLWIN             MO 63021‐7430
MILES, THERESE E           811 S BUSINESS 65‐B5                                                                  BRANSON             MO 65616
MILES, TIMOTHY A           7296 TARA DR                                                                          VILLA RICA          GA 30180‐3922
MILES, TIMOTHY D           3000 LUJER CIR                                                                        LANSING             MI 48906‐2619
MILES, TIMOTHY DANIEL      3000 LUJER CIR                                                                        LANSING             MI 48906‐2619
MILES, TIMOTHY O           23232 FLORY RD                                                                        DEFIANCE            OH 43512‐9626
MILES, TONI J              462 KUHN ST                                                                           PONTIAC             MI 48342‐1942
MILES, TY INC              9855 DERBY LN                                                                         WESTCHESTER          IL 60154‐3765
MILES, VIRGINIA L          3609 COZY CAMP RD                                                                     MORAINE             OH 45439‐1129
MILES, WADE L              3831 CORNICE FALLS DR APT 3                                                           HOLT                MI 48842‐9803
MILES, WALDER              73 PLEASANT DR                                                                        PORT ALLEGANY       PA 16743‐4333
MILES, WALTER D            445 61ST ST                                                                           OAKLAND             CA 94609‐1304
MILES, WALTER R            184 WATER ST                                                                          LYONS               NY 14489‐1254
MILES, WANDA E             8109 E 96TH TER                                                                       KANSAS CITY         MO 64134‐1651
MILES, WENDELL W           3925 E 39TH ST                                                                        KANSAS CITY         MO 64128‐2725
MILES, WILBERT D           3016 LAKE SHORE DR UNIT F                                                             INDIANAPOLIS        IN 46205‐2324
MILES, WILLIAM D           11543 W 28TH AVE                                                                      LAKEWOOD            CO 80215‐7199
MILES, WILLIAM J           3512 GLENWOOD RD                                                                      BALTIMORE           MD 21220‐2918
MILES, WILLIAM JOHN        3512 GLENWOOD RD                                                                      BALTIMORE           MD 21220‐2918
MILES, WILLIAM M           1558 MIDDLEBELT RD                                                                    GARDEN CITY         MI 48135‐2815
MILES, WILLIAM P           11716 KINGFISHER LN                                                                   SAINT MARYS         OH 45885‐9334
MILES, WILLIAM S           PO BOX 402                                                                            PARK FOREST          IL 60466‐0402
MILES, WILLIAM T           1138 PIKE HILL RD                                                                     MC MINNVILLE        TN 37110‐4288
MILES, WILLIE              7105 REDFERN DR                                                                       HORN LAKE           MS 38637‐1264
MILES, WILLIE              149 HALLECK ST                                                                        YOUNGSTOWN          OH 44505‐2519
MILES, WILLIE G            3871 HAPPY CANYON DR                                                                  DALLAS              TX 75241‐5265
MILES,KRISANDRA L          128 MAEDER AVE                                                                        DAYTON              OH 45417‐8033
MILESKI, BERNICE H         4120 SOTOL DR                                                                         LAS CRUCES          NM 88011‐7641
MILESKI, DARVIN J          126 MANOR WAY                                                                         ROCHESTER HILLS     MI 48309
MILESKI, DAVID M           83 STRATFORD LN                                                                       ROCHESTER HILLS     MI 48309‐2010
MILESKI, FRANKLIN D        1688 SEMINOLE RD                                                                      JAMESTOWN           PA 16134‐6238
MILESKI, JOSEPH A          1404 N MEDINA LINE RD                                                                 AKRON               OH 44333‐2504
MILESS HAGGARD             924 W 101ST PL                                                                        NORTHGLENN          CO 80260‐6272
MILESTONE CONTRACTORS LP   PO BOX 1937 L‐2418              UPTD 10/30/06                                         INDIANAPOLIS        IN 46206
MILESTONE CORP             5611 16TH AVE SW                                                                      CEDAR RAPIDS         IA 52404‐2237
MILESTONE INC              ATTN: AARON CREECH              3940 KETTERING BLVD                                   MORAINE             OH 45439‐2019
MILESTONE, CLARK W         7993 N ARNOLD RD                                                                      COLUMBIA CITY       IN 46725‐9563
MILESTONE, CODY W          7993 N ARNOLD RD                                                                      COLUMBIA CITY       IN 46725‐9563
MILESTONE, MELODY K        4437 ROCKINGHAM DR                                                                    JANESVILLE          WI 53546‐3315
MILET, DONALD L            14325 SUNRISE AVE                                                                     BROOKFIELD          WI 53005
MILETI, DOMINIC F          50835 TELEGRAPH RD                                                                    AMHERST             OH 44001‐9417
MILETIC, DOBRILA           690 ESME DR                                                                           GIRARD              OH 44420‐2446
MILETIC, RICHARD J         253 E MARKET ST                                                                       GERMANTOWN          OH 45327‐1419
MILETICH, ALICE H          7811 REINHARDT RD                                                                     MONROE              MI 48162‐9467
MILETICH, STEVE            PO BOX 143                                                                            MONROE              MI 48161‐0143
MILETT, HAROLD J           878 HAGADORN RD                                                                       MASON               MI 48854‐9310
MILETTE, ROGER M           PO BOX 8334                                                                           RANCHO CUCAMONGA    CA 91701‐0334
MILETTI, LEONARD F         510 N TURNER RD                                                                       YOUNGSTOWN          OH 44515‐2151
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Name                                     Address1                             Address2                   Address3                      Address4         City               State Zip
MILETTI, LOUIS J                         3007 S 106TH ST                                                                                                WEST ALLIS          WI 53227‐3535
MILEUSNICH, LOUIS S                      PO BOX 389                                                                                                     CAPE FAIR           MO 65624‐0389
MILEVA NICHOLIS                          554 NEOKA DR                                                                                                   CAMPBELL            OH 44405‐1261
MILEWICZ INVESTMENTS LLC                 C/O ALLEN L MILEWICZ CONTROLLING MGR 3715 FARBER ST                                                            HOUSTON             TX 77005‐3713

MILEWICZ, FREDERICK G                    7951 EARHART RD                                                                                                SOUTH LYON         MI   48178‐7013
MILEWSKI JR, EDWARD C                    259 WESTFALL DR                                                                                                TONAWANDA          NY   14150‐7136
MILEWSKI JR, EDWARD CARL                 259 WESTFALL DR                                                                                                TONAWANDA          NY   14150‐7136
MILEWSKI, ALAN E                         5308 BLODGETT AVE                                                                                              DOWNERS GROVE      IL   60515‐5055
MILEWSKI, AUGUST E                       8738 S 81ST CT                                                                                                 HICKORY HILLS      IL   60457‐1440
MILEWSKI, CYNTHIA                        APT 1                                1865 BEACON STREET                                                        BROOKLINE          MA   02445‐4257
MILEWSKI, DOROTHY MARTHA                 2122 LORI DR                                                                                                   WILMINGTON         DE   19808‐4706
MILEWSKI, EDWARD                         35916 FIERIMONTE DR                                                                                            CLINTON TWP        MI   48035‐2120
MILEWSKI, EDWARD C                       7453 LOVERS LANE RD                                                                                            CATTARAUGUS        NY   14719‐9601
MILEWSKI, ELEANOR                        1812 14TH ST                                                                                                   WYANDOTTE          MI   48192‐3633
MILEWSKI, ELENA M                        221 CORINNE ST SW                                                                                              GRAND RAPIDS       MI   49507‐1536
MILEWSKI, EUGENE R                       115 ROBIN HILL DR                                                                                              NAPERVILLE         IL   60540‐7318
MILEWSKI, GRACE                          1140 GLEN WILLOW RD                                                                                            AVONDALE           PA   19311‐9532
MILEWSKI, HOLLY A                        11514 CREEKSIDE CT                                                                                             STERLING HEIGHTS   MI   48312‐2022
MILEWSKI, JOHN W                         4603 TWAIN CT                                                                                                  PLAINFIELD         IL   60586‐8068
MILEWSKI, LEONARD S                      16493 CLUB DR                                                                                                  SOUTHGATE          MI   48195‐6503
MILEWSKI, MARYBELL                       4603 TWAIN CT                                                                                                  PLAINFIELD         IL   60586‐8068
MILEWSKI, MICHAEL A                      4785 KHAKI CT                                                                                                  ZIONSVILLE         IN   46077‐8141
MILEWSKI, OLGA E                         8738 S 81ST CT                                                                                                 HICKORY HILLS      IL   60457‐1440
MILEWSKI, PEREGRINA Z                    PO BOX 921262                                                                                                  SYLMAR             CA   91392
MILEWSKI, ROBERT G                       4212 BOLD MDWS                                                                                                 OAKLAND TOWNSHIP   MI   48306‐1459
MILEWSKI, THOMAS J                       3241 NEWBURY PL                                                                                                TROY               MI   48084‐7044
MILEX / MR. TRANSMISSION                 8305 HICKMAN RD                                                                                                URBANDALE          IA   50322‐4333
MILEX CAR CARE                           6240 159TH ST                                                                                                  OAK FOREST         IL   60452‐2761
MILEX PROPERTIES, III, LLC, A DELAWARE   ATT: JOHN HYNANSKY                   911 TATANALL STREET                                                       WILMINGTON         DE   19801
LIMITED LIABILITY COMPANY

MILEY, ANDREW G                          4901 CLAXTON AVE                                                                                               SAINT LOUIS        MO   63120‐2336
MILEY, ANNIE M                           450 W HILDALE                                                                                                  DETROIT            MI   48203‐1950
MILEY, CANDY MARIE                       TRACY FIRM                           5473 BLAIR RD STE 200                                                     DALLAS             TX   75231‐4168
MILEY, DENISE                            3700 NAVARRE CT                                                                                                LAFAYETTE          IN   47905‐4349
MILEY, HOWARD L                          3109 S SHORTRIDGE RD                                                                                           INDIANAPOLIS       IN   46239‐1257
MILEY, JAMES D                           14536 S GREENWOOD ST                                                                                           OLATHE             KS   66062‐9006
MILEY, JAMES RUSSELL                     TRACY FIRM                           5473 BLAIR RD STE 200                                                     DALLAS             TX   75231‐4168
MILEY, JENNIFER                          49633 OAK DR                                                                                                   PLYMOUTH           MI   48170‐6417
MILEY, KEVIN M                           36 WOODGATE CT                                                                                                 MIDDLETOWN         OH   45044‐3291
MILEY, MAC                               GUY WILLIAM S                        PO BOX 509                                                                MCCOMB             MS   39649‐0509
MILEY, ROBERT L                          7293 ANTIOCH RD                                                                                                ADEL               GA   31620‐9579
MILEY, ROBERT L                          450 W HILDALE                                                                                                  DETROIT            MI   48203‐1950
MILEY, STELLA A                          121 HARVILL LN                                                                                                 BIRMINGHAM         AL   35217‐1858
MILEY, TERESA A BARRET                   238 CONNOLLY DRIVE                                                                                             FERGUSON           MO   63135‐1023
MILEY, VIRGINIA R                        APT B                                60 SKYVIEW DRIVE                                                          ANDERSON           IN   46017‐1044
MILFERD LANDERS                          327 HIGH ST                          C/O JOANN PETERS                                                          LOCKPORT           NY   14094‐4601
MILFORD ALLEN                            300 FAIRWAY DR                                                                                                 SPRINGBORO         OH   45066‐1192
MILFORD ALLISON                          39164 SCHROEDER DR                                                                                             CLINTON TWP        MI   48038‐2860
MILFORD ANGUILM                          C/O KELLEY & FERRARO LLP             ATTN THOMAS M WILSON ESQ   127 PUBLIC SQUARE, 2200 KEY                    CLEVELAND          OH   44114
                                                                                                         TOWER
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Name                               Address1                          Address2                  Address3       Address4         City            State Zip
MILFORD ARCHIBALD                  35 BASSWOOD DR                                                                              BUFFALO          NY 14227‐2608
MILFORD AUTO/MILFORD               334 N MAIN ST                                                                               MILFORD          MI 48381‐1957
MILFORD BENNETT III                4429 HICKORYWOOD DR                                                                         OKEMOS           MI 48864‐3077
MILFORD BUSBEE                     APT 11                            717 TALL OAKS BOULEVARD                                   AUBURN HILLS     MI 48326‐3277
MILFORD BUSINESS ASSOCIATION       317 UNION STREET                                                                            MILFORD          MI 48381
MILFORD CAUDILL                    6262 STATE ROUTE 753                                                                        HILLSBORO        OH 45133‐8109
MILFORD COCHRAN JR                 45 MOLER AVE                                                                                GERMANTOWN       OH 45327‐1254
MILFORD D BYRD                     1329 DUNCAN AVE                                                                             YPSILANTI        MI 48198‐5924
MILFORD DRAPER                     1655 16TH RD NE                                                                             BURLINGTON       KS 66839‐9082
MILFORD E WITHEY JR                262 HAMPTON PKWY                                                                            KENMORE          NY 14217‐1257
MILFORD EDDINGFIELD                708 HARDESTY AVE                                                                            KANSAS CITY      MO 64124‐3034
MILFORD EIDSON                     5931 TAMRACK RD                                                                             OSCODA           MI 48750‐9259
MILFORD FAB/DETROIT                19200 GLENDALE ST                                                                           DETROIT          MI 48223‐3459
MILFORD FABRICATING CO.            ZORAN RISTIC                      19200 GLENDALE STREET                                     CANTON           OH 44707
MILFORD FAMILY PRACT               1265 N MILFORD RD                                                                           MILFORD          MI 48381‐1018
MILFORD FAST/MILFORD               857 BRIDGEPORT AVENUE                                                                       MILFORD          CT 06460
MILFORD GRIFFIN                    655 ROY WHITT RD                                                                            BOAZ             AL 35956‐2539
MILFORD HARDY                      1635 BC/EJ RD                                                                               BOYNE CITY       MI 49712‐9638
MILFORD HEBB                       1155 COLUMBIA ROAD                                                                          VALLEY CITY      OH 44280‐9760
MILFORD HIGH SCHOOL                SENIOR ALL NIGHT PARTY            2380 S MILFORD RD                                         HIGHLAND         MI 48357‐4934
MILFORD HUNTINGTON                 7680 CALLOW RD                                                                              PAINESVILLE      OH 44077‐8864
MILFORD JACOBS                     4264 MORRISH ROAD                                                                           SWARTZ CREEK     MI 48473‐1319
MILFORD JENSEN                     2015 RAVINE ST                                                                              JANESVILLE       WI 53548‐3451
MILFORD JUNE                       1332 CUTLER ST                                                                              BURTON           MI 48509‐2115
MILFORD LOWRIE                     8834 STATE RD                                                                               BANCROFT         MI 48414‐9422
MILFORD LYVERE                     5740 TOWNLINE RD                                                                            BIRCH RUN        MI 48415‐9005
MILFORD MARK                       1327 VILLAGE GREEN DR                                                                       SOUTHLAKE        TX 76092‐9205
MILFORD MEDICAL SUPP               PO BOX 44047                                                                                DETROIT          MI 48244‐0047
MILFORD MORROW                     43901 STATE ROUTE 162                                                                       SPENCER          OH 44275‐9401
MILFORD MULLINS                    3824 BRITTON RD                                                                             BANCROFT         MI 48414‐9760
MILFORD N CAUDILL                  6262 SR 753                                                                                 HILLSBORO        OH 45133
MILFORD NOTAGE                     8954 COUNTY ROAD K2                                                                         MALINTA          OH 43535‐9780
MILFORD P TODD                     75 TODD LANE                                                                                IRVINE           KY 40336‐7705
MILFORD PEOPLES                    693 W ERICKSON RD                                                                           PINCONNING       MI 48650‐9445
MILFORD PREBBLE                    609 W DEXTER TRL                                                                            MASON            MI 48854‐9666
MILFORD PROVING GROUNDS ‐ ENVMTL   NO ADVERSE PARTY

MILFORD REDI MIX                   800 CONCRETE DR                                                                             MILFORD         MI   48381‐1511
MILFORD REGIONAL MED               PO BOX 190                        14 PROSPECT ST                                            MILFORD         MA   01757‐0190
MILFORD RICE JR                    10972 EASTON RD                                                                             NEW LOTHROP     MI   48460‐9714
MILFORD ROBISON                    1610 COUNTY LINE RD                                                                         LYNDONVILLE     NY   14098‐9500
MILFORD SCHARLAU                   10394 W YATES CENTER RD                                                                     LYNDONVILLE     NY   14098‐9729
MILFORD SCHROYER                   RD#1 BOX 957                                                                                RUFFS DALE      PA   15679
MILFORD SEXTON                     BOX 6357 SR 727                                                                             GOSHEN          OH   45122
MILFORD SMITH                      8445 MEISNER RD                                                                             CASCO           MI   48064‐3211
MILFORD STRINGFELLOW
MILFORD T ALLEN                    300 FAIRWAY DR                                                                              SPRINGBORO      OH   45066‐1192
MILFORD TARRANT                    7747 E HOUGHTON LAKE DR                                                                     HOUGHTON LAKE   MI   48629‐9596
MILFORD TILLMAN                    2152 SHADY POND DRIVE                                                                       CLOVER          SC   29710‐7027
MILFORD TODD                       75 TODDS LN                                                                                 IRVINE          KY   40336‐7705
MILFORD TOWNSHIP TREASURER         1100 ATLANTIC                                                                               MILFORD         MI   48381
MILFORD TRAIL COMMITTEE            C/O HURON VALLEY CHAMBER OF       COMMERCE                  317 UNION ST                    MILFORD         MI   48381
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Name                                  Address1                            Address2                       Address3   Address4         City               State Zip
MILFORD TUCKER                        7720 MONROE BLVD                                                                               TAYLOR              MI 48180‐2459
MILFORD W NAPIER                      13680 FRIEND RD.                                                                               GERMANTOWN          OH 45327
MILFORD WALKER                        6930 CARPENTER RD                                                                              HARRISON            MI 48625‐8937
MILFORD WALKER                        260 BLUERIDGE HIGHTS DR                                                                        WEST JEFFERSON      NC 28694
MILFORD WITHEY JR                     262 HAMPTON PKWY                                                                               BUFFALO             NY 14217‐1257
MILFORD WUELSER                       412 DALE ST                                                                                    FLUSHING            MI 48433‐1467
MILFORD ZIOLKOWSKI                    1232 DEANWOOD RD                                                                               BALTIMORE           MD 21234‐6002
MILFORD, CHARLES J                    35 QUAIL VALLEY RD                                                                             SOCIAL CIRCLE       GA 30025‐5313
MILFORD, DENNIS C                     5816 LONGWOOD DR UNIT 201                                                                      MURRELLS INLET      SC 29576‐9112
MILFORD, EDWIN H                      PO BOX 875                          431 BRYANT LOOP                                            JASPER              GA 30143‐0875
MILFORD, EILEEN A                     PO BOX 16409                                                                                   ROCHESTER           NY 14616
MILFORD, JAMES D                      5 KRESS HILL DR                                                                                SPENCERPORT         NY 14559‐2212
MILFORD, JERRY E                      1722 DULONG AVE                                                                                MADISON HTS         MI 48071‐2668
MILFORD, JOSEPH J                     2080 JOLES DR                                                                                  TONGANOXIE          KS 66086‐9332
MILFORD, MI                           1100 ATLANTIC                                                                                  MILFORD             MI 48381
MILFORD, PHILIP G                     340 BONNIE BRAE RD                                                                             VIENNA              OH 44473‐9643
MILFORD, RICHARD L                    1362 HARVARD RD                                                                                GROSSE POINTE       MI 48230‐1134
MILFORD, WALTER L                     PO BOX 1426                                                                                    RAYMORE             MO 64083‐1426
MILFORD, WALTER LEE                   PO BOX 1426                                                                                    RAYMORE             MO 64083‐1426
MILFRED FRANKLIN                      1431 MISSION RD                                                                                MADISON             GA 30650‐4911
MILFRED MOON                          816 OSMOND AVE                                                                                 DAYTON              OH 45418
MILGATE, MELVIN W                     5707 BROCKTON DR APT 102                                                                       INDIANAPOLIS        IN 46220‐5477
MILGIE GERALD                         136 WATERS EDGE DR                                                                             SHREVEPORT          LA 71106‐7774
MILGIE, GERALD A                      136 WATERS EDGE DR                                                                             SHREVEPORT          LA 71106‐7774
MILGIE, MICHAEL H                     719 WESTVIEW RD                                                                                BLOOMFIELD HILLS    MI 48304‐2475
MILGIE, SALLY A                       PO BOX 711                                                                                     BLOOMFIELD HILLS    MI 48303
MILGROM, IRA J                        27785 BERKSHIRE DR                                                                             SOUTHFIELD          MI 48076‐4932
MILGROM, SHELDON P                    1677 LEROY ST                                                                                  FERNDALE            MI 48220‐3146
MILGROM, SHELDON P.                   1677 LEROY ST                                                                                  FERNDALE            MI 48220‐3146
MILHALIK ALBERT (512075)              COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                    HOUSTON             TX 77002‐1751
MILHALIK, ALBERT                      COON & ASSOCS BRENT                 917 FRANKLIN ST STE 210                                    HOUSTON             TX 77002‐1751
MILHAM RICHARD BREWSTER JR (429458)   GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK             VA 23510
                                                                          STREET, SUITE 600
MILHAM, RICHARD BREWSTER              GLASSER AND GLASSER                 CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA 23510‐2212
                                                                          STREET, SUITE 600
MILHOAN ALLEN D (465242)              DUKE DAVID LAW FIRM                 236 WESTVIEW TER                                           ARLINGTON          TX 76013‐1620
MILHOAN, ALLEN D                      DUKE DAVID LAW FIRM                 236 WESTVIEW TER                                           ARLINGTON          TX 76013‐1620
MILHOAN, LEONARD D                    GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW            MI 48604‐2602
                                                                          260
MILHOLIN, MAX C                       17815 COLVIN RD                                                                                SAINT CHARLES      MI   48655‐9782
MILHON, DANNY G                       7870 MASTEN RD                                                                                 COATESVILLE        IN   46121‐9289
MILHON, ERVIN J                       3700 BRIARWOOD CT                                                                              KOKOMO             IN   46902‐4504
MILHON, TRUDY L                       2364I HARNESS WAY                                                                              GREENWOOD          IN   46143
MILHORN, BETTY J                      74 GUMWOOD DR                                                                                  DAVISON            MI   48423‐8132
MILHOUS, MARK T                       5662 S COUNTY ROAD 200 W                                                                       CLAYTON            IN   46118‐9198
MILHOUSE JR, LEE I                    116 FAIRDALE AVE                                                                               CAMPBELL           OH   44405‐1075
MILHOUSE, FRANK L                     1127 W 24TH ST                                                                                 ANDERSON           IN   46016‐4908
MILHOUSE, ISAAC                       1114 GARNET DR                                                                                 ANDERSON           IN   46011‐9513
MILHOUSE, WARNETTA                    99 RUTLEDGE DR                                                                                 YOUNGSTOWN         OH   44505‐4935
MILI, PAVEL                           79965 MAIN ST                                                                                  MEMPHIS            MI   48041‐4641
MILI, WILLIAM E                       17413 ELSNER RD                                                                                BARAGA             MI   49908‐9144
MILIA, FRANK                          1420 LOURDES DR                                                                                PARMA              OH   44134‐5358
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Name                       Address1                            Address2                       Address3   Address4         City               State Zip
MILIA, M.D.,MARC J         PO BOX 32615                                                                                   DETROIT             MI 48232‐0615
MILIAM COUNTY ASSESSOR     101 S FANNIN AVE                                                                               CAMERON             TX 76520‐4217
MILIAN MAUR                5634 MEADOWOOD DR                                                                              SPEEDWAY            IN 46224‐3342
MILIAN, ANGEL F            15 50TH ST                                                                                     WEEHAWKEN           NJ 07086‐7205
MILIAN, EDWARD J           23112 TRILLIUM DR                                                                              WILDOMAR            CA 92595‐8576
MILIAN, MARGARITA I        87 DEPEYSTER ST                                                                                SLEEPY HOLLOW       NY 10591
MILIAN, MARGARITA I        55 SHERIDAN AVE APT D31                                                                        MOUNT VERNON        NY 10052‐2551
MILIAN, MARGARITA IRMA     87 DEPEYSTER ST                                                                                SLEEPY HOLLOW       NY 10591
MILIAN, MIGUEL A           3909 CANE RIVER RD                                                                             KELLER              TX 76248‐1935
MILIAN, RENE               2677 W 71ST PL                                                                                 HIALEAH             FL 33016‐5415
MILIARD, MARY A            125 ARROWHEAD RIDGE                                                                            HEDGESVILLE         WV 25427‐5346
MILICA AWSHEE              19 SAN GIACOMO DR                                                                              NEW WINDSOR         NY 12553‐6417
MILICA KOCEVSKI            34405 DAVENTRY CT                                                                              STERLING HTS        MI 48312‐4672
MILICA NICKOLAOU           10652 GREEN PL                                                                                 CROWN POINT         IN 46307‐2989
MILICA SISA                5770 BIRCHWOOD DR                                                                              MENTOR              OH 44060‐2067
MILICAN, JULIA F           318 E 248TH ST                                                                                 CLEVELAND           OH 44123‐1439
MILICEVIC, MARA            36285 SANDY KNOLL DR                                                                           EASTLAKE            OH 44095‐5421
MILICEVIC, MIROSLAVKA      1281 SUSSEX RD                                                                                 VENICE              FL 34293‐4293
MILICEVIC, SLOBODAN        1267 BARKLEY PL N                                                                              N BRUNSWICK         NJ 08902‐3102
MILICEVICH, LEWIS M        1201 TROON DR                                                                                  GREENSBURG          PA 15601‐8955
MILICH, JOSEPH             7418 W 59TH ST                                                                                 SUMMIT               IL 60501‐1418
MILICH, WILLIAM K          402 PULASKI MERCER RD                                                                          PULASKI             PA 16143
MILICHEVICH, DOBRIVOY      2497 LOGSDON ST                                                                                NORTH PORT          FL 34287‐4122
MILICIC, JEANNE M          700 WOODROW AVE                                                                                WICKLIFFE           OH 44092‐2159
MILICIC, JOSEPH            700 WOODROW AVE                                                                                WICKLIFFE           OH 44092‐2159
MILIK, ZBIGNIEW V          9 WALTUMA AVE                                                                                  EDISON              NJ 08837‐2822
MILILLO, DAVID M           55 FOREMAN DR PVT                                                                              ROCHESTER           NY 14616
MILILLO, MICHAEL           236 E GENESEE ST                                                                               AUBURN              NY 13021‐4340
MILILLO, NICHOLAS A        5884 OWASCO TER                                                                                AUBURN              NY 13021‐5618
MILIMAKI, ARLENE C         122 W FAIRMOUNT AVE                                                                            PONTIAC             MI 48340‐2736
MILIMAKI, JANICE M         1654 GIDDINGS RD                                                                               PONTIAC             MI 48340‐1411
MILIMAKI, MARSHA L         83 PUTNAM AVE                                                                                  PONTIAC             MI 48342‐1266
MILIND DATAR               12077 QUARRY CT                                                                                FISHERS             IN 46037‐3926
MILIND GANDHI              49655 W CENTRAL PARK                                                                           SHELBY TOWNSHIP     MI 48317‐6354
MILINDA SIGNORELLI         10040 CEDAR DUNE DR                                                                            TAMPA               FL 33624‐5091
MILINER CHARLES            629 COLERIDGE AVE                                                                              TROTWOOD            OH 45426‐2533
MILINER, CHARLES E         629 COLERIDGE AVE                                                                              TROTWOOD            OH 45426‐2533
MILINER, GERTRUDE          2409 OAKRIDGE DR                                                                               DAYTON              OH 45417‐1518
MILINER, KENNETH M         4814 PIERPONT DR                                                                               DAYTON              OH 45426‐1949
MILINER, PAULINE           1108 WILLOW DR                                                                                 TROTWOOD            OH 45426‐2098
MILINER, PAULINE           1108 WILLOW DRIVE                                                                              TROTWOOD            OH 45426‐5426
MILING, JEFFREY K          PO BOX 61                                                                                      DORR                MI 49323
MILINI, ANTHONY P          GOLDBERG PERSKY JENNINGS & WHITE PC 4800 FASHION SQUARE BLVD STE                               SAGINAW             MI 48604‐2602
                                                               260
MILINIA ALLISON            1280 SALT SPRINGS RD                                                                           WARREN             OH   44481‐8624
MILINKOVIC, MILAN          740 SCHOENBECK RD                                                                              WHEELING           IL   60090
MILINKOVICH, MIROSLAV      614 W BABCOCK AVE                                                                              ELMHURST           IL   60126‐1868
MILINOVICH JR, THOMAS N    27064 LAUREL LN                                                                                OLMSTED FALLS      OH   44138‐3165
MILINOVICH, NICK C         43277 RIVERGATE DR                                                                             CLINTON TOWNSHIP   MI   48038‐1346
MILINOVICH, NICK CHARLES   43277 RIVERGATE DR                                                                             CLINTON TOWNSHIP   MI   48038‐1346
MILINOVICH, THOMAS N       7233 WILLOW WAY                                                                                NORTH OLMSTED      OH   44070‐6314
MILINSKI, MARY             22679 COACHLIGHT CIRCLE                                                                        TAYLOR             MI   48180‐8180
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Name                                 Address1                            Address2                     Address3   Address4         City              State Zip
MILIO, SAL                           37 NEWHARD PL                                                                                HOPEWELL JCT       NY 12533‐5004
MILIOS, ANASTASIA                    3987 NOWAK DR                                                                                STERLING HTS       MI 48310‐5326
MILIOS, PANAGIOTIS S                 3987 NOWAK DR                                                                                STERLING HTS       MI 48310‐5326
MILIOTO, COSIMO                      PERK ROBERT H                       995 ELMWOOD AVE                                          BUFFALO            NY 14222‐1201
MILIOTTO, JOSEPH                     252 FAIRWAYS BLVD                                                                            WILLIAMSVILLE      NY 14221‐3168
MILISA BECHTEL                       7350 BELL RD                                                                                 BIRCH RUN          MI 48415‐9095
MILISICH, MILAN D                    6146 WHISKEY CREEK DR APT 719                                                                FORT MYERS         FL 33919‐8742
MILISSA MURRAY                       BINGHAM MCCUTCHEN LLP               2020 K STREET, NW                                        WASHINGTON         DC 22406
MILISSA SPRY                         701 KNIBBE RD                                                                                LAKE ORION         MI 48362‐2148
MILITAR, ROBERT L                    6219 S INDEPENDENCE AVE APT 125                                                              OKLAHOMA CITY      OK 73159‐1223
MILITARY BRAKE & ALIGNMENT SERVICE   4449 12TH ST                                                                                 WEST PALM BEACH    FL 33409‐2965
INC
MILITARY STARS LLC                   PO BOX 276                                                                                   TALLEVAST         FL 34270‐0276
MILITARY VEHICLES OPERATION          660 S BLVD E MC 2603‐03                                                                      PONTIAC           MI 48341
MILITELLO PHILIP S (639090)          LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                               BIRMINGHAM        MI 48009‐5394
                                                                         406
MILITELLO, ANTHONY                   2012 S SHERMAN ST                                                                            BAY CITY          MI   48708‐3817
MILITELLO, DOMINIC J                 5932 CROSS CREEK DR 245                                                                      SWARTZ CREEK      MI   48473
MILITELLO, EDWARD F                  8480 WOODLAND SHORE DR                                                                       BRIGHTON          MI   48114‐7303
MILITELLO, JAMES V                   1826 MIDLAND RD                                                                              BAY CITY          MI   48706‐9471
MILITELLO, JAMES VINCENT             1826 MIDLAND RD                                                                              BAY CITY          MI   48706‐9471
MILITELLO, KATIE M                   38 APPLE BLOSSOM BLVD                                                                        LANCASTER         NY   14086‐9476
MILITELLO, LOUIS J                   5 S DUCHESNE DR                                                                              FLORISSANT        MO   63031‐8111
MILITELLO, MARIA C                   46658 SERENITY DR                                                                            MACOMB            MI   48044‐3760
MILITELLO, PHILIP S                  LAW OFFICES OF MICHAEL B. SERLING   280 N OLD WOODWARD AVE STE                               BIRMINGHAM        MI   48009‐5394
                                                                         406
MILITELLO, RICHARD C                 7300 WARD RD                                                                                 ORCHARD PARK      NY   14127‐3840
MILITELLO, RICHARD T                 8471 CAROLS DR                                                                               BRIGHTON          MI   48114‐9316
MILITELLO, TAB J                     707 E CHEVY CHASE DR                                                                         GLENDALE          CA   91205‐4827
MILITELLO, THOMAS A                  150 MAPLEVIEW RD                                                                             CHEEKTOWAGA       NY   14225‐1525
MILITELLO, THOMAS A.                 150 MAPLEVIEW RD                                                                             CHEEKTOWAGA       NY   14225‐1525
MILITELLO, VINCENT P                 1794 7 MILE RD                                                                               KAWKAWLIN         MI   48631‐9735
MILITELO TRUST                       C/O ANGELA VOLANTI                  6638 MOUNTAIN WOOD DR                                    CORPUS CHRISTI    TX   78413‐4801
MILITIG, KEVIN J                     3724 CURRY LN                                                                                JANESVILLE        WI   53546‐3427
MILITO, JOACHIM J                    2152 PRIMROSE LN                                                                             FLINT             MI   48532‐4190
MILITZA RADKOVICH IRA                5230 BELLINGHAM AVENUE UNIT 5                                                                VALLEY VILLAGE    CA   91607
MILITZER, PATRICIA M                 3239 N ST NW APT 11                                                                          WASHINGTON        DC   20007‐2834
MILIUS, GERALD                       31A WAVECREST AVE                                                                            WINFIELD PARK     NJ   07036‐6653
MILIUS, MARVIN M                     4485 CHASE OAKS DR                                                                           SARASOTA          FL   34241‐7158
MILIUSIS, ANTHONY                    6205 ELK LAKE RD                                                                             WILLIAMSBURG      MI   49690‐9733
MILIUSIS, JOSEPH C                   6141 PEBBLE DR                                                                               ALLENDALE         MI   49401‐9785
MILIUSIS, RICHARD P                  3870 BLACKMER RD                                                                             RAVENNA           MI   49451‐9749
MILIUSIS, ROBERT L                   4120 52ND ST SW                                                                              WYOMING           MI   49418‐9211
MILIVOJE SIMICH                      26374 PATTOW ST                                                                              ROSEVILLE         MI   48066‐5518
MILIVOJE STAJIC                      2041 LEITCH RD                                                                               FERNDALE          MI   48220‐1509
MILJENKA KOVACEVIC                   6498 MELSHORE DR                                                                             MENTOR            OH   44060‐2371
MILJOUR, LUKE                        1478 WEST KNUDSEN ROAD                                                                       GWINN             MI   49841‐9220
MILJOUR, LUKE                        113 EAST CASE STREET                                                                         NEGAUNEE          MI   49866‐1731
MILKA BEJMA                          7406 W TUCKAWAY CREEK DR                                                                     FRANKLIN          WI   53132‐2702
MILKA GORICAN                        885 GAYER DR                                                                                 MEDINA            OH   44256‐2901
MILKA GULAN                          9306 EUCLID CHARDON RD                                                                       KIRTLAND          OH   44094‐9576
MILKA JURCEVIC                       12911 SPERRY RD                                                                              CHESTERLAND       OH   44026‐3207
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Name                               Address1                         Address2                      Address3   Address4                City               State Zip
MILKA KUCINIC                      31128 BAYRIDGE BLVD                                                                               WILLOWICK           OH 44095‐3647
MILKA MEDVED                       2800 ROCKEFELLER RD                                                                               WILLOUGHBY HILLS    OH 44092‐1465
MILKA MICHAJLOV                    BEHRINGWEG 5                                                              RINTELN 31737 GERMANY
MILKA MIJIC                        8477 FAY AVE                                                                                      NORTH PORT         FL   34287‐1929
MILKA VUYNOVICH                    9245 LAFAYETTE RD                                                                                 INDIANAPOLIS       IN   46278‐1047
MILKA, EVAN G                      8542 WHISPERING PINES DR                                                                          CLARKSTON          MI   48346‐1971
MILKA, HAZEL                       5350 BRADLEY RD                                                                                   GREGORY            MI   48137‐9536
MILKA, MARLENE M                   1659 PHEASANTWOOD TRL                                                                             NORTHFIELD         MN   55057‐3076
MILKA, PAUL D                      4146 LAPEER ST                                                                                    COLUMBIAVILLE      MI   48421‐9348
MILKA, RICHARD C                   PO BOX 251                                                                                        CLARKSTON          MI   48347
MILKA, ROBERT G                    1105 S CHILSON ST                                                                                 BAY CITY           MI   48706‐5052
MILKE STAFFORD                     COUNTY ATTORNEY'S OFFICE         1019 CONGRESS ST FL 15                                           HOUSTON            TX   77002‐1799
MILKE, LEONARD W                   4624 HADLEY RD                                                                                    GOODRICH           MI   48438‐9651
MILKERIS, JAMES P                  21225 MONTCLARE LAKE DR                                                                           CREST HILL         IL   60403‐8721
MILKEWICZ, EDWARD H                2127 EASTPORT WAY                                                                                 HARLEYSVILLE       PA   19438‐2863
MILKIE, RICHARD                    3980 NASH DR                                                                                      TROY               MI   48083‐5362
MILKIEWICZ, KAREN R                11615 HAROLD ST                                                                                   WARREN             MI   48089‐1229
MILKIEWICZ, RICHARD                19067 VAN RD                                                                                      LIVONIA            MI   48152‐4703
MILKIEWICZ, STEVEN R               18413 FLORAL ST                                                                                   LIVONIA            MI   48152‐3719
MILKIEWICZ, SYDNEY L               8072 GARTH POINT LN                                                                               RAPID RIVER        MI   49878‐9518
MILKIEWICZ, THOMAS                 PO BOX 1013                                                                                       COLUMBUS           MT   59019
MILKINS, JACQUELINE                621 N EASTLAWN CT                                                                                 DETROIT            MI   48215‐3299
MILKMAN, BRIAN                     227 SHAPIRO TRL                                                                                   COLUMBIA           TN   38401‐6767
MILKMAN, RUSSELL I                 28 QUAKER ST                                                                                      MILLVILLE          MA   01529
MILKO, ROBERT H                    5799 S SHANDLE BLVD                                                                               MENTOR             OH   44060‐1946
MILKON, JULIA E                    2200 MILTON BOULEVARD                                                                             NEWTON FALLS       OH   44444‐8746
MILKOVICH, EMMA                    10064 HEATHERWOOD CT                                                                              HIGHLANDS RANCH    CO   80126‐7860
MILKOWSKI, DANIEL P                4700 FOX POINTE DR UNIT 133                                                                       BAY CITY           MI   48706‐2841
MILKOWSKI, HELEN                   5843 LAUDER ST                                                                                    PITTSBURGH         PA   15207‐2232
MILKOWSKI, JOSEPH H                58 SIMSBURY LNDG                                                                                  SIMSBURY           CT   06070‐1437
MILKOWSKI, LORRAINE A              1589 S HURON                                                                                      KAWKAWLIN          MI   48631‐9408
MILKOWSKI, LORRAINE A              1589 S HURON RD                                                                                   KAWKAWLIN          MI   48631‐9495
MILKOWSKI, NEIL P                  5439 OAKWOOD AVE                                                                                  STEVENS POINT      WI   54482
MILKS ALVIN HENRY SR (ESTATE OF)   GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA   23510
(493414)                                                            STREET, SUITE 600
MILKS JR, GERALD L                 1143 SHADOW RIDGE DR                                                                              NILES              OH 44446‐3561
MILKS JR, RALPH                    3910 WOODBERRY LAKE DR                                                                            GREENSBORO         NC 27455‐0944
MILKS, ALVIN HENRY                 GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                      NORFOLK            VA 23510‐2212
                                                                    STREET, SUITE 600
MILKS, ANDREW
MILKS, BETTY L                     1108 21ST ST UNIT 102                                                                             BRODHEAD           WI   53520‐2086
MILKS, BETTY L                     1108 21ST STREET                 APT 102                                                          BRODHEAD           WI   53520
MILKS, FAITH                       200 E WATER ST                                                                                    ROCKLAND           MA   02370‐1830
MILKS, IRA R                       12799 BASELL DR                                                                                   HEMLOCK            MI   48626‐7402
MILKS, IRA R                       3516 CROSBY RD                                                                                    TURNER             MI   48765‐9536
MILKS, LESTER R                    12799 BASELL DR                                                                                   HEMLOCK            MI   48626‐7402
MILKS, NANCY                       123 HILLCREST RD                                                                                  TONAWANDA          NY   14150‐5319
MILKS, RICHARD C                   3515 CROSBY RD                                                                                    TURNER             MI   48765‐9536
MILKS, VELMA J                     1106 SYLVAN LANE                                                                                  MIDLAND            MI   48640‐2861
MILKS, VELMA J                     1106 SYLVAN LN                                                                                    MIDLAND            MI   48640‐2861
MILKS, WARREN W                    116 VALENCIA ST                                                                                   WINTER HAVEN       FL   33880‐1042
MILKULSKI, ROY T                   123 FLOREN DR                                                                                     ROCHESTER          NY   14612‐1605
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Name                           Address1                         Address2           Address3         Address4               City               State Zip
MILL CREEK MOTOR FREIGHT       PO BOX 1120                                                          CAMBRIDGE ON N1R 5Y2
                                                                                                    CANADA
MILL CREEK MOTOR FREIGHT INC   4300 SOUTH M40                                                                              HOLLAND             MI   49423
MILL ROAD TIRE & AUTO          6401 N 76TH ST                                                                              MILWAUKEE           WI   53223‐6101
MILL SPECIALTIES INC           5 E 49TH ST                      PO BOX 398                                                 LA GRANGE           IL   60525‐6721
MILL STEEL CO, THE             5116 36TH ST SE                                                                             GRAND RAPIDS        MI   49512‐2010
MILL STEEL CO, THE             5116 36TH ST SE                  PO BOX 8827                                                GRAND RAPIDS        MI   49512‐2010
MILL STEEL CO, THE             CARL QUENNEVILLE                 5116 36TH ST SE    P.O. BOX 8827                           GRAND RAPIDS        MI   49512‐2010
MILL STEEL COMPANY             PO BOX 30516                     DEPARTMENT 6058                                            LANSING             MI   48909‐8016
MILL STEEL COMPANY OF CANADA   5015 O NEIL ST                                                       OLDCASTLE CANADA ON
                                                                                                    M5W 2K6 CANADA
MILL STEEL MASTER COIL         CARL QUENNEVILLE                 5116 36TH ST SE    P.O. BOX 8827                           GRAND RAPIDS        MI   49512‐2010
MILL STREET GRILLE             ATTN: EARL HARD                  12 S MILL ST                                               PONTIAC             MI   48342‐2247
MILL SUPPLIES CORP             336 E MICHIGAN AVE DB 9/07       P O BOX 12120                                              LANSING             MI   48933
MILL SUPPLIES INC              5105 INDUSTRIAL RD                                                                          FORT WAYNE          IN   46825‐5215
MILL SUPPLIES INC              5105 INDUSTRIAL RD               PO BOX 11286                                               FORT WAYNE          IN   46825‐5215
MILL THE                       1001 N WASHINGTON ST                                                                        MARION              IN   46952‐2203
MILL TRANSPORTATION CO         PO BOX 6166                                                                                 NEW YORK            NY   10249‐6166
MILL, JARROD
MILL, LAURA                    4912 RUNIC WAY                                                                              LOUISVILLE         KY    40218‐4236
MILLA D KLUSKA                 2352 CELESTIAL DRIVE NORTHEAST                                                              WARREN             OH    44484‐3905
MILLA KLUSKA                   2352 CELESTIAL DR NE                                                                        WARREN             OH    44484‐3905
MILLA KRASNOPOLSKY             38‐62 ACKERMAN DR                                                                           FAIR LAWN          NJ    07410‐5101
MILLA, GISELA O.M.             34687 CHANNING WAY                                                                          NEW BALTIMORE      MI    48047‐1079
MILLACCI, DEBRA S              4251 E AGAVE DESERT TRL                                                                     TUCSON             AZ    85706‐3023
MILLACE, NICHOLAS P            2049 SE 28TH ST                                                                             CAPE CORAL         FL    33904‐3284
MILLAGE JR, ROBERT             606 CANYON DR                                                                               COLUMBIA           TN    38401‐6119
MILLAGE, DONALD L              537 WEAKLEY CREEK RD                                                                        LAWRENCEBURG       TN    38464‐6018
MILLAGE, JOY FAYE              537 WEAKLEY CK RD                                                                           LAWRENCEBURG       TN    38464
MILLAGE, MARY C                6620 ROBINHOOD DR                                                                           ANDERSON           IN    46013‐9501
MILLAGE, MONTY L               9218 MARINERS RIDGE DR                                                                      FORT WAYNE         IN    46819‐2414
MILLAGE, MONTY LEE             9218 MARINERS RIDGE DR                                                                      FORT WAYNE         IN    46819‐2414
MILLAGE, PETER D               211 FALL CREEK DR                                                                           ANDERSON           IN    46013‐3710
MILLAGE, ROBERT                606 CANYON DR                                                                               COLUMBIA           TN    38401‐6119
MILLAGE‐TRONT, JENNIE          16311 NE 27TH CT                                                                            RIDGEFIELD         WA    98642‐8974
MILLAGER, EDWARD J             PO BOX 151                                                                                  HUMANSVILLE        MO    65674
MILLAGER, THOMAS J             1508 LANGROVE DR                                                                            DARDENNE PRAIRIE   MO    63368‐7066
MILLAN BRENT                   MILLAN, BRENT                    7001 BRECKTON PL                                           NEW ALBANY         OH    43054‐8136
MILLAN RAY                     36 MARSTON PL                                                                               GLEN RIDGE         NJ    07028
MILLAN, ALFRED                 4601 GLADSTONE BLVD                                                                         KANSAS CITY        MO    64123‐1303
MILLAN, BRENT                  7001 BRECKTON PL                                                                            NEW ALBANY         OH    43054‐8136
MILLAN, CESAR E                19 RIDGEMONT DR                                                                             LANOKA HARBOR      NJ    08734‐1634
MILLAN, REINALDO R             55 E MANOR DR                                                                               SPRINGBORO         OH    45066‐8629
MILLAN, REINALDO R             47801 HASTINGS RD                                                                           CANTON             MI    48188‐4717
MILLAN, VICTOR V               1338 WOODLOW ST                                                                             WATERFORD          MI    48328‐1362
MILLANDER, CHARLES             4079 SQUIRE HILL DR                                                                         FLUSHING           MI    48433‐3100
MILLANDER, LOIS A              4079 SQUIRE HILL DR                                                                         FLUSHING           MI    48433‐3100
MILLAR ELEVATOR                1530 TIMBER WOLF DR                                                                         HOLLAND            OH    43528‐9129
MILLAR, COLLEEN M              33550 UNICORN CT                                                                            WESTLAND           MI    48186‐7802
MILLAR, CRAIG D                70 MIXLER RD                                                                                WADSWORTH          OH    44281
MILLAR, CRAIG D                70 FIXLER RD                                                                                WADSWORTH          OH    44281
MILLAR, DOUGLAS F              6510 SPRINGFIELD LANE                                                                       CLARKSTON          MI    48346‐1039
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Name                                Address1                        Address2                      Address3               Address4         City           State Zip
MILLAR, DUANE H                     15 ROSELAWN CT                                                                                        SAGINAW         MI 48602‐1815
MILLAR, GERALDINE                   6510 SPRINGFIELD LN                                                                                   CLARKSTON       MI 48346‐1039
MILLAR, GORDON G                    8151 N STONE FARM RD                                                                                  EDGERTON        WI 53534‐9751
MILLAR, LOWELL T                    PO BOX 154                                                                                            SARDINIA        NY 14134‐0154
MILLAR, MARY E                      903 SUTTON ST                                                                                         SAGINAW         MI 48602‐2963
MILLAR, MARY E                      323 BUSCH TER                                                                                         MINNEAPOLIS     MN 55419‐5425
MILLAR, MARY G                      678 OLDE IVY LANE                                                                                     HOWELL          MI 48843‐8134
MILLAR, MARY G                      678 OLDE IVY LN                                                                                       HOWELL          MI 48843‐8134
MILLAR, MELCHA E                    4653 S IVA RD                                                                                         MERRILL         MI 48637‐9783
MILLAR, MICHAEL K                   48862 CELESTE ST                                                                                      CHESTERFIELD    MI 48051‐2909
MILLAR, MICHAEL KARL                48862 CELESTE ST                                                                                      CHESTERFIELD    MI 48051‐2909
MILLAR, MILDRED E                   1915 BALDWIN AVE APT 341                                                                              PONTIAC         MI 48340‐1176
MILLAR, MILDRED E                   1915 BALDWIN RD                 APT 341                                                               PONTIAC         MI 48340
MILLAR, NEIL L                      201 SKYCREST DR                                                                                       LANDENBERG      PA 19350‐9658
MILLAR, ROGER G                     9108 N CITY RD H                                                                                      EDGERTON        WI 53534
MILLAR, ROSS W                      7100 LESLEE ST                                                                                        PORTAGE         MI 49024‐4262
MILLAR, T M                         70 FIXLER RD                                                                                          WADSWORTH       OH 44281‐9219
MILLAR, T MICHELLE                  70 FIXLER RD                                                                                          WADSWORTH       OH 44281‐9219
MILLAR, VALERIE L                   PO BOX 1835                                                                                           EAST ELLIJAY    GA 30539
MILLARD A SHELTON                   9516 COUNTY ROAD 214                                                                                  TRINITY         AL 35673‐5282
MILLARD ADAMS                       341 CORA DR                                                                                           CARLISLE        OH 45005‐3268
MILLARD B STONE JR                  2760 DERBY DOWNS DR.                                                                                  CHATTANOOGA     TN 37421‐‐ 84
MILLARD BENNETT                     2700 W RIGGIN RD                                                                                      MUNCIE          IN 47304‐1021
MILLARD BOTT                        PO BOX 175                      216 CAROLINE ST                                                       CHARLESTOWN     MD 21914‐0175
MILLARD BRANAM                      465 WINFIELD HEIGHTS RD                                                                               GATLINBURG      TN 37738‐3157
MILLARD BREWER                      9765 W HASKET LN                                                                                      DAYTON          OH 45424‐1605
MILLARD BROUGHTON                   1390 KY 6                                                                                             BARBOURVILLE    KY 40906‐7221
MILLARD BYRD                        260 GRANDIN RD                                                                                        MAINEVILLE      OH 45039‐9762
MILLARD BYRD                        260 GRANDIN RD                                                                                        MAINEVILLE      OH 45039‐9762
MILLARD C RUSSELL JR                315 SHILOH SPRINGS RD.                                                                                DAYTON          OH 45415‐3130
MILLARD CADDELL                     9590 PITMAN RD                                                                                        YPSILANTI       MI 48197‐8987
MILLARD CATES                       704 S ROCKFIELD RD                                                                                    VEEDERSBURG     IN 47987‐8108
MILLARD CHEEK                       17226 JADOR LN                                                                                        FENTON          MI 48430‐8538
MILLARD CLAY                        912 WARREN AVE                                                                                        NILES           OH 44446‐1141
MILLARD COLEMAN JR                  PO BOX 19146                                                                                          LANSING         MI 48901‐9146
MILLARD COLLINS JR                  5123 SIERRA CIR W                                                                                     DAYTON          OH 45414‐3691
MILLARD COOPER                      5518 GWYNN OAK AVE                                                                                    BALTIMORE       MD 21207‐6868
MILLARD COPELAND                    1190 W 275 N                                                                                          LEBANON         IN 46052‐9521
MILLARD CREEKMORE                   9188 ACCESS RD                                                                                        BROOKVILLE      OH 45309‐7603
MILLARD CREEKMORE                   9188 ACCESS ROAD                                                                                      BROOKVILLE      OH 45309
MILLARD D ADAMS                     341 CORA DR                                                                                           CARLISLE        OH 45005‐3268
MILLARD D POFF II                   3350 SUNNYSIDE DR                                                                                     DAYTON          OH 45432
MILLARD DAVIS                       4663 BROWN RD                                                                                         DURAND          MI 48429‐9754
MILLARD DELSART                     CASCINO MICHAEL P               220 SOUTH ASHLAND AVE                                                 CHICAGO          IL 60607
MILLARD DOUGLASS                    300 S WASHINGTON AVE LOT 76                                                                           FORT MEADE      FL 33841‐3184
MILLARD E COLLIER                   C/O WILLIAMS KHERKHER HART &    8441 GULF FREEWAY, STE 600                                            HOUSTON         TX 77007
                                    BOUNDAS, LLP
MILLARD E GLEB                      RBC CAPITAL MARKETS CUSTODIAN   MILLARD E GLEB, INDIVIDUAL    2404 POINTVIEW PL NW                    GIG HARBOR     WA 98335
                                                                    RETIREMENT ACCOUNT
MILLARD EDWARD EUGENE SR (429459)   GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                           NORFOLK        VA 23510
                                                                    STREET, SUITE 600
MILLARD ERIC                        MILLARD, ERIC                   55 PUBLIC SQ STE 650                                                  CLEVELAND      OH 44113‐1909
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Name                       Address1                             Address2                    Address3   Address4         City               State Zip
MILLARD FERRELL JR         G‐7135 FENTON ROAD                                                                           GRAND BLANC         MI 48439
MILLARD FILLMORE COLLEGE   3435 MAIN STREET                     142 PARKER HALL                                         BUFFALO             NY 14214
MILLARD FISCHER            14404 HEAVENLY ACRES RDG                                                                     HANCOCK             MD 21750‐1907
MILLARD FOSTER
MILLARD GAYLOR             1395 CLIFF BARNES DR                                                                         KALAMAZOO          MI    49009‐8329
MILLARD GEORGE             402 CHELSEA RD                                                                               FAIRLESS HILLS     PA    19030‐2306
MILLARD GINTER             52 SHELBY AVE                                                                                SHELBY             OH    44875‐9597
MILLARD HALL               351 WENDELL LN                                                                               DAYTON             OH    45431‐2248
MILLARD HAMILTON           4571 DOVE TREE CT                                                                            FORT WORTH         TX    76137‐1866
MILLARD HAYWOOD            8215 PLAIN CITY GEORGESVILLE RD NE                                                           PLAIN CITY         OH    43064‐8969
MILLARD HECK               512 DIVIDING RIDGE RD                                                                        SPEEDWELL          TN    37870‐7337
MILLARD HOGUE              2435 E 200 S                                                                                 ANDERSON           IN    46017‐2017
MILLARD HOSKINS JR         141 N VICTOR WAY                                                                             CROSSVILLE         TN    38555‐8835
MILLARD HUNEYCUTT          6331 BANDY DR                                                                                CHARLOTTE          NC    28215‐4201
MILLARD I I I, HARRY J     15266 BERLIN STATION RD                                                                      BERLIN CENTER      OH    44401‐9617
MILLARD J CHANDLER         213 N WASHINGTON ST                                                                          NEW PARIS          OH    45347‐1153
MILLARD JARRETT            750 GRANT CIR                                                                                LINDEN             MI    48451‐9006
MILLARD JOHNS              4623 DR MARTIN LUTHER KING JR BLVD                                                           ANDERSON           IN    46013‐2316
MILLARD JOHNSON            3405 W MAIN ST                                                                               UNION CITY         TN    38261‐1541
MILLARD JOHNSON            40667 DRURY RD                                                                               STERLING HEIGHTS   MI    48310‐2034
MILLARD JOHNSON            875 WILLIAMS BLVD.                                                                           RIDGELAND          MS    39157‐1541
MILLARD JOHNSON JR         2412 RIDGE AVE                                                                               EAST SAINT LOUIS   IL    62205‐1718
MILLARD JR, FILLMORE G     816 WEST ST                                                                                  BELOIT             WI    53511‐4805
MILLARD JR, W E            839 S WESTWOOD APT 190                                                                       MESA               AZ    85210‐3465
MILLARD JR, W EDWARD       839 S WESTWOOD APT 190                                                                       MESA               AZ    85210‐3465
MILLARD K WATERS           1815 ROSLIN RD                                                                               JAMESTOWN          TN    38556‐5086
MILLARD KEITH              701 MARKET ST APT 147                                                                        OXFORD             MI    48371‐3579
MILLARD KELLEY             140 HIGHLAND DR                                                                              MOULTON            AL    35650‐4108
MILLARD KUHLMANN           2 PEG ELAINE CT                                                                              SAINT PETERS       MO    63376‐1902
MILLARD L BREWER           9765 WEST HASKET LANE                                                                        DAYTON             OH    45424‐1605
MILLARD LADD JR            223 KNOB HILL RD                                                                             MERIDEN            CT    06451‐4932
MILLARD LAWRENCE           10925 BEACH CT RAINBOW LK                                                                    PERRINTON          MI    48871
MILLARD M HALL             351 WENDELL LN                                                                               DAYTON             OH    45431‐2248
MILLARD MARILYN            2710 VARSITY PL                                                                              TAMPA              FL    33612‐4737
MILLARD MARTIN             8114 OSAGE AVE                                                                               ALLEN PARK         MI    48101‐2489
MILLARD MARTIN SERVICES    PO BOX 51886                                                                                 BOWLING GREEN      KY    42102‐6886
MILLARD MASSENBERG         30047 HIGHMEADOW RD                                                                          FARMINGTON HILLS   MI    48334‐3013
MILLARD MCCULLAH           144 DOGWOOD LN                                                                               JACKSBORO          TN    37757‐2811
MILLARD MIDDLETON          222 HALIFAX DR                                                                               VANDALIA           OH    45377‐2910
MILLARD NORMAN             310 DIAMOND RD                                                                               HELTONVILLE        IN    47436‐8560
MILLARD O'BRYAN            1891 KIEFER RD                                                                               DANSVILLE          NY    14437
MILLARD PAM                MILLARD, PAM                         1378 COUNTY ROAD                                        SARCOXIE           MO    64862
MILLARD PENDER             838 S WILDER RD                                                                              LAPEER             MI    48446‐9481
MILLARD QWENDOLYN          6372 OYSTER KEY LN                                                                           PLAINFIELD         IN    46168‐9162
MILLARD RASH               1826 BORDEAUX DR                                                                             FAIRBORN           OH    45324‐2863
MILLARD ROOT               9251 E EATON HWY                                                                             MULLIKEN           MI    48861‐9649
MILLARD RUSH               934 ANDREW AVE                                                                               SALEM              OH    44460‐3539
MILLARD RUSSELL JR         315 SHILOH SPRINGS RD                                                                        DAYTON             OH    45415‐3130
MILLARD RUTHERFORD JR      3544 HIGHLAND WOODS DR                                                                       DALLAS             TX    75241‐3333
MILLARD S DAVIS            C/O WILLIAMS KHERKHER HART &         8441 GULF FREEWAY STE 600                               HOUSTON            TX    77007
                           BOUNDAS LLP
MILLARD SHELTON            9516 COUNTY ROAD 214                                                                         TRINITY             AL   35673‐5282
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Name                     Address1                       Address2                      Address3   Address4         City            State Zip
MILLARD SINGLETON        1054 SHEFFIELD CT                                                                        AVON             IN 46123‐8060
MILLARD SNOWDEN          353 DUBLIN DR                                                                            GLEN BURNIE      MD 21060‐8245
MILLARD STONE JR         2760 DERBY DOWNS DR                                                                      CHATTANOOGA      TN 37421‐8400
MILLARD THOMPSON         #C                             8100 MAIN STREET                                          GARRETTSVILLE    OH 44231‐1216
MILLARD TRIBBLE          150 ISLAND DR                                                                            ELYRIA           OH 44035‐4777
MILLARD WALTER           2864 S MAIN ST                                                                           NILES            OH 44446‐1310
MILLARD WARREN           9583 PRAIRIE ST                                                                          DETROIT          MI 48204‐2049
MILLARD WATERS           1815 ROSLIN RD                                                                           JAMESTOWN        TN 38556‐5086
MILLARD WATTS SR         3802 STATE ROAD 446                                                                      HELTONVILLE      IN 47436‐8807
MILLARD WENTZ            10010 MILLIMAN RD                                                                        MILLINGTON       MI 48746‐9713
MILLARD WEST             234 WATERVLIET AVE                                                                       DAYTON           OH 45420‐2455
MILLARD WINNINGHAM       17663 HENRY ST                                                                           MELVINDALE       MI 48122‐1040
MILLARD, ALAN
MILLARD, ALICIA          16408 DON COURT                                                                          NINE MILE FLS   WA   99206
MILLARD, ARTHUR L        2945 W AVALON RD                                                                         JANESVILLE      WI   53546‐8992
MILLARD, BEATRICE ANN    1404 READY AVE                                                                           BURTON          MI   48529‐2052
MILLARD, BEATRICE ANN    1404 READY                                                                               BURTON          MI   48529‐2052
MILLARD, BETTY           15567 HARVEST LANE                                                                       SOUTHGATE       MI   48195‐6834
MILLARD, CARL Q          PO BOX 5881                                                                              ARLINGTON       TX   76005‐5881
MILLARD, CHARLOTTE C     3014 PETUNIA LN                                                                          BELOIT          WI   53511‐1650
MILLARD, CINDY L         804 LAKEVIEW DR                                                                          MOORE           OK   73160‐2627
MILLARD, CLYDE M         771 BEACHWOOD PT                                                                         DELTON          MI   49046
MILLARD, CYNTHIA A       PO BOX 3576                                                                              ARLINGTON       TX   76007‐3576
MILLARD, DARLENE M       17073 HWY 10 N                                                                           BUTLER          KY   41006‐9022
MILLARD, DAVID B         30239 WESTMORE DR                                                                        MADISON HTS     MI   48071‐2212
MILLARD, DAVON K         120 NORTH CHURCH STREET                                                                  DICKEYVILLE     WI   53808‐6815
MILLARD, DEAN R          534 PRAIRIE AVE                                                                          JANESVILLE      WI   53545‐1714
MILLARD, DONALD B        718 FRITZLER DR                                                                          SAGINAW         MI   48609‐5102
MILLARD, DOUGLAS L       200 LEWIS ST                                                                             TROY            MO   63379‐1618
MILLARD, DOUGLAS LEE     200 LEWIS ST                                                                             TROY            MO   63379‐1618
MILLARD, E D             9301 W 55TH ST                                                                           LAGRANGE        IL   60525
MILLARD, EDWARD EUGENE   GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                        STREET, SUITE 600
MILLARD, ELSIE M         2339 SOUTH STATE ROAD 135                                                                GREENWOOD       IN   46143‐9445
MILLARD, EUGENE          BRAYTON PURCELL                PO BOX 6169                                               NOVATO          CA   94948‐6169
MILLARD, FLOYD V         7953 MASON LN                                                                            WHITMORE LAKE   MI   48189‐9587
MILLARD, FRED T          1845 RAY RD                                                                              OXFORD          MI   48371‐2755
MILLARD, GARY M          7829 MCNULTY AVE                                                                         WINNETKA        CA   91306‐2132
MILLARD, GORDON R        7289 GALE RD                                                                             OTISVILLE       MI   48463‐9414
MILLARD, GREGORY B       6 APRIL HILL DR                                                                          GRAFTON         OH   44044‐9607
MILLARD, HELEN A         3910 N MIELKE WAY RD                                                                     LEWISTON        MI   49756‐7903
MILLARD, HELEN V         3329 EWINGS RD                                                                           NEWFANE         NY   14108‐9605
MILLARD, JAMES F         APT D214                       11300 WARNER AVENUE                                       FOUNTAIN VLY    CA   92708‐4174
MILLARD, JAMES J         1011 LOWREY PL                                                                           SPRING HILL     TN   37174‐6119
MILLARD, JAMES R         3216 SW 96TH ST                                                                          OKLAHOMA CITY   OK   73159‐6505
MILLARD, JAMES R         3910 N MIELKE WAY RD                                                                     LEWISTON        MI   49756‐7903
MILLARD, JOHN D          1681 OPAL DR                                                                             SAINT HELEN     MI   48656‐9474
MILLARD, JOHN S          PO BOX 476                                                                               ROBINSONVILLE   MS   38664‐0476
MILLARD, JUDITH A        W140S7395 SETTLER WAY                                                                    MUSKEGO         WI   53150‐3624
MILLARD, KENNETH E       18361 TIMBERLINE DR                                                                      THOMPSONVILLE   MI   49683‐9587
MILLARD, KENNETH L       1419 S CROSBY AVE                                                                        JANESVILLE      WI   53546‐5442
MILLARD, KIM M           2014 PURVIS AVE                                                                          JANESVILLE      WI   53548‐1471
                                      09-50026-mg           Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit B
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Name                                 Address1                         Address2                     Address3     Address4                 City             State Zip
MILLARD, KIMBERLY                    9035 E LAKE RD                                                                                      CLARKSTON         MI 48348‐4268
MILLARD, MABEL T                     137 E 5TH ST                                                                                        PALMYRA           NJ 08065‐2622
MILLARD, MABEL T                     300 GARFIELD AVE                                                                                    PALMYRA           NJ 08065‐1516
MILLARD, PAM                         1378 COUNTY ROAD                                                                                    SARCOXIE          MO 64862
MILLARD, PAUL R                      5190 THOMAS RD                                                                                      METAMORA          MI 48455‐9381
MILLARD, PHYLLIS L                   691 WEST RUBY ROAD                                                                                  SHERIDAN          MI 48884
MILLARD, PHYLLIS L                   691 W RUBY RD                                                                                       SHERIDAN          MI 48884‐9349
MILLARD, QWENDOLYN                   6372 OYSTER KEY LN                                                                                  PLAINFIELD        IN 46168‐9162
MILLARD, REX S                       47121 FINCH ST                                                                                      MATTAWAN          MI 49071‐7744
MILLARD, RUTH L                      1108 PARK ST APT 2                                                                                  WOODBINE           IA 51579‐1078
MILLARD, RUTH M                      7591 WEST HYLAND AVENUE                                                                             DAYTON            OH 45424‐4423
MILLARD, STANLEY L                   1401 BARHAM AVE                                                                                     JANESVILLE        WI 53548‐1505
MILLARD, THOMAS L                    544 LOOKOUT DR                                                                                      PEWAUKEE          WI 53072‐3622
MILLARD, WILLIAM A                   1719 ALTACREST DR                                                                                   GRAPEVINE         TX 76051‐4477
MILLAT ENTERPRISES                   ATTN: HERBERT MILLAT             4794 S DIXIE DR # C                                                MORAINE           OH 45439‐1474
MILLAT INDUSTRIES CORP               4901 CROFTSHIRE DR                                                                                  DAYTON            OH 45440‐1709
MILLAY JR, JOHN T                    218 BLACK POWDER LN                                                                                 KEARNEYSVILLE     WV 25430‐3669
MILLAY, CHARLES O                    13454 WINDY TRL                                                                                     WOLVERINE         MI 49799‐9560
MILLAY, MARK F                       9920 EAGLE PASS                                                                                     CANADIAN LAKES    MI 49346‐9029
MILLBANK MATERIALS LTD               323 S MAIN ST                                                                                       ZELIENOPLE        PA 16063‐1536
MILLBANK MATERIALS PA LTD            HSBC BANK OF USA NA              323 S MAIN ST                PO BOX 103                            ZELIENOPLE        PA 16063‐1536
MILLBAUGH, KARIC A                   PO BOX 353                       3030 ROUTE 310                                                     MADRID            NY 13660‐0353
MILLBAUGH, RUTH H                    5870 JUNIPER A.A. LANE                                                                              RAPID RIVER       MI 49878‐9559
MILLBERG, NOLA L                     5856 ROUTE 711                                                                                      NEW FLORENCE      PA 15944
MILLBERN, ERNEST S                   6318 RALSTON AVE                                                                                    RAYTOWN           MO 64133‐5133
MILLBROOK PROVING GROUNDS LTD        GM HOLDINGS UK LTD               MILLBROOK NR AMPTHILL                     BEDFORD ENGLAND MK45
                                                                                                                2JQ GREAT BRITAIN
MILLBROOK PROVING GROUNDS LTD        NR AMPTHILL RMT CHG 11/19/04AH   BEDFORDSHIRE                              GREAT BRITIAN MK45 2JQ
                                                                                                                GREAT BRITAIN
MILLBURN MEDICAL IMA                 PO BOX 1230                                                                                         EATONTOWN        NJ 07724‐1081
MILLBURN SOLOMON (489846)            ANGELOS PETER G                  100 N CHARLES STREET , ONE                                         BALTIMORE        MD 21201
                                                                      CHARLES CENTER
MILLBURN TOWNSHIP MUNICIPAL COURT    435 ESSEX ST                                                                                        MILLBURN          NJ   07041‐1316

MILLBURN, SOLOMON                    ANGELOS PETER G                  100 N CHARLES STREET, ONE                                          BALTIMORE        MD 21201‐3812
                                                                      CHARLES CENTER
MILLBURY, LEMUEL H                   RR 3 BOX 195                                                                                        TROY             PA    16947
MILLCREEK AUTOMOTIVE                 3385 HIGHLAND DR                                                                                    SALT LAKE CITY   UT    84106‐3356
MILLCREEK TOWNSHIP                                                    3608 W 26TH ST                                                                      PA    16506
MILLCREEK TOWNSHIP SCHOOL DISTRICT                                    3740 W 26TH ST                                                                      PA    16506

MILLDEBRANDT, HENRY E                600 S NEWMAN RD                                                                                     LAKE ORION       MI    48362‐2135
MILLE MICHAEL                        PO BOX 352                                                                                          DUPONT           LA    71329‐0352
MILLE MICHAEL L & KRISTINE A         4350 FOOTVILLE RICHMOND RD                                                                          DORSET           OH    44032‐8722
MILLEA, LEO E                        265 N HEMET ST                                                                                      HEMET            CA    92544‐5076
MILLEDGE GORDON JR                   1671 BETHANY RD                                                                                     MADISON          GA    30650‐4763
MILLEDGE JOAN                        ICO THE LANIER LAW FIRM P C      6810 FM 1960 WEST                                                  HOUSTON          TX    77069
MILLEDGE, CHARLOTTE
MILLEDGE, REFUGE                     3725 MOLLER RD                                                                                      INDIANAPOLIS     IN    46224‐1319
MILLEDGE, SHIRLEY A                  1697 BAR HARBOR DR                                                                                  FORT PIERCE      FL    34945‐2441
MILLEDGE, WANDA J                    15088 APPOLINE ST                                                                                   DETROIT          MI    48227‐4042
MILLEFOGLIE, PETER K                 6010 108TH AVE NE                                                                                   NORMAN           OK    73026‐9725
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Name                                  Address1                          Address2                        Address3                 Address4                 City           State Zip
MILLEGE, ARTHUR G                     PO BOX 1084                                                                                                         SAGINAW         MI 48606‐1084
MILLEGE, EVELYN                       3035 S WASHINGTON                                                                                                   SAGINAW         MI 48601‐4354
MILLEM, DONALD W                      745 MONTANA ST                                                                                                      MARYSVILLE      MI 48040‐1293
MILLEN TRUCKING LTD                   RR 7                                                                                       NAPANEE ON K7R 3L2
                                                                                                                                 CANADA
MILLEN WHITE ZELANO & BRANIGAN PC     2200 CLARENDON BLVD STE 1400                                                                                        ARLINGTON      VA 22201‐3331

MILLEN, BRIAN W                       19 NURSERY RD                                                                                                       EWING          NJ   08560‐1222
MILLEN, DANIEL K                      4527 WILDWOOD LOOP                                                                                                  CLARKSTON      MI   48348‐1465
MILLEN, EDNA J                        5146 HARVARD                                                                                                        CLARKSTON      MI   48348‐3113
MILLEN, EDNA J                        5146 W HARVARD AVE                                                                                                  CLARKSTON      MI   48348‐3113
MILLEN, GREGORY M                     1156 LOWER FERRY RD                                                                                                 EWING          NJ   08618‐1831
MILLEN, HAZEL C                       210 W DRAHNER RD APT 135                                                                                            OXFORD         MI   48371‐5087
MILLEN, MORRIS R                      2601 METAMORA RD                                                                                                    OXFORD         MI   48371‐2355
MILLEN, PATRICK                       1973 SHERWOOD DR                                                                                                    DEFIANCE       OH   43512‐3431
MILLEN, ROBERT J                      41793 FIVE MILE RD                                                                                                  PLYMOUTH       MI   48170‐2615
MILLEN, STEPHEN D                     5146 W HARVARD AVE                                                                                                  CLARKSTON      MI   48348‐3113
MILLEN, TYRONE D                      50 GLANWORTH ST                                                                                                     LAKE ORION     MI   48362‐3400
MILLENBACH, JOHN E                    6394 SPOTTED FAWN RUN                                                                                               LITTLETON      CO   80125‐9039
MILLENBACH, MARGARET E                1116 WEST LONG LAKE ROAD                                                                                            BLOOMFIELD     MI   48302‐1963
MILLENBACH, MARYLOU L                 1840 FRONTAGE RD APT 606                                                                                            CHERRY HILL    NJ   08034‐2203
MILLENDER CENTER ASSOCIATES LIMITED   C/O VICKI R HARDING ESQ           PEPPER HAMILTON LLP             100 RENAISSANCE CENTER                            DETROIT        MI   48243
PARNERSHIP                                                                                              SUITE 3600
MILLENDER CENTER ASSOCIATES LP        50 PUBLIC SQ STE 1200                                                                                               CLEVELAND      OH 44113‐2204
MILLENDER CLEVELAND (446365)          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
MILLENDER MCCLINTON (446366)          BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
MILLENDER WILLIE (446367)             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                     NORTHFIELD     OH 44067
                                                                        PROFESSIONAL BLDG
MILLENDER, CLINTON                    PORTER & MALOUF PA                4670 MCWILLIE DR                                                                  JACKSON        MS   39206‐5621
MILLENDER, FOSTER N                   6427 RUSTIC RIDGE TRL                                                                                               GRAND BLANC    MI   48439‐4950
MILLENDER, GLADYS                     PO BOX 321253                                                                                                       FLINT          MI   48532‐0022
MILLENDER, JAMES E                    47707 ASHFORD DR S                                                                                                  CANTON         MI   48188‐6268
MILLENDER, JOSEPH P                   6801 W 70TH ST LOT 32                                                                                               SHREVEPORT     LA   71129‐2331
MILLENDER, JOSEPH PATRICK             6801 W 70TH ST LOT 32                                                                                               SHREVEPORT     LA   71129‐2331
MILLENDER, LILLIE P                   6427 RUSTIC RIDGE TRL                                                                                               GRAND BLANC    MI   48439‐4950
MILLENDER, MCCLINTON                  BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                                                      NORTHFIELD     OH   44067
                                                                        PROFESSIONAL BLDG
MILLENDER, PATRICIA L                 UNIT 710                          5750 BOU AVENUE                                                                   ROCKVILLE      MD 20852‐5636
MILLENDER, PATRICIA L                 5750 BOU AVE UNIT 710                                                                                               ROCKVILLE      MD 20852‐5636
MILLENIUM AUTOMOTIVE SERVICES         1890 MEYERSIDE DR                                                                          MISSISSAUGA ON L5T 1B4
                                                                                                                                 CANADA
MILLENIUM INDUSTRIES, INC.            JAMES OLSON                       3040 E 170TH ST                                                                   LANSING        IL   60438‐1116
MILLENIUM LAB OF CA                   PO BOX 841773                                                                                                       DALLAS         TX   75284‐1773
MILLENNIUM EXPEDITED LOGISTICSINC     763 STITKER RD                                                                                                      W ALEXANDRIA   OH   45381‐9725
MILLENNIUM FUNDING                    12501 ELMWOOD AVE                                                                                                   CLEVELAND      OH   44111
MILLENNIUM FUNDING                    12395 DELTA ST                                                                                                      TAYLOR         MI   48180‐6834
MILLENNIUM GLOBAL MARKETING LTD       12350 E 9 MILE RD STE 7                                                                                             WARREN         MI   48089‐2647
MILLENNIUM INDUSTRIES                 925 N MAIN ST                                                                                                       LIGONIER       IN   46767‐2060
MILLENNIUM INDUSTRIES CORP            925 N MAIN ST                                                                                                       LIGONIER       IN   46767‐2060
MILLENNIUM INDUSTRIES CORP            925 N MAIN ST                     PO BOX 350                                                                        LIGONIER       IN   46767‐2060
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Name                                 Address1                             Address2                       Address3    Address4         City             State Zip
MILLENNIUM INDUSTRIES CORP           TOM SHELTON                          925 NORTH MAIN STREET                                       ENGLEWOOD         OH 45322
MILLENNIUM INSTITUTE                 2111 WILSON BLVD                     STE 700                                                     ARLINGTON         VA 22201‐3052
MILLENNIUM INSTITUTE                 ATTN: CORPORATE OFFICER/AUTHORIZED   2111 WILSON BLVD STE 700                                    ARLINGTON         VA 22201‐3052
                                     AGENT
MILLENNIUM MEDICAL G                 6149 N WAYNE RD                                                                                  WESTLAND         MI    48185‐7128
MILLENNIUM MEDICAL G                 PO BOX 3459                                                                                      CHATSWORTH       CA    91313‐3459
MILLENNIUM SEATING                   1983 LOWER ROSWELL RD                                                                            MARIETTA         GA    30068‐3348
MILLENNIUM SOFTWARE SOLUTION INC     3255 ROON THE BEN                                                                                ANN ARBOR        MI    48108‐2270
DBA FORTE SYSTEMS
MILLENNOR, NANCY                     2898 HANOIS CT                                                                                   CINCINNATI       OH    45251‐1022
MILLENOVICH, PETE                    21511 LE FEVER X                                                                                 WARREN           MI    48091
MILLER                               9210 COLEMAN RD                                                                                  HASLETT          MI    48840‐9326
MILLER                               1275 DELAWARE AVE STE B12                                                                        BUFFALO          NY    14209‐2409
MILLER & CHEVALIER CHARTERED         655 15TH ST NW STE 900                                                                           WASHINGTON       DC    20005‐5706
MILLER & CO                          9700 W HIGGINS RD STE 1000                                                                       ROSEMONT         IL    60018‐4743
MILLER & CO/ROSEMONT                 6400 SHAFER CT STE 500                                                                           ROSEMONT         IL    60018‐4949
MILLER & COMPANY                     2400 SHEPLER CHURCH AVE SW                                                                       CANTON           OH    44706‐4112
MILLER & HARRISON INC                100 W 2ND ST                                                                                     MUSCATINE        IA    52761‐3713
MILLER & MARTIN LLP                  1200 FIRST UNION TOWER               150 4TH AVE N                                               NASHVILLE        TN    37210
MILLER & MEOLA                       14 CORPORATE WOODS BLVD                                                                          ALBANY           NY    12211
MILLER & SONS CHEVROLET              21ST ST & SHEFFIELD RD                                                                           ALIQUIPPA        PA    15001
MILLER & SONS, INC.                                                       1189 BOILING SPRINGS RD                                                      PA    17055
MILLER A. STEENO, PC                 STEPHEN J. BARBER                    11970 BROMAN DRIVE             SUITE 250                    ST. LOUIS        MO    63146
MILLER ABRAHAM                       5303 IVAN DR APT 104                                                                             LANSING          MI    48917‐3340
MILLER ALBA                          4500 HIGHWAY 6                                                                                   SUGAR LAND       TX    77478‐4488
MILLER ALFANO & RASPANTI PC          1818 MARKET ST STE 3402                                                                          PHILADELPHIA     PA    19103‐3656
MILLER AMY                           MILLER, AMY                          120 WEST MADISON STREET 10TH                                CHICAGO          IL    60602
                                                                          FLOOR
MILLER ANDREA                        MILLER, ANDREA                       120 WEST MADISON STREET 10TH                                CHICAGO           IL   60602
                                                                          FLOOR
MILLER ANN G                         ICO THE LANIER LAW FIRM P C          6810 FM 1960 WEST                                           HOUSTON          TX    77069
MILLER ARLAN K                       3318 W ROLLINGWOOD DR                                                                            JANESVILLE       WI    53545‐8998
MILLER ARTHUR                        5750 OAK GROVE VALLEY DR                                                                         CUMMING          GA    30028‐3286
MILLER AUTO & TRANSMISSION           7417 N US HIGHWAY 14                                                                             HARVARD          IL    60033‐9036
MILLER AUTO CARE                     434 S RANGE LINE RD                                                                              CARMEL           IN    46032‐2139
MILLER AUTO CENTER                   4353 SARATOGA DR                                                                                 REDDING          CA    96002‐3742
MILLER AUTO PARTS & REPAIR           12600 NAVES CROSS RD NE                                                                          CUMBERLAND       MD    21502‐8214
MILLER AUTO PARTS & SUPPLY INC       10151 FAIRGROUNDS RD                                                                             HUNTINGDON       PA    16652‐7144
MILLER AUTOMOBILE COMPANY OF         51 EVANS DR                                                                                      LEBANON          NH    03766‐1443
LEBANO
MILLER AUTOMOBILE COMPANY OF         51 EVANS DR                                                                                      LEBANON          NH 03766‐1443
LEBANON
MILLER AUTOMOTIVE SERVICE            12300 OLD BALTIMORE PIKE                                                                         BELTSVILLE       MD    20705‐1393
MILLER AUTOMOTIVE SERVICE L. L. C.   1215 CLIFTY DR                                                                                   MADISON          IN    47250‐1615
MILLER BAUGH                         4332 SAINT MARTINS DR                                                                            FLINT            MI    48507‐3775
MILLER BENJAMIN W (429460)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA    23510
                                                                          STREET, SUITE 600
MILLER BENNY M (626660)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                 NORFOLK          VA 23510
                                                                          STREET, SUITE 600
MILLER BERNARD                       5404 OCEAN FRONT AVE                                                                             VIRGINIA BEACH   VA 23451‐2344
MILLER BETTY                         1109 BUTTERCUP LN                                                                                FRUITA           CO 81521‐2091
MILLER BEVERLY                       3603 SUFFOLK CT                                                                                  FLUSHING         MI 48433
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Name                                Address1                           Address2                         Address3                 Address4         City             State Zip
MILLER BILLIE RONALD (429461)       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                NORFOLK           VA 23510
                                                                       STREET, SUITE 600
MILLER BILLY (492074)               BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                              NORTHFIELD       OH 44067
                                                                       PROFESSIONAL BLDG
MILLER BIRCH                        GUARDIANSHIP SERVICES OF           SAGINAW COUNTY INC                                                         SAGINAW          MI 48607
MILLER BOBBIE                       C/O SUSAN GOODSON                  726 S PRAIRIEVILLE ST                                                      ATHENS           TX 75751‐3240
MILLER BRENDA LEE                   MILLER, BRENDA LEE                 117 WILMINGTON PIKE, SUITE 200                                             GLEN MILLS       PA 19342

MILLER BREWING COMPANY              3939 W HIGHLAND BLVD                                                                                          MILWAUKEE        WI 53208‐2816
MILLER BREWING COMPANY, HAROLD N.   300 N GREENE ST STE 1400                                                                                      GREENSBORO       NC 27401‐2171
BYNUM, ESQ., SMITH MOORE LLP
MILLER BRIAN                        MILLER, BRIAN                      CRAIG A. ALTMAN                  19 SOUTH 21 ST. STREET                    PHILADELPHIA     PA   19103
MILLER BRISCO                       19327 NESTOR AVE                                                                                              CARSON           CA   90746‐2607
MILLER BROTHERS AUTO REPAIR         357 REED ST                                                                                                   SOMERSET         WI   54025‐9791
MILLER BROTHERS CHEVROLET INC       JOHN MILLER                        9035 BALTIMORE NATL PIKE                                                   ELLICOTT CITY    MD   21042
MILLER BROTHERS CHEVROLET‐          9035 BALTIMORE NATL PIKE                                                                                      ELLICOTT CITY    MD
OLDSMOBIL
MILLER BROTHERS CHEVROLET‐          JOHN MILLER                        9035 BALTIMORE NATL PIKE                                                   ELLICOTT CITY    MD 21042
OLDSMOBILE
MILLER BROTHERS CHEVROLET‐          JOHN MILLER                        9035 BALTIMORE NATL PIKE                                                   ELLICOTT CITY    MD 21042
OLDSMOBILE‐CADILLAC, INC.
MILLER BROTHERS CHEVROLET‐          9035 BALTIMORE NATL PIKE                                                                                      ELLICOTT CITY    MD 21042
OLDSMOBILE‐CADILLAC, INC.
MILLER BROTHERS MANUFACTURING CO    24425 W M 60                                                                                                  HOMER            MI 49245‐9651

MILLER BROTHERS MANUFACTURING CO    CHRIS MILLER X225                  PO BOX 68                                                                  HOMER            MI 49245‐0068

MILLER BROTHERS MANUFACTURING       PO BOX 68                                                                                                     HOMER            MI 49245‐0068
COMPANY
MILLER BROTHERS MFG                 24425 W M 60                                                                                                  HOMER            MI   49245‐9651
MILLER BROTHERS MFG. CO             CHRIS MILLER X225                  PO BOX 68                                                                  ADA              OK   74821‐0068
MILLER BRYON PATRICK                2181 W MILLER CIR                                                                                             WESTLAND         MI   48186‐9307
MILLER BUICK PONTIAC GMC CORPORATIO 920 US HIGHWAY 1 N                                                                                            WOODBRIDGE       NJ   07095‐1403

MILLER BUICK PONTIAC GMC CORPORATIO 940 US HIGHWAY 1 N                                                                                            WOODBRIDGE       NJ   07095‐1403

MILLER BUICK PONTIAC GMC            920 US HIGHWAY 1 N                                                                                            WOODBRIDGE       NJ   07095‐1403
CORPORATION
MILLER BUICK PONTIAC GMC            940 US HIGHWAY 1 N                                                                                            WOODBRIDGE       NJ   07095‐1403
CORPORATION
MILLER BUICK PONTIAC GMC            RONALD MILLER                      920 US HIGHWAY 1 N                                                         WOODBRIDGE       NJ   07095‐1403
CORPORATION
MILLER BYARD S (429462)             GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                NORFOLK          VA 23510
                                                                       STREET, SUITE 600
MILLER CADILLAC                     512 JOHNNIE DODDS BLVD                                                                                        MOUNT PLEASANT   SC   29464‐3029
MILLER CADILLAC, INC.               SUMTER DEBRUX                      512 JOHNNIE DODDS BLVD                                                     MOUNT PLEASANT   SC   29464‐3029
MILLER CANFIELD                     555 BROADWAY                                                                                                  NEW YORK         NY   10027
MILLER CANFIELD                     C/O JANE DOE                       555 BROADWAY                                                               NEW YORK         NY   10027
MILLER CANFIELD PADDOCK & STONE     150 W JEFFERSON AVE STE 2500                                                                                  DETROIT          MI   48226‐4415
MILLER CANFIELD PADDOCK AND STONE   DONALD J. HUTCHINSON               150 WEST JEFFERSON AVENUE        SUITE 2500                                DETROIT          MI   48226
PLC
MILLER CARLOS                       1021 ALNETTA DR                                                                                               CINCINNATI       OH 45230‐4011
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Name                                  Address1                         Address2                          Address3   Address4         City               State Zip
MILLER CASSIDY LARROCA & LEWINLLP     2555 M ST NW STE 500                                                                           WASHINGTON          DC 20037
MILLER CHARLES                        MILLER, CHARLES                  2372 CEDAR DALE CT                                            MARYLAND HEIGHTS    MO 63043‐4165
MILLER CHARLES (492075)               BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD          OH 44067
                                                                       PROFESSIONAL BLDG
MILLER CHARLES E JR (343402)          GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MILLER CHARLES F (352841)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MILLER CHARLES J ESTATE OF            C/O DAVID MILLER                 18612 PARKMOUNT AVE                                           CLEVELAND          OH 44135‐4048
MILLER CHARLES L (429463)             GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MILLER CHARLES M                      40 CHIPPEWA RD                                                                                 PONTIAC            MI 48341‐1506
MILLER CHARLES RAYMOND (517424)       GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                    EDWARDSVILLE       IL 62025‐0959
                                      ANTOGNOLI
MILLER CHEVROLET                      FRMLY SUBURBAN BANK & TRUST CO   5343 MILLER CIRCLE DR                                         MATTESON           IL 60443‐1483
MILLER CHEVROLET CADILLAC             13 LABOMBARD RD                                                                                LEBANON            NH 03766‐1457
MILLER CHEVROLET CADILLAC             JOSEPH CICOTTE                   13 LABOMBARD RD                                               LEBANON            NH 03766‐1457
MILLER CHEVROLET LARRY
MILLER CHEVROLET, INC.                GARY CORBELL                     428 E MOTEL DR                                                LORDSBURG          NM    88045‐1925
MILLER CHEVROLET, INC.                428 E MOTEL DR                                                                                 LORDSBURG          NM    88045‐1925
MILLER CHEVROLET, INC.                5343 MILLER CIRCLE DR                                                                          MATTESON            IL   60443‐1483
MILLER CHEVROLET, LLC                 21150 JOHN MILLESS DR                                                                          ROGERS             MN    55374‐9400
MILLER CHEVROLET, LLC                 MICHAEL MILLER                   21150 JOHN MILLESS DR                                         ROGERS             MN    55374‐9400
MILLER CHIROPRACTIC WELLNESS CENTER   4446 MAIN ST                     STE 100                                                       BUFFALO            NY    14226‐4406

MILLER CHLOE                          4843 STATE ROUTE 257                                                                           RADNOR             OH 43066‐9706
MILLER CLARENCE A JR (429464)         GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MILLER CLIFFORD                       MILLER, CLIFFORD
MILLER CLIFFORD R (452648)            SIMMONS FIRM                     PO BOX 559                                                    WOOD RIVER         IL    62095‐0559
MILLER CLYDE H (482344)               PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                        PHILADELPHIA       PA    19103‐5446
MILLER COMMUNICATIONS INC             SUMTER                           51 COMMERCE ST                                                SUMTER             SC    29150‐5014
MILLER COMPANY INC                    PO BOX 6                                                                                       CATAUMET           MA    02534‐0006
MILLER CONSULTING GROUP INC           5293 LAKEVIEW PARKWAY SOUTH DR                                                                 INDIANAPOLIS       IN    46268‐4111
MILLER COUNTY COLLECTOR               PO BOX 321                                                                                     TUSCUMBIA          MO    65082
MILLER CRAIG                          PO BOX 12                                                                                      ROACHDALE          IN    46172‐0012
MILLER CYNTHIA                        375 SEDONA DRIVE                                                                               COLORADO SPGS      CO    80921‐2834
MILLER CYNTHIA (ESTATE OF) (665259)   FERRARO & ASSOCIATES             4000 PONCE DE LEON BLVD STE 700                               CORAL GABLES       FL    33146‐1434

MILLER DAILEY R (429465)              GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MILLER DANIEL J                       MILLER, DANIEL J                 1401 OCEAN AVE STE 300                                        SANTA MONICA       CA    90401‐2163
MILLER DANIEL J                       MILLER, JIMMY D                  20355 HAWTHORNE BLVD                                          TORRANCE           CA    90503‐2401
MILLER DANNY                          4761 LABADIE AVE                                                                               SAINT LOUIS        MO    63115‐1944
MILLER DARHL (ESTATE OF) (492076)     BEVAN & ASSOCIATES               10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH    44067
                                                                       PROFESSIONAL BLDG
MILLER DARIN                          MILLER, DARIN                    120 WEST MADISON STREET , 10TH                                CHICAGO             IL   60602
                                                                       FLOOR
MILLER DAVE OLDSMOBILE                5513 MILLER CIRCLE DR                                                                          MATTESON           IL    60443‐1482
MILLER DAVID                          1912 PLYMOUTH ST                                                                               MIDLAND            MI    48642‐6812
MILLER DAVID                          10418 WORTHINGTON LN                                                                           PROSPECT           KY    40059‐9564
MILLER DAVID                          1309 JASMINE LN                                                                                LANCASTER          PA    17601‐7150
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Name                          Address1                              Address2                          Address3   Address4         City            State Zip
MILLER DAVID                  MILLER, DAVID                         1234 MARKET ST STE 2040                                       PHILADELPHIA     PA 19107‐3720
MILLER DAVID & KATIE ANN      3838 STATE ROUTE 193                                                                                DORSET           OH 44032‐9766
MILLER DAVID MD               241 PERKINS ST UNIT C601                                                                            JAMAICA PLAIN    MA 02130‐4011
MILLER DAVID W (162514)       SIEBEN POLK LAVERDIERE & DUSICH       999 WESTVIEW DR                                               HASTINGS         MN 55033‐2432
MILLER DC                     4446 MAIN ST STE 100                                                                                SNYDER           NY 14226‐4406
MILLER DENISE                 MILLER, DENISE                        2070 N TUSTIN AVE                                             SANTA ANA        CA 92705‐7827
MILLER DONALD                 MILLER, DONALD                        33159 FORD RD                                                 GARDEN CITY      MI 48135‐1153
MILLER DONALD                 MILLER, DONALD                        16236 HUFF ST                                                 LIVONIA          MI 48154
MILLER DONALD & PATTY         PO BOX 87                                                                                           ELDERTON         PA 15736‐0087
MILLER DONALD (470284)        LIPMAN DAVID M                        5901 SW 74TH ST STE 304                                       MIAMI            FL 33143‐5163
MILLER DONALD A SR (481899)   GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK          VA 23510
                                                                    STREET, SUITE 600
MILLER DONALD R (629584)      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                    STREET, SUITE 600
MILLER DOROTHY                MILLER, DOROTHY                       770 THE CITY DR S STE 3000                                    ORANGE          CA    92868‐4928
MILLER DOUGLAS                3667 COURTNEY LN                                                                                    BETHPAGE        NY    11714‐3321
MILLER DURRELL                35333 180TH AVE                                                                                     PLEASANT HILL   IL    62366
MILLER EARL                   1219 MCMILLAN ST E                                                                                  TALLADEGA       AL    35160‐3130
MILLER EAST OFFICE BUILDING   C/O COOPER COMMERCIAL                 G 3487 LINDEN RD                                              FLINT           MI    48501
MILLER EBONY                  MILLER, EBONY                         4477 STONE GATE DR APT 1202                                   MEMPHIS         TN    38128‐7028
MILLER EDWARD                 131 HORNELL STREET                                                                                  HORNELL         NY    14843‐1234
MILLER EDWARD                 MILLER, EDWARD                        32 E MONESSEN ST                                              MONONGAHELA     PA    15063‐3624
MILLER EDWARD L               2 NIXON PL                                                                                          LOCKPORT        NY    14094‐5720
MILLER EDWIN C                C/O GOLDBERG PERSKY & WHITE PC        1030 FIFTH AVENUE                                             PITTSBURGH      PA    15219
MILLER EDWIN C (512076)       GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                                  SAGINAW         MI    48604‐2602
                                                                    260
MILLER ELEANOR                3001 US HIGHWAY 117 NORTH                                                                           GOLDSBORO       NC 27530‐8835
MILLER ELEC/APPLETON          1635 W SPENCER ST                                                                                   APPLETON        WI 54914‐4911
MILLER ELECTRIC COMPANY       2251 ROSSELLE ST                                                                                    JACKSONVILLE    FL 32204‐3125
MILLER ELECTRIC COMPANY
MILLER ELECTRIC COMPANY       ROY WHITE                             2251 ROSSELLE ST                                              JACKSONVILLE    FL    32204‐3125
MILLER ELECTRIC MFG C0‐AMS    N 676 COMMUNICATION DR                                                                              APPLETON        WI    54914
MILLER ELECTRIC MFG CO        1635 W SPENCER ST                     PO BOX 1079                                                   APPLETON        WI    54914‐4911
MILLER ELES                   10542 TEXAS CT                                                                                      ORLAND PARK     IL    60467‐8952
MILLER ELIZABETH              MILLER, ELIZABETH
MILLER ELLIE                  MILLER, ELLIE                         1250 US HIGHWAY 59 N                                          TIMPSON         TX 75975‐5128
MILLER ELVIN                  MILLER, ELVIN                         117 WILMINGTON PIKE, SUITE 200                                GLEN MILLS      PA 19342

MILLER ELVIN                  MILLER, NANCY                         117 WILMINGTON PIKE, SUITE 200                                GLEN MILLS      PA 19342

MILLER EMILY                  30958 STONE RIDGE DR APT 13307                                                                      WIXOM           MI 48393‐3872
MILLER EMILY                  MILLER, EMILY                         1832 ELMSFORD LANE,                                           CHESTERFIELD    MO 63005
                                                                    CHESTERFIELD MO 63005
MILLER EMILY                  ATTN: CORPORATE OFFICER/AUTHORIZED    30958 STONE RIDGE DR APT 13307                                WIXOM           MI 48393‐3872
                              AGENT
MILLER ERIC C                 MILLER, ERIC C                        2501 PALMER HIGHWAY SUITE 112 P                               TEXAS CITY       TX   77592
                                                                    O BOX 3073
MILLER ERIC C                 MILLER, HEATHER A                     2501 PALMER HIGHWAY SUITE 112 P                               TEXAS CITY       TX   77592
                                                                    O BOX 3073
MILLER ERYN                   MILLER, ERYN                          120 CAPITOL STREET PO BOX 1                                   CHARLESTON      WV 25339
MILLER EUGENE C (629585)      GLASSER AND GLASSER                   CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                    STREET, SUITE 600
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Name                                   Address1                              Address2                         Address3   Address4         City            State Zip
MILLER EUNICE R                        C/O EDWARD O MOODY P A                801 WEST 4TH STREET                                          LITTLE ROCK      AR 72201
MILLER EVELYN                          284 MOUND ST                                                                                       CORRY            PA 16407‐1132
MILLER FAMILY BUSINESSES LLC           C/O MACLEAN & EMA                     2600 NE 14TH STREET CAUSEWAY                                 POMPANO BEACH    FL 33062
MILLER FLOYD                           710 S CROSSCREEK PL                                                                                CHANDLER         AZ 85225‐2013
MILLER FLUID POWER                     DIV PARKER HANNIFIN                   500 S WOLF RD                                                DES PLAINES       IL 60016‐3139
MILLER FLUID/BNSNVIL                   4400 HIGHLANDS PKWY SE STE B                                                                       SMYRNA           GA 30082‐5128
MILLER FRANCIS                         4910 GREENWOOD RD                                                                                  LOUISVILLE       KY 40258‐3636
MILLER FRANKLIN (ESTATE OF) (636178)   GOLDBERG PERSKY JENNINGS & WHITE P.C. 1030 FIFTH AVENUE, 3RD FLOOR                                 PITTSBURGH       PA 15219

MILLER FRANKLIN H SR (352836)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MILLER FRANKLIN W (488512)             BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH 44067
                                                                            PROFESSIONAL BLDG
MILLER FRED E (429466)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MILLER GARY                            MILLER, GARY                         30928 FORD RD                                                 GARDEN CITY     MI    48135‐1803
MILLER GARY                            PO BOX 441                                                                                         LOGAN           NM    88426‐0441
MILLER GARY                            MILLER, GARY                         41 CLEARCOVE DR                                               REEDS SPRING    MO    65737‐8910
MILLER GEORGE                          MILLER, GEORGE                       30 E BUTLER AVE                                               AMBLER          PA    19002‐4514
MILLER GEORGE W                        C/O GALSSER AND GLASSER              CROWN CENTER 580 EASTMAIN                                     NORFOLK         VA    23510
                                                                            STREET STE 600
MILLER GEREL                           1002 JOHNS POINT DRIVE                                                                             OAKLAND         FL 34787‐8951
MILLER GOERGE W (405940) ‐ MILLER      GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
GEORGE W                                                                    STREET, SUITE 600
MILLER GRIZZELL                        PO BOX 836                                                                                         ELLENWOOD       GA 30294‐0836
MILLER GROUP OF SAGINAW LLC            ATTN LARRY MILLER                    2825 BAY RD STE 100                                           SAGINAW         MI 48603‐3338
MILLER HAROLD (361432)                 GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MILLER HAROLD (446384)                 BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH 44067
                                                                            PROFESSIONAL BLDG
MILLER HAROLD E (439336)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MILLER HAROLD M (ESTATE OF) (637957)   BERGMAN & FROKT                      705 2ND AVE STE 1601                                          SEATTLE         WA 98104‐1711

MILLER HARRIS E (401948)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MILLER HEALTHMART PH                   2 E PEORIA ST                        P.O. BOX 391                                                  PAOLA           KS 66071‐1707
MILLER HEFELE PUMP SALES INC           155 WESTERLY HILLS DR                                                                              FOREST CITY     NC 28049‐9590
MILLER HENRY (ESTATE OF) (492632)      BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH 44067
                                                                            PROFESSIONAL BLDG
MILLER HENRY (ESTATE OF) (493057)      BEVAN & ASSOCIATES                   10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD      OH 44067
                                                                            PROFESSIONAL BLDG
MILLER HENRY D (459207)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MILLER HENRY E (462466)                PATTEN WORNOM & WATKINS              12350 JEFFERSON AVE STE 360                                   NEWPORT NEWS    VA 23602‐6956
MILLER HOGU                            UNDER THE BRIDGE                     1234567 RIVERSIDE
MILLER HOWARD A (ESTATE OF) (635928)   EARLY LUDWICK & SWEENEY L.L.C.       ONE CENTURY TOWER, 11TH FLOOR ,                               NEW HAVEN        CT   06510
                                                                            265 CHURCH STREET
MILLER HOWARD WADE (429467)            GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                   NORFOLK         VA 23510
                                                                            STREET, SUITE 600
MILLER I I I, DWIGHT C                 9715 W 49TH TER                                                                                    MERRIAM         KS 66203‐4807
MILLER I I I, EDGAR                    117 WINDSOR DR                                                                                     SAINT MARYS     OH 45885‐1234
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Name                                  Address1                         Address2                          Address3   Address4         City               State Zip
MILLER I I I, EDGAR                   117 WINDSOR DRIVE                                                                              SAINT MARYS         OH 45885‐5885
MILLER I I I, EDWARD M                53483 SCHOENHERR RD                                                                            SHELBY TWP          MI 48315‐1940
MILLER I I I, JAMES A                 1340 HUNT CREEK RD                                                                             LEWISTON            MI 49756‐9123
MILLER I I I, JAMES R                 1809 SHADY HILL LN                                                                             WAKE FOREST         NC 27587‐6294
MILLER I I I, JOHN W                  7101 WELTON DR NE                                                                              ALBUQUERQUE         NM 87109‐3988
MILLER I I I, ROBERT E                10016 BIDDULPH RD                                                                              BROOKLYN            OH 44144
MILLER I I I, ROBERT E                168 LOPERWOOD LN                                                                               LAGRANGE            OH 44050‐9756
MILLER I I I, ROBERT S                PO BOX 236                                                                                     CLIO                MI 48420‐0236
MILLER I I, DAVID G                   421 WANETA AVE                                                                                 DAYTON              OH 45404‐2366
MILLER I I, HUBERT W                  PO BOX 174                                                                                     BYRON               MI 48418‐0174
MILLER I I, J D                       1015 BENINFORD LN                                                                              WESTMONT             IL 60559‐8603
MILLER I I, RAYMOND M                 2381 ALTA WEST RD                                                                              MANSFIELD           OH 44903‐8230
MILLER I I, REO D                     7590 ANDERSON HWY                                                                              VERMONTVILLE        MI 49096‐9545
MILLER I I, WILLIAM R                 15648 ROAD 1037                                                                                OAKWOOD             OH 45873‐9067
MILLER II, ALBERT                     256 VALLEY RD                                                                                  LAWRENCEVILLE       GA 30044‐4164
MILLER II, GREGORY K                  15805 GODDARD RD APT 105                                                                       SOUTHGATE           MI 48195‐4558
MILLER II, HUBERT W                   PO BOX 174                                                                                     BYRON               MI 48418‐0174
MILLER II, RAYMOND M                  2381 ALTA WEST RD                                                                              MANSFIELD           OH 44903‐8230
MILLER II, ROGER D                    214 PIKE ST                                                                                    SIDNEY              OH 45365‐1350
MILLER II, WILLIAM D                  1723 HOCKER DR                                                                                 NEW CARLISLE        OH 45344‐2545
MILLER II, WILLIAM E                  14008 MANSFIELD ST                                                                             DETROIT             MI 48227‐4903
MILLER II, WILLIAM P                  1023 WILDWOOD DR                                                                               WOOSTER             OH 44691‐5721
MILLER III, JOHN P                    4154 CRYSTAL CRK                                                                               LAPEER              MI 48446‐8674
MILLER III, ROBERT E                  168 LOPERWOOD LN                                                                               LAGRANGE            OH 44050‐9756
MILLER III, ROBERT S                  PO BOX 236                                                                                     CLIO                MI 48420‐0236
MILLER III, WILLIAM F                 18861 BEDFORD ST                                                                               BEVERLY HILLS       MI 48025‐3033
MILLER IND/JACKSON                    801 WATER ST                                                                                   JACKSON             MI 49203‐1963
MILLER INDUSTRIAL PRODUCTS            801 WATER ST                                                                                   JACKSON             MI 49203‐1963
MILLER INDUSTRIAL PRODUCTS            BILL MILLER                      801 WATER                                                     JASPER              IN 47549‐0001
MILLER INDUSTRIAL PRODUCTS INC        KIM CORNISH                      801 WATER STREET                                              JACKSON             MI 49203
MILLER INDUSTRIAL PRODUCTS INC        BILL MILLER                      801 WATER                                                     JASPER              IN 47549‐0001
MILLER INDUSTRIES TOWING EQUIPMENT,   8503 HILLTOP DR                                                                                OOLTEWAH            TN 37363‐6841
INC.
MILLER INDUSTRIES TOWING EQUIPMENT,   8053 HILLTOP DRIVE                                                                             OOLTEWAH           TN 37363
INC.
MILLER IP GROUP PLC                   42690 WOODWARD AVE STE 200                                                                     BLOOMFIELD HILLS   MI 48304‐5067
MILLER IRVIN (ESTATE OF) (639091)     GOLDENBERG, MILLER, HELLER &     PO BOX 959                                                    EDWARDSVILLE       IL 62025‐0959
                                      ANTOGNOLI
MILLER JACK                           6216 IMPERIAL KY                                                                               TAMPA              FL 33615‐3512
MILLER JACK W (355551)                GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MILLER JAMES                          4523 COUNTRY CLUB DR N                                                                         WILSON             NC   27896‐9113
MILLER JAMES                          33 WILDWOOD DR                                                                                 CABOT              AR   72023‐9327
MILLER JAMES & LINDA                  11897 SILICA RD                                                                                NORTH JACKSON      OH   44451‐9673
MILLER JAMES A (629586)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA   23510
                                                                       STREET, SUITE 600
MILLER JAMES H (626661)               GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                       STREET, SUITE 600
MILLER JAMES L (657761)               WISE & JULIAN                    156 N MAIN STREET STOP 1                                      EDWARDSVILLE       IL   62025‐1972
MILLER JAMES M                        MILLER, JAMES M                  1434 7TH ST                                                   NEW ORLEANS        LA   70115
MILLER JAMES T (661259)               ZAMLER, MELLEN & SHIFFMAN        23077 GREENFIELD RD STE 557                                   SOUTHFIELD         MI   48075‐3727
MILLER JAN B                          MILLER, JAN B                    30 EAST BUTLER PIKE , SUITE 310                               AMBLER             PA   19002
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Name                                    Address1                             Address2                           Address3                     Address4             City               State Zip
MILLER JANET                            1107 STATE ROAD 114 E                                                                                                     NORTH MANCHESTER    IN 46962‐9392
MILLER JANICE                           49 WESTERN PROMENADE                                                                                                      CRANSTON             RI 02905‐1214
MILLER JANICE                           145 LAUREL GROVE RD                                                                                                       BRUNSWICK           GA 31523‐7025
MILLER JEFF                             9106 N RAVEN DR                                                                                                           MILTON              WI 53563‐9654
MILLER JEFFREY J (459208)               GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                          NORFOLK             VA 23510
                                                                             STREET, SUITE 600
MILLER JEREMY                           26 QUAIL RUN DR                                                                                                           JAMESBURG           NJ 08831
MILLER JERI M                           ATTN: CORPORATE OFFICER/AUTHORIZED   901 MARYLAND AVE                                                                     LANSING             MI 48906‐5451
                                        AGENT
MILLER JOAN L                           3828 OTTER LAKE RD                                                                                                        OTTER LAKE         MI 48464‐9709
MILLER JOHN                             65 W ATHENS AVE                                                                                                           CLOVIS             CA 93611‐3512
MILLER JOHN ELECTRIC & TECHNOLOGIES     1743 MAPLELAWN DR                                                                                                         TROY               MI 48084‐4603

MILLER JOHN O (446393)                  CLIMACO LEFKOWITZ PECA WILCOX &      1228 EUCLID AVE , HALLE BLDG 9TH                                                     CLEVELAND          OH 44115
                                        GAROFOLI                             FL
MILLER JOHNSON                          ATTY FOR BENTELER AUTOMOTIVE         ATT: ROBERT D. WOLFORD, ESQ.       250 MONROE AVENUE, SUITE     PO BOX 306           GRAND RAPIDS        MI 49501‐0306
                                        CORPORATION                                                             800
MILLER JOHNSON                          ATTY FOR TRAN TEK AUTOMATION CORP.   ATTN: THOMAS P. SARB, ESQ.         250 MONROE AVENEU, N.W.,     PO BOX 306           GRAND RAPIDS        MI 49501‐0306
                                                                                                                SUITE 800
MILLER JOHNSON                          ATTY FOR BURKE E. PORTER COMPANY     ATTN: THOMAS P. SARB, ESQ.         250 MONROE AVENUE, N.W.,     PO BOX 306           GRAND RAPIDS        MI 49501‐0306
                                                                                                                SUITE 800
MILLER JOHNSON                          ATTY FOR PRIDGEON & CLAY, INC.       ATTN: THOMAS P. SARB, ESQ.         250 MONROE AVENUE, N.W.,     PO BOX 306           GRAND RAPIDS        MI 49501‐0306
                                                                                                                SUITE 800
MILLER JOHNSON                          ATTY FOR BENTELER AUTOMOTIVE         ATT THOMAS P. SARB, ESQ            250 MONROE AVE., STE 800                          GRAND RAPIDS        MI 49501‐0306
                                        CORPORATION
MILLER JOHNSON                          ATTY FOR MICO INDUSTRIES, INC.       ATTN: ROBERT D. WOLFORD, ESQ.      250 MONROE AVENUE, N.W.,     P.O. BOX 306         GRAND RAPIDS        MI 49501‐0306
                                                                                                                SUITE 800
MILLER JOHNSON                          ATTY FOR TRANS‐MATIC                 ATTN: ROBERT D. WOLFORD, ESQ.      250 MONROE AVENUE, N.W.,     P.O. BOX 306         GRAND RAPIDS        MI 49501‐0306
                                                                                                                SUITE 800
MILLER JOHNSON                          ATTY FOR MARIAH INDUSTRIES, INC.     ATTN: ROBERT D. WOLFORD, ESQ.      250 MONROE AVENUE, N.W.,     P.O. BOX 306         GRAND RAPIDS        MI 49501‐0306
                                                                                                                SUITE 800
MILLER JOHNSON SNELL &                  CUMMISKEY                            250 MONROE AVE NW STE 800          250 MONROE AVE NW                                 GRAND RAPIDS       MI   49503‐2283
MILLER JONATHAN                         2323 REACH RD                                                                                                             WILLIAMSPORT       PA   17701‐5579
MILLER JONE MALCOLM                     2520 CORAL WAY STE 2‐134                                                                                                  CORAL GABLES       FL   33145
MILLER JONES JR                         6106 SHERINGHAM PL                                                                                                        FLORISSANT         MO   63033‐7840
MILLER JOSEPH C (401390)                ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                           BALTIMORE          MD   21202
                                                                             CHARLES CENTER 22ND FLOOR
MILLER JOSEPH O (481900)                GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                          NORFOLK            VA 23510
                                                                             STREET, SUITE 600
MILLER JOSEPH W                         GLASSER AND GLASSER                  CROWN CENTER                       580 EAST MAIN STREET SUITE                        NORFOLK            VA 23510
                                                                                                                600
MILLER JR CHARLES D (635407) ‐ MILLER   ANGELOS PETER G LAW OFFICE           1300 N MARKET ST STE 212                                                             WILMINGTON          DE 19801‐1813
CHARLES D
MILLER JR DALE F                        4333 LIVE OAK BLVD                                                                                                        FORT WAYNE         IN   46804‐4036
MILLER JR, ALBERT                       3578 30TH AVENUE CT NE                                                                                                    HICKORY            NC   28601
MILLER JR, ALFRED A                     2120 W QUAY RD                                                                                                            ST AUGUSTINE       FL   32092‐1094
MILLER JR, ARTHUR J                     14064 TAFT RD                                                                                                             SPRING LAKE        MI   49456‐9521
MILLER JR, ARTHUR L                     8807 N 1000 E                                                                                                             WILKINSON          IN   46186‐9785
MILLER JR, BERNELL                      120 NW 28TH ST                                                                                                            OKLAHOMA CITY      OK   73103
MILLER JR, BRADLEY R                    2173 S CENTER ROAD                   APT 145                                                                              BURTON             MI   48519‐1810
MILLER JR, CHARLES                      1709 CORRIEBALE CT                                                                                                        DEFIANCE           OH   43512
MILLER JR, CHARLES                      9870 MARSHALL RD                                                                                                          BIRCH RUN          MI   48415‐8763
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Name                       Address1                       Address2            Address3         Address4         City           State Zip
MILLER JR, CHARLES B       1790 MINA RD                                                                         HARRISON        MI 48625‐8516
MILLER JR, CHARLES H       68760 RHINEHART RD                                                                   QUAKER CITY     OH 43773‐9523
MILLER JR, CHARLES R       507 WEXFORD LANE                                                                     FOREST HILL     MD 21050‐7100
MILLER JR, CHARLES T       4915 CLARKSTON RD                                                                    CLARKSTON       MI 48348‐3800
MILLER JR, CHARLES T       8767 BRIDGE LAKE RD                                                                  CLARKSTON       MI 48348
MILLER JR, CHARLES W       403 W 13TH ST                                                                        GEORGETOWN       IL 61846‐1022
MILLER JR, CLARENCE M      269 MAQUE                                                                            DETROIT         MI 48202
MILLER JR, CLARK A         313 W STATE ST                                                                       ALBION          NY 14411‐1352
MILLER JR, CLAYTON E       1120 LAPORT AVENUE                                                                   MOUNT MORRIS    MI 48458‐2576
MILLER JR, CLEO J          3240 N PARK AVE                                                                      INDIANAPOLIS    IN 46205‐3836
MILLER JR, CLIFFORD A      2627 VORTEX DR                                                                       SAINT LOUIS     MO 63129‐3117
MILLER JR, COLBERT S       7008 SHAFFER RD NW                                                                   WARREN          OH 44481‐9408
MILLER JR, CONRAD H        1003 BARTON ST                                                                       OTSEGO          MI 49078‐1576
MILLER JR, DALE            4054 HERNER COUNTY LINE RD                                                           SOUTHINGTON     OH 44470‐9551
MILLER JR, DALE F          4333 LIVE OAK BLVD                                                                   FORT WAYNE      IN 46804‐4036
MILLER JR, DAVID           2820 KENNELY RD                                                                      SAGINAW         MI 48609‐9642
MILLER JR, DON C           PO BOX 146                                                                           GAINES          MI 48436‐0146
MILLER JR, DONALD H        12 OTIS ST                                                                           FRAMINGHAM      MA 01702‐6317
MILLER JR, DONALD R        2060 WINTHROP DR                                                                     SWARTZ CREEK    MI 48473‐9721
MILLER JR, DONALD ROBERT   2060 WINTHROP DR                                                                     SWARTZ CREEK    MI 48473‐9721
MILLER JR, DORAL W         16487 COUNTY ROAD 153                                                                DEFIANCE        OH 43512‐9350
MILLER JR, EARL F          2940 TANGLEWOOD DR                                                                   WAYNE           MI 48184‐2815
MILLER JR, EDWARD          508 LINDA VISTA DR                                                                   PONTIAC         MI 48342‐1747
MILLER JR, EDWARD D        16200 DIXIE HWY                                                                      DAVISBURG       MI 48350‐1059
MILLER JR, ELVAN E         13620 FRUIT RIDGE RD                                                                 DEFIANCE        OH 43512‐6987
MILLER JR, EUGENE P        PO BOX 69                                                                            BUTLER          MO 64730‐0069
MILLER JR, FELIX           2025 WHITTLESEY ST                                                                   FLINT           MI 48503‐4348
MILLER JR, FRANK           1215 W HOME AVE                                                                      FLINT           MI 48505‐2553
MILLER JR, FRANK           9545 WOODSIDE DR                                                                     CLARKSTON       MI 48348‐3167
MILLER JR, FRANK           52 ENTERPRISE ST                                                                     ROCHESTER       NY 14619‐2052
MILLER JR, FRANK J         5050 SOM CENTER RD APT 106‐2                                                         WILLOUGHBY      OH 44094‐6630
MILLER JR, FRANK J         6975 STEWART SHARON RD APT 2                                                         HUBBARD         OH 44425‐3015
MILLER JR, FRED            7120 FLORENCE PL                                                                     SAINT LOUIS     MO 63136‐1035
MILLER JR, FREDDIE         8073 TYLERSVILLE ROAD                                                                WEST CHESTER    OH 45069
MILLER JR, GEORGE A        306 3RD AVE                                                                          TAWAS CITY      MI 48763‐9202
MILLER JR, GEORGE D        1643 CASS LAKE RD UNIT D                                                             KEEGO HARBOR    MI 48320‐1089
MILLER JR, GEORGE J        3078 S WHITNEY BEACH RD                                                              BEAVERTON       MI 48612‐9452
MILLER JR, GEORGE W        29347 HOUSER DR                                                                      ROCKY MOUNT     MO 65072‐2505
MILLER JR, GERALD E        7581 N MECHANICSBURG RD                                                              MIDDLETOWN      IN 47356‐9721
MILLER JR, GERALD W        3040 S CENTERVILLE RD                                                                CENTERVILLE     IN 47330‐9781
MILLER JR, GRANT E         W102 A‐1 RD                                                                          BARK RIVER      MI 49807
MILLER JR, HAL J           119 CORTEZ DR APT G12                                                                ISLAMORADA      FL 33036‐3928
MILLER JR, HAROLD R        484 WITMER RD                                                                        N TONAWANDA     NY 14120‐1641
MILLER JR, HAVEN           12600 BLUE QUAIL DR                                                                  JONES           OK 73049‐3451
MILLER JR, HIRAM H         W17365 MAIN ST                                                                       CURTIS          MI 49820‐9641
MILLER JR, HOWARD          5720 LEAR NAGLE RD                                                                   N RIDGEVILLE    OH 44039‐2122
MILLER JR, HOWARD E        804 WARD LN                                                                          ATHENS          TX 75751‐2917
MILLER JR, IRA REED        PO BOX 128                                                                           MIDDLE POINT    OH 45863‐0128
MILLER JR, JACK E          13258 W PRICE RD #2                                                                  WESTPHALIA      MI 48894
MILLER JR, JACK K          8683 BOARDTOWN RD                                                                    ELLIJAY         GA 30540‐0527
MILLER JR, JACK L          6801 E 69TH ST                                                                       KANSAS CITY     MO 64133‐5512
MILLER JR, JAMES D         408 N STATE ST                                                                       WESTVILLE        IL 61883‐1428
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Name                        Address1                          Address2         Address3         Address4         City               State Zip
MILLER JR, JAMES E          305 HAMPTON RIDGE DR                                                                 WENTZVILLE          MO 63385‐5336
MILLER JR, JAMES E          10421 MONARCH DR                                                                     LARGO               FL 33774‐5014
MILLER JR, JAMES E          8201 MIDDLE ST                                                                       WAYNESVILLE         OH 45068‐9725
MILLER JR, JAMES E          2275 DODGE RD                                                                        EAST AMHERST        NY 14051‐1323
MILLER JR, JAMES G          3602 BALDOCCHI DRIVE                                                                 BLOOMINGTON          IL 61704‐8598
MILLER JR, JAMES L          10175 CAROL LN                                                                       DIMONDALE           MI 48821‐9515
MILLER JR, JAMES L          11527 WILLIAM ST                                                                     TAYLOR              MI 48180‐4282
MILLER JR, JEFF T           11629 ASPEN CREEK DR                                                                 KELLER              TX 76248‐7776
MILLER JR, JESSE F          14116 RUTLAND ST                                                                     DETROIT             MI 48227‐1316
MILLER JR, JOHN A           67 BEACHFRONT CT                                                                     HOLLAND             OH 43528‐7850
MILLER JR, JOHN ALBERT      67 BEACHFRONT CT                                                                     HOLLAND             OH 43528‐7850
MILLER JR, JOHN D           19 LEHIGH RD                      COOPER FARM                                        WILMINGTON          DE 19808‐3105
MILLER JR, JOHN E           8351 DUFFIELD RD                                                                     GAINES              MI 48436‐9794
MILLER JR, JOHN F           7546 CLOVERMEADE AVE                                                                 POLAND              OH 44514‐2611
MILLER JR, JOHN M           64 HAINES ST                                                                         LOCKPORT            NY 14094‐5107
MILLER JR, JOHN P           9531 MERRIMOOR BLVD                                                                  LARGO               FL 33777‐3007
MILLER JR, JOHN S           2436 W 59TH PL                                                                       MERRILLVILLE        IN 46410‐2136
MILLER JR, JOHNNIE          6901 GLENWOOD AVE                                                                    EAST SAINT LOUIS     IL 62203‐2348
MILLER JR, JOHNNIE          8405 S CRANDON AVE APT 1                                                             CHICAGO              IL 60617
MILLER JR, JOHNNIE C        433 CHERRY DR                                                                        TROY                MI 48083‐1612
MILLER JR, JOSEPH C         12 CONGRESSIONAL CT                                                                  MIDDLE RIVER        MD 21220‐1244
MILLER JR, JOSEPH M         9516 W COTTONWOOD DR                                                                 SUN CITY            AZ 85373‐2128
MILLER JR, JOSEPH R         4000 HILLSDALE DR                                                                    AUBURN HILLS        MI 48326‐4305
MILLER JR, JULIAN B         10443 CLAIBORNE CROSSING RD                                                          FREDERICKSBRG       VA 22408‐9335
MILLER JR, LAWRENCE E       124 PHEASANT LN                                                                      GRAND BLANC         MI 48439‐8188
MILLER JR, LAWRENCE W       632 BRIDGEMAN LN                                                                     ROMEOVILLE           IL 60446‐5195
MILLER JR, LEONARD B        3153 S DARTMOUTH ST                                                                  DETROIT             MI 48217‐1020
MILLER JR, LOUIS            11653 COUNTY ROAD 3100                                                               WINONA              TX 75792‐6723
MILLER JR, LOUIS J          471 E PARK AVE                                                                       KANSAS CITY         MO 64119‐3370
MILLER JR, MACK R           14 SUNSET POINTE CT                                                                  WENTZVILLE          MO 63385‐3691
MILLER JR, MARK F           10134 FIELDWAY TRL                                                                   HOLLY               MI 48442‐9358
MILLER JR, MAX E            6299 QUAIL ST                                                                        HASLETT             MI 48840‐8934
MILLER JR, OLEN E           10721 MORTON RD                                                                      MANISTEE            MI 49660‐9537
MILLER JR, OLEN E           3040 WATERCHASE WAY SW APT 106                                                       WYOMING             MI 49519‐5910
MILLER JR, ORIAN C          PO BOX 902                                                                           SYLVANIA            OH 43560
MILLER JR, PAUL A           103 OSAGE LN                                                                         LOUDON              TN 37774‐3240
MILLER JR, PERCY            104 OLIVER ST                                                                        PONTIAC             MI 48342‐1547
MILLER JR, PHILLIP RENAUD   7859 SAINT GREGORY DRIVE                                                             DUNDALK             MD 21222‐3534
MILLER JR, QUENTIN K        PO BOX 310081                                                                        FLINT               MI 48531‐0081
MILLER JR, R GILBERT        5285 MURLAND HOLW                                                                    WHITE LAKE          MI 48383‐1343
MILLER JR, RALPH D          PO BOX 48                                                                            HOLT                MI 48842‐0048
MILLER JR, RALPH D          53 DEER MEADOWS LN                                                                   REXFORD             MT 59930‐9401
MILLER JR, RANSELL O        5811 MAYBURN BARCLAY RD                                                              FARMDALE            OH 44417‐9744
MILLER JR, RAYMOND C        6530 CAPE HATTERAS WAY NE APT 1                                                      ST PETERSBURG       FL 33702‐7056
MILLER JR, RAYMOND W        37092 DICKINSON CT                                                                   FARMINGTON HILLS    MI 48335‐4818
MILLER JR, RICHARD L        4900 RIDGEWOOD RD W                                                                  SPRINGFIELD         OH 45503‐5863
MILLER JR, ROBERT A         2567 BUCKHEAD DR                                                                     BRIGHTON            MI 48114‐7536
MILLER JR, ROBERT C         6267 CRESCENT WAY DR                                                                 TROY                MI 48085‐1403
MILLER JR, ROBERT E         5530 DREXEL ST                                                                       DETROIT             MI 48213‐3749
MILLER JR, ROBERT J         817 BRIAR PATCH LN                                                                   GREENWOOD           IN 46142‐3706
MILLER JR, ROBERT L         3632 WOODCLIFF DR                                                                    INDIANAPOLIS        IN 46203‐4758
MILLER JR, ROBERT W         PO BOX 161                                                                           CURTIS              MI 49820‐0161
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Name                              Address1                           Address2                         Address3                    Address4         City              State Zip
MILLER JR, ROBERT W               10 JUNO DR                                                                                                       WENTZVILLE         MO 63385‐1924
MILLER JR, ROME                   189 LEISURE DR                                                                                                   MONROE             LA 71203‐2807
MILLER JR, RONALD M               790 NASSAU ST                                                                                                    NORTH BRUNSWICK    NJ 08902‐2948
MILLER JR, ROSCOE                 1111 TENNYSON AVE                                                                                                DAYTON             OH 45406‐4345
MILLER JR, RUBEN H                20220 BURGESS                                                                                                    DETROIT            MI 48219‐1365
MILLER JR, RUSSELL H              5314 CINCINNATI ZANESVILLE RD NE                                                                                 LANCASTER          OH 43130‐9386
MILLER JR, SCOTT W                1847 RUSSELL AVE                                                                                                 SPRINGFIELD        OH 45506‐2948
MILLER JR, WARREN                 2148 DANA ST                                                                                                     TOLEDO             OH 43609‐1850
MILLER JR, WILLIAM E              7263 RIVERSIDE DR                                                                                                MANISTEE           MI 49660‐9305
MILLER JR, WILLIAM H              15861 HARTWELL ST                                                                                                DETROIT            MI 48227‐3332
MILLER JR, WILLIAM J              14379 SEYMOUR RD                                                                                                 MONTROSE           MI 48457‐9074
MILLER JR, WILLIAM J              10308 BELL MOUNTAIN CT                                                                                           LAS VEGAS          NV 89129‐8127
MILLER JR, WILLIAM J              58 OCEAN BLVD                                                                                                    KEYPORT            NJ 07735‐6028
MILLER JR, WILLIAM K              4635 BLOOD RD                                                                                                    METAMORA           MI 48455‐9776
MILLER JR, WILLIAM R              93 BROOKS AVE                                                                                                    ROCHESTER          NY 14619‐2453
MILLER JR, WILLIE J               2317 ROOKERY WAY                                                                                                 VIRGINIA BCH       VA 23455‐1557
MILLER JR, WINFIELD E             482 SYCAMORE WOODS DRIVE                                                                                         MIAMISBURG         OH 45342‐5745
MILLER JR., ALBERT                217 MUMFORD DR                                                                                                   YOUNGSTOWN         OH 44505‐4831
MILLER JR., JAMES E               655 THOMAS JEFFERSON WAY                                                                                         ORLANDO            FL 32809‐6570
MILLER JR., JAMES E               407 DECLARATION DR                                                                                               ORLANDO            FL 32809‐7201
MILLER JUSTINE E (498292)         GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK            VA 23510
                                                                     STREET, SUITE 600
MILLER KAREN E & DOBBS MICHAEL    MILLER, KAREN E                    100 CENTURY PKWY STE 305                                                      MOUNT LAUREL       NJ   08054‐1182
MILLER KAREN E & DOBBS MICHAEL    DOBBS, MICHAEL                     GORBERG & ASSOCIATES DAVID J     100 CENTURY PARKWAY SUITE                    MOUNT LAUREL       NJ   08054
                                                                                                      305
MILLER KATHLEEN                   1670 16 MILE RD NE                                                                                               CEDAR SPRINGS     MI    49319‐8406
MILLER KATHY                      105 GROVE HALL CT                                                                                                CARY              NC    27513‐5613
MILLER KEITH                      MILLER, KEITH                      30 E BUTLER AVE                                                               AMBLER            PA    19002‐4514
MILLER KEITH (492077)             BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD        OH    44067
                                                                     PROFESSIONAL BLDG
MILLER KENNETH                    MILLER, KENNETH                    5055 WILSHIRE BLVD STE 300                                                    LOS ANGELES       CA    90036‐6101
MILLER KENNETH                    MILLER, LINDA                      5055 WILSHIRE BLVD STE 300                                                    LOS ANGELES       CA    90036‐6101
MILLER KENNETH & SALLY            715 WEST BEECH STREET                                                                                            JEFFERSON         OH    44047‐1051
MILLER KENT                       MILLER, KENT                       4657 HIGH POINT DR APT 33                                                     ROCKFORD          IL    61114‐4842
MILLER KEVIN                      MILLER, KEVIN                      30 E BUTLER AVE                                                               AMBLER            PA    19002‐4514
MILLER KIM (ESTATE OF) (492633)   BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD        OH    44067
                                                                     PROFESSIONAL BLDG
MILLER KINCAID, LAUREN E          2501 GLENCLIFF DR                                                                                                PLANO             TX    75075‐7420
MILLER KRYSTAL                    MILLER, JONATHAN                   KIMMEL & SILVERMAN               30 EAST BUTLER PIKE                          AMBLER            PA    19002
MILLER KRYSTAL                    MILLER, KRYSTAL                    30 E BUTLER AVE                                                               AMBLER            PA    19002‐4514
MILLER LANDSC/ROCH H              2575 W AUBURN RD                                                                                                 ROCHESTER HILLS   MI    48309‐4000
MILLER LARRY                      1569 BOULDER LAKE DR                                                                                             MILFORD           MI    48380‐3243
MILLER LAURENCE                   12284 N JENNINGS RD                                                                                              CLIO              MI    48420‐8218
MILLER LAWRENCE E (636585)        GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA    23510
                                                                     STREET, SUITE 600
MILLER LAWRENCE LEROY (476471)    BARON & BUDD                       3102 OAK LANE AVE , SUITE 1100                                                DALLAS            TX 75219
MILLER LEON S (439337)            GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA 23510
                                                                     STREET, SUITE 600
MILLER LEONARD JAMES (429468)     GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                                   NORFOLK           VA 23510
                                                                     STREET, SUITE 600
MILLER LILA                       12200 DODGE RD                                                                                                   OTISVILLE         MI 48463‐9774
MILLER LINDA                      5223 RAINIER ST                                                                                                  PASADENA          TX 77504
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MILLER LINDA                   19 BENEDEK RD RD                                                                                  PRINCETON        NJ 08540
MILLER LISA                    607 ADMIRAL DR UNIT 102                                                                           ANNAPOLIS        MD 21401‐8701
MILLER LOREN L (352770)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK          VA 23510
                                                                 STREET, SUITE 600
MILLER LYNN                    MILLER, LYNN                      5541 DYER ST.                                                   MALVERN         AR    72104
MILLER MARGARET                13888 BELLBROOK DR                                                                                BROOK PARK      OH    44142‐2621
MILLER MARILYN K               2164 BERTHA ST                                                                                    HOLT            MI    48842‐1416
MILLER MARK                    199 OAKRIDGE WAY                                                                                  BOWLING GREEN   KY    42103‐7079
MILLER MARTIN                  400 48TH AVE                                                                                      BELLWOOD        IL    60104‐1726
MILLER MARTIN                  MILLER, MARTIN                    300 MILLER BUILDING                                             ROCHESTER       MI    48307
MILLER MARTIN (472395)         WEITZ & LUXENBERG                 180 MAIDEN LANE                                                 NEW YORK        NY    10038
MILLER MARVIN B SR (429469)    GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA    23510
                                                                 STREET, SUITE 600
MILLER MARY                    57 SIMEON DR                                                                                      HEDGESVILLE     WV 25427‐7048
MILLER MARY LEE (488513)       BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                   NORTHFIELD      OH 44067
                                                                 PROFESSIONAL BLDG
MILLER MATTHEW                 121 ROSEWOOD DR                                                                                   MANKATO         MN    56001‐5149
MILLER MATTHEW                 MILLER, MATTHEW                   PROGRESSIVE                     PO BOX 89440                    CLEVELAND       OH    44101
MILLER MAYER LLP               202 E STATE ST STE 7                                                                              ITHACA          NY    14850‐5578
MILLER MD                      1275 DELAWARE AVE STE B12                                                                         BUFFALO         NY    14209‐2409
MILLER MEAGAN                  7015 CAYMAN CT                                                                                    WILMINGTON      NC    28405‐8371
MILLER MEARL M (472119)        GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA    23510
                                                                 STREET, SUITE 600
MILLER MECHANICAL              1032 SE WOODWARD ST                                                                               PORTLAND        OR 97202‐2539
MILLER MELVIN E (411044)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510
                                                                 STREET, SUITE 600
MILLER MENDENHALL JR           2506 W WASHTENAW ST                                                                               LANSING         MI    48917‐3864
MILLER MET/GR RAPID            980 N MICHIGAN AVE                STE 1900                                                        CHICAGO         IL    60611‐7505
MILLER MICHAEL                 4329 OLD US 23                                                                                    FENTON          MI    48430‐9371
MILLER MICHAEL                 ROCKEFELLER BLDG                  614 W SUPERIOR AVE STE 1425                                     CLEVELAND       OH    44113‐1349
MILLER MICHAEL                 MILLER, MICHAEL                   3 SUMMIT PARK DR STE 100                                        INDEPENDENCE    OH    44131‐2598
MILLER MICHAEL A               6509 JACKMAN RD                                                                                   TEMPERANCE      MI    48182‐1046
MILLER MICHAEL LEE (487273)    ASHCRAFT & GEREL                  10 E BALTIMORE ST STE 1212                                      BALTIMORE       MD    21202‐1624
MILLER MICHAEL W               4191 HIALEAH DR                                                                                   PARMA           OH    44134‐6205
MILLER MINA                    435 S 1200 RD                                                                                     DWIGHT          KS    66849‐9531
MILLER MOTORS                  PO BOX 19504                                                                                      BALTIMORE       MD    21206‐0504
MILLER MURLAN                  908 WILHELM ST                                                                                    DEFIANCE        OH    43512‐2949
MILLER NANCY                   30 LAS CASCADAS RD                                                                                ORINDA          CA    94563‐2402
MILLER NATHAN L (429470)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA    23510
                                                                 STREET, SUITE 600
MILLER NAYLOR                  1007 COLEMAN ST                                                                                   RIPLEY          MS 38663‐1346
MILLER NORMAN D (626662)       GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                     NORFOLK         VA 23510
                                                                 STREET, SUITE 600
MILLER OLDS‐CADILLAC, INC.     20303 CHARLANNE DRIVE                                                                             REDDING         CA 96002‐9209
MILLER ORAL WILLIAM (660519)   HUMPHREYS JAMES F                 BANK ONE PLAZA STE 1113 , 707                                   CHARLESTON      WV 25301
                                                                 VIRGINIA ST E
MILLER OSWALD (476911)         ANANIA, BANDKLAYER, BLACKWELL,    100 SE 2ND ST STE 4300                                          MIAMI            FL   33131‐2126
                               BAUMGARTEN, TONICELLA & STERN
MILLER PAMELA                  191 BISHOP DR                                                                                     ASTON           PA    19014‐1314
MILLER PARKING CO              400 RENAISSANCE CTR STE 908                                                                       DETROIT         MI    48243‐1606
MILLER PATRICIA                MILLER, PATRICIA                  240 DOCTOR WILLIAMS ROAD                                        KENANSVILLE     NC    28349‐8832
MILLER PAUL & MARGARET         10207 GLADSTONE RD                                                                                NORTH JACKSON   OH    44451‐9609
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Name                                  Address1                           Address2                          Address3   Address4         City               State Zip
MILLER PAUL (446397)                  BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD          OH 44067
                                                                         PROFESSIONAL BLDG
MILLER PAUL (446398)                  BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH 44067
                                                                         PROFESSIONAL BLDG
MILLER PEGGY                          MILLER, PEGGY                      30 E BUTLER AVE                                               AMBLER             PA 19002‐4514
MILLER PETER                          3636 STAGECOACH TRL N                                                                            OAK PARK HEIGHTS   MN 55082‐1402
MILLER PEWSEY ANDREA                  MILLER PEWSEY, ANDREA              16496 BERNARDO CENTER DRIVE                                   SAN DIEGO          CA 92128
                                                                         SUITE 101
MILLER PHIL                           MILLER, PHIL                       120 WEST MADISON STREET 10TH                                  CHICAGO             IL   60602
                                                                         FLOOR
MILLER PHILLIP R JR ESTATE OF         C/O MELISSA V BRINKLEY             7859 SAINT GREGORY DR                                         DUNDALK            MD    21222‐3534
MILLER PIPELINE CORPORATION           PAT CONLEY                         8850 CRAWFORDSVILLE RD                                        INDIANAPOLIS       IN    46234‐1559
MILLER PONTIAC‐BUICK‐GMC, INC.        2900 2ND ST S                                                                                    SAINT CLOUD        MN    56301‐3809
MILLER PONTIAC‐BUICK‐GMC, INC.        THOMAS MILLER                      2900 2ND ST S                                                 SAINT CLOUD        MN    56301‐3809
MILLER PRODUCTS INC                   450 COURTNEY RD                    P.O.BOX 70                                                    SEBRING            OH    44672‐1339
MILLER PRODUCTS INC                   980 N MICHIGAN AVE                 STE 1900                                                      CHICAGO            IL    60611‐7505
MILLER PROTECTION SVC INC             ATTN: ROBERT MILLER                313 E BALTIMORE ST                                            DETROIT            MI    48202‐3203
MILLER QUEEN JR.                      2011 E MONROE PIKE                                                                               MARION             IN    46953‐2613
MILLER R REED                         4349 GERMANTOWN PIKE                                                                             DAYTON             OH    45418‐2121
MILLER RADIATOR                       711 SW 6TH AVE                                                                                   AMARILLO           TX    79101‐2103
MILLER RALPH C                        C/O SZAFERMAN LAKIND BLUMSTEIN     101 GROVERS MILL ROAD SUITE 104                               LAWRENCEVILLE      NJ    08648
                                      WATER BLADER LEHMANN & GOLDSHORE
                                      912536
MILLER RALPH C (662598)               (NO OPPOSING COUNSEL)
MILLER RALPH E (429471)               GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                         STREET, SUITE 600
MILLER REED                           4349 GERMANTOWN PIKE                                                                             DAYTON             OH    45418‐2121
MILLER RENEE                          45693 RADNOR RD                                                                                  CANTON             MI    48187‐5495
MILLER RES/LITTLEROC                  10 CORPORATE HILL DR STE 100                                                                     LITTLE ROCK        AR    72205‐4502
MILLER REX L (ESTATE OF) (627045)     PAUL REICH & MYERS P.C.            1608 WALNUT ST STE 500                                        PHILADELPHIA       PA    19103‐5446
MILLER RICHARD                        MILLER, RICHARD                    5228 BLACK STONE CIR                                          BILLINGS           MT    59106‐2303
MILLER ROBERT (446406)                BEVAN & ASSOCIATES                 10360 NORTHFIELD ROAD , BEVAN                                 NORTHFIELD         OH    44067
                                                                         PROFESSIONAL BLDG
MILLER ROBERT A (494014)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                         STREET, SUITE 600
MILLER ROBERT F (351598)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                         STREET, SUITE 600
MILLER ROBERT L                       MILLER, KATHLEEN L                 90 S CASCADE AVE STE 1500                                     COLORADO SPRINGS   CO 80903‐1639
MILLER ROBERT L                       MILLER, ROBERT L                   90 S CASCADE AVE STE 1500                                     COLORADO SPRINGS   CO 80903‐1639
MILLER ROBERT L (504968)              (NO OPPOSING COUNSEL)
MILLER ROBERT M (338524)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                         STREET, SUITE 600
MILLER RODERICK (469282) ‐ FAULKNER   LANIER & WILSON L.L.P.             1331 LAMAR , SUITE 675                                        HOUSTON            TX    77010
SYDNEY MARK
MILLER RONALD A                       MILLER, RONALD A                   6116 N CENTRAL EXPRESSWAY                                     DALLAS             TX 75206
MILLER RONALD D (408869)              GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                                   NORFOLK            VA 23510
                                                                         STREET, SUITE 600
MILLER ROY (464218)                   KELLEY & FERRARO LLP               1300 EAST NINTH STREET , 1901                                 CLEVELAND          OH 44114
                                                                         BOND COURT BUILDING
MILLER ROY E (473164)                 ANGELOS PETER G LAW OFFICES OF     100 N CHARLES STREET , ONE                                    BALTIMORE          MD 21202
                                                                         CHARLES CENTER 22ND FLOOR
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Name                               Address1                          Address2                         Address3             Address4                City           State Zip
MILLER ROY F JR (305859)           BROWN TERRELL HOGAN ELLIS         804 BLACKSTONE BLDG , 233 EAST                                                JACKSONVILLE    FL 32202
                                   MCCLAMMA & YEGELWEL P.A.          BAY STREET
MILLER ROY R (429472)              GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK        VA 23510
                                                                     STREET, SUITE 600
MILLER RUSSELL                     60 MILL RD                                                                                                      CUMBERLAND     ME 04021‐3129
MILLER RUSSELL III (491238)        BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD , BEVAN                                                 NORTHFIELD     OH 44067
                                                                     PROFESSIONAL BLDG
MILLER SAMUEL J                    2105 WOODMAR DR APT G                                                                                           HOUGHTON       MI 49931‐1020
MILLER SANDRA                      1126 BROADWAY                                                                                                   HANOVER        PA 17331‐1507
MILLER SANDRA                      MILLER, SANDRA                    120 WEST MADISON STREET 10TH                                                  CHICAGO        IL 60602
                                                                     FLOOR
MILLER SCOTT                       6711 MEADOWLARK LN                                                                                              SHAWNEE        KS    66226‐3545
MILLER SHARON                      465 N UNION ST                                                                                                  RUSSIAVILLE    IN    46979‐9777
MILLER SHERRI SUE                  MILLER, NATHAN                    28000 WOODWARD AVE STE 201                                                    ROYAL OAK      MI    48067‐0962
MILLER SHERRI SUE                  MILLER, SHERRI SUE                28000 WOODWARD AVE STE 201                                                    ROYAL OAK      MI    48067‐0962
MILLER SHERRY                      MILLER, SHERRY                    120 WEST MADISON STREET , 10TH                                                CHICAGO        IL    60602
                                                                     FLOOR
MILLER SHIRLEY M (478528)          PAUL REICH & MYERS P.C.           1608 WALNUT ST STE 500                                                        PHILADELPHIA   PA    19103‐5446
MILLER SR, CHARLES C               1014 N 8TH ST                                                                                                   MIAMISBURG     OH    45342‐1751
MILLER SR, CHARLES C               1014 NORTH 8TH ST.                                                                                              MIAMISBURG     OH    45342‐1751
MILLER SR, CHARLES G               13801 BOTTOM RD                                                                                                 HYDES          MD    21082‐9755
MILLER SR, DONALD R                2060 WINTHROP DR                                                                                                SWARTZ CREEK   MI    48473‐9721
MILLER SR, JAMES K                 434 ROBERTS RD                                                                                                  SUMMERHILL     PA    15958‐4120
MILLER SR, JOE O                   134 PATAULA SHORES CIR                                                                                          FORT GAINES    GA    39851‐2102
MILLER SR, JOHN H                  5691 US HIGHWAY 6                                                                                               ROME           OH    44085‐9634
MILLER SR, KEITH L                 3971 HOOVER RD PMB 175                                                                                          GROVE CITY     OH    43123‐2839
MILLER SR, PAUL A                  4220 BREEZEWOOD AVE                                                                                             DAYTON         OH    45406‐1312
MILLER SR, RICHARD L               PO BOX 6751                                                                                                     SAGINAW        MI    48608‐6751
MILLER SR, ROBERT H                47 CROSS KEYS RD                                                                                                NORTH EAST     MD    21901‐1006
MILLER SR, ROBERT M                5381 GRACY DR                                                                                                   STANDISH       MI    48658‐9761
MILLER SR., ARTHUR L               6897 E STATE ROAD 234                                                                                           WILKINSON      IN    46186‐9718
MILLER SR., JERRY L                3401 WINONA ST                                                                                                  FLINT          MI    48504‐2156
MILLER STANLEY A (494015)          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                                                   NORFOLK        VA    23510
                                                                     STREET, SUITE 600
MILLER STEPHENSON CHEMICAL CO      55 BACKUS AVE                                                                                                   DANBURY        CT    06810‐7328
MILLER STRATVERT PA                500 MARQUETTE AVE NW STE 1100                                                                                   ALBUQUERQUE    NM    87102‐5326
MILLER STUART A                    MILLER, STUART A                  30 E BUTLER AVE                                                               AMBLER         PA    19002‐4514
MILLER SUTHERLIN AUTOMOTIVE, LLC   901 MARTIN ST N                                                                                                 PELL CITY      AL    35125‐1339
MILLER SUTHERLIN AUTOMOTIVE, LLC   HENRY PHILLIPS                    901 MARTIN ST N                                                               PELL CITY      AL    35125‐1339
MILLER TALMADGE JESSE (625299)     BARON & BUDD                      3102 OAK LANE AVE , SUITE 1100                                                DALLAS         TX    75219
MILLER TAMMY                       MILLER, TAMMY                     1234 MARKET ST STE 2040                                                       PHILADELPHIA   PA    19107‐3720
MILLER TED                         608 N LANCELOT DR                                                                                               MARION         IN    46952‐2462
MILLER TERRY AND MARSHA            505 9TH AVE                                                                                                     SHENANDOAH      IA   51601‐1943
MILLER THEODORE (506418)           BARON & BUDD                      PLAZA SOUTH TWO ‐ SUITE 200 ‐                                                 CLEVELAND      OH    44130
                                                                     7261 ENGLE ROAD
MILLER THOMAS                      1420 COVENTRY LN                                                                                                VERO BEACH     FL 32967‐7323
MILLER THOMAS                      1399 FIELDSTONE CT                                                                                              ANN ARBOR      MI 48108‐9771
MILLER THOMAS JOE                  4239 FLICKINGER ROAD                                                                                            NEY            OH 43549‐9732
MILLER THOMPSON LLP                ATTN: PARTRICIA FORTE             300‐295 HAGEY BLVD               ACCELERATOR BLDG     WATERLOO ONTARIO N2L
                                                                                                                           6R5
MILLER THOMSON LLP                 ATTN: RANDALL B. CARTER           ACCELERATOR BLDG                 300‐295 HAGEY BLVD   WATERLOO, ONTARIO N2L
                                                                                                                           6R5
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Name                                  Address1                             Address2                      Address3                 Address4               City                  State Zip
MILLER TIMOTHY                        8118 JORDAN RD                                                                                                     GRAND BLANC            MI 48439‐9623
MILLER TIMOTHY E LAW OFFICES          7150 SW FIR LOOP STE 204                                                                                           PORTLAND               OR 97223
MILLER TIRE                           20 ILSLEY AVE                                                                               DARTMOUTH NS B3B 1L3
                                                                                                                                  CANADA
MILLER TIRE & AUTO                    856 BLOOMING GLEN RD                                                                                               BLOOMING GLEN         PA 18911
MILLER TONY & JAMES F FEUERSTEIN PA   401 E ALFRED ST                                                                                                    TAVARES               FL 32778‐3301

MILLER TOOL & DIE CO                  829 BELDEN RD                                                                                                      JACKSON               MI 49203
MILLER TOOL & DIE CO                  ATTN: CORPORATE OFFICER/AUTHORIZED   829 BELDEN RD                                                                 JACKSON               MI 49203‐1994
                                      AGENT
MILLER TRAN/S HOLLND                  136 W 154TH ST                                                                                                     SOUTH HOLLAND         IL   60473‐1015
MILLER TRANSFER & RIGGING CO          PO BOX 322                                                                                                         CUYAHOGA FALLS        OH   44222‐0322
MILLER TRANSPORTERS INC               PO BOX 1123                                                                                                        JACKSON               MS   39215‐1123
MILLER TRUCK & STORAGE COMPANY        420 INGHAM ST                                                                                                      JACKSON               MI   49201‐1251
MILLER UNDERWOOD                      BEVAN & ASSOCIATES LPA INC           6555 DEAN MEMORIAL PARKWAY                                                    BOSTON HTS            OH   44236
MILLER VALERIE                        MILLER, VALERIE                      28000 WOODWARD AVE STE 201                                                    ROYAL OAK             MI   48067‐0962
MILLER VERNA                          27396 GOLDENGATE DR W                                                                                              LATHRUP VILLAGE       MI   48076‐3467
MILLER VERNON A (429473)              GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK               VA   23510
                                                                           STREET, SUITE 600
MILLER WALTER W (428212)              SIMMONS FIRM                         PO BOX 559                                                                    WOOD RIVER            IL 62095‐0559
MILLER WAYNE F (662764)               ANGELOS PETER G                      100 N CHARLES STREET , ONE                                                    BALTIMORE             MD 21201
                                                                           CHARLES CENTER
MILLER WESLEY E SR (411028)           GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK               VA 23510
                                                                           STREET, SUITE 600
MILLER WILFRED
MILLER WILFRED (664887)               (NO OPPOSING COUNSEL)
MILLER WILLARD E (429474)             GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK               VA 23510
                                                                           STREET, SUITE 600
MILLER WILLIAM                        6621 7 PINES DR                                                                                                    BRADENTON             FL 34203‐7870
MILLER WILLIAM                        MILLER, WILLIAM                      FARM BUREAU INS               7373 W SAGINAW HWY BOX                          LANSING               MI 48909
                                                                                                         30400
MILLER WILLIAM JOHNSTON (640579)      LAW OFFICES OF MICHAEL B. SERLING    280 N OLD WOODWARD AVE STE                                                    BIRMINGHAM            MI 48009‐5394
                                                                           406
MILLER WILLIAM R JR (401531)          GLASSER AND GLASSER                  CROWN CENTER, 580 EAST MAIN                                                   NORFOLK               VA 23510
                                                                           STREET, SUITE 600
MILLER WILLIAM SR (464979)            ANGELOS PETER G LAW OFFICES OF       100 N CHARLES STREET , ONE                                                    BALTIMORE             MD 21202
                                                                           CHARLES CENTER 22ND FLOOR
MILLER ZELL INC                       4715 FREDERICK DR SW                                                                                               ATLANTA               GA   30336‐1809
MILLER'S AUTO REPAIR                  520 LITTLE HILLS INDUSTRIAL BLVD                                                                                   SAINT CHARLES         MO   63301‐3710
MILLER'S BAR                          ATTN: JANIE MILLER                   1228 W 29TH ST                                                                ANDERSON              IN   46016‐6003
MILLER'S GARAGE                       200 W MAIN ST                                                                                                      WILBURTON             OK   74578‐4046
MILLER'S TIRE & AUTO SERVICE          112 WESLEY ST                                                                                                      JOHNSON CITY          TN   37601‐1718
MILLER, A A                           4296 S GENESEE RD                                                                                                  GRAND BLANC           MI   48439‐7966
MILLER, A E                           150 PIZARRO DR                                                                                                     HOT SPRINGS VILLAGE   AR   71909‐7927
MILLER, A J                           379 S BUTTER ST                                                                                                    GERMANTOWN            OH   45327‐9341
MILLER, A J                           379 S. BUTTER STREET                                                                                               GERMANTOWN            OH   45327‐9341
MILLER, A L                           237 W 38TH STREET                                                                                                  ANDERSON              IN   46013
MILLER, A. CLARE                      17600 DETROIT AVE APT 704                                                                                          LAKEWOOD              OH   44107‐3440
MILLER, AARON A                       1008 S MONROE ST                                                                                                   BAY CITY              MI   48708‐7215
MILLER, AARON E                       1825 JEWELL DR                                                                                                     FLINT                 MI   48505‐2439
MILLER, AARON J                       40423 FRANKLIN MILL ST                                                                                             NOVI                  MI   48375‐3612
MILLER, ADAM M                        2704 SHED RD APT 122C                                                                                              BOSSIER CITY          LA   71111
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Name                 Address1                           Address2            Address3         Address4         City               State Zip
MILLER, ADAM T       6178 HAVELOCK DR                                                                         CLARKSTON           MI 48346‐2348
MILLER, ADAM W       15994 MALIBU WEST                                                                        WILLIS              TX 77318‐6778
MILLER, ADDLENE      1109 6TH ST SW                                                                           CULLMAN             AL 35055‐4745
MILLER, ADELAIDE S   619 N WEBSTER ST                                                                         KOKOMO              IN 46901‐3307
MILLER, ADELE        18‐70 211 ST                                                                             BAYSIDE             NY 11360
MILLER, ADRIAN C     512 LIBERTY ST                                                                           BRADFORD            OH 45308‐1145
MILLER, ADRIAN D     20017 MONICA ST                                                                          DETROIT             MI 48221‐1209
MILLER, ADRIENNE M   168 LOPERWOOD LN                                                                         LAGRANGE            OH 44050‐9756
MILLER, AGNES A      3744 FARMERS CREEK RD                                                                    METAMORA            MI 48455‐9729
MILLER, AGNES B      4521 HOUGH RD                                                                            DRYDEN              MI 48428‐9788
MILLER, AGNES N      3170 E STROOP RD APT 301                                                                 KETTERING           OH 45440‐1366
MILLER, AGNES N      3170 E. STROOP RD. #301                                                                  KETTERING           OH 45440‐1366
MILLER, AGNES R      4181 NO 19TH ST                                                                          MILWAUKEE           WI 53209‐6842
MILLER, AGNES R      47168 181ST AVE                                                                          GARRISON            MN 56450‐9664
MILLER, AIDAN M      8567 SOUTHRIDGE DR                                                                       HOWELL              MI 48843‐8083
MILLER, ALAN A       3408 STEVENS AVE APT 6                                                                   MINNEAPOLIS         MN 55408
MILLER, ALAN A       709 S COEUR D ALENE LN                                                                   PAYSON              AZ 85541‐5606
MILLER, ALAN J       6265 ATTICA RD                                                                           IMLAY CITY          MI 48444‐9638
MILLER, ALAN J       459 N ELMS RD                                                                            FLUSHING            MI 48433‐1423
MILLER, ALAN J.      6265 ATTICA RD                                                                           IMLAY CITY          MI 48444‐9638
MILLER, ALAN L       4805 W KENN DR                                                                           MUNCIE              IN 47302‐8961
MILLER, ALAN R       12332 RISMAN                                                                             PLYMOUTH            MI 48170
MILLER, ALAN R       8424 W TAFT RD                                                                           SAINT JOHNS         MI 48879‐9567
MILLER, ALAN S       24377 RIDGEVIEW DR                                                                       FARMINGTON HILLS    MI 48336‐1933
MILLER, ALAN W       5509 IVY HILL DR                                                                         ARLINGTON           TX 76016‐2235
MILLER, ALAN WAYNE   5509 IVY HILL DR                                                                         ARLINGTON           TX 76016‐2235
MILLER, ALBERT       31815 W 91ST ST                                                                          DE SOTO             KS 66018‐9203
MILLER, ALBERT A     16165 THAMES LN                                                                          MACOMB              MI 48042‐6184
MILLER, ALBERT E     5993 GODFREY RD                                                                          BURT                NY 14028‐9722
MILLER, ALBERT J     1122 BLUE JAY DR                                                                         GREENTOWN           IN 46936‐1381
MILLER, ALBERT L     603 W MAIN ST                                                                            BELLEVUE            OH 44811‐1934
MILLER, ALDO L       5817 STATE ROUTE 123                                                                     FRANKLIN            OH 45005‐4631
MILLER, ALDO L       5817 STATE RTE 123                                                                       FRANKLIN            OH 45005‐4631
MILLER, ALEISE H     7400 WADE PARK #1207                                                                     CLEVELAND           OH 44103‐2786
MILLER, ALETI B      900 CAROLYN ST                                                                           TUSCUMBIA           AL 35674
MILLER, ALEX A       1900 SW 24TH CIR                                                                         BOYNTON BEACH       FL 33426
MILLER, ALEX R       2381 ALTA WEST RD                                                                        MANSFIELD           OH 44903‐8230
MILLER, ALFRED       463 ALEXANDER ST                                                                         ROCHESTER           NY 14605‐2705
MILLER, ALFRED E     318 SAM JOHNSON LN                                                                       MOUNTAIN CITY       TN 37683‐5201
MILLER, ALFRED J     262 WADSWORTH AVE                                                                        TONAWANDA           NY 14150‐5123
MILLER, ALFRED J     PO BOX 271                                                                               DIMONDALE           MI 48821‐0271
MILLER, ALFRED L     400 LOCUST LN S                                                                          WEST CHESTER        PA 19380‐2285
MILLER, ALFRED W     8137 E COLDWATER RD                                                                      DAVISON             MI 48423‐8938
MILLER, ALICE        1793 E 1300 N                                                                            ALEXANDRIA          IN 46001‐8817
MILLER, ALICE        PO BOX 301032                                                                            KANSAS CITY         MO 64130‐1032
MILLER, ALICE        P O BOX 301032                                                                           KANSAS CITY         MO 64130‐1032
MILLER, ALICE        1793 E 1300N                                                                             ALEXANDRIA          IN 46001‐8817
MILLER, ALICE C      1754 W 400 S                                                                             PERU                IN 46970‐7925
MILLER, ALICE F      1070 ROYCO DROVE                                                                         ACWORTH             GA 30101
MILLER, ALICE G      5473 COUNTRY CLUB LN                                                                     GRAND BLANC         MI 48439
MILLER, ALICE G      G1069 NORTH BALLENGER                                                                    FLINT               MI 48504
MILLER, ALICE J      2773 CEDAR LANE                                                                          BAY CITY            MI 48706‐2610
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Name                   Address1                         Address2                       Address3   Address4         City           State Zip
MILLER, ALICE J        2773 CEDAR LN                                                                               BAY CITY        MI 48706‐2610
MILLER, ALICE M        211 E SMITH ST                                                                              BAY CITY        MI 48706‐3876
MILLER, ALICE M        211 E SMITH                                                                                 BAY CITY        MI 48706‐3876
MILLER, ALICE M        12 N EASTWAY DR                                                                             PONTIAC         MI 48342‐2929
MILLER, ALICE S        1568 COUNTY ROAD EAST                                                                       SCRIBNER        NE 68057‐1330
MILLER, ALISON L       16 LARNARD ST                                                                               POTSDAM         NY 13676
MILLER, ALLAN D        9929 DOUGLAS RD                                                                             TEMPERANCE      MI 48182‐9632
MILLER, ALLAN DEAN     9929 DOUGLAS RD                                                                             TEMPERANCE      MI 48182‐9632
MILLER, ALLAN G        9252 ARBOR CT                                                                               GOODRICH        MI 48438‐9465
MILLER, ALLAN W        7405 FOREST BROOK BLVD                                                                      CENTERVILLE     OH 45459‐4934
MILLER, ALLEN          2251 S FORT APACHE RD APT 1072                                                              LAS VEGAS       NV 89117‐5754
MILLER, ALLEN B        12200 DODGE RD                                                                              OTISVILLE       MI 48463‐9774
MILLER, ALLEN D        4219 MIRADOR DR                                                                             PLEASANTON      CA 94566‐7429
MILLER, ALLEN E        542 SHINGLE OAK COURT                                                                       INDIANAPOLIS    IN 46224‐7103
MILLER, ALLEN J        21760 SUNFLOWER RD                                                                          NOVI            MI 48375‐5350
MILLER, ALLEN L        13816 CARFAX AVE                                                                            BELLFLOWER      CA 90706‐2713
MILLER, ALLEN W        8555 FLICK RD                                                                               TIPP CITY       OH 45371
MILLER, ALLISON E      191 BLANCHE DR                                                                              TROY            MI 48098‐2934
MILLER, ALLYSON J      APT 3                            925 SOUTH WHITNEY WAY                                      MADISON         WI 53711‐2552
MILLER, ALMA M         401 FRANK ST                                                                                MITCHELL        IN 47446‐1825
MILLER, ALMA M         29 CAMBRIA ST                                                                               BUFFALO         NY 14206‐2301
MILLER, ALONZO         WEITZ & LUXENBERG                180 MAIDEN LANE                                            NEW YORK        NY 10038
MILLER, ALVA J         3028 CLAYWARD DR                                                                            FLINT           MI 48506‐2025
MILLER, ALVA L         1450 COTTAGE AVE                                                                            MIDDLETOWN      IN 47356‐1118
MILLER, ALVA L         3655 ORDERS RD                                                                              GROVE CITY      OH 43123‐8299
MILLER, ALVIA I        1700 HEINZERLING DR                                                                         COLUMBUS        OH 43223‐3671
MILLER, ALVIE E        PO BOX 115                                                                                  HUME             IL 61932‐0115
MILLER, ALVIN C        6651 RIDGEWOOD RD                                                                           CLARKSTON       MI 48346‐1026
MILLER, ALVIN C        3449 COSEYBURN RD                                                                           WATERFORD       MI 48329‐4303
MILLER, AMANDA AMY C   6221 PINEHURST DR                                                                           EL PASO         TX 79912‐2025
MILLER, AMANDA J       1601 HEGGEN ST                   APT 202                                                    HUDSON          WI 54016‐9260
MILLER, AMY            KROHN & MOSS ‐ IN                120 WEST MADISON STREET 10TH                               CHICAGO          IL 60602
                                                        FLOOR
MILLER, AMY S          2716 RED COACH DR                                                                           SPRINGFIELD    OH 45503‐1220
MILLER, ANDREA         KROHN & MOSS ‐ KY                120 WEST MADISON STREET 10TH                               CHICAGO        IL 60602
                                                        FLOOR
MILLER, ANDREA C       N8890 COUNTY ROAD SC                                                                        IXONIA         WI 53036‐9723
MILLER, ANDREA R
MILLER, ANDREW J       110 MCBRIE LN                                                                               PENDLETON      SC   29670
MILLER, ANDREW J       364 MINTY DR                                                                                DAYTON         OH   45415‐3015
MILLER, ANDREW J       4529 MAIN ST                                                                                GASPORT        NY   14067
MILLER, ANDREW K       13276 GOLDEN CIR                                                                            FENTON         MI   48430‐1014
MILLER, ANDREW L       2216 SARGENT AVE                                                                            SIMI VALLEY    CA   93063‐2747
MILLER, ANDREW M       1632 BLACKBERRY LN                                                                          FLINT          MI   48507‐2352
MILLER, ANDREW P       6010 DREXEL LN                   APT 1108                                                   FORT MYERS     FL   33919‐5247
MILLER, ANDREW P       6010 DREXEL LANE                 APT 1108                                                   FORT MEYERS    FL   33919
MILLER, ANDREW T       5039 COSHOCTON DR                                                                           WATERFORD      MI   48327‐3327
MILLER, ANGELA         14150 EL CASCO ST                                                                           SYLMAR         CA   91342‐1601
MILLER, ANGELA G       3630 OLD GUN RD E                C/O LAWRENCE G MILLER                                      MIDLOTHIAN     VA   23113‐1335
MILLER, ANGELA L       2645 MCCUTCHEON ROAD                                                                        COLUMBUS       OH   43219‐3366
MILLER, ANGELA M       15634 NORTHVILLE FOREST DR                                                                  PLYMOUTH       MI   48170‐4902
MILLER, ANGELICA       3781 W OUTER DR                                                                             DETROIT        MI   48221‐1536
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Name                   Address1                      Address2                Address3     Address4         City                 State Zip
MILLER, ANGELINA M     2069 RENKENBERGER RD.                                                               COLUMBIANA            OH 44408‐9751
MILLER, ANITA J        16836 COLLINSON AVE                                                                 EASTPOINTE            MI 48021‐4519
MILLER, ANITA J        PO BOX 405                                                                          VERNON                MI 48476‐0405
MILLER, ANN            228 E 600 N                                                                         ALEXANDRIA            IN 46001
MILLER, ANN B          459 GOLF DR                                                                         BROOKFIELD            OH 44403‐9642
MILLER, ANN B          459 GOLF DR SE                                                                      BROOKFIELD            OH 44403‐9642
MILLER, ANN G          615 JEFFERSON ST                                                                    PORT CLINTON          OH 43452‐2412
MILLER, ANN H          1024 CHELSEA AVE                                                                    DAYTON                OH 45420‐2727
MILLER, ANN L          278 VILLAGE LANE APT 615                                                            GREENWOOD             IN 46143
MILLER, ANN M          24102 HURON RIVER DR                                                                NEW BOSTON            MI 48164‐9437
MILLER, ANN M          5006 E CENTERLINE RD                                                                SAINT JOHNS           MI 48879‐9155
MILLER, ANNA           3232 EASTGATE ST                                                                    BURTON                MI 48519‐1555
MILLER, ANNA M         3870 VEGA DRIVE                                                                     LAKE HAVASU CITY      AZ 86404‐1723
MILLER, ANNA M         2124 TEBOE DR                 C/O WALTER R. MILLER                                  BLAIRSVILLE           GA 30512‐8707
MILLER, ANNA MARIE     3870 VEGA DR                                                                        LAKE HAVASU CITY      AZ 86404‐1723
MILLER, ANNICE M       432 S 15TH ST                                                                       SAGINAW               MI 48601‐2005
MILLER, ANNIE B        366 DOUGLAS ST NW                                                                   WARREN                OH 44483‐3218
MILLER, ANNIE B        366 DOUGLAS, N.W.                                                                   WARREN                OH 44483‐3218
MILLER, ANNIE D        31 GREENE TER                                                                       IRVINGTON             NJ 07111‐3937
MILLER, ANNIE H        3481 SURREY RD SE                                                                   WARREN                OH 44484‐2840
MILLER, ANNIE H        3481 SURREY SE                                                                      WARREN                OH 44484‐2840
MILLER, ANNIE M        28590 WESTWOOD RD                                                                   GRAND RAPIDS          MN 55744
MILLER, ANNIE M        PO BOX 69                     34812 TIDEWATER TRAIL                                 CENTER CROSS          VA 22437‐0069
MILLER, ANNIE P        5424 BERMUDA LN                                                                     FLINT                 MI 48505‐1067
MILLER, ANTHONETTE M   3684 E WILLOW WAY                                                                   ANDERSON              IN 46017‐9700
MILLER, ANTHONY        305 ALLEY ST                                                                        SPRING HILL           TN 37174‐2172
MILLER, ANTHONY        862 COTHRAN RD                                                                      COLUMBIA              TN 38401‐6754
MILLER, ANTHONY A      7950 DAWSON DR SE                                                                   WARREN                OH 44484‐3010
MILLER, ANTHONY C      5221 N SEYMOUR RD                                                                   FLUSHING              MI 48433‐1028
MILLER, ANTHONY D      2210 CAMDEN CT                                                                      LEXINGTON             OH 44904‐1670
MILLER, ANTHONY E      13250 S FENMORE RD                                                                  BRANT                 MI 48614‐9731
MILLER, ANTHONY L      411 CHESTNUT ST                                                                     LEAVENWORTH           KS 66048‐2726
MILLER, ANTHONY L      914 NORTHEAST 93RD COURT                                                            KANSAS CITY           MO 64155‐3366
MILLER, ANTHONY L      APT 117                       601 WEST WENGER ROAD                                  ENGLEWOOD             OH 45322‐1952
MILLER, ANTHONY L      3921 THORNWOOD DR                                                                   MYRTLE BEACH          SC 29588‐6767
MILLER, ANTHONY S      3911 CALVIN DR                                                                      LANSING               MI 48911‐2400
MILLER, ANTHONY W      260 N GLENROY AVE                                                                   LOS ANGELES           CA 90049‐2418
MILLER, APRIL G        200 RIGGS ST                                                                        FENTON                MI 48430‐2363
MILLER, ARDEN J        2681 RD 2 HETTLE ROAD                                                               MONROEVILLE           OH 44847
MILLER, ARLAN K        3318 W ROLLINGWOOD DR                                                               JANESVILLE            WI 53545‐8998
MILLER, ARLEEN F       3440 BRADLEY BROWNLEE RD                                                            CORTLAND              OH 44410‐9747
MILLER, ARLENE K       30 SADDLEBACK TRL                                                                   ROCHESTER             NY 14624‐3918
MILLER, ARNA R         213 GROVE ST                                                                        MANITOU BEACH         MI 49253‐9009
MILLER, ARNOLD C       APT 310                       32 EAST CARLETON ROAD                                 HILLSDALE             MI 49242‐1641
MILLER, ARSEY L        3600 GIDDINGS RD                                                                    AUBURN HILLS          MI 48326‐1515
MILLER, ARTHUR A       22760 LINGEMANN ST                                                                  SAINT CLAIR SHORES    MI 48080‐2130
MILLER, ARTHUR A       7121 WHISKEY CREEK RD                                                               WASHINGTON            MO 63090‐6073
MILLER, ARTHUR C       19821 199TH ST                                                                      TONGANOXIE            KS 66086‐5337
MILLER, ARTHUR C       5555 PURDY RD. L‐34                                                                 CANANDAIGUA           NY 14424
MILLER, ARTHUR E       37545 MUNGER ST                                                                     LIVONIA               MI 48154‐1276
MILLER, ARTHUR E       P O BOX 518 6185 M‐18                                                               COLEMAN               MI 48618
MILLER, ARTHUR F       5635 BRIAR GLEN DR                                                                  SALINE                MI 48176‐9537
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Name                             Address1                        Address2                        Address3   Address4         City             State Zip
MILLER, ARTHUR J                 PO BOX 339                                                                                  OXFORD            MI 48371‐0339
MILLER, ARTHUR JAMES             PO BOX 339                                                                                  OXFORD            MI 48371‐0339
MILLER, ARTHUR L                 44 BRADBURN ST                                                                              ROCHESTER         NY 14619‐1906
MILLER, ARTHUR M                 27857 LORRAINE AVE                                                                          WARREN            MI 48093‐4993
MILLER, ARTHUR N                 35 BEE JAY LN                                                                               HANOVER           PA 17331‐9041
MILLER, ARTHUR P                 PO BOX 950                                                                                  HARRISON          MI 48625‐0950
MILLER, ARTHUR R                 20296 CROMLEY RD                                                                            DEFIANCE          OH 43512‐9042
MILLER, ARTHUR W                 3200 FERGUS RD                                                                              BURT              MI 48417‐9615
MILLER, ARVIL V                  2524 CAMPBELL ST                                                                            SANDUSKY          OH 44870‐5309
MILLER, ARVIN P                  5423 SANDPIT RD                                                                             BEDFORD           IN 47421‐7513
MILLER, ASHLEY                   GORBERG DAVID J & ASSOCIATES    2325 GRANT BUILDING 310 GRANT                               PITTSBURGH        PA 15219
                                                                 STREET
MILLER, AUDRA C                  1218 BERSHIRE LANE                                                                          CHARLOTTE        NC   28262‐4488
MILLER, AUDREY                   W9402 CITY ROAD GG                                                                          WILLARD          WI   54493
MILLER, AUDREY A                 5400 HILLSIDE DR                                                                            MURRAY           UT   84107‐6035
MILLER, AUDREY C                 189 MAPLEGROVE                                                                              LONDON           KY   40741
MILLER, AUDREY E                 1304 CARPATHIAN WAY                                                                         CLIO             MI   48420‐2147
MILLER, AUGUSTA                  615 N. CAPITOL                                                                              LANSING          MI   48933
MILLER, AUSTIN W                 15323 LAUREL RIDGE PL                                                                       LEO              IN   46765‐9308
MILLER, AVA L                    G3064 MILLER RD APT 801                                                                     FLINT            MI   48507‐1343
MILLER, AW TECHNICAL SALES INC   7661 SENECA ST                  PO BOX 69                                                   EAST AURORA      NY   14052‐9457
MILLER, AYAKO                    4608 N GLENWOOD AVE                                                                         MUNCIE           IN   47304‐1132
MILLER, B J                      34 CROOKED MILE RD                                                                          DARIEN           CT   06820‐2001
MILLER, B JACK                   34 CROOKED MILE RD                                                                          DARIEN           CT   06820‐2001
MILLER, BARBARA                  514 MICHIGAN AVE                                                                            GLADSTONE        MI   49837‐1818
MILLER, BARBARA                  4595 ASHINGTON DR                                                                           SNELLVILLE       GA   30039‐7338
MILLER, BARBARA                  300 KENNELY APT 127                                                                         SAGINAW          MI   48609
MILLER, BARBARA                  1527 N CLAREMONT DR                                                                         JANESVILLE       WI   53545‐1350
MILLER, BARBARA                  720 TIMBERWOOD LANE                                                                         SAGINAW          MI   48609‐8520
MILLER, BARBARA                  3094 CAMELOT DR                                                                             FLINT            MI   48507‐3464
MILLER, BARBARA A                653 BROAD ST                                                                                BLOOMFIELD       NJ   07003‐2800
MILLER, BARBARA A                4554 DEOPHAM GREEN DR                                                                       AUSTINTOWN       OH   44515‐5336
MILLER, BARBARA A                22425 MADELYN AVE                                                                           PORT CHARLOTTE   FL   33954‐2481
MILLER, BARBARA A                6621 7 PINES DR                                                                             BRADENTON        FL   34203‐7870
MILLER, BARBARA A                5765 LOCUST STREET EXT APT 2                                                                LOCKPORT         NY   14094‐6545
MILLER, BARBARA A                355 STAN HOLLOW RD                                                                          LYNNVILLE        TN   38472‐5339
MILLER, BARBARA ANN              355 STAN HOLLOW RD                                                                          LYNNVILLE        TN   38472‐5339
MILLER, BARBARA B                2722 FIELDING STREET                                                                        FLINT            MI   48503‐3002
MILLER, BARBARA B                2702 W GARRISON AVENUE                                                                      BALTIMORE        MD   21215‐5333
MILLER, BARBARA C                1440 JOSEPH LN                                                                              HUDSONVILLE      MI   49426‐8714
MILLER, BARBARA E                2015 GILMARTIN ST                                                                           FLINT            MI   48503‐4457
MILLER, BARBARA E                3981 CODY DR                                                                                COLLEGE STA      TX   77845‐7201
MILLER, BARBARA E                1364 GRAF ST                                                                                LANCASTER        OH   43130‐1614
MILLER, BARBARA E                5910 SUTHERLAND DR                                                                          WATERFORD        MI   48327‐2061
MILLER, BARBARA J                3337 FIELD RD APT 1A                                                                        CLIO             MI   48420‐1181
MILLER, BARBARA J                3337 FIELD RD 1A                                                                            CLIO             MI   48420‐1181
MILLER, BARBARA J                PO BOX 161                                                                                  TOPINABEE        MI   49791‐0161
MILLER, BARBARA J                9060 STANLEY RD                                                                             WINDHAM          OH   44288‐9725
MILLER, BARBARA J                2831 RANGE ST                                                                               KALAMAZOO        MI   49004‐1849
MILLER, BARBARA J                4045 HORIZON DR                                                                             DAVISON          MI   48423‐8445
MILLER, BARBARA J                520 DAUNER HAUS ST                                                                          FENTON           MI   48430‐1591
MILLER, BARBARA JEAN             SHANNON LAW FIRM                100 W GALLATIN ST                                           HAZLEHURST       MS   39083‐3007
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Name                        Address1                          Address2                      Address3   Address4         City            State Zip
MILLER, BARBARA L           3681 RAINBOW CIR                                                                            SNELLVILLE       GA 30039‐2842
MILLER, BARBARA L           11140 ELLSWORTH RD                                                                          NORTH JACKSON    OH 44451‐9737
MILLER, BARBARA L           3681 RAINBOW CRL                                                                            SNELLVILLE       GA 30039
MILLER, BARBARA L           1016 EAST AVE SE                                                                            WARREN           OH 44484‐4904
MILLER, BARBARA L           627 W FRENCH AVE                                                                            ORANGE CITY      FL 32763‐5178
MILLER, BARBARA M           PO BOX 103                                                                                  LAKE ORION       MI 48361‐0103
MILLER, BARBARA N           1464 N. M‐52, APT. 28                                                                       OWOSSO           MI 48867‐1298
MILLER, BARBARA R           643 W MICHIGAN AVE                                                                          BOYNE CITY       MI 49712‐9331
MILLER, BARBARA STOKES      SHANNON LAW FIRM                  100 W GALLATIN ST                                         HAZLEHURST       MS 39083‐3007
MILLER, BARRY E             1716 W 11TH ST                                                                              ANDERSON         IN 46016‐2725
MILLER, BEATRICE A          6249 OVERTURE DR                                                                            DAYTON           OH 45449‐3340
MILLER, BEATRICE W          4622 BOND ST., N.W.                                                                         WARREN           OH 44483‐1723
MILLER, BEATRICE W          4622 BOND AVE NW                                                                            WARREN           OH 44483‐1723
MILLER, BECKY L             4278 CHAPEL LANE                                                                            SWARTZ CREEK     MI 48473
MILLER, BECKY L             4278 CHAPEL LN                                                                              SWARTZ CREEK     MI 48473‐1702
MILLER, BELFORD A           106 TANGLEWOOD DR                 C/O JAYNE V G MILLER                                      ANDERSON         IN 46012‐1023
MILLER, BEN A               330 SAINT LAWRENCE BLVD                                                                     NORTHVILLE       MI 48168‐1558
MILLER, BENJAMIN            PO BOX 760491                                                                               DALLAS           TX 75376
MILLER, BENJAMIN A          6929 MAPLETON CT                                                                            INDIANAPOLIS     IN 46214
MILLER, BENJAMIN F          3504 N DRURY AVE                                                                            KANSAS CITY      MO 64117‐2832
MILLER, BENJAMIN FRANKLIN   3504 N DRURY AVE                                                                            KANSAS CITY      MO 64117‐2832
MILLER, BENJAMIN J          2238 BLACKTHORN DR                                                                          BURTON           MI 48509‐1204
MILLER, BENJAMIN U          5675 S MEADOW PARK DR                                                                       HALES CORNERS    WI 53130‐2262
MILLER, BENJAMIN W          GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK          VA 23510‐2212
                                                              STREET, SUITE 600
MILLER, BENNIE R            405 CENTER PARK DR                                                                          SPRINGHILL      LA   71075‐3425
MILLER, BENNY B             PO BOX 1427                                                                                 DECATUR         AL   35602
MILLER, BENNY L             205 SLOBODA AVE                                                                             MANSFIELD       OH   44906‐1365
MILLER, BENNY M             GLASSER AND GLASSER               CROWN CENTER, 580 EAST MAIN                               NORFOLK         VA   23510‐2212
                                                              STREET, SUITE 600
MILLER, BERDINE E           909 TRAVELSTEAD RD                                                                          ADOLPHUS        KY   42120‐9762
MILLER, BERDINE ELAINE      909 TRAVELSTEAD RD                                                                          ADOLPHUS        KY   42120‐9762
MILLER, BERNADEA C          3385 HERD RD                                                                                METAMORA        MI   48455‐9654
MILLER, BERNADINE           1450 APPLEBROOK LN                                                                          DAYTON          OH   45458‐4746
MILLER, BERNADINE P         12501 SW 147TH ST                 APT 213R                                                  HOLLYWOOD       FL   33027‐1965
MILLER, BERNADINE P         12501 SW 14TH ST APT 213R                                                                   HOLLYWOOD       FL   33027‐1965
MILLER, BERNARD A           2681 N GUNNELL RD                                                                           EATON RAPIDS    MI   48827‐9342
MILLER, BERNARD J           4918 UPPER MANISTEE CMPGRND RD                                                              FREDERIC        MI   49733‐9559
MILLER, BERNARD N           29181 MALVINA DR                                                                            WARREN          MI   48088‐5138
MILLER, BERNICE             701 PARADISE RD                                                                             EAST AMHERST    NY   14051‐1636
MILLER, BERNICE H           2248 BALMER RD                                                                              RANSOMVILLE     NY   14131‐9786
MILLER, BERNIE L            S2004 24 VALLEY RD                                                                          LA FARGE        WI   54639‐8572
MILLER, BERTHA B            9526 HUNT AVE                                                                               SOUTH GATE      CA   90280‐5124
MILLER, BERTHA C            32965 MAPLE LANE CIR                                                                        WARREN          MI   48093‐1132
MILLER, BERTRAM K           4289 WAYNESVILLE JAMESTOWN RD                                                               JAMESTOWN       OH   45335‐9744
MILLER, BERTRUM A           1181 FREEDOM LN                                                                             WINTER SPGS     FL   32708‐5172
MILLER, BESSIE              4444 W COURT ST 4103                                                                        FLINT           MI   48532
MILLER, BESSIE LOIS         81 ELM ST                                                                                   STANTON         KY   40380‐2155
MILLER, BESSIE MAE          12923 VIA CATHERINA DR            C/O BERNICE CUBA                                          GRAND BLANC     MI   48439‐1531
MILLER, BETH E              21550 BOYETTE DR                                                                            MACOMB          MI   48044‐6029
MILLER, BETHANY M           904 DIVISION ST                                                                             HUNTINGTON      IN   46750‐2231
MILLER, BETTE I             342 PARAGON DR                                                                              TROY            MI   48098‐4630
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Name                           Address1                        Address2                      Address3   Address4         City                State Zip
MILLER, BETTIE W               7860 N. 1200E                                                                             SHIRLEY              IN 47384
MILLER, BETTY                  5845 S 500 W 57                                                                           COULUMBIA CITY       IN 46725
MILLER, BETTY A                5056 E CLAYRE LANE                                                                        INVERNESS            FL 34452
MILLER, BETTY A                5156 WAYBRIDGE LN                                                                         INDIANAPOLIS         IN 46237‐2971
MILLER, BETTY C.               705 1/2 BRENTWOOD ST                                                                      TILTON                IL 61833‐8008
MILLER, BETTY E                1409 MORGAN AVE                                                                           LA GRANGE PK          IL 60526‐1311
MILLER, BETTY F                4113 W 50TH                                                                               MT MORRIS            MI 48458‐9412
MILLER, BETTY F                4113 W 50TH ST                                                                            MOUNT MORRIS         MI 48458‐9412
MILLER, BETTY J                HC 66 BOX 16                                                                              FRANKFORD            WV 24938
MILLER, BETTY J                4203 STONE RIDGE DR                                                                       ROOTSTOWN            OH 44272‐9549
MILLER, BETTY J                1614 E WASHINGTON ST                                                                      FRANKFORT            IN 46041‐2763
MILLER, BETTY J                528 ROTHROCK RD UNIT 109        COPLEY PL                                                 COPLEY               OH 44321‐3172
MILLER, BETTY J                2615 OAK GROVE                                                                            KANSAS CITY          KS 66106‐4244
MILLER, BETTY J                706 NE MAPLE DR                                                                           KANSAS CITY          MO 64118‐4730
MILLER, BETTY J                2822 ALVARADO DR NE                                                                       ALBUQUERQUE          NM 87110‐3230
MILLER, BETTY J                PO BOX 332                      202 WEST 9TH ST                                           BURLINGTON           IN 46915‐0332
MILLER, BETTY J                16368 WHEATON RD                                                                          CEMENT CITY          MI 49233‐9705
MILLER, BETTY J                418 SANTA FE BLVD                                                                         KOKOMO               IN 46901‐7000
MILLER, BETTY J                30 GAP NEWPORT PIKE                                                                       AVONDALE             PA 19311‐1119
MILLER, BETTY L                5115 DIVISION AVE N                                                                       COMSTOCK PARK        MI 49321‐8224
MILLER, BETTY L                1130 OAKLAND DR                                                                           ANDERSON             IN 46012‐4536
MILLER, BETTY L                8775 20TH ST LOT 378                                                                      VERO BEACH           FL 32966‐6914
MILLER, BETTY L                5665 WEST 400 SOUTH                                                                       PENDLETON            IN 46064‐9179
MILLER, BETTY L                P O BOX 34                                                                                OWOSSO               MI 48867‐0034
MILLER, BETTY L                5665 W 400 S                                                                              PENDLETON            IN 45064‐9179
MILLER, BETTY L                PO BOX 34                                                                                 OWOSSO               MI 48867‐0034
MILLER, BETTY LOU              2 MEADOWBROOK DR                                                                          PERRYBURG            OH 43551
MILLER, BETTY M                206 JEFFREY                                                                               ROYAL OAK            MI 48073‐2581
MILLER, BETTY M                206 JEFFREY AVE                                                                           ROYAL OAK            MI 48073‐2581
MILLER, BETTY M                710 ELLISVILLE BLVD                                                                       LAUREL               MS 39440‐5251
MILLER, BETTY R                8623 WARRINGTON DR.                                                                       INDIANAPOLIS         IN 46234‐2119
MILLER, BETTY W                PO BOX 68                                                                                 BELLEFONTAINE        OH 43311‐0068
MILLER, BEVERLY                3203 MORAN DR R3                                                                          BIRCH RUN            MI 48415‐9068
MILLER, BEVERLY A              67 BIRCHWOOD DR                                                                           TRANSFER             PA 16154‐2405
MILLER, BEVERLY A              1210 S SAM HOUSTON RD                                                                     MESQUITE             TX 75149‐3738
MILLER, BEVERLY A              808 WEST HAMILTON AVENUE                                                                  FLINT                MI 48504‐7252
MILLER, BEVERLY ANN            3603 SUFFOLK CT                                                                           FLUSHING             MI 48433
MILLER, BEVERLY J              20250 DEAN ST                                                                             DETROIT              MI 48234‐2012
MILLER, BEVERLY J              7177 HUNTCLIFF CT                                                                         WEST BLOOMFIELD      MI 48322‐2939
MILLER, BEVERLY J              2008 ROLLINGSTONE DRIVE                                                                   KOKOMO               IN 46902‐5867
MILLER, BIANCA D               1013 WESTHILL CREST                                                                       DAYTON               OH 45406
MILLER, BIANCA D               1014 SUNNYVIEW AVE                                                                        DAYTON               OH 45406‐1960
MILLER, BILL ENGINEERING LTD   4895 CONVAIR DR                                                                           CARSON CITY          NV 89706‐0492
MILLER, BILL R                 509 S RANGELINE RD                                                                        ANDERSON             IN 46012‐3859
MILLER, BILLIE A               9246 W MOUNT MORRIS RD                                                                    FLUSHING             MI 48433‐9287
MILLER, BILLIE J               2027 RIDGE RD                                                                             WHITE LAKE           MI 48383‐1740
MILLER, BILLIE J               1650 E GIER RD                                                                            ADRIAN               MI 49221‐9666
MILLER, BILLIE RONALD          GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                               NORFOLK              VA 23510‐2212
                                                               STREET, SUITE 600
MILLER, BILLY                  67099 JOELLA DR                                                                           SAINT CLAIRSVILLE   OH 43950‐8405
MILLER, BILLY J                304 CHATTAHOOCHEE WAY                                                                     WOODSTOCK           GA 30188‐2806
MILLER, BILLY J                267 DIANA RIDGE RD                                                                        PULASKI             TN 38478‐5803
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Name                   Address1                              Address2                         Address3   Address4         City            State Zip
MILLER, BILLY J        9450 N 800 W                                                                                       MIDDLETOWN       IN 47356
MILLER, BILLY L        177 SPURLOCK LN                                                                                    HICKMAN          TN 38567‐5112
MILLER, BILLY W        4311 W LINDA DR                                                                                    DOUGLASVILLE     GA 30134‐2619
MILLER, BIRDIE Y       254 CHALMERS ST                                                                                    DETROIT          MI 48215‐3160
MILLER, BLAIR G        4410 SILVER LAKE RD                                                                                LINDEN           MI 48451‐8915
MILLER, BOB W          18007 NORTH BLVD                                                                                   MAPLE HEIGHTS    OH 44137‐2750
MILLER, BOBBIE J       1813 HORN ST                                                                                       PINCONNING       MI 48650‐8471
MILLER, BOBBIE J       11495 IRISH RD                                                                                     OTISVILLE        MI 48463‐9447
MILLER, BOBBIE J       2418 GOLDEN SHORE DR                                                                               FENTON           MI 48430‐1051
MILLER, BOBBIE J       726 S PRAIRIEVILLE ST                 C/O SUSAN MILLER GOODSON                                     ATHENS           TX 75751‐3240
MILLER, BOBBIE L       4840 WESTCHESTER DR APT 2                                                                          YOUNGSTOWN       OH 44515
MILLER, BOBBY          COON BRENT W                          PO BOX 4905                                                  BEAUMONT         TX 77704‐4905
MILLER, BOBBY E        4554 DEOPHAM GREEN DR                                                                              YOUNGSTOWN       OH 44515‐5336
MILLER, BOBBY J        5300 E DESERT INN RD UNIT 276                                                                      LAS VEGAS        NV 89122‐4073
MILLER, BOBBY J        5744 IRIS LN                                                                                       SCHERERVILLE     IN 46375‐5310
MILLER, BOBBY J        12951 BIG LAKE RD                                                                                  DAVISBURG        MI 48350‐3441
MILLER, BOK S          72 GROVE ST                                                                                        ELIZABETH        NJ 07202‐1713
MILLER, BOND T         1631 EL CAMINO REAL ST APT 159                                                                     HURST            TX 76053‐2508
MILLER, BONITA P       4524 ONTARIO DR                                                                                    NEW PRT RCHY     FL 34652‐4814
MILLER, BONNIE JEAN    2070 S ALMONT AVE LOT 48                                                                           IMLAY CITY       MI 48444‐9633
MILLER, BONNIE JEAN    2070 S. ALMONT ST. LOT 48                                                                          IMLAY CITY       MI 48444‐9633
MILLER, BONNIE K       1686 WEST NESTEL ROAD                                                                              PRUDENVILLE      MI 48651
MILLER, BONNIE K       1686 W NESTEL RD                                                                                   PRUDENVILLE      MI 48651‐9246
MILLER, BONNIE L       G3100 MILLER RD APT 30B                                                                            FLINT            MI 48507‐1334
MILLER, BONNIE M       11809 STATE ROUTE 70                                                                               SWAIN            NY 14884‐9749
MILLER, BONNIE Q       1253 GRANDVIEW                                                                                     NILES            OH 44446‐1231
MILLER, BONNIE S       2099 TIMBERLANE RD                                                                                 HARRISON         MI 48625
MILLER, BOWER B        380 ANTRIM RD                                                                                      XENIA            OH 45385‐2453
MILLER, BOYD C         W349S4904 KINGDOM DR                                                                               DOUSMAN          WI 53118‐9796
MILLER, BRAD
MILLER, BRAD A         539 FISKE ST                                                                                       HOLLISTON       MA   01746‐2025
MILLER, BRADFORD       HOSSLEY & EMBRY, L. L. P.             320 S BROADWAY AVE STE 100                                   TYLER           TX   75702‐7399
MILLER, BRADLEY A      3932 CANTEBURY DR                                                                                  CULLEOKA        TN   38451‐2049
MILLER, BRADLEY E      3969 W DELTA DR APT 8                                                                              MARION          IN   46952‐9232
MILLER, BRADLEY J      233 FOREST AVE                                                                                     ROYAL OAK       MI   48067‐1876
MILLER, BRANDI         SACCO PAUL J LAW OFFICES OF PC        4300 S LAKESHORE DR STE 540                                  TEMPE           AZ   85282‐7081
MILLER, BRANDON J      2030 SOUTH 101ST TERRACE                                                                           KANSAS CITY     KS   66111‐3551
MILLER, BRANDON J      98 BUENA VISTA DR                                                                                  NEW CASTLE      DE   19720‐4660
MILLER, BRANDY L       51 E JUDSON AVE                                                                                    YOUNGSTOWN      OH   44507‐2005
MILLER, BRENDA         1089 OLD COLUMBIA ROAD                                                                             CHAPEL HILL     TN   37034‐8412
MILLER, BRENDA         4615 SAN DIEGO DR.                                                                                 INDIANAPOLIS    IN   46241
MILLER, BRENDA A       1201 KENTUCKY AVE                     #135                                                         PADUCAH         KY   42003
MILLER, BRENDA A       1201 KENTUCKY AVE                     APT 135                                                      PADUCAH         KY   42003
MILLER, BRENDA J       6817 LOCKWOOD BLVD                    APT 162                                                      YOUNGSTOWN      OH   44512‐3917
MILLER, BRENDA LEE     POWER & ASSOCIATES, P.C., ATTORNEYS   117 WILMINGTON PIKE, SUITE 200                               GLEN MILLS      PA   19342
                       AT LAW
MILLER, BRENT JOSEPH   7548 N 450 E                                                                                       OSSIAN          IN   46777‐9639
MILLER, BRET J         2620 HARLSTONE DR                                                                                  AURORA          IL   60502‐9028
MILLER, BRIAN          CRAIG A. ALTMAN                       19 S 21ST ST                                                 PHILADELPHIA    PA   19103
MILLER, BRIAN          3025 GLENSTONE DR                                                                                  COLUMBIA        TN   38401‐5986
MILLER, BRIAN          183 AIRPORT RD                                                                                     GROVE CITY      PA   16127‐3809
MILLER, BRIAN          822 CENTER AVE                                                                                     AVALON          PA   15202‐2504
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Name                     Address1                       Address2                      Address3   Address4            City                State Zip
MILLER, BRIAN A          PO BOX 156                                                                                  MONTROSE             MI 48457‐0156
MILLER, BRIAN D          1101 BLUE BIRD DR                                                                           INDIANAPOLIS         IN 46231‐1014
MILLER, BRIAN D          248 HILLTOP LN                                                                              SPENCERPORT          NY 14559‐1439
MILLER, BRIAN E          13281 SEYMOUR RD                                                                            MONTROSE             MI 48457‐9794
MILLER, BRIAN G          95 GREENAN LN                                                                               LAKE ORION           MI 48362‐2171
MILLER, BRIAN H          3006 CHEROKEE AVE                                                                           FLINT                MI 48507‐1914
MILLER, BRIAN HAZEN      3006 CHEROKEE AVE                                                                           FLINT                MI 48507‐1914
MILLER, BRIAN J          35 HILL TOP DRIVE                                                                           BEDFORD              IN 47421‐6954
MILLER, BRIAN K          9970 N BUCK CREEK PIKE                                                                      MUNCIE               IN 47302‐9304
MILLER, BRIAN KEITH      9970 N BUCK CREEK PIKE                                                                      MUNCIE               IN 47302‐9304
MILLER, BRIAN L          7375 BENTLEY HWY                                                                            EATON RAPIDS         MI 48827‐9308
MILLER, BRIAN L          6363 ELMS RD                                                                                SWARTZ CREEK         MI 48473
MILLER, BRIAN L          PO BOX 233                     10770 E 2ND ST                                               FOWLER               MI 48835‐0233
MILLER, BRIAN LEE        PO BOX 233                     10770 E 2ND ST                                               FOWLER               MI 48835‐0233
MILLER, BRIAN R          143 TEAL STREET                                                                             ELYRIA               OH 44035‐8384
MILLER, BRIAN SCOTT      7803 ALAPAKA CT                                                                             INDIANAPOLIS         IN 46217‐4272
MILLER, BRIAN T          PO BOX 9022                    C/O SHANGHAI                                                 WARREN               MI 48090‐9022
MILLER, BRIDGET NICOLE   295 LIBERTY ST                                                                              ROCKLAND             MA 02370
MILLER, BRUCE A          APT 2                          645 NORTH FRANKLIN STREET                                    VAN WERT             OH 45891‐1394
MILLER, BRUCE A          3781 E CAROL LN                                                                             MOORESVILLE          IN 46158‐6829
MILLER, BRUCE A          APT 9                          406 MILFORD COURT                                            DAVISON              MI 48423‐1667
MILLER, BRUCE B          14591 SHERBROOK PL APT 106                                                                  FORT MYERS           FL 33912‐7082
MILLER, BRUCE C          6189 DUBLIN RD                                                                              DUBLIN               OH 43017‐1407
MILLER, BRUCE D          8590 MEADOWROCK CT NE                                                                       ROCKFORD             MI 49341‐9369
MILLER, BRUCE G          174 HARSEN RD                                                                               LAPEER               MI 48446‐2752
MILLER, BRUCE GORDON     174 HARSEN RD                                                                               LAPEER               MI 48446‐2752
MILLER, BRUCE H          11031 FRISCO LN                                                                             JACKSONVILLE         FL 32257
MILLER, BRUCE J          257 DAGGER ST                                                                               GWINN                MI 49841‐2800
MILLER, BRUCE L          730 MOUNT OLIVET RD                                                                         COLUMBIA             TN 38401‐6743
MILLER, BRUCE L          131 WESTBROOK DR                                                                            TOMS RIVER           NJ 08757‐4703
MILLER, BRUCE L          W2056 AUGUSTA RD                                                                            WARRENS              WI 54666‐8121
MILLER, BRUCE W          18648 FAIRWAY GREEN DR                                                                      HUDSON               FL 34667‐5708
MILLER, BRYAN            6832 RICKETT                                                                                WASHINGTON           MI 48094‐2176
MILLER, BRYAN            203 EAST BROADWELL STREET                                                                   ALBION               MI 49224‐1125
MILLER, BRYAN D          649 UNIVERSITY AVE                                                                          ELYRIA               OH 44035‐7238
MILLER, BRYAN J          814 W OAKLEY PARK RD                                                                        COMMERCE TOWNSHIP    MI 48390‐1245
MILLER, BRYANT EARL      3938 HERMANSAU DR APT 1                                                                     SAGINAW              MI 48603‐2597
MILLER, BUCK H           13357 26TH ST                                                                               GOBLES               MI 49055‐9211
MILLER, BYARD S          GLASSER AND GLASSER            CROWN CENTER, 580 EAST MAIN                                  NORFOLK              VA 23510‐2212
                                                        STREET, SUITE 600
MILLER, BYRON D          2605 W BURBANK AVE                                                                          JANESVILLE          WI   53546‐5661
MILLER, CAITLIN          2683 BROWNING DR                                                                            LAKE ORION          MI   48360
MILLER, CALLIE C         PO BOX 320702                                                                               FLINT               MI   48532‐0013
MILLER, CALVIN           4030 TERRA DR                                                                               INDIANAPOLIS        IN   46237‐1303
MILLER, CALVIN E         6412 MICHELLE DR                                                                            LOCKPORT            NY   14094‐1135
MILLER, CALVIN E         1591 COUNTY ROAD 113                                                                        HAMILTON            TX   76531‐3839
MILLER, CALVIN J         17223 SHERVILLA PL                                                                          SOUTHFIELD          MI   48075‐7035
MILLER, CALVIN L         9523 PEAKE RD                                                                               PORTLAND            MI   48875‐8422
MILLER, CALVIN W         W263N2437 DEER HAVEN DR                                                                     PEWAUKEE            WI   53072‐4572
MILLER, CAMERON          PO BOX 6504                                                                                 WARNER ROBINS       GA   31095‐6504
MILLER, CAMERON          9656 MANITOU                                                            WINDSOR ON N8P1H9
                                                                                                 CANADA
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Name                                  Address1                            Address2                          Address3                   Address4               City                  State Zip
MILLER, CAMERON                       9656 MANITOU CRES                                                                                WINDSOR ON CANADA N8P‐
                                                                                                                                       1H9
MILLER, CANDACE                       2439 DELAWARE ST                                                                                                        ANDERSON               IN   46016‐5130
MILLER, CANDACE D.                    2439 DELAWARE ST                                                                                                        ANDERSON               IN   46016‐5130
MILLER, CANDY S                       1821 S VAL VISTA RD                                                                                                     APACHE JUNCTION        AZ   85219‐7554
MILLER, CANFIELD, PADDOCK & STONE,    ATTORNEY FOR LANSING BOARD OF       ATTENTION: DONALD J.              150 WEST JEFFERSON         SUITE 2500             DETROIT                MI   48226
PLC                                   WATER & LIGHT                       HUTCHINSON
MILLER, CANFIELD, PADDOCK & STONE,    ATTORNEY FOR LANSING BOARD OF       ATTENTION: SUSAN I. ROBBINS       150 WEST JEFFERSON         SUITE 2500               DETROIT              MI 48226
PLC                                   WATER & LIGHT
MILLER, CANFIELD, PADDOCK AND STONE   ATT JOSEPH D. GUSTAVUS              ATTORNEYS FOR HORIBA              840 WEST LONG LAKE ROAD                             TROY                 MI 48098
PLC                                                                       INSTRUMENTS, INC. AND HORIBA
                                                                          LTD
MILLER, CANFIELD, PADDOCK AND STONE ATTN: TIMOTHY FUSCO, STEPHEN S.       ATTORNEYS FOR FORD, COMVERCA      150 WEST JEFFERSON AVE.,                            DETROIT              MI 48226
PLC                                  LAPLANTE                             AND ACH                           SUITE 2500
MILLER, CANFIELD, PADDOCK AND STONE, ATTY FOR KONGSBERG AUTOMOTIVE, INC., KONGSBERG INTERIOR SYS,           ATTN: MARC N. SWANSON,     150 WEST JEFFERSON       DETROIT              MI 48226
P.L.C.                               KONGSBERG DRIVELINE SYSTEMS I,       KONGSBERG POWER PRODUCT SYS,      ESQ.                       AVENUE, SUITE 2500
                                                                          KONGSBERG HOLDING
MILLER, CANFIELD, PADDOCK AND STONE, ATTY FOR COUNTY OF WAYNE, MICHIGAN ATT: TIMOTHY A. FUSCO, ESQ.         150 WEST JEFFERSON                                  DETROIT              MI 48226
P.L.C.                                                                                                      AVENUE, SUITE 2500
MILLER, CANFIELD, PADDOCK AND STONE, ATTY FOR LANSING BOARD OF WATER &    ATT: DONALD J. HUTCHINSON, ESQ.   150 WEST JEFFERSON                                  DETROIT              MI 48226
P.L.C.                               LIGHT                                                                  AVENUE, SUITE 2500
MILLER, CANFIELD, PADDOCK AND STONE, ATTY FOR LANSING BOARD OF WATER &    ATT: SUSAN I. ROBBINS, ESQ.       500 FIFTH AVENUE, SUITE    ATT: SUSAN I. ROBBINS,   NEW YORK             NY 10110
P.L.C.                               LIGHT                                                                  1815                       ESQ.
MILLER, CANFIELD, PADDOCK AND STONE, JOSEPH D. GUSTAVUS                   150 W JEFFERSON AVE STE 2500      FLOOR 22                                            DETROIT              MI 48226‐4415
P.L.C.
MILLER, CARL                         2172 FINLEY BEECH RD                                                                                                       LEWISBURG           TN    37091‐7164
MILLER, CARL                         2965 WOODLAWN ST                                                                                                           COMMERCE TOWNSHIP   MI    48390‐1489
MILLER, CARL B                       4097 SAUNDERS SETTLEMENT RD                                                                                                SANBORN             NY    14132‐9254
MILLER, CARL E                       2500 MELVIN AVE                                                                                                            ROCHESTER HILLS     MI    48307‐4849
MILLER, CARL E                       230 CHURCHILL ST                                                                                                           IONIA               MI    48846‐2014
MILLER, CARL E                       306 KNOB HILL DR                                                                                                           WAVERLY             TN    37185‐1914
MILLER, CARL E                       1091 BUCKSKIN TR                                                                                                           XENIA               OH    45385‐4115
MILLER, CARL E                       291 WISTOWA TRL                                                                                                            DAYTON              OH    45430‐2015
MILLER, CARL F                       7135 MAHAR RD                                                                                                              SAGINAW             MI    48601‐9728
MILLER, CARL G                       1741 BEAVER CREEK LN                                                                                                       KETTERING           OH    45429‐3709
MILLER, CARL H                       58925 NORTH AVE                                                                                                            RAY                 MI    48096‐4515
MILLER, CARL J                       575 STATE PARK RD                                                                                                          ORTONVILLE          MI    48462‐9778
MILLER, CARL L                       420 BALDWIN AVE                      APT 86                                                                                ROCHESTER           MI    48307‐2118
MILLER, CARL O                       PO BOX 44                                                                                                                  HARTFORD            WV    25247‐0044
MILLER, CARL P                       GLASSER AND GLASSER CROWN CENTER     580 EAST MAIN STREET SUITE 600                                                        NORFOLK             VA    23510

MILLER, CARL R                        8384 155 AVENUE                                                                                                           HERSEY              MI    49639
MILLER, CARL R                        7490 NAPLES DR                                                                                                            HAZELWOOD           MO    63042‐1369
MILLER, CARL S                        908 N 2ND ST                                                                                                              JEANNETTE           PA    15644‐1405
MILLER, CARL T                        973 CLARK RD                                                                                                              HALE                MI    48739‐9124
MILLER, CARLA J                       1660 VICTORIA CT                                                                                                          MANSFIELD           OH    44906‐5000
MILLER, CARLA L                       250 WORKMAN DR                                                                                                            WOODRUFF            SC    29388‐8286
MILLER, CARLA S                       320 RAMPART DR                                                                                                            FORT WAYNE          IN    46845‐9583
MILLER, CARLA SUE                     320 RAMPART DR                                                                                                            FORT WAYNE          IN    46845‐9583
MILLER, CARLTON E                     230 COLGATE AVE                                                                                                           DAYTON              OH    45427‐2847
MILLER, CARLTON E                     38 MANOR DR                                                                                                               DALLAS              GA    30132‐7419
MILLER, CARMA J                       303 W LIBERTY ST                                                                                                          ASHLAND             OH    44805‐3123
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Name                      Address1                           Address2                Address3     Address4         City            State Zip
MILLER, CARMA J           303 LIBERTY ST                                                                           ASHLAND          OH 44805
MILLER, CARMEN M          837 DES MOINES DR                                                                        WINDOM           MN 56101
MILLER, CAROL             2181 LILAC LN                                                                            FENTON           MI 48430‐8854
MILLER, CAROL             4215 E ATHERTON RD APT 6                                                                 BURTON           MI 48519‐1469
MILLER, CAROL             33 CASCADE DR                                                                            AMHERST          NY 14228‐1827
MILLER, CAROL
MILLER, CAROL A           24826 APPLE CREST DR                                                                     NOVI            MI   48375‐2602
MILLER, CAROL J           PO BOX 77                                                                                VIENNA          MO   65582‐0077
MILLER, CAROL L           5756 SHARP RD                                                                            DAYTON          OH   45432‐1747
MILLER, CAROL M           12434 FULLMER RD                                                                         DEFIANCE        OH   43512‐8846
MILLER, CAROL R           PO BOX 1325                                                                              YOUNGSTOWN      OH   44501‐1325
MILLER, CAROL R.          5679 MONROE ST APT 911                                                                   SYLVANIA        OH   43560‐2727
MILLER, CAROL S           1506 SCENIC WAY                                                                          AKRON           OH   44310‐1624
MILLER, CAROL W           460 E. MAIN ST.                                                                          CORTLAND        OH   44410‐1282
MILLER, CAROL W           460 E MAIN ST                                                                            CORTLAND        OH   44410‐1282
MILLER, CAROL Y           221 N CENTRAL AVE APT 331                                                                FAIRBORN        OH   45324‐5076
MILLER, CAROLE B          3323 DALE AVE                                                                            FLINT           MI   48506‐4709
MILLER, CAROLE H          11971 N PALMYRA RD                                                                       NORTH JACKSON   OH   44451‐9794
MILLER, CAROLE J.         235 GARFIELD AVE                                                                         SYRACUSE        NY   13205‐1117
MILLER, CAROLINE          PO BOX 508                                                                               BUFFALO         NY   14207‐0508
MILLER, CAROLINE C        2737 WHITNEY AVE                                                                         NIAGARA FALLS   NY   14301‐1431
MILLER, CAROLINE F        111 CIMARAND DR                                                                          WILLIAMSVILLE   NY   14221‐1429
MILLER, CAROLINE LOUISE   1319 E JULIAH AVE                                                                        FLINT           MI   48505‐1714
MILLER, CAROLYN           278 TEAKWOOD DR                                                                          ALTO            GA   30510‐4470
MILLER, CAROLYN C         1512 BARNEY AVE                                                                          DAYTON          OH   45420‐3213
MILLER, CAROLYN J         3673 CONNIE CT                                                                           MEMPHIS         TN   38109
MILLER, CAROLYN L.        10135 E US HIGHWAY 136                                                                   INDIANAPOLIS    IN   46234‐9088
MILLER, CAROLYN L.        10135 EAST U.S. HIGHWAY 136                                                              INDIANAPOLIS    IN   46234‐9088
MILLER, CAROLYN M         1520 NORTH E ST                                                                          ELWOOD          IN   46036
MILLER, CAROLYN M         2231 LIVERPOOL ST                                                                        AUBURN HILLS    MI   48326‐3420
MILLER, CAROLYN M         3222 LORAL DR                                                                            ANDERSON        IN   46013‐2219
MILLER, CAROLYN P         APT C                              1114 WINDHAVEN CIRCLE                                 BROWNSBURG      IN   46112‐7970
MILLER, CAROLYN P         1114 APT. C WINDHAVEN CIRCLE                                                             BROWNSBURG      IN   46112‐7970
MILLER, CAROLYN S         6372 W COUNTY ROAD 400 NORTH                                                             ROYAL CENTER    IN   46978‐9469
MILLER, CAROLYN S         15982 N 450 W                                                                            ELWOOD          IN   46036‐9242
MILLER, CAROLYNNE         5351 W 26TH ST                                                                           SPEEDWAY        IN   46224‐3308
MILLER, CARRIE E          1703 S 20TH ST                                                                           ROGERS          AR   72758‐5658
MILLER, CARRIE E          1647 S NATIONAL AVE                                                                      SPRINGFIELD     MO   65804‐1154
MILLER, CARRIE L          8419 BELLE BLUFF DR                                                                      GRAND BLANC     MI   48439‐8879
MILLER, CARY F            2401 E MAYBERRY RD                                                                       WESTMINSTER     MD   21158‐1520
MILLER, CARYL A           1014 DUNDEE CIR                                                                          LEESBURG        FL   34788‐7682
MILLER, CASANDRA          6047 CENTER RD                                                                           GRAND BLANC     MI   48439‐7949
MILLER, CASSANDRA S       511 EAST VINE STREET                                                                     LIMA            OH   45804‐1757
MILLER, CASSANDRA SUE     511 EAST VINE STREET                                                                     LIMA            OH   45804‐1757
MILLER, CASSIDY A         204 S WRIGHT ST                                                                          ORFORDVILLE     WI   53576‐9702
MILLER, CASSIUS D         76 FELLOWSHIP CT                                                                         MARTINSBURG     WV   25405‐2568
MILLER, CATHERINE E       7622 KATELLA AVE APT 112                                                                 STANTON         CA   90680‐3163
MILLER, CATHERINE L       27 N PERSHING                                                                            INDIANAPOLIS    IN   46222‐4231
MILLER, CATHERINE L       304 MAIN AVENUE                                                                          FRANKFORT       IN   46041‐3042
MILLER, CATHERINE L       27 N PERSHING AVE                                                                        INDIANAPOLIS    IN   46222‐4231
MILLER, CATHERINE L       304 MAIN AVE                                                                             FRANKFORT       IN   46041‐3042
MILLER, CATHERINE M       4725 HEMMETER CT APT 11                                                                  SAGINAW         MI   48603‐3839
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Name                  Address1                        Address2                       Address3   Address4         City               State Zip
MILLER, CATHERINE M   8115 PEPPERIDGE LN                                                                         PORT RICHEY         FL 34668
MILLER, CATHERINE S   1802 OXLEY DR                                                                              FLINT               MI 48504‐7098
MILLER, CATHRINE H    405 GORDON DR SW                                                                           DECATUR             AL 35601‐2219
MILLER, CATHY L       200 PINEVIEW DR                                                                            WARREN              OH 44484‐4484
MILLER, CATHY M       459 N ELMS RD                                                                              FLUSHING            MI 48433‐1423
MILLER, CECELIA K     5924 W OREGON RD                                                                           LAPEER              MI 48446‐8079
MILLER, CECELIA KAY   5924 W OREGON RD                                                                           LAPEER              MI 48446‐8079
MILLER, CECIL R       20 LIBERTY LN                                                                              HARRAH              OK 73045‐6396
MILLER, CELESTINE     14190 ROYAL GRAND                                                                          REDFORD             MI 48239‐2848
MILLER, CHAD A        2692 GLOFF RD                                                                              PETERSBURG          MI 49270‐9521
MILLER, CHARLENE      4707 BIRCHCREST DR                                                                         FLINT               MI 48504‐2001
MILLER, CHARLENE E    4128 S 100 E                                                                               KOKOMO              IN 46902‐9276
MILLER, CHARLES       DURST LAW FIRM PC               319 BROADWAY                                               NEW YORK            NY 10007
MILLER, CHARLES       2372 CEDAR DALE CT                                                                         MARYLAND HEIGHTS    MO 63043‐4165
MILLER, CHARLES       BEVAN & ASSOCIATES              10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD          OH 44067
                                                      PROFESSIONAL BLDG
MILLER, CHARLES       1018 SQUIRREL RIDGE RD                                                                     ANDERSON           IN   46013‐5520
MILLER, CHARLES       1090 DYEMEADOW LN                                                                          FLINT              MI   48532‐2314
MILLER, CHARLES       PO BOX 5                                                                                   AVOCA              IN   47420‐0005
MILLER, CHARLES A     2010 HAYDEN AVE                                                                            E CLEVELAND        OH   44112‐4140
MILLER, CHARLES A     8539 ROSELAWN ST                                                                           DETROIT            MI   48204‐3260
MILLER, CHARLES A     330 WASHINGTON AVE                                                                         NILES              OH   44446‐3143
MILLER, CHARLES D     ANGELOS PETER G LAW OFFICE      1300 N MARKET ST STE 212                                   WILMINGTON         DE   19801‐1813
MILLER, CHARLES D     2203 HIGH ST NW                                                                            WARREN             OH   44483‐1289
MILLER, CHARLES E     2924 S 350 E                                                                               KOKOMO             IN   46902
MILLER, CHARLES E     2924 S COUNTY RD 350 E                                                                     KOKOMO             IN   46902
MILLER, CHARLES E     1954 BONNIE BRAE AVE NE                                                                    WARREN             OH   44483‐3516
MILLER, CHARLES E     186 PALERMO PL                                                                             LADY LAKE          FL   32159‐0091
MILLER, CHARLES E     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                      STREET, SUITE 600
MILLER, CHARLES E     SHANNON LAW FIRM                100 W GALLATIN ST                                          HAZLEHURST         MS   39083‐3007
MILLER, CHARLES E     3555 W PERRY ST                                                                            INDIANAPOLIS       IN   46221‐2140
MILLER, CHARLES E     3 FOREST BATESTOWN                                                                         DANVILLE           IL   61832
MILLER, CHARLES E     2401 YAKIMA AVE                                                                            PAHRUMP            NV   89048‐5735
MILLER, CHARLES E     1470 FREDERICK CT                                                                          MANSFIELD          OH   44906‐2455
MILLER, CHARLES E     772 ROYAL CIR                                                                              HOWARD             OH   43028‐8302
MILLER, CHARLES F     520 TAYLOR RD                                                                              SANDUSKY           OH   44870‐8342
MILLER, CHARLES F     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                      STREET, SUITE 600
MILLER, CHARLES G     47074 GLASTONBURY DR                                                                       CANTON             MI   48188‐6241
MILLER, CHARLES G.    47074 GLASTONBURY DR                                                                       CANTON             MI   48188‐6241
MILLER, CHARLES J     21 KIMBERLY DR                                                                             MILLINGTON         MI   48746‐9624
MILLER, CHARLES J     9030 FROST RD                                                                              SAGINAW            MI   48609‐9308
MILLER, CHARLES J     8382 N SEYMOUR RD                                                                          FLUSHING           MI   48433‐9246
MILLER, CHARLES J     224 N MILL ST APT A21                                                                      WELLINGTON         OH   44090
MILLER, CHARLES J     N53W23818 ERVIN PL                                                                         SUSSEX             WI   53089‐4304
MILLER, CHARLES L     GLASSER AND GLASSER             CROWN CENTER, 580 EAST MAIN                                NORFOLK            VA   23510‐2212
                                                      STREET, SUITE 600
MILLER, CHARLES L     2136 E. BATAAN DR.                                                                         KETTERING          OH   45420‐3610
MILLER, CHARLES L     3707 LONGWOOD AVE                                                                          PARMA              OH   44134‐3801
MILLER, CHARLES L     13585 BLOCK RD                                                                             BIRCH RUN          MI   48415‐9454
MILLER, CHARLES L     22412 RIVERSIDE DR                                                                         RICHTON PARK       IL   60471‐1528
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Name                        Address1                              Address2                       Address3   Address4         City           State Zip
MILLER, CHARLES L           2136 E BATAAN DR                                                                                 KETTERING       OH 45420‐3610
MILLER, CHARLES L           11217 HARTLAND RD                                                                                FENTON          MI 48430‐2578
MILLER, CHARLES L           11549 DAYTON GREENVILLE PIKE                                                                     BROOKVILLE      OH 45309‐9647
MILLER, CHARLES M           5530 BRACKENRIDGE AVE                                                                            COLUMBUS        OH 43228‐2532
MILLER, CHARLES M           40 CHIPPEWA RD                                                                                   PONTIAC         MI 48341‐1506
MILLER, CHARLES M           407 THORNBLADE BLVD                                                                              GREER           SC 29650‐4433
MILLER, CHARLES M           6296 SHAKER RD                                                                                   FRANKLIN        OH 45005‐2655
MILLER, CHARLES O           29 KIRBY LN                                                                                      BELLEVILLE       IL 62223‐2523
MILLER, CHARLES P           1015 SCHRAMS BEACH RD                                                                            BELHAVEN        NC 27810‐9286
MILLER, CHARLES P           6177 BAER RD                                                                                     SANBORN         NY 14132‐9264
MILLER, CHARLES R           315 FAIRWAY DR                                                                                   SPRINGBORO      OH 45066‐1279
MILLER, CHARLES R           18042 KINDER OAK DR                                                                              NOBLESVILLE     IN 46062‐7527
MILLER, CHARLES R           11439 SAINT ALOYSIUS ST                                                                          ROMULUS         MI 48174‐1187
MILLER, CHARLES R           2127 SHADYSIDE RD                                                                                CLYMER          NY 14724‐9649
MILLER, CHARLES RAYMOND     C/O GOLDENBERG HELLER ANTOGNOLI &     2227 S STATE ROUTE 157                                     EDWARDSVILLE     IL 62025
                            ROWLAND PC
MILLER, CHARLES RAYMOND     GOLDENBERG, MILLER, HELLER &          PO BOX 959                                                 EDWARDSVILLE    IL   62025‐0959
                            ANTOGNOLI
MILLER, CHARLES S           245 POND DR                                                                                      HOCKESSIN      DE    19707‐9241
MILLER, CHARLES S           15240 SILVER PKWY APT 210                                                                        FENTON         MI    48430‐3486
MILLER, CHARLES T           9017 TAMMY RD                                                                                    BALTIMORE      MD    21236‐1835
MILLER, CHARLES W           827 N LEEDS ST                                                                                   KOKOMO         IN    46901‐3231
MILLER, CHARLES W           GOLDBERG PERSKY JENNINGS & WHITE PC   4800 FASHION SQUARE BLVD STE                               SAGINAW        MI    48604‐2602
                                                                  260
MILLER, CHARLES W           3156 MOODY CT                                                                                    FLINT          MI 48504‐1743
MILLER, CHARLES W           9001 GOLDMAN RD                                                                                  HILLSBORO      MO 63050‐2523
MILLER, CHARLES W           12051 FORRER ST                                                                                  DETROIT        MI 48227‐1763
MILLER, CHARLIE
MILLER, CHARLIE F           1521 COOPER DR                                                                                   IRVING         TX    75061‐5529
MILLER, CHARLIE G           3118 STEVENSON ST                                                                                FLINT          MI    48504‐3247
MILLER, CHARLIE J           2231 LIVERPOOL ST                                                                                AUBURN HILLS   MI    48326‐3420
MILLER, CHARLOTTE A         321 W MAPLE ST                                                                                   CAYUGA         IN    47928‐8195
MILLER, CHARLOTTE C.        1118 BELL ST                                                                                     ARLINGTON      TX    76001‐7117
MILLER, CHARLOTTE C.        1118 BELL ST.                                                                                    ARLINGTON      TX    76001‐7117
MILLER, CHARLOTTE M         PO BOX 599                                                                                       LEWISBURG      OH    45338‐0599
MILLER, CHARLOTTE T         143 TINSMAN LANE                                                                                 MARTINSBURG    WV    25401‐6137
MILLER, CHARLOTTE T         143 TINSMAN LN                                                                                   MARTINSBURG    WV    25403‐6137
MILLER, CHARRICE Y          501 W 24TH PL APT 404                                                                            CHICAGO        IL    60616
MILLER, CHERISE             MUCH SHELIST FREED DENENBERG AMENT 200 N LA SALLE ST STE 2100                                    CHICAGO        IL    60601‐1026
                            BELL & RUBENSTEIN
MILLER, CHERYL              920 5TH AVE S                                                                                    ESCANABA       MI    49829
MILLER, CHERYL D            23120 BEVERLY ST                                                                                 OAK PARK       MI    48237‐2499
MILLER, CHERYL L            5163 BUSHNELL CAMPBELL RD                                                                        KINSMAN        OH    44428‐9745
MILLER, CHESTER M           3892 CHARFIELD LN                                                                                HAMILTON       OH    45011‐6522
MILLER, CHET V              1858 WILLIAMSTOWN DR                                                                             SAINT PETERS   MO    63376‐8199
MILLER, CHLOE               12755 145TH AVE                                                                                  OTTUMWA        IA    52501‐8230
MILLER, CHRISOPHER M        10300 E SUNSET DR                                                                                SELMA          IN    47383‐9518
MILLER, CHRISOPHER MORRIS   10300 E SUNSET DR                                                                                SELMA          IN    47383‐9518
MILLER, CHRISTINA K         APT 4                              9150 CHATWELL CLUB LANE                                       DAVISON        MI    48423‐2870
MILLER, CHRISTINA K         9150 CHATWELL CLUB LN              APT 4                                                         DAVISON        MI    48423‐2877
MILLER, CHRISTINE           22 OAKWOOD ST                                                                                    BLUE POINT     NY    11715‐1127
MILLER, CHRISTINE           14535 TOMAHAWK LANE                                                                              BIG RAPIDS     MI    49307
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Name                         Address1                         Address2                      Address3   Address4         City             State Zip
MILLER, CHRISTINE            177 PARKLEDGE DR                                                                           AMHERST           NY 14226‐3924
MILLER, CHRISTINE C          508 BALSAM DR                                                                              DAVISON           MI 48423‐1804
MILLER, CHRISTINE R          6573 GRAHAM LN                                                                             KEITHVILLE        LA 71047‐8941
MILLER, CHRISTOPHER C        2939 PASCAL DRIVE                                                                          DAYTON            OH 45431‐8515
MILLER, CHRISTOPHER C        2939 PASCAL DR                                                                             DAYTON            OH 45431‐8515
MILLER, CHRISTOPHER J        2800 GREYBERRY DR APT 206                                                                  WATERFORD         MI 48328
MILLER, CHRISTOPHER J        607 GEDDES ST                                                                              WILMINGTON        DE 19805‐3718
MILLER, CHRISTOPHER J        11 WEINLAND DR                                                                             NEW CARLISLE      OH 45344‐2925
MILLER, CHRISTOPHER J        39 WALNUT DR E                                                                             BERNVILLE         PA 19506‐9598
MILLER, CHRISTOPHER JAMES    607 GEDDES ST                                                                              WILMINGTON        DE 19805‐3718
MILLER, CHRISTOPHER JEROME   2800 GREYBERRY DR APT 206                                                                  WATERFORD         MI 48328
MILLER, CHRISTOPHER L        3440 BRADLEY BROWNLEE RD                                                                   CORTLAND          OH 44410‐9747
MILLER, CHRISTPOHER S        104 OWENS AVE                                                                              SMITHVILLE        MO 64089‐8618
MILLER, CHRISTY A            3625 STORMS CREEK RD                                                                       URBANA            OH 43078
MILLER, CLAIRE               16303 VILLAGE 16                                                                           CAMARILLO         CA 93012‐7305
MILLER, CLAIRE I             14595 MORAN RD                                                                             ALLEN PARK        MI 48101‐1021
MILLER, CLAIRE M             31175 W RUTLAND ST                                                                         BEVERLY HILLS     MI 48025‐5429
MILLER, CLARA                P O BOX 23                                                                                 AVOCA             IN 47420‐0023
MILLER, CLARA                PO BOX 23                                                                                  AVOCA             IN 47420‐0023
MILLER, CLARA A              2166 BURLEY AVE                                                                            CLERMONT          FL 34711‐5726
MILLER, CLARA H              2455 BIDDLE APT 1006                                                                       WYANDOTTE         MI 48192
MILLER, CLARA J              12050 PRIOR RD                                                                             SAINT CHARLES     MI 48655‐9512
MILLER, CLARA J              810 CANTERBURY AVE SW                                                                      DECATUR           AL 35601‐2767
MILLER, CLARENCE             250 E AUSTIN AVE                                                                           FLINT             MI 48505‐2741
MILLER, CLARENCE             682 SUNSET VIEW BLVD                                                                       TALLMADGE         OH 44278‐3138
MILLER, CLARENCE A           PO BOX 265                                                                                 ESSEX             MO 63846‐0265
MILLER, CLARENCE A           GLASSER AND GLASSER              CROWN CENTER, 580 EAST MAIN                               NORFOLK           VA 23510
                                                              STREET, SUITE 600
MILLER, CLARENCE J           7601 LEE'S SUMMIT RD. RR 17                                                                KANSAS CITY      MO   64139
MILLER, CLARENCE L           16015 SIPPLE AVE                                                                           SAND LAKE        MI   49343‐9495
MILLER, CLARENCE M           210 S. RIDGEVIEW DR.                                                                       PRUDENVILLE      MI   48651
MILLER, CLARENCE R           1246 BERKSHIRE ST                                                                          WESTLAND         MI   48186‐5369
MILLER, CLARENCE W           21521 NORTHLANE AVE                                                                        BEDFORD          OH   44146
MILLER, CLARK W              4146 YO KINGSVILLE RD                                                                      CORTLAND         OH   44410
MILLER, CLAUDIA M            53767 JOE WOOD DR                                                                          MACOMB           MI   48042
MILLER, CLAYTON L            2405 GLEN ARBORS DR                                                                        NAPOLEON         OH   43545‐5608
MILLER, CLEDA N              70 STATE ROUTE 14                                                                          NORTH BENTON     OH   44449‐9701
MILLER, CLEMENT P            3815 E 65TH ST                                                                             INDIANAPOLIS     IN   46220‐4471
MILLER, CLEMENTINA PELL      824 N NURSERY RD                                                                           ANDERSON         IN   46012‐2720
MILLER, CLEMENTINE           2275 DODGE RD                                                                              EAST AMHERST     NY   14051‐1323
MILLER, CLEMONS L            309 WEST ST                                                                                STOUGHTON        WI   53589‐1354
MILLER, CLEO                 2811 BARD AVE                                                                              KALAMAZOO        MI   49004‐2018
MILLER, CLIFFORD A           1156 PARKSIDE CIR                                                                          GRAND BLANC      MI   48439‐8052
MILLER, CLIFFORD A           539 CO RTE 1                                                                               FORT COVINGTON   NY   12937
MILLER, CLIFFORD L           3437 LUEWAN DR                                                                             INDIANAPOLIS     IN   46235‐2215
MILLER, CLIFFORD L           9173 E W AVE                                                                               VICKSBURG        MI   49097‐9569
MILLER, CLIFFORD M           505 REDONDO DR APT 211                                                                     DOWNERS GROVE    IL   60516‐4640
MILLER, CLIFFORD P           3811 MARINER ST                                                                            WATERFORD        MI   48329‐2274
MILLER, CLIFFORD P           106 SW 19TH ST                                                                             OAK GROVE        MO   64075‐9240
MILLER, CLIFFORD R           SIMMONS FIRM                     PO BOX 559                                                WOOD RIVER       IL   62095‐0559
MILLER, CLIFTON G            17227 SCHOOL ST                                                                            SOUTH HOLLAND    IL   60473‐3457
MILLER, CLINTON W            2420 TELEGRAPH RD                                                                          NORTH EAST       MD   21901‐1201
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Name                      Address1                         Address2                          Address3   Address4         City             State Zip
MILLER, CLOYD C           218 W BOITNOTT DR                                                                              UNION             OH 45322‐3207
MILLER, CLOYD E           14219 ADAIR ST                                                                                 BROOKSVILLE       FL 34613‐4914
MILLER, CLYDE D           8912 GANTON CT                                                                                 CHESTERFIELD      VA 23832‐2478
MILLER, CLYDE H           PAUL REICH & MYERS P.C.          1608 WALNUT ST STE 500                                        PHILADELPHIA      PA 19103‐5446
MILLER, CLYDE R           3657 SHROYER RD                                                                                KETTERING         OH 45429‐2733
MILLER, CLYDE R           13616 CANADA DEL OSO PL NE                                                                     ALBUQUERQUE       NM 87111‐8030
MILLER, CLYDE T           103 LASALLE ST                                                                                 MANSFIELD         OH 44906‐2429
MILLER, CODY W            5815 COUNTY ROAD 50                                                                            MOUNT GILEAD      OH 43338‐9637
MILLER, COLEMAN J         1610 MULBERRY CIR                                                                              ROCK HILL         SC 29732‐2980
MILLER, COLIN S.          9461 BOXWOOD DR                                                                                SHREVEPORT        LA 71118‐4002
MILLER, COLLEEN C         2601 AIRLINE DR APT 424                                                                        BOSSIER CITY      LA 71111‐5860
MILLER, COLLEEN CATHRYN   2601 AIRLINE DR APT 424                                                                        BOSSIER CITY      LA 71111‐5860
MILLER, COLLEEN S         209 GREEN LEAF DR                                                                              CROSS JUNCTION    VA 22625‐2563
MILLER, COLLIN            742 E PARKWAY AVE                                                                              FLINT             MI 48505‐2962
MILLER, COLLIN D          742 E PARKWAY AVE                                                                              FLINT             MI 48505‐2962
MILLER, CONNIE E          101 S MAIN STREET                                                                              MIDDLE POINT      OH 45863
MILLER, CONNIE E          PO BOX 128                                                                                     MIDDLE POINT      OH 45863
MILLER, CONNIE J          7120 E ZIMMERLY ST                                                                             WICHITA           KS 67207‐2826
MILLER, CONNIE M          PO BOX 503                                                                                     KALIDA            OH 45853‐0503
MILLER, CONSETTA          88 BOARDMAN ST                                                                                 ROCHESTER         NY 14607‐3808
MILLER, CONSIGLIA A       3380E 150 NORTH                                                                                KOKOMO            IN 46901
MILLER, CONSTANCE R       185 MARLBOROUGH RD 14619                                                                       ROCHESTER         NY 14619
MILLER, COREY             26390 THOMAS AVE                                                                               ELKO              MN 55020‐9735
MILLER, COREY S           1559 STILLWAGON RD                                                                             NILES             OH 44446‐4432
MILLER, COREY S           PO BOX 324                                                                                     CHELSEA           MI 48118‐0324
MILLER, COREY SHANE       PO BOX 324                                                                                     CHELSEA           MI 48118‐0324
MILLER, CORLISS H         7403 46TH AVE N LOT 45                                                                         ST PETERSBURG     FL 33709‐2512
MILLER, CORNELIUS         6 NOTRE DAME CT                                                                                O FALLON          MO 63366‐1782
MILLER, CORNELIUS         6 NORTE DAME CT                                                                                OFALLON           MO 63366
MILLER, CORNELIUS M       3709 MILBOURNE AVE                                                                             FLINT             MI 48504‐2241
MILLER, CORNELL           6494 W LAKE RD                                                                                 CLIO              MI 48420‐8241
MILLER, CORRIE E          707 W RANKIN ST                                                                                FLINT             MI 48504‐2860
MILLER, CORRINE A         2099 DELANEY ST                                                                                BURTON            MI 48509‐1022
MILLER, COYE J            3316 BERNADETTE DR                                                                             ELLENTON          FL 34222
MILLER, CRAIG B           7080 KIRK RD                                                                                   CANFIELD          OH 44406‐8624
MILLER, CRAIG E           594 BROAD LN                                                                                   FALLING WTRS      WV 25419‐3526
MILLER, CRIS A            4790 SHERIDAN ROAD                                                                             SAGINAW           MI 48601‐9301
MILLER, CURTIS            19 SOUTH ST                                                                                    MIAMISBURG        OH 45342‐3146
MILLER, CURTIS R          10012 CLUB HOUSE DRIVE WEST                                                                    STANWOOD          MI 49346‐8300
MILLER, CYNTHIA           409 SPENCER RD                                                                                 ROCHESTER         NY 14609‐5703
MILLER, CYNTHIA           FERRARO & ASSOCIATES             4000 PONCE DE LEON BLVD STE 700                               CORAL GABLES      FL 33146‐1434

MILLER, CYNTHIA           1509 CHAPMAN DR                                                                                GREENFIELD       IN   46140‐2524
MILLER, CYNTHIA A         2320 LAYTON PARK DR                                                                            INDIANAPOLIS     IN   46239
MILLER, CYNTHIA A         24 PINCKNEY BLUFF PL                                                                           SHELDON          SC   29941‐3046
MILLER, CYNTHIA A         35815 SMITHFIELD RD                                                                            FARMINGTON       MI   48335‐3145
MILLER, CYNTHIA D         1937 E SPICERVILLE HWY                                                                         CHARLOTTE        MI   48813‐8129
MILLER, CYNTHIA E         328 COUNTY ROAD 197                                                                            GARY             TX   75643‐3818
MILLER, CYNTHIA ELLIS     328 COUNTY ROAD 197                                                                            GARY             TX   75643‐3818
MILLER, CYNTHIA S         1811S FLODIN RD                                                                                MANISTIQUE       MI   49854‐8936
MILLER, CYNTHIA S         1811S FLODIN                                                                                   MANISTIQUE       MI   49854‐8936
MILLER, D                 15269 HAMPDEN ST                                                                               TAYLOR           MI   48180‐4934
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Name                   Address1                           Address2                      Address3   Address4         City               State Zip
MILLER, D E            38035 ILLINOIS ST                                                                            LADY LAKE           FL 32159‐4128
MILLER, D H            408 DAVIS CT                                                                                 ELKHORN             WI 53121‐1674
MILLER, D S            4453 STATE RTE W                                                                             WEST PLAINS         MO 65775
MILLER, D T            3605 KEYES ST                                                                                FLINT               MI 48504‐3542
MILLER, DAILEY R       GLASSER AND GLASSER                CROWN CENTER, 580 EAST MAIN                               NORFOLK             VA 23510‐2212
                                                          STREET, SUITE 600
MILLER, DAISY M        3319 SHILOH SPRINGS RD APT C                                                                 TROTWOOD           OH    45426‐5426
MILLER, DALE A         646 N ALMAR                                                                                  MESA               AZ    85213‐6964
MILLER, DALE A         12362 PARKIN LN                                                                              FENTON             MI    48430‐8726
MILLER, DALE A         13021 BRENNAN RD                                                                             CHESANING          MI    48616‐9534
MILLER, DALE A         3535 ALIDA AVE                                                                               ROCHESTER HLS      MI    48309‐4240
MILLER, DALE ALAN      12362 PARKIN LN                                                                              FENTON             MI    48430‐8726
MILLER, DALE C         1529 GENEVA ROAD BLDG 9                                                                      ANN ARBOR          MI    48103
MILLER, DALE C         28179 THORNY BRAE RD                                                                         FARMINGTN HLS      MI    48331‐5657
MILLER, DALE C         PO BOX 220                                                                                   PARKER             CO    80134‐0220
MILLER, DALE D         2413 E 200 S                                                                                 ANDERSON           IN    46017‐2017
MILLER, DALE E         809 TWYCKINGHAM LN                                                                           KOKOMO             IN    46901‐1886
MILLER, DALE E         115 OVERFIELD CIR                                                                            PORT MATILDA       PA    16870‐7105
MILLER, DALE G         PO BOX 121                                                                                   TOLAR              TX    76476‐0121
MILLER, DALE R         11541 PALMWOOD DR                                                                            GARDEN GROVE       CA    92840‐1623
MILLER, DALE W         6302 GUNNELL RD                                                                              MILLINGTON         MI    48746‐9767
MILLER, DALE WAYNE     6302 GUNNELL ROAD                                                                            MILLINGTON         MI    48746‐9767
MILLER, DAMON A        6305 S VALLEYVIEW ST                                                                         LITTLETON          CO    80120‐3401
MILLER, DANA V         2250 ELLISON LAKES DR NW APT 216                                                             KENNESAW           GA    30152
MILLER, DANIEL         41302 HUTCHINSON CT                                                                          MURRIETA           CA    92592
MILLER, DANIEL A       21888 BELLWOOD ST                                                                            WOODHAVEN          MI    48183‐1506
MILLER, DANIEL A       218 WAVERLEY AVE                                                                             ROYAL OAK          MI    48067‐1337
MILLER, DANIEL B       RR 1 BOX 301                       C/O DANIEL B. MILLER                                      MC LEANSBORO        IL   62859‐9789
MILLER, DANIEL B       ROUTE 1 BOX 301                    C/O DANIEL B MILLER                                       MC CLEANSBORO       IL   62859‐9789
MILLER, DANIEL C       13335 15 MILE RD                                                                             STERLING HEIGHTS   MI    48312‐4210
MILLER, DANIEL C       251 ROSE WIND DRIVE                                                                          O FALLON           MO    63366‐4310
MILLER, DANIEL C       21 DUNCAN DR                                                                                 TROY               MI    48098‐4612
MILLER, DANIEL D       3651 SLATTERY RD                                                                             LUM                MI    48412‐9389
MILLER, DANIEL D       762 LINCOLN LAKE AVE SE                                                                      LOWELL             MI    49331‐9421
MILLER, DANIEL E       9956 W POLK RD                                                                               SUMNER             MI    48889‐8708
MILLER, DANIEL E       23051 ROAD L                                                                                 CLOVERDALE         OH    45827‐9743
MILLER, DANIEL F       PO BOX 267                                                                                   INDIAN RIVER       MI    49749‐0267
MILLER, DANIEL F       601 STARKEY RD LOT 155                                                                       LARGO              FL    33771‐2826
MILLER, DANIEL F       8766 JUNCTION RD                                                                             FRANKENMUTH        MI    48734‐9538
MILLER, DANIEL F       601 STARKY RD                      LOT 155                                                   LARGO              FL    33771
MILLER, DANIEL J       GARY PAUL                          1401 OCEAN AVE STE 300                                    SANTA MONICA       CA    90401‐2163
MILLER, DANIEL J       405 PIN OAK TRAIL                                                                            KELLER             TX    76248‐5645
MILLER, DANIEL J       5616 REMINGTON WAY                                                                           LANSING            MI    48917‐3991
MILLER, DANIEL J       16007 MERRILL AVE APT 71                                                                     FONTANA            CA    92335‐4472
MILLER, DANIEL J       3811 CLEVELAND AVE                                                                           DAYTON             OH    45410
MILLER, DANIEL JAMES   11119 PHYLLIS DR                                                                             CLIO               MI    48420‐1562
MILLER, DANIEL K       2101 33 MILE RD                                                                              BRUCE TWP          MI    48065‐3402
MILLER, DANIEL L       977 E GLASS RD                                                                               ORTONVILLE         MI    48462‐8570
MILLER, DANIEL M       408 W PRINCETON AVE                                                                          YOUNGSTOWN         OH    44511‐2417
MILLER, DANIEL M       10936 E APACHE TRL LOT 1046                                                                  APACHE JUNCTION    AZ    85220‐3478
MILLER, DANIEL P       6336 BORTLE RD                                                                               VICTOR             NY    14564‐9525
MILLER, DANIEL P       7742 PARKCREST CIR                                                                           CLARKSTON          MI    48348‐2967
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Name                      Address1                          Address2                       Address3   Address4         City                 State Zip
MILLER, DANIEL W          1807 S JEFFERSON ST                                                                          TILTON                 IL 61833‐8210
MILLER, DANIEL W          111 E WILSON RD                                                                              SAINT JOHNS           MI 48879‐9604
MILLER, DANIEL W          3621 COBBLESTONE DR                                                                          FOREST HILL           TX 76140‐1234
MILLER, DANITA            3909 TUTTI DR                                                                                RICHMOND              VA 23234
MILLER, DANNIE            9225 VAUGHN RD                                                                               MIAMISBURG            OH 45342‐4185
MILLER, DANNIE            9225 VAUGHN ROAD                                                                             MIAMISBURG            OH 45342‐4185
MILLER, DANNY             4761 LABADIE AVE                                                                             SAINT LOUIS           MO 63115‐1944
MILLER, DANNY C           1806 RUDGATE DR                                                                              AVON                  IN 46123‐8410
MILLER, DANNY CHARLES     1806 RUDGATE DR                                                                              AVON                  IN 46123‐8410
MILLER, DANNY G           2440 W STATE ROUTE 73                                                                        WILMINGTON            OH 45177‐9282
MILLER, DANNY G           2440 ST ROUTE 73 WEST                                                                        WILMINGTON            OH 45177‐5177
MILLER, DANNY J           1058 LEHIGH AVE                                                                              MANSFIELD             OH 44905‐1507
MILLER, DANNY J           3157 HIGHWAY 171                                                                             STONEWALL             LA 71078‐9432
MILLER, DANNY J           9473 N PINGREE RD                                                                            ALMA                  MI 48801‐9512
MILLER, DANNY L           6851 W MAPLE GROVE RD                                                                        HUNTINGTON            IN 46750‐8926
MILLER, DARELL G          4481 CENTER HILL CHURCH RD                                                                   LOGANVILLE            GA 30052
MILLER, DARHL             BEVAN & ASSOCIATES                10360 NORTHFIELD ROAD, BEVAN                               NORTHFIELD            OH 44067
                                                            PROFESSIONAL BLDG
MILLER, DARIK R           3427 ST CLARA CRT                                                                            FLINT                MI   48504
MILLER, DARLA R           216 ROCK CLIFF DR                                                                            MARTINSBURG          WV   25401‐2836
MILLER, DARLENE P         23067 JOY ST                                                                                 SAINT CLAIR SHORES   MI   48082‐2523
MILLER, DARLINE R         2287 MACSCOTT CT                                                                             SWARTZ CREEK         MI   48473‐9740
MILLER, DARMON J          1413 SCHAEFFER ST                                                                            DAYTON               OH   45404‐1764
MILLER, DARRELL C         2122 VOIGHT RD                                                                               SAINT HELEN          MI   48656‐9426
MILLER, DARRELL D         953 VZCR 3510                                                                                WILLS POINT          TX   75169
MILLER, DARRELL DARNELL   953 VZCR 3510                                                                                WILLS POINT          TX   75169
MILLER, DARRELL I         5051 W STANLEY RD                                                                            MOUNT MORRIS         MI   48458‐9427
MILLER, DARRYL K          1388 E 1700 N                                                                                SUMMITVILLE          IN   46070‐9162
MILLER, DARWIN C          607 PARK VW                                                                                  CLIO                 MI   48420‐1400
MILLER, DARWIN G          247 UPCHURCH RD                                                                              MCDONOUGH            GA   30252‐5683
MILLER, DARYL A           912 MILL ST                                                                                  FENTON               MI   48430‐2825
MILLER, DARYL ALAN        912 MILL ST                                                                                  FENTON               MI   48430‐2825
MILLER, DAUN M            7625 OLD POND DR                                                                             CLARKSTON            MI   48348‐4106
MILLER, DAVID             13958 WINTHROP ST                                                                            DETROIT              MI   48227
MILLER, DAVID
MILLER, DAVID             SIEBEN POLK LAVERDIERE & DUSICH   999 WESTVIEW DR                                            HASTINGS             MN   55033‐2432
MILLER, DAVID A           497 STAMPER RD                                                                               OLIVE HILL           KY   41164‐7993
MILLER, DAVID A           55 TROUP ST                                                                                  ROCHESTER            NY   14608‐2053
MILLER, DAVID A           26 INDIAN SPRINGS DR E                                                                       GLENMOORE            PA   19343‐8913
MILLER, DAVID A           8284 BEERS RD                                                                                SWARTZ CREEK         MI   48473‐9101
MILLER, DAVID A           308 LAKEWOOD CT                                                                              AVON                 IN   46123‐8772
MILLER, DAVID A           907 HAYMOUNT DR                                                                              INDIANAPOLIS         IN   46241‐1707
MILLER, DAVID A           6067 FOUNTAIN POINTE APT 2                                                                   GRAND BLANC          MI   48439‐7607
MILLER, DAVID B           22780 KYES RD                                                                                HILLMAN              MI   49746‐9558
MILLER, DAVID B           6892 UNION AVE SE                                                                            GRAND RAPIDS         MI   49548‐7332
MILLER, DAVID B           5039 HOMESTEAD DR                                                                            STERLING HEIGHTS     MI   48314‐1949
MILLER, DAVID BRIAN       5039 HOMESTEAD DR                                                                            STERLING HEIGHTS     MI   48314‐1949
MILLER, DAVID C           2061 NEW DR SW                                                                               WARREN               OH   44481‐9211
MILLER, DAVID C           716 LIVE OAK CT                                                                              SENECA               SC   29672‐6877
MILLER, DAVID C           2218 CLOVE TER                                                                               BALTIMORE            MD   21209‐4631
MILLER, DAVID C           1209 STRAKA TER                                                                              OKLAHOMA CITY        OK   73139‐2520
MILLER, DAVID C           112 BEAUMONT LN                                                                              PALM BEACH GARDENS   FL   33410‐2686
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MILLER, DAVID C        22439 NICHOLS DR                                                                     ATHENS           AL 35613
MILLER, DAVID C        8838 HOWLAND SPRINGS RD SE                                                           WARREN           OH 44484‐3126
MILLER, DAVID C        3 SACHEM DR                                                                          SKANEATELES      NY 13152
MILLER, DAVID CHAD     908 W COWING DR                                                                      MUNCIE           IN 47303‐1731
MILLER, DAVID E        8118 JORDAN RD                                                                       GRAND BLANC      MI 48439‐9623
MILLER, DAVID E        3181 ARCADIA ZURICH NORRIS RD                                                        LYONS            NY 14489‐9022
MILLER, DAVID F        467 DEERRUN DRIVE BOX 215                                                            CAMDEN           OH 45311
MILLER, DAVID F        4824 BERRYWOOD DR W                                                                  SAGINAW          MI 48603‐1048
MILLER, DAVID G        8431 HERRINGTON AVE NE                                                               BELMONT          MI 49306‐9776
MILLER, DAVID G        4380 GREEN RD                                                                        LOCKPORT         NY 14094‐8804
MILLER, DAVID H        315 AVENUE F                                                                         REDONDO BEACH    CA 90277‐5147
MILLER, DAVID H        2280 N THOMAS RD                                                                     SAGINAW          MI 48609‐9323
MILLER, DAVID H        3111 CHESTNUT AVE                                                                    BALTIMORE        MD 21211‐2716
MILLER, DAVID H        2010 CIRCLE CT                                                                       BEDFORD          IN 47421‐3909
MILLER, DAVID J        9620 TALLOW DR                                                                       FORT WAYNE       IN 46804‐1385
MILLER, DAVID J        7041 CHASE RUN LN                                                                    FLUSHING         MI 48433‐2282
MILLER, DAVID J        964 GARVER RD                                                                        MIDDLETOWN       OH 45044‐8929
MILLER, DAVID J        2206 WOODLAND TRCE                                                                   AUSTINTOWN       OH 44515‐4828
MILLER, DAVID J        436 VICTORIA BLVD                                                                    KENMORE          NY 14217‐2219
MILLER, DAVID L        40 FELLOWSHIP CT                                                                     MARTINSBURG      WV 25405‐2568
MILLER, DAVID L        4115 BENNETTS CORNERS RD                                                             HOLLEY           NY 14470‐9705
MILLER, DAVID L        10925 OTTER CREEK CT                                                                 FORT WAYNE       IN 46814‐8223
MILLER, DAVID L        12264 S CORK RD                                                                      MORRICE          MI 48857‐9613
MILLER, DAVID L        7329 LITTLE MILL RD                                                                  CUMMING          GA 30041‐4199
MILLER, DAVID L        1908 W PULLEN ST                                                                     PINE BLUFF       AR 71601‐3354
MILLER, DAVID L        4777 BRIARWOOD DR                                                                    NEWBURGH         IN 47630‐2165
MILLER, DAVID L        921 E NORTH H ST                                                                     GAS CITY         IN 46933‐1336
MILLER, DAVID L        902 BELLEVUE PL                                                                      KOKOMO           IN 46901‐3908
MILLER, DAVID L        1124 JENNE ST                                                                        GRAND LEDGE      MI 48837‐1809
MILLER, DAVID L        3702 MACK RD                                                                         SAGINAW          MI 48601‐7151
MILLER, DAVID L        11980 DAVISBURG RD                                                                   DAVISBURG        MI 48350‐2632
MILLER, DAVID L        1412 COUNTY ROAD 332                                                                 ERA              TX 76238‐2811
MILLER, DAVID L        485 E 375 S                                                                          FRANKLIN         IN 46131‐8579
MILLER, DAVID L        713 MORGAN DRIVE                                                                     BURLESON         TX 76028‐8172
MILLER, DAVID L        1581 NOTTINGHAM ST NW                                                                WARREN           OH 44485‐2023
MILLER, DAVID L        1793 E 1300 N                                                                        ALEXANDRIA       IN 46001‐8817
MILLER, DAVID L        7339 ROCKLEIGH AVE APT A                                                             INDIANAPOLIS     IN 46214
MILLER, DAVID L        1651 E WEBB RD                                                                       DEWITT           MI 48820‐9384
MILLER, DAVID LEE      1651 E WEBB RD                                                                       DEWITT           MI 48820‐9384
MILLER, DAVID M        1150 PORTER RD                                                                       WHITE LAKE       MI 48383‐2409
MILLER, DAVID M        6134 EMERALD LAKE DR                                                                 TROY             MI 48085‐1332
MILLER, DAVID M        PO BOX 1322                                                                          KALKASKA         MI 49646‐1322
MILLER, DAVID M        1052 BALDWIN RD                                                                      LAPEER           MI 48446‐3008
MILLER, DAVID M        28242 NEWPORT DRIVE                                                                  WARREN           MI 48088‐4263
MILLER, DAVID M        2043 SANDLEWOOD DR                                                                   WHITE LAKE       MI 48383‐3925
MILLER, DAVID MARTIN   28242 NEWPORT DRIVE                                                                  WARREN           MI 48088‐4263
MILLER, DAVID N        8730 RACHAEL DR                                                                      DAVISBURG        MI 48350‐1723
MILLER, DAVID P        2696 FONTAINE TRL                                                                    HOLT             MI 48842‐9772
MILLER, DAVID P        42107 BRIANNA DR                                                                     CLINTON TWP      MI 48038‐5223
MILLER, DAVID P        271 LEAVER STREET BOX 258                                                            VERNON           MI 48476
MILLER, DAVID R        1 CHERRYHILL RD                                                                      MILLTOWN         NJ 08850‐1309
MILLER, DAVID R        6812 TOWNLINE RD                                                                     N TONAWANDA      NY 14120‐9571
                       09-50026-mg           Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32    Exhibit B
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Name                   Address1                         Address2              Address3    Address4         City               State Zip
MILLER, DAVID R        9339 FARRAND RD                                                                     OTISVILLE           MI 48463‐9786
MILLER, DAVID R        2806 BAY MEADOWS CIR                                                                DALLAS              TX 75234‐7227
MILLER, DAVID R        100 JAMES ROAD                                                                      GALWAY              NY 12074‐2726
MILLER, DAVID S        36215 SHAW DR                                                                       NORTH RIDGEVILLE    OH 44039‐3959
MILLER, DAVID V        8541 LOIRE VALLEY DR                                                                TECUMSEH            MI 49286‐9610
MILLER, DAVID W        PO BOX 1776                                                                         INWOOD              WV 25428‐1776
MILLER, DAVID W        PO BOX 39                        805 SHINGLE LAKE DR                                LAKE GEORGE         MI 48633‐0039
MILLER, DAVID W        8829 3RD AVE                                                                        PLEASANT PRAIRIE    WI 53158
MILLER, DAVID W        1676 ZANZIBAR PLACE                                                                 THE VILLAGES        FL 32162‐6700
MILLER, DAVID W        PO BOX 331                                                                          MANITOU BEACH       MI 49253‐0331
MILLER, DAVID W        5480 MEADOW GROVE DR                                                                GROVE CITY          OH 43123‐8860
MILLER, DAWN M         323 SHADY ACRES RD                                                                  LUCAS               KY 42156
MILLER, DEAN A         36 RIDDLE ST                                                                        ROCHESTER           NY 14611‐1010
MILLER, DEAN L         3 WOODCREST CIR                                                                     NORMAN              OK 73071‐7215
MILLER, DEAN M         8541 STITT RD                                                                       MONCLOVA            OH 43542‐9626
MILLER, DEANA B        9053 E 50 RD                                                                        CADILLAC            MI 49601‐8523
MILLER, DEANNA J       11218 WILD POND DR NE                                                               ROCKFORD            MI 49341‐7602
MILLER, DEBORA K       11154 S 600 E                                                                       LA FONTAINE         IN 46940‐9218
MILLER, DEBORAH A      4403 SPRINGWELLS ST                                                                 DETROIT             MI 48210‐2132
MILLER, DEBORAH K      6205 ALTER RD                                                                       HUBER HEIGHTS       OH 45424‐3545
MILLER, DEBORAH L      874 HICKORY LN                                                                      MIDDLETOWN          PA 17057‐4521
MILLER, DEBORAH L      2204 S COURTLAND AVE                                                                KOKOMO              IN 46902‐3351
MILLER, DEBRA          212 LAKE FOREST SOUTH DR                                                            KINGSLAND           GA 31548
MILLER, DEBRA A        7112 N AMITY AVE                                                                    PARKVILLE           MO 64152‐1952
MILLER, DEBRA A        338 BRONCO WAY                                                                      LANSING             MI 48917‐2728
MILLER, DEBRA A        8284 BEERS RD                                                                       SWARTZ CREEK        MI 48473‐9101
MILLER, DEBRA A        7050 FISH LAKE RD                                                                   HOLLY               MI 48442‐9189
MILLER, DEBRA K        10016 BIDDULPH ROAD                                                                 CLEVELAND           OH 44144‐3025
MILLER, DEBRA L        PO BOX 236                                                                          CLIO                MI 48420‐0236
MILLER, DEBRA S        2833 N 900 E                                                                        MARION              IN 46952‐8704
MILLER, DEBRA S        3841 WHITTIER AVE                                                                   FLINT               MI 48506‐3160
MILLER, DEBRA S        525 WALNUT ST APT 14                                                                ANN ARBOR           MI 48104‐2544
MILLER, DEJUANE T      7625 MCLIN DRIVE                                                                    DAYTON              OH 45418‐1135
MILLER, DELAWRENCE E   328 1/2S. YELLOW SPRING ST.                                                         SPRINGFIELD         OH 45506
MILLER, DELBERT N      2159 SUNSET LN                                                                      SAGINAW             MI 48604‐2445
MILLER, DELIA J        2847 EVERLETH DR                                                                    LAKELAND            FL 33810‐5112
MILLER, DELLA          1929 S SMITHVILLE RD                                                                KETTERING           OH 45420‐1445
MILLER, DELLA          1929 SOUTH SMITHVILLE RD                                                            KETTERING           OH 45420‐1445
MILLER, DELMAR R       6941 EAGLE RD                                                                       DAVISBURG           MI 48350‐3236
MILLER, DELMAR T       9643 BEHNFELDT RD                                                                   SHERWOOD            OH 43556‐9723
MILLER, DELORES A      1027 ARBOR AVE                                                                      DAYTON              OH 45420‐1902
MILLER, DELORES ANN    1027 ARBOR AVE                                                                      DAYTON              OH 45420‐1902
MILLER, DELORES I      1004 SWAN ST                                                                        HUNTINGTON          IN 46750‐2445
MILLER, DELORES S      1900 59TH AVE N APT 309                                                             ST PETERSBURG       FL 33714‐1562
MILLER, DELORIS A      P O BOX 214                                                                         SULPHUR SPRINGS     IN 47388‐0214
MILLER, DELORIS A      5740 N 100 E                                                                        WINDFALL            IN 46076‐9492
MILLER, DELORIS A      PO BOX 214                                                                          SULPHUR SPRINGS     IN 47388‐0214
MILLER, DENISE         ROSENN JENKINS & GREENWALD LLP   15 S FRANKLIN ST                                   WILKES BARRE        PA 18711‐0076
MILLER, DENISE         ANDERSON LAW FIRM                2070 N TUSTIN AVE                                  SANTA ANA           CA 92705‐7827
MILLER, DENISE A       1372 ARTHURS CT                                                                     PINCKNEY            MI 48169‐9077
MILLER, DENISE L       312 JOLLY JANUARY AVE                                                               LAS VEGAS           NV 89183‐3541
MILLER, DENNIE         1446 CLOVERNOOK DR                                                                  HAMILTON            OH 45013‐3879
                       09-50026-mg          Doc 7123-27 Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit B
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Name                   Address1                        Address2                     Address3   Address4         City                State Zip
MILLER, DENNIS         PO BOX 375                                                                               ROANOKE              IN 46783‐0375
MILLER, DENNIS A       2216 LANDMARK DR                                                                         LAPEER               MI 48446‐9022
MILLER, DENNIS A       2216 DIVINE HWY                                                                          LYONS                MI 48851‐9775
MILLER, DENNIS ALAN    2216 DIVINE HWY                                                                          LYONS                MI 48851‐9775
MILLER, DENNIS C       12379 E BRISTOL RD                                                                       DAVISON              MI 48423‐9114
MILLER, DENNIS D       4679 W OLD TRAIL RD                                                                      KNIGHTSTOWN          IN 46148‐9223
MILLER, DENNIS E       149 RICHARD DR                                                                           XENIA                OH 45385‐2625
MILLER, DENNIS G       4317 ROAMING BREEZE DR                                                                   LAS VEGAS            NV 89031
MILLER, DENNIS G       11649 SCHRAM ST                                                                          GRAND BLANC          MI 48439‐1317
MILLER, DENNIS J       PO BOX 117                                                                               GREENWOOD            MO 64034‐0117
MILLER, DENNIS J       1505 KENWOOD DRIVE                                                                       BETHLEHEM            PA 18017‐2220
MILLER, DENNIS J       1216 MEADOWLARK DR                                                                       WATERFORD            MI 48327‐2967
MILLER, DENNIS J       141 TULANE RD                                                                            KENMORE              NY 14217‐1628
MILLER, DENNIS J       827 GLENCOVE AVENUE NORTHWEST                                                            PALM BAY             FL 32907‐7036
MILLER, DENNIS L       112 GREENRIDGE DR                                                                        CADILLAC             MI 49601‐9789
MILLER, DENNIS L       PO BOX 41                                                                                PARADISE             MI 49768‐0041
MILLER, DENNIS L       298 TURNER LOOP RD                                                                       HUMBOLDT             TN 38343‐8531
MILLER, DENNIS L       4316 IDYLWILD TER                                                                        MARSHALL             TX 75672‐5868
MILLER, DENNIS L       PO BOX 41                       8934 N WHITE FISH POINT RD                               PARADISE             MI 49768‐0041
MILLER, DENNIS L       6557 CHRISTENE BLVD                                                                      BROOK PARK           OH 44142‐1209
MILLER, DENNIS M       2785 WINANS ST NW                                                                        GRAND RAPIDS         MI 49534
MILLER, DENNIS M       4379 VAN VLEET RD                                                                        SWARTZ CREEK         MI 48473‐8594
MILLER, DENNIS M       1048 ROY SELLERS RD                                                                      COLUMBIA             TN 38401‐8888
MILLER, DENNIS M       41 CAROLINA AVE                                                                          LOCKPORT             NY 14094‐5705
MILLER, DENNIS R       22 CRAIG PL                                                                              PENNSVILLE           NJ 08070‐2310
MILLER, DENNIS R       2109 BELLE VERNON DR                                                                     ROCHESTER HILLS      MI 48309‐2128
MILLER, DENNIS W       11384 BRECKENRIDGE DR                                                                    DAVISON              MI 48423‐9335
MILLER, DENNIS WAYNE   11384 BRECKENRIDGE DR                                                                    DAVISON              MI 48423‐9335
MILLER, DENNY L        331 SOMERSET DR                                                                          RAEFORD              NC 28376‐5437
MILLER, DENOLA         312 LYON ST                                                                              FLINT                MI 48503‐5607
MILLER, DENVER R       310 BUCKEYE AVE                                                                          MANSFIELD            OH 44906‐1953
MILLER, DEREK E        5073 FIELD RD                                                                            CLIO                 MI 48420
MILLER, DEREK E.       5073 FIELD ROAD                                                                          CLIO                 MI 48420‐8269
MILLER, DEREK JAMES    237 N 5TH ST                                                                             DECATUR              IN 46733‐1354
MILLER, DEREK T        1120 CRYSTAL CT                                                                          AVON                 IN 46123‐9453
MILLER, DERRICK        115 OAKHILL                                                                              PORTLAND             TN 37148
MILLER, DERRICK T      122 SHADOW LAKE DR                                                                       CONYERS              GA 30094
MILLER, DESERIE        3105 BERKSHIRE RD                                                                        CLEVELAND HEIGHTS    OH 44118
MILLER, DEXTER         3870 VEGA DR                                                                             LAKE HAVASU CITY     AZ 86404‐1723
MILLER, DIANA C.       C/O RONALD CONN, POA            344 PARK AVE. WEST           APT. 2                      MANSFIELD            OH 44906
MILLER, DIANA G        2774 SYMPHONY WAY                                                                        DAYTON               OH 45449‐3315
MILLER, DIANE          928 MAYFAIR BLVD                                                                         TOLEDO               OH 43612‐3114
MILLER, DIANE B        7811 FIELDSTONE RDG                                                                      CLARKSTON            MI 48348‐4359
MILLER, DIANE J        3077 ROCHESTER RD                                                                        LEONARD              MI 48367‐2411
MILLER, DIANE L        15625 PRAIRIE RD                                                                         SOUTH BELOIT          IL 61080‐9539
MILLER, DIANE T        523 STATE ROUTE 88 NW                                                                    BRISTOLVILLE         OH 44402‐9745
MILLER, DIANN R        1600 N RANDALL AVE                                                                       JANESVILLE           WI 53545‐1124
MILLER, DIANNA L       6977 E NORTH RIDGE RD                                                                    NEW LOTHROP          MI 48460
MILLER, DIANNA S       8792 N MAYNE RD                                                                          ROANOKE              IN 46783‐9172
MILLER, DIANNA S       8792 NORTH MAYNE ROAD                                                                    ROANOKE              IN 46783‐9172
MILLER, DIXIE L        1226 W CARTER ST                                                                         KOKOMO               IN 46901‐5264
MILLER, DOLORES F      1954 BONNIE BRAE AVE NE                                                                  WARREN               OH 44483‐3516
